                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 1 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SINGLETON            DENITA                CA         19STCV39238      SIMMONS HANLY CONROY LLC                             STEVENS              LYNNE                 IL         04MR652          SIMMONS HANLY CONROY LLC
SINGLETON            EFREM                 CA         19STCV39238      SIMMONS HANLY CONROY LLC                             STEVENS              ROBERT A              IL         04MR652          SIMMONS HANLY CONROY LLC
SINGLETON            ST                    CA         19STCV39238      SIMMONS HANLY CONROY LLC                             STEVENSON            ANGELA                IL         2012L001834      SIMMONS HANLY CONROY LLC
SINGLETON            STANLEY               CA         19STCV39238      SIMMONS HANLY CONROY LLC                             STITT                WILLIAM UNDERHILL     IL         2018L000155      SIMMONS HANLY CONROY LLC
SMITH                DANIEL LEE            WA         162039499KNT     SIMMONS HANLY CONROY LLC                             STOKES               CURTIS J              IL         2019L001745      SIMMONS HANLY CONROY LLC
SMITH                DIANA R               WA         162039499KNT     SIMMONS HANLY CONROY LLC                             STOKES               PATSY                 IL         2019L001745      SIMMONS HANLY CONROY LLC
SMITH                FRANKLIN D            IL         2019L000856      SIMMONS HANLY CONROY LLC                             STONE                RICK ALLEN            IL         2019L000950      SIMMONS HANLY CONROY LLC
SMITH                HILDA                 IL         2019L000342      SIMMONS HANLY CONROY LLC                             STORY                EUGENE                NY         1902852015       SIMMONS HANLY CONROY LLC
SMITH                JAMES                 IL         2019L001660      SIMMONS HANLY CONROY LLC                             STORY                RUTH                  NY         1902852015       SIMMONS HANLY CONROY LLC
SMITH                JAMES MILTON          IL         2018L000643      SIMMONS HANLY CONROY LLC                             STRAIN               EDWARD ROGER          IL         2019L001642      SIMMONS HANLY CONROY LLC
SMITH                LINDA P               IL         2018L000643      SIMMONS HANLY CONROY LLC                             STROH                DUANE E               IL         2018L001201      SIMMONS HANLY CONROY LLC
SMITH                MARVIN                IL         2017L001453      SIMMONS HANLY CONROY LLC                             STROMHOLM            ANNA                  NY         1901772016       SIMMONS HANLY CONROY LLC
SMITH                MIKE MITCHELL         IL         2019L000342      SIMMONS HANLY CONROY LLC                             STROMHOLM            BERTLE                NY         1901772016       SIMMONS HANLY CONROY LLC
SMITH                ROBERT LEE            IL         2019L001038      SIMMONS HANLY CONROY LLC                             STROZIER             GLORIA                IL         2018L001567      SIMMONS HANLY CONROY LLC
SMITH                SHIRLEY JEAN          IL         2019L001660      SIMMONS HANLY CONROY LLC                             STROZIER             WILLIAM L             IL         2018L001567      SIMMONS HANLY CONROY LLC
SMITH                TINA                  IL         2018L001131      SIMMONS HANLY CONROY LLC                             STRUCK               BETTE                 IL         2019L001156      SIMMONS HANLY CONROY LLC
SMITH                VERNA                 IL         2019L001038      SIMMONS HANLY CONROY LLC                             STRUCK               JOHN LINDBERG         IL         2019L001156      SIMMONS HANLY CONROY LLC
SMITH-RICE           MELANIE MARIE         IL         2019L000391      SIMMONS HANLY CONROY LLC                             STRUNK               ARMELLA               MO         1922CC00506      SIMMONS HANLY CONROY LLC
SNELLING             ALSIE                 IL         2019L001319      SIMMONS HANLY CONROY LLC                             STRUNK               GLENNON               MO         1922CC00506      SIMMONS HANLY CONROY LLC
SNELLING             CLEOTHER              IL         2019L001319      SIMMONS HANLY CONROY LLC                             STRZELEC             LOUIE                 IL         2019L001283      SIMMONS HANLY CONROY LLC
SNELLING             ERIC                  IL         2019L001319      SIMMONS HANLY CONROY LLC                             SUESS                MICHAEL A             IL         2017L000691      SIMMONS HANLY CONROY LLC
SNELLING             MICHELLE              IL         2019L001319      SIMMONS HANLY CONROY LLC                             SWANGER              DORCAS ELIZABETH      IL         2018L001237      SIMMONS HANLY CONROY LLC
SNYDER               CHAD                  IL         2015L001563      SIMMONS HANLY CONROY LLC                             SWANGER              ROBERT L              IL         2018L001237      SIMMONS HANLY CONROY LLC
SNYDER               COLLEEN               IL         2015L001563      SIMMONS HANLY CONROY LLC                             SWIGER               LYLE                  WV         19C402           SIMMONS HANLY CONROY LLC
SNYDER               IDENA                 IL         2019L001430      SIMMONS HANLY CONROY LLC                             SYLLING              KATIE                 CA         BC710751         SIMMONS HANLY CONROY LLC
SNYDER               ROBERT HEADLEY        IL         2015L001563      SIMMONS HANLY CONROY LLC                             SZITAS               BRAD                  IL         2018L001077      SIMMONS HANLY CONROY LLC
SNYDER               RONALD                IL         2018L001473      SIMMONS HANLY CONROY LLC                             SZITAS               CHRISTIAN             IL         2018L001077      SIMMONS HANLY CONROY LLC
SNYDER               VICKIE JO             IL         2018L001473      SIMMONS HANLY CONROY LLC                             SZITAS               COLIN                 IL         2018L001077      SIMMONS HANLY CONROY LLC
SODER-EKLUND         TIFFANY A             CA         RG17885617       SIMMONS HANLY CONROY LLC                             SZITAS               GARY                  IL         2018L001077      SIMMONS HANLY CONROY LLC
SOFFA                JOHN                  IL         2019L000077      SIMMONS HANLY CONROY LLC                             SZITAS               KATHRYN ANN           IL         2018L001077      SIMMONS HANLY CONROY LLC
SOFFA                THERESA ANN           IL         2019L000077      SIMMONS HANLY CONROY LLC                             SZPARAGA             LEONARD FRANCIS       IL         2016L000242      SIMMONS HANLY CONROY LLC
SOLOMON              KATHLEEN E            IL         2018L000416      SIMMONS HANLY CONROY LLC                             SZUBERT              BARBARA T             IL         2017L001478      SIMMONS HANLY CONROY LLC
SOLOMON              WILLIAM FRANCIS       IL         2018L000416      SIMMONS HANLY CONROY LLC                             SZUBERT              KAROL M               IL         2017L001478      SIMMONS HANLY CONROY LLC
SOLOSKO              WINIFRED UTSCH        IL         2018L001012      SIMMONS HANLY CONROY LLC                             TAFOYA               LUCILLE               IL         2019L001176      SIMMONS HANLY CONROY LLC
SOLTIS               EDWARD F              IL         2019L000474      SIMMONS HANLY CONROY LLC                             TARLETON             MELVA JEAN            IL         2018L000390      SIMMONS HANLY CONROY LLC
SOLTIS               MARY                  IL         2019L000474      SIMMONS HANLY CONROY LLC                             TARTAGLIA            LORETTA               IL         2016L001226      SIMMONS HANLY CONROY LLC
SORICELLI            MICHAEL               PA         191201614        SIMMONS HANLY CONROY LLC                             TARTER               JULIE A               IL         2018L001201      SIMMONS HANLY CONROY LLC
SOSA                 AMINDA                IL         2018L001341      SIMMONS HANLY CONROY LLC                             TAVERRITE            FRANCIS               IL         2019L001134      SIMMONS HANLY CONROY LLC
SOSA                 RAMIRO G              IL         2018L001341      SIMMONS HANLY CONROY LLC                             TAVERRITE            SYLVIA                IL         2019L001134      SIMMONS HANLY CONROY LLC
SOUTH                SARAH                 MO         1822CC02028      SIMMONS HANLY CONROY LLC                             TAYLOR               BUFORD                IL         2019L000448      SIMMONS HANLY CONROY LLC
SPARROWHAWK          JOSEPH                CA         RG19025022       SIMMONS HANLY CONROY LLC                             TAYLOR               JUDY ANN              IL         2019L001245      SIMMONS HANLY CONROY LLC
SPARROWHAWK          SALLY                 CA         RG19025022       SIMMONS HANLY CONROY LLC                             TEDESCHI             LORI                  IL         2018L001637      SIMMONS HANLY CONROY LLC
SPIEGLER             BRENDA                PA         140100082        SIMMONS HANLY CONROY LLC                             TEDESCHI             LYNN                  IL         2018L001637      SIMMONS HANLY CONROY LLC
SPIEGLER             HERMAN W              PA         140100082        SIMMONS HANLY CONROY LLC                             TEDESCHI             NICHOLAS              IL         2018L001637      SIMMONS HANLY CONROY LLC
SPITZNER             JACK E                IL         2019L000686      SIMMONS HANLY CONROY LLC                             TEDESCHI             NICHOLAS MICHAEL      IL         2018L001637      SIMMONS HANLY CONROY LLC
SPITZNER             KAREN                 IL         2019L000686      SIMMONS HANLY CONROY LLC                             TEDFORD              KATIE                 IL         2018L001130      SIMMONS HANLY CONROY LLC
SPOONER              KATHLEEN              IL         2015L000188      SIMMONS HANLY CONROY LLC                             TEDFORD              ROBERT LYNN           IL         2018L001130      SIMMONS HANLY CONROY LLC
SPRATZ               JAMES J               NY         8086272017       SIMMONS HANLY CONROY LLC                             THACKER              FAE FERREL            IL         2019L000893      SIMMONS HANLY CONROY LLC
SPRINGER             FRANCES               IL         2017L000446      SIMMONS HANLY CONROY LLC                             THACKER              PAULINE B             IL         2019L000893      SIMMONS HANLY CONROY LLC
SPRINGER             JAMES LENDON          IL         2017L000446      SIMMONS HANLY CONROY LLC                             THIBAULT             JAMES FRANCIS         IL         2017L000215      SIMMONS HANLY CONROY LLC
STAHL                DANA                  IL         2019L001568      SIMMONS HANLY CONROY LLC                             THOMAS               ANITIA                IL         2018L001263      SIMMONS HANLY CONROY LLC
STAHL                JOHN WARREN           IL         2019L001568      SIMMONS HANLY CONROY LLC                             THOMAS               LOIS                  PA         191003592        SIMMONS HANLY CONROY LLC
STALLARD             FRANCIS LEE           IL         2017L000153      SIMMONS HANLY CONROY LLC                             THOMAS               PATRICK DANIEL        IL         2019L001310      SIMMONS HANLY CONROY LLC
STANTON              MARK S                PA         191103523        SIMMONS HANLY CONROY LLC                             THOMAS               STEVE                 PA         191003592        SIMMONS HANLY CONROY LLC
STANTON              SHERRY                PA         191103523        SIMMONS HANLY CONROY LLC                             THOMASON             BETH                  IL         2018L001168      SIMMONS HANLY CONROY LLC
STARCEVICH           MICHAEL JOHN          IL         2019L000955      SIMMONS HANLY CONROY LLC                             THOMPSON             DIANA                 IL         2019L001472      SIMMONS HANLY CONROY LLC
STARR                CAROLYN J             IL         2019L000882      SIMMONS HANLY CONROY LLC                             THOMPSON             DONALD RAY            IL         2017L001095      SIMMONS HANLY CONROY LLC
STARR                JAMES JACOB           IL         2019L000882      SIMMONS HANLY CONROY LLC                             THOMPSON             FRANK WAYNE           IL         2019L001155      SIMMONS HANLY CONROY LLC
STEELE               LEONARD ELBERT        IL         2018L001608      SIMMONS HANLY CONROY LLC                             THOMPSON             JAMES                 MO         1922CC11513      SIMMONS HANLY CONROY LLC
STEELE               MARILOU               IL         2015L000460      SIMMONS HANLY CONROY LLC                             THOMPSON             JILL                  IL         2019L001155      SIMMONS HANLY CONROY LLC
STEELE               PATRICIA              IL         2018L001608      SIMMONS HANLY CONROY LLC                             THOMPSON             MARTHA                MO         1922CC11513      SIMMONS HANLY CONROY LLC
STEELE               STEVEN                IL         2015L000460      SIMMONS HANLY CONROY LLC                             THOMPSON             SAUNDRA               IL         2017L001095      SIMMONS HANLY CONROY LLC
STEINBACH            LORRAINE LORENA       IL         2019L000815      SIMMONS HANLY CONROY LLC                             THORPE               BILL L                IL         00L316           SIMMONS HANLY CONROY LLC
STEINBACH            WAYNE                 IL         2019L000815      SIMMONS HANLY CONROY LLC                             THORPE               MARCELLA              IL         00L316           SIMMONS HANLY CONROY LLC
STEINER              PAUL                  IL         2019L000916      SIMMONS HANLY CONROY LLC                             THURMAN              RITA                  MO         1922CC11694      SIMMONS HANLY CONROY LLC
STEINER              SHARON                IL         2019L000916      SIMMONS HANLY CONROY LLC                             TIGUE                BARBARA               IL         2015L000882      SIMMONS HANLY CONROY LLC
STEPHENS             YOLANA                IL         2015L001052      SIMMONS HANLY CONROY LLC                             TIGUE                RONALD H              IL         2015L000882      SIMMONS HANLY CONROY LLC
STERENBERG           ROBERT E              IL         2018L000679      SIMMONS HANLY CONROY LLC                             TILLMAN              GINA                  CA         BC679351         SIMMONS HANLY CONROY LLC
STEVENS              CAROL                 IL         2017L000463      SIMMONS HANLY CONROY LLC                             TIRAPELLE            LOUIS A               IL         2019L001303      SIMMONS HANLY CONROY LLC
STEVENS              DOROTHY               IL         04MR652          SIMMONS HANLY CONROY LLC                             TOMEC                DOROTHY               CA         19STCV07857      SIMMONS HANLY CONROY LLC
STEVENS              JIMMY DALE            IL         2017L000463      SIMMONS HANLY CONROY LLC                             TOMEC                JOHN                  CA         19STCV07857      SIMMONS HANLY CONROY LLC




                                                                                                            Appendix A - 667
                                                            Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                        Complaint-Part 2 Page 2 of 484



Claimant Last Name    Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

TOMES                 JOAN                  IL         2019L000892      SIMMONS HANLY CONROY LLC                             WASKIEWICZ           JUDITH                 IL         2019L001334      SIMMONS HANLY CONROY LLC
TRACY                 LAWRENCE DANIEL       IL         2019L001132      SIMMONS HANLY CONROY LLC                             WASSINGER            CAROLYN                CA         19STCV10781      SIMMONS HANLY CONROY LLC
TRACY                 TERRELL               IL         2019L001132      SIMMONS HANLY CONROY LLC                             WASSINGER            NATHANIEL              CA         19STCV10781      SIMMONS HANLY CONROY LLC
TRAMMELL              CYNTHIA               AR         CIV20164051      SIMMONS HANLY CONROY LLC                             WATKINS              CRYSTAL                IL         2017L001479      SIMMONS HANLY CONROY LLC
TRANSOU               CINDY                 IL         2019L000572      SIMMONS HANLY CONROY LLC                             WATSON               MICHELLA D             CA         BC715060         SIMMONS HANLY CONROY LLC
TRANSOU               DAVID WALL            IL         2019L000572      SIMMONS HANLY CONROY LLC                             WATSON               MICHELLA D             IL         2018L001007      SIMMONS HANLY CONROY LLC
TRENT                 CURTIS DALE           IL         2019L001722      SIMMONS HANLY CONROY LLC                             WAY                  JEANNIE                IL         2016L001226      SIMMONS HANLY CONROY LLC
TRENT                 ELIZABETH             IL         2019L001722      SIMMONS HANLY CONROY LLC                             WEATHERLY            MELVIN                 CA         BC715060         SIMMONS HANLY CONROY LLC
TREVINO               ALEYDA S              IL         2018L001341      SIMMONS HANLY CONROY LLC                             WEATHERLY            MELVIN                 IL         2018L001007      SIMMONS HANLY CONROY LLC
TROTTER               MARGARET RUTH         IL         2018L001145      SIMMONS HANLY CONROY LLC                             WEBB                 O'DELL                 IL         2017L001505      SIMMONS HANLY CONROY LLC
TRUETT                RANDEY LEE            IL         2019L000618      SIMMONS HANLY CONROY LLC                             WEBER                GENEVA                 MO         1822CC11784      SIMMONS HANLY CONROY LLC
TUCKER                ROBIN B               IL         2019L001587      SIMMONS HANLY CONROY LLC                             WEBER                ROBERT                 MO         1822CC11784      SIMMONS HANLY CONROY LLC
TUPY                  RONALD JOHN           IL         2019L000722      SIMMONS HANLY CONROY LLC                             WEED                 CARL S                 IL         2018L000871      SIMMONS HANLY CONROY LLC
TURNER                BRADFORD JONES        IL         2019L000435      SIMMONS HANLY CONROY LLC                             WEED                 JONNA HOPE             IL         2018L000871      SIMMONS HANLY CONROY LLC
TURNER                CORBIN                IL         2018L001346      SIMMONS HANLY CONROY LLC                             WELCH                ROBERT EDWARD          IL         2018L001238      SIMMONS HANLY CONROY LLC
TURNER                ELIZABETH             IL         2018L001346      SIMMONS HANLY CONROY LLC                             WELLS                MARK                   IL         2019L000341      SIMMONS HANLY CONROY LLC
TURNER                STEPHEN               IL         2018L001346      SIMMONS HANLY CONROY LLC                             WHEELER              DUSTIN                 FL         18004949         SIMMONS HANLY CONROY LLC
TUROSKI               LAWRENCE              PA         181001661        SIMMONS HANLY CONROY LLC                             WHEELER              PATRICIA ANN           FL         18004949         SIMMONS HANLY CONROY LLC
TWIDWELL              WALTER                NY         1901362017       SIMMONS HANLY CONROY LLC                             WHEELER              TERRY LEE              FL         18004949         SIMMONS HANLY CONROY LLC
TYLER                 ALEXANDER             IL         2019L001512      SIMMONS HANLY CONROY LLC                             WHITAKER             JENNIFER               IL         2019L001716      SIMMONS HANLY CONROY LLC
TYLER                 EDITH                 IL         2019L001512      SIMMONS HANLY CONROY LLC                             WHITE                ALICE FAYE             IL         2019L001271      SIMMONS HANLY CONROY LLC
ULAN                  SARAH JEAN            IL         2015L000747      SIMMONS HANLY CONROY LLC                             WHITE                CHARLIE                IL         2019L001271      SIMMONS HANLY CONROY LLC
ULIBARRI              ERNEST MARGARITO      IL         2018L000380      SIMMONS HANLY CONROY LLC                             WHITE                CHARLIE MARTIN         IL         2019L001271      SIMMONS HANLY CONROY LLC
ULIBARRI              HEATHER               IL         2018L000380      SIMMONS HANLY CONROY LLC                             WHITE                CLAUDIA                IL         2015L000344      SIMMONS HANLY CONROY LLC
UPTON                 CHARLES DAVID         IL         2018L000592      SIMMONS HANLY CONROY LLC                             WHITE                DONALD MELVIN          IL         2019L000521      SIMMONS HANLY CONROY LLC
UPTON                 VICKIE S              IL         2018L000592      SIMMONS HANLY CONROY LLC                             WHITE                JANET                  IL         2019L001271      SIMMONS HANLY CONROY LLC
URSPRUNG              SARAH                 IL         2019L000829      SIMMONS HANLY CONROY LLC                             WHITE                JOANNE                 IL         2019L000538      SIMMONS HANLY CONROY LLC
VACHON                PATRICIA              IL         2018L000663      SIMMONS HANLY CONROY LLC                             WHITE                JOHN                   IL         2019L001271      SIMMONS HANLY CONROY LLC
VADEN                 ROBERT CLAY           IL         2019L000685      SIMMONS HANLY CONROY LLC                             WHITE                LEROY                  IL         2019L000538      SIMMONS HANLY CONROY LLC
VALERIO               LUPE                  IL         2019L001378      SIMMONS HANLY CONROY LLC                             WHITEHEAD            DOROTHY C              NJ         MIDL0170619AS    SIMMONS HANLY CONROY LLC
VAN HULLE             MARTIN F              IL         2016L001165      SIMMONS HANLY CONROY LLC                             WHITEHEAD            JAMES J                NJ         MIDL0170619AS    SIMMONS HANLY CONROY LLC
VANWERT               FREDERICK J           CA         BC507747         SIMMONS HANLY CONROY LLC                             WHITLOCK             MITCHELL LEE           IL         2019L000177      SIMMONS HANLY CONROY LLC
VANWERT               LEONA                 CA         BC507747         SIMMONS HANLY CONROY LLC                             WHITLOCK             TERESA                 IL         2019L000177      SIMMONS HANLY CONROY LLC
VARVERI               ANDREW                NY         1900412016       SIMMONS HANLY CONROY LLC                             WHITTLES             KRISTEN                IL         2017L001476      SIMMONS HANLY CONROY LLC
VASQUEZ               AMELIA                IL         2015L001052      SIMMONS HANLY CONROY LLC                             WIERZBICKI           LAURA                  IL         2019L000640      SIMMONS HANLY CONROY LLC
VASQUEZ               SEBASTIAN             IL         2015L001052      SIMMONS HANLY CONROY LLC                             WIGLESWORTH          DONALD                 CA         BC668162         SIMMONS HANLY CONROY LLC
VAZQUEZ               JOSE L                NY         1903892017       SIMMONS HANLY CONROY LLC                             WIGLESWORTH          DONNA                  CA         BC668162         SIMMONS HANLY CONROY LLC
VIGUE                 RONALD L              IL         2016L001477      SIMMONS HANLY CONROY LLC                             WILDE                DORECIA                IL         2018L001145      SIMMONS HANLY CONROY LLC
VILLANUEVA            OLGA                  IL         2019L000838      SIMMONS HANLY CONROY LLC                             WILLIAMS             DALLAS WAYNE           IL         2018L001594      SIMMONS HANLY CONROY LLC
VILLANUEVA            RICHARD R             IL         2019L000838      SIMMONS HANLY CONROY LLC                             WILLIAMS             LINDA                  IL         2016L001226      SIMMONS HANLY CONROY LLC
VINCENT               CHARLES A             NY         1904602018       SIMMONS HANLY CONROY LLC                             WILLIAMS             SHARON FOWLKES         IL         2017L001505      SIMMONS HANLY CONROY LLC
VINCENT               HOLLY                 NY         1904602018       SIMMONS HANLY CONROY LLC                             WILLIS               HAROLD D               IL         2019L001551      SIMMONS HANLY CONROY LLC
VINCENT               JOHNNY MARVIN         IL         2019L000490      SIMMONS HANLY CONROY LLC                             WILLIS               JANICE                 IL         2019L001551      SIMMONS HANLY CONROY LLC
VOELKER               GENE G                IL         2017L001373      SIMMONS HANLY CONROY LLC                             WILSON               GERALD W               CA         19STCV00653      SIMMONS HANLY CONROY LLC
VOELKER               RICHARD R             IL         2017L001373      SIMMONS HANLY CONROY LLC                             WILSON               LINDA                  CA         19STCV00653      SIMMONS HANLY CONROY LLC
VOGLIANO              JOSEPH                IL         2018L001497      SIMMONS HANLY CONROY LLC                             WIMMER               JACQUELINE JEAN        IL         2019L000821      SIMMONS HANLY CONROY LLC
VOGLIANO              REINA                 IL         2018L001497      SIMMONS HANLY CONROY LLC                             WIMMER               JOHN L                 IL         2019L000821      SIMMONS HANLY CONROY LLC
VOGLIANO              RICHARD CESARE        IL         2018L001497      SIMMONS HANLY CONROY LLC                             WITT                 DEBRA                  IL         2019L001477      SIMMONS HANLY CONROY LLC
VOGLIANO              ROSE                  IL         2018L001497      SIMMONS HANLY CONROY LLC                             WOLF                 LISA                   IL         2019L000685      SIMMONS HANLY CONROY LLC
VOLZ                  CINDY JEAN            IL         2019L001021      SIMMONS HANLY CONROY LLC                             WOOD                 ARNOLD CHESTER         IL         2017L000711      SIMMONS HANLY CONROY LLC
WAGES                 SUSAN JANE            IL         2019L000588      SIMMONS HANLY CONROY LLC                             WOOD                 BESSIE                 IL         2018L001258      SIMMONS HANLY CONROY LLC
WAGNER                CAROL                 IL         2019L000022      SIMMONS HANLY CONROY LLC                             WOOD                 RAYMOND ARTHUR         IL         2018L001258      SIMMONS HANLY CONROY LLC
WAGNER                SCOTT LEWIS           IL         2019L000022      SIMMONS HANLY CONROY LLC                             WORONIK              AMY                    IL         2017L001695      SIMMONS HANLY CONROY LLC
WAITE                 BRUCE A               IL         02L1493          SIMMONS HANLY CONROY LLC                             WORONIK              CLAYTON                IL         2017L001695      SIMMONS HANLY CONROY LLC
WAITE                 NANCY                 IL         02L1493          SIMMONS HANLY CONROY LLC                             WORONIK              PETER                  IL         2017L001695      SIMMONS HANLY CONROY LLC
WAITMAN-INGEBRETSEN   PATRICIA ANNE         IL         2018L000617      SIMMONS HANLY CONROY LLC                             WORONIK              PETER WILLIAM          IL         2017L001695      SIMMONS HANLY CONROY LLC
WAIVER                CHARLES               NJ         MIDL239917AS     SIMMONS HANLY CONROY LLC                             WORONIK              TODD                   IL         2017L001695      SIMMONS HANLY CONROY LLC
WALKER                WISANGELES            IL         2017L000158      SIMMONS HANLY CONROY LLC                             WRIGHT               DARLENE                IL         2019L000044      SIMMONS HANLY CONROY LLC
WALLACE               CHARLES WILLIAM       IL         2019L000817      SIMMONS HANLY CONROY LLC                             WRIGHT               JAMES RUSSELL          IL         2019L000044      SIMMONS HANLY CONROY LLC
WALLACE               DAVID                 IL         2019L000817      SIMMONS HANLY CONROY LLC                             WRIGHT               LONNIE                 IL         2019L000044      SIMMONS HANLY CONROY LLC
WALLACE               HAROLD                IL         2018L001566      SIMMONS HANLY CONROY LLC                             WRIGHT               MICHAEL                IL         2019L000044      SIMMONS HANLY CONROY LLC
WALLACE               KRISTEN               IL         2019L000817      SIMMONS HANLY CONROY LLC                             WRIGHT               SEAN                   IL         2019L000044      SIMMONS HANLY CONROY LLC
WALLACE               LINDA                 IL         2018L001566      SIMMONS HANLY CONROY LLC                             WSZOLEK              JOHN                   IL         2018L001263      SIMMONS HANLY CONROY LLC
WALLACE               SUSAN P               IL         2019L000817      SIMMONS HANLY CONROY LLC                             WSZOLEK              JOSEPH                 IL         2018L001263      SIMMONS HANLY CONROY LLC
WANKOWSKI             PAULA                 IL         2017L000418      SIMMONS HANLY CONROY LLC                             WSZOLEK              PATRICIA               IL         2018L001263      SIMMONS HANLY CONROY LLC
WAREHAM               BEVERLEY              IL         2019L001655      SIMMONS HANLY CONROY LLC                             YANEZ                MIGUEL ANGEL AGUILAR   CA         19STCV11300      SIMMONS HANLY CONROY LLC
WAREHAM               WILLIAM MARTIN        IL         2019L001655      SIMMONS HANLY CONROY LLC                             YATES                MARIA                  CA         RG19019624       SIMMONS HANLY CONROY LLC
WASHINGTON            JAMES                 PA         151002402        SIMMONS HANLY CONROY LLC                             YATES                ROBERT                 CA         RG19019624       SIMMONS HANLY CONROY LLC
WASHINGTON            JAMES E               PA         151002402        SIMMONS HANLY CONROY LLC                             YEE                  VICTORIA               CA         BC618979         SIMMONS HANLY CONROY LLC
WASHINGTON            SUSAN M               PA         151002402        SIMMONS HANLY CONROY LLC                             YODER                MELANIE                IL         2019L000249      SIMMONS HANLY CONROY LLC
WASKIEWICZ            CRAIG J               IL         2019L001334      SIMMONS HANLY CONROY LLC                             YOUNG                CHRISTOPHER D          CA         18STCV09257      SIMMONS HANLY CONROY LLC




                                                                                                             Appendix A - 668
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 3 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

YOUNG                LEON                  IL         2018L001050       SIMMONS HANLY CONROY LLC                             TERRILL              CHARLES               IA         CLA70            STANTON & SORENSEN
ZAVALA               GRACIELA              IL         2018L000718       SIMMONS HANLY CONROY LLC                             TERRILL              CHARLES               IA         402CV40207       STANTON & SORENSEN
ZETA                 DAVID G               IL         2019L001653       SIMMONS HANLY CONROY LLC                             TERRILL              MARY LOUISE           IA         CLA70            STANTON & SORENSEN
ZETA                 VIRGINIA              IL         2019L001653       SIMMONS HANLY CONROY LLC                             TERRILL              MARY LOUISE           IA         402CV40207       STANTON & SORENSEN
ZETTAS               GEORGE                IL         2019L000857       SIMMONS HANLY CONROY LLC                             SIGMAN               BETTY                 WV         07C2422          STEBBINS & PINKERTON, PLLC
BAKER                DOLORES L             NJ         MIDL113216AS      SIMON GREENSTONE PANATIER, PC                        SIGMAN               MAYFORD LEE           WV         07C2422          STEBBINS & PINKERTON, PLLC
BAKER                LEROY R               NJ         MIDL113216AS      SIMON GREENSTONE PANATIER, PC                        AMEEN                GEORGE I              MS         980167           STEPHEN L SHACKELFORD
FARMER               DANA KATHY            SC         2015CP0401429     SIMON GREENSTONE PANATIER, PC                        AMEEN                MARJORIE              MS         980167           STEPHEN L SHACKELFORD
FARMER               DANNY FREEMAN         SC         2015CP0401429     SIMON GREENSTONE PANATIER, PC                        AMUNDSEN             JAMES                 MS         04KV0182S        STEPHEN L SHACKELFORD
GRIM                 GRACE HELEN           PA         131003446         SIMON GREENSTONE PANATIER, PC                        ANDERSON             CAROLYN L.            MS         980167           STEPHEN L SHACKELFORD
MILLER               KERRY H               PA         1104001810        SIMON GREENSTONE PANATIER, PC                        ANDERSON             WALTER                MS         980167           STEPHEN L SHACKELFORD
RYKHUS               DAVID A               SD         124563            SIMON GREENSTONE PANATIER, PC                        BAGGETT              RALPH M               MS         980167           STEPHEN L SHACKELFORD
RYKHUS               LINDA                 SD         124563            SIMON GREENSTONE PANATIER, PC                        BAINS                GEORGE B              MS         980167           STEPHEN L SHACKELFORD
WESLEY               ALICE WERT            VA         760CL0700401100   SIMON GREENSTONE PANATIER, PC                        BAINS                JOYCE                 MS         980167           STEPHEN L SHACKELFORD
WESLEY               LOFTON S              VA         760CL0700401100   SIMON GREENSTONE PANATIER, PC                        BAKER                GERALD                MS         04KV0182S        STEPHEN L SHACKELFORD
BORDEAUX WARD        SUSAN CAROLE          GA         2002VS029054      SITTON, CLINTON W                                    BEATY                PEGGY                 MS         04KV0182S        STEPHEN L SHACKELFORD
WARD                 JESSE WILLIAM         GA         2002VS029054      SITTON, CLINTON W                                    BEATY                WAYNE                 MS         04KV0182S        STEPHEN L SHACKELFORD
ALCINDOR             DELORSE               MD         24X08000451       SKEEN, GOLDMAN, LLP                                  BELL                 LOUISE Q              MS         980167           STEPHEN L SHACKELFORD
BAKER                LINDA M               MD         24X09000196       SKEEN, GOLDMAN, LLP                                  BENNETT              VIRGLE J              MS         980167           STEPHEN L SHACKELFORD
BANKS                THOMAS MILTON         MD         24X09000196       SKEEN, GOLDMAN, LLP                                  BOGER                JOE                   MS         04KV0182S        STEPHEN L SHACKELFORD
BOYD                 DOROTHY               MD         24X07000446       SKEEN, GOLDMAN, LLP                                  BOLEN                JERRY                 MS         980167           STEPHEN L SHACKELFORD
BOYD                 WILLIE                MD         24X07000446       SKEEN, GOLDMAN, LLP                                  BOLEN                VIOLA DIANNE          MS         980167           STEPHEN L SHACKELFORD
COVINGTON            LISA                  MD         24X08000451       SKEEN, GOLDMAN, LLP                                  BROWN                ROBERT                MS         04KV0182S        STEPHEN L SHACKELFORD
EDWARDS              LINDA                 MD         24X08000451       SKEEN, GOLDMAN, LLP                                  BUSH                 JOHN C                MS         980167           STEPHEN L SHACKELFORD
GARNES               JOYCE                 MD         24X08000451       SKEEN, GOLDMAN, LLP                                  BUSH                 TAMMY                 MS         980167           STEPHEN L SHACKELFORD
GARNES               MARQUISE              MD         24X08000451       SKEEN, GOLDMAN, LLP                                  CHAMBERS             WALLACE R             MS         980167           STEPHEN L SHACKELFORD
GARNES               MARVIN                MD         24X08000451       SKEEN, GOLDMAN, LLP                                  CLARK                KENNETH D             MS         980167           STEPHEN L SHACKELFORD
GARNES               OTIS                  MD         24X08000451       SKEEN, GOLDMAN, LLP                                  COLLINS              ANNIE                 MS         980167           STEPHEN L SHACKELFORD
GARNES               OTIS Y                MD         24X08000451       SKEEN, GOLDMAN, LLP                                  COLLINS              HARVEY H JR           MS         980167           STEPHEN L SHACKELFORD
GIBSON               CHARLES EDWARD        MD         24X14000457       SKEEN, GOLDMAN, LLP                                  COOK                 BARBARA               MS         980167           STEPHEN L SHACKELFORD
GIBSON               CHARLES RANDALL       MD         24X14000457       SKEEN, GOLDMAN, LLP                                  COOK                 ROBERT E              MS         980167           STEPHEN L SHACKELFORD
HARPER               CLAUDE A              MD         24X11000002       SKEEN, GOLDMAN, LLP                                  CORDER               JAMES H               MS         980167           STEPHEN L SHACKELFORD
HUDSON               ARNETTA               MD         24X08000451       SKEEN, GOLDMAN, LLP                                  ELLIOTT              ALBERT C              MS         980167           STEPHEN L SHACKELFORD
HURLEY               BONNIE                MD         24X11000003       SKEEN, GOLDMAN, LLP                                  ELLIOTT              JOHNNIE               MS         980167           STEPHEN L SHACKELFORD
HURLEY               RONALD P              MD         24X11000003       SKEEN, GOLDMAN, LLP                                  FOLSE                EDDIE                 MS         980167           STEPHEN L SHACKELFORD
LYONS                DENISE M              MD         24X09000048       SKEEN, GOLDMAN, LLP                                  FORD                 OLLIE                 MS         980167           STEPHEN L SHACKELFORD
PARKS                PATSY P               MD         24X15000446       SKEEN, GOLDMAN, LLP                                  FORD                 THOMAS E              MS         980167           STEPHEN L SHACKELFORD
RANDALL              FRANK L               MD         24X15000278       SKEEN, GOLDMAN, LLP                                  GARRIS               ELTON A               MS         980167           STEPHEN L SHACKELFORD
STANBACK             CHARLES H             MD         24X12000734_      SKEEN, GOLDMAN, LLP                                  HALEY                ROY EARL              MS         980167           STEPHEN L SHACKELFORD
STANBACK             MARGARET ROSE         MD         24X12000734_      SKEEN, GOLDMAN, LLP                                  HALEY                SUE                   MS         980167           STEPHEN L SHACKELFORD
STORMER              FREDERICK J           MD         24X09000048       SKEEN, GOLDMAN, LLP                                  HALTER               RONNY WAYNE           MS         980167           STEPHEN L SHACKELFORD
WILLIAMSON           JEAN                  MD         24X09000239       SKEEN, GOLDMAN, LLP                                  JACKSON              DORIS                 MS         980167           STEPHEN L SHACKELFORD
WILLIAMSON           RALPH                 MD         24X09000239       SKEEN, GOLDMAN, LLP                                  JACKSON              LARRY D               MS         980167           STEPHEN L SHACKELFORD
JACOBY               ALFRED MELVIN         TX         D040513C          SMITH, J MARK                                        JAMESON              JOHN K                MS         980167           STEPHEN L SHACKELFORD
JACOBY               FRANCES M             TX         D040513C          SMITH, J MARK                                        JESTER               THOMAS J              MS         980167           STEPHEN L SHACKELFORD
MCLUCAS              JAMES                 CA         337771            SMOLICH, ANDREW J ESQ                                JONES                EDWARD L              MS         980167           STEPHEN L SHACKELFORD
OBROK                NED                   CA         354125            SMOLICH, ANDREW J ESQ                                JONES                ROBBIE ELLEN          MS         980167           STEPHEN L SHACKELFORD
TELLES               RUDY M                CA         353693            SMOLICH, ANDREW J ESQ                                KACKLEY              CHARLIE               MS         980167           STEPHEN L SHACKELFORD
LANDRY               GUY                   TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      KACKLEY              NARVIL                MS         980167           STEPHEN L SHACKELFORD
LEE                  DANTONY               TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      KIRK                 EMMETT                MS         980167           STEPHEN L SHACKELFORD
LEE                  DAVID                 TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      KNIGHT               CHARLES E             MS         980167           STEPHEN L SHACKELFORD
LEE                  EDNA MAE              TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      KNIGHT               TEROY N               MS         980167           STEPHEN L SHACKELFORD
LEGENDRE             ANGELA LEE            TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      LEWIS                LOEL H                MS         980167           STEPHEN L SHACKELFORD
MINNARD              SHAREL PATTERSON      TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      LEWIS                MARY LOU              MS         980167           STEPHEN L SHACKELFORD
NELSON               LORRAINE PATTERSON    TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      LUNDY                HARDY L               MS         980167           STEPHEN L SHACKELFORD
PATTERSON            DARRELL               TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      MALONE               ELIZABETH A           MS         20040249         STEPHEN L SHACKELFORD
PATTERSON            LADELL                TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      MAYER                JOSEPH F              MS         980167           STEPHEN L SHACKELFORD
PATTERSON            OTIS C                TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      MCADAMS              JOHN H                MS         980167           STEPHEN L SHACKELFORD
PATTERSON            OZAN                  TX         A0144481A         SMYSER KAPLAN & VESELKA, L.L.P.                      MERRITT              JAMES I               MS         980167           STEPHEN L SHACKELFORD
HERRILL              BETTY S               IA         8933D1            STANLEY, REHLING & LANDE                             MOOREHEAD            MAZIEL                MS         980167           STEPHEN L SHACKELFORD
HERRILL              MERLE R               IA         8933D1            STANLEY, REHLING & LANDE                             MOOREHEAD            PAUL H                MS         980167           STEPHEN L SHACKELFORD
HAMMOND              GERALD                IA         CL71              STANTON & SORENSEN                                   MORGAN               BEATRICE              MS         980167           STEPHEN L SHACKELFORD
HAMMOND              GERALD                IA         402CV40206        STANTON & SORENSEN                                   MORGAN               BILLY F               MS         980167           STEPHEN L SHACKELFORD
HAMMOND              SANDRA L              IA         CL71              STANTON & SORENSEN                                   MOSS                 JAMES W               MS         980167           STEPHEN L SHACKELFORD
HAMMOND              SANDRA L              IA         402CV40206        STANTON & SORENSEN                                   MOSS                 SHIRLEY               MS         980167           STEPHEN L SHACKELFORD
SCONYERS             AMY                   IA         042713            STANTON & SORENSEN                                   MURPHY               HELEN H               MS         980167           STEPHEN L SHACKELFORD
SCONYERS             AMY                   IA         LACV042713        STANTON & SORENSEN                                   MURPHY               KENNETH E             MS         980167           STEPHEN L SHACKELFORD
SCONYERS             LOIS A                IA         042713            STANTON & SORENSEN                                   NEWMAN               LEONARD LEON          MS         980167           STEPHEN L SHACKELFORD
SCONYERS             LOIS A                IA         LACV042713        STANTON & SORENSEN                                   PORTER               ERVIN JR              MS         980167           STEPHEN L SHACKELFORD
SEEMAN               ERNEST H              IA         LACV026809        STANTON & SORENSEN                                   POWE                 BONNIE                MS         04KV0182S        STEPHEN L SHACKELFORD
SEEMAN               HAZEL M               IA         LACV026809        STANTON & SORENSEN                                   POWE                 MICHAEL               MS         04KV0182S        STEPHEN L SHACKELFORD




                                                                                                             Appendix A - 669
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 4 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

POWELL               JAMES                 MS         980167             STEPHEN L SHACKELFORD                                BARNETT              OLETTA                KY         96CI00249        SUTTER LAW FIRM
PRICE                RAY                   MS         980167             STEPHEN L SHACKELFORD                                BATES                LORENA                KY         95CI00583        SUTTER LAW FIRM
RIDDLE               EDWINA                MS         980167             STEPHEN L SHACKELFORD                                BATES                MANUEL L              KY         95CI00583        SUTTER LAW FIRM
RIDDLE               JIMMIE F              MS         980167             STEPHEN L SHACKELFORD                                BENTLEY              DOROTHY               KY         96CI00249        SUTTER LAW FIRM
RILEY                CLINTON D             MS         980167             STEPHEN L SHACKELFORD                                BENTLEY              PAUL E                KY         96CI00249        SUTTER LAW FIRM
ROBB                 LEE                   MS         980167             STEPHEN L SHACKELFORD                                BLANTON              GLORIA                WV         01C3344          SUTTER LAW FIRM
ROBB                 ORA                   MS         980167             STEPHEN L SHACKELFORD                                BLANTON              MARVIN                WV         01C3344          SUTTER LAW FIRM
SALLEY               GEORGE A              MS         980167             STEPHEN L SHACKELFORD                                BOGGS                INEZ                  KY         95CI563          SUTTER LAW FIRM
SUMMERVILLE          MOSES                 MS         980167             STEPHEN L SHACKELFORD                                BOGGS                ORA E                 KY         95CI563          SUTTER LAW FIRM
SWAN                 EARL H JR             MS         980167             STEPHEN L SHACKELFORD                                BOGGS                RALPH                 WV         03C164           SUTTER LAW FIRM
SYLVESTER            EDGAR                 MS         04KV0182S          STEPHEN L SHACKELFORD                                BOGGS                RUTH                  WV         03C164           SUTTER LAW FIRM
TEAGUE               JERRY W               MS         980167             STEPHEN L SHACKELFORD                                BOND                 CHARLES B             KY         95CI00422        SUTTER LAW FIRM
TULLOS               JESSEE L              MS         980167             STEPHEN L SHACKELFORD                                BOND                 JOHNNY R              KY         95CI00422        SUTTER LAW FIRM
WALKER               ALBERT                MS         980167             STEPHEN L SHACKELFORD                                BOND                 SANDRA                KY         95CI00422        SUTTER LAW FIRM
WALKER               BERNICE               MS         980167             STEPHEN L SHACKELFORD                                BOND                 TERESA                KY         95CI00422        SUTTER LAW FIRM
WARREN               BRUCE E               MS         980167             STEPHEN L SHACKELFORD                                BOSTICK              ROBERT R              WV         16C1872          SUTTER LAW FIRM
WARREN               CAROLYN               MS         980167             STEPHEN L SHACKELFORD                                BOSTICK              SHIRLEY               WV         16C1872          SUTTER LAW FIRM
WHITAKER             CHARLES E             MS         980167             STEPHEN L SHACKELFORD                                BOTTS                GEORGE                KY         96CI00249        SUTTER LAW FIRM
WILBURN              ROBERT                MS         980167             STEPHEN L SHACKELFORD                                BOTTS                RUTH                  KY         96CI00249        SUTTER LAW FIRM
WILLIAMS             SUSANNA               MS         04KV0182S          STEPHEN L SHACKELFORD                                BOYD                 CHARLES B JR          KY         97CI01236        SUTTER LAW FIRM
WINDHAM              MAX S                 MS         980167             STEPHEN L SHACKELFORD                                BOYD                 ELIZABETH             KY         97CI01236        SUTTER LAW FIRM
WOOD                 ROY G                 MS         980167             STEPHEN L SHACKELFORD                                BOYD                 REBECCA               KY         95CI00421        SUTTER LAW FIRM
WOOD                 VOLLIE                MS         980167             STEPHEN L SHACKELFORD                                BOYD                 WILLIS K              KY         95CI00421        SUTTER LAW FIRM
MENAFEE              CORNELL               AL         43CV201690042000   STEVE R. MORRIS                                      BOYLES               CHRISTINE             KY         95CI00583        SUTTER LAW FIRM
MENAFEE              ROSA ANN              AL         43CV201690042000   STEVE R. MORRIS                                      BOYLES               HAROLD D              KY         95CI00583        SUTTER LAW FIRM
SAMPSON              BETTY                 TX         33039              STEWART, VAUGHN O, ESQ                               BRADLEY              CONNIE                KY         95CI00583        SUTTER LAW FIRM
SAMPSON              EDGAR                 TX         33039              STEWART, VAUGHN O, ESQ                               BRADLEY              ROGER C               KY         95CI00583        SUTTER LAW FIRM
BUCKNER              DOROTHY F             TN         09C1422            STULCE & YANTIS                                      BRANHAM              DONALD R              KY         95CI00421        SUTTER LAW FIRM
BURKHART             WILLIAM E             MS         2002451CV12        SULLIVAN & SULLIVAN PLLC                             BRANHAM              E ROSE                KY         95CI00583        SUTTER LAW FIRM
FREEMAN              BETTY LOU             MS         2002451CV12        SULLIVAN & SULLIVAN PLLC                             BRANHAM              REBECCA J             KY         95CI00421        SUTTER LAW FIRM
FREEMAN              CHESTER K             MS         2002451CV12        SULLIVAN & SULLIVAN PLLC                             BRANHAM              ROBERT H              KY         95CI00583        SUTTER LAW FIRM
HALES                DORIS                 MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BREWSTER             BARBARA J             WV         07C2627          SUTTER LAW FIRM
HALES                DORIS A               MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BREWSTER             JACK DONSELL          WV         07C2627          SUTTER LAW FIRM
HALES                ROBERT R              MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BRIDGES              DOROTHY               KY         95CI00422        SUTTER LAW FIRM
KIRK                 GARY                  MS         2002265CV9         SULLIVAN & SULLIVAN PLLC                             BRIDGES              ROBERT                KY         95CI00422        SUTTER LAW FIRM
LEWIS                JAMES F               MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BROUGHTON            DAVID M               KY         95CI00583        SUTTER LAW FIRM
MCGEE                THERON                MS         2002451CV12        SULLIVAN & SULLIVAN PLLC                             BROUGHTON            SUSAN                 KY         95CI00583        SUTTER LAW FIRM
MEEKS                GROVER                MS         2002265CV9         SULLIVAN & SULLIVAN PLLC                             BROWN                ERICA                 KY         95CI00583        SUTTER LAW FIRM
SMITH                DONALD G              MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BROWN                HELEN                 KY         96CI00249        SUTTER LAW FIRM
SUMRALL              BONNIE L              MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BROWN                HERBERT               KY         96CI00249        SUTTER LAW FIRM
SUMRALL              JEWEL                 MS         20020108CV3        SULLIVAN & SULLIVAN PLLC                             BROWN                JACK L JR             KY         95CI00583        SUTTER LAW FIRM
TAYLOR               HENRY E               MS         2002451CV12        SULLIVAN & SULLIVAN PLLC                             BROWNING             DEBRA                 KY         95CI00147        SUTTER LAW FIRM
LASANTI              FRANCIS JOSEPH        MD         1418               SULLIVAN, PAUL C                                     BROWNING             RICKIE E              KY         95CI00147        SUTTER LAW FIRM
LASANTI              WILDA ROSE            MD         1418               SULLIVAN, PAUL C                                     BRUCE                MARY                  KY         96CI00249        SUTTER LAW FIRM
BIRD                 LYNDA L               WV         12C2007            SUMMERS, RUFOLO & RODGERS                            BRUCE                WARREN J              KY         96CI00249        SUTTER LAW FIRM
BIRD                 RICHARD S             WV         12C2007            SUMMERS, RUFOLO & RODGERS                            BRUMFIELD            BELINDA               KY         95CI563          SUTTER LAW FIRM
BUCKNER              DOROTHY F             TN         09C1422            SUMMERS, RUFOLO & RODGERS                            BRUMFIELD            WILLIAM E             KY         95CI563          SUTTER LAW FIRM
DENTON               ALVIN EARL            GA         11STCV206          SUMMERS, RUFOLO & RODGERS                            BRYANT               JAMES HAROLD          WV         04C3242          SUTTER LAW FIRM
DENTON               BETTY J               GA         11STCV206          SUMMERS, RUFOLO & RODGERS                            BRYANT               SHIRLEY               WV         04C3242          SUTTER LAW FIRM
TATUM                ARTHUR L              TN         06C196             SUMMERS, RUFOLO & RODGERS                            BURNETT              LINDA S               WV         01C2965          SUTTER LAW FIRM
TATUM                NANCY                 TN         06C196             SUMMERS, RUFOLO & RODGERS                            BURNETT              RONALD J              WV         01C2965          SUTTER LAW FIRM
MITCHELL             TRULLA                GA         CV041620BR         SUTHERS LAW FIRM                                     BUSH                 J KAY                 KY         95CI00421        SUTTER LAW FIRM
MITCHELL             WILLIAM H             GA         CV041620BR         SUTHERS LAW FIRM                                     BUSH                 KENNETH R             KY         95CI00421        SUTTER LAW FIRM
RICCI                BESSIE MAE            GA         STCV1301268        SUTHERS LAW FIRM                                     CAMPBELL             DANESE                KY         96CI00249        SUTTER LAW FIRM
RICCI                DANIEL L              GA         STCV1301268        SUTHERS LAW FIRM                                     CAMPBELL             DANNIE M              KY         96CI00249        SUTTER LAW FIRM
WILLIAMS             GRACIE H              GA         STCV0401979GI      SUTHERS LAW FIRM                                     CAMPBELL             NEYMON                KY         97CI01011        SUTTER LAW FIRM
WILLIAMS             RUBEN N               GA         STCV0401979GI      SUTHERS LAW FIRM                                     CAMPBELL             RHONDA                KY         97CI01011        SUTTER LAW FIRM
ADAMS                ELMER                 KY         96CI00249          SUTTER LAW FIRM                                      CARTER               BRUCE E               KY         95CI00421        SUTTER LAW FIRM
ADAMS                JACKIE                KY         95CI00145          SUTTER LAW FIRM                                      CARTER               JACK B                KY         96CI00249        SUTTER LAW FIRM
ADAMS                TINY                  KY         95CI00145          SUTTER LAW FIRM                                      CARTER               KAREN                 KY         95CI00421        SUTTER LAW FIRM
ALIFF                ELBA A                KY         97CI01010          SUTTER LAW FIRM                                      CARTER               MINNIE                KY         96CI00249        SUTTER LAW FIRM
ALLEN                JACK L                KY         95CI00583          SUTTER LAW FIRM                                      CHAFFIN              BRENDA                KY         95CI00583        SUTTER LAW FIRM
ALLEY                ELLIS                 WV         01C3344            SUTTER LAW FIRM                                      CHAFFIN              WRAY W                KY         95CI00583        SUTTER LAW FIRM
ALLEY                REBA MAXINE           WV         01C3344            SUTTER LAW FIRM                                      CLARIDGE             DANIEL N              KY         95CI00591        SUTTER LAW FIRM
BADIS                CHARLES               WV         02C720             SUTTER LAW FIRM                                      CLARIDGE             DONNA                 KY         95CI00591        SUTTER LAW FIRM
BAILEY               ELDEAN                KY         95CI00421          SUTTER LAW FIRM                                      CLARKE               CLARENCE E            WV         19C431           SUTTER LAW FIRM
BAILEY               LLOYD C               KY         96CI00249          SUTTER LAW FIRM                                      CLARKE               DIANA                 WV         19C431           SUTTER LAW FIRM
BAILEY               NANCY                 KY         96CI00249          SUTTER LAW FIRM                                      CLESTER              CARLA                 WV         03CC2749         SUTTER LAW FIRM
BAILEY               PHILLIP G             KY         95CI00421          SUTTER LAW FIRM                                      CLESTER              RONALD E              WV         03CC2749         SUTTER LAW FIRM
BANE                 JAMES T               WV         03C164             SUTTER LAW FIRM                                      COCHRAN              JAMES A               WV         01C3344          SUTTER LAW FIRM
BARNETT              CLARENCE M            KY         96CI00249          SUTTER LAW FIRM                                      COGAR                JEAN ANN              WV         01C3344          SUTTER LAW FIRM




                                                                                                              Appendix A - 670
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 5 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COGAR                PORTER G              WV         01C3344          SUTTER LAW FIRM                                      GROSSL               JOHN B                KY         95CI00421        SUTTER LAW FIRM
COLLIER              MARGARET              KY         97CI00185        SUTTER LAW FIRM                                      GROVE                DAVID L               KY         95CI00421        SUTTER LAW FIRM
COLLIER              WILLIAM T             KY         97CI00185        SUTTER LAW FIRM                                      GROVE                DAVID L               WV         11C355           SUTTER LAW FIRM
CONSIGLIO            PATRICIA              KY         95CI00583        SUTTER LAW FIRM                                      GROVE                NANCY                 KY         95CI00421        SUTTER LAW FIRM
CONSIGLIO            RALPH E               KY         95CI00583        SUTTER LAW FIRM                                      GROVE                NANCY                 WV         11C355           SUTTER LAW FIRM
COOKSEY              MARIE                 KY         95CI00583        SUTTER LAW FIRM                                      GULLETT              PAUL                  KY         96CI00778        SUTTER LAW FIRM
COOKSEY              RALPH E               KY         95CI00583        SUTTER LAW FIRM                                      GULLETT              YVONNE                KY         96CI00778        SUTTER LAW FIRM
CORDIAL              ELIZABETH             KY         96CI00249        SUTTER LAW FIRM                                      HAINES               ROGER A               KY         97CI01236        SUTTER LAW FIRM
CORDIAL              ROBERT                KY         96CI00249        SUTTER LAW FIRM                                      HAINES               SHARON                KY         97CI01236        SUTTER LAW FIRM
CORNETTE             BETTY                 KY         97CI00500        SUTTER LAW FIRM                                      HALL                 BARBARA               KY         95CI00421        SUTTER LAW FIRM
CORNETTE             DANNY B               KY         97CI00500        SUTTER LAW FIRM                                      HALL                 BARBARA               KY         95CI00422        SUTTER LAW FIRM
CRAIG                LUTHER E              KY         95CI00421        SUTTER LAW FIRM                                      HALL                 DEBORAH               KY         95CI00422        SUTTER LAW FIRM
CRAIG                NANCY                 KY         95CI00421        SUTTER LAW FIRM                                      HALL                 IRIS                  KY         95CI00555        SUTTER LAW FIRM
CREGGER              MARGARET              WV         01C3344          SUTTER LAW FIRM                                      HALL                 JACK P                KY         95CI00555        SUTTER LAW FIRM
CREGGER              WARREN K              WV         01C3344          SUTTER LAW FIRM                                      HALL                 JAMES L               KY         95CI00422        SUTTER LAW FIRM
DAME                 OSCAR L               WV         03C164           SUTTER LAW FIRM                                      HALL                 RAYMOND E             KY         95CI00422        SUTTER LAW FIRM
DANIELS              BEATRICE M            KY         95CI00421        SUTTER LAW FIRM                                      HALL                 WENDELL G             KY         95CI00421        SUTTER LAW FIRM
DANIELS              JAMES D               KY         95CI00421        SUTTER LAW FIRM                                      HAMILTON             GARY E                KY         95CI00421        SUTTER LAW FIRM
DANIELS              MARY                  WV         03CC2749         SUTTER LAW FIRM                                      HAMILTON             ZONA                  KY         95CI00421        SUTTER LAW FIRM
DANIELS              PAUL M                WV         03CC2749         SUTTER LAW FIRM                                      HANNAH               ARBY E                WV         03C164           SUTTER LAW FIRM
DAVIS                HAROLD NEWTON         WV         13C852           SUTTER LAW FIRM                                      HANNAH               DAVID H               KY         95CI00421        SUTTER LAW FIRM
DAVIS                HARVEY J              WV         03CC2749         SUTTER LAW FIRM                                      HANNAH               LINDA                 KY         95CI00421        SUTTER LAW FIRM
DAVIS                JAMES L               WV         19C836           SUTTER LAW FIRM                                      HANNAH               WANDA                 WV         03C164           SUTTER LAW FIRM
DAVIS                JAMES P               KY         97CI01011        SUTTER LAW FIRM                                      HANSON               JOSEPH                WV         02C414           SUTTER LAW FIRM
DAVIS                KEREN                 KY         97CI01011        SUTTER LAW FIRM                                      HARDIN               PAUL K                WV         02C720           SUTTER LAW FIRM
DAVIS                KIMBERLY D            WV         19C836           SUTTER LAW FIRM                                      HARDIN               SANDRA                WV         02C720           SUTTER LAW FIRM
DAVIS                LINDA                 WV         03CC2749         SUTTER LAW FIRM                                      HARRIS               CAROLYN               KY         95CI00422        SUTTER LAW FIRM
DAVIS                PHYLLIS               WV         13C852           SUTTER LAW FIRM                                      HARRIS               WILLARD H             KY         95CI00422        SUTTER LAW FIRM
DEZARN               JULIANE               KY         95CI00421        SUTTER LAW FIRM                                      HELTON               CASEY J               KY         95CI00591        SUTTER LAW FIRM
DEZARN               ROBERT L              KY         95CI00421        SUTTER LAW FIRM                                      HELTON               EDNA                  KY         95CI00591        SUTTER LAW FIRM
DIXON                ETHEL                 KY         95CI00421        SUTTER LAW FIRM                                      HELTON               MAGGIE                KY         95CI00422        SUTTER LAW FIRM
DIXON                GARY G                KY         95CI00421        SUTTER LAW FIRM                                      HELTON               MELVIN                KY         95CI00422        SUTTER LAW FIRM
DONTA                CHRISTINA             KY         95CI00583        SUTTER LAW FIRM                                      HENSON               ELMER                 KY         97CI00294        SUTTER LAW FIRM
DONTA                PAUL E                KY         95CI00583        SUTTER LAW FIRM                                      HENSON               GLADYS                KY         97CI00294        SUTTER LAW FIRM
EDMON                JAMES E               KY         95CI00583        SUTTER LAW FIRM                                      HOLBROOK             CHARLES R             KY         95CI563          SUTTER LAW FIRM
EDMON                JANET                 KY         95CI00583        SUTTER LAW FIRM                                      HOLBROOK             PEGGY                 KY         95CI563          SUTTER LAW FIRM
ELKINS               JAMES W               KY         95CI00583        SUTTER LAW FIRM                                      HOUDYSCHELL          CHARLES P             KY         95CI00583        SUTTER LAW FIRM
ELKINS               PHYLLIS               KY         95CI00583        SUTTER LAW FIRM                                      HOUDYSCHELL          MARY                  KY         95CI00583        SUTTER LAW FIRM
EVANS                DREW                  WV         01C3344          SUTTER LAW FIRM                                      HOWARD               BONNIE                WV         01C3344          SUTTER LAW FIRM
EVANS                LINDA                 KY         95CI00421        SUTTER LAW FIRM                                      HOWARD               DARRELL               WV         01C3344          SUTTER LAW FIRM
EVANS                SHIRLEY               WV         01C3344          SUTTER LAW FIRM                                      HOWARD               OPAL                  KY         97CI01011        SUTTER LAW FIRM
EVANS                WILLIAM E             KY         95CI00421        SUTTER LAW FIRM                                      HOWARD               RUBEN                 KY         97CI01011        SUTTER LAW FIRM
FERGUSON             JOHN M                KY         95CI00583        SUTTER LAW FIRM                                      HUFFMAN              CORA                  WV         01C3344          SUTTER LAW FIRM
FERGUSON             JOYCE                 KY         95CI00583        SUTTER LAW FIRM                                      HUFFMAN              JESSE J               WV         01C3344          SUTTER LAW FIRM
FLUTY                CAROLYN               KY         96CI00249        SUTTER LAW FIRM                                      HUNLEY               DONNA                 KY         97CI01011        SUTTER LAW FIRM
FLUTY                WILLIAM R             KY         96CI00249        SUTTER LAW FIRM                                      HUNLEY               GARY                  KY         97CI01011        SUTTER LAW FIRM
FOX                  CARL U JR             KY         95CI00583        SUTTER LAW FIRM                                      HUSK                 BETTY                 WV         05C2365          SUTTER LAW FIRM
FOX                  LOANNA                KY         95CI00583        SUTTER LAW FIRM                                      HUSK                 EDWARD E              WV         05C2365          SUTTER LAW FIRM
FRITZ                DENNIS E              KY         95CI00422        SUTTER LAW FIRM                                      HUTCHINSON           BERNICE               KY         96CI00282        SUTTER LAW FIRM
FULLER               LINDA                 KY         95CI00583        SUTTER LAW FIRM                                      HUTCHINSON           RULIE                 KY         96CI00282        SUTTER LAW FIRM
FULLER               ROBERT D JR           KY         95CI00583        SUTTER LAW FIRM                                      HYDRICK              ATHEL W               KY         95CI00421        SUTTER LAW FIRM
GARNES               CHARLES K             WV         03CC2749         SUTTER LAW FIRM                                      ISON                 BRENDA                KY         95CI00421        SUTTER LAW FIRM
GARNES               CHARLOTTE             WV         03CC2749         SUTTER LAW FIRM                                      ISON                 MAX R                 KY         95CI00421        SUTTER LAW FIRM
GATES                JAMES R               KY         95CI00584        SUTTER LAW FIRM                                      JACKSON              ARISTELLA             KY         95CI00421        SUTTER LAW FIRM
GATES                LINDA                 KY         95CI00584        SUTTER LAW FIRM                                      JACKSON              LEROY                 KY         95CI00421        SUTTER LAW FIRM
GILLESPIE            ASA I                 KY         96CI00249        SUTTER LAW FIRM                                      JAMES                WALTER L              WV         05C2651          SUTTER LAW FIRM
GILLESPIE            CLAUDYNE              KY         96CI00249        SUTTER LAW FIRM                                      JOHNSON              BILLY L               KY         95CI563          SUTTER LAW FIRM
GILLIAM              PAUL                  KY         97CI00185        SUTTER LAW FIRM                                      JOHNSON              CLYDE L               KY         96CI00249        SUTTER LAW FIRM
GILLIAM              SARA                  KY         97CI00185        SUTTER LAW FIRM                                      JOHNSON              DONNA                 KY         95CI563          SUTTER LAW FIRM
GILLUM               BEVERLY               KY         95CI563          SUTTER LAW FIRM                                      JONES                RUSSELL C             KY         95CI00422        SUTTER LAW FIRM
GILLUM               EDGAR L               KY         95CI563          SUTTER LAW FIRM                                      JUSTICE              GLADYS                KY         96CI00249        SUTTER LAW FIRM
GIPSON               SHIRLY                KY         95CI563          SUTTER LAW FIRM                                      JUSTICE              JAMES R               KY         95CI563          SUTTER LAW FIRM
GRAY                 CLARENCE E SR         KY         95CI00421        SUTTER LAW FIRM                                      JUSTICE              JUDY                  KY         95CI563          SUTTER LAW FIRM
GRAY                 MILDRED O             KY         95CI00421        SUTTER LAW FIRM                                      JUSTICE              RAYMOND               KY         96CI00249        SUTTER LAW FIRM
GREEN                ALBERTA               KY         96CI00249        SUTTER LAW FIRM                                      KAZEE                DONNA                 KY         95CI563          SUTTER LAW FIRM
GREEN                CHARLES W             KY         96CI00249        SUTTER LAW FIRM                                      KAZEE                ELVA A                KY         95CI563          SUTTER LAW FIRM
GRIBBLE              CAROL                 WV         03C164           SUTTER LAW FIRM                                      KEETON               JAMES E JR            KY         95CI00421        SUTTER LAW FIRM
GRIBBLE              DENZIL R              WV         03C164           SUTTER LAW FIRM                                      KEETON               LARRY W               KY         95CI563          SUTTER LAW FIRM
GRIFFITH             DONNA D               KY         98CI00734        SUTTER LAW FIRM                                      KEETON               NANCY L               KY         95CI563          SUTTER LAW FIRM
GRIFFITH             ROGER W               KY         98CI00734        SUTTER LAW FIRM                                      KEETON               THELMA                KY         95CI00421        SUTTER LAW FIRM
GROSSL               BETTY                 KY         95CI00421        SUTTER LAW FIRM                                      KEMPER               JACK D                KY         95CI00421        SUTTER LAW FIRM




                                                                                                            Appendix A - 671
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 6 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KEYS                 TOMMY S               KY         95CI563          SUTTER LAW FIRM                                      MCDONIE              MAE                   KY         97CI00185        SUTTER LAW FIRM
KINGERY              DEBRA                 KY         95CI563          SUTTER LAW FIRM                                      MCDONIE              WILLIAM O             KY         97CI00185        SUTTER LAW FIRM
KINGERY              RONNIE G              KY         95CI563          SUTTER LAW FIRM                                      MCGLONE              EDGAR R               KY         95CI563          SUTTER LAW FIRM
KITCHEN              BETTY                 KY         95CI00422        SUTTER LAW FIRM                                      MCGLONE              FREDRICK              KY         95CI00583        SUTTER LAW FIRM
KITCHEN              CHARLES S             KY         95CI563          SUTTER LAW FIRM                                      MCGLONE              PRISCILLA             KY         95CI00583        SUTTER LAW FIRM
KITCHEN              GLEN E                KY         95CI563          SUTTER LAW FIRM                                      MCGLONE              VIRGINIA              KY         95CI563          SUTTER LAW FIRM
KITCHEN              HENRIETTA             KY         95CI563          SUTTER LAW FIRM                                      MCKENZIE             JERRY W               KY         95CI563          SUTTER LAW FIRM
KITCHEN              JERRY                 KY         95CI563          SUTTER LAW FIRM                                      MCKENZIE             SHERRI                KY         95CI563          SUTTER LAW FIRM
KITCHEN              LINDA                 KY         95CI563          SUTTER LAW FIRM                                      MEEK                 ALLEN J               KY         95CI563          SUTTER LAW FIRM
KITCHEN              ROGER L               KY         95CI00422        SUTTER LAW FIRM                                      MEEK                 RITA                  KY         95CI563          SUTTER LAW FIRM
KNICELEY             DELORES               WV         01C3344          SUTTER LAW FIRM                                      MEENACH              HAZEL                 KY         95CI563          SUTTER LAW FIRM
KNICELEY             NORMAN RAY            WV         01C3344          SUTTER LAW FIRM                                      MEENACH              KENNETH H             KY         95CI563          SUTTER LAW FIRM
KNIPP                ELLA                  KY         95CI00421        SUTTER LAW FIRM                                      MENSHOUSE            JESSE A               KY         95CI563          SUTTER LAW FIRM
KNIPP                JAMES A               KY         95CI00421        SUTTER LAW FIRM                                      MENSHOUSE            JOYCE E               KY         95CI563          SUTTER LAW FIRM
KUYPER               IRENE                 KY         95CI563          SUTTER LAW FIRM                                      MEYERS               WILLIAM A             KY         95CI563          SUTTER LAW FIRM
KUYPER               JOEL D                KY         95CI563          SUTTER LAW FIRM                                      MILLER               BASIL D               KY         95CI563          SUTTER LAW FIRM
LANG                 RALPH E               KY         95CI00421        SUTTER LAW FIRM                                      MILLER               CHARLOTTE             KY         95CI563          SUTTER LAW FIRM
LATORRE              JUDITH ANN            KY         95CI563          SUTTER LAW FIRM                                      MILLER               LESLIE V              KY         95CI563          SUTTER LAW FIRM
LAUHON               HENRY L               KY         97CI01011        SUTTER LAW FIRM                                      MILLER               PAULINE               KY         95CI563          SUTTER LAW FIRM
LAUHON               MARY                  KY         97CI01011        SUTTER LAW FIRM                                      MOORE                BILLY P               KY         95CI563          SUTTER LAW FIRM
LAWSON               ADDA MAE              KY         95CI00421        SUTTER LAW FIRM                                      MOORE                CHARLES E             KY         95CI563          SUTTER LAW FIRM
LAWSON               DELMER L              KY         95CI00421        SUTTER LAW FIRM                                      MOORE                CLARA                 KY         95CI563          SUTTER LAW FIRM
LAYNE                JAMES W III           KY         95CI563          SUTTER LAW FIRM                                      MOORE                DELBERT C             KY         95CI563          SUTTER LAW FIRM
LAYNE                PAUL E                KY         95CI563          SUTTER LAW FIRM                                      MOORE                ETTA JEAN             KY         95CI563          SUTTER LAW FIRM
LAYNE                ROBERTA               KY         95CI563          SUTTER LAW FIRM                                      MOORE                GLENDA                KY         95CI563          SUTTER LAW FIRM
LEADINGHAM           CHARLES E             KY         95CI563          SUTTER LAW FIRM                                      MOORE                JAMES F               KY         95CI563          SUTTER LAW FIRM
LEADINGHAM           LILLIAN               KY         95CI563          SUTTER LAW FIRM                                      MOORE                JERRY L               KY         95CI563          SUTTER LAW FIRM
LEBRUN               EUGENE M              KY         96CI00249        SUTTER LAW FIRM                                      MOORE                LOUELLA               KY         95CI563          SUTTER LAW FIRM
LEBRUN               JOYCE                 KY         96CI00249        SUTTER LAW FIRM                                      MOORE                MATTIE                KY         95CI563          SUTTER LAW FIRM
LEEPER               BESSIE                KY         95CI563          SUTTER LAW FIRM                                      MORRISON             AMY                   KY         95CI563          SUTTER LAW FIRM
LEEPER               VERNON D              KY         95CI563          SUTTER LAW FIRM                                      MORRISON             DEBRA                 KY         95CI563          SUTTER LAW FIRM
LEMASTER             BARBARA               KY         95CI563          SUTTER LAW FIRM                                      MORRISON             JIMMY III             KY         95CI563          SUTTER LAW FIRM
LEMASTER             DEWEY W               KY         95CI563          SUTTER LAW FIRM                                      MORRISON             JOHN D                KY         95CI563          SUTTER LAW FIRM
LEMASTER             JAMES R               KY         95CI00421        SUTTER LAW FIRM                                      MULLINS              CAROLYN               KY         95CI563          SUTTER LAW FIRM
LEMASTER             JOHNNIE H             KY         95CI563          SUTTER LAW FIRM                                      MULLINS              DONNA                 KY         95CI563          SUTTER LAW FIRM
LEMASTER             JUDITH A              KY         95CI00421        SUTTER LAW FIRM                                      MULLINS              EUNICE                KY         96CI00249        SUTTER LAW FIRM
LEMASTER             JUDY                  KY         95CI563          SUTTER LAW FIRM                                      MULLINS              GEORGE W              KY         95CI563          SUTTER LAW FIRM
LEWIS                HAROLD C              KY         95CI00422        SUTTER LAW FIRM                                      MULLINS              HARRY C               KY         96CI00249        SUTTER LAW FIRM
LITTLE               JOYCE                 KY         96CI00249        SUTTER LAW FIRM                                      MULLINS              JACK E                KY         95CI563          SUTTER LAW FIRM
LITTLE               WILLIAM V             KY         96CI00249        SUTTER LAW FIRM                                      MURREY               LUCILLE               WV         02C414           SUTTER LAW FIRM
LITTLETON            PAUL E                KY         95CI00583        SUTTER LAW FIRM                                      MURREY               ROBERT E              WV         02C414           SUTTER LAW FIRM
LOONEY               BETTY                 KY         95CI00583        SUTTER LAW FIRM                                      MUSSER               LINDA                 KY         95CI563          SUTTER LAW FIRM
LOONEY               STEPHEN M SR          KY         95CI00583        SUTTER LAW FIRM                                      MUSSER               RONALD M              KY         95CI563          SUTTER LAW FIRM
LYND                 GARLAND E             KY         95CI563          SUTTER LAW FIRM                                      MYATT                EARLY A III           KY         95CI00583        SUTTER LAW FIRM
LYND                 PENELOPE              KY         95CI563          SUTTER LAW FIRM                                      MYATT                HARLEEN               KY         95CI00583        SUTTER LAW FIRM
LYON                 BEULAH                KY         95CI563          SUTTER LAW FIRM                                      MYERS                GARY S                WV         03CC2749         SUTTER LAW FIRM
LYON                 SOUTHWELL             KY         95CI563          SUTTER LAW FIRM                                      MYERS                MARY                  WV         03CC2749         SUTTER LAW FIRM
LYONS                ANN                   KY         95CI563          SUTTER LAW FIRM                                      NANCE                GAROLD                KY         95CI563          SUTTER LAW FIRM
LYONS                THOMAS G              KY         95CI563          SUTTER LAW FIRM                                      NICHOLS              JOHNNY                KY         95CI563          SUTTER LAW FIRM
MARCUM               ANITA                 KY         97CI01011        SUTTER LAW FIRM                                      NICHOLS              MARY                  KY         95CI563          SUTTER LAW FIRM
MARCUM               LARRY R               KY         95CI563          SUTTER LAW FIRM                                      NOLAN                HELEN                 KY         95CI563          SUTTER LAW FIRM
MARCUM               ROY L                 KY         97CI01011        SUTTER LAW FIRM                                      NOLAN                ROBERT E              KY         95CI563          SUTTER LAW FIRM
MARCUM               VIVIAN M              KY         95CI563          SUTTER LAW FIRM                                      NUNLEY               DELORES A             WV         17C909           SUTTER LAW FIRM
MARSHALL             HOBART                KY         97CI01011        SUTTER LAW FIRM                                      NUNLEY               JACK                  KY         95CI00583        SUTTER LAW FIRM
MARSHALL             JOY                   KY         97CI01011        SUTTER LAW FIRM                                      NUNLEY               PATRICIA              KY         95CI00583        SUTTER LAW FIRM
MARTIN               BERNICE               KY         95CI563          SUTTER LAW FIRM                                      OSBORNE              CHARLES P             KY         95CI563          SUTTER LAW FIRM
MARTIN               JAMES E               WV         01C3344          SUTTER LAW FIRM                                      OSBORNE              CHERI                 KY         95CI563          SUTTER LAW FIRM
MARTIN               RALPH E               KY         95CI00421        SUTTER LAW FIRM                                      OSBORNE              JAN                   KY         95CI563          SUTTER LAW FIRM
MARTIN               RUTH                  KY         95CI00421        SUTTER LAW FIRM                                      OSBORNE              ROGER L               KY         95CI563          SUTTER LAW FIRM
MARTIN               WILLIAM H             KY         95CI563          SUTTER LAW FIRM                                      OSBORNE              SHIRLEY               KY         95CI563          SUTTER LAW FIRM
MAY                  THOMAS O              KY         95CI563          SUTTER LAW FIRM                                      OSBORNE              WILLIAM P             KY         95CI563          SUTTER LAW FIRM
MAYHEW               JAMES D               KY         95CI563          SUTTER LAW FIRM                                      OSBORNE              WILLIAM T             KY         95CI563          SUTTER LAW FIRM
MAYNARD              CHARLES D             KY         95CI563          SUTTER LAW FIRM                                      OTTA                 GENE J                KY         95CI563          SUTTER LAW FIRM
MAYO                 FREDA                 KY         95CI00591        SUTTER LAW FIRM                                      OTTA                 JEWEL                 KY         95CI563          SUTTER LAW FIRM
MAYO                 HAROLD D              KY         95CI00591        SUTTER LAW FIRM                                      PANCAKE              CARLA                 KY         95CI563          SUTTER LAW FIRM
MAYO                 JOHN W                WV         03C164           SUTTER LAW FIRM                                      PANCAKE              JAMES R               KY         95CI563          SUTTER LAW FIRM
MAYO                 LULA                  WV         03C164           SUTTER LAW FIRM                                      PATRICK              DEWEY JR              KY         95CI563          SUTTER LAW FIRM
MC COMAS             JOHN H                WV         03C164           SUTTER LAW FIRM                                      PATRICK              FLOSSIE               KY         95CI563          SUTTER LAW FIRM
MC COMAS             RAMONA                WV         03C164           SUTTER LAW FIRM                                      PATRICK              MARY                  KY         96CI00249        SUTTER LAW FIRM
MCCARTY              DEWEY A               KY         95CI00583        SUTTER LAW FIRM                                      PATRICK              RALPH E               KY         96CI00249        SUTTER LAW FIRM
MCCARTY              RUTH                  KY         95CI00583        SUTTER LAW FIRM                                      PENIX                HAROLD W              KY         95CI563          SUTTER LAW FIRM




                                                                                                            Appendix A - 672
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 7 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PENIX                OPAL                  KY         95CI563          SUTTER LAW FIRM                                      SEE                  ARLIE J JR            KY         97CI00185        SUTTER LAW FIRM
PENNINGTON           CHARLES W             KY         95CI563          SUTTER LAW FIRM                                      SEE                  BETTY                 KY         96CI00249        SUTTER LAW FIRM
PENNINGTON           DELORES               KY         95CI563          SUTTER LAW FIRM                                      SEE                  LINDA                 KY         97CI00185        SUTTER LAW FIRM
PENNINGTON           RHONDA                KY         95CI563          SUTTER LAW FIRM                                      SELBY                HENDERSON H           KY         95CI563          SUTTER LAW FIRM
PENNINGTON           RUBY                  KY         95CI563          SUTTER LAW FIRM                                      SELBY                SAUNDRA               KY         95CI563          SUTTER LAW FIRM
PENNINGTON           THOMAS B              KY         95CI563          SUTTER LAW FIRM                                      SENTERS              BETH                  KY         95CI563          SUTTER LAW FIRM
PENNINGTON           WILLIAM               KY         95CI563          SUTTER LAW FIRM                                      SENTERS              LUSTER JR             KY         95CI563          SUTTER LAW FIRM
PIERCY               PHYLLIS E             KY         95CI00583        SUTTER LAW FIRM                                      SEXTON               JAMES R               KY         95CI563          SUTTER LAW FIRM
PIGG                 BILLY E               KY         97CI00185        SUTTER LAW FIRM                                      SEXTON               LYNNITA               KY         95CI563          SUTTER LAW FIRM
PLUMLEY              BRENDA                KY         95CI563          SUTTER LAW FIRM                                      SHELTON              ARTHUR E              KY         96CI00249        SUTTER LAW FIRM
PLUMLEY              WALTER L              KY         95CI563          SUTTER LAW FIRM                                      SHELTON              RUTH                  KY         96CI00249        SUTTER LAW FIRM
POPLIN               DAVID C               KY         97CI01236        SUTTER LAW FIRM                                      SHEPHERD             EDGAR B               KY         95CI563          SUTTER LAW FIRM
POPLIN               DOTTIE                KY         97CI01236        SUTTER LAW FIRM                                      SHEPHERD             GRETA                 KY         95CI563          SUTTER LAW FIRM
PRATER               BETTY                 KY         95CI563          SUTTER LAW FIRM                                      SHIVEL               CAROLYN               KY         95CI563          SUTTER LAW FIRM
PRATER               WILLIAM C             KY         95CI563          SUTTER LAW FIRM                                      SHIVEL               SAMUEL E JR           KY         95CI563          SUTTER LAW FIRM
PRESTON              ARTHUR W              KY         95CI563          SUTTER LAW FIRM                                      SHORTRIDGE           FRANKLIN D            KY         95CI563          SUTTER LAW FIRM
PRESTON              DORIS                 KY         95CI563          SUTTER LAW FIRM                                      SHORTRIDGE           MARY                  KY         95CI563          SUTTER LAW FIRM
PRESTON              JAMES E               KY         95CI563          SUTTER LAW FIRM                                      SIMPKINS             DONALD R              KY         95CI00583        SUTTER LAW FIRM
PRESTON              MARTHA                KY         95CI563          SUTTER LAW FIRM                                      SIMPKINS             KAREN                 KY         95CI00583        SUTTER LAW FIRM
QUESENBERRY          ANDREW                WV         17C909           SUTTER LAW FIRM                                      SINGLETON            ELIZABETH             KY         95CI563          SUTTER LAW FIRM
RAMEY                JOYCE                 KY         95CI563          SUTTER LAW FIRM                                      SINGLETON            PAUL C                KY         95CI563          SUTTER LAW FIRM
RAMEY                WILEY D               KY         95CI563          SUTTER LAW FIRM                                      SKAGGS               JEANIE                KY         95CI563          SUTTER LAW FIRM
RAY                  DONALD                WV         05C2365          SUTTER LAW FIRM                                      SKAGGS               STEVEN A              KY         95CI563          SUTTER LAW FIRM
RAY                  SUSAN                 WV         05C2365          SUTTER LAW FIRM                                      SLONE                DIANE                 KY         95CI563          SUTTER LAW FIRM
REAPER               LEONA                 KY         95CI563          SUTTER LAW FIRM                                      SLONE                LARRY G               KY         95CI563          SUTTER LAW FIRM
REAPER               LESTER SR             KY         95CI563          SUTTER LAW FIRM                                      SMITH                DIXIE                 KY         95CI563          SUTTER LAW FIRM
REEVES               BILLY E               KY         96CI00249        SUTTER LAW FIRM                                      SMITH                DORIS                 KY         95CI563          SUTTER LAW FIRM
REEVES               NANCY                 KY         96CI00249        SUTTER LAW FIRM                                      SMITH                ELLA MAE              KY         95CI00563        SUTTER LAW FIRM
RENZI                ANDREW R              KY         95CI563          SUTTER LAW FIRM                                      SMITH                ERNEST G              KY         95CI563          SUTTER LAW FIRM
RENZI                MARY SUE              KY         95CI563          SUTTER LAW FIRM                                      SMITH                GEORGE M              KY         95CI563          SUTTER LAW FIRM
REYNOLDS             JOHN                  WV         02C414           SUTTER LAW FIRM                                      SMITH                GILBERT L             WV         03C164           SUTTER LAW FIRM
REYNOLDS             MARY                  WV         02C414           SUTTER LAW FIRM                                      SMITH                JAMES R               KY         95CI563          SUTTER LAW FIRM
RICE                 BURRELL D             KY         97CI00185        SUTTER LAW FIRM                                      SMITH                JOHN R                KY         95CI00563        SUTTER LAW FIRM
RICE                 PATRICIA              KY         97CI00185        SUTTER LAW FIRM                                      SMITH                JOHNNY J              KY         95CI563          SUTTER LAW FIRM
RIDDLE               SAMUEL G              KY         95CI563          SUTTER LAW FIRM                                      SMITH                JOYCE                 KY         95CI563          SUTTER LAW FIRM
RIGNEY               JUDA                  KY         95CI00583        SUTTER LAW FIRM                                      SMITH                LYDIA                 KY         95CI563          SUTTER LAW FIRM
RIGNEY               WILSON L              KY         95CI00583        SUTTER LAW FIRM                                      SMITH                MICHAEL E             KY         95CI563          SUTTER LAW FIRM
ROBERTS              BOBBY G               KY         95CI563          SUTTER LAW FIRM                                      SMITH                RHONDA                KY         95CI563          SUTTER LAW FIRM
ROBERTS              DALE P                KY         95CI563          SUTTER LAW FIRM                                      SMITH                ROGER D               KY         95CI563          SUTTER LAW FIRM
ROBERTS              LOLA                  KY         95CI563          SUTTER LAW FIRM                                      SMITH                SUSAN                 KY         95CI563          SUTTER LAW FIRM
ROBERTS              MARY                  KY         95CI563          SUTTER LAW FIRM                                      SMITH                TIMOTHY W             KY         95CI563          SUTTER LAW FIRM
ROBERTS              MAYME                 KY         95CI563          SUTTER LAW FIRM                                      SMITH                VIRGINIA              KY         95CI563          SUTTER LAW FIRM
ROBERTS              RALPH D               KY         95CI563          SUTTER LAW FIRM                                      SMTIH                JEAN                  WV         03C164           SUTTER LAW FIRM
ROBINSON             BETTY                 KY         95CI563          SUTTER LAW FIRM                                      SNOWDEN              MILTON R              KY         95CI563          SUTTER LAW FIRM
ROBINSON             DANNY E               KY         95CI563          SUTTER LAW FIRM                                      SPANGLER             AJ                    KY         95CI563          SUTTER LAW FIRM
ROBINSON             JOHN W                KY         95CI563          SUTTER LAW FIRM                                      SPANGLER             IMOGENE               KY         95CI563          SUTTER LAW FIRM
ROBINSON             MARY JANE             KY         95CI563          SUTTER LAW FIRM                                      SPARKS               ANDREA SUE            KY         95CI563          SUTTER LAW FIRM
ROBINSON             STANLEY L             KY         95CI563          SUTTER LAW FIRM                                      SPARKS               BRIAN                 KY         95CI563          SUTTER LAW FIRM
ROGERS               CHARLES E             KY         96CI00249        SUTTER LAW FIRM                                      SPARKS               ERNEST PETE           KY         95CI563          SUTTER LAW FIRM
ROGERS               CHARLES O             KY         95CI563          SUTTER LAW FIRM                                      SPARKS               GARY                  KY         95CI563          SUTTER LAW FIRM
ROGERS               FREDA                 KY         96CI00249        SUTTER LAW FIRM                                      SPARKS               PHYLLIS               KY         95CI563          SUTTER LAW FIRM
ROGERS               IVA                   KY         95CI563          SUTTER LAW FIRM                                      SPEARS               JAMES F               KY         95CI00583        SUTTER LAW FIRM
ROSEBERRY            LONA                  KY         97CI00185        SUTTER LAW FIRM                                      SPEARS               JUDITH                KY         95CI00583        SUTTER LAW FIRM
ROSEBERRY            WINFRED R             KY         97CI00185        SUTTER LAW FIRM                                      SPEARS               NELL                  KY         95CI00583        SUTTER LAW FIRM
RUNION               PAULINE               WV         01C3344          SUTTER LAW FIRM                                      SPEARS               STEPHEN               KY         95CI00583        SUTTER LAW FIRM
RUNION               ROBERT G              WV         01C3344          SUTTER LAW FIRM                                      SPROUSE              CHARLES B             KY         95CI563          SUTTER LAW FIRM
RUSSELL              CLIFFORD R            WV         03C164           SUTTER LAW FIRM                                      STAFFORD             ESTILL                KY         95CI563          SUTTER LAW FIRM
RUSSELL              MARY LOU              WV         03C164           SUTTER LAW FIRM                                      STAFFORD             GRACE                 KY         95CI563          SUTTER LAW FIRM
RUTHERFORD           CLINTON E             KY         95CI00583        SUTTER LAW FIRM                                      STAPLETON            BOBBE                 KY         96CI00249        SUTTER LAW FIRM
RUTHERFORD           PATRICIA              KY         95CI00583        SUTTER LAW FIRM                                      STAPLETON            JAMES O               KY         96CI00249        SUTTER LAW FIRM
RYAN                 BILLY W               KY         95CI563          SUTTER LAW FIRM                                      STEELE               BARBARA               KY         95CI563          SUTTER LAW FIRM
RYAN                 JANICE A              KY         95CI563          SUTTER LAW FIRM                                      STEELE               DAVID L               KY         95CI563          SUTTER LAW FIRM
SAMMONS              BONNIE                KY         96CI00249        SUTTER LAW FIRM                                      STEPHENS             HELEN                 KY         95CI563          SUTTER LAW FIRM
SAMMONS              ELMER C               KY         96CI00249        SUTTER LAW FIRM                                      STEPHENS             WALTER R JR           KY         95CI563          SUTTER LAW FIRM
SCHERER              BETTY                 KY         95CI563          SUTTER LAW FIRM                                      STEVENS              BARBARA               KY         97CI00500        SUTTER LAW FIRM
SCHERER              GERALD W              KY         95CI563          SUTTER LAW FIRM                                      STEVENS              BOB L                 KY         97CI00500        SUTTER LAW FIRM
SCOTT                CURTIS W              KY         95CI563          SUTTER LAW FIRM                                      STEVENS              MARY                  KY         95CI563          SUTTER LAW FIRM
SCOTT                HARRIET               KY         95CI563          SUTTER LAW FIRM                                      STEVENS              WAYNE                 KY         95CI563          SUTTER LAW FIRM
SCOTT                MARGIE                KY         95CI563          SUTTER LAW FIRM                                      STEWART              DORIS                 KY         97CI01236        SUTTER LAW FIRM
SCOTT                WILLIAM F             KY         95CI563          SUTTER LAW FIRM                                      STEWART              FOREST D              KY         95CI563          SUTTER LAW FIRM
SEE                  AMOS                  KY         96CI00249        SUTTER LAW FIRM                                      STEWART              IVAN D                KY         95CI563          SUTTER LAW FIRM




                                                                                                            Appendix A - 673
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 8 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STEWART              NANCY                 KY         95CI563          SUTTER LAW FIRM                                      WELLS                RUSSELL E JR          KY         95CI563          SUTTER LAW FIRM
STEWART              ROGER L               KY         97CI01236        SUTTER LAW FIRM                                      WENTZ                BETTY JO              WV         03C164           SUTTER LAW FIRM
STEWART              SHIRLEY               KY         95CI563          SUTTER LAW FIRM                                      WENTZ                STEPHEN W             WV         03C164           SUTTER LAW FIRM
STROTHER             AUDREY                KY         95CI563          SUTTER LAW FIRM                                      WHEELER              HARRY W               KY         95CI563          SUTTER LAW FIRM
STROTHER             JAMES E               KY         95CI563          SUTTER LAW FIRM                                      WHITE                BRENDA                KY         95CI00552        SUTTER LAW FIRM
STUMP                JAMES L               KY         95CI563          SUTTER LAW FIRM                                      WHITE                RUSSELL D             KY         95CI00552        SUTTER LAW FIRM
STUMP                SHIRLEY F             KY         95CI563          SUTTER LAW FIRM                                      WHITLEY              NORMA                 KY         95CI563          SUTTER LAW FIRM
STURGILL             DONALD B              KY         97CI00185        SUTTER LAW FIRM                                      WHITLEY              RICHARD               KY         95CI563          SUTTER LAW FIRM
STURGILL             LORETTA               KY         97CI00185        SUTTER LAW FIRM                                      WHITT                JACK V                KY         95CI563          SUTTER LAW FIRM
SUBLETT              DONALD G              KY         95CI00583        SUTTER LAW FIRM                                      WHITT                MARTHA                KY         95CI563          SUTTER LAW FIRM
SUBLETT              NELLIE                KY         95CI00583        SUTTER LAW FIRM                                      WILCOX               DWIGHT                KY         95CI563          SUTTER LAW FIRM
SWANAGAN             HARVALYNN             KY         95CI563          SUTTER LAW FIRM                                      WILLIAMS             DOROTHEY              KY         95CI563          SUTTER LAW FIRM
SWANAGAN             JAMES A               KY         95CI563          SUTTER LAW FIRM                                      WILLIAMS             WILLIAM J             KY         95CI563          SUTTER LAW FIRM
TACKETT              GRANVILLE             KY         95CI563          SUTTER LAW FIRM                                      WILLIAMSON           DENNIS R              KY         95CI563          SUTTER LAW FIRM
TACKETT              HILLARD               KY         95CI563          SUTTER LAW FIRM                                      WILLIAMSON           SUSAN                 KY         95CI563          SUTTER LAW FIRM
TACKETT              VERNA                 KY         95CI563          SUTTER LAW FIRM                                      WILSON               KERMIT W              KY         95CI563          SUTTER LAW FIRM
TAUL                 DOROTHY               KY         95CI563          SUTTER LAW FIRM                                      WILSON               MARTHA                KY         95CI563          SUTTER LAW FIRM
TAUL                 JESSE H               KY         95CI563          SUTTER LAW FIRM                                      WINTERS              CORA                  KY         95CI563          SUTTER LAW FIRM
TAYLOR               CARL E                KY         95CI563          SUTTER LAW FIRM                                      WINTERS              DONALD F              KY         95CI563          SUTTER LAW FIRM
THOMAS               EMMA                  KY         95CI563          SUTTER LAW FIRM                                      WINTERS              MARTHA                KY         95CI563          SUTTER LAW FIRM
THOMAS               HUBERT G              KY         95CI563          SUTTER LAW FIRM                                      WINTERS              RONALD A              KY         95CI563          SUTTER LAW FIRM
THOMAS               JANET                 WV         03CC2749         SUTTER LAW FIRM                                      WISE                 ALBERT E              KY         95CI563          SUTTER LAW FIRM
THOMAS               JESSE H               WV         03CC2749         SUTTER LAW FIRM                                      WISE                 ALBERTA               KY         95CI563          SUTTER LAW FIRM
THOMAS               RITA P                KY         96CI00249        SUTTER LAW FIRM                                      WISE                 ORVILLE R             KY         95CI563          SUTTER LAW FIRM
THOMPSON             BRENDA                KY         95CI563          SUTTER LAW FIRM                                      WISE                 SHARON                KY         95CI563          SUTTER LAW FIRM
THOMPSON             JACK B SR             KY         95CI563          SUTTER LAW FIRM                                      WITHROW              CHARLES V             KY         95CI563          SUTTER LAW FIRM
THOMPSON             MARY                  KY         95CI563          SUTTER LAW FIRM                                      WOODRUFF             HAROLD D              KY         95CI563          SUTTER LAW FIRM
THOMPSON             PERRY E               KY         95CI563          SUTTER LAW FIRM                                      WOODRUFF             JOYCE                 KY         95CI563          SUTTER LAW FIRM
THOMPSON             ROBERT H              KY         95CI563          SUTTER LAW FIRM                                      WOODS                DELORIS               KY         96CI00249        SUTTER LAW FIRM
TOLER                CLINTON H             WV         02C720           SUTTER LAW FIRM                                      WOODS                RONALD E              KY         96CI00249        SUTTER LAW FIRM
TOLER                SHARON                WV         02C720           SUTTER LAW FIRM                                      WOODS                ROY E                 KY         95CI563          SUTTER LAW FIRM
TOMLIN               BETTY                 KY         96CI00249        SUTTER LAW FIRM                                      WOODS                SONJA                 KY         95CI563          SUTTER LAW FIRM
TOMLIN               CARLOS C SR           KY         96CI00249        SUTTER LAW FIRM                                      WRIGHT               BALLARD               KY         02CI00032        SUTTER LAW FIRM
TORGRIMSON           DIANA                 KY         95CI563          SUTTER LAW FIRM                                      WRIGHT               FAYE                  KY         02CI00032        SUTTER LAW FIRM
TORGRIMSON           ROBERT D              KY         95CI563          SUTTER LAW FIRM                                      WRIGHT               GARY D                KY         97CI01011        SUTTER LAW FIRM
TRAUGOTT             MICHAEL L             KY         95CI563          SUTTER LAW FIRM                                      WYATT                PEGGY                 KY         95CI00583        SUTTER LAW FIRM
TRAUGOTT             TERESA                KY         95CI563          SUTTER LAW FIRM                                      WYATT                ROBERT D              KY         95CI00583        SUTTER LAW FIRM
VANOVER              BILLY E               KY         95CI563          SUTTER LAW FIRM                                      YATES                ARTHUR K              KY         95CI563          SUTTER LAW FIRM
VANOVER              CARLYN                KY         95CI563          SUTTER LAW FIRM                                      YATES                JUDY                  KY         95CI563          SUTTER LAW FIRM
VAUGHAN              JUDI                  KY         95CI563          SUTTER LAW FIRM                                      YOAK                 BRENDA                KY         95CI563          SUTTER LAW FIRM
VAUGHAN              ROGER M               KY         95CI563          SUTTER LAW FIRM                                      YOAK                 ROBERT L              KY         95CI563          SUTTER LAW FIRM
VAUGHN               CONNIE                KY         95CI563          SUTTER LAW FIRM                                      YOUNG                DONALD F              KY         95CI563          SUTTER LAW FIRM
VAUGHN               GAROLD M              KY         95CI563          SUTTER LAW FIRM                                      YOUNG                SHIRLEY               KY         95CI563          SUTTER LAW FIRM
VAUGHTERS            JIM                   KY         95CI563          SUTTER LAW FIRM                                      OLSON                RICHARD               OR         130404985        SWANSON, THOMAS, COON & NEWTON
VAUGHTERS            SHARON                KY         95CI563          SUTTER LAW FIRM                                      OLSON                SANDRA                OR         130404985        SWANSON, THOMAS, COON & NEWTON
VENTERS              KENNETH L             KY         95CI563          SUTTER LAW FIRM                                      KEEN                 THOMAS B              MS         95682            SWARTZFAGER, JON A
VENTERS              LINDA                 KY         95CI563          SUTTER LAW FIRM                                      ROGERS               CHRISTINE             MS         95682            SWARTZFAGER, JON A
VIRGIN               CARL B                KY         95CI563          SUTTER LAW FIRM                                      ROGERS               ROBERT L              MS         95682            SWARTZFAGER, JON A
VIRGIN               VIRGINIA              KY         95CI563          SUTTER LAW FIRM                                      SAVELL               JAMES SLAY            MS         95682            SWARTZFAGER, JON A
VONDERHEIDE          CLAUDIA               KY         95CI563          SUTTER LAW FIRM                                      SAVELL               JUNE A                MS         95682            SWARTZFAGER, JON A
VONDERHEIDE          LOUIS G               KY         95CI563          SUTTER LAW FIRM                                      TIDWELL              DAVID                 MS         2004023CV2       SWARTZFAGER, JON A
WADDELL              DEBORAH               KY         95CI563          SUTTER LAW FIRM                                      WADE                 JACK                  MS         2004023CV2       SWARTZFAGER, JON A
WADDELL              HOMER D               KY         95CI563          SUTTER LAW FIRM                                      BALLINGER            HELEN                 TN         378194           SWEENEY, MOHON & VLAD
WADDELL              JOSEPH C              KY         95CI563          SUTTER LAW FIRM                                      BALLINGER            VIRGIL E              TN         378194           SWEENEY, MOHON & VLAD
WAGGONER             SUSAN                 KY         95CI563          SUTTER LAW FIRM                                      HANSARD              CLAUDE J              TN         378171           SWEENEY, MOHON & VLAD
WAGGONER             WILLIAM V             KY         95CI563          SUTTER LAW FIRM                                      ADAMS                JAMES W               MS         20013CV1         SWEET & FREESE, PLLC
WALLACE              EVERETT W             WV         03C164           SUTTER LAW FIRM                                      ADAMS                ORA W                 MS         20013CV1         SWEET & FREESE, PLLC
WALLACE              HERMAN                KY         95CI563          SUTTER LAW FIRM                                      ALEXANDER            SCOTT                 MS         980114           SWEET & FREESE, PLLC
WALLACE              PATRICE               KY         95CI563          SUTTER LAW FIRM                                      ALLEN                CHARLES L             MS         980114           SWEET & FREESE, PLLC
WALLS                DELLA                 KY         95CI563          SUTTER LAW FIRM                                      ANDERSON             JAMES C               MS         990087           SWEET & FREESE, PLLC
WALLS                JOHNIE M              KY         95CI563          SUTTER LAW FIRM                                      APPLETON             SADIE                 MS         980114           SWEET & FREESE, PLLC
WALTERS              OMA                   KY         96CI00249        SUTTER LAW FIRM                                      ARDS                 RAY                   MS         990087           SWEET & FREESE, PLLC
WALTERS              PAUL                  KY         96CI00249        SUTTER LAW FIRM                                      BARDWELL             SALLIE C              MS         990143           SWEET & FREESE, PLLC
WARD                 STEPHEN K             KY         95CI563          SUTTER LAW FIRM                                      BARDWELL             WILEY S               MS         990143           SWEET & FREESE, PLLC
WATTERSON            EVERETT E             WV         01C3344          SUTTER LAW FIRM                                      BARNES               CHARLES               MS         980114           SWEET & FREESE, PLLC
WATTS                ANNA                  KY         95CI563          SUTTER LAW FIRM                                      BEASLEY              WARREN                MS         980372           SWEET & FREESE, PLLC
WATTS                JAMES E SR            KY         95CI563          SUTTER LAW FIRM                                      BELL                 ARDELL                MS         980114           SWEET & FREESE, PLLC
WEBB                 HASKELL V             KY         95CI563          SUTTER LAW FIRM                                      BELSOM               EVELYN                MS         990143           SWEET & FREESE, PLLC
WELLMAN              CAROLE                KY         95CI563          SUTTER LAW FIRM                                      BISHOP               TERESSA               MS         990143           SWEET & FREESE, PLLC
WELLMAN              ROBERT                KY         95CI563          SUTTER LAW FIRM                                      BLACKWELL            BOBBY Q               MS         20013CV1         SWEET & FREESE, PLLC
WELLS                DORETHEA              KY         95CI563          SUTTER LAW FIRM                                      BRADFORD             ISSAC                 MS         980114           SWEET & FREESE, PLLC




                                                                                                            Appendix A - 674
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 9 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BRADFORD             ISSAC                 MS         CI2005154        SWEET & FREESE, PLLC                                 LATHAM               THEODORE T            MS         980114           SWEET & FREESE, PLLC
BRADLEY              KATHLEEN M            MS         20013CV1         SWEET & FREESE, PLLC                                 LATHAM               THEODORE T            MS         CI2005167        SWEET & FREESE, PLLC
BRADLEY              STANCE                MS         20013CV1         SWEET & FREESE, PLLC                                 LAWS                 BARBARA               MS         980114           SWEET & FREESE, PLLC
BRANCH               BETTY                 MS         990143           SWEET & FREESE, PLLC                                 LEE                  GENERAL               MS         980114           SWEET & FREESE, PLLC
BRANCH               HOWARD L              MS         990143           SWEET & FREESE, PLLC                                 LEE                  GENERAL               MS         CI2005168        SWEET & FREESE, PLLC
BRANCH               MARY NEIL             MS         980114           SWEET & FREESE, PLLC                                 LUKE                 IVA                   MS         980114           SWEET & FREESE, PLLC
BRANCH               MARY NEIL             MS         CI2005155        SWEET & FREESE, PLLC                                 MACK                 DONNIE                MS         990087           SWEET & FREESE, PLLC
BRANTLEY             JERRY ANDREW          MS         990143           SWEET & FREESE, PLLC                                 MARTIN               JULIOUS               MS         990143           SWEET & FREESE, PLLC
BROTHER              ERNEST                MS         980114           SWEET & FREESE, PLLC                                 MARTIN               WILLIE T              MS         990143           SWEET & FREESE, PLLC
BROWN                ALICE FAYE            MS         980114           SWEET & FREESE, PLLC                                 MCCOY                EASU                  MS         980114           SWEET & FREESE, PLLC
BROWN                HENRY                 MS         980114           SWEET & FREESE, PLLC                                 MOORE                DOROTHY L             MS         980373AS         SWEET & FREESE, PLLC
BROWN                HENRY                 MS         CI2005156        SWEET & FREESE, PLLC                                 MOORE                ROBERT EARL           MS         980373AS         SWEET & FREESE, PLLC
BROWN                JOHNNIE               MS         980114           SWEET & FREESE, PLLC                                 MOSS                 EARL                  MS         980114           SWEET & FREESE, PLLC
BROYLES              KATHY                 MS         990143           SWEET & FREESE, PLLC                                 MUIRHEAD             LINDA JOYCE           MS         980114           SWEET & FREESE, PLLC
BURRELL BARDWELL     SALLIE CHRISTINE      MS         990143           SWEET & FREESE, PLLC                                 NEWELL               CLARENCE              MS         20013CV1         SWEET & FREESE, PLLC
CLARK                CHARLIE JR            MS         980114           SWEET & FREESE, PLLC                                 OGLESBEE             CHARLOTTE             MS         990087           SWEET & FREESE, PLLC
CLARK                CHARLIE JR            MS         CI2005157        SWEET & FREESE, PLLC                                 OLIVER               BILLY J               MS         980114           SWEET & FREESE, PLLC
CLARK                DAVE                  MS         980114           SWEET & FREESE, PLLC                                 OLIVER               MARY                  MS         980114           SWEET & FREESE, PLLC
COHEA                ALMA L                MS         980114           SWEET & FREESE, PLLC                                 PARKERSON            ANDIE L               MS         990143           SWEET & FREESE, PLLC
COHEA                ALMA L                MS         CI2005158        SWEET & FREESE, PLLC                                 PARKERSON            CHARLES E             MS         990143           SWEET & FREESE, PLLC
COLEMAN              HELEN ROSE            MS         980114           SWEET & FREESE, PLLC                                 PATTERSON            MONROE ALAN           MS         990143           SWEET & FREESE, PLLC
COLEMAN              HELEN ROSE            MS         CI2005159        SWEET & FREESE, PLLC                                 PEARSON              BARBARA               MS         980114           SWEET & FREESE, PLLC
CORK                 JIMMY                 MS         980114           SWEET & FREESE, PLLC                                 PEOPLES              ELLEN                 MS         980114           SWEET & FREESE, PLLC
CORK                 JIMMY                 MS         CI2005160        SWEET & FREESE, PLLC                                 PRITCHARD            ALICE H               MS         990143           SWEET & FREESE, PLLC
DAVIS                BLUE                  MS         980114           SWEET & FREESE, PLLC                                 PRITCHARD            DANNY                 MS         990143           SWEET & FREESE, PLLC
DAVIS                LEE                   MS         980372           SWEET & FREESE, PLLC                                 PRITCHARD            JOHNNY                MS         990143           SWEET & FREESE, PLLC
DEMPSEY              CHARLOTEE J           MS         980114           SWEET & FREESE, PLLC                                 PRITCHARD            WILLIE J              MS         990143           SWEET & FREESE, PLLC
DEMPSEY              CHARLOTEE J           MS         CI2005161        SWEET & FREESE, PLLC                                 RANSOME              NETTIE MAE            MS         980114           SWEET & FREESE, PLLC
DIAMOND              ALVIN RAY             MS         980373AS         SWEET & FREESE, PLLC                                 RANSOME              NETTIE MAE            MS         CI2005172        SWEET & FREESE, PLLC
DIAMOND              CATHERINE             MS         980373AS         SWEET & FREESE, PLLC                                 REED                 ABBEY                 MS         980114           SWEET & FREESE, PLLC
DIXON                MARY ANN              MS         980373AS         SWEET & FREESE, PLLC                                 REED                 CHARLES A             MS         980114           SWEET & FREESE, PLLC
EVANS                ELIHUE                MS         980114           SWEET & FREESE, PLLC                                 REED                 LOUISE                MS         980114           SWEET & FREESE, PLLC
EVANS                ELIHUE                MS         CI2005162        SWEET & FREESE, PLLC                                 REXFORD              CYNTHIA               MS         990143           SWEET & FREESE, PLLC
EVERETT              JOHN LEWIS            MS         20013CV1         SWEET & FREESE, PLLC                                 REXFORD              THOMAS J              MS         990143           SWEET & FREESE, PLLC
EZEKIEL              CHARLIE               MS         980114           SWEET & FREESE, PLLC                                 ROBERTSON            LV                    MS         990087           SWEET & FREESE, PLLC
EZEKIEL              CHARLIE               MS         CI2005163        SWEET & FREESE, PLLC                                 ROBINSON             WILLIE                MS         980114           SWEET & FREESE, PLLC
FLETCHER             HELEN                 MS         980114           SWEET & FREESE, PLLC                                 RONCALI              JOHNNY                MS         980114           SWEET & FREESE, PLLC
FLETCHER             ROBERT SR             MS         980114           SWEET & FREESE, PLLC                                 RONCALI              LARRY BRUCE           MS         980114           SWEET & FREESE, PLLC
FOX                  BETTY                 MS         980114           SWEET & FREESE, PLLC                                 SCOTT                CALVIN                MS         980114           SWEET & FREESE, PLLC
FRANKLIN             JULIA                 MS         990143           SWEET & FREESE, PLLC                                 SCULLY               WADE                  MS         990087           SWEET & FREESE, PLLC
FRANKLIN             ROBERT                MS         990143           SWEET & FREESE, PLLC                                 SIPP                 DOROTHY MAE           MS         20013CV1         SWEET & FREESE, PLLC
FRAZER               ERMA                  MS         990143           SWEET & FREESE, PLLC                                 SMITH                EUGENE                MS         980114           SWEET & FREESE, PLLC
FREEDMAN             WALTER                MS         990087           SWEET & FREESE, PLLC                                 SMITH                HOWARD JR             MS         980114           SWEET & FREESE, PLLC
GADISON              HENRY                 MS         980114           SWEET & FREESE, PLLC                                 SMITH                MANUEL                MS         980114           SWEET & FREESE, PLLC
GORDON               RICHARD               MS         980114           SWEET & FREESE, PLLC                                 SNUGGS               BETTY                 MS         990087           SWEET & FREESE, PLLC
GREEN                HARRIET L             MS         980114           SWEET & FREESE, PLLC                                 SPEARS               CLARENCE              MS         980114           SWEET & FREESE, PLLC
GREEN                JAMES J               MS         980114           SWEET & FREESE, PLLC                                 STAMBAUGH            EMMA A                MS         980114           SWEET & FREESE, PLLC
HANNAH               CARRIE MAE            MS         980114           SWEET & FREESE, PLLC                                 TALIAFERRO           JESSIE                MS         980114           SWEET & FREESE, PLLC
HARDMAN              DAVID                 MS         980114           SWEET & FREESE, PLLC                                 TAYLOR               HELEN G               MS         980114           SWEET & FREESE, PLLC
HARRIS               ROY                   MS         20013CV1         SWEET & FREESE, PLLC                                 THOMASSON            MARSHALL G            MS         980114           SWEET & FREESE, PLLC
HARRISON             ALBERT LEE SR         MS         980373AS         SWEET & FREESE, PLLC                                 THOMASSON            MARSHALL G            MS         CI2005174        SWEET & FREESE, PLLC
HARRISON             BEN JR                MS         980373AS         SWEET & FREESE, PLLC                                 THOMASSON            MARY                  MS         980114           SWEET & FREESE, PLLC
HARRISON             ROSETTA               MS         980373AS         SWEET & FREESE, PLLC                                 THOMASSON            MARY                  MS         CI2005174        SWEET & FREESE, PLLC
HARRISON             VIOLA                 MS         980373AS         SWEET & FREESE, PLLC                                 TIMBS                WILLIAM B             MS         980114           SWEET & FREESE, PLLC
HOLMES               MARY HELEN            MS         980114           SWEET & FREESE, PLLC                                 TUCKER               SAMMIE LEE            MS         980114           SWEET & FREESE, PLLC
HOLMES               MARY HELEN            MS         CI2005164        SWEET & FREESE, PLLC                                 TURNER               JOHNNY C              MS         980114           SWEET & FREESE, PLLC
HOOD                 EMILY E               MS         20013CV1         SWEET & FREESE, PLLC                                 VAUGHAN              RUBY L                MS         980373AS         SWEET & FREESE, PLLC
HOSKINS              OLLIE                 MS         980114           SWEET & FREESE, PLLC                                 WALKER               ALBERT                MS         990087           SWEET & FREESE, PLLC
HOSKINS              OLLIE                 MS         CI2005165        SWEET & FREESE, PLLC                                 WALKER               BERNICE               MS         990087           SWEET & FREESE, PLLC
JENKINS              CHARLES               MS         990087           SWEET & FREESE, PLLC                                 WARD                 LAMAR                 MS         980114           SWEET & FREESE, PLLC
JOHNSON              CATHERINE M           MS         20013CV1         SWEET & FREESE, PLLC                                 WASHINGTON           CARL                  MS         990087           SWEET & FREESE, PLLC
JOHNSON              FREDDIE LEE           MS         980114           SWEET & FREESE, PLLC                                 WATSON               ALBERT                MS         980114           SWEET & FREESE, PLLC
JOHNSON              JOSEPH                MS         980114           SWEET & FREESE, PLLC                                 WATSON               ALBERT                MS         CI2005175        SWEET & FREESE, PLLC
JOHNSON              MARY                  MS         990143           SWEET & FREESE, PLLC                                 WATSON               DARRYL                MS         980114           SWEET & FREESE, PLLC
JOINER               MARY LEE              MS         980114           SWEET & FREESE, PLLC                                 WATSON               DARRYL                MS         CI2005175        SWEET & FREESE, PLLC
JOINER               MARY LEE              MS         CI2005166        SWEET & FREESE, PLLC                                 WATSON               ZEDDA                 MS         980114           SWEET & FREESE, PLLC
JONES                RICHARD C             MS         980114           SWEET & FREESE, PLLC                                 WATSON               ZEDDA                 MS         CI2005175        SWEET & FREESE, PLLC
KITCHEN              ANN M                 MS         990143           SWEET & FREESE, PLLC                                 WEEKS                JAMES SR              MS         980114           SWEET & FREESE, PLLC
KITCHEN              ERNEST CHANEY         MS         990143           SWEET & FREESE, PLLC                                 WHITAKER             LOUIE JR.             MS         980114           SWEET & FREESE, PLLC
LATHAM               MACKIE PEARL          MS         980114           SWEET & FREESE, PLLC                                 WIGGINTON            CLARENCE E            MS         980114           SWEET & FREESE, PLLC
LATHAM               MACKIE PEARL          MS         CI2005167        SWEET & FREESE, PLLC                                 WILLIAMS             BERYL                 MS         990087           SWEET & FREESE, PLLC




                                                                                                            Appendix A - 675
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 10 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WILLIAMS             BOBBIE                MS         990087           SWEET & FREESE, PLLC                                 CREEL                SEABORN CARLTON       IL         2019L001124      SWMW LAW, LLC
WILLIAMS             EARL                  MS         990087           SWEET & FREESE, PLLC                                 CROBAR               LORRAINE              IL         2019L001386      SWMW LAW, LLC
WINDHAM              RONALD                MS         990087           SWEET & FREESE, PLLC                                 CROBAR               ROBERT                IL         2019L001386      SWMW LAW, LLC
WINGO                JAMES T               MS         980114           SWEET & FREESE, PLLC                                 CROWLEY              RILEY                 MO         1822CC11273      SWMW LAW, LLC
WOODS                ALAN                  MS         20010019         SWEET & FREESE, PLLC                                 DAVIS                AARON                 MO         1922CC10950      SWMW LAW, LLC
ALLEN                WALTER                IL         2019L001277      SWMW LAW, LLC                                        DEI SANTI            SALVATORE             MO         1922CC00695      SWMW LAW, LLC
ALLEY                PATSY                 MO         1922CC11239      SWMW LAW, LLC                                        DICK                 DEBRA                 IL         19L105           SWMW LAW, LLC
ALLEY                RICHARD               MO         1922CC11239      SWMW LAW, LLC                                        DICK                 DENNIS                IL         19L105           SWMW LAW, LLC
ALLRED               KAREN                 MO         1922CC00559      SWMW LAW, LLC                                        DOUAT                ROBERT                MO         1922CC00393      SWMW LAW, LLC
ALLRED               MALCOLM               MO         1922CC00559      SWMW LAW, LLC                                        DUFEK                PAUL                  IL         2019L001437      SWMW LAW, LLC
ALMOND               JOSEPHINE             IL         2019L000385      SWMW LAW, LLC                                        DUFEK                RICHARD               IL         2019L001437      SWMW LAW, LLC
ALMOND               ROBERT                IL         2019L000385      SWMW LAW, LLC                                        DUNCAN               LYNN                  IL         2019L000367      SWMW LAW, LLC
ALVIS                JAMES                 IL         2018L001354      SWMW LAW, LLC                                        DUNCAN               WILLIE                IL         2019L000367      SWMW LAW, LLC
ARGO                 BENNY                 MO         1822CC11415      SWMW LAW, LLC                                        DUNNING              THOMAS                IL         2019L001700      SWMW LAW, LLC
ARGO                 YVONNE                MO         1822CC11415      SWMW LAW, LLC                                        EBERT                RONALD                IL         2018L001275      SWMW LAW, LLC
BARNES               PAULINE               IL         2019L000479      SWMW LAW, LLC                                        EHLERT               HAROLD                IL         2019L001135      SWMW LAW, LLC
BARNES               RUSSELL               IL         2019L000479      SWMW LAW, LLC                                        ELLISER              SIMON                 MO         1922CC00655      SWMW LAW, LLC
BASS                 GARY                  MO         1922CC11927      SWMW LAW, LLC                                        ENCALADE             HARRY                 IL         2019L001666      SWMW LAW, LLC
BASS                 RHONDA                MO         1922CC11927      SWMW LAW, LLC                                        FISCHER              MARIE                 IL         2019L000202      SWMW LAW, LLC
BATTLE               NAPOLEON              MO         1822CC11145      SWMW LAW, LLC                                        FISCHER              VALGENE               IL         2019L000202      SWMW LAW, LLC
BEAN                 COY                   IL         2018L001641      SWMW LAW, LLC                                        FISHER               CLARENCE              IL         19L0552          SWMW LAW, LLC
BEAN                 VELMA                 IL         2018L001641      SWMW LAW, LLC                                        FISHER               SANDRA                IL         19L0552          SWMW LAW, LLC
BONDS                ANTHONY               IL         2019L001113      SWMW LAW, LLC                                        FLEMING              CHARLES               IL         2019L000717      SWMW LAW, LLC
BOREN                LINDA                 IL         2019L001073      SWMW LAW, LLC                                        FLEMING              DEBRA                 IL         2019L000120      SWMW LAW, LLC
BOREN                WALLACE               IL         2019L001073      SWMW LAW, LLC                                        FLEMING              LEIGH ANN             IL         2019L000717      SWMW LAW, LLC
BORING               RICHARD               IL         2019L000630      SWMW LAW, LLC                                        FLEMING              RICHARD               IL         2019L000120      SWMW LAW, LLC
BORING               ROBERT                IL         2019L000630      SWMW LAW, LLC                                        FLETCHER             MADONNA               MO         1922CC11087      SWMW LAW, LLC
BRANDONE             EDMONDO               IL         18L1711          SWMW LAW, LLC                                        FLETCHER             THOMAS                MO         1922CC11087      SWMW LAW, LLC
BRANDONE             LISETTE LAFONO        IL         18L1711          SWMW LAW, LLC                                        FLOOR                ERNEST                MO         1822CC11387      SWMW LAW, LLC
BROWN                CLARA                 IL         2019L000429      SWMW LAW, LLC                                        FLOOR                KATHLEEN              MO         1822CC11387      SWMW LAW, LLC
BRYAN                BONNIE                IL         2019L001368      SWMW LAW, LLC                                        FORSYTHE             CAROL                 IL         2019L000388      SWMW LAW, LLC
BRYAN                JOSEPH                IL         2019L001368      SWMW LAW, LLC                                        FOSTER               MARY                  MO         1922CC11762      SWMW LAW, LLC
BUE                  TIMOTHY               IL         2019L001631      SWMW LAW, LLC                                        FRENCH               CHARLENE              IL         2019L000638      SWMW LAW, LLC
BUSWELL              SANDRA                IL         2019L001700      SWMW LAW, LLC                                        FRENCH               DONALD                IL         2019L000638      SWMW LAW, LLC
CAMERON              STEPHANIE             MO         1922CC00655      SWMW LAW, LLC                                        FULLER               KAREN                 IL         2019L000487      SWMW LAW, LLC
CANZATER             KIMBERLY              IL         2018L001298      SWMW LAW, LLC                                        FULLER               ROBERT                IL         2019L000487      SWMW LAW, LLC
CARDINAL             ALFRED                IL         2019L000715      SWMW LAW, LLC                                        GANDOLFO             ANTHONY               IL         2019L000991      SWMW LAW, LLC
CARDINAL             MARY                  IL         2019L000715      SWMW LAW, LLC                                        GANDOLFO             BEATRICE              IL         2019L000991      SWMW LAW, LLC
CARTER               SANDY                 IL         2019L001117      SWMW LAW, LLC                                        GILLEY               REBECCA               MO         1922CC11632      SWMW LAW, LLC
CARTER               WILLIAM               IL         2019L001117      SWMW LAW, LLC                                        GLAZE                JAMES                 MO         1922CC00764      SWMW LAW, LLC
CATES                CASEY                 IL         2019L001045      SWMW LAW, LLC                                        GODFREY              BILLY                 MO         1822CC11210      SWMW LAW, LLC
CHANCE               GEORGE                MO         1922CC00025      SWMW LAW, LLC                                        GOINS                JUDITH                MO         1922CC10641      SWMW LAW, LLC
CHENEY               MIKE                  IL         2019L001580      SWMW LAW, LLC                                        GOINS                OTTO                  MO         1922CC10641      SWMW LAW, LLC
CHESTNUT             STEPHANIE             IL         2019L000040      SWMW LAW, LLC                                        GOOCH                BRIDGETT              IL         2019L001079      SWMW LAW, LLC
CHOAT                DEBORAH               MO         1822CC11642      SWMW LAW, LLC                                        GOODMAN              ANGELA                MO         1822CC11368      SWMW LAW, LLC
CHOAT                WILLIAM               MO         1822CC11642      SWMW LAW, LLC                                        GOODMAN              DENNIS                MO         1822CC11368      SWMW LAW, LLC
CHRISTENSEN          GORDON                IL         2019L000452      SWMW LAW, LLC                                        GORHAM               DENISE                MO         1922CC11679      SWMW LAW, LLC
CIOKAJLO             RUTH                  IL         2019L000672      SWMW LAW, LLC                                        GORHAM               RAYMOND               MO         1922CC11679      SWMW LAW, LLC
CIOKAJLO             WALTER                IL         2019L000672      SWMW LAW, LLC                                        GRANT                JEANNE                MO         1822CC11144      SWMW LAW, LLC
CLARKSTON            FREDDIE               IL         2019L001584      SWMW LAW, LLC                                        GRANT                TERRY                 MO         1822CC11144      SWMW LAW, LLC
CLEARWATER           ANGELA                IL         2019L000905      SWMW LAW, LLC                                        GUSMAN               DANIEL                MO         1922CC11497      SWMW LAW, LLC
CLEARWATER           CHARLES               IL         2019L000905      SWMW LAW, LLC                                        GUSMAN               SUSAN                 MO         1922CC11497      SWMW LAW, LLC
CLOUSE               DONALD                IL         2019L000553      SWMW LAW, LLC                                        HALL                 HARMON                IL         2019L000720      SWMW LAW, LLC
CLOUSE               LINDA                 IL         2019L000553      SWMW LAW, LLC                                        HALL                 JAMES                 IL         2019L001350      SWMW LAW, LLC
COCO                 ANTONIO               IL         2019L001028      SWMW LAW, LLC                                        HALL                 SHIRLEY               IL         2019L001350      SWMW LAW, LLC
COLEMAN              RAYMOND               IL         2018L001280      SWMW LAW, LLC                                        HALL                 VICTORY ELIZABETH     IL         2019L000720      SWMW LAW, LLC
COLLING              PATRICIA              IL         18L1726          SWMW LAW, LLC                                        HANCOCK              JANICE                MO         1822CC11496      SWMW LAW, LLC
COLLING              VICTOR                IL         18L1726          SWMW LAW, LLC                                        HANCOCK              MELVIN                MO         1822CC11496      SWMW LAW, LLC
COLLINS              HOWARD                MO         1822CC11785      SWMW LAW, LLC                                        HARNDON              AMY                   IL         2019L000096      SWMW LAW, LLC
COLLINS              LINDA                 MO         1822CC11785      SWMW LAW, LLC                                        HARNDON              MICHAEL               IL         2019L000096      SWMW LAW, LLC
COPE                 EARL                  MO         1922CC00282      SWMW LAW, LLC                                        HAYES                CURTIS                MO         1922CC11774      SWMW LAW, LLC
COPE                 EVONNE                MO         1922CC00282      SWMW LAW, LLC                                        HAYES                DINICE                MO         1922CC11774      SWMW LAW, LLC
COUNTS               BRIAN                 MO         1822CC11200      SWMW LAW, LLC                                        HEFT                 DALLAS E              IL         2019L000806      SWMW LAW, LLC
COUNTS               LISA                  MO         1822CC11200      SWMW LAW, LLC                                        HEFT                 WILLIAM E             IL         2019L000806      SWMW LAW, LLC
COWAN                THOMAS                IL         2019L001679      SWMW LAW, LLC                                        HENCERLING           NELLIE                IL         2019L001277      SWMW LAW, LLC
COWAN                VICTORIA              IL         2019L001679      SWMW LAW, LLC                                        HENNING              ROBERT                MO         1922CC00408      SWMW LAW, LLC
COWLEY-LATHLIN       SHELLY                IL         2019L001084      SWMW LAW, LLC                                        HEROUX               FRANCOIS              IL         2019L000122      SWMW LAW, LLC
COYNE                JOSEPH                IL         2019L001494      SWMW LAW, LLC                                        HICKS                MARANDA               MO         1922CC09532      SWMW LAW, LLC
COYNE                YVONNE                IL         2019L001494      SWMW LAW, LLC                                        HICKS                RALEIGH               MO         1922CC09532      SWMW LAW, LLC
CRAIG                KENNETH LEE           MO         1922CC11333      SWMW LAW, LLC                                        HILL                 ADELA                 IL         19L0531          SWMW LAW, LLC
CREEL                INEZ                  IL         2019L001124      SWMW LAW, LLC                                        HILL                 CHARLES               IL         2019L001046      SWMW LAW, LLC




                                                                                                            Appendix A - 676
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 11 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HILL                 GARY                  IL         19L0531          SWMW LAW, LLC                                        NEWMAN               ALEXA                 IL         18L1728          SWMW LAW, LLC
HOLLIDAY             MELVIN                MO         1922CC00544      SWMW LAW, LLC                                        NICHOLAS             DELLEN                IL         2019L001415      SWMW LAW, LLC
HOLLIDAY             NELDA                 MO         1922CC00544      SWMW LAW, LLC                                        NICHOLAS             HARLEY                IL         2019L001415      SWMW LAW, LLC
HOTARD               LOUIS                 IL         2019L001346      SWMW LAW, LLC                                        NOAH                 PAMELA                MO         1922CC10946      SWMW LAW, LLC
HOUCHINS             GLEN                  MO         1922CC11954      SWMW LAW, LLC                                        NOLL                 ANNA                  IL         2019L001710      SWMW LAW, LLC
HOUCHINS             KAY                   MO         1922CC11954      SWMW LAW, LLC                                        NOLL                 MATTHEW               IL         2019L001710      SWMW LAW, LLC
HOWARD               JUANITA               IL         2019L001630      SWMW LAW, LLC                                        NORTHUP              DONALD                MO         1822CC11265      SWMW LAW, LLC
HOWARD               WILLIAM               IL         2019L001630      SWMW LAW, LLC                                        OATIS                EDDIE                 MO         1922CC00737      SWMW LAW, LLC
HOWELL               JAMES                 IL         2019L001079      SWMW LAW, LLC                                        O'BRYAN              ED                    MO         1922CC11894      SWMW LAW, LLC
HYSLOP               WILLIAM               IL         2019L001511      SWMW LAW, LLC                                        OPPEGARD             OSCAR                 MO         1822CC11219      SWMW LAW, LLC
IANNONE              DANIEL                MO         1922CC11016      SWMW LAW, LLC                                        OSBY                 JAMES                 IL         2019L001550      SWMW LAW, LLC
JERRELL              MARY                  IL         2019L000375      SWMW LAW, LLC                                        OSBY                 WILLIE                IL         2019L001550      SWMW LAW, LLC
JERRELL              RHEA                  IL         2019L000375      SWMW LAW, LLC                                        OTLOSKI              EDWARD                MO         1922CC11535      SWMW LAW, LLC
JOHNSON              TERRY                 IL         2018L001569      SWMW LAW, LLC                                        OTLOSKI              ELIZABETH             MO         1922CC11535      SWMW LAW, LLC
JONES                COLLEEN               IL         2019L001454      SWMW LAW, LLC                                        PEDIGO               MARY KAY              IL         2018L001647      SWMW LAW, LLC
JONES                DANIEL                IL         2019L001454      SWMW LAW, LLC                                        PETERSON             RONALD                MO         1922CC01090      SWMW LAW, LLC
JONES                RODNEY                MO         1922CC11899      SWMW LAW, LLC                                        PHARIS               MARY                  MO         1922CC11632      SWMW LAW, LLC
JONES                WANDA                 MO         1922CC11899      SWMW LAW, LLC                                        PIERCE               JIMMY                 IL         2019L000940      SWMW LAW, LLC
KING                 BESSIE                MO         1822CC11916      SWMW LAW, LLC                                        PLEASANT             HAROLD                IL         2014L001147      SWMW LAW, LLC
KING                 JIMMY                 MO         1822CC11916      SWMW LAW, LLC                                        POWELL               BRENDA                MO         1922CC00255      SWMW LAW, LLC
KORTE                BARBARA               MO         19SLCC00484      SWMW LAW, LLC                                        POWELL               LARRY                 MO         1922CC00255      SWMW LAW, LLC
KORTE                DONALD                MO         19SLCC00484      SWMW LAW, LLC                                        PRESTON              STEPHEN               IL         2018L001339      SWMW LAW, LLC
KRAWCHUK             KENNETH               IL         2019L001580      SWMW LAW, LLC                                        RAMOS                ANA                   IL         2019L001080      SWMW LAW, LLC
KUNZLER              NANCY                 IL         2019L000039      SWMW LAW, LLC                                        RAMOS                JUAN                  IL         2019L001080      SWMW LAW, LLC
KUNZLER              RONALD                IL         2019L000039      SWMW LAW, LLC                                        RAY                  LEON                  IL         2018L001499      SWMW LAW, LLC
LACROIX              ALVIS                 MO         1822CC11419      SWMW LAW, LLC                                        REDDIX               WILBUR                IL         2019L001315      SWMW LAW, LLC
LACROIX              SHARON                MO         1822CC11419      SWMW LAW, LLC                                        REDDIX               ZELLA                 IL         2019L001315      SWMW LAW, LLC
LAIN                 SUE BETH              IL         2018L001354      SWMW LAW, LLC                                        REITSMA              CONNIE                IL         2019L001199      SWMW LAW, LLC
LAMBRECHT            KATHLEEN M            IL         2019L000647      SWMW LAW, LLC                                        REITSMA              GERRIT                IL         2019L001199      SWMW LAW, LLC
LAMBRECHT            ROBERT P              IL         2019L000647      SWMW LAW, LLC                                        RICHARDSON           HERBERT               IL         19L0758          SWMW LAW, LLC
LATHLIN              JAMES                 IL         2019L001084      SWMW LAW, LLC                                        RIDER                AARON                 IL         2019L001312      SWMW LAW, LLC
LAY                  SYLVIA                IL         2018L001641      SWMW LAW, LLC                                        RIDER                WESLEY                IL         2019L001312      SWMW LAW, LLC
LITTLE               MICHAEL               IL         2018L001540      SWMW LAW, LLC                                        ROBERTS              COLIN                 IL         2019L001701      SWMW LAW, LLC
LIVECCHI             JOSEPH                IL         2019L001309      SWMW LAW, LLC                                        ROBERTS              WENDY                 IL         2019L001701      SWMW LAW, LLC
LOPEZ-HORTA          MARIO                 IL         19L221           SWMW LAW, LLC                                        RODRIGUEZ            JESUS PUENTE          IL         18L1728          SWMW LAW, LLC
LOPEZ-HORTA          NILIA                 IL         19L221           SWMW LAW, LLC                                        ROMERO               DAVID                 IL         2019L001641      SWMW LAW, LLC
LOUIS                DENNIS                MO         1922CC11755      SWMW LAW, LLC                                        ROMERO               SANDRA                IL         2019L001641      SWMW LAW, LLC
LOUIS                JUANITA               MO         1922CC11755      SWMW LAW, LLC                                        ROSENBAUM            GIANNA                MO         1922CC00695      SWMW LAW, LLC
LOXLEY               DAVID                 IL         2019L000822      SWMW LAW, LLC                                        ROUTIN               GEORGE                MO         1922CC10563      SWMW LAW, LLC
LYLE                 LINDELL               IL         2019L001321      SWMW LAW, LLC                                        RUBALCABA            ELVIRA                IL         2019L001064      SWMW LAW, LLC
LYLE                 ROBERT                IL         2019L001321      SWMW LAW, LLC                                        RUBALCABA            GENOVEVO              IL         2019L001064      SWMW LAW, LLC
LYONS                ANGELA                IL         19L0758          SWMW LAW, LLC                                        RUSSELL              LINDY                 MO         1922CC00569      SWMW LAW, LLC
MACTAVISH            KAREN                 IL         2019L001366      SWMW LAW, LLC                                        SAPP                 JANE                  IL         2019L001650      SWMW LAW, LLC
MAHON                MARTHA                IL         2018L001651      SWMW LAW, LLC                                        SAPP                 ROBERT                IL         2019L001650      SWMW LAW, LLC
MALDONADO            DONALD                IL         2019L001638      SWMW LAW, LLC                                        SCHAEFER             CARL                  IL         18L0591          SWMW LAW, LLC
MALDONADO            MARIA                 IL         2019L001638      SWMW LAW, LLC                                        SCHUPP               PAULA                 IL         2019L001518      SWMW LAW, LLC
MALLETTE             CHARLOTTE             IL         2019L000256      SWMW LAW, LLC                                        SCHUPP               RUSSELL               IL         2019L001518      SWMW LAW, LLC
MALLETTE             GARY                  IL         2019L000256      SWMW LAW, LLC                                        SCOTT                JOHN                  MO         1822CC11749      SWMW LAW, LLC
MARSHALL             JAMES                 IL         2019L001575      SWMW LAW, LLC                                        SCOTT                RUBY                  MO         1822CC11749      SWMW LAW, LLC
MARTIN               RUSSELL               MO         1922CC08950      SWMW LAW, LLC                                        SCROGGINS            JOE                   MO         1922CC11473      SWMW LAW, LLC
MAYERSKI             ALFRED                IL         2019L000319      SWMW LAW, LLC                                        SHANK                LEO                   IL         2019L001205      SWMW LAW, LLC
MAYERSKI             KATHLEEN              IL         2019L000319      SWMW LAW, LLC                                        SHANK                SUZANNE               IL         2019L001205      SWMW LAW, LLC
MCCONNELL            TOMMY                 MO         1922CC10753      SWMW LAW, LLC                                        SHELTON              RALPH                 IL         2018L001541      SWMW LAW, LLC
MCCOY                JUDITH                MO         1922CC00303      SWMW LAW, LLC                                        SHERMAN              TERESA                IL         2019L000429      SWMW LAW, LLC
MCCOY                LOUIS LEON            MO         1922CC00303      SWMW LAW, LLC                                        SHONKWILER           RALPH                 IL         2019L000761      SWMW LAW, LLC
MCGINLEY             FRANCES               IL         2019L001061      SWMW LAW, LLC                                        SHONKWILER-CLEARY    JODI L                IL         2019L000761      SWMW LAW, LLC
MCGINLEY             JAMES                 IL         2019L001061      SWMW LAW, LLC                                        SHUMATE              PAUL                  MO         1922CC11341      SWMW LAW, LLC
MCMILLEN             BONNIE                IL         2019L000323      SWMW LAW, LLC                                        SIMONS               EARNEST               MO         1822CC11376      SWMW LAW, LLC
MCMILLEN             CLAUD                 IL         2019L000323      SWMW LAW, LLC                                        SMITH                ARTHUR                MO         1922CC11013      SWMW LAW, LLC
MCPHEETERS           CORI                  IL         2018L001541      SWMW LAW, LLC                                        SMITH                BESSIE                IL         2019L001700      SWMW LAW, LLC
MERIDITH             GARY                  MO         1822CC11279      SWMW LAW, LLC                                        SULLIVAN             PATRICK               MO         1822CC11351      SWMW LAW, LLC
MINER                MARY                  IL         2018L001298      SWMW LAW, LLC                                        SULLIVAN             SHARON                MO         1822CC11351      SWMW LAW, LLC
MITCHELL             LOIS                  IL         2019L000958      SWMW LAW, LLC                                        TARASENKO            DMITRY                IL         2019L001077      SWMW LAW, LLC
MITCHELL             WILLIAM               IL         2019L000958      SWMW LAW, LLC                                        TARASENKO            LYDIA                 IL         2019L001077      SWMW LAW, LLC
MOORER               JAMES                 IL         2019L001735      SWMW LAW, LLC                                        TAYLOR               JAMES                 MO         1922CC00490      SWMW LAW, LLC
MOORER               MARY                  IL         2019L001735      SWMW LAW, LLC                                        TAYLOR               ROBERT                IL         2019L000801      SWMW LAW, LLC
MORAN                ANDRES                IL         2019L000796      SWMW LAW, LLC                                        TAYLOR               RUTHANNA              MO         1922CC00490      SWMW LAW, LLC
MORAN                SYLVIA                IL         2019L000796      SWMW LAW, LLC                                        THOMAS               MARY                  IL         2019L000241      SWMW LAW, LLC
MURRY                MICHEAL               MO         1922CC11762      SWMW LAW, LLC                                        THOMAS-WALKER        BIANCA                IL         2019L001215      SWMW LAW, LLC
NATT                 LEO                   IL         2019L001343      SWMW LAW, LLC                                        THOMPSON             ALLEN                 IL         19L123           SWMW LAW, LLC
NATT                 SANDRA                IL         2019L001343      SWMW LAW, LLC                                        THOMPSON             STELLA                IL         19L123           SWMW LAW, LLC




                                                                                                            Appendix A - 677
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                                 Desc
                                                                                                       Complaint-Part 2 Page 12 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                                          Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TIMKO                DONNA                 MO         1922CC00878      SWMW LAW, LLC                                                      SISSON               FREDERICK WILLIAM     WV         17C89            TENOGLIA & SALISBURY LAW GROUP, LLC
TIMKO                RAYMOND               MO         1922CC00878      SWMW LAW, LLC                                                      STEPP                GARY LEE              WV         17C1537          TENOGLIA & SALISBURY LAW GROUP, LLC
TYSON                ANTHONY               IL         2019L000911      SWMW LAW, LLC                                                      STEPP                WILMA                 WV         17C1537          TENOGLIA & SALISBURY LAW GROUP, LLC
TYSON                LINDA                 IL         2019L000911      SWMW LAW, LLC                                                      TEMPLETON            SHARON K              WV         18C600           TENOGLIA & SALISBURY LAW GROUP, LLC
ULMER                GLORIA                IL         2019L001065      SWMW LAW, LLC                                                      TEMPLETON            STEPHEN R             WV         18C600           TENOGLIA & SALISBURY LAW GROUP, LLC
ULMER                GREGORY               IL         2019L001065      SWMW LAW, LLC                                                      TUCKER               CHERYL ANN            WV         17C661           TENOGLIA & SALISBURY LAW GROUP, LLC
VARETA               MARIA                 IL         2019L001028      SWMW LAW, LLC                                                      VICARS               CHERYL A              WV         18C1225          TENOGLIA & SALISBURY LAW GROUP, LLC
VEINOT               IAN                   IL         2019L000059      SWMW LAW, LLC                                                      VICARS               WILLIAM CARL          WV         18C1225          TENOGLIA & SALISBURY LAW GROUP, LLC
VEINOT               JOSEPHINE             IL         2019L000059      SWMW LAW, LLC                                                      WAMSLEY              JOHN F                WV         19C181           TENOGLIA & SALISBURY LAW GROUP, LLC
VELA                 ARTURO                IL         2018L001337      SWMW LAW, LLC                                                      BRANIGAN             BEVERLY               IL         AFFIDAVIT        TERRANCE M JOHNSON
WALKER               RONALD                IL         2019L001215      SWMW LAW, LLC                                                      BRANIGAN             JOSEPH F              IL         AFFIDAVIT        TERRANCE M JOHNSON
WALLACE              CHERYL                IL         2019L001530      SWMW LAW, LLC                                                      BROWN                JAMES                 IL         90L10476         TERRANCE M JOHNSON
WARREN               CHARLES               MO         1822CC11903      SWMW LAW, LLC                                                      BROWN                VERNE                 IL         90L10476         TERRANCE M JOHNSON
WARREN               DEBORAH               MO         1822CC11903      SWMW LAW, LLC                                                      DIUMOVICH            PATRICIA              IL         AFFIDAVIT        TERRANCE M JOHNSON
WATKISS              BARBARA               IL         19L0533          SWMW LAW, LLC                                                      SAAS                 GORDON                IL         AFFIDAVIT        TERRANCE M JOHNSON
WATKISS              WILLIAM               IL         19L0533          SWMW LAW, LLC                                                      SAAS                 MARIANNE              IL         AFFIDAVIT        TERRANCE M JOHNSON
WATSON               WILLIAM               IL         2019L000388      SWMW LAW, LLC                                                      SORRENTINO           DONALD L              IL         AFFIDAVIT        TERRANCE M JOHNSON
WAY                  DAVID                 IL         2019L001372      SWMW LAW, LLC                                                      SORRENTINO           SUSAN A               IL         AFFIDAVIT        TERRANCE M JOHNSON
WAY                  KATIE                 IL         2019L001372      SWMW LAW, LLC                                                      TEWS                 HARRY H               IL         90L10479         TERRANCE M JOHNSON
WEAVER               JOHN                  IL         2018L001633      SWMW LAW, LLC                                                      TEWS                 HARRY H               IL         89L18323         TERRANCE M JOHNSON
WILLIAMS             MICHAEL               IL         2019L001275      SWMW LAW, LLC                                                      HAYS                 ROBERT LEO            DE         N11C09040ASB     THE BIFFERATO FIRM, P.A.
WILLIAMS             PAULA                 IL         2019L001013      SWMW LAW, LLC                                                      HAYS                 RONALD J              DE         N11C09040ASB     THE BIFFERATO FIRM, P.A.
WILLIAMS             PHILLIP               IL         2019L001013      SWMW LAW, LLC                                                      LAJOIE               DONNA M               DE         N11C09063ASB     THE BIFFERATO FIRM, P.A.
WILLIAMSON           JAMES                 IL         2019L000471      SWMW LAW, LLC                                                      ABREGO               RAFAEL                TX         002748D          THE BOGDAN LAW FIRM
WILLIAMSON           SHARON                IL         2019L000471      SWMW LAW, LLC                                                      ACOSTA               ENRIQUE P             TX         0104209C         THE BOGDAN LAW FIRM
WILSON               ALICE                 MO         1822CC11887      SWMW LAW, LLC                                                      ALANIS               PEDRO R               TX         991992D          THE BOGDAN LAW FIRM
WILSON               HALLET ALLEN          MO         1822CC11887      SWMW LAW, LLC                                                      ALANIZ               ELIAS C               TX         993859D          THE BOGDAN LAW FIRM
WILSON               PATRICIA              MO         1922CC11594      SWMW LAW, LLC                                                      ALANIZ               JOE L                 TX         004221E          THE BOGDAN LAW FIRM
WILSON               ROGER                 MO         1922CC11594      SWMW LAW, LLC                                                      ALEJANDRE            TOMAS A               TX         9804950C         THE BOGDAN LAW FIRM
ZIEGLER              JUDY                  IL         2019L001444      SWMW LAW, LLC                                                      ALONZO               ROBERTO               TX         0004225B         THE BOGDAN LAW FIRM
ZIEGLER              WILLIAM               IL         2019L001444      SWMW LAW, LLC                                                      AMBRIZ               JOE L                 TX         9804950C         THE BOGDAN LAW FIRM
BAKER                DOLORES L             NJ         MIDL113216AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               ANDERSON             KENNETH H             TX         0102197A         THE BOGDAN LAW FIRM
BAKER                LEROY R               NJ         MIDL113216AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               APARICIO             ALEJANDRO             TX         0004225B         THE BOGDAN LAW FIRM
CLAYTON              CURTIS                NJ         MIDL604417AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BALBOA               STEVE                 TX         033054H          THE BOGDAN LAW FIRM
DOWLING              ROSEANN               NJ         MIDL00461713AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BALTIERRA            JUAN                  TX         011286D          THE BOGDAN LAW FIRM
FARINELLA            CHARLES THEODORE      NJ         MIDL00231015AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BEARDEN              ANTHONY R             TX         025231G          THE BOGDAN LAW FIRM
FARINELLA            NANCY                 NJ         MIDL00231015AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BENAVIDEZ            FIDENCIO              TX         0004223B         THE BOGDAN LAW FIRM
ISKOWITZ             DIANE                 NJ         MIDL00461713AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BERLANGA             SIG                   TX         0104209C         THE BOGDAN LAW FIRM
MASTOWSKI            CAROL A               NJ         MIDL00461713AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BERNAL               LIBRADO               TX         025233A          THE BOGDAN LAW FIRM
MELENDEZ             JOHN PEPPE            NJ         MIDL832908AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BIRMINGHAM           LOYD L                TX         0104209C         THE BOGDAN LAW FIRM
MELENDEZ             SANDRA                NJ         MIDL832908AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BLANCO               SAMUEL W              TX         996022E          THE BOGDAN LAW FIRM
MOORE                CATHERINE M           NJ         MIDL715212AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BLARCUM              JAMES VAN             TX         033346F          THE BOGDAN LAW FIRM
MOORE                ROBERT E              NJ         MIDL715212AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BLOUNT               STEVE L               TX         0104209C         THE BOGDAN LAW FIRM
NELSON               ANDREW                NJ         MIDL00380912AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BOSON                TOM                   TX         0204151E         THE BOGDAN LAW FIRM
NELSON               DOROTHY               NJ         MIDL00380912AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BOYD                 KENNETH L             TX         025230G          THE BOGDAN LAW FIRM
OSBORNE              DAVID S               NJ         04CV1256         SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BRIONES              FRANK R               TX         985147F          THE BOGDAN LAW FIRM
OSBORNE              JOHN R                NJ         04CV1256         SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BRISLIS              OSCAR A               TX         0004222B         THE BOGDAN LAW FIRM
WALKER               DIANNA FRANCIS        NJ         MIDL00139013AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BROOKS               WILLIAM J             TX         985147F          THE BOGDAN LAW FIRM
WALKER               GEORGE COLE           NJ         MIDL00139013AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BRYANT               LOIS G                TX         0105716000C      THE BOGDAN LAW FIRM
WEISS                ALFRED E              NJ         MIDL606806AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BRYANT               LOYD                  TX         0105716000C      THE BOGDAN LAW FIRM
WEISS                BARBARA               NJ         MIDL606806AS     SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BUENO                HORACIO A             TX         9804950C         THE BOGDAN LAW FIRM
ZELESNIK             FRANK                 NJ         MIDL00461713AS   SZAFERMAN, LAKIND, BLUMSTEIN, BLADER & LEHMANN, P.C.               BUENO                JOSE                  TX         9804950C         THE BOGDAN LAW FIRM
BUTLER               JOSEPH                MS         UNKNOWN          TAYLOR & CIRE                                                      BUENO                JOSE L                TX         9804766F         THE BOGDAN LAW FIRM
ROSSODIVITO          JOHN                  MS         UNKNOWN          TAYLOR & CIRE                                                      BURFORD              DONALD M              TX         0005256B         THE BOGDAN LAW FIRM
ANKROM               BERNA K               WV         17C661           TENOGLIA & SALISBURY LAW GROUP, LLC                                CADENA               NORBERTO T            TX         0102197A         THE BOGDAN LAW FIRM
ANKROM               CHESTER STANLEY       WV         17C661           TENOGLIA & SALISBURY LAW GROUP, LLC                                CAMACHO              MARTIN T              TX         0101285C         THE BOGDAN LAW FIRM
BARNETTE             ALVA LEE              WV         18C604           TENOGLIA & SALISBURY LAW GROUP, LLC                                CANALES              JOSE F                TX         025232F          THE BOGDAN LAW FIRM
BURNEM               JAMES ROBERT          WV         17C963           TENOGLIA & SALISBURY LAW GROUP, LLC                                CANALES              SETURINO              TX         033346F          THE BOGDAN LAW FIRM
BURNEM               LINDA LOU             WV         17C963           TENOGLIA & SALISBURY LAW GROUP, LLC                                CANCHOLA             ROY                   TX         002748D          THE BOGDAN LAW FIRM
DUGAN                DENA M                WV         18C1518          TENOGLIA & SALISBURY LAW GROUP, LLC                                CANTU                ANITA                 TX         0004222B         THE BOGDAN LAW FIRM
DUGAN                RICHARD T             WV         18C1518          TENOGLIA & SALISBURY LAW GROUP, LLC                                CANTU                BALDOMERO             TX         0004222B         THE BOGDAN LAW FIRM
GRUESER              DON K                 WV         18C1019          TENOGLIA & SALISBURY LAW GROUP, LLC                                CANTU                JESUS M               TX         0104209C         THE BOGDAN LAW FIRM
GRUESER              JANET SUE             WV         18C1019          TENOGLIA & SALISBURY LAW GROUP, LLC                                CANTU                MANUEL P              TX         025232F          THE BOGDAN LAW FIRM
HANING               LESTER DALE           WV         18C599           TENOGLIA & SALISBURY LAW GROUP, LLC                                CARDONA              CRESPIN R             TX         0004223B         THE BOGDAN LAW FIRM
HANING               LOIS L                WV         18C599           TENOGLIA & SALISBURY LAW GROUP, LLC                                CARRION              GUILLERMO A           TX         0104209C         THE BOGDAN LAW FIRM
HARRISON             PATSY                 WV         18C604           TENOGLIA & SALISBURY LAW GROUP, LLC                                CARROLL              ANITA G               TX         0104209C         THE BOGDAN LAW FIRM
KAVESKY              WALTER F              WV         19C16            TENOGLIA & SALISBURY LAW GROUP, LLC                                CASANOVA             HUGO                  TX         996022E          THE BOGDAN LAW FIRM
NEACE                JAMES                 WV         17C962           TENOGLIA & SALISBURY LAW GROUP, LLC                                CASAS                GERARDO M             TX         0002483C         THE BOGDAN LAW FIRM
NEACE                TAMMY                 WV         17C962           TENOGLIA & SALISBURY LAW GROUP, LLC                                CASTELLANOS          JUAN D                TX         0004225B         THE BOGDAN LAW FIRM
ROMINE               KIMBERLY L            WV         18C1019          TENOGLIA & SALISBURY LAW GROUP, LLC                                CASTILLO             ROSENDO               TX         9906021C         THE BOGDAN LAW FIRM
SISSON               CARMEL                WV         17C89            TENOGLIA & SALISBURY LAW GROUP, LLC                                CASTRO               TEODORO               TX         011286D          THE BOGDAN LAW FIRM




                                                                                                                              Appendix A - 678
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 13 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CEDILLO              RAMIRO                TX         9804766F         THE BOGDAN LAW FIRM                                  GONZALES             JOSE C                TX         996022E          THE BOGDAN LAW FIRM
CHANEY               JOHN W                TX         002748D          THE BOGDAN LAW FIRM                                  GONZALES             JOSE C                TX         011283F          THE BOGDAN LAW FIRM
CHAPA                DELFINO V             TX         033346F          THE BOGDAN LAW FIRM                                  GONZALES             JUAN                  TX         9906021C         THE BOGDAN LAW FIRM
CHAPA                LORENZO V             TX         033342A          THE BOGDAN LAW FIRM                                  GONZALES             MARCELINO B           TX         025232F          THE BOGDAN LAW FIRM
CISNEROS             LORENZO M             TX         9804766F         THE BOGDAN LAW FIRM                                  GONZALES             REYNALDO              TX         0002207C         THE BOGDAN LAW FIRM
COLE                 JERRY W               TX         9906021C         THE BOGDAN LAW FIRM                                  GONZALEZ             CELESTINO H           TX         0006659B         THE BOGDAN LAW FIRM
COLLINS              EARL                  TX         025232F          THE BOGDAN LAW FIRM                                  GONZALEZ             GONZALO F             TX         0102198A         THE BOGDAN LAW FIRM
COLLUMNS             LARRY E               TX         025230G          THE BOGDAN LAW FIRM                                  GONZALEZ             JESUS                 TX         0101285C         THE BOGDAN LAW FIRM
COOGLER              GARY LYNN             TX         004221E          THE BOGDAN LAW FIRM                                  GONZALEZ             JESUS M               TX         0102197A         THE BOGDAN LAW FIRM
COOK                 JAMES R               TX         025231G          THE BOGDAN LAW FIRM                                  GONZALEZ             RAFAEL G              TX         9804766F         THE BOGDAN LAW FIRM
COOK                 JERRY A               TX         025235A          THE BOGDAN LAW FIRM                                  GONZALEZ             RUBEN H               TX         004221E          THE BOGDAN LAW FIRM
CORTINAS             ALBERT                TX         991992D          THE BOGDAN LAW FIRM                                  GONZALEZ             VINCENTE R            TX         033342A          THE BOGDAN LAW FIRM
COTTON               CHARLES E             TX         033342A          THE BOGDAN LAW FIRM                                  GRIFFITHS            JAMES L               TX         0004223B         THE BOGDAN LAW FIRM
DANDO                PASQUALE A            TX         0104209C         THE BOGDAN LAW FIRM                                  GUAJARDO             RUBEN D               TX         002748D          THE BOGDAN LAW FIRM
DE LA GARZA          ROBERT                TX         011283F          THE BOGDAN LAW FIRM                                  GUERRA               FRANCISCO U           TX         0101285C         THE BOGDAN LAW FIRM
DE LA ROSA           REMIGIO               TX         996022E          THE BOGDAN LAW FIRM                                  GUTIERREZ            DESIDORO G            TX         0104209C         THE BOGDAN LAW FIRM
DE LEON              ALEJANDRO G           TX         9901100F         THE BOGDAN LAW FIRM                                  GUZMAN               DENIS B               TX         9901100F         THE BOGDAN LAW FIRM
DE LEON              GUADALUPE             TX         9901100F         THE BOGDAN LAW FIRM                                  GUZMAN               DOMINGO               TX         9806467C         THE BOGDAN LAW FIRM
DE LEON              ISRAEL M              TX         985147F          THE BOGDAN LAW FIRM                                  GUZMAN               JOSE                  TX         0102198A         THE BOGDAN LAW FIRM
DE LEON              RAUL R                TX         011283F          THE BOGDAN LAW FIRM                                  HAGGARD              JAMES B               TX         011286D          THE BOGDAN LAW FIRM
DELEON               RUBEN R               TX         0101285C         THE BOGDAN LAW FIRM                                  HALLONQUIST          FREDERICK G           TX         0105716000C      THE BOGDAN LAW FIRM
DELGADO              ALBERT                TX         9906021C         THE BOGDAN LAW FIRM                                  HAMON                EMMA                  TX         0105716000C      THE BOGDAN LAW FIRM
DEWS                 CD                    TX         0105716000C      THE BOGDAN LAW FIRM                                  HANEY                ALVIS M               TX         033346F          THE BOGDAN LAW FIRM
DITTMAN              WILLIAM R             TX         0004225B         THE BOGDAN LAW FIRM                                  HARRISON             TOM                   TX         011286D          THE BOGDAN LAW FIRM
DUENES               DAVID B               TX         004221E          THE BOGDAN LAW FIRM                                  HENRY                CAROLYN J             TX         025231G          THE BOGDAN LAW FIRM
EASTER               RICHARD D             TX         0204151E         THE BOGDAN LAW FIRM                                  HENRY                ROY J                 TX         025235A          THE BOGDAN LAW FIRM
EDWARDS              JAMES H               TX         0006659B         THE BOGDAN LAW FIRM                                  HERNANDEZ            JULIAN S              TX         011283F          THE BOGDAN LAW FIRM
EDWARDS              JEWELL L              TX         025235A          THE BOGDAN LAW FIRM                                  HERNANDEZ            RONALD                TX         993859D          THE BOGDAN LAW FIRM
ELIZONDO             AGAPITO A             TX         002748D          THE BOGDAN LAW FIRM                                  HERNANDEZ            SANTIAGO              TX         0005256B         THE BOGDAN LAW FIRM
ELIZONDO             BRUNO Z               TX         0004223B         THE BOGDAN LAW FIRM                                  HERRERA              PEDRO                 TX         033346F          THE BOGDAN LAW FIRM
ELIZONDO             MARIO                 TX         985147F          THE BOGDAN LAW FIRM                                  HINOJOSA             GABRIEL M             TX         011283F          THE BOGDAN LAW FIRM
ELLISON              EDWARD C              TX         033346F          THE BOGDAN LAW FIRM                                  HINOJOSA             JESUS                 TX         9906021C         THE BOGDAN LAW FIRM
ESCAMILLA            ERASMO                TX         025232F          THE BOGDAN LAW FIRM                                  HINOJOSA             JOSE H                TX         0102197A         THE BOGDAN LAW FIRM
ESCOBEDO             JUAN S                TX         0004225B         THE BOGDAN LAW FIRM                                  HINOJOSA             ORALIA                TX         9906021C         THE BOGDAN LAW FIRM
ESQUIVEL             FRANK M               TX         9804950C         THE BOGDAN LAW FIRM                                  HOLDER               LUTHER D              TX         025230G          THE BOGDAN LAW FIRM
ESTRADA              JESSIE N              TX         0102198A         THE BOGDAN LAW FIRM                                  IBARRA               JUAN A                TX         033342A          THE BOGDAN LAW FIRM
ESTRADA              PEDRO                 TX         0102196G         THE BOGDAN LAW FIRM                                  ISBELL               FRANK L               TX         0006659B         THE BOGDAN LAW FIRM
ETHERIDGE            VERNON B              TX         0005256B         THE BOGDAN LAW FIRM                                  JAMES                PAUL F                TX         0002483C         THE BOGDAN LAW FIRM
EVANS                JAMES N               TX         0002483C         THE BOGDAN LAW FIRM                                  JEFFERY              CLAUDIA               TX         0105716000C      THE BOGDAN LAW FIRM
FLORES               ALFRED                TX         9901100F         THE BOGDAN LAW FIRM                                  JENKINS              LARRY D               TX         985147F          THE BOGDAN LAW FIRM
FLORES               JESUS M               TX         9901100F         THE BOGDAN LAW FIRM                                  JESTER               CHARLES K             TX         025230G          THE BOGDAN LAW FIRM
FLORES               JOSE                  TX         9804766F         THE BOGDAN LAW FIRM                                  JOHNSON              FREDDIE H             TX         025231G          THE BOGDAN LAW FIRM
FLORES               MARTIN V              TX         9804766F         THE BOGDAN LAW FIRM                                  JOHNSON              JOSE M                TX         993860D          THE BOGDAN LAW FIRM
FRANCE               CLIFFORD H            TX         0101285C         THE BOGDAN LAW FIRM                                  JONES                WILLIAM E             TX         0204151E         THE BOGDAN LAW FIRM
FRANCE               GENEVIA               TX         0101285C         THE BOGDAN LAW FIRM                                  KEELE                LEE R                 TX         025235A          THE BOGDAN LAW FIRM
GALVAN               CATARINO M            TX         9901100F         THE BOGDAN LAW FIRM                                  KOUBA                RHONDA                TX         0002207C         THE BOGDAN LAW FIRM
GALVAN               TONY G                TX         0002207C         THE BOGDAN LAW FIRM                                  LACY                 JERRY                 TX         0105716000C      THE BOGDAN LAW FIRM
GAMBOA               ENCARNACION           TX         0002207C         THE BOGDAN LAW FIRM                                  LADD                 JESSIE J              TX         011286D          THE BOGDAN LAW FIRM
GARCIA               ALARAICO              TX         033054H          THE BOGDAN LAW FIRM                                  LADD                 JESSIE M              TX         011286D          THE BOGDAN LAW FIRM
GARCIA               ALEJOS                TX         033054H          THE BOGDAN LAW FIRM                                  LEAL                 FRANCISCO             TX         0005256B         THE BOGDAN LAW FIRM
GARCIA               ANTONIO               TX         0101285C         THE BOGDAN LAW FIRM                                  LIGON                MICHAEL N             TX         0105716000C      THE BOGDAN LAW FIRM
GARCIA               CAMILO M              TX         011286D          THE BOGDAN LAW FIRM                                  LONGORIA             LUIS C                TX         9903861G         THE BOGDAN LAW FIRM
GARCIA               GERALD                TX         0104209C         THE BOGDAN LAW FIRM                                  LOPEZ                ALBERTO               TX         996022E          THE BOGDAN LAW FIRM
GARCIA               HECTOR                TX         033054H          THE BOGDAN LAW FIRM                                  LOPEZ                FRANCISCO SIERRA      TX         993859D          THE BOGDAN LAW FIRM
GARCIA               JESSIE                TX         033054H          THE BOGDAN LAW FIRM                                  LOPEZ                MANUEL O              TX         9804950C         THE BOGDAN LAW FIRM
GARCIA               JOSE RENE             TX         004221E          THE BOGDAN LAW FIRM                                  LOPEZ                SEVERIANO             TX         0004223B         THE BOGDAN LAW FIRM
GARCIA               PEDRO B               TX         0002207C         THE BOGDAN LAW FIRM                                  LUCIO                ANTONIO               TX         9806467C         THE BOGDAN LAW FIRM
GARCIA               PEDRO I               TX         0204151E         THE BOGDAN LAW FIRM                                  LUNA                 GUADALUPE H           TX         011283F          THE BOGDAN LAW FIRM
GARCIA               PRIMITIVO             TX         033342A          THE BOGDAN LAW FIRM                                  MADRIGAL             DOMINGO F             TX         0204151E         THE BOGDAN LAW FIRM
GARCIA               RICHARD L             TX         0105716000C      THE BOGDAN LAW FIRM                                  MAHAN                EUGENE                TX         0004225B         THE BOGDAN LAW FIRM
GARCIA               ROSENDO G             TX         0104209C         THE BOGDAN LAW FIRM                                  MARINES              WILLIAM G             TX         033342A          THE BOGDAN LAW FIRM
GARCIA               SERVANDO              TX         9906021C         THE BOGDAN LAW FIRM                                  MARTINEZ             ERNESTO G             TX         0002207C         THE BOGDAN LAW FIRM
GARZA                ABUNDIO R             TX         0102197A         THE BOGDAN LAW FIRM                                  MARTINEZ             ESTEVAN E             TX         985147F          THE BOGDAN LAW FIRM
GARZA                AMANCIO               TX         9806467C         THE BOGDAN LAW FIRM                                  MARTINEZ             HENRY G               TX         002748D          THE BOGDAN LAW FIRM
GARZA                ARMANDO L             TX         033342A          THE BOGDAN LAW FIRM                                  MARTINEZ             JOSE J                TX         033054H          THE BOGDAN LAW FIRM
GARZA                AVELINO               TX         002748D          THE BOGDAN LAW FIRM                                  MARTINEZ             JOSE R                TX         996022E          THE BOGDAN LAW FIRM
GARZA                BENITO                TX         9804764C         THE BOGDAN LAW FIRM                                  MARTINEZ             JOSE V                TX         0102198A         THE BOGDAN LAW FIRM
GARZA                JUAN A                TX         9906021C         THE BOGDAN LAW FIRM                                  MATA                 FERNANDO R            TX         9804950C         THE BOGDAN LAW FIRM
GARZA                ONOFRE                TX         996022E          THE BOGDAN LAW FIRM                                  MCCAIN               JAMES L               TX         0005256B         THE BOGDAN LAW FIRM
GODFREY              HUBERT M              TX         025231G          THE BOGDAN LAW FIRM                                  MCCRARY              WILLIAM J             TX         993859D          THE BOGDAN LAW FIRM
GONZALES             JOE A                 TX         9806467C         THE BOGDAN LAW FIRM                                  MCDUFFEY             WILLIAM               TX         025235A          THE BOGDAN LAW FIRM




                                                                                                            Appendix A - 679
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 14 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MEDINA               FERMIN G              TX         0004223B         THE BOGDAN LAW FIRM                                  REYES                JOSE M                TX         011283F          THE BOGDAN LAW FIRM
MENDEZ               LUCIO G               TX         0006659B         THE BOGDAN LAW FIRM                                  REYES                JUAN                  TX         0002483C         THE BOGDAN LAW FIRM
MENDIETA             AGUSTIN P             TX         9901100F         THE BOGDAN LAW FIRM                                  REYES                RUBEN V               TX         0104209C         THE BOGDAN LAW FIRM
MENDOZA              DAVID                 TX         0006659B         THE BOGDAN LAW FIRM                                  REYNA                ELOY L                TX         0104209C         THE BOGDAN LAW FIRM
MENDOZA              DORA                  TX         9804766F         THE BOGDAN LAW FIRM                                  RICHARDSON           ELMER L               TX         025230G          THE BOGDAN LAW FIRM
MENDOZA              VICTOR                TX         9804766F         THE BOGDAN LAW FIRM                                  RICHIE               RAYLEEN               TX         0002207C         THE BOGDAN LAW FIRM
MESA                 RAUL C                TX         033054H          THE BOGDAN LAW FIRM                                  RINCON               SALVADOR H            TX         0101285C         THE BOGDAN LAW FIRM
MESA                 RAUL L                TX         033342A          THE BOGDAN LAW FIRM                                  RIOS                 MANUEL                TX         0204151E         THE BOGDAN LAW FIRM
MIRANDA              JUAN L                TX         0104209C         THE BOGDAN LAW FIRM                                  RIOS                 OSCAR                 TX         011286D          THE BOGDAN LAW FIRM
MIRANDA              JUAN L                TX         033054H          THE BOGDAN LAW FIRM                                  RIOS                 SERVANDO              TX         0102198A         THE BOGDAN LAW FIRM
MIRELES              AUGUSTIN              TX         0005258D         THE BOGDAN LAW FIRM                                  RIVAS                JESUS                 TX         9804766F         THE BOGDAN LAW FIRM
MITCHELL             VERNES L              TX         025233A          THE BOGDAN LAW FIRM                                  RIVERA               EDWARD S              TX         0101285C         THE BOGDAN LAW FIRM
MOLINA               JOE L                 TX         033054H          THE BOGDAN LAW FIRM                                  RIVERA               MATIAS M              TX         993860D          THE BOGDAN LAW FIRM
MONTALVO             JUAN                  TX         9906021C         THE BOGDAN LAW FIRM                                  RODRIGUEZ            DAVID                 TX         996022E          THE BOGDAN LAW FIRM
MOORE                TOM                   TX         025230G          THE BOGDAN LAW FIRM                                  RODRIGUEZ            FEDERICO V            TX         033342A          THE BOGDAN LAW FIRM
MORALES              JOE                   TX         0006659B         THE BOGDAN LAW FIRM                                  RODRIGUEZ            GUADALUPE P           TX         0004223B         THE BOGDAN LAW FIRM
MORGAN               MARGARET              TX         033346F          THE BOGDAN LAW FIRM                                  RODRIGUEZ            JESUS R               TX         033346F          THE BOGDAN LAW FIRM
MORIN                JOSE O                TX         0204151E         THE BOGDAN LAW FIRM                                  ROJAS                ERNESTO G             TX         0004223B         THE BOGDAN LAW FIRM
MOYA                 EDWARD                TX         996022E          THE BOGDAN LAW FIRM                                  ROJAS                GILBERT               TX         0002207C         THE BOGDAN LAW FIRM
MUNGIA               ARTURO                TX         9906021C         THE BOGDAN LAW FIRM                                  ROQUE                EDWARD FRANK          TX         0104209C         THE BOGDAN LAW FIRM
MUNIZ                ELIAS                 TX         9806467C         THE BOGDAN LAW FIRM                                  ROSAS                EDUARDO               TX         011286D          THE BOGDAN LAW FIRM
MUNOZ                GONZALO G             TX         0002207C         THE BOGDAN LAW FIRM                                  ROSAS                JOEL J                TX         0102196G         THE BOGDAN LAW FIRM
MURILLO              JOSE M                TX         025232F          THE BOGDAN LAW FIRM                                  ROSS                 RALPH GLENN           TX         033342A          THE BOGDAN LAW FIRM
MUSQUIZ              TOMAS                 TX         0006659B         THE BOGDAN LAW FIRM                                  ROSS                 ROSALIE               TX         033342A          THE BOGDAN LAW FIRM
NAVA                 ELIA                  TX         0005256B         THE BOGDAN LAW FIRM                                  RUELAS               JOSE V                TX         0104209C         THE BOGDAN LAW FIRM
NAVA                 EULOGIO C             TX         0005256B         THE BOGDAN LAW FIRM                                  RUIZ                 ANDRES                TX         033346F          THE BOGDAN LAW FIRM
NERIO                DAVID                 TX         9806467C         THE BOGDAN LAW FIRM                                  RUIZ                 MARCIANO              TX         993860D          THE BOGDAN LAW FIRM
NORMAN               RAYMOND               TX         0102197A         THE BOGDAN LAW FIRM                                  SAENZ                ELIGIO T              TX         033054H          THE BOGDAN LAW FIRM
OLIVO                JESSE S               TX         985147F          THE BOGDAN LAW FIRM                                  SAENZ                JOSE OMAR             TX         0102197A         THE BOGDAN LAW FIRM
OLIVO                JOSE ROMEO            TX         025232F          THE BOGDAN LAW FIRM                                  SAENZ                LIBRADO               TX         033346F          THE BOGDAN LAW FIRM
OLSON                JOHN W                TX         033346F          THE BOGDAN LAW FIRM                                  SAENZ                RUBEN                 TX         991992D          THE BOGDAN LAW FIRM
ORTEGA               ALBERT J              TX         0005256B         THE BOGDAN LAW FIRM                                  SALAZAR              BENJAMIN              TX         033342A          THE BOGDAN LAW FIRM
ORTIZ                JUVNETINO M           TX         0104209C         THE BOGDAN LAW FIRM                                  SALAZAR              DOMINGO               TX         0000637G         THE BOGDAN LAW FIRM
ORTIZ                RICARDO E             TX         9806467C         THE BOGDAN LAW FIRM                                  SALDANA              AMADOR                TX         0002483C         THE BOGDAN LAW FIRM
PANKEY               OTIS L                TX         025231G          THE BOGDAN LAW FIRM                                  SALDANA              JESSE C               TX         011283F          THE BOGDAN LAW FIRM
PANSZA               RICHARD JR            TX         9817714          THE BOGDAN LAW FIRM                                  SALINAS              MANUEL                TX         9806467C         THE BOGDAN LAW FIRM
PARKINSON            WILLIE ROBERT         TX         0105716000C      THE BOGDAN LAW FIRM                                  SALINAS              OSCAR E               TX         0102197A         THE BOGDAN LAW FIRM
PEAL                 CHARLES L             TX         011283F          THE BOGDAN LAW FIRM                                  SANCHEZ              ALBERTO               TX         025233A          THE BOGDAN LAW FIRM
PENA                 ALVARO G              TX         991992D          THE BOGDAN LAW FIRM                                  SANCHEZ              ANTONIO               TX         0002207C         THE BOGDAN LAW FIRM
PENA                 RAMON                 TX         0103150G         THE BOGDAN LAW FIRM                                  SANCHEZ              ATANCIO B             TX         0104209C         THE BOGDAN LAW FIRM
PENA                 SAMUEL                TX         0002483C         THE BOGDAN LAW FIRM                                  SANCHEZ              MARIO G               TX         011286D          THE BOGDAN LAW FIRM
PEREZ                DOMINGO C             TX         0004225B         THE BOGDAN LAW FIRM                                  SARMIENTO            RALPH                 TX         0004225B         THE BOGDAN LAW FIRM
PEREZ                EMILIO                TX         004221E          THE BOGDAN LAW FIRM                                  SAUCEDA              PETE                  TX         0101285C         THE BOGDAN LAW FIRM
PEREZ                MARIA E               TX         0004225B         THE BOGDAN LAW FIRM                                  SCARBOROUGH          J0Y                   TX         0102198A         THE BOGDAN LAW FIRM
PEREZ                MIGUEL                TX         033054H          THE BOGDAN LAW FIRM                                  SCARBOROUGH          JOY                   TX         0102198A         THE BOGDAN LAW FIRM
PEREZ                PABLO                 TX         0204151E         THE BOGDAN LAW FIRM                                  SERRATA              ABEL R                TX         004221E          THE BOGDAN LAW FIRM
PEREZ                RAYMOND A             TX         004221E          THE BOGDAN LAW FIRM                                  SEXTON               JAMES E               TX         025235A          THE BOGDAN LAW FIRM
PICKETT              ADRAIN                TX         025231G          THE BOGDAN LAW FIRM                                  SIERRA               SANTIAGO              TX         9906021C         THE BOGDAN LAW FIRM
POWERS               GARY                  TX         025232F          THE BOGDAN LAW FIRM                                  SILVAS               ADRIAN                TX         004221E          THE BOGDAN LAW FIRM
PULIDO               DANIEL G              TX         025232F          THE BOGDAN LAW FIRM                                  SILVAS               ATANASIO A            TX         0006659B         THE BOGDAN LAW FIRM
QUINTANILLA          BENJAMIN G            TX         0005256B         THE BOGDAN LAW FIRM                                  SIMINGTON            LUCIOUS C             TX         025230G          THE BOGDAN LAW FIRM
RAMIREZ              ARTURO                TX         0102197A         THE BOGDAN LAW FIRM                                  SMITH                ELLIS H               TX         0204151E         THE BOGDAN LAW FIRM
RAMIREZ              ELEAZAR               TX         98CI17715        THE BOGDAN LAW FIRM                                  SMITH                JAMES T               TX         025235A          THE BOGDAN LAW FIRM
RAMIREZ              JUAN R                TX         991992D          THE BOGDAN LAW FIRM                                  SOLIS                ERNESTO               TX         0104209C         THE BOGDAN LAW FIRM
RAMIREZ              LEONARDA              TX         0102197A         THE BOGDAN LAW FIRM                                  SOLIZ                LEE                   TX         0004223B         THE BOGDAN LAW FIRM
RAMIREZ              MARIA E               TX         991992D          THE BOGDAN LAW FIRM                                  SOTO                 LUIS O                TX         0101285C         THE BOGDAN LAW FIRM
RAMIREZ              THOMAS J              TX         024149C          THE BOGDAN LAW FIRM                                  STARKEY              TED F                 TX         025231G          THE BOGDAN LAW FIRM
RAMON                FLEIX                 TX         9901100F         THE BOGDAN LAW FIRM                                  STUART               JONATHAN W            TX         025235A          THE BOGDAN LAW FIRM
RAMON                MATIAS M              TX         0002483C         THE BOGDAN LAW FIRM                                  TAMEZ                RUBEN S               TX         033346F          THE BOGDAN LAW FIRM
RAMOS                FELIX L               TX         0004223B         THE BOGDAN LAW FIRM                                  TEJEDA               RAMON C               TX         011286D          THE BOGDAN LAW FIRM
RAMOS                JESUS G               TX         033054H          THE BOGDAN LAW FIRM                                  TENNILL              GLEN                  TX         0004225B         THE BOGDAN LAW FIRM
RAMOS                OMAR                  TX         033054H          THE BOGDAN LAW FIRM                                  TILLEY               BOSTON HENRY          TX         0105716000C      THE BOGDAN LAW FIRM
RAMOS                REYNALDO              TX         033054H          THE BOGDAN LAW FIRM                                  TORRES               SANTIAGO              TX         0102197A         THE BOGDAN LAW FIRM
RAMOS                TOMASITO              TX         033054H          THE BOGDAN LAW FIRM                                  VALADEZ              ROBERT                TX         002748D          THE BOGDAN LAW FIRM
RANGEL               DOMINGO               TX         9806467C         THE BOGDAN LAW FIRM                                  VALDEZ               JESUS                 TX         033054H          THE BOGDAN LAW FIRM
RAWLS                HOWARD RAY            TX         0002207C         THE BOGDAN LAW FIRM                                  VALDEZ               SYLVIA RAMOS          TX         033054H          THE BOGDAN LAW FIRM
RESENDEZ             RAUL R                TX         031982A          THE BOGDAN LAW FIRM                                  VALDEZ               VICTOR C              TX         011283F          THE BOGDAN LAW FIRM
REYES                BENITO C              TX         0002483C         THE BOGDAN LAW FIRM                                  VANNOY               FRED R                TX         0002483C         THE BOGDAN LAW FIRM
REYES                DANIEL G              TX         0006659B         THE BOGDAN LAW FIRM                                  VARGAS               ISIDRO D              TX         0006659B         THE BOGDAN LAW FIRM
REYES                ENRIQUE               TX         9901100F         THE BOGDAN LAW FIRM                                  VASQUEZ              CECELIO               TX         985147F          THE BOGDAN LAW FIRM
REYES                JOE M                 TX         033342A          THE BOGDAN LAW FIRM                                  VELA                 LORENZO               TX         9906021C         THE BOGDAN LAW FIRM




                                                                                                            Appendix A - 680
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 15 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

VELA                 RICHARD G             TX         9901100F         THE BOGDAN LAW FIRM                                  BENNETT              STEPHANIE             TX         2001333C         THE CARLILE LAW FIRM, LLP
VELA                 ROLANDO               TX         0004225B         THE BOGDAN LAW FIRM                                  BENOIT               DOUG                  TX         A168572          THE CARLILE LAW FIRM, LLP
VELASCO              ROBERTO               TX         0002207C         THE BOGDAN LAW FIRM                                  BERGERON             GILFORD               TX         200705599        THE CARLILE LAW FIRM, LLP
VILLAFUERTE          MARIE L               TX         9806467C         THE BOGDAN LAW FIRM                                  BERGERON             ISAAC                 TX         A168572          THE CARLILE LAW FIRM, LLP
VILLAREAL            RUBEN JR              TX         0102198A         THE BOGDAN LAW FIRM                                  BERGERON             KIP J                 TX         A168572          THE CARLILE LAW FIRM, LLP
VILLARREAL           DAVID V               TX         004221E          THE BOGDAN LAW FIRM                                  BERGERON             MICHAEL               TX         A168572          THE CARLILE LAW FIRM, LLP
VILLARREAL           ELOY P                TX         0002483C         THE BOGDAN LAW FIRM                                  BERGERON             ROBERT JAMES          TX         A168572          THE CARLILE LAW FIRM, LLP
VILLARREAL           NOE                   TX         985147F          THE BOGDAN LAW FIRM                                  BIRMINGHAM           BILL                  TX         2001333D         THE CARLILE LAW FIRM, LLP
VILLARREAL           RUBEN G               TX         0102198A         THE BOGDAN LAW FIRM                                  BISNETTE             JENNIFER              TX         2001333C         THE CARLILE LAW FIRM, LLP
VILLARREAL           SANTOS T              TX         9804950C         THE BOGDAN LAW FIRM                                  BISNETTE             WILLIAM               TX         2001333C         THE CARLILE LAW FIRM, LLP
WARDLAW              CHARLES W             TX         025230G          THE BOGDAN LAW FIRM                                  BLACKLOCK            ALICE                 TX         021132           THE CARLILE LAW FIRM, LLP
WASHBURN             JAMES D               TX         0105716000C      THE BOGDAN LAW FIRM                                  BLACKLOCK            BYRON                 TX         021132           THE CARLILE LAW FIRM, LLP
WATSON               THOMAS E              TX         025231G          THE BOGDAN LAW FIRM                                  BOAZE                CINDY                 TX         2001333D         THE CARLILE LAW FIRM, LLP
WILEY                WADE                  TX         9817714          THE BOGDAN LAW FIRM                                  BOAZE                DAVID WAYNE           TX         2001333D         THE CARLILE LAW FIRM, LLP
WILLIAMS             LOUIS E               TX         025235A          THE BOGDAN LAW FIRM                                  BOLDEN               LC                    TX         021132           THE CARLILE LAW FIRM, LLP
WILLIS               ELBERT SAMUEL         TX         0105716000C      THE BOGDAN LAW FIRM                                  BOLDEN               NEDRA                 TX         021132           THE CARLILE LAW FIRM, LLP
YBARRA               EUDOCIO E             TX         002748D          THE BOGDAN LAW FIRM                                  BONNER               BENNIE                TX         021132           THE CARLILE LAW FIRM, LLP
YBARRA               JESUS M               TX         996022E          THE BOGDAN LAW FIRM                                  BONNER               CHARLOTTE             TX         01275BD          THE CARLILE LAW FIRM, LLP
YBARRA               ROBERT                TX         0002749E         THE BOGDAN LAW FIRM                                  BONNER               FREDDIE               TX         01275BD          THE CARLILE LAW FIRM, LLP
ZAPATA               BENIGNO               TX         031982A          THE BOGDAN LAW FIRM                                  BONNER               JAMES E               TX         01275B           THE CARLILE LAW FIRM, LLP
ZAPATA               JUAN G                TX         0104209C         THE BOGDAN LAW FIRM                                  BONNER               JAMES E               TX         01275BD          THE CARLILE LAW FIRM, LLP
ZAPATA               TONY R                TX         025232F          THE BOGDAN LAW FIRM                                  BONNER               JOEL A                TX         01275BD          THE CARLILE LAW FIRM, LLP
ZAVALA               JOE A                 TX         0005256B         THE BOGDAN LAW FIRM                                  BONNER               LILLIE                TX         01275BD          THE CARLILE LAW FIRM, LLP
ZAVALA               MANUEL P              TX         993859D          THE BOGDAN LAW FIRM                                  BOONE                JOE HOWELL            TX         29433D           THE CARLILE LAW FIRM, LLP
ZUNIGA               JOE H                 TX         0005256B         THE BOGDAN LAW FIRM                                  BOUDLOUCH            MARY                  TX         03CV1035         THE CARLILE LAW FIRM, LLP
ABERNATHY            CHARLOTTE             TX         2001333C         THE CARLILE LAW FIRM, LLP                            BOUDREAUX            GARY                  TX         A168572          THE CARLILE LAW FIRM, LLP
ABERNATHY            ROBERT KEITH          TX         2001333D         THE CARLILE LAW FIRM, LLP                            BOUNDWIN             LUCILLE               TX         03CV1035         THE CARLILE LAW FIRM, LLP
ABERNATHY            ROBERT KEITH          TX         2001333C         THE CARLILE LAW FIRM, LLP                            BOURQUE              DAVID K               TX         A168572          THE CARLILE LAW FIRM, LLP
ADAMS                CHARLES               TX         2001333D         THE CARLILE LAW FIRM, LLP                            BOWMAN               BEVERLY               TX         2001333D         THE CARLILE LAW FIRM, LLP
ALEXANDER            RANDALL               TX         03C373           THE CARLILE LAW FIRM, LLP                            BOWMAN               BEVERLY               TX         2001333C         THE CARLILE LAW FIRM, LLP
ALFORD               JOHN                  TX         01275BD          THE CARLILE LAW FIRM, LLP                            BOWMAN               GLORIA                TX         2001333C         THE CARLILE LAW FIRM, LLP
ALFORD               JOHN                  TX         01275BC          THE CARLILE LAW FIRM, LLP                            BOWMAN               JOHN HILL             TX         2001333C         THE CARLILE LAW FIRM, LLP
ALFORD               MJ                    TX         01275BD          THE CARLILE LAW FIRM, LLP                            BOWMAN               LARRY WAYNE           TX         2001333D         THE CARLILE LAW FIRM, LLP
ALFORD               MJ                    TX         01275BC          THE CARLILE LAW FIRM, LLP                            BOWMAN               LARRY WAYNE           TX         2001333C         THE CARLILE LAW FIRM, LLP
ALFORD               MARY                  TX         01275BD          THE CARLILE LAW FIRM, LLP                            BOYD                 EUGENIA               TX         2001333C         THE CARLILE LAW FIRM, LLP
ALFORD               MARY                  TX         01275BC          THE CARLILE LAW FIRM, LLP                            BOYD                 GINA                  TX         2001333C         THE CARLILE LAW FIRM, LLP
ALLEN                JAMES                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            BOYD                 STEPHEN               TX         2001333C         THE CARLILE LAW FIRM, LLP
ALLEN                JESSE LEROY           TX         021132           THE CARLILE LAW FIRM, LLP                            BOYTER               DALE                  TX         03C373           THE CARLILE LAW FIRM, LLP
ALLEN                LINDA                 TX         021132           THE CARLILE LAW FIRM, LLP                            BREAUX               DANIEL                TX         A168572          THE CARLILE LAW FIRM, LLP
AMERSON              RICHARD               TX         29433D           THE CARLILE LAW FIRM, LLP                            BREWSTER             ELIAZBETH             TX         2001333C         THE CARLILE LAW FIRM, LLP
ANDERSON             CHARLENE              TX         2001193AA        THE CARLILE LAW FIRM, LLP                            BREWSTER             ROBERT GARY           TX         2001333C         THE CARLILE LAW FIRM, LLP
ANDERSON             ELIJAH                TX         2001193AA        THE CARLILE LAW FIRM, LLP                            BRIERY               ROY GLENN             TX         2001333D         THE CARLILE LAW FIRM, LLP
ANDERSON             HERBERT               TX         2001193AA        THE CARLILE LAW FIRM, LLP                            BRIERY               SHELIA                TX         2001333D         THE CARLILE LAW FIRM, LLP
ANDERSON             LINDA                 TX         2001193AA        THE CARLILE LAW FIRM, LLP                            BROOKS               CHIOKE                TX         03C373           THE CARLILE LAW FIRM, LLP
ANDERSON             PAULINE               TX         2001193AA        THE CARLILE LAW FIRM, LLP                            BROOKS               CLARENCE              TX         29433D           THE CARLILE LAW FIRM, LLP
ANDERSON             SHEILA                TX         2001193AA        THE CARLILE LAW FIRM, LLP                            BROOKS               GLADYS                TX         2001333C         THE CARLILE LAW FIRM, LLP
ARMSTRONG            THOMAS                TX         03C373           THE CARLILE LAW FIRM, LLP                            BROOKS               IRIS                  TX         021132           THE CARLILE LAW FIRM, LLP
ATES                 ALVIN DEAN            TX         021132           THE CARLILE LAW FIRM, LLP                            BROOKS               JEFFERY L             TX         2001333C         THE CARLILE LAW FIRM, LLP
ATES                 TANJA                 TX         021132           THE CARLILE LAW FIRM, LLP                            BROOKS               KENNETH CALVIN        TX         2001333C         THE CARLILE LAW FIRM, LLP
ATTAWAY              HARRY                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            BROOKS               KENNETH WAYNE         TX         29433D           THE CARLILE LAW FIRM, LLP
AYERS                LARRY                 TX         29433B           THE CARLILE LAW FIRM, LLP                            BROOKS               MARILYN               TX         29433D           THE CARLILE LAW FIRM, LLP
BAILEY               BRENDA                TX         01275BD          THE CARLILE LAW FIRM, LLP                            BROUSSARD            JOHNNY                TX         A168572          THE CARLILE LAW FIRM, LLP
BAILEY               CHESTER               TX         01275BD          THE CARLILE LAW FIRM, LLP                            BROWN                GARY WAYNE            TX         2001333D         THE CARLILE LAW FIRM, LLP
BAKER                CRISTIE               TX         2001333C         THE CARLILE LAW FIRM, LLP                            BROWN                GARY WAYNE            TX         2001333C         THE CARLILE LAW FIRM, LLP
BAKER                TOMMY L               TX         2001333C         THE CARLILE LAW FIRM, LLP                            BROWN                PAULINE NORRIS        TX         2001333D         THE CARLILE LAW FIRM, LLP
BARRETT              RICHARD A             TX         29433B           THE CARLILE LAW FIRM, LLP                            BROWN                RAYMOND               TX         040440           THE CARLILE LAW FIRM, LLP
BARTLEY              JOHN                  TX         2001333C         THE CARLILE LAW FIRM, LLP                            BROWN                RHONDA                TX         2001333D         THE CARLILE LAW FIRM, LLP
BARTON               BILLY K               TX         2001333D         THE CARLILE LAW FIRM, LLP                            BROWN                RHONDA                TX         2001333C         THE CARLILE LAW FIRM, LLP
BARTS                MARK                  TX         2001333C         THE CARLILE LAW FIRM, LLP                            BURTON               BARRY G               TX         2001333D         THE CARLILE LAW FIRM, LLP
BARTS                SANDI                 TX         2001333C         THE CARLILE LAW FIRM, LLP                            BUSBY                ELLA                  TX         01275BD          THE CARLILE LAW FIRM, LLP
BARTS                SANDY                 TX         2001333C         THE CARLILE LAW FIRM, LLP                            BUSBY                WILMER                TX         01275BD          THE CARLILE LAW FIRM, LLP
BEALL                BILLY LYNN            TX         040440           THE CARLILE LAW FIRM, LLP                            BUSH                 MAXINE                TX         03C373           THE CARLILE LAW FIRM, LLP
BEASON               CHARLES R             TX         021132           THE CARLILE LAW FIRM, LLP                            BUSSEY               ROBERT LOUIS          TX         021132           THE CARLILE LAW FIRM, LLP
BELGARD              BILLY RAY             TX         03C373           THE CARLILE LAW FIRM, LLP                            BYRDSONG             JOHNNY                TX         2001333C         THE CARLILE LAW FIRM, LLP
BELL                 SONDA                 TX         01275BD          THE CARLILE LAW FIRM, LLP                            BYRDSONG             KERNEATHA             TX         2001333C         THE CARLILE LAW FIRM, LLP
BELL                 SONDRA                TX         01275BD          THE CARLILE LAW FIRM, LLP                            CAMERON              RUFUS                 TX         03C373           THE CARLILE LAW FIRM, LLP
BELL                 WAYNE V               TX         01275BD          THE CARLILE LAW FIRM, LLP                            CAMPBELL             JANICE                TX         01275BD          THE CARLILE LAW FIRM, LLP
BENNETT              BETTY J               TX         29433B           THE CARLILE LAW FIRM, LLP                            CAMPBELL             THOMAS HENRY          TX         01275BD          THE CARLILE LAW FIRM, LLP
BENNETT              MILTON                TX         2001333D         THE CARLILE LAW FIRM, LLP                            CANNON               DAWN                  TX         2001333D         THE CARLILE LAW FIRM, LLP
BENNETT              MILTON                TX         2001333C         THE CARLILE LAW FIRM, LLP                            CANNON               DAWN                  TX         2001333C         THE CARLILE LAW FIRM, LLP
BENNETT              STEPHANIE             TX         2001333D         THE CARLILE LAW FIRM, LLP                            CANNON               MICHAEL DAVID         TX         2001333D         THE CARLILE LAW FIRM, LLP




                                                                                                            Appendix A - 681
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 16 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CANNON               MICHAEL DAVID         TX         2001333C         THE CARLILE LAW FIRM, LLP                            EAKER                THOMAS C              TX         021132           THE CARLILE LAW FIRM, LLP
CARAWAY              HOUSTON C             TX         021132           THE CARLILE LAW FIRM, LLP                            EAVES                DAVID                 TX         021132           THE CARLILE LAW FIRM, LLP
CARTER               JEANA                 TX         2001333C         THE CARLILE LAW FIRM, LLP                            EDGMOM               DOROTHY               TX         021132           THE CARLILE LAW FIRM, LLP
CARTER               JOSEPH B              TX         2001333C         THE CARLILE LAW FIRM, LLP                            EDGMON               WILLIAM               TX         021132           THE CARLILE LAW FIRM, LLP
CARTER               SHIRLEY M             TX         021132           THE CARLILE LAW FIRM, LLP                            EDNEY                JOHN                  TX         03C373           THE CARLILE LAW FIRM, LLP
CATES                LARRY R               TX         2001333D         THE CARLILE LAW FIRM, LLP                            EDWARDS              WILLIAM               TX         A168572          THE CARLILE LAW FIRM, LLP
CATES                LONA                  TX         2001333D         THE CARLILE LAW FIRM, LLP                            ELLENDER             GLENN                 TX         A168572          THE CARLILE LAW FIRM, LLP
CATO                 AUDREY                TX         010614           THE CARLILE LAW FIRM, LLP                            ELLENDER             TERRY                 TX         A168572          THE CARLILE LAW FIRM, LLP
CATO                 DWAYLA                TX         010614           THE CARLILE LAW FIRM, LLP                            ELLINDER             BOBBY F               TX         A168572          THE CARLILE LAW FIRM, LLP
CATO                 JOSEPH C              TX         010614           THE CARLILE LAW FIRM, LLP                            ELLIOT               ALLEN E               TX         021132           THE CARLILE LAW FIRM, LLP
CATO                 SHANNON               TX         010614           THE CARLILE LAW FIRM, LLP                            ELLIS                ANGELA                TX         2001333D         THE CARLILE LAW FIRM, LLP
CAVINESS             MICHAEL               TX         2001193AA        THE CARLILE LAW FIRM, LLP                            ELLIS                GERALD                TX         2001333D         THE CARLILE LAW FIRM, LLP
CAVINESS             RONA                  TX         2001193AA        THE CARLILE LAW FIRM, LLP                            ELLIS                JANET HATFIELD        TX         29433B           THE CARLILE LAW FIRM, LLP
CHAISSON             TERRY                 TX         200705599        THE CARLILE LAW FIRM, LLP                            ELLIS                JOHN STUART           TX         29433B           THE CARLILE LAW FIRM, LLP
CHAMBERS             BOBBY L               TX         010614           THE CARLILE LAW FIRM, LLP                            ERWIN                AUDIE BOB             TX         01275B           THE CARLILE LAW FIRM, LLP
CHAUVIN              BOBBY                 TX         A168572          THE CARLILE LAW FIRM, LLP                            ERWIN                AUDIE BOB             TX         01275BD          THE CARLILE LAW FIRM, LLP
CHAUVIN              JANE                  TX         A168572          THE CARLILE LAW FIRM, LLP                            ERWIN                LENA                  TX         01275B           THE CARLILE LAW FIRM, LLP
CHESHIRE             DARRELL DEAN          TX         2001333D         THE CARLILE LAW FIRM, LLP                            ERWIN                LENA                  TX         01275BD          THE CARLILE LAW FIRM, LLP
CLARK                CHARLES DANNY         TX         03C373           THE CARLILE LAW FIRM, LLP                            EUDY                 DEENA                 TX         29433D           THE CARLILE LAW FIRM, LLP
CLARK                FRANKLIN              TX         03C373           THE CARLILE LAW FIRM, LLP                            EUDY                 RICKY NEAL            TX         29433D           THE CARLILE LAW FIRM, LLP
CLARK                JO ANN                TX         03C373           THE CARLILE LAW FIRM, LLP                            FALGOUT              JEFFREY               TX         A168572          THE CARLILE LAW FIRM, LLP
CLARK                KENNETH               TX         03C373           THE CARLILE LAW FIRM, LLP                            FALREGAS             LOUIS                 TX         A168572          THE CARLILE LAW FIRM, LLP
CLARK                THOMAS T              TX         021132           THE CARLILE LAW FIRM, LLP                            FARMER               STEPHANIE             TX         29433            THE CARLILE LAW FIRM, LLP
CLAWSON              JIMMY B               TX         03C373           THE CARLILE LAW FIRM, LLP                            FARMER               THOMAS                TX         29433            THE CARLILE LAW FIRM, LLP
COATES               MARK C                TX         01275BD          THE CARLILE LAW FIRM, LLP                            FEARS                BARBARA               TX         2001333D         THE CARLILE LAW FIRM, LLP
COCHRAN              ORVILE LLOYD          TX         040440           THE CARLILE LAW FIRM, LLP                            FEARS                BARBARA               TX         2001333C         THE CARLILE LAW FIRM, LLP
COKER                BILLY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            FEARS                JAMES A               TX         2001333C         THE CARLILE LAW FIRM, LLP
COLBERT              LARRY E               TX         2001333C         THE CARLILE LAW FIRM, LLP                            FENTON               LETA NICOLE           TX         2001333D         THE CARLILE LAW FIRM, LLP
COLBERT              SANDRA                TX         2001333C         THE CARLILE LAW FIRM, LLP                            FINCH                JOHN E                TX         01275BD          THE CARLILE LAW FIRM, LLP
COLE                 SAM                   TX         03C373           THE CARLILE LAW FIRM, LLP                            FINCH                SHERRY                TX         01275BD          THE CARLILE LAW FIRM, LLP
COLEMAN              ARTIE                 TX         021132           THE CARLILE LAW FIRM, LLP                            FISHER               JIMMY                 TX         03C373           THE CARLILE LAW FIRM, LLP
COLEMAN              LINDA                 TX         021132           THE CARLILE LAW FIRM, LLP                            FISHER               RICHARD               TX         2001333C         THE CARLILE LAW FIRM, LLP
COLLINS              CINDY                 TX         03CV1035         THE CARLILE LAW FIRM, LLP                            FITZGERALD           FREDDIE E R           TX         021132           THE CARLILE LAW FIRM, LLP
COLLINS              CLEVELAND JOSEPH      TX         03CV1035         THE CARLILE LAW FIRM, LLP                            FLENNIKEN            BETTY                 TX         021132           THE CARLILE LAW FIRM, LLP
COLLINS              ROSE                  TX         03CV1035         THE CARLILE LAW FIRM, LLP                            FLENNIKEN            JAMES R               TX         021132           THE CARLILE LAW FIRM, LLP
COMBS                DONALD KEITH          TX         03C814           THE CARLILE LAW FIRM, LLP                            FLIPPING             HATTIE                TX         021132           THE CARLILE LAW FIRM, LLP
COOK                 DONNA                 TX         03C373           THE CARLILE LAW FIRM, LLP                            FLIPPING             KENNETH W             TX         021132           THE CARLILE LAW FIRM, LLP
COOK                 THOMAS GLENN          TX         03C373           THE CARLILE LAW FIRM, LLP                            FLOYD                BILLY G               TX         29433D           THE CARLILE LAW FIRM, LLP
COTA                 LISA                  TX         29433D           THE CARLILE LAW FIRM, LLP                            FLOYD                YVONNE                TX         29433D           THE CARLILE LAW FIRM, LLP
COTA                 SIRLIDO               TX         29433D           THE CARLILE LAW FIRM, LLP                            FLUELLEN             BENNIE ALFORD         TX         021132           THE CARLILE LAW FIRM, LLP
COX                  ELIZABETH             TX         021132           THE CARLILE LAW FIRM, LLP                            FLUELLEN             MARGIE                TX         021132           THE CARLILE LAW FIRM, LLP
COX                  JAMES W               TX         2001333D         THE CARLILE LAW FIRM, LLP                            FONSECA              BERWICK               TX         A168572          THE CARLILE LAW FIRM, LLP
COX                  PAIGE TEMPLETON       TX         021132           THE CARLILE LAW FIRM, LLP                            FORET                NOEL                  TX         A168572          THE CARLILE LAW FIRM, LLP
CRAWFORD             DAMON TAYLOR          TX         2001333C         THE CARLILE LAW FIRM, LLP                            FOSTER               ROBERT                TX         021132           THE CARLILE LAW FIRM, LLP
CRAWFORD             DEBBIE                TX         2001333C         THE CARLILE LAW FIRM, LLP                            FOUNTAIN             PATSY                 TX         2001333D         THE CARLILE LAW FIRM, LLP
CRAWFORD             GARY S                TX         2001333D         THE CARLILE LAW FIRM, LLP                            FOUNTAIN             PATSY L               TX         2001333D         THE CARLILE LAW FIRM, LLP
CRAWFORD             SHARON                TX         2001333D         THE CARLILE LAW FIRM, LLP                            FOUNTAIN             RICHARD T             TX         29433D           THE CARLILE LAW FIRM, LLP
CRESSIONE            LOUIS                 TX         A168572          THE CARLILE LAW FIRM, LLP                            FOUNTAIN             WILLIAM RONALD        TX         2001333D         THE CARLILE LAW FIRM, LLP
CRESSIONE            MARION                TX         A168572          THE CARLILE LAW FIRM, LLP                            FRYER                JAMES SIDNEY          TX         01275BD          THE CARLILE LAW FIRM, LLP
CUFF                 DANNY                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            FRYER                MOLLY                 TX         01275BD          THE CARLILE LAW FIRM, LLP
CUFF                 DANNY L               TX         2001333D         THE CARLILE LAW FIRM, LLP                            GAMBLE               JERRY                 TX         2001333D         THE CARLILE LAW FIRM, LLP
DAVIS                JC                    TX         2001333D         THE CARLILE LAW FIRM, LLP                            GATSON               TYREE                 TX         01275BD          THE CARLILE LAW FIRM, LLP
DAVIS                NANCY                 TX         29433B           THE CARLILE LAW FIRM, LLP                            GAUTREAUX            GARY                  TX         A168572          THE CARLILE LAW FIRM, LLP
DAVIS                NORMA                 TX         010614           THE CARLILE LAW FIRM, LLP                            GEORGE               DEBBIE T              TX         021132           THE CARLILE LAW FIRM, LLP
DAVIS                RONALD                TX         010614           THE CARLILE LAW FIRM, LLP                            GIBSON               DEBBIE                TX         29433            THE CARLILE LAW FIRM, LLP
DECKARD              LEROY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            GIBSON               DEBBIE                TX         29433D           THE CARLILE LAW FIRM, LLP
DESSELLE             BRUCE                 TX         A168572          THE CARLILE LAW FIRM, LLP                            GIBSON               JERRY WAYNE           TX         29433            THE CARLILE LAW FIRM, LLP
DIAGLE               VERLON                TX         A168572          THE CARLILE LAW FIRM, LLP                            GIBSON               JERRY WAYNE           TX         29433D           THE CARLILE LAW FIRM, LLP
DILWORTH             GORDON                TX         03C373           THE CARLILE LAW FIRM, LLP                            GIBSON               SHERMAN               TX         03C373           THE CARLILE LAW FIRM, LLP
DOTSON               EDDIE J               TX         29433D           THE CARLILE LAW FIRM, LLP                            GILBERT              DELORES               TX         01275BD          THE CARLILE LAW FIRM, LLP
DOTSON               PHYLLIS               TX         29433D           THE CARLILE LAW FIRM, LLP                            GILBERT              EARL EDWARD           TX         01275BD          THE CARLILE LAW FIRM, LLP
DOUGLAS              BILLY P               TX         29433            THE CARLILE LAW FIRM, LLP                            GIRARD               ULYSSE                TX         03CV1035         THE CARLILE LAW FIRM, LLP
DOUGLAS              BILLY P               TX         29433D           THE CARLILE LAW FIRM, LLP                            GLASPIE              BENNIE R              TX         03C373           THE CARLILE LAW FIRM, LLP
DUNCAN               FLOYD A               TX         021132           THE CARLILE LAW FIRM, LLP                            GLENN                DONALD MACK           TX         2001333D         THE CARLILE LAW FIRM, LLP
DUNCAN               KRISTY                TX         021132           THE CARLILE LAW FIRM, LLP                            GLENN                LISA RENEE            TX         2001333D         THE CARLILE LAW FIRM, LLP
DUNCAN               MARY                  TX         03C373           THE CARLILE LAW FIRM, LLP                            GOODSON              LARRY                 TX         03C373           THE CARLILE LAW FIRM, LLP
DUNKLIN              BILLY T               TX         021132           THE CARLILE LAW FIRM, LLP                            GOODSPEED            ELLAMAE               TX         021132           THE CARLILE LAW FIRM, LLP
DUNKLIN              PAT                   TX         021132           THE CARLILE LAW FIRM, LLP                            GORDON               RUBY                  TX         021132           THE CARLILE LAW FIRM, LLP
DUPRE                DAVID P               TX         A168572          THE CARLILE LAW FIRM, LLP                            GORDON               STANLEY               TX         021132           THE CARLILE LAW FIRM, LLP
DUROCHER             ELDRIDGE              TX         A168572          THE CARLILE LAW FIRM, LLP                            GRABLE               DAVID                 TX         03C373           THE CARLILE LAW FIRM, LLP
EAKER                PRISCILLA             TX         021132           THE CARLILE LAW FIRM, LLP                            GRAFTON              JERRY W               TX         03C373           THE CARLILE LAW FIRM, LLP




                                                                                                            Appendix A - 682
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 17 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GREBE                MARK A                TX         2001333D         THE CARLILE LAW FIRM, LLP                            HORTON               RHONDA V              TX         2001193AA        THE CARLILE LAW FIRM, LLP
GREBE                MARK A                TX         2001333C         THE CARLILE LAW FIRM, LLP                            HOTARD               ALRED                 TX         A168572          THE CARLILE LAW FIRM, LLP
GREEN                EDDIE                 TX         03C373           THE CARLILE LAW FIRM, LLP                            HUDGINS              SUE                   TX         03C373           THE CARLILE LAW FIRM, LLP
GREEN                JOE M                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            HUDGINS              VIVIAN                TX         03C373           THE CARLILE LAW FIRM, LLP
GREEN                RAYMOND C             TX         01275BD          THE CARLILE LAW FIRM, LLP                            HUGHES               MARY M                TX         01275BD          THE CARLILE LAW FIRM, LLP
GREEN                ROSEMARY              TX         2001333D         THE CARLILE LAW FIRM, LLP                            HUGHES               ULMER ENGRAM          TX         01275BD          THE CARLILE LAW FIRM, LLP
GREEN                WANDA                 TX         03C373           THE CARLILE LAW FIRM, LLP                            HUGHES               WILLIAM DAVID         TX         021132           THE CARLILE LAW FIRM, LLP
GREEN                WENDI                 TX         01275BD          THE CARLILE LAW FIRM, LLP                            HULLUM               FW                    TX         03C373           THE CARLILE LAW FIRM, LLP
GREEN                WILLIE                TX         03C373           THE CARLILE LAW FIRM, LLP                            HULLUM               FOREST W              TX         01275BD          THE CARLILE LAW FIRM, LLP
GREENHOUSE           CURTIS W              TX         2001333C         THE CARLILE LAW FIRM, LLP                            HULLUM               HILDA                 TX         01275BD          THE CARLILE LAW FIRM, LLP
GREENHOUSE           TERESA JANE           TX         2001333C         THE CARLILE LAW FIRM, LLP                            HUNLEY               HAROLD LEE            TX         2001333D         THE CARLILE LAW FIRM, LLP
GREENWOOD            RICHARD               TX         2001333D         THE CARLILE LAW FIRM, LLP                            HUNSBERGER           DC                    TX         03C373           THE CARLILE LAW FIRM, LLP
GRIFFIN              ANNA                  TX         03CV1035         THE CARLILE LAW FIRM, LLP                            HUNTER               FRED                  TX         03C373           THE CARLILE LAW FIRM, LLP
GRIFFIN              DANIEL                TX         A168572          THE CARLILE LAW FIRM, LLP                            HYGH                 CORETTA               TX         021132           THE CARLILE LAW FIRM, LLP
GRIFFIN              JAMES AARON           TX         01275BD          THE CARLILE LAW FIRM, LLP                            IVY                  GARRY F               TX         2001333D         THE CARLILE LAW FIRM, LLP
GRIFFIN              TOMMY WAYNE           TX         2001333D         THE CARLILE LAW FIRM, LLP                            JACKSON              JUDITH                TX         021132           THE CARLILE LAW FIRM, LLP
GRIMES               JOAN                  TX         2001333D         THE CARLILE LAW FIRM, LLP                            JACKSON              PAUL LAWRENCE         TX         021132           THE CARLILE LAW FIRM, LLP
GRIMES               JOAN                  TX         2001333C         THE CARLILE LAW FIRM, LLP                            JAMES                HELEN                 TX         021132           THE CARLILE LAW FIRM, LLP
GRIMES               WAYMON CECIL          TX         2001333D         THE CARLILE LAW FIRM, LLP                            JAMES                HORACE                TX         021132           THE CARLILE LAW FIRM, LLP
GRIMES               WAYMON CECIL          TX         2001333C         THE CARLILE LAW FIRM, LLP                            JARVIS               JOHN LESLIE           TX         01275B           THE CARLILE LAW FIRM, LLP
GROS                 JAMES A               TX         A168572          THE CARLILE LAW FIRM, LLP                            JARVIS               JOHN LESLIE           TX         01275BD          THE CARLILE LAW FIRM, LLP
GUFFEY               WAYNE B               TX         A168572          THE CARLILE LAW FIRM, LLP                            JARVIS               LINDA                 TX         01275B           THE CARLILE LAW FIRM, LLP
GUNN                 HARMON                TX         2001333D         THE CARLILE LAW FIRM, LLP                            JARVIS               LINDA                 TX         01275BD          THE CARLILE LAW FIRM, LLP
GUNN                 MARY MARGARET         TX         2001333D         THE CARLILE LAW FIRM, LLP                            JEFFERSON            MAURICE               TX         01275BD          THE CARLILE LAW FIRM, LLP
HAGGERTY             DOROTHY               TX         021132           THE CARLILE LAW FIRM, LLP                            JOHNSON              DORIS S               TX         29433            THE CARLILE LAW FIRM, LLP
HAGGERTY             SAMMIE                TX         021132           THE CARLILE LAW FIRM, LLP                            JOHNSON              DORIS S               TX         03C373           THE CARLILE LAW FIRM, LLP
HAMMETT              LINDA                 TX         021132           THE CARLILE LAW FIRM, LLP                            JOHNSON              DOROTHY               TX         03C373           THE CARLILE LAW FIRM, LLP
HAMMETT              LONNIE WATKINS        TX         021132           THE CARLILE LAW FIRM, LLP                            JOHNSON              GLEN                  TX         29433B           THE CARLILE LAW FIRM, LLP
HANCOCK              CULLIE                TX         010076           THE CARLILE LAW FIRM, LLP                            JOHNSON              JOHN M                TX         29433            THE CARLILE LAW FIRM, LLP
HANCOCK              LOYCE                 TX         010076           THE CARLILE LAW FIRM, LLP                            JOHNSON              JOHN M                TX         03C373           THE CARLILE LAW FIRM, LLP
HANCOCK              PHILLIP               TX         010076           THE CARLILE LAW FIRM, LLP                            JOHNSON              LAVERN                TX         021132           THE CARLILE LAW FIRM, LLP
HANCOCK              RANDALL               TX         010076           THE CARLILE LAW FIRM, LLP                            JOHNSON              LAVERNE               TX         021132           THE CARLILE LAW FIRM, LLP
HARDAWAY             JAMES                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            JOHNSON              MILDRED               TX         03C373           THE CARLILE LAW FIRM, LLP
HARDAWAY             JAMES RICHARD         TX         2001333D         THE CARLILE LAW FIRM, LLP                            JOHNSON              RALPH                 TX         A168572          THE CARLILE LAW FIRM, LLP
HARKNESS             RICKEY                TX         03C814           THE CARLILE LAW FIRM, LLP                            JOHNSON              ROBERT                TX         03C373           THE CARLILE LAW FIRM, LLP
HARRIS               ANNETTE               TX         2001333D         THE CARLILE LAW FIRM, LLP                            JOHNSON              STEVEN LANCE          TX         2001333D         THE CARLILE LAW FIRM, LLP
HARRIS               ANNETTE               TX         2001333C         THE CARLILE LAW FIRM, LLP                            JONES                CD                    TX         03C373           THE CARLILE LAW FIRM, LLP
HARRIS               DANNY GLENN           TX         2001333D         THE CARLILE LAW FIRM, LLP                            JONES                CHARLES               TX         2001333D         THE CARLILE LAW FIRM, LLP
HARRIS               DANNY GLENN           TX         2001333C         THE CARLILE LAW FIRM, LLP                            JONES                DAVID L               TX         021132           THE CARLILE LAW FIRM, LLP
HARRIS               JIMMY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            JONES                DEBRA                 TX         03C373           THE CARLILE LAW FIRM, LLP
HARRIST              LAVERN                TX         021132           THE CARLILE LAW FIRM, LLP                            JONES                JAMES DONALD          TX         021132           THE CARLILE LAW FIRM, LLP
HARRIST              NOLAN FRANKLIN        TX         021132           THE CARLILE LAW FIRM, LLP                            JONES                JAMES DONALD          TX         03C373           THE CARLILE LAW FIRM, LLP
HAWKINS              DANIEL WAYNE          TX         021132           THE CARLILE LAW FIRM, LLP                            JONES                JEFFREY EARL          TX         2001333C         THE CARLILE LAW FIRM, LLP
HEBERT               CARL                  TX         A168572          THE CARLILE LAW FIRM, LLP                            JONES                KIMBERLY              TX         2001333C         THE CARLILE LAW FIRM, LLP
HEBERT               RICHARD               TX         03C814           THE CARLILE LAW FIRM, LLP                            JOPLIN               FRANCES               TX         03C373           THE CARLILE LAW FIRM, LLP
HEBERT               TOBAY                 TX         A168572          THE CARLILE LAW FIRM, LLP                            JOPLIN               JAMES EDWIN           TX         03C373           THE CARLILE LAW FIRM, LLP
HEIMER               DONNY                 TX         021132           THE CARLILE LAW FIRM, LLP                            KEENER               MICKEY RAY            TX         2001333C         THE CARLILE LAW FIRM, LLP
HEIMER               DONNY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            KEENEY               CECILIA               TX         01275BD          THE CARLILE LAW FIRM, LLP
HELBERT              JC                    TX         021132           THE CARLILE LAW FIRM, LLP                            KEENEY               PHILLIP EUGENE        TX         01275BD          THE CARLILE LAW FIRM, LLP
HENDERSON            ALTON A               TX         2001333C         THE CARLILE LAW FIRM, LLP                            KIMBALL              LYNN C                TX         01275BD          THE CARLILE LAW FIRM, LLP
HENIGSMITH           KENNETH EARL          TX         2001333D         THE CARLILE LAW FIRM, LLP                            KIMBALL              NELL                  TX         01275BD          THE CARLILE LAW FIRM, LLP
HICKERSON            MARY                  TX         2001333D         THE CARLILE LAW FIRM, LLP                            KINCADE              DALLAS                TX         03C373           THE CARLILE LAW FIRM, LLP
HICKS                SAMUEL L              TX         2001193AA        THE CARLILE LAW FIRM, LLP                            KINCADE              DELBERT               TX         03C373           THE CARLILE LAW FIRM, LLP
HIGHTOWER            BETSY                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            KINCADE              KASTON                TX         03C373           THE CARLILE LAW FIRM, LLP
HILL                 DENNIS E              TX         021132           THE CARLILE LAW FIRM, LLP                            KINCADE              LAURA MAE             TX         03C373           THE CARLILE LAW FIRM, LLP
HILL                 DENNIS E              TX         29433D           THE CARLILE LAW FIRM, LLP                            KINSEY               DOROTHY               TX         2001333D         THE CARLILE LAW FIRM, LLP
HILL                 RONNIE                TX         010076           THE CARLILE LAW FIRM, LLP                            KINSEY               RANDY E               TX         2001333D         THE CARLILE LAW FIRM, LLP
HILL                 RONNIE                TX         03C373           THE CARLILE LAW FIRM, LLP                            KINSEY               WESLEY EUGENE         TX         2001333D         THE CARLILE LAW FIRM, LLP
HILTON               GARY L                TX         A168572          THE CARLILE LAW FIRM, LLP                            KIRK                 JOHN WILLIAM          TX         2001333D         THE CARLILE LAW FIRM, LLP
HOLDER               MACKEY L              TX         2001193AA        THE CARLILE LAW FIRM, LLP                            KIRK                 LAURIE                TX         2001333D         THE CARLILE LAW FIRM, LLP
HOLLAND              DAVID                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            KNAPP                MAC                   TX         A168572          THE CARLILE LAW FIRM, LLP
HOLLIS               DANNY CLAY            TX         2001333C         THE CARLILE LAW FIRM, LLP                            KNIGHT               JOHN                  TX         A168572          THE CARLILE LAW FIRM, LLP
HOLLIS               SANDRA                TX         2001333C         THE CARLILE LAW FIRM, LLP                            KRAUSE               MICHAEL JAMES         TX         29433D           THE CARLILE LAW FIRM, LLP
HOLLIS               SANTA                 TX         2001333C         THE CARLILE LAW FIRM, LLP                            KULL                 MICHAEL               TX         03C373           THE CARLILE LAW FIRM, LLP
HOLLOWAY             BRYAN W               TX         29433            THE CARLILE LAW FIRM, LLP                            LACOMBE              CHESTER JOSEPH        TX         A168572          THE CARLILE LAW FIRM, LLP
HOPKINS              SAMUEL E              TX         01275BD          THE CARLILE LAW FIRM, LLP                            LANDRY               VITAL                 TX         A168572          THE CARLILE LAW FIRM, LLP
HOPKINS              YVONNE                TX         01275BD          THE CARLILE LAW FIRM, LLP                            LANG                 MICHAEL               TX         01275BC          THE CARLILE LAW FIRM, LLP
HORNING              JOHN WESLEY           TX         A168572          THE CARLILE LAW FIRM, LLP                            LANG                 VALERIE               TX         01275BC          THE CARLILE LAW FIRM, LLP
HORTON               BARBARA ROBINSON      TX         021132           THE CARLILE LAW FIRM, LLP                            LANGFORD             JOHNNIE HAROLD        TX         2001333D         THE CARLILE LAW FIRM, LLP
HORTON               EARNEST               TX         021132           THE CARLILE LAW FIRM, LLP                            LANGFORD             PAMELA                TX         2001333D         THE CARLILE LAW FIRM, LLP
HORTON               ELDON                 TX         021132           THE CARLILE LAW FIRM, LLP                            LASTLY               THOMAS ALBERT         TX         01275BD          THE CARLILE LAW FIRM, LLP




                                                                                                            Appendix A - 683
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 18 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LAWSON               DAVID GLENN           TX         2001333C         THE CARLILE LAW FIRM, LLP                            MITCHELL             ERVIE                 TX         03C373           THE CARLILE LAW FIRM, LLP
LAWSON               REBECCA               TX         2001333C         THE CARLILE LAW FIRM, LLP                            MITCHELL             GLENN                 TX         A168572          THE CARLILE LAW FIRM, LLP
LE BOEUF             DAVID                 TX         A168572          THE CARLILE LAW FIRM, LLP                            MITCHELL             JAMES D               TX         03C373           THE CARLILE LAW FIRM, LLP
LE BOEUF             LEROY                 TX         A168572          THE CARLILE LAW FIRM, LLP                            MOAKE                BYRON LEE             TX         2001333D         THE CARLILE LAW FIRM, LLP
LE BOEUF             WAYNE N               TX         A168572          THE CARLILE LAW FIRM, LLP                            MOAKE                SARAH                 TX         2001333D         THE CARLILE LAW FIRM, LLP
LEBECK               CHRIS                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            MOLLENHAUER          EDWARD                TX         021132           THE CARLILE LAW FIRM, LLP
LEBECK               CINDI                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            MONTGOMERY           ROY                   TX         03C373           THE CARLILE LAW FIRM, LLP
LEBEOUF              HARRY P               TX         A168572          THE CARLILE LAW FIRM, LLP                            MOORE                DORIS                 TX         021132           THE CARLILE LAW FIRM, LLP
LEE                  MARY                  TX         29433D           THE CARLILE LAW FIRM, LLP                            MOORE                GARLAND               TX         021132           THE CARLILE LAW FIRM, LLP
LEE                  MICHAEL DEAN          TX         29433D           THE CARLILE LAW FIRM, LLP                            MORGAN               KENNETH               TX         03C373           THE CARLILE LAW FIRM, LLP
LEE                  MICKELL DEWAYNE       TX         2001333D         THE CARLILE LAW FIRM, LLP                            MORRIS               JAMES                 TX         2001333D         THE CARLILE LAW FIRM, LLP
LEE                  MICKELL DEWAYNE       TX         2001333C         THE CARLILE LAW FIRM, LLP                            MORRIS               JERRY                 TX         2001333D         THE CARLILE LAW FIRM, LLP
LEE                  TAMMY D               TX         2001333D         THE CARLILE LAW FIRM, LLP                            MOSS                 JAMES ALVIN           TX         29433            THE CARLILE LAW FIRM, LLP
LEE                  TAMMY D               TX         2001333C         THE CARLILE LAW FIRM, LLP                            NALLS                RUBY                  TX         2001333C         THE CARLILE LAW FIRM, LLP
LEONARD              GERALD J              TX         A168572          THE CARLILE LAW FIRM, LLP                            NALLS                RUSSELL WADE          TX         2001333C         THE CARLILE LAW FIRM, LLP
LEOS                 MARIA                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            NAQUIN               ROBIN P               TX         A168572          THE CARLILE LAW FIRM, LLP
LEOS                 ROGELIO               TX         2001333D         THE CARLILE LAW FIRM, LLP                            NEAL                 ALEXANDER             TX         03C373           THE CARLILE LAW FIRM, LLP
LETTER               DAVID JOSEPH          TX         2001333D         THE CARLILE LAW FIRM, LLP                            NEWSOME              HELEN                 TX         03C373           THE CARLILE LAW FIRM, LLP
LETTER               SHONA                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            NEWSOME              OWEN                  TX         03C373           THE CARLILE LAW FIRM, LLP
LEWIS                HARRIS                TX         A168572          THE CARLILE LAW FIRM, LLP                            NICHOLS              BONNIE                TX         01275BD          THE CARLILE LAW FIRM, LLP
LEWIS                KATHY                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            NICHOLS              CHARLES LARRY         TX         01275BD          THE CARLILE LAW FIRM, LLP
LEWIS                LARRY JAMES           TX         2001333D         THE CARLILE LAW FIRM, LLP                            NOLLEY               KENNETH RAY           TX         2001333D         THE CARLILE LAW FIRM, LLP
LEWIS                RUBY                  TX         A168572          THE CARLILE LAW FIRM, LLP                            NOLLEY               KENNETH RAY           TX         2001333C         THE CARLILE LAW FIRM, LLP
LINDSAY              MARC                  TX         03C373           THE CARLILE LAW FIRM, LLP                            NORRIS               THERESA               TX         021132           THE CARLILE LAW FIRM, LLP
LINDSEY              JAMES GAINOR          TX         01275BD          THE CARLILE LAW FIRM, LLP                            NORRIS               THOMAS LAWRENCE       TX         021132           THE CARLILE LAW FIRM, LLP
LINDSEY              MARTHA                TX         01275BD          THE CARLILE LAW FIRM, LLP                            NORTHCUTT            BILLY GENE            TX         29433D           THE CARLILE LAW FIRM, LLP
LIRETTE              DONNIE P              TX         A168572          THE CARLILE LAW FIRM, LLP                            ODOM                 DIXIE                 TX         021132           THE CARLILE LAW FIRM, LLP
LOCK                 KATHA                 TX         2001333C         THE CARLILE LAW FIRM, LLP                            ODOM                 EDWIN                 TX         021132           THE CARLILE LAW FIRM, LLP
LOCK                 KENNETH EARL          TX         2001333C         THE CARLILE LAW FIRM, LLP                            ODOM                 EDWIN                 TX         03C373           THE CARLILE LAW FIRM, LLP
LOGAN                MARCY                 TX         29433B           THE CARLILE LAW FIRM, LLP                            OLIVER               GILBERT L             TX         A168572          THE CARLILE LAW FIRM, LLP
LOMAX                DORTHIA               TX         03C373           THE CARLILE LAW FIRM, LLP                            OLIVIER              DEBORAH               TX         A168572          THE CARLILE LAW FIRM, LLP
LOUPE                JOHNNY                TX         A168572          THE CARLILE LAW FIRM, LLP                            OLIVIER              STEVE                 TX         A168572          THE CARLILE LAW FIRM, LLP
LOVE                 RICHARD               TX         03C373           THE CARLILE LAW FIRM, LLP                            ORR                  HUBBARD               TX         2001333D         THE CARLILE LAW FIRM, LLP
LOVE                 WILLIE MAE            TX         03C373           THE CARLILE LAW FIRM, LLP                            PAGE                 RUBEN                 TX         29433D           THE CARLILE LAW FIRM, LLP
LOYD                 GERMAN BRANCHA        TX         2001333C         THE CARLILE LAW FIRM, LLP                            PAGE                 SUSAN                 TX         29433D           THE CARLILE LAW FIRM, LLP
MAGOUIRK             BILLY SUE             TX         021132           THE CARLILE LAW FIRM, LLP                            PAULK                CLIFFORD              TX         03C373           THE CARLILE LAW FIRM, LLP
MAGOUIRK             ROBERT                TX         021132           THE CARLILE LAW FIRM, LLP                            PAULK                DARLENE               TX         03C373           THE CARLILE LAW FIRM, LLP
MARCEL               GERARD                TX         A168572          THE CARLILE LAW FIRM, LLP                            PAYNE                ANNIE                 TX         021132           THE CARLILE LAW FIRM, LLP
MARKHAM              PRISCILLA             TX         01275BD          THE CARLILE LAW FIRM, LLP                            PAYNE                BILLIE D              TX         021132           THE CARLILE LAW FIRM, LLP
MARKHAM              VICTOR J              TX         01275BD          THE CARLILE LAW FIRM, LLP                            PEAVY                JEFFREY LYNN          TX         2001333D         THE CARLILE LAW FIRM, LLP
MARLING              JOHN                  TX         2001333D         THE CARLILE LAW FIRM, LLP                            PEOPLES              ROY LEE               TX         29433D           THE CARLILE LAW FIRM, LLP
MARTIN               BILLY TROY            TX         A168572          THE CARLILE LAW FIRM, LLP                            PERCY                GARY                  TX         A168572          THE CARLILE LAW FIRM, LLP
MARTIN               RODNEY                TX         A168572          THE CARLILE LAW FIRM, LLP                            PERKINS              WILLIAM ARTHUR        TX         03C373           THE CARLILE LAW FIRM, LLP
MASON                BOBBY                 TX         2001193AA        THE CARLILE LAW FIRM, LLP                            PERRY                ANN                   TX         01275BD          THE CARLILE LAW FIRM, LLP
MATHIS               EUGENE                TX         03C373           THE CARLILE LAW FIRM, LLP                            PERRY                CZAR ELUSKER          TX         01275BD          THE CARLILE LAW FIRM, LLP
MATHIS               SHEILA                TX         03C373           THE CARLILE LAW FIRM, LLP                            PERRY                NAOMI                 TX         2001333D         THE CARLILE LAW FIRM, LLP
MATTERN              KEITH                 TX         03C373           THE CARLILE LAW FIRM, LLP                            PERRY                TRACY DALE            TX         2001333D         THE CARLILE LAW FIRM, LLP
MATTHEWS             JOE                   TX         03C373           THE CARLILE LAW FIRM, LLP                            PETE                 MILDRED D             TX         021132           THE CARLILE LAW FIRM, LLP
MAYES                DEBBIE                TX         2001333C         THE CARLILE LAW FIRM, LLP                            PHILLIPS             RITA                  TX         01275BD          THE CARLILE LAW FIRM, LLP
MAYES                MICHAEL E             TX         2001333C         THE CARLILE LAW FIRM, LLP                            PHILLIPS             WILLIAM GLYNN         TX         01275BD          THE CARLILE LAW FIRM, LLP
MC ENTIRE            WESLEY GLENN          TX         03C373           THE CARLILE LAW FIRM, LLP                            PICKETT              CHARLES THOMAS        TX         01275BD          THE CARLILE LAW FIRM, LLP
MCDONALD             LARRY                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            PICKETT              KATHY                 TX         01275BD          THE CARLILE LAW FIRM, LLP
MCGAUGH              GAIL ANN              TX         2001333C         THE CARLILE LAW FIRM, LLP                            PIERCE               JIM ANTHONY           TX         2001333C         THE CARLILE LAW FIRM, LLP
MCGAUGH              JAMES RILEY           TX         2001333C         THE CARLILE LAW FIRM, LLP                            PIERCE               LEAH                  TX         2001333C         THE CARLILE LAW FIRM, LLP
MCGRIGER             CHARLES W             TX         021132           THE CARLILE LAW FIRM, LLP                            PLUCKETT             DAYTON                TX         021132           THE CARLILE LAW FIRM, LLP
MCGRIGER             LUVELL                TX         021132           THE CARLILE LAW FIRM, LLP                            POAG                 BETH                  TX         03C373           THE CARLILE LAW FIRM, LLP
MCLAUGHLIN           ROBERT                TX         A168572          THE CARLILE LAW FIRM, LLP                            POLSTON              EDWARD B              TX         2001333D         THE CARLILE LAW FIRM, LLP
MCTEE                ANGIE                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            POOLE                JOHNNY                TX         2001333D         THE CARLILE LAW FIRM, LLP
MCTEE                ANGIE                 TX         2001333C         THE CARLILE LAW FIRM, LLP                            PORTER               GID A                 TX         021132           THE CARLILE LAW FIRM, LLP
MCTEE                JOEL WAYNE            TX         2001333D         THE CARLILE LAW FIRM, LLP                            PORTER               JOHNETTA              TX         021132           THE CARLILE LAW FIRM, LLP
MCTEE                JOEL WAYNE            TX         2001333C         THE CARLILE LAW FIRM, LLP                            PRICE                BARBARA L             TX         03C373           THE CARLILE LAW FIRM, LLP
MILLER               BILLY                 TX         A168572          THE CARLILE LAW FIRM, LLP                            PRICE                ROBERT                TX         03C373           THE CARLILE LAW FIRM, LLP
MILLER               JOHN ROBERT           TX         01275B           THE CARLILE LAW FIRM, LLP                            PRICE                ROBERT                TX         01275BD          THE CARLILE LAW FIRM, LLP
MILLER               JOHN ROBERT           TX         01275BD          THE CARLILE LAW FIRM, LLP                            PRINE                HARRIETT              TX         2001333C         THE CARLILE LAW FIRM, LLP
MILLER               SUZANNE               TX         01275B           THE CARLILE LAW FIRM, LLP                            PRINE                JIMMY H               TX         2001333C         THE CARLILE LAW FIRM, LLP
MILLER               SUZANNE               TX         01275BD          THE CARLILE LAW FIRM, LLP                            PRIOR                BOBBY CLINT           TX         2001333D         THE CARLILE LAW FIRM, LLP
MILLS                LANA                  TX         01275B           THE CARLILE LAW FIRM, LLP                            PRITCHETT            JOHN WAYNE            TX         2001333D         THE CARLILE LAW FIRM, LLP
MILLS                LANA                  TX         01275BD          THE CARLILE LAW FIRM, LLP                            PYERS                JIMMY                 TX         2001333D         THE CARLILE LAW FIRM, LLP
MILLS                PAUL                  TX         01275B           THE CARLILE LAW FIRM, LLP                            RALSTON              JOHNNY GUY            TX         01275BD          THE CARLILE LAW FIRM, LLP
MILLS                PAUL                  TX         01275BD          THE CARLILE LAW FIRM, LLP                            RAWLINGS             JACKIE                TX         021132           THE CARLILE LAW FIRM, LLP
MILLS                WINFARD ZACH          TX         29433D           THE CARLILE LAW FIRM, LLP                            RAY                  CARL                  TX         03C373           THE CARLILE LAW FIRM, LLP




                                                                                                            Appendix A - 684
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 19 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

REEVES               JERRY LYNN            TX         021132           THE CARLILE LAW FIRM, LLP                            SOULDIER             JEFFREY               TX         A168572          THE CARLILE LAW FIRM, LLP
REEVES               VIRGINIA              TX         021132           THE CARLILE LAW FIRM, LLP                            SOWDERS              DANNY RAY             TX         2001333C         THE CARLILE LAW FIRM, LLP
REYNOLDS             EDNA                  TX         03C373           THE CARLILE LAW FIRM, LLP                            SOWDERS              VICKI                 TX         2001333C         THE CARLILE LAW FIRM, LLP
REYNOLDS             ROBERT GLYN           TX         2001333D         THE CARLILE LAW FIRM, LLP                            SQUARE               AUBREY L              TX         021132           THE CARLILE LAW FIRM, LLP
RHODES               EDWARD JOHN           TX         A168572          THE CARLILE LAW FIRM, LLP                            SQUARE               LURENE                TX         021132           THE CARLILE LAW FIRM, LLP
RHODES               ROY                   TX         A168572          THE CARLILE LAW FIRM, LLP                            STAFFORD             SHANNON               TX         2001193AA        THE CARLILE LAW FIRM, LLP
RICHARDSON           GLORIA                TX         2001333C         THE CARLILE LAW FIRM, LLP                            STARLING             DESA                  TX         03C373           THE CARLILE LAW FIRM, LLP
RICHARDSON           JAMES EDWARD          TX         2001333C         THE CARLILE LAW FIRM, LLP                            STARLING             FLOYD                 TX         03C373           THE CARLILE LAW FIRM, LLP
RICHARDSON           KEITH S               TX         2001193AA        THE CARLILE LAW FIRM, LLP                            STEPHENS             BILLY BOYD            TX         01275BD          THE CARLILE LAW FIRM, LLP
RICHARDSON           KEITH S               TX         021132           THE CARLILE LAW FIRM, LLP                            STEPHENS             MYRIAN                TX         01275BD          THE CARLILE LAW FIRM, LLP
RINK                 ADLEY                 TX         A168572          THE CARLILE LAW FIRM, LLP                            STEVENS              LINDA                 TX         2001333C         THE CARLILE LAW FIRM, LLP
RITTER               ANGELA                TX         2001333D         THE CARLILE LAW FIRM, LLP                            STEVENS              PHILLIP WAYNE         TX         2001333C         THE CARLILE LAW FIRM, LLP
RITTER               ANGELA K              TX         2001333D         THE CARLILE LAW FIRM, LLP                            STEVENS              TRAVIS                TX         03C814           THE CARLILE LAW FIRM, LLP
RITTER               CAROL                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            STORY                MARY E                TX         29433D           THE CARLILE LAW FIRM, LLP
RITTER               PAUL DWAIN            TX         2001333D         THE CARLILE LAW FIRM, LLP                            STORY                RICHARD LYN           TX         29433D           THE CARLILE LAW FIRM, LLP
RITTER               TERRY LYNN            TX         2001333D         THE CARLILE LAW FIRM, LLP                            STOWE                SARAH                 TX         03C373           THE CARLILE LAW FIRM, LLP
ROBERTSON            PATRICIA              TX         2001193AA        THE CARLILE LAW FIRM, LLP                            STOWE                WILLIE RAY            TX         03C373           THE CARLILE LAW FIRM, LLP
ROBERTSON            RONALD D              TX         A168572          THE CARLILE LAW FIRM, LLP                            STRANGE              LB                    TX         2001333D         THE CARLILE LAW FIRM, LLP
ROBICHAUX            AUDREY                TX         A168572          THE CARLILE LAW FIRM, LLP                            STRANGE              NORA JEAN             TX         2001333D         THE CARLILE LAW FIRM, LLP
ROBINSON             DEAN R                TX         01275BD          THE CARLILE LAW FIRM, LLP                            STRICKLAND           SAM                   TX         021132           THE CARLILE LAW FIRM, LLP
ROBINSON             MAC A                 TX         021132           THE CARLILE LAW FIRM, LLP                            STRONG               CHARLES WESLEY        TX         021132           THE CARLILE LAW FIRM, LLP
ROCKWELL             DYWANE                TX         03C373           THE CARLILE LAW FIRM, LLP                            TALIAFERRO           JAMES LATHAN          TX         2001333D         THE CARLILE LAW FIRM, LLP
ROGERS               CHARLES               TX         A168572          THE CARLILE LAW FIRM, LLP                            TALIAFERRO           MONNIE MARIE          TX         2001333D         THE CARLILE LAW FIRM, LLP
ROGERS               CURLIE                TX         03C373           THE CARLILE LAW FIRM, LLP                            TAYLOR               BRUCE                 TX         021132           THE CARLILE LAW FIRM, LLP
ROGERS               SHIRLEY               TX         03C373           THE CARLILE LAW FIRM, LLP                            THERIOT              ANNA                  TX         03C373           THE CARLILE LAW FIRM, LLP
ROUNDTREE            DEVERA R              TX         2001333D         THE CARLILE LAW FIRM, LLP                            THERIOT              FREDDIE               TX         A168572          THE CARLILE LAW FIRM, LLP
ROUNDTREE            DEVERA R              TX         010614           THE CARLILE LAW FIRM, LLP                            THOMAS               DAVID W               TX         A168572          THE CARLILE LAW FIRM, LLP
ROUNDTREE            DEVERA R              TX         2001333C         THE CARLILE LAW FIRM, LLP                            THOMAS               ROGER                 TX         03C373           THE CARLILE LAW FIRM, LLP
ROUNDTREE            JONATHAN              TX         2001333D         THE CARLILE LAW FIRM, LLP                            THOMPSON             CAROLYN               TX         021132           THE CARLILE LAW FIRM, LLP
ROUNDTREE            JONATHAN              TX         010614           THE CARLILE LAW FIRM, LLP                            THOMPSON             CHARLES CLAY          TX         01275BD          THE CARLILE LAW FIRM, LLP
ROUNDTREE            JONATHAN              TX         2001333C         THE CARLILE LAW FIRM, LLP                            THOMPSON             FARMETA               TX         2001333C         THE CARLILE LAW FIRM, LLP
RUSSELL              CARROLL               TX         03C373           THE CARLILE LAW FIRM, LLP                            THOMPSON             GAYLA                 TX         01275BD          THE CARLILE LAW FIRM, LLP
RUTLEDGE             HASLETT               TX         03C373           THE CARLILE LAW FIRM, LLP                            THOMPSON             JOHN                  TX         021132           THE CARLILE LAW FIRM, LLP
SAMFORD              BARRY                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            THOMPSON             LLOYD EDWARD          TX         2001333C         THE CARLILE LAW FIRM, LLP
SAMMONS              DARRELL               TX         2001333D         THE CARLILE LAW FIRM, LLP                            THOMPSON             MARK D                TX         2001333C         THE CARLILE LAW FIRM, LLP
SAMMONS              JAMES                 TX         2001333D         THE CARLILE LAW FIRM, LLP                            TIDWELL              LEWIS RAY             TX         01275BD          THE CARLILE LAW FIRM, LLP
SAMMONS              JOHNNY                TX         2001333D         THE CARLILE LAW FIRM, LLP                            TINKLE               FRANCES               TX         2001333C         THE CARLILE LAW FIRM, LLP
SANDERS              BRETT R               TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TINKLE               VIRGIL                TX         2001333C         THE CARLILE LAW FIRM, LLP
SANDERS              BRONSON J             TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TOLBERT              JEFF                  TX         03C373           THE CARLILE LAW FIRM, LLP
SANDERS              FRED ARNOLD           TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TORRENCE             BILLY JOE             TX         2001333D         THE CARLILE LAW FIRM, LLP
SANDERS              FRED DARYL            TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TORRENCE             CHARLENE              TX         2001333D         THE CARLILE LAW FIRM, LLP
SANDERS              KIMBERLY              TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TORRENCE             JAMES CHARLES         TX         2001333D         THE CARLILE LAW FIRM, LLP
SANDERS              REGINALD A            TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TORRENCE             JAMES O               TX         2001333D         THE CARLILE LAW FIRM, LLP
SANDERS              TEENIE                TX         03C373           THE CARLILE LAW FIRM, LLP                            TORRENCE             MATT EUGENE           TX         2001333D         THE CARLILE LAW FIRM, LLP
SANDERS              ZELMA FAYE            TX         2001193AA        THE CARLILE LAW FIRM, LLP                            TORRENCE PATTERSON   RENADA JEAN           TX         2001333D         THE CARLILE LAW FIRM, LLP
SCHULTZ              JERRELL D             TX         01275BD          THE CARLILE LAW FIRM, LLP                            TRUELOCK             EDWARD I              TX         021132           THE CARLILE LAW FIRM, LLP
SCRUGGS              DARREL EDWIN          TX         01275B           THE CARLILE LAW FIRM, LLP                            TUCKER               BOBBY                 TX         021132           THE CARLILE LAW FIRM, LLP
SCRUGGS              DARREL EDWIN          TX         01275BD          THE CARLILE LAW FIRM, LLP                            TUCKER               GERALD                TX         021132           THE CARLILE LAW FIRM, LLP
SEAT                 CLAUDE DEWAYNE        TX         01275BC          THE CARLILE LAW FIRM, LLP                            TURNER               CAROL                 TX         2001193AA        THE CARLILE LAW FIRM, LLP
SHAW                 PATSY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            TURNER               CAROL                 TX         021132           THE CARLILE LAW FIRM, LLP
SHAW                 ROGER                 TX         03C373           THE CARLILE LAW FIRM, LLP                            TURNER               DOYLE                 TX         2001193AA        THE CARLILE LAW FIRM, LLP
SHELTON              JOHNNIE               TX         03C373           THE CARLILE LAW FIRM, LLP                            TURNER               DOYLE                 TX         021132           THE CARLILE LAW FIRM, LLP
SHIELDS              DAVID MICHAEL         TX         2001333D         THE CARLILE LAW FIRM, LLP                            USE                  RALPH                 TX         200705599        THE CARLILE LAW FIRM, LLP
SHROUT               CATHY                 TX         021132           THE CARLILE LAW FIRM, LLP                            VILLERMARETTE        JESSIE                TX         03C373           THE CARLILE LAW FIRM, LLP
SHROUT               THEODORE              TX         021132           THE CARLILE LAW FIRM, LLP                            WALKER               WILLIAM H             TX         2001333D         THE CARLILE LAW FIRM, LLP
SIBLEY               EMMA                  TX         03C373           THE CARLILE LAW FIRM, LLP                            WALLER               LISA                  TX         2001333D         THE CARLILE LAW FIRM, LLP
SILMON               JOHN                  TX         021132           THE CARLILE LAW FIRM, LLP                            WALLER               LISA                  TX         2001333C         THE CARLILE LAW FIRM, LLP
SILMON               JOHN H                TX         021132           THE CARLILE LAW FIRM, LLP                            WALLER               WILLIAM SCOTT         TX         2001333D         THE CARLILE LAW FIRM, LLP
SILMON               THELMA                TX         021132           THE CARLILE LAW FIRM, LLP                            WALLER               WILLIAM SCOTT         TX         2001333C         THE CARLILE LAW FIRM, LLP
SIMS                 BOBBY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            WALTHALL             DORIS                 TX         01275BC          THE CARLILE LAW FIRM, LLP
SINGLETON            JESSE                 TX         03C373           THE CARLILE LAW FIRM, LLP                            WALTHALL             HERSHELL W            TX         01275BC          THE CARLILE LAW FIRM, LLP
SLADE                CS                    TX         03C373           THE CARLILE LAW FIRM, LLP                            WARDLE               JUDITH EILEEN         TX         01275B           THE CARLILE LAW FIRM, LLP
SLAUGHTER            CAROLYN               TX         01275BD          THE CARLILE LAW FIRM, LLP                            WARDLE               JUDITH EILEEN         TX         01275BD          THE CARLILE LAW FIRM, LLP
SLAUGHTER            RALPH EDWARD          TX         01275BD          THE CARLILE LAW FIRM, LLP                            WATKINS              KEVIN                 TX         03C373           THE CARLILE LAW FIRM, LLP
SMITH                JAMES C               TX         021132           THE CARLILE LAW FIRM, LLP                            WATSON               GENE                  TX         03C373           THE CARLILE LAW FIRM, LLP
SMITH                LARRY                 TX         03C373           THE CARLILE LAW FIRM, LLP                            WATSON               RANDY DALE            TX         01275BC          THE CARLILE LAW FIRM, LLP
SMITH                LEWIS                 TX         021132           THE CARLILE LAW FIRM, LLP                            WATSON               SHARON                TX         01275BC          THE CARLILE LAW FIRM, LLP
SMITH                LINDA                 TX         021132           THE CARLILE LAW FIRM, LLP                            WEAVER               LARRY DON             TX         2001333D         THE CARLILE LAW FIRM, LLP
SMITH                ROBERT                TX         03C373           THE CARLILE LAW FIRM, LLP                            WEBSTER              CATHY                 TX         2001333D         THE CARLILE LAW FIRM, LLP
SNIDER               BARRY L               TX         01275BC          THE CARLILE LAW FIRM, LLP                            WEBSTER              DANIEL MORRIS         TX         2001333D         THE CARLILE LAW FIRM, LLP
SNIDER               PAULA                 TX         01275BC          THE CARLILE LAW FIRM, LLP                            WHITAKER             EDDIE                 TX         03C373           THE CARLILE LAW FIRM, LLP




                                                                                                            Appendix A - 685
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 20 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WHITEHEAD            BARBARA               TX         2001333C         THE CARLILE LAW FIRM, LLP                            HILTON               WALTER W              RI         PC20153187       THE DEATON LAW FIRM
WHITEHEAD            DAVID L               TX         2001333C         THE CARLILE LAW FIRM, LLP                            HOMSY                MITCHELL              RI         121196           THE DEATON LAW FIRM
WHITLEY              JR                    TX         03C373           THE CARLILE LAW FIRM, LLP                            JOHNSON              DEBRA                 RI         PC20152932       THE DEATON LAW FIRM
WICKS                AARON                 TX         03C373           THE CARLILE LAW FIRM, LLP                            JOHNSON              RAYMOND               RI         PC20152932       THE DEATON LAW FIRM
WICKS                DEBBIE J              TX         03C373           THE CARLILE LAW FIRM, LLP                            KENDRICK             MARY HELEN            RI         PC106366         THE DEATON LAW FIRM
WIGGINS              BOBBIE                TX         021132           THE CARLILE LAW FIRM, LLP                            KENDRICK             WILLIAM RUDOLPH       RI         PC106366         THE DEATON LAW FIRM
WIGGINS              CLYDE                 TX         021132           THE CARLILE LAW FIRM, LLP                            KINNEY               MONA G                RI         PC20154677       THE DEATON LAW FIRM
WIGGINS              KENNETH               TX         021132           THE CARLILE LAW FIRM, LLP                            KINNEY               WENDALL               RI         PC20154677       THE DEATON LAW FIRM
WILCOX               CHARLOTTE             TX         2001333D         THE CARLILE LAW FIRM, LLP                            LAPIERRE             CAROLYN               RI         PC111122         THE DEATON LAW FIRM
WILCOX               JERRY WAYNE           TX         2001333D         THE CARLILE LAW FIRM, LLP                            LAPIERRE             DENNIS                RI         PC111122         THE DEATON LAW FIRM
WILKERSON            JOE                   TX         03C373           THE CARLILE LAW FIRM, LLP                            LAPIERRE             JAMES                 RI         PC111122         THE DEATON LAW FIRM
WILLIAMS             ALICE                 TX         03C373           THE CARLILE LAW FIRM, LLP                            LAPIERRE             JEFFERY               RI         PC111122         THE DEATON LAW FIRM
WILLIAMS             CALVIN                TX         03C373           THE CARLILE LAW FIRM, LLP                            LAPIERRE             JENNIFER              RI         PC111122         THE DEATON LAW FIRM
WILLIAMS             CHARLES               TX         2001193AA        THE CARLILE LAW FIRM, LLP                            LAPIERRE             ROBERT                RI         PC111122         THE DEATON LAW FIRM
WILLIAMS             DORIS MARIE           TX         2001333D         THE CARLILE LAW FIRM, LLP                            LAPIERRE             ROBERT L.D.           RI         PC111122         THE DEATON LAW FIRM
WILLIAMS             GENEVA                TX         010614           THE CARLILE LAW FIRM, LLP                            LAPIERRE             TIMOTHY               RI         PC111122         THE DEATON LAW FIRM
WILLIAMS             HAWLEY                TX         010614           THE CARLILE LAW FIRM, LLP                            LAYFIELD             ROBERT A              RI         PC20155312       THE DEATON LAW FIRM
WILLIAMS             JEANNE                TX         2001193AA        THE CARLILE LAW FIRM, LLP                            LENNOX               CHARLOTTE L           RI         PC20154153       THE DEATON LAW FIRM
WILLIAMS             JOE D                 TX         03C373           THE CARLILE LAW FIRM, LLP                            LIDSTONE             NORMAN                RI         132811           THE DEATON LAW FIRM
WILLIAMS             NORMAN A              TX         2001333D         THE CARLILE LAW FIRM, LLP                            LIDSTONE             PATRICIA              RI         132811           THE DEATON LAW FIRM
WILLIAMS             VERDELL               TX         021132           THE CARLILE LAW FIRM, LLP                            LOWE                 ELAINE                RI         PC20194605       THE DEATON LAW FIRM
WILSON               DELBERT               TX         021132           THE CARLILE LAW FIRM, LLP                            LOWE                 ELAINE                RI         PC201910889      THE DEATON LAW FIRM
WILSON               DELBERT               TX         03C373           THE CARLILE LAW FIRM, LLP                            LOWE                 PETER A               RI         PC20194605       THE DEATON LAW FIRM
WILSON               LOIS                  TX         021132           THE CARLILE LAW FIRM, LLP                            LOWE                 PETER A               RI         PC201910889      THE DEATON LAW FIRM
WILSON               LOIS                  TX         03C373           THE CARLILE LAW FIRM, LLP                            MARSELLA             MARIA                 RI         PC20165100       THE DEATON LAW FIRM
WILSON               MALIK                 TX         03C814           THE CARLILE LAW FIRM, LLP                            MARSELLA             VINCENT               RI         PC20165100       THE DEATON LAW FIRM
WILSON               TOBY                  TX         03C814           THE CARLILE LAW FIRM, LLP                            MCMAHON              REBECCA               RI         PC20195931       THE DEATON LAW FIRM
WOODRUFF             LOUIS                 TX         03C373           THE CARLILE LAW FIRM, LLP                            MILENESE             ROBERT                MA         183442           THE DEATON LAW FIRM
WOODS                NORMA                 TX         03C373           THE CARLILE LAW FIRM, LLP                            NEGRON               MONSERRATE A          RI         PC20195931       THE DEATON LAW FIRM
YOUNG                GARVA                 TX         01275BD          THE CARLILE LAW FIRM, LLP                            PEASE                JAMES W               MA         173262           THE DEATON LAW FIRM
YOUNG                REAGAN                TX         01275BD          THE CARLILE LAW FIRM, LLP                            PEASE                MARILYN               MA         173262           THE DEATON LAW FIRM
ZERINGUE             LEONARD               TX         A168572          THE CARLILE LAW FIRM, LLP                            RICE                 KELLY                 RI         PC20154909       THE DEATON LAW FIRM
JETER                DENNIS M              LA         201902167        THE CHEEK LAW FIRM                                   RICE                 VERNON EDWARD         RI         PC20154909       THE DEATON LAW FIRM
SUTHERLAND           ALLAN                 LA         201812546        THE CHEEK LAW FIRM                                   SAVARINO             JOHN                  RI         PC20160094       THE DEATON LAW FIRM
SUTHERLAND           CINDY                 LA         201812546        THE CHEEK LAW FIRM                                   SAVARINO             SALVATORE             RI         PC20160094       THE DEATON LAW FIRM
SUTHERLAND           JAMIE                 LA         201812546        THE CHEEK LAW FIRM                                   SILVA                BENJAMIN              RI         PC20189367       THE DEATON LAW FIRM
SUTHERLAND           LANEL                 LA         201812546        THE CHEEK LAW FIRM                                   SILVA                KATRINA               RI         PC20189367       THE DEATON LAW FIRM
BIAGETTI             MARILYN L             RI         PC20172761       THE DEATON LAW FIRM                                  SILVA                MARIA                 RI         PC20189367       THE DEATON LAW FIRM
BIAGETTI             MARILYN L             RI         PC201910890      THE DEATON LAW FIRM                                  SILVA                ROBERT                RI         PC20189367       THE DEATON LAW FIRM
BIAGETTI             ROGER                 RI         PC20172761       THE DEATON LAW FIRM                                  TANCREDI             DONALD F J            RI         PC111047         THE DEATON LAW FIRM
BIAGETTI             ROGER                 RI         PC201910890      THE DEATON LAW FIRM                                  TANCREDI             LYNN A                RI         PC111047         THE DEATON LAW FIRM
BROWNING             BANIEL L              RI         080424           THE DEATON LAW FIRM                                  TROMBLEY             DEBORAH E             RI         PC20160425       THE DEATON LAW FIRM
BROWNING             SAGE                  RI         080424           THE DEATON LAW FIRM                                  TROMBLEY             ROBERT L              RI         PC20160425       THE DEATON LAW FIRM
BROWNING             TUCKER                RI         080424           THE DEATON LAW FIRM                                  WEILAND              CAROLE L              RI         PC144430         THE DEATON LAW FIRM
BUCHANAN             WILLIAM               RI         PC20145810       THE DEATON LAW FIRM                                  WEILAND              JEROME E              RI         PC144430         THE DEATON LAW FIRM
CAMBIO               FRANK C               RI         PC20189430       THE DEATON LAW FIRM                                  WORDELL              NANCY                 RI         122653           THE DEATON LAW FIRM
CARSON               DOROTHY               RI         PC111046         THE DEATON LAW FIRM                                  ZEGERS               CYNTHIA               RI         PC111122         THE DEATON LAW FIRM
CARSON               RALPH E               RI         PC111046         THE DEATON LAW FIRM                                  ZIMMER               ALICE                 RI         116090           THE DEATON LAW FIRM
CARY                 GLORIA                RI         PC20145810       THE DEATON LAW FIRM                                  ZIMMER               PATRICK               RI         116090           THE DEATON LAW FIRM
COLLINS              ARTHUR                MA         171772           THE DEATON LAW FIRM                                  ZIMMER               THOMAS                RI         116090           THE DEATON LAW FIRM
COLLINS              MARY                  MA         171772           THE DEATON LAW FIRM                                  BARTLETT             BARRY                 DE         N18C01074ASB     THE DEBRUIN FIRM LLC
CORNETT              DANNY DEE             RI         PC123845         THE DEATON LAW FIRM                                  BARTLETT             BRYAN                 DE         N18C01074ASB     THE DEBRUIN FIRM LLC
CURRAN               BETTY-JO              RI         PC20155483       THE DEATON LAW FIRM                                  BARTLETT             JAMES                 DE         N18C01074ASB     THE DEBRUIN FIRM LLC
CURRAN               WALTER D              RI         PC20155483       THE DEATON LAW FIRM                                  BARTLETT             MARIE JEAN            DE         N18C01074ASB     THE DEBRUIN FIRM LLC
D'ERCOLE             CHERYL A              RI         PC20155312       THE DEATON LAW FIRM                                  DALTON               MIKE                  DE         N18C01074ASB     THE DEBRUIN FIRM LLC
DUDA                 STEPHAN               RI         122653           THE DEATON LAW FIRM                                  FLOWERS              GERALD                DE         N18C02033ASB     THE DEBRUIN FIRM LLC
DYER                 CHARLES               RI         PC20160675       THE DEATON LAW FIRM                                  FLOWERS              JAMES                 DE         N18C02033ASB     THE DEBRUIN FIRM LLC
DYER                 NANCY                 RI         PC20160675       THE DEATON LAW FIRM                                  FLOWERS              JANIS                 DE         N18C02033ASB     THE DEBRUIN FIRM LLC
EASTMAN              ROBIN                 RI         PC111122         THE DEATON LAW FIRM                                  KING                 JOHN H                DE         N18C02155ASB     THE DEBRUIN FIRM LLC
EDWARDS              AUDREY                RI         PC107100         THE DEATON LAW FIRM                                  KING                 SANDY                 DE         N18C02155ASB     THE DEBRUIN FIRM LLC
EDWARDS              LEON LEROY            RI         PC107100         THE DEATON LAW FIRM                                  ABBOTT               FRANK                 FL         9911079          THE FERRARO LAW FIRM
FRANK                ANN T                 RI         PC123845         THE DEATON LAW FIRM                                  ABBOTT               FRANK                 FL         9911067          THE FERRARO LAW FIRM
GOODNOW              JUDITH                MA         183442           THE DEATON LAW FIRM                                  ABBOTT               LEORA M               FL         9911067          THE FERRARO LAW FIRM
HAFEZ                ABDELHAMED            RI         PC20171687       THE DEATON LAW FIRM                                  ABBOTT               LEORA M               FL         9911079          THE FERRARO LAW FIRM
HAFEZ                KAMEL                 RI         PC20171687       THE DEATON LAW FIRM                                  ADAMS                DONALD E              FL         0225126CA42      THE FERRARO LAW FIRM
HAFEZ                NAFOSA                RI         PC20171687       THE DEATON LAW FIRM                                  ADAMS                HELEN P               FL         04007969         THE FERRARO LAW FIRM
HARNEY               CLARENCE              RI         PC20153381       THE DEATON LAW FIRM                                  ADAMS                HOWARD E              FL         9918223          THE FERRARO LAW FIRM
HARNEY               JANET                 RI         PC20153381       THE DEATON LAW FIRM                                  ADAMS                JULIA EARLINE         FL         9918223          THE FERRARO LAW FIRM
HILL                 JUNIOR C              RI         PC143394         THE DEATON LAW FIRM                                  ADAMS                SHIRLEY               FL         0225126CA42      THE FERRARO LAW FIRM
HILL                 OLGA                  RI         PC143394         THE DEATON LAW FIRM                                  ADAMS                STANLEY G             FL         04007969         THE FERRARO LAW FIRM
HILTON               VIVIANNE ARDEL        RI         PC20153187       THE DEATON LAW FIRM                                  AGNEW                MERRIA                FL         991415Z          THE FERRARO LAW FIRM




                                                                                                            Appendix A - 686
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 21 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

AGNEW                NORMAN T              FL         991415Z          THE FERRARO LAW FIRM                                 BARROW               KAREN                 FL         9918218          THE FERRARO LAW FIRM
ALEXANDER            KATHY                 FL         050645427        THE FERRARO LAW FIRM                                 BARTLETT             NADINE                FL         990629Z          THE FERRARO LAW FIRM
ALEXANDER            MICHAEL               FL         050645427        THE FERRARO LAW FIRM                                 BASFORD              NATHAN R              FL         9920257          THE FERRARO LAW FIRM
ALEXANDROWICZ        NANCY LEE             FL         0414959          THE FERRARO LAW FIRM                                 BASFORD              PATRICIA              FL         9920257          THE FERRARO LAW FIRM
ALLEN                JOHN L                FL         990669Z          THE FERRARO LAW FIRM                                 BATES                JANET                 FL         0415487CA42      THE FERRARO LAW FIRM
ALLEN                LORIE                 FL         990669Z          THE FERRARO LAW FIRM                                 BATES                LAWRENCE K            FL         0415487CA42      THE FERRARO LAW FIRM
ALPINO               NANCY                 FL         9606620          THE FERRARO LAW FIRM                                 BATTLE               ELNA                  FL         0505654Z         THE FERRARO LAW FIRM
ALPINO               VINCENT JAMES         FL         9606620          THE FERRARO LAW FIRM                                 BATTLE               JAMES S               FL         0505654Z         THE FERRARO LAW FIRM
ALSTON               AUDREY                FL         05005682Z        THE FERRARO LAW FIRM                                 BEATY                JOHN                  MA         1581CV07129      THE FERRARO LAW FIRM
ALSTON               CLAYTEA               FL         05005682Z        THE FERRARO LAW FIRM                                 BEAUPRE              DONALD ARTHUR         FL         04004389         THE FERRARO LAW FIRM
ALSTON               JOHN H                FL         05005682Z        THE FERRARO LAW FIRM                                 BECKMAN              RALPH T               FL         0415430CA42      THE FERRARO LAW FIRM
AMOS                 KENNETH N             FL         9900827Z         THE FERRARO LAW FIRM                                 BEHR                 HARRY                 FL         09032479         THE FERRARO LAW FIRM
AMOS                 RUBY                  FL         9900827Z         THE FERRARO LAW FIRM                                 BEHR                 MARGARET              FL         09032479         THE FERRARO LAW FIRM
ANDERSON             ANITA                 FL         0117178          THE FERRARO LAW FIRM                                 BELSKY               JOHN E                FL         0311419          THE FERRARO LAW FIRM
ANDERSON             FLOYD E               FL         990627Z          THE FERRARO LAW FIRM                                 BELSKY               MARLENE               FL         0311419          THE FERRARO LAW FIRM
ANDERSON             GAIL                  FL         9606051          THE FERRARO LAW FIRM                                 BEMIS                JOHN                  MA         1581CV07076      THE FERRARO LAW FIRM
ANDERSON             JAMES T               FL         9606051          THE FERRARO LAW FIRM                                 BENNISON             JOHN J                FL         9911935          THE FERRARO LAW FIRM
ANDERSON             MARY B                FL         06015792         THE FERRARO LAW FIRM                                 BENSON               PRANEE                FL         996891Z          THE FERRARO LAW FIRM
ANDERSON             RICHARD H             FL         0117178          THE FERRARO LAW FIRM                                 BENSON               WINTHROP L            FL         996891Z          THE FERRARO LAW FIRM
ANDERSON             ROBIN                 FL         06015792         THE FERRARO LAW FIRM                                 BENTON               DEBRA K               FL         9911064          THE FERRARO LAW FIRM
ANDERSON             TULLY                 FL         06015792         THE FERRARO LAW FIRM                                 BENTON               KENNETH L             FL         9911064          THE FERRARO LAW FIRM
ANDERSON             WILLIS RAY            FL         06015792         THE FERRARO LAW FIRM                                 BENTZ                BRIAN D               FL         0406360          THE FERRARO LAW FIRM
ANTHONY              JOSEPH DYRONE         FL         0513283CA42      THE FERRARO LAW FIRM                                 BERNAZZANI           JOSEPH                MA         1581CV06976      THE FERRARO LAW FIRM
ANTHONY              JULIE R               FL         0513283CA42      THE FERRARO LAW FIRM                                 BESS                 KAREN                 FL         9918219          THE FERRARO LAW FIRM
ANTOON               EDMUND                MA         1581CV07063      THE FERRARO LAW FIRM                                 BESS                 WILLIE R              FL         9918219          THE FERRARO LAW FIRM
ANTOON               FRED                  MA         1581CV07112      THE FERRARO LAW FIRM                                 BEST                 LOUIS                 FL         050642827        THE FERRARO LAW FIRM
APPERWHITE           ESTELL                FL         0117174          THE FERRARO LAW FIRM                                 BEST                 MARY LOU              FL         050642827        THE FERRARO LAW FIRM
APPERWHITE           WILLIAM H             FL         0117174          THE FERRARO LAW FIRM                                 BILANICH             HENRIETTA             FL         050642727        THE FERRARO LAW FIRM
ARDAGNA              JOSEPH                MA         1581CV07132      THE FERRARO LAW FIRM                                 BILANICH             LEROY                 FL         050642727        THE FERRARO LAW FIRM
ARMSTEAD             LINDA J               FL         050646027        THE FERRARO LAW FIRM                                 BILLS                LINDA L               FL         0505617Z         THE FERRARO LAW FIRM
ARNOLD               DAVEY LINWOOD         FL         0314629          THE FERRARO LAW FIRM                                 BILLS                LONNIE M              FL         0505617Z         THE FERRARO LAW FIRM
ARNOLD               INGRID P              FL         0314629          THE FERRARO LAW FIRM                                 BILSKI               DANIEL M              FL         04007988         THE FERRARO LAW FIRM
ARNOLD               JAMES J               FL         990620Z          THE FERRARO LAW FIRM                                 BINDER               JEANNE                FL         03020141CA42     THE FERRARO LAW FIRM
ARSENAULT            PATRICK               MA         1581CV06978      THE FERRARO LAW FIRM                                 BINDER               THOMAS R              FL         03020141CA42     THE FERRARO LAW FIRM
ASBURY               ALONZO M              FL         0500643127       THE FERRARO LAW FIRM                                 BISHOP               BERTHA                FL         0406342          THE FERRARO LAW FIRM
ASBURY               LINDA S               FL         0500643127       THE FERRARO LAW FIRM                                 BISHOP               EUGENE G              FL         0406342          THE FERRARO LAW FIRM
ASHBY                EDWARD C              FL         9911068          THE FERRARO LAW FIRM                                 BLACK                FREDERICK E           FL         0503820Z         THE FERRARO LAW FIRM
ASHBY                MARY                  FL         9911068          THE FERRARO LAW FIRM                                 BLACK                SHARON                FL         0503820Z         THE FERRARO LAW FIRM
ASHLEY               BRENDA                FL         9911069          THE FERRARO LAW FIRM                                 BLACKWELL            BEVERLY E             FL         9911933          THE FERRARO LAW FIRM
ASHLEY               JOHN H                FL         9911069          THE FERRARO LAW FIRM                                 BLACKWELL            NORMAN R              FL         9911933          THE FERRARO LAW FIRM
ATTAWAY              CHARLES G             FL         9606633          THE FERRARO LAW FIRM                                 BLANC                FERNAND               MA         1581CV07006      THE FERRARO LAW FIRM
AULTMAN              CHARLES H             FL         9911063          THE FERRARO LAW FIRM                                 BLOXOM               ESTHER                FL         0500986527       THE FERRARO LAW FIRM
AULTMAN              EDNA J                FL         9911063          THE FERRARO LAW FIRM                                 BLOXOM               MAX E                 FL         0500986527       THE FERRARO LAW FIRM
AVERY                RICHARD L             FL         0503721Z         THE FERRARO LAW FIRM                                 BLYTHE               JAMES D               FL         9911065          THE FERRARO LAW FIRM
AVERY                WILHELMINE            FL         0503721Z         THE FERRARO LAW FIRM                                 BLYTHE               JEAN E                FL         9911065          THE FERRARO LAW FIRM
BAILEY               CLARENCE              FL         05005686Z        THE FERRARO LAW FIRM                                 BODGE                EDWIN                 MA         1581CV07102      THE FERRARO LAW FIRM
BAILEY               NORMAN C              FL         998944Z          THE FERRARO LAW FIRM                                 BOEHM                BERNICE               FL         9912013          THE FERRARO LAW FIRM
BAILEY               ROYCE G               FL         06015794         THE FERRARO LAW FIRM                                 BOEHM                JAMES R               FL         9912013          THE FERRARO LAW FIRM
BAILEY               ROYCE T               FL         06015794         THE FERRARO LAW FIRM                                 BOLEN                DONALD                FL         050645727        THE FERRARO LAW FIRM
BAILEY               TERESA                FL         06015794         THE FERRARO LAW FIRM                                 BOLES                HUGH J                MA         062406           THE FERRARO LAW FIRM
BAILEY               WYOLENE               FL         05005686Z        THE FERRARO LAW FIRM                                 BOLSTRIDGE           BURNS H               FL         02007981         THE FERRARO LAW FIRM
BAKER                DEBORAH K             FL         0502712Z         THE FERRARO LAW FIRM                                 BONIN                ROLAND E              FL         9919622          THE FERRARO LAW FIRM
BAKER                MICHAEL S             FL         0502712Z         THE FERRARO LAW FIRM                                 BONIN                VENNETTA              FL         9919622          THE FERRARO LAW FIRM
BAKER                WILLIE JAMES          FL         0505663Z         THE FERRARO LAW FIRM                                 BONOMI               RICHARD               MA         1581CV07095      THE FERRARO LAW FIRM
BALL                 LARRY J               FL         050644827        THE FERRARO LAW FIRM                                 BOSTON               DONALD                FL         990824Z          THE FERRARO LAW FIRM
BALL                 MARGIE                FL         050644827        THE FERRARO LAW FIRM                                 BOSTON               YVONNE                FL         990824Z          THE FERRARO LAW FIRM
BANTEL               MARGARET              FL         0500986027       THE FERRARO LAW FIRM                                 BOSWELL              IRIS F                FL         9911978          THE FERRARO LAW FIRM
BANTEL               WILLIAM C             FL         0500986027       THE FERRARO LAW FIRM                                 BOSWELL              RUFUS A               FL         9911978          THE FERRARO LAW FIRM
BARCLAY              ELIZABETH             FL         02005700         THE FERRARO LAW FIRM                                 BOUCHER              DONALD E              FL         9918293          THE FERRARO LAW FIRM
BARCLAY              WRAY W                FL         02005700         THE FERRARO LAW FIRM                                 BOULTON              HOWARD                FL         004228           THE FERRARO LAW FIRM
BARFIELD             JOHN H                FL         9918283          THE FERRARO LAW FIRM                                 BOWER                BETTY S               FL         9911066          THE FERRARO LAW FIRM
BARFIELD             NELLIE J              FL         9918283          THE FERRARO LAW FIRM                                 BOWER                BISHOP W              FL         9911066          THE FERRARO LAW FIRM
BARKER               CARRIE                FL         990628Z          THE FERRARO LAW FIRM                                 BOWERS               CAROL J               FL         04011454         THE FERRARO LAW FIRM
BARKER               ELWOOD M              FL         990628Z          THE FERRARO LAW FIRM                                 BOWERS               KURTIS D              FL         04011454         THE FERRARO LAW FIRM
BARKER               JAMES A               FL         9606039          THE FERRARO LAW FIRM                                 BOYD                 ALICE P               FL         9908788Z         THE FERRARO LAW FIRM
BARNES               ELSIE                 FL         990926AD         THE FERRARO LAW FIRM                                 BOYD                 CORNELIUS             FL         9918272          THE FERRARO LAW FIRM
BARNES               JACK B                FL         990926AD         THE FERRARO LAW FIRM                                 BOYD                 EMMIT E               FL         9908788Z         THE FERRARO LAW FIRM
BARNETT              MARY ANN              FL         0505618Z         THE FERRARO LAW FIRM                                 BOYD                 FRANK A               FL         02006868         THE FERRARO LAW FIRM
BARNETT              VERNON E              FL         0505618Z         THE FERRARO LAW FIRM                                 BOYD                 RUTH H                FL         9918272          THE FERRARO LAW FIRM
BARNHILL             JAMES E               FL         0502702Z         THE FERRARO LAW FIRM                                 BOYER                WILLIAM E             FL         9807065Z         THE FERRARO LAW FIRM
BARROW               JAMES G               FL         9918218          THE FERRARO LAW FIRM                                 BOZEMAN              DAVID D               FL         9911085          THE FERRARO LAW FIRM




                                                                                                            Appendix A - 687
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 22 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BOZEMAN              OPAL LOUISE           FL         9911085          THE FERRARO LAW FIRM                                 CAMPSEN              BLANCHE M             FL         9911289          THE FERRARO LAW FIRM
BRABHAM              WILLIAM HENRY         FL         9605831          THE FERRARO LAW FIRM                                 CAMPSEN              OTTO                  FL         9911289          THE FERRARO LAW FIRM
BRASWELL             WILLIAM R             FL         502004CA002033   THE FERRARO LAW FIRM                                 CANCILLA             CAROLYN J             FL         990821AD         THE FERRARO LAW FIRM
BRAXTON              BESSIE L              FL         0505616Z         THE FERRARO LAW FIRM                                 CANCILLA             FRED                  FL         990821AD         THE FERRARO LAW FIRM
BRAXTON              ROY                   FL         0505616Z         THE FERRARO LAW FIRM                                 CAPEN                JEFFREY               FL         050645827        THE FERRARO LAW FIRM
BRICKEY              JOY                   FL         05005647Z        THE FERRARO LAW FIRM                                 CAPEN                MARILYN               FL         050645827        THE FERRARO LAW FIRM
BRICKEY              WALTER                FL         05005647Z        THE FERRARO LAW FIRM                                 CAPEN                ROBERT D              FL         050645827        THE FERRARO LAW FIRM
BRIGGS               STEPHEN               MA         1581CV017137     THE FERRARO LAW FIRM                                 CARDIELLO            FRANK J               FL         990883Z          THE FERRARO LAW FIRM
BRIMHALL             FLOYD J               FL         9805024Z         THE FERRARO LAW FIRM                                 CARDIELLO            NANCY                 FL         990883Z          THE FERRARO LAW FIRM
BROADWATER           THOMAS L              FL         0500643927       THE FERRARO LAW FIRM                                 CARDINALI            DONALD H              FL         03014972         THE FERRARO LAW FIRM
BROOKINS             JAMES                 FL         9921173          THE FERRARO LAW FIRM                                 CARDINALI            NANCY                 FL         03014972         THE FERRARO LAW FIRM
BROOKS               BARBARA JEAN          FL         9918261          THE FERRARO LAW FIRM                                 CARLSON              JOHN I                FL         0117201          THE FERRARO LAW FIRM
BROOKS               DONALD C SR           FL         990816AD         THE FERRARO LAW FIRM                                 CARLSON              MAX ANN               FL         990632Z          THE FERRARO LAW FIRM
BROOKS               GERALD R              FL         9918261          THE FERRARO LAW FIRM                                 CARLSON              STEVEN D              FL         990632Z          THE FERRARO LAW FIRM
BROOKS               MARILYN               FL         990816AD         THE FERRARO LAW FIRM                                 CARR                 GROVER P              FL         975864DIVZ       THE FERRARO LAW FIRM
BROUSSEAU            JOSEPH A              FL         03014664         THE FERRARO LAW FIRM                                 CARROLL              AARON                 FL         0505628Z         THE FERRARO LAW FIRM
BROUSSEAU            PATRICIA              FL         03014664         THE FERRARO LAW FIRM                                 CARROLL              DEBRA                 FL         0311422          THE FERRARO LAW FIRM
BROWN                ANITA                 FL         0412019          THE FERRARO LAW FIRM                                 CARROLL              ROBERT F              FL         0311422          THE FERRARO LAW FIRM
BROWN                ARDELIA               FL         9918310          THE FERRARO LAW FIRM                                 CEDRONE              RICHARD               MA         1581CV07089      THE FERRARO LAW FIRM
BROWN                ARNOLD L              FL         9911081          THE FERRARO LAW FIRM                                 CELOVSKY             JOSEPH R              FL         990995Z          THE FERRARO LAW FIRM
BROWN                DORIS                 FL         990623Z          THE FERRARO LAW FIRM                                 CELOVSKY             KATHLEEN              FL         990995Z          THE FERRARO LAW FIRM
BROWN                HAROLD E              FL         0314994          THE FERRARO LAW FIRM                                 CENKER               DEBRA                 FL         0404404          THE FERRARO LAW FIRM
BROWN                HATTIE                FL         0505645Z         THE FERRARO LAW FIRM                                 CENKER               VINCENT W             FL         0404404          THE FERRARO LAW FIRM
BROWN                HELEN T               FL         0314994          THE FERRARO LAW FIRM                                 CERTA                FRANCES               FL         990821Z          THE FERRARO LAW FIRM
BROWN                INEZ                  FL         9820263          THE FERRARO LAW FIRM                                 CERTA                MICHAEL               FL         990821Z          THE FERRARO LAW FIRM
BROWN                JAMES D               FL         9820263          THE FERRARO LAW FIRM                                 CHAMBLISS            BETTY                 FL         010435AD         THE FERRARO LAW FIRM
BROWN                JAMES M               FL         0412019          THE FERRARO LAW FIRM                                 CHAMBLISS            HUGH W                FL         010435AD         THE FERRARO LAW FIRM
BROWN                JESSIE B              FL         04004405         THE FERRARO LAW FIRM                                 CHANDLER             BOBBY                 FL         9911977          THE FERRARO LAW FIRM
BROWN                JESSIE L              FL         9918310          THE FERRARO LAW FIRM                                 CHANDLER             EVA                   FL         9911977          THE FERRARO LAW FIRM
BROWN                LOREN L               FL         990623Z          THE FERRARO LAW FIRM                                 CHANDLER             HAROLD L              FL         0502713Z         THE FERRARO LAW FIRM
BROWN                PATRICIA              FL         9911081          THE FERRARO LAW FIRM                                 CHANTRE              STEVEN NICKLAUS       FL         03015283         THE FERRARO LAW FIRM
BROWN                SHIRLEY               FL         0505646Z         THE FERRARO LAW FIRM                                 CHATMAN              MARY J                FL         0313812          THE FERRARO LAW FIRM
BROWN                SYLESTER              FL         0505646Z         THE FERRARO LAW FIRM                                 CHATMAN              ROBERT LEE            FL         0313812          THE FERRARO LAW FIRM
BROWN                SYLVESTER             FL         0505645Z         THE FERRARO LAW FIRM                                 CHEMERYS             ROMEO                 FL         008350           THE FERRARO LAW FIRM
BROXSON              JOHNNY                FL         9918309          THE FERRARO LAW FIRM                                 CHESTER              JOHN                  MA         1581CV06980      THE FERRARO LAW FIRM
BROXSON              JOYCE                 FL         9918309          THE FERRARO LAW FIRM                                 CHESTER              JULIE                 MA         1581CV06980      THE FERRARO LAW FIRM
BRUCE                DOROTHY L             FL         966462Z          THE FERRARO LAW FIRM                                 CHILDS               JAMES L               FL         0500985727       THE FERRARO LAW FIRM
BRUCE                DWIGHT RAYMOND        FL         966462Z          THE FERRARO LAW FIRM                                 CHILDS               WANDA JEAN            FL         0500985727       THE FERRARO LAW FIRM
BRYAN                JEANNE                FL         01012291         THE FERRARO LAW FIRM                                 CHIODO               ANTHONY P             FL         990664Z          THE FERRARO LAW FIRM
BRYAN                VINCENT B             FL         01012291         THE FERRARO LAW FIRM                                 CHRISTMAS            DOROTHY E             FL         9918278          THE FERRARO LAW FIRM
BRYANT               AMY                   FL         06015794         THE FERRARO LAW FIRM                                 CHRISTMAS            TROYE M               FL         9918278          THE FERRARO LAW FIRM
BRYER                JOYCE                 FL         9911930          THE FERRARO LAW FIRM                                 CHURCHILL            EDWIN G               FL         9801141          THE FERRARO LAW FIRM
BRYER                RICHARD W             FL         9911930          THE FERRARO LAW FIRM                                 CHURCHILL            JOYCE                 FL         9801141          THE FERRARO LAW FIRM
BUCKHANNON           ANTHONY               FL         0503381Z         THE FERRARO LAW FIRM                                 CIANCIOLO            FLORENCE              FL         02006859         THE FERRARO LAW FIRM
BUCKHANNON           ESSIE                 FL         0503381Z         THE FERRARO LAW FIRM                                 CIANCIOLO            MICHAEL L             FL         02006859         THE FERRARO LAW FIRM
BUENO                ARTHUR                FL         04011458         THE FERRARO LAW FIRM                                 CIOTTI               ARMINO                FL         01017200         THE FERRARO LAW FIRM
BUENO                OLIVIA                FL         04011458         THE FERRARO LAW FIRM                                 CIOTTI               BILL                  FL         01017200         THE FERRARO LAW FIRM
BURCH                LINDA                 FL         9911976          THE FERRARO LAW FIRM                                 CLAPPER              DAVID L               FL         011070AD         THE FERRARO LAW FIRM
BURCH                LYNWOOD               FL         9911976          THE FERRARO LAW FIRM                                 CLAPPER              DEBORAH               FL         011070AD         THE FERRARO LAW FIRM
BURGESS              JAMES A               FL         9920254          THE FERRARO LAW FIRM                                 CLARISSE             LILLIE P              FL         9911088          THE FERRARO LAW FIRM
BURNHAM              HOWARD L              FL         998959Z          THE FERRARO LAW FIRM                                 CLARISSE             THOMAS E              FL         9911088          THE FERRARO LAW FIRM
BURNHAM              PEGGY L               FL         998959Z          THE FERRARO LAW FIRM                                 CLARK                ARBIE J               FL         2004CA004227     THE FERRARO LAW FIRM
BURROUGHS            SYLVESTER             FL         0505632Z         THE FERRARO LAW FIRM                                 CLARK                ARNOLD                FL         9913184          THE FERRARO LAW FIRM
BURROUGHS            GEORGIA               FL         0505632Z         THE FERRARO LAW FIRM                                 CLARK                GEORGE F              FL         0404641CA42      THE FERRARO LAW FIRM
BUSH                 JUDY                  FL         0916630          THE FERRARO LAW FIRM                                 CLARK                JAMES H               FL         966224           THE FERRARO LAW FIRM
BUSH                 WILLIAM L             FL         0916630          THE FERRARO LAW FIRM                                 CLARK                LINDA                 FL         998941Z          THE FERRARO LAW FIRM
BUTLER               JOHNNY                FL         0503378Z         THE FERRARO LAW FIRM                                 CLARK                MARIAN S              FL         966224           THE FERRARO LAW FIRM
BUTLER               MARY                  FL         0503378Z         THE FERRARO LAW FIRM                                 CLARK                MARY LOUISE           FL         2004CA004227     THE FERRARO LAW FIRM
BUZZELL              THOMAS E              FL         0200561327       THE FERRARO LAW FIRM                                 CLARK                WILLIAM               MA         1781CV01677      THE FERRARO LAW FIRM
BYRD                 BILLIE B              FL         9911288          THE FERRARO LAW FIRM                                 CLAYTON              WILTON S              FL         0503383Z         THE FERRARO LAW FIRM
BYRD                 BILLY B               FL         9911084          THE FERRARO LAW FIRM                                 CLEMENS              WILLIAM D             FL         965828DIVZ       THE FERRARO LAW FIRM
BYRD                 DONNIE L              FL         9911288          THE FERRARO LAW FIRM                                 CLEMENT              DAVID J               FL         0320148          THE FERRARO LAW FIRM
BYRD                 DONNIE LEE            FL         9911084          THE FERRARO LAW FIRM                                 CLEMENT              ROTH                  FL         0320148          THE FERRARO LAW FIRM
BYRNES               WILLIAM G             FL         965826DIVZ       THE FERRARO LAW FIRM                                 CLEWIS               GILBERT E             FL         9912011          THE FERRARO LAW FIRM
CAIL                 EMILY J               FL         999036Z          THE FERRARO LAW FIRM                                 CODY                 CANNIE LEE JR         FL         990634Z          THE FERRARO LAW FIRM
CAIL                 JOHN K                FL         999036Z          THE FERRARO LAW FIRM                                 COHRON               BETTY                 FL         9911028          THE FERRARO LAW FIRM
CALLIES              MYRTLE                FL         ADMIN            THE FERRARO LAW FIRM                                 COHRON               WILLIAM               FL         9911028          THE FERRARO LAW FIRM
CALLIES              RAYMOND H             FL         ADMIN            THE FERRARO LAW FIRM                                 COLBY                DONNA                 FL         03020187CA42     THE FERRARO LAW FIRM
CAMMARATA            EILEEN                MA         094995           THE FERRARO LAW FIRM                                 COLBY                HAROLD P              FL         03020187CA42     THE FERRARO LAW FIRM
CAMMARATA            SALVATORE C           MA         094995           THE FERRARO LAW FIRM                                 COLE                 BETTY JEAN            FL         9900635Z         THE FERRARO LAW FIRM
CAMPLIN              BILLY D               FL         02005589         THE FERRARO LAW FIRM                                 COLE                 JACK S                FL         9900635Z         THE FERRARO LAW FIRM




                                                                                                            Appendix A - 688
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 23 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COLEMAN              FRANK A               FL         9918311          THE FERRARO LAW FIRM                                 DAVIS                JEANETTER C           FL         031496527        THE FERRARO LAW FIRM
COLEMAN              NINA                  FL         9918311          THE FERRARO LAW FIRM                                 DAVIS                JOSEPH                FL         001505Z          THE FERRARO LAW FIRM
COLLINA              ROBERT T              FL         0503723Z         THE FERRARO LAW FIRM                                 DAVIS                KARIA                 FL         9911078          THE FERRARO LAW FIRM
COLLINS              THOMAS FRANCIS        FL         502004CA001867   THE FERRARO LAW FIRM                                 DAVIS                MACK C                FL         05005676Z        THE FERRARO LAW FIRM
COLSON               CLARA                 FL         02005592         THE FERRARO LAW FIRM                                 DAVIS                SHIRLEY               FL         010524AD         THE FERRARO LAW FIRM
COLSON               HARRY THOMAS          FL         02005592         THE FERRARO LAW FIRM                                 DAVIS                WALTER E              FL         05003708Z        THE FERRARO LAW FIRM
CONANT               JOHN T                FL         0502708Z         THE FERRARO LAW FIRM                                 DAVIS                YVONNE                FL         05003708Z        THE FERRARO LAW FIRM
CONANT               TINA A                FL         0502708Z         THE FERRARO LAW FIRM                                 DAY                  JAMES C               FL         998949Z          THE FERRARO LAW FIRM
CONNOLLY             TERRENCE              MA         1581CV06985      THE FERRARO LAW FIRM                                 DEAN                 LD                    FL         990924AD         THE FERRARO LAW FIRM
CONSENTINO           PAUL                  MA         1581CV07072      THE FERRARO LAW FIRM                                 DEBOER               ROBERT                MA         1581CV07143      THE FERRARO LAW FIRM
CONSIDINE            JAMES                 FL         0117193          THE FERRARO LAW FIRM                                 DEESE                CATHLINN              FL         9911086          THE FERRARO LAW FIRM
CONSIDINE            JOSEPH M              FL         0117193          THE FERRARO LAW FIRM                                 DEESE                EARL                  FL         9911086          THE FERRARO LAW FIRM
COOK                 BETTY                 FL         9913189          THE FERRARO LAW FIRM                                 DELANEY              THOMAS R              FL         0200570627       THE FERRARO LAW FIRM
COOK                 DONALD L              FL         9913189          THE FERRARO LAW FIRM                                 DELELLIS             ROBERT                MA         1581CV07008      THE FERRARO LAW FIRM
COOPER               CLYDE                 FL         965823DIVZ       THE FERRARO LAW FIRM                                 DEMENKOW             PAUL                  MA         1581CV07049      THE FERRARO LAW FIRM
COOPER               JIM E                 FL         0503386Z         THE FERRARO LAW FIRM                                 DENNIS               CHARLES R             FL         0316840          THE FERRARO LAW FIRM
COOPER               REBECCA J             FL         965823DIVZ       THE FERRARO LAW FIRM                                 DENNIS               DONALD E              FL         0405821          THE FERRARO LAW FIRM
COOPER               WALTER W              FL         0503727Z         THE FERRARO LAW FIRM                                 DENNIS               RUANNA                FL         0316840          THE FERRARO LAW FIRM
COPE                 SAMUEL F              FL         999035Z          THE FERRARO LAW FIRM                                 DEXTER               JAMES M               FL         02005581         THE FERRARO LAW FIRM
CORREA               CELESTINO             FL         0502700Z         THE FERRARO LAW FIRM                                 DEXTER               SANDRA                FL         02005581         THE FERRARO LAW FIRM
CORREA               MARIA                 FL         0502700Z         THE FERRARO LAW FIRM                                 DI PIETRANTONIO      CAROL                 FL         03016852         THE FERRARO LAW FIRM
CORRIGAN             ELLEN                 FL         03014556         THE FERRARO LAW FIRM                                 DI PIETRANTONIO      FRANCO                FL         03016852         THE FERRARO LAW FIRM
CORRIGAN             FRANCIS J             FL         03014556         THE FERRARO LAW FIRM                                 DIBARO               GAIL                  FL         03015058         THE FERRARO LAW FIRM
COTHREN              HENRY                 FL         9911072          THE FERRARO LAW FIRM                                 DIBARO               MICHAEL J             FL         03015058         THE FERRARO LAW FIRM
COTHREN              THELMA                FL         9911072          THE FERRARO LAW FIRM                                 DICICCO              KENNETH P             FL         0200570727       THE FERRARO LAW FIRM
COULTER              EUGENE                FL         0505019Z         THE FERRARO LAW FIRM                                 DICKMANN             JERRIE                FL         0307776CA42      THE FERRARO LAW FIRM
COULTER              ROBERT M              FL         0505019Z         THE FERRARO LAW FIRM                                 DICKMANN             ROBERT A              FL         0307776CA42      THE FERRARO LAW FIRM
COUSIN               HERBERT L             FL         990665Z          THE FERRARO LAW FIRM                                 DIGAUDIO             ANTHONY               FL         9908348          THE FERRARO LAW FIRM
COUSIN               REBECCA JR            FL         990665Z          THE FERRARO LAW FIRM                                 DIGAUDIO             DELORES B             FL         9908348          THE FERRARO LAW FIRM
COX                  BILLY D               FL         9918216          THE FERRARO LAW FIRM                                 DISABELLA            ROBERT L              FL         03015172         THE FERRARO LAW FIRM
COX                  MARY ELIZABETH        FL         9918216          THE FERRARO LAW FIRM                                 DITTMAN              LARRY                 FL         9911965          THE FERRARO LAW FIRM
CRAM                 WILLIAM               MA         1581CV06998      THE FERRARO LAW FIRM                                 DIVENS               DWAYNE J              FL         0315070          THE FERRARO LAW FIRM
CRAVER               JAMES                 FL         0314962          THE FERRARO LAW FIRM                                 DIVENS               RUTH ANNA             FL         0315070          THE FERRARO LAW FIRM
CRAVER               SHARON R              FL         0314962          THE FERRARO LAW FIRM                                 DIVER                DEBRA JR              FL         9913186          THE FERRARO LAW FIRM
CRAWFORD             MICHAEL LEE           FL         0401549          THE FERRARO LAW FIRM                                 DIVER                THOMAS M              FL         9913186          THE FERRARO LAW FIRM
CREEKPAUM            CHARLES E             FL         9911077          THE FERRARO LAW FIRM                                 DIXON                CECIL L               FL         9900638Z         THE FERRARO LAW FIRM
CREEKPAUM            TERESITA              FL         9911077          THE FERRARO LAW FIRM                                 DIXON                ELLEN M               FL         9900638Z         THE FERRARO LAW FIRM
CREEL                ANN                   FL         05005613Z        THE FERRARO LAW FIRM                                 DODD                 JAY M                 FL         02014773         THE FERRARO LAW FIRM
CREEL                JAMES A               FL         05005613Z        THE FERRARO LAW FIRM                                 DODD                 PATRICIA              FL         02014773         THE FERRARO LAW FIRM
CRENSHAW             EDDIE JAMES           FL         05005669Z        THE FERRARO LAW FIRM                                 DOERING              AGNES                 FL         9918214          THE FERRARO LAW FIRM
CRENSHAW             LINDA                 FL         05005669Z        THE FERRARO LAW FIRM                                 DOERING              WAYNE L               FL         9918214          THE FERRARO LAW FIRM
CREWS                GARY E                FL         9913188          THE FERRARO LAW FIRM                                 DOMBROWSKI           JOSEPH                FL         9912015          THE FERRARO LAW FIRM
CREWS                JAMES                 FL         9913187          THE FERRARO LAW FIRM                                 DOMKE                COLLEEN F             FL         03015020         THE FERRARO LAW FIRM
CREWS                SANDRA                FL         9913187          THE FERRARO LAW FIRM                                 DOMKE                RICHARD H             FL         03015020         THE FERRARO LAW FIRM
CROSS                EDNA                  FL         9911921          THE FERRARO LAW FIRM                                 DONAHUE              GEORGE                MA         1581CV06999      THE FERRARO LAW FIRM
CROSS                GEORGE                FL         9911921          THE FERRARO LAW FIRM                                 DONEGAN              NANCY                 FL         9910155          THE FERRARO LAW FIRM
CROSSLEY             DAVID                 FL         0401623          THE FERRARO LAW FIRM                                 DONEGAN              THOMAS                FL         9910155          THE FERRARO LAW FIRM
CROSSLEY             WILLIAM               FL         0401623          THE FERRARO LAW FIRM                                 DONLAN               MARK                  MA         1581CV07015      THE FERRARO LAW FIRM
CROWELL              JANE                  FL         0117192          THE FERRARO LAW FIRM                                 DONOVAN              ANTONINA              FL         05005687Z        THE FERRARO LAW FIRM
CROWELL              ROBERT W              FL         0117192          THE FERRARO LAW FIRM                                 DONOVAN              CHARLES               MA         1581CV07046      THE FERRARO LAW FIRM
CROWLEY              WALTER J              FL         991223Z          THE FERRARO LAW FIRM                                 DONOVAN              EUGENE H              FL         05005687Z        THE FERRARO LAW FIRM
CUTHRELL             BARNEY O              FL         9911281          THE FERRARO LAW FIRM                                 DOUGLAS              GLYNDA                FL         0500643627       THE FERRARO LAW FIRM
CUTHRELL             DORIS                 FL         9911281          THE FERRARO LAW FIRM                                 DRAKE                LISA K                FL         0500872527       THE FERRARO LAW FIRM
CZEPIEL              JOSEPH T              FL         0117180          THE FERRARO LAW FIRM                                 DREW                 RAY T SR              FL         9606040          THE FERRARO LAW FIRM
DABBS                FRANK                 FL         0415392CA42      THE FERRARO LAW FIRM                                 DUFFY                JOSEPH R              FL         0200570827       THE FERRARO LAW FIRM
D'AGOSTINO           GAY                   FL         01012329         THE FERRARO LAW FIRM                                 DUFFY                MARLENE               FL         0200570827       THE FERRARO LAW FIRM
DAMRON               BETTIE L              FL         9921170          THE FERRARO LAW FIRM                                 DUNBAR               LORAINE               FL         9911928          THE FERRARO LAW FIRM
DAMRON               JEROME                FL         9921170          THE FERRARO LAW FIRM                                 DUNBAR               NORMAN H              FL         9911928          THE FERRARO LAW FIRM
DANIELS              HAROLD O              FL         9911076          THE FERRARO LAW FIRM                                 DUNN                 BEVERLY               FL         990819Z          THE FERRARO LAW FIRM
DANIELS              LINDA                 FL         9911076          THE FERRARO LAW FIRM                                 DUNN                 DOROTHY A             FL         9918233          THE FERRARO LAW FIRM
DANKO                MICHAEL J             FL         9912017          THE FERRARO LAW FIRM                                 DUNN                 STEPHEN               FL         990819Z          THE FERRARO LAW FIRM
DANUEL               BUDDY                 FL         0505656Z         THE FERRARO LAW FIRM                                 DUNN                 WILLIAM L             FL         9918233          THE FERRARO LAW FIRM
DANUEL               MARJORIE              FL         0505656Z         THE FERRARO LAW FIRM                                 DUNPHY               ROSE MARIE            FL         999040Z          THE FERRARO LAW FIRM
DARBY                LAURENCE W            FL         9507506          THE FERRARO LAW FIRM                                 DUNPHY               THOMAS J              FL         999040Z          THE FERRARO LAW FIRM
DAVID                LAWRENCE              MA         1581CV07070      THE FERRARO LAW FIRM                                 DUNSON               JOAN                  FL         9605831          THE FERRARO LAW FIRM
DAVIS                BOBBIE H              FL         9918226          THE FERRARO LAW FIRM                                 DURDEN               EMMA                  FL         001638           THE FERRARO LAW FIRM
DAVIS                EARL H                FL         010524AD         THE FERRARO LAW FIRM                                 DURDEN               WILLARD N             FL         001638           THE FERRARO LAW FIRM
DAVIS                ETTA G                FL         05005676Z        THE FERRARO LAW FIRM                                 DYER                 ALLIE MAE             FL         9911284          THE FERRARO LAW FIRM
DAVIS                GRACE                 FL         001505Z          THE FERRARO LAW FIRM                                 DYER                 ROBERT F              FL         9911284          THE FERRARO LAW FIRM
DAVIS                HENRY A               FL         031496527        THE FERRARO LAW FIRM                                 DYKES                TOMMY                 FL         9506728          THE FERRARO LAW FIRM
DAVIS                JACK V                FL         9918226          THE FERRARO LAW FIRM                                 EADDY                ELIZABETH             FL         9911283          THE FERRARO LAW FIRM




                                                                                                            Appendix A - 689
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 24 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

EADDY                HAROLD V              FL         9911283          THE FERRARO LAW FIRM                                 FOX                  RUSSELL L             FL         04011459         THE FERRARO LAW FIRM
EARNEST              WILLIAM E             FL         0415399CA42      THE FERRARO LAW FIRM                                 FRANCKIEWICZ         GEORGE J              FL         0502710Z         THE FERRARO LAW FIRM
EASTERWOOD           MARIA FATIMA          FL         0012155          THE FERRARO LAW FIRM                                 FRANCKIEWICZ         ROSEMARIE             FL         0502710Z         THE FERRARO LAW FIRM
EASTERWOOD           MARION D              FL         0012155          THE FERRARO LAW FIRM                                 FRANKLIN             MARK WEBB             FL         9802368          THE FERRARO LAW FIRM
EDGEWORTH            APRILL                FL         9911282          THE FERRARO LAW FIRM                                 FRENCH               CHARLES E             FL         9508607          THE FERRARO LAW FIRM
EDGEWORTH            GEORGE                FL         9911282          THE FERRARO LAW FIRM                                 FRIEDLEIN            DONALD R              FL         0301515227       THE FERRARO LAW FIRM
EDWARDS              EVERETT L             FL         0314970          THE FERRARO LAW FIRM                                 FRIEDLEIN            ELIZABETH V           FL         0301515227       THE FERRARO LAW FIRM
EISENHAUER           BARBARA               FL         990639Z          THE FERRARO LAW FIRM                                 FRIESEMA             GARRY A               FL         03014971         THE FERRARO LAW FIRM
EISENHAUER           WILLIAM G             FL         990639Z          THE FERRARO LAW FIRM                                 FRIESEMA             GLORIA                FL         03014971         THE FERRARO LAW FIRM
ELAM                 JEANETTE              FL         9912014          THE FERRARO LAW FIRM                                 FULLER               PETER B               FL         9606602          THE FERRARO LAW FIRM
ELAM                 LESLIE L              FL         9912014          THE FERRARO LAW FIRM                                 GADSDEN              LEON                  FL         9918314          THE FERRARO LAW FIRM
ELLIOTT              CHARLES               FL         010531AD         THE FERRARO LAW FIRM                                 GADSDEN              VANESSA               FL         9918314          THE FERRARO LAW FIRM
ELLIOTT              EDDIE L               FL         04004415         THE FERRARO LAW FIRM                                 GAGNON               ANNETTE               FL         01017184         THE FERRARO LAW FIRM
ELLIOTT              ELLA R                FL         04004415         THE FERRARO LAW FIRM                                 GAGNON               FERNAND               FL         01017184         THE FERRARO LAW FIRM
ELLIOTT              ROSE                  FL         010531AD         THE FERRARO LAW FIRM                                 GAGYLE               CAROLYN ANN           FL         01017171         THE FERRARO LAW FIRM
ELLIS                BEVERLY GAIL          FL         0415466CA42      THE FERRARO LAW FIRM                                 GATTURNA             JOHN                  MA         1581CV07125      THE FERRARO LAW FIRM
ELLIS                HAZEL                 FL         0117206          THE FERRARO LAW FIRM                                 GAUDETTE             ROBERT A              FL         03014995         THE FERRARO LAW FIRM
ELLIS                HERBERT L             FL         0117206          THE FERRARO LAW FIRM                                 GAY                  FLOYD E               FL         0504932Z         THE FERRARO LAW FIRM
ELLIS                LOUIS                 FL         0505665Z         THE FERRARO LAW FIRM                                 GAY                  JUDY WANDA            FL         0504932Z         THE FERRARO LAW FIRM
ELLIS                ROGENIA               FL         0505665Z         THE FERRARO LAW FIRM                                 GEANEY               TOM                   MA         1581CV07092      THE FERRARO LAW FIRM
ELLIS                THOMAS H              FL         0415466CA42      THE FERRARO LAW FIRM                                 GEOGHAGAN            JAMES L               FL         990824AD         THE FERRARO LAW FIRM
EMERY                DOLORES               FL         996888Z          THE FERRARO LAW FIRM                                 GEOGHAGEN            FRANCES               FL         990824AD         THE FERRARO LAW FIRM
EMERY                WALTER                FL         996888Z          THE FERRARO LAW FIRM                                 GEORGE               BETTIE                FL         050643327        THE FERRARO LAW FIRM
ERWIN                DEROSIE               MA         ADMIN            THE FERRARO LAW FIRM                                 GEORGE               CAROLYN DENISE        FL         050642527        THE FERRARO LAW FIRM
ESPERSEN             ANN MARIE             FL         005624AD         THE FERRARO LAW FIRM                                 GEORGE               GERALD W              FL         050642527        THE FERRARO LAW FIRM
ESPERSEN             CHARLES J             FL         005624AD         THE FERRARO LAW FIRM                                 GEORGE               RICHARD               FL         050643327        THE FERRARO LAW FIRM
EVANS                CECILE                FL         004323Z          THE FERRARO LAW FIRM                                 GERMERSHAUSEN        ELIZABETH             FL         03005497         THE FERRARO LAW FIRM
EVANS                HENRY H               FL         0017441          THE FERRARO LAW FIRM                                 GERMERSHAUSEN        RAYMOND J             FL         03005497         THE FERRARO LAW FIRM
EVANS                MARK                  MA         1581CV07013      THE FERRARO LAW FIRM                                 GERVAIS              GILLES J              FL         0415380CA42      THE FERRARO LAW FIRM
EVANS                PAULINE               FL         0017441          THE FERRARO LAW FIRM                                 GHOURLEY             CATHERINE M           FL         998956Z          THE FERRARO LAW FIRM
EVANS                RICHARD E             FL         004323Z          THE FERRARO LAW FIRM                                 GHOURLEY             RICHARD F             FL         998956Z          THE FERRARO LAW FIRM
EWING                RICHARD L             FL         0503717Z         THE FERRARO LAW FIRM                                 GIBBONS              ROBERT                MA         1581CV07088      THE FERRARO LAW FIRM
FABIANO              SALVATORE             FL         01012329         THE FERRARO LAW FIRM                                 GIFFIN               ARTHUR P              FL         0406366          THE FERRARO LAW FIRM
FAHEY                LEO                   MA         1581CV07044      THE FERRARO LAW FIRM                                 GILBERT              JOSEPHINE             FL         02005183         THE FERRARO LAW FIRM
FALLIN               BUSTER M              FL         999394Z          THE FERRARO LAW FIRM                                 GILBERT              RICHARD               MA         1581CV06996      THE FERRARO LAW FIRM
FAULTERSACK          BETTY                 FL         0408013          THE FERRARO LAW FIRM                                 GILBERT              THEODORE P            FL         02005183         THE FERRARO LAW FIRM
FAULTERSACK          DAVID                 FL         0408013          THE FERRARO LAW FIRM                                 GILLIGAN             ROBERT                MA         1581CV07051      THE FERRARO LAW FIRM
FAULTERSACK          JAMES A               FL         04008704         THE FERRARO LAW FIRM                                 GILLIS               THOMAS                FL         ADMIN            THE FERRARO LAW FIRM
FAULTERSACK          KRISTIE               FL         04008704         THE FERRARO LAW FIRM                                 GIRARD               EVA L                 FL         ADMIN            THE FERRARO LAW FIRM
FERGUS               DOLORES               FL         02007980         THE FERRARO LAW FIRM                                 GIRARD               ROBERT                FL         ADMIN            THE FERRARO LAW FIRM
FERGUS               WILLIAM L             FL         02007980         THE FERRARO LAW FIRM                                 GLAUDETTE            JEANNE                FL         03014995         THE FERRARO LAW FIRM
FERRARA              ROBERT                MA         1581CV07065      THE FERRARO LAW FIRM                                 GLENN                JARVIS S              FL         9606418DIVZ      THE FERRARO LAW FIRM
FIELDS               HARRY                 FL         011067AD         THE FERRARO LAW FIRM                                 GLENN                THELMA                FL         9606418DIVZ      THE FERRARO LAW FIRM
FILLINGIM            AUBIE S               FL         0500439927       THE FERRARO LAW FIRM                                 GLENNON              THOMAS                MA         1581CV07052      THE FERRARO LAW FIRM
FILLINGIM            NANCY H               FL         0500439927       THE FERRARO LAW FIRM                                 GOETZ                THOMAS R              FL         03014993         THE FERRARO LAW FIRM
FINLEY               CHARLES H             FL         04004400         THE FERRARO LAW FIRM                                 GOGGINS              ISAAC H               FL         2003CA013187     THE FERRARO LAW FIRM
FINNEY               DAN                   FL         0512056CA0115    THE FERRARO LAW FIRM                                 GOGGINS              MARY                  FL         2003CA013187     THE FERRARO LAW FIRM
FINNEY               GERALDINE             FL         0512056CA0115    THE FERRARO LAW FIRM                                 GOLDBERG             LISA                  FL         001505Z          THE FERRARO LAW FIRM
FJELD                FREDERICK D           FL         004899AD         THE FERRARO LAW FIRM                                 GOMEZ                FRANCES               FL         9512599          THE FERRARO LAW FIRM
FJELD                VILMA                 FL         004899AD         THE FERRARO LAW FIRM                                 GOMEZ                JOHN                  FL         9512599          THE FERRARO LAW FIRM
FLACK                MARYANN R             FL         0503819Z         THE FERRARO LAW FIRM                                 GOODMAN              NAOMI M               FL         999046Z          THE FERRARO LAW FIRM
FLEMING              WILLIAM               MA         1581CV07061      THE FERRARO LAW FIRM                                 GOSSETT              CONNIE JOE J          FL         990704Z          THE FERRARO LAW FIRM
FLOWERS              ROBERT E              FL         9918236          THE FERRARO LAW FIRM                                 GOSSETT              SHARON                FL         990704Z          THE FERRARO LAW FIRM
FLOWERS              RUTH E                FL         9918236          THE FERRARO LAW FIRM                                 GRACE                CICERO J              FL         990641Z          THE FERRARO LAW FIRM
FLOYD                CINDY                 FL         9912012          THE FERRARO LAW FIRM                                 GRADEL               LAWRENCE P            FL         0301525427       THE FERRARO LAW FIRM
FLOYD                HAYWARD               FL         9912012          THE FERRARO LAW FIRM                                 GRAHAM               GLENDA FAY            FL         2004CA002021     THE FERRARO LAW FIRM
FOLLETT              JANICE                FL         0412037          THE FERRARO LAW FIRM                                 GRAHAM               JAMES H               FL         2004CA002021     THE FERRARO LAW FIRM
FOLLETT              WILLIAM H             FL         0412037          THE FERRARO LAW FIRM                                 GRANDICK             ARLA                  FL         9610993          THE FERRARO LAW FIRM
FONSECA              JOSE L                FL         010514AD         THE FERRARO LAW FIRM                                 GRANDICK             JEROME B              FL         9610993          THE FERRARO LAW FIRM
FORET                PETER B               FL         0017401          THE FERRARO LAW FIRM                                 GRANDICK             PAUL R                FL         9610993          THE FERRARO LAW FIRM
FORTIN               ERNEST J              FL         1221444CA9       THE FERRARO LAW FIRM                                 GRANT                ROBERT E              FL         0409406          THE FERRARO LAW FIRM
FORTIN               SIMONNE               FL         1221444CA9       THE FERRARO LAW FIRM                                 GRAVITT              EDDIE J               FL         0503372Z         THE FERRARO LAW FIRM
FOSSETT              CLIFFORD              FL         9913905          THE FERRARO LAW FIRM                                 GRAVITT              TERESA                FL         0503372Z         THE FERRARO LAW FIRM
FOSSETT              JULIA                 FL         9913905          THE FERRARO LAW FIRM                                 GREEN                ALLEN                 MA         1581CV07104      THE FERRARO LAW FIRM
FOSTER               CHARLES               FL         9919627          THE FERRARO LAW FIRM                                 GREEN                ANN                   FL         0117188          THE FERRARO LAW FIRM
FOSTER               EUGENE                FL         9918237          THE FERRARO LAW FIRM                                 GREEN                JOSEPH R              FL         0117188          THE FERRARO LAW FIRM
FOSTER               PEARL                 FL         9919627          THE FERRARO LAW FIRM                                 GREEN                WILLARD H             FL         0100742          THE FERRARO LAW FIRM
FOSTER               STEPHEN W             FL         0415488CA42      THE FERRARO LAW FIRM                                 GREENE               HERBERT G             FL         991828727        THE FERRARO LAW FIRM
FOWLER               BARRY JOHN            FL         0407958          THE FERRARO LAW FIRM                                 GREENE               JOHN W                FL         2003CA009310     THE FERRARO LAW FIRM
FOWLER               BONNIE                FL         0407958          THE FERRARO LAW FIRM                                 GREENE               NITA W                FL         991828727        THE FERRARO LAW FIRM
FOX                  LOIS D                FL         04011459         THE FERRARO LAW FIRM                                 GREENLEAF            JAMES A               FL         0200559          THE FERRARO LAW FIRM




                                                                                                            Appendix A - 690
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 25 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GREENLEAF            PATRICIA              FL         0200559          THE FERRARO LAW FIRM                                 HILL                 JAMES E JR            FL         9606626          THE FERRARO LAW FIRM
GRIFFIN              EDDIE L               FL         998962Z          THE FERRARO LAW FIRM                                 HILL                 JENNIFER              FL         9606626          THE FERRARO LAW FIRM
GRIFFITH             LAWRENCE E            FL         9606612          THE FERRARO LAW FIRM                                 HINES                ROBERT D              FL         03015231         THE FERRARO LAW FIRM
GUNN                 JESSE M               FL         996889Z          THE FERRARO LAW FIRM                                 HINES                SAMUEL                FL         03015231         THE FERRARO LAW FIRM
GUNN                 MELINDA CLAUDETTE     FL         996889Z          THE FERRARO LAW FIRM                                 HINSON               JULIET                FL         0503716Z         THE FERRARO LAW FIRM
GURIAK               ALEX                  FL         9921197          THE FERRARO LAW FIRM                                 HINSON               MELTON A              FL         0503716Z         THE FERRARO LAW FIRM
GURIAK               BARBARA E             FL         9921197          THE FERRARO LAW FIRM                                 HIRST                ANN                   FL         011066AD         THE FERRARO LAW FIRM
GUTBROD              DAVID J               FL         03014969         THE FERRARO LAW FIRM                                 HIRST                SWAIN F               FL         011066AD         THE FERRARO LAW FIRM
GUTBROD              JUDITH                FL         03014969         THE FERRARO LAW FIRM                                 HODGE                EVERETT THOMAS        FL         9606592          THE FERRARO LAW FIRM
GUYNN                HAROLD R              FL         9611460          THE FERRARO LAW FIRM                                 HOLDEN               SANDRA                FL         998949Z          THE FERRARO LAW FIRM
GUYNN                KAREN                 FL         9611460          THE FERRARO LAW FIRM                                 HOLLEY               PERRY S               FL         996876Z          THE FERRARO LAW FIRM
GWOZDZ               EDWARD S              FL         05005680Z        THE FERRARO LAW FIRM                                 HOLLIS               CHRISTINE             FL         031371527        THE FERRARO LAW FIRM
GWOZDZ               MAE F                 FL         05005680Z        THE FERRARO LAW FIRM                                 HOLLIS               JAMES RAY             FL         031371527        THE FERRARO LAW FIRM
HAAS                 LUCILLE               FL         0219914CA10      THE FERRARO LAW FIRM                                 HOLLOMAN             MARION                FL         0503724Z         THE FERRARO LAW FIRM
HAAS                 RAYMOND E             FL         0219914CA10      THE FERRARO LAW FIRM                                 HOLMES               BETTY                 FL         990644Z          THE FERRARO LAW FIRM
HAGAN                KENNETH               MA         1581CV07115      THE FERRARO LAW FIRM                                 HOLMES               FRANK R               FL         0229676CA42      THE FERRARO LAW FIRM
HAGEN                RICHARD E             FL         0406680          THE FERRARO LAW FIRM                                 HOLMES               GEORGE                FL         990644Z          THE FERRARO LAW FIRM
HAGEN                SHIRLEY               FL         0406680          THE FERRARO LAW FIRM                                 HOLMES               LENORA                FL         0229676CA42      THE FERRARO LAW FIRM
HALEY                ANN                   FL         0314657          THE FERRARO LAW FIRM                                 HOLOWESKI            PATRICIA              FL         0505620Z         THE FERRARO LAW FIRM
HALEY                CHARLES L             FL         0314657          THE FERRARO LAW FIRM                                 HOLOWESKI            WALTER J              FL         0505620Z         THE FERRARO LAW FIRM
HALEY                EARL J                FL         0502704Z         THE FERRARO LAW FIRM                                 HOLT                 WILLIE J              FL         0505642Z         THE FERRARO LAW FIRM
HALL                 DOROTHY               FL         0407960          THE FERRARO LAW FIRM                                 HOOGHART             ANNIE L               FL         04012027         THE FERRARO LAW FIRM
HALL                 FRANCES               FL         008058AD         THE FERRARO LAW FIRM                                 HOOGHART             CORNELIUS L           FL         04012027         THE FERRARO LAW FIRM
HALL                 HUBERT H              FL         02011884         THE FERRARO LAW FIRM                                 HORAN                JAMES J               FL         0414959          THE FERRARO LAW FIRM
HALL                 JAMES                 FL         0500985927       THE FERRARO LAW FIRM                                 HORAN                JAMES P               FL         0414959          THE FERRARO LAW FIRM
HALL                 JAMES M               FL         0412039          THE FERRARO LAW FIRM                                 HOUSLEY              NANCY                 FL         990645Z          THE FERRARO LAW FIRM
HALL                 LEROY                 FL         9919629          THE FERRARO LAW FIRM                                 HOUSLEY              ROBERT                FL         990645Z          THE FERRARO LAW FIRM
HALL                 WILLIAM G             FL         0407960          THE FERRARO LAW FIRM                                 HOWARD               LEROY                 FL         01020452         THE FERRARO LAW FIRM
HALL                 WILLIAM H             FL         008058AD         THE FERRARO LAW FIRM                                 HOWARD               ROSA                  FL         01020452         THE FERRARO LAW FIRM
HALL                 CATHERINE             FL         0500985927       THE FERRARO LAW FIRM                                 HUELSBERG            LOUIS RODGER          FL         0406339          THE FERRARO LAW FIRM
HAMES                JAMES E               FL         0421632CA42      THE FERRARO LAW FIRM                                 HUELSBERG            MADELYN A             FL         0406339          THE FERRARO LAW FIRM
HAMMOND              LOISE                 FL         0502709Z         THE FERRARO LAW FIRM                                 HUGHES               LINDA                 FL         0200561427       THE FERRARO LAW FIRM
HAMMOND              LUNNIE                FL         0502709Z         THE FERRARO LAW FIRM                                 HUGHES               WAYNE P               FL         0200561427       THE FERRARO LAW FIRM
HANDLEY              CLAUDE                FL         04008000         THE FERRARO LAW FIRM                                 HUPP                 DELBERT N             FL         999397Z          THE FERRARO LAW FIRM
HANDLEY              DELORIS               FL         04008000         THE FERRARO LAW FIRM                                 HUPP                 PATRICIA              FL         999397Z          THE FERRARO LAW FIRM
HANLON               JAMES                 MA         1581CV07078      THE FERRARO LAW FIRM                                 HYDE                 JEFFREY               MA         1581CV07126      THE FERRARO LAW FIRM
HANSSEN              JAMES                 MA         1581CV07136      THE FERRARO LAW FIRM                                 IMBORDINO            ALBERT B              FL         975380DIVZ       THE FERRARO LAW FIRM
HARDEN               CHRISTINE             FL         975865DIVZ       THE FERRARO LAW FIRM                                 INGRAM               KELSEY E              FL         011063AD         THE FERRARO LAW FIRM
HARDEN               QUINCY                FL         975865DIVZ       THE FERRARO LAW FIRM                                 INGRAM               RUTH                  FL         011063AD         THE FERRARO LAW FIRM
HARDWICK             BETTY                 FL         9606611          THE FERRARO LAW FIRM                                 ISAAC                JOHN                  MA         1581CV07029      THE FERRARO LAW FIRM
HARDWICK             PAUL N                FL         9606611          THE FERRARO LAW FIRM                                 JACKSON              ADELLA                FL         050643727        THE FERRARO LAW FIRM
HARMAN               DAVID L               FL         9918307          THE FERRARO LAW FIRM                                 JACKSON              HARDIE D              FL         966442DIVZ       THE FERRARO LAW FIRM
HARMON               LINDA                 FL         9918307          THE FERRARO LAW FIRM                                 JACKSON              JAMES                 FL         998955Z          THE FERRARO LAW FIRM
HARRELL              ZADE W                FL         9919625          THE FERRARO LAW FIRM                                 JACKSON              PATSY                 FL         050643827        THE FERRARO LAW FIRM
HARRIS               GAYLYNN N             FL         0505652Z         THE FERRARO LAW FIRM                                 JACKSON              ROBERT E              FL         050643827        THE FERRARO LAW FIRM
HARRIS               JAMES G               FL         0505652Z         THE FERRARO LAW FIRM                                 JACKSON              ROBERT L              FL         050643727        THE FERRARO LAW FIRM
HARRIS               MAE HELEN             FL         0505623Z         THE FERRARO LAW FIRM                                 JACKSON              SARAH E               FL         0313735          THE FERRARO LAW FIRM
HARRIS               QUINTON H             FL         0505623Z         THE FERRARO LAW FIRM                                 JACKSON              WILLIAM DAVID         FL         0313735          THE FERRARO LAW FIRM
HARTFORD             CHARLES L             FL         02005184         THE FERRARO LAW FIRM                                 JACQUES              HENRY E               FL         9508243          THE FERRARO LAW FIRM
HARTWELL             WILLIAM               MA         1581CV07120      THE FERRARO LAW FIRM                                 JAMES                HATTIE M              FL         2004CA002038     THE FERRARO LAW FIRM
HARWOOD              DONNA                 FL         050645827        THE FERRARO LAW FIRM                                 JAMES                LEROY                 FL         2004CA002038     THE FERRARO LAW FIRM
HAWKINS              EUGENE                FL         0503818Z         THE FERRARO LAW FIRM                                 JENKINS              ARTHUR L              FL         0505615Z         THE FERRARO LAW FIRM
HAYES                MICHAEL               MA         1581CV07022      THE FERRARO LAW FIRM                                 JENKINS              PEARLIE MAE           FL         0505615Z         THE FERRARO LAW FIRM
HAYWARD              JESSE                 FL         998941Z          THE FERRARO LAW FIRM                                 JOHNSON              CATHERINE             FL         05005671Z        THE FERRARO LAW FIRM
HAYWOOD              JACOB                 FL         998941Z          THE FERRARO LAW FIRM                                 JOHNSON              CHARLES E             FL         0505634Z         THE FERRARO LAW FIRM
HEANEY               JOSEPH                MA         1581CV07041      THE FERRARO LAW FIRM                                 JOHNSON              EVELYN                FL         0323065CA42      THE FERRARO LAW FIRM
HEIKKINEN            BERNARD E             FL         0500872527       THE FERRARO LAW FIRM                                 JOHNSON              EVELYN L              FL         9918290          THE FERRARO LAW FIRM
HELMS                MARY E                FL         8812330CA25      THE FERRARO LAW FIRM                                 JOHNSON              GUSS                  FL         05005671Z        THE FERRARO LAW FIRM
HELMS                TERRY K               FL         8812330CA25      THE FERRARO LAW FIRM                                 JOHNSON              H KENNETH             MA         1581CV07103      THE FERRARO LAW FIRM
HENAULT              EMILY                 FL         030549527        THE FERRARO LAW FIRM                                 JOHNSON              HERSCHEL L            FL         9919620          THE FERRARO LAW FIRM
HENAULT              ROLAND G              FL         030549527        THE FERRARO LAW FIRM                                 JOHNSON              JERRY LESTER          FL         03014635         THE FERRARO LAW FIRM
HENDERSON            MINNIE O              FL         990708Z          THE FERRARO LAW FIRM                                 JOHNSON              JESSE J               FL         9918229          THE FERRARO LAW FIRM
HENLEY               BARNELL               FL         09027856         THE FERRARO LAW FIRM                                 JOHNSON              JEWEL T               FL         0323066CA42      THE FERRARO LAW FIRM
HENLEY               MARY                  FL         09027856         THE FERRARO LAW FIRM                                 JOHNSON              LEROY E               FL         0323066CA42      THE FERRARO LAW FIRM
HERLIHY              RICHARD               MA         1581CV07079      THE FERRARO LAW FIRM                                 JOHNSON              NANCY L               FL         03014635         THE FERRARO LAW FIRM
HERRING              JAMES F               FL         0505626Z         THE FERRARO LAW FIRM                                 JOHNSON              RICHARD L             FL         04004416         THE FERRARO LAW FIRM
HERRING              BETTY ANN             FL         0505626Z         THE FERRARO LAW FIRM                                 JOHNSON              SAM W                 FL         0323065CA42      THE FERRARO LAW FIRM
HETTMAN              STEPHEN               MA         1581CV07101      THE FERRARO LAW FIRM                                 JOHNSTON             BOBBY G               FL         998957Z          THE FERRARO LAW FIRM
HIGGINS              WILLIAM               MA         1581CV07105      THE FERRARO LAW FIRM                                 JOHNSTON             DOROTHY J             FL         998957Z          THE FERRARO LAW FIRM
HILL                 ANGELA                FL         01020400         THE FERRARO LAW FIRM                                 JONES                ALFRED                MA         1581CV07071      THE FERRARO LAW FIRM
HILL                 FARNTANZA             FL         01020400         THE FERRARO LAW FIRM                                 JONES                AMY                   FL         07CA013793       THE FERRARO LAW FIRM




                                                                                                            Appendix A - 691
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 26 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JONES                BARBARA               FL         030551427        THE FERRARO LAW FIRM                                 KORNEGAY             CHARLES C             FL         0502714Z         THE FERRARO LAW FIRM
JONES                BOBBY L               FL         0403938AD        THE FERRARO LAW FIRM                                 KROKEN               EUNICE                FL         03014988         THE FERRARO LAW FIRM
JONES                CLIFTON N             FL         0505655Z         THE FERRARO LAW FIRM                                 KROKEN               RONALD R              FL         03014988         THE FERRARO LAW FIRM
JONES                CLINTON E             FL         05005667Z        THE FERRARO LAW FIRM                                 KROL                 MICHAEL F             FL         03014984         THE FERRARO LAW FIRM
JONES                CRAWFORD              FL         01012065         THE FERRARO LAW FIRM                                 KROL                 SHIRLEY               FL         03014984         THE FERRARO LAW FIRM
JONES                DANIEL                FL         07CA013793       THE FERRARO LAW FIRM                                 KROPTAVICH           ROBERT P              FL         0505658Z         THE FERRARO LAW FIRM
JONES                EDNA P                FL         0505655Z         THE FERRARO LAW FIRM                                 KROPTAVICH           SHARON L              FL         0505658Z         THE FERRARO LAW FIRM
JONES                ELLIS G               FL         030551427        THE FERRARO LAW FIRM                                 LACEY                DAVID J               FL         02570127         THE FERRARO LAW FIRM
JONES                ERNEST A              FL         010490AD         THE FERRARO LAW FIRM                                 LACEY                KATHLEEN              FL         02570127         THE FERRARO LAW FIRM
JONES                FRANCES               FL         0120399          THE FERRARO LAW FIRM                                 LACKAJS              ALBERTS A             FL         004324Z          THE FERRARO LAW FIRM
JONES                FREDERICK D           FL         0120399          THE FERRARO LAW FIRM                                 LACKAJS              LAILA                 FL         004324Z          THE FERRARO LAW FIRM
JONES                JAMES C JR            FL         9807066Z         THE FERRARO LAW FIRM                                 LACROIX              DEBRA                 FL         0314982          THE FERRARO LAW FIRM
JONES                JAMES M               FL         502016CA010676   THE FERRARO LAW FIRM                                 LACROIX              DENNIS R              FL         0314982          THE FERRARO LAW FIRM
JONES                KENNETH R             FL         0505662Z         THE FERRARO LAW FIRM                                 LAIRD                CYRUS D               FL         9918303          THE FERRARO LAW FIRM
JONES                LAWRENCE              FL         0323174CA42      THE FERRARO LAW FIRM                                 LAIRD                MARY                  FL         9918303          THE FERRARO LAW FIRM
JONES                LILA J                FL         05005667Z        THE FERRARO LAW FIRM                                 LAIS                 CHARLES A             FL         050642927        THE FERRARO LAW FIRM
JONES                MILDRED               FL         010490AD         THE FERRARO LAW FIRM                                 LAIS                 KAYE                  FL         050642927        THE FERRARO LAW FIRM
JONES                PATSY ANN             FL         0403938AD        THE FERRARO LAW FIRM                                 LAMBERT              OLIVER T              FL         04006340         THE FERRARO LAW FIRM
JONES                RACHAEL               FL         07CA013793       THE FERRARO LAW FIRM                                 LAMONTAGNE           JOAN                  FL         03015032         THE FERRARO LAW FIRM
JONES                RITA                  FL         01012065         THE FERRARO LAW FIRM                                 LAMONTAGNE           ROBERT E              FL         03015032         THE FERRARO LAW FIRM
JONES                ROBERT M              FL         07CA013793       THE FERRARO LAW FIRM                                 LAMOREAUX            CURTIS R              FL         0315167          THE FERRARO LAW FIRM
JONES                TIMOTHY               FL         07CA013793       THE FERRARO LAW FIRM                                 LAMPKE               ADELAIDE              FL         02004785         THE FERRARO LAW FIRM
JONES                VICKIE                FL         0505662Z         THE FERRARO LAW FIRM                                 LAMPKE               HASKELL               FL         02004785         THE FERRARO LAW FIRM
JORDAN               VIVIAN                FL         9703229CA42      THE FERRARO LAW FIRM                                 LANE                 ELMER W               FL         9900648Z         THE FERRARO LAW FIRM
JORDAN               WILLIAM W             FL         9703229CA42      THE FERRARO LAW FIRM                                 LANE                 GORDON A              FL         9918228          THE FERRARO LAW FIRM
KALASANCKAS          VICTOR N              FL         990993Z          THE FERRARO LAW FIRM                                 LANE                 LINDA KAY             FL         9900648Z         THE FERRARO LAW FIRM
KAMINSKI             ARTHUR C              FL         051369627        THE FERRARO LAW FIRM                                 LANE                 VIRGINIA R            FL         9918228          THE FERRARO LAW FIRM
KAMINSKI             FAITH L               FL         051369627        THE FERRARO LAW FIRM                                 LARDY                ARLON H               FL         0406349          THE FERRARO LAW FIRM
KAMINSKI             RONALD                FL         051369627        THE FERRARO LAW FIRM                                 LARDY                JESSIE                FL         0406349          THE FERRARO LAW FIRM
KASSNER              DONALD E              FL         9918239          THE FERRARO LAW FIRM                                 LARSON               GENE E                FL         2003CA009281     THE FERRARO LAW FIRM
KEAN                 KENNETH L             FL         0505633Z         THE FERRARO LAW FIRM                                 LARSON               LYNN A                FL         2003CA009281     THE FERRARO LAW FIRM
KEAN                 SUSAN                 FL         0505633Z         THE FERRARO LAW FIRM                                 LAURENT              RONALD                MA         1581CV07118      THE FERRARO LAW FIRM
KEARNEY              WILLIAM               MA         1581CV07107      THE FERRARO LAW FIRM                                 LAVIS                KIMBERLY              FL         0100742          THE FERRARO LAW FIRM
KEARNS               OSCAR M               FL         9809056Z         THE FERRARO LAW FIRM                                 LEDIG                JACK R                FL         998961Z          THE FERRARO LAW FIRM
KEEGAN               DANIEL                MA         1581CV07045      THE FERRARO LAW FIRM                                 LEDIG                KATHARINE             FL         998961Z          THE FERRARO LAW FIRM
KEGLEY               GEORGE                FL         0511692CA42      THE FERRARO LAW FIRM                                 LEE                  LOUIS                 FL         0315157          THE FERRARO LAW FIRM
KEGLEY               WANDA                 FL         0511692CA42      THE FERRARO LAW FIRM                                 LEFEBVRE             JEAN M                FL         9918642          THE FERRARO LAW FIRM
KEIFER               DAVID L               FL         0903884Z         THE FERRARO LAW FIRM                                 LEONARD              CAROLYN               FL         03015022         THE FERRARO LAW FIRM
KEIFER               NANCY L               FL         0903884Z         THE FERRARO LAW FIRM                                 LEONARD              DAVID N               FL         03015022         THE FERRARO LAW FIRM
KEIFER               STEVEN                FL         0903884Z         THE FERRARO LAW FIRM                                 LESKO                FRANK J               FL         0314999          THE FERRARO LAW FIRM
KELLER               EMMA D                FL         14002573         THE FERRARO LAW FIRM                                 LESKO                HAZEL                 FL         0314999          THE FERRARO LAW FIRM
KELLER               FREDDIE               FL         14002573         THE FERRARO LAW FIRM                                 LEWINSKI             ERVIN PETER           FL         05005677Z        THE FERRARO LAW FIRM
KELLEY               GAIL                  FL         04008005         THE FERRARO LAW FIRM                                 LEWINSKI             JEAN                  FL         05005677Z        THE FERRARO LAW FIRM
KELLEY               GERALD                FL         04008005         THE FERRARO LAW FIRM                                 LEWIS                ALPHONSE              FL         9913959          THE FERRARO LAW FIRM
KELLEY               GERALDINE             FL         0415436CA42      THE FERRARO LAW FIRM                                 LEWIS                FLAVIS D              FL         9605949          THE FERRARO LAW FIRM
KELLEY               JOHN P                FL         0415436CA42      THE FERRARO LAW FIRM                                 LEWIS                HUBERT A              FL         9606602          THE FERRARO LAW FIRM
KELLEY               THOMAS                MA         1581CV07121      THE FERRARO LAW FIRM                                 LEWIS                MINNIE                FL         9913959          THE FERRARO LAW FIRM
KELLIHER             ANN C                 FL         9918232          THE FERRARO LAW FIRM                                 LEWIS                RONNIE                FL         0503725Z         THE FERRARO LAW FIRM
KELLIHER             ROBERT L              FL         9918232          THE FERRARO LAW FIRM                                 LEWIS                VICTOR                MA         1581CV07106      THE FERRARO LAW FIRM
KELLY                AZOR E                FL         0114216          THE FERRARO LAW FIRM                                 LINDLEY              ARCHIE L              FL         0412051          THE FERRARO LAW FIRM
KELLY                NEALE                 MA         1581CV07028      THE FERRARO LAW FIRM                                 LINDLEY              DARTHEA               FL         0412051          THE FERRARO LAW FIRM
KELLY                SUE                   FL         0114216          THE FERRARO LAW FIRM                                 LITCHMORE            SIMEON                FL         9606038          THE FERRARO LAW FIRM
KELTER               MARK A                FL         0315294CA42      THE FERRARO LAW FIRM                                 LITTLE               EVA E                 FL         2003CA011258     THE FERRARO LAW FIRM
KEMP                 MARTHA E              FL         9918241          THE FERRARO LAW FIRM                                 LITTLE               HARRY DONNELL         FL         2003CA011258     THE FERRARO LAW FIRM
KEMP                 MERRILL J             FL         9918241          THE FERRARO LAW FIRM                                 LITTLEJOHN           JAMES                 FL         0502706Z         THE FERRARO LAW FIRM
KENDRICK             GARY R                FL         050643027        THE FERRARO LAW FIRM                                 LIUZZO               JOSEPH D              FL         04006363         THE FERRARO LAW FIRM
KENDRICK             PAM                   FL         050643027        THE FERRARO LAW FIRM                                 LIUZZO               KAREN                 FL         04006363         THE FERRARO LAW FIRM
KENT                 JANE                  FL         9908350          THE FERRARO LAW FIRM                                 LOEWEN               DONALD J              FL         0404390          THE FERRARO LAW FIRM
KENT                 JERRY L               FL         9908350          THE FERRARO LAW FIRM                                 LOEWEN               EMILY F               FL         0404390          THE FERRARO LAW FIRM
KEOUGH               LEONARD               MA         1581CV07005      THE FERRARO LAW FIRM                                 LOGAN                MARY                  FL         0500644927       THE FERRARO LAW FIRM
KIMBRELL             JOHN C                FL         0505644Z         THE FERRARO LAW FIRM                                 LOGAN                ROBERT BRUCE          FL         0500644927       THE FERRARO LAW FIRM
KING                 HENRY W               FL         0503714Z         THE FERRARO LAW FIRM                                 LOMBARDI             CHRISTOPHER           FL         0117189          THE FERRARO LAW FIRM
KING                 JAMES W               FL         9611453          THE FERRARO LAW FIRM                                 LOMBARDI             EILEEN                FL         0117189          THE FERRARO LAW FIRM
KING                 JUDY                  FL         0503714Z         THE FERRARO LAW FIRM                                 LONDON               BARBARA               FL         04006848         THE FERRARO LAW FIRM
KING                 RONALD E              FL         502004CA001871   THE FERRARO LAW FIRM                                 LONDON               RICHARD C             FL         04006848         THE FERRARO LAW FIRM
KING                 SUE                   FL         9611453          THE FERRARO LAW FIRM                                 LONG                 JAMES L               FL         998942Z          THE FERRARO LAW FIRM
KING                 WILLIAM               MA         1581CV07011      THE FERRARO LAW FIRM                                 LONG                 KATHY                 FL         05005672Z        THE FERRARO LAW FIRM
KNOWLES              KENNETH W             FL         010516AD         THE FERRARO LAW FIRM                                 LONG                 MARY E                FL         998942Z          THE FERRARO LAW FIRM
KONIECZNY            ANNIE                 FL         04001519         THE FERRARO LAW FIRM                                 LONG                 ROGER C               FL         05005672Z        THE FERRARO LAW FIRM
KONIECZNY            KARL T                FL         04001519         THE FERRARO LAW FIRM                                 LONG                 TROY O                FL         0508471CA42      THE FERRARO LAW FIRM
KORNEGAY             BETTY V               FL         0502714Z         THE FERRARO LAW FIRM                                 LONKEY               BETTY                 FL         004320Z          THE FERRARO LAW FIRM




                                                                                                            Appendix A - 692
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 27 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LONKEY               DALE V                FL         004320Z          THE FERRARO LAW FIRM                                 MCCLELLON            BARRY W               FL         050644127        THE FERRARO LAW FIRM
LORENZ               KATHLEEN              FL         0315268          THE FERRARO LAW FIRM                                 MCCLELLON            TRACY                 FL         050644127        THE FERRARO LAW FIRM
LORENZ               RUDOLPH K             FL         0315268          THE FERRARO LAW FIRM                                 MCCLURE              HARRY                 FL         991390327        THE FERRARO LAW FIRM
LORNE                JOANN                 FL         0511687CA42      THE FERRARO LAW FIRM                                 MCCLURE              MARY                  FL         991390327        THE FERRARO LAW FIRM
LORNE                JOHN                  FL         0511687CA42      THE FERRARO LAW FIRM                                 MCCOLGAN             FRANCIS J             FL         0200570227       THE FERRARO LAW FIRM
LOWE                 ELSIE B               FL         9918289          THE FERRARO LAW FIRM                                 MCCORMICK            JAYNE                 FL         9606833CA42      THE FERRARO LAW FIRM
LOWE                 KENNETH L             FL         9918289          THE FERRARO LAW FIRM                                 MCCORMICK            WILLIAM ARTIS         FL         9606833CA42      THE FERRARO LAW FIRM
LOYLESS              BILLIE M              FL         9918225          THE FERRARO LAW FIRM                                 MCCULLOUGH           HOUSTON G             FL         0415445CA42      THE FERRARO LAW FIRM
LOYLESS              GARLAND W             FL         9918225          THE FERRARO LAW FIRM                                 MCCULLOUGH           LOUISE                FL         0415445CA42      THE FERRARO LAW FIRM
LUOKKALA             VERONICA ANDERSON     FL         06015792         THE FERRARO LAW FIRM                                 MCDERMOTT            CARY                  MA         1581CV07014      THE FERRARO LAW FIRM
LUPRIORE             LEONARD               FL         9921171          THE FERRARO LAW FIRM                                 MCFARLIN             LAWRENCE              FL         10007786Z        THE FERRARO LAW FIRM
LUSIETTO             BERNADETTE            FL         0502698Z         THE FERRARO LAW FIRM                                 MCFARLIN             LIND                  FL         10007786Z        THE FERRARO LAW FIRM
LUSIETTO             JAMES S               FL         0502698Z         THE FERRARO LAW FIRM                                 MCGEE                JOHN I                FL         03015001         THE FERRARO LAW FIRM
LYNCH                RICHARD               MA         1581CV07122      THE FERRARO LAW FIRM                                 MCGEE                LINDA                 FL         03015001         THE FERRARO LAW FIRM
LYNN                 HARTRIDGE BLAIN       FL         967450DIVZ       THE FERRARO LAW FIRM                                 MCGOVERN             MICHAEL G             FL         999048Z          THE FERRARO LAW FIRM
LYON                 DAWSON J              FL         9510242          THE FERRARO LAW FIRM                                 MCGOWAN              ROBERT                MA         1581CV07087      THE FERRARO LAW FIRM
LYON                 SYLVIA                FL         9510242          THE FERRARO LAW FIRM                                 MCGUIRE              RONALD D              FL         0404408          THE FERRARO LAW FIRM
LYONS                LEONARD               MA         1581CV07055      THE FERRARO LAW FIRM                                 MCHALE               JAMES                 FL         990837AD         THE FERRARO LAW FIRM
MAAS                 GILBERT               FL         9512475          THE FERRARO LAW FIRM                                 MCHARDY              RALPH                 MA         1581CV07135      THE FERRARO LAW FIRM
MACCONNELL           ROBERT E              FL         0505640Z         THE FERRARO LAW FIRM                                 MCILWAIN             LUTHER                FL         2004CA000955     THE FERRARO LAW FIRM
MADDEN               LARRY D               FL         02010453         THE FERRARO LAW FIRM                                 MCKILLICAN           BYRON                 FL         9606601          THE FERRARO LAW FIRM
MADDEN               LYDIA                 FL         04004360         THE FERRARO LAW FIRM                                 MCKINNEY             BETTY ANN             FL         9919628          THE FERRARO LAW FIRM
MADDEN               MARVIN                FL         04004360         THE FERRARO LAW FIRM                                 MCKINNEY             WILBURN H             FL         9919628          THE FERRARO LAW FIRM
MADDEN               ROBBIE                FL         02010453         THE FERRARO LAW FIRM                                 MCKNIGHT             HUGHLON               FL         0505649Z         THE FERRARO LAW FIRM
MAGUIRE              MICHAEL               MA         1581CV07007      THE FERRARO LAW FIRM                                 MCKNIGHT             JEAN                  FL         0505649Z         THE FERRARO LAW FIRM
MALARNEY             KEVIN                 MA         1581CV07010      THE FERRARO LAW FIRM                                 MCMILLAN             CARRIE                FL         0505203Z         THE FERRARO LAW FIRM
MALONE               JOSEPH                MA         1581CV07009      THE FERRARO LAW FIRM                                 MCMILLAN             WALTER L              FL         0505203Z         THE FERRARO LAW FIRM
MANCIL               ELLEN                 FL         9604463          THE FERRARO LAW FIRM                                 MCMULLIN             BARBARA               FL         0503374Z         THE FERRARO LAW FIRM
MANCIL               LARRY                 FL         9604463          THE FERRARO LAW FIRM                                 MCMULLIN             WILLIE                FL         0503374Z         THE FERRARO LAW FIRM
MANGOLD              PAULINE G             FL         0401534          THE FERRARO LAW FIRM                                 MCNAIR               CAROL Y               FL         998950Z          THE FERRARO LAW FIRM
MANGOLD              WILLIAM R             FL         0401534          THE FERRARO LAW FIRM                                 MCNEIL               JEROME                FL         990649Z          THE FERRARO LAW FIRM
MANNING              FRANCES               FL         9918313          THE FERRARO LAW FIRM                                 MCNEIL               RACHAEL               FL         990649Z          THE FERRARO LAW FIRM
MANNING              JOSEPH E              FL         9918313          THE FERRARO LAW FIRM                                 MCPHERSON            CAROL LEE             FL         9919077          THE FERRARO LAW FIRM
MANNING              THOMAS                MA         1581CV06973      THE FERRARO LAW FIRM                                 MCPHERSON            JAMES M               FL         9919077          THE FERRARO LAW FIRM
MARCHMAN             MARCUS G              FL         0503373Z         THE FERRARO LAW FIRM                                 MCRAE                GUYLER J              FL         0324516CA42      THE FERRARO LAW FIRM
MARDEN               JAMES                 MA         1581CV07094      THE FERRARO LAW FIRM                                 MCRAE                HARVEY L              FL         0324516CA42      THE FERRARO LAW FIRM
MARGADONNA           CHRISTINE             FL         9913916          THE FERRARO LAW FIRM                                 MEARS                EDNA L                FL         9918284          THE FERRARO LAW FIRM
MARGADONNA           THOMAS                FL         9913916          THE FERRARO LAW FIRM                                 MEARS                HARRY M               FL         9918284          THE FERRARO LAW FIRM
MARHAFER             MARY                  FL         01017140         THE FERRARO LAW FIRM                                 MELTON               GRADY E               FL         0323185CA42      THE FERRARO LAW FIRM
MARHAFER             WALTER F              FL         01017140         THE FERRARO LAW FIRM                                 MELTON               PHYLLIS P             FL         0323185CA42      THE FERRARO LAW FIRM
MARSDEN              PAULA                 FL         03015060         THE FERRARO LAW FIRM                                 MELVILLE             MYRTL                 FL         9900650Z         THE FERRARO LAW FIRM
MARSDEN              ROBERT E              FL         03015060         THE FERRARO LAW FIRM                                 MELVILLE             WALTER T              FL         9900650Z         THE FERRARO LAW FIRM
MARSH                CORINDA               FL         999049Z          THE FERRARO LAW FIRM                                 MENGHE               BERNICE               FL         ADMIN            THE FERRARO LAW FIRM
MARTIN               ARNOLD L              FL         0412038          THE FERRARO LAW FIRM                                 MENGHE               LOUIS                 FL         ADMIN            THE FERRARO LAW FIRM
MARTIN               JUDY G                FL         0412038          THE FERRARO LAW FIRM                                 MERIFIELD            WILIFRED H            FL         0313705          THE FERRARO LAW FIRM
MARTIN               LAURENCE              MA         1581CV07020      THE FERRARO LAW FIRM                                 MERRITT              JIMMIE P              FL         9918639          THE FERRARO LAW FIRM
MARTIN               LOIS B                FL         9918645          THE FERRARO LAW FIRM                                 MERSCHDORF           ALBERT                FL         0315154          THE FERRARO LAW FIRM
MARTIN               PAUL                  MA         1581CV07073      THE FERRARO LAW FIRM                                 MERSCHDORF           Sally                 FL         0315154          THE FERRARO LAW FIRM
MARTIN               WILLIAM L             FL         9918645          THE FERRARO LAW FIRM                                 MEYER                MICHELE               FL         0903884Z         THE FERRARO LAW FIRM
MARTINEZ             ANTONIO               FL         0114957          THE FERRARO LAW FIRM                                 MEYRICK              RUSSELL P             FL         109706Z          THE FERRARO LAW FIRM
MARTINEZ             MATILLDA              FL         0114957          THE FERRARO LAW FIRM                                 MICKENS              ALMA GALE             FL         0403942AD        THE FERRARO LAW FIRM
MASSA                ROBERT                MA         1581CV07080      THE FERRARO LAW FIRM                                 MICKENS              WILLIAM C             FL         0403942AD        THE FERRARO LAW FIRM
MASTIN               FRED                  FL         9911281          THE FERRARO LAW FIRM                                 MIGLIOSI             BRUNO                 FL         ADMIN            THE FERRARO LAW FIRM
MASUCA               EARL B                FL         0503390Z         THE FERRARO LAW FIRM                                 MIGLIOSI             ROSE                  FL         ADMIN            THE FERRARO LAW FIRM
MATHERSON            JOHN H                FL         9918312          THE FERRARO LAW FIRM                                 MIGLOISI             BRUNO                 FL         ADMIN            THE FERRARO LAW FIRM
MATHERSON            RUBY                  FL         9918312          THE FERRARO LAW FIRM                                 MILLER               DANIEL                MA         1581CV06991      THE FERRARO LAW FIRM
MATHEWS              RONNIE K              FL         9918246          THE FERRARO LAW FIRM                                 MILLER               EARNISTINE            FL         999034Z          THE FERRARO LAW FIRM
MATHEWS              VONTRILLA             FL         9918246          THE FERRARO LAW FIRM                                 MILLER               I DANIEL              FL         03014571         THE FERRARO LAW FIRM
MAUK                 CHARLES D             FL         04006338         THE FERRARO LAW FIRM                                 MILLER               OTIS                  FL         996884Z          THE FERRARO LAW FIRM
MAUK                 DEBB                  FL         04006338         THE FERRARO LAW FIRM                                 MILLER               RONALD E              FL         999034Z          THE FERRARO LAW FIRM
MAULDIN              DELMA                 FL         0404631CA42      THE FERRARO LAW FIRM                                 MILOTA               JOE LARRY             FL         0315165          THE FERRARO LAW FIRM
MAULDIN              JOYCE ANN             FL         0404631CA42      THE FERRARO LAW FIRM                                 MILOTA               SANDRA                FL         0315165          THE FERRARO LAW FIRM
MAXWELL              BRAD                  MA         1581CV07017      THE FERRARO LAW FIRM                                 MINER                EVELYN                FL         0505648Z         THE FERRARO LAW FIRM
MAY                  ELIZABETH A           FL         9918288          THE FERRARO LAW FIRM                                 MINER                JOHN L                FL         0505648Z         THE FERRARO LAW FIRM
MAY                  JAMES E               FL         049456CA09       THE FERRARO LAW FIRM                                 MINESAL              CHARLES J             FL         03015311         THE FERRARO LAW FIRM
MAY                  JERRY A               FL         9918288          THE FERRARO LAW FIRM                                 MINESAL              GLORIA V              FL         03015311         THE FERRARO LAW FIRM
MAY                  MARJORIE              FL         049456CA09       THE FERRARO LAW FIRM                                 MITCHELL             NENA F                FL         9919631          THE FERRARO LAW FIRM
MAZLACK              SAMUEL J              FL         0213560          THE FERRARO LAW FIRM                                 MITCHELL             O MACK                FL         9919631          THE FERRARO LAW FIRM
MCANDREW             JOESPH                MA         1581CV07059      THE FERRARO LAW FIRM                                 MITTON               ROBERT                MA         1581CV07119      THE FERRARO LAW FIRM
MCCANN               ELAINE                FL         0117143          THE FERRARO LAW FIRM                                 MOEN                 LORETTA               FL         0503710Z         THE FERRARO LAW FIRM
MCCANN               WALTER H              FL         0117143          THE FERRARO LAW FIRM                                 MOEN                 WILLIAM R             FL         0503710Z         THE FERRARO LAW FIRM




                                                                                                            Appendix A - 693
                                                            Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 28 of 484



Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MONARCH              RICHARD                MA         1581CV07096      THE FERRARO LAW FIRM                                 NUNEMAKER            GRACE                 FL         03016867         THE FERRARO LAW FIRM
MONTAGINO            ANTHONY NORMAN         FL         965852DIVZ       THE FERRARO LAW FIRM                                 NUNEMAKER            NORMAN R              FL         03016867         THE FERRARO LAW FIRM
MONTAGINO            ROSIE LEE              FL         965852DIVZ       THE FERRARO LAW FIRM                                 O'DANIEL             ROBERT E              FL         0500986327       THE FERRARO LAW FIRM
MONTEIRO             ANDRE                  MA         1581CV06997      THE FERRARO LAW FIRM                                 O'DANIEL             ROSIE M               FL         0500986327       THE FERRARO LAW FIRM
MONTGOMERY           CB                     FL         999497Z          THE FERRARO LAW FIRM                                 ODEN                 JOYCE                 FL         0505629Z         THE FERRARO LAW FIRM
MONTGOMERY           JACK B                 FL         0502699Z         THE FERRARO LAW FIRM                                 ODEN                 WILLIS                FL         0505629Z         THE FERRARO LAW FIRM
MONTGOMERY           NANCY                  FL         999497Z          THE FERRARO LAW FIRM                                 ODUM                 OLLIE                 FL         0502718Z         THE FERRARO LAW FIRM
MONTGOMERY           SHARON                 FL         0502699Z         THE FERRARO LAW FIRM                                 O'NEILL              CHARLES               MA         1581CV07023      THE FERRARO LAW FIRM
MOODY                CATHRYN                FL         050644327        THE FERRARO LAW FIRM                                 OSBURNE              BOBBIE SUE            FL         0500644527       THE FERRARO LAW FIRM
MOODY                CURTIS R               FL         050644327        THE FERRARO LAW FIRM                                 OSBURNE              JOHN D                FL         0500644527       THE FERRARO LAW FIRM
MOORE                CHARLES A              FL         0505630Z         THE FERRARO LAW FIRM                                 OSTER                WILTON A              FL         999042Z          THE FERRARO LAW FIRM
MOORE                IVEA                   FL         0505630Z         THE FERRARO LAW FIRM                                 OSTROWSKI            RAYMOND D             FL         0301525727       THE FERRARO LAW FIRM
MOREAU               JOHN C                 FL         0314651          THE FERRARO LAW FIRM                                 OUTLAW               ALPHY R               FL         9919630          THE FERRARO LAW FIRM
MOREAU               NACY                   FL         0314651          THE FERRARO LAW FIRM                                 OUTLAW               KATHRYN               FL         9919630          THE FERRARO LAW FIRM
MORGAN               ARLO J                 FL         0505624Z         THE FERRARO LAW FIRM                                 OWEN                 JOSEPH D              FL         04007971         THE FERRARO LAW FIRM
MORGAN               GUADALUPE              FL         0505624Z         THE FERRARO LAW FIRM                                 OWEN                 SHARON                FL         04007971         THE FERRARO LAW FIRM
MORRIS               DORCAS                 FL         0503720Z         THE FERRARO LAW FIRM                                 OWENS                SARA O                FL         0502707Z         THE FERRARO LAW FIRM
MORRIS               JACK                   FL         0503720Z         THE FERRARO LAW FIRM                                 OWENS                WILLIAM T             FL         0502707Z         THE FERRARO LAW FIRM
MORRIS               JOE ANN                FL         9908794Z         THE FERRARO LAW FIRM                                 PAGE                 GAIL E                FL         996877Z          THE FERRARO LAW FIRM
MORRIS               KENNETH E              FL         9908794Z         THE FERRARO LAW FIRM                                 PAGE                 JOHN H                FL         996877Z          THE FERRARO LAW FIRM
MOSELEY              CHARLES W              FL         9918224          THE FERRARO LAW FIRM                                 PALEN                DIANA                 FL         03015258         THE FERRARO LAW FIRM
MOSELEY              HILDA H                FL         9918224          THE FERRARO LAW FIRM                                 PALEN                HAROLD C              FL         03015258         THE FERRARO LAW FIRM
MOYE                 WILLIAM W              FL         0500642627       THE FERRARO LAW FIRM                                 PALL                 EDWARD F              FL         0315030          THE FERRARO LAW FIRM
MUCHEMORE            RONALD L               FL         02004796         THE FERRARO LAW FIRM                                 PALL                 MILDRED               FL         0315030          THE FERRARO LAW FIRM
MUCHORSKI            DONNA                  FL         03015299         THE FERRARO LAW FIRM                                 PAQUIN               LARRY E               FL         0314963          THE FERRARO LAW FIRM
MUCHORSKI            LEO                    FL         03015299         THE FERRARO LAW FIRM                                 PARADIS              DEBORAH               FL         050645827        THE FERRARO LAW FIRM
MUDRY                GEORGE A               FL         012040227        THE FERRARO LAW FIRM                                 PARKER               JAMES D               FL         996883Z          THE FERRARO LAW FIRM
MUDRY                RUTH                   FL         012040227        THE FERRARO LAW FIRM                                 PARKER               JAMES J               FL         996883Z          THE FERRARO LAW FIRM
MULL                 MARJORIE D             FL         0406343          THE FERRARO LAW FIRM                                 PARKER               THOMAS                FL         996084Z          THE FERRARO LAW FIRM
MULL                 RONALD C               FL         0406343          THE FERRARO LAW FIRM                                 PARMER               FRANKLIN L            FL         9609787          THE FERRARO LAW FIRM
MULLEN               D EILEEN               FL         991274Z          THE FERRARO LAW FIRM                                 PARNELL              JT                    FL         9809141Z         THE FERRARO LAW FIRM
MULLEN               JAMES R                FL         991274Z          THE FERRARO LAW FIRM                                 PARNELL              PATSY ANN             FL         9809141Z         THE FERRARO LAW FIRM
MURPHY               CHARLENE               FL         9918301          THE FERRARO LAW FIRM                                 PARRIS               ARTHUR                FL         0503817Z         THE FERRARO LAW FIRM
MURPHY               FRANKLIN               FL         9918301          THE FERRARO LAW FIRM                                 PATITZ               DOROTHY MAE           FL         0313750          THE FERRARO LAW FIRM
MURRAY               EDWARD                 MA         1581CV07048      THE FERRARO LAW FIRM                                 PATITZ               MELVIN HERMAN         FL         0313750          THE FERRARO LAW FIRM
MUSKETT              KENNETH N              FL         0505631Z         THE FERRARO LAW FIRM                                 PATRICK              ARTHUR                FL         993765Z          THE FERRARO LAW FIRM
MUSKETT              SHERRY                 FL         0505631Z         THE FERRARO LAW FIRM                                 PATRICK              TANYA                 FL         993765Z          THE FERRARO LAW FIRM
MYERS                SANDRA                 FL         0503722Z         THE FERRARO LAW FIRM                                 PATTON               WILLIE R              FL         03014669         THE FERRARO LAW FIRM
MYERS                WILLIAM H              FL         0503722Z         THE FERRARO LAW FIRM                                 PAYNE                LINDA                 FL         012040227        THE FERRARO LAW FIRM
MYLES                WILLIAM                MA         1581CV07012      THE FERRARO LAW FIRM                                 PEARSON              EULA                  FL         05005689Z        THE FERRARO LAW FIRM
NARLOW               KAREN                  FL         975380DIVZ       THE FERRARO LAW FIRM                                 PEARSON              OMEGA                 FL         05005689Z        THE FERRARO LAW FIRM
NARY                 THOMAS                 MA         1581CV07068      THE FERRARO LAW FIRM                                 PECORARO             DOLORES R             NY         19009909         THE FERRARO LAW FIRM
NASH                 MOLLIE                 FL         999037Z          THE FERRARO LAW FIRM                                 PECORARO             ROBERT J              NY         19009909         THE FERRARO LAW FIRM
NASH                 RONALD L               FL         999037Z          THE FERRARO LAW FIRM                                 PELLAND              GEORGE E              FL         966383DIVZ       THE FERRARO LAW FIRM
NASS                 BERTRAM A              FL         999052Z          THE FERRARO LAW FIRM                                 PELLAND              MARION                FL         966383DIVZ       THE FERRARO LAW FIRM
NASS                 JANET                  FL         999052Z          THE FERRARO LAW FIRM                                 PEOPLES              LENORA A              FL         998951Z          THE FERRARO LAW FIRM
NELSON               ELLIOTT C              FL         9918299          THE FERRARO LAW FIRM                                 PEOPLES              LEONARD L             FL         998951Z          THE FERRARO LAW FIRM
NELSON               JEAN                   FL         9908790Z         THE FERRARO LAW FIRM                                 PEREZ                VINCENT               FL         996881Z          THE FERRARO LAW FIRM
NELSON               JOHN A                 FL         9908790Z         THE FERRARO LAW FIRM                                 PEREZ-CUBAS          JUAN E                FL         01012319         THE FERRARO LAW FIRM
NELSON               LINDA                  FL         050645827        THE FERRARO LAW FIRM                                 PEREZ-CUBAS          MIOSOTI               FL         01012319         THE FERRARO LAW FIRM
NELSON               STELLA MAE ELIZABETH   FL         9918299          THE FERRARO LAW FIRM                                 PERREAULT            KENNETH BRUCE         FL         0404414          THE FERRARO LAW FIRM
NEWMAN               MARGARET J             FL         999047Z          THE FERRARO LAW FIRM                                 PERREAULT            MARJORIE J            FL         0404414          THE FERRARO LAW FIRM
NEWMAN               OVEDA M                FL         999047Z          THE FERRARO LAW FIRM                                 PERRY                DAVID W               FL         1023096          THE FERRARO LAW FIRM
NEWSOME              BOBBY                  FL         9910712AD        THE FERRARO LAW FIRM                                 PERRY                ISABEL                FL         1023096          THE FERRARO LAW FIRM
NEWSOME              SHIRLEY                FL         9910712AD        THE FERRARO LAW FIRM                                 PERRY                JACK W                FL         03015054         THE FERRARO LAW FIRM
NEWTON               ROBERT G               FL         2003CA009280     THE FERRARO LAW FIRM                                 PERRY                LOIS JEAN             FL         03015054         THE FERRARO LAW FIRM
NEWTON               SHELIA                 FL         2003CA009280     THE FERRARO LAW FIRM                                 PETERSEN             JANICE                FL         04004375         THE FERRARO LAW FIRM
NEWTON               THOMAS                 MA         1581CV07090      THE FERRARO LAW FIRM                                 PETERSEN             ROY                   FL         04004375         THE FERRARO LAW FIRM
NICHOLS              BETTY                  FL         2004CA002034     THE FERRARO LAW FIRM                                 PETERSON             BEVERLY               FL         0323195CA42      THE FERRARO LAW FIRM
NICHOLS              CLAUDE WENDELL         FL         2004CA002034     THE FERRARO LAW FIRM                                 PETERSON             DOROTHY J             FL         996864Z          THE FERRARO LAW FIRM
NICKOLAS             JIMMY LEE              FL         996882Z          THE FERRARO LAW FIRM                                 PETERSON             JACK C                FL         0323195CA42      THE FERRARO LAW FIRM
NIEGOWSKI            OLIVE                  FL         9800336          THE FERRARO LAW FIRM                                 PETERSON             WAYNE E               FL         996864Z          THE FERRARO LAW FIRM
NIEGOWSKI            ZIGMUND J              FL         9800336          THE FERRARO LAW FIRM                                 PETRARCA             JOAN                  FL         0401546          THE FERRARO LAW FIRM
NOONAN               MORRIS N               FL         0320147CA42      THE FERRARO LAW FIRM                                 PETRARCA             RAYMOND R             FL         0401546          THE FERRARO LAW FIRM
NORDER               EUGENE E               FL         0505650Z         THE FERRARO LAW FIRM                                 PETRIE               JOHN H                FL         0412033          THE FERRARO LAW FIRM
NORDER               JERRY ANN              FL         0505650Z         THE FERRARO LAW FIRM                                 PETRIE               THERESA               FL         0412033          THE FERRARO LAW FIRM
NORMAN               NIKI ANDERSON          FL         06015792         THE FERRARO LAW FIRM                                 PFALZ                JOSEF                 FL         03015067         THE FERRARO LAW FIRM
NORTHCUTT            DONALD M               FL         0406673          THE FERRARO LAW FIRM                                 PFALZ                ROSA P                FL         03015067         THE FERRARO LAW FIRM
NORTHCUTT            JAN A                  FL         0406673          THE FERRARO LAW FIRM                                 PICKENS              ALFONSO               FL         03014589         THE FERRARO LAW FIRM
NORTHCUTT            LARRY N                FL         0503375Z         THE FERRARO LAW FIRM                                 PICKERING            CHARLES W             FL         990652Z          THE FERRARO LAW FIRM
NORTHCUTT            LINDA                  FL         0503375Z         THE FERRARO LAW FIRM                                 PICKETT              JAMES E               FL         0317165CA42      THE FERRARO LAW FIRM




                                                                                                             Appendix A - 694
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 29 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PIERCE               HOWARD                FL         0315281            THE FERRARO LAW FIRM                                 ROBBINS              ALMA                  FL         0503715Z         THE FERRARO LAW FIRM
PIERCE               RUTHANNE              FL         0315281            THE FERRARO LAW FIRM                                 ROBBINS              FERRELL               FL         999033Z          THE FERRARO LAW FIRM
PIPPEN               ANTHONY               FL         0505639Z           THE FERRARO LAW FIRM                                 ROBBINS              FRANCES               FL         999033Z          THE FERRARO LAW FIRM
PIPPEN               TRACY S               FL         0505639Z           THE FERRARO LAW FIRM                                 ROBBINS              PAUL R                FL         0503715Z         THE FERRARO LAW FIRM
PITTMAN              ROGER L               FL         9921169            THE FERRARO LAW FIRM                                 ROBBIO               STEPHEN               MA         1581CV07083      THE FERRARO LAW FIRM
PITTMAN              ZEARY A               FL         9918217            THE FERRARO LAW FIRM                                 ROBERTS              ANNA                  FL         050643527        THE FERRARO LAW FIRM
PITTS                EUGENE E              FL         999049Z            THE FERRARO LAW FIRM                                 ROBERTS              DAVID P               FL         03015065         THE FERRARO LAW FIRM
PLASSON              JOAN                  FL         0315003            THE FERRARO LAW FIRM                                 ROBERTS              RICHARD L             FL         050643527        THE FERRARO LAW FIRM
PLASSON              WALTER                FL         0315003            THE FERRARO LAW FIRM                                 ROBINS               HOWARD E              FL         02006550         THE FERRARO LAW FIRM
PLOURDE              ALBERT G              FL         02004791           THE FERRARO LAW FIRM                                 ROBINS               PAULINE               FL         02006550         THE FERRARO LAW FIRM
PLOURDE              JEAN                  FL         02004791           THE FERRARO LAW FIRM                                 ROBINSIN             GEORGE T              FL         04012028         THE FERRARO LAW FIRM
POAG                 EDDIE D               FL         0503376Z           THE FERRARO LAW FIRM                                 ROBINSIN             TONI DARLENE          FL         04012028         THE FERRARO LAW FIRM
POAG                 SANDRA                FL         0503376Z           THE FERRARO LAW FIRM                                 ROBINSON             ARTHUR W              FL         0500644727       THE FERRARO LAW FIRM
POOL                 BETTY                 FL         0505657Z           THE FERRARO LAW FIRM                                 ROBINSON             DAVID B               FL         0505619Z         THE FERRARO LAW FIRM
POOLE                RICHARD A             FL         0502716Z           THE FERRARO LAW FIRM                                 ROBINSON             JEANY LYNN            FL         0505619Z         THE FERRARO LAW FIRM
PORCARO              ERNEST                MA         1581CV06989        THE FERRARO LAW FIRM                                 ROBINSON             SHERRY                FL         0500644727       THE FERRARO LAW FIRM
PORTER               CLARK H               FL         04006359           THE FERRARO LAW FIRM                                 ROBISON              DORTHA                FL         0502719Z         THE FERRARO LAW FIRM
PORTER               DON S                 FL         999044Z            THE FERRARO LAW FIRM                                 ROBISON              JAMES H               FL         0502719Z         THE FERRARO LAW FIRM
POSEY                EDWARD L              FL         0505643Z           THE FERRARO LAW FIRM                                 ROGERS               JOHN                  FL         03014631         THE FERRARO LAW FIRM
POSEY                SHELIA                FL         0505643Z           THE FERRARO LAW FIRM                                 ROLLINS              ROGER D               FL         0502717Z         THE FERRARO LAW FIRM
POWELL               BOBBY ROY             FL         03015078           THE FERRARO LAW FIRM                                 ROMENS               CARROLL F             FL         0301501127       THE FERRARO LAW FIRM
POWELL               CLIFFORD P            FL         9918215            THE FERRARO LAW FIRM                                 ROSATO               ANTHONY               FL         0972502CA42      THE FERRARO LAW FIRM
POWELL               JOHN                  FL         996861Z            THE FERRARO LAW FIRM                                 ROSATO               ANTHONY E             FL         0972502CA42      THE FERRARO LAW FIRM
POWELL               MARISE JUNE           FL         9918215            THE FERRARO LAW FIRM                                 ROSATO               EDWARD                FL         0972502CA42      THE FERRARO LAW FIRM
POWELL               MATTIE F              FL         03015078           THE FERRARO LAW FIRM                                 ROSATO               MARY LOU              FL         0972502CA42      THE FERRARO LAW FIRM
POWELL               THOMAS                FL         03015059           THE FERRARO LAW FIRM                                 ROSATO               ROBERT                FL         0972502CA42      THE FERRARO LAW FIRM
POWERS               GILBERT               MA         1581CV07024        THE FERRARO LAW FIRM                                 ROSATO               THERESA               FL         0972502CA42      THE FERRARO LAW FIRM
POZZI                CLAUDIA               FL         020056727          THE FERRARO LAW FIRM                                 ROSE                 DEBORAH A             FL         13019171         THE FERRARO LAW FIRM
POZZI                RICHARD               FL         020056727          THE FERRARO LAW FIRM                                 ROSE                 GEORGE A              FL         13019171         THE FERRARO LAW FIRM
PRYOR                MARY ANN              FL         9919624            THE FERRARO LAW FIRM                                 ROSE                 LINDA L               FL         2003CA009229     THE FERRARO LAW FIRM
PRYOR                THEODORE              FL         9919624            THE FERRARO LAW FIRM                                 ROSE                 RALPH T               FL         2003CA009229     THE FERRARO LAW FIRM
PRZYBYLSKI           GERALD L              FL         502003CA009420XXASAD
                                                                         THE FERRARO LAW FIRM                                 ROSPLOCK             GRACE M               FL         03015085         THE FERRARO LAW FIRM
PURVIS               BRYON L               FL         990876AD           THE FERRARO LAW FIRM                                 ROSPLOCK             MAX D                 FL         03015085         THE FERRARO LAW FIRM
PURVIS               MARGARET              FL         990876AD           THE FERRARO LAW FIRM                                 ROSS                 ARTHUR                MA         1581CV07067      THE FERRARO LAW FIRM
QUAKENBUSH           CHRISTINE             FL         990653Z            THE FERRARO LAW FIRM                                 ROWE                 LAWRENCE              MA         1581CV06988      THE FERRARO LAW FIRM
QUAKENBUSH           JOHN V                FL         990653Z            THE FERRARO LAW FIRM                                 ROWE                 LILLIAN M             FL         9606587          THE FERRARO LAW FIRM
QUINN                WILLIAM R             FL         9606034            THE FERRARO LAW FIRM                                 ROWE                 RICHARD L             FL         9606587          THE FERRARO LAW FIRM
RABION               BEN M                 FL         990654Z            THE FERRARO LAW FIRM                                 ROWLAND              BURL L                FL         999038Z          THE FERRARO LAW FIRM
RABION               MILDRED               FL         990654Z            THE FERRARO LAW FIRM                                 ROYSTON              JOHN T                FL         983219           THE FERRARO LAW FIRM
RACHFORD             HELEN                 FL         2003CA009352       THE FERRARO LAW FIRM                                 ROYSTON              THELMA                FL         983219           THE FERRARO LAW FIRM
RACHFORD             THOMAS W              FL         2003CA009352       THE FERRARO LAW FIRM                                 RUDD                 FRANCES               FL         998935Z          THE FERRARO LAW FIRM
RADAKOVICH           DOROTHY J             FL         0505018Z           THE FERRARO LAW FIRM                                 RUDD                 LESTER B              FL         998935Z          THE FERRARO LAW FIRM
RADAKOVICH           MILAN M               FL         0505018Z           THE FERRARO LAW FIRM                                 RUSSELL              JOSEPH                MA         1581CV07002      THE FERRARO LAW FIRM
RADLEY               GILBERT               FL         ADMIN              THE FERRARO LAW FIRM                                 SABBAGH              BONNIE                FL         0500645327       THE FERRARO LAW FIRM
RAFFIELD             ARTHUR M              FL         998953Z            THE FERRARO LAW FIRM                                 SABBAGH              ROBERT G              FL         0500645327       THE FERRARO LAW FIRM
RAFFIELD             LUCY B                FL         998953Z            THE FERRARO LAW FIRM                                 SALLINGS             DEBRA                 FL         0505657Z         THE FERRARO LAW FIRM
RAFTER               JAMES W               FL         0315181            THE FERRARO LAW FIRM                                 SALVATORE            JOSEPH D              FL         ADMIN            THE FERRARO LAW FIRM
RAFTER               MARY                  FL         0315181            THE FERRARO LAW FIRM                                 SAMS                 MURRAY D              FL         990726Z          THE FERRARO LAW FIRM
RAND                 ALICE JR              FL         9921172            THE FERRARO LAW FIRM                                 SANSOM               FREDERICK N           MA         990788           THE FERRARO LAW FIRM
RAND                 JOHN                  FL         9921172            THE FERRARO LAW FIRM                                 SANSOM               KAREN                 MA         990788           THE FERRARO LAW FIRM
RANKIN               CARL                  FL         990803Z            THE FERRARO LAW FIRM                                 SANTOSUOSSO          THOMAS                MA         1581CV07001      THE FERRARO LAW FIRM
REAVES               WYLIE                 FL         2004CA002055       THE FERRARO LAW FIRM                                 SAPP                 ELBERT T              FL         999045Z          THE FERRARO LAW FIRM
REDDINGTON           JAMES E               MA         1781CV01334        THE FERRARO LAW FIRM                                 SAPP                 NANCY                 FL         999045Z          THE FERRARO LAW FIRM
REDDINGTON           LILLIAN               MA         1781CV01334        THE FERRARO LAW FIRM                                 SATTLER              BARBARA A             FL         04008017         THE FERRARO LAW FIRM
REDDISH              GEORGE H              FL         996897Z            THE FERRARO LAW FIRM                                 SATTLER              KEITH A               FL         04008017         THE FERRARO LAW FIRM
REID                 MARTHA JEAN           FL         0505636Z           THE FERRARO LAW FIRM                                 SCAIFE               JAMES L               FL         0505627Z         THE FERRARO LAW FIRM
REID                 RANDY KEITH           FL         0505636Z           THE FERRARO LAW FIRM                                 SCHERMER             EMILE                 FL         01017171         THE FERRARO LAW FIRM
RENO                 CHARLOTTE             FL         0505625Z           THE FERRARO LAW FIRM                                 SCHILLER             CAROL                 FL         02011923         THE FERRARO LAW FIRM
RENO                 NORMAN M              FL         0505625Z           THE FERRARO LAW FIRM                                 SCHILLER             ROGER M               FL         02011923         THE FERRARO LAW FIRM
RETHERFORD           SAMUEL H              FL         0401617            THE FERRARO LAW FIRM                                 SCHMITT              ARLENE                FL         04004391         THE FERRARO LAW FIRM
RETHERFORD           STEVE                 FL         0401617            THE FERRARO LAW FIRM                                 SCHMITT              ROBERT E              FL         04004391         THE FERRARO LAW FIRM
REYNOLDS             HERMAN                FL         2004CA001852       THE FERRARO LAW FIRM                                 SCHOONOVER           ALLISON               FL         9608890          THE FERRARO LAW FIRM
RICHARDS             LOUIE BELLE           FL         9908472            THE FERRARO LAW FIRM                                 SCHOONOVER           BERNARD               FL         9608890          THE FERRARO LAW FIRM
RICHARDSON           ARTHUR                FL         0505622Z           THE FERRARO LAW FIRM                                 SCHULTZ              HOWARD                FL         9801542          THE FERRARO LAW FIRM
RICHARDSON           DEWEY                 FL         996878Z            THE FERRARO LAW FIRM                                 SCHULTZ              MARY                  FL         9801542          THE FERRARO LAW FIRM
RICHARDSON           OCCALETTA             FL         996878Z            THE FERRARO LAW FIRM                                 SCHUSTER             DARIA                 FL         0409145          THE FERRARO LAW FIRM
RIDDLE               THERESA               FL         02007237           THE FERRARO LAW FIRM                                 SCHUSTER             DONALD                FL         0409145          THE FERRARO LAW FIRM
RIDDLE               WILLIAM H             FL         02007237           THE FERRARO LAW FIRM                                 SCOLES               CLARE                 FL         2004CA004236     THE FERRARO LAW FIRM
RILEY                EDDIE L               FL         9918294            THE FERRARO LAW FIRM                                 SCOLES               DONALD R              FL         2004CA004236     THE FERRARO LAW FIRM
RILEY                WILLIAM H             FL         9501138DIVZ        THE FERRARO LAW FIRM                                 SCOTT                DOUGLAS               FL         0500643627       THE FERRARO LAW FIRM
RIVERA               VICTOR                FL         0203262            THE FERRARO LAW FIRM                                 SCOTT                WILLIE J              FL         0505660Z         THE FERRARO LAW FIRM




                                                                                                              Appendix A - 695
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 30 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SCROGGINS            PATTY                 FL         050644027        THE FERRARO LAW FIRM                                 SPOONS               TERRI                 FL         004322Z          THE FERRARO LAW FIRM
SCROGGINS            ROBERT E              FL         050644027        THE FERRARO LAW FIRM                                 SPRANGLER            BILLY R               FL         9808567Z         THE FERRARO LAW FIRM
SEALY                KENNETH W             FL         0503384Z         THE FERRARO LAW FIRM                                 SPRANGLER            PATRICIA              FL         9808567Z         THE FERRARO LAW FIRM
SEALY                BEVERLY Y             FL         0503384Z         THE FERRARO LAW FIRM                                 SPRY                 CHARLES               FL         9911922          THE FERRARO LAW FIRM
SEARS                HAZEL E               FL         9908789Z         THE FERRARO LAW FIRM                                 STACEY               BLANKA                FL         0323122CA42      THE FERRARO LAW FIRM
SEARS                RUSSELL               FL         9908789Z         THE FERRARO LAW FIRM                                 STACEY               DEE E                 FL         0323122CA42      THE FERRARO LAW FIRM
SEAY                 CYNTHIA L             FL         0421632CA42      THE FERRARO LAW FIRM                                 STEADHAM             HELENE                FL         999039Z          THE FERRARO LAW FIRM
SEAY                 HATTIE                FL         502004CA001865   THE FERRARO LAW FIRM                                 STEADHAM             JAMES C               FL         999039Z          THE FERRARO LAW FIRM
SEAY                 WILLIE ALBERT         FL         502004CA001865   THE FERRARO LAW FIRM                                 STEPHENS             JAQUELYN B            FL         996880Z          THE FERRARO LAW FIRM
SECHREST             BOBBY                 FL         9908792Z         THE FERRARO LAW FIRM                                 STEPHENS             LEONARD P             FL         996880Z          THE FERRARO LAW FIRM
SECHREST             JUANITA               FL         9908792Z         THE FERRARO LAW FIRM                                 STEVENS              WILLIAM               FL         9706075DIVZ      THE FERRARO LAW FIRM
SEDWICK              BENJAMIN H            FL         996874Z          THE FERRARO LAW FIRM                                 STOKES               MARK A                FL         998936Z          THE FERRARO LAW FIRM
SEDWICK              JEAN                  FL         996874Z          THE FERRARO LAW FIRM                                 STOKES               PEGGY S               FL         998936Z          THE FERRARO LAW FIRM
SEIFFERT             WILLIAM F             FL         999043Z          THE FERRARO LAW FIRM                                 STOUT                CHARLES E             FL         004321Z          THE FERRARO LAW FIRM
SEVERANCE            ELISSA                FL         0415461CA42      THE FERRARO LAW FIRM                                 STOVER               DANIEL                FL         0500645527       THE FERRARO LAW FIRM
SEVERANCE            LARRY T               FL         0415461CA42      THE FERRARO LAW FIRM                                 STOVER               JUDY A                FL         0500645527       THE FERRARO LAW FIRM
SGARLATA             JOHN W                FL         03015064         THE FERRARO LAW FIRM                                 STRICKLAND           ROBERT                MA         1581CV07003      THE FERRARO LAW FIRM
SHAMBURGER           MAHALIA               FL         0505638Z         THE FERRARO LAW FIRM                                 STROUD               PRENTICE B            FL         0505621Z         THE FERRARO LAW FIRM
SHAMBURGER           WILLIE J              FL         0505638Z         THE FERRARO LAW FIRM                                 STROY                GRADY                 FL         990693Z          THE FERRARO LAW FIRM
SHEEHAN              JAMES                 MA         1581CV07114      THE FERRARO LAW FIRM                                 STROY                VERONICA B            FL         990693Z          THE FERRARO LAW FIRM
SHIPMAN              ARTHUR                FL         9918282          THE FERRARO LAW FIRM                                 SULLIVAN             JAMES                 MA         1781CV01667      THE FERRARO LAW FIRM
SHIPMAN              PAMELA J              FL         9918282          THE FERRARO LAW FIRM                                 SULLIVAN             LARRY                 MA         1581CV06995      THE FERRARO LAW FIRM
SHOEMAKER            ALLEN J               FL         03015292         THE FERRARO LAW FIRM                                 SUMMERLIN            JOHN L                FL         991275Z          THE FERRARO LAW FIRM
SHOEMAKER            ESTER                 FL         03015292         THE FERRARO LAW FIRM                                 SUMMERLIN            PAT                   FL         991275Z          THE FERRARO LAW FIRM
SIBLEY               ROYAL                 MA         1581CV07109      THE FERRARO LAW FIRM                                 SUNDERLAND           JANICE                FL         04001171         THE FERRARO LAW FIRM
SIEGEL               MELVIN J              FL         0864150CA27      THE FERRARO LAW FIRM                                 SUNDERLAND           RICHARD JARVIS        FL         04001171         THE FERRARO LAW FIRM
SIEGEL               TOBY                  FL         0864150CA27      THE FERRARO LAW FIRM                                 SUTTON               JAMES M               FL         996875Z          THE FERRARO LAW FIRM
SIKES                JAMES                 FL         9913917          THE FERRARO LAW FIRM                                 SUTTON               KATHERINE             FL         996875Z          THE FERRARO LAW FIRM
SILVESTRO            JOSEPH                MA         1581CV07047      THE FERRARO LAW FIRM                                 SWAIN                LORETTA               FL         02004798         THE FERRARO LAW FIRM
SIMMS                DYIANN                FL         9606050          THE FERRARO LAW FIRM                                 SWAIN                RONALD J              FL         02004798         THE FERRARO LAW FIRM
SIMMS                JAMES R               FL         9908791Z         THE FERRARO LAW FIRM                                 SWANN                DONALD M              FL         0502711Z         THE FERRARO LAW FIRM
SIMMS                JOHN K                FL         9606050          THE FERRARO LAW FIRM                                 SWANN                PAULA                 FL         0502711Z         THE FERRARO LAW FIRM
SIMMS                MARTHA                FL         9908791Z         THE FERRARO LAW FIRM                                 SWANNER              MILDRED               FL         9608976          THE FERRARO LAW FIRM
SINCLAIR             CLEVELAND             FL         996892Z          THE FERRARO LAW FIRM                                 SWANNER              ORAM                  FL         9608976          THE FERRARO LAW FIRM
SINCLAIR             DONALD                FL         990657Z          THE FERRARO LAW FIRM                                 SWANSON              ARTHUR L              FL         990938AD         THE FERRARO LAW FIRM
SINCLAIR             PAULINE               FL         996892Z          THE FERRARO LAW FIRM                                 SWANSON              JANET                 FL         990938AD         THE FERRARO LAW FIRM
SLESINSKI            BARBARA               FL         01015084         THE FERRARO LAW FIRM                                 SWARTZ               MARGARET              FL         9800501          THE FERRARO LAW FIRM
SLESINSKI            CHARLES J             FL         01015084         THE FERRARO LAW FIRM                                 SWARTZ               RAYMOND TAYLOR        FL         9800501          THE FERRARO LAW FIRM
SLOAN                DARRELL E             FL         03014981         THE FERRARO LAW FIRM                                 SWEENEY              GERALDINE             MA         1581CV06422      THE FERRARO LAW FIRM
SLOAN                LINDA                 FL         03014981         THE FERRARO LAW FIRM                                 SWEENEY              MICHAEL J             MA         1581CV06422      THE FERRARO LAW FIRM
SMALL                BRUCE                 FL         996896Z          THE FERRARO LAW FIRM                                 SWINSON              DOLLIE B              FL         9606590          THE FERRARO LAW FIRM
SMALL                RUTH                  FL         996896Z          THE FERRARO LAW FIRM                                 SWINSON              JESSIE J              FL         9606590          THE FERRARO LAW FIRM
SMITH                ANN H                 FL         998952Z          THE FERRARO LAW FIRM                                 TACKETT              JOHN S JR             FL         9606026          THE FERRARO LAW FIRM
SMITH                BERNADINE             FL         0505664Z         THE FERRARO LAW FIRM                                 TALLENT              CATHERINE             FL         011849           THE FERRARO LAW FIRM
SMITH                BERNARD J             FL         0505664Z         THE FERRARO LAW FIRM                                 TALLENT              ROBERT D              FL         011849           THE FERRARO LAW FIRM
SMITH                EDWARD G              FL         996890Z          THE FERRARO LAW FIRM                                 TARASOFF             GARY D                FL         03015295         THE FERRARO LAW FIRM
SMITH                ELLIS D               FL         999398Z          THE FERRARO LAW FIRM                                 TARASOFF             JOANNE                FL         03015295         THE FERRARO LAW FIRM
SMITH                FAYE                  FL         996863Z          THE FERRARO LAW FIRM                                 TAYLOR               JAMES                 MA         1581CV07058      THE FERRARO LAW FIRM
SMITH                LESTER                FL         502004CA001847   THE FERRARO LAW FIRM                                 TAYLOR               LEOTTA                FL         998938Z          THE FERRARO LAW FIRM
SMITH                MARGARET              FL         999398Z          THE FERRARO LAW FIRM                                 TAYLOR               SYBIL                 FL         996865Z          THE FERRARO LAW FIRM
SMITH                MARY ETTA             FL         0307786CA42      THE FERRARO LAW FIRM                                 TAYLOR               WILLIAM F             FL         998938Z          THE FERRARO LAW FIRM
SMITH                ROBERT L              FL         996895Z          THE FERRARO LAW FIRM                                 TERRY                GWENITH               FL         9911972          THE FERRARO LAW FIRM
SMITH                STEPHEN               MA         1581CV07069      THE FERRARO LAW FIRM                                 TERRY                WILLIAM               FL         9911972          THE FERRARO LAW FIRM
SMITH                TOMMIE J              FL         996863Z          THE FERRARO LAW FIRM                                 THOMAS               AMY                   FL         990824AD         THE FERRARO LAW FIRM
SMITH                WILLIAM H             FL         05005659Z        THE FERRARO LAW FIRM                                 THOMAS               BENJAMIN C            FL         9608977          THE FERRARO LAW FIRM
SMITH                WILLIAM I             FL         998952Z          THE FERRARO LAW FIRM                                 THOMAS               CASSANDRA D           FL         06010054         THE FERRARO LAW FIRM
SMITH                WILLIAM J             FL         0307786CA42      THE FERRARO LAW FIRM                                 THOMAS               DEBORAH               FL         06010054         THE FERRARO LAW FIRM
SMITH                PATRICIA              FL         05005659Z        THE FERRARO LAW FIRM                                 THOMAS               DOROTHY               FL         995275AD         THE FERRARO LAW FIRM
SMOTHERMAN           CHESTER P             FL         998937Z          THE FERRARO LAW FIRM                                 THOMAS               ERMA A                FL         03013836         THE FERRARO LAW FIRM
SMOTHERMAN           JOAN L                FL         998937Z          THE FERRARO LAW FIRM                                 THOMAS               GEORGE                FL         03013836         THE FERRARO LAW FIRM
SNOW                 NORMAN                MA         1581CV07081      THE FERRARO LAW FIRM                                 THOMAS               HOWARD L              FL         995275AD         THE FERRARO LAW FIRM
SOLOMON              DEBORAH V             FL         0401629          THE FERRARO LAW FIRM                                 THOMAS               JEREMIAH              FL         0505651Z         THE FERRARO LAW FIRM
SOLOMON              PAUL E                FL         0401629          THE FERRARO LAW FIRM                                 THOMAS               JOSEPH R              FL         965843DIVZ       THE FERRARO LAW FIRM
SPANGENBERG          JEAN                  FL         0323201CA42      THE FERRARO LAW FIRM                                 THOMAS               ROBERT L              FL         06010054         THE FERRARO LAW FIRM
SPANGENBERG          PETER H               FL         0323201CA42      THE FERRARO LAW FIRM                                 THOMAS               RUBY                  FL         0505651Z         THE FERRARO LAW FIRM
SPEAKE               HELEN L               FL         0503391Z         THE FERRARO LAW FIRM                                 THOMAS               RUTH                  FL         9608977          THE FERRARO LAW FIRM
SPEAKE               JOHN L                FL         0503391Z         THE FERRARO LAW FIRM                                 THOMPSON             CURTIS O              FL         0403928AD        THE FERRARO LAW FIRM
SPENCE               MARK                  MA         1581CV07021      THE FERRARO LAW FIRM                                 THOMPSON             DANIEL                MA         1581CV07111      THE FERRARO LAW FIRM
SPENCER              DANIEL R              FL         0416323          THE FERRARO LAW FIRM                                 THOMPSON             EDDIE                 FL         9608973          THE FERRARO LAW FIRM
SPENCER              MARY L                FL         0416323          THE FERRARO LAW FIRM                                 THOMPSON             ELLA WEASE            FL         0403928AD        THE FERRARO LAW FIRM
SPOONS               ROHL M                FL         004322Z          THE FERRARO LAW FIRM                                 THOMPSON             RANDOLPH MARTIN       FL         0307417227       THE FERRARO LAW FIRM




                                                                                                            Appendix A - 696
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 31 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel

THOMPSON             THELMA                FL         9608973          THE FERRARO LAW FIRM                                 WALKER               JILL E                FL         050645627           THE FERRARO LAW FIRM
THRASH               ELMORE                FL         9911306          THE FERRARO LAW FIRM                                 WALKER               JOHN H                FL         0200570327          THE FERRARO LAW FIRM
TICE                 DIANE                 FL         051369627        THE FERRARO LAW FIRM                                 WALKER               MERIDITH A            FL         03013809            THE FERRARO LAW FIRM
TILLERY              EMMA                  FL         0503389Z         THE FERRARO LAW FIRM                                 WALKER               ROBERT E              FL         9921196             THE FERRARO LAW FIRM
TILLERY              LARRY J               FL         0503389Z         THE FERRARO LAW FIRM                                 WALKER               ROY C                 FL         09027749            THE FERRARO LAW FIRM
TILLMAN              CARIDAD               FL         0018534          THE FERRARO LAW FIRM                                 WALKER               SHIRLEY               FL         0403944AD           THE FERRARO LAW FIRM
TILLMAN              CARLOS                FL         0018534          THE FERRARO LAW FIRM                                 WALLACE              DWAIN D               FL         502004CA001880      THE FERRARO LAW FIRM
TIS                  EUGENE P              FL         0504432Z         THE FERRARO LAW FIRM                                 WALLACE              HENRY L               FL         998947Z             THE FERRARO LAW FIRM
TIS                  JOSEPHINE             FL         0504432Z         THE FERRARO LAW FIRM                                 WALLACE              JOHN D                FL         99011296            THE FERRARO LAW FIRM
TOOMER               HERMON                FL         999046Z          THE FERRARO LAW FIRM                                 WALLACE              JUNE                  FL         502004CA001880      THE FERRARO LAW FIRM
TREMETHICK           JANET                 FL         9512470          THE FERRARO LAW FIRM                                 WALLACE              LUVENIA               FL         998947Z             THE FERRARO LAW FIRM
TREMETHICK           KENNETH CHARLES       FL         9512470          THE FERRARO LAW FIRM                                 WALSH                JOHN S                FL         0323198CA42         THE FERRARO LAW FIRM
TROMBLY              FRANK H               FL         9911973          THE FERRARO LAW FIRM                                 WALSH                KENNETH               MA         1581CV07050         THE FERRARO LAW FIRM
TROMBLY              JANICE                FL         9911973          THE FERRARO LAW FIRM                                 WALSH                SHIRLEY A             FL         0323198CA42         THE FERRARO LAW FIRM
TROMBLY              LLOYD W               FL         9606628          THE FERRARO LAW FIRM                                 WALTERS              J                     FL         9804470             THE FERRARO LAW FIRM
TROMBLY              PATRICIA              FL         9606628          THE FERRARO LAW FIRM                                 WALTERS              RUTH                  FL         9804470             THE FERRARO LAW FIRM
TROWSSE              BETTY                 FL         1002779Z         THE FERRARO LAW FIRM                                 WARDLOW              DAVID B               FL         9606591             THE FERRARO LAW FIRM
TROWSSE              MIKE                  FL         1002779Z         THE FERRARO LAW FIRM                                 WARDLOW              ELIZABETH V           FL         9606591             THE FERRARO LAW FIRM
TROWSSE              RONALD E              FL         1002779Z         THE FERRARO LAW FIRM                                 WASIAKOWSKI          BERNARD T             FL         03015006            THE FERRARO LAW FIRM
TUBE                 AUDREY C              FL         990969AD         THE FERRARO LAW FIRM                                 WASIAKOWSKI          GERALDINE             FL         03015006            THE FERRARO LAW FIRM
TUBE                 RAYMOND W             FL         990969AD         THE FERRARO LAW FIRM                                 WATERS               ANGELA                FL         9805024Z            THE FERRARO LAW FIRM
TUBOLINO             SAMUEL                FL         12012099Z        THE FERRARO LAW FIRM                                 WATKINS              JOHNNY L              FL         9918297             THE FERRARO LAW FIRM
TUCKER               GEORGE H              FL         990723Z          THE FERRARO LAW FIRM                                 WATSON               NENITA                FL         006108              THE FERRARO LAW FIRM
TUCKER               JOHN LEWIS            FL         0313843          THE FERRARO LAW FIRM                                 WATSON               RICHARD E             FL         006108              THE FERRARO LAW FIRM
TUCKER               MARIE N               FL         990723Z          THE FERRARO LAW FIRM                                 WEABER               GENE W                FL         03015166            THE FERRARO LAW FIRM
TUCKER               MONTEZ                FL         0313843          THE FERRARO LAW FIRM                                 WEABER               JUNE                  FL         03015166            THE FERRARO LAW FIRM
TUREK                DAWNE                 FL         06010054         THE FERRARO LAW FIRM                                 WEDGEWORTH           JAMES                 FL         0503379Z            THE FERRARO LAW FIRM
TURNER               ABRAHAM               FL         05005678Z        THE FERRARO LAW FIRM                                 WEDGEWORTH           OTIS                  FL         2004CA001860        THE FERRARO LAW FIRM
TURNER               DAGMAR                FL         9911926          THE FERRARO LAW FIRM                                 WEDGEWORTH           WILLIE MAE            FL         2004CA001860        THE FERRARO LAW FIRM
TURNER               RICHARD               FL         9911926          THE FERRARO LAW FIRM                                 WEEKS                ROBERT J              FL         998954Z             THE FERRARO LAW FIRM
TYRE                 ANGELA                FL         9918304          THE FERRARO LAW FIRM                                 WEEKS                SUE A                 FL         998954Z             THE FERRARO LAW FIRM
TYRE                 LARRY D               FL         9918304          THE FERRARO LAW FIRM                                 WEESIES              BARBARA               FL         0404361             THE FERRARO LAW FIRM
UMILE                PETER                 MA         1581CV07019      THE FERRARO LAW FIRM                                 WEESIES              DAVID C               FL         0404361             THE FERRARO LAW FIRM
VALANTE              GERALINDE             FL         0200570527       THE FERRARO LAW FIRM                                 WEGING               DENNIS E              FL         998945Z             THE FERRARO LAW FIRM
VALANTE              ROBERT P              FL         0200570527       THE FERRARO LAW FIRM                                 WEGING               JILL                  FL         998945Z             THE FERRARO LAW FIRM
VAN OFLEN            SALLY J               FL         0403951AD        THE FERRARO LAW FIRM                                 WELCH                BARBARA R             FL         2004CA004008AD      THE FERRARO LAW FIRM
VAN OFLEN            THOMAS J              FL         0403951AD        THE FERRARO LAW FIRM                                 WELCH                JOHN C                FL         2004CA004008AD      THE FERRARO LAW FIRM
VANMALDEGEN          WILLIAM               FL         0406352          THE FERRARO LAW FIRM                                 WELLS                BRUCE F               FL         9608978             THE FERRARO LAW FIRM
VANSLOOTEN           LOIS                  FL         9911974          THE FERRARO LAW FIRM                                 WELLS                SHIRLEY               FL         9608978             THE FERRARO LAW FIRM
VANSLOOTEN           ROGER                 FL         9911974          THE FERRARO LAW FIRM                                 WEST                 BERMETH               FL         9911307             THE FERRARO LAW FIRM
VAUGHN               FELTON M              FL         050645227        THE FERRARO LAW FIRM                                 WEST                 JUNIOR D              FL         9911307             THE FERRARO LAW FIRM
VAUGHN               MARY                  FL         050645227        THE FERRARO LAW FIRM                                 WESTCOTT             MARY ANN              FL         0323239CA42         THE FERRARO LAW FIRM
VENNARD              RONALD W              FL         03015074         THE FERRARO LAW FIRM                                 WESTCOTT             RONALD L              FL         0323239CA42         THE FERRARO LAW FIRM
VENTI                PAUL                  MA         1581CV07060      THE FERRARO LAW FIRM                                 WETZEL               DAVID                 FL         0505014Z            THE FERRARO LAW FIRM
VETRANO              ANTHONY P             FL         9800331          THE FERRARO LAW FIRM                                 WETZEL               GERRIE LYNN           FL         0505014Z            THE FERRARO LAW FIRM
VETRANO              ELVIRA                FL         9800331          THE FERRARO LAW FIRM                                 WHALEY               ALICE J               FL         998934Z             THE FERRARO LAW FIRM
VICKERS              JANET M               FL         0502701Z         THE FERRARO LAW FIRM                                 WHALEY               GARLAND G             FL         998934Z             THE FERRARO LAW FIRM
VICKERS              STEPHEN R             FL         0502701Z         THE FERRARO LAW FIRM                                 WHALEY               JOHN H                FL         0948045_ADMIN_CTD   THE FERRARO LAW FIRM
VIEIRA               ELINOR                FL         0214972          THE FERRARO LAW FIRM                                 WHALEY               LILIAN                FL         0948045_ADMIN_CTD   THE FERRARO LAW FIRM
VIEIRA               WILBUR E              FL         0214972          THE FERRARO LAW FIRM                                 WHITCOMB             IVA L                 FL         0505641Z            THE FERRARO LAW FIRM
VIERRA               PETER                 FL         03020177CA42     THE FERRARO LAW FIRM                                 WHITCOMB             JACK                  FL         0505641Z            THE FERRARO LAW FIRM
VINCENT              NINA                  FL         0505614Z         THE FERRARO LAW FIRM                                 WHITE                ALANSON P             FL         9911975             THE FERRARO LAW FIRM
VINCENT              RODNEY C              FL         0505614Z         THE FERRARO LAW FIRM                                 WHITFIELD            SHANNON               FL         06015794            THE FERRARO LAW FIRM
VINCENT              VELVA                 FL         996881Z          THE FERRARO LAW FIRM                                 WHITWORTH            REESE                 FL         990794Z             THE FERRARO LAW FIRM
VINCENT              LARRY                 FL         0502703Z         THE FERRARO LAW FIRM                                 WIERSEMA             BARBARA               FL         05005681Z           THE FERRARO LAW FIRM
VOLK                 DONALD E              FL         0403943AD        THE FERRARO LAW FIRM                                 WIERSEMA             ROBERT J              FL         05005681Z           THE FERRARO LAW FIRM
VOLK                 JANET F               FL         0403943AD        THE FERRARO LAW FIRM                                 WIGINTON             CORINE N              FL         990698Z             THE FERRARO LAW FIRM
VRONAN               EDWARD                MA         1581CV07026      THE FERRARO LAW FIRM                                 WIGINTON             EDWIN                 FL         990698Z             THE FERRARO LAW FIRM
WAGNER               CHARLES B             FL         0505661Z         THE FERRARO LAW FIRM                                 WILES                DEAN A                FL         9801543             THE FERRARO LAW FIRM
WAGNER               DEBRA E               FL         0505661Z         THE FERRARO LAW FIRM                                 WILKINSON            CHARLOTTE             FL         9913183             THE FERRARO LAW FIRM
WALDER               JAMES                 FL         9911925          THE FERRARO LAW FIRM                                 WILKINSON            ROBERT B              FL         9913183             THE FERRARO LAW FIRM
WALDER               MARJORIE              FL         9911925          THE FERRARO LAW FIRM                                 WILLIAMS             BARBARA               FL         0972502CA42         THE FERRARO LAW FIRM
WALDERS              EDWARD C              FL         9918295          THE FERRARO LAW FIRM                                 WILLIAMS             CARRIE J              FL         9913926             THE FERRARO LAW FIRM
WALDERS              OME JEAN              FL         9918295          THE FERRARO LAW FIRM                                 WILLIAMS             EARLINE L             FL         0505635Z            THE FERRARO LAW FIRM
WALDROUP             JOHN                  MA         1581CV07066      THE FERRARO LAW FIRM                                 WILLIAMS             EDDIE                 FL         ADMIN               THE FERRARO LAW FIRM
WALKER               FLOYD A               FL         05005688Z        THE FERRARO LAW FIRM                                 WILLIAMS             GRACE P               FL         9918641             THE FERRARO LAW FIRM
WALKER               GRETA                 FL         9921196          THE FERRARO LAW FIRM                                 WILLIAMS             HENRY                 FL         0505635Z            THE FERRARO LAW FIRM
WALKER               JACKSON L             FL         0403944AD        THE FERRARO LAW FIRM                                 WILLIAMS             JAMES RICHARD         FL         118564              THE FERRARO LAW FIRM
WALKER               JAMES L               FL         050645627        THE FERRARO LAW FIRM                                 WILLIAMS             JANE                  FL         02007965            THE FERRARO LAW FIRM
WALKER               JANICE                FL         0200570327       THE FERRARO LAW FIRM                                 WILLIAMS             JOYCE M               FL         998946Z             THE FERRARO LAW FIRM
WALKER               JANICE                FL         05005688Z        THE FERRARO LAW FIRM                                 WILLIAMS             KENNETH E             FL         9918641             THE FERRARO LAW FIRM




                                                                                                            Appendix A - 697
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 32 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WILLIAMS             LOUISE                FL         ADMIN            THE FERRARO LAW FIRM                                 ADAMS                JILL C                IL         18L0808          THE GORI LAW FIRM PC
WILLIAMS             OSCAR L               FL         998946Z          THE FERRARO LAW FIRM                                 ADAMS                LAURA                 IL         18L0482          THE GORI LAW FIRM PC
WILLIAMS             PAUL G                FL         02010871         THE FERRARO LAW FIRM                                 ADAMS                PATRICIA              IL         18L0216          THE GORI LAW FIRM PC
WILLIAMS             PHELEMON T            FL         9919632          THE FERRARO LAW FIRM                                 ADAMS                ROY DARREL            IL         18L0216          THE GORI LAW FIRM PC
WILLIAMS             RICHARD               MA         1581CV06982      THE FERRARO LAW FIRM                                 ADAMSON              AMY V                 MO         1822CC11270      THE GORI LAW FIRM PC
WILLIAMS             THOMAS C              FL         0502705Z         THE FERRARO LAW FIRM                                 ADAMSON              CHRISTINE R           MO         1822CC11270      THE GORI LAW FIRM PC
WILLIAMS             WILLIAM W             FL         02007965         THE FERRARO LAW FIRM                                 ADAMSON              FRANCES J             MO         1822CC11270      THE GORI LAW FIRM PC
WILLIFORD            MAXINE                FL         990994Z          THE FERRARO LAW FIRM                                 ADAMSON              JAMES M               MO         1822CC11270      THE GORI LAW FIRM PC
WILLIFORD            WALLACE R             FL         990994Z          THE FERRARO LAW FIRM                                 ADDIE                TONY                  MO         1722CC00322      THE GORI LAW FIRM PC
WILLINGHAM           JERRY Z               FL         04006353         THE FERRARO LAW FIRM                                 ADILI                EDDIE                 IL         2018L000423      THE GORI LAW FIRM PC
WILLIS               TOMMY                 MA         1581CV07108      THE FERRARO LAW FIRM                                 ADILI                MEZER                 IL         2018L000423      THE GORI LAW FIRM PC
WILLOUGHBY           BETTY SUE             FL         9911969          THE FERRARO LAW FIRM                                 ADLON                DOROTHY               MO         1822CC00630      THE GORI LAW FIRM PC
WILLOUGHBY           JAMES                 FL         9911969          THE FERRARO LAW FIRM                                 ADLON                GERALD L              MO         1822CC00630      THE GORI LAW FIRM PC
WILLOUGHBY           THURMAN EUGENE        FL         0503718Z         THE FERRARO LAW FIRM                                 AEDER                BYRON                 IL         19L0022          THE GORI LAW FIRM PC
WILSON               CHARLES M             FL         02005181         THE FERRARO LAW FIRM                                 AEDER                DONNA                 IL         19L0022          THE GORI LAW FIRM PC
WILSON               DIANNE                FL         02005181         THE FERRARO LAW FIRM                                 AFFATATI             JOHN V                IL         2019L001754      THE GORI LAW FIRM PC
WILSON               EUGENE B              FL         0905629207       THE FERRARO LAW FIRM                                 AFFATATI             MARY C                IL         2019L001754      THE GORI LAW FIRM PC
WILSON               JIMMIE                FL         998958Z          THE FERRARO LAW FIRM                                 AIKEN                ESTHER                IL         18L0282          THE GORI LAW FIRM PC
WILSON               JULIA                 FL         998958Z          THE FERRARO LAW FIRM                                 AIKEN                LINDBURGH             IL         18L0282          THE GORI LAW FIRM PC
WILSON               LARRY E               FL         9613413          THE FERRARO LAW FIRM                                 AKEY                 SANDY                 IL         18L0485          THE GORI LAW FIRM PC
WILSON               PAULA                 FL         0905629207       THE FERRARO LAW FIRM                                 AKEY                 STEVEN                IL         18L0485          THE GORI LAW FIRM PC
WILSON               THERESA               FL         9613413          THE FERRARO LAW FIRM                                 AKIN                 DUDLEY                IL         15L11            THE GORI LAW FIRM PC
WIMBERLY             JOHN Y                FL         9918638          THE FERRARO LAW FIRM                                 ALEXANDER            CHARLOTTE             LA         201701610        THE GORI LAW FIRM PC
WIMBERLY             MARIE                 FL         9918638          THE FERRARO LAW FIRM                                 ALEXANDER            ELLEN MARIE           IL         2014L001092      THE GORI LAW FIRM PC
WIRE                 JANE                  FL         030550427        THE FERRARO LAW FIRM                                 ALEXANDER            FLORENCE CAROL        IL         18L0139          THE GORI LAW FIRM PC
WIRE                 NOEL E                FL         030550427        THE FERRARO LAW FIRM                                 ALEXANDER            GERALD HUGH           IL         18L0139          THE GORI LAW FIRM PC
WITHERSPOON          CHARLES               FL         05005673Z        THE FERRARO LAW FIRM                                 ALEXANDER            NICHOLAS              IL         18L0500          THE GORI LAW FIRM PC
WITHERSPOON          ROSIE                 FL         05005673Z        THE FERRARO LAW FIRM                                 ALEXANDER            RAYMOND               IL         19L0021          THE GORI LAW FIRM PC
WOLD                 DEBORAH               FL         0214810          THE FERRARO LAW FIRM                                 ALEXANDER            SHIRLEY               IL         19L0021          THE GORI LAW FIRM PC
WOLD                 GERALD D              FL         0214810          THE FERRARO LAW FIRM                                 ALEXANDER            THEODORE              IL         2014L001092      THE GORI LAW FIRM PC
WOODARD              BRENDA S              FL         0502715Z         THE FERRARO LAW FIRM                                 ALFONSO              DENISE                IL         19L0462          THE GORI LAW FIRM PC
WOODARD              DOUGLAS B             FL         0502715Z         THE FERRARO LAW FIRM                                 ALFONSO              PETER JOHN            IL         19L0462          THE GORI LAW FIRM PC
WOODFORD             ADRIAN                MA         1581CV06983      THE FERRARO LAW FIRM                                 ALFORD               JAMES JARRELL         IL         2014L001622      THE GORI LAW FIRM PC
WOODHAM              ANTHOLYN              FL         9911305          THE FERRARO LAW FIRM                                 ALFORD               JOHN F                IL         2014L001622      THE GORI LAW FIRM PC
WOODHAM              BRUCE                 FL         9911305          THE FERRARO LAW FIRM                                 ALFRED               MAUDRY                LA         201908525        THE GORI LAW FIRM PC
WOODS                FRED                  FL         2004CA001848     THE FERRARO LAW FIRM                                 ALFRED               ROBERT                LA         201908525        THE GORI LAW FIRM PC
WOODS                WILLIE BELLE          FL         2004CA001848     THE FERRARO LAW FIRM                                 ALLEMAN              ELDISE                MO         1522CC10993      THE GORI LAW FIRM PC
WOOTEN               LESTER                FL         9911924          THE FERRARO LAW FIRM                                 ALLEMAN              EMILE                 MO         1522CC10993      THE GORI LAW FIRM PC
WOOTEN               MURIEL                FL         9911924          THE FERRARO LAW FIRM                                 ALLEMAN              RONNY                 MO         1522CC10993      THE GORI LAW FIRM PC
WOULARD              JAMES                 FL         9913182          THE FERRARO LAW FIRM                                 ALLEN                DAVID L               IL         19L0031          THE GORI LAW FIRM PC
WOULARD              PATTY                 FL         9913182          THE FERRARO LAW FIRM                                 ALLEN                DELTA M               MO         1922CC11775      THE GORI LAW FIRM PC
WYLIE                CHARLES W             FL         0203269          THE FERRARO LAW FIRM                                 ALLEN                J HAROLD              MO         1922CC11775      THE GORI LAW FIRM PC
WYLIE                ROSALIE               FL         0203269          THE FERRARO LAW FIRM                                 ALLEN                PAMELA                LA         201711957        THE GORI LAW FIRM PC
YATES                CHARLES W             FL         998960Z          THE FERRARO LAW FIRM                                 ALLEN                ROGER                 MO         1922CC11775      THE GORI LAW FIRM PC
YATES                VIVIAN L              FL         998960Z          THE FERRARO LAW FIRM                                 ALLEY                JOHN                  MO         1622CC08694      THE GORI LAW FIRM PC
YAZEL                BEULAH                FL         9911266          THE FERRARO LAW FIRM                                 ALNE                 JOHN                  IL         2017L000061      THE GORI LAW FIRM PC
YAZEL                JAMES                 FL         9911266          THE FERRARO LAW FIRM                                 ALNE                 SANDRA                IL         2017L000061      THE GORI LAW FIRM PC
YORK                 LOUIS L               FL         9911923          THE FERRARO LAW FIRM                                 ALSIKAFI             KHULUD                LA         C672865          THE GORI LAW FIRM PC
YORK                 NORMAN                FL         0505657Z         THE FERRARO LAW FIRM                                 ALSIKAFI             MAJEED                LA         C672865          THE GORI LAW FIRM PC
YORK                 SHARON                FL         9911923          THE FERRARO LAW FIRM                                 ALSPAW               RALPH JAY             IL         2016L001111      THE GORI LAW FIRM PC
YORK                 SHEILA                FL         0505657Z         THE FERRARO LAW FIRM                                 ALTIERI              CLARE                 IL         2019L000649      THE GORI LAW FIRM PC
YOUNGBLOOD           BRENDA LOUISE         FL         14CA005203       THE FERRARO LAW FIRM                                 ALTOM                BRENDA C              IL         2017L000706      THE GORI LAW FIRM PC
YOUNGBLOOD           NAEEM                 FL         14CA005203       THE FERRARO LAW FIRM                                 ALTOM                MITCHELL Y            IL         2017L000706      THE GORI LAW FIRM PC
ZIMMERMAN            ANNIE                 FL         004228           THE FERRARO LAW FIRM                                 ANDERS               CAROLYN               IL         19L0229          THE GORI LAW FIRM PC
ZIMMERMAN            NED A                 FL         004228           THE FERRARO LAW FIRM                                 ANDERS               JOHN HENRY            IL         19L0229          THE GORI LAW FIRM PC
ZITTROWER            CHARLES               FL         9913904          THE FERRARO LAW FIRM                                 ANDERSON             CAROLYN               IL         19L0429          THE GORI LAW FIRM PC
ZITTROWER            MARGARET              FL         9913904          THE FERRARO LAW FIRM                                 ANDERSON             DOIL                  IL         2016L001379      THE GORI LAW FIRM PC
          TRUE       ALICE                 FL         9512169          THE FERRARO LAW FIRM                                 ANDERSON             ELTON                 IL         2015L001453      THE GORI LAW FIRM PC
          TRUE       ROBERT O              FL         9512169          THE FERRARO LAW FIRM                                 ANDERSON             GREGORY M             IL         2016L000204      THE GORI LAW FIRM PC
AARON                ECHO                  IL         2017L000431      THE GORI LAW FIRM PC                                 ANDERSON             JACQUELINE            MO         1622CC11349      THE GORI LAW FIRM PC
ABERNATHY            SHARON                IL         2019L001581      THE GORI LAW FIRM PC                                 ANDERSON             JAMES M               MO         1622CC11349      THE GORI LAW FIRM PC
ABEYTA               FRANCISCO             MO         1922CC08910      THE GORI LAW FIRM PC                                 ANDERSON             JUDITH                IL         2016L001379      THE GORI LAW FIRM PC
ABRIL                CLARISSA              IL         2017L001494      THE GORI LAW FIRM PC                                 ANDERSON             LINDA K               MO         1622CC09694      THE GORI LAW FIRM PC
ABRIL                MICHAEL               IL         2017L001494      THE GORI LAW FIRM PC                                 ANDERSON             LYNETTE               MO         1922CC10988      THE GORI LAW FIRM PC
ACHESON              BETTY E               IL         2019L001273      THE GORI LAW FIRM PC                                 ANDERSON             ORELIA                IL         2015L001453      THE GORI LAW FIRM PC
ACHESON              JAMES D               IL         2019L001273      THE GORI LAW FIRM PC                                 ANDERSON             PAUL GREGORY          IL         2016L000204      THE GORI LAW FIRM PC
ADAMS                BEN                   IL         18L0482          THE GORI LAW FIRM PC                                 ANDERSON             REBEKAH               MO         1922CC10509      THE GORI LAW FIRM PC
ADAMS                CHARLES F             IL         19L0658          THE GORI LAW FIRM PC                                 ANDERSON             SARAH A               IL         2015L001639      THE GORI LAW FIRM PC
ADAMS                DAVID                 IL         2017L001289      THE GORI LAW FIRM PC                                 ANDERSON             WALTER ARTHUR         IL         19L0429          THE GORI LAW FIRM PC
ADAMS                JANICE                IL         2017L001289      THE GORI LAW FIRM PC                                 ANDERSON             YVONNE                IL         2017L001256      THE GORI LAW FIRM PC
ADAMS                JERRY R               IL         18L0808          THE GORI LAW FIRM PC                                 ANDRES               MICHELLE              IL         2017L000313      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 698
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 33 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ANDREW               HENRY G               IL         19L0318          THE GORI LAW FIRM PC                                 BAKER                MAURICE               IL         2017L001748      THE GORI LAW FIRM PC
ANDREW               KARLA                 IL         19L0318          THE GORI LAW FIRM PC                                 BAKER                RICHARD               IL         18L0204          THE GORI LAW FIRM PC
ANDREWS              TOMMIE                IL         2017L000010      THE GORI LAW FIRM PC                                 BAKER                ROBERT E              IL         18L0825          THE GORI LAW FIRM PC
ANDREWS              WILLIE                IL         2017L000010      THE GORI LAW FIRM PC                                 BAKER                TAMMY                 IL         2019L000688      THE GORI LAW FIRM PC
ANDRUS               ISAAC                 IL         18L40            THE GORI LAW FIRM PC                                 BAKER                WILLIAM PAUL          IL         2016L000055      THE GORI LAW FIRM PC
ANNE                 DANIEL                IL         2016L000588      THE GORI LAW FIRM PC                                 BALDWIN              JAMES LEROY           IL         2019L000442      THE GORI LAW FIRM PC
ANTINORI             FRANCIS A             IL         19L0652          THE GORI LAW FIRM PC                                 BALDWIN              TROY                  IL         2019L000442      THE GORI LAW FIRM PC
ANTINORI             JANE                  IL         19L0652          THE GORI LAW FIRM PC                                 BALENSIEFEN          DANNY                 IL         14L570           THE GORI LAW FIRM PC
ANZALONE             DIANE LECLAIR         PA         180703944        THE GORI LAW FIRM PC                                 BALERDI              JOSE JOAQUIN          IL         2017L000975      THE GORI LAW FIRM PC
ANZALONE             PETER J               PA         180703944        THE GORI LAW FIRM PC                                 BALERDI              SANDRA                IL         2017L000975      THE GORI LAW FIRM PC
APPLE                MARK                  IL         2017L000571      THE GORI LAW FIRM PC                                 BALES                ARLIE A               IL         18L45            THE GORI LAW FIRM PC
ARACE                NICHOLAS              IL         2017L001126      THE GORI LAW FIRM PC                                 BALES                DIANE                 IL         18L45            THE GORI LAW FIRM PC
ARACE                ROSEANN               IL         2017L001126      THE GORI LAW FIRM PC                                 BALLARD              ALEXIS B              IL         19L0746          THE GORI LAW FIRM PC
ARANYOSI             ANNIE                 IL         2017L000661      THE GORI LAW FIRM PC                                 BALLARD              CHRISTOPHER           IL         12L15            THE GORI LAW FIRM PC
ARANYOSI             JULIUS STEVE          IL         2017L000661      THE GORI LAW FIRM PC                                 BALLARD              JIMMIE CRAIG          IL         19L0746          THE GORI LAW FIRM PC
ARCHER               ERMA                  MO         1522CC00814      THE GORI LAW FIRM PC                                 BALLARD              TAMI                  IL         12L15            THE GORI LAW FIRM PC
ARCHER               NORMAN LESLIE         MO         1522CC00814      THE GORI LAW FIRM PC                                 BALOSA               MONI                  IL         2018L001398      THE GORI LAW FIRM PC
ARGO                 JOYCE                 IL         2019L000851      THE GORI LAW FIRM PC                                 BALSINGER            PAMELA                IL         2015L000768      THE GORI LAW FIRM PC
ARGO                 STEVE L               IL         2019L000851      THE GORI LAW FIRM PC                                 BALTIMORE            RICHARD               NY         UNKNOWN          THE GORI LAW FIRM PC
ARKEL                ROBIAH                IL         2019L001100      THE GORI LAW FIRM PC                                 BALTIMORE            SALLY                 NY         UNKNOWN          THE GORI LAW FIRM PC
ARNOLD               ANGELA                IL         18L0134          THE GORI LAW FIRM PC                                 BANTA                TIMOTHY ALLEN         IL         19L0465          THE GORI LAW FIRM PC
ARNOLD               JERRY LEE             IL         18L0134          THE GORI LAW FIRM PC                                 BARBER               BOBBIE T              IL         19L0439          THE GORI LAW FIRM PC
ARNOLD               KARLA                 IL         19L0097          THE GORI LAW FIRM PC                                 BARBER               CHARLES L             IL         19L0439          THE GORI LAW FIRM PC
ARNOLD               ROLAND E              IL         19L0097          THE GORI LAW FIRM PC                                 BARGA                TED W                 MO         1722CC11425      THE GORI LAW FIRM PC
ARNOT                BETTY                 IL         19L0838          THE GORI LAW FIRM PC                                 BARGER               RAMONA                IL         2018L000604      THE GORI LAW FIRM PC
ARNOT                JAMES                 IL         19L0838          THE GORI LAW FIRM PC                                 BARGER               ROY ARNOLD            IL         19L0303          THE GORI LAW FIRM PC
ATALLAH              ROSETTE               IL         2016L000280      THE GORI LAW FIRM PC                                 BARGER               WILLIAM               IL         2018L000604      THE GORI LAW FIRM PC
ATKINS               JENELLE               MO         1822CC11802      THE GORI LAW FIRM PC                                 BARKER               BENJAMIN              IL         19L0859          THE GORI LAW FIRM PC
ATKINS               PATRICIA              IL         18L0103          THE GORI LAW FIRM PC                                 BARKER               DOROTHY               IL         19L0859          THE GORI LAW FIRM PC
ATKINS               PATRICK               IL         18L0103          THE GORI LAW FIRM PC                                 BARNARD              BONNIE                IL         2016L000672      THE GORI LAW FIRM PC
ATZINGER             MARY LOU              IL         2017L000738      THE GORI LAW FIRM PC                                 BARNARD              GEORGE M              IL         2016L000672      THE GORI LAW FIRM PC
ATZINGER             SEBERT                IL         2017L000738      THE GORI LAW FIRM PC                                 BARNES               CATHY                 IL         2015L000805      THE GORI LAW FIRM PC
AUSTIN               RICHARD               IL         2015L001425      THE GORI LAW FIRM PC                                 BARNES               MONA LISA             IL         18L92            THE GORI LAW FIRM PC
AUSTIN               VALERIE               IL         2015L001425      THE GORI LAW FIRM PC                                 BARNETT              MARCIA ANITA          IL         2016L000680      THE GORI LAW FIRM PC
AVELAR               MARIA                 IL         2019L001293      THE GORI LAW FIRM PC                                 BARNETT              WILLIAM               IL         2016L000680      THE GORI LAW FIRM PC
AVERY                GERALD                IL         2017L000416      THE GORI LAW FIRM PC                                 BARRETT              BERTHA                IL         18L0178          THE GORI LAW FIRM PC
AYERS                LATEEFA               MO         1622CC10198      THE GORI LAW FIRM PC                                 BARRETT              GARLAND R             IL         2015L000089      THE GORI LAW FIRM PC
AYLESWITH-HOGAN      MARIA ANGELICA        NY         6089322019       THE GORI LAW FIRM PC                                 BARRETT              LAURA A               IL         2015L000089      THE GORI LAW FIRM PC
AYRES                ROBERT                IL         2016L001633      THE GORI LAW FIRM PC                                 BARRETT              WILLIE L              IL         18L0178          THE GORI LAW FIRM PC
AYRES                SANDRA                IL         2016L001633      THE GORI LAW FIRM PC                                 BARRETT-TAYLOR       SHEILA L              MO         1922CC12131      THE GORI LAW FIRM PC
BACA                 EDDIE J               IL         2016L001613      THE GORI LAW FIRM PC                                 BARTLETT             BARRY                 DE         N18C01074ASB     THE GORI LAW FIRM PC
BACA                 EDDIE JOE             IL         2016L001613      THE GORI LAW FIRM PC                                 BARTLETT             BRYAN                 DE         N18C01074ASB     THE GORI LAW FIRM PC
BACA                 RON                   IL         2016L001613      THE GORI LAW FIRM PC                                 BARTLETT             JAMES                 DE         N18C01074ASB     THE GORI LAW FIRM PC
BACHMANN             ALLAN                 IL         2017L001432      THE GORI LAW FIRM PC                                 BARTLETT             MARIE JEAN            DE         N18C01074ASB     THE GORI LAW FIRM PC
BACIGALUPI           FRED LOUIS            MO         1722CC01748      THE GORI LAW FIRM PC                                 BARTLETT             NICOLE                MD         24X17000403      THE GORI LAW FIRM PC
BACIGALUPI           WINIFRED              MO         1722CC01748      THE GORI LAW FIRM PC                                 BARTSCH              RICK A                IL         2015L000547      THE GORI LAW FIRM PC
BACON                CAROLYN               IL         18L0176          THE GORI LAW FIRM PC                                 BARTSCH              THEODORE JOSEPH       IL         2015L000547      THE GORI LAW FIRM PC
BACON                CAROLYNE              IL         18L0176          THE GORI LAW FIRM PC                                 BARTTETTE            ANGIE                 MO         1522CC00305      THE GORI LAW FIRM PC
BACON                ED H                  IL         18L0176          THE GORI LAW FIRM PC                                 BASDEN               DARLENE               MO         1922CC11564      THE GORI LAW FIRM PC
BADANGUIO            LETICIA               IL         2015L001588      THE GORI LAW FIRM PC                                 BASDEN               RAY A                 MO         1922CC11564      THE GORI LAW FIRM PC
BADANGUIO            RODOLFO RAGUAL        IL         2015L001588      THE GORI LAW FIRM PC                                 BASINGER             MICHAEL D             IL         2016L001405      THE GORI LAW FIRM PC
BAGLIO               GIACOMINO JOSEPH      IL         2017L000690      THE GORI LAW FIRM PC                                 BASINGER             RENEE                 IL         2016L001405      THE GORI LAW FIRM PC
BAGLIO               JOHN                  IL         2017L000690      THE GORI LAW FIRM PC                                 BASSO                HOWARD                IL         12L67            THE GORI LAW FIRM PC
BAGWELL              BILLY JOE             IL         19L0823          THE GORI LAW FIRM PC                                 BASSO                LOUISE                IL         12L67            THE GORI LAW FIRM PC
BAGWELL              WANDA                 IL         19L0823          THE GORI LAW FIRM PC                                 BATEMAN              GAYLON                IL         19L0304          THE GORI LAW FIRM PC
BAILEY               BOBBY                 MO         1722CC01426      THE GORI LAW FIRM PC                                 BATES                AMY LYNN              IL         2019L001720      THE GORI LAW FIRM PC
BAILEY               BOBBY RAY             MO         1722CC01426      THE GORI LAW FIRM PC                                 BATES                CAROLYN               IL         2019L000408      THE GORI LAW FIRM PC
BAILEY               BRENDA                MO         1722CC01426      THE GORI LAW FIRM PC                                 BATES                DOROTHY               IL         11L1007          THE GORI LAW FIRM PC
BAILEY               DAVE                  IL         2016L000929      THE GORI LAW FIRM PC                                 BATES                JOSEPH C              IL         2016L000893      THE GORI LAW FIRM PC
BAILEY               EARL LEE              IL         2015L000549      THE GORI LAW FIRM PC                                 BATES                LARRY                 IL         2019L000408      THE GORI LAW FIRM PC
BAILEY               SEAN                  IL         2016L000929      THE GORI LAW FIRM PC                                 BATES                PAUL R                IL         2015L001629      THE GORI LAW FIRM PC
BAILEY               THELMA                IL         2015L000549      THE GORI LAW FIRM PC                                 BATES                WILLIE R              IL         11L1007          THE GORI LAW FIRM PC
BAIN                 JIMMIE D              IL         2019L000775      THE GORI LAW FIRM PC                                 BATTENFIELD          NANCY                 IL         2016L001025      THE GORI LAW FIRM PC
BAIN                 RUBY                  IL         2019L000775      THE GORI LAW FIRM PC                                 BATTENFIELD          TOMMY                 IL         2016L001025      THE GORI LAW FIRM PC
BAIRD                JAMES E               IL         19L0609          THE GORI LAW FIRM PC                                 BATTISTE             RAYMOND D             IL         2019L000951      THE GORI LAW FIRM PC
BAIRD                REBA M                IL         19L0609          THE GORI LAW FIRM PC                                 BATTISTE             ROXANNE               IL         2019L000951      THE GORI LAW FIRM PC
BAJO                 DARRELL               IL         2019L001502      THE GORI LAW FIRM PC                                 BAXLEY               JAMES                 IL         18L0660          THE GORI LAW FIRM PC
BAKER                ALFRED EARL           IL         14L571           THE GORI LAW FIRM PC                                 BEACOM               JUDITH ANN            IL         2018L001539      THE GORI LAW FIRM PC
BAKER                CAROLYN               IL         18L0204          THE GORI LAW FIRM PC                                 BEACOM               JUDITH ANN            IL         2019L001678      THE GORI LAW FIRM PC
BAKER                GARY DAVID            IL         2019L000688      THE GORI LAW FIRM PC                                 BEACOM               RICHARD DEAN          IL         2018L001539      THE GORI LAW FIRM PC
BAKER                GLADYS                IL         2016L000055      THE GORI LAW FIRM PC                                 BEACOM               RICHARD DEAN          IL         2019L001678      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 699
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 34 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BEAGAN               JACQUELYN             NY         1904192018       THE GORI LAW FIRM PC                                 BERRY                JAMES                 MO         1622CC09756      THE GORI LAW FIRM PC
BEAGAN               JOHN                  NY         1904192018       THE GORI LAW FIRM PC                                 BERRYHILL            BETTY                 IL         19L0423          THE GORI LAW FIRM PC
BEAM                 FRANCELIA             IL         18L0389          THE GORI LAW FIRM PC                                 BERRYHILL            DAVID GLENN           IL         19L0423          THE GORI LAW FIRM PC
BEAM                 GREGORY MAURICE       IL         18L0389          THE GORI LAW FIRM PC                                 BETANCOURT           LEAH                  IL         2016L000365      THE GORI LAW FIRM PC
BEAN                 LYNNETTE              IL         2016L001029      THE GORI LAW FIRM PC                                 BEVENS               STEVEN                IL         2018L001551      THE GORI LAW FIRM PC
BEAN                 ROGER                 IL         2016L001029      THE GORI LAW FIRM PC                                 BEVERAGE             CHARLES K             MO         1622CC09694      THE GORI LAW FIRM PC
BEARD                HENRY                 IL         2019L000594      THE GORI LAW FIRM PC                                 BEVERAGE             LARRY C               MO         1622CC09694      THE GORI LAW FIRM PC
BEARD                JOSEPH E              IL         2019L001094      THE GORI LAW FIRM PC                                 BEVERS               CHERYL                MO         1622CC03106      THE GORI LAW FIRM PC
BEARD                ROSEMARY              IL         2019L001094      THE GORI LAW FIRM PC                                 BEVERS               LARRY                 MO         1622CC03106      THE GORI LAW FIRM PC
BEASLEY              CAROL                 IL         2017L000749      THE GORI LAW FIRM PC                                 BEXLEY               RICHARD CHARLES       IL         17L771           THE GORI LAW FIRM PC
BEATTY               SHARON                IL         19L0320          THE GORI LAW FIRM PC                                 BEXLEY               WANDA KAY             IL         17L771           THE GORI LAW FIRM PC
BEATTY               TOMMY G               IL         19L0320          THE GORI LAW FIRM PC                                 BHUYUAN              MAHENDRA              MO         1822CC00722      THE GORI LAW FIRM PC
BEAVER               POLLY DIANE           IL         19L0373          THE GORI LAW FIRM PC                                 BIANCHETTI           JANET                 IL         18L0275          THE GORI LAW FIRM PC
BECCIA               KELLY ANN             MO         1622CC10872      THE GORI LAW FIRM PC                                 BIANCHETTI           ROBERT                IL         18L0275          THE GORI LAW FIRM PC
BECCIA               RICHARD               MO         1622CC10872      THE GORI LAW FIRM PC                                 BIANES               FRANCES               IL         2017L000473      THE GORI LAW FIRM PC
BECK                 EMMA                  PA         170101026        THE GORI LAW FIRM PC                                 BIANES               FRANCES LOUISE        MO         1922CC00359      THE GORI LAW FIRM PC
BECK                 GLENN                 PA         170101026        THE GORI LAW FIRM PC                                 BIANES               FREDDIE               IL         2017L000473      THE GORI LAW FIRM PC
BECKER               DORIS ANN             IL         2019L000206      THE GORI LAW FIRM PC                                 BIANES               JAMES DAVID           MO         1922CC00359      THE GORI LAW FIRM PC
BECKER               JAMES L               IL         2016L001194      THE GORI LAW FIRM PC                                 BIDDY                CLIFFORD              IL         13L1340          THE GORI LAW FIRM PC
BECKER               KEVIN                 IL         2019L000206      THE GORI LAW FIRM PC                                 BIDWELL              PENELOPE              IL         2017L000442      THE GORI LAW FIRM PC
BECKTELL             MARY JANE             IL         2019L001330      THE GORI LAW FIRM PC                                 BIDWELL              ROBERT LEE            IL         2017L000442      THE GORI LAW FIRM PC
BECKTELL             PAUL D                IL         2019L001330      THE GORI LAW FIRM PC                                 BIEHL                CARL                  IL         18L0194          THE GORI LAW FIRM PC
BEECHAM              JAMES CHARLES         IL         18L0144          THE GORI LAW FIRM PC                                 BIEHL                CHRISTINE             IL         18L0194          THE GORI LAW FIRM PC
BEECHAM              LOUISE                IL         18L0144          THE GORI LAW FIRM PC                                 BILLINGS             ELIZABETH             MO         1822CC00152      THE GORI LAW FIRM PC
BEEGLE               JOSEPH                MO         1722CC00468      THE GORI LAW FIRM PC                                 BILLINGS             FLORENCE V            MO         1822CC00152      THE GORI LAW FIRM PC
BELL                 DARYL JOSEPH          IL         15L673           THE GORI LAW FIRM PC                                 BILLINGS             FLORENCE VIRGINIA     MO         1822CC00152      THE GORI LAW FIRM PC
BELL                 JANICE M              IL         15L673           THE GORI LAW FIRM PC                                 BILLINGS             JOHN S                MO         1822CC00152      THE GORI LAW FIRM PC
BELL                 JIMMIE A              IL         19L0023          THE GORI LAW FIRM PC                                 BINDER               JAMES                 IL         2018L000157      THE GORI LAW FIRM PC
BELL                 KENNETH               IL         18L0113          THE GORI LAW FIRM PC                                 BINDER               PATRICIA              IL         2018L000157      THE GORI LAW FIRM PC
BELL                 LINDA                 IL         19L0023          THE GORI LAW FIRM PC                                 BING                 RODNEY WALKUP         IL         2015L000346      THE GORI LAW FIRM PC
BELL                 MARY                  IL         18L0113          THE GORI LAW FIRM PC                                 BINGHAM              GEORGE WILEY          IL         18L0324          THE GORI LAW FIRM PC
BELL                 TREVELL               MO         1722CC00505      THE GORI LAW FIRM PC                                 BINION               EDWARD                MO         1722CC00541      THE GORI LAW FIRM PC
BELL                 TREVELL               IL         2017L000623      THE GORI LAW FIRM PC                                 BINION               JAMES T               IL         18L0223          THE GORI LAW FIRM PC
BELZER               COLETT                IL         2017L000278      THE GORI LAW FIRM PC                                 BINION               LINDA                 MO         1722CC00541      THE GORI LAW FIRM PC
BELZER               NORMAN RICHARD        IL         2017L000278      THE GORI LAW FIRM PC                                 BIRDSONG             DIANA                 MO         1622CC11396      THE GORI LAW FIRM PC
BEMENT               KAY                   MO         1822CC10674      THE GORI LAW FIRM PC                                 BIRDSONG             FLOYD                 MO         1622CC11396      THE GORI LAW FIRM PC
BEMENT               MARK A                MO         1822CC10674      THE GORI LAW FIRM PC                                 BIRKELUND            JAMES                 MO         1622CC01053      THE GORI LAW FIRM PC
BEMENT               MARK ALLEN            MO         1822CC10674      THE GORI LAW FIRM PC                                 BIRKELUND            JOHN RICHARD          MO         1622CC01053      THE GORI LAW FIRM PC
BENJAMIN             ANNA                  IL         2017L001475      THE GORI LAW FIRM PC                                 BIRKELUND            NICOLA                MO         1622CC01053      THE GORI LAW FIRM PC
BENJAMIN             HAROLD                IL         2017L001475      THE GORI LAW FIRM PC                                 BIRKELUND            SEANN                 MO         1622CC01053      THE GORI LAW FIRM PC
BENJAMIN             RICHARD               IL         19L0135          THE GORI LAW FIRM PC                                 BISESI               GUS P                 MO         1622CC00425      THE GORI LAW FIRM PC
BENJAMIN             RICHARD ALLEN         IL         19L0135          THE GORI LAW FIRM PC                                 BISHOP               BOBBIE                IL         2016L000019      THE GORI LAW FIRM PC
BENNETT              ALAN                  IL         2018L001138      THE GORI LAW FIRM PC                                 BISHOP               LARRY D               IL         2019L001690      THE GORI LAW FIRM PC
BENNETT              ALFRED                MO         1822CC10744      THE GORI LAW FIRM PC                                 BISHOP               SANDRA                IL         2019L001690      THE GORI LAW FIRM PC
BENNETT              DAVID LEE             IL         19L0370          THE GORI LAW FIRM PC                                 BLACKBURN            JERRY                 IL         2015L001407      THE GORI LAW FIRM PC
BENNETT              DEBRA                 MO         1922CC11775      THE GORI LAW FIRM PC                                 BLACKBURN            MALTA                 IL         2015L001407      THE GORI LAW FIRM PC
BENNETT              DIXIE                 IL         12L1386          THE GORI LAW FIRM PC                                 BLAIR                BETTE A               IL         2019L000645      THE GORI LAW FIRM PC
BENNETT              DONNA SUE             IL         19L0370          THE GORI LAW FIRM PC                                 BLAIR                HAROLD T              IL         2019L000645      THE GORI LAW FIRM PC
BENNETT              DOUGLAS               IL         12L1386          THE GORI LAW FIRM PC                                 BLAIR                JANIE                 IL         18L63            THE GORI LAW FIRM PC
BENNETT              JERRY                 MO         1622CC00365      THE GORI LAW FIRM PC                                 BLAIR                ROBERT                IL         18L63            THE GORI LAW FIRM PC
BENNETT              MARLA                 MO         1622CC00365      THE GORI LAW FIRM PC                                 BLAKE                ALISHA                IL         2019L000551      THE GORI LAW FIRM PC
BENNETT              PAMELA                MO         1822CC10744      THE GORI LAW FIRM PC                                 BLAKE                ROBERT R              IL         18L0243          THE GORI LAW FIRM PC
BENNETT              ROBERT FISCHER        MO         1622CC00365      THE GORI LAW FIRM PC                                 BLAKELY              CHARLES DWAIN         IL         2019L001301      THE GORI LAW FIRM PC
BENNETT ROGERO       RAGNA ISABELLE        IL         2019L001220      THE GORI LAW FIRM PC                                 BLAKELY              PHILLIP DWAIN         IL         2019L001301      THE GORI LAW FIRM PC
BENSCOTER            BILLY JOE             MO         1422CC00684      THE GORI LAW FIRM PC                                 BLANCHARD            DAVID DEAN            IL         2017L001410      THE GORI LAW FIRM PC
BENSCOTER            BINNIE                MO         1422CC00684      THE GORI LAW FIRM PC                                 BLANCHARD            SCOTT                 IL         2017L001410      THE GORI LAW FIRM PC
BENSCOTER            CHAD                  MO         1422CC00684      THE GORI LAW FIRM PC                                 BLANCHETTE           MICHAEL               IL         19L0323          THE GORI LAW FIRM PC
BENSCOTER            HUGH                  MO         1422CC00684      THE GORI LAW FIRM PC                                 BLANQUART            ELISA                 MO         1922CC11059      THE GORI LAW FIRM PC
BENSON               ROBERT E              IL         2019L000671      THE GORI LAW FIRM PC                                 BLANQUART            JOHN J                MO         1922CC11059      THE GORI LAW FIRM PC
BENSON               SUZANNE               IL         2019L000671      THE GORI LAW FIRM PC                                 BLANTON              CELESTE               IL         2018L000058      THE GORI LAW FIRM PC
BENTON               MICHAEL AUSTIN        IL         2018L001329      THE GORI LAW FIRM PC                                 BLANTON              HERBERT BLANE         IL         2018L000058      THE GORI LAW FIRM PC
BERES                ROBERT                IL         2016L000896      THE GORI LAW FIRM PC                                 BLICK                RICHARD LEE           IL         2016L000504      THE GORI LAW FIRM PC
BERG                 DANIEL                IL         2016L001728      THE GORI LAW FIRM PC                                 BLICK                SYLVIA                IL         2016L000504      THE GORI LAW FIRM PC
BERG                 JOHN NORMAN           IL         2016L001728      THE GORI LAW FIRM PC                                 BLOOMFIELD           HAROLD                IL         2015L000785      THE GORI LAW FIRM PC
BERGERON             ALBERT                MO         1822CC10707      THE GORI LAW FIRM PC                                 BLOOMFIELD           VIRGINIA              IL         2015L000785      THE GORI LAW FIRM PC
BERGERON             KAREN                 MO         1822CC10707      THE GORI LAW FIRM PC                                 BLUM                 TAMARA                IL         2018L001138      THE GORI LAW FIRM PC
BERGSTEDT            KIMBERLY              IL         11L0178          THE GORI LAW FIRM PC                                 BLUME                GERALD EUGENE         IL         18L0327          THE GORI LAW FIRM PC
BERNATOWICZ          JOAN                  IL         2019L000785      THE GORI LAW FIRM PC                                 BLUME                SHIRLEY               IL         18L0327          THE GORI LAW FIRM PC
BERNATOWICZ          JOHN STEPHEN          IL         2019L000785      THE GORI LAW FIRM PC                                 BODE                 DAVID L               IL         13L495           THE GORI LAW FIRM PC
BERRY                AMANDA                LA         201601689        THE GORI LAW FIRM PC                                 BODE                 JASON                 IL         13L495           THE GORI LAW FIRM PC
BERRY                ARCHIE                LA         201601689        THE GORI LAW FIRM PC                                 BODIFORD             CAROLYN               IL         2019L000135      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 700
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 35 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BODIFORD             TERRY                 IL         2019L000135      THE GORI LAW FIRM PC                                 BRADLEY              GAIL                  IL         2018L001047      THE GORI LAW FIRM PC
BOEHLER              DUANE                 IL         2018L000258      THE GORI LAW FIRM PC                                 BRADLEY              JAMES                 IL         2018L001047      THE GORI LAW FIRM PC
BOEHLER              KAREN                 IL         2018L000258      THE GORI LAW FIRM PC                                 BRADLEY              JEROLINE              IL         2017L000308      THE GORI LAW FIRM PC
BOGDANOVICH          AMANDA                MO         1822CC00389      THE GORI LAW FIRM PC                                 BRADLEY              JOHN O                IL         2017L000308      THE GORI LAW FIRM PC
BOGDANOVICH          JOHN NICHOLAS         MO         1822CC00389      THE GORI LAW FIRM PC                                 BRADLEY              JOHN PRESTON          IL         2017L000012      THE GORI LAW FIRM PC
BOGDANOVICH          LANCE                 MO         1822CC00389      THE GORI LAW FIRM PC                                 BRADY                SANDRA                IL         2018L001515      THE GORI LAW FIRM PC
BOGDANOVICH          LISA FAYE             MO         1822CC00389      THE GORI LAW FIRM PC                                 BRAGG                CRYSTAL               MO         1422CC00684      THE GORI LAW FIRM PC
BOGNER               ALICIA                MO         1622CC00418      THE GORI LAW FIRM PC                                 BRAGG                LYDIA                 MO         1422CC00926      THE GORI LAW FIRM PC
BOHN                 HERMAN                IL         2018L001704      THE GORI LAW FIRM PC                                 BRAGGS               AMELIA                NY         8146412017       THE GORI LAW FIRM PC
BOKNEVITZ            ANN L                 IL         2017L000470      THE GORI LAW FIRM PC                                 BRAGGS               EUGENE                NY         8146412017       THE GORI LAW FIRM PC
BOKNEVITZ            LEONARD A             IL         2017L000470      THE GORI LAW FIRM PC                                 BRANDENBURGER        KATHLEEN              IL         10L464           THE GORI LAW FIRM PC
BOLEY                MARILYN               IL         2017L000374      THE GORI LAW FIRM PC                                 BRANHAM              LARRY DON             IL         18L0526          THE GORI LAW FIRM PC
BOLEY                RICHARD               IL         2017L000374      THE GORI LAW FIRM PC                                 BRANHAM              VIOLA                 IL         18L0526          THE GORI LAW FIRM PC
BOLIN                DELFRIEDA             IL         2017L001659      THE GORI LAW FIRM PC                                 BRANNAN              BEVERLY               IL         19L0350          THE GORI LAW FIRM PC
BOLIN                RONNIE G              IL         2019L001668      THE GORI LAW FIRM PC                                 BRANNAN              MAURICE               IL         19L0350          THE GORI LAW FIRM PC
BOLIN                SUSAN                 IL         2017L001659      THE GORI LAW FIRM PC                                 BRANNON              BEVERLY               MO         1922CC10784      THE GORI LAW FIRM PC
BOLING               JAMES P               IL         19L0585          THE GORI LAW FIRM PC                                 BRANNON              ROBERT                MO         1922CC10784      THE GORI LAW FIRM PC
BOLING               JERRY E               IL         19L0585          THE GORI LAW FIRM PC                                 BRANTLEY             HILDE                 IL         18L0354          THE GORI LAW FIRM PC
BONANO RODRIGUEZ     EDGAR A               IL         2017L001152      THE GORI LAW FIRM PC                                 BRANTLEY             ROBERT E              IL         18L0354          THE GORI LAW FIRM PC
BONDI                ANTHONY               IL         2016L000146      THE GORI LAW FIRM PC                                 BRANUM               ADRIENNE              IL         2017L000433      THE GORI LAW FIRM PC
BONDI                DOROTHY               IL         2016L000146      THE GORI LAW FIRM PC                                 BRANUM               KEITH                 IL         2017L000433      THE GORI LAW FIRM PC
BONDS                BONNIE                IL         2017L000611      THE GORI LAW FIRM PC                                 BRAZZLE              CHARLOTTE             IL         19L0752          THE GORI LAW FIRM PC
BONDS                RONALD E              IL         2017L000611      THE GORI LAW FIRM PC                                 BRAZZLE              DUKESQUBO             IL         19L0752          THE GORI LAW FIRM PC
BONDURANT            CAROLYN               MO         1722CC00791      THE GORI LAW FIRM PC                                 BREAU                KATHLEEN              IL         19L0880          THE GORI LAW FIRM PC
BONDURANT            JERALD                MO         1722CC00791      THE GORI LAW FIRM PC                                 BREAU                WILLIAM               IL         19L0880          THE GORI LAW FIRM PC
BOOKER               DELMAR                IL         2016L001196      THE GORI LAW FIRM PC                                 BREAUX               BRANDON GILBERT       IL         19L0562          THE GORI LAW FIRM PC
BOOKER               RALPH LANE            IL         2016L001196      THE GORI LAW FIRM PC                                 BREAUX               CASSANDRA ADELYNN     LA         201803515        THE GORI LAW FIRM PC
BOOTHE               EDDIE                 IL         19L0297          THE GORI LAW FIRM PC                                 BREAUX               GENE JOSEPH           LA         201803515        THE GORI LAW FIRM PC
BOOTHE               TERRIE                IL         19L0297          THE GORI LAW FIRM PC                                 BREAUX               MARCY L               IL         19L0562          THE GORI LAW FIRM PC
BORGMAN              CAROL GRACE           IL         14L776           THE GORI LAW FIRM PC                                 BRECKENRIDGE         DEBRA                 MO         1822CC00377      THE GORI LAW FIRM PC
BORGMAN              EDMUND LOUIS          IL         14L776           THE GORI LAW FIRM PC                                 BRECKENRIDGE         JEREMY                MO         1822CC00377      THE GORI LAW FIRM PC
BORST                BEVERLY               MO         1622CC10551      THE GORI LAW FIRM PC                                 BRECKENRIDGE         KENNETH ALLEN         MO         1822CC00377      THE GORI LAW FIRM PC
BORST                DALE E                IL         2019L000702      THE GORI LAW FIRM PC                                 BREGMAN              CAROL                 PA         170100995        THE GORI LAW FIRM PC
BORST                EDWIN                 MO         1622CC10551      THE GORI LAW FIRM PC                                 BRENNER              URSULA K              IL         2017L000409      THE GORI LAW FIRM PC
BORST                EVELYN H              IL         2019L000702      THE GORI LAW FIRM PC                                 BRENNER              URSULA K              MO         1722CC00848      THE GORI LAW FIRM PC
BORST                RICHARD               MO         1622CC10551      THE GORI LAW FIRM PC                                 BRENTON              BETTY                 MO         1622CC00420      THE GORI LAW FIRM PC
BORST                RICHARD LEROY         MO         1622CC10551      THE GORI LAW FIRM PC                                 BREWER               CHAD                  IL         19L0128          THE GORI LAW FIRM PC
BORST                RICKIE                MO         1622CC10551      THE GORI LAW FIRM PC                                 BREWER               DIANNA H              IL         2015L000738      THE GORI LAW FIRM PC
BORTH                BETTY                 IL         2017L000550      THE GORI LAW FIRM PC                                 BREWER               JAMES G               IL         2015L000738      THE GORI LAW FIRM PC
BORTH                NORBERT               IL         2017L000550      THE GORI LAW FIRM PC                                 BREWER               JOHNNY H              IL         19L0626          THE GORI LAW FIRM PC
BORTUGNO             SAMUEL EDWARD         IL         2017L000059      THE GORI LAW FIRM PC                                 BREWER               KAREN                 IL         19L0626          THE GORI LAW FIRM PC
BORTUGNO             VICTOR G              IL         2017L000059      THE GORI LAW FIRM PC                                 BREWER               LARRY HOWARD          IL         19L0128          THE GORI LAW FIRM PC
BOSTICK              JIMMY                 IL         18L0786          THE GORI LAW FIRM PC                                 BREWER               LILBURNE J            IL         19L0159          THE GORI LAW FIRM PC
BOSTICK              NANCY                 IL         18L0786          THE GORI LAW FIRM PC                                 BREZNIAK             ELEANOR               IL         2019L000188      THE GORI LAW FIRM PC
BOUDREAUX            CHRISTY               LA         201404296        THE GORI LAW FIRM PC                                 BREZNIAK             VICTOR                IL         2019L000188      THE GORI LAW FIRM PC
BOUDREAUX            CLARA                 LA         201404296        THE GORI LAW FIRM PC                                 BRIDGEMAN            BRENDA JOYCE          IL         2015L000374      THE GORI LAW FIRM PC
BOUDREAUX            RAY JOSEPH            LA         201404296        THE GORI LAW FIRM PC                                 BRIDGEMAN            ROBERT                IL         2015L000374      THE GORI LAW FIRM PC
BOULDIN              ROBERT L              IL         2019L001100      THE GORI LAW FIRM PC                                 BRISCOE              DONNA                 IL         2017L001688      THE GORI LAW FIRM PC
BOURGEOIS            GARALDINE             IL         2018L001742      THE GORI LAW FIRM PC                                 BROADNAX             CHARLES DENNIS        IL         2015L000364      THE GORI LAW FIRM PC
BOURGEOIS            WAYNE JUDE            IL         2018L001742      THE GORI LAW FIRM PC                                 BROADWAY             GRIMES                IL         18L0417          THE GORI LAW FIRM PC
BOWEN                COTTON                IL         2019L001538      THE GORI LAW FIRM PC                                 BROADWAY             HESTER                MO         1622CC01226      THE GORI LAW FIRM PC
BOWEN                DEBBIE                IL         16L26            THE GORI LAW FIRM PC                                 BROADWAY             JOHN                  MO         1622CC01226      THE GORI LAW FIRM PC
BOWEN                JUDITH                IL         2019L001538      THE GORI LAW FIRM PC                                 BROADWAY             WILLIE MAE            IL         18L0417          THE GORI LAW FIRM PC
BOWERS               DAVID                 IL         18L0129          THE GORI LAW FIRM PC                                 BROCK                BOBBY                 IL         2017L000625      THE GORI LAW FIRM PC
BOWERS               JACQUELINE            IL         18L0129          THE GORI LAW FIRM PC                                 BROCKEL              DONNA                 MO         1622CC10177      THE GORI LAW FIRM PC
BOWLING              BRENDA                IL         2019L001675      THE GORI LAW FIRM PC                                 BROCKER              JERRY                 IL         19L0131          THE GORI LAW FIRM PC
BOWLING              RICHARD C             IL         2019L001704      THE GORI LAW FIRM PC                                 BROCKER              MAYE BETH             IL         19L0131          THE GORI LAW FIRM PC
BOWLING              ROBIN                 IL         2019L001704      THE GORI LAW FIRM PC                                 BROFFORD             MICHAEL               IL         2018L000203      THE GORI LAW FIRM PC
BOWLING              ZOLLIE                IL         2019L001675      THE GORI LAW FIRM PC                                 BROFFORD             ROGER                 IL         2018L000203      THE GORI LAW FIRM PC
BOWMAN               BARBARA A             IL         12L2049          THE GORI LAW FIRM PC                                 BROOKINS             RODNEY                MO         1722CC00465      THE GORI LAW FIRM PC
BOWMAN               DORIS FAY             IL         2015L001042      THE GORI LAW FIRM PC                                 BROOKINS             WILMA                 MO         1722CC00465      THE GORI LAW FIRM PC
BOWMAN               ROBERT                IL         2015L001042      THE GORI LAW FIRM PC                                 BROOKS               DIANE                 MO         1522CC11036      THE GORI LAW FIRM PC
BOWMAN               ROGER ALLEN           IL         12L2049          THE GORI LAW FIRM PC                                 BROOKS               LEE A                 IL         19L0889          THE GORI LAW FIRM PC
BOYD                 EARNEST               IL         18L0588          THE GORI LAW FIRM PC                                 BROOKS               REX                   IL         19L0889          THE GORI LAW FIRM PC
BOYD                 GWENDOLYN             IL         2016L001458      THE GORI LAW FIRM PC                                 BROUGHTON            VERLENE               IL         2017L000510      THE GORI LAW FIRM PC
BOYD                 JOYCE                 IL         2017L000212      THE GORI LAW FIRM PC                                 BROWER               CAROL                 IL         18L0734          THE GORI LAW FIRM PC
BOYD                 MAXINE                IL         18L0588          THE GORI LAW FIRM PC                                 BROWER               NORMAN                IL         18L0734          THE GORI LAW FIRM PC
BOYKIN               ROWENA                MO         1822CC10536      THE GORI LAW FIRM PC                                 BROWN                ANNA PAULA            IL         19L0723          THE GORI LAW FIRM PC
BOZZO                CYNTHIA L             IL         19L0790          THE GORI LAW FIRM PC                                 BROWN                BRUCE A               IL         2017L000417      THE GORI LAW FIRM PC
BRADLEY              CAROLYN               IL         2017L000012      THE GORI LAW FIRM PC                                 BROWN                CAROL A               IL         2015L000376      THE GORI LAW FIRM PC
BRADLEY              ELIZABETH             MO         1722CC11425      THE GORI LAW FIRM PC                                 BROWN                CHERYL                IL         18L0484          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 701
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 36 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BROWN                CORNELIUS             MO         1822CC00485      THE GORI LAW FIRM PC                                 BURKERSON            ANGIE                 MO         1622CC09571      THE GORI LAW FIRM PC
BROWN                CYNTHIA ANN           IL         2015L001265      THE GORI LAW FIRM PC                                 BURKS                JAMES H               IL         2019L001457      THE GORI LAW FIRM PC
BROWN                DARLENE               MO         1722CC00042      THE GORI LAW FIRM PC                                 BURKS                SADIE                 IL         18L0735          THE GORI LAW FIRM PC
BROWN                DARLENE               IL         18L0535          THE GORI LAW FIRM PC                                 BURKS                SHANNON               IL         2019L001457      THE GORI LAW FIRM PC
BROWN                DIANE M               IL         2019L001352      THE GORI LAW FIRM PC                                 BURKS                VONCEIL               IL         2016L001576      THE GORI LAW FIRM PC
BROWN                DOOLRECY              MO         1822CC00485      THE GORI LAW FIRM PC                                 BURLINGAME           JACQUELINE            IL         2019L000558      THE GORI LAW FIRM PC
BROWN                ETHEL                 IL         2015L000837      THE GORI LAW FIRM PC                                 BURNELL              JANET                 IL         13L926           THE GORI LAW FIRM PC
BROWN                FLORENTINA            IL         19L0236          THE GORI LAW FIRM PC                                 BURNELL              VERNON J              IL         13L926           THE GORI LAW FIRM PC
BROWN                GARY                  IL         2019L001352      THE GORI LAW FIRM PC                                 BURNETT              DENNIS EDWARD         IL         2018L000902      THE GORI LAW FIRM PC
BROWN                GEORGE B              IL         2019L001649      THE GORI LAW FIRM PC                                 BURNETT-YARNELL      CHRISTIE              IL         2018L000902      THE GORI LAW FIRM PC
BROWN                GERALDINE             IL         12L280           THE GORI LAW FIRM PC                                 BURNHAM              ROBERT W              IL         2018L001644      THE GORI LAW FIRM PC
BROWN                GORDON BYRL           IL         2015L001265      THE GORI LAW FIRM PC                                 BURNS                DONNA LEE             IL         2019L000644      THE GORI LAW FIRM PC
BROWN                HARLEY                IL         13L1215          THE GORI LAW FIRM PC                                 BURNS                JUDITH                IL         2018L000039      THE GORI LAW FIRM PC
BROWN                HENRY                 IL         2017L001123      THE GORI LAW FIRM PC                                 BURNS                KENDRA                IL         2019L000644      THE GORI LAW FIRM PC
BROWN                LARRY C               MO         1822CC00297      THE GORI LAW FIRM PC                                 BURNS                MORLEY N              IL         2018L001297      THE GORI LAW FIRM PC
BROWN                LEONARD R             IL         18L0484          THE GORI LAW FIRM PC                                 BURNS                SAMANTHA              IL         2018L001297      THE GORI LAW FIRM PC
BROWN                LESTER N              IL         19L0723          THE GORI LAW FIRM PC                                 BURRAGE              JEWELL                MO         1822CC10536      THE GORI LAW FIRM PC
BROWN                LUCILLE               IL         13L1215          THE GORI LAW FIRM PC                                 BURT                 ANGELA                MO         1622CC11304      THE GORI LAW FIRM PC
BROWN                MARQUETTA             MO         1822CC00485      THE GORI LAW FIRM PC                                 BURT                 DOROTHY               IL         2017L001362      THE GORI LAW FIRM PC
BROWN                MARYLENE S            IL         2019L001649      THE GORI LAW FIRM PC                                 BURT                 STACY C               IL         2017L001362      THE GORI LAW FIRM PC
BROWN                MICHAEL T             IL         19L0236          THE GORI LAW FIRM PC                                 BURTON               LINDA                 IL         19L0054          THE GORI LAW FIRM PC
BROWN                PAUL M                MO         1422CC00599      THE GORI LAW FIRM PC                                 BURTON               ROBERT L              IL         19L0054          THE GORI LAW FIRM PC
BROWN                ROBERT                NY         2018258511       THE GORI LAW FIRM PC                                 BUSH                 JUDY                  IL         19L0317          THE GORI LAW FIRM PC
BROWN                ROBERT C              IL         2015L000837      THE GORI LAW FIRM PC                                 BUSH                 LAWRENCE              IL         19L0317          THE GORI LAW FIRM PC
BROWN                RUTH                  IL         2017L001123      THE GORI LAW FIRM PC                                 BUSICK               CAROL                 MO         1622CC00204      THE GORI LAW FIRM PC
BROWN                SHIRLENE              MO         1822CC00297      THE GORI LAW FIRM PC                                 BUSTOS               JERELDINE             IL         19L0664          THE GORI LAW FIRM PC
BROWN                THERESA               NY         2018258511       THE GORI LAW FIRM PC                                 BUSTOS               RICHARD B             IL         19L0664          THE GORI LAW FIRM PC
BROWN                WILLIAM A             IL         2015L000376      THE GORI LAW FIRM PC                                 BUTLER               BARBARA ANN           IL         2019L000709      THE GORI LAW FIRM PC
BROYLES              BRENT                 IL         18L0764          THE GORI LAW FIRM PC                                 BUTLER               CORNELIUS             IL         18L0320          THE GORI LAW FIRM PC
BROYLES              MARY L                IL         18L0764          THE GORI LAW FIRM PC                                 BUTLER               DORIS                 IL         18L0320          THE GORI LAW FIRM PC
BRUDER               CHERYL                MO         1722CC00434      THE GORI LAW FIRM PC                                 BUTLER               JACQUELYN             IL         18L0629          THE GORI LAW FIRM PC
BRUDER               WILLIAM               MO         1722CC00434      THE GORI LAW FIRM PC                                 BUTLER               LEVIE                 IL         18L0629          THE GORI LAW FIRM PC
BRUMBAUGH            EDDY                  IL         10L561           THE GORI LAW FIRM PC                                 BUTLER               ROYCE A               IL         19L0146          THE GORI LAW FIRM PC
BRUMBAUGH            JERALDEEN             IL         10L561           THE GORI LAW FIRM PC                                 BUTLER               ROYCE ARNOLD          IL         19L0146          THE GORI LAW FIRM PC
BRUNER               DANNY M               IL         19L0628          THE GORI LAW FIRM PC                                 BUTLER-MORGAN        BARBARA               IL         12L166           THE GORI LAW FIRM PC
BRUNER               MARY                  IL         19L0628          THE GORI LAW FIRM PC                                 BUTTARO              CHRISTINA M           IL         2016L000856      THE GORI LAW FIRM PC
BRUSH                JACQUELINE            IL         2016L000894      THE GORI LAW FIRM PC                                 BUTTS                KEVIN D               IL         18L0303          THE GORI LAW FIRM PC
BRUSH                REX P                 IL         2016L000894      THE GORI LAW FIRM PC                                 BUTTS                MELBA J               MO         1922CC11814      THE GORI LAW FIRM PC
BRUTON               WILLIAM               IL         2017L000501      THE GORI LAW FIRM PC                                 BUTTS                NICHOLAS              IL         18L0303          THE GORI LAW FIRM PC
BRUTON               YAYETH                IL         2017L000501      THE GORI LAW FIRM PC                                 BUTTS                WILLIAM L             MO         1922CC11814      THE GORI LAW FIRM PC
BRYANT               ALICE                 MO         1622CC09632      THE GORI LAW FIRM PC                                 BYERS                WILLIAM               IL         2018L000615      THE GORI LAW FIRM PC
BRYANT               GARY                  MO         1622CC09632      THE GORI LAW FIRM PC                                 BYKOWSKI             TAMMY                 MO         1522CC00571      THE GORI LAW FIRM PC
BRYDEN               ANGELIA               MO         1622CC11600      THE GORI LAW FIRM PC                                 BYRD                 JONAS                 IL         19L0355          THE GORI LAW FIRM PC
BRYDEN               ROBERT                MO         1622CC11600      THE GORI LAW FIRM PC                                 BYRD                 MARY L                IL         19L0355          THE GORI LAW FIRM PC
BUBENIK              BOBBY A               IL         2014L001569      THE GORI LAW FIRM PC                                 BYROM                SANDRA ANNE           IL         2017L000524      THE GORI LAW FIRM PC
BUBENIK              MARTHA JANE           IL         2014L001569      THE GORI LAW FIRM PC                                 CABY                 ARTHUR                MO         1722CC10934      THE GORI LAW FIRM PC
BUCK                 DAVID                 MO         1622CC11443      THE GORI LAW FIRM PC                                 CABY                 LINDA                 MO         1722CC10934      THE GORI LAW FIRM PC
BUCK                 SHEILA                MO         1622CC11443      THE GORI LAW FIRM PC                                 CADENA               HECTOR P              IL         2019L000404      THE GORI LAW FIRM PC
BUCK                 WILLIAM               MO         1622CC11443      THE GORI LAW FIRM PC                                 CADENA               MAXINE                IL         2019L000404      THE GORI LAW FIRM PC
BUCK                 WILLIAM L             MO         1622CC11443      THE GORI LAW FIRM PC                                 CAGE                 CHARLOTTE R           MO         1922CC10757      THE GORI LAW FIRM PC
BUDD                 AUDREY                MO         1622CC11557      THE GORI LAW FIRM PC                                 CAHILL               LEO ELLIS             IL         2018L000466      THE GORI LAW FIRM PC
BUDD                 CHARLES               MO         1622CC11557      THE GORI LAW FIRM PC                                 CAIRD                DAWN                  MO         1722CC00544      THE GORI LAW FIRM PC
BUDD                 JAMES                 MO         1622CC11557      THE GORI LAW FIRM PC                                 CALENDINE            JUDY                  IL         2017L000614      THE GORI LAW FIRM PC
BUDD                 SCOTT                 MO         1622CC11557      THE GORI LAW FIRM PC                                 CALENDINE            MYRON                 IL         2017L000614      THE GORI LAW FIRM PC
BUFFINGTON           CHRISTINE             IL         19L0478          THE GORI LAW FIRM PC                                 CALFEE               CHARLES               IL         2017L000110      THE GORI LAW FIRM PC
BUFFINGTON           GORDON                IL         18L0594          THE GORI LAW FIRM PC                                 CALFEE               VERONICA              IL         2017L000110      THE GORI LAW FIRM PC
BUFFINGTON           JUDITH JAGE           IL         18L0594          THE GORI LAW FIRM PC                                 CALHOUN              KATHLEEN              IL         19L0426          THE GORI LAW FIRM PC
BUFFINGTON           TIMOTHY R             IL         19L0478          THE GORI LAW FIRM PC                                 CALHOUN              WALTER LAURENCE       IL         19L0426          THE GORI LAW FIRM PC
BULLOCK              BILLY BRYAN           IL         2017L000408      THE GORI LAW FIRM PC                                 CALLOWAY             CHARLES               IL         2018L000770      THE GORI LAW FIRM PC
BULLOCK              ROSEMARY              IL         2017L000408      THE GORI LAW FIRM PC                                 CALLOWAY             CHARLES E             IL         2018L000770      THE GORI LAW FIRM PC
BUNFILL              KIMBERLY              MO         1822CC00153      THE GORI LAW FIRM PC                                 CALLOWAY             CHARYL                IL         2018L000770      THE GORI LAW FIRM PC
BUNNER               BETTY H               IL         19L0665          THE GORI LAW FIRM PC                                 CALLOWAY             JOYCE                 IL         2018L000770      THE GORI LAW FIRM PC
BUNNER               FRANK                 IL         19L0665          THE GORI LAW FIRM PC                                 CALVERT              EVERETT               IL         12L46            THE GORI LAW FIRM PC
BUOL                 IRIS                  IL         2017L000657      THE GORI LAW FIRM PC                                 CALVERT              GWENDOLYN             IL         12L46            THE GORI LAW FIRM PC
BUOL                 JOHN                  IL         2017L000657      THE GORI LAW FIRM PC                                 CALVIN               GREGORY               MO         1622CC01082      THE GORI LAW FIRM PC
BURASZESKI           JOSEPH F              IL         19L0649          THE GORI LAW FIRM PC                                 CAMDEN               FRED A                IL         18L0589          THE GORI LAW FIRM PC
BURGE                DAVID                 IL         2017L000492      THE GORI LAW FIRM PC                                 CAMDEN               NANCY D               IL         18L0589          THE GORI LAW FIRM PC
BURGE                JOAN                  IL         2017L000492      THE GORI LAW FIRM PC                                 CAMP                 EUGENE H              IL         19L0277          THE GORI LAW FIRM PC
BURKE                NANCY                 IL         2016L001159      THE GORI LAW FIRM PC                                 CAMPBELL             JOSEPHINE             IL         2016L000899      THE GORI LAW FIRM PC
BURKE                SHAWN                 IL         2016L001159      THE GORI LAW FIRM PC                                 CAMPBELL             LINDA                 IL         19L0693          THE GORI LAW FIRM PC
BURKE                WILLIAM E             IL         09L703           THE GORI LAW FIRM PC                                 CAMPBELL             MARY                  IL         2017L001652      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 702
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 37 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CANDELARIA           MILAGROS              IL         2015L001473      THE GORI LAW FIRM PC                                 CAVAN                THOMAS H              IL         2015L000372      THE GORI LAW FIRM PC
CANNAVAN             KIMBERLY              MO         1722CC00810      THE GORI LAW FIRM PC                                 CAYTON               CHRISTOPHER M         IL         19L0025          THE GORI LAW FIRM PC
CANNON               ROY LAMAR             IL         2017L001613      THE GORI LAW FIRM PC                                 CAYTON               MICHAEL D             IL         19L0025          THE GORI LAW FIRM PC
CANNON               TARA                  IL         2017L001613      THE GORI LAW FIRM PC                                 CELLA                MARGARET M            IL         2015L000546      THE GORI LAW FIRM PC
CANTU                GERALD                IL         18L0279          THE GORI LAW FIRM PC                                 CEPIELIK             JOSEPH                IL         2017L000409      THE GORI LAW FIRM PC
CANTU                PHYLLIS               IL         18L0279          THE GORI LAW FIRM PC                                 CEPIELIK             MARGY                 IL         2017L000409      THE GORI LAW FIRM PC
CARDINAL             BRANDON               IL         2018L001544      THE GORI LAW FIRM PC                                 CERNEY               CRAIG ALAN            IL         2019L000828      THE GORI LAW FIRM PC
CARDINAL             JEANNINE              IL         2018L001544      THE GORI LAW FIRM PC                                 CHADWICK             KELLY                 IL         14L428           THE GORI LAW FIRM PC
CAREY                ETHEL JEAN            IL         12L1535          THE GORI LAW FIRM PC                                 CHADWICK             MARK A                IL         14L428           THE GORI LAW FIRM PC
CAREY                JOSEPH H              IL         12L1535          THE GORI LAW FIRM PC                                 CHAFFINS             KATHY                 MO         1522CC09894      THE GORI LAW FIRM PC
CARLISLE             ANWAR                 MO         1722CC00505      THE GORI LAW FIRM PC                                 CHAGAS               JUDITH                IL         2015L001190      THE GORI LAW FIRM PC
CARLISLE             ANWAR                 IL         2017L000623      THE GORI LAW FIRM PC                                 CHAGAS               MANUEL                IL         2015L001190      THE GORI LAW FIRM PC
CARLISLE             DOLLYE                MO         1722CC00505      THE GORI LAW FIRM PC                                 CHAGOLLA             LINDA                 IL         2017L000724      THE GORI LAW FIRM PC
CARLISLE             DOLLYE                IL         2017L000623      THE GORI LAW FIRM PC                                 CHAGOLLA             TOM                   IL         2017L000724      THE GORI LAW FIRM PC
CARLISLE             JOYCE                 MO         1722CC00505      THE GORI LAW FIRM PC                                 CHAMBERLIN           JOANN                 IL         18L0819          THE GORI LAW FIRM PC
CARLISLE             JOYCE                 IL         2017L000623      THE GORI LAW FIRM PC                                 CHAMBERLIN           PAUL                  IL         18L0819          THE GORI LAW FIRM PC
CARLISLE             ROOSEVELT             MO         1722CC00505      THE GORI LAW FIRM PC                                 CHAMBERS             CAROL FAYE            IL         19L0428          THE GORI LAW FIRM PC
CARLISLE             ROOSEVELT             IL         2017L000623      THE GORI LAW FIRM PC                                 CHAMBERS             JIMMY D               IL         19L0402          THE GORI LAW FIRM PC
CARLYLE              LATOYA                MO         1622CC10089      THE GORI LAW FIRM PC                                 CHAMBERS             JOEL MELVIN           IL         19L0428          THE GORI LAW FIRM PC
CARMEL               SONIA E               MO         1422CC10178      THE GORI LAW FIRM PC                                 CHANDLER             JUDY                  MO         1822CC11902      THE GORI LAW FIRM PC
CARMODY              DONALD                IL         2018L001284      THE GORI LAW FIRM PC                                 CHANDLER             LONNIE                MO         1822CC11902      THE GORI LAW FIRM PC
CARMODY              KATHRYN               IL         2018L001284      THE GORI LAW FIRM PC                                 CHANEY               WILLIE R              IL         2016L000539      THE GORI LAW FIRM PC
CARNEY               NORMAN                IL         18L0338          THE GORI LAW FIRM PC                                 CHAPMAN              ABRAHAM               IL         19L0705          THE GORI LAW FIRM PC
CARPER               BRENDA K              IL         19L0613          THE GORI LAW FIRM PC                                 CHAPMAN              BETTY                 IL         2019L000718      THE GORI LAW FIRM PC
CARPER               DONALD L              IL         19L0613          THE GORI LAW FIRM PC                                 CHAPMAN              CATHY                 IL         19L0030          THE GORI LAW FIRM PC
CARR                 CECILLIA              IL         11L1274          THE GORI LAW FIRM PC                                 CHAPMAN              CHRISTINE             IL         19L0705          THE GORI LAW FIRM PC
CARR                 EDWARD                IL         18L0493          THE GORI LAW FIRM PC                                 CHAPMAN              FERD                  IL         2017L000152      THE GORI LAW FIRM PC
CARR                 GERALD                IL         18L18            THE GORI LAW FIRM PC                                 CHAPMAN              KARLA                 MO         1622CC09685      THE GORI LAW FIRM PC
CARR                 JUDY                  IL         18L0493          THE GORI LAW FIRM PC                                 CHAPMAN              LARRY                 IL         2019L000718      THE GORI LAW FIRM PC
CARR                 MARY                  IL         2017L000016      THE GORI LAW FIRM PC                                 CHAPMAN              LEE HOWARD            IL         19L0030          THE GORI LAW FIRM PC
CARR                 PRISCILLA             IL         18L18            THE GORI LAW FIRM PC                                 CHAPMAN              MONIKA                IL         2017L000152      THE GORI LAW FIRM PC
CARR                 STEPHEN               IL         11L1274          THE GORI LAW FIRM PC                                 CHAPMAN              RANDY                 IL         2015L001509      THE GORI LAW FIRM PC
CARRABINE            GERRIE A              MO         1922CC11795      THE GORI LAW FIRM PC                                 CHARD                ANNA                  IL         14L212           THE GORI LAW FIRM PC
CARRABINE            JOHN J                MO         1922CC11795      THE GORI LAW FIRM PC                                 CHARD                JOHN                  IL         14L212           THE GORI LAW FIRM PC
CARRABINO            JOHN                  IL         2019L001752      THE GORI LAW FIRM PC                                 CHARLES              HELEN                 IL         2018L000801      THE GORI LAW FIRM PC
CARRABINO            SALVATORE J           IL         2019L001752      THE GORI LAW FIRM PC                                 CHARLES              RICHARD               IL         2018L000801      THE GORI LAW FIRM PC
CARRELL              CLEO F                IL         2016L000267      THE GORI LAW FIRM PC                                 CHASE                MICHAEL               IL         2018L000323      THE GORI LAW FIRM PC
CARRELL              LOY                   IL         2016L000267      THE GORI LAW FIRM PC                                 CHATELLIER           ELIZABETH             IL         2017L000357      THE GORI LAW FIRM PC
CARRERA              FRANCISCO             IL         2019L000888      THE GORI LAW FIRM PC                                 CHATELLIER           JAMES                 IL         2017L000357      THE GORI LAW FIRM PC
CARRERA              MARTHA                IL         2019L000888      THE GORI LAW FIRM PC                                 CHATMAN              GLORIA                MO         1822CC11861      THE GORI LAW FIRM PC
CARRILLO             TAMI                  IL         2016L000308      THE GORI LAW FIRM PC                                 CHATMAN              RICHARD               MO         1822CC11861      THE GORI LAW FIRM PC
CARRION              JUAN                  IL         2017L000705      THE GORI LAW FIRM PC                                 CHAUVIN              CRYSTAL               MO         1622CC00216      THE GORI LAW FIRM PC
CARROLL              MICHAEL               IL         2017L000332      THE GORI LAW FIRM PC                                 CHAUVIN              SAMUEL                MO         1622CC00216      THE GORI LAW FIRM PC
CARTER               CALEB                 LA         201907104        THE GORI LAW FIRM PC                                 CHAVEZ               LUCY                  IL         2016L001613      THE GORI LAW FIRM PC
CARTER               DONALD                IL         15L22            THE GORI LAW FIRM PC                                 CHEEK                CATHERINE             IL         18L0769          THE GORI LAW FIRM PC
CARTER               ELISHA A              IL         19L0213          THE GORI LAW FIRM PC                                 CHEEK                ROBERT                IL         18L0769          THE GORI LAW FIRM PC
CARTER               GERALD D              LA         201907104        THE GORI LAW FIRM PC                                 CHERAMIE             SABLE                 MO         1522CC10993      THE GORI LAW FIRM PC
CARTER               JANETTE               IL         19L0213          THE GORI LAW FIRM PC                                 CHETLAIN             MERLIN G              IL         2019L000522      THE GORI LAW FIRM PC
CARTER               JULIA                 IL         15L22            THE GORI LAW FIRM PC                                 CHETLAIN             VIRGINIA A            IL         2019L000522      THE GORI LAW FIRM PC
CARTER               NICHOLAS J            IL         19L0841          THE GORI LAW FIRM PC                                 CHEVILLET            JAY                   IL         2017L000230      THE GORI LAW FIRM PC
CARTER               TAMELA L              IL         19L0617          THE GORI LAW FIRM PC                                 CHIARELLA            GEORGE                IL         19L0145          THE GORI LAW FIRM PC
CARTER               TOMMY LEE             IL         19L0617          THE GORI LAW FIRM PC                                 CHIARELLA            LINDA                 IL         19L0145          THE GORI LAW FIRM PC
CARVER               KATHLEEN M            IL         19L0495          THE GORI LAW FIRM PC                                 CHILDRESS            DOROTHY               IL         2017L001267      THE GORI LAW FIRM PC
CARVER               KEVIN LEE             IL         19L0495          THE GORI LAW FIRM PC                                 CHILDRESS            LAWRENCE              IL         2017L001267      THE GORI LAW FIRM PC
CARY                 SPENCER VAN           IL         18L0305          THE GORI LAW FIRM PC                                 CHMIELNICKI          THEODORE              IL         18L0296          THE GORI LAW FIRM PC
CASE                 EDE                   MO         1522CC00351      THE GORI LAW FIRM PC                                 CHOUINARD            LEANNE                IL         10L602           THE GORI LAW FIRM PC
CASE                 ROGER V               MO         1522CC00351      THE GORI LAW FIRM PC                                 CHOW                 MARTIN                IL         2019L001421      THE GORI LAW FIRM PC
CASEY                CATHY                 IL         18L0593          THE GORI LAW FIRM PC                                 CHRISNER             LOU                   IL         19L0618          THE GORI LAW FIRM PC
CASEY                DELMON                IL         2017L000437      THE GORI LAW FIRM PC                                 CHRISNER             RAYMOND C             IL         19L0618          THE GORI LAW FIRM PC
CASEY                JAMES                 IL         18L0593          THE GORI LAW FIRM PC                                 CHU                  TAMI ANN              IL         2019L000334      THE GORI LAW FIRM PC
CASEY                MARY ANN              IL         2017L000437      THE GORI LAW FIRM PC                                 CHUDZIK              BERNARD JOSEPH        IL         2017L000580      THE GORI LAW FIRM PC
CASEY                STEEL O'NEAL          IL         2017L001759      THE GORI LAW FIRM PC                                 CHUDZIK              MARCIE                IL         2017L000580      THE GORI LAW FIRM PC
CASTANEDA            MARTHA                IL         2018L000507      THE GORI LAW FIRM PC                                 CHUPP                CAROL                 MO         1622CC11394      THE GORI LAW FIRM PC
CASTILLO             CARLOS E              IL         2018L000240      THE GORI LAW FIRM PC                                 CHUPP                GARY                  MO         1622CC11394      THE GORI LAW FIRM PC
CASTILLO             REBECCA L             IL         2018L000240      THE GORI LAW FIRM PC                                 CICALE               EDWARD J              IL         2017L001256      THE GORI LAW FIRM PC
CASTOR               SHERRI                MO         1622CC00342      THE GORI LAW FIRM PC                                 CLACKLEY             CHARLES W             IL         2018L001310      THE GORI LAW FIRM PC
CATES                MARY M                MO         1622CC00042      THE GORI LAW FIRM PC                                 CLACKLEY             SALLIE                IL         2018L001310      THE GORI LAW FIRM PC
CATES                ROBERT W              MO         1622CC00042      THE GORI LAW FIRM PC                                 CLARK                CHARLES E             IL         19L0169          THE GORI LAW FIRM PC
CATHERINE            SMITH H               IL         2017L000932      THE GORI LAW FIRM PC                                 CLARK                JAMES EDWARD          MO         1622CC11360      THE GORI LAW FIRM PC
CATO                 LINDA JOYCE           IL         11L681           THE GORI LAW FIRM PC                                 CLARK                LINDA                 MO         1922CC10933      THE GORI LAW FIRM PC
CAVAN                THOMAS                IL         2015L000372      THE GORI LAW FIRM PC                                 CLARK                MARGARET              IL         19L0169          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 703
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 38 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CLARK                RUBY                  MO         1622CC11360      THE GORI LAW FIRM PC                                 CONROY               JAMES J               IL         19L0351          THE GORI LAW FIRM PC
CLARK                SEAN                  MO         1622CC11360      THE GORI LAW FIRM PC                                 CONROY               MARTIN A              IL         2018L000246      THE GORI LAW FIRM PC
CLARK                SHANNON               MO         1622CC11360      THE GORI LAW FIRM PC                                 CONROY               NUALA                 IL         2018L000246      THE GORI LAW FIRM PC
CLARK                STEPHEN               IL         2018L000517      THE GORI LAW FIRM PC                                 CONSALVI             EUGENE                IL         2017L000669      THE GORI LAW FIRM PC
CLARKE               STEPHANIE A           IL         2019L001612      THE GORI LAW FIRM PC                                 CONYERS              IRENE                 IL         2015L001426      THE GORI LAW FIRM PC
CLAUDIA              BARGA                 MO         1722CC11425      THE GORI LAW FIRM PC                                 CONYERS              LOUIS                 IL         2015L001426      THE GORI LAW FIRM PC
CLAYTON              TERRY LEE             IL         18L92            THE GORI LAW FIRM PC                                 COOK                 COLLEEN               MO         1722CC01451      THE GORI LAW FIRM PC
CLEGG                ANGELIA               IL         2018L001629      THE GORI LAW FIRM PC                                 COOK                 KAREN                 MO         1722CC01451      THE GORI LAW FIRM PC
CLEM                 LELAND                IL         2017L000503      THE GORI LAW FIRM PC                                 COOK                 ROBERT DANIEL         IL         2018L000912      THE GORI LAW FIRM PC
CLEM                 MIRANDA               IL         2017L000503      THE GORI LAW FIRM PC                                 COOKS                BRENDA F              IL         15L226           THE GORI LAW FIRM PC
CLEVENGER            CHERIE                MO         1622CC10956      THE GORI LAW FIRM PC                                 COOKS                LIONEL                IL         15L226           THE GORI LAW FIRM PC
CLEVENGER            JACK                  MO         1622CC10956      THE GORI LAW FIRM PC                                 COOLEY               CLINTON JEROLD        IL         2017L000564      THE GORI LAW FIRM PC
CLIFFORD             ROBERT S              IL         18L0632          THE GORI LAW FIRM PC                                 COOLEY               HOWARD S              IL         18L0742          THE GORI LAW FIRM PC
CLIFTON              SUE                   IL         2018L000931      THE GORI LAW FIRM PC                                 COOLEY               SHARON                IL         18L0742          THE GORI LAW FIRM PC
CLOUSE               HELLEN                IL         13L2087          THE GORI LAW FIRM PC                                 COON                 JAMES ALBERT          IL         19L0427          THE GORI LAW FIRM PC
CLOUSE               WILLIAM H             IL         13L2087          THE GORI LAW FIRM PC                                 COON                 NANCY B               IL         19L0427          THE GORI LAW FIRM PC
COATNEY              PHYLLIS               IL         18L0122          THE GORI LAW FIRM PC                                 COOPER               EDWARD                IL         19L0235          THE GORI LAW FIRM PC
COATNEY              RODRICK               IL         18L0122          THE GORI LAW FIRM PC                                 COOPER               GARY E                MO         1722CC00517      THE GORI LAW FIRM PC
COATS                BOBBY D               IL         13L371           THE GORI LAW FIRM PC                                 COOPER               MARGI                 IL         2016L001015      THE GORI LAW FIRM PC
COATS                TONYA                 IL         13L371           THE GORI LAW FIRM PC                                 COOPER               RONALD E              IL         19L0055          THE GORI LAW FIRM PC
COBB                 ANNIE                 IL         19L0252          THE GORI LAW FIRM PC                                 COOPER               STEPHEN               IL         2016L001015      THE GORI LAW FIRM PC
COBB                 CHARLES WILLIAM       IL         10L464           THE GORI LAW FIRM PC                                 COOPER               SUZANNE               IL         19L0055          THE GORI LAW FIRM PC
COBB                 DONNIE G              IL         2019L000781      THE GORI LAW FIRM PC                                 COPE                 JACOB R               IL         19L0337          THE GORI LAW FIRM PC
COBB                 GARY                  IL         14L508           THE GORI LAW FIRM PC                                 COPE                 TANA                  IL         2015L000012      THE GORI LAW FIRM PC
COBB                 JAMES GREGORY         IL         2019L000502      THE GORI LAW FIRM PC                                 COPELAND             LARRY                 IL         18L0678          THE GORI LAW FIRM PC
COBB                 KATHRYN               IL         14L508           THE GORI LAW FIRM PC                                 COPELAND             TAMMY                 IL         18L0678          THE GORI LAW FIRM PC
COBB                 TRUMIE                IL         19L0252          THE GORI LAW FIRM PC                                 COPLEY               CATHY A               IL         18L0142          THE GORI LAW FIRM PC
COBLE                RALPH                 IL         15L227           THE GORI LAW FIRM PC                                 COPLEY               HERBERT TIMOTHY       IL         18L0142          THE GORI LAW FIRM PC
COCHELL              GAYLA                 MO         1922CC01493      THE GORI LAW FIRM PC                                 COPPOCK              LESLIE                MO         1722CC00517      THE GORI LAW FIRM PC
COCHELL              RICKEY                MO         1922CC01493      THE GORI LAW FIRM PC                                 CORBIN               KAYE                  MO         1522CC00384      THE GORI LAW FIRM PC
COCHRAN              JUNE                  IL         2018L001575      THE GORI LAW FIRM PC                                 CORBIN               MARILYN L             IL         19L0605          THE GORI LAW FIRM PC
COCHRAN              THOMAS                IL         2018L001575      THE GORI LAW FIRM PC                                 CORBIN               PHILIP F              IL         19L0605          THE GORI LAW FIRM PC
COCHRANE             GERALDINE R           IL         2015L000196      THE GORI LAW FIRM PC                                 CORMIER              KATHERINE             IL         2016L000810      THE GORI LAW FIRM PC
COCHRANE             HERBERT R             IL         2015L000196      THE GORI LAW FIRM PC                                 CORMIER              ROBERT C              IL         2016L000810      THE GORI LAW FIRM PC
COCROFT              ALLEN                 IL         19L0180          THE GORI LAW FIRM PC                                 CORN                 JAMES                 IL         2018L000715      THE GORI LAW FIRM PC
COCROFT              CHARLENE              IL         19L0180          THE GORI LAW FIRM PC                                 CORN                 MARJORIE              IL         2018L000715      THE GORI LAW FIRM PC
CODE-JONES           TONI R                IL         18L0348          THE GORI LAW FIRM PC                                 CORNETT              CHARLENE              IL         19L0267          THE GORI LAW FIRM PC
COFFEE               FRANK P               IL         13L2086          THE GORI LAW FIRM PC                                 CORONADO             AMY JANE              IL         2016L001378      THE GORI LAW FIRM PC
COFFEE               ROSE                  IL         13L2086          THE GORI LAW FIRM PC                                 CORSO                FRANCIS JOSEPH        IL         2019L000952      THE GORI LAW FIRM PC
COFFEY               MARK                  IL         18L0384          THE GORI LAW FIRM PC                                 CORSO                LORRAINE              IL         2016L001013      THE GORI LAW FIRM PC
COHEN                BARBARA               IL         2019L001233      THE GORI LAW FIRM PC                                 CORSO                MICHAEL               IL         2016L001013      THE GORI LAW FIRM PC
COHEN                LAWRENCE              IL         2019L000503      THE GORI LAW FIRM PC                                 CORTES               LUIS SAA              IL         2015L001372      THE GORI LAW FIRM PC
COHEN                MATTHEW               IL         2019L000503      THE GORI LAW FIRM PC                                 CORTEZ               JORGE                 IL         2019L000558      THE GORI LAW FIRM PC
COLEGROVE            ROY                   IL         2017L000440      THE GORI LAW FIRM PC                                 CORZINE              DANNY                 MO         1822CC11258      THE GORI LAW FIRM PC
COLEGROVE            SHERRIE               IL         2017L000440      THE GORI LAW FIRM PC                                 CORZINE              GLYNDEL               MO         1822CC11258      THE GORI LAW FIRM PC
COLEMAN              CLEVELAND             IL         2015L001591      THE GORI LAW FIRM PC                                 CORZINE              JAMES                 IL         2016L000602      THE GORI LAW FIRM PC
COLEMAN              GERROLYN              LA         201708479        THE GORI LAW FIRM PC                                 COSPER               JAMES                 IL         2014L000398      THE GORI LAW FIRM PC
COLEMAN              SANDERS               LA         201708479        THE GORI LAW FIRM PC                                 COSPER               SARA                  IL         2014L000398      THE GORI LAW FIRM PC
COLEMAN-BURRELL      CATHAREENE            IL         2015L001591      THE GORI LAW FIRM PC                                 COSTELLO             MARGARET J            IL         19L0377          THE GORI LAW FIRM PC
COLLEY               RANDALL               IL         2017L000564      THE GORI LAW FIRM PC                                 COSTELLO             TIMOTHY A             IL         19L0377          THE GORI LAW FIRM PC
COLLIER              BRIAN                 IL         2015L000481      THE GORI LAW FIRM PC                                 COUCH                JUNE                  IL         2017L000848      THE GORI LAW FIRM PC
COLLINS              DUANE                 IL         19L0260          THE GORI LAW FIRM PC                                 COUCH                LEROY                 IL         2017L000848      THE GORI LAW FIRM PC
COLLINS              EUGENE                MO         1622CC01165      THE GORI LAW FIRM PC                                 COUGHENOUR           CHARLES               IL         2019L000842      THE GORI LAW FIRM PC
COLLINS              HUBERT                MO         1622CC01165      THE GORI LAW FIRM PC                                 COUGHENOUR           PATRICE               IL         2019L000842      THE GORI LAW FIRM PC
COLLINS              JOHN E                IL         10L492           THE GORI LAW FIRM PC                                 COULTRUP             DEANE                 IL         2018L001698      THE GORI LAW FIRM PC
COLLINS              JUANITA C             IL         10L492           THE GORI LAW FIRM PC                                 COULTRUP             JOHN                  IL         2018L001698      THE GORI LAW FIRM PC
COLLINS              LAGENA                MO         1622CC01165      THE GORI LAW FIRM PC                                 COVE                 LOUIS                 IL         2019L001485      THE GORI LAW FIRM PC
COLLINS              ROGER                 MO         1722CC00346      THE GORI LAW FIRM PC                                 COVE                 SUZETTE               IL         2019L001485      THE GORI LAW FIRM PC
COLLINS              THERESA ANN           MO         1622CC01165      THE GORI LAW FIRM PC                                 COWAN                LORIE E               IL         19L0373          THE GORI LAW FIRM PC
COLLINS-FREDDOSO     DEBORAH               IL         2017L000006      THE GORI LAW FIRM PC                                 COWANS               DARRYL                IL         14L800           THE GORI LAW FIRM PC
COLON                FLORENCE              NY         1900302019       THE GORI LAW FIRM PC                                 COX                  DOLORES               IL         2017L000573      THE GORI LAW FIRM PC
COLON                LOUIS                 NY         1900302019       THE GORI LAW FIRM PC                                 COX                  WILLIAM KELLY         IL         2017L000573      THE GORI LAW FIRM PC
COMANAJ              BASHKIM               IL         2018L000042      THE GORI LAW FIRM PC                                 COYLE                CANDICE MARY          IL         2019L000912      THE GORI LAW FIRM PC
COMANAJ              LIRI                  IL         2018L000042      THE GORI LAW FIRM PC                                 COYLE                KEVIN JOSEPH          IL         2019L000912      THE GORI LAW FIRM PC
COMBS                NAOMI                 IL         2017L001402      THE GORI LAW FIRM PC                                 COZART               CHERYL                MO         1622CC00185      THE GORI LAW FIRM PC
CONLEY               ALBERT                IL         10L15            THE GORI LAW FIRM PC                                 COZART               JERRY R               MO         1622CC00185      THE GORI LAW FIRM PC
CONLEY               CLARA                 IL         10L15            THE GORI LAW FIRM PC                                 CRANFORD             CARL                  IL         2015L001522      THE GORI LAW FIRM PC
CONLEY               CONNIE                IL         19L0122          THE GORI LAW FIRM PC                                 CRANFORD             PHILLIS               IL         2015L001522      THE GORI LAW FIRM PC
CONLEY               RANDALL KEITH         IL         19L0122          THE GORI LAW FIRM PC                                 CRAVER               DELANE                IL         18L0289          THE GORI LAW FIRM PC
CONNERY              WILLIAM P             IL         19L0333          THE GORI LAW FIRM PC                                 CRAVER               LARRY                 IL         18L0289          THE GORI LAW FIRM PC
CONROY               DORA                  IL         19L0351          THE GORI LAW FIRM PC                                 CRAWFORD             JAMES                 IL         19L0274          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 704
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                       Complaint-Part 2 Page 39 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

CRAWFORD             LARRY                 IL         2018L001522      THE GORI LAW FIRM PC                                 DAVENPORT            CALLEY LEE             IL         2017L000339      THE GORI LAW FIRM PC
CRAWFORD             LORINE                IL         19L0274          THE GORI LAW FIRM PC                                 DAVENPORT            JOHN D                 MO         1722CC00812      THE GORI LAW FIRM PC
CRAWFORD             LOUISE                IL         2018L001522      THE GORI LAW FIRM PC                                 DAVENPORT            RONALD E               IL         18L0224          THE GORI LAW FIRM PC
CRAYTON              FREDDIE               IL         15L652           THE GORI LAW FIRM PC                                 DAVENPORT            RUBY                   IL         2017L000339      THE GORI LAW FIRM PC
CRAYTON-WASHINGTON   RUBY                  MO         1622CC09994      THE GORI LAW FIRM PC                                 DAVENPORT            SUSAN                  MO         1822CC11151      THE GORI LAW FIRM PC
CREER                DORRIS                MO         1922CC00720      THE GORI LAW FIRM PC                                 DAVEY                JOHANNE                IL         19L0735          THE GORI LAW FIRM PC
CREER                EVA R                 MO         1922CC00720      THE GORI LAW FIRM PC                                 DAVEY                TIMOTHY B              IL         19L0735          THE GORI LAW FIRM PC
CREER                STEPHANIE             MO         1922CC00720      THE GORI LAW FIRM PC                                 DAVIDSON             CAROLYN                IL         2016L000677      THE GORI LAW FIRM PC
CREERON              HELEN                 IL         2015L001550      THE GORI LAW FIRM PC                                 DAVIDSON             WILLIAM HOWARD         IL         2016L000677      THE GORI LAW FIRM PC
CREMEANS             MARCIA                IL         2015L001011      THE GORI LAW FIRM PC                                 DAVIES               CONSTANCE M            IL         19L0204          THE GORI LAW FIRM PC
CRIBBS               PAUL MARTIN           IL         2019L000551      THE GORI LAW FIRM PC                                 DAVIES               FREDERICK P            IL         19L0204          THE GORI LAW FIRM PC
CRISHER              BARBARA S             IL         2018L001027      THE GORI LAW FIRM PC                                 DAVILA               VICTOR VELLON          IL         2015L001057      THE GORI LAW FIRM PC
CRISHER              WILLIAM W             IL         2018L001027      THE GORI LAW FIRM PC                                 DAVIS                BUFORD R               IL         2019L000289      THE GORI LAW FIRM PC
CROLEY               CORY                  MO         1722CC10655      THE GORI LAW FIRM PC                                 DAVIS                CAROL                  IL         2017L001102      THE GORI LAW FIRM PC
CROMBIE              CAMERON ALEXANDER     IL         2017L001021      THE GORI LAW FIRM PC                                 DAVIS                CHARLES H              IL         2015L000803      THE GORI LAW FIRM PC
CROMBIE              SILKE                 IL         2017L001021      THE GORI LAW FIRM PC                                 DAVIS                DORIS A                IL         2019L000289      THE GORI LAW FIRM PC
CROMER               CHARLIE               IL         2018L000939      THE GORI LAW FIRM PC                                 DAVIS                JUNIOR LEE             IL         2017L000370      THE GORI LAW FIRM PC
CROMER               KATHERINE             IL         2018L000939      THE GORI LAW FIRM PC                                 DAVIS                LOREN                  IL         2017L001102      THE GORI LAW FIRM PC
CRONIN               CHRISTINA             IL         18L0772          THE GORI LAW FIRM PC                                 DAVIS                MARKESHA               IL         2017L000499      THE GORI LAW FIRM PC
CRONIN               WILLIAM J             IL         18L0772          THE GORI LAW FIRM PC                                 DAVIS                MARKESHA               IL         2017L000336      THE GORI LAW FIRM PC
CROSS                JENNIFER              IL         2017L000275      THE GORI LAW FIRM PC                                 DAVIS                MYRA                   IL         2017L000370      THE GORI LAW FIRM PC
CROWDER              BARBARA ANN           MO         1922CC11645      THE GORI LAW FIRM PC                                 DAVIS                ROBERT M               IL         13L2146          THE GORI LAW FIRM PC
CROWDER              HOWARD E              MO         1922CC11645      THE GORI LAW FIRM PC                                 DAVIS                RUBY                   IL         2019L000730      THE GORI LAW FIRM PC
CROWDER              MAMIE                 IL         15L463           THE GORI LAW FIRM PC                                 DAVIS                THOMAS ASHLEY EDWARD   IL         18L0781          THE GORI LAW FIRM PC
CROWDER              NEAL                  IL         15L463           THE GORI LAW FIRM PC                                 DAVIS                VANESSA                MO         1622CC01264      THE GORI LAW FIRM PC
CROWLEY              JOHN                  MO         1522CC00926      THE GORI LAW FIRM PC                                 DAWLEY               IVAN J                 IL         18L0779          THE GORI LAW FIRM PC
CROWLEY              NOELLE                MO         1522CC00926      THE GORI LAW FIRM PC                                 DAY                  DOUGLAS R              IL         19L0046          THE GORI LAW FIRM PC
CROWTHER             FRANK                 IL         2019L000070      THE GORI LAW FIRM PC                                 DAY                  EARNEST                IL         2017L000764      THE GORI LAW FIRM PC
CRUMLEY              CHERIE                IL         18L0391          THE GORI LAW FIRM PC                                 DE LAND              KATHY                  IL         2019L001389      THE GORI LAW FIRM PC
CRUMLEY              DOLLIE                IL         2018L000385      THE GORI LAW FIRM PC                                 DE LAND              STEPHEN K              IL         2019L001389      THE GORI LAW FIRM PC
CRUMLEY              HENRY                 IL         2018L000385      THE GORI LAW FIRM PC                                 DE MORENO            MARIA PALMA            IL         2017L001270      THE GORI LAW FIRM PC
CRUMLEY              WILLIAM TIMOTHY       IL         18L0391          THE GORI LAW FIRM PC                                 DE OCA               MARTHA MONTES          IL         2016L000396      THE GORI LAW FIRM PC
CRUMPTON             COLIN                 IL         13L564           THE GORI LAW FIRM PC                                 DE RUOSI             LARNA                  IL         2017L001276      THE GORI LAW FIRM PC
CRUZ                 JOSE EVARISTO         IL         2015L001015      THE GORI LAW FIRM PC                                 DE RUOSI             MICHAEL                IL         2017L001276      THE GORI LAW FIRM PC
CRUZ                 MARGARITA             IL         2019L000447      THE GORI LAW FIRM PC                                 DE SIMONE            FRANK                  IL         2017L000771      THE GORI LAW FIRM PC
CRUZ                 MYRNA                 IL         2015L001015      THE GORI LAW FIRM PC                                 DEAMBROSE            ELIZABETH              IL         2018L000202      THE GORI LAW FIRM PC
CRUZ                 NORBERTO              IL         2019L000447      THE GORI LAW FIRM PC                                 DEAN                 BETTY JO               MO         1622CC10956      THE GORI LAW FIRM PC
CUEVAS               MARIO                 IL         2017L001010      THE GORI LAW FIRM PC                                 DEAN                 THOMAS                 MO         1622CC10956      THE GORI LAW FIRM PC
CULLIGAN             DARLENE               IL         2018L001142      THE GORI LAW FIRM PC                                 DEAN                 THOMAS L               MO         1622CC10956      THE GORI LAW FIRM PC
CULLIGAN             FRANKLIN              IL         2018L001142      THE GORI LAW FIRM PC                                 DEAN                 TRACY                  MO         1622CC10956      THE GORI LAW FIRM PC
CULLY                PAUL                  IL         2017L000329      THE GORI LAW FIRM PC                                 DEARMOND             GAYLA                  IL         2019L000033      THE GORI LAW FIRM PC
CUMMINGS             RUSTI                 IL         2019L000366      THE GORI LAW FIRM PC                                 DEARMOND             JEFFREY                IL         2019L000033      THE GORI LAW FIRM PC
CUMMINGS             WILLIAM               IL         2019L000366      THE GORI LAW FIRM PC                                 DEASON               ANDREW ELLISON         IL         18L0198          THE GORI LAW FIRM PC
CUNNINGHAM           RUSSELL               MO         1722CC11040      THE GORI LAW FIRM PC                                 DEASON               RUTH                   IL         18L0198          THE GORI LAW FIRM PC
CUNNINGHAM           WAYNE                 MO         1622CC01264      THE GORI LAW FIRM PC                                 DECKER               ALFRED JAMES           MO         1522CC10529      THE GORI LAW FIRM PC
CURL                 JOHN                  IL         14L140           THE GORI LAW FIRM PC                                 DECKER               DUSTY                  MO         1522CC10529      THE GORI LAW FIRM PC
CURL                 RUTH                  IL         14L140           THE GORI LAW FIRM PC                                 DECKER               ROBIN                  MO         1522CC10529      THE GORI LAW FIRM PC
CURRY                GERALDINE             IL         2018L000173      THE GORI LAW FIRM PC                                 DECKER               RYAN                   MO         1522CC10529      THE GORI LAW FIRM PC
CURRY                JOHN WILLIAM          IL         2018L000173      THE GORI LAW FIRM PC                                 DEKANICH             DEBORAH                IL         19L0663          THE GORI LAW FIRM PC
CURRY                SHELBY                IL         2017L000928      THE GORI LAW FIRM PC                                 DEKANICH             JAMES                  IL         19L0663          THE GORI LAW FIRM PC
CUSTER               DORENE                IL         19L0156          THE GORI LAW FIRM PC                                 DELAVERGNE           GERALD                 IL         2018L000907      THE GORI LAW FIRM PC
CZUPRYNA             HALINA                IL         2014L000946      THE GORI LAW FIRM PC                                 DELAVERGNE           KAREN                  IL         2018L000907      THE GORI LAW FIRM PC
CZUPRYNA             TADEUSZ J             IL         2014L000946      THE GORI LAW FIRM PC                                 DELBURN              JOHN                   IL         2017L000952      THE GORI LAW FIRM PC
DADDEZIO             MICHAEL               IL         18L0806          THE GORI LAW FIRM PC                                 DELLINGER            JOHN                   IL         19L0307          THE GORI LAW FIRM PC
DADDEZIO             SUSAN                 IL         18L0806          THE GORI LAW FIRM PC                                 DEMARCO              NANCY ANN              IL         2014L000507      THE GORI LAW FIRM PC
DAFFRON              JACK                  IL         2018L001076      THE GORI LAW FIRM PC                                 DEMARTZ              CORLAS                 IL         2017L000146      THE GORI LAW FIRM PC
DAGG                 PAUL STANLEY          MO         1922CC11418      THE GORI LAW FIRM PC                                 DEMARTZ              GEORGE                 IL         2017L000146      THE GORI LAW FIRM PC
DAGG                 RONALD KIM            MO         1922CC11418      THE GORI LAW FIRM PC                                 DEMBSKI              DENNIS                 NY         1901582018       THE GORI LAW FIRM PC
DAGG                 RONALD WILLIAM        MO         1922CC11418      THE GORI LAW FIRM PC                                 DENNERLEIN           CHRIS                  IL         2015L001463      THE GORI LAW FIRM PC
DAGG FULTOR          SUSAN DOLORES         MO         1922CC11418      THE GORI LAW FIRM PC                                 DENNERLEIN           GINA                   IL         2015L001463      THE GORI LAW FIRM PC
DAGNAN               PAULA                 MO         1722CC01426      THE GORI LAW FIRM PC                                 DENNIS               GAIL                   MO         1422CC00067      THE GORI LAW FIRM PC
DALTON               MIKE                  DE         N18C01074ASB     THE GORI LAW FIRM PC                                 DENSON               MARGUERITE             IL         2017L000404      THE GORI LAW FIRM PC
DALTON               ROLAND B              MO         1522CC11392      THE GORI LAW FIRM PC                                 DEPRIEST             HOWARD                 IL         18L0667          THE GORI LAW FIRM PC
DAMON                COY                   IL         19L0713          THE GORI LAW FIRM PC                                 DEPRIEST             JANELLE                IL         18L0667          THE GORI LAW FIRM PC
DAMON                JOHNNY ROY            IL         19L0713          THE GORI LAW FIRM PC                                 DEREUISSEAUX         WALLACE                IL         11L714           THE GORI LAW FIRM PC
DANCY                JUNE                  IL         19L0851          THE GORI LAW FIRM PC                                 DEREUISSEUAX         LOIS                   IL         11L714           THE GORI LAW FIRM PC
DANCY                LATHAN                IL         19L0851          THE GORI LAW FIRM PC                                 DEROUIN              LINDA M                IL         19L0276          THE GORI LAW FIRM PC
DAOUDI               LATIF                 IL         2018L000964      THE GORI LAW FIRM PC                                 DEROUIN              MICHAEL L              IL         19L0276          THE GORI LAW FIRM PC
DAOUDI               NABEELA               IL         2018L000964      THE GORI LAW FIRM PC                                 DEVANEY              MARLA                  IL         19L0863          THE GORI LAW FIRM PC
DARLINGTON           ELIZABETH             IL         2015L000432      THE GORI LAW FIRM PC                                 DEVANEY              TERRY J                IL         19L0863          THE GORI LAW FIRM PC
DAVENPORT            BRENDA                IL         18L0224          THE GORI LAW FIRM PC                                 DEVAY                BRUCE M                IL         2017L000956      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 705
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 40 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DEVAY                JUDY                  IL         2017L000956      THE GORI LAW FIRM PC                                 DOYLE                MORRIS PATRICK        MO         1622CC10527      THE GORI LAW FIRM PC
DEVINE               JERRY                 IL         19L0157          THE GORI LAW FIRM PC                                 DOYLE                TIMOTHY               MO         1622CC10527      THE GORI LAW FIRM PC
DEVINE               MARGARET              IL         19L0157          THE GORI LAW FIRM PC                                 DOYLE                WILLIAM               MO         1622CC10527      THE GORI LAW FIRM PC
DEVINE               MARY                  IL         18L0829          THE GORI LAW FIRM PC                                 DOZIER               ANGEL                 IL         2017L001070      THE GORI LAW FIRM PC
DEWBERRY             JERRY O               IL         19L0281          THE GORI LAW FIRM PC                                 DRAKE                KANDY                 IL         19L0454          THE GORI LAW FIRM PC
DEWBERRY             LANA F                IL         19L0281          THE GORI LAW FIRM PC                                 DRAKE                KENNETH LEE           IL         11L926           THE GORI LAW FIRM PC
DEWYER               SAMMY R               IL         19L0119          THE GORI LAW FIRM PC                                 DUARTE               AMY                   IL         2019L000755      THE GORI LAW FIRM PC
DEWYER               SANDRA                IL         19L0119          THE GORI LAW FIRM PC                                 DUBOSE               MIRANDA               IL         2016L000539      THE GORI LAW FIRM PC
DEZORZI              DEBORAH               IL         19L0874          THE GORI LAW FIRM PC                                 DUDLEY               PAUL                  IL         2019L001651      THE GORI LAW FIRM PC
DEZORZI              RUDOLPH               IL         19L0874          THE GORI LAW FIRM PC                                 DUDLEY               YVONNA                IL         2019L001651      THE GORI LAW FIRM PC
DHUE                 BILL D                IL         2016L001106      THE GORI LAW FIRM PC                                 DUFF                 GEORGIA               IL         2017L000399      THE GORI LAW FIRM PC
DIALE                JOSEPH                MO         1722CC11043      THE GORI LAW FIRM PC                                 DUFF                 LEROY                 IL         2017L000399      THE GORI LAW FIRM PC
DIALE                KIM KEVIN             MO         1722CC11043      THE GORI LAW FIRM PC                                 DUKES                CHARLES R             IL         2017L000578      THE GORI LAW FIRM PC
DIANE                LOGRASSO              MO         1722CC00780      THE GORI LAW FIRM PC                                 DUMM                 ROBERT J              IL         2019L001613      THE GORI LAW FIRM PC
DIAZ                 ARCADIO               IL         2017L000633      THE GORI LAW FIRM PC                                 DUMM                 VIRGINIA              IL         2019L001613      THE GORI LAW FIRM PC
DIAZ                 FRANK                 IL         19L0772          THE GORI LAW FIRM PC                                 DUNCAN               ALAN                  IL         19L0199          THE GORI LAW FIRM PC
DIAZ                 JOSEFINA              IL         2017L000633      THE GORI LAW FIRM PC                                 DUNCAN               ALVIN L               IL         2015L001621      THE GORI LAW FIRM PC
DIAZ                 VANESSA               IL         19L0772          THE GORI LAW FIRM PC                                 DUNCAN               RUBY                  IL         2015L001621      THE GORI LAW FIRM PC
DICKERSON            RUTH ANN              IL         12L77            THE GORI LAW FIRM PC                                 DUNFORD              KATHRYN               IL         2018L000861      THE GORI LAW FIRM PC
DICKERSON            TOMMY                 IL         12L77            THE GORI LAW FIRM PC                                 DUNN                 RICKEY                IL         19L0038          THE GORI LAW FIRM PC
DICKEY               GINA                  IL         2019L000675      THE GORI LAW FIRM PC                                 DUPARD               WARD                  LA         201601687        THE GORI LAW FIRM PC
DICKEY               JASON ABRAHAM         IL         2019L000675      THE GORI LAW FIRM PC                                 DUPUY                DARLENE               MO         1522CC10993      THE GORI LAW FIRM PC
DICKINSON            BOBBY J               IL         18L0741          THE GORI LAW FIRM PC                                 DURBIN               RAYMOND               IL         11L437           THE GORI LAW FIRM PC
DICKINSON            DANIELLE              IL         18L0741          THE GORI LAW FIRM PC                                 DURBIN               SYLVIA                IL         11L437           THE GORI LAW FIRM PC
DICKS                CLYDE COLUMBUS        IL         2017L000750      THE GORI LAW FIRM PC                                 DURHAM               GERALD                IL         18L0814          THE GORI LAW FIRM PC
DICKS                SARA RUTH             IL         2017L000750      THE GORI LAW FIRM PC                                 DURHAM               LOUIS                 IL         18L0814          THE GORI LAW FIRM PC
DIETIKER             PERRY                 IL         2017L000055      THE GORI LAW FIRM PC                                 DYCUS                JIMMIE                IL         2018L001646      THE GORI LAW FIRM PC
DIETIKER             VERONICA              IL         2017L000055      THE GORI LAW FIRM PC                                 DYCUS                MARY                  IL         2018L001646      THE GORI LAW FIRM PC
DIFFENDERFER         BETHANY               IL         2016L000032      THE GORI LAW FIRM PC                                 DYKES                OSBORNE J             IL         2017L001004      THE GORI LAW FIRM PC
DIGIOIA              GAIL                  IL         2016L001396      THE GORI LAW FIRM PC                                 EASLEY               CHRIS                 MO         1522CC00305      THE GORI LAW FIRM PC
DIGIOIA              JOHN                  IL         2016L001396      THE GORI LAW FIRM PC                                 EASLEY               DEBBIE                MO         1522CC00305      THE GORI LAW FIRM PC
DILL                 ALVIN H               IL         2015L001684      THE GORI LAW FIRM PC                                 EASLEY               JANICE L              MO         1522CC00305      THE GORI LAW FIRM PC
DILLARD              JOE BOB               IL         19L0206          THE GORI LAW FIRM PC                                 EASLEY               JEREMY                MO         1522CC00305      THE GORI LAW FIRM PC
DILLARD              SUE                   IL         19L0206          THE GORI LAW FIRM PC                                 EASLEY               JOSEPH F              MO         1522CC00305      THE GORI LAW FIRM PC
DILLON               TERRI                 MD         24X17000403      THE GORI LAW FIRM PC                                 EBEL                 STEVEN                IL         2016L000230      THE GORI LAW FIRM PC
DINGWELL             RICHARD               IL         19L0170          THE GORI LAW FIRM PC                                 EBEL                 WILBUR A              IL         2016L000230      THE GORI LAW FIRM PC
DIONISIOU            CATHERINE             MO         1622CC09699      THE GORI LAW FIRM PC                                 ECHUM                CELINA                IL         2019L001390      THE GORI LAW FIRM PC
DIONISIOU            CECELIA               MO         1622CC09699      THE GORI LAW FIRM PC                                 ECHUM                GABRIEL V             IL         2019L001390      THE GORI LAW FIRM PC
DIONISIOU            CHRISTINA             MO         1622CC09699      THE GORI LAW FIRM PC                                 EDELEN               GEORGE                MO         1622CC05843      THE GORI LAW FIRM PC
DIONISIOU            JOHN                  MO         1622CC09699      THE GORI LAW FIRM PC                                 EDMONSON             BOBBY FRANCIS         IL         18L0418          THE GORI LAW FIRM PC
DIONISIOU            NANCY                 MO         1622CC09699      THE GORI LAW FIRM PC                                 EDMONSON             LUCY                  IL         18L0418          THE GORI LAW FIRM PC
DIPIETRO             CARMELLA              IL         19L0661          THE GORI LAW FIRM PC                                 EDWARDS              ARLENE                MO         1622CC09838      THE GORI LAW FIRM PC
DIPIETRO             PASQUALE              IL         19L0661          THE GORI LAW FIRM PC                                 EDWARDS              HENRY                 MO         1622CC09838      THE GORI LAW FIRM PC
DISTLER              EVA                   IL         19L0848          THE GORI LAW FIRM PC                                 EDWARDS              MARGARET R            IL         2019L001490      THE GORI LAW FIRM PC
DISTLER              LEROY RAYMOND         IL         19L0848          THE GORI LAW FIRM PC                                 EDWARDS              TIMOTHY G             IL         2019L001490      THE GORI LAW FIRM PC
DIVINE               LARRY                 IL         2018L001527      THE GORI LAW FIRM PC                                 EHSANI               FATEMEH               MO         1722CC01448      THE GORI LAW FIRM PC
DIVINE               MARY                  IL         2018L001527      THE GORI LAW FIRM PC                                 EIDSON               EDWARD                IL         19L0193          THE GORI LAW FIRM PC
DIXION               DORRIS                IL         2016L000031      THE GORI LAW FIRM PC                                 EILLIS               BURLENE               IL         18L0725          THE GORI LAW FIRM PC
DIXON                RICHARD               IL         2016L000031      THE GORI LAW FIRM PC                                 EISSLER              GEORGE                IL         19L0405          THE GORI LAW FIRM PC
DIXON                STANLEY               IL         2018L000019      THE GORI LAW FIRM PC                                 ELDRIDGE             DAVID THOMAS          IL         11L1321          THE GORI LAW FIRM PC
DOBSON               JANESE                IL         2019L001626      THE GORI LAW FIRM PC                                 ELDRIDGE             ELIZABETH             IL         11L1321          THE GORI LAW FIRM PC
DOBSON               JEFFERY L             IL         2019L001626      THE GORI LAW FIRM PC                                 EL-HALLAL            HELEN                 IL         2015L001413      THE GORI LAW FIRM PC
DOCKSTADER           NELIDA                IL         2016L001718      THE GORI LAW FIRM PC                                 EL-HALLAL            JOSEPH                IL         2015L001413      THE GORI LAW FIRM PC
DODSON               GINA                  MO         1622CC10931      THE GORI LAW FIRM PC                                 ELIE                 DORIS                 LA         201910788        THE GORI LAW FIRM PC
DOLAN                ROBERT J              IL         2017L000686      THE GORI LAW FIRM PC                                 ELIE                 LOUIS                 LA         201910788        THE GORI LAW FIRM PC
DOLEN                ROGER                 IL         16L26            THE GORI LAW FIRM PC                                 ELLIOTT              BETTY                 IL         2019L000515      THE GORI LAW FIRM PC
DOMINGUEZ            MARY H                IL         2019L000945      THE GORI LAW FIRM PC                                 ELLIOTT              GEORGE                IL         2019L000515      THE GORI LAW FIRM PC
DONNELLY             TAMMY                 MO         1922CC10933      THE GORI LAW FIRM PC                                 ELLIS                CARLOS                IL         18L0302          THE GORI LAW FIRM PC
DONOHOE              TARILAN               IL         11L0444          THE GORI LAW FIRM PC                                 ELLIS                JAMES                 IL         18L0302          THE GORI LAW FIRM PC
DONOHOE              WILLIAM               IL         11L0444          THE GORI LAW FIRM PC                                 ELLIS                ROBERT LLOYD          MO         1822CC11151      THE GORI LAW FIRM PC
DOTSON               LORRY                 IL         2019L000267      THE GORI LAW FIRM PC                                 ELMORE               JERRY                 IL         19L0267          THE GORI LAW FIRM PC
DOTSON               SADIE                 IL         15L193           THE GORI LAW FIRM PC                                 EMERICK              PAUL RICHARD          IL         2017L001070      THE GORI LAW FIRM PC
DOUCETTE             DAVID RICHARD         IL         2019L000641      THE GORI LAW FIRM PC                                 EMERSON              CAROLYN               IL         13L322           THE GORI LAW FIRM PC
DOUGLAS              DONALD L              IL         08L736           THE GORI LAW FIRM PC                                 EMERSON              RICHARD THOMAS        IL         13L322           THE GORI LAW FIRM PC
DOUGLAS              DONNA SUE             IL         08L736           THE GORI LAW FIRM PC                                 EMMERSON             PHYLLIS               IL         2018L001705      THE GORI LAW FIRM PC
DOWELL               MAURICE               IL         2017L001552      THE GORI LAW FIRM PC                                 EMMONS               ANGELA                MO         1622CC09994      THE GORI LAW FIRM PC
DOWNER               CHERYL                IL         18L23            THE GORI LAW FIRM PC                                 ENGELBART            JOHN                  IL         2016L001783      THE GORI LAW FIRM PC
DOWNER               EUGENE                IL         18L23            THE GORI LAW FIRM PC                                 ENGELBART            MARIE                 IL         2016L001783      THE GORI LAW FIRM PC
DOYLE                DANIEL                MO         1622CC10527      THE GORI LAW FIRM PC                                 ENGLAND              CHRISTINA M           MO         1822CC11661      THE GORI LAW FIRM PC
DOYLE                MARGARET ANN          MO         1622CC10527      THE GORI LAW FIRM PC                                 ENGLAND              ERICA A. NICOLE       MO         1822CC11661      THE GORI LAW FIRM PC
DOYLE                MICHAEL               MO         1622CC10527      THE GORI LAW FIRM PC                                 ENGLAND              HANNAH G              MO         1822CC11661      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 706
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 41 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ENGLAND              JEREMIAH E            MO         1822CC11661      THE GORI LAW FIRM PC                                 FERNANDEZ            EDITH BONFANTE DE     IL         2017L001008      THE GORI LAW FIRM PC
ENGLAND              MICHELLE E            MO         1822CC11661      THE GORI LAW FIRM PC                                 FERNANDEZ            EMILIO CESAR          IL         2017L001008      THE GORI LAW FIRM PC
ENGLAND              RACHEL A              MO         1822CC11661      THE GORI LAW FIRM PC                                 FERNSTROM            BILLY                 IL         19L0400          THE GORI LAW FIRM PC
ENGLAND              ROBERT CARL           IL         2015L001016      THE GORI LAW FIRM PC                                 FERNSTROM            CHRISTINE             IL         19L0400          THE GORI LAW FIRM PC
ENGLAND              SARAH A               MO         1822CC11661      THE GORI LAW FIRM PC                                 FETTERS              DAVID EARL            IL         2017L000497      THE GORI LAW FIRM PC
ENGLAND              SHIRLEY A             MO         1822CC11661      THE GORI LAW FIRM PC                                 FETTERS              VIRGINIA              IL         2017L000497      THE GORI LAW FIRM PC
ENGLAND              STEVEN C              MO         1822CC11661      THE GORI LAW FIRM PC                                 FIDDES               BRIAN                 IL         19L0224          THE GORI LAW FIRM PC
ENGLISH              BUDDY WAYNE           IL         2015L001649      THE GORI LAW FIRM PC                                 FIESEL               SUZANNE               MO         1622CC11594      THE GORI LAW FIRM PC
ENGLISH              JACK                  IL         2015L001649      THE GORI LAW FIRM PC                                 FILES                DONALD LYNN           IL         18L0529          THE GORI LAW FIRM PC
ENOS                 JOHN THOMAS           MO         1622CC09962      THE GORI LAW FIRM PC                                 FILION               DIANE                 IL         13L1510          THE GORI LAW FIRM PC
ENOS                 KRISTA A              MO         1622CC09962      THE GORI LAW FIRM PC                                 FILION               GERMAIN R             IL         13L1510          THE GORI LAW FIRM PC
ENOS                 RYAN                  MO         1622CC09962      THE GORI LAW FIRM PC                                 FILIPPI              MARILYN               IL         18L0367          THE GORI LAW FIRM PC
ENOS-FERGUSON        ASHLEY                MO         1622CC09962      THE GORI LAW FIRM PC                                 FILIPPI              WILLIAM               IL         18L0367          THE GORI LAW FIRM PC
ENSLEY               BEVERLY               IL         19L0026          THE GORI LAW FIRM PC                                 FINAZZO              EDWARD JOSEPH         IL         2016L000044      THE GORI LAW FIRM PC
ENSLEY               GREGORY               IL         19L0026          THE GORI LAW FIRM PC                                 FINAZZO              EDWARD T              IL         2016L000044      THE GORI LAW FIRM PC
ERICKSON             KELLY                 IL         2016L000536      THE GORI LAW FIRM PC                                 FINDLEY              JOHNNIE               IL         18L0666          THE GORI LAW FIRM PC
ERNST                ALICE                 IL         2016L001262      THE GORI LAW FIRM PC                                 FINDLEY              PHYLLIS               IL         18L0666          THE GORI LAW FIRM PC
ERNST                MELVIN                IL         2016L001262      THE GORI LAW FIRM PC                                 FISCH                GILES                 IL         2016L000633      THE GORI LAW FIRM PC
ESCRITT              KAREN                 MO         1822CC11760      THE GORI LAW FIRM PC                                 FISCH                MAUREEN               IL         2016L000633      THE GORI LAW FIRM PC
ESCRITT              WILLIAM C             MO         1822CC11760      THE GORI LAW FIRM PC                                 FISCUS               DEBRA                 IL         2015L001606      THE GORI LAW FIRM PC
ESKUT                DARLENE KAY           IL         2018L000211      THE GORI LAW FIRM PC                                 FISER                BARBARA               IL         18L38            THE GORI LAW FIRM PC
ESKUT                MICHAEL               IL         2018L000211      THE GORI LAW FIRM PC                                 FISER                JAMES                 IL         18L38            THE GORI LAW FIRM PC
ESTRADA              JULIO                 IL         2018L000934      THE GORI LAW FIRM PC                                 FISHER               DAVID                 MO         1722CC10627      THE GORI LAW FIRM PC
ESTRADA              PILARINA              IL         2018L000934      THE GORI LAW FIRM PC                                 FISHER               ELENA                 IL         19L0610          THE GORI LAW FIRM PC
ETHER                ROBERT L              IL         2017L000739      THE GORI LAW FIRM PC                                 FISHER               LARRY N               IL         19L0610          THE GORI LAW FIRM PC
ETIENNE              EVELINE               IL         2019L000244      THE GORI LAW FIRM PC                                 FITCH                GLENDA                IL         11L967           THE GORI LAW FIRM PC
ETIENNE              PIERRE JEAN CLAUDE    IL         2019L000244      THE GORI LAW FIRM PC                                 FITCH                WILLIAM               IL         11L967           THE GORI LAW FIRM PC
EUSTICE              CHARLOTTE E           MO         1622CC01178      THE GORI LAW FIRM PC                                 FITZGERALD           AVENELLE              IL         2017L000654      THE GORI LAW FIRM PC
EUSTICE              MART L                MO         1622CC01178      THE GORI LAW FIRM PC                                 FITZGERALD           DELORES               IL         2017L000666      THE GORI LAW FIRM PC
EVANOFF              ANTHONY E             IL         2019L000364      THE GORI LAW FIRM PC                                 FITZGERALD           DENNIS J              IL         2019L001517      THE GORI LAW FIRM PC
EVANOFF              OLGA                  IL         2019L000364      THE GORI LAW FIRM PC                                 FITZGERALD           JAMES                 IL         2017L000654      THE GORI LAW FIRM PC
EVANS                ALICE                 IL         18L78            THE GORI LAW FIRM PC                                 FITZGERALD           LISA                  MO         1722CC00378      THE GORI LAW FIRM PC
EVANS                DANNIE                IL         18L78            THE GORI LAW FIRM PC                                 FITZGERALD           REUBEN                IL         2017L000666      THE GORI LAW FIRM PC
EVANS                GEORGE SCOTTY         IL         2017L000441      THE GORI LAW FIRM PC                                 FITZGERALD           WENDY M               IL         2019L001517      THE GORI LAW FIRM PC
EVANS                JERRY                 IL         2017L000441      THE GORI LAW FIRM PC                                 FITZHENRY            MICHAEL               IL         2018L001174      THE GORI LAW FIRM PC
EVANS                NORMA GAIL            IL         2017L001128      THE GORI LAW FIRM PC                                 FITZHENRY            TRUDY                 IL         2018L001174      THE GORI LAW FIRM PC
EVANS                TRACIE                MO         1622CC11557      THE GORI LAW FIRM PC                                 FITZMAURICE          ANNIE M               IL         2016L000568      THE GORI LAW FIRM PC
EVANS                WILLIAM               IL         2017L001128      THE GORI LAW FIRM PC                                 FITZMAURICE          DANIEL FRANCIS        IL         2016L000568      THE GORI LAW FIRM PC
EWING                MARY LOUISE           IL         2018L000175      THE GORI LAW FIRM PC                                 FIVEASH              CHERRY                IL         19L0192          THE GORI LAW FIRM PC
EWING                THOMAS                IL         2018L000175      THE GORI LAW FIRM PC                                 FIVEASH              VIRGIL                IL         19L0192          THE GORI LAW FIRM PC
FACTOR               ROSANNE               IL         2015L000987      THE GORI LAW FIRM PC                                 FLAKE                BOBBY                 MO         1422CC00067      THE GORI LAW FIRM PC
FAIR                 VIRGINIA LEE          IL         2019L000156      THE GORI LAW FIRM PC                                 FLEMING              BRENDA                IL         19L0659          THE GORI LAW FIRM PC
FAIR                 WILLIAM ROBERT        IL         2019L000156      THE GORI LAW FIRM PC                                 FLEMING              JACKIE L              IL         19L0659          THE GORI LAW FIRM PC
FALCETTA             ANNETTE               IL         2017L000488      THE GORI LAW FIRM PC                                 FLEMING              MALCOLM               IL         2019L000929      THE GORI LAW FIRM PC
FALLON               JOHN F                NY         20192599         THE GORI LAW FIRM PC                                 FLEMING              MICHAEL               MO         1722CC00536      THE GORI LAW FIRM PC
FANT                 WANDA                 IL         2017L000773      THE GORI LAW FIRM PC                                 FLEMING              OSWALD AUBRY          MO         1722CC00536      THE GORI LAW FIRM PC
FARMER               DONALD                IL         2018L001524      THE GORI LAW FIRM PC                                 FLICK                ANITA                 IL         2017L001130      THE GORI LAW FIRM PC
FARMER               DORIS                 IL         2018L001524      THE GORI LAW FIRM PC                                 FLICK                JAMES LOUIS           IL         2017L001130      THE GORI LAW FIRM PC
FARMER               OSCAR CALVIN          MO         1922CC08615      THE GORI LAW FIRM PC                                 FLIPPO               CAROLINE              IL         15L32            THE GORI LAW FIRM PC
FARMER               VAN                   MO         1922CC08615      THE GORI LAW FIRM PC                                 FLIPPO               RONNIE                IL         15L32            THE GORI LAW FIRM PC
FARNEY               LISA                  IL         15L227           THE GORI LAW FIRM PC                                 FLORES               IDA R                 IL         2015L001579      THE GORI LAW FIRM PC
FARRAHKAN            KHADIDRA              MO         1522CC11091      THE GORI LAW FIRM PC                                 FLORES               LUIS JORGE            IL         2015L001579      THE GORI LAW FIRM PC
FARRELL              DAVID SIMPSON         IL         19L0027          THE GORI LAW FIRM PC                                 FLORES               ROBIN                 IL         11L926           THE GORI LAW FIRM PC
FARRELL              MICHAEL               IL         19L0027          THE GORI LAW FIRM PC                                 FLOWERS              GERALD                DE         N18C02033ASB     THE GORI LAW FIRM PC
FATHERLY             CHARLES               IL         2018L001557      THE GORI LAW FIRM PC                                 FLOWERS              JAMES                 DE         N18C02033ASB     THE GORI LAW FIRM PC
FAVORS               MAURICE ABRAHAM       IL         15L579           THE GORI LAW FIRM PC                                 FLOWERS              JANIS                 DE         N18C02033ASB     THE GORI LAW FIRM PC
FAVORS               SHERRIE               IL         15L579           THE GORI LAW FIRM PC                                 FLOYD                EARNEST L             IL         19L0299          THE GORI LAW FIRM PC
FAWKS                YVONNE                MO         1622CC00216      THE GORI LAW FIRM PC                                 FLOYD                JAMES THOMAS          IL         2017L000650      THE GORI LAW FIRM PC
FEDDERSEN            BRUCE                 IL         2016L001303      THE GORI LAW FIRM PC                                 FLYNN                BEVERLY               IL         19L0050          THE GORI LAW FIRM PC
FEHLMANN             LIN D                 IL         13L2146          THE GORI LAW FIRM PC                                 FLYNN                JOHN W                IL         19L0050          THE GORI LAW FIRM PC
FEITSHANS            LARRY                 IL         18L0388          THE GORI LAW FIRM PC                                 FLYNN                MICHAEL BRIAN         IL         19L0615          THE GORI LAW FIRM PC
FEITSHANS            LINDA                 IL         18L0388          THE GORI LAW FIRM PC                                 FODE                 JIMMY EMIL            IL         2015L001583      THE GORI LAW FIRM PC
FEJFAR               CATHERINE             MO         1622CC11594      THE GORI LAW FIRM PC                                 FODE                 PAMELA P              IL         2015L001583      THE GORI LAW FIRM PC
FELLMAN              ALICE                 CA         CGC17276604      THE GORI LAW FIRM PC                                 FOLKERS              SHIRLEY               IL         2016L001499      THE GORI LAW FIRM PC
FELLMAN              VICTOR                CA         CGC17276604      THE GORI LAW FIRM PC                                 FONTENOT             CURTIS                IL         18L0378          THE GORI LAW FIRM PC
FELTON               MARILYN               MO         1822CC01519      THE GORI LAW FIRM PC                                 FONTENOT             JUDIE                 IL         18L0378          THE GORI LAW FIRM PC
FELTON               WILLIE M              MO         1822CC01519      THE GORI LAW FIRM PC                                 FORD                 CHRISTOPHER KYLE      FL         CACE18019258     THE GORI LAW FIRM PC
FELTS                PATRICIA T            IL         2019L001005      THE GORI LAW FIRM PC                                 FORD                 CLARENCE              IL         19L0653          THE GORI LAW FIRM PC
FENTON               DENNIS L              IL         2018L001093      THE GORI LAW FIRM PC                                 FORD                 CLARENCE              MO         1922CC11983      THE GORI LAW FIRM PC
FENTON               RITA                  IL         2018L001093      THE GORI LAW FIRM PC                                 FORD                 GLADIES               IL         19L0310          THE GORI LAW FIRM PC
FERNANDEZ            ARTHUR H              IL         2017L000123      THE GORI LAW FIRM PC                                 FORD                 JERRY                 IL         2017L000558      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 707
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                     Desc
                                                                                                       Complaint-Part 2 Page 42 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name     Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FORD                 JOHN H                IL         19L0310          THE GORI LAW FIRM PC                                 GANN                   AUDREY                IL         2017L001748      THE GORI LAW FIRM PC
FORD                 KEN                   IL         2019L001610      THE GORI LAW FIRM PC                                 GARANOVIC              HIDAJET               IL         2018L000862      THE GORI LAW FIRM PC
FORD                 VICKI ANN             FL         CACE18019258     THE GORI LAW FIRM PC                                 GARANOVIC              RAMIZA                IL         2018L000862      THE GORI LAW FIRM PC
FORISSO              BARBARA               IL         2017L000443      THE GORI LAW FIRM PC                                 GARCIA                 AUDENCIO IBOA         IL         2015L000202      THE GORI LAW FIRM PC
FORISSO              KATHRYN               IL         2017L000443      THE GORI LAW FIRM PC                                 GARCIA                 FREDDIE               IL         19L0520          THE GORI LAW FIRM PC
FORRESTER            CRAIG                 IL         2019L001652      THE GORI LAW FIRM PC                                 GARCIA                 HEATHER               IL         2017L001121      THE GORI LAW FIRM PC
FORSBERG             BRUCE                 IL         18L0727          THE GORI LAW FIRM PC                                 GARCIA                 JUDITH                IL         19L0520          THE GORI LAW FIRM PC
FORSTER              BETTE                 IL         18L93            THE GORI LAW FIRM PC                                 GARCIA                 JULIA                 MO         1822CC00153      THE GORI LAW FIRM PC
FORSTER              HENRY W               IL         18L93            THE GORI LAW FIRM PC                                 GARCIA                 LUCAS A               IL         2017L001121      THE GORI LAW FIRM PC
FORSYTHE             CAREN                 IL         2016L000963      THE GORI LAW FIRM PC                                 GARDEN                 JACQUELINE            IL         2017L001598      THE GORI LAW FIRM PC
FORSYTHE             WILLIAM HENRY         IL         2016L000963      THE GORI LAW FIRM PC                                 GARDNER                LUTHER LEON           IL         2015L000368      THE GORI LAW FIRM PC
FOSTER               ALFRED W              IL         2016L000438      THE GORI LAW FIRM PC                                 GARDNER                PAUL                  IL         19L0200          THE GORI LAW FIRM PC
FOSTER               CAROL                 IL         2016L000438      THE GORI LAW FIRM PC                                 GARDNER                SHARON                IL         2015L000368      THE GORI LAW FIRM PC
FOSTER               RICHARD LEWIS         IL         19L0401          THE GORI LAW FIRM PC                                 GARNER                 CHARLOTTE             IL         2017L001288      THE GORI LAW FIRM PC
FOX                  CLYDE                 MO         1622CC11304      THE GORI LAW FIRM PC                                 GARNIER                MARK                  MO         1722CC10938      THE GORI LAW FIRM PC
FOX                  KEITH                 IL         2018L000200      THE GORI LAW FIRM PC                                 GARRIGUS               FRANCES EILEEN        IL         03L1134          THE GORI LAW FIRM PC
FOX                  PAULETTE              IL         2018L000200      THE GORI LAW FIRM PC                                 GARRINGER              JIMMIE                MO         1722CC11253      THE GORI LAW FIRM PC
FRANCEK              DEANNA                IL         19L0159          THE GORI LAW FIRM PC                                 GARRINGER              SANDRA                MO         1722CC11253      THE GORI LAW FIRM PC
FRANCIA              MARGARET M            IL         2015L000546      THE GORI LAW FIRM PC                                 GARRISON               CHESTER P             MO         1522CC11043      THE GORI LAW FIRM PC
FRANZEN              BETTY                 IL         19L0616          THE GORI LAW FIRM PC                                 GARRISON               DOLORES               IL         2017L000393      THE GORI LAW FIRM PC
FRANZEN              DAVID WILLIAM         IL         19L0616          THE GORI LAW FIRM PC                                 GARRISON               KATHLEEN              IL         2018L001745      THE GORI LAW FIRM PC
FRASER               HARRY CHARLES         IL         2017L000748      THE GORI LAW FIRM PC                                 GARRISON               ROBERT                IL         2018L001745      THE GORI LAW FIRM PC
FRASER               KARY G                IL         2017L000748      THE GORI LAW FIRM PC                                 GARRISON               RONALD EMMETT         IL         2017L000393      THE GORI LAW FIRM PC
FRAZIER              RONALD W              MO         1622CC00342      THE GORI LAW FIRM PC                                 GARVIN                 ELIZABETH             IL         2017L000687      THE GORI LAW FIRM PC
FRAZIER              RONALD WILLIAM        MO         1622CC00342      THE GORI LAW FIRM PC                                 GARVIN                 KEVIN                 IL         2016L000034      THE GORI LAW FIRM PC
FRAZIER              SIGRID LYNETTE        MO         1622CC00342      THE GORI LAW FIRM PC                                 GARVIN                 ROBERT JOHN           IL         2017L000687      THE GORI LAW FIRM PC
FRAZURE              CATHY                 IL         2016L000680      THE GORI LAW FIRM PC                                 GARVIN                 TANDRA                IL         2016L000034      THE GORI LAW FIRM PC
FRAZURE              NORMAN                IL         2016L000680      THE GORI LAW FIRM PC                                 GARZA                  FRED V                IL         18L0689          THE GORI LAW FIRM PC
FRECHETTE            JOSEPH R              NY         20181855         THE GORI LAW FIRM PC                                 GASKINS                DOROTHY               IL         15L70            THE GORI LAW FIRM PC
FREDDOSO             ALFRED                IL         2017L000006      THE GORI LAW FIRM PC                                 GASKINS                HENRY                 IL         15L70            THE GORI LAW FIRM PC
FREDERICK            JUDITH A              IL         2016L000311      THE GORI LAW FIRM PC                                 GASNER                 LEO                   IL         2019L000516      THE GORI LAW FIRM PC
FREEMAN              BENJAMIN R            IL         2019L000307      THE GORI LAW FIRM PC                                 GASNER                 LINDA                 IL         2019L000516      THE GORI LAW FIRM PC
FREEMAN              EVERITTE              IL         2016L000663      THE GORI LAW FIRM PC                                 GASTON                 ERNEST                IL         2017L000505      THE GORI LAW FIRM PC
FREEMAN              JUNIOR                IL         2016L000847      THE GORI LAW FIRM PC                                 GATES                  JAMES M               IL         2017L001656      THE GORI LAW FIRM PC
FREEMAN              KARLA                 IL         2019L000307      THE GORI LAW FIRM PC                                 GATES                  RONALD                IL         19L0364          THE GORI LAW FIRM PC
FREEMAN              PEGGY SUE             IL         2016L000847      THE GORI LAW FIRM PC                                 GATES                  SHINOBU               IL         2017L001656      THE GORI LAW FIRM PC
FREEMAN              PHYLLIS               IL         2016L000663      THE GORI LAW FIRM PC                                 GATES                  SHIRLEY               IL         19L0364          THE GORI LAW FIRM PC
FREIS                SONJA                 IL         2017L000636      THE GORI LAW FIRM PC                                 GATEWOOD               CHERRY                IL         19L0254          THE GORI LAW FIRM PC
FREIS                WILLIAM               IL         2017L000636      THE GORI LAW FIRM PC                                 GATEWOOD               OTIS                  IL         19L0254          THE GORI LAW FIRM PC
FREMLING             GENE                  IL         2018L001450      THE GORI LAW FIRM PC                                 GAVIN                  EDWARD                NY         6058362018       THE GORI LAW FIRM PC
FREMLING             SHARON                IL         2018L001450      THE GORI LAW FIRM PC                                 GAVIN                  LISA                  NY         6058362018       THE GORI LAW FIRM PC
FRIEDMAN             ALLEN                 IL         2015L000833      THE GORI LAW FIRM PC                                 GAY                    ALONZO                IL         2017L000722      THE GORI LAW FIRM PC
FRIEDMAN             RITA SUE              IL         2015L000833      THE GORI LAW FIRM PC                                 GAY                    LOIS                  IL         2017L000722      THE GORI LAW FIRM PC
FRIEMANN             GREGORY               MO         1922CC00095      THE GORI LAW FIRM PC                                 GEER                   GEORGE E              MO         1922CC12153      THE GORI LAW FIRM PC
FRINK                EDWIN                 IL         2017L000537      THE GORI LAW FIRM PC                                 GEISLER                GARY                  IL         18L0653          THE GORI LAW FIRM PC
FRY                  BETTY                 IL         10L41            THE GORI LAW FIRM PC                                 GEISLER                SHANNON               IL         18L0653          THE GORI LAW FIRM PC
FRY                  JIMMY R               IL         18L0247          THE GORI LAW FIRM PC                                 GENDRON                JOSEPH                IL         2018L000610      THE GORI LAW FIRM PC
FRY                  KATHY                 IL         18L0247          THE GORI LAW FIRM PC                                 GENDRON                SUSAN                 IL         2018L000610      THE GORI LAW FIRM PC
FUDGE                LEON                  IL         18L47            THE GORI LAW FIRM PC                                 GENTRY                 REBA J                IL         2017L000628      THE GORI LAW FIRM PC
FULLER               KRISTI                IL         18L0305          THE GORI LAW FIRM PC                                 GENTRY                 ROBERT L              IL         2017L000628      THE GORI LAW FIRM PC
FULMER               GERALDINE CLEM        IL         2019L001680      THE GORI LAW FIRM PC                                 GENTRY                 TIFFANY               IL         19L0465          THE GORI LAW FIRM PC
FULMER               ULYS CLARENCE         IL         2019L001680      THE GORI LAW FIRM PC                                 GEREN                  HAROLD L              IL         2015L000012      THE GORI LAW FIRM PC
FULTON               GLENDA MEGGS          IL         2015L000271      THE GORI LAW FIRM PC                                 GETTYS                 JOHN MARSHALL         IL         2017L000077      THE GORI LAW FIRM PC
FULTON               ROBERT                IL         18L0466          THE GORI LAW FIRM PC                                 GETTYS                 SALLY                 IL         2017L000077      THE GORI LAW FIRM PC
FULTON               TODD                  IL         2015L000271      THE GORI LAW FIRM PC                                 GIAURTIS               JAMES                 MO         1722CC00042      THE GORI LAW FIRM PC
FULTON               YVONNE                IL         18L0466          THE GORI LAW FIRM PC                                 GIAURTIS               JAMES                 IL         18L0535          THE GORI LAW FIRM PC
FUQUA                JENNIE                IL         13L1166          THE GORI LAW FIRM PC                                 GIAURTIS               JAMES J               MO         1722CC00042      THE GORI LAW FIRM PC
FUQUA                WILLIAM               IL         13L1166          THE GORI LAW FIRM PC                                 GIAURTIS               JAMES J               IL         18L0535          THE GORI LAW FIRM PC
GADE                 MARGARET L            IL         11L1320          THE GORI LAW FIRM PC                                 GIBBS                  MAXIMILLIAN           MO         1622CC10061      THE GORI LAW FIRM PC
GADE                 STANLEY E             IL         11L1320          THE GORI LAW FIRM PC                                 GIBSON                 PHILLIP               IL         18L0579          THE GORI LAW FIRM PC
GAETA                ANSURIO               IL         2018L000332      THE GORI LAW FIRM PC                                 GIBSON                 SARA                  IL         18L0579          THE GORI LAW FIRM PC
GAGNON               NORMAND               IL         2019L000187      THE GORI LAW FIRM PC                                 GIDEON                 PATRICK               IL         2017L001346      THE GORI LAW FIRM PC
GAINES               BARBARA               MO         1522CC00943      THE GORI LAW FIRM PC                                 GIDEON                 SUMMER                IL         2017L001346      THE GORI LAW FIRM PC
GAINES               DEIRDRE               MO         1522CC00943      THE GORI LAW FIRM PC                                 GIESE                  ANN K                 IL         13L1964          THE GORI LAW FIRM PC
GAINES               EDDIE                 MO         1522CC00943      THE GORI LAW FIRM PC                                 GIESE                  ELLSWORTH A           IL         13L1964          THE GORI LAW FIRM PC
GALLAGHER            LAURA                 MO         1722CC00780      THE GORI LAW FIRM PC                                 GIESE                  STEVEN E              IL         13L1964          THE GORI LAW FIRM PC
GALLANDER            BERTHA R              IL         19L0302          THE GORI LAW FIRM PC                                 GILBERT                DELTHIA               MO         1722CC00581      THE GORI LAW FIRM PC
GALLANDER            BILLY W               IL         19L0302          THE GORI LAW FIRM PC                                 GILCHRIST              ALICE M               MO         1922CC10739      THE GORI LAW FIRM PC
GALLOP               LAWRENCE H            IL         2017L000400      THE GORI LAW FIRM PC                                 GILCHRIST              DAVID G               MO         1922CC10739      THE GORI LAW FIRM PC
GAN                  DENNIS                IL         2017L000356      THE GORI LAW FIRM PC                                 GILES                  NORMAN                IL         19L0865          THE GORI LAW FIRM PC
GAN                  RACHELLE              IL         2017L000356      THE GORI LAW FIRM PC                                 GILLEWICZ-LAMONTAGNE   GRACE MARY            IL         15L516           THE GORI LAW FIRM PC




                                                                                                            Appendix A - 708
                                                               Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                           Complaint-Part 2 Page 43 of 484



Claimant Last Name   Claimant First Name       State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GIRARD               HOLLY                     IL         2017L000471      THE GORI LAW FIRM PC                                 GOSSERT              MARY JANE             PA         190900469        THE GORI LAW FIRM PC
GIRARD               MARK                      IL         2017L000471      THE GORI LAW FIRM PC                                 GOSSERT              RALPH                 PA         190900469        THE GORI LAW FIRM PC
GIRARD               TARMA                     IL         2017L000763      THE GORI LAW FIRM PC                                 GOWDY                CYNTHIA               IL         2015L000214      THE GORI LAW FIRM PC
GIRARD               WILLIAM                   IL         2017L000763      THE GORI LAW FIRM PC                                 GRAHAM               CHRISTOPHER           MO         1722CC10686      THE GORI LAW FIRM PC
GIRARDI              SALVATORE JOSEPH          IL         2019L000524      THE GORI LAW FIRM PC                                 GRAHAM               GEORGE DAVID          IL         2017L000313      THE GORI LAW FIRM PC
GIRARDI              VICTOR                    IL         2019L000524      THE GORI LAW FIRM PC                                 GRAHAM               JAMES                 MO         1722CC10686      THE GORI LAW FIRM PC
GIVENS               WILLIAM                   IL         2017L000550      THE GORI LAW FIRM PC                                 GRAHAM               JOHN M                MO         1722CC10686      THE GORI LAW FIRM PC
GJELLSTAD            DONENE                    MO         1822CC11354      THE GORI LAW FIRM PC                                 GRAHAM               PATRICIA R            IL         2016L001105      THE GORI LAW FIRM PC
GJELLSTAD            ROBERT                    MO         1822CC11354      THE GORI LAW FIRM PC                                 GRAHAM               ROBERT JOHN           IL         2016L001105      THE GORI LAW FIRM PC
GLASSCOCK            JESSE                     IL         18L0414          THE GORI LAW FIRM PC                                 GRAHAM               SYLVIA                MO         1722CC10686      THE GORI LAW FIRM PC
GLASSCOCK            JUDY                      IL         18L0414          THE GORI LAW FIRM PC                                 GRAHAM               TINA C                IL         19L0014          THE GORI LAW FIRM PC
GLICK                JAMES                     IL         2019L000843      THE GORI LAW FIRM PC                                 GRAHAM               WILLIAM OSBORNE       IL         19L0014          THE GORI LAW FIRM PC
GLICK                STEPHANIE FAITH HOPKINS   IL         2019L000843      THE GORI LAW FIRM PC                                 GRAJEDA              TERESA                IL         2017L000413      THE GORI LAW FIRM PC
GLINIEWICZ           JOAN P                    IL         2016L000365      THE GORI LAW FIRM PC                                 GRANT                DELORES               IL         2018L001139      THE GORI LAW FIRM PC
GLOCK                JANET                     IL         2019L000792      THE GORI LAW FIRM PC                                 GRANT                KEITH                 IL         2018L001139      THE GORI LAW FIRM PC
GLOVER               JOHN HUEY                 MO         1622CC01159      THE GORI LAW FIRM PC                                 GRASSI               GIACOMO               IL         2019L000437      THE GORI LAW FIRM PC
GLOVER               JOHN T                    MO         1622CC01159      THE GORI LAW FIRM PC                                 GRAVES               OTIS                  MO         1622CC09994      THE GORI LAW FIRM PC
GLOVER               MATTHEW                   MO         1622CC01159      THE GORI LAW FIRM PC                                 GRAVES               STEVE                 IL         18L0725          THE GORI LAW FIRM PC
GLOVER               TANNA                     MO         1622CC01159      THE GORI LAW FIRM PC                                 GRAVOT               BRANDON               IL         19L0714          THE GORI LAW FIRM PC
GOBLE                RITA                      MO         1522CC00895      THE GORI LAW FIRM PC                                 GRAVOT               KEVIN BOYER           IL         19L0714          THE GORI LAW FIRM PC
GOBLE                ROBERT                    MO         1522CC00895      THE GORI LAW FIRM PC                                 GRAY                 KENNETH               MO         1522CC01039      THE GORI LAW FIRM PC
GOBLE                WILLIAM                   MO         1522CC00895      THE GORI LAW FIRM PC                                 GRAYSON              TERRY LEE             MD         24X17000403      THE GORI LAW FIRM PC
GODDARD              BENN                      IL         2016L000642      THE GORI LAW FIRM PC                                 GRAYSON              VERNON                MD         24X17000403      THE GORI LAW FIRM PC
GODDARD              CHERYL L                  IL         2016L000642      THE GORI LAW FIRM PC                                 GREEN                BERT ELMORE           IL         19L0496          THE GORI LAW FIRM PC
GODLEWSKI            CHESTER                   IL         18L0130          THE GORI LAW FIRM PC                                 GREEN                CHERYL                IL         2017L000552      THE GORI LAW FIRM PC
GODLEWSKI            PATRICIA                  IL         18L0130          THE GORI LAW FIRM PC                                 GREEN                EDGAR                 IL         2017L000552      THE GORI LAW FIRM PC
GODMAN               PEGGY                     IL         2017L001609      THE GORI LAW FIRM PC                                 GREEN                FERNANDO              IL         18L47            THE GORI LAW FIRM PC
GOELZ                LEE ANN                   IL         2018L000951      THE GORI LAW FIRM PC                                 GREEN                JOHNNIE DIANE         IL         18L0355          THE GORI LAW FIRM PC
GOELZ                MICHAEL                   IL         2018L000951      THE GORI LAW FIRM PC                                 GREEN                LEONARD               IL         18L0355          THE GORI LAW FIRM PC
GOFF                 CORA LEE                  IL         2016L000730      THE GORI LAW FIRM PC                                 GREEN                LINDA                 IL         19L0496          THE GORI LAW FIRM PC
GOFF                 REX A                     IL         2016L000730      THE GORI LAW FIRM PC                                 GREENWOOD            DEBORAH               IL         2017L000075      THE GORI LAW FIRM PC
GOINS                GARRY                     MO         1422CC00301      THE GORI LAW FIRM PC                                 GREENWOOD            LAWRENCE              IL         2017L000075      THE GORI LAW FIRM PC
GOINS                TONI                      MO         1422CC00301      THE GORI LAW FIRM PC                                 GREENWOOD            PHYLLIS               IL         2017L000277      THE GORI LAW FIRM PC
GOLDBERG             MARY                      MO         1622CC10527      THE GORI LAW FIRM PC                                 GREER                CAROLYN FAY           IL         2015L001532      THE GORI LAW FIRM PC
GOLDEN               GAYLE A                   IL         2019L001654      THE GORI LAW FIRM PC                                 GREER                DALE W                IL         2015L001532      THE GORI LAW FIRM PC
GOLDEN               ROBERT                    IL         2019L001654      THE GORI LAW FIRM PC                                 GREER                DAYTON                IL         19L0386          THE GORI LAW FIRM PC
GOLDSBOROUGH         CAROL ANN                 IL         2017L000582      THE GORI LAW FIRM PC                                 GREER                JAMIE                 IL         16L266           THE GORI LAW FIRM PC
GOLDSBOROUGH         ROBERT                    IL         2017L000582      THE GORI LAW FIRM PC                                 GREER                ROSE                  IL         19L0386          THE GORI LAW FIRM PC
GOLDSMITH            ARLA LEE                  IL         2014L001431      THE GORI LAW FIRM PC                                 GREGORY              CARL                  MO         1722CC11268      THE GORI LAW FIRM PC
GOLDSMITH            ARNOLD W                  IL         2014L001431      THE GORI LAW FIRM PC                                 GREGORY              VERLA                 MO         1722CC11268      THE GORI LAW FIRM PC
GOLLADAY             ANTHONY                   IL         2017L000740      THE GORI LAW FIRM PC                                 GREGSON              ALVIN E               IL         2016L001272      THE GORI LAW FIRM PC
GOLSON               CHARLES                   IL         2017L000728      THE GORI LAW FIRM PC                                 GREGSON              YOLANDA T             IL         2016L001272      THE GORI LAW FIRM PC
GOMEZ                CELIA                     IL         13L1558          THE GORI LAW FIRM PC                                 GREPPS               ANN L                 MO         1622CC09887      THE GORI LAW FIRM PC
GOMEZ                GREGORIO                  IL         13L1558          THE GORI LAW FIRM PC                                 GREPPS               MICHAEL R             MO         1622CC09887      THE GORI LAW FIRM PC
GONZALES             LEONARDO                  IL         2018L001033      THE GORI LAW FIRM PC                                 GRIDER               DARELYN J             MO         1622CC09823      THE GORI LAW FIRM PC
GONZALES             ROBERTO S                 IL         2018L001430      THE GORI LAW FIRM PC                                 GRIDER               JERRY                 MO         1622CC09823      THE GORI LAW FIRM PC
GONZALES             SARAH                     IL         2018L001430      THE GORI LAW FIRM PC                                 GRIER                ELIZABETH             DE         N19C08210ASB     THE GORI LAW FIRM PC
GONZALES             VALENTINA DE LEON         IL         2018L001033      THE GORI LAW FIRM PC                                 GRIER                RICHARD P             DE         N19C08210ASB     THE GORI LAW FIRM PC
GONZALEZ             AURELIO                   IL         2018L000508      THE GORI LAW FIRM PC                                 GRIFFIN              ADORA                 MO         1722CC00483      THE GORI LAW FIRM PC
GONZALEZ             EVA V                     IL         2018L000547      THE GORI LAW FIRM PC                                 GRIFFIN              EARL                  MO         1722CC00483      THE GORI LAW FIRM PC
GONZALEZ             LORENZO MONTOYA           IL         2018L000508      THE GORI LAW FIRM PC                                 GRIFFIN              MICHELLE              IL         19L0270          THE GORI LAW FIRM PC
GONZALEZ             NATIVIDAD                 MO         1622CC10875      THE GORI LAW FIRM PC                                 GRIFFIN              YVETTE                MO         1722CC00483      THE GORI LAW FIRM PC
GONZALEZ             OLGA                      MO         1622CC10875      THE GORI LAW FIRM PC                                 GRIFFITH             MARILYN S             IL         2017L000137      THE GORI LAW FIRM PC
GONZALEZ             OSCAR                     IL         2017L001087      THE GORI LAW FIRM PC                                 GRIFFITH             SAM R                 IL         2017L000137      THE GORI LAW FIRM PC
GONZALEZ             RAFAEL                    IL         2016L001770      THE GORI LAW FIRM PC                                 GRIFFITH             THOMAS D              IL         18L0505          THE GORI LAW FIRM PC
GONZALEZ             SALVADOR S                IL         2018L000547      THE GORI LAW FIRM PC                                 GRIMALDI             CARMEN R              IL         18L0212          THE GORI LAW FIRM PC
GONZALEZ             SANDRA                    IL         2017L001087      THE GORI LAW FIRM PC                                 GRIMALDI             JOANN                 IL         18L0212          THE GORI LAW FIRM PC
GONZALEZ-GARZA       ELIZABETH                 IL         18L0689          THE GORI LAW FIRM PC                                 GRISCOM              JOHN                  IL         2017L000315      THE GORI LAW FIRM PC
GOOD                 ROGER W                   IL         13L1856          THE GORI LAW FIRM PC                                 GRISCOM              LILLIAN               IL         2017L000315      THE GORI LAW FIRM PC
GOODEN               HUELON                    IL         15L63            THE GORI LAW FIRM PC                                 GROGAN               DALLAS                MO         1922CC01290      THE GORI LAW FIRM PC
GOODEN               MARY                      IL         15L63            THE GORI LAW FIRM PC                                 GROGAN               DALLAS                IL         2019L000711      THE GORI LAW FIRM PC
GOODMAN              NEIL KIRK                 IL         19L0673          THE GORI LAW FIRM PC                                 GROGG                ANNE                  MO         1422CC00926      THE GORI LAW FIRM PC
GOODMAN              PAULA HOWELL              IL         19L0673          THE GORI LAW FIRM PC                                 GROGG                MILES                 MO         1422CC00926      THE GORI LAW FIRM PC
GOOSMAN              BERNICE                   IL         2018L001044      THE GORI LAW FIRM PC                                 GROVER               BRENDA                IL         2019L001743      THE GORI LAW FIRM PC
GOOSMAN              ROBERT                    IL         2018L001044      THE GORI LAW FIRM PC                                 GROVER               GARY D                IL         2019L001743      THE GORI LAW FIRM PC
GORDON               ADELAIDA                  IL         2017L000403      THE GORI LAW FIRM PC                                 GRUNEWALD            JUDITH                IL         2018L001296      THE GORI LAW FIRM PC
GORDON               DORIS                     IL         2018L000318      THE GORI LAW FIRM PC                                 GRUNEWALD            LYNN                  IL         2018L001296      THE GORI LAW FIRM PC
GORDY                ALBERT                    IL         2018L001229      THE GORI LAW FIRM PC                                 GUERRERO             BRENDA                IL         2018L000019      THE GORI LAW FIRM PC
GORDY                MARYANN                   IL         2018L001229      THE GORI LAW FIRM PC                                 GUERRINI             CARRIE                MO         1622CC11443      THE GORI LAW FIRM PC
GORUT                JOHN                      IL         18L25            THE GORI LAW FIRM PC                                 GUINN                GARY                  MO         1722CC00741      THE GORI LAW FIRM PC
GORUT                LUZ                       IL         18L25            THE GORI LAW FIRM PC                                 GULOTTA              MARK                  IL         2018L000446      THE GORI LAW FIRM PC




                                                                                                                Appendix A - 709
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 44 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GULOTTA              SANDRA                IL         2018L000446      THE GORI LAW FIRM PC                                 HANNA                DAVID FREEMAN         IL         2015L000487      THE GORI LAW FIRM PC
GUNHUS               ANN PAMELA            MO         1922CC01774      THE GORI LAW FIRM PC                                 HANNA                JEANNE MISHELLE       IL         2015L000487      THE GORI LAW FIRM PC
GUNHUS               GAYLORD THOMAS        MO         1922CC01774      THE GORI LAW FIRM PC                                 HANSEN               ERIC                  IL         2015L001016      THE GORI LAW FIRM PC
GUNHUS               KEVIN                 MO         1922CC01774      THE GORI LAW FIRM PC                                 HANSEN               PETER O               IL         2019L001264      THE GORI LAW FIRM PC
GUNHUS               MICHAEL               MO         1922CC01774      THE GORI LAW FIRM PC                                 HANSON               CECIL                 IL         2016L001094      THE GORI LAW FIRM PC
HAAG                 MARLENE               IL         2019L000854      THE GORI LAW FIRM PC                                 HANSON               MARCIA                IL         2016L001094      THE GORI LAW FIRM PC
HAAG                 ROBERT SYLVESTER      IL         2019L000854      THE GORI LAW FIRM PC                                 HARDEN               BETTY                 IL         2018L000948      THE GORI LAW FIRM PC
HABERLACH            CHARLES               IL         2017L000880      THE GORI LAW FIRM PC                                 HARDEN               CHARLES               IL         2018L000948      THE GORI LAW FIRM PC
HABERLACH            MARDENE               IL         2017L000880      THE GORI LAW FIRM PC                                 HARDING              DONNA                 IL         2017L000306      THE GORI LAW FIRM PC
HABIB                MAGNOLIA R            IL         2014L001014      THE GORI LAW FIRM PC                                 HARDING              HOWARD                IL         2017L000306      THE GORI LAW FIRM PC
HABIB                SALEEM                IL         2014L001014      THE GORI LAW FIRM PC                                 HARDY                DAVID HUBIE           IL         2019L001541      THE GORI LAW FIRM PC
HABOVSTAK            BARBARA               IL         2017L001728      THE GORI LAW FIRM PC                                 HARDY                JOE L                 IL         19L0490          THE GORI LAW FIRM PC
HABOVSTAK            STEVEN ANTON JOHN     IL         2017L001728      THE GORI LAW FIRM PC                                 HARDY                SAMUEL                IL         2019L001541      THE GORI LAW FIRM PC
HACKNEY              HAROLD                IL         11L1195          THE GORI LAW FIRM PC                                 HARE                 CARLOS EDWARD         MO         1822CC00133      THE GORI LAW FIRM PC
HACKNEY              LINDA                 IL         11L1195          THE GORI LAW FIRM PC                                 HARE                 OPAL                  MO         1822CC00133      THE GORI LAW FIRM PC
HAGAN                JANET                 IL         12L1872          THE GORI LAW FIRM PC                                 HARE                 SAVANNAH              MO         1822CC00133      THE GORI LAW FIRM PC
HAGAN                KENNETH               IL         12L1872          THE GORI LAW FIRM PC                                 HARE                 SHERY CURRY           MO         1822CC00133      THE GORI LAW FIRM PC
HAGER                DARLA                 IL         15L40            THE GORI LAW FIRM PC                                 HARING               LORRAINE              MO         1622CC11443      THE GORI LAW FIRM PC
HAGER                WILLIAM SCOTT         IL         15L40            THE GORI LAW FIRM PC                                 HARKREADER           CLARA                 IL         18L0794          THE GORI LAW FIRM PC
HAGLUND              BILLY RAY             IL         2016L000050      THE GORI LAW FIRM PC                                 HARKREADER           DONALD                IL         18L0794          THE GORI LAW FIRM PC
HAGLUND              NORMA                 IL         2016L000050      THE GORI LAW FIRM PC                                 HARMON               SEAN                  IL         18L0228          THE GORI LAW FIRM PC
HAIME                CHARLES               IL         2018L000340      THE GORI LAW FIRM PC                                 HARNED               PAMELA                IL         2018L000576      THE GORI LAW FIRM PC
HAIME                LYUBOV                IL         2018L000340      THE GORI LAW FIRM PC                                 HAROBIN              JOHN                  IL         2014L001786      THE GORI LAW FIRM PC
HAINES               MICHAEL F             IL         2019L001394      THE GORI LAW FIRM PC                                 HAROBIN              SUSAN                 IL         2014L001786      THE GORI LAW FIRM PC
HAINES               SHIRLEY               IL         2019L001394      THE GORI LAW FIRM PC                                 HAROUTUNIAN          LISA                  IL         2017L000770      THE GORI LAW FIRM PC
HAIRER               KARRI                 MO         1822CC01780      THE GORI LAW FIRM PC                                 HAROUTUNIAN          VANUSH ROSE           IL         2017L000770      THE GORI LAW FIRM PC
HALE                 FRANKLIN              IL         11L46            THE GORI LAW FIRM PC                                 HARRINGTON           DEATRA                MO         1722CC00780      THE GORI LAW FIRM PC
HALE                 GLORIA                IL         11L46            THE GORI LAW FIRM PC                                 HARRINGTON           JOHN                  MO         1722CC00780      THE GORI LAW FIRM PC
HALE                 MARY                  MO         1622CC09618      THE GORI LAW FIRM PC                                 HARRIS               BENNIE                IL         2017L000645      THE GORI LAW FIRM PC
HALEY                JEAN                  IL         18L66            THE GORI LAW FIRM PC                                 HARRIS               BONNIE                IL         2017L000747      THE GORI LAW FIRM PC
HALEY                STEPHEN               IL         18L66            THE GORI LAW FIRM PC                                 HARRIS               CLEVELAND             IL         2017L000537      THE GORI LAW FIRM PC
HALL                 BETTY                 MO         1622CC10148      THE GORI LAW FIRM PC                                 HARRIS               DAVITA                IL         2016L001319      THE GORI LAW FIRM PC
HALL                 BONNIE I              IL         19L0625          THE GORI LAW FIRM PC                                 HARRIS               EARL                  IL         18L73            THE GORI LAW FIRM PC
HALL                 CLARENCE G            IL         2015L001123      THE GORI LAW FIRM PC                                 HARRIS               HELEN                 IL         18L0575          THE GORI LAW FIRM PC
HALL                 GARY                  MO         1622CC10148      THE GORI LAW FIRM PC                                 HARRIS               JAMES A               IL         2017L000294      THE GORI LAW FIRM PC
HALL                 JANIS                 IL         14L571           THE GORI LAW FIRM PC                                 HARRIS               JIMMY                 MO         1622CC00797      THE GORI LAW FIRM PC
HALL                 JERRY                 IL         2019L000053      THE GORI LAW FIRM PC                                 HARRIS               JOHN LOUIS            IL         2017L000747      THE GORI LAW FIRM PC
HALL                 JOHN JARRETT          IL         19L0625          THE GORI LAW FIRM PC                                 HARRIS               LORENZO               IL         2017L000928      THE GORI LAW FIRM PC
HALL                 LYLE NED              MO         1622CC10148      THE GORI LAW FIRM PC                                 HARRIS               MICHAEL               IL         2016L001319      THE GORI LAW FIRM PC
HALL                 NANCY                 IL         2019L000053      THE GORI LAW FIRM PC                                 HARRIS               SADIE                 MO         1622CC00797      THE GORI LAW FIRM PC
HALL                 PATRICIA              IL         2015L001123      THE GORI LAW FIRM PC                                 HARRIS               SHIANN                IL         2017L000645      THE GORI LAW FIRM PC
HALL                 PAULA FAYE            IL         19L0043          THE GORI LAW FIRM PC                                 HARRIS               SHIRLEY B             IL         18L0575          THE GORI LAW FIRM PC
HALL                 TERRY LYNN            IL         19L0043          THE GORI LAW FIRM PC                                 HARRIS               VERMEL                IL         2017L000294      THE GORI LAW FIRM PC
HALVORSON            JOAN                  IL         18L0127          THE GORI LAW FIRM PC                                 HARRIS               WILLIAM               IL         2018L001648      THE GORI LAW FIRM PC
HALVORSON            WESTON                IL         18L0127          THE GORI LAW FIRM PC                                 HARRISON             DONALD P              IL         2015L001153      THE GORI LAW FIRM PC
HAMES                LESA                  MO         1622CC00216      THE GORI LAW FIRM PC                                 HARRISON             GAIL                  IL         18L0580          THE GORI LAW FIRM PC
HAMILTON             EMMA                  IL         18L0249          THE GORI LAW FIRM PC                                 HARRISON             HERBERT SAMUEL        IL         18L0580          THE GORI LAW FIRM PC
HAMILTON             GLORIA                IL         2016L000445      THE GORI LAW FIRM PC                                 HARRISON             KATHLEEN              IL         2017L000608      THE GORI LAW FIRM PC
HAMILTON             JAMES E               IL         18L0105          THE GORI LAW FIRM PC                                 HARRISON             LAWRENCE              IL         2017L000608      THE GORI LAW FIRM PC
HAMILTON             JOHN E                IL         2017L000572      THE GORI LAW FIRM PC                                 HARRISON             MARY                  IL         2015L001153      THE GORI LAW FIRM PC
HAMILTON             MARTHA                IL         2017L000572      THE GORI LAW FIRM PC                                 HARRISON             RICHARD               IL         2014L001220      THE GORI LAW FIRM PC
HAMILTON             REPHAH WELDON         IL         18L0249          THE GORI LAW FIRM PC                                 HARRISON             SARAH                 IL         18L0580          THE GORI LAW FIRM PC
HAMILTON             SANDRA K              IL         18L0105          THE GORI LAW FIRM PC                                 HARRISON             SHARON                IL         2014L001220      THE GORI LAW FIRM PC
HAMILTON             TERRY RAY             IL         2016L000445      THE GORI LAW FIRM PC                                 HARRISON             SONIA                 IL         2017L000429      THE GORI LAW FIRM PC
HAMM                 LORRI                 MO         1822CC00153      THE GORI LAW FIRM PC                                 HARTLEY              TRENA                 MO         1722CC01426      THE GORI LAW FIRM PC
HAMMES               LEONARD FRANCES       IL         2017L001096      THE GORI LAW FIRM PC                                 HARTMAN              GLADIOLA              IL         2017L000078      THE GORI LAW FIRM PC
HAMMES               SHARON                IL         2017L001096      THE GORI LAW FIRM PC                                 HARTMAN              JAMES NELSON          IL         2017L000078      THE GORI LAW FIRM PC
HAMMET               FREDRICK              IL         2018L000763      THE GORI LAW FIRM PC                                 HARTMAN              WANDA                 IL         2018L001109      THE GORI LAW FIRM PC
HAMMET               JANET                 IL         2018L000763      THE GORI LAW FIRM PC                                 HARVATH              GARY                  IL         2015L001164      THE GORI LAW FIRM PC
HAMMOND              JOHN                  IL         2019L000047      THE GORI LAW FIRM PC                                 HARVATH              VICKI                 IL         2015L001164      THE GORI LAW FIRM PC
HAMMOND              PEGGY                 IL         2019L000047      THE GORI LAW FIRM PC                                 HARVEY               ERCEL                 MO         1622CC10544      THE GORI LAW FIRM PC
HAMMONDS             CHARLES               MO         1822CC00561      THE GORI LAW FIRM PC                                 HARVEY               GREG                  MO         1622CC10544      THE GORI LAW FIRM PC
HAMMONDS             MYRA                  MO         1822CC00561      THE GORI LAW FIRM PC                                 HARVEY               LINDA                 MO         1622CC10544      THE GORI LAW FIRM PC
HAMPTON              WILLIAM G             IL         2017L000031      THE GORI LAW FIRM PC                                 HARVEY               MICHELE               MO         1622CC10544      THE GORI LAW FIRM PC
HANCOCK              ANNA PAULETTE         IL         2017L000485      THE GORI LAW FIRM PC                                 HASH                 LOUIS                 IL         2016L001299      THE GORI LAW FIRM PC
HANCOCK              HOLLIS                IL         2017L000485      THE GORI LAW FIRM PC                                 HASH                 SUSAN                 IL         2016L001299      THE GORI LAW FIRM PC
HANDY                MARCELL               MO         1522CC11091      THE GORI LAW FIRM PC                                 HASTINGS             CAREY                 IL         2018L000513      THE GORI LAW FIRM PC
HANDY                MICHAEL C             MO         1522CC11091      THE GORI LAW FIRM PC                                 HASTINGS             DEBRA                 IL         2018L000513      THE GORI LAW FIRM PC
HANDY                MICHAEL H             MO         1522CC11091      THE GORI LAW FIRM PC                                 HAUPTMAN             THOMAS RAY            IL         2017L000358      THE GORI LAW FIRM PC
HANENBURG            BENNETTE              IL         2017L000875      THE GORI LAW FIRM PC                                 HAWKINS              CLIFTON HENRY         IL         2015L001449      THE GORI LAW FIRM PC
HANEY                RITA                  IL         18L0529          THE GORI LAW FIRM PC                                 HAWKINS              ERMA                  IL         2015L001449      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 710
                                                               Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                           Complaint-Part 2 Page 45 of 484



Claimant Last Name   Claimant First Name       State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HAXTON               CHRISTINA                 IL         2019L000232      THE GORI LAW FIRM PC                                 HESTER               KRISTI                IL         18L0128          THE GORI LAW FIRM PC
HAXTON               LARRY LEITH               IL         2019L000232      THE GORI LAW FIRM PC                                 HEWITT               DELORA                IL         2016L000859      THE GORI LAW FIRM PC
HAYES                EDWARD                    IL         11L546           THE GORI LAW FIRM PC                                 HICKMAN              JANICE C              IL         2017L000721      THE GORI LAW FIRM PC
HAYES                IVA                       IL         11L546           THE GORI LAW FIRM PC                                 HICKMAN              WALTER                IL         2017L000721      THE GORI LAW FIRM PC
HAYES                SARAH                     MO         1422CC00926      THE GORI LAW FIRM PC                                 HIDER                LYNNETTE              IL         2015L001091      THE GORI LAW FIRM PC
HAYNES               DOROTHY                   MO         1822CC00153      THE GORI LAW FIRM PC                                 HIGBEE               WAYNE                 IL         19L0115          THE GORI LAW FIRM PC
HAYNES               SIDNEY                    MO         1822CC00153      THE GORI LAW FIRM PC                                 HIGGINS              BILLY                 IL         19L0338          THE GORI LAW FIRM PC
HAYS                 DENNIS                    IL         2018L001051      THE GORI LAW FIRM PC                                 HIGGINS              SHIRLEY ANN           IL         2016L000499      THE GORI LAW FIRM PC
HAYS                 JUDY                      IL         2018L001051      THE GORI LAW FIRM PC                                 HIGHTOWER            JESSICA E             MO         1922CC10835      THE GORI LAW FIRM PC
HAYWOOD              DIANA                     IL         11L722           THE GORI LAW FIRM PC                                 HIGHTOWER            JOHN R                MO         1922CC10835      THE GORI LAW FIRM PC
HAYWOOD              OLAND                     IL         11L722           THE GORI LAW FIRM PC                                 HIGHTOWER            LAWRENCE              IL         19L0480          THE GORI LAW FIRM PC
HEAD                 IONE                      IL         11L969           THE GORI LAW FIRM PC                                 HIGHTOWER            LINDA                 IL         19L0480          THE GORI LAW FIRM PC
HEAD                 KEITH                     IL         11L969           THE GORI LAW FIRM PC                                 HILL                 CARL W                IL         2019L000650      THE GORI LAW FIRM PC
HEAL                 FRANCIS                   IL         2016L001659      THE GORI LAW FIRM PC                                 HILL                 ELIZABETH             IL         2017L000537      THE GORI LAW FIRM PC
HEAL                 MICHAEL                   IL         2016L001659      THE GORI LAW FIRM PC                                 HILL                 GAIL                  IL         2018L000201      THE GORI LAW FIRM PC
HEARD                BRENDA G                  IL         2017L001172      THE GORI LAW FIRM PC                                 HILL                 GEORGE O              IL         2018L000201      THE GORI LAW FIRM PC
HEARD                HAROLD T                  IL         2017L001172      THE GORI LAW FIRM PC                                 HILL                 MICHAEL DEE           IL         18L0244          THE GORI LAW FIRM PC
HEARD                JANICE                    IL         2017L000951      THE GORI LAW FIRM PC                                 HILL                 PAMELA                IL         2019L000650      THE GORI LAW FIRM PC
HEARN                FRANCES                   IL         2018L000764      THE GORI LAW FIRM PC                                 HILL                 ROSE MARIE            IL         18L0244          THE GORI LAW FIRM PC
HEARN                STEVEN                    IL         2018L000764      THE GORI LAW FIRM PC                                 HILLARD              SHERRI                IL         14L734           THE GORI LAW FIRM PC
HEARON               BETTY                     MO         1622CC00369      THE GORI LAW FIRM PC                                 HILLIARD             JAVAIL THOMAS         IL         14L734           THE GORI LAW FIRM PC
HEARON               CYNTHIA                   MO         1622CC11576      THE GORI LAW FIRM PC                                 HINDMAN              JOHN W                IL         12L1889          THE GORI LAW FIRM PC
HEARON               GREGORY                   MO         1622CC00369      THE GORI LAW FIRM PC                                 HINSON               VELVET                IL         2015L001121      THE GORI LAW FIRM PC
HEARON               REGINAL                   MO         1622CC00369      THE GORI LAW FIRM PC                                 HIPKINS              JUDY                  IL         18L0779          THE GORI LAW FIRM PC
HEARON               ROBERT C                  MO         1622CC00369      THE GORI LAW FIRM PC                                 HIRSCH               CRAIG                 IL         11L0511          THE GORI LAW FIRM PC
HEBERT               EARL                      IL         2017L000567      THE GORI LAW FIRM PC                                 HISCOCK              JOSEPH                IL         18L0816          THE GORI LAW FIRM PC
HEBERT               MURDIS                    IL         2017L000567      THE GORI LAW FIRM PC                                 HITT                 SCOTT                 MO         1922CC11875      THE GORI LAW FIRM PC
HEBNER               DUANE                     MO         1822CC11774      THE GORI LAW FIRM PC                                 HLAVATY              JAN                   IL         19L0092          THE GORI LAW FIRM PC
HEBNER               MARY ANGELA               MO         1822CC11774      THE GORI LAW FIRM PC                                 HOBBS                ARLON J               IL         13L503           THE GORI LAW FIRM PC
HECKLER              ELIZABETH                 IL         2016L001613      THE GORI LAW FIRM PC                                 HOBBS                BARBARA FAYE          IL         15L669           THE GORI LAW FIRM PC
HEDGPETH             BRENDA                    IL         11L688           THE GORI LAW FIRM PC                                 HOBBS                CHRISTINE             IL         2018L001474      THE GORI LAW FIRM PC
HEFFNER              FANNIE MAE                IL         19L0270          THE GORI LAW FIRM PC                                 HOBBS                RAYMOND DALE          IL         15L669           THE GORI LAW FIRM PC
HEITKAMP             BRENDA                    NY         0033962018       THE GORI LAW FIRM PC                                 HOBBS                WILLIAM               IL         19L0246          THE GORI LAW FIRM PC
HEITKAMP             SCOTT                     NY         0033962018       THE GORI LAW FIRM PC                                 HODGES               BARBARA JEAN          IL         19L0306          THE GORI LAW FIRM PC
HEITKAMP             WILLIAM SCOTT CHRISTIAN   IL         2017L000749      THE GORI LAW FIRM PC                                 HODGES               CHARLES W             MO         1922CC00782      THE GORI LAW FIRM PC
HELD                 KERRIE                    IL         2017L001336      THE GORI LAW FIRM PC                                 HODGES               JAMES E               IL         19L0306          THE GORI LAW FIRM PC
HELD                 MICHAEL JOSEPH            IL         2017L001336      THE GORI LAW FIRM PC                                 HODGES               ZB                    IL         2019L001201      THE GORI LAW FIRM PC
HELLRIGEL            KIMBERLY                  IL         19L0381          THE GORI LAW FIRM PC                                 HOEPER               ROBERT R              IL         2019L001531      THE GORI LAW FIRM PC
HELTON               BRET                      IL         19L0502          THE GORI LAW FIRM PC                                 HOEPER               SHARON                IL         2019L001531      THE GORI LAW FIRM PC
HELTON               RITA FAYE                 IL         19L0502          THE GORI LAW FIRM PC                                 HOFF                 CHRISTINE             IL         2017L001049      THE GORI LAW FIRM PC
HENDERSON            ANTON                     IL         2017L000095      THE GORI LAW FIRM PC                                 HOFFMAN              SHERYL                IL         12L958           THE GORI LAW FIRM PC
HENDERSON            BARBARA SUSAN             IL         2019L001775      THE GORI LAW FIRM PC                                 HOFFMAN              WALTER                IL         12L958           THE GORI LAW FIRM PC
HENDERSON            TONIA                     IL         14L798           THE GORI LAW FIRM PC                                 HOLDEN               DAVID ROLAND          IL         2015L001643      THE GORI LAW FIRM PC
HENDERSON            VIRGIE                    IL         2017L000095      THE GORI LAW FIRM PC                                 HOLDEN               MAUREEN ELIZABETH     IL         2015L001643      THE GORI LAW FIRM PC
HENDRICK             CHARLES E                 IL         2014L001230      THE GORI LAW FIRM PC                                 HOLLAND              DANIEL                IL         19L0096          THE GORI LAW FIRM PC
HENDRICK             MARY                      IL         2014L001230      THE GORI LAW FIRM PC                                 HOLLAND              LINDA                 IL         19L0096          THE GORI LAW FIRM PC
HENDRICKS            GEORGE                    IL         19L0228          THE GORI LAW FIRM PC                                 HOLLEY               DEBBIE                MO         1622CC10551      THE GORI LAW FIRM PC
HENDRICKS            MORRIS LEO                IL         19L0454          THE GORI LAW FIRM PC                                 HOLLEY               JANET                 IL         14L591           THE GORI LAW FIRM PC
HENDRICKSON          WILLIAM                   IL         2018L000931      THE GORI LAW FIRM PC                                 HOLLEY               WILLIAM MARION        IL         14L591           THE GORI LAW FIRM PC
HENN                 BRAD                      IL         2017L000335      THE GORI LAW FIRM PC                                 HOLLON               CONSTANCE S           IL         2019L001325      THE GORI LAW FIRM PC
HENN                 FRANK STEVEN              IL         2017L000335      THE GORI LAW FIRM PC                                 HOLLON               HAROLD L              IL         2019L001325      THE GORI LAW FIRM PC
HENRICH              DONALD                    IL         15L64            THE GORI LAW FIRM PC                                 HOLLOWAY             LINDA                 IL         19L0493          THE GORI LAW FIRM PC
HENRICH              JUDITH                    IL         15L64            THE GORI LAW FIRM PC                                 HOLLOWAY             LOUISE                IL         19L0172          THE GORI LAW FIRM PC
HENSLER              JOSEPH                    IL         19L0239          THE GORI LAW FIRM PC                                 HOLLOWAY             WALTER WILLIAM        IL         19L0493          THE GORI LAW FIRM PC
HENSLEY              DOROTHY                   IL         2018L001509      THE GORI LAW FIRM PC                                 HOLLOWAY             WILLIAM               IL         19L0172          THE GORI LAW FIRM PC
HENTHORN             BILL                      IL         18L0337          THE GORI LAW FIRM PC                                 HOLMES               ALBERT                IL         2015L001630      THE GORI LAW FIRM PC
HERBER               ROBERT                    IL         18L32            THE GORI LAW FIRM PC                                 HOLMES               BRANDY M              IL         18L0205          THE GORI LAW FIRM PC
HERNANDEZ            ARMANDO M                 IL         19L0690          THE GORI LAW FIRM PC                                 HOLSTEN              KENNETH CHRISTIAN     IL         2015L001605      THE GORI LAW FIRM PC
HERNANDEZ            BENITO                    IL         2017L000283      THE GORI LAW FIRM PC                                 HOLSTEN              WILLIAM P             IL         2015L001605      THE GORI LAW FIRM PC
HERNANDEZ            BLANCA G                  IL         2016L000336      THE GORI LAW FIRM PC                                 HOLT                 LILLIAN ANN           IL         2019L000731      THE GORI LAW FIRM PC
HERNANDEZ            JOE                       IL         19L0690          THE GORI LAW FIRM PC                                 HONOHAN              MICHAEL               IL         2017L001068      THE GORI LAW FIRM PC
HERNANDEZ            MARIA                     IL         2017L000283      THE GORI LAW FIRM PC                                 HONOHAN              PAMELA                IL         2017L001068      THE GORI LAW FIRM PC
HERNANDEZ            REGINA MONTELL            IL         2016L000876      THE GORI LAW FIRM PC                                 HONOHAN              VIRGINIA              IL         2017L000267      THE GORI LAW FIRM PC
HERNDON              GEORGE HOWARD             MO         1922CC00557      THE GORI LAW FIRM PC                                 HONOHAN              WILLIAM               IL         2017L000267      THE GORI LAW FIRM PC
HERR                 BRENDA                    IL         2017L001488      THE GORI LAW FIRM PC                                 HOOD                 ROBERT                IL         2019L000733      THE GORI LAW FIRM PC
HERR                 ELWOOD LEFEVRE            IL         2017L001488      THE GORI LAW FIRM PC                                 HOOKER               CORA                  MO         1822CC10536      THE GORI LAW FIRM PC
HERRING              MICHAEL W                 MO         1722CC00378      THE GORI LAW FIRM PC                                 HOOKER               DONNIE                MO         1822CC10536      THE GORI LAW FIRM PC
HERRINGTON           IRVIN WILLIAM             IL         2016L001361      THE GORI LAW FIRM PC                                 HOOKER               EVION                 MO         1822CC10536      THE GORI LAW FIRM PC
HERVEY               SUZANNE L                 IL         2018L001329      THE GORI LAW FIRM PC                                 HOOKER               GILBERT               MO         1822CC10536      THE GORI LAW FIRM PC
HESTER               CHARLES                   IL         2015L001568      THE GORI LAW FIRM PC                                 HOOKER               LC                    MO         1822CC10536      THE GORI LAW FIRM PC
HESTER               JANICE                    MO         1622CC00724      THE GORI LAW FIRM PC                                 HOOKER               OTIS                  MO         1822CC10536      THE GORI LAW FIRM PC




                                                                                                                Appendix A - 711
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 46 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HOOKS                DONALD B              IL         13L470           THE GORI LAW FIRM PC                                 IMPERIALE            PHILIP                MO         1622CC09610      THE GORI LAW FIRM PC
HOOKS                STEVEN                IL         13L470           THE GORI LAW FIRM PC                                 INGRAM               JODY                  IL         2019L001751      THE GORI LAW FIRM PC
HOOVER               NICOLE                IL         2017L000435      THE GORI LAW FIRM PC                                 INJESKI              BARBARA               IL         2018L000448      THE GORI LAW FIRM PC
HOPPING              GEORGE EDWARD         IL         2016L000381      THE GORI LAW FIRM PC                                 INTRAKAMHANG         MONGKHOLRATANA        IL         2019L000214      THE GORI LAW FIRM PC
HOPPING              MARY                  IL         2016L000381      THE GORI LAW FIRM PC                                 INTRAKAMHANG         MONRUDEE              IL         2019L000214      THE GORI LAW FIRM PC
HORN                 DENNIS                IL         2017L001064      THE GORI LAW FIRM PC                                 IPPOLITI             MARK                  IL         2014L000507      THE GORI LAW FIRM PC
HORN                 EDGAR GENE            IL         18L0226          THE GORI LAW FIRM PC                                 IRWIN                PEGGY                 IL         18L0534          THE GORI LAW FIRM PC
HORN                 FRANCIS               IL         2017L001259      THE GORI LAW FIRM PC                                 IRWIN                ROBERT LYNN           IL         18L0534          THE GORI LAW FIRM PC
HORN                 PATRICIA              IL         2017L001259      THE GORI LAW FIRM PC                                 IRZA                 DAVID                 IL         2018L001251      THE GORI LAW FIRM PC
HORN                 SHAWN                 IL         18L0226          THE GORI LAW FIRM PC                                 ISOM                 RICHARD J             IL         18L0498          THE GORI LAW FIRM PC
HORTON               CARL                  IL         19L0249          THE GORI LAW FIRM PC                                 IVEY                 DONNA                 IL         19L0407          THE GORI LAW FIRM PC
HORTON               DAVID                 IL         18L0217          THE GORI LAW FIRM PC                                 IVEY                 JOSEPH RANDOLPH       IL         19L0407          THE GORI LAW FIRM PC
HORTON               PAULA                 IL         18L0217          THE GORI LAW FIRM PC                                 IVY                  LUCINDA               IL         2017L000627      THE GORI LAW FIRM PC
HOSKINSON            CHRISTINE             MO         1422CC00220      THE GORI LAW FIRM PC                                 IVY                  ROBERT                IL         2017L000627      THE GORI LAW FIRM PC
HOSKINSON            RICHARD               MO         1422CC00220      THE GORI LAW FIRM PC                                 IZZILLO              ALZO                  IL         14L207           THE GORI LAW FIRM PC
HOST                 KAREN                 IL         2018L000620      THE GORI LAW FIRM PC                                 JACKSON              ARRA ILENE            IL         2018L001634      THE GORI LAW FIRM PC
HOTZ                 KENNETH WILLIAM       IL         2019L001703      THE GORI LAW FIRM PC                                 JACKSON              CORRINE ANN           IL         2015L001569      THE GORI LAW FIRM PC
HOUSTON              EMILY                 MO         1722CC10655      THE GORI LAW FIRM PC                                 JACKSON              ELVIS LADOYLE         IL         2018L001634      THE GORI LAW FIRM PC
HOUSTON              LAMAR                 IL         13L1902          THE GORI LAW FIRM PC                                 JACKSON              HOWARD                IL         2018L000318      THE GORI LAW FIRM PC
HOUSTON              WILMA                 IL         13L1902          THE GORI LAW FIRM PC                                 JACKSON              LENDON                IL         2019L001327      THE GORI LAW FIRM PC
HOWARD               ALAN S                IL         08L738           THE GORI LAW FIRM PC                                 JACKSON              LUKE LEE              IL         2015L001569      THE GORI LAW FIRM PC
HOWARD               CAROL                 IL         08L738           THE GORI LAW FIRM PC                                 JACKSON              MYRA                  IL         2019L001327      THE GORI LAW FIRM PC
HOWARD               DEBBIE                IL         2015L001530      THE GORI LAW FIRM PC                                 JACKSON              TIMMY LEE             IL         19L0174          THE GORI LAW FIRM PC
HOWARD               JOSEPH L              IL         2015L001530      THE GORI LAW FIRM PC                                 JACKSON              TIMMY LEE             MO         1922CC10845      THE GORI LAW FIRM PC
HOWARD               LARRY D               IL         18L0393          THE GORI LAW FIRM PC                                 JACKSON              TONIA                 MO         1922CC10757      THE GORI LAW FIRM PC
HOWE                 MICHAEL L             IL         18L0732          THE GORI LAW FIRM PC                                 JACOBS               CARRIE                MO         1522CC00808      THE GORI LAW FIRM PC
HOWE                 ROBBIE JO             IL         18L0732          THE GORI LAW FIRM PC                                 JACOBS               HENRY EUGENE          MO         0922CC00449      THE GORI LAW FIRM PC
HOWELL               CHERRY                IL         2019L000960      THE GORI LAW FIRM PC                                 JACOBS               JENNIFER              MO         1922CC00557      THE GORI LAW FIRM PC
HOWELL               ELIZABETH             IL         2017L000675      THE GORI LAW FIRM PC                                 JACOBS               SHIRLEY               MO         0922CC00449      THE GORI LAW FIRM PC
HOWELL               JAMES C               IL         2019L000960      THE GORI LAW FIRM PC                                 JACOBY               JEAN                  IL         2019L000154      THE GORI LAW FIRM PC
HOWELL               LARRY L               IL         2017L000554      THE GORI LAW FIRM PC                                 JACOBY               PETER                 IL         2019L000154      THE GORI LAW FIRM PC
HOWELL               REBA                  IL         2017L000554      THE GORI LAW FIRM PC                                 JAMES                BILLY RAY             IL         2017L001685      THE GORI LAW FIRM PC
HOWELL               WILLIE                IL         2017L000675      THE GORI LAW FIRM PC                                 JAMES                CLYDE                 IL         2015L001269      THE GORI LAW FIRM PC
HOWERTON             LESLIE                IL         2017L000305      THE GORI LAW FIRM PC                                 JAMES                HERSHEL               MO         1622CC09999      THE GORI LAW FIRM PC
HOWERTON             MICHAEL               IL         2017L000305      THE GORI LAW FIRM PC                                 JAMES                REGINALD              MO         1622CC10089      THE GORI LAW FIRM PC
HOWICZ               DAVID                 IL         18L0807          THE GORI LAW FIRM PC                                 JAMES                ROBERT EARL           MO         1622CC10089      THE GORI LAW FIRM PC
HOWICZ               MARY                  IL         18L0807          THE GORI LAW FIRM PC                                 JAMES-KIRK           DEBBIE                MO         1622CC09999      THE GORI LAW FIRM PC
HUDSON               MILLARD               IL         2015L000186      THE GORI LAW FIRM PC                                 JANSEN               KATHERINE             IL         2017L001555      THE GORI LAW FIRM PC
HUDSON               PERCELL               IL         19L0826          THE GORI LAW FIRM PC                                 JANSEN               MATTHEW JAMES         IL         2017L001555      THE GORI LAW FIRM PC
HUDSON               TERRY                 IL         2015L000186      THE GORI LAW FIRM PC                                 JANSEN               RENI                  IL         2017L000577      THE GORI LAW FIRM PC
HUERTA               JOSE ISABEL-GODINA    IL         2017L000616      THE GORI LAW FIRM PC                                 JAQUEZ               ISABEL                IL         2017L000736      THE GORI LAW FIRM PC
HUEY                 CRYSTAL J             IL         2017L001485      THE GORI LAW FIRM PC                                 JAQUEZ               JOSE                  IL         2017L000736      THE GORI LAW FIRM PC
HUEY                 JOHN TODD             IL         2017L001485      THE GORI LAW FIRM PC                                 JARRETT              LEE                   IL         19L0037          THE GORI LAW FIRM PC
HUFFMAN              SHIRLEY               MO         1622CC09756      THE GORI LAW FIRM PC                                 JARRETT              TOMMY                 IL         19L0037          THE GORI LAW FIRM PC
HUGGINS              CARLTON RAY           IL         2019L000318      THE GORI LAW FIRM PC                                 JEFFERS              VICTORIA              MO         1722CC00042      THE GORI LAW FIRM PC
HUGGINS              SUZETTE               IL         2019L000318      THE GORI LAW FIRM PC                                 JEFFERS              VICTORIA              IL         18L0535          THE GORI LAW FIRM PC
HUGHES               AZALENE               IL         19L0781          THE GORI LAW FIRM PC                                 JEFFS                CINDY                 IL         2016L000730      THE GORI LAW FIRM PC
HUGHES               DORIS J               IL         18L0533          THE GORI LAW FIRM PC                                 JEFFUS               BONNIE                IL         2018L000844      THE GORI LAW FIRM PC
HUGHES               MARK                  IL         19L0781          THE GORI LAW FIRM PC                                 JENKINS              ALVA                  IL         11L1005          THE GORI LAW FIRM PC
HUGHES               VERNON RAY            IL         18L0533          THE GORI LAW FIRM PC                                 JENKINS              DAWN                  MO         1622CC09887      THE GORI LAW FIRM PC
HUMPHREY             DEBORAH PAGE          IL         2015L000387      THE GORI LAW FIRM PC                                 JENKINS              DORIS                 IL         11L1005          THE GORI LAW FIRM PC
HUMPHREY             JOHNNIE CALVIN        IL         2015L000387      THE GORI LAW FIRM PC                                 JENKINS              ERIC M                IL         2016L000350      THE GORI LAW FIRM PC
HUNT                 LANCE                 IL         2018L000861      THE GORI LAW FIRM PC                                 JENKINS              LAWRENCE RAY          IL         18L0461          THE GORI LAW FIRM PC
HUNTER               MARY                  IL         2018L001736      THE GORI LAW FIRM PC                                 JENKINS              MARY I                IL         2016L000350      THE GORI LAW FIRM PC
HUNTER               RICHARD               IL         2018L001736      THE GORI LAW FIRM PC                                 JENKINS              MILTON                MO         1422CC00195      THE GORI LAW FIRM PC
HURD                 LAURA                 MO         1622CC00196      THE GORI LAW FIRM PC                                 JENKS                DAVID                 IL         2017L001401      THE GORI LAW FIRM PC
HURST                FERRIL DEAN           MO         1922CC00892      THE GORI LAW FIRM PC                                 JENKS                JANE                  IL         2017L001401      THE GORI LAW FIRM PC
HURT                 RUTHIE                IL         18L0723          THE GORI LAW FIRM PC                                 JIMENEZ              LOLA                  IL         19L0824          THE GORI LAW FIRM PC
HUSEMANN             ANTHONY J             IL         2018L000681      THE GORI LAW FIRM PC                                 JIMENEZ              ROBERT A              IL         19L0824          THE GORI LAW FIRM PC
HUSEMANN             LORETTA MARY          IL         2018L000681      THE GORI LAW FIRM PC                                 JIMERSON             HENRY WILLIS          IL         16L25            THE GORI LAW FIRM PC
HUSTED               CHAD C                IL         2016L000287      THE GORI LAW FIRM PC                                 JIMERSON             LOUIS                 IL         16L25            THE GORI LAW FIRM PC
HUSTED               ELIZABETH J           IL         2016L000287      THE GORI LAW FIRM PC                                 JOANNE               MASTRONIKOLAS         IL         2018L000096      THE GORI LAW FIRM PC
HUTCHISON            BONNIE                IL         2015L000337      THE GORI LAW FIRM PC                                 JOBE                 LILLIAN               IL         2019L001570      THE GORI LAW FIRM PC
HUTCHISON            HOWELL D              IL         2015L000337      THE GORI LAW FIRM PC                                 JOHNSON              ALBERT W              IL         18L0383          THE GORI LAW FIRM PC
HUXHOLD              NINA M                IL         2019L001461      THE GORI LAW FIRM PC                                 JOHNSON              ARTHUR                MO         1922CC03803      THE GORI LAW FIRM PC
HUXHOLD              RUSSELL               IL         2019L001461      THE GORI LAW FIRM PC                                 JOHNSON              BARBARA C             MO         1922CC07879      THE GORI LAW FIRM PC
HYATT                BARBARA               MO         1622CC10902      THE GORI LAW FIRM PC                                 JOHNSON              BECKY                 IL         2017L000633      THE GORI LAW FIRM PC
HYATT                LOIS                  IL         19L0143          THE GORI LAW FIRM PC                                 JOHNSON              BETTY                 IL         19L0148          THE GORI LAW FIRM PC
HYATT                MARLON                IL         19L0143          THE GORI LAW FIRM PC                                 JOHNSON              BOBBY P               IL         14L499           THE GORI LAW FIRM PC
HYATT                WAYNE                 MO         1622CC10902      THE GORI LAW FIRM PC                                 JOHNSON              CARL DANIEL           IL         19L0412          THE GORI LAW FIRM PC
IMPERIALE            EILEEN                MO         1622CC09610      THE GORI LAW FIRM PC                                 JOHNSON              CHRISTOPHER           MO         1622CC01082      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 712
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 47 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JOHNSON              CLIFTON               IL         2018L000904      THE GORI LAW FIRM PC                                 JONES-TAYLOR         CAROLYN               MO         1722CC00406      THE GORI LAW FIRM PC
JOHNSON              DEBRA                 IL         11L845           THE GORI LAW FIRM PC                                 JORDAN               ALFRED                IL         19L0309          THE GORI LAW FIRM PC
JOHNSON              EDNA                  IL         2018L000904      THE GORI LAW FIRM PC                                 JORDAN               EDDIE L               IL         18L0494          THE GORI LAW FIRM PC
JOHNSON              FREDETTA              IL         2016L000466      THE GORI LAW FIRM PC                                 JORDAN               FRANCIS MARY          IL         19L0309          THE GORI LAW FIRM PC
JOHNSON              GLENN K               MO         1922CC00860      THE GORI LAW FIRM PC                                 JORDAN               HARRY                 IL         2018L001480      THE GORI LAW FIRM PC
JOHNSON              GREEN W               MO         1622CC01082      THE GORI LAW FIRM PC                                 JORDAN               MARISKA               IL         18L0494          THE GORI LAW FIRM PC
JOHNSON              HALDINE               IL         2017L000699      THE GORI LAW FIRM PC                                 JORDEN               MICHAEL               IL         2017L001461      THE GORI LAW FIRM PC
JOHNSON              HOLLY                 MO         1922CC01774      THE GORI LAW FIRM PC                                 JORDEN               RENATE                IL         2017L001461      THE GORI LAW FIRM PC
JOHNSON              JERED                 IL         2017L001204      THE GORI LAW FIRM PC                                 JOSEPH               LINDA                 IL         2018L001557      THE GORI LAW FIRM PC
JOHNSON              JEREMY                MO         1722CC00525      THE GORI LAW FIRM PC                                 JOURDAIN             ROBERT                IL         11L264           THE GORI LAW FIRM PC
JOHNSON              JOHN A                IL         2017L000633      THE GORI LAW FIRM PC                                 JOURDAIN             SHARON                IL         11L264           THE GORI LAW FIRM PC
JOHNSON              JUANITA               MO         1622CC01268      THE GORI LAW FIRM PC                                 JROLF                BARBARA               IL         18L0486          THE GORI LAW FIRM PC
JOHNSON              LEROY                 IL         2016L000681      THE GORI LAW FIRM PC                                 JROLF                JAMES A               IL         18L0486          THE GORI LAW FIRM PC
JOHNSON              LORRAINE              IL         19L0412          THE GORI LAW FIRM PC                                 JUAREZ               JESUS                 IL         2016L001135      THE GORI LAW FIRM PC
JOHNSON              LYRA                  IL         2017L000699      THE GORI LAW FIRM PC                                 KAEBERLEIN           PATRICIA              IL         14L572           THE GORI LAW FIRM PC
JOHNSON              MARIE                 IL         2014L000978      THE GORI LAW FIRM PC                                 KAEBERLEIN           ROGER                 IL         14L572           THE GORI LAW FIRM PC
JOHNSON              MARTHA                MO         1922CC00860      THE GORI LAW FIRM PC                                 KAESER               NELDA RAE             MO         1822CC01780      THE GORI LAW FIRM PC
JOHNSON              MAZETTA               MO         1822CC10536      THE GORI LAW FIRM PC                                 KAESER               RICHARD               MO         1822CC01780      THE GORI LAW FIRM PC
JOHNSON              NITA S                IL         2015L000835      THE GORI LAW FIRM PC                                 KAHN                 BAIBA                 IL         2019L001419      THE GORI LAW FIRM PC
JOHNSON              OPAL                  IL         18L0532          THE GORI LAW FIRM PC                                 KAHN                 DONALD                IL         2019L001419      THE GORI LAW FIRM PC
JOHNSON              PATRICIA              MO         1622CC01082      THE GORI LAW FIRM PC                                 KAISER               DONNA                 IL         2016L001527      THE GORI LAW FIRM PC
JOHNSON              PATRICK               MO         1622CC01082      THE GORI LAW FIRM PC                                 KAISER               KEN                   IL         2016L001527      THE GORI LAW FIRM PC
JOHNSON              PERRY L               IL         11L845           THE GORI LAW FIRM PC                                 KALISZ               BETTY                 IL         2018L000325      THE GORI LAW FIRM PC
JOHNSON              RALPH                 IL         19L0148          THE GORI LAW FIRM PC                                 KALISZ               FRANK JOSEPH          IL         2018L000325      THE GORI LAW FIRM PC
JOHNSON              RAYMOND DAVID         MO         1522CC00162      THE GORI LAW FIRM PC                                 KANOUS               GLORIA                IL         2019L000333      THE GORI LAW FIRM PC
JOHNSON              RENAE                 MO         1922CC03803      THE GORI LAW FIRM PC                                 KANOUS               GORDON                IL         2019L000333      THE GORI LAW FIRM PC
JOHNSON              ROBERT LEWIS          MO         1622CC01268      THE GORI LAW FIRM PC                                 KAPLAN               MICHAEL               IL         2018L000991      THE GORI LAW FIRM PC
JOHNSON              RONNIE                MO         1722CC00525      THE GORI LAW FIRM PC                                 KAPLAN               TERESA                IL         2018L000991      THE GORI LAW FIRM PC
JOHNSON              RONNIE L              MO         1722CC00525      THE GORI LAW FIRM PC                                 KAPPAUF              ELIZABETH             IL         13L1950          THE GORI LAW FIRM PC
JOHNSON              ROSE                  MO         1722CC00525      THE GORI LAW FIRM PC                                 KAPPAUF              THOMAS                IL         13L1950          THE GORI LAW FIRM PC
JOHNSON              SAKARRI               MO         1622CC01082      THE GORI LAW FIRM PC                                 KARA                 ROBYN                 IL         2016L000730      THE GORI LAW FIRM PC
JOHNSON              SANDRA                IL         19L0380          THE GORI LAW FIRM PC                                 KARAKAS              AHMET                 IL         2018L001371      THE GORI LAW FIRM PC
JOHNSON              SHARON                MO         1622CC01268      THE GORI LAW FIRM PC                                 KARAKAS              ZYBEYDE               IL         2018L001371      THE GORI LAW FIRM PC
JOHNSON              SHAWN                 MO         1722CC00525      THE GORI LAW FIRM PC                                 KEARNS               KAREN                 IL         19L0334          THE GORI LAW FIRM PC
JOHNSON              SHERRI                IL         2015L000547      THE GORI LAW FIRM PC                                 KEARNS               LYNN K                IL         19L0334          THE GORI LAW FIRM PC
JOHNSON              SHIRLEY REE           MO         1922CC03803      THE GORI LAW FIRM PC                                 KEATHLEY             BARBARA               MO         1622CC09685      THE GORI LAW FIRM PC
JOHNSON              STEPHANIE             MO         1522CC10925      THE GORI LAW FIRM PC                                 KEATHLEY             CHERYL                MO         1622CC09685      THE GORI LAW FIRM PC
JOHNSON              STEPHEN P             IL         19L0380          THE GORI LAW FIRM PC                                 KEATHLEY             GAREY DALE            MO         1622CC09685      THE GORI LAW FIRM PC
JOHNSON              THOMAS A              MO         1922CC07879      THE GORI LAW FIRM PC                                 KEECH                ELAINE MARIE          IL         2017L001598      THE GORI LAW FIRM PC
JOHNSON              VERNELL               MO         1922CC03803      THE GORI LAW FIRM PC                                 KEELEY               GLORIA                IL         19L0086          THE GORI LAW FIRM PC
JOHNSON              VIOLET                MO         1522CC00162      THE GORI LAW FIRM PC                                 KEELEY               MICHAEL JOHN          IL         19L0086          THE GORI LAW FIRM PC
JOHNSON              VOILET BRIMER         MO         1522CC00162      THE GORI LAW FIRM PC                                 KEENER               BILLY                 IL         2017L000712      THE GORI LAW FIRM PC
JOHNSON              WAYNE R               IL         2014L000978      THE GORI LAW FIRM PC                                 KEENER               DEBORAH               IL         2017L000712      THE GORI LAW FIRM PC
JOHNSON              WILDA M               IL         14L499           THE GORI LAW FIRM PC                                 KEENER               GEORGANN              IL         18L0771          THE GORI LAW FIRM PC
JOHNSON              WILLIAM R             IL         18L0532          THE GORI LAW FIRM PC                                 KEENER               RICHARD               IL         18L0771          THE GORI LAW FIRM PC
JONES                ALFRED E              IL         16L197           THE GORI LAW FIRM PC                                 KEISER               DOUGLAS               MO         1622CC00204      THE GORI LAW FIRM PC
JONES                CALVIN L              MO         1722CC00406      THE GORI LAW FIRM PC                                 KEITH                BARBARA               IL         18L0778          THE GORI LAW FIRM PC
JONES                CECELIA               IL         2019L000153      THE GORI LAW FIRM PC                                 KEITH                FREEDA                MO         1622CC10443      THE GORI LAW FIRM PC
JONES                CHARRLETTE            IL         16L197           THE GORI LAW FIRM PC                                 KEITH                WILTON                MO         1622CC10443      THE GORI LAW FIRM PC
JONES                CINDY                 IL         2017L000117      THE GORI LAW FIRM PC                                 KELLEY               CHARLES LEE           CA         RG19028129       THE GORI LAW FIRM PC
JONES                CORINNE               IL         13L1491          THE GORI LAW FIRM PC                                 KELLEY               DANIEL                MO         1922CC10933      THE GORI LAW FIRM PC
JONES                DONALD R              IL         2017L000405      THE GORI LAW FIRM PC                                 KELLEY               DAVID JAMES           MO         1922CC10933      THE GORI LAW FIRM PC
JONES                DURWOOD               IL         19L0557          THE GORI LAW FIRM PC                                 KELLEY               THERESA L             MO         1922CC10933      THE GORI LAW FIRM PC
JONES                GORDON EDWARD         IL         19L0398          THE GORI LAW FIRM PC                                 KELLY                CLINTON T             IL         2019L000677      THE GORI LAW FIRM PC
JONES                HILLMAN C             IL         2015L001354      THE GORI LAW FIRM PC                                 KELLY                ERIC J                IL         2019L000908      THE GORI LAW FIRM PC
JONES                JIMMY W               IL         19L0357          THE GORI LAW FIRM PC                                 KELLY                EVELYN                IL         2019L000677      THE GORI LAW FIRM PC
JONES                JOHN D                IL         18L70            THE GORI LAW FIRM PC                                 KELLY                LISA                  IL         2019L000908      THE GORI LAW FIRM PC
JONES                JOSEPH R              IL         2015L000272      THE GORI LAW FIRM PC                                 KEMP                 DONALD                IL         2019L000411      THE GORI LAW FIRM PC
JONES                JOYCE                 IL         19L0357          THE GORI LAW FIRM PC                                 KENNARD              EULA                  IL         10L495           THE GORI LAW FIRM PC
JONES                LAURAN A              IL         13L1491          THE GORI LAW FIRM PC                                 KENNARD              LOVELL                IL         10L495           THE GORI LAW FIRM PC
JONES                LEE ANNE              IL         19L0332          THE GORI LAW FIRM PC                                 KENNEBREW            GREGORY               MO         1622CC00724      THE GORI LAW FIRM PC
JONES                LINDA                 IL         19L0557          THE GORI LAW FIRM PC                                 KENNEBREW            JAMES                 MO         1622CC00724      THE GORI LAW FIRM PC
JONES                LUCILLE T             IL         2015L001354      THE GORI LAW FIRM PC                                 KENNEDY              PATSY                 IL         2017L000538      THE GORI LAW FIRM PC
JONES                MICHELLE              MO         1722CC01316      THE GORI LAW FIRM PC                                 KENNEDY              STEVEN                IL         2017L000538      THE GORI LAW FIRM PC
JONES                NANCY SIBERT          IL         19L0398          THE GORI LAW FIRM PC                                 KENNERSON            COLQUITT              MO         1622CC09684      THE GORI LAW FIRM PC
JONES                PAMELA                IL         2017L000405      THE GORI LAW FIRM PC                                 KENNERSON            MARY                  MO         1622CC09684      THE GORI LAW FIRM PC
JONES                RANDY                 IL         19L0332          THE GORI LAW FIRM PC                                 KENNY                JOSEPH                IL         2015L000891      THE GORI LAW FIRM PC
JONES                ROBIN                 IL         18L70            THE GORI LAW FIRM PC                                 KENNY                KAREN                 IL         2015L000891      THE GORI LAW FIRM PC
JONES                THOMAS                IL         2019L000153      THE GORI LAW FIRM PC                                 KERN                 JANA                  IL         2019L000259      THE GORI LAW FIRM PC
JONES                THOMAS ROOSEVELT      IL         18L0348          THE GORI LAW FIRM PC                                 KERVIN               BERTHA                LA         201702093        THE GORI LAW FIRM PC
JONES                VANNIE LEE            IL         2015L000272      THE GORI LAW FIRM PC                                 KERVIN               BILLY                 LA         201702093        THE GORI LAW FIRM PC




                                                                                                            Appendix A - 713
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 48 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KESKE                ARTHUR                IL         2014L000410      THE GORI LAW FIRM PC                                 KUBINA               ROSEMARY A            IL         2015L000987      THE GORI LAW FIRM PC
KESSLER              BETTY                 MO         1622CC10057      THE GORI LAW FIRM PC                                 KUCHAR               DONNA M               IL         2018L000043      THE GORI LAW FIRM PC
KESSLER              LARRY                 MO         1622CC10057      THE GORI LAW FIRM PC                                 KUCHAR               WILLARD JOSEPH        IL         2018L000043      THE GORI LAW FIRM PC
KETCHERSIDE          JENNIFER              MO         1722CC00810      THE GORI LAW FIRM PC                                 KUHNHOFF             HOPE                  MO         1922CC00843      THE GORI LAW FIRM PC
KEYSER               DAVID                 MO         1622CC00204      THE GORI LAW FIRM PC                                 KUHNHOFF             WILLIAM               MO         1922CC00843      THE GORI LAW FIRM PC
KEYSER               ROBERT FREMONT        MO         1622CC00204      THE GORI LAW FIRM PC                                 KUNES                BERNARD               MO         1622CC00745      THE GORI LAW FIRM PC
KEYSER THATCHER      NANCY                 MO         1622CC00204      THE GORI LAW FIRM PC                                 KUNES                BERNARD JOSEPH        MO         1622CC00745      THE GORI LAW FIRM PC
KIEFER               GEORGE H              IL         18L0341          THE GORI LAW FIRM PC                                 KUNKEL               CHARLES               IL         2015L001677      THE GORI LAW FIRM PC
KIERNAN              MARY T                IL         2018L001689      THE GORI LAW FIRM PC                                 KUNKEL               MARY                  IL         2015L001677      THE GORI LAW FIRM PC
KIERNAN              RICHARD M             IL         2018L001689      THE GORI LAW FIRM PC                                 KURTZ                SCOTT                 MO         1622CC01257      THE GORI LAW FIRM PC
KIM                  JAE                   IL         2018L000803      THE GORI LAW FIRM PC                                 KUZMICK              JOHN                  IL         19L0272          THE GORI LAW FIRM PC
KIM                  MYUNG                 IL         2018L000803      THE GORI LAW FIRM PC                                 KUZMICK              ROSE M                IL         19L0272          THE GORI LAW FIRM PC
KIMBRELL             BRITNY                IL         2016L001361      THE GORI LAW FIRM PC                                 LAAS                 WILLIAM R             IL         18L0297          THE GORI LAW FIRM PC
KING                 BRADLEY E             IL         18L0813          THE GORI LAW FIRM PC                                 LABELLE              JEFFREY               IL         2018L001741      THE GORI LAW FIRM PC
KING                 DONALD F              CA         18STCV08800      THE GORI LAW FIRM PC                                 LABELLE              SCOTT JEFFREY         IL         2018L001741      THE GORI LAW FIRM PC
KING                 JEREMY                IL         2017L001127      THE GORI LAW FIRM PC                                 LAFEVER              DEBORAH               IL         2019L001025      THE GORI LAW FIRM PC
KING                 JOHN H                DE         N18C02155ASB     THE GORI LAW FIRM PC                                 LAFEVER              HENRY W               IL         2019L001025      THE GORI LAW FIRM PC
KING                 JUNE J                CA         18STCV08800      THE GORI LAW FIRM PC                                 LAFOLLETTE           JACKIE L              IL         2017L001652      THE GORI LAW FIRM PC
KING                 MARGIE                IL         18L0813          THE GORI LAW FIRM PC                                 LAGERWEY             JOYCE                 IL         2018L000028      THE GORI LAW FIRM PC
KING                 SALLY                 IL         2017L001127      THE GORI LAW FIRM PC                                 LAI                  HUEY KYU              IL         2019L001421      THE GORI LAW FIRM PC
KING                 SANDY                 DE         N18C02155ASB     THE GORI LAW FIRM PC                                 LAINEZ               MARCO IVAN            IL         2019L000651      THE GORI LAW FIRM PC
KINGREE              BEN                   IL         2019L001034      THE GORI LAW FIRM PC                                 LAINEZ PONTICAS      ELIANA                IL         2019L000651      THE GORI LAW FIRM PC
KINGREE              KIMBERLEY             IL         2019L001034      THE GORI LAW FIRM PC                                 LALLI                CHRISTOPHER           IL         2018L000852      THE GORI LAW FIRM PC
KINSEY               MARCIA                IL         19L0316          THE GORI LAW FIRM PC                                 LALLI                CHRISTOPHER           MO         1822CC11334      THE GORI LAW FIRM PC
KINSEY               ROBERT                IL         19L0316          THE GORI LAW FIRM PC                                 LALLI                LINDA L               IL         2018L000852      THE GORI LAW FIRM PC
KIRBY                DENISE                IL         19L0393          THE GORI LAW FIRM PC                                 LALLI                LINDA L               MO         1822CC11334      THE GORI LAW FIRM PC
KIRBY                KENNETH               IL         19L0393          THE GORI LAW FIRM PC                                 LALLI                MICHAEL               IL         2018L000852      THE GORI LAW FIRM PC
KIRCH                FLORENCE              MO         1622CC04110      THE GORI LAW FIRM PC                                 LALLI                MICHAEL               MO         1822CC11334      THE GORI LAW FIRM PC
KIRKMA               MELISSA               MO         1722CC11425      THE GORI LAW FIRM PC                                 LALLI                RONALD P              IL         2018L000852      THE GORI LAW FIRM PC
KIRKPATRICK          CATHERINE             MO         1722CC00478      THE GORI LAW FIRM PC                                 LALLI                RONALD P              MO         1822CC11334      THE GORI LAW FIRM PC
KIRKPATRICK          MICHAEL T             MO         1722CC00478      THE GORI LAW FIRM PC                                 LAMOND               DANIELLE              IL         2017L000183      THE GORI LAW FIRM PC
KIRSHBERGER          FERDINAND             IL         2019L000010      THE GORI LAW FIRM PC                                 LAMOND               GREGORY               IL         2017L000183      THE GORI LAW FIRM PC
KIRSHBERGER          MARILYN               IL         2019L000010      THE GORI LAW FIRM PC                                 LAMONTAGNE           MICHAEL N             IL         15L516           THE GORI LAW FIRM PC
KISE                 MAYNARD E             IL         18L0640          THE GORI LAW FIRM PC                                 LAMPERT              CHRISTINA             MO         1922CC10933      THE GORI LAW FIRM PC
KLAPAK               JAMES                 NY         1900972018       THE GORI LAW FIRM PC                                 LAMPERT              GLENN                 MO         1922CC10933      THE GORI LAW FIRM PC
KLAVER               NANCY                 IL         2018L001738      THE GORI LAW FIRM PC                                 LANCE                LOUIS                 IL         11L774           THE GORI LAW FIRM PC
KLAVER               RICHARD               IL         2018L001738      THE GORI LAW FIRM PC                                 LANCE                SHERRY                IL         11L774           THE GORI LAW FIRM PC
KLETSCHKA            RICKY                 IL         18L67            THE GORI LAW FIRM PC                                 LANDRETH             JOSEPH                MO         1722CC00581      THE GORI LAW FIRM PC
KLETSCHKA            THERESA               IL         18L67            THE GORI LAW FIRM PC                                 LANDRETH             SARAH ELVIRA          MO         1722CC00581      THE GORI LAW FIRM PC
KLIEN                RHONDA                LA         201607194        THE GORI LAW FIRM PC                                 LANE                 CARLA                 MO         1722CC00672      THE GORI LAW FIRM PC
KLINE                ELIZABETH             IL         18L0386          THE GORI LAW FIRM PC                                 LANE                 FRANK                 IL         2017L000504      THE GORI LAW FIRM PC
KLINE                PHILLIP               IL         18L0386          THE GORI LAW FIRM PC                                 LANE                 JAMES E               IL         2015L001448      THE GORI LAW FIRM PC
KLUEG                CARL J                IL         2016L000471      THE GORI LAW FIRM PC                                 LANE                 YVONNE                IL         19L0832          THE GORI LAW FIRM PC
KNIPPERS             DOUGLAS EDWIN         IL         19L0632          THE GORI LAW FIRM PC                                 LANG                 RICHARD PAUL          IL         04L578           THE GORI LAW FIRM PC
KNIPPERS             WARREN                IL         19L0632          THE GORI LAW FIRM PC                                 LANGLEY              ALLEN DALE            IL         16L39            THE GORI LAW FIRM PC
KNOCHE               JAMES R               IL         14L509           THE GORI LAW FIRM PC                                 LANGLEY              CHARLES LOUIS         IL         2016L000911      THE GORI LAW FIRM PC
KNOCHE               JEAN E                IL         14L509           THE GORI LAW FIRM PC                                 LANGLEY              JEANNIE               IL         16L39            THE GORI LAW FIRM PC
KNUPPE               KEITH JAMES           IL         2017L000714      THE GORI LAW FIRM PC                                 LANGLEY              PATRICIA              IL         2016L000911      THE GORI LAW FIRM PC
KNUPPE               MARY                  IL         2017L000714      THE GORI LAW FIRM PC                                 LANPHEAR             STEPHEN               IL         2017L000960      THE GORI LAW FIRM PC
KNUTH                BENITA                IL         2017L000859      THE GORI LAW FIRM PC                                 LANTZ                CARL                  IL         2019L000845      THE GORI LAW FIRM PC
KNUTH                FREDERICK             IL         2017L000859      THE GORI LAW FIRM PC                                 LANTZ                MARY                  IL         2019L000845      THE GORI LAW FIRM PC
KOCH                 JACK L                MO         1222CC00362      THE GORI LAW FIRM PC                                 LAPLANTE             BARBARA SUE           IL         2015L000957      THE GORI LAW FIRM PC
KOCH                 SARA H                MO         1222CC00362      THE GORI LAW FIRM PC                                 LAPLANTE-BURNS       CANDACE               IL         2015L000957      THE GORI LAW FIRM PC
KOHLMANN             OLIVIA M              IL         2016L000147      THE GORI LAW FIRM PC                                 LAPO                 MISTIANN F            MO         1422CC10153      THE GORI LAW FIRM PC
KOLOGY               BRADEN S              MO         1922CC00825      THE GORI LAW FIRM PC                                 LAPOINTE             HARVEY                IL         2017L000606      THE GORI LAW FIRM PC
KOOPMAN              ELMER CHARLES         IL         12L77            THE GORI LAW FIRM PC                                 LAPOINTE             VALERIE               IL         2017L000606      THE GORI LAW FIRM PC
KOOPMAN              SHELBY JEAN           IL         12L77            THE GORI LAW FIRM PC                                 LARDINAIS            RICHARD               IL         2016L000650      THE GORI LAW FIRM PC
KOPP                 MARCI                 IL         2018L000412      THE GORI LAW FIRM PC                                 LARDINAIS            SHIRLEY               IL         2016L000650      THE GORI LAW FIRM PC
KOSMIDES             SUSAN                 MO         1822CC11901      THE GORI LAW FIRM PC                                 LARIVIERE            STEPHANIE             IL         18L0159          THE GORI LAW FIRM PC
KOTLYAR              ISAAK                 IL         2018L000510      THE GORI LAW FIRM PC                                 LASLEY               OWEN F                IL         18L0343          THE GORI LAW FIRM PC
KOTLYAR              MARA                  IL         2018L000510      THE GORI LAW FIRM PC                                 LATADA               TERESITA              IL         2018L000309      THE GORI LAW FIRM PC
KOVAR                ADOLPH J              IL         2019L000792      THE GORI LAW FIRM PC                                 LATADA               VICENTE               IL         2018L000309      THE GORI LAW FIRM PC
KOWALSKA             LUCYNA                IL         2017L000963      THE GORI LAW FIRM PC                                 LATHAM               WILLIAM KEN           IL         2016L000785      THE GORI LAW FIRM PC
KOWALSKI             RICHARD               IL         2018L001747      THE GORI LAW FIRM PC                                 LATORRE              JOSEPH L              IL         2016L001402      THE GORI LAW FIRM PC
KOWALSKI             SUSAN                 IL         2018L001747      THE GORI LAW FIRM PC                                 LATORRE              VIOLET IV             IL         2016L001402      THE GORI LAW FIRM PC
KOZAKIEWICZ          CHARLENE C            MO         1622CC11416      THE GORI LAW FIRM PC                                 LAVIGNE              VINCENT               LA         20172132         THE GORI LAW FIRM PC
KOZAKIEWICZ          GREGORY R             MO         1622CC11416      THE GORI LAW FIRM PC                                 LAW                  ROSEMARY              MO         1722CC01748      THE GORI LAW FIRM PC
KRALOVETZ            PETER J               IL         2015L001065      THE GORI LAW FIRM PC                                 LAWLER               BARBARA               IL         2018L001034      THE GORI LAW FIRM PC
KRALOVETZ            VICKI L               IL         2015L001065      THE GORI LAW FIRM PC                                 LAWLER               LYNDON                IL         2018L001034      THE GORI LAW FIRM PC
KRAUS                JOHN                  MO         1922CC00222      THE GORI LAW FIRM PC                                 LAWREY               RICHARD C             IL         19L0607          THE GORI LAW FIRM PC
KRAUS                SHEILA                MO         1922CC00222      THE GORI LAW FIRM PC                                 LAWSON               RANDALL               MO         1722CC00134      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 714
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                       Complaint-Part 2 Page 49 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

LEACH                WILLIAM B             MO         1922CC12150      THE GORI LAW FIRM PC                                 LLOYD                JAMES                  IL         2017L000561      THE GORI LAW FIRM PC
LEACH                WILLIAM DUANE         MO         1922CC12150      THE GORI LAW FIRM PC                                 LOCK                 TONIA J                IL         18L0280          THE GORI LAW FIRM PC
LEAGUE               DELBERTA RAE          IL         12L248           THE GORI LAW FIRM PC                                 LOCK                 WILLIAM E              IL         18L0280          THE GORI LAW FIRM PC
LEAGUE               STEVEN CLARK          IL         12L248           THE GORI LAW FIRM PC                                 LOCKE                BENJAMIN               IL         2019L000180      THE GORI LAW FIRM PC
LEAMONS              DOROTHY               IL         12L352           THE GORI LAW FIRM PC                                 LOCKE                BRANDON E              IL         2014L001382      THE GORI LAW FIRM PC
LEAMONS              HERMAN                IL         12L352           THE GORI LAW FIRM PC                                 LOCKE                DANA                   IL         2019L000180      THE GORI LAW FIRM PC
LEBO                 LYNN                  IL         2017L000953      THE GORI LAW FIRM PC                                 LOCKE                ELIZABETH              IL         2014L001382      THE GORI LAW FIRM PC
LEBO                 ROY                   IL         2017L000953      THE GORI LAW FIRM PC                                 LOCKE                LOU-ELIZABETH HARRIS   IL         2014L001382      THE GORI LAW FIRM PC
LECOMTE              FRANK STANLEY         IL         2019L001622      THE GORI LAW FIRM PC                                 LOCKE MASON          CHERYL ANN             IL         2014L001382      THE GORI LAW FIRM PC
LECOMTE              REBECCA J             IL         2019L001622      THE GORI LAW FIRM PC                                 LOCKENVITZ           MELVA SUE              IL         2019L000949      THE GORI LAW FIRM PC
LEDEZMA              ADRIAN                IL         2019L000403      THE GORI LAW FIRM PC                                 LOCKLER              JOHN D                 IL         14L646           THE GORI LAW FIRM PC
LEDLOW               DEBORAH KAY           IL         19L0860          THE GORI LAW FIRM PC                                 LOEFFELHOLZ          CHARLES                IL         2017L000177      THE GORI LAW FIRM PC
LEDLOW               WAYNE                 IL         19L0860          THE GORI LAW FIRM PC                                 LOEFFELHOLZ          GLORIA                 IL         2017L000177      THE GORI LAW FIRM PC
LEE                  DANIEL                IL         12L1674          THE GORI LAW FIRM PC                                 LOESSER              ARTHUR JOHN            IL         2017L001049      THE GORI LAW FIRM PC
LEE                  MAE M                 IL         12L1674          THE GORI LAW FIRM PC                                 LOEWEN               GERHARD                IL         2016L000281      THE GORI LAW FIRM PC
LEECH                MARGARET A            MO         1822CC11783      THE GORI LAW FIRM PC                                 LOEWEN               KATHARINA              IL         2016L000281      THE GORI LAW FIRM PC
LEECH                SARAH                 MO         1822CC11783      THE GORI LAW FIRM PC                                 LOFARO               STEPHEN                IL         19L0360          THE GORI LAW FIRM PC
LEECH                THOMAS                MO         1822CC11783      THE GORI LAW FIRM PC                                 LOFTON               MANUEL                 IL         12L419           THE GORI LAW FIRM PC
LEECH                WILLIAM D             MO         1822CC11783      THE GORI LAW FIRM PC                                 LOFTON               MARY ANN               IL         12L419           THE GORI LAW FIRM PC
LELEUX               BETTY                 MO         1822CC10571      THE GORI LAW FIRM PC                                 LOFTUS               STEVEN                 IL         19L0853          THE GORI LAW FIRM PC
LELEUX               WINFRED               MO         1822CC10571      THE GORI LAW FIRM PC                                 LOGAN                ELBERT L               IL         14L795           THE GORI LAW FIRM PC
LEON                 LEONIDAS L            MO         1422CC09545      THE GORI LAW FIRM PC                                 LOGAN                PAULETT                IL         14L795           THE GORI LAW FIRM PC
LEONARD              CHARLES               MO         1722CC01316      THE GORI LAW FIRM PC                                 LOGRONO              EMILIO                 IL         2018L001425      THE GORI LAW FIRM PC
LEONARD              MICHAEL ALAN          IL         2016L000337      THE GORI LAW FIRM PC                                 LOGRONO              MIGUEL                 IL         2018L001425      THE GORI LAW FIRM PC
LEONARD              VERLA                 IL         2016L000337      THE GORI LAW FIRM PC                                 LOHREY               DONNA                  IL         2016L001726      THE GORI LAW FIRM PC
LERNER               JO M                  IL         2015L001253      THE GORI LAW FIRM PC                                 LOHREY               MARK                   IL         2016L001726      THE GORI LAW FIRM PC
LERNER               LEA J                 IL         2015L001253      THE GORI LAW FIRM PC                                 LOIBL                CAROL                  IL         2017L001380      THE GORI LAW FIRM PC
LESLEY               TOMMY                 IL         2017L000630      THE GORI LAW FIRM PC                                 LONG                 ASHLEY                 IL         2019L000598      THE GORI LAW FIRM PC
LESTER               EDWARD                IL         2016L001326      THE GORI LAW FIRM PC                                 LONG                 RONALD R               IL         2017L000662      THE GORI LAW FIRM PC
LESTER               LAURA                 IL         2016L001326      THE GORI LAW FIRM PC                                 LONG                 SUE B                  IL         2017L000662      THE GORI LAW FIRM PC
LETOURNEAU           ALFRED MICHAEL        IL         2017L000456      THE GORI LAW FIRM PC                                 LONSKI               BENJAMIN               IL         2019L000343      THE GORI LAW FIRM PC
LETOURNEAU           DOLORES               IL         2017L000456      THE GORI LAW FIRM PC                                 LONSKI               NYLEEN                 IL         2019L000343      THE GORI LAW FIRM PC
LEVY                 TAMMY S               IL         2019L000567      THE GORI LAW FIRM PC                                 LOOMIS               JOHN                   IL         18L0358          THE GORI LAW FIRM PC
LEWALLEN             CARRON                IL         2019L000409      THE GORI LAW FIRM PC                                 LOPEZ                AGUSTIN CERVANTES      IL         2015L001466      THE GORI LAW FIRM PC
LEWALLEN             WILLIAM J             IL         2019L000409      THE GORI LAW FIRM PC                                 LOPEZ                ELVIRA                 IL         2015L001466      THE GORI LAW FIRM PC
LEWANDOWSKI          ALICE                 IL         12L899           THE GORI LAW FIRM PC                                 LOPEZ-COVARRUBIAS    BLANCA ESTELLA         IL         2017L000616      THE GORI LAW FIRM PC
LEWANDOWSKI          NORBERT J             IL         12L899           THE GORI LAW FIRM PC                                 LORD                 EVELYN                 IL         2018L000847      THE GORI LAW FIRM PC
LEWIS                ANITA M               IL         19L0156          THE GORI LAW FIRM PC                                 LORD                 PETER                  IL         2018L000847      THE GORI LAW FIRM PC
LEWIS                BOBBIE                IL         10L491           THE GORI LAW FIRM PC                                 LORENZO              RICHARD                MO         1922CC00138      THE GORI LAW FIRM PC
LEWIS                BRENDA                IL         2016L000514      THE GORI LAW FIRM PC                                 LORENZO              VALERIE                MO         1922CC00138      THE GORI LAW FIRM PC
LEWIS                CHARLES               IL         10L491           THE GORI LAW FIRM PC                                 LORETTO              ADELINA                IL         2017L000609      THE GORI LAW FIRM PC
LEWIS                DONALD W              IL         2019L000063      THE GORI LAW FIRM PC                                 LORETTO              EZEQUIEL G             IL         2017L000609      THE GORI LAW FIRM PC
LEWIS                FRANCINE              IL         2016L000664      THE GORI LAW FIRM PC                                 LORICA               MINDA                  IL         18L0339          THE GORI LAW FIRM PC
LEWIS                JEARLD L              IL         2017L000650      THE GORI LAW FIRM PC                                 LORICA               ROMEO                  IL         18L0339          THE GORI LAW FIRM PC
LEWIS                LORENA                IL         2017L000650      THE GORI LAW FIRM PC                                 LOTHSCHUTZ           KARL A                 IL         13L1245          THE GORI LAW FIRM PC
LEWIS                MCGHEE                IL         2016L000514      THE GORI LAW FIRM PC                                 LOTHSCHUTZ           MARJORIE MOHNKE        IL         13L1245          THE GORI LAW FIRM PC
LEWIS                NOREAN                IL         2019L000063      THE GORI LAW FIRM PC                                 LOUD                 JACK ALTON             IL         2017L000504      THE GORI LAW FIRM PC
LEWIS                RAYMOND               IL         2018L000307      THE GORI LAW FIRM PC                                 LOUD                 JEFFREY                IL         2017L000504      THE GORI LAW FIRM PC
LEWIS                SYLVIA MARIE          IL         2015L001565      THE GORI LAW FIRM PC                                 LOUIS                JEANETTE               IL         19L0129          THE GORI LAW FIRM PC
LEWIS                VERONICA              IL         2018L000307      THE GORI LAW FIRM PC                                 LOUIS                WALLACE JOSEPH         IL         19L0129          THE GORI LAW FIRM PC
LEWOC                CONSTANCE A           IL         2019L000747      THE GORI LAW FIRM PC                                 LOVE                 DAVID WAYNE            IL         2016L000019      THE GORI LAW FIRM PC
LIEBERMAN            MOSES                 IL         2016L001347      THE GORI LAW FIRM PC                                 LOVE                 GEORGE                 MO         1622CC11609      THE GORI LAW FIRM PC
LIEBERMAN            SIMA                  IL         2016L001347      THE GORI LAW FIRM PC                                 LOVE                 JUNE                   MO         1622CC11609      THE GORI LAW FIRM PC
LIEDTKE              PENELOPE              IL         2017L001553      THE GORI LAW FIRM PC                                 LOVE                 RUSS                   MO         1622CC11609      THE GORI LAW FIRM PC
LIND                 DAVID                 IL         11L631           THE GORI LAW FIRM PC                                 LOVE                 VIVIAN                 MO         1622CC11609      THE GORI LAW FIRM PC
LIND                 SUSAN                 IL         11L631           THE GORI LAW FIRM PC                                 LOVELACE             BARBARA                MO         1622CC10537      THE GORI LAW FIRM PC
LINDER               MARIE                 IL         2017L000307      THE GORI LAW FIRM PC                                 LOVELACE             EMMIE                  IL         19L0174          THE GORI LAW FIRM PC
LINLEY               EVERETT               MO         1622CC10845      THE GORI LAW FIRM PC                                 LOVELACE             EMMIE                  MO         1922CC10845      THE GORI LAW FIRM PC
LINSTROM             ARLENE                IL         2018L001210      THE GORI LAW FIRM PC                                 LOVELACE             RAY                    MO         1622CC10537      THE GORI LAW FIRM PC
LINSTROM             DAVID MAX             IL         2018L001210      THE GORI LAW FIRM PC                                 LOWDER               ROLLAND KEITH          IL         2019L000361      THE GORI LAW FIRM PC
LIPPOLD              LISA MICHELLE         IL         13L558           THE GORI LAW FIRM PC                                 LOWE                 BRENDA                 IL         2017L000632      THE GORI LAW FIRM PC
LIPPOLD              THOMAS W              IL         13L558           THE GORI LAW FIRM PC                                 LOWE                 DALLAS                 IL         2017L000632      THE GORI LAW FIRM PC
LIST                 ROBERT L              IL         19L0843          THE GORI LAW FIRM PC                                 LOWERY               DOYLE                  IL         18L0451          THE GORI LAW FIRM PC
LIST                 SHARON A              IL         19L0843          THE GORI LAW FIRM PC                                 LOWERY               NORMA                  IL         18L0451          THE GORI LAW FIRM PC
LISTER               EDWARD                MO         1722CC10942      THE GORI LAW FIRM PC                                 LOWRY                CHRISTINA              IL         2019L000962      THE GORI LAW FIRM PC
LISTER               LOIS                  MO         1722CC10942      THE GORI LAW FIRM PC                                 LOWRY                MACKENZIE L            IL         2019L000962      THE GORI LAW FIRM PC
LITTRELL             SHARON                IL         2018L000466      THE GORI LAW FIRM PC                                 LOYD                 HOLLY                  IL         18L0642          THE GORI LAW FIRM PC
LIZARRAGA            ANDREW BELTRAN        IL         2016L000604      THE GORI LAW FIRM PC                                 LOYD                 JOSEPH R               IL         18L0642          THE GORI LAW FIRM PC
LLANES               IRMA                  IL         2015L000061      THE GORI LAW FIRM PC                                 LOZON                RANDALL                IL         19L0059          THE GORI LAW FIRM PC
LLANES               MIGUEL A              IL         2015L000061      THE GORI LAW FIRM PC                                 LUCAS                EDWARD                 NY         1904202018       THE GORI LAW FIRM PC
LLOYD                FREDERICK J           IL         2017L000561      THE GORI LAW FIRM PC                                 LUCENT               DOLORES                IL         2018L000772      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 715
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 50 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LUCENT               JOSEPH F              IL         2018L000772      THE GORI LAW FIRM PC                                 MARGARUM             JOHN E                IL         2017L000403      THE GORI LAW FIRM PC
LUMMUS               JOHNNIE RUTH          LA         201711957        THE GORI LAW FIRM PC                                 MARIE-THERESE        PLOOF                 IL         2017L000058      THE GORI LAW FIRM PC
LUMMUS               MARCELL               LA         201711957        THE GORI LAW FIRM PC                                 MARK                 THOMAS W              IL         2015L001154      THE GORI LAW FIRM PC
LUMMUS               MICHAEL               LA         201711957        THE GORI LAW FIRM PC                                 MARK                 VALLI                 IL         2015L001154      THE GORI LAW FIRM PC
LUSZCZ               KAREN                 IL         2014L000617      THE GORI LAW FIRM PC                                 MARKEY               MICHAEL               IL         19L0487          THE GORI LAW FIRM PC
LUSZCZ               VICTOR JOHN           IL         2014L000617      THE GORI LAW FIRM PC                                 MARKEY               VICKY                 IL         19L0487          THE GORI LAW FIRM PC
LYNCH                DOROTHY S             IL         2014L001145      THE GORI LAW FIRM PC                                 MARKHAM              EILEEN M              IL         2019L001487      THE GORI LAW FIRM PC
LYNCH                HOBART P              IL         2014L001145      THE GORI LAW FIRM PC                                 MARKHAM              JOHN T                IL         2019L001487      THE GORI LAW FIRM PC
LYNN                 MICHAEL E             IL         2019L000841      THE GORI LAW FIRM PC                                 MARKS                CALEB                 IL         2018L000449      THE GORI LAW FIRM PC
LYNN                 REBECCA               IL         2019L000841      THE GORI LAW FIRM PC                                 MARKS                JOE ANNE              IL         18L0511          THE GORI LAW FIRM PC
MAAS                 THOMAS JOSEPH         IL         18L0227          THE GORI LAW FIRM PC                                 MARKS                RICHARD B             IL         2018L000449      THE GORI LAW FIRM PC
MABANZA              DANIEL                IL         2018L001398      THE GORI LAW FIRM PC                                 MARLEY               KAY                   IL         18L0252          THE GORI LAW FIRM PC
MACE                 JACQUELINE            IL         2017L001381      THE GORI LAW FIRM PC                                 MARLEY               KENNETH               IL         18L0252          THE GORI LAW FIRM PC
MACE                 RONALD                IL         2017L001381      THE GORI LAW FIRM PC                                 MARMONTELLO          CHARLES               PA         181203262        THE GORI LAW FIRM PC
MACHINO              GEORGE                IL         2017L001360      THE GORI LAW FIRM PC                                 MARMONTELLO          JOAN                  PA         181203262        THE GORI LAW FIRM PC
MACHINO              JERI                  IL         2017L001360      THE GORI LAW FIRM PC                                 MARRISON COPE        SHELIA D              IL         19L0337          THE GORI LAW FIRM PC
MACINERNEY           JOSEPH P              MO         1522CC11207      THE GORI LAW FIRM PC                                 MARSH                RHONDA                MO         1622CC00418      THE GORI LAW FIRM PC
MACINERNEY           PATRICIA              MO         1522CC11207      THE GORI LAW FIRM PC                                 MARSHALL             ARTHUR                IL         2017L001005      THE GORI LAW FIRM PC
MACK                 BONNIE                PA         170203515        THE GORI LAW FIRM PC                                 MARSHALL             CAMERON               MO         1622CC10565      THE GORI LAW FIRM PC
MACK                 RUSSELL               PA         170203515        THE GORI LAW FIRM PC                                 MARSHALL             CHAUNCI               MO         1622CC10565      THE GORI LAW FIRM PC
MACKIN               BRENDA                IL         18L0316          THE GORI LAW FIRM PC                                 MARSHALL             JANET                 IL         2017L001005      THE GORI LAW FIRM PC
MACKIN               MICHAEL               IL         18L0316          THE GORI LAW FIRM PC                                 MARSHALL             LEGORA                MO         1622CC10565      THE GORI LAW FIRM PC
MADAR                LAWRENCE              NY         2018103806       THE GORI LAW FIRM PC                                 MARSHALL             NIKKI                 MO         1622CC10565      THE GORI LAW FIRM PC
MADAR                MARSHA                NY         2018103806       THE GORI LAW FIRM PC                                 MARSHALL             RYAN                  MO         1622CC10565      THE GORI LAW FIRM PC
MADDIX               CAROLYN               IL         2018L001254      THE GORI LAW FIRM PC                                 MARSHALL             WILLIE                MO         1622CC10565      THE GORI LAW FIRM PC
MADDIX               KENNETH               IL         2018L001254      THE GORI LAW FIRM PC                                 MARTIN               CELESTE               IL         2016L000838      THE GORI LAW FIRM PC
MADIGAN              JOHN                  IL         2016L000603      THE GORI LAW FIRM PC                                 MARTIN               DAVID                 IL         2017L000472      THE GORI LAW FIRM PC
MADIGAN              JOYCE                 IL         2016L000603      THE GORI LAW FIRM PC                                 MARTIN               DONNIE HUGH           MO         1622CC10177      THE GORI LAW FIRM PC
MAHAFFEY             BILL                  IL         19L0183          THE GORI LAW FIRM PC                                 MARTIN               DOROTHY RENEE         MO         1622CC10177      THE GORI LAW FIRM PC
MAHAN                JAMES                 IL         12L408           THE GORI LAW FIRM PC                                 MARTIN               JOANN                 IL         2019L000288      THE GORI LAW FIRM PC
MAHMOUD              MOHAMAD               IL         2017L000584      THE GORI LAW FIRM PC                                 MARTIN               KENNETH WILLARD       IL         2016L000032      THE GORI LAW FIRM PC
MAHRT                SUSAN                 IL         10L527           THE GORI LAW FIRM PC                                 MARTIN               MARK D                IL         2018L000877      THE GORI LAW FIRM PC
MAHRT                THOMAS                IL         10L527           THE GORI LAW FIRM PC                                 MARTIN               TAMERA                IL         2018L001153      THE GORI LAW FIRM PC
MAIDA                PATTY                 IL         2019L000502      THE GORI LAW FIRM PC                                 MARTIN               TIMOTHY A             IL         2019L000288      THE GORI LAW FIRM PC
MAIDEN               AUDREY                MO         1722CC00780      THE GORI LAW FIRM PC                                 MARTIN               TONYA                 MO         1722CC01426      THE GORI LAW FIRM PC
MAJOR                MARION ANN            IL         19L0265          THE GORI LAW FIRM PC                                 MARTIN               WENDY                 IL         2017L000472      THE GORI LAW FIRM PC
MAJOR                SAMUEL DREWREY        IL         19L0265          THE GORI LAW FIRM PC                                 MARTIN               WILLIAM E             IL         2016L000838      THE GORI LAW FIRM PC
MALARK               AUDREY                IL         2016L001325      THE GORI LAW FIRM PC                                 MARTINEZ             ARTURO                IL         13L1579          THE GORI LAW FIRM PC
MALARK               RICHARD               IL         2016L001325      THE GORI LAW FIRM PC                                 MARTINEZ             CHRISTIAN             IL         2019L000776      THE GORI LAW FIRM PC
MALIN                SUE                   MO         1622CC01198      THE GORI LAW FIRM PC                                 MARTINEZ             DORA                  IL         13L1579          THE GORI LAW FIRM PC
MALIN                WILLIE                MO         1622CC01198      THE GORI LAW FIRM PC                                 MARTINEZ             ELVIRA MICHELLE       IL         2019L000776      THE GORI LAW FIRM PC
MALLETT              HARVEY                MO         1722CC00404      THE GORI LAW FIRM PC                                 MARTINEZ             GRACE                 IL         2019L000776      THE GORI LAW FIRM PC
MALLETT              YVONNE                MO         1722CC00404      THE GORI LAW FIRM PC                                 MARTINEZ             GUSTAVO               IL         2019L000776      THE GORI LAW FIRM PC
MALLORY              CHARLOTTE             IL         19L0789          THE GORI LAW FIRM PC                                 MARTINEZ             SERGIO                IL         12L1469          THE GORI LAW FIRM PC
MALLORY              CLARENCE              IL         19L0789          THE GORI LAW FIRM PC                                 MARTS                EDNA                  MO         1622CC11576      THE GORI LAW FIRM PC
MANCZUROWSKY         RHONDA A              IL         2019L000754      THE GORI LAW FIRM PC                                 MASON                BETTIE                IL         10L40            THE GORI LAW FIRM PC
MANCZUROWSKY         WALTER                IL         2019L000754      THE GORI LAW FIRM PC                                 MASON                JOHN                  IL         10L40            THE GORI LAW FIRM PC
MANN                 WILLIAM               IL         2015L000452      THE GORI LAW FIRM PC                                 MASSEY               FREDDIE               IL         2016L001239      THE GORI LAW FIRM PC
MANNING              BRIAN                 MO         1122CC10906      THE GORI LAW FIRM PC                                 MASTRANGEL           JOHN                  IL         2017L001325      THE GORI LAW FIRM PC
MANNING              CATHY                 MO         1122CC10906      THE GORI LAW FIRM PC                                 MASTRONIKOLAS        EFSTRATIOS            IL         2018L000096      THE GORI LAW FIRM PC
MANNING              DARAN                 MO         1122CC10906      THE GORI LAW FIRM PC                                 MATASH               JUNE                  IL         2018L001598      THE GORI LAW FIRM PC
MANNING              ERNEST                MO         1122CC10906      THE GORI LAW FIRM PC                                 MATHIS               MARISOL               IL         2018L001048      THE GORI LAW FIRM PC
MANNING              STEPHANIE             IL         19L0826          THE GORI LAW FIRM PC                                 MATHIS               PEDRO                 IL         2018L001048      THE GORI LAW FIRM PC
MANNING              WETA                  IL         2018L000756      THE GORI LAW FIRM PC                                 MATHON               GEORGE R              IL         2016L000316      THE GORI LAW FIRM PC
MANNS                DENNIS F              IL         14L606           THE GORI LAW FIRM PC                                 MATTHES              VICTORIA              IL         2017L000877      THE GORI LAW FIRM PC
MANNS                JANIS                 IL         2018L000929      THE GORI LAW FIRM PC                                 MATTHEWS             ADA                   IL         17L753           THE GORI LAW FIRM PC
MANNS                JANIS                 IL         14L606           THE GORI LAW FIRM PC                                 MATTHEWS             BRENDA                MO         1622CC11374      THE GORI LAW FIRM PC
MANSFIELD            JANET D               IL         2015L000309      THE GORI LAW FIRM PC                                 MATTHEWS             JUDITH                IL         2017L001606      THE GORI LAW FIRM PC
MANSFIELD            WALTER                IL         2015L000309      THE GORI LAW FIRM PC                                 MATTHEWS             ONIOUS                IL         17L753           THE GORI LAW FIRM PC
MANSON               JAMES                 IL         2018L000016      THE GORI LAW FIRM PC                                 MATTINGLY            CAROL                 IL         18L0730          THE GORI LAW FIRM PC
MANSON               OLLIE DEAN            IL         2018L000016      THE GORI LAW FIRM PC                                 MATTINGLY            ELISABETH A           IL         2016L000919      THE GORI LAW FIRM PC
MANTANONA            EUGENIE               MO         1722CC00121      THE GORI LAW FIRM PC                                 MATTINGLY            GUY GARRY             IL         2016L000919      THE GORI LAW FIRM PC
MANTANONA            JUAN                  MO         1722CC00121      THE GORI LAW FIRM PC                                 MAUK                 JASON                 IL         2017L000658      THE GORI LAW FIRM PC
MAPLE                DURWOOD               IL         11L59            THE GORI LAW FIRM PC                                 MAUK                 TARY RAE              IL         2017L000658      THE GORI LAW FIRM PC
MAPLE                PAT                   IL         11L59            THE GORI LAW FIRM PC                                 MAULDIN              JEFF                  MO         1622CC11626      THE GORI LAW FIRM PC
MAPPS                KAREN                 IL         2017L000259      THE GORI LAW FIRM PC                                 MAYES                JAMES LEE             IL         2018L001189      THE GORI LAW FIRM PC
MAPPS                LAWRENCE              IL         2017L000259      THE GORI LAW FIRM PC                                 MAYES                MARY G                IL         2018L001189      THE GORI LAW FIRM PC
MARBLE               JOHN W                IL         2016L000378      THE GORI LAW FIRM PC                                 MAYNARD              DARYL                 IL         2018L000852      THE GORI LAW FIRM PC
MARBLE               JUDITH                IL         2016L000378      THE GORI LAW FIRM PC                                 MAYNARD              DARYL                 MO         1822CC11334      THE GORI LAW FIRM PC
MARCHAND             ANGELA                MO         1622CC11594      THE GORI LAW FIRM PC                                 MAYS                 MARTRA D              MO         1622CC10173      THE GORI LAW FIRM PC
MARGARUM             CHRISTINE             IL         2017L000403      THE GORI LAW FIRM PC                                 MAYWORM              BETTY                 IL         2016L001746      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 716
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 51 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MAYWORM              LEROY                 IL         2016L001746      THE GORI LAW FIRM PC                                 MCNEISH              ROBERT                NY         05503            THE GORI LAW FIRM PC
MAZZARELLA           ANNE EVELYN           IL         19L0430          THE GORI LAW FIRM PC                                 MCNICHOLAS           LISA                  IL         18L0500          THE GORI LAW FIRM PC
MAZZARELLA           CHRISS PHILIP         IL         19L0430          THE GORI LAW FIRM PC                                 MCRANEY              KENNETH               IL         2017L001611      THE GORI LAW FIRM PC
MCBEE                CORA                  MO         1622CC11622      THE GORI LAW FIRM PC                                 MCRANEY              NANCI                 IL         2017L001611      THE GORI LAW FIRM PC
MCBEE                NEAL                  MO         1622CC11622      THE GORI LAW FIRM PC                                 MCVANNELL            KEITH                 IL         2018L001192      THE GORI LAW FIRM PC
MCCABE               DAVID L               IL         2015L000285      THE GORI LAW FIRM PC                                 MCVANNELL            SUSAN                 IL         2018L001192      THE GORI LAW FIRM PC
MCCABE               ORILLA                IL         2015L000285      THE GORI LAW FIRM PC                                 MCVAY                GARY                  IL         18L21            THE GORI LAW FIRM PC
MCCAIN               WILLIE F              IL         18L0719          THE GORI LAW FIRM PC                                 MCVEY                MARK EDWARD           CA         BC616007         THE GORI LAW FIRM PC
MCCALEB              BILLY                 MO         1622CC10931      THE GORI LAW FIRM PC                                 MCVEY                MARY LUCILLE          CA         BC616007         THE GORI LAW FIRM PC
MCCALEB              LOVETTA               MO         1622CC10931      THE GORI LAW FIRM PC                                 MEAD                 MICHAEL STEPHEN       IL         2017L000275      THE GORI LAW FIRM PC
MCCALEB              MICHAEL               MO         1622CC10931      THE GORI LAW FIRM PC                                 MEENAN               BERNARD J             IL         13L1199          THE GORI LAW FIRM PC
MCCALL               ARTHUR                IL         18L0757          THE GORI LAW FIRM PC                                 MEENAN               NANCY G               IL         13L1199          THE GORI LAW FIRM PC
MCCALL               CORINNE               IL         2016L000730      THE GORI LAW FIRM PC                                 MEGENS               DOLORES               IL         19L0556          THE GORI LAW FIRM PC
MCCALLA              GERALD                MO         1522CC00384      THE GORI LAW FIRM PC                                 MEGENS               HARRY                 IL         19L0556          THE GORI LAW FIRM PC
MCCALLA              KEN                   MO         1522CC00384      THE GORI LAW FIRM PC                                 MELLODY              STEVEN                IL         2017L001025      THE GORI LAW FIRM PC
MCCALLA              ORVILLE               MO         1522CC00384      THE GORI LAW FIRM PC                                 MELSON               GEORGE N              IL         10L490           THE GORI LAW FIRM PC
MCCALLA              RAND                  MO         1522CC00384      THE GORI LAW FIRM PC                                 MELSON               ROBERT                IL         10L490           THE GORI LAW FIRM PC
MCCAMMAN             JOYCE                 IL         19L0253          THE GORI LAW FIRM PC                                 MENGES               GERALD                IL         2014L001388      THE GORI LAW FIRM PC
MCCAMMAN             LARRY                 IL         19L0253          THE GORI LAW FIRM PC                                 MENGES               SUSAN                 IL         2014L001388      THE GORI LAW FIRM PC
MCCARTY              ERNEST L              IL         19L0703          THE GORI LAW FIRM PC                                 MERKEY               CATHIE                IL         2017L000905      THE GORI LAW FIRM PC
MCCARTY              YALANDA DANIELS       IL         19L0703          THE GORI LAW FIRM PC                                 MERKEY               RANDY                 IL         2017L000905      THE GORI LAW FIRM PC
MCCASKILL            GAYLE                 IL         13L1549          THE GORI LAW FIRM PC                                 MERRILL              DEBRA J               MO         1022CC11748      THE GORI LAW FIRM PC
MCCASKILL            JAMES M               IL         13L1549          THE GORI LAW FIRM PC                                 MESSER               FRANKIE               IL         2015L000079      THE GORI LAW FIRM PC
MCCLAIN              JOHN L                IL         2017L001406      THE GORI LAW FIRM PC                                 MESSER               WAYNE M               IL         2015L000079      THE GORI LAW FIRM PC
MCCLAIN              MILDRED               IL         2017L001406      THE GORI LAW FIRM PC                                 MESSICK              SHELLEY               IL         18L0783          THE GORI LAW FIRM PC
MCCLARY              SHERYL                IL         09L703           THE GORI LAW FIRM PC                                 MESTAS               BETTY                 MO         1622CC09955      THE GORI LAW FIRM PC
MCCLIMON             ANDREA LYNN           IL         2017L000784      THE GORI LAW FIRM PC                                 MESTAS               JULIAN                MO         1622CC09955      THE GORI LAW FIRM PC
MCCLIMON             LORAS LYNN            IL         2017L000784      THE GORI LAW FIRM PC                                 MESTER               CAROL                 MO         1522CC00136      THE GORI LAW FIRM PC
MCCLOUD              SHEILA                IL         2018L000901      THE GORI LAW FIRM PC                                 MESTER               MICHAEL J             MO         1522CC00136      THE GORI LAW FIRM PC
MCCLOUD              SUSAN                 IL         2018L000901      THE GORI LAW FIRM PC                                 METCALF              CATHY MARIE           IL         2016L000609      THE GORI LAW FIRM PC
MCCLUNG              CHRISTINA             IL         2018L001270      THE GORI LAW FIRM PC                                 METCALF              ROGER DALE            IL         2016L000609      THE GORI LAW FIRM PC
MCCLUNG              LD                    IL         2018L001270      THE GORI LAW FIRM PC                                 MEVORAH              ALBERT S              IL         2018L001035      THE GORI LAW FIRM PC
MCCONNELL            ANTHONY DAVID         IL         2018L001640      THE GORI LAW FIRM PC                                 MEVORAH              JAY                   IL         2018L001035      THE GORI LAW FIRM PC
MCCONNELL            MARGARET              IL         2018L001640      THE GORI LAW FIRM PC                                 MEYER                MILDRED ALICE         IL         18L0551          THE GORI LAW FIRM PC
MCCORD               SAMUEL D              IL         2015L001116      THE GORI LAW FIRM PC                                 MEYER                TERRY                 IL         18L0551          THE GORI LAW FIRM PC
MCCORMICK            ALBERT WILBER         IL         19L0381          THE GORI LAW FIRM PC                                 MICHAUD              GAIL                  IL         2016L000499      THE GORI LAW FIRM PC
MCCRAY               ANTONETTE MARIE       IL         14L583           THE GORI LAW FIRM PC                                 MICHEL               CLARENCE              LA         201607194        THE GORI LAW FIRM PC
MCCRAY               THOMAS EDWARD         IL         14L583           THE GORI LAW FIRM PC                                 MIDDLETON            FRANCIS JULIUS        IL         18L0644          THE GORI LAW FIRM PC
MCCULLAH             JAMES D               MO         1922CC08554      THE GORI LAW FIRM PC                                 MIDDLETON            SHELLY                IL         18L0644          THE GORI LAW FIRM PC
MCCULLAR             SAMUEL                IL         2015L000812      THE GORI LAW FIRM PC                                 MIFFLIN              JOHN                  IL         2017L000063      THE GORI LAW FIRM PC
MCCULLOUGH           DAVID                 IL         2019L000027      THE GORI LAW FIRM PC                                 MILES                PAULA                 IL         2018L000828      THE GORI LAW FIRM PC
MCCULLOUGH           NELDA                 IL         2019L000027      THE GORI LAW FIRM PC                                 MILLER               CHARLES ALLEN         IL         18L0783          THE GORI LAW FIRM PC
MCCURDY              MARTHA                MO         1622CC10054      THE GORI LAW FIRM PC                                 MILLER               CHARLES E             MO         1722CC00133      THE GORI LAW FIRM PC
MCCURDY              ROBERT                MO         1622CC10054      THE GORI LAW FIRM PC                                 MILLER               CONNIE                IL         18L0815          THE GORI LAW FIRM PC
MCDANIEL             JAMES L               IL         18L0310          THE GORI LAW FIRM PC                                 MILLER               DAVID G               IL         18L0815          THE GORI LAW FIRM PC
MCDOWELL             CAROLYN               IL         18L0416          THE GORI LAW FIRM PC                                 MILLER               DEVORAH               MO         1622CC11576      THE GORI LAW FIRM PC
MCDOWELL             WILLIAM               IL         18L0416          THE GORI LAW FIRM PC                                 MILLER               FRANK A               IL         18L0765          THE GORI LAW FIRM PC
MCELROY              LARRY W               IL         19L0693          THE GORI LAW FIRM PC                                 MILLER               HAROLD D              IL         2015L001110      THE GORI LAW FIRM PC
MCGARY               ROBERT                IL         2019L000139      THE GORI LAW FIRM PC                                 MILLER               JOHN HARVEY           IL         19L0184          THE GORI LAW FIRM PC
MCGARY               VICKI                 IL         2019L000139      THE GORI LAW FIRM PC                                 MILLER               JOYCE                 IL         2015L001110      THE GORI LAW FIRM PC
MCGEE                MARY E                IL         2015L000430      THE GORI LAW FIRM PC                                 MILLER               JOYCE                 IL         18L0765          THE GORI LAW FIRM PC
MCGEE                SHELITHA              MO         1622CC11576      THE GORI LAW FIRM PC                                 MILLER               JUANITA MAE           IL         2018L001472      THE GORI LAW FIRM PC
MCGOWAN              CHARLES               LA         201907446        THE GORI LAW FIRM PC                                 MILLER               LLOYD E               MO         1622CC11576      THE GORI LAW FIRM PC
MCGRATH              DONALD FRANCIS        IL         2017L000008      THE GORI LAW FIRM PC                                 MILLER               LOGAN                 IL         2016L000620      THE GORI LAW FIRM PC
MCGRATH              JANET                 IL         13L1670          THE GORI LAW FIRM PC                                 MILLER               MARLENE               IL         2018L000532      THE GORI LAW FIRM PC
MCGRATH              KEVIN                 IL         13L1670          THE GORI LAW FIRM PC                                 MILLER               MICHAEL G             IL         2017L000698      THE GORI LAW FIRM PC
MCGRAW               DEBORAH L             IL         2019L001169      THE GORI LAW FIRM PC                                 MILLER               SARAH A               IL         2016L000620      THE GORI LAW FIRM PC
MCGRAW               WILLIAM               IL         2019L001169      THE GORI LAW FIRM PC                                 MILLER               SUE ANN               IL         19L0184          THE GORI LAW FIRM PC
MCGUIRE              MICHAEL C             IL         18L0668          THE GORI LAW FIRM PC                                 MILLER               THERESA               MO         1722CC00133      THE GORI LAW FIRM PC
MCKINNEY             DONNA                 MO         1722CC00931      THE GORI LAW FIRM PC                                 MILLS                CHRISTIE              MO         1722CC01388      THE GORI LAW FIRM PC
MCKINNEY             PATRICK               MO         1722CC00931      THE GORI LAW FIRM PC                                 MILLS                KENNETH DALE          MO         1722CC01388      THE GORI LAW FIRM PC
MCLEAN               PATRICK               IL         2016L001175      THE GORI LAW FIRM PC                                 MILLS                LEOPLOND              MO         1722CC01388      THE GORI LAW FIRM PC
MCLEAN               ROBERT                IL         2016L001175      THE GORI LAW FIRM PC                                 MILLS                SHIRLEY               MO         1722CC01388      THE GORI LAW FIRM PC
MCLEOD               DONALD                MO         1722CC00491      THE GORI LAW FIRM PC                                 MINI                 ROSS                  IL         2019L001633      THE GORI LAW FIRM PC
MCMICKEN             CHAD                  IL         19L0542          THE GORI LAW FIRM PC                                 MINI                 TINA                  IL         2019L001633      THE GORI LAW FIRM PC
MCMICKEN             JOHN WILLIAM          IL         19L0542          THE GORI LAW FIRM PC                                 MIRANTE              JANICE ARLENE         IL         2015L001129      THE GORI LAW FIRM PC
MCMICKEN             JUDITH                IL         19L0542          THE GORI LAW FIRM PC                                 MIRANTE              RICHARD ALAN          IL         2015L001129      THE GORI LAW FIRM PC
MCMILLAN             SANDRA                IL         2015L000837      THE GORI LAW FIRM PC                                 MISTRETTA            VINCENT               IL         2015L000065      THE GORI LAW FIRM PC
MCMILLON             JOEL                  IL         19L0376          THE GORI LAW FIRM PC                                 MISTRETTA            WINIFRED LOUISE       IL         2015L000065      THE GORI LAW FIRM PC
MCMILLON             VINCENT               IL         19L0376          THE GORI LAW FIRM PC                                 MITCHELL             ANNIE                 MO         1622CC10041      THE GORI LAW FIRM PC
MCMULLEN             JOHN                  IL         2017L000665      THE GORI LAW FIRM PC                                 MITCHELL             CAROLYN               IL         2018L000441      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 717
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 52 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MITCHELL             HATTIE BELL           IL         18L0135          THE GORI LAW FIRM PC                                 MOSLEY               EDWARD                IL         18L82            THE GORI LAW FIRM PC
MITCHELL             HENRY                 IL         18L0218          THE GORI LAW FIRM PC                                 MOSLEY               JOYCE                 IL         18L82            THE GORI LAW FIRM PC
MITCHELL             HUGH                  IL         2018L000441      THE GORI LAW FIRM PC                                 MOSSBURG             GARY JAMES            IL         11L539           THE GORI LAW FIRM PC
MITCHELL             IONA                  IL         18L0778          THE GORI LAW FIRM PC                                 MOSSBURG             JULIE ANNE            IL         11L539           THE GORI LAW FIRM PC
MITCHELL             IRENE                 IL         2019L000641      THE GORI LAW FIRM PC                                 MOURE                MIGUEL                IL         2019L000218      THE GORI LAW FIRM PC
MITCHELL             JERRY                 MO         1622CC10041      THE GORI LAW FIRM PC                                 MUCHA                GREGORY               IL         19L0733          THE GORI LAW FIRM PC
MITCHELL             JOE LOUIS             IL         18L0135          THE GORI LAW FIRM PC                                 MUCHA                PATRICIA              IL         19L0733          THE GORI LAW FIRM PC
MIXON                DAVID LEE             IL         2015L000798      THE GORI LAW FIRM PC                                 MUCHOW-CASEY         VERA PAULINE          IL         2017L001759      THE GORI LAW FIRM PC
MIXON                ZORADO                IL         2015L000798      THE GORI LAW FIRM PC                                 MUELLER              ARLENE                IL         13L348           THE GORI LAW FIRM PC
MIZE                 GARY                  IL         18L0284          THE GORI LAW FIRM PC                                 MUELLER              RICHARD               IL         13L348           THE GORI LAW FIRM PC
MIZE                 LILA                  IL         18L0284          THE GORI LAW FIRM PC                                 MULCAHEY             MICHELE               IL         18L0206          THE GORI LAW FIRM PC
MOHLIS               DONNA                 IL         19L0830          THE GORI LAW FIRM PC                                 MULCAHEY             SANDRA                IL         2017L000368      THE GORI LAW FIRM PC
MOHLIS               JAMES F               IL         19L0830          THE GORI LAW FIRM PC                                 MULCAHEY             THOMAS                IL         18L0206          THE GORI LAW FIRM PC
MOLSTAD              HELEN A               IL         2017L001052      THE GORI LAW FIRM PC                                 MULL                 LAURA                 IL         2019L000460      THE GORI LAW FIRM PC
MOLSTAD              JOHN G                IL         2017L001052      THE GORI LAW FIRM PC                                 MULL                 ROBERT                IL         2019L000460      THE GORI LAW FIRM PC
MONDARY              RONALD L              IL         2016L000294      THE GORI LAW FIRM PC                                 MULLIKIN             DAVID                 IL         19L0410          THE GORI LAW FIRM PC
MONEY                RONALD                MO         1922CC00856      THE GORI LAW FIRM PC                                 MULLINS              ERVIN J               IL         19L0160          THE GORI LAW FIRM PC
MONKA                DEANN                 IL         2018L000121      THE GORI LAW FIRM PC                                 MULLINS              JOYCE                 IL         19L0160          THE GORI LAW FIRM PC
MONKA                ROBERT                IL         2018L000121      THE GORI LAW FIRM PC                                 MULTHAUPT            CAROL                 IL         2018L001550      THE GORI LAW FIRM PC
MONROE               FREDERICK             IL         2017L001358      THE GORI LAW FIRM PC                                 MULTHAUPT            RONALD                IL         2018L001550      THE GORI LAW FIRM PC
MONROE               VICTORIA              IL         2017L001358      THE GORI LAW FIRM PC                                 MUNIZ                ROBERT                IL         2018L001072      THE GORI LAW FIRM PC
MONSIVAIS            BERENICE              IL         2018L001373      THE GORI LAW FIRM PC                                 MUNIZ                VERONIKA              IL         2018L001072      THE GORI LAW FIRM PC
MONSIVAIS            OSCAR ARTURO          IL         2018L001373      THE GORI LAW FIRM PC                                 MUNSON               HELEN                 IL         2016L000627      THE GORI LAW FIRM PC
MONTELL              JAMES R               IL         2016L000876      THE GORI LAW FIRM PC                                 MUNSON               LESLIE JAMES          IL         2016L000627      THE GORI LAW FIRM PC
MONTGOMERY           HERBERT L             IL         18L0721          THE GORI LAW FIRM PC                                 MURDERS              NANCY                 MO         1522CC11036      THE GORI LAW FIRM PC
MONTGOMERY           NANETTE               MO         1722CC10655      THE GORI LAW FIRM PC                                 MURDERS              ROBERT                MO         1522CC11036      THE GORI LAW FIRM PC
MONTGOMERY           ORIE                  IL         18L0721          THE GORI LAW FIRM PC                                 MURPHY               IRIE PARK             IL         18L0195          THE GORI LAW FIRM PC
MONTGOMERY           SALLY                 MO         1722CC10655      THE GORI LAW FIRM PC                                 MURPHY               MARGARET              IL         2019L000109      THE GORI LAW FIRM PC
MONTGOMERY           THOMAS                MO         1722CC10655      THE GORI LAW FIRM PC                                 MURPHY               REBECCA POSEY         IL         18L0195          THE GORI LAW FIRM PC
MONTGOMERY           THOMAS J              MO         1722CC10655      THE GORI LAW FIRM PC                                 MURPHY               TIMOTHY               IL         2019L000109      THE GORI LAW FIRM PC
MONTONDON            DALLAS                IL         2017L001760      THE GORI LAW FIRM PC                                 MURRAY               EARL J                MO         1622CC11409      THE GORI LAW FIRM PC
MONTONDON            JAMES CLARENCE        IL         2017L001760      THE GORI LAW FIRM PC                                 MURRAY               THERESA A             MO         1622CC11409      THE GORI LAW FIRM PC
MOODY                DAWN                  IL         2017L001690      THE GORI LAW FIRM PC                                 MURUATO              MARIO I               IL         2016L000415      THE GORI LAW FIRM PC
MOONEY               DOROTHY               IL         13L389           THE GORI LAW FIRM PC                                 MUSIAL               JANICE                IL         2017L000970      THE GORI LAW FIRM PC
MOONEYHAN            LEE ROY               IL         2016L000873      THE GORI LAW FIRM PC                                 MUSIAL               THOMAS                IL         2017L000970      THE GORI LAW FIRM PC
MOONEYHAN            TARA                  IL         2016L000873      THE GORI LAW FIRM PC                                 MUSTAPICK            GERALD                NY         6040682018       THE GORI LAW FIRM PC
MOORE                BOBBY K               IL         18L0582          THE GORI LAW FIRM PC                                 MUSTAPICK            IRENE                 NY         6040682018       THE GORI LAW FIRM PC
MOORE                FRANK RUSSELL         IL         18L12            THE GORI LAW FIRM PC                                 MYERS                KEITH ROYAL           IL         13L1192          THE GORI LAW FIRM PC
MOORE                PAUL                  IL         2017L001024      THE GORI LAW FIRM PC                                 MYERS                NANCY E               IL         13L1192          THE GORI LAW FIRM PC
MOORE                ROBIN L               IL         2019L000896      THE GORI LAW FIRM PC                                 MYRICK               MELISSA               IL         2016L000602      THE GORI LAW FIRM PC
MOORE                RUSSELL ALLEN         IL         18L12            THE GORI LAW FIRM PC                                 NABORS               JIMMIE H              IL         13L1027          THE GORI LAW FIRM PC
MOORE                SHIRLEY               IL         2017L001024      THE GORI LAW FIRM PC                                 NABORS               LONICE                IL         13L1027          THE GORI LAW FIRM PC
MOORE                TERRY W               IL         2019L000896      THE GORI LAW FIRM PC                                 NADEAU               HELEN                 IL         2017L000505      THE GORI LAW FIRM PC
MOORE                UNAV                  IL         18L0582          THE GORI LAW FIRM PC                                 NADEAU               RONALD                IL         2017L000505      THE GORI LAW FIRM PC
MORGAN               BARBARA               IL         19L0336          THE GORI LAW FIRM PC                                 NALE                 MICHAEL               IL         2017L000534      THE GORI LAW FIRM PC
MORGAN               BONITA                IL         2019L000239      THE GORI LAW FIRM PC                                 NALE                 PHYLLIS               IL         2017L000534      THE GORI LAW FIRM PC
MORGAN               JERRY                 IL         12L166           THE GORI LAW FIRM PC                                 NAPIER               REBECCA               IL         2016L000029      THE GORI LAW FIRM PC
MORGAN               JOHN                  IL         2019L000239      THE GORI LAW FIRM PC                                 NAPIER               WINSTON               IL         2016L000029      THE GORI LAW FIRM PC
MORGAN               LEANNA                IL         2018L000865      THE GORI LAW FIRM PC                                 NASI                 KATHLEEN              IL         18L0140          THE GORI LAW FIRM PC
MORGAN               MICHAEL K             IL         2018L000865      THE GORI LAW FIRM PC                                 NAVARRE              GWENDOLYN             MO         1622CC10003      THE GORI LAW FIRM PC
MORGAN               WILL                  IL         19L0336          THE GORI LAW FIRM PC                                 NAVARRE              MORRIS                MO         1622CC10003      THE GORI LAW FIRM PC
MORIMOTO-BAJO        JACQUELINE KAUI       IL         2019L001502      THE GORI LAW FIRM PC                                 NAVARRETE            IRINEO                IL         2018L000546      THE GORI LAW FIRM PC
MORIN                ELIZABETH             NY         2018878          THE GORI LAW FIRM PC                                 NAVARRETE            MARIA D               IL         2018L000546      THE GORI LAW FIRM PC
MORIN                JOHN                  NY         2018878          THE GORI LAW FIRM PC                                 NAVARRO              JESUS GABRIEL         IL         2016L000058      THE GORI LAW FIRM PC
MORPHIS              LARRY                 IL         2017L001645      THE GORI LAW FIRM PC                                 NAVARRO              MARIA DOLORES         IL         2016L000058      THE GORI LAW FIRM PC
MORRIS               DIANA                 IL         2019L000828      THE GORI LAW FIRM PC                                 NEAHUSAN             DOUGLAS               IL         2019L000735      THE GORI LAW FIRM PC
MORRIS               DORIS                 IL         2016L001235      THE GORI LAW FIRM PC                                 NEAHUSAN             ELEANOR               IL         2019L000735      THE GORI LAW FIRM PC
MORRIS               JAMES MAURICE         IL         2016L001235      THE GORI LAW FIRM PC                                 NEELY                STEPHANIE             IL         18L0781          THE GORI LAW FIRM PC
MORRIS               LARRIELLE SHATONDA    IL         2016L000498      THE GORI LAW FIRM PC                                 NEET                 LURLAINA KAY          IL         2016L001558      THE GORI LAW FIRM PC
MORRIS               RICHARD M             IL         2019L000226      THE GORI LAW FIRM PC                                 NEGRON               PEDRO                 IL         2017L001349      THE GORI LAW FIRM PC
MORRISON             KENNETH               IL         2017L000403      THE GORI LAW FIRM PC                                 NELL                 KAREN                 IL         2017L000498      THE GORI LAW FIRM PC
MORRISON             LULA J                IL         16L330           THE GORI LAW FIRM PC                                 NELL                 PAUL                  IL         2017L000498      THE GORI LAW FIRM PC
MORRISON             MICHAEL               MO         1622CC01082      THE GORI LAW FIRM PC                                 NELSON               DEAN                  IL         2018L000186      THE GORI LAW FIRM PC
MORRISON             OCIE B                IL         16L330           THE GORI LAW FIRM PC                                 NELSON               EMMA R                IL         2015L001600      THE GORI LAW FIRM PC
MORROW               JACQUELINE            MO         1722CC00322      THE GORI LAW FIRM PC                                 NELSON               HELEN                 MO         1522CC11122      THE GORI LAW FIRM PC
MORSE                BILLY LLOYD           MO         1622CC10183      THE GORI LAW FIRM PC                                 NELSON               KARRA                 IL         2015L000481      THE GORI LAW FIRM PC
MORSE                CAROLYN               MO         1622CC10183      THE GORI LAW FIRM PC                                 NELSON               LAUREN                MO         1822CC11802      THE GORI LAW FIRM PC
MORSE                GREGG                 MO         1622CC10183      THE GORI LAW FIRM PC                                 NELSON               PHILIP                IL         2017L000103      THE GORI LAW FIRM PC
MORSE                MICHELLE              MO         1622CC10183      THE GORI LAW FIRM PC                                 NELSON               RITA                  MO         1822CC11802      THE GORI LAW FIRM PC
MORSE                STEFAN                MO         1622CC10183      THE GORI LAW FIRM PC                                 NELSON               ROBERT L              MO         1822CC11802      THE GORI LAW FIRM PC
MOSELY               CHARLES               IL         18L0203          THE GORI LAW FIRM PC                                 NELSON               ROSSETTA              IL         2017L000103      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 718
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 53 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

NELSON               SHIRLEY               IL         2018L000186      THE GORI LAW FIRM PC                                 OGLETHORPE           ELAINE                IL         19L0671          THE GORI LAW FIRM PC
NELSON               WENDY                 IL         2019L001703      THE GORI LAW FIRM PC                                 OGLETREE             LINDA                 IL         13L334           THE GORI LAW FIRM PC
NEMETH               DAVID                 IL         2017L000617      THE GORI LAW FIRM PC                                 OGLETREE             RONALD                IL         13L334           THE GORI LAW FIRM PC
NEMETH               SHARON                IL         2017L000617      THE GORI LAW FIRM PC                                 OHDE                 KAREN                 MO         1822CC00903      THE GORI LAW FIRM PC
NEMO                 BRENDA                IL         2018L000759      THE GORI LAW FIRM PC                                 O'LEARY              BRIAN PATRICK         IL         19L0403          THE GORI LAW FIRM PC
NETTLE               MARY                  IL         2019L000415      THE GORI LAW FIRM PC                                 O'LEARY              PATRICK TOBIN         IL         19L0403          THE GORI LAW FIRM PC
NETTLE               ROBERT J              IL         2019L000415      THE GORI LAW FIRM PC                                 OLIVER               DAN R                 IL         18L0664          THE GORI LAW FIRM PC
NETTLES              ROSETTA               MO         1922CC12158      THE GORI LAW FIRM PC                                 OLIVER               DORIS                 IL         19L0008          THE GORI LAW FIRM PC
NEUMANN              DORIS                 IL         2017L000882      THE GORI LAW FIRM PC                                 OLIVER               MARLYS                IL         18L0777          THE GORI LAW FIRM PC
NEWTON               ATASHA                IL         19L0045          THE GORI LAW FIRM PC                                 OLIVER               PAULA                 IL         18L0664          THE GORI LAW FIRM PC
NEWTON               MATTHEW               IL         19L0045          THE GORI LAW FIRM PC                                 OLIVER               ROBERT D              IL         18L0777          THE GORI LAW FIRM PC
NEYLAND              ANDRE                 IL         2017L000723      THE GORI LAW FIRM PC                                 OLIVER               WILLIAM D             IL         19L0008          THE GORI LAW FIRM PC
NEYLAND              CASANDRA              IL         2017L000723      THE GORI LAW FIRM PC                                 OLMOS                JEWELL                MO         1622CC00081      THE GORI LAW FIRM PC
NICHOLS              GEORGE F              IL         18L0370          THE GORI LAW FIRM PC                                 OLMSTED              CHRISTOPHER           IL         2019L000853      THE GORI LAW FIRM PC
NICHOLS              JERRY                 IL         2017L000610      THE GORI LAW FIRM PC                                 OLMSTED              DOROTHY IRENE         IL         2019L000853      THE GORI LAW FIRM PC
NICHOLS              JOHNNIE               IL         2015L001565      THE GORI LAW FIRM PC                                 OLSON                AUDRY                 IL         2016L001540      THE GORI LAW FIRM PC
NICHOLS              MARY                  IL         2017L000610      THE GORI LAW FIRM PC                                 OLSON                CHARLOTTE JUNE        IL         2016L000780      THE GORI LAW FIRM PC
NICHOLS              PAULINE SIMPSON       IL         18L0370          THE GORI LAW FIRM PC                                 OLSON                CONNIE C              IL         16L133           THE GORI LAW FIRM PC
NICHOLSON            MELINDA               IL         2016L000404      THE GORI LAW FIRM PC                                 OLSON                DALE ALFRED           IL         2016L000780      THE GORI LAW FIRM PC
NICHOLSON            MIKE                  IL         2016L000404      THE GORI LAW FIRM PC                                 OLSON                MICHAEL FREDRICK      IL         16L133           THE GORI LAW FIRM PC
NICOLAY              JOHN E                IL         2017L001271      THE GORI LAW FIRM PC                                 OLSON                NORMAN                IL         2016L001540      THE GORI LAW FIRM PC
NIPPLE               CHARLES               IL         19L0643          THE GORI LAW FIRM PC                                 OMBRELLO             ANTHONY               IL         19L0214          THE GORI LAW FIRM PC
NIPPLE               CYNTHIA               IL         19L0643          THE GORI LAW FIRM PC                                 OMBRELLO             BERNICE               IL         19L0214          THE GORI LAW FIRM PC
NOLTING              DOLORES               IL         2019L001105      THE GORI LAW FIRM PC                                 O'NEILL              MARK                  IL         2018L000450      THE GORI LAW FIRM PC
NOLTING              JOHN                  IL         2019L001105      THE GORI LAW FIRM PC                                 ORDIS                RONNIE                IL         18L0357          THE GORI LAW FIRM PC
NORFUL               JACQUELINE D          IL         18L84            THE GORI LAW FIRM PC                                 ORDIS                THREASA               IL         18L0357          THE GORI LAW FIRM PC
NORFUL               WYMON J               IL         18L84            THE GORI LAW FIRM PC                                 ORELLANA             ISABEL X              IL         2017L001602      THE GORI LAW FIRM PC
NORMAN               AGNES GAIL            IL         14L733           THE GORI LAW FIRM PC                                 ORELLANA             MARCOS F              IL         2017L001602      THE GORI LAW FIRM PC
NORMAN               DONALD LEE            IL         14L733           THE GORI LAW FIRM PC                                 ORENCHICK            DENNIS                IL         11L843           THE GORI LAW FIRM PC
NORMAN               GAIL ANGES            IL         14L733           THE GORI LAW FIRM PC                                 ORENCHICK            JULIA                 IL         11L843           THE GORI LAW FIRM PC
NORMAN               JAMES                 IL         2019L000953      THE GORI LAW FIRM PC                                 ORNE                 BERNARD               IL         2017L001521      THE GORI LAW FIRM PC
NORMAN               JEAN                  IL         2019L000787      THE GORI LAW FIRM PC                                 ORNE                 JANE                  IL         2017L001521      THE GORI LAW FIRM PC
NORMAN               JOANN                 IL         2019L000953      THE GORI LAW FIRM PC                                 ORRALL               JAMIE K               MO         1222CC09077      THE GORI LAW FIRM PC
NORRIS               GEORGE                IL         12L626           THE GORI LAW FIRM PC                                 ORRALL               JOHN PETER            MO         1222CC09077      THE GORI LAW FIRM PC
NOTLEY               EVELYN                IL         2019L000496      THE GORI LAW FIRM PC                                 ORRALL               KATHERINE             MO         1222CC09077      THE GORI LAW FIRM PC
NOTT                 ERNEST                IL         2018L000630      THE GORI LAW FIRM PC                                 ORTIZ                ALVARO                IL         2018L000641      THE GORI LAW FIRM PC
NOTT                 JUDITH                IL         2018L000630      THE GORI LAW FIRM PC                                 ORTIZ                CARMEN MUNIZ DE       IL         2018L000641      THE GORI LAW FIRM PC
NOTTER               ALTHEA                IL         19L0708          THE GORI LAW FIRM PC                                 ORVIS                JOYCE                 IL         2017L001513      THE GORI LAW FIRM PC
NOTTER               HOMER                 IL         19L0708          THE GORI LAW FIRM PC                                 OSBORN               GILBERT G             IL         2018L000412      THE GORI LAW FIRM PC
NOVAK                ANDREW R              IL         19L0852          THE GORI LAW FIRM PC                                 OSBORNE              BONITA                IL         2019L000310      THE GORI LAW FIRM PC
NOVAK                DONALD J              IL         2014L000987      THE GORI LAW FIRM PC                                 OSBORNE              CLYDE L               MO         1922CC11625      THE GORI LAW FIRM PC
NOVAK                EDWARD                IL         19L0852          THE GORI LAW FIRM PC                                 OSBORNE              CYNTHIA               IL         16L257           THE GORI LAW FIRM PC
NOVAK                KATHY                 IL         2014L000987      THE GORI LAW FIRM PC                                 OSBORNE              GALE EDWARD           IL         16L257           THE GORI LAW FIRM PC
NOVICK               LINDA                 IL         2017L000919      THE GORI LAW FIRM PC                                 OSBORNE              PRIYATI               MO         1922CC11625      THE GORI LAW FIRM PC
NOWDEN               LINDA MARIE           IL         18L0205          THE GORI LAW FIRM PC                                 OSBORNE              ROGER                 IL         2019L000310      THE GORI LAW FIRM PC
NOXEL                DAVID                 IL         2017L000386      THE GORI LAW FIRM PC                                 OSCAR                JEFF                  IL         2019L000786      THE GORI LAW FIRM PC
NUNN                 GLADYS                IL         2016L000051      THE GORI LAW FIRM PC                                 OSCAR                JEFFREY PAUL          IL         2019L000786      THE GORI LAW FIRM PC
NUNN                 RABUTH C              IL         2016L000051      THE GORI LAW FIRM PC                                 OST                  DANA                  IL         2018L001580      THE GORI LAW FIRM PC
OÆCONNOR             SUSAN                 IL         19L0116          THE GORI LAW FIRM PC                                 OST                  KRYSTOFF              IL         2018L001580      THE GORI LAW FIRM PC
OAKES                ROBERT                MO         1722CC11747      THE GORI LAW FIRM PC                                 OSTERBIND            CAROLYN               IL         18L0309          THE GORI LAW FIRM PC
OAKES                SHARON                MO         1722CC11747      THE GORI LAW FIRM PC                                 OSTERBIND            EMMETT                IL         18L0309          THE GORI LAW FIRM PC
OBER                 NANCY                 IL         18L0767          THE GORI LAW FIRM PC                                 OUSLEY               BARBARA               IL         2016L000366      THE GORI LAW FIRM PC
OBER                 WILLIAM R             IL         18L0767          THE GORI LAW FIRM PC                                 OUSLEY               WILLIAM J             IL         2016L000366      THE GORI LAW FIRM PC
OBERLE               NANCY                 IL         2017L001441      THE GORI LAW FIRM PC                                 OVERBY               DAVID R               IL         19L0508          THE GORI LAW FIRM PC
OBERLE               THOMAS H              IL         2017L001441      THE GORI LAW FIRM PC                                 OWEN                 KEVIN                 MO         1622CC11557      THE GORI LAW FIRM PC
O'BERRY              GEORGE OTTMER         IL         13L2145          THE GORI LAW FIRM PC                                 OWEN                 SHERRY LYNETTE        IL         2018L000323      THE GORI LAW FIRM PC
O'BERRY              JOHN WAYNE            IL         19L0482          THE GORI LAW FIRM PC                                 OWENS                CARROL                IL         19L0576          THE GORI LAW FIRM PC
O'BERRY              REGINA                IL         13L2145          THE GORI LAW FIRM PC                                 OWENS                DANA L                IL         19L0861          THE GORI LAW FIRM PC
O'BERRY              RUTH THORPE           IL         19L0482          THE GORI LAW FIRM PC                                 OWENS                FRANCINE              MO         1722CC00337      THE GORI LAW FIRM PC
O'BRIEN              DAVID                 IL         12L1786          THE GORI LAW FIRM PC                                 OWENS                RICHARD EARL          IL         19L0576          THE GORI LAW FIRM PC
O'BRIEN              KAREN                 IL         12L1786          THE GORI LAW FIRM PC                                 OXFORD               HORACE                IL         2018L000170      THE GORI LAW FIRM PC
OCHOA                PASCUAL MORENO        IL         2017L001270      THE GORI LAW FIRM PC                                 OYOUNG               LINDA                 IL         2018L001040      THE GORI LAW FIRM PC
O'CONNOR             KRISTY KAY            IL         2017L001678      THE GORI LAW FIRM PC                                 OYOUNG               SHIOPING PHILIP       IL         2018L001040      THE GORI LAW FIRM PC
O'CONNOR             PAMELA                IL         18L0729          THE GORI LAW FIRM PC                                 PACE                 ALBERT L              IL         2018L000350      THE GORI LAW FIRM PC
O'CONNOR             PATRICK               IL         18L0729          THE GORI LAW FIRM PC                                 PACE                 CHARLENE              IL         2018L000350      THE GORI LAW FIRM PC
O'CONNOR             PATRICK JOSEPH        IL         19L0116          THE GORI LAW FIRM PC                                 PACHECO              JOSE                  IL         2018L000544      THE GORI LAW FIRM PC
OERTEL               DIANNE                IL         2019L001099      THE GORI LAW FIRM PC                                 PACKARD              KATHLEEN ALICE        IL         2019L001200      THE GORI LAW FIRM PC
OERTEL               WILLIAM W             IL         2019L001099      THE GORI LAW FIRM PC                                 PACKARD              PAMELA A              IL         2019L001200      THE GORI LAW FIRM PC
OFFENBURGER          BARBARA               IL         2018L001245      THE GORI LAW FIRM PC                                 PADGETT              JEANNIE JOSEPHINE     IL         12L1126          THE GORI LAW FIRM PC
OFFENBURGER          JOSEPH                IL         2018L001245      THE GORI LAW FIRM PC                                 PADGETT              TED SCOTT             IL         12L1126          THE GORI LAW FIRM PC
OGLETHORPE           CLARENCE ALLEN        IL         19L0671          THE GORI LAW FIRM PC                                 PAGAN                JOSE                  IL         2016L000542      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 719
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 54 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PAGAN                ROSA                  IL         2016L000542      THE GORI LAW FIRM PC                                 PELKEY               LISA                  IL         2017L000400      THE GORI LAW FIRM PC
PAGORIA              KATHERINE             MO         1622CC00204      THE GORI LAW FIRM PC                                 PENDER               DAVID                 IL         18L0760          THE GORI LAW FIRM PC
PAINTER              CHARLES               IL         19L0238          THE GORI LAW FIRM PC                                 PENDER               MARY                  IL         18L0760          THE GORI LAW FIRM PC
PAINTER              KATHY MARIE           IL         2015L001011      THE GORI LAW FIRM PC                                 PENKIN               MICHAEL G             IL         2017L000409      THE GORI LAW FIRM PC
PAINTER              MARY                  IL         19L0238          THE GORI LAW FIRM PC                                 PENKIN               MICHAEL G             MO         1722CC00848      THE GORI LAW FIRM PC
PALM                 ANGELA                MO         1622CC11554      THE GORI LAW FIRM PC                                 PENKIN               PETER G               IL         2017L000409      THE GORI LAW FIRM PC
PALM                 MICHAEL               MO         1622CC11554      THE GORI LAW FIRM PC                                 PENKIN               PETER G               MO         1722CC00848      THE GORI LAW FIRM PC
PALMER               HENRY                 IL         10L435           THE GORI LAW FIRM PC                                 PENNER               SANDRA                IL         2019L001201      THE GORI LAW FIRM PC
PALSGROVE            JACK                  IL         2017L000699      THE GORI LAW FIRM PC                                 PENNIE               JILL                  IL         2017L001559      THE GORI LAW FIRM PC
PALSGROVE            LUCY                  IL         2017L000699      THE GORI LAW FIRM PC                                 PENNINGTON           ALBERT                IL         2018L000122      THE GORI LAW FIRM PC
PAPAJCIK             L JEANNETTE           IL         2016L001348      THE GORI LAW FIRM PC                                 PENNINGTON           RALPH RODERICK        IL         2016L000949      THE GORI LAW FIRM PC
PAPAJCIK             ROBERT                IL         2016L001348      THE GORI LAW FIRM PC                                 PENNINGTON           RALPH RODERICK        IL         2017L000392      THE GORI LAW FIRM PC
PAPANICOLAOU         ANASTASIA             IL         2017L000940      THE GORI LAW FIRM PC                                 PEPPER               RONNIE                MO         1822CC11807      THE GORI LAW FIRM PC
PAPKE                DONALD RAY            IL         2018L000448      THE GORI LAW FIRM PC                                 PEPPER               RONNIE JOE            MO         1822CC11807      THE GORI LAW FIRM PC
PAPPAS               ANTHONY               IL         2018L000003      THE GORI LAW FIRM PC                                 PEPPER               TERRY JOE             MO         1822CC11807      THE GORI LAW FIRM PC
PAPPAS               THERESA               IL         2018L000003      THE GORI LAW FIRM PC                                 PEPPERS              JO ANNE               IL         12L1964          THE GORI LAW FIRM PC
PARISIEN             ERNEST                IL         18L0830          THE GORI LAW FIRM PC                                 PEPPERS              WILLIAM EARL          IL         12L1964          THE GORI LAW FIRM PC
PARISIEN             VERNA                 IL         18L0830          THE GORI LAW FIRM PC                                 PERALA               VERNEN                MO         1622CC10190      THE GORI LAW FIRM PC
PARK                 GARNET                IL         2018L000901      THE GORI LAW FIRM PC                                 PERALA               WINNIFRED ELLEN       MO         1622CC10190      THE GORI LAW FIRM PC
PARK                 RUSSELL ELMO          IL         2018L000901      THE GORI LAW FIRM PC                                 PERALES              HERMAN G              IL         2014L000563      THE GORI LAW FIRM PC
PARK                 TONY                  IL         2018L000901      THE GORI LAW FIRM PC                                 PERALES              LUPE                  IL         2014L000563      THE GORI LAW FIRM PC
PARKER               ANNE MARIE            IL         2017L000544      THE GORI LAW FIRM PC                                 PEREZ                FRANKLIN              IL         2018L000202      THE GORI LAW FIRM PC
PARKER               CAROLYN               MO         1722CC00100      THE GORI LAW FIRM PC                                 PERKINS              TOMMY L               IL         19L0042          THE GORI LAW FIRM PC
PARKER               DARLENE               MO         1622CC10913      THE GORI LAW FIRM PC                                 PERNA                ANTHONY               IL         2016L001490      THE GORI LAW FIRM PC
PARKER               ELLA                  IL         18L0552          THE GORI LAW FIRM PC                                 PERNA                SHARON                IL         2016L001490      THE GORI LAW FIRM PC
PARKER               HARRY                 IL         2017L000544      THE GORI LAW FIRM PC                                 PERRY                CHARLES GORDON        IL         2018L001565      THE GORI LAW FIRM PC
PARKER               JAMES                 MO         1622CC10913      THE GORI LAW FIRM PC                                 PERRY                DAVID                 IL         2018L001565      THE GORI LAW FIRM PC
PARKER               JOHNNY WASHINGTON     IL         19L0088          THE GORI LAW FIRM PC                                 PETERS               DONNA                 IL         19L0539          THE GORI LAW FIRM PC
PARKER               LAURA                 NY         20181385         THE GORI LAW FIRM PC                                 PETERS               FRANK                 IL         2018L000194      THE GORI LAW FIRM PC
PARKER               MAHLON J              NY         20181385         THE GORI LAW FIRM PC                                 PETERS               THOMAS MONROE         IL         2016L000354      THE GORI LAW FIRM PC
PARKER               PHILLIP E             IL         2019L000179      THE GORI LAW FIRM PC                                 PETERS               WILLIAM C             IL         19L0539          THE GORI LAW FIRM PC
PARKER               ROBERT A              MO         1722CC00100      THE GORI LAW FIRM PC                                 PETERSON             ANNE                  NY         1902522019       THE GORI LAW FIRM PC
PARKER               ROSE                  IL         2019L000179      THE GORI LAW FIRM PC                                 PETERSON             BARBARA               MO         1822CC11774      THE GORI LAW FIRM PC
PARKER               SANDRA JO             IL         19L0088          THE GORI LAW FIRM PC                                 PETERSON             CHARLES               IL         2017L001286      THE GORI LAW FIRM PC
PARKER               SHAWN ALEXANDER       IL         18L0552          THE GORI LAW FIRM PC                                 PETERSON             DEBBY                 IL         2017L001496      THE GORI LAW FIRM PC
PARKER               WARREN E              MO         1622CC09826      THE GORI LAW FIRM PC                                 PETERSON             DEBRA                 IL         2017L001351      THE GORI LAW FIRM PC
PARTIN               CLARENCE              IL         11L484           THE GORI LAW FIRM PC                                 PETERSON             DENISE                IL         2017L000631      THE GORI LAW FIRM PC
PARTIN               GLADYS                IL         11L484           THE GORI LAW FIRM PC                                 PETERSON             HERMAN J              IL         2018L001700      THE GORI LAW FIRM PC
PARZYCH              HELEN                 NY         6053372018       THE GORI LAW FIRM PC                                 PETERSON             PAMELA                IL         2016L000949      THE GORI LAW FIRM PC
PARZYCH              THEODORE              NY         6053372018       THE GORI LAW FIRM PC                                 PETERSON             PAMELA                IL         2017L000392      THE GORI LAW FIRM PC
PASSMORE             ROY                   IL         18L64            THE GORI LAW FIRM PC                                 PETERSON             RAYMOND               IL         2017L001351      THE GORI LAW FIRM PC
PATRICK              ANNA                  IL         19L0528          THE GORI LAW FIRM PC                                 PETERSON             SHARON                IL         2017L001286      THE GORI LAW FIRM PC
PATRICK              HERMAN F              IL         19L0528          THE GORI LAW FIRM PC                                 PETERSON             SHIRLEY               IL         2017L000631      THE GORI LAW FIRM PC
PATRICK              OLIVE                 IL         19L0362          THE GORI LAW FIRM PC                                 PETERSON             SIOBHAM               MO         1722CC00780      THE GORI LAW FIRM PC
PATRICK              TOMMY R               IL         19L0362          THE GORI LAW FIRM PC                                 PETERSON             STANLEY               IL         2017L001496      THE GORI LAW FIRM PC
PATRIE               LYNDON S              MO         1922CC11456      THE GORI LAW FIRM PC                                 PETERSON             WILLIAM L             NY         1902522019       THE GORI LAW FIRM PC
PATTERSON            MICHAELA              IL         2015L001287      THE GORI LAW FIRM PC                                 PETKOVSEK            BONNIE LEE            IL         13L1291          THE GORI LAW FIRM PC
PATTERSON            NANCY                 MO         1522CC11333      THE GORI LAW FIRM PC                                 PETKOVSEK            DAVID                 IL         13L1291          THE GORI LAW FIRM PC
PATTERSON            WENDELL L             MO         1522CC11333      THE GORI LAW FIRM PC                                 PETRONE              ANGELA                IL         2018L000403      THE GORI LAW FIRM PC
PATTON               LINDA L               MO         1922CC11454      THE GORI LAW FIRM PC                                 PFAHLER              RICHARD NORMAN        IL         2015L001678      THE GORI LAW FIRM PC
PAULFREY             ANGELA                IL         2017L000011      THE GORI LAW FIRM PC                                 PFAHLER              VIOLET                IL         2015L001678      THE GORI LAW FIRM PC
PAULFREY             DARRYL DWIGHT         IL         2017L000011      THE GORI LAW FIRM PC                                 PFLUEGER             EUGENE                IL         2015L001018      THE GORI LAW FIRM PC
PAXSON               SUSAN                 IL         2018L001626      THE GORI LAW FIRM PC                                 PHILLIPS             DAVID                 IL         2015L001680      THE GORI LAW FIRM PC
PAXSON               WESLEY C              IL         2018L001626      THE GORI LAW FIRM PC                                 PHILLIPS             DOUGLAS               IL         2018L000355      THE GORI LAW FIRM PC
PAXTON               MICHAEL BARRY         IL         19L0048          THE GORI LAW FIRM PC                                 PHILLIPS             EDYTHE                IL         2015L001680      THE GORI LAW FIRM PC
PAXTON               VALORIE               IL         19L0048          THE GORI LAW FIRM PC                                 PHILPOTT             FRITZ ALBERT          IL         13L2059          THE GORI LAW FIRM PC
PAYETTE              KAREN                 IL         2015L000155      THE GORI LAW FIRM PC                                 PHILPOTT             JO ANN                IL         13L2059          THE GORI LAW FIRM PC
PAYETTE              MICHEL                IL         2015L000155      THE GORI LAW FIRM PC                                 PHIPPS               COLEEN                IL         2016L001395      THE GORI LAW FIRM PC
PAYNE                CAROLYN               IL         2017L000401      THE GORI LAW FIRM PC                                 PHIPPS               COLEEN                MO         1622CC10968      THE GORI LAW FIRM PC
PAYNE                CHARLES W             IL         18L0762          THE GORI LAW FIRM PC                                 PHIPPS               JIM                   IL         2016L001395      THE GORI LAW FIRM PC
PAYNE                CHRISTINA             IL         18L0762          THE GORI LAW FIRM PC                                 PHIPPS               JIM                   MO         1622CC10968      THE GORI LAW FIRM PC
PAYNE                RODNEY DALE           IL         2017L000401      THE GORI LAW FIRM PC                                 PICKENS              BRANDON               IL         2019L000410      THE GORI LAW FIRM PC
PAYTON               BENNIE                IL         19L0476          THE GORI LAW FIRM PC                                 PICKENS              WENDY                 IL         2019L000410      THE GORI LAW FIRM PC
PAYTON               CHARLOTTE             IL         19L0476          THE GORI LAW FIRM PC                                 PIERCE               ALLAN                 IL         2018L001141      THE GORI LAW FIRM PC
PEACHEE              JAMES L               IL         19L0704          THE GORI LAW FIRM PC                                 PIERCE               AMANDA                MO         1622CC09823      THE GORI LAW FIRM PC
PEACHEE              MOLLY                 IL         19L0704          THE GORI LAW FIRM PC                                 PIERCE               DONNA                 MO         1522CC09911      THE GORI LAW FIRM PC
PEARCE               TIMOTHY               IL         2018L000100      THE GORI LAW FIRM PC                                 PIERCE               JAMES M               MO         1522CC09911      THE GORI LAW FIRM PC
PEARSON              ARTHUR                MO         1822CC00137      THE GORI LAW FIRM PC                                 PIERCEALL            DAVID                 IL         2018L001472      THE GORI LAW FIRM PC
PEARSON              MARK                  IL         2017L001559      THE GORI LAW FIRM PC                                 PIERSON              BETTY L               IL         2018L001109      THE GORI LAW FIRM PC
PEEBLER              DIANE                 IL         19L0244          THE GORI LAW FIRM PC                                 PIGGEE               ERNEST LESLIE         IL         18L0172          THE GORI LAW FIRM PC
PEEBLER              WILLIAM               IL         19L0244          THE GORI LAW FIRM PC                                 PIGGEE               WILMA JEAN SHORTER    IL         18L0172          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 720
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 55 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PIGUE                CHERYL                IL         19L0028          THE GORI LAW FIRM PC                                 PROCTOR              PAUL LEONARD          IL         19L0053          THE GORI LAW FIRM PC
PIGUE                JERRY MARLOE          IL         19L0028          THE GORI LAW FIRM PC                                 PROVASOLI            JOHN J                MO         1022CC11748      THE GORI LAW FIRM PC
PIKE                 DANIEL                IL         2016L001261      THE GORI LAW FIRM PC                                 PROVENCE             MONTY                 IL         2017L000268      THE GORI LAW FIRM PC
PIKE                 ELIZABETH             IL         2016L001261      THE GORI LAW FIRM PC                                 PROVENCE             SUZANNE               IL         2017L000268      THE GORI LAW FIRM PC
PILGRIM              BOBBY G               IL         14L798           THE GORI LAW FIRM PC                                 PROVOST              PATRICIA              NY         CV20180152192    THE GORI LAW FIRM PC
PIMENTEL             FRANCISCO             IL         2014L000706      THE GORI LAW FIRM PC                                 PROVOST              ROBERT                NY         CV20180152192    THE GORI LAW FIRM PC
PIMENTEL             IRENE                 IL         2014L000706      THE GORI LAW FIRM PC                                 PRUITT               JOYCE                 IL         19L0232          THE GORI LAW FIRM PC
PINKALL              SARAH                 IL         18L0227          THE GORI LAW FIRM PC                                 PRUITT               KENNETH               IL         19L0232          THE GORI LAW FIRM PC
PIPPIN               BERNICE               IL         2017L000560      THE GORI LAW FIRM PC                                 PRY                  THOMAS                IL         19L0040          THE GORI LAW FIRM PC
PIPPIN               MYRA                  IL         2017L000560      THE GORI LAW FIRM PC                                 PUBLIK               FRANCIS               IL         2019L000144      THE GORI LAW FIRM PC
PISEL                DON                   IL         2018L001475      THE GORI LAW FIRM PC                                 PUBLIK               ROBERT                IL         2019L000144      THE GORI LAW FIRM PC
PISEL                JUDITH ANN            IL         2018L001475      THE GORI LAW FIRM PC                                 PUCCI                JOSEPH                IL         2018L000313      THE GORI LAW FIRM PC
PITTMAN              DONNA                 IL         19L0850          THE GORI LAW FIRM PC                                 PUCCI                MICHAEL               IL         2018L000313      THE GORI LAW FIRM PC
PITTMAN              JOSEPH E              IL         19L0850          THE GORI LAW FIRM PC                                 PUGH                 WILLIE                IL         2017L000141      THE GORI LAW FIRM PC
PIZZA                PATRICIA              IL         2016L000856      THE GORI LAW FIRM PC                                 PULFREY              CHERYL                MO         1722CC01773      THE GORI LAW FIRM PC
PIZZILLO             FRANCES EUGENIA       MO         1922CC11995      THE GORI LAW FIRM PC                                 PULFREY              REXFORD               MO         1722CC01773      THE GORI LAW FIRM PC
PIZZILLO             ROBERT                MO         1922CC11995      THE GORI LAW FIRM PC                                 PULLIUM              PATSY                 IL         18L33            THE GORI LAW FIRM PC
PLANTE               GARY                  IL         2019L001775      THE GORI LAW FIRM PC                                 PULLIUM              ROBERT                IL         18L33            THE GORI LAW FIRM PC
PLOOF                DONALD GEORGE         IL         2017L000058      THE GORI LAW FIRM PC                                 PULLON               MARLIN                IL         2018L000532      THE GORI LAW FIRM PC
POE                  EDGAR DONALD          IL         14L735           THE GORI LAW FIRM PC                                 PUNCH                GERONE                IL         18L0511          THE GORI LAW FIRM PC
POE                  SAUNDRA J             IL         14L735           THE GORI LAW FIRM PC                                 PURDY                AUDREY                IL         2017L000539      THE GORI LAW FIRM PC
POE                  SUANDRA               IL         14L735           THE GORI LAW FIRM PC                                 PURDY                JOHNNY                IL         2017L000539      THE GORI LAW FIRM PC
POISSON              JOSEPH R              IL         2018L001485      THE GORI LAW FIRM PC                                 PURVIS               BRIAN                 MO         1622CC00418      THE GORI LAW FIRM PC
POISSON              PATSY                 IL         2018L001485      THE GORI LAW FIRM PC                                 PURVIS               EDWARD                MO         1622CC00418      THE GORI LAW FIRM PC
POKE                 JACQUELIN             MO         1422CC00599      THE GORI LAW FIRM PC                                 PURVIS               EDWARD ERVIN          MO         1622CC00418      THE GORI LAW FIRM PC
PONCE                DIANA                 IL         2019L000046      THE GORI LAW FIRM PC                                 PURVIS               GREGORY               MO         1622CC00418      THE GORI LAW FIRM PC
PONCE DE LEON        ANGELA                NY         6089322019       THE GORI LAW FIRM PC                                 PURVIS               WALLIE JOYCE          MO         1622CC00418      THE GORI LAW FIRM PC
PONCE DE LEON        EDGAR                 NY         6089322019       THE GORI LAW FIRM PC                                 PYNE                 BETTY ALICE           IL         2015L000684      THE GORI LAW FIRM PC
PONCE DE LEON        ELIANA                NY         6089322019       THE GORI LAW FIRM PC                                 PYNE                 EDWARD                IL         2015L000684      THE GORI LAW FIRM PC
PONTE                JANICE                MO         1622CC11011      THE GORI LAW FIRM PC                                 PYSZNIAK             LAWRENCE              IL         18L0123          THE GORI LAW FIRM PC
PONTE                JENNIFER              MO         1622CC11011      THE GORI LAW FIRM PC                                 PYSZNIAK             SUSAN                 IL         18L0123          THE GORI LAW FIRM PC
PONTE                JOSEPH                MO         1622CC11011      THE GORI LAW FIRM PC                                 QUALLS               ALBERT DEVANDER       IL         2017L000762      THE GORI LAW FIRM PC
POOLE                JAMES CLYDE           IL         2018L000576      THE GORI LAW FIRM PC                                 QUALLS               SONJA                 IL         2017L000762      THE GORI LAW FIRM PC
POPP                 SHELDON F             IL         18L0557          THE GORI LAW FIRM PC                                 QUASEBARTH           KERRY R               IL         2018L001378      THE GORI LAW FIRM PC
PORTER               LOIS                  MO         1522CC11183      THE GORI LAW FIRM PC                                 QUASEBARTH           SUSAN L               IL         2018L001378      THE GORI LAW FIRM PC
PORTER               SAMUEL                MO         1522CC11183      THE GORI LAW FIRM PC                                 QUASH                RUSSELL               IL         2015L000825      THE GORI LAW FIRM PC
PORTER               THOMAS                MO         1622CC11596      THE GORI LAW FIRM PC                                 QUASH                SUSIE                 IL         2015L000825      THE GORI LAW FIRM PC
PORTER               VERA                  MO         1622CC11596      THE GORI LAW FIRM PC                                 QUINALTY             HERBERT LLOYD         IL         2016L000851      THE GORI LAW FIRM PC
PORTERFIELD          FREDDIE               IL         18L0757          THE GORI LAW FIRM PC                                 QUINALTY             TONY                  IL         2016L000851      THE GORI LAW FIRM PC
PORTEUS              STEVEN LEROY          IL         2019L001612      THE GORI LAW FIRM PC                                 QUINATA              FRANCISCO D           IL         2019L000565      THE GORI LAW FIRM PC
POTTS                JANICE                IL         2017L000668      THE GORI LAW FIRM PC                                 QUINONES             DONNA E               IL         2019L001709      THE GORI LAW FIRM PC
POWEL                ANN                   IL         19L0788          THE GORI LAW FIRM PC                                 QUINONES             ESPERANZA             IL         2017L001020      THE GORI LAW FIRM PC
POWELL               BENNIE                MO         1722CC00672      THE GORI LAW FIRM PC                                 QUINONES             JOSE DE JESUS         IL         2017L001020      THE GORI LAW FIRM PC
POWELL               CALVIN                IL         19L0835          THE GORI LAW FIRM PC                                 QUINONES             LUIS A                IL         2019L001709      THE GORI LAW FIRM PC
POWELL               JERRY L               IL         19L0788          THE GORI LAW FIRM PC                                 QUINTANILLA          ADA                   IL         2017L000665      THE GORI LAW FIRM PC
POWELL               TIFFANIE              IL         2018L001141      THE GORI LAW FIRM PC                                 QUITONI              DIANE                 IL         2019L000045      THE GORI LAW FIRM PC
POWERS               LINDA                 IL         18L0768          THE GORI LAW FIRM PC                                 QUITONI              DOMINIC               IL         2019L000045      THE GORI LAW FIRM PC
POWERS               LOUIS EDWARD          IL         18L0768          THE GORI LAW FIRM PC                                 RACITI               CAROL                 NY         1902022017       THE GORI LAW FIRM PC
POWERS-VANDEHEY      MARY                  MO         1922CC12320      THE GORI LAW FIRM PC                                 RACITI               SALVATORE             NY         1902022017       THE GORI LAW FIRM PC
PRADERES             MIGDALIA              IL         2016L000600      THE GORI LAW FIRM PC                                 RACY                 JOHN W                IL         2018L000712      THE GORI LAW FIRM PC
PRADERES             MIGDALIA              IL         2016L000436      THE GORI LAW FIRM PC                                 RACY                 LARYSA                IL         2018L000712      THE GORI LAW FIRM PC
PRAHL                CHARLES ELMER         IL         19L0666          THE GORI LAW FIRM PC                                 RADIMECKY            JEFFREY               IL         2018L000041      THE GORI LAW FIRM PC
PRAHL                GREG A                IL         19L0666          THE GORI LAW FIRM PC                                 RADIMECKY            NANCY                 IL         2018L000041      THE GORI LAW FIRM PC
PRASSE               CAROL                 IL         2017L000169      THE GORI LAW FIRM PC                                 RADSICK              DONALD E              IL         2017L000428      THE GORI LAW FIRM PC
PRASSE               DAVID                 IL         2017L000169      THE GORI LAW FIRM PC                                 RADSICK              JOANNE                IL         2017L000428      THE GORI LAW FIRM PC
PRAY                 PENNY                 IL         2015L001465      THE GORI LAW FIRM PC                                 RAFTERY              MATTHEW               IL         2016L001777      THE GORI LAW FIRM PC
PRAYTOR              DEBORAH S             IL         18L0186          THE GORI LAW FIRM PC                                 RAFTERY              PAUL FRANCIS          IL         2016L001777      THE GORI LAW FIRM PC
PRAYTOR              WILLIAM THOMAS        IL         18L0186          THE GORI LAW FIRM PC                                 RAIF                 JOE E                 IL         2017L000277      THE GORI LAW FIRM PC
PRENTICE             JUDITH                MO         1522CC00515      THE GORI LAW FIRM PC                                 RAINSBERGER          DANIEL                IL         2017L000782      THE GORI LAW FIRM PC
PRICE                ELLIS                 IL         2017L000533      THE GORI LAW FIRM PC                                 RAINSBERGER          JOAN                  IL         2017L000782      THE GORI LAW FIRM PC
PRICE                JERROLD               IL         18L0359          THE GORI LAW FIRM PC                                 RAINWATER            JOHN                  MO         1722CC00420      THE GORI LAW FIRM PC
PRICE                ROSEMARY              IL         2017L000533      THE GORI LAW FIRM PC                                 RAINWATER            KEVIN                 MO         1722CC00420      THE GORI LAW FIRM PC
PRIES-SHALCHIAN      POUPAK                MO         1722CC01448      THE GORI LAW FIRM PC                                 RAINWATER            PEGGY LOU             MO         1722CC00420      THE GORI LAW FIRM PC
PRINCIPATO           CATHERINE             IL         2018L000212      THE GORI LAW FIRM PC                                 RAINWATER            ROBERT LYNN           MO         1722CC00420      THE GORI LAW FIRM PC
PRINCIPATO           LOUIS                 IL         2018L000212      THE GORI LAW FIRM PC                                 RAJSICH              JAMES PETER           IL         2017L000725      THE GORI LAW FIRM PC
PRINCIPE             DIANE                 IL         2019L001224      THE GORI LAW FIRM PC                                 RAJSICH              JULIA MARIE           IL         2017L000725      THE GORI LAW FIRM PC
PRINCIPE             FRANK                 IL         2019L001224      THE GORI LAW FIRM PC                                 RAMEY                BRIAN                 MO         1722CC11757      THE GORI LAW FIRM PC
PRINGLE              SHANNON               IL         2015L000364      THE GORI LAW FIRM PC                                 RAMEY                BRIAN                 IL         18L55            THE GORI LAW FIRM PC
PRINSEN              ALEIDA                IL         2017L000564      THE GORI LAW FIRM PC                                 RAMEY                ROBERT LEE            MO         1722CC11757      THE GORI LAW FIRM PC
PRINSEN              GRADUS                IL         2017L000564      THE GORI LAW FIRM PC                                 RAMEY                ROBERT LEE            IL         18L55            THE GORI LAW FIRM PC
PROCTOR              PAUL                  IL         19L0053          THE GORI LAW FIRM PC                                 RAMEY                SHEILA                MO         1722CC11757      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 721
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 56 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RAMEY                SHEILA                IL         18L55            THE GORI LAW FIRM PC                                 REPP                 DAVID                 IL         2016L000412      THE GORI LAW FIRM PC
RAMEY                TRACY                 MO         1722CC11757      THE GORI LAW FIRM PC                                 RESEMIUS             JOAN                  IL         2017L001676      THE GORI LAW FIRM PC
RAMEY                TRACY                 IL         18L55            THE GORI LAW FIRM PC                                 RETHMAN              DONNA R               IL         2016L000244      THE GORI LAW FIRM PC
RAMIREZ              ALEJANDRO             IL         2018L001032      THE GORI LAW FIRM PC                                 RETHMAN              EDWARD J              IL         2016L000244      THE GORI LAW FIRM PC
RAMIREZ              ANA MARIA             IL         2018L001032      THE GORI LAW FIRM PC                                 RETTIG               MICHAEL DAVID         IL         2017L001680      THE GORI LAW FIRM PC
RAMIREZ              JOHN ROBERT           IL         2016L001092      THE GORI LAW FIRM PC                                 RETTIG               SHERI                 IL         2017L001680      THE GORI LAW FIRM PC
RAMIREZ              MARIA                 IL         2017L001165      THE GORI LAW FIRM PC                                 REYES                ELIAS                 IL         2018L000509      THE GORI LAW FIRM PC
RAMIREZ              ROBERT P              IL         2016L001092      THE GORI LAW FIRM PC                                 REYES                JUANA                 IL         2018L000509      THE GORI LAW FIRM PC
RAMIREZ              SANTIAGO              IL         2017L001165      THE GORI LAW FIRM PC                                 REYES                LYDIA                 IL         2018L001366      THE GORI LAW FIRM PC
RANDALL              DIANNE                IL         2018L000099      THE GORI LAW FIRM PC                                 REYES                ROBERT J              IL         2019L001098      THE GORI LAW FIRM PC
RANDALL              ROBERT E              IL         2018L000099      THE GORI LAW FIRM PC                                 REYES                RODOLFO GIL           IL         2018L001366      THE GORI LAW FIRM PC
RANDLE               DOROTHY               MO         1622CC10842      THE GORI LAW FIRM PC                                 REYES                SHARON L              IL         2019L001098      THE GORI LAW FIRM PC
RANDLE               LEODIS                MO         1622CC10842      THE GORI LAW FIRM PC                                 REYNOLDS             ARLIE                 MO         1922CC10988      THE GORI LAW FIRM PC
RASCHKA              DAVID                 MO         1922CC12252      THE GORI LAW FIRM PC                                 REYNOLDS             BETTY JO              IL         2015L000725      THE GORI LAW FIRM PC
RASCHKA              DAVID L               MO         1922CC12252      THE GORI LAW FIRM PC                                 REYNOLDS             JUANITA               MO         1922CC10988      THE GORI LAW FIRM PC
RASCHKA              JIM                   MO         1922CC12252      THE GORI LAW FIRM PC                                 REYNOLDS             MARTHA                IL         2016L000405      THE GORI LAW FIRM PC
RASCHKA              JULIA ANN             MO         1922CC12252      THE GORI LAW FIRM PC                                 REYNOLDS             PAUL W                IL         2016L000405      THE GORI LAW FIRM PC
RASCHKA              LEONARD               MO         1922CC12252      THE GORI LAW FIRM PC                                 REYNOLDS             WILLIAM               MO         1922CC10988      THE GORI LAW FIRM PC
RASCHKA              TERRY                 MO         1922CC12252      THE GORI LAW FIRM PC                                 RHODE                DAVID                 IL         2015L001362      THE GORI LAW FIRM PC
RASHID               KENNETH WAYNE         IL         18L0196          THE GORI LAW FIRM PC                                 RHODE                JUDITH                IL         2015L001362      THE GORI LAW FIRM PC
RASHID               SARAH                 IL         18L0196          THE GORI LAW FIRM PC                                 RHODES               BETTIE RUTH           IL         12L0012          THE GORI LAW FIRM PC
RASMUSSEN            LINDA                 IL         18L0607          THE GORI LAW FIRM PC                                 RHODES               JENNIFER              IL         2019L000361      THE GORI LAW FIRM PC
RASMUSSEN            PAUL V                IL         18L0607          THE GORI LAW FIRM PC                                 RHODES               WALTER                IL         12L0012          THE GORI LAW FIRM PC
RASTATTER            PHILIP JOSEPH         IL         2019L000305      THE GORI LAW FIRM PC                                 RICE                 BONNIE                MO         1722CC01128      THE GORI LAW FIRM PC
RAY                  BILLY                 IL         2017L000540      THE GORI LAW FIRM PC                                 RICE                 GARY                  MO         1722CC01128      THE GORI LAW FIRM PC
RAY                  HERMAN                IL         18L0501          THE GORI LAW FIRM PC                                 RICE                 LINDA C               IL         2015L001534      THE GORI LAW FIRM PC
RAYBURN              KENNETH M             IL         19L0523          THE GORI LAW FIRM PC                                 RICE                 MAYNARD               IL         2015L001534      THE GORI LAW FIRM PC
REACH                CHARLES               IL         2017L000432      THE GORI LAW FIRM PC                                 RICE                 RANDALL               IL         19L0881          THE GORI LAW FIRM PC
REACH                ELIZABETH F           IL         2017L000432      THE GORI LAW FIRM PC                                 RICE                 STARLA                IL         19L0881          THE GORI LAW FIRM PC
REAM                 DONALD G              IL         18L0638          THE GORI LAW FIRM PC                                 RICHARDS             ABRAHAM)              IL         2019L000603      THE GORI LAW FIRM PC
REAM                 JOANNE                IL         18L0638          THE GORI LAW FIRM PC                                 RICHARDS             CLARA                 IL         2019L000603      THE GORI LAW FIRM PC
REAVES               JIMMY RAY             IL         18L0228          THE GORI LAW FIRM PC                                 RICHARDS             DAVID                 IL         2017L000869      THE GORI LAW FIRM PC
REAVIS               WILLIAM B             IL         2019L001067      THE GORI LAW FIRM PC                                 RICHARDS             GAIL                  IL         13L1237          THE GORI LAW FIRM PC
RECTOR               CHRISTINE             IL         18L0812          THE GORI LAW FIRM PC                                 RICHARDS             HERSHEL               MO         1522CC00137      THE GORI LAW FIRM PC
RECTOR               RONALD                IL         18L0812          THE GORI LAW FIRM PC                                 RICHARDS             MARABETH              IL         2017L000869      THE GORI LAW FIRM PC
REDDY                BARBARA               IL         2018L001107      THE GORI LAW FIRM PC                                 RICHARDS             ROY J                 IL         13L1237          THE GORI LAW FIRM PC
REDDY                DANIEL J              IL         2018L001107      THE GORI LAW FIRM PC                                 RICHARDSON           BURT                  IL         19L0554          THE GORI LAW FIRM PC
REDFEARN             SISSIE                MO         1722CC11341      THE GORI LAW FIRM PC                                 RICHARDSON           DEWEY                 IL         18L0823          THE GORI LAW FIRM PC
REECE                BOBBY WAYNE           IL         19L0220          THE GORI LAW FIRM PC                                 RICHARDSON           EDWARD                MO         1722CC00415      THE GORI LAW FIRM PC
REECE                RUTH                  IL         19L0220          THE GORI LAW FIRM PC                                 RICHARDSON           ETHEL                 IL         19L0554          THE GORI LAW FIRM PC
REED                 BARBARA COLLEEN       IL         2019L000824      THE GORI LAW FIRM PC                                 RICHARDSON           JAMES M               MO         1722CC10941      THE GORI LAW FIRM PC
REED                 EVELYN                IL         2015L001428      THE GORI LAW FIRM PC                                 RICHARDSON           JET                   MO         1722CC11341      THE GORI LAW FIRM PC
REED                 FRANKLIN DELANO       IL         2015L000463      THE GORI LAW FIRM PC                                 RICHARDSON           RONALD                IL         2015L001567      THE GORI LAW FIRM PC
REED                 HERBERT E             IL         2019L001459      THE GORI LAW FIRM PC                                 RICHARDSON           RONALD P              MO         1722CC11341      THE GORI LAW FIRM PC
REED                 IRENE                 IL         14L732           THE GORI LAW FIRM PC                                 RICHARDSON           STARLA                MO         1722CC11341      THE GORI LAW FIRM PC
REED                 JOHN T                IL         2015L001428      THE GORI LAW FIRM PC                                 RICHARDSON           WILLIE                IL         18L0823          THE GORI LAW FIRM PC
REED                 JOYCE                 IL         2015L000463      THE GORI LAW FIRM PC                                 RICHARDSON-PEARCE    SARAH                 IL         2018L000100      THE GORI LAW FIRM PC
REED                 MARION L              IL         2019L000824      THE GORI LAW FIRM PC                                 RICH-BEY             MICHAEL               IL         2017L000644      THE GORI LAW FIRM PC
REED                 ROBERT J              IL         14L732           THE GORI LAW FIRM PC                                 RICHESON             MARLENE CORA          IL         19L0114          THE GORI LAW FIRM PC
REEL                 DONNY                 MO         1722CC00739      THE GORI LAW FIRM PC                                 RICHESON             ROBERT EUGENE         IL         19L0114          THE GORI LAW FIRM PC
REEL                 LORETTA               MO         1722CC00739      THE GORI LAW FIRM PC                                 RICHEY               CATHY                 IL         2018L001281      THE GORI LAW FIRM PC
REESE                CONNIE                IL         2017L001047      THE GORI LAW FIRM PC                                 RICHEY               DANIEL                IL         2017L000961      THE GORI LAW FIRM PC
REESE                LARRY                 IL         2017L001047      THE GORI LAW FIRM PC                                 RICHEY               DAVID                 IL         2018L001281      THE GORI LAW FIRM PC
REEVES               ALAN                  MO         1522CC11114      THE GORI LAW FIRM PC                                 RICHEY               JOY                   IL         2017L000961      THE GORI LAW FIRM PC
REEVES               DOROTHY               MO         1522CC11114      THE GORI LAW FIRM PC                                 RICKMAN              FRANKLIN L            IL         18L0140          THE GORI LAW FIRM PC
REEVES               EARL N                MO         1522CC11114      THE GORI LAW FIRM PC                                 RICUCCI              ANTHONY               MO         1722CC00463      THE GORI LAW FIRM PC
REEVES               KENNETH               MO         1522CC11114      THE GORI LAW FIRM PC                                 RIDDLE               DONALD E              IL         2015L001606      THE GORI LAW FIRM PC
REEVES               SUSAN                 MO         1522CC11114      THE GORI LAW FIRM PC                                 RIDDLE               GARY                  IL         2018L001584      THE GORI LAW FIRM PC
REEVES               TAMMY                 MO         1722CC01316      THE GORI LAW FIRM PC                                 RIDDLE               VIRGINIA              IL         2018L001584      THE GORI LAW FIRM PC
REGNERUS             GEORGE                IL         19L0854          THE GORI LAW FIRM PC                                 RIDENOUR             LOWELL                IL         19L0275          THE GORI LAW FIRM PC
REGNERUS             RUTH                  IL         19L0854          THE GORI LAW FIRM PC                                 RIDGEWAY             DELORES               IL         2016L001302      THE GORI LAW FIRM PC
REID                 CYNTHIA               MO         1622CC10198      THE GORI LAW FIRM PC                                 RIDGEWAY             MELVIN                IL         2016L001302      THE GORI LAW FIRM PC
REID                 JAMEELAH              MO         1622CC10198      THE GORI LAW FIRM PC                                 RIDLEY               RAYMOND R             IL         11L483           THE GORI LAW FIRM PC
REID                 JAMES MICHAEL         MO         1622CC10198      THE GORI LAW FIRM PC                                 RILEY                CURTIS                IL         2017L000212      THE GORI LAW FIRM PC
REIFF                ALVIN EUGENE          IL         2017L000477      THE GORI LAW FIRM PC                                 RILEY                MACK                  IL         2017L000212      THE GORI LAW FIRM PC
REIFF                JEAN                  IL         2017L000477      THE GORI LAW FIRM PC                                 RILEY                MATTHEW               IL         2017L000358      THE GORI LAW FIRM PC
REIS                 ALEXANDER M           IL         2019L000497      THE GORI LAW FIRM PC                                 RINEHIMER            WANDA                 IL         2019L000601      THE GORI LAW FIRM PC
REIS                 CAROL                 IL         2017L000033      THE GORI LAW FIRM PC                                 RINEHIMER            WAYNE R               IL         2019L000601      THE GORI LAW FIRM PC
REIS                 GALE                  IL         2017L000033      THE GORI LAW FIRM PC                                 RINGER               WILBUR                IL         2016L001576      THE GORI LAW FIRM PC
RENFRO               LOIS                  IL         2015L000320      THE GORI LAW FIRM PC                                 RINGWELSKI           RONALD                IL         2019L001604      THE GORI LAW FIRM PC
RENFRO               RICKIE DALE           IL         2015L000320      THE GORI LAW FIRM PC                                 RINGWELSKI           SHARON                IL         2019L001604      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 722
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                       Complaint-Part 2 Page 57 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

RITCHERSON           ELAINE                IL         19L0747          THE GORI LAW FIRM PC                                 ROE                  DUANE                  MO         1522CC00808      THE GORI LAW FIRM PC
RITCHERSON           NORMAN HENRY          IL         19L0747          THE GORI LAW FIRM PC                                 ROE                  SHARON                 MO         1522CC00808      THE GORI LAW FIRM PC
RITCHEY              BRENDA                IL         19L0264          THE GORI LAW FIRM PC                                 ROGERO               ROLAND E               IL         2019L001220      THE GORI LAW FIRM PC
RITCHEY              JOSEPH CLYDE          IL         19L0264          THE GORI LAW FIRM PC                                 ROGERS               CARL                   IL         2017L000068      THE GORI LAW FIRM PC
RITTERSDORF          JANNELLE              IL         19L0414          THE GORI LAW FIRM PC                                 ROGERS               CLIFTON C              IL         2017L000068      THE GORI LAW FIRM PC
RIVERA               LUIS                  IL         2017L000508      THE GORI LAW FIRM PC                                 ROGERS               STEVEN                 IL         19L0845          THE GORI LAW FIRM PC
RIVERA               SANDRA                IL         2017L000508      THE GORI LAW FIRM PC                                 ROGERS               ZADIE                  IL         19L0845          THE GORI LAW FIRM PC
RIVERA SOSA          PATRIA IGNACIA        IL         2017L001152      THE GORI LAW FIRM PC                                 ROHR                 LESLIE                 IL         2017L000008      THE GORI LAW FIRM PC
RIVERS               ANNIE                 IL         2017L000159      THE GORI LAW FIRM PC                                 ROHRER               DEBRA                  IL         12L0185          THE GORI LAW FIRM PC
RIVERS               ELIJAH                IL         2017L000159      THE GORI LAW FIRM PC                                 ROHRER               KENNETH                IL         12L0185          THE GORI LAW FIRM PC
RIVETTE              MONIQUE               IL         2017L000584      THE GORI LAW FIRM PC                                 ROLAND               JOANNE                 IL         2017L000178      THE GORI LAW FIRM PC
ROACH                ANNETTE ELSIE         IL         2018L000467      THE GORI LAW FIRM PC                                 ROLAND               THOMAS C               IL         2017L000178      THE GORI LAW FIRM PC
ROACH                DAVID                 IL         2019L000124      THE GORI LAW FIRM PC                                 ROLLINSON            JOSEPH                 MO         1622CC01231      THE GORI LAW FIRM PC
ROACH                JAMES H               IL         2017L000607      THE GORI LAW FIRM PC                                 ROLLINSON            JOSEPH W               MO         1622CC01231      THE GORI LAW FIRM PC
ROACH                NANCY                 IL         2019L000124      THE GORI LAW FIRM PC                                 ROMANILLOS           ALAN LAPUT             IL         2019L001491      THE GORI LAW FIRM PC
ROACH                PEGGY                 IL         2017L000607      THE GORI LAW FIRM PC                                 ROMANILLOS           APRIL J                IL         2019L001491      THE GORI LAW FIRM PC
ROACHELL             ARDITH                IL         2017L000452      THE GORI LAW FIRM PC                                 ROMO                 ENRIQUE                IL         2018L000166      THE GORI LAW FIRM PC
ROACHELL             BOBBY GLYNN           IL         2017L000452      THE GORI LAW FIRM PC                                 ROMO                 SYLVIA                 IL         2018L000166      THE GORI LAW FIRM PC
ROADARMEL            MARK                  NY         0077992018       THE GORI LAW FIRM PC                                 ROOKS                THOMAS G               IL         19L0629          THE GORI LAW FIRM PC
ROADARMEL            PAT                   NY         0077992018       THE GORI LAW FIRM PC                                 ROSADO               MIGUEL ANTONIO         IL         2019L000046      THE GORI LAW FIRM PC
ROBBINS              GLENN                 IL         18L0322          THE GORI LAW FIRM PC                                 ROSS                 DAVID                  IL         18L0627          THE GORI LAW FIRM PC
ROBBINS              LUCILLE               IL         18L0322          THE GORI LAW FIRM PC                                 ROSS                 JUDY                   IL         18L0627          THE GORI LAW FIRM PC
ROBBINS              MARY E                IL         18L0315          THE GORI LAW FIRM PC                                 ROTERT               LOUIS ANTHONY          IL         2016L000862      THE GORI LAW FIRM PC
ROBERSON             ANDREW W              IL         2018L000296      THE GORI LAW FIRM PC                                 ROTERT               RUTH IRENE             IL         2016L000862      THE GORI LAW FIRM PC
ROBERSON             BETTY                 MO         1622CC01268      THE GORI LAW FIRM PC                                 ROTH                 FRED S                 IL         16L265           THE GORI LAW FIRM PC
ROBERSON             LISA                  IL         2018L000296      THE GORI LAW FIRM PC                                 ROTH                 HOWARD L               IL         19L0340          THE GORI LAW FIRM PC
ROBERTS              BETTY                 IL         2016L001209      THE GORI LAW FIRM PC                                 ROTHE                GLADYS MILDRED         IL         11L688           THE GORI LAW FIRM PC
ROBERTS              EDWARD T              MO         1622CC00746      THE GORI LAW FIRM PC                                 ROTHWELL             LINDA                  MO         1522CC00376      THE GORI LAW FIRM PC
ROBERTS              EVELYN                IL         2018L001508      THE GORI LAW FIRM PC                                 ROTHWELL             TERRY                  MO         1522CC00376      THE GORI LAW FIRM PC
ROBERTS              GEORGE                IL         2018L001508      THE GORI LAW FIRM PC                                 ROUSE                HENRY D                IL         19L0132          THE GORI LAW FIRM PC
ROBERTS              IVY GLEN              MO         1622CC10173      THE GORI LAW FIRM PC                                 ROUSE                THELMA                 IL         19L0132          THE GORI LAW FIRM PC
ROBERTS              MARGARET              IL         2016L000670      THE GORI LAW FIRM PC                                 ROWLAND              EUGENIA                IL         2018L001231      THE GORI LAW FIRM PC
ROBERTS              MARY E                MO         1622CC00746      THE GORI LAW FIRM PC                                 ROWLAND              TOLOVER                IL         2018L001231      THE GORI LAW FIRM PC
ROBERTS              RYAN                  MO         1622CC10173      THE GORI LAW FIRM PC                                 ROWLANDS             PATRICIA               IL         2015L000452      THE GORI LAW FIRM PC
ROBERTS              WILLIAM I             IL         2016L001209      THE GORI LAW FIRM PC                                 ROYER                JAMES                  MO         1622CC11395      THE GORI LAW FIRM PC
ROBERTSON            JOHNNY A              IL         2016L000395      THE GORI LAW FIRM PC                                 ROZIER               SANDRA                 IL         2014L001785      THE GORI LAW FIRM PC
ROBERTSON            MARION CHARLES        IL         2016L001400      THE GORI LAW FIRM PC                                 RUBIO                MARIO BARRERA          IL         2015L001067      THE GORI LAW FIRM PC
ROBERTSON            PHYLLIS MCGUIRE       IL         2016L001400      THE GORI LAW FIRM PC                                 RUELLE               CYNTHIA                IL         19L0411          THE GORI LAW FIRM PC
ROBICHAUD            LISA                  MO         1722CC00148      THE GORI LAW FIRM PC                                 RUELLE               WILLIAM                IL         19L0411          THE GORI LAW FIRM PC
ROBICHAUD            RONALD                MO         1722CC00148      THE GORI LAW FIRM PC                                 RUFF                 LINDA                  IL         2015L000894      THE GORI LAW FIRM PC
ROBICHAUD            RONALD A              MO         1722CC00148      THE GORI LAW FIRM PC                                 RUFF                 WILLIAM L              IL         2015L000894      THE GORI LAW FIRM PC
ROBINSON             DEANNA                IL         19L0049          THE GORI LAW FIRM PC                                 RUIZ                 ARNOLDO                IL         2017L001545      THE GORI LAW FIRM PC
ROBINSON             DOROTHY               MO         1522CC09894      THE GORI LAW FIRM PC                                 RUIZ                 EDMUNDO                IL         2017L000482      THE GORI LAW FIRM PC
ROBINSON             JESSE RUSSELL         IL         2017L000783      THE GORI LAW FIRM PC                                 RUIZ                 FLAVIA MARTINEZ        IL         2015L001067      THE GORI LAW FIRM PC
ROBINSON             JOYCE                 IL         2017L001433      THE GORI LAW FIRM PC                                 RUNNELS-NEVINS       LISA M                 MO         1722CC11043      THE GORI LAW FIRM PC
ROBINSON             MARCUS                IL         2018L000298      THE GORI LAW FIRM PC                                 RUNYAN               JULIE                  IL         2015L001155      THE GORI LAW FIRM PC
ROBINSON             MARY L                IL         2018L001305      THE GORI LAW FIRM PC                                 RUNYAN               MICHAEL                IL         2015L001155      THE GORI LAW FIRM PC
ROBINSON             MELVIN                MO         1522CC09894      THE GORI LAW FIRM PC                                 RUSS                 LORI                   IL         2014L001785      THE GORI LAW FIRM PC
ROBINSON             MICHEAL               IL         19L0049          THE GORI LAW FIRM PC                                 RUSSELL              ANGELA                 MO         1622CC00216      THE GORI LAW FIRM PC
ROBINSON             RICKY                 MO         1522CC09894      THE GORI LAW FIRM PC                                 RUSSELL              BETTY                  IL         2017L000379      THE GORI LAW FIRM PC
ROBINSON             RONALD                MO         1522CC09894      THE GORI LAW FIRM PC                                 RUSSELL              CLIFFORD               IL         19L0867          THE GORI LAW FIRM PC
ROBINSON             SAMANTHA              IL         15L33            THE GORI LAW FIRM PC                                 RUSSELL              DUANE                  IL         2017L001514      THE GORI LAW FIRM PC
ROBINSON             SAMUEL KERR           IL         2018L001305      THE GORI LAW FIRM PC                                 RUSSELL              JE                     IL         2017L000379      THE GORI LAW FIRM PC
ROBINSON             VIOLA                 IL         2018L000298      THE GORI LAW FIRM PC                                 RUSSELL              JAMES E                MO         1722CC11382      THE GORI LAW FIRM PC
ROBINSON             VONDA                 IL         2016L001419      THE GORI LAW FIRM PC                                 RUSSELL              JOEL                   MO         1622CC00216      THE GORI LAW FIRM PC
ROBINSON             WILLIAM E             IL         19L0158          THE GORI LAW FIRM PC                                 RUSSELL              LARRANEISHA KEYSHONE   IL         2016L000498      THE GORI LAW FIRM PC
ROBINSON-LANE        THELMA                IL         2015L001448      THE GORI LAW FIRM PC                                 RUSSELL              MARSHA                 IL         2017L001514      THE GORI LAW FIRM PC
ROCKWELL             AUNDRIA               IL         2016L000897      THE GORI LAW FIRM PC                                 RUSSELL              MICHELLE               IL         2018L001405      THE GORI LAW FIRM PC
RODGERS              ADDY                  IL         2016L001107      THE GORI LAW FIRM PC                                 RUSSELL              PAMELA                 IL         2018L001454      THE GORI LAW FIRM PC
RODGERS              ERMA                  IL         2017L000431      THE GORI LAW FIRM PC                                 RUSSELL              RANDA                  IL         19L0867          THE GORI LAW FIRM PC
RODGERS              SOLOMON W             IL         2016L001107      THE GORI LAW FIRM PC                                 RUSSELL              RAYMOND                MO         1622CC00216      THE GORI LAW FIRM PC
RODRIGUEZ            AMY S                 IL         2019L000423      THE GORI LAW FIRM PC                                 RUSSELL              RAYMOND L              MO         1622CC00216      THE GORI LAW FIRM PC
RODRIGUEZ            GLORIA                IL         2016L001770      THE GORI LAW FIRM PC                                 RUSSELL              SHELBA                 IL         2017L000109      THE GORI LAW FIRM PC
RODRIGUEZ            JESSICA               IL         2019L000403      THE GORI LAW FIRM PC                                 RUSSELL              TERESSA                MO         1622CC00216      THE GORI LAW FIRM PC
RODRIGUEZ            JOHNNY                IL         18L0821          THE GORI LAW FIRM PC                                 RUSSELL              VAN LEBRONE            IL         2017L000109      THE GORI LAW FIRM PC
RODRIGUEZ            MARIA                 IL         2016L000600      THE GORI LAW FIRM PC                                 RUSSELL              WANDA                  MO         1722CC11382      THE GORI LAW FIRM PC
RODRIGUEZ            MARIA                 IL         2016L000436      THE GORI LAW FIRM PC                                 RUSSELL              WAYNE A                IL         2018L001405      THE GORI LAW FIRM PC
RODRIGUEZ            MARYANN               IL         2018L000544      THE GORI LAW FIRM PC                                 RUSSO                BERNARD FRANK          IL         2017L000488      THE GORI LAW FIRM PC
RODRIGUEZ            NICOLINA              IL         18L0821          THE GORI LAW FIRM PC                                 RUTCHICK             CHARLES R              IL         19L0787          THE GORI LAW FIRM PC
RODRIGUEZ GARCIA     MA ARCELIA            IL         2015L000202      THE GORI LAW FIRM PC                                 RUTHERFORD           ALAN                   IL         16L38            THE GORI LAW FIRM PC
RODRIGUEZ LEON       MARIA ESTHER          MO         1422CC09545      THE GORI LAW FIRM PC                                 RUTHERFORD           NATALIE                IL         16L38            THE GORI LAW FIRM PC




                                                                                                            Appendix A - 723
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 58 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RUTTEN               AMY                   MO         1622CC11594      THE GORI LAW FIRM PC                                 SCHNEIDER            RICHARD               IL         2019L000026      THE GORI LAW FIRM PC
RUTTEN               LEO RICHARD           MO         1622CC11594      THE GORI LAW FIRM PC                                 SCHNEIDER            WILLIAM D             IL         2015L000129      THE GORI LAW FIRM PC
RUTTEN               RUTH                  MO         1622CC11594      THE GORI LAW FIRM PC                                 SCHNEIDER            YVETTE                IL         2019L000026      THE GORI LAW FIRM PC
RUZICKA              LYN                   IL         2015L001517      THE GORI LAW FIRM PC                                 SCHNITZLER           DOUGLAS               IL         19L0324          THE GORI LAW FIRM PC
RUZICKA              ROBERT                IL         2015L001517      THE GORI LAW FIRM PC                                 SCHNITZLER           LORENA                IL         19L0324          THE GORI LAW FIRM PC
SABAN                GAIL                  IL         2016L000053      THE GORI LAW FIRM PC                                 SCHOCH               ANNE P                IL         2019L000264      THE GORI LAW FIRM PC
SABAN                LEROY J               IL         2016L000053      THE GORI LAW FIRM PC                                 SCHOCH               RONALD C              IL         2019L000264      THE GORI LAW FIRM PC
SABAT                FRANK H               IL         2018L001598      THE GORI LAW FIRM PC                                 SCHOENBERGER         JEREMY                IL         2019L001632      THE GORI LAW FIRM PC
SACHSE               ANNA                  IL         2018L000098      THE GORI LAW FIRM PC                                 SCHOFIELD            MARGUERITE            IL         2018L000088      THE GORI LAW FIRM PC
SACHSE               ERNEST                IL         2018L000098      THE GORI LAW FIRM PC                                 SCHOTT               CAROL F               IL         2019L000867      THE GORI LAW FIRM PC
SALAZAR              ROSA                  IL         12L1469          THE GORI LAW FIRM PC                                 SCHOTT               THOMAS J              IL         2019L000867      THE GORI LAW FIRM PC
SALLAZ               SHERRIE               IL         2018L001070      THE GORI LAW FIRM PC                                 SCHROEDER            LYLE                  IL         2017L000233      THE GORI LAW FIRM PC
SALLAZ               WILLIAM T             IL         2018L001070      THE GORI LAW FIRM PC                                 SCHROEDER            SHERYL                IL         2017L000233      THE GORI LAW FIRM PC
SALVADOR             CARL H                IL         18L0396          THE GORI LAW FIRM PC                                 SCHROERLUCKE         CARL                  IL         19L0750          THE GORI LAW FIRM PC
SALVADOR             LORETTA               IL         18L0396          THE GORI LAW FIRM PC                                 SCHROERLUCKE         DARLEEN               IL         19L0750          THE GORI LAW FIRM PC
SAMUELSON            ADRIAN                IL         2016L000683      THE GORI LAW FIRM PC                                 SCHUBERT             BEVERLY               IL         12L797           THE GORI LAW FIRM PC
SANCHEZ              MARIE                 IL         2017L000705      THE GORI LAW FIRM PC                                 SCHUBERT             PAUL                  IL         12L797           THE GORI LAW FIRM PC
SANDER               ALAN ALFRED           IL         19L0560          THE GORI LAW FIRM PC                                 SCHUERMANN           LAURA                 IL         2019L000946      THE GORI LAW FIRM PC
SANDER               LINDA MARIE           IL         19L0560          THE GORI LAW FIRM PC                                 SCHUESSLER           DELVIN                IL         11L538           THE GORI LAW FIRM PC
SANDERS              BRENDA                IL         2016L000844      THE GORI LAW FIRM PC                                 SCHUESSLER           ROSALIE               IL         11L538           THE GORI LAW FIRM PC
SANDERS              CHARLES ROBERT        IL         2016L000844      THE GORI LAW FIRM PC                                 SCHULTZ              BERNARD               IL         2016L001701      THE GORI LAW FIRM PC
SANDERS              STEVEN                IL         10L602           THE GORI LAW FIRM PC                                 SCHULTZ              GWENNIETH             IL         2016L001701      THE GORI LAW FIRM PC
SANDS                CAROL                 IL         19L0868          THE GORI LAW FIRM PC                                 SCHULZ               SANDRA L              IL         18L0557          THE GORI LAW FIRM PC
SANDS                EDWARD                IL         19L0868          THE GORI LAW FIRM PC                                 SCHUPPERT            GERALD                IL         19L0182          THE GORI LAW FIRM PC
SANERT               NILE                  MO         1422CC08983      THE GORI LAW FIRM PC                                 SCHWARTZ             VICTOR                IL         2015L000444      THE GORI LAW FIRM PC
SANERT               SYLVIA                MO         1422CC08983      THE GORI LAW FIRM PC                                 SCHWERY              WES                   IL         2018L001277      THE GORI LAW FIRM PC
SANNICANDRO          EVA                   IL         2019L001516      THE GORI LAW FIRM PC                                 SCOTT                BRENDA M              IL         2018L000348      THE GORI LAW FIRM PC
SANNICANDRO          MICHAEL               IL         2019L001516      THE GORI LAW FIRM PC                                 SCOTT                CLAUDETTE             IL         2017L000576      THE GORI LAW FIRM PC
SANTOS               OLGA                  IL         2016L001463      THE GORI LAW FIRM PC                                 SCOTT                GARY                  LA         201701610        THE GORI LAW FIRM PC
SAPIEN               LETICIA               IL         2017L001545      THE GORI LAW FIRM PC                                 SCOTT                LARRIA                IL         2019L000954      THE GORI LAW FIRM PC
SAPP                 JOHNNY                IL         18L0381          THE GORI LAW FIRM PC                                 SCOTT                LOUIS JOSEPH          IL         2017L000576      THE GORI LAW FIRM PC
SARGEANT             BRUCE                 IL         2017L000007      THE GORI LAW FIRM PC                                 SCOTT                MICHELLE              LA         201701610        THE GORI LAW FIRM PC
SARGEANT             LOIS                  IL         2017L000007      THE GORI LAW FIRM PC                                 SCOTT                NORMA JEAN            IL         2018L000450      THE GORI LAW FIRM PC
SARVER               VALERIE               IL         2016L001106      THE GORI LAW FIRM PC                                 SCOTT                THERESA               LA         201701610        THE GORI LAW FIRM PC
SAVAGE               DOLLIE JEAN           IL         18L0300          THE GORI LAW FIRM PC                                 SCOTT-PRICE          CATHERINE             LA         201701610        THE GORI LAW FIRM PC
SAVAGE               DOROTHY W             IL         2019L000674      THE GORI LAW FIRM PC                                 SCROGGINS            ROGER                 IL         2019L001692      THE GORI LAW FIRM PC
SAVAGE               JERRY DON             IL         18L0300          THE GORI LAW FIRM PC                                 SCROGGINS            TERRI                 IL         2019L001692      THE GORI LAW FIRM PC
SAVAGE               TRACY                 IL         19L0361          THE GORI LAW FIRM PC                                 SEAGER               KENNETH               MO         1622CC11601      THE GORI LAW FIRM PC
SAVAGE               WILLIAM D             IL         2019L000674      THE GORI LAW FIRM PC                                 SEAGER               LAURIE                MO         1622CC11601      THE GORI LAW FIRM PC
SC HILLIGO           JANET SUE             MO         1922CC11310      THE GORI LAW FIRM PC                                 SEAGO                BERT C                MO         1722CC00810      THE GORI LAW FIRM PC
SCHADEWALD           CHRISTINE M           IL         2019L001093      THE GORI LAW FIRM PC                                 SEGALE               GEORGE ELMER          IL         2015L000048      THE GORI LAW FIRM PC
SCHADEWALD           JAMES A               IL         2019L001093      THE GORI LAW FIRM PC                                 SEGALE               IRENE                 IL         2015L000048      THE GORI LAW FIRM PC
SCHAEFER             JANICE                IL         18L0360          THE GORI LAW FIRM PC                                 SEGURA               SILVIA                IL         2018L000744      THE GORI LAW FIRM PC
SCHAEFER             ROBERT L              IL         18L0360          THE GORI LAW FIRM PC                                 SEGURA SAHAGUN       REFUGIO               IL         2018L000744      THE GORI LAW FIRM PC
SCHALLER             REBECCA               IL         2018L000653      THE GORI LAW FIRM PC                                 SEIBERT              AUBREY                IL         2018L001194      THE GORI LAW FIRM PC
SCHELL               JANOS                 MO         1522CC11393      THE GORI LAW FIRM PC                                 SEIBERT              DONNA                 IL         2018L001194      THE GORI LAW FIRM PC
SCHELL               KRISTYN               MO         1922CC08910      THE GORI LAW FIRM PC                                 SELIX                MARK                  IL         18L0831          THE GORI LAW FIRM PC
SCHELL               PATRICIA              MO         1522CC11393      THE GORI LAW FIRM PC                                 SELIX                MERLYN DEAN           IL         18L0831          THE GORI LAW FIRM PC
SCHILLIGO            ROBERT                MO         1922CC11310      THE GORI LAW FIRM PC                                 SELPH                DACIA RHEA            MO         1622CC09999      THE GORI LAW FIRM PC
SCHIMKE              MARY                  MO         1622CC11594      THE GORI LAW FIRM PC                                 SERINO               ROBERT                IL         2019L000451      THE GORI LAW FIRM PC
SCHLAGEL             MARK                  IL         2019L001733      THE GORI LAW FIRM PC                                 SERINO               ROSEMARIE             IL         2019L000451      THE GORI LAW FIRM PC
SCHLITTER            JOAN                  IL         2016L001443      THE GORI LAW FIRM PC                                 SERRANO              LOUIS J               IL         2018L000687      THE GORI LAW FIRM PC
SCHLITTER            ROYAL                 IL         2016L001443      THE GORI LAW FIRM PC                                 SERRANO              RICHARD               IL         2018L000687      THE GORI LAW FIRM PC
SCHMECKPEPER         DEBRA                 IL         2016L000846      THE GORI LAW FIRM PC                                 SERVICE              DONNA                 IL         2015L000322      THE GORI LAW FIRM PC
SCHMECKPEPER         GARY LEE              IL         2016L000846      THE GORI LAW FIRM PC                                 SERVICE              GARY EUGENE           IL         2015L000322      THE GORI LAW FIRM PC
SCHMIDT              D MARIA               IL         2016L001613      THE GORI LAW FIRM PC                                 SERWOLD              GARY                  IL         19L0087          THE GORI LAW FIRM PC
SCHMIDT              JOANN                 MO         1922CC11925      THE GORI LAW FIRM PC                                 SEVERIN              LILLIE                IL         2017L000418      THE GORI LAW FIRM PC
SCHMIDT              KAREN                 IL         2019L000094      THE GORI LAW FIRM PC                                 SEVERIN              LILLY                 IL         2017L000418      THE GORI LAW FIRM PC
SCHMIDT              PAUL E                IL         19L0126          THE GORI LAW FIRM PC                                 SEVERIN              WALTER P              IL         2017L000418      THE GORI LAW FIRM PC
SCHMIDT              ROBIN                 MO         1922CC11925      THE GORI LAW FIRM PC                                 SEVILLA              DOROTHY               IL         2018L001252      THE GORI LAW FIRM PC
SCHMIDT              RUSSELL B             IL         2019L000094      THE GORI LAW FIRM PC                                 SEVILLA              JOSEPH                IL         2018L001252      THE GORI LAW FIRM PC
SCHMIDT              VELMA                 IL         19L0126          THE GORI LAW FIRM PC                                 SEYMOUR              GARY                  IL         2017L001311      THE GORI LAW FIRM PC
SCHMITT              DONNA                 IL         14L641           THE GORI LAW FIRM PC                                 SEYMOUR              KAY                   IL         2017L001311      THE GORI LAW FIRM PC
SCHMITT              GARY ALLEN            IL         14L641           THE GORI LAW FIRM PC                                 SHADE                STEPHEN SAMUEL        IL         2017L000435      THE GORI LAW FIRM PC
SCHMITT              GEORGE                IL         2018L000581      THE GORI LAW FIRM PC                                 SHAFFER              CHARLES RENFRO        IL         16L244           THE GORI LAW FIRM PC
SCHMITT              GILBERT               IL         2018L000857      THE GORI LAW FIRM PC                                 SHAFFER              JODY                  IL         16L244           THE GORI LAW FIRM PC
SCHMITT              JANET                 IL         2018L000581      THE GORI LAW FIRM PC                                 SHAFFER              VIRGINIA              MO         1722CC00042      THE GORI LAW FIRM PC
SCHMITT              ROSE MARY             IL         2018L000857      THE GORI LAW FIRM PC                                 SHAFFER              VIRGINIA              IL         18L0535          THE GORI LAW FIRM PC
SCHMITZ              DIANNE                MO         1622CC02634      THE GORI LAW FIRM PC                                 SHALCHIAN            HASSAN                MO         1722CC01448      THE GORI LAW FIRM PC
SCHMITZ              LAVERNE               MO         1622CC02634      THE GORI LAW FIRM PC                                 SHALCHIAN            PARASTOU              MO         1722CC01448      THE GORI LAW FIRM PC
SCHNEIDER            BEVERLY               IL         2015L000129      THE GORI LAW FIRM PC                                 SHANLY               JOHN M                IL         2017L000887      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 724
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 59 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SHANLY               MARK J                IL         2017L000887      THE GORI LAW FIRM PC                                 SHIREY               DORIS                 IL         19L0011          THE GORI LAW FIRM PC
SHANNON              PEGGY LOUISE          IL         2019L000305      THE GORI LAW FIRM PC                                 SHIREY               STEPHEN               IL         19L0011          THE GORI LAW FIRM PC
SHARE                ELLEN                 IL         2018L000431      THE GORI LAW FIRM PC                                 SHOE                 DEBORAH               IL         2017L001673      THE GORI LAW FIRM PC
SHARE                VALENTINE             IL         2018L000431      THE GORI LAW FIRM PC                                 SHOE                 SAMUEL                IL         2017L001673      THE GORI LAW FIRM PC
SHAREN               JAMES                 IL         2017L000016      THE GORI LAW FIRM PC                                 SHREVE               CLAUDA GAIL           IL         10L615           THE GORI LAW FIRM PC
SHARP                JAMES                 IL         2017L000793      THE GORI LAW FIRM PC                                 SHREVE               KENNETH LEROY         IL         10L615           THE GORI LAW FIRM PC
SHARP                JAMES                 MO         1622CC11374      THE GORI LAW FIRM PC                                 SHUMATE              GRADY                 MO         1622CC11614      THE GORI LAW FIRM PC
SHARP                MARY                  MO         1622CC11374      THE GORI LAW FIRM PC                                 SICKELS              MARVIN                IL         18L39            THE GORI LAW FIRM PC
SHARP                PATSY                 IL         2017L000793      THE GORI LAW FIRM PC                                 SICKELS              RUBY                  IL         18L39            THE GORI LAW FIRM PC
SHARP                RALPH                 MO         1622CC11374      THE GORI LAW FIRM PC                                 SIDDONS              LORI                  IL         2018L000912      THE GORI LAW FIRM PC
SHARP                RANDALL               MO         1622CC11374      THE GORI LAW FIRM PC                                 SILAO                ERNESTO               IL         2016L001776      THE GORI LAW FIRM PC
SHARPE               KAREN                 IL         2015L000700      THE GORI LAW FIRM PC                                 SILAO                FELY                  IL         2016L001776      THE GORI LAW FIRM PC
SHARPE               STEPHEN WHEATLEY      IL         2015L000700      THE GORI LAW FIRM PC                                 SILLS                DOROTHY               IL         18L0661          THE GORI LAW FIRM PC
SHASHAGUAY           JON F                 IL         2019L000970      THE GORI LAW FIRM PC                                 SILLS                RAY                   IL         18L0661          THE GORI LAW FIRM PC
SHASHAGUAY           LYNN E                IL         2019L000970      THE GORI LAW FIRM PC                                 SILVA                MARY                  IL         2016L001135      THE GORI LAW FIRM PC
SHAW                 GLADYS                IL         2017L000295      THE GORI LAW FIRM PC                                 SIMEON               KATHLEEN              NY         1902262019       THE GORI LAW FIRM PC
SHAW                 LYNN E                IL         16L266           THE GORI LAW FIRM PC                                 SIMEON               RAYMOND               NY         1902262019       THE GORI LAW FIRM PC
SHAW                 MARY ANN              IL         2015L000308      THE GORI LAW FIRM PC                                 SIMMONS              BARBARA               IL         2017L000434      THE GORI LAW FIRM PC
SHAW                 ROBERT EDWARD         IL         2017L000295      THE GORI LAW FIRM PC                                 SIMMONS              BEVERLY               MO         1722CC00461      THE GORI LAW FIRM PC
SHAW                 SHERYL                IL         2015L000308      THE GORI LAW FIRM PC                                 SIMMONS              DORIS                 IL         2016L000447      THE GORI LAW FIRM PC
SHEA                 JOSEPH                IL         2017L000422      THE GORI LAW FIRM PC                                 SIMMONS              ELIZABETH G           IL         19L0660          THE GORI LAW FIRM PC
SHEA                 LINDA                 IL         2017L000422      THE GORI LAW FIRM PC                                 SIMMONS              GREGORY               IL         2016L000447      THE GORI LAW FIRM PC
SHEARHART            JULIE                 IL         2017L000586      THE GORI LAW FIRM PC                                 SIMMONS              ROY WILSON            IL         2017L000434      THE GORI LAW FIRM PC
SHEARHART            ROBERT                IL         2017L000586      THE GORI LAW FIRM PC                                 SIMMONS              STERLING              MO         1722CC00461      THE GORI LAW FIRM PC
SHELBY               KENDRICK              IL         18L0313          THE GORI LAW FIRM PC                                 SIMMONS              STEVEN                MO         1622CC00813      THE GORI LAW FIRM PC
SHELBY               LORA                  IL         2018L001153      THE GORI LAW FIRM PC                                 SINGER               ELAINE                IL         2015L000123      THE GORI LAW FIRM PC
SHELBY               MARILYN               IL         18L0313          THE GORI LAW FIRM PC                                 SINGER               GERALD                IL         2015L000123      THE GORI LAW FIRM PC
SHELDON              DAVID                 MO         1622CC11320      THE GORI LAW FIRM PC                                 SIOA                 ROBERT                IL         14L497           THE GORI LAW FIRM PC
SHELDON              LAURA                 MO         1622CC11320      THE GORI LAW FIRM PC                                 SIOUI                GASTON J              IL         2018L000403      THE GORI LAW FIRM PC
SHELDON              VIRGINIA SHIRLEY      MO         1622CC11320      THE GORI LAW FIRM PC                                 SISTO-HIGBEE         BONITA                IL         19L0115          THE GORI LAW FIRM PC
SHELL                CLARENCE              IL         13L680           THE GORI LAW FIRM PC                                 SKIBA                JOHN STEPHEN          IL         2017L000672      THE GORI LAW FIRM PC
SHELL                FRANCES               IL         13L680           THE GORI LAW FIRM PC                                 SKIBA                PATRICIA              IL         2017L000672      THE GORI LAW FIRM PC
SHELL                KRISTAL               IL         2017L000137      THE GORI LAW FIRM PC                                 SKINNER              CHRISTINE             MO         1622CC11602      THE GORI LAW FIRM PC
SHELL                STEVIE                IL         2017L000137      THE GORI LAW FIRM PC                                 SKINNER              JOE R                 IL         2019L001677      THE GORI LAW FIRM PC
SHELLENBARGER        R GAIL                MO         1522CC00355      THE GORI LAW FIRM PC                                 SKINNER              LADONNA               IL         2019L001677      THE GORI LAW FIRM PC
SHELLENBARGER        ROGER                 MO         1522CC00355      THE GORI LAW FIRM PC                                 SKINNER              WESLEY                MO         1622CC11602      THE GORI LAW FIRM PC
SHELTON              DEBRA                 IL         2016L001421      THE GORI LAW FIRM PC                                 SKRAPITS             GAYLE                 IL         2015L000725      THE GORI LAW FIRM PC
SHELTON              FRANKLIN C            IL         19L0467          THE GORI LAW FIRM PC                                 SLADE                ANNETHA               MO         1522CC09799      THE GORI LAW FIRM PC
SHELTON              HELEN                 IL         19L0467          THE GORI LAW FIRM PC                                 SLADE                ERIC                  MO         1522CC09799      THE GORI LAW FIRM PC
SHELTON              JAMES                 IL         2016L001421      THE GORI LAW FIRM PC                                 SLADE                GORDON EDWARD         MO         1522CC09799      THE GORI LAW FIRM PC
SHELTON              REGINA                IL         19L0118          THE GORI LAW FIRM PC                                 SLADE                JASON                 MO         1522CC09799      THE GORI LAW FIRM PC
SHELTON              RUTH ANN              IL         19L0118          THE GORI LAW FIRM PC                                 SLAMA                BENJAMIN              IL         2017L001088      THE GORI LAW FIRM PC
SHEPHERD             CHERRIE A             MO         1522CC11122      THE GORI LAW FIRM PC                                 SLAMA                GAIL                  IL         2017L001088      THE GORI LAW FIRM PC
SHEPHERD             EDWARD                MO         1522CC11122      THE GORI LAW FIRM PC                                 SLATE                CRAIG                 MO         0822CC08880      THE GORI LAW FIRM PC
SHEPHERD             HAROLD                MO         1522CC11122      THE GORI LAW FIRM PC                                 SLATE                JOE LEE               MO         0822CC08880      THE GORI LAW FIRM PC
SHEPHERD             HARRIET               MO         1522CC11122      THE GORI LAW FIRM PC                                 SLICE                IRMA                  IL         2019L001227      THE GORI LAW FIRM PC
SHEPHERD             JIMMIE                MO         1522CC11122      THE GORI LAW FIRM PC                                 SLICE                ROBERT A              IL         2019L001227      THE GORI LAW FIRM PC
SHEPHERD             LEON JIMMIE           MO         1522CC11122      THE GORI LAW FIRM PC                                 SLIWICKI             CAROLLYN              IL         2017L001544      THE GORI LAW FIRM PC
SHEPHERD             MICHAEL               MO         1522CC11122      THE GORI LAW FIRM PC                                 SLIWICKI             ROBERT                IL         2017L001544      THE GORI LAW FIRM PC
SHEPHERD             PAMELA SUE            IL         19L0130          THE GORI LAW FIRM PC                                 SLOMA                MARION                IL         2017L000438      THE GORI LAW FIRM PC
SHEPHERD             ROD R                 IL         19L0130          THE GORI LAW FIRM PC                                 SLONE                CLINUS                IL         09L278           THE GORI LAW FIRM PC
SHEPHERD             SHIRLEY               MO         1522CC11122      THE GORI LAW FIRM PC                                 SLONE                TERESA                IL         09L278           THE GORI LAW FIRM PC
SHEPHERD MILLER      LINDA                 MO         1522CC11122      THE GORI LAW FIRM PC                                 SLUTZ                KIMBERLY              MO         1222CC09142      THE GORI LAW FIRM PC
SHEPHERD RANDOLPH    EDNA                  MO         1522CC11122      THE GORI LAW FIRM PC                                 SMART                GARY                  MO         1622CC10572      THE GORI LAW FIRM PC
SHEPHERD-DYER        BERTHA                MO         1522CC11122      THE GORI LAW FIRM PC                                 SMERIK               MARGARET SUE          IL         2018L001744      THE GORI LAW FIRM PC
SHEPPARD             MIKE                  IL         2016L000491      THE GORI LAW FIRM PC                                 SMERIK               RANDY                 IL         2018L001744      THE GORI LAW FIRM PC
SHEPPARD             STANLEY ROSS          IL         2016L000491      THE GORI LAW FIRM PC                                 SMITH                ANITA                 MO         1622CC11337      THE GORI LAW FIRM PC
SHERIDAN             MARGARET              IL         2018L001055      THE GORI LAW FIRM PC                                 SMITH                BARBARA A             IL         2019L000915      THE GORI LAW FIRM PC
SHERIDAN             RICHARD EMMETT        IL         2018L001055      THE GORI LAW FIRM PC                                 SMITH                BERNETTA              LA         201800422        THE GORI LAW FIRM PC
SHERMAN              CHARLES               IL         2019L000058      THE GORI LAW FIRM PC                                 SMITH                BETTY                 IL         2018L000570      THE GORI LAW FIRM PC
SHERMAN              ELLEN-ROSE            IL         2019L000058      THE GORI LAW FIRM PC                                 SMITH                BILLY JAMES           IL         18L0128          THE GORI LAW FIRM PC
SHERMAN              LORI                  IL         2017L000910      THE GORI LAW FIRM PC                                 SMITH                CARL E                MO         1722CC12026      THE GORI LAW FIRM PC
SHERMAN              RANDY                 IL         2017L000910      THE GORI LAW FIRM PC                                 SMITH                CHARLES H             MO         1822CC10595      THE GORI LAW FIRM PC
SHIELDS              CONNIE                IL         18L0234          THE GORI LAW FIRM PC                                 SMITH                CORA J                MO         1722CC12026      THE GORI LAW FIRM PC
SHIELDS              JOAN ANN              IL         18L0159          THE GORI LAW FIRM PC                                 SMITH                CURTIS DEAN           IL         2017L000932      THE GORI LAW FIRM PC
SHIELDS              RICHARD JOSEPH        IL         18L0234          THE GORI LAW FIRM PC                                 SMITH                DANIEL M              IL         2019L000561      THE GORI LAW FIRM PC
SHIEW                BILLY JOE             IL         12L530           THE GORI LAW FIRM PC                                 SMITH                DAVID W               MO         1722CC00754      THE GORI LAW FIRM PC
SHIEW                NANCY                 IL         12L530           THE GORI LAW FIRM PC                                 SMITH                DEBORAH A             IL         19L0668          THE GORI LAW FIRM PC
SHIPLE               LAWRENCE CHARLES      IL         18L87            THE GORI LAW FIRM PC                                 SMITH                DELBERT               MO         1622CC11337      THE GORI LAW FIRM PC
SHIPLE               LAWRENCE P            IL         18L87            THE GORI LAW FIRM PC                                 SMITH                DENNIS B              IL         19L0857          THE GORI LAW FIRM PC
SHIPLEY              ORVILLE E             IL         03L1134          THE GORI LAW FIRM PC                                 SMITH                EUGENE                IL         19L0062          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 725
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 60 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SMITH                GARY                  IL         13L1883          THE GORI LAW FIRM PC                                 STALTER              PAUL E                IL         18L0548          THE GORI LAW FIRM PC
SMITH                GARY CURTIS           IL         2018L000465      THE GORI LAW FIRM PC                                 STAM                 DONNA                 IL         2017L000555      THE GORI LAW FIRM PC
SMITH                GLENDA                IL         18L27            THE GORI LAW FIRM PC                                 STAM                 WILLIS                IL         2017L000555      THE GORI LAW FIRM PC
SMITH                HENRY W               IL         2019L001462      THE GORI LAW FIRM PC                                 STAMPER              RICHARD               IL         19L0840          THE GORI LAW FIRM PC
SMITH                JAMES EARL            IL         2019L000915      THE GORI LAW FIRM PC                                 STANEK               HELEN M               IL         2015L001287      THE GORI LAW FIRM PC
SMITH                JESSIE B              IL         2017L000697      THE GORI LAW FIRM PC                                 STANFIELD            DORIS                 IL         19L0832          THE GORI LAW FIRM PC
SMITH                KATHERINE             IL         19L0062          THE GORI LAW FIRM PC                                 STANLEY              ELLA                  IL         2017L000660      THE GORI LAW FIRM PC
SMITH                LARRY J               MO         1922CC09964      THE GORI LAW FIRM PC                                 STANLEY              LAWSON L              IL         2019L000296      THE GORI LAW FIRM PC
SMITH                LEONARD S             LA         201800422        THE GORI LAW FIRM PC                                 STANLEY              SANDRA GALE           IL         2019L000296      THE GORI LAW FIRM PC
SMITH                LEROY D               MO         1922CC08015      THE GORI LAW FIRM PC                                 STANLEY              TRACY                 IL         2017L000660      THE GORI LAW FIRM PC
SMITH                LINDA                 MO         1922CC08015      THE GORI LAW FIRM PC                                 STANO                RITA                  IL         2018L001162      THE GORI LAW FIRM PC
SMITH                MICHAEL H             IL         19L0842          THE GORI LAW FIRM PC                                 STANO                STEPHEN ALLEN         IL         2018L001162      THE GORI LAW FIRM PC
SMITH                MONICA                MO         1722CC00754      THE GORI LAW FIRM PC                                 STARK                ALBERT                IL         12L688           THE GORI LAW FIRM PC
SMITH                PATRICIA A            IL         13L1883          THE GORI LAW FIRM PC                                 STARK                FRANCES               IL         12L688           THE GORI LAW FIRM PC
SMITH                PATRICIA M            IL         19L0857          THE GORI LAW FIRM PC                                 STAUB                DAWN                  IL         2018L000772      THE GORI LAW FIRM PC
SMITH                RALPH E               IL         2017L000307      THE GORI LAW FIRM PC                                 STEBBING             DARRELL W             MO         1922CC11454      THE GORI LAW FIRM PC
SMITH                RANDY                 MO         1722CC00337      THE GORI LAW FIRM PC                                 STEBNER              LYNNELL               IL         2018L001110      THE GORI LAW FIRM PC
SMITH                RICHARD LEE           MO         1722CC00337      THE GORI LAW FIRM PC                                 STENHOUSE            GERTRUDE              MO         1722CC00790      THE GORI LAW FIRM PC
SMITH                RICHARD OSCAR         IL         2016L001626      THE GORI LAW FIRM PC                                 STENHOUSE            RUBEN                 MO         1722CC00790      THE GORI LAW FIRM PC
SMITH                ROBERT                IL         18L27            THE GORI LAW FIRM PC                                 STEPHENS             DOYLE EDWIN           IL         2014L001620      THE GORI LAW FIRM PC
SMITH                ROBERT HARRISON       NY         1902932019       THE GORI LAW FIRM PC                                 STEPHENS             MARY ROEBUCK          IL         2014L001620      THE GORI LAW FIRM PC
SMITH                SD                    IL         12L1773          THE GORI LAW FIRM PC                                 STEPHENS             ONEIDA                MO         1722CC00544      THE GORI LAW FIRM PC
SMITH                SAMMIE L              IL         12L1773          THE GORI LAW FIRM PC                                 STEPHENSON           JUDY                  IL         2019L000411      THE GORI LAW FIRM PC
SMITH                SANDRA F              IL         2018L000465      THE GORI LAW FIRM PC                                 STEPLER              JOYCE                 MO         1522CC00926      THE GORI LAW FIRM PC
SMITH                STEVEN                MO         1622CC09887      THE GORI LAW FIRM PC                                 STEPLER              SAMUEL                MO         1522CC00926      THE GORI LAW FIRM PC
SMITH                SUZIE                 IL         2019L000561      THE GORI LAW FIRM PC                                 STERLING             MARY ANN              IL         2017L001036      THE GORI LAW FIRM PC
SMITH                TERRY L               IL         19L0668          THE GORI LAW FIRM PC                                 STERLING             THOMAS                IL         2017L001036      THE GORI LAW FIRM PC
SMITH                VICTORIA              IL         2019L001462      THE GORI LAW FIRM PC                                 STEVENS              BYRON                 IL         18L79            THE GORI LAW FIRM PC
SMITH                VIRGINIA              IL         2016L000309      THE GORI LAW FIRM PC                                 STEVENS              PAULA                 IL         18L79            THE GORI LAW FIRM PC
SMITH                WILLIE EDWARD         IL         2018L000570      THE GORI LAW FIRM PC                                 STEWART              DEWEY R               IL         2019L000419      THE GORI LAW FIRM PC
SMITH MERRITT        DOROTHY LEE           MO         1422CC09699      THE GORI LAW FIRM PC                                 STEWART              JOHN TERRY            IL         19L0269          THE GORI LAW FIRM PC
SMITH WESTON         PATRICIA ROSE         MO         1422CC09699      THE GORI LAW FIRM PC                                 STEWART              JOLIE                 MO         1722CC10686      THE GORI LAW FIRM PC
SMOCK                GEORGE H              IL         2019L000371      THE GORI LAW FIRM PC                                 STEWART              JOSEPH                IL         2016L000131      THE GORI LAW FIRM PC
SMOCK                LOIS                  IL         2019L000371      THE GORI LAW FIRM PC                                 STEWART              MARY CORLEY           IL         14L28            THE GORI LAW FIRM PC
SMOLK                RICHARD               PA         190501228        THE GORI LAW FIRM PC                                 STEWART              RACHEL L              IL         2016L000131      THE GORI LAW FIRM PC
SNOW                 CATHY                 LA         201711957        THE GORI LAW FIRM PC                                 STEWART              SHERRI                IL         2018L000521      THE GORI LAW FIRM PC
SOBER                DANA LEE              MO         1422CC09699      THE GORI LAW FIRM PC                                 STEWART              TINA                  IL         19L0269          THE GORI LAW FIRM PC
SOBER                EUGEN FLEXON          MO         1422CC09699      THE GORI LAW FIRM PC                                 STEWART              WAYNE D               IL         14L28            THE GORI LAW FIRM PC
SOBER                EUGENE F              MO         1422CC09699      THE GORI LAW FIRM PC                                 STICKLINE            JOYCE ELAINE          IL         11L751           THE GORI LAW FIRM PC
SOBER                LOUISE                MO         1422CC09699      THE GORI LAW FIRM PC                                 STICKLINE            WILLFRID JOHN         IL         11L751           THE GORI LAW FIRM PC
SOBER ADAMS          DEBRA RENEE           MO         1422CC09699      THE GORI LAW FIRM PC                                 STIRK                ALBERT                IL         2018L000310      THE GORI LAW FIRM PC
SOLOMAN              ELIZABETH             IL         15L577           THE GORI LAW FIRM PC                                 STIRK                JANET                 IL         2018L000310      THE GORI LAW FIRM PC
SOLOMON              GEORGE R              IL         15L577           THE GORI LAW FIRM PC                                 STITCHER             PATRICIA              IL         2018L001746      THE GORI LAW FIRM PC
SOLOMON              NANCY                 IL         2019L001428      THE GORI LAW FIRM PC                                 STITT                ALAN                  MO         1722CC00507      THE GORI LAW FIRM PC
SOLTYS               CAROL L               MO         1622CC01251      THE GORI LAW FIRM PC                                 STITT                JOHN                  MO         1722CC00507      THE GORI LAW FIRM PC
SOLTYS               ROBERT EUGENE         MO         1622CC01251      THE GORI LAW FIRM PC                                 STODDARD             GREGORY C             IL         2017L000653      THE GORI LAW FIRM PC
SOLTYS               ROBERT G              MO         1622CC01251      THE GORI LAW FIRM PC                                 STODDARD             NANCY                 IL         2017L000653      THE GORI LAW FIRM PC
SOLTYS               SCOTT                 MO         1622CC01251      THE GORI LAW FIRM PC                                 STOETZEL             DANIEL                MO         1722CC02311      THE GORI LAW FIRM PC
SOMMER               KRISTINE              MO         1722CC01241      THE GORI LAW FIRM PC                                 STOIBER              MARIA G               IL         19L0521          THE GORI LAW FIRM PC
SONIER               LISA                  LA         201607194        THE GORI LAW FIRM PC                                 STOIBER              THOMAS WILLIAM        IL         19L0521          THE GORI LAW FIRM PC
SONNEY               MELVIN                IL         2019L000577      THE GORI LAW FIRM PC                                 STOKLEY              JANIS                 IL         19L0268          THE GORI LAW FIRM PC
SOPHER               CHERYL                IL         2019L000399      THE GORI LAW FIRM PC                                 STOKLEY              TOM LOYD              IL         19L0268          THE GORI LAW FIRM PC
SOPHER               ROBERT FLOYD          IL         2019L000399      THE GORI LAW FIRM PC                                 STONE                CLAUDE                IL         2019L001569      THE GORI LAW FIRM PC
SOTO                 CARMEN                IL         2019L000604      THE GORI LAW FIRM PC                                 STONE                GORDON                IL         2016L000309      THE GORI LAW FIRM PC
SOTO                 ROBERT V              IL         2019L000604      THE GORI LAW FIRM PC                                 ST-PIERRE            MANON                 IL         2017L001679      THE GORI LAW FIRM PC
SOURS                HELEN                 IL         2018L001175      THE GORI LAW FIRM PC                                 STRAETER             ROSE MARIE            IL         2017L000749      THE GORI LAW FIRM PC
SOURS                RONNIE                IL         2018L001175      THE GORI LAW FIRM PC                                 STRAHAN              VIRGINIA              MO         1622CC00418      THE GORI LAW FIRM PC
SOUTHERLAND          LARRY                 IL         11L667           THE GORI LAW FIRM PC                                 STRANG               BRENDA                MO         1722CC01460      THE GORI LAW FIRM PC
SPANGLER             VIVIAN                IL         2016L000754      THE GORI LAW FIRM PC                                 STRANG               MYRON                 MO         1722CC01460      THE GORI LAW FIRM PC
SPESSARD             DAVID                 IL         2017L000293      THE GORI LAW FIRM PC                                 STRAPP               ARLENE R              IL         2016L000018      THE GORI LAW FIRM PC
SPILMAN              WILLIAM               IL         2017L000281      THE GORI LAW FIRM PC                                 STRAPP               BERNARD CONDON        IL         2016L000018      THE GORI LAW FIRM PC
SPINDLER             KEITH R               IL         2017L000002      THE GORI LAW FIRM PC                                 STREAN               ANN                   MO         1522CC10559      THE GORI LAW FIRM PC
SPINELLI             ANTHONY JOSEPH        IL         2016L001378      THE GORI LAW FIRM PC                                 STREET               BENTON                IL         18L0487          THE GORI LAW FIRM PC
ST. JOHN             BILLY                 IL         2019L000268      THE GORI LAW FIRM PC                                 STRENGER             VIRGINIA M            IL         12L1889          THE GORI LAW FIRM PC
ST. JOHN             INEZ                  IL         2019L000268      THE GORI LAW FIRM PC                                 STRICKLAND           LESTER FAY            IL         13L432           THE GORI LAW FIRM PC
STACY                CLYDE                 IL         2017L001594      THE GORI LAW FIRM PC                                 STRICKLAND           LINDA A               IL         2019L000745      THE GORI LAW FIRM PC
STACY                HAZEL                 IL         2017L001594      THE GORI LAW FIRM PC                                 STRICKLAND           PATSY                 IL         13L432           THE GORI LAW FIRM PC
STADHEIM             ARNOLD M              IL         2017L001581      THE GORI LAW FIRM PC                                 STRICKLAND           ROBERT                IL         2019L000745      THE GORI LAW FIRM PC
STAHLE               RAYMOND               IL         2016L001275      THE GORI LAW FIRM PC                                 STRINGFELLOW         GEORGE                MO         1622CC09571      THE GORI LAW FIRM PC
STAHLE               THEORA                IL         2016L001275      THE GORI LAW FIRM PC                                 STRINGFELLOW         MARY                  MO         1622CC09571      THE GORI LAW FIRM PC
STALTER              JOHNNYE               IL         18L0548          THE GORI LAW FIRM PC                                 STRINGFELLOW         RICHARD EARL          MO         1622CC09571      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 726
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 61 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STRINGFELLOW         RICKY WAYNE           MO         1622CC09571      THE GORI LAW FIRM PC                                 TAYLOR               PAUL                  MO         1622CC00196      THE GORI LAW FIRM PC
STROEBEL             ROBIN                 IL         2017L001432      THE GORI LAW FIRM PC                                 TAYLOR               PEGGY JEAN            IL         2017L000054      THE GORI LAW FIRM PC
STROH                CHERYL                IL         2018L001323      THE GORI LAW FIRM PC                                 TAYLOR               RAE                   IL         2016L001292      THE GORI LAW FIRM PC
STROH                SCOTT EUGENE          IL         2018L001323      THE GORI LAW FIRM PC                                 TAYLOR               TERRY                 IL         19L0445          THE GORI LAW FIRM PC
STROUD               JIMMY                 IL         2017L001120      THE GORI LAW FIRM PC                                 TAYLOR               VERTIE                MO         1422CC09815      THE GORI LAW FIRM PC
STROUD               PATRICIA              IL         2017L001120      THE GORI LAW FIRM PC                                 TAYLOR               WILLIAM G             IL         2018L000608      THE GORI LAW FIRM PC
STROUPE              MICHELE               MO         1722CC00148      THE GORI LAW FIRM PC                                 TEAGUE               LOIS                  IL         2017L000436      THE GORI LAW FIRM PC
STROZIER             CHARLIE               IL         14L797           THE GORI LAW FIRM PC                                 TEAL                 ANNETTE               MO         1622CC09754      THE GORI LAW FIRM PC
STROZIER             RHODA                 IL         14L797           THE GORI LAW FIRM PC                                 TEAL                 JACOB                 MO         1622CC09754      THE GORI LAW FIRM PC
STUART               EDWIN                 IL         19L0325          THE GORI LAW FIRM PC                                 TEAL                 RICHARD STEVEN        MO         1622CC09754      THE GORI LAW FIRM PC
STUART               SANDRA                IL         19L0325          THE GORI LAW FIRM PC                                 TEMOR                DIANE                 MO         1922CC12205      THE GORI LAW FIRM PC
STUBBLEFIELD         GLEN G                IL         13L533           THE GORI LAW FIRM PC                                 TEMOR                RONEY                 MO         1922CC12205      THE GORI LAW FIRM PC
STUBBLEFIELD         GLENNA NELL           IL         13L533           THE GORI LAW FIRM PC                                 TEMPLE               ROBERT                IL         2019L001291      THE GORI LAW FIRM PC
STUCKETT             EDGAR                 IL         18L0817          THE GORI LAW FIRM PC                                 TERRILL              GARY                  IL         11L466           THE GORI LAW FIRM PC
STUCKETT             MARGARET              IL         18L0817          THE GORI LAW FIRM PC                                 TERRILL              SANDY                 IL         11L466           THE GORI LAW FIRM PC
STUCKEY              ERNEST                IL         2015L001225      THE GORI LAW FIRM PC                                 TERRY                CATHY                 IL         2019L000931      THE GORI LAW FIRM PC
STUCKEY              MARY                  IL         2015L001225      THE GORI LAW FIRM PC                                 TERRY                GARY T                IL         2019L000931      THE GORI LAW FIRM PC
STYERS               GAYLON                IL         18L0319          THE GORI LAW FIRM PC                                 TESARIK              JULIA JEWEL           MO         1522CC00571      THE GORI LAW FIRM PC
STYERS               NANCY                 IL         18L0319          THE GORI LAW FIRM PC                                 TESARIK              KENNETH               MO         1522CC00571      THE GORI LAW FIRM PC
SUE                  JEFFREY               IL         12L820           THE GORI LAW FIRM PC                                 TESIO                DONNA                 IL         11L542           THE GORI LAW FIRM PC
SUE                  KRISTIN               IL         12L820           THE GORI LAW FIRM PC                                 TESIO                JAMES                 IL         11L542           THE GORI LAW FIRM PC
SUGINDONO            MELINDA               IL         2016L001626      THE GORI LAW FIRM PC                                 TESSMER              CAROLYN               MO         1822CC11301      THE GORI LAW FIRM PC
SULLIVAN             NORMAN                IL         18L0158          THE GORI LAW FIRM PC                                 TESSMER              CHARLES               MO         1822CC11301      THE GORI LAW FIRM PC
SUTTON               DORIS                 IL         2017L000816      THE GORI LAW FIRM PC                                 THACKER              GEORGE                IL         19L0743          THE GORI LAW FIRM PC
SUTTON               ROGER                 IL         2017L000816      THE GORI LAW FIRM PC                                 THACKER              MARJORIE IRENE        IL         19L0743          THE GORI LAW FIRM PC
SUTTON               VANCE                 IL         2017L000816      THE GORI LAW FIRM PC                                 THELANDER            ROLF                  IL         2015L000432      THE GORI LAW FIRM PC
SVESTKA              GEORGIANN             IL         2015L000176      THE GORI LAW FIRM PC                                 THEODOROU            ANDREW                IL         2019L000787      THE GORI LAW FIRM PC
SWAN                 HANNAH                MO         1722CC10655      THE GORI LAW FIRM PC                                 THERIOT              RANDY                 IL         2019L001010      THE GORI LAW FIRM PC
SWANSON              GWEN                  IL         2016L001661      THE GORI LAW FIRM PC                                 THERIOT              TERRI                 IL         2019L001010      THE GORI LAW FIRM PC
SWANSON              MELVIN                IL         2016L001661      THE GORI LAW FIRM PC                                 THIBODAUX            WHITNEY               IL         2016L001031      THE GORI LAW FIRM PC
SWEATT               JOHNNY B              IL         19L0280          THE GORI LAW FIRM PC                                 THIERRY              MARGARET              MO         1622CC11316      THE GORI LAW FIRM PC
SWEET                JERRY LEE             IL         19L0083          THE GORI LAW FIRM PC                                 THOMAS               DONALD D              IL         18L0826          THE GORI LAW FIRM PC
SWEET                SUSAN                 IL         19L0083          THE GORI LAW FIRM PC                                 THOMAS               DOROTHY LEE           IL         19L0124          THE GORI LAW FIRM PC
SWEIGERT             SCOTT                 IL         2019L000747      THE GORI LAW FIRM PC                                 THOMAS               JOHN E                IL         12L2006          THE GORI LAW FIRM PC
SWIGER               MICHELLE              IL         19L0840          THE GORI LAW FIRM PC                                 THOMAS               JOYCE                 IL         12L2006          THE GORI LAW FIRM PC
SWILLEY              HELEN                 IL         2016L000056      THE GORI LAW FIRM PC                                 THOMAS               MARGIE T              IL         18L0544          THE GORI LAW FIRM PC
SWILLEY              NOVICE M              IL         2016L000056      THE GORI LAW FIRM PC                                 THOMAS               MARVIN EARL           IL         18L0544          THE GORI LAW FIRM PC
SWITZLER             TWILA                 IL         2017L001683      THE GORI LAW FIRM PC                                 THOMAS               WILLIAM DAVID         IL         19L0124          THE GORI LAW FIRM PC
SWOYER               PAUL                  IL         2017L000873      THE GORI LAW FIRM PC                                 THOMPSON             ANGELINA              MO         1522CC10758      THE GORI LAW FIRM PC
SYDNEY               DIANNE                IL         2018L001739      THE GORI LAW FIRM PC                                 THOMPSON             CYNTHIA               LA         201907446        THE GORI LAW FIRM PC
SYDNEY               PAUL                  IL         2018L001739      THE GORI LAW FIRM PC                                 THOMPSON             DAN CLAYTON           IL         2018L001746      THE GORI LAW FIRM PC
SZYMANSKI            ALMA                  IL         2015L001508      THE GORI LAW FIRM PC                                 THOMPSON             GARY D                IL         2018L001304      THE GORI LAW FIRM PC
SZYMANSKI            JOSEPH                IL         2015L001508      THE GORI LAW FIRM PC                                 THOMPSON             JOHN H                MO         1522CC10758      THE GORI LAW FIRM PC
TADEWALD             JAY R                 IL         19L0463          THE GORI LAW FIRM PC                                 THOMPSON             JOHN HENRY            MO         1522CC10758      THE GORI LAW FIRM PC
TALAMANTES           IRMA S                IL         2018L001373      THE GORI LAW FIRM PC                                 THOMPSON             KATHY L               IL         2015L001429      THE GORI LAW FIRM PC
TANG                 NANCY                 IL         2018L000567      THE GORI LAW FIRM PC                                 THOMPSON             LERONDA               MO         1622CC09992      THE GORI LAW FIRM PC
TANG                 WILLIAM C             IL         2018L000567      THE GORI LAW FIRM PC                                 THOMPSON             LUCILLE               IL         2016L001660      THE GORI LAW FIRM PC
TANNER               EARLENE               IL         2019L001428      THE GORI LAW FIRM PC                                 THOMPSON             PATRICIA              MO         1522CC10758      THE GORI LAW FIRM PC
TANNER               JAMES                 MO         1622CC11380      THE GORI LAW FIRM PC                                 THOMPSON             RAY                   MO         1622CC09992      THE GORI LAW FIRM PC
TANNER               MIKEL                 MO         1622CC10546      THE GORI LAW FIRM PC                                 THOMPSON             ROBERT JAMES          IL         2015L001429      THE GORI LAW FIRM PC
TANNER               VIRGINIA              MO         1622CC10546      THE GORI LAW FIRM PC                                 THOMPSON             SAVANNAH              IL         2018L001304      THE GORI LAW FIRM PC
TANNEY               PATRICK L             IL         2018L000071      THE GORI LAW FIRM PC                                 THORNTON             CHELSEY               MO         1822CC00485      THE GORI LAW FIRM PC
TANNEY               SUSAN                 IL         2018L000071      THE GORI LAW FIRM PC                                 THORSON              DAWN                  IL         2019L000776      THE GORI LAW FIRM PC
TANSIL               EDWARD GLEN           IL         2017L000668      THE GORI LAW FIRM PC                                 TIDWELL              BENNIE                IL         2019L001747      THE GORI LAW FIRM PC
TARDIFF              JOHN BENJAMIN         IL         2017L000640      THE GORI LAW FIRM PC                                 TIDWELL              TRACY                 IL         2019L001747      THE GORI LAW FIRM PC
TARDIFF              JOSEPH KIRK           IL         2017L000640      THE GORI LAW FIRM PC                                 TIJERINA             IRMA                  IL         19L0674          THE GORI LAW FIRM PC
TASSON               LLOYD                 IL         2018L001240      THE GORI LAW FIRM PC                                 TIJERINA-LOZANO      JULIO                 IL         19L0674          THE GORI LAW FIRM PC
TATE                 REBECCA               IL         2017L000527      THE GORI LAW FIRM PC                                 TINCH                MARITA                IL         2016L000831      THE GORI LAW FIRM PC
TATE                 ROBERT                IL         2017L000527      THE GORI LAW FIRM PC                                 TOBAK                MICHAEL JOSEPH        IL         19L0262          THE GORI LAW FIRM PC
TATUM                EXIE LEE              IL         2017L001688      THE GORI LAW FIRM PC                                 TOBAK                ROSE MARIE            IL         19L0262          THE GORI LAW FIRM PC
TATUM                JERRY                 IL         2015L000792      THE GORI LAW FIRM PC                                 TOBLER               JEROME                IL         2016L000256      THE GORI LAW FIRM PC
TAVINER              KAREN L               IL         2019L001354      THE GORI LAW FIRM PC                                 TOBUREN              MELVIN                IL         2015L000047      THE GORI LAW FIRM PC
TAVINER              TERRENCE A            IL         2019L001354      THE GORI LAW FIRM PC                                 TODD                 ELAINE                IL         2018L000611      THE GORI LAW FIRM PC
TAYLOR               BYRON H               MO         1622CC00196      THE GORI LAW FIRM PC                                 TOEPKE               KIRK D                IL         19L0737          THE GORI LAW FIRM PC
TAYLOR               CHERYL                MO         1622CC00196      THE GORI LAW FIRM PC                                 TOMASI               UGO                   IL         13L935           THE GORI LAW FIRM PC
TAYLOR               DAVID GEORGE          IL         2017L000054      THE GORI LAW FIRM PC                                 TOMASI               VICKEY                IL         13L935           THE GORI LAW FIRM PC
TAYLOR               DIANNE                IL         2016L001292      THE GORI LAW FIRM PC                                 TOMLINSON            ADRIAN                IL         2017L001202      THE GORI LAW FIRM PC
TAYLOR               GARY G                MO         1922CC12131      THE GORI LAW FIRM PC                                 TOMLINSON            ALLEN                 IL         2017L001202      THE GORI LAW FIRM PC
TAYLOR               HELEN                 IL         19L0445          THE GORI LAW FIRM PC                                 TOMLINSON            CLAUDETTE             IL         2015L001269      THE GORI LAW FIRM PC
TAYLOR               KATHERINE ANN         MO         1622CC00196      THE GORI LAW FIRM PC                                 TOMLINSON            EMMA                  IL         2017L000543      THE GORI LAW FIRM PC
TAYLOR               OTIS J                MO         1422CC09815      THE GORI LAW FIRM PC                                 TOMLINSON            MAE                   IL         2017L000761      THE GORI LAW FIRM PC




                                                                                                            Appendix A - 727
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 62 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TOMLINSON            RAYMOND               IL         2017L000543      THE GORI LAW FIRM PC                                 UNDERWOOD            ERNEST                IL         19L0003          THE GORI LAW FIRM PC
TOMLINSON            WILMER                IL         2017L000761      THE GORI LAW FIRM PC                                 UNDERWOOD            GEORGE LESS           MO         1722CC00481      THE GORI LAW FIRM PC
TONER                ROSANETTE             IL         2019L000952      THE GORI LAW FIRM PC                                 UNDERWOOD            LOIS                  IL         19L0003          THE GORI LAW FIRM PC
TONNESEN             CARL                  IL         2017L000590      THE GORI LAW FIRM PC                                 UNDERWOOD            MARQUITA              MO         1722CC00481      THE GORI LAW FIRM PC
TONNESEN             ELIZABETH             IL         2017L000590      THE GORI LAW FIRM PC                                 UNRUH                AUDREY                IL         2017L001689      THE GORI LAW FIRM PC
TOOMBS               MARY                  IL         19L0497          THE GORI LAW FIRM PC                                 UNRUH                FRANCIS               IL         2017L001689      THE GORI LAW FIRM PC
TOOMBS               WILLIE LEE            IL         19L0497          THE GORI LAW FIRM PC                                 VACCARO              ANGELA                IL         2017L000771      THE GORI LAW FIRM PC
TORRES SANDOVAL      MARIA ESTELLA         IL         2017L000482      THE GORI LAW FIRM PC                                 VAIL                 BOBBY GENE            IL         13L582           THE GORI LAW FIRM PC
TORRY                MICHAEL               IL         2016L001111      THE GORI LAW FIRM PC                                 VAIL                 MARGIE                IL         13L582           THE GORI LAW FIRM PC
TOSH                 BOYD                  IL         13L633           THE GORI LAW FIRM PC                                 VALCORZA             NELIE                 IL         18L73            THE GORI LAW FIRM PC
TOSH                 NEDRA                 IL         13L633           THE GORI LAW FIRM PC                                 VALDES               ALFRED                IL         2019L000709      THE GORI LAW FIRM PC
TOTTEN               BETTY                 IL         18L0477          THE GORI LAW FIRM PC                                 VALENTINE            BONNIE K              MO         1622CC09694      THE GORI LAW FIRM PC
TOTTEN               BRADY                 IL         18L0477          THE GORI LAW FIRM PC                                 VAN BRUNT            DEBORAH               IL         2018L000249      THE GORI LAW FIRM PC
TOTTEN               JAMES                 IL         2018L000066      THE GORI LAW FIRM PC                                 VAN DEN BERGHE       BYRON                 IL         2019L000568      THE GORI LAW FIRM PC
TOTTEN               KATHERINE             IL         2018L000066      THE GORI LAW FIRM PC                                 VAN DEN BERGHE       MICHELLE              IL         2019L000568      THE GORI LAW FIRM PC
TOWNSEND             BETTY                 IL         18L0312          THE GORI LAW FIRM PC                                 VAN NIEUWENHOVEN     FRANCIS WALTER        IL         2015L000768      THE GORI LAW FIRM PC
TOWNSEND             RODNEY                IL         18L0312          THE GORI LAW FIRM PC                                 VAN VUGT             HUBERT                IL         2017L001094      THE GORI LAW FIRM PC
TRACY                ERNEST                IL         2017L000744      THE GORI LAW FIRM PC                                 VAN VUGT             NELLIE                IL         2017L001094      THE GORI LAW FIRM PC
TRACY                LINDA                 IL         2017L000744      THE GORI LAW FIRM PC                                 VANARK               VIRGINIA C            IL         19L0702          THE GORI LAW FIRM PC
TRAMMEL              EVANS DOUGLAS         IL         2017L000715      THE GORI LAW FIRM PC                                 VANCE                CLYDE                 IL         19L0873          THE GORI LAW FIRM PC
TRAPP                EDDIE                 IL         2016L000354      THE GORI LAW FIRM PC                                 VANCE                HERSCHEL              MO         1622CC11335      THE GORI LAW FIRM PC
TRAPP                JOHN                  IL         19L0191          THE GORI LAW FIRM PC                                 VANCE                MARY J                IL         2018L001492      THE GORI LAW FIRM PC
TRAPP                MICHELLE              IL         19L0191          THE GORI LAW FIRM PC                                 VANCE                MELISSA               MO         1622CC11335      THE GORI LAW FIRM PC
TRAPP                SONIA E               MO         1422CC10178      THE GORI LAW FIRM PC                                 VANCE                RONALD                IL         2018L001492      THE GORI LAW FIRM PC
TREAT                WILLIAM R             IL         19L0271          THE GORI LAW FIRM PC                                 VANDEHEY             HAROLD W              MO         1922CC12320      THE GORI LAW FIRM PC
TREDO                GLORIA J              IL         2019L001501      THE GORI LAW FIRM PC                                 VANDER GROEF         CHRISTIAN             IL         18L0586          THE GORI LAW FIRM PC
TREDO                MICHAEL N             IL         2019L001501      THE GORI LAW FIRM PC                                 VANDER GROEF         LINDA                 IL         18L0586          THE GORI LAW FIRM PC
TRICE                PHILLIP THEO          IL         2016L000664      THE GORI LAW FIRM PC                                 VANDERZANDEN         CAROLYN               IL         2019L000914      THE GORI LAW FIRM PC
TRIMBLE              DEBRA L               IL         11L0178          THE GORI LAW FIRM PC                                 VANDERZANDEN         CURTISS E             IL         2019L000914      THE GORI LAW FIRM PC
TRINIDAD             LUIS A MALAVE         IL         2019L001012      THE GORI LAW FIRM PC                                 VANHOOSE             SANDRA                IL         18L0261          THE GORI LAW FIRM PC
TRIPLETT             JANET MARIE           IL         2015L000805      THE GORI LAW FIRM PC                                 VANHOOSE             WAYNE MELVIN          IL         18L0261          THE GORI LAW FIRM PC
TROTTER              MICHAEL               IL         2017L000577      THE GORI LAW FIRM PC                                 VARNADORE            JERALD                IL         2019L000311      THE GORI LAW FIRM PC
TROTTER              STEVEN                IL         19L0460          THE GORI LAW FIRM PC                                 VASQUEZ              MERCEDES D            MO         1822CC11611      THE GORI LAW FIRM PC
TROUT                EDWARD JEROME         IL         2017L000117      THE GORI LAW FIRM PC                                 VASSAR               BERKELEY              MO         1522CC10559      THE GORI LAW FIRM PC
TROXLER-DIXON        BEVERLY ANN           IL         2018L000690      THE GORI LAW FIRM PC                                 VASSAR               DAVID                 MO         1522CC10559      THE GORI LAW FIRM PC
TUCKER               JOYCE                 IL         18L0100          THE GORI LAW FIRM PC                                 VASSAR               JIM                   MO         1522CC10559      THE GORI LAW FIRM PC
TUCKER               JUDITH                IL         2018L000162      THE GORI LAW FIRM PC                                 VASSAR               MARK                  MO         1522CC10559      THE GORI LAW FIRM PC
TUCKER               MARIETTA              IL         18L0694          THE GORI LAW FIRM PC                                 VAUGHAN              CAROLYN               IL         19L0541          THE GORI LAW FIRM PC
TUCKER               PATRICIA              IL         2018L000221      THE GORI LAW FIRM PC                                 VAUGHAN              LESLIE W              IL         19L0541          THE GORI LAW FIRM PC
TUCKER               ROBERT                IL         2018L000162      THE GORI LAW FIRM PC                                 VAZQUEZ              CESAR                 IL         2017L001010      THE GORI LAW FIRM PC
TUCKER               ROBERT                IL         18L0694          THE GORI LAW FIRM PC                                 VAZQUEZ              TREVA                 MO         1722CC11425      THE GORI LAW FIRM PC
TUCKER               TROY G                IL         2017L000436      THE GORI LAW FIRM PC                                 VEGA                 BARBARA               IL         19L0041          THE GORI LAW FIRM PC
TUCKER               WILLIAM               IL         2018L000221      THE GORI LAW FIRM PC                                 VEGA                 LARRY                 IL         19L0041          THE GORI LAW FIRM PC
TUFFILL              CAROL                 IL         2016L001445      THE GORI LAW FIRM PC                                 VELASCO              SEBASTIAN             IL         2019L001008      THE GORI LAW FIRM PC
TUFFILL              STEVE                 IL         2016L001445      THE GORI LAW FIRM PC                                 VELASCO-LIZARRAGA    ROSA                  IL         2016L000604      THE GORI LAW FIRM PC
TURNER               CLARENCE MORGAN       IL         19L0326          THE GORI LAW FIRM PC                                 VELLON               DUAMEL                IL         2015L001057      THE GORI LAW FIRM PC
TURNER               GARY                  MO         1622CC11610      THE GORI LAW FIRM PC                                 VENDELAND            ROSEMARIE             IL         2019L001225      THE GORI LAW FIRM PC
TURNER               JANICE                MO         1622CC11610      THE GORI LAW FIRM PC                                 VERDUGO              MARIO A               IL         2018L001314      THE GORI LAW FIRM PC
TURNER               OMIE M                IL         19L0326          THE GORI LAW FIRM PC                                 VERDUGO-WOODY        CARMEN                IL         2018L001314      THE GORI LAW FIRM PC
TURNER               PAMELA                IL         11L681           THE GORI LAW FIRM PC                                 VERLEY               ERIN                  IL         2015L001465      THE GORI LAW FIRM PC
TURNER               SANDRA K              IL         2016L000011      THE GORI LAW FIRM PC                                 VERNON               BETTY                 IL         19L0447          THE GORI LAW FIRM PC
TURNER               WALTER GENE           IL         2016L000011      THE GORI LAW FIRM PC                                 VERNON               RONALD L              IL         19L0447          THE GORI LAW FIRM PC
TURNER               WILBERT               IL         15L33            THE GORI LAW FIRM PC                                 VEST                 GLADYS                MO         1922CC00036      THE GORI LAW FIRM PC
TURNEY               EDGAR                 IL         2019L000269      THE GORI LAW FIRM PC                                 VEST                 RALPH                 MO         1922CC00036      THE GORI LAW FIRM PC
TURNQUIST            JERRY                 IL         2017L000361      THE GORI LAW FIRM PC                                 VEZEAU               ROBERT                IL         2017L001438      THE GORI LAW FIRM PC
TURNQUIST            KATHLEEN              IL         2017L000361      THE GORI LAW FIRM PC                                 VEZEAU               SHEILA                IL         2017L001438      THE GORI LAW FIRM PC
TUTTLE               JAMIE                 IL         2018L001743      THE GORI LAW FIRM PC                                 VIA                  HENRY LEROY           IL         19L0368          THE GORI LAW FIRM PC
TVARDOS              CAROL                 IL         2019L001313      THE GORI LAW FIRM PC                                 VIA                  MARY JANE             IL         12L760           THE GORI LAW FIRM PC
TVARDOS              JAMES J               IL         2019L001313      THE GORI LAW FIRM PC                                 VIA                  PATRICIA              IL         19L0368          THE GORI LAW FIRM PC
TYLER                HAROLD A              IL         19L0499          THE GORI LAW FIRM PC                                 VIA                  PETER                 IL         12L760           THE GORI LAW FIRM PC
TYLER                HESTER E              IL         2019L000209      THE GORI LAW FIRM PC                                 VICK                 JOHN                  IL         2017L000913      THE GORI LAW FIRM PC
TYLER                JAMES                 IL         2015L001470      THE GORI LAW FIRM PC                                 VICK                 JUDITH                IL         2017L000913      THE GORI LAW FIRM PC
TYLER                SEIKO                 IL         2015L001470      THE GORI LAW FIRM PC                                 VICKERY              BILLY EUGENE          IL         18L0241          THE GORI LAW FIRM PC
TYLER                STEVE                 IL         2019L000209      THE GORI LAW FIRM PC                                 VICKERY              KENNETH L             IL         18L0241          THE GORI LAW FIRM PC
UBER                 CHARLES               IL         2017L001592      THE GORI LAW FIRM PC                                 VIDRINE              BARBARA               MO         1522CC10925      THE GORI LAW FIRM PC
UFFENBECK            ELAINE                IL         2018L001376      THE GORI LAW FIRM PC                                 VIDRINE              KENNETH               MO         1522CC10925      THE GORI LAW FIRM PC
UFFENBECK            WILLIAM J             IL         2018L001376      THE GORI LAW FIRM PC                                 VIDRINE              LIONEL                MO         1522CC10925      THE GORI LAW FIRM PC
UNDERWOOD            CHARLES               IL         19L0642          THE GORI LAW FIRM PC                                 VIERGEVER            ROBERT                IL         2019L000362      THE GORI LAW FIRM PC
UNDERWOOD            CORNELIUS             MO         1722CC00481      THE GORI LAW FIRM PC                                 VIERGEVER            SHIRLEY               IL         2019L000362      THE GORI LAW FIRM PC
UNDERWOOD            CORRIE                MO         1722CC00481      THE GORI LAW FIRM PC                                 VILLARREAL           DENISA                IL         19L0052          THE GORI LAW FIRM PC
UNDERWOOD            DENNIS C              IL         2019L001405      THE GORI LAW FIRM PC                                 VILLARREAL           MARIO                 IL         19L0052          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 728
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                       Complaint-Part 2 Page 63 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

VILLEGAS             ANTONIO               IL         2015L001261      THE GORI LAW FIRM PC                                 WATERS               JOHN                   MO         1522CC11131      THE GORI LAW FIRM PC
VILLEGAS             MARIA                 IL         2015L001261      THE GORI LAW FIRM PC                                 WATERS               JOHN                   IL         16L66            THE GORI LAW FIRM PC
VINCICZKY            ALEXANDER             IL         2015L001417      THE GORI LAW FIRM PC                                 WATERS               PAMELA                 MO         1522CC11131      THE GORI LAW FIRM PC
VINCICZKY            SHELLY                IL         2015L001417      THE GORI LAW FIRM PC                                 WATERS               PAMELA                 IL         16L66            THE GORI LAW FIRM PC
VINSON               DORWIN SELF           IL         2017L000448      THE GORI LAW FIRM PC                                 WATFORD              JAMES MELVIN           IL         19L0363          THE GORI LAW FIRM PC
VINSON               JAMES                 IL         2019L000473      THE GORI LAW FIRM PC                                 WATFORD              NORMA JEAN             IL         19L0363          THE GORI LAW FIRM PC
VINSON               NORMA                 IL         2017L000448      THE GORI LAW FIRM PC                                 WATSON               ADRIENNE G             IL         2016L000170      THE GORI LAW FIRM PC
VINYARD              RICHARD LEON          IL         2015L001572      THE GORI LAW FIRM PC                                 WATSON               BRADFORD M             IL         2019L001353      THE GORI LAW FIRM PC
VINYARD              SANDRA                IL         2015L001572      THE GORI LAW FIRM PC                                 WATSON               DEBORAH LETT           IL         18L0131          THE GORI LAW FIRM PC
VIOLANTE             CAROL                 IL         18L0827          THE GORI LAW FIRM PC                                 WATSON               ELIZABETH A            IL         2019L001353      THE GORI LAW FIRM PC
VIOLANTE             JOHN                  IL         18L0827          THE GORI LAW FIRM PC                                 WATSON               ML                     IL         2014L000902      THE GORI LAW FIRM PC
VIRAY                KRISTI                IL         2019L000334      THE GORI LAW FIRM PC                                 WATSON               MILES S                IL         2016L000170      THE GORI LAW FIRM PC
VITRANO              MARY                  IL         2017L000551      THE GORI LAW FIRM PC                                 WATSON               RONALD                 IL         2014L000902      THE GORI LAW FIRM PC
VITRANO              RAYMOND HENRY         IL         2017L000551      THE GORI LAW FIRM PC                                 WATSON               ROY                    IL         12L295           THE GORI LAW FIRM PC
VIZE                 GERALD                IL         19L0051          THE GORI LAW FIRM PC                                 WATSON               SYLVESTER              IL         18L0131          THE GORI LAW FIRM PC
VIZE                 RETHA                 IL         19L0051          THE GORI LAW FIRM PC                                 WATSON               VIOLET                 IL         12L295           THE GORI LAW FIRM PC
VOTH                 CLINTON               IL         19L0748          THE GORI LAW FIRM PC                                 WATTERSON            GREGORY                IL         19L0012          THE GORI LAW FIRM PC
VRANA                JAMES                 IL         2016L000033      THE GORI LAW FIRM PC                                 WATTERSON            MARY BETH              IL         19L0012          THE GORI LAW FIRM PC
VRANA                SHIRLEY               IL         2016L000033      THE GORI LAW FIRM PC                                 WATTS                GLADYS                 IL         2015L001121      THE GORI LAW FIRM PC
VROOM                PAULA                 MO         1622CC00342      THE GORI LAW FIRM PC                                 WAUGH                NORMA                  IL         2017L000578      THE GORI LAW FIRM PC
WADDELL              EMMETT A              IL         2015L001488      THE GORI LAW FIRM PC                                 WAY                  BILLY                  IL         14L579           THE GORI LAW FIRM PC
WADDELL              JIMMY A               IL         2015L001488      THE GORI LAW FIRM PC                                 WAY                  PATRICIA               IL         14L579           THE GORI LAW FIRM PC
WADDELL              PHYLLIS               IL         2015L001488      THE GORI LAW FIRM PC                                 WAYMACK              MARY LOU               NY         1902932019       THE GORI LAW FIRM PC
WAGNER               JOHN                  MO         1822CC00029      THE GORI LAW FIRM PC                                 WEAVER               DONALD P               IL         2017L001268      THE GORI LAW FIRM PC
WAGNER               MARY                  MO         1822CC00029      THE GORI LAW FIRM PC                                 WEAVER               THOMAS R               IL         2017L000355      THE GORI LAW FIRM PC
WAINWRIGHT FLOYD     LINDA C               IL         19L0299          THE GORI LAW FIRM PC                                 WEBB                 ALLEN D                IL         19L0456          THE GORI LAW FIRM PC
WALDROFF             ALICE                 IL         2014L001781      THE GORI LAW FIRM PC                                 WEBB                 CONNIE                 IL         19L0456          THE GORI LAW FIRM PC
WALDROFF             HENRY FORD            IL         2014L001781      THE GORI LAW FIRM PC                                 WEBB                 O'DELL                 IL         2017L000928      THE GORI LAW FIRM PC
WALKER               BETTY J               IL         19L0503          THE GORI LAW FIRM PC                                 WEBER                DIANE                  IL         19L0849          THE GORI LAW FIRM PC
WALKER               EUDORA                MO         1622CC00340      THE GORI LAW FIRM PC                                 WEBER                TERRY J                IL         19L0849          THE GORI LAW FIRM PC
WALKER               GERALD                MO         1622CC00340      THE GORI LAW FIRM PC                                 WEBSTER              HAMP                   IL         2019L000738      THE GORI LAW FIRM PC
WALKER               JOHN THOMAS           IL         13L1071          THE GORI LAW FIRM PC                                 WEBSTER              KAYLA                  MO         1622CC10424      THE GORI LAW FIRM PC
WALKER               JOHNNIE               MO         1622CC00340      THE GORI LAW FIRM PC                                 WEBSTER              KENNETH A              IL         2015L001009      THE GORI LAW FIRM PC
WALKER               ROBERT T              MO         1622CC00340      THE GORI LAW FIRM PC                                 WEBSTER              MARLA                  IL         2019L000738      THE GORI LAW FIRM PC
WALKER               TRUDY                 IL         13L1071          THE GORI LAW FIRM PC                                 WEBSTER              VERNON WAYNE           MO         1622CC10424      THE GORI LAW FIRM PC
WALL                 CRAIG                 IL         18L0220          THE GORI LAW FIRM PC                                 WEBSTER              ZACH                   MO         1622CC10424      THE GORI LAW FIRM PC
WALLACE              CHRYL                 IL         19L0623          THE GORI LAW FIRM PC                                 WEEKLY               CARL CLIFFTON          IL         19L0092          THE GORI LAW FIRM PC
WALLACE              DEBORAH L             IL         2015L000735      THE GORI LAW FIRM PC                                 WEEKS                ALMA GRACE CHRISTINE   IL         2019L000900      THE GORI LAW FIRM PC
WALLACE              JAMES W               IL         19L0623          THE GORI LAW FIRM PC                                 WEEKS                GEORGE W               IL         2019L000900      THE GORI LAW FIRM PC
WALLACE              JOHNNY R              IL         18L75            THE GORI LAW FIRM PC                                 WEGIER               IRENA                  MO         1822CC11816      THE GORI LAW FIRM PC
WALLACE              LINDA                 MO         1922CC11820      THE GORI LAW FIRM PC                                 WEGIER               PETER                  MO         1822CC11816      THE GORI LAW FIRM PC
WALLACE              NORMA                 IL         13L1599          THE GORI LAW FIRM PC                                 WEGIER               TADEUSZ                MO         1822CC11816      THE GORI LAW FIRM PC
WALLACE              RICHARD C             MO         1922CC11820      THE GORI LAW FIRM PC                                 WEGIER               TERESA                 MO         1822CC11816      THE GORI LAW FIRM PC
WALLACE              THOMAS BUCKLER        IL         2015L000735      THE GORI LAW FIRM PC                                 WELCH                JUDY                   IL         2016L001401      THE GORI LAW FIRM PC
WALLACE              WILLIAM               IL         13L1599          THE GORI LAW FIRM PC                                 WELCH                ROBERT                 IL         2016L001401      THE GORI LAW FIRM PC
WALSH                ROXY                  IL         2017L000673      THE GORI LAW FIRM PC                                 WELCHES              NANCY                  IL         16L50            THE GORI LAW FIRM PC
WALTON               DIANE                 IL         2016L000466      THE GORI LAW FIRM PC                                 WELCHES              ROBERT                 IL         16L50            THE GORI LAW FIRM PC
WALTZ                KIM                   IL         2017L001486      THE GORI LAW FIRM PC                                 WELLMAN              KENNETH R              IL         2015L000706      THE GORI LAW FIRM PC
WANACK               DAVID F               IL         19L0786          THE GORI LAW FIRM PC                                 WELLS                CRAIG EUGENE           IL         2017L001690      THE GORI LAW FIRM PC
WANACK               MARY A                IL         19L0786          THE GORI LAW FIRM PC                                 WELLS                DELORES                IL         19L0091          THE GORI LAW FIRM PC
WARD                 BARBARA               IL         2018L001433      THE GORI LAW FIRM PC                                 WELLS                JOHN                   MO         1622CC00204      THE GORI LAW FIRM PC
WARD                 DOROTHY HUGHES        PA         180703899        THE GORI LAW FIRM PC                                 WELLS                KIMBERLY               LA         201711957        THE GORI LAW FIRM PC
WARD                 JAMES                 IL         2016L001559      THE GORI LAW FIRM PC                                 WELLS                REGINALD ETHAN         IL         19L0091          THE GORI LAW FIRM PC
WARD                 JESSE VERNON          IL         2017L000069      THE GORI LAW FIRM PC                                 WELSCH               DARYL                  IL         19L0666          THE GORI LAW FIRM PC
WARD                 JOYDICE               IL         2016L001559      THE GORI LAW FIRM PC                                 WELSH                JOHN J                 IL         2019L001632      THE GORI LAW FIRM PC
WARD                 MARTHA                IL         2017L000069      THE GORI LAW FIRM PC                                 WELSH                PATRICIA               IL         18L0201          THE GORI LAW FIRM PC
WARD                 THOMAS                PA         180703899        THE GORI LAW FIRM PC                                 WENDLAND             GEORGIA                IL         18L0209          THE GORI LAW FIRM PC
WARD                 THOMAS WILLIAM        PA         180703899        THE GORI LAW FIRM PC                                 WENDLAND             GERALD                 IL         18L0209          THE GORI LAW FIRM PC
WARE                 CLARA W               IL         19L0292          THE GORI LAW FIRM PC                                 WESSEL               JAMES                  IL         2017L000553      THE GORI LAW FIRM PC
WARE                 HAROLD DEAN           IL         19L0292          THE GORI LAW FIRM PC                                 WESSEL               SHIRLEY                IL         2017L000553      THE GORI LAW FIRM PC
WARFIELD             ROBERT L              IL         2017L001529      THE GORI LAW FIRM PC                                 WEST                 ENNIS EDWARD           IL         2017L000727      THE GORI LAW FIRM PC
WARKENTIN            GWENDOLYN             IL         2018L001037      THE GORI LAW FIRM PC                                 WEST                 GINA                   IL         2017L000727      THE GORI LAW FIRM PC
WARKENTIN            ROBERT                IL         2018L001037      THE GORI LAW FIRM PC                                 WESTBROOK            CJ                     IL         2019L001333      THE GORI LAW FIRM PC
WARNER               THOMAS LEROY          IL         2019L001720      THE GORI LAW FIRM PC                                 WESTBROOK            FLORA                  IL         2019L001333      THE GORI LAW FIRM PC
WARREN               JAMES C               MO         1822CC11661      THE GORI LAW FIRM PC                                 WETZEL               JOYCE                  MO         1922CC10509      THE GORI LAW FIRM PC
WARWICK              JAMES K               IL         2016L000143      THE GORI LAW FIRM PC                                 WETZEL               PAUL R                 MO         1922CC10509      THE GORI LAW FIRM PC
WARWICK              NED MONROE            IL         2016L000143      THE GORI LAW FIRM PC                                 WEXLER               JUDITH                 PA         170100995        THE GORI LAW FIRM PC
WARWICK              SHARON                IL         2017L000650      THE GORI LAW FIRM PC                                 WHEELER              COLLEEN                IL         2019L000052      THE GORI LAW FIRM PC
WASHINGTON           JAMES                 MO         1622CC09994      THE GORI LAW FIRM PC                                 WHELCHEL             LUCILLE                IL         18L0824          THE GORI LAW FIRM PC
WASHINGTON           YOLANDA               MO         1622CC09994      THE GORI LAW FIRM PC                                 WHELCHEL             RAYMOND                IL         18L0824          THE GORI LAW FIRM PC
WATERROSE            LINDA                 IL         2017L000031      THE GORI LAW FIRM PC                                 WHIGHAM              ANN                    IL         18L0220          THE GORI LAW FIRM PC




                                                                                                            Appendix A - 729
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                       Complaint-Part 2 Page 64 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

WHITAKER             BEVERLY               IL         2017L001137      THE GORI LAW FIRM PC                                 WILLIS               CLAUDIA L              IL         2019L000748      THE GORI LAW FIRM PC
WHITAKER             JACKSON               IL         2016L001114      THE GORI LAW FIRM PC                                 WILLIS               KING                   IL         19L0151          THE GORI LAW FIRM PC
WHITAKER             LEMADGE               IL         2017L001137      THE GORI LAW FIRM PC                                 WILLIS               POLLY                  IL         19L0151          THE GORI LAW FIRM PC
WHITE                BETTY JEAN            IL         2019L000920      THE GORI LAW FIRM PC                                 WILLIS               RUSSELL                IL         2016L001543      THE GORI LAW FIRM PC
WHITE                CHARLES N             IL         2018L001631      THE GORI LAW FIRM PC                                 WILLMON              BEVERLEY               IL         2017L000341      THE GORI LAW FIRM PC
WHITE                DANIEL                IL         2017L000303      THE GORI LAW FIRM PC                                 WILLMON              DOUGLAS QUINN          IL         2017L000341      THE GORI LAW FIRM PC
WHITE                DONALD LEE            IL         2019L000920      THE GORI LAW FIRM PC                                 WILLS                ERNEST L               IL         2018L001619      THE GORI LAW FIRM PC
WHITE                DURWARD               MO         1822CC00956      THE GORI LAW FIRM PC                                 WILSON               ANGLA                  MO         1622CC09823      THE GORI LAW FIRM PC
WHITE                FRED OLEN             IL         2016L000897      THE GORI LAW FIRM PC                                 WILSON               ASHLEY                 IL         2018L001521      THE GORI LAW FIRM PC
WHITE                JOHN F                MO         1922CC11445      THE GORI LAW FIRM PC                                 WILSON               BEAR B                 IL         15L29            THE GORI LAW FIRM PC
WHITE                JOYCE K               MO         1922CC11445      THE GORI LAW FIRM PC                                 WILSON               BELVA                  IL         18L0502          THE GORI LAW FIRM PC
WHITE                KRISTINA              IL         2019L001434      THE GORI LAW FIRM PC                                 WILSON               CONSTANCE RUTH KIRBY   IL         2018L001521      THE GORI LAW FIRM PC
WHITE                MARIA                 MO         1822CC00956      THE GORI LAW FIRM PC                                 WILSON               DAVID WILLARD          IL         18L0502          THE GORI LAW FIRM PC
WHITE                MICHAEL               IL         2019L001434      THE GORI LAW FIRM PC                                 WILSON               HAZEL F                IL         13L2088          THE GORI LAW FIRM PC
WHITE                NINA                  IL         2018L001631      THE GORI LAW FIRM PC                                 WILSON               HELEN                  IL         2015L001462      THE GORI LAW FIRM PC
WHITE                PRENTISS L            IL         19L0205          THE GORI LAW FIRM PC                                 WILSON               JACKIE                 IL         2015L001462      THE GORI LAW FIRM PC
WHITE                REBECCA               IL         2016L000471      THE GORI LAW FIRM PC                                 WILSON               JAMES N                IL         15L29            THE GORI LAW FIRM PC
WHITE                TINA                  IL         2017L000303      THE GORI LAW FIRM PC                                 WILSON               JANICE                 IL         19L0354          THE GORI LAW FIRM PC
WHITE-BING           EMMA JANE             IL         2015L000346      THE GORI LAW FIRM PC                                 WILSON               JIMMY WALKER           MO         1622CC00340      THE GORI LAW FIRM PC
WHITEBREAD           ROBERT D              MO         1722CC00588      THE GORI LAW FIRM PC                                 WILSON               KATRINA J              IL         2018L000467      THE GORI LAW FIRM PC
WHITEBREAD           VERNILDA              MO         1722CC00588      THE GORI LAW FIRM PC                                 WILSON               LLOYD ELTON            IL         2017L001428      THE GORI LAW FIRM PC
WHITED               ADREYN                MO         1722CC00544      THE GORI LAW FIRM PC                                 WILSON               MARVIN EUGENE          IL         13L2088          THE GORI LAW FIRM PC
WHITED               LARRY ROGER           MO         1722CC00544      THE GORI LAW FIRM PC                                 WILSON               PAUL D                 IL         19L0354          THE GORI LAW FIRM PC
WHITED               SAROLICE              MO         1722CC00544      THE GORI LAW FIRM PC                                 WILSON               SARAH K                IL         2017L001428      THE GORI LAW FIRM PC
WHITFIELD            DEBRA                 IL         2017L000511      THE GORI LAW FIRM PC                                 WIMBUSH              MAY EVELYN             IL         2017L000715      THE GORI LAW FIRM PC
WHITFIELD            DORIAN                IL         2017L000511      THE GORI LAW FIRM PC                                 WINEBURNER           BETTY                  IL         19L0015          THE GORI LAW FIRM PC
WHITING              JAMES B               IL         13L299           THE GORI LAW FIRM PC                                 WINEBURNER           RUSSELL                IL         19L0015          THE GORI LAW FIRM PC
WHITING              JANIS M               IL         13L299           THE GORI LAW FIRM PC                                 WINIARSKI            JASON M                MO         1922CC11609      THE GORI LAW FIRM PC
WHITMAN              MICHAEL               IL         2018L000683      THE GORI LAW FIRM PC                                 WINIARSKI            JAYCE L                MO         1922CC11609      THE GORI LAW FIRM PC
WHITMAN              ROBERT ALLEN          IL         2018L000683      THE GORI LAW FIRM PC                                 WINIARSKI            KRISTOPHER J           MO         1922CC11609      THE GORI LAW FIRM PC
WHITT                ANTHONY               MO         1222CC09142      THE GORI LAW FIRM PC                                 WINIARSKI            LEONARD                MO         1922CC11609      THE GORI LAW FIRM PC
WHITT                JD                    MO         1222CC09142      THE GORI LAW FIRM PC                                 WINTER               THOMAS A               IL         2017L001486      THE GORI LAW FIRM PC
WHITT                SHIRLENE              MO         1222CC09142      THE GORI LAW FIRM PC                                 WINTERS              TERRANCE               IL         19L0257          THE GORI LAW FIRM PC
WHITT                STONEY                MO         1222CC09142      THE GORI LAW FIRM PC                                 WINTZ                JACKIE LEE             IL         2017L000675      THE GORI LAW FIRM PC
WHITTAKER            ROBERT ERNEST         IL         2014L001646      THE GORI LAW FIRM PC                                 WINTZ                VIRGINIA               IL         2017L000675      THE GORI LAW FIRM PC
WILKINSON            BEVERLY               IL         2017L000160      THE GORI LAW FIRM PC                                 WIRTANEN             GLENA                  IL         19L0669          THE GORI LAW FIRM PC
WILKINSON            KEITH GORDON          IL         2017L000160      THE GORI LAW FIRM PC                                 WIRTANEN             GLENA                  IL         2015L000377      THE GORI LAW FIRM PC
WILLBANKS            LUAN                  IL         2017L000704      THE GORI LAW FIRM PC                                 WIRTANEN             ROBERT J               IL         2015L000377      THE GORI LAW FIRM PC
WILLBANKS            ROBERT                IL         2017L000704      THE GORI LAW FIRM PC                                 WISNIEWSKI           BOGDAN                 IL         2017L001434      THE GORI LAW FIRM PC
WILLEY               GERTRUDE              IL         2015L000121      THE GORI LAW FIRM PC                                 WISSING              THEODORE               IL         19L0168          THE GORI LAW FIRM PC
WILLEY               LARRY                 IL         2015L000121      THE GORI LAW FIRM PC                                 WISSING              WILMA                  IL         19L0168          THE GORI LAW FIRM PC
WILLIAM              WILLIE L              IL         2015L001684      THE GORI LAW FIRM PC                                 WIZNER               WALTER                 IL         2017L000032      THE GORI LAW FIRM PC
WILLIAMS             ALICE                 MO         1822CC11151      THE GORI LAW FIRM PC                                 WIZNER               WALTER F               IL         2017L000032      THE GORI LAW FIRM PC
WILLIAMS             CRAIG                 IL         2015L000238      THE GORI LAW FIRM PC                                 WOOD                 BARBARA                MO         1722CC01241      THE GORI LAW FIRM PC
WILLIAMS             DORRENA               MO         1422CC00684      THE GORI LAW FIRM PC                                 WOOD                 CHARLES L              IL         2016L000333      THE GORI LAW FIRM PC
WILLIAMS             ELAINE                IL         2018L000876      THE GORI LAW FIRM PC                                 WOOD                 HERBERT LAWRENCE       IL         2017L000726      THE GORI LAW FIRM PC
WILLIAMS             FORREST               IL         12L420           THE GORI LAW FIRM PC                                 WOOD                 JANIE L                IL         2019L000727      THE GORI LAW FIRM PC
WILLIAMS             HENRY                 LA         201801005        THE GORI LAW FIRM PC                                 WOOD                 JENNIFER L             IL         2015L000706      THE GORI LAW FIRM PC
WILLIAMS             JOHN                  IL         12L912           THE GORI LAW FIRM PC                                 WOOD                 JOHN C                 IL         2019L000152      THE GORI LAW FIRM PC
WILLIAMS             JULIAN                IL         2016L001222      THE GORI LAW FIRM PC                                 WOOD                 NANCY E                IL         2017L000726      THE GORI LAW FIRM PC
WILLIAMS             LARRY                 IL         2018L000876      THE GORI LAW FIRM PC                                 WOOD                 ORTON                  MO         1722CC01241      THE GORI LAW FIRM PC
WILLIAMS             LARRY E               MO         1622CC00807      THE GORI LAW FIRM PC                                 WOOD                 PATRICIA J             IL         2016L000333      THE GORI LAW FIRM PC
WILLIAMS             LILA                  MO         1622CC00807      THE GORI LAW FIRM PC                                 WOOD                 SHIRLEY                IL         2019L000152      THE GORI LAW FIRM PC
WILLIAMS             LILLIE                IL         2016L000613      THE GORI LAW FIRM PC                                 WOODCOCK             ANGELA                 IL         2015L000956      THE GORI LAW FIRM PC
WILLIAMS             MARION PASKINS        PA         180701459        THE GORI LAW FIRM PC                                 WOODCOCK             DANNY EARL             IL         2015L000956      THE GORI LAW FIRM PC
WILLIAMS             MARY                  IL         2015L001380      THE GORI LAW FIRM PC                                 WOODEN               LISA D                 IL         2019L001264      THE GORI LAW FIRM PC
WILLIAMS             PAMELA                IL         2015L000238      THE GORI LAW FIRM PC                                 WOODS                BURKS                  MO         1722CC11376      THE GORI LAW FIRM PC
WILLIAMS             PAUL                  IL         2018L001743      THE GORI LAW FIRM PC                                 WOODS                GAYNELL                MO         1722CC11376      THE GORI LAW FIRM PC
WILLIAMS             RACHEL                IL         12L420           THE GORI LAW FIRM PC                                 WOODS                JAMES S                IL         19L0198          THE GORI LAW FIRM PC
WILLIAMS             RUTH                  MO         1622CC09825      THE GORI LAW FIRM PC                                 WOODS                MARIA D                IL         19L0198          THE GORI LAW FIRM PC
WILLIAMS             RYAN                  IL         2016L001222      THE GORI LAW FIRM PC                                 WOODS                STEPHANIE M            IL         2018L000254      THE GORI LAW FIRM PC
WILLIAMS             SHARON FOWLKES        IL         2017L000928      THE GORI LAW FIRM PC                                 WOOTEN               GERALD L               MO         1722CC00528      THE GORI LAW FIRM PC
WILLIAMS             SHERI                 MO         1622CC10544      THE GORI LAW FIRM PC                                 WOOTEN               WILLIAM CHESTER        IL         19L0409          THE GORI LAW FIRM PC
WILLIAMS             THOMAS B              MO         1622CC09825      THE GORI LAW FIRM PC                                 WOOTEN               YVONNE                 MO         1722CC00528      THE GORI LAW FIRM PC
WILLIAMSON           HARRY                 IL         18L0273          THE GORI LAW FIRM PC                                 WORRELL              ROBERT SLADE           IL         19L0261          THE GORI LAW FIRM PC
WILLIAMSON           TERESA                IL         18L0273          THE GORI LAW FIRM PC                                 WORRELL              STEVEN DANIEL          IL         19L0261          THE GORI LAW FIRM PC
WILLIAMSON           WENDY                 IL         2016L000683      THE GORI LAW FIRM PC                                 WRIGHT               DAVID A                MO         1422CC10153      THE GORI LAW FIRM PC
WILLIE               CHRISTINE E           IL         2019L001336      THE GORI LAW FIRM PC                                 WRIGHT               DAVID G                IL         2019L000726      THE GORI LAW FIRM PC
WILLIE               THURMAN LANSFORD      IL         2019L001336      THE GORI LAW FIRM PC                                 WRIGHT               FRANCES M              IL         2016L000426      THE GORI LAW FIRM PC
WILLIS               BARBARA               IL         2016L001543      THE GORI LAW FIRM PC                                 WRIGHT               GLADYS E               IL         2019L000726      THE GORI LAW FIRM PC
WILLIS               BOBBY L               IL         2019L000748      THE GORI LAW FIRM PC                                 WRIGHT               JANET                  IL         14L759           THE GORI LAW FIRM PC




                                                                                                            Appendix A - 730
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 65 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WRIGHT               JAYLA M               MO         1422CC10153      THE GORI LAW FIRM PC                                 ANDERSON             ASKEL J III           OH         100CV11587       THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               JIMMY CAROLL          IL         19L0273          THE GORI LAW FIRM PC                                 ANTUNEZ              JOSELITO              VI         60592            THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               JIMMY RUSSELL         IL         19L0273          THE GORI LAW FIRM PC                                 ARIOLA               PEDRO M               VI         60692            THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               JORDAN                IL         2017L001327      THE GORI LAW FIRM PC                                 AUGUSTE              OCTAVE A              VI         66592            THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               KRISTOPHER            IL         2018L001579      THE GORI LAW FIRM PC                                 BAAGARI              MOHAMED A             OH         198CV13703       THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               LOUIS C               IL         14L759           THE GORI LAW FIRM PC                                 BARTEL               WILLARD E             VI         65392            THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               MARGARET              IL         2017L001327      THE GORI LAW FIRM PC                                 BARTEL               WILLARD E             OH         197CV11258       THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               MORGAN                MO         1522CC10124      THE GORI LAW FIRM PC                                 BARTEL               WILLARD E             OH         197CV11790       THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               ROLAND P              MO         1522CC10124      THE GORI LAW FIRM PC                                 BAXTER               MERTON D              OH         199CV11350       THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               ROLAND PERRY          MO         1522CC10124      THE GORI LAW FIRM PC                                 BERTOLINO            JOHN S                VI         60892            THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               SHANNA                IL         2018L001579      THE GORI LAW FIRM PC                                 BOLTON               FRANK A               VI         61092            THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT               SUSAN FAITH           MO         1522CC10124      THE GORI LAW FIRM PC                                 BROADUS              WILLIAM L SR          OH         100CV11379       THE JAQUES ADMIRALTY LAW FIRM, PC
WRIGHT DAVIS         JUDITH                MO         1422CC10153      THE GORI LAW FIRM PC                                 BROOKSHIRE           LAIRY M JR            OH         100CV11937       THE JAQUES ADMIRALTY LAW FIRM, PC
WUNDER               DOROTHY               IL         2017L001291      THE GORI LAW FIRM PC                                 BROWN                CARL E                OH         101CV10950       THE JAQUES ADMIRALTY LAW FIRM, PC
WYATT                DIANA                 IL         19L0596          THE GORI LAW FIRM PC                                 BROWN                JUNIUS                OH         189CV16271       THE JAQUES ADMIRALTY LAW FIRM, PC
WYATT                JOHNNIE               IL         19L0596          THE GORI LAW FIRM PC                                 CARROLL              MORGAN L              VI         66692            THE JAQUES ADMIRALTY LAW FIRM, PC
WYLESKY              GARRY                 IL         2017L000002      THE GORI LAW FIRM PC                                 CARSON               THOMAS S              VI         66792            THE JAQUES ADMIRALTY LAW FIRM, PC
YACK                 DENISE                IL         18L0820          THE GORI LAW FIRM PC                                 CELMER               JOHN A                OH         100CV11995       THE JAQUES ADMIRALTY LAW FIRM, PC
YACK                 DENNIS                IL         18L0820          THE GORI LAW FIRM PC                                 CEPEDA               ALEJANDRO             VI         61192            THE JAQUES ADMIRALTY LAW FIRM, PC
YACUR                WAYNE                 IL         19L0242          THE GORI LAW FIRM PC                                 CORREA               BERMINGES F           OH         199CV12071       THE JAQUES ADMIRALTY LAW FIRM, PC
YARBROUGH            BETTY L               IL         2016L000561      THE GORI LAW FIRM PC                                 COWART               EDWARD R              VI         67092            THE JAQUES ADMIRALTY LAW FIRM, PC
YARBROUGH            DONALD E              IL         2016L000561      THE GORI LAW FIRM PC                                 CURLEW               JOHN W                VI         61392            THE JAQUES ADMIRALTY LAW FIRM, PC
YATES                CYNTHIA BLACKWELL     IL         2018L001403      THE GORI LAW FIRM PC                                 CUSTODIO             SALERMO G             OH         100CV11908       THE JAQUES ADMIRALTY LAW FIRM, PC
YATES                JOSEPH                IL         2018L001403      THE GORI LAW FIRM PC                                 DAVIS                JOHN J                VI         67192            THE JAQUES ADMIRALTY LAW FIRM, PC
YAZZIE               ADRIAN                IL         2018L001583      THE GORI LAW FIRM PC                                 DE BELLAISTRE        RENE                  VI         67292            THE JAQUES ADMIRALTY LAW FIRM, PC
YAZZIE               ERIN                  IL         2018L001583      THE GORI LAW FIRM PC                                 DELROSARIO           AMADOR A              OH         100CV12236       THE JAQUES ADMIRALTY LAW FIRM, PC
YOHAN                BRENDA                MO         1622CC10001      THE GORI LAW FIRM PC                                 DUNN                 JOHN                  OH         189CV16091       THE JAQUES ADMIRALTY LAW FIRM, PC
YOHAN                WOODROW               MO         1622CC10001      THE GORI LAW FIRM PC                                 DYPSKI               STEPHEN G             VI         67392            THE JAQUES ADMIRALTY LAW FIRM, PC
YORK                 DOROTHY K             MO         1722CC11041      THE GORI LAW FIRM PC                                 EATON                MARVIN L              VI         67492            THE JAQUES ADMIRALTY LAW FIRM, PC
YORK                 RAYMOND H             MO         1722CC11041      THE GORI LAW FIRM PC                                 EVARISTO             NESTOR C              OH         100CV11408       THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                BRENDA                IL         2018L000563      THE GORI LAW FIRM PC                                 EXPOSITO             JOHN                  VI         67592            THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                DENNIS                MO         1922CC10859      THE GORI LAW FIRM PC                                 FARNEN               CHRISTOPHER F         OH         197CV11790       THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                DONALD R              IL         2018L000563      THE GORI LAW FIRM PC                                 FIELDS               BERNARD P             OH         197CV14349       THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                JOSEPH F              MO         1622CC10020      THE GORI LAW FIRM PC                                 FIGUEROA             RAMON                 OH         100CV11948       THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                LIONEL                MO         1722CC11422      THE GORI LAW FIRM PC                                 FINCHER              JABE J SR             VI         67692            THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                PEGGY                 MO         1722CC11422      THE GORI LAW FIRM PC                                 FINE                 ALFRED                VI         67792            THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                RUBY L                IL         19L0856          THE GORI LAW FIRM PC                                 FLEMMING             DUDLEY E              VI         67892            THE JAQUES ADMIRALTY LAW FIRM, PC
YOUNG                WILMA                 MO         1622CC10020      THE GORI LAW FIRM PC                                 FLETCHER             NOBLE A JR            OH         189CV16287       THE JAQUES ADMIRALTY LAW FIRM, PC
YOUSSEF              RIAD EMILE            MO         1822CC11935      THE GORI LAW FIRM PC                                 FRANCISCO            NESTOR M              OH         100CV11714       THE JAQUES ADMIRALTY LAW FIRM, PC
YOUSSEF              TAMMI                 MO         1822CC11935      THE GORI LAW FIRM PC                                 FRANKLIN             CHARLES               VI         61992            THE JAQUES ADMIRALTY LAW FIRM, PC
YURKOVICH            JOHN A                IL         15L368           THE GORI LAW FIRM PC                                 FRAZIER              JAMES H               OH         189CV14863       THE JAQUES ADMIRALTY LAW FIRM, PC
YURKOVICH            PATRICIA              IL         15L368           THE GORI LAW FIRM PC                                 GAMEL                FRED                  VI         68092            THE JAQUES ADMIRALTY LAW FIRM, PC
YUTKO                EILEEN                IL         2017L001255      THE GORI LAW FIRM PC                                 GANDARA              JOSEPH F              OH         195CV11075       THE JAQUES ADMIRALTY LAW FIRM, PC
YUTKO                RONALD                IL         2017L001255      THE GORI LAW FIRM PC                                 GARCIA               DIOSDADO D            OH         100CV10296       THE JAQUES ADMIRALTY LAW FIRM, PC
YZAGUIRRE            RAMONA ANDRADE        IL         2018L000671      THE GORI LAW FIRM PC                                 GARDIER              LOUIS A               VI         68192            THE JAQUES ADMIRALTY LAW FIRM, PC
ZAMORA               OSCAR D               MO         1822CC11611      THE GORI LAW FIRM PC                                 GARZIA               CIRO                  OH         189CV15391       THE JAQUES ADMIRALTY LAW FIRM, PC
ZAMORA-VASQUEZ       ZOPHIA M              MO         1822CC11611      THE GORI LAW FIRM PC                                 GILLIKIN             CHARLES O             OH         189CV15057       THE JAQUES ADMIRALTY LAW FIRM, PC
ZARUBINSKY           ARKADY                IL         2017L001272      THE GORI LAW FIRM PC                                 GONSOLAND            GEORGE                VI         62392            THE JAQUES ADMIRALTY LAW FIRM, PC
ZARUBINSKY           BELLA                 IL         2017L001272      THE GORI LAW FIRM PC                                 GONZALEZ             ENRIQUE               OH         189CV15925       THE JAQUES ADMIRALTY LAW FIRM, PC
ZAWADZKI             JOANN                 IL         18L86            THE GORI LAW FIRM PC                                 GONZALEZ             ENRIQUE               OH         197CV11489       THE JAQUES ADMIRALTY LAW FIRM, PC
ZAWADZKI             JOSEPH PHILIP         IL         18L86            THE GORI LAW FIRM PC                                 GONZALEZ             JUAN                  VI         68292            THE JAQUES ADMIRALTY LAW FIRM, PC
ZBIGNIEWICZ          CATHERINE             IL         11L499           THE GORI LAW FIRM PC                                 GOODWIN              THOMAS J              OH         199CV12980       THE JAQUES ADMIRALTY LAW FIRM, PC
ZBIGNIEWICZ          LEON                  IL         11L499           THE GORI LAW FIRM PC                                 GRAY                 WALTER W              VI         68492            THE JAQUES ADMIRALTY LAW FIRM, PC
ZELENKA              NATALIE DAMARIS       IL         2019L000335      THE GORI LAW FIRM PC                                 HARRIS               ANN                   VI         68692            THE JAQUES ADMIRALTY LAW FIRM, PC
ZELENKA              WILLIAM               IL         2019L000335      THE GORI LAW FIRM PC                                 HARRIS               BURLEY G              VI         68592            THE JAQUES ADMIRALTY LAW FIRM, PC
ZENO                 ANTHONY               IL         2017L000661      THE GORI LAW FIRM PC                                 HARRIS               JOHN O JR             VI         68692            THE JAQUES ADMIRALTY LAW FIRM, PC
ZENO                 DAWN R                IL         2017L000661      THE GORI LAW FIRM PC                                 HARRIS               THOMAS W              LA         CV931274         THE JAQUES ADMIRALTY LAW FIRM, PC
ZIERER               JAMES                 IL         2016L000340      THE GORI LAW FIRM PC                                 HAYES                EDWARD M              VI         62592            THE JAQUES ADMIRALTY LAW FIRM, PC
ZIERER               SHIRLEY               IL         2016L000340      THE GORI LAW FIRM PC                                 HERNANDEZ            VICTOR                VI         62692            THE JAQUES ADMIRALTY LAW FIRM, PC
ZIMMERMAN            HENRY                 IL         13L2193          THE GORI LAW FIRM PC                                 HINTON               FRANCILLA H           OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC
ZIMMERMAN            JACQUELINE            IL         13L2193          THE GORI LAW FIRM PC                                 HOLLEY               WILLIAM G             VI         68792            THE JAQUES ADMIRALTY LAW FIRM, PC
ZOGRAFOS             ANTIGONI              IL         03L1059          THE GORI LAW FIRM PC                                 HOLMES               WARREN W              VI         62892            THE JAQUES ADMIRALTY LAW FIRM, PC
ZOGRAFOS             JOHN                  IL         03L1059          THE GORI LAW FIRM PC                                 HUGHES               JOSEPH HENRY JR       OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC
ZYCH                 SHIRLEY               IL         2018L000386      THE GORI LAW FIRM PC                                 HUGHES               PAUL L                OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC
ZYCH                 WALTER                IL         2018L000386      THE GORI LAW FIRM PC                                 HUGHES               ROSE MARY             OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC
           TRUE      FREDERICK             IL         2018L001278      THE GORI LAW FIRM PC                                 HUGHES               ROSE MARY LEE         OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC
           TRUE      TERRI                 IL         2018L001278      THE GORI LAW FIRM PC                                 HUGHES               SHERLYN               OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC
AGE                  CHARLES J             VI         60492            THE JAQUES ADMIRALTY LAW FIRM, PC                    ITTER                KENNETH R             VI         68892            THE JAQUES ADMIRALTY LAW FIRM, PC
ALLEN                JW                    OH         100CV11510       THE JAQUES ADMIRALTY LAW FIRM, PC                    JOHNSON              CHARLES R             VI         62992            THE JAQUES ADMIRALTY LAW FIRM, PC
ALLEN                ROBERT R              VI         66392            THE JAQUES ADMIRALTY LAW FIRM, PC                    JOHNSON              FRED D                OH         189CV15072       THE JAQUES ADMIRALTY LAW FIRM, PC
ALVARADO             JOSE C                OH         189CV15019       THE JAQUES ADMIRALTY LAW FIRM, PC                    JOHNSON              JAMES JR              VI         63092            THE JAQUES ADMIRALTY LAW FIRM, PC




                                                                                                            Appendix A - 731
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 66 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JONES                GEORGE M              VI         63192            THE JAQUES ADMIRALTY LAW FIRM, PC                    TAYLOR               ARTHUR B              VI         65292             THE JAQUES ADMIRALTY LAW FIRM, PC
JONES                WILLIAM H             OH         197CV11258       THE JAQUES ADMIRALTY LAW FIRM, PC                    TETONIS              THEODORE M            VI         70192             THE JAQUES ADMIRALTY LAW FIRM, PC
KALAMA               HENRY                 OH         189CV16313       THE JAQUES ADMIRALTY LAW FIRM, PC                    TILLMAN              JOANN H               OH         195CV11962        THE JAQUES ADMIRALTY LAW FIRM, PC
KAMANTIGUE           GODOFREDO S           OH         100CV11476       THE JAQUES ADMIRALTY LAW FIRM, PC                    TISSOT               ROBERT P              OH         100CV10391        THE JAQUES ADMIRALTY LAW FIRM, PC
KEENEY               RONALD M              OH         100CV12393       THE JAQUES ADMIRALTY LAW FIRM, PC                    TORRES               FRANCISCO O           VI         65392             THE JAQUES ADMIRALTY LAW FIRM, PC
KIKKEN               RUDY                  OH         100CV11760       THE JAQUES ADMIRALTY LAW FIRM, PC                    VADEN                WILLIE B              VI         65492             THE JAQUES ADMIRALTY LAW FIRM, PC
KOPATZ               WALTER                OH         189CV16320       THE JAQUES ADMIRALTY LAW FIRM, PC                    VANCE                WILLIAM N             OH         189CV16368        THE JAQUES ADMIRALTY LAW FIRM, PC
KUNDRAT              JOSEPH J              OH         189CV16192       THE JAQUES ADMIRALTY LAW FIRM, PC                    VEGA                 MARCIANO              VI         65592             THE JAQUES ADMIRALTY LAW FIRM, PC
LAMOTTA              JACK L                OH         100CV11662       THE JAQUES ADMIRALTY LAW FIRM, PC                    VIGNE                ARTHUR                CA         C932813MHP        THE JAQUES ADMIRALTY LAW FIRM, PC
LENNA                JAMES A               VI         63292            THE JAQUES ADMIRALTY LAW FIRM, PC                    WALKER               HERMAN J              VI         65692             THE JAQUES ADMIRALTY LAW FIRM, PC
LOFTIN               SAMUEL L              OH         189CV15081       THE JAQUES ADMIRALTY LAW FIRM, PC                    WANAMEKER            RUSSELL A             OH         100CV10036        THE JAQUES ADMIRALTY LAW FIRM, PC
LOVETT               MOSE J                OH         189CV16197       THE JAQUES ADMIRALTY LAW FIRM, PC                    WARFIELD             JOSEPH                VI         70292             THE JAQUES ADMIRALTY LAW FIRM, PC
LYBERT               LEON                  VI         69292            THE JAQUES ADMIRALTY LAW FIRM, PC                    WASHINGTON           RUDOLPH               VI         65792             THE JAQUES ADMIRALTY LAW FIRM, PC
MALONE               GEORGE E              VI         63392            THE JAQUES ADMIRALTY LAW FIRM, PC                    WAY                  CARL E                VI         65892             THE JAQUES ADMIRALTY LAW FIRM, PC
MANN                 RAY H                 VI         63492            THE JAQUES ADMIRALTY LAW FIRM, PC                    WEAVER               RALPH R               VI         65992             THE JAQUES ADMIRALTY LAW FIRM, PC
MATOS                ANGEL M               OH         189CV15788       THE JAQUES ADMIRALTY LAW FIRM, PC                    WICKS                PERCIVAL              VI         66192             THE JAQUES ADMIRALTY LAW FIRM, PC
MCFARLAND            RALPH C               OH         189CV16337       THE JAQUES ADMIRALTY LAW FIRM, PC                    WILLIAMS             JAMES R               OH         192CV11083        THE JAQUES ADMIRALTY LAW FIRM, PC
MCFIELD              LUIS C                OH         100CV12176       THE JAQUES ADMIRALTY LAW FIRM, PC                    YAFAI                KALEB K               OH         100CV11927        THE JAQUES ADMIRALTY LAW FIRM, PC
MCKAY                ABRAHAM L             OH         189CV15790       THE JAQUES ADMIRALTY LAW FIRM, PC                    YGLESIAS             RAUL S                VI         66292             THE JAQUES ADMIRALTY LAW FIRM, PC
MEDINA               GUILLERMO M           OH         192CV10269       THE JAQUES ADMIRALTY LAW FIRM, PC                    ZEMAITIS             ALBERT A              VI         70392             THE JAQUES ADMIRALTY LAW FIRM, PC
MELENDEZ RIVERA      JOSE R                VI         69392            THE JAQUES ADMIRALTY LAW FIRM, PC                    HENSON               DIANNE E              MO         1816CV03007       THE KLAMANN LAW FIRM
MILLER               CREIGHTON E           VI         65492            THE JAQUES ADMIRALTY LAW FIRM, PC                    HENSON               JESSE                 MO         1816CV03007       THE KLAMANN LAW FIRM
MIMS                 WILLIAM Y             VI         63592            THE JAQUES ADMIRALTY LAW FIRM, PC                    SAMPSON              ROBERT CHRISTOPHER    WV         11C2033           THE LAW FIRM OF CARRIE L. NEWTON
MONTANEZ             MANUEL                VI         63692            THE JAQUES ADMIRALTY LAW FIRM, PC                    SAMPSON              VERONA J              WV         11C2033           THE LAW FIRM OF CARRIE L. NEWTON
MOORE                JOHN E                VI         69492            THE JAQUES ADMIRALTY LAW FIRM, PC                    WILLIS               SHARON                IL         2007L0327         THE LAW OFFICES OF FREDERIC W. NESSLER
MORRISON             EMBRY DELL            TX         D158414          THE JAQUES ADMIRALTY LAW FIRM, PC                    WILLIS               WILLIAM E             IL         2007L0327         THE LAW OFFICES OF FREDERIC W. NESSLER
MURAKAMI             TOM T                 OH         189CV16345       THE JAQUES ADMIRALTY LAW FIRM, PC                    BOLES                HUGH J                MA         062406            THE LAW OFFICES OF JOHN TARA
MURPHY               HENRY                 VI         63792            THE JAQUES ADMIRALTY LAW FIRM, PC                    KUHLMANN             FAYE A                WV         19C624            THE LAW OFFICES OF PAUL A WEYKAMP
NACPIL               MANUEL S              OH         100CV11772       THE JAQUES ADMIRALTY LAW FIRM, PC                    KUHLMANN             WILLIAM C A           WV         19C624            THE LAW OFFICES OF PAUL A WEYKAMP
NASH                 OLSEN R SR            OH         100CV10674       THE JAQUES ADMIRALTY LAW FIRM, PC                    SPENCER              RONALD P              MD         24X08000500       THE LAW OFFICES OF PAUL A WEYKAMP
NAVARRO              ABELARDO              OH         100CV10262       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABBOTT               LEON                  VA         740CL0200085700   THE LAW OFFICES OF PETER T. NICHOLL
NUNEZ                CARMELO               VI         63892            THE JAQUES ADMIRALTY LAW FIRM, PC                    ABBOTT               SUSAN J               MD         24X05000140       THE LAW OFFICES OF PETER T. NICHOLL
PANGANIBAN           LEONARDO R            OH         199CV11852       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABBOTT               WILLIAM E             MD         24X05000140       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               LUCILLE               MI         94418051NP       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABDULLAH             DAWUD JERR            MD         24X07000536       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               RONALD E              MI         94418051NP       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABDULLAH             SHERRIE               MD         24X07000536       THE LAW OFFICES OF PETER T. NICHOLL
PEEBLES              DAVID C               VI         65392            THE JAQUES ADMIRALTY LAW FIRM, PC                    ABEY                 BRENDA C              MD         98219519CX1558    THE LAW OFFICES OF PETER T. NICHOLL
PEEBLES              DAVID C               OH         197CV11258       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABEY                 TERRY B               MD         98219519CX1558    THE LAW OFFICES OF PETER T. NICHOLL
PEEBLES              DAVID C               OH         197CV11790       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABILDSO              LAURIE C              MD         24X10000013       THE LAW OFFICES OF PETER T. NICHOLL
PEREZ                MANUEL E              OH         100CV10032       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABLE                 BELINDA               MD         24X01000957       THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             HAROLD F              VI         63992            THE JAQUES ADMIRALTY LAW FIRM, PC                    ABLE                 VICTOR L              MD         24X01000957       THE LAW OFFICES OF PETER T. NICHOLL
PETTAWAY             JERRY                 VI         64092            THE JAQUES ADMIRALTY LAW FIRM, PC                    ABNER                HAL L                 VA         740CL0000133500   THE LAW OFFICES OF PETER T. NICHOLL
PUMAR                HORACIO J             VI         69592            THE JAQUES ADMIRALTY LAW FIRM, PC                    ABNEY                MICHAEL               MD         24X02001223       THE LAW OFFICES OF PETER T. NICHOLL
RADONA               JOSE Y                OH         100CV12372       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABNEY                PRISCILLA W           MD         24X02001223       THE LAW OFFICES OF PETER T. NICHOLL
RAWLINS              COTTRELL B            PA         94062156         THE JAQUES ADMIRALTY LAW FIRM, PC                    ABRAHAM              WILLIE                MD         24X02000050       THE LAW OFFICES OF PETER T. NICHOLL
REEVES               ASHTON H              OH         189CV14896       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABRAMS               DAVID A               MD         24X02001220       THE LAW OFFICES OF PETER T. NICHOLL
RICE                 CARL W                OH         189CV15806       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABRAMS               GENE F                VA         740CL0300031700   THE LAW OFFICES OF PETER T. NICHOLL
RICHARD              MACQUELINE HUGHES     OH         195CV11962       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABSHIRE              BETTY L               MD         24X06000583       THE LAW OFFICES OF PETER T. NICHOLL
RODRIGUEZ            HIPOLITO S            VI         64292            THE JAQUES ADMIRALTY LAW FIRM, PC                    ABSON                JEFRO J               MD         98133513CX920     THE LAW OFFICES OF PETER T. NICHOLL
RODRIGUEZ-DIAZ       MIGUEL A              OH         190CV10663       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABSON                JEFRO J               MD         24X04000978       THE LAW OFFICES OF PETER T. NICHOLL
ROMER                ALBERT                OH         100CV11543       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABSON                MARY A                MD         24X04000978       THE LAW OFFICES OF PETER T. NICHOLL
ROSARIO              JUAN A                OH         100CV10740       THE JAQUES ADMIRALTY LAW FIRM, PC                    ABSON                MARY A                MD         98133513CX920     THE LAW OFFICES OF PETER T. NICHOLL
SAFFORD              JESSE J               VI         64392            THE JAQUES ADMIRALTY LAW FIRM, PC                    ACKER                CLARENCE L            VA         700CL0029910C03   THE LAW OFFICES OF PETER T. NICHOLL
SALDIVAR             RICHARDO G            OH         100CV11332       THE JAQUES ADMIRALTY LAW FIRM, PC                    ACKER                CLARENCE L SR         VA         700CL9927989W01   THE LAW OFFICES OF PETER T. NICHOLL
SAMAT                KASSIM B              VI         64492            THE JAQUES ADMIRALTY LAW FIRM, PC                    ACKER                EULA M                VA         740CL0100157300   THE LAW OFFICES OF PETER T. NICHOLL
SANCHEZ              JUAN A                VI         64592            THE JAQUES ADMIRALTY LAW FIRM, PC                    ACKER                HAYWOOD L             MD         24X03000817       THE LAW OFFICES OF PETER T. NICHOLL
SANCHEZ              TRINIDAD              OH         196CV10554       THE JAQUES ADMIRALTY LAW FIRM, PC                    ACKER                HAYWOOD L             MD         24X07000553       THE LAW OFFICES OF PETER T. NICHOLL
SANDIFORD            NEVILLE               VI         64692            THE JAQUES ADMIRALTY LAW FIRM, PC                    ACKWITH              FREDERICK E           MD         24X03000314       THE LAW OFFICES OF PETER T. NICHOLL
SANTANA              BLADEMIRO S           OH         199CV10804       THE JAQUES ADMIRALTY LAW FIRM, PC                    ACORD                IRA C                 MD         98281501CX1879    THE LAW OFFICES OF PETER T. NICHOLL
SCHMIDT              FRANK                 VI         69792            THE JAQUES ADMIRALTY LAW FIRM, PC                    ACREE                ALFRED E              VA         740CL0300121700   THE LAW OFFICES OF PETER T. NICHOLL
SCHNEIDERMAN         HELEN A               PA         94062156         THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                CLYDE                 MD         24X04000993       THE LAW OFFICES OF PETER T. NICHOLL
SCHNEIDERMAN         LEONARD J             PA         94062156         THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                DALLAS D              VA         700CL0438697J05   THE LAW OFFICES OF PETER T. NICHOLL
SENNA                WILLIAM P             VI         69892            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                DANIEL W              VA         29704RW           THE LAW OFFICES OF PETER T. NICHOLL
SERRAO               GREGORY R             VI         64792            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                DENISE                MD         01000341          THE LAW OFFICES OF PETER T. NICHOLL
SHERMAN              RICHARD J             VI         64892            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                DONALD S              VA         740CL0300013700   THE LAW OFFICES OF PETER T. NICHOLL
SILVA                WALTER                OH         189CV15949       THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                EDWARD B              MD         01000341          THE LAW OFFICES OF PETER T. NICHOLL
SIMIHTIS             JOHN                  VI         64992            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                FRED                  VA         700CL0539127P03   THE LAW OFFICES OF PETER T. NICHOLL
SMYTH                ISAIAH L              VI         65092            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                HAROLD E              VA         740CL0300025400   THE LAW OFFICES OF PETER T. NICHOLL
SOTOMAYOR            SAMUEL A              OH         100CV12000       THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                JAMES A               VA         740CL0100194700   THE LAW OFFICES OF PETER T. NICHOLL
SPIEGEL              HANS                  VI         65192            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                JAMES A               VA         29123EH           THE LAW OFFICES OF PETER T. NICHOLL
STERINGER            CHARLES E             OH         199CV12771       THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                JERRY                 VA         700CL0438359J05   THE LAW OFFICES OF PETER T. NICHOLL
SUIRE                JOSEPH R JR           VI         70092            THE JAQUES ADMIRALTY LAW FIRM, PC                    ADAMS                JOSEPH                MD         01000789          THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                            Appendix A - 732
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 67 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

ADAMS                MARK E                MD         24X02000880       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                DAVID D               VA         700CLO438369J05   THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                MARY LOU              MD         24X02000890       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                DENESA                MD         24X97022519       THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                ROBERT D              MD         98240518CX1670    THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                DIANE                 MD         24X03000786       THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                ROBERT D              MD         24X05000141       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                DONALD J              MD         24X03000786       THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                RONALD C              VA         740CL0200123500   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                EARL H                MD         24X06000486       THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                RONALD E              VA         740CL0300125500   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                FOSTER                MD         24X15000045       THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                ROSEMARY A            MD         24X05000141       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                GRACE                 MD         24X05000634       THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                ROSEMARY A            MD         98240518CX1670    THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                JAMES A               VA         740CL0300020100   THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                WILLIAM N             MD         24X02000890       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                JAMES E               VA         700CL0539128H02   THE LAW OFFICES OF PETER T. NICHOLL
ADAMS                JESSIE M              MD         24X04000993       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                JERRY W               VA         740CL0300165800   THE LAW OFFICES OF PETER T. NICHOLL
ADCOCK               CLIFTON E             VA         700CL0438717J05   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                KAREN                 MD         24X10000425       THE LAW OFFICES OF PETER T. NICHOLL
ADCOCK               CLIFTON E             VA         700CL0538917T01   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                LARRY D               MD         24X08000245       THE LAW OFFICES OF PETER T. NICHOLL
ADCOCK               JUNE B                VA         700CL0538917T01   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                LEONARD               VA         740CL0200117100   THE LAW OFFICES OF PETER T. NICHOLL
ADKINS               MAUDE                 MD         24X06000067       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                LEONARD               MD         24X05000634       THE LAW OFFICES OF PETER T. NICHOLL
ADKINS               MAUDE                 MD         24X02002093       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                LINDA K               VA         740CL0300020000   THE LAW OFFICES OF PETER T. NICHOLL
ADKINS               THOMAS H              VA         740CL0100143400   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                MICHAEL L             VA         700CL0235889C03   THE LAW OFFICES OF PETER T. NICHOLL
ADKINS               WILLIAM               MD         24X06000067       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                NATHANIEL             MD         24X01001629       THE LAW OFFICES OF PETER T. NICHOLL
ADKINS               WILLIAM T             MD         24X02002093       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                ODIS JESSE            VA         740CL0100175200   THE LAW OFFICES OF PETER T. NICHOLL
ADKINSON             ANTHONY M             VA         740CL99001963     THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                PATRICIA J            MD         24X04000905       THE LAW OFFICES OF PETER T. NICHOLL
ADOLEMAIU-BEY        RAMIR A               MD         24X10000501       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                ROBERT L              VA         700CL0232117V05   THE LAW OFFICES OF PETER T. NICHOLL
AGEE                 JAMES E               MD         24X06000196       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                ROBERT L              MD         24X04000905       THE LAW OFFICES OF PETER T. NICHOLL
AGEE                 MARY                  MD         24X06000196       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                ROMEY                 MD         X01000109         THE LAW OFFICES OF PETER T. NICHOLL
AGENT                ELWOOD C              MD         24X08000052       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                RONNIE                MD         24X10000425       THE LAW OFFICES OF PETER T. NICHOLL
AGENT                HELEN                 MD         24X08000052       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                ROSENA                MD         24X97022519       THE LAW OFFICES OF PETER T. NICHOLL
AGENT                MARY L                MD         24X14000212       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                RUSSELL O             MD         24X97022519       THE LAW OFFICES OF PETER T. NICHOLL
AGNOR                WAYNE R               VA         740CL0100213800   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                THEODIUS H            VA         700CL0437607V04   THE LAW OFFICES OF PETER T. NICHOLL
AHMAD                RAHEEM                VA         29365VA           THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                THERESA A             MD         24X04000903       THE LAW OFFICES OF PETER T. NICHOLL
AIKENS               MITCHELL A            VA         740CL0200223400   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                VALERIE               MD         24X01001984       THE LAW OFFICES OF PETER T. NICHOLL
AKBAR                ARTHUR A.G.           VA         740CL0300165700   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                WALTER E              MD         24X04000903       THE LAW OFFICES OF PETER T. NICHOLL
AKERS                SHIRLEY               MD         24X01000956       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                WILLIAM E             VA         740CL0200355100   THE LAW OFFICES OF PETER T. NICHOLL
AKERS                WALTER L              MD         24X01000956       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                ZELLIOUS              MD         X01000254         THE LAW OFFICES OF PETER T. NICHOLL
AKERS                WILLIAM L             VA         740CL0100203700   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEN                CATHERINE             MD         24X06000486       THE LAW OFFICES OF PETER T. NICHOLL
AL-AMIN              KWANZA J              MD         24X02002015       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEY                TOMMY A               VA         740CL0300019800   THE LAW OFFICES OF PETER T. NICHOLL
ALBAN                SHERRI                MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL                  ALLEYNE              CARL A                MD         98324521CX2206    THE LAW OFFICES OF PETER T. NICHOLL
ALBRITTON            HARVEY L              VA         740CL0200013900   THE LAW OFFICES OF PETER T. NICHOLL                  ALLEYNE              DAISY M               MD         98324521CX2206    THE LAW OFFICES OF PETER T. NICHOLL
ALDERMAN             BENNIE                MD         98324520CX2205    THE LAW OFFICES OF PETER T. NICHOLL                  ALLISON              CHARLES W             MD         24X08000568       THE LAW OFFICES OF PETER T. NICHOLL
ALDERMAN             KARA M                MD         98324520CX2205    THE LAW OFFICES OF PETER T. NICHOLL                  ALLISON              SANDRA                MD         24X08000568       THE LAW OFFICES OF PETER T. NICHOLL
ALDERMAN             LARRY                 MD         98317506CX2137    THE LAW OFFICES OF PETER T. NICHOLL                  ALLMAN               JACK D                MD         98183516CX1343    THE LAW OFFICES OF PETER T. NICHOLL
ALDERSON             BARRY L               MD         24X03001145       THE LAW OFFICES OF PETER T. NICHOLL                  ALLMOND              CHARLES H             VA         740CL020021600    THE LAW OFFICES OF PETER T. NICHOLL
ALDERSON             BARRY L               MD         98155502CX1128    THE LAW OFFICES OF PETER T. NICHOLL                  ALLMOND              ENNIS H               VA         740CL0200359400   THE LAW OFFICES OF PETER T. NICHOLL
ALDERSON             WILMA J               MD         98155502CX1128    THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               BEN                   MD         24X01000720       THE LAW OFFICES OF PETER T. NICHOLL
ALDERSON             WILMA J               MD         24X03001145       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               BERNICE               VA         740CL0300030200   THE LAW OFFICES OF PETER T. NICHOLL
ALDRIDGE             REGINALD D            VA         28250EH           THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               BYRDETTE              MD         24X02000391       THE LAW OFFICES OF PETER T. NICHOLL
ALEVATO              JEAN D                MD         24X04000900       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               CLAUDETTE             MD         24X01001940       THE LAW OFFICES OF PETER T. NICHOLL
ALEVETO              ANTHONY O             MD         24X04000900       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               DAVID R               VA         700CL0539581T01   THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            CHARLES L             MD         24X13000142       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               ELIJAH                VA         700CL0232735W01   THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            CLARENCE              VA         28537VC           THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               GENEVA                VA         700CL0539581T01   THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            GERALDINE             MD         X01000791         THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               GEORGE H              MD         24X01001940       THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            JACQUELINE            MD         24X02001204       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               HENRY E               VA         740CL9900197400   THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            JAMES T               MD         24X02001204       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               JAMES                 MD         24X05000132       THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            JAMILA D              MD         24X11000235       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               JOHN E                VA         010972            THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            JERRY                 MD         24X11000235       THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               MICHAEL D             VA         700CL0437885T05   THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            JOCELYN M             MD         X01001130         THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               MILDRED L             MD         24X02000391       THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            JOE W                 VA         740CL0300123700   THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               PEGGY J               MD         24X05000132       THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            KARL B                MD         X01000791         THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               RICKEY                MD         98338555CX2379    THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            MELVIN L              VA         740CL0200046100   THE LAW OFFICES OF PETER T. NICHOLL                  ALSTON               STANLEY               VA         740CL0200377300   THE LAW OFFICES OF PETER T. NICHOLL
ALEXANDER            THEODORE O            MD         24X01001709       THE LAW OFFICES OF PETER T. NICHOLL                  ALSUP                REGINALD M            MD         24X02001225       THE LAW OFFICES OF PETER T. NICHOLL
ALFORD               ANNIE M               VA         700CL0538907T01   THE LAW OFFICES OF PETER T. NICHOLL                  ALTMAN               MURIEL                MD         24X10000183       THE LAW OFFICES OF PETER T. NICHOLL
ALFORD               BURCH P               VA         700CL0231814V05   THE LAW OFFICES OF PETER T. NICHOLL                  ALTMAN               THOMAS D              MD         24X10000183       THE LAW OFFICES OF PETER T. NICHOLL
ALFORD               BURCH P               VA         700CL0538907T01   THE LAW OFFICES OF PETER T. NICHOLL                  ALTON                ANN                   MD         24X02001058       THE LAW OFFICES OF PETER T. NICHOLL
ALFORD               PEGGY L               VA         740CL0200039200   THE LAW OFFICES OF PETER T. NICHOLL                  ALTON                JAMES W               MD         24X02001058       THE LAW OFFICES OF PETER T. NICHOLL
ALI-EL               ANWAAR AGU            MD         24X17000197       THE LAW OFFICES OF PETER T. NICHOLL                  ALVEY                WILLIAM J             VA         740CL0300025500   THE LAW OFFICES OF PETER T. NICHOLL
ALLBRITTON           SAMUEL                VA         29032VC           THE LAW OFFICES OF PETER T. NICHOLL                  AMEND                CATHERINE J           MD         98402512          THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                ALBERT R              MD         24X02000002       THE LAW OFFICES OF PETER T. NICHOLL                  AMEND                DOROTHY H             MD         24X02001207       THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                ALVES A               MD         24X01001984       THE LAW OFFICES OF PETER T. NICHOLL                  AMEND                GEORGE M              MD         24X02001207       THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                ARTHA L               VA         011145            THE LAW OFFICES OF PETER T. NICHOLL                  AMEND                HARRY F               MD         98402512          THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                BENJAMIN              MD         24X02001586       THE LAW OFFICES OF PETER T. NICHOLL                  AMES                 JAMES D               MD         24X02001776       THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                CAROLYN               MD         X01000254         THE LAW OFFICES OF PETER T. NICHOLL                  AMES                 ROBERT B              VA         740CL0100210800   THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                CARROLL M             VA         29793VC           THE LAW OFFICES OF PETER T. NICHOLL                  AMES                 THERMAN E             VA         740CL0300123800   THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                CHARLES F             VA         32578RC           THE LAW OFFICES OF PETER T. NICHOLL                  AMMONS               JASPER S              VA         31954RC           THE LAW OFFICES OF PETER T. NICHOLL
ALLEN                CHARLES L             VA         740CL0300199600   THE LAW OFFICES OF PETER T. NICHOLL                  ANDERS               MARGARET V            MD         24X04000695       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 733
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 68 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

ANDERSON             ADA M                 MD         24X05000593        THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              JAMES L               VA         700CL0438811H02   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             AGATHER               MD         24X0400034         THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              LARRY A               VA         29225VC           THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             BUNNARD               VA         001575             THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              LUCIUS                MD         24X09000267       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             CLIFTON R             MD         24X10000448        THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              MELVIN                VA         740CL0200085800   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             CLINTON B             VA         29560RC            THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              MILTON O              VA         700CL0232579W01   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             DARLENE               MD         24X02002414        THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              PAULETTE T            VA         700CL0539107P03   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             DOLLIE                MD         98162515CX1176     THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              RAYMOND B             VA         31944RC           THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             DURWARD O.            VA         740CL0200358400    THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              ROOSEVELT             MD         99000461          THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             FRANK                 VA         29570RC            THE LAW OFFICES OF PETER T. NICHOLL                  ANTHONY              THEODORE F            VA         740CL0100194800   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             GEORGE M              VA         29317EH            THE LAW OFFICES OF PETER T. NICHOLL                  ANZER                BETTY J               MD         24X05000292       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             GEORGIA               MD         24X01002102        THE LAW OFFICES OF PETER T. NICHOLL                  ANZER                WILLIAM               MD         24X05000292       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             HARVEY L              VA         002651             THE LAW OFFICES OF PETER T. NICHOLL                  APPLEWHITE           BILL                  VA         740CL0200072000   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             HENRY                 VA         740CL0100346000    THE LAW OFFICES OF PETER T. NICHOLL                  APPLEWHITE           HAROLD L              VA         700CL0235839C03   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             IDA L                 VA         29618VA            THE LAW OFFICES OF PETER T. NICHOLL                  APSON                CARL                  MD         X01000607         THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JAMES M               VA         700CL0538920V04    THE LAW OFFICES OF PETER T. NICHOLL                  ARBAN                STEPHEN W             VA         740CL0200296600   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JAMES M JR            VA         28225EH            THE LAW OFFICES OF PETER T. NICHOLL                  ARBELLA              JAMES                 MD         24X10000157       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JAMES P               VA         29318RC            THE LAW OFFICES OF PETER T. NICHOLL                  ARCHER               LINWOOD E             VA         31934RC           THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JEAN R                VA         700CL0538918P03    THE LAW OFFICES OF PETER T. NICHOLL                  ARCHEY               STEWART F             VA         29413RC           THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JEROME L              VA         740CL0200087800    THE LAW OFFICES OF PETER T. NICHOLL                  ARGENBRIGHT          SHIRLEY M             MD         24X12000653       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOE L                 MD         24X02001716        THE LAW OFFICES OF PETER T. NICHOLL                  ARKINS               BEVERLY J             MD         24X09000266       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOE L                 MD         98155506CX1132     THE LAW OFFICES OF PETER T. NICHOLL                  ARKINS               CHARLES J             MD         98310534CX2112    THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOHN H                MD         98162515CX1176     THE LAW OFFICES OF PETER T. NICHOLL                  ARKINS               LULA M                MD         98310534CX2112    THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOHN M                VA         700CL0437597V04    THE LAW OFFICES OF PETER T. NICHOLL                  ARMISTEAD            PHIL S                VA         29006V05          THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOHNNIE               VA         740CL0200129200    THE LAW OFFICES OF PETER T. NICHOLL                  ARMISTEAD            SIDNEY G              VA         740CL0100167400   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOSEPH JR             MD         98225508CX1592     THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTEAD             RONNIE D              VA         29375VA           THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOSEPH M              MD         24X02002414        THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTEAD             WILBERT H             VA         700CL0438187W01   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOYCE E               MD         24X13000414        THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            CAROLYN P             MD         24X01001031       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             LADDIE                VA         740CL0300123900    THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            CLARENCE O            MD         24X01001836       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             LEE                   MD         24X13000414        THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            IVAN W                MD         24X13000131       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             LUCILLE B             VA         700CL0538919H02    THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            JAMES I               VA         740CL0200204700   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             MARY H                MD         24X05000290        THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            NATHAN E              MD         24X01001031       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             MAXIE K               VA         740CL0100213900    THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            TAMMIE                MD         24X12000419       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             MAXIE K               VA         700CL0538918P03    THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            TAMMIE                MD         24X15000599       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             MICHAEL J             VA         700CL00258198W01   THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            THERESA               MD         24X01001836       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             NORMA L               MD         24X05000835        THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            TURNER JR             MD         98197505CX1403    THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             OLIVER                VA         001286             THE LAW OFFICES OF PETER T. NICHOLL                  ARMSTRONG            VINCENT L             MD         X98402609         THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             RANDFORD SR           MD         98219509CX1549     THE LAW OFFICES OF PETER T. NICHOLL                  ARNOLD               ALBERT B              VA         740CL0100334200   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             RONNIE N              VA         700CL0437750H02    THE LAW OFFICES OF PETER T. NICHOLL                  ARNOLD               GARLAND D             VA         29019C03          THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             ROSCOE                VA         700CL0231955W01    THE LAW OFFICES OF PETER T. NICHOLL                  ARP                  WILLIAM G             MD         98338544CX2368    THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             STEVEN E              MD         X01000875          THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            CATHERINE             MD         24X03000294       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             WILLIAM R             VA         002652             THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            CHARLES A             VA         700CL0233170A04   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             WILLIAM R             VA         700CL0538919H02    THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            CORINE                MD         24X03000666       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             WILLIAM T             MD         24X01002102        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            CURTIS                MD         24X03000294       THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             WILLIE D              MD         24X06000192        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            DAVID C               VA         740CL0300013900   THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             JOE L                 MD         24X05000593        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            HORACE H              VA         29795VA           THE LAW OFFICES OF PETER T. NICHOLL
ANDERSON             MAE                   VA         700CL0538920V04    THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            JACK C                VA         001342            THE LAW OFFICES OF PETER T. NICHOLL
ANDREASIK            JAMES                 MD         24X02000336        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            JACK C                VA         700CL0538921J05   THE LAW OFFICES OF PETER T. NICHOLL
ANDREJAK             CHESTER J             MD         98275505CX1856     THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            JOE                   MD         24X03000666       THE LAW OFFICES OF PETER T. NICHOLL
ANDREJAK             HELEN M               MD         98275505CX1856     THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            JOE L                 MD         24X14000496       THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              ALYEX V               MD         24X02001153        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            LARRY D               VA         29319RW           THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              DAVID W               MD         24X02001986        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            LARRY J               VA         740CL0200070900   THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              EDWARD D              MD         98261515CX1739     THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            MARY B                VA         700CL0538921J05   THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              JAMES R               VA         700CL0232201W01    THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            PAUL D                VA         740CL0100131200   THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              JOE                   VA         700CL0235890W01    THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            THERMAN E             MD         24X15000314       THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              JOHN M                VA         740CL0300125600    THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            THOMAS E              MD         98324534CX2219    THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              MARY                  MD         24X02001986        THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            WESLEY                MD         24X02000815       THE LAW OFFICES OF PETER T. NICHOLL
ANDREWS              VELMA M               MD         98261515CX1739     THE LAW OFFICES OF PETER T. NICHOLL                  ARRINGTON            WESLEY                MD         24X08000058       THE LAW OFFICES OF PETER T. NICHOLL
ANGELIER             CHARLES F             MD         01000159           THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               CAROLYN               MD         24X02002110       THE LAW OFFICES OF PETER T. NICHOLL
ANGELIER             CHARLES F III         MD         01000159           THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               JUNE M                VA         700CL0538908P03   THE LAW OFFICES OF PETER T. NICHOLL
ANGELIER             MAGDALAN L            MD         X01000497          THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               MARCUS L              VA         29355VC           THE LAW OFFICES OF PETER T. NICHOLL
ANGELIER             MAGDALEN              MD         01000159           THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               MELVIN J              VA         29948VC           THE LAW OFFICES OF PETER T. NICHOLL
ANGLE                JOSEPH E              VA         29794RW            THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               MELVIN J              VA         700CL0538908P03   THE LAW OFFICES OF PETER T. NICHOLL
ANGLE                RONALD L              VA         001947             THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               RUCKER J              VA         740CL0100119000   THE LAW OFFICES OF PETER T. NICHOLL
ANSELMI              EUGENE                MD         24X10000237        THE LAW OFFICES OF PETER T. NICHOLL                  ARTHUR               WAYNE R               MD         24X02002110       THE LAW OFFICES OF PETER T. NICHOLL
ANSELMI              LILLIAN               MD         24X10000237        THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                CURTIS L              VA         001804            THE LAW OFFICES OF PETER T. NICHOLL
ANTCZAK              LEONARD               MD         24X06000726        THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                DIERDRA S             VA         700CL0437627V04   THE LAW OFFICES OF PETER T. NICHOLL
ANTCZAK              MARGARET E            MD         24X06000726        THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                EARL S                VA         0028860A04        THE LAW OFFICES OF PETER T. NICHOLL
ANTHONY              ADRELL T              VA         740CL0100171800    THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                EDWARD J              VA         700CL9928009W01   THE LAW OFFICES OF PETER T. NICHOLL
ANTHONY              CORBETT               MD         X01001148          THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                GILBERT L             VA         740CL0300125700   THE LAW OFFICES OF PETER T. NICHOLL
ANTHONY              GAYLE C               VA         01974              THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                JAMES T               VA         740CL0100334300   THE LAW OFFICES OF PETER T. NICHOLL
ANTHONY              JAMES H               MD         24X01001172        THE LAW OFFICES OF PETER T. NICHOLL                  ARTIS                JAMES T               VA         010966            THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                               Appendix A - 734
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                          Complaint-Part 2 Page 69 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

ARTIS                LANDA E               VA         740CL0200054300     THE LAW OFFICES OF PETER T. NICHOLL                  AYERS                JOHN E                MD         X01000994         THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                LEE S                 VA         700CL9927896C03     THE LAW OFFICES OF PETER T. NICHOLL                  AYERS                JOHN K                MD         01000174          THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                LESTER                VA         001287              THE LAW OFFICES OF PETER T. NICHOLL                  AYERS                JOSEPH E              MD         24X02002280       THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                LORENZO W             VA         011146              THE LAW OFFICES OF PETER T. NICHOLL                  AYERS                ROBERT E              MD         X01000851         THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                MATTIE M              VA         740CL0300026000     THE LAW OFFICES OF PETER T. NICHOLL                  AYERS                SELWYN                MD         24X09000336       THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                MELVIN                VA         28708VC             THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 CHARLES E             MD         24X01000478       THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                ROBERT A              VA         740CL0300023900     THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 CHARLES M             VA         740CL0300124000   THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                SALLIE M              MD         24X09000119         THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 HELEN                 MD         24X01000478       THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                WAYNE D               VA         740CL0200071000     THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 HERMAN                VA         700CL0438217W01   THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                WILBERT L             VA         740CL0200014000     THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 LEWIS V               VA         740CL0200204800   THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                WILLIAM T             VA         740CL0000018500     THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 MELVIN L              VA         700CL0231815A04   THE LAW OFFICES OF PETER T. NICHOLL
ARTIS                WILLIE R              VA         700CL0437627V04     THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 STANLEY               MD         24X01002085       THE LAW OFFICES OF PETER T. NICHOLL
ARTIS JR             WILLIS                VA         740CL0300026000     THE LAW OFFICES OF PETER T. NICHOLL                  BABB                 STELLA                MD         24X01002085       THE LAW OFFICES OF PETER T. NICHOLL
ARVIG                DAWN                  MD         24X17000119         THE LAW OFFICES OF PETER T. NICHOLL                  BACKMAN              LILLIE                MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL
ASADI                MUHAMMAD              VA         013173              THE LAW OFFICES OF PETER T. NICHOLL                  BACOAT               CORRINE               MD         98148502CX1052    THE LAW OFFICES OF PETER T. NICHOLL
ASARIAS              JOSE O                VA         740CL0200295600     THE LAW OFFICES OF PETER T. NICHOLL                  BACOAT               LESTER                MD         98148502CX1052    THE LAW OFFICES OF PETER T. NICHOLL
ASHBURN              CLEOPHUS              VA         740CL9900189100     THE LAW OFFICES OF PETER T. NICHOLL                  BADGETT              WILLIAM A             VA         700CL0232098A04   THE LAW OFFICES OF PETER T. NICHOLL
ASHBURN              HEYWOOD               VA         99001639            THE LAW OFFICES OF PETER T. NICHOLL                  BAGBY                CAROLYN               MD         24X11000389       THE LAW OFFICES OF PETER T. NICHOLL
ASHCROFT             JOHN W                VA         700CL0438812J05     THE LAW OFFICES OF PETER T. NICHOLL                  BAGBY                JAMES R               VA         29619EH           THE LAW OFFICES OF PETER T. NICHOLL
ASHE                 ALLISON G             VA         740CL0300165900     THE LAW OFFICES OF PETER T. NICHOLL                  BAGBY                ZOLLIE D              MD         24X11000389       THE LAW OFFICES OF PETER T. NICHOLL
ASHE                 JOHN M                VA         700CL0232736V05     THE LAW OFFICES OF PETER T. NICHOLL                  BAGGERLY             LISA                  MD         24X01001588       THE LAW OFFICES OF PETER T. NICHOLL
ASHE                 KELLY Z               VA         740CL0300166000     THE LAW OFFICES OF PETER T. NICHOLL                  BAGGERLY             RAYMOND               MD         24X01001588       THE LAW OFFICES OF PETER T. NICHOLL
ASHTON               CONSTANCE             MD         24X06000272         THE LAW OFFICES OF PETER T. NICHOLL                  BAGINSKI             JAMES                 MD         24X02001149       THE LAW OFFICES OF PETER T. NICHOLL
ASHTON               RICHARD E             MD         24X06000272         THE LAW OFFICES OF PETER T. NICHOLL                  BAGLEY               DORIS C               MD         24X05000716       THE LAW OFFICES OF PETER T. NICHOLL
ASHWOOD              ALLEN M               MD         24X03000442         THE LAW OFFICES OF PETER T. NICHOLL                  BAGLEY               SPENCER T             MD         24X11000947       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                ALEXANDER             VA         33180VA             THE LAW OFFICES OF PETER T. NICHOLL                  BAGLEY               THOMAS                MD         24X05000716       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                ALTON N               VA         29561RW             THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                DANIEL P              MD         24X05000192       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                CURTIS                VA         29042VC             THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                EDWARD                MD         24X02001242       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                DAVID A               VA         013174              THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                FLORENCE              MD         24X03000448       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                DONALD                VA         740CL0100334400     THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                FREDERICK M           MD         24X03000448       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                EUGENE E              VA         001387              THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                JOHN C                MD         24X05000193       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                EUGENE H              VA         01924               THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                LENORE                MD         24X05000192       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                JOE JR                VA         CL9927948V05        THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                LINDA                 MD         24X05000193       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                JOSEPH C              VA         001646              THE LAW OFFICES OF PETER T. NICHOLL                  BAIER                MARY LOU              MD         24X02001242       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                LINWOOD               VA         700CL0232097V05     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               ALFRED T              VA         700CL0233140A04   THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                NICKLESS O            VA         740CL0200358500     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               BENJAMIN              MD         24X02000984       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                RICHARD E             VA         700CL0235781V05     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               BETTY L               MD         24X05000597       THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                STEPHEN R             MD         24X02001587         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               BOBBY                 VA         740CL0000157900   THE LAW OFFICES OF PETER T. NICHOLL
ASKEW                WILLIAM R             VA         01975               THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               CAROLYN               MD         24X02002094       THE LAW OFFICES OF PETER T. NICHOLL
ASTEN                NAOMI M               MD         24X05000133         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               CHARLES H             MD         24X01001215       THE LAW OFFICES OF PETER T. NICHOLL
ATKINS               CAROL S               MD         24X10000181         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               CHARLES H             VA         740CL0300125800   THE LAW OFFICES OF PETER T. NICHOLL
ATKINS               DENNIS                MD         24X10000181         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               CHARLES H             MD         24X06000490       THE LAW OFFICES OF PETER T. NICHOLL
ATKINS               LAVERN                VA         700CL0235929C03     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               CURTIS C              MD         24X02002094       THE LAW OFFICES OF PETER T. NICHOLL
ATKINS               PHILLIP               VA         740CL0200358600     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               DORIS                 MD         24X02000984       THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             BILLY                 MD         24X02001138         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               EARLIE B              VA         740CL0200359500   THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             EARL L                MD         24X14000487         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               GEORGE H              VA         29005A04          THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             EDSEL L               VA         700CL0539365H02     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               GEORGE R              VA         740CL0300240300   THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             ERNEST C              MD         24X02001231         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               GLADYS G              VA         700CL0538909H02   THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             KIMBERLY              MD         24X03001140         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               HARRISON L            MD         24X04000110       THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             LAWRENCE M            MD         24X03001140         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               HENDERSON             VA         002020            THE LAW OFFICES OF PETER T. NICHOLL
ATKINSON             THOMAS L              VA         30058VC             THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               HERBERT J             VA         700CL0232099H02   THE LAW OFFICES OF PETER T. NICHOLL
ATLEE                ELAINE I              MD         24X09000057         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JAMES                 VA         740CL0100123700   THE LAW OFFICES OF PETER T. NICHOLL
ATWOOD               CLAUDE D              VA         740CL0200040200     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JAMES                 MD         24X07000002       THE LAW OFFICES OF PETER T. NICHOLL
ATWOOD               VIRGINIA A            VA         740CL0200040200     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JAMES R               VA         29949RW           THE LAW OFFICES OF PETER T. NICHOLL
AUGBURN              ALVIN S               VA         28984RC             THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JANET                 MD         24X02000819       THE LAW OFFICES OF PETER T. NICHOLL
AUGBURN              WILLIAM               VA         29113EH             THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JOHN                  MD         24X01002041       THE LAW OFFICES OF PETER T. NICHOLL
AUGUSTYNIAK          CAROL                 MD         24X03000820         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JOHN L                VA         CL9927938V05      THE LAW OFFICES OF PETER T. NICHOLL
AUGUSTYNIAK          CAROL                 MD         X01000876           THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JULIA                 MD         24X01001215       THE LAW OFFICES OF PETER T. NICHOLL
AULD                 EDWARD M              MD         24X07000051         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               JULIA M               MD         24X06000490       THE LAW OFFICES OF PETER T. NICHOLL
AUSBY                SYLVIA A              MD         98289517CX1929      THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               LARRY J               VA         740CL0100157400   THE LAW OFFICES OF PETER T. NICHOLL
AUSTIN               CHARLES H             VA         740CL0200313400     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               LENTON S              VA         CL9928029W01      THE LAW OFFICES OF PETER T. NICHOLL
AUSTIN               DAVID L               VA         29841RW             THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               LEON P                VA         740CL0200042600   THE LAW OFFICES OF PETER T. NICHOLL
AUSTIN               ELLEN A               MD         24X02000295         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               LESTER O              MD         24X02000819       THE LAW OFFICES OF PETER T. NICHOLL
AUSTIN               LEROY I               VA         700CL0437617V04     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               OLA M                 MD         24X07000002       THE LAW OFFICES OF PETER T. NICHOLL
AUSTIN               RICHARD L             MD         24X02000295         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               PERCY                 VA         700CL0232100C03   THE LAW OFFICES OF PETER T. NICHOLL
AVENT                HERBERT L             MD         24X01001837         THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               PERRY M               VA         29043EH           THE LAW OFFICES OF PETER T. NICHOLL
AVERY                ALBERT C              VA         740CL0100204900     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               RAYMOND               VA         740CL0100193700   THE LAW OFFICES OF PETER T. NICHOLL
AVERY                ANDREW K              VA         740CL0100205000     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               ROBERT L              VA         0090100           THE LAW OFFICES OF PETER T. NICHOLL
AWKARD               SHARON C              MD         24X97240501CX1792   THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               SAUL J                VA         0028760C03        THE LAW OFFICES OF PETER T. NICHOLL
AYDLETT              ROBERT                VA         740CL0300240200     THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               SAUL J                VA         700CL0538909H02   THE LAW OFFICES OF PETER T. NICHOLL
AYERS                DELORES               MD         X01000851           THE LAW OFFICES OF PETER T. NICHOLL                  BAILEY               THURLOW D             VA         700CL0437730H02   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                Appendix A - 735
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 70 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BAILEY               TIM                   MD         24X05000597       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                JEROME                MD         24X04000443       THE LAW OFFICES OF PETER T. NICHOLL
BAILEY               TORONA L              VA         001578            THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                JOHN P                VA         700CL0231956V05   THE LAW OFFICES OF PETER T. NICHOLL
BAILEY               WALTER L              VA         740CL0100185000   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                JOHN W                VA         011147            THE LAW OFFICES OF PETER T. NICHOLL
BAILEY               WILLIAM D             MD         24X01001689       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                JOSEPH E              VA         740CL0100309400   THE LAW OFFICES OF PETER T. NICHOLL
BAINES               DAVID W               VA         700CL0233141C03   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                KENNETH LEVERNE       MD         01000931          THE LAW OFFICES OF PETER T. NICHOLL
BAINES               WALTER N              VA         700CL0232462H02   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                LEON                  VA         740CL0100190700   THE LAW OFFICES OF PETER T. NICHOLL
BAISLEY              HOWARD G              MD         24X03000341       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                LEWIS C               VA         740CL0300026400   THE LAW OFFICES OF PETER T. NICHOLL
BAISLEY              PAMELA                MD         24X03000341       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                LLOYD S               VA         700CL0437608H02   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                BENNIE                MD         98219504CX1543    THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                MARIANNE              MD         98302512CX2036    THE LAW OFFICES OF PETER T. NICHOLL
BAKER                DAVID L               VA         740CL0200014100   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                MICHAEL R             VA         001627            THE LAW OFFICES OF PETER T. NICHOLL
BAKER                DONALD R              VA         700CL0539137P03   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                MILTON R              VA         740CL0300244700   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                DONNA A               MD         24X11000342       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                NAOMI                 MD         X99001531         THE LAW OFFICES OF PETER T. NICHOLL
BAKER                DOROTHY E             VA         700CL0437598H02   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                NICHOLAS              VA         001775            THE LAW OFFICES OF PETER T. NICHOLL
BAKER                EDWARD F              MD         24X11000342       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                RICHARD E             VA         740CL0300124200   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                EDWARD S              VA         700CL0437587V04   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                ROBERT L              VA         29900RC           THE LAW OFFICES OF PETER T. NICHOLL
BAKER                GARY N                VA         740CL0100159900   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                SPENCER N             VA         29756EH           THE LAW OFFICES OF PETER T. NICHOLL
BAKER                GEORGE C              VA         700CL0437628H02   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                STANLEY V             VA         700CL0438197W01   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                HENRY L               MD         24X10000095       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                THOMAS L              VA         700CL0232725W01   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                ISAAC J               VA         740CL0200176700   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                VENSON O              VA         31945RW           THE LAW OFFICES OF PETER T. NICHOLL
BAKER                JAMES E               MD         24X10000154       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                VICKIE                MD         01000931          THE LAW OFFICES OF PETER T. NICHOLL
BAKER                JAMES O               VA         29002H02          THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WALLACE C             VA         700CL0437865T05   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                JOSEPH                VA         27982EH           THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIAM               MD         24X11000261       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                KENNETH R             VA         700CL0233171C03   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIAM H             VA         28985VA           THE LAW OFFICES OF PETER T. NICHOLL
BAKER                LARRY E               VA         32362VC           THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIAM H             VA         740CL0000128800   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                LEE A                 VA         740CL0100157500   THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIAM R             MD         98324518CX2203    THE LAW OFFICES OF PETER T. NICHOLL
BAKER                MARLENE               MD         24X10000154       THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIAM R             MD         24X05000106       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                NORMA J               MD         X99000273         THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIAM T             MD         24X04000721       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                PAUL C                MD         X99000273         THE LAW OFFICES OF PETER T. NICHOLL                  BANKS                WILLIE A              VA         700CL0233142W01   THE LAW OFFICES OF PETER T. NICHOLL
BAKER                RAMON V               MD         24X01001807       THE LAW OFFICES OF PETER T. NICHOLL                  BANNERMAN            DIANE                 MD         24X14000488       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                RAYMOND R             MD         24X10000451       THE LAW OFFICES OF PETER T. NICHOLL                  BANNERMAN            JOHN T                MD         24X14000488       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                ROBERT L              MD         24X11000356       THE LAW OFFICES OF PETER T. NICHOLL                  BANNERMAN            RONALD N              MD         98296516CX1994    THE LAW OFFICES OF PETER T. NICHOLL
BAKER                RODELL E              MD         24X11000182       THE LAW OFFICES OF PETER T. NICHOLL                  BANNISTER            BERRY                 VA         002653            THE LAW OFFICES OF PETER T. NICHOLL
BAKER                RONALD L              VA         740CL0000016500   THE LAW OFFICES OF PETER T. NICHOLL                  BANNISTER            JAMES E               MD         24X05000115       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                VIRGIL L              VA         30021EH           THE LAW OFFICES OF PETER T. NICHOLL                  BANNISTER            LAMONT T              MD         24X02000337       THE LAW OFFICES OF PETER T. NICHOLL
BAKER                WILLIE H              VA         740CL0100203800   THE LAW OFFICES OF PETER T. NICHOLL                  BANNISTER            NINA D                MD         24X05000115       THE LAW OFFICES OF PETER T. NICHOLL
BALDERSON            RALPH N               MD         24X12001043       THE LAW OFFICES OF PETER T. NICHOLL                  BARATONE             CHARLES G             MD         24X12000496       THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              BRENDA                MD         24X06000440       THE LAW OFFICES OF PETER T. NICHOLL                  BARBEE               SAMUEL R              MD         24X06000202       THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              BRUCE A               MD         24X06000440       THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               ALVESTER              VA         740CL0100123300   THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              EARL G                VA         740CL0200002500   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               CATHERINE             MD         24X01001193       THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              JAMES A               VA         740CL0100320400   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               CLARENCE J            MD         24X01001193       THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              JAMES E               VA         740CL0200086800   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               DAVID                 MD         24X06000284       THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              LARRY R               MD         24X04000239       THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               ELIZABETH M           MD         24X05000009       THE LAW OFFICES OF PETER T. NICHOLL
BALDWIN              TERRY                 MD         24X04000239       THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               ELIZABETH M           MD         24X06000125       THE LAW OFFICES OF PETER T. NICHOLL
BALL                 RICHARD L             VA         740CL0100170800   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               JAMES C               VA         740CL0100158300   THE LAW OFFICES OF PETER T. NICHOLL
BALLARD              ALBERT L              VA         700CL0028197C03   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               JAMES D               MD         24X06000125       THE LAW OFFICES OF PETER T. NICHOLL
BALLARD              FRED E                VA         740CL0200115100   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               JAMES D               MD         24X05000009       THE LAW OFFICES OF PETER T. NICHOLL
BALLARD              GUTHRIE E             VA         740CL0100195700   THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               LEROY H               MD         24X02001715       THE LAW OFFICES OF PETER T. NICHOLL
BALLARD              TYRONE                VA         CL9928039W01      THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               LOUIS T               MD         99000050          THE LAW OFFICES OF PETER T. NICHOLL
BALSARICK            VICTOR J              MD         24X04000084       THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               MABEL G               MD         24X06000210       THE LAW OFFICES OF PETER T. NICHOLL
BALSIS               MILDRED A             MD         24X13000139       THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               THOMAS                VA         740CL0300020500   THE LAW OFFICES OF PETER T. NICHOLL
BALSIS               WILLIAM R             MD         24X13000139       THE LAW OFFICES OF PETER T. NICHOLL                  BARBER               VIRGINIA E            MD         24X06000284       THE LAW OFFICES OF PETER T. NICHOLL
BALTZ                ARTHUR J              VA         740CL0300166100   THE LAW OFFICES OF PETER T. NICHOLL                  BARBOUR              GEORGE                VA         740CL0300020600   THE LAW OFFICES OF PETER T. NICHOLL
BANDY                BARBARA L             VA         740CL0100222000   THE LAW OFFICES OF PETER T. NICHOLL                  BARBOUR              JEFF                  VA         700CL0232191W01   THE LAW OFFICES OF PETER T. NICHOLL
BANDY                LEROY                 VA         29988VC           THE LAW OFFICES OF PETER T. NICHOLL                  BARBOUR              KENNETH E             VA         740CL0100144400   THE LAW OFFICES OF PETER T. NICHOLL
BANDY                MELVIN                VA         002726            THE LAW OFFICES OF PETER T. NICHOLL                  BARBOUR              KENNETH E             VA         700CL0538922T01   THE LAW OFFICES OF PETER T. NICHOLL
BANDY                MICHELLE B            MD         24X18000125       THE LAW OFFICES OF PETER T. NICHOLL                  BARBOUR              OLETHIA D             VA         700CL0538922T01   THE LAW OFFICES OF PETER T. NICHOLL
BANDY                ROGER C               VA         740CL0300124100   THE LAW OFFICES OF PETER T. NICHOLL                  BARBREY              DALLAS R              VA         740CL0300166300   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                ALVIN L               VA         740CL0100172000   THE LAW OFFICES OF PETER T. NICHOLL                  BARBREY              LEON R                VA         700CL0232463C03   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                AMOS W                VA         740CL0300166200   THE LAW OFFICES OF PETER T. NICHOLL                  BARCLIFT             DONALD J SR           VA         700CL0028174A04   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                BEATRICE              MD         98324518CX2203    THE LAW OFFICES OF PETER T. NICHOLL                  BARCLIFT             WILLIAM               VA         33150VA           THE LAW OFFICES OF PETER T. NICHOLL
BANKS                BEATRICE A            MD         24X05000106       THE LAW OFFICES OF PETER T. NICHOLL                  BAREFIELD            ROBERT L              VA         011039            THE LAW OFFICES OF PETER T. NICHOLL
BANKS                CAROLYN V             MD         24X11000183       THE LAW OFFICES OF PETER T. NICHOLL                  BARFIELD             GRACIE B              VA         740CL0300019900   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                CHARLES R             VA         740CL0200072100   THE LAW OFFICES OF PETER T. NICHOLL                  BARFIELD             RUDOLPH V             VA         740CL0100128500   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                CHARLES V             VA         740CL0100157600   THE LAW OFFICES OF PETER T. NICHOLL                  BARKER               DEWEY R               MD         24X05000839       THE LAW OFFICES OF PETER T. NICHOLL
BANKS                DAVID E               VA         700CL0235840W01   THE LAW OFFICES OF PETER T. NICHOLL                  BARKER               JANE                  MD         24X05000839       THE LAW OFFICES OF PETER T. NICHOLL
BANKS                DAVID L               VA         740CL0200128000   THE LAW OFFICES OF PETER T. NICHOLL                  BARKER               ROGER A               VA         740CL0300166400   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                ERNEST L              VA         740CL0100346100   THE LAW OFFICES OF PETER T. NICHOLL                  BARKERS              CARL F                VA         29562VC           THE LAW OFFICES OF PETER T. NICHOLL
BANKS                EUGENE I              MD         24X09000335       THE LAW OFFICES OF PETER T. NICHOLL                  BARKERS              ROBERT W              VA         013177            THE LAW OFFICES OF PETER T. NICHOLL
BANKS                FREDERICK D           VA         013175            THE LAW OFFICES OF PETER T. NICHOLL                  BARKLEY              CHARLES E             VA         700CL0437599T05   THE LAW OFFICES OF PETER T. NICHOLL
BANKS                HAROLD A              MD         X99001531         THE LAW OFFICES OF PETER T. NICHOLL                  BARKLEY              DAVID E               MD         24X12000735       THE LAW OFFICES OF PETER T. NICHOLL
BANKS                HAROLD T              VA         013176            THE LAW OFFICES OF PETER T. NICHOLL                  BARKLEY              PRESTON T             MD         24X06000278       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 736
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 71 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel

BARKSDALE            CLARENCE J            MD         24X10000452        THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 ELWOOD O              MD         24X98281503CX1881   THE LAW OFFICES OF PETER T. NICHOLL
BARLEY               MICHAEL K             VA         740CL0100318300    THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 ERNEST L              VA         700CL0438813T01     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ALTON                 VA         001628             THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 HARILEE               VA         102800              THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ARNOLD W              VA         30157EH            THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 JOHN K                MD         24X02001863         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ARTHUR C              VA         740CL0300114200    THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 LINDA                 MD         24X02001863         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               CLAYBORNE A           MD         98197514CX1412     THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 LOWELL W              VA         104200              THE LAW OFFICES OF PETER T. NICHOLL
BARNES               CLIFTON E             MD         X01000110          THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 LOWELL W              VA         700CL0538924H02     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               DALLAS J              VA         700CL0437600P03    THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 RUDOLPH JR            VA         28216VC             THE LAW OFFICES OF PETER T. NICHOLL
BARNES               DAVID C               VA         700CL0538923P03    THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 RUTHIE                MD         24X98281503CX1881   THE LAW OFFICES OF PETER T. NICHOLL
BARNES               DOROTHY               MD         X01001153          THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 SHEROL K              VA         700CL0538924H02     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ELLA R                MD         98338562CX2386     THE LAW OFFICES OF PETER T. NICHOLL                  BASSETT              BERNARD O             VA         740CL9900191000     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               EUNICE                VA         700CL0538923P03    THE LAW OFFICES OF PETER T. NICHOLL                  BASSETT              ENOCH B               VA         700CL0438188V04     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               EVON P                VA         001774             THE LAW OFFICES OF PETER T. NICHOLL                  BATCHELOR            CHARLES L             MD         24X02002715         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               GARY R                VA         740CL0100193800    THE LAW OFFICES OF PETER T. NICHOLL                  BATCHELOR            CONNIE J              VA         740CL0100317800     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               GERALD W              MD         X99000344          THE LAW OFFICES OF PETER T. NICHOLL                  BATCHLOR             DORIS C               VA         700CL0539551T01     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               HORACE                VA         001580             THE LAW OFFICES OF PETER T. NICHOLL                  BATEMAN              LARRY D               VA         002203              THE LAW OFFICES OF PETER T. NICHOLL
BARNES               JAMES A               VA         700CL0233172W01    THE LAW OFFICES OF PETER T. NICHOLL                  BATEMAN              LEON                  VA         002725              THE LAW OFFICES OF PETER T. NICHOLL
BARNES               JESSIE A              VA         740CL0300124300    THE LAW OFFICES OF PETER T. NICHOLL                  BATEMAN              WILLIAM C             VA         740CL0300166500     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               JOHN W                MD         24X01001173        THE LAW OFFICES OF PETER T. NICHOLL                  BATES                ARCHIE P              VA         740CL0100123800     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               JOSEPH R              MD         98338562CX2386     THE LAW OFFICES OF PETER T. NICHOLL                  BATES                BARBARA J             MD         24X02001588         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               KEITH L               VA         011135             THE LAW OFFICES OF PETER T. NICHOLL                  BATES                MARY                  MD         98169503CX1240      THE LAW OFFICES OF PETER T. NICHOLL
BARNES               LILLIE                MD         24X02001240        THE LAW OFFICES OF PETER T. NICHOLL                  BATES                RONALD                MD         98169503CX1240      THE LAW OFFICES OF PETER T. NICHOLL
BARNES               MARY L                MD         98197514CX1412     THE LAW OFFICES OF PETER T. NICHOLL                  BATES                SAMUEL L              VA         740CL0300124400     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               MICHELE C             MD         X99000344          THE LAW OFFICES OF PETER T. NICHOLL                  BATTEN               BILLY R               VA         31935RW             THE LAW OFFICES OF PETER T. NICHOLL
BARNES               MORRIS D              VA         740CL0100112400    THE LAW OFFICES OF PETER T. NICHOLL                  BATTEN               CLEM I                VA         700CL0538910V04     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               NATHANIEL             MD         24X02001240        THE LAW OFFICES OF PETER T. NICHOLL                  BATTEN               FLORENCE M            VA         700CL0538910V04     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               NED                   MD         24X11000678        THE LAW OFFICES OF PETER T. NICHOLL                  BATTEN               LANNIE L              VA         700CL0437895T05     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ORLANDO C             MD         01000798           THE LAW OFFICES OF PETER T. NICHOLL                  BATTEN               RANDY L               VA         700CLO438718T01     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               PHILIP A              MD         X01001153          THE LAW OFFICES OF PETER T. NICHOLL                  BATTEN               THOMAS V              VA         740CL0100334500     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ROGERS L              VA         740CL0300125900    THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               ALFONZIE              VA         700CL0438207W01     THE LAW OFFICES OF PETER T. NICHOLL
BARNES               ROSA                  MD         24X05000388        THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               BOBBY E               MD         24X02001562         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               SIMON                 VA         29007H02           THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               CHARLIE H             MD         24X01001521         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               TYRONE S              MD         24X03000203        THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               JAMES R               MD         24X04001063         THE LAW OFFICES OF PETER T. NICHOLL
BARNES               WILEY                 MD         24X05000388        THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               LAVON O               VA         740CL0200359700     THE LAW OFFICES OF PETER T. NICHOLL
BARNETTE             CLAUDE D              VA         740CL0100320500    THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               LUCY                  MD         24X04001063         THE LAW OFFICES OF PETER T. NICHOLL
BARNETTE             MARTIE F              VA         700CL0539117P03    THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               MARGARET              MD         24X02001562         THE LAW OFFICES OF PETER T. NICHOLL
BARR                 MAMIE                 MD         98338547CX2371     THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               RONNIE A              VA         740CL0200193400     THE LAW OFFICES OF PETER T. NICHOLL
BARR                 NATHANIEL L           MD         98338547CX2371     THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               RUTH J                MD         24X03000174         THE LAW OFFICES OF PETER T. NICHOLL
BARR                 WILLIE J              MD         24X01001897        THE LAW OFFICES OF PETER T. NICHOLL                  BATTLE               THEARTIS              MD         24X03000174         THE LAW OFFICES OF PETER T. NICHOLL
BARRETT              HARRY R               MD         24X06000594        THE LAW OFFICES OF PETER T. NICHOLL                  BATTLES              LAFAYETTE             VA         700CL0539552P03     THE LAW OFFICES OF PETER T. NICHOLL
BARRETT              JIMMIE P              VA         740CL9900192500    THE LAW OFFICES OF PETER T. NICHOLL                  BATTS                JAMES L               VA         740CL0200052300     THE LAW OFFICES OF PETER T. NICHOLL
BARRETT              RALEIGH M             VA         740CL9900190900    THE LAW OFFICES OF PETER T. NICHOLL                  BATTS                MATTHEW L             VA         740CL0300020700     THE LAW OFFICES OF PETER T. NICHOLL
BARRETT              ROBERT E              MD         24X11000184        THE LAW OFFICES OF PETER T. NICHOLL                  BATTS                THEODORE R            VA         700CL0438219H02     THE LAW OFFICES OF PETER T. NICHOLL
BARRON               DALE                  MD         99001756           THE LAW OFFICES OF PETER T. NICHOLL                  BAUBLITZ             CHARLOTTE L           MD         24X06000276         THE LAW OFFICES OF PETER T. NICHOLL
BARRON               DANIEL                MD         24X09000392        THE LAW OFFICES OF PETER T. NICHOLL                  BAUER                KAREN                 MD         24X97330503         THE LAW OFFICES OF PETER T. NICHOLL
BARRON               DANIEL M              MD         24X06000579        THE LAW OFFICES OF PETER T. NICHOLL                  BAUGHER              JUANITA F             MD         24X05000123         THE LAW OFFICES OF PETER T. NICHOLL
BARRON               JOYCE                 MD         24X06000579        THE LAW OFFICES OF PETER T. NICHOLL                  BAUMAN               JOAN                  MD         X01000884           THE LAW OFFICES OF PETER T. NICHOLL
BARRON               JOYCE M               MD         24X09000392        THE LAW OFFICES OF PETER T. NICHOLL                  BAUMAN               WILLIAM T             MD         X01000884           THE LAW OFFICES OF PETER T. NICHOLL
BARROW               CORNELIUS S           VA         700CL023246W01     THE LAW OFFICES OF PETER T. NICHOLL                  BAXLEY               KIBBY D               VA         740CL0100145400     THE LAW OFFICES OF PETER T. NICHOLL
BARROW               ERNEST L              VA         700CL0438218V04    THE LAW OFFICES OF PETER T. NICHOLL                  BAXTER               GEORGE                VA         9901975             THE LAW OFFICES OF PETER T. NICHOLL
BARROW               JAMES M               VA         700CL0232087V05    THE LAW OFFICES OF PETER T. NICHOLL                  BAXTER               GEORGE                VA         001754              THE LAW OFFICES OF PETER T. NICHOLL
BARROW               TOMMIE L              VA         29563VA            THE LAW OFFICES OF PETER T. NICHOLL                  BAYARSKY             FAYE                  MD         24X05000395         THE LAW OFFICES OF PETER T. NICHOLL
BARSH                EDWARD A              MD         24X01000721        THE LAW OFFICES OF PETER T. NICHOLL                  BAYARSKY             FAYE                  MD         24X01002103         THE LAW OFFICES OF PETER T. NICHOLL
BARTEE               CHRISTINE             MD         24X05000252        THE LAW OFFICES OF PETER T. NICHOLL                  BAYARSKY             SYDNEY S              MD         24X01002103         THE LAW OFFICES OF PETER T. NICHOLL
BARTEE               CYNTHIA M             MD         24X02001252        THE LAW OFFICES OF PETER T. NICHOLL                  BAYARSKY             SYDNEY S              MD         24X05000395         THE LAW OFFICES OF PETER T. NICHOLL
BARTEE               DAVID                 MD         24X05000102        THE LAW OFFICES OF PETER T. NICHOLL                  BAYLOR               GERALD O              MD         24X09000159         THE LAW OFFICES OF PETER T. NICHOLL
BARTEE               EDDIE L               MD         24X02001252        THE LAW OFFICES OF PETER T. NICHOLL                  BAYLOR               LEON W                VA         740CL0300026800     THE LAW OFFICES OF PETER T. NICHOLL
BARTEE               EDDIE L               MD         24X05000252        THE LAW OFFICES OF PETER T. NICHOLL                  BAYLOR               THEARTHUR             VA         001583              THE LAW OFFICES OF PETER T. NICHOLL
BARTEE               ROSETTA               MD         24X05000102        THE LAW OFFICES OF PETER T. NICHOLL                  BAYNOR               JOHN T                VA         002724              THE LAW OFFICES OF PETER T. NICHOLL
BARTH                JAY C                 VA         700CL0235588H02    THE LAW OFFICES OF PETER T. NICHOLL                  BAZEMORE             EDWARD C              MD         24X02000003         THE LAW OFFICES OF PETER T. NICHOLL
BARTKO               CAMERON J             MD         99000101           THE LAW OFFICES OF PETER T. NICHOLL                  BAZEMORE             FAITH                 MD         24X02000003         THE LAW OFFICES OF PETER T. NICHOLL
BARTKO               CHERYL                MD         99000101           THE LAW OFFICES OF PETER T. NICHOLL                  BAZEMORE             ROBERT E              VA         740CL0300124500     THE LAW OFFICES OF PETER T. NICHOLL
BARTKO               MICHAEL F             MD         24X01001566        THE LAW OFFICES OF PETER T. NICHOLL                  BAZEMORE             THOREL                VA         700CL0231816H02     THE LAW OFFICES OF PETER T. NICHOLL
BARTLETT             HENDERSON P           VA         740CL0200086900    THE LAW OFFICES OF PETER T. NICHOLL                  BEACH                ROSA M                MD         24X04000029         THE LAW OFFICES OF PETER T. NICHOLL
BARTON               GARRETT B             MD         24X12000498        THE LAW OFFICES OF PETER T. NICHOLL                  BEACHAM              DOROTHY M             MD         24X05000284         THE LAW OFFICES OF PETER T. NICHOLL
BARTON               RONALD B              MD         24X03001152        THE LAW OFFICES OF PETER T. NICHOLL                  BEAL                 MARVIN L              VA         30158RC             THE LAW OFFICES OF PETER T. NICHOLL
BASKER               LUCIUS S              MD         24X04000764        THE LAW OFFICES OF PETER T. NICHOLL                  BEALE                LAWRENCE L            VA         740CL0200312800     THE LAW OFFICES OF PETER T. NICHOLL
BASKERVILLE          BENNIE E              VA         700CL0438360T01    THE LAW OFFICES OF PETER T. NICHOLL                  BEALE                LAWRENCE L            VA         740CL0300014000     THE LAW OFFICES OF PETER T. NICHOLL
BASKETTE             CONNIE                MD         24X01002003        THE LAW OFFICES OF PETER T. NICHOLL                  BEALE                ROBERT L              VA         740CL0200002600     THE LAW OFFICES OF PETER T. NICHOLL
BASKETTE             ROBERT F              MD         24X01002003        THE LAW OFFICES OF PETER T. NICHOLL                  BEAMON               RAY D                 VA         740CL0300124600     THE LAW OFFICES OF PETER T. NICHOLL
BASNIGHT             ARNOLD C              VA         740CL02000128100   THE LAW OFFICES OF PETER T. NICHOLL                  BEAN                 CARMEN L              MD         98323505CX2184      THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                               Appendix A - 737
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 72 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BEAN                 JERRY T               VA         740CL0100320600   THE LAW OFFICES OF PETER T. NICHOLL                  BENNETT              THOMAS L              MD         24X01001565       THE LAW OFFICES OF PETER T. NICHOLL
BEAN                 JOHN H                MD         X01000706         THE LAW OFFICES OF PETER T. NICHOLL                  BENNETT-EL           HAYWARD B             MD         98191517CX1382    THE LAW OFFICES OF PETER T. NICHOLL
BEAN                 KAREN                 MD         X01000706         THE LAW OFFICES OF PETER T. NICHOLL                  BENNETT-EL           JULIA                 MD         98191517CX1382    THE LAW OFFICES OF PETER T. NICHOLL
BEAN                 LEROY M               MD         98323505CX2184    THE LAW OFFICES OF PETER T. NICHOLL                  BENNS                ANTOINETTE            MD         24X10000209       THE LAW OFFICES OF PETER T. NICHOLL
BEANE                ROBERT E              VA         29327EH           THE LAW OFFICES OF PETER T. NICHOLL                  BENNS                JESSE A               MD         24X10000209       THE LAW OFFICES OF PETER T. NICHOLL
BEANE                VERNA                 MD         24X05000753       THE LAW OFFICES OF PETER T. NICHOLL                  BENSON               ALPHONSO              MD         24X02000908       THE LAW OFFICES OF PETER T. NICHOLL
BEARD                ETHEL                 MD         24X02002433       THE LAW OFFICES OF PETER T. NICHOLL                  BENSON               DONALD L              MD         24X09000101       THE LAW OFFICES OF PETER T. NICHOLL
BEARD                GEORGE W              MD         24X02002433       THE LAW OFFICES OF PETER T. NICHOLL                  BENSON               ETHEL M               MD         24X09000101       THE LAW OFFICES OF PETER T. NICHOLL
BEARD                GRACE                 MD         24X03000950       THE LAW OFFICES OF PETER T. NICHOLL                  BENSON               HUIE E                VA         700CL0231957A04   THE LAW OFFICES OF PETER T. NICHOLL
BEARD                NAPOLEON              MD         24X03000950       THE LAW OFFICES OF PETER T. NICHOLL                  BENSTON              DARNELLA              MD         24X05000089       THE LAW OFFICES OF PETER T. NICHOLL
BEASLEY              CATHERINE             MD         24X02001589       THE LAW OFFICES OF PETER T. NICHOLL                  BENSTON              HUBERT L              MD         24X05000089       THE LAW OFFICES OF PETER T. NICHOLL
BEASLEY              DWIGHT A              VA         740CL0300013800   THE LAW OFFICES OF PETER T. NICHOLL                  BENTLEY              CALVIN S              VA         700CL0232101W01   THE LAW OFFICES OF PETER T. NICHOLL
BEASLEY              EDDIE M               VA         740CL0300014700   THE LAW OFFICES OF PETER T. NICHOLL                  BENTON               AUGUSTUS              MD         24X12000913       THE LAW OFFICES OF PETER T. NICHOLL
BEASLEY              EUGENE G JR           VA         700CL9928071V05   THE LAW OFFICES OF PETER T. NICHOLL                  BENTON               CHARLES               VA         700CL0232465V05   THE LAW OFFICES OF PETER T. NICHOLL
BEASLEY              PAUL G                MD         24X01000826       THE LAW OFFICES OF PETER T. NICHOLL                  BENTON               KENNETH G             VA         30059RW           THE LAW OFFICES OF PETER T. NICHOLL
BEASLEY              WILLIAM               MD         24X02001589       THE LAW OFFICES OF PETER T. NICHOLL                  BENTON               WILLIAM A             VA         700CL0235891V05   THE LAW OFFICES OF PETER T. NICHOLL
BEAVERS              DEBORAH               MD         24X01002004       THE LAW OFFICES OF PETER T. NICHOLL                  BERDYCH              RUTH M                MD         24X05000162       THE LAW OFFICES OF PETER T. NICHOLL
BEAVERS              EUGENE J              MD         24X01002004       THE LAW OFFICES OF PETER T. NICHOLL                  BERKLEY              CHRISTINE             MD         24X04000592       THE LAW OFFICES OF PETER T. NICHOLL
BEAVERS              LINDA                 MD         98261506          THE LAW OFFICES OF PETER T. NICHOLL                  BERKLEY              ROBERT T              VA         29473VA           THE LAW OFFICES OF PETER T. NICHOLL
BEAVERS              THOMAS R              MD         98261506          THE LAW OFFICES OF PETER T. NICHOLL                  BERKLEY              WILBER T              MD         24X04000592       THE LAW OFFICES OF PETER T. NICHOLL
BECK                 FRANKIE               MD         24X14000264       THE LAW OFFICES OF PETER T. NICHOLL                  BERNARDELLI          DONALD C              MD         24X13000138       THE LAW OFFICES OF PETER T. NICHOLL
BECK                 TYRONE S              MD         24X14000264       THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                CHARLES H             MD         24X05000381       THE LAW OFFICES OF PETER T. NICHOLL
BECKER               DONALD                MD         98288511CX1911    THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                CHARLES W             VA         740CL0300166600   THE LAW OFFICES OF PETER T. NICHOLL
BECKETT              GEORGE W              MD         24X14000134       THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                CLARETTE M            MD         24X02000790       THE LAW OFFICES OF PETER T. NICHOLL
BECKFORD             SHEILA                VA         700CL0233181C03   THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                DOROTHY P             MD         24X05000381       THE LAW OFFICES OF PETER T. NICHOLL
BEDFORD              JOHN T                VA         700CL0438821H02   THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                EUNICE F              MD         24X13000068       THE LAW OFFICES OF PETER T. NICHOLL
BEDNARSKI            JAMES                 MD         24X11000794       THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                JAMES W               VA         740CL0200002700   THE LAW OFFICES OF PETER T. NICHOLL
BEGOR                EARL I                VA         700CLO438370T01   THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                ROCKY A               MD         98303509CX2046    THE LAW OFFICES OF PETER T. NICHOLL
BELIN                ANNETTE               MD         X01000752         THE LAW OFFICES OF PETER T. NICHOLL                  BERRY                WILLIAM S             MD         24X14000213       THE LAW OFFICES OF PETER T. NICHOLL
BELIN                BEAUFORT              MD         X01000752         THE LAW OFFICES OF PETER T. NICHOLL                  BERTERMAN            FLORA                 MD         24X02000788       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 AL L                  VA         740CL0200072200   THE LAW OFFICES OF PETER T. NICHOLL                  BERTERMAN            FLORA B               MD         24X04000901       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 ALLEN                 MD         24X06000324       THE LAW OFFICES OF PETER T. NICHOLL                  BERTERMAN            WILLIAM F             MD         24X02000788       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 HENRY M               VA         740CL0300244900   THE LAW OFFICES OF PETER T. NICHOLL                  BERTERMAN            WILLIAM F             MD         24X04000901       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 HORACE S              MD         24X02000123       THE LAW OFFICES OF PETER T. NICHOLL                  BERTOLDI             RICHARD               MD         24X16000119       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 HOWARD L              VA         31946VC           THE LAW OFFICES OF PETER T. NICHOLL                  BESS                 JIMMIE                MD         24X09000411       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 JUNIE J               VA         740CL0000013800   THE LAW OFFICES OF PETER T. NICHOLL                  BEST                 JAMES D               VA         700CL0232466A04   THE LAW OFFICES OF PETER T. NICHOLL
BELL                 LV                    MD         24X04000030       THE LAW OFFICES OF PETER T. NICHOLL                  BETHEA               CALVIN                VA         740CL0200085900   THE LAW OFFICES OF PETER T. NICHOLL
BELL                 LINWOOD E             VA         740CL0200074000   THE LAW OFFICES OF PETER T. NICHOLL                  BETHEA               JAMES                 MD         24X12001128       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 MARY C                MD         24X17000464       THE LAW OFFICES OF PETER T. NICHOLL                  BETTLEYON            ANGELIQUE             MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL
BELL                 PERCY E               VA         740CL0100346200   THE LAW OFFICES OF PETER T. NICHOLL                  BETTS                DOUGLAS A             VA         740CL0200068700   THE LAW OFFICES OF PETER T. NICHOLL
BELL                 RONALD L              MD         X01000187         THE LAW OFFICES OF PETER T. NICHOLL                  BEVERIDGE            HENRY L               VA         700CL9927618A04   THE LAW OFFICES OF PETER T. NICHOLL
BELL                 RUDOLPH A             VA         30022RC           THE LAW OFFICES OF PETER T. NICHOLL                  BEVERIDGE            LOUIS E               VA         700CL9927618A04   THE LAW OFFICES OF PETER T. NICHOLL
BELL                 RUDOLPH L             MD         24X02001770       THE LAW OFFICES OF PETER T. NICHOLL                  BEVERLY              WENDELL               VA         002019            THE LAW OFFICES OF PETER T. NICHOLL
BELLAMY              EDWARD                VA         740CL0300242200   THE LAW OFFICES OF PETER T. NICHOLL                  BEY                  KASPER                MD         24X11000590       THE LAW OFFICES OF PETER T. NICHOLL
BELLAMY              JIMMY E               MD         24X11000347       THE LAW OFFICES OF PETER T. NICHOLL                  BIDDINGER            DENNIS                MD         24X01000899       THE LAW OFFICES OF PETER T. NICHOLL
BELLAMY              SHIRLEY C             VA         740CL0300242300   THE LAW OFFICES OF PETER T. NICHOLL                  BIGGS                ELSIE                 VA         700CL0539375H02   THE LAW OFFICES OF PETER T. NICHOLL
BELLE                DARNELL               VA         29580RC           THE LAW OFFICES OF PETER T. NICHOLL                  BIGGS                HENRY                 VA         700CL0539375H02   THE LAW OFFICES OF PETER T. NICHOLL
BELLE                HAROLD P              VA         29564EH           THE LAW OFFICES OF PETER T. NICHOLL                  BIGGS                JIMMY N               VA         30122EH           THE LAW OFFICES OF PETER T. NICHOLL
BELLE                HAROLD P              VA         700CL0538925V04   THE LAW OFFICES OF PETER T. NICHOLL                  BIGGS                LEON M                VA         CL9927990A04      THE LAW OFFICES OF PETER T. NICHOLL
BELLE                HELEN D               VA         700CL0538925V04   THE LAW OFFICES OF PETER T. NICHOLL                  BILLINGER            ARCHIE                VA         002654            THE LAW OFFICES OF PETER T. NICHOLL
BELOR                DANNY D               VA         29320VC           THE LAW OFFICES OF PETER T. NICHOLL                  BILLINGS             MARY JANE             MD         24X02000906       THE LAW OFFICES OF PETER T. NICHOLL
BELSCHES             ALICE W               VA         700CL0538926J05   THE LAW OFFICES OF PETER T. NICHOLL                  BILLINGS             WAYNE H               MD         24X02000906       THE LAW OFFICES OF PETER T. NICHOLL
BELSCHES             JAMES R               VA         740CL01001040     THE LAW OFFICES OF PETER T. NICHOLL                  BILLUPS              DANDRIDGE             VA         29148EH           THE LAW OFFICES OF PETER T. NICHOLL
BELSCHES             JAMES R               VA         700CL0538926J05   THE LAW OFFICES OF PETER T. NICHOLL                  BILLUPS              DENISE                MD         24X11000307       THE LAW OFFICES OF PETER T. NICHOLL
BELTON               TERRIE L              MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL                  BILLUPS              ERNEST L              VA         740CL0200039300   THE LAW OFFICES OF PETER T. NICHOLL
BELTON               TERRIE L              MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL                  BILLUPS              RAYMOND L             VA         0028742A04        THE LAW OFFICES OF PETER T. NICHOLL
BENBOW               JAMES E               VA         011136            THE LAW OFFICES OF PETER T. NICHOLL                  BILLUPS              WILLIAM A             VA         740CL0200074100   THE LAW OFFICES OF PETER T. NICHOLL
BENBOW               LEROY                 VA         700CL0438698T01   THE LAW OFFICES OF PETER T. NICHOLL                  BILMS                KEVIN P               VA         740CL0300200100   THE LAW OFFICES OF PETER T. NICHOLL
BENDER               ANNA                  MD         X01000345         THE LAW OFFICES OF PETER T. NICHOLL                  BILZER               GREGORY D             MD         24X02000789       THE LAW OFFICES OF PETER T. NICHOLL
BENDER               DELORES               MD         24X01000476       THE LAW OFFICES OF PETER T. NICHOLL                  BINDER               MORTON                VA         740CL0200046200   THE LAW OFFICES OF PETER T. NICHOLL
BENDER               DELORES D             MD         24X05000255       THE LAW OFFICES OF PETER T. NICHOLL                  BIRCHETTE            JOE L                 VA         700CL0337481H02   THE LAW OFFICES OF PETER T. NICHOLL
BENDER               HOWARD                MD         24X01000476       THE LAW OFFICES OF PETER T. NICHOLL                  BIRDSONG             WILLIAM E             VA         740CL0200046300   THE LAW OFFICES OF PETER T. NICHOLL
BENDER               HOWARD                MD         X01000345         THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               ARTHUR R              VA         740CL0200046400   THE LAW OFFICES OF PETER T. NICHOLL
BENDER               HOWARD                MD         24X05000255       THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               CLARENCE J            VA         700CL0539129V04   THE LAW OFFICES OF PETER T. NICHOLL
BENHAM               CARL D                MD         24X12000682       THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               EUGENE                MD         24X01001564       THE LAW OFFICES OF PETER T. NICHOLL
BENHAM               SUSAN C               MD         24X12000682       THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               JIMMIE L              VA         740CL0300014100   THE LAW OFFICES OF PETER T. NICHOLL
BENNER               ALICE C               MD         24X14000422       THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               MARY S                MD         24X05000710       THE LAW OFFICES OF PETER T. NICHOLL
BENNETT              CHARLES B             VA         700CLO438399J05   THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               OSCAR                 VA         740CL0200128200   THE LAW OFFICES OF PETER T. NICHOLL
BENNETT              DEBORAH               MD         24X01002104       THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               THOMAS E              VA         700CL0232088A04   THE LAW OFFICES OF PETER T. NICHOLL
BENNETT              JAMES A               VA         28561VA           THE LAW OFFICES OF PETER T. NICHOLL                  BISHOP               WILLIAM A             VA         700CLO438371P03   THE LAW OFFICES OF PETER T. NICHOLL
BENNETT              PARIS A               MD         24X01002104       THE LAW OFFICES OF PETER T. NICHOLL                  BISIGNANI            REID E                MD         24X01000585       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 738
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 73 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BISSALLY             ANDREW D              MD         24X02002087       THE LAW OFFICES OF PETER T. NICHOLL                  BLOMEIER             LOIS                  MD         24X03000430       THE LAW OFFICES OF PETER T. NICHOLL
BITTNER              BETTY                 MD         24X01000477       THE LAW OFFICES OF PETER T. NICHOLL                  BLOMEIER             WILLIAM J             MD         24X03000430       THE LAW OFFICES OF PETER T. NICHOLL
BITTNER              CHARLES W             MD         24X01000477       THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               CHARLES J             MD         24X01001711       THE LAW OFFICES OF PETER T. NICHOLL
BITTNER              EDNA                  MD         98261504CX1728    THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               CHARLES W             VA         740CL0200204900   THE LAW OFFICES OF PETER T. NICHOLL
BITTNER              ROBERT R              MD         98261504CX1728    THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               GEORGE L              VA         29356VA           THE LAW OFFICES OF PETER T. NICHOLL
BLACK                BENJAMIN F            VA         700CL0231958H02   THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               LE-MORN               MD         98337506CX2318    THE LAW OFFICES OF PETER T. NICHOLL
BLACK                FRANCES               MD         24X03000785       THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               RICHARD C             VA         740CL0100128700   THE LAW OFFICES OF PETER T. NICHOLL
BLACK                WALTER R              MD         24X02002477       THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               RICHARD L             VA         740CL0300027100   THE LAW OFFICES OF PETER T. NICHOLL
BLACK                WILLIE E              VA         740CL0100203900   THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               ROBERT E              VA         30061EH           THE LAW OFFICES OF PETER T. NICHOLL
BLACK                WILLIE J              MD         24X03000785       THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               THEON H               VA         700CL0233173V05   THE LAW OFFICES OF PETER T. NICHOLL
BLACKBURN            CLIFFORD O            MD         98338559CX2383    THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               THOMAS                MD         X01000250         THE LAW OFFICES OF PETER T. NICHOLL
BLACKBURN            KAREN                 MD         980402437         THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               VEARLIE A             VA         740CL0200002800   THE LAW OFFICES OF PETER T. NICHOLL
BLACKBURN            THOMAS L              MD         980402437         THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               WALTER L              VA         740CL0200283800   THE LAW OFFICES OF PETER T. NICHOLL
BLACKEN              FLOYD H               VA         700CL0235782H02   THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               WILLIAM H             VA         740CL0300017900   THE LAW OFFICES OF PETER T. NICHOLL
BLACKEN              MELVIN L              VA         29377RC           THE LAW OFFICES OF PETER T. NICHOLL                  BLOUNT               WILLIAM J             VA         0028903C03        THE LAW OFFICES OF PETER T. NICHOLL
BLACKMON             LEVERN                MD         24X03000951       THE LAW OFFICES OF PETER T. NICHOLL                  BLOW                 EDDIE L               VA         740CL0200072300   THE LAW OFFICES OF PETER T. NICHOLL
BLACKSEEDALLAH       DAWUD                 MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  BLOW                 FREDERICK A           MD         98142515CX1037    THE LAW OFFICES OF PETER T. NICHOLL
BLACKSTONE           BARBARA               MD         24X03000175       THE LAW OFFICES OF PETER T. NICHOLL                  BLOW                 JOSEPH D              VA         700CL0029911V05   THE LAW OFFICES OF PETER T. NICHOLL
BLACKSTONE           LINWOOD               MD         24X03000175       THE LAW OFFICES OF PETER T. NICHOLL                  BLOW                 SIDNEY L              VA         740CL0200036800   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            ALFRED                MD         24X14000176       THE LAW OFFICES OF PETER T. NICHOLL                  BLUE                 BOBBY                 MD         24X02001983       THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            ARCHER M              MD         24X11000152       THE LAW OFFICES OF PETER T. NICHOLL                  BLUE                 JAMES E               MD         24X02000072       THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            CARNELL               MD         24X02001720       THE LAW OFFICES OF PETER T. NICHOLL                  BLUE                 MICHAEL C             VA         700CL0438198V04   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            CLIMMIE J             VA         001388            THE LAW OFFICES OF PETER T. NICHOLL                  BLUE                 SAMUEL D              VA         740CL9900176800   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            DETROY                MD         24X02001719       THE LAW OFFICES OF PETER T. NICHOLL                  BLUE                 WILLIAM H             VA         740CL0300126000   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            FANNIE                VA         700CL0538911J05   THE LAW OFFICES OF PETER T. NICHOLL                  BLUE                 WILLIAM H             VA         700CL0438198V04   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            GERALD V              MD         24X14000265       THE LAW OFFICES OF PETER T. NICHOLL                  BLUE SR              WILLIAM H             VA         700CL0438198V04   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            GREGORY               VA         0028748V05        THE LAW OFFICES OF PETER T. NICHOLL                  BLUME                JOSEPH C              VA         740CL0300160800   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            HENRY P               VA         700CL0538911J05   THE LAW OFFICES OF PETER T. NICHOLL                  BLUNT                JOHN J                VA         740CL0300030300   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            JEWELL                MD         24X05000081       THE LAW OFFICES OF PETER T. NICHOLL                  BLUNT                LEON                  VA         740CL0100128200   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            LAURA G               VA         700CL0538927T01   THE LAW OFFICES OF PETER T. NICHOLL                  BLUSIEWICZ           EDMOND P              MD         24X02001862       THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            MERLE L               MD         99000279          THE LAW OFFICES OF PETER T. NICHOLL                  BLUSIEWICZ           SHIRLEY               MD         24X02001862       THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            SHERMAN M             VA         700CL0538927T01   THE LAW OFFICES OF PETER T. NICHOLL                  BLYTH                RALPH E               VA         700CL0231969C03   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            WILLIAM E             VA         700CL0437995T05   THE LAW OFFICES OF PETER T. NICHOLL                  BLYTHE               CLAUDE R              VA         700CL0233210A04   THE LAW OFFICES OF PETER T. NICHOLL
BLACKWELL            XAVIER H              VA         740CL0100117400   THE LAW OFFICES OF PETER T. NICHOLL                  BLYTHE               LELAND J              VA         740CL0200087900   THE LAW OFFICES OF PETER T. NICHOLL
BLADES               ELWOOD M              MD         24X01001526       THE LAW OFFICES OF PETER T. NICHOLL                  BOBBITT              BERTHELIA             MD         24X11000243       THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                ALTESSIA              MD         24X03000961       THE LAW OFFICES OF PETER T. NICHOLL                  BOBBITT              WOODROW               MD         24X11000243       THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                ISIAH                 MD         24X02002429       THE LAW OFFICES OF PETER T. NICHOLL                  BODURTHA             WILLIAM I             VA         740CL0200072400   THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                KIMBERLEY A           MD         24X10000335       THE LAW OFFICES OF PETER T. NICHOLL                  BOGUE                RICHARD L             VA         740CL0300018000   THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                NORMAN A              MD         24X10000335       THE LAW OFFICES OF PETER T. NICHOLL                  BOGUES               RONALD B              VA         740CL0200072500   THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                RANDOLPH              MD         24X03000961       THE LAW OFFICES OF PETER T. NICHOLL                  BOHLI                JOHN J                MD         24X13000374       THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                THOMAS W              VA         740CL0100223000   THE LAW OFFICES OF PETER T. NICHOLL                  BOHLI                JOHN JOSEPH           MD         24X13000374       THE LAW OFFICES OF PETER T. NICHOLL
BLAKE                WILLIAM D             VA         30060VA           THE LAW OFFICES OF PETER T. NICHOLL                  BOHLI                MICHAEL A             MD         24X13000374       THE LAW OFFICES OF PETER T. NICHOLL
BLANCHARD            JAMES M               VA         0083200           THE LAW OFFICES OF PETER T. NICHOLL                  BOHLI                PAUL D                MD         24X13000374       THE LAW OFFICES OF PETER T. NICHOLL
BLAND                ANNIE P               VA         740CL0200192400   THE LAW OFFICES OF PETER T. NICHOLL                  BOHLI                TIMOTHY F             MD         24X13000374       THE LAW OFFICES OF PETER T. NICHOLL
BLAND                CARL W                VA         001945            THE LAW OFFICES OF PETER T. NICHOLL                  BOISSEAU             JAMES A               VA         740CL0100123900   THE LAW OFFICES OF PETER T. NICHOLL
BLAND                DAVID M               VA         740CL0100193900   THE LAW OFFICES OF PETER T. NICHOLL                  BOLDEN               MCKENZIE              VA         0028870A04        THE LAW OFFICES OF PETER T. NICHOLL
BLAND                GARFIELD A            VA         740CL0100320700   THE LAW OFFICES OF PETER T. NICHOLL                  BOLESCHAK            DEBORAH S             MD         24X11000354       THE LAW OFFICES OF PETER T. NICHOLL
BLAND                JOHN R                VA         700CL0437886P03   THE LAW OFFICES OF PETER T. NICHOLL                  BOLESCHAK            WILLIAM J             MD         24X11000354       THE LAW OFFICES OF PETER T. NICHOLL
BLAND                JUNIOUS T             VA         740CL0100123400   THE LAW OFFICES OF PETER T. NICHOLL                  BOLLER               ADOLPH M              MD         24X12000198       THE LAW OFFICES OF PETER T. NICHOLL
BLAND                PATRICK H             VA         740CL0200193500   THE LAW OFFICES OF PETER T. NICHOLL                  BOLLER               CONSTANCE A           MD         24X12000198       THE LAW OFFICES OF PETER T. NICHOLL
BLAND                VIRGINIA A            MD         24X06000657       THE LAW OFFICES OF PETER T. NICHOLL                  BOLLING              FRED E III            MD         98324507CX2192    THE LAW OFFICES OF PETER T. NICHOLL
BLAND                WILLIAM B             MD         24X01000727       THE LAW OFFICES OF PETER T. NICHOLL                  BOLLINGER            WILLIAM M             VA         740CL0100194000   THE LAW OFFICES OF PETER T. NICHOLL
BLANKENSHIP          ARVILLE F             VA         700CL0233143V05   THE LAW OFFICES OF PETER T. NICHOLL                  BOLZ                 DOROTHY E             MD         24X02002417       THE LAW OFFICES OF PETER T. NICHOLL
BLANKENSHIP          THEODORE E            MD         24X02000784       THE LAW OFFICES OF PETER T. NICHOLL                  BONADIO              DOLORES E             MD         24X99000819       THE LAW OFFICES OF PETER T. NICHOLL
BLANKS               VINCENT B             VA         28226VC           THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 BERNARD               VA         700CL0539130J05   THE LAW OFFICES OF PETER T. NICHOLL
BLEINBERGER          ELMER R               MD         24X02000333       THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 CURTIS L              VA         0028196V          THE LAW OFFICES OF PETER T. NICHOLL
BLEINBERGER          KATHERINE             MD         24X02000333       THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 DUKE                  VA         700CL0235791V05   THE LAW OFFICES OF PETER T. NICHOLL
BLEVINS              CARL J                MD         24X05000251       THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 GARY C                MD         99000262          THE LAW OFFICES OF PETER T. NICHOLL
BLEVINS              NORMA J               MD         24X05000251       THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 GEORGE E              VA         33151RC           THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             CALVIN R              VA         002723            THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 GEORGE W              VA         740CL0200004500   THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             DAVID L               VA         740CL0300017800   THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 THOMAS L              MD         24X01000719       THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             ERNEST                VA         045900            THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 WILLIAM T             VA         700CL0235589A04   THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             FREEMAN T             VA         700CL0231968H02   THE LAW OFFICES OF PETER T. NICHOLL                  BOND                 WILLIAM T             MD         24X02002114       THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             ISAIAH                VA         045900            THE LAW OFFICES OF PETER T. NICHOLL                  BONDS                EDDIE                 VA         01872             THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             JESSE L JR            VA         700CL9928040A04   THE LAW OFFICES OF PETER T. NICHOLL                  BONKOWSKI            FRANCES M             MD         98338548CX2372    THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             JOSEPH T              VA         740CL0200313500   THE LAW OFFICES OF PETER T. NICHOLL                  BONKOWSKI            FRANCIS V             MD         98338548CX2372    THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             LAWRENCE E            VA         740CL0100200200   THE LAW OFFICES OF PETER T. NICHOLL                  BONSIERO             CATHY                 MD         24X001653         THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             LOUIS W               VA         740CL9900189300   THE LAW OFFICES OF PETER T. NICHOLL                  BONSIERO             JOSEPH A              MD         24X001653         THE LAW OFFICES OF PETER T. NICHOLL
BLIZZARD             WAVERLY J             VA         740CL0100125200   THE LAW OFFICES OF PETER T. NICHOLL                  BONSUK               JOHN                  MD         X99000235         THE LAW OFFICES OF PETER T. NICHOLL
BLOCH                ALFRED                MD         X01000708         THE LAW OFFICES OF PETER T. NICHOLL                  BONSUK               ROSE V                MD         X99000235         THE LAW OFFICES OF PETER T. NICHOLL
BLOCH                ANNA                  MD         X01000708         THE LAW OFFICES OF PETER T. NICHOLL                  BOOKER               EDWARD T              VA         29008W01          THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 739
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 74 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BOOKER               FRED                  VA         29149RC           THE LAW OFFICES OF PETER T. NICHOLL                  BOUKNIGHT            WILLIE I              MD         24X02002003       THE LAW OFFICES OF PETER T. NICHOLL
BOOKER               GEORGE                VA         740CL0200072600   THE LAW OFFICES OF PETER T. NICHOLL                  BOULLIANNE           SPENCER D             VA         001629            THE LAW OFFICES OF PETER T. NICHOLL
BOOKER               HOWARD V              VA         32363VA           THE LAW OFFICES OF PETER T. NICHOLL                  BOURNE               RONALD E              MD         24X02002109       THE LAW OFFICES OF PETER T. NICHOLL
BOOKER               LEANEL                MD         24X04000880       THE LAW OFFICES OF PETER T. NICHOLL                  BOUTWELL             BILLY J               VA         740CL0300111100   THE LAW OFFICES OF PETER T. NICHOLL
BOOKER               MILDRED M             MD         24X04000880       THE LAW OFFICES OF PETER T. NICHOLL                  BOUYER               EDWIN E               MD         X01000566         THE LAW OFFICES OF PETER T. NICHOLL
BOOKER               WILLIE F              MD         98212503CX1523    THE LAW OFFICES OF PETER T. NICHOLL                  BOUZEK               VICTORIA L            MD         24X12000648       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                ANDREW                VA         740CL0100204000   THE LAW OFFICES OF PETER T. NICHOLL                  BOWARD               JACK A                MD         24X02002098       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                ARTHUR                VA         740CL0100120200   THE LAW OFFICES OF PETER T. NICHOLL                  BOWARD               RUTH                  MD         24X02002098       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                BOBBY E               VA         29016V05          THE LAW OFFICES OF PETER T. NICHOLL                  BOWDEN               DOROTHY               MD         24X10000213       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                BOBBY L               VA         740CL0200014200   THE LAW OFFICES OF PETER T. NICHOLL                  BOWDEN               EDWARD C              VA         001805            THE LAW OFFICES OF PETER T. NICHOLL
BOONE                CHARLIE L             VA         0028709H02        THE LAW OFFICES OF PETER T. NICHOLL                  BOWDEN               PURNELL A             VA         32364EH           THE LAW OFFICES OF PETER T. NICHOLL
BOONE                CLYDE D               VA         740CL0100160000   THE LAW OFFICES OF PETER T. NICHOLL                  BOWDEN               ROBERT L              MD         24X10000213       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                EDWARD L              MD         24X02000402       THE LAW OFFICES OF PETER T. NICHOLL                  BOWDEN               WILLIAM O             VA         740CL0100131300   THE LAW OFFICES OF PETER T. NICHOLL
BOONE                ERIC W                VA         700CL0231970W01   THE LAW OFFICES OF PETER T. NICHOLL                  BOWE                 HERBERT A             VA         29227RC           THE LAW OFFICES OF PETER T. NICHOLL
BOONE                EUGENE J              VA         700CL0028301W01   THE LAW OFFICES OF PETER T. NICHOLL                  BOWEN                VIOLET                MD         24X05000120       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                GARFIELD N            VA         29150RW           THE LAW OFFICES OF PETER T. NICHOLL                  BOWEN                WILLIAM J             MD         24X05000120       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                GRADY R               VA         740CL0200014300   THE LAW OFFICES OF PETER T. NICHOLL                  BOWEN                WILLIAM R             VA         0028881V05        THE LAW OFFICES OF PETER T. NICHOLL
BOONE                HARRY J               VA         740CL0200177700   THE LAW OFFICES OF PETER T. NICHOLL                  BOWEN                MARY D                MD         24X04000429       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                HOLLIS D              VA         47800             THE LAW OFFICES OF PETER T. NICHOLL                  BOWENS               FRANK                 MD         24X01001216       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                JAMES C               VA         700CL0235792H02   THE LAW OFFICES OF PETER T. NICHOLL                  BOWENS               ROSLYN                MD         24X01001216       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                JAMES LEE             VA         29226EH           THE LAW OFFICES OF PETER T. NICHOLL                  BOWERS               BENJAMIN              VA         740CL0100205200   THE LAW OFFICES OF PETER T. NICHOLL
BOONE                JOSEPH M              VA         740CL0300018100   THE LAW OFFICES OF PETER T. NICHOLL                  BOWERS               DOTTIE                MD         24X06000725       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                LARRY D               VA         29151VA           THE LAW OFFICES OF PETER T. NICHOLL                  BOWERS               ELOISE J              MD         24X03001155       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                LEONARD               MD         24X06000269       THE LAW OFFICES OF PETER T. NICHOLL                  BOWERS               JAMES E               VA         700CL0539118H02   THE LAW OFFICES OF PETER T. NICHOLL
BOONE                MARLENA               MD         24X06000269       THE LAW OFFICES OF PETER T. NICHOLL                  BOWERS               ROBERT L              VA         29730VA           THE LAW OFFICES OF PETER T. NICHOLL
BOONE                NURNIE E              VA         700CL0438389J05   THE LAW OFFICES OF PETER T. NICHOLL                  BOWERS               SAMUEL T              MD         24X06000725       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                OCIE L                VA         740CL0300119700   THE LAW OFFICES OF PETER T. NICHOLL                  BOWLIN               JOHN P                MD         01000266          THE LAW OFFICES OF PETER T. NICHOLL
BOONE                PERNELL               VA         001345            THE LAW OFFICES OF PETER T. NICHOLL                  BOWMAN               GEARIE C              MD         24X02001144       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                ROBERT                VA         001509            THE LAW OFFICES OF PETER T. NICHOLL                  BOWMAN               GEORGE                VA         30023VC           THE LAW OFFICES OF PETER T. NICHOLL
BOONE                STANLEY               VA         700CL0028478H02   THE LAW OFFICES OF PETER T. NICHOLL                  BOWMAN               ROBERT L              VA         740CL0300018300   THE LAW OFFICES OF PETER T. NICHOLL
BOONE                TYRONE                VA         700CL0438227W01   THE LAW OFFICES OF PETER T. NICHOLL                  BOWMAN               THOMAS M              MD         24X03000904       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                WESLEY J              VA         700CL0235892H02   THE LAW OFFICES OF PETER T. NICHOLL                  BOWRIN               EDWARD T              MD         24X11000388       THE LAW OFFICES OF PETER T. NICHOLL
BOONE                WILLIE                VA         740CL0300018200   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               JAMES C               VA         740CL0200177800   THE LAW OFFICES OF PETER T. NICHOLL
BOONE                WILLIE                VA         700CL0438719P03   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               LLOYD                 VA         740CL0100334600   THE LAW OFFICES OF PETER T. NICHOLL
BOONE                WILLIE H              VA         740CL0100346300   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               NORMAN M              VA         740CL0100185100   THE LAW OFFICES OF PETER T. NICHOLL
BOOTH                CARLOS R              MD         24X03001052       THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               OSEN F                VA         740CL0100185200   THE LAW OFFICES OF PETER T. NICHOLL
BOOTH                GEORGE F              VA         700CL0438687J05   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               RALPH                 VA         740CL0300014200   THE LAW OFFICES OF PETER T. NICHOLL
BOOTH                GEORGE T              VA         740CL0100205100   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               VIRGINIA E            MD         24X11000791       THE LAW OFFICES OF PETER T. NICHOLL
BOOTH                JAMES E               VA         700CL0231959C03   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               WILLIAM E             VA         0028879C03        THE LAW OFFICES OF PETER T. NICHOLL
BOOTH                JOSEPH H              VA         740CL0200355200   THE LAW OFFICES OF PETER T. NICHOLL                  BOWSER               ZION E                MD         24X11000791       THE LAW OFFICES OF PETER T. NICHOLL
BOOTH                WILLIE P              VA         700CL0438189H02   THE LAW OFFICES OF PETER T. NICHOLL                  BOWYER               KENNETH L             VA         740CL0100186200   THE LAW OFFICES OF PETER T. NICHOLL
BOOTHE               HOWARD L              VA         740CL0300122700   THE LAW OFFICES OF PETER T. NICHOLL                  BOX                  JAMES H               MD         01000262          THE LAW OFFICES OF PETER T. NICHOLL
BOOTHE               ROBERT L              VA         700CL0235893A04   THE LAW OFFICES OF PETER T. NICHOLL                  BOX                  ROSA L                MD         01000262          THE LAW OFFICES OF PETER T. NICHOLL
BOOTHE               WILLIAM T             VA         28652VC           THE LAW OFFICES OF PETER T. NICHOLL                  BOYCE                CATHERINE T           MD         24X09000061       THE LAW OFFICES OF PETER T. NICHOLL
BORDLEY              ELWOOD R              MD         24X11000043       THE LAW OFFICES OF PETER T. NICHOLL                  BOYCE                CHARLIE N             VA         740CL0200042500   THE LAW OFFICES OF PETER T. NICHOLL
BORKOSKI             JANET L               MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL                  BOYCE                MARY E                MD         24X12000912       THE LAW OFFICES OF PETER T. NICHOLL
BORKOSKI             JOHN J                MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL                  BOYCE                RONALD E              MD         24X12000912       THE LAW OFFICES OF PETER T. NICHOLL
BORKOSKI             JOHN N                MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL                  BOYCE                THOMAS H              MD         24X09000061       THE LAW OFFICES OF PETER T. NICHOLL
BORKOSKI             MARGARET              MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 ANNIE B               MD         24X02000222       THE LAW OFFICES OF PETER T. NICHOLL
BORKOSKI             MICHAEL               MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 ANNIE B               MD         X01000507         THE LAW OFFICES OF PETER T. NICHOLL
BORKOSKI             STEPHEN               MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 BARBARA               MD         24X01001324       THE LAW OFFICES OF PETER T. NICHOLL
BORUM                MILTON W              VA         740CL0100222100   THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 CHARLES               MD         24X02000222       THE LAW OFFICES OF PETER T. NICHOLL
BOSER                DAVID M               MD         98183519CX1346    THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 CHARLES               MD         X01000507         THE LAW OFFICES OF PETER T. NICHOLL
BOSER                DAVID M               MD         981183519CX519    THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 CLARENCE R            MD         24X15000532       THE LAW OFFICES OF PETER T. NICHOLL
BOSER                PATRICIA              MD         98183519CX1346    THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 CLARENCE R            MD         24X09000036       THE LAW OFFICES OF PETER T. NICHOLL
BOSER                PATRICIA              MD         981183519CX519    THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 CLIFTON               VA         700CL0235793A04   THE LAW OFFICES OF PETER T. NICHOLL
BOSNICK              RICHARD A             MD         24X03000570       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 DANNY L               VA         740CL0100205300   THE LAW OFFICES OF PETER T. NICHOLL
BOSSALINA            CAROLYN J             MD         24X11000286       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 DELORES               MD         24X04000007       THE LAW OFFICES OF PETER T. NICHOLL
BOSSALINA            RONALD A              MD         24X11000286       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 DENISE                MD         X01000610         THE LAW OFFICES OF PETER T. NICHOLL
BOSSERT              RAYMOND E             MD         X01000482         THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 DENNIS B              VA         011137            THE LAW OFFICES OF PETER T. NICHOLL
BOSSERT              RAYMOND E             MD         24X05000142       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 EDWARD J              VA         740CL0100170900   THE LAW OFFICES OF PETER T. NICHOLL
BOSSERT              SAUNDRA               MD         X01000482         THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 FRANK                 MD         24X04000759       THE LAW OFFICES OF PETER T. NICHOLL
BOSSERT              SAUNDRA D             MD         24X05000142       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 GEORGE F              VA         740CL0200128300   THE LAW OFFICES OF PETER T. NICHOLL
BOST                 JOHN E                MD         24X04001166       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 GRANT                 MD         24X04000007       THE LAW OFFICES OF PETER T. NICHOLL
BOST                 RUTH A                MD         24X04001166       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 JESSE C               VA         740CL0100145500   THE LAW OFFICES OF PETER T. NICHOLL
BOSTICK              HILTON O              MD         24X13000750       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 JOHNNIE E             MD         X01000610         THE LAW OFFICES OF PETER T. NICHOLL
BOSTON               EMILY                 MD         24X09000210       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 LEMAN T               VA         700CL0235841V05   THE LAW OFFICES OF PETER T. NICHOLL
BOSTON               FRANK D               MD         24X01001326       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 LEMAN T               VA         0028560W01        THE LAW OFFICES OF PETER T. NICHOLL
BOSTON               TONY                  MD         24X09000210       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 MARY                  MD         24X06000477       THE LAW OFFICES OF PETER T. NICHOLL
BOUKNIGHT            DORIS N               MD         24X10000283       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 NELSON P              VA         740CL0100205400   THE LAW OFFICES OF PETER T. NICHOLL
BOUKNIGHT            WALTER J              MD         24X10000283       THE LAW OFFICES OF PETER T. NICHOLL                  BOYD                 RANDOLPH S            VA         740CL0200042400   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 740
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 75 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BOYD                 REGINALD S            MD         24X01001365       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              BETTY                 VA         29463VA           THE LAW OFFICES OF PETER T. NICHOLL
BOYD                 TERRY T               MD         24X01001324       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              ELMA S                MD         24X07000531       THE LAW OFFICES OF PETER T. NICHOLL
BOYD                 VAUGHN A              VA         30132EH           THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              FLOYD H               MD         24X02001227       THE LAW OFFICES OF PETER T. NICHOLL
BOYD                 YVONNE A              MD         24X10000382       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              GERALDINE             MD         24X02002413       THE LAW OFFICES OF PETER T. NICHOLL
BOYER                LINDA                 MD         24X06000471       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              JAMES A               MD         24X01002056       THE LAW OFFICES OF PETER T. NICHOLL
BOYER                PATRICK W             MD         24X06000471       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              LOUIS F               MD         24X14000178       THE LAW OFFICES OF PETER T. NICHOLL
BOYETTE              MELVIN G              VA         740CL0200089800   THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              MARION                MD         24X02001227       THE LAW OFFICES OF PETER T. NICHOLL
BOYKINS              BENJAMIN F            VA         740CL0100144500   THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              MATTHEW               MD         24X02002413       THE LAW OFFICES OF PETER T. NICHOLL
BOYKINS              CARROLL A             VA         095300            THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              OSCAR D               VA         29463VA           THE LAW OFFICES OF PETER T. NICHOLL
BOYKINS              CEPHAS H              VA         700CL0232118A04   THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              SHIRLEY               MD         24X14000178       THE LAW OFFICES OF PETER T. NICHOLL
BOYKINS              ESTELLE               MD         24X02001846       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDON              SHIRLEY               MD         24X01002056       THE LAW OFFICES OF PETER T. NICHOLL
BRACEY               CHARLES T             MD         24X16000117       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDT               BOBBY B               VA         740CL0300018500   THE LAW OFFICES OF PETER T. NICHOLL
BRACEY               GARY R                MD         24X02001721       THE LAW OFFICES OF PETER T. NICHOLL                  BRANDT               DAVID M               VA         29328RC           THE LAW OFFICES OF PETER T. NICHOLL
BRACEY               RAY                   VA         29901VC           THE LAW OFFICES OF PETER T. NICHOLL                  BRANDT               DEBRA                 MD         98329508CX2233    THE LAW OFFICES OF PETER T. NICHOLL
BRACKEN              JESSE W               VA         740CL0300126100   THE LAW OFFICES OF PETER T. NICHOLL                  BRANDT               JERRY E               MD         98329508CX2233    THE LAW OFFICES OF PETER T. NICHOLL
BRACKINS             ELIZABETH             MD         24X010013153      THE LAW OFFICES OF PETER T. NICHOLL                  BRANTLEY             RICHARD M             VA         740CL0100205500   THE LAW OFFICES OF PETER T. NICHOLL
BRACKINS             WILLIAM C             MD         24X010013153      THE LAW OFFICES OF PETER T. NICHOLL                  BRASWELL             BETTY                 MD         24X11000204       THE LAW OFFICES OF PETER T. NICHOLL
BRACY                CLAUD C               VA         0028912W01        THE LAW OFFICES OF PETER T. NICHOLL                  BRASWELL             DANNY N               VA         700CL0438688T01   THE LAW OFFICES OF PETER T. NICHOLL
BRACY                MARGARET L            MD         24X06000514       THE LAW OFFICES OF PETER T. NICHOLL                  BRASWELL             JIMMIE R              MD         24X11000204       THE LAW OFFICES OF PETER T. NICHOLL
BRACY                WILLIE M              VA         740CL0200004600   THE LAW OFFICES OF PETER T. NICHOLL                  BRASWELL             MOSES                 VA         001630            THE LAW OFFICES OF PETER T. NICHOLL
BRADBY               ALTHEA                MD         24X02000907       THE LAW OFFICES OF PETER T. NICHOLL                  BRATTON              KENNETH               MD         24X15000054       THE LAW OFFICES OF PETER T. NICHOLL
BRADBY               ERNEST P              VA         740CL0100334700   THE LAW OFFICES OF PETER T. NICHOLL                  BRATTON              THOMAS A              VA         700CL0438005T05   THE LAW OFFICES OF PETER T. NICHOLL
BRADBY               GEORGE A              VA         740CL0200004700   THE LAW OFFICES OF PETER T. NICHOLL                  BRAWNER              CHERYL A              MD         24X12000603       THE LAW OFFICES OF PETER T. NICHOLL
BRADBY               HUBERT JR             VA         CL9927949W01      THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              ALEXANDER             MD         24X01001206       THE LAW OFFICES OF PETER T. NICHOLL
BRADBY               LESTER V              MD         24X02000907       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              ALLEN G               MD         24X02002241       THE LAW OFFICES OF PETER T. NICHOLL
BRADDS               MILDRED               MD         24X13000110       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              CAROLYN               MD         24X01001206       THE LAW OFFICES OF PETER T. NICHOLL
BRADDS               THOMAS E              MD         24X13000110       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              CHARLES L             MD         24X06000688       THE LAW OFFICES OF PETER T. NICHOLL
BRADFORD             DOLORES M             MD         24X06000197       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              EUGENE E              MD         24X04000760       THE LAW OFFICES OF PETER T. NICHOLL
BRADFORD             GEORGE                MD         24X06000197       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              JAMES W               VA         0083400           THE LAW OFFICES OF PETER T. NICHOLL
BRADFORD             GREGORY P             MD         24X02001819       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              LLOYD A               VA         700CL0232322V05   THE LAW OFFICES OF PETER T. NICHOLL
BRADFORD             MAGGIE                MD         24X02001819       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              REGINALD M            VA         011149            THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              ERIC V                MD         24X04000012       THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              VINCENT               VA         740CL0100171000   THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              JESSE R               VA         011148            THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              WENDELL F             VA         700CL0232089H02   THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              JOHN H                VA         001372            THE LAW OFFICES OF PETER T. NICHOLL                  BRAXTON              WILLIAM T             VA         740CL0100068800   THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              RANDOLPH E            MD         X01000149         THE LAW OFFICES OF PETER T. NICHOLL                  BRAZELTON            JULIA A               MD         98268518CX1819    THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              RENATA                MD         24X04000012       THE LAW OFFICES OF PETER T. NICHOLL                  BRAZELTON            LEROY W               MD         98268518CX1819    THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              ROBERT J              VA         740CL0300014300   THE LAW OFFICES OF PETER T. NICHOLL                  BRECKENRIDGE         ARNOLD E              MD         24X01000848       THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              SAMUEL T              VA         01976             THE LAW OFFICES OF PETER T. NICHOLL                  BREEDEN              CATHERINE             MD         24X03000286       THE LAW OFFICES OF PETER T. NICHOLL
BRADLEY              VERNON L              VA         700CL0232102V05   THE LAW OFFICES OF PETER T. NICHOLL                  BREEDEN              MINNIE E              VA         31947VA           THE LAW OFFICES OF PETER T. NICHOLL
BRADSHAW             JOE L                 VA         700CL0233182W01   THE LAW OFFICES OF PETER T. NICHOLL                  BREEDEN              ROBERT T              MD         24X03000286       THE LAW OFFICES OF PETER T. NICHOLL
BRADSHAW             MICHAEL J             VA         740CL0200356300   THE LAW OFFICES OF PETER T. NICHOLL                  BREGGS               EDWARD L              VA         0028746W01        THE LAW OFFICES OF PETER T. NICHOLL
BRADSHAW             WILLIAM C             VA         740CL0100194100   THE LAW OFFICES OF PETER T. NICHOLL                  BREHON               VERNON L              MD         98177507CX1300    THE LAW OFFICES OF PETER T. NICHOLL
BRADY                CHARLES E             MD         24X11000818       THE LAW OFFICES OF PETER T. NICHOLL                  BRENDLE              JOSEPH H              VA         01873             THE LAW OFFICES OF PETER T. NICHOLL
BRADY                CHARLOTTE             MD         24X04000897       THE LAW OFFICES OF PETER T. NICHOLL                  BRENDLE              WAYNE V               VA         740CL0200072900   THE LAW OFFICES OF PETER T. NICHOLL
BRADY                CHARLOTTE A           MD         24X02000379       THE LAW OFFICES OF PETER T. NICHOLL                  BRENNAN              PAUL R                MD         98212506CX1526    THE LAW OFFICES OF PETER T. NICHOLL
BRADY                DONALD E              MD         24X02000379       THE LAW OFFICES OF PETER T. NICHOLL                  BREWINGTON           CATHERINE             MD         98402612          THE LAW OFFICES OF PETER T. NICHOLL
BRADY                JAMES F               MD         24X11000203       THE LAW OFFICES OF PETER T. NICHOLL                  BREWINGTON           CATHERINE T           MD         24X01000267       THE LAW OFFICES OF PETER T. NICHOLL
BRADY                JUDY                  MD         24X18000002       THE LAW OFFICES OF PETER T. NICHOLL                  BREWINGTON           EDWARD W              MD         98402612          THE LAW OFFICES OF PETER T. NICHOLL
BRADY                JUDY                  MD         24X07000122       THE LAW OFFICES OF PETER T. NICHOLL                  BREWINGTON           EDWARD W              MD         24X01000267       THE LAW OFFICES OF PETER T. NICHOLL
BRADY                KEVIN D               MD         24X11000818       THE LAW OFFICES OF PETER T. NICHOLL                  BREWINGTON           JOHN W                VA         29379VC           THE LAW OFFICES OF PETER T. NICHOLL
BRADY                MICHAEL               MD         24X02000379       THE LAW OFFICES OF PETER T. NICHOLL                  BREWINGTON           NORWOOD               VA         740CL0300242400   THE LAW OFFICES OF PETER T. NICHOLL
BRAGER               CHARLES T             MD         24X03000434       THE LAW OFFICES OF PETER T. NICHOLL                  BREWSTER             FREDERICK             MD         24X02001079       THE LAW OFFICES OF PETER T. NICHOLL
BRAGER               SOPHIE                MD         24X03000434       THE LAW OFFICES OF PETER T. NICHOLL                  BRICE                HAROLD S              MD         24X04000881       THE LAW OFFICES OF PETER T. NICHOLL
BRAGG                GLEN B                VA         740CL0200129400   THE LAW OFFICES OF PETER T. NICHOLL                  BRICE                JOHN A                MD         98338560CX2384    THE LAW OFFICES OF PETER T. NICHOLL
BRAGG                LENA                  MD         24X06000645       THE LAW OFFICES OF PETER T. NICHOLL                  BRICE                JOHNNY J              MD         24X07000423       THE LAW OFFICES OF PETER T. NICHOLL
BRAGG                LUKE R                MD         24X06000645       THE LAW OFFICES OF PETER T. NICHOLL                  BRICE                MARY                  MD         24X04000492       THE LAW OFFICES OF PETER T. NICHOLL
BRAMBLE              MARGARET R            MD         24X06000535       THE LAW OFFICES OF PETER T. NICHOLL                  BRICE                MICHAEL F             VA         740CL0200002900   THE LAW OFFICES OF PETER T. NICHOLL
BRAMBLE              WILLIAM F             MD         24X06000535       THE LAW OFFICES OF PETER T. NICHOLL                  BRICE                ROOSEVELT             MD         24X04000492       THE LAW OFFICES OF PETER T. NICHOLL
BRANAGAN             MILDRED I             MD         24X05000436       THE LAW OFFICES OF PETER T. NICHOLL                  BRICKHOUSE           RONALD H              VA         740CL0100223100   THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               BERNARD               VA         740CL020072700    THE LAW OFFICES OF PETER T. NICHOLL                  BRICKHOUSE           THOMAS E              VA         700CLO438380T01   THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               CECIL L               MD         24X02002787       THE LAW OFFICES OF PETER T. NICHOLL                  BRIDDELL             LEON S                VA         011138            THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               CLARKIE L             VA         740CL0300018400   THE LAW OFFICES OF PETER T. NICHOLL                  BRIDGES              CALVIN C              VA         700CL0233183V05   THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               DAVID C               VA         29620RC           THE LAW OFFICES OF PETER T. NICHOLL                  BRIDGES              EMILY                 MD         24X14000423       THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               ERNEST L              VA         700CL9928010A04   THE LAW OFFICES OF PETER T. NICHOLL                  BRIDGES              GARY C                MD         98219517CX1556    THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               HENRY L               MD         24X01000401       THE LAW OFFICES OF PETER T. NICHOLL                  BRIDGES              WILLIE                MD         24X14000423       THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               LEROY A               VA         700CL0437866P03   THE LAW OFFICES OF PETER T. NICHOLL                  BRIGGINS             SYLVESTER             VA         700CL0438277T05   THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               LORENA L              MD         24X10000434       THE LAW OFFICES OF PETER T. NICHOLL                  BRIGGS               CARROLL F             VA         740CL0100167500   THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               MAGGIE                MD         24X02002787       THE LAW OFFICES OF PETER T. NICHOLL                  BRIGGS               CARROLL F             VA         700CL0538912T01   THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               RALPH D               VA         740CL0200072800   THE LAW OFFICES OF PETER T. NICHOLL                  BRIGGS               FLORENCE              MD         24X06000595       THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               SAMUEL                VA         740CL0100311400   THE LAW OFFICES OF PETER T. NICHOLL                  BRIGGS               JOSEPH                MD         24X06000595       THE LAW OFFICES OF PETER T. NICHOLL
BRANCH               WILLIE L              VA         700CL0233144H02   THE LAW OFFICES OF PETER T. NICHOLL                  BRIGGS               LEWIS C               VA         0028559C03        THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 741
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 76 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BRIGGS               ONES P                VA         700CL0538912T01   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               CARL C                MD         24X02001206       THE LAW OFFICES OF PETER T. NICHOLL
BRIGGS               ROY R                 VA         740CL0300241200   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               CARLTON W             MD         24X01001352       THE LAW OFFICES OF PETER T. NICHOLL
BRIGHT               DAVID J               VA         700CL0235629A04   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               CATHERINE             MD         24X07000001       THE LAW OFFICES OF PETER T. NICHOLL
BRIGHT               ROBERT N              VA         740CL0100200300   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               CRANSTON L            MD         24X11000589       THE LAW OFFICES OF PETER T. NICHOLL
BRIGMAN              JOHN H                MD         24X01001846       THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               DELORIS               MD         24X11000589       THE LAW OFFICES OF PETER T. NICHOLL
BRILEY               KENNETH L             VA         700CL0438208V04   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               DOROTHY               MD         24X02001206       THE LAW OFFICES OF PETER T. NICHOLL
BRILEY               MITTIE C              MD         98338561CX2385    THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               EARL D                VA         740CL9900190100   THE LAW OFFICES OF PETER T. NICHOLL
BRILEY               RUE M                 VA         700CL0438208V04   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               FRANK                 VA         29366EH           THE LAW OFFICES OF PETER T. NICHOLL
BRILEY               WILLIAM E             MD         98338561CX2385    THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               GLADYS                MD         24X01001352       THE LAW OFFICES OF PETER T. NICHOLL
BRILEY MCCAIN        BRENDA                VA         700CL0438208V04   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               JAMES                 VA         29757RC           THE LAW OFFICES OF PETER T. NICHOLL
BRIMMER              DONALD G              VA         002022            THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               JOHN L                MD         24X18000003       THE LAW OFFICES OF PETER T. NICHOLL
BRINKLEY             BENJAMIN C            VA         740CL0100157700   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               JOHN M                VA         740CL0100211800   THE LAW OFFICES OF PETER T. NICHOLL
BRINKLEY             EDDIE N               VA         740CL0200359800   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               MICHAEL F             MD         24X10000214       THE LAW OFFICES OF PETER T. NICHOLL
BRINKLEY             LESLIE                VA         011204            THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               PATRICIA B            MD         24X01001661       THE LAW OFFICES OF PETER T. NICHOLL
BRINKLEY             RAYMOND S             VA         29052VC           THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               PAULINE               MD         98086513CX638     THE LAW OFFICES OF PETER T. NICHOLL
BRISTOW              ARTHUR B              VA         0029656W01        THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               THURLAND              MD         24X01001661       THE LAW OFFICES OF PETER T. NICHOLL
BRISTOW              ARTHUR JR             VA         0029656W01        THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               WAYNE J               VA         29053EH           THE LAW OFFICES OF PETER T. NICHOLL
BRISTOW              DAVID                 VA         0029656W01        THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               WAYNE W               MD         24X01001590       THE LAW OFFICES OF PETER T. NICHOLL
BRISTOW              SAMUEL H              VA         740CL0300081800   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               WILLIAM               MD         24X07000001       THE LAW OFFICES OF PETER T. NICHOLL
BRITT                AL R                  VA         740CL0100334800   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKS               WINSTON E             VA         740CL0200004800   THE LAW OFFICES OF PETER T. NICHOLL
BRITT                BILLY C               VA         700CL0438190T05   THE LAW OFFICES OF PETER T. NICHOLL                  BROOKSHIRE           ALVA C                VA         740CL000008200    THE LAW OFFICES OF PETER T. NICHOLL
BRITT                EDDIE L               VA         0028740C3         THE LAW OFFICES OF PETER T. NICHOLL                  BROTHERS             EUGENE                VA         9928011C          THE LAW OFFICES OF PETER T. NICHOLL
BRITT                FOREST                VA         700CL0235894C03   THE LAW OFFICES OF PETER T. NICHOLL                  BROTHERS             JAMES E               VA         29902RW           THE LAW OFFICES OF PETER T. NICHOLL
BRITT                JAMES T               VA         0028778V05        THE LAW OFFICES OF PETER T. NICHOLL                  BROTHERS             MATTHEW               VA         700CL0438278P03   THE LAW OFFICES OF PETER T. NICHOLL
BRITT                JOHN A                VA         740CL0200374100   THE LAW OFFICES OF PETER T. NICHOLL                  BROUGHTON            HARRY L               MD         X98402460         THE LAW OFFICES OF PETER T. NICHOLL
BRITT                JOSEPH                VA         740CL0100334900   THE LAW OFFICES OF PETER T. NICHOLL                  BROUGHTON            SUSAN                 MD         X98402460         THE LAW OFFICES OF PETER T. NICHOLL
BRITT                LAWRENCE              VA         740CL0200359900   THE LAW OFFICES OF PETER T. NICHOLL                  BROWDER              MARVIN W              MD         98219506CX1545    THE LAW OFFICES OF PETER T. NICHOLL
BRITT                LEBRON                VA         740CL0100321400   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                AARON H               MD         24X10000061       THE LAW OFFICES OF PETER T. NICHOLL
BRITT                WILLIAM E             VA         002017            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ABRAHAM L             VA         002352            THE LAW OFFICES OF PETER T. NICHOLL
BRITTAIN             ANNE B                MD         24X05000093       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ADDWELL W             VA         740CL0200036900   THE LAW OFFICES OF PETER T. NICHOLL
BRITTAIN             ANNE B                MD         99000524          THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ALBERT K              VA         740CL0300160900   THE LAW OFFICES OF PETER T. NICHOLL
BRITTAIN             EDWARD L              MD         24X03000901       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ALFRED W              VA         740CL0100123500   THE LAW OFFICES OF PETER T. NICHOLL
BRITTAIN             HARRY                 MD         24X05000093       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ALTON L               VA         011205            THE LAW OFFICES OF PETER T. NICHOLL
BRITTAIN             HARRY L               MD         99000524          THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ALVIN L               VA         29731EH           THE LAW OFFICES OF PETER T. NICHOLL
BRITTAIN             LINDA                 MD         24X03000901       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ANNABELLE             MD         24X05000350       THE LAW OFFICES OF PETER T. NICHOLL
BRITTON              HERBERT               MD         24X11000038       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ARTHUR                MD         24X02000722       THE LAW OFFICES OF PETER T. NICHOLL
BROADDUS             ROBERT L              MD         98233506CX1632    THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                AUGUSTUS A            VA         700CL0232119H02   THE LAW OFFICES OF PETER T. NICHOLL
BROADNAX             MARTY D               MD         24X11000241       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BARBARA               MD         24X02001482       THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           DAYSON E              MD         24X04000696       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BARBARA J             MD         24X05000131       THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           DEAN E                MD         24X02001861       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BERNARD               VA         740CL0300122800   THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           ELLEN                 MD         24X02001861       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BERNARD L             VA         740CL0200177900   THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           MARY                  MD         24X04000761       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BESSIE                MD         01000261          THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           RUSSELL               MD         24X05000910       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BLANCHE               MD         24X02002021       THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           THELMA R              MD         24X05000910       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                BURNICE               MD         24X02000074       THE LAW OFFICES OF PETER T. NICHOLL
BROADWATER           VIRGIL J              MD         24X04000761       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CALVIN                VA         740CL0200004900   THE LAW OFFICES OF PETER T. NICHOLL
BROADWAY             ADRIENNE              MD         24X04001132       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CAREY                 VA         740CL0200360000   THE LAW OFFICES OF PETER T. NICHOLL
BROCATO              DEBORAH               MD         24X12000975       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CARL S                VA         700CL0231971V05   THE LAW OFFICES OF PETER T. NICHOLL
BROCATO              ROBERT V              MD         24X12000975       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CARMELLA              MD         24X03000244       THE LAW OFFICES OF PETER T. NICHOLL
BROCK                DAVID A               VA         740CL0300014400   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CARRIE                VA         700CL0231936V05   THE LAW OFFICES OF PETER T. NICHOLL
BROCKI               EDWARD                MD         24X01001356       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CATHY                 MD         24X06000541       THE LAW OFFICES OF PETER T. NICHOLL
BROCKI               MILDRED M             MD         24X01001356       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CHARISSE M            MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL
BROCKINGTON          JOHN                  VA         29565RC           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CHARISSE M            MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL
BRODIE               BENNIE                MD         24X03000038       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CHARLES E             MD         24X01000588       THE LAW OFFICES OF PETER T. NICHOLL
BRODIE               BENNIE                MD         24X03000476       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CHARLES L             MD         24X14000489       THE LAW OFFICES OF PETER T. NICHOLL
BRODIE               JAMES C               VA         32365RC           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CHARLIE M             VA         740CL0100205600   THE LAW OFFICES OF PETER T. NICHOLL
BRODIE               SHIRLEY               MD         24X03000038       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CHENITA A             MD         24X02001714       THE LAW OFFICES OF PETER T. NICHOLL
BRODIE               SHIRLEY W             MD         24X03000476       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CLARENCE L            VA         700CL0438191P03   THE LAW OFFICES OF PETER T. NICHOLL
BROGDON              MORRIS                MD         24X02002005       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CLARENCE W            VA         740CL0100222200   THE LAW OFFICES OF PETER T. NICHOLL
BROGDON              STANFIELD             MD         98338556CX2380    THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CLAYTON W             MD         24X15000621       THE LAW OFFICES OF PETER T. NICHOLL
BROKENBERRY          ARTHUR F              VA         700CL0438699P03   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CLEVELAND             VA         740CL0100124000   THE LAW OFFICES OF PETER T. NICHOLL
BROKENBURR           BENJAMIN L            VA         740CL0200042300   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                COLUMBUS              MD         24X01002037       THE LAW OFFICES OF PETER T. NICHOLL
BROKKE               LAWRENCE D            MD         24X03001153       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                COLUMBUS              MD         24X02002020       THE LAW OFFICES OF PETER T. NICHOLL
BROKKE               PAMELA                MD         24X03001153       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CURTIS E              VA         700CL0232192V05   THE LAW OFFICES OF PETER T. NICHOLL
BROKKE               REUBEN D              MD         24X09000034       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                CYNTHIA               MD         24X01002037       THE LAW OFFICES OF PETER T. NICHOLL
BROMWELL             JOHN W                MD         24X02000338       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                DANIEL                VA         29054RW           THE LAW OFFICES OF PETER T. NICHOLL
BRONAKOSKI           CAROL A               MD         24X10000110       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                DEANNA                MD         01000227          THE LAW OFFICES OF PETER T. NICHOLL
BRONAKOSKI           JOHN W                MD         24X10000110       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                DENNIS E              VA         740CL0100210900   THE LAW OFFICES OF PETER T. NICHOLL
BROOKS               BARBARA A             MD         24X10000214       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                DENNIS G              MD         24X11000061       THE LAW OFFICES OF PETER T. NICHOLL
BROOKS               BARRY D               MD         98155503CX1129    THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                DONALD                MD         24X06000279       THE LAW OFFICES OF PETER T. NICHOLL
BROOKS               BETTY                 MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                DOROTHY L             MD         24X02002020       THE LAW OFFICES OF PETER T. NICHOLL
BROOKS               BETTY                 MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                EDWARD                MD         98338572CX2396    THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 742
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 77 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BROWN                EDWARD M              VA         740CL0100167600   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                LESLIE R              VA         29566RW           THE LAW OFFICES OF PETER T. NICHOLL
BROWN                EDWARD N              MD         X01001159         THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                LEVON A               MD         24X01001707       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                ELLEN                 MD         24X02001718       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                LINDA J               MD         24X01000588       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                ELNOR                 MD         24X02000677       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                LINDA L               VA         740CL0300161100   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                ELVIN M               MD         24X02001506       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                LORENZO               VA         29758VC           THE LAW OFFICES OF PETER T. NICHOLL
BROWN                ERNESTINE             MD         24X96121508       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                LOUIS H               VA         01978             THE LAW OFFICES OF PETER T. NICHOLL
BROWN                EVAN A                VA         700CL0437609T05   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MADISON C             VA         700CL0028194A04   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FLOYD E               MD         24X03000952       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARIE                 MD         24X06000109       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FRANK G               MD         24X01001589       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARK                  MD         24X05000350       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FRANKLIN              VA         740CL0100310400   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARLENE               MD         X01000286         THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FRANKLIN D            VA         740CL0200296700   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARLENE P             MD         01000177          THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FRED D                VA         29621RW           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARY L                VA         740CL0200128400   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FREDERICK A           VA         700CL0233174H02   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARY L                MD         24X14000489       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                FREDERICK H           MD         24X06000541       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MARY T                MD         24X13000108       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GEORGE E              VA         700CL0232193A04   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MATTHEW J             VA         740CL0100318400   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GEORGE G              VA         001337            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MCOLZER               VA         29903VA           THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GEORGE L              VA         104600            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MELVIN R              MD         X01000562         THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GEORGE W              VA         740CL0100328300   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MORRIS E              VA         740CL0100335000   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GERTRUDE W            VA         700CL0538928P03   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MOSES                 VA         700CL0231962A04   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GLENN A               VA         740CL0100190800   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MOSES                 VA         740CL9900192600   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GRANVILLE P           MD         24X02002092       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                MOSES T               VA         740CL0200114100   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                GREGORY H             VA         740CL0200180600   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                NANCY E               MD         24X06000159       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HAROLD J              MD         24X01001135       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                NATHANIEL L           VA         700CL0438192W01   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HAYWOOD               VA         740CL0300126200   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                NELLIE                MD         98267511CX1800    THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HENRIETTA             MD         24X01001707       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                NOVENE                MD         98170510CX1266    THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HERBERT               VA         29803VC           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ODELL                 VA         740CL0100158400   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HORACE J              MD         24X10000299       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ODELL                 MD         24X06000020       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HOWARD M              VA         001138            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                OTIS O                VA         740CL0200377400   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HUBERT                VA         30062RC           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PATRICIA              MD         24X03000952       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                HUBERT M              VA         01977             THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PAUL L                VA         740CL0200360100   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                ISAAC L               VA         740CL0100206000   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PEGGY L               MD         24X15000621       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JACKIE M              MD         24X02001506       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PETE M                MD         24X02000049       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES                 MD         98261505CX1729    THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PHILIP B              VA         700CL0232726VO5   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES                 MD         24X06000020       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PHILIP N              VA         740CL0200114200   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES E               MD         24X01001796       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PHILLIP               MD         24X06000109       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES E               VA         740CL0300161000   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PHILLIP A             MD         24X10000385       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES E               MD         24X15000621       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                PURNELL               MD         24X03000244       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES HERMAN          MD         01000227          THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                QUINTON H             VA         700CL0232211W01   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES L               MD         24X02001482       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RANDOLPH L            VA         740CL99001565     THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES M               VA         002023            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RAYMOND J             VA         740CL0100157800   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES O               VA         700CL0231960W01   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                REGINA H              MD         98225507CK1591    THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES T               VA         740CL0200046600   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RICHARD C             VA         29010A04          THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES W               VA         700CL0437760H02   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RICHARD H             VA         700CL0231936V05   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAMES W               VA         740CL01001041     THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RICHARD J             VA         740CL0300018600   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JANICE                MD         24X02002017       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RICHARD L             MD         24X02000677       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JAY A                 MD         24X15000621       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ROBERT                MD         24X03000202       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JEANETTE              MD         98261505CX1729    THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ROBERT                VA         740CL0000019200   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JEREMIAH MCCOY        MD         98170510CX1266    THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ROBERT                MD         01000261          THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOHN E                MD         24X02001714       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ROBERT A              VA         740CL0100144600   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOHN H                MD         24X13000108       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ROBERT E              VA         740CL0200356400   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOHN H                MD         24X02002021       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                ROBERT M              VA         29367RC           THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOHN R                MD         24X12000417       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                RONNIE                MD         24X16000301       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOHN W                VA         013179            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                SAMUEL R              VA         002202            THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOSEPH L              VA         700CL0438209H02   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                SHEDRACK              VA         740CL0100144700   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOSEPH R              VA         740CL0100211000   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                SHIRLEY L             VA         700CL0232120C03   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOSEPH W              MD         24X09000016       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                SUZETTE               MD         24X01002038       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                JOYCE                 MD         24X01001651       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                THEODORE              MD         01000177          THE LAW OFFICES OF PETER T. NICHOLL
BROWN                KARL R                VA         740CL0100180500   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                THEODORE L            MD         X01000286         THE LAW OFFICES OF PETER T. NICHOLL
BROWN                KENNETH H             VA         29158EH           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                THERESA G             MD         24X02000731       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                KENNETH H             VA         700CL0538928P03   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                THOMASINE             MD         24X01001589       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                KIMBERLY G            MD         24X17000119       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                THURMON A             MD         24X02002017       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                KRINDLE               VA         29622VC           THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                TOYA D                MD         24X11000061       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LARRY M               MD         X01000560         THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WALTER                MD         24X01002038       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LAWNSIE F             VA         700CL0232492H02   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WALTER                MD         24X02000073       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LAWRENCE W            VA         0028859C03        THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WALTER                MD         24X16000301       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LEASTER M             VA         700CL0231817C03   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WALTER L              VA         002131            THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LEMUEL O              VA         001777            THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WAYNE H               MD         24X01002091       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LENWARD E             MD         24X15000012       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WAYNE O               VA         740CL0200087000   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LEROY W               MD         24X02001718       THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WILBERT L             VA         740CL0200123600   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LEROYAL               VA         700CL0438220T05   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WILLIAM               MD         24X05000131       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                LESLIE                VA         700CL0231961V05   THE LAW OFFICES OF PETER T. NICHOLL                  BROWN                WILLIAM A SR          VA         740CL9900188100   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 743
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 78 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BROWN                WILLIAM C             MD         98267511CX1800    THE LAW OFFICES OF PETER T. NICHOLL                  BUCHANAN             ESTLE B               VA         740CL0200114300   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM E             VA         740CL0100157900   THE LAW OFFICES OF PETER T. NICHOLL                  BUCHANAN             LAWRENCE              VA         700CL0232212V05   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM E             VA         740CL0200005000   THE LAW OFFICES OF PETER T. NICHOLL                  BUCHANAN             SYLVIA                MD         24X06000648       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM H             VA         700CL0233145A04   THE LAW OFFICES OF PETER T. NICHOLL                  BUCHANAN             THOMAS W              VA         29571RW           THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM N             MD         24X02000731       THE LAW OFFICES OF PETER T. NICHOLL                  BUCHANAN             VERNON                MD         24X06000648       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM R             VA         29567VC           THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 CHIP M                VA         740CL0200005100   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM S             MD         X01000959         THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 EDWARD                MD         24X11000817       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIAM T             VA         740CL0100201200   THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 EDWARD JAMES          MD         24X11000817       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIE D              VA         31818RW           THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 MARVIN L              MD         01000349          THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIE L              MD         24X01001651       THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 NANCY                 MD         01000349          THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WILLIE R              VA         700CL0233152W01   THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 ROBERT E              MD         24X13000418       THE LAW OFFICES OF PETER T. NICHOLL
BROWN                WYATT C               VA         700CL0028759H02   THE LAW OFFICES OF PETER T. NICHOLL                  BUCK                 SAMUEL L              VA         700CL0232213A04   THE LAW OFFICES OF PETER T. NICHOLL
BROWN                EDDIE                 MD         24X04001021       THE LAW OFFICES OF PETER T. NICHOLL                  BUCKLEY              JAMES                 MD         24X08000144       THE LAW OFFICES OF PETER T. NICHOLL
BROWNE               GERALD E              MD         24X01001699       THE LAW OFFICES OF PETER T. NICHOLL                  BUCKLEY              JOYCE E               MD         24X08000144       THE LAW OFFICES OF PETER T. NICHOLL
BROWN-ILLERY         DRENA                 MD         24X16000301       THE LAW OFFICES OF PETER T. NICHOLL                  BUCKSON              LINDA                 MD         24X12001044       THE LAW OFFICES OF PETER T. NICHOLL
BROWNING             ALLISON               VA         32366RW           THE LAW OFFICES OF PETER T. NICHOLL                  BUCKSON              OTIS M                MD         24X12001044       THE LAW OFFICES OF PETER T. NICHOLL
BROWNING             EVERETT F             VA         32367VC           THE LAW OFFICES OF PETER T. NICHOLL                  BUDD                 AURELIA               MD         24X06000295       THE LAW OFFICES OF PETER T. NICHOLL
BROWNING             SILVESTER L           VA         700CL0232221W01   THE LAW OFFICES OF PETER T. NICHOLL                  BUDD                 MILTON                MD         24X06000295       THE LAW OFFICES OF PETER T. NICHOLL
BROWN-JAMES          LESLIE                MD         24X15000621       THE LAW OFFICES OF PETER T. NICHOLL                  BUETTNER             ANNA C                MD         24X06000694       THE LAW OFFICES OF PETER T. NICHOLL
BROWNSON             BERTHA                MD         X98402461         THE LAW OFFICES OF PETER T. NICHOLL                  BUETTNER             ROBERT                MD         24X06000694       THE LAW OFFICES OF PETER T. NICHOLL
BROWNSON             ROBERT T              MD         X98402461         THE LAW OFFICES OF PETER T. NICHOLL                  BUGGS                BEVERLY               MD         24X02001590       THE LAW OFFICES OF PETER T. NICHOLL
BRUBACH              MARGARET              MD         24X01001337       THE LAW OFFICES OF PETER T. NICHOLL                  BUGGS                DAVID M               MD         24X02001590       THE LAW OFFICES OF PETER T. NICHOLL
BRUBACH              ROBERT W              MD         24X01001337       THE LAW OFFICES OF PETER T. NICHOLL                  BUGGS                GERALD T              VA         740CL0300161200   THE LAW OFFICES OF PETER T. NICHOLL
BRUMLEY              JOHN E                VA         740CL0100222300   THE LAW OFFICES OF PETER T. NICHOLL                  BUGGS                RAYMOND I             VA         27910VA           THE LAW OFFICES OF PETER T. NICHOLL
BRUMMET              SHARON A              MD         24X02001200       THE LAW OFFICES OF PETER T. NICHOLL                  BUGGS                RUBEN                 MD         24X06000472       THE LAW OFFICES OF PETER T. NICHOLL
BRUMMET              WALTER                MD         24X02001200       THE LAW OFFICES OF PETER T. NICHOLL                  BUGGS                WASHINGTON L          VA         700CL0437589T05   THE LAW OFFICES OF PETER T. NICHOLL
BRUMMETT             CATHERINE             MD         24X11000205       THE LAW OFFICES OF PETER T. NICHOLL                  BUGOSH               CAROLYN J             MD         98275516CX1867    THE LAW OFFICES OF PETER T. NICHOLL
BRUMMETT             GEORGE W              MD         24X10000206       THE LAW OFFICES OF PETER T. NICHOLL                  BUGOSH               JAMES P               MD         98275516CX1867    THE LAW OFFICES OF PETER T. NICHOLL
BRUMMETT             MILDRED               MD         24X10000206       THE LAW OFFICES OF PETER T. NICHOLL                  BUIE                 JAMES                 MD         24X06000327       THE LAW OFFICES OF PETER T. NICHOLL
BRUMMETT             RAYMOND               MD         24X11000205       THE LAW OFFICES OF PETER T. NICHOLL                  BUIE                 MARY N                MD         24X06000327       THE LAW OFFICES OF PETER T. NICHOLL
BRUMSKIN             GAIL D G              VA         740CL0300112100   THE LAW OFFICES OF PETER T. NICHOLL                  BUKOWSKI             CHARLES F             MD         24X04000690       THE LAW OFFICES OF PETER T. NICHOLL
BRUMSKIN             JEROME M              VA         740CL0300112100   THE LAW OFFICES OF PETER T. NICHOLL                  BUKOWSKI             DEBORAH               MD         24X04000690       THE LAW OFFICES OF PETER T. NICHOLL
BRUNDRETT            CHARLES R             MD         24X14000497       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              ABRAM M               VA         001510            THE LAW OFFICES OF PETER T. NICHOLL
BRUNSON              ABRAHAM               MD         24X07000171       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              CLINTON L             VA         29623VA           THE LAW OFFICES OF PETER T. NICHOLL
BRUNSON              ALEXANDER SR          MD         98261516CX1740    THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              DANIEL                VA         001289            THE LAW OFFICES OF PETER T. NICHOLL
BRUNSON              CURTIS C              VA         740CL0300014500   THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              DAVID L               VA         700CL0438228V04   THE LAW OFFICES OF PETER T. NICHOLL
BRUNSON              ERNESTINE             MD         24X07000171       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              DAVID W               VA         740CL0100158000   THE LAW OFFICES OF PETER T. NICHOLL
BRUNSON              KENNETH               VA         740CL0100211100   THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              DELORES               MD         98218503CX1536    THE LAW OFFICES OF PETER T. NICHOLL
BRUNSON              VANILLE C             MD         98261516CX1740    THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              ETHEL MAE             VA         700CL0538947T01   THE LAW OFFICES OF PETER T. NICHOLL
BRUSH                EILEEN                MD         24X06000264       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              GREGORY A             MD         24X01001180       THE LAW OFFICES OF PETER T. NICHOLL
BRUSHMILLER          BETH                  MD         24X03000903       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              LARRY T               VA         740CL0100201300   THE LAW OFFICES OF PETER T. NICHOLL
BRUSHMILLER          EDWIN W               MD         24X03000903       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              LAURA                 MD         24X03000176       THE LAW OFFICES OF PETER T. NICHOLL
BRYAN                LARRY B               MD         24X14000042       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              MICHAEL E             VA         740CL0100320800   THE LAW OFFICES OF PETER T. NICHOLL
BRYAN                SAMUEL                MD         X01000952         THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              MILTON R              VA         29568VA           THE LAW OFFICES OF PETER T. NICHOLL
BRYAN                WILMA                 MD         X01000952         THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              ROBERT M              MD         X99000105         THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               BENJAMIN              VA         28215EH           THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              STACEY L              MD         98218503CX1536    THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               CLARENCE              MD         24X06000248       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              THOMAS                VA         740CL0100144800   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               CLARENCE H            VA         700CLO438372V04   THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              THOMAS                VA         700CL0538947T01   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               CLEMENTINE            MD         24X02001499       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              WILBERT F             MD         24X03000176       THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               EARL M                MD         24X05000651       THE LAW OFFICES OF PETER T. NICHOLL                  BULLOCK              WILLIAM W             MD         24X11000198       THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               FRANK JR              VA         740CL0000000300   THE LAW OFFICES OF PETER T. NICHOLL                  BUNCH                ANTOINETTE            MD         98240516CX1668    THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               GARLAND W             MD         24X11000318       THE LAW OFFICES OF PETER T. NICHOLL                  BUNCH                EDWARD R              MD         24X10000354       THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               GRACE B               MD         24X05000391       THE LAW OFFICES OF PETER T. NICHOLL                  BUNCH                HEATHER L             MD         24X01001375       THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               GUY P                 MD         24X06000249       THE LAW OFFICES OF PETER T. NICHOLL                  BUNCH                IREST B               VA         011150            THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               HERBERT               VA         740CL0200125700   THE LAW OFFICES OF PETER T. NICHOLL                  BUNCH                JAMES G               MD         24X01001375       THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               JAMES W               MD         24X02001499       THE LAW OFFICES OF PETER T. NICHOLL                  BUNCH                WILLIE                MD         98240516CX1668    THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               JOHNNY                MD         24X05000651       THE LAW OFFICES OF PETER T. NICHOLL                  BUNN                 CARL D                VA         30024RW           THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               MARCELLUS             VA         740CL0200178000   THE LAW OFFICES OF PETER T. NICHOLL                  BUNN                 JEREMIAH              VA         30167EH           THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               MARY L                MD         24X06000248       THE LAW OFFICES OF PETER T. NICHOLL                  BUNN                 LINWOOD C             VA         0028819A04        THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               MELVIN E              VA         740CL0300027200   THE LAW OFFICES OF PETER T. NICHOLL                  BUNN                 LIZZIE L              VA         740CL0200005200   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               RAYMOND G             VA         700CL0235630C04   THE LAW OFFICES OF PETER T. NICHOLL                  BUNN                 LOUIS E               VA         700CL0438229H02   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               ROBERT                MD         24X05000391       THE LAW OFFICES OF PETER T. NICHOLL                  BUNTING              JERE                  VA         740CL0300014600   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               THOMAS P              VA         700CL9927390A04   THE LAW OFFICES OF PETER T. NICHOLL                  BURCHER              CLYDE G               VA         33153VC           THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               WILLIAM B             VA         740CL0200193600   THE LAW OFFICES OF PETER T. NICHOLL                  BURDEN               CHARLES P             VA         29989RW           THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               WILLIAM E             VA         700CL0233175A04   THE LAW OFFICES OF PETER T. NICHOLL                  BURDEN               ERIC E                VA         740CL0300112200   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               WILLIAM H             VA         29009C03          THE LAW OFFICES OF PETER T. NICHOLL                  BURDEN               SENORA                VA         740CL0100158100   THE LAW OFFICES OF PETER T. NICHOLL
BRYANT               WILLIAM W             VA         740CL0300122900   THE LAW OFFICES OF PETER T. NICHOLL                  BURDEN               WILLIAM A             VA         740CL0200037000   THE LAW OFFICES OF PETER T. NICHOLL
BRZOZOWSKI           BERNARD J             MD         24X01002036       THE LAW OFFICES OF PETER T. NICHOLL                  BURGESS              RANDOLPH              VA         740CL0100158200   THE LAW OFFICES OF PETER T. NICHOLL
BRZOZOWSKI           CONSTANCE M           MD         24X06000375       THE LAW OFFICES OF PETER T. NICHOLL                  BURGESS              ROBERT I              MD         24X04000011       THE LAW OFFICES OF PETER T. NICHOLL
BRZOZOWSKI           MILTON                MD         24X06000375       THE LAW OFFICES OF PETER T. NICHOLL                  BURGESS              VANESSERIAH           MD         24X04000011       THE LAW OFFICES OF PETER T. NICHOLL
BUBER                IRA D                 MD         24X02001592       THE LAW OFFICES OF PETER T. NICHOLL                  BURKE                ALTON                 VA         740CL0200005300   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 744
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 79 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BURKE                BERNIE L              MD         24X11000949       THE LAW OFFICES OF PETER T. NICHOLL                  BUSKIRK              BETTY                 MD         98177514CX1307    THE LAW OFFICES OF PETER T. NICHOLL
BURKE                CARTER M              VA         740CL0200215000   THE LAW OFFICES OF PETER T. NICHOLL                  BUSKIRK              JAMES F               MD         98177514CX1307    THE LAW OFFICES OF PETER T. NICHOLL
BURKE                JOHNNIE               VA         700CL0438221P03   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               ALLEN W               VA         700CL0438006P03   THE LAW OFFICES OF PETER T. NICHOLL
BURKE                LLOYD B               VA         740CL0100335100   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               ARNOLD F              VA         700CL0028245H02   THE LAW OFFICES OF PETER T. NICHOLL
BURKETT              CORINE                MD         24X02000730       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               CALVIN J              MD         X01000951         THE LAW OFFICES OF PETER T. NICHOLL
BURKETT              ROBERT L              MD         24X02000730       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               CHARLES M             VA         29732RC           THE LAW OFFICES OF PETER T. NICHOLL
BURLESON             RONNIE L              MD         24X02002415       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               DOROTHY               MD         X01000951         THE LAW OFFICES OF PETER T. NICHOLL
BURLEY               CURTIS N              VA         0028979C03        THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               EDWARD C              VA         700CL0235631W01   THE LAW OFFICES OF PETER T. NICHOLL
BURLEY               FOSTER L              MD         24X02002411       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               EMANUEL E             MD         24X12001097       THE LAW OFFICES OF PETER T. NICHOLL
BURLEY               JAMES M               VA         740CL0100163600   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               FRANCES D             VA         700CL0232727H02   THE LAW OFFICES OF PETER T. NICHOLL
BURLEY               WENDELL M             MD         98296513CX1991    THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               FRANK B               VA         740CL0000017300   THE LAW OFFICES OF PETER T. NICHOLL
BURLOCK              GEORGE                MD         24X06000646       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               FREDERICK L           VA         0028683H02        THE LAW OFFICES OF PETER T. NICHOLL
BURLOCK              LORETTA J             MD         24X06000646       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               GEORGE T              VA         700CL0235895W01   THE LAW OFFICES OF PETER T. NICHOLL
BURMAN               EDWARD L              MD         24X02000687       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               GLORIA                MD         98176513CX1287    THE LAW OFFICES OF PETER T. NICHOLL
BURNETT              JOSEPH W              VA         740CL0200003000   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               HENRY P               VA         29474EH           THE LAW OFFICES OF PETER T. NICHOLL
BURNETT              LINDA SUGGS           MD         24X02001419       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               JAMES L               VA         0028810V05        THE LAW OFFICES OF PETER T. NICHOLL
BURNETT              ZENO E                MD         24X02001419       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               JAMES M               MD         24X06000581       THE LAW OFFICES OF PETER T. NICHOLL
BURNETTE             CHARLES C             VA         740CL0100328400   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               JOHN C                VA         CL0800789AF       THE LAW OFFICES OF PETER T. NICHOLL
BURNETTE             CHARLES C             VA         740CL0100328500   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               JOHN C                VA         002011            THE LAW OFFICES OF PETER T. NICHOLL
BURNETTE             DAVID W               VA         700CL0539119V04   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               JOHN E                MD         24X02000004       THE LAW OFFICES OF PETER T. NICHOLL
BURNEY               WILLIAM F             VA         740CL0100143500   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               JOHN SR               VA         28249VA           THE LAW OFFICES OF PETER T. NICHOLL
BURNS                ALICE                 MD         24X10000209       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               LATACHIA              MD         24X12001097       THE LAW OFFICES OF PETER T. NICHOLL
BURNS                CLIFTON L             VA         101175            THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               LINDA                 MD         24X06000581       THE LAW OFFICES OF PETER T. NICHOLL
BURNS                JAMES B               MD         24X01001254       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               LLOYD P               VA         740CL0100119100   THE LAW OFFICES OF PETER T. NICHOLL
BURNS                JAMES L               MD         X01000751         THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               MARY                  MD         24X12001097       THE LAW OFFICES OF PETER T. NICHOLL
BURNS                LARRY                 VA         700CL0235794C03   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               MILTON E              MD         98176513CX1287    THE LAW OFFICES OF PETER T. NICHOLL
BURNS                MICHAEL B             MD         24X02000792       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               NATHANIEL             VA         29548VA           THE LAW OFFICES OF PETER T. NICHOLL
BURNS                ROBERT                MD         24X13000141       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               ROBERT G              VA         740CL0300026900   THE LAW OFFICES OF PETER T. NICHOLL
BURNS                RODERICK J            MD         24X02000047       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               ROGER                 VA         740CL0200014500   THE LAW OFFICES OF PETER T. NICHOLL
BURNS                ROSALIE               MD         24X01001254       THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               RUBY                  VA         700CL0539571T01   THE LAW OFFICES OF PETER T. NICHOLL
BURNS                TERRY R               VA         740CL0300018700   THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               TOMMIE L              VA         740CL0300241300   THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              ARTHUR O              MD         98337510CX2322    THE LAW OFFICES OF PETER T. NICHOLL                  BUTLER               WILFUS B              VA         740CL0300161300   THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              CARL W                MD         24X02002596       THE LAW OFFICES OF PETER T. NICHOLL                  BUTRIM               CAROL                 MD         24X07000417       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              CLYDE E               MD         24X07000303       THE LAW OFFICES OF PETER T. NICHOLL                  BUTRIM               CHARLES M             MD         24X07000417       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              EDMOND W              MD         24X01001831       THE LAW OFFICES OF PETER T. NICHOLL                  BUTTION              ROBERT L              MD         24X05000767       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              GORDON E              MD         24X03000098       THE LAW OFFICES OF PETER T. NICHOLL                  BUTTION              SHIRLEY J             MD         24X05000767       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              HERMAN L              VA         011151            THE LAW OFFICES OF PETER T. NICHOLL                  BUTTS                DWIGHT L              VA         0028542V05        THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              JAMES E               VA         29087EH           THE LAW OFFICES OF PETER T. NICHOLL                  BUTTS                GERALD C              VA         740CL0300032800   THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              JAMES S               VA         740CL0200089900   THE LAW OFFICES OF PETER T. NICHOLL                  BUTTS                JAMES H               VA         700CL0028177C03   THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              JOHN                  VA         700CL0232214H02   THE LAW OFFICES OF PETER T. NICHOLL                  BUTTS                JAMES W               VA         740CL0300241400   THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              LARRY M               VA         740CL0300032700   THE LAW OFFICES OF PETER T. NICHOLL                  BUTTS                PAULINE R             MD         98310519CX2097    THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              RAYMOND W             VA         740CL0100211900   THE LAW OFFICES OF PETER T. NICHOLL                  BUZGIERSKI           ANDREW P              MD         24X03000789       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              RONNIE                MD         24X02000334       THE LAW OFFICES OF PETER T. NICHOLL                  BUZZURO              PHILLIP A             MD         24X03001034       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              THEODORE              MD         24X01001683       THE LAW OFFICES OF PETER T. NICHOLL                  BUZZURO              YVONNE                MD         24X03001034       THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              THEODORE M            MD         24X09000462       THE LAW OFFICES OF PETER T. NICHOLL                  BYARS                GEORGE T              VA         740CL0200129500   THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              VIRGINIA H            MD         24X02002423       THE LAW OFFICES OF PETER T. NICHOLL                  BYE                  JOE F                 VA         001290            THE LAW OFFICES OF PETER T. NICHOLL
BURRELL              WARREN M              MD         24X02002423       THE LAW OFFICES OF PETER T. NICHOLL                  BYER                 DARLENE E             MD         24X99000819       THE LAW OFFICES OF PETER T. NICHOLL
BURRIS               GERALD K              VA         28776RW           THE LAW OFFICES OF PETER T. NICHOLL                  BYER                 PATRICIA A            MD         24X03000842       THE LAW OFFICES OF PETER T. NICHOLL
BURROWS              CLAUDIA K             MD         24X02002431       THE LAW OFFICES OF PETER T. NICHOLL                  BYER                 ROBERT                MD         24X03000842       THE LAW OFFICES OF PETER T. NICHOLL
BURROWS              GARY L                MD         24X02002431       THE LAW OFFICES OF PETER T. NICHOLL                  BYERS                THOMAS                MD         X98402466         THE LAW OFFICES OF PETER T. NICHOLL
BURRUS               THOMAS O              MD         24X11000355       THE LAW OFFICES OF PETER T. NICHOLL                  BYERS                VELMA                 MD         X98402466         THE LAW OFFICES OF PETER T. NICHOLL
BURT                 THOMAS                VA         740CL0200295700   THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                EARL M                VA         740CL0200117200   THE LAW OFFICES OF PETER T. NICHOLL
BURTON               FRANKLIN D            VA         33154EH           THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                EUGENE                VA         740CL0200129600   THE LAW OFFICES OF PETER T. NICHOLL
BURTON               HENRY L               MD         24X07000105       THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                HERBERT E             MD         24X01001571       THE LAW OFFICES OF PETER T. NICHOLL
BURTON               HENRY L               MD         X01000750         THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                IMOGENE               MD         24X01001571       THE LAW OFFICES OF PETER T. NICHOLL
BURTON               LIZZIE J              MD         24X04000906       THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                JESSE C               MD         24X01001572       THE LAW OFFICES OF PETER T. NICHOLL
BURTON               NATHANIEL             VA         700CL0232202V05   THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                LARRY A               VA         740CL0300029000   THE LAW OFFICES OF PETER T. NICHOLL
BURTON               PERCY L               MD         24X04000906       THE LAW OFFICES OF PETER T. NICHOLL                  BYNUM                SUSAN                 MD         24X01001572       THE LAW OFFICES OF PETER T. NICHOLL
BURTON               WILLIAM W             VA         700CL9927837C03   THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 BOOKER T              MD         24X04000430       THE LAW OFFICES OF PETER T. NICHOLL
BURTON               WILLIE L              VA         700CL0438230T05   THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 CALVIN O              MD         24X10000352       THE LAW OFFICES OF PETER T. NICHOLL
BURWELL              EDWARD                MD         24X14000475       THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 CYNTHIA M             MD         98316510CX2128    THE LAW OFFICES OF PETER T. NICHOLL
BURWELL              RONALD L              VA         740CL0200046700   THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 EDWARD J              VA         740CL0200086000   THE LAW OFFICES OF PETER T. NICHOLL
BUSCH                LLOYD E               VA         740CL0200014400   THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 FLOYD R               VA         740CL0200180700   THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 CLIFFORD C            VA         740CL0200127000   THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 HOMER R               VA         74CL200042200     THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 FRANK                 VA         001133            THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 HUDSON L              VA         74CL0200043000    THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 FRANKLIN S            MD         24X04000762       THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 JAMES E               MD         24X06000051       THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 HARRIETTE             MD         24X06000427       THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 JOHN B                MD         98177509CX1302    THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 JAMES M               VA         740CL0200042100   THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 JOHN H                MD         98316510CX2128    THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 LORETTA               MD         24X04000762       THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 KENNETH R             VA         740CL0100180600   THE LAW OFFICES OF PETER T. NICHOLL
BUSH                 RANDOLPH G            MD         24X06000427       THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 MAJOR H               VA         0028861V05        THE LAW OFFICES OF PETER T. NICHOLL
BUSHROD              HARRY L               MD         98183516CX1343    THE LAW OFFICES OF PETER T. NICHOLL                  BYRD                 MARION E              MD         24X01001309       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 745
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 80 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

BYRD                 MARY E                MD         24X12000678       THE LAW OFFICES OF PETER T. NICHOLL                  CAMPBELL             WILLIAM               MD         24X02001259       THE LAW OFFICES OF PETER T. NICHOLL
BYRD                 NORMAN E              VA         740CL0300014800   THE LAW OFFICES OF PETER T. NICHOLL                  CAMPER               LESTER T              MD         98162508CX1169    THE LAW OFFICES OF PETER T. NICHOLL
BYRD                 ROBERT P              MD         24X10000284       THE LAW OFFICES OF PETER T. NICHOLL                  CAMPER               WILLIAM H             VA         29705VA           THE LAW OFFICES OF PETER T. NICHOLL
BYRD                 ROCKEYFELLOW          MD         24X12000678       THE LAW OFFICES OF PETER T. NICHOLL                  CAMPHOR              BRENDA                MD         24X02002430       THE LAW OFFICES OF PETER T. NICHOLL
BYRD                 SHERMAN D             VA         30031EH           THE LAW OFFICES OF PETER T. NICHOLL                  CAMPHOR              THOMAS W              MD         24X02002430       THE LAW OFFICES OF PETER T. NICHOLL
BYRD                 WALDA E               MD         24X01001309       THE LAW OFFICES OF PETER T. NICHOLL                  CAMPHOR              VERNON                MD         24X01001223       THE LAW OFFICES OF PETER T. NICHOLL
BYRD                 WALTER J              MD         24X01000895       THE LAW OFFICES OF PETER T. NICHOLL                  CANADAY              WILLIAM M             VA         740CL0200005400   THE LAW OFFICES OF PETER T. NICHOLL
BYRDSONG             GARY M                VA         700CL0233184H02   THE LAW OFFICES OF PETER T. NICHOLL                  CANNADY              JESSE L               VA         33155VA           THE LAW OFFICES OF PETER T. NICHOLL
BYRDSONG             WILLIAM I             VA         740CL0200360200   THE LAW OFFICES OF PETER T. NICHOLL                  CANNADY              LINCOLN M             MD         24X04000979       THE LAW OFFICES OF PETER T. NICHOLL
BYTHEWAY             WILLIAM H             MD         24X18000125       THE LAW OFFICES OF PETER T. NICHOLL                  CANNADY              META                  MD         24X04000979       THE LAW OFFICES OF PETER T. NICHOLL
C AMPHOR             BETTY                 MD         24X01001223       THE LAW OFFICES OF PETER T. NICHOLL                  CANNON               JAMES B               MD         24X04000028       THE LAW OFFICES OF PETER T. NICHOLL
CABE                 MARVIN M              VA         700CL0235896V05   THE LAW OFFICES OF PETER T. NICHOLL                  CANNON               LOUIS                 VA         740CL0200073000   THE LAW OFFICES OF PETER T. NICHOLL
CADE                 CYNTHIA G             MD         24X13000417       THE LAW OFFICES OF PETER T. NICHOLL                  CANTIN               HENRY J               VA         740CL0300082000   THE LAW OFFICES OF PETER T. NICHOLL
CADE                 LUBY D                MD         24X13000417       THE LAW OFFICES OF PETER T. NICHOLL                  CANTIN               SONJA E               VA         740CL0300082000   THE LAW OFFICES OF PETER T. NICHOLL
CAESAR               LEE R                 MD         24X02002367       THE LAW OFFICES OF PETER T. NICHOLL                  CANTRELL             BOBBY R               VA         740CL0000016600   THE LAW OFFICES OF PETER T. NICHOLL
CAHOON               GORDON B              VA         740CL0300161400   THE LAW OFFICES OF PETER T. NICHOLL                  CANTY                JOHN E                MD         24X04000877       THE LAW OFFICES OF PETER T. NICHOLL
CAIN                 JAMES                 MD         98233517CX1643    THE LAW OFFICES OF PETER T. NICHOLL                  CANTY                VESSI                 MD         24X04000877       THE LAW OFFICES OF PETER T. NICHOLL
CAIN                 MARILYN               MD         98233517CX1643    THE LAW OFFICES OF PETER T. NICHOLL                  CAPECCI              JOHN P                MD         24X01001710       THE LAW OFFICES OF PETER T. NICHOLL
CAIN                 MARLA                 MD         24X01002096       THE LAW OFFICES OF PETER T. NICHOLL                  CAPEHART             LEROY R               VA         29733VC           THE LAW OFFICES OF PETER T. NICHOLL
CAIN                 SHEDRICK E            MD         24X01002096       THE LAW OFFICES OF PETER T. NICHOLL                  CAPEHART             WILLIAM D             VA         740CL0300161500   THE LAW OFFICES OF PETER T. NICHOLL
CALABRESE            MAUD                  MD         98219521CX1560    THE LAW OFFICES OF PETER T. NICHOLL                  CAPEHART             WILLIE C              VA         740CL0300161600   THE LAW OFFICES OF PETER T. NICHOLL
CALABRESE            ROSARIO               MD         98219521CX1560    THE LAW OFFICES OF PETER T. NICHOLL                  CAPLES               LARRY J               VA         740CL0200049300   THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             JAMES C               MD         24X02001140       THE LAW OFFICES OF PETER T. NICHOLL                  CARAWAY              VINEY                 MD         24X01000891       THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             JAMES L               MD         24X11000278       THE LAW OFFICES OF PETER T. NICHOLL                  CAREY                BERNICE               MD         24X03000908       THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             JANNINGS B            VA         29904EH           THE LAW OFFICES OF PETER T. NICHOLL                  CAREY                BONITA                MD         24X01001020       THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             NORMA                 MD         24X01000717       THE LAW OFFICES OF PETER T. NICHOLL                  CAREY                GROVER B              VA         700CL0235909C03   THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             PHILLIP B             VA         01925             THE LAW OFFICES OF PETER T. NICHOLL                  CAREY                LESLIE T              VA         740CL0300161700   THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             RICHARD               MD         24X16000246       THE LAW OFFICES OF PETER T. NICHOLL                  CAREY                RICHARD M             MD         24X01001020       THE LAW OFFICES OF PETER T. NICHOLL
CALDWELL             THOMAS N              MD         24X01000717       THE LAW OFFICES OF PETER T. NICHOLL                  CAREY                ROBERT S              MD         24X03000908       THE LAW OFFICES OF PETER T. NICHOLL
CALLIS               CHARLES W             VA         740CL0300081900   THE LAW OFFICES OF PETER T. NICHOLL                  CARGILL              ALPHONSA L            VA         29124RC           THE LAW OFFICES OF PETER T. NICHOLL
CALLIS               GEORGE W              VA         700CL0233130A04   THE LAW OFFICES OF PETER T. NICHOLL                  CARGILL              JAMES E               VA         740CL9900190400   THE LAW OFFICES OF PETER T. NICHOLL
CALLIS               MILLARD G             VA         740CL0100163700   THE LAW OFFICES OF PETER T. NICHOLL                  CARL                 WILLIAM A             VA         700CL0232728A04   THE LAW OFFICES OF PETER T. NICHOLL
CALLOWAY             JAMES H               VA         700CL0437720H02   THE LAW OFFICES OF PETER T. NICHOLL                  CARLEST              DAVID E               MD         24X11000103       THE LAW OFFICES OF PETER T. NICHOLL
CALLOWAY             LAWSON L              VA         740CL0200051300   THE LAW OFFICES OF PETER T. NICHOLL                  CARLTON              NATHANIEL             VA         740CL9900189400   THE LAW OFFICES OF PETER T. NICHOLL
CALVERT              GEORGE E              MD         24X06000784       THE LAW OFFICES OF PETER T. NICHOLL                  CARMACK              CLIFTON L             VA         700CL0232215C03   THE LAW OFFICES OF PETER T. NICHOLL
CALVERT              ROSALEEN              MD         24X06000784       THE LAW OFFICES OF PETER T. NICHOLL                  CARMACK              RAYMOND L             VA         740CL0100195800   THE LAW OFFICES OF PETER T. NICHOLL
CAMDEN               LENDELL V             VA         700CL0438193V04   THE LAW OFFICES OF PETER T. NICHOLL                  CARMICHAEL           JERRY                 MD         99000823          THE LAW OFFICES OF PETER T. NICHOLL
CAMERON              CLAYBORNE L           MD         24X01001682       THE LAW OFFICES OF PETER T. NICHOLL                  CARMINE              DALE E                VA         700CL0437887W01   THE LAW OFFICES OF PETER T. NICHOLL
CAMERON              CLAYBORNE L           MD         24X07000411       THE LAW OFFICES OF PETER T. NICHOLL                  CARMON               BENNIE A JR           MD         X98402470         THE LAW OFFICES OF PETER T. NICHOLL
CAMERON              LORENE                MD         24X01001682       THE LAW OFFICES OF PETER T. NICHOLL                  CARMON               JAMES                 MD         24X05000084       THE LAW OFFICES OF PETER T. NICHOLL
CAMERON              LORENE                MD         24X07000411       THE LAW OFFICES OF PETER T. NICHOLL                  CARMON               LINDA                 MD         X98402470         THE LAW OFFICES OF PETER T. NICHOLL
CAMMON               JOSEPH W              VA         700CL0231972A04   THE LAW OFFICES OF PETER T. NICHOLL                  CARMON               PANSEAL M             MD         24X05000084       THE LAW OFFICES OF PETER T. NICHOLL
CAMPANELLA           KAY                   MD         X98402602         THE LAW OFFICES OF PETER T. NICHOLL                  CARMON               PAUL                  MD         24X02000005       THE LAW OFFICES OF PETER T. NICHOLL
CAMPANELLA           MICHAEL J             MD         X98402602         THE LAW OFFICES OF PETER T. NICHOLL                  CARNEY               CLAUDE                VA         740CL0300198600   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             CHARLES H             MD         24X03001032       THE LAW OFFICES OF PETER T. NICHOLL                  CARNEY               FRANK H               VA         30168RC           THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             CRAIG A               MD         24X12000603       THE LAW OFFICES OF PETER T. NICHOLL                  CARPENTER            LUKE                  VA         700CL0028479C03   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             DANYA                 MD         24X12000603       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 ARDENA                MD         24X01002087       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             DARLENE               MD         24X01001795       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 CARLA M               MD         24X06000373       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             DELORES               MD         24X03001032       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 CREOLA                MD         24X01000849       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             DERRICK               MD         24X12000603       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 GEORGE E              MD         24X01002087       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             GOLDIE M              MD         24X11000153       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 GLORIA JEAN           MD         24X17000474       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             HAROLD                MD         24X01001636       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 HERBERT B             VA         700CL0231963H02   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JAMES E               VA         740CL0300112300   THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 HOWARD L              VA         700CL0438035T05   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JAMES R               MD         24X16000131       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 KELLEY                MD         24X06000373       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JAMES T               MD         24X04000015       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 NORMAN D              VA         740CL0200215100   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JANET                 MD         24X01001636       THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 WALTER C              MD         24X01000849       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JOHN J                VA         740CL0200042000   THE LAW OFFICES OF PETER T. NICHOLL                  CARR                 WILL R                VA         740CL0200116100   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JOHN W                MD         24X01001795       THE LAW OFFICES OF PETER T. NICHOLL                  CARRICK              ALICE                 MD         24X02001860       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JOHNNY                MD         24X01001876       THE LAW OFFICES OF PETER T. NICHOLL                  CARRICK              GERALD N              MD         24X02001860       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             JOYCE                 MD         98402606          THE LAW OFFICES OF PETER T. NICHOLL                  CARRINGTON           ALICE C               MD         X01000885         THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             KENNY                 VA         700CL0028747A04   THE LAW OFFICES OF PETER T. NICHOLL                  CARRINGTON           JAMES E               VA         002641            THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             KENNY R               MD         24X11000153       THE LAW OFFICES OF PETER T. NICHOLL                  CARRINGTON           THEODORE R            VA         740CL0100186300   THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             LINDA                 MD         24X02001131       THE LAW OFFICES OF PETER T. NICHOLL                  CARRINGTON-MILLER    CECEILIA              MD         24X06000552       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             LONNIE L              MD         X01000698         THE LAW OFFICES OF PETER T. NICHOLL                  CARRITHERS           CHARLES A             VA         30025VA           THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             REGINALD G            MD         24X11000682       THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              ADA L                 MD         24X06000325       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             ROBERT L              MD         X01000190         THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              ALBERT A              MD         24X08000190       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             ROBIN                 MD         24X01001212       THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              ALBERT G              MD         24X06000263       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             SARAH                 MD         X01000190         THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              ANNIE                 MD         24X05000298       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             STEPHEN B             MD         24X01001212       THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              BILLY J               MD         98219523CX1562    THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             WALLACE               MD         98402606          THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              BOBBY W               MD         24X04000244       THE LAW OFFICES OF PETER T. NICHOLL
CAMPBELL             WILBERT E             MD         24X02001131       THE LAW OFFICES OF PETER T. NICHOLL                  CARROLL              BRENDA                MD         24X04000244       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 746
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 81 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

CARROLL              BRIAN E               VA         700CL0232368A04   THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               MARY JANE             MD         X01000787         THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              DAVID R               MD         98296512CX1990    THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               MELTON                MD         98148506CX1056    THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              DORETHA P             MD         24X08000190       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               MELVIN L              MD         24X08000505       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              DOROTHY               MD         24X06000263       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               MILTON A              MD         98183515CX1342    THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              EVELYN C              MD         98296512CX1990    THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               NANNIE                MD         24X04001140       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              IRENE H               MD         24X06000376       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               NANNIE                MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              IRENE H               MD         24X17000203       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               NANNIE                MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              JAMES E               VA         740CL0200125800   THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               NEWMAN                MD         24X03000242       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              JOHN R                VA         700CL0539138H02   THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               ORAL R                MD         X01000787         THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              KENNETH N             MD         24X02001420       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               SELINA G              MD         99001257          THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              ROBERT E              MD         24X05000298       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               SIMON P               MD         98247516CX1695    THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              RUDOLPH               MD         24X17000203       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               SONIA E               MD         24X05000116       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              RUDOLPH               MD         24X06000376       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               STANLEY W             MD         24X11000506       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              RUDY H                MD         24X17000203       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               TAMATHAE              MD         98177517CX1310    THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              SHARON                MD         98219523CX1562    THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               THOMAS R              VA         740CL0100318500   THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              SYLVIA ANN            MD         24X17000203       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               THOMAS R              VA         001187            THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              WILLIAM D             MD         24X17000203       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               THOMISENA C           MD         24X05000380       THE LAW OFFICES OF PETER T. NICHOLL
CARROLL              WILLIAM H             VA         740CL0300033700   THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               WALTER                MD         24X12000515       THE LAW OFFICES OF PETER T. NICHOLL
CARROW               JOYCE                 MD         24X05000648       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               WILLIAM C             MD         98233503CX1629    THE LAW OFFICES OF PETER T. NICHOLL
CARROW               MICHAEL               MD         24X05000648       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               WILLIAM E             VA         700CL0231854V05   THE LAW OFFICES OF PETER T. NICHOLL
CARROW               MILTON THEODORE       MD         24X05000648       THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               WILLIAM E             MD         24X02000881       THE LAW OFFICES OF PETER T. NICHOLL
CARRUTHERS           DONALD A              VA         700CL0438390T01   THE LAW OFFICES OF PETER T. NICHOLL                  CARTER               WILSON B              VA         29464EH           THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ADELE                 MD         98148506CX1056    THE LAW OFFICES OF PETER T. NICHOLL                  CARTWRIGHT           DANIEL W              VA         28535RW           THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ALEXANDER             VA         740CL0100160100   THE LAW OFFICES OF PETER T. NICHOLL                  CARTWRIGHT           DONALD A              VA         740CL0300100900   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ALPHONSO              MD         24X01001419       THE LAW OFFICES OF PETER T. NICHOLL                  CARTWRIGHT           WILLIAM M             VA         740CL0300242500   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ANNA M                MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  CARVER               DAVID H               MD         98302506          THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ANNA M                MD         24X12000654       THE LAW OFFICES OF PETER T. NICHOLL                  CARVER               SANDRA M              MD         98302506          THE LAW OFFICES OF PETER T. NICHOLL
CARTER               AUGUSTINE             VA         740CL0200035800   THE LAW OFFICES OF PETER T. NICHOLL                  CARY                 JOSHUA L              VA         740CL0100200400   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               BOOKER T              VA         740CL0200046800   THE LAW OFFICES OF PETER T. NICHOLL                  CASH                 GEORGE W SR           VA         28242RC           THE LAW OFFICES OF PETER T. NICHOLL
CARTER               BOOKER T              VA         740CL9900188300   THE LAW OFFICES OF PETER T. NICHOLL                  CASON                WILLIAM A             VA         740CL0200223500   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               CARL B                MD         24X03000721       THE LAW OFFICES OF PETER T. NICHOLL                  CASPER               CALVIN V              VA         740CL0100131400   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               CLIFFTON              MD         X01000754         THE LAW OFFICES OF PETER T. NICHOLL                  CASSELL              MICHAEL A             MD         24X01002008       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               CONNIE A              MD         98338532CX2356    THE LAW OFFICES OF PETER T. NICHOLL                  CASSIDY              CORNELIUS             MD         98402608          THE LAW OFFICES OF PETER T. NICHOLL
CARTER               DELPHINE              MD         X01000754         THE LAW OFFICES OF PETER T. NICHOLL                  CASTLE               CLYDE D               VA         28223RW           THE LAW OFFICES OF PETER T. NICHOLL
CARTER               DOROTHY               MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL                  CASTRONOVA           DONALD V              MD         24X14000266       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               DOROTHY               MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL                  CASTRONOVA           EDWARD P              MD         24X13000608       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               EARL L                MD         24X03000907       THE LAW OFFICES OF PETER T. NICHOLL                  CASTRONOVA           JEANETTE              MD         24X14000266       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               EARLIE D              MD         24X01000901       THE LAW OFFICES OF PETER T. NICHOLL                  CATES                IRENE L               MD         X99000108         THE LAW OFFICES OF PETER T. NICHOLL
CARTER               EDWARD W              VA         740CL0200128500   THE LAW OFFICES OF PETER T. NICHOLL                  CATES                ROBERT D              MD         24X02001407       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ELLEN                 MD         24X04000033       THE LAW OFFICES OF PETER T. NICHOLL                  CATES                WALTER C              MD         X99000108         THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ELLEN A               MD         24X06000727       THE LAW OFFICES OF PETER T. NICHOLL                  CATLETT              BENJAMIN G            VA         740CL0100131500   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               ERIC                  MD         24X03000097       THE LAW OFFICES OF PETER T. NICHOLL                  CATO                 ALICE V               MD         24X06000057       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               FREDERICK E           MD         24X12000654       THE LAW OFFICES OF PETER T. NICHOLL                  CATO                 ANDREW                MD         24X06000057       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               GEORGE TINSLEY        VA         740CL0100310500   THE LAW OFFICES OF PETER T. NICHOLL                  CAUDLE               BRAVLET O             VA         700CL0232216W01   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               HERMAN                VA         700CL0232467H02   THE LAW OFFICES OF PETER T. NICHOLL                  CAVANAUGH            ARLENE                MD         24X11000886       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               HOWARD                MD         24X06000727       THE LAW OFFICES OF PETER T. NICHOLL                  CAVANAUGH            MICHAEL J             MD         24X11000886       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               HOWARD F              MD         24X04000033       THE LAW OFFICES OF PETER T. NICHOLL                  CAVE                 FREDERICK C           VA         740CL0100145600   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JAMES                 MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL                  CECIL                RICHARD E             VA         740CL0100145700   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JAMES                 MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL                  CEPHAS               FRED J                VA         700CL0235910W01   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JAMES A               MD         98211503CX1510    THE LAW OFFICES OF PETER T. NICHOLL                  CESPEDES             PHILIP M              VA         002132            THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JAMES A               MD         24X02000001       THE LAW OFFICES OF PETER T. NICHOLL                  CHAFFIN              BOBBY L SR            VA         700CL0028515W01   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JAMES E               MD         24X02000794       THE LAW OFFICES OF PETER T. NICHOLL                  CHAFFIN              CLEO L                MD         98296507CX1985    THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JAMES R               VA         29569EH           THE LAW OFFICES OF PETER T. NICHOLL                  CHAFFIN              CLOYD                 MD         98296507CX1985    THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JANET                 MD         24X03000721       THE LAW OFFICES OF PETER T. NICHOLL                  CHAFFIN              JAMES M               VA         700CL0231937A04   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JASPER                MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  CHALLENGER           ALVIN R               VA         740CL0000195000   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JASPER H              MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERLAIN          DAVID M               MD         98162507CX1168    THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JOHN A                VA         740CL0200128600   THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERLAIN          FRANK                 MD         98317508CX2139    THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JOHN R                MD         98338532CX2356    THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERLAIN          JOSEPH                MD         24X05000117       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               JOHN R                VA         740CL0100186400   THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERLAIN          SADIE G               MD         98317508CX2139    THE LAW OFFICES OF PETER T. NICHOLL
CARTER               KENNETH B             MD         98177517CX1310    THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERLAIN          VICTORIA C            MD         24X05000117       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LAWRENCE              MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERLISS          MELVIN                VA         002717            THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LAWRENCE              MD         24X04001140       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             BERNARD L             VA         740CL0300199700   THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LAWRENCE              MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             LARRY A               MD         24X01002097       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LAWRENCE I            MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             LEONARD B             MD         X01001116         THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LAWRENCE I            MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             MARGARET              MD         24X04001156       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LEE                   MD         24X05000116       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             PEGGY                 MD         X01001116         THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LONNIE J              MD         99001257          THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             RICHARD J             MD         24X10000131       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               LORENZO D             VA         740CL0200017900   THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             WILBERT M             MD         24X04000811       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               MARGARET E            MD         24X11000506       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             WINCY                 MD         24X05000382       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               MARY                  MD         24X03000907       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBERS             VAILE                 MD         24X04000811       THE LAW OFFICES OF PETER T. NICHOLL
CARTER               MARY                  MD         24X08000505       THE LAW OFFICES OF PETER T. NICHOLL                  CHAMBLEE             CLARENCE C            VA         740CL0000014200   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 747
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 82 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

CHAMBLEE             GEORGE L              VA         001776            THE LAW OFFICES OF PETER T. NICHOLL                  CHATMAN              WILLIE E              VA         29267EH           THE LAW OFFICES OF PETER T. NICHOLL
CHAMBLEE             JAMES M               VA         740CL000008800    THE LAW OFFICES OF PETER T. NICHOLL                  CHAVEZ               JOANNA                MD         24X02000791       THE LAW OFFICES OF PETER T. NICHOLL
CHAMBLEE             LEROY                 VA         740CL0200068900   THE LAW OFFICES OF PETER T. NICHOLL                  CHAVEZ               RAYMOND H             MD         24X02000791       THE LAW OFFICES OF PETER T. NICHOLL
CHAMBLEE             MARY L                VA         700CL0539395H02   THE LAW OFFICES OF PETER T. NICHOLL                  CHAVIS               AUGUSTUS R            VA         740CL0100325600   THE LAW OFFICES OF PETER T. NICHOLL
CHAMBLEE             MELVIN R              VA         700CL9927950A     THE LAW OFFICES OF PETER T. NICHOLL                  CHAVIS               DIANA J               MD         24X14000179       THE LAW OFFICES OF PETER T. NICHOLL
CHAMBLEE             MILTON S              VA         700CL0232472H02   THE LAW OFFICES OF PETER T. NICHOLL                  CHAVIS               TALBERT L             MD         24X14000179       THE LAW OFFICES OF PETER T. NICHOLL
CHAMBLEE             SAMUEL O              VA         700CL9928017W01   THE LAW OFFICES OF PETER T. NICHOLL                  CHEATHAM             BRENDA                MD         24X11000850       THE LAW OFFICES OF PETER T. NICHOLL
CHAMPION             BOBBY L               VA         740CL0200360300   THE LAW OFFICES OF PETER T. NICHOLL                  CHEATHAM             BRENDA J              MD         24X10000453       THE LAW OFFICES OF PETER T. NICHOLL
CHAMPION             HAROLD C              MD         24X03000906       THE LAW OFFICES OF PETER T. NICHOLL                  CHEATHAM             MELVIN                MD         24X10000453       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             COLEMAN L             MD         X01000835         THE LAW OFFICES OF PETER T. NICHOLL                  CHEATHAM             MELVIN L              MD         24X11000850       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             EARLY D               MD         24X03000403       THE LAW OFFICES OF PETER T. NICHOLL                  CHEEK                GLENN                 MD         X01000753         THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             FLORENCE              MD         X01000835         THE LAW OFFICES OF PETER T. NICHOLL                  CHEEK                HELEN T               MD         X01000753         THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             FLOYD W               MD         24X04000010       THE LAW OFFICES OF PETER T. NICHOLL                  CHEEKS               HERMAN                MD         24X05000017       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             HENRY A               MD         24X02001505       THE LAW OFFICES OF PETER T. NICHOLL                  CHEEKS               HERMAN E              MD         98303506CX2043    THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             JONATHAN              MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL                  CHEEKS               MARY L                MD         24X05000017       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             KAREN                 MD         24X04000500       THE LAW OFFICES OF PETER T. NICHOLL                  CHEEKS               MARY L                MD         98303506CX2043    THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             KAREN S               MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL                  CHEEKS               SAMUEL                VA         740CL0100321500   THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             KATHRYN               MD         24X03000403       THE LAW OFFICES OF PETER T. NICHOLL                  CHEESE               JEROME J              MD         24X14000123       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             KEVIN                 MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL                  CHEESEMAN            NELSON L              VA         001291            THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             LAURA                 MD         24X02001505       THE LAW OFFICES OF PETER T. NICHOLL                  CHENOWITH            JOHN                  MD         24X05000107       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             LEE V                 MD         24X03000337       THE LAW OFFICES OF PETER T. NICHOLL                  CHENOWITH            MAGDALENA             MD         24X05000107       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             MATTHEW               MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               ANDRE                 VA         700CL0438036P03   THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             NELL                  MD         24X03000337       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               CHARLES L             VA         740CL0200018000   THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             NORMAN E              MD         24X04000500       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               FRANK M               VA         740CL0200127100   THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             NORMAN E              MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               GERALDINE             MD         24X03000077       THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             PAUL B                VA         740CL0300082100   THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               HARVEY                MD         98317534CX2165    THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             SANDRA S              MD         24X04000010       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               HOWARD E              VA         700CL0438689P03   THE LAW OFFICES OF PETER T. NICHOLL
CHANDLER             WILLIAM W             VA         740CL0100160200   THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               JAMES F               VA         700CL0539561T01   THE LAW OFFICES OF PETER T. NICHOLL
CHANEY               BARBARA               MD         24X06000605       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               JAMES W               VA         740CL000000400    THE LAW OFFICES OF PETER T. NICHOLL
CHANEY               CLARENCE              MD         24X11000174       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               LEON R                MD         24X03000077       THE LAW OFFICES OF PETER T. NICHOLL
CHANEY               HOWARD L              VA         740CL0000016900   THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               LOUIS E               VA         0028758V05        THE LAW OFFICES OF PETER T. NICHOLL
CHANEY               MARY                  MD         24X02002011       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               MICHAEL A             MD         24X06000301       THE LAW OFFICES OF PETER T. NICHOLL
CHANEY               MICHAEL               MD         24X06000605       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               VANDERBILL            VA         01980             THE LAW OFFICES OF PETER T. NICHOLL
CHANEY               WAYNE B               MD         24X02002011       THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY               WILLIAM JR            VA         28777VA           THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              BERT L                VA         103200            THE LAW OFFICES OF PETER T. NICHOLL                  CHERRY-EL            GLORIA                MD         24X11000446       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              COLUMBUS C            VA         001512            THE LAW OFFICES OF PETER T. NICHOLL                  CHESEMAN             ROBERT E              VA         740CL0200054400   THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              ERNESTINE             MD         24X01001875       THE LAW OFFICES OF PETER T. NICHOLL                  CHESTER              BRUCE D               MD         24X11000447       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              FLOYD A               VA         01979             THE LAW OFFICES OF PETER T. NICHOLL                  CHESTNUT             FLOSSIE               MD         24X0300073        THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              JAMES A               VA         700CL0437731T05   THE LAW OFFICES OF PETER T. NICHOLL                  CHESTNUT             MCDONALD              MD         24X0300073        THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              JAMES A               VA         700CL0437751T05   THE LAW OFFICES OF PETER T. NICHOLL                  CHETELAT             WILBUR F              MD         24X14000498       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              JAMES E               VA         700CL0232217V05   THE LAW OFFICES OF PETER T. NICHOLL                  CHEW                 HERBERT               MD         X01000352         THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              JAMES O               MD         24X11000380       THE LAW OFFICES OF PETER T. NICHOLL                  CHEWNING             MARTHA                MD         24X07000209       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              JIMMIE                MD         24X01001875       THE LAW OFFICES OF PETER T. NICHOLL                  CHEWNING             VICTOR                MD         24X07000209       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              LORENZO               VA         740CL0300082200   THE LAW OFFICES OF PETER T. NICHOLL                  CHIRICO              JOSEPH E              MD         98402497          THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              MABEL A               VA         001513            THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             CHRISTINE             MD         98303503CX2040    THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              MARSHALL E            VA         30032RC           THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             CHRISTINE             MD         24X06000225       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              TIMOTHY               VA         740CL0300101000   THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             JUDITH                MD         98303503CX2040    THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              VERNON L              VA         740CL0100143600   THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             JUDITH                MD         24X06000225       THE LAW OFFICES OF PETER T. NICHOLL
CHAPMAN              WILLIAM H             VA         29465RC           THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             THOMAS R              MD         98303503CX2040    THE LAW OFFICES OF PETER T. NICHOLL
CHAPPELL             CL                    VA         32745RW           THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             THOMAS R              MD         24X06000225       THE LAW OFFICES OF PETER T. NICHOLL
CHAPPELL             CASSANDRA             MD         24X17000203       THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             TIMOTHY               MD         98303503CX2040    THE LAW OFFICES OF PETER T. NICHOLL
CHAPPELL             JAMES L               VA         740CL0200360400   THE LAW OFFICES OF PETER T. NICHOLL                  CHISHOLM             TIMOTHY               MD         24X06000225       THE LAW OFFICES OF PETER T. NICHOLL
CHAPPLE              MYRON                 MD         24X04000502       THE LAW OFFICES OF PETER T. NICHOLL                  CHISOLM              JUDITH                MD         98303503CX2040    THE LAW OFFICES OF PETER T. NICHOLL
CHARITY              JAMES                 VA         29581RW           THE LAW OFFICES OF PETER T. NICHOLL                  CHISOLM              THOMAS R              MD         98303503CX2040    THE LAW OFFICES OF PETER T. NICHOLL
CHARITY              KENNETH L             VA         33156RC           THE LAW OFFICES OF PETER T. NICHOLL                  CHITTENDEN           WILLIAM A             VA         740CL0300003900   THE LAW OFFICES OF PETER T. NICHOLL
CHARITY              LARRY B               VA         700CL0235598H02   THE LAW OFFICES OF PETER T. NICHOLL                  CHOMET               BARBARA               MD         24X03000910       THE LAW OFFICES OF PETER T. NICHOLL
CHARITY              ROGER E               VA         001514            THE LAW OFFICES OF PETER T. NICHOLL                  CHOMET               LAWRENCE R            MD         24X03000910       THE LAW OFFICES OF PETER T. NICHOLL
CHARITY              WAVERLY A             VA         29097EH           THE LAW OFFICES OF PETER T. NICHOLL                  CHRISCOE             BOYD L                MD         01000788          THE LAW OFFICES OF PETER T. NICHOLL
CHARLES              CHERYL                MD         24X03000797       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            CARSON L              VA         740CL0100328600   THE LAW OFFICES OF PETER T. NICHOLL
CHARLES              IAN A                 MD         24X03000797       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            EVELYN                MD         24X05000747       THE LAW OFFICES OF PETER T. NICHOLL
CHARNOCK             HARRY J               VA         29624EH           THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            JAMES A               MD         01000122          THE LAW OFFICES OF PETER T. NICHOLL
CHARRON              ANDRE C               MD         24X12001014       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            JOHN E JR             VA         700CL0028665W01   THE LAW OFFICES OF PETER T. NICHOLL
CHARRON              LAURA N               MD         24X12001014       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            MARGRETTA             MD         01000122          THE LAW OFFICES OF PETER T. NICHOLL
CHASE                ALFRED C              MD         01000265          THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            ROBERT A              VA         CL9927999W01      THE LAW OFFICES OF PETER T. NICHOLL
CHASE                CALVIN R              MD         X01000251         THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            TED W                 VA         740CL0100211200   THE LAW OFFICES OF PETER T. NICHOLL
CHASE                CAROLYN F             MD         24X15000013       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            VERA L                MD         24X03000705       THE LAW OFFICES OF PETER T. NICHOLL
CHASE                CHARLES S             MD         24X05000520       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            WILLIAM A             VA         700CL0437610P03   THE LAW OFFICES OF PETER T. NICHOLL
CHASE                CLARENCE R            MD         24X02001080       THE LAW OFFICES OF PETER T. NICHOLL                  CHRISTIAN            WILLIS                MD         24X05000747       THE LAW OFFICES OF PETER T. NICHOLL
CHASE                WILLIAM V             MD         24X15000013       THE LAW OFFICES OF PETER T. NICHOLL                  CHURCH               LORRAINE L            MD         24X03000899       THE LAW OFFICES OF PETER T. NICHOLL
CHATMAN              NOAH                  VA         700CL0232077V05   THE LAW OFFICES OF PETER T. NICHOLL                  CHURCH               MARLAN A              MD         24X03000899       THE LAW OFFICES OF PETER T. NICHOLL
CHATMAN              RANDOLPH C            MD         X01000498         THE LAW OFFICES OF PETER T. NICHOLL                  CICERO               ANTHONY               MD         24X10000013       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 748
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 83 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

CICERO               PASQUALE              MD         24X10000013       THE LAW OFFICES OF PETER T. NICHOLL                  CLAY                 DORIS                 MD         98317527CX2158    THE LAW OFFICES OF PETER T. NICHOLL
CICERO               THERESA               MD         24X10000013       THE LAW OFFICES OF PETER T. NICHOLL                  CLAY                 EUGENE E              VA         700CL0232090C03   THE LAW OFFICES OF PETER T. NICHOLL
CIHLAR               EDWIN F               MD         24X15000127       THE LAW OFFICES OF PETER T. NICHOLL                  CLAY                 MITCHELL              MD         98317527CX2158    THE LAW OFFICES OF PETER T. NICHOLL
CIHLAR               ELIZABETH R           MD         24X15000127       THE LAW OFFICES OF PETER T. NICHOLL                  CLAYBORNE            ALONZA L              VA         700CL0235795W01   THE LAW OFFICES OF PETER T. NICHOLL
CIRRI                BRENDA M              MD         24X01000385       THE LAW OFFICES OF PETER T. NICHOLL                  CLAYBORNE            CALVIN R              VA         740CL0100222400   THE LAW OFFICES OF PETER T. NICHOLL
CIRRI                JOHN T                MD         24X01000385       THE LAW OFFICES OF PETER T. NICHOLL                  CLAYBORNE            DOLORES A             MD         24X05000469       THE LAW OFFICES OF PETER T. NICHOLL
CLACK                BERNARD A             VA         740CL0200123700   THE LAW OFFICES OF PETER T. NICHOLL                  CLAYBORNE            JOHN H                MD         24X05000469       THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            ADDISON J             VA         30133RC           THE LAW OFFICES OF PETER T. NICHOLL                  CLAYBORNE            MARSHALL              MD         24X02001999       THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            ANDREW G              VA         29950VA           THE LAW OFFICES OF PETER T. NICHOLL                  CLAYBORNE            WILLIAM P             VA         32746VC           THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            DENNIS W              VA         700CL0235899C03   THE LAW OFFICES OF PETER T. NICHOLL                  CLAYTON              ARMSTEAD              VA         30026EH           THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            GEORGE J              VA         740CL0300082300   THE LAW OFFICES OF PETER T. NICHOLL                  CLAYTON              HAYWOOD               VA         30134VC           THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            JOE E                 VA         700CL0437752P03   THE LAW OFFICES OF PETER T. NICHOLL                  CLAYTON              ROBERT L              VA         740CL0300159800   THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            MELVIN                MD         X99000091         THE LAW OFFICES OF PETER T. NICHOLL                  CLEGG                FRANK R               VA         740CL0300030400   THE LAW OFFICES OF PETER T. NICHOLL
CLAIBORNE            ROBERT L              VA         740CL0000206600   THE LAW OFFICES OF PETER T. NICHOLL                  CLEGG                MARGARET              VA         740CL0300030400   THE LAW OFFICES OF PETER T. NICHOLL
CLAIRBORNE           LAWRENCE G            VA         740CL0200127200   THE LAW OFFICES OF PETER T. NICHOLL                  CLEMM                RANDOLPH G            VA         29706EH           THE LAW OFFICES OF PETER T. NICHOLL
CLAMPITT             WILLIAM T             MD         24X12001133       THE LAW OFFICES OF PETER T. NICHOLL                  CLEMMONS             DOUGLAS H             VA         29088RC           THE LAW OFFICES OF PETER T. NICHOLL
CLAPP                HENRY L               VA         700CL0232067V05   THE LAW OFFICES OF PETER T. NICHOLL                  CLEMONS              JAMES A               VA         700CL0235632V05   THE LAW OFFICES OF PETER T. NICHOLL
CLARIDGE             FRANK M               MD         X01000738         THE LAW OFFICES OF PETER T. NICHOLL                  CLEMONS              OLIVER W              MD         24X02001139       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                ALBERT                MD         24X05000092       THE LAW OFFICES OF PETER T. NICHOLL                  CLINGER              CECELIA               MD         24X02000052       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                ANDRE B               MD         24X02001078       THE LAW OFFICES OF PETER T. NICHOLL                  CLINGER              STEVEN L              MD         24X02000052       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                ANITA D               MD         24X05000092       THE LAW OFFICES OF PETER T. NICHOLL                  CLODFELTER           ROBY B                MD         24X14000181       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                BARBARA               MD         24X06000567       THE LAW OFFICES OF PETER T. NICHOLL                  CLOUD                DWIGHT                MD         24X12000508       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                CARRIE                MD         24X05000450       THE LAW OFFICES OF PETER T. NICHOLL                  CLOWNEY              CHARLES               MD         X01001055         THE LAW OFFICES OF PETER T. NICHOLL
CLARK                CARTELLA M            MD         24X05000385       THE LAW OFFICES OF PETER T. NICHOLL                  CLOWNEY              INEZ L                MD         24X02001406       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                CATHERINE             MD         X99000411         THE LAW OFFICES OF PETER T. NICHOLL                  CLOWNEY              ROSE                  MD         X01001055         THE LAW OFFICES OF PETER T. NICHOLL
CLARK                CHARLOTTE B           MD         98177516CX1309    THE LAW OFFICES OF PETER T. NICHOLL                  COAD                 JAMES T               MD         X0100284          THE LAW OFFICES OF PETER T. NICHOLL
CLARK                CLYDE                 VA         28695RW           THE LAW OFFICES OF PETER T. NICHOLL                  COATES               CARL                  MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL
CLARK                DUNCAN                VA         740CL0200090000   THE LAW OFFICES OF PETER T. NICHOLL                  COATES               CARL                  MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                EARL M                VA         700CL0438231P03   THE LAW OFFICES OF PETER T. NICHOLL                  COATES               CARL BERNARD          MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL
CLARK                EDWARD J              MD         24X04000748       THE LAW OFFICES OF PETER T. NICHOLL                  COATES               CARL BERNARD          MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                FRED L                MD         X99000411         THE LAW OFFICES OF PETER T. NICHOLL                  COATES               DEBRA                 MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL
CLARK                GEORGE H              VA         700CL0231938H02   THE LAW OFFICES OF PETER T. NICHOLL                  COATES               DEBRA                 MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                GEORGE S JR           MD         98177516CX1309    THE LAW OFFICES OF PETER T. NICHOLL                  COATES               DORETHA               MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL
CLARK                GLORIA J              MD         24X04000748       THE LAW OFFICES OF PETER T. NICHOLL                  COATES               DORETHA               MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                JAMES C               VA         29628VA           THE LAW OFFICES OF PETER T. NICHOLL                  COATES               HENRY                 MD         24X05000744       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                JAMES M               MD         24X05000385       THE LAW OFFICES OF PETER T. NICHOLL                  COATES               JAMES E               VA         700CL0231855A04   THE LAW OFFICES OF PETER T. NICHOLL
CLARK                JIMMIE F              VA         740CL0200358700   THE LAW OFFICES OF PETER T. NICHOLL                  COATES               JOSEPH E              MD         24X01001989       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                JOHN A                VA         740CL0200014600   THE LAW OFFICES OF PETER T. NICHOLL                  COATES               KENNETH R             VA         740CL0100185300   THE LAW OFFICES OF PETER T. NICHOLL
CLARK                JOHN A                VA         31948EH           THE LAW OFFICES OF PETER T. NICHOLL                  COATES               MARY E                MD         24X05000744       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                JOHNNIE E             VA         700CL0438015T05   THE LAW OFFICES OF PETER T. NICHOLL                  COATES               MAULA                 MD         24X04000375       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                KENNETH L             MD         24X06000567       THE LAW OFFICES OF PETER T. NICHOLL                  COATES               MELVIN J              MD         24X04000375       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                LINWOOD B             MD         98169507CX1244    THE LAW OFFICES OF PETER T. NICHOLL                  COATES               ROBERT L              VA         700CL0438361P03   THE LAW OFFICES OF PETER T. NICHOLL
CLARK                MARGARET              MD         24X08000050       THE LAW OFFICES OF PETER T. NICHOLL                  COATES               ROMAINE               MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL
CLARK                MARY E                MD         24X01001723       THE LAW OFFICES OF PETER T. NICHOLL                  COATES               ROMAINE               MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                MILTON                MD         24X11000196       THE LAW OFFICES OF PETER T. NICHOLL                  COATS                ODELL                 VA         001755            THE LAW OFFICES OF PETER T. NICHOLL
CLARK                RALEIGH D             MD         24X01001718       THE LAW OFFICES OF PETER T. NICHOLL                  COBB                 ELMER R               VA         01418             THE LAW OFFICES OF PETER T. NICHOLL
CLARK                RAY E                 MD         24X08000050       THE LAW OFFICES OF PETER T. NICHOLL                  COBB                 FREDERICK D           VA         700CL0438016P03   THE LAW OFFICES OF PETER T. NICHOLL
CLARK                RONALD                MD         98303517CX2054    THE LAW OFFICES OF PETER T. NICHOLL                  COCKRELL             CLAUDETTA A           MD         24X05000104       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                ROSCOE                MD         24X03000421       THE LAW OFFICES OF PETER T. NICHOLL                  COCKRELL             JESSE                 MD         24X05000104       THE LAW OFFICES OF PETER T. NICHOLL
CLARK                THOMAS A              MD         24X01001723       THE LAW OFFICES OF PETER T. NICHOLL                  COFER                MARTIN O              VA         740CL0200367900   THE LAW OFFICES OF PETER T. NICHOLL
CLARK                WENDELL               VA         700CL0232194H02   THE LAW OFFICES OF PETER T. NICHOLL                  COFFEY               JOHN E                VA         740CL0200313300   THE LAW OFFICES OF PETER T. NICHOLL
CLARKE               ERVIN N               VA         700CL0337452T05   THE LAW OFFICES OF PETER T. NICHOLL                  COFFIELD             THOMAS P              VA         740CL0200088800   THE LAW OFFICES OF PETER T. NICHOLL
CLARKE               KENNETH V             VA         740CL0300241500   THE LAW OFFICES OF PETER T. NICHOLL                  COFFMAN              SHIRLEY M             MD         24X02002016       THE LAW OFFICES OF PETER T. NICHOLL
CLARKE               LEONARD               VA         740CL0000016300   THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              CURTIS H              VA         740CL0300032900   THE LAW OFFICES OF PETER T. NICHOLL
CLARKE               RAYMOND B             VA         700CL0438007W01   THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              DELEATHA A            VA         740CL0200032100   THE LAW OFFICES OF PETER T. NICHOLL
CLARKE               RICHARD               VA         700CL0233211C03   THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              ELLIS T               VA         740CL0200018900   THE LAW OFFICES OF PETER T. NICHOLL
CLARKE               WALTER                VA         002133            THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              GEORGE J              VA         740CL0000017000   THE LAW OFFICES OF PETER T. NICHOLL
CLARKSON             DELORES               MD         X01000191         THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              JAMES E               VA         29114RC           THE LAW OFFICES OF PETER T. NICHOLL
CLARKSON             LOUIS H               MD         X01000191         THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              RODNEY                MD         24X10000473       THE LAW OFFICES OF PETER T. NICHOLL
CLARY                ANGELO J SR           MD         98162510CX1171    THE LAW OFFICES OF PETER T. NICHOLL                  COFIELD              SHELTON L             VA         700CL0539147P03   THE LAW OFFICES OF PETER T. NICHOLL
CLARY                CASPER S              MD         24X06000448       THE LAW OFFICES OF PETER T. NICHOLL                  COLBERT              HOARSELL              MD         24X04000735       THE LAW OFFICES OF PETER T. NICHOLL
CLARY                DENISE                MD         98162510CX1171    THE LAW OFFICES OF PETER T. NICHOLL                  COLBERT              PATRICIA              MD         24X04000735       THE LAW OFFICES OF PETER T. NICHOLL
CLARY                EARL W                VA         740CL0100123600   THE LAW OFFICES OF PETER T. NICHOLL                  COLBY                RONALD D              VA         740CL0200312700   THE LAW OFFICES OF PETER T. NICHOLL
CLARY                EMMA J                MD         24X11000279       THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 CAROLYN H             VA         700CL0538929H02   THE LAW OFFICES OF PETER T. NICHOLL
CLARY                MARY                  MD         24X06000448       THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 CAROLYN J             MD         24X08000235       THE LAW OFFICES OF PETER T. NICHOLL
CLARY                WILSON                VA         740CL0200087100   THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 DEBORAH               MD         X01000253         THE LAW OFFICES OF PETER T. NICHOLL
CLASING              BERNARD               MD         24X06000537       THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 EVELYN                MD         98226507CX1603    THE LAW OFFICES OF PETER T. NICHOLL
CLASING              BERNARD F             MD         98302507CX2031    THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 HARRY                 MD         X01000253         THE LAW OFFICES OF PETER T. NICHOLL
CLASING              GEORGIA E             MD         24X06000537       THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 IRVIN J               MD         98226507CX1603    THE LAW OFFICES OF PETER T. NICHOLL
CLASING              GEORGIA E             MD         98302507CX2031    THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 RICHARD H             MD         24X08000235       THE LAW OFFICES OF PETER T. NICHOLL
CLAUD                ROLAND E              VA         740CL0300159700   THE LAW OFFICES OF PETER T. NICHOLL                  COLE                 WILLIAM E             VA         740CL0100121600   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 749
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 84 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

COLE                 WILLIAM E             VA         700CL0538929H02   THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              PATRICIA              MD         24X01001432       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              ALLIE M               MD         24X05000448       THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              PERRY D               VA         29056VA           THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              ANDERSON              MD         24X02000793       THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              ROBERT                MD         24X05000010       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              ANNA MAE              MD         98309501CX2061    THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              RUBY L                MD         24X05000010       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              ASZLEE                MD         24X15000117       THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              THOMAS R              MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              CAROLYN L             MD         24X05000505       THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              THOMAS R              MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              DOLORES T             MD         24X01001945       THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              THOMAS T C            MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              DORIS                 MD         24X05000829       THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              THOMAS T C            MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              DORIS                 MD         X01000235         THE LAW OFFICES OF PETER T. NICHOLL                  COLLINS              WALTER S              MD         24X01001432       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              GEORGE                MD         97031504          THE LAW OFFICES OF PETER T. NICHOLL                  COLLISON             BETTY                 MD         24X03000338       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              GEORGE                MD         24X05000829       THE LAW OFFICES OF PETER T. NICHOLL                  COLLISON             BRYAN M               MD         24X03000338       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              GEORGE A              MD         X01000235         THE LAW OFFICES OF PETER T. NICHOLL                  COLON                MYONG                 MD         01000272          THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              GEORGE T              VA         740CL0200035900   THE LAW OFFICES OF PETER T. NICHOLL                  COLON                THOMAS J              MD         01000272          THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              GLENDA                MD         24X02001724       THE LAW OFFICES OF PETER T. NICHOLL                  COMBS                ARCHIE                MD         24X06000267       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              HAROLD L              MD         24X04000882       THE LAW OFFICES OF PETER T. NICHOLL                  COMBS                CLARENCE C            MD         24X01001442       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              HAVANA                MD         24X11000254       THE LAW OFFICES OF PETER T. NICHOLL                  COMBS                CLYDE                 VA         740CL0300160100   THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              ISREL V               MD         24X03000444       THE LAW OFFICES OF PETER T. NICHOLL                  COMBS                NORMAN R              VA         740CL0100194200   THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              JAMES                 MD         X010001002        THE LAW OFFICES OF PETER T. NICHOLL                  COMBS                PEGGY                 MD         24X01001442       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              JOHN R                VA         740CL0200069000   THE LAW OFFICES OF PETER T. NICHOLL                  COMEAU               ROBERT J              MD         98260502CX1720    THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              JOHNNIE JR            MD         98296509CX1987    THE LAW OFFICES OF PETER T. NICHOLL                  COMEGYS              ROBERT L              MD         24X10000096       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              JOHNNY S              MD         24X01001429       THE LAW OFFICES OF PETER T. NICHOLL                  COMER                ELLE                  MD         24X01001027       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              KATHERINE             MD         24X02000793       THE LAW OFFICES OF PETER T. NICHOLL                  COMER                RANDELL L             MD         24X01001027       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              LAURARETTA            MD         24X04000882       THE LAW OFFICES OF PETER T. NICHOLL                  CONAWAY              GEORGE H              MD         24X03000790       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              LEROY                 VA         29115RW           THE LAW OFFICES OF PETER T. NICHOLL                  CONAWAY              MARGARET E            MD         X00000903         THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              LESLIE                VA         0028978W01        THE LAW OFFICES OF PETER T. NICHOLL                  CONLEY               HILLARD               VA         740CL0100202700   THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              LUVENIA D             MD         24X11000254       THE LAW OFFICES OF PETER T. NICHOLL                  CONNELL              WILLIAM B             MD         24X02002362       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              NADINE                MD         24X01001429       THE LAW OFFICES OF PETER T. NICHOLL                  CONNELLY             DARLENE C             MD         24X10000495       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              RONALD W              MD         24X01001945       THE LAW OFFICES OF PETER T. NICHOLL                  CONNELLY             DONALD R              VA         740CL0200127300   THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              VERLEAN               MD         97031504          THE LAW OFFICES OF PETER T. NICHOLL                  CONNELLY             JOHN G                MD         24X10000495       THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              VERNOY M              MD         24X01001176       THE LAW OFFICES OF PETER T. NICHOLL                  CONNELLY             LOIS J                MD         98402443          THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              WALTER                MD         98309501CX2061    THE LAW OFFICES OF PETER T. NICHOLL                  CONNELLY             ROBERT E              MD         98402443          THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              WILLIE E              VA         29055RC           THE LAW OFFICES OF PETER T. NICHOLL                  CONNER               CLINTON H             VA         740CL0200069100   THE LAW OFFICES OF PETER T. NICHOLL
COLEMAN              XAVIER O              MD         24X02001724       THE LAW OFFICES OF PETER T. NICHOLL                  CONNER               RANDOLPH F            VA         740CL0100214000   THE LAW OFFICES OF PETER T. NICHOLL
COLES                CABELL H              MD         98183514CX1341    THE LAW OFFICES OF PETER T. NICHOLL                  CONNER               STANLEY F             VA         740CL0300101100   THE LAW OFFICES OF PETER T. NICHOLL
COLES                CYNTHIA               MD         24X99002095       THE LAW OFFICES OF PETER T. NICHOLL                  CONNOR               MACK                  MD         98268504CX1805    THE LAW OFFICES OF PETER T. NICHOLL
COLES                JAMES A               VA         740CL0100201400   THE LAW OFFICES OF PETER T. NICHOLL                  CONNOR               RHODA                 MD         24X12000859       THE LAW OFFICES OF PETER T. NICHOLL
COLES                JAMES E               MD         24X99002095       THE LAW OFFICES OF PETER T. NICHOLL                  CONNOR               RICHARD E             VA         74CL0200042900    THE LAW OFFICES OF PETER T. NICHOLL
COLES                LEE A                 VA         002642            THE LAW OFFICES OF PETER T. NICHOLL                  CONNORS              BARTLEY P             MD         24X03000709       THE LAW OFFICES OF PETER T. NICHOLL
COLES                MARY G                MD         98183514CX1341    THE LAW OFFICES OF PETER T. NICHOLL                  CONNORS              DONALD                MD         24X08000491       THE LAW OFFICES OF PETER T. NICHOLL
COLES                THOMAS E              MD         24X04000694       THE LAW OFFICES OF PETER T. NICHOLL                  CONNORS              MARGRET A             MD         24X03000709       THE LAW OFFICES OF PETER T. NICHOLL
COLLIC               EDWARD H              MD         24X02001400       THE LAW OFFICES OF PETER T. NICHOLL                  CONNORS              ROSALIE               MD         24X08000491       THE LAW OFFICES OF PETER T. NICHOLL
COLLIC               ETHEL                 MD         24X02001400       THE LAW OFFICES OF PETER T. NICHOLL                  CONRAD               DORA M                MD         98260501CX1719    THE LAW OFFICES OF PETER T. NICHOLL
COLLIER              CECIL J               VA         700CL0232091W01   THE LAW OFFICES OF PETER T. NICHOLL                  CONTEE               ANDREW S              MD         X01000972         THE LAW OFFICES OF PETER T. NICHOLL
COLLIER              DEBORAH               MD         24X01001348       THE LAW OFFICES OF PETER T. NICHOLL                  CONWAY               CHARLES L             MD         X00000903         THE LAW OFFICES OF PETER T. NICHOLL
COLLIER              VERA B                MD         24X06000660       THE LAW OFFICES OF PETER T. NICHOLL                  CONWAY               OTIS                  MD         98133509CX916     THE LAW OFFICES OF PETER T. NICHOLL
COLLIER              WILLIAM W             MD         24X01001348       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 ALPHONSO MACEO        MD         24X03000696       THE LAW OFFICES OF PETER T. NICHOLL
COLLIGAN             JAMES W               VA         700CL0437996P03   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 CHARLES N             VA         740CL0100214100   THE LAW OFFICES OF PETER T. NICHOLL
COLLIGAN             WILLIAM R             VA         740CL0300159900   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 DAVID A               MD         24X02000724       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              BARBARA               MD         24X02002422       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 DONALD                MD         24X03000696       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              BENJAMIN              VA         700CL0235900W01   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 DONNA                 MD         24X01001214       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              CLEVELAND F           MD         24X02002422       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 DOROTHY               MD         24X09000060       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              EDGAR M               VA         740CL0200192500   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 EZEKIEL C             VA         700CL0235919C03   THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              EDWARD L              MD         24X01000897       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 GILBERT L             MD         98219501CX1540    THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              FREDERIC              MD         24X04000112       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 HERBERT L             VA         700CL0232092V05   THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JAMES                 MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 IRENE                 MD         98275511CX1862    THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JAMES                 MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 JAMES D               MD         98275511CX1862    THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JAMES A               VA         740CL0300241600   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 JAMES N               VA         700CL0437905T05   THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JAMES D               VA         CL9927983V05      THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 JOHANNA T             MD         98302505CX2029    THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JEROME C              MD         24X01001175       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 JOHN P                MD         24X03000347       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JESSIE                MD         24X01001175       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 JOHNNY L              VA         0028976V05        THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JOHN J                VA         700CL0232222V05   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 JULIA A               MD         24X02001502       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JUDITH                MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 KENNETH               MD         24X03000696       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JUDITH                MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 KENNETH A             VA         001292            THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JUDY                  MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 KENNETH V             MD         24X13000415       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JUDY                  MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 LARRY                 MD         24X03000696       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JUSTIN                MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 NATHAN W              MD         24X02002089       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              JUSTIN                MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 NORMAN F              MD         24X02001502       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              LEVI T                VA         740CL0300111200   THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 NOWELL C              MD         X01000740         THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              MICHAEL               MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 PATRICIA              MD         24X03000347       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              MICHAEL               MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 RANDALL F             MD         24X01001214       THE LAW OFFICES OF PETER T. NICHOLL
COLLINS              MICHELLE              MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL                  COOK                 THOMAS G              VA         740CL0300241700   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 750
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 85 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

COOK                 VIRGINIA S            MD         98267506CX1795    THE LAW OFFICES OF PETER T. NICHOLL                  CORKRAN              MICHAEL F             MD         98303504CX2041    THE LAW OFFICES OF PETER T. NICHOLL
COOK                 WILLIAM R             MD         98289501CX1913    THE LAW OFFICES OF PETER T. NICHOLL                  CORLEY               ANNIE R               MD         24X06000562       THE LAW OFFICES OF PETER T. NICHOLL
COOK                 WILLIE                VA         740CL0100194300   THE LAW OFFICES OF PETER T. NICHOLL                  CORLEY               JAMES B               MD         24X06000562       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                BERNARD E             VA         740CL0200037100   THE LAW OFFICES OF PETER T. NICHOLL                  CORNELL              FREDERICK A           MD         24X14000100       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                BRUCE E               VA         740CL0300031900   THE LAW OFFICES OF PETER T. NICHOLL                  CORNISH              ALLEN T               MD         24X14000499       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                CEAPHAS J             VA         700CL0235633H02   THE LAW OFFICES OF PETER T. NICHOLL                  CORNISH              CORNELIUS W           MD         24X01001072       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                DENISE LEE            MD         98329566CX2291    THE LAW OFFICES OF PETER T. NICHOLL                  CORNISH              DENNIS W              MD         98329569CX2294    THE LAW OFFICES OF PETER T. NICHOLL
COOKE                GARTH D               VA         740CL0200037200   THE LAW OFFICES OF PETER T. NICHOLL                  CORNISH              EVELYN                MD         24X14000500       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                HERMAN R              VA         740CL0200117300   THE LAW OFFICES OF PETER T. NICHOLL                  CORNISH              REGINA                MD         24X01001072       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                JOHN W                MD         98329566CX2291    THE LAW OFFICES OF PETER T. NICHOLL                  CORNISH              WAYNE M               MD         X98402465         THE LAW OFFICES OF PETER T. NICHOLL
COOKE                RONALD L              VA         740CL0300241800   THE LAW OFFICES OF PETER T. NICHOLL                  CORSA                PHYLLIS               MD         24X97330503       THE LAW OFFICES OF PETER T. NICHOLL
COOKE                TIMOTHY L             VA         740CL0200368300   THE LAW OFFICES OF PETER T. NICHOLL                  COSBY                BERNARD               MD         24X16000317       THE LAW OFFICES OF PETER T. NICHOLL
COOLEY               MAMIE                 MD         24X03000563       THE LAW OFFICES OF PETER T. NICHOLL                  COSBY                MICHAEL J             VA         740CL0200087200   THE LAW OFFICES OF PETER T. NICHOLL
COOLEY               SAMUEL E              MD         24X03000563       THE LAW OFFICES OF PETER T. NICHOLL                  COSGROVE             ROBERT W              MD         24X16000526       THE LAW OFFICES OF PETER T. NICHOLL
COOLEY               VALORIE M             MD         24X12000907       THE LAW OFFICES OF PETER T. NICHOLL                  COSNER               ROBERT A              MD         24X11000185       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               ANTHONY J             MD         24X14000333       THE LAW OFFICES OF PETER T. NICHOLL                  COSOM                CLEVELAND G           MD         24X02001593       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               BARBARA               MD         24X04000763       THE LAW OFFICES OF PETER T. NICHOLL                  COSSENTINO           WILLIAM C             MD         24X02001817       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               DAVID L               VA         011139            THE LAW OFFICES OF PETER T. NICHOLL                  COSTANZA             CARLO                 MD         24X02002013       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               DWIGHT W              VA         700CL0233176C03   THE LAW OFFICES OF PETER T. NICHOLL                  COSTELLO             RICHARD H             MD         X01000850         THE LAW OFFICES OF PETER T. NICHOLL
COOPER               EMORY CLAYTON         MD         24X10000132       THE LAW OFFICES OF PETER T. NICHOLL                  COSTELLO             URSULA                MD         X01000850         THE LAW OFFICES OF PETER T. NICHOLL
COOPER               EVERETT B             MD         24X03000468       THE LAW OFFICES OF PETER T. NICHOLL                  COSTON               JAMES E SR            VA         700CL0028516A04   THE LAW OFFICES OF PETER T. NICHOLL
COOPER               FELTON                VA         740CL0200368500   THE LAW OFFICES OF PETER T. NICHOLL                  COTTEMOND            CLOYD D               VA         740CL0100222500   THE LAW OFFICES OF PETER T. NICHOLL
COOPER               FRANKIE L             VA         700CL0539131T01   THE LAW OFFICES OF PETER T. NICHOLL                  COTTEN               ANN                   MD         24X01001541       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               HERMAN O              MD         24X04000763       THE LAW OFFICES OF PETER T. NICHOLL                  COTTEN               JUNIOUS M             MD         24X01001541       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               JAMES A               VA         740CL0200368600   THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               CHARLES R             MD         98086513CX638     THE LAW OFFICES OF PETER T. NICHOLL
COOPER               JAMES E               VA         700CL9927991C03   THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               ELBERT                VA         700CL0232195C03   THE LAW OFFICES OF PETER T. NICHOLL
COOPER               JOHN W                VA         700CL0028200H02   THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               IRENE A               MD         98086513CX638     THE LAW OFFICES OF PETER T. NICHOLL
COOPER               LENARD                MD         24X03000468       THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               ISAIAH                MD         24X07000247       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               MARY ANN              MD         24X01000847       THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               JAMES P               VA         740CL0100195900   THE LAW OFFICES OF PETER T. NICHOLL
COOPER               MELVIN                MD         24X03000040       THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               JOSEPH C              VA         0028184VA         THE LAW OFFICES OF PETER T. NICHOLL
COOPER               PEARSON               VA         740CL0000202400   THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               LEMUEL E              VA         0028913C03        THE LAW OFFICES OF PETER T. NICHOLL
COOPER               PERCY J               VA         700CL0232473C03   THE LAW OFFICES OF PETER T. NICHOLL                  COTTON               LOUVENIA              MD         24X07000247       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               RACHEL                MD         98170511CX1267    THE LAW OFFICES OF PETER T. NICHOLL                  COTTRELL             SHERMAN L             MD         98133511CX918     THE LAW OFFICES OF PETER T. NICHOLL
COOPER               REUBEN N              VA         29044RW           THE LAW OFFICES OF PETER T. NICHOLL                  COUNCIL              JAMES                 MD         24X01001662       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               ROBERT L              MD         99000457          THE LAW OFFICES OF PETER T. NICHOLL                  COUNCIL              JULIUS L              VA         740CL0300123000   THE LAW OFFICES OF PETER T. NICHOLL
COOPER               SYLVESTER             VA         740CL0100311500   THE LAW OFFICES OF PETER T. NICHOLL                  COUNCILL             JANET C               MD         24X05000467       THE LAW OFFICES OF PETER T. NICHOLL
COOPER               VANDHALIA             VA         740CL9900166100   THE LAW OFFICES OF PETER T. NICHOLL                  COUNCILL             NORMAN K              MD         24X05000467       THE LAW OFFICES OF PETER T. NICHOLL
COOPER SR            GLENN                 MD         98170511CX1267    THE LAW OFFICES OF PETER T. NICHOLL                  COUNCILL             RUDOLPH               VA         740CL0100158500   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             ALLEN M               VA         740CL0300198700   THE LAW OFFICES OF PETER T. NICHOLL                  COUNTRYMAN           RUSSELL T             VA         740CL0100163800   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             BRUCE M               VA         700CL0231856H02   THE LAW OFFICES OF PETER T. NICHOLL                  COUPLIN              ERNEST                MD         24X06000114       THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             ERVIN                 VA         011140            THE LAW OFFICES OF PETER T. NICHOLL                  COUPLIN              PATRICIA J            MD         24X06000114       THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             GEORGE A              VA         740CL0100321600   THE LAW OFFICES OF PETER T. NICHOLL                  COUSIN               ELAINE                MD         24X01001404       THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             INGRID                MD         24X08000461       THE LAW OFFICES OF PETER T. NICHOLL                  COUSIN               JOSHUA C              MD         24X01001404       THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             JOE E                 VA         700CL0233177W01   THE LAW OFFICES OF PETER T. NICHOLL                  COVINGTON            HELENE N              MD         24X04000991       THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             JOE L                 VA         001778            THE LAW OFFICES OF PETER T. NICHOLL                  COVINGTON            JAMES A               VA         740CL0300160300   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             LEON                  VA         740CL0300082400   THE LAW OFFICES OF PETER T. NICHOLL                  COVINGTON            LARRY                 MD         98246503CX1676    THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             LINDA LOU             MD         24X08000461       THE LAW OFFICES OF PETER T. NICHOLL                  COVINGTON            LESLIE                VA         740CL0100174000   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             MARVIN                VA         740CL0100194400   THE LAW OFFICES OF PETER T. NICHOLL                  COVINGTON            MORRIS L              MD         24X04000991       THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             NELSON T              VA         700CL0539562P03   THE LAW OFFICES OF PETER T. NICHOLL                  COVINGTON            WILBUR T              VA         740CL0100119200   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             PETER F               MD         24X08000461       THE LAW OFFICES OF PETER T. NICHOLL                  COWAN                EDWARD J              VA         700CL0028882H02   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             RAYMOND J             VA         740CL0200127400   THE LAW OFFICES OF PETER T. NICHOLL                  COWAN                JAMES M               VA         700CL0438037W01   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             RAYMOND L             VA         28696VA           THE LAW OFFICES OF PETER T. NICHOLL                  COWAN                UVONE                 VA         700CL0235842H02   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             ROBERT L SR           VA         28020VA           THE LAW OFFICES OF PETER T. NICHOLL                  COWARD               CARROL L              VA         740CL0100211300   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             ROLAND                VA         740CL0300242600   THE LAW OFFICES OF PETER T. NICHOLL                  COWARD               OTIS M                VA         740CL0100321700   THE LAW OFFICES OF PETER T. NICHOLL
COPELAND             WILLIAM H             VA         740CL0300242700   THE LAW OFFICES OF PETER T. NICHOLL                  COWARD               SAMPSON G             MD         24X04000765       THE LAW OFFICES OF PETER T. NICHOLL
COPPEDGE             EDWARD                VA         700CL0232737H02   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  ALFREDA               MD         24X15000220       THE LAW OFFICES OF PETER T. NICHOLL
COPPEDGE             GEORGE E              VA         740CL0000018100   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  ALFREDA               MD         24X02002706       THE LAW OFFICES OF PETER T. NICHOLL
COPPEDGE             OSCAR                 VA         29033EH           THE LAW OFFICES OF PETER T. NICHOLL                  COX                  ANN                   MD         24X10000204       THE LAW OFFICES OF PETER T. NICHOLL
COPPEDGE             RAYMOND H             VA         74CL0200042800    THE LAW OFFICES OF PETER T. NICHOLL                  COX                  CHARLES S JR          MD         24X15000237       THE LAW OFFICES OF PETER T. NICHOLL
COPPEDGE             VERNON                VA         700CL0232218A04   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  DEBORAH               MD         24X01001794       THE LAW OFFICES OF PETER T. NICHOLL
CORBIN               CHARLES E             VA         700CL0233190A04   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  DONALD                MD         24X02001982       THE LAW OFFICES OF PETER T. NICHOLL
CORBIN               FRANK E               MD         24X05000080       THE LAW OFFICES OF PETER T. NICHOLL                  COX                  GENE H                VA         700CL0233160A04   THE LAW OFFICES OF PETER T. NICHOLL
CORBIN               HOLLIS H              VA         011152            THE LAW OFFICES OF PETER T. NICHOLL                  COX                  HAROLD                MD         24X04000013       THE LAW OFFICES OF PETER T. NICHOLL
CORBIN               LOUIS L               VA         740CL0200369000   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  JAMES H               VA         740CL0300027000   THE LAW OFFICES OF PETER T. NICHOLL
CORBIN               RALPHINE              MD         24X05000080       THE LAW OFFICES OF PETER T. NICHOLL                  COX                  JEFFREY S             MD         24X01001329       THE LAW OFFICES OF PETER T. NICHOLL
CORBITT              SALMON J              VA         740CL0300160200   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  JENNIFER              MD         24X15000237       THE LAW OFFICES OF PETER T. NICHOLL
COREY                DALLAS L              VA         011141            THE LAW OFFICES OF PETER T. NICHOLL                  COX                  MELVENIA              MD         24X04000013       THE LAW OFFICES OF PETER T. NICHOLL
COREY                HAROLD R              VA         700CL0235634A04   THE LAW OFFICES OF PETER T. NICHOLL                  COX                  NORMAN                MD         24X01001340       THE LAW OFFICES OF PETER T. NICHOLL
COREY                KEITH L               MD         24X05000912       THE LAW OFFICES OF PETER T. NICHOLL                  COX                  PATRICE               MD         24X01001329       THE LAW OFFICES OF PETER T. NICHOLL
COREY                ROBERTA L             MD         24X05000912       THE LAW OFFICES OF PETER T. NICHOLL                  COX                  PERCY                 MD         24X03001053       THE LAW OFFICES OF PETER T. NICHOLL
CORKRAN              DARIA M               MD         98303504CX2041    THE LAW OFFICES OF PETER T. NICHOLL                  COX                  ROBERT E              MD         24X01001794       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 751
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 86 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

COX                  RONALD                MD         24X11000304       THE LAW OFFICES OF PETER T. NICHOLL                  CROSBY               JOE L                 MD         24X05000097       THE LAW OFFICES OF PETER T. NICHOLL
COX                  THEODORE R            VA         700CL0232219H02   THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                ALFRED M              VA         29257EH           THE LAW OFFICES OF PETER T. NICHOLL
COX                  WANDA                 MD         24X01001340       THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                ALONZA R              VA         740CL0100158600   THE LAW OFFICES OF PETER T. NICHOLL
COX                  WILLIAM               VA         001486            THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                AMON L                VA         740CL0200047000   THE LAW OFFICES OF PETER T. NICHOLL
COX                  WILLIAM E SR          MD         98254518CX1718    THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                JAMES E               VA         102700            THE LAW OFFICES OF PETER T. NICHOLL
COYLE                GIBSON                MD         98338567CX2391    THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                LESTER D              VA         740CL0100211400   THE LAW OFFICES OF PETER T. NICHOLL
COZART               ANNIE M               MD         98162512CX1173    THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                NATHAN N              VA         740CL0200371300   THE LAW OFFICES OF PETER T. NICHOLL
COZART               WALLACE L             MD         98162512CX1173    THE LAW OFFICES OF PETER T. NICHOLL                  CROSS                VERNON                VA         740CL0100185400   THE LAW OFFICES OF PETER T. NICHOLL
CRABTREE             GLEN                  VA         700CL0235811V05   THE LAW OFFICES OF PETER T. NICHOLL                  CROTTS               DOUGLAS W             VA         740CL0200127500   THE LAW OFFICES OF PETER T. NICHOLL
CRAFT                JAMES E               VA         001756            THE LAW OFFICES OF PETER T. NICHOLL                  CROUSE               ARTHUR E              VA         700CL0232474W01   THE LAW OFFICES OF PETER T. NICHOLL
CRAFT                JIM                   VA         740CL0200193700   THE LAW OFFICES OF PETER T. NICHOLL                  CROUSE               HELEN C               MD         24X03000707       THE LAW OFFICES OF PETER T. NICHOLL
CRAFT                JOHNNY R              VA         31857RC           THE LAW OFFICES OF PETER T. NICHOLL                  CROUSE               IRVIN                 MD         24X03000707       THE LAW OFFICES OF PETER T. NICHOLL
CRAIG                GARY W                MD         24X16000190       THE LAW OFFICES OF PETER T. NICHOLL                  CROWE                DAVID J               MD         98302504CX2028    THE LAW OFFICES OF PETER T. NICHOLL
CRAIG                VERONICA A            MD         24X16000190       THE LAW OFFICES OF PETER T. NICHOLL                  CROWE                DAVID J               MD         24X09000169       THE LAW OFFICES OF PETER T. NICHOLL
CRANDELL             ROBERT D              MD         X99000079         THE LAW OFFICES OF PETER T. NICHOLL                  CROWE                NICHOLAS              MD         24X09000169       THE LAW OFFICES OF PETER T. NICHOLL
CRANDELL             WILLIE J              VA         700CL0437732P03   THE LAW OFFICES OF PETER T. NICHOLL                  CROWE                SONYA B               MD         24X09000169       THE LAW OFFICES OF PETER T. NICHOLL
CRAVENS              FAITH M               MD         24X10000012       THE LAW OFFICES OF PETER T. NICHOLL                  CROWELL              FLETCHER              VA         740CL0300015000   THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             BOBBY L               MD         24X05000519       THE LAW OFFICES OF PETER T. NICHOLL                  CROWELL              LINWOOD A             VA         011206            THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             EVELYN                MD         24X05000519       THE LAW OFFICES OF PETER T. NICHOLL                  CROWELL              RICHARD L             VA         700CL0232094H02   THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             HENRY S               MD         24X02000300       THE LAW OFFICES OF PETER T. NICHOLL                  CROWL                MINA B                MD         24X06000381       THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             HORACE N              VA         740CL0200128700   THE LAW OFFICES OF PETER T. NICHOLL                  CRSIT                SHARON                MD         01000150          THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             JOHN R                MD         24X06000436       THE LAW OFFICES OF PETER T. NICHOLL                  CRUDUP               ELLA M                MD         24X05000434       THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             MARIE                 MD         24X02000300       THE LAW OFFICES OF PETER T. NICHOLL                  CRUMP                DENNIS M              VA         700CL0539405H02   THE LAW OFFICES OF PETER T. NICHOLL
CRAWFORD             SHIRLEY               MD         24X06000436       THE LAW OFFICES OF PETER T. NICHOLL                  CRUMP                THOMAS E              VA         740CL0300111300   THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              CORA                  MD         24X01000890       THE LAW OFFICES OF PETER T. NICHOLL                  CRUMPLER             BOBBY G               VA         740CL0300246000   THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              CURTIS K              MD         24X01000890       THE LAW OFFICES OF PETER T. NICHOLL                  CRUMPLER             MINNIE G              VA         29380VA           THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              GARLAND R             VA         740CL0300027400   THE LAW OFFICES OF PETER T. NICHOLL                  CRUMPLER             VERNON L              VA         740CL0300082500   THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              LEON L                VA         740CL0200046900   THE LAW OFFICES OF PETER T. NICHOLL                  CRUMPLER JR          VERNON L              VA         740CL0300082500   THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              ROBERT E              VA         740CL0300014900   THE LAW OFFICES OF PETER T. NICHOLL                  CRUSH                LUANA L               MD         24X120001041      THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              ROOSEVELT E           VA         29057VC           THE LAW OFFICES OF PETER T. NICHOLL                  CRUSH                ROBERT G              MD         24X120001041      THE LAW OFFICES OF PETER T. NICHOLL
CRAWLEY              RUSSELL L             VA         740CV0100324600   THE LAW OFFICES OF PETER T. NICHOLL                  CRUSSE               PATRICIA              MD         24X04000032       THE LAW OFFICES OF PETER T. NICHOLL
CREDLE               DONALD K              VA         740CL9900195400   THE LAW OFFICES OF PETER T. NICHOLL                  CRUSSE               THOMAS J              MD         X01000280         THE LAW OFFICES OF PETER T. NICHOLL
CREDLE               LILLIE                MD         24X02000159       THE LAW OFFICES OF PETER T. NICHOLL                  CRUSSE               WILLIAM F             MD         24X04000032       THE LAW OFFICES OF PETER T. NICHOLL
CREDLE               LILLIE                VA         700CL0231824V05   THE LAW OFFICES OF PETER T. NICHOLL                  CRUTCHFIELD          BEULAH B              VA         700CL0538930V04   THE LAW OFFICES OF PETER T. NICHOLL
CREDLE               MICHAEL S             VA         740CL0100222600   THE LAW OFFICES OF PETER T. NICHOLL                  CRUTCHFIELD          JOHN W                VA         740CL0000017200   THE LAW OFFICES OF PETER T. NICHOLL
CREDLE               RALPH                 MD         24X02000159       THE LAW OFFICES OF PETER T. NICHOLL                  CRUTCHFIELD          JOHN W                VA         700CL0538930V04   THE LAW OFFICES OF PETER T. NICHOLL
CREDLE               RALPH                 VA         700CL0231824V05   THE LAW OFFICES OF PETER T. NICHOLL                  CRUTCHFIELD          STERLING L SR         VA         700CL0028669C03   THE LAW OFFICES OF PETER T. NICHOLL
CREEF                DOSS W                VA         700CL0437906P03   THE LAW OFFICES OF PETER T. NICHOLL                  CRUTE                CHARLIE D             VA         740CL0300099100   THE LAW OFFICES OF PETER T. NICHOLL
CREEK                MARSHA E              MD         24X13000086       THE LAW OFFICES OF PETER T. NICHOLL                  CRUZ                 CORNELIUS R           VA         29734RW           THE LAW OFFICES OF PETER T. NICHOLL
CREEL                ARTHUR R              MD         24X02001063       THE LAW OFFICES OF PETER T. NICHOLL                  CUCCHIELLA           PASQUALE              MD         24X02000886       THE LAW OFFICES OF PETER T. NICHOLL
CREHAN               DANIEL P              VA         740CL0300245900   THE LAW OFFICES OF PETER T. NICHOLL                  CUDDY                JACKIE F              VA         740CL0500086500   THE LAW OFFICES OF PETER T. NICHOLL
CRENSHAW             DAVID C               MD         98282506CX1888    THE LAW OFFICES OF PETER T. NICHOLL                  CUE                  DAVID E               VA         700CL0438822J05   THE LAW OFFICES OF PETER T. NICHOLL
CREWE                ROBERT A              VA         001508            THE LAW OFFICES OF PETER T. NICHOLL                  CUFFIA               ALLEN W               MD         24X11000443       THE LAW OFFICES OF PETER T. NICHOLL
CREWS                DAVID H               VA         700CL0232093A04   THE LAW OFFICES OF PETER T. NICHOLL                  CUFFIA               LAURA                 MD         24X11000443       THE LAW OFFICES OF PETER T. NICHOLL
CREWS                HELEN                 MD         24X07000232       THE LAW OFFICES OF PETER T. NICHOLL                  CUFFIE               JOSEPH                MD         X01000987         THE LAW OFFICES OF PETER T. NICHOLL
CREWS                MILTON R              MD         24X07000232       THE LAW OFFICES OF PETER T. NICHOLL                  CUFFIE               LOUISE                MD         X01000987         THE LAW OFFICES OF PETER T. NICHOLL
CRIGGER              JOHN L                VA         700CL0438814P03   THE LAW OFFICES OF PETER T. NICHOLL                  CUFFLEY              ESPERANZA             MD         24X09000214       THE LAW OFFICES OF PETER T. NICHOLL
CRISPENS             ROBIN                 MD         24X15000083       THE LAW OFFICES OF PETER T. NICHOLL                  CUFFLEY              PATRICK G             MD         24X09000214       THE LAW OFFICES OF PETER T. NICHOLL
CRIST                WAYNE C               MD         01000150          THE LAW OFFICES OF PETER T. NICHOLL                  CULBERTSON           ROBERTA               MD         24X03000710       THE LAW OFFICES OF PETER T. NICHOLL
CRITES               DONALD R              MD         24X02001995       THE LAW OFFICES OF PETER T. NICHOLL                  CULBERTSON           WADE A                MD         24X03000710       THE LAW OFFICES OF PETER T. NICHOLL
CRITES               MARGIE                MD         24X02001995       THE LAW OFFICES OF PETER T. NICHOLL                  CULLUM               WALTER                MD         24X11000064       THE LAW OFFICES OF PETER T. NICHOLL
CRITES               WILLIAM L             MD         24X11000372       THE LAW OFFICES OF PETER T. NICHOLL                  CULVER               ALFRED W              MD         24X03000039       THE LAW OFFICES OF PETER T. NICHOLL
CRITTENDON           GARNETT O             VA         740CL0100160300   THE LAW OFFICES OF PETER T. NICHOLL                  CULVER               DORIS                 MD         24X03000039       THE LAW OFFICES OF PETER T. NICHOLL
CRITZER              FRANK E               VA         700CL0337324H02   THE LAW OFFICES OF PETER T. NICHOLL                  CUMBO                DWIGHT D              VA         740CL0300246100   THE LAW OFFICES OF PETER T. NICHOLL
CROAKER              GEORGE A              VA         740CL0200088900   THE LAW OFFICES OF PETER T. NICHOLL                  CUMMINGS             ERNEST L              VA         740CL0100325700   THE LAW OFFICES OF PETER T. NICHOLL
CROCKER              ALEX                  VA         28558EH           THE LAW OFFICES OF PETER T. NICHOLL                  CUNNINGHAM           GEORGE N              MD         X01001150         THE LAW OFFICES OF PETER T. NICHOLL
CROCKER              BILLY D               MD         24X02002711       THE LAW OFFICES OF PETER T. NICHOLL                  CURBEAM              GREEN B               MD         24X02000046       THE LAW OFFICES OF PETER T. NICHOLL
CROCKER              CHARLES E             VA         094800            THE LAW OFFICES OF PETER T. NICHOLL                  CURBEAM              ROBERT L              MD         99001431          THE LAW OFFICES OF PETER T. NICHOLL
CROCKER              LINWOOD J             VA         740CL0100112500   THE LAW OFFICES OF PETER T. NICHOLL                  CURBEAM              SANDRA V              MD         24X01002052       THE LAW OFFICES OF PETER T. NICHOLL
CROCKER              ROBERT L              VA         001189            THE LAW OFFICES OF PETER T. NICHOLL                  CURBEAM              WILLIE M              MD         24X01002052       THE LAW OFFICES OF PETER T. NICHOLL
CROCKER              UERITTA               MD         24X02002711       THE LAW OFFICES OF PETER T. NICHOLL                  CURBEAN              PURELL                MD         24X07000105       THE LAW OFFICES OF PETER T. NICHOLL
CROMWELL             ALBERTA               MD         99001438          THE LAW OFFICES OF PETER T. NICHOLL                  CURBEAN              PURELL                MD         X01000750         THE LAW OFFICES OF PETER T. NICHOLL
CROMWELL             ALBERTA M             MD         24X06000293       THE LAW OFFICES OF PETER T. NICHOLL                  CURLEY               DELORES               MD         X01000337         THE LAW OFFICES OF PETER T. NICHOLL
CROMWELL             BENJAMIN              MD         99001438          THE LAW OFFICES OF PETER T. NICHOLL                  CURLEY               EDWARD F              MD         X01000337         THE LAW OFFICES OF PETER T. NICHOLL
CROMWELL             BENJAMIN              MD         24X06000293       THE LAW OFFICES OF PETER T. NICHOLL                  CURRAN               ROBERT M              MD         24X11000497       THE LAW OFFICES OF PETER T. NICHOLL
CROMWELL             HAROLD                MD         24X06000140       THE LAW OFFICES OF PETER T. NICHOLL                  CURRY                BARBARA D             MD         24X02000340       THE LAW OFFICES OF PETER T. NICHOLL
CRONIN               JOHN L                MD         98267503CX1792    THE LAW OFFICES OF PETER T. NICHOLL                  CURRY                CONSTANCE             MD         X01000749         THE LAW OFFICES OF PETER T. NICHOLL
CRONISE              CHARLES L             MD         24X02001142       THE LAW OFFICES OF PETER T. NICHOLL                  CURRY                EDWARD                VA         700CL0232095C03   THE LAW OFFICES OF PETER T. NICHOLL
CRONISE              ROSE                  MD         24X02001142       THE LAW OFFICES OF PETER T. NICHOLL                  CURRY                ELLIS J               MD         24X02002002       THE LAW OFFICES OF PETER T. NICHOLL
CROOK                JAMES                 VA         700CL0438391P03   THE LAW OFFICES OF PETER T. NICHOLL                  CURRY                RALPH V               MD         24X02000340       THE LAW OFFICES OF PETER T. NICHOLL
CROSBY               DOROTHY               MD         24X05000097       THE LAW OFFICES OF PETER T. NICHOLL                  CURRY                RAYMOND L             MD         98169505CX1242    THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 752
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 87 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

CURRY                WAYNE L               VA         740CL0200223600   THE LAW OFFICES OF PETER T. NICHOLL                  DANCY                WILLIE                VA         29590RC           THE LAW OFFICES OF PETER T. NICHOLL
CURRY                WEBSTER               MD         X01000749         THE LAW OFFICES OF PETER T. NICHOLL                  DANDRIDGE            AL M                  MD         24X02001251       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               ALVIN D               VA         740CL0100180700   THE LAW OFFICES OF PETER T. NICHOLL                  DANDRIDGE            FLOYD M               MD         24X11000062       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               BURNIE C              VA         740CL0100223200   THE LAW OFFICES OF PETER T. NICHOLL                  DANDRIDGE            FRANCES               MD         24X02001251       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               DWIGHT C              VA         740CL0100180800   THE LAW OFFICES OF PETER T. NICHOLL                  DANDRIDGE            STEPHANIE             MD         24X11000062       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JOAN                  MD         24X18000021       THE LAW OFFICES OF PETER T. NICHOLL                  DANEY                HERBERT               MD         24X11000378       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JOAN                  MD         24X02002012       THE LAW OFFICES OF PETER T. NICHOLL                  DANEY                JOHN M                MD         24X10000097       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JOE L                 VA         740CL0300101200   THE LAW OFFICES OF PETER T. NICHOLL                  DANEY                PARALEE               MD         24X10000097       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JOHN E                MD         24X18000021       THE LAW OFFICES OF PETER T. NICHOLL                  DANEY                ROSETTA               MD         24X11000378       THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JOHN E                MD         24X02002012       THE LAW OFFICES OF PETER T. NICHOLL                  DANGERFIELD          PHYLLIS M             MD         98233508CX1634    THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JON                   MD         24X18000021       THE LAW OFFICES OF PETER T. NICHOLL                  DANIEL               ETTRULA F             VA         740CL0100185500   THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               JON                   MD         24X02002012       THE LAW OFFICES OF PETER T. NICHOLL                  DANIEL               EUGENE M              VA         740CL0300123200   THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               REGINALD V            VA         740CL0200127600   THE LAW OFFICES OF PETER T. NICHOLL                  DANIEL               LINWOOD M             VA         002134            THE LAW OFFICES OF PETER T. NICHOLL
CURTIS               RONALD R              VA         740CL0100187200   THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              ASA                   MD         X01000801         THE LAW OFFICES OF PETER T. NICHOLL
CUTCHEMBER           DONALD A              MD         24X03000879       THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              BARBARA J             MD         X01000801         THE LAW OFFICES OF PETER T. NICHOLL
CUTCHIN              LORENZO L             VA         740CL0100211500   THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              CARL L                VA         740CL0100328700   THE LAW OFFICES OF PETER T. NICHOLL
CUTHBERTSON          WALTER P              MD         24X01001321       THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              CHARLIE J             MD         24X06000378       THE LAW OFFICES OF PETER T. NICHOLL
CUTHRELL             WAYNE M               VA         740CL0200312900   THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              EDWARD T              VA         740CL0200054500   THE LAW OFFICES OF PETER T. NICHOLL
CUTLER               DAVID N               MD         24X02000098       THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              FLOYD C               VA         29905RC           THE LAW OFFICES OF PETER T. NICHOLL
CUTLER               DORIS P               MD         24X14000424       THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              HOWARD                VA         700CL023222OC03   THE LAW OFFICES OF PETER T. NICHOLL
CUTLER               ELINOR                MD         24X02000098       THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              PETER J               MD         24X03000711       THE LAW OFFICES OF PETER T. NICHOLL
CUTLER               GEORGE W              VA         740CL0200069200   THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              TERRY W               VA         740CL0200123800   THE LAW OFFICES OF PETER T. NICHOLL
CUTLER               JAMES M               VA         29116VA           THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              TOUSSAINT             MD         24X03000075       THE LAW OFFICES OF PETER T. NICHOLL
CUTLER               SAMUEL L              VA         740CL0300160400   THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              TOUSSAINT JR          VA         28224VA           THE LAW OFFICES OF PETER T. NICHOLL
CUZZART              CHARLES C             MD         X01000495         THE LAW OFFICES OF PETER T. NICHOLL                  DANIELS              WENDELL               VA         0028902W01        THE LAW OFFICES OF PETER T. NICHOLL
CUZZART              LORRAINE              MD         X01000495         THE LAW OFFICES OF PETER T. NICHOLL                  DANTZLER             CHERRIE               MD         24X01001307       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              CHARLES S             VA         001188            THE LAW OFFICES OF PETER T. NICHOLL                  DANTZLER             JOHN W                MD         24X01001307       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              DAVIE C               VA         740CL0100318600   THE LAW OFFICES OF PETER T. NICHOLL                  DAQUINO              THOMAS L              MD         24X11000075       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              IZEAR                 MD         98310504CX2082    THE LAW OFFICES OF PETER T. NICHOLL                  DARAGO               CHRISTOPHER A         MD         24X14000476       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              MELVIN K              VA         700CL0437888V04   THE LAW OFFICES OF PETER T. NICHOLL                  DARAGO               DANIEL D              MD         24X02001738       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              RAYMOND L             VA         740CL0300087000   THE LAW OFFICES OF PETER T. NICHOLL                  DARAGO               MARGARET              MD         24X14000476       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              ROBERT L              VA         700CL0438823T01   THE LAW OFFICES OF PETER T. NICHOLL                  DARBY                JAMES E               MD         24X06000302       THE LAW OFFICES OF PETER T. NICHOLL
CYPRESS              ROBERT T              VA         740CL0100320900   THE LAW OFFICES OF PETER T. NICHOLL                  DARBY                VANESSA A             MD         24X06000302       THE LAW OFFICES OF PETER T. NICHOLL
CZECH                ROBERT T              MD         98310538CX2111    THE LAW OFFICES OF PETER T. NICHOLL                  DARDEN               DAVID                 VA         740CL0300033000   THE LAW OFFICES OF PETER T. NICHOLL
CZYZEWSKI            FRANCES E             MD         24X10000185       THE LAW OFFICES OF PETER T. NICHOLL                  DARDEN               EVANGELINE            VA         740CL0300245000   THE LAW OFFICES OF PETER T. NICHOLL
CZYZEWSKI            FREDERICK L           MD         24X10000185       THE LAW OFFICES OF PETER T. NICHOLL                  DARDEN               GEORGE K              VA         28986VC           THE LAW OFFICES OF PETER T. NICHOLL
DABBS                GLORIA M              MD         24X06000374       THE LAW OFFICES OF PETER T. NICHOLL                  DARDEN               KATHY                 MD         X01000969         THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               DARRYL                MD         24X18000020       THE LAW OFFICES OF PETER T. NICHOLL                  DARDEN               NATHANIEL             VA         740CL0200371700   THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               DIANIA P              MD         24X18000020       THE LAW OFFICES OF PETER T. NICHOLL                  DARDEN               ROY L                 MD         X01000969         THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               DONALD                MD         24X18000020       THE LAW OFFICES OF PETER T. NICHOLL                  DARMSTEADT           DONALD A              MD         24X06000190       THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               LILLIE                MD         24X18000020       THE LAW OFFICES OF PETER T. NICHOLL                  DARMSTEADT           GERI                  MD         24X06000190       THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               OTIS G                VA         740CL0300087100   THE LAW OFFICES OF PETER T. NICHOLL                  DARNELL              DAVID G               VA         700CL0233157W01   THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               RUSSELL E             VA         700CL0233191C03   THE LAW OFFICES OF PETER T. NICHOLL                  DARNELL              DONALD E              VA         740CL0100212000   THE LAW OFFICES OF PETER T. NICHOLL
DABNEY               WILLIAM S             MD         24X18000020       THE LAW OFFICES OF PETER T. NICHOLL                  DARR                 JAMES H               MD         24X10000423       THE LAW OFFICES OF PETER T. NICHOLL
DAGGS                DENNIS E              VA         29215VC           THE LAW OFFICES OF PETER T. NICHOLL                  DARR                 SUSAN                 MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL
DAGGS                HENRY K               VA         29475RC           THE LAW OFFICES OF PETER T. NICHOLL                  DAUGHTREY            JUNIUS N              VA         700CL0437889H02   THE LAW OFFICES OF PETER T. NICHOLL
DAIKER               RICHARD F             MD         24X14000180       THE LAW OFFICES OF PETER T. NICHOLL                  DAUGHTREY            ROBIN                 VA         740CL0200045100   THE LAW OFFICES OF PETER T. NICHOLL
DAILEY               PHYLLIS A             MD         24X05000592       THE LAW OFFICES OF PETER T. NICHOLL                  DAUGHTREY            THOMAS FELTON         VA         740CL9900194400   THE LAW OFFICES OF PETER T. NICHOLL
DAILEY               PHYLLIS A             MD         X01000837         THE LAW OFFICES OF PETER T. NICHOLL                  DAVENDER             JAMES L               VA         29045RC           THE LAW OFFICES OF PETER T. NICHOLL
DAILEY               ROBERT H              MD         X01000837         THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            ALBERT G              MD         24X01001217       THE LAW OFFICES OF PETER T. NICHOLL
DAILEY               ROBERT H              MD         24X05000592       THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            BRENDA                MD         24X01002098       THE LAW OFFICES OF PETER T. NICHOLL
DAILEY               ROSALIND              MD         24X13000008       THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            BRENDA S              MD         24X06000382       THE LAW OFFICES OF PETER T. NICHOLL
DALE                 BERT                  VA         740CL0300123100   THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            DELORES               MD         24X02000224       THE LAW OFFICES OF PETER T. NICHOLL
DALE                 GERALD O              VA         001645            THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            EARL B SR             VA         27984RW           THE LAW OFFICES OF PETER T. NICHOLL
DALE                 LEON F                VA         700CL0231819V05   THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            EARL T                VA         740CL0100325800   THE LAW OFFICES OF PETER T. NICHOLL
DALTON               HUGH T                MD         24X06000366       THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            HERLIN R              MD         24X02000224       THE LAW OFFICES OF PETER T. NICHOLL
DALTON               JOYCE R               MD         24X06000366       THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            PRISCILLA             MD         24X01001217       THE LAW OFFICES OF PETER T. NICHOLL
DALTON               THEODORE L            MD         98329568CX2293    THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            WILLIAM L             MD         24X01002098       THE LAW OFFICES OF PETER T. NICHOLL
DALY                 RUTH                  MD         24X02001816       THE LAW OFFICES OF PETER T. NICHOLL                  DAVENPORT            WILLIAM L             MD         24X06000382       THE LAW OFFICES OF PETER T. NICHOLL
DALY                 WILLIAM J             MD         24X02001816       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIA                PAUL C                VA         740CL0200378300   THE LAW OFFICES OF PETER T. NICHOLL
DAMMONS              GLENN W               VA         740CL0200074200   THE LAW OFFICES OF PETER T. NICHOLL                  DAVID                JAMIE T               MD         24X12000920       THE LAW OFFICES OF PETER T. NICHOLL
DAMON                DOROTHY               MD         01000929          THE LAW OFFICES OF PETER T. NICHOLL                  DAVID                ROBERT                MD         24X12000920       THE LAW OFFICES OF PETER T. NICHOLL
DAMON                LARRY                 MD         01000929          THE LAW OFFICES OF PETER T. NICHOLL                  DAVID                THOMAS C              VA         740CL0100131600   THE LAW OFFICES OF PETER T. NICHOLL
DAMRON               PEGGY A               MD         24X05000804       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ADELAIDE F            MD         24X02001727       THE LAW OFFICES OF PETER T. NICHOLL
DAMRON               PEGGY A               MD         98177515CX1308    THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ALEXANDER             VA         740CL0200053300   THE LAW OFFICES OF PETER T. NICHOLL
DAMRON               WAYNE J               MD         98177515CX1308    THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ALFRED                MD         24X06000388       THE LAW OFFICES OF PETER T. NICHOLL
DAMRON               WAYNE J               MD         24X05000804       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ANDRE P               VA         0028684C03        THE LAW OFFICES OF PETER T. NICHOLL
DANCE                PHILIP                VA         29098RC           THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ANDREW L              MD         24X04000085       THE LAW OFFICES OF PETER T. NICHOLL
DANCY                FRANK                 VA         001780            THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ANTONE                VA         700CL0539132P03   THE LAW OFFICES OF PETER T. NICHOLL
DANCY                MARCELLUS L           VA         001581            THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ARTHUR G              VA         001602            THE LAW OFFICES OF PETER T. NICHOLL
DANCY                MARVIN S              VA         29258RC           THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                BENJAMIN B            MD         24X02001813       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 753
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 88 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel

DAVIS                BERTHA L              MD         24X06000497       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ROBERT L              VA         103100              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                BOBBY                 VA         740CL0200378400   THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                ROLAND T              MD         24X02001561         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                BOBBY L               MD         98170508CX1264    THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                RONALD C              VA         001781              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                CHARLES R             VA         740CL0300241900   THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                RONNIE                VA         29358RC             THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                CHARLES S             MD         24X04000232       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                SAMMIE                MD         24X02002364         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                CHARLES W             MD         24X02001398       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                SANDRA                MD         24X02001236         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                CLARA                 MD         24X02002364       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                SEMMIE A              VA         011042              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                CLARENCE T            VA         740CL0100158700   THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                SENNIE M              MD         24X06000388         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                CLINTON R             VA         740CL0300111400   THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                SHIRLEY               MD         24X02000809         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                DAVID R               MD         24X03000078       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                STANLEY               VA         28670RW             THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                DELANO R              VA         28775RC           THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                THELMA A              VA         01981               THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                DENNIS N              VA         700CL0438362V04   THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                TIMOTHY L             MD         24X01002111         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                DENNITTE M            VA         700CLO437896P03   THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                TOMMIE                MD         01000933            THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                DONALD M              VA         29466RW           THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                VALERIE               MD         24X01001177         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                DWEIN                 MD         24X02001399       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                VELLA                 MD         24X13000103         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                EDDIE L               MD         24X03000702       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WALTER E              MD         24X02000114         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                EDNA B                MD         24X02001500       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WALTER J              VA         01982               THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                EDWARD M              MD         24X04000113       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WALTER R              VA         002201              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                ELDEEN C              MD         24X12000595       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIAM               VA         28536VA             THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                ETHEL                 MD         24X01001071       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIAM H             VA         740CL0200114400     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                EVELYN                MD         24X01001080       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIAM K             VA         001293              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                GEORGE                MD         24X05000598       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIAM L             VA         740CL0300245100     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                GEORGE A              VA         29906VC           THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIAM M             MD         24X13000103         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                GEORGE L              MD         24X12000512       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIE C              VA         011043              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                GLORIA                MD         24X02001561       THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIE E              VA         010971              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                GORDON J              MD         98275519CX1870    THE LAW OFFICES OF PETER T. NICHOLL                  DAVIS                WILLIE R              VA         0028935A04          THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HAROLD G              VA         700CL0539563H02   THE LAW OFFICES OF PETER T. NICHOLL                  DAVISON              CAROL JEAN            MD         24X03000949         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HAROLD L              MD         24X01001430       THE LAW OFFICES OF PETER T. NICHOLL                  DAWKINS              MARION L              MD         98261510CX1734      THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HARRISON P            VA         28711RW           THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               CHRISTOPHER T         MD         24X02000297         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HARRY D               MD         24X01001408       THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               DOLORES M             MD         98329571CX2296      THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HAYWOOD               VA         29582VC           THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               DWIGHT D              MD         98402622            THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HENRY                 VA         29046VA           THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               LORA                  MD         24X02000297         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HILDA                 MD         24X01001430       THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               MARIE V               MD         24X98337508CX2320   THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                HORACE W              MD         01001347          THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               MYRNA PATRICIA        MD         24X05000652         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                IDA                   MD         24X02001813       THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               PATRICIA E            MD         24X11000195         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JACK                  VA         700CL0232475V05   THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               RICHARD E             MD         24X11000195         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JAMES H               MD         24X02000809       THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               ROBINETTE             MD         24X06000051         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JAMES H               VA         0028693H02        THE LAW OFFICES OF PETER T. NICHOLL                  DAWSON               SHERMAN V             MD         24X05000652         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JAMES L               MD         24X06000445       THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  BERNARD               MD         X01000278           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JAMES M               VA         740CL0100214200   THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  BOBBY G               VA         700CL0232223A04     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JAMES M               VA         700CL0437601W01   THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  DEE G                 MD         X01000836           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JAMES W               VA         740CL9900195500   THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  ELI A                 MD         X010001004          THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JEANNETTE             MD         24X05000598       THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  GEORGE                MD         X01000596           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JENNINGS L            VA         740CL0300160500   THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  GREGORY               MD         24X12000614         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                JOHNNY                VA         740CL0100321800   THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  KATHLEEN              MD         X01000836           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                KAREN                 MD         98275519CX1870    THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  LUTHER M              MD         24X02002232         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                KATHERINE             MD         24X02001399       THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  MICHAEL A             MD         24X01000302         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                KAYE                  MD         24X02001398       THE LAW OFFICES OF PETER T. NICHOLL                  DAY                  RONALD P              VA         740CL0100128300     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                KEARNEY               VA         001631            THE LAW OFFICES OF PETER T. NICHOLL                  DAYE                 EDWARD E              MD         X01000367           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LARRY                 VA         700CL0437618H02   THE LAW OFFICES OF PETER T. NICHOLL                  DAYE                 ST GEORGE B           VA         740CL0000017900     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LARRY V               VA         740CL0100322500   THE LAW OFFICES OF PETER T. NICHOLL                  DAYE                 THEODORE              VA         001516              THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LEON                  VA         740CL0000047900   THE LAW OFFICES OF PETER T. NICHOLL                  DEACON               CATHERINE A           MD         X99000414           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LEON C                VA         740CL0200019000   THE LAW OFFICES OF PETER T. NICHOLL                  DEACON               DONALD J              MD         X99000414           THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LEROY J               VA         740CL0100321000   THE LAW OFFICES OF PETER T. NICHOLL                  DEACON               THERESA               MD         24X06000662         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LETREANNA S           VA         740CL0300122000   THE LAW OFFICES OF PETER T. NICHOLL                  DEAGLE               REGINALD              VA         740CL0300114300     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LINDA                 MD         24X01002111       THE LAW OFFICES OF PETER T. NICHOLL                  DEAL                 MARVIN E              VA         740CL0200215200     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LONNIE                VA         740CL9900176900   THE LAW OFFICES OF PETER T. NICHOLL                  DEAL                 MORRIS E              VA         740CL0200019100     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                LUCY                  MD         24X01001408       THE LAW OFFICES OF PETER T. NICHOLL                  DEAL                 RAYMOND E             VA         740CL0100202800     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                MARION                MD         24X02001727       THE LAW OFFICES OF PETER T. NICHOLL                  DEAN                 EMANUEL               MD         24X02001567         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                MARTIN L              MD         99000090          THE LAW OFFICES OF PETER T. NICHOLL                  DEAN                 MARY                  MD         24X02001567         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                MELVIN L              VA         740CL9900189500   THE LAW OFFICES OF PETER T. NICHOLL                  DEAN                 WILLIAM R             VA         740CL0200019200     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                MELVIN N              MD         24X01001080       THE LAW OFFICES OF PETER T. NICHOLL                  DEAR                 DONALD                MD         24X01001075         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                MICHAEL O             MD         24X02001729       THE LAW OFFICES OF PETER T. NICHOLL                  DEAVER               ROBERT E              VA         740CL0200069300     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                MICKEY                VA         700CL0437602V04   THE LAW OFFICES OF PETER T. NICHOLL                  DEBNAN               CLEOPHIA              VA         740CL0300160700     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                NANCY                 MD         24X02000114       THE LAW OFFICES OF PETER T. NICHOLL                  DEBOE                LUZETTA O             MD         24X06000063         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                NATHANIEL             MD         24X01001177       THE LAW OFFICES OF PETER T. NICHOLL                  DEBRAUX              THERMAN E             VA         30027RC             THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                PEARLETHIA            MD         24X03000702       THE LAW OFFICES OF PETER T. NICHOLL                  DEBREAUX             SALONE                VA         700CL0233161C03     THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                PINKIE W              VA         740CL0100112600   THE LAW OFFICES OF PETER T. NICHOLL                  DEBREW               CALVIN                VA         29216EH             THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                PLUMMER               VA         29357EH           THE LAW OFFICES OF PETER T. NICHOLL                  DEBREW               LARRY K               VA         29381EH             THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                ROBERT L              MD         24X01001071       THE LAW OFFICES OF PETER T. NICHOLL                  DEBREWER             TERRI                 MD         24X01001559         THE LAW OFFICES OF PETER T. NICHOLL
DAVIS                ROBERT L              MD         24X02001236       THE LAW OFFICES OF PETER T. NICHOLL                  DEBREWER             WALTER J              MD         24X01001559         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 754
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 89 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

DEBROUX              JAMES T               VA         28021RC           THE LAW OFFICES OF PETER T. NICHOLL                  DEPP                 THEODORE G            MD         24X01001976       THE LAW OFFICES OF PETER T. NICHOLL
DECERBO              JOSEPH A              MD         99000177          THE LAW OFFICES OF PETER T. NICHOLL                  DERWINIS             JUANITA               MD         24X03000405       THE LAW OFFICES OF PETER T. NICHOLL
DECERBO              LAURA                 MD         99000177          THE LAW OFFICES OF PETER T. NICHOLL                  DERWINIS             JUANITA               MD         24X08000073       THE LAW OFFICES OF PETER T. NICHOLL
DECKARD              WILLIAM B             VA         29368RW           THE LAW OFFICES OF PETER T. NICHOLL                  DESAUTELS            GILES M               MD         24X98100512       THE LAW OFFICES OF PETER T. NICHOLL
DECKER               JAMES L               MD         24X02002097       THE LAW OFFICES OF PETER T. NICHOLL                  DESAUTELS            PATRICIA A            MD         24X98100512       THE LAW OFFICES OF PETER T. NICHOLL
DECKER               MARTA KAY             MD         24X02002097       THE LAW OFFICES OF PETER T. NICHOLL                  DESHAZO              DOROTHY               MD         24X14000192       THE LAW OFFICES OF PETER T. NICHOLL
DEEL                 ERNEST J              VA         700CL0538931J05   THE LAW OFFICES OF PETER T. NICHOLL                  DESHAZO              HERMAN L              MD         24X11000091       THE LAW OFFICES OF PETER T. NICHOLL
DEEL-MARRIOTT        HELEN                 VA         700CL0538931J05   THE LAW OFFICES OF PETER T. NICHOLL                  DESHAZO              SANDRA                MD         24X11000091       THE LAW OFFICES OF PETER T. NICHOLL
DEFEO                ANTHONY M             MD         24X03000344       THE LAW OFFICES OF PETER T. NICHOLL                  DESHAZO              VERNELL T             MD         24X14000192       THE LAW OFFICES OF PETER T. NICHOLL
DEGELE               MARY A                MD         24X04000235       THE LAW OFFICES OF PETER T. NICHOLL                  DESHIELDS            WILLIAM H             MD         24X01002001       THE LAW OFFICES OF PETER T. NICHOLL
DEGELE               PHILIP J              MD         24X04000235       THE LAW OFFICES OF PETER T. NICHOLL                  DESILVA              LAWRENCE A            VA         740CL0300113100   THE LAW OFFICES OF PETER T. NICHOLL
DEGROSS              KENNETH A             MD         24X01002086       THE LAW OFFICES OF PETER T. NICHOLL                  DESMOND              SHERMAN               MD         98170509CX1265    THE LAW OFFICES OF PETER T. NICHOLL
DEGUILMI             ANGELO J              MD         98169502CX1239    THE LAW OFFICES OF PETER T. NICHOLL                  DEUELL               JAMES D               VA         001294            THE LAW OFFICES OF PETER T. NICHOLL
DEGUILMI             LILLIAN M             MD         98169502CX1239    THE LAW OFFICES OF PETER T. NICHOLL                  DEUELL               ROY M                 VA         29382RC           THE LAW OFFICES OF PETER T. NICHOLL
DEHART               GWEN A                VA         740CL0200067700   THE LAW OFFICES OF PETER T. NICHOLL                  DEVANE               JOHN A                VA         001390            THE LAW OFFICES OF PETER T. NICHOLL
DEKOWSKY             DANIEL M              MD         24X06000574       THE LAW OFFICES OF PETER T. NICHOLL                  DEVILBISS            WILLIAM W             MD         24X99000348       THE LAW OFFICES OF PETER T. NICHOLL
DEKOWSKY             PATRICIA              MD         24X06000574       THE LAW OFFICES OF PETER T. NICHOLL                  DEVITES              JOHN E                VA         740CL0200372000   THE LAW OFFICES OF PETER T. NICHOLL
DELK                 GEORGE                VA         001389            THE LAW OFFICES OF PETER T. NICHOLL                  DEW                  ARLANDER              VA         29345VC           THE LAW OFFICES OF PETER T. NICHOLL
DELK                 RAY M                 VA         740CL0100176400   THE LAW OFFICES OF PETER T. NICHOLL                  DEWITT               BLAINE E              MD         24X03001181       THE LAW OFFICES OF PETER T. NICHOLL
DELK                 ROBERT D              VA         740CL0300101300   THE LAW OFFICES OF PETER T. NICHOLL                  DEWS                 RUDOLPH               MD         24X01001069       THE LAW OFFICES OF PETER T. NICHOLL
DELK                 WALLACE               VA         CL9927959W01      THE LAW OFFICES OF PETER T. NICHOLL                  DEWS                 WARREN H              VA         740CL0200090100   THE LAW OFFICES OF PETER T. NICHOLL
DELLINGER            ROBERT J              MD         98211501CX1508    THE LAW OFFICES OF PETER T. NICHOLL                  DIAZ                 ROBIN LYNN            MD         24X18000143       THE LAW OFFICES OF PETER T. NICHOLL
DELLINGER            ROBERT J              MD         98226509CX1605    THE LAW OFFICES OF PETER T. NICHOLL                  DICK                 DAVID E               MD         24X04000086       THE LAW OFFICES OF PETER T. NICHOLL
DELLINGER            SHIRLEY A             MD         24X04001017       THE LAW OFFICES OF PETER T. NICHOLL                  DICKENS              CHARLES               VA         740CL0100131700   THE LAW OFFICES OF PETER T. NICHOLL
DELLINGER            SHIRLEY A             MD         98226509CX1605    THE LAW OFFICES OF PETER T. NICHOLL                  DICKENS              CHARLIE M             MD         X01001108         THE LAW OFFICES OF PETER T. NICHOLL
DELLINGER            SHIRLEY J             MD         24X06000483       THE LAW OFFICES OF PETER T. NICHOLL                  DICKENS              JAMES M               VA         700CL0028514C03   THE LAW OFFICES OF PETER T. NICHOLL
DELLINGER            ROBERT J              MD         24X04001017       THE LAW OFFICES OF PETER T. NICHOLL                  DICKENS              LEONARD               VA         740CL0100328800   THE LAW OFFICES OF PETER T. NICHOLL
DELOACH              JOHN F                MD         24X16000132       THE LAW OFFICES OF PETER T. NICHOLL                  DICKENS              MOSES D               VA         28246VC           THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             ANDERSON T            VA         740CL0200036000   THE LAW OFFICES OF PETER T. NICHOLL                  DICKERSON            BOBBY E               VA         740CL0300027300   THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             CASEY L               VA         740CL0100187300   THE LAW OFFICES OF PETER T. NICHOLL                  DICKERSON            BRAXTON L             VA         740CL0200128800   THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             DAVID                 VA         700CL0235608H02   THE LAW OFFICES OF PETER T. NICHOLL                  DICKERSON            DOROTHY L             MD         24X12000616       THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             DONALD                VA         29630RC           THE LAW OFFICES OF PETER T. NICHOLL                  DICKERSON            LARRY                 VA         29629EH           THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             HAROLD                VA         740CL0200047100   THE LAW OFFICES OF PETER T. NICHOLL                  DICKEY               DEAN W                MD         98218502CX1535    THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             JOHN W                VA         740CL0300101400   THE LAW OFFICES OF PETER T. NICHOLL                  DICKEY               HELENA                MD         24X03001043       THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             LEE A                 VA         0028820V05        THE LAW OFFICES OF PETER T. NICHOLL                  DICKEY               JEAN                  MD         98218502CX1535    THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             MICHAEL V             VA         29228RW           THE LAW OFFICES OF PETER T. NICHOLL                  DIEGEL               CHARLES S             MD         24X01002012       THE LAW OFFICES OF PETER T. NICHOLL
DELOATCH             RANDOLPH              VA         740CL0100205700   THE LAW OFFICES OF PETER T. NICHOLL                  DIEGEL               DOLORES               MD         24X01002012       THE LAW OFFICES OF PETER T. NICHOLL
DELUCA               TONY                  MD         98337507CX2319    THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                ALFRED S              VA         700CL0235635C03   THE LAW OFFICES OF PETER T. NICHOLL
DEMAREST             MELVIN                VA         740CL0300198800   THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                ANDREW J              VA         740CL0100211600   THE LAW OFFICES OF PETER T. NICHOLL
DEMARIO              JOSEPH A              MD         98267510CX1799    THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                DOUGLAS C             MD         24X11000176       THE LAW OFFICES OF PETER T. NICHOLL
DEMARIO              MARSHA                MD         98267510CX1799    THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                HOLLIS C              VA         740CL0200039400   THE LAW OFFICES OF PETER T. NICHOLL
DEMORY               FRED D                MD         24X02001256       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                JAMES A               VA         700CL0438690V04   THE LAW OFFICES OF PETER T. NICHOLL
DEMORY               ROSA                  MD         24X02001256       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                JAMES CALVERT         VA         700CL0438720V04   THE LAW OFFICES OF PETER T. NICHOLL
DEMSKI               JULIA P               MD         24X02001981       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                JOHN E                VA         740CL0200372300   THE LAW OFFICES OF PETER T. NICHOLL
DENBY                ANGELA                MD         24X02000289       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                MELVIN L              VA         700CL0235843A04   THE LAW OFFICES OF PETER T. NICHOLL
DENBY                WAYNE                 MD         24X02000289       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                MELVIN L              VA         700CL0538932T01   THE LAW OFFICES OF PETER T. NICHOLL
DENDY                PAUL R                MD         X01000237         THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                MORRIS H              MD         24X04000766       THE LAW OFFICES OF PETER T. NICHOLL
DENES                DOROTHY A             MD         24X06000787       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                TONI O                VA         700CL0538932T01   THE LAW OFFICES OF PETER T. NICHOLL
DENES                SAMUEL                MD         24X06000787       THE LAW OFFICES OF PETER T. NICHOLL                  DIGGS                WILLIS R              VA         29359RW           THE LAW OFFICES OF PETER T. NICHOLL
DENISON              DAVID V               MD         24X13000419       THE LAW OFFICES OF PETER T. NICHOLL                  DIGNAZIO             BENJAMIN F            MD         X01000236         THE LAW OFFICES OF PETER T. NICHOLL
DENISON              DONNA C               MD         24X13000419       THE LAW OFFICES OF PETER T. NICHOLL                  DIGNAZIO             DENISE                MD         X01000236         THE LAW OFFICES OF PETER T. NICHOLL
DENNEY               CLAYTON C             VA         740CL0300123300   THE LAW OFFICES OF PETER T. NICHOLL                  DILAURO              EVE                   MD         24X04000627       THE LAW OFFICES OF PETER T. NICHOLL
DENNIS               GEORGE H              VA         29583VA           THE LAW OFFICES OF PETER T. NICHOLL                  DILAURO              ROBERT W              MD         24X02000898       THE LAW OFFICES OF PETER T. NICHOLL
DENNIS               MARVIN H              VA         740CL0200355300   THE LAW OFFICES OF PETER T. NICHOLL                  DILAURO              VINCENT               MD         24X04000627       THE LAW OFFICES OF PETER T. NICHOLL
DENNIS               REBECCA               MD         24X97330503       THE LAW OFFICES OF PETER T. NICHOLL                  DILDY                WARDELL               VA         001485            THE LAW OFFICES OF PETER T. NICHOLL
DENNIS               ROLAND L              VA         740CL0200371900   THE LAW OFFICES OF PETER T. NICHOLL                  DILEONARDI           GERALD V              MD         98261512CX1736    THE LAW OFFICES OF PETER T. NICHOLL
DENNIS               RONALD                VA         700CL0235812H02   THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              GOLDIE                MD         24X01001550       THE LAW OFFICES OF PETER T. NICHOLL
DENNIS               WILLIAMS K            MD         24X02002101       THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              HENRY L               VA         700CL0231858W01   THE LAW OFFICES OF PETER T. NICHOLL
DENNY                EVELYN L              MD         24X05000300       THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              JAMES H               VA         30033VC           THE LAW OFFICES OF PETER T. NICHOLL
DENNY                EVELYN L              MD         98344511CX2433    THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              JOHN G                VA         740CL0200043300   THE LAW OFFICES OF PETER T. NICHOLL
DENNY                JAMES M               MD         98344511CX2433    THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              RICHARD W             VA         740CL0200295800   THE LAW OFFICES OF PETER T. NICHOLL
DENNY                JAMES M               MD         24X05000300       THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              RONALD                MD         24X01001804       THE LAW OFFICES OF PETER T. NICHOLL
DENSON               ALEXANDER A           VA         740CL0200043200   THE LAW OFFICES OF PETER T. NICHOLL                  DILLARD              WILLIAM H             MD         24X01001550       THE LAW OFFICES OF PETER T. NICHOLL
DENSON               MILTON L              VA         740CL0300160600   THE LAW OFFICES OF PETER T. NICHOLL                  DILLEY               CINDY M               MD         01001308          THE LAW OFFICES OF PETER T. NICHOLL
DENSON               ROY                   VA         29217RC           THE LAW OFFICES OF PETER T. NICHOLL                  DILLEY               GEORGE H              MD         24X02000096       THE LAW OFFICES OF PETER T. NICHOLL
DENSON               SYLVANIOUS            VA         29259RW           THE LAW OFFICES OF PETER T. NICHOLL                  DILLEY               JAMES E               MD         01001308          THE LAW OFFICES OF PETER T. NICHOLL
DENSON               WILLIAM F             VA         740CL0300157700   THE LAW OFFICES OF PETER T. NICHOLL                  DILLON               FREDERICK J           MD         X01000737         THE LAW OFFICES OF PETER T. NICHOLL
DENT                 ALVESTER D            VA         740CL0100194500   THE LAW OFFICES OF PETER T. NICHOLL                  DILLON               PAUL J                MD         24X06000580       THE LAW OFFICES OF PETER T. NICHOLL
DENT                 DEBORAH               MD         24X01002099       THE LAW OFFICES OF PETER T. NICHOLL                  DILUCA               CHARLES H             MD         24X12000386       THE LAW OFFICES OF PETER T. NICHOLL
DENT                 TIMOTHY D             MD         24X01002099       THE LAW OFFICES OF PETER T. NICHOLL                  DILUCA               KAREN A               MD         24X12000386       THE LAW OFFICES OF PETER T. NICHOLL
DEPP                 PAMELA L              MD         24X01001976       THE LAW OFFICES OF PETER T. NICHOLL                  DILVER               JOYCE L               MD         24X14000196       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 755
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 90 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

DINGLE               LUCILLE               MD         24X01001810       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               JOHN M                VA         740CL0200223700   THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               MYRTIS R              MD         24X01001810       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               LEONARD               MD         24X01001570       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               ODELL                 MD         24X01001022       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               LEONARD               MD         24X06000546       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               ROBBIE                MD         24X01002115       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               MARGARET              MD         24X10000253       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               ROY                   MD         24X01002115       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               PATRICIA B            MD         24X11000885       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               SOLOMAN               MD         24X01001810       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               PURNELL               MD         24X01001570       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               TIM                   MD         24X01001810       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               PURNELL               MD         24X06000546       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               WILLIAM D             MD         24X01001810       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               ROBERT                MD         24X01001570       THE LAW OFFICES OF PETER T. NICHOLL
DINGLE               WILLIE                MD         24X01001810       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               ROBERT                MD         24X06000546       THE LAW OFFICES OF PETER T. NICHOLL
DIPIETRO             DANIEL W              MD         24X01001520       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               ROBERT H              MD         24X01001991       THE LAW OFFICES OF PETER T. NICHOLL
DIPIETRO             ELEANORA L            MD         24X01001520       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               ROBERT H              MD         24X05000143       THE LAW OFFICES OF PETER T. NICHOLL
DIRCKS               EDWARD C              MD         24X02000723       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               THELMA                MD         24X03000178       THE LAW OFFICES OF PETER T. NICHOLL
DISTANCE             DANIELLE L            MD         24X06000389       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               TOMMIE H              MD         98337511CX2323    THE LAW OFFICES OF PETER T. NICHOLL
DISTANCE             REGINALD J            MD         24X06000389       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               TYRONE C              VA         700CL0438400T01   THE LAW OFFICES OF PETER T. NICHOLL
DIVEL                GEORGE L              MD         24X02001745       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               WILLIAM               MD         24X01001570       THE LAW OFFICES OF PETER T. NICHOLL
DIVEL                WILMA                 MD         24X02001745       THE LAW OFFICES OF PETER T. NICHOLL                  DORSEY               WILLIAM               MD         24X06000546       THE LAW OFFICES OF PETER T. NICHOLL
DIVEN                JANIS                 MD         01000415          THE LAW OFFICES OF PETER T. NICHOLL                  DORTCH               JAMES S               VA         29549             THE LAW OFFICES OF PETER T. NICHOLL
DIVEN                MERLE                 MD         01000415          THE LAW OFFICES OF PETER T. NICHOLL                  DOSWELL              LARRY B               VA         700CL0232078A04   THE LAW OFFICES OF PETER T. NICHOLL
DIXON                ALVIN R               VA         740CL0100205900   THE LAW OFFICES OF PETER T. NICHOLL                  DOSWELL              RALPH E               VA         700CL0232224H02   THE LAW OFFICES OF PETER T. NICHOLL
DIXON                BURT J                MD         98254504CX1704    THE LAW OFFICES OF PETER T. NICHOLL                  DOSWELL              WILLIAM N             MD         98191513CX1378    THE LAW OFFICES OF PETER T. NICHOLL
DIXON                CHARLES W             VA         740CL0100143700   THE LAW OFFICES OF PETER T. NICHOLL                  DOTSON               KEITH W               MD         24X01001410       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                CURTIS E              VA         740CL0200127700   THE LAW OFFICES OF PETER T. NICHOLL                  DOTTER               EDWIN H               MD         X01000742         THE LAW OFFICES OF PETER T. NICHOLL
DIXON                DAVID                 MD         24X03000812       THE LAW OFFICES OF PETER T. NICHOLL                  DOTTER               RUTH                  MD         X01000742         THE LAW OFFICES OF PETER T. NICHOLL
DIXON                DAWSON                VA         700CL0437753W01   THE LAW OFFICES OF PETER T. NICHOLL                  DOTY                 BENJAMIN F            MD         24X11000353       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                ELTON L               VA         740CL0100163900   THE LAW OFFICES OF PETER T. NICHOLL                  DOTY                 EDWARD C              MD         24X01001322       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                GENE A                VA         740CL0100143800   THE LAW OFFICES OF PETER T. NICHOLL                  DOTY                 GLADYS L              MD         24X11000353       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                GEORGE W              MD         X01000338         THE LAW OFFICES OF PETER T. NICHOLL                  DOTY                 GLENNA                MD         24X01001322       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                HARRY E               VA         29907RW           THE LAW OFFICES OF PETER T. NICHOLL                  DOTY                 MARGARET E            MD         98303507CX2044    THE LAW OFFICES OF PETER T. NICHOLL
DIXON                HERBERT T             VA         700CL0438721H02   THE LAW OFFICES OF PETER T. NICHOLL                  DOTY                 WILLIAM R             MD         98303507CX2044    THE LAW OFFICES OF PETER T. NICHOLL
DIXON                HERMAN L              VA         700CL0437733W01   THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              ANNA                  MD         24X02001495       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                JOHN W                VA         740CL0300015100   THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              CHARLES F             MD         24X04000594       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                JOHNNIE               VA         740CL0000000500   THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              CLYDE C               MD         98337512CX2324    THE LAW OFFICES OF PETER T. NICHOLL
DIXON                LILLIAN               MD         X01000338         THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              GEORGE R              MD         24X02001495       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                MARY                  MD         24X15000116       THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              HERMAN A              MD         98329570CX2295    THE LAW OFFICES OF PETER T. NICHOLL
DIXON                PAUL E                MD         24X12000493       THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              JAMES R               MD         24X04000321       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                RICHARD E             VA         29047VC           THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              JOANNA HAWTHORNE      MD         24X04000594       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                ROSLYN A              MD         24X03000812       THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              MARLENE               MD         24X04000321       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                STANLEY E             VA         740CL0100143900   THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              MICHAEL A             MD         24X11000505       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                THOMAS D              MD         24X15000116       THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              MICHELLE              MD         24X02002599       THE LAW OFFICES OF PETER T. NICHOLL
DIXON                WILLIAM E             MD         98309513CX2073    THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLAS              MICHELLE              MD         24X06000216       THE LAW OFFICES OF PETER T. NICHOLL
DIZE                 WAYNE W               MD         24X11000076       THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLASS             MICHAEL A             MD         X01000968         THE LAW OFFICES OF PETER T. NICHOLL
DOBBS                LAURA                 MD         24X03000034       THE LAW OFFICES OF PETER T. NICHOLL                  DOUGLASS             NANCY                 MD         X01000968         THE LAW OFFICES OF PETER T. NICHOLL
DOBBS                WILLIAM W             MD         24X03000034       THE LAW OFFICES OF PETER T. NICHOLL                  DOVEL                MAYNARD A             MD         24X03000325       THE LAW OFFICES OF PETER T. NICHOLL
DOBIE                SAINT J               VA         700CL0438222W01   THE LAW OFFICES OF PETER T. NICHOLL                  DOW                  JAMES A               MD         24X04001052       THE LAW OFFICES OF PETER T. NICHOLL
DOENGES              RICHARD M             MD         24X02000341       THE LAW OFFICES OF PETER T. NICHOLL                  DOW                  SANDRA                MD         24X04001052       THE LAW OFFICES OF PETER T. NICHOLL
DOENGES              SUSAN                 MD         24X02000341       THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                ALICE V               MD         24X12001135       THE LAW OFFICES OF PETER T. NICHOLL
DOGAN-SHAW           JUANITA               MD         24X13000037       THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                ALICE V               MD         24X12001124       THE LAW OFFICES OF PETER T. NICHOLL
DOGGETTE             LARRY H               VA         700CL0539406V04   THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                CHARLES H             MD         24X12001134       THE LAW OFFICES OF PETER T. NICHOLL
DOGGETTE             THOMAS D              VA         9927341           THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                CHARLES R             MD         24X10000092       THE LAW OFFICES OF PETER T. NICHOLL
DOLBY                CALVIN V              VA         740CL0000048100   THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                DAVID N               MD         24X12001124       THE LAW OFFICES OF PETER T. NICHOLL
DONALDSON            BETTY G               MD         X01000230         THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                DAVID N               MD         24X12001135       THE LAW OFFICES OF PETER T. NICHOLL
DONALDSON            BILL                  VA         740CL0300242000   THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                JOHN H                VA         740CL0000019100   THE LAW OFFICES OF PETER T. NICHOLL
DONALDSON            PAMELA                MD         24X01001684       THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                LUTHER E              MD         X01001149         THE LAW OFFICES OF PETER T. NICHOLL
DONALDSON            RICHARD               MD         X01000230         THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                NELDA                 MD         98317517CX2148    THE LAW OFFICES OF PETER T. NICHOLL
DONALDSON            ROBERT                MD         24X01001684       THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                REGINALD              MD         98338534CX2358    THE LAW OFFICES OF PETER T. NICHOLL
DONNELLY             EDWARD F              MD         98329572CX2297    THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                RICHETTA              MD         98338534CX2358    THE LAW OFFICES OF PETER T. NICHOLL
DONNELLY             LINDA                 MD         98329572CX2297    THE LAW OFFICES OF PETER T. NICHOLL                  DOWDY                WILLIAM A             MD         98317517CX2148    THE LAW OFFICES OF PETER T. NICHOLL
DORBIT               ROBERT J              MD         98133510CX917     THE LAW OFFICES OF PETER T. NICHOLL                  DOWERY               MILTON L              MD         98316503CX2121    THE LAW OFFICES OF PETER T. NICHOLL
DORCHIES             EMER                  MD         24X08000461       THE LAW OFFICES OF PETER T. NICHOLL                  DOWLING              WILLIAM J             MD         24X01000587       THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               BAMBI                 MD         98337511CX2323    THE LAW OFFICES OF PETER T. NICHOLL                  DOWNES               GLENN W               MD         24X02001891       THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               CATHERINE P           MD         24X05000143       THE LAW OFFICES OF PETER T. NICHOLL                  DOWNES               PEGGY                 MD         24X02001891       THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               ELWOOD C              MD         24X02000981       THE LAW OFFICES OF PETER T. NICHOLL                  DOWNING              ANTHONY L             VA         740CL0200376300   THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               EVELYN A              MD         24X11000418       THE LAW OFFICES OF PETER T. NICHOLL                  DOWNING              JOHN F                MD         98225512CX1596    THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               EVELYN G              MD         24X11000382       THE LAW OFFICES OF PETER T. NICHOLL                  DOWNING              RUBEN L               VA         740CL0200128900   THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               GEORGE A              MD         24X11000418       THE LAW OFFICES OF PETER T. NICHOLL                  DOWNS                LEONARD A             VA         740CL0100309300   THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               GEORGE A              MD         24X11000382       THE LAW OFFICES OF PETER T. NICHOLL                  DOZIER               SCOTT                 MD         24X14000043       THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               GEORGE N              MD         24X11000885       THE LAW OFFICES OF PETER T. NICHOLL                  DRAKE                JOHN T                VA         700CL9928030A04   THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               HILDA                 MD         24X01001570       THE LAW OFFICES OF PETER T. NICHOLL                  DRAUGHN              GENE                  VA         700CL0232476A04   THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               HILDA                 MD         24X06000546       THE LAW OFFICES OF PETER T. NICHOLL                  DRAUGHN              NATHANIEL             MD         98191510CX1375    THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               JAMES A               MD         24X03000178       THE LAW OFFICES OF PETER T. NICHOLL                  DRAUGHN              PAULETTE D            MD         98191510CX1375    THE LAW OFFICES OF PETER T. NICHOLL
DORSEY               JAMES R               MD         24X11000444       THE LAW OFFICES OF PETER T. NICHOLL                  DRAUGHN              THOMAS E              VA         740CL0100176500   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 756
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 91 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

DRAYTON              ROBERT A              VA         740CL0300119800   THE LAW OFFICES OF PETER T. NICHOLL                  DURHAM               ROBERT                MD         24X15000119       THE LAW OFFICES OF PETER T. NICHOLL
DREW                 A. L.                 VA         28774EH           THE LAW OFFICES OF PETER T. NICHOLL                  DURHAM               WILLIE L              MD         24X10000405       THE LAW OFFICES OF PETER T. NICHOLL
DREW                 EARL C                VA         700CL9927838H02   THE LAW OFFICES OF PETER T. NICHOLL                  DURKIN               HELEN                 MD         98218504CX1537    THE LAW OFFICES OF PETER T. NICHOLL
DREW                 GEORGE H              VA         740CL0300242800   THE LAW OFFICES OF PETER T. NICHOLL                  DURKIN               ROBERT C              MD         98218504CX1537    THE LAW OFFICES OF PETER T. NICHOLL
DREW                 PHILLIP R             VA         29908VA           THE LAW OFFICES OF PETER T. NICHOLL                  DURRAH               ERNEST C              MD         24X01000313       THE LAW OFFICES OF PETER T. NICHOLL
DRIGGERS             DONALD F              MD         24X16000171       THE LAW OFFICES OF PETER T. NICHOLL                  DUSCHL               JOSEPH H              MD         24X06000132       THE LAW OFFICES OF PETER T. NICHOLL
DRINKARD             W MICHAEL             MD         98219507CX1546    THE LAW OFFICES OF PETER T. NICHOLL                  DUSCHL               MARY E                MD         24X06000132       THE LAW OFFICES OF PETER T. NICHOLL
DRIVER               RUDOLPH               MD         X01000260         THE LAW OFFICES OF PETER T. NICHOLL                  DUSCHL               ROBERT T              MD         98219520CX1559    THE LAW OFFICES OF PETER T. NICHOLL
DRIVER               WALTER                VA         740CL0100200500   THE LAW OFFICES OF PETER T. NICHOLL                  DUSCHL               ROSE                  MD         98219520CX1559    THE LAW OFFICES OF PETER T. NICHOLL
DRUMMOND             ROBERT A              MD         24X01001398       THE LAW OFFICES OF PETER T. NICHOLL                  DUSSART              FRED A                MD         98296521CX1999    THE LAW OFFICES OF PETER T. NICHOLL
DRY                  CHARLES G             MD         24X02000287       THE LAW OFFICES OF PETER T. NICHOLL                  DUVALL               EMMA J                MD         98240517CX1669    THE LAW OFFICES OF PETER T. NICHOLL
DRYDEN               DAVID F               VA         29383RW           THE LAW OFFICES OF PETER T. NICHOLL                  DUVALL               JAMES M               MD         98240517CX1669    THE LAW OFFICES OF PETER T. NICHOLL
DRYDEN               MARY K                VA         700CL0538933P03   THE LAW OFFICES OF PETER T. NICHOLL                  DYER                 ALFRED                MD         98190504CX1363    THE LAW OFFICES OF PETER T. NICHOLL
DUBIEL               BETTY R               MD         98268507CX1808    THE LAW OFFICES OF PETER T. NICHOLL                  DYER                 ALFRED                MD         24X05000594       THE LAW OFFICES OF PETER T. NICHOLL
DUBIEL               JOHN P                MD         98268507CX1808    THE LAW OFFICES OF PETER T. NICHOLL                  DYER                 JESSIE S              MD         24X05000594       THE LAW OFFICES OF PETER T. NICHOLL
DUBOSE               ANDREW                MD         24X10000403       THE LAW OFFICES OF PETER T. NICHOLL                  DYER                 JESSIE S              MD         98190504CX1363    THE LAW OFFICES OF PETER T. NICHOLL
DUBOSE               JUANITA               MD         24X10000403       THE LAW OFFICES OF PETER T. NICHOLL                  DYSON                CONNIE                VA         700CL0235789C03   THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 AARON L               VA         0028975A04        THE LAW OFFICES OF PETER T. NICHOLL                  DYSON                DORIS E               MD         24X03000415       THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 ALTON L               VA         29218RW           THE LAW OFFICES OF PETER T. NICHOLL                  DZIENNIK             ALBERT W              MD         24X09000333       THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 GRACY                 MD         24X01001225       THE LAW OFFICES OF PETER T. NICHOLL                  DZIENNIK             JOSEPHINE             MD         24X09000333       THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 JAMES T               VA         740CL9900194500   THE LAW OFFICES OF PETER T. NICHOLL                  EADDY                JOSEPH F              MD         24X06000133       THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 JOHN L                VA         001517            THE LAW OFFICES OF PETER T. NICHOLL                  EADDY                SHIRLEY B             MD         24X06000133       THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 LOIS W                VA         700CL0539385H02   THE LAW OFFICES OF PETER T. NICHOLL                  EADS                 GREGORY A             MD         X01000883         THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 MELVIN L              MD         24X01001225       THE LAW OFFICES OF PETER T. NICHOLL                  EAKIN                JOHNNY                VA         740CL0200074300   THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 MORRIS R              VA         740CL0200019300   THE LAW OFFICES OF PETER T. NICHOLL                  EARL                 GEORGE T              MD         24X01001174       THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 ROBERT E              VA         001757            THE LAW OFFICES OF PETER T. NICHOLL                  EARLEY               LANCE M               VA         29998VC           THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 SAMUEL F              VA         740CL0200123900   THE LAW OFFICES OF PETER T. NICHOLL                  EARLEY               LANCE M               VA         700CL0538934H02   THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 SAMUEL H              VA         0028801H02        THE LAW OFFICES OF PETER T. NICHOLL                  EARLY                JOYCE J               VA         700CL0538934H02   THE LAW OFFICES OF PETER T. NICHOLL
DUCK                 THOMAS                VA         28533EH           THE LAW OFFICES OF PETER T. NICHOLL                  EARNEST              DAVID J               VA         700CLO438363H02   THE LAW OFFICES OF PETER T. NICHOLL
DUDLEY               CLAUDE                VA         740CL0200312600   THE LAW OFFICES OF PETER T. NICHOLL                  EARY                 DONNA L               MD         98402592          THE LAW OFFICES OF PETER T. NICHOLL
DUDLEY               DAVID L               VA         0028679C03        THE LAW OFFICES OF PETER T. NICHOLL                  EARY                 JULIUS H              MD         98402592          THE LAW OFFICES OF PETER T. NICHOLL
DUDLEY               MELVIN                VA         700CL0233162W01   THE LAW OFFICES OF PETER T. NICHOLL                  EASLEY               BARBARA A             MD         98211504CX1511    THE LAW OFFICES OF PETER T. NICHOLL
DUFF                 NAPOLEON              MD         24X02000109       THE LAW OFFICES OF PETER T. NICHOLL                  EASLEY               ERNEST R              MD         98211504CX1511    THE LAW OFFICES OF PETER T. NICHOLL
DUFFY                MICHAEL J             MD         24X02002538       THE LAW OFFICES OF PETER T. NICHOLL                  EASLEY               JAMES F               VA         740CL0100321900   THE LAW OFFICES OF PETER T. NICHOLL
DUGGINS              MELVIN S              VA         700CL0028178W01   THE LAW OFFICES OF PETER T. NICHOLL                  EASMEIL              AA                    VA         740CL0100322600   THE LAW OFFICES OF PETER T. NICHOLL
DUKE                 RONALD L              VA         740CL0300101500   THE LAW OFFICES OF PETER T. NICHOLL                  EASON                AROY L                VA         700CL0235599A04   THE LAW OFFICES OF PETER T. NICHOLL
DUKEHART             ANGELA                MD         98338573CX2397    THE LAW OFFICES OF PETER T. NICHOLL                  EASON                JOSANDRA M            VA         028802W01         THE LAW OFFICES OF PETER T. NICHOLL
DUKEHART             CHARLES J             MD         98338573CX2397    THE LAW OFFICES OF PETER T. NICHOLL                  EASON                JOSEPH M              VA         700CL0437734V04   THE LAW OFFICES OF PETER T. NICHOLL
DUKES                DONALD P              MD         24X12000777       THE LAW OFFICES OF PETER T. NICHOLL                  EASON                ROGER L               VA         740CL0200003100   THE LAW OFFICES OF PETER T. NICHOLL
DUKES                JAMES H               MD         24X01001402       THE LAW OFFICES OF PETER T. NICHOLL                  EASON                WILLIE A              VA         740CL0100324700   THE LAW OFFICES OF PETER T. NICHOLL
DULANEY              MELVIN                MD         24X04000430       THE LAW OFFICES OF PETER T. NICHOLL                  EASTER               DOROTHY A             MD         98204501CX1462    THE LAW OFFICES OF PETER T. NICHOLL
DULANEY              OLIVE J               MD         24X04000430       THE LAW OFFICES OF PETER T. NICHOLL                  EASTER               WILLIAM B             MD         98204501CX1462    THE LAW OFFICES OF PETER T. NICHOLL
DUMAS                WILEY                 MD         24X03000435       THE LAW OFFICES OF PETER T. NICHOLL                  EATON                RM                    VA         740CL0200019900   THE LAW OFFICES OF PETER T. NICHOLL
DUNA                 DANIEL J              VA         740CL0100325900   THE LAW OFFICES OF PETER T. NICHOLL                  EATTON               HEARTHIA M            VA         0028837W01        THE LAW OFFICES OF PETER T. NICHOLL
DUNAWAY              ANGELA                MD         24X03000436       THE LAW OFFICES OF PETER T. NICHOLL                  EBB                  MELVIN W              MD         24X11000381       THE LAW OFFICES OF PETER T. NICHOLL
DUNAWAY              JOHN                  MD         24X03000436       THE LAW OFFICES OF PETER T. NICHOLL                  EBB                  PECOLA                MD         24X11000381       THE LAW OFFICES OF PETER T. NICHOLL
DUNBAR               GEORGE H              MD         24X06000438       THE LAW OFFICES OF PETER T. NICHOLL                  EBERLING             DEBORAH               MD         24X14000513       THE LAW OFFICES OF PETER T. NICHOLL
DUNBAR               GLORIA                MD         24X06000438       THE LAW OFFICES OF PETER T. NICHOLL                  EBERLING             JAMES                 MD         24X14000513       THE LAW OFFICES OF PETER T. NICHOLL
DUNBAR               JAMES A               VA         740CL0200037800   THE LAW OFFICES OF PETER T. NICHOLL                  EBERLING             JAMES L               MD         24X16000133       THE LAW OFFICES OF PETER T. NICHOLL
DUNCAN               DAVID T               MD         24X02002591       THE LAW OFFICES OF PETER T. NICHOLL                  EBRON                ALICE                 MD         X01001112         THE LAW OFFICES OF PETER T. NICHOLL
DUNCAN               WILLIE L              VA         740CL0200040300   THE LAW OFFICES OF PETER T. NICHOLL                  EBRON                STEVEN                MD         X01001112         THE LAW OFFICES OF PETER T. NICHOLL
DUNEVANT             JAMES L               VA         740CL0200374200   THE LAW OFFICES OF PETER T. NICHOLL                  ECK                  BEVERLY               MD         24X11000097       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 EARLEEN L             MD         24X01001838       THE LAW OFFICES OF PETER T. NICHOLL                  ECK                  RONALD R              MD         24X11000097       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 EARLEEN L             MD         24X02000225       THE LAW OFFICES OF PETER T. NICHOLL                  ECKART               JAMES A               MD         24X10000426       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 EDITH                 MD         98302502CX2026    THE LAW OFFICES OF PETER T. NICHOLL                  ECKART               ROSEMARIE             MD         24X10000426       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 HARRY J               MD         24X01001838       THE LAW OFFICES OF PETER T. NICHOLL                  ECKENRODE            GLADYS                MD         24X02001067       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 HARRY J               MD         24X02000225       THE LAW OFFICES OF PETER T. NICHOLL                  ECKENRODE            WILLIAM E             MD         24X02001067       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 HERMAN L              MD         24X02002091       THE LAW OFFICES OF PETER T. NICHOLL                  ECKLOFF              MILLARD F             MD         24X02002095       THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 RAYMOND B             VA         740CL0000148000   THE LAW OFFICES OF PETER T. NICHOLL                  EDGE                 WILLIAM H             VA         700CL0028762A04   THE LAW OFFICES OF PETER T. NICHOLL
DUNN                 SANDRA M              MD         24X12000698       THE LAW OFFICES OF PETER T. NICHOLL                  EDGHILL              CHARLES W             MD         24X02001980       THE LAW OFFICES OF PETER T. NICHOLL
DUNNOCK              BERLINE L             MD         98183521CX1342    THE LAW OFFICES OF PETER T. NICHOLL                  EDGHILL              CHARLES W             MD         24X06000385       THE LAW OFFICES OF PETER T. NICHOLL
DUNNOCK              TIMOTHY E             MD         24X13000431       THE LAW OFFICES OF PETER T. NICHOLL                  EDGHILL              TESSIE                MD         24X06000385       THE LAW OFFICES OF PETER T. NICHOLL
DUNSEN               NANNIE                MD         24X01001525       THE LAW OFFICES OF PETER T. NICHOLL                  EDGHILL              TESSIE                MD         24X02001980       THE LAW OFFICES OF PETER T. NICHOLL
DUNSEN               WILEY E               MD         24X01001525       THE LAW OFFICES OF PETER T. NICHOLL                  EDLER                EDWARD W              VA         700CL0437619T05   THE LAW OFFICES OF PETER T. NICHOLL
DUNSTON              LAWRENCE C            VA         32580VC           THE LAW OFFICES OF PETER T. NICHOLL                  EDLER                QUINCY                VA         001806            THE LAW OFFICES OF PETER T. NICHOLL
DUNTON               ERNEST L              VA         740CL0200089000   THE LAW OFFICES OF PETER T. NICHOLL                  EDMOND               LEROY                 MD         98309514CX2074    THE LAW OFFICES OF PETER T. NICHOLL
DUPPINS              ALFRED J              MD         99001255          THE LAW OFFICES OF PETER T. NICHOLL                  EDMOND               WALLACE               VA         011142            THE LAW OFFICES OF PETER T. NICHOLL
DUPPINS              DIANE                 MD         99001255          THE LAW OFFICES OF PETER T. NICHOLL                  EDMONDS              EMANUEL               MD         24X01001516       THE LAW OFFICES OF PETER T. NICHOLL
DUPPINS              NORMAN T              MD         24X08000292       THE LAW OFFICES OF PETER T. NICHOLL                  EDMONDS              GENEVIEVE V           MD         24X06000689       THE LAW OFFICES OF PETER T. NICHOLL
DUPREE               MAURICE H             MD         98402581          THE LAW OFFICES OF PETER T. NICHOLL                  EDMONDS              LORENZO               VA         740CL0100223300   THE LAW OFFICES OF PETER T. NICHOLL
DUPREE               ROSLYN                MD         98402581          THE LAW OFFICES OF PETER T. NICHOLL                  EDMONDS              MH                    MD         24X06000689       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 757
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 92 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

EDMONDS              ROLAND L              MD         24X16000375       THE LAW OFFICES OF PETER T. NICHOLL                  ELEBY                CHARLES C             VA         740CL0300242100   THE LAW OFFICES OF PETER T. NICHOLL
EDMUND               LEO K                 VA         740CL0300015200   THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 ALPHONSA              VA         740CL9900193600   THE LAW OFFICES OF PETER T. NICHOLL
EDMUNDSON            HAIDDIE               MD         24X06000494       THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 CHARLES               VA         740CL0200071100   THE LAW OFFICES OF PETER T. NICHOLL
EDMUNDSON            MARY E                MD         24X06000494       THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 DORIS W               VA         700CL0539386V04   THE LAW OFFICES OF PETER T. NICHOLL
EDWARD               JAMES L               VA         0028977H02        THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 GEORGIA E             VA         700CL0539376V04   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              ALVIN                 VA         700CL0232477H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 JAMES C               VA         740CL0300112400   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              BARBARA               MD         24X03000704       THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 MARK                  VA         740CL0300015300   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              BARBARA J             MD         98329573CX2298    THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 MILTON L              VA         740CL0100158800   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              BURDETT C             VA         001603            THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 OTIS L                VA         740CL0100212100   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              CARL W                VA         740CL0200037900   THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 PAUL D JR             VA         740CL9900177000   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              CHARLES R             VA         740CL0300101600   THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 PHILLIP               VA         01983             THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              CLINTON               VA         740CL000008600    THE LAW OFFICES OF PETER T. NICHOLL                  ELEY                 ROBERT L              VA         740CL0100112700   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              DAVID                 MD         24X03000704       THE LAW OFFICES OF PETER T. NICHOLL                  ELIOPOULOS           ANNA                  MD         24X03000697       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              DONALD                MD         24X13000784       THE LAW OFFICES OF PETER T. NICHOLL                  ELIOPOULOS           GUS                   MD         24X03000697       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              DOROTHY B             VA         700CL0538913P03   THE LAW OFFICES OF PETER T. NICHOLL                  ELLER                IRVIN M               MD         X01001105         THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              EARL L                VA         740CL0100144000   THE LAW OFFICES OF PETER T. NICHOLL                  ELLER                LOIS                  MD         X01001105         THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              EFFIE                 VA         700CL0538935V04   THE LAW OFFICES OF PETER T. NICHOLL                  ELLER                LOIS J                MD         24X06000178       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              FRANK                 MD         24X04000444       THE LAW OFFICES OF PETER T. NICHOLL                  ELLICK               EDWARD S              MD         24X97213519       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              FREDDIE G             MD         98329573CX2298    THE LAW OFFICES OF PETER T. NICHOLL                  ELLIFRITZ            JAMES R               MD         24X06000435       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              GURNEY                VA         0000047700        THE LAW OFFICES OF PETER T. NICHOLL                  ELLIFRITZ            PATRICIA A            MD         24X06000435       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JACKIE H SR           VA         28773VC           THE LAW OFFICES OF PETER T. NICHOLL                  ELLINGSON            HERBERT L             MD         24X97023504       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JAMES C               VA         740CL0100319400   THE LAW OFFICES OF PETER T. NICHOLL                  ELLINGSON            MARY D                MD         24X97023504       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JAMES D               VA         700CL0337325T05   THE LAW OFFICES OF PETER T. NICHOLL                  ELLINGTON            DAISY L               VA         700CL0437721T05   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JAMES L               VA         700CL0438232W01   THE LAW OFFICES OF PETER T. NICHOLL                  ELLINGTON            WILLARD M             VA         700CL0437721T05   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JAMES L               VA         700CL0028175H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOT               LLOYD C               VA         001186            THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JAMES M               VA         740CL00000189     THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              ALBERT D              VA         700CL0538915V04   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JOEL                  VA         740CL0100144100   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              ALBERT D SR           VA         740CL9900197700   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JOHN R                VA         700CL0437735H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              BERNARD               MD         24X13000140       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JUANITA               MD         X01000989         THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              DAVID E               VA         700CL0233200A04   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              JUANITA               MD         24X05000866       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              DAVID R               VA         740CL0100144900   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              LONNIE                VA         700CL0233192W01   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              DAVID R               VA         700CL0538937T01   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              MARY                  MD         24X97318503       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              DEBORAH               MD         24X04000667       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              MARY J                VA         700CL0538914H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              DELMA D               VA         700CL0538937T01   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              MELVIN O              VA         700CL9928012H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              GLACERIA              MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              MELVIN O              VA         700CL0538935V04   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              HOWELL R              MD         24X06000687       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              NORMAN C              MD         24X06000561       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              JACOB                 MD         24X01002040       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              OTIS O                VA         700CL0235920W01   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              JERLINE F             VA         700CL0538915V04   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              RAY R                 VA         740CL0300087200   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              JOHN E                VA         28032EH           THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              RICHARD L             VA         0083500           THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              LARRY D               VA         740CL0200018100   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              ROBERT D              VA         700CL0232478C03   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              MARTHA B              MD         24X01002011       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              ROBERT G              VA         700CL0232203A04   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              OLICE                 VA         740CL0200037300   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              RUFUS T               VA         740CL0000206100   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              PAUL R                MD         24X04000667       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              RUTH E                VA         700CL0539108H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              PHYLLIS J             MD         24X06000687       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              SHIRLEY L             VA         29735VA           THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              ROGER W               MD         24X11000077       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              SIMON L               MD         24X01001766       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              TEX A                 VA         740CL0000200100   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              TESSIE L              MD         24X05000433       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIOTT              WILBERT J             MD         24X01002011       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              THOMAS M              MD         24X01001567       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                ANGELA                VA         700CL0028517V05   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              THORNTON L JR         VA         28710RC           THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                BURDETTA A            MD         24X06000661       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              TIMOTHY               VA         740CL0200215300   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                CHARLES G             VA         740CL0200074400   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WALTER E              VA         740CL0200176800   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                FRANCIS L             MD         24X02001081       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WENDELL N             VA         001762            THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                GEORGE L SR           VA         700CL9928033V05   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WILLIAM               VA         740CL0000000600   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                JAMES H               VA         740CL0300157900   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WILLIAM J             VA         700CL0232225C03   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                JAMES T               VA         CL9928070H02      THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WILLIAM J             VA         700CL0538913P03   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                JERRY B               VA         002152            THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WILLIAM S             VA         700CL0233193V05   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                LARRY D               VA         740CL0300242900   THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WILLIAM S             VA         700CL0538914H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                LAWRENCE              MD         24X03000754       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WILLIS L              VA         29572VC           THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                MAURICE H             MD         24X12000908       THE LAW OFFICES OF PETER T. NICHOLL
EDWARDS              WINDSOR R             VA         0028745C03        THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                PAUL                  MD         X01000508         THE LAW OFFICES OF PETER T. NICHOLL
EFFLAND              LINDA                 MD         24X10000079       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                PAUL C                VA         700CL0028517V05   THE LAW OFFICES OF PETER T. NICHOLL
EFFLAND              RALPH L               MD         24X10000079       THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                RONALD E              MD         24X11000046       THE LAW OFFICES OF PETER T. NICHOLL
EGAN                 JOSEPH P              MD         98212505CX1525    THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                STANLEY E             VA         740CL0300087300   THE LAW OFFICES OF PETER T. NICHOLL
EICHER               LARRY H               VA         700CL0028480W01   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                TYRONE O              VA         29125RW           THE LAW OFFICES OF PETER T. NICHOLL
EIMER                RUTH A                VA         700CL0539109V04   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                VENISSA B             MD         24X12000908       THE LAW OFFICES OF PETER T. NICHOLL
ELAM                 ARNOLD W              VA         700CL0231973H02   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                WARREN E              MD         X01000600         THE LAW OFFICES OF PETER T. NICHOLL
ELAM                 BERNICE B             VA         700CL0538936J05   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                WAYNE B               VA         740CL0200050300   THE LAW OFFICES OF PETER T. NICHOLL
ELAM                 JAMES T               VA         700CL0538936J05   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                WILLIAM               VA         700CL0028176V05   THE LAW OFFICES OF PETER T. NICHOLL
ELAM                 MATTHEW L             VA         740CL0300157800   THE LAW OFFICES OF PETER T. NICHOLL                  ELLIS                WILLIAM L             VA         740CL0100187400   THE LAW OFFICES OF PETER T. NICHOLL
ELAM                 SUSAN E               MD         24X11000379       THE LAW OFFICES OF PETER T. NICHOLL                  ELLISON              AT                    VA         740CL0200019400   THE LAW OFFICES OF PETER T. NICHOLL
ELAM                 THOMAS J              MD         24X11000379       THE LAW OFFICES OF PETER T. NICHOLL                  ELLISON              BLANCHE               VA         700CL0538938P03   THE LAW OFFICES OF PETER T. NICHOLL
EL-BEY               AKIFA A               MD         24X17000197       THE LAW OFFICES OF PETER T. NICHOLL                  ELLISON              LAWRENCE              VA         0028543H02        THE LAW OFFICES OF PETER T. NICHOLL
ELDRIDGE             KENNETH               MD         24X02000342       THE LAW OFFICES OF PETER T. NICHOLL                  ELLISON              LAWRENCE              VA         700CL0538938P03   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 758
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 93 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

ELLISON              LYNN                  MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                CLEMENT L             MD         24X04000561       THE LAW OFFICES OF PETER T. NICHOLL
ELLISON              LYNN                  MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                DOLORES L             MD         24X14000161       THE LAW OFFICES OF PETER T. NICHOLL
ELLISON              ROBERT J              VA         740CL99001659     THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                DONNIE M              MD         24X01001981       THE LAW OFFICES OF PETER T. NICHOLL
ELLISON              RUFUS J               VA         30034RW           THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                DOROTHY               MD         24X03000406       THE LAW OFFICES OF PETER T. NICHOLL
ELLISON              WAYNE D               VA         700CL0233158V05   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                EDWARD L              MD         24X10000437       THE LAW OFFICES OF PETER T. NICHOLL
ELMORE               WILLIAM P             MD         24X04000623       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                ELBERT L              VA         29584EH           THE LAW OFFICES OF PETER T. NICHOLL
ELROD                BRENDA L              MD         24X10000337       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                EUGENE F              VA         700CL0232096W01   THE LAW OFFICES OF PETER T. NICHOLL
ELWAYS               BERNARD H             MD         X99000266         THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                FLORTENE              VA         700CL0538939H02   THE LAW OFFICES OF PETER T. NICHOLL
ELWOOD               FREDERICK R           MD         24X03000936       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                FRANKLIN              MD         24X10000339       THE LAW OFFICES OF PETER T. NICHOLL
ELY                  ALVIN R               VA         700CL0438038V04   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                FRANKLIN D            VA         29177VC           THE LAW OFFICES OF PETER T. NICHOLL
EMBLER               CHARLES E             VA         32107VC           THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                FREDERICK L           VA         740CL0100144200   THE LAW OFFICES OF PETER T. NICHOLL
ENEY                 EVELYN                MD         24X02000382       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                GEORGE                MD         98337505CX2317    THE LAW OFFICES OF PETER T. NICHOLL
ENGEL                MARGARET J            MD         24X01001650       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                HAROLD                MD         98219508CX1547    THE LAW OFFICES OF PETER T. NICHOLL
ENGEL                WILLIAM               MD         24X01001650       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                HELEN J               MD         24X06000044       THE LAW OFFICES OF PETER T. NICHOLL
ENGELHARDT           ROBERT L              MD         X01000445         THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JAMES A               VA         1870              THE LAW OFFICES OF PETER T. NICHOLL
ENGLE                JAMES A               VA         700CL0232738A04   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JAMES C               VA         700CL0337326P03   THE LAW OFFICES OF PETER T. NICHOLL
ENGLISH              DAVID G               MD         24X04000980       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JAMES C               MD         X01000290         THE LAW OFFICES OF PETER T. NICHOLL
ENGLISH              KENNETH L             MD         24X09000491       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JAMES G               MD         24X06000044       THE LAW OFFICES OF PETER T. NICHOLL
ENGLISH              MELVIN L              VA         700CL0539139V04   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JAMES M               VA         740CL010014430    THE LAW OFFICES OF PETER T. NICHOLL
ENND                 JOSEPH W              MD         98296505CX1983    THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JAMES R               VA         700CL0233178V05   THE LAW OFFICES OF PETER T. NICHOLL
ENOCH                RICHARD A             VA         740CL0100196000   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JOHN H                MD         24X03000406       THE LAW OFFICES OF PETER T. NICHOLL
ENOCH                WILLIAM E             VA         CL9927839V05      THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JOHN K                VA         001374            THE LAW OFFICES OF PETER T. NICHOLL
ENSLEY               LOUIS B               VA         740CL0200115200   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JOHNNIE M             MD         24X12000732       THE LAW OFFICES OF PETER T. NICHOLL
ENZOR                ANDREW C              VA         700CL0437754V04   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JULIA                 MD         24X02000161       THE LAW OFFICES OF PETER T. NICHOLL
EPPARD               RONALD E              MD         24X11000109       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                JULIUS T              VA         29999RW           THE LAW OFFICES OF PETER T. NICHOLL
EPPES                ETLA J                MD         98142513CX1035    THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                KAREN                 MD         X01000290         THE LAW OFFICES OF PETER T. NICHOLL
EPPES                JAMES L               MD         98142513CX1035    THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                KERRY C               VA         740CL0200019500   THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 BARBARA J             VA         740CL0300113200   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                LARRY D               VA         29550RC           THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 CHARLES W             VA         740CL0200037400   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                LILLIAN V             VA         700CL0539387J05   THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 EDWARD                MD         24X01001524       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                LLOYD                 VA         740CL0200054600   THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 JIMMY A               MD         24X02000544       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                MACK W SR             VA         28214VA           THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 JOHN H                VA         700CL9927951C     THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                MAJOR                 MD         24X02000161       THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 LOUIS R               MD         24X02001237       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                MARVIN                VA         740CL0200018200   THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 PEARLENE              MD         24X01001524       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                MELODY                MD         24X10000437       THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 STEPHEN B             MD         24X02001077       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                MELVIN W              VA         740CL0100322700   THE LAW OFFICES OF PETER T. NICHOLL
EPPS                 WILLIAM B             VA         740CL0100128900   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                NAOMI L               VA         700CL0539388T01   THE LAW OFFICES OF PETER T. NICHOLL
ERISMAN              GREGORY P             MD         98338535CX2359    THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                PERSAL                VA         700CL0438691H02   THE LAW OFFICES OF PETER T. NICHOLL
ERISMAN              JOAN                  MD         98338535CX2359    THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                RICHARD E             VA         700CL0028752A04   THE LAW OFFICES OF PETER T. NICHOLL
ERNEST               GERALD                MD         24X10000158       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                ROBERT T              MD         24X02000343       THE LAW OFFICES OF PETER T. NICHOLL
ERNEST               GERALD L              MD         24X10000081       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                ROMAINE R             MD         24X10000339       THE LAW OFFICES OF PETER T. NICHOLL
ERNEST               LEILA M               MD         24X10000158       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                RONALD A              MD         24X17000526       THE LAW OFFICES OF PETER T. NICHOLL
ERVIN                BENJAMIN F            MD         24X09000263       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                RUDOLPH O             VA         700CL0438025T05   THE LAW OFFICES OF PETER T. NICHOLL
ERVIN                MAMIE                 MD         24X09000263       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                SIDNEY F              VA         740CL0100319500   THE LAW OFFICES OF PETER T. NICHOLL
ESKRIDGE             CARESSE               MD         24X14000438       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                THOMAS B              VA         700CL0235922H02   THE LAW OFFICES OF PETER T. NICHOLL
ESPOSITE             FREDERICK KENNETH     MD         24X04000934       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                THOMAS J              MD         24X03001156       THE LAW OFFICES OF PETER T. NICHOLL
ESPOSITE             GRACE                 MD         24X04000934       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                THOMAS R              VA         011128            THE LAW OFFICES OF PETER T. NICHOLL
ETHERIDGE            IVIN B                VA         28694RC           THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                VEORANDA J            MD         98337505CX2317    THE LAW OFFICES OF PETER T. NICHOLL
ETHERIDGE            JAMES W               VA         740CL0200374300   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WALTER S              VA         29100VA           THE LAW OFFICES OF PETER T. NICHOLL
EUBANK               FRANK                 MD         24X03000361       THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WILLIAM D             VA         0028757A04        THE LAW OFFICES OF PETER T. NICHOLL
EUDAILEY             FRANCES H             VA         700CL0233194H02   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WILLIAM L             VA         700CL232226W01    THE LAW OFFICES OF PETER T. NICHOLL
EURE                 BARRY A               VA         740CL0100117600   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WILLIAM L             VA         700CL0539388T01   THE LAW OFFICES OF PETER T. NICHOLL
EURE                 CLAUDE J              VA         700CL0235921V05   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WILLIAM R             VA         740CL0200049200   THE LAW OFFICES OF PETER T. NICHOLL
EURE                 ELLISON               VA         0082700           THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WILLIAM R             VA         0028807W01        THE LAW OFFICES OF PETER T. NICHOLL
EURE                 HENDERSON             VA         0083100           THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WILLIE R              VA         CL9927940A04      THE LAW OFFICES OF PETER T. NICHOLL
EURE                 HENRY C               VA         740CL0300114400   THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                WINFRED L             MD         X01000795         THE LAW OFFICES OF PETER T. NICHOLL
EURE                 JOE M                 VA         0028871V05        THE LAW OFFICES OF PETER T. NICHOLL                  EVANS                HOWARD F              MD         24X10000161       THE LAW OFFICES OF PETER T. NICHOLL
EURE                 LEE E                 VA         0028880A04        THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              ARDELL C              VA         001632            THE LAW OFFICES OF PETER T. NICHOLL
EURE                 LORENZO L             VA         29099RW           THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              CHARLES A             VA         700CL0437997W01   THE LAW OFFICES OF PETER T. NICHOLL
EURE                 STEPHEN E             VA         740CL0200180800   THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              CHARLIE               VA         700CL0437620P03   THE LAW OFFICES OF PETER T. NICHOLL
EURE                 TERRY C               VA         30135RW           THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              DIANA                 MD         24X11000301       THE LAW OFFICES OF PETER T. NICHOLL
EVANS                AARON E               MD         01001344          THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              ERNEST L              VA         700CL0028180H02   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                ADA B                 MD         24X05000720       THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              EUGENE C              VA         740CL0200374400   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                ALLEN D               VA         740CL0000047500   THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              FREDDIE               VA         740CL0100326000   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                ALTON P               VA         740CL0300025600   THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              FREDERICK W           VA         700CL0539120J05   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                ANGELO                MD         24X13000749       THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              GEORGE                VA         740CL0000148400   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                ANNIE F               VA         28309VC           THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              JAMES J               VA         740CL0100328900   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                ARTHUR L              VA         700CL0232231W01   THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              JOE R                 VA         0028914A04        THE LAW OFFICES OF PETER T. NICHOLL
EVANS                BENJAMIN J            VA         700CL0538939H02   THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              LANGSTON D            VA         29591RW           THE LAW OFFICES OF PETER T. NICHOLL
EVANS                BENJAMIN L            VA         095200            THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              NED                   VA         740CL0100326100   THE LAW OFFICES OF PETER T. NICHOLL
EVANS                CARROLL               MD         X01000188         THE LAW OFFICES OF PETER T. NICHOLL                  EVERETT              WILLIAM C             MD         24X11000301       THE LAW OFFICES OF PETER T. NICHOLL
EVANS                CLAUDE                VA         700CL0539553H02   THE LAW OFFICES OF PETER T. NICHOLL                  EVERETTE             BERNICE P             VA         700CL0538940V04   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 759
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                          Complaint-Part 2 Page 94 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

EVERETTE             DEBORAH               MD         98338537CX2361      THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               HATTIE                VA         700CL0538941J05   THE LAW OFFICES OF PETER T. NICHOLL
EVERETTE             EDWARD L              VA         0028973W01          THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               HELEN J               VA         700CL0438039H02   THE LAW OFFICES OF PETER T. NICHOLL
EVERETTE             JOHN W                VA         700CL0538940V04     THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               JOSEPH C              VA         740CL0100124100   THE LAW OFFICES OF PETER T. NICHOLL
EVERETTE             MCCOY P               VA         29058EH             THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               LETHIA                MD         24X02001828       THE LAW OFFICES OF PETER T. NICHOLL
EVERETTE             THOMAS D              MD         98338537CX2361      THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               LUE                   MD         X01001110         THE LAW OFFICES OF PETER T. NICHOLL
EVERING              CHARLENE              MD         X01000947           THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               PEGGY SUE             TN         261002            THE LAW OFFICES OF PETER T. NICHOLL
EVERING              JAMES L               MD         X01000947           THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               RAYMOND W             MD         24X02000899       THE LAW OFFICES OF PETER T. NICHOLL
EVERING              JOSEPH F              MD         24X06000586         THE LAW OFFICES OF PETER T. NICHOLL                  FARMER               WESLEY R              VA         740CL0200374500   THE LAW OFFICES OF PETER T. NICHOLL
EVERING              JOSEPH L              MD         24X11000179         THE LAW OFFICES OF PETER T. NICHOLL                  FARRIES              DAVID R               VA         700CL0438017W01   THE LAW OFFICES OF PETER T. NICHOLL
EVERING              KATHRYN E             MD         24X11000179         THE LAW OFFICES OF PETER T. NICHOLL                  FARRIS               GOLA                  VA         740CL0100188500   THE LAW OFFICES OF PETER T. NICHOLL
EVERING              LORIS                 MD         24X06000586         THE LAW OFFICES OF PETER T. NICHOLL                  FARRISH              ELWYN O               VA         740CL0200374600   THE LAW OFFICES OF PETER T. NICHOLL
EVERIST              MARGARET              MD         24X04000445         THE LAW OFFICES OF PETER T. NICHOLL                  FARRISH              OTIS                  VA         740CL0100145000   THE LAW OFFICES OF PETER T. NICHOLL
EVERIST              STEPHEN L             MD         24X04000445         THE LAW OFFICES OF PETER T. NICHOLL                  FARRISH              THADDEUS G            VA         740CL0300092800   THE LAW OFFICES OF PETER T. NICHOLL
EVERSON              ELOUISE               MD         24X04000981         THE LAW OFFICES OF PETER T. NICHOLL                  FARTHING             JOHN H                VA         700CL0538942T01   THE LAW OFFICES OF PETER T. NICHOLL
EVERSON              ELOUISE               MD         24X03000179         THE LAW OFFICES OF PETER T. NICHOLL                  FARTHING             NELLIE D              VA         700CL0538942T01   THE LAW OFFICES OF PETER T. NICHOLL
EVERSON              HERBERT L             MD         24X03000179         THE LAW OFFICES OF PETER T. NICHOLL                  FAUCETT              PERCY                 VA         700CL0232121W01   THE LAW OFFICES OF PETER T. NICHOLL
EVERSON              HERBERT L             MD         24X04000981         THE LAW OFFICES OF PETER T. NICHOLL                  FAULCON              JOHN L                VA         740CL0200036100   THE LAW OFFICES OF PETER T. NICHOLL
EWING                ROBERT                MD         24X15000121         THE LAW OFFICES OF PETER T. NICHOLL                  FAULCON              MORRIS M              MD         24X11000303       THE LAW OFFICES OF PETER T. NICHOLL
EXUM                 RAYMOND E             VA         29048EH             THE LAW OFFICES OF PETER T. NICHOLL                  FAULK                DAVID T               VA         700CL0438040T05   THE LAW OFFICES OF PETER T. NICHOLL
EY                   EDWARD                MD         24X02000292         THE LAW OFFICES OF PETER T. NICHOLL                  FAULK                HOWARD                VA         0089500           THE LAW OFFICES OF PETER T. NICHOLL
EYE                  MICHAEL S             MD         24X16000007         THE LAW OFFICES OF PETER T. NICHOLL                  FAULK                JAMES H               VA         740CL0100176600   THE LAW OFFICES OF PETER T. NICHOLL
FACEN                JOE                   VA         740CL0300033100     THE LAW OFFICES OF PETER T. NICHOLL                  FAULK                LARRY J               VA         700CL0233131C03   THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              ANDREW                MD         98267505CX1794      THE LAW OFFICES OF PETER T. NICHOLL                  FAULK                WILLIAM E             VA         740CL0100128100   THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              ANDREW JR             MD         98275508CX1859      THE LAW OFFICES OF PETER T. NICHOLL                  FAULKNER             BERKLEY P             MD         98288512CX1912    THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              ANN                   MD         98267505CX1794      THE LAW OFFICES OF PETER T. NICHOLL                  FAULKNER             EMMANUEL              MD         24X13000111       THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              CATHERINE             MD         24X18000119         THE LAW OFFICES OF PETER T. NICHOLL                  FAULKNER             JOHN F                MD         X01000949         THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              FRANK J               MD         24X17000179         THE LAW OFFICES OF PETER T. NICHOLL                  FAULKNER             MARGARET M            MD         24X05000653       THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              FRANK J               MD         98275509CX1860      THE LAW OFFICES OF PETER T. NICHOLL                  FAULKNER             THOMAS C              MD         24X06000788       THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              JAMES J               MD         24X18000119         THE LAW OFFICES OF PETER T. NICHOLL                  FAULKS               JOHN C                VA         002153            THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              JOSEPH J              MD         24X97240501CX1792   THE LAW OFFICES OF PETER T. NICHOLL                  FAUNTLEROY           EMMANUEL              VA         700CL0438233V04   THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              JOSEPH J              MD         24X06000649         THE LAW OFFICES OF PETER T. NICHOLL                  FAUNTLEROY           HORACE                VA         29842VA           THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              LENA G                MD         24X17000179         THE LAW OFFICES OF PETER T. NICHOLL                  FAUNTLEROY           JAMES W               VA         29573VA           THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              LENA G                MD         98275509CX1860      THE LAW OFFICES OF PETER T. NICHOLL                  FAUNTLEROY           RAYMOND               VA         29178EH           THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              MARLENE               MD         98275508CX1859      THE LAW OFFICES OF PETER T. NICHOLL                  FAUST                EDWARD T              MD         24X05000796       THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              MARY L                MD         24X06000649         THE LAW OFFICES OF PETER T. NICHOLL                  FAUST                SANDRA                MD         24X05000796       THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              MARY L                MD         24X97240501CX1792   THE LAW OFFICES OF PETER T. NICHOLL                  FAUST                WILLIAM R             VA         700CL0232747H02   THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              STEPHEN               MD         24X17000179         THE LAW OFFICES OF PETER T. NICHOLL                  FAY                  PETER E               MD         X01000457         THE LAW OFFICES OF PETER T. NICHOLL
FACKETT              STEPHEN               MD         98275509CX1860      THE LAW OFFICES OF PETER T. NICHOLL                  FAYALL               LEONARD               MD         24X03000472       THE LAW OFFICES OF PETER T. NICHOLL
FAHEY                DEBRA                 MD         24X11000928         THE LAW OFFICES OF PETER T. NICHOLL                  FAZENBAKER           GERALDINE V           MD         24X04000994       THE LAW OFFICES OF PETER T. NICHOLL
FAHEY                ELANA M               MD         24X12000799         THE LAW OFFICES OF PETER T. NICHOLL                  FAZENBAKER           LARRY G               MD         24X04000994       THE LAW OFFICES OF PETER T. NICHOLL
FAHEY                MICHAEL R             MD         24X12000799         THE LAW OFFICES OF PETER T. NICHOLL                  FEAGIN               CHARLES               MD         24X01000806       THE LAW OFFICES OF PETER T. NICHOLL
FAHR                 DEBORAH               MD         24X02001826         THE LAW OFFICES OF PETER T. NICHOLL                  FEARRINGTON          ROBERTA K             MD         24X05000470       THE LAW OFFICES OF PETER T. NICHOLL
FAHR                 STEVEN L              MD         24X02001826         THE LAW OFFICES OF PETER T. NICHOLL                  FEARRINGTON          WILLIAM E             MD         24X05000470       THE LAW OFFICES OF PETER T. NICHOLL
FAIDLEY              LAMONT                MD         24X11000362         THE LAW OFFICES OF PETER T. NICHOLL                  FEATHERSTONE         JOHN D                MD         24X01002007       THE LAW OFFICES OF PETER T. NICHOLL
FAIR                 ARNOLD                MD         24X01000308         THE LAW OFFICES OF PETER T. NICHOLL                  FEEHLEY              DONNA D               MD         X98402507         THE LAW OFFICES OF PETER T. NICHOLL
FAIR                 LINDA                 MD         24X01000308         THE LAW OFFICES OF PETER T. NICHOLL                  FEEHLEY              WILLIAM H             MD         X98402507         THE LAW OFFICES OF PETER T. NICHOLL
FAIR                 THOMAS                MD         24X02001477         THE LAW OFFICES OF PETER T. NICHOLL                  FEIGLEY              BERNARD C             MD         X99000345         THE LAW OFFICES OF PETER T. NICHOLL
FAIRLEY              NEIL A                VA         740CL0100117700     THE LAW OFFICES OF PETER T. NICHOLL                  FEIGLEY              KAREN                 MD         X99000345         THE LAW OFFICES OF PETER T. NICHOLL
FAISON               CHARLES H             VA         740CL0200067800     THE LAW OFFICES OF PETER T. NICHOLL                  FELDHEIM             JOAN M                MD         24X01001416       THE LAW OFFICES OF PETER T. NICHOLL
FAISON               RICHMOND E            VA         700CL0232204H02     THE LAW OFFICES OF PETER T. NICHOLL                  FELDHEIM             WALTER E              MD         24X01001416       THE LAW OFFICES OF PETER T. NICHOLL
FAISON               ROBERT                MD         X01001101           THE LAW OFFICES OF PETER T. NICHOLL                  FELTON               DE                    VA         740CL0200043400   THE LAW OFFICES OF PETER T. NICHOLL
FAITH                FREDERICK O           MD         98338536CX2360      THE LAW OFFICES OF PETER T. NICHOLL                  FELTON               SYLVESTER W           MD         24X06000333       THE LAW OFFICES OF PETER T. NICHOLL
FAITH                FREDERICK O           MD         24X05000253         THE LAW OFFICES OF PETER T. NICHOLL                  FELTS                ASHTON M              VA         011207            THE LAW OFFICES OF PETER T. NICHOLL
FAITH                JOHNSIE C             MD         24X05000253         THE LAW OFFICES OF PETER T. NICHOLL                  FELTS                LOUISE T              VA         011207            THE LAW OFFICES OF PETER T. NICHOLL
FAITH                JOHNSIE C             MD         98338536CX2360      THE LAW OFFICES OF PETER T. NICHOLL                  FELTS                ROBERT T              MD         98254507CX1707    THE LAW OFFICES OF PETER T. NICHOLL
FALK                 ROBERT B              MD         24X01001170         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              CHARLIE T             VA         740CL0300092900   THE LAW OFFICES OF PETER T. NICHOLL
FALK                 ROBERT B              MD         24X04000992         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              HOWARD L              VA         740CL0100158900   THE LAW OFFICES OF PETER T. NICHOLL
FALK                 RUTH                  MD         24X01001170         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              JEREMIAH              VA         29346VA           THE LAW OFFICES OF PETER T. NICHOLL
FALK                 RUTH B                MD         24X04000992         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              LARRY                 VA         740CL0000202500   THE LAW OFFICES OF PETER T. NICHOLL
FALKNER              ARTHUR R              MD         24X13000607         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              NORFLEET              VA         001586            THE LAW OFFICES OF PETER T. NICHOLL
FALLIN               BETTY                 MD         24X02001418         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              ROBERT J              VA         740CL0100174100   THE LAW OFFICES OF PETER T. NICHOLL
FALLIN               CLYDE L               MD         24X02001418         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              VIRGINIA W            MD         24X05000465       THE LAW OFFICES OF PETER T. NICHOLL
FALTZ                LAWRENCE O            VA         740CL0100322800     THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              VIRGINIA W            MD         24X01001417       THE LAW OFFICES OF PETER T. NICHOLL
FARLEY               CHARLES R             MD         24X13000424         THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              WINFRED E             MD         24X01001417       THE LAW OFFICES OF PETER T. NICHOLL
FARMER               ALBERT G              VA         740CL0100117800     THE LAW OFFICES OF PETER T. NICHOLL                  FENNELL              WINFRED E             MD         24X05000465       THE LAW OFFICES OF PETER T. NICHOLL
FARMER               ANDREW M              MD         24X02001828         THE LAW OFFICES OF PETER T. NICHOLL                  FENNER               ERNEST L              VA         740CLO200054700   THE LAW OFFICES OF PETER T. NICHOLL
FARMER               BENJAMIN              VA         29034RW             THE LAW OFFICES OF PETER T. NICHOLL                  FENNER               GEORGE                VA         740CL0100176700   THE LAW OFFICES OF PETER T. NICHOLL
FARMER               BOBBY LEE             TN         261002              THE LAW OFFICES OF PETER T. NICHOLL                  FENNER               JAMES D               VA         740CL0100129000   THE LAW OFFICES OF PETER T. NICHOLL
FARMER               CLIFFORD              MD         X01001110           THE LAW OFFICES OF PETER T. NICHOLL                  FENNOY               GLORIA                MD         24X02001554       THE LAW OFFICES OF PETER T. NICHOLL
FARMER               EDGAR L               VA         700CL0538941J05     THE LAW OFFICES OF PETER T. NICHOLL                  FENNOY               ROOSEVELT             MD         24X02001554       THE LAW OFFICES OF PETER T. NICHOLL
FARMER               ELWOOD L              MD         24X02000620         THE LAW OFFICES OF PETER T. NICHOLL                  FENTON               HELEN L               MD         24X09000494       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                Appendix A - 760
                                                           Case 20-03004                               Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                           Complaint-Part 2 Page 95 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number       Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

FERANDES             JOSEPH W              MD         24X06000572          THE LAW OFFICES OF PETER T. NICHOLL                  FLANAGAN             STEPHEN M             VA         740CL0100160900   THE LAW OFFICES OF PETER T. NICHOLL
FEREBEE              JAMES A               VA         740CL0200127800      THE LAW OFFICES OF PETER T. NICHOLL                  FLATLEY              RONALD                VA         700CL0337327W01   THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             ALMA                  MD         24X03000718          THE LAW OFFICES OF PETER T. NICHOLL                  FLEET                ANGELIA               MD         24X10000255       THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             AUSTIN A              MD         24X03000718          THE LAW OFFICES OF PETER T. NICHOLL                  FLEET                CHARLES P             MD         24X10000255       THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             BRENDA E              MD         24X01002093          THE LAW OFFICES OF PETER T. NICHOLL                  FLEETWOOD            HERMAN W              VA         001139            THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             FENTON                MD         24X01002093          THE LAW OFFICES OF PETER T. NICHOLL                  FLEETWOOD            MELVIN                VA         740CL0000148300   THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             HAROLD L              MD         X01001103            THE LAW OFFICES OF PETER T. NICHOLL                  FLEISHELL            BARBARA               MD         24X02001383       THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             JOSEPH J              VA         740CL0200019600      THE LAW OFFICES OF PETER T. NICHOLL                  FLEISHELL            WILLIAM C             MD         24X02001383       THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             RUBY A                MD         98197510CX1408       THE LAW OFFICES OF PETER T. NICHOLL                  FLEMING              LESTER                MD         24X14000425       THE LAW OFFICES OF PETER T. NICHOLL
FERGUSON             WILLIE L              VA         094700               THE LAW OFFICES OF PETER T. NICHOLL                  FLEMING              LONNIE                MD         X01000841         THE LAW OFFICES OF PETER T. NICHOLL
FERRELL              CHARLES E             MD         98337509CX2321       THE LAW OFFICES OF PETER T. NICHOLL                  FLEMING              WILLIE L              VA         29707RC           THE LAW OFFICES OF PETER T. NICHOLL
FERRELL              CHARLIE J             VA         011153               THE LAW OFFICES OF PETER T. NICHOLL                  FLETCHER             BILLY F               VA         740CL0300123400   THE LAW OFFICES OF PETER T. NICHOLL
FERRELL              GLADY A               MD         98337509CX2321       THE LAW OFFICES OF PETER T. NICHOLL                  FLETCHER             DAPHNE L              MD         24X05000386       THE LAW OFFICES OF PETER T. NICHOLL
FERRELL              RONNIE C              VA         700CL0438727J05      THE LAW OFFICES OF PETER T. NICHOLL                  FLETCHER             MARVIN                MD         24X05000386       THE LAW OFFICES OF PETER T. NICHOLL
FERRO                JUNE                  MD         X01000948            THE LAW OFFICES OF PETER T. NICHOLL                  FLETCHER             VIOLA M               MD         24X05000248       THE LAW OFFICES OF PETER T. NICHOLL
FERRO                WILLIAM A             MD         X01000948            THE LAW OFFICES OF PETER T. NICHOLL                  FLIPPEN              JAMES                 VA         29804RW           THE LAW OFFICES OF PETER T. NICHOLL
FERSTERMANN          BONNIE L              MD         X01000447            THE LAW OFFICES OF PETER T. NICHOLL                  FLONORY              FELTON                MD         24X02002335       THE LAW OFFICES OF PETER T. NICHOLL
FERSTERMANN          LOUIS F               MD         X01000447            THE LAW OFFICES OF PETER T. NICHOLL                  FLOOD                JAMES                 MD         24X11000078       THE LAW OFFICES OF PETER T. NICHOLL
FIELDER              MICHELE               MD         24X15000206          THE LAW OFFICES OF PETER T. NICHOLL                  FLOOD                WILLIAM S             VA         740CL0300243100   THE LAW OFFICES OF PETER T. NICHOLL
FIELDER              MICHELE               MD         24X98295505/CX1971   THE LAW OFFICES OF PETER T. NICHOLL                  FLOWERS              ARTIS P               MD         24X02000097       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               ARTIS                 MD         98329511CX2236       THE LAW OFFICES OF PETER T. NICHOLL                  FLOWERS              COBBIN R              MD         24X14000434       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               ARTIS R               MD         24X02000112          THE LAW OFFICES OF PETER T. NICHOLL                  FLOWERS              FREDERICK R           VA         740CL0200074500   THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               CHARLES               MD         24X02000112          THE LAW OFFICES OF PETER T. NICHOLL                  FLOWERS              IMOGENE               MD         24X02000097       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               CHARLES M             MD         98329511CX2236       THE LAW OFFICES OF PETER T. NICHOLL                  FLOYD                EDWARD W              MD         24X03000064       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               CLARENCE P            VA         700CL0232468C03      THE LAW OFFICES OF PETER T. NICHOLL                  FLOYD                FRANK D               VA         2804RC            THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               HOMER E               VA         700CL0232479W01      THE LAW OFFICES OF PETER T. NICHOLL                  FLOYD                VIOLA                 MD         24X02000621       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               LINWOOD               VA         740CL0100326200      THE LAW OFFICES OF PETER T. NICHOLL                  FLOYD                WILLIAM N             MD         24X02000621       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               NATHAN                VA         29049RW              THE LAW OFFICES OF PETER T. NICHOLL                  FLURY                DORETTA               MD         24X01001759       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               PAULINE S             MD         24X14000495          THE LAW OFFICES OF PETER T. NICHOLL                  FLURY                GEORGE B              MD         24X01001759       THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               RICHARD T             MD         24X04000665          THE LAW OFFICES OF PETER T. NICHOLL                  FLY                  LEWIS T               VA         740CL0200313100   THE LAW OFFICES OF PETER T. NICHOLL
FIELDS               WILLIAM A             VA         740CL0100128000      THE LAW OFFICES OF PETER T. NICHOLL                  FLY                  LEWIS T               VA         700CL0539377J05   THE LAW OFFICES OF PETER T. NICHOLL
FIGG                 JOHN E                VA         700CLO438373H02      THE LAW OFFICES OF PETER T. NICHOLL                  FLY                  ROSELEEN D            VA         700CL0539377J05   THE LAW OFFICES OF PETER T. NICHOLL
FIGGS                JOHN R                VA         740CL0200124000      THE LAW OFFICES OF PETER T. NICHOLL                  FLYTH                KENNETH D             VA         740CL0300112500   THE LAW OFFICES OF PETER T. NICHOLL
FIKES                HENRY                 VA         740CL0300245200      THE LAW OFFICES OF PETER T. NICHOLL                  FLYTHE               HARVEY H              VA         740CL0200115300   THE LAW OFFICES OF PETER T. NICHOLL
FILES                ALVIN M               VA         29631RW              THE LAW OFFICES OF PETER T. NICHOLL                  FLYTHE               IDA                   MD         24X10000098       THE LAW OFFICES OF PETER T. NICHOLL
FILIP                JEAN                  NY         10474400             THE LAW OFFICES OF PETER T. NICHOLL                  FLYTHE               WAVERLY H             MD         24X10000098       THE LAW OFFICES OF PETER T. NICHOLL
FILIP                MARIETTE              NY         10474400             THE LAW OFFICES OF PETER T. NICHOLL                  FOGG                 ARLEAN                VA         700CL0538943P03   THE LAW OFFICES OF PETER T. NICHOLL
FINCH                ELMER                 MD         24X05000745          THE LAW OFFICES OF PETER T. NICHOLL                  FOGG                 PETER                 VA         740CL0100326300   THE LAW OFFICES OF PETER T. NICHOLL
FINCH                JAMES L               VA         29050RC              THE LAW OFFICES OF PETER T. NICHOLL                  FOGG                 PETER                 VA         700CL0538943P03   THE LAW OFFICES OF PETER T. NICHOLL
FINCH                LOIS                  MD         24X05000745          THE LAW OFFICES OF PETER T. NICHOLL                  FOLTZ                PEGGY                 MD         24X01001720       THE LAW OFFICES OF PETER T. NICHOLL
FINK                 CHARLOTTE T           MD         24X05000156          THE LAW OFFICES OF PETER T. NICHOLL                  FOLTZ                ROBERT L              MD         24X01001720       THE LAW OFFICES OF PETER T. NICHOLL
FINK                 EDWARD P              MD         24X11000037          THE LAW OFFICES OF PETER T. NICHOLL                  FONVILLE             SAMUEL G              VA         001782            THE LAW OFFICES OF PETER T. NICHOLL
FINK                 FRITZ                 VA         740CL0300158000      THE LAW OFFICES OF PETER T. NICHOLL                  FONZI                FREDERICK C           MD         24X15000050       THE LAW OFFICES OF PETER T. NICHOLL
FINK                 MARY                  MD         24X11000037          THE LAW OFFICES OF PETER T. NICHOLL                  FOOTE                JEROME L              VA         740CL0100322000   THE LAW OFFICES OF PETER T. NICHOLL
FINK                 WILLIAM H             MD         01000233             THE LAW OFFICES OF PETER T. NICHOLL                  FOOTE                LEANDREW C            VA         740CL0300158100   THE LAW OFFICES OF PETER T. NICHOLL
FINK                 WILLIAM H             MD         24X05000156          THE LAW OFFICES OF PETER T. NICHOLL                  FOOTE                LEON A                VA         740CLO200180900   THE LAW OFFICES OF PETER T. NICHOLL
FINKELSTEIN          ARVIL D               MD         98324539CX2224       THE LAW OFFICES OF PETER T. NICHOLL                  FOOTE                REGINALD A            VA         740CL0100112900   THE LAW OFFICES OF PETER T. NICHOLL
FINKELSTEIN          MARY C                MD         98324539CX2224       THE LAW OFFICES OF PETER T. NICHOLL                  FORBES               ALFRED M              VA         700CL0539366V04   THE LAW OFFICES OF PETER T. NICHOLL
FINN                 PATRICK N             VA         740CL0200313000      THE LAW OFFICES OF PETER T. NICHOLL                  FORBES               BARRY G               VA         740CL0300093000   THE LAW OFFICES OF PETER T. NICHOLL
FINNEY               ROBERT R              VA         700CL0437588H02      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 ALONZO                VA         740CL0200127900   THE LAW OFFICES OF PETER T. NICHOLL
FISH                 ROBERT L              VA         740CL0300126300      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 BETTY                 MD         24X01002107       THE LAW OFFICES OF PETER T. NICHOLL
FISHBACK             BLANCHE E             MD         24X01001070          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 ERNEST H              VA         740CL0100113000   THE LAW OFFICES OF PETER T. NICHOLL
FISHER               CHARLES W             MD         24X06000085          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 ERNEST O              MD         24X03000478       THE LAW OFFICES OF PETER T. NICHOLL
FISHER               DWIGHT L              VA         740CL0200117400      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 FRANK D               MD         X01000882         THE LAW OFFICES OF PETER T. NICHOLL
FISHER               ELZIE A               VA         740CL0100201500      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 GILLETT G             VA         740CL0100214300   THE LAW OFFICES OF PETER T. NICHOLL
FISHER               GREGORY L             MD         24X14000502          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 HERBERT               MD         24X06000265       THE LAW OFFICES OF PETER T. NICHOLL
FISHER               PARTHENIA             MD         24X06000085          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 HOWARD D              VA         001783            THE LAW OFFICES OF PETER T. NICHOLL
FISHER               PATRICK W             MD         24X11000042          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 JAMES W               VA         29574EH           THE LAW OFFICES OF PETER T. NICHOLL
FISHER               SUZANNE               MD         24X11000042          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 KATHERINE             MD         X01000882         THE LAW OFFICES OF PETER T. NICHOLL
FISHER               VERNARD F             VA         29585RC              THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 MELVIN L              MD         24X02001404       THE LAW OFFICES OF PETER T. NICHOLL
FITCHETT             EDDIE L               VA         29736EH              THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 OZELLA                MD         24X06000019       THE LAW OFFICES OF PETER T. NICHOLL
FITCHETT             ROBERT L              VA         740CL0100188600      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 PEARL                 MD         24X06000265       THE LAW OFFICES OF PETER T. NICHOLL
FITZGERALD           CHARLES S             VA         740CL0200125900      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 RAJAH P               MD         24X02001068       THE LAW OFFICES OF PETER T. NICHOLL
FITZGERALD           DENNIS D              MD         24X04000795          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 RAYMOND R             MD         24X01002107       THE LAW OFFICES OF PETER T. NICHOLL
FITZGERALD           ERIS                  MD         24X03000752          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 THOMAS                VA         740CL0100162600   THE LAW OFFICES OF PETER T. NICHOLL
FITZGERALD           LEON                  VA         700CL0438382V04      THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 WENDELL V             MD         24X10000432       THE LAW OFFICES OF PETER T. NICHOLL
FITZGERALD           MILES E               MD         24X03000752          THE LAW OFFICES OF PETER T. NICHOLL                  FORD                 WILLIE J              MD         24X06000019       THE LAW OFFICES OF PETER T. NICHOLL
FITZGERALD           SANDRA                MD         24X04000795          THE LAW OFFICES OF PETER T. NICHOLL                  FOREMAN              BENNIE J              MD         98338564CX2388    THE LAW OFFICES OF PETER T. NICHOLL
FITZSIMMONS          MIRIAM                MD         24X02001146          THE LAW OFFICES OF PETER T. NICHOLL                  FOREMAN              MARGARET              MD         98338564CX2388    THE LAW OFFICES OF PETER T. NICHOLL
FLADGER              JONATHAN O            VA         700CL0232232V05      THE LAW OFFICES OF PETER T. NICHOLL                  FOREMAN              ROBERT M              VA         740CL0100329000   THE LAW OFFICES OF PETER T. NICHOLL
FLAGER               CLAUDE M              MD         24X05000134          THE LAW OFFICES OF PETER T. NICHOLL                  FORMAN               HARRY                 MD         24X03000065       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                 Appendix A - 761
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 96 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

FORMAN               JAMES                 MD         98338557CX2381    THE LAW OFFICES OF PETER T. NICHOLL                  FOWLKES              RICHARD H             MD         24X06000390       THE LAW OFFICES OF PETER T. NICHOLL
FORMAN               LINDA L               MD         24X03000065       THE LAW OFFICES OF PETER T. NICHOLL                  FOWLKES-BEY          RONALD S              MD         24X13000001       THE LAW OFFICES OF PETER T. NICHOLL
FORMAN               RHONDA                MD         98338557CX2381    THE LAW OFFICES OF PETER T. NICHOLL                  FOX                  DONALD L              VA         740CL0200069400   THE LAW OFFICES OF PETER T. NICHOLL
FORREST              ANTHONY R             VA         740CL0300028400   THE LAW OFFICES OF PETER T. NICHOLL                  FOX                  ROOSEVELT             VA         740CL0300158200   THE LAW OFFICES OF PETER T. NICHOLL
FORREST              CHARLENE              MD         24X06000547       THE LAW OFFICES OF PETER T. NICHOLL                  FOX                  RUPERT                VA         740CL0100164600   THE LAW OFFICES OF PETER T. NICHOLL
FORREST              DOUGLAS T             MD         24X06000547       THE LAW OFFICES OF PETER T. NICHOLL                  FOX                  WILLIAM D             VA         740CL0100200600   THE LAW OFFICES OF PETER T. NICHOLL
FORREST              ETHEL S               VA         740CL0200358800   THE LAW OFFICES OF PETER T. NICHOLL                  FOXE                 ROBERT L              VA         011208            THE LAW OFFICES OF PETER T. NICHOLL
FORREST              JERRY D               VA         700CL0232729C03   THE LAW OFFICES OF PETER T. NICHOLL                  FOXWELL              JOHN E                VA         740CL0200313200   THE LAW OFFICES OF PETER T. NICHOLL
FORREST              JOHN L                VA         740CL0200358800   THE LAW OFFICES OF PETER T. NICHOLL                  FOY                  GERALDINE K           MD         24X05000464       THE LAW OFFICES OF PETER T. NICHOLL
FORREST              LT                    VA         01631             THE LAW OFFICES OF PETER T. NICHOLL                  FOY                  JOSEPH R              MD         24X05000464       THE LAW OFFICES OF PETER T. NICHOLL
FORREST              STEVEN                VA         0083600           THE LAW OFFICES OF PETER T. NICHOLL                  FOYE                 RUDOLPH               VA         31949RC           THE LAW OFFICES OF PETER T. NICHOLL
FORSTER              GORDON R              MD         24X11000793       THE LAW OFFICES OF PETER T. NICHOLL                  FRANCE               GERNIE P              VA         740CL0200038000   THE LAW OFFICES OF PETER T. NICHOLL
FORSYTHE             RAYMOND E             MD         24X05000493       THE LAW OFFICES OF PETER T. NICHOLL                  FRANCE               SYLVESTER E           MD         24X02001820       THE LAW OFFICES OF PETER T. NICHOLL
FORSYTHE             RUTH D                MD         24X05000493       THE LAW OFFICES OF PETER T. NICHOLL                  FRANCIS              JACK                  VA         740CL0100162700   THE LAW OFFICES OF PETER T. NICHOLL
FORTE                JUANITA               MD         X01000741         THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             ALVIN N               MD         98183506CX1333    THE LAW OFFICES OF PETER T. NICHOLL
FORTE                LINDSAY               MD         X01000741         THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             BENJAMIN L            VA         0028809A04        THE LAW OFFICES OF PETER T. NICHOLL
FORTE                THELMA H              MD         24X03000751       THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             CURTIS L              VA         011044            THE LAW OFFICES OF PETER T. NICHOLL
FORTUNA              THEODORE G            VA         740CL0100329100   THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             DANIEL E              VA         740CL0200006200   THE LAW OFFICES OF PETER T. NICHOLL
FOSKEY               WILLIAM H             VA         740CL0200075000   THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             GEORGE                MD         24X02001086       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               ALVIN D               VA         0089900           THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             GEORGIA A             MD         24X14000491       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               AUSTIN                VA         102600            THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             KAREN LOIS            MD         24X02001086       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               DEBORAH               MD         24X02001824       THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             MARY E                MD         24X06000021       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               DOROTHY J             VA         700CL0538944H02   THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             RILEY L               MD         24X06000021       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               EDWARD                MD         24X02001815       THE LAW OFFICES OF PETER T. NICHOLL                  FRANKLIN             VERNON J              MD         24X02002000       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               ERNEST R              MD         24X03001144       THE LAW OFFICES OF PETER T. NICHOLL                  FRANZ                JOHN P                MD         98197509CX1407    THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               ESTELLE               MD         24X13000067       THE LAW OFFICES OF PETER T. NICHOLL                  FRANZ                JOHN P                MD         24X05000507       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               FLOYD H               MD         24X02000891       THE LAW OFFICES OF PETER T. NICHOLL                  FRANZ                PHYLLIS A             MD         24X05000507       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               GEORGE                VA         001604            THE LAW OFFICES OF PETER T. NICHOLL                  FRANZ                PHYLLIS A             MD         98197509CX1407    THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               GEORGE                VA         700CL0538944H02   THE LAW OFFICES OF PETER T. NICHOLL                  FRASER               MERVYN                MD         24X02000551       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               GREGORY L             MD         24X02002001       THE LAW OFFICES OF PETER T. NICHOLL                  FRAUGHNAUGH          LEWIS E               VA         740CL0200043500   THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               GWYNETTE              MD         24X01001540       THE LAW OFFICES OF PETER T. NICHOLL                  FRAVEL               MARY AGNES            MD         24X17000542       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               JACK                  VA         29101VC           THE LAW OFFICES OF PETER T. NICHOLL                  FRAVEL               MARY AGNES            MD         X99002227         THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               JAMES C               VA         740CL0200048200   THE LAW OFFICES OF PETER T. NICHOLL                  FRAZEE               CLAIRE V              MD         24X06000467       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               JEANIE                MD         24X02001815       THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              CURTIS                MD         24X12000738       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               JEROME                MD         24X02001824       THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              JEAN R                MD         24X15000123       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               JOHN R                MD         98254502CX1702    THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              JOSEPH                MD         X01000189         THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               JOHNNIE E             VA         001132            THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              JOSIAH O              MD         24X15000123       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               LARRY D               VA         700CL0232480V05   THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              REGINALD              MD         24X12000775       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               LEROY E               VA         001764            THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              SIMA                  MD         X01000189         THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               MARY                  MD         24X06000410       THE LAW OFFICES OF PETER T. NICHOLL                  FRAZIER              VERNELL S             MD         24X15000123       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               MARY                  MD         98254502CX1702    THE LAW OFFICES OF PETER T. NICHOLL                  FREDERICK            CLAUDE E              VA         740CL0200295900   THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               NORMAN                MD         24X13000067       THE LAW OFFICES OF PETER T. NICHOLL                  FREDERICK            FRANKLYN              MD         24X12000911       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               ROBERT L              MD         24X15000132       THE LAW OFFICES OF PETER T. NICHOLL                  FREDERICK            HARRY                 MD         24X02000618       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               ROBERT L              MD         24X01001540       THE LAW OFFICES OF PETER T. NICHOLL                  FREDERICK            KENNETH N             MD         24X02002605       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               SHERRI                MD         24X92311501       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              ALLEN D               VA         740CL0100172100   THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               WILLIAM H             VA         740CL9900195700   THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              BARBARA A             MD         24X02001417       THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               WILLIE                MD         24X11000280       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              CHARLES W             MD         98233511CX1637    THE LAW OFFICES OF PETER T. NICHOLL
FOSTER               ERNESTINE             MD         24X11000280       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              CLEVELAND L           VA         740CL0300027500   THE LAW OFFICES OF PETER T. NICHOLL
FOUNTAIN             ANDRE S               MD         24X02001238       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              GEORGE D              VA         740CL0100176800   THE LAW OFFICES OF PETER T. NICHOLL
FOUNTAIN             LEON                  MD         24X02000122       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              GEORGE W              VA         740CL0300158300   THE LAW OFFICES OF PETER T. NICHOLL
FOUST                JAMES R               MD         24X05000911       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              GREGORY               VA         002718            THE LAW OFFICES OF PETER T. NICHOLL
FOUST                LAURA                 MD         24X05000911       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              JACK                  MD         98338571CX2395    THE LAW OFFICES OF PETER T. NICHOLL
FOUST                PHYLLIS               MD         24X06000686       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              JAMES A               VA         32108VA           THE LAW OFFICES OF PETER T. NICHOLL
FOUST                PHYLLIS               MD         98197501CX1399    THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              JAMES E               VA         740CL0300093100   THE LAW OFFICES OF PETER T. NICHOLL
FOUST                STANLEY W             MD         98197501CX1399    THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              JOSEPH                MD         24X12000314       THE LAW OFFICES OF PETER T. NICHOLL
FOUST                STANLEY W             MD         24X06000686       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              KENNETH E             VA         700CL0437629T05   THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               ALAN D                MD         24X04000722       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              LAURENCE J            VA         740CL0300028500   THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               DAVID T               VA         29990VA           THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              MARTHA                MD         98338571CX2395    THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               JOSEPH L              VA         740CL0100129100   THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              PAUL                  VA         700CL0235923A04   THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               JOSEPH L              VA         700CL0538945V04   THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              PAUL                  VA         28069VA           THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               SHIRLEY A             MD         24X05000837       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              PAUL                  VA         700CL0538946J05   THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               SHIRLEY L             VA         700CL0538945V04   THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              QUEENIE R             VA         700CL0538946J05   THE LAW OFFICES OF PETER T. NICHOLL
FOWLER               WILLIAM M             MD         24X15000118       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              ROBERT E              MD         24X02001417       THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              ALICE I               MD         24X05000711       THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              ROBERT H              VA         700CL0438824P03   THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              ARIZONA               MD         98316507CX2125    THE LAW OFFICES OF PETER T. NICHOLL                  FREEMAN              THURMAN L             MD         24X02002531       THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              ARIZONA L             MD         24X06000390       THE LAW OFFICES OF PETER T. NICHOLL                  FREERKSEN            RUSSELL D             VA         700CL0235671V05   THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              CARROLL O             VA         740CL0200039500   THE LAW OFFICES OF PETER T. NICHOLL                  FRENTZ               PATRESE               MD         24X04000934       THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              HAROLD F              MD         01000234          THE LAW OFFICES OF PETER T. NICHOLL                  FREY                 MARY ANN              MD         24X04000229       THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              IRENE                 MD         24X05000475       THE LAW OFFICES OF PETER T. NICHOLL                  FREY                 ROBERT E              MD         24X04000229       THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              JOHN M                MD         24X05000475       THE LAW OFFICES OF PETER T. NICHOLL                  FRIEDEL              ANDREW K              MD         24X02000983       THE LAW OFFICES OF PETER T. NICHOLL
FOWLKES              RICHARD H             MD         98316507CX2125    THE LAW OFFICES OF PETER T. NICHOLL                  FRIEDEL              CORINNE               MD         24X02000983       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 762
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 97 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

FRIEDMAN             TYRONE                MD         24X02001728       THE LAW OFFICES OF PETER T. NICHOLL                  GALES                LOUCYLLE              MD         24X03000935       THE LAW OFFICES OF PETER T. NICHOLL
FRIER                HOWARD F              VA         01926             THE LAW OFFICES OF PETER T. NICHOLL                  GALES                ROSIE                 MD         24X01001323       THE LAW OFFICES OF PETER T. NICHOLL
FRIERSON             BALJEAN               MD         24X12000629       THE LAW OFFICES OF PETER T. NICHOLL                  GALLAGHER            SUSAN                 MD         24X95153553       THE LAW OFFICES OF PETER T. NICHOLL
FRIERSON             JOE N                 MD         24X12000629       THE LAW OFFICES OF PETER T. NICHOLL                  GALLAMORE            ANNETTE W             VA         700CL0539110J05   THE LAW OFFICES OF PETER T. NICHOLL
FRINK                EDNA M                MD         24X11000199       THE LAW OFFICES OF PETER T. NICHOLL                  GALLAMORE            CALVIN J              VA         700CL0233179H02   THE LAW OFFICES OF PETER T. NICHOLL
FRINK                JERRY                 VA         700CL0232748A04   THE LAW OFFICES OF PETER T. NICHOLL                  GALLION              ADA                   MD         24X04001054       THE LAW OFFICES OF PETER T. NICHOLL
FRISBY               WILLIAM F             MD         24X01001065       THE LAW OFFICES OF PETER T. NICHOLL                  GALLION              MORRIS                MD         24X04001054       THE LAW OFFICES OF PETER T. NICHOLL
FRYE                 MAYNARD E             MD         24X10000135       THE LAW OFFICES OF PETER T. NICHOLL                  GALLOWAY             CURT D                MD         24X04000977       THE LAW OFFICES OF PETER T. NICHOLL
FULGHAM              ALTON L               MD         24X14000437       THE LAW OFFICES OF PETER T. NICHOLL                  GALLOWAY             GLORIA                MD         24X04000977       THE LAW OFFICES OF PETER T. NICHOLL
FULGHAM              ALVIN J               VA         740CL0100326400   THE LAW OFFICES OF PETER T. NICHOLL                  GALLOWAY             JAMES M               VA         700CL0337328V04   THE LAW OFFICES OF PETER T. NICHOLL
FULGHAM              CLARENCE W            VA         740CL0200122500   THE LAW OFFICES OF PETER T. NICHOLL                  GALLOWAY             WILLIAM K             MD         24X04000087       THE LAW OFFICES OF PETER T. NICHOLL
FULGHAM              FLETCHER J            VA         700CL0233120A04   THE LAW OFFICES OF PETER T. NICHOLL                  GALVIN               JOHN R                VA         021938            THE LAW OFFICES OF PETER T. NICHOLL
FULGHAM              JAMES L               VA         740CL0000202600   THE LAW OFFICES OF PETER T. NICHOLL                  GAMBLE               DORIS                 MD         24X01001320       THE LAW OFFICES OF PETER T. NICHOLL
FULGHUM              BOBBY R               VA         29586RW           THE LAW OFFICES OF PETER T. NICHOLL                  GAMBLE               EZEKIEL               MD         24X01001320       THE LAW OFFICES OF PETER T. NICHOLL
FULLARD              LACREASHA             MD         24X12001097       THE LAW OFFICES OF PETER T. NICHOLL                  GAMBLE               ROSEMARY              MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
FULLER               CLIFFORD R            VA         740CL0300123500   THE LAW OFFICES OF PETER T. NICHOLL                  GAMBLE               ROSEMARY              MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
FULLER               DAN L                 VA         740CL0200032200   THE LAW OFFICES OF PETER T. NICHOLL                  GAMBRILL             IRVIN                 MD         24X02001904       THE LAW OFFICES OF PETER T. NICHOLL
FULLER               GLENN L               MD         24X03000755       THE LAW OFFICES OF PETER T. NICHOLL                  GARDINER             RICHARD E             MD         24X06000618       THE LAW OFFICES OF PETER T. NICHOLL
FULLER               HUGH D                VA         700CL0437867W01   THE LAW OFFICES OF PETER T. NICHOLL                  GARDINER             THELMA L              MD         24X06000618       THE LAW OFFICES OF PETER T. NICHOLL
FULLER               MARY                  MD         24X03000755       THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              CALVIN P              VA         740CL0200181000   THE LAW OFFICES OF PETER T. NICHOLL
FULLER               SIDNEY H              VA         740CL0200038100   THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              ELGIN M               MD         24X02001403       THE LAW OFFICES OF PETER T. NICHOLL
FULLER               WARNER L              VA         740CL0200067900   THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              ELMORE                MD         24X02001416       THE LAW OFFICES OF PETER T. NICHOLL
FULLWOOD             ADOLPH                MD         24X01002053       THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              JAMES D               MD         24X03000723       THE LAW OFFICES OF PETER T. NICHOLL
FULLWOOD             GEORGIA               MD         24X01002053       THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              JAMES L               MD         24X04000794       THE LAW OFFICES OF PETER T. NICHOLL
FULLWOOD             NACONIEL E            VA         740CL0100318700   THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              JOYCE                 MD         24X02001416       THE LAW OFFICES OF PETER T. NICHOLL
FULMORE              MANZY                 MD         24X11000052       THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              PARK L                MD         24X01001426       THE LAW OFFICES OF PETER T. NICHOLL
FULTONBERGER         JOSEPH V              MD         24X07000357       THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              PAUL W                VA         740CL0300114500   THE LAW OFFICES OF PETER T. NICHOLL
FULTONBERGER         WANDA                 MD         24X07000357       THE LAW OFFICES OF PETER T. NICHOLL                  GARDNER              ROSALIE               MD         24X03000723       THE LAW OFFICES OF PETER T. NICHOLL
FULTZ                JEFFREY A             VA         29476RW           THE LAW OFFICES OF PETER T. NICHOLL                  GARLAND              BENJAMIN G            MD         24X02001234       THE LAW OFFICES OF PETER T. NICHOLL
FULTZ                RAYMOND               VA         29476RW           THE LAW OFFICES OF PETER T. NICHOLL                  GARLAND              DARLEEN               MD         24X04000907       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           BOZZIE                MD         98133508CX915     THE LAW OFFICES OF PETER T. NICHOLL                  GARLAND              LEONARD C             MD         24X04000907       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           CORDELLA              MD         98133508CX915     THE LAW OFFICES OF PETER T. NICHOLL                  GARLAND              MICHAEL G             MD         24X11000417       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           CURTIS                MD         98133508CX915     THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               ALAN A                MD         24X12000734       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           DOUGLAS               MD         98133508CX915     THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               CARL W                VA         740CL0200049100   THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           ILEASE C              MD         24X06000457       THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               CHRISTINE             MD         24X03000363       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           KEITH                 MD         98133508CX915     THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               DAVID                 MD         24X06000420       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           NATHANIEL D           MD         98133508CX915     THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               ERNEST F              MD         24X03000363       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           SHANNON               MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               LUTIE                 MD         24X06000420       THE LAW OFFICES OF PETER T. NICHOLL
FUNDERBURK           VL                    MD         24X06000457       THE LAW OFFICES OF PETER T. NICHOLL                  GARNER               PINKNEY L             MD         24X11000039       THE LAW OFFICES OF PETER T. NICHOLL
FUNKHOUSER           CARL B                MD         24X04000840       THE LAW OFFICES OF PETER T. NICHOLL                  GARNETT              WILLIAM H             VA         740CL0200374700   THE LAW OFFICES OF PETER T. NICHOLL
FUNKHOUSER           ROBERTA               MD         24X04000840       THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              AARON T               VA         740CL0100120300   THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              DENISE D              VA         001644            THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              ANNA                  MD         24X05000902       THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              ELTON                 VA         011154            THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              CALVIN D              VA         740CL0300158400   THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              JAMES                 VA         740CL0200020000   THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              CHARLES W             VA         700CL0437740H02   THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              JOHN T                VA         28034RW           THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              DONALD                VA         700CL0231820A04   THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              LEARY C               VA         740CL0200075100   THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              JESSE R               MD         24X01001750       THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              RAYMOND               VA         0082500           THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              JOHN R                VA         740CL0300101700   THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              WENDELL               VA         700CL0232749C03   THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              MD                    VA         740CL0100195000   THE LAW OFFICES OF PETER T. NICHOLL
FUTRELL              WILLIE                VA         001644            THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              NATHAN                MD         24X05000902       THE LAW OFFICES OF PETER T. NICHOLL
GABRIEL              JOHN H                VA         700CL0539148H02   THE LAW OFFICES OF PETER T. NICHOLL                  GARRETT              ROBERT C              VA         700CL0235924C03   THE LAW OFFICES OF PETER T. NICHOLL
GADDY                CLIFFORD A            MD         98288510CX1910    THE LAW OFFICES OF PETER T. NICHOLL                  GARRIS               EDWARD H              VA         0028862H02        THE LAW OFFICES OF PETER T. NICHOLL
GADSON               RONALD L              VA         700CL0438210T05   THE LAW OFFICES OF PETER T. NICHOLL                  GARRIS               GEORGE P              VA         740CL0300082600   THE LAW OFFICES OF PETER T. NICHOLL
GAFFORD              HORTON E              VA         700CL0437998V04   THE LAW OFFICES OF PETER T. NICHOLL                  GARRIS               JAMES M               VA         740CL0100326500   THE LAW OFFICES OF PETER T. NICHOLL
GAGE                 JANE S                VA         700CL0539591T01   THE LAW OFFICES OF PETER T. NICHOLL                  GARRIS               ROBERT G              VA         740CL0300015400   THE LAW OFFICES OF PETER T. NICHOLL
GAGE                 ROBERT C              VA         010970            THE LAW OFFICES OF PETER T. NICHOLL                  GARRISH              VERONICA              MD         24X01001407       THE LAW OFFICES OF PETER T. NICHOLL
GAGE                 ROBERT C              VA         700CL0539591T01   THE LAW OFFICES OF PETER T. NICHOLL                  GARRISH              WAYNE L               MD         24X01001407       THE LAW OFFICES OF PETER T. NICHOLL
GAINER               WALLACE S             VA         29152VC           THE LAW OFFICES OF PETER T. NICHOLL                  GARRISON             DAVID O               VA         104900            THE LAW OFFICES OF PETER T. NICHOLL
GAINERS              DELORES               MD         24X01001403       THE LAW OFFICES OF PETER T. NICHOLL                  GARROW               GEORGE L              VA         001184            THE LAW OFFICES OF PETER T. NICHOLL
GAINERS              THOMAS H              MD         24X01001403       THE LAW OFFICES OF PETER T. NICHOLL                  GARTSIDE             JUNE R                MD         24X10000099       THE LAW OFFICES OF PETER T. NICHOLL
GAINES               DAVID A               VA         29551RW           THE LAW OFFICES OF PETER T. NICHOLL                  GARVER               DONALD B              MD         X99000412         THE LAW OFFICES OF PETER T. NICHOLL
GAINEY               FERENZO G SR          VA         700CL0028488H02   THE LAW OFFICES OF PETER T. NICHOLL                  GARVER               HANNA L               MD         X99000412         THE LAW OFFICES OF PETER T. NICHOLL
GAINEY               RUSSELL B             VA         001809            THE LAW OFFICES OF PETER T. NICHOLL                  GARWOOD              WILLIAM W             VA         700CL0232227V05   THE LAW OFFICES OF PETER T. NICHOLL
GAITHER              CALVIN C              MD         24X09000027       THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 ANNIE E               VA         29035RC           THE LAW OFFICES OF PETER T. NICHOLL
GAITHER              MARY                  MD         24X01001355       THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 CATHERINE             MD         24X08000247       THE LAW OFFICES OF PETER T. NICHOLL
GAITHER              WILLIAM T             MD         24X01001355       THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 CORA L                VA         700CL0539111T01   THE LAW OFFICES OF PETER T. NICHOLL
GAJEWSKI             HELEN                 MD         98133512CX919     THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 HARRY A               VA         700CL0235925W01   THE LAW OFFICES OF PETER T. NICHOLL
GAJEWSKI             THOMAS R              MD         98133512CX919     THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 LAWRENCE T            MD         24X08000247       THE LAW OFFICES OF PETER T. NICHOLL
GALE                 HOPE L                MD         98197511CX1409    THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 MELVIN L              VA         001391            THE LAW OFFICES OF PETER T. NICHOLL
GALE                 NATHANIEL R           MD         24X09000486       THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 NAPOLEON              VA         29035RC           THE LAW OFFICES OF PETER T. NICHOLL
GALES                CHARLES               MD         24X01001323       THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 PARR A                MD         24X08000232       THE LAW OFFICES OF PETER T. NICHOLL
GALES                ERNEST                MD         24X03000935       THE LAW OFFICES OF PETER T. NICHOLL                  GARY                 RICHARD R             VA         740CL0100113100   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 763
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 98 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

GARY                 RONALD L              MD         24X11000070       THE LAW OFFICES OF PETER T. NICHOLL                  GERLOCK              WALTER                MD         98261501CX1725    THE LAW OFFICES OF PETER T. NICHOLL
GARY                 WARREN C              VA         700CL0232739C03   THE LAW OFFICES OF PETER T. NICHOLL                  GERLOCK              WALTER                MD         24X09000195       THE LAW OFFICES OF PETER T. NICHOLL
GASKILL              WILLIAM B             VA         700CL0231859V05   THE LAW OFFICES OF PETER T. NICHOLL                  GERMAN               MEL C                 MD         98267501CX1790    THE LAW OFFICES OF PETER T. NICHOLL
GASKINS              ATLAS L               VA         700CL0235926V05   THE LAW OFFICES OF PETER T. NICHOLL                  GERVAIS              LOUIS F               MD         X01001127         THE LAW OFFICES OF PETER T. NICHOLL
GASQUE               JOE                   MD         24X01002117       THE LAW OFFICES OF PETER T. NICHOLL                  GERVAIS              MARGARET              MD         X01001127         THE LAW OFFICES OF PETER T. NICHOLL
GASQUE               MAMIE                 MD         24X04000324       THE LAW OFFICES OF PETER T. NICHOLL                  GETTIER              JEANNE                MD         24X12000737       THE LAW OFFICES OF PETER T. NICHOLL
GASS                 JOSEPH                MD         24X04000562       THE LAW OFFICES OF PETER T. NICHOLL                  GETTIER              JOSEPH P              MD         24X10000499       THE LAW OFFICES OF PETER T. NICHOLL
GAST                 CAROLYN E             MD         98323504CX2183    THE LAW OFFICES OF PETER T. NICHOLL                  GETTIER              MICHAEL T             MD         24X12000737       THE LAW OFFICES OF PETER T. NICHOLL
GAST                 WILLIAM J             MD         98323504CX2183    THE LAW OFFICES OF PETER T. NICHOLL                  GEWIN                AUDREY V              VA         740CL0300093200   THE LAW OFFICES OF PETER T. NICHOLL
GASTON               CORNELIUS             VA         700CL0235849C03   THE LAW OFFICES OF PETER T. NICHOLL                  GHOLSTON             LEROY                 VA         740CL0100161000   THE LAW OFFICES OF PETER T. NICHOLL
GASTON               JAMES A               VA         700CL0438692J05   THE LAW OFFICES OF PETER T. NICHOLL                  GIBBONS              JAMES A               VA         700CL0232233A04   THE LAW OFFICES OF PETER T. NICHOLL
GASTON               JESSIE L              VA         700CL0232196W01   THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                CHARLES               MD         24X04000088       THE LAW OFFICES OF PETER T. NICHOLL
GASTON               SUSAN                 MD         24X97330503       THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                CLEO                  MD         24X02001978       THE LAW OFFICES OF PETER T. NICHOLL
GATEWOOD             ALEXANDER O JR        VA         28741RW           THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                ELMER E SR            MD         98260505CX1723    THE LAW OFFICES OF PETER T. NICHOLL
GATLIN               OTIS L                VA         002135            THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                LEN K                 VA         740CL0200122600   THE LAW OFFICES OF PETER T. NICHOLL
GATLING              CECIL L               VA         30169VC           THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                LENIOUS C             VA         011143            THE LAW OFFICES OF PETER T. NICHOLL
GATLING              CLARENCE              MD         24X02001713       THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                MARION                MD         24X02001978       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              DOROTHY W             VA         700CL0539389P03   THE LAW OFFICES OF PETER T. NICHOLL                  GIBBS                WILLIE                VA         101173            THE LAW OFFICES OF PETER T. NICHOLL
GATLING              ELEY                  VA         0028905V05        THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               ALBERTUS              MD         24X05000908       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              EUGENE                VA         740CL0200374800   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               AZALEE                MD         98310517CX2095    THE LAW OFFICES OF PETER T. NICHOLL
GATLING              FLOSSIE               VA         700CL0539396V04   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               BILLIE L              VA         700CL0232750W01   THE LAW OFFICES OF PETER T. NICHOLL
GATLING              JESSIE L              VA         740CL0300243200   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               CASTELIA              MD         24X02002612       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              JOHN E                VA         740CL0300158500   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               EARL R                VA         740CL0100129200   THE LAW OFFICES OF PETER T. NICHOLL
GATLING              JOHNNIE               VA         710CL0100319600   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               ERVIN                 MD         24X02002612       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              JOHNNIE               VA         700CL0539389P03   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               ROY                   MD         24X01000595       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              LESLIE D              VA         0028883W01        THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               RUSSELL               MD         24X01001079       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              LINWOOD T             VA         740CL0300121800   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               SARAH M               MD         24X05000908       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              LINWOOD T             VA         700CL0539397J05   THE LAW OFFICES OF PETER T. NICHOLL                  GIBSON               WILLIE                MD         98310517CX2095    THE LAW OFFICES OF PETER T. NICHOLL
GATLING              MARY J                VA         700CL0539397J05   THE LAW OFFICES OF PETER T. NICHOLL                  GIELNER              PATRICIA              MD         24X04000669       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              PATSY                 MD         24X02001713       THE LAW OFFICES OF PETER T. NICHOLL                  GIELNER              RONALD J              MD         24X04000669       THE LAW OFFICES OF PETER T. NICHOLL
GATLING              ROOSEVELT             VA         740CL0200075200   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            AL VIRGINIA           VA         700CL0538948P03   THE LAW OFFICES OF PETER T. NICHOLL
GATLING              STANLEY L             VA         700CL0235859C03   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            FLOYD D               VA         740CL0200069500   THE LAW OFFICES OF PETER T. NICHOLL
GATLING              WILLIAM               VA         700CL0539133H02   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            GREGORY               MD         24X02001857       THE LAW OFFICES OF PETER T. NICHOLL
GAUDREAU             CHARLES H             VA         740CL0300198900   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            JANE A                VA         700CL0539378T01   THE LAW OFFICES OF PETER T. NICHOLL
GAY                  CHARLES E             VA         740CL0200296000   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            KENNETH P             VA         29587VC           THE LAW OFFICES OF PETER T. NICHOLL
GAY                  DONALD L              VA         740CL0200374900   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            LEONARD W             VA         700CL0437761T05   THE LAW OFFICES OF PETER T. NICHOLL
GAY                  JAMES L               VA         740CL0100311600   THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            ROYAD                 VA         740CL0200018300   THE LAW OFFICES OF PETER T. NICHOLL
GAY                  WILLIAM J             VA         99001872          THE LAW OFFICES OF PETER T. NICHOLL                  GILCHRIST            ROYAD                 VA         700CL0538948P03   THE LAW OFFICES OF PETER T. NICHOLL
GAYLE                CHARLES               VA         011209            THE LAW OFFICES OF PETER T. NICHOLL                  GILES                FRANCES A             VA         700CL0539390H02   THE LAW OFFICES OF PETER T. NICHOLL
GAYLE                MELVIN N              VA         29737RC           THE LAW OFFICES OF PETER T. NICHOLL                  GILES                LARRY A               MD         24X02002004       THE LAW OFFICES OF PETER T. NICHOLL
GAYLOR               MARVIN A              VA         700CL0438008V04   THE LAW OFFICES OF PETER T. NICHOLL                  GILES                LULA                  MD         24X02002004       THE LAW OFFICES OF PETER T. NICHOLL
GAYLORD              DORIS                 MD         24X09000284       THE LAW OFFICES OF PETER T. NICHOLL                  GILES                MARK A                VA         0089200           THE LAW OFFICES OF PETER T. NICHOLL
GAYNOR               LUCILLE               MD         24X02001378       THE LAW OFFICES OF PETER T. NICHOLL                  GILES                RONALD A              VA         740CL0100211700   THE LAW OFFICES OF PETER T. NICHOLL
GEBHARDT             HENRY E               MD         24X02001382       THE LAW OFFICES OF PETER T. NICHOLL                  GILES                WILLIE                VA         29991EH           THE LAW OFFICES OF PETER T. NICHOLL
GEDDIE               COLUMBUS A            VA         29059RW           THE LAW OFFICES OF PETER T. NICHOLL                  GILES                WILLIE                VA         700CL0539390H02   THE LAW OFFICES OF PETER T. NICHOLL
GEE                  FLORENCE              MD         24X06000533       THE LAW OFFICES OF PETER T. NICHOLL                  GILL                 CRAWFORD T            MD         24X01001166       THE LAW OFFICES OF PETER T. NICHOLL
GEE                  LUCINDY               MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  GILL                 DOTRESS               MD         24X05000154       THE LAW OFFICES OF PETER T. NICHOLL
GEE                  MAC MCKINLEY          MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  GILL                 DOTRESS               MD         99001442          THE LAW OFFICES OF PETER T. NICHOLL
GEE                  REGINALD              MD         24X02000982       THE LAW OFFICES OF PETER T. NICHOLL                  GILL                 RICHARD L             MD         99001442          THE LAW OFFICES OF PETER T. NICHOLL
GEE                  ROOSEVELT M           MD         24X06000533       THE LAW OFFICES OF PETER T. NICHOLL                  GILL                 RICHARD L             MD         24X05000154       THE LAW OFFICES OF PETER T. NICHOLL
GEE                  VERNON M              MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  GILLAND              LOUIS S               MD         98177505CX1298    THE LAW OFFICES OF PETER T. NICHOLL
GEE                  WALTER                MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  GILLESPIE            CURTIS H              VA         700CL0539121T01   THE LAW OFFICES OF PETER T. NICHOLL
GEIGER               EDWARD                MD         24X06000158       THE LAW OFFICES OF PETER T. NICHOLL                  GILLESPIE            HELEN O               MD         24X06000442       THE LAW OFFICES OF PETER T. NICHOLL
GEIGER               NITA F                MD         24X06000158       THE LAW OFFICES OF PETER T. NICHOLL                  GILLESPIE            RUSSELL L             MD         24X06000442       THE LAW OFFICES OF PETER T. NICHOLL
GENERETTE            EARL E                MD         01000271          THE LAW OFFICES OF PETER T. NICHOLL                  GILLEY               CHARLES D             MD         24X15000120       THE LAW OFFICES OF PETER T. NICHOLL
GENTRY               RANDALL G             VA         740CL0200075300   THE LAW OFFICES OF PETER T. NICHOLL                  GILLEY               PAULA                 MD         24X15000120       THE LAW OFFICES OF PETER T. NICHOLL
GENUS                JAMES H               VA         700CL0235783A04   THE LAW OFFICES OF PETER T. NICHOLL                  GILLEY               RALPH B               VA         740CL0100188700   THE LAW OFFICES OF PETER T. NICHOLL
GENWRIGHT            JAMES M               MD         24X02001381       THE LAW OFFICES OF PETER T. NICHOLL                  GILLEY               RONALD W              MD         24X08000390       THE LAW OFFICES OF PETER T. NICHOLL
GEORGE               DARLENE               MD         24X10000285       THE LAW OFFICES OF PETER T. NICHOLL                  GILLEY               ROSE L                MD         24X08000390       THE LAW OFFICES OF PETER T. NICHOLL
GEORGE               DAVID J               VA         740CL0000047300   THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              BOBBY H               MD         98190505CX1364    THE LAW OFFICES OF PETER T. NICHOLL
GEORGE               GARY S                MD         24X10000285       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              GLENDA J              MD         98190505CX1364    THE LAW OFFICES OF PETER T. NICHOLL
GEORGE               TINA F                MD         24X06000051       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              HENRY J               MD         24X04000887       THE LAW OFFICES OF PETER T. NICHOLL
GEORGE               WILLIAM H             MD         24X02001977       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              JAMES O               VA         700CL0437755H02   THE LAW OFFICES OF PETER T. NICHOLL
GEPHARDT             FRANK C               MD         24X11000302       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              JOHN R                VA         740CL0300093300   THE LAW OFFICES OF PETER T. NICHOLL
GEPHARDT             JOYCE A               MD         24X11000302       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              LUCIUS D              VA         01874             THE LAW OFFICES OF PETER T. NICHOLL
GERBER               LINDA M               MD         24X04000802       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              PRISCILLA             MD         24X04000887       THE LAW OFFICES OF PETER T. NICHOLL
GERBER               WILLIAM S             MD         24X04000802       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              THOMAS E              VA         0028863W01        THE LAW OFFICES OF PETER T. NICHOLL
GERBIG               CARROLL J             MD         24X01001873       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              TYRONE D              MD         24X02000883       THE LAW OFFICES OF PETER T. NICHOLL
GERCZAK              PETER J               MD         24X11000040       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIAM              WILLIAM B             VA         CL9927840W01      THE LAW OFFICES OF PETER T. NICHOLL
GERLOCK              DONNA C               MD         98261501CX1725    THE LAW OFFICES OF PETER T. NICHOLL                  GILLIS               ELVERTHA D            MD         X98402616         THE LAW OFFICES OF PETER T. NICHOLL
GERLOCK              DONNA C               MD         24X09000195       THE LAW OFFICES OF PETER T. NICHOLL                  GILLIS               GLORIA J              MD         24X06000023       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 764
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 99 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

GILLIS               HENRY                 VA         740CL0200053400   THE LAW OFFICES OF PETER T. NICHOLL                  GOLDIAN              JOHN V                MD         24X04000631       THE LAW OFFICES OF PETER T. NICHOLL
GILLIS               HERBERT W             MD         X98402616         THE LAW OFFICES OF PETER T. NICHOLL                  GOLDSTONE            DANIEL                VA         700CL0232228A04   THE LAW OFFICES OF PETER T. NICHOLL
GILLIS               JAMES L               VA         740CL0300113300   THE LAW OFFICES OF PETER T. NICHOLL                  GOLDWIRE             OLLIE M               MD         X98402615         THE LAW OFFICES OF PETER T. NICHOLL
GILLIS               WILLIE L              VA         740CL0300158600   THE LAW OFFICES OF PETER T. NICHOLL                  GOLDWIRE             SAMUEL                MD         X98402615         THE LAW OFFICES OF PETER T. NICHOLL
GILLS                DABNEY H              VA         740CL0200084700   THE LAW OFFICES OF PETER T. NICHOLL                  GOLIS                JOHN A                MD         24X06000592       THE LAW OFFICES OF PETER T. NICHOLL
GILMORE              JOHNNIE L             VA         740CL9900197600   THE LAW OFFICES OF PETER T. NICHOLL                  GOLIS                LEONA                 MD         24X06000592       THE LAW OFFICES OF PETER T. NICHOLL
GILMORE              WILLIAM H             MD         98218505CX1538    THE LAW OFFICES OF PETER T. NICHOLL                  GOMEZ                RONALD K              MD         24X15000183       THE LAW OFFICES OF PETER T. NICHOLL
GILROY               JEROME A              MD         98309503CX2063    THE LAW OFFICES OF PETER T. NICHOLL                  GONGLEWSKI           MARGARET H            MD         24X06000176       THE LAW OFFICES OF PETER T. NICHOLL
GILROY               PATRICIA K            MD         98309503CX2063    THE LAW OFFICES OF PETER T. NICHOLL                  GONGLEWSKI           MARION A              MD         24X06000176       THE LAW OFFICES OF PETER T. NICHOLL
GINTLING             NEVIN J               MD         24X06000064       THE LAW OFFICES OF PETER T. NICHOLL                  GONSHOR              IRENE C               MD         24X06000668       THE LAW OFFICES OF PETER T. NICHOLL
GINTLING             PEARL                 MD         24X06000064       THE LAW OFFICES OF PETER T. NICHOLL                  GONZALES             PATRICIA              MD         24X14000477       THE LAW OFFICES OF PETER T. NICHOLL
GIPSON               JOSEPH                MD         24X02001717       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                ALBERT C              MD         99000265          THE LAW OFFICES OF PETER T. NICHOLL
GIPSON               MARY                  MD         24X02001717       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                CATHERINE E           MD         98191507CX1372    THE LAW OFFICES OF PETER T. NICHOLL
GISTEDT              JOHN J                MD         24X03000700       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                DELORES W             MD         99000265          THE LAW OFFICES OF PETER T. NICHOLL
GIVENS               CALVIN E              MD         24X02000972       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                LEE JR                VA         28014RW           THE LAW OFFICES OF PETER T. NICHOLL
GIVENS               DEBORAH               MD         24X02000972       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                MELVIN                MD         24X02001889       THE LAW OFFICES OF PETER T. NICHOLL
GLADDEN              BERDELLA              MD         24X11000307       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                MILDRED I             MD         24X05000506       THE LAW OFFICES OF PETER T. NICHOLL
GLADDEN              DAVID R               MD         24X02002434       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                NELDER A              MD         24X02001889       THE LAW OFFICES OF PETER T. NICHOLL
GLAROS               JOHN                  MD         24X04000558       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                ROBERT E              VA         740CL0100329200   THE LAW OFFICES OF PETER T. NICHOLL
GLAROS               PAMELA                MD         24X04000558       THE LAW OFFICES OF PETER T. NICHOLL                  GOODE                VERNON                MD         24X04000725       THE LAW OFFICES OF PETER T. NICHOLL
GLASGOW              DIANE                 MD         24X01000590       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              ALVIN                 VA         31950RW           THE LAW OFFICES OF PETER T. NICHOLL
GLASGOW              MARY                  MD         24X02002107       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              CHARLIE               VA         700CL0438730V04   THE LAW OFFICES OF PETER T. NICHOLL
GLASGOW              RUFUS E               MD         24X01000590       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              EDNA E                VA         740CL0300240400   THE LAW OFFICES OF PETER T. NICHOLL
GLASGOW              RUSSELL S             MD         24X02002107       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              GLENDA                MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
GLASHOFF             NORMA L               MD         24X05000144       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              GLENDON A             VA         740CL0200075400   THE LAW OFFICES OF PETER T. NICHOLL
GLASHOFF             RUSSELL G             MD         24X05000144       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              GLENDON A             VA         700CL0539582P03   THE LAW OFFICES OF PETER T. NICHOLL
GLAZEBROOK           CLYDE O               VA         700CL0232751V05   THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              IRIS I                VA         700CL0539582P03   THE LAW OFFICES OF PETER T. NICHOLL
GLEASON              MARGIE A              MD         24X10000298       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              ISAAC S               VA         001507            THE LAW OFFICES OF PETER T. NICHOLL
GLEBAS               EDWARD R              MD         98134504CX926     THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              JERRY L               VA         740CL0200375000   THE LAW OFFICES OF PETER T. NICHOLL
GLEBAS               EDWARD R              MD         24X11000194       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              LEONARD A             VA         29592VC           THE LAW OFFICES OF PETER T. NICHOLL
GLEBAS               JUDITH A              MD         24X11000194       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              MILTON E              VA         28556VA           THE LAW OFFICES OF PETER T. NICHOLL
GLEBAS               JUDITH A              MD         98134504CX926     THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              PHILIP L              MD         24X06000555       THE LAW OFFICES OF PETER T. NICHOLL
GLENN                EDWARD A              MD         24X02001380       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              RICHARD               VA         CL9927869H02      THE LAW OFFICES OF PETER T. NICHOLL
GLENN                HARRY D               MD         24X02002106       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              SHARON K              MD         24X06000555       THE LAW OFFICES OF PETER T. NICHOLL
GLENN                HELEN                 MD         24X02001380       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              THEODORE R            VA         700CL0232740W01   THE LAW OFFICES OF PETER T. NICHOLL
GLENN                LINDA M               MD         24X05000636       THE LAW OFFICES OF PETER T. NICHOLL                  GOODMAN              WAVERLY               VA         0083700           THE LAW OFFICES OF PETER T. NICHOLL
GLENN                WALTER G              MD         24X02001821       THE LAW OFFICES OF PETER T. NICHOLL                  GOODRICH             ROBERT J              VA         700CL0232079H02   THE LAW OFFICES OF PETER T. NICHOLL
GLENN                WILBUR A              MD         X01000491         THE LAW OFFICES OF PETER T. NICHOLL                  GOODWILL             GARY L                MD         X01000182         THE LAW OFFICES OF PETER T. NICHOLL
GLISPY               ANGELO A              MD         98295511CX1977    THE LAW OFFICES OF PETER T. NICHOLL                  GOODWILL             JANICE                MD         X01000182         THE LAW OFFICES OF PETER T. NICHOLL
GLORIOSO             DONNA                 MD         24X06000268       THE LAW OFFICES OF PETER T. NICHOLL                  GOODWIN              JAMES L               VA         740CL0200038200   THE LAW OFFICES OF PETER T. NICHOLL
GLORIOSO             FRANK                 MD         24X06000268       THE LAW OFFICES OF PETER T. NICHOLL                  GOODWYN              ALVIN                 MD         24X02001851       THE LAW OFFICES OF PETER T. NICHOLL
GLOVER               ARTHUR                MD         24X01001569       THE LAW OFFICES OF PETER T. NICHOLL                  GOOLSBY              WILLIE T              VA         31844VC           THE LAW OFFICES OF PETER T. NICHOLL
GLOVER               CORNELIUS W           VA         700CL0235850W01   THE LAW OFFICES OF PETER T. NICHOLL                  GORDON               ANDREA                MD         X01000603         THE LAW OFFICES OF PETER T. NICHOLL
GLOVER               JAMES P               MD         24X01001799       THE LAW OFFICES OF PETER T. NICHOLL                  GORDON               COLUMBUS              VA         700CL0437756T05   THE LAW OFFICES OF PETER T. NICHOLL
GLOVER               LAWRENCE              MD         24X04000724       THE LAW OFFICES OF PETER T. NICHOLL                  GORDON               EARL T                MD         24X08000462       THE LAW OFFICES OF PETER T. NICHOLL
GLOVER               MAXINE                MD         24X04000724       THE LAW OFFICES OF PETER T. NICHOLL                  GORDON               GARLAND H             MD         X01000603         THE LAW OFFICES OF PETER T. NICHOLL
GLUTH                JOANNE                MD         24X14000492       THE LAW OFFICES OF PETER T. NICHOLL                  GORDON               SANDRA                MD         24X08000462       THE LAW OFFICES OF PETER T. NICHOLL
GLUTH                WILLIAM               MD         24X14000492       THE LAW OFFICES OF PETER T. NICHOLL                  GORE                 EDWARD M              VA         001784            THE LAW OFFICES OF PETER T. NICHOLL
GODFREY              ARTHUR R              VA         700CL0438234H02   THE LAW OFFICES OF PETER T. NICHOLL                  GORE                 WILBERT C             VA         740CL0300033200   THE LAW OFFICES OF PETER T. NICHOLL
GODFREY              GARLAND               VA         700CL0438729P03   THE LAW OFFICES OF PETER T. NICHOLL                  GORHAM               JAMES E               VA         01633             THE LAW OFFICES OF PETER T. NICHOLL
GODFREY              GORDON A              VA         700CL0438728T01   THE LAW OFFICES OF PETER T. NICHOLL                  GORMAN               EDWARD P              MD         24X07000420       THE LAW OFFICES OF PETER T. NICHOLL
GODSEY               ELSIE                 MD         24X01001200       THE LAW OFFICES OF PETER T. NICHOLL                  GORMAN               LENA                  MD         24X07000420       THE LAW OFFICES OF PETER T. NICHOLL
GODSEY               JAMES M               VA         002136            THE LAW OFFICES OF PETER T. NICHOLL                  GOTINSKY             ERNEST W              MD         24X04000749       THE LAW OFFICES OF PETER T. NICHOLL
GODSEY               LANDON                MD         24X01001200       THE LAW OFFICES OF PETER T. NICHOLL                  GOTINSKY             RUTH                  MD         24X04000749       THE LAW OFFICES OF PETER T. NICHOLL
GODSEY               MELVIN T              MD         24X10000239       THE LAW OFFICES OF PETER T. NICHOLL                  GOUGH                CHARLES G             MD         X01000709         THE LAW OFFICES OF PETER T. NICHOLL
GODWIN               HERMAN                VA         001844            THE LAW OFFICES OF PETER T. NICHOLL                  GOUGH                CLARENCE              MD         24X06000199       THE LAW OFFICES OF PETER T. NICHOLL
GODWIN               MILTON                MD         24X01002083       THE LAW OFFICES OF PETER T. NICHOLL                  GOUGH                JOHN                  MD         24X01000586       THE LAW OFFICES OF PETER T. NICHOLL
GODWIN               PATRICIA              MD         24X01002083       THE LAW OFFICES OF PETER T. NICHOLL                  GRACE                LILLIE W              VA         740CL0200355400   THE LAW OFFICES OF PETER T. NICHOLL
GODWIN               POLLARD C             VA         700CL0438235T05   THE LAW OFFICES OF PETER T. NICHOLL                  GRADY                WALTER L              MD         24X02000963       THE LAW OFFICES OF PETER T. NICHOLL
GOEBEL               DONALD W              MD         24X11000373       THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               JAMES                 VA         740CL0300093400   THE LAW OFFICES OF PETER T. NICHOLL
GOFFUS               MARSHA                MD         24X08000282       THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               JOHNNIE JR            VA         9927802A          THE LAW OFFICES OF PETER T. NICHOLL
GOINGS               CELESTINE             MD         24X97269525       THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               NATHANIEL             VA         700CL0028300C03   THE LAW OFFICES OF PETER T. NICHOLL
GOINGS               HARRY J               MD         24X97269525       THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               PATRICIA              MD         24X02000115       THE LAW OFFICES OF PETER T. NICHOLL
GOINS                JAMES L               MD         24X05000383       THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               TROY                  VA         29708VC           THE LAW OFFICES OF PETER T. NICHOLL
GOINS                MARGARET              MD         24X05000383       THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               WILLIAM E             VA         29951EH           THE LAW OFFICES OF PETER T. NICHOLL
GOINS                ROBIN D               MD         X01000252         THE LAW OFFICES OF PETER T. NICHOLL                  GRAHAM               WILLIE A              MD         24X02000115       THE LAW OFFICES OF PETER T. NICHOLL
GOINS                ROY J                 VA         29179RC           THE LAW OFFICES OF PETER T. NICHOLL                  GRAINGER             KENNETH G             VA         740CL0300101800   THE LAW OFFICES OF PETER T. NICHOLL
GOINS                SHIRLEY               MD         X01000252         THE LAW OFFICES OF PETER T. NICHOLL                  GRAMBY               JAMES E               VA         001109            THE LAW OFFICES OF PETER T. NICHOLL
GOLDEN               HORACE J              VA         740CL0200376400   THE LAW OFFICES OF PETER T. NICHOLL                  GRAMMER              CYNTHIA R             MD         98338570CX2394    THE LAW OFFICES OF PETER T. NICHOLL
GOLDEN               JAMES A               VA         740CL9900177100   THE LAW OFFICES OF PETER T. NICHOLL                  GRAMMER              VON K                 MD         98338570CX2394    THE LAW OFFICES OF PETER T. NICHOLL
GOLDIAN              BRENDA                MD         24X04000631       THE LAW OFFICES OF PETER T. NICHOLL                  GRANBY               LARRY L               VA         740CL0200090200   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 765
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 100 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

GRANDY               JESSE JR              MD         98288501CX1901    THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 MITCHELL P            VA         700CL0437875T05   THE LAW OFFICES OF PETER T. NICHOLL
GRANGER              ANDREW P              VA         740CL0200020100   THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 OTIS B                MD         24X01000593       THE LAW OFFICES OF PETER T. NICHOLL
GRANNAS              BARBARA L             MD         24X05000283       THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 OTIS B                MD         24X04001159       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                BERNARD               MD         24X03000953       THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 RONALD L              MD         24X01001932       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                CHRISTOPHER E         VA         29360VC           THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 SARAH                 MD         24X02000294       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                CLEOTH S              MD         24X01001800       THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 TRACEY R              MD         24X05000525       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                DEBORAH               MD         24X10000257       THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 VERA                  MD         24X02001130       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                EDRIC                 MD         98275507CX1858    THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 WALTER O              MD         24X04001144       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                ETHEL                 MD         24X02000884       THE LAW OFFICES OF PETER T. NICHOLL                  GRAY                 WILLIAM N             VA         740CL0200129700   THE LAW OFFICES OF PETER T. NICHOLL
GRANT                JAMES E SR            VA         28692VC           THE LAW OFFICES OF PETER T. NICHOLL                  GREBE                AIMEE                 MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                JOE L                 VA         0028712A04        THE LAW OFFICES OF PETER T. NICHOLL                  GRECO                BENJAMIN P            VA         740CL0200373100   THE LAW OFFICES OF PETER T. NICHOLL
GRANT                JOSEPH M              VA         740CL0200074600   THE LAW OFFICES OF PETER T. NICHOLL                  GRECO                DOROTHY E             MD         98204503CX1464    THE LAW OFFICES OF PETER T. NICHOLL
GRANT                JOSEPHINE             MD         24X01001800       THE LAW OFFICES OF PETER T. NICHOLL                  GRECO                FRANCIS O             MD         98204503CX1464    THE LAW OFFICES OF PETER T. NICHOLL
GRANT                LEE A                 VA         0028678H02        THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ANDRE L               MD         24X04001023       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                MCDALE                VA         740CL0000206700   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ARTHUR                VA         740CL0100113200   THE LAW OFFICES OF PETER T. NICHOLL
GRANT                MERRIEL J             VA         28534RC           THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                BARBARA               MD         98310526CX2104    THE LAW OFFICES OF PETER T. NICHOLL
GRANT                ODELL                 MD         24X10000257       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                BERNARD C             MD         X01001052         THE LAW OFFICES OF PETER T. NICHOLL
GRANT                PERCELL               VA         CL9928023V05      THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                BESSIE                MD         24X06000102       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                RALEIGH H             VA         700CL0235860W01   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                BESSIE                MD         24X01000589       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                ROBERT N              VA         700CL0232234H02   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                BETTY L               MD         X01001062         THE LAW OFFICES OF PETER T. NICHOLL
GRANT                ROY L                 VA         740CL0200069600   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                CALVIN                MD         24X02000623       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                RUBY L                VA         740CL0300032000   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                CALVIN W              MD         24X14000230       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                WILLIAM E P           MD         24X02000884       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                CHARLES               MD         X01000486         THE LAW OFFICES OF PETER T. NICHOLL
GRANT                WILLIAM M             VA         28744EH           THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                CHESTER M             MD         24X06000111       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                WILLIAM M             VA         0028744H02        THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                DONALD                MD         24X02000679       THE LAW OFFICES OF PETER T. NICHOLL
GRANT                WILLIE L              VA         29992RC           THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                DONALD                MD         24X05000905       THE LAW OFFICES OF PETER T. NICHOLL
GRANTUM              MARVIN                VA         01927             THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                EDITH H               MD         24X05000393       THE LAW OFFICES OF PETER T. NICHOLL
GRATZ                DANIEL T              MD         24X01001066       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                EDWINA                MD         24X06000111       THE LAW OFFICES OF PETER T. NICHOLL
GRATZ                PATRICIA A            MD         X99000365         THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ETHAL                 MD         98402489          THE LAW OFFICES OF PETER T. NICHOLL
GRATZ                PAUL F                MD         X99000365         THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                GEORGE P              MD         24X02001887       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               ALBERT L              MD         24X02001060       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                HERMAN E              VA         740CL0000019000   THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               ANNIE                 MD         24X02001071       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                HERMAN N              VA         740CL0200048100   THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               ARTHUR L              VA         29738VC           THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                HORACE                VA         CL9927961C03      THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               BOBBIE                MD         24X01001748       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                HOWARD                VA         29102EH           THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               CARL K                MD         98402481          THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                IRMA L                MD         24X04001024       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               CHARLIE A             MD         98261502CX1726    THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JACQUELINE            MD         24X05000901       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               CLIFTON G             VA         0028761W01        THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JACQUELINE            MD         98316511CX2129    THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               DOROTHY               MD         98261502CX1726    THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JAMES G               VA         740CL0300240500   THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               FANNIE                MD         98402481          THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JANET L               MD         98309506CX2066    THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               FRED D                MD         24X02001071       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JERRY                 MD         24X17000523       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               GEORGE                VA         740CL0100321100   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JOHN E                MD         98197516          THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               IRVIN T               VA         700CL9927841A04   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JOHN E                MD         24X04001024       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               JAMES B               VA         740CL0200037500   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JOHN G                MD         98329506CX2231    THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               JAMES T               VA         740CL0300093500   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JOSEPH                MD         24X06000306       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               JOHN A                VA         740CL0100322900   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                JOSEPH                MD         24X06000416       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               LAWRENCE C            VA         740CL0200090300   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                LAMONT D              MD         24X02001984       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               LEON                  VA         740CL0100310600   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                LINWOOD               VA         740CL0300199800   THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               LEON S                VA         740CL0300123600   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                MARGARET E            MD         24X05000905       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               MARGARET S            MD         24X02001060       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                MAXWELL L             MD         98402489          THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               MARVIN L              VA         700CL0438211P03   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                PEARL                 MD         24X02000623       THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               TERRY O               VA         700CL0437736T05   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                RALPH                 MD         X01001062         THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               VERNON M              VA         740CL0200038300   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                RALPH D               MD         98309506CX2066    THE LAW OFFICES OF PETER T. NICHOLL
GRAVES               WALTER J              VA         700CL0437590P03   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                RICHARD L             VA         0028974C03        THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 ANGELA P              MD         24X06000319       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                RITA                  MD         24X17000474       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 CAREY D               MD         24X14000438       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ROBERT                MD         24X05000901       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 CHARLES               MD         24X02001130       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ROBERT A              VA         700CL0235901V05   THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 CLARENCE D            VA         740CL0300017300   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ROBERT E              MD         24X18000073       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 DAVID                 MD         24X02000284       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ROBERT JR             MD         98316511CX2129    THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 EARL S                VA         105100            THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                ROBERT T              MD         X01001053         THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 EILEEN                VA         32568RC           THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                SARAH                 MD         24X01001881       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 ELOUISE C             VA         31845VA           THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                THOMAS                MD         98310526CX2104    THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 EVELYN                MD         24X02000284       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                THOMAS L              VA         700CL0437897W01   THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 FRANKLIN D            VA         70CL0232080C03    THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                TITUS                 MD         24X13000132       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 HAYWARD W             VA         CL9927960A04      THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                VIRGINIA B            MD         24X06000416       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 HYMAN M               VA         740CL0300099200   THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                VIRGINIA B            MD         24X06000306       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 JAMES O               MD         24X02000294       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                WATKINS               VA         700CL0028182C03   THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 JOHN A                VA         001376            THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                WENDELL J             MD         24X01001076       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 JOSEPH B              MD         24X06000319       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                WILLIAM               MD         24X01000589       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 LARRY L SR            VA         740CL99001685     THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                WILLIAM               MD         24X06000102       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 MARY M                MD         24X01000593       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                WILLIAM B             MD         24X01001881       THE LAW OFFICES OF PETER T. NICHOLL
GRAY                 MARY M                MD         24X04001159       THE LAW OFFICES OF PETER T. NICHOLL                  GREEN                WILLIAM L             VA         740CL0200074700   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 766
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 101 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

GREEN                WILLIAM L             VA         29361VA           THE LAW OFFICES OF PETER T. NICHOLL                  GRIMES               FLEXMOND A            MD         24X05000656       THE LAW OFFICES OF PETER T. NICHOLL
GREEN                WILLIE L              MD         24X14000163       THE LAW OFFICES OF PETER T. NICHOLL                  GRIMES               OCTAVIA               MD         24X01000593       THE LAW OFFICES OF PETER T. NICHOLL
GREENAWALL           WALTER L              MD         99000439          THE LAW OFFICES OF PETER T. NICHOLL                  GRIMES               OCTAVIA               MD         24X04001159       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               CHARLES E             MD         24X12000388       THE LAW OFFICES OF PETER T. NICHOLL                  GRINAGE              JEROME B SR           MD         98402445          THE LAW OFFICES OF PETER T. NICHOLL
GREENE               CHARLES M             MD         24X01000809       THE LAW OFFICES OF PETER T. NICHOLL                  GRINAGE              ROBERTA               MD         98402445          THE LAW OFFICES OF PETER T. NICHOLL
GREENE               CORNELIA W            VA         700CL0539583H02   THE LAW OFFICES OF PETER T. NICHOLL                  GROSS                DIANNA I              MD         24X01001805       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               EARL                  MD         24X01001992       THE LAW OFFICES OF PETER T. NICHOLL                  GROSS                MELVIN T              VA         001845            THE LAW OFFICES OF PETER T. NICHOLL
GREENE               EMORY L               VA         001582            THE LAW OFFICES OF PETER T. NICHOLL                  GROSS                RONALD A              MD         24X01002055       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               HAROLD R              MD         24X12000627       THE LAW OFFICES OF PETER T. NICHOLL                  GROVE                CHARLES E             MD         24X11000110       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               HAROLD W              VA         740CL0000000700   THE LAW OFFICES OF PETER T. NICHOLL                  GROVE                DIANE E               MD         24X11000110       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               HAROLD W              VA         700CL0539583H02   THE LAW OFFICES OF PETER T. NICHOLL                  GROVE                DOROTHY               MD         24X15000302       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               JAMES R               VA         740CL0200040400   THE LAW OFFICES OF PETER T. NICHOLL                  GROVE                FORREST L             MD         98320505CX2170    THE LAW OFFICES OF PETER T. NICHOLL
GREENE               JESSE M               VA         740CL0100202900   THE LAW OFFICES OF PETER T. NICHOLL                  GROVE                J DENNIS              MD         24X14000187       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               LARRY D               VA         29219VA           THE LAW OFFICES OF PETER T. NICHOLL                  GROVE                JOSEPH E              MD         24X15000302       THE LAW OFFICES OF PETER T. NICHOLL
GREENE               SAMMIE L              MD         24X12001009       THE LAW OFFICES OF PETER T. NICHOLL                  GRYMES               ROY E                 VA         740CL0100187500   THE LAW OFFICES OF PETER T. NICHOLL
GREENE               SOLOMON               MD         24X01001591       THE LAW OFFICES OF PETER T. NICHOLL                  GUERNDT              MANETTA A             MD         98260506CX1724    THE LAW OFFICES OF PETER T. NICHOLL
GREENHILL            JAMES H               VA         700CL0539407J05   THE LAW OFFICES OF PETER T. NICHOLL                  GUERNDT              ROBERT L SR           MD         98260506CX1724    THE LAW OFFICES OF PETER T. NICHOLL
GREENHOW             CATHERINE E           VA         740CL0300112600   THE LAW OFFICES OF PETER T. NICHOLL                  GUILL                RALPH D               VA         740CL0300161800   THE LAW OFFICES OF PETER T. NICHOLL
GREENLIEF            CINDY                 MD         24X10000401       THE LAW OFFICES OF PETER T. NICHOLL                  GUILLETTE            GILBERT G             VA         700CL0539122P03   THE LAW OFFICES OF PETER T. NICHOLL
GREENLIEF            WILLIAM B             MD         24X10000401       THE LAW OFFICES OF PETER T. NICHOLL                  GULDEN               ROBERT G              VA         700CL0437762P03   THE LAW OFFICES OF PETER T. NICHOLL
GREER                THEODORE C            VA         0028917W01        THE LAW OFFICES OF PETER T. NICHOLL                  GULLION              BRUCE                 MD         24X13000036       THE LAW OFFICES OF PETER T. NICHOLL
GREER                TOMMY D               MD         24X03001186       THE LAW OFFICES OF PETER T. NICHOLL                  GUMMER               JONI                  MD         24X97318503       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              ALFRED E              MD         24X12000592       THE LAW OFFICES OF PETER T. NICHOLL                  GUNN                 HOWARD M              MD         24X02002145       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              ARTHUR D              VA         740CL0300114600   THE LAW OFFICES OF PETER T. NICHOLL                  GUNTER               BRENDA                MD         24X04000453       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              EDWARD O              VA         740CL0300093600   THE LAW OFFICES OF PETER T. NICHOLL                  GUNTER               KH                    VA         740CL0100186500   THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              EVELYN                MD         24X12000592       THE LAW OFFICES OF PETER T. NICHOLL                  GUNTER               RICHARD L             VA         740CL0200006400   THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              JACK B                MD         01000263          THE LAW OFFICES OF PETER T. NICHOLL                  GUNTER               ROY                   VA         001605            THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              JACK B                MD         24X08000464       THE LAW OFFICES OF PETER T. NICHOLL                  GUNTER               WALTER E              MD         24X04000453       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              JAMES E               MD         24X04000089       THE LAW OFFICES OF PETER T. NICHOLL                  GUNTHROP             ANTHONY M             MD         X010001003        THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              JOSEPH P              VA         31939RC           THE LAW OFFICES OF PETER T. NICHOLL                  GUNTHROP             RONALD                MD         24X02001574       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              MARIAN                MD         98329559CX2284    THE LAW OFFICES OF PETER T. NICHOLL                  GUPTON               LOUIS L               MD         24X06000474       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              MATTHEW R             MD         24X01001749       THE LAW OFFICES OF PETER T. NICHOLL                  GUPTON               WILLIAM G             VA         740CL0100164000   THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              PEGGY                 MD         24X08000464       THE LAW OFFICES OF PETER T. NICHOLL                  GURLEY               JOSEPH                VA         011210            THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              PEGGY                 MD         01000263          THE LAW OFFICES OF PETER T. NICHOLL                  GUTHRIE              DOUGLAS W             MD         24X01001853       THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              THOMAS J              MD         98329559CX2284    THE LAW OFFICES OF PETER T. NICHOLL                  GUTHRIE              JOSEPH E              VA         700CL0235590C03   THE LAW OFFICES OF PETER T. NICHOLL
GREGORY              WAYNE G               MD         24X09000162       THE LAW OFFICES OF PETER T. NICHOLL                  GUY                  MERLE W               MD         24X03000297       THE LAW OFFICES OF PETER T. NICHOLL
GRESHAM              BETTY                 MD         98226506CX1602    THE LAW OFFICES OF PETER T. NICHOLL                  GUYE                 MICHAEL A             MD         24X01001956       THE LAW OFFICES OF PETER T. NICHOLL
GRESHAM              JAMES E               MD         98226506CX1602    THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             CARDELL S             VA         740CL0300243300   THE LAW OFFICES OF PETER T. NICHOLL
GRESHAM              JAMES M               VA         29575RC           THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             CURTIS                VA         740CL0300199000   THE LAW OFFICES OF PETER T. NICHOLL
GRIBBLE              HAROLD C              MD         24X05000750       THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             GEORGE A              MD         X99000268         THE LAW OFFICES OF PETER T. NICHOLL
GRIBBLE              SHIRLEY J             MD         24X05000750       THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             HORACE L              VA         001140            THE LAW OFFICES OF PETER T. NICHOLL
GRIER                CONNIE                MD         24X06000508       THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             JAMES N               VA         740CL0300098100   THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              CLARENCE              MD         24X03000346       THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             KENNETH               VA         740CL0200020200   THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              COLLINS W             VA         700CL0437868V04   THE LAW OFFICES OF PETER T. NICHOLL                  GWALTNEY             MILTON L              VA         740CL0100131800   THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              DANIEL W              MD         24X15000182       THE LAW OFFICES OF PETER T. NICHOLL                  HACKNEY              BARBARA               MD         24X06000331       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              EARLINE               MD         24X03000346       THE LAW OFFICES OF PETER T. NICHOLL                  HACKNEY              ERNEST                MD         24X06000331       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              ERNEST W              VA         99001873          THE LAW OFFICES OF PETER T. NICHOLL                  HADEL                MARVIN E              MD         24X01001538       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              FLORENCE              MD         98324519CV2204    THE LAW OFFICES OF PETER T. NICHOLL                  HADLEY               RAVANNA H             MD         24X02002598       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              HIAWATHA SR           VA         99001896          THE LAW OFFICES OF PETER T. NICHOLL                  HAGER                GARY R                MD         98268513CX1814    THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              JOSEPH M              MD         01000264          THE LAW OFFICES OF PETER T. NICHOLL                  HAGER                MARY A                MD         98268513CX1814    THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              LEON                  MD         24X04001072       THE LAW OFFICES OF PETER T. NICHOLL                  HAGWOOD              CLYDE E               VA         29576RW           THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              LORETHA               VA         74CL0200042700    THE LAW OFFICES OF PETER T. NICHOLL                  HAGY                 ANN                   MD         24X02002108       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              MARVIN                MD         24X07000432       THE LAW OFFICES OF PETER T. NICHOLL                  HAGY                 CHARLES R             MD         24X11000496       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              PRICE J               MD         98324519CV2204    THE LAW OFFICES OF PETER T. NICHOLL                  HAGY                 CLYDE F               MD         24X02002108       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              RICKY A               VA         740CL0200006300   THE LAW OFFICES OF PETER T. NICHOLL                  HAGY                 KATHLEEN              MD         24X11000496       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              ROBERT C              MD         24X09000122       THE LAW OFFICES OF PETER T. NICHOLL                  HAHN                 BERNARD A             MD         X01000697         THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              ROBERT D              VA         740CL0200373200   THE LAW OFFICES OF PETER T. NICHOLL                  HAILEY               BARBARA               MD         24X02001379       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              ROLAND W              MD         24X01001747       THE LAW OFFICES OF PETER T. NICHOLL                  HAILEY               JOHN T                VA         29060RC           THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              RONALD E              VA         740CL0100129300   THE LAW OFFICES OF PETER T. NICHOLL                  HAILEY               WILLIAM A             MD         24X02001379       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              RUBY O                MD         24X05000713       THE LAW OFFICES OF PETER T. NICHOLL                  HAINES               HOLLY W               MD         24X01001664       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFIN              SARAH W               VA         700CL0539391V04   THE LAW OFFICES OF PETER T. NICHOLL                  HAIRSTON             ELEANOR E             MD         24X06000321       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             CHARLES D             VA         700CL0437876P03   THE LAW OFFICES OF PETER T. NICHOLL                  HAIRSTON             JOSEPH L              MD         99000277          THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             GERTRUDE L            MD         24X05000655       THE LAW OFFICES OF PETER T. NICHOLL                  HAIRSTON             JOSEPH L              MD         24X06000321       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             HARVEY R              VA         740CL0200068000   THE LAW OFFICES OF PETER T. NICHOLL                  HAIRSTON             SOLOMON               VA         740CL0300243400   THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             KEITH A               MD         24X01001761       THE LAW OFFICES OF PETER T. NICHOLL                  HALCOTT              JOHN J                MD         24X01001696       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             MARVIN R              VA         740CL0100118600   THE LAW OFFICES OF PETER T. NICHOLL                  HALCOTT              MARY JANE             MD         24X01001696       THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             PETER                 VA         740CL0200043600   THE LAW OFFICES OF PETER T. NICHOLL                  HALE                 GENEVE                MD         X01000597         THE LAW OFFICES OF PETER T. NICHOLL
GRIFFITH             YVONNE                MD         24X01001761       THE LAW OFFICES OF PETER T. NICHOLL                  HALE                 LANDIS M              MD         X01000597         THE LAW OFFICES OF PETER T. NICHOLL
GRIMES               ARLANDA               VA         700CL0232205C03   THE LAW OFFICES OF PETER T. NICHOLL                  HALFTER              CARL E JR             MD         98320511CX2176    THE LAW OFFICES OF PETER T. NICHOLL
GRIMES               CARLTON               VA         740CL0300093700   THE LAW OFFICES OF PETER T. NICHOLL                  HALFTER              CATHY                 MD         98320511CX2176    THE LAW OFFICES OF PETER T. NICHOLL
GRIMES               DOROTHY M             MD         24X05000656       THE LAW OFFICES OF PETER T. NICHOLL                  HALL                 ANTHONY T             MD         24X10000062       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 767
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 102 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HALL                 BARBARA L             VA         740CL0200075500   THE LAW OFFICES OF PETER T. NICHOLL                  HAMM                 HAROLD E              MD         24X05000113       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 BETTY L               VA         700CL0539379P03   THE LAW OFFICES OF PETER T. NICHOLL                  HAMM                 JESSIE J              MD         24X05000113       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 BRENDA                MD         98296508CX1986    THE LAW OFFICES OF PETER T. NICHOLL                  HAMM                 JESSIE J              MD         98240509CX1661    THE LAW OFFICES OF PETER T. NICHOLL
HALL                 CALVIN                MD         24X04000767       THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACHER         JOHANNA               MD         24X02000226       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 CHARLIE E             VA         740CL0200373300   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACHER         ROBERT L              MD         24X02000226       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 CLARENCE E            MD         24X01001439       THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACKER         BEVERLY J             MD         24X15000550       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 DENNIS L              VA         700CL0235672H02   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACKER         BEVERLY J             MD         24X11000155       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 DOROTHY               MD         X01000628         THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACKER         CHARLES C             MD         24X15000550       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 EDWIN B               VA         740CL0100164700   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACKER         CHARLES C             MD         24X11000155       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 G THORNTON            VA         700CL0232206W01   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACKER         JAMIE R               MD         24X15000550       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 GALE                  MD         X01000707         THE LAW OFFICES OF PETER T. NICHOLL                  HAMMERBACKER         JAMIE R               MD         24X11000155       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 GENE A                VA         700CL0232493C03   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMOND              BARBARA               MD         24X03000796       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 GEORGE JR             VA         740CL9900197800   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMOND              MICHAEL               MD         24X03000796       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 GEORGE M              MD         24X02002277       THE LAW OFFICES OF PETER T. NICHOLL                  HAMMOND              WELDON                MD         24X02002144       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 GEORGE T              VA         740CL0300113400   THE LAW OFFICES OF PETER T. NICHOLL                  HAMMOND              WILLIAM D             VA         740CL0300114700   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 HAZEL                 MD         24X01001439       THE LAW OFFICES OF PETER T. NICHOLL                  HAMPTON              BILLY R               VA         001766            THE LAW OFFICES OF PETER T. NICHOLL
HALL                 HERBERT A             MD         X01000628         THE LAW OFFICES OF PETER T. NICHOLL                  HAMPTON              JAMES H               VA         700CL0028161H02   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 IRENE D               MD         24X06000593       THE LAW OFFICES OF PETER T. NICHOLL                  HAMPTON              OSSIE                 MD         24X01001877       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 JACK                  VA         700CL0539572P03   THE LAW OFFICES OF PETER T. NICHOLL                  HAMPTON              ROBERT L              MD         24X01001877       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 JACOB A               VA         740CL0100167700   THE LAW OFFICES OF PETER T. NICHOLL                  HAMPTON              WILLIAM E             VA         740CL0100323000   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 JEANNETTE             MD         24X04001133       THE LAW OFFICES OF PETER T. NICHOLL                  HANCOCK              CLARENCE W            VA         700CL0437907W01   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 JEROME                MD         X01000707         THE LAW OFFICES OF PETER T. NICHOLL                  HANCOCK              DUDLEY P              VA         740CL0100172200   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 JOANN                 MD         24X04000767       THE LAW OFFICES OF PETER T. NICHOLL                  HANCOCK              JEROME                MD         98204512CX1473    THE LAW OFFICES OF PETER T. NICHOLL
HALL                 JOSEPH                MD         X01000961         THE LAW OFFICES OF PETER T. NICHOLL                  HANCOCK              LOIS M                MD         98204512CX1473    THE LAW OFFICES OF PETER T. NICHOLL
HALL                 LEE B                 VA         700CL0438018V04   THE LAW OFFICES OF PETER T. NICHOLL                  HANCOCK              WILBUR                VA         700CL0232229H02   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 LELIA                 MD         24X02002277       THE LAW OFFICES OF PETER T. NICHOLL                  HANDY                JEFFERSON V           MD         24X05000573       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 LINWOOD G             VA         740CL0100201600   THE LAW OFFICES OF PETER T. NICHOLL                  HANIFEE              MARCIA                MD         24X06000487       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 LORRAINE              VA         700CL0539572P03   THE LAW OFFICES OF PETER T. NICHOLL                  HANKEWYCZ            PATRICE M             MD         24X13000374       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 MELVIN E              VA         740CL0200181100   THE LAW OFFICES OF PETER T. NICHOLL                  HANKS                JERRY                 VA         700CL0028751W01   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 MILTON W              MD         24X06000593       THE LAW OFFICES OF PETER T. NICHOLL                  HANLON               GEORGE L              MD         24X02000968       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 RALPH                 MD         24X04001133       THE LAW OFFICES OF PETER T. NICHOLL                  HANLON               JOHN P                MD         24X06000603       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 RICHARD D             VA         740CL0300098200   THE LAW OFFICES OF PETER T. NICHOLL                  HANLON               LINDA J               MD         24X02000968       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 RICK L                MD         24X02001065       THE LAW OFFICES OF PETER T. NICHOLL                  HANLON               PATRICIA D            MD         24X06000603       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 ROBERT L              VA         740CL0100176900   THE LAW OFFICES OF PETER T. NICHOLL                  HANNAH               NATHANIEL E           MD         24X03000939       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 RODELL W              MD         24X03000321       THE LAW OFFICES OF PETER T. NICHOLL                  HANNAH               VANESSA               MD         24X03000939       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 SANDRA                MD         24X02001065       THE LAW OFFICES OF PETER T. NICHOLL                  HANNAMAN             GERALD M              VA         740CL0300029100   THE LAW OFFICES OF PETER T. NICHOLL
HALL                 THOMAS L              VA         0028685W01        THE LAW OFFICES OF PETER T. NICHOLL                  HANSFORD             JOHN F                MD         24X10000016       THE LAW OFFICES OF PETER T. NICHOLL
HALL                 WALLACE E             MD         98296508CX1986    THE LAW OFFICES OF PETER T. NICHOLL                  HANSFORD             ROBERT M              VA         740CL0300243500   THE LAW OFFICES OF PETER T. NICHOLL
HALLAMEYER           BONITA                MD         24X04000090       THE LAW OFFICES OF PETER T. NICHOLL                  HANSFORD             ROBERT W              VA         740CL0100200700   THE LAW OFFICES OF PETER T. NICHOLL
HALLAMEYER           RONALD J              MD         24X04000090       THE LAW OFFICES OF PETER T. NICHOLL                  HANSON               ALLEN L               VA         29103RC           THE LAW OFFICES OF PETER T. NICHOLL
HALLER               WAYNE D               MD         24X04000491       THE LAW OFFICES OF PETER T. NICHOLL                  HANSON               GARY M                VA         700CL0232197V05   THE LAW OFFICES OF PETER T. NICHOLL
HALLIGAN             EDWARD J              VA         32568RC           THE LAW OFFICES OF PETER T. NICHOLL                  HANSON               GLADYS E              MD         24X08000131       THE LAW OFFICES OF PETER T. NICHOLL
HALLIGAN-THAYER      SHARON JEAN           VA         32568RC           THE LAW OFFICES OF PETER T. NICHOLL                  HANVEY               EDWARD L              VA         700CL0438279V04   THE LAW OFFICES OF PETER T. NICHOLL
HALLUMS              JOHN C                VA         700CL0235851V05   THE LAW OFFICES OF PETER T. NICHOLL                  HARCUM               INEZ                  MD         98338541CX2365    THE LAW OFFICES OF PETER T. NICHOLL
HALSEY               AUDLIE V              MD         24X01001964       THE LAW OFFICES OF PETER T. NICHOLL                  HARCUM               INEZ V                MD         24X01000807       THE LAW OFFICES OF PETER T. NICHOLL
HALSEY               DOROTHY               MD         24X01001964       THE LAW OFFICES OF PETER T. NICHOLL                  HARCUM               LEROY                 MD         24X01000807       THE LAW OFFICES OF PETER T. NICHOLL
HALTERMAN            PEGGY ANN             MD         98277512CX1863    THE LAW OFFICES OF PETER T. NICHOLL                  HARCUM               LEROY M               MD         98338541CX2365    THE LAW OFFICES OF PETER T. NICHOLL
HALTERMAN            WILLIAM M SR          MD         98277512CX1863    THE LAW OFFICES OF PETER T. NICHOLL                  HARDAWAY             ALICE                 MD         X01001128         THE LAW OFFICES OF PETER T. NICHOLL
HALTIWANGER          SAMUEL O              VA         740CL0200053500   THE LAW OFFICES OF PETER T. NICHOLL                  HARDAWAY             PAUL J                MD         X01001128         THE LAW OFFICES OF PETER T. NICHOLL
HAM                  JAMES M               MD         98402529          THE LAW OFFICES OF PETER T. NICHOLL                  HARDEE               JAMES L               VA         700CL0028299V05   THE LAW OFFICES OF PETER T. NICHOLL
HAMES                KENNETH W             VA         740CL0100186600   THE LAW OFFICES OF PETER T. NICHOLL                  HARDEN               THOMAS E              VA         001392            THE LAW OFFICES OF PETER T. NICHOLL
HAMIDULLAH           DANIEL                MD         98177510CX1303    THE LAW OFFICES OF PETER T. NICHOLL                  HARDIE               CHARLIE E             VA         740CL0300240600   THE LAW OFFICES OF PETER T. NICHOLL
HAMIEL               MILTON                MD         24X12000647       THE LAW OFFICES OF PETER T. NICHOLL                  HARDIN               JEROME                MD         24X01001063       THE LAW OFFICES OF PETER T. NICHOLL
HAMIEL               MILTON G              MD         24X12000647       THE LAW OFFICES OF PETER T. NICHOLL                  HARDIN               JOAN                  MD         24X02001064       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             ALDRICK               MD         24X03000665       THE LAW OFFICES OF PETER T. NICHOLL                  HARDIN               LINDA A               MD         24X01001063       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             ALEX L                MD         24X02001896       THE LAW OFFICES OF PETER T. NICHOLL                  HARDIN               ROBERT C              MD         24X02001064       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             EDWARD                MD         24X11000501       THE LAW OFFICES OF PETER T. NICHOLL                  HARDING              CYNTHIA               MD         24X03000288       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             JAMES S               MD         98295503CX1969    THE LAW OFFICES OF PETER T. NICHOLL                  HARDING              RONALD M              MD         24X03000288       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             LEE R                 MD         24X01001077       THE LAW OFFICES OF PETER T. NICHOLL                  HARDING              TYRONE R              MD         24X05000050       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             LORRAINE              MD         24X02001896       THE LAW OFFICES OF PETER T. NICHOLL                  HARDISON             LINWOOD               VA         28000VA           THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             MARY                  MD         24X05000051       THE LAW OFFICES OF PETER T. NICHOLL                  HARDRICK             KENNETH               MD         24X15000046       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             RICHARD E             MD         24X05000051       THE LAW OFFICES OF PETER T. NICHOLL                  HARDRICK             LETHANIEL             MD         24X04000069       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             ROBERTA               MD         24X06000647       THE LAW OFFICES OF PETER T. NICHOLL                  HARDRICK             MARY                  MD         24X04000069       THE LAW OFFICES OF PETER T. NICHOLL
HAMILTON             RUBY P                MD         24X05000302       THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                ANGEL C               MD         24X12000236       THE LAW OFFICES OF PETER T. NICHOLL
HAMLETT              HERMAN P              VA         29167VC           THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                ARLENE                MD         24X02000062       THE LAW OFFICES OF PETER T. NICHOLL
HAMLETT              JAMES W               VA         CL9927963V05      THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                ARVELL A              MD         24X12000236       THE LAW OFFICES OF PETER T. NICHOLL
HAMLIN               ARISH L SR            VA         28310RC           THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                CLARENCE H            VA         740CL0300030500   THE LAW OFFICES OF PETER T. NICHOLL
HAMLIN               CLARA LOUISE          VA         740CL0300161900   THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                CLAUDE                VA         740CL0100129400   THE LAW OFFICES OF PETER T. NICHOLL
HAMLIN               ROBERT L              VA         740CL0300161900   THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                GLORIA D              VA         0028544C03        THE LAW OFFICES OF PETER T. NICHOLL
HAMLIN               TERRY                 MD         24X02001235       THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                JERRY N               VA         740CL0300162000   THE LAW OFFICES OF PETER T. NICHOLL
HAMM                 HAROLD E              MD         98240509CX1661    THE LAW OFFICES OF PETER T. NICHOLL                  HARDY                JOEL M JR             VA         28481VA           THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 768
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 103 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HARDY                JOSEPH H              VA         29362EH           THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               BRENDA                MD         24X02001900       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                LORINE Y              VA         0083000           THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               CHARLES E             MD         24X04000691       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                OTIS L                MD         24X02001553       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               CLARENCE              MD         24X10000240       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                RAY                   MD         24X02000062       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               CLAUDE E              MD         24X01001547       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                SILVESTER             VA         700CL0233201C03   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               DAVID                 VA         700CL9927849V05   THE LAW OFFICES OF PETER T. NICHOLL
HARDY                THOMAS                VA         740CL0200068100   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               DENISE                MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                THOMAS                VA         740CL0200075600   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               DENISE                MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                VERNON                VA         0082400           THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               DONALD L              MD         24X01000468       THE LAW OFFICES OF PETER T. NICHOLL
HARDY                WALLACE L             VA         CL9928042H02      THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               DOROTHY               MD         24X02000550       THE LAW OFFICES OF PETER T. NICHOLL
HARE                 RONALD D              VA         740CL0300113500   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               DOROTHY               MD         24X09000160       THE LAW OFFICES OF PETER T. NICHOLL
HARE                 ROY W                 VA         740CL0100200800   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               EARNEST               MD         98288509CX1909    THE LAW OFFICES OF PETER T. NICHOLL
HARGRAVE             EVA E                 VA         700CL0232207V05   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               EDDIE                 MD         X98402619         THE LAW OFFICES OF PETER T. NICHOLL
HARGRAVE             MALACHI L             VA         99001966          THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               EMILY V               VA         740CL0200215400   THE LAW OFFICES OF PETER T. NICHOLL
HARGRAVE             WILLIAM H             VA         700CL0232207V05   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ENOCH                 VA         700CL0231825A04   THE LAW OFFICES OF PETER T. NICHOLL
HARGROVE             ALVESTER C            MD         98177503CX1296    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ERNEST M              VA         29061VA           THE LAW OFFICES OF PETER T. NICHOLL
HARGROVE             BRITTEN V             VA         740CL0100321200   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ERVIN C               MD         98134506CX928     THE LAW OFFICES OF PETER T. NICHOLL
HARGROVE             CLIFTON               MD         24X03001141       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               FRANK N SR            VA         28067RC           THE LAW OFFICES OF PETER T. NICHOLL
HARGROVE             FRANCINE              MD         24X03001141       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               FRANKLIN              VA         740CL0100177000   THE LAW OFFICES OF PETER T. NICHOLL
HARGROVE             ROBERT C              VA         740CL0100310700   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               FRED T                VA         740CL0300243600   THE LAW OFFICES OF PETER T. NICHOLL
HARGROVE             WALTER                VA         740CL0200020300   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               GARY C                MD         24X01000406       THE LAW OFFICES OF PETER T. NICHOLL
HARLOW               CLAIRE J              MD         98317523CX2154    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               GEORGE                VA         740CL0200178100   THE LAW OFFICES OF PETER T. NICHOLL
HARLOW               EARL K                MD         98317523CX2154    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               GERALDINE H           MD         24X05000384       THE LAW OFFICES OF PETER T. NICHOLL
HARMON               ELMIRA                MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               GLENN E               VA         740CL0200354100   THE LAW OFFICES OF PETER T. NICHOLL
HARMON               FRED                  MD         24X01000805       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               HENRY M               VA         002137            THE LAW OFFICES OF PETER T. NICHOLL
HARMON               JAMES M               VA         740CL0200019700   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               HERBERT               VA         700CL0231847C03   THE LAW OFFICES OF PETER T. NICHOLL
HARMON               STEWART R             MD         24X01000307       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               HERBERT L             VA         700CL0232482H02   THE LAW OFFICES OF PETER T. NICHOLL
HARPER               AARON                 VA         740CL0200006500   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               IVAN M                VA         001295            THE LAW OFFICES OF PETER T. NICHOLL
HARPER               ALPHONSO W            MD         98329565CX2290    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               IVAN T                VA         29552VC           THE LAW OFFICES OF PETER T. NICHOLL
HARPER               CALVIN J              MD         24X06000498       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JAMES E SR            VA         700CL0028509C03   THE LAW OFFICES OF PETER T. NICHOLL
HARPER               EDWARD P              MD         98183522CX1349    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JAMES F               MD         24X02001413       THE LAW OFFICES OF PETER T. NICHOLL
HARPER               ETHEL M               MD         98329565CX2290    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JAMES G               MD         24X02001900       THE LAW OFFICES OF PETER T. NICHOLL
HARPER               HERBERT               MD         24X02001558       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JAMES I               MD         98247514CX1693    THE LAW OFFICES OF PETER T. NICHOLL
HARPER               JOSEPH C              VA         740CL0300162200   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JAMES J               VA         740CL0100117900   THE LAW OFFICES OF PETER T. NICHOLL
HARPER               LINWOOD D             VA         740CL0300162300   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JAMES N               VA         29993VC           THE LAW OFFICES OF PETER T. NICHOLL
HARPER               ROBERT                MD         98303508CX2045    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JOHN A                VA         700CL0437741T05   THE LAW OFFICES OF PETER T. NICHOLL
HARPER               ROBERT E              MD         98303508CX2045    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JOHN P                MD         24X02000550       THE LAW OFFICES OF PETER T. NICHOLL
HARPER               RUDOLPH               VA         740CL0300030600   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               JOHN T                VA         29553VA           THE LAW OFFICES OF PETER T. NICHOLL
HARPER               TOMMY L               VA         700CL0233195A04   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               KAISER C              VA         74CL0100164100    THE LAW OFFICES OF PETER T. NICHOLL
HARPER               WESLEY T              MD         24X02001723       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               KENNETH A             VA         700CL0235869C03   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              ANDERSON              MD         24X03000168       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LAWRENCE L            VA         28409VA           THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              BENJAMIN              VA         740CL0100200900   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LEON R                VA         740CL0100212800   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              BRISCOE J             MD         24X01001074       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LINDA                 VA         700CL0028509C03   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              CHARLES B             MD         24X10000491       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LINDSAY R             VA         740CL0100119300   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              CHARLINE              MD         98402439          THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LONNIE                MD         98320510CX2175    THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              CLIFTON E             VA         700CL0235673A04   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LOUIS R               VA         28247RC           THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              DEBORAH               MD         24X03000168       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               LUKE M                VA         740CL0200020400   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              DIANA                 MD         24X10000491       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MARVIN P              MD         24X11000499       THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              JAMES C               VA         740CL00000186     THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MARY                  MD         24X01001445       THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              JAMES E               VA         700CL0235796V05   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MAURICE L             MD         24X02000552       THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              JOSEPH N              VA         31846EH           THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MAURICE L             MD         24X08000345       THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              KENNETH               MD         98329512CX2237    THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MCCOY                 VA         700CL0232741V05   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              LARRY R               VA         740CL0000014000   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MCKENZIE              VA         740CL0200020500   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              MILFORD C             VA         700CL0235852H02   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               MELVIN R              MD         01000269          THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              MOSES                 VA         700CL0235927H02   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               OLLIE S               VA         740CL0100111500   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              MYRTLE                MD         24X01001074       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               PETER W               VA         001758            THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              PHYLLIS A             VA         740CL0300098300   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               PHILLIP M             VA         740CL0200068200   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              ROBERT L              VA         700CL0438041P03   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               PREM C                MD         24X02001221       THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              ROBERT W              VA         700CL0539123H02   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               RICHARD L             VA         740CL0300162400   THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              RONALD B              MD         98402439          THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ROBERT L              VA         29126VA           THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              SAVON                 MD         24X12001097       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ROBERT L              VA         27464VC           THE LAW OFFICES OF PETER T. NICHOLL
HARRELL              THURMAN L             VA         740CL0100203000   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               RONALD S              VA         740CL0300243700   THE LAW OFFICES OF PETER T. NICHOLL
HARRELSON            DOUGLAS G SR          VA         700CL9928068W01   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ROOSEVELT M           MD         24X13000425       THE LAW OFFICES OF PETER T. NICHOLL
HARRELSON            IVAN                  VA         28221VC           THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               ROSALIND              MD         24X11000499       THE LAW OFFICES OF PETER T. NICHOLL
HARRELSON            THOMAS E              VA         29709RW           THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               RUBEN J               VA         010965            THE LAW OFFICES OF PETER T. NICHOLL
HARRIDAY             SAMUEL J              MD         98121512CX863     THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               RUTH                  VA         700CL0539380H02   THE LAW OFFICES OF PETER T. NICHOLL
HARRIDAY             VICTORIA              MD         98121512CX863     THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               SADIE                 MD         01000269          THE LAW OFFICES OF PETER T. NICHOLL
HARRINGTON           DENNIS J              MD         24X10000156       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               SAINT JOHN            VA         740CL0100111600   THE LAW OFFICES OF PETER T. NICHOLL
HARRINGTON           MELISSA               MD         24X10000156       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               SAMUEL L              MD         24X03000667       THE LAW OFFICES OF PETER T. NICHOLL
HARRINGTON           SAMUEL S              MD         24X04000915       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               SERENA V              MD         24X01000406       THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               ALVESTER              VA         740CL0200355500   THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               SHARON                MD         24X15000181       THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               ARLINDA               MD         24X10000240       THE LAW OFFICES OF PETER T. NICHOLL                  HARRIS               SHAYLA                MD         24X05000040       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 769
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 104 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HARRIS               SHELDON L             MD         24X09000160       THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               JAMES A               VA         740CL0300114800   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               SYLVIA E              MD         24X04000796       THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               JESSE                 VA         740CL0300099400   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               THOMAS D              VA         29180RW           THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               JULIA MAE             MD         98324525CX2210    THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               VICTOR S              VA         740CL0300099300   THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               PATROCINIA B          MD         24X16000182       THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               VINCENT L             VA         740CL0300162500   THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               RODNEY B              MD         24X14000197       THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WALTER F              MD         24X01001445       THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               RUSSELL I             MD         24X16000182       THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM               VA         740CL0300098400   THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               TUSON                 VA         740CL0100323100   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM               VA         002138            THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               WALTER C              MD         98324525CX2210    THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM D             VA         740CL0300098500   THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               WILLIAM A             VA         29117VC           THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM H             VA         740CL0200006600   THE LAW OFFICES OF PETER T. NICHOLL                  HARVEY               WILLIE R              VA         740CL0100164200   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM M             VA         29363RC           THE LAW OFFICES OF PETER T. NICHOLL                  HASKETT              BREON                 VA         740CL0200075700   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM N JR          VA         28772VA           THE LAW OFFICES OF PETER T. NICHOLL                  HASKINS              HENRY R               VA         27992EH           THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM S             MD         24X01001965       THE LAW OFFICES OF PETER T. NICHOLL                  HASKINS              ISIAH M               VA         740CL0100203100   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIAM T SR          VA         28532VC           THE LAW OFFICES OF PETER T. NICHOLL                  HASKINS              NELSON W              VA         29952RC           THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WILLIE R              VA         740CL0300246200   THE LAW OFFICES OF PETER T. NICHOLL                  HASKINS              ROY L                 VA         700CL0232323A04   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               WINSTON               VA         740CL0100161100   THE LAW OFFICES OF PETER T. NICHOLL                  HASKINS              SAMUEL L              VA         740CL0300028700   THE LAW OFFICES OF PETER T. NICHOLL
HARRIS               YVONNE D              MD         24X06000198       THE LAW OFFICES OF PETER T. NICHOLL                  HASKINS              SHERMAN L             VA         740CL0200021900   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             ALFRED P              MD         24X05000601       THE LAW OFFICES OF PETER T. NICHOLL                  HASTINGS             ALBERT J              MD         24X05000494       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             DARRELL               VA         700CL0233163V05   THE LAW OFFICES OF PETER T. NICHOLL                  HASTINGS             BETTY E               MD         24X05000494       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             ERNEST M              VA         740CL0100318800   THE LAW OFFICES OF PETER T. NICHOLL                  HASTINGS             DAVID R               VA         740CL0200084900   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             FRANKLIN              VA         740CL0100322100   THE LAW OFFICES OF PETER T. NICHOLL                  HATCH                CHARLES E             VA         740CL0200014700   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             FRANKLN R             VA         700CL0539564V04   THE LAW OFFICES OF PETER T. NICHOLL                  HATCHER              JOHN G                VA         740CL0200193900   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             GEORGE R              MD         99001174          THE LAW OFFICES OF PETER T. NICHOLL                  HATFIELD             MATTHEW               VA         001633            THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             JAMES                 VA         0028972H02        THE LAW OFFICES OF PETER T. NICHOLL                  HATTEN               GEORGE W              VA         740CL0200176900   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             JAMES E               VA         740CL0100145100   THE LAW OFFICES OF PETER T. NICHOLL                  HAUF                 FREDA                 MD         24X04001073       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             JAMES R               MD         24X01001806       THE LAW OFFICES OF PETER T. NICHOLL                  HAUF                 MARTIN L              MD         24X04001073       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             JANET                 MD         24X04000114       THE LAW OFFICES OF PETER T. NICHOLL                  HAUPT                DOLORES L             MD         24X11000180       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             LARRY J               VA         740CL0100177100   THE LAW OFFICES OF PETER T. NICHOLL                  HAUPT                JOHN C                MD         24X11000180       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             LILLIAN               MD         24X05000508       THE LAW OFFICES OF PETER T. NICHOLL                  HAVARD               CHARLES W             MD         24X12000648       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             MARY A                MD         24X05000601       THE LAW OFFICES OF PETER T. NICHOLL                  HAVARD               IDA M                 MD         24X12000648       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             NAOMI                 MD         24X11000206       THE LAW OFFICES OF PETER T. NICHOLL                  HAVARD               RAYMOND D             MD         24X12000648       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             RAYMOND L             MD         24X03000431       THE LAW OFFICES OF PETER T. NICHOLL                  HAVILAND             CANDIDE A             MD         X01000454         THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             RICHARD B             MD         X01000747         THE LAW OFFICES OF PETER T. NICHOLL                  HAVILAND             JAMES D               MD         X01000454         THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             ROBERT J              VA         700CLO438392V04   THE LAW OFFICES OF PETER T. NICHOLL                  HAWKES               CLINTON C             VA         700CL0233212W01   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             SAMUEL                MD         98295510CX1976    THE LAW OFFICES OF PETER T. NICHOLL                  HAWKES               EDDIE M               MD         24X05000495       THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             SAMUEL W              MD         98323501CX2180    THE LAW OFFICES OF PETER T. NICHOLL                  HAWKES               LEE R                 VA         740CL0200074800   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             THEODORE              MD         24X04000114       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKES               MACKTOY               VA         700CL0235861V05   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             TONY M                VA         740CL0200373400   THE LAW OFFICES OF PETER T. NICHOLL                  HAWKES               RICHARD H             VA         700CL0233196C03   THE LAW OFFICES OF PETER T. NICHOLL
HARRISON             WILLIAM M             MD         24X05000508       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKES               THELMA D              MD         24X05000495       THE LAW OFFICES OF PETER T. NICHOLL
HARROD               CAROL M               MD         24X01002010       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              ALEXANDER             VA         740CL0100203200   THE LAW OFFICES OF PETER T. NICHOLL
HARROD               DELMAR L              MD         24X05000096       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              ALLISON D             VA         740CL0100159000   THE LAW OFFICES OF PETER T. NICHOLL
HARROD               JEFFERSON T           MD         24X04000904       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              ALPHONZO              VA         700CL0437757P03   THE LAW OFFICES OF PETER T. NICHOLL
HARROD               JESSE L               VA         010964            THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              BERNARD               VA         001131            THE LAW OFFICES OF PETER T. NICHOLL
HARROD               RUSSELL L             MD         24X01002010       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              CHARLES L             VA         740CL0100162800   THE LAW OFFICES OF PETER T. NICHOLL
HARROD               SARAH C               MD         24X05000096       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              CHARLES M             VA         29195VA           THE LAW OFFICES OF PETER T. NICHOLL
HARROD               VIVIAN                MD         24X04000904       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              FRANK                 VA         002139            THE LAW OFFICES OF PETER T. NICHOLL
HARRY                JOSEPH E              MD         24X06000110       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              GRAHAM M              VA         700CL0438816H02   THE LAW OFFICES OF PETER T. NICHOLL
HARRY                THERESA M             MD         24X06000110       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              JAMES E               VA         700CL0233159H02   THE LAW OFFICES OF PETER T. NICHOLL
HART                 EDGAR W               MD         24X04000988       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              KELLY M               VA         CL9927850W01      THE LAW OFFICES OF PETER T. NICHOLL
HART                 FRANCES               MD         24X04000988       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              LARRY G               VA         740CL0300033800   THE LAW OFFICES OF PETER T. NICHOLL
HART                 FRANKLIN              MD         24X03000445       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              LENIOUS               VA         740CL0000206800   THE LAW OFFICES OF PETER T. NICHOLL
HART                 HENRY J               MD         24X02000069       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              MARIE K               VA         740CL0100118000   THE LAW OFFICES OF PETER T. NICHOLL
HART                 JAMES E               VA         740CL9900166100   THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              ROBERT C              VA         29020A04          THE LAW OFFICES OF PETER T. NICHOLL
HART                 LUTHER E              VA         700CL0437999H02   THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              WILLIE F              VA         740CL0100201700   THE LAW OFFICES OF PETER T. NICHOLL
HART                 ROBERT                VA         30028VC           THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              WILLIE S              VA         740CL9900165600   THE LAW OFFICES OF PETER T. NICHOLL
HART                 VIRGINIA A            MD         24X12000316       THE LAW OFFICES OF PETER T. NICHOLL                  HAWKINS              WINFRED E             VA         0028970A04        THE LAW OFFICES OF PETER T. NICHOLL
HART                 WALTER                MD         24X14000240       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                ALBERT J              VA         700CL0539367J05   THE LAW OFFICES OF PETER T. NICHOLL
HART                 WILLIAM I             MD         24X12000316       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                ALBERT W              VA         700CL0438694P03   THE LAW OFFICES OF PETER T. NICHOLL
HART                 WILLIE T              MD         98289518CX1930    THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                ALICE                 MD         X01000840         THE LAW OFFICES OF PETER T. NICHOLL
HARTLESS             JAMES M               VA         740CL0200376500   THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                ALICE P               MD         24X01001997       THE LAW OFFICES OF PETER T. NICHOLL
HARTLEY              CARLES                MD         24X08000390       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                CALVIN C              MD         24X10000379       THE LAW OFFICES OF PETER T. NICHOLL
HARTLEY              TERRY N               VA         29089RW           THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                CLARICE               MD         24X02000690       THE LAW OFFICES OF PETER T. NICHOLL
HARTMAN              FRANCES M             MD         24X02000110       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                CLARICE H             MD         24X14000047       THE LAW OFFICES OF PETER T. NICHOLL
HARTMAN              GEORGE L              MD         24X02000110       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                DIANA M               MD         24X99000819       THE LAW OFFICES OF PETER T. NICHOLL
HARTMAN              JAMES J               MD         24X11000498       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                EARL T                MD         24X02000690       THE LAW OFFICES OF PETER T. NICHOLL
HARTMAN              MICHAEL E             MD         24X04001070       THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                ELISHA                MD         X01000259         THE LAW OFFICES OF PETER T. NICHOLL
HARTSFIELD           CONNIE M              VA         32081RW           THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                ERNESTINE F           MD         24X06000465       THE LAW OFFICES OF PETER T. NICHOLL
HARTZHEIM            LOUIS M               VA         740CL0200084800   THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                HERMAN                VA         740CL0200038400   THE LAW OFFICES OF PETER T. NICHOLL
HARVEY               ALAN L                VA         740CL0100324800   THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                KIM                   VA         700CL0028545W01   THE LAW OFFICES OF PETER T. NICHOLL
HARVEY               FRANK W               VA         700CL0539554V04   THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                LOUIS S               MD         24X06000465       THE LAW OFFICES OF PETER T. NICHOLL
HARVEY               FRED M                VA         700CL0438693T01   THE LAW OFFICES OF PETER T. NICHOLL                  HAYES                MADGALENE             MD         24X10000379       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 770
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 105 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HAYES                MARLEEN M             MD         24X10000297         THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            JOHN A                VA         0028904A04        THE LAW OFFICES OF PETER T. NICHOLL
HAYES                MAURICE S             MD         24X10000297         THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            JOHN F                VA         700CL0235853A04   THE LAW OFFICES OF PETER T. NICHOLL
HAYES                NAPOLEON W            VA         28869C03            THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            JOHN T                VA         700CL0233213V05   THE LAW OFFICES OF PETER T. NICHOLL
HAYES                OLDEN                 MD         24X01001997         THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            LATONYA               MD         24X14000456       THE LAW OFFICES OF PETER T. NICHOLL
HAYES                ROBERT L              MD         X01000840           THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            LEON                  MD         X01000598         THE LAW OFFICES OF PETER T. NICHOLL
HAYES                ROGER D               VA         740CL0100129500     THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            LEROY P               MD         24X01001958       THE LAW OFFICES OF PETER T. NICHOLL
HAYNES               EARL D                VA         740CL9900170800     THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            LOUVIONETTA           MD         24X01001958       THE LAW OFFICES OF PETER T. NICHOLL
HAYNES               HASKIL J              VA         700CL0232230C03     THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            PATRICIA DARLENE      MD         24X14000456       THE LAW OFFICES OF PETER T. NICHOLL
HAYNES               ISAIAH                VA         700CL0539140J05     THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            RUBY M                MD         24X01002147       THE LAW OFFICES OF PETER T. NICHOLL
HAYNES               JENNINGS W            VA         700CL0232235C03     THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            SAMUEL                MD         24X03000318       THE LAW OFFICES OF PETER T. NICHOLL
HAYNESWORTH          ELI M                 MD         01000228            THE LAW OFFICES OF PETER T. NICHOLL                  HENDERSON            VIRGINIA              MD         X01000598         THE LAW OFFICES OF PETER T. NICHOLL
HAYSPELL             JAMES C               VA         740CL0200006700     THE LAW OFFICES OF PETER T. NICHOLL                  HENDRICKS            CHARLES L             MD         24X10000459       THE LAW OFFICES OF PETER T. NICHOLL
HAYTON               JOSEPH F              VA         700CL0232198A04     THE LAW OFFICES OF PETER T. NICHOLL                  HENDRIX              ANNIE R               MD         24X02002713       THE LAW OFFICES OF PETER T. NICHOLL
HAYWOOD              CECIL H               VA         002643              THE LAW OFFICES OF PETER T. NICHOLL                  HENDRIX              ERVIN                 MD         24X02002713       THE LAW OFFICES OF PETER T. NICHOLL
HAZEL                JOHNSON               VA         30029RW             THE LAW OFFICES OF PETER T. NICHOLL                  HENNING              ESTHER                MD         24X06000559       THE LAW OFFICES OF PETER T. NICHOLL
HAZELGROVE           EMMA F                MD         98282509CX1891      THE LAW OFFICES OF PETER T. NICHOLL                  HENNING              KENNETH J             MD         24X06000559       THE LAW OFFICES OF PETER T. NICHOLL
HAZELGROVE           RAYMOND C             MD         98282509CX1891      THE LAW OFFICES OF PETER T. NICHOLL                  HENNINGER            DONALD E              MD         24X12000679       THE LAW OFFICES OF PETER T. NICHOLL
HAZELWOOD            ARMIDD L              MD         24X04001094         THE LAW OFFICES OF PETER T. NICHOLL                  HENRY                EARNESTINE            MD         24X01001760       THE LAW OFFICES OF PETER T. NICHOLL
HAZLEGROVE           EMMA F                MD         98282511CX1893      THE LAW OFFICES OF PETER T. NICHOLL                  HENRY                HERMAN                VA         740CL0100186700   THE LAW OFFICES OF PETER T. NICHOLL
HAZLEGROVE           RAYMOND               MD         98282511CX1893      THE LAW OFFICES OF PETER T. NICHOLL                  HENRY                WAVERLY               MD         24X01001760       THE LAW OFFICES OF PETER T. NICHOLL
HAZZARD              HARLEY F              VA         740CL0300099500     THE LAW OFFICES OF PETER T. NICHOLL                  HENSLEY              CLIFFORD L            MD         24X98030512       THE LAW OFFICES OF PETER T. NICHOLL
HEAD                 RICHARD A             MD         24X10000215         THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               ERIC                  MD         01000273          THE LAW OFFICES OF PETER T. NICHOLL
HEAD                 ROBERT A              MD         24X13000748         THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               JOSEPH P              MD         24X11000321       THE LAW OFFICES OF PETER T. NICHOLL
HEAD                 RONALD E              MD         24X02002234         THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               MABEL V               MD         24X06000571       THE LAW OFFICES OF PETER T. NICHOLL
HEAD                 RUBY V                MD         24X10000215         THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               SANDRA                MD         24X09000100       THE LAW OFFICES OF PETER T. NICHOLL
HEADLEY              PATRICIA              MD         24X04000446         THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               SANDRA M              MD         24X11000197       THE LAW OFFICES OF PETER T. NICHOLL
HEADLEY              VICTOR L              MD         24X04000446         THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               SOLOMON H             MD         24X09000100       THE LAW OFFICES OF PETER T. NICHOLL
HEADRICK             MILDRED A             VA         740CL0100164800     THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               SOLOMON H             MD         24X11000197       THE LAW OFFICES OF PETER T. NICHOLL
HEARD                CHRISTINE             MD         98212502CX1522      THE LAW OFFICES OF PETER T. NICHOLL                  HENSON               WALTER J              MD         24X11000072       THE LAW OFFICES OF PETER T. NICHOLL
HEARD                CLINTON               MD         24X04000672         THE LAW OFFICES OF PETER T. NICHOLL                  HEPNER               FRANCIS E             VA         700CL0438383H02   THE LAW OFFICES OF PETER T. NICHOLL
HEARD                DAVID J               MD         98212502CX1522      THE LAW OFFICES OF PETER T. NICHOLL                  HERBERT              HENRY                 MD         24X03000425       THE LAW OFFICES OF PETER T. NICHOLL
HEARD                MAGGIE                MD         24X04000672         THE LAW OFFICES OF PETER T. NICHOLL                  HERBERT              ROBERT L              MD         98191518CX1383    THE LAW OFFICES OF PETER T. NICHOLL
HEATH                FRANK J               MD         24X12000800         THE LAW OFFICES OF PETER T. NICHOLL                  HERBERT              RUBY A                MD         98191518CX1383    THE LAW OFFICES OF PETER T. NICHOLL
HEATH                JAMES C               VA         740CL0200296800     THE LAW OFFICES OF PETER T. NICHOLL                  HERBIN               ROBERT E              VA         700CL0438393H02   THE LAW OFFICES OF PETER T. NICHOLL
HEATH-SCRUGGS        EVELYN                MD         24X02001898         THE LAW OFFICES OF PETER T. NICHOLL                  HERDMAN              EDWARD R              MD         98254515CX1715    THE LAW OFFICES OF PETER T. NICHOLL
HEATON               BILLY G               MD         98233507CX1633      THE LAW OFFICES OF PETER T. NICHOLL                  HERDMAN              KATHRYN               MD         98254515CX1715    THE LAW OFFICES OF PETER T. NICHOLL
HEATON               VIVIAN                MD         98233507CX1633      THE LAW OFFICES OF PETER T. NICHOLL                  HERR                 JOHN E                MD         24X04000483       THE LAW OFFICES OF PETER T. NICHOLL
HEBRON               CARMELLA R            MD         24X06000532         THE LAW OFFICES OF PETER T. NICHOLL                  HERRERA              ANTONIO               MD         24X01001350       THE LAW OFFICES OF PETER T. NICHOLL
HEBRON               INEZ M                MD         24X02000156         THE LAW OFFICES OF PETER T. NICHOLL                  HERRERA              ELIZABETH             MD         24X01001350       THE LAW OFFICES OF PETER T. NICHOLL
HECKMAN              THOMAS E              MD         96318545            THE LAW OFFICES OF PETER T. NICHOLL                  HERRICK              MABLE JANE            MD         24X16000174       THE LAW OFFICES OF PETER T. NICHOLL
HECKSTALL            ERNEST                VA         740CL0300029200     THE LAW OFFICES OF PETER T. NICHOLL                  HERRICK              WAYNE L               MD         24X16000174       THE LAW OFFICES OF PETER T. NICHOLL
HECKSTALL            WILLIE A              VA         740CL0300243800     THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              DENISE                MD         24X120001042      THE LAW OFFICES OF PETER T. NICHOLL
HEDGEPETH            BERNARD L             VA         740CL0100177200     THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              DIANA                 MD         X01001145         THE LAW OFFICES OF PETER T. NICHOLL
HEDGEPETH            CARLTON E             VA         740CL0100203300     THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              EDWARD E              VA         700CLO438374J05   THE LAW OFFICES OF PETER T. NICHOLL
HEDGEPETH            LUCIAN                VA         740CL0300098600     THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              EDWIN S               VA         29168EH           THE LAW OFFICES OF PETER T. NICHOLL
HEGEPETH             DEAN E                VA         740CL0100321300     THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              JAMES E               VA         740CL0200020600   THE LAW OFFICES OF PETER T. NICHOLL
HEIGER               JOHN A                MD         99000526            THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              RAYMOND               MD         24X120001042      THE LAW OFFICES OF PETER T. NICHOLL
HEIL                 FRANCIS L             MD         98329560CX2285      THE LAW OFFICES OF PETER T. NICHOLL                  HERRING              RICHARD L             MD         X01001145         THE LAW OFFICES OF PETER T. NICHOLL
HEILMAN              ARTHUR M              MD         24X01001431         THE LAW OFFICES OF PETER T. NICHOLL                  HERRINGTON           JACOB L               MD         98169508CX1245    THE LAW OFFICES OF PETER T. NICHOLL
HEILMAN              ELAINE                MD         24X01001431         THE LAW OFFICES OF PETER T. NICHOLL                  HERRIOT              RAYMOND B             VA         29015A04          THE LAW OFFICES OF PETER T. NICHOLL
HEINRICH             KATHLEEN              MD         24X13000130         THE LAW OFFICES OF PETER T. NICHOLL                  HERRMANN             GEORGE E              MD         24X14000200       THE LAW OFFICES OF PETER T. NICHOLL
HEINRICH             MICHAEL W             MD         24X13000130         THE LAW OFFICES OF PETER T. NICHOLL                  HERRMANN             MARTHA                MD         24X14000200       THE LAW OFFICES OF PETER T. NICHOLL
HEINZE               DIANE E               MD         X01000565           THE LAW OFFICES OF PETER T. NICHOLL                  HESTER               FREDDIE N             VA         011045            THE LAW OFFICES OF PETER T. NICHOLL
HEINZE               MILLARD G             MD         X01000565           THE LAW OFFICES OF PETER T. NICHOLL                  HESTER               MARVIN K              MD         01001342          THE LAW OFFICES OF PETER T. NICHOLL
HELLEMS              DOROTHY C             MD         24X05000285         THE LAW OFFICES OF PETER T. NICHOLL                  HEWETT               ALONZO                VA         740CL0200038600   THE LAW OFFICES OF PETER T. NICHOLL
HELLEMS              GEORGE A              MD         24X05000285         THE LAW OFFICES OF PETER T. NICHOLL                  HEWETT               ALVIN L               VA         700CL0437722P03   THE LAW OFFICES OF PETER T. NICHOLL
HELMS                ROBERT V              VA         740CL0200038500     THE LAW OFFICES OF PETER T. NICHOLL                  HEWETT               ELEX J                VA         740CL0100129600   THE LAW OFFICES OF PETER T. NICHOLL
HELTON               YONDALL R             VA         31848RW             THE LAW OFFICES OF PETER T. NICHOLL                  HEWETT               PERRY                 VA         700CL0232483C03   THE LAW OFFICES OF PETER T. NICHOLL
HEMLING              DANIEL L              MD         24X01001880         THE LAW OFFICES OF PETER T. NICHOLL                  HEWITT               CONRADINE             MD         98324533CX2218    THE LAW OFFICES OF PETER T. NICHOLL
HEMLING              JANIS                 MD         24X01001880         THE LAW OFFICES OF PETER T. NICHOLL                  HEWITT               PHILIP A              MD         98324533CX2218    THE LAW OFFICES OF PETER T. NICHOLL
HEMPFER              RAYMOND F             VA         700CL0232236W01     THE LAW OFFICES OF PETER T. NICHOLL                  HEWLIN               CLAUDE                VA         740CL0100161200   THE LAW OFFICES OF PETER T. NICHOLL
HEMPHILL             ANTHONY L             MD         24X03000651         THE LAW OFFICES OF PETER T. NICHOLL                  HIBLER               GENE M                MD         X01000842         THE LAW OFFICES OF PETER T. NICHOLL
HEMPHILL             DIANE                 MD         24X03000651         THE LAW OFFICES OF PETER T. NICHOLL                  HIBLER               JAMES R               MD         X01000838         THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            ALETHIA               MD         24X92311501         THE LAW OFFICES OF PETER T. NICHOLL                  HICKEL               LAWANDA C             MD         24X04001014       THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            BENJAMIN              MD         24X97240501CX1792   THE LAW OFFICES OF PETER T. NICHOLL                  HICKMAN              BARBARA K             MD         24X06000589       THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            BYNUM                 MD         24X12000752         THE LAW OFFICES OF PETER T. NICHOLL                  HICKMAN              JOSEPH                VA         740CL0100159100   THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            DAVID L               MD         24X01002147         THE LAW OFFICES OF PETER T. NICHOLL                  HICKMAN              SIDNEY C              VA         31834VC           THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            ELDRIDGE M            MD         24X14000456         THE LAW OFFICES OF PETER T. NICHOLL                  HICKMAN              WILLIAM N             MD         24X06000589       THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            GARY                  VA         740CL0100319700     THE LAW OFFICES OF PETER T. NICHOLL                  HICKMAN              WOODROW C JR          VA         28651VA           THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            JAMES E               MD         24X92311501         THE LAW OFFICES OF PETER T. NICHOLL                  HICKS                BENNIE J              VA         740CL0200122700   THE LAW OFFICES OF PETER T. NICHOLL
HENDERSON            JAMES E               MD         24X08000143         THE LAW OFFICES OF PETER T. NICHOLL                  HICKS                CHARLES G             MD         24X02001565       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                Appendix A - 771
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 106 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HICKS                DANIEL O              VA         29169RC           THE LAW OFFICES OF PETER T. NICHOLL                  HINER                RUTH                  MD         24X02000108       THE LAW OFFICES OF PETER T. NICHOLL
HICKS                DARRINE L             VA         700CL0539592P03   THE LAW OFFICES OF PETER T. NICHOLL                  HINES                DARLENE               MD         24X04000447       THE LAW OFFICES OF PETER T. NICHOLL
HICKS                DEBORAH               MD         24X14000478       THE LAW OFFICES OF PETER T. NICHOLL                  HINES                GENE C                MD         24X14000231       THE LAW OFFICES OF PETER T. NICHOLL
HICKS                EDDIE L               VA         0028971V05        THE LAW OFFICES OF PETER T. NICHOLL                  HINES                JAMES L               MD         24X04000447       THE LAW OFFICES OF PETER T. NICHOLL
HICKS                GEORGE H              MD         24X14000478       THE LAW OFFICES OF PETER T. NICHOLL                  HINES                LEROY SR              VA         28531VA           THE LAW OFFICES OF PETER T. NICHOLL
HICKS                GERTIE L              VA         700CL0539112P03   THE LAW OFFICES OF PETER T. NICHOLL                  HINES                MELVIN T              MD         24X01001986       THE LAW OFFICES OF PETER T. NICHOLL
HICKS                HENRY L               VA         740CL0100141300   THE LAW OFFICES OF PETER T. NICHOLL                  HINES                MICHAEL T             VA         29739RW           THE LAW OFFICES OF PETER T. NICHOLL
HICKS                LAWRENCE              VA         002200            THE LAW OFFICES OF PETER T. NICHOLL                  HINES                RANDALL F             VA         740CL0200003200   THE LAW OFFICES OF PETER T. NICHOLL
HICKS                LEOGIE                VA         CL9928035A04      THE LAW OFFICES OF PETER T. NICHOLL                  HINES                RAYMOND C             VA         740CL0100196100   THE LAW OFFICES OF PETER T. NICHOLL
HICKS                MORRIS R              VA         700CL0437763W01   THE LAW OFFICES OF PETER T. NICHOLL                  HINES                RAYMOND L             VA         700CL0233214H02   THE LAW OFFICES OF PETER T. NICHOLL
HICKS                PAUL                  VA         740CL0300087400   THE LAW OFFICES OF PETER T. NICHOLL                  HINES                ROBERT E              VA         740CL0200006800   THE LAW OFFICES OF PETER T. NICHOLL
HICKS                STEVEN                MD         24X14000327       THE LAW OFFICES OF PETER T. NICHOLL                  HINES                RONNEY L              MD         24X04000591       THE LAW OFFICES OF PETER T. NICHOLL
HICKS                THOMAS K              MD         24X01002009       THE LAW OFFICES OF PETER T. NICHOLL                  HINES                SUSIE R               VA         001260            THE LAW OFFICES OF PETER T. NICHOLL
HICKS                WILLIE B              VA         740CL0200022000   THE LAW OFFICES OF PETER T. NICHOLL                  HINKLE               BRYCE E               VA         700CL0233186C03   THE LAW OFFICES OF PETER T. NICHOLL
HICKS                WILLIE C              VA         740CL0100201800   THE LAW OFFICES OF PETER T. NICHOLL                  HINNANT              ALVIN E               VA         740CL0200373500   THE LAW OFFICES OF PETER T. NICHOLL
HIEBLER              DEBORAH               MD         98329561CX2286    THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               BILLY C               VA         740CL0300087500   THE LAW OFFICES OF PETER T. NICHOLL
HIEBLER              WAYNE C               MD         98329561CX2286    THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               CAROLYN               MD         24X06000538       THE LAW OFFICES OF PETER T. NICHOLL
HIGGINS              JAMES D               VA         29369VC           THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               ELVIN L               MD         24X16000194       THE LAW OFFICES OF PETER T. NICHOLL
HIGGINS              LEROY                 MD         X99000470         THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               JOHN H                VA         740CL0100163000   THE LAW OFFICES OF PETER T. NICHOLL
HIGGS                HAYWOOD L             VA         700CL0438000T05   THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               MARIE V               MD         24X02001903       THE LAW OFFICES OF PETER T. NICHOLL
HIGGS                TERRY L               VA         740CL0100177400   THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               RANDOLPH              VA         740CL0200052400   THE LAW OFFICES OF PETER T. NICHOLL
HIGH                 COBURN L              VA         740CL0100346400   THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               WAYNE A               VA         740CL0100196200   THE LAW OFFICES OF PETER T. NICHOLL
HIGHSMITH            EARL                  VA         740CL0100161300   THE LAW OFFICES OF PETER T. NICHOLL                  HINTON               WILLIAM M             MD         24X06000538       THE LAW OFFICES OF PETER T. NICHOLL
HIGHSMITH            LARRY                 VA         740CL0200043700   THE LAW OFFICES OF PETER T. NICHOLL                  HINZPETER            RICHARD C             VA         29954RW           THE LAW OFFICES OF PETER T. NICHOLL
HIGHTOWER            CHARLES E             MD         24X02001254       THE LAW OFFICES OF PETER T. NICHOLL                  HIPSLEY              MILLARD B             MD         X01000710         THE LAW OFFICES OF PETER T. NICHOLL
HILL                 ALTEE M               VA         740CL0200037600   THE LAW OFFICES OF PETER T. NICHOLL                  HITT                 JESSE F               VA         740CL0200020900   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 BEVERLY A             MD         24X03000572       THE LAW OFFICES OF PETER T. NICHOLL                  HITT                 WOODROW E             VA         740CL0200021000   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 CHARLES A             MD         24X17000482       THE LAW OFFICES OF PETER T. NICHOLL                  HIZA                 JEROME P              VA         700CL0539368T01   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 CHARLES E             MD         24X02002239       THE LAW OFFICES OF PETER T. NICHOLL                  HLOPAK               MICHAEL J             MD         24X05000145       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 CHARLIE T             VA         740CL0200037700   THE LAW OFFICES OF PETER T. NICHOLL                  HLOPAK               RHEA                  MD         24X05000145       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 CLARENCE A            VA         740CL0300017400   THE LAW OFFICES OF PETER T. NICHOLL                  HOADLEY              DOUGLAS C             VA         31826EH           THE LAW OFFICES OF PETER T. NICHOLL
HILL                 CLAUDE C              VA         740CL0200354200   THE LAW OFFICES OF PETER T. NICHOLL                  HOBAN                JOHN F                MD         24X02000964       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 COLEMON               MD         24X01001191       THE LAW OFFICES OF PETER T. NICHOLL                  HOBAN                SHIRLEY               MD         24X02000964       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 DANIEL D              MD         X01000612         THE LAW OFFICES OF PETER T. NICHOLL                  HOBBS                DEMETRIUS D           VA         740CL0300162700   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 DONALD E              VA         740CL0300162600   THE LAW OFFICES OF PETER T. NICHOLL                  HOBBS                DORSEY                MD         24X03000792       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 EDWARD O              VA         700CL0233185A04   THE LAW OFFICES OF PETER T. NICHOLL                  HOBBS                JAMES L               VA         0084000           THE LAW OFFICES OF PETER T. NICHOLL
HILL                 ELDRIDGE A            VA         740CL0100207300   THE LAW OFFICES OF PETER T. NICHOLL                  HOBSON               FARRY L               MD         24X02000542       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 ESTHER                MD         24X02002239       THE LAW OFFICES OF PETER T. NICHOLL                  HOBSON               SYLVESTER L           VA         740CL0300162800   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 JACQUELINE            MD         24X01001191       THE LAW OFFICES OF PETER T. NICHOLL                  HOCKMAN              JACK N                MD         24X03001139       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 JAMES                 VA         740CL0100162900   THE LAW OFFICES OF PETER T. NICHOLL                  HODGE                JACQUELYN R           MD         24X01001999       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 JAMES C               VA         700CL0437591W01   THE LAW OFFICES OF PETER T. NICHOLL                  HODGE                JAMES C               MD         24X06000379       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 JAMES C               VA         740CL9900171600   THE LAW OFFICES OF PETER T. NICHOLL                  HODGE                NANCY M               MD         24X06000379       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 JODIE                 MD         24X05000576       THE LAW OFFICES OF PETER T. NICHOLL                  HODGE                ROY C                 VA         32082VC           THE LAW OFFICES OF PETER T. NICHOLL
HILL                 KELLY M               VA         29593VA           THE LAW OFFICES OF PETER T. NICHOLL                  HODGE                SHERMAN M             MD         24X01001999       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 LAWRENCE R            VA         700CL0438695V04   THE LAW OFFICES OF PETER T. NICHOLL                  HODGES               BERNARD G             VA         700CL0437869H02   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 LAWRENCE R            VA         740CL0000148100   THE LAW OFFICES OF PETER T. NICHOLL                  HODGES               GERRY A               VA         740CL0200223800   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 LEE H                 VA         740CL0200022100   THE LAW OFFICES OF PETER T. NICHOLL                  HODGES               JIMMIE                VA         740CL0200021100   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 OLIVER D              VA         29329RW           THE LAW OFFICES OF PETER T. NICHOLL                  HOERICHS             WILSON W              MD         24X01000810       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 ROBERT E              VA         002062            THE LAW OFFICES OF PETER T. NICHOLL                  HOFFMAN              ALICE                 MD         98163549CX1228    THE LAW OFFICES OF PETER T. NICHOLL
HILL                 ROBERT W              MD         24X05000130       THE LAW OFFICES OF PETER T. NICHOLL                  HOFFMAN              HENRY K               VA         32581VA           THE LAW OFFICES OF PETER T. NICHOLL
HILL                 RONALD B              MD         24X04000768       THE LAW OFFICES OF PETER T. NICHOLL                  HOFFMAN              LILLI W               MD         24X10000184       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 SELMA                 MD         24X05000130       THE LAW OFFICES OF PETER T. NICHOLL                  HOFFMAN              THURMAN G             MD         98163549CX1228    THE LAW OFFICES OF PETER T. NICHOLL
HILL                 SHIRLEY               MD         24X03000069       THE LAW OFFICES OF PETER T. NICHOLL                  HOFFMAN              VERNON S              MD         24X10000184       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 STEVEN P              VA         002655            THE LAW OFFICES OF PETER T. NICHOLL                  HOFMANN              ERICH J               MD         24X01001073       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 SYLVESTER             MD         24X03000069       THE LAW OFFICES OF PETER T. NICHOLL                  HOFMANN              ROSEMARIE             MD         24X01001073       THE LAW OFFICES OF PETER T. NICHOLL
HILL                 THOMAS                MD         24X12001127       THE LAW OFFICES OF PETER T. NICHOLL                  HOGGARD              BENJAMIN O            VA         30035VA           THE LAW OFFICES OF PETER T. NICHOLL
HILL                 THOMAS R              VA         001190            THE LAW OFFICES OF PETER T. NICHOLL                  HOGGARD              EDDIE L               VA         700CL0438722J05   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 VINCENT E             MD         X010001001        THE LAW OFFICES OF PETER T. NICHOLL                  HOGGARD              GAIL M                VA         740CL0200089100   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 WILBERT M             VA         29953VC           THE LAW OFFICES OF PETER T. NICHOLL                  HOGGARD              TOMMY F               VA         740CL0200117500   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 WILLIE L              VA         740CL0200043800   THE LAW OFFICES OF PETER T. NICHOLL                  HOGGARD              WILLIE L              VA         0028941V05        THE LAW OFFICES OF PETER T. NICHOLL
HILL                 WILLIE L              VA         740CL0200378500   THE LAW OFFICES OF PETER T. NICHOLL                  HOGGE                HOWARD B              VA         740CL0100309200   THE LAW OFFICES OF PETER T. NICHOLL
HILL                 WILMA                 MD         X010001001        THE LAW OFFICES OF PETER T. NICHOLL                  HOGGE                KENNETH H             VA         29759RW           THE LAW OFFICES OF PETER T. NICHOLL
HILLEGASS            PEARL E               MD         24X05000435       THE LAW OFFICES OF PETER T. NICHOLL                  HOGGE                WILLIAM H             VA         740CL0300199900   THE LAW OFFICES OF PETER T. NICHOLL
HILLEGASS            WILLIAM C             MD         24X05000435       THE LAW OFFICES OF PETER T. NICHOLL                  HOGGE                WILLIAM P             VA         740CL0300158700   THE LAW OFFICES OF PETER T. NICHOLL
HILLIARD             JAMES                 VA         002063            THE LAW OFFICES OF PETER T. NICHOLL                  HOILMAN              GLORIA J              MD         24X09000285       THE LAW OFFICES OF PETER T. NICHOLL
HILTNER              JOHN R                MD         24X01002151       THE LAW OFFICES OF PETER T. NICHOLL                  HOLCOMB              CHARLOTTE             MD         24X02001726       THE LAW OFFICES OF PETER T. NICHOLL
HILTON               FELIX L               VA         30123RC           THE LAW OFFICES OF PETER T. NICHOLL                  HOLCOMB              LOUIS E               MD         24X02001726       THE LAW OFFICES OF PETER T. NICHOLL
HILTON               MORGAN                MD         24X04000841       THE LAW OFFICES OF PETER T. NICHOLL                  HOLCOMBE             ALLEN G               MD         24X12000658       THE LAW OFFICES OF PETER T. NICHOLL
HILTZ                DEBRA                 MD         24X01001415       THE LAW OFFICES OF PETER T. NICHOLL                  HOLCOMBE             KATHRYN G             MD         24X12000658       THE LAW OFFICES OF PETER T. NICHOLL
HILTZ                RAYMOND L             MD         24X01001415       THE LAW OFFICES OF PETER T. NICHOLL                  HOLDEN               ROBERT P              VA         002720            THE LAW OFFICES OF PETER T. NICHOLL
HINER                EDSEL L               MD         24X02000108       THE LAW OFFICES OF PETER T. NICHOLL                  HOLEMON              CLARENCE L            VA         700CL0235854C03   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 772
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 107 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HOLIDAY              AL T                  VA         29011V05          THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               ALBERT C              MD         24X12000778       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              ALTON T               VA         740CL0200373600   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               ALBERT W              MD         24X03000402       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              BETSY A               VA         740CL0200122800   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               ANDREW L              VA         700CL0438236P03   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              BRUCE A               MD         24X16000193       THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               CARROLL               MD         24X05000509       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              CALVIN E              VA         740CL0000014500   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               CATHERINE             MD         24X05000509       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              CARROLL L             VA         700CL0438384J05   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               CLIFTON H             VA         29090VA           THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              CLINTON M             VA         01875             THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               DAVID R               MD         24X02002615       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              CLYDE C               VA         740CL0100201900   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               ELMER C               VA         740CL0000000800   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              DONALD R              VA         740CL0100203400   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               ERNEST J              VA         700CL0437621W01   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              HELLEON O             VA         002644            THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               GREGORY M             MD         24X01001882       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              HERMAN O              VA         700CL0235609A04   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               JAMES L               VA         740CL0100181000   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              JACQUELIN             VA         700CL0538949H02   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               JOHN A                VA         700CL0233203V05   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              JESTON A              VA         0082900           THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               JOHN R                VA         700CL0235674C03   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              JOSEPH E              VA         740CL0100127900   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               LEONARD A             VA         740CL0300158900   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              MELVIN E              MD         24X08000049       THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               PATRIA                MD         24X97022519       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              MILTON M              VA         740CL0300158800   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               PATRICIA A            MD         24X01001882       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              RANDOLPH D            VA         001261            THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               PAUL A                VA         740CL0100188800   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              RANDOLPH D            VA         700CL0538949H02   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               PAULA M               MD         98169509CX1246    THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              RAYMOND R             VA         740CL0100185700   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               POWHATAN JR           VA         29594EH           THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              ROBERT A              VA         700CL0235797H02   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               ROBERT E              MD         24X04000482       THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              ROBERT O              VA         740CL0100125300   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               SAMUEL E SR           MD         98169509CX1246    THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              THOMAS G              VA         740CL0100204100   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               SAMUEL JR             VA         700CL0028489C03   THE LAW OFFICES OF PETER T. NICHOLL
HOLLAND              WILLIAM H             VA         740CL0100141400   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               WALTER L              VA         700CL0028482V05   THE LAW OFFICES OF PETER T. NICHOLL
HOLLENBAUGH          LINDA                 MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               WILLIAM A             VA         29196VC           THE LAW OFFICES OF PETER T. NICHOLL
HOLLENBAUGH          ROGER                 MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               WILLIAM B             MD         24X02001569       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               CLYDE M               VA         740CL0100180900   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               WILLIAM H             VA         700CL0028179A04   THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               DAISY L               VA         700CL0538950V04   THE LAW OFFICES OF PETER T. NICHOLL                  HOLMES               WILLIAM M             VA         29037VA           THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               JAMES C               VA         700CL0233187W01   THE LAW OFFICES OF PETER T. NICHOLL                  HOLSCLAW             MARY P                VA         740CL0300159000   THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               JAMES C               VA         700CL0538950V04   THE LAW OFFICES OF PETER T. NICHOLL                  HOLSCLAW             WILLIAM L             VA         740CL0300159000   THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               JAMES JR              VA         740CL0000017400   THE LAW OFFICES OF PETER T. NICHOLL                  HOLT                 GWEN G                VA         740CL0200374000   THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               JOHNNIE               VA         29036VA           THE LAW OFFICES OF PETER T. NICHOLL                  HOLT                 PATRICIA              MD         24X03000243       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               JOSEPH L              MD         X010001000        THE LAW OFFICES OF PETER T. NICHOLL                  HOLT                 ROBERT                VA         001263            THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               LINWOOD               VA         740CL0100309100   THE LAW OFFICES OF PETER T. NICHOLL                  HOLT                 RONNIE H              MD         24X03000243       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               RICHARD               VA         740CL0200071200   THE LAW OFFICES OF PETER T. NICHOLL                  HOLT                 WILLIAMS M            MD         24X02002237       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               RICHARD T             VA         740CL0100125100   THE LAW OFFICES OF PETER T. NICHOLL                  HOLTON               HORACE                MD         X01000704         THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               ROBERT L              VA         700CL0233132W01   THE LAW OFFICES OF PETER T. NICHOLL                  HONAKER              EARNEST E             MD         24X05000287       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               SYLVESTER G           VA         0028739H02        THE LAW OFFICES OF PETER T. NICHOLL                  HONAKER              HARLIS L              MD         24X13000109       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               VELMA                 MD         X010001000        THE LAW OFFICES OF PETER T. NICHOLL                  HONAKER              HARLIS L              MD         24X05000299       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               VIVIAN A              MD         24X12000797       THE LAW OFFICES OF PETER T. NICHOLL                  HONAKER              MARGARET E            MD         24X05000287       THE LAW OFFICES OF PETER T. NICHOLL
HOLLEY               WILLIAM P             VA         740CL0100127800   THE LAW OFFICES OF PETER T. NICHOLL                  HONAKER              MARY E                MD         24X05000299       THE LAW OFFICES OF PETER T. NICHOLL
HOLLIE               MARY E                MD         24X05000245       THE LAW OFFICES OF PETER T. NICHOLL                  HONAKER              MARY E                MD         24X13000109       THE LAW OFFICES OF PETER T. NICHOLL
HOLLIFIELD           WILLIAM               VA         740CL0200373700   THE LAW OFFICES OF PETER T. NICHOLL                  HOOD                 JAMES                 VA         740CL0200050200   THE LAW OFFICES OF PETER T. NICHOLL
HOLLIMAN             RICHARD L             VA         700CL0438731H02   THE LAW OFFICES OF PETER T. NICHOLL                  HOOD                 JAMES                 VA         700CL0538951J05   THE LAW OFFICES OF PETER T. NICHOLL
HOLLIMON             LILTON T              VA         740CL0300243900   THE LAW OFFICES OF PETER T. NICHOLL                  HOOD                 ZELMA I               VA         700CL0538951J05   THE LAW OFFICES OF PETER T. NICHOLL
HOLLINGSHEAD         EDNA C                MD         24X07000214       THE LAW OFFICES OF PETER T. NICHOLL                  HOOKER               ALFRED                VA         001108            THE LAW OFFICES OF PETER T. NICHOLL
HOLLINGSHEAD         HARRY L               MD         24X10000159       THE LAW OFFICES OF PETER T. NICHOLL                  HOOKER               MELVIN C              VA         740CL0100309000   THE LAW OFFICES OF PETER T. NICHOLL
HOLLIS               ELIZABETH             MD         24X01001399       THE LAW OFFICES OF PETER T. NICHOLL                  HOOKER               MELVIN C              VA         700CL0437877W01   THE LAW OFFICES OF PETER T. NICHOLL
HOLLIS               SANFORD               MD         24X01001399       THE LAW OFFICES OF PETER T. NICHOLL                  HOOKER               THOMAS R              VA         740CL0300087800   THE LAW OFFICES OF PETER T. NICHOLL
HOLLOMAN             DAVID                 MD         24X03000251       THE LAW OFFICES OF PETER T. NICHOLL                  HOOKS                CARL L                VA         740CL0200022200   THE LAW OFFICES OF PETER T. NICHOLL
HOLLOMAN             HURLEY L              VA         0028940A04        THE LAW OFFICES OF PETER T. NICHOLL                  HOOKS                MELVIN                VA         740CL0300033900   THE LAW OFFICES OF PETER T. NICHOLL
HOLLOMAN             IRIS B                MD         24X03000251       THE LAW OFFICES OF PETER T. NICHOLL                  HOOLEY               JOHN D                VA         002069            THE LAW OFFICES OF PETER T. NICHOLL
HOLLOMAN             JOHNNY H              VA         740CL0300244000   THE LAW OFFICES OF PETER T. NICHOLL                  HOOPER               NORMAN L              VA         740CL0100347900   THE LAW OFFICES OF PETER T. NICHOLL
HOLLOMAN             JOHNNY L              VA         700CL0233202W01   THE LAW OFFICES OF PETER T. NICHOLL                  HOOVER               WILEY D               VA         740CL0100194600   THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             ALICE W               VA         740CL0200043900   THE LAW OFFICES OF PETER T. NICHOLL                  HOPE                 MERRITT               VA         740CL0200052500   THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             ARCHIE THOMAS         VA         740CL0200043900   THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              BARBARA               MD         98162504CX1165    THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             BRENDA A              VA         740CL0200014800   THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              BEATRICE              MD         X01001051         THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             CURTIS L              VA         740CL0300087600   THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              DAVID L               MD         24X14000267       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             GENE D                VA         740CL0200021200   THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              HERMAN O              MD         24X05000379       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             GEORGE W              VA         29330VC           THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              JOHN H                MD         24X10000497       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JAMES A               VA         29805VA           THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              JUNE                  MD         24X05000379       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JAMES L               VA         CL9927851A04      THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              LEXIE                 MD         24X15000180       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JOHN A                VA         011046            THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              LYNDA L               MD         24X10000340       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JOHN R                VA         700CL0232742H02   THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              MELODY ANN            MD         24X16000174       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JOHN R                VA         001262            THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              REGINALD V            MD         98162504CX1165    THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JOSEPH                VA         001634            THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              ROBERT                MD         X01001051         THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             JOSEPH G              VA         01981             THE LAW OFFICES OF PETER T. NICHOLL                  HOPKINS              WILLIAM               MD         24X13000060       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             MILTON R              VA         740CL0200373800   THE LAW OFFICES OF PETER T. NICHOLL                  HOPPER               CLAYTON Y             MD         24X03000404       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             QUINCY L              VA         740CL0200373900   THE LAW OFFICES OF PETER T. NICHOLL                  HOPPER               MARIE                 MD         24X03000404       THE LAW OFFICES OF PETER T. NICHOLL
HOLLOWAY             WILLIAM H             VA         740CL9900170900   THE LAW OFFICES OF PETER T. NICHOLL                  HOPSON               BERNICE               MD         24X12000421       THE LAW OFFICES OF PETER T. NICHOLL
HOLMAN               JAMES L               VA         740CL0100129700   THE LAW OFFICES OF PETER T. NICHOLL                  HOPSON               BURTON M              VA         740CL0100127700   THE LAW OFFICES OF PETER T. NICHOLL
HOLMAN               WILEY L               VA         740CL0300087700   THE LAW OFFICES OF PETER T. NICHOLL                  HOPSON               CLAUDE M              VA         99001885          THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 773
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 108 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HOPSON               FRANCIS E             MD         98156507CX1139    THE LAW OFFICES OF PETER T. NICHOLL                  HOWARD               THEODORE O            VA         29118EH           THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               GENE E                VA         740CL0100161400   THE LAW OFFICES OF PETER T. NICHOLL                  HOWARD               VERNON E              VA         700CL0235862H02   THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               GEORGE E              VA         700CL0235675W01   THE LAW OFFICES OF PETER T. NICHOLL                  HOWARD               WALTER E              MD         24X02002143       THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               JAMES C               VA         740CL0200022300   THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               BEVERLY               MD         24X02000691       THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               JAMES M               VA         740CL9900188600   THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               EDWARD L              MD         24X02000691       THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               JAMES T               VA         740CL0100223400   THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               JOSEPH E              MD         24X01002149       THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               LEVI B                VA         740CL0100127600   THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               LUKE A                MD         X01001056         THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               RUSSELL B             VA         002199            THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               PAUL R                VA         740CL0100319800   THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               THEODORE R            VA         27993VC           THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               ROSE                  MD         X01001056         THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               WILLIAM R             MD         24X12000421       THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               WILLIAM L             VA         001642            THE LAW OFFICES OF PETER T. NICHOLL
HOPSON               WILLIAM R             VA         101181            THE LAW OFFICES OF PETER T. NICHOLL                  HOWELL               WILLIAM M             VA         CL9928036C03      THE LAW OFFICES OF PETER T. NICHOLL
HORN                 MARGARET              MD         24X08000246       THE LAW OFFICES OF PETER T. NICHOLL                  HOWERTON             CYNTHIA               MD         98329563CX2288    THE LAW OFFICES OF PETER T. NICHOLL
HORN                 ROBERT C              MD         24X08000246       THE LAW OFFICES OF PETER T. NICHOLL                  HOWERTON             SANDELL B             MD         98329563CX2288    THE LAW OFFICES OF PETER T. NICHOLL
HORNE                BERNARD L             VA         700CL233204H02    THE LAW OFFICES OF PETER T. NICHOLL                  HOWES                VICKI C               MD         24X03000571       THE LAW OFFICES OF PETER T. NICHOLL
HORNE                EDWARD L              VA         740CL0100172300   THE LAW OFFICES OF PETER T. NICHOLL                  HOYLE                ROBERT                MD         24X14000435       THE LAW OFFICES OF PETER T. NICHOLL
HORNE                RONALD C              VA         740CL0300024000   THE LAW OFFICES OF PETER T. NICHOLL                  HOYLE                ROBERT L              MD         98329567CX2292    THE LAW OFFICES OF PETER T. NICHOLL
HORNER               JEFFREY S             VA         700CL0232484W01   THE LAW OFFICES OF PETER T. NICHOLL                  HOYT                 JANE                  MD         24X14000188       THE LAW OFFICES OF PETER T. NICHOLL
HOROSCHAK            DAVID M               MD         24X15000575       THE LAW OFFICES OF PETER T. NICHOLL                  HOYT                 RICHARD I             MD         24X14000188       THE LAW OFFICES OF PETER T. NICHOLL
HOROSCHAK            JANICE S              MD         24X15000575       THE LAW OFFICES OF PETER T. NICHOLL                  HRUZ                 VIRGINIA L            MD         24X10000063       THE LAW OFFICES OF PETER T. NICHOLL
HOROSCHAK            ROSALINE              MD         24X15000575       THE LAW OFFICES OF PETER T. NICHOLL                  HRUZ                 WILLIAM E             MD         24X10000063       THE LAW OFFICES OF PETER T. NICHOLL
HOROSCHAK-SCHMITT    LINDA                 MD         24X15000575       THE LAW OFFICES OF PETER T. NICHOLL                  HUBBARD              ARTHUR F              MD         24X04000234       THE LAW OFFICES OF PETER T. NICHOLL
HORRELL              EDDIE W               VA         740CL0100206100   THE LAW OFFICES OF PETER T. NICHOLL                  HUBBARD              EARNEST J             VA         30036EH           THE LAW OFFICES OF PETER T. NICHOLL
HORRELL              JOSEPH H              VA         700CL0233133V05   THE LAW OFFICES OF PETER T. NICHOLL                  HUBBARD              KENNETH               VA         700CL0539408T01   THE LAW OFFICES OF PETER T. NICHOLL
HORREY               DARYL M               MD         24X03000648       THE LAW OFFICES OF PETER T. NICHOLL                  HUBBARD              PHYLLIS A             MD         X98402467         THE LAW OFFICES OF PETER T. NICHOLL
HORREY               WARREN S              MD         98337503CX2315    THE LAW OFFICES OF PETER T. NICHOLL                  HUBBARD              RICHARD J             MD         24X08000070       THE LAW OFFICES OF PETER T. NICHOLL
HORSLEY              HAROLD E              MD         24X17000121       THE LAW OFFICES OF PETER T. NICHOLL                  HUBBARD              ROGER                 VA         740CL0100202000   THE LAW OFFICES OF PETER T. NICHOLL
HORSLEY              RICHARD M             VA         31860VA           THE LAW OFFICES OF PETER T. NICHOLL                  HUBER                BARBARA               MD         24X03000569       THE LAW OFFICES OF PETER T. NICHOLL
HORTON               BENJAMIN F            VA         001584            THE LAW OFFICES OF PETER T. NICHOLL                  HUBER                THOMAS E              MD         24X03000569       THE LAW OFFICES OF PETER T. NICHOLL
HORTON               CALVIN L              MD         24X02001488       THE LAW OFFICES OF PETER T. NICHOLL                  HUCKS                MICHAEL E             VA         740CL0200051400   THE LAW OFFICES OF PETER T. NICHOLL
HORTON               CHRISTINE M           MD         98170512CX1268    THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              BOBBY I               VA         740CL0300245300   THE LAW OFFICES OF PETER T. NICHOLL
HORTON               GLENN                 VA         740CL0100163100   THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              CLINTON D             MD         X99000109         THE LAW OFFICES OF PETER T. NICHOLL
HORTON               HUGH R                VA         700CL0539149V04   THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              DWIGHT T              VA         740CL0200126000   THE LAW OFFICES OF PETER T. NICHOLL
HORTON               JAMES H               MD         98170512CX1268    THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              ELTON M               VA         001373            THE LAW OFFICES OF PETER T. NICHOLL
HORTON               MAJOR M               VA         740CL0300113600   THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              HERDELL               MD         X99000109         THE LAW OFFICES OF PETER T. NICHOLL
HORTON               WILLIAM               VA         011212            THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              JOHN E                VA         740CL0100177500   THE LAW OFFICES OF PETER T. NICHOLL
HOSKIE               JAMES R               VA         740CL0300240700   THE LAW OFFICES OF PETER T. NICHOLL                  HUDGINS              WILTON L              VA         740CL0300197600   THE LAW OFFICES OF PETER T. NICHOLL
HOSMER               MELVIN H              VA         740CL0100207400   THE LAW OFFICES OF PETER T. NICHOLL                  HUDNET               GEORGE T              MD         24X11000063       THE LAW OFFICES OF PETER T. NICHOLL
HOTT                 DIANE M               MD         24X13000416       THE LAW OFFICES OF PETER T. NICHOLL                  HUDNET               LINDA                 MD         24X11000063       THE LAW OFFICES OF PETER T. NICHOLL
HOTT                 RONALD C              MD         24X13000416       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               ARVEL                 MD         24X14000335       THE LAW OFFICES OF PETER T. NICHOLL
HOUCK                DANNY E               MD         24X04000839       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               GEORGE                VA         27985VA           THE LAW OFFICES OF PETER T. NICHOLL
HOUCK                DARLENE               MD         24X04000839       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               HARRY E               MD         X01000877         THE LAW OFFICES OF PETER T. NICHOLL
HOUSER               CHARLES P             VA         700CL0235591W01   THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               JAMES C               VA         740CL0300113700   THE LAW OFFICES OF PETER T. NICHOLL
HOUSTON              JAMES D               MD         24X02000100       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               JOSEPH G              VA         32582EH           THE LAW OFFICES OF PETER T. NICHOLL
HOUSTON              JAMES JR              VA         28770RC           THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               JOYCE                 MD         24X09000211       THE LAW OFFICES OF PETER T. NICHOLL
HOUZE                ROOSEVELT C           MD         98142514CX1036    THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               LISKER D              VA         29843EH           THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               ANDREA C              MD         24X14000268       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               MARSHA L              MD         24X12001136       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               BOBBY A               VA         001141            THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               MORGAN L              MD         24X12001136       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               CAROL J               MD         24X11000363       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               RICHARD               VA         29831RW           THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               CARRIE                MD         24X02002602       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               RODNEY                VA         29844RC           THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               CLARA                 MD         24X02002143       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               ROSA                  MD         X01000877         THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               CORNELIUS J           MD         24X11000079       THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               VIRGINIA              MD         24X14000335       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               DENNIS                VA         740CL0200356500   THE LAW OFFICES OF PETER T. NICHOLL                  HUDSON               WARREN L              MD         24X09000211       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               DIANE M               MD         24X11000079       THE LAW OFFICES OF PETER T. NICHOLL                  HUEY                 GWENDOLYN             MD         24X02001145       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               DONNA                 MD         X99000107         THE LAW OFFICES OF PETER T. NICHOLL                  HUEY                 WAYNE                 MD         24X02001145       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               EDDIE E               MD         X99000107         THE LAW OFFICES OF PETER T. NICHOLL                  HUFFINES             EUGENE                MD         98296511CX1989    THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               FLOYD                 VA         0028936V05        THE LAW OFFICES OF PETER T. NICHOLL                  HUFFINES             GEORGINA              MD         98296511CX1989    THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               FREDDIE LEE           MD         24X08000467       THE LAW OFFICES OF PETER T. NICHOLL                  HUGATE               SILAS R               VA         9927941C03        THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               GARY C                VA         740CL0200074900   THE LAW OFFICES OF PETER T. NICHOLL                  HUGER                ANGELA                MD         24X14000165       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               GERALD R              MD         24X01001765       THE LAW OFFICES OF PETER T. NICHOLL                  HUGER                JOHN E                MD         24X14000165       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               HUGH C                MD         24X01001078       THE LAW OFFICES OF PETER T. NICHOLL                  HUGGINS              MICHAEL T             VA         700CL0539409P03   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               JIMMIE                MD         24X04001068       THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               ANDREW J              VA         29632VC           THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               JOHN W                MD         24X02002602       THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               AUGUSTUS C            VA         700CL0233215A04   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               KENNETH C             MD         98240512CX1644    THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               CALVIN E              VA         001846            THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               MARCUS G              VA         31861EH           THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               CHARLES E             MD         24X12000484       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               MARTHA                MD         98240512CX1644    THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               CHARLES W             VA         700CL0438026P03   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               MARY                  MD         24X04001068       THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               EMMETT W              VA         700CL0539113H02   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               NORRIS R              MD         24X11000363       THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               HARRIETT P            MD         24X12000656       THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               ROBERT D              MD         24X01000812       THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               JP                    VA         700CL0538952T01   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               RONALD L              MD         24X14000268       THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               JOHNNY L              VA         740CL0100166400   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               SEGAR J               VA         700CL9928054W01   THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               KATIE L               VA         700CL0538952T01   THE LAW OFFICES OF PETER T. NICHOLL
HOWARD               STANLEY M             VA         99001897          THE LAW OFFICES OF PETER T. NICHOLL                  HUGHES               LYNN C                VA         700CL0028306W01   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 774
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 109 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

HUGHES               NANCY                 MD         98289513X1925     THE LAW OFFICES OF PETER T. NICHOLL                  IMAN                 RAYMOND J             MD         98197518CX1416    THE LAW OFFICES OF PETER T. NICHOLL
HUGHES               RICHARD L             VA         740CL0300116200   THE LAW OFFICES OF PETER T. NICHOLL                  IMBRAGLIO            JOSEPH R              MD         24X13000604       THE LAW OFFICES OF PETER T. NICHOLL
HUGHES               ROBERT A              VA         740CL0000000900   THE LAW OFFICES OF PETER T. NICHOLL                  IMES                 LARRY L               MD         X01001054         THE LAW OFFICES OF PETER T. NICHOLL
HUGHES               THOMAS E              MD         98289513X1925     THE LAW OFFICES OF PETER T. NICHOLL                  IMES                 WILLIAM L             MD         24X01001852       THE LAW OFFICES OF PETER T. NICHOLL
HUGHES               WILLIAM L             VA         700CL0437592V04   THE LAW OFFICES OF PETER T. NICHOLL                  IMES                 WILLIE M              MD         24X11000922       THE LAW OFFICES OF PETER T. NICHOLL
HUGHES               WILLIAM R             VA         27942EH           THE LAW OFFICES OF PETER T. NICHOLL                  INCAPRERA            NICHOLAS S            MD         24X96082505       THE LAW OFFICES OF PETER T. NICHOLL
HULIN                JERRY W               VA         740CL0200050100   THE LAW OFFICES OF PETER T. NICHOLL                  INGOGLIA             BARTHOLOMEW T         MD         24X03000296       THE LAW OFFICES OF PETER T. NICHOLL
HUMMEL               STEVEN M              MD         24X02002619       THE LAW OFFICES OF PETER T. NICHOLL                  INGRAM               HENRY D               MD         24X05000451       THE LAW OFFICES OF PETER T. NICHOLL
HUMPHREYS            ROBERT HANSFORD       MD         24X09000463       THE LAW OFFICES OF PETER T. NICHOLL                  INGRAM               LARRY C               MD         24X01002143       THE LAW OFFICES OF PETER T. NICHOLL
HUMPHRIES            RICHARD               VA         31862RC           THE LAW OFFICES OF PETER T. NICHOLL                  INSLEY               OTIS J                VA         740CL0000179900   THE LAW OFFICES OF PETER T. NICHOLL
HUNDLEY              BARBARA               MD         24X02002365       THE LAW OFFICES OF PETER T. NICHOLL                  IRBY                 ABRAHAM               MD         X01000997         THE LAW OFFICES OF PETER T. NICHOLL
HUNDLEY              CHARLES H             VA         740CL0300113800   THE LAW OFFICES OF PETER T. NICHOLL                  IRBY                 CASANDRA              MD         X01000997         THE LAW OFFICES OF PETER T. NICHOLL
HUNDLEY              GEORGE C              VA         700CL0028664C03   THE LAW OFFICES OF PETER T. NICHOLL                  IRBY                 MARION A              MD         24X06000387       THE LAW OFFICES OF PETER T. NICHOLL
HUNDLEY              LAWRENCE C            MD         24X02002365       THE LAW OFFICES OF PETER T. NICHOLL                  IRELAND              DONALD S              MD         24X03000410       THE LAW OFFICES OF PETER T. NICHOLL
HUNEYCUTT            JERRELL G             VA         700CL0539410H02   THE LAW OFFICES OF PETER T. NICHOLL                  IRELAND              GLORIA                MD         24X03000410       THE LAW OFFICES OF PETER T. NICHOLL
HUNNICUTT            CHARLES R             VA         700CL0437878V04   THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               ANTHONY               MD         24X17000119       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 CARL W                VA         32569RW           THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               JEAN                  MD         24X01001957       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 ELBERT B              VA         740CL0100163200   THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               JEAN                  MD         24X06000542       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 GEORGE W              VA         740CL0200378600   THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               JEAN A                MD         24X17000119       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 LISA D                MD         24X11000199       THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               WALTER J              MD         24X01001957       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 NORMAN E              MD         24X04000143       THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               WALTER J              MD         24X06000542       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 ROBERT R              VA         29119RC           THE LAW OFFICES OF PETER T. NICHOLL                  IRESON               WALTER J              MD         24X17000119       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 TYRONE                MD         24X03000644       THE LAW OFFICES OF PETER T. NICHOLL                  IROLER               LARRY O               VA         740CL0100178800   THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 WALTER H              VA         700CL0231974C03   THE LAW OFFICES OF PETER T. NICHOLL                  IRVIN                JAMES L               VA         30136VA           THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 WELTON                MD         24X02000817       THE LAW OFFICES OF PETER T. NICHOLL                  IRWIN                COLLEEN               MD         24X06000439       THE LAW OFFICES OF PETER T. NICHOLL
HUNT                 WILLIAM T             VA         740CL0100324900   THE LAW OFFICES OF PETER T. NICHOLL                  IRWIN                DONALD E              MD         24X06000439       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               JAMES A JR            VA         99001874          THE LAW OFFICES OF PETER T. NICHOLL                  ISAAC                JOHN A                MD         24X01000827       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               JAMES T W             VA         011144            THE LAW OFFICES OF PETER T. NICHOLL                  ISAAC                RAY A                 MD         24X02000101       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               MARY A                MD         98197507          THE LAW OFFICES OF PETER T. NICHOLL                  ISOM                 HOMER J               VA         700CL0235592V05   THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               MELVIN D              VA         700CL0235863A04   THE LAW OFFICES OF PETER T. NICHOLL                  IVEY                 CATHY                 MD         24X02001492       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               NATHANIEL H           VA         0028938W01        THE LAW OFFICES OF PETER T. NICHOLL                  IVEY                 CHARLES E             MD         24X02001492       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               NATHANIEL L           VA         740CL0200048000   THE LAW OFFICES OF PETER T. NICHOLL                  IVEY                 RAY                   VA         700CL0233188V05   THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               ROBERT A              VA         740CL0100164300   THE LAW OFFICES OF PETER T. NICHOLL                  IVEY                 THEODORE R            VA         740CL0300029300   THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               ROLLAND C             VA         700CL0437611W01   THE LAW OFFICES OF PETER T. NICHOLL                  IWANOWSKI            CRISTIN               MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               RONALD D              VA         700CL0437898V04   THE LAW OFFICES OF PETER T. NICHOLL                  J                    DAVID RILEY           MD         X01000523         THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               SAUNDRA S             VA         740CL0200192600   THE LAW OFFICES OF PETER T. NICHOLL                  JACK                 ESMOND R              MD         X01000962         THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               TONY B.               VA         700CL0235864C03   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              ALPHONSO J            MD         24X13000600       THE LAW OFFICES OF PETER T. NICHOLL
HUNTER               WESLEY                VA         30124VC           THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              ALPHONZA L            VA         700CL0233205A04   THE LAW OFFICES OF PETER T. NICHOLL
HUNTLEY              DAVID A               MD         98247512CX1691    THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              ALVIN H               VA         740CL0100325000   THE LAW OFFICES OF PETER T. NICHOLL
HURLEY               MICHAEL W             MD         24X11000074       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              BEVERLY               MD         24X02001563       THE LAW OFFICES OF PETER T. NICHOLL
HURST                GARY M                VA         740CL0200296100   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              CARL W                MD         24X02001563       THE LAW OFFICES OF PETER T. NICHOLL
HURST                NICKY J               VA         740CL0300116300   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              CARROLL A             VA         740CL0100177300   THE LAW OFFICES OF PETER T. NICHOLL
HURST                ROBERT P              VA         740CL0200006900   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              CELESTINE             MD         98317524CX2155    THE LAW OFFICES OF PETER T. NICHOLL
HURTT                CHARLOTTE             MD         98324514CX2199    THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              CHARLES B             MD         24X09000286       THE LAW OFFICES OF PETER T. NICHOLL
HURTT                CHARLOTTE LEE         MD         24X06000339       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              COLUMBUS W            MD         24X03000407       THE LAW OFFICES OF PETER T. NICHOLL
HURTT                JOSEPH R              MD         98324514CX2199    THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              DONALD E              VA         700CL0438212W01   THE LAW OFFICES OF PETER T. NICHOLL
HURTT                JOSEPH R              MD         24X06000296       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              DORIS L               MD         24X06000370       THE LAW OFFICES OF PETER T. NICHOLL
HURTT                JOSEPH R              MD         24X06000339       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              EDWARD D              MD         24X01001527       THE LAW OFFICES OF PETER T. NICHOLL
HUTCHERSON           OCELIA                MD         24X01001570       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              EDWIN                 VA         740CL0100319900   THE LAW OFFICES OF PETER T. NICHOLL
HUTCHERSON           OCELIA                MD         24X06000546       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              ELMER W               MD         24X06000499       THE LAW OFFICES OF PETER T. NICHOLL
HUTCHESON            HT                    VA         740CL0200044000   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              ERNEST R              VA         001264            THE LAW OFFICES OF PETER T. NICHOLL
HUTCHINGS            HELEN                 MD         24X02000821       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              FRANK V               MD         98310520CX2098    THE LAW OFFICES OF PETER T. NICHOLL
HUTCHINGS            LARRY D               MD         24X02000821       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              GEORGE R              MD         24X03001035       THE LAW OFFICES OF PETER T. NICHOLL
HUTSON               RICHARD M             MD         24X05000249       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              GERALDINE P           MD         24X13000600       THE LAW OFFICES OF PETER T. NICHOLL
HUTSON               THELMA I              MD         24X05000247       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              GLADYS E              MD         98310531CX2109    THE LAW OFFICES OF PETER T. NICHOLL
HUTSON               THELMA M              MD         24X05000249       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              HENRY L               VA         001810            THE LAW OFFICES OF PETER T. NICHOLL
HYDRICK              ROBERT L              VA         740CL0100188900   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              HENSON L              MD         24X06000370       THE LAW OFFICES OF PETER T. NICHOLL
HYLE                 HOWARD K              MD         24X14000461       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              HORACE                VA         700CL0235593H02   THE LAW OFFICES OF PETER T. NICHOLL
HYLE                 JOYCE A               MD         24X14000461       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JAMES H               MD         24X02001725       THE LAW OFFICES OF PETER T. NICHOLL
HYMES                ALEXIS                MD         24X03000955       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JAMES H               MD         24X01000584       THE LAW OFFICES OF PETER T. NICHOLL
HYMES                ROBERT L              MD         24X03000955       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JAMES P               VA         700CL0438401P03   THE LAW OFFICES OF PETER T. NICHOLL
HYNES                BETTY                 MD         24X06000409       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JAMES W               MD         24X01001701       THE LAW OFFICES OF PETER T. NICHOLL
HYNES                CHARLES W             MD         24X06000409       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JEAN E                VA         28755RC           THE LAW OFFICES OF PETER T. NICHOLL
HYNSON               MILTON E              MD         98324524CX2209    THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JOHN J                MD         24X06000585       THE LAW OFFICES OF PETER T. NICHOLL
HYNSON               RONZEL                MD         98324524CX2209    THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              JUANITA               MD         24X01001752       THE LAW OFFICES OF PETER T. NICHOLL
IACOAZZI             JAMES M               VA         740CL0300016700   THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              KENNETH               MD         24X06000424       THE LAW OFFICES OF PETER T. NICHOLL
ICENROAD             LOUIS M               MD         X01000609         THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              LARRY L               MD         24X03000275       THE LAW OFFICES OF PETER T. NICHOLL
ICENROAD             PATRICIA              MD         X01000609         THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              LINDA D               MD         24X01001883       THE LAW OFFICES OF PETER T. NICHOLL
IDZIK                VICKIE                MD         24X01001716       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              MAJOR                 VA         740CL0200047900   THE LAW OFFICES OF PETER T. NICHOLL
ILIOFF               ALEXANDER B           MD         24X04001015       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              MARY                  MD         24X14000247       THE LAW OFFICES OF PETER T. NICHOLL
ILIOFF               HELEN                 MD         24X04001015       THE LAW OFFICES OF PETER T. NICHOLL                  JACKSON              NATHANIEL             MD         24X01001752       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 775
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 110 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JACKSON              NORMAN A              MD         24X03000411       THE LAW OFFICES OF PETER T. NICHOLL                  JARVIS               RICHARD H             VA         740CL0100202100   THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              PEARLE                MD         24X01001527       THE LAW OFFICES OF PETER T. NICHOLL                  JARVIS               THOMAS E              VA         30137EH           THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RAY M                 VA         740CL0200378700   THE LAW OFFICES OF PETER T. NICHOLL                  JASPER               IRVIN W               VA         700CL0235784C03   THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RAYMOND E             MD         98317524CX2155    THE LAW OFFICES OF PETER T. NICHOLL                  JAVINS               MICHAEL               VA         0082300           THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RICHARD A             MD         98310531CX2109    THE LAW OFFICES OF PETER T. NICHOLL                  JAVINS               PATRICIA A            VA         0082300           THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RICHARD J             VA         700CL0438696H02   THE LAW OFFICES OF PETER T. NICHOLL                  JAVORSKI             JAMES B               MD         24X04000449       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              ROBERT H              MD         98254513CX1713    THE LAW OFFICES OF PETER T. NICHOLL                  JAVORSKI             JANET PAULINE         MD         24X04000449       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RONALD P              MD         24X02001412       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERS              ROBERT A              MD         24X01001861       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              ROSALIE               MD         24X03000407       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERS              VENIX K               MD         24X01001830       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RUTH                  MD         24X03000411       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            ANNA                  MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              RUTH M                MD         24X06000499       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            CHARLES E             MD         24X11000237       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              SARAH M               MD         24X06000488       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            DANIEL                MD         98296523CX2001    THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              STANLEY A             VA         740CL0100118200   THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            ELLIS                 VA         740CL0200007000   THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              TAMIKA                MD         24X12001097       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            ELLIS O               VA         740CL0100207600   THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              THEODORE C            MD         98296518CX1996    THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            ISAIAH                MD         98239502CX1647    THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              VIRGIL L              VA         29321VA           THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            JAMES T               MD         24X03000889       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              WALTER V              VA         740CL0100161500   THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            JEREMIAH              VA         001265            THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              WILLIAM H             MD         24X11000416       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            JOHN J                MD         24X01001349       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              WILLIAM L             MD         98324528CX2213    THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            LORRAINE              MD         24X01001349       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              WILLIE H              VA         700CL0233121C03   THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            LYNDA                 MD         24X03000889       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              WILLIE L              VA         29955VA           THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            MARY                  MD         24X03000170       THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              WOODROW J             VA         30125RW           THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            MELVIN L              VA         29370VA           THE LAW OFFICES OF PETER T. NICHOLL
JACKSON              YATES F               MD         24X01002144       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            WENDY                 MD         98296523CX2001    THE LAW OFFICES OF PETER T. NICHOLL
JACOB                THOMAS N              VA         700CL0539124V04   THE LAW OFFICES OF PETER T. NICHOLL                  JEFFERSON            WILLIAM R             MD         24X03000170       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               COLANDUS              VA         002353            THE LAW OFFICES OF PETER T. NICHOLL                  JEFFREY              PAUL N                VA         700CL0438199H02   THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               ELLIS W               VA         0028547V05        THE LAW OFFICES OF PETER T. NICHOLL                  JEFFREYS             CHARLES               MD         24X01001165       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               ESTELLE               MD         24X05000511       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFREYS             ERNEST                MD         24X01001165       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               GARY L                MD         24X14000166       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFREYS             EVA M                 MD         24X01001165       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               GREGORY L             MD         X01000601         THE LAW OFFICES OF PETER T. NICHOLL                  JEFFREYS             JOHN C.A.             MD         24X01001165       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               JEROME                VA         740CL9900193700   THE LAW OFFICES OF PETER T. NICHOLL                  JEFFREYS             JOHN H                MD         24X01001165       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               JOHN L                MD         24X01001528       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFRIES             DOROTHEA              MD         24X05000657       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               MAMIE L               MD         24X05000432       THE LAW OFFICES OF PETER T. NICHOLL                  JEFFRIES             RONNIE J              MD         24X05000657       THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               MARTIN                MD         24X05000511       THE LAW OFFICES OF PETER T. NICHOLL                  JENDRASAK            JOHN W                MD         X01000608         THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               MORRIS A              VA         29364RW           THE LAW OFFICES OF PETER T. NICHOLL                  JENDRASAK            REGINA                MD         X01000608         THE LAW OFFICES OF PETER T. NICHOLL
JACOBS               WESLEY                MD         24X05000432       THE LAW OFFICES OF PETER T. NICHOLL                  JENISON              LYLE E                VA         095000            THE LAW OFFICES OF PETER T. NICHOLL
JAFFEUX              WAYNE A               VA         740CL0100207500   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              ALTON                 VA         700CL0539114V04   THE LAW OFFICES OF PETER T. NICHOLL
JAGDHUBER            MARY L                MD         98317526CX2157    THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              AMOS B                MD         24X09000062       THE LAW OFFICES OF PETER T. NICHOLL
JAGDHUBER            REGIS                 MD         98317526CX2157    THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              AUDREY UDORA          MD         24X01001768       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                ALICE                 MD         X01000843         THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              CHARLES E             MD         24X04000450       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                BERNARD               VA         740CL0100181100   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              CLAUDE G              VA         740CL0200050000   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                CLARENCE E            MD         X01000843         THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              DAVID W               VA         740CL0200022400   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                CLYDE W               VA         740CL0300030700   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              DEBORAH M             VA         740CL0300033300   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                DAWN                  MD         24X11000059       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              ELINORE               MD         24X01000472       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                DERFY G               MD         24X11000345       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              FRED T                VA         740CL0200047800   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                ELIZABETH G           MD         98142512CX1034    THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              HAROLD N              VA         740CL0200126100   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                FREDERICK T           MD         24X11000059       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JAMES F               VA         740CL0100189600   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                HELEN                 MD         24X02001137       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JAMES H               VA         700CL0232342VC    THE LAW OFFICES OF PETER T. NICHOLL
JAMES                HORACE L              MD         X01000792         THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JAMES R               VA         740CL9900169500   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                HUBERT L              VA         740CL0300246300   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JAMES T               VA         32570VC           THE LAW OFFICES OF PETER T. NICHOLL
JAMES                LEONARD               VA         29170RW           THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JESSIE S              VA         0028677V05        THE LAW OFFICES OF PETER T. NICHOLL
JAMES                LEVONZIA A            MD         24X02001137       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JOE                   MD         99000599          THE LAW OFFICES OF PETER T. NICHOLL
JAMES                MELVIN T              MD         24X02002534       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JOE B                 MD         98329557CX2282    THE LAW OFFICES OF PETER T. NICHOLL
JAMES                RAYMOND               MD         24X02001572       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JOHN K                MD         24X04001071       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                ROBERT L              VA         740CL0100189500   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              JOHN W                MD         24X06000625       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                RONALD                MD         X99000069         THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              LAWRENCE T            MD         24X01001067       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                ROSA                  MD         X01000792         THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              LEE R                 VA         740CL0300240800   THE LAW OFFICES OF PETER T. NICHOLL
JAMES                SHIRLEY               MD         24X04001133       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              LINVER B              MD         24X04000758       THE LAW OFFICES OF PETER T. NICHOLL
JAMES                WILLIAM H             MD         98142512CX1034    THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              LOUIS D               MD         24X03000432       THE LAW OFFICES OF PETER T. NICHOLL
JAMISON              DOROTHY M             MD         24X06000380       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              MARTIN                MD         24X03000432       THE LAW OFFICES OF PETER T. NICHOLL
JANISZEWSKI          CHARLES J             MD         24X09000204       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              MASSEY W              VA         31863RW           THE LAW OFFICES OF PETER T. NICHOLL
JANISZEWSKI          ELEANORA              MD         24X09000204       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              MILDRED A             MD         X01000155         THE LAW OFFICES OF PETER T. NICHOLL
JANKE                MELVIN G              VA         740CL0100129800   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              NATALIE S             MD         24X12000309       THE LAW OFFICES OF PETER T. NICHOLL
JARANKO              HARRY G               MD         24X04000144       THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              PAUL H                MD         24X12000309       THE LAW OFFICES OF PETER T. NICHOLL
JARRARD              WILLIAM P             MD         98324530CX2215    THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              ROBERT W              VA         31835VA           THE LAW OFFICES OF PETER T. NICHOLL
JARRETT              GEORGE H              VA         29467VC           THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              RONALD L              MD         24X01000472       THE LAW OFFICES OF PETER T. NICHOLL
JARRETT              JOHN H                VA         740CL0100326600   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              RONALD W              VA         740CL0200071300   THE LAW OFFICES OF PETER T. NICHOLL
JARRETT              LINWOOD A             VA         28653EH           THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              RUDY J                VA         740CL0200377500   THE LAW OFFICES OF PETER T. NICHOLL
JARRETT              NORMAN L              VA         740CL0200054800   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              RUTH                  MD         99000599          THE LAW OFFICES OF PETER T. NICHOLL
JARRETT              RAYMOND W             VA         740CL0200089200   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              TED M                 MD         X01000155         THE LAW OFFICES OF PETER T. NICHOLL
JARVIS               JAMES C               VA         740CL0200223900   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              VIRGINIA L            MD         24X06000625       THE LAW OFFICES OF PETER T. NICHOLL
JARVIS               LLOYD E               VA         740CL0200021300   THE LAW OFFICES OF PETER T. NICHOLL                  JENKINS              WILLIAM M             MD         24X07000170       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 776
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 111 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JENKINS              WILLIE A              VA         28511A            THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              EDWARD                MD         24X06000216       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             HARRY L               MD         24X06000569       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              EDWARD S              MD         24X02002599       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             LARRY E               MD         98324532CX2217    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              EDWARD S              MD         24X06000216       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             OSCAR                 VA         001375            THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              ELIZABETH             MD         X01000413         THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             RICHARD W             VA         700CL0438402V04   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              EMANUEL R             VA         29021V05          THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             VERGIE                MD         98324532CX2217    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              EMMA                  MD         24X06000666       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             VERNON L              VA         740CL0200283900   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              ERNEST                MD         24X10000460       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             WAVERLY C             MD         98289504CX1916    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              ERNESTINE C           MD         24X05000301       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             WAYMOND R             VA         740CL0200296900   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              FRANK T               MD         24X10000227       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             WILLIAM R JR          VA         28771RW           THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              GARY A                MD         24X11000156       THE LAW OFFICES OF PETER T. NICHOLL
JENNINGS             WILLIE                VA         740CL0100141500   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              GEORGE I              MD         24X05000301       THE LAW OFFICES OF PETER T. NICHOLL
JENRETTE             DON W                 VA         740CL0300016800   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              GLENN C               VA         01876             THE LAW OFFICES OF PETER T. NICHOLL
JERNIGAN             DOROTHY E             VA         740CL0200077000   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              GLENN E               VA         700CL0438700V04   THE LAW OFFICES OF PETER T. NICHOLL
JERNIGAN             JOSEPHUS              VA         700CLO233216C03   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HARMON F              VA         0028714H02        THE LAW OFFICES OF PETER T. NICHOLL
JERNIGAN             MILTON                VA         740CL0200066700   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HAROLD                MD         24X01001865       THE LAW OFFICES OF PETER T. NICHOLL
JEROME               MARTHA L              MD         24X05000118       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HARRISON              VA         740CL0200215500   THE LAW OFFICES OF PETER T. NICHOLL
JESSUP               JAMES M               VA         30063VC           THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HARRY L               VA         094600            THE LAW OFFICES OF PETER T. NICHOLL
JEWELL               SHIRLEY J             MD         24X17000517       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HENRY E               VA         700CL0232485V05   THE LAW OFFICES OF PETER T. NICHOLL
JICHA                EUGENE C              VA         740CL0300113900   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HENRY M               MD         24X09000104       THE LAW OFFICES OF PETER T. NICHOLL
JOACHIM              MICHAEL R             MD         98177511CX1304    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HENRY M               MD         X01000744         THE LAW OFFICES OF PETER T. NICHOLL
JOBE                 DAVID W               MD         24X01001952       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HERBERT H             VA         700CL0438223V04   THE LAW OFFICES OF PETER T. NICHOLL
JOBE                 ELIZABETH             MD         24X01001952       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HERMAN L              VA         740CL0200129800   THE LAW OFFICES OF PETER T. NICHOLL
JOHNS                MELVIN W              VA         740CL0000017800   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              HOWARD J              MD         24X02002788       THE LAW OFFICES OF PETER T. NICHOLL
JOHNS                THEODORE P            MD         X01000493         THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              ISAAC                 VA         700CL9927953V     THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ALBERTA G             VA         28248RW           THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              ISAAC I               MD         24X01001832       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ALEX J                VA         700CL0235865W01   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              IVERY                 VA         740CL0200077100   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ALFRED                VA         700CL0438194H02   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JACK JR               MD         98324512CX2197    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ALFRED L              VA         700CLO438394J05   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JAMES                 MD         24X03000708       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ALLEN L               MD         24X02001737       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JAMES A               VA         740CL0100199200   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ALLISON               MD         24X04000671       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JAMES E               VA         740CL9900195800   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ANDERSON L            VA         740CL0200378800   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JAMES E JR            VA         740CL0000016700   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ANDREW L              VA         700CL0539565J05   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JAMES M               MD         98212509CX1529    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ANNETTE               MD         24X03000708       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JAMES T               VA         0028907W01        THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ANTHONY               MD         24X02001490       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JANIE                 MD         98324512CX2197    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ARTHUR B              MD         24X06000577       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JEANNETTE             MD         24X12000487       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ARTHUR G              VA         740CL0200354300   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JILL                  MD         24X04000801       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ARTHURETTA            MD         24X01000803       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JIMMIE L              MD         X01000602         THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              AUBREY T              MD         98239506CX1651    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JIMMY                 MD         98396514CX1992    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              BIRTHAN R             VA         740CL0300116400   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOE N                 VA         740CL0200071400   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              BRENDA                MD         24X02001829       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOHN R                VA         740CL0200181200   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              BRENDA K              VA         740CL0300024100   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOHN W                MD         24X01001412       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              BRENDA P              MD         98289503CX1915    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOHN W                MD         24X11000111       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              BRUCE L               VA         740CL0100187600   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOHN W                VA         01928             THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CAROLYN               MD         24X09000104       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOHNNY R              VA         740CL00000183     THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CECIL R               VA         740CL0200047700   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOSEPH                VA         700CL0235785W01   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHARLES               MD         24X01001841       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JOSEPH E              VA         740CL0100189000   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHARLES C             MD         24X02001735       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JULIUS E              VA         700CL0539566T01   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHARLES H             MD         24X03000791       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              JUNE E                MD         98310536CX2114    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHARLIE S             MD         24X01000803       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LAMONT U              MD         24X02001229       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHARLOTTE J           MD         24X04001160       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LARRY A               MD         24X05000525       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHINOSKEY W           MD         24X01002150       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LARRY C               VA         740CL0200077200   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CHRISTOPHER C         MD         24X01001026       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LARSHEA               MD         24X05000525       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CLARK                 VA         700CL0437612V04   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LEE J                 VA         700CL0233189H02   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CLAUDE L              VA         29091VC           THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LEROY A               MD         24X02001829       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CLYDE E               VA         740CL0200376600   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LILLIAN J             VA         740CL0200078000   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CRAIG                 MD         24X05000525       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LINDA                 MD         X01000602         THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              CYRIL A               MD         24X02001241       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LINDA L               MD         24X11000111       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DARLENE               MD         98239506CX1651    THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LINWOOD               VA         31849VC           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DEBORAH               MD         24X02002788       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LORENZO               VA         740CL0100222700   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DENNIS J              MD         24X02001897       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LORRAINE              MD         24X01001026       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DENNIS K              VA         700CL0232469W01   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LOVENIA               MD         24X17000474       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DIANNA M              MD         24X99002417       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LUMUS T               MD         24X06000369       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DONALD                MD         24X01000716       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              LYNN H                VA         28689RC           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DONALD A              VA         740CL0000017700   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MARY C                MD         98288508CX1908    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DONALD L              MD         24X13000426       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MELVIN                VA         29477VC           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DONALD R              VA         740CL0100164900   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MICHAEL A             MD         24X04000664       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              DWIGHT H              VA         740CL0300034000   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MICHAEL SR            MD         24X03000634       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              EARL M                MD         24X99002417       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MILTON                VA         29104RW           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              EDGAR A               VA         740CL0200356600   THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MILTON P              VA         29845VC           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              EDITH D               MD         24X01000311       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MONLISA               MD         24X03000634       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              EDWARD                MD         24X02002599       THE LAW OFFICES OF PETER T. NICHOLL                  JOHNSON              MORRIS S              VA         740CL0000147800   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 777
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 112 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JOHNSON              MOSCOE                MD         24X06000666       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ANNETTE               MD         24X02001849       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              NATHANIEL             VA         740CL0100142300   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ARDELLA               MD         24X02001147       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              NATHANIEL             VA         013180            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ARTHUR                VA         001193            THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              NATHANIEL C           VA         740CL0100141600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ARTHUR C              MD         24X13000066       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              NORMAN LEE            VA         700CL0235676V05   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ASA                   VA         29479EH           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              NORRIS M              MD         24X04000671       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BARBARA L             MD         98225505CX1589    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              OTHO                  VA         700CL0235855W01   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BARBARA S             VA         40411DP           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PAMELA                MD         24X02001735       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BELINDA               MD         X98402469         THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PATRICE               MD         24X02002599       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BENJAMIN              MD         24X04001065       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PATRICE               MD         24X06000216       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BERNADINE             MD         24X06000160       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PATRICIA              MD         24X02001897       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BERRY M               VA         740CL0200194200   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PAUL                  MD         24X02000119       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BERRY M               VA         700CL0232494W01   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PAUL M                MD         24X02001899       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BILLY L.              VA         700CL0235866V05   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              PRESTON S             MD         99000070          THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BOBBY L               VA         740CL0300199100   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RALPH A               VA         740CL0200115400   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BRUCE                 VA         700CL0028483H02   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              REGINALD L            VA         740CL0300034100   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                BUREL                 VA         700CL992788AC03   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              REGINALD W            VA         700CL0437613H02   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CARL                  VA         740CL0300114000   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RICHARD C             MD         98170506CX1262    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CARL E                MD         24X02002230       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROBERT                MD         24X02000344       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CAROL J               MD         24X12000802       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROBERT                VA         740CL0200036200   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CAROLYN C             MD         24X12000385       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROBERT                VA         700CL0233197W01   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CAROLYN D             MD         24X02001230       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROBERT L              VA         28987EH           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CASSANDRA             MD         24X14000479       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROBERT O              VA         740CL0200354400   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CECIL M               VA         001811            THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROBERT V              VA         740CL0100165000   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CHARLES C             VA         700CL0235867H02   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROCKEY L              VA         740CL0200377600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CHARLES E             MD         98310524CX2102    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROGER W               MD         98177508CX1301    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CHARLES F             MD         24X12000385       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROLAND H              VA         001267            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CHARLES P             VA         740CL0300116500   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RONALD C              VA         28663EH02         THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CHARLOTTE R           MD         98302511CX2035    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RONALD L              MD         98169504CX1241    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CLAUDE O              VA         700CL0337329H02   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RONALD L              VA         700CL0438701H02   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CLEMENTINE            MD         98310524CX2102    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RONALD L              MD         24X05000572       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CLINTON               VA         740CL0100325100   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROOSEVELT             MD         X99002068         THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CURTIS L              VA         740CL0100165100   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              ROSS O                VA         740CL0100163300   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                CURTIS LEE            VA         0028822W01        THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RUSSELL A             VA         29478VA           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DANIEL L              MD         X01000520         THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              RUSSELL JR            VA         28043VC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DANIEL R              VA         700CL0235928A04   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              SALLIE M              MD         24X05000543       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DANNY J               MD         24X04000481       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              SHEILA                MD         24X05000525       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DAVID                 VA         29761EH           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              SHELIA                MD         24X05000525       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DAVID                 VA         700CL0538953P03   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              SHELLIE M             MD         98169504CX1241    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DAVID A               MD         24X14000269       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              SILAS                 MD         24X04000801       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DAVID C               MD         24X01001948       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              STANLEY               VA         29171VA           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DOROTHY               MD         24X03000051       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              STEPHANIE             MD         24X02001489       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DOROTHY L             VA         700CL0538953P03   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              STERLING              VA         0028743V05        THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DOROTHY M             MD         98240515CX1667    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              SUZANNE               MD         98170506CX1262    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DOUGLAS               MD         X01000967         THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              TERRY M               MD         24X04001160       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                DOUGLAS N             VA         740CL0100323200   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              THOMAS A              VA         29554EH           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                EARL G                VA         29197EH           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              THOMAS H              MD         98310536CX2114    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                EDWARD E              VA         740CL0100207700   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              TOM                   MD         24X02001556       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                EDWARD E              VA         740CL0200049900   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              VERA                  MD         24X06000369       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ELEANOR K             MD         24X01000594       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              VERNON T              VA         700CL0233198V05   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ELLSMORE W            MD         24X01000305       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              VICKI S               VA         29760VA           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ENOS Z                VA         740CL0300033500   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WALLACE D SR          VA         28305RC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ERNEST                VA         700CL0232237V05   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WAVERLY               VA         001393            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ERNEST 0              MD         24X01000825       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WESLEY L              VA         101183            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ERNEST L              VA         700CL0437614T05   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WILLIAM A             VA         740CL0000047600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ERNEST M              VA         700CL0235600C03   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WILLIAM H             MD         24X04001160       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ETHEL                 MD         98324527CX2212    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WILLIAM I             VA         700CL0438723T01   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                EUGENE D              VA         740CL9900193800   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WILLIAM L             VA         28024RW           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                FLORENCE A            MD         98142510CX1032    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WILLIAM M             VA         29468VA           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                FRANCIS B             MD         98219518CX1557    THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WILLIAM R             VA         27647C03          THE LAW OFFICES OF PETER T. NICHOLL                  JONES                FRANK                 MD         24X08000501       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSON              WIRT L                MD         24X02001489       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                FRANK P               MD         24X02000812       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSTON             HASSELL               VA         29092EH           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                FRANKLIN D            MD         24X02001849       THE LAW OFFICES OF PETER T. NICHOLL
JOHNSTON             JAMES C               MD         98261513CX1737    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                FREDIE L              VA         32343VA           THE LAW OFFICES OF PETER T. NICHOLL
JOHNSTON             MICHELE A             MD         98261513CX1737    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GARLAND               VA         700CL0235856V05   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSTON             SIDNEY                VA         740CL0300025700   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE C              VA         740CL0200047600   THE LAW OFFICES OF PETER T. NICHOLL
JOHNSTON             WILLIAM D             VA         740CL0300087900   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE E              VA         740CL0100345000   THE LAW OFFICES OF PETER T. NICHOLL
JONES                ALTON R               VA         740CL0300033400   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE H              MD         24X10000160       THE LAW OFFICES OF PETER T. NICHOLL
JONES                ALVIN C               MD         24X02002276       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE L              MD         24X06000568       THE LAW OFFICES OF PETER T. NICHOLL
JONES                AMOS L                VA         0000047400        THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE R              MD         24X06000596       THE LAW OFFICES OF PETER T. NICHOLL
JONES                ANDREA LEE            MD         24X04000481       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE T              VA         700CL0438817J05   THE LAW OFFICES OF PETER T. NICHOLL
JONES                ANITA                 MD         98309511CX2071    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                GEORGE W              MD         24X02002279       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 778
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 113 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JONES                GILDA                 MD         24X03000066       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                MELVIN R              MD         24X09000035       THE LAW OFFICES OF PETER T. NICHOLL
JONES                GLADYS L              MD         98218501CX1534    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                MICAJAH E             VA         29806EH           THE LAW OFFICES OF PETER T. NICHOLL
JONES                GLADYS W              VA         700CL0538954H02   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                MICHELE               MD         24X010013151      THE LAW OFFICES OF PETER T. NICHOLL
JONES                GLENN                 MD         24X06000191       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                MORRIS J              VA         740CL0200040500   THE LAW OFFICES OF PETER T. NICHOLL
JONES                GRAHAM H              VA         700CL0233206C03   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                NATHANIEL             MD         98225505CX1589    THE LAW OFFICES OF PETER T. NICHOLL
JONES                GWENDOLYN M           MD         24X03001056       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                NOAH                  VA         0028918C03        THE LAW OFFICES OF PETER T. NICHOLL
JONES                HERLEY                VA         700CL0438732J05   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                NORRIS                MD         24X01002114       THE LAW OFFICES OF PETER T. NICHOLL
JONES                HESSIE M              MD         24X13000133       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                NORRIS M              VA         700CL0235594A04   THE LAW OFFICES OF PETER T. NICHOLL
JONES                HORACE                MD         X01000993         THE LAW OFFICES OF PETER T. NICHOLL                  JONES                OSWALD                MD         24X12000753       THE LAW OFFICES OF PETER T. NICHOLL
JONES                HOWARD L              VA         740CL9900171000   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                PATRICIA              MD         24X01002114       THE LAW OFFICES OF PETER T. NICHOLL
JONES                HURLEY                VA         740CL0100178900   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                PAYTON                VA         740CL0200032300   THE LAW OFFICES OF PETER T. NICHOLL
JONES                HURLEY                VA         29384VC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                PHYLLIS               MD         24X02001849       THE LAW OFFICES OF PETER T. NICHOLL
JONES                IRVIN                 MD         X01000958         THE LAW OFFICES OF PETER T. NICHOLL                  JONES                PORTIA                MD         X01000967         THE LAW OFFICES OF PETER T. NICHOLL
JONES                ISAIAH                VA         0028713V05        THE LAW OFFICES OF PETER T. NICHOLL                  JONES                PRINCE B              MD         24X10000101       THE LAW OFFICES OF PETER T. NICHOLL
JONES                IVORY L               VA         29480RC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RAE L                 MD         24X06000412       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES                 MD         24X03000051       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RALPH                 VA         740CL0300199200   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES                 VA         27887EH           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RANDOLPH V            MD         98218501CX1534    THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES                 MD         98240515CX1667    THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RAYFORD L             VA         700CL0235691V05   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES                 MD         24X02001849       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RAYMOND               VA         740CL0100091300   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES E               MD         24X02001147       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RAYMOND JR            MD         X98402469         THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES E               MD         24X02001823       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                REGINALD M            MD         24X06000160       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES E               VA         740CL0300240900   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROBERT E              VA         001606            THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES E               VA         0028686A04        THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROBERT L              MD         98309511CX2071    THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES E               VA         001394            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROBERT L              MD         24X03000066       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES H               VA         32083VA           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROBERT R              VA         740CL0000046900   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES H               VA         29994RW           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROBERT T              MD         24X12000802       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES M               VA         700CL0437723W01   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROBERT T              VA         0028764H02        THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES M               VA         29846RW           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RODNEY                MD         24X96121508       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES MARVIN          VA         700CL0438195T05   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROGER L               VA         001185            THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES R               MD         24X03000033       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROOSEVELT             VA         700CL0232486A04   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES S               VA         700CL0438818T01   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ROSALINDA             MD         24X01001948       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JAMES W               MD         24X03000274       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                RUSSELL C             VA         740CL0100177700   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JANET                 MD         24X02001849       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                SHELTON W             MD         24X06000531       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JESSE L               VA         740CL0100161600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                SHIRLEY L             VA         700CL0235857H02   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOE F                 VA         29720VA           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                STEPHEN M             VA         740CL0300159100   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHN C                VA         740CL0200088000   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                STONEY LEE            MD         24X96121508       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHN E                VA         740CL0100183600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                SYLVESTER C           MD         24X16000191       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHN H                MD         24X02000969       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                TEXIE                 MD         24X06000568       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHN H                VA         105200            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                THEODORE W            VA         700CL9928015A04   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHN M                VA         740CL0000179500   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                THOMAS C              MD         24X12000909       THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHN R                MD         24X01000594       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                THOMAS R              VA         740CL0200078100   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOHNNY N              VA         740CL0100177600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                THURBA W              VA         29093RC           THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOSEPH L              MD         24X13000430       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                THURMAN W             VA         002354            THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOSEPH L              MD         24X02000290       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                TONY F                VA         740CL0100141700   THE LAW OFFICES OF PETER T. NICHOLL
JONES                JOSEPHINE             MD         24X11000413       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                TRIBLE L              VA         740CL0100199300   THE LAW OFFICES OF PETER T. NICHOLL
JONES                KEMPER L              VA         28557VC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                TROY L                VA         29229VA           THE LAW OFFICES OF PETER T. NICHOLL
JONES                KENNETH R             VA         700CL0235677H02   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                TYRONE J              MD         24X11000413       THE LAW OFFICES OF PETER T. NICHOLL
JONES                LARRY                 MD         24X02001849       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                ULYSSES               MD         24X02000105       THE LAW OFFICES OF PETER T. NICHOLL
JONES                LARRY B               VA         740CL0200020700   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                VALERIE               MD         98317511CX2142    THE LAW OFFICES OF PETER T. NICHOLL
JONES                LARRY D               VA         740CL0200022500   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                VINCENT               MD         24X13000100       THE LAW OFFICES OF PETER T. NICHOLL
JONES                LEE A                 VA         740CL0200378900   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WALLACE R             VA         740CL0100320100   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LENWARD A             VA         740CL0200354500   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WALTER                VA         740CL0200177000   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LEON                  VA         740CL0200376700   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WALTER                MD         24X10000113       THE LAW OFFICES OF PETER T. NICHOLL
JONES                LEROY L               VA         29595RC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WALTER J              VA         740CL0200071500   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LILLIAN B             VA         001266            THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WALTER L              MD         98324527CX2212    THE LAW OFFICES OF PETER T. NICHOLL
JONES                LINDA                 MD         X01000958         THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WALTER L              VA         700CL0232495V05   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LINDA                 MD         24X06000191       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WAYMAN R              VA         740CL0100325200   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LINWOOD P             VA         30138RC           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM               MD         98317520CX2151    THE LAW OFFICES OF PETER T. NICHOLL
JONES                LLOYD A SR            VA         700CL0028491A04   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM               MD         24X08000501       THE LAW OFFICES OF PETER T. NICHOLL
JONES                LLOYD W               VA         740CL0200049000   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM A             VA         010969            THE LAW OFFICES OF PETER T. NICHOLL
JONES                LONIA                 MD         24X02002279       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM E             VA         001812            THE LAW OFFICES OF PETER T. NICHOLL
JONES                LORENZO J             VA         740CL0200053600   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM H             VA         740CL0200114500   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LOUIS V               VA         31940RW           THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM M             VA         740CL0200016400   THE LAW OFFICES OF PETER T. NICHOLL
JONES                LUTHER W              VA         0028668H02        THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM O             VA         700CL0438702J05   THE LAW OFFICES OF PETER T. NICHOLL
JONES                MARIE                 MD         24X06000596       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIAM W             MD         24X14000479       THE LAW OFFICES OF PETER T. NICHOLL
JONES                MARION                VA         700CL0538954H02   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIE B              VA         740CL0200016500   THE LAW OFFICES OF PETER T. NICHOLL
JONES                MARION W              VA         740CL0200205000   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIE E              MD         24X13000133       THE LAW OFFICES OF PETER T. NICHOLL
JONES                MARTHA                MD         24X02000105       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIE M              VA         740CL0200021400   THE LAW OFFICES OF PETER T. NICHOLL
JONES                MARTIN W              MD         24X010013151      THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIE S              VA         740CL0100196300   THE LAW OFFICES OF PETER T. NICHOLL
JONES                MARVIN                MD         24X03000095       THE LAW OFFICES OF PETER T. NICHOLL                  JONES                WILLIE S              VA         29710VA           THE LAW OFFICES OF PETER T. NICHOLL
JONES                MCKINLEY              VA         740CL0100320000   THE LAW OFFICES OF PETER T. NICHOLL                  JONES                YVETTE                MD         24X12000753       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 779
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 114 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JONES                YVONNE                MD         24X99002095         THE LAW OFFICES OF PETER T. NICHOLL                  JUSTICE              GREG L                MD         24X10000203       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               ALVIN L               MD         24X06000597         THE LAW OFFICES OF PETER T. NICHOLL                  JUSTICE              KAREN L               MD         24X10000203       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               ANDREW G              VA         740CL0200087300     THE LAW OFFICES OF PETER T. NICHOLL                  KAFER                AUGUST                MD         24X05000751       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               BETTY E               MD         24X06000597         THE LAW OFFICES OF PETER T. NICHOLL                  KAFER                LENA C                MD         24X05000751       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               CARLA                 MD         24X02001397         THE LAW OFFICES OF PETER T. NICHOLL                  KAGLE                DONALD R              MD         24X06000213       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               CECIL                 VA         002195              THE LAW OFFICES OF PETER T. NICHOLL                  KAHL                 GLENN J               MD         24X11000324       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               CHARLES C             MD         24X11000412         THE LAW OFFICES OF PETER T. NICHOLL                  KAHL                 LORETTA               MD         24X11000324       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               CHARLES W             MD         24X01001825         THE LAW OFFICES OF PETER T. NICHOLL                  KAIN                 ALLEN N               MD         24X12000919       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               DAVID G               VA         740CL0200117600     THE LAW OFFICES OF PETER T. NICHOLL                  KALB                 JAMES R               MD         24X02000822       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               DAVID J               MD         98219511CX1550      THE LAW OFFICES OF PETER T. NICHOLL                  KALB                 NANCY                 MD         24X02000822       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               DOUGLAS G             MD         24X03000366         THE LAW OFFICES OF PETER T. NICHOLL                  KALWA                PAULINE M             MD         98254511CX1711    THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               DOXIE A               VA         0028884C03          THE LAW OFFICES OF PETER T. NICHOLL                  KALWA                WILLIAM A             MD         98254511CX1711    THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               EDWARD P              VA         29198RC             THE LAW OFFICES OF PETER T. NICHOLL                  KAMALSKY             ROBERT A              VA         740CL0200377000   THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               FRANCINE J            MD         24X11000412         THE LAW OFFICES OF PETER T. NICHOLL                  KAMILLE              KIMBERLY              MD         24X03001063       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               JAMES E               VA         740CL0200020800     THE LAW OFFICES OF PETER T. NICHOLL                  KAMINSKI             JOHN                  MD         X01000443         THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               JESSE E               VA         001759              THE LAW OFFICES OF PETER T. NICHOLL                  KANE                 FRANCIS R             MD         98197517CX1415    THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               JESSIE                VA         740CL0200049800     THE LAW OFFICES OF PETER T. NICHOLL                  KANE                 LEO A                 MD         24X01001447       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               JOHN D                MD         24X12000483         THE LAW OFFICES OF PETER T. NICHOLL                  KANIA                ALBERT S              VA         31827RC           THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               KERMIT M              VA         700CL0235868A04     THE LAW OFFICES OF PETER T. NICHOLL                  KANIA                ROBERT D              VA         740CL0100325300   THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               LENIOUS A             VA         700CL0235844C03     THE LAW OFFICES OF PETER T. NICHOLL                  KARCHER              JAMES W               MD         24X03000173       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               MARY                  MD         24X02000689         THE LAW OFFICES OF PETER T. NICHOLL                  KARCHER              MYRNA                 MD         24X03000173       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               MCCOY                 VA         29260VC             THE LAW OFFICES OF PETER T. NICHOLL                  KARCHER              PATRICIA              MD         24X02001415       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               MILDRED G             MD         24X97213518CX1676   THE LAW OFFICES OF PETER T. NICHOLL                  KARCHER              THOMAS J              MD         24X02001415       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               PAUL B                MD         24X97213518CX1676   THE LAW OFFICES OF PETER T. NICHOLL                  KAREEM               JORY D                MD         X01000745         THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               REGINALD C            VA         700CL0232109H02     THE LAW OFFICES OF PETER T. NICHOLL                  KAREEM               RASHIDA               MD         98309512CX2072    THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               ROBERT E              MD         24X02000689         THE LAW OFFICES OF PETER T. NICHOLL                  KAREEM               RASUL K               MD         98309512CX2072    THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               ROBERT L              VA         002064              THE LAW OFFICES OF PETER T. NICHOLL                  KARIM                SABRINE               MD         24X92311501       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               ROLAND E              VA         740CL0300024200     THE LAW OFFICES OF PETER T. NICHOLL                  KATRICK              EILEEN                MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               SAMUEL                VA         29807RC             THE LAW OFFICES OF PETER T. NICHOLL                  KATSIKADAKOS         CHRISTOS G            MD         24X04000663       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               SHEILA A              MD         24X12000483         THE LAW OFFICES OF PETER T. NICHOLL                  KATSIKADAKOS         DELORES               MD         24X04000663       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               SKIRO                 MD         24X02001397         THE LAW OFFICES OF PETER T. NICHOLL                  KAUFMAN              LEWIS                 MD         24X03000645       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               SPENCER M             MD         X01000577           THE LAW OFFICES OF PETER T. NICHOLL                  KAUFMAN              PATRICIA              MD         24X03000645       THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               VIOLA B               MD         24X06000468         THE LAW OFFICES OF PETER T. NICHOLL                  KEA                  JAMES M               VA         740CL0100130100   THE LAW OFFICES OF PETER T. NICHOLL
JORDAN               WAVERLY H             VA         740CL0000148200     THE LAW OFFICES OF PETER T. NICHOLL                  KEARNEY              JAMES S               VA         740CL0100323400   THE LAW OFFICES OF PETER T. NICHOLL
JORDON               CAREY E               VA         740CL0200376800     THE LAW OFFICES OF PETER T. NICHOLL                  KEARNEY              JOHN E                MD         X01000444         THE LAW OFFICES OF PETER T. NICHOLL
JOSEY                ALPHONSUS G           VA         740CL0200089300     THE LAW OFFICES OF PETER T. NICHOLL                  KEARNEY              MELVIN                MD         24X06000724       THE LAW OFFICES OF PETER T. NICHOLL
JOSKULSKI            EDWARD W              MD         X01000180           THE LAW OFFICES OF PETER T. NICHOLL                  KEARNEY              MILDRED S             MD         24X06000724       THE LAW OFFICES OF PETER T. NICHOLL
JOWERS               THOMAS A              VA         740CL0300245400     THE LAW OFFICES OF PETER T. NICHOLL                  KEARSON              LEON                  MD         X01000372         THE LAW OFFICES OF PETER T. NICHOLL
JOYCE                JAMES L               MD         24X98317530         THE LAW OFFICES OF PETER T. NICHOLL                  KEATTS               BETTY                 MD         24X06000722       THE LAW OFFICES OF PETER T. NICHOLL
JOYCE                JOANNE                MD         24X98317530         THE LAW OFFICES OF PETER T. NICHOLL                  KEATTS               HOWARD                MD         24X06000722       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               ALFONSIA              VA         29331VA             THE LAW OFFICES OF PETER T. NICHOLL                  KEATTS               ROY E                 VA         700CL0438375T01   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               ALICE                 MD         01001306            THE LAW OFFICES OF PETER T. NICHOLL                  KEBE                 CICELY                MD         24X03000592       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               DARRYL L              MD         24X17000457         THE LAW OFFICES OF PETER T. NICHOLL                  KEBE                 GLOVER S              MD         24X03000592       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               EDDIE C               MD         01001306            THE LAW OFFICES OF PETER T. NICHOLL                  KEDZIERSKI           JOANNE C              MD         24X05000394       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               FLOYD                 VA         740CL0100161700     THE LAW OFFICES OF PETER T. NICHOLL                  KEDZIERSKI           LEON J                MD         24X05000394       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               HUBERT                VA         740CL0200122900     THE LAW OFFICES OF PETER T. NICHOLL                  KEE                  BERNADINE G           VA         740CL0300159200   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               JACK E                VA         740CL0200123000     THE LAW OFFICES OF PETER T. NICHOLL                  KEE                  EDDIE L               VA         0028738V05        THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               JOHN L                VA         740CL9900196700     THE LAW OFFICES OF PETER T. NICHOLL                  KEELS                ALICE                 MD         24X06000669       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               JOHN W                VA         740CL0200036300     THE LAW OFFICES OF PETER T. NICHOLL                  KEELS                SAMUEL                MD         24X06000669       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               KEITH S               VA         700CL0438280H02     THE LAW OFFICES OF PETER T. NICHOLL                  KEENE                ALPHONSO T            VA         700CL0028510W01   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               LEANDER               VA         740CL0300241000     THE LAW OFFICES OF PETER T. NICHOLL                  KEENE                LARRY                 VA         105400            THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               LEROY                 VA         32571VA             THE LAW OFFICES OF PETER T. NICHOLL                  KEENE                MARTINA               MD         24X05000541       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               LUTHER M              VA         740CL0200376900     THE LAW OFFICES OF PETER T. NICHOLL                  KEENE                WILLIAM P             VA         740CL0100199400   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               MICHELLE R            MD         24X17000457         THE LAW OFFICES OF PETER T. NICHOLL                  KEENER               GLEN R                VA         29347EH           THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               RICHARD               VA         700CL0232084H02     THE LAW OFFICES OF PETER T. NICHOLL                  KEETON               EDGAR O               VA         740CL0100191700   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               ROBERT A              MD         24X03001037         THE LAW OFFICES OF PETER T. NICHOLL                  KEIRN                JAMES D               MD         98177512CX1305    THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               ROLAND L              VA         002656              THE LAW OFFICES OF PETER T. NICHOLL                  KEIRN                KAY                   MD         98177512CX1305    THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               SHENIA                MD         24X17000457         THE LAW OFFICES OF PETER T. NICHOLL                  KEITH                JAMES E               VA         700CL0438281W01   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               THEADORE R            VA         740CL0100323300     THE LAW OFFICES OF PETER T. NICHOLL                  KEITH                LEROY                 VA         29555RC           THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               THOMAS                VA         700CL0235858A04     THE LAW OFFICES OF PETER T. NICHOLL                  KEITH                WILLIAM               VA         740CL0100172400   THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               TRENTON L             VA         700CL0232238A04     THE LAW OFFICES OF PETER T. NICHOLL                  KEITZ                DAVID W               MD         24X02000683       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               VERNETTE              MD         24X17000457         THE LAW OFFICES OF PETER T. NICHOLL                  KEITZ                GAIL                  MD         24X02000683       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER               WILEY                 VA         32344EH             THE LAW OFFICES OF PETER T. NICHOLL                  KELCH                ETHEL M               MD         24X08000172       THE LAW OFFICES OF PETER T. NICHOLL
JOYNER-BEY           STANLEY N             MD         24X11000588         THE LAW OFFICES OF PETER T. NICHOLL                  KELCH                TYRONE E              MD         24X08000172       THE LAW OFFICES OF PETER T. NICHOLL
JUDKINS              AL J                  VA         700CL0235678A04     THE LAW OFFICES OF PETER T. NICHOLL                  KELLER               CHARLES EDWARD        MD         24X09000030       THE LAW OFFICES OF PETER T. NICHOLL
JULES                GRANGER               MD         24X09000495         THE LAW OFFICES OF PETER T. NICHOLL                  KELLER               LLOYD G               VA         700CLO438364J05   THE LAW OFFICES OF PETER T. NICHOLL
JULES                MANFRED               MD         24X09000495         THE LAW OFFICES OF PETER T. NICHOLL                  KELLER               MARGARET M            VA         700CLO438364J05   THE LAW OFFICES OF PETER T. NICHOLL
JULIANO              BRIAN M               MD         24X02001232         THE LAW OFFICES OF PETER T. NICHOLL                  KELLER               NAOMI M               MD         24X09000030       THE LAW OFFICES OF PETER T. NICHOLL
JULIANO              JAMES T               MD         98296501CX1979      THE LAW OFFICES OF PETER T. NICHOLL                  KELLEY               CHARLES L             VA         740CL0200123100   THE LAW OFFICES OF PETER T. NICHOLL
JULIANO              JAMES T               MD         982060501CX1979     THE LAW OFFICES OF PETER T. NICHOLL                  KELLEY               GEORGE                VA         740CL00000188     THE LAW OFFICES OF PETER T. NICHOLL
JUSTICE              CARL S                MD         24X04000490         THE LAW OFFICES OF PETER T. NICHOLL                  KELLEY               GEORGE L              VA         0028842W01        THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                Appendix A - 780
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 115 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

KELLEY               JAMES E               VA         700CL0235610C03   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 ASHTON M              MD         24X10000175       THE LAW OFFICES OF PETER T. NICHOLL
KELLEY               JANICE                MD         24X03000172       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 BERNARD L             VA         740CL0100163400   THE LAW OFFICES OF PETER T. NICHOLL
KELLEY               NORMAN E              MD         24X03000172       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 DANIEL E              MD         24X99000819       THE LAW OFFICES OF PETER T. NICHOLL
KELLEY               SYLVESTER D           VA         740CL0200377100   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 DAVID C               VA         002355            THE LAW OFFICES OF PETER T. NICHOLL
KELLEY               WALTER S              VA         740CL0300241100   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 DOROTHY               MD         24X02000728       THE LAW OFFICES OF PETER T. NICHOLL
KELLEY               WILLIE                VA         740CL0100165200   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 EDWARD D              MD         24X99000819       THE LAW OFFICES OF PETER T. NICHOLL
KELLNER              DIANE B               MD         98233519CX1645    THE LAW OFFICES OF PETER T. NICHOLL                  KING                 EVELINE H             MD         24X02002426       THE LAW OFFICES OF PETER T. NICHOLL
KELLNER              KENNETH B             MD         98233519CX1645    THE LAW OFFICES OF PETER T. NICHOLL                  KING                 FRANCES               MD         24X12000655       THE LAW OFFICES OF PETER T. NICHOLL
KELLUM               JOHN D                MD         24X06000065       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 HOWARD L              VA         740CL0100191800   THE LAW OFFICES OF PETER T. NICHOLL
KELLUM               MARY L                MD         24X06000065       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 JAMES                 MD         24X02000728       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                CECIL P               MD         24X02001088       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 JAMES M               VA         740CL0100186800   THE LAW OFFICES OF PETER T. NICHOLL
KELLY                COLLEEN J             MD         24X05000827       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 LAWRENCE A            VA         740CL0200047500   THE LAW OFFICES OF PETER T. NICHOLL
KELLY                COLLEEN J             MD         98338540CX2364    THE LAW OFFICES OF PETER T. NICHOLL                  KING                 MARION G              MD         24X04001062       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                DANIEL                MD         01000173          THE LAW OFFICES OF PETER T. NICHOLL                  KING                 MARVIN S              VA         0028885A04        THE LAW OFFICES OF PETER T. NICHOLL
KELLY                FRANK M               VA         740CL0200177100   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 MILDRED B             MD         24X02001822       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                FRIEDA M              MD         24X17000188       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 NANCY                 MD         X01000992         THE LAW OFFICES OF PETER T. NICHOLL
KELLY                HELEN L               MD         24X04000589       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 RONNIE D              MD         X01000992         THE LAW OFFICES OF PETER T. NICHOLL
KELLY                HUBERT                MD         24X02000546       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 RONNIE J              MD         24X12000655       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                JIMMY                 MD         24X04000043       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 RUTH E                MD         24X04000673       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                JOHN E                VA         740CL0100199500   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 RUTH E                MD         24X99000819       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                JOHN H                MD         24X17000188       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 SETH T                VA         740CL0300159300   THE LAW OFFICES OF PETER T. NICHOLL
KELLY                MARGARET A            MD         24X02000546       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 SUSAN                 MD         24X09000058       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                OLLIE                 MD         24X04000043       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 THERMAN N             MD         24X02002426       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                RICHARD W             VA         700CL0438703T01   THE LAW OFFICES OF PETER T. NICHOLL                  KING                 VENITIA C R           VA         0028939C03        THE LAW OFFICES OF PETER T. NICHOLL
KELLY                ROBERT P              MD         98254508CX1708    THE LAW OFFICES OF PETER T. NICHOLL                  KING                 WALLACE N             VA         740CL0300159300   THE LAW OFFICES OF PETER T. NICHOLL
KELLY                SALLY A               MD         24X06000624       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 WAYNE S               MD         24X09000058       THE LAW OFFICES OF PETER T. NICHOLL
KELLY                THOMAS B              MD         24X06000624       THE LAW OFFICES OF PETER T. NICHOLL                  KING                 WILLIE                VA         0028804A04        THE LAW OFFICES OF PETER T. NICHOLL
KELLY                VERNON J              MD         98338540CX2364    THE LAW OFFICES OF PETER T. NICHOLL                  KING                 WILLIE L              VA         740CL0100199600   THE LAW OFFICES OF PETER T. NICHOLL
KELLY                VERNON J              MD         24X05000827       THE LAW OFFICES OF PETER T. NICHOLL                  KINGSBERRY           WILLIAM A             VA         740CL0100310800   THE LAW OFFICES OF PETER T. NICHOLL
KEMMER               JOHNIE                VA         700CL9928016C03   THE LAW OFFICES OF PETER T. NICHOLL                  KINGSBOROUGH         JAMES A               MD         98309517CX2077    THE LAW OFFICES OF PETER T. NICHOLL
KEMP                 EDWARD J              MD         24X04000797       THE LAW OFFICES OF PETER T. NICHOLL                  KINNEY               KENNON WHITCOMB       VA         700CL0235611W01   THE LAW OFFICES OF PETER T. NICHOLL
KEMP                 JOAN                  MD         24X04000797       THE LAW OFFICES OF PETER T. NICHOLL                  KIRBY                WINFRED F             VA         740CL0100207800   THE LAW OFFICES OF PETER T. NICHOLL
KENDALL              ALMA P                MD         24X06000692       THE LAW OFFICES OF PETER T. NICHOLL                  KIRK                 LAWRENCE C            MD         X01000448         THE LAW OFFICES OF PETER T. NICHOLL
KENDALL              EDWARD B              VA         32345RC           THE LAW OFFICES OF PETER T. NICHOLL                  KIRKLEWSKI           BERNARD P             MD         24X09000031       THE LAW OFFICES OF PETER T. NICHOLL
KENDALL              FELICIA               MD         X01001059         THE LAW OFFICES OF PETER T. NICHOLL                  KIRKLEWSKI           LINDA                 MD         24X09000031       THE LAW OFFICES OF PETER T. NICHOLL
KENDALL              RONALD F              MD         24X06000692       THE LAW OFFICES OF PETER T. NICHOLL                  KIRSCH               FRANK B               VA         31828RW           THE LAW OFFICES OF PETER T. NICHOLL
KENDALL              WILLIAM L             MD         X01001059         THE LAW OFFICES OF PETER T. NICHOLL                  KISER                NELMA K               VA         700CL0437908V04   THE LAW OFFICES OF PETER T. NICHOLL
KENNEDY              JOSEPH A              MD         24X03000365       THE LAW OFFICES OF PETER T. NICHOLL                  KISER                NORMA J               VA         740CL0300017000   THE LAW OFFICES OF PETER T. NICHOLL
KENNEDY              ORAN J                MD         98233509CX1635    THE LAW OFFICES OF PETER T. NICHOLL                  KITCHEN              CLARENCE E            MD         24X05000476       THE LAW OFFICES OF PETER T. NICHOLL
KENNEDY              PHYLLIS               MD         24X02002366       THE LAW OFFICES OF PETER T. NICHOLL                  KITCHEN              MARTHA                MD         24X05000476       THE LAW OFFICES OF PETER T. NICHOLL
KENNEDY              RALPH G               MD         24X02002366       THE LAW OFFICES OF PETER T. NICHOLL                  KITCHEN              MILTON                MD         24X01000304       THE LAW OFFICES OF PETER T. NICHOLL
KENNEDY              ROBERT L              MD         24X04001019       THE LAW OFFICES OF PETER T. NICHOLL                  KLEBE                MARVIN P              MD         24X01001406       THE LAW OFFICES OF PETER T. NICHOLL
KENNER               RUDOLPH M             VA         740CL0200377200   THE LAW OFFICES OF PETER T. NICHOLL                  KLIMA                KENNETH P             MD         24X01002101       THE LAW OFFICES OF PETER T. NICHOLL
KENNEY               DAVID L               VA         002645            THE LAW OFFICES OF PETER T. NICHOLL                  KLINE                FRED W                MD         24X08000466       THE LAW OFFICES OF PETER T. NICHOLL
KERFOOT              LARRY B               MD         24X02002298       THE LAW OFFICES OF PETER T. NICHOLL                  KLINE                MARY P                MD         24X06000106       THE LAW OFFICES OF PETER T. NICHOLL
KERFOOT              LARRY B               MD         24X06000453       THE LAW OFFICES OF PETER T. NICHOLL                  KLINE                PAUL J                MD         24X06000690       THE LAW OFFICES OF PETER T. NICHOLL
KERSEY               DONALD W              MD         24X11000504       THE LAW OFFICES OF PETER T. NICHOLL                  KLINE                PEGGY                 MD         24X08000466       THE LAW OFFICES OF PETER T. NICHOLL
KERSEY               SHARON L              MD         24X11000504       THE LAW OFFICES OF PETER T. NICHOLL                  KLINE                SYLVIA M              MD         24X06000690       THE LAW OFFICES OF PETER T. NICHOLL
KERSHAW              LAWRENCE              VA         740CL0300112700   THE LAW OFFICES OF PETER T. NICHOLL                  KLINE                WILLIAM T             MD         24X06000106       THE LAW OFFICES OF PETER T. NICHOLL
KESSLER              WILLIAM S             MD         98225509CX1593    THE LAW OFFICES OF PETER T. NICHOLL                  KLOS                 GERTRUDE H            MD         24X01001947       THE LAW OFFICES OF PETER T. NICHOLL
KEY                  BIRVEN                VA         32346RW           THE LAW OFFICES OF PETER T. NICHOLL                  KNABE                BARBARA A             MD         24X11000837       THE LAW OFFICES OF PETER T. NICHOLL
KEY                  WILLIAM H             VA         700CL0232496A04   THE LAW OFFICES OF PETER T. NICHOLL                  KNABE                BRYAN                 MD         24X11000837       THE LAW OFFICES OF PETER T. NICHOLL
KEYES                JOSEPH R              VA         740CL0100112000   THE LAW OFFICES OF PETER T. NICHOLL                  KNABE                FREDERICK G           MD         24X11000837       THE LAW OFFICES OF PETER T. NICHOLL
KEYS                 GEORGE E              VA         700CL0539150J05   THE LAW OFFICES OF PETER T. NICHOLL                  KNABE                JEFFREY W             MD         24X11000837       THE LAW OFFICES OF PETER T. NICHOLL
KEYS                 MARGARET W            MD         24X02000634       THE LAW OFFICES OF PETER T. NICHOLL                  KNIESCHE             EARNEST B             VA         29762RC           THE LAW OFFICES OF PETER T. NICHOLL
KEYS                 WILBERT C             MD         24X13000102       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               BOBBY W               VA         28937H02          THE LAW OFFICES OF PETER T. NICHOLL
KIDD                 RICHARD L             VA         740CL0300016900   THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               CHRISTOPHER           VA         740CL0200022600   THE LAW OFFICES OF PETER T. NICHOLL
KIGHT                DONALD C              MD         24X15000235       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               DARRYLE O             VA         700CL0233146C03   THE LAW OFFICES OF PETER T. NICHOLL
KIGHT                DONALD C              MD         24X05000065       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               DAVID E               VA         740CL0200016600   THE LAW OFFICES OF PETER T. NICHOLL
KIGHT                NORMAN L              MD         24X15000235       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               ERNEST E              VA         740CL0300096400   THE LAW OFFICES OF PETER T. NICHOLL
KIGHT                NORMAN L              MD         24X05000065       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               EUGENE A              VA         740CL0300091800   THE LAW OFFICES OF PETER T. NICHOLL
KIGHT                ZULA B                MD         24X15000235       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               GEORGE                VA         29633VA           THE LAW OFFICES OF PETER T. NICHOLL
KIGHT                ZULA B                MD         24X05000065       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               HARRY D               VA         740CL0000180000   THE LAW OFFICES OF PETER T. NICHOLL
KIM                  JOSEPH H              MD         24X06000590       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               HARRY J               VA         740CL0300116600   THE LAW OFFICES OF PETER T. NICHOLL
KIM                  MARILYN M             MD         24X06000590       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               JAMES A               VA         700CL0437891P03   THE LAW OFFICES OF PETER T. NICHOLL
KINARD               CARRIE                MD         24X02000631       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               JAMES H               VA         104100            THE LAW OFFICES OF PETER T. NICHOLL
KINARD               RALPH E               MD         X01000963         THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               JAMES T               MD         24X01001551       THE LAW OFFICES OF PETER T. NICHOLL
KINARD               SADELMA               MD         X01000963         THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               JEFFERSON L           VA         740CL0100163500   THE LAW OFFICES OF PETER T. NICHOLL
KINARD               VALENTINE             MD         24X02000631       THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               JESSE J               VA         740CL0200021500   THE LAW OFFICES OF PETER T. NICHOLL
KINCAID              ERNEST L              VA         700CL0437890T05   THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               JOHNNIE L             VA         740CL0200381400   THE LAW OFFICES OF PETER T. NICHOLL
KINCAID              FRANCIS A             VA         740CL0200007100   THE LAW OFFICES OF PETER T. NICHOLL                  KNIGHT               LAVERNE N             MD         24X18000021       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 781
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 116 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

KNIGHT               LAVERNE N             MD         24X02002012        THE LAW OFFICES OF PETER T. NICHOLL                  KROMM                STEPHEN M             MD         24X01001037       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               LEON V                VA         740CL0200356700    THE LAW OFFICES OF PETER T. NICHOLL                  KRUG                 CATHERINE S           MD         98317531CX2162    THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               LLOYD H               VA         740CL9900177200    THE LAW OFFICES OF PETER T. NICHOLL                  KRUG                 JOSEPH W SR           MD         98317531CX2162    THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               LOUIS D               VA         28988RW            THE LAW OFFICES OF PETER T. NICHOLL                  KRYSIAK              CASIMER J             MD         24X05000510       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               MELVIN G              VA         740CL0100325400    THE LAW OFFICES OF PETER T. NICHOLL                  KRYSIAK              MARIE A               MD         24X05000510       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               MICHAEL M             VA         740CL0100190900    THE LAW OFFICES OF PETER T. NICHOLL                  KUBACKA              DEBORAH A             MD         98303505CX2042    THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               MILTON                VA         740CL0100191900    THE LAW OFFICES OF PETER T. NICHOLL                  KUBACKA              JOSEPH S              MD         98303505CX2042    THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               MILTON C              VA         740CL0300017100    THE LAW OFFICES OF PETER T. NICHOLL                  KUCHARSKI            ANNA E                MD         24X06000652       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               ROBERT L              VA         700CL0235612V05    THE LAW OFFICES OF PETER T. NICHOLL                  KUCHARSKI            ANNA E                MD         X99000264         THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               RONALD                VA         700CL0235845W01    THE LAW OFFICES OF PETER T. NICHOLL                  KUCHARSKI            LEON F                MD         X99000264         THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               WALTER LEE            VA         740CL0100189100    THE LAW OFFICES OF PETER T. NICHOLL                  KUCHARSKI            LEON F                MD         24X06000652       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               WILLIAM L             VA         740CL0200049700    THE LAW OFFICES OF PETER T. NICHOLL                  KUCHTA               BERTHA                MD         24X06000239       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               WILLIAM T             VA         740CL0100206200    THE LAW OFFICES OF PETER T. NICHOLL                  KUCHTA               WALTER E              MD         24X06000239       THE LAW OFFICES OF PETER T. NICHOLL
KNIGHT               WILLIE M              VA         30126VA            THE LAW OFFICES OF PETER T. NICHOLL                  KUJAWSKI             EDWARD P              VA         740CL0300116800   THE LAW OFFICES OF PETER T. NICHOLL
KNIGHTS              JOSEPH                MD         24X14000167        THE LAW OFFICES OF PETER T. NICHOLL                  KULINSKI             PHILIP C              MD         24X01000388       THE LAW OFFICES OF PETER T. NICHOLL
KNOCKETT             GEORGE A              MD         24X09000460        THE LAW OFFICES OF PETER T. NICHOLL                  KULLISIEWICZ         THEODORE E            MD         24X01001657       THE LAW OFFICES OF PETER T. NICHOLL
KNOPP                CHESTER               VA         002356             THE LAW OFFICES OF PETER T. NICHOLL                  KULLMAN              THOMAS W              VA         700CL0539141T01   THE LAW OFFICES OF PETER T. NICHOLL
KNOPP                HARRY L               MD         24X12000510        THE LAW OFFICES OF PETER T. NICHOLL                  KUPFER               DANIEL J              MD         98254512CX1712    THE LAW OFFICES OF PETER T. NICHOLL
KNOTT                THOMAS A              MD         24X05000574        THE LAW OFFICES OF PETER T. NICHOLL                  KURAPKA              JAMES                 MD         X01000572         THE LAW OFFICES OF PETER T. NICHOLL
KNOTT                JOSEPHINE             MD         24X05000574        THE LAW OFFICES OF PETER T. NICHOLL                  KURAPKA              MARY L                MD         X01000572         THE LAW OFFICES OF PETER T. NICHOLL
KNOTTS               DENNIS G              MD         24X06000059        THE LAW OFFICES OF PETER T. NICHOLL                  KURICA               KATHERINE             MD         24X04000328       THE LAW OFFICES OF PETER T. NICHOLL
KNOTTS               THELMA L              MD         24X06000059        THE LAW OFFICES OF PETER T. NICHOLL                  KURICA               STEPHEN               MD         24X04000328       THE LAW OFFICES OF PETER T. NICHOLL
KNOWLIN              DAVID                 VA         002357             THE LAW OFFICES OF PETER T. NICHOLL                  KUTA                 JOHN D                MD         24X11000256       THE LAW OFFICES OF PETER T. NICHOLL
KNOWLIN              MARIE J               MD         24X02001054        THE LAW OFFICES OF PETER T. NICHOLL                  KUTA                 SHARON L              MD         24X11000256       THE LAW OFFICES OF PETER T. NICHOLL
KNOWLIN              THOMAS                MD         24X02001054        THE LAW OFFICES OF PETER T. NICHOLL                  KWIATKOWSKI          CONSTANCE J           MD         98281504CX1882    THE LAW OFFICES OF PETER T. NICHOLL
KNOWLING             DEMORRIS E            VA         700CL0538955V04    THE LAW OFFICES OF PETER T. NICHOLL                  KWIATKOWSKI          GEORGE E              MD         98281504CX1882    THE LAW OFFICES OF PETER T. NICHOLL
KNOWLING             EDDIE                 VA         700CL0538955V04    THE LAW OFFICES OF PETER T. NICHOLL                  KYLE                 ANITA                 MD         24X06000484       THE LAW OFFICES OF PETER T. NICHOLL
KNOX                 CHARLES               VA         700CL0232239EH02   THE LAW OFFICES OF PETER T. NICHOLL                  KYLE                 ANITA                 MD         01000344          THE LAW OFFICES OF PETER T. NICHOLL
KNOX                 HAROLD W              VA         740CL0100164400    THE LAW OFFICES OF PETER T. NICHOLL                  KYLE                 KENNETH L             MD         01000344          THE LAW OFFICES OF PETER T. NICHOLL
KNOX                 LOUIS                 MD         24X12000680        THE LAW OFFICES OF PETER T. NICHOLL                  KYLE                 KENNETH L             MD         24X06000484       THE LAW OFFICES OF PETER T. NICHOLL
KOBUS                KIMBERLY              MD         X01000568          THE LAW OFFICES OF PETER T. NICHOLL                  LACKLAND             ROSLYN                MD         24X15000132       THE LAW OFFICES OF PETER T. NICHOLL
KOBUS                THOMAS G              MD         X01000568          THE LAW OFFICES OF PETER T. NICHOLL                  LACKS                DAVID J               MD         24X02001496       THE LAW OFFICES OF PETER T. NICHOLL
KOCH                 RICHARD A             VA         740CL0300116700    THE LAW OFFICES OF PETER T. NICHOLL                  LACY                 CLIFTON L             MD         24X11000264       THE LAW OFFICES OF PETER T. NICHOLL
KODETSKY             LEO A                 MD         24X09000393        THE LAW OFFICES OF PETER T. NICHOLL                  LACY                 PARTICIA D            MD         24X11000264       THE LAW OFFICES OF PETER T. NICHOLL
KOFSKEY              ALEXANDER J           MD         24X07000214        THE LAW OFFICES OF PETER T. NICHOLL                  LAFEVERS             WILLIAM T             MD         24X02001818       THE LAW OFFICES OF PETER T. NICHOLL
KOFSKEY              EDNA                  MD         24X07000214        THE LAW OFFICES OF PETER T. NICHOLL                  LAGNA                WILLIAM A             MD         24X12000495       THE LAW OFFICES OF PETER T. NICHOLL
KOFSKEY              JAMES                 MD         24X07000214        THE LAW OFFICES OF PETER T. NICHOLL                  LAHNER               BARBARA               MD         24X06000706       THE LAW OFFICES OF PETER T. NICHOLL
KOGER                NAOMI J               MD         98176505CX1279     THE LAW OFFICES OF PETER T. NICHOLL                  LAHNER               BARBARA               MD         98176507CX1281    THE LAW OFFICES OF PETER T. NICHOLL
KOLLNER              ANTOINETTE M          MD         24X05000658        THE LAW OFFICES OF PETER T. NICHOLL                  LAHNER               DONALD L              MD         98176507CX1281    THE LAW OFFICES OF PETER T. NICHOLL
KOLLNER              RAYMOND A             MD         24X05000658        THE LAW OFFICES OF PETER T. NICHOLL                  LAHNER               DONALD L              MD         24X06000706       THE LAW OFFICES OF PETER T. NICHOLL
KONDYLAS             COSTAS                MD         24X02001480        THE LAW OFFICES OF PETER T. NICHOLL                  LAKE                 ANDREA                MD         24X01001658       THE LAW OFFICES OF PETER T. NICHOLL
KONDYLAS             COSTAS                MD         24X06000371        THE LAW OFFICES OF PETER T. NICHOLL                  LAKE                 KENNETH D             MD         X01000181         THE LAW OFFICES OF PETER T. NICHOLL
KONDYLAS             DESPINA               MD         24X06000371        THE LAW OFFICES OF PETER T. NICHOLL                  LAKE                 LEO                   MD         24X01001658       THE LAW OFFICES OF PETER T. NICHOLL
KONDYLAS             DESPINA               MD         24X02001480        THE LAW OFFICES OF PETER T. NICHOLL                  LAMB                 GEORGE                VA         31836EH           THE LAW OFFICES OF PETER T. NICHOLL
KONSKI               LINDA                 MD         24X13000112        THE LAW OFFICES OF PETER T. NICHOLL                  LAMB                 ISAAC L               VA         740CL0200284000   THE LAW OFFICES OF PETER T. NICHOLL
KONSKI               MICHAEL J             MD         24X13000112        THE LAW OFFICES OF PETER T. NICHOLL                  LAMB                 JEANETTE              MD         24X02001895       THE LAW OFFICES OF PETER T. NICHOLL
KOONCE               MARION A              VA         001268             THE LAW OFFICES OF PETER T. NICHOLL                  LAMB                 THOMAS                MD         24X02001895       THE LAW OFFICES OF PETER T. NICHOLL
KORNKE               BETTY                 MD         24X11000041        THE LAW OFFICES OF PETER T. NICHOLL                  LAMBERT              ALMA                  MD         98317525CX2156    THE LAW OFFICES OF PETER T. NICHOLL
KORNKE               WILLIAM T             MD         24X11000041        THE LAW OFFICES OF PETER T. NICHOLL                  LAMBERT              CHRISLEY S            VA         001341            THE LAW OFFICES OF PETER T. NICHOLL
KORNMANN             MAGDALENA M           MD         24X04000074        THE LAW OFFICES OF PETER T. NICHOLL                  LAMBERT              PAUL S                MD         98317525CX2156    THE LAW OFFICES OF PETER T. NICHOLL
KORNMANN             MAGDALENA M           MD         24X04000115        THE LAW OFFICES OF PETER T. NICHOLL                  LAMBETH              GARLAND F             VA         700CL0438282T05   THE LAW OFFICES OF PETER T. NICHOLL
KORNMANN             ROBERT H              MD         24X04000115        THE LAW OFFICES OF PETER T. NICHOLL                  LAMBETH              WILLIE M              VA         700CL0437764V04   THE LAW OFFICES OF PETER T. NICHOLL
KORNMANN             ROBERT H              MD         24X04000074        THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            BURNETTA              MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
KOSAR                HELEN                 MD         X01000573          THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            BURNETTA              MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
KOSAR                JAMES E               MD         X01000573          THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            LARRY                 MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
KOSINSKI             PAUL T                MD         24X18000121        THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            LARRY                 MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
KOUZIS               PAMELA L              MD         24X04000070        THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            LARRY S               MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
KOUZIS               PAUL R                MD         24X04000070        THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            LARRY S               MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
KOVACS               CANDICE M             MD         24X04000813        THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            MALON                 MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
KOZAK                ARLENE                MD         24X04000556        THE LAW OFFICES OF PETER T. NICHOLL                  LANCASTER            MALON                 MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
KOZAK                JOSEPH V              MD         24X04000556        THE LAW OFFICES OF PETER T. NICHOLL                  LANCIOTTI            JUDITH D              MD         24X96082505       THE LAW OFFICES OF PETER T. NICHOLL
KRASNODEMSKI         FRANCIS A             MD         24X08000168        THE LAW OFFICES OF PETER T. NICHOLL                  LAND                 CAROLYN A             MD         98247513CX1692    THE LAW OFFICES OF PETER T. NICHOLL
KRASNODEMSKI         ROSALIE               MD         24X08000168        THE LAW OFFICES OF PETER T. NICHOLL                  LANDON               RUSSELL W             MD         24X06000655       THE LAW OFFICES OF PETER T. NICHOLL
KRAUS                GARY L                MD         24X14000135        THE LAW OFFICES OF PETER T. NICHOLL                  LANDON               VIRGINIA M            MD         24X06000655       THE LAW OFFICES OF PETER T. NICHOLL
KREISHER             ANNA                  MD         24X02000680        THE LAW OFFICES OF PETER T. NICHOLL                  LANDRAM              LARRY J. J.           VA         700CL0235679C03   THE LAW OFFICES OF PETER T. NICHOLL
KREISHER             JAMES E               MD         24X02000680        THE LAW OFFICES OF PETER T. NICHOLL                  LANDRUM              BETTY C               MD         24X07000247       THE LAW OFFICES OF PETER T. NICHOLL
KREMPEL              MARY ELIZABETH        MD         24X02002370        THE LAW OFFICES OF PETER T. NICHOLL                  LANDRUM              CATHERINE G           MD         24X06000539       THE LAW OFFICES OF PETER T. NICHOLL
KREMPEL              ROLAND                MD         24X02002370        THE LAW OFFICES OF PETER T. NICHOLL                  LANDRUM              CATHERINE G           MD         24X96267518       THE LAW OFFICES OF PETER T. NICHOLL
KRIMM                RICHARD A             MD         X01001142          THE LAW OFFICES OF PETER T. NICHOLL                  LANDRUM              WILLIAM               MD         24X96267518       THE LAW OFFICES OF PETER T. NICHOLL
KRIMM                SHARON                MD         X01001142          THE LAW OFFICES OF PETER T. NICHOLL                  LANDRUM              WILLIAM               MD         24X06000539       THE LAW OFFICES OF PETER T. NICHOLL
KROMM                DIANE                 MD         24X01001037        THE LAW OFFICES OF PETER T. NICHOLL                  LANE                 BERTEL                VA         001643            THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                               Appendix A - 782
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 117 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

LANE                 CALVIN L              VA         29556RW           THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             BETTY T               MD         24X02002420       THE LAW OFFICES OF PETER T. NICHOLL
LANE                 COLLINS               VA         29721EH           THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             CARL T                MD         98309518CX2078    THE LAW OFFICES OF PETER T. NICHOLL
LANE                 COLUMBUS L            VA         700CL0539567P03   THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             CLAUDE L              VA         740CL0100320200   THE LAW OFFICES OF PETER T. NICHOLL
LANE                 DONALD R              VA         700CL0232240C03   THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             DAVID C               VA         740CL0200015400   THE LAW OFFICES OF PETER T. NICHOLL
LANE                 EDWARD H              VA         740CL00000010     THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             HENRY R               VA         700CL0235870W01   THE LAW OFFICES OF PETER T. NICHOLL
LANE                 ELAINE                MD         24X01001034       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             HUBERT                MD         24X06000744       THE LAW OFFICES OF PETER T. NICHOLL
LANE                 GEORGE W              MD         X99000336         THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             HUGH B                VA         31821EH           THE LAW OFFICES OF PETER T. NICHOLL
LANE                 GLENN                 MD         24X01001987       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             ISABELLA              MD         24X06000744       THE LAW OFFICES OF PETER T. NICHOLL
LANE                 PHILLIP               MD         24X01001034       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             JOEY L                VA         31838RW           THE LAW OFFICES OF PETER T. NICHOLL
LANE                 WILLIAM E             VA         740CL0300116900   THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             MILTON                MD         98323502CX2181    THE LAW OFFICES OF PETER T. NICHOLL
LANG                 ARTHUR H              MD         24X08000381       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             ROBERT B              MD         24X02002420       THE LAW OFFICES OF PETER T. NICHOLL
LANG                 DORIS                 MD         24X08000381       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             ROBERT B              MD         24X06000650       THE LAW OFFICES OF PETER T. NICHOLL
LANGELLOTTO          EUGENE E              MD         24X03000954       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             SARAH V               VA         740CL0200036400   THE LAW OFFICES OF PETER T. NICHOLL
LANGFORD             RONALD T              VA         700CL0233207W01   THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             TAYLOR                MD         24X03000245       THE LAW OFFICES OF PETER T. NICHOLL
LANGHORNE            GARLAND E             VA         700CL0337471H02   THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             WILLIAM               VA         740CL0100159200   THE LAW OFFICES OF PETER T. NICHOLL
LANGLEY              BLANCHE S             MD         24X97318503       THE LAW OFFICES OF PETER T. NICHOLL                  LAWRENCE             WILLIAM               VA         740CL9900198300   THE LAW OFFICES OF PETER T. NICHOLL
LANGLEY              DAVOL                 MD         24X97318503       THE LAW OFFICES OF PETER T. NICHOLL                  LAWS                 JUNIORS               MD         24X06000238       THE LAW OFFICES OF PETER T. NICHOLL
LANGLEY              JAMES D               MD         24X97318503       THE LAW OFFICES OF PETER T. NICHOLL                  LAWS                 LAUREEN               MD         24X06000238       THE LAW OFFICES OF PETER T. NICHOLL
LANGLEY              LARRY W               VA         700CL0235879C03   THE LAW OFFICES OF PETER T. NICHOLL                  LAWS                 SHELTON M             VA         740CL0200068300   THE LAW OFFICES OF PETER T. NICHOLL
LANGLEY              RICHARD D             VA         740CL0300117000   THE LAW OFFICES OF PETER T. NICHOLL                  LAWSON               BARBARA L             MD         24X11000181       THE LAW OFFICES OF PETER T. NICHOLL
LANGSTON             BRUCE J               MD         24X03000201       THE LAW OFFICES OF PETER T. NICHOLL                  LAWSON               LEWIS F               VA         740CL0300034200   THE LAW OFFICES OF PETER T. NICHOLL
LANGSTON             MILES G               VA         740CL0100209300   THE LAW OFFICES OF PETER T. NICHOLL                  LAWSON               MARION J              MD         98225501CX1585    THE LAW OFFICES OF PETER T. NICHOLL
LANGSTON             WALTER H              VA         002358            THE LAW OFFICES OF PETER T. NICHOLL                  LAWSON               STANLEY J             MD         24X11000181       THE LAW OFFICES OF PETER T. NICHOLL
LANHAM               RANDEL D              MD         24X01001418       THE LAW OFFICES OF PETER T. NICHOLL                  LAWTON               HERBERT L             VA         740CL0300017500   THE LAW OFFICES OF PETER T. NICHOLL
LANKFORD             ALVIN L               VA         740CL0200016700   THE LAW OFFICES OF PETER T. NICHOLL                  LAYMAN               ELLSWORTH B           MD         24X11000677       THE LAW OFFICES OF PETER T. NICHOLL
LANKFORD             EARNEST               VA         700CL0235613H02   THE LAW OFFICES OF PETER T. NICHOLL                  LAYTE                JAMES J               MD         98261509CX1733    THE LAW OFFICES OF PETER T. NICHOLL
LANKFORD             MELVIN L              VA         740CL0300017200   THE LAW OFFICES OF PETER T. NICHOLL                  LAYTON               ELBERT W              VA         700CL0337472T05   THE LAW OFFICES OF PETER T. NICHOLL
LANKFORD             TERRY W               MD         24X10000386       THE LAW OFFICES OF PETER T. NICHOLL                  LAYTON               GWENDOLYN S           MD         98177504CX1297    THE LAW OFFICES OF PETER T. NICHOLL
LANOCHA              CATHERINE             MD         24X06000043       THE LAW OFFICES OF PETER T. NICHOLL                  LAYTON               LARRY S               MD         98183501CX1328    THE LAW OFFICES OF PETER T. NICHOLL
LANOCHA              CATHERINE             MD         24X02001493       THE LAW OFFICES OF PETER T. NICHOLL                  LAZOFF               ALFRED H              MD         24X02001890       THE LAW OFFICES OF PETER T. NICHOLL
LANOCHA              JOHN W                MD         24X02001493       THE LAW OFFICES OF PETER T. NICHOLL                  LAZOFF               ELIZABETH             MD         24X02001890       THE LAW OFFICES OF PETER T. NICHOLL
LANOCHA              JOHN W                MD         24X06000043       THE LAW OFFICES OF PETER T. NICHOLL                  LEA                  BRENDA L              MD         24X02002617       THE LAW OFFICES OF PETER T. NICHOLL
LANTHORN             ERNEST C              VA         740CL0100141000   THE LAW OFFICES OF PETER T. NICHOLL                  LEACH                BENTON                MD         24X11000287       THE LAW OFFICES OF PETER T. NICHOLL
LARKIN               JOSEPH R              MD         24X01001869       THE LAW OFFICES OF PETER T. NICHOLL                  LEACH                ROBERT A              VA         001134            THE LAW OFFICES OF PETER T. NICHOLL
LARKIN               ROBERT M              MD         24X01001552       THE LAW OFFICES OF PETER T. NICHOLL                  LEACH                SADIE C               MD         24X11000287       THE LAW OFFICES OF PETER T. NICHOLL
LARKIN               TIMOTHY P             VA         740CL0000184700   THE LAW OFFICES OF PETER T. NICHOLL                  LEARY                JERRY V               VA         002647            THE LAW OFFICES OF PETER T. NICHOLL
LARUE                JOHN A                MD         24X12000751       THE LAW OFFICES OF PETER T. NICHOLL                  LEARY                WILLIAM G             VA         740CL0300017600   THE LAW OFFICES OF PETER T. NICHOLL
LASEK                THADDEUS J            MD         24X10000341       THE LAW OFFICES OF PETER T. NICHOLL                  LEASURE              BETTY                 MD         24X01001700       THE LAW OFFICES OF PETER T. NICHOLL
LASHLEY              CONRAD                MD         X01001143         THE LAW OFFICES OF PETER T. NICHOLL                  LEASURE              WILLIAM T             MD         24X01001700       THE LAW OFFICES OF PETER T. NICHOLL
LASKEY               JAMES T               MD         X99000051         THE LAW OFFICES OF PETER T. NICHOLL                  LEAZER               MARY E                MD         24X08000114       THE LAW OFFICES OF PETER T. NICHOLL
LASKEY               JOYCE H               MD         X99000051         THE LAW OFFICES OF PETER T. NICHOLL                  LEAZER               OCOLA                 MD         24X03000408       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             ALOR R                VA         700CL0438200T05   THE LAW OFFICES OF PETER T. NICHOLL                  LEAZER               PAUL M                MD         24X08000114       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             ALTON                 VA         002646            THE LAW OFFICES OF PETER T. NICHOLL                  LEAZER               STANLEY L             MD         24X03000408       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             ALVIN J               VA         740CL0100164500   THE LAW OFFICES OF PETER T. NICHOLL                  LEDBETTER            ROBERT                MD         24X16000192       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             ARCHIE R              VA         740CL0200381500   THE LAW OFFICES OF PETER T. NICHOLL                  LEDBETTERS           JOSEPH I              VA         740CL0300091900   THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             CALVIN E              VA         740CL0300117100   THE LAW OFFICES OF PETER T. NICHOLL                  LEDESMA              ALDO R                MD         24X06000513       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             DAVID J               VA         700CL0438403H02   THE LAW OFFICES OF PETER T. NICHOLL                  LEDESMA              ROSEMARY              MD         24X06000513       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             EARL S                VA         740CL0200380400   THE LAW OFFICES OF PETER T. NICHOLL                  LEDFORD              ELMER L               MD         24X04001074       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             HORACE M              VA         31829VC           THE LAW OFFICES OF PETER T. NICHOLL                  LEDFORD              NOVA                  MD         24X04001074       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             JAMES                 VA         32347VC           THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  ALTHEA                MD         98329556CX2281    THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             LARRY                 VA         29912RW           THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CARL E                VA         740CL0100125000   THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             LUCILLE L             VA         700CL0438200T05   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CATHERINE             MD         24X02002702       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             MACKEIRE              VA         740CL0300159400   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CECIL J               MD         24X11000952       THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             NORMAN E              VA         740CL0200038700   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CHARLES E             VA         740CL0200022700   THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             QUENTIN A             VA         0028838C03        THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CHARLES E             MD         98329556CX2281    THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             ROSCOE                VA         0028808C03        THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CHARLES L             VA         700CL0437724V04   THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             VERNON L              VA         740CL0200016800   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  CHARLIE P             VA         740CL0100203500   THE LAW OFFICES OF PETER T. NICHOLL
LASSITER             WILLIAM T             VA         29332EH           THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  EDWARD M              MD         24X02001143       THE LAW OFFICES OF PETER T. NICHOLL
LASTER               TYRELL                MD         X01000999         THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  EDWARD O              VA         28756RW           THE LAW OFFICES OF PETER T. NICHOLL
LATHAM               THEODORE              VA         740CL0200381600   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  ETHEL J               VA         700CL0437870T05   THE LAW OFFICES OF PETER T. NICHOLL
LAUBACH              LESLIE L              VA         740CL0200381700   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  FRANK                 VA         740CL0200022800   THE LAW OFFICES OF PETER T. NICHOLL
LAUBACH              MAURICE L             VA         740CL0300200000   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  GEORGE A              MD         98317501CX2132    THE LAW OFFICES OF PETER T. NICHOLL
LAUDERMAN            ARLIS W               VA         740CL0200085000   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  ISHAM D               VA         700CL0437892W01   THE LAW OFFICES OF PETER T. NICHOLL
LAUGHLIN             JOHN M                MD         24X11000393       THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JAMES H               VA         740CL0100091400   THE LAW OFFICES OF PETER T. NICHOLL
LAURY                WILLIAM E             VA         29172VC           THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JESSE W               VA         740CL0200296200   THE LAW OFFICES OF PETER T. NICHOLL
LAUTERBACH           JEROME F              MD         24X06000025       THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JOHN E                VA         740CL0200047400   THE LAW OFFICES OF PETER T. NICHOLL
LAUTERBACH           ROBIN S               MD         24X06000025       THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JOHN M                MD         24X03000240       THE LAW OFFICES OF PETER T. NICHOLL
LAUVER               GLENN E               VA         700CL0438283P03   THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JOHN M                MD         24X04000071       THE LAW OFFICES OF PETER T. NICHOLL
LAUVER               RICHARD J             VA         29847VA           THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JOHN W                MD         98204502CX1463    THE LAW OFFICES OF PETER T. NICHOLL
LAWLIS               JACK R                VA         31837RC           THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JOSEPH                VA         001142            THE LAW OFFICES OF PETER T. NICHOLL
LAWRENCE             BETTY T               MD         24X06000650       THE LAW OFFICES OF PETER T. NICHOLL                  LEE                  JOSEPH G              MD         24X04000145       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 783
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 118 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

LEE                  LARRY L               VA         740CL0200041900   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                CHARLES E             VA         740CL0100199700   THE LAW OFFICES OF PETER T. NICHOLL
LEE                  LEON                  VA         740CL0200015500   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                DEBORAH L             MD         24X03000336       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  LEONARD J             MD         24X02001580       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                DEBORAH V             MD         24X11000819       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  LINDA                 MD         24X03000240       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                DONALD L              VA         740CL0200381800   THE LAW OFFICES OF PETER T. NICHOLL
LEE                  NAPOLEON              VA         700CL0438042W01   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                DOROTHY B             MD         24X06000061       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  NATHANIEL             VA         700CL0235692H02   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                EARL E                VA         740CL0200181300   THE LAW OFFICES OF PETER T. NICHOLL
LEE                  PAMELA                MD         24X04000145       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                EVELYN L              MD         24X11000211       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  PLUMA                 MD         24X06000411       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                GEORGE                MD         24X03000287       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  PLUMA                 MD         24X02001580       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                GLORIA                MD         24X03000287       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  ROBERT                VA         740CL0100311700   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                HAYWARD               MD         24X01001544       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  RONALD R              MD         24X03000793       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                HENRY W               VA         700CL0437871P03   THE LAW OFFICES OF PETER T. NICHOLL
LEE                  SAMUEL                VA         01419             THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                IDRIS                 MD         24X11000211       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  THOMAS                VA         740CL9900167700   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                IVORY T               MD         24X03001148       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  THOMAS H              VA         740CL0300117200   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JACQUELINE            MD         24X02001784       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  WILLIAM H             VA         740CL0100140900   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JAMES D               MD         24X02001784       THE LAW OFFICES OF PETER T. NICHOLL
LEE                  WILLIAM J             VA         700CL0235871V05   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JAMES D               VA         700CL0337453P03   THE LAW OFFICES OF PETER T. NICHOLL
LEE                  WILLIE                MD         24X02002702       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JAMES W               MD         X01001152         THE LAW OFFICES OF PETER T. NICHOLL
LEEPER               ELWOOD E              MD         24X01001218       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JOE H                 VA         001395            THE LAW OFFICES OF PETER T. NICHOLL
LEFTWICH             IVORY E               VA         740CL0100130200   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JOHN H                VA         29001V05          THE LAW OFFICES OF PETER T. NICHOLL
LEHNER               CHARLES M             MD         X01000950         THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JOHN L                VA         740CL0100192000   THE LAW OFFICES OF PETER T. NICHOLL
LEHNER               MARY                  MD         24X02000786       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JOHN L                VA         740CL0300015700   THE LAW OFFICES OF PETER T. NICHOLL
LEHNER               MARY N                MD         24X05000163       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                JOHN W                MD         24X05000770       THE LAW OFFICES OF PETER T. NICHOLL
LEHNER               RAYMOND D             MD         24X02000786       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                KENNETH M             VA         740CL0200015600   THE LAW OFFICES OF PETER T. NICHOLL
LEHNER               RAYMOND D             MD         24X05000163       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LARRY R               VA         29557VC           THE LAW OFFICES OF PETER T. NICHOLL
LEIGHTON             JAMES L               MD         24X02000635       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LEE A                 VA         740CL0100326700   THE LAW OFFICES OF PETER T. NICHOLL
LEISEY               LINDA I               MD         24X05000164       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LEON                  MD         24X02000299       THE LAW OFFICES OF PETER T. NICHOLL
LEMON                DOLORES               MD         24X02001085       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LEROY                 MD         24X01001801       THE LAW OFFICES OF PETER T. NICHOLL
LEMON                ELOUISE               MD         24X02001203       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LINDA                 MD         X01001152         THE LAW OFFICES OF PETER T. NICHOLL
LEMON                FREDERICK A           MD         24X02001085       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LINDA J               MD         24X14000124       THE LAW OFFICES OF PETER T. NICHOLL
LEMON                HARRY R               VA         740CL0200075800   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LLOYD U               MD         24X05000291       THE LAW OFFICES OF PETER T. NICHOLL
LEMON                NATHANIEL             MD         98317505CX2136    THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                LONZIERENE            MD         24X03001148       THE LAW OFFICES OF PETER T. NICHOLL
LEMON                THOMAS E              MD         24X02001203       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                MANUEL A              MD         24X03000336       THE LAW OFFICES OF PETER T. NICHOLL
LENGRAND             JANINE                MD         24X12000419       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                MARIAN                MD         24X01001801       THE LAW OFFICES OF PETER T. NICHOLL
LENGRAND             JANINE                MD         24X15000599       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                MARY                  MD         24X02000099       THE LAW OFFICES OF PETER T. NICHOLL
LENGRAND             JERRY                 MD         24X12000419       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                MARY R                VA         740CL0100199800   THE LAW OFFICES OF PETER T. NICHOLL
LENGRAND             JERRY                 MD         24X15000599       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                MELVIN                VA         740CL0200068400   THE LAW OFFICES OF PETER T. NICHOLL
LENGRAND             MAURICE J             MD         24X12000419       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                ORMOND                VA         740CL0300114900   THE LAW OFFICES OF PETER T. NICHOLL
LENGRAND             MAURICE J             MD         24X15000599       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                PAUL                  VA         740CL0200077300   THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              HALVESTER             VA         740CL0100145200   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                PRETT R               VA         0028888W01        THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              IVAN                  VA         740CL0100189200   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                RAPHAEL A             MD         24X02002482       THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              IVEY                  VA         740CL9900193900   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                ROBERT J              VA         700CL0028484C03   THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              MARGARET              MD         X98402617         THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                RUSSELL T             VA         740CL0000148700   THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              MICHAEL H SR          MD         X98402617         THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                RYELANDER K           MD         24X02001491       THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              NANCY A               MD         24X06000060       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                RYELANDER K           MD         24X07000010       THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              NANCY A               MD         98233512CX1638    THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                SAMUEL                VA         740CL0100187700   THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              RAYMOND E             MD         98233512CX1638    THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                SAMUEL T              VA         31851EH           THE LAW OFFICES OF PETER T. NICHOLL
LEONARD              RAYMOND E             MD         24X06000060       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                SAMUEL W SR           VA         28312VA           THE LAW OFFICES OF PETER T. NICHOLL
LEPOCK               LORI A                MD         24X01001584       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                TYRONE J              MD         24X01001592       THE LAW OFFICES OF PETER T. NICHOLL
LEPOCK               PETE                  MD         24X01001584       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                VERNELL D             MD         24X12000773       THE LAW OFFICES OF PETER T. NICHOLL
LESANE               ROBERT L              VA         740CL0100142400   THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                VERNELL D             MD         24X12000798       THE LAW OFFICES OF PETER T. NICHOLL
LESTER               JAMES E               MD         24X01001036       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                WILLIAM C             VA         740CL0300024600   THE LAW OFFICES OF PETER T. NICHOLL
LESTER               VANESSA               MD         24X01001036       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                WILLIAM E             VA         700CL0235680W01   THE LAW OFFICES OF PETER T. NICHOLL
LETIRO               ECKTON                MD         24X06000417       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                WILLIE A              VA         29220VC           THE LAW OFFICES OF PETER T. NICHOLL
LETIRO               HILEN L               MD         24X06000417       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                WILLIE L              VA         31830VA           THE LAW OFFICES OF PETER T. NICHOLL
LETT                 DIANE                 MD         24X04001077       THE LAW OFFICES OF PETER T. NICHOLL                  LEWIS                WILSON F              VA         99001888          THE LAW OFFICES OF PETER T. NICHOLL
LETT                 WILLIE A              MD         24X04001077       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               CHARLIE T             MD         24X05000293       THE LAW OFFICES OF PETER T. NICHOLL
LETTAU               MICHAEL B             MD         24X01001409       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               EULA M                MD         24X05000293       THE LAW OFFICES OF PETER T. NICHOLL
LEVI                 DONALD E              VA         31850VA           THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               GAYNELL               MD         24X04001096       THE LAW OFFICES OF PETER T. NICHOLL
LEVINE               PATRICIA A            MD         24X06000664       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               JAMES R               MD         24X04001096       THE LAW OFFICES OF PETER T. NICHOLL
LEWCZAK              JOAN F                MD         24X06000240       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               JOHN N                VA         0028843C03        THE LAW OFFICES OF PETER T. NICHOLL
LEWCZAK              JOSEPH M              MD         24X06000240       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               MELVIN                VA         740CL0100125500   THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                ADELL                 MD         24X05000291       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               RAWLEY W              VA         740CL0100125600   THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                ANDERSON R            MD         24X06000616       THE LAW OFFICES OF PETER T. NICHOLL                  LEWTER               WILLIAM E             VA         740CL0200047300   THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                ANDREW L              VA         700CL0438704P03   THE LAW OFFICES OF PETER T. NICHOLL                  LIAS                 CHARLES E SR          VA         740CL0000016800   THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                ARTHUR H              MD         24X02000099       THE LAW OFFICES OF PETER T. NICHOLL                  LIAS                 JOSEPH W              VA         740CL0200123200   THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                BACEL R               MD         24X14000124       THE LAW OFFICES OF PETER T. NICHOLL                  LIBERATORE           BARBARA A S           MD         24X14000198       THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                BETTY C               MD         24X06000616       THE LAW OFFICES OF PETER T. NICHOLL                  LIBERATORE           FRANK W               MD         24X14000198       THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                BEVERLY H             MD         24X05000770       THE LAW OFFICES OF PETER T. NICHOLL                  LIESEMER             GARRY J               MD         24X01001850       THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                CALVIN E              VA         001607            THE LAW OFFICES OF PETER T. NICHOLL                  LIESEMER             JEANNE S              MD         24X01001850       THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                CASSANDRA             MD         24X02000299       THE LAW OFFICES OF PETER T. NICHOLL                  LIGGINS              DIANE                 MD         24X08000055       THE LAW OFFICES OF PETER T. NICHOLL
LEWIS                CHARLES C             VA         740CL0100308900   THE LAW OFFICES OF PETER T. NICHOLL                  LIGGINS              JAMES M               VA         740CL0100142500   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 784
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 119 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

LIGGINS              LLOYD J               VA         740CL0300092000   THE LAW OFFICES OF PETER T. NICHOLL                  LONG                 LOUIS W               MD         24X03000279       THE LAW OFFICES OF PETER T. NICHOLL
LIGGINS              MELVIN T              MD         24X08000055       THE LAW OFFICES OF PETER T. NICHOLL                  LONG                 M LOUISE              MD         24X07000121       THE LAW OFFICES OF PETER T. NICHOLL
LIGGINS              WILBERT A             VA         700CL0437630P03   THE LAW OFFICES OF PETER T. NICHOLL                  LONG                 MURRILL R             MD         24X07000121       THE LAW OFFICES OF PETER T. NICHOLL
LIGHTFORD            NATHANIEL             MD         24X02001199       THE LAW OFFICES OF PETER T. NICHOLL                  LONG                 OTIS K                VA         740CL0300117300   THE LAW OFFICES OF PETER T. NICHOLL
LIGON                LARRY W               VA         29173EH           THE LAW OFFICES OF PETER T. NICHOLL                  LONG                 ROBERT C              VA         740CL0300117400   THE LAW OFFICES OF PETER T. NICHOLL
LILLEY               MARY E                MD         24X10000013       THE LAW OFFICES OF PETER T. NICHOLL                  LONG                 RUFUS J               VA         700CL0337482T05   THE LAW OFFICES OF PETER T. NICHOLL
LILLY                DELANDIES             MD         24X12001045       THE LAW OFFICES OF PETER T. NICHOLL                  LONGACRE             WARREN J              VA         740CL0200354600   THE LAW OFFICES OF PETER T. NICHOLL
LINCOLN              DORIS                 MD         24X01001376       THE LAW OFFICES OF PETER T. NICHOLL                  LONGMIRE             JEROME                MD         24X02001769       THE LAW OFFICES OF PETER T. NICHOLL
LINCOLN              FREDERICK T           MD         24X01001376       THE LAW OFFICES OF PETER T. NICHOLL                  LORENZO              MARY C                MD         98261507CX1731    THE LAW OFFICES OF PETER T. NICHOLL
LINCOLN              ISAAC                 VA         740CL0100161800   THE LAW OFFICES OF PETER T. NICHOLL                  LORSONG              ROBERT J              MD         24X13000134       THE LAW OFFICES OF PETER T. NICHOLL
LINDEMON             JEAN                  MD         24X02000382       THE LAW OFFICES OF PETER T. NICHOLL                  LOTT                 JAMES A               VA         740CL0300159500   THE LAW OFFICES OF PETER T. NICHOLL
LINDSEY              JONATHAN D            MD         24X10000207       THE LAW OFFICES OF PETER T. NICHOLL                  LOTZ                 JOHN A                MD         98402442          THE LAW OFFICES OF PETER T. NICHOLL
LINDSEY              LINDA L               MD         24X10000207       THE LAW OFFICES OF PETER T. NICHOLL                  LOUGHNER             BRUCE E               VA         700CL0437631W01   THE LAW OFFICES OF PETER T. NICHOLL
LINDSEY              WINFRED A             VA         740CL0100177800   THE LAW OFFICES OF PETER T. NICHOLL                  LOUGHRY              CHARLOTTE M           MD         24X06000496       THE LAW OFFICES OF PETER T. NICHOLL
LINGER               JAMES A SR            VA         0028750C03        THE LAW OFFICES OF PETER T. NICHOLL                  LOUGHRY              EVERETT L             MD         24X06000496       THE LAW OFFICES OF PETER T. NICHOLL
LININGHAM            GEORGE W              MD         24X04000146       THE LAW OFFICES OF PETER T. NICHOLL                  LOVE                 TERRY W               MD         24X14000098       THE LAW OFFICES OF PETER T. NICHOLL
LININGHAM            MARY                  MD         24X04000146       THE LAW OFFICES OF PETER T. NICHOLL                  LOVELACE             THOMAS E              VA         740CL0200382000   THE LAW OFFICES OF PETER T. NICHOLL
LIPINSKI             AGNES                 MD         24X02000061       THE LAW OFFICES OF PETER T. NICHOLL                  LOVELIST             CLEOLA                MD         24X01001032       THE LAW OFFICES OF PETER T. NICHOLL
LIPINSKI             AGNES I               MD         24X05000121       THE LAW OFFICES OF PETER T. NICHOLL                  LOVELIST             JAMES                 MD         24X01001032       THE LAW OFFICES OF PETER T. NICHOLL
LIPINSKI             HENRY A               MD         24X02000061       THE LAW OFFICES OF PETER T. NICHOLL                  LOVETT               LAWRENCE E            VA         740CL0200077500   THE LAW OFFICES OF PETER T. NICHOLL
LIPKINS              RICHARD G             VA         29334RC           THE LAW OFFICES OF PETER T. NICHOLL                  LOVETT               ROBERT L              MD         24X14000125       THE LAW OFFICES OF PETER T. NICHOLL
LIPPARD              GRAHAM B              VA         74CL0200297000    THE LAW OFFICES OF PETER T. NICHOLL                  LOVING               LEROY L               MD         24X02000974       THE LAW OFFICES OF PETER T. NICHOLL
LIPSCOMB             HARRIETT              MD         24X01001532       THE LAW OFFICES OF PETER T. NICHOLL                  LOWE                 CARLTON L             VA         700CL0437632V04   THE LAW OFFICES OF PETER T. NICHOLL
LIPSCOMB             WILLIE A              MD         24X01001532       THE LAW OFFICES OF PETER T. NICHOLL                  LOWE                 CHARLES B             VA         32497EH           THE LAW OFFICES OF PETER T. NICHOLL
LIST                 CHARLOTTE MAY         MD         24X02002368       THE LAW OFFICES OF PETER T. NICHOLL                  LOWE                 CHARLES B             VA         740CL0300092200   THE LAW OFFICES OF PETER T. NICHOLL
LIST                 FRED D                MD         24X02002368       THE LAW OFFICES OF PETER T. NICHOLL                  LOWE                 WILLIE F              VA         740CL0200015700   THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               BILLY G               MD         24X06000653       THE LAW OFFICES OF PETER T. NICHOLL                  LOWERY               EDWARD E              MD         X01000743         THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               DELANCY               VA         740CL0200077400   THE LAW OFFICES OF PETER T. NICHOLL                  LOWERY               JERRY                 MD         24X13000605       THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               EDWARD J              MD         24X02002233       THE LAW OFFICES OF PETER T. NICHOLL                  LOWERY               JOAN J                MD         24X02000298       THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               GRACE C               MD         24X06000653       THE LAW OFFICES OF PETER T. NICHOLL                  LOWERY               LAVONNA               MD         24X04000842       THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               JAMES A               VA         29120RW           THE LAW OFFICES OF PETER T. NICHOLL                  LOWERY               LLOYD R               MD         24X04000842       THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               SHIRLEY A             VA         29558VA           THE LAW OFFICES OF PETER T. NICHOLL                  LOWERY               THERESA               MD         X01000743         THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               STEVEN W              VA         740CL0300015800   THE LAW OFFICES OF PETER T. NICHOLL                  LOWMAN               RICHARD L             MD         24X11000128       THE LAW OFFICES OF PETER T. NICHOLL
LITTLE               TYRONE                VA         740CL0300092100   THE LAW OFFICES OF PETER T. NICHOLL                  LOWRY                EDWARD D              MD         24X04000886       THE LAW OFFICES OF PETER T. NICHOLL
LITTLEJOHN           BENNY L               VA         700CL0337462T05   THE LAW OFFICES OF PETER T. NICHOLL                  LOWTHER              GEORGE E              VA         29121VA           THE LAW OFFICES OF PETER T. NICHOLL
LITTLEJOHN           EDWARD I              VA         740CL0100308800   THE LAW OFFICES OF PETER T. NICHOLL                  LOWTHER              HENRY T               VA         740CL0200284100   THE LAW OFFICES OF PETER T. NICHOLL
LITTLES              EARL                  VA         740CL0100169700   THE LAW OFFICES OF PETER T. NICHOLL                  LOWTHER              JAMES                 MD         24X02002048       THE LAW OFFICES OF PETER T. NICHOLL
LIVENGOOD            HASSELL R             VA         740CL0200021600   THE LAW OFFICES OF PETER T. NICHOLL                  LOWTHER              JAMES C               VA         740CL0300159600   THE LAW OFFICES OF PETER T. NICHOLL
LIVERMAN             ALFRED M              VA         700CL0437615P03   THE LAW OFFICES OF PETER T. NICHOLL                  LOZAW                BARBARA S             VA         740CL0300092300   THE LAW OFFICES OF PETER T. NICHOLL
LIVERMAN             JAMES V               VA         29848EH           THE LAW OFFICES OF PETER T. NICHOLL                  LOZAW                MERWIN G              VA         740CL0300092400   THE LAW OFFICES OF PETER T. NICHOLL
LIVERMAN             WILLIE L              VA         700CL0438284V04   THE LAW OFFICES OF PETER T. NICHOLL                  LUBINSKI             EDMUND W              MD         24X03000278       THE LAW OFFICES OF PETER T. NICHOLL
LIVINGSTON           ETHEL                 MD         24X06000621       THE LAW OFFICES OF PETER T. NICHOLL                  LUBINSKI             SHIRLEY ANN           MD         24X03000278       THE LAW OFFICES OF PETER T. NICHOLL
LIVINGSTON           RALPH G               VA         740CL0200114600   THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                ANDREW                MD         24X10000129       THE LAW OFFICES OF PETER T. NICHOLL
LIVINGSTON           WADE                  MD         24X06000621       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                CLARA L               VA         740CL0300112800   THE LAW OFFICES OF PETER T. NICHOLL
LLOYD                AGATHA                MD         24X02002621       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                CURTIS                VA         700CL0437899H02   THE LAW OFFICES OF PETER T. NICHOLL
LLOYD                JERRY L               MD         24X02002621       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                GUY                   MD         24X01001798       THE LAW OFFICES OF PETER T. NICHOLL
LLOYD                MARIE E               MD         24X06000517       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                JAMES                 MD         24X16000244       THE LAW OFFICES OF PETER T. NICHOLL
LLOYD                ROBERT                MD         24X06000517       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                JOE T                 VA         740CL0200032400   THE LAW OFFICES OF PETER T. NICHOLL
LOCKETT              BARRY G               VA         740CL0000184800   THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                JOSEPH L              VA         001813            THE LAW OFFICES OF PETER T. NICHOLL
LOCKETT              DWIGHT T              VA         700CL0235693A04   THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                MAGRUDER              MD         98295501CX1967    THE LAW OFFICES OF PETER T. NICHOLL
LOCKETT              JOHN A                VA         700CL0235681V05   THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                MARVIN                MD         24X13000747       THE LAW OFFICES OF PETER T. NICHOLL
LOCKHART             SHERRY L              MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                OTIS L                MD         24X02002006       THE LAW OFFICES OF PETER T. NICHOLL
LOCKHART             SHERRY L              MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  LUCAS                RAYMOND               VA         740CL0200382100   THE LAW OFFICES OF PETER T. NICHOLL
LOCKLEY              CARLTON E             VA         700CL0437879H02   THE LAW OFFICES OF PETER T. NICHOLL                  LUCASH               JEFFREY E             VA         700CL0232199H02   THE LAW OFFICES OF PETER T. NICHOLL
LOCKLEY              MARVIN E              VA         740CL0200049600   THE LAW OFFICES OF PETER T. NICHOLL                  LUCASSEN             DONALD H              MD         X01000522         THE LAW OFFICES OF PETER T. NICHOLL
LOCKMAN              CLIFTON H             MD         24X02002783       THE LAW OFFICES OF PETER T. NICHOLL                  LUCASSEN             GENEVIEVE             MD         X01000522         THE LAW OFFICES OF PETER T. NICHOLL
LOCKMAN              SYLVIA                MD         24X02002783       THE LAW OFFICES OF PETER T. NICHOLL                  LUCKADOO             GLENN C               VA         30064RW           THE LAW OFFICES OF PETER T. NICHOLL
LOFLAND              SEVERN T              VA         31839VC           THE LAW OFFICES OF PETER T. NICHOLL                  LUCKETT              DAVID O               VA         740CL0100166500   THE LAW OFFICES OF PETER T. NICHOLL
LOGAN                CHARLES               MD         24X01001946       THE LAW OFFICES OF PETER T. NICHOLL                  LUCKY                GEORGIE G             MD         24X03000957       THE LAW OFFICES OF PETER T. NICHOLL
LOGAN                CONNIE                MD         24X06000551       THE LAW OFFICES OF PETER T. NICHOLL                  LUCKY                JOHN W                MD         24X03000957       THE LAW OFFICES OF PETER T. NICHOLL
LOGAN                JAMES                 VA         740CL0100189300   THE LAW OFFICES OF PETER T. NICHOLL                  LUGER                JEAN S                MD         24X11000364       THE LAW OFFICES OF PETER T. NICHOLL
LOGAN                MARCELLE              MD         24X17000173       THE LAW OFFICES OF PETER T. NICHOLL                  LUGER                MATTHEW G             MD         24X11000364       THE LAW OFFICES OF PETER T. NICHOLL
LOGAN                WAVLEY                MD         24X12000200       THE LAW OFFICES OF PETER T. NICHOLL                  LUMPKIN              DONALD E              MD         24X02002785       THE LAW OFFICES OF PETER T. NICHOLL
LOGAN                WILLIAM               MD         24X06000551       THE LAW OFFICES OF PETER T. NICHOLL                  LUMPKIN              JOSEPH                VA         00284546A04       THE LAW OFFICES OF PETER T. NICHOLL
LOMAX                ELMER H               MD         98329584CX2309    THE LAW OFFICES OF PETER T. NICHOLL                  LUMPKIN              ROSEALYN M            MD         24X01000387       THE LAW OFFICES OF PETER T. NICHOLL
LOMAX                LARRY                 MD         X99000718         THE LAW OFFICES OF PETER T. NICHOLL                  LUMPKIN              SUSAN F               MD         24X02002785       THE LAW OFFICES OF PETER T. NICHOLL
LOMAX                STANLEY B             VA         740CL0200381900   THE LAW OFFICES OF PETER T. NICHOLL                  LUMPKIN              WILLARD               MD         24X01000387       THE LAW OFFICES OF PETER T. NICHOLL
LOMAX                VERTELL               MD         98329584CX2309    THE LAW OFFICES OF PETER T. NICHOLL                  LUMPKINS             GEORGE M              VA         740CL9900169600   THE LAW OFFICES OF PETER T. NICHOLL
LONG                 ARTHUR                VA         001339            THE LAW OFFICES OF PETER T. NICHOLL                  LUNN                 JULIETTE              MD         24X06000137       THE LAW OFFICES OF PETER T. NICHOLL
LONG                 EMMA D                MD         24X03000279       THE LAW OFFICES OF PETER T. NICHOLL                  LUNN                 JULIETTE              MD         24X03000412       THE LAW OFFICES OF PETER T. NICHOLL
LONG                 JAMES P               VA         101100            THE LAW OFFICES OF PETER T. NICHOLL                  LUNN                 LENWOOD               MD         24X06000428       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 785
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 120 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number       Primary Plaintiff Counsel

LUNN                 RANDOLPH E            MD         24X02000816       THE LAW OFFICES OF PETER T. NICHOLL                  MACKENNEY            JOSEPH R              MD         24X02001575          THE LAW OFFICES OF PETER T. NICHOLL
LUNN                 TIMOTHY               MD         24X03000412       THE LAW OFFICES OF PETER T. NICHOLL                  MACKERETH            ANTIONETTE            MD         24X02000686          THE LAW OFFICES OF PETER T. NICHOLL
LUNN                 TIMOTHY               MD         24X06000137       THE LAW OFFICES OF PETER T. NICHOLL                  MACKERETH            RICHARD G             MD         24X02000686          THE LAW OFFICES OF PETER T. NICHOLL
LUNN                 VERONICA              MD         24X02000816       THE LAW OFFICES OF PETER T. NICHOLL                  MACKLIN              EDWARD H              VA         29414RW              THE LAW OFFICES OF PETER T. NICHOLL
LUNSFORD             ALVIN J               VA         700CL0232369H02   THE LAW OFFICES OF PETER T. NICHOLL                  MACKOVIAK            WILMA J               MD         24X05000354          THE LAW OFFICES OF PETER T. NICHOLL
LUPISELLA            LEWIS F               MD         24X01002039       THE LAW OFFICES OF PETER T. NICHOLL                  MACLEAN              THOMAS M              VA         740CL0300117500      THE LAW OFFICES OF PETER T. NICHOLL
LUPISELLA            NATALIE               MD         24X01002039       THE LAW OFFICES OF PETER T. NICHOLL                  MACON                JAMES F               VA         740CL0100125700      THE LAW OFFICES OF PETER T. NICHOLL
LUPTON               GERALD E              MD         24X09000067       THE LAW OFFICES OF PETER T. NICHOLL                  MACRAE               LEWIS B               VA         700CL0235771V05      THE LAW OFFICES OF PETER T. NICHOLL
LUSTER               CARLTON J             VA         700CL0235682H02   THE LAW OFFICES OF PETER T. NICHOLL                  MADDREY              GERALD B              VA         740CL0100168700      THE LAW OFFICES OF PETER T. NICHOLL
LUSTER               CLAYTON R             VA         29181VA           THE LAW OFFICES OF PETER T. NICHOLL                  MADISON              EARL L                MD         24X03000417          THE LAW OFFICES OF PETER T. NICHOLL
LUSTER               DONZELL L             VA         740CL0100130300   THE LAW OFFICES OF PETER T. NICHOLL                  MADISON              MARGARET              MD         24X03000417          THE LAW OFFICES OF PETER T. NICHOLL
LUSTER               JOSEPH O              VA         740CL0200354700   THE LAW OFFICES OF PETER T. NICHOLL                  MADISON              ROSETTA               MD         24X04000072          THE LAW OFFICES OF PETER T. NICHOLL
LUSTER               ORCEAL                VA         700CL0235694C03   THE LAW OFFICES OF PETER T. NICHOLL                  MADISON              STEVEN                MD         24X04000072          THE LAW OFFICES OF PETER T. NICHOLL
LUTER                MORRIS                VA         010963            THE LAW OFFICES OF PETER T. NICHOLL                  MAGGITTI             LOUIS N               MD         24X01001802          THE LAW OFFICES OF PETER T. NICHOLL
LUTON                JOHN L                VA         28485RW           THE LAW OFFICES OF PETER T. NICHOLL                  MAGGITTI             REBA                  MD         24X01001802          THE LAW OFFICES OF PETER T. NICHOLL
LUTPON               ESTHER                MD         24X09000067       THE LAW OFFICES OF PETER T. NICHOLL                  MAGILL               DAVID P               MD         24X02001722          THE LAW OFFICES OF PETER T. NICHOLL
LUTZ                 CHARLES W             MD         24X01001446       THE LAW OFFICES OF PETER T. NICHOLL                  MAGINNIS             ANNA                  MD         24X02002010          THE LAW OFFICES OF PETER T. NICHOLL
LYBA                 BARBARA               MD         24X01001204       THE LAW OFFICES OF PETER T. NICHOLL                  MAGINNIS             ANNA                  MD         24X09000109          THE LAW OFFICES OF PETER T. NICHOLL
LYBA                 JOHN R                MD         24X01001204       THE LAW OFFICES OF PETER T. NICHOLL                  MAGINNIS             JAMES J               MD         24X02002010          THE LAW OFFICES OF PETER T. NICHOLL
LYDE                 WILLOUIS              MD         24X04001067       THE LAW OFFICES OF PETER T. NICHOLL                  MAGINNIS             JAMES J               MD         24X09000109          THE LAW OFFICES OF PETER T. NICHOLL
LYLES                CLAUDE W              VA         28530RW           THE LAW OFFICES OF PETER T. NICHOLL                  MAGINNIS             TIMOTHY LEE           MD         24X02002010          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                ALEXANDER             VA         29335RW           THE LAW OFFICES OF PETER T. NICHOLL                  MAGINNIS             TIMOTHY LEE           MD         24X09000109          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                AUSTIN G              MD         24X03000089       THE LAW OFFICES OF PETER T. NICHOLL                  MAGLIANO             RITA C                MD         98191515CX1380       THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                BERNARD R             VA         001344            THE LAW OFFICES OF PETER T. NICHOLL                  MAGUIRE              ROBERT T              VA         0028749H02           THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                CHRISTOPHER C         VA         29559EH           THE LAW OFFICES OF PETER T. NICHOLL                  MAHONEY              JOHN R                VA         29849RC              THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                DOLORES E             MD         24X06000155       THE LAW OFFICES OF PETER T. NICHOLL                  MAI                  CATHERINE             MD         24X09000097          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                EDWARD J              VA         740CL0200382200   THE LAW OFFICES OF PETER T. NICHOLL                  MAI                  JOHN F                MD         24X09000097          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                JAMES                 VA         740CL0000184900   THE LAW OFFICES OF PETER T. NICHOLL                  MAINOLFI             CLEMENT J             MD         24X03000474          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                JAMES A               VA         001768            THE LAW OFFICES OF PETER T. NICHOLL                  MAINOLFI             DOLORES               MD         24X03000474          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                JEROME P              VA         740CL0100179000   THE LAW OFFICES OF PETER T. NICHOLL                  MAJCHRZAK            ANTHONY W             MD         UNKNOWN              THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                JOHN N                VA         740CL0300112900   THE LAW OFFICES OF PETER T. NICHOLL                  MAJCHRZAK            PEGGY                 MD         UNKNOWN              THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                JOHN P                MD         24X06000155       THE LAW OFFICES OF PETER T. NICHOLL                  MAJER                STEVEN P              MD         24X01001440          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                KERMIT R              VA         1951              THE LAW OFFICES OF PETER T. NICHOLL                  MAJER                VICTORIA              MD         24X01001440          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                LOUIS D               VA         700CL0539381V04   THE LAW OFFICES OF PETER T. NICHOLL                  MAJETTE              ALBERT H              VA         28025VA              THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                MAYNARD               VA         001135            THE LAW OFFICES OF PETER T. NICHOLL                  MAJETTE              STANLEY J             VA         700CL0233217W01      THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                NORMAN A              VA         30065VA           THE LAW OFFICES OF PETER T. NICHOLL                  MAJOR                ELBERT K              MD         98141505CX1009       THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                PAULINE               MD         24X03000089       THE LAW OFFICES OF PETER T. NICHOLL                  MAKER                ROBERT                VA         740CL0100199900      THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                PRINCE                VA         740CL0300099600   THE LAW OFFICES OF PETER T. NICHOLL                  MAKOWSKI             BRITTANY              MD         24X15000206          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                REDDICK               VA         29711EH           THE LAW OFFICES OF PETER T. NICHOLL                  MAKOWSKI             BRITTANY              MD         24X98295505/CX1971   THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                SAMUEL C              VA         28946V05          THE LAW OFFICES OF PETER T. NICHOLL                  MAKOWSKI             DANIEL                MD         24X15000206          THE LAW OFFICES OF PETER T. NICHOLL
LYNCH                THELMA                VA         700CL0539381V04   THE LAW OFFICES OF PETER T. NICHOLL                  MAKOWSKI             DANIEL                MD         24X98295505/CX1971   THE LAW OFFICES OF PETER T. NICHOLL
LYNN                 VERONICA              VA         700CL0233134H02   THE LAW OFFICES OF PETER T. NICHOLL                  MAKOWSKI             THERESA ROSE          MD         24X15000206          THE LAW OFFICES OF PETER T. NICHOLL
LYNN                 WALTER                VA         700CL0233134H02   THE LAW OFFICES OF PETER T. NICHOLL                  MAKOWSKI             THERESA ROSE          MD         24X98295505/CX1971   THE LAW OFFICES OF PETER T. NICHOLL
LYONS                CLARENCE O            VA         740CL0100175300   THE LAW OFFICES OF PETER T. NICHOLL                  MALCZEWSKI           ADELE                 MD         24X01002054          THE LAW OFFICES OF PETER T. NICHOLL
LYONS                CLIFTON M             MD         98295506CX1972    THE LAW OFFICES OF PETER T. NICHOLL                  MALCZEWSKI           WALTER M              MD         24X01002054          THE LAW OFFICES OF PETER T. NICHOLL
LYONS                LORI                  MD         24X03000637       THE LAW OFFICES OF PETER T. NICHOLL                  MALIK                MAJIEDJ               MD         24X97240501CX1792    THE LAW OFFICES OF PETER T. NICHOLL
LYONS                RAYMOND               VA         740CL0100130400   THE LAW OFFICES OF PETER T. NICHOLL                  MALLORY              BRIAN H               MD         24X11000361          THE LAW OFFICES OF PETER T. NICHOLL
LYONS                ROBERT E              VA         740CL0100177900   THE LAW OFFICES OF PETER T. NICHOLL                  MALLORY              FREDERICK             VA         740CL0100166600      THE LAW OFFICES OF PETER T. NICHOLL
LYONS                RUDOLPH               MD         98141504CX1008    THE LAW OFFICES OF PETER T. NICHOLL                  MALLORY              JOSEPH                VA         740CL0200044100      THE LAW OFFICES OF PETER T. NICHOLL
LYONS                THOMAS H              MD         24X03000637       THE LAW OFFICES OF PETER T. NICHOLL                  MALLORY              LOUIS M               VA         740CL0100325500      THE LAW OFFICES OF PETER T. NICHOLL
LYONS                WILLIE                VA         740CL0200296300   THE LAW OFFICES OF PETER T. NICHOLL                  MALLORY              RICHARD J             MD         24X10000293          THE LAW OFFICES OF PETER T. NICHOLL
MAANS                GERALD                MD         24X15000016       THE LAW OFFICES OF PETER T. NICHOLL                  MALLOY               ANDREW D              VA         740CL0200066800      THE LAW OFFICES OF PETER T. NICHOLL
MAANS                SUSAN                 MD         24X15000016       THE LAW OFFICES OF PETER T. NICHOLL                  MALLOY               JAMES A               MD         24X07000444          THE LAW OFFICES OF PETER T. NICHOLL
MAAS                 HERMAN D              MD         24X01001381       THE LAW OFFICES OF PETER T. NICHOLL                  MALLOY               REATHER MAE           MD         24X07000444          THE LAW OFFICES OF PETER T. NICHOLL
MABRAY               OLEN W                MD         24X06000252       THE LAW OFFICES OF PETER T. NICHOLL                  MALONE               ARLIE R               VA         740CL0300099700      THE LAW OFFICES OF PETER T. NICHOLL
MABRY                ALGIE H               VA         0028803C03        THE LAW OFFICES OF PETER T. NICHOLL                  MALONE               CHARLES E             MD         24X03001151          THE LAW OFFICES OF PETER T. NICHOLL
MABRY                JOE J                 VA         700CL0539134V04   THE LAW OFFICES OF PETER T. NICHOLL                  MALONE               FAITH                 MD         24X03001151          THE LAW OFFICES OF PETER T. NICHOLL
MABRY                MILDRED S             VA         700CL0539398T01   THE LAW OFFICES OF PETER T. NICHOLL                  MALONE               NORMAN                VA         700CL023273OW01      THE LAW OFFICES OF PETER T. NICHOLL
MACATEE              SAMUEL A              MD         24X01002100       THE LAW OFFICES OF PETER T. NICHOLL                  MALONE               ROBERT E              VA         740CL0200023900      THE LAW OFFICES OF PETER T. NICHOLL
MACEY                MIRIAM E              MD         24X15000048       THE LAW OFFICES OF PETER T. NICHOLL                  MALOY                KATHERINE C           MD         24X02001217          THE LAW OFFICES OF PETER T. NICHOLL
MACEY                WILLIAM R             MD         24X15000048       THE LAW OFFICES OF PETER T. NICHOLL                  MAMOLITO             AUGUST                MD         24X05000390          THE LAW OFFICES OF PETER T. NICHOLL
MACK                 GERALDINE MILLER      MD         24X12000236       THE LAW OFFICES OF PETER T. NICHOLL                  MAMOLITO             RITA                  MD         24X05000390          THE LAW OFFICES OF PETER T. NICHOLL
MACK                 GWENDOLYN             MD         24X01001648       THE LAW OFFICES OF PETER T. NICHOLL                  MANAGO               WILLIAM               VA         740CL0200052600      THE LAW OFFICES OF PETER T. NICHOLL
MACK                 GWENDOLYN E           MD         24X05000714       THE LAW OFFICES OF PETER T. NICHOLL                  MANCINELLI           ROBERT A              MD         X98402464            THE LAW OFFICES OF PETER T. NICHOLL
MACK                 HENRY E               MD         24X02001073       THE LAW OFFICES OF PETER T. NICHOLL                  MANDY                CHARLES               MD         24X01001706          THE LAW OFFICES OF PETER T. NICHOLL
MACK                 JAMES J               MD         24X12000236       THE LAW OFFICES OF PETER T. NICHOLL                  MANDY                VERONICA R            MD         24X01001706          THE LAW OFFICES OF PETER T. NICHOLL
MACK                 NATHANIEL             MD         24X01001648       THE LAW OFFICES OF PETER T. NICHOLL                  MANER                JOHN H                VA         740CL9900194000      THE LAW OFFICES OF PETER T. NICHOLL
MACK                 NATHANIEL             MD         24X05000714       THE LAW OFFICES OF PETER T. NICHOLL                  MANGRUM              HENRY E               VA         700CL0437765H02      THE LAW OFFICES OF PETER T. NICHOLL
MACK                 RICHARD G             MD         24X10000226       THE LAW OFFICES OF PETER T. NICHOLL                  MANLEY               COFIELD               MD         X99001353            THE LAW OFFICES OF PETER T. NICHOLL
MACK                 TED R                 MD         24X01002113       THE LAW OFFICES OF PETER T. NICHOLL                  MANLEY               DONALD S              VA         29261VA              THE LAW OFFICES OF PETER T. NICHOLL
MACKALL              BARBARA J             MD         24X09000212       THE LAW OFFICES OF PETER T. NICHOLL                  MANLEY               DORIS                 MD         X99001353            THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 786
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 121 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MANLEY               GERALD A              VA         0028769H02        THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               FRED H                VA         700CL0539392J05   THE LAW OFFICES OF PETER T. NICHOLL
MANLEY               JOYCE                 VA         700CL9927878V05   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               FRED L                VA         28864C03          THE LAW OFFICES OF PETER T. NICHOLL
MANLEY               OSCAR L               VA         740CL0300029400   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               GAIL                  MD         24X04001049       THE LAW OFFICES OF PETER T. NICHOLL
MANLEY               QUINNIE H JR          VA         700CL9927878V05   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               GEORGE A              MD         24X06000444       THE LAW OFFICES OF PETER T. NICHOLL
MANLEY               WILLIE B              VA         700CL0235614A04   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               GEORGE T              VA         740CL0300015900   THE LAW OFFICES OF PETER T. NICHOLL
MANN                 EARNEST M             VA         740CL0200354800   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JACLYN                MD         24X12000419       THE LAW OFFICES OF PETER T. NICHOLL
MANN                 JANICE A              MD         24X05000191       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JACLYN                MD         24X15000599       THE LAW OFFICES OF PETER T. NICHOLL
MANN                 RUSSELL C             VA         700CL0437893V04   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JAMES C               VA         700CL0232208A04   THE LAW OFFICES OF PETER T. NICHOLL
MANN                 VERNON R              VA         740CL0100318900   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JAMES E               MD         24X02000896       THE LAW OFFICES OF PETER T. NICHOLL
MANNING              JOSEPH L              VA         740CL9900198500   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JANE                  MD         24X06000444       THE LAW OFFICES OF PETER T. NICHOLL
MANNING              WILLIAM E             VA         740CL0200116200   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JOHN I                VA         29128EH           THE LAW OFFICES OF PETER T. NICHOLL
MANNION              LAWRENCE J            MD         24X04000666       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JOHN W                MD         24X04001049       THE LAW OFFICES OF PETER T. NICHOLL
MANSON               THOMAS                VA         740CL0000014800   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               JOSEPH JR             MD         98232506CX1625    THE LAW OFFICES OF PETER T. NICHOLL
MANUEL               BARBARA D             MD         98324522CX2207    THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               LEONARD V             MD         24X11000122       THE LAW OFFICES OF PETER T. NICHOLL
MANUEL               BARBARA D             MD         24X07000558       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               LOUIS B SR            VA         28654RC           THE LAW OFFICES OF PETER T. NICHOLL
MANUEL               WAYNE J               MD         98141506CX1010    THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               MARGARET A            MD         24X14000126       THE LAW OFFICES OF PETER T. NICHOLL
MARABLE              BERTHA                MD         X01000989         THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               MELANIE L             MD         24X11000122       THE LAW OFFICES OF PETER T. NICHOLL
MARABLE              BERTHA                MD         24X05000866       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               MICHAEL O             VA         740CL0300034300   THE LAW OFFICES OF PETER T. NICHOLL
MARABLE              JAMES A               MD         X01000989         THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               MINNIE                MD         24X02000896       THE LAW OFFICES OF PETER T. NICHOLL
MARABLE              JAMES A               MD         24X05000866       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               PERCY                 VA         740CL0100169800   THE LAW OFFICES OF PETER T. NICHOLL
MARANTO              BEVERLY F             MD         98246506CX1679    THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               ROBERT J              VA         740CL0200057400   THE LAW OFFICES OF PETER T. NICHOLL
MARANTO              JOSEPH C              MD         98246506CX1679    THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               ROBERT R              VA         740CL0200018400   THE LAW OFFICES OF PETER T. NICHOLL
MARCEL               THOMAS M              VA         700CL0437900T05   THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               THOMAS A              VA         740CL0300162900   THE LAW OFFICES OF PETER T. NICHOLL
MARCELLINO           DONALD J              MD         24X02002601       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               WILLIAM               MD         24X09000213       THE LAW OFFICES OF PETER T. NICHOLL
MARCELLINO           GERALDINE             MD         24X02002601       THE LAW OFFICES OF PETER T. NICHOLL                  MARTIN               WILMA F               MD         24X13000063       THE LAW OFFICES OF PETER T. NICHOLL
MARCUM               BRENDA                MD         98310510CX2088    THE LAW OFFICES OF PETER T. NICHOLL                  MASCETTI             ARLINE L              MD         X01000524         THE LAW OFFICES OF PETER T. NICHOLL
MARCUM               FARRIS O              MD         98310510CX2088    THE LAW OFFICES OF PETER T. NICHOLL                  MASCETTI             JOHN J                MD         X01000524         THE LAW OFFICES OF PETER T. NICHOLL
MARIANO              BARBARA               MD         24X02001414       THE LAW OFFICES OF PETER T. NICHOLL                  MASHBURN             JOSEPH K              VA         700CL0028753V05   THE LAW OFFICES OF PETER T. NICHOLL
MARIANO              DENNIS J              MD         24X02001414       THE LAW OFFICES OF PETER T. NICHOLL                  MASIELLO             JOHN J                VA         740CL0300121900   THE LAW OFFICES OF PETER T. NICHOLL
MARINELLI            ANGELA F              MD         98142508CX1030    THE LAW OFFICES OF PETER T. NICHOLL                  MASON                ADLAI D               VA         101184            THE LAW OFFICES OF PETER T. NICHOLL
MARINELLI            MICHAEL A             MD         98142508CX1030    THE LAW OFFICES OF PETER T. NICHOLL                  MASON                BERNICE R             VA         700CL0539399P03   THE LAW OFFICES OF PETER T. NICHOLL
MARINO               AMARYLLIS             MD         24X05000303       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                FE                    VA         740CL0200066900   THE LAW OFFICES OF PETER T. NICHOLL
MARINO               ANTHONY C             MD         24X05000303       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                FRANCIS O             VA         001770            THE LAW OFFICES OF PETER T. NICHOLL
MARKS                CAROL                 MD         24X01001954       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                FREDERICK L           VA         740CL0300197700   THE LAW OFFICES OF PETER T. NICHOLL
MARKS                CHARLES D             MD         24X10000254       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                GEORGE W              MD         24X01001972       THE LAW OFFICES OF PETER T. NICHOLL
MARKS                DONALD L              MD         24X01001954       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                HAYWOOD L             VA         740CL0100214400   THE LAW OFFICES OF PETER T. NICHOLL
MARLER               EDWARD P              MD         X99000227         THE LAW OFFICES OF PETER T. NICHOLL                  MASON                HAYWOOD L             VA         700CL0539382J05   THE LAW OFFICES OF PETER T. NICHOLL
MARROW               FRANCIS               VA         740CL0100125800   THE LAW OFFICES OF PETER T. NICHOLL                  MASON                JAMES F               VA         740CL0100203600   THE LAW OFFICES OF PETER T. NICHOLL
MARROW               MICHAEL K             MD         24X01002082       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                JAMES H               VA         29712RC           THE LAW OFFICES OF PETER T. NICHOLL
MARROW               SAMUEL                VA         740CL0300030800   THE LAW OFFICES OF PETER T. NICHOLL                  MASON                JANICE A              VA         740CL0200057500   THE LAW OFFICES OF PETER T. NICHOLL
MARSH                ALFRED L              MD         98324529CX2214    THE LAW OFFICES OF PETER T. NICHOLL                  MASON                JULIUS W              VA         740CL0300163000   THE LAW OFFICES OF PETER T. NICHOLL
MARSH                ROBERT S              MD         X01000456         THE LAW OFFICES OF PETER T. NICHOLL                  MASON                LEMUEL                VA         29013W01          THE LAW OFFICES OF PETER T. NICHOLL
MARSH                RONALD T              MD         24X06000576       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                MARGARET C            VA         700CL0539382J05   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             BERTHA                MD         24X02000682       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                MELVIN A              VA         740CL0200077700   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             BERTHA J              MD         24X05000571       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                RALPH T               VA         740CL0200032500   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             BRENDON L             MD         24X02000682       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                ROBERT E              MD         24X01002088       THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             BRENDON L             MD         24X05000571       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                ROBERT E              MD         24X04000941       THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             CLIFTON B             VA         740CL0200077600   THE LAW OFFICES OF PETER T. NICHOLL                  MASON                RUDY T                VA         740CL0200284200   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             DIANA                 MD         24X03000601       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                STANLEY B             VA         740CL0200022900   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             ERIC C                MD         24X02000966       THE LAW OFFICES OF PETER T. NICHOLL                  MASON                WILLIAM F             VA         700CL0232487H02   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             HERBERT E             VA         740CL0200040600   THE LAW OFFICES OF PETER T. NICHOLL                  MASON                WILLIAM L             VA         700CL0235695W01   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             JAMES H               VA         740CL00000184     THE LAW OFFICES OF PETER T. NICHOLL                  MASON                YVONNE                MD         24X01002088       THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             JAMES L               VA         700CL0235846V05   THE LAW OFFICES OF PETER T. NICHOLL                  MASSENBURG           JA                    VA         740CLO200054900   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             OSCAR V               VA         700CL0028162V05   THE LAW OFFICES OF PETER T. NICHOLL                  MASSENGILL           RAY B                 VA         740CL0300117600   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             PAMELA                MD         24X02000966       THE LAW OFFICES OF PETER T. NICHOLL                  MATHERLY             DORCAS                MD         X01000991         THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             ROBERT S              VA         740CL0200086100   THE LAW OFFICES OF PETER T. NICHOLL                  MATHERLY             ROBERT L              MD         X01000991         THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             RUSSELL G             VA         29415VC           THE LAW OFFICES OF PETER T. NICHOLL                  MATHEWS              ALBERT R              MD         24X03000042       THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             TOMMY L               VA         31852RC           THE LAW OFFICES OF PETER T. NICHOLL                  MATHEWS              PHYLLIS               MD         24X03000042       THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             WILLIAM E             VA         30037RC           THE LAW OFFICES OF PETER T. NICHOLL                  MATHEWS              ROBERT P              VA         740CL0200068500   THE LAW OFFICES OF PETER T. NICHOLL
MARSHALL             WILLIAM F             MD         24X03000601       THE LAW OFFICES OF PETER T. NICHOLL                  MATHIAS              LEMUEL L              VA         740CL9900171700   THE LAW OFFICES OF PETER T. NICHOLL
MARSHBURN            ROBERT C              VA         700CL0235772H02   THE LAW OFFICES OF PETER T. NICHOLL                  MATHIS               ROBERT D              MD         24X01002140       THE LAW OFFICES OF PETER T. NICHOLL
MARTENS              ELVA K                MD         24X01002084       THE LAW OFFICES OF PETER T. NICHOLL                  MATIN                AYYUB                 MD         X99000049         THE LAW OFFICES OF PETER T. NICHOLL
MARTENS              HOWARD V              MD         24X01002084       THE LAW OFFICES OF PETER T. NICHOLL                  MATLOCK              MARY J                MD         24X06000704       THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               ANNIE                 MD         24X03000067       THE LAW OFFICES OF PETER T. NICHOLL                  MATTERN              AMELIA                MD         24X05000771       THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               CHARLES               MD         24X03000067       THE LAW OFFICES OF PETER T. NICHOLL                  MATTERN              CHARLES W             MD         24X05000771       THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               CLYDE                 VA         99001980          THE LAW OFFICES OF PETER T. NICHOLL                  MATTHEW              JAMES E               MD         98402447          THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               DONALD G              MD         24X13000063       THE LAW OFFICES OF PETER T. NICHOLL                  MATTHEWS             DONALD L              MD         24X14000334       THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               DOUGLAS W             VA         700CL0539142P03   THE LAW OFFICES OF PETER T. NICHOLL                  MATTHEWS             EDWARD B              MD         98316504CX2122    THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               EMERSON E             VA         32348VA           THE LAW OFFICES OF PETER T. NICHOLL                  MATTHEWS             FRANK C               VA         002359            THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               FLORENCE E            VA         700CL0539392J05   THE LAW OFFICES OF PETER T. NICHOLL                  MATTHEWS             GEORGE N              VA         700CL0235911V05   THE LAW OFFICES OF PETER T. NICHOLL
MARTIN               FRED H                VA         28199VA           THE LAW OFFICES OF PETER T. NICHOLL                  MATTHEWS             JANICE E              MD         X01000121         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 787
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 122 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MATTHEWS             JESSE                 VA         700CL0539411V04   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLAM               ARCHIE B              MD         X99000521         THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             JOSEPH D              MD         X01001046         THE LAW OFFICES OF PETER T. NICHOLL                  MCCLAM               REBECCA               MD         X99000521         THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             JOSEPH P              VA         740CL0100207900   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLASKEY            WILLIAM J             MD         24X03000591       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             LAWRENCE              MD         24X02001773       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLASKEY            WILLIAM J             MD         24X07000412       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             MCCARTHY E            MD         24X01002109       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLEARY             LOUISE                MD         24X09000068       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             NATHANIEL             VA         28001RC           THE LAW OFFICES OF PETER T. NICHOLL                  MCCLEARY             RALPH A               MD         24X09000068       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             ROLAND J              MD         X01000121         THE LAW OFFICES OF PETER T. NICHOLL                  MCCLEAVE             LAWYER                MD         24X04000287       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             RONALD L              VA         740CL0300092500   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLEAVE             MARY                  MD         24X04000287       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             TIM M                 VA         740CL0100142600   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAN            CHRISTINA             MD         24X06000040       THE LAW OFFICES OF PETER T. NICHOLL
MATTHEWS             WILLIAM C             VA         740CL0300029600   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAN            JOHN E                MD         24X06000040       THE LAW OFFICES OF PETER T. NICHOLL
MATTHIS              ELVIN E               VA         740CL0200068600   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAN            RICHARD M             VA         31840VA           THE LAW OFFICES OF PETER T. NICHOLL
MATUS                MICHAEL T             MD         24X03001177       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAN            SHARON                MD         24X06000040       THE LAW OFFICES OF PETER T. NICHOLL
MAUPIN               EARL H                VA         700CL0235897H02   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAN            TAMMY                 MD         24X06000040       THE LAW OFFICES OF PETER T. NICHOLL
MAURER               PHILIP J              MD         24X01001313       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAND           KATHRYN M             MD         24X06000135       THE LAW OFFICES OF PETER T. NICHOLL
MAVRONIS             GEORGE S              MD         24X06000056       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAND           KATHRYN M             MD         98279501CX1873    THE LAW OFFICES OF PETER T. NICHOLL
MAVRONIS             IRENE                 MD         24X06000056       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAND           LEROY R               MD         98279501CX1873    THE LAW OFFICES OF PETER T. NICHOLL
MAXWELL              BEULAH                MD         24X01001826       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLELLAND           LEROY R               MD         24X06000135       THE LAW OFFICES OF PETER T. NICHOLL
MAXWELL              BEULAH F              MD         24X06000241       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLENNEY            GARY                  VA         001494            THE LAW OFFICES OF PETER T. NICHOLL
MAXWELL              FREDERICK             VA         991982            THE LAW OFFICES OF PETER T. NICHOLL                  MCCLINTON            JOHN                  MD         24X02001401       THE LAW OFFICES OF PETER T. NICHOLL
MAXWELL              NORMAN D              MD         24X10000384       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLINTON            KENNETH               MD         24X13000435       THE LAW OFFICES OF PETER T. NICHOLL
MAXWELL              TROY                  MD         24X06000241       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLINTON            SHRONE                MD         24X02001401       THE LAW OFFICES OF PETER T. NICHOLL
MAXWELL              TROY L                MD         24X01001826       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLOUD              DAVID R               VA         700CL0437603H02   THE LAW OFFICES OF PETER T. NICHOLL
MAYBANK              BARBARA J             MD         24X06000230       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLOUD              JOHN R                VA         700CL0438009H02   THE LAW OFFICES OF PETER T. NICHOLL
MAYBERRY             HUDSON T              MD         24X01000389       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLOUD              NORMA                 MD         24X17000367       THE LAW OFFICES OF PETER T. NICHOLL
MAYES                FRANCES               MD         24X03000885       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLOUD              NORMA                 MD         X01000574         THE LAW OFFICES OF PETER T. NICHOLL
MAYES                JAMES E               MD         24X03000885       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLOUD              ROBERT                MD         24X17000367       THE LAW OFFICES OF PETER T. NICHOLL
MAYFIELD             CHARLES W             MD         98296502CX1980    THE LAW OFFICES OF PETER T. NICHOLL                  MCCLOUD              ROBERT                MD         X01000574         THE LAW OFFICES OF PETER T. NICHOLL
MAYFIELD             WILLIE H              VA         740CL0300016000   THE LAW OFFICES OF PETER T. NICHOLL                  MCCLUNEY             FRANKIE D             MD         24X01000386       THE LAW OFFICES OF PETER T. NICHOLL
MAYHEW               WILLIAM W             MD         24X01002112       THE LAW OFFICES OF PETER T. NICHOLL                  MCCLUNEY             SHIRLEY               MD         24X01000386       THE LAW OFFICES OF PETER T. NICHOLL
MAYNARD              JOHN A                VA         740CL0200312500   THE LAW OFFICES OF PETER T. NICHOLL                  MCCONE               ALBERT W              MD         24X03000819       THE LAW OFFICES OF PETER T. NICHOLL
MAYNARD              RICHARD B             VA         740CL0100189700   THE LAW OFFICES OF PETER T. NICHOLL                  MCCONE               CARMEN                MD         24X02002432       THE LAW OFFICES OF PETER T. NICHOLL
MAYNOR               CLIFFORD W            MD         24X01001213       THE LAW OFFICES OF PETER T. NICHOLL                  MCCONE               MICHEAL F             MD         24X02002432       THE LAW OFFICES OF PETER T. NICHOLL
MAYO                 ALLEN                 VA         700CL0235872H02   THE LAW OFFICES OF PETER T. NICHOLL                  MCCORMICK            EARL L                VA         740CL0200015800   THE LAW OFFICES OF PETER T. NICHOLL
MAYO                 JOHN O                VA         740CL0100187800   THE LAW OFFICES OF PETER T. NICHOLL                  MCCORMICK            LOUISE                MD         24X12000384       THE LAW OFFICES OF PETER T. NICHOLL
MAZUR                SHARON                MD         24X15000016       THE LAW OFFICES OF PETER T. NICHOLL                  MCCORMICK            MICHAEL               MD         24X01001424       THE LAW OFFICES OF PETER T. NICHOLL
MCABEE               CHARLES H             VA         740CL0200382300   THE LAW OFFICES OF PETER T. NICHOLL                  MCCORY               PHYLLIS J             MD         24X06000134       THE LAW OFFICES OF PETER T. NICHOLL
MCALILY              JOYCE                 MD         24X03000960       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOWAN              JOHN C                VA         30170RW           THE LAW OFFICES OF PETER T. NICHOLL
MCALILY              TIMOTHY L             MD         24X03000960       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOWN               MELVIN                VA         001130            THE LAW OFFICES OF PETER T. NICHOLL
MCALLISTER           JAMES F               VA         700CL0235912H02   THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                ARTHUR R              MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCALLISTER           JAMES H               MD         24X04000147       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                ARTHUR R              MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCALLISTER           ROBERT L              MD         24X04000954       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                DAVID F               VA         700CL0438724P03   THE LAW OFFICES OF PETER T. NICHOLL
MCBRIDE              CASSANDRA             MD         24X01002089       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                DORTHEA               MD         24X01000891       THE LAW OFFICES OF PETER T. NICHOLL
MCBRIDE              JAMES                 MD         24X02002786       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                GREGORY               MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCBRIDE              JOHN                  MD         24X01002142       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                GREGORY               MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCBRIDE              LEONARA               MD         24X01002142       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                JAMES M               MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCBRIDE              RONALD                MD         24X01002089       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                JAMES M               MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCCADDEN             DORA                  MD         24X03000090       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                KAREN                 MD         24X03000437       THE LAW OFFICES OF PETER T. NICHOLL
MCCADDEN             TE                    MD         24X03000090       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                MICHAEL               MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCCADEN              ARTHUR L              MD         24X02000681       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                MICHAEL               MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCCADEN              CAROLYN               MD         24 X05000904      THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                NATHANIEL             MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCCADEN              CAROLYN               MD         24X02000681       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                NATHANIEL             MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCCAFFERTY           WALLACE E             VA         32349EH           THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                RANDOLPH              VA         28163RC           THE LAW OFFICES OF PETER T. NICHOLL
MCCAIN               GLEN A                MD         24X06000623       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                SALLIE                MD         24X02000962       THE LAW OFFICES OF PETER T. NICHOLL
MCCAIN               MARIAN                MD         24X06000623       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                SANDRA                MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCCALL               DAVID L               VA         740CL0100178000   THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                SANDRA                MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCCALL               JESSE                 MD         X01000163         THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                STEVEN                MD         24X96088517       THE LAW OFFICES OF PETER T. NICHOLL
MCCALL               LISA                  MD         X01000163         THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                STEVEN                MD         24X15000287       THE LAW OFFICES OF PETER T. NICHOLL
MCCALLISTER          LEONARD E             MD         24X16000172       THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                THEODORE A            MD         24X04000041       THE LAW OFFICES OF PETER T. NICHOLL
MCCALLUM             LEON E                VA         700CL0438819P03   THE LAW OFFICES OF PETER T. NICHOLL                  MCCOY                WILLIE H              MD         24X03000437       THE LAW OFFICES OF PETER T. NICHOLL
MCCALLUM             PHILLIP R             VA         0000047200        THE LAW OFFICES OF PETER T. NICHOLL                  MCCRAY               ELIJAH                VA         740CL0200018500   THE LAW OFFICES OF PETER T. NICHOLL
MCCARDELL            JOHN C                MD         X99000075         THE LAW OFFICES OF PETER T. NICHOLL                  MCCRAY               JACKIE                MD         24X02001888       THE LAW OFFICES OF PETER T. NICHOLL
MCCARDELL            PHILLIP K             MD         24X07000284       THE LAW OFFICES OF PETER T. NICHOLL                  MCCREADY             LARRY R               VA         CL0028222C03      THE LAW OFFICES OF PETER T. NICHOLL
MCCARDELL            PHILOMINA L           MD         24X07000284       THE LAW OFFICES OF PETER T. NICHOLL                  MCCRICKARD           ALVIN T               VA         32350RC           THE LAW OFFICES OF PETER T. NICHOLL
MCCARROLL            WILLIAM D             MD         24X02000630       THE LAW OFFICES OF PETER T. NICHOLL                  MCCROEY              ANDREW J              MD         X01000452         THE LAW OFFICES OF PETER T. NICHOLL
MCCARTHY             ALFRED F              VA         700CL0232122V05   THE LAW OFFICES OF PETER T. NICHOLL                  MCCRORY              MARTHA                MD         24X02001072       THE LAW OFFICES OF PETER T. NICHOLL
MCCARTHY             ESTELLE               MD         24X04000726       THE LAW OFFICES OF PETER T. NICHOLL                  MCCRORY              WILLIAM H             MD         24X02001072       THE LAW OFFICES OF PETER T. NICHOLL
MCCARTHY             HENRY L               VA         740CL0200078200   THE LAW OFFICES OF PETER T. NICHOLL                  MCCUBBIN             JAMES M               VA         740CL0300016100   THE LAW OFFICES OF PETER T. NICHOLL
MCCARTHY             RAYMOND A             MD         24X04000726       THE LAW OFFICES OF PETER T. NICHOLL                  MCCULLEN             ROY D                 VA         740CL0200077800   THE LAW OFFICES OF PETER T. NICHOLL
MCCARTY              LEWIS W               MD         24X02001239       THE LAW OFFICES OF PETER T. NICHOLL                  MCCULLERS            BERNARD W             MD         24X02002360       THE LAW OFFICES OF PETER T. NICHOLL
MCCARTY              THERESA               MD         24X02001239       THE LAW OFFICES OF PETER T. NICHOLL                  MCCULLOUGH           ALBERTA               MD         24X14000436       THE LAW OFFICES OF PETER T. NICHOLL
MCCARY               JULIUS C              VA         00439             THE LAW OFFICES OF PETER T. NICHOLL                  MCCULLOUGH           CLARENCE              MD         24X14000436       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 788
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 123 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MCCULLOUGH           EDDIE                 MD         24X01001064       THE LAW OFFICES OF PETER T. NICHOLL                  MCKELVIN             WALTER L JR           MD         X98402471         THE LAW OFFICES OF PETER T. NICHOLL
MCCULLOUGH           JIMMY                 MD         24X01001562       THE LAW OFFICES OF PETER T. NICHOLL                  MCKELVIN             WILLIAM H             MD         24X11000129       THE LAW OFFICES OF PETER T. NICHOLL
MCCULLOUGH           MABLE                 MD         24X01001064       THE LAW OFFICES OF PETER T. NICHOLL                  MCKENZIE             SAMUEL H              MD         98260503CX1721    THE LAW OFFICES OF PETER T. NICHOLL
MCCULLOUGH           RONALD L              MD         24X09000135       THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNEY             DAVID R               MD         24X01001448       THE LAW OFFICES OF PETER T. NICHOLL
MCCULLUM             TONY                  MD         24X02000068       THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNEY             DONNA                 MD         24X01001448       THE LAW OFFICES OF PETER T. NICHOLL
MCCUMBER             EVON                  MD         X01000113         THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNEY             KATHRYN               MD         24X10000006       THE LAW OFFICES OF PETER T. NICHOLL
MCCUMBER             FLOYD A               MD         X01000113         THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNEY             NANCY                 MD         24X09000055       THE LAW OFFICES OF PETER T. NICHOLL
MCDANIEL             CHARLES L             VA         740CL0100189800   THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNEY             WADE H                MD         24X09000055       THE LAW OFFICES OF PETER T. NICHOLL
MCDANIELS            JAMES L               MD         24X01001122       THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNEY             WADE HAMPTON          MD         24X09000055       THE LAW OFFICES OF PETER T. NICHOLL
MCDANIELS            MARGARET              MD         24X01001122       THE LAW OFFICES OF PETER T. NICHOLL                  MCKINNON             JAMES F               MD         24X09000461       THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             FLOYD L W             MD         24X12001013       THE LAW OFFICES OF PETER T. NICHOLL                  MCKNIGHT             HENRY                 VA         700CL0539555J05   THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             GERTRUDE              MD         X01000965         THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                CLYDE J               MD         24X01001637       THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             JANET R               MD         98277513CX1864    THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                GILDA                 MD         98141502CX1006    THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             JOSEPH H              MD         98277513CX1864    THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                GILDA A               MD         24X11000684       THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             LONNIE R              MD         98316502CX2120    THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                JAMES                 VA         740CL0300016300   THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             MARION J              MD         X01000965         THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                JAMES B               MD         98141502CX1006    THE LAW OFFICES OF PETER T. NICHOLL
MCDONALD             PRESTON               MD         24X11000255       THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                JAMES B               MD         24X11000684       THE LAW OFFICES OF PETER T. NICHOLL
MCDOUGAL             TEXIE J               VA         740CL0200205100   THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                NORRIS A              VA         700CL0438201P03   THE LAW OFFICES OF PETER T. NICHOLL
MCDOUGLER            MICHELLE R            MD         24X96121508       THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                REBECCA               MD         24X06000493       THE LAW OFFICES OF PETER T. NICHOLL
MCDOWELL             ELWAY                 MD         01000179          THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                REBECCA               MD         98268502CX1803    THE LAW OFFICES OF PETER T. NICHOLL
MCDOWELL             HERBERT N             MD         24X10000176       THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                SAMUEL                MD         98268502CX1803    THE LAW OFFICES OF PETER T. NICHOLL
MCDOWELL             LAWRENCE S            VA         740CL0000195100   THE LAW OFFICES OF PETER T. NICHOLL                  MCKOY                SAMUEL                MD         24X06000493       THE LAW OFFICES OF PETER T. NICHOLL
MCDUFFIE             ANDRE D               MD         24X02000102       THE LAW OFFICES OF PETER T. NICHOLL                  MCLANE               DOUGLAS L             VA         104000            THE LAW OFFICES OF PETER T. NICHOLL
MCDUFFIE             DAVID E               MD         24X18000120       THE LAW OFFICES OF PETER T. NICHOLL                  MCLAUGHLIN           HARRY E               MD         24X05000512       THE LAW OFFICES OF PETER T. NICHOLL
MCDUFFIE             RODNEY E              MD         24X11000088       THE LAW OFFICES OF PETER T. NICHOLL                  MCLAUGHLIN           MICHAEL D             MD         X99000241         THE LAW OFFICES OF PETER T. NICHOLL
MCDUFFIE             SADIE                 MD         24X05000387       THE LAW OFFICES OF PETER T. NICHOLL                  MCLAUGHLIN           PATRICIA E            MD         24X05000512       THE LAW OFFICES OF PETER T. NICHOLL
MCEACHERN            WILLIAM H             VA         700CL0232332V05   THE LAW OFFICES OF PETER T. NICHOLL                  MCLAURIN             LAWRENCE E            VA         29000A04          THE LAW OFFICES OF PETER T. NICHOLL
MCELROY              NANCY                 MD         24X03000635       THE LAW OFFICES OF PETER T. NICHOLL                  MCLEAN               CHARLES E             VA         740CL0100165300   THE LAW OFFICES OF PETER T. NICHOLL
MCELROY              ROGER W               MD         24X03000635       THE LAW OFFICES OF PETER T. NICHOLL                  MCLEAN               JANET                 MD         24X04001053       THE LAW OFFICES OF PETER T. NICHOLL
MCELWEE              WELFORD B             VA         740CL0100347800   THE LAW OFFICES OF PETER T. NICHOLL                  MCLEAN               LONGLEIGH             MD         24X04001053       THE LAW OFFICES OF PETER T. NICHOLL
MCFADDEN             JAMES                 MD         24X04000117       THE LAW OFFICES OF PETER T. NICHOLL                  MCLELLAN             DAVID A               VA         740CL0200181400   THE LAW OFFICES OF PETER T. NICHOLL
MCFARLAND            HARRY L               VA         740CL0300016200   THE LAW OFFICES OF PETER T. NICHOLL                  MCLENDON             JACKSON               MD         24X01000891       THE LAW OFFICES OF PETER T. NICHOLL
MCGEE                ERNEST L              VA         0028839A04        THE LAW OFFICES OF PETER T. NICHOLL                  MCLENDON             JAMES                 MD         X01000966         THE LAW OFFICES OF PETER T. NICHOLL
MCGHEE               HENRY W               MD         24X04000040       THE LAW OFFICES OF PETER T. NICHOLL                  MCLENDON             ROBERT L              MD         24X01000891       THE LAW OFFICES OF PETER T. NICHOLL
MCGILVARY            HUGH H                VA         740CL0000014600   THE LAW OFFICES OF PETER T. NICHOLL                  MCLEOD               CAROLYN               VA         28944RC           THE LAW OFFICES OF PETER T. NICHOLL
MCGINNIS             MIRES L               MD         24X02001561       THE LAW OFFICES OF PETER T. NICHOLL                  MCLEOD               DANIEL                MD         98296517CX1995    THE LAW OFFICES OF PETER T. NICHOLL
MCGINNIS             SYLVIA                MD         24X01001339       THE LAW OFFICES OF PETER T. NICHOLL                  MCLEOD               WEBSTER LEONARD       VA         28944RC           THE LAW OFFICES OF PETER T. NICHOLL
MCGINNIS             WALLACE B             MD         24X01001339       THE LAW OFFICES OF PETER T. NICHOLL                  MCLOYD               CLARENCE              VA         0028915V05        THE LAW OFFICES OF PETER T. NICHOLL
MCGOWAN              ELLEN L               MD         24X04000813       THE LAW OFFICES OF PETER T. NICHOLL                  MCMAHON              WILLIAM               MD         24X04000429       THE LAW OFFICES OF PETER T. NICHOLL
MCGOWAN              EVAN L                MD         24X04000813       THE LAW OFFICES OF PETER T. NICHOLL                  MCMAHON              WILLIAM T             MD         24X04000429       THE LAW OFFICES OF PETER T. NICHOLL
MCGOWAN              LINDSAY E             MD         24X04000813       THE LAW OFFICES OF PETER T. NICHOLL                  MCMICKENS            TOMMY LEE             MD         24X12000612       THE LAW OFFICES OF PETER T. NICHOLL
MCGOWAN              MARK R                MD         24X04000813       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             DANIEL                VA         740CL0300029700   THE LAW OFFICES OF PETER T. NICHOLL
MCGOWAN              RONALD M              MD         24X04000813       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             DAVID R               VA         29003W01          THE LAW OFFICES OF PETER T. NICHOLL
MCGOWENS             GILBERT H             MD         24X03000317       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             DWIGHT E              MD         X01000449         THE LAW OFFICES OF PETER T. NICHOLL
MCGRAW               LARRY G               MD         24X01002090       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             FD                    MD         X01001146         THE LAW OFFICES OF PETER T. NICHOLL
MCGRAW               LARRY G               MD         24X05000496       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             IRA K                 VA         740CL0000185000   THE LAW OFFICES OF PETER T. NICHOLL
MCGRAW               MAGGIE                MD         24X05000496       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             MARGARET L            MD         24X05000351       THE LAW OFFICES OF PETER T. NICHOLL
MCGRAW               MAGGIE                MD         24X01002090       THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             NORMA                 MD         X01000449         THE LAW OFFICES OF PETER T. NICHOLL
MCGRAW               SYLVESTER J           MD         98240514CX1666    THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             RUBY L                MD         24X02002294       THE LAW OFFICES OF PETER T. NICHOLL
MCGRAW               THERESA               MD         98240514CX1666    THE LAW OFFICES OF PETER T. NICHOLL                  MCMILLAN             YVONNE T              MD         X01001146         THE LAW OFFICES OF PETER T. NICHOLL
MCGRIFF              JOANN                 MD         24X10000151       THE LAW OFFICES OF PETER T. NICHOLL                  MCMURRAY             GEORGE                MD         98303511          THE LAW OFFICES OF PETER T. NICHOLL
MCGRIFF              VIOLA                 MD         24X06000481       THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               CHARLIE               VA         001340            THE LAW OFFICES OF PETER T. NICHOLL
MCGUIRE              CURTIS J              MD         98247515CX1694    THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               CLINTON               VA         740CL0200023000   THE LAW OFFICES OF PETER T. NICHOLL
MCGUIRE              DAVID T               MD         24X04000246       THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               JAMES C               VA         740CL0200023100   THE LAW OFFICES OF PETER T. NICHOLL
MCGUIRE              PATRICIA A            MD         98247515CX1694    THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               JAMES C               VA         740CL0200078300   THE LAW OFFICES OF PETER T. NICHOLL
MCGUIRE              PATTY                 MD         24X04000246       THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               JOSEPH D              VA         700CL0235696V05   THE LAW OFFICES OF PETER T. NICHOLL
MCINTOSH             BENJAMIN N            VA         740CL0300197800   THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               LONNIE                VA         28655RW           THE LAW OFFICES OF PETER T. NICHOLL
MCINTOSH             JEFFREY W             MD         24X10000435       THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               NORMAN H              VA         740CL0100169900   THE LAW OFFICES OF PETER T. NICHOLL
MCINTOSH             ROBERT G              VA         29469EH           THE LAW OFFICES OF PETER T. NICHOLL                  MCNAIR               RALPH H               VA         700CL0337463P03   THE LAW OFFICES OF PETER T. NICHOLL
MCINTOSH-HORSFORD    CAROL                 VA         29469EH           THE LAW OFFICES OF PETER T. NICHOLL                  MCNEELY              ROBERT                VA         740CL0100208000   THE LAW OFFICES OF PETER T. NICHOLL
MCINTYRE             ALMIE                 MD         24X02001257       THE LAW OFFICES OF PETER T. NICHOLL                  MCNEELY              SHELBA J              VA         99001875          THE LAW OFFICES OF PETER T. NICHOLL
MCINTYRE             JOHN S                VA         740CL0200024000   THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               CECIL B               MD         98317533CX2164    THE LAW OFFICES OF PETER T. NICHOLL
MCIVER               ALBERT                VA         001378            THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               JAMES                 MD         24X12001011       THE LAW OFFICES OF PETER T. NICHOLL
MCKAY                BENJAMIN              MD         24X02002541       THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               OLA                   MD         24X12001011       THE LAW OFFICES OF PETER T. NICHOLL
MCKAY                BENJAMIN F            MD         24X03000091       THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               SHARON                MD         24X08000501       THE LAW OFFICES OF PETER T. NICHOLL
MCKAY                LEROY L               VA         700CL0437742P03   THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               THELMA                MD         98317533CX2164    THE LAW OFFICES OF PETER T. NICHOLL
MCKAY                SHIRLEY               MD         24X03000091       THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               THELMA C              MD         24X06000386       THE LAW OFFICES OF PETER T. NICHOLL
MCKAY                SHIRLEY A             MD         24X02002541       THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               THOMAS                MD         24X08000501       THE LAW OFFICES OF PETER T. NICHOLL
MCKEEVER             GEORGE W              VA         700CL0337330T05   THE LAW OFFICES OF PETER T. NICHOLL                  MCNEIL               VENUS                 MD         24X08000501       THE LAW OFFICES OF PETER T. NICHOLL
MCKELVIN             LARRY A               MD         24X12000319       THE LAW OFFICES OF PETER T. NICHOLL                  MCNEILL              ALPHONSO              MD         24X05000091       THE LAW OFFICES OF PETER T. NICHOLL
MCKELVIN             PATRICIA              MD         X98402471         THE LAW OFFICES OF PETER T. NICHOLL                  MCNEILL              BESSIE                MD         X01001050         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 789
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 124 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MCNEILL              CECIL S               MD         24X02001124       THE LAW OFFICES OF PETER T. NICHOLL                  MENSER               DENNIS D              VA         740CL0200045200   THE LAW OFFICES OF PETER T. NICHOLL
MCNEILL              DONNELL               MD         24X10000225       THE LAW OFFICES OF PETER T. NICHOLL                  MEREDITH             ANDREW                MD         01001338          THE LAW OFFICES OF PETER T. NICHOLL
MCNEILL              GLORIA                MD         24X05000091       THE LAW OFFICES OF PETER T. NICHOLL                  MEREDITH             EARLINE               MD         01001338          THE LAW OFFICES OF PETER T. NICHOLL
MCNEILL              LUE H                 MD         24X10000225       THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              BERNICE               MD         24X07000116       THE LAW OFFICES OF PETER T. NICHOLL
MCNEILL              NEAL H                MD         X01001050         THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              CARL F                MD         24X14000262       THE LAW OFFICES OF PETER T. NICHOLL
MCNEW                PATSY J               MD         24X02000965       THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              CATHERINE             MD         24X03000664       THE LAW OFFICES OF PETER T. NICHOLL
MCNEW                VAUGHN E              VA         700CL0235880W01   THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              DONALD C              MD         24X01000310       THE LAW OFFICES OF PETER T. NICHOLL
MCNULTY              WALTER E              MD         24X02001255       THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              LORENZO               MD         X99000052         THE LAW OFFICES OF PETER T. NICHOLL
MCPHERSON            DOROTHY C             MD         X99000225         THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              MARVIN E              MD         24X03000664       THE LAW OFFICES OF PETER T. NICHOLL
MCPHERSON            ISAIAH                MD         X99000225         THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              MELVIN                MD         24X07000116       THE LAW OFFICES OF PETER T. NICHOLL
MCPHERSON            MASON                 VA         740CL0200123300   THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              PHYLLIS               MD         X99000052         THE LAW OFFICES OF PETER T. NICHOLL
MCPHERSON            ROBERT L              VA         740CL0300115200   THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              SHIRLEY M             MD         24X01000310       THE LAW OFFICES OF PETER T. NICHOLL
MCPHERSON            WENDEL G              VA         002657            THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              THEODORE A            VA         740CL9900166300   THE LAW OFFICES OF PETER T. NICHOLL
MCPHERSON            WYNDHAM E             VA         740CL0300113000   THE LAW OFFICES OF PETER T. NICHOLL                  MERRITT              THOMAS G              VA         700CL0437593H02   THE LAW OFFICES OF PETER T. NICHOLL
MCQUEEN              LEVAN                 VA         740CL0100183700   THE LAW OFFICES OF PETER T. NICHOLL                  MESHEZABE            JOANNE                MD         24X06000455       THE LAW OFFICES OF PETER T. NICHOLL
MCQUILLEN            GARY A                VA         700CL0028193W01   THE LAW OFFICES OF PETER T. NICHOLL                  MESHEZABE            SAMUEL O              MD         24X06000455       THE LAW OFFICES OF PETER T. NICHOLL
MCQUILLEN            ROBERT E              VA         700CL0028181V05   THE LAW OFFICES OF PETER T. NICHOLL                  MESSENGER            JOSEPH L              MD         98275515CX1866    THE LAW OFFICES OF PETER T. NICHOLL
MCRAE                EDITH H               VA         29268RC           THE LAW OFFICES OF PETER T. NICHOLL                  MESSENGER            MARTHA                MD         98275515CX1866    THE LAW OFFICES OF PETER T. NICHOLL
MCRAE                GEORGE G              VA         29268RC           THE LAW OFFICES OF PETER T. NICHOLL                  MESSICK              JAMES A               VA         700CL0337473P03   THE LAW OFFICES OF PETER T. NICHOLL
MCRAE                LEE M                 VA         29182VC           THE LAW OFFICES OF PETER T. NICHOLL                  MESSICK              JOSEPH M              VA         740CL0300115300   THE LAW OFFICES OF PETER T. NICHOLL
MCWILLIAMS           DANIEL                VA         29913VA           THE LAW OFFICES OF PETER T. NICHOLL                  MESSINA              BETTY                 MD         24X08000054       THE LAW OFFICES OF PETER T. NICHOLL
MEAD                 LAWRENCE E            VA         740CL0200379000   THE LAW OFFICES OF PETER T. NICHOLL                  MESSINA              JOSEPH F              MD         24X08000054       THE LAW OFFICES OF PETER T. NICHOLL
MEADE                FREDERICK F           VA         740CL0100223500   THE LAW OFFICES OF PETER T. NICHOLL                  MESSINA              TIMOTHY M             MD         24X08000054       THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              BLANCHE E             MD         24X05000122       THE LAW OFFICES OF PETER T. NICHOLL                  MEYERS               PATRICIA E            MD         24X02000382       THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              HAZEL P               MD         98317532CX2163    THE LAW OFFICES OF PETER T. NICHOLL                  MEYETT               DOROTHY               MD         24X04000950       THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              HOWARD A              MD         98317532CX2163    THE LAW OFFICES OF PETER T. NICHOLL                  MEYETT               ROBERT J              MD         24X04000950       THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              JAMES                 MD         24X05000122       THE LAW OFFICES OF PETER T. NICHOLL                  MIALES               ELLIS                 MD         98303512          THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              JUNE M                MD         24X05000349       THE LAW OFFICES OF PETER T. NICHOLL                  MICHAEL              MILDRED V             MD         24X11000360       THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              MELVA                 MD         24X14000261       THE LAW OFFICES OF PETER T. NICHOLL                  MICHEL               CHARLES W             MD         X01000231         THE LAW OFFICES OF PETER T. NICHOLL
MEADOWS              RONALD E              MD         24X14000261       THE LAW OFFICES OF PETER T. NICHOLL                  MICHEL               DOLORES               MD         X01000231         THE LAW OFFICES OF PETER T. NICHOLL
MEARS                CLAUDINE T            VA         740CL0300163100   THE LAW OFFICES OF PETER T. NICHOLL                  MICHITTI             BENNY                 VA         740CL0200078400   THE LAW OFFICES OF PETER T. NICHOLL
MEBANE               RUDOLPH               VA         740CL0200071600   THE LAW OFFICES OF PETER T. NICHOLL                  MICKEY               JOSEPH W              MD         24X04000073       THE LAW OFFICES OF PETER T. NICHOLL
MEBANS               JAMES                 VA         740CL0200023200   THE LAW OFFICES OF PETER T. NICHOLL                  MIDDLETON            EDITH G               MD         24X05000903       THE LAW OFFICES OF PETER T. NICHOLL
MEDURA               ROSE                  MD         24X02000624       THE LAW OFFICES OF PETER T. NICHOLL                  MIDDLETON            JULIUS                MD         24X05000903       THE LAW OFFICES OF PETER T. NICHOLL
MEDURA               STEPHEN               MD         24X02000624       THE LAW OFFICES OF PETER T. NICHOLL                  MIDDLETON            MARY                  MD         24X01001192       THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              AUGUST F              MD         24X04000027       THE LAW OFFICES OF PETER T. NICHOLL                  MIDDLETON            RICHARD               MD         24X01001192       THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              GEORGE W              MD         24X01001205       THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETT              DALTON E              VA         700CL0235698A04   THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              GEORGE W              MD         24X05000396       THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETT              LARNELL               MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              GILBERT E             VA         740CL0200380500   THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETT              LARNELL               MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              JOSEPHINE             MD         24X04000027       THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETT              WILLIAM A             VA         740CL0300200100   THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              LARRY E               MD         24X11000060       THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETTE             CHARLES L             VA         740CL0300117700   THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              MARJORIE              MD         24X01001205       THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETTE             RUFUS D               VA         740CL0300092600   THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              MARJORIE J            MD         24X05000396       THE LAW OFFICES OF PETER T. NICHOLL                  MIDGETTE             WILLIAM A             VA         700CL0232333A04   THE LAW OFFICES OF PETER T. NICHOLL
MEEKINS              WILBERT A             VA         29850VC           THE LAW OFFICES OF PETER T. NICHOLL                  MIKULA               JEFFREY L             MD         98219524CX1563    THE LAW OFFICES OF PETER T. NICHOLL
MEEKS                JOHN                  MD         24X02000814       THE LAW OFFICES OF PETER T. NICHOLL                  MIKULA               LISA C                MD         98219524CX1563    THE LAW OFFICES OF PETER T. NICHOLL
MEGGINSON            MICHAEL A             MD         24X09000059       THE LAW OFFICES OF PETER T. NICHOLL                  MILBURN              CHARLES W             MD         24X04000243       THE LAW OFFICES OF PETER T. NICHOLL
MEHAILESCU           MICHAEL E             VA         740CL0200354900   THE LAW OFFICES OF PETER T. NICHOLL                  MILBY                CHARLES B             VA         740CL0200380600   THE LAW OFFICES OF PETER T. NICHOLL
MELLON               ANTHONY P             MD         24X04000118       THE LAW OFFICES OF PETER T. NICHOLL                  MILES                CALVIN                VA         740CL0000047100   THE LAW OFFICES OF PETER T. NICHOLL
MELNICZAK            EDYTHE                MD         24X08000484       THE LAW OFFICES OF PETER T. NICHOLL                  MILES                ELOISE                MD         24X01001962       THE LAW OFFICES OF PETER T. NICHOLL
MELNICZAK            PETER                 MD         24X08000484       THE LAW OFFICES OF PETER T. NICHOLL                  MILES                GEORGE H              MD         24X01001962       THE LAW OFFICES OF PETER T. NICHOLL
MELTON               ALTON R               VA         740CL0200090400   THE LAW OFFICES OF PETER T. NICHOLL                  MILES                JAMES R               VA         740CL0200045300   THE LAW OFFICES OF PETER T. NICHOLL
MELTON               EDWARD H              VA         001114            THE LAW OFFICES OF PETER T. NICHOLL                  MILES                JOHNNIE L             VA         740CL0200015900   THE LAW OFFICES OF PETER T. NICHOLL
MELTON               JESSE T               VA         740CL0200057600   THE LAW OFFICES OF PETER T. NICHOLL                  MILES                KENNETH A             VA         740CL0100189900   THE LAW OFFICES OF PETER T. NICHOLL
MELTON               LEON                  VA         740CL0200016900   THE LAW OFFICES OF PETER T. NICHOLL                  MILES                MACEO L               VA         29577VC           THE LAW OFFICES OF PETER T. NICHOLL
MELTON               MELVIN A              VA         30066EH           THE LAW OFFICES OF PETER T. NICHOLL                  MILES                MARIA M               MD         24X11000587       THE LAW OFFICES OF PETER T. NICHOLL
MELTON               NAOMI                 MD         24X05000103       THE LAW OFFICES OF PETER T. NICHOLL                  MILES                MICHAEL S             MD         24X02002532       THE LAW OFFICES OF PETER T. NICHOLL
MELTON               RONALD                VA         29722RC           THE LAW OFFICES OF PETER T. NICHOLL                  MILES                WILLIAM R             MD         24X02001584       THE LAW OFFICES OF PETER T. NICHOLL
MELTON               SAMUEL L              VA         700CL0235697H02   THE LAW OFFICES OF PETER T. NICHOLL                  MILIAN               JAMES W               VA         740CL0300117800   THE LAW OFFICES OF PETER T. NICHOLL
MELTON               WAYNE D               VA         740CL0300099800   THE LAW OFFICES OF PETER T. NICHOLL                  MILINOVICH           GEORGIA               MD         98246501CX1674    THE LAW OFFICES OF PETER T. NICHOLL
MELTON               WILLIAM T             MD         24X05000103       THE LAW OFFICES OF PETER T. NICHOLL                  MILINOVICH           JOHN                  MD         98246501CX1674    THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               BARRY E               VA         740CL0200117700   THE LAW OFFICES OF PETER T. NICHOLL                  MILLARD              TYRONE C              MD         01000123          THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               EARL T                MD         98302508CX2032    THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               ANNA                  MD         98141503CX1007    THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               EARL T                MD         24X05000599       THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               ARNETT                VA         740CL0300163200   THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               GEORGE J              VA         991193            THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               BENJAMIN              MD         X01000256         THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               GWENDOLYN             MD         98302508CX2032    THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               BRUCE W               VA         700CL0235913A04   THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               GWENDOLYN E           MD         24X05000599       THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               CHARLES C             MD         98309500CX2062    THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               LEVAN                 MD         24X02001582       THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               DAWN                  MD         24X15000016       THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               ROSS                  VA         29914EH           THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               DELWIN D              VA         740CL0300117900   THE LAW OFFICES OF PETER T. NICHOLL
MELVIN               SAMUEL                VA         740CL0200053700   THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               DESIREE MAE           MD         24X01002148       THE LAW OFFICES OF PETER T. NICHOLL
MELVIN-JONES         JOYCE A               VA         991193            THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               DIANE                 MD         24X04000593       THE LAW OFFICES OF PETER T. NICHOLL
MENSER               DANIEL W              VA         740CL0300016400   THE LAW OFFICES OF PETER T. NICHOLL                  MILLER               DOROTHY E             MD         24X08000116       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 790
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 125 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MILLER               EDITH L               MD         24X06000103       THE LAW OFFICES OF PETER T. NICHOLL                  MINTER               KIMBERLY              MD         24X02001222       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               EDWARD A              MD         01000938          THE LAW OFFICES OF PETER T. NICHOLL                  MINTER               WALLACE H             MD         24X02001222       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               HARRY L               MD         24X02001498       THE LAW OFFICES OF PETER T. NICHOLL                  MIOTLA               JOSEPH W              MD         24X01000845       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               HYLA M                MD         24X05000595       THE LAW OFFICES OF PETER T. NICHOLL                  MIRACLE              WILLIAM C             MD         24X11000920       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JAMES A               MD         X01001147         THE LAW OFFICES OF PETER T. NICHOLL                  MIRICK               KENNETH A             VA         740CL0200055600   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JAMES M               VA         740CL0100178100   THE LAW OFFICES OF PETER T. NICHOLL                  MISKELL              JAMES R               VA         740CL0200078600   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JANET                 MD         X01001147         THE LAW OFFICES OF PETER T. NICHOLL                  MISTARKA             CARILE J              MD         24X09000481       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JOHN A                MD         98282512CX1894    THE LAW OFFICES OF PETER T. NICHOLL                  MISTARKA             EDWARD T              MD         24X09000481       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JOHN A                MD         24X06000430       THE LAW OFFICES OF PETER T. NICHOLL                  MISTER               BARARA                MD         24X02000894       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JOHN H                MD         24X14000097       THE LAW OFFICES OF PETER T. NICHOLL                  MISTER               RICHARD R             MD         24X02000894       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JOHN R                MD         24X06000584       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             ALPHONSO L            MD         X01001144         THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JOSEPH T              MD         24X12001125       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             BORIS S               VA         740CL0200077900   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JUDITH                MD         01000166          THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             CURTIS A              VA         700CL0232085C03   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               JUDITH A              MD         98309500CX2062    THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             DONNELL               VA         700CL0028164W01   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               LEANDER M             MD         24X04000044       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             DORIS E               MD         24X06000512       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               MARY I                MD         24X06000430       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             DORIS E               MD         24X02002621       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               MARY I                MD         98282512CX1894    THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             DOROTHY L             MD         24X05000497       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               MICHAEL D             MD         98141503CX1007    THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             EARLY L               VA         740CL0300243000   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               MICHAEL V             VA         700CL0539412J05   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             ELIJAH                VA         700CL0235914C03   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               PATRICIA              MD         24X02001781       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             ELIZABETH             MD         24X01001364       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               RAYMOND J             MD         24X10000090       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             FRANK                 VA         740CL0200045400   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               RICHARD D             MD         01000166          THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             FRANK C               MD         24X05000497       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               RICKY M               VA         700CL0437622V04   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             GEORGE H              MD         98402482          THE LAW OFFICES OF PETER T. NICHOLL
MILLER               ROBERT C              MD         24X01001134       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             GEORGE W              VA         740CL0100345100   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               RONALD D              MD         24X01002148       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             GRADY J               VA         740CL0200024100   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               RONALD H              MD         98240505CX1657    THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             GREGORY               MD         98279506CX1878    THE LAW OFFICES OF PETER T. NICHOLL
MILLER               RONALD O              MD         24X04000593       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             HENRY L               VA         740CL0100208200   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               SAMUEL                MD         24X15000014       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JAMES R               VA         28554RC           THE LAW OFFICES OF PETER T. NICHOLL
MILLER               SHARON                MD         24X02001498       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JESSE                 MD         98316509CX2127    THE LAW OFFICES OF PETER T. NICHOLL
MILLER               SHELBERT              VA         700CL0539568H02   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JIMMY                 VA         740CL0200377700   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               TEMPLE                VA         740CL0200023300   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JOHN                  MD         24X01001364       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               THEODORE F            VA         740CL0100165400   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JOHN H                MD         24X04000119       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               VERNON                MD         24X02001781       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JOHNNIE               VA         740CL0100170000   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               WILLIAM F             VA         002360            THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             JOSEPH                VA         740CL0200067000   THE LAW OFFICES OF PETER T. NICHOLL
MILLER               CHARLES A             MD         24X06000103       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             KENNETH W             MD         24X02002621       THE LAW OFFICES OF PETER T. NICHOLL
MILLER               LASSITER              MD         24X05000595       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             KENNETH W             MD         24X06000512       THE LAW OFFICES OF PETER T. NICHOLL
MILLIKEN             HERSCHEL D            MD         24X01001704       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             LACEY A               VA         740CL0200296400   THE LAW OFFICES OF PETER T. NICHOLL
MILLIKEN             ROGER M               VA         700CL0232123A04   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             LILLIAN M             MD         98402482          THE LAW OFFICES OF PETER T. NICHOLL
MILLIKEN             RUTH                  MD         24X01001704       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             MARVIN                VA         001772            THE LAW OFFICES OF PETER T. NICHOLL
MILLS                DOROTHY               MD         24X08000282       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             REGINALD E            VA         001814            THE LAW OFFICES OF PETER T. NICHOLL
MILLS                ERNEST R              VA         01420             THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             SHARON                MD         24X12001126       THE LAW OFFICES OF PETER T. NICHOLL
MILLS                FOREST A              VA         700CL0437743W01   THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             STEPHEN L             MD         24X12001126       THE LAW OFFICES OF PETER T. NICHOLL
MILLS                HARRY W               MD         24X08000282       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             SYLVESTER S           MD         98302503CX2027    THE LAW OFFICES OF PETER T. NICHOLL
MILLS                HENRY C               MD         24X01001634       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             TOMMIE                VA         740CL0100200000   THE LAW OFFICES OF PETER T. NICHOLL
MILLS                JANIE                 MD         24X01001834       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             VERNELL               VA         700CL0337464W01   THE LAW OFFICES OF PETER T. NICHOLL
MILLS                JOHN C                MD         24X01001834       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHELL             WILLIAM M             VA         740CL0200057700   THE LAW OFFICES OF PETER T. NICHOLL
MILLS                MARLYN                MD         24X08000282       THE LAW OFFICES OF PETER T. NICHOLL                  MITCHEM              WILLIAM R             VA         740CL0200377800   THE LAW OFFICES OF PETER T. NICHOLL
MILLS                REGINALD M            VA         740CL0300163300   THE LAW OFFICES OF PETER T. NICHOLL                  MIZELL               JAMES L               VA         27943VC           THE LAW OFFICES OF PETER T. NICHOLL
MILLS                RONALD L              MD         98309508CX2068    THE LAW OFFICES OF PETER T. NICHOLL                  MIZELLE              DENNIE L              VA         740CL0200124100   THE LAW OFFICES OF PETER T. NICHOLL
MILLS                SHARON                MD         24X01001634       THE LAW OFFICES OF PETER T. NICHOLL                  MIZZELL              EDDIE L               VA         740CL0100183800   THE LAW OFFICES OF PETER T. NICHOLL
MILLS                SUSAN F               MD         98309508CX2068    THE LAW OFFICES OF PETER T. NICHOLL                  MOAN                 NATHANIEL C           MD         24X09000098       THE LAW OFFICES OF PETER T. NICHOLL
MILTEER              FELTON                VA         740CL0300028800   THE LAW OFFICES OF PETER T. NICHOLL                  MOBLEY               JAMES H               MD         24X05000768       THE LAW OFFICES OF PETER T. NICHOLL
MILWEE               DOLORES J             MD         24X10000152       THE LAW OFFICES OF PETER T. NICHOLL                  MOBLEY               LINCY W               MD         24X05000768       THE LAW OFFICES OF PETER T. NICHOLL
MIMMS                RICHARD E             VA         31831EH           THE LAW OFFICES OF PETER T. NICHOLL                  MOEBUIS              RONALD D              MD         01000169          THE LAW OFFICES OF PETER T. NICHOLL
MINES                CONNIE                MD         24X04000478       THE LAW OFFICES OF PETER T. NICHOLL                  MOEBUIS              THERESA               MD         01000169          THE LAW OFFICES OF PETER T. NICHOLL
MINES                EMANUEL T             VA         30067RC           THE LAW OFFICES OF PETER T. NICHOLL                  MOFFATT              COLUMBUS              MD         24X06000604       THE LAW OFFICES OF PETER T. NICHOLL
MINES                KENNETH E             MD         24X04000478       THE LAW OFFICES OF PETER T. NICHOLL                  MOFFATT              ETHEL G               MD         24X06000604       THE LAW OFFICES OF PETER T. NICHOLL
MINES                VERNON L              VA         740CL0200018600   THE LAW OFFICES OF PETER T. NICHOLL                  MOGER                WILLIAM L             VA         740CL0100192100   THE LAW OFFICES OF PETER T. NICHOLL
MINES                WILLIAM A             VA         700CL0235873A04   THE LAW OFFICES OF PETER T. NICHOLL                  MOHR                 PETER L               MD         98219515CX1554    THE LAW OFFICES OF PETER T. NICHOLL
MINGGIA              DANIEL                VA         740CL0200216100   THE LAW OFFICES OF PETER T. NICHOLL                  MOLER                ALBERT G              MD         24X04000740       THE LAW OFFICES OF PETER T. NICHOLL
MINGGIA              EARNEST N             VA         700CL99001773     THE LAW OFFICES OF PETER T. NICHOLL                  MONAGHAN             CAROLYN M             MD         24X10000208       THE LAW OFFICES OF PETER T. NICHOLL
MINGGIA              WALTER J              VA         740CL0200355000   THE LAW OFFICES OF PETER T. NICHOLL                  MONAGHAN             DENNIS J              MD         24X10000208       THE LAW OFFICES OF PETER T. NICHOLL
MINICH               EH                    VA         740CL0100208100   THE LAW OFFICES OF PETER T. NICHOLL                  MONDSHOUR            JAMES A               MD         24X04000878       THE LAW OFFICES OF PETER T. NICHOLL
MINION               DONALD N              VA         002198            THE LAW OFFICES OF PETER T. NICHOLL                  MONDSHOUR            PATRICIA              MD         24X04000878       THE LAW OFFICES OF PETER T. NICHOLL
MINISH               JOHN H                MD         98402484          THE LAW OFFICES OF PETER T. NICHOLL                  MONE                 STEPHEN F             MD         24X03000443       THE LAW OFFICES OF PETER T. NICHOLL
MINISH               SUSAN                 MD         98402484          THE LAW OFFICES OF PETER T. NICHOLL                  MONGER               EARL L                VA         740CL0300115000   THE LAW OFFICES OF PETER T. NICHOLL
MINNICK              ROBERT N              MD         24X01001530       THE LAW OFFICES OF PETER T. NICHOLL                  MONK                 EVELYN W              VA         29269RW           THE LAW OFFICES OF PETER T. NICHOLL
MINOR                VERDELLA              MD         24X11000212       THE LAW OFFICES OF PETER T. NICHOLL                  MONROE               CEASAR E              VA         740CL0300118000   THE LAW OFFICES OF PETER T. NICHOLL
MINOR                WF                    VA         740CL0100189400   THE LAW OFFICES OF PETER T. NICHOLL                  MONROE               CURLIS                MD         24X12000749       THE LAW OFFICES OF PETER T. NICHOLL
MINOR                WILLIAM K             MD         24X11000212       THE LAW OFFICES OF PETER T. NICHOLL                  MONROE               JOHN                  MD         01000939          THE LAW OFFICES OF PETER T. NICHOLL
MINTER               ALINE                 MD         24X02001222       THE LAW OFFICES OF PETER T. NICHOLL                  MONROE               LIONEL                MD         24X02002709       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 791
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 126 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MONTAGUE             DOROTHY               MD         98148509CX1059    THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                KENNETH R             MD         98402441          THE LAW OFFICES OF PETER T. NICHOLL
MONTAGUE             EDWARD G              MD         98148509CX1059    THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                LEROY                 VA         740CL0100320300   THE LAW OFFICES OF PETER T. NICHOLL
MONTGOMERY           CHARLES S             MD         24X11000350       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                LESELY J              MD         24X06000422       THE LAW OFFICES OF PETER T. NICHOLL
MONTGOMERY           ERNEST F              VA         700CL0233135A04   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                LESTER H              VA         0028906H02        THE LAW OFFICES OF PETER T. NICHOLL
MONTGOMERY           GEORGE                VA         740CL0300245500   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                MILTON E              VA         740CL0200356900   THE LAW OFFICES OF PETER T. NICHOLL
MONTGOMERY           HELEN                 MD         24X17000023       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                NORMAN                MD         24X02002540       THE LAW OFFICES OF PETER T. NICHOLL
MONTGOMERY           LISA                  MD         24X17000023       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                PATRICIA M            MD         98402441          THE LAW OFFICES OF PETER T. NICHOLL
MONTGOMERY           RONALD E              MD         24X17000023       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                PAUL J                MD         98191514CX1378    THE LAW OFFICES OF PETER T. NICHOLL
MONTZ                MARIE C               MD         24X04000024       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                PHILANDAS JR          VA         700CL0028513H02   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                ARTHUR L              VA         740CL0100140800   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RALPH E               VA         740CL0100118500   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                CLARENCE W            VA         700CL0235618H02   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RAYMOND M             MD         24X02001424       THE LAW OFFICES OF PETER T. NICHOLL
MOODY                CLYDE                 VA         740CL0100170100   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RAYMOND M             MD         24X02001425       THE LAW OFFICES OF PETER T. NICHOLL
MOODY                GEORGE L              VA         001338            THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RICHARD R             VA         740CL0300115400   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                JAMES J               VA         29230VC           THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RILEY E               VA         700CL9928017H02   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                JEROME                VA         0028876V05        THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                ROBERT F              VA         740CL0100167800   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                JOHN R                VA         740CL0300163400   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RONALD A              MD         24X03000820       THE LAW OFFICES OF PETER T. NICHOLL
MOODY                JOHN S                VA         001495            THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                RONALD A              MD         X01000876         THE LAW OFFICES OF PETER T. NICHOLL
MOODY                JOHN W                MD         24X01000391       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                ROSA M                VA         740CL0100346500   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                LOUIS                 VA         0028916H02        THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                ROSA M                MD         24X09000500       THE LAW OFFICES OF PETER T. NICHOLL
MOODY                ROYAL H               VA         29833EH           THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                SAMUEL                VA         740CL0100190000   THE LAW OFFICES OF PETER T. NICHOLL
MOODY                RUSSELL L             VA         740CL9900169700   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                VEDA                  MD         24X96078510       THE LAW OFFICES OF PETER T. NICHOLL
MOODY                WILLIAM T             VA         29713VC           THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                VERNON                VA         740CL0100091500   THE LAW OFFICES OF PETER T. NICHOLL
MOONEY               KATHLEEN              MD         24X02000627       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                VINCENT R             MD         24X03001179       THE LAW OFFICES OF PETER T. NICHOLL
MOONEY               MICHAEL L             MD         24X02000627       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                WILLIAM A             MD         24X03000561       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                ALFRED                VA         700CL0539143H02   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                WILLIAM C             VA         740CL0300120700   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                ALJOURNIA             MD         24X06000422       THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                WILLIAM E             MD         X99002701         THE LAW OFFICES OF PETER T. NICHOLL
MOORE                ALTON                 VA         001336            THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                WILLIAM M             MD         24X16000250       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                BERTHA L              VA         740CL0000195200   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                WILLIAM M             VA         99001932          THE LAW OFFICES OF PETER T. NICHOLL
MOORE                BILLY V               VA         740CL0200075900   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE                WILLIAM O             MD         24X02000893       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                BOBBY E               VA         700CL0235699C03   THE LAW OFFICES OF PETER T. NICHOLL                  MOORE.               DONNA                 MD         24X02001424       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CARL L                VA         29601RW           THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              BARBARA               VA         700CL0232086W01   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CARROLL L             VA         700CL0028518H02   THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              CHARLES E             MD         24X05000513       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CATHERINE M           MD         24X01001931       THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              JOHN                  MD         24X04000942       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CHARLES E             VA         740CL0100170200   THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              LEONZER N             MD         24X03001178       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CHARLES E             VA         094900            THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              LINWOOD E             MD         X01000519         THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CHARLES E             VA         740CL0100113300   THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              SAUNDRA               MD         X01000519         THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CLARENCE M            MD         24X13000101       THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              ULYSSES               MD         24X02001410       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CLARENCE P            VA         740CL0100200100   THE LAW OFFICES OF PETER T. NICHOLL                  MOORING              WILLIAM C             VA         29004C03          THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CLARENCE W            MD         24X11000131       THE LAW OFFICES OF PETER T. NICHOLL                  MORANT               JEFF                  VA         29017H02          THE LAW OFFICES OF PETER T. NICHOLL
MOORE                CLIFTON               VA         740CL0200053800   THE LAW OFFICES OF PETER T. NICHOLL                  MOREO                WILLIAM F             VA         740CL0100204200   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                DANA                  MD         24X03000561       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               ALVIN L               MD         24X02001423       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                DAVID R               MD         24X01001169       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               CECIL B               VA         740CL0200052700   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                DENISE                MD         X99002701         THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               CHARLES               VA         29834RC           THE LAW OFFICES OF PETER T. NICHOLL
MOORE                DEVON W               MD         X01000408         THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               CHARLES B             VA         700CL0235700W01   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                DONALD C              VA         700CL0437766T05   THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               DELORIS               MD         24X02000625       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                DONNA K               MD         24X02001425       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               DELORIS M             MD         24X06000466       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                EDWARD C              VA         740CL0300086000   THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               EDWARD L              VA         700CL0437725H02   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                ERNEST L              VA         29322EH           THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               EGYPT                 MD         24X02001892       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                FOSTER T              VA         011213            THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               ELTON                 VA         700CL0235874C03   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                FRANKLIN W            VA         0028667V05        THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               ERNEST                MD         24X04000736       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                FREDERICK M           MD         24X01001202       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               FRANCIS X             MD         24X04000148       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                GARRY G               VA         29416VA           THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               FRANK E               MD         24X02000625       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                GENERAL H             VA         740CL0100130500   THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               FRANK E               MD         24X06000466       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                GENEVIEVE             MD         24X01001369       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               GERALDINE             MD         24X04000736       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                GLENDA                MD         24X02000301       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               JOANNA                MD         24X02001423       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                GLORIA A              MD         24X02002540       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               JOSEPH E              VA         740CL0200016000   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                HARRISON C            MD         24X02002292       THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               PAUL G                VA         29221EH           THE LAW OFFICES OF PETER T. NICHOLL
MOORE                HENRY C               VA         740CL0300111500   THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               ROBERT                VA         700CL0232334H02   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                HENRY L               VA         30127EH           THE LAW OFFICES OF PETER T. NICHOLL                  MORGAN               RONALD C              MD         24X10000461       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                HORACE                VA         740CL0200114700   THE LAW OFFICES OF PETER T. NICHOLL                  MORING               GLEN R                VA         700CL0438001P03   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JACQUELINE            MD         24X02002292       THE LAW OFFICES OF PETER T. NICHOLL                  MORLEY               HOWARD E              MD         24X02001782       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JAMES                 VA         740CL0200380700   THE LAW OFFICES OF PETER T. NICHOLL                  MORLEY               LYDIA M               MD         24X02001782       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JAMES E               VA         740CL0200224000   THE LAW OFFICES OF PETER T. NICHOLL                  MORRE                WILHELMINA            MD         24X01001169       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JAMES W               VA         740CL0200379400   THE LAW OFFICES OF PETER T. NICHOLL                  MORRELL              WENDELL R             MD         X98402473         THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JESSE M               VA         700CL0437737P03   THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               BERNARD L             VA         740CL0200087400   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JIMMY H               VA         740CL0300111600   THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               DAVIS E               MD         24X06000421       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JOE E                 MD         24X09000500       THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               DENNIS L              VA         740CL0100347700   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JOHN E                VA         740CL0300118100   THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               ERANA                 MD         24X04000737       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JOHN M                VA         740CV0200045500   THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               FRANKLIN D            VA         700CL0235875W01   THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JOSEPH H              MD         24X01001369       THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               GWENDOLYN             MD         24X02000107       THE LAW OFFICES OF PETER T. NICHOLL
MOORE                JOSEPH H              MD         24X02000301       THE LAW OFFICES OF PETER T. NICHOLL                  MORRIS               JAMES R               VA         700CL0235683A04   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 792
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 127 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

MORRIS               JOHN                  MD         01000425            THE LAW OFFICES OF PETER T. NICHOLL                  MUNSHOWER            WALTER E              MD         01000108          THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               JOHN H                VA         740CL0300163500     THE LAW OFFICES OF PETER T. NICHOLL                  MURCHISON            JOHN                  MD         24X02001070       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               LAMAR S               VA         700CL0539144V04     THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               BRANDI                MD         24X15000132       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               MARY A                MD         24X06000421         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               BRENDA                MD         24X02002536       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               RANDOLPH L            MD         24X02001126         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               CLYDE H               MD         24X09000113       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               RAYMOND C             MD         24X03000602         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               DAVID J               MD         24X11000851       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               ROBERT K              MD         24X04000737         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               EDWARD S              MD         24X03001033       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               ROCELLE I             MD         24X02000107         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               JAMES                 MD         98219516CX1555    THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               SALLIE                MD         24X02001583         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               KARL                  MD         24X09000113       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               SHARON                MD         24X03000602         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               LARRY D               MD         24X02002536       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               WILLIAM H             VA         700CL0232335C03     THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               LAURIE                MD         24X03001033       THE LAW OFFICES OF PETER T. NICHOLL
MORRIS               WILLIE                MD         24X02001583         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               LISA                  MD         24X09000113       THE LAW OFFICES OF PETER T. NICHOLL
MORRISETTE           JOE N                 VA         700CL0437726T05     THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               LUCIUS                VA         700CL0437909H02   THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             BOBBY D               VA         002361              THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               LUTHER P              VA         740CL0300030900   THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             CLAUDINE M            VA         700CL0437727P03     THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               ROBERT L              VA         700CL0438733T01   THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             LARRY I               MD         24X02000626         THE LAW OFFICES OF PETER T. NICHOLL                  MURPHY               WILLIE J              MD         01000167          THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             LINDA                 MD         24X02000626         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               AARON                 VA         740CL0100214500   THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             NOLAN                 VA         700CL0437727P03     THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               BARBARA A             MD         24X11000132       THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             PHILIP P              VA         740CL0200023400     THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               BETTY                 MD         24X02002712       THE LAW OFFICES OF PETER T. NICHOLL
MORRISON             WILLIE F              VA         001760              THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               DORIS E               MD         24X03000277       THE LAW OFFICES OF PETER T. NICHOLL
MORRISSEY            MILTON S              MD         24X15000189         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               EDWARD E              MD         24X02001497       THE LAW OFFICES OF PETER T. NICHOLL
MORRISSEY            MILTON S              MD         24X09000069         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               EUGENE                MD         24X02002712       THE LAW OFFICES OF PETER T. NICHOLL
MORSBERGER           JOHN W                MD         24X13000059         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               GEORGE E              MD         24X02001859       THE LAW OFFICES OF PETER T. NICHOLL
MORSBERGER           RICHARD D             MD         24X10000500         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               JOHN WILSON           MD         24X03000277       THE LAW OFFICES OF PETER T. NICHOLL
MORSBERGER           SUSAN                 MD         24X10000500         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               JUDY                  MD         24X02001859       THE LAW OFFICES OF PETER T. NICHOLL
MORSE                JAMES D               VA         002140              THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               RAYMOND               MD         24X02000980       THE LAW OFFICES OF PETER T. NICHOLL
MORTIS               FRANK M               MD         24X98008503         THE LAW OFFICES OF PETER T. NICHOLL                  MURRAY               RAYMOND               MD         24X09000040       THE LAW OFFICES OF PETER T. NICHOLL
MORTON               BETTIE                MD         98402490            THE LAW OFFICES OF PETER T. NICHOLL                  MURRELL              JAMES R               MD         98329587CX2312    THE LAW OFFICES OF PETER T. NICHOLL
MORTON               CLARENCE              MD         98402490            THE LAW OFFICES OF PETER T. NICHOLL                  MURRILL              CARLEEN               MD         2405000063        THE LAW OFFICES OF PETER T. NICHOLL
MORTON               CORNELL S             MD         24X01001190         THE LAW OFFICES OF PETER T. NICHOLL                  MURRILL              DANIEL W              MD         2405000063        THE LAW OFFICES OF PETER T. NICHOLL
MORTON               JOSEPHINE E           MD         24X06000236         THE LAW OFFICES OF PETER T. NICHOLL                  MUSA-BEY             MANSA                 MD         24X12000801       THE LAW OFFICES OF PETER T. NICHOLL
MORTON               RICHARD               VA         001641              THE LAW OFFICES OF PETER T. NICHOLL                  MUSE                 FREDERICK W           VA         740CL0100175400   THE LAW OFFICES OF PETER T. NICHOLL
MOSELEY              BARBARA               MD         24X17000525         THE LAW OFFICES OF PETER T. NICHOLL                  MUSE                 JOHN C A              VA         700CLO438395T01   THE LAW OFFICES OF PETER T. NICHOLL
MOSELEY              BARBARA               MD         24X13000090         THE LAW OFFICES OF PETER T. NICHOLL                  MUSE                 LONSIE C              MD         24X02001578       THE LAW OFFICES OF PETER T. NICHOLL
MOSELEY              GR                    VA         740CL0200177200     THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                CYNTHIA D             MD         24X07000418       THE LAW OFFICES OF PETER T. NICHOLL
MOSELEY              ROBERT J              MD         24X13000090         THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                EDWARD C              MD         24X02000985       THE LAW OFFICES OF PETER T. NICHOLL
MOSELEY              ROBERT J              MD         24X17000525         THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                GERALD C              MD         24X99000058       THE LAW OFFICES OF PETER T. NICHOLL
MOSES                ALVIN B               VA         740CL0200085100     THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                GERALD C              MD         24X05000909       THE LAW OFFICES OF PETER T. NICHOLL
MOSES                JAMES E               VA         0082800             THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                GUDRUN LISA           MD         24X02000985       THE LAW OFFICES OF PETER T. NICHOLL
MOSS                 LORENZO               VA         740CL0200121300     THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                HAROLD N              MD         24X06000045       THE LAW OFFICES OF PETER T. NICHOLL
MOTLEY               ANNIE H               VA         740CL0100178200     THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                HERBERT L             VA         740CL0200313600   THE LAW OFFICES OF PETER T. NICHOLL
MOUNGER              WILLIAM B             VA         740CL0200090500     THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                JOYCE A               MD         24X05000600       THE LAW OFFICES OF PETER T. NICHOLL
MOUZON               BOBBI A               MD         01001343            THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                LIZZIE                MD         24X03000289       THE LAW OFFICES OF PETER T. NICHOLL
MOUZON               RICHARD L             MD         01001343            THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                MELVIN                MD         24X05000600       THE LAW OFFICES OF PETER T. NICHOLL
MOYE                 ROBERT A              VA         700CL0337474W01     THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                ROGER                 MD         24X01001373       THE LAW OFFICES OF PETER T. NICHOLL
MOYER                JOHN L                MD         24X10000065         THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                SHARON                MD         24X05000909       THE LAW OFFICES OF PETER T. NICHOLL
MUCKERSON            ALFONZO III           VA         28681VA             THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                SHARON                MD         24X99000058       THE LAW OFFICES OF PETER T. NICHOLL
MUELLER              CHRISTINE P           MD         24X15000315         THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                SHIRLEY               MD         24X06000045       THE LAW OFFICES OF PETER T. NICHOLL
MUELLER              JOHN V                MD         24X15000315         THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                SYLVESTER L           MD         24X03000799       THE LAW OFFICES OF PETER T. NICHOLL
MUELLER              PHYLLIS A             MD         24X08000463         THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                WALTER                MD         24X07000418       THE LAW OFFICES OF PETER T. NICHOLL
MUHAMMAD             DAWUD                 MD         24X97240501CX1792   THE LAW OFFICES OF PETER T. NICHOLL                  MYERS                WALTER E              MD         24X03000289       THE LAW OFFICES OF PETER T. NICHOLL
MUHAMMAD             JAMES                 MD         98344510CX2432      THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                ESTHER                MD         24X02001585       THE LAW OFFICES OF PETER T. NICHOLL
MUHAMMAD             PAMELA                MD         24X18000021         THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                EUGENE                MD         24X02001585       THE LAW OFFICES OF PETER T. NICHOLL
MUHAMMAD             PAMELA                MD         24X02002012         THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                FLORENCE E            MD         24X06000022       THE LAW OFFICES OF PETER T. NICHOLL
MUHAMMAD             TYRONE B              VA         700CL0438825V04     THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                SAMUEL                MD         24X02001736       THE LAW OFFICES OF PETER T. NICHOLL
MUHAMMAD             VALERIE               MD         98344510CX2432      THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                SAMUEL                MD         24X06000042       THE LAW OFFICES OF PETER T. NICHOLL
MULLEN               HERBERT J             VA         CL9927944W01        THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                SHIRLEY               MD         24X02001736       THE LAW OFFICES OF PETER T. NICHOLL
MULLEN               VERNON E              VA         740CL0200284300     THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                SHIRLEY A             MD         24X06000042       THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              BOBBY W               MD         24X11000214         THE LAW OFFICES OF PETER T. NICHOLL                  MYLES                STEPHEN               MD         X01000888         THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              BROWNLOW              MD         01001346            THE LAW OFFICES OF PETER T. NICHOLL                  MYNES                WILLIAM H             VA         31822RC           THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              DONNA M               MD         24X11000214         THE LAW OFFICES OF PETER T. NICHOLL                  MYRICK               CURTIS                VA         740CL0200115500   THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              ERVIN                 VA         30128RC             THE LAW OFFICES OF PETER T. NICHOLL                  MYRICK               EMANUEL M             VA         29596RW           THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              HARVE                 MD         24X02001422         THE LAW OFFICES OF PETER T. NICHOLL                  MYRICK               FRED L                VA         0028945A04        THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              MARY                  MD         24X02001422         THE LAW OFFICES OF PETER T. NICHOLL                  MYRICK               JAMES H               VA         700CL0438027W01   THE LAW OFFICES OF PETER T. NICHOLL
MULLINS              RITA                  MD         01001346            THE LAW OFFICES OF PETER T. NICHOLL                  MYRICK               RICHARD L             VA         29183EH           THE LAW OFFICES OF PETER T. NICHOLL
MUNDAY               ANDREA D              MD         X99000240           THE LAW OFFICES OF PETER T. NICHOLL                  NAGRABSKI            BARBARA A             MD         24X17000528       THE LAW OFFICES OF PETER T. NICHOLL
MUNDAY               CHARLES E             MD         X99000240           THE LAW OFFICES OF PETER T. NICHOLL                  NAGRABSKI            BARBARA A             MD         24X02000227       THE LAW OFFICES OF PETER T. NICHOLL
MUNDY                CLARENCE              MD         98176518CX1292      THE LAW OFFICES OF PETER T. NICHOLL                  NAGRABSKI            STANLEY J             MD         24X17000528       THE LAW OFFICES OF PETER T. NICHOLL
MUNSHOWER            KENNETH B             MD         X01000165           THE LAW OFFICES OF PETER T. NICHOLL                  NAGRABSKI            STANLEY J             MD         24X02000227       THE LAW OFFICES OF PETER T. NICHOLL
MUNSHOWER            KENNETH R             MD         24X97204508         THE LAW OFFICES OF PETER T. NICHOLL                  NALL                 CALVIN F              MD         24X01001703       THE LAW OFFICES OF PETER T. NICHOLL
MUNSHOWER            RENEE                 MD         01000108            THE LAW OFFICES OF PETER T. NICHOLL                  NANCE                CATHERINE O           MD         24X11000199       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                Appendix A - 793
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 128 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

NARRON               ALVIN                 VA         740CL0300163600   THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                JACKIE R              VA         740CL0100142700   THE LAW OFFICES OF PETER T. NICHOLL
NASH                 ALVA W                MD         98268517CX1818    THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                JOHN O                VA         740CL0300086100   THE LAW OFFICES OF PETER T. NICHOLL
NASSNER              CLARENCE H            MD         24X01001935       THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                JOSEPH A              VA         740CL0200067100   THE LAW OFFICES OF PETER T. NICHOLL
NASSNER              CLARENCE H            MD         24X06000470       THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                LEE A                 VA         29184RC           THE LAW OFFICES OF PETER T. NICHOLL
NASSNER              GLORIA E              MD         24X06000470       THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                PAUL L SR             VA         740CL9900191100   THE LAW OFFICES OF PETER T. NICHOLL
NASSNER              GLORIA E              MD         24X01001935       THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                PERNELL               VA         740CL0100345200   THE LAW OFFICES OF PETER T. NICHOLL
NAYLOR               JOSEPHINE             MD         X01000567         THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                RAY                   VA         740CL9900198700   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 ADRIE                 MD         X01000348         THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                ROGER                 VA         740CL0300016500   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 BARBARA               MD         24X02001395       THE LAW OFFICES OF PETER T. NICHOLL                  NEWBY                WILLIE R              VA         001350            THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 COLUMBUS C            VA         740CL0200032600   THE LAW OFFICES OF PETER T. NICHOLL                  NEWCOMB              CHARLES C             MD         24X05000659       THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 GRADY L               VA         740CL0300029800   THE LAW OFFICES OF PETER T. NICHOLL                  NEWCOMB              PATRICIA D            MD         24X05000659       THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 HARVEY L              VA         740CL0200023500   THE LAW OFFICES OF PETER T. NICHOLL                  NEWKIRK              REGINA                MD         24X01001858       THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 JAMES A               MD         X01000348         THE LAW OFFICES OF PETER T. NICHOLL                  NEWKIRK              STONEWALL J           MD         24X01001858       THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 JAMES H               MD         X01000521         THE LAW OFFICES OF PETER T. NICHOLL                  NEWMAN               CHARLES P             VA         740CL0100142800   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 JOHN W                VA         740CL9900189900   THE LAW OFFICES OF PETER T. NICHOLL                  NEWMAN               CLINTON               MD         01000106          THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 JOSEPHINE             MD         24X01001437       THE LAW OFFICES OF PETER T. NICHOLL                  NEWMAN               THERESA               MD         01000106          THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 LEONARD E             VA         CL9928044W01      THE LAW OFFICES OF PETER T. NICHOLL                  NEWMAN               TYRAINE R             VA         740CL0300025800   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 LLOYD W               VA         740CL0200003300   THE LAW OFFICES OF PETER T. NICHOLL                  NEWMUIS              EUGENE E              MD         24X06000024       THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 MARGARET              MD         X01000521         THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              CALVIN                MD         24X03000291       THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 STEPHEN F             MD         98247517CX1696    THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              CARTER                VA         740CL0100212200   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 VERNON                MD         24X02001395       THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              CLARERNCE J           VA         740CL0200036500   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 WILLIAM G             MD         24X01001437       THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              EDMOND                VA         700CL0235684C03   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 WILLIE                VA         31832RC           THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              ELEY M                VA         740CL0100091600   THE LAW OFFICES OF PETER T. NICHOLL
NEAL                 BRUCE W               VA         700CL0438734P03   THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              LARRY                 VA         740CL0200088100   THE LAW OFFICES OF PETER T. NICHOLL
NEATROUR             CARL A                MD         24X03001175       THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              LEVY P                VA         0082200           THE LAW OFFICES OF PETER T. NICHOLL
NEATROUR             KIMBERLY              MD         24X03001175       THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              ROY L                 VA         001351            THE LAW OFFICES OF PETER T. NICHOLL
NEIGHOFF             ALFRED G              MD         24X01001523       THE LAW OFFICES OF PETER T. NICHOLL                  NEWSOME              SYLVESTER H           VA         0028943W01        THE LAW OFFICES OF PETER T. NICHOLL
NEIGHOFF             LUCILLE               MD         24X01001523       THE LAW OFFICES OF PETER T. NICHOLL                  NEWTON               ABE                   VA         29723VC           THE LAW OFFICES OF PETER T. NICHOLL
NELLES               DENNIS J              MD         24X03000821       THE LAW OFFICES OF PETER T. NICHOLL                  NEWTON               JAMES V               VA         30139VC           THE LAW OFFICES OF PETER T. NICHOLL
NELSON               BARBARA V             MD         98149548CX1116    THE LAW OFFICES OF PETER T. NICHOLL                  NEWTON               RICHARD L             VA         31841EH           THE LAW OFFICES OF PETER T. NICHOLL
NELSON               BESSIE                MD         98149550CX1118    THE LAW OFFICES OF PETER T. NICHOLL                  NEWTON               WILLIAM C             MD         24X15000179       THE LAW OFFICES OF PETER T. NICHOLL
NELSON               DAVID E               MD         24X05000011       THE LAW OFFICES OF PETER T. NICHOLL                  NEWTON               WILLIAM H             VA         700CLO438365T01   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               DAWSON                MD         24X15000015       THE LAW OFFICES OF PETER T. NICHOLL                  NEWTON               WILLIE A              VA         740CL0100174200   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               GERALD L              VA         740CL0300245600   THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              ANNA                  MD         01000153          THE LAW OFFICES OF PETER T. NICHOLL
NELSON               HERMAN                MD         98149548CX1116    THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              CHARLES E             VA         740CL0100326900   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               HOOVER A              MD         98239503CX1648    THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              CHARLIE D             VA         740CL0000046500   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               LILLIE M              MD         24X05000749       THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              JACQUELINE Y          MD         24X03001176       THE LAW OFFICES OF PETER T. NICHOLL
NELSON               MARTIN                MD         X01000964         THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              LARRY                 VA         29417EH           THE LAW OFFICES OF PETER T. NICHOLL
NELSON               MARY L                MD         24X05000069       THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              LARRY D               VA         700CL0337475V04   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               MILDRED               MD         98239503CX1648    THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              LOUIS B               MD         01000153          THE LAW OFFICES OF PETER T. NICHOLL
NELSON               PRESLEY               VA         700CL0235786V05   THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLS              RAY B                 VA         700CL0438028V04   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               RACHEL                MD         24X05000011       THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLSON            JACKIE C              VA         102500            THE LAW OFFICES OF PETER T. NICHOLL
NELSON               RAYMOND SR            VA         28002EH           THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLSON            JAMES T               VA         740CL0100178300   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               ROBERT D              MD         24X11000121       THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLSON            LINWOOD M             VA         740CL0300122000   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               RONALD L              VA         01877             THE LAW OFFICES OF PETER T. NICHOLL                  NICHOLSON            WINSTON               VA         700CL0437767P03   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               ROOSEVELT T           MD         24X05000069       THE LAW OFFICES OF PETER T. NICHOLL                  NICKELSON            ANDREW L              VA         700CL0235636W01   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               WILLIAM A             VA         29094W01          THE LAW OFFICES OF PETER T. NICHOLL                  NICKELSON            EDWARD A              VA         700CL0337483P03   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               WILLIAM E             VA         740CL0100140700   THE LAW OFFICES OF PETER T. NICHOLL                  NICKENS              ERIC C                VA         700CL0337476H02   THE LAW OFFICES OF PETER T. NICHOLL
NELSON               WILLIAM E             VA         740CL0100326800   THE LAW OFFICES OF PETER T. NICHOLL                  NICOLLS              WILLIAM H             VA         29763VC           THE LAW OFFICES OF PETER T. NICHOLL
NELSON               WILLIE J              MD         24X14000480       THE LAW OFFICES OF PETER T. NICHOLL                  NIMMONS              ANTONIO W             MD         24X03001055       THE LAW OFFICES OF PETER T. NICHOLL
NESMITH              SAMUEL                VA         740CL0100168800   THE LAW OFFICES OF PETER T. NICHOLL                  NISSEAU-BEY          NEBUZARADAN           MD         24X11000927       THE LAW OFFICES OF PETER T. NICHOLL
NESTOR               HARRY L               MD         24X04001167       THE LAW OFFICES OF PETER T. NICHOLL                  NISSEAU-BEY          NIKAYA                MD         24X11000927       THE LAW OFFICES OF PETER T. NICHOLL
NESTOR               NANCY L               MD         24X04001167       THE LAW OFFICES OF PETER T. NICHOLL                  NIX                  WILLIAM H             VA         740CL0200073100   THE LAW OFFICES OF PETER T. NICHOLL
NETTLES              JONATHAN L            VA         740CL0300031000   THE LAW OFFICES OF PETER T. NICHOLL                  NIXON                ALONZO                VA         29418RC           THE LAW OFFICES OF PETER T. NICHOLL
NETTLES              SAM R                 VA         700CL0437744V04   THE LAW OFFICES OF PETER T. NICHOLL                  NIXON                RALPH                 VA         740CL0200067200   THE LAW OFFICES OF PETER T. NICHOLL
NEVERDON             ANDRE A               MD         98310528CX2106    THE LAW OFFICES OF PETER T. NICHOLL                  NIXON                RICHARD R             VA         740CL0200057800   THE LAW OFFICES OF PETER T. NICHOLL
NEVERDON             PAMELA                MD         98310528CX2106    THE LAW OFFICES OF PETER T. NICHOLL                  NIXON                THOMAS                VA         740CL0300115500   THE LAW OFFICES OF PETER T. NICHOLL
NEVILLE              CATHERINE E           MD         24X02000117       THE LAW OFFICES OF PETER T. NICHOLL                  NIXON                WILLIAM L             VA         740CL0200313700   THE LAW OFFICES OF PETER T. NICHOLL
NEVILLE              FRANK L               MD         24X02000117       THE LAW OFFICES OF PETER T. NICHOLL                  NOAH                 LOUIS L               VA         30129VC           THE LAW OFFICES OF PETER T. NICHOLL
NEVINS               MARY C                MD         24X12000624       THE LAW OFFICES OF PETER T. NICHOLL                  NOBLE                PATRICIA              MD         24X02001387       THE LAW OFFICES OF PETER T. NICHOLL
NEVINS               RONALD E              MD         24X12000624       THE LAW OFFICES OF PETER T. NICHOLL                  NOBLE                RONALD J              MD         24X02001387       THE LAW OFFICES OF PETER T. NICHOLL
NEW                  LOUIS P               VA         700CL0438826H02   THE LAW OFFICES OF PETER T. NICHOLL                  NOCAR                RACHEL                MD         24X01001585       THE LAW OFFICES OF PETER T. NICHOLL
NEWBERRY             JEANETTE              MD         24X03000087       THE LAW OFFICES OF PETER T. NICHOLL                  NOCAR                WILLIAM E             MD         24X01001585       THE LAW OFFICES OF PETER T. NICHOLL
NEWBERRY             ROY L                 MD         24X03000087       THE LAW OFFICES OF PETER T. NICHOLL                  NOEL                 CLARENCE W            MD         X01001129         THE LAW OFFICES OF PETER T. NICHOLL
NEWBERRY             TOMMY R               VA         32572EH           THE LAW OFFICES OF PETER T. NICHOLL                  NOEL                 EUGENE P              MD         24X10000177       THE LAW OFFICES OF PETER T. NICHOLL
NEWBY                ALBERT                VA         740CL0200357000   THE LAW OFFICES OF PETER T. NICHOLL                  NOEL                 SAMUEL                VA         700CL0235847H02   THE LAW OFFICES OF PETER T. NICHOLL
NEWBY                ALPHONSO              VA         740CL0100111700   THE LAW OFFICES OF PETER T. NICHOLL                  NOEL                 SHARON                MD         X01001129         THE LAW OFFICES OF PETER T. NICHOLL
NEWBY                CHARLES A             VA         0028908C03        THE LAW OFFICES OF PETER T. NICHOLL                  NOETHEN              CHERYL                MD         24X11000199       THE LAW OFFICES OF PETER T. NICHOLL
NEWBY                CLIFTON               VA         001761            THE LAW OFFICES OF PETER T. NICHOLL                  NOLE                 MARCUS                MD         24X02002618       THE LAW OFFICES OF PETER T. NICHOLL
NEWBY                COLUMBUS              VA         740CL9900194100   THE LAW OFFICES OF PETER T. NICHOLL                  NOLKER               HENRY C               MD         X01000115         THE LAW OFFICES OF PETER T. NICHOLL
NEWBY                GLENN                 VA         740CL0100130600   THE LAW OFFICES OF PETER T. NICHOLL                  NOLKER               JOAN                  MD         X01000115         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 794
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 129 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

NONE                 NONE                  VA         740CL0100311900   THE LAW OFFICES OF PETER T. NICHOLL                  OPIE                 EARL L                VA         740CL0200113100   THE LAW OFFICES OF PETER T. NICHOLL
NORMAN               JOHNNIE R             MD         24X03000661       THE LAW OFFICES OF PETER T. NICHOLL                  ORIE                 DANIEL T              VA         29127VC           THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               DAVID E               VA         740CL0200205200   THE LAW OFFICES OF PETER T. NICHOLL                  ORIE                 JOSEPH                VA         0028872H02        THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               EDGAR J               MD         24X01001539       THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  CLIFFORD L            MD         01000935          THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               ELSIE L               MD         24X07000305       THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  EVERETT A             MD         24X02001573       THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               HOWARD A              MD         24X11000210       THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  EVERETT A             MD         24X04001137       THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               JAMES T               VA         29634EH           THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  FRANCES               MD         X01000116         THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               JOSEPH H              VA         740CL0100183900   THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  GENEVIEVE             MD         24X02001573       THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               MARGARET K            MD         24X05000079       THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  GENEVIEVE M           MD         24X04001137       THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               NOLIE                 MD         24X01001539       THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  JOHN M                MD         X01000116         THE LAW OFFICES OF PETER T. NICHOLL
NORRIS               SPENCER R             MD         24X07000305       THE LAW OFFICES OF PETER T. NICHOLL                  ORR                  SUSAN                 MD         01000935          THE LAW OFFICES OF PETER T. NICHOLL
NORTHINGTON          TIMOTHY J             MD         24X02000629       THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              EDWARD                MD         24X03000092       THE LAW OFFICES OF PETER T. NICHOLL
NORTON               DELAPHINE             MD         98197515CX1413    THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              ELIZABETH E           MD         24X03000092       THE LAW OFFICES OF PETER T. NICHOLL
NORTON               LEO A                 MD         98197515CX1413    THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              JERRY D               VA         740CL0000179600   THE LAW OFFICES OF PETER T. NICHOLL
NORTON               MICHAEL I             MD         24X04001145       THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              JOE                   VA         29835VC           THE LAW OFFICES OF PETER T. NICHOLL
NOTTINGHAM           INGRID                VA         0028797W01        THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              ROBERT L              VA         740CL0100187900   THE LAW OFFICES OF PETER T. NICHOLL
NOTTINGHAM           WADE H                VA         740CL0300028900   THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              SAMUEL M              VA         740CL0200055800   THE LAW OFFICES OF PETER T. NICHOLL
NOTTINGHAM           WILLIAM T             VA         0028797W01        THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              VERMONT W             VA         29481RW           THE LAW OFFICES OF PETER T. NICHOLL
NOVAK                JANICE                MD         24X06000723       THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              VINCENT I             MD         24X10000080       THE LAW OFFICES OF PETER T. NICHOLL
NOVAK                JOHN R                MD         24X02000808       THE LAW OFFICES OF PETER T. NICHOLL                  OSBORNE              WARREN W              VA         470               THE LAW OFFICES OF PETER T. NICHOLL
NOVAK                JOHN T                MD         X98402472         THE LAW OFFICES OF PETER T. NICHOLL                  OTTER                CINDY                 MD         24X08000082       THE LAW OFFICES OF PETER T. NICHOLL
NOVAK                MICHAEL               MD         24X06000723       THE LAW OFFICES OF PETER T. NICHOLL                  OTTER                RICHARD J             MD         24X08000082       THE LAW OFFICES OF PETER T. NICHOLL
NOVAK                NANCY                 MD         24X02000808       THE LAW OFFICES OF PETER T. NICHOLL                  OUTERBRIDGE          ELBERT                VA         740CL0100212300   THE LAW OFFICES OF PETER T. NICHOLL
NOVELL               HENRY                 VA         002658            THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW               COLA C                VA         29915RC           THE LAW OFFICES OF PETER T. NICHOLL
NOVOTNY              ALMA MARGARET         MD         24X15000016       THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW               JAMES L               VA         740CL0300163700   THE LAW OFFICES OF PETER T. NICHOLL
NOVOTNY              ANGELA A              MD         24X05000352       THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW               LEON                  VA         740CL0200088200   THE LAW OFFICES OF PETER T. NICHOLL
NUKOLCZAK            ELMER G               MD         24X01000844       THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW               LINWOOD G             VA         0028821H02        THE LAW OFFICES OF PETER T. NICHOLL
NUNLEY               NELLIE                MD         24X05000596       THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW               RUFUS W               VA         740CL0200024200   THE LAW OFFICES OF PETER T. NICHOLL
NUNLEY               NELLIE                MD         983105029CX2107   THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW               WILLIE J              VA         740CL0200380800   THE LAW OFFICES OF PETER T. NICHOLL
NUNLEY               OTIS                  MD         983105029CX2107   THE LAW OFFICES OF PETER T. NICHOLL                  OUTLAW CLAP          MARILYN               VA         700CL0232067V05   THE LAW OFFICES OF PETER T. NICHOLL
NUNLEY               OTIS                  MD         24X05000596       THE LAW OFFICES OF PETER T. NICHOLL                  OVERMAN              ERNEST R              VA         740CL0300245700   THE LAW OFFICES OF PETER T. NICHOLL
NUNN                 DOROTHY               MD         24X02001783       THE LAW OFFICES OF PETER T. NICHOLL                  OVERTON              BOBBY L               VA         740CL0100212400   THE LAW OFFICES OF PETER T. NICHOLL
NUNN                 RONALD W              MD         24X02001783       THE LAW OFFICES OF PETER T. NICHOLL                  OVERTON              ROBERT                VA         700CL0235619A04   THE LAW OFFICES OF PETER T. NICHOLL
NYBERG               HOLLY                 MD         24X02000885       THE LAW OFFICES OF PETER T. NICHOLL                  OWAN                 NORMA                 MD         X01000932         THE LAW OFFICES OF PETER T. NICHOLL
NYBERG               LARRY A               MD         24X02000885       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                ALFRED C              VA         700CL0235685W01   THE LAW OFFICES OF PETER T. NICHOLL
OAKES                GARY T                VA         700CL0232336W01   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                EDDIE J               VA         740CL0300086200   THE LAW OFFICES OF PETER T. NICHOLL
OAKES                JOANNE                MD         24X10000353       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                ETHEL                 MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL
OAKES                WAYNE D               MD         24X10000353       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JAMES H               VA         740CL0100184200   THE LAW OFFICES OF PETER T. NICHOLL
OAKLEY               THOMAS                MD         24X14000201       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JAMES L               VA         740CL0200016100   THE LAW OFFICES OF PETER T. NICHOLL
OCKIMEY              DELORES A             MD         24X05000090       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JESSE                 MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL
OCKIMEY              RODNEY G              MD         24X05000090       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JESSE J               MD         24X11000112       THE LAW OFFICES OF PETER T. NICHOLL
O'DAIR               ELIZABETH M           MD         24X97311554CX2    THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JOHN E                VA         740CL0000016200   THE LAW OFFICES OF PETER T. NICHOLL
O'DAY                HILLIARD D            MD         24X15000316       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JOHN S                MD         24X02002704       THE LAW OFFICES OF PETER T. NICHOLL
O'DAY                JO R                  MD         24X15000316       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                JOHN W                MD         X01001157         THE LAW OFFICES OF PETER T. NICHOLL
ODOM                 CURTISS L             VA         740CL0100141800   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                LESLIE W              VA         740CL0300120800   THE LAW OFFICES OF PETER T. NICHOLL
ODOM                 GEORGE R              VA         740CL0200049500   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                LINWOOD F             VA         700CL0232337V05   THE LAW OFFICES OF PETER T. NICHOLL
OFFER                GEORGE E              MD         24X12000311       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                MAMIE                 VA         740CL0300025900   THE LAW OFFICES OF PETER T. NICHOLL
OGLESBY              BOBBY G               VA         740CL0100175500   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                PATRICIA              MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL
OLDS                 JAMES F               VA         0089100           THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                REGINALD L            VA         700CL0539145J05   THE LAW OFFICES OF PETER T. NICHOLL
OLINGER              MCKINLEY H            VA         740CL0100201000   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                RICHARD W             VA         700CL0437745H02   THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               ANGELA M              MD         24X0200090        THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                TERRY                 MD         24X02002704       THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               DAVID                 VA         740CL0200217600   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                TORRENCE              MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               GEORGE T              VA         31833RW           THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                VERNON J              VA         0028873W01        THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               JAMES W               VA         700CL0539151T01   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                WAYNE                 MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               KENNETH P             MD         24X03000362       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                WILLIAM E             VA         0088800           THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               MAYNARD T             VA         28220EH           THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                WILLIAM E G           MD         24X02000799       THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               RICHARD A             MD         24X01001856       THE LAW OFFICES OF PETER T. NICHOLL                  OWENS                WILLIE D              VA         740CL0300086300   THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               RICHARD C             VA         740CL0300099900   THE LAW OFFICES OF PETER T. NICHOLL                  OWENS-JOHNSON        MARKEIA               MD         24X04001129       THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               ROBERT L              VA         740CL0300016600   THE LAW OFFICES OF PETER T. NICHOLL                  OWINGS               BEATRICE L            MD         24X06000518       THE LAW OFFICES OF PETER T. NICHOLL
OLIVER               WYOMA C               VA         740CL0200217600   THE LAW OFFICES OF PETER T. NICHOLL                  OWNEY                JOHN R                VA         740CL0200113200   THE LAW OFFICES OF PETER T. NICHOLL
OLSEN                BETTY P               VA         700CL0539593H02   THE LAW OFFICES OF PETER T. NICHOLL                  PACIOCCO             DOROTHY A             MD         24X05000353       THE LAW OFFICES OF PETER T. NICHOLL
OLSEN                ROBERT L              VA         740CL0200052800   THE LAW OFFICES OF PETER T. NICHOLL                  PACK                 JOHN H                VA         740CL0100308700   THE LAW OFFICES OF PETER T. NICHOLL
OMAR                 BILAL                 MD         X01000889         THE LAW OFFICES OF PETER T. NICHOLL                  PACKER               GEORGE R              VA         740CL0000195300   THE LAW OFFICES OF PETER T. NICHOLL
OMAR                 LUVERTA               MD         X01000889         THE LAW OFFICES OF PETER T. NICHOLL                  PAGE                 DAVID C               VA         740CL0300092700   THE LAW OFFICES OF PETER T. NICHOLL
O'NEAL               CHARLES D             VA         740CL0300029500   THE LAW OFFICES OF PETER T. NICHOLL                  PAGE                 EDWARD R              MD         24X10000347       THE LAW OFFICES OF PETER T. NICHOLL
O'NEAL               RICKIE                VA         740CL0200055700   THE LAW OFFICES OF PETER T. NICHOLL                  PAGE                 JOYCE A               MD         24X10000108       THE LAW OFFICES OF PETER T. NICHOLL
O'NEILL              IVA V                 MD         24X04001139       THE LAW OFFICES OF PETER T. NICHOLL                  PAGE                 PR                    VA         700CL0235601W01   THE LAW OFFICES OF PETER T. NICHOLL
O'NEILL              TIMOTHY J             MD         24X04001139       THE LAW OFFICES OF PETER T. NICHOLL                  PAIGE                BRUCE                 MD         24X12000596       THE LAW OFFICES OF PETER T. NICHOLL
O'NEILL              WILLIAM F             VA         740CL0200379100   THE LAW OFFICES OF PETER T. NICHOLL                  PAIGE                DANNIE J              MD         98338533CX2357    THE LAW OFFICES OF PETER T. NICHOLL
O'NEILL              WILLIAM J             MD         98240513CX1665    THE LAW OFFICES OF PETER T. NICHOLL                  PAIGE                EDWARD W              MD         24X02001740       THE LAW OFFICES OF PETER T. NICHOLL
ONEY                 MIKE                  VA         700CL0539369P03   THE LAW OFFICES OF PETER T. NICHOLL                  PAIGE                LEON M                VA         740CL0200051500   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 795
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 130 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

PAIGE                LUREUGIS              MD         24X12000596       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               LARRY M               MD         98295504CX1970    THE LAW OFFICES OF PETER T. NICHOLL
PAIGE                ROSA                  MD         98338533CX2357    THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               LEON                  MD         24X03000671       THE LAW OFFICES OF PETER T. NICHOLL
PAIGE                SAMUEL D              VA         29038VC           THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               LONNIE                VA         700CL0028195H02   THE LAW OFFICES OF PETER T. NICHOLL
PAIGE                WALLACE R             VA         740CL0200067300   THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               LOUISE H              VA         00312             THE LAW OFFICES OF PETER T. NICHOLL
PAIGE                WILLIAM M             VA         740CL0300246400   THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               LUTHER J              VA         100600            THE LAW OFFICES OF PETER T. NICHOLL
PAINTER              GEORGE A              MD         24X03000596       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               MARGARET              MD         24X03000334       THE LAW OFFICES OF PETER T. NICHOLL
PAINTER              JOYCE M               MD         24X03000596       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               MARLENE E             MD         24X06000193       THE LAW OFFICES OF PETER T. NICHOLL
PAKULSKI             RICHARD J             MD         24X11000507       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               MARY                  MD         24X04000951       THE LAW OFFICES OF PETER T. NICHOLL
PAKULSKI             RICHARD J             MD         24X11000508       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               MARY E                VA         9927773W01        THE LAW OFFICES OF PETER T. NICHOLL
PAKULSKI             ROSE M                MD         24X11000508       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               MELVIN C              VA         700CL0438196P03   THE LAW OFFICES OF PETER T. NICHOLL
PAKULSKI             ROSE M                MD         24X11000507       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               MILTON W              VA         740CL0200065700   THE LAW OFFICES OF PETER T. NICHOLL
PALIN                LARRY E               VA         0028942H02        THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               RICHARD L             VA         940CL99001712     THE LAW OFFICES OF PETER T. NICHOLL
PALLETTE             GEORGE W              VA         740CL0200205300   THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               ROGER H               VA         740CL0200114800   THE LAW OFFICES OF PETER T. NICHOLL
PALMER               ALICE L               MD         98337501CX2313    THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               RONALD R              VA         30038VA           THE LAW OFFICES OF PETER T. NICHOLL
PALMER               BERNARD H             MD         24X09000412       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               RUNNIE B              VA         CL9927964W01      THE LAW OFFICES OF PETER T. NICHOLL
PALMER               MEAD C                MD         98337501CX2313    THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               SARAH R               MD         98149546CX1114    THE LAW OFFICES OF PETER T. NICHOLL
PALMER               WILLIAM E             VA         105500            THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               SCARLET P             VA         740CL0100130800   THE LAW OFFICES OF PETER T. NICHOLL
PANIEL               FANNIE M              MD         24X11000238       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               STANLEY L             VA         740CL0300121000   THE LAW OFFICES OF PETER T. NICHOLL
PANIEL               WILLIE L              MD         24X11000238       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               THEODORE              MD         98329564CX2289    THE LAW OFFICES OF PETER T. NICHOLL
PANUSKA              CHARLES A             MD         98303514CX2051    THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               VALARIE J             MD         24X11000365       THE LAW OFFICES OF PETER T. NICHOLL
PANZER               CONSTANCE             MD         98254510CX1710    THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLARD C             VA         740CL0100209400   THE LAW OFFICES OF PETER T. NICHOLL
PANZER               JOSEPH A              MD         24X01001125       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLIAM A             MD         24X03000334       THE LAW OFFICES OF PETER T. NICHOLL
PANZER               ROBERT J              MD         98254510CX1710    THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLIAM D             VA         700CL0028486A04   THE LAW OFFICES OF PETER T. NICHOLL
PAPA                 FRANK                 VA         740CL0200192700   THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLIAM P             VA         32498RC           THE LAW OFFICES OF PETER T. NICHOLL
PAQUETTE             LEON E                VA         740CL0200057900   THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLIAM W             MD         24X12000203       THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               CAROLYN A             MD         98402457          THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLIE A              MD         24X03000295       THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               CROSBY L              MD         24X01001693       THE LAW OFFICES OF PETER T. NICHOLL                  PARKER               WILLIE C              VA         29153EH           THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               EUGENE                MD         24X05000159       THE LAW OFFICES OF PETER T. NICHOLL                  PARKS                ERNEST H              MD         24X10000406       THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               FELIX E               VA         001763            THE LAW OFFICES OF PETER T. NICHOLL                  PARKS                JOHN L                VA         32499RW           THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               FRED L                VA         700CL0438202W01   THE LAW OFFICES OF PETER T. NICHOLL                  PARKS                LARRY M               MD         24X04000989       THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               JAMES T               VA         700CL0233122W01   THE LAW OFFICES OF PETER T. NICHOLL                  PARKS                WILLIE R              VA         30030VA           THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               JEAN L                MD         24X05000159       THE LAW OFFICES OF PETER T. NICHOLL                  PARLETTE             JAMES P               VA         740CL0100168900   THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               RALEIGH R             VA         740CL0300031200   THE LAW OFFICES OF PETER T. NICHOLL                  PARR                 FREDERICK C           MD         24X08000232       THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               SIDNEY M              VA         700CL0438019H02   THE LAW OFFICES OF PETER T. NICHOLL                  PARR                 MARGARET M            MD         24X08000232       THE LAW OFFICES OF PETER T. NICHOLL
PARHAM               WESLEY E              VA         740CL0100184300   THE LAW OFFICES OF PETER T. NICHOLL                  PARR                 STEVEN F              MD         24X08000232       THE LAW OFFICES OF PETER T. NICHOLL
PARIS                JOANN J               MD         98329515CX2240    THE LAW OFFICES OF PETER T. NICHOLL                  PARRISH              LARRY D               VA         700CL0539556T01   THE LAW OFFICES OF PETER T. NICHOLL
PARIS                RAMON C               MD         98329515CX2240    THE LAW OFFICES OF PETER T. NICHOLL                  PARRISH              REUBEN L              MD         24X10000179       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               ARCHIE                VA         740CL0000028500   THE LAW OFFICES OF PETER T. NICHOLL                  PARSON               CLARENCE W            VA         740CL0100204300   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               ARNISSA M             MD         98329564CX2289    THE LAW OFFICES OF PETER T. NICHOLL                  PARSON               JAMES O               VA         9927987H          THE LAW OFFICES OF PETER T. NICHOLL
PARKER               BURTON W              VA         740CL0100165500   THE LAW OFFICES OF PETER T. NICHOLL                  PARSON               RAYMOND               VA         740CL0100130900   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               CLARENCE T            VA         740CL0100192200   THE LAW OFFICES OF PETER T. NICHOLL                  PARSON               THURMAN B             VA         740CL0200121400   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               CLINTON               VA         103700            THE LAW OFFICES OF PETER T. NICHOLL                  PARSON               ZELNA H JR            VA         700CL0028490W01   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               COLA M                VA         740CL0200053900   THE LAW OFFICES OF PETER T. NICHOLL                  PARSONS              MARILYN F             MD         24X05000514       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               CONRAD E              VA         29336VC           THE LAW OFFICES OF PETER T. NICHOLL                  PARSONS              MARY H                MD         98156501CX1133    THE LAW OFFICES OF PETER T. NICHOLL
PARKER               CURTIS M              VA         31853RW           THE LAW OFFICES OF PETER T. NICHOLL                  PARSONS              THOMAS W              MD         98156501CX1133    THE LAW OFFICES OF PETER T. NICHOLL
PARKER               DANIEL C              MD         X01000613         THE LAW OFFICES OF PETER T. NICHOLL                  PARTLOW              WILLIAM I             MD         24X13000004       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               DARLENE A             MD         24X03000722       THE LAW OFFICES OF PETER T. NICHOLL                  PARTRIDGE            HASKEL L              VA         29270VC           THE LAW OFFICES OF PETER T. NICHOLL
PARKER               DENNIS M              VA         740CL0200380900   THE LAW OFFICES OF PETER T. NICHOLL                  PASCHALL             JESSE O               MD         24X02002597       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               EDGAR N               VA         29419RW           THE LAW OFFICES OF PETER T. NICHOLL                  PASCHALL             JESSE O               MD         24X05000719       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               FRANK G               MD         24X03000722       THE LAW OFFICES OF PETER T. NICHOLL                  PASCHALL             LILLIE                MD         24X02002597       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               GEORGE A              VA         700CL0235686V05   THE LAW OFFICES OF PETER T. NICHOLL                  PASCHALL             LILLIE C              MD         24X05000719       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               GERALD A              MD         24X01001656       THE LAW OFFICES OF PETER T. NICHOLL                  PATE                 WILLIAM H             VA         700CL0235687H02   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               HAROLD L              VA         740CL0100174300   THE LAW OFFICES OF PETER T. NICHOLL                  PATRICK              BRENDA                MD         X99001358         THE LAW OFFICES OF PETER T. NICHOLL
PARKER               HARRY C               VA         740CL0300001900   THE LAW OFFICES OF PETER T. NICHOLL                  PATRICK              IRVING                VA         740CL0200054000   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JACKIE R              VA         740CL0200379500   THE LAW OFFICES OF PETER T. NICHOLL                  PATRICK              RAYMOND A             VA         740CL0100140600   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES A               VA         740CL0300120900   THE LAW OFFICES OF PETER T. NICHOLL                  PATRICK              RUBIN                 MD         24X01001867       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES A               VA         9927773W01        THE LAW OFFICES OF PETER T. NICHOLL                  PATRICK              WILLIAM B             MD         X99001358         THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES C               MD         24X11000365       THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            CHARLIE J             MD         98344508CX2430    THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES H               VA         740CL0200115600   THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            CLYDE S               VA         700CL0233123V05   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES L               VA         700CL0438020T05   THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            DONALD E.L.           MD         24X01001515       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES O               VA         29635RC           THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            EVA                   MD         24X10000007       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES P               VA         29602VC           THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            HARRY C               MD         24X08000494       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES T               MD         98317509CX2140    THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            JENNYE                MD         24X01001515       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JAMES W               VA         29836RW           THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            JULIAN R              VA         700CL0235876V05   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JANE R                VA         740CL0100179100   THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            KRISTINA              MD         24X08000494       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JERRY                 MD         24X04000951       THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            LAWRENCE E            VA         001635            THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JIMMY                 MD         24X06000193       THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            NAOMI                 MD         98344508CX2430    THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JOHN W                VA         0028844A04        THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            NORMAN A              MD         24X10000007       THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JOHNNIE L             VA         31842RC           THE LAW OFFICES OF PETER T. NICHOLL                  PATTERSON            ROGER                 VA         740CL0200087500   THE LAW OFFICES OF PETER T. NICHOLL
PARKER               JUNIOUS I             VA         740CL0100130700   THE LAW OFFICES OF PETER T. NICHOLL                  PATTON               EMILY                 MD         01000936          THE LAW OFFICES OF PETER T. NICHOLL
PARKER               KENNETH L             VA         700CL0233218V05   THE LAW OFFICES OF PETER T. NICHOLL                  PATTON               HENRY L               MD         01000936          THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 796
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 131 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

PAUGH                CALVIN                MD         24X03000093       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                EARL                  VA         740CL0200381000   THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                CATHERINE M           MD         24X05000437       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                FREDDIE               VA         32573RC           THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                CYNTHIA LOU           MD         24X18000143       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                JESSE K               VA         740CL0100311800   THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                HOWARD M              MD         24X18000143       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                LARRY                 VA         29916VC           THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                LARRY A               MD         24X10000136       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                LINWOOD M             VA         740CL0200087600   THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                LARRY A               MD         24X10000494       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                WALTER                VA         30171VA           THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                LEROY D               MD         24X05000437       THE LAW OFFICES OF PETER T. NICHOLL                  PEELE                WALTER L              VA         0028817W01        THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                MARGARET              MD         24X03000093       THE LAW OFFICES OF PETER T. NICHOLL                  PEEPLES              ANDREW C              VA         001608            THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                PATRICIA              MD         24X10000136       THE LAW OFFICES OF PETER T. NICHOLL                  PEEPLES              JOANN                 MD         24X01001579       THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                PATRICIA L            MD         24X10000494       THE LAW OFFICES OF PETER T. NICHOLL                  PEERMAN              CARLTON P             VA         700CL0235688A04   THE LAW OFFICES OF PETER T. NICHOLL
PAUGH                RACY E                MD         24X10000178       THE LAW OFFICES OF PETER T. NICHOLL                  PEGG                 MICHAEL S             MD         98402582          THE LAW OFFICES OF PETER T. NICHOLL
PAUL                 ARTHUR H              MD         24X02000070       THE LAW OFFICES OF PETER T. NICHOLL                  PEGG                 PAULA                 MD         98402582          THE LAW OFFICES OF PETER T. NICHOLL
PAUL                 KAREN                 MD         24X02000070       THE LAW OFFICES OF PETER T. NICHOLL                  PEGRAM               LEON L                VA         001640            THE LAW OFFICES OF PETER T. NICHOLL
PAUL                 NORMAN O              VA         0028766W01        THE LAW OFFICES OF PETER T. NICHOLL                  PEGRAM               SIMON                 VA         700CL0235689C03   THE LAW OFFICES OF PETER T. NICHOLL
PAUL                 ROBERT B              VA         740CL0200024300   THE LAW OFFICES OF PETER T. NICHOLL                  PEGRAM               WILLIAM L             VA         001564            THE LAW OFFICES OF PETER T. NICHOLL
PAULEY               ROBERT T              VA         740CL0100310900   THE LAW OFFICES OF PETER T. NICHOLL                  PELLUM               JOHN A                VA         740CL0100191000   THE LAW OFFICES OF PETER T. NICHOLL
PAWLIK               SANDRA                MD         24X02000795       THE LAW OFFICES OF PETER T. NICHOLL                  PENCE                KENNETH               MD         24X02002105       THE LAW OFFICES OF PETER T. NICHOLL
PAWLIK               THOMAS J              MD         24X02000795       THE LAW OFFICES OF PETER T. NICHOLL                  PENCE                VIRGINIA              MD         24X02002105       THE LAW OFFICES OF PETER T. NICHOLL
PAWLIKOWSKI          EDWARD M              MD         24X01000470       THE LAW OFFICES OF PETER T. NICHOLL                  PENDER               SAMUEL R              VA         740CL0200116300   THE LAW OFFICES OF PETER T. NICHOLL
PAWLIKOWSKI          EDWARD M              MD         24X06000294       THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            FRANKIE               MD         24X06000281       THE LAW OFFICES OF PETER T. NICHOLL
PAWLIKOWSKI          ELIZABETH             MD         24X06000294       THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            FRANKIE A             MD         24X06000201       THE LAW OFFICES OF PETER T. NICHOLL
PAWLIKOWSKI          ELIZABETH             MD         24X01000470       THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            JAMES A               VA         700CL0539370H02   THE LAW OFFICES OF PETER T. NICHOLL
PAYLOR               IDA                   MD         24X06000631       THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            LYNN L                MD         24X02000961       THE LAW OFFICES OF PETER T. NICHOLL
PAYLOR               JESSE                 MD         24X14000127       THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            RANDY                 MD         24X02001226       THE LAW OFFICES OF PETER T. NICHOLL
PAYLOR               WALTER                MD         24X06000631       THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            SHIRLEY               MD         24X06000281       THE LAW OFFICES OF PETER T. NICHOLL
PAYNE                EDDIE C               VA         740CL0100212500   THE LAW OFFICES OF PETER T. NICHOLL                  PENDLETON            SHIRLEY               MD         24X06000201       THE LAW OFFICES OF PETER T. NICHOLL
PAYNE                HENRY F               MD         24X17000385       THE LAW OFFICES OF PETER T. NICHOLL                  PENLAND              JOHN H                VA         001496            THE LAW OFFICES OF PETER T. NICHOLL
PAYNE                HENRY F               MD         24X05000254       THE LAW OFFICES OF PETER T. NICHOLL                  PENN                 DOUGLAS J             MD         24X05000288       THE LAW OFFICES OF PETER T. NICHOLL
PAYNE                SHERMAN E             VA         105600            THE LAW OFFICES OF PETER T. NICHOLL                  PENN                 JAMES C               MD         24X11000086       THE LAW OFFICES OF PETER T. NICHOLL
PAYNE                SHIRLEY L             MD         24X17000385       THE LAW OFFICES OF PETER T. NICHOLL                  PENN                 LENA M                MD         24X05000288       THE LAW OFFICES OF PETER T. NICHOLL
PAYNE                SHIRLEY L             MD         24X05000254       THE LAW OFFICES OF PETER T. NICHOLL                  PENN                 MILTON R              MD         24X02000785       THE LAW OFFICES OF PETER T. NICHOLL
PAYNE-WHITE          RICHARD               VA         29837VA           THE LAW OFFICES OF PETER T. NICHOLL                  PENNELL              BILLIE J              MD         X01000117         THE LAW OFFICES OF PETER T. NICHOLL
PAYSOUR              RONALD S              MD         98302509CX2033    THE LAW OFFICES OF PETER T. NICHOLL                  PENNELL              RACHELL               MD         X01000117         THE LAW OFFICES OF PETER T. NICHOLL
PAYSOUR              VIVIAN                MD         98302509CX2033    THE LAW OFFICES OF PETER T. NICHOLL                  PEOPLES              HERBERT SR            VA         CL9927853H02      THE LAW OFFICES OF PETER T. NICHOLL
PAYTON               DONALD D              MD         24X05000074       THE LAW OFFICES OF PETER T. NICHOLL                  PEOPLES              JASPER J              VA         740CL0200065800   THE LAW OFFICES OF PETER T. NICHOLL
PAYTON               LARRY A               VA         740CL0100124800   THE LAW OFFICES OF PETER T. NICHOLL                  PEOPLES              WILLIAM J             VA         740CL0200205400   THE LAW OFFICES OF PETER T. NICHOLL
PAYTON               THERESA A             MD         24X05000074       THE LAW OFFICES OF PETER T. NICHOLL                  PERDUE               PAUL A                VA         740CL0300100000   THE LAW OFFICES OF PETER T. NICHOLL
PEACE                ANTHONY               MD         24X17000366       THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              BOBBY E               VA         740CL0100169100   THE LAW OFFICES OF PETER T. NICHOLL
PEACE                HELEN E               MD         24X11000262       THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              CECIL C               VA         740CL0200357400   THE LAW OFFICES OF PETER T. NICHOLL
PEACE                ROBERTA               MD         24X17000366       THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              CHARLES M             MD         X01001060         THE LAW OFFICES OF PETER T. NICHOLL
PEACOCK              DARLENE               MD         24X02001392       THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              FLOYD D               MD         01001304          THE LAW OFFICES OF PETER T. NICHOLL
PEACOCK              JAMES E               VA         8400              THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              JAMES E               VA         740CL99001688     THE LAW OFFICES OF PETER T. NICHOLL
PEACOCK              MICHAEL               MD         24X02001392       THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              JEFFREY W             VA         740CL0100327000   THE LAW OFFICES OF PETER T. NICHOLL
PEAKER               CHARLES I             MD         24X16000245       THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              JOHN H                VA         31951VC           THE LAW OFFICES OF PETER T. NICHOLL
PEANORT              MATTHEW E JR          VA         740CL9900169800   THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              MARIE                 MD         01001304          THE LAW OFFICES OF PETER T. NICHOLL
PEARCE               BOBBIE G              VA         740CL0100201100   THE LAW OFFICES OF PETER T. NICHOLL                  PERKINS              RANDOLPH              MD         24X04000045       THE LAW OFFICES OF PETER T. NICHOLL
PEARMON              ANTHONY E             MD         24X04000952       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                ALEX J                VA         740CL0200048800   THE LAW OFFICES OF PETER T. NICHOLL
PEARMON              FRANCHETTA            MD         24X04000952       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                ALEXANDER             VA         740CL0200116400   THE LAW OFFICES OF PETER T. NICHOLL
PEARRE               DONNA                 MD         24X02000976       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                ANDREW                MD         24X11000923       THE LAW OFFICES OF PETER T. NICHOLL
PEARRE               THOMAS H              MD         24X02000976       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                ARTHUR M              MD         24X04000739       THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              DAVID O               VA         740CL0100142900   THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                COLBERT L             MD         24X09000458       THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              ELSIE                 MD         24X03000717       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                DANFORD L             VA         700CL0235690W01   THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              HAZEL D               MD         24X02002018       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                DORIS A               VA         700CL0235773A04   THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              JAMES L               VA         700CL0235595C03   THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                ERNEST C              VA         740CL0100345300   THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              LEE M                 VA         700CL0235877H02   THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                FLORENCE              MD         24Z01000384       THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              NINMARK               MD         24X03000285       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                GEORGE H              VA         29724RW           THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              RAYMOND T             MD         24X02002018       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                GERALD D              MD         24X01000404       THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              RECO A                MD         X01000873         THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                HENRY E               VA         29348RC           THE LAW OFFICES OF PETER T. NICHOLL
PEARSON              WILLIE J              MD         24X03000717       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                JAMES H               VA         740CL0000180100   THE LAW OFFICES OF PETER T. NICHOLL
PEASE                MAURICE E             VA         740CL0100169000   THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                JAMES L               VA         740CL0300020800   THE LAW OFFICES OF PETER T. NICHOLL
PEATROSS             HARVEY O              VA         29323RC           THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                JOHN R                VA         740CL0100327100   THE LAW OFFICES OF PETER T. NICHOLL
PECK                 NANCY L               VA         27365RW           THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                JOSEPH                VA         29603VA           THE LAW OFFICES OF PETER T. NICHOLL
PECK                 RICHARD HENRY         VA         27365RW           THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                LOIS                  MD         24X01000404       THE LAW OFFICES OF PETER T. NICHOLL
PECZE                JOAN P                MD         98303515CX2052    THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                PLUMMER R             VA         740CL0200016200   THE LAW OFFICES OF PETER T. NICHOLL
PECZE                JOHN L                MD         98303515CX2052    THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                ROBERT L              VA         001377            THE LAW OFFICES OF PETER T. NICHOLL
PEDERSEN             JOHN C                MD         24X04000149       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                RONNIE                VA         700CL0232338A04   THE LAW OFFICES OF PETER T. NICHOLL
PEDERSEN             NANCY                 MD         24X04000149       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                VIOLA P               MD         24X09000458       THE LAW OFFICES OF PETER T. NICHOLL
PEDONE               JOSEPH M              MD         24X02000978       THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                WILBERT C             MD         24Z01000384       THE LAW OFFICES OF PETER T. NICHOLL
PEEDE                CARLTON E             VA         700CL0232124H02   THE LAW OFFICES OF PETER T. NICHOLL                  PERRY                WILLIE T              MD         99000250          THE LAW OFFICES OF PETER T. NICHOLL
PEELE                CLAUDE E              VA         740CL0000195500   THE LAW OFFICES OF PETER T. NICHOLL                  PERSEGHIN            ALAN I                MD         24X06000452       THE LAW OFFICES OF PETER T. NICHOLL
PEELE                CORNELIUS             VA         740CL0100117200   THE LAW OFFICES OF PETER T. NICHOLL                  PERSEGHIN            FRANK C               MD         24X06000452       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 797
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 132 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

PERSEGHIN            MARY E                MD         24X06000452       THE LAW OFFICES OF PETER T. NICHOLL                  PHILLIPS             WALTER                VA         29420VC           THE LAW OFFICES OF PETER T. NICHOLL
PERSEGHIN            MELVIN B              MD         24X06000452       THE LAW OFFICES OF PETER T. NICHOLL                  PHIPPS               DORIS                 MD         24X01001687       THE LAW OFFICES OF PETER T. NICHOLL
PERSON               CHARLIE JR            VA         28003VC           THE LAW OFFICES OF PETER T. NICHOLL                  PHIPPS               HOWARD L              VA         740CL0300121200   THE LAW OFFICES OF PETER T. NICHOLL
PERSON               JAMES                 VA         700CL0232068A04   THE LAW OFFICES OF PETER T. NICHOLL                  PHIPPS               WALTER H              MD         24X01001687       THE LAW OFFICES OF PETER T. NICHOLL
PERSON               LILLIAN G             MD         24X11000188       THE LAW OFFICES OF PETER T. NICHOLL                  PICKARD              WILBERT L             VA         29022H02          THE LAW OFFICES OF PETER T. NICHOLL
PERSON               THURMAN OLIVER        MD         24X11000188       THE LAW OFFICES OF PETER T. NICHOLL                  PICKENS              LIONEL                VA         740CL0000195400   THE LAW OFFICES OF PETER T. NICHOLL
PERUSO               ANDREA                MD         X99000080         THE LAW OFFICES OF PETER T. NICHOLL                  PICKETT              ROBERT L              VA         28715RC           THE LAW OFFICES OF PETER T. NICHOLL
PERUSO               JOHN                  MD         X99000080         THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               ALLEN R SR            VA         28212RL           THE LAW OFFICES OF PETER T. NICHOLL
PESTRIDGE            GLORIA                MD         X01001111         THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               CARLTON E             VA         28211VC           THE LAW OFFICES OF PETER T. NICHOLL
PESTRIDGE            WILLIAM W             MD         X01001111         THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               CLARENCE              VA         740CL0200377900   THE LAW OFFICES OF PETER T. NICHOLL
PETERKIN             ERNEST                VA         28995A04          THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               CLAUDE R JR           VA         740CL0000014300   THE LAW OFFICES OF PETER T. NICHOLL
PETERS               JAMES E               MD         24X05000151       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               DORIS                 MD         24X02000805       THE LAW OFFICES OF PETER T. NICHOLL
PETERS               MAGNOLIA              MD         24X05000151       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               HARRY M               VA         740CL0300026100   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             ARTHUR L              MD         98141501CX1005    THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               HARRY M               VA         002659            THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             BARBARA               MD         98141501CX1005    THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               HERMAN C              VA         740CL0300121300   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             FREEMAN               VA         700CL0235774C03   THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               JUNIUS H              VA         740CL0100329400   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             JAMES J               MD         X99000600         THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               LANDON R              VA         28045VA           THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             JAMES J               MD         24X05000135       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               LARRY S               VA         01878             THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             JAMES O               VA         700CL0232372V05   THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               LEROY                 VA         740CL0200017000   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             JEROME L              MD         X01000748         THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               LINDA                 MD         24X01001121       THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             JEROME L              MD         24X05000289       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               MARION H              MD         24X01001121       THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             LESLIE                MD         24X04000769       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               MCDONALD              VA         28066VC           THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             LOLA                  MD         24X05000289       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               RICHARD L             VA         740CL0000046700   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             LOLOA                 MD         X01000748         THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               ROY C                 VA         700CL0337454W01   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             PHILIP                MD         24X04000769       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               ROY C                 VA         700CL0337451H02   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             RETHEA                MD         24X05000135       THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               TIMOTHY               VA         700CL0235930W01   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             ROBERT J              VA         700CL0438029H02   THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               WALTER J              MD         24X02000805       THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             ROBERT L              VA         740CL0100212600   THE LAW OFFICES OF PETER T. NICHOLL                  PIERCE               WILLIE L              VA         700CL0337465V04   THE LAW OFFICES OF PETER T. NICHOLL
PETERSON             WILLIE R              VA         740CL0200078900   THE LAW OFFICES OF PETER T. NICHOLL                  PIGATT               CAROLYN               MD         97149501CX934     THE LAW OFFICES OF PETER T. NICHOLL
PETHEL               HARRY W               MD         X01000854         THE LAW OFFICES OF PETER T. NICHOLL                  PIGATT               GERALD A              MD         97149501CX934     THE LAW OFFICES OF PETER T. NICHOLL
PETHEL               HAZEL                 MD         X01000854         THE LAW OFFICES OF PETER T. NICHOLL                  PIGGOTT              JOHN W                VA         740CL0300246500   THE LAW OFFICES OF PETER T. NICHOLL
PETRECCA             JOHN A                MD         98402584          THE LAW OFFICES OF PETER T. NICHOLL                  PIGGOTT              KAREN A               VA         700CL0232200C03   THE LAW OFFICES OF PETER T. NICHOLL
PETROSKEY            JOHN S                VA         740CL0200215600   THE LAW OFFICES OF PETER T. NICHOLL                  PIGGOTT              OLIVER P              VA         700CL0232200C03   THE LAW OFFICES OF PETER T. NICHOLL
PETRY                ANDY D                VA         740CL0300086400   THE LAW OFFICES OF PETER T. NICHOLL                  PIGGOTT              PHILLIP D             VA         29796EH           THE LAW OFFICES OF PETER T. NICHOLL
PETTAWAY             CLARENCE L            VA         700CL0235775W01   THE LAW OFFICES OF PETER T. NICHOLL                  PIGGOTT              THOMAS A              VA         29956EH           THE LAW OFFICES OF PETER T. NICHOLL
PETTAWAY             JESSE L               VA         30161VA           THE LAW OFFICES OF PETER T. NICHOLL                  PIGOTT               CASPER N              MD         24X10000155       THE LAW OFFICES OF PETER T. NICHOLL
PETTAWAY             ROBERT                VA         740CL0200116500   THE LAW OFFICES OF PETER T. NICHOLL                  PIGOTTE              CURTIS                VA         29271VA           THE LAW OFFICES OF PETER T. NICHOLL
PETTEFORD            MARY                  MD         24X11000281       THE LAW OFFICES OF PETER T. NICHOLL                  PIJANOWSKI           DEBRA                 MD         24X06000712       THE LAW OFFICES OF PETER T. NICHOLL
PETTEFORD            MELVIN L              MD         24X11000281       THE LAW OFFICES OF PETER T. NICHOLL                  PILGRIM              MABEL                 MD         01000924          THE LAW OFFICES OF PETER T. NICHOLL
PETTEWAY             LOUIS                 VA         740CL0200048700   THE LAW OFFICES OF PETER T. NICHOLL                  PILGRIM              SLOAN                 MD         01000924          THE LAW OFFICES OF PETER T. NICHOLL
PETTEWAY             LOUIS S               VA         740CL0100131000   THE LAW OFFICES OF PETER T. NICHOLL                  PILLITHIS            NICHOLAS              MD         98289515CX1927    THE LAW OFFICES OF PETER T. NICHOLL
PETTEWAY             THOMAS L              VA         740CL0300121100   THE LAW OFFICES OF PETER T. NICHOLL                  PINCKNEY             EDWARD J              VA         700CL0235798A04   THE LAW OFFICES OF PETER T. NICHOLL
PHAIR                LARRY T               MD         98247509CX1688    THE LAW OFFICES OF PETER T. NICHOLL                  PINDELL              EDWARD A              MD         24X02000388       THE LAW OFFICES OF PETER T. NICHOLL
PHAIR                MARION                MD         98247509CX1688    THE LAW OFFICES OF PETER T. NICHOLL                  PINDELL              JOHN E                MD         24X03000712       THE LAW OFFICES OF PETER T. NICHOLL
PHANEUF              BERNETTA G            MD         24X01001443       THE LAW OFFICES OF PETER T. NICHOLL                  PINDELL              MARY                  MD         24X03000712       THE LAW OFFICES OF PETER T. NICHOLL
PHEBUS               GEORGE J              MD         24X04000046       THE LAW OFFICES OF PETER T. NICHOLL                  PINDELL              MARY ANN              MD         24X02000388       THE LAW OFFICES OF PETER T. NICHOLL
PHEBUS               JEANNE                MD         24X04000046       THE LAW OFFICES OF PETER T. NICHOLL                  PINKNEY              RONALD A              MD         99000251          THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               BERNADETTE M          MD         24X13000061       THE LAW OFFICES OF PETER T. NICHOLL                  PINNICK              DARRYL A              MD         98233505CX1631    THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               BONNIE                MD         24X04000448       THE LAW OFFICES OF PETER T. NICHOLL                  PIOTTE               LAURA M               MD         24X11000175       THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               DOROTHY               MD         98233516CX1642    THE LAW OFFICES OF PETER T. NICHOLL                  PIOTTE               THEODORE D            MD         24X11000175       THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               EDWARD B              MD         24X13000061       THE LAW OFFICES OF PETER T. NICHOLL                  PIPER                BARBARA               MD         24X06000654       THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               JOSEPH G              MD         98233516CX1642    THE LAW OFFICES OF PETER T. NICHOLL                  PIPER                DONALD L              MD         24X08000503       THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               LOUIS A               MD         24X04000448       THE LAW OFFICES OF PETER T. NICHOLL                  PIPER                MARY                  MD         24X08000503       THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               TERRY L               VA         002154            THE LAW OFFICES OF PETER T. NICHOLL                  PIPER                OSCAR                 MD         24X06000654       THE LAW OFFICES OF PETER T. NICHOLL
PHELPS               TILGHAM               VA         740CL0100131900   THE LAW OFFICES OF PETER T. NICHOLL                  PIQUETT              DARLENE               MD         24X17000537       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIP              RUTH D                MD         98233518CX1644    THE LAW OFFICES OF PETER T. NICHOLL                  PIQUETT              DARLENE               MD         24X03000081       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIP              SYLBERT               MD         98233518CX1644    THE LAW OFFICES OF PETER T. NICHOLL                  PIQUETT              RICHARD G             MD         24X17000537       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             ANNETTE               MD         24X01001168       THE LAW OFFICES OF PETER T. NICHOLL                  PIQUETT              RICHARD G             MD         24X03000081       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             DOROTHY               MD         24X01001632       THE LAW OFFICES OF PETER T. NICHOLL                  PIRRERA              CATHY                 MD         24X11000239       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             EDNA S                MD         24X05000473       THE LAW OFFICES OF PETER T. NICHOLL                  PIRRERA              FRED C                MD         24X11000239       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             EDWARD J              VA         740CL0200381100   THE LAW OFFICES OF PETER T. NICHOLL                  PIRZCHALSKI          ELIZABETH M           MD         24X06000205       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             FREDDIE L             MD         24X01001168       THE LAW OFFICES OF PETER T. NICHOLL                  PITT                 MARY                  MD         24X06000456       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             GILLIE                MD         24X01001632       THE LAW OFFICES OF PETER T. NICHOLL                  PITTAS               PATRICIA              MD         98310535CX2113    THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             HARVEY H              VA         740CL0100125900   THE LAW OFFICES OF PETER T. NICHOLL                  PITTAS               PETE                  MD         98310535CX2113    THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             JIMMY R               VA         740CL0200284400   THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              AUBREY L              MD         24X03000795       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             JOHN M                VA         0028933W01        THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              CALVIN J              VA         700CL0028662V05   THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             LORN E                MD         98289514CX1926    THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              DRUCILLA              MD         24X07000427       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             MILTON R              VA         700CL0437746T05   THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              FRAZIER               MD         24X06000419       THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             NORMAN A              MD         24X05000473       THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              HERMAN L              VA         740CL0200058000   THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             ROBERT W              MD         98142517CX1039    THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              JAMES A               VA         740CL0200045600   THE LAW OFFICES OF PETER T. NICHOLL
PHILLIPS             ROY L                 VA         740CL0200379600   THE LAW OFFICES OF PETER T. NICHOLL                  PITTMAN              JAMES E               VA         740CL0100346600   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 798
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 133 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

PITTMAN              JAMES L               VA         29129RC           THE LAW OFFICES OF PETER T. NICHOLL                  POPE                 HERBERT A             MD         24X04001018       THE LAW OFFICES OF PETER T. NICHOLL
PITTMAN              JESSE                 VA         740CL0300163800   THE LAW OFFICES OF PETER T. NICHOLL                  POPE                 JOHNNIE L             VA         CL0028166H02      THE LAW OFFICES OF PETER T. NICHOLL
PITTMAN              LEONARD               VA         700CL043791OT05   THE LAW OFFICES OF PETER T. NICHOLL                  POPE                 TYRONE R              VA         740CL0100126000   THE LAW OFFICES OF PETER T. NICHOLL
PITTMAN              MARGARET J            MD         24X06000413       THE LAW OFFICES OF PETER T. NICHOLL                  POPE                 WILLIE R              VA         105700            THE LAW OFFICES OF PETER T. NICHOLL
PITTMAN              PAUL J                VA         700CL0235848A04   THE LAW OFFICES OF PETER T. NICHOLL                  POREMSKI             STANLEY C             MD         24X01000303       THE LAW OFFICES OF PETER T. NICHOLL
PITTMAN              VERGIE M              MD         24X06000419       THE LAW OFFICES OF PETER T. NICHOLL                  PORTE                EUGENE H              MD         24X01001438       THE LAW OFFICES OF PETER T. NICHOLL
PITTMAN              WILLIE T              MD         24X07000427       THE LAW OFFICES OF PETER T. NICHOLL                  PORTE                EUGENE H              MD         24X05000718       THE LAW OFFICES OF PETER T. NICHOLL
PITTS                ARTHUR R              MD         24X11000358       THE LAW OFFICES OF PETER T. NICHOLL                  PORTE                JOAN                  MD         24X01001438       THE LAW OFFICES OF PETER T. NICHOLL
PITTS                BYRON W               MD         24X03000845       THE LAW OFFICES OF PETER T. NICHOLL                  PORTE                JOAN F                MD         24X05000718       THE LAW OFFICES OF PETER T. NICHOLL
PITTS                KATE                  MD         24X03000845       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               ALEE                  MD         24X07000531       THE LAW OFFICES OF PETER T. NICHOLL
PITTS                MARY J                MD         24X11000397       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               DANTE G               VA         740CL0200065900   THE LAW OFFICES OF PETER T. NICHOLL
PIUNTI               EDWARD                MD         24X14000360       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               GARRY                 MD         24X07000531       THE LAW OFFICES OF PETER T. NICHOLL
PIZZINI              LARRY J               MD         24X01000398       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               JAMES M               VA         740CL0100179200   THE LAW OFFICES OF PETER T. NICHOLL
PLAINE               CONCETTA L            MD         24X14000136       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               JOHN J                VA         740CL0200017100   THE LAW OFFICES OF PETER T. NICHOLL
PLAINE               MICHAEL D             MD         24X14000136       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               LEE                   MD         24X07000531       THE LAW OFFICES OF PETER T. NICHOLL
PLAKITSIS            JOHN                  MD         24X05000105       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               LEE VERNON            MD         24X07000531       THE LAW OFFICES OF PETER T. NICHOLL
PLAKITSIS            LUCIA                 MD         24X05000105       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               LEROY                 VA         740CL0200205500   THE LAW OFFICES OF PETER T. NICHOLL
PLAUGHER             DIANA                 MD         24X03001171       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               LILLIAN M             MD         24X05000709       THE LAW OFFICES OF PETER T. NICHOLL
PLAUGHER             ERNEST G              MD         24X03001171       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               MANUEL                VA         740CL0200023600   THE LAW OFFICES OF PETER T. NICHOLL
PLAYER               DOCK                  VA         29130RW           THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               MELVIN O              VA         29174RC           THE LAW OFFICES OF PETER T. NICHOLL
PLAYER               KNIGHT                MD         24X02001780       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               PERCY W               MD         24X05000709       THE LAW OFFICES OF PETER T. NICHOLL
PLAYER               MARSHA                MD         24X02001780       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               RALEIGH J             VA         740CL0300166700   THE LAW OFFICES OF PETER T. NICHOLL
PLEASANT             JIMMY                 MD         24X14000044       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               ROBERT L              VA         740CL0300166800   THE LAW OFFICES OF PETER T. NICHOLL
PLEASANT             MICHAEL               MD         24X13000005       THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               RYLAND J              VA         700CL0232488C03   THE LAW OFFICES OF PETER T. NICHOLL
PLEASANTS            JUNIUS J              VA         740CL99001900     THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               VELMA W               VA         740CL0200116600   THE LAW OFFICES OF PETER T. NICHOLL
PLENTY               MATTHEW W             VA         700CL0235776V05   THE LAW OFFICES OF PETER T. NICHOLL                  PORTER               WAYNE D               VA         700CL0235915W01   THE LAW OFFICES OF PETER T. NICHOLL
PLENTY-WALLS         LT                    MD         24X02000797       THE LAW OFFICES OF PETER T. NICHOLL                  PORTERFIELD          ETHEL                 MD         98309515CX2075    THE LAW OFFICES OF PETER T. NICHOLL
PLENTY-WALLS         RUTH                  MD         24X02000797       THE LAW OFFICES OF PETER T. NICHOLL                  PORTERFIELD          WILLIE                MD         98309515CX2075    THE LAW OFFICES OF PETER T. NICHOLL
PLEVA                DANIEL D              VA         32351RW           THE LAW OFFICES OF PETER T. NICHOLL                  POSLUSZNY            LEONARD E             MD         24X01000893       THE LAW OFFICES OF PETER T. NICHOLL
PLOGMAN              JOHN F                MD         24X01001835       THE LAW OFFICES OF PETER T. NICHOLL                  POTTS                HERBERT L             VA         740CL0300024800   THE LAW OFFICES OF PETER T. NICHOLL
PLOWDEN              JOHNNIE L             VA         29588VA           THE LAW OFFICES OF PETER T. NICHOLL                  POUCHIE              HUESTACE M            MD         24X04000990       THE LAW OFFICES OF PETER T. NICHOLL
PLUMLEY              JAMES R               MD         98324516CX2201    THE LAW OFFICES OF PETER T. NICHOLL                  POUCHIE              PAULA                 MD         24X04000990       THE LAW OFFICES OF PETER T. NICHOLL
PLUMLEY              PATRICIA A            MD         98324516CX2201    THE LAW OFFICES OF PETER T. NICHOLL                  POULSON              LEONARD L             VA         740CL0000185100   THE LAW OFFICES OF PETER T. NICHOLL
PLUMMER              MELRAY                MD         24X06000275       THE LAW OFFICES OF PETER T. NICHOLL                  POWE                 LARRY                 MD         24X03000714       THE LAW OFFICES OF PETER T. NICHOLL
PLUMMER              SAMUEL                MD         24X06000275       THE LAW OFFICES OF PETER T. NICHOLL                  POWE-EL              ANDREW S              MD         24X04000622       THE LAW OFFICES OF PETER T. NICHOLL
PLUNKETT             DAVID A               MD         98155505CX1131    THE LAW OFFICES OF PETER T. NICHOLL                  POWE-EL              LORAINE               MD         24X04000622       THE LAW OFFICES OF PETER T. NICHOLL
PODLES               JOHN S                MD         24X18000029       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               ALVIN D               VA         740CL0100190100   THE LAW OFFICES OF PETER T. NICHOLL
PODLES               JOHN S                MD         98324536CX2221    THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               BEATRICE              MD         24X03000470       THE LAW OFFICES OF PETER T. NICHOLL
POINDEXTER           LIONELL               VA         740CL0100212700   THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               BENJAMIN F            MD         24X03000470       THE LAW OFFICES OF PETER T. NICHOLL
POINTER              CHARLES W             MD         24X09000167       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               CARTER L              VA         740CL9900171800   THE LAW OFFICES OF PETER T. NICHOLL
POLK                 OTIS R                VA         700CL0437623H02   THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               CHARLES L             VA         700CL0233136C03   THE LAW OFFICES OF PETER T. NICHOLL
POLKOWSKI            CATHERINE             MD         24X01002005       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               CHARLIE W             VA         101200            THE LAW OFFICES OF PETER T. NICHOLL
POLKOWSKI            RONALD A              MD         24X01002005       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               CLARENCE S            VA         28680RW           THE LAW OFFICES OF PETER T. NICHOLL
POLLARD              DAVID H               VA         740CL0100117000   THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               ERNEST                MD         24X12000201       THE LAW OFFICES OF PETER T. NICHOLL
POLLARD              JOSEPH M              VA         30000VA           THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               FRED L                VA         740CL0200017200   THE LAW OFFICES OF PETER T. NICHOLL
POLLHEIN             DOLORES M             MD         24X05000474       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               HERMAN                VA         740CL0100170300   THE LAW OFFICES OF PETER T. NICHOLL
POLLHEIN             DOLORES M             MD         24X02000011       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               HORACE M              MD         24X02002287       THE LAW OFFICES OF PETER T. NICHOLL
POLLHEIN             JAMES G               MD         24X02000011       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               JD                    VA         740CL0100167900   THE LAW OFFICES OF PETER T. NICHOLL
POLLHEIN             JAMES G               MD         24X05000474       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               JAMES L               VA         700CL0233208V05   THE LAW OFFICES OF PETER T. NICHOLL
POMPEY               ISAIAH                MD         98329586CX2311    THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               JOHNNY R              VA         740CL0200017300   THE LAW OFFICES OF PETER T. NICHOLL
PONDER               ERMA VIRGINIA         MD         24X01001587       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               KENNETH O             VA         740CL0200116700   THE LAW OFFICES OF PETER T. NICHOLL
PONDER               MCKINLEY              MD         24X01001587       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               LINA B                VA         700CL0437894H02   THE LAW OFFICES OF PETER T. NICHOLL
PONZILLO             ANTHONY G             MD         24X04000026       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               NORMA J               MD         24X12000201       THE LAW OFFICES OF PETER T. NICHOLL
PONZILLO             MARCIA                MD         24X04000026       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               OTIS L                VA         700CL0437594T05   THE LAW OFFICES OF PETER T. NICHOLL
POOLE                AGNES                 MD         01000923          THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               PEGGY                 MD         X01001117         THE LAW OFFICES OF PETER T. NICHOLL
POOLE                ELIZABETH             MD         24X01001716       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               PHILLIP E             VA         104400            THE LAW OFFICES OF PETER T. NICHOLL
POOLE                HARRY C               VA         740CL0200381200   THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               PHILLIP M             VA         29604EH           THE LAW OFFICES OF PETER T. NICHOLL
POOLE                JOHN M                MD         01000934          THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               ROBERT C              VA         740CL0300020900   THE LAW OFFICES OF PETER T. NICHOLL
POOLE                MICHAEL               MD         24X01001716       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               ROBERT M              VA         740CL0300086600   THE LAW OFFICES OF PETER T. NICHOLL
POOLE                MILTON E              MD         24X01001716       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               RUSSELL H             VA         740CL0200113300   THE LAW OFFICES OF PETER T. NICHOLL
POOLE                NORMAN                MD         01000923          THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               THOMAS G              VA         740CL0100209500   THE LAW OFFICES OF PETER T. NICHOLL
POOLE                PAUL L                MD         98324538          THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               THOMAS LEE            MD         X01001117         THE LAW OFFICES OF PETER T. NICHOLL
POOLE                THELMA                MD         24X01001716       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               TONY R                VA         740CL0200378000   THE LAW OFFICES OF PETER T. NICHOLL
POOLE                VIRGINIA              MD         01000934          THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               WHITNEY H             VA         29909EH           THE LAW OFFICES OF PETER T. NICHOLL
POPE                 ARTHUR E              VA         740CL0200115700   THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               WILLIAM E             MD         24X12000374       THE LAW OFFICES OF PETER T. NICHOLL
POPE                 AUBREY                MD         24X12000613       THE LAW OFFICES OF PETER T. NICHOLL                  POWELL               WILLIE D              VA         8700              THE LAW OFFICES OF PETER T. NICHOLL
POPE                 CELESTE               MD         24X04001018       THE LAW OFFICES OF PETER T. NICHOLL                  POWERS               DONALD J              MD         24X04001097       THE LAW OFFICES OF PETER T. NICHOLL
POPE                 CHARLES T             VA         740CL0300086500   THE LAW OFFICES OF PETER T. NICHOLL                  POWERS               JOSEPHINE M           MD         24X04001097       THE LAW OFFICES OF PETER T. NICHOLL
POPE                 FLETCHER E            MD         24X04000091       THE LAW OFFICES OF PETER T. NICHOLL                  POWERS               KENNETH D             VA         740CL0200123400   THE LAW OFFICES OF PETER T. NICHOLL
POPE                 GEORGE C              VA         094400            THE LAW OFFICES OF PETER T. NICHOLL                  POWERS               LEWIS A               MD         98402450          THE LAW OFFICES OF PETER T. NICHOLL
POPE                 HENRY                 VA         30162EH           THE LAW OFFICES OF PETER T. NICHOLL                  PRATT                ALFRED W              MD         24X02001133       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 799
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 134 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

PRATT                NORMA                 MD         24X02001133       THE LAW OFFICES OF PETER T. NICHOLL                  PULASKI              KATHERINE D           MD         24X16000548        THE LAW OFFICES OF PETER T. NICHOLL
PREIS                BERNARD J             MD         24X18000123       THE LAW OFFICES OF PETER T. NICHOLL                  PULASKI              KATHERINE D           MD         24X05000637        THE LAW OFFICES OF PETER T. NICHOLL
PREIS                CATHERINE M           MD         24X18000123       THE LAW OFFICES OF PETER T. NICHOLL                  PULASKI              NORMAN R              MD         24X16000548        THE LAW OFFICES OF PETER T. NICHOLL
PREIS                DENISE                MD         24X18000123       THE LAW OFFICES OF PETER T. NICHOLL                  PULASKI              NORMAN R              MD         24X05000637        THE LAW OFFICES OF PETER T. NICHOLL
PRESS                REUBEN T              VA         700CL0028476A04   THE LAW OFFICES OF PETER T. NICHOLL                  PULASKI              ROBERT                MD         24X16000548        THE LAW OFFICES OF PETER T. NICHOLL
PRESSEY              CHARLES H             VA         001609            THE LAW OFFICES OF PETER T. NICHOLL                  PULASKI              ROBERT                MD         24X05000637        THE LAW OFFICES OF PETER T. NICHOLL
PRESSEY              JUNIUS B              VA         001110            THE LAW OFFICES OF PETER T. NICHOLL                  PULGAR               CARLOS A              MD         24X03000937        THE LAW OFFICES OF PETER T. NICHOLL
PRESSEY              RAYMOND J             VA         29095VA           THE LAW OFFICES OF PETER T. NICHOLL                  PULGAR               MINNA J               MD         24X03000937        THE LAW OFFICES OF PETER T. NICHOLL
PRESSON              JAMES E               VA         700CL0438010T05   THE LAW OFFICES OF PETER T. NICHOLL                  PULLEN               FRED D                MD         24X13000091        THE LAW OFFICES OF PETER T. NICHOLL
PRESSON              JOHN T                VA         740CL0300086700   THE LAW OFFICES OF PETER T. NICHOLL                  PULLEY               EUGENE                VA         740CL0200048500    THE LAW OFFICES OF PETER T. NICHOLL
PRESSON              PHILLIP C             VA         740CL0300115600   THE LAW OFFICES OF PETER T. NICHOLL                  PULLEY               GLENN J               VA         29421VA            THE LAW OFFICES OF PETER T. NICHOLL
PRETLOW              HAROLD R              VA         28528EH           THE LAW OFFICES OF PETER T. NICHOLL                  PULLEY               JEFFREY E             VA         740CL0100347400    THE LAW OFFICES OF PETER T. NICHOLL
PRETLOW              WALLACE E             VA         32500VC           THE LAW OFFICES OF PETER T. NICHOLL                  PULLEY               WILLIAM M             VA         28555RW            THE LAW OFFICES OF PETER T. NICHOLL
PRETLOW              WILROY C              VA         29199RW           THE LAW OFFICES OF PETER T. NICHOLL                  PURCELL              CHARLES E             MD         24X03000241        THE LAW OFFICES OF PETER T. NICHOLL
PRETTLOW             GEORGE JR             MD         X98402451         THE LAW OFFICES OF PETER T. NICHOLL                  PURCELL              GAINES D              VA         29838EH            THE LAW OFFICES OF PETER T. NICHOLL
PRETTLOW             JAMES                 MD         98338539CX2363    THE LAW OFFICES OF PETER T. NICHOLL                  PURDIE               LARRY D               MD         24X04000949        THE LAW OFFICES OF PETER T. NICHOLL
PRETTLOW             RENEE                 MD         24X01001203       THE LAW OFFICES OF PETER T. NICHOLL                  PURDIE               LEWIS C               VA         002194             THE LAW OFFICES OF PETER T. NICHOLL
PRETTLOW             VIRGINIA              MD         98338539CX2363    THE LAW OFFICES OF PETER T. NICHOLL                  PURNELL              ACIE C                VA         700CL0232731V05    THE LAW OFFICES OF PETER T. NICHOLL
PRICE                ARTHUR L              VA         740CL0100347600   THE LAW OFFICES OF PETER T. NICHOLL                  PURYEAR              THOMAS A              VA         29839RC            THE LAW OFFICES OF PETER T. NICHOLL
PRICE                CHARLES W             MD         98149555CX1123    THE LAW OFFICES OF PETER T. NICHOLL                  PYATT                OPHELIA               MD         98254516CX1716     THE LAW OFFICES OF PETER T. NICHOLL
PRICE                EDWARD                MD         24X01001518       THE LAW OFFICES OF PETER T. NICHOLL                  PYATT                PEARLIE B             MD         24X06000644        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                FRANK                 MD         24X05000838       THE LAW OFFICES OF PETER T. NICHOLL                  PYATT                SCOTLAND              MD         98254516CX1716     THE LAW OFFICES OF PETER T. NICHOLL
PRICE                HAROLD R              VA         740CL0000016100   THE LAW OFFICES OF PETER T. NICHOLL                  QUARLES              BETTY A               MD         98148508CX1058     THE LAW OFFICES OF PETER T. NICHOLL
PRICE                JOHN R                VA         740CL0200177300   THE LAW OFFICES OF PETER T. NICHOLL                  QUARLES              ELIJAH K              VA         740CL0100166700    THE LAW OFFICES OF PETER T. NICHOLL
PRICE                LYNNE                 MD         98149555CX1123    THE LAW OFFICES OF PETER T. NICHOLL                  QUARLES              ROBERT W              MD         98162517CX1178     THE LAW OFFICES OF PETER T. NICHOLL
PRICE                MARY E                MD         24X05000112       THE LAW OFFICES OF PETER T. NICHOLL                  QUASH                ULLMAN D              VA         700CL0437604T05    THE LAW OFFICES OF PETER T. NICHOLL
PRICE                ROBERT D              MD         X01000111         THE LAW OFFICES OF PETER T. NICHOLL                  QUATY                BRENDA C              MD         24X05000515        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                RUFFIN W              VA         700CL0028492V05   THE LAW OFFICES OF PETER T. NICHOLL                  QUATY                RICHARD R             MD         24X05000515        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                SARAH M               MD         24X05000838       THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                CLAUDETTE             MD         24X02000075        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                VERA M                MD         24X06000711       THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                HAROLD L.T            MD         24X02002707        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                WILLIAM C             VA         0028877H02        THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                JOSEPH L              MD         24X02000075        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                WILLIAM M             MD         24X01001659       THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                JOSEPH L              MD         24X11000394        THE LAW OFFICES OF PETER T. NICHOLL
PRICE                WILLIAM M             MD         24X05000112       THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                MARIAN                MD         24X02002240        THE LAW OFFICES OF PETER T. NICHOLL
PRIDGEN              LUTHER W              VA         700CL0337455V04   THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                RICHARD G             MD         24X02002240        THE LAW OFFICES OF PETER T. NICHOLL
PRIDGET              LESTER R              MD         X01000879         THE LAW OFFICES OF PETER T. NICHOLL                  QUEEN                SONIA E               MD         24X05000662        THE LAW OFFICES OF PETER T. NICHOLL
PRIEST               ALBERT                MD         24X01001514       THE LAW OFFICES OF PETER T. NICHOLL                  QUICK                ADA                   MD         24X09000096        THE LAW OFFICES OF PETER T. NICHOLL
PRIEST               LORIE                 MD         24X01001514       THE LAW OFFICES OF PETER T. NICHOLL                  QUICK                RICHARD D             MD         24X01000403        THE LAW OFFICES OF PETER T. NICHOLL
PRILL                TIMOTHY               MD         01000172          THE LAW OFFICES OF PETER T. NICHOLL                  QUICK                SHERMA                MD         24X01000403        THE LAW OFFICES OF PETER T. NICHOLL
PRIMM                KAREN                 VA         700CL0232324H02   THE LAW OFFICES OF PETER T. NICHOLL                  RAAKBAR              AKIN                  MD         98317510CX2141     THE LAW OFFICES OF PETER T. NICHOLL
PRINCE               JOHN L                VA         29589EH           THE LAW OFFICES OF PETER T. NICHOLL                  RACHUBA              WILLIAM W             MD         01000162           THE LAW OFFICES OF PETER T. NICHOLL
PRINGLE              JUDY                  MD         24X04000499       THE LAW OFFICES OF PETER T. NICHOLL                  RACUSIN              ALLEN J               MD         98247521CX1700     THE LAW OFFICES OF PETER T. NICHOLL
PRINGLE              MELVIN G              MD         24X04000499       THE LAW OFFICES OF PETER T. NICHOLL                  RADI                 CATHERINE B           MD         24X15000235        THE LAW OFFICES OF PETER T. NICHOLL
PRIOLEAU             ETHEL R               MD         24X01001028       THE LAW OFFICES OF PETER T. NICHOLL                  RADI                 CATHERINE B           MD         24X05000065        THE LAW OFFICES OF PETER T. NICHOLL
PRIOLEAU             HENRY                 MD         24X01001028       THE LAW OFFICES OF PETER T. NICHOLL                  RAIFORD              EDDIE J               VA         30172EH            THE LAW OFFICES OF PETER T. NICHOLL
PRIOLEAU             MARVIN                MD         24X12000609       THE LAW OFFICES OF PETER T. NICHOLL                  RAINEY               ELAINE M              MD         X99000088          THE LAW OFFICES OF PETER T. NICHOLL
PRITCHARD            WILLIAM R             VA         740CL0300166900   THE LAW OFFICES OF PETER T. NICHOLL                  RAINEY               ERNEST B              MD         X99000088          THE LAW OFFICES OF PETER T. NICHOLL
PRITCHETT            EDWARD B              VA         30130RW           THE LAW OFFICES OF PETER T. NICHOLL                  RAINEY               HERMAN L              MD         24X02000007        THE LAW OFFICES OF PETER T. NICHOLL
PRITCHETT            EVERETT               VA         700CL0437738W01   THE LAW OFFICES OF PETER T. NICHOLL                  RAINEY               JOHN E                MD         24X12000486        THE LAW OFFICES OF PETER T. NICHOLL
PRITCHETT            JAMES M               VA         740CL0200045700   THE LAW OFFICES OF PETER T. NICHOLL                  RAINEY               JOHN E                VA         740CL0100311000    THE LAW OFFICES OF PETER T. NICHOLL
PRITCHETT            JESSE                 MD         24X01001655       THE LAW OFFICES OF PETER T. NICHOLL                  RALPH                LINWOOD               VA         29222RC            THE LAW OFFICES OF PETER T. NICHOLL
PRITT                WILLIAM R             VA         700CL0438224H02   THE LAW OFFICES OF PETER T. NICHOLL                  RALYEA               CHARLENE E            MD         24X14000544        THE LAW OFFICES OF PETER T. NICHOLL
PRIVOTT              DAVID L               VA         740CL0300167000   THE LAW OFFICES OF PETER T. NICHOLL                  RALYEA               HOWARD R              MD         X01000283          THE LAW OFFICES OF PETER T. NICHOLL
PRIVOTT              WILLIAM D             VA         740CL0300086800   THE LAW OFFICES OF PETER T. NICHOLL                  RAMADAN              SAMUEL                MD         24X02000807        THE LAW OFFICES OF PETER T. NICHOLL
PROCTOR              OTIS M                VA         01929             THE LAW OFFICES OF PETER T. NICHOLL                  RAMBARAN             MARIANNE              MD         24X04000953        THE LAW OFFICES OF PETER T. NICHOLL
PROCTOR              THOMAS S              VA         740CL0100347500   THE LAW OFFICES OF PETER T. NICHOLL                  RAMBARAN             NOEL                  MD         24X04000953        THE LAW OFFICES OF PETER T. NICHOLL
PROCTOR              WILLIAM M             VA         740CL0300086900   THE LAW OFFICES OF PETER T. NICHOLL                  RAMEY                BETTY                 MD         24X01001222        THE LAW OFFICES OF PETER T. NICHOLL
PROFFITT             WILLIAM L             VA         31941VC           THE LAW OFFICES OF PETER T. NICHOLL                  RAMEY                BETTY S               MD         24X01000892        THE LAW OFFICES OF PETER T. NICHOLL
PRUDEN               ALTON O               VA         740CL0200048600   THE LAW OFFICES OF PETER T. NICHOLL                  RAMEY                HARRY E               MD         98246505CX1678     THE LAW OFFICES OF PETER T. NICHOLL
PRUETT               RONALD E              MD         24X10000064       THE LAW OFFICES OF PETER T. NICHOLL                  RAMEY                RUEL                  MD         24X01000892        THE LAW OFFICES OF PETER T. NICHOLL
PRUITT               DANNY M               MD         24X01001123       THE LAW OFFICES OF PETER T. NICHOLL                  RAMEY                RUEL B                MD         24X01001222        THE LAW OFFICES OF PETER T. NICHOLL
PRUITT               SHARON                MD         24X01001123       THE LAW OFFICES OF PETER T. NICHOLL                  RAMSEL               CATHY                 MD         24X06000548        THE LAW OFFICES OF PETER T. NICHOLL
PRYOR                LINWOOD E             VA         740CL0200085200   THE LAW OFFICES OF PETER T. NICHOLL                  RAMSEL               ROBERT C              MD         24X06000548        THE LAW OFFICES OF PETER T. NICHOLL
PRYOR                RUDOLF                MD         24X02002424       THE LAW OFFICES OF PETER T. NICHOLL                  RAMSEY               MALCOLM               MD         24X06000112        THE LAW OFFICES OF PETER T. NICHOLL
PRZYWARA             LEONARD A             MD         24X04000943       THE LAW OFFICES OF PETER T. NICHOLL                  RAMSEY               REBECCA L             MD         24X06000112        THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 CHARLES M             VA         001143            THE LAW OFFICES OF PETER T. NICHOLL                  RAMSEY               WILLIAM               MD         24X15000449        THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 GEORGE M              VA         740CL0100192300   THE LAW OFFICES OF PETER T. NICHOLL                  RAMSEY               WILLIAM               MD         01000937           THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 MATHO                 MD         98324515CX2200    THE LAW OFFICES OF PETER T. NICHOLL                  RANDALL              JOHN                  MD         24X98023517CX120   THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 MYRNA W               MD         24X06000046       THE LAW OFFICES OF PETER T. NICHOLL                  RANDALL              JOHN                  MD         24X05000498        THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 ROSCOE                VA         700CL0029482V05   THE LAW OFFICES OF PETER T. NICHOLL                  RANDALL              JOHN E                MD         24X15000177        THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 ROSE MARIE            MD         98324515CX2200    THE LAW OFFICES OF PETER T. NICHOLL                  RANDALL              OLIVER W              MD         24X03000562        THE LAW OFFICES OF PETER T. NICHOLL
PUGH                 SAM                   VA         001497            THE LAW OFFICES OF PETER T. NICHOLL                  RANDALL              ROBERT J              VA         740CL0300096500    THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 800
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 135 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel

RANDALL              SANDRA E              MD         24X05000498       THE LAW OFFICES OF PETER T. NICHOLL                  REDMON               JOHNNY W              VA         700CL0337484W01     THE LAW OFFICES OF PETER T. NICHOLL
RANDALL              WILLIAM E             MD         24X03000094       THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              ANN G                 MD         24X06000107         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             BILLY W               MD         24X11000349       THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              ANNE                  MD         24X02000688         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             DORIS L               MD         24X06000068       THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              CECIL R               MD         24X04000376         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             HENRY R               VA         0028818C03        THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              DOUGLAS F             MD         24X02001742         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             HERBERT L             MD         98149556CX1124    THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              EDITH                 MD         24X04000376         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             ISAAC C               VA         700CL0438225T05   THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              VERNON C              MD         24X02000688         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             JAMES L               VA         700CL0235799C03   THE LAW OFFICES OF PETER T. NICHOLL                  REDMOND              VERNON C              MD         24X06000107         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             MARY                  MD         24X01001558       THE LAW OFFICES OF PETER T. NICHOLL                  REED                 BARRY                 MD         X01000171           THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             MATTHEW E             MD         24X09000484       THE LAW OFFICES OF PETER T. NICHOLL                  REED                 DAVID                 VA         001380              THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             NAOMI                 MD         24X11000349       THE LAW OFFICES OF PETER T. NICHOLL                  REED                 ELEANOR               MD         24X04000377         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             PERCY H               VA         105800            THE LAW OFFICES OF PETER T. NICHOLL                  REED                 FRANK L               VA         740CL0200121500     THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             RONALD                MD         24X01001558       THE LAW OFFICES OF PETER T. NICHOLL                  REED                 GEORGE W              MD         24X04000333         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH             WALLACE               VA         740CL0100166800   THE LAW OFFICES OF PETER T. NICHOLL                  REED                 GILBERT D             MD         24X04000377         THE LAW OFFICES OF PETER T. NICHOLL
RANDOLPH BEY         STERLING L            MD         98176510CX1284    THE LAW OFFICES OF PETER T. NICHOLL                  REED                 HARVEY L              MD         24X04000047         THE LAW OFFICES OF PETER T. NICHOLL
RANKINS              DENNIE L              VA         740CL0200355600   THE LAW OFFICES OF PETER T. NICHOLL                  REED                 HOWARD L              MD         98303513CX2050      THE LAW OFFICES OF PETER T. NICHOLL
RANSOM               THOMAS J              VA         101300            THE LAW OFFICES OF PETER T. NICHOLL                  REED                 JACOB E               MD         24X97304509CX2206   THE LAW OFFICES OF PETER T. NICHOLL
RANSOME              CLARINE E             VA         700CL0539557P03   THE LAW OFFICES OF PETER T. NICHOLL                  REED                 JOHN                  MD         24X16000153         THE LAW OFFICES OF PETER T. NICHOLL
RANSOME              GEORGE L              VA         700CL0539557P03   THE LAW OFFICES OF PETER T. NICHOLL                  REED                 MICHELLE              MD         24X13000058         THE LAW OFFICES OF PETER T. NICHOLL
RANSOME              LEWIS                 VA         740CL0200058100   THE LAW OFFICES OF PETER T. NICHOLL                  REED                 ROBIN D               VA         740CL0200085300     THE LAW OFFICES OF PETER T. NICHOLL
RAPISARDA            JOHN                  MD         98317502CX2133    THE LAW OFFICES OF PETER T. NICHOLL                  REED                 WILLIAM               VA         740CL0100126100     THE LAW OFFICES OF PETER T. NICHOLL
RASCHKA              EMMA J                MD         24X00000282       THE LAW OFFICES OF PETER T. NICHOLL                  REELEY               CHARLES R             MD         24X06000423         THE LAW OFFICES OF PETER T. NICHOLL
RASCHKA              JOHN E                MD         24X00000282       THE LAW OFFICES OF PETER T. NICHOLL                  REELEY               MARY E                MD         24X06000423         THE LAW OFFICES OF PETER T. NICHOLL
RASCHKA              JOHN E JR             MD         24X00000282       THE LAW OFFICES OF PETER T. NICHOLL                  REESE                MELVIN                VA         740CL0200379700     THE LAW OFFICES OF PETER T. NICHOLL
RASCHKA              THOMAS                MD         24X00000282       THE LAW OFFICES OF PETER T. NICHOLL                  REESE                RAYMOND L             VA         29337VA             THE LAW OFFICES OF PETER T. NICHOLL
RASCOE               CHARLIE C             VA         700CL0232339H02   THE LAW OFFICES OF PETER T. NICHOLL                  REEVES               RUDOLPH O             VA         740CL0200032700     THE LAW OFFICES OF PETER T. NICHOLL
RASCOE               CHARLIE C             VA         700CL0539400H02   THE LAW OFFICES OF PETER T. NICHOLL                  REGIS                HERMAN J              MD         24X01001708         THE LAW OFFICES OF PETER T. NICHOLL
RASCOE               EDWARD P              MD         24X02000385       THE LAW OFFICES OF PETER T. NICHOLL                  REGISTER             HARRY M               VA         30039RW             THE LAW OFFICES OF PETER T. NICHOLL
RASCOE               RONALD                VA         740CL0100206300   THE LAW OFFICES OF PETER T. NICHOLL                  REGISTER             MARVIN A              VA         740CL0100112100     THE LAW OFFICES OF PETER T. NICHOLL
RASCOE               VELMA L               VA         700CL0539400H02   THE LAW OFFICES OF PETER T. NICHOLL                  REGULSKI             JUDITH E              MD         24X02001253         THE LAW OFFICES OF PETER T. NICHOLL
RASCOE               WILLIAM O             VA         002155            THE LAW OFFICES OF PETER T. NICHOLL                  REGULSKI             MICHAEL F             MD         24X02001253         THE LAW OFFICES OF PETER T. NICHOLL
RASUL                VERNITA               VA         700CL232326W01    THE LAW OFFICES OF PETER T. NICHOLL                  REGUSTERS            CHRISTINE             MD         24X06000651         THE LAW OFFICES OF PETER T. NICHOLL
RATHER               JUNIOUS F             MD         24X01001198       THE LAW OFFICES OF PETER T. NICHOLL                  REGUSTERS            RAYMOND C             MD         24X06000651         THE LAW OFFICES OF PETER T. NICHOLL
RATHER               LORRAINE              MD         24X01001198       THE LAW OFFICES OF PETER T. NICHOLL                  REID                 BARRY P               VA         740CL0200355800     THE LAW OFFICES OF PETER T. NICHOLL
RATLIFF              JAMES R               VA         700CL0233124H02   THE LAW OFFICES OF PETER T. NICHOLL                  REID                 CHARLES L             VA         740CL0200297100     THE LAW OFFICES OF PETER T. NICHOLL
RAVADGE              EDWIN D H             MD         24X12000591       THE LAW OFFICES OF PETER T. NICHOLL                  REID                 ERNEST M              VA         740CL0100186900     THE LAW OFFICES OF PETER T. NICHOLL
RAVER                MILDRED               MD         24X05000449       THE LAW OFFICES OF PETER T. NICHOLL                  REID                 FRANCES D             MD         24X01001414         THE LAW OFFICES OF PETER T. NICHOLL
RAWLES               ANGUS JR              VA         740CL0100206400   THE LAW OFFICES OF PETER T. NICHOLL                  REID                 JACK D                MD         24X01000824         THE LAW OFFICES OF PETER T. NICHOLL
RAWLES               ELMORE H              VA         31952VA           THE LAW OFFICES OF PETER T. NICHOLL                  REID                 JACOBIA               VA         29349RW             THE LAW OFFICES OF PETER T. NICHOLL
RAWLINGS             AUDREY                MD         010000178         THE LAW OFFICES OF PETER T. NICHOLL                  REID                 JANICE                MD         24X01000824         THE LAW OFFICES OF PETER T. NICHOLL
RAWLINGS             CURTIS L              MD         010000178         THE LAW OFFICES OF PETER T. NICHOLL                  REID                 MURIEL M              MD         24X01001414         THE LAW OFFICES OF PETER T. NICHOLL
RAWLS                NED G                 VA         740CL0100206500   THE LAW OFFICES OF PETER T. NICHOLL                  REID                 RODGER D              VA         0000046800          THE LAW OFFICES OF PETER T. NICHOLL
RAWLS                WILSON L              VA         740CL0200381300   THE LAW OFFICES OF PETER T. NICHOLL                  REID                 RONALD G              VA         740CL0100184400     THE LAW OFFICES OF PETER T. NICHOLL
RAY                  GEORGE                MD         24X02000397       THE LAW OFFICES OF PETER T. NICHOLL                  REID                 THELBERT C            VA         700CL0235878A04     THE LAW OFFICES OF PETER T. NICHOLL
RAY                  WILLIAM H             VA         700CL0438213V04   THE LAW OFFICES OF PETER T. NICHOLL                  REID                 WALLACE               VA         740CL0200355800     THE LAW OFFICES OF PETER T. NICHOLL
RAYFIELD             ALVIN C               MD         24X08000371       THE LAW OFFICES OF PETER T. NICHOLL                  REID                 WILLIAM H             MD         98324526CX2211      THE LAW OFFICES OF PETER T. NICHOLL
RAYNOR               CLARENCE E            VA         740CL0100143000   THE LAW OFFICES OF PETER T. NICHOLL                  REID                 WILLIE                VA         0028934C03          THE LAW OFFICES OF PETER T. NICHOLL
REAGLE               RONALD J              VA         740CL0200355700   THE LAW OFFICES OF PETER T. NICHOLL                  REINA                ANTHONY J             MD         X98402603           THE LAW OFFICES OF PETER T. NICHOLL
REAVES               GLENN H               VA         740CL0200112100   THE LAW OFFICES OF PETER T. NICHOLL                  REINA                LILLIAN               MD         X98402603           THE LAW OFFICES OF PETER T. NICHOLL
REAVES               HUBERT                VA         700CL0438002W01   THE LAW OFFICES OF PETER T. NICHOLL                  REINHARDT            CHARLES R             MD         98402623            THE LAW OFFICES OF PETER T. NICHOLL
REAVES               KAREN                 MD         24X02002289       THE LAW OFFICES OF PETER T. NICHOLL                  REINSFELDER          ROBERT C              MD         X99000245           THE LAW OFFICES OF PETER T. NICHOLL
REAVES               LINWOOD               MD         24X02002289       THE LAW OFFICES OF PETER T. NICHOLL                  REISINGER            JULIA E               MD         24X01000846         THE LAW OFFICES OF PETER T. NICHOLL
REAVES               MARION D              VA         27994RW           THE LAW OFFICES OF PETER T. NICHOLL                  REISINGER            LEROY F               MD         24X04001164         THE LAW OFFICES OF PETER T. NICHOLL
REAVES               MICHAEL G             MD         24X03000846       THE LAW OFFICES OF PETER T. NICHOLL                  REISINGER            MARLENE               MD         24X04001164         THE LAW OFFICES OF PETER T. NICHOLL
REAVES               RUTH F                VA         700CL0539383T01   THE LAW OFFICES OF PETER T. NICHOLL                  REISINGER            WILLIAM E             MD         24X01000846         THE LAW OFFICES OF PETER T. NICHOLL
RECTOR               WILLIAM T             VA         740CL0300115700   THE LAW OFFICES OF PETER T. NICHOLL                  REISLER              LEE                   MD         24X01000591         THE LAW OFFICES OF PETER T. NICHOLL
REDA                 DEBORAH J             MD         01000168          THE LAW OFFICES OF PETER T. NICHOLL                  REISLER              PETER J               MD         24X01000591         THE LAW OFFICES OF PETER T. NICHOLL
REDA                 JAMES A               MD         01000168          THE LAW OFFICES OF PETER T. NICHOLL                  REISLER              PETER JR              MD         24X01000591         THE LAW OFFICES OF PETER T. NICHOLL
REDCROSS             JAMES D               VA         740CL0200073200   THE LAW OFFICES OF PETER T. NICHOLL                  REISLER              THELMA P              MD         24X01000591         THE LAW OFFICES OF PETER T. NICHOLL
REDCROSS             JUNIOUS L             VA         29597VC           THE LAW OFFICES OF PETER T. NICHOLL                  REITZ                RICHARD N             MD         24X06000204         THE LAW OFFICES OF PETER T. NICHOLL
REDCROSS             STANLEY               VA         28656VA           THE LAW OFFICES OF PETER T. NICHOLL                  REMINGTON            JAMES F               VA         001115              THE LAW OFFICES OF PETER T. NICHOLL
REDD                 JARVIS B              VA         740CL0300096600   THE LAW OFFICES OF PETER T. NICHOLL                  REMORTEL             BEVERLY               MD         24X02002288         THE LAW OFFICES OF PETER T. NICHOLL
REDD                 OSCAR N               VA         700CL0232732H02   THE LAW OFFICES OF PETER T. NICHOLL                  REMORTEL             GARRETT J             MD         24X02002288         THE LAW OFFICES OF PETER T. NICHOLL
REDDY                JOHN D                MD         24X01001844       THE LAW OFFICES OF PETER T. NICHOLL                  RENFROW              PAUL G                MD         X99000056           THE LAW OFFICES OF PETER T. NICHOLL
REDDY                RHONDA                MD         24X01001844       THE LAW OFFICES OF PETER T. NICHOLL                  RENFROW              ROSE M                MD         X99000056           THE LAW OFFICES OF PETER T. NICHOLL
REDFEARN             CHUCKIE               MD         24X11000396       THE LAW OFFICES OF PETER T. NICHOLL                  RESOP                JOHN T                MD         98282502CX1884      THE LAW OFFICES OF PETER T. NICHOLL
REDFEARN             ROBERT                MD         24X06000550       THE LAW OFFICES OF PETER T. NICHOLL                  RESOP                ROBERTINE             MD         98282502CX1884      THE LAW OFFICES OF PETER T. NICHOLL
REDFEARN-ROSE        AMELIA                MD         24X11000396       THE LAW OFFICES OF PETER T. NICHOLL                  RESPERS              GARY D                MD         24X03000600         THE LAW OFFICES OF PETER T. NICHOLL
REDFERN              VIVIAN                MD         24X12000913       THE LAW OFFICES OF PETER T. NICHOLL                  RESPERS              PATRICIA              MD         24X03000600         THE LAW OFFICES OF PETER T. NICHOLL
REDFORD              BARBARA A             VA         700CL0437768W01   THE LAW OFFICES OF PETER T. NICHOLL                  RETTLEY              OLIVER                MD         01000107            THE LAW OFFICES OF PETER T. NICHOLL
REDFORD              WILBUR C              VA         700CL0437769V04   THE LAW OFFICES OF PETER T. NICHOLL                  RETTMAN              ELIZABETH             MD         24X05000660         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 801
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 136 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

RETTMAN              JOSEPH G              MD         24X05000660       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           BENNIE E              VA         29917RW           THE LAW OFFICES OF PETER T. NICHOLL
REUTER               BRENDA                MD         24X04000750       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           BRENDA M              VA         740CL0300096700   THE LAW OFFICES OF PETER T. NICHOLL
REUTER               CHARLES E             MD         24X04000750       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CALVIN E              MD         24X02001777       THE LAW OFFICES OF PETER T. NICHOLL
REUTER               PHILIP R              MD         X01000887         THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CAREY M               VA         198400            THE LAW OFFICES OF PETER T. NICHOLL
REVELL               PAUL E                MD         99001252          THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CARROLL D             MD         24X11000157       THE LAW OFFICES OF PETER T. NICHOLL
REVISH               SAM                   VA         740CL0200058200   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CATHERINE             MD         24X02001777       THE LAW OFFICES OF PETER T. NICHOLL
REWERS               BERNARD F             MD         24X05000766       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CHARLES A             VA         0028932H02        THE LAW OFFICES OF PETER T. NICHOLL
REWERS               LOUISE M              MD         24X05000766       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CHARLES G             VA         740CL0200358900   THE LAW OFFICES OF PETER T. NICHOLL
REWERS               RONALD R              MD         24X01001961       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CHARLES G             VA         700CL0539584V04   THE LAW OFFICES OF PETER T. NICHOLL
REWERS               SHIRLEY A             MD         24X01001961       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           CHRISTOPHER           MD         24X01001197       THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             ANDREW J              VA         740CL0200205600   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           DEBORAH J             MD         24X09000413       THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             CHARLES A             VA         101000            THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           EARDIST D             VA         740CL0100126200   THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             CORNELIUS             VA         740CL0200296500   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ELIZABETH             MD         24X01001197       THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             DELTON M              VA         740CL0200379800   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ERNEST E              VA         01634             THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             JAMES M               VA         29324RW           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           FLORENCE              VA         700CL0539584V04   THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             MAMIE V               VA         001144            THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           FRED D                VA         700CL0232370C03   THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             OSCAR                 VA         32069EH           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           FREDDY                VA         700CL0438043V04   THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             THURMAN F             VA         0084200           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           GARLAND               VA         740CL0300121400   THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             VELTON P              MD         24X12000420       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           HARRY                 MD         X01000978         THE LAW OFFICES OF PETER T. NICHOLL
REYNOLDS             WAYNE A               VA         29131VA           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           JEREMIAH              MD         24X01001563       THE LAW OFFICES OF PETER T. NICHOLL
RHEMS                WILLIE                VA         29371EH           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           JERRY B               VA         740CL0100190200   THE LAW OFFICES OF PETER T. NICHOLL
RHINES               GEORGE L              VA         32340RC           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           JOANNE                MD         X01000281         THE LAW OFFICES OF PETER T. NICHOLL
RHODES               CARLOS                MD         24X11000679       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           JOSEPH                MD         X01000281         THE LAW OFFICES OF PETER T. NICHOLL
RHODES               CARLOS D              MD         24X04001051       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           LAURA                 MD         24X01001627       THE LAW OFFICES OF PETER T. NICHOLL
RHODES               CHARLES W             VA         29598VA           THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           LEROY                 VA         001353            THE LAW OFFICES OF PETER T. NICHOLL
RHODES               HENRY A               MD         24X06000437       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ODELL                 VA         740CL0300111700   THE LAW OFFICES OF PETER T. NICHOLL
RHODES               JAMES E               VA         700CL0235902H02   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           RICHARD I             VA         740CL0100169200   THE LAW OFFICES OF PETER T. NICHOLL
RHODES               JAMES L               VA         700CL0438003V04   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ROBERT C              VA         0028910V05        THE LAW OFFICES OF PETER T. NICHOLL
RHODES               PAULINE               MD         24X06000437       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ROBERT L              VA         700CL0539135J05   THE LAW OFFICES OF PETER T. NICHOLL
RHODES               RICHARD A             MD         98226511CX1607    THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ROBERT L              VA         29605RC           THE LAW OFFICES OF PETER T. NICHOLL
RHODES               ROSALIE               MD         24X11000679       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           SHIRLEY               MD         24X02002281       THE LAW OFFICES OF PETER T. NICHOLL
RHODES               ROSALIE               MD         24X04001051       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           SHIRLEY               VA         700CL0539401V04   THE LAW OFFICES OF PETER T. NICHOLL
RICCI                BETTY J               MD         24X06000330       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           TRACY L               VA         700CL0232110C03   THE LAW OFFICES OF PETER T. NICHOLL
RICCI                MICHAEL D             MD         24X06000330       THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           ULYSSES R             MD         24X01001627       THE LAW OFFICES OF PETER T. NICHOLL
RICCITELLI           ALFRED J              MD         98309504CX2064    THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           WILLIAM J             VA         740CL0100126300   THE LAW OFFICES OF PETER T. NICHOLL
RICCITELLI           PATSY                 VA         740CL0200192800   THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           WILLIE                VA         29176VA           THE LAW OFFICES OF PETER T. NICHOLL
RICCITELLI           SHARON                MD         98309504CX2064    THE LAW OFFICES OF PETER T. NICHOLL                  RICHARDSON           WILLIE M              VA         740CL99001507     THE LAW OFFICES OF PETER T. NICHOLL
RICE                 ALBERT H              VA         700CL0438021P03   THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             BARBARA E             MD         97168503CX115     THE LAW OFFICES OF PETER T. NICHOLL
RICE                 ARTHUR                MD         24X06000447       THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             CARLOS E              MD         97168503CX115     THE LAW OFFICES OF PETER T. NICHOLL
RICE                 BOYSHAW               MD         24X06000711       THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             EARL F                VA         29764RW           THE LAW OFFICES OF PETER T. NICHOLL
RICE                 CARL E                MD         24X03000716       THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             LEON                  VA         0028549C03        THE LAW OFFICES OF PETER T. NICHOLL
RICE                 FRANK L               VA         700CL0337456H02   THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             MICHAEL L             VA         002719            THE LAW OFFICES OF PETER T. NICHOLL
RICE                 GLEN E                MD         98246504CX1677    THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             OTIS L                VA         740CL0200032800   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 HENRY B               VA         001498            THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             PERCY                 VA         700CLO438366P03   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 HERBERT P             MD         24X02000398       THE LAW OFFICES OF PETER T. NICHOLL                  RICHMOND             WILLIAM               VA         002660            THE LAW OFFICES OF PETER T. NICHOLL
RICE                 JERRY                 MD         24X15000070       THE LAW OFFICES OF PETER T. NICHOLL                  RICKETTS             CHARLES L             MD         24X07000246       THE LAW OFFICES OF PETER T. NICHOLL
RICE                 JOHN D                MD         24X05000075       THE LAW OFFICES OF PETER T. NICHOLL                  RICKETTS             PATRICIA              MD         24X07000246       THE LAW OFFICES OF PETER T. NICHOLL
RICE                 JOSEPH G              VA         740CL9900191200   THE LAW OFFICES OF PETER T. NICHOLL                  RICKMOND             WILLIAM A             VA         700CL0235596W01   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 JOSEPH M              MD         24X02001487       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                ALGIE B               VA         740CL0200052900   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 KATHERINE             MD         24X02000398       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                ALVIN                 VA         700CL0438214H02   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 KENNETH               MD         24X01001974       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                ANDREW                VA         740CL0300167200   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 KIMBERLY              MD         24X03000432       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                BENNIE F              VA         740CL0100116900   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 MARY E                MD         24X06000447       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                BERNARD               VA         700CL0337331P03   THE LAW OFFICES OF PETER T. NICHOLL
RICE                 QUENTIN E             MD         24X18000073       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                CHARLES E             VA         28493EH           THE LAW OFFICES OF PETER T. NICHOLL
RICE                 ROBERT B              VA         740CL0100117100   THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                CHARLIE R             VA         29231EH           THE LAW OFFICES OF PETER T. NICHOLL
RICE                 TIE I                 VA         740CL0300167100   THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                CHARLIE T             VA         31823RW           THE LAW OFFICES OF PETER T. NICHOLL
RICE                 ELNORA C              MD         24X05000075       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                DUPRATT A             VA         740CL0300021000   THE LAW OFFICES OF PETER T. NICHOLL
RICH                 ADRON L               VA         29422EH           THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                GREGORY A             VA         740CL0300200200   THE LAW OFFICES OF PETER T. NICHOLL
RICH                 GLORIA E              MD         24X01001441       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                HENRY E               VA         740CL0200024400   THE LAW OFFICES OF PETER T. NICHOLL
RICH                 MAX M                 MD         24X01001441       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                JAMES                 VA         740CL0200121600   THE LAW OFFICES OF PETER T. NICHOLL
RICH                 PRESTON               MD         24X02001083       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                JAMES H               VA         740CL0200067400   THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             ANTHONY U             VA         740CL0200113400   THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                JAMES S               VA         0028813C03        THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             HERBERT R             MD         24X05000282       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                ROBERT L              VA         740CL0100175600   THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             LAURA M               MD         24X05000282       THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                VALERIE               MD         24X10000404       THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             LEON C                VA         740CL0200192900   THE LAW OFFICES OF PETER T. NICHOLL                  RICKS                WILLIAM H             MD         24X10000404       THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             MILDRED M             MD         98225503CX1587    THE LAW OFFICES OF PETER T. NICHOLL                  RIDDICK              ANNIE J               VA         700CL0538916J05   THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             SHIRLEY A             MD         24X11000257       THE LAW OFFICES OF PETER T. NICHOLL                  RIDDICK              CHARLIE E             VA         001639            THE LAW OFFICES OF PETER T. NICHOLL
RICHARDS             WINSTON L             MD         98225503CX1587    THE LAW OFFICES OF PETER T. NICHOLL                  RIDDICK              CORBELL M             VA         700CL0235916V05   THE LAW OFFICES OF PETER T. NICHOLL
RICHARDSON           ADAM J                VA         740CL0200379900   THE LAW OFFICES OF PETER T. NICHOLL                  RIDDICK              CURTIS                VA         740CL0000185200   THE LAW OFFICES OF PETER T. NICHOLL
RICHARDSON           ALLEN E               VA         27995VA           THE LAW OFFICES OF PETER T. NICHOLL                  RIDDICK              DORIA                 MD         24X03000205       THE LAW OFFICES OF PETER T. NICHOLL
RICHARDSON           ALPHONSO              VA         0028811H02        THE LAW OFFICES OF PETER T. NICHOLL                  RIDDICK              EDWARD                VA         700CL0538916J05   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 802
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 137 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

RIDDICK              JAMES M               VA         740CL0100319000   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            HARRY M               VA         740CL00000011     THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              JAMES V               VA         740CL0100206600   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            JACKIE D              MD         24X02000010       THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              JOHN R                VA         700CL0437605P03   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            JAMES R               VA         740CL0200313800   THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              KENNETH R             VA         700CL0235800W01   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            JAMES W               MD         24X02000010       THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              LINWOOD               VA         740CL0100308600   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            JANET W               VA         700CL0539594V04   THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              MAURICE R             VA         740CL0100166900   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            JENNIE M              VA         740CL0100191100   THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              MICHAEL L             VA         740CL0200380000   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            LEROY                 VA         CL0028165A04      THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              MICHAEL T             MD         24X01001960       THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            LEWIS E               VA         740CL0100169300   THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              ROBERT L              MD         24X03000205       THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            MARGARET D            MD         24X07000006       THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              RUSSELL W             VA         740CL0100172500   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            MAXWELL M             MD         98254514CX1714    THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              SIDNEY R              VA         740CL0300096800   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            RALPH                 VA         740CL9900169900   THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              VERNON R              VA         0000046600        THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            ROY L                 VA         0028798C03        THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              WILLIAM E             VA         740CL0300026200   THE LAW OFFICES OF PETER T. NICHOLL                  ROBERTSON            WILLIAM L             VA         32574RW           THE LAW OFFICES OF PETER T. NICHOLL
RIDDICK              WINSTON B             VA         740CL0200114900   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINETTE            RONNIE R              MD         24X10000294       THE LAW OFFICES OF PETER T. NICHOLL
RIDDLE               ROBERT E              VA         740CL0100347300   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             ALFRED                VA         0028930A04        THE LAW OFFICES OF PETER T. NICHOLL
RIDLEY               ANTHONY R             VA         740CL0200115800   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             ALTHEA                MD         24X01001311       THE LAW OFFICES OF PETER T. NICHOLL
RIDLEY               JIMMY B               VA         002722            THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             ANGELINA              MD         24X02002699       THE LAW OFFICES OF PETER T. NICHOLL
RIDLEY               JOSEPH D              VA         0028823C03        THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             ANNETTE               MD         24X04000039       THE LAW OFFICES OF PETER T. NICHOLL
RIDLEY               MONTIE                VA         740CL0200021700   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             ARTHUR                VA         740CL0100116700   THE LAW OFFICES OF PETER T. NICHOLL
RIDLEY               ROOSEVELT             VA         31942VA           THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             BC                    VA         740CL00327200     THE LAW OFFICES OF PETER T. NICHOLL
RIDOLFI              LUCILLE               MD         24X11000327       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             BARNEY                MD         24X10000186       THE LAW OFFICES OF PETER T. NICHOLL
RIDOLFI              SAUL F                MD         24X11000327       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             BERNARD A             VA         740CL0200058300   THE LAW OFFICES OF PETER T. NICHOLL
RIDOUT               NORMAN L              VA         740CL020045800    THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             BRANDON               VA         740CL0100327300   THE LAW OFFICES OF PETER T. NICHOLL
RIES                 OTTO                  MD         24X14000463       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             BURRELL               VA         0116300           THE LAW OFFICES OF PETER T. NICHOLL
RIGNEY               KATHLEEN              MD         24X04000322       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CAL T                 MD         98163543CX1222    THE LAW OFFICES OF PETER T. NICHOLL
RIGNEY               LAWRENCE L            MD         24X04000322       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CALVIN W              VA         740CL0200071700   THE LAW OFFICES OF PETER T. NICHOLL
RILEE                CHRISTIAN D           VA         740CL0200090600   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CHARLES L             VA         740CL99001877     THE LAW OFFICES OF PETER T. NICHOLL
RILEE                LEWIS C               VA         740CL0300096900   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CHARLES W             VA         740CL9900198900   THE LAW OFFICES OF PETER T. NICHOLL
RILES                KURBY P               MD         24X02001228       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CHURCHILL E           VA         700CL0235917H02   THE LAW OFFICES OF PETER T. NICHOLL
RILEY                CHARLIE J             VA         28302VA           THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CLARENCE JR           VA         28158RC           THE LAW OFFICES OF PETER T. NICHOLL
RILEY                JOHNNY W              VA         700CL0337332W01   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CLIFFORD              MD         98309505CX2065    THE LAW OFFICES OF PETER T. NICHOLL
RILEY                ROBERT                MD         24X03000084       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             CYNTHIA               MD         98282503CX1885    THE LAW OFFICES OF PETER T. NICHOLL
RILEY                RUTH F                MD         X01000523         THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             DAISY                 MD         24X03000669       THE LAW OFFICES OF PETER T. NICHOLL
RILEY                WILLIAM R             MD         99001347          THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             DALLAS M              MD         24X06000299       THE LAW OFFICES OF PETER T. NICHOLL
RING                 JERRY L               VA         700CL0232111W01   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             DELORIS M             VA         700CL0235602V05   THE LAW OFFICES OF PETER T. NICHOLL
RIPPEL               RONALD R              MD         24X10000431       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             DONNELL M             MD         24X02002699       THE LAW OFFICES OF PETER T. NICHOLL
RIPPEL               VIRGINIA R            MD         24X10000431       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             DOROTHY B             VA         700CL9927780H02   THE LAW OFFICES OF PETER T. NICHOLL
RITCHIE              CORNELIUS             VA         29636RW           THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             DORSEY P              VA         30173RC           THE LAW OFFICES OF PETER T. NICHOLL
RITTER               THEODORE E            MD         24X01001942       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             EDDIE                 VA         740CL0200023700   THE LAW OFFICES OF PETER T. NICHOLL
RITTER               VERNA                 MD         24X01001942       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             EDWARD E              VA         700CL0235603H02   THE LAW OFFICES OF PETER T. NICHOLL
ROACH                BOBBY R               MD         24X12000590       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             EDWARD G              MD         24X14000214       THE LAW OFFICES OF PETER T. NICHOLL
ROACH                LEROY                 VA         0028887H02        THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             ELNORA                VA         700CL0539586T01   THE LAW OFFICES OF PETER T. NICHOLL
ROANE                CARTER L              VA         01930             THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             HAROLD M              VA         700CLO438367V04   THE LAW OFFICES OF PETER T. NICHOLL
ROBB                 THEODORE A            MD         24X02001084       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             HAYES C               VA         29423RC           THE LAW OFFICES OF PETER T. NICHOLL
ROBBINS              JOHN D                MD         24X04000685       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             HERMAN E              MD         98155501CX1127    THE LAW OFFICES OF PETER T. NICHOLL
ROBBINS              LINWOOD A             VA         CL9927965A04      THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JAMES A               MD         98282503CX1885    THE LAW OFFICES OF PETER T. NICHOLL
ROBBINS              LINWOOD D             VA         0028548H02        THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JAMES E               VA         103000            THE LAW OFFICES OF PETER T. NICHOLL
ROBBINS              THOMAS L              VA         740CL0100184500   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JAMES M               VA         30001EH           THE LAW OFFICES OF PETER T. NICHOLL
ROBERSON             KERMIT L              VA         001111            THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JAMES N               VA         740CL0100191200   THE LAW OFFICES OF PETER T. NICHOLL
ROBERSON             WALTER                VA         740CL0100190300   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JAMES R               VA         740CL0200024500   THE LAW OFFICES OF PETER T. NICHOLL
ROBERSON             WILLIAM O             VA         740CL0100204400   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JOHN C                VA         0028657V05        THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              ALVIN N               VA         740CL0200380100   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JOHN W                VA         740CL0200048400   THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              BRUCE E               MD         98309509          THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             JOSEPH                VA         001269            THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              BURREL D              VA         740CL0100171100   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             KILLES G              MD         24X05000661       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              CHARLES F             VA         740CL0300167300   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             LARRY A               VA         740CL0200016300   THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              DENNIS                VA         01421             THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             LEROY P               MD         24X05000746       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              ENOCH T               VA         700CL0235801V05   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             LEWIS G               MD         98162509CX1170    THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              HOUSTON O. B.         VA         740CL0200045900   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             LIONEL                VA         29012H02          THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              ISIAH                 VA         740CL0300097000   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             LIZZIE                MD         24X10000186       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              JAMES H               MD         24X03000086       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MARGARET              MD         24X05000661       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              JESSIE                MD         01000170          THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MARION D              MD         98309505CX2065    THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              JOHN J                VA         740CL99001689     THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MARSHALL G            VA         700CL00283H02     THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              JOHN R                VA         29154RC           THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MARTHA                MD         24X04000038       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              JOSEPH A              VA         740CL0100347200   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MAXINE                MD         24X01001556       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              LACY                  VA         740CL0100121400   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MELVIN O              MD         24X01001311       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              WILLIE                VA         001499            THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MICHAEL A             MD         24X04000039       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS              WILLIE M              VA         700CL0235620C03   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             MYRON J               MD         24X14000263       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTS-EL           ANNA L                MD         98288505CX1905    THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             NED W                 MD         24X01001963       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTSON            BARBARA J             VA         700CL0539585J05   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             OLIVIA                MD         24X01001963       THE LAW OFFICES OF PETER T. NICHOLL
ROBERTSON            CLAUDE B              VA         740CL0200380200   THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             RALPH P               VA         700CL9927780H02   THE LAW OFFICES OF PETER T. NICHOLL
ROBERTSON            EDWARD                MD         24X07000006       THE LAW OFFICES OF PETER T. NICHOLL                  ROBINSON             RICHARD               MD         24X03000715       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 803
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 138 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

ROBINSON             ROBERT                VA         700CL0235881V05   THE LAW OFFICES OF PETER T. NICHOLL                  ROSEBOROUGH          JAMES L               MD         X99000243         THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             ROLLINS A             VA         740CL0300021100   THE LAW OFFICES OF PETER T. NICHOLL                  ROSEBOROUGH          JUANITA               MD         X99000243         THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             ROSCOE                MD         24X03000669       THE LAW OFFICES OF PETER T. NICHOLL                  ROSEBOROUGH          LULA M                MD         24X05000095       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             RUBY E                MD         24X05000746       THE LAW OFFICES OF PETER T. NICHOLL                  ROSEBOROUGH          RAYMOND               MD         24X01001938       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             SARAH                 MD         98155501CX1127    THE LAW OFFICES OF PETER T. NICHOLL                  ROSEBROUGH           LORNDEAN D            MD         24X03001180       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             SARAH F               MD         98232504CX1623    THE LAW OFFICES OF PETER T. NICHOLL                  ROSELLE              NATHANIEL L           MD         24X05000446       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             THOMAS J              VA         29023W01          THE LAW OFFICES OF PETER T. NICHOLL                  ROSEMERE             CONRAD J              MD         24X02002481       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             WALTER O              MD         01000152          THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 ANNETTE               MD         24X06000177       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             WENDELL H             VA         740CL0200284500   THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 CHARLES E             MD         24X15000139       THE LAW OFFICES OF PETER T. NICHOLL
ROBINSON             WILLIAM L             MD         24X04000038       THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 GEORGE E              VA         700CL0235787H02   THE LAW OFFICES OF PETER T. NICHOLL
ROBY                 HELEN M               MD         24X06000560       THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 GLORIA A              MD         24X15000139       THE LAW OFFICES OF PETER T. NICHOLL
ROBY                 ROBERT L              MD         24X06000560       THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 HATTIE                MD         24X01001542       THE LAW OFFICES OF PETER T. NICHOLL
ROCHE                BERNICE               MD         98226514CX1610    THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 JEROME J P            MD         24X06000177       THE LAW OFFICES OF PETER T. NICHOLL
ROCHE                RAYMOND               MD         98226514CX1610    THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 LANNY C               MD         98288504CX1904    THE LAW OFFICES OF PETER T. NICHOLL
ROCK                 CALVIN M              VA         740CL0200380300   THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 PRESTON M             MD         24X01001542       THE LAW OFFICES OF PETER T. NICHOLL
ROCKS                VERNON                MD         24X03000370       THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 ROBERT E              VA         0028919A04        THE LAW OFFICES OF PETER T. NICHOLL
RODE                 ALBERT E              MD         24X11000177       THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 THOMAS T              MD         24X12000611       THE LAW OFFICES OF PETER T. NICHOLL
RODE                 DOROTHY L             MD         24X11000177       THE LAW OFFICES OF PETER T. NICHOLL                  ROSS                 WILLIAM E             MD         24X03000079       THE LAW OFFICES OF PETER T. NICHOLL
RODE                 JOHN H                MD         99001608          THE LAW OFFICES OF PETER T. NICHOLL                  ROSSI                WENDY                 MD         24X03001185       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              DON C                 VA         29232RC           THE LAW OFFICES OF PETER T. NICHOLL                  ROSSI                WILLIAM J             MD         24X03001185       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              GERTIE L              MD         24X02001581       THE LAW OFFICES OF PETER T. NICHOLL                  ROTH                 ELEANOR L             MD         24X17000532       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              HERBERT L             MD         24X02001581       THE LAW OFFICES OF PETER T. NICHOLL                  ROTH                 JOHN G                MD         24X17000532       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              JAMES                 VA         0028931V05        THE LAW OFFICES OF PETER T. NICHOLL                  ROTHGEB              DEBORAH L             MD         24X11000500       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              JAMES E               VA         740CL0300002000   THE LAW OFFICES OF PETER T. NICHOLL                  ROTHGEB              DRAXIE                MD         24X97231504       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              JOHN M                MD         24X06000607       THE LAW OFFICES OF PETER T. NICHOLL                  ROTHGEB              ELWOOD J              MD         24X97231504       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              LOIS M                MD         24X06000607       THE LAW OFFICES OF PETER T. NICHOLL                  ROTHGEB              ELWOOD J JR           MD         24X97231504       THE LAW OFFICES OF PETER T. NICHOLL
RODGERS              MARY C                MD         24X12000516       THE LAW OFFICES OF PETER T. NICHOLL                  ROTHGEB              GARY W                MD         24X11000500       THE LAW OFFICES OF PETER T. NICHOLL
RODMAN               WILLIAM               MD         24X10000455       THE LAW OFFICES OF PETER T. NICHOLL                  ROTHGEB              GARY W                MD         24X97231504       THE LAW OFFICES OF PETER T. NICHOLL
RODWELL              QUEEN                 MD         24X12000646       THE LAW OFFICES OF PETER T. NICHOLL                  ROUNTREE             GERTIE                VA         01879             THE LAW OFFICES OF PETER T. NICHOLL
ROEMER               EVELYN                MD         X01000970         THE LAW OFFICES OF PETER T. NICHOLL                  ROUNTREE             KENNETH R             VA         740CL0200113500   THE LAW OFFICES OF PETER T. NICHOLL
ROEMER               LOUIS                 MD         X01000970         THE LAW OFFICES OF PETER T. NICHOLL                  ROURK                HELEN D               VA         740CL0200359000   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               AL                    MD         X01000605         THE LAW OFFICES OF PETER T. NICHOLL                  ROURK                JOE L                 VA         740CL0200046000   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               ALVIN                 MD         98323506CX2185    THE LAW OFFICES OF PETER T. NICHOLL                  ROURK                MAURICE M             VA         740CL0300200300   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               BETTY L               MD         24X06000173       THE LAW OFFICES OF PETER T. NICHOLL                  ROUTTEN              IRVING G              VA         700CL0438285H02   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               GLORIA J              MD         24X03000801       THE LAW OFFICES OF PETER T. NICHOLL                  ROUTTEN              OLIVER S              VA         28996V05          THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               HAVARD C              MD         24X06000173       THE LAW OFFICES OF PETER T. NICHOLL                  ROWAN                RUSSELL J             MD         X01000932         THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               JAMES E               MD         24X01001994       THE LAW OFFICES OF PETER T. NICHOLL                  ROWE                 DENNY G               VA         700CL0437595P03   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               JEROME                VA         740CL0300167400   THE LAW OFFICES OF PETER T. NICHOLL                  ROWE                 EDWIN E               VA         740CL0100124900   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               LAWRENCE M            MD         24X05000769       THE LAW OFFICES OF PETER T. NICHOLL                  ROWE                 JACK S                VA         740CL0200378100   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               LENNY L               MD         24X12000199       THE LAW OFFICES OF PETER T. NICHOLL                  ROWE                 JOSEPH E              VA         740CL0300033600   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               MARY R                MD         24X05000769       THE LAW OFFICES OF PETER T. NICHOLL                  ROWE                 LAWRENCE              VA         002156            THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               RONALD K              MD         24X06000297       THE LAW OFFICES OF PETER T. NICHOLL                  ROWE                 ROBERT G              VA         700CL0438827J05   THE LAW OFFICES OF PETER T. NICHOLL
ROGERS               WOODROW W             VA         700CL0232743A04   THE LAW OFFICES OF PETER T. NICHOLL                  ROWLAND              JAMES F               VA         740CL0200129900   THE LAW OFFICES OF PETER T. NICHOLL
ROHRBACH             GLADYS L              VA         700CL0539587P03   THE LAW OFFICES OF PETER T. NICHOLL                  ROWLETT              IRA A                 MD         24X11000258       THE LAW OFFICES OF PETER T. NICHOLL
ROHRBACH             RICHARD C             VA         700CL0232373A04   THE LAW OFFICES OF PETER T. NICHOLL                  ROWLEY               BERTHA A              MD         24X10000180       THE LAW OFFICES OF PETER T. NICHOLL
ROHRBACH             RICHARD C             VA         700CL0539587P03   THE LAW OFFICES OF PETER T. NICHOLL                  ROWLEY               MICHAEL J             MD         24X10000180       THE LAW OFFICES OF PETER T. NICHOLL
ROLES                RUDOLPH G             MD         98303520CX2057    THE LAW OFFICES OF PETER T. NICHOLL                  ROWSEY               HARRY L               VA         740CL0100091700   THE LAW OFFICES OF PETER T. NICHOLL
ROLES                SHIRLEY               MD         98303520CX2057    THE LAW OFFICES OF PETER T. NICHOLL                  ROY                  FRIENZY N             MD         24X15000071       THE LAW OFFICES OF PETER T. NICHOLL
ROLLINS              OLIN L                VA         740CL0300098700   THE LAW OFFICES OF PETER T. NICHOLL                  ROYLE                FENTON D              VA         740CL0300026300   THE LAW OFFICES OF PETER T. NICHOLL
ROMANCZYK            KAZIMERE G            VA         740CL0200178200   THE LAW OFFICES OF PETER T. NICHOLL                  ROYSTER              ARNOLD                MD         98267512CX1801    THE LAW OFFICES OF PETER T. NICHOLL
ROMANS               WARREN L              VA         001354            THE LAW OFFICES OF PETER T. NICHOLL                  ROYSTER              GREGORY               VA         700CL0235621W01   THE LAW OFFICES OF PETER T. NICHOLL
ROMEO                SAMUEL J              MD         24X11000306       THE LAW OFFICES OF PETER T. NICHOLL                  RUBLE                HARRY A               MD         X01001109         THE LAW OFFICES OF PETER T. NICHOLL
RONDON               PERCIE                MD         24X12000681       THE LAW OFFICES OF PETER T. NICHOLL                  RUBLE                MARY                  MD         X01001109         THE LAW OFFICES OF PETER T. NICHOLL
RONE                 SHERMAN R             VA         740CL0200067500   THE LAW OFFICES OF PETER T. NICHOLL                  RUBY                 WANDA L               MD         24X13000379       THE LAW OFFICES OF PETER T. NICHOLL
ROOP                 ALVA G                MD         24X98281502CX1    THE LAW OFFICES OF PETER T. NICHOLL                  RUDACILLE            DARLENE               MD         24X01001697       THE LAW OFFICES OF PETER T. NICHOLL
ROOP                 CHARLES D             MD         24X98281502CX1    THE LAW OFFICES OF PETER T. NICHOLL                  RUDACILLE            ROGER W               MD         24X01001697       THE LAW OFFICES OF PETER T. NICHOLL
ROOT                 CARROLL W             MD         24X11000199       THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               CHARLIE H             VA         740CL0300002200   THE LAW OFFICES OF PETER T. NICHOLL
ROOT                 LOWELL                MD         24X11000199       THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               CORNELIUS E           VA         740CL0200116800   THE LAW OFFICES OF PETER T. NICHOLL
ROPER                GARY T                VA         740CL0200181500   THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               MARVIN L.             VA         700CL0437911P03   THE LAW OFFICES OF PETER T. NICHOLL
ROPPELT              LAWRENCE A            MD         24X11000374       THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               PERNELL C             VA         30002RC           THE LAW OFFICES OF PETER T. NICHOLL
ROPPELT              MONICA                MD         24X11000374       THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               ROBERT E              VA         740CL0200085400   THE LAW OFFICES OF PETER T. NICHOLL
ROSCOE               JULIUS C              VA         740CL0200089400   THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               RUSSELL H             VA         700CL0437872W01   THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 AUBREY E              VA         740CL0300002100   THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               THEODORE E            VA         28989RC           THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 CONAL C               MD         24X03000938       THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               THOMAS L              VA         700CL0235802H02   THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 FRANKLIN              VA         700CL0028666A04   THE LAW OFFICES OF PETER T. NICHOLL                  RUFFIN               WILLIAM E             VA         700CL0232375C03   THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 HERMAN W              MD         24X02000970       THE LAW OFFICES OF PETER T. NICHOLL                  RUGGLES              ROBERT L              VA         740CL0200024600   THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 MILDRED C             MD         24X06000113       THE LAW OFFICES OF PETER T. NICHOLL                  RUMBLE               ALBERT L              VA         740CL0100141900   THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 WEST                  MD         24X10000438       THE LAW OFFICES OF PETER T. NICHOLL                  RUMBURG              CONCETTA ANN          MD         24X02001123       THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 WILLIAM J             VA         700CL0232374H02   THE LAW OFFICES OF PETER T. NICHOLL                  RUMBURG              DAVID E               MD         24X02001123       THE LAW OFFICES OF PETER T. NICHOLL
ROSE                 WILLIAM T             VA         740CL0100327400   THE LAW OFFICES OF PETER T. NICHOLL                  RUPPALT              KAREN L               MD         24X10000128       THE LAW OFFICES OF PETER T. NICHOLL
ROSEBOROUGH          ANDREW                MD         24X05000095       THE LAW OFFICES OF PETER T. NICHOLL                  RUPPALT              TIMOTHY S             MD         24X10000128       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 804
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 139 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

RUSE                 GEORGE C              MD         24X01001848       THE LAW OFFICES OF PETER T. NICHOLL                  SAMUELS              CAROLYN               MD         24X09000485        THE LAW OFFICES OF PETER T. NICHOLL
RUSH                 ROBERT D              MD         24X12000492       THE LAW OFFICES OF PETER T. NICHOLL                  SAMUELS              JERRY E               VA         740CL02001124200   THE LAW OFFICES OF PETER T. NICHOLL
RUSH                 ROBERT D              MD         24X17000534       THE LAW OFFICES OF PETER T. NICHOLL                  SAMUELS              PRESTON               MD         24X09000485        THE LAW OFFICES OF PETER T. NICHOLL
RUSHING              BOBBY                 VA         700CL0235622V05   THE LAW OFFICES OF PETER T. NICHOLL                  SAMUELS              WELLESLEY             MD         24X14000462        THE LAW OFFICES OF PETER T. NICHOLL
RUSHING              CLAYMAN               VA         740CL0200085500   THE LAW OFFICES OF PETER T. NICHOLL                  SANDERLIN            JOSEPH                VA         740CL0300167500    THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              ALLEN D               MD         24X11000245       THE LAW OFFICES OF PETER T. NICHOLL                  SANDERS              BOBBY                 VA         30174VC            THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              ALLEN D               MD         24X14000137       THE LAW OFFICES OF PETER T. NICHOLL                  SANDERS              EARL                  MD         24X02001741        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              ARTHUR J              VA         740CL0200073300   THE LAW OFFICES OF PETER T. NICHOLL                  SANDERS              JOSEPH H              VA         700CL0235931V05    THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              CHARLES W             VA         740CL0200113600   THE LAW OFFICES OF PETER T. NICHOLL                  SANDIDGE             JW                    VA         740CL0100192400    THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              DANIEL                MD         98289508CX1920    THE LAW OFFICES OF PETER T. NICHOLL                  SANDLASS             SHARON                MD         24X05000648        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              EDDIE                 VA         740CL0300121500   THE LAW OFFICES OF PETER T. NICHOLL                  SANDLIN              MILDRED O             MD         24X01001401        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              JAMES O               MD         24X11000207       THE LAW OFFICES OF PETER T. NICHOLL                  SANDOR               RONALD G              VA         740CL0200313900    THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              JOANN                 MD         24X14000137       THE LAW OFFICES OF PETER T. NICHOLL                  SANDRIDGE            CHARLOTTE A           MD         24X06000282        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              JOANN                 MD         24X11000245       THE LAW OFFICES OF PETER T. NICHOLL                  SANDRIDGE            JAMES F               MD         24X06000282        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              PAUL L                MD         X01000487         THE LAW OFFICES OF PETER T. NICHOLL                  SANDS                ELIZABETH K           MD         24X14000128        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              ROBERT L              VA         740CL0300121600   THE LAW OFFICES OF PETER T. NICHOLL                  SANDS                ELIZABETH K           MD         24X11000305        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              RUFUS E               VA         740CL0200021800   THE LAW OFFICES OF PETER T. NICHOLL                  SANDS                FRANK L               MD         24X11000371        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              THOMAS R              VA         740CL0200113700   THE LAW OFFICES OF PETER T. NICHOLL                  SANDS                GINGER                MD         01000151           THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              WILLIAM J             VA         740CL0100319100   THE LAW OFFICES OF PETER T. NICHOLL                  SANDS                PAUL C                MD         24X11000305        THE LAW OFFICES OF PETER T. NICHOLL
RUSSELL              WILLIE V              VA         700CL0232112V05   THE LAW OFFICES OF PETER T. NICHOLL                  SANDS                WILLIAM L             MD         01000151           THE LAW OFFICES OF PETER T. NICHOLL
RUSSO                HENRY J               MD         24X09000415       THE LAW OFFICES OF PETER T. NICHOLL                  SANFORD              EARL P                VA         28494RC            THE LAW OFFICES OF PETER T. NICHOLL
RUTH                 BARBARA G             MD         24X04001069       THE LAW OFFICES OF PETER T. NICHOLL                  SANN                 ROBERT B              MD         01000800           THE LAW OFFICES OF PETER T. NICHOLL
RUTH                 CHARLES W             MD         24X06000203       THE LAW OFFICES OF PETER T. NICHOLL                  SANSBURY             ALLEN JR              MD         X98402496          THE LAW OFFICES OF PETER T. NICHOLL
RUTH                 EDWARD J              MD         24X04001069       THE LAW OFFICES OF PETER T. NICHOLL                  SANSONE              MICHAEL A             MD         24X01001546        THE LAW OFFICES OF PETER T. NICHOLL
RUTH                 MARGARET L            MD         24X06000203       THE LAW OFFICES OF PETER T. NICHOLL                  SANSONE              PATRICK K             MD         24X02000813        THE LAW OFFICES OF PETER T. NICHOLL
RUTHS                AUDREY M              MD         24X05000073       THE LAW OFFICES OF PETER T. NICHOLL                  SANTUCCI             MICHAEL G             MD         24X09000281        THE LAW OFFICES OF PETER T. NICHOLL
RUTHS                CARROLL L             MD         24X05000073       THE LAW OFFICES OF PETER T. NICHOLL                  SARGENT              DARLENE               MD         24X03000949        THE LAW OFFICES OF PETER T. NICHOLL
RYAN                 JAMES B               VA         740CL0300002300   THE LAW OFFICES OF PETER T. NICHOLL                  SASSER               JESSE E               MD         24X04000037        THE LAW OFFICES OF PETER T. NICHOLL
RYAN                 JAMES E               VA         740CL0300021200   THE LAW OFFICES OF PETER T. NICHOLL                  SATTERFIELD          BURTON W              VA         740CL0300025000    THE LAW OFFICES OF PETER T. NICHOLL
RYCACZEWSKI          ROBERT                MD         24X03000250       THE LAW OFFICES OF PETER T. NICHOLL                  SATTERFIELD          GIRTIE                MD         24X05000708        THE LAW OFFICES OF PETER T. NICHOLL
RYKACZEWSKI          MARY ANN              MD         24X03000250       THE LAW OFFICES OF PETER T. NICHOLL                  SATTERFIELD          LARRY C               MD         24X12000916        THE LAW OFFICES OF PETER T. NICHOLL
RYTTER               GERALD J              MD         9831030CX2108     THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                EARL S                MD         24X04000843        THE LAW OFFICES OF PETER T. NICHOLL
RYTTER               MARY L                MD         9831030CX2108     THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                GEORGE M              MD         24X01001649        THE LAW OFFICES OF PETER T. NICHOLL
SABB                 VERNELL               VA         740CL0200055900   THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                LINDA                 MD         24X01000823        THE LAW OFFICES OF PETER T. NICHOLL
SABINE               ROBERT L              VA         700CL0438396P03   THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                LINDA C               MD         24X05000748        THE LAW OFFICES OF PETER T. NICHOLL
SACCHETTI            RUDOLPH A             MD         24X18000027       THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                MILDRED               MD         24X04000843        THE LAW OFFICES OF PETER T. NICHOLL
SACKALOSKY           DAVID J               MD         24X14000215       THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                ROY A                 MD         24X01000823        THE LAW OFFICES OF PETER T. NICHOLL
SACKALOSKY           JOHN J                MD         24X05000743       THE LAW OFFICES OF PETER T. NICHOLL                  SAUER                ROY A                 MD         24X05000748        THE LAW OFFICES OF PETER T. NICHOLL
SACKALOSKY           SHELLY                MD         24X14000215       THE LAW OFFICES OF PETER T. NICHOLL                  SAUERHOFF            GEORGE E              MD         24X02000879        THE LAW OFFICES OF PETER T. NICHOLL
SACKALOSKY           JOAN G                MD         24X05000743       THE LAW OFFICES OF PETER T. NICHOLL                  SAUL                 BRENDA J              VA         740CL0300167600    THE LAW OFFICES OF PETER T. NICHOLL
SADDLER              JOYCE                 MD         24X02002231       THE LAW OFFICES OF PETER T. NICHOLL                  SAUL                 DAVID W               MD         24X15000138        THE LAW OFFICES OF PETER T. NICHOLL
SADDLER              RICHARD W             MD         24X02002231       THE LAW OFFICES OF PETER T. NICHOLL                  SAULMAN              HARRY E               VA         28218RW            THE LAW OFFICES OF PETER T. NICHOLL
SADLER               CHARLES G             VA         700CL0232376W01   THE LAW OFFICES OF PETER T. NICHOLL                  SAULSBURY            SYLVIA                MD         24X12000418        THE LAW OFFICES OF PETER T. NICHOLL
SADLER               MISTY                 MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             BERNARD M             MD         24X04000770        THE LAW OFFICES OF PETER T. NICHOLL
SADLER               MISTY                 MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             CHARLIE H             VA         740CL0200130000    THE LAW OFFICES OF PETER T. NICHOLL
SADLER               PHILIP V              VA         700CL0539558H02   THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             ERVIN R               VA         740CL0100145800    THE LAW OFFICES OF PETER T. NICHOLL
SALAFIE              DIANA M               MD         X01000282         THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             HAROLD H              MD         98197503CX1401     THE LAW OFFICES OF PETER T. NICHOLL
SALAFIE              NICHOLAS J            MD         X01000282         THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             JAMES E               MD         24X02001504        THE LAW OFFICES OF PETER T. NICHOLL
SALARIS              MARIAN E              MD         24X05000638       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             JOHN H                MD         X01000946          THE LAW OFFICES OF PETER T. NICHOLL
SALARIS              STEPHEN               MD         24X05000638       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             JOHN R                VA         29599EH            THE LAW OFFICES OF PETER T. NICHOLL
SALISBURY            GERALD                MD         24X11000950       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             JOSEPH E              VA         700CL0437873V04    THE LAW OFFICES OF PETER T. NICHOLL
SALISBURY            JANET L               MD         24X11000950       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             JUDY H                MD         98197503CX1401     THE LAW OFFICES OF PETER T. NICHOLL
SALLEY               JOHNNY L              MD         24X04000501       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             LUCINDA               MD         24X11000073        THE LAW OFFICES OF PETER T. NICHOLL
SALLEY               ROSIE                 MD         24X04000501       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             MARLENE               MD         24X02001504        THE LAW OFFICES OF PETER T. NICHOLL
SALTER               WILLIE                MD         98316513CX2131    THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             MOSES L               VA         29233RW            THE LAW OFFICES OF PETER T. NICHOLL
SALTER-SIMS          SHERRIE               MD         24X16000301       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             RALPH B               VA         740CL0200224100    THE LAW OFFICES OF PETER T. NICHOLL
SALTOR               MARY                  MD         24X16000301       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             RAYMOND P             VA         740CL0100188000    THE LAW OFFICES OF PETER T. NICHOLL
SALVINO              BEVERLY               MD         24X05000012       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             RICHARD M             VA         0084300            THE LAW OFFICES OF PETER T. NICHOLL
SALVINO              HOWARD C              MD         24X05000012       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             STANLEY J             VA         700CL0438828T01    THE LAW OFFICES OF PETER T. NICHOLL
SALVINO              NORA                  MD         24X01001714       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             STEPHEN O             MD         X01000289          THE LAW OFFICES OF PETER T. NICHOLL
SALVINO              THEODORE              MD         24X01001714       THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             SUSAN C               MD         X01000289          THE LAW OFFICES OF PETER T. NICHOLL
SALYER               BERTRUM J             MD         X98402459         THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             VIRGINIA              MD         24X01001716        THE LAW OFFICES OF PETER T. NICHOLL
SALYER               KATHERINE             MD         X98402459         THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             WARREN                VA         740CL0300021300    THE LAW OFFICES OF PETER T. NICHOLL
SAMPLE               REGINALD J            MD         98316512CX2130    THE LAW OFFICES OF PETER T. NICHOLL                  SAUNDERS             WILLIAM               MD         24X11000073        THE LAW OFFICES OF PETER T. NICHOLL
SAMPSON              DOROTHY               MD         24X96304514       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               CATHERINE             MD         24X04001078        THE LAW OFFICES OF PETER T. NICHOLL
SAMPSON              EDWARD DONTE          MD         24X96304514       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               CLARENCE E            VA         29175RW            THE LAW OFFICES OF PETER T. NICHOLL
SAMPSON              EDWARD L              MD         24X96304514       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               GERALD L              VA         700CL0337485V04    THE LAW OFFICES OF PETER T. NICHOLL
SAMPSON              KEITH                 MD         24X96304514       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               JAMES                 VA         100500             THE LAW OFFICES OF PETER T. NICHOLL
SAMPSON              LEON                  MD         24X96304514       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               JAMES C               VA         740CL0300002400    THE LAW OFFICES OF PETER T. NICHOLL
SAMPSON              SHARON                MD         24X96304514       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               LEROY                 VA         0028928W01         THE LAW OFFICES OF PETER T. NICHOLL
SAMUEL               WILFRED T             MD         24X01001758       THE LAW OFFICES OF PETER T. NICHOLL                  SAVAGE               OTHO                  VA         740CL0200023800    THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 805
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 140 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SAVAGE               RAYMOND               MD         24X04001078       THE LAW OFFICES OF PETER T. NICHOLL                  SCHULMAN             ANN P                 MD         24X06000495       THE LAW OFFICES OF PETER T. NICHOLL
SAVAGE               ROBERT E              VA         32070RC           THE LAW OFFICES OF PETER T. NICHOLL                  SCHULMAN             PAUL                  MD         24X06000495       THE LAW OFFICES OF PETER T. NICHOLL
SAVAGE               VANCE A               VA         700CL0539136T01   THE LAW OFFICES OF PETER T. NICHOLL                  SCHULTZ              CHRISTINE             MD         24X11000928       THE LAW OFFICES OF PETER T. NICHOLL
SAVARESE             AUGUST J JR           MD         98282507CX1889    THE LAW OFFICES OF PETER T. NICHOLL                  SCHULTZ              JANICE M              MD         98329514CX2239    THE LAW OFFICES OF PETER T. NICHOLL
SAVEDGE              STANLEY R             VA         740CL0300098800   THE LAW OFFICES OF PETER T. NICHOLL                  SCHULTZ              JOSEPH J              MD         98329514CX2239    THE LAW OFFICES OF PETER T. NICHOLL
SAVOY                ABRAMAE               MD         X01001045         THE LAW OFFICES OF PETER T. NICHOLL                  SCHWAB               JAMES A               VA         700CL0437728W01   THE LAW OFFICES OF PETER T. NICHOLL
SAVOY                ABRAMAE               MD         X01000255         THE LAW OFFICES OF PETER T. NICHOLL                  SCHWALLENBERG        ANNA M                MD         24X04001099       THE LAW OFFICES OF PETER T. NICHOLL
SAVOY                LEON M                MD         X01000255         THE LAW OFFICES OF PETER T. NICHOLL                  SCHWARTZ             CHARLES L             MD         24X11000071       THE LAW OFFICES OF PETER T. NICHOLL
SAVOY                LEON M                MD         X01001045         THE LAW OFFICES OF PETER T. NICHOLL                  SCHWARTZ             HENRY                 MD         98344505CX2427    THE LAW OFFICES OF PETER T. NICHOLL
SAVOY                PAUL C                MD         24X03000283       THE LAW OFFICES OF PETER T. NICHOLL                  SCHWARTZ             SHARON                MD         24X11000071       THE LAW OFFICES OF PETER T. NICHOLL
SAWYER               KENNETH A             VA         740CL0200079000   THE LAW OFFICES OF PETER T. NICHOLL                  SCIPIO               EDWARD                VA         700CL0232377V05   THE LAW OFFICES OF PETER T. NICHOLL
SAWYER               LAFAYETTE R           VA         740CL00327500     THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                ARBELL                MD         24X01000728       THE LAW OFFICES OF PETER T. NICHOLL
SAWYER               LAWRENCE              VA         740CL0200054100   THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                BERNARD W             MD         24X01000728       THE LAW OFFICES OF PETER T. NICHOLL
SAWYER               LEE S                 VA         700CL0539152P03   THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                BETTIE P              MD         24X05000589       THE LAW OFFICES OF PETER T. NICHOLL
SAWYER               ROBERT L              VA         740CL0300098900   THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                BOBBY D               VA         740CL0200024700   THE LAW OFFICES OF PETER T. NICHOLL
SAYNUCK              ANGELA                MD         24X02001384       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                CALVIN                VA         740CL0300034400   THE LAW OFFICES OF PETER T. NICHOLL
SCALES               BRIAN                 MD         24X16000154       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                CHARLES               MD         24X12000918       THE LAW OFFICES OF PETER T. NICHOLL
SCALES               DELPHINE              MD         24X16000154       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                CLIFTON R             MD         24X04000498       THE LAW OFFICES OF PETER T. NICHOLL
SCALES               PEMBERTON V           MD         24X02002701       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                DENNIS W              VA         740CL0100171200   THE LAW OFFICES OF PETER T. NICHOLL
SCALES               ROBERT H              MD         24X16000154       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                EARL                  VA         29234VA           THE LAW OFFICES OF PETER T. NICHOLL
SCALES               RODNEY                MD         24X16000154       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                EARNEST C             VA         740CL0200193000   THE LAW OFFICES OF PETER T. NICHOLL
SCALES               SHELLY                MD         24X16000154       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                EDWARD L              VA         700CL0438011P03   THE LAW OFFICES OF PETER T. NICHOLL
SCALES               WILLIE B              VA         700CL0232489W01   THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                ERNEST                VA         700CL0437912W01   THE LAW OFFICES OF PETER T. NICHOLL
SCANLON              EVELYN                MD         24X05000070       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                ESTELLE               MD         24X03000333       THE LAW OFFICES OF PETER T. NICHOLL
SCANLON              SAMUEL J              MD         24X05000070       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FLOYD                 VA         740CL0200024800   THE LAW OFFICES OF PETER T. NICHOLL
SCANTLIN             EARL D                VA         740CL0200113800   THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FLOYD J               VA         1060000           THE LAW OFFICES OF PETER T. NICHOLL
SCHADENFROH          JAMES H               MD         24X11000178       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FORREST               MD         24X03000333       THE LAW OFFICES OF PETER T. NICHOLL
SCHAFER              JOHN H                MD         24X06000492       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FRANCIS J             VA         700CL0232378A04   THE LAW OFFICES OF PETER T. NICHOLL
SCHAFER              KATHLEEN              MD         24X06000492       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FRANCIS M             MD         X01000373         THE LAW OFFICES OF PETER T. NICHOLL
SCHAUM               MICHAEL A             MD         98219514CX1553    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FRANK L               VA         001381            THE LAW OFFICES OF PETER T. NICHOLL
SCHAUM               PATRICIA              MD         X01001057         THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                FRED                  VA         0028929C03        THE LAW OFFICES OF PETER T. NICHOLL
SCHAUM               WILLIAM J             MD         X01001057         THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                HERBERT L             VA         700CLO438397V04   THE LAW OFFICES OF PETER T. NICHOLL
SCHEFIELD            FORTUNE C             MD         24X02000678       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                IRA B                 MD         98324504CX2189    THE LAW OFFICES OF PETER T. NICHOLL
SCHEPERS             CARL G                MD         24X01001366       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                JAMES E               VA         740CL99001690     THE LAW OFFICES OF PETER T. NICHOLL
SCHEPERS             CARL G                MD         24X05000907       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                JAMES R               MD         24X03000750       THE LAW OFFICES OF PETER T. NICHOLL
SCHEPERS             DOLORES               MD         24X01001366       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                JESSIE F              VA         740CL0300021400   THE LAW OFFICES OF PETER T. NICHOLL
SCHEPERS             DOLORES R             MD         24X05000907       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                JOHN L                MD         24X010002002      THE LAW OFFICES OF PETER T. NICHOLL
SCHINDELL            EMMETT F B            MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                JOSEPH L              MD         24X02002284       THE LAW OFFICES OF PETER T. NICHOLL
SCHINDELL            GLADYS                MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                JOSHUA                VA         740CL01001846     THE LAW OFFICES OF PETER T. NICHOLL
SCHINDELL            SHERRY                MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                LARRY B               VA         740CL0300097100   THE LAW OFFICES OF PETER T. NICHOLL
SCHISLER             DOMINICA              MD         24X04000751       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                LENWOOD               VA         740CL0100170400   THE LAW OFFICES OF PETER T. NICHOLL
SCHISLER             MICHAEL J             MD         24X04000751       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                LEON M                MD         24X010002002      THE LAW OFFICES OF PETER T. NICHOLL
SCHLESNER            ILSE I                MD         98275517CX1868    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                LEONARD               MD         24X14000426       THE LAW OFFICES OF PETER T. NICHOLL
SCHLESNER            RUDOLPH               MD         98275517CX1868    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                LEVAR                 MD         24X05000589       THE LAW OFFICES OF PETER T. NICHOLL
SCHLOER              LORNA M               MD         24X05000015       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                LUCILLE               MD         24X06000298       THE LAW OFFICES OF PETER T. NICHOLL
SCHMIDT              CAROLYN D             MD         24X01001368       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                MARION R              MD         24X12000485       THE LAW OFFICES OF PETER T. NICHOLL
SCHMIDT              ROBERT F              MD         24X01001368       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                MELVIN R              MD         24X03000890       THE LAW OFFICES OF PETER T. NICHOLL
SCHMIDTMANN          FRANK E               MD         24X06000520       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                NOAH FRANKLIN         MD         24X08000116       THE LAW OFFICES OF PETER T. NICHOLL
SCHMIDTMANN          GLORIA V              MD         24X06000520       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                OSCAR                 VA         740CL0100119400   THE LAW OFFICES OF PETER T. NICHOLL
SCHMIER              DENNIS G              MD         24X07000210       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                PERCELL I             VA         740CL0300002500   THE LAW OFFICES OF PETER T. NICHOLL
SCHMIER              SONDRA                MD         24X07000210       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RALPH S               VA         700CL0437739V04   THE LAW OFFICES OF PETER T. NICHOLL
SCHMITZ              LOUIS H               MD         98303519CX2056    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RANDOLPH              MD         24X02002700       THE LAW OFFICES OF PETER T. NICHOLL
SCHMITZ              SALLYANN              MD         98303519CX2056    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RANDOLPH              MD         24X07000304       THE LAW OFFICES OF PETER T. NICHOLL
SCHODT               CLIFTON A             VA         740CL0200178300   THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RANDOLPH E            VA         740CL0300021500   THE LAW OFFICES OF PETER T. NICHOLL
SCHOEN               JOSEPH E              MD         98156515CX1147    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RANDOLPH E            VA         700CL0539559V04   THE LAW OFFICES OF PETER T. NICHOLL
SCHOEN               PHYLLIS R             MD         98156515CX1147    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RAYMOND M             VA         740CL0300021600   THE LAW OFFICES OF PETER T. NICHOLL
SCHOEPFLIN           MARY                  MD         24X08000081       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                REGINALD              MD         24X05000589       THE LAW OFFICES OF PETER T. NICHOLL
SCHOEPFLIN           RONALD C              MD         24X08000081       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                REGINALD C            MD         24X12000485       THE LAW OFFICES OF PETER T. NICHOLL
SCHOOLS              JANET P               MD         24X06000545       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                ROBERT J              MD         24X05000589       THE LAW OFFICES OF PETER T. NICHOLL
SCHORR               CATHY R               MD         24X06000434       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                ROBERT J              VA         0028816H02        THE LAW OFFICES OF PETER T. NICHOLL
SCHORR               FRANK M               MD         24X06000434       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                ROBERT R              MD         24X04000150       THE LAW OFFICES OF PETER T. NICHOLL
SCHRACK              DONALD H              MD         24X06000383       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                RUTH                  MD         24X03000750       THE LAW OFFICES OF PETER T. NICHOLL
SCHRACK              EDITH D               MD         24X06000383       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                SAMUEL M              VA         740CL0200018700   THE LAW OFFICES OF PETER T. NICHOLL
SCHRAMM              CLIFFORD W            MD         24X01001534       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                SELMA E               MD         24X11000951       THE LAW OFFICES OF PETER T. NICHOLL
SCHRAMM              LINDA                 MD         24X01001534       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                SILAS                 MD         24X06000298       THE LAW OFFICES OF PETER T. NICHOLL
SCHREIBER            GEORGE E              MD         98162503CX1164    THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                THEODORE B            VA         700CL0232481A04   THE LAW OFFICES OF PETER T. NICHOLL
SCHRIEFER            JOHN E                MD         24X02002542       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                THOMAS A              VA         740CL0300119900   THE LAW OFFICES OF PETER T. NICHOLL
SCHRIEFER            PATRICIA A            MD         24X02002542       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                THOMAS E              VA         740CL0200040700   THE LAW OFFICES OF PETER T. NICHOLL
SCHROEDER            CAMILLA A             MD         24X04000896       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                TYRONE                MD         X01000794         THE LAW OFFICES OF PETER T. NICHOLL
SCHROEDER            EUGENE                MD         24X04000896       THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                VERNITA               MD         X01000794         THE LAW OFFICES OF PETER T. NICHOLL
SCHULER              DAVID L               MD         98310514          THE LAW OFFICES OF PETER T. NICHOLL                  SCOTT                WALTER T              VA         740CL0300021700   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 806
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 141 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SCOTT                WANDA K               MD         24X08000116       THE LAW OFFICES OF PETER T. NICHOLL                  SHADUK               JOHN L                MD         24X01001860       THE LAW OFFICES OF PETER T. NICHOLL
SCOTT                WILLIAM D             VA         700CL0028307A04   THE LAW OFFICES OF PETER T. NICHOLL                  SHADUK               PAULETTE              MD         24X13000003       THE LAW OFFICES OF PETER T. NICHOLL
SCOTT                WILLIAM P             MD         24X08000116       THE LAW OFFICES OF PETER T. NICHOLL                  SHADUK               PAULETTE              MD         24X01001860       THE LAW OFFICES OF PETER T. NICHOLL
SCOTT                WILLIE H              MD         X01000881         THE LAW OFFICES OF PETER T. NICHOLL                  SHAFFER              EDWARD R              MD         X01000275         THE LAW OFFICES OF PETER T. NICHOLL
SCOTT                WILLIS                MD         98296503CX1981    THE LAW OFFICES OF PETER T. NICHOLL                  SHAFFER              GEORGE J              VA         740CL0200051600   THE LAW OFFICES OF PETER T. NICHOLL
SCOVENS              JULIA                 MD         24X02001744       THE LAW OFFICES OF PETER T. NICHOLL                  SHAFFER              JAMES L               MD         24X12000861       THE LAW OFFICES OF PETER T. NICHOLL
SCOVENS              ROBERT L              MD         24X02001744       THE LAW OFFICES OF PETER T. NICHOLL                  SHAFFER              PATRICIA              MD         24X12000497       THE LAW OFFICES OF PETER T. NICHOLL
SCRIBER              EUGENE L              MD         01000797          THE LAW OFFICES OF PETER T. NICHOLL                  SHAFFER              ROBERTA               MD         X01000275         THE LAW OFFICES OF PETER T. NICHOLL
SCRIBER              LINDA                 MD         01000797          THE LAW OFFICES OF PETER T. NICHOLL                  SHAFFER              VERNON                MD         24X12000497       THE LAW OFFICES OF PETER T. NICHOLL
SCRIBNER             PAUL A                MD         24X14000232       THE LAW OFFICES OF PETER T. NICHOLL                  SHAHID               GLORIA                MD         24X99000363       THE LAW OFFICES OF PETER T. NICHOLL
SCRIBNER             SHIRLEY               MD         24X03000798       THE LAW OFFICES OF PETER T. NICHOLL                  SHAHID               YUSEF N               MD         24X99000363       THE LAW OFFICES OF PETER T. NICHOLL
SCRIBNER             STANFORD P            MD         24X03000706       THE LAW OFFICES OF PETER T. NICHOLL                  SHANHOLTZ            JOYCE M               MD         24X05000088       THE LAW OFFICES OF PETER T. NICHOLL
SCRIBNER             STERLING S            MD         24X03000798       THE LAW OFFICES OF PETER T. NICHOLL                  SHANHOLTZ            KENT N                MD         24X05000088       THE LAW OFFICES OF PETER T. NICHOLL
SCROGGINS            ERNESTINE M           MD         24X14000233       THE LAW OFFICES OF PETER T. NICHOLL                  SHARIF               CAMILLA               MD         24X03000083       THE LAW OFFICES OF PETER T. NICHOLL
SCRUGGS              ALVER B               MD         24X05000286       THE LAW OFFICES OF PETER T. NICHOLL                  SHARIF               TAVON E               MD         24X03000083       THE LAW OFFICES OF PETER T. NICHOLL
SCRUGGS              WILLIAM F             MD         24X05000286       THE LAW OFFICES OF PETER T. NICHOLL                  SHARP                ANNIE MAE             MD         24X10000130       THE LAW OFFICES OF PETER T. NICHOLL
SEABREEZE-BEY        EUGENE C              MD         24X11000927       THE LAW OFFICES OF PETER T. NICHOLL                  SHARP                FLOYD                 MD         24X10000130       THE LAW OFFICES OF PETER T. NICHOLL
SEABREEZE-BEY        SHEILA                MD         24X11000927       THE LAW OFFICES OF PETER T. NICHOLL                  SHARP                ROOSEVELT             VA         01635             THE LAW OFFICES OF PETER T. NICHOLL
SEAY                 ALVIN P               VA         740CL99001890     THE LAW OFFICES OF PETER T. NICHOLL                  SHARPE               JAMES                 VA         700CL0437624T05   THE LAW OFFICES OF PETER T. NICHOLL
SEDGWICK             CARL C                VA         740CL0200055000   THE LAW OFFICES OF PETER T. NICHOLL                  SHARPE               SHIRLEY               MD         24X02001778       THE LAW OFFICES OF PETER T. NICHOLL
SEDGWICK             LEON H                VA         700CL0233219H02   THE LAW OFFICES OF PETER T. NICHOLL                  SHARPE               TYRONE R              MD         24X02001778       THE LAW OFFICES OF PETER T. NICHOLL
SEEGERS              JAMES C               VA         740CL0200055100   THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 ALETHIA A             MD         24X01001354       THE LAW OFFICES OF PETER T. NICHOLL
SEEGRAVES            LOUIS W               VA         740CL0100212900   THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 AMMIE L               VA         700CL0539588H02   THE LAW OFFICES OF PETER T. NICHOLL
SEELY                LUTHER J              VA         740CL0300120000   THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 CHARLES C             VA         0028920V05        THE LAW OFFICES OF PETER T. NICHOLL
SEELY                SHARON                VA         700CL0539402J05   THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 CORNELL R             MD         24X05000085       THE LAW OFFICES OF PETER T. NICHOLL
SEIFERT              MARY E                MD         24X06000212       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 DANIEL                MD         24X15000140       THE LAW OFFICES OF PETER T. NICHOLL
SEIVERS              JOYCE E               MD         24X10000492       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 DAVID                 MD         24X01001354       THE LAW OFFICES OF PETER T. NICHOLL
SEIVERS              STANLEY W             MD         24X01001702       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 FREDDIE H             VA         700CL0437747P03   THE LAW OFFICES OF PETER T. NICHOLL
SELANDER             ANTON R               MD         24X08000069       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 GWENDOLYN Z           MD         24X05000064       THE LAW OFFICES OF PETER T. NICHOLL
SELBY                DAVID L               VA         740CL0100348900   THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 HATTIE                MD         24X03000720       THE LAW OFFICES OF PETER T. NICHOLL
SELBY                WALLACE               VA         740CL0200121700   THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 JOHN A                VA         CL9927877H02      THE LAW OFFICES OF PETER T. NICHOLL
SELDON               ERNEST L              VA         29096VC           THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 JOHNNIE B             MD         24X02001772       THE LAW OFFICES OF PETER T. NICHOLL
SELIG                CATHERINE             MD         X01000488         THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 JOHNNIE B             MD         24X08000389       THE LAW OFFICES OF PETER T. NICHOLL
SELIG                WILLIAM A             MD         X01000488         THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 MARY P                MD         24X15000140       THE LAW OFFICES OF PETER T. NICHOLL
SELL                 RAYMOND L             MD         24X01001305       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 NATHANIEL             VA         32071RW           THE LAW OFFICES OF PETER T. NICHOLL
SELLERS              MABLE G               MD         24X05000250       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 NORMA E               MD         24X05000085       THE LAW OFFICES OF PETER T. NICHOLL
SELLERS              RHONDA A              VA         001355            THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 RICHARD J             MD         24X03000720       THE LAW OFFICES OF PETER T. NICHOLL
SEMANCIK             LOUISE                MD         24X10000295       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 RUBY L                MD         24X11000948       THE LAW OFFICES OF PETER T. NICHOLL
SEMENKOW             JUDITH E              MD         24X06000656       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 SHIRLEY M             VA         740CL0000185300   THE LAW OFFICES OF PETER T. NICHOLL
SEMENKOW             NORBERT               MD         24X06000656       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 WESLEY L              MD         24X05000064       THE LAW OFFICES OF PETER T. NICHOLL
SENFT                DAVID L               MD         01000350          THE LAW OFFICES OF PETER T. NICHOLL                  SHAW                 GEORGE R              MD         24X04001146       THE LAW OFFICES OF PETER T. NICHOLL
SENNETT              DEBORAH               MD         24X02000379       THE LAW OFFICES OF PETER T. NICHOLL                  SHAW-FRANKLIN        VIDIUS                MD         24X12000750       THE LAW OFFICES OF PETER T. NICHOLL
SERRALL              GILBERT               MD         X01001119         THE LAW OFFICES OF PETER T. NICHOLL                  SHEARD               CORNELIUS E           MD         24X01000474       THE LAW OFFICES OF PETER T. NICHOLL
SERRALL              VALERIE               MD         X01001119         THE LAW OFFICES OF PETER T. NICHOLL                  SHEARD               EMANUEL               MD         24X04000686       THE LAW OFFICES OF PETER T. NICHOLL
SERVICE              ALBERT H              MD         24X01002044       THE LAW OFFICES OF PETER T. NICHOLL                  SHEARD               ROOSEVELT             VA         700CL0438404J05   THE LAW OFFICES OF PETER T. NICHOLL
SERVICE              KATHLEEN              MD         24X01002044       THE LAW OFFICES OF PETER T. NICHOLL                  SHEARN               EDWARD C              MD         98295508CX1974    THE LAW OFFICES OF PETER T. NICHOLL
SESSIONS             BOYSIE T              MD         24X03001057       THE LAW OFFICES OF PETER T. NICHOLL                  SHEARN               EDWARD C              VA         740CL99001427     THE LAW OFFICES OF PETER T. NICHOLL
SESSOM               MILTON M              VA         29325VC           THE LAW OFFICES OF PETER T. NICHOLL                  SHEARN               JAMES W               VA         740CL0100184700   THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              BERNICE               VA         700CL0539384P03   THE LAW OFFICES OF PETER T. NICHOLL                  SHEARS               JOSHUA B              VA         103800            THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              BOOKER T              VA         29200VA           THE LAW OFFICES OF PETER T. NICHOLL                  SHEARS               RONALD F              MD         24X01002046       THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              ERNEST                VA         740CL0200039600   THE LAW OFFICES OF PETER T. NICHOLL                  SHEENE               DONALD W              VA         740CL0200071800   THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              LINDBERG              VA         740CL9900191300   THE LAW OFFICES OF PETER T. NICHOLL                  SHEESLEY             GRANT H               MD         24X04000379       THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              LINDBERG              VA         700CL0539384P03   THE LAW OFFICES OF PETER T. NICHOLL                  SHEESLEY             JUNE G                MD         24X04000379       THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              VENCIE R              VA         740CL0200053000   THE LAW OFFICES OF PETER T. NICHOLL                  SHELDON              BARRY C               MD         24X11000348       THE LAW OFFICES OF PETER T. NICHOLL
SESSOMS              VERNON                VA         740CL0200056000   THE LAW OFFICES OF PETER T. NICHOLL                  SHELDON              MARY S                MD         24X11000348       THE LAW OFFICES OF PETER T. NICHOLL
SETTLE               RAYMOND L             VA         740CL0000014400   THE LAW OFFICES OF PETER T. NICHOLL                  SHELL                KILEY                 VA         700CL9927945A     THE LAW OFFICES OF PETER T. NICHOLL
SEWARD               JAMES L               VA         CL9927890A04      THE LAW OFFICES OF PETER T. NICHOLL                  SHELLENBERGER        MARGARET              MD         24X14000235       THE LAW OFFICES OF PETER T. NICHOLL
SEWARD               LESLIE                VA         740CL020017740    THE LAW OFFICES OF PETER T. NICHOLL                  SHELLENBERGER        STEWART A             MD         24X14000235       THE LAW OFFICES OF PETER T. NICHOLL
SEWARD               YOLANDA M             MD         24X09000070       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              ALFRIEDA              MD         X01001100         THE LAW OFFICES OF PETER T. NICHOLL
SEXTON               CLIFTON W             VA         001500            THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              BETTY M               MD         24X05000067       THE LAW OFFICES OF PETER T. NICHOLL
SEXTON               LESLIE B              MD         24X09000390       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              DOYLE G               VA         740CL0300002600   THE LAW OFFICES OF PETER T. NICHOLL
SEXTON               OTTO                  VA         28691VA           THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              ELIZABETH             MD         24X05000094       THE LAW OFFICES OF PETER T. NICHOLL
SEXTON               ROBERT                MD         24X09000390       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              GEORGE B              MD         24X06000136       THE LAW OFFICES OF PETER T. NICHOLL
SEYMOUR              HENRY S               VA         700CL0232325C03   THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              JAMES                 MD         24X05000094       THE LAW OFFICES OF PETER T. NICHOLL
SGROI                AGNES                 MD         24X01001579       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              ROBERT JR             MD         24X04001013       THE LAW OFFICES OF PETER T. NICHOLL
SGROI                JOSEPH J              MD         24X01001579       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              ROBERT JR             MD         24X05000517       THE LAW OFFICES OF PETER T. NICHOLL
SGROI                RICHARD G             MD         24X01001579       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              ROBERT W              MD         X01001100         THE LAW OFFICES OF PETER T. NICHOLL
SHACKLEFORD          CAROLYN               MD         24X02001248       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              SARAH M               MD         X01000490         THE LAW OFFICES OF PETER T. NICHOLL
SHACKLEFORD          ROBERT                MD         24X02001248       THE LAW OFFICES OF PETER T. NICHOLL                  SHELTON              TONEY                 MD         X01000490         THE LAW OFFICES OF PETER T. NICHOLL
SHADEED              YAHYA                 MD         24X02002291       THE LAW OFFICES OF PETER T. NICHOLL                  SHEPARD              CLIFFORD F            MD         24X06000549       THE LAW OFFICES OF PETER T. NICHOLL
SHADUK               JOHN                  MD         24X13000003       THE LAW OFFICES OF PETER T. NICHOLL                  SHEPARD              JANET                 MD         24X06000549       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 807
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 142 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SHEPHERD             COLLINS J             MD         24X14000361       THE LAW OFFICES OF PETER T. NICHOLL                  SILCOX               DENNIS K              VA         740CL0100209600   THE LAW OFFICES OF PETER T. NICHOLL
SHEPHERD             ERNESTINE             MD         24X14000361       THE LAW OFFICES OF PETER T. NICHOLL                  SILLS                DANIEL R              MD         24X01001824       THE LAW OFFICES OF PETER T. NICHOLL
SHEPPARD             JAMES S               VA         29606RW           THE LAW OFFICES OF PETER T. NICHOLL                  SILLS                ERNEST                VA         700CL0232752H02   THE LAW OFFICES OF PETER T. NICHOLL
SHEPPARD             WALTER W              VA         740CL0300025100   THE LAW OFFICES OF PETER T. NICHOLL                  SILLS                LINWOOD E             VA         28990VA           THE LAW OFFICES OF PETER T. NICHOLL
SHEPPARD             WILLARD N             VA         0028865A04        THE LAW OFFICES OF PETER T. NICHOLL                  SILLS                MAXINE                MD         24X01001824       THE LAW OFFICES OF PETER T. NICHOLL
SHERIDAN             CATHERINE A           MD         98261508CX1732    THE LAW OFFICES OF PETER T. NICHOLL                  SILVA                KATHERINE             MD         98310509CX2087    THE LAW OFFICES OF PETER T. NICHOLL
SHERIDAN             JERRY L               VA         29637VC           THE LAW OFFICES OF PETER T. NICHOLL                  SILVA                MELVIN V              MD         98310509CX2087    THE LAW OFFICES OF PETER T. NICHOLL
SHERMAN              CARL A                MD         24X15000317       THE LAW OFFICES OF PETER T. NICHOLL                  SILVER               CLAYTON L             VA         29122VC           THE LAW OFFICES OF PETER T. NICHOLL
SHERMAN              JEAN A                MD         24X15000317       THE LAW OFFICES OF PETER T. NICHOLL                  SILVER               FLOYD                 VA         700CL0438405T01   THE LAW OFFICES OF PETER T. NICHOLL
SHERMAN              JOHN M                VA         9100              THE LAW OFFICES OF PETER T. NICHOLL                  SILVER               JEREMIAH J            VA         700CL0337486H02   THE LAW OFFICES OF PETER T. NICHOLL
SHERMAN              LEWIS                 VA         740CL0300025200   THE LAW OFFICES OF PETER T. NICHOLL                  SILVER               MICHAEL L             VA         32072VC           THE LAW OFFICES OF PETER T. NICHOLL
SHERMAN              ROBERT W              VA         01765             THE LAW OFFICES OF PETER T. NICHOLL                  SILVER               OTIS M                VA         CL9928004W01      THE LAW OFFICES OF PETER T. NICHOLL
SHERROD              BOBBIE H              MD         24X97206506       THE LAW OFFICES OF PETER T. NICHOLL                  SILVER               VERNON                VA         740CL0100347100   THE LAW OFFICES OF PETER T. NICHOLL
SHERROD              DONNELL               MD         X01001104         THE LAW OFFICES OF PETER T. NICHOLL                  SILVER-EL            CLINTON M             MD         24X03000888       THE LAW OFFICES OF PETER T. NICHOLL
SHERROD              SHIRLEY S             MD         24X97206506       THE LAW OFFICES OF PETER T. NICHOLL                  SILVER-EL            SANDRA                MD         24X03000888       THE LAW OFFICES OF PETER T. NICHOLL
SHEWBRIDGE           PATRICIA A            MD         24X05000158       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMERS              DANIEL R              MD         24X03000324       THE LAW OFFICES OF PETER T. NICHOLL
SHIELDS              DONALD R              VA         740CL0100179300   THE LAW OFFICES OF PETER T. NICHOLL                  SIMMERS              KATHERINE             MD         24X03000324       THE LAW OFFICES OF PETER T. NICHOLL
SHIELDS              JOHN R JR             MD         98402444          THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              ALBERT L              VA         740CL0300097200   THE LAW OFFICES OF PETER T. NICHOLL
SHIELDS              MARY                  MD         98402444          THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              AUDREY                MD         24X04001118       THE LAW OFFICES OF PETER T. NICHOLL
SHIELDS              RAYMOND F             MD         98268505CX1806    THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              BERNARD J             MD         24X04001020       THE LAW OFFICES OF PETER T. NICHOLL
SHIELDS              RAYMOND W             VA         740CL0200113900   THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              BETTY LOU             MD         24X01001664       THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            DAVID W               MD         98247511CX1690    THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              DOROTHY               MD         98212511CX1531    THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            GENEVA M              MD         24X09000394       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              FLOYD A               MD         24X04001118       THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            GENEVA M              MD         24X09000391       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              FLOYD W               MD         24X01001664       THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            JAMES M               MD         98254517CX1717    THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              FLOYD W JR            MD         24X01001664       THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            JULIAN W              MD         24X09000391       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              GERALD A              MD         24X02001122       THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            JULIAN W              MD         24X09000394       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              HAROLD A              MD         24X06000665       THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            MARY H                MD         98254517CX1717    THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              HAROLD E              VA         700CL232326W01    THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            PATRICIA              MD         98232502CX1621    THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              JC                    VA         29424RW           THE LAW OFFICES OF PETER T. NICHOLL
SHIFFLETT            WILLIAM J             MD         98232502CX1621    THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              JESSE J               VA         740CL0100187000   THE LAW OFFICES OF PETER T. NICHOLL
SHIFLETT             MATTIE L              MD         24X02002703       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              JOHN M                MD         24X10000137       THE LAW OFFICES OF PETER T. NICHOLL
SHIFLETT             SEIBERT               MD         24X02002703       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              JOSEPH L              MD         98212511CX1531    THE LAW OFFICES OF PETER T. NICHOLL
SHIFLETT             WILLIAM R             MD         24X16000143       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              LARRY D               VA         99001986          THE LAW OFFICES OF PETER T. NICHOLL
SHILOW               BARTON R              MD         24X01002119       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              LARRY E               VA         740CL0100192700   THE LAW OFFICES OF PETER T. NICHOLL
SHILOW               JEAN                  MD         24X01002119       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              MOSES                 VA         CL9927855W01      THE LAW OFFICES OF PETER T. NICHOLL
SHINDEL              LEONARD R             MD         24X02001854       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              VERA                  MD         24X02001122       THE LAW OFFICES OF PETER T. NICHOLL
SHINDEL              MAXINE                MD         24X02001854       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              WILLIAM T             VA         0028909A04        THE LAW OFFICES OF PETER T. NICHOLL
SHIPMAN              RUSSELL E             MD         24X12000657       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMONS              JOAN E                MD         24X04001020       THE LAW OFFICES OF PETER T. NICHOLL
SHIRD                RODNEY                VA         740CL0100132000   THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                CHESTER               MD         24X02000973       THE LAW OFFICES OF PETER T. NICHOLL
SHIVE                SUSAN L               MD         24X03000282       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                CLARENCE E            MD         24X04001117       THE LAW OFFICES OF PETER T. NICHOLL
SHIVERS              CALVIN                MD         24X01001971       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                CLARENCE W            MD         X01000516         THE LAW OFFICES OF PETER T. NICHOLL
SHIVERS              JOHN M                VA         700CL0232490V05   THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                CLARENCE W            MD         24X06000433       THE LAW OFFICES OF PETER T. NICHOLL
SHOEMAKER            HOWARD C              MD         24X04000625       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                JANE                  MD         24X02001059       THE LAW OFFICES OF PETER T. NICHOLL
SHOEMAKER            SHIRLEY               MD         24X04000625       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                JANE                  MD         24X07000352       THE LAW OFFICES OF PETER T. NICHOLL
SHORT                EUGENE L              MD         24X12001010       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                JOANN                 MD         24X04001117       THE LAW OFFICES OF PETER T. NICHOLL
SHORT                RANDOLPH              VA         700CL9927844V05   THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                LAWRENCE C            MD         24X02001059       THE LAW OFFICES OF PETER T. NICHOLL
SHOTTON              FRANCES G             VA         021938            THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                LAWRENCE C            MD         24X07000352       THE LAW OFFICES OF PETER T. NICHOLL
SHOULARS             JIMMY L               VA         740CL01001881     THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                LOUISE                MD         X01000516         THE LAW OFFICES OF PETER T. NICHOLL
SHOUSE               LARRY W               VA         700CL0233125A04   THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                LOUISE A              MD         24X06000433       THE LAW OFFICES OF PETER T. NICHOLL
SHOWELL              ELAINE V              MD         24X02001779       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                MADELINE              MD         24X02000973       THE LAW OFFICES OF PETER T. NICHOLL
SHOWELL              JOSEPH                MD         24X02001779       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                TILLMAN               VA         740CL0300002700   THE LAW OFFICES OF PETER T. NICHOLL
SHREVE               PAUL R                MD         24X10000502       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                WALTER                VA         30040VA           THE LAW OFFICES OF PETER T. NICHOLL
SHREVE               SUSAN D               MD         24X10000502       THE LAW OFFICES OF PETER T. NICHOLL                  SIMMS                WILLIAM L             MD         24X04000231       THE LAW OFFICES OF PETER T. NICHOLL
SHREWBRIDGE          WILLIAM S             MD         24X05000158       THE LAW OFFICES OF PETER T. NICHOLL                  SIMON                PAUL                  MD         X98402493         THE LAW OFFICES OF PETER T. NICHOLL
SHREWSBURY           JAMES M               MD         24X02000811       THE LAW OFFICES OF PETER T. NICHOLL                  SIMONS               JIM D                 VA         740CL0100311100   THE LAW OFFICES OF PETER T. NICHOLL
SHREWSBURY           ROBIN                 MD         24X02000811       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPKINS             MELVIN                MD         98162513CX1174    THE LAW OFFICES OF PETER T. NICHOLL
SHROPSHIRE           CHALMERS J            MD         24X15000452       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              ARLINGTON H           VA         700CL0438705V04   THE LAW OFFICES OF PETER T. NICHOLL
SHROPSHIRE           CHALMERS J            MD         24X05000721       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              BONNIE J              MD         24X03001043       THE LAW OFFICES OF PETER T. NICHOLL
SHULER               MAYLOY                MD         24X02002297       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              CHARLES               MD         24X03001043       THE LAW OFFICES OF PETER T. NICHOLL
SHULER               MAYLOY                MD         24X05000153       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              GEORGE E              MD         24X10000109       THE LAW OFFICES OF PETER T. NICHOLL
SHULER               RUBY                  MD         24X02002297       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              GRETCHEN              MD         24X03001043       THE LAW OFFICES OF PETER T. NICHOLL
SHULER               RUBY C                MD         24X05000153       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              LAWRENCE              MD         24X02002278       THE LAW OFFICES OF PETER T. NICHOLL
SHUMAKER             LEROY H               VA         6028868W01        THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              LEE A                 MD         24X03001043       THE LAW OFFICES OF PETER T. NICHOLL
SHUMATE              KAREN K               VA         29840VC           THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              LESLIE G              VA         32073VA           THE LAW OFFICES OF PETER T. NICHOLL
SIBREA               JOHN E                MD         24X03000949       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              MARGARET              MD         24X03001043       THE LAW OFFICES OF PETER T. NICHOLL
SIEGEL               JAMES H               MD         24X05000468       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              RICHARD L             VA         01636             THE LAW OFFICES OF PETER T. NICHOLL
SIEGEL               JAMES M               MD         24X02000888       THE LAW OFFICES OF PETER T. NICHOLL                  SIMPSON              STEVEN L              VA         29201VC           THE LAW OFFICES OF PETER T. NICHOLL
SIEGEL               PHYLLIS               MD         24X05000468       THE LAW OFFICES OF PETER T. NICHOLL                  SINADACH             ROBERT P              MD         24X01001654       THE LAW OFFICES OF PETER T. NICHOLL
SIEGEL               PHYLLIS               MD         24X02000888       THE LAW OFFICES OF PETER T. NICHOLL                  SINADACH             ROSALIE S             MD         24X01001654       THE LAW OFFICES OF PETER T. NICHOLL
SIELICKI             ADAM P                MD         X01000186         THE LAW OFFICES OF PETER T. NICHOLL                  SINCLAIR             LACY W                MD         98233502CX1628    THE LAW OFFICES OF PETER T. NICHOLL
SIGMOND              MITCHELL M            VA         29765VA           THE LAW OFFICES OF PETER T. NICHOLL                  SINES                CECIL R               MD         24X03000566       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 808
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 143 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SINES                JANET                 MD         24X03000566       THE LAW OFFICES OF PETER T. NICHOLL                  SMALLEY              PHILLIP B             MD         24X97330503       THE LAW OFFICES OF PETER T. NICHOLL
SINES                NORMAN I              MD         24X11000929       THE LAW OFFICES OF PETER T. NICHOLL                  SMALLS               SONJIA D              MD         24X02001087       THE LAW OFFICES OF PETER T. NICHOLL
SINGH                GURPREET              VA         29576RW           THE LAW OFFICES OF PETER T. NICHOLL                  SMALLWOOD            JAMES EARL            VA         740CL0300168000   THE LAW OFFICES OF PETER T. NICHOLL
SINGLETARY           ANDREW                MD         24X02000291       THE LAW OFFICES OF PETER T. NICHOLL                  SMALLWOOD            LEMON J JR            VA         99001988          THE LAW OFFICES OF PETER T. NICHOLL
SINGLETARY           ESSIE                 MD         24X02000291       THE LAW OFFICES OF PETER T. NICHOLL                  SMALLWOOD            ROOSEVELT             VA         29326VA           THE LAW OFFICES OF PETER T. NICHOLL
SINGLETERRY          SYLVESTER M           MD         24X01001425       THE LAW OFFICES OF PETER T. NICHOLL                  SMARR                JEWELL E              MD         98148511CX1061    THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            BLANCHE               MD         24X13000114       THE LAW OFFICES OF PETER T. NICHOLL                  SMART                LEWIS T               MD         98329509CX2234    THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            CLYDE L               VA         700CL0233137W01   THE LAW OFFICES OF PETER T. NICHOLL                  SMART                MARLENE T             MD         98329509CX2234    THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            GEORGE R              MD         24X13000114       THE LAW OFFICES OF PETER T. NICHOLL                  SMELSER              BONNIE                MD         24X10000402       THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            HENRY O               VA         29625RC           THE LAW OFFICES OF PETER T. NICHOLL                  SMELTZER             ELWOOD F              MD         24X04000381       THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            JAMES W               VA         740CL0300167800   THE LAW OFFICES OF PETER T. NICHOLL                  SMIDDY               CHARLES W             MD         24X03000811       THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            THOMAS W              VA         29425VC           THE LAW OFFICES OF PETER T. NICHOLL                  SMILEY               EDITH                 MD         X99000244         THE LAW OFFICES OF PETER T. NICHOLL
SINGLETON            VERONICA A            VA         29996EH           THE LAW OFFICES OF PETER T. NICHOLL                  SMILEY               JAMES E               MD         X99000244         THE LAW OFFICES OF PETER T. NICHOLL
SINGLEY              HOWARD B              MD         24X03000595       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ADDIE                 MD         98338538CX2362    THE LAW OFFICES OF PETER T. NICHOLL
SINKLER              ANNIE                 MD         98169519CX1256    THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ADRIAN C              VA         002157            THE LAW OFFICES OF PETER T. NICHOLL
SINKLER              THOMAS L              MD         98169519CX1256    THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ALBERT                VA         001610            THE LAW OFFICES OF PETER T. NICHOLL
SINSEL               JAMES H               MD         24X06000408       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ALFRED C              VA         740CL0200051700   THE LAW OFFICES OF PETER T. NICHOLL
SINSEL               PATRICIA L            MD         24X06000408       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ALLEN K               MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
SIPEREK              ALLEN G               MD         24X11000158       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ALPHONSO              VA         740CL0100175700   THE LAW OFFICES OF PETER T. NICHOLL
SIPEREK              TERESA                MD         24X11000158       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ALPHONSO L            VA         0084400           THE LAW OFFICES OF PETER T. NICHOLL
SIPPLE               RUFUS A               VA         01931             THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                AMANDA L              MD         24X15000550       THE LAW OFFICES OF PETER T. NICHOLL
SIRKEL               JESS R                MD         24X17000524       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                AMANDA L              MD         24X11000155       THE LAW OFFICES OF PETER T. NICHOLL
SITES                JAMES H               VA         740CL0200041800   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ANTHONY B             MD         24X01000475       THE LAW OFFICES OF PETER T. NICHOLL
SIVACEK              MICHAEL J             VA         700CL0235623H02   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ARNOLD K              MD         24X12000628       THE LAW OFFICES OF PETER T. NICHOLL
SIZEMORE             BERNADINE W           MD         24X05000018       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ARNOLD O              VA         700CL0437874H02   THE LAW OFFICES OF PETER T. NICHOLL
SIZEMORE             JAMES H               MD         24X05000018       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ARTHUR K              MD         24X02002275       THE LAW OFFICES OF PETER T. NICHOLL
SKATES               ROBERT W              MD         24X04001138       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ARTHUR R              VA         700CLO438376P03   THE LAW OFFICES OF PETER T. NICHOLL
SKATES               ZERITA L              MD         24X04001138       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ARVIS W               VA         740CL0200121800   THE LAW OFFICES OF PETER T. NICHOLL
SKELTON              BERNARD               MD         24X03000599       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BARRY A               MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
SKELTON              JULIA                 MD         24X03000599       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BENJAMIN              VA         740CL0000179700   THE LAW OFFICES OF PETER T. NICHOLL
SKETERS              CHARLES               MD         24X01001522       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BESSIE B              MD         24X01001868       THE LAW OFFICES OF PETER T. NICHOLL
SKIDMORE             LARRY M               MD         24X03000345       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BETTY J               MD         24X04000503       THE LAW OFFICES OF PETER T. NICHOLL
SKIDMORE             SUSAN                 MD         24X03000345       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BETTYE M              MD         98320507CX2172    THE LAW OFFICES OF PETER T. NICHOLL
SKINNER              AARON                 VA         740CL0100121500   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BOBBY W               VA         700CL0438012W01   THE LAW OFFICES OF PETER T. NICHOLL
SKINNER              DOROTHY M             VA         740CL0300097300   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                BORIS D               MD         24X02000387       THE LAW OFFICES OF PETER T. NICHOLL
SKINNER              EUGENE                MD         24X01001519       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CALVIN                VA         013181            THE LAW OFFICES OF PETER T. NICHOLL
SKWIRUT              LAURIE                MD         24X02000389       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CALVIN N              MD         24X02001396       THE LAW OFFICES OF PETER T. NICHOLL
SKWIRUT              LOUIS M               MD         24X02000389       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CALVIN R              MD         X01001158         THE LAW OFFICES OF PETER T. NICHOLL
SLADE                ALVANIA F             MD         24X01000730       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CARLTON O.L.          MD         X01001115         THE LAW OFFICES OF PETER T. NICHOLL
SLADE                JOHN W                VA         740CL0300099000   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CAROL L               MD         24X11000242       THE LAW OFFICES OF PETER T. NICHOLL
SLADE                JOHN W                VA         700CL0539560J05   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CARROLL M             MD         24X02002293       THE LAW OFFICES OF PETER T. NICHOLL
SLADE                JOSEPH                MD         24X01000730       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CATHRYN A             MD         24X04000899       THE LAW OFFICES OF PETER T. NICHOLL
SLADE                LARRY A               VA         740CL0200126200   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CHARLES R             VA         740CL0200048300   THE LAW OFFICES OF PETER T. NICHOLL
SLADE                LINWOOD L             VA         740CL0100345400   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CHESTER R             VA         740CL0200066000   THE LAW OFFICES OF PETER T. NICHOLL
SLADE                SPENCER T             VA         740CL0100143100   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CHRISTOPHER A         VA         740CL0300018800   THE LAW OFFICES OF PETER T. NICHOLL
SLADE                THOMAS                VA         29350VC           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CLARENCE              MD         24X02002716       THE LAW OFFICES OF PETER T. NICHOLL
SLADE                THOMAS                VA         29426VA           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CLYDE F               MD         98295509CX1975    THE LAW OFFICES OF PETER T. NICHOLL
SLADE                WILLARD               VA         740CL0300167900   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CORNELL               VA         740CL0100091800   THE LAW OFFICES OF PETER T. NICHOLL
SLATER               DORIS                 MD         24X05000052       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CURTIS                VA         740CL0200041700   THE LAW OFFICES OF PETER T. NICHOLL
SLATER               FRANKLIN A            MD         24X05000052       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                CYNTHIA               MD         98232503CX1622    THE LAW OFFICES OF PETER T. NICHOLL
SLATTER              IVAN W                VA         740C0200193100    THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DAISY                 MD         24X02000104       THE LAW OFFICES OF PETER T. NICHOLL
SLAYTON              JOHNNIE J             VA         28210EH           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DANIEL P              MD         98295512CX1978    THE LAW OFFICES OF PETER T. NICHOLL
SLAYTON              LEWIS E               VA         740CL0100311900   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DANIEL R              MD         24X09000099       THE LAW OFFICES OF PETER T. NICHOLL
SLAYTON              LINWOOD P             VA         740CL0100209700   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DARLENE               MD         24X01002058       THE LAW OFFICES OF PETER T. NICHOLL
SLEDGE               WILLIAM A             VA         740CL0200357100   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DARNICE               MD         X01001115         THE LAW OFFICES OF PETER T. NICHOLL
SLEMP                WILLIAM B             VA         740CL0300026500   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DAVID A               MD         24X01001195       THE LAW OFFICES OF PETER T. NICHOLL
SLEZAK               RONALD S              VA         740CL0000195600   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DELMA M               MD         24X06000237       THE LAW OFFICES OF PETER T. NICHOLL
SLICER               BETTY                 MD         24X02001775       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DERYLE T              MD         24X04000771       THE LAW OFFICES OF PETER T. NICHOLL
SLICER               JACOB R               MD         24X02001775       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DESI R                MD         24X05000040       THE LAW OFFICES OF PETER T. NICHOLL
SLIGHT               CAROLYN S             VA         740CL0200177500   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DIANE                 MD         24X04000883       THE LAW OFFICES OF PETER T. NICHOLL
SLUSHER              WILLIAM J             MD         24X15000137       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DONALD                VA         740CL99001922     THE LAW OFFICES OF PETER T. NICHOLL
SMALL                BRIAN KEITH           MD         24X03001063       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                DONALD L              VA         740CL0300018900   THE LAW OFFICES OF PETER T. NICHOLL
SMALL                DENNIS ALFRED         MD         24X03001063       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EE                    VA         740CL0100206700   THE LAW OFFICES OF PETER T. NICHOLL
SMALL                JAMES T               VA         30163RC           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EARL H                MD         24X02002359       THE LAW OFFICES OF PETER T. NICHOLL
SMALL                JOEL MAURICE          MD         24X03001063       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EARL R                MD         24X03000433       THE LAW OFFICES OF PETER T. NICHOLL
SMALL                JOHNNY E              MD         24X03000041       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EARL R                MD         24X05000013       THE LAW OFFICES OF PETER T. NICHOLL
SMALL                JOSEPH                MD         24X03001063       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EBONY                 MD         24X05000040       THE LAW OFFICES OF PETER T. NICHOLL
SMALL                MARIE M               MD         24X03001063       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EDONNA                MD         24X01001698       THE LAW OFFICES OF PETER T. NICHOLL
SMALL                WILLIAM F             VA         700CL0232103A04   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EDWARD                VA         740CL0000046100   THE LAW OFFICES OF PETER T. NICHOLL
SMALLEY              JANET                 MD         24X97330503       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EDWARD J              MD         24X02002296       THE LAW OFFICES OF PETER T. NICHOLL
SMALLEY              JANET E               MD         24X05000752       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                EDWARD L              VA         740CL0100145300   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 809
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 144 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SMITH                ELBERT H              VA         700CL0337333V04   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                PATRICIA              MD         98279504CX1876    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                ELIJAH J              VA         28005VA           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                PATRICIA              MD         X98402620         THE LAW OFFICES OF PETER T. NICHOLL
SMITH                ELSIE                 MD         24X05000040       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                PERCY JR              MD         98320507CX2172    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                ERNEST S              MD         24X01001568       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                PERNELL D             VA         740CL0200073400   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                ESTHER M              MD         24X04000896       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                PRINCE A              VA         740CL0100170500   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                EUGENE D              MD         24X02002226       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RALPH A               MD         98163547CX1226    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                FLORA                 MD         24X06000195       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RAYMOND P             MD         24X02002595       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                FOSTER L              VA         740CL0100348800   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                REGINALD C            MD         24X01001413       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                G PATRICIA            MD         24X02002595       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RHONDA                MD         24X17000173       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GARRY D               MD         24X01001327       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RICHARD               VA         740CL0100091900   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GENEVA                MD         24X05000013       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RICHARD G             MD         98402589          THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GENEVA                MD         24X03000433       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RICKY A               MD         24X17000173       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE                MD         24X01001973       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ROBERT I              MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE A              MD         24X17000173       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ROSA MARIA            MD         24X01002048       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE D              VA         700CL0233209H02   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ROSE                  MD         98310508CX2086    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE E              MD         98289512CX1924    THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ROSLYN                MD         24X02002296       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE H              VA         700CL0235803A04   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                ROY T                 MD         X98402620         THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE H              MD         24X01001975       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RUDY D                MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GEORGE L              VA         740CL0100171300   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RUSSELL F             MD         24X01001712       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GILBERT A JR          MD         98225510CX1594    THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RUSSELL F             MD         24X01000563       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GLENN D               MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                RUTH                  MD         24X17000173       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GLENN D JR            MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                SAMUEL F              VA         700CL0438030T05   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GRACE                 MD         24X06000713       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                SAMUEL H              MD         24X02000066       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GRACE                 MD         24X01001033       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                SCOTT A               VA         700CL0231975W01   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                GREGORY               MD         24X01002058       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                SHARON                MD         24X01000475       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                HALWIN K              MD         24X11000242       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                SHERMAN D             MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                HARRY C               VA         700CL0233126C03   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                STEPHEN V             MD         98279504CX1876    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                HENRY                 MD         X01000276         THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                STERLING              MD         24X01001400       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                HERMAN                VA         740CL0300115100   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                STEWARD J             VA         30003VC           THE LAW OFFICES OF PETER T. NICHOLL
SMITH                HOWARD R              MD         24X02002363       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                SUSAN                 MD         24X17000514       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                HUDIE                 VA         740CL0100346700   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                TANYA MITCHELL        MD         24X05000040       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                IRMA L                MD         24X15000023       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                TAYLOR W              VA         700CL0232113A04   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                IRVIN L               VA         740CL0100213000   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                THOMAS                VA         740CL0100167000   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JACK K                MD         98232503CX1622    THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                THOMAS L              VA         740CL99001775     THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JAMES                 VA         28688EH           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                THOMAS P              VA         700CL0438735V04   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JAMES E               VA         700CL0235932H02   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                THOMAS S              VA         740CL0200216200   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JAMES H               VA         000090            THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                TYRONE W              VA         740CL0100192800   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JAMES H               MD         24X06000237       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                VICK C                MD         24X01001033       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JAMES T               MD         24X12001087       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WALTER                MD         24X01002048       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JANIS                 MD         98402589          THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WALTER J              MD         24X06000195       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JEROME C              VA         29039EH           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILHELMINA            MD         98310503CX2081    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JOAN                  MD         24X01001568       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM B             VA         700CL0438706H02   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JOHN                  VA         001501            THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM C             VA         740CL9900167800   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JOHN P                MD         98338568          THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM C             VA         001356            THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JOHN R                MD         24X02000633       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM E             MD         24X16000142       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                JOYCE                 MD         24X02000633       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM E             MD         98338538CX2362    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                KARL                  MD         24X17000173       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM E             VA         740CL0100308500   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                KAROY                 VA         740CL0200297200   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM F             MD         24X01001712       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                KEEFE M               VA         740CL0300197900   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM F             MD         24X01000563       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                KIN M                 MD         24X02000380       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM G             MD         24X05000850       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LARRY M               MD         24X02001393       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM H             MD         24X03000844       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LEROY                 MD         24X02000104       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM H             VA         29202EH           THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LEWIS A               MD         24X01001868       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM H             VA         094200            THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LILLIAN               MD         24X04000771       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM H JR          VA         28219VA           THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LINA R                VA         740CL0200314000   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM L             MD         24X01001698       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LOUIS L               VA         740CL0200088300   THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM S             VA         700CL0337477T05   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                LYNNETTE              MD         24X03000844       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIAM V             MD         24X04000883       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MARVIN S              MD         24X04000899       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIE                VA         700CL0337466H02   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MARY                  MD         24X02001396       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIE M              MD         24X02002022       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MELVIN                VA         0028812W01        THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIE M              MD         24X08000420       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MICHAEL H             VA         29351VA           THE LAW OFFICES OF PETER T. NICHOLL                  SMITH                WILLIE S              VA         740CL0200089500   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MICHONNE              MD         24X01001973       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH-BEY            LINDA G               MD         98288506CX1906    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MILTON O              VA         740CL0100348700   THE LAW OFFICES OF PETER T. NICHOLL                  SMITHWICK            PAMELA JO             MD         X01000976         THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MILTON T              MD         24X15000023       THE LAW OFFICES OF PETER T. NICHOLL                  SMITH-WILLIAMS       DENISE                MD         24X12001087       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MITCHELL R            MD         98310508CX2086    THE LAW OFFICES OF PETER T. NICHOLL                  SMITLEY              WILLIAM C             MD         24X16000208       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                MORRIS                MD         98310503CX2081    THE LAW OFFICES OF PETER T. NICHOLL                  SMOOT                ANTHONY A             MD         24X12001012       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                NELLIE                MD         24X02002226       THE LAW OFFICES OF PETER T. NICHOLL                  SMOOT                GERALDINE             MD         24X12001012       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                NURIEL                MD         X01000276         THE LAW OFFICES OF PETER T. NICHOLL                  SMOOTH               MICHAEL N             MD         24X01001694       THE LAW OFFICES OF PETER T. NICHOLL
SMITH                OCIE B                VA         700CL0438031P03   THE LAW OFFICES OF PETER T. NICHOLL                  SNEAD                EUGENE                MD         98289511CX1923    THE LAW OFFICES OF PETER T. NICHOLL
SMITH                ORBIN S               VA         740CL0300029900   THE LAW OFFICES OF PETER T. NICHOLL                  SNEAD                HOMER G               VA         700CL0232491A04   THE LAW OFFICES OF PETER T. NICHOLL
SMITH                OTIS H                VA         740CL0100213100   THE LAW OFFICES OF PETER T. NICHOLL                  SNEAD                JESSIE                MD         24X02000386       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 810
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 145 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SNEAD                JOSEPH                VA         29105VA           THE LAW OFFICES OF PETER T. NICHOLL                  SPELLER              LEON                  VA         700CL0235805W01   THE LAW OFFICES OF PETER T. NICHOLL
SNEED                GEORGE                VA         740CL0300199300   THE LAW OFFICES OF PETER T. NICHOLL                  SPELLER              NATHANIEL             VA         28065EH           THE LAW OFFICES OF PETER T. NICHOLL
SNEED                JAMES C               MD         24X06000245       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCE               DAISEY                MD         X00000338         THE LAW OFFICES OF PETER T. NICHOLL
SNIADACH             ROBERT P              MD         24X06000449       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCE               DAISY M               MD         24X06000563       THE LAW OFFICES OF PETER T. NICHOLL
SNIADACH             ROSALIE S             MD         24X06000449       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCE               EDWARD E              MD         X00000338         THE LAW OFFICES OF PETER T. NICHOLL
SNIPE                MICHAEL               MD         98344504CX2426    THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              BILLY R               VA         740CL0100312000   THE LAW OFFICES OF PETER T. NICHOLL
SNOWDEN              ANTHONY B             MD         24X04001158       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              BOBBY W               VA         740CL0100141100   THE LAW OFFICES OF PETER T. NICHOLL
SNOWDEN              WESLEY W              MD         24X14000244       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              CAROLYN               MD         24X02000889       THE LAW OFFICES OF PETER T. NICHOLL
SNOWDEN              WILLIAM C             VA         740CL0200215700   THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              CHARLES S             MD         24X02000889       THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               CHARLES E             MD         24X12000856       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              DAVID H               MD         98309510CX2070    THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               JAMES F               VA         700CL0235615C03   THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              DAVID M               MD         X98402605         THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               ROBERT C              VA         32501VA           THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              DOLORES A             MD         X98402605         THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               SHEILA                MD         24X02001479       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              GARRISON E            MD         24X01002118       THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               TRESSIE V             MD         X99000077         THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              GARY W                VA         700CL0233199H02   THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               WILLIAM R             MD         24X02001479       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              GRADY                 MD         X01000410         THE LAW OFFICES OF PETER T. NICHOLL
SNYDER               WILLIAM W             MD         24X13000746       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              HENSON                MD         24X01001379       THE LAW OFFICES OF PETER T. NICHOLL
SOBLOTNE             GLENDA                MD         98402587          THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              JAMES                 VA         002158            THE LAW OFFICES OF PETER T. NICHOLL
SOBLOTNE             ROBERT D              MD         98402587          THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              LORRAINE E            MD         24X02000721       THE LAW OFFICES OF PETER T. NICHOLL
SOFSKY               EDWIN A               MD         98162502CX1163    THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              MARY L                VA         700CL0539403T01   THE LAW OFFICES OF PETER T. NICHOLL
SOLLON               DESPINA M             MD         24X13000002       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              ODELL                 MD         98309510CX2070    THE LAW OFFICES OF PETER T. NICHOLL
SOLLON               JAMES S               MD         24X07000429       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              PRISCELLA             MD         24X01001379       THE LAW OFFICES OF PETER T. NICHOLL
SOLLON               NICHOLAS S            MD         24X13000002       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              RACHEL                MD         X01000700         THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              BESSIE M              VA         700CL0539589V04   THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              ROBERT L              MD         24X02000721       THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              CHARLIE               VA         740CL0100185800   THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              ROOSEVELT M           MD         X01000700         THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              KENNETH               MD         98317507CX2138    THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              WALTER L              VA         740CL0200116900   THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              KENNETH H             MD         24X13000706       THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              WILLIAM P             MD         24X13000606       THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              NORMAN G              MD         X99000055         THE LAW OFFICES OF PETER T. NICHOLL                  SPENCER              WILLIE E              VA         740CL0200087700   THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              SARAH                 MD         X99000055         THE LAW OFFICES OF PETER T. NICHOLL                  SPERANZELLA          JAMES T               MD         01000226          THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              WANDA                 MD         24X10000187       THE LAW OFFICES OF PETER T. NICHOLL                  SPERANZELLA          JOYCE                 MD         01000226          THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              WENDY L               MD         98317507CX2138    THE LAW OFFICES OF PETER T. NICHOLL                  SPIVEY               FLOYD J               VA         001802            THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              WILLIAM P             VA         740CL0100175800   THE LAW OFFICES OF PETER T. NICHOLL                  SPIVEY               JOHN L                VA         740CL0100140400   THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              WILLIAM P             VA         700CL0539589V04   THE LAW OFFICES OF PETER T. NICHOLL                  SPIVEY               THOMAS T              VA         0088700           THE LAW OFFICES OF PETER T. NICHOLL
SOLOMON              WILLIE L              VA         700CL0539413T01   THE LAW OFFICES OF PETER T. NICHOLL                  SPIVEY               WILLIAM B             VA         740CL0200314100   THE LAW OFFICES OF PETER T. NICHOLL
SOMERVILLE           ALICE                 MD         98232505CX1624    THE LAW OFFICES OF PETER T. NICHOLL                  SPLAIN               BARBARA               MD         24X01001857       THE LAW OFFICES OF PETER T. NICHOLL
SOMERVILLE           ALICE R               MD         24X06000540       THE LAW OFFICES OF PETER T. NICHOLL                  SPLAIN               LONNIE                MD         24X01001857       THE LAW OFFICES OF PETER T. NICHOLL
SOMERVILLE           BESSIE                MD         24X05000016       THE LAW OFFICES OF PETER T. NICHOLL                  SPONAUGLE            RICHARD M             MD         98142509CX1031    THE LAW OFFICES OF PETER T. NICHOLL
SOMERVILLE           WARREN R              MD         98232505CX1624    THE LAW OFFICES OF PETER T. NICHOLL                  SPORIK               JOHN J                MD         24X02002593       THE LAW OFFICES OF PETER T. NICHOLL
SOMERVILLE           WILLIAM H             MD         98169511CX1248    THE LAW OFFICES OF PETER T. NICHOLL                  SPORIK               SHARON                MD         24X02002593       THE LAW OFFICES OF PETER T. NICHOLL
SORIANO              FERNANDO B            VA         740CL0300115800   THE LAW OFFICES OF PETER T. NICHOLL                  SPORTS               DOROTHY               MD         X01000699         THE LAW OFFICES OF PETER T. NICHOLL
SORRELL              REX M                 VA         0116400           THE LAW OFFICES OF PETER T. NICHOLL                  SPORTS               TERRY A               MD         X01000699         THE LAW OFFICES OF PETER T. NICHOLL
SOTER                PAUL W                VA         30164VC           THE LAW OFFICES OF PETER T. NICHOLL                  SPRAGAN              JAMES                 VA         740CL0200033100   THE LAW OFFICES OF PETER T. NICHOLL
SOTHEN               DENVER L              MD         24X02002720       THE LAW OFFICES OF PETER T. NICHOLL                  SPRAGAN              JOSEPH                VA         740CL0300002800   THE LAW OFFICES OF PETER T. NICHOLL
SOTHEN               DENVER L              MD         24X04001111       THE LAW OFFICES OF PETER T. NICHOLL                  SPRAGLEY             SYVALUS               VA         700CL9927845W01   THE LAW OFFICES OF PETER T. NICHOLL
SOTHEN               MARGARET              MD         24X02002720       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             ALVIN B               VA         700CL0235883A04   THE LAW OFFICES OF PETER T. NICHOLL
SOTHEN               MARGARET F            MD         24X04001111       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             BILLY W               MD         X01000855         THE LAW OFFICES OF PETER T. NICHOLL
SOWARDS              LINDA S               MD         24X09000055       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             GEORGE D              VA         31843RW           THE LAW OFFICES OF PETER T. NICHOLL
SPADY                LARRY L               VA         740CL0100329500   THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             JAMES O               VA         740CL0200089600   THE LAW OFFICES OF PETER T. NICHOLL
SPADY                WILLIAM C             VA         740CL0100329600   THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             JOHN L                VA         700CL0337457T05   THE LAW OFFICES OF PETER T. NICHOLL
SPAKE                JAMES B               MD         98170502CX1258    THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             LINWOOD J             VA         700CL0437758W01   THE LAW OFFICES OF PETER T. NICHOLL
SPAKE                JAMES B               MD         24X08000344       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             LITTLETON             VA         740CL0100311200   THE LAW OFFICES OF PETER T. NICHOLL
SPAKE                WILLIAM B             MD         98170502CX1258    THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             MELVIN E              VA         740CL0300168100   THE LAW OFFICES OF PETER T. NICHOLL
SPAKE                WILLIAM B             MD         24X08000344       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             RICHARD L             VA         740CL0300019000   THE LAW OFFICES OF PETER T. NICHOLL
SPAKE                WILLIAM N             MD         98170502CX1258    THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             ROBERT F              MD         24X04001100       THE LAW OFFICES OF PETER T. NICHOLL
SPAKE                WILLIAM N             MD         24X08000344       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             WELTON                VA         31843RW           THE LAW OFFICES OF PETER T. NICHOLL
SPARACO              MICHAEL S             MD         24X03000802       THE LAW OFFICES OF PETER T. NICHOLL                  SPRATLEY             WILLIAM O             VA         740CL0200086200   THE LAW OFFICES OF PETER T. NICHOLL
SPARKS               DAVID L               VA         29185RW           THE LAW OFFICES OF PETER T. NICHOLL                  SPRIGGS              ROBERT K              VA         29352EH           THE LAW OFFICES OF PETER T. NICHOLL
SPARKS               ELIZABETH             VA         700CL0539595J05   THE LAW OFFICES OF PETER T. NICHOLL                  SPRUELL              AMOS A                MD         24X10000153       THE LAW OFFICES OF PETER T. NICHOLL
SPARKS               FREEMONA              MD         24X11000259       THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              EDNA P                MD         24X09000095       THE LAW OFFICES OF PETER T. NICHOLL
SPARKS               JAMES O               MD         24X11000259       THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              EDWIN L               VA         700CL0438406P03   THE LAW OFFICES OF PETER T. NICHOLL
SPARROW              JOHN W                VA         01637             THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              IVAN L                VA         700CL0235806V05   THE LAW OFFICES OF PETER T. NICHOLL
SPARROW              ROBERT V              VA         700CL0539115J05   THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              JAMES H               MD         01000164          THE LAW OFFICES OF PETER T. NICHOLL
SPATARO              AVA I                 MD         24X11000792       THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              JOHN                  VA         740CL0100111800   THE LAW OFFICES OF PETER T. NICHOLL
SPATARO              DENNIS D              MD         24X11000792       THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              LORETTA I             MD         98329510CX2235    THE LAW OFFICES OF PETER T. NICHOLL
SPEARMAN             SALLY                 MD         X01000570         THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              RODERICK F            VA         740CL0100192900   THE LAW OFFICES OF PETER T. NICHOLL
SPEARMAN             STACY D               MD         X01000570         THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              WILLIAM E             VA         001637            THE LAW OFFICES OF PETER T. NICHOLL
SPEARS               EARNESTINE C          MD         24X09000459       THE LAW OFFICES OF PETER T. NICHOLL                  SPRUILL              WILLIE                MD         98329510CX2235    THE LAW OFFICES OF PETER T. NICHOLL
SPEARS               WILLIE                MD         X01000277         THE LAW OFFICES OF PETER T. NICHOLL                  SPRULL               JAMES H               MD         24X09000095       THE LAW OFFICES OF PETER T. NICHOLL
SPEIGHT              FREDDIE J             VA         700CL0235804C03   THE LAW OFFICES OF PETER T. NICHOLL                  SPURRIER             GRANT E               VA         740CL0200215800   THE LAW OFFICES OF PETER T. NICHOLL
SPEIGHT              JAMES E               VA         32575VC           THE LAW OFFICES OF PETER T. NICHOLL                  SQUARE               ERNEST E              VA         740CL0300245800   THE LAW OFFICES OF PETER T. NICHOLL
SPEIGHT              MICHAEL LEE           VA         700CL0235882H02   THE LAW OFFICES OF PETER T. NICHOLL                  SQUIRE               BETTY                 MD         24X02002295       THE LAW OFFICES OF PETER T. NICHOLL
SPEIGHT              RONALD W              VA         740CL0200079100   THE LAW OFFICES OF PETER T. NICHOLL                  SQUIRE               WILLIE W              MD         24X02002295       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 811
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 146 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

ST. CLAIR            DENNIS L              MD         24X01000471        THE LAW OFFICES OF PETER T. NICHOLL                  STEPANOFF            MARY C                MD         24X12001046       THE LAW OFFICES OF PETER T. NICHOLL
ST. CLAIR            PATRICIA              MD         24X01000471        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENS             HARRIS J              VA         740CL0300115900   THE LAW OFFICES OF PETER T. NICHOLL
STACEY               CONSTANCE             MD         24X01001929        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENS             JAMES R               VA         29014C03          THE LAW OFFICES OF PETER T. NICHOLL
STACEY               GARY L                MD         24X01001929        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENS             STEVE E               MD         98226510CX1606    THE LAW OFFICES OF PETER T. NICHOLL
STACHOROWSKI         ANN                   MD         24X01002110        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENS             THEODORE E            VA         700CL0438707J05   THE LAW OFFICES OF PETER T. NICHOLL
STACHOROWSKI         JOSEPH F              MD         24X01002110        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           ARTHUR M              VA         29427EH           THE LAW OFFICES OF PETER T. NICHOLL
STACHOWSKA           MARTHA R              MD         24X01001933        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           CHARLIE M             VA         29995VA           THE LAW OFFICES OF PETER T. NICHOLL
STACKHOUSE           ARTHUR Q              MD         24X02001394        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           DEANNA L              VA         740CL0200032900   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              ANTHONY T             MD         24X01001120        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           EARL                  VA         740CL0100311300   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              ANTHONY T             MD         24X05000152        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           EARL                  VA         700CL0539573H02   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              DORIS M               MD         24X01001133        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           EARNESTINE            VA         740CL0100348500   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              DOROTHY M             MD         24X02000882        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           EDWARD W              VA         740CL0100213200   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              HENRY A               MD         24X01001859        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           ISAAC B               VA         740CL0200117000   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              IDA                   MD         24X01001859        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           MARY A                VA         700CL0539573H02   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              JANICE C              MD         24X05000152        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           RAYMOND A             VA         740CL0200032900   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              JOHN B                MD         24X01001133        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           ROBERT J              VA         740CL0100171400   THE LAW OFFICES OF PETER T. NICHOLL
STADLER              JOSEPH V              MD         24X02000882        THE LAW OFFICES OF PETER T. NICHOLL                  STEPHENSON           ROBERT L              VA         740CL0000046300   THE LAW OFFICES OF PETER T. NICHOLL
STAEHLE              JANET                 MD         24X02002088        THE LAW OFFICES OF PETER T. NICHOLL                  STEPP                JAMES W               VA         700CL0438820V04   THE LAW OFFICES OF PETER T. NICHOLL
STAEHLE              JUNIOR T              MD         24X02002088        THE LAW OFFICES OF PETER T. NICHOLL                  STEPS                CLARISSA              MD         98232501CX1620    THE LAW OFFICES OF PETER T. NICHOLL
STAFFORD             DONALD M              VA         740CL0100348600    THE LAW OFFICES OF PETER T. NICHOLL                  STEPS                JOHN D                MD         98232501CX1620    THE LAW OFFICES OF PETER T. NICHOLL
STAFFORD             OTTO A                MD         98324537           THE LAW OFFICES OF PETER T. NICHOLL                  STERLING             BEATRICE D            MD         98324523CX2208    THE LAW OFFICES OF PETER T. NICHOLL
STAFFORD             REGINALD A            VA         30004RW            THE LAW OFFICES OF PETER T. NICHOLL                  STERLING             CARMEN                MD         24X11000503       THE LAW OFFICES OF PETER T. NICHOLL
STAFFORD             ROBERT G              VA         740CL0200216300    THE LAW OFFICES OF PETER T. NICHOLL                  STERLING             HARRY B               VA         28495RW           THE LAW OFFICES OF PETER T. NICHOLL
STAINBACK            AVIS                  MD         24X02000977        THE LAW OFFICES OF PETER T. NICHOLL                  STERLING             RANDOLPH              MD         98324523CX2208    THE LAW OFFICES OF PETER T. NICHOLL
STAINBACK            CHARLIE F             VA         740CL0300003800    THE LAW OFFICES OF PETER T. NICHOLL                  STERLING             WILLIAM G             MD         24X11000503       THE LAW OFFICES OF PETER T. NICHOLL
STAINBACK            HOWARD L              MD         24X02000977        THE LAW OFFICES OF PETER T. NICHOLL                  STEVEN               BENJAMIN F            MD         24X02001768       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            DENNIS G              MD         24X10000008        THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              CATHERINE             MD         24X02000726       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            DOUGLAS A             VA         700CL0437901P03    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              CLARENCE              MD         24X13000428       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            ESAW                  VA         28754EH            THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              DONALD T              MD         99000261          THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            HAILOVES              VA         30005VA            THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              ERIC L                VA         30165RW           THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            JESSE L               VA         29155RW            THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              GARY W                MD         24X03001036       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            JESSE R               VA         104300             THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              NELSON                VA         740CL9900167900   THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            JOHN A                MD         24X04001165        THE LAW OFFICES OF PETER T. NICHOLL                  STEVENS              WILLIE M              MD         24X02000726       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            JOHN T                VA         740CL0200215900    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            ANNIE                 MD         24X01001422       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            JOSEPH S              VA         700CL9927774H02    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            CAROLYNE O            MD         24X01001423       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            LENI                  MD         24X04001165        THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            EDDIE                 MD         24X05000639       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            MELVIN                VA         740CL99000171900   THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            ERNESTINE             MD         24X10000241       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            STEVEN W              VA         700CL0539371V04    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            HENRY L               VA         740CL0000195700   THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            THOMAS E              MD         X01000509          THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            JAMES                 MD         24X01001423       THE LAW OFFICES OF PETER T. NICHOLL
STALLINGS            WALTER H              VA         740CL0100193000    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            JAMES W               VA         700CL0235884C03   THE LAW OFFICES OF PETER T. NICHOLL
STALNAKER            ROBERT H              VA         740CL0300168200    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            JOHN R                MD         24X02000012       THE LAW OFFICES OF PETER T. NICHOLL
STAMPER              MELVIN                MD         98317504CX2135     THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            JOSEPH H              MD         24X01001422       THE LAW OFFICES OF PETER T. NICHOLL
STAMPS               JAMES L               VA         740CL0100209800    THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            MARY L                MD         24X05000639       THE LAW OFFICES OF PETER T. NICHOLL
STANKIWICZ           WALTER J              MD         X01001102          THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            NATHAN A              MD         24X02000288       THE LAW OFFICES OF PETER T. NICHOLL
STANLEY              BERNARD               MD         24X11000127        THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            THREA VICTORIA        MD         24X02000288       THE LAW OFFICES OF PETER T. NICHOLL
STANLEY              MARGARET E            MD         24X10000256        THE LAW OFFICES OF PETER T. NICHOLL                  STEVENSON            WILLIE M              MD         24X10000241       THE LAW OFFICES OF PETER T. NICHOLL
STANLEY              SATCHELL              MD         24X02002236        THE LAW OFFICES OF PETER T. NICHOLL                  STEWARD              MARY                  MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL
STANLEY              STEVE S               VA         002159             THE LAW OFFICES OF PETER T. NICHOLL                  STEWARD              WILLIAM B             VA         28037EH           THE LAW OFFICES OF PETER T. NICHOLL
STANLEY              THOMAS J              VA         740CL0100214600    THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              BARBARA A             VA         740CL0200049400   THE LAW OFFICES OF PETER T. NICHOLL
STANLEY              TYRONE W              MD         24X10000256        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              BERNARD               MD         24X02000971       THE LAW OFFICES OF PETER T. NICHOLL
STANTON              GLADYS J              MD         01000346           THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              BILL T                VA         27339             THE LAW OFFICES OF PETER T. NICHOLL
STANTON              LANZELL               MD         01000346           THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              CHARLES               MD         X01000564         THE LAW OFFICES OF PETER T. NICHOLL
STANTON              MABLE                 MD         24X02002721        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              HANNIBAL L            MD         24X03000843       THE LAW OFFICES OF PETER T. NICHOLL
STANTON              ROBERT                MD         24X02002721        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              JAMES A               MD         24X03001054       THE LAW OFFICES OF PETER T. NICHOLL
STARK                BRENDA                MD         24X08000087        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              JAMES E               VA         700CL0232104H02   THE LAW OFFICES OF PETER T. NICHOLL
STARK                JAMES A               MD         24X15000024        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              JEROME L              VA         700CL0235777H02   THE LAW OFFICES OF PETER T. NICHOLL
STARK                ROGER L               MD         24X08000087        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              JERRI A               MD         X01000564         THE LAW OFFICES OF PETER T. NICHOLL
STARLING             JOE E                 VA         700CL0437633H02    THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              LARRY L               VA         700CL0235597V05   THE LAW OFFICES OF PETER T. NICHOLL
STATEN               MARTHA                MD         24X02002238        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              LINDA D               MD         24X14000045       THE LAW OFFICES OF PETER T. NICHOLL
STATEN               RALPH W               MD         24X02002238        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              MICHAEL A             MD         24X17000533       THE LAW OFFICES OF PETER T. NICHOLL
STATON               RAYMOND W             VA         29725VA            THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              MICHAEL A             MD         98170501CX1257    THE LAW OFFICES OF PETER T. NICHOLL
STATON               ROBERT L              VA         700CL0539569V04    THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              ROBERT T              VA         700CL0337487T05   THE LAW OFFICES OF PETER T. NICHOLL
STAUBS               CYHTHIA               MD         24X03000719        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              RONALD K              VA         740CL0300003600   THE LAW OFFICES OF PETER T. NICHOLL
STAUBS               GAYLE                 MD         24X01001030        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              RUTH                  VA         27339             THE LAW OFFICES OF PETER T. NICHOLL
STAUBS               MICHAEL E             MD         24X03000719        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              THOMAS L              MD         24X06000487       THE LAW OFFICES OF PETER T. NICHOLL
STAUBS               ROLAND B              MD         24X01001030        THE LAW OFFICES OF PETER T. NICHOLL                  STEWART              WILFRED A             VA         700CL0235885W01   THE LAW OFFICES OF PETER T. NICHOLL
STEIGELMAN           JOSEPH S              VA         001803             THE LAW OFFICES OF PETER T. NICHOLL                  STIFFLER             CARROLL L             MD         24X02000693       THE LAW OFFICES OF PETER T. NICHOLL
STELMACK             JOHN H                VA         740CL0300003700    THE LAW OFFICES OF PETER T. NICHOLL                  STIFFLER             JEANNE                MD         24X02000693       THE LAW OFFICES OF PETER T. NICHOLL
STENGEL              JOHN A                MD         24X04000902        THE LAW OFFICES OF PETER T. NICHOLL                  STILTNER             LEE R                 VA         700CL0235933A04   THE LAW OFFICES OF PETER T. NICHOLL
STENGEL              SHIRLEY A             MD         24X04000902        THE LAW OFFICES OF PETER T. NICHOLL                  STINCHCOMB           JOHN W                MD         24X03000816       THE LAW OFFICES OF PETER T. NICHOLL
STEPANOFF            DAVID A               MD         24X12001046        THE LAW OFFICES OF PETER T. NICHOLL                  STINEBAUGH           DAVID W               MD         X01000118         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                               Appendix A - 812
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 147 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number       Primary Plaintiff Counsel

STINEBAUGH           PATRICIA              MD         X01000118         THE LAW OFFICES OF PETER T. NICHOLL                  STREET               JAMES D               MD         98247518CX1697       THE LAW OFFICES OF PETER T. NICHOLL
STINEMIRE            CHARLES H             MD         24X09000033       THE LAW OFFICES OF PETER T. NICHOLL                  STREET               JONATHAN W            VA         740CL0100210100      THE LAW OFFICES OF PETER T. NICHOLL
STINEMIRE            LINDA                 MD         24X09000071       THE LAW OFFICES OF PETER T. NICHOLL                  STREET               RALPH L               VA         740CL0100191300      THE LAW OFFICES OF PETER T. NICHOLL
STINEMIRE            LINDA                 MD         24X09000033       THE LAW OFFICES OF PETER T. NICHOLL                  STREET               RONALD L              MD         24X02001062          THE LAW OFFICES OF PETER T. NICHOLL
STITH                AL FRED               VA         740CL0100193100   THE LAW OFFICES OF PETER T. NICHOLL                  STREETER             ALICE                 MD         24X06000232          THE LAW OFFICES OF PETER T. NICHOLL
STITH                ALBERT W              VA         700CL0337467T05   THE LAW OFFICES OF PETER T. NICHOLL                  STREETER             JOSEPH                MD         24X06000232          THE LAW OFFICES OF PETER T. NICHOLL
STITH                ALLEN R               VA         740CL0100209900   THE LAW OFFICES OF PETER T. NICHOLL                  STRICKLAND           DW                    VA         740CL0200224200      THE LAW OFFICES OF PETER T. NICHOLL
STITH                JAMES W               VA         740CL0200359100   THE LAW OFFICES OF PETER T. NICHOLL                  STRICKLAND           JOHN D                VA         740CL0300199400      THE LAW OFFICES OF PETER T. NICHOLL
STITH                JOHN W                VA         740CL0100210000   THE LAW OFFICES OF PETER T. NICHOLL                  STRICKLAND           LEWIS C               VA         29203RC              THE LAW OFFICES OF PETER T. NICHOLL
STITH                LARRY L               VA         740CL0200056100   THE LAW OFFICES OF PETER T. NICHOLL                  STRICKLIN            CYNTHIA               MD         X99000068            THE LAW OFFICES OF PETER T. NICHOLL
STITH                NORMAN                VA         700CL0235934C03   THE LAW OFFICES OF PETER T. NICHOLL                  STRICKLIN            ERNEST J              MD         X99000068            THE LAW OFFICES OF PETER T. NICHOLL
STITH                RICKIE                VA         28496VA           THE LAW OFFICES OF PETER T. NICHOLL                  STRING               LESTER R              VA         740CL0100124200      THE LAW OFFICES OF PETER T. NICHOLL
STITH                ROBERT L              VA         700CL9927867A04   THE LAW OFFICES OF PETER T. NICHOLL                  STRINGFIELD          BARBIE                VA         740CL0200043100      THE LAW OFFICES OF PETER T. NICHOLL
STOCKS               BOBBY R               VA         740CL0100345500   THE LAW OFFICES OF PETER T. NICHOLL                  STRINGFIELD          CHARLES E             MD         24X02000160          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               BETTY                 MD         24X13000062       THE LAW OFFICES OF PETER T. NICHOLL                  STRINGFIELD          CLARENCE L            VA         740CL0200033200      THE LAW OFFICES OF PETER T. NICHOLL
STOKES               CARRIE M              MD         24X06000242       THE LAW OFFICES OF PETER T. NICHOLL                  STRINGFIELD          IRA D                 VA         740CL0100179400      THE LAW OFFICES OF PETER T. NICHOLL
STOKES               DONALD                VA         740CL0100214700   THE LAW OFFICES OF PETER T. NICHOLL                  STRINGFIELD          THELMA                VA         700CL0438203V04      THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ELISHA J              VA         740CL0200056200   THE LAW OFFICES OF PETER T. NICHOLL                  STRINGFIELD          WILLIAM E             VA         700CL0438203V04      THE LAW OFFICES OF PETER T. NICHOLL
STOKES               GAIL M                MD         98239501CX1646    THE LAW OFFICES OF PETER T. NICHOLL                  STRINGHAM            LARRY R               VA         01638                THE LAW OFFICES OF PETER T. NICHOLL
STOKES               HARRY B               VA         740CL0100193200   THE LAW OFFICES OF PETER T. NICHOLL                  STROBLE              JAVIN                 VA         29372RC              THE LAW OFFICES OF PETER T. NICHOLL
STOKES               IRBY L                VA         29262EH           THE LAW OFFICES OF PETER T. NICHOLL                  STROMAN              BOOKER T              MD         24X14000460          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               JAMES E               VA         700CL0232125C03   THE LAW OFFICES OF PETER T. NICHOLL                  STROOP               GERALD S              VA         002648               THE LAW OFFICES OF PETER T. NICHOLL
STOKES               JAMES W               VA         740CL0300120100   THE LAW OFFICES OF PETER T. NICHOLL                  STROPKO              DOROTHY               MD         98320509CX2174       THE LAW OFFICES OF PETER T. NICHOLL
STOKES               JOHN E                VA         740CL0100160400   THE LAW OFFICES OF PETER T. NICHOLL                  STROPKO              NICHOLAS W            MD         98320509CX2174       THE LAW OFFICES OF PETER T. NICHOLL
STOKES               JOSEPH M              MD         98268506CX1807    THE LAW OFFICES OF PETER T. NICHOLL                  STRZEGOWSKI          DENNIS J              MD         98320506CX2171       THE LAW OFFICES OF PETER T. NICHOLL
STOKES               LAVERNE               MD         24X08000085       THE LAW OFFICES OF PETER T. NICHOLL                  STRZEGOWSKI          MARY                  MD         98320506CX2171       THE LAW OFFICES OF PETER T. NICHOLL
STOKES               MELVIN                MD         24X15000220       THE LAW OFFICES OF PETER T. NICHOLL                  STUBBS               ERNEST A              VA         700CL0233127W01      THE LAW OFFICES OF PETER T. NICHOLL
STOKES               MELVIN                MD         24X02002706       THE LAW OFFICES OF PETER T. NICHOLL                  STUDZINSKI           ALEXANDER P           MD         24X03000794          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               MILTON E              MD         24X13000062       THE LAW OFFICES OF PETER T. NICHOLL                  STUDZINSKI           FRANCES               MD         24X03000794          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               RICHARD E             VA         29578VA           THE LAW OFFICES OF PETER T. NICHOLL                  STUENES              GERD                  MD         24X01002049          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ROSA MAE              MD         24X15000220       THE LAW OFFICES OF PETER T. NICHOLL                  STUENES              ROLF                  MD         24X01002049          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ROSA MAE              MD         24X02002706       THE LAW OFFICES OF PETER T. NICHOLL                  STUFFT               DONALD C              MD         X01000990            THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ROSE MAE              MD         24X15000220       THE LAW OFFICES OF PETER T. NICHOLL                  STUFFT               SUSAN                 MD         X01000990            THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ROSE MAE              MD         24X02002706       THE LAW OFFICES OF PETER T. NICHOLL                  STUMP                ANNA MARIE            MD         01000422             THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ROSIE M               MD         98268506CX1807    THE LAW OFFICES OF PETER T. NICHOLL                  STUMP                DELORES               MD         24X02000887          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               ROY A                 VA         700CL0235886V05   THE LAW OFFICES OF PETER T. NICHOLL                  STUMP                JC                    MD         01000422             THE LAW OFFICES OF PETER T. NICHOLL
STOKES               THOMAS A              VA         740CL0100348400   THE LAW OFFICES OF PETER T. NICHOLL                  STUMP                WILLIAM E             MD         24X02000887          THE LAW OFFICES OF PETER T. NICHOLL
STOKES               WILLIAM O             MD         24X02001976       THE LAW OFFICES OF PETER T. NICHOLL                  STURDIFEN            JESSE L               VA         740CL0300198000      THE LAW OFFICES OF PETER T. NICHOLL
STOKES               WILLIE                MD         24X15000220       THE LAW OFFICES OF PETER T. NICHOLL                  STURDIVANT           CYNTHIA               MD         98163554CX1233       THE LAW OFFICES OF PETER T. NICHOLL
STOKES               WILLIE                MD         24X02002706       THE LAW OFFICES OF PETER T. NICHOLL                  STURDIVANT           STEVEN C              MD         98163554CX1233       THE LAW OFFICES OF PETER T. NICHOLL
STOKLEY              DENNIS D              VA         700CL0231976V05   THE LAW OFFICES OF PETER T. NICHOLL                  STURDIVANT           WENDELL S             VA         740CL0200112200      THE LAW OFFICES OF PETER T. NICHOLL
STOLINS              JOHN W                MD         24X04000844       THE LAW OFFICES OF PETER T. NICHOLL                  STURMS               EUGENE R              VA         740CL0100145900      THE LAW OFFICES OF PETER T. NICHOLL
STOLINS              JUNE                  MD         24X04000844       THE LAW OFFICES OF PETER T. NICHOLL                  STUTTS               VERNON F              VA         740CL0200003500      THE LAW OFFICES OF PETER T. NICHOLL
STONE                DOYLE V               VA         31943EH           THE LAW OFFICES OF PETER T. NICHOLL                  STUTZMAN             MELANIE               MD         24X15000206          THE LAW OFFICES OF PETER T. NICHOLL
STONE                LYNN H                MD         24X10000091       THE LAW OFFICES OF PETER T. NICHOLL                  STUTZMAN             MELANIE               MD         24X98295505/CX1971   THE LAW OFFICES OF PETER T. NICHOLL
STONE                MARY L                MD         24X06000452       THE LAW OFFICES OF PETER T. NICHOLL                  STYRON               SAMUEL                VA         28991VC              THE LAW OFFICES OF PETER T. NICHOLL
STONE                RONNIE C              VA         700CL0232744C03   THE LAW OFFICES OF PETER T. NICHOLL                  SUDANO               JOANN M               MD         24X03000800          THE LAW OFFICES OF PETER T. NICHOLL
STONESMITH           WILLIAM C             VA         32583RC           THE LAW OFFICES OF PETER T. NICHOLL                  SUDANO               JOANNE                MD         24X01001854          THE LAW OFFICES OF PETER T. NICHOLL
STOOPS               ALEXANDER J           VA         740CL0100312100   THE LAW OFFICES OF PETER T. NICHOLL                  SUDANO               VICTOR                MD         24X03000800          THE LAW OFFICES OF PETER T. NICHOLL
STOUFFER             GORDON D              MD         24X03000248       THE LAW OFFICES OF PETER T. NICHOLL                  SUDANO               VICTOR J              MD         24X01001854          THE LAW OFFICES OF PETER T. NICHOLL
STOVALL              CHRISTINE C           VA         700CL0539596T01   THE LAW OFFICES OF PETER T. NICHOLL                  SUGGS                CAROLINA C            VA         740CL0300030100      THE LAW OFFICES OF PETER T. NICHOLL
STOVALL              LEROY                 VA         700CL0539596T01   THE LAW OFFICES OF PETER T. NICHOLL                  SUGGS                HUBERT E              VA         740CL0300030100      THE LAW OFFICES OF PETER T. NICHOLL
STOVER               RICHARD B             VA         700CL0235807H02   THE LAW OFFICES OF PETER T. NICHOLL                  SUGGS                RALPH E               VA         740CL0200066100      THE LAW OFFICES OF PETER T. NICHOLL
STOWES               JACOB SR              VA         740CL00000012     THE LAW OFFICES OF PETER T. NICHOLL                  SUGGS                WILLIE L              VA         740CL0200126300      THE LAW OFFICES OF PETER T. NICHOLL
STRACKE              GEORGE C              MD         98233513CX1639    THE LAW OFFICES OF PETER T. NICHOLL                  SUITER               LARRY D               VA         32074EH              THE LAW OFFICES OF PETER T. NICHOLL
STRACKE              VALERIE               MD         98233513CX1639    THE LAW OFFICES OF PETER T. NICHOLL                  SUITER               MARTIN E              VA         740CL0200086300      THE LAW OFFICES OF PETER T. NICHOLL
STRAITEN             ERNESTINE             MD         24X03000420       THE LAW OFFICES OF PETER T. NICHOLL                  SULLENS              CONSTANCE A           MD         24X15000017          THE LAW OFFICES OF PETER T. NICHOLL
STRAITEN             LOUIS                 MD         24X03000420       THE LAW OFFICES OF PETER T. NICHOLL                  SULLENS              HOWARD C              MD         24X15000017          THE LAW OFFICES OF PETER T. NICHOLL
STRAKA               ANDREW L              MD         24X03000372       THE LAW OFFICES OF PETER T. NICHOLL                  SULLIVAN             GREGORY P             MD         X01001113            THE LAW OFFICES OF PETER T. NICHOLL
STRAKA               FRANCES               MD         24X03000372       THE LAW OFFICES OF PETER T. NICHOLL                  SULLIVAN             JEWEL                 MD         24X15000131          THE LAW OFFICES OF PETER T. NICHOLL
STRAKA               FRANK P               MD         24X06000058       THE LAW OFFICES OF PETER T. NICHOLL                  SULLIVAN             LONNIE D              VA         32588C03             THE LAW OFFICES OF PETER T. NICHOLL
STRAKA               SHIRLEY C             MD         24X06000058       THE LAW OFFICES OF PETER T. NICHOLL                  SULLIVAN             PATRICIA              MD         24X04001101          THE LAW OFFICES OF PETER T. NICHOLL
STRATMEYER           CARROLL C             MD         24X14000216       THE LAW OFFICES OF PETER T. NICHOLL                  SULLIVAN             ROBERT                MD         24X15000131          THE LAW OFFICES OF PETER T. NICHOLL
STRATMEYER           CARROLL C             MD         24X18000146       THE LAW OFFICES OF PETER T. NICHOLL                  SULLIVAN             WILLIAM M             MD         24X04001101          THE LAW OFFICES OF PETER T. NICHOLL
STRATMEYER           HENRY E               MD         24X01001444       THE LAW OFFICES OF PETER T. NICHOLL                  SUMLER               LEWIS                 VA         740CL0300116000      THE LAW OFFICES OF PETER T. NICHOLL
STRATMEYER           JACQUELINE C          MD         24X14000216       THE LAW OFFICES OF PETER T. NICHOLL                  SUMMERS              EUGENE J              MD         24X05000578          THE LAW OFFICES OF PETER T. NICHOLL
STRATMEYER           JACQUELINE C          MD         24X18000146       THE LAW OFFICES OF PETER T. NICHOLL                  SUMMERS              KATHLEEN              MD         24X05000578          THE LAW OFFICES OF PETER T. NICHOLL
STREAT               HAROLD                MD         X01001061         THE LAW OFFICES OF PETER T. NICHOLL                  SUMMERS              WILLIAM E             MD         24X02002698          THE LAW OFFICES OF PETER T. NICHOLL
STREAT               PATRICE               MD         X01001061         THE LAW OFFICES OF PETER T. NICHOLL                  SUMMONS              LAWRENCE L            MD         24X12000921          THE LAW OFFICES OF PETER T. NICHOLL
STREATER             VERNON E              MD         24X01001845       THE LAW OFFICES OF PETER T. NICHOLL                  SUMNER               ZEB                   VA         27996RC              THE LAW OFFICES OF PETER T. NICHOLL
STREET               IDA M                 MD         99000252          THE LAW OFFICES OF PETER T. NICHOLL                  SUMPTER              LARRY W               VA         740CL0100092000      THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 813
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 148 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SUMPTER              WELLINGTON            MD         24X11000445       THE LAW OFFICES OF PETER T. NICHOLL                  TALIAFERRO           NORMAN M SR           VA         28046RC           THE LAW OFFICES OF PETER T. NICHOLL
SUPRISE              JOSEPH A              VA         740CL0200088400   THE LAW OFFICES OF PETER T. NICHOLL                  TALIAFERRO           RICHARD D             VA         740CL0100329800   THE LAW OFFICES OF PETER T. NICHOLL
SUROCK               ANTOINETTE            MD         24X01001545       THE LAW OFFICES OF PETER T. NICHOLL                  TALIFERRO            ADDISON               VA         9927800H02        THE LAW OFFICES OF PETER T. NICHOLL
SUROCK               RAYMOND A             MD         24X01001545       THE LAW OFFICES OF PETER T. NICHOLL                  TALKINGTON           ALDEN W               MD         24X01001549       THE LAW OFFICES OF PETER T. NICHOLL
SURRING              WILLIAM F             VA         740CL0200297300   THE LAW OFFICES OF PETER T. NICHOLL                  TALKINGTON           PATRICIA A            MD         24X01001549       THE LAW OFFICES OF PETER T. NICHOLL
SUSIE                WADE R                MD         24X15000526       THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               ALICE L               MD         24X09000483       THE LAW OFFICES OF PETER T. NICHOLL
SUTHERLAND           WILLIAM D             MD         24X12001123       THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               BARBARA               MD         24X02000106       THE LAW OFFICES OF PETER T. NICHOLL
SUTHERLIN            GEORGE A              VA         740CL0100193300   THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               CHESTER K             MD         24X09000483       THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               DENISE                MD         24X02000293       THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               EDWARD T              MD         24X08000520       THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               EDNA                  MD         24X98402625       THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               JACKIE                MD         24X01000405       THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               EDNA M                MD         24X05000019       THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               JAMES F               MD         24X02000106       THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               ELIZABETH             MD         98324531CX2216    THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               JOHN D                MD         24X04000885       THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               FREDERICK             VA         29607VC           THE LAW OFFICES OF PETER T. NICHOLL                  TALLEY               KENNETH               MD         24X01000405       THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               JIMMY                 VA         30175RW           THE LAW OFFICES OF PETER T. NICHOLL                  TALTON               CLARENCE E            VA         29808VC           THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               LOUIS H               MD         98324531CX2216    THE LAW OFFICES OF PETER T. NICHOLL                  TALTON               WILLIAM R             VA         740CL0100194900   THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               MARTIN W              MD         24X98402625       THE LAW OFFICES OF PETER T. NICHOLL                  TANN                 LEON R                VA         700CL0235813A04   THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               MARTIN W              MD         24X05000019       THE LAW OFFICES OF PETER T. NICHOLL                  TAPPEN               KENNETH               VA         700CLO438377V04   THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               NANCY                 MD         24X10000252       THE LAW OFFICES OF PETER T. NICHOLL                  TART                 WESLEY P              VA         700CL0233165A04   THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               ROBERT H              MD         24X10000252       THE LAW OFFICES OF PETER T. NICHOLL                  TASKER               DOROTHY R             VA         700CL0438708T01   THE LAW OFFICES OF PETER T. NICHOLL
SUTTON               WILLIAM M             MD         24X02000293       THE LAW OFFICES OF PETER T. NICHOLL                  TATE                 JAMES W               MD         01000119          THE LAW OFFICES OF PETER T. NICHOLL
SVEC                 BETTY                 MD         24X95153553       THE LAW OFFICES OF PETER T. NICHOLL                  TATE                 WADELL                MD         98338543CX2367    THE LAW OFFICES OF PETER T. NICHOLL
SVEC                 JOSEPH F              MD         24X95153553       THE LAW OFFICES OF PETER T. NICHOLL                  TATTERSALL           RICHARD B             MD         24X01001928       THE LAW OFFICES OF PETER T. NICHOLL
SVEC                 JOSEPH F JR           MD         24X95153553       THE LAW OFFICES OF PETER T. NICHOLL                  TATUM                ELMER R               MD         24X14000459       THE LAW OFFICES OF PETER T. NICHOLL
SVEC                 PAUL                  MD         24X95153553       THE LAW OFFICES OF PETER T. NICHOLL                  TAWNEY               FREDERICK R           MD         24X02000545       THE LAW OFFICES OF PETER T. NICHOLL
SWAIN                ARNOLD A              MD         24X01001325       THE LAW OFFICES OF PETER T. NICHOLL                  TAYBRON              ELMO                  VA         740CL0100124600   THE LAW OFFICES OF PETER T. NICHOLL
SWAIN                DENNISE V             MD         24X01001325       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               ALVIN B               VA         700CL0437880T05   THE LAW OFFICES OF PETER T. NICHOLL
SWAIN                THELMA G              VA         740CL0300082600   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               AMOS J                VA         740CL0100174400   THE LAW OFFICES OF PETER T. NICHOLL
SWANKLER             THOMAS M              VA         28202RC           THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               ANITA                 MD         X01001106         THE LAW OFFICES OF PETER T. NICHOLL
SWANN                ALBERT                MD         X01000977         THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               ANNIE                 MD         24X03000247       THE LAW OFFICES OF PETER T. NICHOLL
SWANN                GEORGETTA P           VA         700CL0539414P03   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               ANNIE                 MD         24X08000392       THE LAW OFFICES OF PETER T. NICHOLL
SWANN                JAMES A               VA         700CL0539414P03   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               ARLIE R               MD         98239504CX1649    THE LAW OFFICES OF PETER T. NICHOLL
SWANSON              CATHERINE             MD         24X01001998       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               AUDREY                MD         24X02002717       THE LAW OFFICES OF PETER T. NICHOLL
SWATSKI              DOROTHY               MD         24X09000337       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               AVERY                 MD         24X06000250       THE LAW OFFICES OF PETER T. NICHOLL
SWATSKI              HENRY T               MD         24X09000337       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               BARBARA               MD         24X02000798       THE LAW OFFICES OF PETER T. NICHOLL
SWEENEY              BEVERLY J             VA         740CL0100190400   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               BERNARD W             VA         740CL0100191400   THE LAW OFFICES OF PETER T. NICHOLL
SWEENEY              ROBERT L              VA         0028550W01        THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CAROLYN I             MD         98239504CX1649    THE LAW OFFICES OF PETER T. NICHOLL
SWEET                CLYDE N               VA         29470RC           THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CHARLES A             MD         X01001106         THE LAW OFFICES OF PETER T. NICHOLL
SWEET                WALTER D              MD         24X15000243       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CHARLES E             MD         X99000163         THE LAW OFFICES OF PETER T. NICHOLL
SWEETWINE            EARL                  MD         24X99000451       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CHARLES SR            MD         98320508CX2173    THE LAW OFFICES OF PETER T. NICHOLL
SWEETWINE            IVY N                 MD         98163548CX1227    THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CLARENCE W            MD         98310515CX2093    THE LAW OFFICES OF PETER T. NICHOLL
SWIGER               EARL R                MD         98329579CX2304    THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CLARENCE Z            VA         700CL0437881P03   THE LAW OFFICES OF PETER T. NICHOLL
SWIGER               LINDA D               MD         98329579CX2304    THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CLAUDE T              VA         740CL0300019100   THE LAW OFFICES OF PETER T. NICHOLL
SWINSON              GEORGE T              VA         700CL0539372J05   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               CORAL                 MD         24X11000263       THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          ANGELA R              MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               DARLENE               MD         98197508          THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          KELLY                 MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               DARLENE               MD         24X12000603       THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          LAMONT                MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               DAVID L               VA         740CL0200039700   THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          LANCENT               MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               DEWEY M               VA         700CL0235935W01   THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          LATOYA                MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               DOZENE                MD         X99000596         THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          MONIQUE               MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               EDDIE                 MD         X99000596         THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          RUFUS                 MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               ELBERT                VA         740CL0200086400   THE LAW OFFICES OF PETER T. NICHOLL
SWITTENBERG          TRACY                 MD         24X18000145       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               FLOYD E               VA         740CL0200033300   THE LAW OFFICES OF PETER T. NICHOLL
SWITZER              GERALD W              MD         98176504CX1278    THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               FREDERICK L           VA         0028927H02        THE LAW OFFICES OF PETER T. NICHOLL
SYKES                CECIL H               VA         740CL0200224300   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               GOLDIE                MD         24X06000480       THE LAW OFFICES OF PETER T. NICHOLL
SYKES                CLAUD L               VA         740CL0100329700   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               HAROLD G              MD         24X02000393       THE LAW OFFICES OF PETER T. NICHOLL
SYKES                CORDELIA              MD         X01000285         THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JAMES                 VA         29223RW           THE LAW OFFICES OF PETER T. NICHOLL
SYKES                JERLINE S             VA         740CL0100322200   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JAMES C               MD         24X03000339       THE LAW OFFICES OF PETER T. NICHOLL
SYKES                JOHN W                VA         700CL0437596W01   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JAMES N               VA         106100            THE LAW OFFICES OF PETER T. NICHOLL
SYKES                MOSES L               VA         740CL0200126500   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JAMES O               MD         24X06000582       THE LAW OFFICES OF PETER T. NICHOLL
SYKES                RALPH L               MD         X01000285         THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JAMES W               VA         740CL0200066200   THE LAW OFFICES OF PETER T. NICHOLL
SYLVER               HERBERT O             VA         700CL0233164H02   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JANET M               MD         24X10000112       THE LAW OFFICES OF PETER T. NICHOLL
SYLVER               LONNIE M              VA         0028737A04        THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JEFFRO                MD         24X06000480       THE LAW OFFICES OF PETER T. NICHOLL
SYLVER               LUCY M                VA         700CL0539574V04   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JESSE L               VA         740CL0200359200   THE LAW OFFICES OF PETER T. NICHOLL
SZELIGA              ELIZABETH L           MD         24X05000068       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JIMMY W               VA         700CL0539153H02   THE LAW OFFICES OF PETER T. NICHOLL
SZELIGA              LEO G                 MD         24X05000068       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOHN H                VA         740CL0100195100   THE LAW OFFICES OF PETER T. NICHOLL
SZEWCZYK             MICHAEL               MD         24X06000491       THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOHN H                MD         24X04000332       THE LAW OFFICES OF PETER T. NICHOLL
SZWYDEK              STANLEY W             VA         740CL0200357200   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOHN M                VA         700CL0437625P03   THE LAW OFFICES OF PETER T. NICHOLL
TABB                 JOHN E                VA         740CL0200115000   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOHN T                MD         24X02002483       THE LAW OFFICES OF PETER T. NICHOLL
TABB                 ROBERT B              VA         740CL0300122100   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOHN W                VA         740CL0100124700   THE LAW OFFICES OF PETER T. NICHOLL
TAFT                 ABRAHAM               VA         740CL0200114000   THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOHN W                VA         32584RW           THE LAW OFFICES OF PETER T. NICHOLL
TALBOTT              LAUREL                MD         98329507CX2232    THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOSCELYN N            MD         24X02000798       THE LAW OFFICES OF PETER T. NICHOLL
TALBOTT              THEODORE D            MD         98329507CX2232    THE LAW OFFICES OF PETER T. NICHOLL                  TAYLOR               JOSEPH D              VA         001767            THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 814
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 149 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

TAYLOR               JOSEPH R              VA         740CL0300019200   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               ANN F                 MD         24X12000736       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               KANDA                 MD         24X01002051       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               BARBARA A             MD         24X12000774       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               KATHLEEN B            MD         24X06000250       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               BOBBY                 MD         24X03000884       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               KEITH H               MD         99000260          THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               BOLDEN D              VA         740CL0300122200   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               KERMIT L              MD         24X03000293       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CAROL                 MD         98329578CX2303    THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               LAMONT                MD         24X01002051       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHARLES E             VA         700CL0438004H02   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               LARRY D               VA         29385VA           THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHARLES E             MD         24X98086510       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               LARRY E               VA         001136            THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHARLES F             MD         98329578CX2303    THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               LEWIS W               MD         24X03000247       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHARLES H             VA         700CL0438709P03   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               LEWIS W               MD         24X08000392       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHARLES L             VA         29353RC           THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               MAGGIE                MD         24X06000200       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHATMAN               MD         24X02001233       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               MELVIN A              MD         24X14000236       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CHILTON               MD         X01000944         THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               MELVIN R              MD         98329576CX2301    THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CLARICE               MD         24X02000058       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               MICHAEL T             VA         740CL0300025300   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               CURTIS M              VA         740CL0100140500   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               MILDRED               MD         24X02000393       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DARLENE               MD         24X12000323       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               NORMAN D              VA         102300            THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DARLENE F             MD         24X15000087       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               PAUL M                VA         740CL0300019300   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DARRYL T              MD         24X03001039       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               PRISCILLA             MD         98329576CX2301    THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DELLMON P             VA         740CL0300120200   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               RICHARD J             MD         24X05000799       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DELLMON P             VA         700CL0437882W01   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               ROBERT L              MD         24X10000112       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DIANNE                MD         24X08000461       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               ROLAND                VA         740CL0300168300   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DONALD H              MD         X01000979         THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               SHIRLEY               MD         24X03000339       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               DOROTHY               MD         X01000184         THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               SOLOMON               MD         24X01000725       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               EARL N                MD         98275502CX1853    THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               STANLEY               VA         700CL9927876C03   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               EDWARD                MD         24X16000247       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               THEOTIS               MD         98211510CX1517    THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               EDWARD D              MD         X98402476         THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               THERESA H             MD         24X02002472       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               EDWARD D              MD         24X16000247       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               THOMAS E              VA         740CL0000014100   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               EDWIN O               VA         700CL0235936V05   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               TIMOTHY E             VA         29626RW           THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               ELLIS G               VA         740CL0200178400   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WADRIE H              VA         740CL0000018000   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               ELVIN P               VA         700CL0438710V04   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WALTER                VA         740CL0200112300   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               ERNESTINE             VA         740CL0300003500   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WALTER                MD         98197508          THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               FRANKLIN              VA         740CL0100210200   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WALTER H              MD         24X02002717       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               FREDERICK             MD         24X02001151       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WALTER L              VA         700CL0232379H02   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               GARLAND R             MD         24X11000124       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WAYNE C               MD         24X06000200       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               GEORGE M              MD         24X02000684       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WILLIAM               VA         740CL0200041600   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               GERALDINE             MD         24X02000684       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WILLIAM E             VA         740CL0200126800   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HAROLD B              VA         700CL0233166C03   THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WILLIAM H             VA         700CL0437634T05   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HAROLD K              MD         24X02000895       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               WILLIE N              VA         740CL9900171300   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HAROLD K              MD         24X06000591       THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR               YVONNE                MD         24X03000245       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HARRY C               VA         0028921H02        THE LAW OFFICES OF PETER T. NICHOLL
TAYLOR-BROOKS        MARGARET E            MD         24X18000003       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HELEN                 MD         24X02000895       THE LAW OFFICES OF PETER T. NICHOLL
TAYLORSON            THOMAS N              MD         24X16000213       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HELEN T               MD         24X06000591       THE LAW OFFICES OF PETER T. NICHOLL
TEAGLE               GEORGE                VA         30131VA           THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HENRY F               VA         740CL0100206800   THE LAW OFFICES OF PETER T. NICHOLL
TELLIINGTON          JANICE L.D.           MD         24X02002428       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               HORACE                VA         001585            THE LAW OFFICES OF PETER T. NICHOLL
TELLINGTON           JANICE                MD         24X01001555       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               JAMES J               MD         24X10000462       THE LAW OFFICES OF PETER T. NICHOLL
TELLINGTON           WILLIE                MD         24X02002428       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               JAMES R               MD         X01000184         THE LAW OFFICES OF PETER T. NICHOLL
TELLINGTON           WILLIE C              MD         24X01001555       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               JEFFREY               MD         24X15000087       THE LAW OFFICES OF PETER T. NICHOLL
TEMPERA              RICHARD J             MD         X01000576         THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               JEFFREY W             MD         24X12000323       THE LAW OFFICES OF PETER T. NICHOLL
TEMPLEMAN            WL                    VA         740CL0100223600   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               JESSE                 MD         24X01001721       THE LAW OFFICES OF PETER T. NICHOLL
TENLY                GEORGE D              MD         24X03000662       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               JOHN W                VA         29797RC           THE LAW OFFICES OF PETER T. NICHOLL
TERRELL              AARON L               VA         740CL0200053100   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               LARRY B               MD         98162506CX1167    THE LAW OFFICES OF PETER T. NICHOLL
TERRELL              HERMAN                VA         740CL0200126900   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               LEROY C               VA         001396            THE LAW OFFICES OF PETER T. NICHOLL
TERRELL              JIMMIE L              MD         X01000693         THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               LLOYD                 VA         700CL9927955VA    THE LAW OFFICES OF PETER T. NICHOLL
TERRY                GEORGE E              VA         700CL0235887H02   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               LLOYD E               VA         700CL0232209H02   THE LAW OFFICES OF PETER T. NICHOLL
TERRY                JAMES C               MD         24X07000356       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               LOUIS A               VA         740CL0100195200   THE LAW OFFICES OF PETER T. NICHOLL
TERRY                THOMAS                MD         24X02001249       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               MARY F                MD         24X01001721       THE LAW OFFICES OF PETER T. NICHOLL
TERRY                JOHN W                VA         700CL0438725V04   THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               MICHAEL               MD         24X01002108       THE LAW OFFICES OF PETER T. NICHOLL
TESAR                CHARLES R             MD         24X04000884       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               PAMELA                MD         24X03000367       THE LAW OFFICES OF PETER T. NICHOLL
TESAR                DREAMA                MD         24X04000325       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               PAUL E                VA         001112            THE LAW OFFICES OF PETER T. NICHOLL
TESAR                HARRY R               MD         24X04000325       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               PENNY L               MD         98275502CX1853    THE LAW OFFICES OF PETER T. NICHOLL
TESAR                SHIRLEY               MD         24X04000884       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               PERCY                 VA         700CL0438829P03   THE LAW OFFICES OF PETER T. NICHOLL
THACKSTON            ANTOINETTE R          MD         24X95164501       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               RACHEL                MD         24X03001039       THE LAW OFFICES OF PETER T. NICHOLL
THACKSTON            JOHN FRANK            MD         24X95164501       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               RAYMOND R             VA         700CL0438711H02   THE LAW OFFICES OF PETER T. NICHOLL
THADEN               LOUIS H               MD         24X06000174       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               RUTHIE                MD         24X98086510       THE LAW OFFICES OF PETER T. NICHOLL
THADEN               MARGARET              MD         24X06000174       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               SAMUEL                MD         24X03000367       THE LAW OFFICES OF PETER T. NICHOLL
THAMES               JERRY                 MD         01000418          THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               SHEILA                MD         X98402476         THE LAW OFFICES OF PETER T. NICHOLL
THANIEL              RAYMOND P             MD         X98402474         THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               SHEILA L              MD         24X16000247       THE LAW OFFICES OF PETER T. NICHOLL
THEIS                JERRY L               MD         24X01001378       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               THELMA                MD         24X03000884       THE LAW OFFICES OF PETER T. NICHOLL
THIGPEN              MILTON L              VA         29428RC           THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               THEODORE R            MD         X01000785         THE LAW OFFICES OF PETER T. NICHOLL
THOMAS               ALBERT                MD         24X02000058       THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               THOMAS G              VA         0089000           THE LAW OFFICES OF PETER T. NICHOLL
THOMAS               ALBERT G              VA         001129            THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               VILLIE                MD         24X10000462       THE LAW OFFICES OF PETER T. NICHOLL
THOMAS               ALMA D                VA         28006RC           THE LAW OFFICES OF PETER T. NICHOLL                  THOMAS               WANDA                 MD         24X16000247       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 815
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 150 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

THOMAS               WILLIAM               MD         24X12000774       THE LAW OFFICES OF PETER T. NICHOLL                  THORNTON             LOWELL W              VA         700CL0337478P03   THE LAW OFFICES OF PETER T. NICHOLL
THOMAS               WILLIAM U             MD         X01000971         THE LAW OFFICES OF PETER T. NICHOLL                  THORNTON             MAGGIE M              MD         98212512CX1532    THE LAW OFFICES OF PETER T. NICHOLL
THOMAS               WILLIE A              VA         32341RW           THE LAW OFFICES OF PETER T. NICHOLL                  THORNTON             MILTON B              VA         29156VA           THE LAW OFFICES OF PETER T. NICHOLL
THOMAS               YVONNE                MD         24X11000124       THE LAW OFFICES OF PETER T. NICHOLL                  THORPE               ELIZABETH T           MD         24X06000104       THE LAW OFFICES OF PETER T. NICHOLL
THOMAS-BEY           RALPH D               MD         24X01001374       THE LAW OFFICES OF PETER T. NICHOLL                  THREATT              WILLIE J              VA         740CL0100193400   THE LAW OFFICES OF PETER T. NICHOLL
THOMPKINS            ROBERT E              VA         740CL0200033000   THE LAW OFFICES OF PETER T. NICHOLL                  THROWER              JAMES W               MD         24X09000032       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             AGNES E               MD         24X06000235       THE LAW OFFICES OF PETER T. NICHOLL                  THUNE                IRENE                 MD         24X04001102       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             BETTY A               MD         98163556VC1235    THE LAW OFFICES OF PETER T. NICHOLL                  THUNE                JOHN G                MD         24X04001102       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             BRADFORD              VA         700CL0232327V05   THE LAW OFFICES OF PETER T. NICHOLL                  THURSTON             EMMETT R              MD         24X02002594       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CALVIN B              MD         24X02001501       THE LAW OFFICES OF PETER T. NICHOLL                  TIANO                JOSEPH M              VA         740CL0100181200   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CECELIA               MD         24X04001163       THE LAW OFFICES OF PETER T. NICHOLL                  TIBBS                DEBORAH               MD         24X04000668       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CHARLES H             MD         24X01000804       THE LAW OFFICES OF PETER T. NICHOLL                  TIBBS                RONALD M              MD         24X04000668       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CHARLES M             MD         24X01002000       THE LAW OFFICES OF PETER T. NICHOLL                  TIDWELL              JOHNNIE M             VA         740CL0100175900   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CHARLES W             VA         700CL0233138V05   THE LAW OFFICES OF PETER T. NICHOLL                  TIERNAN              JOHN BARRY            MD         24X14000191       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CHARLIE F             VA         700CL0232380C03   THE LAW OFFICES OF PETER T. NICHOLL                  TIGGLE               BETTY                 MD         98338545CX2369    THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             CLAUDE                VA         740CL0300126400   THE LAW OFFICES OF PETER T. NICHOLL                  TIGGLE               HAMILTON L            MD         98338545CX2369    THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             DAVID W               MD         24X06000235       THE LAW OFFICES OF PETER T. NICHOLL                  TILGHMON             WESLEY                VA         740CL0300003400   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             DONALD E              VA         740CL0100346800   THE LAW OFFICES OF PETER T. NICHOLL                  TILLAR               JAMES E               VA         700CL0337458P03   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             EPHRAIM H             VA         700CL0235788A04   THE LAW OFFICES OF PETER T. NICHOLL                  TILLERY              EDWARD J              VA         740CL0100312200   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             ERMOND                VA         740CL0100322300   THE LAW OFFICES OF PETER T. NICHOLL                  TILLERY              LEE O                 VA         002160            THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             ERNEST C              VA         700CL0235604A04   THE LAW OFFICES OF PETER T. NICHOLL                  TILLETT              JAMES H               VA         700CL0438712J05   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             ETHEL                 MD         24X01000804       THE LAW OFFICES OF PETER T. NICHOLL                  TILLMAN              HARLEY M              MD         24X01001372       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             EUGENE                VA         740CL0200040800   THE LAW OFFICES OF PETER T. NICHOLL                  TILLMAN              SANDRA                MD         24X01001372       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             GRADY L               VA         740CL0300120300   THE LAW OFFICES OF PETER T. NICHOLL                  TILTON               EDWARD L              VA         29809RW           THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             GREGORY B             MD         24X04000812       THE LAW OFFICES OF PETER T. NICHOLL                  TIMM                 ARNOLD H              MD         24X06000575       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             HARRY L               VA         700CL0232105C03   THE LAW OFFICES OF PETER T. NICHOLL                  TIMM                 MARGARET J            MD         24X06000575       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             HAZEL M               VA         700CL0539575J05   THE LAW OFFICES OF PETER T. NICHOLL                  TIMMONS              SARAH I               MD         24X06000432       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             HENRY F               MD         24X14000544       THE LAW OFFICES OF PETER T. NICHOLL                  TINSLEY              ARMOUS                MD         24X05000447       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             HENRY FRANKLIN        MD         24X14000544       THE LAW OFFICES OF PETER T. NICHOLL                  TINSLEY              DONNELL A             MD         24X02002140       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             IDA                   MD         X01000998         THE LAW OFFICES OF PETER T. NICHOLL                  TINSLEY              RHONDA B              MD         24X02002140       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JAMES D               VA         740CL99001700     THE LAW OFFICES OF PETER T. NICHOLL                  TIPTON               DONALD W              MD         24X08000080       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JAMES D               VA         700CL0539393T01   THE LAW OFFICES OF PETER T. NICHOLL                  TIPTON               RICHARD G             VA         700CL0437635P03   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JAMES P               MD         24X01001941       THE LAW OFFICES OF PETER T. NICHOLL                  TIPTON               WILLIAM G             MD         24X10000205       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JANET                 MD         24X06000329       THE LAW OFFICES OF PETER T. NICHOLL                  TITUS                EDWARD G              VA         740CL0100112200   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JANET                 MD         24X01001941       THE LAW OFFICES OF PETER T. NICHOLL                  TIZER                FRANK G               MD         24X02002722       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JEAN E                MD         24X14000330       THE LAW OFFICES OF PETER T. NICHOLL                  TOATLEY              EDGAR C               MD         24X02002719       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JOHN F                VA         29373RW           THE LAW OFFICES OF PETER T. NICHOLL                  TOATLEY              LILIA                 MD         24X02002719       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JOHN H                MD         24X04001163       THE LAW OFFICES OF PETER T. NICHOLL                  TODD                 RONALD P              VA         001808            THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             JOHN W                MD         X01000998         THE LAW OFFICES OF PETER T. NICHOLL                  TODD                 WILLIAM A             VA         700CL0232114H02   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             LEROY                 VA         001798            THE LAW OFFICES OF PETER T. NICHOLL                  TOGNOCCHI            LINDA                 MD         24X04000329       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             LINDA                 MD         24X01002000       THE LAW OFFICES OF PETER T. NICHOLL                  TOGNOCCHI            RICHARD R             MD         24X04000329       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             LIONEL                MD         24X14000330       THE LAW OFFICES OF PETER T. NICHOLL                  TOKAR                ALBERT A              MD         X98402475         THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             LORRAINE              MD         24X14000544       THE LAW OFFICES OF PETER T. NICHOLL                  TOKAR                NANCY                 MD         X98402475         THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             MAURICE E             VA         740CL0300095400   THE LAW OFFICES OF PETER T. NICHOLL                  TOLAND               HOSEA                 VA         101400            THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             MICKIE                VA         700CL0235624A04   THE LAW OFFICES OF PETER T. NICHOLL                  TOLIVER              ARCHIE L              MD         X01000786         THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             MORRIS E              VA         700CL0232753A04   THE LAW OFFICES OF PETER T. NICHOLL                  TOLIVER              ARTHUR E              VA         29374VC           THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             MOSES                 MD         24X03000441       THE LAW OFFICES OF PETER T. NICHOLL                  TOLIVER              CARMEN                MD         98156514CX1146    THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             OBADIAH               VA         32589W01          THE LAW OFFICES OF PETER T. NICHOLL                  TOLIVER              FLOYD                 VA         700CL0232328A04   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             OSCAR C               VA         700CL0232210C03   THE LAW OFFICES OF PETER T. NICHOLL                  TOLIVER              OSCAR D               MD         98156514CX1146    THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             OSCAR C               VA         740CL0200357500   THE LAW OFFICES OF PETER T. NICHOLL                  TOLLEY               STEPHEN C             MD         X99000190         THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             OSCAR C               VA         700CL0539575J05   THE LAW OFFICES OF PETER T. NICHOLL                  TOMCZEWSKI           GEORGE M              MD         24X03000565       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             PAMELA                MD         24X04000812       THE LAW OFFICES OF PETER T. NICHOLL                  TOMCZEWSKI           SHARON                MD         24X03000565       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             PLEASANT E            VA         700CL0438032W01   THE LAW OFFICES OF PETER T. NICHOLL                  TOMLIN               MILLS T               VA         740CL0200355900   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             RANDY                 MD         98163556VC1235    THE LAW OFFICES OF PETER T. NICHOLL                  TONARELLI            DOROTHY               MD         24X04000557       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             ROBERT F              MD         24X04000812       THE LAW OFFICES OF PETER T. NICHOLL                  TONARELLI            RONALD W              MD         24X04000557       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             RONALD H              MD         98233510CX1636    THE LAW OFFICES OF PETER T. NICHOLL                  TONEY                CONSTANCE             MD         98320504CX2169    THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             ROYCE A               VA         740CL0300120400   THE LAW OFFICES OF PETER T. NICHOLL                  TONEY                LEON                  MD         24X01001690       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             THELMA W              VA         700CL0539393T01   THE LAW OFFICES OF PETER T. NICHOLL                  TONEY                TULLIO C              MD         98320504CX2169    THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             WALTER E              VA         29018W01          THE LAW OFFICES OF PETER T. NICHOLL                  TONI                 GERALD F              MD         24X01001686       THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             WILLIAM               VA         740CL0100146000   THE LAW OFFICES OF PETER T. NICHOLL                  TOOMER               TONY D                VA         740CL0200033400   THE LAW OFFICES OF PETER T. NICHOLL
THOMPSON             WILLIAM E             MD         24X11000369       THE LAW OFFICES OF PETER T. NICHOLL                  TOOMEY               GEORGE W              MD         24X02002718       THE LAW OFFICES OF PETER T. NICHOLL
THORNHILL            HUBERT                VA         740CL0200357600   THE LAW OFFICES OF PETER T. NICHOLL                  TOOMEY               RAE LUCILLE           MD         24X02002718       THE LAW OFFICES OF PETER T. NICHOLL
THORNHILL            JAMES                 MD         24X03000292       THE LAW OFFICES OF PETER T. NICHOLL                  TORAIN               NELVIN L              VA         740CL0300200400   THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             CHARLES T             MD         98212512CX1532    THE LAW OFFICES OF PETER T. NICHOLL                  TORRENCE             JUNE                  MD         24X04000494       THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             ELIZABETH J           MD         24X05000041       THE LAW OFFICES OF PETER T. NICHOLL                  TORRENCE             SAMUEL                MD         24X04000494       THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             HENRY L               MD         24X0201551        THE LAW OFFICES OF PETER T. NICHOLL                  TOSTANOSKI           LOUISE L              MD         24X06000253       THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             JACQUELINE            MD         24X0201551        THE LAW OFFICES OF PETER T. NICHOLL                  TOTH                 THOMAS H              VA         700CL0235789C03   THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             JAMES                 MD         24X05000041       THE LAW OFFICES OF PETER T. NICHOLL                  TOTTEN               CHARLES D             VA         01639             THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             JAMES P               MD         24X04000151       THE LAW OFFICES OF PETER T. NICHOLL                  TOWNES               GEORGE W              VA         740CL0200194300   THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             JOSEPH H              VA         700CL0235903A04   THE LAW OFFICES OF PETER T. NICHOLL                  TOWNES               THERLING J            MD         98183509CX1336    THE LAW OFFICES OF PETER T. NICHOLL
THORNTON             LEONARD A             MD         01000796          THE LAW OFFICES OF PETER T. NICHOLL                  TOWNS                JAMES L               VA         740CL0300120500   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 816
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 151 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

TOWNSELL             ROBERT E              VA         740CL0200039800   THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ALEXANDER             VA         740CL0200054200   THE LAW OFFICES OF PETER T. NICHOLL
TOWNSEND             LINDA                 MD         24X02001503       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               CHARLES H             MD         98240519CX1671    THE LAW OFFICES OF PETER T. NICHOLL
TOWNSEND             ROBERT                MD         24X02001503       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               DAWN A                MD         01000878          THE LAW OFFICES OF PETER T. NICHOLL
TRACY                BILLY R               VA         740CL0200040900   THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               EARNEST E             VA         740CL0300082700   THE LAW OFFICES OF PETER T. NICHOLL
TRAFTON              JUNIOUS O             VA         740CL0300120600   THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ELDON M               VA         700CL0235808A04   THE LAW OFFICES OF PETER T. NICHOLL
TRAFTON              WOODY R               MD         24X15000025       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               EVA J                 MD         98329574CX2299    THE LAW OFFICES OF PETER T. NICHOLL
TRAGESER             DONNA                 MD         24X02000892       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               FRANKLIN S            VA         740CL00000187     THE LAW OFFICES OF PETER T. NICHOLL
TRAGESER             FRANCIS W             MD         24X02000892       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               GARLAND W             VA         0028874C03        THE LAW OFFICES OF PETER T. NICHOLL
TRAINUM              LEITH S               MD         24X02002103       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               GEORGE R              VA         740CL0200055200   THE LAW OFFICES OF PETER T. NICHOLL
TRAINUM              THERESE               MD         24X02002103       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               HELEN                 MD         98240519CX1671    THE LAW OFFICES OF PETER T. NICHOLL
TRAPP                GEORGE T              VA         740CL0100191500   THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               JAMES                 VA         740CL0100223700   THE LAW OFFICES OF PETER T. NICHOLL
TRATTNER             JOHN M                MD         24X03000080       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               JAMES                 VA         700CL0235790W01   THE LAW OFFICES OF PETER T. NICHOLL
TRATTNER             MATILDA               MD         24X03000080       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               JOHNNIE               VA         740CL0200112400   THE LAW OFFICES OF PETER T. NICHOLL
TRAVERS              DOROTHY               MD         24X02001571       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               LUTHER                VA         740CL0200112500   THE LAW OFFICES OF PETER T. NICHOLL
TRAVERS              HOWARD                MD         98320503CX2168    THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               MARY                  MD         24X01001695       THE LAW OFFICES OF PETER T. NICHOLL
TRAVERS              LEON C                MD         24X02001571       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               NATHAN                MD         24X01001695       THE LAW OFFICES OF PETER T. NICHOLL
TRAVERS              REGINALD W            MD         24X01001023       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               RAYMOND E             MD         X01000960         THE LAW OFFICES OF PETER T. NICHOLL
TRAVERS              SHIRLEY               MD         24X01001827       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               RICHARD L             MD         24X03000877       THE LAW OFFICES OF PETER T. NICHOLL
TRAVIS               CAROLYN               MD         24X02000158       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ROBERT A              VA         700CL0438022W01   THE LAW OFFICES OF PETER T. NICHOLL
TRAVIS               CHARLES W             MD         24X02000158       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ROBERT E              VA         740CL0200121900   THE LAW OFFICES OF PETER T. NICHOLL
TRAYHAM              WILLIAM               MD         X99000716         THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ROBERT L              VA         740CL0100213300   THE LAW OFFICES OF PETER T. NICHOLL
TRAYNHAM             GILBERT               MD         24X10000009       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ROBERT L              VA         991680            THE LAW OFFICES OF PETER T. NICHOLL
TREMBLE              ANTOINETTE            MD         24X01001397       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ROBERT M              MD         01000878          THE LAW OFFICES OF PETER T. NICHOLL
TREMBLE              CURTIS                MD         24X01001397       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               RODERICK A            VA         700CL0235809C03   THE LAW OFFICES OF PETER T. NICHOLL
TREMBLY              RICHARD K             MD         X01000571         THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               RONALD A              MD         98329574CX2299    THE LAW OFFICES OF PETER T. NICHOLL
TRENNER              JACK F                MD         24X02000228       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               ROSA R                VA         700CL0539576T01   THE LAW OFFICES OF PETER T. NICHOLL
TRENNER              MARK J                MD         24X02000228       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               RUFUS D               VA         700CL0028763V05   THE LAW OFFICES OF PETER T. NICHOLL
TRENT                JAMES C               MD         24X99000247       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               SHANAKIA              MD         24X02000975       THE LAW OFFICES OF PETER T. NICHOLL
TRENTZSCH            WILLIAM F             MD         24X03000290       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               SHANAKIA              MD         24X08000283       THE LAW OFFICES OF PETER T. NICHOLL
TREZEVANT            JERRY                 MD         24X03001182       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               SIMON                 VA         740CL0100223800   THE LAW OFFICES OF PETER T. NICHOLL
TRIANTAFILOS         ANGELA                MD         24X02000694       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               THOMAS                VA         102900            THE LAW OFFICES OF PETER T. NICHOLL
TRIANTIS             ANGELO G              MD         24X03000343       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               THOMAS J              MD         24X09000121       THE LAW OFFICES OF PETER T. NICHOLL
TRIBULL              DONNA L               MD         98402488          THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               THOMAS K              MD         X01000279         THE LAW OFFICES OF PETER T. NICHOLL
TRIBULL              JOSEPH J              MD         98402488          THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               THOMAS L              MD         98402491          THE LAW OFFICES OF PETER T. NICHOLL
TRIPLETT             JIMMIE                VA         700CL0235625C03   THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               WALTER C              MD         24X01001132       THE LAW OFFICES OF PETER T. NICHOLL
TRIPLETT             KENNETH C             MD         24X02001486       THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               WILLIAM P             MD         24X02002592       THE LAW OFFICES OF PETER T. NICHOLL
TRITT                JAMES E               VA         700CL0438713T01   THE LAW OFFICES OF PETER T. NICHOLL                  TURNER               WILLIE                VA         9927797A04        THE LAW OFFICES OF PETER T. NICHOLL
TROTMAN              WARREN L              MD         X01000988         THE LAW OFFICES OF PETER T. NICHOLL                  TURPIN               WESLEY                MD         24X03000414       THE LAW OFFICES OF PETER T. NICHOLL
TRUHART              HARRY S               VA         740CL0100112300   THE LAW OFFICES OF PETER T. NICHOLL                  TURRENTINE           RONALD                MD         98310513CX2091    THE LAW OFFICES OF PETER T. NICHOLL
TRUHART              TONY                  VA         002070            THE LAW OFFICES OF PETER T. NICHOLL                  TURRENTINE           SHIRLEY A             MD         98310513CX2091    THE LAW OFFICES OF PETER T. NICHOLL
TRUIETT              WALTER                MD         24X01001593       THE LAW OFFICES OF PETER T. NICHOLL                  TWINE                EUGENE G              MD         24X04000752       THE LAW OFFICES OF PETER T. NICHOLL
TRUMBLE              ERNEST                VA         32576VA           THE LAW OFFICES OF PETER T. NICHOLL                  TWINE                GEORGE C              VA         740CL0300019400   THE LAW OFFICES OF PETER T. NICHOLL
TRUMBLE              HAROLD C              VA         740CL0300003300   THE LAW OFFICES OF PETER T. NICHOLL                  TWINE                ROBERT E              VA         740CL0200003600   THE LAW OFFICES OF PETER T. NICHOLL
TRUSLOW              DARLENE               MD         24X11000847       THE LAW OFFICES OF PETER T. NICHOLL                  TWINE                SAMUEL R              VA         740CL0200378200   THE LAW OFFICES OF PETER T. NICHOLL
TRUSLOW              GEORGE E              MD         24X11000847       THE LAW OFFICES OF PETER T. NICHOLL                  TYLER                CLARENCE E            VA         740CL0200018800   THE LAW OFFICES OF PETER T. NICHOLL
TRUSSELL             MICHAEL H             VA         700CL0233147W01   THE LAW OFFICES OF PETER T. NICHOLL                  TYLER                DAVID                 VA         99001990          THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               CARL                  MD         24X02000692       THE LAW OFFICES OF PETER T. NICHOLL                  TYLER                JOHNNY M              VA         700CL0233128V05   THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               CLARENCE R            MD         24X11000240       THE LAW OFFICES OF PETER T. NICHOLL                  TYLER                LAWRENCE O            MD         24X06000243       THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               ELIZABETH N           VA         100100            THE LAW OFFICES OF PETER T. NICHOLL                  TYLER                PATRICIA C            MD         24X06000243       THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               EUGENE F              MD         98282508CX1890    THE LAW OFFICES OF PETER T. NICHOLL                  TYNER                BERSUN                MD         24X05000544       THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               JAMES E               VA         0084500           THE LAW OFFICES OF PETER T. NICHOLL                  TYNER                JOSEPH                MD         24X05000544       THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               JAMES M               VA         740CL0100192500   THE LAW OFFICES OF PETER T. NICHOLL                  TYNER                MELVIN                MD         24X05000544       THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               JANET K               MD         98282508CX1890    THE LAW OFFICES OF PETER T. NICHOLL                  TYNER                MELVIN L              MD         98402446          THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               JOYCE E               MD         24X11000357       THE LAW OFFICES OF PETER T. NICHOLL                  TYNER                MOLLIE B              MD         24X05000544       THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               LOUIS E               VA         29798VC           THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                ARCELIOUS             VA         29040RC           THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               MARSHALL F            VA         29132VC           THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                CATHERINE             VA         700CL0539577P03   THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               MAXINE                MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                GEORGE J              VA         740CL0200357700   THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               RHONDA                MD         24X02000692       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                HAROLD D              VA         700CL0235605C03   THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               SHERBIE J             VA         700CL0437606W01   THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                JAMES L               VA         28529RC           THE LAW OFFICES OF PETER T. NICHOLL
TUCKER               WALTER B              MD         24X11000357       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                JOHN C                MD         98267508CX1797    THE LAW OFFICES OF PETER T. NICHOLL
TUGGLE               FANNIE M              MD         24X05000083       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                JUNIUS                VA         0088600           THE LAW OFFICES OF PETER T. NICHOLL
TUMLIN               BERNARD E             VA         001769            THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                LYDELL G              VA         740CL0200036600   THE LAW OFFICES OF PETER T. NICHOLL
TUNE                 JOHN                  MD         24X02002102       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                ROBERT E              VA         740CL0100142000   THE LAW OFFICES OF PETER T. NICHOLL
TUNSTALL             CHARLES Y             MD         24X03000886       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                WILBERT A             VA         740CL0100195300   THE LAW OFFICES OF PETER T. NICHOLL
TUNSTALL             DEBORAH               MD         24X03000886       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                WILLIAM H             VA         740CL0100329900   THE LAW OFFICES OF PETER T. NICHOLL
TUNSTALL             NINA MAE              MD         24X02000123       THE LAW OFFICES OF PETER T. NICHOLL                  TYNES                WILLIE M              MD         98267508CX1797    THE LAW OFFICES OF PETER T. NICHOLL
TUNSTALL             ROBERT                MD         01000790          THE LAW OFFICES OF PETER T. NICHOLL                  TYSON                ALBERT L              VA         74CL0200314200    THE LAW OFFICES OF PETER T. NICHOLL
TUNSTALL             ROBERT M              VA         740CL0300003200   THE LAW OFFICES OF PETER T. NICHOLL                  TYSON                KEVIN C               MD         24X12000416       THE LAW OFFICES OF PETER T. NICHOLL
TURKIN               FRED M                MD         98204505CX1466    THE LAW OFFICES OF PETER T. NICHOLL                  TYSON                MARVIN E              VA         27997EH           THE LAW OFFICES OF PETER T. NICHOLL
TURKIN               PATRICIA              MD         98204505CX1466    THE LAW OFFICES OF PETER T. NICHOLL                  TYSON                VANESSA               MD         24X12000416       THE LAW OFFICES OF PETER T. NICHOLL
TURLINGTON           CHARLES E             VA         700CL0232754C03   THE LAW OFFICES OF PETER T. NICHOLL                  TYSON                WILLIE L              VA         700CL0437883V04   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 817
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 152 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

TYSON                WINSTON A             MD         24X11000849       THE LAW OFFICES OF PETER T. NICHOLL                  VELLINES             MARTIN J              VA         740CL0100195400    THE LAW OFFICES OF PETER T. NICHOLL
TYYNER               JAMES                 MD         24X05000544       THE LAW OFFICES OF PETER T. NICHOLL                  VENABLE              JOSEPH R              VA         700CL0337461H02    THE LAW OFFICES OF PETER T. NICHOLL
ULRICH               JOHN C                MD         X01000953         THE LAW OFFICES OF PETER T. NICHOLL                  VENCILL              ALMA J                MD         24X13000089        THE LAW OFFICES OF PETER T. NICHOLL
ULRICH               KELLY                 MD         X01000953         THE LAW OFFICES OF PETER T. NICHOLL                  VENEY                GEORGE R              VA         740CL0100348300    THE LAW OFFICES OF PETER T. NICHOLL
UMPHLETT             WALTER H              VA         700CL0337459W01   THE LAW OFFICES OF PETER T. NICHOLL                  VENKER               GEORGE W              MD         24X01001554        THE LAW OFFICES OF PETER T. NICHOLL
UNDERWOOD            GEORGE D              MD         24X02002614       THE LAW OFFICES OF PETER T. NICHOLL                  VEREEN               JOHN M                VA         740CL0100146100    THE LAW OFFICES OF PETER T. NICHOLL
UNDERWOOD            MARK D                VA         30006EH           THE LAW OFFICES OF PETER T. NICHOLL                  VERLANDER            ROBERT B              VA         29430VC            THE LAW OFFICES OF PETER T. NICHOLL
UNDERWOOD            PERRY G               VA         01880             THE LAW OFFICES OF PETER T. NICHOLL                  VERLANDER            ROBERT B              VA         001357             THE LAW OFFICES OF PETER T. NICHOLL
UPHOFF               ANTHONY W             MD         24X01001979       THE LAW OFFICES OF PETER T. NICHOLL                  VERMILLION           CARL R                MD         24X02001712        THE LAW OFFICES OF PETER T. NICHOLL
UPSHUR               BETSY                 VA         700CL0539597P03   THE LAW OFFICES OF PETER T. NICHOLL                  VESSELLA             PETER J               VA         32591A04           THE LAW OFFICES OF PETER T. NICHOLL
UPSHUR               JACQUELINE            MD         24X16000301       THE LAW OFFICES OF PETER T. NICHOLL                  VIARS                ARMONDA C             VA         700CL0232126W01    THE LAW OFFICES OF PETER T. NICHOLL
UPTON                LONNIE M              VA         740CL0100174500   THE LAW OFFICES OF PETER T. NICHOLL                  VIARS                JOHN E                VA         740CL0200090700    THE LAW OFFICES OF PETER T. NICHOLL
URQUHART             BENNIE U              VA         29429RW           THE LAW OFFICES OF PETER T. NICHOLL                  VICE                 JOE N                 MD         98197504CX1402     THE LAW OFFICES OF PETER T. NICHOLL
URQUHART             BERNARD               VA         740CL0000017500   THE LAW OFFICES OF PETER T. NICHOLL                  VICE                 LILA M                MD         98197504CX1402     THE LAW OFFICES OF PETER T. NICHOLL
URQUHART             FLOYD E               MD         24X02002141       THE LAW OFFICES OF PETER T. NICHOLL                  VICK                 ERNEST L              VA         740CL0300003100    THE LAW OFFICES OF PETER T. NICHOLL
URQUHART             JOHN W                VA         700CL0438286W01   THE LAW OFFICES OF PETER T. NICHOLL                  VICKERY              ARRY J                MD         24X02002137        THE LAW OFFICES OF PETER T. NICHOLL
URQUHART             LAWRENCE W            VA         32352VC           THE LAW OFFICES OF PETER T. NICHOLL                  VINCENT              THERMAN               VA         700CL0437913V04    THE LAW OFFICES OF PETER T. NICHOLL
URQUHART             MARVIN                VA         30166VA           THE LAW OFFICES OF PETER T. NICHOLL                  VINES                ALSTON                VA         700CLO438378H02    THE LAW OFFICES OF PETER T. NICHOLL
URSO                 DEBORAH               MD         X01000833         THE LAW OFFICES OF PETER T. NICHOLL                  VINES                CLARENCE E SR         VA         700CL0028201V05    THE LAW OFFICES OF PETER T. NICHOLL
URSO                 PETER                 MD         X01000833         THE LAW OFFICES OF PETER T. NICHOLL                  VINES                WILLIAM W             VA         740CL0300095600    THE LAW OFFICES OF PETER T. NICHOLL
UTTENREITHER         CATHERINE             MD         98337504CX2316    THE LAW OFFICES OF PETER T. NICHOLL                  VINSON               IRVING M              VA         740CL0300122300    THE LAW OFFICES OF PETER T. NICHOLL
UTTENREITHER         DONALD F              MD         98337504CX2316    THE LAW OFFICES OF PETER T. NICHOLL                  VINSON               JAMES C               VA         740CL0100167100    THE LAW OFFICES OF PETER T. NICHOLL
UZZLE                ERNEST L              VA         700CL0235810W01   THE LAW OFFICES OF PETER T. NICHOLL                  VINSON               JESSE C               VA         700CLO438368H02    THE LAW OFFICES OF PETER T. NICHOLL
UZZLE                JAMES M               VA         29204RW           THE LAW OFFICES OF PETER T. NICHOLL                  VINSON               LEE A                 VA         01881              THE LAW OFFICES OF PETER T. NICHOLL
UZZLE                JUNIUS                VA         700CL0235814C03   THE LAW OFFICES OF PETER T. NICHOLL                  VINSON               NORFLEET              VA         29799RW            THE LAW OFFICES OF PETER T. NICHOLL
UZZLE                SCLESTER SR           VA         700CL9927956RC    THE LAW OFFICES OF PETER T. NICHOLL                  VINSON               WILBUR L              VA         32353VA            THE LAW OFFICES OF PETER T. NICHOLL
UZZLE                WALTER                VA         740CL9900190500   THE LAW OFFICES OF PETER T. NICHOLL                  VLANGAS              JOANNA A              MD         24X10000342        THE LAW OFFICES OF PETER T. NICHOLL
VAISE                STEPHEN J             MD         24X11000376       THE LAW OFFICES OF PETER T. NICHOLL                  VOCKE                JENNIFER L            MD         24X11000370        THE LAW OFFICES OF PETER T. NICHOLL
VALENTINE            GARY L                MD         24X11000123       THE LAW OFFICES OF PETER T. NICHOLL                  VOCKE                STANLEY T             MD         24X11000370        THE LAW OFFICES OF PETER T. NICHOLL
VALENTINE            LINDA                 MD         24X11000123       THE LAW OFFICES OF PETER T. NICHOLL                  VOGLEWEDE            PHILIP A              VA         30140RW            THE LAW OFFICES OF PETER T. NICHOLL
VALENTINE            WILLIAM L             VA         740CL0200033500   THE LAW OFFICES OF PETER T. NICHOLL                  VOGLINO              ALFRED J              MD         24X06000658        THE LAW OFFICES OF PETER T. NICHOLL
VAN DANIKER          JOSEPH M              MD         24X09000332       THE LAW OFFICES OF PETER T. NICHOLL                  VOGLINO              MAE S                 MD         24X06000658        THE LAW OFFICES OF PETER T. NICHOLL
VANCE                JAMES E               VA         740CL0100172600   THE LAW OFFICES OF PETER T. NICHOLL                  VOLZ                 ROBERT W              MD         24X02002417        THE LAW OFFICES OF PETER T. NICHOLL
VANN                 ANDRE M SR            VA         99001777          THE LAW OFFICES OF PETER T. NICHOLL                  VON GUNTEN           JOAN E                MD         24X06000406        THE LAW OFFICES OF PETER T. NICHOLL
VANN                 BRINSTON E            VA         740CL0100160500   THE LAW OFFICES OF PETER T. NICHOLL                  VONHENDRICKS         VICTOR L              MD         01000799           THE LAW OFFICES OF PETER T. NICHOLL
VANN                 GEOFFREY D            VA         740CL0300019500   THE LAW OFFICES OF PETER T. NICHOLL                  VONLINDENBEG         BARBARA               MD         24X01001874        THE LAW OFFICES OF PETER T. NICHOLL
VANN                 PAUL L                VA         0028799A04        THE LAW OFFICES OF PETER T. NICHOLL                  VONLINDENBERG        CHARLES               MD         24X01001874        THE LAW OFFICES OF PETER T. NICHOLL
VANN                 THOMAS                VA         002649            THE LAW OFFICES OF PETER T. NICHOLL                  VORIS                KATHERINE             MD         98402483           THE LAW OFFICES OF PETER T. NICHOLL
VARGAS               ALICE                 MD         24X02002603       THE LAW OFFICES OF PETER T. NICHOLL                  VORIS                ROLAND C              MD         98402483           THE LAW OFFICES OF PETER T. NICHOLL
VARGAS               MYRON                 MD         24X02002603       THE LAW OFFICES OF PETER T. NICHOLL                  VREELAND             IRVING W              VA         740CL02000066300   THE LAW OFFICES OF PETER T. NICHOLL
VARGO                CARMELA               MD         24X01001582       THE LAW OFFICES OF PETER T. NICHOLL                  WACHTER              DOROTHY               MD         24X10000427        THE LAW OFFICES OF PETER T. NICHOLL
VARGO                DANIEL J              MD         24X01001582       THE LAW OFFICES OF PETER T. NICHOLL                  WACHTER              LOUIS A               MD         24X10000427        THE LAW OFFICES OF PETER T. NICHOLL
VASOLD               LAWRENCE G JR         MD         98329577CX2302    THE LAW OFFICES OF PETER T. NICHOLL                  WADDELL              BRUCE R               VA         740CL02000066400   THE LAW OFFICES OF PETER T. NICHOLL
VASOLD               MICHAELENE            MD         98329577CX2302    THE LAW OFFICES OF PETER T. NICHOLL                  WADDELL              DAVID S               VA         700CL0232470V05    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              AMOS L                VA         32590V05          THE LAW OFFICES OF PETER T. NICHOLL                  WADDELL              JAMES R               VA         740CL0100170600    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              CORNELL E             MD         01000342          THE LAW OFFICES OF PETER T. NICHOLL                  WADDELL              LEROY                 MD         24X02001566        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              ELIJAH J              MD         24X03000650       THE LAW OFFICES OF PETER T. NICHOLL                  WADDLES              JACKIE                VA         700CL0437884H02    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              HARRY E               VA         740CL0200039900   THE LAW OFFICES OF PETER T. NICHOLL                  WADDY                RANDOLPH L            MD         24X01000716        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              LINWOOD R             VA         740CL0100213400   THE LAW OFFICES OF PETER T. NICHOLL                  WADDY                VELMA                 MD         24X01000716        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              MELVIN                VA         740CL0100204500   THE LAW OFFICES OF PETER T. NICHOLL                  WADE                 ALBERT                MD         24X02002228        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              MICHAEL L             VA         740CL0100142100   THE LAW OFFICES OF PETER T. NICHOLL                  WADE                 JAMES E               VA         740CL0200357300    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              NELSON                VA         700CL0028512V05   THE LAW OFFICES OF PETER T. NICHOLL                  WADE                 KATHERINE             MD         24X02002228        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              ROBERT E              VA         700CL0337479W01   THE LAW OFFICES OF PETER T. NICHOLL                  WADE                 RM                    VA         740CL0200088500    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              SHERMAN               VA         740CL0100174600   THE LAW OFFICES OF PETER T. NICHOLL                  WADE                 WILLIAM               VA         700CL9928007H02    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHAN              WILLIAM H             VA         740CL0300095500   THE LAW OFFICES OF PETER T. NICHOLL                  WAFF                 DAVID M               VA         740CL0100146200    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               DONALD C              MD         24X14000427       THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             CERILDA               MD         98329502CX2227     THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               DOROTHY               MD         01000229          THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             FREDDY G              VA         700CL0438033V04    THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               HEARLY A              VA         29224VA           THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             JACK E                MD         98329502CX2227     THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               LAWRENCE              VA         740CL0200003700   THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             JAMES E               MD         24X06000231        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               MARGARET              MD         24X14000427       THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             JANET                 MD         98310518CX2096     THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               ROGER N               VA         01932             THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             JOSEPH C              MD         98310518CX2096     THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               ROY L                 VA         28690W01          THE LAW OFFICES OF PETER T. NICHOLL                  WAGGONER             LINDA L               MD         24X06000231        THE LAW OFFICES OF PETER T. NICHOLL
VAUGHN               TYRONE L              MD         01000229          THE LAW OFFICES OF PETER T. NICHOLL                  WAGNER               JOHN W                MD         24X02002784        THE LAW OFFICES OF PETER T. NICHOLL
VAWTER               WALTER E              VA         28997H02          THE LAW OFFICES OF PETER T. NICHOLL                  WAGNER               MILDRED               MD         24X06000491        THE LAW OFFICES OF PETER T. NICHOLL
VECCHIO              MICHAEL V             MD         24X14000458       THE LAW OFFICES OF PETER T. NICHOLL                  WAGONER              JAMES A               VA         740CL0300095700    THE LAW OFFICES OF PETER T. NICHOLL
VECCHIO              TONY F                VA         32585VC           THE LAW OFFICES OF PETER T. NICHOLL                  WAGSTAFF             FLENT                 VA         0028840V05         THE LAW OFFICES OF PETER T. NICHOLL
VECCHIONI            JOSEPH M              MD         24X02002714       THE LAW OFFICES OF PETER T. NICHOLL                  WAINWRIGHT           LOIS L                MD         24X12000857        THE LAW OFFICES OF PETER T. NICHOLL
VECCHIONI            MARIE                 MD         24X06000489       THE LAW OFFICES OF PETER T. NICHOLL                  WAINWRIGHT           RAYMOND N             MD         24X12000857        THE LAW OFFICES OF PETER T. NICHOLL
VECCHIONI            MARIE                 MD         24X02002714       THE LAW OFFICES OF PETER T. NICHOLL                  WAITERS              ERNEST                VA         740CL0200056300    THE LAW OFFICES OF PETER T. NICHOLL
VELAZQUEZ            MELISSA               MD         24X12000419       THE LAW OFFICES OF PETER T. NICHOLL                  WAITS                CHARLES E             VA         740CL0200051800    THE LAW OFFICES OF PETER T. NICHOLL
VELAZQUEZ            MELISSA               MD         24X15000599       THE LAW OFFICES OF PETER T. NICHOLL                  WAJBEL               RAYMOND P             MD         24X03001168        THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 818
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 153 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

WAJBEL               RAYMOND P JR          MD         24X03001168       THE LAW OFFICES OF PETER T. NICHOLL                  WALTERS              JOHN S                VA         740CL0200066600    THE LAW OFFICES OF PETER T. NICHOLL
WAKE                 CLARENCE M            MD         X01000853         THE LAW OFFICES OF PETER T. NICHOLL                  WALTHOUR             ERNEST                VA         28026RC            THE LAW OFFICES OF PETER T. NICHOLL
WAKE                 CLARENCE M            MD         24X06000606       THE LAW OFFICES OF PETER T. NICHOLL                  WALTON               CLINTON L             VA         700CL0438736H02    THE LAW OFFICES OF PETER T. NICHOLL
WAKE                 RUBY                  MD         X01000853         THE LAW OFFICES OF PETER T. NICHOLL                  WALTON               JOHNNY M              VA         740CL0100348200    THE LAW OFFICES OF PETER T. NICHOLL
WAKE                 RUBY M                MD         24X06000606       THE LAW OFFICES OF PETER T. NICHOLL                  WALTON               LOIS C                MD         24X06000565        THE LAW OFFICES OF PETER T. NICHOLL
WALDEN               ALVESTER              VA         700CL0028487V05   THE LAW OFFICES OF PETER T. NICHOLL                  WALTON               MELVIN                VA         740CL0100347000    THE LAW OFFICES OF PETER T. NICHOLL
WALDEN               LEWIS O               MD         24X15000505       THE LAW OFFICES OF PETER T. NICHOLL                  WALTON               ROBERT G              VA         700CL0232329H02    THE LAW OFFICES OF PETER T. NICHOLL
WALDROUP             JAMES E               VA         0028878W01        THE LAW OFFICES OF PETER T. NICHOLL                  WALTON               ROBIE L               VA         740CL99001952      THE LAW OFFICES OF PETER T. NICHOLL
WALKER               CAROLYN J             MD         98344503CX2425    THE LAW OFFICES OF PETER T. NICHOLL                  WANCOWICZ            GERALDINE F           MD         24X06000251        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               DAVID                 VA         29810VA           THE LAW OFFICES OF PETER T. NICHOLL                  WANCOWICZ            LEON A                MD         24X03000471        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               DAVID E               VA         32577EH           THE LAW OFFICES OF PETER T. NICHOLL                  WANCOWICZ            LEON A                MD         24X06000251        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               EDWARD E              VA         001116            THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 ALLEN T               VA         001611             THE LAW OFFICES OF PETER T. NICHOLL
WALKER               ERNEST                VA         740CL0300198100   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 ANTHONY J             VA         740CL0300002900    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               ERNEST L              MD         X01000996         THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 BERTHA F              VA         29186VA            THE LAW OFFICES OF PETER T. NICHOLL
WALKER               ERNEST W              VA         99001878          THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 BRENDA                MD         98344502CX2424     THE LAW OFFICES OF PETER T. NICHOLL
WALKER               FRED                  VA         740CL000008300    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 CONWAY L              VA         740CL0200124300    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               GARY P                VA         011047            THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 DAVID L               VA         740CL0200056400    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               IRA                   MD         24X02000390       THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 EDDIE                 VA         700CL0438714P03    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               JAMES A               VA         001145            THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 ERIC                  MD         98247507CX1686     THE LAW OFFICES OF PETER T. NICHOLL
WALKER               JAMES E               VA         29579EH           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 FLEMON                MD         X01000926          THE LAW OFFICES OF PETER T. NICHOLL
WALKER               JIMMY                 MD         98344503CX2425    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 GEORGE M              MD         24X02000065        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               JOAN                  MD         98337502CX2314    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 GOODMAN               MD         24X02001391        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               JOE H                 VA         740CL0100160600   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 HERMAN                VA         740CL0300019600    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               LAURA                 MD         X01000996         THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 HOPE H                MD         24X17000465        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               MARCUS L              VA         001128            THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 JAMES C               MD         24X12000626        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               MELVIN R SR           VA         27856VA           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 LANORIA E             MD         98247507CX1686     THE LAW OFFICES OF PETER T. NICHOLL
WALKER               MELVIN S              VA         991962            THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 LAVERNE               MD         24X10000428        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               NATHANIEL             MD         98163557CX1236    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 LEROY                 VA         700CL0235626W01    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               RICHARD               VA         29471RW           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 LINWOOD R             VA         700CL0235815W01    THE LAW OFFICES OF PETER T. NICHOLL
WALKER               ROBERT M              VA         740CL0100345600   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 LLOYD T               MD         24X10000428        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               SHIRLEY L             MD         98163557CX1236    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 MARCELLA              MD         24X17000542        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               TYRONE                VA         740CL0100140200   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 MARCELLA              MD         X99002227          THE LAW OFFICES OF PETER T. NICHOLL
WALKER               WALTER E              MD         98337502CX2314    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 MARY                  MD         24X02001391        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               WILLIAM A             VA         27988VC           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 MICHAEL A             MD         24X17000542        THE LAW OFFICES OF PETER T. NICHOLL
WALKER               WILLIAM L             VA         32354EH           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 MICHAEL A             MD         X99002227          THE LAW OFFICES OF PETER T. NICHOLL
WALL                 JAMES E               VA         700CL9927912H     THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 MICHAEL L             MD         98344502CX2424     THE LAW OFFICES OF PETER T. NICHOLL
WALL                 JOHN E                VA         700CL0438407V04   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 NORMAN L              VA         740CL0300122400    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              ALICE M               MD         X99000063         THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 PAUL H                VA         740CL0200086500    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              CATHERINE M           MD         98329583CX2308    THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 ROBERT H              MD         24X01001829        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              CHARLOTTE             MD         24X10000126       THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 ROBERT H              MD         24X06000757        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              CORNELL               VA         700CL0235606W01   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 SAMUEL                VA         740CL0200216600    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              EDWARD L              VA         32355RC           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 SARA                  MD         24X01001829        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              FRANKLIN              MD         99000096          THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 SARA H                MD         24X06000757        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              HASKELL J             MD         X01000695         THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 VERNON L              VA         700CL0438204H02    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              HOWARD                VA         740CL0100185900   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 VIVIAN O              VA         740CL0200117800    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              HOWARD                VA         32356RW           THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 WAVERLY J             VA         740CL0200357800    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JAMES F               VA         700CL0028477V05   THE LAW OFFICES OF PETER T. NICHOLL                  WARD                 WILLIAM H             VA         740CL0100348000    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JERRIAL S             VA         740CL0200041500   THE LAW OFFICES OF PETER T. NICHOLL                  WARDEN               JOHN D                VA         740CL0300168400    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JOANNE M              MD         24X02000060       THE LAW OFFICES OF PETER T. NICHOLL                  WARDEN               WILLIAM W             VA         740CLO0200086600   THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JOHN D                MD         X99000063         THE LAW OFFICES OF PETER T. NICHOLL                  WARDLAW              ALLEN H               MD         24X02000800        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JOHN E                VA         740CL0200112600   THE LAW OFFICES OF PETER T. NICHOLL                  WARDLAW              GARY P                MD         24X13000609        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JOHN J                MD         X01000561         THE LAW OFFICES OF PETER T. NICHOLL                  WARE                 JACKIE L              MD         98197502           THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JOHN L                VA         700CL0235778A04   THE LAW OFFICES OF PETER T. NICHOLL                  WARE                 MICHAEL W             MD         24X02001386        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              JOHN L                MD         24X01000467       THE LAW OFFICES OF PETER T. NICHOLL                  WARE                 ROSA                  MD         98197502           THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              LAURA W               MD         24X04001064       THE LAW OFFICES OF PETER T. NICHOLL                  WARE                 SAMUEL L              MD         24X02002274        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              LAWRENCE B            VA         740CL0200066500   THE LAW OFFICES OF PETER T. NICHOLL                  WARLICK              EVERETTE C            MD         24X01001944        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              LEROY                 MD         98329583CX2308    THE LAW OFFICES OF PETER T. NICHOLL                  WARLICK              FRANCIS M             MD         24X05000086        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              ROBERT E              VA         700CL0437636W01   THE LAW OFFICES OF PETER T. NICHOLL                  WARLICK              MARTHA                MD         24X01001944        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              SHANNON R             VA         740CL0100174700   THE LAW OFFICES OF PETER T. NICHOLL                  WARLICK              ALTON M               MD         24X05000086        THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              STUART G              MD         24X02000060       THE LAW OFFICES OF PETER T. NICHOLL                  WARNER               BELVA                 VA         700CL0539578H02    THE LAW OFFICES OF PETER T. NICHOLL
WALLACE              WILLIAM E             MD         24X10000126       THE LAW OFFICES OF PETER T. NICHOLL                  WARNER               KENT R                VA         700CL0235816V05    THE LAW OFFICES OF PETER T. NICHOLL
WALLER               JAMES F               VA         700CL0235904C03   THE LAW OFFICES OF PETER T. NICHOLL                  WARNICK              MARIE GERTRUDE        MD         24X06000712        THE LAW OFFICES OF PETER T. NICHOLL
WALLER               JEROME                MD         24X02002285       THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               ARNECHIA              MD         24X03000432        THE LAW OFFICES OF PETER T. NICHOLL
WALLER               LEROY W               VA         740CL0300246600   THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               DAVID D               VA         0028911H02         THE LAW OFFICES OF PETER T. NICHOLL
WALLER               STANLEY J             VA         740CL0100169400   THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               DON G                 VA         740CL0200117900    THE LAW OFFICES OF PETER T. NICHOLL
WALLER               WILLIAM A             VA         740CL0100348100   THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               DONALD W              VA         740CL0100169500    THE LAW OFFICES OF PETER T. NICHOLL
WALSTON              LEMMIE                VA         740CL0200073500   THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               EMMITT J              VA         740CL0100196400    THE LAW OFFICES OF PETER T. NICHOLL
WALTER               ERNEST O              MD         24X01001531       THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               JAMES E               VA         001113             THE LAW OFFICES OF PETER T. NICHOLL
WALTERS              DONALD R              MD         24X02002139       THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               JAMES L               VA         740CL0100126400    THE LAW OFFICES OF PETER T. NICHOLL
WALTERS              EDNA G                MD         24X01001722       THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               JOHN S                VA         700CL0235937H02    THE LAW OFFICES OF PETER T. NICHOLL
WALTERS              FREDERICK M           MD         24X01001722       THE LAW OFFICES OF PETER T. NICHOLL                  WARREN               JOHNNY M              VA         740CL0200356000    THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 819
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 154 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WARREN               MILLARD E             VA         700CL0337468P03   THE LAW OFFICES OF PETER T. NICHOLL                  WATKINS              JONATHAN              MD         24X05000166       THE LAW OFFICES OF PETER T. NICHOLL
WARREN               NATHANIEL             VA         700CL0438215T05   THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               ALLEN                 MD         24X03000875       THE LAW OFFICES OF PETER T. NICHOLL
WARREN               ROBERT                MD         24X03000036       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               ANDREW L              MD         24X16000181       THE LAW OFFICES OF PETER T. NICHOLL
WARRINGTON           ADRIAN M              MD         24X08000023       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               BARBARA               MD         24X16000181       THE LAW OFFICES OF PETER T. NICHOLL
WARRINGTON           K. M                  VA         740CL0300034500   THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               CALVIN                MD         24X14000046       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           ANTHONY M             MD         24X12000494       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               DEMETRIUS E           VA         740CL0100196500   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           BELLA                 MD         24X0400034        THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               EDWARD L              MD         X01001058         THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           BEVERLY               MD         24X02001552       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               ELIZABETH A           MD         24X06000206       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           BEVERLY               MD         24X07000075       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               EUGENE D              VA         740CL0300168700   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           BRENDA I              MD         98191509CX1374    THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               FLOYD W               MD         24X03000246       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           CHARLES W             MD         98191509CX1374    THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               JAMES                 VA         740CL0200033600   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           CLAUDETTE J           VA         740CL0200379200   THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               JAMES A               MD         98229501CX1614    THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           DAVIS R               MD         24X02001055       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               KERMIT                VA         29726EH           THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           DETROIT C             MD         24X04001152       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               OTIS                  VA         740CL0100213500   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           DWIGHT W              MD         24X03000934       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               PERNELL               VA         740CL0300111800   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           EDWARD G              VA         32357VC           THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               PERNELL               VA         100200            THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           ERNESTINE M           MD         24X06000246       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               RANDOLPH              VA         700CL0235627V05   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           FRED E                MD         98267507CX1796    THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               RAYMOND L             VA         740CL9900166600   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           GEORGE P              MD         24X04001152       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               ROBERT A              MD         24X04000798       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           HEZEKIAH              MD         24X06000230       THE LAW OFFICES OF PETER T. NICHOLL                  WATSON               WILLIE                MD         24X04000798       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           IDA B                 MD         24X05000165       THE LAW OFFICES OF PETER T. NICHOLL                  WATTERS              CALVIN G              MD         24X04000773       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           IRVIN                 MD         X01000696         THE LAW OFFICES OF PETER T. NICHOLL                  WATTERS              DORIS                 MD         24X04000773       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           JEAN M                MD         98267507CX1796    THE LAW OFFICES OF PETER T. NICHOLL                  WATTERS              GOLDEN                MD         24X11000089       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           JOHNNIE               MD         24X02002104       THE LAW OFFICES OF PETER T. NICHOLL                  WATTERS              WILLIAM               MD         24X11000089       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           JOSEPH                MD         24X05000541       THE LAW OFFICES OF PETER T. NICHOLL                  WATTIES              ALBERT L              MD         24X03000072       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           JOSEPH                MD         24X06000230       THE LAW OFFICES OF PETER T. NICHOLL                  WATTIES              BARBARA               MD         24X03000072       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           JOSEPHINE             MD         X01000696         THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                ANNE M                MD         24X11000120       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           KATHY                 MD         24X06000230       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                DAVID E               VA         740CL0300168800   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           LEONARD I             MD         24X02002146       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                DAVID R               VA         700CL0438408H02   THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           LEONARD N             MD         98324508CX2193    THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                DELAPHINE Y           MD         98329580          THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           LINWOOD E             VA         29263RC           THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                DELORES               MD         24X03000880       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           ROOSEVELT             MD         24X03001173       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                EMMETT F              MD         24X03000880       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           ROY G                 MD         24X02001552       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                EUGENE                VA         29472VC           THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           ROY G                 MD         24X07000075       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                FREDERICK W           MD         24X11000120       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           SYLVIA                MD         24X03000934       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                JULIUS                MD         24X02000396       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           TILTON L              VA         0028800V05        THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                LARRY T               VA         29431VA           THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           TREZELINE D           MD         24X11000817       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                MORGAN E              MD         24X04000331       THE LAW OFFICES OF PETER T. NICHOLL
WASHINGTON           WILLIE MAE            MD         24X05000541       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                MOZELLA B             VA         740CL0100181300   THE LAW OFFICES OF PETER T. NICHOLL
WASZELEWSKI          SALLY M               MD         98267504CX1793    THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                PATRICIA              MD         98338542CX2366    THE LAW OFFICES OF PETER T. NICHOLL
WATERFIELD           CAROL                 MD         24X03000663       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                RONELLE L             VA         29264RW           THE LAW OFFICES OF PETER T. NICHOLL
WATERFIELD           RAY L                 VA         740CL0200357900   THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                SHERMAN R             MD         24X11000092       THE LAW OFFICES OF PETER T. NICHOLL
WATERFIELD           RAYMOND E             MD         24X03000663       THE LAW OFFICES OF PETER T. NICHOLL                  WATTS                TYRONE S              MD         98338542CX2366    THE LAW OFFICES OF PETER T. NICHOLL
WATERS               ANNIE                 MD         24X01001524       THE LAW OFFICES OF PETER T. NICHOLL                  WAYNICK              JOYCE                 MD         24X01001196       THE LAW OFFICES OF PETER T. NICHOLL
WATERS               ARNEYB                MD         24X01001524       THE LAW OFFICES OF PETER T. NICHOLL                  WAYNICK              WALLACE R             MD         24X01001196       THE LAW OFFICES OF PETER T. NICHOLL
WATERS               DIANE C               MD         24X12000858       THE LAW OFFICES OF PETER T. NICHOLL                  WEATHERHOLT          BARBARA               MD         24X01002116       THE LAW OFFICES OF PETER T. NICHOLL
WATERS               DON C                 MD         24X12000858       THE LAW OFFICES OF PETER T. NICHOLL                  WEATHERHOLT          RICHARD A             MD         24X01002116       THE LAW OFFICES OF PETER T. NICHOLL
WATERS               EMILY                 VA         700CL0539590J05   THE LAW OFFICES OF PETER T. NICHOLL                  WEAVER               CHARLES R             VA         700CL0437616W01   THE LAW OFFICES OF PETER T. NICHOLL
WATERS               HARRY E               MD         24X15000128       THE LAW OFFICES OF PETER T. NICHOLL                  WEAVER               CHESTER               VA         29272EH           THE LAW OFFICES OF PETER T. NICHOLL
WATERS               JACK O                VA         740CL0300246700   THE LAW OFFICES OF PETER T. NICHOLL                  WEAVER               RONALD S              VA         29273RC           THE LAW OFFICES OF PETER T. NICHOLL
WATERS               JAMES J               MD         98163553CX1232    THE LAW OFFICES OF PETER T. NICHOLL                  WEAVER               THELBERT J            VA         29727RC           THE LAW OFFICES OF PETER T. NICHOLL
WATERS               MARY                  MD         98163553CX1232    THE LAW OFFICES OF PETER T. NICHOLL                  WEBB                 BARBARA A             MD         98267509CX1798    THE LAW OFFICES OF PETER T. NICHOLL
WATERS               TOM G                 VA         700CL0539373T01   THE LAW OFFICES OF PETER T. NICHOLL                  WEBB                 EDWARD H              MD         98267509CX1798    THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              AL H                  VA         27875VC           THE LAW OFFICES OF PETER T. NICHOLL                  WEBB                 JAMES N               MD         24X97176516       THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              ANDREW J              VA         27874EH           THE LAW OFFICES OF PETER T. NICHOLL                  WEBB                 OLA E                 MD         24X97176516       THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              CHARLES L             VA         740CL0300168500   THE LAW OFFICES OF PETER T. NICHOLL                  WEBB                 THOMAS F              VA         740CL0200003800   THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              JAMES H               VA         740CL0300168600   THE LAW OFFICES OF PETER T. NICHOLL                  WEBER                BEVERLY A             MD         98344506CX2428    THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              LARRY C               VA         740CL0300026700   THE LAW OFFICES OF PETER T. NICHOLL                  WEBER                CATHERINE M           MD         X01000517         THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              LEE                   VA         001358            THE LAW OFFICES OF PETER T. NICHOLL                  WEBER                GEORGE F              MD         X01000517         THE LAW OFFICES OF PETER T. NICHOLL
WATFORD              ROBERT                VA         100400            THE LAW OFFICES OF PETER T. NICHOLL                  WEBER                JOHN C                MD         24X02002090       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              BARRYMORE W           MD         24X04000772       THE LAW OFFICES OF PETER T. NICHOLL                  WEBER                LAWRENCE A            MD         98344506CX2428    THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              HORACE P              VA         28038VC           THE LAW OFFICES OF PETER T. NICHOLL                  WEBSTER              ARTHUR                VA         29627VC           THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              HORACE P              VA         700CL0538956J05   THE LAW OFFICES OF PETER T. NICHOLL                  WEBSTER              DOUGLAS G             MD         24X01001939       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              JAMES G               MD         24X03000891       THE LAW OFFICES OF PETER T. NICHOLL                  WEBSTER              IRMA                  MD         24X01001939       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              LORINE                VA         700CL0538956J05   THE LAW OFFICES OF PETER T. NICHOLL                  WEBSTER              WILLIAM E             VA         740CL0100193500   THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              MARION J              MD         24X05000061       THE LAW OFFICES OF PETER T. NICHOLL                  WECKESSER            EDWARD J              MD         24X01001855       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              MAXINE J              MD         24X05000166       THE LAW OFFICES OF PETER T. NICHOLL                  WEDINGTON            ELEANOR               MD         24X06000300       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              NARROLD               MD         24X05000061       THE LAW OFFICES OF PETER T. NICHOLL                  WEEKS                JAMES B               VA         28998W01          THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              RICHARD               MD         24X01001934       THE LAW OFFICES OF PETER T. NICHOLL                  WEEKS                MARY L                MD         24X05000906       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              ROBERT D              VA         740CL0100171500   THE LAW OFFICES OF PETER T. NICHOLL                  WEEKS                ROLLIN                MD         24X05000906       THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              RONALD                MD         98402492          THE LAW OFFICES OF PETER T. NICHOLL                  WEESE                JAMES W               MD         98219522CX1561    THE LAW OFFICES OF PETER T. NICHOLL
WATKINS              VIOLA                 MD         24X01001934       THE LAW OFFICES OF PETER T. NICHOLL                  WEGNER               CATHERINE             MD         24X04000036       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 820
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 155 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WEGNER               DAVID A               MD         24X04000036       THE LAW OFFICES OF PETER T. NICHOLL                  WEST                 KIRK L                MD         24X10000350       THE LAW OFFICES OF PETER T. NICHOLL
WEHNER               CAROLYN               MD         24X11000924       THE LAW OFFICES OF PETER T. NICHOLL                  WEST                 OTHEA L               MD         24X02001478       THE LAW OFFICES OF PETER T. NICHOLL
WEHNER               EDWARD F              MD         24X11000924       THE LAW OFFICES OF PETER T. NICHOLL                  WEST                 RAYMOND               VA         740CL0100146300   THE LAW OFFICES OF PETER T. NICHOLL
WEIDERHOLD           GARY E                MD         24X08000355       THE LAW OFFICES OF PETER T. NICHOLL                  WEST                 SHIRLEY               MD         24X02001478       THE LAW OFFICES OF PETER T. NICHOLL
WEIDMANN             PAUL                  VA         0028875A04        THE LAW OFFICES OF PETER T. NICHOLL                  WESTBROOK            MAURICE W             VA         740CL0300095800   THE LAW OFFICES OF PETER T. NICHOLL
WEIMER               DAVID L               MD         98317512CX2143    THE LAW OFFICES OF PETER T. NICHOLL                  WESTERFIELD          ROBERT G              VA         32592H02          THE LAW OFFICES OF PETER T. NICHOLL
WEINRIECH            JOHN H C              MD         01000928          THE LAW OFFICES OF PETER T. NICHOLL                  WESTFALL             ROBIN F               MD         24X11000208       THE LAW OFFICES OF PETER T. NICHOLL
WEINRIECH            REBECCA L             MD         01000928          THE LAW OFFICES OF PETER T. NICHOLL                  WESTON               WALTER E              VA         740CL0100330000   THE LAW OFFICES OF PETER T. NICHOLL
WEIR                 DENNIS                MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL                  WHARTON              BRUCE W               VA         740CL0300246800   THE LAW OFFICES OF PETER T. NICHOLL
WEIR                 FRANCES W             MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL                  WHEATLEY             GERALD G              VA         740CL0100345700   THE LAW OFFICES OF PETER T. NICHOLL
WEIR                 JOSEPH                MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              COLEMAN               VA         700CL0232371W01   THE LAW OFFICES OF PETER T. NICHOLL
WEIR                 JOSEPH J              MD         24X15000525       THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              FLORINE J             MD         24X11000246       THE LAW OFFICES OF PETER T. NICHOLL
WEIR                 WILLIAM R             MD         24X02001485       THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              GARY A                MD         24X09000215       THE LAW OFFICES OF PETER T. NICHOLL
WEISENBORN           KENNETH R             MD         24X02001739       THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              HARRY A               MD         24X11000246       THE LAW OFFICES OF PETER T. NICHOLL
WEISENBORN           STEPHANIE             MD         24X02001739       THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              JERRY L               VA         30141VA           THE LAW OFFICES OF PETER T. NICHOLL
WEISS                DONALD W              VA         001127            THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              JOHN T                VA         700CL0235905W01   THE LAW OFFICES OF PETER T. NICHOLL
WELCH                GLEN R                MD         24X06000244       THE LAW OFFICES OF PETER T. NICHOLL                  WHEELER              NATHAN                VA         740CL0100192600   THE LAW OFFICES OF PETER T. NICHOLL
WELCH                RICHARD L             VA         700CL0337480V04   THE LAW OFFICES OF PETER T. NICHOLL                  WHERLEY              AUBURN V              MD         01000176          THE LAW OFFICES OF PETER T. NICHOLL
WELCH                SYLVIA M              MD         24X06000244       THE LAW OFFICES OF PETER T. NICHOLL                  WHIPP                JOSEPH F              MD         24X04000289       THE LAW OFFICES OF PETER T. NICHOLL
WELLONS              JAMES E               VA         0028824A04        THE LAW OFFICES OF PETER T. NICHOLL                  WHIPP                MARIE M               MD         24X04000289       THE LAW OFFICES OF PETER T. NICHOLL
WELLONS              RENDELL               VA         740CL0100346900   THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             AARON E               VA         29265VC           THE LAW OFFICES OF PETER T. NICHOLL
WELLS                APRIL                 MD         24X07000540       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             CHRISTOPHER C         MD         98169518CX1255    THE LAW OFFICES OF PETER T. NICHOLL
WELLS                BETTY                 MD         24X04001132       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             EDWARD L              VA         740CL0200019800   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                CLYDE S               MD         24X04001132       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             HARRISON R            VA         700CL0438205T05   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                DARREN                MD         24X04001132       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             HENDERSON             MD         24X04000330       THE LAW OFFICES OF PETER T. NICHOLL
WELLS                DAVID W               VA         740CL0100174800   THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             HENRY E               VA         700CL0233148V05   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                ELTON L               VA         740CL0200073600   THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             HERBERT L             VA         740CL0200112700   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                EMMA                  MD         24X07000540       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             JOHN                  VA         700CL0235906V05   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                ERMAN L               VA         740CL0300019700   THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             KATHRYN M             VA         700CL0539125J05   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                FRIZELL T             VA         700CL0231977A04   THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             MAJOR J               VA         740CL9900172100   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                HERBERT T             VA         28217RC           THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             MARK A                VA         740CL0300004000   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                JOHN E                VA         013182            THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             MELVIN A              VA         29997RC           THE LAW OFFICES OF PETER T. NICHOLL
WELLS                KENNETH R             MD         24X07000540       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             NANCY C               MD         98169518CX1255    THE LAW OFFICES OF PETER T. NICHOLL
WELLS                LILLIAN               MD         24X04001132       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             QUINTON H             VA         28497VC           THE LAW OFFICES OF PETER T. NICHOLL
WELLS                LORENZO               VA         740CL0100206900   THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             RAYMOND               VA         29728VC           THE LAW OFFICES OF PETER T. NICHOLL
WELLS                LORETTA A             MD         24X05000157       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             SAMUEL                VA         29800VA           THE LAW OFFICES OF PETER T. NICHOLL
WELLS                MARLENE               MD         24X02002613       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             SHERMAN               VA         740CL0100223900   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                MAYNARD L             MD         24X02002613       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             VIRGINIA M            VA         700CL0539579V04   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                MILTON L              MD         24X07000540       THE LAW OFFICES OF PETER T. NICHOLL                  WHITAKER             WILLIAM R             VA         700CL0539125J05   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                PD                    VA         700CL9928055A04   THE LAW OFFICES OF PETER T. NICHOLL                  WHITBY               LEE                   VA         102200            THE LAW OFFICES OF PETER T. NICHOLL
WELLS                ROSALIE               MD         24X02001774       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                ARTHUR J              MD         24X13000705       THE LAW OFFICES OF PETER T. NICHOLL
WELLS                STEVEN                MD         24X07000540       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                ARTHUR L              VA         700CL0028183W01   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                TYRONE H              MD         24X02001774       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                BARBARA               MD         24X01001685       THE LAW OFFICES OF PETER T. NICHOLL
WELLS                WILBERT E             MD         24X05000157       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                BOBBY L               VA         740CL0300168900   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                WILLIAM A             VA         700CL0028159W01   THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                BOBBY R               VA         740CL0200115900   THE LAW OFFICES OF PETER T. NICHOLL
WELLS                WILTON N              VA         700CL9927957H     THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                CALVIN E              VA         0028716W01        THE LAW OFFICES OF PETER T. NICHOLL
WELLSEY              SHIRLEY M             MD         98142507CX1029    THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                CECIL M               MD         24X04001093       THE LAW OFFICES OF PETER T. NICHOLL
WELZANT              THEODORE T            MD         98149551CX1119    THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                CHARLES E             MD         98289510CX1922    THE LAW OFFICES OF PETER T. NICHOLL
WERNETH              MILDRED D             MD         98267502CX1791    THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                CHARLES E             VA         740CL0100124400   THE LAW OFFICES OF PETER T. NICHOLL
WERNETH              WILLIAM T             MD         98267502CX1791    THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                CHERI                 MD         24X01001328       THE LAW OFFICES OF PETER T. NICHOLL
WERTSWA              MICHAEL J             MD         24X02002142       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                CLARENCE R            MD         24X04000633       THE LAW OFFICES OF PETER T. NICHOLL
WERTZ                GLORIA                MD         24X06000485       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                DIANA                 MD         98100521CX744     THE LAW OFFICES OF PETER T. NICHOLL
WERTZ                HAROLD T              VA         740CL0100160700   THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                EARL B                VA         001638            THE LAW OFFICES OF PETER T. NICHOLL
WERTZ                MARIETTA L            MD         98240507CX1659    THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                EARL R                VA         700CL0232471A04   THE LAW OFFICES OF PETER T. NICHOLL
WERTZ                ROBERT S              MD         98240507CX1659    THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                EDDIE F               MD         24X03000568       THE LAW OFFICES OF PETER T. NICHOLL
WESKO                DORIS                 MD         24X03000647       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                ELSIE                 MD         24X04000633       THE LAW OFFICES OF PETER T. NICHOLL
WESKO                RICHARD A             MD         24X03000647       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                FAIRY D               MD         24X03000568       THE LAW OFFICES OF PETER T. NICHOLL
WESLEY               ALONZO L              VA         740CL99001942     THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                FLORENCE E            MD         24X15000129       THE LAW OFFICES OF PETER T. NICHOLL
WESLEY               JAMES H               MD         24X06000714       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                FRANKLIN D            MD         24X01001367       THE LAW OFFICES OF PETER T. NICHOLL
WESLEY               KENNETH G             MD         24X02002099       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                GENE                  VA         29274RW           THE LAW OFFICES OF PETER T. NICHOLL
WESLEY               MARGARET              MD         24X02002099       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                GLADYS M              MD         24X03000052       THE LAW OFFICES OF PETER T. NICHOLL
WESLEY               MARY                  MD         24X06000714       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                HENRY A               VA         740CL000008500    THE LAW OFFICES OF PETER T. NICHOLL
WESSON               LEVI                  VA         700CL9927946C     THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                HERBERT A             MD         24X06000405       THE LAW OFFICES OF PETER T. NICHOLL
WESSON               THOMAS R              VA         002197            THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                HERMAN                MD         01000417          THE LAW OFFICES OF PETER T. NICHOLL
WEST                 CELESTINE             MD         24X10000438       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                IRVIN                 MD         24X01001328       THE LAW OFFICES OF PETER T. NICHOLL
WEST                 CLARA                 MD         24X04001013       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                JAMES M               VA         740CL0200216700   THE LAW OFFICES OF PETER T. NICHOLL
WEST                 CLARA                 MD         24X05000517       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                JENE A                VA         740CL0100213600   THE LAW OFFICES OF PETER T. NICHOLL
WEST                 CORNEL L              MD         24X07000052       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                JOHN W                VA         32586VA           THE LAW OFFICES OF PETER T. NICHOLL
WEST                 FLOYD A               VA         740CL0100196600   THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                JOSEPH A              VA         740CL0200297400   THE LAW OFFICES OF PETER T. NICHOLL
WEST                 GORDON D              VA         740CL0300020200   THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                JOSEPH J              VA         740CL0200003900   THE LAW OFFICES OF PETER T. NICHOLL
WEST                 HARRY G               MD         24X01001955       THE LAW OFFICES OF PETER T. NICHOLL                  WHITE                LARRY B               VA         740CL0300020300   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 821
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 156 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WHITE                LARRY C               VA         700CL0232381W01   THE LAW OFFICES OF PETER T. NICHOLL                  WHORLEY              AVIS M                MD         24X07000422       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                LENORA                MD         24X01001635       THE LAW OFFICES OF PETER T. NICHOLL                  WHYTE                AVON I                MD         24X01001878       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                LEROY                 VA         740CL000008900    THE LAW OFFICES OF PETER T. NICHOLL                  WIDEMAN              CHRISTILIA            MD         24X01000309       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                LEROY A               VA         740CL0200216800   THE LAW OFFICES OF PETER T. NICHOLL                  WIDEMAN              JAMES                 MD         24X01000309       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                LUTHER                VA         740CL0200112800   THE LAW OFFICES OF PETER T. NICHOLL                  WIENHOLD             BERNARD F             MD         24X01001982       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                MARVIN A              MD         24X11000045       THE LAW OFFICES OF PETER T. NICHOLL                  WIENHOLD             ETHEL                 MD         24X01001982       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                MCCOY L               VA         700CL0232330C03   THE LAW OFFICES OF PETER T. NICHOLL                  WIESSNER             JOHN E                MD         24X04000689       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                MICHAEL S             MD         24X06000194       THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              DAVID L               VA         740CL0200122000   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                MORRIS F              VA         740CL0200073700   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              DOUGLAS A             VA         740CL9900187900   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                MORRIS F              VA         001379            THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              ERNESTINE             MD         24X04001136       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                NEIL F                MD         01000175          THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              GENE A                VA         700CL0235907H02   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                PERCY O               VA         740CL0300116100   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              GEORGE T              VA         740CL0100179500   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                PURNELL               VA         740CL0200040000   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              JACK                  VA         700CL0437914H02   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                RALPH H               VA         740CL0300004100   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              JAMES E               VA         700CL0337460V04   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                RANDALL W             MD         24X01002059       THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              JESSE L               VA         700CL0235817H02   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                RAYMOND E             VA         700CL0437759V04   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              JOHN T                VA         0028717A04        THE LAW OFFICES OF PETER T. NICHOLL
WHITE                RICHARD               VA         740CL0100319200   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              JONES E               MD         24X04001153       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                RICHARD J             VA         740CL0200089700   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              LARRY P               VA         32587EH           THE LAW OFFICES OF PETER T. NICHOLL
WHITE                ROBERT L              VA         740CL0200004000   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              MAX D                 VA         740CL0200358100   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                ROBERT L              VA         740CL0200041400   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              MILTON                VA         28658EH           THE LAW OFFICES OF PETER T. NICHOLL
WHITE                ROBERT L              VA         740CL0300015500   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              MILTON                VA         700CL0539580J05   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                ROBERT L              VA         29157VC           THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              MILTON R              VA         0028846H02        THE LAW OFFICES OF PETER T. NICHOLL
WHITE                ROBERT R              VA         700CL0235938A04   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              MOSES W               MD         24X04001136       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                ROBERT S              VA         740CL0100171600   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              RAPHAEL E             VA         700CL0539154V04   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                SHELTON L             VA         740CL0300169000   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              ROOSEVELT             VA         740CL0100222800   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                TILLIE                MD         24X06000405       THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              RUBY                  VA         700CL0539580J05   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WALTER                VA         740CL0200041000   THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              TRUMAN E              VA         740CL0300004200   THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WESLEY J              MD         24X01001685       THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              WILL R                VA         002650            THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WILLIAM               MD         24X01001635       THE LAW OFFICES OF PETER T. NICHOLL                  WIGGINS              WILLIE E              MD         24X10000140       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WILLIAM D             MD         24X03000052       THE LAW OFFICES OF PETER T. NICHOLL                  WILAND               CECIL E               MD         24X09000496       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WILLIE B              VA         740CL0200358000   THE LAW OFFICES OF PETER T. NICHOLL                  WILAND               PATRICIA              MD         24X09000496       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WILLIE E              VA         700CL0438715V04   THE LAW OFFICES OF PETER T. NICHOLL                  WILDS                ROSALIE               MD         24X05000516       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WILLIE J              MD         98100521CX744     THE LAW OFFICES OF PETER T. NICHOLL                  WILDT                MARTIN C              MD         24X01001131       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                WILLIE R              VA         32593C03          THE LAW OFFICES OF PETER T. NICHOLL                  WILDY                JAMES                 MD         24X01001851       THE LAW OFFICES OF PETER T. NICHOLL
WHITE                LINDA                 MD         24X06000194       THE LAW OFFICES OF PETER T. NICHOLL                  WILDY                JAMES C               MD         24X01001691       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            FRANCIS S             VA         0028661A04        THE LAW OFFICES OF PETER T. NICHOLL                  WILDY                NETTIE                MD         24X01001691       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            GLANDER               MD         24X02002479       THE LAW OFFICES OF PETER T. NICHOLL                  WILDY                NETTIE L              MD         24X01001851       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            JAMES E               VA         740CL0300169100   THE LAW OFFICES OF PETER T. NICHOLL                  WILES                FRANCES L             MD         24X10000349       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            JAMES W               VA         740CL0000028600   THE LAW OFFICES OF PETER T. NICHOLL                  WILES                JESUSA                MD         24X10000349       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            LINDA                 MD         24X02002479       THE LAW OFFICES OF PETER T. NICHOLL                  WILEY                KENNETH LEE           MD         24X14000247       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            LINWOOD C             VA         700CL0437902W01   THE LAW OFFICES OF PETER T. NICHOLL                  WILGIS               CALVIN V              MD         24X14000474       THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            LOUISE                VA         740CL0200053200   THE LAW OFFICES OF PETER T. NICHOLL                  WILKENS              RUDOLPH D             VA         740CL0100330100   THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            ROBERT M              VA         29106VC           THE LAW OFFICES OF PETER T. NICHOLL                  WILKERSON            EVERETT M             VA         740CL0100345800   THE LAW OFFICES OF PETER T. NICHOLL
WHITEHEAD            TOMMIE L              VA         740CL0100312300   THE LAW OFFICES OF PETER T. NICHOLL                  WILKERSON            WESLEY J              VA         0088900           THE LAW OFFICES OF PETER T. NICHOLL
WHITEHURST           EARL E                VA         740CL020088600    THE LAW OFFICES OF PETER T. NICHOLL                  WILKES               HUGH R                VA         CL9927381W01      THE LAW OFFICES OF PETER T. NICHOLL
WHITEHURST           EARLY                 VA         740CL0200056500   THE LAW OFFICES OF PETER T. NICHOLL                  WILKES               MCKINLEY M            VA         740CL0200041300   THE LAW OFFICES OF PETER T. NICHOLL
WHITEHURST           HARVEY P              VA         29801EH           THE LAW OFFICES OF PETER T. NICHOLL                  WILKES               TILTON C              VA         740CL0100143200   THE LAW OFFICES OF PETER T. NICHOLL
WHITEHURST           JUANITA A             VA         700CL0539126T01   THE LAW OFFICES OF PETER T. NICHOLL                  WILKES               WINZEL P              MD         24X02001408       THE LAW OFFICES OF PETER T. NICHOLL
WHITEMAN             LOYD D                MD         24X03000070       THE LAW OFFICES OF PETER T. NICHOLL                  WILKIE               PEARLIE               MD         24X04001115       THE LAW OFFICES OF PETER T. NICHOLL
WHITEMORE            JOHN S                VA         740CL0200297500   THE LAW OFFICES OF PETER T. NICHOLL                  WILKIE               THOMAS A              MD         24X04001115       THE LAW OFFICES OF PETER T. NICHOLL
WHITESIDE            JOHN V                VA         740CL0100167200   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              BRENDA R              MD         X99001615         THE LAW OFFICES OF PETER T. NICHOLL
WHITFIELD            ROBERT                VA         700CL9927889W01   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              CURTIS E              VA         740CL0100169600   THE LAW OFFICES OF PETER T. NICHOLL
WHITFIELD            WAYLAND E             VA         700CL0437729V04   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              ELIZABETH             MD         24X03000099       THE LAW OFFICES OF PETER T. NICHOLL
WHITING              ADAM W                VA         740CL0300169200   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              GEORGE H              MD         24X03000099       THE LAW OFFICES OF PETER T. NICHOLL
WHITING              ANDREW T              VA         002065            THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              HARU D                MD         X99001615         THE LAW OFFICES OF PETER T. NICHOLL
WHITING              CHARLIE J             VA         740CL99001906     THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              KENNETH O             VA         700CL0437903V04   THE LAW OFFICES OF PETER T. NICHOLL
WHITING              ERNEST E              VA         740CL99001970     THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              LEWIS M               VA         740CL0300034600   THE LAW OFFICES OF PETER T. NICHOLL
WHITING              MAJOR F               VA         28241VC           THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              ROBERT L              VA         700CL0539116T01   THE LAW OFFICES OF PETER T. NICHOLL
WHITING              WARDELL               VA         740CL0100096200   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              WILLIAM T             MD         24X01001820       THE LAW OFFICES OF PETER T. NICHOLL
WHITLEY              CARLTON E             VA         700CL0438044H02   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINS              WILLIE D              VA         010967            THE LAW OFFICES OF PETER T. NICHOLL
WHITLEY              DAVID L               VA         740CL0200079200   THE LAW OFFICES OF PETER T. NICHOLL                  WILKINSON            DAVID A               VA         740CL0300004300   THE LAW OFFICES OF PETER T. NICHOLL
WHITLEY              HATTIE L              MD         24X05000150       THE LAW OFFICES OF PETER T. NICHOLL                  WILKS                HENRIETTA E           VA         299CV1703         THE LAW OFFICES OF PETER T. NICHOLL
WHITLEY              JOHN T                MD         24X05000150       THE LAW OFFICES OF PETER T. NICHOLL                  WILKS                HENRIETTA E           VA         27998VC           THE LAW OFFICES OF PETER T. NICHOLL
WHITLEY              LANIER M              VA         700CL0028304V05   THE LAW OFFICES OF PETER T. NICHOLL                  WILKS                HERMAN L              VA         299CV1703         THE LAW OFFICES OF PETER T. NICHOLL
WHITLOW              JAMES L               MD         24X07000252       THE LAW OFFICES OF PETER T. NICHOLL                  WILKS                HERMAN L              VA         27998VC           THE LAW OFFICES OF PETER T. NICHOLL
WHITLOW              MARIA                 MD         24X07000252       THE LAW OFFICES OF PETER T. NICHOLL                  WILLAMS              JOAN                  MD         24X02002136       THE LAW OFFICES OF PETER T. NICHOLL
WHITMORE             JOHNNY R              VA         CL9927947H02      THE LAW OFFICES OF PETER T. NICHOLL                  WILLETT              ESTELLA J             MD         24X05000087       THE LAW OFFICES OF PETER T. NICHOLL
WHITMORE             RONNIE E              VA         740CL0100111900   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAM              JERRY A               MD         24X04001103       THE LAW OFFICES OF PETER T. NICHOLL
WHITTAKER            ALFRED O              MD         24X03000878       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAM              KERMIT R              MD         24X02002620       THE LAW OFFICES OF PETER T. NICHOLL
WHITTAKER            RENA                  MD         24X03000878       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             ADDIE                 MD         X01000995         THE LAW OFFICES OF PETER T. NICHOLL
WHITTINGTON          ROBERT H              MD         24X04000688       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             ALASTAIR W            VA         740CL0200194400   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 822
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 157 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WILLIAMS             ALBERT S              VA         740CL0200314300   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             HERBERT               MD         24X02000619       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALEXANDER             VA         0084600           THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             HERBERT L             VA         740CL0200073900   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALFONZA               VA         740CL0200112900   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             HERMAN                MD         98219512CX1551    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALONZA T              VA         740CL0200085600   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             HUBERT N              VA         740CL0100132100   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALONZO S              MD         24X06000234       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             HUMPHREY              VA         740CL99001691     THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALTON R               VA         740CL9900170100   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             IVY J                 MD         24X03000567       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALTON R               VA         700CL0539394P03   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JACK G                VA         700CL0233149H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALVENUS               VA         0028886V05        THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JAMES                 VA         740CL0300015600   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ALVIN F               VA         740CL0100174900   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JAMES                 VA         29729RW           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ANDREW J              VA         740CL0200033700   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JAMES A               VA         30007RC           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ANNA                  MD         98310511CX2089    THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JAMES A               VA         001117            THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ANTHONY W             VA         28008VC           THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JAMES E               VA         740CL0300096100   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ARTHUR                VA         001771            THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JAMES O               MD         24X02001564       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BARBARA               MD         24X02000059       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JANICE                MD         24X02002611       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BEATRICE              MD         24X01001930       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JEAN D                MD         24X11000271       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BENFORD D             VA         740CL0200051900   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JIMMIE                VA         700CL0235637V05   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BENJAMIN B            VA         740CL0300095900   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JIMMY R               VA         28999C03          THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BERNARD R             MD         98149547CX1115    THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOE                   VA         740CL0100179700   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BETTY                 MD         X01000832         THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOE F                 MD         98190501CX1360    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BRASKA                VA         0028551A04        THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN                  MD         24X01001660       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             BRENDA                MD         24X01001977       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN D                VA         740CL0100181400   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CARMON                MD         X01000839         THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN E                MD         24X03000822       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CARNELL               VA         740CL0200041100   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN H                VA         28064VA           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CAROL                 MD         X01000839         THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN L                VA         700CL0235819C03   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CARTER J              MD         24X04000774       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN SHERMAN          VA         28209VA           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CECILIA               MD         24X02002139       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN T                MD         98296506CX1984    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CHARLES E             VA         740CL0100179600   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN T                VA         740CL0100142200   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CHARLIE               VA         740CL0200004100   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOHN T                MD         99000076          THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CLAUDE A              VA         740CL0200073800   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOSEPH                MD         24X01002042       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CLAUDE L              MD         24X03000892       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JOSEPH A              MD         24X13000088       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             COLA O                VA         700CL0232075C03   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             JUNIOUS               MD         98344512CX2434    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CURTIS J              MD         24X01001936       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             KATHLEEN              MD         98344512CX2434    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CURTIS L              VA         28047EH           THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             KERMIT K SR           VA         28682VC           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CURTIS W              VA         740CL0100195500   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LARRY J               VA         740CL0200358300   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             CYNTHIA               MD         24X03000883       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LARRY R               MD         24X11000094       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DAVID N               VA         740CL0300027800   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LAWRENCE              VA         740CL0100168000   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DAVID S               MD         98156506CX1138    THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LAWRENCE J            VA         700CL0233167W01   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DAVID V               MD         24X01001411       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LAWRENCE M            VA         740CL0300004500   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DIANE                 MD         01000339          THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LEA                   MD         24X12000509       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DONALD L              VA         740CL0300096000   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LEON A                VA         740CL0200178500   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DORIS                 MD         24X02000064       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LEON G                VA         32594W01          THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DORIS                 MD         24X02000296       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LEON J                MD         24X01001822       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             DORIS N               MD         24X04000493       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LEONARD E             VA         002161            THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             EARNELL               VA         700CLO232076W01   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LEROY R               MD         24X13000087       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             EARNEST P             VA         740CL0300169300   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LINSEY L              MD         24X02000296       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             EDWARD C              VA         700CL0438226P03   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LISA                  MD         24X01001980       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             EDWARD P              MD         24X16000116       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LLOYD F               VA         740CL0100213700   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             EDWIN L               VA         740CL0200113000   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LONNIE                VA         01422             THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ELBERT L              VA         740CL0300004400   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LONNIE C              VA         740CL0300020400   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ERNEST L              VA         700CL0235818A04   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             LOUIS L               VA         740CL0200216900   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             EUGENE F              MD         24X12000509       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MARGARET              MD         24X01001822       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             FRANCES A             VA         740CL9900166700   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MARIE                 MD         X99000349         THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             FRANK                 VA         740CL0200036700   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MARTHA                VA         700CL0539394P03   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             FRANK T               MD         24X07000302       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MARY F                VA         28209VA           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             FRANKLIN R            VA         740CL0200358200   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MATTHEW A             MD         24X02002611       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             FRED M                MD         X01000852         THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MCKINLEY J            MD         24X03000883       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GARLAND E             MD         24X02001846       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MELVIN J              VA         740CL0300169500   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GARLAND E JR          MD         24X02001846       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MELVIN L              VA         28243RV           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GEORGE W              VA         740CL0300169400   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MICHAEL               MD         24X02000059       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GERALD E              MD         24X01001980       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MICHAEL               VA         740CL0200033800   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GERALD F              VA         700CL0232733A04   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MILDRED J             VA         700CL0539155J05   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GERALD L              MD         98329581CX2306    THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             MILTON                VA         29275VC           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GERALD L              MD         24X05000062       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             NATHANIEL             MD         24X12000776       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GLADYS                MD         01000416          THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             NORMAN D              VA         740CL0200122100   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GLORIA L              MD         24X05000062       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             OCTAVIOUS             VA         29432EH           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             GUS W                 MD         24X04000493       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             OLA                   MD         24X02001564       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             HARRY M               VA         700CL0232734C03   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             OSCAR P               MD         24X09000282       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             HARVEY G              VA         740CL0200052000   THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             PAULA                 MD         24X01001936       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             HARVEY L              MD         24X04000800       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             PERCY L               VA         28244VA           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             HAYWARD               MD         24X11000271       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             RAIFORD H             VA         700CL0235820W01   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             HENRY                 MD         24X03000698       THE LAW OFFICES OF PETER T. NICHOLL                  WILLIAMS             RALPH E               MD         X99000349         THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 823
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 158 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WILLIAMS             RALPH J               MD         24X01001586       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ALVIN N               MD         98295502CX1968    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RANDOLPH S            MD         98149552CX1120    THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ANTHONY E             VA         99001992          THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RAYMOND T             MD         24X02000064       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ANTHONY N             MD         24X12000646       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RENEE M               MD         24X13000087       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ARTHUR H              MD         24X03000876       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RICHARD L             MD         24X10000355       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               BERTHA                MD         24X08000170       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RIVERS L              MD         24X02002135       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               CALVIN                MD         24X06000479       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ROBERT                MD         01000339          THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               CECIL                 VA         740CL200124400    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ROBERT B              VA         700CL0337469W01   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               CHARLES H             VA         001815            THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ROBERT H              MD         24X01001977       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               CHARLES L             VA         0028826H02        THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ROBERT H              MD         01000416          THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               CLARENCE              MD         24X07000005       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ROBERT L              VA         700CL0438216P03   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               CLARENCE W            VA         001502            THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ROLAND EUGENE         MD         24X02002290       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               DAVID F               VA         740CL9900199100   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RONALD                MD         24X13000704       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               DAVID N               MD         24X11000307       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RONALD L              VA         700CL0337488P03   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               DAVID S               MD         24X02002419       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RUBY                  MD         24X06000233       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               DON A                 VA         700CL0233169H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             RUBY E                MD         24X07000053       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               DONALD B              MD         24X02000547       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             SAMUEL J              MD         24X01001930       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               EDGIE                 MD         24X07000005       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             SAMUEL W              VA         740CL0200177600   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               EDWARD                VA         700CL0233129H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             SOLOMON               MD         X01000832         THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ELBERTA E             MD         24X06000214       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             STARNEY L             VA         740CL0100168100   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               EUGENE M              VA         700CL0235780W01   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             THADDEUS L            VA         700CL0233168V05   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               EVELYN F              MD         24X12000917       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             THEODORE              MD         24X03000280       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               GAIL                  MD         24X03000670       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             THEODORE L            VA         32358VA           THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               GEORGE N              MD         24X08000170       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             THOMAS E              VA         32595V05          THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               GLEN                  MD         24X01001847       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             THOMAS M              VA         700CL0235779C03   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               HERBERT J             MD         24X02000286       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             TYRONE B              VA         29041VA           THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               HOMA K                VA         740CL0200193200   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ULYSSES               MD         24X02002136       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ILONA                 MD         24X04000624       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             VERNON                MD         X01000995         THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JAMES A               VA         740CL0300200500   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             VIRGIL                VA         28048VC           THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JAMES E               VA         700CL0235908A04   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WALDO L               MD         24X11000213       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JAMES E               MD         24X03000670       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WALTER                VA         740CL0100092100   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JAMES EVERETT         VA         700CL0235908A04   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WALTER F              MD         98310511CX2089    THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JAMES H               VA         740CL0300028600   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WESLEY H              VA         700CL0438830V04   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JARED M               VA         740CL0300198200   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WILBERT               VA         29802RC           THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JIMMIE                VA         28552VC           THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WILEY P               VA         740CL0100171700   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JOHN F                MD         98310512CX2090    THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WILLIE G              VA         740CL0300169600   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JOHN L                VA         0028687V05        THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WILLIE H              VA         740CL0100193600   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JOHN W                MD         24X12000917       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WILLIE L              MD         24X03000882       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JOSEPH A              MD         24X05000389       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WYATT T               VA         700CL0539570J05   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JUANITA E             VA         700CL0539374P03   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             WYLIE R               VA         700CL0438013V04   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               JUNIUS M              MD         24X04000624       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS             ZARLIE T              VA         001146            THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               KENNY                 MD         24X03000085       THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMS LYLE        URSULA K              MD         24X12000236       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               LARRY E               VA         001503            THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMSON           GEORGE A              VA         740CL9900172300   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               LARRY T               MD         X98402452         THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMSON           JAMES E               VA         29811EH           THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               LENA E                VA         700CL0437748W01   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMSON           JEROME H              MD         24X01000811       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               LIONEL A              VA         700CL0028765C03   THE LAW OFFICES OF PETER T. NICHOLL
WILLIAMSON           ROBERT E              VA         700CL0337470V04   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               MARIAN A              MD         X99000083         THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               AUBREY                MD         24X02001197       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               MARION V              MD         24X05000389       THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               BENNIE                MD         X01000974         THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               MARY R                MD         24X06000479       THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               BUBEE A               VA         700CL0337489W01   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               MCKINLEY U            VA         001773            THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               CHARLES H             VA         700CL0438206P03   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               MELVIN P              MD         98219505CX1544    THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               ENOS J                MD         24X05000244       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               RAYMOND L             VA         700CL0438014H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               FERDINAND C           VA         0000046400        THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               RICHARD L             VA         740CL0100330200   THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               HAROLD F              VA         740CL0300169700   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ROSALIE               MD         98310512CX2090    THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               HUBERT E              VA         740CL0100187100   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ROY L                 VA         700CL9927967H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               MARTHA L              MD         24X05000244       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               ROY P                 VA         740CL0100195600   THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               RONALD A              MD         24X11000414       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               RUDOLPH V             VA         740CL0200033900   THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               SAUL J                VA         0028815V05        THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               SAM                   VA         32359EH           THE LAW OFFICES OF PETER T. NICHOLL
WILLIS               VIOLA                 MD         24X02001197       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               TAMMY                 MD         24X16000505       THE LAW OFFICES OF PETER T. NICHOLL
WILLOUGHBY           HOWARD R              MD         24X15000130       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               TAMMY                 MD         24X02001074       THE LAW OFFICES OF PETER T. NICHOLL
WILLOUGHBY           JOAN A                MD         24X11000095       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               TERRSA                MD         24X03000876       THE LAW OFFICES OF PETER T. NICHOLL
WILLOUGHBY           JOHN                  VA         29354RW           THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               THEODORE              VA         CL9928028V05      THE LAW OFFICES OF PETER T. NICHOLL
WILLOUGHBY           MACK A                MD         24X14000245       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               THEODORE S            VA         700CL0438716H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLOUGHBY           THOMAS CLIFTON        MD         24X11000095       THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               WALTER W              VA         700CL0438726H02   THE LAW OFFICES OF PETER T. NICHOLL
WILLOUGHBY           WAVERLY G             VA         740CL0200004200   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               WESLEY                VA         29024C03          THE LAW OFFICES OF PETER T. NICHOLL
WILLS                BARBARA A             VA         700CL0539156T01   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               WILLIE J              MD         01000927          THE LAW OFFICES OF PETER T. NICHOLL
WILLS                STEPHEN W             VA         740CL0200004300   THE LAW OFFICES OF PETER T. NICHOLL                  WILSON               WILLIE R              VA         CL00164           THE LAW OFFICES OF PETER T. NICHOLL
WILMER               HOWARD E              MD         24X02000111       THE LAW OFFICES OF PETER T. NICHOLL                  WIMBERLY             ROBERT W              VA         700CL0437626W01   THE LAW OFFICES OF PETER T. NICHOLL
WILMER               SANDRA                MD         24X02000111       THE LAW OFFICES OF PETER T. NICHOLL                  WIMBUSH              CLAUDE                MD         24X11000921       THE LAW OFFICES OF PETER T. NICHOLL
WILSON               ABRAHAM               VA         01933             THE LAW OFFICES OF PETER T. NICHOLL                  WINBORNE             CLIFTON H             VA         740CL0200359300   THE LAW OFFICES OF PETER T. NICHOLL
WILSON               ALBERT O SR           MD         X99000083         THE LAW OFFICES OF PETER T. NICHOLL                  WINBORNE             JOSEPH L              VA         740CL0200004400   THE LAW OFFICES OF PETER T. NICHOLL
WILSON               ALFRED                VA         28027EH           THE LAW OFFICES OF PETER T. NICHOLL                  WINBORNE             LAFAYETTE             VA         700CL0233139H02   THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 824
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 159 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

WINBORNE             SARAH L               VA         700CL0539404P03     THE LAW OFFICES OF PETER T. NICHOLL                  WITTS                EARL A                VA         29957RC            THE LAW OFFICES OF PETER T. NICHOLL
WINBORNE             WELTON B              VA         740CL0100345900     THE LAW OFFICES OF PETER T. NICHOLL                  WIZBICKI             JOHN                  MD         X9900074           THE LAW OFFICES OF PETER T. NICHOLL
WINDER               FLOYD E               VA         700CL0232115C03     THE LAW OFFICES OF PETER T. NICHOLL                  WOFFORD              JEFFREY WAYNE         VA         32596A04           THE LAW OFFICES OF PETER T. NICHOLL
WINDER               WILLIAM J             MD         24X04000879         THE LAW OFFICES OF PETER T. NICHOLL                  WOJTAS               LAURA R               MD         24X06000524        THE LAW OFFICES OF PETER T. NICHOLL
WINFIELD             EUGENE W              VA         001359              THE LAW OFFICES OF PETER T. NICHOLL                  WOJTAS               MELVIN S              MD         24X06000524        THE LAW OFFICES OF PETER T. NICHOLL
WINFIELD             JAMES M               VA         740CL0200178600     THE LAW OFFICES OF PETER T. NICHOLL                  WOJTAS               PATRICIA A            MD         24X06000418        THE LAW OFFICES OF PETER T. NICHOLL
WINFIELD             JERRY O               VA         700CL0028160A04     THE LAW OFFICES OF PETER T. NICHOLL                  WOJTAS               THEODORE J            MD         24X06000418        THE LAW OFFICES OF PETER T. NICHOLL
WINGATE              ANNA R                VA         700CL0539598H02     THE LAW OFFICES OF PETER T. NICHOLL                  WOLF                 MICHAEL E             MD         24X13000703        THE LAW OFFICES OF PETER T. NICHOLL
WINGATE              SAMUEL H              VA         29918VA             THE LAW OFFICES OF PETER T. NICHOLL                  WOLFREY              WALTER L              VA         740CL0000014700    THE LAW OFFICES OF PETER T. NICHOLL
WINGFIELD            ARLENE                MD         24X17000180         THE LAW OFFICES OF PETER T. NICHOLL                  WOLLSCHLAGER         DONALD W              MD         24X01001221        THE LAW OFFICES OF PETER T. NICHOLL
WINGFIELD            JAMES M               MD         24X01001377         THE LAW OFFICES OF PETER T. NICHOLL                  WOLLSCHLAGER         HARRIETTE             MD         24X01001221        THE LAW OFFICES OF PETER T. NICHOLL
WINGFIELD            LARRY E               MD         X98402477           THE LAW OFFICES OF PETER T. NICHOLL                  WOMACK               BOBBY L               VA         0028841H02         THE LAW OFFICES OF PETER T. NICHOLL
WINGFIELD            MARY D                MD         X98402477           THE LAW OFFICES OF PETER T. NICHOLL                  WOMACK               SANFORD               VA         0028814A04         THE LAW OFFICES OF PETER T. NICHOLL
WINGFIELD            MICHAEL F             MD         24X17000180         THE LAW OFFICES OF PETER T. NICHOLL                  WOMAX                KAYE A                MD         24X01001757        THE LAW OFFICES OF PETER T. NICHOLL
WINIARSKI            BERNARD C             MD         24X15000170         THE LAW OFFICES OF PETER T. NICHOLL                  WOMAX                PAUL                  MD         24X01001757        THE LAW OFFICES OF PETER T. NICHOLL
WINIARSKI            NATHLEEN J            MD         24X15000170         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 BERTHA A              MD         98338549CX2373     THE LAW OFFICES OF PETER T. NICHOLL
WINIARSKI            WAYNE L               MD         24X15000170         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 COY D                 VA         740CL0100176100    THE LAW OFFICES OF PETER T. NICHOLL
WINKEY               GEORGE F              MD         24X12000507         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 FREDDIE E             VA         740CL0300030000    THE LAW OFFICES OF PETER T. NICHOLL
WINKLER              DANA M                VA         740CL0100140300     THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 GERALD H              MD         24X15000026        THE LAW OFFICES OF PETER T. NICHOLL
WINKLER              GERTRUDE              MD         24X06000156         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 HATTIE                MD         24X11000586        THE LAW OFFICES OF PETER T. NICHOLL
WINKLER              ROBERT L              MD         24X06000156         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 JOHN E                MD         24X11000586        THE LAW OFFICES OF PETER T. NICHOLL
WINMOND              KAREN                 MD         24X01000400         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 MARY J                MD         24X04001113        THE LAW OFFICES OF PETER T. NICHOLL
WINMOND              REGINALD A            MD         24X01000400         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 MARY JEAN             MD         24X97147518CX921   THE LAW OFFICES OF PETER T. NICHOLL
WINNEGAN             JAMES E               VA         28992EH             THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 MELBA D               VA         740CL0100222900    THE LAW OFFICES OF PETER T. NICHOLL
WINPHRIE             LORETTA               MD         24X04001112         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 PERCY J               MD         98338549CX2373     THE LAW OFFICES OF PETER T. NICHOLL
WINPHRIE             LORRETA               MD         98329501CX2226      THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 RAYMOND               MD         24X01001746        THE LAW OFFICES OF PETER T. NICHOLL
WINPHRIE             LUCHIES J             MD         98329501CX2226      THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 ROBERT L              MD         98289505           THE LAW OFFICES OF PETER T. NICHOLL
WINPHRIE             LUCHIES J             MD         24X04001112         THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 RODDIE F              MD         24X97147518CX921   THE LAW OFFICES OF PETER T. NICHOLL
WINSHIP              RONALD B JR           VA         28553EH             THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 SIDNEY A              MD         98211511CX1518     THE LAW OFFICES OF PETER T. NICHOLL
WINSLOW              BRUCE E               VA         32360RC             THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 SONDRA L              MD         24X06000274        THE LAW OFFICES OF PETER T. NICHOLL
WINSLOW              WILBUR J              VA         740CL0100176000     THE LAW OFFICES OF PETER T. NICHOLL                  WOOD                 THOMAS D              VA         740CL0300199500    THE LAW OFFICES OF PETER T. NICHOLL
WINSTEAD             GREGORY N             VA         700CL0232116W01     THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              ELVIN L               VA         740CL99001971      THE LAW OFFICES OF PETER T. NICHOLL
WINSTEAD             JAMES A               VA         740CL0200088700     THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              FONDA                 MD         24X18000021        THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              ARVA W                MD         24X13000434         THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              FONDA                 MD         24X02002012        THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              CLABON M              MD         24X10000010         THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              JAMES F               VA         0028866V05         THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              HOWARD E              MD         X01000694           THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              JIMMIE D              VA         740CL0300198300    THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              KENNETH R             MD         24X13000434         THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              JOHN S                VA         28659RC            THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              MORRIS V              VA         700CL0337490V04     THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              LLOYD J               MD         24X04000489        THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              RICHARD L             VA         740CL9900172400     THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              STEPHEN A             VA         740CL0100168200    THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              SANDRA                MD         X01000694           THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              WANDA O               MD         24X04000489        THE LAW OFFICES OF PETER T. NICHOLL
WINSTON              WILLIAM D             VA         01641               THE LAW OFFICES OF PETER T. NICHOLL                  WOODARD              WILBERT C             VA         0028806H02         THE LAW OFFICES OF PETER T. NICHOLL
WIRTH                CAROLYN J             MD         24X01001719         THE LAW OFFICES OF PETER T. NICHOLL                  WOODEN               BERNARD               MD         24X12000514        THE LAW OFFICES OF PETER T. NICHOLL
WIRTH                CHARLES R             MD         24X01001719         THE LAW OFFICES OF PETER T. NICHOLL                  WOODEN               JAMES P               VA         002721             THE LAW OFFICES OF PETER T. NICHOLL
WIRTH                ROBERT                MD         24X02001771         THE LAW OFFICES OF PETER T. NICHOLL                  WOODEN               MARY J                MD         24X12000514        THE LAW OFFICES OF PETER T. NICHOLL
WISCHHUSEN           CARMELLA M            MD         24X98275503CX1854   THE LAW OFFICES OF PETER T. NICHOLL                  WOODEN               WILLIAM O             VA         740CL0200034000    THE LAW OFFICES OF PETER T. NICHOLL
WISCHHUSEN           ROBERT J              MD         24X98275503CX1854   THE LAW OFFICES OF PETER T. NICHOLL                  WOODHOUS             MICHAEL M             MD         24X02000217        THE LAW OFFICES OF PETER T. NICHOLL
WISE                 ALAN                  MD         24X01000268         THE LAW OFFICES OF PETER T. NICHOLL                  WOODHOUSE            ROBERT B              VA         740CL9900166800    THE LAW OFFICES OF PETER T. NICHOLL
WISE                 ALLEN                 MD         24X01000268         THE LAW OFFICES OF PETER T. NICHOLL                  WOODLAND             DONALD E              VA         740CL0300111900    THE LAW OFFICES OF PETER T. NICHOLL
WISE                 ANDREW D              MD         24X02001152         THE LAW OFFICES OF PETER T. NICHOLL                  WOODLEY              KENNETH               VA         29812RC            THE LAW OFFICES OF PETER T. NICHOLL
WISE                 CORNELIOUS B          VA         103900              THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                ANNETTE               MD         24X02001847        THE LAW OFFICES OF PETER T. NICHOLL
WISE                 DENISE                MD         24X012000164        THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                ELIZABETH             MD         24X03000082        THE LAW OFFICES OF PETER T. NICHOLL
WISE                 LYNNETTE              MD         24X11000585         THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                ELVALENA              MD         24X15000135        THE LAW OFFICES OF PETER T. NICHOLL
WISE                 MARK                  MD         24X01000268         THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                FRED E                MD         24X03000082        THE LAW OFFICES OF PETER T. NICHOLL
WISE                 MICHAEL D             MD         24X012000164        THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                GREGORY A             VA         740CL0200052100    THE LAW OFFICES OF PETER T. NICHOLL
WISE                 PETER M               MD         24X11000585         THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                JAMES                 MD         24X16000183        THE LAW OFFICES OF PETER T. NICHOLL
WISE                 RANDI                 MD         24X01000268         THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                RICHARD S             VA         740CL0100124500    THE LAW OFFICES OF PETER T. NICHOLL
WISE                 SHIRLEY               MD         24X01000268         THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                RUDOLPH V             MD         X01000973          THE LAW OFFICES OF PETER T. NICHOLL
WISNIEWSKI           CAROL T               MD         98183520CX1347      THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                THOMAS                MD         24X15000135        THE LAW OFFICES OF PETER T. NICHOLL
WISNIEWSKI           CAROL T               MD         24X06000543         THE LAW OFFICES OF PETER T. NICHOLL                  WOODS                WOODROW               VA         32361RW            THE LAW OFFICES OF PETER T. NICHOLL
WISNIEWSKI           PRAXEDA M             MD         24X06000543         THE LAW OFFICES OF PETER T. NICHOLL                  WOODSON              BRENDA                MD         98329513CX2238     THE LAW OFFICES OF PETER T. NICHOLL
WITHERS              HARRY J               VA         740CL0100329300     THE LAW OFFICES OF PETER T. NICHOLL                  WOODSON              ETHEL MAE             MD         24X95310503        THE LAW OFFICES OF PETER T. NICHOLL
WITHERSPOON          ALLEN C               MD         98240508CX1660      THE LAW OFFICES OF PETER T. NICHOLL                  WOODSON              HOWARD                MD         01000414           THE LAW OFFICES OF PETER T. NICHOLL
WITHERSPOON          CHRISTINE             MD         98240508CX1660      THE LAW OFFICES OF PETER T. NICHOLL                  WOODSON              JOHN W                MD         24X95310503        THE LAW OFFICES OF PETER T. NICHOLL
WITHERSPOON          DAVID                 MD         98329517            THE LAW OFFICES OF PETER T. NICHOLL                  WOODSON              WALTER JR             VA         28208RW            THE LAW OFFICES OF PETER T. NICHOLL
WITHERSPOON          JAMES J               MD         24X06000066         THE LAW OFFICES OF PETER T. NICHOLL                  WOODSON              WILLIAM H JR          MD         98329513CX2238     THE LAW OFFICES OF PETER T. NICHOLL
WITMAN               CANDACE M             MD         24X16000505         THE LAW OFFICES OF PETER T. NICHOLL                  WOOFTER              BLAINE E              MD         24X02000392        THE LAW OFFICES OF PETER T. NICHOLL
WITMAN               CANDACE M             MD         24X02001074         THE LAW OFFICES OF PETER T. NICHOLL                  WOOFTER              EVA                   MD         24X02000392        THE LAW OFFICES OF PETER T. NICHOLL
WITOMSKI             FLORIAN J             MD         24X06000425         THE LAW OFFICES OF PETER T. NICHOLL                  WOOLARD              CARLTON H             VA         700CLO438398H02    THE LAW OFFICES OF PETER T. NICHOLL
WITOMSKI             MARY                  MD         24X06000425         THE LAW OFFICES OF PETER T. NICHOLL                  WOOLARD              HERBERT J             MD         24X09000416        THE LAW OFFICES OF PETER T. NICHOLL
WITT                 DALE E                MD         24X09000497         THE LAW OFFICES OF PETER T. NICHOLL                  WOOLFORD             BETTY                 MD         24X13000702        THE LAW OFFICES OF PETER T. NICHOLL
WITT                 ELIZABETH             MD         24X09000497         THE LAW OFFICES OF PETER T. NICHOLL                  WOOLFORD             WARREN L              MD         24X13000702        THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                                Appendix A - 825
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 160 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WOOLFREY             BARBARA               MD         24X02001385       THE LAW OFFICES OF PETER T. NICHOLL                  WYNN                 JOHN H                VA         700CL0437749V04   THE LAW OFFICES OF PETER T. NICHOLL
WOOLFREY             DANIEL T              MD         24X02001385       THE LAW OFFICES OF PETER T. NICHOLL                  WYNN                 JOSEPH R              VA         740CL0300122600   THE LAW OFFICES OF PETER T. NICHOLL
WOOLFREY             ELLIS C               MD         X01000496         THE LAW OFFICES OF PETER T. NICHOLL                  WYNN                 REGINALD S            MD         24X16000184       THE LAW OFFICES OF PETER T. NICHOLL
WOOTEN               RODNEY J              MD         24X02000796       THE LAW OFFICES OF PETER T. NICHOLL                  WYNNE                THURMAN L             VA         740CL0200122200   THE LAW OFFICES OF PETER T. NICHOLL
WOOTEN               WANDA                 MD         24X02000796       THE LAW OFFICES OF PETER T. NICHOLL                  YALE                 ELEANORA M            MD         24X05000160       THE LAW OFFICES OF PETER T. NICHOLL
WORKMAN              BOBBY LEWIS           MD         24X04000775       THE LAW OFFICES OF PETER T. NICHOLL                  YALE                 GORDON R              MD         24X05000160       THE LAW OFFICES OF PETER T. NICHOLL
WORKMAN              PENNELEPHIA           MD         24X04000775       THE LAW OFFICES OF PETER T. NICHOLL                  YANCEY               ERNESTINE D           VA         700CL0539600J05   THE LAW OFFICES OF PETER T. NICHOLL
WORKMEISTER          ANN                   MD         24X01001370       THE LAW OFFICES OF PETER T. NICHOLL                  YANCEY               ROBERT H              VA         0028805V05        THE LAW OFFICES OF PETER T. NICHOLL
WORKMEISTER          LOUIS W               MD         24X01001370       THE LAW OFFICES OF PETER T. NICHOLL                  YARBOROUGH           WILLIAM               VA         30176VA           THE LAW OFFICES OF PETER T. NICHOLL
WORMLEY              RAYMOND               VA         29276VA           THE LAW OFFICES OF PETER T. NICHOLL                  YARRINGTON           JOSEPH I              VA         740CL0100167300   THE LAW OFFICES OF PETER T. NICHOLL
WORMLEY              ROBERT C              VA         99001972          THE LAW OFFICES OF PETER T. NICHOLL                  YATES                CLYDE                 VA         740CL0300198500   THE LAW OFFICES OF PETER T. NICHOLL
WORMLEY              TYRONE L              VA         700CL0232331W01   THE LAW OFFICES OF PETER T. NICHOLL                  YATES                GILBERT               MD         24X02001053       THE LAW OFFICES OF PETER T. NICHOLL
WORRELL              ALLEN E               VA         740CL0200067600   THE LAW OFFICES OF PETER T. NICHOLL                  YATES                KENNETH J             MD         24X02002014       THE LAW OFFICES OF PETER T. NICHOLL
WORRELL              GILBERT               VA         740CL0100186000   THE LAW OFFICES OF PETER T. NICHOLL                  YEAGER               DANIEL W              MD         24X15000125       THE LAW OFFICES OF PETER T. NICHOLL
WORRELL              LARRY                 VA         700CL0235918A04   THE LAW OFFICES OF PETER T. NICHOLL                  YEAGER               HARRIET M             MD         24X15000125       THE LAW OFFICES OF PETER T. NICHOLL
WORSLEY              ROBERT M              VA         74CL02000118000   THE LAW OFFICES OF PETER T. NICHOLL                  YEATTS               DONALD A              VA         700CL0235616W01   THE LAW OFFICES OF PETER T. NICHOLL
WORTHINGTON          JAMES L               VA         700CL9927872A04   THE LAW OFFICES OF PETER T. NICHOLL                  YELTON               EMMA L                MD         24X07000085       THE LAW OFFICES OF PETER T. NICHOLL
WORTHINGTON          LARRY D               VA         0028825V05        THE LAW OFFICES OF PETER T. NICHOLL                  YELTON               HOWARD F              VA         740CL0300004800   THE LAW OFFICES OF PETER T. NICHOLL
WORTHY               WILLIAM J             MD         98402448          THE LAW OFFICES OF PETER T. NICHOLL                  YELTON               LEONARD               MD         24X07000085       THE LAW OFFICES OF PETER T. NICHOLL
WOZNY                BARBARA E             MD         24X03000881       THE LAW OFFICES OF PETER T. NICHOLL                  YORK                 BETTY L               MD         24X06000215       THE LAW OFFICES OF PETER T. NICHOLL
WOZNY                LEONARD R             MD         24X03000881       THE LAW OFFICES OF PETER T. NICHOLL                  YORK                 NORMAN J              MD         24X06000215       THE LAW OFFICES OF PETER T. NICHOLL
WRENN                FENTON D              VA         001636            THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                ALPHONSO M            VA         740CL0200052200   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               ALEXANDER             VA         28063RW           THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                BARTLETT H            VA         32597H02          THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               BEN B                 VA         740CL0300004600   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                BRUCE N               VA         740CL0100191600   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               CHARLES A             VA         740CL0100172700   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                CHARLES M             MD         24X96078510       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               CHARLES R             VA         29919EH           THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                CLARENCE              VA         740CL0100168300   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               CHARLIE A             VA         740CL0100204600   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                DANA                  MD         24X96078510       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               CLINTON D             VA         700CL0539146T01   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                DANIEL L              VA         700CL0438034H02   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               DANIEL L              VA         740CL0300096200   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                DAVID                 MD         X99001351         THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               DORIS                 MD         98163542CX1221    THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                DAVID                 MD         24X06000426       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               ELIZABETH A           MD         24X06000464       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                DIERDRE               MD         24X96078510       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               FRANK O               MD         24X10000496       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                DONALD                MD         24X04001157       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               GOLDIA D              MD         24X06000105       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                ELDRED L              VA         740CL0200284600   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               INEZ H                VA         700CL0539599V04   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                FRANK C               VA         740CL0300096300   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JAMES                 MD         98324505CX2190    THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                GEORGE W              VA         001181            THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JAMES A               VA         740CL0200040100   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                GERALDINE A           MD         24X14000544       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JEROME                MD         24X15000027       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                HENRY O               VA         740CL0100160800   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JESSE L SR            VA         28207RC           THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                HERBERT L             VA         700CL0235617V05   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JOHN J                MD         98268509CX1810    THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                JAMES A               VA         740CL0200193300   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JOSEPH E              VA         29266VA           THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                JAMES E               VA         740CL0200284700   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JUNIOUS               VA         740CL0000017600   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                JAMES R               VA         740CL0200003400   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               JUNIOUS               VA         700CL0539599V04   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                JEROME                VA         001147            THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               KENNETH E             MD         24X13000135       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                JOYCE S               VA         001183            THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               LINDA J               VA         700CL0437904H02   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                JUDITH ANN            MD         98170505CX1261    THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               LINWOOD               VA         740CL0200041200   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                MARY ANN              MD         24X97192524       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               LOIS                  MD         01000409          THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                MICHAEL               VA         28993RW           THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               MARGARET              MD         98268509CX1810    THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                MILDRED               MD         24X01001985       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               MICKEY                VA         740CL0300004700   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                ROBERT F              MD         24X97192524       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               PAMELA R              MD         24X11000113       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                RONELL N              VA         700CL0232106W01   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               PHYLLIS D             MD         24X06000587       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                ROXANNE               MD         24X14000362       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               ROBERT L              MD         24X06000464       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                SOPHIE L              VA         74CL0200116000    THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               ROBERT LEE            MD         01000409          THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                VURNIS                VA         740CL0200130100   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               ROLAND J              MD         24X11000113       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                WILMA                 MD         X99001351         THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               THEODORE R            MD         98324506CX2191    THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                WILMA I               MD         24X06000426       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               TIMOTHY R             MD         98329518          THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG                WINFRED C             MD         24X01001985       THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               VERGENEA              MD         24X10000496       THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG SR             OSWALD                MD         98170505CX1261    THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               WAYNE A               MD         98288502CX1902    THE LAW OFFICES OF PETER T. NICHOLL                  YOUNG-BEY            LAWRENCE W            MD         98317518CX2149    THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               WILBUR J              VA         740CL0300198400   THE LAW OFFICES OF PETER T. NICHOLL                  YOUNGBLOOD           DARRELL               VA         740CL0300112000   THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               WILLIAM B             VA         700CL0235888A04   THE LAW OFFICES OF PETER T. NICHOLL                  YOX                  EDGAR H               MD         98275518CX1869    THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               WILLIAM J             MD         24X08000492       THE LAW OFFICES OF PETER T. NICHOLL                  YOX                  SHIRLEY               MD         98275518CX1869    THE LAW OFFICES OF PETER T. NICHOLL
WRIGHT               WILLIE J              MD         24X06000587       THE LAW OFFICES OF PETER T. NICHOLL                  YUDISKI              BETTY A               MD         24X10000111       THE LAW OFFICES OF PETER T. NICHOLL
WRITTENBERRY         EDWIN G               VA         700CL0438023V04   THE LAW OFFICES OF PETER T. NICHOLL                  YUDISKI              BETTY A               MD         24X10000242       THE LAW OFFICES OF PETER T. NICHOLL
WRITTENBERRY         GERALD W              VA         740CL0200194500   THE LAW OFFICES OF PETER T. NICHOLL                  YUDISKI              DONALD W              MD         24X10000242       THE LAW OFFICES OF PETER T. NICHOLL
WUNDER               JOSEPH                MD         98320513CX2178    THE LAW OFFICES OF PETER T. NICHOLL                  YUDISKI              DONALD W              MD         24X10000111       THE LAW OFFICES OF PETER T. NICHOLL
WYATT                BOOKER E              VA         011048            THE LAW OFFICES OF PETER T. NICHOLL                  ZABLOCKI             WILLIAM V             MD         24X14000328       THE LAW OFFICES OF PETER T. NICHOLL
WYATT                FENTON W              VA         31953EH           THE LAW OFFICES OF PETER T. NICHOLL                  ZAJDEL               EDWIN J               MD         24X05000185       THE LAW OFFICES OF PETER T. NICHOLL
WYATT                PETER A               VA         740CL0300122500   THE LAW OFFICES OF PETER T. NICHOLL                  ZAJDEL               JACQUELINE M          MD         24X05000185       THE LAW OFFICES OF PETER T. NICHOLL
WYATT                RAYMOND A E           VA         700CL0438024H02   THE LAW OFFICES OF PETER T. NICHOLL                  ZAJDEL               MILDRED EVA           MD         24X05000185       THE LAW OFFICES OF PETER T. NICHOLL
WYCHE                ALFONZA               VA         0028660W01        THE LAW OFFICES OF PETER T. NICHOLL                  ZAKAT                ROBERT A              MD         X01000511         THE LAW OFFICES OF PETER T. NICHOLL
WYCHE                JAMES                 MD         24X02002100       THE LAW OFFICES OF PETER T. NICHOLL                  ZALEDONIS            JUDY A                MD         24X10000498       THE LAW OFFICES OF PETER T. NICHOLL
WYNN                 ANTHONY N             VA         740CL0200314400   THE LAW OFFICES OF PETER T. NICHOLL                  ZALEDONIS            RICHARD J             MD         24X10000498       THE LAW OFFICES OF PETER T. NICHOLL




                                                                                                              Appendix A - 826
                                                           Case 20-03004                              Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                         Complaint-Part 2 Page 161 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number      Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ZANG                 ROY L                 MD         24X06000283         THE LAW OFFICES OF PETER T. NICHOLL                  BARNES               ANNETTE               FL         0222939CIV       THE LIPMAN LAW FIRM
ZAPOTOSKY            JOHN J                MD         98226508CX1604      THE LAW OFFICES OF PETER T. NICHOLL                  BARNES               WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM
ZARO                 WALTER                MD         X01000703           THE LAW OFFICES OF PETER T. NICHOLL                  BARNETT              RAY V                 FL         CL0011729AD      THE LIPMAN LAW FIRM
ZAROUG               KASHIFAH              MD         24X97240501CX1792   THE LAW OFFICES OF PETER T. NICHOLL                  BARRETT              RUTH M                FL         0222939CIV       THE LIPMAN LAW FIRM
ZARUBA               DAVID J               MD         24X06000277         THE LAW OFFICES OF PETER T. NICHOLL                  BARRETT              WILLIAM F             FL         0222939CIV       THE LIPMAN LAW FIRM
ZARUBA               KRISTINA              MD         24X06000277         THE LAW OFFICES OF PETER T. NICHOLL                  BARRON               LARRY                 FL         025669CALG       THE LIPMAN LAW FIRM
ZELLERS              DANIEL A              MD         24X05000167         THE LAW OFFICES OF PETER T. NICHOLL                  BARSON               BEVERLY               FL         0222939CIV       THE LIPMAN LAW FIRM
ZELLERS              JOSEPHINE             MD         24X05000167         THE LAW OFFICES OF PETER T. NICHOLL                  BARSON               CHARLES               FL         0222939CIV       THE LIPMAN LAW FIRM
ZENTGRAF             EDWARD H              MD         24X04000334         THE LAW OFFICES OF PETER T. NICHOLL                  BARSTOW              ADAM                  FL         0222939CIV       THE LIPMAN LAW FIRM
ZENTGRAF             SHIRLEY               MD         24X04000334         THE LAW OFFICES OF PETER T. NICHOLL                  BARSTOW              DELLA                 FL         0222939CIV       THE LIPMAN LAW FIRM
ZIEGLER              ROSALIE C             MD         24X06000384         THE LAW OFFICES OF PETER T. NICHOLL                  BARTON               DENNIE G              FL         0222939CIV       THE LIPMAN LAW FIRM
ZIEGLER              WILLIAM S             MD         24X06000384         THE LAW OFFICES OF PETER T. NICHOLL                  BARTON               FLORENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
ZIMMERMAN            ANNA Y                MD         24X18000002         THE LAW OFFICES OF PETER T. NICHOLL                  BARTON               JAMES C               FL         0222939CIV       THE LIPMAN LAW FIRM
ZIMMERMAN            ANNA Y                MD         24X07000122         THE LAW OFFICES OF PETER T. NICHOLL                  BARTON               PATRICIA              FL         0222939CIV       THE LIPMAN LAW FIRM
ZIMMERMAN            DOUGLAS               MD         24X18000002         THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 DAVID W               FL         0222939CIV       THE LIPMAN LAW FIRM
ZIMMERMAN            DOUGLAS               MD         24X07000122         THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 DOROTHY               FL         0500971127       THE LIPMAN LAW FIRM
ZIMMERMAN            FREEMAN R             MD         24X18000002         THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 FRANK                 FL         0500971127       THE LIPMAN LAW FIRM
ZIMMERMAN            FREEMAN R             MD         24X07000122         THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 JEAN                  FL         0222939CIV       THE LIPMAN LAW FIRM
ZIMMERMAN            JOAN F                MD         24X08000078         THE LAW OFFICES OF PETER T. NICHOLL                  BASS                 LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
ZIMMERMAN            RONALD                MD         24X08000078         THE LAW OFFICES OF PETER T. NICHOLL                  BATCHELDOR           MARILYN               FL         02009910         THE LIPMAN LAW FIRM
ZIRKLE               SETH B                MD         24X14000191         THE LAW OFFICES OF PETER T. NICHOLL                  BATCHELDOR           NORMAN                FL         02009910         THE LIPMAN LAW FIRM
ZUBEY                JOSEPH M              MD         24X01001371         THE LAW OFFICES OF PETER T. NICHOLL                  BAUER                RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
ZUBEY                NORMA J               MD         24X01001371         THE LAW OFFICES OF PETER T. NICHOLL                  BAUER                WILLIAM E             FL         0222939CIV       THE LIPMAN LAW FIRM
ZUROMSKI             LORRAINE V            MD         98344501CX2423      THE LAW OFFICES OF PETER T. NICHOLL                  BAUGH                DEBRA                 FL         0222939CIV       THE LIPMAN LAW FIRM
ZUROMSKI             RICHARD L             MD         98344501CX2423      THE LAW OFFICES OF PETER T. NICHOLL                  BAUGH                HENRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
ZWINKLIS             SHIRLEY M             MD         24X06000573         THE LAW OFFICES OF PETER T. NICHOLL                  BAUGH                VIOLA                 FL         0413914          THE LIPMAN LAW FIRM
ZWINKLIS             VICTOR                MD         24X06000573         THE LAW OFFICES OF PETER T. NICHOLL                  BAUMGARTNER          ALAN D                FL         0413919          THE LIPMAN LAW FIRM
          TRUE       DARLENE               MD         24X06000619         THE LAW OFFICES OF PETER T. NICHOLL                  BAUMGARTNER          BIBIANA               FL         0222939CIV       THE LIPMAN LAW FIRM
          TRUE       FRANK J               MD         24X06000619         THE LAW OFFICES OF PETER T. NICHOLL                  BAUMGARTNER          CHESTER               FL         0222939CIV       THE LIPMAN LAW FIRM
ACCOMANDO            CLAIRE                FL         0222939CIV          THE LIPMAN LAW FIRM                                  BAUMGARTNER          EMILY                 FL         0413919          THE LIPMAN LAW FIRM
ACCOMANDO            PHILIP                FL         0222939CIV          THE LIPMAN LAW FIRM                                  BAYLER               CECELIA Z             FL         0222939CIV       THE LIPMAN LAW FIRM
ADAMS                FRANK P               FL         0222939CIV          THE LIPMAN LAW FIRM                                  BAYLER               DANIEL A              FL         0222939CIV       THE LIPMAN LAW FIRM
ADAMS                GEORGE E              FL         0222939CIV          THE LIPMAN LAW FIRM                                  BEAHM                GEORGE C              FL         0222939CIV       THE LIPMAN LAW FIRM
ADAMS                THELMA L              FL         0222939CIV          THE LIPMAN LAW FIRM                                  BEASON               CAROLYN G             FL         0222939CIV       THE LIPMAN LAW FIRM
AIKENS               ALMA                  FL         99959227            THE LIPMAN LAW FIRM                                  BEASON               CHARLES R             FL         0222939CIV       THE LIPMAN LAW FIRM
ALBERT               ZITOMER               FL         CA0206472AD         THE LIPMAN LAW FIRM                                  BEAULIEU             JEANETTE              FL         0222939CIV       THE LIPMAN LAW FIRM
ALEXANDER            ANTHONY P             FL         025668CALG          THE LIPMAN LAW FIRM                                  BEAULIEU             RALPH M               FL         0222939CIV       THE LIPMAN LAW FIRM
ALEXANDER            WILLIAM               FL         0222939CIV          THE LIPMAN LAW FIRM                                  BECKER               GORDON E              FL         0222939CIV       THE LIPMAN LAW FIRM
ALEXANDER            WILLIAM JR            FL         0222939CIV          THE LIPMAN LAW FIRM                                  BECKETT              JANET M               FL         0222939CIV       THE LIPMAN LAW FIRM
ALLEN                RAY                   FL         025710CALG          THE LIPMAN LAW FIRM                                  BECKETT              ROBERT O              FL         0222939CIV       THE LIPMAN LAW FIRM
ALLISON              ALVA                  FL         0222939CIV          THE LIPMAN LAW FIRM                                  BECKHAM              AMY A                 FL         0222939CIV       THE LIPMAN LAW FIRM
ALLISON              HOWARD                FL         0222939CIV          THE LIPMAN LAW FIRM                                  BECKMANN             EDWARD K              FL         0222939CIV       THE LIPMAN LAW FIRM
ANDERSON             ABIGAIL               FL         0222939CIV          THE LIPMAN LAW FIRM                                  BECKMANN             LINDA D               FL         0222939CIV       THE LIPMAN LAW FIRM
ANDERSON             ARLIE                 FL         0222939CIV          THE LIPMAN LAW FIRM                                  BEEMAN               FRANK                 FL         ADMIN            THE LIPMAN LAW FIRM
ANDERSON             ARLIE                 FL         99986427            THE LIPMAN LAW FIRM                                  BEEMAN               JOAN                  FL         ADMIN            THE LIPMAN LAW FIRM
ANDERSON             EMORY A               FL         0222939CIV          THE LIPMAN LAW FIRM                                  BELCH                MARGARET              FL         0222939CIV       THE LIPMAN LAW FIRM
ANDERSON             GYPSIE                FL         0222939CIV          THE LIPMAN LAW FIRM                                  BELCH                ROGER L               FL         0222939CIV       THE LIPMAN LAW FIRM
ANDERSON             GYPSIE                FL         99986427            THE LIPMAN LAW FIRM                                  BELL                 MARION J              FL         0222939CIV       THE LIPMAN LAW FIRM
ANDERSON             MAE OLA               FL         0413931             THE LIPMAN LAW FIRM                                  BELL                 ROBERT J              FL         CL0011736AD      THE LIPMAN LAW FIRM
ANDERSON             RUNION                FL         0413931             THE LIPMAN LAW FIRM                                  BELL                 SHARON E              FL         0222939CIV       THE LIPMAN LAW FIRM
ANDRESENS            ELSIE                 FL         0222939CIV          THE LIPMAN LAW FIRM                                  BELLI                AUGUST                FL         0222939CIV       THE LIPMAN LAW FIRM
ANDRESENS            JOHN                  FL         0222939CIV          THE LIPMAN LAW FIRM                                  BELLMAY              MARJORIE              FL         003571CALG       THE LIPMAN LAW FIRM
ANGIONE              AMELIA                FL         99973027            THE LIPMAN LAW FIRM                                  BELLMAY              ROBERT                FL         003571CALG       THE LIPMAN LAW FIRM
ANGIONE              FRANK                 FL         99973027            THE LIPMAN LAW FIRM                                  BENESH               HARRY                 FL         99959427         THE LIPMAN LAW FIRM
APONTE               CARLOS                FL         0222939CIV          THE LIPMAN LAW FIRM                                  BENJAMIN             EARL                  FL         0222939CIV       THE LIPMAN LAW FIRM
APONTE               LIDUVINA              FL         0222939CIV          THE LIPMAN LAW FIRM                                  BENNETT              HARRY                 FL         050960727        THE LIPMAN LAW FIRM
ARNOLD               ALLEN                 FL         CA0206636AD         THE LIPMAN LAW FIRM                                  BENNETT              JANE                  FL         050960727        THE LIPMAN LAW FIRM
ASBURY               DONALD J              FL         0222939CIV          THE LIPMAN LAW FIRM                                  BERRIEN              GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM
ASBURY               DREMA P               FL         0222939CIV          THE LIPMAN LAW FIRM                                  BERRYMAN             RUE SHELLY            FL         0222939CIV       THE LIPMAN LAW FIRM
AUGUSTINO            DOMINICK P            FL         0222939CIV          THE LIPMAN LAW FIRM                                  BESTUL               ARNOLD                FL         0222939CIV       THE LIPMAN LAW FIRM
AURIN                JOY                   FL         025651CALG          THE LIPMAN LAW FIRM                                  BETTS                JOYCE                 FL         0222939CIV       THE LIPMAN LAW FIRM
AURIN                WALTER                FL         025651CALG          THE LIPMAN LAW FIRM                                  BETTS                SAM F                 FL         0222939CIV       THE LIPMAN LAW FIRM
AUSLEY               EDWARD R              FL         0222939CIV          THE LIPMAN LAW FIRM                                  BETZ                 JACK H                FL         0222939CIV       THE LIPMAN LAW FIRM
AUSTIN               REIDUN                FL         04000453            THE LIPMAN LAW FIRM                                  BETZ                 JEAN A                FL         0222939CIV       THE LIPMAN LAW FIRM
AUSTIN               ROBERT                FL         04000453            THE LIPMAN LAW FIRM                                  BEVILACQUA           JOSEPH F              FL         0222939CIV       THE LIPMAN LAW FIRM
BAILEY               BRENDA                FL         0413922             THE LIPMAN LAW FIRM                                  BEVILACQUA           SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
BAILEY               HORACE                FL         0413922             THE LIPMAN LAW FIRM                                  BEVILLE              REGINA                FL         0222939CIV       THE LIPMAN LAW FIRM
BALDWIN              LEROY V               FL         0222939CIV          THE LIPMAN LAW FIRM                                  BEVILLE              WILLIAM W             FL         0222939CIV       THE LIPMAN LAW FIRM
BALLARD              DOROTHY EVELYN        FL         04013886            THE LIPMAN LAW FIRM                                  BIANCHIL             PAUL                  FL         0222939CIV       THE LIPMAN LAW FIRM
BARBOUR              CECIL YVONNE          FL         0222939CIV          THE LIPMAN LAW FIRM                                  BICKLEY              LUCILLE               FL         0222939CIV       THE LIPMAN LAW FIRM
BARBUR               CECIL                 FL         0222939CIV          THE LIPMAN LAW FIRM                                  BICKLEY              MILTON                FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                                Appendix A - 827
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 162 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BIGGS                ROLLAND E             FL         0222939CIV       THE LIPMAN LAW FIRM                                  BROWN                CLAUDE                FL         CA02006617AD     THE LIPMAN LAW FIRM
BINDER               DENVER W              FL         0222939CIV       THE LIPMAN LAW FIRM                                  BROWN                SAMUEL L              FL         0222939CIV       THE LIPMAN LAW FIRM
BIRKINS              ELDIE                 FL         025819CALG       THE LIPMAN LAW FIRM                                  BROWN                SHIRLEY               FL         0500972227       THE LIPMAN LAW FIRM
BIRKINS              JAMES E               FL         025819CALG       THE LIPMAN LAW FIRM                                  BROWNE               GEORGE MICHAEL        FL         0222939CIV       THE LIPMAN LAW FIRM
BIRNBAUM             THEODORE F            FL         0222939CIV       THE LIPMAN LAW FIRM                                  BROWNE               JERLY                 FL         0222644          THE LIPMAN LAW FIRM
BISBANO              DEBORAH               FL         0222939CIV       THE LIPMAN LAW FIRM                                  BROWNE               MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM
BISBANO              JOHN P                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BROWNE               STANLEY               FL         0222644          THE LIPMAN LAW FIRM
BISCHOFF             CHARLES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  BRUHN                BARBARA               FL         04013748         THE LIPMAN LAW FIRM
BIZUKA               JOHN M                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BRUHN                CHARLES               FL         04013748         THE LIPMAN LAW FIRM
BLACK                PAMELA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BUCARO               ANTHONY T             FL         0222939CIV       THE LIPMAN LAW FIRM
BLACK                WADE N                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BUCKINGHAM           RICHARD P             FL         0222939CIV       THE LIPMAN LAW FIRM
BLANCHARD            CAROLYN M             FL         0222939CIV       THE LIPMAN LAW FIRM                                  BUCKINGHAM           ROSEMARY              FL         0222939CIV       THE LIPMAN LAW FIRM
BLANCHARD            EDWARD F              FL         0222939CIV       THE LIPMAN LAW FIRM                                  BUDNICK              ANTHONY               FL         0222939CIV       THE LIPMAN LAW FIRM
BLANKENSHIP          CYNTHIA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  BUDNICK              BONNIE                FL         0222939CIV       THE LIPMAN LAW FIRM
BLANKENSHIP          NELSON L              FL         0222939CIV       THE LIPMAN LAW FIRM                                  BURGESS              CELIA M               FL         0222939CIV       THE LIPMAN LAW FIRM
BLASKOVITZ           DOTTIE C              FL         0222939CIV       THE LIPMAN LAW FIRM                                  BURGESS              HERMAN L              FL         0222939CIV       THE LIPMAN LAW FIRM
BLASKOVITZ           JOSEPH J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  BURNETT              ROBERT                FL         0222645          THE LIPMAN LAW FIRM
BLASZCZYK            EDWIN M               FL         0222939CIV       THE LIPMAN LAW FIRM                                  BURNETT              SUZETTE               FL         0222645          THE LIPMAN LAW FIRM
BLASZCZYK            MARIE                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  BURNS                HOLLIS                FL         0222939CIV       THE LIPMAN LAW FIRM
BLEAU                CHARLES               FL         CA0206391AD      THE LIPMAN LAW FIRM                                  BURNS                KENNETH E             FL         0222939CIV       THE LIPMAN LAW FIRM
BLEAU                PATRICIA              FL         CA0206391AD      THE LIPMAN LAW FIRM                                  BUTA                 LARRY                 FL         0500958027       THE LIPMAN LAW FIRM
BLICE                GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BYRD                 DORETHA               FL         0222939CIV       THE LIPMAN LAW FIRM
BLICE                MARY T                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BYRD                 WALTER                FL         0222939CIV       THE LIPMAN LAW FIRM
BLITCH               DALE S                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CALLAHAN             GEORGE F              FL         0222939CIV       THE LIPMAN LAW FIRM
BLITCH               ERIS D                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CALLAHAN             SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
BLOOD                ARTHUR LEE            FL         04013921         THE LIPMAN LAW FIRM                                  CALOIA               EMIL                  FL         ADMIN            THE LIPMAN LAW FIRM
BLOOD                SAMELLA               FL         04013921         THE LIPMAN LAW FIRM                                  CALOIA               LYDIA                 FL         ADMIN            THE LIPMAN LAW FIRM
BLUDAU               RAYMOND               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CALVERLY             CATHERINE             FL         0222939CIV       THE LIPMAN LAW FIRM
BLUDSAW              HORACE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CALVERLY             THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM
BLUDSAW              HORACE                FL         0010537CALG      THE LIPMAN LAW FIRM                                  CAMILLERI            ALICE ANITA           FL         04013753         THE LIPMAN LAW FIRM
BOARDMAN             JAMES P               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAMILLERI            CHARLES CARL          FL         04013753         THE LIPMAN LAW FIRM
BOARDMAN             THERESA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CANNON               MARGARET              FL         0222939CIV       THE LIPMAN LAW FIRM
BOCHNIAK             DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAPUANO              JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM
BOCHNIAK             MARY ANN              FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAPUTO               CARMINE               FL         0222939CIV       THE LIPMAN LAW FIRM
BOEH                 NORBERT               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAPUTO               MARIE                 FL         0222939CIV       THE LIPMAN LAW FIRM
BOEH                 RUTH                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARLSON              CAROL                 FL         027375CALG       THE LIPMAN LAW FIRM
BOFFOLI              ANTHONY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARLSON              MARSHALL              FL         027375CALG       THE LIPMAN LAW FIRM
BOFFOLI              STEVEN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARMAN               HERRY                 FL         02009837         THE LIPMAN LAW FIRM
BOGGS                LINDA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARMAN               KIM                   FL         02009837         THE LIPMAN LAW FIRM
BOGGS                WALTER K              FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARPENTER            CHARLES B             FL         0222939CIV       THE LIPMAN LAW FIRM
BOISSAT              LOUIS                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARPENTER            LILLIAN               FL         0222939CIV       THE LIPMAN LAW FIRM
BOISSAT              MANUELA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARPENTER            LOIS                  FL         0222939CIV       THE LIPMAN LAW FIRM
BOLINE               BEVERLY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARPENTER            NANCY                 FL         04013773         THE LIPMAN LAW FIRM
BOLINE               GARY D                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARPENTER            T LESLIE              FL         0222939CIV       THE LIPMAN LAW FIRM
BOLTON               MARY C                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARRICO              EARL C                FL         0222939CIV       THE LIPMAN LAW FIRM
BOLTON               STANLEY C             FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARRICO              ELLA RUTH             FL         0222939CIV       THE LIPMAN LAW FIRM
BOMBAY               EVELYN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARRIER              BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM
BOMBAY               THOMAS J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARRIER              RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
BORDERS              LEE A                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARROLL              GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM
BORG                 JOSEPH V              FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARTER               DEBORAH               FL         026123CALG       THE LIPMAN LAW FIRM
BORG                 SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARTER               RICHARD               FL         026123CALG       THE LIPMAN LAW FIRM
BOSTICK              BETTY                 FL         026128CALG       THE LIPMAN LAW FIRM                                  CARTWRIGHT           RAYMOND D             FL         0222939CIV       THE LIPMAN LAW FIRM
BOSTICK              JH                    FL         026128CALG       THE LIPMAN LAW FIRM                                  CARUTHERS            ERNESTINE             FL         02012435         THE LIPMAN LAW FIRM
BOSTWICK             PAUL                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARUTHERS            JC                    FL         02012435         THE LIPMAN LAW FIRM
BOWERS               CHARLES M             FL         02009652         THE LIPMAN LAW FIRM                                  CARVER               HOWARD                FL         0500970327       THE LIPMAN LAW FIRM
BOWMAN               GREG P                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CARVER               MARY                  FL         0500970327       THE LIPMAN LAW FIRM
BOWMAN               TITA                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  CASTOR               CATHERINE             FL         0222939CIV       THE LIPMAN LAW FIRM
BOWMER               MARY                  FL         0400176          THE LIPMAN LAW FIRM                                  CASTOR               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
BOWMER               WILLIAM W             FL         0400176          THE LIPMAN LAW FIRM                                  CATES                JACK J                FL         CA02006635AD     THE LIPMAN LAW FIRM
BOYLES               JOHN C                FL         0222939CIV       THE LIPMAN LAW FIRM                                  CATES                NADINE                FL         CA02006635AD     THE LIPMAN LAW FIRM
BOYLES               MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAUDELL              CARL                  FL         0222939CIV       THE LIPMAN LAW FIRM
BOZEMAN              FRANK                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAVANAGH             EDWARD J              FL         0222939CIV       THE LIPMAN LAW FIRM
BOZEMAN              MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  CAVANAGH             HELEN                 FL         0222939CIV       THE LIPMAN LAW FIRM
BRESEE               COLLEENE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  CHAMBERS             JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
BRESEE               MAYNARD               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CHAMBERS             ORISSA                FL         0222939CIV       THE LIPMAN LAW FIRM
BREWIS               ALVIN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  CHAMPLAIN            DONALD P              FL         0222939CIV       THE LIPMAN LAW FIRM
BREWIS               DELORES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  CHAMPLAIN            MILLICENT             FL         0222939CIV       THE LIPMAN LAW FIRM
BRINSON              WILLIAM C             FL         0222939CIV       THE LIPMAN LAW FIRM                                  CHANDLER             FLOYD W               FL         0222939CIV       THE LIPMAN LAW FIRM
BROCK                JACK                  FL         0031474CA42      THE LIPMAN LAW FIRM                                  CHAPEL               ROBERTA               FL         0222939CIV       THE LIPMAN LAW FIRM
BROOKS               ARTHUR                FL         02012439         THE LIPMAN LAW FIRM                                  CHATHAM              ROBERT C              FL         0222939CIV       THE LIPMAN LAW FIRM
BROOKS               LEOLANDE              FL         02012439         THE LIPMAN LAW FIRM                                  CHATHAMS             ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 828
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 163 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CHIDESTER            ELLEN                 FL         021744CALG       THE LIPMAN LAW FIRM                                  DANCZ                DAVID                 FL         99980827         THE LIPMAN LAW FIRM
CHILDERS             SHARON ROSE           FL         0413872          THE LIPMAN LAW FIRM                                  DANCZ                PATRICIA              FL         99980827         THE LIPMAN LAW FIRM
CHRASTKA             JEROME J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  D'ANDREA             CARMEN                FL         04013765         THE LIPMAN LAW FIRM
CIUCCIO              JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  D'ANDREA             MIRIAM                FL         04013765         THE LIPMAN LAW FIRM
CLARK                ELNORA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DANNELLY             BOBBIE                FL         0413879          THE LIPMAN LAW FIRM
CLARK                JOHN M                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DANNELLY             RANDOLPH              FL         0413879          THE LIPMAN LAW FIRM
CLARK                LEO                   FL         01496CALG        THE LIPMAN LAW FIRM                                  DAVIS                DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM
CLARK                ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DAVIS                FRED                  FL         0222939CIV       THE LIPMAN LAW FIRM
CLARK                WILLIE B              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DAVIS                IRENE                 FL         0222939CIV       THE LIPMAN LAW FIRM
CLAY                 JESSIE                FL         04013884         THE LIPMAN LAW FIRM                                  DAVIS                JOANNE M              FL         04013835         THE LIPMAN LAW FIRM
CLAY                 ORA DEAN              FL         04013884         THE LIPMAN LAW FIRM                                  DAVIS                RICHMOND              FL         0222939CIV       THE LIPMAN LAW FIRM
CLAYTON              BARBARA               FL         0127222CA42      THE LIPMAN LAW FIRM                                  DAVIS                ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
CLAYTON              BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DAVIS                WILLIAM R             FL         04013835         THE LIPMAN LAW FIRM
CLAYTON              ROBERT J              FL         0127222CA42      THE LIPMAN LAW FIRM                                  DAY                  ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM
CLAYTON              ROBERT J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DAY                  JEREMIAH              FL         0222939CIV       THE LIPMAN LAW FIRM
CLEARFIELD           HAROLD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DE COSTA             GERALDINE             FL         0222939CIV       THE LIPMAN LAW FIRM
CLEMENTS             JOSEPH                FL         02001619         THE LIPMAN LAW FIRM                                  DE COSTA             ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
CLEVELAND            BERNARD               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DE MATAS             ANDRE                 FL         0222939CIV       THE LIPMAN LAW FIRM
CLEVIS               JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  DE MATAS             MYRTHA                FL         0222939CIV       THE LIPMAN LAW FIRM
COGLISER             BETTY                 FL         CA02006384AD     THE LIPMAN LAW FIRM                                  DEAN                 ELSIE                 FL         0222939CIV       THE LIPMAN LAW FIRM
COGLISER             ROBERT D              FL         CA02006384AD     THE LIPMAN LAW FIRM                                  DEAN                 HENRY RUFFIN          FL         0222939CIV       THE LIPMAN LAW FIRM
COGSHELL             JAMES EARL            FL         0413926          THE LIPMAN LAW FIRM                                  DEMITH               EDWARD G              FL         0031473CA42      THE LIPMAN LAW FIRM
COGSHELL             VIOLA                 FL         0413926          THE LIPMAN LAW FIRM                                  DEMONBRUEN           DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM
COHEN                ROBERT                FL         0209866          THE LIPMAN LAW FIRM                                  DERRICK              DIXIE                 FL         0222639          THE LIPMAN LAW FIRM
COHEN                SAM                   FL         0209866          THE LIPMAN LAW FIRM                                  DERRICK              VIRGIL                FL         0222639          THE LIPMAN LAW FIRM
COLE                 ALBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DETTER               MIKE                  FL         0222939CIV       THE LIPMAN LAW FIRM
COLE                 BETTY J               FL         99878127         THE LIPMAN LAW FIRM                                  DEWEERDT             EVA                   FL         0222939CIV       THE LIPMAN LAW FIRM
COLE                 LEON                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  DEWEERDT             JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
COLE                 MADELINE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DI GIOVANNI          RAYMOND               FL         0209779CA42      THE LIPMAN LAW FIRM
COLE                 RAYMOND               FL         99878127         THE LIPMAN LAW FIRM                                  DIAMOND              PAUL W                FL         0222939CIV       THE LIPMAN LAW FIRM
COLE                 ROBERT L              FL         0500958927       THE LIPMAN LAW FIRM                                  DIAMOND              ROBERTA               FL         0222939CIV       THE LIPMAN LAW FIRM
COLE                 ROBERT MILTON         FL         050970727        THE LIPMAN LAW FIRM                                  DIAMONTIS            EMMANUEL              FL         0222939CIV       THE LIPMAN LAW FIRM
COLE                 SANDRA                FL         0500958927       THE LIPMAN LAW FIRM                                  DIETRICH             ADELE                 FL         0313947CA42      THE LIPMAN LAW FIRM
COLEY                BLACHE                FL         0100665CA42      THE LIPMAN LAW FIRM                                  DIETRICH             CHARLES WILLIAM       FL         0313947CA42      THE LIPMAN LAW FIRM
COLEY                BLANCHE               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DIETRICH             DENNIS CHARLES        FL         0313947CA42      THE LIPMAN LAW FIRM
COLEY                GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DILL                 ALBERT                FL         99989327         THE LIPMAN LAW FIRM
COLEY                GEORGEY               FL         0100665CA42      THE LIPMAN LAW FIRM                                  DILL                 MARIA                 FL         99989327         THE LIPMAN LAW FIRM
COMBS                DAN                   FL         0222939CIV       THE LIPMAN LAW FIRM                                  DITOMMASO            ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM
COMBS                IDA MAE               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DITOMMASO            SALVATORE S           FL         0222939CIV       THE LIPMAN LAW FIRM
CONDIT               DOUGLAS               FL         0222643          THE LIPMAN LAW FIRM                                  DIXON                BONNIE                FL         0222939CIV       THE LIPMAN LAW FIRM
CONDIT               JO ANN                FL         0222643          THE LIPMAN LAW FIRM                                  DIXON                GARY                  FL         0222939CIV       THE LIPMAN LAW FIRM
COOK                 CHRISTAL R            FL         021127CA42       THE LIPMAN LAW FIRM                                  DOBROSKY             CAROLYN               FL         04013883         THE LIPMAN LAW FIRM
COOK                 CHRISTAL R            FL         0209718CA42      THE LIPMAN LAW FIRM                                  DOBROSKY             WILLIAM E             FL         04013883         THE LIPMAN LAW FIRM
COOK                 HENRY J               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DODDS                CARLTON               FL         0222939CIV       THE LIPMAN LAW FIRM
COOK                 JAMES E               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DODDS                JEAN                  FL         0222939CIV       THE LIPMAN LAW FIRM
COPELAND             GLADYS                FL         01499CALG        THE LIPMAN LAW FIRM                                  DONAGHY              CHARLOTTE V           FL         050970727        THE LIPMAN LAW FIRM
COPELAND             ROME                  FL         01499CALG        THE LIPMAN LAW FIRM                                  DONOVAN              ELIZABETH             FL         ADMIN            THE LIPMAN LAW FIRM
CORDAY               LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DONOVAN              THAYER                FL         ADMIN            THE LIPMAN LAW FIRM
CORLEY               HARLON R              FL         019532CALG       THE LIPMAN LAW FIRM                                  DORFF                MARILYN               FL         99916027         THE LIPMAN LAW FIRM
CORLEY               LINDA                 FL         019532CALG       THE LIPMAN LAW FIRM                                  DORFF                WIDON                 FL         99916027         THE LIPMAN LAW FIRM
CORNEILLE            VINCENT               FL         0222480          THE LIPMAN LAW FIRM                                  DORHOUT              ALBERTA               FL         0222939CIV       THE LIPMAN LAW FIRM
CORNEILLE            YOLANDA               FL         0222480          THE LIPMAN LAW FIRM                                  DORHOUT              CLARENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
COUNCIL              JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DORSEY               EARL                  FL         0222939CIV       THE LIPMAN LAW FIRM
COUNCIL              MARY RUTH             FL         0222939CIV       THE LIPMAN LAW FIRM                                  DOUTHWRIGHT          DONALD                FL         0222939CIV       THE LIPMAN LAW FIRM
COVINGTON            CHARLENE              FL         04013875         THE LIPMAN LAW FIRM                                  DOYCHAK              ANDREW                FL         CA02006674AD     THE LIPMAN LAW FIRM
COX                  MARY A                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DOYCHAK              OLLIE                 FL         CA02006674AD     THE LIPMAN LAW FIRM
COX                  PATRICK L             FL         0222939CIV       THE LIPMAN LAW FIRM                                  DRAKE                KATHLEEN              FL         025571CALG       THE LIPMAN LAW FIRM
CRAWFORD             CLAUDE L              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DRAKE                ROBERT                FL         025571CALG       THE LIPMAN LAW FIRM
CREDIT               ANDREW                FL         0413923          THE LIPMAN LAW FIRM                                  DRAPER               BILL                  FL         04000213         THE LIPMAN LAW FIRM
CREDIT               VERLEAN               FL         0413923          THE LIPMAN LAW FIRM                                  DRAPER               KENNETH               FL         04000213         THE LIPMAN LAW FIRM
CRIDER               FRANK                 FL         0500969927       THE LIPMAN LAW FIRM                                  DRAPER               MARK                  FL         04000213         THE LIPMAN LAW FIRM
CRIDER               MARY                  FL         0500969927       THE LIPMAN LAW FIRM                                  DRAWDY               AUDREY                FL         01498CALG        THE LIPMAN LAW FIRM
CRISPINO             ANGELA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  DRAWDY               CLARENCE              FL         01498CALG        THE LIPMAN LAW FIRM
CRISPINO             DOMINICK              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DRY                  HELEN                 FL         0222939CIV       THE LIPMAN LAW FIRM
CROSSEN              BARBARA               FL         02009852         THE LIPMAN LAW FIRM                                  DRY                  SHELTON               FL         0222939CIV       THE LIPMAN LAW FIRM
CROSSEN              GEORGE                FL         02009852         THE LIPMAN LAW FIRM                                  DUMAINE              FRANK                 FL         0222939CIV       THE LIPMAN LAW FIRM
CULLEN               JOSEPH E              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DUNN                 JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
CURRIE               BOBBY JEAN            FL         0222939CIV       THE LIPMAN LAW FIRM                                  DUSTIN               HAZEL                 FL         0222939CIV       THE LIPMAN LAW FIRM
CURRIE               SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  DUSTIN               JOHN F                FL         0222939CIV       THE LIPMAN LAW FIRM
CUTTER               PATRICIA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  DUTTON               ALLEN                 FL         0222939CIV       THE LIPMAN LAW FIRM
DAILEY               ROBERT B              FL         025957CALG       THE LIPMAN LAW FIRM                                  DUTTON               REBECCA               FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 829
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 164 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DYKES                EUNICE                FL         0413925          THE LIPMAN LAW FIRM                                  FRALEY               BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM
DYKES                JOSH                  FL         0413925          THE LIPMAN LAW FIRM                                  FRALEY               FORREST               FL         0222939CIV       THE LIPMAN LAW FIRM
EADENS               ALGENIB M             FL         02003146         THE LIPMAN LAW FIRM                                  FRANCIS              JEWEL                 FL         0222939CIV       THE LIPMAN LAW FIRM
EADENS               DANIEL R              FL         02003146         THE LIPMAN LAW FIRM                                  FRANCISCO            CAROLYN               FL         0222939CIV       THE LIPMAN LAW FIRM
EARLE                DOROTHY               FL         02012446         THE LIPMAN LAW FIRM                                  FRANCISCO            LARRY L               FL         0222939CIV       THE LIPMAN LAW FIRM
EARLE                EWART G               FL         02012446         THE LIPMAN LAW FIRM                                  FRANCOIS             ESTHER                FL         04013751         THE LIPMAN LAW FIRM
EBANKS               LESLIE C              FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRANCOIS             LOUNEDA               FL         04013751         THE LIPMAN LAW FIRM
EBANKS               MURIEL                FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRAZIER              BETTE JEAN            FL         0222939CIV       THE LIPMAN LAW FIRM
ECHOLS               IVEY B                FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRAZIER              HOWARD                FL         0222939CIV       THE LIPMAN LAW FIRM
ECHOLS               VESTA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  FREDERICK            MELVIN                FL         0500970927       THE LIPMAN LAW FIRM
EDGAR                LOUIS CLARK           FL         0222939CIV       THE LIPMAN LAW FIRM                                  FREDERICK            SHARON                FL         0500970927       THE LIPMAN LAW FIRM
EDWARDS              AUDREY                FL         02009861         THE LIPMAN LAW FIRM                                  FRIDAY               WILLIAM               FL         04013770         THE LIPMAN LAW FIRM
EDWARDS              ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRIDAY               YVONNE                FL         04013770         THE LIPMAN LAW FIRM
EDWARDS              JAMES                 FL         02009861         THE LIPMAN LAW FIRM                                  FRITTS               GILBERT               FL         027395CALG       THE LIPMAN LAW FIRM
EDWARDS              TERRY                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRONCZKOWSKI         DOLORES               FL         0222939CIV       THE LIPMAN LAW FIRM
EDWARDS              W DAVID               FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRONCZKOWSKI         RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
ELLIS                EARNEST EDWARD        FL         04013859         THE LIPMAN LAW FIRM                                  FROST                HANS                  FL         0222939CIV       THE LIPMAN LAW FIRM
ELLIS                ELIZABETH             FL         04013859         THE LIPMAN LAW FIRM                                  FROSTMAN             JAMES                 FL         CA0206834AD      THE LIPMAN LAW FIRM
ELLIS                RICHARD E             FL         0222939CIV       THE LIPMAN LAW FIRM                                  FROSTMAN             MARCELLINE            FL         CA0206834AD      THE LIPMAN LAW FIRM
ELMQUIST             DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRUCI                FRANCES               FL         0222939CIV       THE LIPMAN LAW FIRM
ELMQUIST             ROBERT J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  FRUCI                SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
EMANUEL              JOAN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  FULLER               DONALD                FL         0222939CIV       THE LIPMAN LAW FIRM
EMANUEL              LIBERT J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  FULLER               SARA                  FL         0222939CIV       THE LIPMAN LAW FIRM
ENGELSON             BERNICE               FL         0222939CIV       THE LIPMAN LAW FIRM                                  FULLFORD             ELLENOR               FL         0222939CIV       THE LIPMAN LAW FIRM
ENGELSON             GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  FULLFORD             GEORGE A              FL         0222939CIV       THE LIPMAN LAW FIRM
ENGLAND              LENNIE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  FUNDERBURK           JERRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
ERNEY                NANCY                 FL         0500961527       THE LIPMAN LAW FIRM                                  FURLONG              GERARD                FL         0222939CIV       THE LIPMAN LAW FIRM
ERNEY                ROBERT                FL         0500961527       THE LIPMAN LAW FIRM                                  FURLONG              MARION                FL         0222939CIV       THE LIPMAN LAW FIRM
ERRICO               ADAM M                FL         0222939CIV       THE LIPMAN LAW FIRM                                  FUSCO                IRENE                 FL         0222939CIV       THE LIPMAN LAW FIRM
ERRICO               PAUL                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  FUSCO                ROBERT ALLEN          FL         0222939CIV       THE LIPMAN LAW FIRM
ESTES                JAMES                 FL         025863CALG       THE LIPMAN LAW FIRM                                  GADOMSKI             BERNARD L             FL         0222939CIV       THE LIPMAN LAW FIRM
ESTES                VIRGINIA              FL         025863CALG       THE LIPMAN LAW FIRM                                  GADOMSKI             DELORES               FL         0222939CIV       THE LIPMAN LAW FIRM
EULER                JOAN L                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GADOMSKI             DOLORES               FL         0222939CIV       THE LIPMAN LAW FIRM
EULER                THEODORE H            FL         0222939CIV       THE LIPMAN LAW FIRM                                  GAINES               JOSEPH R              FL         01497CALG        THE LIPMAN LAW FIRM
EVERETT              FRED E                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GAINES               JOSEPH R III          FL         01497CALG        THE LIPMAN LAW FIRM
EVERETT              MARJORIE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  GALBREATH            EDGAR M               FL         0222939CIV       THE LIPMAN LAW FIRM
FARR                 BERNARD               FL         01495CALG        THE LIPMAN LAW FIRM                                  GALLICCHIO           MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM
FARR                 ETHEL MAY             FL         01495CALG        THE LIPMAN LAW FIRM                                  GALLICCHIO           STEPHEN               FL         0222939CIV       THE LIPMAN LAW FIRM
FEIL                 ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GALLIFORD            HOWARD                FL         0222939CIV       THE LIPMAN LAW FIRM
FELDER               FRED                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  GAMMELL              DAVID J               FL         0210738CA42      THE LIPMAN LAW FIRM
FELDER               GLORIA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GANT                 JERRY P               FL         0222939CIV       THE LIPMAN LAW FIRM
FELLOWS              BECKY                 FL         0210738CA42      THE LIPMAN LAW FIRM                                  GARNER               VIRGINIA              FL         0222939CIV       THE LIPMAN LAW FIRM
FENTON               BONNIE JO             FL         04013851         THE LIPMAN LAW FIRM                                  GARNER               WALTER L              FL         0222939CIV       THE LIPMAN LAW FIRM
FENTON               JAMES                 FL         04013851         THE LIPMAN LAW FIRM                                  GARNETT              EARL                  FL         0222939CIV       THE LIPMAN LAW FIRM
FERRIS               NITA                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  GARRETT              DELMAR H              FL         0222939CIV       THE LIPMAN LAW FIRM
FERRIS               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GARRETT              VERNA                 FL         0222939CIV       THE LIPMAN LAW FIRM
FIELD                WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM                                  GARRINGER            LESTER                FL         0222473          THE LIPMAN LAW FIRM
FIELDER              ROBERT                FL         01020151         THE LIPMAN LAW FIRM                                  GARRINGER            NELLINE               FL         0222473          THE LIPMAN LAW FIRM
FILEHNE              PHILIP                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GARRITY              DORIS                 FL         0222939CIV       THE LIPMAN LAW FIRM
FINK                 DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  GARRITY              FRANCIS               FL         0222939CIV       THE LIPMAN LAW FIRM
FINLAY               HOPE                  FL         0209815          THE LIPMAN LAW FIRM                                  GEIGER               CARL C                FL         9922665CA42      THE LIPMAN LAW FIRM
FINLAY               WALTER H              FL         0209815          THE LIPMAN LAW FIRM                                  GEIGER               GARRETT               FL         9922665CA42      THE LIPMAN LAW FIRM
FISHER               JOE                   FL         0222939CIV       THE LIPMAN LAW FIRM                                  GEORGE               BERNICE               FL         0222939CIV       THE LIPMAN LAW FIRM
FLAHERTY             WALTER                FL         99974927         THE LIPMAN LAW FIRM                                  GEORGE               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
FLETCHER             WILLIAM               FL         04013378         THE LIPMAN LAW FIRM                                  GERALD               WESLEY                FL         04013772         THE LIPMAN LAW FIRM
FLETCHER             WILMA                 FL         04013378         THE LIPMAN LAW FIRM                                  GERONDALE            LLOYD                 FL         0210737CA42      THE LIPMAN LAW FIRM
FLISS                ALBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GETZ                 TERRY E               FL         0222939CIV       THE LIPMAN LAW FIRM
FORD                 CLARENCE R            FL         0222939CIV       THE LIPMAN LAW FIRM                                  GIBNEY               JOSEPH M              FL         0222939CIV       THE LIPMAN LAW FIRM
FORD                 DENIS KEITH           FL         0222939CIV       THE LIPMAN LAW FIRM                                  GILARDI              PETER M               FL         0222939CIV       THE LIPMAN LAW FIRM
FORD                 LINDA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  GILBERT              JOSEPHINE             FL         025965CALG       THE LIPMAN LAW FIRM
FORD                 WILLIE MAE            FL         0222939CIV       THE LIPMAN LAW FIRM                                  GILBERT              THEODORE P            FL         025965CALG       THE LIPMAN LAW FIRM
FORSMAN              ROBERT                FL         0031439CA42      THE LIPMAN LAW FIRM                                  GILBERTI             CONNIE                FL         0222939CIV       THE LIPMAN LAW FIRM
FOSTER               NORMAN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GILBERTI             RALPH                 FL         0222939CIV       THE LIPMAN LAW FIRM
FOSTER               VIRGINIA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  GILLESPIE            BILLIE                FL         0222939CIV       THE LIPMAN LAW FIRM
FOUTS                FRED                  FL         0500961027       THE LIPMAN LAW FIRM                                  GILLESPIE            JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
FOX                  DONALD F              FL         99977327         THE LIPMAN LAW FIRM                                  GIROUARD             ALFRED                FL         CA0206891AD      THE LIPMAN LAW FIRM
FOX                  GOLDA                 FL         99977327         THE LIPMAN LAW FIRM                                  GIROUARD             EVELYN                FL         CA0206891AD      THE LIPMAN LAW FIRM
FOX                  JAMES                 FL         0032512CA42      THE LIPMAN LAW FIRM                                  GIUNTA               JOHN J                FL         0031445CA42      THE LIPMAN LAW FIRM
FOX                  MARY                  FL         0032512CA42      THE LIPMAN LAW FIRM                                  GLENN                EDNA D                FL         0413887          THE LIPMAN LAW FIRM
FOX                  ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GLENN                TOMMIE                FL         0413887          THE LIPMAN LAW FIRM
FOX                  WILMA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  GOFF                 MICHAEL               FL         04013400         THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 830
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 165 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GOFF                 STANYA                FL         04013400         THE LIPMAN LAW FIRM                                  HARVEY               RICHARD L             FL         01020047         THE LIPMAN LAW FIRM
GOFFMAN              BLANCH                FL         CA02006266AD     THE LIPMAN LAW FIRM                                  HAUBERT              WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM
GOFFMAN              JULIUS                FL         CA02006266AD     THE LIPMAN LAW FIRM                                  HAYES                BERNICE K             FL         01490CALG        THE LIPMAN LAW FIRM
GOLDSTEIN            JACK                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  HAYES                MORRIS                FL         01490CALG        THE LIPMAN LAW FIRM
GOLDSTEIN            NANCY                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HAYNES               LINDA LOU             FL         0222939CIV       THE LIPMAN LAW FIRM
GONZALEZ-VEGA        HAYDEE                FL         04013401         THE LIPMAN LAW FIRM                                  HAYNES               MICHAEL MARION        FL         0222939CIV       THE LIPMAN LAW FIRM
GONZALEZ-VEGA        RAFAEL                FL         04013401         THE LIPMAN LAW FIRM                                  HAZEL                GEORGE EVANS          FL         0222939CIV       THE LIPMAN LAW FIRM
GOODMAN              JOAN                  FL         0215505CA42      THE LIPMAN LAW FIRM                                  HAZEL                MILDRED               FL         0222939CIV       THE LIPMAN LAW FIRM
GOODMAN              THOMAS                FL         0215505CA42      THE LIPMAN LAW FIRM                                  HAZELLIEF            CLARENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
GORBY                GEORGE M              FL         0222939CIV       THE LIPMAN LAW FIRM                                  HAZELLIEF            HELEN                 FL         0222939CIV       THE LIPMAN LAW FIRM
GORMLEY              LUCILLE               FL         04013773         THE LIPMAN LAW FIRM                                  HEATH                ALAN                  FL         0222939CIV       THE LIPMAN LAW FIRM
GOUNER               JULIA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEATH                GENELLE               FL         0222939CIV       THE LIPMAN LAW FIRM
GOUNER               MICHAEL               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEATH                SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
GRAHAM               ALMA                  FL         CA02006260AD     THE LIPMAN LAW FIRM                                  HEATH                VERNON CHARLES        FL         0222939CIV       THE LIPMAN LAW FIRM
GRAHAM               FLOSSIE               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEFLIN               PAT                   FL         0418495CA42      THE LIPMAN LAW FIRM
GRAHAM               JAMES W               FL         CA02006260AD     THE LIPMAN LAW FIRM                                  HEFLIN               RONALD                FL         0418495CA42      THE LIPMAN LAW FIRM
GRAHAM               WILBERT               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEIN                 HARVEY                FL         0222939CIV       THE LIPMAN LAW FIRM
GRAUFF               ELEANOR               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEIN                 JOYCE                 FL         0222939CIV       THE LIPMAN LAW FIRM
GRAUFF               RAYMOND               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEITMANN             FREDERICK             FL         0222939CIV       THE LIPMAN LAW FIRM
GRAY                 LEWIS                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEITMANN             HANNAH                FL         0222939CIV       THE LIPMAN LAW FIRM
GRAY                 SUSAN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HELTON               HORACE                FL         0031340CA42      THE LIPMAN LAW FIRM
GRAY                 ULYSSES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HELTON               MARIAN                FL         0124097CA42      THE LIPMAN LAW FIRM
GREEN                MONTE                 FL         04013775         THE LIPMAN LAW FIRM                                  HELTON               MARIAN                FL         0031340CA42      THE LIPMAN LAW FIRM
GRIFFIN              BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HENIK                JOE                   FL         CA0206853AD      THE LIPMAN LAW FIRM
GRIFFIN              FRANK                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HENIK                MARTHA                FL         CA0206853AD      THE LIPMAN LAW FIRM
GRIFFIN              JUNIUS                FL         0211010CA42      THE LIPMAN LAW FIRM                                  HENRIKSON            JOAN                  FL         04013387         THE LIPMAN LAW FIRM
GRIMBLY              PATRICIA              FL         012352CALG       THE LIPMAN LAW FIRM                                  HENRIKSON            JOAN                  FL         04013856         THE LIPMAN LAW FIRM
GRIMBLY              SAMUEL                FL         012352CALG       THE LIPMAN LAW FIRM                                  HENRIKSON            RONALD E              FL         04013387         THE LIPMAN LAW FIRM
GRISSOM              ANN                   FL         0400205CA42      THE LIPMAN LAW FIRM                                  HENRIKSON            RONALD EUGENE         FL         04013856         THE LIPMAN LAW FIRM
GRISSOM              GERALD                FL         0400205CA42      THE LIPMAN LAW FIRM                                  HENSLER              ALBERT S              FL         0222939CIV       THE LIPMAN LAW FIRM
GROOMS               ALFRED B              FL         0222939CIV       THE LIPMAN LAW FIRM                                  HENSLER              MARY E                FL         0222939CIV       THE LIPMAN LAW FIRM
GROOMS               MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  HERBERT              MARGARET              FL         CA0112207AD      THE LIPMAN LAW FIRM
GRUBER               ALVIN                 FL         04013399         THE LIPMAN LAW FIRM                                  HERBERT              RONALD                FL         CA0112207AD      THE LIPMAN LAW FIRM
GRUBER               CLAIRE                FL         04013399         THE LIPMAN LAW FIRM                                  HERMANN              JAMES E               FL         999450           THE LIPMAN LAW FIRM
GRUNDIG              ANTOINETTE            FL         0222939CIV       THE LIPMAN LAW FIRM                                  HERMANN              VIRGINIA              FL         999450           THE LIPMAN LAW FIRM
GRUNDIG              JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HERVEY               CAROLYN               FL         0413874          THE LIPMAN LAW FIRM
GUILD                ANNA                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  HERVEY               WILBERT D             FL         0413874          THE LIPMAN LAW FIRM
GUILD                CHARLES E             FL         0222939CIV       THE LIPMAN LAW FIRM                                  HESSER               BRENDA                FL         0222939CIV       THE LIPMAN LAW FIRM
GUILDAY              PETER                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HESSER               CHARLES               FL         0222939CIV       THE LIPMAN LAW FIRM
GULSBY               ELSIE                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HETLAND              DIANE                 FL         0222939CIV       THE LIPMAN LAW FIRM
GULSBY               JOHN FLOYD            FL         0222939CIV       THE LIPMAN LAW FIRM                                  HETLAND              TIMOTHY               FL         0222939CIV       THE LIPMAN LAW FIRM
GUNVALSEN            ED                    FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEWARD               JOAN                  FL         0222939CIV       THE LIPMAN LAW FIRM
GUNVALSEN            SHEILA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEWARD               WALTER A              FL         0222939CIV       THE LIPMAN LAW FIRM
GURDON               LOUIS                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEYBURN              DONNA                 FL         026077CALG       THE LIPMAN LAW FIRM
GUY                  RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEYBURN              IVAN                  FL         026077CALG       THE LIPMAN LAW FIRM
HADDOCK              CAROLIN               FL         025717CALG       THE LIPMAN LAW FIRM                                  HIBBS                CATHRYN               FL         0222939CIV       THE LIPMAN LAW FIRM
HADDOCK              GEORGE                FL         025717CALG       THE LIPMAN LAW FIRM                                  HIBBS                THEODORE              FL         0222939CIV       THE LIPMAN LAW FIRM
HALBERT              JEWEL                 FL         04013847         THE LIPMAN LAW FIRM                                  HICKS                JAMERS G              FL         026047CALG       THE LIPMAN LAW FIRM
HALBERT              ODIRA B               FL         04013847         THE LIPMAN LAW FIRM                                  HICKS                VICKI                 FL         026047CALG       THE LIPMAN LAW FIRM
HALL                 CAROLYN               FL         0500960827       THE LIPMAN LAW FIRM                                  HIGGINBOTHAM         JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
HALL                 ELMOS LEE             FL         04013863         THE LIPMAN LAW FIRM                                  HILL                 KAREN                 FL         04013901         THE LIPMAN LAW FIRM
HALL                 HERBERT               FL         02012714         THE LIPMAN LAW FIRM                                  HILLARY              DOROTHY               FL         02009571         THE LIPMAN LAW FIRM
HALL                 HERBERT L             FL         0500960827       THE LIPMAN LAW FIRM                                  HILLARY              THEODORE              FL         02009571         THE LIPMAN LAW FIRM
HALL                 MATTIE                FL         04013863         THE LIPMAN LAW FIRM                                  HOBBS                CARLENE               FL         025526CALG       THE LIPMAN LAW FIRM
HANSEN               ERLING                FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOH                  ANDREW L              FL         0222939CIV       THE LIPMAN LAW FIRM
HARDISON             LLOYD J               FL         0411471CA42      THE LIPMAN LAW FIRM                                  HOLCOMB              DORIS                 FL         0222939CIV       THE LIPMAN LAW FIRM
HARDISON             MELISSA               FL         0411471CA42      THE LIPMAN LAW FIRM                                  HOLCOMB              RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
HARDWAY              DENZIL                FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOLDEN               JOHNNIE               FL         0222939CIV       THE LIPMAN LAW FIRM
HARIGEL              VINCENT J             FL         0413878          THE LIPMAN LAW FIRM                                  HOLLAND              FRANK                 FL         04013844         THE LIPMAN LAW FIRM
HARRIS               ELIZSABETH            FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOLLAND              GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM
HARRIS               JACK                  FL         04013776         THE LIPMAN LAW FIRM                                  HOLLAND              RUBY LORINE           FL         04013844         THE LIPMAN LAW FIRM
HARRIS               JAMES J               FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOLLOWAY             EVERETT               FL         0222939CIV       THE LIPMAN LAW FIRM
HARRIS               JOHN W                FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOLLY                DENVER                FL         02012773         THE LIPMAN LAW FIRM
HARRIS               LESLIE                FL         04013776         THE LIPMAN LAW FIRM                                  HOLLY                DENVERY               FL         CA02007855AD     THE LIPMAN LAW FIRM
HART                 ARTHUR C              FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOLLY                NANCY                 FL         CA02007855AD     THE LIPMAN LAW FIRM
HART                 DORIS                 FL         04013379         THE LIPMAN LAW FIRM                                  HOLLY                NANCY                 FL         02012773         THE LIPMAN LAW FIRM
HART                 MADELINE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  HORSLEY              STANLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
HART                 WILLIAM J             FL         04013379         THE LIPMAN LAW FIRM                                  HORSLEY              VIOLA                 FL         0222939CIV       THE LIPMAN LAW FIRM
HARTSEL              TERRY R               FL         0209449          THE LIPMAN LAW FIRM                                  HOSFELD              LEWIS                 FL         0222939CIV       THE LIPMAN LAW FIRM
HARVEY               DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  HOSTAK               HAROLD                FL         0222939CIV       THE LIPMAN LAW FIRM
HARVEY               NORMA                 FL         01020047         THE LIPMAN LAW FIRM                                  HOSTAK               LEONA                 FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 831
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 166 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HOUGHTON             LAWRENCE              FL         02009453         THE LIPMAN LAW FIRM                                  KIDD                 BETTY                 FL         0222939CIV       THE LIPMAN LAW FIRM
HOUGHTON             LOIS                  FL         02009453         THE LIPMAN LAW FIRM                                  KIDD                 HAROLD L              FL         0222939CIV       THE LIPMAN LAW FIRM
HOWARD               JOAN B                FL         0127225CA42      THE LIPMAN LAW FIRM                                  KILLAM               HENRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
HOWARD               WILLIAM               FL         0127225CA42      THE LIPMAN LAW FIRM                                  KING                 GEORGE D              FL         0222939CIV       THE LIPMAN LAW FIRM
HUCKELBY             MARTHA WILMA          FL         0413895          THE LIPMAN LAW FIRM                                  KING                 NORMA                 FL         0222939CIV       THE LIPMAN LAW FIRM
HUCKELBY             ROY H                 FL         0413895          THE LIPMAN LAW FIRM                                  KINNEY               CHARLES               FL         0209078          THE LIPMAN LAW FIRM
HUDSON               ANNA M                FL         0222939CIV       THE LIPMAN LAW FIRM                                  KIRBY                JAMES                 FL         04013757         THE LIPMAN LAW FIRM
HUDSON               MAURICE               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KLARMAN              HARRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
HUDSON               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  KLILNKA              KAREN                 FL         CL006834AD       THE LIPMAN LAW FIRM
HUNTER               CYNTHIA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KLINKA               KAREN M               FL         0222939CIV       THE LIPMAN LAW FIRM
HURLBURT             PATRICIA              FL         CA02007892AD     THE LIPMAN LAW FIRM                                  KLINKA               WALTER                FL         0222939CIV       THE LIPMAN LAW FIRM
HYKES                FLORENCE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  KLINKA               WALTER                FL         CL006834AD       THE LIPMAN LAW FIRM
HYKES                KENNETH               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KNIGHT               ARIETTA E             FL         0222939CIV       THE LIPMAN LAW FIRM
IPPOLITO             ANTHONY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KNIGHT               HELEN                 FL         0222939CIV       THE LIPMAN LAW FIRM
IPPOLITO             CHRISTINA             FL         0222939CIV       THE LIPMAN LAW FIRM                                  KNIGHT               SYLVESTER             FL         0222939CIV       THE LIPMAN LAW FIRM
ISAAC                MIMA                  FL         99945327         THE LIPMAN LAW FIRM                                  KNORR                ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
ISAAC                PAUL                  FL         99945327         THE LIPMAN LAW FIRM                                  KNORR                ROSE                  FL         0222939CIV       THE LIPMAN LAW FIRM
ISENNOCK             WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KOZLOW               GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM
ISNER                DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KOZLOW               PATRICIA              FL         0222939CIV       THE LIPMAN LAW FIRM
ISNER                THURMAN               FL         0222939CIV       THE LIPMAN LAW FIRM                                  KREENAN              LEE                   FL         CA0206873AD      THE LIPMAN LAW FIRM
JACKSON              CYRIL                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  KRIPPA               ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM
JACKSON              MARTHA                FL         0413881          THE LIPMAN LAW FIRM                                  KRIPPA               MICHAEL               FL         0222939CIV       THE LIPMAN LAW FIRM
JACKSON              WILL                  FL         0413881          THE LIPMAN LAW FIRM                                  KUKODA               MARGARET              FL         0222939CIV       THE LIPMAN LAW FIRM
JACOBUS              CHARLOTTE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  KUKODA               PAUL A                FL         0222939CIV       THE LIPMAN LAW FIRM
JACOBUS              THEODORE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  KUKODA               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
JAEGER               ALBERT G              FL         02012759         THE LIPMAN LAW FIRM                                  KUSTERER             FREDERICK             FL         0222939CIV       THE LIPMAN LAW FIRM
JAEGER               TERESA                FL         02012759         THE LIPMAN LAW FIRM                                  KUSTERER             RACHEL                FL         0222939CIV       THE LIPMAN LAW FIRM
JAMES                FRED E                FL         0222939CIV       THE LIPMAN LAW FIRM                                  KUZIEL               EDWARD                FL         0222939CIV       THE LIPMAN LAW FIRM
JAMES                LEONA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  LACHETTE             ANTHONY E             FL         0222939CIV       THE LIPMAN LAW FIRM
JAMES                LEROY                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  LADUE                SHERRY                FL         0222939CIV       THE LIPMAN LAW FIRM
JEFFORDS             EDWARD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  LADUE                THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM
JEFFORDS             HAROLD THOMAS         FL         0222939CIV       THE LIPMAN LAW FIRM                                  LAFFERTY             JUDY                  FL         0222939CIV       THE LIPMAN LAW FIRM
JEFFORDS             MARGARET              FL         0222939CIV       THE LIPMAN LAW FIRM                                  LAFFERTY             RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
JEFFORDS             SHIRILL               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LAMPP                CHEROKEE A            FL         0222939CIV       THE LIPMAN LAW FIRM
JESSIP               LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  LANG                 JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
JESSIP               THELMA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  LANGLEY              ANNE M                FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSON              ADAH                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  LANGLEY              RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSON              ARZETTA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LANNON               GERTRUDE              FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSON              GOLA                  FL         017234CALG       THE LIPMAN LAW FIRM                                  LANNON               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSON              KEVIN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  LANZA                ANN                   FL         0111512CALG      THE LIPMAN LAW FIRM
JOHNSON              MARCUS S              FL         0222939CIV       THE LIPMAN LAW FIRM                                  LANZA                FRANCIS               FL         0111512CALG      THE LIPMAN LAW FIRM
JOHNSON              NORVELL               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LAROCHE              EUGENE                FL         0215950CA42      THE LIPMAN LAW FIRM
JOHNSON              ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  LAROCHE              MARY ROSE             FL         0215950CA42      THE LIPMAN LAW FIRM
JOHNSON              ROBERT K              FL         0222939CIV       THE LIPMAN LAW FIRM                                  LARSON               BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSON              ROY                   FL         0222939CIV       THE LIPMAN LAW FIRM                                  LARSON               BARBARA               FL         99990227         THE LIPMAN LAW FIRM
JOHNSON              SHELBY                FL         017234CALG       THE LIPMAN LAW FIRM                                  LARSON               F WILLIAM             FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSON              VERONICA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  LARSON               F WILLIAM             FL         99990227         THE LIPMAN LAW FIRM
JOHNSTON             LILLIAN               FL         025692CALG       THE LIPMAN LAW FIRM                                  LAURENO              MEREDITH              FL         0222939CIV       THE LIPMAN LAW FIRM
JOHNSTON             ROBERT C              FL         025692CALG       THE LIPMAN LAW FIRM                                  LAURENO              PATRICK               FL         0222939CIV       THE LIPMAN LAW FIRM
JONES                BERNARD               FL         0210158          THE LIPMAN LAW FIRM                                  LAVALLEE             JULIEN                FL         0222939CIV       THE LIPMAN LAW FIRM
JONES                DONALD E              FL         0413882          THE LIPMAN LAW FIRM                                  LAVALLEE             PHYLLIS               FL         0222939CIV       THE LIPMAN LAW FIRM
JONES                KANDAYCE              FL         0413882          THE LIPMAN LAW FIRM                                  LEATHERS             RANDALL               FL         0222939CIV       THE LIPMAN LAW FIRM
JONES                RAEFORD               FL         CA02036AD        THE LIPMAN LAW FIRM                                  LEATHERS             RODGLYN               FL         0222939CIV       THE LIPMAN LAW FIRM
JONES                RAEFORD               FL         CA0202036AD      THE LIPMAN LAW FIRM                                  LEE                  JACK                  FL         ADMIN            THE LIPMAN LAW FIRM
JONES                ROBERT E              FL         0211007CA42      THE LIPMAN LAW FIRM                                  LEE                  LAURA                 FL         ADMIN            THE LIPMAN LAW FIRM
JONES                THOMAS WAYNE          FL         0413876          THE LIPMAN LAW FIRM                                  LEE                  ROOSEVELT             FL         0222939CIV       THE LIPMAN LAW FIRM
JONES                WILLIAM A             FL         0110402CA42      THE LIPMAN LAW FIRM                                  LEMONDS              JOANN                 FL         0222939CIV       THE LIPMAN LAW FIRM
JORDAN               PHILLIP               FL         0209782CA42      THE LIPMAN LAW FIRM                                  LEMONDS              PAUL                  FL         0222939CIV       THE LIPMAN LAW FIRM
JORDON               MARY JANE             FL         04013956         THE LIPMAN LAW FIRM                                  LENIK                PATRICIA              FL         99874827         THE LIPMAN LAW FIRM
JOY                  DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LENIK                SAMUEL                FL         99874827         THE LIPMAN LAW FIRM
JOY                  THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM                                  LEPPER               ALSO                  FL         CA0206702AD      THE LIPMAN LAW FIRM
KARANGELEN           GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  LEPPER               ASTA                  FL         CA0206702AD      THE LIPMAN LAW FIRM
KARANGELEN           SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LEQUIRE              DONALD                FL         0222939CIV       THE LIPMAN LAW FIRM
KASPRZAK             CHESTER               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LEVERINGTON          HAROLD                FL         0222939CIV       THE LIPMAN LAW FIRM
KASPRZAK             MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  LEVINE               DAVID                 FL         0500970827       THE LIPMAN LAW FIRM
KATKA                RICHARD C             FL         025581CALG       THE LIPMAN LAW FIRM                                  LEVINE               BETTY                 FL         0500970827       THE LIPMAN LAW FIRM
KEENE                PAMELA                FL         0500961627       THE LIPMAN LAW FIRM                                  LEWIS                BETTY                 FL         0222939CIV       THE LIPMAN LAW FIRM
KEENE                TED                   FL         0500961627       THE LIPMAN LAW FIRM                                  LEWIS                BETTY                 FL         CL005540AD       THE LIPMAN LAW FIRM
KELLY                COLIN P               FL         0222939CIV       THE LIPMAN LAW FIRM                                  LEWIS                HAROLD J              FL         0222939CIV       THE LIPMAN LAW FIRM
KENNELLY             ROBERT                FL         0209742CA42      THE LIPMAN LAW FIRM                                  LEWIS                HAROLD J              FL         CL005540AD       THE LIPMAN LAW FIRM
KENNELLY             ROBERT V              FL         0209742CA42      THE LIPMAN LAW FIRM                                  LICHTLE              GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 832
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 167 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LILLARD              CHARLES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCGONNELL            SHIRLEY L             FL         02009790         THE LIPMAN LAW FIRM
LILLARD              MILDRED               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCGOWAN              CATHERINE             FL         0209987          THE LIPMAN LAW FIRM
LIOLIOS              MICHAEL G             FL         0413885          THE LIPMAN LAW FIRM                                  MCGOWAN              MICHAEL               FL         0209987          THE LIPMAN LAW FIRM
LIOLIOS              THEODORA              FL         0413885          THE LIPMAN LAW FIRM                                  MCGREGOR             DORA                  FL         0209726CA42      THE LIPMAN LAW FIRM
LITTS                BARBARA               FL         018927CA42       THE LIPMAN LAW FIRM                                  MCGREGOR             JOHNNIE F             FL         0209726CA42      THE LIPMAN LAW FIRM
LITTS                BARTLEY               FL         018927CA42       THE LIPMAN LAW FIRM                                  MCGURK               HOPE                  FL         0222939CIV       THE LIPMAN LAW FIRM
LLOYD                FRANK J               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCGURK               TERRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
LOCKHART             HERBERT N             FL         04013386         THE LIPMAN LAW FIRM                                  MCINTOSH             EARL                  FL         0222939CIV       THE LIPMAN LAW FIRM
LOCKHART             SHIRLEY               FL         04013386         THE LIPMAN LAW FIRM                                  MCLEAN               DAWN                  FL         0222939CIV       THE LIPMAN LAW FIRM
LOONEY               GARY J                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCLEAN               GEORGE B              FL         0222939CIV       THE LIPMAN LAW FIRM
LOONEY               MARY L                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCLEOD               MARIE                 FL         0222939CIV       THE LIPMAN LAW FIRM
LOPEZ                ROBERTO               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCLEOD               WILLIAM B             FL         0222939CIV       THE LIPMAN LAW FIRM
LORENZ               DAVID LARRY           FL         04013801         THE LIPMAN LAW FIRM                                  MCLIN                WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM
LORENZ               KIMBERLY              FL         04013801         THE LIPMAN LAW FIRM                                  MCNELLIS             MAUREEN               FL         027396CALG       THE LIPMAN LAW FIRM
LOUDEN               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MCNELLIS             ROBERT J              FL         027396CALG       THE LIPMAN LAW FIRM
LOWERY               NOLA                  FL         04013910         THE LIPMAN LAW FIRM                                  MCNINNEY             BARBARA               FL         026149CALG       THE LIPMAN LAW FIRM
LOWERY               WILBURN R             FL         04013910         THE LIPMAN LAW FIRM                                  MCNINNEY             KENNETH               FL         026149CALG       THE LIPMAN LAW FIRM
LOWRY                ALEXANDER             FL         CA0201610AD      THE LIPMAN LAW FIRM                                  MEDYNSKI             TIMOTHY A             FL         0222939CIV       THE LIPMAN LAW FIRM
LOWRY                GARRY A               FL         CA0201610AD      THE LIPMAN LAW FIRM                                  MEIER                WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM
LUISI                MARY ANN              FL         0222939CIV       THE LIPMAN LAW FIRM                                  MEIERER              LINDA                 FL         0222636          THE LIPMAN LAW FIRM
LUISI                RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MELTON               ALMA R                FL         0413869          THE LIPMAN LAW FIRM
LUND                 CAROLE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MELTON               LON FRANCIS           FL         0413869          THE LIPMAN LAW FIRM
LUND                 DONALD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  METTA                JANICE                FL         0222939CIV       THE LIPMAN LAW FIRM
LYDECKER             EDWARD A              FL         0209214          THE LIPMAN LAW FIRM                                  METTA                SABINO                FL         0222939CIV       THE LIPMAN LAW FIRM
LYDECKER             PHYLLIS               FL         0209214          THE LIPMAN LAW FIRM                                  METTS                EMORY M               FL         04013930         THE LIPMAN LAW FIRM
LYLE                 LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  MIKLOS               ELSIE                 FL         0509556CA42      THE LIPMAN LAW FIRM
LYNN                 JAMES                 FL         CA0206731AD      THE LIPMAN LAW FIRM                                  MIKLOS               ROBERT                FL         0509556CA42      THE LIPMAN LAW FIRM
MAIOLI               GABRIEL               FL         019638CALG       THE LIPMAN LAW FIRM                                  MILLEN               DEBORAH               FL         0222939CIV       THE LIPMAN LAW FIRM
MALONEY              BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MILLEN               OTIS                  FL         0222939CIV       THE LIPMAN LAW FIRM
MANDAGLIO            ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MILLER               CLIFTON               FL         0222939CIV       THE LIPMAN LAW FIRM
MANNINO              JO ANNE               FL         0500958327       THE LIPMAN LAW FIRM                                  MILLER               CLYDE E               FL         0222939CIV       THE LIPMAN LAW FIRM
MANNINO              JOSEPH                FL         0500958327       THE LIPMAN LAW FIRM                                  MILLER               MICHAEL F             FL         0222939CIV       THE LIPMAN LAW FIRM
MANSFIELD            BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MILNES               IRINA                 FL         0222939CIV       THE LIPMAN LAW FIRM
MANSFIELD            WILLIAM T             FL         0222939CIV       THE LIPMAN LAW FIRM                                  MILNES               KEVIN                 FL         0222939CIV       THE LIPMAN LAW FIRM
MARGUDER             DAVID                 FL         027380CALG       THE LIPMAN LAW FIRM                                  MINCEY               SARAH                 FL         0222939CIV       THE LIPMAN LAW FIRM
MARGUDER             SANDRA                FL         027380CALG       THE LIPMAN LAW FIRM                                  MINCEY               THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM
MARSHALL             ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM                                  MITCHELL             BISHOP T              FL         04013377         THE LIPMAN LAW FIRM
MARSHALL             THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MITCHELL             ROYCE                 FL         99938427         THE LIPMAN LAW FIRM
MARTIN               ELIZABETH C           FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOFFITT              ROBERT F              FL         0222939CIV       THE LIPMAN LAW FIRM
MARTIN               FREDDIE LEE           FL         04013870         THE LIPMAN LAW FIRM                                  MOFFITT              TILLIE                FL         0222939CIV       THE LIPMAN LAW FIRM
MARTIN               MARY E                FL         04013870         THE LIPMAN LAW FIRM                                  MOHOMMED             DORIS                 FL         0222939CIV       THE LIPMAN LAW FIRM
MASON                JOHN W                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOHOMMED             FREDERICK             FL         0222939CIV       THE LIPMAN LAW FIRM
MASON                WARDELL               FL         01018038         THE LIPMAN LAW FIRM                                  MOLISKEY             ELMER                 FL         CA0206419AD      THE LIPMAN LAW FIRM
MASSEY               BENNIE N              FL         0413893          THE LIPMAN LAW FIRM                                  MOLISKEY             SHIRLEY               FL         CA0206419AD      THE LIPMAN LAW FIRM
MASSEY               ZEB F                 FL         0413893          THE LIPMAN LAW FIRM                                  MONDY                BILLY                 FL         02009118         THE LIPMAN LAW FIRM
MATHIS               JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MONDY                JANICE                FL         02009118         THE LIPMAN LAW FIRM
MATHIS               MARY ANN              FL         0222939CIV       THE LIPMAN LAW FIRM                                  MONTAIGNE            TED                   FL         0500970127       THE LIPMAN LAW FIRM
MATTHEWS             CARMELLA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOODY                NATHANIEL             FL         0222939CIV       THE LIPMAN LAW FIRM
MATTHEWS             FREN T                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOON                 JOHN T                FL         0222939CIV       THE LIPMAN LAW FIRM
MATTHEWS             PATSY                 FL         99990527         THE LIPMAN LAW FIRM                                  MOON                 LORRAINE              FL         0222939CIV       THE LIPMAN LAW FIRM
MATTHEWS             THOMMY                FL         99990527         THE LIPMAN LAW FIRM                                  MOORE                ADDIE A               FL         025724CA         THE LIPMAN LAW FIRM
MAUS                 MARGUERITE            FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOORE                BOBBY O               FL         04013902         THE LIPMAN LAW FIRM
MAUS                 ROBERT L              FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOORE                BOYD                  FL         01282CALG        THE LIPMAN LAW FIRM
MAY                  BARABRA               FL         0217072CA10      THE LIPMAN LAW FIRM                                  MOORE                ELIZABETH             FL         04013902         THE LIPMAN LAW FIRM
MAY                  JAMES F               FL         0217072CA10      THE LIPMAN LAW FIRM                                  MOORE                GOLDIE                FL         0222939CIV       THE LIPMAN LAW FIRM
MCCLATCHY            GERI                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOORE                JESSIE                FL         018106CA42       THE LIPMAN LAW FIRM
MCCLATCHY            PAUL A                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MOORE                WILLIAM B             FL         0222939CIV       THE LIPMAN LAW FIRM
MCDADE               CINDY                 FL         CA02006588AD     THE LIPMAN LAW FIRM                                  MOORE                WILLIAM C             FL         025724CA         THE LIPMAN LAW FIRM
MCDERMOND            CATHERINE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORAN                JOHN H                FL         0124097CA42      THE LIPMAN LAW FIRM
MCDERMOND            WILLIAM J             FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORAN                JOSPEH J              FL         019405CALG       THE LIPMAN LAW FIRM
MCDONALD             CAROL                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORAN                MARIAN                FL         0222939CIV       THE LIPMAN LAW FIRM
MCDONALD             ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORAN                MARY                  FL         019405CALG       THE LIPMAN LAW FIRM
MCDONALD             EMERSON               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORAN                RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
MCDONALD             LAKE H                FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORAN                STANLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
MCDOWELL             WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORGAN               FRANK                 FL         026211CALG       THE LIPMAN LAW FIRM
MCFALL               FRED                  FL         026031CALG       THE LIPMAN LAW FIRM                                  MORGAN               MARGOT                FL         026211CALG       THE LIPMAN LAW FIRM
MCFALL               ROSE                  FL         026031CALG       THE LIPMAN LAW FIRM                                  MORRELL              HARRY B               FL         0413865          THE LIPMAN LAW FIRM
MCFALLS              FRED J                FL         0222636          THE LIPMAN LAW FIRM                                  MORRIS               ALICE                 FL         0222939CIV       THE LIPMAN LAW FIRM
MCGEE                CLYDE                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  MORRIS               JAMES E               FL         0222939CIV       THE LIPMAN LAW FIRM
MCGONNELL            JAMES M               FL         02009790         THE LIPMAN LAW FIRM                                  MORRIS               PHILLIP               FL         0222939CIV       THE LIPMAN LAW FIRM
MCGONNELL            SHIRLEY               FL         02009790         THE LIPMAN LAW FIRM                                  MORRISON             DANIEL                FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 833
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 168 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MORRISON             LITA                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  PALASTRO             PASQUALE J            FL         0222939CIV       THE LIPMAN LAW FIRM
MORTON               FRANK OLIVER          FL         04013901         THE LIPMAN LAW FIRM                                  PALER                CLARA                 FL         026054CALG       THE LIPMAN LAW FIRM
MOSELLO              ROGER                 FL         0127226CA42      THE LIPMAN LAW FIRM                                  PALER                STEVEN                FL         026054CALG       THE LIPMAN LAW FIRM
MOSELLO              ROGER                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  PALMER               CLIFTON C             FL         04013896         THE LIPMAN LAW FIRM
MOTZ                 SYLVANIS MARK         FL         0413857          THE LIPMAN LAW FIRM                                  PALMER               EDNA                  FL         04013891         THE LIPMAN LAW FIRM
MUENCH               MARY                  FL         021744CALG       THE LIPMAN LAW FIRM                                  PALMER               EUGENE                FL         04013891         THE LIPMAN LAW FIRM
MULHOLAND            HELEN W               FL         0222939CIV       THE LIPMAN LAW FIRM                                  PALMER               HAROLD LEE            FL         0413864          THE LIPMAN LAW FIRM
MULLINS              BENNY CLYDE           FL         04013793         THE LIPMAN LAW FIRM                                  PALMER               RUTH                  FL         04013896         THE LIPMAN LAW FIRM
MULLINS              JOANN                 FL         03021999CA42     THE LIPMAN LAW FIRM                                  PALMIERI             CLAIRE M              FL         0222939CIV       THE LIPMAN LAW FIRM
MULLINS              ROY                   FL         03021999CA42     THE LIPMAN LAW FIRM                                  PALMIERI             PAUL A                FL         0222939CIV       THE LIPMAN LAW FIRM
MURMUR               LIONEL                FL         0222545          THE LIPMAN LAW FIRM                                  PALMISCIANO          JOHN J                FL         0222939CIV       THE LIPMAN LAW FIRM
MURPHY               ELLEN                 FL         02010028         THE LIPMAN LAW FIRM                                  PALMISCIANO          ZACHARY               FL         0222939CIV       THE LIPMAN LAW FIRM
MURPHY               FRANCIS W             FL         02010028         THE LIPMAN LAW FIRM                                  PALUCK               GEORGE                FL         025730CALG       THE LIPMAN LAW FIRM
MURPHY               HARRIET               FL         025855CALG       THE LIPMAN LAW FIRM                                  PALUCK               MARGE                 FL         025730CALG       THE LIPMAN LAW FIRM
MURPHY               JAMES                 FL         025855CALG       THE LIPMAN LAW FIRM                                  PALUMBO              ETHEL                 FL         0222939CIV       THE LIPMAN LAW FIRM
MURPHY               JOHN T                FL         0031443CA42      THE LIPMAN LAW FIRM                                  PALUMBO              ETHEL                 FL         0222479          THE LIPMAN LAW FIRM
MURPHY               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  PALUMBO              THEODORE              FL         0222939CIV       THE LIPMAN LAW FIRM
MURPHY               ROBERT J              FL         0031443CA42      THE LIPMAN LAW FIRM                                  PALUMBO              THEODORE              FL         0222479          THE LIPMAN LAW FIRM
MURRAY               ARTHUR                FL         0222939CIV       THE LIPMAN LAW FIRM                                  PANCOST              DENVER                FL         0222939CIV       THE LIPMAN LAW FIRM
MURRAY               ETHEL                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  PANEK                EMIL A                FL         0222939CIV       THE LIPMAN LAW FIRM
MYERS                GEORGE E              FL         0222939CIV       THE LIPMAN LAW FIRM                                  PANEK                MARIE                 FL         0222939CIV       THE LIPMAN LAW FIRM
MYERS                IOLA                  FL         99946727         THE LIPMAN LAW FIRM                                  PANFIL               CONSTANCE             FL         0222939CIV       THE LIPMAN LAW FIRM
MYERS                JAMES                 FL         99946727         THE LIPMAN LAW FIRM                                  PANFIL               JAMES F               FL         0222939CIV       THE LIPMAN LAW FIRM
MYERS                RUTH                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  PARISH               EARL L                FL         04013866         THE LIPMAN LAW FIRM
MYLER                FRANK                 FL         0222541          THE LIPMAN LAW FIRM                                  PARISH               IRENE                 FL         04013866         THE LIPMAN LAW FIRM
MYLER                LINDA                 FL         0222541          THE LIPMAN LAW FIRM                                  PARKER               DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM
NALKER               BETTY J               FL         04013763         THE LIPMAN LAW FIRM                                  PARKER               JAMES W               FL         050971027        THE LIPMAN LAW FIRM
NALKER               RONALD                FL         04013763         THE LIPMAN LAW FIRM                                  PARKER               MILDRED               FL         050971027        THE LIPMAN LAW FIRM
NANKIN               GERALDINE             FL         02013059         THE LIPMAN LAW FIRM                                  PARNELL              WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM
NANKIN               ROBERT                FL         02013059         THE LIPMAN LAW FIRM                                  PARROT               PATRICIA              FL         0222939CIV       THE LIPMAN LAW FIRM
NEWMAN               BETTY                 FL         0318236CA42      THE LIPMAN LAW FIRM                                  PARROTT              KENNETH R             FL         0222939CIV       THE LIPMAN LAW FIRM
NIBERT               JIMMIE LEE            FL         0222939CIV       THE LIPMAN LAW FIRM                                  PASQUALINO           ADELINE M             FL         0222939CIV       THE LIPMAN LAW FIRM
NIBERT               NORMA MAY             FL         0222939CIV       THE LIPMAN LAW FIRM                                  PASQUALINO           FRANCIS R             FL         0222939CIV       THE LIPMAN LAW FIRM
NICHOLSON            JAMES GORDON          FL         0413877          THE LIPMAN LAW FIRM                                  PASSA                ANTHONY M             FL         0222939CIV       THE LIPMAN LAW FIRM
NICODEMUS            JACQUELINE            FL         04000213         THE LIPMAN LAW FIRM                                  PASSA                ELLEN                 FL         0222939CIV       THE LIPMAN LAW FIRM
NIELSEN              GERALD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  PATERSON             ARNOLD W              FL         0222939CIV       THE LIPMAN LAW FIRM
NIELSEN              LYNN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  PATERSON             MARY E                FL         0222939CIV       THE LIPMAN LAW FIRM
NOAK                 FRANCES               FL         CA0206614AD      THE LIPMAN LAW FIRM                                  PATRIAS              FRANCIS B             FL         0222939CIV       THE LIPMAN LAW FIRM
NOAK                 JOAN                  FL         CA0206614AD      THE LIPMAN LAW FIRM                                  PATRIAS              SHARON                FL         0222939CIV       THE LIPMAN LAW FIRM
NOAK                 MARGARET              FL         02014891         THE LIPMAN LAW FIRM                                  PATTERSON            JOY                   FL         0222939CIV       THE LIPMAN LAW FIRM
NOAK                 ROBERT                FL         02014891         THE LIPMAN LAW FIRM                                  PATTERSON            ROBERT E              FL         0222939CIV       THE LIPMAN LAW FIRM
NOLAN                DANIEL                FL         0222939CIV       THE LIPMAN LAW FIRM                                  PATTERSON            ROBERT M              FL         0222939CIV       THE LIPMAN LAW FIRM
NOLAN                THERESA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  PAULIS               FREDERIC J            FL         0222939CIV       THE LIPMAN LAW FIRM
NORTH                MARK                  FL         0413781          THE LIPMAN LAW FIRM                                  PAULIS               ONEYDA                FL         0222939CIV       THE LIPMAN LAW FIRM
NORTH                MICHELLE              FL         0413781          THE LIPMAN LAW FIRM                                  PAULK                GABE W                FL         0222939CIV       THE LIPMAN LAW FIRM
NORTHEN              RITA                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEABODY              GERALDINE             FL         0222939CIV       THE LIPMAN LAW FIRM
OCONNER              CAROL                 FL         0032489CA42      THE LIPMAN LAW FIRM                                  PEABODY              JEROME T              FL         0222939CIV       THE LIPMAN LAW FIRM
OCONNER              JAMES H               FL         0032489CA42      THE LIPMAN LAW FIRM                                  PEACOCK              ALEXANDRA             FL         0400647CA42      THE LIPMAN LAW FIRM
O'CONNER             CAROL                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEACOCK              FRED                  FL         0400647CA42      THE LIPMAN LAW FIRM
O'CONNER             CAROL                 FL         0032489          THE LIPMAN LAW FIRM                                  PEARSON              EDGAR                 FL         01314CALG        THE LIPMAN LAW FIRM
O'CONNER             JAMES H               FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEARSON              EDNA W                FL         0222939CIV       THE LIPMAN LAW FIRM
O'CONNER             JAMES H               FL         0032489          THE LIPMAN LAW FIRM                                  PEARSON              JUDITH                FL         0222939CIV       THE LIPMAN LAW FIRM
OCONNOR              BERNITA               FL         01315CALG        THE LIPMAN LAW FIRM                                  PEARSON              STEPHEN A             FL         0222939CIV       THE LIPMAN LAW FIRM
OCONNOR              DANIEL                FL         01315CALG        THE LIPMAN LAW FIRM                                  PEDERSEN             KENNETH E             FL         0222939CIV       THE LIPMAN LAW FIRM
OELSCHLANGER         LAURA                 FL         025904CALG       THE LIPMAN LAW FIRM                                  PEDERSEN             PATRICIA              FL         0222939CIV       THE LIPMAN LAW FIRM
OELSCHLANGER         WILLIAM               FL         025904CALG       THE LIPMAN LAW FIRM                                  PEDERSON             KENNETH A             FL         0222939CIV       THE LIPMAN LAW FIRM
OLIVER               BERGLIND              FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEDERSON             KENNETH A             FL         99940327         THE LIPMAN LAW FIRM
OLIVER               MANUEL                FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEDERSON             MARILYN               FL         0222939CIV       THE LIPMAN LAW FIRM
ORANCE               LARRY                 FL         019614CALG       THE LIPMAN LAW FIRM                                  PEDERSON             MARILYN               FL         99940327         THE LIPMAN LAW FIRM
ORANGE               LAWRENCE C            FL         019614CALG       THE LIPMAN LAW FIRM                                  PELLETIER            GAIL J                FL         0222939CIV       THE LIPMAN LAW FIRM
ORMAN                JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEMBERTON            DEBBIE                FL         0222939CIV       THE LIPMAN LAW FIRM
ORMAN                SUSAN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  PENDLETON            ROOSEVELT             FL         0222939CIV       THE LIPMAN LAW FIRM
OUIMET               FRANCIS               FL         0222477          THE LIPMAN LAW FIRM                                  PENNINGTON           CHARLES E             FL         027388CALG       THE LIPMAN LAW FIRM
OUIMET               KAREN                 FL         0222477          THE LIPMAN LAW FIRM                                  PEPLINSKI            HENRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
PAGAN                JOSEPH R              FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEPLINSKI            JEAN                  FL         0222939CIV       THE LIPMAN LAW FIRM
PAGAN                PETRA E               FL         0222939CIV       THE LIPMAN LAW FIRM                                  PEREZ                HERIBERTO             FL         99885327         THE LIPMAN LAW FIRM
PAGANO               JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  PERRY                JOHN B                FL         CA02006459AD     THE LIPMAN LAW FIRM
PAINE                BEATRICE              FL         050973327        THE LIPMAN LAW FIRM                                  PERRY                NAOMI RUTH            FL         CA02006459AD     THE LIPMAN LAW FIRM
PAINE                ROBERT E              FL         050973327        THE LIPMAN LAW FIRM                                  PETTUS               FLORA BEA             FL         0413860          THE LIPMAN LAW FIRM
PAIST                HERBERT N             FL         0222939CIV       THE LIPMAN LAW FIRM                                  PHILLIPS             JULIUS                FL         0222939CIV       THE LIPMAN LAW FIRM
PALASTRO             MILLIE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  PHILLIPS             MARION                FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 834
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 169 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PIERCE               ANNE                  FL         0127214CA42      THE LIPMAN LAW FIRM                                  RICCI                SANDRA                FL         02009759         THE LIPMAN LAW FIRM
PIERCE               MARVIN                FL         0127214CA42      THE LIPMAN LAW FIRM                                  RICHARD              MANDY L               FL         0032480          THE LIPMAN LAW FIRM
PIONTKOWSKI          CAROLINE              FL         04165CACE27      THE LIPMAN LAW FIRM                                  RICHARD              WILLIAM HARRY         FL         0032480          THE LIPMAN LAW FIRM
PIONTKOWSKI          RAYMOND               FL         04165CACE27      THE LIPMAN LAW FIRM                                  RICHARDS             MANDY L               FL         0222939CIV       THE LIPMAN LAW FIRM
PIONTSKOWSKI         CAROLINE              FL         0400165          THE LIPMAN LAW FIRM                                  RICHARDS             WILLIAM HARRY         FL         0222939CIV       THE LIPMAN LAW FIRM
PIONTSKOWSKI         RAYMOND               FL         0400165          THE LIPMAN LAW FIRM                                  RIENZO               JOYCE                 FL         ADMIN            THE LIPMAN LAW FIRM
PITTMAN              MARK JUNE             FL         04013745         THE LIPMAN LAW FIRM                                  RIENZO               MICHAEL               FL         ADMIN            THE LIPMAN LAW FIRM
PITTMAN              MILDRED               FL         04013745         THE LIPMAN LAW FIRM                                  RIGGINS              DONALD L              FL         0413929          THE LIPMAN LAW FIRM
PIZZO                GERALDINE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  RIISE                MORRIS                FL         0222939CIV       THE LIPMAN LAW FIRM
PIZZO                WALTER                FL         0222939CIV       THE LIPMAN LAW FIRM                                  RIISE                MURIEL                FL         0222939CIV       THE LIPMAN LAW FIRM
PLATANIA             WILLIAM               FL         016101CALG       THE LIPMAN LAW FIRM                                  RINGLER              GERALD                FL         0222939CIV       THE LIPMAN LAW FIRM
PLUE                 ALVIN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  RINGLER              JEAN                  FL         0222939CIV       THE LIPMAN LAW FIRM
PLUE                 LILLIAN               FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROBERSON-WILSON      MARY                  FL         0222583          THE LIPMAN LAW FIRM
POLLARI              JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROBERTS              JAMES L               FL         04013778         THE LIPMAN LAW FIRM
POLLARI              JOSEPH                FL         99940427         THE LIPMAN LAW FIRM                                  ROBERTS              JUDITH                FL         04013778         THE LIPMAN LAW FIRM
POLLARI              PAT                   FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROBERTSON            ROBERT G              FL         0222939CIV       THE LIPMAN LAW FIRM
POLLARI              PAT                   FL         99940427         THE LIPMAN LAW FIRM                                  ROBERTSON            THELMA                FL         0222939CIV       THE LIPMAN LAW FIRM
POTEET               KATHERINE             FL         CA02006885AD     THE LIPMAN LAW FIRM                                  ROBINSON             LEROY                 FL         0222939CIV       THE LIPMAN LAW FIRM
POTEET               RANDELL               FL         CA02006885AD     THE LIPMAN LAW FIRM                                  ROBINSON             RUBY                  FL         0222939CIV       THE LIPMAN LAW FIRM
POWELL               CAROL ANN             FL         99009327         THE LIPMAN LAW FIRM                                  RODGRIGUES           EVE                   FL         0222939CIV       THE LIPMAN LAW FIRM
POWELL               JAMES                 FL         99009327         THE LIPMAN LAW FIRM                                  RODRIGUES            LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
PREECE               CAROL                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  RODRIGUEZ            CLEOPE                FL         CA02006789AD     THE LIPMAN LAW FIRM
PREECE               JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  RODRIGUEZ            SOLEDAD               FL         050961127        THE LIPMAN LAW FIRM
PRESCOTT             DELORES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  RODRIGUEZ            YOLANDA               FL         CA02006789AD     THE LIPMAN LAW FIRM
PRESCOTT             GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROESNER              JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
PRESSON              WILLIAM               FL         CA02006588AD     THE LIPMAN LAW FIRM                                  ROGAN                JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
PRICE                CHARLES               FL         0413945          THE LIPMAN LAW FIRM                                  ROGENSKI             THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM
PRICE                EARNESTENE            FL         0413945          THE LIPMAN LAW FIRM                                  ROGERS               BARBARA ANN           FL         04013933         THE LIPMAN LAW FIRM
PRICE                GEORGINE              FL         CA0207818AD      THE LIPMAN LAW FIRM                                  ROGERS               CORTNEY               FL         0222939CIV       THE LIPMAN LAW FIRM
PRICE                WILLIAM R             FL         CA0207818AD      THE LIPMAN LAW FIRM                                  ROGERS               HILDA                 FL         0222939CIV       THE LIPMAN LAW FIRM
PRITCHARD            RHONDA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROGERS               LEROY                 FL         04013933         THE LIPMAN LAW FIRM
PRITCHETT            LOUISE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROGERS               WILLIE                FL         0222939CIV       THE LIPMAN LAW FIRM
PRIVITERA            MILFRED               FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROMINE               CECIL E               FL         0500959527       THE LIPMAN LAW FIRM
PRIVITERA            ROCCO                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROMINE               SANDRA                FL         0500959527       THE LIPMAN LAW FIRM
PUCKETT              LOREN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  RONEY                DOYLE ALONZO          FL         021127CA42       THE LIPMAN LAW FIRM
PUCKETT              MARJORIE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  RONEY                DOYLE ALONZO          FL         0209718CA42      THE LIPMAN LAW FIRM
PYLES                GEORGIANNA            FL         026220CALG       THE LIPMAN LAW FIRM                                  RONGA                HELI                  FL         01252CALG        THE LIPMAN LAW FIRM
PYLES                JOHN E                FL         026220CALG       THE LIPMAN LAW FIRM                                  RONGA                JOSEPH                FL         01252CALG        THE LIPMAN LAW FIRM
QUIGLEY              ANN                   FL         CA0206437AD      THE LIPMAN LAW FIRM                                  ROSS                 FREDDIE               FL         02012450         THE LIPMAN LAW FIRM
QUIGLEY              THOMAS                FL         CA0206437AD      THE LIPMAN LAW FIRM                                  ROSS                 ROSEMARY              FL         02012450         THE LIPMAN LAW FIRM
QUILES               ISMAEL                FL         0413747          THE LIPMAN LAW FIRM                                  ROTH                 BRUCE                 FL         0222939CIV       THE LIPMAN LAW FIRM
RAMOS                ANTONIO               FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROTH                 LORRAINE              FL         0222939CIV       THE LIPMAN LAW FIRM
RAMOS                MARTHA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROVELLO              CARMELA               FL         02009763         THE LIPMAN LAW FIRM
RAMSDELL             CATHERINE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROVELLO              JAMES                 FL         02009763         THE LIPMAN LAW FIRM
RAMSDELL             RUSSELL D             FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROWE                 JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
RANDALL              ROBERT                FL         027389CALG       THE LIPMAN LAW FIRM                                  ROWE                 MARLENE               FL         0222939CIV       THE LIPMAN LAW FIRM
RAUCH                PHYLLIS               FL         CA0112262AD      THE LIPMAN LAW FIRM                                  ROWE                 SHERMAN DONELL        FL         0413848          THE LIPMAN LAW FIRM
RAUM                 PAUL                  FL         CA0112251AD      THE LIPMAN LAW FIRM                                  ROWELL               JOHN T                FL         04013762         THE LIPMAN LAW FIRM
REBACK               JOANNE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROWELL               SUZANNE               FL         04013762         THE LIPMAN LAW FIRM
REBACK               SANFORD B             FL         0222939CIV       THE LIPMAN LAW FIRM                                  ROWLANDS             LOIS                  FL         0222939CIV       THE LIPMAN LAW FIRM
RECKART              CONNIE                FL         01253CALG        THE LIPMAN LAW FIRM                                  ROWLANDS             STANLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
RECKART              DARWIN                FL         01253CALG        THE LIPMAN LAW FIRM                                  RUDICK               LORRAINE              FL         0222939CIV       THE LIPMAN LAW FIRM
REDDINGTON           DEBORAH               FL         04000213         THE LIPMAN LAW FIRM                                  RUDICK               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
REDUS                DORIS JEAN            FL         0413854          THE LIPMAN LAW FIRM                                  RUSHING              DAN                   FL         0222939CIV       THE LIPMAN LAW FIRM
REDUS                KENNETH LLOYD         FL         0413854          THE LIPMAN LAW FIRM                                  RUSSELL              CARL D                FL         0222939CIV       THE LIPMAN LAW FIRM
REED                 AMOS M                FL         0211023CA42      THE LIPMAN LAW FIRM                                  RUSSELL              MAUDE                 FL         0222939CIV       THE LIPMAN LAW FIRM
REED                 WILLIE D              FL         0222939CIV       THE LIPMAN LAW FIRM                                  RUSSO                ADELE                 FL         018929CA42       THE LIPMAN LAW FIRM
REESE                GERALD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  RUSSO                LIBERATO CARMINE      FL         018929CA42       THE LIPMAN LAW FIRM
REESE                IDDRESS               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SAHMS                FRANK F               FL         0222939CIV       THE LIPMAN LAW FIRM
REEVES               JOHNNIE               FL         99984027         THE LIPMAN LAW FIRM                                  SAIN                 ANNE L                FL         0222939CIV       THE LIPMAN LAW FIRM
REEVES               SHARON                FL         99984027         THE LIPMAN LAW FIRM                                  SAIN                 RONALD L              FL         0222939CIV       THE LIPMAN LAW FIRM
REHBERG              DAVID                 FL         99939927         THE LIPMAN LAW FIRM                                  SAIYA                GEORGETTE             FL         CA0201033AD      THE LIPMAN LAW FIRM
REHBERG              HILDA                 FL         99939927         THE LIPMAN LAW FIRM                                  SAIYA                VINCENT               FL         CA0201033AD      THE LIPMAN LAW FIRM
REICH                HENRI                 FL         04014724         THE LIPMAN LAW FIRM                                  SALISBURY            CAROL                 FL         0230082CA42      THE LIPMAN LAW FIRM
REICH                LINDA                 FL         04014724         THE LIPMAN LAW FIRM                                  SALISBURY            CAROLEE               FL         0222939CIV       THE LIPMAN LAW FIRM
REYNOLDS             TM                    FL         0222939CIV       THE LIPMAN LAW FIRM                                  SALISBURY            WILLIAM               FL         0222939CIV       THE LIPMAN LAW FIRM
REZAC                MARTHA                FL         0222476          THE LIPMAN LAW FIRM                                  SALISBURY            WILLIAM               FL         0230082CA42      THE LIPMAN LAW FIRM
REZAC                WARREN                FL         0222476          THE LIPMAN LAW FIRM                                  SAMMEL               HENRY C               FL         0222939CIV       THE LIPMAN LAW FIRM
RHOADES              WILLIAM F             FL         0222939CIV       THE LIPMAN LAW FIRM                                  SAMMLER              JANET                 FL         01284CALG        THE LIPMAN LAW FIRM
RICCARDI             PAUL                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  SAMMLER              RONALD C              FL         01284CALG        THE LIPMAN LAW FIRM
RICCI                EARNEST               FL         02009759         THE LIPMAN LAW FIRM                                  SAMPSON              JOSEPH E              FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 835
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 170 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SANCHEZ              ANTHONY R             FL         0222939CIV       THE LIPMAN LAW FIRM                                  SIMMONS              BARBARA               FL         99983227         THE LIPMAN LAW FIRM
SANCHEZ              PEARL ANN             FL         0222939CIV       THE LIPMAN LAW FIRM                                  SIMMONS              CHARLES H             FL         0222939CIV       THE LIPMAN LAW FIRM
SANDERSON            ERNEST                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SIMMONS              CHARLES H             FL         99983227         THE LIPMAN LAW FIRM
SANDRY               DOTTIE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SIMPSON              DORIS                 FL         0222939CIV       THE LIPMAN LAW FIRM
SANDRY               DOTTIE                FL         99980527         THE LIPMAN LAW FIRM                                  SIMPSON              DORIS                 FL         99982827         THE LIPMAN LAW FIRM
SANDRY               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SIMPSON              FRED M                FL         0222939CIV       THE LIPMAN LAW FIRM
SANDRY               ROBERT                FL         99980527         THE LIPMAN LAW FIRM                                  SIMPSON              FRED M                FL         99982827         THE LIPMAN LAW FIRM
SANTIAGO             CELESTE               FL         0211023CA42      THE LIPMAN LAW FIRM                                  SINGLETON            CURTIS                FL         0222939CIV       THE LIPMAN LAW FIRM
SAVO                 DANTE                 FL         0209623          THE LIPMAN LAW FIRM                                  SINGLETON            MEDIA                 FL         0222939CIV       THE LIPMAN LAW FIRM
SAVO                 VIOLA                 FL         0209623          THE LIPMAN LAW FIRM                                  SISCO                ANDREW                FL         0222939CIV       THE LIPMAN LAW FIRM
SCANSY               FRANCES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SISCO                JANET                 FL         0222939CIV       THE LIPMAN LAW FIRM
SCASNY               MICHAEL               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SKOWBO               GARRY                 FL         999785           THE LIPMAN LAW FIRM
SCHICK               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SKOWBO               GAYLE                 FL         999785           THE LIPMAN LAW FIRM
SCHICK               ROSEMARY              FL         0222939CIV       THE LIPMAN LAW FIRM                                  SLATER               JULIETA               FL         0413797          THE LIPMAN LAW FIRM
SCHMIDT              THELMA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SLATER               ROBERT W              FL         0413797          THE LIPMAN LAW FIRM
SCHMIDT              THEODORE R            FL         0222939CIV       THE LIPMAN LAW FIRM                                  SLOAN                DELORES               FL         0222939CIV       THE LIPMAN LAW FIRM
SCHNEIDER            JANE                  FL         99931127         THE LIPMAN LAW FIRM                                  SLOAN                DELORES               FL         99986227         THE LIPMAN LAW FIRM
SCHNEIDER            WILLIAM               FL         99931127         THE LIPMAN LAW FIRM                                  SLOAN                LARRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
SCHOBER              JACK LEROY            FL         0222939CIV       THE LIPMAN LAW FIRM                                  SLOAN                LARRY                 FL         99986227         THE LIPMAN LAW FIRM
SCHOBER              JUDITH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SLONE                FREEMAN               FL         019543CALG       THE LIPMAN LAW FIRM
SCHULTZ              DAVID                 FL         0210037          THE LIPMAN LAW FIRM                                  SLONE                NANCY                 FL         019543CALG       THE LIPMAN LAW FIRM
SCHULTZ              DIANA                 FL         0210037          THE LIPMAN LAW FIRM                                  SMITH                ANNIE                 FL         025838CALG       THE LIPMAN LAW FIRM
SCHULTZ              LAWRENCE A            FL         0127213CA42      THE LIPMAN LAW FIRM                                  SMITH                BENNIE                FL         0222939CIV       THE LIPMAN LAW FIRM
SCHULTZ              SHIRLEY               FL         0127213CA42      THE LIPMAN LAW FIRM                                  SMITH                BOBBY D               FL         0222939CIV       THE LIPMAN LAW FIRM
SCHUMACHER           GARETH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                CARLEY                FL         99950227         THE LIPMAN LAW FIRM
SCHUMACHER           HELEN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                CRAIG J               FL         0210561CA42      THE LIPMAN LAW FIRM
SCHWICHTENBERG       ARNHOLD               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                DARLENE V             FL         025606CALG       THE LIPMAN LAW FIRM
SCHWICHTENBERG       LILLY                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                DONALD E              FL         025838CALG       THE LIPMAN LAW FIRM
SCIPPIO              NATHANIEL             FL         0210503CA42      THE LIPMAN LAW FIRM                                  SMITH                DONALD H              FL         026178CALG       THE LIPMAN LAW FIRM
SCIPPIO              OVELLA                FL         0210503CA42      THE LIPMAN LAW FIRM                                  SMITH                DORIS E               FL         0210561CA42      THE LIPMAN LAW FIRM
SCOTT                DANA                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                EVA MAE               FL         0413862          THE LIPMAN LAW FIRM
SCOTT                JACK R                FL         02009514         THE LIPMAN LAW FIRM                                  SMITH                JAMES A               FL         0222939CIV       THE LIPMAN LAW FIRM
SCOTT                JOYCE                 FL         02009161         THE LIPMAN LAW FIRM                                  SMITH                JANE                  FL         026178CALG       THE LIPMAN LAW FIRM
SCOTT                LEWIS E               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                JOE                   FL         027361CALG       THE LIPMAN LAW FIRM
SCOTT                LEWIS E               FL         99985627         THE LIPMAN LAW FIRM                                  SMITH                LARRY                 FL         0209488          THE LIPMAN LAW FIRM
SCOTT                RICHARD J             FL         02009161         THE LIPMAN LAW FIRM                                  SMITH                LOUISE                FL         0222939CIV       THE LIPMAN LAW FIRM
SCOTT                ROSS                  FL         02009514         THE LIPMAN LAW FIRM                                  SMITH                MARY O                FL         04013899         THE LIPMAN LAW FIRM
SEAMAN               BETTY                 FL         99973627         THE LIPMAN LAW FIRM                                  SMITH                NORMA                 FL         0222939CIV       THE LIPMAN LAW FIRM
SEAMAN               WILLIAM               FL         99973627         THE LIPMAN LAW FIRM                                  SMITH                PATRICIA              FL         027361CALG       THE LIPMAN LAW FIRM
SEARLE               JOHN R                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                ROBERT EUGENE         FL         025606CALG       THE LIPMAN LAW FIRM
SEARLE               KATHLEEN              FL         0222939CIV       THE LIPMAN LAW FIRM                                  SMITH                VELMA                 FL         0209488          THE LIPMAN LAW FIRM
SEATON               LORETTA               FL         025839CALG       THE LIPMAN LAW FIRM                                  SNYDER               CARL                  FL         0222939CIV       THE LIPMAN LAW FIRM
SEATON               RANDALL               FL         025839CALG       THE LIPMAN LAW FIRM                                  SNYDER               JANICE                FL         0400198CA42      THE LIPMAN LAW FIRM
SEAVER               DONALD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SNYDER               LOUISE                FL         0413780          THE LIPMAN LAW FIRM
SELLERS              LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  SNYDER               THOMAS                FL         0400198CA42      THE LIPMAN LAW FIRM
SERENA               JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SOBOV                FRANCES               FL         04013774         THE LIPMAN LAW FIRM
SERENA               PATRICIA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  SOBOV                MORIZ                 FL         04013774         THE LIPMAN LAW FIRM
SHAFFER              DALLAS                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SOKOLIK              JOSEPH                FL         99009175         THE LIPMAN LAW FIRM
SHAFFER              DALLAS                FL         99973327         THE LIPMAN LAW FIRM                                  SOLOMON              CHARLES               FL         02005042         THE LIPMAN LAW FIRM
SHAFFER              ELROY                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  SOMERS               RICHARD               FL         0127232CA42      THE LIPMAN LAW FIRM
SHAFFER              ELROY                 FL         99977427         THE LIPMAN LAW FIRM                                  SOMERS               RUSSELL               FL         0127232CA42      THE LIPMAN LAW FIRM
SHAFFER              GEORGINA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  SOMERVILLE           JEANINE               FL         0222939CIV       THE LIPMAN LAW FIRM
SHAFFER              GEORGINA              FL         99973327         THE LIPMAN LAW FIRM                                  SOMERVILLE           SAMMIE E              FL         0222939CIV       THE LIPMAN LAW FIRM
SHAFFER              MARIAN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SONSALLA             JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM
SHAFFER              MARIAN                FL         99977427         THE LIPMAN LAW FIRM                                  SONSALLA             ROSETTA               FL         0222939CIV       THE LIPMAN LAW FIRM
SHARP                DOROTHY               FL         025675CALG       THE LIPMAN LAW FIRM                                  SOREY                JOYCE                 FL         99983927         THE LIPMAN LAW FIRM
SHARP                RICHARD               FL         025675CALG       THE LIPMAN LAW FIRM                                  SOREY                RODGER                FL         99983927         THE LIPMAN LAW FIRM
SHARROW              ANDREW WILLIAM        FL         0413846          THE LIPMAN LAW FIRM                                  SORRENTINO           MARK                  FL         0222939CIV       THE LIPMAN LAW FIRM
SHARROW              FRANCES THOMAS        FL         0413846          THE LIPMAN LAW FIRM                                  SORRENTINO           MARK                  FL         0025003CA42      THE LIPMAN LAW FIRM
SHEPARD              ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  SORRENTINO           ROBIN                 FL         0025003CA42      THE LIPMAN LAW FIRM
SHEPHERD             JOSEPH                FL         0413927          THE LIPMAN LAW FIRM                                  SORRENTINO           ROBIN M               FL         0222939CIV       THE LIPMAN LAW FIRM
SHEPHERD             RUBY JEWELL           FL         0413927          THE LIPMAN LAW FIRM                                  SORRENTINO           ROBIN M               FL         0025003CA42      THE LIPMAN LAW FIRM
SIDDENS              JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  SPAN                 JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
SIEVERT              WAYNE                 FL         04013758         THE LIPMAN LAW FIRM                                  SPANGLER             BARBARA               FL         02010651         THE LIPMAN LAW FIRM
SIIRILA              EINO                  FL         0207730CA42      THE LIPMAN LAW FIRM                                  SPANGLER             FLORENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
SIIRILA              SUE                   FL         0207730CA42      THE LIPMAN LAW FIRM                                  SPANGLER             FLORENCE              FL         99982027         THE LIPMAN LAW FIRM
SIKORA               FRANK J               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SPANGLER             FRANKLIN              FL         02010651         THE LIPMAN LAW FIRM
SIKORA               KATHLEEN              FL         0222939CIV       THE LIPMAN LAW FIRM                                  SPANGLER             JOSEPH                FL         99982027         THE LIPMAN LAW FIRM
SILBERER             CAROL                 FL         0413764          THE LIPMAN LAW FIRM                                  SPANGLER             ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
SILBERER             RALPH                 FL         0413764          THE LIPMAN LAW FIRM                                  SPANGLER             ROBERT                FL         99982027         THE LIPMAN LAW FIRM
SIMMONS              BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM                                  SPEERIN              DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 836
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 171 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SPEERIN              THOMAS                FL         0222939CIV       THE LIPMAN LAW FIRM                                  THOMPSON             EVELYN B              FL         026103CALG       THE LIPMAN LAW FIRM
SPENCE               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  THOMPSON             JAMES D               FL         0222939CIV       THE LIPMAN LAW FIRM
SPIKER               EDWARD LEE            FL         0222939CIV       THE LIPMAN LAW FIRM                                  THOMPSON             JAMES D               FL         99950327         THE LIPMAN LAW FIRM
SPIKER               JESSE LEE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  THORGREN             BETTY                 FL         9901692227       THE LIPMAN LAW FIRM
SPINK                DONALD D              FL         0222939CIV       THE LIPMAN LAW FIRM                                  THORGREN             WILLIAM               FL         9901692227       THE LIPMAN LAW FIRM
SPINK                MARCIA J              FL         0222939CIV       THE LIPMAN LAW FIRM                                  TIBBETTS             DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM
SPITTLE              LEROY L               FL         0222939CIV       THE LIPMAN LAW FIRM                                  TILLMAN              JANET                 FL         0222939CIV       THE LIPMAN LAW FIRM
SPITTLE              NORMA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  TILLMAN              ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM
STAFFORD             GLORIA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  TIMM                 MARIAN                FL         0222939CIV       THE LIPMAN LAW FIRM
STAFFORD             STANLEY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  TIMM                 RICHARD               FL         0222939CIV       THE LIPMAN LAW FIRM
STAMPER              BOBBY R               FL         0222939CIV       THE LIPMAN LAW FIRM                                  TITO                 JULIAN                FL         0222939CIV       THE LIPMAN LAW FIRM
STAMPER              GENEVA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  TOURIGNY             ALFRED                FL         CA0206410AD      THE LIPMAN LAW FIRM
STANFORD             AUDRA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  TOURIGNY             GLORIA                FL         CA0206410AD      THE LIPMAN LAW FIRM
STANFORD             JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM                                  TRAHAN               ANDRE                 FL         0222939CIV       THE LIPMAN LAW FIRM
STCHUR               INEZ                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  TRAHAN               GERTRUDE              FL         0222939CIV       THE LIPMAN LAW FIRM
STCHUR               JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  TRICE                CLARENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
STEPHENS             DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  TRIER                EDWARD                FL         0222939CIV       THE LIPMAN LAW FIRM
STEWART              ANGILEEN              FL         04013917         THE LIPMAN LAW FIRM                                  TRIER                ELAINE                FL         0222939CIV       THE LIPMAN LAW FIRM
STEWART              PAUL V                FL         04013917         THE LIPMAN LAW FIRM                                  TRUMPOWER            CHARLES               FL         0222939CIV       THE LIPMAN LAW FIRM
STIFFEL              ADELAIDA              FL         0500961227       THE LIPMAN LAW FIRM                                  TRUMPOWER            VIVIAN M              FL         0222939CIV       THE LIPMAN LAW FIRM
STIFFEL              ROLAND                FL         0500961227       THE LIPMAN LAW FIRM                                  TUCKER               DONALD D              FL         0413785          THE LIPMAN LAW FIRM
STONE                ENOS E                FL         025945CALG       THE LIPMAN LAW FIRM                                  TUCKER               MARY                  FL         0413785          THE LIPMAN LAW FIRM
STOVER               JOSEPH                FL         0500958427       THE LIPMAN LAW FIRM                                  TURNER               CHARLES               FL         0400201CA42      THE LIPMAN LAW FIRM
STOVER               POLLY                 FL         0500958427       THE LIPMAN LAW FIRM                                  UPSON                BARRY                 FL         0413794          THE LIPMAN LAW FIRM
STRICKLAND           JOHN P                FL         0500958127       THE LIPMAN LAW FIRM                                  UPSON                KATHY                 FL         0413794          THE LIPMAN LAW FIRM
STRICKLAND           LIDIA                 FL         0500958127       THE LIPMAN LAW FIRM                                  VANCE                GLADYS                FL         0400201CA42      THE LIPMAN LAW FIRM
STUART               THOMAS                FL         04013802         THE LIPMAN LAW FIRM                                  VARSALONA            PHYLLIS               FL         CA0206270AD      THE LIPMAN LAW FIRM
STURGEON             STEPHEN A             FL         0318236CA42      THE LIPMAN LAW FIRM                                  VEINER               BENEDICT              FL         027364CALG       THE LIPMAN LAW FIRM
SULLIVAN             DANIEL B              FL         0222939CIV       THE LIPMAN LAW FIRM                                  VEINER               BETTY M               FL         027364CALG       THE LIPMAN LAW FIRM
SULLIVAN             DEANNA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  VENON                NORMA                 FL         0222939CIV       THE LIPMAN LAW FIRM
SULLIVAN             GERTRUDE              FL         0222939CIV       THE LIPMAN LAW FIRM                                  VERNON               HERBERT M             FL         0222939CIV       THE LIPMAN LAW FIRM
SULLIVAN             JOHN L                FL         0222939CIV       THE LIPMAN LAW FIRM                                  VERRY                LORING                FL         99938627         THE LIPMAN LAW FIRM
SUPPA                JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  VICARIO              MARIA                 FL         04013756         THE LIPMAN LAW FIRM
SUTTON               EVA M                 FL         0500960927       THE LIPMAN LAW FIRM                                  VICARIO              RONALD                FL         04013756         THE LIPMAN LAW FIRM
SUTTON               HARRY N               FL         0500960927       THE LIPMAN LAW FIRM                                  VIGILANTE            ANTONIO               FL         99982927         THE LIPMAN LAW FIRM
SWEET                GERALDINE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  VIOLETT              DONALD R              FL         0500961427       THE LIPMAN LAW FIRM
SWEET                JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  VIOLETT              YVONNA                FL         0500961427       THE LIPMAN LAW FIRM
SWEETING             FAITH                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  VISCOSI              KAYE                  FL         0413780          THE LIPMAN LAW FIRM
SWEETING             LENARD                FL         0222939CIV       THE LIPMAN LAW FIRM                                  VROMAN               VAN                   FL         99991127         THE LIPMAN LAW FIRM
SWENSON              LOUIS                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  WAFFORD              BARBARA JEAN          FL         0413842          THE LIPMAN LAW FIRM
TABER                GAVINA                FL         02009124         THE LIPMAN LAW FIRM                                  WAFFORD              JAMES                 FL         0413842          THE LIPMAN LAW FIRM
TABER                GERALD B              FL         02009124         THE LIPMAN LAW FIRM                                  WAGNER               KATHRYN               FL         04013754         THE LIPMAN LAW FIRM
TACKETT              CHARLES E             FL         0222939CIV       THE LIPMAN LAW FIRM                                  WAGNER               RICHARD               FL         04013754         THE LIPMAN LAW FIRM
TACKETT              JOHN                  FL         ADMIN            THE LIPMAN LAW FIRM                                  WALKER               JACK L                FL         99989827         THE LIPMAN LAW FIRM
TACKETT              MARIAN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  WALKER               JOHN W                FL         01306CALG        THE LIPMAN LAW FIRM
TANELLA              ANGELA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  WALKER               SARAH                 FL         01306CALG        THE LIPMAN LAW FIRM
TANELLA              RAYMOND               FL         0222939CIV       THE LIPMAN LAW FIRM                                  WALLACE              BARBARA               FL         0222939CIV       THE LIPMAN LAW FIRM
TANNER               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  WALLACE              DONALD E              FL         0413749          THE LIPMAN LAW FIRM
TARDIF               JEANETTE              FL         0500960627       THE LIPMAN LAW FIRM                                  WALLACE              JOSEPH                FL         0222939CIV       THE LIPMAN LAW FIRM
TARDIF               JOSEPH                FL         0500960627       THE LIPMAN LAW FIRM                                  WALLACE              KAREN                 FL         0413749          THE LIPMAN LAW FIRM
TARDO                LOUIS                 FL         0210374CA42      THE LIPMAN LAW FIRM                                  WALSH                BARBARA               FL         99986727         THE LIPMAN LAW FIRM
TARDO                MARY                  FL         0210374CA42      THE LIPMAN LAW FIRM                                  WALSH                DONALD                FL         99986727         THE LIPMAN LAW FIRM
TASKINEN             GARY                  FL         0127216CA42      THE LIPMAN LAW FIRM                                  WALTER               DANIEL A              FL         ADMIN            THE LIPMAN LAW FIRM
TAUINGER             TERRI                 FL         0210737CA42      THE LIPMAN LAW FIRM                                  WALTON               BILLY                 FL         02009296         THE LIPMAN LAW FIRM
TAYLOR               JACK HARLIN           FL         0222939CIV       THE LIPMAN LAW FIRM                                  WALTON               ELOISE                FL         02009296         THE LIPMAN LAW FIRM
TAYLOR               JAY                   FL         04013868         THE LIPMAN LAW FIRM                                  WARD                 EUGENE                FL         0222939CIV       THE LIPMAN LAW FIRM
TAYLOR               LARRY E               FL         ADMIN            THE LIPMAN LAW FIRM                                  WARD                 REVA                  FL         0222939CIV       THE LIPMAN LAW FIRM
TAYLOR               LINDA                 FL         ADMIN            THE LIPMAN LAW FIRM                                  WARE                 ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM
TAYLOR               THELMA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  WARE                 STANLEY               FL         0222939CIV       THE LIPMAN LAW FIRM
TAYLOR               THRESSIA MAE          FL         04013868         THE LIPMAN LAW FIRM                                  WARKE                DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM
TEETERS              MELVIN A              FL         0222939CIV       THE LIPMAN LAW FIRM                                  WARKE                VERNON E              FL         0222939CIV       THE LIPMAN LAW FIRM
TEICHER              BARBARA               FL         0500969827       THE LIPMAN LAW FIRM                                  WARNER               LEO                   FL         0222939CIV       THE LIPMAN LAW FIRM
TEICHER              SEYMOUR               FL         0500969827       THE LIPMAN LAW FIRM                                  WARR                 HERMAN F              FL         CA02006781AD     THE LIPMAN LAW FIRM
TERRY                DOROTHY               FL         04013798         THE LIPMAN LAW FIRM                                  WASHINGTON           SAMUEL                FL         04013911         THE LIPMAN LAW FIRM
THIGPEN              MARJORIE              FL         0222638          THE LIPMAN LAW FIRM                                  WATERHOUSE           DOROTHY               FL         0222939CIV       THE LIPMAN LAW FIRM
THIGPEN              WILLIE                FL         0222638          THE LIPMAN LAW FIRM                                  WATERHOUSE           NORMAN                FL         0222939CIV       THE LIPMAN LAW FIRM
THOMAS               JAMES T               FL         02012706         THE LIPMAN LAW FIRM                                  WATERS               EDWARD J              FL         0222939CIV       THE LIPMAN LAW FIRM
THOMAS               LAURA JEAN            FL         02012706         THE LIPMAN LAW FIRM                                  WATERS               EVELYN                FL         0222939CIV       THE LIPMAN LAW FIRM
THOMPSON             CHARLES T             FL         026103CALG       THE LIPMAN LAW FIRM                                  WATSON               DOYLE                 FL         0222939CIV       THE LIPMAN LAW FIRM
THOMPSON             ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM                                  WEASLEY              VIVIAN                FL         0413939          THE LIPMAN LAW FIRM
THOMPSON             ELIZABETH             FL         99950327         THE LIPMAN LAW FIRM                                  WEAVER               DALE E                FL         027405CALG       THE LIPMAN LAW FIRM




                                                                                                            Appendix A - 837
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 172 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WEAVER               MARY P                FL         027405CALG       THE LIPMAN LAW FIRM                                  WOODS                DORIS                 FL         0222939CIV       THE LIPMAN LAW FIRM
WEBB                 MARTIN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  WOODS                HENRY                 FL         0222939CIV       THE LIPMAN LAW FIRM
WEBB                 MARY                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  WOODS                LEONARD               FL         0222939CIV       THE LIPMAN LAW FIRM
WEEMS                AUDREY A              FL         0222939CIV       THE LIPMAN LAW FIRM                                  WOODS                ROBERT B              FL         0222939CIV       THE LIPMAN LAW FIRM
WEEMS                GEORGE                FL         0222939CIV       THE LIPMAN LAW FIRM                                  WRIGHT               ETHEL                 FL         CA02006529AD     THE LIPMAN LAW FIRM
WEINHARDT            BARNEY R              FL         0222939CIV       THE LIPMAN LAW FIRM                                  WRIGHT               JAMES C               FL         CA02006529AD     THE LIPMAN LAW FIRM
WEINHARDT            VELMA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  YACOBELLI            LAWRENCE              FL         0222939CIV       THE LIPMAN LAW FIRM
WEINSTEIN            ELIZABETH             FL         0222939CIV       THE LIPMAN LAW FIRM                                  YACOBELLI            THERESA               FL         0222939CIV       THE LIPMAN LAW FIRM
WEISS                BERNARD               FL         04013746         THE LIPMAN LAW FIRM                                  YERSAVICH            ALGERT                FL         0222939CIV       THE LIPMAN LAW FIRM
WEIST                TILDEN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  YERSAVICH            EILEEN                FL         0222939CIV       THE LIPMAN LAW FIRM
WELTER               DELORES               FL         0222939CIV       THE LIPMAN LAW FIRM                                  YOUNG                DANIEL                FL         0210560CA42      THE LIPMAN LAW FIRM
WELTER               JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  YOUNG                GEORGE                FL         0222640          THE LIPMAN LAW FIRM
WERGEN               EDITH                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  YOUNG                ONDA                  FL         0222640          THE LIPMAN LAW FIRM
WERGEN               ROBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  YOUNGBLOOD           LILLIAN               FL         CA02006560AD     THE LIPMAN LAW FIRM
WESLEY               BOBBY O'NEAL          FL         0413939          THE LIPMAN LAW FIRM                                  YOUNGBLOOD           RJ                    FL         CA02006560AD     THE LIPMAN LAW FIRM
WEST                 ALBERT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  YUREWICZ             DOLORES               FL         0222939CIV       THE LIPMAN LAW FIRM
WEST                 SHIRLEY               FL         0222939CIV       THE LIPMAN LAW FIRM                                  YUREWICZ             JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
WHALEN               GEORGE F              FL         99986327         THE LIPMAN LAW FIRM                                  ZAPPIER              JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
WHALEN               JAMES D               FL         0222939CIV       THE LIPMAN LAW FIRM                                  ZENCHAK              JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM
WHALEN               SAIJAI                FL         99986327         THE LIPMAN LAW FIRM                                  ZENCHAK              SOPHIE                FL         0222939CIV       THE LIPMAN LAW FIRM
WHEELER              LOWANA MAY            FL         ADMIN            THE LIPMAN LAW FIRM                                  ZIMPLEMAN            BONNIE                FL         0211014CA42      THE LIPMAN LAW FIRM
WHEELER              ROBERT C              FL         ADMIN            THE LIPMAN LAW FIRM                                  ZIMPLEMAN            ERROL P               FL         0211014CA42      THE LIPMAN LAW FIRM
WHITAKER             BETTY                 FL         ADMIN            THE LIPMAN LAW FIRM                                  ZITO                 ANIELLO               FL         0222939CIV       THE LIPMAN LAW FIRM
WHITAKER             ROBERT                FL         ADMIN            THE LIPMAN LAW FIRM                                  ZITO                 DENISE                FL         0222939CIV       THE LIPMAN LAW FIRM
WHITE                HAROLD S              FL         0222939CIV       THE LIPMAN LAW FIRM                                  ZITOMER              LILYBETT              FL         CA0206472AD      THE LIPMAN LAW FIRM
WHITE                JOSEPH                FL         04013755         THE LIPMAN LAW FIRM                                  ZURICA               FRANK                 FL         0222939CIV       THE LIPMAN LAW FIRM
WHITE                SUSIE                 FL         04013755         THE LIPMAN LAW FIRM                                  ZWOLINKSI            JOHN SR               FL         99985727         THE LIPMAN LAW FIRM
WHITEHAIR            CAROLYN               FL         0222939CIV       THE LIPMAN LAW FIRM                                  ZWOLINSKI            JOHN SR               FL         0222939CIV       THE LIPMAN LAW FIRM
WHITEHAIR            LOUIS J               FL         0222939CIV       THE LIPMAN LAW FIRM                                  ZWOLINSKI            JOHN SR               FL         99985727         THE LIPMAN LAW FIRM
WHITEHEAD            HAZEL                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  ZWOLINSKI            MARJORIE              FL         0222939CIV       THE LIPMAN LAW FIRM
WHITEHEAD            JAMES                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  ZWOLINSKI            MARJORIE              FL         99985727         THE LIPMAN LAW FIRM
WHITMORE             DAVID                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  NICHOLAS             LAWRENCE E            WV         03C2902          THE MASTERS LAW FIRM LC
WHITMORE             DAVID                 FL         01299CALG        THE LIPMAN LAW FIRM                                  PARRILL              SHARON                WV         18C1498          THE MASTERS LAW FIRM LC
WHITMORE             GERALDINE             FL         0222939CIV       THE LIPMAN LAW FIRM                                  PARRILL              THOMAS                WV         18C1498          THE MASTERS LAW FIRM LC
WHTIMORE             DAVID                 FL         01299CALG        THE LIPMAN LAW FIRM                                  THACKER              EULA M                WV         02C22            THE MASTERS LAW FIRM LC
WILKERSON            MADIE R               FL         0222939CIV       THE LIPMAN LAW FIRM                                  THACKER              THAMER A              WV         02C22            THE MASTERS LAW FIRM LC
WILLIAMS             BARBARA A             FL         0222939CIV       THE LIPMAN LAW FIRM                                  WILCOX               BARBARA DIAN          WV         09C998           THE MASTERS LAW FIRM LC
WILLIAMS             BENNIE L              FL         CL0000505AD      THE LIPMAN LAW FIRM                                  WILCOX               BEVAN LYNN            WV         09C998           THE MASTERS LAW FIRM LC
WILLIAMS             GLORIA                FL         CL0000505AD      THE LIPMAN LAW FIRM                                  ALVARE               MANUEL F              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMS             HOWARD F              FL         0222939CIV       THE LIPMAN LAW FIRM                                  ARGO                 JACK NEIL             TX         27000            THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMS             JEANETTE              FL         0500972227       THE LIPMAN LAW FIRM                                  ARREDONDO            ISRAEL G              TX         24355            THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMS             MANUEL                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BARNES               GERALD D              TX         32001            THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMS             ROBERT CARL           FL         0222939CIV       THE LIPMAN LAW FIRM                                  BARRETT              JOSEPH                TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMS             RONALD B              FL         0222939CIV       THE LIPMAN LAW FIRM                                  BERGMAN              WILLIAM B JR          TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMS             SOFIA                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  BERGMAN              WILLIAM D             TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIAMSON           HENRY L               FL         04013906         THE LIPMAN LAW FIRM                                  BERRY                JERRY                 TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIS               HERMAN                FL         0222939CIV       THE LIPMAN LAW FIRM                                  BEZDEK               NORBORT F             TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIS               JOHN                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  BLAND                EB                    TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIS               ROSALIE               FL         0222939CIV       THE LIPMAN LAW FIRM                                  BLOUNT               WILLIAM E             TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIS               RUTH                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  BRANCH               EDWARD C              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILLIS               VERNA MAE             FL         0413852          THE LIPMAN LAW FIRM                                  BROWN                BILLY R               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILSON               ALBERTINE             FL         004430CA42       THE LIPMAN LAW FIRM                                  BURNETT              ANNA THERESA          TX         32001            THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILSON               ELSFORD               FL         004430CA42       THE LIPMAN LAW FIRM                                  CALHOUN              EARNEST               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WILSON               JAMES                 FL         0222583          THE LIPMAN LAW FIRM                                  CAMP                 CHARLES K             TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WINSTON              MARY E                FL         04013900         THE LIPMAN LAW FIRM                                  CANTU                RENE                  TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WINSTON              ROLLIE EDWARD         FL         04013900         THE LIPMAN LAW FIRM                                  DAILEY               EVERETTE              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WITHROW              BRYANT                FL         0222939CIV       THE LIPMAN LAW FIRM                                  GILBERT              AUSTIN D              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WODS                 ELLANORA              FL         0222939CIV       THE LIPMAN LAW FIRM                                  GONZALES             RAMIRO C              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOHLERS              FRANCIS               FL         0222939CIV       THE LIPMAN LAW FIRM                                  GRIFFIN              DENNIS H              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOHLERS              FREDERICK             FL         0222939CIV       THE LIPMAN LAW FIRM                                  GUERRA               JUAN P                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOHLERT              ILEAN                 FL         0222939CIV       THE LIPMAN LAW FIRM                                  GUZMAN               BENITO                TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOHLERT              NELSON E              FL         0222939CIV       THE LIPMAN LAW FIRM                                  HADLEY               GARLAND S             TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOOD                 ALMA                  FL         99944627         THE LIPMAN LAW FIRM                                  HALL                 PETER L               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOOD                 JOHN                  FL         99985327         THE LIPMAN LAW FIRM                                  HEBERT               WILLIAM T             TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOOD                 LEONARD FRANK         FL         0222939CIV       THE LIPMAN LAW FIRM                                  HEUSZEL              ALVIE L               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOOD                 RITA                  FL         99985327         THE LIPMAN LAW FIRM                                  HILLS                ROGERS                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOOD                 ROBERT                FL         99944627         THE LIPMAN LAW FIRM                                  HOLLOWAY             ALBERT B              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOODBRIDGE           KAREN D               FL         0100649CA42      THE LIPMAN LAW FIRM                                  HOLSTEAD             GLORIA                TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOODLEY              LEON                  FL         0222939CIV       THE LIPMAN LAW FIRM                                  HUNICKE              ANTHONY               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOODLEY              STELLA                FL         0222939CIV       THE LIPMAN LAW FIRM                                  JONES                GLORIA G              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC
WOODS                BETTY MAE             FL         04013907         THE LIPMAN LAW FIRM                                  JONES                JOSEPH T              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC




                                                                                                            Appendix A - 838
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                              Desc
                                                                                                      Complaint-Part 2 Page 173 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                                       Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JONES                MILTON C              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            MIZIKAR              THOMAS I              PA         GD16012038       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
JUAREZ               GEORGE                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            PATTEN               WILLIAM               WV         09C64            THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
KING                 ODIS D                TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            REEDER               BARBARA               PA         20071632         THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
LANDRY               WILLIAM               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            SLAUTICH             JAMES K               WV         14C1553          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
LINDSAY              DUANE T               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            SLAUTICH             JUDY                  WV         14C1553          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
LINDSEY              RONALD A              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            SOMERVILLE           BARBARA               PA         GD14021966       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
LODEN                GEORGE T              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            SOMERVILLE           JAMES                 PA         GD14021966       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
LOPEZ                ALFRED C              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            SURPRENANT           DONALD D              WV         13C715           THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
MARTINEZ             PABLO                 TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            TURNER               KAREN                 PA         20071632         THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
MAYON                LAWRENCE              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            VANSTORY             CAROLINE G            PA         GD08007741       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
MENDEZ               ALFONSO               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            VIPOND               DAVID H               PA         GD206            THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
MITCHELL             JAMES E               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            VIPOND               JULIANA               PA         GD206            THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION
MOORE                AD                    TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALANIZ               ELOGIO                TX         03CV0124         THE O'QUINN LAW FIRM
MORRISON             MIKE                  TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALEXANDER            JOHN                  TX         03CV0123         THE O'QUINN LAW FIRM
MURPHY               CECIL A               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALFORD               WILLIAM               TX         03CV0115         THE O'QUINN LAW FIRM
MURRAY               SYLVESTER             TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALLEN                CLYDE                 TX         03CV0125         THE O'QUINN LAW FIRM
NEWBERRY             GERRY D               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALLEN                DONALD                TX         03CV0119         THE O'QUINN LAW FIRM
NEWSOME              RB                    TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALLEN                JAMES L               TX         2003CV0116       THE O'QUINN LAW FIRM
PEDRAZA              JOHN E                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALVARADO             RAUL                  TX         03CV0124         THE O'QUINN LAW FIRM
PETTYJOHN            WILBUR E              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ALVAREZ              ALBERTO               TX         2003CV0116       THE O'QUINN LAW FIRM
PRADIA               AUDREY                TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ANDERSON             ELTON                 TX         03CV0126         THE O'QUINN LAW FIRM
PRITCHETT            KENNETH               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ANGEL                CLIFFORD W            TX         03CV0130         THE O'QUINN LAW FIRM
RABB                 BENNIE R              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ANGEL                TOMAS                 TX         03CV0113         THE O'QUINN LAW FIRM
REED                 WILLIE W              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            ARRIOLA              JIMMY                 TX         03CV0130         THE O'QUINN LAW FIRM
REICHERT             VIRGINIA E            TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            AVILA                JOSE                  TX         03CV0126         THE O'QUINN LAW FIRM
REICHERT             WILLIE                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            AYERS                CARL                  TX         03CV0120         THE O'QUINN LAW FIRM
REYNA                TOMAS S               TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BALL                 LUDIE DWIGHT          TX         03CV0120         THE O'QUINN LAW FIRM
ROSENKRANZ           JEANNETTE             TX         32001            THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BAREFIELD            ELIJAH                TX         2003CV0127       THE O'QUINN LAW FIRM
SCHAMERHORN          LOUIS E               TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BARRIGA              FRANCISCO             TX         03CV0125         THE O'QUINN LAW FIRM
SHELTON              GERALD D              TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BATTS                ROBERT                TX         03CV0122         THE O'QUINN LAW FIRM
SMITH                WILLIE G              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BEECHEM              CLARENCE              TX         03CV0117         THE O'QUINN LAW FIRM
SPRINGER             HAROLD ALVIN          TX         26995            THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BENAVIDES            RALPH F               TX         03CV0113         THE O'QUINN LAW FIRM
SWINT                WALTER L              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BENSON]              HUBERT                TX         03CV0117         THE O'QUINN LAW FIRM
VENTERS              MARY J                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BENTON               JAMES F               TX         03CV0120         THE O'QUINN LAW FIRM
WESTBROOK            JOE A                 TX         24355            THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BICKHAM              COMAZELL              TX         03CV0120         THE O'QUINN LAW FIRM
WILLIAMS             ARTHUR RAY            TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BLACK                RAY                   TX         03CV0123         THE O'QUINN LAW FIRM
WILLIAMS             ROBERT                TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BLACK                ROBERT M              TX         2003CV0116       THE O'QUINN LAW FIRM
WOODS                BEVERLY A             TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BLAKE                YVONNE                TX         03CV0126         THE O'QUINN LAW FIRM
WOOSTER              MICHAEL G             TX         24358PS03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BOUTTE               LOUIS                 TX         03CV0130         THE O'QUINN LAW FIRM
YBARRA               EDWARD J              TX         24380RM03        THE MICHAEL M. PHILLIPS LAW FIRM, PC                            BREAUX               PAUL                  TX         03CV0115         THE O'QUINN LAW FIRM
JONES                BETTY L               VA         203CV7364        THE MOODY LAW FIRM, INC.                                        BREWER               TOM                   TX         03CV0117         THE O'QUINN LAW FIRM
JONES                PAUL                  VA         203CV7364        THE MOODY LAW FIRM, INC.                                        BRIGGS               THOMAS                TX         03CV0128         THE O'QUINN LAW FIRM
SMITH                BARBARA A             VA         202CV7019        THE MOODY LAW FIRM, INC.                                        BRISTER              IRVIN H               TX         03CV0115         THE O'QUINN LAW FIRM
SMITH                CARBIE                VA         202CV7019        THE MOODY LAW FIRM, INC.                                        BROOKS               GEORGE                TX         03CV0120         THE O'QUINN LAW FIRM
ANKENY               IVAN PAUL             PA         20071632         THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               BROWN                CHARLES D             TX         03CV0125         THE O'QUINN LAW FIRM
ANKENY               PAULINE               PA         20071632         THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               BROWN                HUBERT                TX         B166705          THE O'QUINN LAW FIRM
BRADBURY             CARMEL G              WV         07C1697          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               BROWN                MARY                  TX         B166705          THE O'QUINN LAW FIRM
BRADBURY             WILLIAM D             WV         07C1697          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               BROWN                WALTER THOMAS         TX         B166705          THE O'QUINN LAW FIRM
CLAYCOMB             CAROLE                PA         GD13020449       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               BUSH                 JAMES F               TX         03CV0119         THE O'QUINN LAW FIRM
CORL                 DONALD                PA         GD13020449       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               BUTLER               WILLIAM               TX         03CV0115         THE O'QUINN LAW FIRM
CORL                 DONALD PAUL           PA         GD13020449       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CADENHEAD            ROBERT                TX         03CV0119         THE O'QUINN LAW FIRM
CORL                 RUTH L                PA         GD13020449       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CAMPOS               ENCARNACION           TX         03CV0114         THE O'QUINN LAW FIRM
DARIS                CAROLE                PA         GD09003212       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CARPENTER            JOHN                  TX         03CV0114         THE O'QUINN LAW FIRM
DARIS                EDWARD                PA         GD09003212       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CARRISALEZ           ALFREDO C             TX         2003CV0116       THE O'QUINN LAW FIRM
GOULD                MARIE C               WV         13C715           THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CARTER               ALBERT                TX         03CV0115         THE O'QUINN LAW FIRM
HARTSELL             RICHARD ALLEN         WV         08C3288          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CASTRO               FIDENCIO              TX         03CV0113         THE O'QUINN LAW FIRM
HARTSELL             SHIRLEY               WV         08C3288          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CASTRO               JIMMY                 TX         03CV0124         THE O'QUINN LAW FIRM
KACH                 FRANCES C             PA         GD09005173       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CHAMBERS             RICHARD               TX         03CV0117         THE O'QUINN LAW FIRM
KACH                 JOHN B                PA         GD09005173       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CHANCE               RONALD                TX         03CV0125         THE O'QUINN LAW FIRM
LANDIS               MARY A                PA         GD08002317       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CHANEY               HENRY                 TX         03CV0129         THE O'QUINN LAW FIRM
LANDIS               SPURGEON E            PA         GD08002317       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CHITTY               ALFRED                TX         03CV0122         THE O'QUINN LAW FIRM
LOPEZ                KATHRYN A             WV         09C1831          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CISNEROS             JESUS                 TX         03CV0113         THE O'QUINN LAW FIRM
LOPEZ                MICHAEL               WV         09C1831          THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CISNEROS             JIMMY                 TX         03CV0119         THE O'QUINN LAW FIRM
MCSWEGIN             WILLIAM RALPH         PA         GD08007741       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CLARK                ANTHONY               TX         03CV0129         THE O'QUINN LAW FIRM
MIZIKAR              LORIE                 PA         GD15010328       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CLAUDE               GEORGE E              TX         03CV0129         THE O'QUINN LAW FIRM
MIZIKAR              LORIE                 PA         GD16012038       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CLAUDE               HELEN                 TX         03CV0129         THE O'QUINN LAW FIRM
MIZIKAR              PAULA                 PA         GD15010328       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               COLEMAN              BILL                  TX         03CV0125         THE O'QUINN LAW FIRM
MIZIKAR              PAULA                 PA         GD16012038       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CONELY               BERT                  TX         03CV0120         THE O'QUINN LAW FIRM
MIZIKAR              THOMAS                PA         GD15010328       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               COOPER               WILLIAM JOEL          TX         03CV0120         THE O'QUINN LAW FIRM
MIZIKAR              THOMAS                PA         GD16012038       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               COOPER               WILLIAM S             TX         03CV0120         THE O'QUINN LAW FIRM
MIZIKAR              THOMAS I              PA         GD15010328       THE NEMEROFF LAW FIRM, A PROFESSIONAL CORPORATION               CORPIAN              GARY                  TX         03CV0125         THE O'QUINN LAW FIRM




                                                                                                                           Appendix A - 839
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 174 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COVINGTON            CHARLES J             TX         03CV0125         THE O'QUINN LAW FIRM                                 KINNEY               PAUL E                TX         03CV0112         THE O'QUINN LAW FIRM
COVINGTON            DEOLA                 TX         03CV0125         THE O'QUINN LAW FIRM                                 LAFLEUR              DONNELL               TX         03CV0128         THE O'QUINN LAW FIRM
CRANE                DONALD                TX         03CV0126         THE O'QUINN LAW FIRM                                 LANIUS               ROBBIE                TX         03CV0112         THE O'QUINN LAW FIRM
CURLEE               STERLING              TX         03CV0123         THE O'QUINN LAW FIRM                                 LARRALDE             JULIAN                TX         03CV0123         THE O'QUINN LAW FIRM
DAVIS                GRADY                 TX         03CV0117         THE O'QUINN LAW FIRM                                 LEADFORD             WILLIAM               TX         03CV0128         THE O'QUINN LAW FIRM
DAVIS                PRENTICE              TX         03CV0123         THE O'QUINN LAW FIRM                                 LEE                  SHIRLEY MARIE         TX         03CV0117         THE O'QUINN LAW FIRM
DEALBA               JOE                   TX         03CV0119         THE O'QUINN LAW FIRM                                 LEMARE               BILLY                 TX         03CV0129         THE O'QUINN LAW FIRM
DELEON               EUGENE                TX         03CV0123         THE O'QUINN LAW FIRM                                 LEWIS                JOHN EDWARD           TX         03CV0113         THE O'QUINN LAW FIRM
DENMAN               THOMAS                TX         03CV0118         THE O'QUINN LAW FIRM                                 LITTLE               JAMES                 TX         03CV0120         THE O'QUINN LAW FIRM
DERRYBERRY           HUBERT                TX         03CV0126         THE O'QUINN LAW FIRM                                 LOOSE                LLOYD HENRY           TX         03CV0119         THE O'QUINN LAW FIRM
DILLARD              BARBARA               TX         03CV0125         THE O'QUINN LAW FIRM                                 LOPEZ                ROBERTO               TX         03CV0125         THE O'QUINN LAW FIRM
DIXON                CLYDE                 TX         03CV0128         THE O'QUINN LAW FIRM                                 LOPEZ                TRINIDAD              TX         03CV0124         THE O'QUINN LAW FIRM
DIXON                JOE VERNON            TX         03CV0126         THE O'QUINN LAW FIRM                                 LOVE                 GARY                  TX         03CV0112         THE O'QUINN LAW FIRM
DODSON               BOBBY RAY             TX         03CV0130         THE O'QUINN LAW FIRM                                 LOVE                 KATHERN               TX         03CV0112         THE O'QUINN LAW FIRM
DOMINGUEZ            AVRAN                 TX         2003CV0116       THE O'QUINN LAW FIRM                                 LOWERY               MALCOLM               TX         03CV0126         THE O'QUINN LAW FIRM
EDISON               JUAN                  TX         2003CV0116       THE O'QUINN LAW FIRM                                 LUNA                 ALFONSO               TX         03CV0117         THE O'QUINN LAW FIRM
FIELDS               MICHAEL N             TX         03CV0129         THE O'QUINN LAW FIRM                                 LYNCH                JOHN H                TX         03CV0122         THE O'QUINN LAW FIRM
FLORES               ADAN                  TX         03CV0113         THE O'QUINN LAW FIRM                                 MABRY                WILLIAM               TX         03CV0117         THE O'QUINN LAW FIRM
FLORES               ANTONIO               TX         03CV0123         THE O'QUINN LAW FIRM                                 MADDOX               LYNN                  TX         03CV0125         THE O'QUINN LAW FIRM
FLORES               JOHNNY                TX         03CV0128         THE O'QUINN LAW FIRM                                 MARK                 ADA                   TX         03CV0126         THE O'QUINN LAW FIRM
FONTENOT             PHILMAN               TX         03CV0117         THE O'QUINN LAW FIRM                                 MARK                 LUTERS                TX         03CV0126         THE O'QUINN LAW FIRM
FRANCIS              DALTON                TX         03CV0128         THE O'QUINN LAW FIRM                                 MARTINEZ             EUSTOLIO              TX         03CV0114         THE O'QUINN LAW FIRM
FRANCO               JESUS V               TX         03CV0130         THE O'QUINN LAW FIRM                                 MARTINEZ             FABIAN                TX         03CV0114         THE O'QUINN LAW FIRM
FRANKLIN             CARLTON               TX         03CV0112         THE O'QUINN LAW FIRM                                 MARTINEZ             JESUS                 TX         03CV0114         THE O'QUINN LAW FIRM
FRANKS               R.V. V                TX         03CV0126         THE O'QUINN LAW FIRM                                 MARTINEZ             WENCESLAO             TX         2003CV0116       THE O'QUINN LAW FIRM
FUSELIER             LARRY D               TX         03CV0112         THE O'QUINN LAW FIRM                                 MATA                 ANTONIO               TX         03CV0129         THE O'QUINN LAW FIRM
GADDIS               WILLIAM               TX         03CV0120         THE O'QUINN LAW FIRM                                 MEAVE                JUAN                  TX         03CV0113         THE O'QUINN LAW FIRM
GARCIA               ADALBERTO MEDINA      TX         2003CV0116       THE O'QUINN LAW FIRM                                 MEDINA               RODOLFO               TX         2003CV0116       THE O'QUINN LAW FIRM
GARCIA               ELEAZAR               TX         2003CV0127       THE O'QUINN LAW FIRM                                 MEDRANO              ANTONIO               TX         2003CV0116       THE O'QUINN LAW FIRM
GARCIA               GUADALUPE             TX         03CV0125         THE O'QUINN LAW FIRM                                 MILLER               HARRY                 TX         03CV0120         THE O'QUINN LAW FIRM
GARCIA               MARTIN MIGUEL         TX         03CV0114         THE O'QUINN LAW FIRM                                 MILLER               LEONARD               TX         03CV0119         THE O'QUINN LAW FIRM
GARCIA               NARCISO               TX         03CV0124         THE O'QUINN LAW FIRM                                 MINGUS               GRADY                 TX         03CV0125         THE O'QUINN LAW FIRM
GARNER               LAWRENCE              TX         03CV0120         THE O'QUINN LAW FIRM                                 MOORE                JAMES                 TX         03CV0123         THE O'QUINN LAW FIRM
GARNER               SYLINDA SUE           TX         03CV0120         THE O'QUINN LAW FIRM                                 MOORE                JIMMIE                TX         03CV0112         THE O'QUINN LAW FIRM
GARZA                ABELARDO ORTIZ        TX         2003CV0116       THE O'QUINN LAW FIRM                                 MORENO               ALBERTO               TX         03CV0122         THE O'QUINN LAW FIRM
GARZA                HENRY M               TX         03CV0113         THE O'QUINN LAW FIRM                                 MORRIS               HUBERT FRANKLIN       TX         03CV0126         THE O'QUINN LAW FIRM
GARZA                LORENZO T             TX         2003CV0127       THE O'QUINN LAW FIRM                                 MORRISON             KENNETH R             TX         03CV0130         THE O'QUINN LAW FIRM
GARZA                NORMA                 TX         03CV0119         THE O'QUINN LAW FIRM                                 MOSES                BE THI                TX         03CV0115         THE O'QUINN LAW FIRM
GIVENS               CURTIS                TX         03CV0128         THE O'QUINN LAW FIRM                                 MOSES                RALPH O               TX         03CV0115         THE O'QUINN LAW FIRM
GLAZIER              LOSS                  TX         03CV0124         THE O'QUINN LAW FIRM                                 MOYER                RODNEY                TX         01719995303      THE O'QUINN LAW FIRM
GLOSTON              CURTIS                TX         03CV0118         THE O'QUINN LAW FIRM                                 NARANJO              FREDERICO H           TX         2003CV0127       THE O'QUINN LAW FIRM
GOLDSMITH            AJ                    TX         03CV0125         THE O'QUINN LAW FIRM                                 NEWTON               ARTHUR                TX         03CV0117         THE O'QUINN LAW FIRM
GONZALEZ             DANIEL                TX         03CV0112         THE O'QUINN LAW FIRM                                 NEWTON               MARY                  TX         03CV0117         THE O'QUINN LAW FIRM
GONZALEZ             JESUS                 TX         03CV0118         THE O'QUINN LAW FIRM                                 NICHOLS              J.C. C                TX         03CV0126         THE O'QUINN LAW FIRM
GRAY                 LOUIS                 TX         03CV0128         THE O'QUINN LAW FIRM                                 NONETTE              KELLY                 TX         03CV0128         THE O'QUINN LAW FIRM
GRIGGS               ROBERT                TX         03CV0115         THE O'QUINN LAW FIRM                                 NORLANDER            RALPH                 TX         03CV0115         THE O'QUINN LAW FIRM
GUAJARDO             NOE                   TX         2003CV0116       THE O'QUINN LAW FIRM                                 NURSE                CLIFTON               TX         03CV0123         THE O'QUINN LAW FIRM
GUIDRY               PERRY                 TX         03CV0130         THE O'QUINN LAW FIRM                                 OLDHAM               EDWARD JOEL           TX         03CV0126         THE O'QUINN LAW FIRM
GUTIEAREZ            ROMEO R               TX         03CV0114         THE O'QUINN LAW FIRM                                 OLSOVSKY             FRANK R               TX         2003CV0127       THE O'QUINN LAW FIRM
GUTIERREZ            CRUZ                  TX         03CV0118         THE O'QUINN LAW FIRM                                 ORTIZ                MARCOS                TX         03CV0124         THE O'QUINN LAW FIRM
HARBOUR              CECIL                 TX         03CV0126         THE O'QUINN LAW FIRM                                 O'SULLIVAN           JOSEPH                TX         03CV0126         THE O'QUINN LAW FIRM
HARPER               NOEL                  TX         03CV0125         THE O'QUINN LAW FIRM                                 OWENS                GARY                  TX         03CV0123         THE O'QUINN LAW FIRM
HARRIS               KENNETH               TX         03CV0112         THE O'QUINN LAW FIRM                                 PACHECO              YGNACIO               TX         03CV0124         THE O'QUINN LAW FIRM
HARRISON             WILLIAM               TX         03CV0120         THE O'QUINN LAW FIRM                                 PARISH               EDGAR                 TX         03CV0129         THE O'QUINN LAW FIRM
HEBERT               NOAH WILLIE           TX         03CV0115         THE O'QUINN LAW FIRM                                 PARKER               LESLIE R              TX         03CV0123         THE O'QUINN LAW FIRM
HEITMAN              JOHN                  TX         03CV0120         THE O'QUINN LAW FIRM                                 PARKHURST            JAMES                 TX         03CV0117         THE O'QUINN LAW FIRM
HERBERT              STEVEN                TX         03CV0115         THE O'QUINN LAW FIRM                                 PAYNE                DANIEL                TX         03CV0122         THE O'QUINN LAW FIRM
HESTER               ROBERT A              TX         03CV0130         THE O'QUINN LAW FIRM                                 PAYNE                FRANCES E             TX         03CV0122         THE O'QUINN LAW FIRM
HICKS                ELLIS                 TX         03CV0128         THE O'QUINN LAW FIRM                                 PELOQUIN             MARGIE                TX         03CV0118         THE O'QUINN LAW FIRM
HILTON               BILLY                 TX         03CV0123         THE O'QUINN LAW FIRM                                 PENA                 REYNALDO              TX         03CV0124         THE O'QUINN LAW FIRM
HOLLYFIELD           HANNON R              TX         03CV0128         THE O'QUINN LAW FIRM                                 PENNYGRAPH           JOE ADDIE             TX         03CV0130         THE O'QUINN LAW FIRM
HOSTLER              FREDDY                TX         03CV0117         THE O'QUINN LAW FIRM                                 PEREZ                CONSUELO              TX         014046E          THE O'QUINN LAW FIRM
HUFF                 CHRISTOPHER           TX         03CV0113         THE O'QUINN LAW FIRM                                 PEREZ                DEMENCIO              TX         03CV0113         THE O'QUINN LAW FIRM
HUFFMAN              KENNETH               TX         03CV0128         THE O'QUINN LAW FIRM                                 PEREZ                MELVA                 TX         014046E          THE O'QUINN LAW FIRM
JAIME                DAVID                 TX         03CV0113         THE O'QUINN LAW FIRM                                 PHILLIPS             ROBERT                TX         03CV0120         THE O'QUINN LAW FIRM
JERNIGAN             WILLIE                TX         03CV0126         THE O'QUINN LAW FIRM                                 POULIASIS            JOSEPH                TX         03CV0122         THE O'QUINN LAW FIRM
JOHNSON              DAVID                 TX         03CV0130         THE O'QUINN LAW FIRM                                 PRESCOTT             JESSE                 TX         03CV0115         THE O'QUINN LAW FIRM
JONES                CLYDE                 TX         03CV0117         THE O'QUINN LAW FIRM                                 RAINEY               MARSHALL              TX         03CV0117         THE O'QUINN LAW FIRM
KELBOWSKI            WILLIAM               TX         03CV0113         THE O'QUINN LAW FIRM                                 RAINWATER            DAVID                 TX         03CV0126         THE O'QUINN LAW FIRM
KELLY                WILLIE                TX         03CV0117         THE O'QUINN LAW FIRM                                 RAMIREZ              ADOLFO                TX         03CV0120         THE O'QUINN LAW FIRM
KING                 WALTER NEAL           TX         03CV0125         THE O'QUINN LAW FIRM                                 RAMIREZ              JUPITER               TX         03CV0124         THE O'QUINN LAW FIRM




                                                                                                            Appendix A - 840
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 175 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RAMOS                EDUARDO               TX         03CV0114         THE O'QUINN LAW FIRM                                 WRIGHT               HAROLD                TX         03CV0128         THE O'QUINN LAW FIRM
RANDOLPH             OVIE L                TX         03CV0115         THE O'QUINN LAW FIRM                                 YBARRA               PEDRO                 TX         2003CV0116       THE O'QUINN LAW FIRM
RASCON               SAUL F                TX         03CV0113         THE O'QUINN LAW FIRM                                 YEPEZ                DAVID                 TX         03CV0113         THE O'QUINN LAW FIRM
RAWLS                BILLY H               TX         03CV0128         THE O'QUINN LAW FIRM                                 YOUNG                KARA                  TX         03CV0115         THE O'QUINN LAW FIRM
REYES                ARTHUR                TX         03CV0113         THE O'QUINN LAW FIRM                                 YOUNG                LESTER P              TX         03CV0128         THE O'QUINN LAW FIRM
REYES                DOMINGO               TX         2003CV0116       THE O'QUINN LAW FIRM                                 YOUNG                THOMAS L              TX         03CV0119         THE O'QUINN LAW FIRM
REYNOLDS             KAREN                 TX         03CV0126         THE O'QUINN LAW FIRM                                 ZARATE               REYES                 TX         03CV0119         THE O'QUINN LAW FIRM
RIOJAS               RICHARD               TX         2003CV0116       THE O'QUINN LAW FIRM                                 AUSTIN               GENE RAYMOND          TX         024478E          THE PARRON FIRM
RIVERA               ANDREW                TX         03CV0124         THE O'QUINN LAW FIRM                                 DE LA PAZ            JOSE                  TX         026400F          THE PARRON FIRM
ROBERTSON            MELVIN                TX         03CV0130         THE O'QUINN LAW FIRM                                 GARZA                ALONZO M              TX         0200660H         THE PARRON FIRM
RODRIGUEZ            DAVID A               TX         03CV0124         THE O'QUINN LAW FIRM                                 HARRIS               DELOISE MARIE         TX         02C1321005       THE PARRON FIRM
ROJAS                JOSE R                TX         2003CV0127       THE O'QUINN LAW FIRM                                 KING                 PHILLIP MARTIN        TX         0106476000F      THE PARRON FIRM
ROMANCZYK            JOSEPH                TX         03CV0113         THE O'QUINN LAW FIRM                                 RODRIGUEZ            TEODORO               TX         0106476000F      THE PARRON FIRM
SAAUEDRA             SAM                   TX         03CV0114         THE O'QUINN LAW FIRM                                 WILSON               DAVID EARL            TX         03C0566202       THE PARRON FIRM
SALAS                ALBERTO               TX         03CV0118         THE O'QUINN LAW FIRM                                 WISHUM               LOUIS C               TX         03C0566202       THE PARRON FIRM
SALDIVAR             JUAN                  TX         03CV0113         THE O'QUINN LAW FIRM                                 AGENS                GARY                  CA         317404           THE PAUL LAW FIRM
SALGADO              JOE C                 TX         2003CV0116       THE O'QUINN LAW FIRM                                 AGENS                GERTRUDE              CA         317404           THE PAUL LAW FIRM
SALINAS              JOSE EMIGDIO          TX         03CV0113         THE O'QUINN LAW FIRM                                 AGENS                JOHN                  CA         317404           THE PAUL LAW FIRM
SAM                  HERBERT               TX         03CV0112         THE O'QUINN LAW FIRM                                 AGENS                RALPH                 CA         317404           THE PAUL LAW FIRM
SANCHEZ              LUCIANO               TX         2003CV0116       THE O'QUINN LAW FIRM                                 AIKEN                STEPHANIE A           CA         301318           THE PAUL LAW FIRM
SAND                 DAVID                 TX         03CV0129         THE O'QUINN LAW FIRM                                 ANGELL               ANTHONY J             CA         301663           THE PAUL LAW FIRM
SANDOVAL             PEDRO                 TX         03CV0125         THE O'QUINN LAW FIRM                                 ANGLIN               CYNTHIA               CA         301440           THE PAUL LAW FIRM
SCOTT                CHARLES               TX         03CV0112         THE O'QUINN LAW FIRM                                 ATKINSON             LINDA R               CA         316517           THE PAUL LAW FIRM
SCOTT                KD                    TX         03CV0128         THE O'QUINN LAW FIRM                                 BELARDES             RAYMOND T             CA         CGC05445995      THE PAUL LAW FIRM
SHEFFIELD            JB                    TX         03CV0117         THE O'QUINN LAW FIRM                                 BELARDES             VIRGINIA              CA         CGC05445995      THE PAUL LAW FIRM
SHELTON              RL                    TX         03CV0125         THE O'QUINN LAW FIRM                                 BULLOCK              CHRISTIAN             CA         303560           THE PAUL LAW FIRM
SHIELDS              BOBBY                 TX         03CV0125         THE O'QUINN LAW FIRM                                 BULLOCK              DONALD O              CA         303560           THE PAUL LAW FIRM
SHUPE                ANSEL S               TX         03CV0125         THE O'QUINN LAW FIRM                                 CADY                 PAUL E                CA         BC174974         THE PAUL LAW FIRM
SIEGEL               DONALD                TX         03CV0117         THE O'QUINN LAW FIRM                                 CAMPBELL             DIANA                 CA         301440           THE PAUL LAW FIRM
SMITH                JAMES H               TX         03CV0129         THE O'QUINN LAW FIRM                                 COLLINS              JASMINE M             CA         301300           THE PAUL LAW FIRM
SMITH                REVILY                TX         03CV0130         THE O'QUINN LAW FIRM                                 COLLINS              JOBIE                 CA         301300           THE PAUL LAW FIRM
SMITH                RODNEY                TX         03CV0128         THE O'QUINN LAW FIRM                                 CORTEZ               DOUGLAS R             CA         301298           THE PAUL LAW FIRM
SPEEGLE              AUGUST                TX         03CV0129         THE O'QUINN LAW FIRM                                 CORTEZ               LORI M                CA         301298           THE PAUL LAW FIRM
SPENCER              FLEET                 TX         03CV0112         THE O'QUINN LAW FIRM                                 COWART               CHRIS                 CA         301440           THE PAUL LAW FIRM
ST JUNIOR            NOLAND L              TX         03CV0115         THE O'QUINN LAW FIRM                                 CRAWFORD             PAUL A                CA         301666           THE PAUL LAW FIRM
STARNES              LAWRENCE              TX         03CV0123         THE O'QUINN LAW FIRM                                 CUBRA                TRACEY                CA         301463           THE PAUL LAW FIRM
STEPHENS             MARSHALL              TX         03CV0125         THE O'QUINN LAW FIRM                                 DAVIS                BRENT D               CA         301310           THE PAUL LAW FIRM
STEPHENS             MARVIN                TX         03CV0112         THE O'QUINN LAW FIRM                                 DAVIS                CATHERINE A           CA         412408           THE PAUL LAW FIRM
SVOBODA              DAVID                 TX         03CV0123         THE O'QUINN LAW FIRM                                 DAVIS                DAVID L               CA         301310           THE PAUL LAW FIRM
TALLY                FLOY L                TX         03CV0125         THE O'QUINN LAW FIRM                                 DAVIS                LYLE B                CA         301310           THE PAUL LAW FIRM
TEAGLE               JOE W                 TX         03CV0126         THE O'QUINN LAW FIRM                                 DAVIS                ROSEANN               CA         301310           THE PAUL LAW FIRM
THOMAS               CHARLIE               TX         03CV0128         THE O'QUINN LAW FIRM                                 DAVISON              MATTHEW               CA         301665           THE PAUL LAW FIRM
THOMAS               EDDIE                 TX         03CV0117         THE O'QUINN LAW FIRM                                 DAVISON              RONALD L              CA         301665           THE PAUL LAW FIRM
THOMAS               LARRY                 TX         03CV0119         THE O'QUINN LAW FIRM                                 DILLON               ORVAL T               CA         302120           THE PAUL LAW FIRM
THORNTON             STANLEY               TX         03CV0117         THE O'QUINN LAW FIRM                                 DODD                 CHARLIEN              CA         301459           THE PAUL LAW FIRM
TOATLEY              RONNIE                TX         03CV0120         THE O'QUINN LAW FIRM                                 DONOVAN              JOSEPHINE             CA         301315           THE PAUL LAW FIRM
TORRES               JOSE G                TX         03CV0113         THE O'QUINN LAW FIRM                                 DUKE                 CATHY                 CA         301295           THE PAUL LAW FIRM
TORRES               MARIA E               TX         03CV0113         THE O'QUINN LAW FIRM                                 DUKE                 DOUGLAS               CA         301295           THE PAUL LAW FIRM
TOWNSEND             PHILLIP               TX         03CV0124         THE O'QUINN LAW FIRM                                 DUKE                 JAMES H               CA         301295           THE PAUL LAW FIRM
TREVINO              TONY                  TX         03CV0113         THE O'QUINN LAW FIRM                                 DUKE                 JANICE                CA         301295           THE PAUL LAW FIRM
USEY                 WILLIAM               TX         03CV0129         THE O'QUINN LAW FIRM                                 DUKE                 JIMMY                 CA         301295           THE PAUL LAW FIRM
VASQUEZ              RAUL                  TX         03CV0115         THE O'QUINN LAW FIRM                                 DUKE                 RICK                  CA         301295           THE PAUL LAW FIRM
VEAL                 MARVIN                TX         03CV0122         THE O'QUINN LAW FIRM                                 DUKE                 STEVEN                CA         301295           THE PAUL LAW FIRM
VEGA                 SANTOS                TX         03CV0124         THE O'QUINN LAW FIRM                                 DUNN                 JOHNNIE M             CA         316517           THE PAUL LAW FIRM
VELA                 RAFAEL                TX         03CV0113         THE O'QUINN LAW FIRM                                 DUNN                 MARY J                CA         316517           THE PAUL LAW FIRM
VENEGAS              ELPIDIO               TX         03CV0125         THE O'QUINN LAW FIRM                                 DUNN                 MAYSOL E              CA         316517           THE PAUL LAW FIRM
VILLEGAS             CIRO                  TX         03CV0113         THE O'QUINN LAW FIRM                                 DYER                 JEANNE                CA         301308           THE PAUL LAW FIRM
WALDEN               MALCOLM               TX         03CV0125         THE O'QUINN LAW FIRM                                 DYER                 WILLIAM J             CA         301308           THE PAUL LAW FIRM
WALKER               JOHN EARL             TX         03CV0122         THE O'QUINN LAW FIRM                                 FARIA                DALLAS                CA         302045           THE PAUL LAW FIRM
WARD                 WOODROW               TX         03CV0122         THE O'QUINN LAW FIRM                                 FARIA                EUGENE F              CA         302045           THE PAUL LAW FIRM
WARRINGTON           EDWIN                 TX         03CV0125         THE O'QUINN LAW FIRM                                 FARIA                RANDALL               CA         302045           THE PAUL LAW FIRM
WATSON               NORMAN                TX         03CV0120         THE O'QUINN LAW FIRM                                 FARIA                RUTHELL               CA         302045           THE PAUL LAW FIRM
WATTS                MACK                  TX         03CV0125         THE O'QUINN LAW FIRM                                 FUHRMANN             HAROLD R              CA         301661           THE PAUL LAW FIRM
WERNTZ               EDWIN KEITH           TX         03CV0123         THE O'QUINN LAW FIRM                                 FUHRMANN             MICHELLE              CA         301661           THE PAUL LAW FIRM
WILKERSON            BILLY                 TX         03CV0113         THE O'QUINN LAW FIRM                                 GERACE               DEBORAH               CA         301445           THE PAUL LAW FIRM
WILKERSON            DOY                   TX         03CV0125         THE O'QUINN LAW FIRM                                 GLASS                THERESA L             CA         412408           THE PAUL LAW FIRM
WILLIAMS             RAYMOND               TX         03CV0125         THE O'QUINN LAW FIRM                                 GODMAN               DEBRA                 CA         301440           THE PAUL LAW FIRM
WILLIS               RUDY                  TX         03CV0120         THE O'QUINN LAW FIRM                                 GOIN                 KATHLEEN              CA         301459           THE PAUL LAW FIRM
WILMAN               JOEL                  TX         03CV0113         THE O'QUINN LAW FIRM                                 GOLD                 JODY L                CA         301665           THE PAUL LAW FIRM
WILSON               JIMMY                 TX         03CV0125         THE O'QUINN LAW FIRM                                 GOLDSTEIN            TAMARA                CA         301448           THE PAUL LAW FIRM
WOODARD              HAROLD                TX         03CV0128         THE O'QUINN LAW FIRM                                 GOSNEY               BEVERLY               CA         301324           THE PAUL LAW FIRM




                                                                                                            Appendix A - 841
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 176 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GOSNEY               DON                   CA         301324           THE PAUL LAW FIRM                                    O'REAR               JAY DENNIS            CA         301374           THE PAUL LAW FIRM
GOSNEY               ELDRITH A             CA         301324           THE PAUL LAW FIRM                                    O'REAR               JAYMIRE DEAN          CA         301374           THE PAUL LAW FIRM
GOSNEY               VERN                  CA         301324           THE PAUL LAW FIRM                                    PATTERSON            CHARLES A             CA         308350           THE PAUL LAW FIRM
GOSNEY               VERNON JR             CA         301324           THE PAUL LAW FIRM                                    PATTERSON            JOSEPH                CA         308350           THE PAUL LAW FIRM
GRANT                ALAN P                CA         301322           THE PAUL LAW FIRM                                    PATTERSON            SANDRA                CA         308350           THE PAUL LAW FIRM
GRANT                DIANA                 CA         317404           THE PAUL LAW FIRM                                    PATTERSON            THOMAS                CA         308350           THE PAUL LAW FIRM
GRANT                YVAUGHN               CA         301322           THE PAUL LAW FIRM                                    PIGOTT               LEO T                 CA         301454           THE PAUL LAW FIRM
GRAY                 ESTHER                CA         CGC05441989      THE PAUL LAW FIRM                                    PIGOTT               NOLA                  CA         301454           THE PAUL LAW FIRM
GUTHRIDGE            DAVID                 CA         301325           THE PAUL LAW FIRM                                    POWELL               TANYA                 CA         301376           THE PAUL LAW FIRM
GUTHRIDGE            MICHAEL               CA         301325           THE PAUL LAW FIRM                                    PRATHER              ELIZABETH             CA         301453           THE PAUL LAW FIRM
GUTRIDGE             EARLENE               CA         301325           THE PAUL LAW FIRM                                    PRATHER              ERNEST P              CA         301453           THE PAUL LAW FIRM
GUTRIDGE             RONALD A              CA         301325           THE PAUL LAW FIRM                                    PRATHER              LLOYD E               CA         301453           THE PAUL LAW FIRM
GWERDER              LAURIE                CA         301445           THE PAUL LAW FIRM                                    REYES                DEBBIE                CA         301463           THE PAUL LAW FIRM
HANKES               GENE                  CA         RG18899286       THE PAUL LAW FIRM                                    ROBERTS              MARIANNE              CA         301379           THE PAUL LAW FIRM
HANKES               VIRGINIA              CA         RG18899286       THE PAUL LAW FIRM                                    ROBINSON             IRENE                 CA         316517           THE PAUL LAW FIRM
HARRISON             JOHN M                CA         301307           THE PAUL LAW FIRM                                    SAMFORD              FOREST J              CA         301466           THE PAUL LAW FIRM
HARRISON             LINDA                 CA         301307           THE PAUL LAW FIRM                                    SAMFORD              FREDALE               CA         301466           THE PAUL LAW FIRM
HENRY                DEBORAH LYNN          CA         301374           THE PAUL LAW FIRM                                    SAMFORD              JOE                   CA         301466           THE PAUL LAW FIRM
HERWAT               IRENE                 CA         301315           THE PAUL LAW FIRM                                    SAXBY                MARY J                CA         301453           THE PAUL LAW FIRM
HERWAT               ROBERT                CA         301315           THE PAUL LAW FIRM                                    SCHINGLE             WALTER C              CA         CGC02407444      THE PAUL LAW FIRM
HERWAT               VERNON                CA         301315           THE PAUL LAW FIRM                                    SCOTT                GLEN                  CA         301458           THE PAUL LAW FIRM
HODGE                TANYA                 CA         CGC05441989      THE PAUL LAW FIRM                                    SCOTT                MAE B                 CA         301458           THE PAUL LAW FIRM
HOLMAN               BETTY                 CA         301314           THE PAUL LAW FIRM                                    SCOTT                MARTIN L              CA         301458           THE PAUL LAW FIRM
HOLMAN               GERALD                CA         301314           THE PAUL LAW FIRM                                    SCOTT                ROBERT                CA         301458           THE PAUL LAW FIRM
HOLMAN               JAMES L               CA         301314           THE PAUL LAW FIRM                                    SCOTT                RUSSELL               CA         301458           THE PAUL LAW FIRM
HOLMAN               ODELL R               CA         301314           THE PAUL LAW FIRM                                    SHERIDAN             BONNIE                CA         301464           THE PAUL LAW FIRM
JACOBS               AMBER                 CA         RG18927446       THE PAUL LAW FIRM                                    SHERIDAN             GARY                  CA         301464           THE PAUL LAW FIRM
JENSEN               GABRIELA              CA         301372           THE PAUL LAW FIRM                                    SHERIDAN             HARRY M               CA         301464           THE PAUL LAW FIRM
JOHNSON              ANNIE                 CA         301316           THE PAUL LAW FIRM                                    SHERIDAN             PATRICIA              CA         301464           THE PAUL LAW FIRM
JOHNSON              WILLIAM               CA         301316           THE PAUL LAW FIRM                                    SIGLER               JOHN W                CA         301671           THE PAUL LAW FIRM
JONES                ADELHELD              CA         301318           THE PAUL LAW FIRM                                    SILBER               PEARL                 CA         301448           THE PAUL LAW FIRM
JONES                DONALD L              CA         301318           THE PAUL LAW FIRM                                    SILBER               STEPHEN               CA         301448           THE PAUL LAW FIRM
JONES                JENNIE R              CA         301309           THE PAUL LAW FIRM                                    SILBER               WERNER W              CA         301448           THE PAUL LAW FIRM
JONES                LEE VERNON PAUL       CA         301309           THE PAUL LAW FIRM                                    SPRAGUE              HEIDI MARIE           CA         301318           THE PAUL LAW FIRM
KIRKENDALL           CLAIRE                CA         301319           THE PAUL LAW FIRM                                    STAPF                DONALD D              CA         305204           THE PAUL LAW FIRM
KIRKENDALL           FRED                  CA         301319           THE PAUL LAW FIRM                                    STAPF                GERALDINE             CA         305204           THE PAUL LAW FIRM
KUSH                 GLORIA                CA         317404           THE PAUL LAW FIRM                                    STEINBERG            ALBERT L              CA         301445           THE PAUL LAW FIRM
LAUDERDALE           KENNETH               CA         301669           THE PAUL LAW FIRM                                    STEINBERG            CAROLE JUDITH         CA         301445           THE PAUL LAW FIRM
LAUDERDALE           VERNON M              CA         301669           THE PAUL LAW FIRM                                    STEINBERG            DANIEL                CA         301445           THE PAUL LAW FIRM
LUOMALA              LEONARD E             CA         301373           THE PAUL LAW FIRM                                    STEINBERG            ROBERT                CA         301445           THE PAUL LAW FIRM
LUOMALA              SAIMI                 CA         301373           THE PAUL LAW FIRM                                    STURGES              CAROL                 CA         307893           THE PAUL LAW FIRM
MACKING              ALEXIS                CA         301659           THE PAUL LAW FIRM                                    STURGES              EDWIN P               CA         307893           THE PAUL LAW FIRM
MACKING              AZILEA                CA         301659           THE PAUL LAW FIRM                                    TATE                 JACK E                CA         301463           THE PAUL LAW FIRM
MACKING              SILAS JR              CA         301659           THE PAUL LAW FIRM                                    TATE                 KAREN L               CA         301463           THE PAUL LAW FIRM
MANISCALCO           LUCIANO               CA         309484           THE PAUL LAW FIRM                                    THOMPSON             BERNICE               CA         301459           THE PAUL LAW FIRM
MANN                 CHERYL                CA         301659           THE PAUL LAW FIRM                                    THOMPSON             DENNIS                CA         301459           THE PAUL LAW FIRM
MARTINEZ             DAVID                 CA         CGC05441989      THE PAUL LAW FIRM                                    THOMPSON             NETA E                CA         301453           THE PAUL LAW FIRM
MARTINEZ             JONATHAN              CA         CGC05441989      THE PAUL LAW FIRM                                    THOMPSON             OWEN C                CA         301459           THE PAUL LAW FIRM
MARTINEZ             MARISE S              CA         CGC05441989      THE PAUL LAW FIRM                                    TOMADA               DEBBIE                CA         301457           THE PAUL LAW FIRM
MARTINEZ             THOMAS B              CA         CGC05441989      THE PAUL LAW FIRM                                    TOY                  TAMI                  CA         301457           THE PAUL LAW FIRM
MATSON               ARLENE M              CA         301377           THE PAUL LAW FIRM                                    TRUBELL              ELDON E               CA         CGC02406011      THE PAUL LAW FIRM
MATSON               GEORGE B              CA         301377           THE PAUL LAW FIRM                                    TRUBELL              RITA MARY             CA         CGC02406011      THE PAUL LAW FIRM
MCKEE                SANDRA                CA         301376           THE PAUL LAW FIRM                                    TRUBELL              ROBERT J              CA         CGC02406011      THE PAUL LAW FIRM
MCLEAN               NEIL JR               CA         301376           THE PAUL LAW FIRM                                    TRUBELL              VICTORIA L            CA         CGC02406011      THE PAUL LAW FIRM
MCLEAN               NEIL O                CA         301376           THE PAUL LAW FIRM                                    UPTON                BEN G                 CA         301452           THE PAUL LAW FIRM
MEDEIROS             CAROL J               CA         301379           THE PAUL LAW FIRM                                    UPTON                MARTHA ANN            CA         301452           THE PAUL LAW FIRM
MEDEIROS             RICARDO J             CA         301379           THE PAUL LAW FIRM                                    VENTI                WESLEY G              CA         301664           THE PAUL LAW FIRM
MEDEIROS             SHAUN                 CA         301379           THE PAUL LAW FIRM                                    VIALE                DEBBIE L              CA         RG18927446       THE PAUL LAW FIRM
MEDEIROS             STEVE                 CA         301379           THE PAUL LAW FIRM                                    VIALE                RONALD                CA         RG18927446       THE PAUL LAW FIRM
MEDOWS               DEBORAH               CA         301324           THE PAUL LAW FIRM                                    VIGNA                PETER F               CA         301460           THE PAUL LAW FIRM
MOORE                JACKIE                CA         301463           THE PAUL LAW FIRM                                    VULRIERA             ANGELIHA              CA         301372           THE PAUL LAW FIRM
MORRIS               GEORGIA               CA         301371           THE PAUL LAW FIRM                                    WALKER               BEVERLY D             CA         301462           THE PAUL LAW FIRM
MORRIS               PAUL                  CA         301371           THE PAUL LAW FIRM                                    WALKER               EDDIE                 CA         301457           THE PAUL LAW FIRM
MORRIS               WILLIAM JR            CA         301371           THE PAUL LAW FIRM                                    WALKER               GEORGE K              CA         301462           THE PAUL LAW FIRM
MORRIS               WILLIAM T             CA         301371           THE PAUL LAW FIRM                                    WALKER               JAMES D               CA         301457           THE PAUL LAW FIRM
MORRISON             ANNETTE               CA         CGC05441989      THE PAUL LAW FIRM                                    WALKER               KENNETH G             CA         301462           THE PAUL LAW FIRM
MULLER               JAKOB                 CA         301372           THE PAUL LAW FIRM                                    WALKER               SANDRA                CA         301457           THE PAUL LAW FIRM
MULLER               KATHE                 CA         301372           THE PAUL LAW FIRM                                    WALKER-DEGELDER      BEVERLY               CA         301462           THE PAUL LAW FIRM
MULLER-VANERELD      URSULA                CA         301372           THE PAUL LAW FIRM                                    WARD                 SHARON LEE            CA         302120           THE PAUL LAW FIRM
O'REAR               BILLIE RUTH           CA         301374           THE PAUL LAW FIRM                                    WARNER               JANICE M              CA         CGC02406011      THE PAUL LAW FIRM
O'REAR               JD                    CA         301374           THE PAUL LAW FIRM                                    WHITE                JOHN J                CA         412408           THE PAUL LAW FIRM




                                                                                                            Appendix A - 842
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 177 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

WHITE                JOHN P                CA         412408           THE PAUL LAW FIRM                                    COLLIGAN             KATHLEEN              MA         173771            THE SHEPARD LAW FIRM, P.C.
WHITE                MARJORIE              CA         412408           THE PAUL LAW FIRM                                    CONTONIO             PETER                 MA         193579            THE SHEPARD LAW FIRM, P.C.
WILLBURN             DEL S                 CA         301442           THE PAUL LAW FIRM                                    COOK                 PAMELA                MA         183400            THE SHEPARD LAW FIRM, P.C.
WILLBURN             JEAN                  CA         301442           THE PAUL LAW FIRM                                    COWEN                DAVID                 MA         173654            THE SHEPARD LAW FIRM, P.C.
WILLIAMS             DIANNA LYNN           CA         301374           THE PAUL LAW FIRM                                    COWEN                WENDY                 MA         173654            THE SHEPARD LAW FIRM, P.C.
WOOD                 BARBARA               CA         301441           THE PAUL LAW FIRM                                    CROWLEY              ANN MARIE             MA         024346            THE SHEPARD LAW FIRM, P.C.
WOOD                 GEORGE C              CA         301441           THE PAUL LAW FIRM                                    CROWLEY              ROBERT G              MA         024346            THE SHEPARD LAW FIRM, P.C.
WOODWORTH            PAUL A                CA         301440           THE PAUL LAW FIRM                                    DIGERONIMO           ELLEN                 MA         193474            THE SHEPARD LAW FIRM, P.C.
BREWER               CHRISTINA             IL         12L1759          THE PERICA LAW FIRM, PC                              DIGERONIMO           RALPH                 MA         193474            THE SHEPARD LAW FIRM, P.C.
CUNNINGHAM           DELBERT               IL         14L328           THE PERICA LAW FIRM, PC                              DINON                PATRICIA J            MA         191101            THE SHEPARD LAW FIRM, P.C.
CUNNINGHAM           SHARON K              IL         14L328           THE PERICA LAW FIRM, PC                              DION                 JOHN                  MA         193612            THE SHEPARD LAW FIRM, P.C.
SONSOUCIE            JOHN L                IL         13L1656          THE PERICA LAW FIRM, PC                              DION                 SANDRA                MA         193612            THE SHEPARD LAW FIRM, P.C.
SONSOUCIE            RONALD L              IL         13L1656          THE PERICA LAW FIRM, PC                              DOSKOCIL             DOUGLAS               MA         193578            THE SHEPARD LAW FIRM, P.C.
SPENCER              LESLIE                IL         12L1759          THE PERICA LAW FIRM, PC                              DREW                 WILLIAM T             MA         084791            THE SHEPARD LAW FIRM, P.C.
TURNEY               GERALD R              IL         13L867           THE PERICA LAW FIRM, PC                              ELIOPOULOS           THEANO                MA         173673            THE SHEPARD LAW FIRM, P.C.
TURNEY               LOURDES               IL         13L867           THE PERICA LAW FIRM, PC                              ELLISON              KATERI                MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
WYNN                 ELIZABETH             IL         13L342           THE PERICA LAW FIRM, PC                              ELLISON              LARRY C               MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
WYNN                 STEVAN RAY            IL         13L342           THE PERICA LAW FIRM, PC                              ENIS                 JUDITH                MA         173397            THE SHEPARD LAW FIRM, P.C.
BILBROUGH            B KEITH               MD         24X07000516      THE RUCKDESCHEL LAW FIRM, LLC                        ENIS                 PETER                 MA         173397            THE SHEPARD LAW FIRM, P.C.
BILBROUGH            GAIL M                MD         24X07000516      THE RUCKDESCHEL LAW FIRM, LLC                        FAHLBECK             ROBERT                MA         183635            THE SHEPARD LAW FIRM, P.C.
BILBROUGH            WILLIAM G             MD         24X07000516      THE RUCKDESCHEL LAW FIRM, LLC                        FAHLBECK             SUSAN                 MA         183635            THE SHEPARD LAW FIRM, P.C.
BRANNAN              DONNA                 MD         24X11000017      THE RUCKDESCHEL LAW FIRM, LLC                        FORREST              HEATHER               MA         183715            THE SHEPARD LAW FIRM, P.C.
CAMERON              SAMUEL C              FL         2019036086CA01   THE RUCKDESCHEL LAW FIRM, LLC                        FOURNIER             CAROL                 MA         173650            THE SHEPARD LAW FIRM, P.C.
EDWARDS              LINDA                 MD         24X11000375      THE RUCKDESCHEL LAW FIRM, LLC                        FOURNIER             HENRY                 MA         173650            THE SHEPARD LAW FIRM, P.C.
HALLMAN              EUGENE A              MD         24X08000249      THE RUCKDESCHEL LAW FIRM, LLC                        FRENCH               DONALD                MA         182363            THE SHEPARD LAW FIRM, P.C.
HASH                 CHARLES EDWARD        MD         24X11000017      THE RUCKDESCHEL LAW FIRM, LLC                        FRULLA               ANTHONY               MA         163306            THE SHEPARD LAW FIRM, P.C.
HASH                 JONATHAN RICHARD      MD         24X11000017      THE RUCKDESCHEL LAW FIRM, LLC                        FRULLA               JUDITH                MA         163306            THE SHEPARD LAW FIRM, P.C.
HASH                 MARY JEAN             MD         24X11000017      THE RUCKDESCHEL LAW FIRM, LLC                        GALOTTI              ANNA                  MA         193609            THE SHEPARD LAW FIRM, P.C.
KELLY                HELEN MARGARET        MD         24X11000375      THE RUCKDESCHEL LAW FIRM, LLC                        GALOTTI              NICHOLAS              MA         193609            THE SHEPARD LAW FIRM, P.C.
KELLY                JAMES PAUL            MD         24X11000375      THE RUCKDESCHEL LAW FIRM, LLC                        GERANIOTIS           GEORGE                MA         173673            THE SHEPARD LAW FIRM, P.C.
KOWCHECK             REGIS F               MD         24X09000186      THE RUCKDESCHEL LAW FIRM, LLC                        GREEN                PATRICIA NORAIR       MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
LAWSON               MARY                  MD         24X07000029      THE RUCKDESCHEL LAW FIRM, LLC                        HARDY                CHARLES               MA         170419            THE SHEPARD LAW FIRM, P.C.
LAWSON               NAYMAN J              MD         24X07000029      THE RUCKDESCHEL LAW FIRM, LLC                        HEALEY               JAMES                 MA         193610            THE SHEPARD LAW FIRM, P.C.
LEE                  LINDA                 MD         24X11000017      THE RUCKDESCHEL LAW FIRM, LLC                        HUNT                 JAMES                 MA         192235            THE SHEPARD LAW FIRM, P.C.
MASON                NORMAN WALTER         MD         24X19000018      THE RUCKDESCHEL LAW FIRM, LLC                        HUNT                 PAMELA                MA         192235            THE SHEPARD LAW FIRM, P.C.
MASON                SHIRLEY K             MD         24X19000018      THE RUCKDESCHEL LAW FIRM, LLC                        KNIGHT               WALLACE               MA         193577            THE SHEPARD LAW FIRM, P.C.
MAY                  PHILIP ROYCE          MD         24X12000425      THE RUCKDESCHEL LAW FIRM, LLC                        KUNST                DONNA                 MA         182497            THE SHEPARD LAW FIRM, P.C.
MAY                  RUTH BELCHE           MD         24X12000425      THE RUCKDESCHEL LAW FIRM, LLC                        LACHAPELLE           EVELYN                MA         182381            THE SHEPARD LAW FIRM, P.C.
PROCTOR              PAMELA                MD         24X11000017      THE RUCKDESCHEL LAW FIRM, LLC                        LONG                 MARK                  MA         182365            THE SHEPARD LAW FIRM, P.C.
RICE                 GEORGE SAMUEL         MD         24X09000386      THE RUCKDESCHEL LAW FIRM, LLC                        MACMURRAY            CHARLES               MA         183644            THE SHEPARD LAW FIRM, P.C.
RICE                 MARY A                MD         24X09000386      THE RUCKDESCHEL LAW FIRM, LLC                        MACMURRAY            RITA                  MA         183644            THE SHEPARD LAW FIRM, P.C.
ROBERTS              IRENE E               MD         24X08000469      THE RUCKDESCHEL LAW FIRM, LLC                        MCALLISTER           DONNA                 MA         191102            THE SHEPARD LAW FIRM, P.C.
ROBERTS              WILLIAM C             MD         24X08000469      THE RUCKDESCHEL LAW FIRM, LLC                        MCCAULEY             DEBORAH               MA         183637            THE SHEPARD LAW FIRM, P.C.
SHOPE                NANCY                 MD         24X11000375      THE RUCKDESCHEL LAW FIRM, LLC                        MCCAULEY             OWEN                  MA         183637            THE SHEPARD LAW FIRM, P.C.
ALBEE                EVERETT T             MA         114661           THE SHEPARD LAW FIRM, P.C.                           MCGEE                DEBORAH               MA         183636            THE SHEPARD LAW FIRM, P.C.
ALBEE                PATRICIA P            MA         114661           THE SHEPARD LAW FIRM, P.C.                           MCGEE                GARY                  MA         183636            THE SHEPARD LAW FIRM, P.C.
ALIOTTA              PATRICIA              MA         191101           THE SHEPARD LAW FIRM, P.C.                           MCNAMARA             JUDITH                MA         156837            THE SHEPARD LAW FIRM, P.C.
ALIOTTA              ROBERT MICHAEL        MA         191101           THE SHEPARD LAW FIRM, P.C.                           MCNAMARA             MICHAEL               MA         156837            THE SHEPARD LAW FIRM, P.C.
ALLEN                DIANE                 MA         173665           THE SHEPARD LAW FIRM, P.C.                           MISAK                JANET                 MA         114659            THE SHEPARD LAW FIRM, P.C.
ALLEN                RICHARD               MA         173665           THE SHEPARD LAW FIRM, P.C.                           MISAK                PETER                 MA         114659            THE SHEPARD LAW FIRM, P.C.
AZEVEDO              JAMES                 MA         192914           THE SHEPARD LAW FIRM, P.C.                           MOORE                GERALD                MA         192536            THE SHEPARD LAW FIRM, P.C.
AZEVEDO              WANDA                 MA         192914           THE SHEPARD LAW FIRM, P.C.                           MOTTA                JOSEPH                MA         192536            THE SHEPARD LAW FIRM, P.C.
BEERMAN              HENRY                 MA         182364           THE SHEPARD LAW FIRM, P.C.                           MURRIN               BARBARA               MA         193313            THE SHEPARD LAW FIRM, P.C.
BEERMAN              SHIRLEY               MA         182364           THE SHEPARD LAW FIRM, P.C.                           MURRIN               EDWARD                MA         193313            THE SHEPARD LAW FIRM, P.C.
BELLINO              JOSEPH B              MA         173659           THE SHEPARD LAW FIRM, P.C.                           NALLY                GAIL                  MA         094990            THE SHEPARD LAW FIRM, P.C.
BELLINO              SUSANNA               MA         173659           THE SHEPARD LAW FIRM, P.C.                           NEAL                 JOHN                  MA         193580            THE SHEPARD LAW FIRM, P.C.
BELLIVEAU            JANET                 MA         156840           THE SHEPARD LAW FIRM, P.C.                           NEAL                 RAQUEL                MA         193580            THE SHEPARD LAW FIRM, P.C.
BELLIVEAU            RICHARD               MA         156840           THE SHEPARD LAW FIRM, P.C.                           NESTOR               SIEGLINDE             MA         054529            THE SHEPARD LAW FIRM, P.C.
BENNETT              ERIC                  MA         156808           THE SHEPARD LAW FIRM, P.C.                           NESTOR               VINCENT               MA         054529            THE SHEPARD LAW FIRM, P.C.
BENNETT              WARREN                MA         156808           THE SHEPARD LAW FIRM, P.C.                           NICHOLLS             MEREDITH ANN          MA         031701            THE SHEPARD LAW FIRM, P.C.
BERNDT               DAVID                 MA         163635           THE SHEPARD LAW FIRM, P.C.                           NORAIR               ALICE                 MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
BERNDT               KENDRA                MA         163635           THE SHEPARD LAW FIRM, P.C.                           NORAIR               ALICE B               MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
BLAKE                JOHN                  MA         192234           THE SHEPARD LAW FIRM, P.C.                           NORAIR               JILL S                MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
BLEAU                PETER                 MA         173644           THE SHEPARD LAW FIRM, P.C.                           NORAIR               RICHARD H             MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
BLEAU                ROBERT                MA         173644           THE SHEPARD LAW FIRM, P.C.                           NORAIR               STEPHEN G             MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.
BLOW                 RONALD                MA         183715           THE SHEPARD LAW FIRM, P.C.                           PAQUETTE             ALVIN                 MA         193472            THE SHEPARD LAW FIRM, P.C.
BUSH                 LYNETTE               MA         182381           THE SHEPARD LAW FIRM, P.C.                           PARKS                DEBORAH               MA         163646            THE SHEPARD LAW FIRM, P.C.
CATALANO-HEALEY      VICTORIA              MA         193610           THE SHEPARD LAW FIRM, P.C.                           PARKS                NEAL                  MA         163646            THE SHEPARD LAW FIRM, P.C.
CAVANAUGH            ROBERT                MA         156954           THE SHEPARD LAW FIRM, P.C.                           PERRY                EILEEN                MA         156809            THE SHEPARD LAW FIRM, P.C.
CHAMBERLAIN          JUDITH                MA         191100           THE SHEPARD LAW FIRM, P.C.                           PERRY                WILLIAM               MA         156809            THE SHEPARD LAW FIRM, P.C.
CHAMBERLAIN          PAUL                  MA         191100           THE SHEPARD LAW FIRM, P.C.                           PIRES                AGNES                 MA         015578            THE SHEPARD LAW FIRM, P.C.




                                                                                                            Appendix A - 843
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 178 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                             Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PIRES                MANUEL                MA         015578            THE SHEPARD LAW FIRM, P.C.                            MAICHIN              BARBARA               NY         1901742019       THE WILLIAMS LAW FIRM, PC
PRICE                DONNA                 MA         193608            THE SHEPARD LAW FIRM, P.C.                            MAICHIN              ROBERT                NY         1901742019       THE WILLIAMS LAW FIRM, PC
PRICE                RICHARD               MA         193608            THE SHEPARD LAW FIRM, P.C.                            MCGUIRE              TRACY                 NY         1903152016       THE WILLIAMS LAW FIRM, PC
PURNER               CLINTON JEFFERSON     MD         24X04000082OWIL   THE SHEPARD LAW FIRM, P.C.                            MORRIS               FREDERICK G           NY         1900592016       THE WILLIAMS LAW FIRM, PC
QUINTAL              JAMES                 MA         193611            THE SHEPARD LAW FIRM, P.C.                            MORRIS               NORMA                 NY         1900592016       THE WILLIAMS LAW FIRM, PC
QUINTAL              JEANNE                MA         193611            THE SHEPARD LAW FIRM, P.C.                            MUNNI                ANGELO                NY         1900812019       THE WILLIAMS LAW FIRM, PC
RACICOT              MARY                  MA         148992            THE SHEPARD LAW FIRM, P.C.                            MUNNI                MARYANN               NY         1900812019       THE WILLIAMS LAW FIRM, PC
RACICOT              STEPHEN               MA         148992            THE SHEPARD LAW FIRM, P.C.                            OLIVEIRA             MANUEL N              NY         1900382015       THE WILLIAMS LAW FIRM, PC
RAYMOND              ELAINE                MA         182363            THE SHEPARD LAW FIRM, P.C.                            PASCO                SHANE JAY             NY         1902052019       THE WILLIAMS LAW FIRM, PC
REYNOLDS             GLENN                 MA         156839            THE SHEPARD LAW FIRM, P.C.                            PERALTA              ROSAURA               NY         1901312012       THE WILLIAMS LAW FIRM, PC
REYNOLDS             PATRICIA              MA         156839            THE SHEPARD LAW FIRM, P.C.                            PRESTIFILIPPO        NICOLINA              NY         1902062019       THE WILLIAMS LAW FIRM, PC
ROCHE                DOMINIC               MA         182362            THE SHEPARD LAW FIRM, P.C.                            PRESTIFILIPPO        SIDNEY J              NY         1902062019       THE WILLIAMS LAW FIRM, PC
ROSENBERG            WILBERT               MA         173770            THE SHEPARD LAW FIRM, P.C.                            RAMUNDO              FRANK                 NY         1900362015       THE WILLIAMS LAW FIRM, PC
ROSENMAN             STEPHEN               MA         183400            THE SHEPARD LAW FIRM, P.C.                            RAMUNDO              RITA                  NY         1900362015       THE WILLIAMS LAW FIRM, PC
RUMBLE               RICHARD               MA         173771            THE SHEPARD LAW FIRM, P.C.                            ROMANO               WILLIAM               NY         1901602015       THE WILLIAMS LAW FIRM, PC
RYAN                 DARLENE               MA         182362            THE SHEPARD LAW FIRM, P.C.                            SIEGEL               HOWARD                NY         1901402017       THE WILLIAMS LAW FIRM, PC
SADOWSKI             WALTER                MA         182497            THE SHEPARD LAW FIRM, P.C.                            SYKES                BARBARA               NY         1902012015       THE WILLIAMS LAW FIRM, PC
SHATKIN              JOYCE                 MA         173770            THE SHEPARD LAW FIRM, P.C.                            SYKES                JOHNNIE L             NY         1902012015       THE WILLIAMS LAW FIRM, PC
SYKES                WALLACE               MA         193577            THE SHEPARD LAW FIRM, P.C.                            THURMOND             BENNIE                NY         1900302018       THE WILLIAMS LAW FIRM, PC
THIBAULT             BRENDA                MA         054532            THE SHEPARD LAW FIRM, P.C.                            THURMOND             BRENDA                NY         1900302018       THE WILLIAMS LAW FIRM, PC
THIBAULT             BRIAN E               MA         054532            THE SHEPARD LAW FIRM, P.C.                            VAVALLO              PINA                  NY         1901402015       THE WILLIAMS LAW FIRM, PC
TREMAINE             MARIE                 MA         015580            THE SHEPARD LAW FIRM, P.C.                            VAVALLO              VINCENZO              NY         1901402015       THE WILLIAMS LAW FIRM, PC
TREMAINE             ROGER E               MA         015580            THE SHEPARD LAW FIRM, P.C.                            VILLANO              CAROL ANN             NY         1901402017       THE WILLIAMS LAW FIRM, PC
URICHUK              ANNE                  MA         094991            THE SHEPARD LAW FIRM, P.C.                            WELCH                VERDIS                NY         1904692018       THE WILLIAMS LAW FIRM, PC
URICHUK              WILLIAM D             MA         094991            THE SHEPARD LAW FIRM, P.C.                            WORCHEL              MARC L                NY         1903642018       THE WILLIAMS LAW FIRM, PC
VEIGA                MARIA                 MA         173645            THE SHEPARD LAW FIRM, P.C.                            WORCHEL              SUSAN M               NY         1903642018       THE WILLIAMS LAW FIRM, PC
VEIGA                MARIO                 MA         173645            THE SHEPARD LAW FIRM, P.C.                            ZAMAR                CECILE                NY         1901452017       THE WILLIAMS LAW FIRM, PC
VENTURA              ROBERT                MA         173666            THE SHEPARD LAW FIRM, P.C.                            ZAMAR                EDWARD                NY         1901452017       THE WILLIAMS LAW FIRM, PC
WAGNER               JOAN                  MA         183714            THE SHEPARD LAW FIRM, P.C.                            WIGLEY               EMILE                 VI         3812009          THEODORE HUGE LAW FIRM, LLC
WAGNER               RICHARD               MA         183714            THE SHEPARD LAW FIRM, P.C.                            WIGLEY               GREG                  VI         3812009          THEODORE HUGE LAW FIRM, LLC
WEEKS                CYNTHIA               MA         193578            THE SHEPARD LAW FIRM, P.C.                            PICOU                HAROLD E              LA         9800229          THIEL, MICHAEL L
WILLIAMS             DOROTHY               MA         156955            THE SHEPARD LAW FIRM, P.C.                            PICOU                LUCILLE C             LA         9800229          THIEL, MICHAEL L
WILLIAMS             RICHARD               MA         156955            THE SHEPARD LAW FIRM, P.C.                            HINZMANN             HELMUT                WA         162096344SEA     THOMAS J. OWENS
ANDERSON             IONA                  NY         1901352014        THE WILLIAMS LAW FIRM, PC                             HINZMANN             JUDITH                WA         162096344SEA     THOMAS J. OWENS
ANDERSON             JOHN P                NY         1900582016        THE WILLIAMS LAW FIRM, PC                             NICHOLS              BONNIE                WA         082393909SEA     THOMAS J. OWENS
ANDERSON             ROSE                  NY         1900582016        THE WILLIAMS LAW FIRM, PC                             NICHOLS              NEAL A                WA         082393909SEA     THOMAS J. OWENS
ANDERSON             WILSON                NY         1901352014        THE WILLIAMS LAW FIRM, PC                             ROYSE                DORENE F              WA         132229668SEA     THOMAS J. OWENS
ARMINIO              DANIEL                NY         1900522018        THE WILLIAMS LAW FIRM, PC                             ROYSE                JASPER C              WA         132229668SEA     THOMAS J. OWENS
ARMINIO              MICHELLE              NY         1900522018        THE WILLIAMS LAW FIRM, PC                             TOMKINS              NORMAN E              CA         BC137724         THOMAS, THOMAS D ESQ
BALL                 EULAS L               NY         1901522014        THE WILLIAMS LAW FIRM, PC                             BLAKE                JOHN J                MA         AFFIDAVIT        THORNTON LAW FIRM
BALL                 JOYCE                 NY         1901522014        THE WILLIAMS LAW FIRM, PC                             BOOTH                ERNEST J              NY         CV875042KNAPP    THORNTON LAW FIRM
BOTTA                ANTHONY               NY         1903702015        THE WILLIAMS LAW FIRM, PC                             BOOTH                HELEN E               NY         CV875042KNAPP    THORNTON LAW FIRM
BOTTA                DIANE MARIE           NY         1903702015        THE WILLIAMS LAW FIRM, PC                             BOURASSA             ANGELA                MA         010618           THORNTON LAW FIRM
CARTY                ANTHONY A             NY         1900132014        THE WILLIAMS LAW FIRM, PC                             BOURASSA             HENRY                 MA         010618           THORNTON LAW FIRM
CARTY                CLARA                 NY         1900132014        THE WILLIAMS LAW FIRM, PC                             BUCHANAN             FRANCIS R             MA         AFFIDAVIT        THORNTON LAW FIRM
CIANCIOSI            ALBERT                NY         1902402019        THE WILLIAMS LAW FIRM, PC                             BUONOMO              DOMINICK J SR         MA         AFFIDAVIT        THORNTON LAW FIRM
COX                  EDWARD W              NY         1900932015        THE WILLIAMS LAW FIRM, PC                             BUONOMO              LORRAINE              MA         AFFIDAVIT        THORNTON LAW FIRM
COX                  PENELOPE ANNE         NY         1900932015        THE WILLIAMS LAW FIRM, PC                             CALO                 RUBEN G               MA         AFFIDAVIT        THORNTON LAW FIRM
CUNDIFF              MARION                NY         1903472014        THE WILLIAMS LAW FIRM, PC                             CAMPBELL             ANN S                 MA         AFFIDAVIT        THORNTON LAW FIRM
CUNDIFF              RONALD P              NY         1903472014        THE WILLIAMS LAW FIRM, PC                             CAMPBELL             LEO                   MA         AFFIDAVIT        THORNTON LAW FIRM
DAWSON               JOHN J                NY         1902732015        THE WILLIAMS LAW FIRM, PC                             CIAMBRONE            ARMAND                RI         830734           THORNTON LAW FIRM
EMANUELE             FRANCESCO             NY         1900992019        THE WILLIAMS LAW FIRM, PC                             CITRONI              CATHERINE A           MA         MICV200502693S   THORNTON LAW FIRM
EMANUELE             SANTINA               NY         1900992019        THE WILLIAMS LAW FIRM, PC                             CITRONI              DOMINIC R             MA         MICV200502693S   THORNTON LAW FIRM
FANCERA              CAROLE E              NY         1902202019        THE WILLIAMS LAW FIRM, PC                             COLLINS              RICHARD J             MA         AFFADAVIT        THORNTON LAW FIRM
FERRON               MARK S                NY         1901002019        THE WILLIAMS LAW FIRM, PC                             CONNOLLY             JOSEPH                MA         UNKNOWN          THORNTON LAW FIRM
FONGGING             GUY                   NY         1903872015        THE WILLIAMS LAW FIRM, PC                             CORMIER              LEO                   MA         024261603        THORNTON LAW FIRM
FONGGING             JEANINE               NY         1903872015        THE WILLIAMS LAW FIRM, PC                             CORRENTE             ANTONIO M             MA         9010202Z         THORNTON LAW FIRM
GEISER               PATRICIA              NY         1901432017        THE WILLIAMS LAW FIRM, PC                             CORRENTE             GLADYS                MA         9010202Z         THORNTON LAW FIRM
GEISER               ROBERT W              NY         1901432017        THE WILLIAMS LAW FIRM, PC                             DANIEL               RAYMOND               MA         AFFIDAVIT        THORNTON LAW FIRM
GIASEMIS             DESPINA               NY         1904202014        THE WILLIAMS LAW FIRM, PC                             DEMARS               BEVERLY L             MA         1981CV03241      THORNTON LAW FIRM
GIASEMIS             NICHOLAS              NY         1904202014        THE WILLIAMS LAW FIRM, PC                             DEMARS               EMIL J                MA         1981CV03241      THORNTON LAW FIRM
GREGG                LORRAINE              NY         1900302016        THE WILLIAMS LAW FIRM, PC                             DENNIS               LOIS M                MA         AFFIDAVIT        THORNTON LAW FIRM
GREGG                RICHARD A             NY         1900302016        THE WILLIAMS LAW FIRM, PC                             DEVINCENT            JOHN J                MA         AFFIDAVIT        THORNTON LAW FIRM
HARTZ                DEBRA                 NY         1901412017        THE WILLIAMS LAW FIRM, PC                             DIXON                GILBERT W SR          MA         944208           THORNTON LAW FIRM
HARTZ                MICHAEL P             NY         1901412017        THE WILLIAMS LAW FIRM, PC                             DIXON                GILBERT W SR          MA         AFFIDAVIT        THORNTON LAW FIRM
HUNT                 NORMAN                NY         1901632015        THE WILLIAMS LAW FIRM, PC                             DIXON                VIOLA                 MA         944208           THORNTON LAW FIRM
JORDAN               KENNETH D             NY         1901412015        THE WILLIAMS LAW FIRM, PC                             DIXON                VIOLA                 MA         AFFIDAVIT        THORNTON LAW FIRM
JORDAN               SHARON J              NY         1901412015        THE WILLIAMS LAW FIRM, PC                             DONAH                ARTHUR                MA         AFFIDAVIT        THORNTON LAW FIRM
KOWALCZYK            JOSEPH                NY         1902512017        THE WILLIAMS LAW FIRM, PC                             DONAH                GERALDINE A           MA         AFFIDAVIT        THORNTON LAW FIRM
KOWALCZYK            JULIETTE              NY         1902512017        THE WILLIAMS LAW FIRM, PC                             DUCHESNE             PAUL                  MA         AFFIDAVIT        THORNTON LAW FIRM
LAFACE               JOHN                  NY         1901442017        THE WILLIAMS LAW FIRM, PC                             DUNTON               PAUL D                MA         AFFIDAVIT        THORNTON LAW FIRM




                                                                                                              Appendix A - 844
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 179 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FALCONE              WOLFGANG              MA         AFFIDAVIT        THORNTON LAW FIRM                                    SURETTE              WILLIAM A             MA         MICV200704241S   THORNTON LAW FIRM
FINCH                ROBERT A              MA         AFFIDAVIT        THORNTON LAW FIRM                                    TARNOFF              HENRY                 MA         AFFIDAVIT        THORNTON LAW FIRM
FITZGERALD           MARY                  MA         AFFIDAVIT        THORNTON LAW FIRM                                    TARNOFF              MARION                MA         AFFIDAVIT        THORNTON LAW FIRM
FITZGERALD           WILLIAM P             MA         AFFIDAVIT        THORNTON LAW FIRM                                    TRAINOR              JOHN J                MA         1681CV00363      THORNTON LAW FIRM
FLAHERTY             MATTHEW               MA         0837128          THORNTON LAW FIRM                                    TRICOMI              JOHN A                MA         AFFIDAVIT        THORNTON LAW FIRM
GARBETT              WILLIAM P SR          MA         AFFIDAVIT        THORNTON LAW FIRM                                    UNKNOWN              MARION                MA         AFFIDAVIT        THORNTON LAW FIRM
GASSNOLA             ALFRED                MA         AFFIDAVIT        THORNTON LAW FIRM                                    WATTS                CLAIRE T              MA         025169659        THORNTON LAW FIRM
GASSNOLA             JOAN                  MA         AFFIDAVIT        THORNTON LAW FIRM                                    WATTS                PHILIP                MA         025169659        THORNTON LAW FIRM
GAVELL               GLEN L                MA         AFFIDAVIT        THORNTON LAW FIRM                                    WOODWORTH            ROBERT L              MA         AFFADAVIT        THORNTON LAW FIRM
GEEVER               DAVID W               MA         AFFIDAVIT        THORNTON LAW FIRM                                    BARRERA              ARTURO R              TX         983437C          TOMBLIN CARNES MCCORMACK, L.L.P.
GEEVER               DEBORAH A             MA         AFFIDAVIT        THORNTON LAW FIRM                                    BARRERA              ELMA                  TX         983437C          TOMBLIN CARNES MCCORMACK, L.L.P.
GIORDANO             DOROTHY               NY         CV872425CPS      THORNTON LAW FIRM                                    BOMERSBACH           DANIEL C              TX         98413361A        TOMBLIN CARNES MCCORMACK, L.L.P.
GIORDANO             EDWARD A              NY         CV872425CPS      THORNTON LAW FIRM                                    BOMERSBACH           GLADYS                TX         98413361A        TOMBLIN CARNES MCCORMACK, L.L.P.
GOUVEIA              DENNIS A              MA         1781CV02527      THORNTON LAW FIRM                                    BROWN                JOSEPH RALPH          LA         027948           TOMBLIN CARNES MCCORMACK, L.L.P.
GREGORY              BILLIE                MA         MICV201101694S   THORNTON LAW FIRM                                    Brown                Keith J               LA         027948           TOMBLIN CARNES MCCORMACK, L.L.P.
GREGORY              JIMMY LEE             MA         MICV201101694S   THORNTON LAW FIRM                                    Brown                Lorraine C            LA         027948           TOMBLIN CARNES MCCORMACK, L.L.P.
GRICUS               ALEXANDER B           MA         AFFIDAVIT        THORNTON LAW FIRM                                    Brown                Randall C             LA         027948           TOMBLIN CARNES MCCORMACK, L.L.P.
GRIEGER              LAURA                 NY         CV901746         THORNTON LAW FIRM                                    COVINGTON            WILLIAM WARREN        TX         0008009L         TOMBLIN CARNES MCCORMACK, L.L.P.
GRIEGER              WILLIAM               NY         CV901746         THORNTON LAW FIRM                                    DELGADO              SYLVESTRE BARRERA     TX         975783C          TOMBLIN CARNES MCCORMACK, L.L.P.
GRILLI               FRANK                 MA         AFFIDAVIT        THORNTON LAW FIRM                                    DILDY                CHARLES THOMAS        TX         0008037G         TOMBLIN CARNES MCCORMACK, L.L.P.
GRILLI               PHYLLIS               MA         AFFIDAVIT        THORNTON LAW FIRM                                    DOLEZAL              GEORGE JOSEPH         TX         98748A           TOMBLIN CARNES MCCORMACK, L.L.P.
GULLAGE              RICHARD C             MA         AFFIDAVIT        THORNTON LAW FIRM                                    DOLEZAL              VERNALL               TX         98748A           TOMBLIN CARNES MCCORMACK, L.L.P.
HAEFELI              CHARLES F             MA         AFFIDAVIT        THORNTON LAW FIRM                                    FERGUS               JAMES LEE             TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
HARVEY               ELMER R               MA         AFFIDAVIT        THORNTON LAW FIRM                                    FLORES               FRED JR               TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
HOOKE                ROBERT E              MA         AFFIDAVIT        THORNTON LAW FIRM                                    GONZALES             MANUEL HERNANDEZ      TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
HOSMAN               ALBERT R              MA         1781CV03811      THORNTON LAW FIRM                                    HARSCH               ERNEST HERMAN         TX         98151412D        TOMBLIN CARNES MCCORMACK, L.L.P.
HOSMAN               JOAN M                MA         1781CV03811      THORNTON LAW FIRM                                    HARSCH               MARY                  TX         98151412D        TOMBLIN CARNES MCCORMACK, L.L.P.
HOWLAND              JOHN                  MA         UNKNOWN          THORNTON LAW FIRM                                    HARVILLE             GASTON ROBERT         TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
ISBELL               STEVEN                MA         UNKNOWN          THORNTON LAW FIRM                                    HAWKINS              BRUCE GAYLOR          TX         200456911        TOMBLIN CARNES MCCORMACK, L.L.P.
JASIE                WALTER J JR           MA         AFFIDAVIT        THORNTON LAW FIRM                                    Healy                Paulette B            LA         027948           TOMBLIN CARNES MCCORMACK, L.L.P.
JOYCE                ROBERT E              MA         AFFIDAVIT        THORNTON LAW FIRM                                    HERNANDEZ            HERIBERTO             TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
KALLEM               WILLIAM               NY         CV911258         THORNTON LAW FIRM                                    JENSEN               IRVIN H               TX         008876           TOMBLIN CARNES MCCORMACK, L.L.P.
KEITH                DONALD                MA         AFFIDAVIT        THORNTON LAW FIRM                                    JENSEN               MARY LEONA            TX         008876           TOMBLIN CARNES MCCORMACK, L.L.P.
KENNEY               FRANCIS J             MA         AFFIDAVIT        THORNTON LAW FIRM                                    LEWIS                CHARLES P             TX         13608JG00        TOMBLIN CARNES MCCORMACK, L.L.P.
KNIGHT               GWENDOLYN G           MA         MICV200604504S   THORNTON LAW FIRM                                    LODRIGUSS            SIDNEY ALBERT         LA         0212012          TOMBLIN CARNES MCCORMACK, L.L.P.
KNIGHT               ROBERT M              MA         MICV200604504S   THORNTON LAW FIRM                                    MORALES              THOMAS H              TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
KRUPKA               PETER M               MA         024184358        THORNTON LAW FIRM                                    NELSON               GEORGE B              TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
LEPORE               ROSE M                MA         031241624        THORNTON LAW FIRM                                    NICHOLS              HOLLIS CARROL JR      TX         98913B           TOMBLIN CARNES MCCORMACK, L.L.P.
LUCIANI              JOHN C SR             MA         AFFIDAVIT        THORNTON LAW FIRM                                    NICHOLS              VELMA JOYCE           TX         98913B           TOMBLIN CARNES MCCORMACK, L.L.P.
MACMILLAN            ALICE                 MA         AFFIDAVIT        THORNTON LAW FIRM                                    OLIVER               GERALD LANE           TX         98451820D        TOMBLIN CARNES MCCORMACK, L.L.P.
MACMILLAN            RUSSELL               MA         AFFIDAVIT        THORNTON LAW FIRM                                    OLIVER               ISLA J                TX         98451820D        TOMBLIN CARNES MCCORMACK, L.L.P.
MACNEIL              RONALD                MA         1781CV02606      THORNTON LAW FIRM                                    PEREZ                ISRAEL                TX         975783C          TOMBLIN CARNES MCCORMACK, L.L.P.
MARSIAN              KARL W                MA         AFFADAVIT        THORNTON LAW FIRM                                    RAINS                FRANKLIN D            TX         46339A           TOMBLIN CARNES MCCORMACK, L.L.P.
MATTINA              BETTY A               MA         UNKNOWN          THORNTON LAW FIRM                                    REEVES               DENNIS ROY SR         TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
MAZZARELLA           JAMES M               MA         AFFIDAVIT        THORNTON LAW FIRM                                    ROBERTSON            ANNETTE C             LA         0212012          TOMBLIN CARNES MCCORMACK, L.L.P.
MAZZARELLA           SUZANNE               MA         AFFIDAVIT        THORNTON LAW FIRM                                    ROBERTSON            LIONEL                LA         0212012          TOMBLIN CARNES MCCORMACK, L.L.P.
MCINNIS              JOHN                  MA         UNKNOWN          THORNTON LAW FIRM                                    ROBINSON             CHARLES               TX         200506453        TOMBLIN CARNES MCCORMACK, L.L.P.
MCINNIS              PAUL                  MA         UNKNOWN          THORNTON LAW FIRM                                    ROBINSON             DORIS LOUISE          TX         200506453        TOMBLIN CARNES MCCORMACK, L.L.P.
MCKINNON             RICHARD E             MA         AFFIDAVIT        THORNTON LAW FIRM                                    RODGERS              CLARENCE              TX         983437C          TOMBLIN CARNES MCCORMACK, L.L.P.
MEDEIROS             EUGENE R              MA         1781CV03282      THORNTON LAW FIRM                                    SANTOS               LEON B JR             TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
MESSINA              AMATO                 MA         AFFIDAVIT        THORNTON LAW FIRM                                    STEINBOMER           RICHARD HENRY SR      TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
MOSCONE              ALBERT J              MA         AFFIDAVIT        THORNTON LAW FIRM                                    TAORMINA             CHARLES               TX         01CV0472         TOMBLIN CARNES MCCORMACK, L.L.P.
MOSSMAN              HENRY L               MA         AFFIDAVIT        THORNTON LAW FIRM                                    TATER                JANET                 TX         98413362         TOMBLIN CARNES MCCORMACK, L.L.P.
MURPHY               ROBERT F SR           MA         AFFIDAVIT        THORNTON LAW FIRM                                    TATER                JEROME E              TX         98413362         TOMBLIN CARNES MCCORMACK, L.L.P.
O'KEEFE              JOHN                  MA         AFFIDAVIT        THORNTON LAW FIRM                                    WESTBROOK            TRAVIS                TX         975700G          TOMBLIN CARNES MCCORMACK, L.L.P.
PALUZZI              DANIEL R              MA         AFFIDAVIT        THORNTON LAW FIRM                                    YOUNG                FRANKLIN              TX         975783C          TOMBLIN CARNES MCCORMACK, L.L.P.
PELKEY               GERALD K              MA         561766           THORNTON LAW FIRM                                    FALESKI              ALBERT                NJ         L167394          TORTORETI, TOMES & CALLAHAN, P.C.
PELKEY               GERALD K              MA         AFFIDAVIT        THORNTON LAW FIRM                                    FALESKI              ALICE                 NJ         L167394          TORTORETI, TOMES & CALLAHAN, P.C.
PERMAN               FRANK S               MA         AFFIDAVIT        THORNTON LAW FIRM                                    MEYERS               ELIJAH                NJ         L968198          TORTORETI, TOMES & CALLAHAN, P.C.
PHELPS               GERALDINE             MA         AFFIDAVIT        THORNTON LAW FIRM                                    BAILEY               CAROL                 MS         94920            TRAVIS BUCKLEY, PA
PHELPS               ROBERT N              MA         AFFIDAVIT        THORNTON LAW FIRM                                    BAILEY               FRANCES               MS         94920            TRAVIS BUCKLEY, PA
POWERS               JOHN                  MA         AFFIDAVIT        THORNTON LAW FIRM                                    MATTHEWS             WILLIE MAE            MS         94920            TRAVIS BUCKLEY, PA
SALDI                DOMENIC J             MA         UNKNOWN          THORNTON LAW FIRM                                    WADE                 WILLIAM T             MS         94920            TRAVIS BUCKLEY, PA
SHEA                 DONALD C              MA         AFFIDAVIT        THORNTON LAW FIRM                                    BARTLETT             JANET                 FL         929469           TRILLING, ROBERT A
SHEA                 THERESA               MA         AFFIDAVIT        THORNTON LAW FIRM                                    BARTLETT             RICHARD               FL         929469           TRILLING, ROBERT A
SIMMONS              RICHARD J             MA         UNKNOWN          THORNTON LAW FIRM                                    CALUB                EMILIO E              FL         929469           TRILLING, ROBERT A
SMITH                ABRAHAM               MA         AFFIDAVIT        THORNTON LAW FIRM                                    CORBIN               MIRIAM                FL         929469           TRILLING, ROBERT A
SMITH                ESTHER                MA         AFFIDAVIT        THORNTON LAW FIRM                                    CORBIN               RAYMOND               FL         929469           TRILLING, ROBERT A
SNOW                 RONALD SR             MA         AFFIDAVIT        THORNTON LAW FIRM                                    DELOACH              RETHA                 FL         929469           TRILLING, ROBERT A
SULLIVAN             WILLIAM D JR          MA         AFFIDAVIT        THORNTON LAW FIRM                                    DELOACH              WILLIAM L             FL         929469           TRILLING, ROBERT A
SURETTE              ELIZABETH V           MA         MICV200704241S   THORNTON LAW FIRM                                    DRY                  SHELTON C             FL         929471           TRILLING, ROBERT A




                                                                                                            Appendix A - 845
                                                           Case 20-03004                               Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                          Complaint-Part 2 Page 180 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number       Primary Plaintiff Counsel                            Claimant Last Name    Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

EASOM                GLENDA                FL         929471               TRILLING, ROBERT A                                   DE BILLING            DEFENSE               DE         GLOBALDE           UNKNOWN
EASOM                JAMES                 FL         929471               TRILLING, ROBERT A                                   EVANS                 PUNNIE JEAN           MS         11008              UNKNOWN
GILL                 BARBARA               FL         929472               TRILLING, ROBERT A                                   EVANS                 WILLIAM               MS         11008              UNKNOWN
GILL                 TED G                 FL         929472               TRILLING, ROBERT A                                   EVANS                 WILLINE W             MS         11008              UNKNOWN
GILLUM               FAYE E                FL         929469               TRILLING, ROBERT A                                   FL BILLING            DEFENSE               FL         GLOBALFL           UNKNOWN
GILLUM               ROBERT F              FL         929469               TRILLING, ROBERT A                                   GA BILLING            DEFENSE               GA         GLOBALGA           UNKNOWN
GRAVEL               GUY                   FL         929472               TRILLING, ROBERT A                                   GARISON               JAMES W               MS         20000131           UNKNOWN
JOHNSON              DOROTHY               FL         929470               TRILLING, ROBERT A                                   GITTENS               GAIL ANN              NY         0190821            UNKNOWN
JOHNSON              HOSEA LEE             FL         929470               TRILLING, ROBERT A                                   GITTENS               ROBERT WILLIAM        NY         0190821            UNKNOWN
JOHNSON              JESSE F               FL         929472               TRILLING, ROBERT A                                   GU BILLING            DEFENSE               GU         GLOBALGU           UNKNOWN
JOHNSON              SANDRA                FL         929472               TRILLING, ROBERT A                                   HI BILLING            DEFENSE               HI         GLOBALHI           UNKNOWN
JORDAN               ALTON W               FL         929470               TRILLING, ROBERT A                                   HIGGINS               SAMUEL J              LA         444648             UNKNOWN
JORDAN               JANICE                FL         929470               TRILLING, ROBERT A                                   HUDSON                TIMOTHY J             PA         GD9704560          UNKNOWN
JOYNER               MARGARET ANN          FL         929469               TRILLING, ROBERT A                                   IA BILLING            DEFENSE               IA         GLOBALIA           UNKNOWN
JOYNER               RAYMOND H             FL         929469               TRILLING, ROBERT A                                   ID BILLING            DEFENSE               ID         GLOBALID           UNKNOWN
JUSTICE              CAROLYN               FL         929470               TRILLING, ROBERT A                                   IL BILLING            DEFENSE               IL         GLOBALIL           UNKNOWN
JUSTICE              JIMMY L               FL         929470               TRILLING, ROBERT A                                   IN BILLING            DEFENSE               IN         GLOBALIN           UNKNOWN
KIDD                 DARLENE               FL         929469               TRILLING, ROBERT A                                   JOHNSON               JOHN DAVIS            MS         11008              UNKNOWN
KIDD                 ROGER E               FL         929469               TRILLING, ROBERT A                                   JOHNSON               MOSES                 MS         UNKNOWN            UNKNOWN
LARISEY              BOBBIE                FL         929472               TRILLING, ROBERT A                                   JOHNSON               SHIRLEY               MS         UNKNOWN            UNKNOWN
LARISEY              ROBERT B              FL         929472               TRILLING, ROBERT A                                   JONES                 BEATRICE              MS         11008              UNKNOWN
MCLIN                WILLIAM A             FL         929471               TRILLING, ROBERT A                                   KEYS                  LOUIS H               MD         88057527           UNKNOWN
MERCER               CHARLES E             FL         929471               TRILLING, ROBERT A                                   KISER                 WALTER W              MD         8906850            UNKNOWN
MERCER               NYDIA                 FL         929471               TRILLING, ROBERT A                                   KS BILLING            DEFENSE               KS         GLOBALKS           UNKNOWN
MILLS                GENE V                FL         929472               TRILLING, ROBERT A                                   KY BILLING            DEFENSE               KY         GLOBALKY           UNKNOWN
OGILVIE              JUNE                  FL         929472               TRILLING, ROBERT A                                   LA BILLING            DEFENSE               LA         GLOBALLA           UNKNOWN
OGILVIE              PAUL M                FL         929472               TRILLING, ROBERT A                                   LOS ANGELES BILLING   DEFENSE               CA         GLOBALLOSANGELES   UNKNOWN
PIPER                BARBARA               FL         929472               TRILLING, ROBERT A                                   MA BILLING            DEFENSE               MA         GLOBALMA           UNKNOWN
PIPER                WILLIAM R             FL         929472               TRILLING, ROBERT A                                   MAHOMES               BERTHA                MD         88071566           UNKNOWN
RISCILE              PETER B               FL         929471               TRILLING, ROBERT A                                   MAHOMES               HOWARD                MD         88071566           UNKNOWN
ROBERTSON            CHARLES               FL         929471               TRILLING, ROBERT A                                   MD BILLING            DEFENSE               MD         GLOBALMD           UNKNOWN
ROBERTSON            JOYCE                 FL         929471               TRILLING, ROBERT A                                   MDL                   BILLING               ZZ         GLOBALMDL          UNKNOWN
ROGERS               GERALD M              FL         929471               TRILLING, ROBERT A                                   ME BILLING            DEFENSE               ME         GLOBALME           UNKNOWN
SABA                 CHARLES               FL         929471               TRILLING, ROBERT A                                   MEDICAL               COLLECTIONS           ZZ         GLOBALMEDICAL      UNKNOWN
SABA                 ZORAIDA               FL         929471               TRILLING, ROBERT A                                   MI BILLING            DEFENSE               MI         GLOBALMI           UNKNOWN
STEVENS              MILLICENT             FL         929470               TRILLING, ROBERT A                                   MILLER                ARTHUR NORMAN         TX         ADMIN              UNKNOWN
STEVENS              WILLIAM R             FL         929470               TRILLING, ROBERT A                                   MN BILLING            DEFENSE               MN         GLOBALMN           UNKNOWN
WATSON               LEAMON E              FL         929469               TRILLING, ROBERT A                                   MO BILLING            DEFENSE               MO         GLOBALMO           UNKNOWN
WILLIAMS             ERMA JOYCE            FL         929470               TRILLING, ROBERT A                                   MS BILLING            DEFENSE               MS         GLOBALMS           UNKNOWN
WILLIAMS             JAMES E               FL         929470               TRILLING, ROBERT A                                   MT BILLING            DEFENSE               MT         GLOBALMT           UNKNOWN
ARNOLD               BLANCHE E             MD         24X04000475OWIL      TYDINGS & ROSENBERG LLP                              NC BILLING            DEFENSE               NC         GLOBALNC           UNKNOWN
ARNOLD               TIMOTHY F             MD         24X04000475OWIL      TYDINGS & ROSENBERG LLP                              ND BILLING            DEFENSE               ND         GLOBALND           UNKNOWN
ELLISON              KATERI                MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              NE BILLING            DEFENSE               NE         GLOBALNE           UNKNOWN
ELLISON              LARRY C               MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              NH BILLING            DEFENSE               NH         GLOBALNH           UNKNOWN
GREEN                PATRICIA NORAIR       MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              NJ BILLING            DEFENSE               NJ         GLOBALNJ           UNKNOWN
KANE                 THOMAS E              MD         24X04000475OWIL      TYDINGS & ROSENBERG LLP                              NM BILLING            DEFENSE               NM         GLOBALNM           UNKNOWN
NORAIR               ALICE                 MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              NV BILLING            DEFENSE               NV         GLOBALNV           UNKNOWN
NORAIR               ALICE B               MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              NY BILLING            DEFENSE               NY         GLOBALNY           UNKNOWN
NORAIR               JILL S                MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              OH BILLING            DEFENSE               OH         GLOBALOH           UNKNOWN
NORAIR               RICHARD H             MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              OK BILLING            DEFENSE               OK         GLOBALOK           UNKNOWN
NORAIR               STEPHEN G             MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              OR BILLING            DEFENSE               OR         GLOBALOR           UNKNOWN
PURNER               CLINTON JEFFERSON     MD         24X04000082OWIL      TYDINGS & ROSENBERG LLP                              PA BILLING            DEFENSE               PA         GLOBALPA           UNKNOWN
WILSON               FLORENCE              MD         24X04000475OWIL      TYDINGS & ROSENBERG LLP                              PR BILLING            DEFENSE               PR         GLOBALPR           UNKNOWN
WELL                 PAUL                  MS         CI951314AS           TYNER LAW FIRM, P.A.                                 REEMS                 MARY L                MS         UNKNOWN            UNKNOWN
AK BILLING           DEFENSE               AK         GLOBALAK             UNKNOWN                                              RI BILLING            DEFENSE               RI         GLOBALRI           UNKNOWN
AL BILLING           DEFENSE               AL         GLOBALAL             UNKNOWN                                              RICHARDSON            ANNIE B               MS         11008              UNKNOWN
ANTHONY              ELSIE LAVERNE         MS         11008                UNKNOWN                                              RITTER                ALBERT                PA         GD9704560          UNKNOWN
AR BILLING           DEFENSE               AR         GLOBALAR             UNKNOWN                                              SC BILLING            DEFENSE               SC         GLOBALSC           UNKNOWN
AZ BILLING           DEFENSE               AZ         GLOBALAZ             UNKNOWN                                              SD BILLING            DEFENSE               SD         GLOBALSD           UNKNOWN
BELL                 VERNON H              VA         ADMIN                UNKNOWN                                              SEIGLER               FRANCINE              NJ         L473297            UNKNOWN
BENSON               HOLLIS                MS         UNKNOWN              UNKNOWN                                              SEIGLER               THEODORE              NJ         L473297            UNKNOWN
BOWSER               HAROLD                PA         GD97002638           UNKNOWN                                              SMITH                 JAMES H               TX         ADMIN              UNKNOWN
BRIDGES              CASTORIA              LA         444648               UNKNOWN                                              SOVITSKI              CHARLES               PA         GD97002638         UNKNOWN
BROWN                ROBERT F              MS         11008                UNKNOWN                                              STEWART               HELEN                 MS         UNKNOWN            UNKNOWN
CA BILLING           DEFENSE               CA         GLOBALCA             UNKNOWN                                              STEWART               WALTER M              PA         GD9704560          UNKNOWN
CO BILLING           DEFENSE               CO         GLOBALCO             UNKNOWN                                              TAYLOR                GEORGE R              PA         GD9704560          UNKNOWN
COOPER               GARY LEE              LA         444648               UNKNOWN                                              TAYLOR                WILLIAM R             MS         UNKNOWN            UNKNOWN
CT BILLING           DEFENSE               CT         GLOBALCT             UNKNOWN                                              TESTER                JOHN                  NJ         UNKNOWN            UNKNOWN
CTDDISCOVERY         SCHIFFHARDIN          ZZ         CTDDISCOVERYSCHIFF   UNKNOWN                                              THIBEAUX              LAWRENCE              CA         860865             UNKNOWN
DAVIDOWSKI           THOMAS E              PA         GD97002638           UNKNOWN                                              THOMAS                FRANCES               TX         E173169            UNKNOWN
DC BILLING           DEFENSE               DC         GLOBALDC             UNKNOWN                                              THOMAS                GERALD                TX         E173169            UNKNOWN




                                                                                                                Appendix A - 846
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 181 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

THORTON              KATIE B               MS         11008              UNKNOWN                                              HARTWELL             GEORGINA              IL         2019L009870      VOGELZANG LAW
TN BILLING           DEFENSE               TN         GLOBALTN           UNKNOWN                                              HARTWELL             HENRY                 IL         2019L009870      VOGELZANG LAW
TX BILLING           DEFENSE               TX         GLOBALTX           UNKNOWN                                              HEARNES              ALVIN                 IL         2019L007974      VOGELZANG LAW
UT BILLING           DEFENSE               UT         GLOBALUT           UNKNOWN                                              HENDERSON            HAZEL                 IL         2018L013483      VOGELZANG LAW
VA BILLING           DEFENSE               VA         GLOBALVA           UNKNOWN                                              HENDERSON            JOHN                  IL         2018L013483      VOGELZANG LAW
VAIL                 PATRICIA              MS         11008              UNKNOWN                                              HILL                 DOUGLAS               IL         2019L010397      VOGELZANG LAW
VI BILLING           DEFENSE               VI         GLOBALVI           UNKNOWN                                              HOLLEMAN             KARLENE               IL         2017L010576      VOGELZANG LAW
VT BILLING           DEFENSE               VT         GLOBALVT           UNKNOWN                                              IDDINS               JANICE M              IL         2019L004529      VOGELZANG LAW
WA BILLING           DEFENSE               WA         GLOBALWA           UNKNOWN                                              IDDINS               ROBERT KERRY          IL         2019L004529      VOGELZANG LAW
WI BILLING           DEFENSE               WI         GLOBALWI           UNKNOWN                                              JACKSON              JAMES G               IL         2019L008401      VOGELZANG LAW
WILLIAMS             JAMES R               MS         11008              UNKNOWN                                              JACKSON              MARIA                 IL         2019L011720      VOGELZANG LAW
WILSON               FRED JR               LA         444648             UNKNOWN                                              JACKSON              SHIRLEY A             IL         2019L008401      VOGELZANG LAW
WV BILLING           DEFENSE               WV         GLOBALWV           UNKNOWN                                              JACKSON              STEVEN                IL         2019L011720      VOGELZANG LAW
WY BILLING           DEFENSE               WY         GLOBALWY           UNKNOWN                                              KASIAN               DOUGLAS               IL         2019L010396      VOGELZANG LAW
ZZ BILLING           DEFENSE               ZZ         GLOBALZZ           UNKNOWN                                              KLASSMAN             STUART                IL         2019L013361      VOGELZANG LAW
MYERS                GAY FRANCIS           WV         19C15              VALLES LAW FIRM, PLLC                                MORGAN               HERMAN                IL         2019L003960      VOGELZANG LAW
OSBORNE              DEAN R                WV         19C899             VALLES LAW FIRM, PLLC                                MORGAN               REGENA                IL         2019L003960      VOGELZANG LAW
OSBORNE              EILEEN                WV         19C899             VALLES LAW FIRM, PLLC                                ODEHNAL              ALLAN HUGO            IL         2018L013485      VOGELZANG LAW
SMITH                JUDY L                WV         19C897             VALLES LAW FIRM, PLLC                                PAWLIK               ADAM                  IL         2019L008784      VOGELZANG LAW
SMITH                THOMAS E              WV         19C897             VALLES LAW FIRM, PLLC                                PAWLIK               REGINA                IL         2019L008784      VOGELZANG LAW
BERRY                JAMES D               VA         CL0501038200OWIL   VANDEVENTER BLACK LLP                                PRINGNITZ            DARNELL               IL         2019L011025      VOGELZANG LAW
BERRY                JOHN P                VA         CL0501038200OWIL   VANDEVENTER BLACK LLP                                PRINGNITZ            NANCY                 IL         2019L011025      VOGELZANG LAW
BERRY                LOUISE S              VA         CL0501038200OWIL   VANDEVENTER BLACK LLP                                QUEDENS              RICHARD               IL         2018L011972      VOGELZANG LAW
CRIBBS               CHERYL B              VA         CL0501038200OWIL   VANDEVENTER BLACK LLP                                SHANNON              ERIC                  IL         2019L003935      VOGELZANG LAW
KENNEY               DONNA B               VA         CL0501038200OWIL   VANDEVENTER BLACK LLP                                SMITH                DARREL                IL         2019L004925      VOGELZANG LAW
DEAN                 CLAUD F               TX         A940581C           VIATOR, ROXIE H.                                     SOBOL                JOSEPH                IL         2018L009161      VOGELZANG LAW
DEAN                 MOZELL                TX         A940581C           VIATOR, ROXIE H.                                     SOBOL                KENNETH               IL         2018L009161      VOGELZANG LAW
JACKSON              BILL                  TX         A940581C           VIATOR, ROXIE H.                                     SOBOL                MARTIN                IL         2018L009161      VOGELZANG LAW
JACKSON              OLNEY                 TX         A940581C           VIATOR, ROXIE H.                                     SOBOL                NICHOLAS              IL         2018L009161      VOGELZANG LAW
MCDONALD             ELSIE MAE             TX         A940581C           VIATOR, ROXIE H.                                     STAMPLEY             LIONEL                IL         2019L009918      VOGELZANG LAW
MCDONALD             RUFUS                 TX         A940581C           VIATOR, ROXIE H.                                     STEFANICH            RAYMOND               IL         2019L012002      VOGELZANG LAW
RICHARDSON           RODY SR               TX         A940581C           VIATOR, ROXIE H.                                     WEINSTEIN            ALAN                  IL         2019L007791      VOGELZANG LAW
THOMPSON             DALE                  TX         A940581C           VIATOR, ROXIE H.                                     WODECKI              ARNOLD                IL         2019L000418      VOGELZANG LAW
THOMPSON             JACQUELINE            TX         A940581C           VIATOR, ROXIE H.                                     WODECKI              JANET                 IL         2019L000418      VOGELZANG LAW
WADE                 JOHN H                TX         A940581C           VIATOR, ROXIE H.                                     YOUNG                DENNIS                IL         2019L005229      VOGELZANG LAW
WOODCOCK             EDWIN                 TX         A940581C           VIATOR, ROXIE H.                                     YOUNG                VALERIE               IL         2019L005229      VOGELZANG LAW
WOODCOCK             EDWIN C               TX         A940581C           VIATOR, ROXIE H.                                     BRACKEN              EVELYN BURNEL         IL         91L167           VONACHEN LAWLESS TRAGER & SLEVIN
WOODCOCK             HELEN                 TX         A940581C           VIATOR, ROXIE H.                                     BRACKEN              NORMAN EUGENE         IL         91L167           VONACHEN LAWLESS TRAGER & SLEVIN
WOODCOCK             LLOYD                 TX         A940581C           VIATOR, ROXIE H.                                     COLLINS              JULIUS JR             IL         94L000077        VONACHEN LAWLESS TRAGER & SLEVIN
WOODCOCK             MARGIE                TX         A940581C           VIATOR, ROXIE H.                                     COLLINS              MARJORIE              IL         94L000077        VONACHEN LAWLESS TRAGER & SLEVIN
PRUETT               JO                    TX         A90CA229           VICKERS, HARRISON                                    FRIAZEE              GEORGE JOSEPH         IL         98L16            VONACHEN LAWLESS TRAGER & SLEVIN
PRUETT               TERRY M               TX         A90CA229           VICKERS, HARRISON                                    GAY                  HENRIETTA J.          IL         94L440           VONACHEN LAWLESS TRAGER & SLEVIN
WYRICK               BILLIE                TX         89094160C          VICKERS, HARRISON                                    HUTEK                DOLORES J.            IL         94L440           VONACHEN LAWLESS TRAGER & SLEVIN
WYRICK               HUGH                  TX         89094160C          VICKERS, HARRISON                                    KORNFELD             DOLORES E             IL         94L440           VONACHEN LAWLESS TRAGER & SLEVIN
SOBERON              DAMASO REYES          CA         400283             VISSE & YANEZ L.L.P.                                 KORNFELD             HENRY J               IL         94L440           VONACHEN LAWLESS TRAGER & SLEVIN
SOBERON              DAMASO REYES          CA         315842             VISSE & YANEZ L.L.P.                                 KORNFELD             JACK L                IL         94L440           VONACHEN LAWLESS TRAGER & SLEVIN
SOBERON              PRESENTACION Z        CA         400283             VISSE & YANEZ L.L.P.                                 AKERS                BETTY L               SC         408CV02528ASB    WALLACE & GRAHAM PA
SOBERON              PRESENTACION Z        CA         315842             VISSE & YANEZ L.L.P.                                 AKERS                GARY LEON             SC         408CV02528ASB    WALLACE & GRAHAM PA
SOBERON              SEDWIN Z              CA         400283             VISSE & YANEZ L.L.P.                                 ALLEN                JAMES STANLEY         OH         CV00426587CV     WALLACE & GRAHAM PA
SOBERON              SEDWIN Z              CA         315842             VISSE & YANEZ L.L.P.                                 AUSTIN               KENNETH EUGENE        NC         199CV00787       WALLACE & GRAHAM PA
SOBERON              SHERMAN Z             CA         400283             VISSE & YANEZ L.L.P.                                 AUSTIN               LINDA B               NC         199CV00787       WALLACE & GRAHAM PA
SOBERON              SHERMAN Z             CA         315842             VISSE & YANEZ L.L.P.                                 BECK                 AUBRY DAVIS           NC         199CV00787       WALLACE & GRAHAM PA
SOBERON              SHIRLEY Z             CA         400283             VISSE & YANEZ L.L.P.                                 BECK                 LOUISE OSBORNE        NC         199CV00787       WALLACE & GRAHAM PA
SOBERON              SHIRLEY Z             CA         315842             VISSE & YANEZ L.L.P.                                 BIGGS                DOUGLAS FRANKLIN      NC         109CV00343MR     WALLACE & GRAHAM PA
SOBERON              SIDNEY Z              CA         400283             VISSE & YANEZ L.L.P.                                 BOONE                HENRY EUGENE          NC         199CV899         WALLACE & GRAHAM PA
SOBERON              SIDNEY Z              CA         315842             VISSE & YANEZ L.L.P.                                 BOONE                JEWELL G              NC         199CV899         WALLACE & GRAHAM PA
TAYLOR               JAMES P               CA         992357             VISSE & YANEZ L.L.P.                                 BROWN                JAMES JOE             NC         199CV899         WALLACE & GRAHAM PA
BATTREALL            DEBORAH               IL         2019L001042        VOGELZANG LAW                                        BURGESS              CHRISTENE             NC         199CV00787       WALLACE & GRAHAM PA
BATTREALL            JAMES                 IL         2019L001042        VOGELZANG LAW                                        BURGESS              JERRY LEE             NC         199CV00787       WALLACE & GRAHAM PA
BIER                 BRUCE                 IL         2019L002148        VOGELZANG LAW                                        BURRIS               LANNY THOMAS          NC         199CV00397       WALLACE & GRAHAM PA
BROWN                BETH                  IL         2018L009161        VOGELZANG LAW                                        BURRIS               PATRICIA HARRIS       NC         199CV00397       WALLACE & GRAHAM PA
BROWN-HEARNES        LITEASURE             IL         2019L007974        VOGELZANG LAW                                        BUSHA                DORA                  SC         98CP232529       WALLACE & GRAHAM PA
CARSON               KAREN                 IL         2018L009161        VOGELZANG LAW                                        BUSHA                DORA                  SC         99CP230480       WALLACE & GRAHAM PA
COLVILLE             DANNY                 IL         2019L001435        VOGELZANG LAW                                        BUSHA                WILLIAM HOYT          SC         98CP232529       WALLACE & GRAHAM PA
DECKER               MICHAEL               IL         2019L001435        VOGELZANG LAW                                        BUSHA                WILLIAM HOYT          SC         99CP230480       WALLACE & GRAHAM PA
DEJONGH              JASON                 IL         2019L000112        VOGELZANG LAW                                        CAMPBELL             CHARLES WILSON        NC         209CV90803       WALLACE & GRAHAM PA
DEJONGH              JOAN                  IL         2019L000112        VOGELZANG LAW                                        CAMPBELL             EVELYN LOGAN          NC         209CV90803       WALLACE & GRAHAM PA
DEMEYER              CAROL                 IL         2019L002148        VOGELZANG LAW                                        CARPENTER            BOBBY CARROLL         OH         ADMIN            WALLACE & GRAHAM PA
FISHER               BERNARD THOMAS        IL         2019L004535        VOGELZANG LAW                                        CARPENTER            LINDA M               OH         ADMIN            WALLACE & GRAHAM PA
FISHER               RITA                  IL         2019L004535        VOGELZANG LAW                                        CARPENTER            MICHAEL TODD          OH         ADMIN            WALLACE & GRAHAM PA
HAMILTON             LINDA                 IL         2019L004086        VOGELZANG LAW                                        CHEEK                MARILYN V             SC         98CP232626       WALLACE & GRAHAM PA




                                                                                                              Appendix A - 847
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 182 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CHEEK                MRILYN                SC         98CP232626       WALLACE & GRAHAM PA                                  BELL                 PATRICIA              IL         2016L001534      WALTON TELKEN FOSTER, LLC
CHEEK                RAYMOND BURREL        SC         98CP232626       WALLACE & GRAHAM PA                                  CAVE                 ANDREW JAMES          IL         2017L000850      WALTON TELKEN FOSTER, LLC
CROOK                ARNOLD W              NC         199CV899         WALLACE & GRAHAM PA                                  CAVE                 CONNIE                IL         2017L000850      WALTON TELKEN FOSTER, LLC
CROOK                AULENA                NC         199CV899         WALLACE & GRAHAM PA                                  CAVE                 NICOLE                IL         2017L000850      WALTON TELKEN FOSTER, LLC
DOBSON               RONALD ERNEST         NC         199CV00397       WALLACE & GRAHAM PA                                  CROWE                RONALD N              IL         2017L001571      WALTON TELKEN FOSTER, LLC
DOBSON               SHEILA JOY            NC         199CV00397       WALLACE & GRAHAM PA                                  DANIELS              ALFORD                IL         2016L001780      WALTON TELKEN FOSTER, LLC
DOBY                 CARL COLEMAN          NC         199CV00787       WALLACE & GRAHAM PA                                  DANIELS              LINDA PERALTA         IL         2017L001333      WALTON TELKEN FOSTER, LLC
DOBY                 PATRICIA ANN          NC         199CV00787       WALLACE & GRAHAM PA                                  DANIELS              PHEBY JANE            IL         2016L001780      WALTON TELKEN FOSTER, LLC
DRAPER               JOSEPHINE B           NC         199CV00397       WALLACE & GRAHAM PA                                  DENMON               ERNESTINE             IL         2016L001534      WALTON TELKEN FOSTER, LLC
DRIVER               HENRY GALE            SC         98CP232627       WALLACE & GRAHAM PA                                  EDENS                ADA                   IL         2016L001780      WALTON TELKEN FOSTER, LLC
DRIVER               MARSHA M              SC         98CP232627       WALLACE & GRAHAM PA                                  EMBREE               RHEA                  IL         2016L001277      WALTON TELKEN FOSTER, LLC
EDWARDS              DAVID WAYNE           NC         599CV191         WALLACE & GRAHAM PA                                  EMBREE               STEVEN                IL         2016L001277      WALTON TELKEN FOSTER, LLC
EDWARDS              HELEN                 NC         599CV191         WALLACE & GRAHAM PA                                  HICKMAN              DIANE                 IL         2016L001212      WALTON TELKEN FOSTER, LLC
ELLIS                BESSIE NEELY          NC         199CV00788       WALLACE & GRAHAM PA                                  HICKMAN              VERNON E              IL         2016L001212      WALTON TELKEN FOSTER, LLC
GREENWAY             BILLY EUGENE          SC         6012472          WALLACE & GRAHAM PA                                  HICKMAN              VERNON EUGENE         IL         2016L001212      WALTON TELKEN FOSTER, LLC
GREENWAY             SUSAN HENDERSON       SC         6012472          WALLACE & GRAHAM PA                                  JACKSON              DAISY BELLE           IL         2017L001579      WALTON TELKEN FOSTER, LLC
HENDERSON            BETTY LEE             SC         98CP232792       WALLACE & GRAHAM PA                                  KHONG                JENNIFER              IL         2017L000081      WALTON TELKEN FOSTER, LLC
HENDERSON            JAMES W               SC         98CP232792       WALLACE & GRAHAM PA                                  LOHMAN               BENEDICT L            IL         2017L001011      WALTON TELKEN FOSTER, LLC
HENDRICKSON          EDNA GRAGG            NC         199CV00787       WALLACE & GRAHAM PA                                  LOHMAN               SHIRLEY               IL         2017L001011      WALTON TELKEN FOSTER, LLC
HENDRICKSON          LARRY W               NC         199CV00787       WALLACE & GRAHAM PA                                  NASH                 DAVID D               IL         2017L001579      WALTON TELKEN FOSTER, LLC
HOLSHOUSER           FLOYD GREER           NC         199CV899         WALLACE & GRAHAM PA                                  NASH                 KENNETH WAYNE         IL         2017L001579      WALTON TELKEN FOSTER, LLC
HOLSHOUSER           IRENE W               NC         199CV899         WALLACE & GRAHAM PA                                  NASH                 RONALD GLENN          IL         2017L001579      WALTON TELKEN FOSTER, LLC
JAYNES               BARBARA PARKER        SC         98CP2618         WALLACE & GRAHAM PA                                  NASH                 WILLIAM DESMOND       IL         2017L001579      WALTON TELKEN FOSTER, LLC
JAYNES               TERRY DOUGLAS         SC         98CP2618         WALLACE & GRAHAM PA                                  OUREN                DAVID M               IL         2016L000882      WALTON TELKEN FOSTER, LLC
KENNON               ALLEN CRAIG           NC         199CV00397       WALLACE & GRAHAM PA                                  OUREN                KIMBERLEE L           IL         2016L000882      WALTON TELKEN FOSTER, LLC
KENNON               KATIE LEE             NC         199CV00397       WALLACE & GRAHAM PA                                  PERALTA              BERNAL                IL         2017L001333      WALTON TELKEN FOSTER, LLC
KESLER               WILLIAM ALFRED JR     OH         99391656CV       WALLACE & GRAHAM PA                                  PERALTA              JOHN                  IL         2017L001333      WALTON TELKEN FOSTER, LLC
KETCHIE              JIMMY MEREDITH        NC         199CV00397       WALLACE & GRAHAM PA                                  PRIEGEL              LAUREN BETH           IL         2017L001245      WALTON TELKEN FOSTER, LLC
KETCHIE              SHIRLEY MATNEY        NC         199CV00397       WALLACE & GRAHAM PA                                  RANGEL               JULI                  IL         2017L001333      WALTON TELKEN FOSTER, LLC
LOWERY               MARGARET N            NC         199CV899         WALLACE & GRAHAM PA                                  ROWE                 MEDIATRIX             IL         2017L000081      WALTON TELKEN FOSTER, LLC
LOWERY               MARTIN LUTHER         NC         199CV899         WALLACE & GRAHAM PA                                  SANDERS              BARBARA DIANNE        IL         2017L001579      WALTON TELKEN FOSTER, LLC
LUDWIG               NANCY STORY           OH         99391656CV       WALLACE & GRAHAM PA                                  SMITH                DAVID                 IL         2016L001534      WALTON TELKEN FOSTER, LLC
LUDWIG               THOMAS B JR           OH         99391656CV       WALLACE & GRAHAM PA                                  SMITH                ERMA JEAN             IL         2016L001534      WALTON TELKEN FOSTER, LLC
MCMILLIAN            ARTHUR GARY           NC         199CV00397       WALLACE & GRAHAM PA                                  TOMLINSON            MIGNON                IL         2017L000081      WALTON TELKEN FOSTER, LLC
MCMILLIAN            GEORGIA E             NC         199CV00397       WALLACE & GRAHAM PA                                  WASHINGTON           MARY                  IL         2016L001534      WALTON TELKEN FOSTER, LLC
MEADOWS              WILLIE JOE            NC         199CV00788       WALLACE & GRAHAM PA                                  CASHATT              DOROTHY               NC         199CV149T        WARD BLACK LAW
MILLER               GEORGE RUSSELL        NC         199CV899         WALLACE & GRAHAM PA                                  CASHATT              JOHN A                NC         199CV149T        WARD BLACK LAW
MONROE               WILLIAM H             NC         199CV899         WALLACE & GRAHAM PA                                  GREEN                RICKEY F              GA         2002VS029057     WARD BLACK LAW
MONTGOMERY           CHARLES FRANKLIN      NC         199CV899         WALLACE & GRAHAM PA                                  HAMRICK GREEN        JANET LYNN            GA         2002VS029057     WARD BLACK LAW
MONTGOMERY           PATTY REID            NC         199CV899         WALLACE & GRAHAM PA                                  HICKS                HERBERT W JR          NC         399CV295         WARD BLACK LAW
MORGAN               RICKY GENE            NC         199CV00787       WALLACE & GRAHAM PA                                  HOGLEN               FAYE V                NC         399CV295         WARD BLACK LAW
MORGAN               SHANNON M             NC         199CV00787       WALLACE & GRAHAM PA                                  JOHNSON              MARY MEDA T           NC         199CV189         WARD BLACK LAW
PAINTER              ALMA C                NC         199CV00788       WALLACE & GRAHAM PA                                  JOHNSON              STEPHEN DALE          NC         199CV189         WARD BLACK LAW
PAINTER              WILLARD EUGENE        NC         199CV00788       WALLACE & GRAHAM PA                                  RABY                 CHARLES B             NC         199CV149T        WARD BLACK LAW
PENNINGER            HILDA THOMASON        NC         199CV00787       WALLACE & GRAHAM PA                                  RABY                 DEANNE L              NC         199CV149T        WARD BLACK LAW
PENNINGER            TERRY WAYNE SR        NC         199CV00787       WALLACE & GRAHAM PA                                  SANDY                GARY THOMAS           WV         17C965           WARD BLACK LAW
ROGERS EDWARDS       HELEN ARVONIA         NC         599CV191         WALLACE & GRAHAM PA                                  SANDY                PEGGY P               WV         17C965           WARD BLACK LAW
SAFRIT               BRENDA SUE            NC         199CV00397       WALLACE & GRAHAM PA                                  SHAVER               BOBBY A               NC         105CV364         WARD BLACK LAW
SAFRIT               CHARLES LEE           NC         199CV00397       WALLACE & GRAHAM PA                                  TOLODZIECKI          JIMMY W               NC         199CV189         WARD BLACK LAW
SAINE                HENRY G               NC         199CV00787       WALLACE & GRAHAM PA                                  BALLESTEROS          CARMEN                AZ         CV97313TUCRW     WARD KEENAN & BARRETT
SAINE                REBA                  NC         199CV00787       WALLACE & GRAHAM PA                                  BALLESTEROS          RAUL                  AZ         CV97313TUCRW     WARD KEENAN & BARRETT
SAULTERS             EDITH                 NC         199CV899         WALLACE & GRAHAM PA                                  DEVOE                HAROLD                AZ         CIV00159TUCRCC   WARD KEENAN & BARRETT
SAULTERS             HENRY                 NC         199CV899         WALLACE & GRAHAM PA                                  MCCORKLE             WILLIS                AZ         CV990027PHXRCB   WARD KEENAN & BARRETT
SEAFORD              GLENN CALVIN SR       NC         199CV00787       WALLACE & GRAHAM PA                                  ALVARADO             KIM RIXSE             TX         010100077CV      WATERS & KRAUS, LLP
SEAFORD              KATHERINE G           NC         199CV00787       WALLACE & GRAHAM PA                                  ARNOLD               BILLY                 TX         005582C          WATERS & KRAUS, LLP
SEARCY               ANNIE JEANETTE        SC         98CP232529       WALLACE & GRAHAM PA                                  ARNOLD               SYBIL                 TX         005582C          WATERS & KRAUS, LLP
SEARCY               ANNIE JEANETTE        SC         99CP230484       WALLACE & GRAHAM PA                                  ASHLOCK              CARL                  TX         0301510E         WATERS & KRAUS, LLP
SEARCY               BILLY JAMES           SC         98CP232529       WALLACE & GRAHAM PA                                  ASHLOCK              IDALENE               TX         0301510E         WATERS & KRAUS, LLP
SEARCY               BILLY JAMES           SC         99CP230484       WALLACE & GRAHAM PA                                  ASHLOCK              KEITH                 TX         0301510E         WATERS & KRAUS, LLP
SETTLEMYER           DAVID L               NC         119CV344         WALLACE & GRAHAM PA                                  ASHLOCK              ROY                   TX         0301510E         WATERS & KRAUS, LLP
SETTLEMYER           JAN                   NC         119CV344         WALLACE & GRAHAM PA                                  ASHLOCK              STEVEN                TX         0301510E         WATERS & KRAUS, LLP
SMITH                JOHN HENRY            NC         199CV00787       WALLACE & GRAHAM PA                                  BENTO                LINDA A               TX         DV0310314F       WATERS & KRAUS, LLP
SMITH                PATSY S               SC         98CP232634       WALLACE & GRAHAM PA                                  CAPPELLI             GIUSEPPE              TX         DV0310314F       WATERS & KRAUS, LLP
SMITH                ROBERT E              SC         98CP232634       WALLACE & GRAHAM PA                                  CAPPELLI             JOSEPH S              TX         DV0310314F       WATERS & KRAUS, LLP
SMITH                VERNIE                NC         199CV00787       WALLACE & GRAHAM PA                                  CAPPELLI             VIRGINIA              TX         DV0310314F       WATERS & KRAUS, LLP
SULLIVAN             ALVIN CARL            SC         98CP232310       WALLACE & GRAHAM PA                                  CAPPELLI-FALCIANI    KAREN                 TX         DV0310314F       WATERS & KRAUS, LLP
TROUTMAN             EVELYN REAVIS         NC         199CV899         WALLACE & GRAHAM PA                                  CHURCH               CECELIA               TX         31136RM01        WATERS & KRAUS, LLP
TROUTMAN             ROBERT MCVAY          NC         199CV899         WALLACE & GRAHAM PA                                  CHURCH               FRANKLIN              TX         31136RM01        WATERS & KRAUS, LLP
AQUINO               JOVITA                IL         2017L000081      WALTON TELKEN FOSTER, LLC                            CHURCH               JUANITA               TX         31136RM01        WATERS & KRAUS, LLP
AQUINO               MIGUEL PAMPO          IL         2017L000081      WALTON TELKEN FOSTER, LLC                            CHURCH               MARY LOU              TX         31136RM01        WATERS & KRAUS, LLP
AQUINO               WELLINGTON            IL         2017L000081      WALTON TELKEN FOSTER, LLC                            CHURCH JR            FRANKLIN              TX         31136RM01        WATERS & KRAUS, LLP




                                                                                                            Appendix A - 848
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 183 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COLLURA              SANTO J               LA         201811684          WATERS & KRAUS, LLP                                  EHLIS                JANINE                WA         122097289        WEINSTEIN CAGGIANO PLLC
DARNOLD              LEVAUGHN              TX         981004083E         WATERS & KRAUS, LLP                                  HEIDECKER            LINDA MARIE           WA         122064402        WEINSTEIN CAGGIANO PLLC
DWERLKOTTE           WENDY                 TX         006526E            WATERS & KRAUS, LLP                                  LANGDON              BEVERLY               WA         132097091        WEINSTEIN CAGGIANO PLLC
EHLIS                JANINE                WA         122097289          WATERS & KRAUS, LLP                                  LANGDON              LARRY R               WA         132097091        WEINSTEIN CAGGIANO PLLC
ENCISCO              DAVID ANTHONY         AZ         S0300CV201800391   WATERS & KRAUS, LLP                                  MCBRIDE              DONALD                WA         132089101        WEINSTEIN CAGGIANO PLLC
ENCISCO              EMMANUEL              AZ         S0300CV201800391   WATERS & KRAUS, LLP                                  MCBRIDE              SHARON                WA         132089101        WEINSTEIN CAGGIANO PLLC
ENCISCO              JOANN VICTORIA        AZ         S0300CV201800391   WATERS & KRAUS, LLP                                  STEPHENS             CHARLES M             WA         132107487        WEINSTEIN CAGGIANO PLLC
GOLD                 JOYCE L               CA         BC253974           WATERS & KRAUS, LLP                                  UNICK                PHILIP CARL           WA         162185541SEA     WEINSTEIN CAGGIANO PLLC
GOLD                 JOYCE L               TX         0104888            WATERS & KRAUS, LLP                                  DECARLO              JOHN A.               NY         UNKNOWN          WEISFUSE & WEISFUSE
HAMMOND              JOSEHINE ENCISCO      AZ         S0300CV201800391   WATERS & KRAUS, LLP                                  .                    .                     NY         11477400         WEITZ & LUXENBERG, PC
HUMPHREY             LYDIA                 TX         DV0107826H         WATERS & KRAUS, LLP                                  .                    .                     NY         11169300         WEITZ & LUXENBERG, PC
HUMPHREY             RICKY R               TX         DV0107826H         WATERS & KRAUS, LLP                                  .                    .                     NY         11704400         WEITZ & LUXENBERG, PC
HUNT                 DONNA L               TX         DC1808536          WATERS & KRAUS, LLP                                  .                    .                     NY         11167600         WEITZ & LUXENBERG, PC
HUNT                 JERRY P               TX         DC1808536          WATERS & KRAUS, LLP                                  .                    .                     NY         10071101         WEITZ & LUXENBERG, PC
KOCHANKOSKA          PAVLINA               TX         CV33382            WATERS & KRAUS, LLP                                  .                    .                     NY         10738901         WEITZ & LUXENBERG, PC
KOCHANKOVSKI         ALEXANDER             TX         CV33382            WATERS & KRAUS, LLP                                  .                    .                     NY         10071201         WEITZ & LUXENBERG, PC
KOCHANKOVSKI         PAVLINA               TX         CV33382            WATERS & KRAUS, LLP                                  ABADINSKY            HARVEY                NY         11938600         WEITZ & LUXENBERG, PC
KOCHANKOVSKI         PETROVA               TX         CV33382            WATERS & KRAUS, LLP                                  ABADINSKY            HELEN                 NY         11938600         WEITZ & LUXENBERG, PC
KUCHTA               PAUL                  TX         31136RM01          WATERS & KRAUS, LLP                                  ABARBANEL            DON                   NY         11594902         WEITZ & LUXENBERG, PC
KUCHTA               VIRGINIA              TX         31136RM01          WATERS & KRAUS, LLP                                  ABARE                CAROL                 NY         12579599         WEITZ & LUXENBERG, PC
LUTZ                 JEROLDINE             PA         130500625          WATERS & KRAUS, LLP                                  ABARE                JOSEPH H              NY         12579599         WEITZ & LUXENBERG, PC
LUTZ                 RUSSELL H             PA         130500625          WATERS & KRAUS, LLP                                  ABBATE               FRANK                 NY         10008703         WEITZ & LUXENBERG, PC
MIKKELSON            SCOTT WAYNE           TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBATIELLO           ALBERT A              NY         12039001         WEITZ & LUXENBERG, PC
NELSON               ANDREA JOHNKE         TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBATIELLO           MARGARET              NY         99112896         WEITZ & LUXENBERG, PC
PARADIS              AMANDA                TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBATIELLO           MARY                  NY         12039001         WEITZ & LUXENBERG, PC
PARADIS              JAKOB                 TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBATIELLO           NICHOLAS              NY         99112896         WEITZ & LUXENBERG, PC
PARADIS              JORDAN                TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBONDANZA           ANGELA                NY         11501898         WEITZ & LUXENBERG, PC
PARADIS              KARI                  TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBONDANZA           FRANK                 NY         11501898         WEITZ & LUXENBERG, PC
PARADIS              KEVIN DUANE           TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBOTOY              THERESA               NY         02106693         WEITZ & LUXENBERG, PC
PARADIS              STEPHANIE             TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBOTT               ANNE                  NY         12185699         WEITZ & LUXENBERG, PC
PRUETT               JO                    TX         A90CA229           WATERS & KRAUS, LLP                                  ABBOTT               BARBARA               NY         1902612012       WEITZ & LUXENBERG, PC
PRUETT               TERRY M               TX         A90CA229           WATERS & KRAUS, LLP                                  ABBOTT               GLORIA                NY         10400300         WEITZ & LUXENBERG, PC
QUESENBERRY          ANGELA                TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABBOTT               LORENE                NY         10928600         WEITZ & LUXENBERG, PC
REHRIG               DONNA                 MD         24X07000532        WATERS & KRAUS, LLP                                  ABBOTT               LORENE                NY         12220399         WEITZ & LUXENBERG, PC
REHRIG               ROBERT E              MD         24X07000532        WATERS & KRAUS, LLP                                  ABBOTT               MYRTLE B              NY         01CIV7364        WEITZ & LUXENBERG, PC
RIXSE                DONNA                 TX         010100077CV        WATERS & KRAUS, LLP                                  ABBOTT               ROBERT F              NY         10400300         WEITZ & LUXENBERG, PC
RIXSE                FRANK                 TX         010100077CV        WATERS & KRAUS, LLP                                  ABBOTT               VICTOR H              NY         12185699         WEITZ & LUXENBERG, PC
ROCHA                ESTELLA               TX         90031016B          WATERS & KRAUS, LLP                                  ABBRUZZESE           ALPHONSE A            NY         1904662018       WEITZ & LUXENBERG, PC
ROCHA                MANUEL A              TX         90031016B          WATERS & KRAUS, LLP                                  ABBRUZZESE           LOUISE                NY         1904662018       WEITZ & LUXENBERG, PC
ROLAND               ALMA                  TX         15077JG01          WATERS & KRAUS, LLP                                  ABDELLAH             AHMED A               NY         10400200         WEITZ & LUXENBERG, PC
ROLAND               CLEVELAND JOHN        TX         15077JG01          WATERS & KRAUS, LLP                                  ABDELLAN             LORIEH                NY         10400200         WEITZ & LUXENBERG, PC
SCARR                BARBARA               TX         31136RM01          WATERS & KRAUS, LLP                                  ABDILLA              BETTY                 NY         12213801         WEITZ & LUXENBERG, PC
SCHUMACK             HEIDI PARADIS         TX         619CV00661ADAJCM   WATERS & KRAUS, LLP                                  ABDILLA              JOSEPH                NY         12213801         WEITZ & LUXENBERG, PC
SILVESTRO            DORIS                 CA         BC253974           WATERS & KRAUS, LLP                                  ABELA                SUSAN                 NY         11104403         WEITZ & LUXENBERG, PC
SILVESTRO            DORIS                 TX         0104888            WATERS & KRAUS, LLP                                  ABELS                KENNETH EDWARD        NY         01CIV3913        WEITZ & LUXENBERG, PC
SILVESTRO            SALVATORE SAM         CA         BC253974           WATERS & KRAUS, LLP                                  ABERNATHY            GAIL                  NY         10911800         WEITZ & LUXENBERG, PC
SILVESTRO            SALVATORE SAM         TX         0104888            WATERS & KRAUS, LLP                                  ABERNATHY            REGINALD LONZELL      NY         01CIV8246        WEITZ & LUXENBERG, PC
TIPPLE               DOREEN                TX         63916A             WATERS & KRAUS, LLP                                  ABERNATHY            SHIRLEY               NY         01CIV8246        WEITZ & LUXENBERG, PC
TIPPLE               JESSE                 TX         63916A             WATERS & KRAUS, LLP                                  ABNER                ALFONZO               NY         01CIV3920        WEITZ & LUXENBERG, PC
TOWLER               JESSE M               TX         010100077CV        WATERS & KRAUS, LLP                                  ABNER                CLAUDIA               NY         01CIV3920        WEITZ & LUXENBERG, PC
TOWLER               JULIA                 TX         010100077CV        WATERS & KRAUS, LLP                                  ABPLANALP            EVELYN J              NY         10835600         WEITZ & LUXENBERG, PC
TULLIER              GENE                  TX         17334JG01          WATERS & KRAUS, LLP                                  ABPLANALP            JOHN P                NY         10835600         WEITZ & LUXENBERG, PC
URBANEK              BEN JEROME            TX         A90CA781           WATERS & KRAUS, LLP                                  ABRAHAM              DENOTA                NY         CV03614          WEITZ & LUXENBERG, PC
URBANEK              ELLEN                 TX         A90CA781           WATERS & KRAUS, LLP                                  ABRAHAM              EAMESA                NY         11054700         WEITZ & LUXENBERG, PC
WENDLAND             ARNOLD A              TX         A90CA460           WATERS & KRAUS, LLP                                  ABRAHAM              EAMESA                NY         10835600         WEITZ & LUXENBERG, PC
WENDLAND             WANDELL               TX         A90CA460           WATERS & KRAUS, LLP                                  ABRAHAM              GEORGE K              NY         11054700         WEITZ & LUXENBERG, PC
WESTBROOK            PEGGY LYNELL          TX         201954586          WATERS & KRAUS, LLP                                  ABRAHAM              GEORGE K              NY         10835600         WEITZ & LUXENBERG, PC
WESTBROOK            ROSS WELLS            TX         201954586          WATERS & KRAUS, LLP                                  ABRAHAMSEN           ALF J                 NY         10400100         WEITZ & LUXENBERG, PC
WILLIS               SHARON                IL         2007L0327          WATERS & KRAUS, LLP                                  ABRAHAMSEN           ALSAUG                NY         10400100         WEITZ & LUXENBERG, PC
WILLIS               WILLIAM E             IL         2007L0327          WATERS & KRAUS, LLP                                  ABRAHAMSEN           ARTHUR                NY         11289799         WEITZ & LUXENBERG, PC
WYRICK               BILLIE                TX         89094160C          WATERS & KRAUS, LLP                                  ABRAHAMSEN           BRUCE J               NY         12767602         WEITZ & LUXENBERG, PC
WYRICK               HUGH                  TX         89094160C          WATERS & KRAUS, LLP                                  ABRAHAMSEN           CAROL                 NY         12767602         WEITZ & LUXENBERG, PC
YORIO                ELIZABETH             TX         31136RM01          WATERS & KRAUS, LLP                                  ABRAHAMSEN           DOLORES               NY         11289799         WEITZ & LUXENBERG, PC
ZIMNOCH              JOAN                  TX         DV0310314F         WATERS & KRAUS, LLP                                  ABRUNZO              FRANK ANTHONY         NY         10710102         WEITZ & LUXENBERG, PC
ADLER                CHARLES EUGENE        WA         152079140SEA       WEINSTEIN CAGGIANO PLLC                              ABRUNZO              GINGER                NY         10710102         WEITZ & LUXENBERG, PC
ADLER                JEANNE M              WA         152079140SEA       WEINSTEIN CAGGIANO PLLC                              ABRUSCATI            JOHN                  NY         01111234         WEITZ & LUXENBERG, PC
BUDD                 RAYMOND               WA         UNKNOWN            WEINSTEIN CAGGIANO PLLC                              ABRUSCATI            MARJORIE              NY         01111234         WEITZ & LUXENBERG, PC
BUDD                 VICKIE                WA         UNKNOWN            WEINSTEIN CAGGIANO PLLC                              ABRUZESE             THERESA               NY         1902152014       WEITZ & LUXENBERG, PC
CAMERON              ROBERT                WA         122064402          WEINSTEIN CAGGIANO PLLC                              ABRUZZINO            ANGELO C              NY         10571402         WEITZ & LUXENBERG, PC
CHUCHILL             ALTON V               WA         182127039          WEINSTEIN CAGGIANO PLLC                              ABRUZZINO            BARBARA               NY         10571402         WEITZ & LUXENBERG, PC
CHURCHILL            ALTON V               WA         182127039          WEINSTEIN CAGGIANO PLLC                              ABUSH                GERTRUDE              NY         12499300         WEITZ & LUXENBERG, PC




                                                                                                              Appendix A - 849
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 184 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ABUSH                JOSEPH                NY         12499300         WEITZ & LUXENBERG, PC                                ADAMS                BARBARA F             NY         01CIV7365        WEITZ & LUXENBERG, PC
ACALIN               GORAN                 NY         12444102         WEITZ & LUXENBERG, PC                                ADAMS                BERNADETTE            NY         02106508         WEITZ & LUXENBERG, PC
ACALIN               NADA                  NY         12444102         WEITZ & LUXENBERG, PC                                ADAMS                BETTY FRAN            NY         01CIV3910        WEITZ & LUXENBERG, PC
ACCARDI              ROSEMARIE             NY         10366200         WEITZ & LUXENBERG, PC                                ADAMS                BONNY L               NY         10645702         WEITZ & LUXENBERG, PC
ACCARDI              VINCENT LEO           NY         10366200         WEITZ & LUXENBERG, PC                                ADAMS                CAROL                 NY         01CIV4687        WEITZ & LUXENBERG, PC
ACCARDO              ANTHONY J             NY         11289099         WEITZ & LUXENBERG, PC                                ADAMS                CLARENCE J            NY         CV013921         WEITZ & LUXENBERG, PC
ACCARDO              NONIE                 NY         11289099         WEITZ & LUXENBERG, PC                                ADAMS                CLYDE                 NY         CV022369         WEITZ & LUXENBERG, PC
ACCETTA              DOROTHEA              NY         12164499         WEITZ & LUXENBERG, PC                                ADAMS                DALE B                NY         10645702         WEITZ & LUXENBERG, PC
ACCETTA              JOSEPH P              NY         12164499         WEITZ & LUXENBERG, PC                                ADAMS                DAVID G               NY         02106508         WEITZ & LUXENBERG, PC
ACCIA                ALBERT                NY         12693502         WEITZ & LUXENBERG, PC                                ADAMS                DENNIS C              NY         CV013899         WEITZ & LUXENBERG, PC
ACCIA                DELLA                 NY         12693502         WEITZ & LUXENBERG, PC                                ADAMS                DONNA                 NY         11338499         WEITZ & LUXENBERG, PC
ACCIAIO              VINCENT               NY         12788802         WEITZ & LUXENBERG, PC                                ADAMS                DOROTHY               NY         10835600         WEITZ & LUXENBERG, PC
ACETO                FRANK                 NY         10366400         WEITZ & LUXENBERG, PC                                ADAMS                ELLEN                 NY         10669502         WEITZ & LUXENBERG, PC
ACETO                MARIE A               NY         10366400         WEITZ & LUXENBERG, PC                                ADAMS                FREDERICK T           NY         11336199         WEITZ & LUXENBERG, PC
ACEVEDO              AURELIO               NY         02106579         WEITZ & LUXENBERG, PC                                ADAMS                GARY                  NY         10366700         WEITZ & LUXENBERG, PC
ACEVEDO              GABRIEL               NY         12788702         WEITZ & LUXENBERG, PC                                ADAMS                HATTIE                NY         11773898         WEITZ & LUXENBERG, PC
ACEVEDO              MARIA                 NY         12788702         WEITZ & LUXENBERG, PC                                ADAMS                HELEN A               NY         10366700         WEITZ & LUXENBERG, PC
ACEVEDO              MIQUEL A              NY         I20019824        WEITZ & LUXENBERG, PC                                ADAMS                JAMES                 NY         01111225         WEITZ & LUXENBERG, PC
ACEVEDO              NILDA                 NY         02106579         WEITZ & LUXENBERG, PC                                ADAMS                JANET                 NY         10722202         WEITZ & LUXENBERG, PC
ACEVEDO              RICHARD               NY         12039101         WEITZ & LUXENBERG, PC                                ADAMS                JOHN                  NY         11336099         WEITZ & LUXENBERG, PC
ACH                  HENRY                 NY         12043101         WEITZ & LUXENBERG, PC                                ADAMS                JOHN H JR             NY         10835600         WEITZ & LUXENBERG, PC
ACH                  SHEILA                NY         12043101         WEITZ & LUXENBERG, PC                                ADAMS                JOHN J                NY         10669502         WEITZ & LUXENBERG, PC
ACHORD               CHARLES L             NY         1902102018       WEITZ & LUXENBERG, PC                                ADAMS                JOHN W                NY         10366700         WEITZ & LUXENBERG, PC
ACHORD               JULIA                 NY         1902102018       WEITZ & LUXENBERG, PC                                ADAMS                JOHN W                NY         10366800         WEITZ & LUXENBERG, PC
ACHTER               MARY A                NY         1901582016       WEITZ & LUXENBERG, PC                                ADAMS                LARRY                 NY         01CIV3910        WEITZ & LUXENBERG, PC
ACHTZIGER            JENNIE                NY         11502098         WEITZ & LUXENBERG, PC                                ADAMS                LEWIS                 NY         01CIV7365        WEITZ & LUXENBERG, PC
ACHTZIGER            OTTO F                NY         11502098         WEITZ & LUXENBERG, PC                                ADAMS                LILLIAN               NY         10366800         WEITZ & LUXENBERG, PC
ACHZET               BETTY                 NY         11289199         WEITZ & LUXENBERG, PC                                ADAMS                LINDA                 NY         CV016782         WEITZ & LUXENBERG, PC
ACHZET               EDGAR A               NY         11289199         WEITZ & LUXENBERG, PC                                ADAMS                LOIS                  NY         01CIV7365        WEITZ & LUXENBERG, PC
ACKER                GARY                  NY         10366500         WEITZ & LUXENBERG, PC                                ADAMS                LORETTA               NY         11336199         WEITZ & LUXENBERG, PC
ACKER                HUGH                  NY         10366500         WEITZ & LUXENBERG, PC                                ADAMS                LUELLA                NY         01CIV7366        WEITZ & LUXENBERG, PC
ACKER                VELMA                 NY         10366500         WEITZ & LUXENBERG, PC                                ADAMS                LYNA MARIE            NY         01CIV4688        WEITZ & LUXENBERG, PC
ACKERLEY             CYNTHIA A             NY         11289299         WEITZ & LUXENBERG, PC                                ADAMS                MARY                  NY         11336099         WEITZ & LUXENBERG, PC
ACKERLEY             EDWARD J              NY         11289299         WEITZ & LUXENBERG, PC                                ADAMS                MICHAEL M             NY         10366900         WEITZ & LUXENBERG, PC
ACKERMAN             MARIE E               NY         99113362         WEITZ & LUXENBERG, PC                                ADAMS                NANCY                 NY         01111225         WEITZ & LUXENBERG, PC
ACKERMAN             PATRICIA              NY         10366600         WEITZ & LUXENBERG, PC                                ADAMS                NATHAN W              NY         01CIV7366        WEITZ & LUXENBERG, PC
ACKERMAN             ROBERT                NY         99113362         WEITZ & LUXENBERG, PC                                ADAMS                PATRICIA              NY         19001111         WEITZ & LUXENBERG, PC
ACKERMAN             STEPHEN G             NY         10366600         WEITZ & LUXENBERG, PC                                ADAMS                ROBERT                NY         11773898         WEITZ & LUXENBERG, PC
ACKEY                LEO EDWARD            NY         10680702         WEITZ & LUXENBERG, PC                                ADAMS                RONALD L              NY         CV016782         WEITZ & LUXENBERG, PC
ACKEY                STEPHANIE             NY         10680702         WEITZ & LUXENBERG, PC                                ADAMS                ROSIE                 NY         CV013921         WEITZ & LUXENBERG, PC
ACKLIN               MARY ELIZABETH HAMM   NY         01CIV3913        WEITZ & LUXENBERG, PC                                ADAMS                SALLY ANN             NY         10366900         WEITZ & LUXENBERG, PC
ACKLIN               REGINA                NY         01CIV3913        WEITZ & LUXENBERG, PC                                ADAMS                THOMAS                NY         12499500         WEITZ & LUXENBERG, PC
ACKNER               BARBARA               NY         02105715         WEITZ & LUXENBERG, PC                                ADAMS                THOMAS Q              NY         02106508         WEITZ & LUXENBERG, PC
ACKNER               DONALD E              NY         02105715         WEITZ & LUXENBERG, PC                                ADAMS                VICTORIA M            NY         01CIV3920        WEITZ & LUXENBERG, PC
ACOCELLA             FRANCESCA             NY         10613299         WEITZ & LUXENBERG, PC                                ADAMS                VIRGIL                NY         19001111         WEITZ & LUXENBERG, PC
ACOCELLA             MARIO                 NY         10613299         WEITZ & LUXENBERG, PC                                ADAMS                WILBUR G              NY         01CIV7781        WEITZ & LUXENBERG, PC
ACOVINO              FIORE D               NY         01111236         WEITZ & LUXENBERG, PC                                ADAMS                WILLIAM J             NY         01CIV4687        WEITZ & LUXENBERG, PC
ACOVINO              MADELINE              NY         01111236         WEITZ & LUXENBERG, PC                                ADAMS                WINDELL G             NY         12039901         WEITZ & LUXENBERG, PC
ACQUAFREDDA          BETTY                 NY         12499400         WEITZ & LUXENBERG, PC                                ADAMS                WINFRED E             NY         11338499         WEITZ & LUXENBERG, PC
ACQUAFREDDA          VALENTINE             NY         12499400         WEITZ & LUXENBERG, PC                                ADAMSON              LEAH M                NY         11335999         WEITZ & LUXENBERG, PC
ACQUARO              ANTOINETTE            NY         01114376         WEITZ & LUXENBERG, PC                                ADAMSON              ROBERT                NY         11335999         WEITZ & LUXENBERG, PC
ACQUARO              MICHAEL C             NY         01114376         WEITZ & LUXENBERG, PC                                ADCOCK               DAN W                 NY         CV016069         WEITZ & LUXENBERG, PC
ACQUAVITO            NEIL                  NY         10200902         WEITZ & LUXENBERG, PC                                ADCOCK               FANNIE SUE            NY         CV016067         WEITZ & LUXENBERG, PC
ACQUAVITO            PAULETTE              NY         10200902         WEITZ & LUXENBERG, PC                                ADCOCK               HELEN                 NY         CV016069         WEITZ & LUXENBERG, PC
ACQUILANO            JOSEPH S              NY         10740302         WEITZ & LUXENBERG, PC                                ADDEO                BARBARA               NY         10716802         WEITZ & LUXENBERG, PC
ADAMO                DANIEL                NY         19030211         WEITZ & LUXENBERG, PC                                ADDEO                JOHN L                NY         10716802         WEITZ & LUXENBERG, PC
ADAMO                DENNIS J              DE         N18C12225ASB     WEITZ & LUXENBERG, PC                                ADELMAN              CHARLES               NY         8115712016       WEITZ & LUXENBERG, PC
ADAMO                JOHN JOSEPH           NY         10700102         WEITZ & LUXENBERG, PC                                ADELMAN              GRACE                 NY         8115712016       WEITZ & LUXENBERG, PC
ADAMO                JOSEPHINE E           NY         10700102         WEITZ & LUXENBERG, PC                                ADERMAN              JEAN                  NY         11018300         WEITZ & LUXENBERG, PC
ADAMO                JULIE                 NY         19030211         WEITZ & LUXENBERG, PC                                ADERMAN              RICHARD C             NY         11018300         WEITZ & LUXENBERG, PC
ADAMO                RHONDA L              DE         N18C12225ASB     WEITZ & LUXENBERG, PC                                ADESSO               RAE                   NY         02126036         WEITZ & LUXENBERG, PC
ADAMOVICH            KATHLEEN              NY         1901082018       WEITZ & LUXENBERG, PC                                ADESSO               TONY L                NY         02126036         WEITZ & LUXENBERG, PC
ADAMOVICH            MICHAEL               NY         1901082018       WEITZ & LUXENBERG, PC                                ADINOLFI             BENJAMIN              NY         10399700         WEITZ & LUXENBERG, PC
ADAMOWICZ            BRUNO                 NY         12039201         WEITZ & LUXENBERG, PC                                ADINOLFI             JESSIE                NY         12668202         WEITZ & LUXENBERG, PC
ADAMOWICZ            LILA G                NY         12039201         WEITZ & LUXENBERG, PC                                ADINOLFI             MATTHEW               NY         12668202         WEITZ & LUXENBERG, PC
ADAMOWSKI            DONALD J              NY         10399900         WEITZ & LUXENBERG, PC                                ADKINS               CARMELA               NY         12039001         WEITZ & LUXENBERG, PC
ADAMOWSKI            SHARON                NY         10399900         WEITZ & LUXENBERG, PC                                ADKINS               FRANK J               NY         12039001         WEITZ & LUXENBERG, PC
ADAMS                ADDINE                NY         CV022369         WEITZ & LUXENBERG, PC                                ADKINS               SHIRLEY               NY         CV021456         WEITZ & LUXENBERG, PC
ADAMS                ALFRED J              NY         10399800         WEITZ & LUXENBERG, PC                                ADKINS               WILLY L               NY         CV021456         WEITZ & LUXENBERG, PC
ADAMS                ARLENE                NY         12039901         WEITZ & LUXENBERG, PC                                ADLER                DELLA                 NY         10613399         WEITZ & LUXENBERG, PC
ADAMS                ARTHUR G              NY         10722202         WEITZ & LUXENBERG, PC                                ADLER                GEORGE                NY         10613399         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 850
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 185 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ADOLF                NORBERT F             NY         02106693         WEITZ & LUXENBERG, PC                                AIANI                CAROLYN               NY         19018709         WEITZ & LUXENBERG, PC
ADOLFI               LOUISE                NY         10587602         WEITZ & LUXENBERG, PC                                AIANI                KENNETH               NY         19018709         WEITZ & LUXENBERG, PC
ADOLFI               RICHARD H             NY         10587602         WEITZ & LUXENBERG, PC                                AIELLO               JOSEPH                NY         01111230         WEITZ & LUXENBERG, PC
ADRIATICO            DOLORES V             NY         99113358         WEITZ & LUXENBERG, PC                                AIELLO               ROSE                  NY         01111224         WEITZ & LUXENBERG, PC
ADRIATICO            JOSEPH                NY         99113358         WEITZ & LUXENBERG, PC                                AIELLO               SIMONE                NY         01111224         WEITZ & LUXENBERG, PC
AFFELDT              FRANCIS               NY         19010410         WEITZ & LUXENBERG, PC                                AINSLIE              HAROLD D              NY         11336899         WEITZ & LUXENBERG, PC
AFIF                 NADRAH                NY         11502198         WEITZ & LUXENBERG, PC                                AINSLIE              MARY JANE             NY         11336899         WEITZ & LUXENBERG, PC
AFIF                 NASIR                 NY         11502198         WEITZ & LUXENBERG, PC                                AIRD                 LEE ROY               NY         11501198         WEITZ & LUXENBERG, PC
AFTUCK               EDWARD D              NY         10740102         WEITZ & LUXENBERG, PC                                AIRD                 PEARL                 NY         11501198         WEITZ & LUXENBERG, PC
AGAN                 PAT                   NY         10399600         WEITZ & LUXENBERG, PC                                AITKEN               ELLEN                 NY         02107007         WEITZ & LUXENBERG, PC
AGAN                 PAUL M                NY         10399600         WEITZ & LUXENBERG, PC                                AITKEN               KENNETH               NY         02107007         WEITZ & LUXENBERG, PC
AGATIELLO            JEAN                  NY         19011110         WEITZ & LUXENBERG, PC                                AKIN                 FRANCES HARDER        NY         10926003         WEITZ & LUXENBERG, PC
AGATIELLO            JOHN                  NY         19011110         WEITZ & LUXENBERG, PC                                AKIN                 IRVING A              NY         10926003         WEITZ & LUXENBERG, PC
AGAZZI               JOSEPH                NY         10427600         WEITZ & LUXENBERG, PC                                AKIN                 THOMAS                NY         10035099         WEITZ & LUXENBERG, PC
AGLIALORO            GEORGE JOSEPH         NY         99113357         WEITZ & LUXENBERG, PC                                AKINS                FLORA L               NY         CV013899         WEITZ & LUXENBERG, PC
AGLIALORO            JOAN                  NY         01110684         WEITZ & LUXENBERG, PC                                AKINS                IDA                   NY         11336999         WEITZ & LUXENBERG, PC
AGLIALORO            JOHN                  NY         01110684         WEITZ & LUXENBERG, PC                                AKINS                WILLIAM LESLIE        NY         11336999         WEITZ & LUXENBERG, PC
AGLIALORO            ROSE CARMELA          NY         99113357         WEITZ & LUXENBERG, PC                                ALABISI              THERESA               NY         10367300         WEITZ & LUXENBERG, PC
AGNELLI              HELENA                NY         12039901         WEITZ & LUXENBERG, PC                                ALABISI              VINCENT               NY         10367300         WEITZ & LUXENBERG, PC
AGNELLI              HELENA                NY         10452702         WEITZ & LUXENBERG, PC                                ALACCA               ALFRED S              NY         10635199         WEITZ & LUXENBERG, PC
AGNELLI              JOSEPH                NY         12039901         WEITZ & LUXENBERG, PC                                ALACCA               LORRAINE              NY         10635199         WEITZ & LUXENBERG, PC
AGNELLI              JOSEPH                NY         10452702         WEITZ & LUXENBERG, PC                                ALAM                 GEORGETTE             NY         01111220         WEITZ & LUXENBERG, PC
AGNEW                HENREAN               NY         CIV006917        WEITZ & LUXENBERG, PC                                ALAM                 JOHN                  NY         01111220         WEITZ & LUXENBERG, PC
AGNEW                JESSE E               NY         CIV006917        WEITZ & LUXENBERG, PC                                ALAN                 BOBBI JO              NY         1903132016       WEITZ & LUXENBERG, PC
AGOGLIA              CLAIRE                NY         10367000         WEITZ & LUXENBERG, PC                                ALAN                 DONALD C              NY         1903132016       WEITZ & LUXENBERG, PC
AGOGLIA              JOSEPH V              NY         10367000         WEITZ & LUXENBERG, PC                                ALATIS               JAMES                 NY         11350303         WEITZ & LUXENBERG, PC
AGOSTA               GIUSEPPE              NY         12039301         WEITZ & LUXENBERG, PC                                ALATIS               JUDITH                NY         11350303         WEITZ & LUXENBERG, PC
AGOSTA               ROSALIE               NY         12039301         WEITZ & LUXENBERG, PC                                ALBANESE             GAETANO               NY         CV012842         WEITZ & LUXENBERG, PC
AGOSTINELLI          GUY                   NY         10710002         WEITZ & LUXENBERG, PC                                ALBANESE             JOHN                  NY         11123201         WEITZ & LUXENBERG, PC
AGOSTINELLI          JEAN                  NY         10710002         WEITZ & LUXENBERG, PC                                ALBANESE             MARY                  NY         CV012842         WEITZ & LUXENBERG, PC
AGOSTO               RICHARD R             NY         1902402016       WEITZ & LUXENBERG, PC                                ALBANESE             MILDRED               NY         11123201         WEITZ & LUXENBERG, PC
AGOSTO               ROSIE                 NY         02107102         WEITZ & LUXENBERG, PC                                ALBANO               THERESA               NY         11348707         WEITZ & LUXENBERG, PC
AGOSTO               VINCENT R             NY         02107102         WEITZ & LUXENBERG, PC                                ALBANO               VINCENT               NY         11348707         WEITZ & LUXENBERG, PC
AGOVINO              CAMILLE D             NY         1040110          WEITZ & LUXENBERG, PC                                ALBEE                PAUL DAVID            NY         10740402         WEITZ & LUXENBERG, PC
AGOVINO              FRANK J               NY         1040110          WEITZ & LUXENBERG, PC                                ALBERDA              DOROTHY               NY         19007212         WEITZ & LUXENBERG, PC
AGRELO               MARIA                 NY         1902422017       WEITZ & LUXENBERG, PC                                ALBERGO              FRANK                 NY         10669502         WEITZ & LUXENBERG, PC
AGRELO-LIJO          RAMON                 NY         1902422017       WEITZ & LUXENBERG, PC                                ALBERGO              MARIA HELEN           NY         10669502         WEITZ & LUXENBERG, PC
AGRO                 DAVID T               NY         10403201         WEITZ & LUXENBERG, PC                                ALBERS               HENRY FRANK           NY         10367400         WEITZ & LUXENBERG, PC
AGRUSO               CARMELA               NY         12107597         WEITZ & LUXENBERG, PC                                ALBERS               PATRICIA MULQUEEN     NY         10367400         WEITZ & LUXENBERG, PC
AGRUSO               VINCENT J             NY         12107597         WEITZ & LUXENBERG, PC                                ALBERT               ALLEN                 NY         12444102         WEITZ & LUXENBERG, PC
AGUANNO              ANTONIA               NY         11336499         WEITZ & LUXENBERG, PC                                ALBERT               DELORES A             NY         12444102         WEITZ & LUXENBERG, PC
AGUANNO              FRANCESCO             NY         11336499         WEITZ & LUXENBERG, PC                                ALBERT               DELORES A             NY         10318803         WEITZ & LUXENBERG, PC
AGUAYO               JOSEPH A              NY         10367100         WEITZ & LUXENBERG, PC                                ALBERT               DOLORES A             NY         12444102         WEITZ & LUXENBERG, PC
AGUAYO               MARILYN               NY         10367100         WEITZ & LUXENBERG, PC                                ALBERT               DOLORES A             NY         10318803         WEITZ & LUXENBERG, PC
AGUIAR               ANDREW THOMAS         NY         10367200         WEITZ & LUXENBERG, PC                                ALBERT               JAMES E               NY         12444102         WEITZ & LUXENBERG, PC
AGUIAR               CECILIA               NY         10367200         WEITZ & LUXENBERG, PC                                ALBERT               JAMES E               NY         10318803         WEITZ & LUXENBERG, PC
AGUIAR               GEORGE A              NY         19029510         WEITZ & LUXENBERG, PC                                ALBERT               JOHN A                NY         10367500         WEITZ & LUXENBERG, PC
AGUIAR               JOSEPHINE             NY         19029510         WEITZ & LUXENBERG, PC                                ALBERT               LORRAINE              NY         12444102         WEITZ & LUXENBERG, PC
AGUILAR              DOLORES E             NY         10699902         WEITZ & LUXENBERG, PC                                ALBERT               MARGARET              NY         10367500         WEITZ & LUXENBERG, PC
AGUILAR              JUAN F                NY         10699902         WEITZ & LUXENBERG, PC                                ALBERTELLI           MASSIMINO             NY         6006572018       WEITZ & LUXENBERG, PC
AHART                FRANCES               NY         11528605         WEITZ & LUXENBERG, PC                                ALBERTIERI           RAYMOND A             NY         11787103         WEITZ & LUXENBERG, PC
AHART                LEONARD               NY         11528605         WEITZ & LUXENBERG, PC                                ALBERTIERI           THOMAS                NY         11787103         WEITZ & LUXENBERG, PC
AHEARN               GAILA                 NY         10587102         WEITZ & LUXENBERG, PC                                ALBERTIERI           YOLANDA               NY         11787103         WEITZ & LUXENBERG, PC
AHEARN               GAILA                 NY         10897702         WEITZ & LUXENBERG, PC                                ALBEY                CLAUDINE              NY         CV003590         WEITZ & LUXENBERG, PC
AHERN                MICHAEL A             NY         10696402         WEITZ & LUXENBERG, PC                                ALBEY                JAMES LOREN           NY         CV016781         WEITZ & LUXENBERG, PC
AHERN                SADIE                 NY         10680802         WEITZ & LUXENBERG, PC                                ALBEY                JAMES RONALD          NY         CV003590         WEITZ & LUXENBERG, PC
AHERN                SHIRLEY               NY         10696402         WEITZ & LUXENBERG, PC                                ALBEY                MARIE                 NY         CV016781         WEITZ & LUXENBERG, PC
AHERN                TIMOTHY J             NY         10680802         WEITZ & LUXENBERG, PC                                ALBIN                KATHLEEN              NY         1900072017       WEITZ & LUXENBERG, PC
AHLERS               HELEN M               NY         12308000         WEITZ & LUXENBERG, PC                                ALBIN                ROBERT                NY         1900072017       WEITZ & LUXENBERG, PC
AHLERS               ROBERT                NY         12308000         WEITZ & LUXENBERG, PC                                ALBINSON             DIANE J               NY         12213801         WEITZ & LUXENBERG, PC
AHMAD                LALTIFA               NY         10634799         WEITZ & LUXENBERG, PC                                ALBINSON             FRANK S               NY         12213801         WEITZ & LUXENBERG, PC
AHMAD                SAID A                NY         10634799         WEITZ & LUXENBERG, PC                                ALBRECHT             ANTHONY J             NY         10587402         WEITZ & LUXENBERG, PC
AHMED                IMTIAZ                NY         11327802         WEITZ & LUXENBERG, PC                                ALBRECHT             GEORGE W              NY         02CIV1849        WEITZ & LUXENBERG, PC
AHMED                IRFANA A              NY         11327802         WEITZ & LUXENBERG, PC                                ALBRECHT             LORETTA               NY         02CIV1849        WEITZ & LUXENBERG, PC
AHMED                PHYLLIS               NY         10931303         WEITZ & LUXENBERG, PC                                ALBRECHT             ROSEMARY              NY         10587402         WEITZ & LUXENBERG, PC
AHOUSE               ALFRED C              NY         11522403         WEITZ & LUXENBERG, PC                                ALBRIGHT             ROBERT W              NY         12499600         WEITZ & LUXENBERG, PC
AHOUSE               BERNARD CARL          NY         10634999         WEITZ & LUXENBERG, PC                                ALCOCK               WILLIAM               NY         11337099         WEITZ & LUXENBERG, PC
AHOUSE               IRENE                 NY         10634999         WEITZ & LUXENBERG, PC                                ALDARONDO            RAUL                  NY         12239001         WEITZ & LUXENBERG, PC
AHRENS               MARGARET              NY         11123201         WEITZ & LUXENBERG, PC                                ALDARONDO            SOFIA                 NY         12239001         WEITZ & LUXENBERG, PC
AHSMANN              LYNN M                NY         10670602         WEITZ & LUXENBERG, PC                                ALDER                GEORGE G              NY         02122050         WEITZ & LUXENBERG, PC
AHSMANN              LYNN M                NY         11488702         WEITZ & LUXENBERG, PC                                ALDER                SUSAN                 NY         02122050         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 851
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 186 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ALDERISIO            ANTHONY               NY         10870901         WEITZ & LUXENBERG, PC                                ALFORD               TABBY                 NY         CV016780         WEITZ & LUXENBERG, PC
ALDERISIO            MARIA                 NY         10870901         WEITZ & LUXENBERG, PC                                ALFORD               WILLIAM J             NY         1900352019       WEITZ & LUXENBERG, PC
ALDI                 AMELIA                NY         109535           WEITZ & LUXENBERG, PC                                ALGUIRE              DANIEL V              NY         10680602         WEITZ & LUXENBERG, PC
ALDI                 ANGELO                NY         109535           WEITZ & LUXENBERG, PC                                ALGUIRE              DEBORAH LYNN          NY         10680602         WEITZ & LUXENBERG, PC
ALDI                 BONITA                NY         02106690         WEITZ & LUXENBERG, PC                                ALI                  ANTHONY JOHN          NY         11506898         WEITZ & LUXENBERG, PC
ALDI                 JOSEPH                NY         02106690         WEITZ & LUXENBERG, PC                                ALI                  BEVERLY               NY         12668702         WEITZ & LUXENBERG, PC
ALDI                 MICHAEL               NY         02106690         WEITZ & LUXENBERG, PC                                ALI                  DOMINIC N             NY         12668702         WEITZ & LUXENBERG, PC
ALDI                 PATRICIA              NY         02106690         WEITZ & LUXENBERG, PC                                ALI                  FRANK J               NY         01111228         WEITZ & LUXENBERG, PC
ALDI                 ROSEMARY              NY         11304799         WEITZ & LUXENBERG, PC                                ALI                  GENETHA               NY         11506898         WEITZ & LUXENBERG, PC
ALDOUS               KAREN ANN             NY         10680602         WEITZ & LUXENBERG, PC                                ALICEA               LUCILLE               NY         1900792019       WEITZ & LUXENBERG, PC
ALDOUS               RONALD GORDON         NY         10680602         WEITZ & LUXENBERG, PC                                ALICEA               MARCELO               NY         1900792019       WEITZ & LUXENBERG, PC
ALDRICH              EDWARD                NY         10367600         WEITZ & LUXENBERG, PC                                ALIMONTI             JOSEPH                NY         10587202         WEITZ & LUXENBERG, PC
ALDRICH              FRANCES               NY         10367700         WEITZ & LUXENBERG, PC                                ALINE                MATTHEW               NY         10090403         WEITZ & LUXENBERG, PC
ALDRICH              JUDY                  NY         10835600         WEITZ & LUXENBERG, PC                                ALIPERTI             LOUIS M               NY         10368100         WEITZ & LUXENBERG, PC
ALDRICH              MAUREEN               NY         10367700         WEITZ & LUXENBERG, PC                                ALIPERTI             SANDRA                NY         10368100         WEITZ & LUXENBERG, PC
ALDRICH              ROBERT J              NY         10367700         WEITZ & LUXENBERG, PC                                ALIX                 ARTHUR                NY         10868106         WEITZ & LUXENBERG, PC
ALDRICH              SCOTT E               NY         10835600         WEITZ & LUXENBERG, PC                                ALLAN                BEVERLY               NY         10870901         WEITZ & LUXENBERG, PC
ALDRIDGE             DOUGLAS               NY         10722202         WEITZ & LUXENBERG, PC                                ALLAN                ROBERT                NY         8123692018       WEITZ & LUXENBERG, PC
ALDRIDGE             DOUGLAS               NY         11365402         WEITZ & LUXENBERG, PC                                ALLAN                ROBERT                NY         10870901         WEITZ & LUXENBERG, PC
ALDRIDGE             GEORGE WALTER         NY         CV024386         WEITZ & LUXENBERG, PC                                ALLARD               CHARLES               NY         CV013921         WEITZ & LUXENBERG, PC
ALDRIDGE             JEAN A                NY         10722202         WEITZ & LUXENBERG, PC                                ALLARD               RICHARD J             NY         12499800         WEITZ & LUXENBERG, PC
ALDRIDGE             JEAN A                NY         11365402         WEITZ & LUXENBERG, PC                                ALLARD               SHIRLEY               NY         12499800         WEITZ & LUXENBERG, PC
ALDRIDGE             RICHARD H             NY         11123603         WEITZ & LUXENBERG, PC                                ALLEBORN             GARRETT C             NY         19030709         WEITZ & LUXENBERG, PC
ALEBA                JUANITA A             NY         CA20012459       WEITZ & LUXENBERG, PC                                ALLEGRETTI           MARIE                 NY         10430207         WEITZ & LUXENBERG, PC
ALEBA                WALTER P              NY         CA20012459       WEITZ & LUXENBERG, PC                                ALLEGRETTI           VICTOR                NY         10430207         WEITZ & LUXENBERG, PC
ALEKSA               ANTE                  NY         01111221         WEITZ & LUXENBERG, PC                                ALLEN                ANGELINE              NY         12500200         WEITZ & LUXENBERG, PC
ALEKSA               VINKA                 NY         01111221         WEITZ & LUXENBERG, PC                                ALLEN                ANNETTE               NY         12499900         WEITZ & LUXENBERG, PC
ALEKSIC              SLAVKO                NY         10190703         WEITZ & LUXENBERG, PC                                ALLEN                ARTHUR R              NY         10401000         WEITZ & LUXENBERG, PC
ALEKSIC              ZORA                  NY         10190703         WEITZ & LUXENBERG, PC                                ALLEN                BARBARA               NY         CV016404         WEITZ & LUXENBERG, PC
ALESE                KATHLEEN              NY         98118861         WEITZ & LUXENBERG, PC                                ALLEN                BARRY L               NY         11056600         WEITZ & LUXENBERG, PC
ALESSANDRI           RICARDO               NY         10631099         WEITZ & LUXENBERG, PC                                ALLEN                BARRY L               NY         10835600         WEITZ & LUXENBERG, PC
ALESSANDRI           ROSE                  NY         10631099         WEITZ & LUXENBERG, PC                                ALLEN                BERNARD L             NY         1902252016       WEITZ & LUXENBERG, PC
ALEXANDER            BIRDIE LEE            NY         01CIV3910        WEITZ & LUXENBERG, PC                                ALLEN                BRADLEY E             NY         E2019010447      WEITZ & LUXENBERG, PC
ALEXANDER            ELIAS                 NY         12039601         WEITZ & LUXENBERG, PC                                ALLEN                CATHY                 NY         CV013923         WEITZ & LUXENBERG, PC
ALEXANDER            FLORENCE              NY         10367800         WEITZ & LUXENBERG, PC                                ALLEN                CHARLIE               NY         10368200         WEITZ & LUXENBERG, PC
ALEXANDER            FRANCES               NY         10631199         WEITZ & LUXENBERG, PC                                ALLEN                CHRISTINE             NY         CV017347         WEITZ & LUXENBERG, PC
ALEXANDER            HENRIETTA D           NY         11026802         WEITZ & LUXENBERG, PC                                ALLEN                CLAUDE                NY         11507098         WEITZ & LUXENBERG, PC
ALEXANDER            JAMES H               NY         10587102         WEITZ & LUXENBERG, PC                                ALLEN                DAVID H               NY         CV011424         WEITZ & LUXENBERG, PC
ALEXANDER            JEAN M                NY         10696302         WEITZ & LUXENBERG, PC                                ALLEN                DAVID M               NY         10368300         WEITZ & LUXENBERG, PC
ALEXANDER            JOAN                  NY         10367900         WEITZ & LUXENBERG, PC                                ALLEN                DEANNA                NY         19001108         WEITZ & LUXENBERG, PC
ALEXANDER            JOHN                  NY         10696302         WEITZ & LUXENBERG, PC                                ALLEN                DEBORAH               NY         11056600         WEITZ & LUXENBERG, PC
ALEXANDER            JOSEPH LOUIS          NY         10631199         WEITZ & LUXENBERG, PC                                ALLEN                DEBORAH               NY         10835600         WEITZ & LUXENBERG, PC
ALEXANDER            LINDA K               NY         10587102         WEITZ & LUXENBERG, PC                                ALLEN                DOUGLAS W             NY         11507198         WEITZ & LUXENBERG, PC
ALEXANDER            MARGARET              NY         12039601         WEITZ & LUXENBERG, PC                                ALLEN                EDDIE D               NY         12668202         WEITZ & LUXENBERG, PC
ALEXANDER            MARY                  NY         10628199         WEITZ & LUXENBERG, PC                                ALLEN                ELIAN                 NY         11742300         WEITZ & LUXENBERG, PC
ALEXANDER            MELVILLE N            NY         11337199         WEITZ & LUXENBERG, PC                                ALLEN                ELIZABETH J           NY         11409202         WEITZ & LUXENBERG, PC
ALEXANDER            PAMELA                NY         10722102         WEITZ & LUXENBERG, PC                                ALLEN                FREDERICK JOSEPH      NY         02105718         WEITZ & LUXENBERG, PC
ALEXANDER            RICHARD P             NY         10367800         WEITZ & LUXENBERG, PC                                ALLEN                GAYLORD R             NY         10368400         WEITZ & LUXENBERG, PC
ALEXANDER            RICHARD S             NY         10722102         WEITZ & LUXENBERG, PC                                ALLEN                GEORGE A              NY         11178104         WEITZ & LUXENBERG, PC
ALEXANDER            ROBERT M              NY         CV03814          WEITZ & LUXENBERG, PC                                ALLEN                GORDON L              NY         10587602         WEITZ & LUXENBERG, PC
ALEXANDER            ROBERT T              NY         10367900         WEITZ & LUXENBERG, PC                                ALLEN                GRACIE                NY         11337799         WEITZ & LUXENBERG, PC
ALEXANDER            VERNICE D             NY         11337199         WEITZ & LUXENBERG, PC                                ALLEN                HARRY                 NY         01CIV2802        WEITZ & LUXENBERG, PC
ALEXANDRAKOS         GEORGE                NY         10023203         WEITZ & LUXENBERG, PC                                ALLEN                HELEN                 NY         12500300         WEITZ & LUXENBERG, PC
ALFANO               ACHILLES J            NY         12307101         WEITZ & LUXENBERG, PC                                ALLEN                HENRY J               NY         12499900         WEITZ & LUXENBERG, PC
ALFANO               ACHILLES J            NY         01111230         WEITZ & LUXENBERG, PC                                ALLEN                JEAN MARIE            NY         02106580         WEITZ & LUXENBERG, PC
ALFANO               ANTHONY V             NY         10368000         WEITZ & LUXENBERG, PC                                ALLEN                JEAN MARIE            NY         11324102         WEITZ & LUXENBERG, PC
ALFANO               ANTOINETTE            NY         12307101         WEITZ & LUXENBERG, PC                                ALLEN                JEANETTE E            NY         01CIV2802        WEITZ & LUXENBERG, PC
ALFANO               ANTOINETTE            NY         01111230         WEITZ & LUXENBERG, PC                                ALLEN                JEFFREY CLAYTON       NY         10023403         WEITZ & LUXENBERG, PC
ALFANO               ROSE M                NY         10368000         WEITZ & LUXENBERG, PC                                ALLEN                JOANN G               NY         11507298         WEITZ & LUXENBERG, PC
ALFARONE             JOAN                  NY         01111225         WEITZ & LUXENBERG, PC                                ALLEN                JOE DAVID             NY         11337799         WEITZ & LUXENBERG, PC
ALFARONE             RICHARD               NY         01111225         WEITZ & LUXENBERG, PC                                ALLEN                JOHN G                NY         10368500         WEITZ & LUXENBERG, PC
ALFIERI              BARBARA               NY         6236182019       WEITZ & LUXENBERG, PC                                ALLEN                JOHN P                NY         19001108         WEITZ & LUXENBERG, PC
ALFIERI              BARBARA               NY         10669502         WEITZ & LUXENBERG, PC                                ALLEN                JOHN S                NY         10023403         WEITZ & LUXENBERG, PC
ALFIERI              CARMINE               NY         6236182019       WEITZ & LUXENBERG, PC                                ALLEN                JUDITH                NY         02106580         WEITZ & LUXENBERG, PC
ALFIERI              CARMINE               NY         10669502         WEITZ & LUXENBERG, PC                                ALLEN                LENORRIS LEE          NY         CV016404         WEITZ & LUXENBERG, PC
ALFORD               CHARLES DENNIS        NY         CV016780         WEITZ & LUXENBERG, PC                                ALLEN                LEWIS G               NY         10368500         WEITZ & LUXENBERG, PC
ALFORD               HERSHAL E             NY         01CIV2802        WEITZ & LUXENBERG, PC                                ALLEN                LINDA                 NY         11507198         WEITZ & LUXENBERG, PC
ALFORD               MARK P                NY         1902412017       WEITZ & LUXENBERG, PC                                ALLEN                LINDA LOUISE          NY         10368400         WEITZ & LUXENBERG, PC
ALFORD               MARY                  NY         1902412017       WEITZ & LUXENBERG, PC                                ALLEN                LYNN                  NY         11742300         WEITZ & LUXENBERG, PC
ALFORD               SHIRLEY               NY         01CIV2802        WEITZ & LUXENBERG, PC                                ALLEN                MADELYN               NY         11056500         WEITZ & LUXENBERG, PC
ALFORD               STANLEY G             NY         10680602         WEITZ & LUXENBERG, PC                                ALLEN                MADELYN               NY         10835600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 852
                                                            Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 187 of 484



Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ALLEN                MARY                   NY         1902252016       WEITZ & LUXENBERG, PC                                ALTROCK              EDWARD                NY         12500600         WEITZ & LUXENBERG, PC
ALLEN                MARY A                 NY         10587602         WEITZ & LUXENBERG, PC                                ALTROCK              LINDA                 NY         12500600         WEITZ & LUXENBERG, PC
ALLEN                MAX N                  NY         11742300         WEITZ & LUXENBERG, PC                                ALTROCK              MAE JEAN              NY         10835600         WEITZ & LUXENBERG, PC
ALLEN                NANCY L                NY         10571402         WEITZ & LUXENBERG, PC                                ALTROCK              RAYMOND JOSEPH        NY         10835600         WEITZ & LUXENBERG, PC
ALLEN                NOEL E                 NY         12500100         WEITZ & LUXENBERG, PC                                ALTUCHOFF            MARIE F               NY         12038901         WEITZ & LUXENBERG, PC
ALLEN                NORA E                 NY         10368300         WEITZ & LUXENBERG, PC                                ALTUCHOFF            RALPH D               NY         12038901         WEITZ & LUXENBERG, PC
ALLEN                PAUL E                 NY         1902252016       WEITZ & LUXENBERG, PC                                ALUND                JANICE M              NY         10368800         WEITZ & LUXENBERG, PC
ALLEN                RAYMOND                NY         11507298         WEITZ & LUXENBERG, PC                                ALUND                WILLIAM RONALD        NY         10368800         WEITZ & LUXENBERG, PC
ALLEN                ROBERT L               NY         10722002         WEITZ & LUXENBERG, PC                                ALVARADO             JOHN                  NY         1901592016       WEITZ & LUXENBERG, PC
ALLEN                ROBERT M               NY         10571402         WEITZ & LUXENBERG, PC                                ALVAREZ              NOREEN                NY         19016310         WEITZ & LUXENBERG, PC
ALLEN                RONALD GENE            NY         CV013923         WEITZ & LUXENBERG, PC                                ALVAREZ              ROBERT                NY         19016310         WEITZ & LUXENBERG, PC
ALLEN                RUBY                   NY         10401000         WEITZ & LUXENBERG, PC                                ALVORD               RODNEY                NY         19001712         WEITZ & LUXENBERG, PC
ALLEN                RUSSELL E              NY         12500200         WEITZ & LUXENBERG, PC                                ALZAMORA             LOUIS                 NY         12381101         WEITZ & LUXENBERG, PC
ALLEN                SANDRA                 NY         10722002         WEITZ & LUXENBERG, PC                                AMANN                JOAN P                NY         12500700         WEITZ & LUXENBERG, PC
ALLEN                SHELBY A               NY         02106580         WEITZ & LUXENBERG, PC                                AMANN                KENNETH J             NY         12500700         WEITZ & LUXENBERG, PC
ALLEN                THEODORE               NY         12500300         WEITZ & LUXENBERG, PC                                AMARO                ELIAS                 NY         12668702         WEITZ & LUXENBERG, PC
ALLEN                TOMMIE                 NY         1904712013       WEITZ & LUXENBERG, PC                                AMARO                MILCA                 NY         12668702         WEITZ & LUXENBERG, PC
ALLEN                VIRGINIA A             NY         01CIV3895        WEITZ & LUXENBERG, PC                                AMATO                AGNES                 NY         11401502         WEITZ & LUXENBERG, PC
ALLEN                WILLIE                 NY         11056500         WEITZ & LUXENBERG, PC                                AMATO                ASSUNTO               NY         12043001         WEITZ & LUXENBERG, PC
ALLEN                WILLIE                 NY         10835600         WEITZ & LUXENBERG, PC                                AMATO                EMANUEL G             NY         11401502         WEITZ & LUXENBERG, PC
ALLEN                WINIFRED M             NY         12500100         WEITZ & LUXENBERG, PC                                AMATO                FRANK                 NY         12038901         WEITZ & LUXENBERG, PC
ALLEN                WRILLA                 NY         1904712013       WEITZ & LUXENBERG, PC                                AMATO                MARIA                 NY         12038901         WEITZ & LUXENBERG, PC
ALLEN                ZATCHES                NY         CV017347         WEITZ & LUXENBERG, PC                                AMATO                MICHAEL J             NY         12043001         WEITZ & LUXENBERG, PC
ALLEN BURDEN         HELEN MARIE            NY         12500300         WEITZ & LUXENBERG, PC                                AMATO                PETER                 NY         01109481         WEITZ & LUXENBERG, PC
ALLEO                CONCETTA               NY         10356800         WEITZ & LUXENBERG, PC                                AMATO                ROSEMARIE             NY         01109481         WEITZ & LUXENBERG, PC
ALLES                JAMES                  NY         11499098         WEITZ & LUXENBERG, PC                                AMATUCCI             KATHLEEN              NY         10368900         WEITZ & LUXENBERG, PC
ALLES                JOAN                   NY         11499098         WEITZ & LUXENBERG, PC                                AMATUCCI             NICHOLAS              NY         10368900         WEITZ & LUXENBERG, PC
ALLISON              CHARLES E              NY         01CIV3900        WEITZ & LUXENBERG, PC                                AMBERSON             RICHARD J             NY         02107102         WEITZ & LUXENBERG, PC
ALLISON              KATHERINE              NY         01CIV3900        WEITZ & LUXENBERG, PC                                AMBERSON             RICHARD J             NY         11909202         WEITZ & LUXENBERG, PC
ALLISON              SANDRA LOIS            NY         01CIV3900        WEITZ & LUXENBERG, PC                                AMBIS                RICHARD               NY         11356702         WEITZ & LUXENBERG, PC
ALLTOP               JOHN F                 NY         02120706         WEITZ & LUXENBERG, PC                                AMBROSINI            CAMILLO               NY         10369000         WEITZ & LUXENBERG, PC
ALLTOP               PATRICIA W             NY         02120706         WEITZ & LUXENBERG, PC                                AMBROSINI            ROSEMARIE             NY         10369000         WEITZ & LUXENBERG, PC
ALMASY               DEBORAH JEAN LEVISON   NY         110560           WEITZ & LUXENBERG, PC                                AMBUSKI              STANLEY               NY         12500800         WEITZ & LUXENBERG, PC
ALMASY               TONY JOHN              NY         110560           WEITZ & LUXENBERG, PC                                AMBUSKI              THERESA               NY         12500800         WEITZ & LUXENBERG, PC
ALMAVIVA             GIUSEPPE               NY         10368600         WEITZ & LUXENBERG, PC                                AMENDOLA             GEORGE A              NY         10710002         WEITZ & LUXENBERG, PC
ALMAVIVA             MADDALENA              NY         10368600         WEITZ & LUXENBERG, PC                                AMENDOLA             SUZANNE E             NY         10710002         WEITZ & LUXENBERG, PC
ALMENDINGER          WILFRED B              NY         10571402         WEITZ & LUXENBERG, PC                                AMENGUAL             ADELE                 NY         11161806         WEITZ & LUXENBERG, PC
ALMON                DAVID                  NY         12039301         WEITZ & LUXENBERG, PC                                AMENGUAL             SAMUEL                NY         11161806         WEITZ & LUXENBERG, PC
ALMON                DAVID                  NY         10365302         WEITZ & LUXENBERG, PC                                AMERING              JOY ANN               NY         10740302         WEITZ & LUXENBERG, PC
ALMON                JOSEPH E               NY         12039301         WEITZ & LUXENBERG, PC                                AMERING              WILLIAM F             NY         10740302         WEITZ & LUXENBERG, PC
ALMON                JOSEPH E               NY         10365302         WEITZ & LUXENBERG, PC                                AMES                 HAROLD F              NY         10631699         WEITZ & LUXENBERG, PC
ALMOND               ANNA                   NY         1902392016       WEITZ & LUXENBERG, PC                                AMES                 PATRICIA A            NY         83974            WEITZ & LUXENBERG, PC
ALMOND               THOMAS K               NY         1902392016       WEITZ & LUXENBERG, PC                                AMES                 ROBERT R              NY         83974            WEITZ & LUXENBERG, PC
ALMONTASER           SALEH A                NY         12500400         WEITZ & LUXENBERG, PC                                AMES                 SHIRLEY               NY         10631699         WEITZ & LUXENBERG, PC
ALMONTASER           TASHA                  NY         12500400         WEITZ & LUXENBERG, PC                                AMICANGELO           JOANN                 NY         1904052012       WEITZ & LUXENBERG, PC
ALMY                 FREDERICK R            NY         10400800         WEITZ & LUXENBERG, PC                                AMMIRATI             JUNE                  NY         11863303         WEITZ & LUXENBERG, PC
ALOIAN               BARBARA                NY         10368700         WEITZ & LUXENBERG, PC                                AMMIRATI             PHILLIP               NY         11863303         WEITZ & LUXENBERG, PC
ALOIAN               SARKIS                 NY         10368700         WEITZ & LUXENBERG, PC                                AMO                  ALLEN K               NY         02106579         WEITZ & LUXENBERG, PC
ALOIS                JOANN                  NY         01111226         WEITZ & LUXENBERG, PC                                AMODIO               EMANUELE G            NY         19003110         WEITZ & LUXENBERG, PC
ALOIS                RALPH                  NY         01111226         WEITZ & LUXENBERG, PC                                AMODIO               PALMA                 NY         19003110         WEITZ & LUXENBERG, PC
ALOISIO              EDNA L                 NY         11401702         WEITZ & LUXENBERG, PC                                AMORE                CORINE                NY         10400500         WEITZ & LUXENBERG, PC
ALOISIO              LISA MICHELLE          NY         11401702         WEITZ & LUXENBERG, PC                                AMORE                JOSEPH                NY         10400500         WEITZ & LUXENBERG, PC
ALOISIO              SAM S                  NY         11401702         WEITZ & LUXENBERG, PC                                AMOROSO              FRANK                 NY         12433902         WEITZ & LUXENBERG, PC
ALONGI               GIACOMO                NY         01111219         WEITZ & LUXENBERG, PC                                AMOROSO              JOSEPH M              NY         12788602         WEITZ & LUXENBERG, PC
ALONGI               HILKKA                 NY         I20019106        WEITZ & LUXENBERG, PC                                AMOROSO              KATHLEEN              NY         12788602         WEITZ & LUXENBERG, PC
ALONGI               VITO A                 NY         I20019106        WEITZ & LUXENBERG, PC                                AMOS                 ARTHUR                NY         01CIV3900        WEITZ & LUXENBERG, PC
ALSTON               PAUL                   NY         1900592017       WEITZ & LUXENBERG, PC                                AMOS                 BILLY JOE             NY         01CIV7362        WEITZ & LUXENBERG, PC
ALT                  JANET L                NY         10631399         WEITZ & LUXENBERG, PC                                AMOS                 ROBERT                NY         11056000         WEITZ & LUXENBERG, PC
ALT                  JERRY                  NY         10631399         WEITZ & LUXENBERG, PC                                AMOS                 ROBERT                NY         10835600         WEITZ & LUXENBERG, PC
ALTENBURGER          ALFONSO C              NY         10631499         WEITZ & LUXENBERG, PC                                AMOS                 TARLICE               NY         01CIV3900        WEITZ & LUXENBERG, PC
ALTENBURGER          EDITH                  NY         10631499         WEITZ & LUXENBERG, PC                                AMRA                 HILMI                 NY         11337499         WEITZ & LUXENBERG, PC
ALTHEIDE             DIANNA                 NY         12500500         WEITZ & LUXENBERG, PC                                AMRA                 PEARL                 NY         11337499         WEITZ & LUXENBERG, PC
ALTHEIDE             RICHARD C              NY         12500500         WEITZ & LUXENBERG, PC                                AMRHEIN              CHARLES               NY         11337399         WEITZ & LUXENBERG, PC
ALTIERI              NICK                   NY         11056300         WEITZ & LUXENBERG, PC                                AMRHEIN              LUCILLE               NY         11337399         WEITZ & LUXENBERG, PC
ALTIERI              NICK                   NY         10835600         WEITZ & LUXENBERG, PC                                AMROZOWICZ           IRENE                 NY         11498198         WEITZ & LUXENBERG, PC
ALTIERI              SYLVIA                 NY         11056300         WEITZ & LUXENBERG, PC                                AMSHER               ESTELLE               NY         12039701         WEITZ & LUXENBERG, PC
ALTIERI              SYLVIA                 NY         10835600         WEITZ & LUXENBERG, PC                                AMSHER               MORTON                NY         12039701         WEITZ & LUXENBERG, PC
ALTILIO              VICTOR                 NY         10835600         WEITZ & LUXENBERG, PC                                AMTHOR               LOIS                  NY         10073803         WEITZ & LUXENBERG, PC
ALTILIO              VICTOR                 NY         11056200         WEITZ & LUXENBERG, PC                                AMTHOR               RICHARD W             NY         10073803         WEITZ & LUXENBERG, PC
ALTMAN               JULIA KAY              NY         01CIV4690        WEITZ & LUXENBERG, PC                                AMULEVICZ            CARYN                 NY         19042509         WEITZ & LUXENBERG, PC
ALTMAN               ROBERT L               NY         01CIV4690        WEITZ & LUXENBERG, PC                                AMULEVICZ            JOSEPH                NY         19042509         WEITZ & LUXENBERG, PC




                                                                                                             Appendix A - 853
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 188 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

AMY                  ANN M                 NY         10613900         WEITZ & LUXENBERG, PC                                ANDOLINA             ANN MARIE             NY         11316799         WEITZ & LUXENBERG, PC
ANANIA               MONA                  NY         10400100         WEITZ & LUXENBERG, PC                                ANDOLINA             FRANCES               NY         11316799         WEITZ & LUXENBERG, PC
ANANIA               PETER                 NY         10400100         WEITZ & LUXENBERG, PC                                ANDOLINA             JOSEPH                NY         11316799         WEITZ & LUXENBERG, PC
ANASTASIA            JEAN M                NY         11614801         WEITZ & LUXENBERG, PC                                ANDOLINA             KATHLEEN              NY         10369400         WEITZ & LUXENBERG, PC
ANASTASSIOU          GEORGE                NY         11143804         WEITZ & LUXENBERG, PC                                ANDOLINA             NORMAN                NY         10369400         WEITZ & LUXENBERG, PC
ANCTIL               GAIL                  NY         10680802         WEITZ & LUXENBERG, PC                                ANDRADE              CHARLES               NY         11629504         WEITZ & LUXENBERG, PC
ANCTIL               WILLIAM J             NY         10680802         WEITZ & LUXENBERG, PC                                ANDRADE              LUZ                   NY         10369500         WEITZ & LUXENBERG, PC
ANDALORA             ALFRED                NY         10369100         WEITZ & LUXENBERG, PC                                ANDRADE              RICHARD               NY         10369500         WEITZ & LUXENBERG, PC
ANDALORA             GRACE                 NY         10369100         WEITZ & LUXENBERG, PC                                ANDREA               BARBARA               NY         10716107         WEITZ & LUXENBERG, PC
ANDALORO             MILLIE                NY         10369200         WEITZ & LUXENBERG, PC                                ANDREA               RAYMOND JOHN          NY         10716107         WEITZ & LUXENBERG, PC
ANDALORO             RALPH S               NY         10369200         WEITZ & LUXENBERG, PC                                ANDREOLI             EUGENE                NY         1902992017       WEITZ & LUXENBERG, PC
ANDERS               NORMA                 NY         CV016732         WEITZ & LUXENBERG, PC                                ANDREOLI             JACALYN               NY         1902992017       WEITZ & LUXENBERG, PC
ANDERS               TED H                 NY         CV016732         WEITZ & LUXENBERG, PC                                ANDRESKY             MARYLIN               NY         12307201         WEITZ & LUXENBERG, PC
ANDERSON             ALLAN E               NY         10699902         WEITZ & LUXENBERG, PC                                ANDRESKY             MARYLIN               NY         01111230         WEITZ & LUXENBERG, PC
ANDERSON             ANDERS G              NY         11337299         WEITZ & LUXENBERG, PC                                ANDRESKY             STEPHEN P             NY         12307201         WEITZ & LUXENBERG, PC
ANDERSON             ARTHUR                NY         12043301         WEITZ & LUXENBERG, PC                                ANDRESKY             STEPHEN P             NY         01111230         WEITZ & LUXENBERG, PC
ANDERSON             BETTYE                NY         CV021456         WEITZ & LUXENBERG, PC                                ANDRETTA             GLORIA                NY         12307301         WEITZ & LUXENBERG, PC
ANDERSON             BRUCE M               NY         11499398         WEITZ & LUXENBERG, PC                                ANDRETTA             GLORIA                NY         01111230         WEITZ & LUXENBERG, PC
ANDERSON             CHARLENE              NY         01CIV4686        WEITZ & LUXENBERG, PC                                ANDRETTA             JOSEPH                NY         12307301         WEITZ & LUXENBERG, PC
ANDERSON             CHARLES               NY         12500900         WEITZ & LUXENBERG, PC                                ANDRETTA             JOSEPH                NY         01111230         WEITZ & LUXENBERG, PC
ANDERSON             CLARENCE LEE          NY         01CIV4686        WEITZ & LUXENBERG, PC                                ANDREW               ALLEN MARK            NY         98117705         WEITZ & LUXENBERG, PC
ANDERSON             CLAUDE                NY         10587602         WEITZ & LUXENBERG, PC                                ANDREW               YVONNE                NY         98117705         WEITZ & LUXENBERG, PC
ANDERSON             CLIFTON RAY           NY         12039401         WEITZ & LUXENBERG, PC                                ANDREWS              BEATRICE              NY         01CIV3906        WEITZ & LUXENBERG, PC
ANDERSON             CORDELL               NY         12043301         WEITZ & LUXENBERG, PC                                ANDREWS              BONNIE                NY         1903822014       WEITZ & LUXENBERG, PC
ANDERSON             DARIEN                NY         CV016776         WEITZ & LUXENBERG, PC                                ANDREWS              CLIFFORD E            NY         10369600         WEITZ & LUXENBERG, PC
ANDERSON             DOROTHY               NY         10631899         WEITZ & LUXENBERG, PC                                ANDREWS              CREGG A               NY         19034711         WEITZ & LUXENBERG, PC
ANDERSON             EDWIN                 NY         1902802016       WEITZ & LUXENBERG, PC                                ANDREWS              DARLENE               NY         00CIV1204        WEITZ & LUXENBERG, PC
ANDERSON             ELLEN J               NY         11338399         WEITZ & LUXENBERG, PC                                ANDREWS              DAVID R               NY         02104787         WEITZ & LUXENBERG, PC
ANDERSON             FRANCES               NY         99CIV2695        WEITZ & LUXENBERG, PC                                ANDREWS              DAWN                  NY         CIV006917        WEITZ & LUXENBERG, PC
ANDERSON             FRANCES               NY         CV018288         WEITZ & LUXENBERG, PC                                ANDREWS              EVA                   NY         19034711         WEITZ & LUXENBERG, PC
ANDERSON             GARY LEROY            NY         CV016695         WEITZ & LUXENBERG, PC                                ANDREWS              GUSSIE                NY         10629399         WEITZ & LUXENBERG, PC
ANDERSON             HOWARD CLAIR          NY         10631899         WEITZ & LUXENBERG, PC                                ANDREWS              JANE                  NY         10699902         WEITZ & LUXENBERG, PC
ANDERSON             IRVING                NY         11499498         WEITZ & LUXENBERG, PC                                ANDREWS              JANE                  NY         11131702         WEITZ & LUXENBERG, PC
ANDERSON             JEWELL                NY         1901832015       WEITZ & LUXENBERG, PC                                ANDREWS              JOSEPHINE             NY         10369600         WEITZ & LUXENBERG, PC
ANDERSON             JOAN A                NY         11356702         WEITZ & LUXENBERG, PC                                ANDREWS              LESLIE A              NY         10629399         WEITZ & LUXENBERG, PC
ANDERSON             JOHN                  NY         02CIV2090        WEITZ & LUXENBERG, PC                                ANDREWS              LINTON B              NY         1903822014       WEITZ & LUXENBERG, PC
ANDERSON             JOHN A                NY         10333006         WEITZ & LUXENBERG, PC                                ANDREWS              MARTHA                NY         1903932015       WEITZ & LUXENBERG, PC
ANDERSON             JOHN C                NY         10631799         WEITZ & LUXENBERG, PC                                ANDREWS              MILDRED               NY         02104787         WEITZ & LUXENBERG, PC
ANDERSON             JOHN H                NY         12175797         WEITZ & LUXENBERG, PC                                ANDREWS              PETER J               NY         10670402         WEITZ & LUXENBERG, PC
ANDERSON             JOHN W                NY         11338399         WEITZ & LUXENBERG, PC                                ANDREWS              REGINALD              NY         CIV006917        WEITZ & LUXENBERG, PC
ANDERSON             JOHNNIE               NY         CV016776         WEITZ & LUXENBERG, PC                                ANDREWS              RICHARD F             NY         1903932015       WEITZ & LUXENBERG, PC
ANDERSON             JUNE                  NY         09190398         WEITZ & LUXENBERG, PC                                ANDREWS              ROMIE BENJAMIN        NY         01CIV3906        WEITZ & LUXENBERG, PC
ANDERSON             LOIS                  NY         11499498         WEITZ & LUXENBERG, PC                                ANDRIANO             PHILIP M              NY         11037205         WEITZ & LUXENBERG, PC
ANDERSON             LORRAINE              NY         12501200         WEITZ & LUXENBERG, PC                                ANDRILLO             ANGELINA              NY         10629499         WEITZ & LUXENBERG, PC
ANDERSON             LOUIS                 NY         CV021456         WEITZ & LUXENBERG, PC                                ANDRILLO             JOHN                  NY         10629499         WEITZ & LUXENBERG, PC
ANDERSON             LUTHER MARION         NY         11291699         WEITZ & LUXENBERG, PC                                ANELLI               ANGELA                NY         01107885         WEITZ & LUXENBERG, PC
ANDERSON             MARY M                NY         10631799         WEITZ & LUXENBERG, PC                                ANELLI               DANIEL                NY         01107885         WEITZ & LUXENBERG, PC
ANDERSON             MONT R                NY         1901832015       WEITZ & LUXENBERG, PC                                ANGEDAL              NORMA                 NY         10401900         WEITZ & LUXENBERG, PC
ANDERSON             MYRON                 NY         12039101         WEITZ & LUXENBERG, PC                                ANGEDAL              TRYGVE                NY         10401900         WEITZ & LUXENBERG, PC
ANDERSON             MYRTLE                NY         1900732013       WEITZ & LUXENBERG, PC                                ANGELELLA            ANTHONY               NY         10636804         WEITZ & LUXENBERG, PC
ANDERSON             NELDA                 NY         1902802016       WEITZ & LUXENBERG, PC                                ANGELELLA            ROSE                  NY         10636804         WEITZ & LUXENBERG, PC
ANDERSON             NINA R                NY         10369300         WEITZ & LUXENBERG, PC                                ANGELO               NORMA J               NY         10401800         WEITZ & LUXENBERG, PC
ANDERSON             NORRIS                NY         1904242018       WEITZ & LUXENBERG, PC                                ANGELO               SAMUEL                NY         10401800         WEITZ & LUXENBERG, PC
ANDERSON             PATRICIA A            NY         02113280         WEITZ & LUXENBERG, PC                                ANGELONE             DOMENICO              NY         11055900         WEITZ & LUXENBERG, PC
ANDERSON             PAULAJEAN E           NY         11499398         WEITZ & LUXENBERG, PC                                ANGELONE             DOMENICO              NY         10835600         WEITZ & LUXENBERG, PC
ANDERSON             RACHEL M              NY         10587602         WEITZ & LUXENBERG, PC                                ANGELONE             JENNY                 NY         10008703         WEITZ & LUXENBERG, PC
ANDERSON             REINHART THOMAS       NY         11356702         WEITZ & LUXENBERG, PC                                ANGELONE             JOSEPH                NY         10008703         WEITZ & LUXENBERG, PC
ANDERSON             ROBERT R              NY         09190398         WEITZ & LUXENBERG, PC                                ANGELONE             LEONILDE              NY         11055900         WEITZ & LUXENBERG, PC
ANDERSON             ROY H                 NY         11356702         WEITZ & LUXENBERG, PC                                ANGELONE             LEONILDE              NY         10835600         WEITZ & LUXENBERG, PC
ANDERSON             SHIRLEY               NY         11337299         WEITZ & LUXENBERG, PC                                ANGER                MAURICE L             NY         11055800         WEITZ & LUXENBERG, PC
ANDERSON             SYLVIA                NY         10333006         WEITZ & LUXENBERG, PC                                ANGER                MAURICE L             NY         10835600         WEITZ & LUXENBERG, PC
ANDERSON             THEODORE I            NY         1900732013       WEITZ & LUXENBERG, PC                                ANGER                SHARON                NY         11055800         WEITZ & LUXENBERG, PC
ANDERSON             THOMAS A              NY         02113280         WEITZ & LUXENBERG, PC                                ANGER                SHARON                NY         10835600         WEITZ & LUXENBERG, PC
ANDERSON             VICTORIA              NY         12039101         WEITZ & LUXENBERG, PC                                ANGEVINE             JOSEPH F              NY         1904632014       WEITZ & LUXENBERG, PC
ANDERSON             WALTER                NY         01111235         WEITZ & LUXENBERG, PC                                ANGIELCZYK           ELEANOR F             NY         10722202         WEITZ & LUXENBERG, PC
ANDERSON             WALTER                NY         11123501         WEITZ & LUXENBERG, PC                                ANGIELCZYK           ELEANOR F             NY         11365302         WEITZ & LUXENBERG, PC
ANDERSON             WILLIAM               NY         99CIV2695        WEITZ & LUXENBERG, PC                                ANGIELCZYK           LEONARD DANIEL        NY         10722202         WEITZ & LUXENBERG, PC
ANDERSON             WILLIAM               NY         CV018288         WEITZ & LUXENBERG, PC                                ANGIELCZYK           LEONARD DANIEL        NY         11365302         WEITZ & LUXENBERG, PC
ANDERSON             WILLIAM D             NY         12501200         WEITZ & LUXENBERG, PC                                ANGIELCZYK           MAX                   NY         12433902         WEITZ & LUXENBERG, PC
ANDIA                EDITH                 NY         1902252017       WEITZ & LUXENBERG, PC                                ANGIELCZYK           ROSEMARIE             NY         12433902         WEITZ & LUXENBERG, PC
ANDIA                MARCO A               NY         1902252017       WEITZ & LUXENBERG, PC                                ANGILELLA            JOSEPHINE             NY         10369700         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 854
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 189 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ANGILELLA            SALVATORE             NY         10369700         WEITZ & LUXENBERG, PC                                APREA                VINCENT               NY         01109478         WEITZ & LUXENBERG, PC
ANGIULI              ANTHONY               NY         10629599         WEITZ & LUXENBERG, PC                                APRUZZESE            DOMENIC               NY         12501500         WEITZ & LUXENBERG, PC
ANGOOD               DEXTER                NY         12501300         WEITZ & LUXENBERG, PC                                AQUARO               ANTHONY               NY         01111225         WEITZ & LUXENBERG, PC
ANGOOD               GLADYS                NY         12501300         WEITZ & LUXENBERG, PC                                AQUARO               GLORIA                NY         01111225         WEITZ & LUXENBERG, PC
ANNAL                DONNA                 NY         10369800         WEITZ & LUXENBERG, PC                                AQUIJE               JOSE R                NY         02106508         WEITZ & LUXENBERG, PC
ANNAL                GEORGE FRANCIS        NY         10369800         WEITZ & LUXENBERG, PC                                AQUIJE               MARIA                 NY         02106508         WEITZ & LUXENBERG, PC
ANNANDALE            JOHN G                NY         10587202         WEITZ & LUXENBERG, PC                                AQUILA               EDWARD                NY         12409502         WEITZ & LUXENBERG, PC
ANNANDALE            JOHN G                NY         10818502         WEITZ & LUXENBERG, PC                                AQUILA               ROSEMARIE             NY         12409502         WEITZ & LUXENBERG, PC
ANNESE               RAYMOND J             NY         11055700         WEITZ & LUXENBERG, PC                                AQUINO               CONCETTA              NY         1902122019       WEITZ & LUXENBERG, PC
ANNESE               RAYMOND J             NY         10835600         WEITZ & LUXENBERG, PC                                AQUINO               FRANK P               NY         10587002         WEITZ & LUXENBERG, PC
ANNESE               VINCENT ROCCO         NY         11055700         WEITZ & LUXENBERG, PC                                AQUINO               ROSEANN               NY         10587002         WEITZ & LUXENBERG, PC
ANNESE               VINCENT ROCCO         NY         10835600         WEITZ & LUXENBERG, PC                                ARANCIO              AGOSTINO JAMES        NY         99106091         WEITZ & LUXENBERG, PC
ANNICELLI            MARILYN               NY         11316199         WEITZ & LUXENBERG, PC                                ARANCIO              ANN                   NY         99106091         WEITZ & LUXENBERG, PC
ANNICELLI            RAYMOND               NY         11316199         WEITZ & LUXENBERG, PC                                ARAUJO               ARMAND J              NY         19019411         WEITZ & LUXENBERG, PC
ANNIS                AGNES                 NY         11499698         WEITZ & LUXENBERG, PC                                ARAUJO               FELIX                 NY         12501600         WEITZ & LUXENBERG, PC
ANNIS                ROBERT B              NY         11499698         WEITZ & LUXENBERG, PC                                ARAUJO               JACOBA                NY         12501600         WEITZ & LUXENBERG, PC
ANNORINO             BARBARA               NY         10629799         WEITZ & LUXENBERG, PC                                ARBERRY              EARL                  NY         01CIV3922        WEITZ & LUXENBERG, PC
ANNORINO             BART JOSEPH           NY         10629799         WEITZ & LUXENBERG, PC                                ARBERRY              LOUISE                NY         01CIV3922        WEITZ & LUXENBERG, PC
ANSELMI              MARIA THERESA         NY         11499798         WEITZ & LUXENBERG, PC                                ARBITAL              MAXINE                NY         11317599         WEITZ & LUXENBERG, PC
ANSELMI              SALVATORE             NY         11499798         WEITZ & LUXENBERG, PC                                ARBITAL              SAM                   NY         11317599         WEITZ & LUXENBERG, PC
ANSELONE             GEORGE N              NY         11316099         WEITZ & LUXENBERG, PC                                ARBITER              GRETCHEN              NY         10031307         WEITZ & LUXENBERG, PC
ANSELONE             PHYLLIS               NY         11316099         WEITZ & LUXENBERG, PC                                ARBITER              MATHIAS J             NY         10031307         WEITZ & LUXENBERG, PC
ANSTETT              JOHN V                NY         11162105         WEITZ & LUXENBERG, PC                                ARBITRIO             BONNIE                NY         12501700         WEITZ & LUXENBERG, PC
ANSTETT              LUCILLE L             NY         11162105         WEITZ & LUXENBERG, PC                                ARBITRIO             DOMENICK              NY         12501700         WEITZ & LUXENBERG, PC
ANTEQUERA            CRUZ                  NY         19012909         WEITZ & LUXENBERG, PC                                ARBORN               IRENE                 NY         11158903         WEITZ & LUXENBERG, PC
ANTHONY              RITA S                NY         10423699         WEITZ & LUXENBERG, PC                                ARBORN               PETER                 NY         11158903         WEITZ & LUXENBERG, PC
ANTINUCCI            ANNETTE               NY         10401700         WEITZ & LUXENBERG, PC                                ARBUCCI              DOLORES               NY         02107102         WEITZ & LUXENBERG, PC
ANTINUCCI            SALVATORE A           NY         10401700         WEITZ & LUXENBERG, PC                                ARBUCCI              LOUIS S               NY         02107102         WEITZ & LUXENBERG, PC
ANTISTA              COSMO S               NY         10591604         WEITZ & LUXENBERG, PC                                ARCABASCIO           CARMINE M             NY         11980201         WEITZ & LUXENBERG, PC
ANTOINE              ALEXANDER             NY         12501400         WEITZ & LUXENBERG, PC                                ARCABASCIO           CARMINE M             NY         11123201         WEITZ & LUXENBERG, PC
ANTOINE              ROSLYN                NY         12501400         WEITZ & LUXENBERG, PC                                ARCAMONE             ANTONIO               NY         12089800         WEITZ & LUXENBERG, PC
ANTONACCIO           LEONARD A             NY         10669502         WEITZ & LUXENBERG, PC                                ARCAMONE             CONCETTA              NY         12089800         WEITZ & LUXENBERG, PC
ANTONELLI            BERRY JOY             NY         11314399         WEITZ & LUXENBERG, PC                                ARCARA               ANTHONY A             NY         10370200         WEITZ & LUXENBERG, PC
ANTONELLI            MICHAEL               NY         10369900         WEITZ & LUXENBERG, PC                                ARCARO               GIOVANNINA            NY         12279101         WEITZ & LUXENBERG, PC
ANTONELLI            NICHOLAS P            NY         11522603         WEITZ & LUXENBERG, PC                                ARCARO               MICHAEL A             NY         12279101         WEITZ & LUXENBERG, PC
ANTONELLI            PHYLLISS              NY         10369900         WEITZ & LUXENBERG, PC                                ARCH                 SETH R                NY         1900112016       WEITZ & LUXENBERG, PC
ANTONELLI            WILLIAM J             NY         11314399         WEITZ & LUXENBERG, PC                                ARCHAMBAULT          JAMES W               NY         11055600         WEITZ & LUXENBERG, PC
ANTONICELLI          GLORIA                NY         1900472018       WEITZ & LUXENBERG, PC                                ARCHAMBAULT          JAMES W               NY         10835600         WEITZ & LUXENBERG, PC
ANTONICELLI          JOAN                  NY         10870901         WEITZ & LUXENBERG, PC                                ARCHER               ALFRED K              NY         02105713         WEITZ & LUXENBERG, PC
ANTONICELLI          PAUL J                NY         1900472018       WEITZ & LUXENBERG, PC                                ARCHER               EMMA                  NY         10379904         WEITZ & LUXENBERG, PC
ANTONICELLI          VINCENT               NY         10870901         WEITZ & LUXENBERG, PC                                ARCHER               LORRAINE              NY         01111225         WEITZ & LUXENBERG, PC
ANTONIK              ANTHONY P             NY         10401600         WEITZ & LUXENBERG, PC                                ARCHER               LORRAINE              NY         11807501         WEITZ & LUXENBERG, PC
ANTONIK              JULIANA               NY         10401600         WEITZ & LUXENBERG, PC                                ARCHER               MARY M                NY         02105713         WEITZ & LUXENBERG, PC
ANTONINI             ANTHONY               NY         11701303         WEITZ & LUXENBERG, PC                                ARCHER               ROBERT                NY         01111225         WEITZ & LUXENBERG, PC
ANTONIO              RICHARD               NY         12249700         WEITZ & LUXENBERG, PC                                ARCHER               ROBERT                NY         10379904         WEITZ & LUXENBERG, PC
ANTONUCCI            SALVATORE             NY         1900452018       WEITZ & LUXENBERG, PC                                ARCHER               ROBERT                NY         11807501         WEITZ & LUXENBERG, PC
ANTONUCCI            SALVATORE             NY         10609099         WEITZ & LUXENBERG, PC                                ARCHER               SHIRLEY A             NY         10740402         WEITZ & LUXENBERG, PC
ANUSZEWSKI           EDWARD R              NY         02107006         WEITZ & LUXENBERG, PC                                ARCHER               WILLIAM HOWARD        NY         10740402         WEITZ & LUXENBERG, PC
ANUSZEWSKI           MAUREEN               NY         02107006         WEITZ & LUXENBERG, PC                                ARCHIBALD            BARBARA               NY         11327902         WEITZ & LUXENBERG, PC
ANZALONE             ANIELLO               NY         11001901         WEITZ & LUXENBERG, PC                                ARCHIBALD            LOVERTA P             NY         11327902         WEITZ & LUXENBERG, PC
ANZALONE             CARMELLA              NY         11001901         WEITZ & LUXENBERG, PC                                ARCURI               FRANK                 NY         01111222         WEITZ & LUXENBERG, PC
ANZALONE             FORTUNATA             NY         11317799         WEITZ & LUXENBERG, PC                                ARCURI               THERESA               NY         01111222         WEITZ & LUXENBERG, PC
ANZALONE             GIUSEPPE              NY         11317799         WEITZ & LUXENBERG, PC                                ARDISSON             ANTHONY               NY         10984803         WEITZ & LUXENBERG, PC
APEL                 RICHARD               NY         10090403         WEITZ & LUXENBERG, PC                                ARDISSON             CATHY D               NY         12501800         WEITZ & LUXENBERG, PC
APOLDO               JAMES D               NY         01111235         WEITZ & LUXENBERG, PC                                ARDISSON             KATHRYN               NY         10984803         WEITZ & LUXENBERG, PC
APOLDO               JAMES D               NY         11830101         WEITZ & LUXENBERG, PC                                ARDISSON             RICHARD               NY         12501800         WEITZ & LUXENBERG, PC
APOLDO               MARY ANN              NY         01111235         WEITZ & LUXENBERG, PC                                ARDITO               CARMEN                NY         12501900         WEITZ & LUXENBERG, PC
APOLDO               MARY ANN              NY         11830101         WEITZ & LUXENBERG, PC                                ARDITO               EMILIO M              NY         12501900         WEITZ & LUXENBERG, PC
APONTE               JOSE LOUIS            NY         12444102         WEITZ & LUXENBERG, PC                                ARDITO               GIUSEPPE              NY         19027810         WEITZ & LUXENBERG, PC
APONTE               NELCY                 NY         12444102         WEITZ & LUXENBERG, PC                                ARDITO               NICOLETTA             NY         19027810         WEITZ & LUXENBERG, PC
APOSTOLIDIDS         PENE                  NY         10370000         WEITZ & LUXENBERG, PC                                AREDE                JUANITO R             DE         N18C06088ASB     WEITZ & LUXENBERG, PC
APOSTOLIDIS          KONSTANTINOS          NY         10370000         WEITZ & LUXENBERG, PC                                ARENA                ANGELA                NY         12502000         WEITZ & LUXENBERG, PC
APOSTOLIDIS          MARIA                 NY         10370000         WEITZ & LUXENBERG, PC                                ARENA                DOMENICK              NY         12502000         WEITZ & LUXENBERG, PC
APPEL                CATHERINE A           NY         11744603         WEITZ & LUXENBERG, PC                                ARENA                JOHN                  NY         19008210         WEITZ & LUXENBERG, PC
APPLEBAUM            JANET                 NY         11375800         WEITZ & LUXENBERG, PC                                ARENA                MARIA                 NY         10513300         WEITZ & LUXENBERG, PC
APPLEGATE            JAMES                 NY         19014210         WEITZ & LUXENBERG, PC                                ARENA                MARIAN                NY         1903822016       WEITZ & LUXENBERG, PC
APPLER               ELMER JOHN            NY         98117739         WEITZ & LUXENBERG, PC                                ARENA                NATALE                NY         10609299         WEITZ & LUXENBERG, PC
APPLER               PETER                 NY         98117739         WEITZ & LUXENBERG, PC                                ARENA                NICHOLAS              NY         1903822016       WEITZ & LUXENBERG, PC
APREA                FIORINA               NY         01109478         WEITZ & LUXENBERG, PC                                ARENA                PATRICIA              NY         10609299         WEITZ & LUXENBERG, PC
APREA                FRANK                 NY         01109478         WEITZ & LUXENBERG, PC                                ARGENZIANO           RICHARD               NY         11938401         WEITZ & LUXENBERG, PC
APREA                JOHN                  NY         01109478         WEITZ & LUXENBERG, PC                                ARGIROS              CONSUELO              NY         01111219         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 855
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 190 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ARGIROS              GEORGE P              NY         01111219         WEITZ & LUXENBERG, PC                                ARNOLDO              MARGARET              NY         01111230         WEITZ & LUXENBERG, PC
ARIES                HERBERT               NY         10624599         WEITZ & LUXENBERG, PC                                ARNOLDO              PAOLO                 NY         12307501         WEITZ & LUXENBERG, PC
ARIOLI               ANGELINA              NY         02106690         WEITZ & LUXENBERG, PC                                ARNOLDO              PAOLO                 NY         01111230         WEITZ & LUXENBERG, PC
ARIOLI               ANGELINA              NY         11381502         WEITZ & LUXENBERG, PC                                ARNONE               COLLEEN               NY         06113563         WEITZ & LUXENBERG, PC
ARIOLI               PATSY L               NY         02106690         WEITZ & LUXENBERG, PC                                ARNONE               FRANK                 NY         12502100         WEITZ & LUXENBERG, PC
ARIOLI               PATSY L               NY         11381502         WEITZ & LUXENBERG, PC                                ARNONE               JANICE                NY         12502100         WEITZ & LUXENBERG, PC
ARKINS               CATHERINE             NY         12307401         WEITZ & LUXENBERG, PC                                ARNONE               JANICE E              NY         12502200         WEITZ & LUXENBERG, PC
ARKINS               CATHERINE             NY         01111230         WEITZ & LUXENBERG, PC                                ARNONE               JOHN                  NY         06113563         WEITZ & LUXENBERG, PC
ARKINS               GLORIA                NY         12307401         WEITZ & LUXENBERG, PC                                ARNONE               JOSEPH A              NY         12502200         WEITZ & LUXENBERG, PC
ARKINS               GLORIA                NY         01111230         WEITZ & LUXENBERG, PC                                ARNOTT               JAMES                 NY         10008703         WEITZ & LUXENBERG, PC
ARKINS               JOHN                  NY         12307401         WEITZ & LUXENBERG, PC                                ARNOTT               MARIETTA              NY         10008703         WEITZ & LUXENBERG, PC
ARKINS               JOHN                  NY         01111230         WEITZ & LUXENBERG, PC                                AROMOLA              FRANCIS LOUIS         NY         1903772017       WEITZ & LUXENBERG, PC
ARKINS               KATHERINE             NY         12307401         WEITZ & LUXENBERG, PC                                AROMOLA              GERALDINE M           NY         1903772017       WEITZ & LUXENBERG, PC
ARKINS               KATHERINE             NY         01111230         WEITZ & LUXENBERG, PC                                ARONE                MICHAEL T JR          NY         10370600         WEITZ & LUXENBERG, PC
ARKINS               LUKE                  NY         12307401         WEITZ & LUXENBERG, PC                                AROUT                JOHN                  NY         12039301         WEITZ & LUXENBERG, PC
ARKINS               LUKE                  NY         01111230         WEITZ & LUXENBERG, PC                                AROUT                MARIE                 NY         12039301         WEITZ & LUXENBERG, PC
ARLOTTA              ROBERT                NY         10401400         WEITZ & LUXENBERG, PC                                ARQUETTE             ALEXANDER L           NY         12788702         WEITZ & LUXENBERG, PC
ARMA                 CHARLES               NY         11055500         WEITZ & LUXENBERG, PC                                ARQUETTE             BERNARD               NY         12502300         WEITZ & LUXENBERG, PC
ARMA                 CHARLES               NY         10835600         WEITZ & LUXENBERG, PC                                ARQUETTE             JAMES J               NY         10680802         WEITZ & LUXENBERG, PC
ARMA                 SELMA                 NY         11055500         WEITZ & LUXENBERG, PC                                ARQUETTE             STEVEN F              NY         10370700         WEITZ & LUXENBERG, PC
ARMA                 SELMA                 NY         10835600         WEITZ & LUXENBERG, PC                                ARRENDELL            GLADYS                NY         1902582015       WEITZ & LUXENBERG, PC
ARMETTA              CARMEN                NY         19013210         WEITZ & LUXENBERG, PC                                ARRENDELL            IVAN                  NY         1902582015       WEITZ & LUXENBERG, PC
ARMETTA              EMANUEL A             NY         19013210         WEITZ & LUXENBERG, PC                                ARRENDELL            NIKLET                NY         1902582015       WEITZ & LUXENBERG, PC
ARMISTEAD            MELVIN                NY         10722102         WEITZ & LUXENBERG, PC                                ARRIGO               CHARLES J             NY         10370800         WEITZ & LUXENBERG, PC
ARMLIN               ULYSSES S             NY         12668702         WEITZ & LUXENBERG, PC                                ARRIGO               SUSAN                 NY         10370800         WEITZ & LUXENBERG, PC
ARMLIN               ULYSSES S             NY         10463603         WEITZ & LUXENBERG, PC                                ARRINGTON            ALICE                 NY         12039201         WEITZ & LUXENBERG, PC
ARMSTRONG            ALBERT G              NY         10740502         WEITZ & LUXENBERG, PC                                ARRINGTON            ROGER P               NY         12039201         WEITZ & LUXENBERG, PC
ARMSTRONG            ALICE DIANE           NY         11327602         WEITZ & LUXENBERG, PC                                ARROM                ALBERT F              NY         CV021337         WEITZ & LUXENBERG, PC
ARMSTRONG            ARLEEN                NY         02107102         WEITZ & LUXENBERG, PC                                ARROM                GERTRUDE J            NY         CV021337         WEITZ & LUXENBERG, PC
ARMSTRONG            ARLENE                NY         10238502         WEITZ & LUXENBERG, PC                                ARROWAY              MARGARET E            NY         10401300         WEITZ & LUXENBERG, PC
ARMSTRONG            CALVIN E              NY         11179302         WEITZ & LUXENBERG, PC                                ARROWOOD             BARBARA               NY         1903862013       WEITZ & LUXENBERG, PC
ARMSTRONG            CALVIN EUGENE         NY         10571402         WEITZ & LUXENBERG, PC                                ARROWOOD             BARBARA               NY         1901232014       WEITZ & LUXENBERG, PC
ARMSTRONG            CHARLES               NY         12047401         WEITZ & LUXENBERG, PC                                ARROWOOD             GLENN                 NY         1903862013       WEITZ & LUXENBERG, PC
ARMSTRONG            DANIEL G              NY         20016998         WEITZ & LUXENBERG, PC                                ARROWOOD             GLENN                 NY         1901232014       WEITZ & LUXENBERG, PC
ARMSTRONG            DIANA F               NY         02105715         WEITZ & LUXENBERG, PC                                ARTALE               CALORGERA             NY         12042901         WEITZ & LUXENBERG, PC
ARMSTRONG            GEORGE E              NY         12042901         WEITZ & LUXENBERG, PC                                ARTALE               STEFANO               NY         12042901         WEITZ & LUXENBERG, PC
ARMSTRONG            GERTIE L              NY         12147302         WEITZ & LUXENBERG, PC                                ARTERBURN            ALLEN                 NY         12502400         WEITZ & LUXENBERG, PC
ARMSTRONG            GERTIE L              NY         11179302         WEITZ & LUXENBERG, PC                                ARTICOLO             ALFRED                NY         02106579         WEITZ & LUXENBERG, PC
ARMSTRONG            HARRY J               NY         11123101         WEITZ & LUXENBERG, PC                                ARTICOLO             LORENE                NY         02106579         WEITZ & LUXENBERG, PC
ARMSTRONG            HARRY J               NY         12047401         WEITZ & LUXENBERG, PC                                ARTZ                 GRACE                 PA         180700653        WEITZ & LUXENBERG, PC
ARMSTRONG            JAMES P               NY         10238502         WEITZ & LUXENBERG, PC                                ARTZ                 LARRY JOEL            PA         180700653        WEITZ & LUXENBERG, PC
ARMSTRONG            JANETTA               NY         CV012137         WEITZ & LUXENBERG, PC                                ARVAY                GEORGE                NY         10624799         WEITZ & LUXENBERG, PC
ARMSTRONG            JOHN E                NY         02105715         WEITZ & LUXENBERG, PC                                ARVAY                ROSE MARIE            NY         10624799         WEITZ & LUXENBERG, PC
ARMSTRONG            JOHN J                NY         02107102         WEITZ & LUXENBERG, PC                                ARZBERGER            FRANK                 NY         10701105         WEITZ & LUXENBERG, PC
ARMSTRONG            LAURA                 NY         10740502         WEITZ & LUXENBERG, PC                                ARZONE               ANDRES MIGUEL         NY         12100401         WEITZ & LUXENBERG, PC
ARMSTRONG            LEE B                 NY         11327602         WEITZ & LUXENBERG, PC                                ARZONE               JUANA                 NY         12100401         WEITZ & LUXENBERG, PC
ARMSTRONG            MARGARET              NY         10370400         WEITZ & LUXENBERG, PC                                ASARI                ANTIONETTE            NY         02106508         WEITZ & LUXENBERG, PC
ARMSTRONG            MARY P                NY         12042901         WEITZ & LUXENBERG, PC                                ASARO                ANTOINETTE            NY         11085202         WEITZ & LUXENBERG, PC
ARMSTRONG            MICHAEL R             NY         CV012137         WEITZ & LUXENBERG, PC                                ASARO                LINDA                 NY         02107007         WEITZ & LUXENBERG, PC
ARMSTRONG            MILLARD DEWAYNE       NY         CV016397         WEITZ & LUXENBERG, PC                                ASARO                PASQUALE              NY         02107007         WEITZ & LUXENBERG, PC
ARMSTRONG            NATHANIEL             NY         CV003590         WEITZ & LUXENBERG, PC                                ASARO                PHILIP                NY         02106508         WEITZ & LUXENBERG, PC
ARMSTRONG            PATRICIA              NY         10740202         WEITZ & LUXENBERG, PC                                ASARO                PHILIP                NY         11085202         WEITZ & LUXENBERG, PC
ARMSTRONG            ROBERT                NY         10370400         WEITZ & LUXENBERG, PC                                ASBERRY              CLARENCE              NY         10370900         WEITZ & LUXENBERG, PC
ARMSTRONG            ROBERT T              NY         10740202         WEITZ & LUXENBERG, PC                                ASCHER               BERNARD H             NY         10371000         WEITZ & LUXENBERG, PC
ARMSTRONG            SHARON A              NY         20016998         WEITZ & LUXENBERG, PC                                ASCHER               MAX                   NY         10371000         WEITZ & LUXENBERG, PC
ARMSTRONG            THELMA                NY         CV016397         WEITZ & LUXENBERG, PC                                ASCHER               TOBY                  NY         10371000         WEITZ & LUXENBERG, PC
ARMSTRONG            THOMAS L              NY         10587502         WEITZ & LUXENBERG, PC                                ASCHIERI             JOSEPH                NY         10624899         WEITZ & LUXENBERG, PC
ARMSTRONG            VIVIAN                NY         CV003590         WEITZ & LUXENBERG, PC                                ASH                  THERON GEORGE         NY         02106707         WEITZ & LUXENBERG, PC
ARNOLD               BARBARA               NY         11498898         WEITZ & LUXENBERG, PC                                ASHBAUGH             CLAYTON J             NY         10740002         WEITZ & LUXENBERG, PC
ARNOLD               ENOCH                 NY         CV026049         WEITZ & LUXENBERG, PC                                ASHBAUGH             PAULINE K             NY         10740002         WEITZ & LUXENBERG, PC
ARNOLD               FREDERICK             NY         10370500         WEITZ & LUXENBERG, PC                                ASHBY                GERARD R              NY         10624999         WEITZ & LUXENBERG, PC
ARNOLD               GRADY                 NY         CV021243         WEITZ & LUXENBERG, PC                                ASHBY                GILBERTE              NY         10624999         WEITZ & LUXENBERG, PC
ARNOLD               JERRY R               NY         CV011418         WEITZ & LUXENBERG, PC                                ASHCRAFT             FLORE                 NY         10120501         WEITZ & LUXENBERG, PC
ARNOLD               JESSIE JAMES          NY         CV016405         WEITZ & LUXENBERG, PC                                ASHCRAFT             JAMES                 NY         10120501         WEITZ & LUXENBERG, PC
ARNOLD               LOUISE                NY         CV021243         WEITZ & LUXENBERG, PC                                ASHLEY               ALFRED THOMAS         NY         02105716         WEITZ & LUXENBERG, PC
ARNOLD               PATRICIA              NY         CV011418         WEITZ & LUXENBERG, PC                                ASHLEY               BARBARA               NY         10624299         WEITZ & LUXENBERG, PC
ARNOLD               RN                    NY         0307182015       WEITZ & LUXENBERG, PC                                ASHLEY               CHERYL                NY         CV003590         WEITZ & LUXENBERG, PC
ARNOLD               RAYMOND C             NY         11498898         WEITZ & LUXENBERG, PC                                ASHLEY               EARL H                NY         02105713         WEITZ & LUXENBERG, PC
ARNOLD               ROSE                  NY         01CIV3900        WEITZ & LUXENBERG, PC                                ASHLEY               HAROW                 NY         CV016932         WEITZ & LUXENBERG, PC
ARNOLD               ROSETTA               NY         0307182015       WEITZ & LUXENBERG, PC                                ASHLEY               HERMAN W III          NY         CV003590         WEITZ & LUXENBERG, PC
ARNOLDO              MARGARET              NY         12307501         WEITZ & LUXENBERG, PC                                ASHLEY               LAWRENCE R            NY         10624299         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 856
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 191 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ASHLEY               MARY J                NY         02105716         WEITZ & LUXENBERG, PC                                AUFIERO              JOSEPH M              NY         104034000        WEITZ & LUXENBERG, PC
ASHURST              ANDREW J              NY         12173299         WEITZ & LUXENBERG, PC                                AUFIERO              MARIE                 NY         12039401         WEITZ & LUXENBERG, PC
ASHURST              CHRISTINA             NY         12173299         WEITZ & LUXENBERG, PC                                AUFIERO              THOMAS                NY         12039401         WEITZ & LUXENBERG, PC
ASHWORTH             DIANE D               NY         10641600         WEITZ & LUXENBERG, PC                                AUGHTMAN             CHALMUS               NY         10384400         WEITZ & LUXENBERG, PC
ASKEW                KIRSTEN               NY         10624399         WEITZ & LUXENBERG, PC                                AUGUSTIN             JANICE                NY         02CIV1849        WEITZ & LUXENBERG, PC
ASKEW                THOMAS W              NY         10624399         WEITZ & LUXENBERG, PC                                AUGUSTIN             WILLIAM HARVEY        NY         02CIV1849        WEITZ & LUXENBERG, PC
ASKEY                JAMES E               NY         11327702         WEITZ & LUXENBERG, PC                                AUKLAND              CONNIE                NY         02CIV1849        WEITZ & LUXENBERG, PC
ASKEY                MARJORIE              NY         11327702         WEITZ & LUXENBERG, PC                                AUKLAND              GENE O                NY         02CIV1849        WEITZ & LUXENBERG, PC
ASMAN                JOSEPH H              NY         11057800         WEITZ & LUXENBERG, PC                                AULETTA              EGIDO                 NY         11583803         WEITZ & LUXENBERG, PC
ASMAN                JOSEPH H              NY         10835600         WEITZ & LUXENBERG, PC                                AULETTA              JOAN                  NY         11583803         WEITZ & LUXENBERG, PC
ASPESI               JOHN J                NY         12042901         WEITZ & LUXENBERG, PC                                AURELIO              JEANETTE              NY         10601907         WEITZ & LUXENBERG, PC
ASPESI               PATRICIA              NY         12042901         WEITZ & LUXENBERG, PC                                AURELIO              THOMAS A              NY         10601907         WEITZ & LUXENBERG, PC
ASSENZA              ANTONIO               NY         12502500         WEITZ & LUXENBERG, PC                                AURIA                ELLA                  NY         11453603         WEITZ & LUXENBERG, PC
ASSENZA              PAOLA                 NY         12502500         WEITZ & LUXENBERG, PC                                AURIA                JOHN S                NY         11453603         WEITZ & LUXENBERG, PC
ASSINI               BENEDETTO W           NY         10401200         WEITZ & LUXENBERG, PC                                AUSLAND              ARNE                  NY         01111218         WEITZ & LUXENBERG, PC
ASSINI               SOPHIE                NY         10401200         WEITZ & LUXENBERG, PC                                AUSLAND              RUTH                  NY         01111218         WEITZ & LUXENBERG, PC
ASTARITA             DOLORES               NY         01111225         WEITZ & LUXENBERG, PC                                AUSLAND              TALONA M              NY         01111218         WEITZ & LUXENBERG, PC
ASTARITA             EDWARD                NY         01111225         WEITZ & LUXENBERG, PC                                AUSPELMEYER          BRUCE                 NY         02106579         WEITZ & LUXENBERG, PC
ASTORE               JEAN                  NY         12502600         WEITZ & LUXENBERG, PC                                AUSPELMEYER          DEBORAH               NY         02106579         WEITZ & LUXENBERG, PC
ASTORE               JOHN                  NY         12502600         WEITZ & LUXENBERG, PC                                AUSTIN               DAVID W               NY         11057600         WEITZ & LUXENBERG, PC
ASTORE               STEPHEN               NY         12502600         WEITZ & LUXENBERG, PC                                AUSTIN               DAVID W               NY         10835600         WEITZ & LUXENBERG, PC
ATILIO               CARMELA SUSAN         NY         10835600         WEITZ & LUXENBERG, PC                                AUSTIN               DENNIS KEITH          NY         11498798         WEITZ & LUXENBERG, PC
ATILIO               CARMELA SUSAN         NY         11056200         WEITZ & LUXENBERG, PC                                AUSTIN               EDWIN CHARLES         NY         02120615         WEITZ & LUXENBERG, PC
ATKINS               JULIA ANN             NY         01CIV3914        WEITZ & LUXENBERG, PC                                AUSTIN               ELIZABETH             NY         11317499         WEITZ & LUXENBERG, PC
ATKINS               SHIRLEY B             NY         01CIV3914        WEITZ & LUXENBERG, PC                                AUSTIN               HERBERT J             NY         10716802         WEITZ & LUXENBERG, PC
ATKINSON             CALVIN                NY         19045311         WEITZ & LUXENBERG, PC                                AUSTIN               INGRID                NY         12502700         WEITZ & LUXENBERG, PC
ATKINSON             FRANK C               NY         10658102         WEITZ & LUXENBERG, PC                                AUSTIN               JOHN                  NY         12502700         WEITZ & LUXENBERG, PC
ATKINSON             JOHNNY                NY         19045311         WEITZ & LUXENBERG, PC                                AUSTIN               JOSEPHINE             NY         10740402         WEITZ & LUXENBERG, PC
ATKINSON             JUDY                  NY         10710002         WEITZ & LUXENBERG, PC                                AUSTIN               JOSEPHINE E           NY         10740402         WEITZ & LUXENBERG, PC
ATKINSON             LUCILLE C             NY         10658102         WEITZ & LUXENBERG, PC                                AUSTIN               JUDITH                NY         12502800         WEITZ & LUXENBERG, PC
ATKINSON             PATRICK M             NY         10710002         WEITZ & LUXENBERG, PC                                AUSTIN               MICHAEL J             NY         02105713         WEITZ & LUXENBERG, PC
ATKINSON             TRACIE                NY         1900202013       WEITZ & LUXENBERG, PC                                AUSTIN               MILDRED L             NY         02CIV1249        WEITZ & LUXENBERG, PC
ATTANASIO            ANGELA                NY         10997100         WEITZ & LUXENBERG, PC                                AUSTIN               NANCY                 NY         11057600         WEITZ & LUXENBERG, PC
ATTANASIO            ANGELINA              NY         12038901         WEITZ & LUXENBERG, PC                                AUSTIN               NANCY                 NY         10835600         WEITZ & LUXENBERG, PC
ATTANASIO            ANGELINA              NY         12445101         WEITZ & LUXENBERG, PC                                AUSTIN               NELDA                 NY         CV015510         WEITZ & LUXENBERG, PC
ATTANASIO            LOUIS J               NY         12038901         WEITZ & LUXENBERG, PC                                AUSTIN               PATRICIA              NY         02105713         WEITZ & LUXENBERG, PC
ATTANASIO            LOUIS J               NY         12445101         WEITZ & LUXENBERG, PC                                AUSTIN               RC                    NY         CV016777         WEITZ & LUXENBERG, PC
ATTANASIO            PETER F               NY         10740102         WEITZ & LUXENBERG, PC                                AUSTIN               RICHARD J             NY         11317499         WEITZ & LUXENBERG, PC
ATTANASIO            PHYLLIS               NY         10740102         WEITZ & LUXENBERG, PC                                AUSTIN               ROLAND                NY         CV015510         WEITZ & LUXENBERG, PC
ATTANASIO            ROBERT                NY         12038901         WEITZ & LUXENBERG, PC                                AUSTIN               RONALD L              NY         12502800         WEITZ & LUXENBERG, PC
ATTANASIO            ROBERT                NY         12445101         WEITZ & LUXENBERG, PC                                AUSTIN               SUSAN                 NY         11498798         WEITZ & LUXENBERG, PC
ATTARD               ARTHUR J              NY         11447004         WEITZ & LUXENBERG, PC                                AUSTIN               WILLIAM J             NY         10740402         WEITZ & LUXENBERG, PC
ATTARD               STEPHANIE L           NY         11447004         WEITZ & LUXENBERG, PC                                AVAKIAN              DONALD                NY         1900362018       WEITZ & LUXENBERG, PC
ATTARDO              CHARLES A             NY         1903402018       WEITZ & LUXENBERG, PC                                AVAKIAN              LAURA                 NY         1900362018       WEITZ & LUXENBERG, PC
ATTARDO              CHARLES A             NY         11327902         WEITZ & LUXENBERG, PC                                AVELLA               GIOVANNI MARIO        NY         11057500         WEITZ & LUXENBERG, PC
ATTARDO              GRAZIELLA             NY         10384200         WEITZ & LUXENBERG, PC                                AVELLA               GIOVANNI MARIO        NY         10835600         WEITZ & LUXENBERG, PC
ATTARDO              RITA                  NY         1903402018       WEITZ & LUXENBERG, PC                                AVERACK              IRWIN                 NY         12039901         WEITZ & LUXENBERG, PC
ATTARDO              RITA                  NY         11327902         WEITZ & LUXENBERG, PC                                AVERACK              YVETTE                NY         12039901         WEITZ & LUXENBERG, PC
ATTARDO              SALVATORE             NY         10384200         WEITZ & LUXENBERG, PC                                AVERETT              ALBERT J              NY         10403300         WEITZ & LUXENBERG, PC
ATTAWAY              GONZIE LEE            NY         10384300         WEITZ & LUXENBERG, PC                                AVERETT              JOANNA M              NY         10403300         WEITZ & LUXENBERG, PC
ATWELL               JAMES L SR            NY         CIV006917        WEITZ & LUXENBERG, PC                                AVERY                ALICIA                NY         12043201         WEITZ & LUXENBERG, PC
ATWELL               MARTHA                NY         CIV006917        WEITZ & LUXENBERG, PC                                AVERY                ALICIA                NY         10110102         WEITZ & LUXENBERG, PC
AUBIN                CONRAD G              NY         10835600         WEITZ & LUXENBERG, PC                                AVERY                JOHN G                NY         10403200         WEITZ & LUXENBERG, PC
AUBIN                JUANITA               NY         10835600         WEITZ & LUXENBERG, PC                                AVERY                TRACY                 NY         10403200         WEITZ & LUXENBERG, PC
AUBLE                BARBARA               NY         10740302         WEITZ & LUXENBERG, PC                                AVOLIO               JOSEPH                NY         10525500         WEITZ & LUXENBERG, PC
AUBLE                BARBARA               NY         11412902         WEITZ & LUXENBERG, PC                                AVOLIO               JOSEPHINE             NY         10525500         WEITZ & LUXENBERG, PC
AUBLE                JEFFERY               NY         10740302         WEITZ & LUXENBERG, PC                                AVRAM                MARCELLA M            NY         10163406         WEITZ & LUXENBERG, PC
AUBLE                JEFFERY               NY         11412902         WEITZ & LUXENBERG, PC                                AVRAM                TOMA                  NY         10163406         WEITZ & LUXENBERG, PC
AUBREY               KATHLEEN              NY         1902212019       WEITZ & LUXENBERG, PC                                AYALA                PEDRO J               NY         01111233         WEITZ & LUXENBERG, PC
AUBREY               THOMAS J              NY         1902212019       WEITZ & LUXENBERG, PC                                AYELLO               DONALD J              NY         11625201         WEITZ & LUXENBERG, PC
AUBRY                MC                    NY         1902852012       WEITZ & LUXENBERG, PC                                AYELLO               DONALD J              NY         01111221         WEITZ & LUXENBERG, PC
AUBRY                MARILYN               NY         1902852012       WEITZ & LUXENBERG, PC                                AYELLO               MARIE                 NY         11625201         WEITZ & LUXENBERG, PC
AUCLAIR              JUDITH                NY         11741500         WEITZ & LUXENBERG, PC                                AYELLO               MARIE                 NY         01111221         WEITZ & LUXENBERG, PC
AUCLAIR              VERNON L              NY         11741500         WEITZ & LUXENBERG, PC                                AYERS                DANIEL                NY         98117737         WEITZ & LUXENBERG, PC
AUDETTE              GEORGETTE             NY         EFCA2015003256   WEITZ & LUXENBERG, PC                                AYERS                DON EDWARD            NY         01CIV3905        WEITZ & LUXENBERG, PC
AUDETTE              GILBERT R             NY         EFCA2015003256   WEITZ & LUXENBERG, PC                                AYERS                GLENDA                NY         01CIV3905        WEITZ & LUXENBERG, PC
AUERBACH             SEYMOUR               NY         12039901         WEITZ & LUXENBERG, PC                                AYERS                JOAN                  NY         98117737         WEITZ & LUXENBERG, PC
AUFFINGER            KAY                   NY         10403500         WEITZ & LUXENBERG, PC                                AYERS                JOAN M                NY         10403100         WEITZ & LUXENBERG, PC
AUFFINGER            MELVIN                NY         10403500         WEITZ & LUXENBERG, PC                                AYERS                MICHAEL W             NY         12100401         WEITZ & LUXENBERG, PC
AUFIERO              ANTOINETTE            NY         104034000        WEITZ & LUXENBERG, PC                                AYERS                SANDE                 NY         12502900         WEITZ & LUXENBERG, PC
AUFIERO              JOSEPH                NY         104034000        WEITZ & LUXENBERG, PC                                AYERS                SHERRY                NY         12502900         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 857
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 192 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

AYERS                THOMAS                NY         10403100         WEITZ & LUXENBERG, PC                                BAILEY               HAZEL L               NY         CV020151         WEITZ & LUXENBERG, PC
AYERS                VASILIKI              NY         12100401         WEITZ & LUXENBERG, PC                                BAILEY               HENRY ANTHONEY        NY         10402700         WEITZ & LUXENBERG, PC
AYLWARD              CARL KENNETH          NY         1901702017       WEITZ & LUXENBERG, PC                                BAILEY               HOYT                  NY         10384800         WEITZ & LUXENBERG, PC
AYLWARD              CARL KENNETH          NY         11716804         WEITZ & LUXENBERG, PC                                BAILEY               HOYT                  NY         12788702         WEITZ & LUXENBERG, PC
AYLWARD              FRANCES               NY         1901702017       WEITZ & LUXENBERG, PC                                BAILEY               JOYCE                 NY         11522303         WEITZ & LUXENBERG, PC
AYLWARD              FRANCES               NY         11716804         WEITZ & LUXENBERG, PC                                BAILEY               JOYCE                 NY         19029210         WEITZ & LUXENBERG, PC
AYOTTE               GERARD B              NY         10696502         WEITZ & LUXENBERG, PC                                BAILEY               JOYCE V               NY         10797599         WEITZ & LUXENBERG, PC
AZZARELLA            JACK A                NY         11317399         WEITZ & LUXENBERG, PC                                BAILEY               KETHERYN              NY         01CIV3922        WEITZ & LUXENBERG, PC
AZZARELLA            JOSEPH P              NY         11317399         WEITZ & LUXENBERG, PC                                BAILEY               LARRY J               NY         01CIV3922        WEITZ & LUXENBERG, PC
AZZARELLA            LOUISE A              NY         11317399         WEITZ & LUXENBERG, PC                                BAILEY               LAURIE                NY         10188601         WEITZ & LUXENBERG, PC
AZZARELLA            PETRINA               NY         11317399         WEITZ & LUXENBERG, PC                                BAILEY               MARLENE I             NY         10385000         WEITZ & LUXENBERG, PC
AZZARO               NOREEN                NY         10403000         WEITZ & LUXENBERG, PC                                BAILEY               MATTIE                NY         CV016937         WEITZ & LUXENBERG, PC
AZZARO               RAYMOND               NY         10403000         WEITZ & LUXENBERG, PC                                BAILEY               MAURICE D             NY         11522303         WEITZ & LUXENBERG, PC
BABBI                ANTONINA              NY         10624199         WEITZ & LUXENBERG, PC                                BAILEY               MICHAEL               NY         01CIV3900        WEITZ & LUXENBERG, PC
BABBI                LAURO                 NY         10624199         WEITZ & LUXENBERG, PC                                BAILEY               MYRTLE                NY         10402400         WEITZ & LUXENBERG, PC
BABCOCK              DEBORAH MARY          NY         10645702         WEITZ & LUXENBERG, PC                                BAILEY               PAUL                  NY         CV016937         WEITZ & LUXENBERG, PC
BABCOCK              WILLIAM A             NY         10645702         WEITZ & LUXENBERG, PC                                BAILEY               PHILIP                NY         CV012067         WEITZ & LUXENBERG, PC
BABCOCK              WILLIAM T             NY         CV033136         WEITZ & LUXENBERG, PC                                BAILEY               RAYMOND D             NY         19029210         WEITZ & LUXENBERG, PC
BABIN                ALEXANDER             NY         12503000         WEITZ & LUXENBERG, PC                                BAILEY               ROBERT J              NY         10385000         WEITZ & LUXENBERG, PC
BABIN                GEREMIA               NY         12503000         WEITZ & LUXENBERG, PC                                BAILEY               ROY N                 NY         CV016790         WEITZ & LUXENBERG, PC
BABINEC              ANNA                  NY         01111235         WEITZ & LUXENBERG, PC                                BAILEY               SIDNEY                NY         CV020151         WEITZ & LUXENBERG, PC
BABINEC              JOSEPH                NY         01111235         WEITZ & LUXENBERG, PC                                BAILEY               VIOLA E               NY         10402700         WEITZ & LUXENBERG, PC
BABINEC              JOSEPH                NY         11830001         WEITZ & LUXENBERG, PC                                BAILEY               WALTER ROY            NY         11803904         WEITZ & LUXENBERG, PC
BABSTOCK             LINDA                 NY         99113172         WEITZ & LUXENBERG, PC                                BAILEY               WILLIAM               NY         10402400         WEITZ & LUXENBERG, PC
BABSTOCK             ROBERT J              NY         99113172         WEITZ & LUXENBERG, PC                                BAILEY               WINSTON               NY         19008610         WEITZ & LUXENBERG, PC
BACCALA              FRANCESCO             NY         10384500         WEITZ & LUXENBERG, PC                                BAILIS               ABRAHAM               NY         11497898         WEITZ & LUXENBERG, PC
BACCALA              KATHERINE             NY         10384500         WEITZ & LUXENBERG, PC                                BAILIS               MINNA                 NY         11497898         WEITZ & LUXENBERG, PC
BACCHI               IGNATIUS T            NY         12503100         WEITZ & LUXENBERG, PC                                BAINBRIDGE           ROBERT F              NY         10710002         WEITZ & LUXENBERG, PC
BACCHI               VIRGINIA              NY         12503100         WEITZ & LUXENBERG, PC                                BAINE                JEAN M                NY         11497798         WEITZ & LUXENBERG, PC
BACHA                FADILA                NY         11317199         WEITZ & LUXENBERG, PC                                BAINE                WALTER                NY         11497798         WEITZ & LUXENBERG, PC
BACHA                MICHAEL               NY         11317199         WEITZ & LUXENBERG, PC                                BAIO                 DOVA                  NY         10008703         WEITZ & LUXENBERG, PC
BACHERT              THOMAS                NY         01111229         WEITZ & LUXENBERG, PC                                BAIO                 JOSEPH                NY         10008703         WEITZ & LUXENBERG, PC
BACK                 JOSEPHINE             NY         10384700         WEITZ & LUXENBERG, PC                                BAIRD                DIANE D               NY         1901202013       WEITZ & LUXENBERG, PC
BACK                 PETER A               NY         10384700         WEITZ & LUXENBERG, PC                                BAIRD                DONALD I              NY         1901202013       WEITZ & LUXENBERG, PC
BACKERT              FREDERICK J           NY         02106693         WEITZ & LUXENBERG, PC                                BAISCH               MAXINE                NY         19004012         WEITZ & LUXENBERG, PC
BACKERT              PATRICIA M            NY         02106693         WEITZ & LUXENBERG, PC                                BAISLEY              MARION                NY         02106578         WEITZ & LUXENBERG, PC
BACKUS               LYNN ERNEST           NY         10669102         WEITZ & LUXENBERG, PC                                BAISLEY              ROBERT W              NY         02106578         WEITZ & LUXENBERG, PC
BADLAM               FRANCIS               NY         01111218         WEITZ & LUXENBERG, PC                                BAJASAROWICZ         MARY M                NY         10385100         WEITZ & LUXENBERG, PC
BADLAM               PATRICIA              NY         01111218         WEITZ & LUXENBERG, PC                                BAJOR                CARL                  NY         10691302         WEITZ & LUXENBERG, PC
BADURA               JAMES E               NY         12788802         WEITZ & LUXENBERG, PC                                BAJOR                CARL                  NY         CV012331         WEITZ & LUXENBERG, PC
BADURA               JOANN                 NY         12788802         WEITZ & LUXENBERG, PC                                BAJOR                MARY                  NY         10691302         WEITZ & LUXENBERG, PC
BAETENS              ADRIAN                NY         11505598         WEITZ & LUXENBERG, PC                                BAJOR                MARY                  NY         CV012331         WEITZ & LUXENBERG, PC
BAETENS              MARION                NY         11505598         WEITZ & LUXENBERG, PC                                BAJSAROWICZ          JULIAN                NY         10385100         WEITZ & LUXENBERG, PC
BAETZHOLD            JAMES G               NY         10870901         WEITZ & LUXENBERG, PC                                BAK                  ELAINE L              NY         11026802         WEITZ & LUXENBERG, PC
BAETZHOLD            PATRICIA              NY         10870901         WEITZ & LUXENBERG, PC                                BAK                  ELAINE L              NY         12556202         WEITZ & LUXENBERG, PC
BAEYENS              JOSEPH                NY         1900262016       WEITZ & LUXENBERG, PC                                BAKAL                NORMAN M              NY         12693702         WEITZ & LUXENBERG, PC
BAEYENS              MARGARET              NY         1900262016       WEITZ & LUXENBERG, PC                                BAKER                ANNA L                NY         12038801         WEITZ & LUXENBERG, PC
BAGGOTT              DONALD                NY         12039001         WEITZ & LUXENBERG, PC                                BAKER                BENJAMIN B            NY         12038801         WEITZ & LUXENBERG, PC
BAGGOTT              JOAN                  NY         12039001         WEITZ & LUXENBERG, PC                                BAKER                BERNADETTE            NY         12503300         WEITZ & LUXENBERG, PC
BAGGOTT              MALACHY               NY         10722002         WEITZ & LUXENBERG, PC                                BAKER                CAROL                 NY         11428600         WEITZ & LUXENBERG, PC
BAGGOTT              MARY JO               NY         10722002         WEITZ & LUXENBERG, PC                                BAKER                CASMER                NY         11498198         WEITZ & LUXENBERG, PC
BAGINSKI             STANLEY               NY         12433902         WEITZ & LUXENBERG, PC                                BAKER                CHARLES               NY         12503300         WEITZ & LUXENBERG, PC
BAGINSKI             STANLEY               NY         10197903         WEITZ & LUXENBERG, PC                                BAKER                CHARLES E             NY         10587102         WEITZ & LUXENBERG, PC
BAGLIO               FRANK                 NY         10402500         WEITZ & LUXENBERG, PC                                BAKER                CHRISTINA             NY         6138362016       WEITZ & LUXENBERG, PC
BAGLIO               MILDRED               NY         10402500         WEITZ & LUXENBERG, PC                                BAKER                DAVID W               NY         02105716         WEITZ & LUXENBERG, PC
BAHARIS              PASCA                 NY         01111229         WEITZ & LUXENBERG, PC                                BAKER                ETHEL                 NY         02113280         WEITZ & LUXENBERG, PC
BAI                  FREDERICK             NY         11000503         WEITZ & LUXENBERG, PC                                BAKER                ETHEL G               NY         01CIV3900        WEITZ & LUXENBERG, PC
BAI                  RITTA                 NY         11000503         WEITZ & LUXENBERG, PC                                BAKER                GLENN ALEXANDER       NY         CV003590         WEITZ & LUXENBERG, PC
BAIER                CAROLYN               NY         12503200         WEITZ & LUXENBERG, PC                                BAKER                GLORIA                NY         11057200         WEITZ & LUXENBERG, PC
BAIER                ROBERT                NY         12503200         WEITZ & LUXENBERG, PC                                BAKER                GLORIA                NY         10835600         WEITZ & LUXENBERG, PC
BAIERA               ANTHONOY R            NY         10402600         WEITZ & LUXENBERG, PC                                BAKER                HAROLD C              NY         10023403         WEITZ & LUXENBERG, PC
BAIERA               BARBARA               NY         10402600         WEITZ & LUXENBERG, PC                                BAKER                HARRY E               NY         00CIV6511        WEITZ & LUXENBERG, PC
BAILEY               ALICE                 NY         10384800         WEITZ & LUXENBERG, PC                                BAKER                HELEN                 NY         11057300         WEITZ & LUXENBERG, PC
BAILEY               ALICE E               NY         12788702         WEITZ & LUXENBERG, PC                                BAKER                HELEN                 NY         10835600         WEITZ & LUXENBERG, PC
BAILEY               BARBARA               NY         19008610         WEITZ & LUXENBERG, PC                                BAKER                HOMER R               NY         1903412018       WEITZ & LUXENBERG, PC
BAILEY               BARBARA               NY         CV012067         WEITZ & LUXENBERG, PC                                BAKER                HOWARD P              NY         11057200         WEITZ & LUXENBERG, PC
BAILEY               BELINDA               NY         CV017783         WEITZ & LUXENBERG, PC                                BAKER                HOWARD P              NY         10835600         WEITZ & LUXENBERG, PC
BAILEY               CEOLA                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                BAKER                JAMES F               NY         02105718         WEITZ & LUXENBERG, PC
BAILEY               DIXIE                 NY         10715400         WEITZ & LUXENBERG, PC                                BAKER                JESSE DAVID           NY         11316999         WEITZ & LUXENBERG, PC
BAILEY               DOUGLAS               NY         10188601         WEITZ & LUXENBERG, PC                                BAKER                JO                    NY         11316999         WEITZ & LUXENBERG, PC
BAILEY               EARL RAYMOND          NY         CV017783         WEITZ & LUXENBERG, PC                                BAKER                JOANNA L              NY         02105718         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 858
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 193 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BAKER                JUDY                  NY         11560901         WEITZ & LUXENBERG, PC                                BALISTRIERI          DOMINIC               NY         11057100         WEITZ & LUXENBERG, PC
BAKER                JUDY                  NY         01111218         WEITZ & LUXENBERG, PC                                BALISTRIERI          DOMINIC               NY         10835600         WEITZ & LUXENBERG, PC
BAKER                KATHERINE L           NY         00CIV6511        WEITZ & LUXENBERG, PC                                BALKEN               EUGENE                NY         1904672012       WEITZ & LUXENBERG, PC
BAKER                KEITH A               NY         11057300         WEITZ & LUXENBERG, PC                                BALKUM               CHARLES E             NY         10669502         WEITZ & LUXENBERG, PC
BAKER                KEITH A               NY         10835600         WEITZ & LUXENBERG, PC                                BALL                 DIANE                 NY         10609599         WEITZ & LUXENBERG, PC
BAKER                LEROY                 NY         CV013921         WEITZ & LUXENBERG, PC                                BALL                 EMANUEL               NY         12039401         WEITZ & LUXENBERG, PC
BAKER                LEWIS DANIEL          NY         01CIV0123        WEITZ & LUXENBERG, PC                                BALL                 GEORGE A              NY         01111222         WEITZ & LUXENBERG, PC
BAKER                LOUIS                 NY         10716902         WEITZ & LUXENBERG, PC                                BALL                 GEORGE L              NY         11058900         WEITZ & LUXENBERG, PC
BAKER                MARIE                 NY         01CIV0123        WEITZ & LUXENBERG, PC                                BALL                 GEORGE L              NY         10835600         WEITZ & LUXENBERG, PC
BAKER                MARY                  NY         11498198         WEITZ & LUXENBERG, PC                                BALL                 GEORGE R              NY         12693502         WEITZ & LUXENBERG, PC
BAKER                MARY ANNE PERMENTER   NY         CV013921         WEITZ & LUXENBERG, PC                                BALL                 HERMAN                NY         CV016406         WEITZ & LUXENBERG, PC
BAKER                NANCY                 NY         10680802         WEITZ & LUXENBERG, PC                                BALL                 MARY LOU              NY         CV016406         WEITZ & LUXENBERG, PC
BAKER                RAYMOND E             NY         02113280         WEITZ & LUXENBERG, PC                                BALL                 SHANNIE MARIE         NY         1902722019       WEITZ & LUXENBERG, PC
BAKER                RICHARD A             NY         10680802         WEITZ & LUXENBERG, PC                                BALL                 WESLEY THOMAS         NY         11058800         WEITZ & LUXENBERG, PC
BAKER                RICHARD E JR          NY         11327802         WEITZ & LUXENBERG, PC                                BALL                 WESLEY THOMAS         NY         10835600         WEITZ & LUXENBERG, PC
BAKER                RICHARD E JR          NY         11950702         WEITZ & LUXENBERG, PC                                BALL                 WILLIAM               NY         10609599         WEITZ & LUXENBERG, PC
BAKER                ROBERT                NY         1903412018       WEITZ & LUXENBERG, PC                                BALLARD              CHARLINE              NY         CV018287         WEITZ & LUXENBERG, PC
BAKER                SAM                   NY         01CIV3900        WEITZ & LUXENBERG, PC                                BALLARD              JESSE W               NY         CV015717         WEITZ & LUXENBERG, PC
BAKER                YVONNE K              NY         02105716         WEITZ & LUXENBERG, PC                                BALLARD              JIM                   NY         CV018287         WEITZ & LUXENBERG, PC
BAKER-HEADINGTON     KATHERINE L           NY         00CIV6511        WEITZ & LUXENBERG, PC                                BALLARD              PAULA                 NY         CV015717         WEITZ & LUXENBERG, PC
BAKKE                RALPH                 NY         01111228         WEITZ & LUXENBERG, PC                                BALLIET              KATHLEEN              NY         I20018768        WEITZ & LUXENBERG, PC
BAKKER               AALT P                NY         11316899         WEITZ & LUXENBERG, PC                                BALLIET              STANLEY               NY         I20018768        WEITZ & LUXENBERG, PC
BAKKER               BARBARA               NY         11316899         WEITZ & LUXENBERG, PC                                BALLINGER            CAROLE A              NY         113044000        WEITZ & LUXENBERG, PC
BAKKER               JOHN                  NY         11498098         WEITZ & LUXENBERG, PC                                BALLOWE              DARRYL WILLIAM        NY         CV017784         WEITZ & LUXENBERG, PC
BAKKER               JOYCE                 NY         11498098         WEITZ & LUXENBERG, PC                                BALMFORTH            ROBERT W              NY         1902192013       WEITZ & LUXENBERG, PC
BALABANICK           JOHN                  NY         1902842019       WEITZ & LUXENBERG, PC                                BALOGH               LOUIS A               NY         11497098         WEITZ & LUXENBERG, PC
BALABANICK           JOHN J                NY         1902842019       WEITZ & LUXENBERG, PC                                BALOGH               MARY LOU              NY         11497098         WEITZ & LUXENBERG, PC
BALABANICK           MARY                  NY         1902842019       WEITZ & LUXENBERG, PC                                BALOGH               PAUL F                NY         10402200         WEITZ & LUXENBERG, PC
BALAFAS              PATRICIA              NY         11123101         WEITZ & LUXENBERG, PC                                BALZANO              JACK                  NY         10033903         WEITZ & LUXENBERG, PC
BALAFAS              PETER                 NY         11123101         WEITZ & LUXENBERG, PC                                BALZANO              JENNIFER J            NY         12556202         WEITZ & LUXENBERG, PC
BALASH               HILDEGARD             NY         10587002         WEITZ & LUXENBERG, PC                                BALZANO              MARIE                 NY         10033903         WEITZ & LUXENBERG, PC
BALASH               HILDEGARD             NY         10876402         WEITZ & LUXENBERG, PC                                BALZARINI            FRANCES               NY         10870901         WEITZ & LUXENBERG, PC
BALASSI              GEORGE V              NY         11318799         WEITZ & LUXENBERG, PC                                BALZARINI            JOHN L                NY         10870901         WEITZ & LUXENBERG, PC
BALASSI              JEAN                  NY         11318799         WEITZ & LUXENBERG, PC                                BAMBI                MARYANN               NY         01111236         WEITZ & LUXENBERG, PC
BALASSI              JOAN                  NY         11318799         WEITZ & LUXENBERG, PC                                BAMBI                MARYANN               NY         12186501         WEITZ & LUXENBERG, PC
BALBI                ANTHONY               NY         11625101         WEITZ & LUXENBERG, PC                                BAMBI                VINCENT               NY         01111236         WEITZ & LUXENBERG, PC
BALBI                ANTHONY               NY         01111221         WEITZ & LUXENBERG, PC                                BAMBI                VINCENT               NY         12186501         WEITZ & LUXENBERG, PC
BALBIERZ             ROBERT F              NY         11506398         WEITZ & LUXENBERG, PC                                BANACH               RONALD                NY         11026702         WEITZ & LUXENBERG, PC
BALBIERZ             SYLVIA                NY         11506398         WEITZ & LUXENBERG, PC                                BANDISH              JOAN V                NY         11770798         WEITZ & LUXENBERG, PC
BALCH                BEV                   NY         02106579         WEITZ & LUXENBERG, PC                                BANDISH              VICTOR JOHN           NY         11770798         WEITZ & LUXENBERG, PC
BALCH                KEN                   NY         02106579         WEITZ & LUXENBERG, PC                                BANE                 FREDERICK H           NY         I20019853        WEITZ & LUXENBERG, PC
BALDASSARE           KATHLEEN              NY         10385200         WEITZ & LUXENBERG, PC                                BANE                 KEVIN                 NY         1903092012       WEITZ & LUXENBERG, PC
BALDASSARE           THOMAS                NY         10385200         WEITZ & LUXENBERG, PC                                BANE                 LARRY                 NY         1903092012       WEITZ & LUXENBERG, PC
BALDI                CARMELO               NY         11122301         WEITZ & LUXENBERG, PC                                BANE                 REGETTA               NY         I20019853        WEITZ & LUXENBERG, PC
BALDI                CARMELO               NY         01111223         WEITZ & LUXENBERG, PC                                BANETH               GEROLD                NY         10609699         WEITZ & LUXENBERG, PC
BALDI                CONCETTA              NY         11122301         WEITZ & LUXENBERG, PC                                BANETH               PAM                   NY         10609699         WEITZ & LUXENBERG, PC
BALDI                CONCETTA              NY         01111223         WEITZ & LUXENBERG, PC                                BANEY                CHARLES G             NY         10404400         WEITZ & LUXENBERG, PC
BALDI                JOSEPHINE             NY         11122301         WEITZ & LUXENBERG, PC                                BANEY                DAVID                 NY         10404400         WEITZ & LUXENBERG, PC
BALDI                JOSEPHINE             NY         01111223         WEITZ & LUXENBERG, PC                                BANEY                PATRICIA              NY         10404400         WEITZ & LUXENBERG, PC
BALDINGER            JOSEPH                NY         12503400         WEITZ & LUXENBERG, PC                                BANIK                ANNABELL              NY         11058700         WEITZ & LUXENBERG, PC
BALDINGER            RAE                   NY         12503400         WEITZ & LUXENBERG, PC                                BANIK                ANNABELL              NY         10835600         WEITZ & LUXENBERG, PC
BALDWIN              ALPHONSO              NY         I200110290       WEITZ & LUXENBERG, PC                                BANIK                CHARLES S             NY         11058700         WEITZ & LUXENBERG, PC
BALDWIN              BONNIE                NY         12503500         WEITZ & LUXENBERG, PC                                BANIK                CHARLES S             NY         10835600         WEITZ & LUXENBERG, PC
BALDWIN              DEWITT                NY         11293400         WEITZ & LUXENBERG, PC                                BANIK                JOHN F                NY         11058700         WEITZ & LUXENBERG, PC
BALDWIN              DON M                 NY         10669102         WEITZ & LUXENBERG, PC                                BANIK                JOHN F                NY         10835600         WEITZ & LUXENBERG, PC
BALDWIN              JERI                  NY         1902682017       WEITZ & LUXENBERG, PC                                BANK                 BEATRICE              NY         98117740         WEITZ & LUXENBERG, PC
BALDWIN              JOHN                  NY         10609499         WEITZ & LUXENBERG, PC                                BANK                 MAX                   NY         98117740         WEITZ & LUXENBERG, PC
BALDWIN              MARY                  NY         11293400         WEITZ & LUXENBERG, PC                                BANKER               RONALD F              NY         10680802         WEITZ & LUXENBERG, PC
BALDWIN              RONALD C              NY         1902682017       WEITZ & LUXENBERG, PC                                BANKER               SANDRA                NY         10680802         WEITZ & LUXENBERG, PC
BALDWIN              THEODORE R            NY         02105715         WEITZ & LUXENBERG, PC                                BANKOFF              MILTON                NY         10385400         WEITZ & LUXENBERG, PC
BALDWIN              WILLIAM M             NY         12503500         WEITZ & LUXENBERG, PC                                BANKOFF              RUTH                  NY         10385400         WEITZ & LUXENBERG, PC
BALE                 DANIEL LEE            NY         11316599         WEITZ & LUXENBERG, PC                                BANKS                ALLEN                 NY         10382800         WEITZ & LUXENBERG, PC
BALE                 DONALD                NY         I20018769        WEITZ & LUXENBERG, PC                                BANKS                BURNSTEIN E           NY         1903612016       WEITZ & LUXENBERG, PC
BALE                 HAROLD J              NY         11316599         WEITZ & LUXENBERG, PC                                BANKS                CHARLES               NY         10385500         WEITZ & LUXENBERG, PC
BALE                 SHIRLEY JANE          NY         I20018769        WEITZ & LUXENBERG, PC                                BANKS                GLADYS M              NY         01CIV3915        WEITZ & LUXENBERG, PC
BALES                GABRIELE              NY         1903722015       WEITZ & LUXENBERG, PC                                BANKS                GLORIA                NY         1903612016       WEITZ & LUXENBERG, PC
BALES                HARRY E               NY         1903722015       WEITZ & LUXENBERG, PC                                BANKS                HARRY J               NY         01CIV3915        WEITZ & LUXENBERG, PC
BALES                THERESA               NY         11316499         WEITZ & LUXENBERG, PC                                BANKS                JESSIE                NY         10609799         WEITZ & LUXENBERG, PC
BALES                WOODROW               NY         11316499         WEITZ & LUXENBERG, PC                                BANKS                JOHN                  NY         10382700         WEITZ & LUXENBERG, PC
BALESTRIERE          JOHN A                NY         11026902         WEITZ & LUXENBERG, PC                                BANKS                MARTHA                NY         10382900         WEITZ & LUXENBERG, PC
BALESTRIERE          MARIA P               NY         11026902         WEITZ & LUXENBERG, PC                                BANKS                SCY                   NY         10382900         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 859
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 194 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BANKS                THELMA                NY         10382700         WEITZ & LUXENBERG, PC                                BARBOUR              MADELINE              NY         11349003         WEITZ & LUXENBERG, PC
BANKS                WILLIAM               NY         11316399         WEITZ & LUXENBERG, PC                                BARBUTO              BARTOLOMEO            NY         10023403         WEITZ & LUXENBERG, PC
BANKS                WILLIE MAE            NY         10385500         WEITZ & LUXENBERG, PC                                BARBUTO              BARTOLOMEO            NY         11583703         WEITZ & LUXENBERG, PC
BANKS-LEATHERWOOD    SHERRI                NY         10548100         WEITZ & LUXENBERG, PC                                BARBUTO              MARIE                 NY         10023403         WEITZ & LUXENBERG, PC
BANNISTER            LEWIS G               NY         I20016817        WEITZ & LUXENBERG, PC                                BARBUTO              MARIE                 NY         11583703         WEITZ & LUXENBERG, PC
BANNISTER            MARY                  NY         I20016817        WEITZ & LUXENBERG, PC                                BARCAVAGE            ALFRED                NY         1902282013       WEITZ & LUXENBERG, PC
BANNISTER            WILLIAM J             NY         12503600         WEITZ & LUXENBERG, PC                                BARCELLONA           JAMES J               NY         02113566         WEITZ & LUXENBERG, PC
BAPP                 DONNA                 NY         12503700         WEITZ & LUXENBERG, PC                                BARCELLONA           RUTH                  NY         02113566         WEITZ & LUXENBERG, PC
BAPP                 WAYNE W               NY         12503700         WEITZ & LUXENBERG, PC                                BARCI                BARBARA               NY         98117722         WEITZ & LUXENBERG, PC
BAPST                ROBERT JAMES          NY         I200110000       WEITZ & LUXENBERG, PC                                BARCI                WILLIAM               NY         98117722         WEITZ & LUXENBERG, PC
BAPST                SHIRLEY A             NY         I200110000       WEITZ & LUXENBERG, PC                                BARCIK               DEBORAH               NY         01111236         WEITZ & LUXENBERG, PC
BAPTISTA             DONALD D              NY         99106099         WEITZ & LUXENBERG, PC                                BARCIK               FRANK                 NY         01111236         WEITZ & LUXENBERG, PC
BAPTISTA             NANCY                 NY         99106099         WEITZ & LUXENBERG, PC                                BARCLAY              DAVID G               NY         10587102         WEITZ & LUXENBERG, PC
BARANELLO            NICHOLAS              NY         12039701         WEITZ & LUXENBERG, PC                                BARCLAY              LISA M                NY         10587102         WEITZ & LUXENBERG, PC
BARANELLO            RUTH A                NY         12039701         WEITZ & LUXENBERG, PC                                BARCONE              MICHAEL               NY         19001912         WEITZ & LUXENBERG, PC
BARANOWSKI           EVELYN                NY         10383000         WEITZ & LUXENBERG, PC                                BARCZAK              DAVID J               NY         10383500         WEITZ & LUXENBERG, PC
BARANOWSKI           LEONARD               NY         10383000         WEITZ & LUXENBERG, PC                                BARCZAK              PATRICIA J            NY         11744403         WEITZ & LUXENBERG, PC
BARANYCKYJ           DMYTRO                NY         10383100         WEITZ & LUXENBERG, PC                                BARCZAK              THERESA               NY         12522600         WEITZ & LUXENBERG, PC
BARANYCKYJ           DOLORES               NY         10383100         WEITZ & LUXENBERG, PC                                BARCZAK              WALTER                NY         12522600         WEITZ & LUXENBERG, PC
BARBAGALLO           JOHN R                NY         10404100         WEITZ & LUXENBERG, PC                                BARCZAK              WILMA J               NY         10383500         WEITZ & LUXENBERG, PC
BARBAGALLO           ROBERT FRANCIS        NY         10404100         WEITZ & LUXENBERG, PC                                BARELLA              JOANNE                NY         11026702         WEITZ & LUXENBERG, PC
BARBARA              CAROL                 NY         1901342019       WEITZ & LUXENBERG, PC                                BARELLA              JOHN P                NY         11026702         WEITZ & LUXENBERG, PC
BARBARA              LAWRENCE              NY         1901342019       WEITZ & LUXENBERG, PC                                BARFIELD             BARBARA               NY         1901982016       WEITZ & LUXENBERG, PC
BARBARO              LOUISE A              NY         10133907         WEITZ & LUXENBERG, PC                                BARFIELD             LEROY                 NY         1901982016       WEITZ & LUXENBERG, PC
BARBARO              MICHAEL A             NY         10133907         WEITZ & LUXENBERG, PC                                BARGNESI             CAROL                 NY         98117741         WEITZ & LUXENBERG, PC
BARBARO              MICHAEL J             NY         19019711         WEITZ & LUXENBERG, PC                                BARGNESI             JOHN D                NY         98117741         WEITZ & LUXENBERG, PC
BARBATI              JOHN J                NY         10587202         WEITZ & LUXENBERG, PC                                BARILEC              ANDREW L              NY         104037           WEITZ & LUXENBERG, PC
BARBATI              JOHN J                NY         10818602         WEITZ & LUXENBERG, PC                                BARILEC              ANNE                  NY         104037           WEITZ & LUXENBERG, PC
BARBATI              NELLIE MCWHIRTER      NY         10818602         WEITZ & LUXENBERG, PC                                BARILLO              JOSEPH                NY         10740002         WEITZ & LUXENBERG, PC
BARBATI              NELLIE MCWHIRTER      NY         10587202         WEITZ & LUXENBERG, PC                                BARKER               BARBARA ANN           NY         01CIV3910        WEITZ & LUXENBERG, PC
BARBATO              ANTHONY R             NY         11815000         WEITZ & LUXENBERG, PC                                BARKER               LAWRENCE              NY         01CIV3910        WEITZ & LUXENBERG, PC
BARBATO              MARGARET              NY         11815000         WEITZ & LUXENBERG, PC                                BARKER               LOUISE E              NY         10911200         WEITZ & LUXENBERG, PC
BARBE                LORETTA B             NY         12557502         WEITZ & LUXENBERG, PC                                BARKER               RICHARD E             NY         11327802         WEITZ & LUXENBERG, PC
BARBELLA             JOHN A                NY         12503800         WEITZ & LUXENBERG, PC                                BARKER               RICHARD E             NY         11950702         WEITZ & LUXENBERG, PC
BARBER               AUGUST A              NY         10740502         WEITZ & LUXENBERG, PC                                BARKHORN             KARIN J               NY         11986798         WEITZ & LUXENBERG, PC
BARBER               AUGUST A              NY         11418402         WEITZ & LUXENBERG, PC                                BARKLEY              BW                    NY         CV011876         WEITZ & LUXENBERG, PC
BARBER               CLARA                 NY         10740502         WEITZ & LUXENBERG, PC                                BARKLEY              DONNA                 NY         CV011876         WEITZ & LUXENBERG, PC
BARBER               COLLEEN M             NY         10877303         WEITZ & LUXENBERG, PC                                BARKLEY              LARRY H               NY         10680602         WEITZ & LUXENBERG, PC
BARBER               CONSTANCE             NY         11316299         WEITZ & LUXENBERG, PC                                BARKLEY              VICKIE R              NY         10680602         WEITZ & LUXENBERG, PC
BARBER               ELIZABETH L           NY         10669102         WEITZ & LUXENBERG, PC                                BARLETTE             ARTHUR                NY         11497498         WEITZ & LUXENBERG, PC
BARBER               ELIZABETH L           NY         11478602         WEITZ & LUXENBERG, PC                                BARLETTE             CARMEN J              NY         12522900         WEITZ & LUXENBERG, PC
BARBER               FRANCES               NY         02107005         WEITZ & LUXENBERG, PC                                BARLETTE             JOSEPH A              NY         12522800         WEITZ & LUXENBERG, PC
BARBER               FRANK                 NY         10383200         WEITZ & LUXENBERG, PC                                BARLETTE             MARCY                 NY         11497498         WEITZ & LUXENBERG, PC
BARBER               FRANK J               NY         12305800         WEITZ & LUXENBERG, PC                                BARLETTE             NANCY L               NY         12522800         WEITZ & LUXENBERG, PC
BARBER               HOWARD                NY         10383300         WEITZ & LUXENBERG, PC                                BARLOW               ARTHUR R              NY         12523000         WEITZ & LUXENBERG, PC
BARBER               JOAN                  NY         11026702         WEITZ & LUXENBERG, PC                                BARLOW               DIANA                 NY         12523100         WEITZ & LUXENBERG, PC
BARBER               JOHN C                NY         11316299         WEITZ & LUXENBERG, PC                                BARLOW               JOHN J                NY         12523100         WEITZ & LUXENBERG, PC
BARBER               LENA                  NY         10073103         WEITZ & LUXENBERG, PC                                BARLOW               MARU                  NY         12523000         WEITZ & LUXENBERG, PC
BARBER               LEONARD T             NY         11026702         WEITZ & LUXENBERG, PC                                BARLOW               THOMAS ROGER          NY         CV013921         WEITZ & LUXENBERG, PC
BARBER               ROBERT E              NY         10073103         WEITZ & LUXENBERG, PC                                BARNARD              FRANK C               NY         12523200         WEITZ & LUXENBERG, PC
BARBER               WILLIAM L             NY         02107005         WEITZ & LUXENBERG, PC                                BARNARD              MARJORIE              NY         12523200         WEITZ & LUXENBERG, PC
BARBERA              ANNE                  NY         10383400         WEITZ & LUXENBERG, PC                                BARNER               LEROY                 NY         10528102         WEITZ & LUXENBERG, PC
BARBERA              ELIZABETH             NY         10587202         WEITZ & LUXENBERG, PC                                BARNES               ARTHUR E              NY         10587002         WEITZ & LUXENBERG, PC
BARBERA              GEORGE J              NY         10587202         WEITZ & LUXENBERG, PC                                BARNES               BARBARA JEAN          NY         01CIV3910        WEITZ & LUXENBERG, PC
BARBERA              GIUSEPPE              NY         10610099         WEITZ & LUXENBERG, PC                                BARNES               CHARLES               NY         00CIV1204        WEITZ & LUXENBERG, PC
BARBERA              MARY                  NY         11026702         WEITZ & LUXENBERG, PC                                BARNES               CHERYL A              NY         11058600         WEITZ & LUXENBERG, PC
BARBERA              ROSALIA               NY         10610099         WEITZ & LUXENBERG, PC                                BARNES               CHERYL A              NY         10835600         WEITZ & LUXENBERG, PC
BARBERA              SAM R                 NY         11026702         WEITZ & LUXENBERG, PC                                BARNES               DAVID JOSEPH          NY         02106578         WEITZ & LUXENBERG, PC
BARBERA              STEPHEN               NY         10383400         WEITZ & LUXENBERG, PC                                BARNES               DAVID JOSEPH          NY         11477904         WEITZ & LUXENBERG, PC
BARBERET             DAVID M               NY         10241902         WEITZ & LUXENBERG, PC                                BARNES               EMERY L               NY         11058600         WEITZ & LUXENBERG, PC
BARBIC               ALLEN                 NY         10403900         WEITZ & LUXENBERG, PC                                BARNES               EMERY L               NY         10835600         WEITZ & LUXENBERG, PC
BARBIC               ALLEN                 NY         10413900         WEITZ & LUXENBERG, PC                                BARNES               JOSEPH LEE            NY         01CIV3901        WEITZ & LUXENBERG, PC
BARBIC               FLORENCE              NY         10403800         WEITZ & LUXENBERG, PC                                BARNES               JUDITH                NY         11058500         WEITZ & LUXENBERG, PC
BARBIC               HAROLD L              NY         10403800         WEITZ & LUXENBERG, PC                                BARNES               JUDITH                NY         10835600         WEITZ & LUXENBERG, PC
BARBIERI             ANNETTE               NY         11625001         WEITZ & LUXENBERG, PC                                BARNES               KENNETH D             NY         110648           WEITZ & LUXENBERG, PC
BARBIERI             ANNETTE               NY         01111221         WEITZ & LUXENBERG, PC                                BARNES               KENNETH D             NY         02120706         WEITZ & LUXENBERG, PC
BARBIERI             EUGENE                NY         11625001         WEITZ & LUXENBERG, PC                                BARNES               LAWRENCE ROBERT       NY         12801902         WEITZ & LUXENBERG, PC
BARBIERI             EUGENE                NY         01111221         WEITZ & LUXENBERG, PC                                BARNES               MARGARET              NY         1900082019       WEITZ & LUXENBERG, PC
BARBOUR              EILEEN M              NY         10610299         WEITZ & LUXENBERG, PC                                BARNES               REGINA                NY         110648           WEITZ & LUXENBERG, PC
BARBOUR              GEORGE                NY         10610299         WEITZ & LUXENBERG, PC                                BARNES               REGINA                NY         02120706         WEITZ & LUXENBERG, PC
BARBOUR              GEORGE                NY         11349003         WEITZ & LUXENBERG, PC                                BARNES               ROBERT E              NY         11058500         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 860
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 195 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BARNES               ROBERT E              NY         10835600         WEITZ & LUXENBERG, PC                                BART                 CHARLIE               NY         10610599         WEITZ & LUXENBERG, PC
BARNES               SADIE                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                BARTEN               CLARA                 NY         10911401         WEITZ & LUXENBERG, PC
BARNES               SHERRY M              NY         12801902         WEITZ & LUXENBERG, PC                                BARTEN               CLIFFORD              NY         10911401         WEITZ & LUXENBERG, PC
BARNES               SHIRLEY F             NY         11556003         WEITZ & LUXENBERG, PC                                BARTEN               DONNA M               NY         10911401         WEITZ & LUXENBERG, PC
BARNES               TERRY                 NY         1900332019       WEITZ & LUXENBERG, PC                                BARTERS              HAROLD J              NY         10870901         WEITZ & LUXENBERG, PC
BARNES               TERRY L               NY         02106578         WEITZ & LUXENBERG, PC                                BARTHELMESS          DONALD F              NY         12693402         WEITZ & LUXENBERG, PC
BARNES               TERRY L               NY         11477904         WEITZ & LUXENBERG, PC                                BARTHELMESS          DORIS                 NY         12693402         WEITZ & LUXENBERG, PC
BARNES               VERNON                NY         01CIV3910        WEITZ & LUXENBERG, PC                                BARTHELMESS          EDWARD J              NY         12043201         WEITZ & LUXENBERG, PC
BARNES               TERRY L               NY         02106578         WEITZ & LUXENBERG, PC                                BARTHELMESS          MARILYN               NY         12043201         WEITZ & LUXENBERG, PC
BARNES               TERRY L               NY         11477904         WEITZ & LUXENBERG, PC                                BARTHMARE            IRENE                 NY         1903562016       WEITZ & LUXENBERG, PC
BARNETT              HOLLIS S              NY         CV015683         WEITZ & LUXENBERG, PC                                BARTHMARE            RAYMOND               NY         1903562016       WEITZ & LUXENBERG, PC
BARNETT              KATIE                 NY         19030609         WEITZ & LUXENBERG, PC                                BARTHOLD             MARION                NY         10587702         WEITZ & LUXENBERG, PC
BARNETT              MARIA STROCCHIA       NY         10629599         WEITZ & LUXENBERG, PC                                BARTHOLD             WILLIAM C             NY         10587702         WEITZ & LUXENBERG, PC
BARNETT              NANCY SUE             NY         CV016791         WEITZ & LUXENBERG, PC                                BARTHOLOMEO          JOSEPH                NY         10008403         WEITZ & LUXENBERG, PC
BARNETT              RONALD                NY         19030609         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          CARMELLA              NY         10810202         WEITZ & LUXENBERG, PC
BARNETT              THELMA                NY         CV015683         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          CARMELLA              NY         10383900         WEITZ & LUXENBERG, PC
BARNETT              WILFORD RAY           NY         CV016791         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          DAVID T               NY         10587202         WEITZ & LUXENBERG, PC
BARNEY               ANDREW J              NY         10701704         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          EUGENE                NY         10810202         WEITZ & LUXENBERG, PC
BARNEY               JOAN T                NY         10701704         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          EUGENE E              NY         10383900         WEITZ & LUXENBERG, PC
BARNEY               JUDITH                NY         10587102         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          SCOTT D               NY         02106580         WEITZ & LUXENBERG, PC
BARNEY               JUDITH                NY         10383600         WEITZ & LUXENBERG, PC                                BARTHOLOMEW          TONI                  NY         02106580         WEITZ & LUXENBERG, PC
BARNEY               MARCELLOUS            NY         01CIV3895        WEITZ & LUXENBERG, PC                                BARTINK              GERDA                 NY         10610699         WEITZ & LUXENBERG, PC
BARNEY               PAUL                  NY         10383600         WEITZ & LUXENBERG, PC                                BARTINK              KAZIMIERZ             NY         10610699         WEITZ & LUXENBERG, PC
BARNEY               ROYAS EDWARD          NY         10587102         WEITZ & LUXENBERG, PC                                BARTKOWSKI           ANTHONY               NY         10384000         WEITZ & LUXENBERG, PC
BARNHART             LEROY                 NY         12523300         WEITZ & LUXENBERG, PC                                BARTKOWSKI           VICTOR JOSEPH         NY         02121082         WEITZ & LUXENBERG, PC
BARNIAK              THEODORE              NY         6118942017       WEITZ & LUXENBERG, PC                                BARTLETT             BONNIE                NY         CV013921         WEITZ & LUXENBERG, PC
BARNICKEL            ROBERT G              NY         11316699         WEITZ & LUXENBERG, PC                                BARTLETT             DAVID                 NY         10870901         WEITZ & LUXENBERG, PC
BARON                ERNEST                NY         11335599         WEITZ & LUXENBERG, PC                                BARTLETT             DAVID L               NY         10670402         WEITZ & LUXENBERG, PC
BARON                LOUIS                 NY         10847103         WEITZ & LUXENBERG, PC                                BARTLETT             JERRY D               NY         CV013921         WEITZ & LUXENBERG, PC
BARON                LYNN M                NY         10535301         WEITZ & LUXENBERG, PC                                BARTLETT             JOHN EVAN             NY         10696302         WEITZ & LUXENBERG, PC
BARON                ROSSLYN               NY         11335599         WEITZ & LUXENBERG, PC                                BARTLETT             KATHLEEN              NY         02106709         WEITZ & LUXENBERG, PC
BARONE               CHARLES               NY         11772398         WEITZ & LUXENBERG, PC                                BARTLETT             LINDA L               NY         10550000         WEITZ & LUXENBERG, PC
BARONE               DEBRA                 NY         01111234         WEITZ & LUXENBERG, PC                                BARTLETT             RICHARD W             NY         10065702         WEITZ & LUXENBERG, PC
BARONE               DEBRA                 NY         11925401         WEITZ & LUXENBERG, PC                                BARTLETT             RICHARD W             NY         02121082         WEITZ & LUXENBERG, PC
BARONE               DOMINIC               NY         11179404         WEITZ & LUXENBERG, PC                                BARTLETT             RONALD F              NY         11058400         WEITZ & LUXENBERG, PC
BARONE               DORIS                 NY         12523400         WEITZ & LUXENBERG, PC                                BARTLETT             RONALD F              NY         10835600         WEITZ & LUXENBERG, PC
BARONE               JEAN                  NY         12523500         WEITZ & LUXENBERG, PC                                BARTLETT             SANDRA                NY         10670402         WEITZ & LUXENBERG, PC
BARONE               MARY ANN              NY         11772398         WEITZ & LUXENBERG, PC                                BARTLETT             TAMMI A               NY         10870901         WEITZ & LUXENBERG, PC
BARONE               ORESTE P              NY         01111234         WEITZ & LUXENBERG, PC                                BARTLETT             WILLIAM C             NY         10065702         WEITZ & LUXENBERG, PC
BARONE               ORESTE P              NY         11925401         WEITZ & LUXENBERG, PC                                BARTLETT             WILLIAM C             NY         02121082         WEITZ & LUXENBERG, PC
BARONE               RALPH                 NY         12523400         WEITZ & LUXENBERG, PC                                BARTLETT             WILLIAM J             NY         02106709         WEITZ & LUXENBERG, PC
BARONE               RALPH J               NY         12523500         WEITZ & LUXENBERG, PC                                BARTLEY              BARBARA J             NY         CV018217         WEITZ & LUXENBERG, PC
BARONE               ROSLIN                NY         12523700         WEITZ & LUXENBERG, PC                                BARTLEY              BARBARA J             NY         06CIV3280        WEITZ & LUXENBERG, PC
BARONE               RUSSELL A             NY         12523700         WEITZ & LUXENBERG, PC                                BARTLEY              HAZEL                 NY         11305199         WEITZ & LUXENBERG, PC
BARONE               VINCENT               NY         11640601         WEITZ & LUXENBERG, PC                                BARTLEY              PERRY B               NY         11305199         WEITZ & LUXENBERG, PC
BARONE               VINCENT               NY         01111219         WEITZ & LUXENBERG, PC                                BARTLEY              TED                   NY         CV018217         WEITZ & LUXENBERG, PC
BARR                 CALVIN                NY         10383700         WEITZ & LUXENBERG, PC                                BARTOLOMEO           ANNA                  NY         01111234         WEITZ & LUXENBERG, PC
BARR                 JOHN ROBERT           NY         11303899         WEITZ & LUXENBERG, PC                                BARTOLOMEO           GERARDO               NY         01111234         WEITZ & LUXENBERG, PC
BARR                 SONJA A               NY         11303899         WEITZ & LUXENBERG, PC                                BARTOLOMEO           RICHARD               NY         11304099         WEITZ & LUXENBERG, PC
BARR                 THOMAS MARTIN         NY         10383800         WEITZ & LUXENBERG, PC                                BARTOLOMEO           ROSEMARIE             NY         11304099         WEITZ & LUXENBERG, PC
BARRANCO             DONALD T              NY         11305299         WEITZ & LUXENBERG, PC                                BARTOLOTTA           CARMELA               NY         10870901         WEITZ & LUXENBERG, PC
BARRANCO             EVELYN                NY         11305299         WEITZ & LUXENBERG, PC                                BARTOLOTTA           EDWARD J              NY         10740502         WEITZ & LUXENBERG, PC
BARRAZA              JESUS                 NY         CV034048         WEITZ & LUXENBERG, PC                                BARTOLOTTA           EDWARD T              NY         10870901         WEITZ & LUXENBERG, PC
BARRESE              LOUIS V               NY         19006808         WEITZ & LUXENBERG, PC                                BARTOLOTTA           ELIZABETH A           NY         10740502         WEITZ & LUXENBERG, PC
BARRESE              VERONICA A            NY         19006808         WEITZ & LUXENBERG, PC                                BARTON               FRANK H               NY         11949401         WEITZ & LUXENBERG, PC
BARRETT              CAROLE                NY         12523800         WEITZ & LUXENBERG, PC                                BARTON               FRANK H               NY         01111220         WEITZ & LUXENBERG, PC
BARRETT              GILBERT J             NY         12523800         WEITZ & LUXENBERG, PC                                BARTON               JOHN F                NY         12072003         WEITZ & LUXENBERG, PC
BARRETT              PAUL F                NY         11026802         WEITZ & LUXENBERG, PC                                BARTON               MARY                  NY         12072003         WEITZ & LUXENBERG, PC
BARRETT              RACHEL                NY         10715000         WEITZ & LUXENBERG, PC                                BARTON               MICHAEL T             NY         10835600         WEITZ & LUXENBERG, PC
BARRIGAR             BRIAN KEITH           NY         02105713         WEITZ & LUXENBERG, PC                                BARTON               PATSY                 NY         10835600         WEITZ & LUXENBERG, PC
BARRIGAR             BRUCE EDWARD          NY         02105713         WEITZ & LUXENBERG, PC                                BARTON               VIOLET S              NY         11949401         WEITZ & LUXENBERG, PC
BARRON               LARRY WAYNE           NY         CV016792         WEITZ & LUXENBERG, PC                                BARTON               VIOLET S              NY         01111220         WEITZ & LUXENBERG, PC
BARROW               JIMMIE RAY            NY         CV003590         WEITZ & LUXENBERG, PC                                BARTOSZ              IRENE LORETTA         NY         11026902         WEITZ & LUXENBERG, PC
BARROW               PIYAHPUN              NY         CV003590         WEITZ & LUXENBERG, PC                                BARTOSZ              THADDIUS              NY         11026902         WEITZ & LUXENBERG, PC
BARRY                DORIS                 NY         12039601         WEITZ & LUXENBERG, PC                                BARTSCH              BEVERLEY              NY         12523900         WEITZ & LUXENBERG, PC
BARRY                JAMES J               NY         10610399         WEITZ & LUXENBERG, PC                                BARTSCH              ROBERT H              NY         12523900         WEITZ & LUXENBERG, PC
BARRY                KEVIN P               NY         12039601         WEITZ & LUXENBERG, PC                                BARTSCH              THOMAS                NY         12038901         WEITZ & LUXENBERG, PC
BARRY                LARRY                 NY         01111219         WEITZ & LUXENBERG, PC                                BARTUS               MARY                  NY         12423002         WEITZ & LUXENBERG, PC
BARRY                VINCENT P             NY         99106104         WEITZ & LUXENBERG, PC                                BARTZ                HENRY                 NY         10670802         WEITZ & LUXENBERG, PC
BARRY                WILLIAM               NY         10740002         WEITZ & LUXENBERG, PC                                BARTZ                HOWARD J              NY         10740502         WEITZ & LUXENBERG, PC
BARSELL              WILLIAM               NY         01CIV7362        WEITZ & LUXENBERG, PC                                BARTZ                JANE                  NY         10670802         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 861
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 196 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BARTZ                ROSANNA               NY         10740502         WEITZ & LUXENBERG, PC                                BATTAGLIA            JAMES A               NY         10611099         WEITZ & LUXENBERG, PC
BARWICH              KARL H                NY         01111219         WEITZ & LUXENBERG, PC                                BATTAGLIA            LOUIS                 NY         12366902         WEITZ & LUXENBERG, PC
BASEL                ANGELA                NY         11774298         WEITZ & LUXENBERG, PC                                BATTAGLIA            MARY JO               NY         8082962018       WEITZ & LUXENBERG, PC
BASEL                LAWRENCE P            NY         11774298         WEITZ & LUXENBERG, PC                                BATTAGLIA            NICOLINA              NY         10611099         WEITZ & LUXENBERG, PC
BASHARK              CAROL                 NY         10610799         WEITZ & LUXENBERG, PC                                BATTAGLINA           CHRISTINE             NY         10382000         WEITZ & LUXENBERG, PC
BASHARK              PETER WILLIAM         NY         10610799         WEITZ & LUXENBERG, PC                                BATTAGLINA           JOSEPH WILLIAM        NY         10382000         WEITZ & LUXENBERG, PC
BASILE               ANTHONY J             NY         11058200         WEITZ & LUXENBERG, PC                                BATTIPAGLIA          FRANK T               NY         11303699         WEITZ & LUXENBERG, PC
BASILE               ANTHONY J             NY         10835600         WEITZ & LUXENBERG, PC                                BATTIPAGLIA          MARY                  NY         11303699         WEITZ & LUXENBERG, PC
BASILE               ANTOINETTE            NY         12039701         WEITZ & LUXENBERG, PC                                BATTISTA             ANNA                  NY         11741700         WEITZ & LUXENBERG, PC
BASILE               ELLEN                 NY         11058200         WEITZ & LUXENBERG, PC                                BATTISTA             JOHN                  NY         11058100         WEITZ & LUXENBERG, PC
BASILE               ELLEN                 NY         10835600         WEITZ & LUXENBERG, PC                                BATTISTA             JOHN                  NY         10835600         WEITZ & LUXENBERG, PC
BASILE               FRANK J               NY         12039701         WEITZ & LUXENBERG, PC                                BATTISTA             SAMUEL J              NY         11741700         WEITZ & LUXENBERG, PC
BASILE               JUDITH                NY         98117743         WEITZ & LUXENBERG, PC                                BATTS                BILLY WAYNE           NY         01CIV3910        WEITZ & LUXENBERG, PC
BASILE               NANCY                 NY         11949501         WEITZ & LUXENBERG, PC                                BATTS                CORRINE               NY         11123101         WEITZ & LUXENBERG, PC
BASILE               NANCY                 NY         01111220         WEITZ & LUXENBERG, PC                                BATTS                CORRINE               NY         12047201         WEITZ & LUXENBERG, PC
BASILE               ROBERT J              NY         98117743         WEITZ & LUXENBERG, PC                                BATTS                FRANK                 NY         11123101         WEITZ & LUXENBERG, PC
BASILE               SEBASTIANO            NY         11949501         WEITZ & LUXENBERG, PC                                BATTS                FRANK                 NY         12047201         WEITZ & LUXENBERG, PC
BASILE               SEBASTIANO            NY         01111220         WEITZ & LUXENBERG, PC                                BATTS                RITA                  NY         01CIV3895        WEITZ & LUXENBERG, PC
BASILIO              ALFRED J              NY         11304199         WEITZ & LUXENBERG, PC                                BATTS                WINIFRED N            NY         01CIV3895        WEITZ & LUXENBERG, PC
BASKERVILLE          EDWARD B              NY         10381600         WEITZ & LUXENBERG, PC                                BATZINGER            DONNA                 NY         110374           WEITZ & LUXENBERG, PC
BASOVSKY             ANTOINETTE M          NY         10381700         WEITZ & LUXENBERG, PC                                BATZINGER            PAUL F                NY         110374           WEITZ & LUXENBERG, PC
BASOVSKY             ROBERT R              NY         10381700         WEITZ & LUXENBERG, PC                                BAUDANZA             RONALD                NY         01111227         WEITZ & LUXENBERG, PC
BASS                 AUDRA                 NY         CV024790         WEITZ & LUXENBERG, PC                                BAUER                ANTOINETTE            NY         11353106         WEITZ & LUXENBERG, PC
BASS                 CAROL ANN             NY         11843303         WEITZ & LUXENBERG, PC                                BAUER                DAVID B               NY         E20188008947     WEITZ & LUXENBERG, PC
BASS                 EDWARD B              NY         10680602         WEITZ & LUXENBERG, PC                                BAUER                EILEEN                NY         8137382016       WEITZ & LUXENBERG, PC
BASS                 GEORGE B              NY         11843303         WEITZ & LUXENBERG, PC                                BAUER                LUDWIG                NY         10611199         WEITZ & LUXENBERG, PC
BASS                 MURIEL M              NY         10680602         WEITZ & LUXENBERG, PC                                BAUER                MARIE                 NY         11303599         WEITZ & LUXENBERG, PC
BASS                 ROY B.                NY         CV024790         WEITZ & LUXENBERG, PC                                BAUER                NORMAN C              NY         E20188008947     WEITZ & LUXENBERG, PC
BASSANI              JOSEPH                NY         10381800         WEITZ & LUXENBERG, PC                                BAUER                RICHARD C             NY         8137382016       WEITZ & LUXENBERG, PC
BASSANI              SANTA                 NY         10381800         WEITZ & LUXENBERG, PC                                BAUER                ROBERT J              NY         11303599         WEITZ & LUXENBERG, PC
BASSHAM              ALVIN R               NY         1903382012       WEITZ & LUXENBERG, PC                                BAUER                WALTER H              NY         11353106         WEITZ & LUXENBERG, PC
BASSHAM              CAROLYN               NY         1903382012       WEITZ & LUXENBERG, PC                                BAUER-RIVERA         KATHRYN L             NY         12039001         WEITZ & LUXENBERG, PC
BASSI                JOAN                  NY         12043301         WEITZ & LUXENBERG, PC                                BAUER-RIVERA         MIGUEL                NY         12039001         WEITZ & LUXENBERG, PC
BASSI                JOHN A                NY         12043301         WEITZ & LUXENBERG, PC                                BAUGHN               BARBARA               NY         10680802         WEITZ & LUXENBERG, PC
BASSIER              COLLIN N              NY         1900882019       WEITZ & LUXENBERG, PC                                BAUGHN               BARBARA               NY         11061202         WEITZ & LUXENBERG, PC
BASSIER              GEN                   NY         1900882019       WEITZ & LUXENBERG, PC                                BAUGHN               CHRISTINE L           NY         10388800         WEITZ & LUXENBERG, PC
BASTIAN              EDWIN J               NY         11304499         WEITZ & LUXENBERG, PC                                BAUGHN               ERNEST RICHARD        NY         10388800         WEITZ & LUXENBERG, PC
BASTIAN              ELIZABETH             NY         11304499         WEITZ & LUXENBERG, PC                                BAUGHN               JOHN K                NY         10680802         WEITZ & LUXENBERG, PC
BASTIAN              JANET                 NY         10381900         WEITZ & LUXENBERG, PC                                BAUGHN               JOHN K                NY         11061202         WEITZ & LUXENBERG, PC
BASTIAN              KENNETH H             NY         10381900         WEITZ & LUXENBERG, PC                                BAUGHN               MARGARET A            NY         10388800         WEITZ & LUXENBERG, PC
BASTINE              JOHN J                NY         02120709         WEITZ & LUXENBERG, PC                                BAUGHN               ROBERT F              NY         10680802         WEITZ & LUXENBERG, PC
BASTINE              MARY JEAN             NY         02120709         WEITZ & LUXENBERG, PC                                BAUGHN               ROBERT F              NY         11061202         WEITZ & LUXENBERG, PC
BASULTO              CARLOTA V             NY         12524000         WEITZ & LUXENBERG, PC                                BAUGHN SULLIVAN      MILDRED E             NY         10388800         WEITZ & LUXENBERG, PC
BASULTO              GEORGE                NY         12524000         WEITZ & LUXENBERG, PC                                BAUM                 GEORGIANA H           NY         01111234         WEITZ & LUXENBERG, PC
BATCHELOR            DORETHA               NY         10403600         WEITZ & LUXENBERG, PC                                BAUM                 GEORGIANA H           NY         11924601         WEITZ & LUXENBERG, PC
BATCHELOR            FRED                  NY         10740002         WEITZ & LUXENBERG, PC                                BAUM                 INGE HILDA            NY         1900362016       WEITZ & LUXENBERG, PC
BATCHELOR            LEE                   NY         10403600         WEITZ & LUXENBERG, PC                                BAUM                 JOHN J                NY         01111234         WEITZ & LUXENBERG, PC
BATCHELOR            LINDA                 NY         10740002         WEITZ & LUXENBERG, PC                                BAUM                 JOHN J                NY         11924601         WEITZ & LUXENBERG, PC
BATEMAN              AL                    NY         11304399         WEITZ & LUXENBERG, PC                                BAUM                 RUDOLF A              NY         1900362016       WEITZ & LUXENBERG, PC
BATEMAN              ALAN K                NY         01111221         WEITZ & LUXENBERG, PC                                BAUMAN               DANIEL                NY         02105716         WEITZ & LUXENBERG, PC
BATEMAN              ELIZABETH             NY         11303799         WEITZ & LUXENBERG, PC                                BAUMAN               DANIEL                NY         11169502         WEITZ & LUXENBERG, PC
BATEMAN              HELEN                 NY         11304399         WEITZ & LUXENBERG, PC                                BAUMAN               FRANKLIN E            NY         12363102         WEITZ & LUXENBERG, PC
BATEMAN              JOAN V                NY         01111221         WEITZ & LUXENBERG, PC                                BAUMAN               JOHN H                NY         02105716         WEITZ & LUXENBERG, PC
BATEMAN              LEON                  NY         11303799         WEITZ & LUXENBERG, PC                                BAUMAN               JOHN H                NY         11169502         WEITZ & LUXENBERG, PC
BATER                MARYANN               NY         12579799         WEITZ & LUXENBERG, PC                                BAUMAN               JOHN S                NY         12363102         WEITZ & LUXENBERG, PC
BATER                ROBERT B              NY         12579799         WEITZ & LUXENBERG, PC                                BAUMAN               BERNICE               NY         12363102         WEITZ & LUXENBERG, PC
BATES                DAVID G               NY         10387000         WEITZ & LUXENBERG, PC                                BAUMES               ERIC G                NY         10386600         WEITZ & LUXENBERG, PC
BATES                DAVID G               NY         99125797         WEITZ & LUXENBERG, PC                                BAUMGARTNER          PATTY SUE             NY         CV016696         WEITZ & LUXENBERG, PC
BATES                EMILY                 NY         12788802         WEITZ & LUXENBERG, PC                                BAUMLER              JOHN JOSEPH           NY         12668502         WEITZ & LUXENBERG, PC
BATES                KATHY                 NY         10610899         WEITZ & LUXENBERG, PC                                BAXLEY               CLINTON L             NY         CV015135         WEITZ & LUXENBERG, PC
BATES                MICHAEL               NY         10610899         WEITZ & LUXENBERG, PC                                BAXLEY               DARCEY JO             NY         CV015135         WEITZ & LUXENBERG, PC
BATES                TIMOTHY               NY         10610899         WEITZ & LUXENBERG, PC                                BAXLEY               MARY ARLINE           NY         CV015135         WEITZ & LUXENBERG, PC
BATES                WILLIAM D             NY         12788802         WEITZ & LUXENBERG, PC                                BAXTER               JOSEPH P              NY         10611299         WEITZ & LUXENBERG, PC
BATISTA              ALBERT                NY         10610999         WEITZ & LUXENBERG, PC                                BAXTER               LARRY J               NY         02106692         WEITZ & LUXENBERG, PC
BATNICK              LESLIE                NY         1901842019       WEITZ & LUXENBERG, PC                                BAXTER               MAUREEN               NY         10611299         WEITZ & LUXENBERG, PC
BATNICK              LOIS                  NY         1901842019       WEITZ & LUXENBERG, PC                                BAXTER               PATSY J               NY         02106692         WEITZ & LUXENBERG, PC
BATT                 EUGENE J              NY         10386900         WEITZ & LUXENBERG, PC                                BAYER                RICHARD               NY         11415303         WEITZ & LUXENBERG, PC
BATT                 MARGARET              NY         10386900         WEITZ & LUXENBERG, PC                                BAYER                WILMA                 NY         11415303         WEITZ & LUXENBERG, PC
BATT                 MARION ANN            NY         CV016365         WEITZ & LUXENBERG, PC                                BAYNE                BECKY                 NY         10722102         WEITZ & LUXENBERG, PC
BATTAGLIA            DEBRA                 NY         11625801         WEITZ & LUXENBERG, PC                                BAYNE                BECKY                 NY         11315202         WEITZ & LUXENBERG, PC
BATTAGLIA            ELEANOR               NY         12366902         WEITZ & LUXENBERG, PC                                BAYNE                JAMES E               NY         10722102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 862
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 197 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BAYNE                JAMES E               NY         11315202         WEITZ & LUXENBERG, PC                                BECKSTED             HERBERT               NY         10696302         WEITZ & LUXENBERG, PC
BAZEMORE             ERNESTINE             NY         10571402         WEITZ & LUXENBERG, PC                                BECKSTED             KARL H                NY         10670802         WEITZ & LUXENBERG, PC
BAZEMORE             LEROY                 NY         10571402         WEITZ & LUXENBERG, PC                                BECKWITH             MYRNA                 NY         12524300         WEITZ & LUXENBERG, PC
BEACH                DONALD                NY         10669102         WEITZ & LUXENBERG, PC                                BECKWITH             WILLIAM               NY         12524300         WEITZ & LUXENBERG, PC
BEACH                RUTH                  NY         10669102         WEITZ & LUXENBERG, PC                                BECOATS              JOHN W                NY         11334302         WEITZ & LUXENBERG, PC
BEACHUM              ERMA                  NY         11058000         WEITZ & LUXENBERG, PC                                BECOATS              JOHN W                NY         10740202         WEITZ & LUXENBERG, PC
BEACHUM              ERMA                  NY         10835600         WEITZ & LUXENBERG, PC                                BEDELL               FRANCIS               NY         10133003         WEITZ & LUXENBERG, PC
BEACHUM              JAMES H               NY         11058000         WEITZ & LUXENBERG, PC                                BEDNAREK             FRANCES V             NY         11311405         WEITZ & LUXENBERG, PC
BEACHUM              JAMES H               NY         10835600         WEITZ & LUXENBERG, PC                                BEDNAREK             ZENON R               NY         11311405         WEITZ & LUXENBERG, PC
BEADLE               DIANE                 NY         11500998         WEITZ & LUXENBERG, PC                                BEDOTTO              JEAN M                NY         11026902         WEITZ & LUXENBERG, PC
BEADLE               JOSEPH                NY         11500998         WEITZ & LUXENBERG, PC                                BEDOTTO              LOUIS J               NY         11026902         WEITZ & LUXENBERG, PC
BEAGEL               KATHY F               NY         10758001         WEITZ & LUXENBERG, PC                                BEEBE                BEATRICE              NY         10740402         WEITZ & LUXENBERG, PC
BEALIN               ANDREW                NY         11500898         WEITZ & LUXENBERG, PC                                BEEBE                BEATRICE              NY         11432702         WEITZ & LUXENBERG, PC
BEALIN               ARLENE                NY         11500898         WEITZ & LUXENBERG, PC                                BEEBE                FLOYD                 NY         12524400         WEITZ & LUXENBERG, PC
BEAM                 HARRY D               NY         11303499         WEITZ & LUXENBERG, PC                                BEEBE                MARIE                 NY         12524400         WEITZ & LUXENBERG, PC
BEAM                 MARY E                NY         11303499         WEITZ & LUXENBERG, PC                                BEEBE                ROGER L               NY         10740402         WEITZ & LUXENBERG, PC
BEARD                BOBBY                 NY         CV015421         WEITZ & LUXENBERG, PC                                BEEBE                ROGER L               NY         11432702         WEITZ & LUXENBERG, PC
BEARD                DONALD                NY         CV016400         WEITZ & LUXENBERG, PC                                BEECHER              ALICE                 NY         10382400         WEITZ & LUXENBERG, PC
BEARD                EUGENE GUY            NY         10740002         WEITZ & LUXENBERG, PC                                BEECHER              JOHN R                NY         10382400         WEITZ & LUXENBERG, PC
BEARD                EUGENE GUY            NY         11408202         WEITZ & LUXENBERG, PC                                BEEMAN               JOANNE R              NY         10382500         WEITZ & LUXENBERG, PC
BEARD                KATHLEEN              NY         10740002         WEITZ & LUXENBERG, PC                                BEEMAN               MAURICE               NY         10382500         WEITZ & LUXENBERG, PC
BEARD                KATHLEEN              NY         11408202         WEITZ & LUXENBERG, PC                                BEEMAN               PRISCILLA A           NY         12788802         WEITZ & LUXENBERG, PC
BEARD                LAVON RUTH            NY         CV016400         WEITZ & LUXENBERG, PC                                BEEMAN               RICHARD W             NY         12788802         WEITZ & LUXENBERG, PC
BEARD                ROBERT W              NY         1903782013       WEITZ & LUXENBERG, PC                                BEEN                 BERNICE               NY         12039801         WEITZ & LUXENBERG, PC
BEARD                SHERYL K              NY         CV015421         WEITZ & LUXENBERG, PC                                BEEN                 IVAN E                NY         12039801         WEITZ & LUXENBERG, PC
BEARDEN              MARY A                NY         CV020152         WEITZ & LUXENBERG, PC                                BEERHALTER           BETTY R               PA         130901159        WEITZ & LUXENBERG, PC
BEARDSLEY            ROGER VINCENT         NY         12065199         WEITZ & LUXENBERG, PC                                BEERHALTER           RAYMOND H             PA         130901159        WEITZ & LUXENBERG, PC
BEASLEY              NORRIS E              NY         12668502         WEITZ & LUXENBERG, PC                                BEERS                EILEEN                NY         1900142017       WEITZ & LUXENBERG, PC
BEAUDIN              ALICE                 NY         11057900         WEITZ & LUXENBERG, PC                                BEERS                WALTER J              NY         1900142017       WEITZ & LUXENBERG, PC
BEAUDIN              ALICE                 NY         10835600         WEITZ & LUXENBERG, PC                                BEGIN                FERNAN                NY         103863           WEITZ & LUXENBERG, PC
BEAUDIN              WILLIAM W             NY         11057900         WEITZ & LUXENBERG, PC                                BEGIN                LAURENT               NY         103863           WEITZ & LUXENBERG, PC
BEAUDIN              WILLIAM W             NY         10835600         WEITZ & LUXENBERG, PC                                BEGLANE              THOMAS                NY         11696204         WEITZ & LUXENBERG, PC
BEAUDROT             LOUIS B               NY         12043001         WEITZ & LUXENBERG, PC                                BEHAN                CATHERINE             NY         12213801         WEITZ & LUXENBERG, PC
BEAUDROT             MARTHA                NY         12043001         WEITZ & LUXENBERG, PC                                BEHAN                CATHERINE             NY         10276902         WEITZ & LUXENBERG, PC
BEAUHARNOIS          JOSEE                 NY         02113280         WEITZ & LUXENBERG, PC                                BEHAN                JOHN E                NY         12213801         WEITZ & LUXENBERG, PC
BEAUHARNOIS          MARTIN W              NY         02113280         WEITZ & LUXENBERG, PC                                BEHAN                JOHN E                NY         10276902         WEITZ & LUXENBERG, PC
BEAULIEU             THOMAS FRANKLIN       NY         10538802         WEITZ & LUXENBERG, PC                                BEHAN                MARTIN                NY         11008903         WEITZ & LUXENBERG, PC
BEAVERS              ALBIN G               NY         20018976         WEITZ & LUXENBERG, PC                                BEHN                 JOHN W                NY         19044510         WEITZ & LUXENBERG, PC
BEAVERS              LINDA                 NY         20018976         WEITZ & LUXENBERG, PC                                BEILIS               BORIS                 NY         01111227         WEITZ & LUXENBERG, PC
BEBO                 MARIE JOHN            NY         02106690         WEITZ & LUXENBERG, PC                                BEINERT              HENRY E               NY         19020609         WEITZ & LUXENBERG, PC
BEBO                 RAWLAND               NY         02106690         WEITZ & LUXENBERG, PC                                BEINERT              LINDA                 NY         19020609         WEITZ & LUXENBERG, PC
BEBOUT               GEORGE L              NY         10587102         WEITZ & LUXENBERG, PC                                BEITER               LOIS M                NY         12668202         WEITZ & LUXENBERG, PC
BECCARI              ANN                   NY         10382100         WEITZ & LUXENBERG, PC                                BEITZ                ELAINE                NY         10382600         WEITZ & LUXENBERG, PC
BECCARI              JOHN                  NY         10382100         WEITZ & LUXENBERG, PC                                BEITZ                ROBERT                NY         10382600         WEITZ & LUXENBERG, PC
BECHER               GERTRUDE              NY         10835600         WEITZ & LUXENBERG, PC                                BEKKERING            HILBRAND              NY         12524500         WEITZ & LUXENBERG, PC
BECHER               HAROLD F              NY         10835600         WEITZ & LUXENBERG, PC                                BEKKERING            JANET                 NY         12524500         WEITZ & LUXENBERG, PC
BECK                 BETTY                 NY         12524200         WEITZ & LUXENBERG, PC                                BELANGER             BERNARD               NY         12524600         WEITZ & LUXENBERG, PC
BECK                 CHARLES               NY         12043101         WEITZ & LUXENBERG, PC                                BELANGER             DIANE R               NY         10380700         WEITZ & LUXENBERG, PC
BECK                 CHARLOTTE             NY         CV016440         WEITZ & LUXENBERG, PC                                BELANGER             MAURICE J             NY         10380700         WEITZ & LUXENBERG, PC
BECK                 LUCILLE M             NY         12043101         WEITZ & LUXENBERG, PC                                BELANGER             RITA                  NY         10380700         WEITZ & LUXENBERG, PC
BECK                 MERL J                NY         12524200         WEITZ & LUXENBERG, PC                                BELANGER             SARA                  NY         12524600         WEITZ & LUXENBERG, PC
BECK                 RONALD S              NY         CV016440         WEITZ & LUXENBERG, PC                                BELANICH             DONNA M               NY         01108403         WEITZ & LUXENBERG, PC
BECKER               BERNICE               NY         01111219         WEITZ & LUXENBERG, PC                                BELANICH             JOHN                  NY         01108403         WEITZ & LUXENBERG, PC
BECKER               BURTON                NY         01111218         WEITZ & LUXENBERG, PC                                BELANICH             MARCO                 NY         12524700         WEITZ & LUXENBERG, PC
BECKER               CAROL                 NY         10386400         WEITZ & LUXENBERG, PC                                BELANICH             VALERIA               NY         12524700         WEITZ & LUXENBERG, PC
BECKER               DOLORES               NY         01111218         WEITZ & LUXENBERG, PC                                BELCER               GLORIA                NY         11059700         WEITZ & LUXENBERG, PC
BECKER               JEAN M                NY         10701504         WEITZ & LUXENBERG, PC                                BELCER               GLORIA                NY         10835600         WEITZ & LUXENBERG, PC
BECKER               JOHN                  NY         01111219         WEITZ & LUXENBERG, PC                                BELCER               RAYMOND               NY         11059700         WEITZ & LUXENBERG, PC
BECKER               JOHN D                NY         10386400         WEITZ & LUXENBERG, PC                                BELCER               RAYMOND               NY         10835600         WEITZ & LUXENBERG, PC
BECKER               JOSEPH B              NY         10701504         WEITZ & LUXENBERG, PC                                BELCH                JOANNE                NY         10380800         WEITZ & LUXENBERG, PC
BECKER               LESTER                NY         10382200         WEITZ & LUXENBERG, PC                                BELCH                JOHN F                NY         10380800         WEITZ & LUXENBERG, PC
BECKER               LESTER W              NY         02120709         WEITZ & LUXENBERG, PC                                BELCHER              KAREN B               NY         10030201         WEITZ & LUXENBERG, PC
BECKER               LILLIAN               NY         02120709         WEITZ & LUXENBERG, PC                                BELDEN               DORIS                 NY         10680702         WEITZ & LUXENBERG, PC
BECKERMAN            HERBERT               NY         11302999         WEITZ & LUXENBERG, PC                                BELDEN               MARY                  NY         10680702         WEITZ & LUXENBERG, PC
BECKERMAN            MILDRED               NY         11302999         WEITZ & LUXENBERG, PC                                BELDEN               MILFRED C             NY         10680702         WEITZ & LUXENBERG, PC
BECKETT              JOHN J                NY         02121082         WEITZ & LUXENBERG, PC                                BELDEN               RONALD L              NY         10680702         WEITZ & LUXENBERG, PC
BECKETT              JOHN J                NY         12712902         WEITZ & LUXENBERG, PC                                BELESIS              SOFIA                 NY         11583901         WEITZ & LUXENBERG, PC
BECKETT              LAVERNE S             NY         02121082         WEITZ & LUXENBERG, PC                                BELESIS              SOFIA                 NY         01111222         WEITZ & LUXENBERG, PC
BECKETT              LAVERNE S             NY         12712902         WEITZ & LUXENBERG, PC                                BELESIS              THEODORE              NY         11583901         WEITZ & LUXENBERG, PC
BECKMAN              EURICK                NY         10382300         WEITZ & LUXENBERG, PC                                BELESIS              THERODORE             NY         01111222         WEITZ & LUXENBERG, PC
BECKSTED             HAROLD F              NY         11741800         WEITZ & LUXENBERG, PC                                BELFIELD             HAROLD F              NY         02105715         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 863
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 198 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BELGARDE             SHIRLEY G             NY         10587602         WEITZ & LUXENBERG, PC                                BELULOVICH           CELESTINA             NY         01111220         WEITZ & LUXENBERG, PC
BELIC                TOMICA                NY         11027002         WEITZ & LUXENBERG, PC                                BELULOVICH           EMILIA                NY         10214703         WEITZ & LUXENBERG, PC
BELIC                ZDENKO                NY         11027002         WEITZ & LUXENBERG, PC                                BELULOVICH           GIUSEPPE              NY         10214703         WEITZ & LUXENBERG, PC
BELILE               ELLEN                 NY         10559102         WEITZ & LUXENBERG, PC                                BELULOVICH           ITALO                 NY         11949601         WEITZ & LUXENBERG, PC
BELILE               LAWRENCE G            NY         10559102         WEITZ & LUXENBERG, PC                                BELULOVICH           ITALO                 NY         01111220         WEITZ & LUXENBERG, PC
BELILE               WARREN J              NY         10645702         WEITZ & LUXENBERG, PC                                BELUZZI              FAITH                 NY         12524900         WEITZ & LUXENBERG, PC
BELKNAP              ELIZABETH F           NY         10680602         WEITZ & LUXENBERG, PC                                BELUZZI              VINCENT               NY         12524900         WEITZ & LUXENBERG, PC
BELKNAP              MURRAY E              NY         10680602         WEITZ & LUXENBERG, PC                                BELYNA               JOHN                  NY         110150           WEITZ & LUXENBERG, PC
BELL                 CHERYL                NY         10381000         WEITZ & LUXENBERG, PC                                BELYNA               JOHN                  NY         12448902         WEITZ & LUXENBERG, PC
BELL                 DAISY                 NY         12799702         WEITZ & LUXENBERG, PC                                BELYNA               VICKI                 NY         110150           WEITZ & LUXENBERG, PC
BELL                 EARL                  NY         01CIV3900        WEITZ & LUXENBERG, PC                                BELYNA               VICKI                 NY         12448902         WEITZ & LUXENBERG, PC
BELL                 GEORGE                NY         11059600         WEITZ & LUXENBERG, PC                                BELZAK               JANE                  NY         11304699         WEITZ & LUXENBERG, PC
BELL                 GEORGE                NY         10835600         WEITZ & LUXENBERG, PC                                BELZAK               JOHN                  NY         11304699         WEITZ & LUXENBERG, PC
BELL                 JOHNNY                NY         12799702         WEITZ & LUXENBERG, PC                                BEMIS                BRUCE O               NY         11026702         WEITZ & LUXENBERG, PC
BELL                 JUANITA               NY         01CIV3900        WEITZ & LUXENBERG, PC                                BEMIS                HELEN                 NY         11026702         WEITZ & LUXENBERG, PC
BELL                 LEWIS ARNOLD          NY         02106692         WEITZ & LUXENBERG, PC                                BEN DOV              TAMAR                 NY         12525000         WEITZ & LUXENBERG, PC
BELL                 MARGARET              NY         11059600         WEITZ & LUXENBERG, PC                                BEN DOV              YEHUDAH               NY         12525000         WEITZ & LUXENBERG, PC
BELL                 MARGARET              NY         10835600         WEITZ & LUXENBERG, PC                                BENAQUISTO           LOUIS                 NY         02106579         WEITZ & LUXENBERG, PC
BELL                 MARTIN E              NY         10740002         WEITZ & LUXENBERG, PC                                BENAQUISTO           PATRICIA              NY         02106579         WEITZ & LUXENBERG, PC
BELL                 MARVIN CARL           NY         10381000         WEITZ & LUXENBERG, PC                                BENDER               DON C                 NY         10700302         WEITZ & LUXENBERG, PC
BELL                 MICHAEL RAY           NY         10669102         WEITZ & LUXENBERG, PC                                BENDER               ELIZABETH             NY         10700302         WEITZ & LUXENBERG, PC
BELL                 RAYMOND F             PA         130102837        WEITZ & LUXENBERG, PC                                BENEDETTO            JOSEPH                NY         10134207         WEITZ & LUXENBERG, PC
BELLACH              ELSIE                 NY         19022209         WEITZ & LUXENBERG, PC                                BENEDETTO            LOIS A                NY         11191103         WEITZ & LUXENBERG, PC
BELLACH              WILLIAM L             NY         19022209         WEITZ & LUXENBERG, PC                                BENEDETTO            MARY                  NY         10134207         WEITZ & LUXENBERG, PC
BELLAFF              LESLIE                NY         1901752018       WEITZ & LUXENBERG, PC                                BENEDETTO            PHILIP A              NY         11191103         WEITZ & LUXENBERG, PC
BELLAFF              SUSAN                 NY         1901752018       WEITZ & LUXENBERG, PC                                BENEDICT             CANDACE               NY         10485603         WEITZ & LUXENBERG, PC
BELLAI               JOAN                  NY         11327602         WEITZ & LUXENBERG, PC                                BENEDICT             DANIEL                NY         98117725         WEITZ & LUXENBERG, PC
BELLAI               JOAN                  NY         12110102         WEITZ & LUXENBERG, PC                                BENEDICT             KATHRYN A             NY         98117725         WEITZ & LUXENBERG, PC
BELLAI               JOHN                  NY         11327602         WEITZ & LUXENBERG, PC                                BENEDICT             KEITH F               NY         10485603         WEITZ & LUXENBERG, PC
BELLAI               JOHN                  NY         12110102         WEITZ & LUXENBERG, PC                                BENEDICT             NELSON                NY         10696302         WEITZ & LUXENBERG, PC
BELLANTONIO          JOHN                  NY         12039701         WEITZ & LUXENBERG, PC                                BENEDICT             SHARLEEN              NY         10696302         WEITZ & LUXENBERG, PC
BELLARD              DARLENE               NY         19000910         WEITZ & LUXENBERG, PC                                BENENATI             LOUISE                NY         1903562013       WEITZ & LUXENBERG, PC
BELLE                ALOMA J               NY         10740002         WEITZ & LUXENBERG, PC                                BENENATI             VINCENT               NY         1903562013       WEITZ & LUXENBERG, PC
BELLER               JACK A                NY         12043001         WEITZ & LUXENBERG, PC                                BENES                MARY                  NY         12039401         WEITZ & LUXENBERG, PC
BELLER               JACK A                NY         10016702         WEITZ & LUXENBERG, PC                                BENES                NICHOLAS L            NY         12668602         WEITZ & LUXENBERG, PC
BELLER               MARION                NY         12043001         WEITZ & LUXENBERG, PC                                BENES                WALTER G              NY         12039401         WEITZ & LUXENBERG, PC
BELLER               MARION                NY         10016702         WEITZ & LUXENBERG, PC                                BENESH               DELORES M             NY         10680802         WEITZ & LUXENBERG, PC
BELLES               HAROLD E              NY         12057603         WEITZ & LUXENBERG, PC                                BENESH               RICHARD E             NY         10680802         WEITZ & LUXENBERG, PC
BELLES               MARILYN L             NY         12057603         WEITZ & LUXENBERG, PC                                BENEVILLE            MICHAEL FRANCIS       NY         11502398         WEITZ & LUXENBERG, PC
BELLEZZA             ROSE                  NY         1903292017       WEITZ & LUXENBERG, PC                                BENEVILLE            PATRICIA A            NY         11502398         WEITZ & LUXENBERG, PC
BELLICO              JOHN                  NY         11747704         WEITZ & LUXENBERG, PC                                BENGERT              HAROLD                NY         12525100         WEITZ & LUXENBERG, PC
BELLICO              MARY ANN              NY         11747704         WEITZ & LUXENBERG, PC                                BENGERT              LOTTIE                NY         12525100         WEITZ & LUXENBERG, PC
BELLICOSE            FRANK                 NY         1900802016       WEITZ & LUXENBERG, PC                                BENHABIB             MOISES                NY         01111235         WEITZ & LUXENBERG, PC
BELLICOSE            MARIO                 NY         1900802016       WEITZ & LUXENBERG, PC                                BENHABIB             NILDA E               NY         01111235         WEITZ & LUXENBERG, PC
BELLINI              ALDO                  NY         10870901         WEITZ & LUXENBERG, PC                                BENINCASA            CHARLES P             NY         10090403         WEITZ & LUXENBERG, PC
BELLINO              ANTOINETTE            NY         1902632012       WEITZ & LUXENBERG, PC                                BENINCASA            CHARLES P             NY         10624703         WEITZ & LUXENBERG, PC
BELLINO              SALVATORE L           NY         1902632012       WEITZ & LUXENBERG, PC                                BENJAMIN             LAWRENCE W            NY         46564            WEITZ & LUXENBERG, PC
BELLISARIO           ANGELO                NY         11302599         WEITZ & LUXENBERG, PC                                BENJAMIN             LINDA                 NY         46564            WEITZ & LUXENBERG, PC
BELLISARIO           THERESA               NY         11302599         WEITZ & LUXENBERG, PC                                BENJAMIN             ROBERT                NY         11691798         WEITZ & LUXENBERG, PC
BELLO                DIANNA BERRINO        NY         12110001         WEITZ & LUXENBERG, PC                                BENN                 CAROL                 NY         10870901         WEITZ & LUXENBERG, PC
BELLO                FERNANDO J            NY         12110001         WEITZ & LUXENBERG, PC                                BENN                 WILLIAM L             NY         10870901         WEITZ & LUXENBERG, PC
BELLOCCHIO           MARILYN               NY         11123201         WEITZ & LUXENBERG, PC                                BENNE                ARIE                  NY         11158903         WEITZ & LUXENBERG, PC
BELLOCCHIO           RICHARD A             NY         11123201         WEITZ & LUXENBERG, PC                                BENNE                ELEANOR               NY         11505498         WEITZ & LUXENBERG, PC
BELLOMO              CONCETTA              NY         11304799         WEITZ & LUXENBERG, PC                                BENNE                GILBERT               NY         11505498         WEITZ & LUXENBERG, PC
BELLOMO              JOSEPH S              NY         11304799         WEITZ & LUXENBERG, PC                                BENNE                MARLENE               NY         11158903         WEITZ & LUXENBERG, PC
BELLOMO              MARIE                 NY         12300501         WEITZ & LUXENBERG, PC                                BENNETT              A. J.                 NY         CV001547         WEITZ & LUXENBERG, PC
BELLOMO              SALVATORE             NY         12300501         WEITZ & LUXENBERG, PC                                BENNETT              ANDREW                NY         12525200         WEITZ & LUXENBERG, PC
BELLULOVICH          EMILIA                NY         12788702         WEITZ & LUXENBERG, PC                                BENNETT              BRIAN J               NY         11304599         WEITZ & LUXENBERG, PC
BELLULOVICH          GIUSEPPE              NY         12788702         WEITZ & LUXENBERG, PC                                BENNETT              BRYAN                 NY         10381300         WEITZ & LUXENBERG, PC
BELLUS               CATHERINE             NY         10634499         WEITZ & LUXENBERG, PC                                BENNETT              CHARLES               NY         10722202         WEITZ & LUXENBERG, PC
BELLUS               MARIO J               NY         10634499         WEITZ & LUXENBERG, PC                                BENNETT              CLINETTE              NY         10722202         WEITZ & LUXENBERG, PC
BELLUZZI             ALDO                  NY         10073103         WEITZ & LUXENBERG, PC                                BENNETT              JAMES G               NY         01118259         WEITZ & LUXENBERG, PC
BELLUZZI             ROSANN                NY         10073103         WEITZ & LUXENBERG, PC                                BENNETT              JOAN                  NY         12525200         WEITZ & LUXENBERG, PC
BELMONTE             SALVATORE             NY         01111223         WEITZ & LUXENBERG, PC                                BENNETT              KIMBERLY              NY         1900512015       WEITZ & LUXENBERG, PC
BELOSTOCK            ARVIN                 NY         1904602014       WEITZ & LUXENBERG, PC                                BENNETT              LOLA                  NY         10381300         WEITZ & LUXENBERG, PC
BELOUIN              DONALD C              NY         10090305         WEITZ & LUXENBERG, PC                                BENNETT              MARY                  NY         01118259         WEITZ & LUXENBERG, PC
BELOUIN              SHIRLEY               NY         10090305         WEITZ & LUXENBERG, PC                                BENNETT              MAUREEN E             NY         11304599         WEITZ & LUXENBERG, PC
BELTZ                BYRON R               NY         10835600         WEITZ & LUXENBERG, PC                                BENNETT              MICHAEL               NY         10669502         WEITZ & LUXENBERG, PC
BELTZ                MARY                  NY         10835600         WEITZ & LUXENBERG, PC                                BENNETT              MURLIN BROWNING       NY         CV001547         WEITZ & LUXENBERG, PC
BELUCIA              ANGELA                NY         10871100         WEITZ & LUXENBERG, PC                                BENNETT              RICHARD E             NY         11059400         WEITZ & LUXENBERG, PC
BELULOVICH           CELESTINA             NY         11949601         WEITZ & LUXENBERG, PC                                BENNETT              RICHARD E             NY         10835600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 864
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 199 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BENNETT              ROBERTA               NY         10614199         WEITZ & LUXENBERG, PC                                BERGFELDER           LINDA                 NY         1901952019       WEITZ & LUXENBERG, PC
BENNETT              ROBERTA               NY         10669502         WEITZ & LUXENBERG, PC                                BERGFELDER           ROLAND                NY         1901952019       WEITZ & LUXENBERG, PC
BENNETT              ROSEMARY M            NY         10740102         WEITZ & LUXENBERG, PC                                BERGHORN             BERNARD C             NY         11505198         WEITZ & LUXENBERG, PC
BENNETT              SHARON                NY         11059400         WEITZ & LUXENBERG, PC                                BERGHORN             CARL H                NY         11505198         WEITZ & LUXENBERG, PC
BENNETT              SHARON                NY         10835600         WEITZ & LUXENBERG, PC                                BERGHORN             MILDRED               NY         11505198         WEITZ & LUXENBERG, PC
BENNETT              THOMAS                NY         10614199         WEITZ & LUXENBERG, PC                                BERGMAN              ANNA                  NY         11311505         WEITZ & LUXENBERG, PC
BENNETT              TOBY D                NY         1900512015       WEITZ & LUXENBERG, PC                                BERGMAN              EMMANUEL              NY         11311505         WEITZ & LUXENBERG, PC
BENNETT              WALTER                NY         10381300         WEITZ & LUXENBERG, PC                                BERGONZI             ANTHONY               NY         11302299         WEITZ & LUXENBERG, PC
BENNETT              WILLIAM J             NY         11172406         WEITZ & LUXENBERG, PC                                BERGONZI             THERESA               NY         11302299         WEITZ & LUXENBERG, PC
BENNISON             JOHN J                NY         01111222         WEITZ & LUXENBERG, PC                                BERGSOHN             IRVING                NY         19009309         WEITZ & LUXENBERG, PC
BENNS                DOROTHY B             NY         02120709         WEITZ & LUXENBERG, PC                                BERGSTEIN            HELEN                 NY         11741900         WEITZ & LUXENBERG, PC
BENOIT               BETTY                 NY         11318699         WEITZ & LUXENBERG, PC                                BERGSTEIN            MELVYN                NY         11741900         WEITZ & LUXENBERG, PC
BENOIT               GEORGE                NY         11318699         WEITZ & LUXENBERG, PC                                BERGSTEIN            RUBEN                 NY         11741900         WEITZ & LUXENBERG, PC
BENSEN               SIDNEY G              NY         01122139         WEITZ & LUXENBERG, PC                                BERGSTIEN            MELVYN                NY         11741900         WEITZ & LUXENBERG, PC
BENSEN               URSULA W              NY         01122139         WEITZ & LUXENBERG, PC                                BERINGER             ELVIRA                NY         10611499         WEITZ & LUXENBERG, PC
BENSON               BARBARA               NY         10729901         WEITZ & LUXENBERG, PC                                BERINGER             WILLIAM R             NY         10611499         WEITZ & LUXENBERG, PC
BENSON               BARBARA               NY         01107299         WEITZ & LUXENBERG, PC                                BERK                 MARILYN               NY         11624801         WEITZ & LUXENBERG, PC
BENSON               DOROTHY               NY         10385800         WEITZ & LUXENBERG, PC                                BERK                 MARILYN               NY         01111221         WEITZ & LUXENBERG, PC
BENSON               GEORGE E              NY         10729901         WEITZ & LUXENBERG, PC                                BERK                 THOMAS J              NY         11624801         WEITZ & LUXENBERG, PC
BENSON               GEORGE E              NY         01107299         WEITZ & LUXENBERG, PC                                BERK                 THOMAS J              NY         01111221         WEITZ & LUXENBERG, PC
BENSON               STEVE G               NY         10729901         WEITZ & LUXENBERG, PC                                BERKEY               GAIL                  NY         01122139         WEITZ & LUXENBERG, PC
BENSON               STEVE G               NY         01107299         WEITZ & LUXENBERG, PC                                BERKEY               LEWIS M               NY         01122139         WEITZ & LUXENBERG, PC
BENSON               WHARTON WADE          NY         01CIV3910        WEITZ & LUXENBERG, PC                                BERKICH              DIANA                 NY         12173399         WEITZ & LUXENBERG, PC
BENSON               WILLIS                NY         10385800         WEITZ & LUXENBERG, PC                                BERKICH              DONNA                 NY         12173399         WEITZ & LUXENBERG, PC
BENTO                ANTONIO               NY         12693402         WEITZ & LUXENBERG, PC                                BERKICH              STEVE                 NY         12173399         WEITZ & LUXENBERG, PC
BENTO                VICTORIA              NY         12693402         WEITZ & LUXENBERG, PC                                BERLAND              BEVERLY               NY         12039201         WEITZ & LUXENBERG, PC
BENTON               DOTTIE                NY         CV003590         WEITZ & LUXENBERG, PC                                BERLAND              BEVERLY               NY         10410702         WEITZ & LUXENBERG, PC
BENTON               FAYE                  NY         01CIV3922        WEITZ & LUXENBERG, PC                                BERLAND              STEVEN                NY         12039201         WEITZ & LUXENBERG, PC
BENTON               GWENDOLYN             NY         CV003590         WEITZ & LUXENBERG, PC                                BERLAND              STEVEN                NY         10410702         WEITZ & LUXENBERG, PC
BENTON               THEODIS               NY         CV003590         WEITZ & LUXENBERG, PC                                BERLINGER            ARTHUR                NY         01111219         WEITZ & LUXENBERG, PC
BENTON               WAYNE DELO            NY         01CIV3922        WEITZ & LUXENBERG, PC                                BERMEL               FRANK                 NY         11059300         WEITZ & LUXENBERG, PC
BENWARE              GARY                  NY         11505398         WEITZ & LUXENBERG, PC                                BERMEL               FRANK J               NY         11059300         WEITZ & LUXENBERG, PC
BENWARE              JEAN                  NY         11505398         WEITZ & LUXENBERG, PC                                BERMEL               FRANK J               NY         10835600         WEITZ & LUXENBERG, PC
BENZAN               JOHN F                NY         10090403         WEITZ & LUXENBERG, PC                                BERMEL               WILMA                 NY         11059300         WEITZ & LUXENBERG, PC
BENZING              CHRISTIAN F           NY         10444608         WEITZ & LUXENBERG, PC                                BERMEL               WILMA                 NY         10835600         WEITZ & LUXENBERG, PC
BENZING              EVELYN                NY         10444608         WEITZ & LUXENBERG, PC                                BERMUDEZ             MONA ROSE             NY         10385700         WEITZ & LUXENBERG, PC
BENZING              JOSEPH L              NY         10073103         WEITZ & LUXENBERG, PC                                BERMUDEZ             WILLIAM L             NY         10385700         WEITZ & LUXENBERG, PC
BENZING              SUSAN L               NY         10073103         WEITZ & LUXENBERG, PC                                BERNACKI             EDWARD                NY         10722102         WEITZ & LUXENBERG, PC
BERARDI              ANDREA                NY         02107099         WEITZ & LUXENBERG, PC                                BERNACKI             ISABEL                NY         10670402         WEITZ & LUXENBERG, PC
BERARDI              ANDREA                NY         11760802         WEITZ & LUXENBERG, PC                                BERNACKI             WALTER J              NY         10670402         WEITZ & LUXENBERG, PC
BERAUD               JANET                 NY         19013009         WEITZ & LUXENBERG, PC                                BERNARD              ANTOINETTE            NY         10857804         WEITZ & LUXENBERG, PC
BERAUD               JOHN P                NY         19013009         WEITZ & LUXENBERG, PC                                BERNARD              FRANCIS A             NY         10857804         WEITZ & LUXENBERG, PC
BERDAN               WARREN C              NY         11318599         WEITZ & LUXENBERG, PC                                BERNARD              JANE                  NY         10023203         WEITZ & LUXENBERG, PC
BERENGER             CHARLES               NY         01107025         WEITZ & LUXENBERG, PC                                BERNARD              JOSE J                NY         10315800         WEITZ & LUXENBERG, PC
BERENGER             MARGARET              NY         01107025         WEITZ & LUXENBERG, PC                                BERNARD              KENNETH               NY         10669102         WEITZ & LUXENBERG, PC
BERENTSEN            JANET                 NY         12525300         WEITZ & LUXENBERG, PC                                BERNARD              MARCIA M              NY         12521402         WEITZ & LUXENBERG, PC
BERENTSEN            KENNETH               NY         12525300         WEITZ & LUXENBERG, PC                                BERNARD              SARAH                 NY         10315800         WEITZ & LUXENBERG, PC
BERG                 CHARLES J             NY         10381400         WEITZ & LUXENBERG, PC                                BERNARD              THERESA               NY         10669102         WEITZ & LUXENBERG, PC
BERG                 DONAVIN D             NY         CV012182         WEITZ & LUXENBERG, PC                                BERNARD              WILLIAM M             NY         10023203         WEITZ & LUXENBERG, PC
BERG                 HARRIET               NY         10381500         WEITZ & LUXENBERG, PC                                BERNARDI             ANNA                  NY         12525500         WEITZ & LUXENBERG, PC
BERG                 HENRIK                NY         10381500         WEITZ & LUXENBERG, PC                                BERNARDI             DANIEL JOSEPH         NY         10611599         WEITZ & LUXENBERG, PC
BERG                 KENLYNN               NY         CV012182         WEITZ & LUXENBERG, PC                                BERNARDI             IRENE J               NY         10611599         WEITZ & LUXENBERG, PC
BERG                 MARY M                NY         10381400         WEITZ & LUXENBERG, PC                                BERNARDI             SERGIO                NY         12525500         WEITZ & LUXENBERG, PC
BERGEN               EDWARD                NY         12603802         WEITZ & LUXENBERG, PC                                BERNARDO             CLEMENT               NY         10669502         WEITZ & LUXENBERG, PC
BERGEN               VERONICA              NY         12603802         WEITZ & LUXENBERG, PC                                BERNARDO             ELLEN                 NY         10669502         WEITZ & LUXENBERG, PC
BERGENSON            MYRNA                 NY         12307601         WEITZ & LUXENBERG, PC                                BERNASKI             DONALD P              NY         12525600         WEITZ & LUXENBERG, PC
BERGENSON            MYRNA                 NY         01111230         WEITZ & LUXENBERG, PC                                BERNASKI             SHARON                NY         12525600         WEITZ & LUXENBERG, PC
BERGENSON            RICHARD               NY         12307601         WEITZ & LUXENBERG, PC                                BERNER               GERALD P              NY         02120706         WEITZ & LUXENBERG, PC
BERGENSON            RICHARD               NY         01111230         WEITZ & LUXENBERG, PC                                BERNHARD             ELIZABETH MARY        NY         10315700         WEITZ & LUXENBERG, PC
BERGER               GEORGE A              NY         11302499         WEITZ & LUXENBERG, PC                                BERNHARD             ROBERT STEPHEN        NY         10315700         WEITZ & LUXENBERG, PC
BERGER               JANET                 NY         11505298         WEITZ & LUXENBERG, PC                                BERNRITTER           EDWARD H              NY         10611699         WEITZ & LUXENBERG, PC
BERGER               LORRAINE T            NY         1903762018       WEITZ & LUXENBERG, PC                                BERNRITTER           ELIZABETH             NY         10611699         WEITZ & LUXENBERG, PC
BERGER               PHILLIP               NY         11505298         WEITZ & LUXENBERG, PC                                BERNSTEIN            AMY                   NY         01111218         WEITZ & LUXENBERG, PC
BERGER               RICHARD               NY         12525400         WEITZ & LUXENBERG, PC                                BERNSTEIN            EVELYN                NY         10385600         WEITZ & LUXENBERG, PC
BERGER               ROBERT F              NY         10710002         WEITZ & LUXENBERG, PC                                BERNSTEIN            FRED                  NY         01111218         WEITZ & LUXENBERG, PC
BERGER               ROBERT W              NY         11302399         WEITZ & LUXENBERG, PC                                BERNSTEIN            IDA                   NY         11742000         WEITZ & LUXENBERG, PC
BERGER               SHIRLEY               NY         11302399         WEITZ & LUXENBERG, PC                                BERNSTEIN            IRVING                NY         11742000         WEITZ & LUXENBERG, PC
BERGER               STANLEY               NY         1903762018       WEITZ & LUXENBERG, PC                                BERNSTEIN            JOAN                  NY         11303099         WEITZ & LUXENBERG, PC
BERGER               SUSAN                 NY         10710002         WEITZ & LUXENBERG, PC                                BERNSTEIN            MARCIA                NY         11303199         WEITZ & LUXENBERG, PC
BERGER               WALTER                NY         01112407         WEITZ & LUXENBERG, PC                                BERNSTEIN            MAURICE L             NY         11303099         WEITZ & LUXENBERG, PC
BERGER               WINIFRED              NY         11302499         WEITZ & LUXENBERG, PC                                BERNSTEIN            STANLEY               NY         11303199         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 865
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 200 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BERNSTEIN            VICTOR                NY         10385600         WEITZ & LUXENBERG, PC                                BEYER                VICTOR A              NY         11305399         WEITZ & LUXENBERG, PC
BEROTTI              FRED                  NY         12521202         WEITZ & LUXENBERG, PC                                BEYERS               MELVIN                NY         10315000         WEITZ & LUXENBERG, PC
BEROTTI              MARILYN               NY         12521202         WEITZ & LUXENBERG, PC                                BEYERS               MICHAEL J             NY         11305799         WEITZ & LUXENBERG, PC
BERRIAN              PATRICIA ANN          NY         02105715         WEITZ & LUXENBERG, PC                                BEYERS               PHYLLIS               NY         11305799         WEITZ & LUXENBERG, PC
BERRIAN              PATRICIA ANN          NY         11022302         WEITZ & LUXENBERG, PC                                BEYROUTY             GEORGE                NY         1904622014       WEITZ & LUXENBERG, PC
BERRIAN              ROBERT                NY         02105715         WEITZ & LUXENBERG, PC                                BEYROUTY             LAURA                 NY         1904622014       WEITZ & LUXENBERG, PC
BERRIAN              ROBERT                NY         11022302         WEITZ & LUXENBERG, PC                                BEZIO                CAROL                 NY         02106580         WEITZ & LUXENBERG, PC
BERRS                GEORGE W              NY         10658102         WEITZ & LUXENBERG, PC                                BEZIO                GORDON E              NY         10740102         WEITZ & LUXENBERG, PC
BERRY                CHONG                 NY         12525700         WEITZ & LUXENBERG, PC                                BEZIO                GORDON E              NY         11351302         WEITZ & LUXENBERG, PC
BERRY                DANIEL J              NY         12525700         WEITZ & LUXENBERG, PC                                BEZIO                JAMES B               NY         10740102         WEITZ & LUXENBERG, PC
BERRY                GRACE M               NY         02105718         WEITZ & LUXENBERG, PC                                BEZIO                JAMES B               NY         11351302         WEITZ & LUXENBERG, PC
BERRY                GRACE M               NY         11226302         WEITZ & LUXENBERG, PC                                BEZIO                KRISTINE              NY         12525800         WEITZ & LUXENBERG, PC
BERRY                HERBERT N             NY         11306299         WEITZ & LUXENBERG, PC                                BEZIO                ROBERT                NY         12525800         WEITZ & LUXENBERG, PC
BERRY                HONOR H               NY         1900842014       WEITZ & LUXENBERG, PC                                BEZIO                ROBERT G              NY         10740102         WEITZ & LUXENBERG, PC
BERRY                JOHN J                NY         02105718         WEITZ & LUXENBERG, PC                                BEZIO                ROBERT G              NY         11351302         WEITZ & LUXENBERG, PC
BERRY                JOHN J                NY         11226302         WEITZ & LUXENBERG, PC                                BEZIO                WALTER R              NY         02106580         WEITZ & LUXENBERG, PC
BERST                JUDY                  NY         11306399         WEITZ & LUXENBERG, PC                                BIALOBOK             LINDA                 NY         12525900         WEITZ & LUXENBERG, PC
BERST                RICHARD               NY         11306399         WEITZ & LUXENBERG, PC                                BIALOBOK             VINCENT               NY         12525900         WEITZ & LUXENBERG, PC
BERTANI              PETER                 NY         10870901         WEITZ & LUXENBERG, PC                                BIAMONTE             ALEXANDER             NY         11307399         WEITZ & LUXENBERG, PC
BERTE                BARBARA               NY         10315600         WEITZ & LUXENBERG, PC                                BIAMONTE             MARION                NY         11307399         WEITZ & LUXENBERG, PC
BERTE                VINCENT J             NY         10315600         WEITZ & LUXENBERG, PC                                BIAMONTE             NICHOLAS J            NJ         MIDL324913AS     WEITZ & LUXENBERG, PC
BERTRAND             CATHERINE             NY         12038801         WEITZ & LUXENBERG, PC                                BIAMONTE             RUTHANN               NJ         MIDL324913AS     WEITZ & LUXENBERG, PC
BERTRAND             CATHERINE             NY         10631902         WEITZ & LUXENBERG, PC                                BIANCE               MAUREEN B             NY         10680602         WEITZ & LUXENBERG, PC
BERTRAND             CHARLES PATRICK       NY         12038801         WEITZ & LUXENBERG, PC                                BIANCE               MICHAEL P             NY         10680602         WEITZ & LUXENBERG, PC
BERTRAND             CHARLES PATRICK       NY         10631902         WEITZ & LUXENBERG, PC                                BIANCHI              JOSEPH L              NY         99106419         WEITZ & LUXENBERG, PC
BERTRAND             JO ANN CAROL          NY         02106690         WEITZ & LUXENBERG, PC                                BIANCHI              MARY                  NY         99106419         WEITZ & LUXENBERG, PC
BERTRAND             JO ANN CAROL          NY         11381302         WEITZ & LUXENBERG, PC                                BIANCO               ANN                   NY         10023003         WEITZ & LUXENBERG, PC
BERTRAND             RONALD RICHARD        NY         02106690         WEITZ & LUXENBERG, PC                                BIANCO               ANTHONY G             NY         10314900         WEITZ & LUXENBERG, PC
BERTRAND             RONALD RICHARD        NY         11381302         WEITZ & LUXENBERG, PC                                BIANCO               PAUL Z                NY         10023003         WEITZ & LUXENBERG, PC
BERTRAND             THOMAS                NY         12038801         WEITZ & LUXENBERG, PC                                BIANCO               VINCENT JOHN          NY         12100401         WEITZ & LUXENBERG, PC
BERTRAND             THOMAS                NY         10631902         WEITZ & LUXENBERG, PC                                BIANCO               VINCENT JOHN          NY         10605002         WEITZ & LUXENBERG, PC
BERTUCELLI           JEANETTE              NY         1901652017       WEITZ & LUXENBERG, PC                                BIANCONE             EUGENE                NY         11307499         WEITZ & LUXENBERG, PC
BERTUCELLI           JOHN J                NY         1901652017       WEITZ & LUXENBERG, PC                                BIANCONE             MAE                   NY         11307499         WEITZ & LUXENBERG, PC
BERTUZZI             BRUNO                 NY         1901222015       WEITZ & LUXENBERG, PC                                BIAS                 JOHN                  NY         10811703         WEITZ & LUXENBERG, PC
BESECKER             EVELYN                NY         11009602         WEITZ & LUXENBERG, PC                                BICE                 JAMES N               NY         10680602         WEITZ & LUXENBERG, PC
BESECKER             LEONARD               NY         10587502         WEITZ & LUXENBERG, PC                                BICE                 NANCY                 NY         10680602         WEITZ & LUXENBERG, PC
BESECKER             LEONARD               NY         11009602         WEITZ & LUXENBERG, PC                                BICKEL               ERICH H               NY         10314800         WEITZ & LUXENBERG, PC
BESIO                TERRY G               NY         02105718         WEITZ & LUXENBERG, PC                                BICKEL               ROSINA                NY         10314800         WEITZ & LUXENBERG, PC
BESSETTE             ELIZABETH             NY         10645702         WEITZ & LUXENBERG, PC                                BIDDLE               DELORES M             NY         02120709         WEITZ & LUXENBERG, PC
BESSETTE             GERALD F              NY         10645702         WEITZ & LUXENBERG, PC                                BIDDLE               MARVIN WARREN         NY         02120709         WEITZ & LUXENBERG, PC
BESSETTE             GRACE                 NY         02113280         WEITZ & LUXENBERG, PC                                BIE                  ARLINE ELIZABETH      NY         12154401         WEITZ & LUXENBERG, PC
BESSETTE             GRACE                 NY         12011402         WEITZ & LUXENBERG, PC                                BIE                  ARLINE ELIZABETH      NY         01111228         WEITZ & LUXENBERG, PC
BESSETTE             RAYMOND P             NY         02113280         WEITZ & LUXENBERG, PC                                BIE                  EDWARD EARLING        NY         12154401         WEITZ & LUXENBERG, PC
BESSETTE             RAYMOND P             NY         12011402         WEITZ & LUXENBERG, PC                                BIE                  EDWARD EARLING        NY         01111228         WEITZ & LUXENBERG, PC
BESSMAN              MARGARETE             NY         11307599         WEITZ & LUXENBERG, PC                                BIE                  ERLING                NY         12154401         WEITZ & LUXENBERG, PC
BESSMAN              WILLIAM B             NY         11307599         WEITZ & LUXENBERG, PC                                BIE                  ERLING                NY         01111228         WEITZ & LUXENBERG, PC
BEST                 EUGENE                NY         11305599         WEITZ & LUXENBERG, PC                                BIEBER               ROBERT G              NY         10387800         WEITZ & LUXENBERG, PC
BEST                 MARY E                NY         11305599         WEITZ & LUXENBERG, PC                                BIEBER               ROBERT K              NY         10387800         WEITZ & LUXENBERG, PC
BEST                 SHIRLEY               NY         CV025685         WEITZ & LUXENBERG, PC                                BIEDERMAN            JASON                 NY         1900162018       WEITZ & LUXENBERG, PC
BETANCOURT           OSWALDO               NY         1031540          WEITZ & LUXENBERG, PC                                BIEHAYN              PATRICIA              NY         12043201         WEITZ & LUXENBERG, PC
BETANCOURT           OSWALDO               NY         10090403         WEITZ & LUXENBERG, PC                                BIEHAYN              WILLIAM A             NY         12043201         WEITZ & LUXENBERG, PC
BETHELMIE            CUTHBERT              NY         10315300         WEITZ & LUXENBERG, PC                                BIEHLE               JAMES E               NY         19021411         WEITZ & LUXENBERG, PC
BETHELMIE            EUGENIA               NY         10315300         WEITZ & LUXENBERG, PC                                BIEHLE               SANDRA                NY         19021411         WEITZ & LUXENBERG, PC
BETTKER              SANDRA A              NY         10587202         WEITZ & LUXENBERG, PC                                BIEHSLICH            MONA DEE              NY         01CIV3901        WEITZ & LUXENBERG, PC
BETTKER              VIOLA M               NY         10587202         WEITZ & LUXENBERG, PC                                BIELE                DOLORES               NY         10387700         WEITZ & LUXENBERG, PC
BETTKER              VIOLA M               NY         10819002         WEITZ & LUXENBERG, PC                                BIELE                FRANK H               NY         10387700         WEITZ & LUXENBERG, PC
BETTKER              WESLEY A              NY         10587202         WEITZ & LUXENBERG, PC                                BIELEC               DARLENE               NY         10722202         WEITZ & LUXENBERG, PC
BETTKER              WESLEY A              NY         10819002         WEITZ & LUXENBERG, PC                                BIELEC               JOSEPH J              NY         10722202         WEITZ & LUXENBERG, PC
BETTS                BARB                  NY         10835600         WEITZ & LUXENBERG, PC                                BIELER               ROBERT G              NY         11305099         WEITZ & LUXENBERG, PC
BETTS                GWENDOLYN             NY         10315200         WEITZ & LUXENBERG, PC                                BIELER               SALLY                 NY         11305099         WEITZ & LUXENBERG, PC
BETTS                MICHAEL C             NY         10835600         WEITZ & LUXENBERG, PC                                BIELEWICZ            EDWIN E               NY         10587602         WEITZ & LUXENBERG, PC
BETTS                SONNIE J              NY         10315200         WEITZ & LUXENBERG, PC                                BIELEWICZ            LARRAINE              NY         10587602         WEITZ & LUXENBERG, PC
BEVACQUA             BENJAMIN A            NY         11305499         WEITZ & LUXENBERG, PC                                BIELLI               HENRY                 NY         10716702         WEITZ & LUXENBERG, PC
BEVACQUA             CATHERINE M           NY         11305499         WEITZ & LUXENBERG, PC                                BIELSS               BETTY                 NY         CIV006917        WEITZ & LUXENBERG, PC
BEVER                CATHIE                NY         11026702         WEITZ & LUXENBERG, PC                                BIELSS               BETTY LAURA           NY         CV013921         WEITZ & LUXENBERG, PC
BEVER                GORDON                NY         11026702         WEITZ & LUXENBERG, PC                                BIELSS               DANNY                 NY         CV013921         WEITZ & LUXENBERG, PC
BEVILACQUA           MARY ELLEN            NY         1903072017       WEITZ & LUXENBERG, PC                                BIELSS               DANNY R               NY         CIV006917        WEITZ & LUXENBERG, PC
BEVILACQUA           RONALD R              NY         1903072017       WEITZ & LUXENBERG, PC                                BIENDUGA             EDWARD                NY         11504898         WEITZ & LUXENBERG, PC
BEWICK               PATRICIA              NY         10315100         WEITZ & LUXENBERG, PC                                BIENDUGA             WANDA                 NY         11504898         WEITZ & LUXENBERG, PC
BEWICK               RUSSELL T             NY         10315100         WEITZ & LUXENBERG, PC                                BIENICK              BRENDA                NY         12526000         WEITZ & LUXENBERG, PC
BEYER                BETTY                 NY         11305399         WEITZ & LUXENBERG, PC                                BIENICK              JOHN J                NY         12526000         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 866
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 201 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BIENZ                CARL                  NY         1901522017       WEITZ & LUXENBERG, PC                                BINSEEL              BARBARA               NY         10008703         WEITZ & LUXENBERG, PC
BIENZ                CARL N                NY         00113280         WEITZ & LUXENBERG, PC                                BINSEEL              JOHN                  NY         10008703         WEITZ & LUXENBERG, PC
BIENZ                NANCY                 NY         00113280         WEITZ & LUXENBERG, PC                                BIONDI               JOAN                  NY         10314600         WEITZ & LUXENBERG, PC
BIENZ                NANCY L               NY         1901522017       WEITZ & LUXENBERG, PC                                BIONDI               JOSEPH P              NY         10314600         WEITZ & LUXENBERG, PC
BIETTE               GEORGE J              NY         02106508         WEITZ & LUXENBERG, PC                                BIRCH                CLIFTON LAMAR         NY         CV017772         WEITZ & LUXENBERG, PC
BIETTE               PATRICIA              NY         02106508         WEITZ & LUXENBERG, PC                                BIRCH                DORIS CATHERINE       NY         CV017772         WEITZ & LUXENBERG, PC
BIFANO               CAROLE                NY         10710502         WEITZ & LUXENBERG, PC                                BIRD                 ALAN L                NY         10835600         WEITZ & LUXENBERG, PC
BIFANO               VINCENT J             NY         10710502         WEITZ & LUXENBERG, PC                                BIRD                 DON VERON             NY         CV017785         WEITZ & LUXENBERG, PC
BIGAJ                LORETTA B             NY         12526100         WEITZ & LUXENBERG, PC                                BIRD                 EVA                   NY         10835600         WEITZ & LUXENBERG, PC
BIGGERS              ALEXANDER F           NY         11477504         WEITZ & LUXENBERG, PC                                BIRD                 MARYANN               NY         10562300         WEITZ & LUXENBERG, PC
BIGGERS              PATRICIA L            NY         11477504         WEITZ & LUXENBERG, PC                                BIRD                 SARAH                 NY         CV017785         WEITZ & LUXENBERG, PC
BIGGS                LINDA                 NY         CV003590         WEITZ & LUXENBERG, PC                                BIRDSALL             MARIE                 NY         12094701         WEITZ & LUXENBERG, PC
BIGGS                PAUL FRANKLIN         NY         CV003590         WEITZ & LUXENBERG, PC                                BIRDSALL             MARIE                 NY         01111223         WEITZ & LUXENBERG, PC
BIGHAM               KENNETH B             NY         10870901         WEITZ & LUXENBERG, PC                                BIRDSALL             WILLIAM               NY         12094701         WEITZ & LUXENBERG, PC
BIGHAM               MARILYN               NY         10870901         WEITZ & LUXENBERG, PC                                BIRDSALL             WILLIAM               NY         01111223         WEITZ & LUXENBERG, PC
BIGNESS              BRUCE A               NY         10670402         WEITZ & LUXENBERG, PC                                BIRKMEYER            IRENE                 NY         11060200         WEITZ & LUXENBERG, PC
BIGTREE              CATHERINE             NY         10314700         WEITZ & LUXENBERG, PC                                BIRKMEYER            IRENE                 NY         10835600         WEITZ & LUXENBERG, PC
BIGTREE              JOHN                  NY         10314700         WEITZ & LUXENBERG, PC                                BIRKMEYER            THOMAS J              NY         11060200         WEITZ & LUXENBERG, PC
BIGTREE              THELBERT JOSEPH       NY         10670402         WEITZ & LUXENBERG, PC                                BIRKMEYER            THOMAS J              NY         10835600         WEITZ & LUXENBERG, PC
BIHARY               FLORENCE              NY         11501798         WEITZ & LUXENBERG, PC                                BIRNBAUM             CURT A                NY         02107102         WEITZ & LUXENBERG, PC
BIHARY               JOHN                  NY         11501798         WEITZ & LUXENBERG, PC                                BIRNBAUM             LORRAINE              NY         02107102         WEITZ & LUXENBERG, PC
BIKAR                JOSEPH                NY         1901122018       WEITZ & LUXENBERG, PC                                BIRNE                ANETTE                NY         12043301         WEITZ & LUXENBERG, PC
BIKAR                MARCELLA              NY         1901122018       WEITZ & LUXENBERG, PC                                BIRNE                GEORGE T              NY         12043301         WEITZ & LUXENBERG, PC
BILBY                DORIS                 NY         10670402         WEITZ & LUXENBERG, PC                                BIRNEY               PATRICA               NY         10387600         WEITZ & LUXENBERG, PC
BILBY                NOEL R                NY         10670402         WEITZ & LUXENBERG, PC                                BIRNEY               RAYMOND               NY         10387600         WEITZ & LUXENBERG, PC
BILE                 EILEEN                NY         12526400         WEITZ & LUXENBERG, PC                                BIRO                 KENNETH               NY         11502798         WEITZ & LUXENBERG, PC
BILE                 ROBERT S              NY         12526400         WEITZ & LUXENBERG, PC                                BIRO                 MARY                  NY         11502798         WEITZ & LUXENBERG, PC
BILGORAY             HELEN                 NY         11770100         WEITZ & LUXENBERG, PC                                BISCHOFF             KAREN                 NY         11696504         WEITZ & LUXENBERG, PC
BILGORAY             REUVEN                NY         11770100         WEITZ & LUXENBERG, PC                                BISE                 HARRY F               NY         12526700         WEITZ & LUXENBERG, PC
BILLIG               BETTY                 NY         10484803         WEITZ & LUXENBERG, PC                                BISE                 MARY                  NY         12526700         WEITZ & LUXENBERG, PC
BILLIG               RUDOLF J              NY         10484803         WEITZ & LUXENBERG, PC                                BISH                 CLARENCE E            NY         11742400         WEITZ & LUXENBERG, PC
BILLING              HENRY EUGENE          NY         01CIV3922        WEITZ & LUXENBERG, PC                                BISH                 DORIS                 NY         11742400         WEITZ & LUXENBERG, PC
BILLING              TOMMYE                NY         01CIV3922        WEITZ & LUXENBERG, PC                                BISHOP               ANNA                  NY         10680702         WEITZ & LUXENBERG, PC
BILLINGHURST         DOROTHY               NY         11060600         WEITZ & LUXENBERG, PC                                BISHOP               CAROLINE              NY         11305699         WEITZ & LUXENBERG, PC
BILLINGHURST         DOROTHY               NY         10835600         WEITZ & LUXENBERG, PC                                BISHOP               DEOTISE               NY         10314300         WEITZ & LUXENBERG, PC
BILLINGHURST         ORMOND                NY         11060600         WEITZ & LUXENBERG, PC                                BISHOP               FRANK                 NY         11505698         WEITZ & LUXENBERG, PC
BILLINGHURST         ORMOND                NY         10835600         WEITZ & LUXENBERG, PC                                BISHOP               HARRY                 NY         11624701         WEITZ & LUXENBERG, PC
BILLINGS             ELIZABETH             NY         1902502015       WEITZ & LUXENBERG, PC                                BISHOP               HARRY                 NY         01111221         WEITZ & LUXENBERG, PC
BILLINGS             JAMES P               NY         1902502015       WEITZ & LUXENBERG, PC                                BISHOP               JAMES E               NY         10680702         WEITZ & LUXENBERG, PC
BILLINGS             THEOPHUS L            NY         CV021247         WEITZ & LUXENBERG, PC                                BISHOP               JOEL A                NY         10587102         WEITZ & LUXENBERG, PC
BILLINGSLEY          BRUCE M               NY         CV015693         WEITZ & LUXENBERG, PC                                BISHOP               JOSEPH                NY         10314500         WEITZ & LUXENBERG, PC
BILLINGSLEY          KEITH A               NY         19002212         WEITZ & LUXENBERG, PC                                BISHOP               LOUIS N               NY         11305699         WEITZ & LUXENBERG, PC
BILLINGSLEY          MARY                  NY         CV015693         WEITZ & LUXENBERG, PC                                BISHOP               MARTIN                NY         12526900         WEITZ & LUXENBERG, PC
BILLINGSLEY          MICHELE               NY         19002212         WEITZ & LUXENBERG, PC                                BISHOP               MARY                  NY         98118833         WEITZ & LUXENBERG, PC
BILLINGTON           GERALD                NY         12788802         WEITZ & LUXENBERG, PC                                BISHOP               MARY                  NY         11883398         WEITZ & LUXENBERG, PC
BILLINGTON           SALLY                 NY         12788802         WEITZ & LUXENBERG, PC                                BISHOP               MARY ANN              NY         10587102         WEITZ & LUXENBERG, PC
BILLS                FREDERICK W           NY         12526500         WEITZ & LUXENBERG, PC                                BISHOP               PAUL                  NY         11680107         WEITZ & LUXENBERG, PC
BILLS                GARDNER W             NY         12526500         WEITZ & LUXENBERG, PC                                BISIGNANI            ANTHONY               NY         12043101         WEITZ & LUXENBERG, PC
BIML                 BARBARA               NY         10238802         WEITZ & LUXENBERG, PC                                BISNETT              RONALD                NY         11304204         WEITZ & LUXENBERG, PC
BIML                 EDWARD R              NY         10238802         WEITZ & LUXENBERG, PC                                BISNETT              SANDRA FAY            NY         11304204         WEITZ & LUXENBERG, PC
BIN                  GIOVANNI              NY         11304899         WEITZ & LUXENBERG, PC                                BISSO                BLANKA                NY         12213801         WEITZ & LUXENBERG, PC
BIN                  MARY                  NY         11304899         WEITZ & LUXENBERG, PC                                BISSO                GEORGE J              NY         12213801         WEITZ & LUXENBERG, PC
BINAN                DON GALE              NY         11055301         WEITZ & LUXENBERG, PC                                BISTYGA              KENNETH               NY         01112179         WEITZ & LUXENBERG, PC
BINAN                MEARLE S              NY         11055301         WEITZ & LUXENBERG, PC                                BISTYGA              MARIANNE              NY         01112179         WEITZ & LUXENBERG, PC
BINDUS               ANNE                  NY         11060400         WEITZ & LUXENBERG, PC                                BITETTO              GARY V                NY         1902302016       WEITZ & LUXENBERG, PC
BINDUS               ANNE                  NY         10835600         WEITZ & LUXENBERG, PC                                BITETTO              MARILOU               NY         1902302016       WEITZ & LUXENBERG, PC
BINDUS               BARBARA               NY         11060500         WEITZ & LUXENBERG, PC                                BITKA                ADOLPH J              NY         10722102         WEITZ & LUXENBERG, PC
BINDUS               BARBARA               NY         10835600         WEITZ & LUXENBERG, PC                                BITKA                BERTHA                NY         10722102         WEITZ & LUXENBERG, PC
BINDUS               DANIEL                NY         11060500         WEITZ & LUXENBERG, PC                                BITTLE               ANNE                  NY         11060100         WEITZ & LUXENBERG, PC
BINDUS               DANIEL                NY         10835600         WEITZ & LUXENBERG, PC                                BITTLE               ANNE                  NY         10835600         WEITZ & LUXENBERG, PC
BINDUS               STEPHEN               NY         11060400         WEITZ & LUXENBERG, PC                                BITTLE               GEORGE                NY         11060100         WEITZ & LUXENBERG, PC
BINDUS               STEPHEN               NY         10835600         WEITZ & LUXENBERG, PC                                BITTLE               GEORGE                NY         10835600         WEITZ & LUXENBERG, PC
BINGHAM              EVELYNE S             NY         10710002         WEITZ & LUXENBERG, PC                                BITTLE               HAROLD L              NY         CV024032         WEITZ & LUXENBERG, PC
BINGHAM              KURT A                NY         10710002         WEITZ & LUXENBERG, PC                                BITTLE               MARY                  NY         CV024032         WEITZ & LUXENBERG, PC
BINIAKEWITZ          MICHAEL               NY         CV018289         WEITZ & LUXENBERG, PC                                BITTLES              RICHARD J             NY         10314200         WEITZ & LUXENBERG, PC
BINIAKEWITZ          SHELDA                NY         CV018289         WEITZ & LUXENBERG, PC                                BITTLES              SUZANNE               NY         10314200         WEITZ & LUXENBERG, PC
BINIEWSKI            PAULA M               NY         02105715         WEITZ & LUXENBERG, PC                                BITTNER              EDWARD                NY         11355703         WEITZ & LUXENBERG, PC
BINIEWSKI            PAULA M               NY         11021802         WEITZ & LUXENBERG, PC                                BITTNER              JAMES                 NY         12527000         WEITZ & LUXENBERG, PC
BINION               DAVID L               NY         10696502         WEITZ & LUXENBERG, PC                                BITTNER              JOHN CARL             NY         10387500         WEITZ & LUXENBERG, PC
BINKLEY              DELMA W               NY         10325402         WEITZ & LUXENBERG, PC                                BITTNER              LINDA                 NY         10387500         WEITZ & LUXENBERG, PC
BINKLEY              ISABELLE              NY         10325402         WEITZ & LUXENBERG, PC                                BITTNER              NANCY                 NY         11355703         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 867
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 202 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BITTNER              PATRICIA              NY         12527000         WEITZ & LUXENBERG, PC                                BLAND                MARION                NY         11356702         WEITZ & LUXENBERG, PC
BITZ                 NATALIE               NY         19040111         WEITZ & LUXENBERG, PC                                BLAND                RICHARD J             NY         11356702         WEITZ & LUXENBERG, PC
BIVENS               FLOYD                 NY         10256501         WEITZ & LUXENBERG, PC                                BLANDO               BARBARA               NY         10716702         WEITZ & LUXENBERG, PC
BIVENS               LAURA                 NY         10256501         WEITZ & LUXENBERG, PC                                BLANDO               BARBARA               NY         11280602         WEITZ & LUXENBERG, PC
BIVENS               VICKI                 NY         01CIV3915        WEITZ & LUXENBERG, PC                                BLANDO               SALVATORE             NY         98116919         WEITZ & LUXENBERG, PC
BIVIANO              ANTHONY               NY         10011702         WEITZ & LUXENBERG, PC                                BLANFORD             GRETA                 NY         10560404         WEITZ & LUXENBERG, PC
BIVIANO              ELIZABETH             NY         10011702         WEITZ & LUXENBERG, PC                                BLANFORD             PAUL JOSEPH           NY         10560404         WEITZ & LUXENBERG, PC
BJONNES              KENNETH               NY         1903132017       WEITZ & LUXENBERG, PC                                BLANKENBAKER         SHEILA                NY         11505898         WEITZ & LUXENBERG, PC
BJONNES              MARIA                 NY         1903132017       WEITZ & LUXENBERG, PC                                BLANKENBAKER         TRACY L               NY         11505898         WEITZ & LUXENBERG, PC
BJORNSON             ALF                   NY         12527100         WEITZ & LUXENBERG, PC                                BLANKENBAKER         WILLIAM F             NY         11505898         WEITZ & LUXENBERG, PC
BJORNSON             KIRSTEN               NY         12527100         WEITZ & LUXENBERG, PC                                BLANKENSHIP          JERRY DON             NY         CV013899         WEITZ & LUXENBERG, PC
BLACHA               MARY ANN              NY         11505798         WEITZ & LUXENBERG, PC                                BLASCHE              HERBERT E             NY         10314000         WEITZ & LUXENBERG, PC
BLACHA               ROBERT                NY         11505798         WEITZ & LUXENBERG, PC                                BLASCOVICH           AGNES                 NY         10151405         WEITZ & LUXENBERG, PC
BLACK                DOROTHY               NY         12043301         WEITZ & LUXENBERG, PC                                BLASCOVICH           GIUSTO                NY         10151405         WEITZ & LUXENBERG, PC
BLACK                DOROTHY               NY         12419701         WEITZ & LUXENBERG, PC                                BLASHOCK             LEON                  NY         19032609         WEITZ & LUXENBERG, PC
BLACK                ED                    NY         19002611         WEITZ & LUXENBERG, PC                                BLASHOCK             MARGARET              NY         19032609         WEITZ & LUXENBERG, PC
BLACK                EILEEN                NY         10387400         WEITZ & LUXENBERG, PC                                BLASKE               MARCELLA              NY         12043301         WEITZ & LUXENBERG, PC
BLACK                FRANKLIN THOMAS       NY         10387400         WEITZ & LUXENBERG, PC                                BLASKE               STANLEY S             NY         12043301         WEITZ & LUXENBERG, PC
BLACK                JAMES J               NY         11306099         WEITZ & LUXENBERG, PC                                BLASSBERG            JOSEPH                NY         12213801         WEITZ & LUXENBERG, PC
BLACK                MICHAELEE             NY         10670602         WEITZ & LUXENBERG, PC                                BLASSBERG            JOSEPH                NY         10276702         WEITZ & LUXENBERG, PC
BLACK                MICHAELEE             NY         11485902         WEITZ & LUXENBERG, PC                                BLASSBERG            RICHARD               NY         12213801         WEITZ & LUXENBERG, PC
BLACK                PATRICK J             NY         10670602         WEITZ & LUXENBERG, PC                                BLASSBERG            RICHARD               NY         10276702         WEITZ & LUXENBERG, PC
BLACK                PATRICK J             NY         11485902         WEITZ & LUXENBERG, PC                                BLASUCCI             DONATO                NY         02107102         WEITZ & LUXENBERG, PC
BLACK                PAULINE               NY         CV016441         WEITZ & LUXENBERG, PC                                BLASUCCI             NICOLINA              NY         02107102         WEITZ & LUXENBERG, PC
BLACK                STEPHEN G             NY         12043301         WEITZ & LUXENBERG, PC                                BLASZ                ALBERTA               NY         I20019779        WEITZ & LUXENBERG, PC
BLACK                STEPHEN G             NY         12419701         WEITZ & LUXENBERG, PC                                BLASZ                EUGENE                NY         I20019779        WEITZ & LUXENBERG, PC
BLACK                VERNON R              NY         CV016441         WEITZ & LUXENBERG, PC                                BLASZKOWSKY          EDDIE                 NY         12110001         WEITZ & LUXENBERG, PC
BLACKFORD            KEITHA                NY         12527200         WEITZ & LUXENBERG, PC                                BLASZKOWSKY          PHYLLIS               NY         12110001         WEITZ & LUXENBERG, PC
BLACKFORD            MELVIN L              NY         12527200         WEITZ & LUXENBERG, PC                                BLATTENBERGER        JAMES A               NY         12289397         WEITZ & LUXENBERG, PC
BLACKMON             BILLY EARL            NY         CV013921         WEITZ & LUXENBERG, PC                                BLATTENBERGER        JUNE                  NY         11450005         WEITZ & LUXENBERG, PC
BLACKMON             EDWARD                NY         CV018290         WEITZ & LUXENBERG, PC                                BLATTENBERGER        JUNE V                NY         12289397         WEITZ & LUXENBERG, PC
BLACKMON             IDA                   NY         CV018290         WEITZ & LUXENBERG, PC                                BLAUE                JUNE                  NY         11305899         WEITZ & LUXENBERG, PC
BLACKMON             SHIRLEY               NY         CV013921         WEITZ & LUXENBERG, PC                                BLAUE                ROBERT                NY         11305899         WEITZ & LUXENBERG, PC
BLACKWELL            AARON RAY             NY         CV021875         WEITZ & LUXENBERG, PC                                BLAUE                ROBERT C              NY         11305899         WEITZ & LUXENBERG, PC
BLACKWELL            DONALD                NY         CV018291         WEITZ & LUXENBERG, PC                                BLAUVELT             DORIS                 NY         19005512         WEITZ & LUXENBERG, PC
BLACKWELL            JEWELL FAYE           NY         CV018291         WEITZ & LUXENBERG, PC                                BLAUVELT             JAMES A               NY         19005512         WEITZ & LUXENBERG, PC
BLACKWELL            SHIRLEY               NY         CV021875         WEITZ & LUXENBERG, PC                                BLEDSOE              DOSS                  NY         CV012181         WEITZ & LUXENBERG, PC
BLAHOWICZ            CONSTANCE             NY         19025911         WEITZ & LUXENBERG, PC                                BLEDSOE              GERALDINE             NY         CV012181         WEITZ & LUXENBERG, PC
BLAHOWICZ            JAMES S               NY         19025911         WEITZ & LUXENBERG, PC                                BLEDSOE              JAMES M               NY         01CIV7363        WEITZ & LUXENBERG, PC
BLAIR                DONALD T              NY         11306199         WEITZ & LUXENBERG, PC                                BLEEKER              JOHN                  NY         1901042013       WEITZ & LUXENBERG, PC
BLAIR                GLORIA M              NY         01111236         WEITZ & LUXENBERG, PC                                BLEEKER              LUCILLE               NY         1901042013       WEITZ & LUXENBERG, PC
BLAIR                JOAN A                NY         1901202019       WEITZ & LUXENBERG, PC                                BLEIBACH             BJARNE                NY         10387200         WEITZ & LUXENBERG, PC
BLAIR                KENNETH N             NY         02106692         WEITZ & LUXENBERG, PC                                BLEIBACH             MORAIMA               NY         10387200         WEITZ & LUXENBERG, PC
BLAIR                MAUREEN               NY         11306199         WEITZ & LUXENBERG, PC                                BLEIMEYER            RONALD A              NY         12596602         WEITZ & LUXENBERG, PC
BLAIR                REBECCA A             NY         02106692         WEITZ & LUXENBERG, PC                                BLEVINS              CLIFFORD EARL         NY         CV017489         WEITZ & LUXENBERG, PC
BLAIR                WAYNE                 NY         98116918         WEITZ & LUXENBERG, PC                                BLEVINS              HUSTON                NY         CV017786         WEITZ & LUXENBERG, PC
BLAIR                WILBERT M             NY         01111236         WEITZ & LUXENBERG, PC                                BLEVINS              WILLIAM MARION        NY         CV015333         WEITZ & LUXENBERG, PC
BLAKE                ELIZABETH             NY         1904702013       WEITZ & LUXENBERG, PC                                BLEVINS              WILLIAM MARION        NY         01CIV5333        WEITZ & LUXENBERG, PC
BLAKE                HOWARD DEAN           NY         CV016442         WEITZ & LUXENBERG, PC                                BLEWETT              ROBERT D              NY         10740102         WEITZ & LUXENBERG, PC
BLAKE                JAMES H               NY         12788602         WEITZ & LUXENBERG, PC                                BLEY                 CAROL A               NY         12668202         WEITZ & LUXENBERG, PC
BLAKE                JAMES H               NY         10248203         WEITZ & LUXENBERG, PC                                BLEY                 KENNETH W             NY         12668202         WEITZ & LUXENBERG, PC
BLAKE                JOHN H                NY         1904702013       WEITZ & LUXENBERG, PC                                BLIDY                JOAN                  NY         10710002         WEITZ & LUXENBERG, PC
BLAKE                MARK D                NY         12788602         WEITZ & LUXENBERG, PC                                BLIDY                RICHARD J             NY         10710002         WEITZ & LUXENBERG, PC
BLAKE                MARK D                NY         10248203         WEITZ & LUXENBERG, PC                                BLISS                LINDA J               NY         10952000         WEITZ & LUXENBERG, PC
BLAKESLEE            AGNES M               NY         98117716         WEITZ & LUXENBERG, PC                                BLIVEN               BARBARA               NY         12579400         WEITZ & LUXENBERG, PC
BLAKESLEE            ANGELINE              NY         12527400         WEITZ & LUXENBERG, PC                                BLIVEN               BARBARA               NY         11938800         WEITZ & LUXENBERG, PC
BLAKESLEE            AUGUSTINE             NY         98117716         WEITZ & LUXENBERG, PC                                BLIVEN               DONALD C              NY         12579400         WEITZ & LUXENBERG, PC
BLAKESLEE            CLIFFORD              NY         12527400         WEITZ & LUXENBERG, PC                                BLIVEN               DONALD C              NY         11938800         WEITZ & LUXENBERG, PC
BLAKLEY              FRANK                 NY         11079006         WEITZ & LUXENBERG, PC                                BLODGETT             ALLEN                 NY         10859802         WEITZ & LUXENBERG, PC
BLAKLEY              VIOLA                 NY         11079006         WEITZ & LUXENBERG, PC                                BLODGETT             ANTHONY L             NY         10740402         WEITZ & LUXENBERG, PC
BLAMOWSKI            ANN                   NY         10314100         WEITZ & LUXENBERG, PC                                BLODGETT             BONNIE                NY         10740402         WEITZ & LUXENBERG, PC
BLAMOWSKI            EUGENE M              NY         10314100         WEITZ & LUXENBERG, PC                                BLODGETT             DORIS A               NY         10859802         WEITZ & LUXENBERG, PC
BLANC                ELIZABETH KANE        NY         10237904         WEITZ & LUXENBERG, PC                                BLODGETT             WALTER JAMES          NY         10740402         WEITZ & LUXENBERG, PC
BLANCHARD            ETHEL                 NY         1901642014       WEITZ & LUXENBERG, PC                                BLOISE               JUDY                  NY         10612599         WEITZ & LUXENBERG, PC
BLANCHARD            HARLAN A              NY         1901642014       WEITZ & LUXENBERG, PC                                BLOISE               VINCENT               NY         10612599         WEITZ & LUXENBERG, PC
BLANCHARD            HARLAN E              NY         1901642014       WEITZ & LUXENBERG, PC                                BLOMQUIST            ALICE                 NY         11609803         WEITZ & LUXENBERG, PC
BLANCHARD            ISAAC                 NY         19010710         WEITZ & LUXENBERG, PC                                BLOMQUIST            ELO                   NY         11609803         WEITZ & LUXENBERG, PC
BLANCO               MARY                  NY         1901062019       WEITZ & LUXENBERG, PC                                BLONSKI              MAUREEN K             NY         10612699         WEITZ & LUXENBERG, PC
BLANCO               RALPH E               NY         1901062019       WEITZ & LUXENBERG, PC                                BLONSKI              TOM FRANK             NY         10612699         WEITZ & LUXENBERG, PC
BLAND                ARTHUR R              NY         01109017         WEITZ & LUXENBERG, PC                                BLOOM                CHARLES               NY         12042901         WEITZ & LUXENBERG, PC
BLAND                LORETTA               NY         01109017         WEITZ & LUXENBERG, PC                                BLOOM                CHARLES ARTHUR        NY         10587202         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 868
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 203 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BLOOM                CHARLES ARTHUR        NY         10819102         WEITZ & LUXENBERG, PC                                BOECHEL              DAVID E               NY         99113151         WEITZ & LUXENBERG, PC
BLOOM                MARCIA A              NY         10587202         WEITZ & LUXENBERG, PC                                BOECHEL              JEAN MARIE            NY         99113151         WEITZ & LUXENBERG, PC
BLOOM                MARCIA A              NY         10819102         WEITZ & LUXENBERG, PC                                BOECKEL              FRANCES A             NY         99101202         WEITZ & LUXENBERG, PC
BLOOM                PATRICIA              NY         12042901         WEITZ & LUXENBERG, PC                                BOECKEL              FRANCES A             NY         10871301         WEITZ & LUXENBERG, PC
BLOSE                HELEN                 NY         11505998         WEITZ & LUXENBERG, PC                                BOEDOER              LASZLO                NY         10870901         WEITZ & LUXENBERG, PC
BLOSE                WILLIAM R             NY         11505998         WEITZ & LUXENBERG, PC                                BOEHM                ELAINE A              NY         99113985         WEITZ & LUXENBERG, PC
BLOUGH               JANE                  NY         10716902         WEITZ & LUXENBERG, PC                                BOEHM                HAROLD W              NY         99113985         WEITZ & LUXENBERG, PC
BLOUGH               TERRY D               NY         10716902         WEITZ & LUXENBERG, PC                                BOEHNING             MICHELE               NY         1903642015       WEITZ & LUXENBERG, PC
BLOUNT               ADRIENNE              NJ         MIDL00348919AS   WEITZ & LUXENBERG, PC                                BOEHNING             RICHARD               NY         1903642015       WEITZ & LUXENBERG, PC
BLOUNT               WILLIE LEE            NJ         MIDL00348919AS   WEITZ & LUXENBERG, PC                                BOERINGER            MARY                  NY         10313500         WEITZ & LUXENBERG, PC
BLUM                 HILDEGARD             NY         10313900         WEITZ & LUXENBERG, PC                                BOERINGER            RALPH                 NY         10313500         WEITZ & LUXENBERG, PC
BLUM                 HILDEGORD             NY         10313900         WEITZ & LUXENBERG, PC                                BOERSCHLEIN          ELSIE F               NY         10313400         WEITZ & LUXENBERG, PC
BLUM                 JEANNE                NY         02CIV1849        WEITZ & LUXENBERG, PC                                BOERSCHLEIN          IRENE                 NY         11315499         WEITZ & LUXENBERG, PC
BLUM                 NATHAN                NY         12039001         WEITZ & LUXENBERG, PC                                BOERSCHLEIN          PAUL JOHN             NY         11315499         WEITZ & LUXENBERG, PC
BLUM                 PAUL                  NY         10313900         WEITZ & LUXENBERG, PC                                BOERSCHLEIN          RALPH F               NY         10313400         WEITZ & LUXENBERG, PC
BLUM                 RODNEY W              NY         02CIV1849        WEITZ & LUXENBERG, PC                                BOGAR                LESLIE P              NY         11059900         WEITZ & LUXENBERG, PC
BLUM                 TILY                  NY         12039001         WEITZ & LUXENBERG, PC                                BOGAR                LESLIE P              NY         10835600         WEITZ & LUXENBERG, PC
BLUMBERG             DAMARIS               NY         10387100         WEITZ & LUXENBERG, PC                                BOGAR                MOUNA                 NY         11059900         WEITZ & LUXENBERG, PC
BLUMBERG             DANIEL                NY         10387100         WEITZ & LUXENBERG, PC                                BOGAR                MOUNA                 NY         10835600         WEITZ & LUXENBERG, PC
BLUMENBERG           ERNEST                NY         10313800         WEITZ & LUXENBERG, PC                                BOGARDUS             ARTHUR                NY         11026702         WEITZ & LUXENBERG, PC
BLUMENBERG           ERNEST J              NY         10313800         WEITZ & LUXENBERG, PC                                BOGARDUS             ARTHUR C              NY         11026702         WEITZ & LUXENBERG, PC
BLUMENBERG           FLORENCE              NY         10313800         WEITZ & LUXENBERG, PC                                BOGARDUS             MILDRED               NY         11026702         WEITZ & LUXENBERG, PC
BOAL                 EMILY                 NY         12579500         WEITZ & LUXENBERG, PC                                BOGARDUS             MILDRED E             NY         11026702         WEITZ & LUXENBERG, PC
BOAL                 EMILY                 NY         11938800         WEITZ & LUXENBERG, PC                                BOGATKA              JOSEPH                NY         10700302         WEITZ & LUXENBERG, PC
BOAL                 PATRICK               NY         12579500         WEITZ & LUXENBERG, PC                                BOGATKA              JOSEPH                NY         11071502         WEITZ & LUXENBERG, PC
BOAL                 PATRICK               NY         11938800         WEITZ & LUXENBERG, PC                                BOGATY               MORTON                NY         1902062016       WEITZ & LUXENBERG, PC
BOBBIE               GILBERT R             NY         11032506         WEITZ & LUXENBERG, PC                                BOGATY               RHONDA J              NY         1902062016       WEITZ & LUXENBERG, PC
BOBBIE               GLORIA J              NY         11032506         WEITZ & LUXENBERG, PC                                BOGGAN               MARY                  NY         10516802         WEITZ & LUXENBERG, PC
BOBECK               JOANNE                NY         99113153         WEITZ & LUXENBERG, PC                                BOGUHN               JOHN F                NY         10388600         WEITZ & LUXENBERG, PC
BOBECK               JOSEPH E              NY         99113153         WEITZ & LUXENBERG, PC                                BOGUS                CONSTATINE            NY         97119446         WEITZ & LUXENBERG, PC
BOBECK               THOMAS                NY         99113153         WEITZ & LUXENBERG, PC                                BOGUS                VIVIAN                NY         97119446         WEITZ & LUXENBERG, PC
BOBKO                JOHN WILLIAM          NY         11772698         WEITZ & LUXENBERG, PC                                BOGUSZ               GARY MICHAEL          NY         10313300         WEITZ & LUXENBERG, PC
BOBROWICZ            JAMES                 NY         10612799         WEITZ & LUXENBERG, PC                                BOGUSZ               KAREN                 NY         10313300         WEITZ & LUXENBERG, PC
BOBROWICZ            RITA                  NY         10612799         WEITZ & LUXENBERG, PC                                BOHEN                ROBERT                NY         19027211         WEITZ & LUXENBERG, PC
BOCACH               JOEL A                NY         11646403         WEITZ & LUXENBERG, PC                                BOHLMANN             GEORGE                NY         11026902         WEITZ & LUXENBERG, PC
BOCCAFOLA            JOSEPH V              NY         6050322017       WEITZ & LUXENBERG, PC                                BOHLMANN             SUSAN                 NY         11026902         WEITZ & LUXENBERG, PC
BOCCIA               FRANCES               NY         02106508         WEITZ & LUXENBERG, PC                                BOHNENBERGER         BARBARA               NY         1904532014       WEITZ & LUXENBERG, PC
BOCCIA               FRANCES               NY         11084402         WEITZ & LUXENBERG, PC                                BOHNENBERGER         WALTER                NY         1904532014       WEITZ & LUXENBERG, PC
BOCCIA               FRANK                 NY         02106508         WEITZ & LUXENBERG, PC                                BOHRER               CHARLEEN B            NY         12668502         WEITZ & LUXENBERG, PC
BOCCIA               FRANK                 NY         11084402         WEITZ & LUXENBERG, PC                                BOHRER               RICHARD EUGENE        NY         12668502         WEITZ & LUXENBERG, PC
BOCCIA               SALVATORE             NY         02106508         WEITZ & LUXENBERG, PC                                BOIANO               ANTHONY               NY         01111223         WEITZ & LUXENBERG, PC
BOCCIA               SALVATORE             NY         11084402         WEITZ & LUXENBERG, PC                                BOICE                JOANN L               NY         10722202         WEITZ & LUXENBERG, PC
BOCCIO               CECILIA               NY         10612899         WEITZ & LUXENBERG, PC                                BOICE                THOMAS ELMER          NY         10722202         WEITZ & LUXENBERG, PC
BOCCIO               JOSEPH                NY         11159303         WEITZ & LUXENBERG, PC                                BOISMIER             MARGARET              NY         CV015603         WEITZ & LUXENBERG, PC
BOCCIO               NICHOLAS P            NY         10612899         WEITZ & LUXENBERG, PC                                BOISMIER             MICHAEL J             NY         CV015603         WEITZ & LUXENBERG, PC
BOCCUZZI             GIACOMO               NY         99113152         WEITZ & LUXENBERG, PC                                BOISVERT             LAWRENCE JOSEPH       NY         02106579         WEITZ & LUXENBERG, PC
BOCCUZZI             HILDEGARDE            NY         19010509         WEITZ & LUXENBERG, PC                                BOIUSO               SANTI J               NY         12039901         WEITZ & LUXENBERG, PC
BOCCUZZI             JAMES                 NY         19010509         WEITZ & LUXENBERG, PC                                BOLAS                DANIEL J              NY         02120431         WEITZ & LUXENBERG, PC
BOCCUZZI             MARIA                 NY         99113152         WEITZ & LUXENBERG, PC                                BOLAS                EDWARD P              NY         02120431         WEITZ & LUXENBERG, PC
BOCHNIASZ            GLADYS                NY         10091803         WEITZ & LUXENBERG, PC                                BOLCAS               GEORGE                NY         10525600         WEITZ & LUXENBERG, PC
BOCHNIASZ            RONALD J              NY         10091803         WEITZ & LUXENBERG, PC                                BOLCAS               PAULINE               NY         10525600         WEITZ & LUXENBERG, PC
BOCK                 JENNIFER              NY         10630799         WEITZ & LUXENBERG, PC                                BOLD                 WILLIAM B             NY         12579800         WEITZ & LUXENBERG, PC
BOCK                 JOSEPH                NY         12579600         WEITZ & LUXENBERG, PC                                BOLD                 WILLIAM B             NY         11938800         WEITZ & LUXENBERG, PC
BOCK                 JOSEPH                NY         11938800         WEITZ & LUXENBERG, PC                                BOLDEN               JOHN                  NY         11158903         WEITZ & LUXENBERG, PC
BOCK                 LORRAINE V            NY         12579600         WEITZ & LUXENBERG, PC                                BOLDEN               RACHEL E              NY         11479600         WEITZ & LUXENBERG, PC
BOCK                 LORRAINE V            NY         11938800         WEITZ & LUXENBERG, PC                                BOLDT                EDWIN                 NY         10700102         WEITZ & LUXENBERG, PC
BOCKHORN             HARRY                 NY         10313700         WEITZ & LUXENBERG, PC                                BOLDT                KATHLEEN A            NY         10700102         WEITZ & LUXENBERG, PC
BODAH                HOWARD J              NY         10587402         WEITZ & LUXENBERG, PC                                BOLEN                ROBERT H              NY         01111227         WEITZ & LUXENBERG, PC
BODAH                HOWARD J              NY         10995102         WEITZ & LUXENBERG, PC                                BOLIVER              FRANCES               NY         99106129         WEITZ & LUXENBERG, PC
BODAH                SUSIE ROTH            NY         10587402         WEITZ & LUXENBERG, PC                                BOLIVER              RICHARD A             NY         99106129         WEITZ & LUXENBERG, PC
BODAH                SUSIE ROTH            NY         10995102         WEITZ & LUXENBERG, PC                                BOLLING              DELIA                 NY         1901172018       WEITZ & LUXENBERG, PC
BODDEN               CLIFTON M             NY         1901192016       WEITZ & LUXENBERG, PC                                BOLLING              THOMAS H              NY         1901172018       WEITZ & LUXENBERG, PC
BODDEN               SANDRA                NY         1901192016       WEITZ & LUXENBERG, PC                                BOLLWEG              VICTORIA              NY         19000312         WEITZ & LUXENBERG, PC
BODEN                EDWIN                 NY         10313600         WEITZ & LUXENBERG, PC                                BOLLWEG              WILLIAM M             NY         19000312         WEITZ & LUXENBERG, PC
BODEN                RITA                  NY         10056206         WEITZ & LUXENBERG, PC                                BOLSTAD              AMANDA                NY         12590802         WEITZ & LUXENBERG, PC
BODEN                SUSANNE               NY         10313600         WEITZ & LUXENBERG, PC                                BOLSTAD              GORDAN H              NY         12590802         WEITZ & LUXENBERG, PC
BODEN                VINCENT W             NY         10056206         WEITZ & LUXENBERG, PC                                BOLTEN               WILLIAM J             NY         19035011         WEITZ & LUXENBERG, PC
BODNAR               JULIANNA              NY         11060000         WEITZ & LUXENBERG, PC                                BOLTON               KATHERINE L           NY         CV013921         WEITZ & LUXENBERG, PC
BODNAR               JULIANNA              NY         10835600         WEITZ & LUXENBERG, PC                                BOLZ                 SHEILA J              NY         02105716         WEITZ & LUXENBERG, PC
BODNAR               STEVE                 NY         11060000         WEITZ & LUXENBERG, PC                                BOLZ                 SHEILA J              NY         11168502         WEITZ & LUXENBERG, PC
BODNAR               STEVE                 NY         10835600         WEITZ & LUXENBERG, PC                                BOMBA                NICHOLAS M            NY         122981           WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 869
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 204 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BOMBARD              NANCY                 NY         12580000         WEITZ & LUXENBERG, PC                                BONGIOVANNI          ROBERT                NY         11104203         WEITZ & LUXENBERG, PC
BOMBARD              NANCY                 NY         11938800         WEITZ & LUXENBERG, PC                                BONGIOVI             DOUGLAS H             NY         1902182018       WEITZ & LUXENBERG, PC
BOMBARD              ROBERT                NY         12580000         WEITZ & LUXENBERG, PC                                BONGO                MARGARET              NY         10613199         WEITZ & LUXENBERG, PC
BOMBARD              ROBERT                NY         11938800         WEITZ & LUXENBERG, PC                                BONGO                PETER M               NY         10613199         WEITZ & LUXENBERG, PC
BOMBARD              ROBERT F              NY         11146801         WEITZ & LUXENBERG, PC                                BONI                 HANNELORE             NY         11740700         WEITZ & LUXENBERG, PC
BOMBARD              RONALD J              NY         10680602         WEITZ & LUXENBERG, PC                                BONI                 JOSEPH B              NY         02106709         WEITZ & LUXENBERG, PC
BOMBARD              ROSE MARIE            NY         10680602         WEITZ & LUXENBERG, PC                                BONI                 JOSEPH B              NY         11555802         WEITZ & LUXENBERG, PC
BOMBARDIER           JANET                 NY         02106580         WEITZ & LUXENBERG, PC                                BONI                 KATHRYN               NY         02106709         WEITZ & LUXENBERG, PC
BOMBARDIER           WILFRID ROBERT        NY         02106580         WEITZ & LUXENBERG, PC                                BONI                 KATHRYN               NY         11555802         WEITZ & LUXENBERG, PC
BOMBARDIERE          ANN MARIA             NY         12038801         WEITZ & LUXENBERG, PC                                BONI                 MAURIZIO              NY         11740700         WEITZ & LUXENBERG, PC
BOMBARDIERE          LEROY                 NY         12038801         WEITZ & LUXENBERG, PC                                BONICI               PRIMO J               NY         12213801         WEITZ & LUXENBERG, PC
BOMSER               IRWIN                 NY         01111221         WEITZ & LUXENBERG, PC                                BONICI               PRIMO J               NY         10276602         WEITZ & LUXENBERG, PC
BOMSER               JEAN                  NY         01111221         WEITZ & LUXENBERG, PC                                BONICI               THERESA               NY         12213801         WEITZ & LUXENBERG, PC
BOMZER               ESTHER                NY         10604902         WEITZ & LUXENBERG, PC                                BONICI               THERESA               NY         10276602         WEITZ & LUXENBERG, PC
BOMZER               ESTHER                NY         12100401         WEITZ & LUXENBERG, PC                                BONIFICIO            ANTHONY A             NY         10390200         WEITZ & LUXENBERG, PC
BOMZER               STANLEY S             NY         10604902         WEITZ & LUXENBERG, PC                                BONIFICIO            JOAN                  NY         10390200         WEITZ & LUXENBERG, PC
BOMZER               STANLEY S             NY         12100401         WEITZ & LUXENBERG, PC                                BONILLA              JAMES                 NY         10613499         WEITZ & LUXENBERG, PC
BONACCI              MARY DEFAZIO          NY         12039001         WEITZ & LUXENBERG, PC                                BONILLA              MERCEDES              NY         11938800         WEITZ & LUXENBERG, PC
BONACCI              MICHAEL J             NY         12039001         WEITZ & LUXENBERG, PC                                BONILLA              MIGUEL                NY         11938800         WEITZ & LUXENBERG, PC
BONACKER             HAROLD V              NY         11327802         WEITZ & LUXENBERG, PC                                BONILLA              NAOMI SANCHEZ         NY         10613499         WEITZ & LUXENBERG, PC
BONACKER             MARY RITA             NY         11327802         WEITZ & LUXENBERG, PC                                BONNEAU              BARB                  NY         10390100         WEITZ & LUXENBERG, PC
BONACKER             WILLIAM JOSEPH        NY         10388300         WEITZ & LUXENBERG, PC                                BONNEAU              LEO P                 NY         10390100         WEITZ & LUXENBERG, PC
BONANNO              FRANCES               NY         10700302         WEITZ & LUXENBERG, PC                                BONNELL              CURTIS L              NY         10701904         WEITZ & LUXENBERG, PC
BONANNO              FRANCES               NY         10920702         WEITZ & LUXENBERG, PC                                BONNELL              MARTHA J              NY         10701904         WEITZ & LUXENBERG, PC
BONANNO              GARY JOHN             NY         02106580         WEITZ & LUXENBERG, PC                                BONNICI              CHESTER A             NY         99106135         WEITZ & LUXENBERG, PC
BONANNO              GIACOMO J             NY         10700302         WEITZ & LUXENBERG, PC                                BONOCORE             ANTOINETTE            NY         11314999         WEITZ & LUXENBERG, PC
BONANNO              GIACOMO J             NY         10920702         WEITZ & LUXENBERG, PC                                BONOCORE             ERNESTO               NY         11314999         WEITZ & LUXENBERG, PC
BONANNO              ROBERT A              NY         10313200         WEITZ & LUXENBERG, PC                                BONORA               NESTOR                NY         01111218         WEITZ & LUXENBERG, PC
BONANO               FRANK                 NY         12039701         WEITZ & LUXENBERG, PC                                BONTA                GEORGE L              NY         10313000         WEITZ & LUXENBERG, PC
BONANO               FRANK                 NY         10509602         WEITZ & LUXENBERG, PC                                BONTA                MARY                  NY         10313000         WEITZ & LUXENBERG, PC
BONANO               GUILIANA              NY         12039701         WEITZ & LUXENBERG, PC                                BONVICINO            PATRICIA              NY         11026902         WEITZ & LUXENBERG, PC
BONANO               GUILIANA              NY         10509602         WEITZ & LUXENBERG, PC                                BONVICINO            WILLIAM A             NY         11026902         WEITZ & LUXENBERG, PC
BONANZA              CAROL                 NY         02106508         WEITZ & LUXENBERG, PC                                BONVILLE             LINDA A               NY         10716702         WEITZ & LUXENBERG, PC
BONANZA              ROBERT                NY         02106508         WEITZ & LUXENBERG, PC                                BONVILLE             ROBERT P              NY         10716702         WEITZ & LUXENBERG, PC
BONAPARTE            JOSEPH LOUIS          NY         110460           WEITZ & LUXENBERG, PC                                BONVISSUTO           ANGELO                NY         99113148         WEITZ & LUXENBERG, PC
BONASIA              IDA                   NY         12580100         WEITZ & LUXENBERG, PC                                BONVISSUTO           RALPH                 NY         99113148         WEITZ & LUXENBERG, PC
BONASIA              IDA                   NY         11938800         WEITZ & LUXENBERG, PC                                BOOK                 JOAN ALENE            NY         12039201         WEITZ & LUXENBERG, PC
BONASIA              VINCENT               NY         12580100         WEITZ & LUXENBERG, PC                                BOOK                 WILLIAM               NY         12039201         WEITZ & LUXENBERG, PC
BONASIA              VINCENT               NY         11938800         WEITZ & LUXENBERG, PC                                BOOKER               CLAYBURN              NY         01CIV3901        WEITZ & LUXENBERG, PC
BONCZAR              FRANCIS J             NY         10740502         WEITZ & LUXENBERG, PC                                BOOKER               DOLORES               NY         99106136         WEITZ & LUXENBERG, PC
BOND                 ALFRED                NY         10388100         WEITZ & LUXENBERG, PC                                BOOKER               ELOISE                NY         1905512012       WEITZ & LUXENBERG, PC
BOND                 BERNICE F             NY         10313100         WEITZ & LUXENBERG, PC                                BOOKER               GEORGE                NY         02122050         WEITZ & LUXENBERG, PC
BOND                 CAROL                 NY         11026902         WEITZ & LUXENBERG, PC                                BOOKER               PATRICK               NY         01CIV3901        WEITZ & LUXENBERG, PC
BOND                 EDWARD E              NY         11026902         WEITZ & LUXENBERG, PC                                BOOKER               WILLIAM F             NY         99106136         WEITZ & LUXENBERG, PC
BOND                 JAMES D               NY         10388200         WEITZ & LUXENBERG, PC                                BOOMER               EZEKIEL               NY         00105290         WEITZ & LUXENBERG, PC
BOND                 JEAN                  NY         10388200         WEITZ & LUXENBERG, PC                                BOOMER               MARGARET L            NY         00105290         WEITZ & LUXENBERG, PC
BOND                 ROBERT A              NY         10313100         WEITZ & LUXENBERG, PC                                BOOMER               WAYNE                 NY         00105290         WEITZ & LUXENBERG, PC
BONDARCHUK           HARRY                 NY         10004802         WEITZ & LUXENBERG, PC                                BOONE                JANET E               NY         10134107         WEITZ & LUXENBERG, PC
BONDARCHUK           MARIE E               NY         10004802         WEITZ & LUXENBERG, PC                                BOONE                LAWRENCE A            NY         12668702         WEITZ & LUXENBERG, PC
BONDS                HERBERT S             NY         02113280         WEITZ & LUXENBERG, PC                                BOONE                LORA                  NY         12668702         WEITZ & LUXENBERG, PC
BONE                 DELORIS               NY         12779502         WEITZ & LUXENBERG, PC                                BOONE                RANDY W               NY         10134107         WEITZ & LUXENBERG, PC
BONE                 ROBERT FRANKLIN       NY         12779502         WEITZ & LUXENBERG, PC                                BOOR                 LINDA J               NY         10740202         WEITZ & LUXENBERG, PC
BONELLI              JOHN                  NY         12580200         WEITZ & LUXENBERG, PC                                BOOR                 ROSS C                NY         10740202         WEITZ & LUXENBERG, PC
BONELLI              JOHN                  NY         11938800         WEITZ & LUXENBERG, PC                                BOORUM               GERALDINE             NY         11314799         WEITZ & LUXENBERG, PC
BONELLI              MARIA                 NY         12580200         WEITZ & LUXENBERG, PC                                BOORUM               ROBERT                NY         11314799         WEITZ & LUXENBERG, PC
BONELLI              MARIA                 NY         11938800         WEITZ & LUXENBERG, PC                                BOOS                 JOSEPHINE             NY         10134500         WEITZ & LUXENBERG, PC
BONETA               JANE                  NY         02119174         WEITZ & LUXENBERG, PC                                BOOTH                CHARLES               NY         02107102         WEITZ & LUXENBERG, PC
BONETA               JOHN                  NY         02119174         WEITZ & LUXENBERG, PC                                BOOTH                DAWN                  NY         02107102         WEITZ & LUXENBERG, PC
BONETTI              GIOCONDA              NY         10859702         WEITZ & LUXENBERG, PC                                BOOTH                GARY                  NY         12668102         WEITZ & LUXENBERG, PC
BONETTI              GIOVANI               NY         10859702         WEITZ & LUXENBERG, PC                                BOOTH                JOHN MICHAEL          NY         12668702         WEITZ & LUXENBERG, PC
BONFANTE             ELEANOR               NY         10500101         WEITZ & LUXENBERG, PC                                BOOTH                JOHN MICHAEL          NY         10464903         WEITZ & LUXENBERG, PC
BONFANTE             GIUSEPPE              NY         10500101         WEITZ & LUXENBERG, PC                                BOOTH                MEREDITH              NY         12668102         WEITZ & LUXENBERG, PC
BONFEY               LEANE                 NY         02107004         WEITZ & LUXENBERG, PC                                BORCHERDING          DIANE                 NY         10176400         WEITZ & LUXENBERG, PC
BONFEY               RONALD W              NY         02107004         WEITZ & LUXENBERG, PC                                BORCHERDING          EUGENE W              NY         10176400         WEITZ & LUXENBERG, PC
BONGIORNO            CORINNE J             NY         12343101         WEITZ & LUXENBERG, PC                                BORCHERT             CHRISTINE             NY         11938800         WEITZ & LUXENBERG, PC
BONGIORNO            CORINNE J             NY         01111227         WEITZ & LUXENBERG, PC                                BORCHERT             WILLIE                NY         11938800         WEITZ & LUXENBERG, PC
BONGIORNO            DANIEL C              NY         11395301         WEITZ & LUXENBERG, PC                                BORCINA              CAMILLE               NY         10073103         WEITZ & LUXENBERG, PC
BONGIORNO            JOSEPH                NY         12343101         WEITZ & LUXENBERG, PC                                BORCINA              DAVID                 NY         10073103         WEITZ & LUXENBERG, PC
BONGIORNO            JOSEPH                NY         01111227         WEITZ & LUXENBERG, PC                                BORCSOK              LINA                  NY         10390000         WEITZ & LUXENBERG, PC
BONGIORNO            WILLIAM               NY         10073103         WEITZ & LUXENBERG, PC                                BORCSOK              MIHALY                NY         10390000         WEITZ & LUXENBERG, PC
BONGIOVANNI          LINDA                 NY         11104203         WEITZ & LUXENBERG, PC                                BORDEAU              MARY                  NY         1903652017       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 870
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 205 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BORDEAU              MARY                  DE         N18C02140ASB     WEITZ & LUXENBERG, PC                                BORY                 GEORGE G              NY         10312800         WEITZ & LUXENBERG, PC
BORDEAU              MICHAEL               NY         1903652017       WEITZ & LUXENBERG, PC                                BORYSEWICZ           COLLEEN M             NY         99106420         WEITZ & LUXENBERG, PC
BORDEAU              MICHAEL               DE         N18C02140ASB     WEITZ & LUXENBERG, PC                                BORYSEWICZ           ROBERT E              NY         99106420         WEITZ & LUXENBERG, PC
BORDEN               GAYLE                 NY         10389900         WEITZ & LUXENBERG, PC                                BORYSZEWSKI          STEPHENSON            NY         99106137         WEITZ & LUXENBERG, PC
BORDEN               KEITH                 NY         11856198         WEITZ & LUXENBERG, PC                                BORYSZEWSKI          THERESA               NY         99106137         WEITZ & LUXENBERG, PC
BORDEN               PAMELA                NY         11856198         WEITZ & LUXENBERG, PC                                BORZA                JOSEPH F              NY         10740202         WEITZ & LUXENBERG, PC
BORDEN               TEX H                 NY         10389900         WEITZ & LUXENBERG, PC                                BORZA                THOMASINA T           NY         10740202         WEITZ & LUXENBERG, PC
BORDONARO            LAWRENCE S            NY         10722102         WEITZ & LUXENBERG, PC                                BORZELLERI           LOUISE M              NY         11131202         WEITZ & LUXENBERG, PC
BORDONARO            LAWRENCE S            NY         11314902         WEITZ & LUXENBERG, PC                                BORZELLERI           LOUISE M              NY         10699902         WEITZ & LUXENBERG, PC
BORDONARO            SHIRLEY               NY         10722102         WEITZ & LUXENBERG, PC                                BORZELLERI           SANTO A               NY         11131202         WEITZ & LUXENBERG, PC
BORDONARO            SHIRLEY               NY         11314902         WEITZ & LUXENBERG, PC                                BORZELLERI           SANTO A               NY         10699902         WEITZ & LUXENBERG, PC
BORDONARO            THOMAS                NY         11979501         WEITZ & LUXENBERG, PC                                BORZYMOWSKI          NANCY                 NY         12581200         WEITZ & LUXENBERG, PC
BORDONARO            THOMAS                NY         11123201         WEITZ & LUXENBERG, PC                                BORZYMOWSKI          NANCY                 NY         11938800         WEITZ & LUXENBERG, PC
BORDONE              GIACOMO               NY         1901552016       WEITZ & LUXENBERG, PC                                BORZYMOWSKI          ROBERT                NY         12581200         WEITZ & LUXENBERG, PC
BORDONE              GIOVANNA              NY         1901552016       WEITZ & LUXENBERG, PC                                BORZYMOWSKI          ROBERT                NY         11938800         WEITZ & LUXENBERG, PC
BORELLI              ANNE E                NY         10835500         WEITZ & LUXENBERG, PC                                BOSCAGLIA            RICHARD J             NY         10312700         WEITZ & LUXENBERG, PC
BORELLI              JOAN                  NY         10378604         WEITZ & LUXENBERG, PC                                BOSCOLO              MARINO                NY         10312600         WEITZ & LUXENBERG, PC
BORELLI              RALPH N               NY         10835500         WEITZ & LUXENBERG, PC                                BOSCOLO              RITA                  NY         10312600         WEITZ & LUXENBERG, PC
BORELLI              RAYMOND               NY         10378604         WEITZ & LUXENBERG, PC                                BOSON                SYLVESTER             NY         CV003590         WEITZ & LUXENBERG, PC
BORELLI              ROBERT                NY         12039901         WEITZ & LUXENBERG, PC                                BOSS                 RAYMOND F             NY         02107099         WEITZ & LUXENBERG, PC
BORELLI              SHARON                NY         12039901         WEITZ & LUXENBERG, PC                                BOSTIC               ROBERT GENE           NY         01CIV3910        WEITZ & LUXENBERG, PC
BORELLO              ANN                   NY         11318499         WEITZ & LUXENBERG, PC                                BOSTON               MERTHA                NY         02106508         WEITZ & LUXENBERG, PC
BORELLO              GAETANO               NY         11318499         WEITZ & LUXENBERG, PC                                BOSTON               ROBERT                NY         02106508         WEITZ & LUXENBERG, PC
BOREY                ARTHUR J              NY         10696502         WEITZ & LUXENBERG, PC                                BOSTWICK             JOYCE E               NY         11318399         WEITZ & LUXENBERG, PC
BOREY                BARBARA J             NY         10696502         WEITZ & LUXENBERG, PC                                BOSTWICK             RONALD B              NY         11318399         WEITZ & LUXENBERG, PC
BORGERSEN            ARTHUR L              NY         12039901         WEITZ & LUXENBERG, PC                                BOSTWICK             WILLIAM               NY         12581300         WEITZ & LUXENBERG, PC
BORGERSEN            MILDRED               NY         12039901         WEITZ & LUXENBERG, PC                                BOSTWICK             WILLIAM               NY         11938800         WEITZ & LUXENBERG, PC
BORGESE              JOSEPH                NY         11507698         WEITZ & LUXENBERG, PC                                BOTT                 DAVID                 NY         12788802         WEITZ & LUXENBERG, PC
BORGESE              PATRICIA              NY         11507698         WEITZ & LUXENBERG, PC                                BOTTALICO            ROSA P                NY         12693502         WEITZ & LUXENBERG, PC
BORGSTROM            CHARLES H             NY         12580500         WEITZ & LUXENBERG, PC                                BOTTALICO            ROSA P                NY         10419203         WEITZ & LUXENBERG, PC
BORGSTROM            CHARLES H             NY         11938800         WEITZ & LUXENBERG, PC                                BOTTALICO            VITO                  NY         12693502         WEITZ & LUXENBERG, PC
BORGSTROM            PATRICIA              NY         12580500         WEITZ & LUXENBERG, PC                                BOTTALICO            VITO                  NY         10419203         WEITZ & LUXENBERG, PC
BORGSTROM            PATRICIA              NY         11938800         WEITZ & LUXENBERG, PC                                BOTTEGA              HOLLY                 NY         1900292016       WEITZ & LUXENBERG, PC
BORLAND              JAMES F               NY         10048405         WEITZ & LUXENBERG, PC                                BOTTEGA              JOHN                  NY         1900292016       WEITZ & LUXENBERG, PC
BORLAND              MARGARET              NY         10048405         WEITZ & LUXENBERG, PC                                BOTTI                DOMINIC J             NY         10587102         WEITZ & LUXENBERG, PC
BORMAN               VIRGINIA              NY         98115077         WEITZ & LUXENBERG, PC                                BOTTI                HELEN                 NY         10587102         WEITZ & LUXENBERG, PC
BORMANN              FREDERICK J           NY         98115077         WEITZ & LUXENBERG, PC                                BOTTONE              ALFONSO               NY         11318299         WEITZ & LUXENBERG, PC
BORN                 HENRY J               NY         02107099         WEITZ & LUXENBERG, PC                                BOTVINICK            DARA                  NJ         MIDL00718419AS   WEITZ & LUXENBERG, PC
BORN                 MARIE                 NY         02107099         WEITZ & LUXENBERG, PC                                BOTVINICK            MICHAEL               NJ         MIDL00718419AS   WEITZ & LUXENBERG, PC
BORNSTEIN            FRANCES               NY         CV014256         WEITZ & LUXENBERG, PC                                BOTVINICK            SONDRA ANN            NJ         MIDL00718419AS   WEITZ & LUXENBERG, PC
BORNSTEIN            LOUIS E               NY         CV014256         WEITZ & LUXENBERG, PC                                BOUBLIS              JEROME C              NY         11318199         WEITZ & LUXENBERG, PC
BORODZIK             FRANK L               NY         11938800         WEITZ & LUXENBERG, PC                                BOUCHARD             HELEN ROSE            NY         10740302         WEITZ & LUXENBERG, PC
BORODZIK             HELEN                 NY         11938800         WEITZ & LUXENBERG, PC                                BOUCHARD             HELEN ROSE            NY         11413502         WEITZ & LUXENBERG, PC
BOROSKI              JAMES                 NY         11507898         WEITZ & LUXENBERG, PC                                BOUCHARD             NORMAN P              NY         10740302         WEITZ & LUXENBERG, PC
BOROSKI              NANCY A               NY         11507898         WEITZ & LUXENBERG, PC                                BOUCHARD             NORMAN P              NY         11413502         WEITZ & LUXENBERG, PC
BOROWCZYK            SOPHIA                NY         98121896         WEITZ & LUXENBERG, PC                                BOUCHARD             WILLIAM F             NY         10035002         WEITZ & LUXENBERG, PC
BOROWICZ             HELEN                 NY         10670602         WEITZ & LUXENBERG, PC                                BOUCK                DALE                  NY         10008703         WEITZ & LUXENBERG, PC
BOROWICZ             JOHN                  NY         10670602         WEITZ & LUXENBERG, PC                                BOUDERAU             DENNIS D              NY         1902262018       WEITZ & LUXENBERG, PC
BOROWSKI             ANNETTE J             NY         12203098         WEITZ & LUXENBERG, PC                                BOUDERAU             HELEN                 NY         1902262018       WEITZ & LUXENBERG, PC
BOROWSKI             HENRY G               NY         02120615         WEITZ & LUXENBERG, PC                                BOUDREAUX            GLENNA                NY         1901752016       WEITZ & LUXENBERG, PC
BOROWSKI             STELLA                NY         02120615         WEITZ & LUXENBERG, PC                                BOUDREAUX            NICHOLAS              NY         1901752016       WEITZ & LUXENBERG, PC
BORRELLI             ENRICHETTA            NY         11507998         WEITZ & LUXENBERG, PC                                BOUDREAUX            TROY N                NY         1901752016       WEITZ & LUXENBERG, PC
BORRELLI             SALVATORE             NY         11507998         WEITZ & LUXENBERG, PC                                BOUNDY               DEBORAH               NY         11508098         WEITZ & LUXENBERG, PC
BORRERO              LUIS J                NY         10312900         WEITZ & LUXENBERG, PC                                BOUNDY               DOUGLAS               NY         11508098         WEITZ & LUXENBERG, PC
BORSCHEL             DARWIN W              NY         10716902         WEITZ & LUXENBERG, PC                                BOUQUARD             ISABELLE              NY         02106707         WEITZ & LUXENBERG, PC
BORSELLA             GRACE A               NY         10283602         WEITZ & LUXENBERG, PC                                BOUQUARD             ISABELLE              NY         11571202         WEITZ & LUXENBERG, PC
BORSELLA             JOSEPH                NY         10283602         WEITZ & LUXENBERG, PC                                BOUQUARD             THOMAS J              NY         02106707         WEITZ & LUXENBERG, PC
BORST                ERNEST                NY         12581000         WEITZ & LUXENBERG, PC                                BOUQUARD             THOMAS J              NY         11571202         WEITZ & LUXENBERG, PC
BORST                ERNEST                NY         11938800         WEITZ & LUXENBERG, PC                                BOURDOM              GERALD                NY         12581400         WEITZ & LUXENBERG, PC
BORST                HOWARD J              NY         10389800         WEITZ & LUXENBERG, PC                                BOURDOM              GERALD                NY         11938800         WEITZ & LUXENBERG, PC
BORST                LUELLA                NY         12581000         WEITZ & LUXENBERG, PC                                BOURDOM              MABEL                 NY         12581400         WEITZ & LUXENBERG, PC
BORST                LUELLA                NY         11938800         WEITZ & LUXENBERG, PC                                BOURDOM              MABEL                 NY         11938800         WEITZ & LUXENBERG, PC
BORST                PAT                   NY         12581100         WEITZ & LUXENBERG, PC                                BOURGAL              MARY JANE             NY         10403902         WEITZ & LUXENBERG, PC
BORST                PAT                   NY         11938800         WEITZ & LUXENBERG, PC                                BOURGAL              THOMAS C              NY         10403902         WEITZ & LUXENBERG, PC
BORST                ROBERT ALBERT         NY         12581100         WEITZ & LUXENBERG, PC                                BOURGOIN             JEANNIE               NY         CV021247         WEITZ & LUXENBERG, PC
BORST                ROBERT ALBERT         NY         11938800         WEITZ & LUXENBERG, PC                                BOUSA                JOHN                  NY         12581500         WEITZ & LUXENBERG, PC
BORST                ROSETTA               NY         10389800         WEITZ & LUXENBERG, PC                                BOUSA                JOHN                  NY         11938800         WEITZ & LUXENBERG, PC
BORUCINSKI           ANNA                  NY         10133807         WEITZ & LUXENBERG, PC                                BOUTON               BONITA                NY         12788802         WEITZ & LUXENBERG, PC
BORUCINSKI           JOHN E                NY         10133807         WEITZ & LUXENBERG, PC                                BOUTON               DAVID                 NY         12788802         WEITZ & LUXENBERG, PC
BORWEGEN             DOREEN M              NY         02105716         WEITZ & LUXENBERG, PC                                BOVEE                BONNIE                NY         12109602         WEITZ & LUXENBERG, PC
BORWEGEN             RICHARD C             NY         02105716         WEITZ & LUXENBERG, PC                                BOVEE                BONNIE                NY         11327602         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 871
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 206 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BOWDEN               CHARLOTTE             NY         11508198         WEITZ & LUXENBERG, PC                                BOYD                 ROSE                  NY         01CIV3895        WEITZ & LUXENBERG, PC
BOWDEN               HAROLD                NY         11508198         WEITZ & LUXENBERG, PC                                BOYD                 THOMAS M              NY         10852804         WEITZ & LUXENBERG, PC
BOWDISH              ALBERT                NY         12581600         WEITZ & LUXENBERG, PC                                BOYD                 WARREN HARDING        NY         10908402         WEITZ & LUXENBERG, PC
BOWDISH              ALBERT                NY         11938800         WEITZ & LUXENBERG, PC                                BOYD                 WILLIE E              NY         10312200         WEITZ & LUXENBERG, PC
BOWDISH              EDITH                 NY         12581600         WEITZ & LUXENBERG, PC                                BOYD                 WINIFRED              NY         1903592014       WEITZ & LUXENBERG, PC
BOWDISH              EDITH                 NY         11938800         WEITZ & LUXENBERG, PC                                BOYER                CHERYL ANN            NY         02120706         WEITZ & LUXENBERG, PC
BOWDRY               JESSIE                NY         1904492012       WEITZ & LUXENBERG, PC                                BOYER                CHERYL ANN            NY         12756802         WEITZ & LUXENBERG, PC
BOWEN                BERESFORD             NY         11159403         WEITZ & LUXENBERG, PC                                BOYER                DORIS J               NY         10389600         WEITZ & LUXENBERG, PC
BOWEN                CLAYTON               NY         I20019783        WEITZ & LUXENBERG, PC                                BOYER                EDWARD                NY         10414501         WEITZ & LUXENBERG, PC
BOWEN                FRANCIS               NY         99113180         WEITZ & LUXENBERG, PC                                BOYER                EMANUEL F             NY         02120706         WEITZ & LUXENBERG, PC
BOWEN                IRMA                  NY         11159403         WEITZ & LUXENBERG, PC                                BOYER                EMANUEL F             NY         12756802         WEITZ & LUXENBERG, PC
BOWEN                JOHN                  NY         12581700         WEITZ & LUXENBERG, PC                                BOYER                HAROLD H              NY         10389600         WEITZ & LUXENBERG, PC
BOWEN                JOHN                  NY         11938800         WEITZ & LUXENBERG, PC                                BOYER                JOYCE E               NY         10587402         WEITZ & LUXENBERG, PC
BOWEN                LEONARD D             NY         99106139         WEITZ & LUXENBERG, PC                                BOYER                JOYCE E               NY         10990402         WEITZ & LUXENBERG, PC
BOWEN                LEROY LEWIS           NY         10634599         WEITZ & LUXENBERG, PC                                BOYER                MARY J                NY         10414501         WEITZ & LUXENBERG, PC
BOWEN                MARY                  NY         12581700         WEITZ & LUXENBERG, PC                                BOYKIN               CLARA                 NY         11317999         WEITZ & LUXENBERG, PC
BOWEN                MARY                  NY         11938800         WEITZ & LUXENBERG, PC                                BOYKIN               FRED                  NY         11317999         WEITZ & LUXENBERG, PC
BOWEN                MILDRED E             NY         10634599         WEITZ & LUXENBERG, PC                                BOYKIN               ORLANDO A             NY         99113178         WEITZ & LUXENBERG, PC
BOWEN                NOBLE M               NY         11740800         WEITZ & LUXENBERG, PC                                BOYLAN               FILOMENA              NY         10817204         WEITZ & LUXENBERG, PC
BOWEN                NORMAN C              NY         1903222015       WEITZ & LUXENBERG, PC                                BOYLAN               GEORGE                NY         10817204         WEITZ & LUXENBERG, PC
BOWEN                RENEE                 NY         11740800         WEITZ & LUXENBERG, PC                                BOYLAN               JOHN R                NY         12270001         WEITZ & LUXENBERG, PC
BOWEN-MILLER         MARY                  NY         1903502016       WEITZ & LUXENBERG, PC                                BOYLAN               SUSAN K               NY         12270001         WEITZ & LUXENBERG, PC
BOWER                JOHN S                NY         1902072013       WEITZ & LUXENBERG, PC                                BOYLE                ALEXANDER             NY         12582100         WEITZ & LUXENBERG, PC
BOWER                KATHLEEN              NY         1902072013       WEITZ & LUXENBERG, PC                                BOYLE                ALEXANDER             NY         11938800         WEITZ & LUXENBERG, PC
BOWERS               AGNES                 NY         10312500         WEITZ & LUXENBERG, PC                                BOYLE                BERNARD J             NY         01111229         WEITZ & LUXENBERG, PC
BOWERS               CHARLES E             NY         10312500         WEITZ & LUXENBERG, PC                                BOYLE                BRIDGET               NY         10312100         WEITZ & LUXENBERG, PC
BOWLES               RODNEY G              NY         10740302         WEITZ & LUXENBERG, PC                                BOYLE                HUGH                  NY         01111219         WEITZ & LUXENBERG, PC
BOWLES               SALLY A               NY         10740302         WEITZ & LUXENBERG, PC                                BOYLE                JOHN J                NY         12582000         WEITZ & LUXENBERG, PC
BOWMAN               BRUCE A               NY         12581800         WEITZ & LUXENBERG, PC                                BOYLE                JOHN J                NY         11938800         WEITZ & LUXENBERG, PC
BOWMAN               BRUCE A               NY         11938800         WEITZ & LUXENBERG, PC                                BOYLE                MARGARET              NY         12582100         WEITZ & LUXENBERG, PC
BOWMAN               CARL R                NY         01111227         WEITZ & LUXENBERG, PC                                BOYLE                MARGARET              NY         11938800         WEITZ & LUXENBERG, PC
BOWMAN               EDWARD                NY         19003709         WEITZ & LUXENBERG, PC                                BOYLE                MICHAEL               NY         10312100         WEITZ & LUXENBERG, PC
BOWMAN               ELVIRA                NY         19003709         WEITZ & LUXENBERG, PC                                BOYLES               RAYMOND               NY         10312000         WEITZ & LUXENBERG, PC
BOWMAN               HARDING N             NY         10811299         WEITZ & LUXENBERG, PC                                BOYLES               SUSAN                 NY         10312000         WEITZ & LUXENBERG, PC
BOWMAN               LAVERNE A             NY         10389700         WEITZ & LUXENBERG, PC                                BOZDECH              JOSEPH C              NY         01111218         WEITZ & LUXENBERG, PC
BOWMAN               MARIS S               NY         12581800         WEITZ & LUXENBERG, PC                                BOZDECH              LILLIAN               NY         01111218         WEITZ & LUXENBERG, PC
BOWMAN               MARIS S               NY         11938800         WEITZ & LUXENBERG, PC                                BOZEMAN              QUEEN J               NY         01CIV3907        WEITZ & LUXENBERG, PC
BOWMAN               PHYLLIS               NY         10811299         WEITZ & LUXENBERG, PC                                BOZICH               WALTER N              NY         10311900         WEITZ & LUXENBERG, PC
BOWMAN               ROSALIE A             NY         10389700         WEITZ & LUXENBERG, PC                                BOZICK               KATHY LYNN            NY         11897202         WEITZ & LUXENBERG, PC
BOYARSKI             EDWARD                NY         11501298         WEITZ & LUXENBERG, PC                                BOZZA                GENEVA                NY         11315999         WEITZ & LUXENBERG, PC
BOYARSKI             STELLA                NY         11501298         WEITZ & LUXENBERG, PC                                BOZZA                GEORGE WASHINGTON     NY         11315999         WEITZ & LUXENBERG, PC
BOYCE                ARNOLD                NY         11356702         WEITZ & LUXENBERG, PC                                BRACCI               GERALD J              NY         10716702         WEITZ & LUXENBERG, PC
BOYCE                CAROLE                NY         10634899         WEITZ & LUXENBERG, PC                                BRACCI               LILIA                 NY         10716702         WEITZ & LUXENBERG, PC
BOYCE                CHARLES               NY         10634899         WEITZ & LUXENBERG, PC                                BRACCIA              ANNE                  NY         12039901         WEITZ & LUXENBERG, PC
BOYCE                CURTIS                NY         CV016443         WEITZ & LUXENBERG, PC                                BRACCIA              CARMINE M             NY         12039901         WEITZ & LUXENBERG, PC
BOYCE                DONNA                 NY         CV016443         WEITZ & LUXENBERG, PC                                BRACCINI             LIVIO                 NY         01111226         WEITZ & LUXENBERG, PC
BOYCE                FLORENCE              NY         1901782012       WEITZ & LUXENBERG, PC                                BRACCINI             STEPHANIE             NY         01111226         WEITZ & LUXENBERG, PC
BOYCE                KORLEEN               NY         19003109         WEITZ & LUXENBERG, PC                                BRACCO               ANN                   NY         02122047         WEITZ & LUXENBERG, PC
BOYCE                LEWIS S               NY         1901782012       WEITZ & LUXENBERG, PC                                BRACCO               IMMACOLATA            NY         11034000         WEITZ & LUXENBERG, PC
BOYCE                PATRICIA              NY         10022903         WEITZ & LUXENBERG, PC                                BRACCO               LINO J                NY         11034000         WEITZ & LUXENBERG, PC
BOYCE                ROBERT                NY         19003109         WEITZ & LUXENBERG, PC                                BRACCO               SANTO                 NY         02122047         WEITZ & LUXENBERG, PC
BOYCE                SANDRA                NY         11356702         WEITZ & LUXENBERG, PC                                BRACH                MICHAEL F             NY         1900772019       WEITZ & LUXENBERG, PC
BOYD                 BERNARDINE            NY         10312300         WEITZ & LUXENBERG, PC                                BRACHMANN            BERTHA S              NY         I20019836        WEITZ & LUXENBERG, PC
BOYD                 CHARLES               NY         99106278         WEITZ & LUXENBERG, PC                                BRACHMANN            HENRY A               NY         I20019836        WEITZ & LUXENBERG, PC
BOYD                 CHARLES               NY         01CIV3895        WEITZ & LUXENBERG, PC                                BRACK                ROBERT F              NY         1903082017       WEITZ & LUXENBERG, PC
BOYD                 CHESTER C             NY         12581900         WEITZ & LUXENBERG, PC                                BRACKEN              ENID                  NY         10311800         WEITZ & LUXENBERG, PC
BOYD                 CHESTER C             NY         11938800         WEITZ & LUXENBERG, PC                                BRACKEN              ROBERT                NY         10311800         WEITZ & LUXENBERG, PC
BOYD                 DAN                   NY         19048511         WEITZ & LUXENBERG, PC                                BRACY                KEITH JAN             NY         20016469         WEITZ & LUXENBERG, PC
BOYD                 DAWN                  NY         99106280         WEITZ & LUXENBERG, PC                                BRACY                MARCIA                NY         10311700         WEITZ & LUXENBERG, PC
BOYD                 DONALD CHARLES        NY         10627999         WEITZ & LUXENBERG, PC                                BRACY                ROBERT A              NY         10311700         WEITZ & LUXENBERG, PC
BOYD                 EVIE B                NY         19048511         WEITZ & LUXENBERG, PC                                BRADBURRY            JAMES                 NY         10628199         WEITZ & LUXENBERG, PC
BOYD                 GEORGE G              NY         1903592014       WEITZ & LUXENBERG, PC                                BRADFORD             ANTOINE EUGENE        NY         CV016793         WEITZ & LUXENBERG, PC
BOYD                 JEANETTE              NY         99106278         WEITZ & LUXENBERG, PC                                BRADFORD             ROSE MARY             NY         CV016793         WEITZ & LUXENBERG, PC
BOYD                 LEWIS                 NY         10312300         WEITZ & LUXENBERG, PC                                BRADICA              MILIVOJ               NY         10852504         WEITZ & LUXENBERG, PC
BOYD                 MICHAEL               NY         10627999         WEITZ & LUXENBERG, PC                                BRADICA              NADA                  NY         10852504         WEITZ & LUXENBERG, PC
BOYD                 MONICA                NY         10908402         WEITZ & LUXENBERG, PC                                BRADISH              HENRIETTA             NY         11508298         WEITZ & LUXENBERG, PC
BOYD                 PATRICIA              NY         10852804         WEITZ & LUXENBERG, PC                                BRADISH              JOSEPH                NY         11508298         WEITZ & LUXENBERG, PC
BOYD                 PINKIE                NY         12581900         WEITZ & LUXENBERG, PC                                BRADLE               JULES VINCENT         NY         10311600         WEITZ & LUXENBERG, PC
BOYD                 PINKIE                NY         11938800         WEITZ & LUXENBERG, PC                                BRADLE               NANCY                 NY         10311600         WEITZ & LUXENBERG, PC
BOYD                 RICHARD H             NY         99106280         WEITZ & LUXENBERG, PC                                BRADLEY              BRENDA                NY         11315899         WEITZ & LUXENBERG, PC
BOYD                 ROBERT B              NY         02120709         WEITZ & LUXENBERG, PC                                BRADLEY              CAROL                 NY         19036111         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 872
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 207 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BRADLEY              CAROLE J              NY         10645702         WEITZ & LUXENBERG, PC                                BRAMLEY              ROBERT                NY         10389300         WEITZ & LUXENBERG, PC
BRADLEY              CATHERINE             NY         01121099         WEITZ & LUXENBERG, PC                                BRANCACCIO           JAMES C               NY         99106283         WEITZ & LUXENBERG, PC
BRADLEY              CHARLES               NY         11938800         WEITZ & LUXENBERG, PC                                BRANCACCIO           NANCY                 NY         99106283         WEITZ & LUXENBERG, PC
BRADLEY              CHARLES E             NY         12582200         WEITZ & LUXENBERG, PC                                BRANCH               PEGGY                 NY         10712200         WEITZ & LUXENBERG, PC
BRADLEY              CHARLES R             NY         12582200         WEITZ & LUXENBERG, PC                                BRAND                MARY                  NY         01111234         WEITZ & LUXENBERG, PC
BRADLEY              DORIS                 NY         11315799         WEITZ & LUXENBERG, PC                                BRAND                MARY                  NY         11924701         WEITZ & LUXENBERG, PC
BRADLEY              ELOSKIA               NY         01CIV3898        WEITZ & LUXENBERG, PC                                BRAND                THOMAS                NY         01111234         WEITZ & LUXENBERG, PC
BRADLEY              HATTIE MAE            NY         11501498         WEITZ & LUXENBERG, PC                                BRAND                THOMAS                NY         11924701         WEITZ & LUXENBERG, PC
BRADLEY              IZILL                 NY         11501498         WEITZ & LUXENBERG, PC                                BRANDE               JOSEPH E              NY         10311200         WEITZ & LUXENBERG, PC
BRADLEY              JAMES A               NY         01CIV3910        WEITZ & LUXENBERG, PC                                BRANDE               LUCINDA               NY         10311200         WEITZ & LUXENBERG, PC
BRADLEY              JOHN                  NY         19042909         WEITZ & LUXENBERG, PC                                BRANDENSTEIN         CAROLE L              NY         11123101         WEITZ & LUXENBERG, PC
BRADLEY              MARVIN                NY         CV016794         WEITZ & LUXENBERG, PC                                BRANDENSTEIN         CAROLE L              NY         12047001         WEITZ & LUXENBERG, PC
BRADLEY              MICHAEL               NY         01111222         WEITZ & LUXENBERG, PC                                BRANDENSTEIN         GERARD L              NY         11123101         WEITZ & LUXENBERG, PC
BRADLEY              MILDRED               NY         CV016794         WEITZ & LUXENBERG, PC                                BRANDENSTEIN         GERARD L              NY         12047001         WEITZ & LUXENBERG, PC
BRADLEY              PEGGY                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                BRANDES              GWENDOLYN             NY         10628499         WEITZ & LUXENBERG, PC
BRADLEY              PETER P               NY         01121099         WEITZ & LUXENBERG, PC                                BRANDES              JOHN ROBERT           NY         10628499         WEITZ & LUXENBERG, PC
BRADLEY              RICHARD M             NY         19036111         WEITZ & LUXENBERG, PC                                BRANDIMARTE          CARMELA               NY         10311100         WEITZ & LUXENBERG, PC
BRADLEY              RICHARD THOMAS        NY         10645702         WEITZ & LUXENBERG, PC                                BRANDIMARTE          PETER                 NY         10311100         WEITZ & LUXENBERG, PC
BRADLEY              SARAH                 NY         19042909         WEITZ & LUXENBERG, PC                                BRANDIS              GILL J                NY         1901662017       WEITZ & LUXENBERG, PC
BRADLEY              SHIRLEY M             NY         01CIV3898        WEITZ & LUXENBERG, PC                                BRANDIS              JUDY                  NY         1901662017       WEITZ & LUXENBERG, PC
BRADLEY              WILLIAM               NY         11315899         WEITZ & LUXENBERG, PC                                BRANDSTETTER         CHRISTIAN             NY         12582400         WEITZ & LUXENBERG, PC
BRADLEY              WILLIAM F             NY         11315799         WEITZ & LUXENBERG, PC                                BRANDSTETTER         CHRISTIAN             NY         11938800         WEITZ & LUXENBERG, PC
BRADSHAW             SUSAN                 NY         0025418116       WEITZ & LUXENBERG, PC                                BRANDSTETTER         MURIEL                NY         12582400         WEITZ & LUXENBERG, PC
BRADSHAW             WILLIAM               NY         0025418116       WEITZ & LUXENBERG, PC                                BRANDSTETTER         MURIEL                NY         11938800         WEITZ & LUXENBERG, PC
BRADY                AMELIA K              NY         11288999         WEITZ & LUXENBERG, PC                                BRANDT               LEONARD               NY         10311000         WEITZ & LUXENBERG, PC
BRADY                CHARLES               NY         10311400         WEITZ & LUXENBERG, PC                                BRANGI               CATHERINE             NY         12039901         WEITZ & LUXENBERG, PC
BRADY                DAVID E               NY         11033900         WEITZ & LUXENBERG, PC                                BRANGI               LOUIS                 NY         12039901         WEITZ & LUXENBERG, PC
BRADY                DENNIS                NY         12693402         WEITZ & LUXENBERG, PC                                BRANHAM              WILLIAM H             NY         10389100         WEITZ & LUXENBERG, PC
BRADY                EDWARD                NY         11033800         WEITZ & LUXENBERG, PC                                BRANIECKI            JOHN H                NY         02122043         WEITZ & LUXENBERG, PC
BRADY                ELIZABETH             NY         11315699         WEITZ & LUXENBERG, PC                                BRANIECKI            JOYCE                 NY         02122043         WEITZ & LUXENBERG, PC
BRADY                ELIZABETH             NY         12582300         WEITZ & LUXENBERG, PC                                BRANNIGAN            BRIDGET               NY         10389000         WEITZ & LUXENBERG, PC
BRADY                ELIZABETH             NY         11938800         WEITZ & LUXENBERG, PC                                BRANNIGAN            JAMES WILLIAM         NY         10389000         WEITZ & LUXENBERG, PC
BRADY                EUGENE J              NY         1902632019       WEITZ & LUXENBERG, PC                                BRANNON              DARLENE M             NY         10403201         WEITZ & LUXENBERG, PC
BRADY                FLORENCE              NY         11033800         WEITZ & LUXENBERG, PC                                BRANNON              ROBERT D              NY         1901292012       WEITZ & LUXENBERG, PC
BRADY                JAMES                 NY         11315699         WEITZ & LUXENBERG, PC                                BRANTLEY             BETTY                 NY         CV017499         WEITZ & LUXENBERG, PC
BRADY                JOAN                  NY         1902632019       WEITZ & LUXENBERG, PC                                BRANTLEY             DOUGLAS WARD          NY         CV017499         WEITZ & LUXENBERG, PC
BRADY                JOHN                  NY         12582300         WEITZ & LUXENBERG, PC                                BRASERO              CARMEN G              NY         10399903         WEITZ & LUXENBERG, PC
BRADY                JOHN                  NY         11938800         WEITZ & LUXENBERG, PC                                BRASHER              ODAS                  NY         12582600         WEITZ & LUXENBERG, PC
BRADY                KATHLEEN              NY         1900452016       WEITZ & LUXENBERG, PC                                BRASHER              ODAS                  NY         11938800         WEITZ & LUXENBERG, PC
BRADY                KEVIN ROGER           NY         11226399         WEITZ & LUXENBERG, PC                                BRASHER              PATSY                 NY         12582600         WEITZ & LUXENBERG, PC
BRADY                LINDA L               NY         10740402         WEITZ & LUXENBERG, PC                                BRASHER              PATSY                 NY         11938800         WEITZ & LUXENBERG, PC
BRADY                MARGUERITE            NY         10311400         WEITZ & LUXENBERG, PC                                BRASWELL             GRACIE PAGE           NY         01CIV3900        WEITZ & LUXENBERG, PC
BRADY                MARY                  NY         02105715         WEITZ & LUXENBERG, PC                                BRATEK               FRANK J               NY         10388900         WEITZ & LUXENBERG, PC
BRADY                ROBERT                NY         11288999         WEITZ & LUXENBERG, PC                                BRATEK               PAULINE ANN           NY         10388900         WEITZ & LUXENBERG, PC
BRADY                SCOTT                 NY         01111226         WEITZ & LUXENBERG, PC                                BRAUER               GARY R                NY         12668502         WEITZ & LUXENBERG, PC
BRADY                SUSAN                 NY         12693402         WEITZ & LUXENBERG, PC                                BRAUER               MARGORIE              NY         12668502         WEITZ & LUXENBERG, PC
BRADY                SUSAN                 NY         01111226         WEITZ & LUXENBERG, PC                                BRAULT               HENRY P               NY         2016EF3936       WEITZ & LUXENBERG, PC
BRADY                THERESA               NY         11226399         WEITZ & LUXENBERG, PC                                BRAULT               JOANNE                NY         2016EF3936       WEITZ & LUXENBERG, PC
BRADY                THERESA M             NY         10389400         WEITZ & LUXENBERG, PC                                BRAUN                CAMILLE               NY         12788802         WEITZ & LUXENBERG, PC
BRADY                THOMAS                NY         1900452016       WEITZ & LUXENBERG, PC                                BRAUN                JAMES                 NY         12788802         WEITZ & LUXENBERG, PC
BRADY                THOMAS LEE            NY         10740402         WEITZ & LUXENBERG, PC                                BRAY                 GEORGE                NY         12582700         WEITZ & LUXENBERG, PC
BRADY                WILBUR J              NY         10389400         WEITZ & LUXENBERG, PC                                BRAY                 GEORGE                NY         11938800         WEITZ & LUXENBERG, PC
BRADY                WILLIAM J             NY         02105715         WEITZ & LUXENBERG, PC                                BRAY                 JOSEPH                NY         02107007         WEITZ & LUXENBERG, PC
BRAGA                JOHN W                NY         11123201         WEITZ & LUXENBERG, PC                                BRAY                 MARY                  NY         02107007         WEITZ & LUXENBERG, PC
BRAGA                SHEILA                NY         11123201         WEITZ & LUXENBERG, PC                                BRAY                 PATRICIA              NY         12582700         WEITZ & LUXENBERG, PC
BRAGDON              DONALD                NY         12668502         WEITZ & LUXENBERG, PC                                BRAY                 PATRICIA              NY         11938800         WEITZ & LUXENBERG, PC
BRAGDON              SUZANNE               NY         12668502         WEITZ & LUXENBERG, PC                                BRAYTON              BUEL                  NY         02113280         WEITZ & LUXENBERG, PC
BRAGG                GEORGE R              NY         10311300         WEITZ & LUXENBERG, PC                                BRAZ                 CHERYL                NY         11026902         WEITZ & LUXENBERG, PC
BRAGG                NANCY                 NY         10311300         WEITZ & LUXENBERG, PC                                BRAZ                 HERMAN A              NY         11026902         WEITZ & LUXENBERG, PC
BRAHAM               EZRA N                NY         10509502         WEITZ & LUXENBERG, PC                                BRAZIL               PATRICIA              NY         12039401         WEITZ & LUXENBERG, PC
BRAHAM               EZRA N                NY         12039701         WEITZ & LUXENBERG, PC                                BRAZIL               ROBERT E              NY         12039401         WEITZ & LUXENBERG, PC
BRAHAM               LOVENIA A             NY         10509502         WEITZ & LUXENBERG, PC                                BREASHEARS           DARLENE               NY         CV022370         WEITZ & LUXENBERG, PC
BRAHAM               LOVENIA A             NY         12039701         WEITZ & LUXENBERG, PC                                BREASHEARS           EVIE DARLENE          NY         CV003590         WEITZ & LUXENBERG, PC
BRAHAM               SUZANNE               NY         11428300         WEITZ & LUXENBERG, PC                                BREASHEARS           JOE S                 NY         CV022370         WEITZ & LUXENBERG, PC
BRAINARD             JUDITH                NY         12693502         WEITZ & LUXENBERG, PC                                BREELAND             KAREN                 NY         8055712017       WEITZ & LUXENBERG, PC
BRAINARD             ROBERT FRANCIS        NY         12693502         WEITZ & LUXENBERG, PC                                BREEM                FREDRICK              NY         6176812019       WEITZ & LUXENBERG, PC
BRAINE               CHARLES               NY         99106282         WEITZ & LUXENBERG, PC                                BREESE               CAROLE M              NY         10740102         WEITZ & LUXENBERG, PC
BRAKO                KENNETH THOMAS        NY         1904222018       WEITZ & LUXENBERG, PC                                BREESE               JEFFERY G             NY         10740102         WEITZ & LUXENBERG, PC
BRAKO                KENNETH THOMAS        NY         10871401         WEITZ & LUXENBERG, PC                                BREHM                ARTHUR                NY         10073103         WEITZ & LUXENBERG, PC
BRAMLETTE            ALFONSO               NY         11033700         WEITZ & LUXENBERG, PC                                BREHM                PATRICIA              NY         10073103         WEITZ & LUXENBERG, PC
BRAMLEY              PATRICIA K            NY         10389300         WEITZ & LUXENBERG, PC                                BREIDENSTEIN         MARY                  NY         10499701         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 873
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 208 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BREIDENSTEIN         MARY                  NY         I20014594        WEITZ & LUXENBERG, PC                                BREWER               OTTO                  NY         11179502         WEITZ & LUXENBERG, PC
BREINDEL             FREDERICK             NY         10628599         WEITZ & LUXENBERG, PC                                BREWER JR            OTTO                  NY         10571402         WEITZ & LUXENBERG, PC
BREITBECK            HOMER                 NY         98117708         WEITZ & LUXENBERG, PC                                BREWER JR            OTTO                  NY         11179502         WEITZ & LUXENBERG, PC
BREITBECK            VERDA                 NY         98117708         WEITZ & LUXENBERG, PC                                BREY                 DAVID                 NY         1900182015       WEITZ & LUXENBERG, PC
BREITWIESER          GEORGE F              NY         02111768         WEITZ & LUXENBERG, PC                                BRICE                BERNARD C             NY         10448602         WEITZ & LUXENBERG, PC
BREITWIESER          MAMIE I               NY         02111768         WEITZ & LUXENBERG, PC                                BRICE                CHARLES F             NY         11124502         WEITZ & LUXENBERG, PC
BREMER               EDITH                 NY         12039801         WEITZ & LUXENBERG, PC                                BRICE                ELIZABETH             NY         10448602         WEITZ & LUXENBERG, PC
BREMER               HENRY W               NY         12039801         WEITZ & LUXENBERG, PC                                BRICE                JEAN                  NY         11124502         WEITZ & LUXENBERG, PC
BRENENSON            HYMAN                 NY         11740900         WEITZ & LUXENBERG, PC                                BRICHAUX             EMILE F               NY         10447000         WEITZ & LUXENBERG, PC
BRENENSON            JOAN                  NY         11740900         WEITZ & LUXENBERG, PC                                BRICHAUX             LOUISA                NY         10447000         WEITZ & LUXENBERG, PC
BRENNAN              BARBARA               NY         10501300         WEITZ & LUXENBERG, PC                                BRICK                EDYTHE G              NY         12788702         WEITZ & LUXENBERG, PC
BRENNAN              BERNADETTE            NY         12039401         WEITZ & LUXENBERG, PC                                BRICK                EDYTHE G              NY         10214903         WEITZ & LUXENBERG, PC
BRENNAN              CATHERINE ANN         NY         02107006         WEITZ & LUXENBERG, PC                                BRIDGER              GERALDINE             NY         11033500         WEITZ & LUXENBERG, PC
BRENNAN              DAN P                 NY         02107006         WEITZ & LUXENBERG, PC                                BRIDGER              PAUL E                NY         11033500         WEITZ & LUXENBERG, PC
BRENNAN              DAVID L               NY         02106508         WEITZ & LUXENBERG, PC                                BRIDGES              JAMES E               NY         11017804         WEITZ & LUXENBERG, PC
BRENNAN              DEBRA                 NY         12579899         WEITZ & LUXENBERG, PC                                BRIDGES              OMA RUTH              NY         CV014472         WEITZ & LUXENBERG, PC
BRENNAN              EILEEN                NY         12039701         WEITZ & LUXENBERG, PC                                BRIDGES              ROSALEE               NY         11017804         WEITZ & LUXENBERG, PC
BRENNAN              JAMES                 NY         12039401         WEITZ & LUXENBERG, PC                                BRIGGS               ARLENE                NY         10448000         WEITZ & LUXENBERG, PC
BRENNAN              JAMES M               NY         12579899         WEITZ & LUXENBERG, PC                                BRIGGS               CHARLES               NY         10448000         WEITZ & LUXENBERG, PC
BRENNAN              JANET L               NY         12039801         WEITZ & LUXENBERG, PC                                BRIGGS               DELORES               NY         10716902         WEITZ & LUXENBERG, PC
BRENNAN              JERI                  NY         11123101         WEITZ & LUXENBERG, PC                                BRIGGS               EMORY J               NY         02105713         WEITZ & LUXENBERG, PC
BRENNAN              JOHN                  NY         10219605         WEITZ & LUXENBERG, PC                                BRIGGS               EMORY J               NY         11258202         WEITZ & LUXENBERG, PC
BRENNAN              JOHN J                NY         10710002         WEITZ & LUXENBERG, PC                                BRIGGS               FREDDIE LEE           NY         01CIV3922        WEITZ & LUXENBERG, PC
BRENNAN              JOHN J                NY         12686102         WEITZ & LUXENBERG, PC                                BRIGGS               TONI M                NY         02105713         WEITZ & LUXENBERG, PC
BRENNAN              JOSEPH F              NY         1902582017       WEITZ & LUXENBERG, PC                                BRIGGS               TONI M                NY         11258202         WEITZ & LUXENBERG, PC
BRENNAN              MARGUERITE R          NY         10501300         WEITZ & LUXENBERG, PC                                BRIGGS               VENITA E              NY         12668502         WEITZ & LUXENBERG, PC
BRENNAN              MICHAEL               NY         11938301         WEITZ & LUXENBERG, PC                                BRIGGS               WILLIAM C             NY         12668502         WEITZ & LUXENBERG, PC
BRENNAN              NORMA J               NY         10710002         WEITZ & LUXENBERG, PC                                BRIGGS               WILLIAM L             NY         10716902         WEITZ & LUXENBERG, PC
BRENNAN              NORMA J               NY         12686102         WEITZ & LUXENBERG, PC                                BRIGHT               DAISY                 NY         10448100         WEITZ & LUXENBERG, PC
BRENNAN              PATRICK J             NY         11123101         WEITZ & LUXENBERG, PC                                BRIGHT               LLOYD B               NY         10448100         WEITZ & LUXENBERG, PC
BRENNAN              PHYLLIS               NY         10219605         WEITZ & LUXENBERG, PC                                BRIGMAN              BETTY                 NY         00CIV1202        WEITZ & LUXENBERG, PC
BRENNAN              RAYMOND J             NY         12603302         WEITZ & LUXENBERG, PC                                BRIGMAN              JIMMY R               NY         00CIV1202        WEITZ & LUXENBERG, PC
BRENNAN              SUSAN                 NY         0320152019       WEITZ & LUXENBERG, PC                                BRIGUGLIO            AGATHA                NY         11159403         WEITZ & LUXENBERG, PC
BRENNAN              THOMAS F              NY         12039801         WEITZ & LUXENBERG, PC                                BRIGUGLIO            AGATHA                NY         11331803         WEITZ & LUXENBERG, PC
BRENNAN              THOMAS P              NY         12668502         WEITZ & LUXENBERG, PC                                BRIGUGLIO            PIETRO                NY         11331803         WEITZ & LUXENBERG, PC
BRENNAN              TIMOTHY J             NY         0320152019       WEITZ & LUXENBERG, PC                                BRIGUGLIO            PIETRO                NY         11159403         WEITZ & LUXENBERG, PC
BRENNAN              WILLIAM               NY         10501300         WEITZ & LUXENBERG, PC                                BRIN                 MICHAEL F             NY         02106578         WEITZ & LUXENBERG, PC
BRENNAN              WILLIAM J             NY         12039701         WEITZ & LUXENBERG, PC                                BRINER               DONALD LOYD           NY         CV016697         WEITZ & LUXENBERG, PC
BRENNEN              RICHARD               NY         11026702         WEITZ & LUXENBERG, PC                                BRINER               LINDA SUE             NY         CV016697         WEITZ & LUXENBERG, PC
BRENNER              DORIS                 NY         1900242016       WEITZ & LUXENBERG, PC                                BRINKMAN             DONALD B              NY         10448200         WEITZ & LUXENBERG, PC
BRENNER              KARL                  NY         1900242016       WEITZ & LUXENBERG, PC                                BRINKMAN             LOUISE                NY         12039001         WEITZ & LUXENBERG, PC
BRENT                GLADYS                NY         99106286         WEITZ & LUXENBERG, PC                                BRINKMAN             MARLENE M             NY         10448200         WEITZ & LUXENBERG, PC
BRENT                HENRY CHARLES         NY         99106286         WEITZ & LUXENBERG, PC                                BRINKMAN             THOMAS J              NY         12039001         WEITZ & LUXENBERG, PC
BRESLIN              THOMAS J              NY         10505000         WEITZ & LUXENBERG, PC                                BRINKS               RALPH LAVERNE         NY         11489403         WEITZ & LUXENBERG, PC
BRESSANT             BEVERLY               NY         10501100         WEITZ & LUXENBERG, PC                                BRINKS               RALPH LAVERNE         NY         I20012976        WEITZ & LUXENBERG, PC
BRESSANT             HOWARD SYLVESTER      NY         10501100         WEITZ & LUXENBERG, PC                                BRINSON              BARBARA TAYLOR        NY         10587502         WEITZ & LUXENBERG, PC
BRESSEL              FRANCOISE             NY         1900462013       WEITZ & LUXENBERG, PC                                BRINSON              BARBARA TAYLOR        NY         11005302         WEITZ & LUXENBERG, PC
BRESSEL              HERMAN                NY         1900462013       WEITZ & LUXENBERG, PC                                BRISCHLER            GEORGE                NY         1903872017       WEITZ & LUXENBERG, PC
BRETON               JOHN                  NY         12582900         WEITZ & LUXENBERG, PC                                BRISCHLER            GEORGE J              NY         1903872017       WEITZ & LUXENBERG, PC
BRETON               JOHN                  NY         11938800         WEITZ & LUXENBERG, PC                                BRISKY               DON                   NY         10740102         WEITZ & LUXENBERG, PC
BRETON               PATRICIA              NY         12582900         WEITZ & LUXENBERG, PC                                BRISKY               DONNA                 NY         10740102         WEITZ & LUXENBERG, PC
BRETON               PATRICIA              NY         11938800         WEITZ & LUXENBERG, PC                                BRITELL              LEE K                 NY         10628799         WEITZ & LUXENBERG, PC
BREW                 EUGENE J              NY         99106238         WEITZ & LUXENBERG, PC                                BRITELL              LYNDA                 NY         10628799         WEITZ & LUXENBERG, PC
BREWER               CHARLES               NY         1900042018       WEITZ & LUXENBERG, PC                                BRITLAND             BETSY                 NY         1902852012       WEITZ & LUXENBERG, PC
BREWER               ETHEL A               NY         1900042018       WEITZ & LUXENBERG, PC                                BRITT                CLARE                 NY         12668102         WEITZ & LUXENBERG, PC
BREWER               EVELYN MAE            NY         CV018292         WEITZ & LUXENBERG, PC                                BRITT                MAURICE               NY         12668102         WEITZ & LUXENBERG, PC
BREWER               FELICIA               NY         10571402         WEITZ & LUXENBERG, PC                                BRIVONESE            BARBARA               NY         11159403         WEITZ & LUXENBERG, PC
BREWER               FELICIA               NY         11179502         WEITZ & LUXENBERG, PC                                BRIVONESE            PETER A               NY         11159403         WEITZ & LUXENBERG, PC
BREWER               FLORENCE              NY         12583000         WEITZ & LUXENBERG, PC                                BRIZIUS              CATHERINE             NY         1905472012       WEITZ & LUXENBERG, PC
BREWER               FLORENCE              NY         11938800         WEITZ & LUXENBERG, PC                                BRIZIUS              GEORGE E              NY         1905472012       WEITZ & LUXENBERG, PC
BREWER               JOE K                 NY         12583000         WEITZ & LUXENBERG, PC                                BRIZZEE              MICHAEL L             NY         10448400         WEITZ & LUXENBERG, PC
BREWER               JOE K                 NY         11938800         WEITZ & LUXENBERG, PC                                BROADBENT            ANITA G               NY         10566504         WEITZ & LUXENBERG, PC
BREWER               JOHN H                NY         02106580         WEITZ & LUXENBERG, PC                                BROADBENT            LANNY R               NY         10566504         WEITZ & LUXENBERG, PC
BREWER               JOHN H                NY         11326202         WEITZ & LUXENBERG, PC                                BROADHEAD            DONALD L              NY         11356702         WEITZ & LUXENBERG, PC
BREWER               LILLIE MAE            NY         02106580         WEITZ & LUXENBERG, PC                                BROADHURST           MARGUERITE PALMER     NY         11593907         WEITZ & LUXENBERG, PC
BREWER               LILLIE MAE            NY         11326202         WEITZ & LUXENBERG, PC                                BROADWELL            BETTY                 NY         11741000         WEITZ & LUXENBERG, PC
BREWER               LOFRAY                NY         10571402         WEITZ & LUXENBERG, PC                                BROADWELL            CLAUDE A              NY         12444102         WEITZ & LUXENBERG, PC
BREWER               LOFRAY                NY         11179502         WEITZ & LUXENBERG, PC                                BROADWELL            CLAUDE A              NY         10319003         WEITZ & LUXENBERG, PC
BREWER               MARY                  NY         11033600         WEITZ & LUXENBERG, PC                                BROADWELL            HENRY ARTHUR          NY         11741000         WEITZ & LUXENBERG, PC
BREWER               NORMAN R              NY         11033600         WEITZ & LUXENBERG, PC                                BROADWELL            MARY JANE             NY         12444102         WEITZ & LUXENBERG, PC
BREWER               OTTO                  NY         10571402         WEITZ & LUXENBERG, PC                                BROADWELL            MARY JANE             NY         10319003         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 874
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 209 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BROBISKY             PHYLLIS KATHRYN       NY         CV024032         WEITZ & LUXENBERG, PC                                BROOKS               MARY                  NY         01CIV3901        WEITZ & LUXENBERG, PC
BROCATO              ANDREW C SR           NY         10448500         WEITZ & LUXENBERG, PC                                BROOKS               PHYLLIS               NY         01CIV3901        WEITZ & LUXENBERG, PC
BROCCO               COSMO                 NY         12583100         WEITZ & LUXENBERG, PC                                BROOKS               RAYMOND E             NY         10658102         WEITZ & LUXENBERG, PC
BROCCO               COSMO                 NY         11938800         WEITZ & LUXENBERG, PC                                BROOKS               RAYMOND W             NY         10722102         WEITZ & LUXENBERG, PC
BROCCO               KATHLEEN              NY         12583100         WEITZ & LUXENBERG, PC                                BROOKS               RICHARD J             NY         10700002         WEITZ & LUXENBERG, PC
BROCCO               KATHLEEN              NY         11938800         WEITZ & LUXENBERG, PC                                BROOKS               ROBERTA               NY         12583600         WEITZ & LUXENBERG, PC
BROCCOLO             JOSEPHINE             NY         12039701         WEITZ & LUXENBERG, PC                                BROOKS               ROBERTA               NY         11938800         WEITZ & LUXENBERG, PC
BROCCOLO             JOSEPHINE             NY         12668702         WEITZ & LUXENBERG, PC                                BROOKS               ROCHARD E             NY         12434701         WEITZ & LUXENBERG, PC
BROCCOLO             JOSEPHINE             NY         10507302         WEITZ & LUXENBERG, PC                                BROOKS               THOMAS M              NY         10447000         WEITZ & LUXENBERG, PC
BROCCOLO             WILLIAM               NY         12668702         WEITZ & LUXENBERG, PC                                BROOKS               WESTLEY FRANKLIN      NY         01CIV3901        WEITZ & LUXENBERG, PC
BROCK                ESSIE                 NY         10446700         WEITZ & LUXENBERG, PC                                BROOMES              SAMUEL                NY         01111229         WEITZ & LUXENBERG, PC
BROCK                WILLIAM H             NY         10446700         WEITZ & LUXENBERG, PC                                BROOMFIELD           LOUIS                 NY         01CIV3910        WEITZ & LUXENBERG, PC
BROCKETT             EVELYN                NY         10446800         WEITZ & LUXENBERG, PC                                BROOMFIELD           MARY JO               NY         01CIV3910        WEITZ & LUXENBERG, PC
BROCKETT             NORMAN THOMAS         NY         10446800         WEITZ & LUXENBERG, PC                                BROPHY               JEROME                NY         20014016         WEITZ & LUXENBERG, PC
BROCK-GATTI          SUSAN C.              NY         10357602         WEITZ & LUXENBERG, PC                                BROPHY               MARY                  NY         20014016         WEITZ & LUXENBERG, PC
BROCKWAY             DEBORAH               NY         12583200         WEITZ & LUXENBERG, PC                                BROPHY               MICHAEL E             NY         1903472016       WEITZ & LUXENBERG, PC
BROCKWAY             DEBORAH               NY         11938800         WEITZ & LUXENBERG, PC                                BROSNAN              DOLORES               NY         10696305         WEITZ & LUXENBERG, PC
BROCKWAY             ROGER                 NY         12583200         WEITZ & LUXENBERG, PC                                BROSNAN              JAMES P               NY         10696305         WEITZ & LUXENBERG, PC
BROCKWAY             ROGER                 NY         11938800         WEITZ & LUXENBERG, PC                                BROSNAN              JOHN                  NY         01111228         WEITZ & LUXENBERG, PC
BRODERICK            ALBERT                NY         01111229         WEITZ & LUXENBERG, PC                                BROTHERS             BONNIE L              NY         10645702         WEITZ & LUXENBERG, PC
BRODERICK            DAVID S               NY         10859799         WEITZ & LUXENBERG, PC                                BROTHERS             DONALD F              NY         02106692         WEITZ & LUXENBERG, PC
BRODERICK            DAVID S               NY         10643100         WEITZ & LUXENBERG, PC                                BROTHERS             DWAYNE A              NY         10645702         WEITZ & LUXENBERG, PC
BRODEUR              JUDITH                NY         12583300         WEITZ & LUXENBERG, PC                                BROTHERS             JD                    NY         CV016795         WEITZ & LUXENBERG, PC
BRODEUR              JUDITH                NY         11938800         WEITZ & LUXENBERG, PC                                BROTHERS             JEAN M                NY         02106692         WEITZ & LUXENBERG, PC
BRODEUR              RODGER A              NY         12583300         WEITZ & LUXENBERG, PC                                BROTHERS             ROY E                 NY         10740502         WEITZ & LUXENBERG, PC
BRODEUR              RODGER A              NY         11938800         WEITZ & LUXENBERG, PC                                BROTHERS             WILLIAM C             NY         10710002         WEITZ & LUXENBERG, PC
BRODKA               BERNICE               NY         11772998         WEITZ & LUXENBERG, PC                                BROTHERS             WILLIAM C             NY         12686002         WEITZ & LUXENBERG, PC
BRODKA               EDWARD J              NY         11772998         WEITZ & LUXENBERG, PC                                BROUGHTON            JAMES A               NY         12101200         WEITZ & LUXENBERG, PC
BRODNAX              CLIFTON H             NY         CV014466         WEITZ & LUXENBERG, PC                                BROUGHTON            JIMMY LOUIS           NY         05CIV3821        WEITZ & LUXENBERG, PC
BRODNAX              JO ALLEN              NY         CV014466         WEITZ & LUXENBERG, PC                                BROUGHTON            JOAN                  NY         12101200         WEITZ & LUXENBERG, PC
BROFERMAKER          RONA                  NY         12039001         WEITZ & LUXENBERG, PC                                BROUGHTON            VERLENE               NY         05CIV3821        WEITZ & LUXENBERG, PC
BROFERMAKER          RONA                  NY         12394301         WEITZ & LUXENBERG, PC                                BROUGHTON            WILLIAM               NY         10447200         WEITZ & LUXENBERG, PC
BROGAN               LORI                  NY         12039601         WEITZ & LUXENBERG, PC                                BROWDER              CAROLYN EMMA          PA         140802360        WEITZ & LUXENBERG, PC
BROGAN               LORI                  NY         01337302         WEITZ & LUXENBERG, PC                                BROWDER              LEOLA                 NY         10447300         WEITZ & LUXENBERG, PC
BROGAN               PATRICK P             NY         12039601         WEITZ & LUXENBERG, PC                                BROWDER              RUBEN                 NY         10447300         WEITZ & LUXENBERG, PC
BROGAN               PATRICK P             NY         01337302         WEITZ & LUXENBERG, PC                                BROWN                ADALINE               NY         12788802         WEITZ & LUXENBERG, PC
BROKENBERRY          FASHION B             NY         CV013921         WEITZ & LUXENBERG, PC                                BROWN                ALFRED                NY         01CIV7364        WEITZ & LUXENBERG, PC
BRONDER              DONALD E              NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                ALFRED W              NY         99106288         WEITZ & LUXENBERG, PC
BRONDER              FLORENCE              NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                ALICE                 NY         12038901         WEITZ & LUXENBERG, PC
BRONSON              DAVID                 NY         20015815         WEITZ & LUXENBERG, PC                                BROWN                ALMA S                NY         01CIV3910        WEITZ & LUXENBERG, PC
BRONSON              GILBERT L             NY         10571402         WEITZ & LUXENBERG, PC                                BROWN                AMANDA                NY         10670402         WEITZ & LUXENBERG, PC
BRONSON              GILBERT L             NY         11179602         WEITZ & LUXENBERG, PC                                BROWN                AMANDA                NY         11032502         WEITZ & LUXENBERG, PC
BRONSON              VIOLA                 NY         10571402         WEITZ & LUXENBERG, PC                                BROWN                ANNA                  NY         CV010710         WEITZ & LUXENBERG, PC
BRONSON              WILLIAM E             NY         10670802         WEITZ & LUXENBERG, PC                                BROWN                ANNE E                NY         10447700         WEITZ & LUXENBERG, PC
BRONTE               JEFFERSON W           NY         10517402         WEITZ & LUXENBERG, PC                                BROWN                APRIL                 NY         10877103         WEITZ & LUXENBERG, PC
BROOKER              JUDITH                NY         11167100         WEITZ & LUXENBERG, PC                                BROWN                ARLENE                NY         19001212         WEITZ & LUXENBERG, PC
BROOKINS             JOHN A                NY         1901792013       WEITZ & LUXENBERG, PC                                BROWN                ARMOND A              NY         11143904         WEITZ & LUXENBERG, PC
BROOKINS             SHEREIA               NY         1901792013       WEITZ & LUXENBERG, PC                                BROWN                ARSIE RUTH            NY         99106290         WEITZ & LUXENBERG, PC
BROOKS               ARCHIE                NY         10446900         WEITZ & LUXENBERG, PC                                BROWN                AURA                  NY         99120322         WEITZ & LUXENBERG, PC
BROOKS               ARNOLD N              NY         10740402         WEITZ & LUXENBERG, PC                                BROWN                BARBARA               NY         99106288         WEITZ & LUXENBERG, PC
BROOKS               BENJAMIN              NY         12583500         WEITZ & LUXENBERG, PC                                BROWN                BARBARA               NY         10447500         WEITZ & LUXENBERG, PC
BROOKS               BENJAMIN              NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                BARBARA F             NY         12058303         WEITZ & LUXENBERG, PC
BROOKS               BOBBY JOE             NY         01CIV3901        WEITZ & LUXENBERG, PC                                BROWN                BARRY                 NY         19001212         WEITZ & LUXENBERG, PC
BROOKS               DALE                  NY         12583600         WEITZ & LUXENBERG, PC                                BROWN                BERNADINE             NY         10670402         WEITZ & LUXENBERG, PC
BROOKS               DALE                  NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                BERNICE               NY         11773098         WEITZ & LUXENBERG, PC
BROOKS               FLORA                 NY         12583500         WEITZ & LUXENBERG, PC                                BROWN                BERTHA L              NY         01CIV3910        WEITZ & LUXENBERG, PC
BROOKS               FLORA                 NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                BETTY                 NY         02106707         WEITZ & LUXENBERG, PC
BROOKS               GLENN PAUL            NY         CV016444         WEITZ & LUXENBERG, PC                                BROWN                BETTY J               NY         11570002         WEITZ & LUXENBERG, PC
BROOKS               JACQUIE               NY         CV016444         WEITZ & LUXENBERG, PC                                BROWN                BILLY T               NY         CV017338         WEITZ & LUXENBERG, PC
BROOKS               JOANN                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                BROWN                BLANCA                NY         01111234         WEITZ & LUXENBERG, PC
BROOKS               JOANNE D              NY         10740402         WEITZ & LUXENBERG, PC                                BROWN                BLANCA                NY         11924801         WEITZ & LUXENBERG, PC
BROOKS               LEE                   NY         12434701         WEITZ & LUXENBERG, PC                                BROWN                BONNIE LEE            NY         CV022967         WEITZ & LUXENBERG, PC
BROOKS               LEE AUGUSTUS          NY         12433902         WEITZ & LUXENBERG, PC                                BROWN                BRENDA M              NY         CV017338         WEITZ & LUXENBERG, PC
BROOKS               LORETTA               NY         CV013921         WEITZ & LUXENBERG, PC                                BROWN                CARROLL S             PA         130801976        WEITZ & LUXENBERG, PC
BROOKS               LORITA D              NY         CV013921         WEITZ & LUXENBERG, PC                                BROWN                CHARLES A             NY         10716802         WEITZ & LUXENBERG, PC
BROOKS               LOUIS                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                BROWN                CHARLES ALBERT        NY         10447700         WEITZ & LUXENBERG, PC
BROOKS               LOUIS                 NY         CV013921         WEITZ & LUXENBERG, PC                                BROWN                CHARLES E             NY         12039001         WEITZ & LUXENBERG, PC
BROOKS               LOUIS C               NY         CV013921         WEITZ & LUXENBERG, PC                                BROWN                CLARA MAE             NY         01CIV3910        WEITZ & LUXENBERG, PC
BROOKS               LOUISE                NY         01CIV3895        WEITZ & LUXENBERG, PC                                BROWN                COLLINS               NY         10447800         WEITZ & LUXENBERG, PC
BROOKS               LUCILLE               NY         10447000         WEITZ & LUXENBERG, PC                                BROWN                CURLEY                NY         11492899         WEITZ & LUXENBERG, PC
BROOKS               MARIE A               NY         10700002         WEITZ & LUXENBERG, PC                                BROWN                DANIEL L              NY         10877103         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 875
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 210 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BROWN                DAVID W               NY         02106709         WEITZ & LUXENBERG, PC                                BROWN                MARGUERITE M          NY         11033300         WEITZ & LUXENBERG, PC
BROWN                DIANA                 NY         1901952017       WEITZ & LUXENBERG, PC                                BROWN                MARILYNN              NY         00CIV1202        WEITZ & LUXENBERG, PC
BROWN                DOLORES               NY         12583900         WEITZ & LUXENBERG, PC                                BROWN                MARION                NY         11099902         WEITZ & LUXENBERG, PC
BROWN                DOLORES               NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                MARSHA                NY         12583800         WEITZ & LUXENBERG, PC
BROWN                DONALD A              NY         12058303         WEITZ & LUXENBERG, PC                                BROWN                MARSHA                NY         11938800         WEITZ & LUXENBERG, PC
BROWN                DONALD H              NY         10670402         WEITZ & LUXENBERG, PC                                BROWN                MARY C                NY         12448902         WEITZ & LUXENBERG, PC
BROWN                DONALD L              NY         98117702         WEITZ & LUXENBERG, PC                                BROWN                MAVIS                 NY         12583700         WEITZ & LUXENBERG, PC
BROWN                DUANA                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                BROWN                MAVIS                 NY         11938800         WEITZ & LUXENBERG, PC
BROWN                EDDIE                 NY         10434700         WEITZ & LUXENBERG, PC                                BROWN                MAX L                 NY         11026802         WEITZ & LUXENBERG, PC
BROWN                EDISON                NY         10587602         WEITZ & LUXENBERG, PC                                BROWN                MAX L                 NY         12556002         WEITZ & LUXENBERG, PC
BROWN                EDWARD                NY         1901032016       WEITZ & LUXENBERG, PC                                BROWN                MILDRED               NY         01CIV3907        WEITZ & LUXENBERG, PC
BROWN                ELIZABETH             NY         10740502         WEITZ & LUXENBERG, PC                                BROWN                PATRICIA              NY         02106709         WEITZ & LUXENBERG, PC
BROWN                ELIZABETH E           PA         190202118        WEITZ & LUXENBERG, PC                                BROWN                PATRICIA A            NY         I200110279       WEITZ & LUXENBERG, PC
BROWN                ELMER W               NY         11099902         WEITZ & LUXENBERG, PC                                BROWN                RAYMOND M             NY         12038901         WEITZ & LUXENBERG, PC
BROWN                ELNORA F              NY         99106289         WEITZ & LUXENBERG, PC                                BROWN                RICHARD L             NY         01111234         WEITZ & LUXENBERG, PC
BROWN                ELOISE                NY         10716802         WEITZ & LUXENBERG, PC                                BROWN                RICHARD L             NY         11924801         WEITZ & LUXENBERG, PC
BROWN                ENID                  NY         11356702         WEITZ & LUXENBERG, PC                                BROWN                ROBERT E              NY         11772198         WEITZ & LUXENBERG, PC
BROWN                EPTON                 NY         12583700         WEITZ & LUXENBERG, PC                                BROWN                ROBERT F              NY         00CIV1202        WEITZ & LUXENBERG, PC
BROWN                EPTON                 NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                ROBERT J              NY         01CIV7364        WEITZ & LUXENBERG, PC
BROWN                ERIKA                 NY         19006012         WEITZ & LUXENBERG, PC                                BROWN                ROBERT L              NY         12448902         WEITZ & LUXENBERG, PC
BROWN                ERNEST J              NY         12583800         WEITZ & LUXENBERG, PC                                BROWN                ROBERT M              NY         10716802         WEITZ & LUXENBERG, PC
BROWN                ERNEST J              NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                ROBERT T              NY         10435200         WEITZ & LUXENBERG, PC
BROWN                ESTELLA J             NY         01CIV3905        WEITZ & LUXENBERG, PC                                BROWN                ROBERT W              NY         I200110279       WEITZ & LUXENBERG, PC
BROWN                ETHEL M               NY         10435200         WEITZ & LUXENBERG, PC                                BROWN                RONALD                NY         12584000         WEITZ & LUXENBERG, PC
BROWN                EUGENE F              NY         10870801         WEITZ & LUXENBERG, PC                                BROWN                RONALD                NY         11938800         WEITZ & LUXENBERG, PC
BROWN                FRANCES E             NY         11772198         WEITZ & LUXENBERG, PC                                BROWN                ROSANNA               NY         11979901         WEITZ & LUXENBERG, PC
BROWN                FRANCINE              NY         1901032016       WEITZ & LUXENBERG, PC                                BROWN                ROSANNA               NY         11123201         WEITZ & LUXENBERG, PC
BROWN                FRANK C               NY         10434900         WEITZ & LUXENBERG, PC                                BROWN                ROSCOE L              NY         10740502         WEITZ & LUXENBERG, PC
BROWN                FREDERICK G           NY         1901952017       WEITZ & LUXENBERG, PC                                BROWN                SHARON                NY         19011209         WEITZ & LUXENBERG, PC
BROWN                FREDERICK JAMES       NY         99120322         WEITZ & LUXENBERG, PC                                BROWN                SHEILA MAE            NY         11026802         WEITZ & LUXENBERG, PC
BROWN                GENEVA                NY         01CIV3922        WEITZ & LUXENBERG, PC                                BROWN                SHEILA MAE            NY         12556002         WEITZ & LUXENBERG, PC
BROWN                GEORGE R              NY         10435000         WEITZ & LUXENBERG, PC                                BROWN                STANLEY ELROY         NY         10587102         WEITZ & LUXENBERG, PC
BROWN                GLADYS                NY         10606699         WEITZ & LUXENBERG, PC                                BROWN                SUZANNE               NY         00CIV1202        WEITZ & LUXENBERG, PC
BROWN                GLORIA JEAN           NY         01CIV3910        WEITZ & LUXENBERG, PC                                BROWN                TERRI                 NY         1902322013       WEITZ & LUXENBERG, PC
BROWN                GLORIA SALIM          NY         10722002         WEITZ & LUXENBERG, PC                                BROWN                TOMMY GENE            NY         01CIV3922        WEITZ & LUXENBERG, PC
BROWN                GLORIA SALIM          NY         11342602         WEITZ & LUXENBERG, PC                                BROWN                VANESSA               NY         11788500         WEITZ & LUXENBERG, PC
BROWN                GORDON A              NY         99106289         WEITZ & LUXENBERG, PC                                BROWN                VICTORIA              NY         12584000         WEITZ & LUXENBERG, PC
BROWN                HAROLD                NY         12583900         WEITZ & LUXENBERG, PC                                BROWN                VICTORIA              NY         11938800         WEITZ & LUXENBERG, PC
BROWN                HAROLD                NY         11938800         WEITZ & LUXENBERG, PC                                BROWN                WILLIAM               NY         10435300         WEITZ & LUXENBERG, PC
BROWN                HAROLD C              NY         11356702         WEITZ & LUXENBERG, PC                                BROWN                WILLIAM               NY         01CIV3910        WEITZ & LUXENBERG, PC
BROWN                HARVEY P              NY         CV010710         WEITZ & LUXENBERG, PC                                BROWN                WILLIAM A             NY         19011209         WEITZ & LUXENBERG, PC
BROWN                HERMAN                NY         10485703         WEITZ & LUXENBERG, PC                                BROWN                WILLIAM E             NY         10447500         WEITZ & LUXENBERG, PC
BROWN                HESTER                NY         10716802         WEITZ & LUXENBERG, PC                                BROWN                WILLIE L              NY         11773098         WEITZ & LUXENBERG, PC
BROWN                HOWARD P              NY         02106707         WEITZ & LUXENBERG, PC                                BROWN                WILLIE MARIE          NY         01CIV7364        WEITZ & LUXENBERG, PC
BROWN                HOWARD P              NY         11570002         WEITZ & LUXENBERG, PC                                BROWN                WILLIE TRAVIS         NY         01CIV3901        WEITZ & LUXENBERG, PC
BROWN                JAMES                 NY         99106290         WEITZ & LUXENBERG, PC                                BROWN                WILMON                NY         10606699         WEITZ & LUXENBERG, PC
BROWN                JAMES E               NY         12039201         WEITZ & LUXENBERG, PC                                BROWNE               DEBORAH               NY         10435400         WEITZ & LUXENBERG, PC
BROWN                JAMES EDWARD          NY         01CIV4686        WEITZ & LUXENBERG, PC                                BROWNE               MARION                NY         11026902         WEITZ & LUXENBERG, PC
BROWN                JAMES P               NY         10670802         WEITZ & LUXENBERG, PC                                BROWNE               MARTIN E              NY         11979901         WEITZ & LUXENBERG, PC
BROWN                JAMES R               NY         11033300         WEITZ & LUXENBERG, PC                                BROWNE               MARTIN E              NY         11123201         WEITZ & LUXENBERG, PC
BROWN                JOHN D                PA         190202118        WEITZ & LUXENBERG, PC                                BROWNE               RONALD F              NY         10435400         WEITZ & LUXENBERG, PC
BROWN                JOHN D                NY         12038801         WEITZ & LUXENBERG, PC                                BROWNE               THOMAS J              NY         11026902         WEITZ & LUXENBERG, PC
BROWN                JOHN NATHAN           NY         00CIV1202        WEITZ & LUXENBERG, PC                                BROWNELL             DENNIS MICHAEL        NY         02106693         WEITZ & LUXENBERG, PC
BROWN                JOHNNY                NY         02107007         WEITZ & LUXENBERG, PC                                BROWNELL             DENNIS MICHAEL        NY         11498602         WEITZ & LUXENBERG, PC
BROWN                JOHNNY                NY         01CIV3910        WEITZ & LUXENBERG, PC                                BROWNELL             JACQUELYN             NY         02106693         WEITZ & LUXENBERG, PC
BROWN                JOSEPHINE             PA         130801976        WEITZ & LUXENBERG, PC                                BROWNELL             JACQUELYN             NY         11498602         WEITZ & LUXENBERG, PC
BROWN                KATHLEEN              NY         11777498         WEITZ & LUXENBERG, PC                                BROWNELL             JACQUEYLN I           NY         02106693         WEITZ & LUXENBERG, PC
BROWN                KATHLEEN              NY         12039001         WEITZ & LUXENBERG, PC                                BROWNELL             JACQUEYLN I           NY         11498602         WEITZ & LUXENBERG, PC
BROWN                KATHLEEN              NY         10870801         WEITZ & LUXENBERG, PC                                BROWNLEE             JOSEPH                NY         01CIV4688        WEITZ & LUXENBERG, PC
BROWN                KENNETH               NY         12788802         WEITZ & LUXENBERG, PC                                BROWNLEE-LONG        BELLE                 NY         0037422017       WEITZ & LUXENBERG, PC
BROWN                KEVIN A               NY         11741100         WEITZ & LUXENBERG, PC                                BRUCE                ANN                   NY         10075604         WEITZ & LUXENBERG, PC
BROWN                LARRY                 NY         19001212         WEITZ & LUXENBERG, PC                                BRUCE                ARCHIE M              NY         10435500         WEITZ & LUXENBERG, PC
BROWN                LILLIE                NY         10754601         WEITZ & LUXENBERG, PC                                BRUCE                ELIZABETH             NY         11773198         WEITZ & LUXENBERG, PC
BROWN                LOIS                  NY         01CIV3910        WEITZ & LUXENBERG, PC                                BRUCE                GEORGE A              NY         10435500         WEITZ & LUXENBERG, PC
BROWN                LONNIE E              NY         CV012137         WEITZ & LUXENBERG, PC                                BRUCE                HOWARD H              NY         11773198         WEITZ & LUXENBERG, PC
BROWN                LORETTA               NY         10549400         WEITZ & LUXENBERG, PC                                BRUCE                JOYCE                 NY         10680802         WEITZ & LUXENBERG, PC
BROWN                LORRAINE              NY         12039201         WEITZ & LUXENBERG, PC                                BRUCE                LOREN                 NY         1901292017       WEITZ & LUXENBERG, PC
BROWN                MAGGIE H              NY         10434700         WEITZ & LUXENBERG, PC                                BRUCE                MALCOLM P             NY         10680802         WEITZ & LUXENBERG, PC
BROWN                MARCIA                NY         19011209         WEITZ & LUXENBERG, PC                                BRUCE                WILLARD A             NY         02113280         WEITZ & LUXENBERG, PC
BROWN                MARGARET              NY         12038801         WEITZ & LUXENBERG, PC                                BRUCKMAN             HENRY G               NY         10722102         WEITZ & LUXENBERG, PC
BROWN                MARGARET              NY         10435000         WEITZ & LUXENBERG, PC                                BRUCKMAN             ROSE MARIE            NY         10722102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 876
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 211 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BRUECKL              JOYCE H M             NY         10722102         WEITZ & LUXENBERG, PC                                BRYDE                WILLIAM               NY         10433600         WEITZ & LUXENBERG, PC
BRUECKL              JOYCE H M             NY         11314502         WEITZ & LUXENBERG, PC                                BRYDE                WILLIAM               NY         10433500         WEITZ & LUXENBERG, PC
BRUECKL              NORMAN J              NY         10722102         WEITZ & LUXENBERG, PC                                BRYDEN               VALERIE               NY         10514803         WEITZ & LUXENBERG, PC
BRUECKL              NORMAN J              NY         11314502         WEITZ & LUXENBERG, PC                                BRYELS               CLARENCE E            NY         CV017501         WEITZ & LUXENBERG, PC
BRUEN                JEAN                  NY         11771098         WEITZ & LUXENBERG, PC                                BRYNIARSKI           JOANNE                NY         12526100         WEITZ & LUXENBERG, PC
BRUEN                MATTHEW               NY         11771098         WEITZ & LUXENBERG, PC                                BRYNIARSKI           STANLEY D             NY         12584300         WEITZ & LUXENBERG, PC
BRUGNOLI             DEANNA                NY         02107006         WEITZ & LUXENBERG, PC                                BRYNIARSKI           STANLEY D             NY         11938800         WEITZ & LUXENBERG, PC
BRUGNOLI             GIULIANO              NY         02107006         WEITZ & LUXENBERG, PC                                BRYNIARSKI           STEPHANIE             NY         12584300         WEITZ & LUXENBERG, PC
BRUMBELOW            HELEN                 NY         CV021247         WEITZ & LUXENBERG, PC                                BRYNIARSKI           STEPHANIE             NY         11938800         WEITZ & LUXENBERG, PC
BRUMBELOW            JAMES H               NY         CV021247         WEITZ & LUXENBERG, PC                                BRYSON               BONNIE                NY         1902252014       WEITZ & LUXENBERG, PC
BRUNDA               FRANCIS               NY         10089807         WEITZ & LUXENBERG, PC                                BRYSON               DEAN L                NY         1902252014       WEITZ & LUXENBERG, PC
BRUNDA               JEANETTE C            NY         10089807         WEITZ & LUXENBERG, PC                                BRZEZNIAK            JOANN                 NY         10433700         WEITZ & LUXENBERG, PC
BRUNDAGE             DOLORES M             NY         10433100         WEITZ & LUXENBERG, PC                                BRZEZNIAK            THOMAS J              NY         10433700         WEITZ & LUXENBERG, PC
BRUNDAGE             VERNON L              NY         10433100         WEITZ & LUXENBERG, PC                                BRZOZA               CAROL                 NY         10780403         WEITZ & LUXENBERG, PC
BRUNDIGE             FRED E                NY         12039401         WEITZ & LUXENBERG, PC                                BRZOZA               JOHN                  NY         10780403         WEITZ & LUXENBERG, PC
BRUNDU               PETER                 NY         02105716         WEITZ & LUXENBERG, PC                                BRZOZOWSKI           ALICE P               NY         I20016816        WEITZ & LUXENBERG, PC
BRUNDU               SANDRA                NY         02105716         WEITZ & LUXENBERG, PC                                BRZOZOWSKI           JERRY                 NY         10964702         WEITZ & LUXENBERG, PC
BRUNELLE             JOHN J                NY         02106694         WEITZ & LUXENBERG, PC                                BRZOZOWSKI           VALENTINE S           NY         I20016816        WEITZ & LUXENBERG, PC
BRUNELLE             KATHRYN S             NY         02105718         WEITZ & LUXENBERG, PC                                BUARDO               DEBORAH               NY         12584400         WEITZ & LUXENBERG, PC
BRUNELLE             ROBERT PETER          NY         02105718         WEITZ & LUXENBERG, PC                                BUARDO               DEBORAH               NY         11938800         WEITZ & LUXENBERG, PC
BRUNJES              PHILLIP H             NY         11522703         WEITZ & LUXENBERG, PC                                BUARDO               JOSEPH                NY         12584400         WEITZ & LUXENBERG, PC
BRUNNER              FRANCIS J             NY         10433200         WEITZ & LUXENBERG, PC                                BUARDO               JOSEPH                NY         11938800         WEITZ & LUXENBERG, PC
BRUNNER              SHIRLEY               NY         10433200         WEITZ & LUXENBERG, PC                                BUBNOWICZ            LILLIAN               NY         CV022036         WEITZ & LUXENBERG, PC
BRUNO                ALMARIA               NY         10433300         WEITZ & LUXENBERG, PC                                BUBNOWICZ            WALTER                NY         CV022036         WEITZ & LUXENBERG, PC
BRUNO                ANTHONY A             NY         12043301         WEITZ & LUXENBERG, PC                                BUCALO               FRANK                 NY         12584500         WEITZ & LUXENBERG, PC
BRUNO                ANTHONY J             NY         10559405         WEITZ & LUXENBERG, PC                                BUCALO               FRANK                 NY         11938800         WEITZ & LUXENBERG, PC
BRUNO                ERNEST P              NY         98117711         WEITZ & LUXENBERG, PC                                BUCALO               FRANK J               NY         12584500         WEITZ & LUXENBERG, PC
BRUNO                JOAN                  NY         10559405         WEITZ & LUXENBERG, PC                                BUCALO               FRANK J               NY         11938800         WEITZ & LUXENBERG, PC
BRUNO                JOHN R                NY         10433300         WEITZ & LUXENBERG, PC                                BUCCI                ARTURO                NY         12668602         WEITZ & LUXENBERG, PC
BRUNO                JOSEPHINE             NY         98117711         WEITZ & LUXENBERG, PC                                BUCCI                BARBARA A             NY         10670602         WEITZ & LUXENBERG, PC
BRUNO                NOCERA                NY         12039901         WEITZ & LUXENBERG, PC                                BUCCI                GIOVINA               NY         11032900         WEITZ & LUXENBERG, PC
BRUNO                RICHARD C             NY         98117733         WEITZ & LUXENBERG, PC                                BUCCI                ROBERT                NY         10670602         WEITZ & LUXENBERG, PC
BRUNQUELL            GEORGE                NY         01111229         WEITZ & LUXENBERG, PC                                BUCCI                TOMMASO               NY         11032900         WEITZ & LUXENBERG, PC
BRUNSON              JAMES T               NY         11741200         WEITZ & LUXENBERG, PC                                BUCCIERO             ANTHONY               NY         10023403         WEITZ & LUXENBERG, PC
BRUNSON              MARY LOU              NY         11741200         WEITZ & LUXENBERG, PC                                BUCCIERO             JANE                  NY         10023403         WEITZ & LUXENBERG, PC
BRUSCA               ANTONIO               NY         12584100         WEITZ & LUXENBERG, PC                                BUCCOLA              ALFRED A              NY         12043301         WEITZ & LUXENBERG, PC
BRUSCA               ANTONIO               NY         11938800         WEITZ & LUXENBERG, PC                                BUCCOLA              EILEEN                NY         12043301         WEITZ & LUXENBERG, PC
BRUSCA               JENNIE                NY         12584100         WEITZ & LUXENBERG, PC                                BUCELATO             PAUL A                NY         98117713         WEITZ & LUXENBERG, PC
BRUSCA               JENNIE                NY         11938800         WEITZ & LUXENBERG, PC                                BUCELATO             SARAH                 NY         98117713         WEITZ & LUXENBERG, PC
BRUSCA               RAMPUDA               NY         12584100         WEITZ & LUXENBERG, PC                                BUCHANAN             CHARLES               NY         19018309         WEITZ & LUXENBERG, PC
BRUSCA               RAMPUDA               NY         11938800         WEITZ & LUXENBERG, PC                                BUCHANAN             CHARLOTTE             NY         11327802         WEITZ & LUXENBERG, PC
BRYAN                COLIN                 NY         11771298         WEITZ & LUXENBERG, PC                                BUCHANAN             JACQUELINE L          NY         11295004         WEITZ & LUXENBERG, PC
BRYAN                DINAH                 NY         00CIV1202        WEITZ & LUXENBERG, PC                                BUCHANAN             JEAN                  NY         19018309         WEITZ & LUXENBERG, PC
BRYAN                ELKE                  NY         11771298         WEITZ & LUXENBERG, PC                                BUCHANAN             JOHN PAUL             NY         00CIV1202        WEITZ & LUXENBERG, PC
BRYAN                EMMIT LEE             NY         01CIV3922        WEITZ & LUXENBERG, PC                                BUCHANAN             LUCIAN                NY         11327802         WEITZ & LUXENBERG, PC
BRYAN                JOANN                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                BUCHANAN             ROBERT L              NY         00CIV1202        WEITZ & LUXENBERG, PC
BRYAN                LOUIS WAYNE           NY         00CIV1202        WEITZ & LUXENBERG, PC                                BUCHANAN             SAMUEL J              NY         10433900         WEITZ & LUXENBERG, PC
BRYAN                RICHARD G             NY         10740102         WEITZ & LUXENBERG, PC                                BUCHANAN             WALTER N              NY         11295004         WEITZ & LUXENBERG, PC
BRYANT               BEVERLY               NY         10433400         WEITZ & LUXENBERG, PC                                BUCHANAN             WILLIAM P             NY         I20019667        WEITZ & LUXENBERG, PC
BRYANT               CARRIE                NY         11773498         WEITZ & LUXENBERG, PC                                BUCHHOLZ             CAROL ANN             NY         11034900         WEITZ & LUXENBERG, PC
BRYANT               CLARENCE              NY         11773498         WEITZ & LUXENBERG, PC                                BUCHHOLZ             DAVID JOSEPH          NY         11034900         WEITZ & LUXENBERG, PC
BRYANT               DOROTHY ANN           NY         01CIV3910        WEITZ & LUXENBERG, PC                                BUCHHOLZ             DAVID L               NY         12584600         WEITZ & LUXENBERG, PC
BRYANT               DUDLEY                NY         CV023431         WEITZ & LUXENBERG, PC                                BUCHHOLZ             DAVID L               NY         11938800         WEITZ & LUXENBERG, PC
BRYANT               ETHEL M               NY         11773498         WEITZ & LUXENBERG, PC                                BUCHHOLZ             EARL V                NY         12584600         WEITZ & LUXENBERG, PC
BRYANT               FREDDIE               NY         01CIV3910        WEITZ & LUXENBERG, PC                                BUCHHOLZ             EARL V                NY         11938800         WEITZ & LUXENBERG, PC
BRYANT               FREELON               NY         01CIV3910        WEITZ & LUXENBERG, PC                                BUCHINGER            BRENDA                NY         98117735         WEITZ & LUXENBERG, PC
BRYANT               GEORGE                NY         12584200         WEITZ & LUXENBERG, PC                                BUCHINGER            WILLIAM               NY         98117735         WEITZ & LUXENBERG, PC
BRYANT               GEORGE                NY         11938800         WEITZ & LUXENBERG, PC                                BUCK                 BERNARD B             NY         10434000         WEITZ & LUXENBERG, PC
BRYANT               HERMAN                NY         CV003590         WEITZ & LUXENBERG, PC                                BUCK                 CHARLENE              NY         10434200         WEITZ & LUXENBERG, PC
BRYANT               JEANETTE              NY         12584200         WEITZ & LUXENBERG, PC                                BUCK                 FLORA                 NY         10434100         WEITZ & LUXENBERG, PC
BRYANT               JEANETTE              NY         11938800         WEITZ & LUXENBERG, PC                                BUCK                 MARY C                NY         10434000         WEITZ & LUXENBERG, PC
BRYANT               JEWEL                 NY         CV003590         WEITZ & LUXENBERG, PC                                BUCK                 RAY                   NY         10434100         WEITZ & LUXENBERG, PC
BRYANT               MARGARET              NY         CV023431         WEITZ & LUXENBERG, PC                                BUCK                 WILLIAM               NY         10434200         WEITZ & LUXENBERG, PC
BRYANT               RICHARD               PA         131203117        WEITZ & LUXENBERG, PC                                BUCKI                HENRY J               NY         10434300         WEITZ & LUXENBERG, PC
BRYANT               RICHARD THEODORE      NY         10433400         WEITZ & LUXENBERG, PC                                BUCKI                NATALIE H             NY         10434300         WEITZ & LUXENBERG, PC
BRYANT               ROBERT                NY         11074206         WEITZ & LUXENBERG, PC                                BUCKLEY              CAROL W               NY         99106064         WEITZ & LUXENBERG, PC
BRYANT               ROBERT A              NY         11074206         WEITZ & LUXENBERG, PC                                BUCKLEY              CATHERINE             NY         99106065         WEITZ & LUXENBERG, PC
BRYANT               VIOLA                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                BUCKLEY              CLIFFORD              NY         1900822013       WEITZ & LUXENBERG, PC
BRYANT               VIRGINIA              NY         11074206         WEITZ & LUXENBERG, PC                                BUCKLEY              DOUGLAS C             NY         10434400         WEITZ & LUXENBERG, PC
BRYDE                JUDITH                NY         10433500         WEITZ & LUXENBERG, PC                                BUCKLEY              ELEANOR               NY         10434400         WEITZ & LUXENBERG, PC
BRYDE                JUDITH                NY         10433600         WEITZ & LUXENBERG, PC                                BUCKLEY              HENRY                 NY         99106065         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 877
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 212 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BUCKLEY              HENRY C               NY         12129297         WEITZ & LUXENBERG, PC                                BULL                 LAVERNE               NY         10460904         WEITZ & LUXENBERG, PC
BUCKLEY              JOSEPH                NY         1901752017       WEITZ & LUXENBERG, PC                                BULLARD              BONNIE L              NY         11034800         WEITZ & LUXENBERG, PC
BUCKLEY              KATHLEEN              NY         10887302         WEITZ & LUXENBERG, PC                                BULLARD              MELVIN W              NY         11034800         WEITZ & LUXENBERG, PC
BUCKLEY              LELAND G              NY         99106064         WEITZ & LUXENBERG, PC                                BULLEN               FRANCIS A             NY         99106063         WEITZ & LUXENBERG, PC
BUCKLEY              MARY                  NY         99111888         WEITZ & LUXENBERG, PC                                BULLINGER            DOROTHY               NY         10001601         WEITZ & LUXENBERG, PC
BUCKLEY              MICHAEL               NY         10696302         WEITZ & LUXENBERG, PC                                BULLINGER            GERALD                NY         10001601         WEITZ & LUXENBERG, PC
BUCKLEY              RAYMOND WILLIAM       NY         99111888         WEITZ & LUXENBERG, PC                                BULLIS               KATHLEEN              NY         10434500         WEITZ & LUXENBERG, PC
BUCKLEY              VALERIE J             NY         12129297         WEITZ & LUXENBERG, PC                                BULLIS               PAULINE               NY         12039201         WEITZ & LUXENBERG, PC
BUCKLEY              WILLIAM H             NY         10722002         WEITZ & LUXENBERG, PC                                BULLIS               RICHARD ALAN          NY         12039201         WEITZ & LUXENBERG, PC
BUCZAK               LINDA MAE             NY         02120709         WEITZ & LUXENBERG, PC                                BULLIS               ROGER A               NY         10434500         WEITZ & LUXENBERG, PC
BUCZAK               RONALD S              NY         02120709         WEITZ & LUXENBERG, PC                                BULMAHN              ARDITH                NY         10001701         WEITZ & LUXENBERG, PC
BUDAL                ANDREW                NY         01CIV3895        WEITZ & LUXENBERG, PC                                BULMAHN              DONALD L              NY         10001701         WEITZ & LUXENBERG, PC
BUDANO               ANNA M                NY         01122139         WEITZ & LUXENBERG, PC                                BULMAN               BRENDA H              NY         02107005         WEITZ & LUXENBERG, PC
BUDANO               EDWARD                NY         01122139         WEITZ & LUXENBERG, PC                                BULMAN               JAMES F               NY         02107005         WEITZ & LUXENBERG, PC
BUDD                 DIANE C               NY         12204002         WEITZ & LUXENBERG, PC                                BULMENTHAL           PAMELA                NY         10835900         WEITZ & LUXENBERG, PC
BUDD                 MICHAEL E             NY         12204002         WEITZ & LUXENBERG, PC                                BULSON               DOROTHY               NY         12668102         WEITZ & LUXENBERG, PC
BUDD                 ROBERT H              NY         12204002         WEITZ & LUXENBERG, PC                                BULSON               JACK                  NY         12668102         WEITZ & LUXENBERG, PC
BUDENKO              KATHY                 NY         1904912012       WEITZ & LUXENBERG, PC                                BULTMAN              KAREN                 NY         1903242017       WEITZ & LUXENBERG, PC
BUDENKO              VICTOR                NY         1904912012       WEITZ & LUXENBERG, PC                                BULTMAN              RUSSEL                NY         1903242017       WEITZ & LUXENBERG, PC
BUDINICH             JOHN                  NY         11976201         WEITZ & LUXENBERG, PC                                BULTMAN              THOMAS O              NY         1900012015       WEITZ & LUXENBERG, PC
BUDINICH             JOHN                  NY         11123201         WEITZ & LUXENBERG, PC                                BULTMAN              VICTORIA              NY         1900012015       WEITZ & LUXENBERG, PC
BUDINICH             MARTIN                NY         12038901         WEITZ & LUXENBERG, PC                                BULZOMI              ANN                   NY         10501500         WEITZ & LUXENBERG, PC
BUDINICH             PIERINA               NY         11976201         WEITZ & LUXENBERG, PC                                BULZOMI              VINCENT J             NY         10501500         WEITZ & LUXENBERG, PC
BUDINICH             PIERINA               NY         11123201         WEITZ & LUXENBERG, PC                                BUMP                 WILSON                NY         02106580         WEITZ & LUXENBERG, PC
BUDNEY               JAMES                 NY         11159403         WEITZ & LUXENBERG, PC                                BUMPUS               CHARLES F             NY         10001801         WEITZ & LUXENBERG, PC
BUDNEY               MARGARET              NY         11159403         WEITZ & LUXENBERG, PC                                BUMPUS               ELIZABETH             NY         10001801         WEITZ & LUXENBERG, PC
BUDNICK              THERESA               NY         1900162014       WEITZ & LUXENBERG, PC                                BUMPUS               LEO                   NY         11183003         WEITZ & LUXENBERG, PC
BUDNIEWSKI           ISABELL               NY         11350399         WEITZ & LUXENBERG, PC                                BUNCH                CHARLES               NY         10501600         WEITZ & LUXENBERG, PC
BUDNIEWSKI           RAY                   NY         11350399         WEITZ & LUXENBERG, PC                                BUNDY                ATTLEY D              NY         19038311         WEITZ & LUXENBERG, PC
BUDNIEWSKI           RONALD R              NY         11350399         WEITZ & LUXENBERG, PC                                BUNK                 EDWARD                NY         02107007         WEITZ & LUXENBERG, PC
BUDZINSKI            EDWARD M              NY         10710002         WEITZ & LUXENBERG, PC                                BUNK                 EDWARD                NY         11536502         WEITZ & LUXENBERG, PC
BUEHMANN             FRED H                NY         99120260         WEITZ & LUXENBERG, PC                                BUNK                 FRANCES RUTH          NY         02107007         WEITZ & LUXENBERG, PC
BUEHMANN             URSULA                NY         99120260         WEITZ & LUXENBERG, PC                                BUNK                 FRANCES RUTH          NY         11536502         WEITZ & LUXENBERG, PC
BUEL                 DALE A                NY         02106690         WEITZ & LUXENBERG, PC                                BUNN                 GRACE                 NY         CV016698         WEITZ & LUXENBERG, PC
BUELL                HENRY M               NY         10680802         WEITZ & LUXENBERG, PC                                BUNN                 WALTER J              NY         10632099         WEITZ & LUXENBERG, PC
BUELOW               JANET                 NY         02106690         WEITZ & LUXENBERG, PC                                BUNN                 WILLIAM C             NY         CV016698         WEITZ & LUXENBERG, PC
BUELOW               JANET                 NY         11381102         WEITZ & LUXENBERG, PC                                BUNTE                WILLIAM A             NY         11350599         WEITZ & LUXENBERG, PC
BUELOW               ROBERT JAMES          NY         02106690         WEITZ & LUXENBERG, PC                                BUNTE                YOLANDA A             NY         11350599         WEITZ & LUXENBERG, PC
BUELOW               ROBERT JAMES          NY         11381102         WEITZ & LUXENBERG, PC                                BUNTS                MAE E                 NY         10501400         WEITZ & LUXENBERG, PC
BUFFA                ELONORA               NY         01111218         WEITZ & LUXENBERG, PC                                BUNTS                ROBERT D              NY         10501400         WEITZ & LUXENBERG, PC
BUFFA                JOSEPH                NY         01111218         WEITZ & LUXENBERG, PC                                BUNTS                THOMAS                NY         10501400         WEITZ & LUXENBERG, PC
BUFFA                LINDA                 NY         01111222         WEITZ & LUXENBERG, PC                                BUONAGURA            JOSEPH                NY         10008703         WEITZ & LUXENBERG, PC
BUFFA                PAUL L                NY         01111222         WEITZ & LUXENBERG, PC                                BUONAGURA            SAMUEL                NY         12042901         WEITZ & LUXENBERG, PC
BUFFALOE             DELORES               NY         10852106         WEITZ & LUXENBERG, PC                                BUONAIUTO            JAMES                 NY         10446400         WEITZ & LUXENBERG, PC
BUFFALOE             WILLIAM E             NY         10852106         WEITZ & LUXENBERG, PC                                BUONAIUTO            JAMES P               NY         10446400         WEITZ & LUXENBERG, PC
BUFFHAM              DAWN M                NY         10645702         WEITZ & LUXENBERG, PC                                BUONAIUTO            ROSE L                NY         10446400         WEITZ & LUXENBERG, PC
BUFFORD              JEAN                  NY         1902412012       WEITZ & LUXENBERG, PC                                BUONOCORE            CAROLANN              NY         99120285         WEITZ & LUXENBERG, PC
BUGAY                JOHN                  NY         98117736         WEITZ & LUXENBERG, PC                                BUONOCORE            ESTELLE               NY         10102005         WEITZ & LUXENBERG, PC
BUGGENHAGEN          COLIN                 NY         02106693         WEITZ & LUXENBERG, PC                                BUONOCORE            RALPH R               NY         10102005         WEITZ & LUXENBERG, PC
BUGGENHAGEN          DEBORAH               NY         02106693         WEITZ & LUXENBERG, PC                                BUONPANE             DOROTHY               NY         10446500         WEITZ & LUXENBERG, PC
BUGLIONE             MADELINE E            NY         11328102         WEITZ & LUXENBERG, PC                                BUONPANE             WILLIAM               NY         10446500         WEITZ & LUXENBERG, PC
BUGMAN               JOSEPH                NY         10716902         WEITZ & LUXENBERG, PC                                BURBANK              JOHN R                NY         12043301         WEITZ & LUXENBERG, PC
BUGNIAZET            JAMES G               NY         12693502         WEITZ & LUXENBERG, PC                                BURBANK              ROSE MARIE            NY         12043301         WEITZ & LUXENBERG, PC
BUGNIAZET            SUSAN                 NY         12693502         WEITZ & LUXENBERG, PC                                BURBULA              CZESLAW               NY         01111229         WEITZ & LUXENBERG, PC
BUHER                DENISE D              NY         02107005         WEITZ & LUXENBERG, PC                                BURCH                ANGELINE              NY         10446600         WEITZ & LUXENBERG, PC
BUHER                DENISE D              NY         11623502         WEITZ & LUXENBERG, PC                                BURCH                CIARA                 NY         CV042014         WEITZ & LUXENBERG, PC
BUHLER               JOSEPH A              NY         10023403         WEITZ & LUXENBERG, PC                                BURCH                DIANE                 NY         11774498         WEITZ & LUXENBERG, PC
BUKH                 ARKADY                NY         12061797         WEITZ & LUXENBERG, PC                                BURCH                IVAN WAYNE            NY         CV042014         WEITZ & LUXENBERG, PC
BUKKOSY              MARGARET              NY         99113504         WEITZ & LUXENBERG, PC                                BURCH                JO ELLEN              NY         1901142015       WEITZ & LUXENBERG, PC
BUKKOSY              STEVE                 NY         99113504         WEITZ & LUXENBERG, PC                                BURCH                JOAN                  NY         12693702         WEITZ & LUXENBERG, PC
BUKOWSKI             ARLENE                NY         10001501         WEITZ & LUXENBERG, PC                                BURCH                NORMAN                NY         1901142015       WEITZ & LUXENBERG, PC
BUKOWSKI             DAVID F               NY         10001501         WEITZ & LUXENBERG, PC                                BURCH                ROBERT J              NY         12693702         WEITZ & LUXENBERG, PC
BUKOWSKI             JACK J                NY         01111219         WEITZ & LUXENBERG, PC                                BURCH                RONALD                NJ         MIDL0791118AS    WEITZ & LUXENBERG, PC
BULERA               SOPHIE                NY         12377802         WEITZ & LUXENBERG, PC                                BURCH                WILLIAM               NY         10446600         WEITZ & LUXENBERG, PC
BULGER               BARBARA               NY         10877203         WEITZ & LUXENBERG, PC                                BURCH                WILLIAM JR            NY         11774498         WEITZ & LUXENBERG, PC
BULGER               THOMAS                NY         10877203         WEITZ & LUXENBERG, PC                                BURDETT              CONCETTA              NY         19001510         WEITZ & LUXENBERG, PC
BULIN                DONALD A              NY         10973703         WEITZ & LUXENBERG, PC                                BURDETT              SCHUYLER G            NY         19001510         WEITZ & LUXENBERG, PC
BULIN                MARY T                NY         10973703         WEITZ & LUXENBERG, PC                                BURDICK              FRANCES               NY         10716702         WEITZ & LUXENBERG, PC
BULL                 DORA                  NY         19018711         WEITZ & LUXENBERG, PC                                BURDICK              GORDON                NY         02105716         WEITZ & LUXENBERG, PC
BULL                 JAMES                 NY         19018711         WEITZ & LUXENBERG, PC                                BURDITT              LEO                   NY         19029310         WEITZ & LUXENBERG, PC
BULL                 JOAN A                NY         10460904         WEITZ & LUXENBERG, PC                                BURDO                LOUIS                 NY         11034600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 878
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 213 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BURDO                PEARL                 NY         11034600         WEITZ & LUXENBERG, PC                                BURNETT              MARY                  NY         1903172013       WEITZ & LUXENBERG, PC
BURFORD              ROBERT C              NY         11034500         WEITZ & LUXENBERG, PC                                BURNETTE             DAVID A               NY         1905182012       WEITZ & LUXENBERG, PC
BURFORD              ROCHELLA M            NY         11034500         WEITZ & LUXENBERG, PC                                BURNETTE             GERALDINE             NY         1905182012       WEITZ & LUXENBERG, PC
BURGER               EUGENE                NY         10445700         WEITZ & LUXENBERG, PC                                BURNHAM              FRANCES               NY         10740502         WEITZ & LUXENBERG, PC
BURGER               EVELYN                NY         11034400         WEITZ & LUXENBERG, PC                                BURNHAM              HAROLD E              NY         10740502         WEITZ & LUXENBERG, PC
BURGER               INGRID                NY         10445700         WEITZ & LUXENBERG, PC                                BURNLEY              ROY                   NY         01CIV3910        WEITZ & LUXENBERG, PC
BURGER               JAMES M               NY         11034400         WEITZ & LUXENBERG, PC                                BURNLEY              SHIRLEY JEAN          NY         01CIV3910        WEITZ & LUXENBERG, PC
BURGESS              ALBERT A              NY         10626899         WEITZ & LUXENBERG, PC                                BURNS                AGNES                 NY         02107006         WEITZ & LUXENBERG, PC
BURGESS              HARVEY                NY         11123101         WEITZ & LUXENBERG, PC                                BURNS                AGNES                 NY         11797302         WEITZ & LUXENBERG, PC
BURGESS              JAMES M               NY         10740102         WEITZ & LUXENBERG, PC                                BURNS                ANN                   NY         02107005         WEITZ & LUXENBERG, PC
BURGESS              JOAN MARIE            NY         10626799         WEITZ & LUXENBERG, PC                                BURNS                ANNE                  NY         1900162019       WEITZ & LUXENBERG, PC
BURGESS              LEONARD R             NY         10626799         WEITZ & LUXENBERG, PC                                BURNS                BARBARA               NY         10360100         WEITZ & LUXENBERG, PC
BURGEY               JOHN                  NY         10680702         WEITZ & LUXENBERG, PC                                BURNS                BERNARD T             NY         02107006         WEITZ & LUXENBERG, PC
BURGEY               NANCY E               NY         10680702         WEITZ & LUXENBERG, PC                                BURNS                BERNARD T             NY         11797302         WEITZ & LUXENBERG, PC
BURGIN               GERALD W              NY         11314402         WEITZ & LUXENBERG, PC                                BURNS                CLARINA               NY         10073103         WEITZ & LUXENBERG, PC
BURGIN               MARYLOU               NY         11314402         WEITZ & LUXENBERG, PC                                BURNS                DONALD V              NY         1900162019       WEITZ & LUXENBERG, PC
BURGIN               MERLE G               NY         11314402         WEITZ & LUXENBERG, PC                                BURNS                DOROTHY               NY         10446300         WEITZ & LUXENBERG, PC
BURGON               WALTER                NY         10445900         WEITZ & LUXENBERG, PC                                BURNS                EDWARD L              NY         10360100         WEITZ & LUXENBERG, PC
BURKARD              EDWARD                NY         10931603         WEITZ & LUXENBERG, PC                                BURNS                GEORGE D              NY         11627001         WEITZ & LUXENBERG, PC
BURKARD              NANCY                 NY         10931603         WEITZ & LUXENBERG, PC                                BURNS                GEORGE D              NY         01111221         WEITZ & LUXENBERG, PC
BURKE                ANTHONY A             NY         10626499         WEITZ & LUXENBERG, PC                                BURNS                JAMES                 NY         10073103         WEITZ & LUXENBERG, PC
BURKE                BARBARA               NY         10360500         WEITZ & LUXENBERG, PC                                BURNS                JAMES J               NY         10446200         WEITZ & LUXENBERG, PC
BURKE                CAROL                 NY         12185499         WEITZ & LUXENBERG, PC                                BURNS                JOAN A                NY         11627001         WEITZ & LUXENBERG, PC
BURKE                CATHERINE A           NY         11026802         WEITZ & LUXENBERG, PC                                BURNS                JOAN A                NY         01111221         WEITZ & LUXENBERG, PC
BURKE                CHRISTOPHER G         NY         19003809         WEITZ & LUXENBERG, PC                                BURNS                JOHN H                NY         02107006         WEITZ & LUXENBERG, PC
BURKE                DOLORES P             NY         01111220         WEITZ & LUXENBERG, PC                                BURNS                JOHN H                NY         11797302         WEITZ & LUXENBERG, PC
BURKE                ELIZABETH             NY         10446000         WEITZ & LUXENBERG, PC                                BURNS                KAREN A               NY         10696402         WEITZ & LUXENBERG, PC
BURKE                ELIZABETH             NY         10870801         WEITZ & LUXENBERG, PC                                BURNS                KAREN A               NY         11209302         WEITZ & LUXENBERG, PC
BURKE                JAMES                 NY         10446000         WEITZ & LUXENBERG, PC                                BURNS                KATHLEEN              NY         10001901         WEITZ & LUXENBERG, PC
BURKE                JAMES M               NY         10699902         WEITZ & LUXENBERG, PC                                BURNS                KENNETH R             NY         11741300         WEITZ & LUXENBERG, PC
BURKE                JAMES M               NY         11131302         WEITZ & LUXENBERG, PC                                BURNS                LINDA                 NY         10729299         WEITZ & LUXENBERG, PC
BURKE                JOHN L                NY         10870801         WEITZ & LUXENBERG, PC                                BURNS                MARGARET              NY         10359900         WEITZ & LUXENBERG, PC
BURKE                JOHN P                NY         01111220         WEITZ & LUXENBERG, PC                                BURNS                MARIE                 NY         11741300         WEITZ & LUXENBERG, PC
BURKE                JOSEPH P              NY         12185499         WEITZ & LUXENBERG, PC                                BURNS                MARYANE               NY         1900862019       WEITZ & LUXENBERG, PC
BURKE                JOSEPH T              NY         01111227         WEITZ & LUXENBERG, PC                                BURNS                MAUREEN               NY         10446200         WEITZ & LUXENBERG, PC
BURKE                KEITH R               NY         10360500         WEITZ & LUXENBERG, PC                                BURNS                MICHAEL               NY         02107005         WEITZ & LUXENBERG, PC
BURKE                LISA                  NY         10626499         WEITZ & LUXENBERG, PC                                BURNS                MILES E               NY         10626399         WEITZ & LUXENBERG, PC
BURKE                MARTHA M              NY         10740302         WEITZ & LUXENBERG, PC                                BURNS                OWEN F                NY         99125073         WEITZ & LUXENBERG, PC
BURKE                MARY E                NY         10124902         WEITZ & LUXENBERG, PC                                BURNS                PATRICIA              NY         10002001         WEITZ & LUXENBERG, PC
BURKE                PATRICK M             NY         10501700         WEITZ & LUXENBERG, PC                                BURNS                PATRICIA J            NY         1900132019       WEITZ & LUXENBERG, PC
BURKE                RAYMOND P             NY         10124902         WEITZ & LUXENBERG, PC                                BURNS                RICHARD J             NY         10446300         WEITZ & LUXENBERG, PC
BURKE                RITA MARIE            NY         19003809         WEITZ & LUXENBERG, PC                                BURNS                RICHARD M             NY         10360000         WEITZ & LUXENBERG, PC
BURKE                SHARON ANN            NY         10699902         WEITZ & LUXENBERG, PC                                BURNS                ROBERT                NY         10359900         WEITZ & LUXENBERG, PC
BURKE                SHARON ANN            NY         11131302         WEITZ & LUXENBERG, PC                                BURNS                ROBERT G              NY         10001901         WEITZ & LUXENBERG, PC
BURKE                THOMAS J              NY         10446100         WEITZ & LUXENBERG, PC                                BURNS                ROSEMARY              NY         10626399         WEITZ & LUXENBERG, PC
BURKE                VERNON JAMES          NY         11026802         WEITZ & LUXENBERG, PC                                BURNS                THOMAS J              NY         10002001         WEITZ & LUXENBERG, PC
BURKEL               CAROL                 NY         01111225         WEITZ & LUXENBERG, PC                                BURNS                VIRGINIA              NY         11616704         WEITZ & LUXENBERG, PC
BURKEL               EDWARD                NY         01111225         WEITZ & LUXENBERG, PC                                BURNS                VIRGINIA M            NY         99125073         WEITZ & LUXENBERG, PC
BURKHALTER           SUE                   NY         1900212013       WEITZ & LUXENBERG, PC                                BURNS                WILLIAM               NY         10023403         WEITZ & LUXENBERG, PC
BURKHALTER           TAMBREY C             NY         1900212013       WEITZ & LUXENBERG, PC                                BURNSIDE             GLORIA Y              NY         12039501         WEITZ & LUXENBERG, PC
BURKHARDT            CORA                  NY         10153105         WEITZ & LUXENBERG, PC                                BURRELL              MARILYN               NY         00CIV3589        WEITZ & LUXENBERG, PC
BURKHARDT            HENRY J               NY         10153105         WEITZ & LUXENBERG, PC                                BURRILL              GEOFFREY              NY         11034100         WEITZ & LUXENBERG, PC
BURKHART             CHARLES L             NY         02106707         WEITZ & LUXENBERG, PC                                BURRIS               DONALD                NY         10359800         WEITZ & LUXENBERG, PC
BURKS                SHIRLEAN              NY         01CIV3910        WEITZ & LUXENBERG, PC                                BURRIS               ERNEST L              NY         10740402         WEITZ & LUXENBERG, PC
BURL                 HELEN T               NY         10360300         WEITZ & LUXENBERG, PC                                BURRIS               MICHAEL R             NY         10740402         WEITZ & LUXENBERG, PC
BURL                 PHILIP M              NY         10360300         WEITZ & LUXENBERG, PC                                BURRUANO             ELIZABETH             NY         11350199         WEITZ & LUXENBERG, PC
BURLEY               KENNETH L             NY         10732704         WEITZ & LUXENBERG, PC                                BURRUANO             MICHAEL               NY         11350199         WEITZ & LUXENBERG, PC
BURLEY               LINDA                 NY         10732704         WEITZ & LUXENBERG, PC                                BURRUEZO             DONNA                 NY         11350299         WEITZ & LUXENBERG, PC
BURLINGAME           CHARLES L             NY         10680802         WEITZ & LUXENBERG, PC                                BURRUEZO             JOSEPH JOHN           NY         11350299         WEITZ & LUXENBERG, PC
BURLINGAME           EDWIN R               NY         10360200         WEITZ & LUXENBERG, PC                                BURRUSS              ALVIN EUGEME          NY         CV024443         WEITZ & LUXENBERG, PC
BURLINGAME           EVVA M                NY         10360200         WEITZ & LUXENBERG, PC                                BURRUSS              FERN                  NY         CV024443         WEITZ & LUXENBERG, PC
BURLINGAME           JACKIE                NY         10680702         WEITZ & LUXENBERG, PC                                BURT                 JESSIE                NY         12039501         WEITZ & LUXENBERG, PC
BURLINGAME           WILLIAM H             NY         10680702         WEITZ & LUXENBERG, PC                                BURT                 MARSHALL ROBERT       NY         10716702         WEITZ & LUXENBERG, PC
BURNELL              GARRY N               NY         10658102         WEITZ & LUXENBERG, PC                                BURT                 RUBY                  NY         12039501         WEITZ & LUXENBERG, PC
BURNELL              HAZEL                 NY         01CIV4688        WEITZ & LUXENBERG, PC                                BURTON               BERNICE L             NY         10911601         WEITZ & LUXENBERG, PC
BURNELL              JOHN E                NY         01CIV4688        WEITZ & LUXENBERG, PC                                BURTON               BEVERLY J             NY         10002201         WEITZ & LUXENBERG, PC
BURNETT              ALVIN LEROY           NY         CV003590         WEITZ & LUXENBERG, PC                                BURTON               BONNIE                NY         10359600         WEITZ & LUXENBERG, PC
BURNETT              CHARLES               NY         CV05644          WEITZ & LUXENBERG, PC                                BURTON               BRUCE D               NY         I200110270       WEITZ & LUXENBERG, PC
BURNETT              DOROTHY M             NY         99113507         WEITZ & LUXENBERG, PC                                BURTON               CECELIA M             NY         12042901         WEITZ & LUXENBERG, PC
BURNETT              FRANK J               NY         1903172013       WEITZ & LUXENBERG, PC                                BURTON               FREDDIE W             NY         10359700         WEITZ & LUXENBERG, PC
BURNETT              JUNIOR M              NY         99113507         WEITZ & LUXENBERG, PC                                BURTON               GLORIA                NY         I200110270       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 879
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 214 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BURTON               HARRY A JR            NY         10002201         WEITZ & LUXENBERG, PC                                BUTLER               HILREY                NY         10319103         WEITZ & LUXENBERG, PC
BURTON               JANICE                NY         12693402         WEITZ & LUXENBERG, PC                                BUTLER               JILL M                NY         10645702         WEITZ & LUXENBERG, PC
BURTON               JANICE                NY         10441803         WEITZ & LUXENBERG, PC                                BUTLER               JUANITA               NY         01CIV3922        WEITZ & LUXENBERG, PC
BURTON               KATHERINE             NY         10359700         WEITZ & LUXENBERG, PC                                BUTLER               KENNETH E             NY         I20019069        WEITZ & LUXENBERG, PC
BURTON               QUENTIN A             NY         12693402         WEITZ & LUXENBERG, PC                                BUTLER               LARRY A               NY         10645702         WEITZ & LUXENBERG, PC
BURTON               QUENTIN A             NY         10441803         WEITZ & LUXENBERG, PC                                BUTLER               MARIAN                NY         19001612         WEITZ & LUXENBERG, PC
BURTON               RICHARD               NY         02107099         WEITZ & LUXENBERG, PC                                BUTLER               MARION                NY         01CIV3922        WEITZ & LUXENBERG, PC
BURTON               ROOSEVELT             NY         10911601         WEITZ & LUXENBERG, PC                                BUTLER               MARY LOU              NY         10216301         WEITZ & LUXENBERG, PC
BURTON               THEODORE              NY         10359600         WEITZ & LUXENBERG, PC                                BUTLER               MICHAEL               NY         1901832019       WEITZ & LUXENBERG, PC
BURTON               WILLIAM C             NY         12042901         WEITZ & LUXENBERG, PC                                BUTLER               MOYRA                 NY         1901832019       WEITZ & LUXENBERG, PC
BURZUMATO            DEBRA J               NY         02107007         WEITZ & LUXENBERG, PC                                BUTLER               PERRY L               NY         02CIV1251        WEITZ & LUXENBERG, PC
BURZUMATO            DEBRA J               NY         10595103         WEITZ & LUXENBERG, PC                                BUTLER               RAYMOND               NY         12038901         WEITZ & LUXENBERG, PC
BUSBY                LINDA                 NY         CV013921         WEITZ & LUXENBERG, PC                                BUTLER               RONALD E              NY         02107005         WEITZ & LUXENBERG, PC
BUSBY                RONNIE                NY         CV013921         WEITZ & LUXENBERG, PC                                BUTLER               ROSALIND              NY         02CIV1251        WEITZ & LUXENBERG, PC
BUSCARNERA           FRANK                 NY         10359500         WEITZ & LUXENBERG, PC                                BUTLER               THOMAS A              NY         99113508         WEITZ & LUXENBERG, PC
BUSCARNERA           SUSAN                 NY         10359500         WEITZ & LUXENBERG, PC                                BUTLER               THOMAS J              NY         10002501         WEITZ & LUXENBERG, PC
BUSCAVAGE            EDWARD J              NY         10359300         WEITZ & LUXENBERG, PC                                BUTLER               TIMOTHY CRAIG         NY         01CIV3910        WEITZ & LUXENBERG, PC
BUSCH                DORIS C               NY         11559901         WEITZ & LUXENBERG, PC                                BUTLER               WALLACE T             NY         19001612         WEITZ & LUXENBERG, PC
BUSCH                DORIS C               NY         01111218         WEITZ & LUXENBERG, PC                                BUTLER               WILLIAM               NY         01CIV3895        WEITZ & LUXENBERG, PC
BUSCH                JOSEPH C              NY         1900082016       WEITZ & LUXENBERG, PC                                BUTLER               ZELLIA                NY         01CIV3895        WEITZ & LUXENBERG, PC
BUSCH                JOSEPHINE             NY         1900082016       WEITZ & LUXENBERG, PC                                BUTNER               JANICE                NY         01100026         WEITZ & LUXENBERG, PC
BUSCH                PAMELA                NY         11626901         WEITZ & LUXENBERG, PC                                BUTNER               ROBERT                NY         01100026         WEITZ & LUXENBERG, PC
BUSCH                RONALD B              NY         11559901         WEITZ & LUXENBERG, PC                                BUTTI                ALFRED P              NY         12039901         WEITZ & LUXENBERG, PC
BUSCH                RONALD B              NY         01111218         WEITZ & LUXENBERG, PC                                BUTTI                JEAN                  NY         12039901         WEITZ & LUXENBERG, PC
BUSCH                RONALD L              NY         11626901         WEITZ & LUXENBERG, PC                                BUTTICCI             LINDA                 NY         11351399         WEITZ & LUXENBERG, PC
BUSH                 GLADIS                NY         11351199         WEITZ & LUXENBERG, PC                                BUTTICCI             MELVIN A              NY         11351399         WEITZ & LUXENBERG, PC
BUSH                 JOHN W                NY         11351099         WEITZ & LUXENBERG, PC                                BUTTIGIEG            VINCENT               NY         99113512         WEITZ & LUXENBERG, PC
BUSH                 LEUDDIE               NY         11351099         WEITZ & LUXENBERG, PC                                BUTTINO              MARGARET L            NY         11437299         WEITZ & LUXENBERG, PC
BUSH                 NANCY                 NY         10002301         WEITZ & LUXENBERG, PC                                BUTTINO              PASQUALE N            NY         11437299         WEITZ & LUXENBERG, PC
BUSH                 PAMELA                NY         11626901         WEITZ & LUXENBERG, PC                                BUTTS                MICHAEL E             NY         10740402         WEITZ & LUXENBERG, PC
BUSH                 PAMELA                NY         01111221         WEITZ & LUXENBERG, PC                                BUUM                 BRADLEY               DE         N17C04091ASB     WEITZ & LUXENBERG, PC
BUSH                 ROBERT J              NY         10002301         WEITZ & LUXENBERG, PC                                BUUM                 LORENA K              DE         N17C04091ASB     WEITZ & LUXENBERG, PC
BUSH                 RONALD L              NY         11626901         WEITZ & LUXENBERG, PC                                BUZZETTA             FRANCES               NY         10002701         WEITZ & LUXENBERG, PC
BUSH                 RONALD L              NY         01111221         WEITZ & LUXENBERG, PC                                BUZZETTA             PETER PAUL            NY         10002701         WEITZ & LUXENBERG, PC
BUSH                 WILLIAM RANDALL       NY         11351199         WEITZ & LUXENBERG, PC                                BYCEL                THOMAS                NY         01111228         WEITZ & LUXENBERG, PC
BUSHEN               CECELIA               NY         10359200         WEITZ & LUXENBERG, PC                                BYER                 BARBARA L             NY         10587202         WEITZ & LUXENBERG, PC
BUSHEN               JOHN C                NY         10359200         WEITZ & LUXENBERG, PC                                BYER                 BARBARA L             NY         10819202         WEITZ & LUXENBERG, PC
BUSHEY               CLAIRE                NY         11104703         WEITZ & LUXENBERG, PC                                BYER                 NORMAN E              NY         10587202         WEITZ & LUXENBERG, PC
BUSHEY               DANIEL W              NY         10359100         WEITZ & LUXENBERG, PC                                BYER                 NORMAN E              NY         10819202         WEITZ & LUXENBERG, PC
BUSHEY               SARAH                 NY         10359100         WEITZ & LUXENBERG, PC                                BYERLEY              DOUGLAS B             NY         10077502         WEITZ & LUXENBERG, PC
BUSHEY               WILLIAM               NY         11104703         WEITZ & LUXENBERG, PC                                BYRD                 PAULA                 NY         01CIV4688        WEITZ & LUXENBERG, PC
BUSHNELL             JOANNE                NY         10002401         WEITZ & LUXENBERG, PC                                BYRD                 SHELTON P             NY         CV015331         WEITZ & LUXENBERG, PC
BUSHNELL             ROBERT D              NY         10002401         WEITZ & LUXENBERG, PC                                BYRD                 TILLIMAN M            NY         01CIV4688        WEITZ & LUXENBERG, PC
BUSHY                GARY T                NY         02113280         WEITZ & LUXENBERG, PC                                BYRNE                DEBORAH               NY         11738300         WEITZ & LUXENBERG, PC
BUSHY                LORA W                NY         02113280         WEITZ & LUXENBERG, PC                                BYRNE                FRANCIS XAVIER        NY         104445400        WEITZ & LUXENBERG, PC
BUSKIRK              EDWIN                 NY         10023403         WEITZ & LUXENBERG, PC                                BYRNE                HUGH                  NY         98117762         WEITZ & LUXENBERG, PC
BUSSANICH            BENITO                NY         01111219         WEITZ & LUXENBERG, PC                                BYRNE                HUGH                  NY         11776298         WEITZ & LUXENBERG, PC
BUSSANICH            LEONARD               NY         11642301         WEITZ & LUXENBERG, PC                                BYRNE                JAMES F               NY         10358700         WEITZ & LUXENBERG, PC
BUSSANICH            LEONARD               NY         01111219         WEITZ & LUXENBERG, PC                                BYRNE                JOHN P                NY         12039001         WEITZ & LUXENBERG, PC
BUSSANICH            NICOLO                NY         11642301         WEITZ & LUXENBERG, PC                                BYRNE                JULIA                 NY         12422802         WEITZ & LUXENBERG, PC
BUSSANICH            NICOLO                NY         01111219         WEITZ & LUXENBERG, PC                                BYRNE                MARILYN               NY         12186101         WEITZ & LUXENBERG, PC
BUSSANICH            STEVE L               NY         11776198         WEITZ & LUXENBERG, PC                                BYRNE                MARILYN               NY         01111236         WEITZ & LUXENBERG, PC
BUSSY                FREDDY LOUIS          NY         10696302         WEITZ & LUXENBERG, PC                                BYRNE                MARILYN               NY         12039001         WEITZ & LUXENBERG, PC
BUSSY                PATRICIA              NY         10696302         WEITZ & LUXENBERG, PC                                BYRNE                MAUREEN               NY         10358700         WEITZ & LUXENBERG, PC
BUTCHER              PHYLLIS               NY         10669102         WEITZ & LUXENBERG, PC                                BYRNE                RONALD                NY         01111236         WEITZ & LUXENBERG, PC
BUTERA               ALICE                 NY         10247903         WEITZ & LUXENBERG, PC                                BYRNE                RONALD                NY         12186101         WEITZ & LUXENBERG, PC
BUTERA               ELDO G                NY         10445200         WEITZ & LUXENBERG, PC                                BYRNE                RONALD E              NY         12186101         WEITZ & LUXENBERG, PC
BUTERA               LENA                  NY         10445200         WEITZ & LUXENBERG, PC                                BYRNE                THOMAS                NY         12422802         WEITZ & LUXENBERG, PC
BUTINSKI             ROBERT J              NY         01108013         WEITZ & LUXENBERG, PC                                BYRNE                THOMAS                NY         11738300         WEITZ & LUXENBERG, PC
BUTINSKI             TEODORA               NY         01108013         WEITZ & LUXENBERG, PC                                BYRNE                VERONICA              NY         98117762         WEITZ & LUXENBERG, PC
BUTLER               DONALD H              NY         11350999         WEITZ & LUXENBERG, PC                                BYRNE                VERONICA              NY         11776298         WEITZ & LUXENBERG, PC
BUTLER               DORIS L               NY         I20019069        WEITZ & LUXENBERG, PC                                BYRNES               ANNA                  NY         10002801         WEITZ & LUXENBERG, PC
BUTLER               DOROTHY               NY         12444102         WEITZ & LUXENBERG, PC                                BYRNES               FRANCIS J             NY         10358600         WEITZ & LUXENBERG, PC
BUTLER               DOROTHY               NY         10319103         WEITZ & LUXENBERG, PC                                BYRNES               FRANCISJ SP           NY         10358600         WEITZ & LUXENBERG, PC
BUTLER               ELIZABETH ANNE        NY         10445300         WEITZ & LUXENBERG, PC                                BYRNES               JOHN P                NY         11327802         WEITZ & LUXENBERG, PC
BUTLER               ERMALINE              NY         01CIV3922        WEITZ & LUXENBERG, PC                                BYRNES               JOHN T                NY         11327802         WEITZ & LUXENBERG, PC
BUTLER               GENEVIEVE             NY         10002501         WEITZ & LUXENBERG, PC                                BYRNES               KEVIN R               NY         10002801         WEITZ & LUXENBERG, PC
BUTLER               GERALD J              NY         10445300         WEITZ & LUXENBERG, PC                                BYRNES               LOUISE                NY         10358600         WEITZ & LUXENBERG, PC
BUTLER               GERTRUDE              NY         12038901         WEITZ & LUXENBERG, PC                                BYRON                KENNETH R             NY         12039401         WEITZ & LUXENBERG, PC
BUTLER               HERMAN                NY         01CIV3922        WEITZ & LUXENBERG, PC                                BYRON                MARGARET              NY         12039401         WEITZ & LUXENBERG, PC
BUTLER               HILREY                NY         12444102         WEITZ & LUXENBERG, PC                                CABALLERO            RAFAEL                NY         12039901         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 880
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 215 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CABER                DAWN                  NY         02106580         WEITZ & LUXENBERG, PC                                CALANDRA             ANTHONY               NY         10003001         WEITZ & LUXENBERG, PC
CABER                TERRY L               NY         02106580         WEITZ & LUXENBERG, PC                                CALANDRA             ANTHONY G             NY         10003001         WEITZ & LUXENBERG, PC
CABER                THERESA               NY         1904462012       WEITZ & LUXENBERG, PC                                CALANDRA             EDNA                  NY         10003001         WEITZ & LUXENBERG, PC
CABER                WILLIAM C             NY         1904462012       WEITZ & LUXENBERG, PC                                CALANDRA             JOHN                  NJ         MIDL00697713AS   WEITZ & LUXENBERG, PC
CABRAL               SCOTT                 NY         19021810         WEITZ & LUXENBERG, PC                                CALANDRO             AGNES                 NY         19023310         WEITZ & LUXENBERG, PC
CACALANO             NICHOLAS A            NY         1903752016       WEITZ & LUXENBERG, PC                                CALANDRO             JOSEPH                NY         19023310         WEITZ & LUXENBERG, PC
CACCAMO              JOSEPH                NY         10008703         WEITZ & LUXENBERG, PC                                CALASCIONE           CAROL                 NY         99106331         WEITZ & LUXENBERG, PC
CACCAMO              JOSEPH                NY         11554704         WEITZ & LUXENBERG, PC                                CALASCIONE           SALVATORE             NY         99106331         WEITZ & LUXENBERG, PC
CACCAMO              RICHARD               NY         10008703         WEITZ & LUXENBERG, PC                                CALCAGNO             DOMENICO              NY         11158903         WEITZ & LUXENBERG, PC
CACCAMO              RICHARD               NY         11554704         WEITZ & LUXENBERG, PC                                CALCAGNO             VINCENZA              NY         11158903         WEITZ & LUXENBERG, PC
CACCHIO              DOMINICK              NY         00CIV5375        WEITZ & LUXENBERG, PC                                CALCATERRA           BENEDETTA             NY         12039801         WEITZ & LUXENBERG, PC
CACCHIO              TERESA                NY         00CIV5375        WEITZ & LUXENBERG, PC                                CALCATERRA           BENEDETTO             NY         12039801         WEITZ & LUXENBERG, PC
CACCIATORE           CASPER                NY         10167901         WEITZ & LUXENBERG, PC                                CALDARARO            LOUIS                 NY         98117750         WEITZ & LUXENBERG, PC
CACCIATORE           HATTIE                NY         10167901         WEITZ & LUXENBERG, PC                                CALDARARO            MARIE                 NY         98117750         WEITZ & LUXENBERG, PC
CACCIATORE           THEODORE F            NY         10167901         WEITZ & LUXENBERG, PC                                CALDER               ROBERT                NY         10506799         WEITZ & LUXENBERG, PC
CACCIATORE           VINCENT A             NY         12042901         WEITZ & LUXENBERG, PC                                CALDERON             CAROLYN               NY         8158142017       WEITZ & LUXENBERG, PC
CACI                 JERRY C               NY         10002901         WEITZ & LUXENBERG, PC                                CALDERON             RAFAEL J              NY         8158142017       WEITZ & LUXENBERG, PC
CACIOPPO             FRANK                 NY         01111229         WEITZ & LUXENBERG, PC                                CALDERONE            LOUIS A               NY         02107006         WEITZ & LUXENBERG, PC
CADIZ                MARILYN               NY         98117752         WEITZ & LUXENBERG, PC                                CALDERONE            MARGUERITE            NY         02107006         WEITZ & LUXENBERG, PC
CADIZ                RUSSEL ROMAIN         NY         98117752         WEITZ & LUXENBERG, PC                                CALDIERE             BARBARA               NY         98117767         WEITZ & LUXENBERG, PC
CADY                 EUGENE                NY         CV026418         WEITZ & LUXENBERG, PC                                CALDIERE             THOMAS                NY         98117767         WEITZ & LUXENBERG, PC
CADY                 MARY W                NY         CV026418         WEITZ & LUXENBERG, PC                                CALDWELL             RALPH T               NY         110646           WEITZ & LUXENBERG, PC
CAFALONE             RICHARD V             NY         10814507         WEITZ & LUXENBERG, PC                                CALHOUN              CHASERENE             NY         10844699         WEITZ & LUXENBERG, PC
CAFALONE             SALLY ANN             NY         10814507         WEITZ & LUXENBERG, PC                                CALHOUN              CLIFFORD R            NY         02106508         WEITZ & LUXENBERG, PC
CAFARELLA            FRANK                 NY         10445600         WEITZ & LUXENBERG, PC                                CALHOUN              MARGARET              NY         02106508         WEITZ & LUXENBERG, PC
CAFARELLA            THERESA               NY         10445600         WEITZ & LUXENBERG, PC                                CALHOUN              MATTIE                NY         CV003590         WEITZ & LUXENBERG, PC
CAFARELLI            BARBARA               NY         1903912013       WEITZ & LUXENBERG, PC                                CALHOUN              NATHANIEL             NY         CV003590         WEITZ & LUXENBERG, PC
CAFARELLI            JAMES E               NY         1903912013       WEITZ & LUXENBERG, PC                                CALI                 JOHN                  NY         98117751         WEITZ & LUXENBERG, PC
CAFFERTY             MARGARET M            NY         10358500         WEITZ & LUXENBERG, PC                                CALI                 MARY                  NY         98117751         WEITZ & LUXENBERG, PC
CAFFERTY             MICHAEL               NY         10358500         WEITZ & LUXENBERG, PC                                CALICCHIA            EMILIO                NY         01111233         WEITZ & LUXENBERG, PC
CAFFICI              MARGHERITA            NY         98117758         WEITZ & LUXENBERG, PC                                CALICCHIA            GEORGE                NY         01111218         WEITZ & LUXENBERG, PC
CAFICI               SAM                   NY         98117758         WEITZ & LUXENBERG, PC                                CALICCHIA            VINCENZA              NY         01111218         WEITZ & LUXENBERG, PC
CAFIERO              ALICE                 NY         11306999         WEITZ & LUXENBERG, PC                                CALISE               LEONARDO              NY         10670602         WEITZ & LUXENBERG, PC
CAFIERO              ANTONINA              NY         10358400         WEITZ & LUXENBERG, PC                                CALISE               MARIA                 NY         10670602         WEITZ & LUXENBERG, PC
CAFIERO              JOSEPH                NY         10358400         WEITZ & LUXENBERG, PC                                CALKINS              KENNETH R             NY         10432100         WEITZ & LUXENBERG, PC
CAFIERO              LOUIS J               NY         11306999         WEITZ & LUXENBERG, PC                                CALKINS              ROBERTA               NY         10432100         WEITZ & LUXENBERG, PC
CAFIERO              PASQUALE J            NY         10697108         WEITZ & LUXENBERG, PC                                CALL                 JEANNINE              NY         1901552017       WEITZ & LUXENBERG, PC
CAGGIANO             JOHN A                NY         01111235         WEITZ & LUXENBERG, PC                                CALL                 WILLIAM DAVID         NY         1901552017       WEITZ & LUXENBERG, PC
CAGGIANO             JOHN A                NY         11829701         WEITZ & LUXENBERG, PC                                CALLACE              LEONARD               NY         11027002         WEITZ & LUXENBERG, PC
CAGGINO              GARY                  NY         1902712012       WEITZ & LUXENBERG, PC                                CALLAGHAN            ELIZABETH             NY         10481898         WEITZ & LUXENBERG, PC
CAGGINO              LAURA                 NY         1902712012       WEITZ & LUXENBERG, PC                                CALLAGHAN            WILLIAM               NY         10481898         WEITZ & LUXENBERG, PC
CAGNINA              ANTHONY               NY         12668602         WEITZ & LUXENBERG, PC                                CALLAHAN             ADELAIDE              NY         19001210         WEITZ & LUXENBERG, PC
CAIACCIO             JOSEPHINE             NY         01111234         WEITZ & LUXENBERG, PC                                CALLAHAN             CATHERINE G           NY         10040203         WEITZ & LUXENBERG, PC
CAIACCIO             JOSEPHINE             NY         11924901         WEITZ & LUXENBERG, PC                                CALLAHAN             JOHN J                NY         19001210         WEITZ & LUXENBERG, PC
CAIACCIO             RICHARD R             NY         01111234         WEITZ & LUXENBERG, PC                                CALLAN               BERNARD               NY         10357900         WEITZ & LUXENBERG, PC
CAIACCIO             RICHARD R             NY         11924901         WEITZ & LUXENBERG, PC                                CALLAN               CARMEL                NY         10357900         WEITZ & LUXENBERG, PC
CAIL                 PAMELA J              NY         01111236         WEITZ & LUXENBERG, PC                                CALLAN               JUDITH                NY         12039301         WEITZ & LUXENBERG, PC
CAIL                 PAMELA J              NY         12185101         WEITZ & LUXENBERG, PC                                CALLAN               RICHARD F             NY         12039301         WEITZ & LUXENBERG, PC
CAIN                 JOHNNIE MAE           NY         10358100         WEITZ & LUXENBERG, PC                                CALLANAN             FRANCES               NY         99113856         WEITZ & LUXENBERG, PC
CAIN                 LEMAR                 NY         10633299         WEITZ & LUXENBERG, PC                                CALLANAN             JOSEPH F              NY         99113856         WEITZ & LUXENBERG, PC
CAIN                 LEON                  NY         10358100         WEITZ & LUXENBERG, PC                                CALLEA               SAMUEL A              NY         10670802         WEITZ & LUXENBERG, PC
CAIN                 MARY E                NY         10633299         WEITZ & LUXENBERG, PC                                CALLEA               SAMUEL A              NY         11607802         WEITZ & LUXENBERG, PC
CAIN                 SELWYN H              NY         19010708         WEITZ & LUXENBERG, PC                                CALLEN               BENNETT               NY         1905032013       WEITZ & LUXENBERG, PC
CAIN                 SUSAN S               NY         19010708         WEITZ & LUXENBERG, PC                                CALLEN               GERALDINE WILLIAMS    NY         1905032013       WEITZ & LUXENBERG, PC
CAIRA                FRANK                 NY         12788702         WEITZ & LUXENBERG, PC                                CALLENDER            ELTON                 NY         10003201         WEITZ & LUXENBERG, PC
CAIRA                ROSEMARY              NY         12788702         WEITZ & LUXENBERG, PC                                CALLO                DOMENIC               NY         10008703         WEITZ & LUXENBERG, PC
CAISE                MARY A                NY         11356702         WEITZ & LUXENBERG, PC                                CALLOWAY             BILLIE JEAN           NY         CV017787         WEITZ & LUXENBERG, PC
CAISE                ROBERT K              NY         11356702         WEITZ & LUXENBERG, PC                                CALLOWAY             CLARENCE A            NY         01CIV3900        WEITZ & LUXENBERG, PC
CAITO                THERESA               NY         99113857         WEITZ & LUXENBERG, PC                                CALLOWAY             ELINOR GRACE          NY         01CIV3900        WEITZ & LUXENBERG, PC
CAITO                VINCENT P             NY         99113857         WEITZ & LUXENBERG, PC                                CALLOWAY             WAYMON                NY         CV017787         WEITZ & LUXENBERG, PC
CALABRESE            ANTHONY P             NY         10670602         WEITZ & LUXENBERG, PC                                CALMA                ANTHONY J             NY         10003301         WEITZ & LUXENBERG, PC
CALABRESE            CARL J                NY         98117764         WEITZ & LUXENBERG, PC                                CALMA                JUDITH F              NY         10003301         WEITZ & LUXENBERG, PC
CALABRESE            KATHERINE             NY         98117764         WEITZ & LUXENBERG, PC                                CALOS                LINDA                 NY         8006302014       WEITZ & LUXENBERG, PC
CALABRESE            OLIVIA                NY         10670602         WEITZ & LUXENBERG, PC                                CALVARESE            ALBERTA               NY         10682299         WEITZ & LUXENBERG, PC
CALABRESE            PATRICIA              NY         11179504         WEITZ & LUXENBERG, PC                                CALVARESE            FRANK                 NY         10682299         WEITZ & LUXENBERG, PC
CALABRESE            PATRICIA              NY         11323204         WEITZ & LUXENBERG, PC                                CALVELLO             ANGELA                NY         11387799         WEITZ & LUXENBERG, PC
CALABRESE            RUDOLPH F             NY         11179504         WEITZ & LUXENBERG, PC                                CALVELLO             CLIFFORD K            NY         11387799         WEITZ & LUXENBERG, PC
CALABRESE            RUDOLPH F             NY         11323204         WEITZ & LUXENBERG, PC                                CALVIN               JAMES                 NY         01CIV3895        WEITZ & LUXENBERG, PC
CALAMUCI             TOM                   NY         01111218         WEITZ & LUXENBERG, PC                                CALZOLANO            GIOVANNI D            NY         10358000         WEITZ & LUXENBERG, PC
CALAMUSA             CONNIE                NY         01111226         WEITZ & LUXENBERG, PC                                CALZOLANO            JAQUELINE             NY         10358000         WEITZ & LUXENBERG, PC
CALAMUSA             FRANK                 NY         01111226         WEITZ & LUXENBERG, PC                                CAMBEILH             PHILLIS               NY         12038901         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 881
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 216 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CAMERON              BARBARA O             NY         12039001         WEITZ & LUXENBERG, PC                                CAMPBELL             GENTLE                NY         01CIV3910        WEITZ & LUXENBERG, PC
CAMERON              CLIFFORD A            NY         98117769         WEITZ & LUXENBERG, PC                                CAMPBELL             GEORGE W              NY         10680802         WEITZ & LUXENBERG, PC
CAMERON              CORA                  NY         10073403         WEITZ & LUXENBERG, PC                                CAMPBELL             GERALD P              NY         01111227         WEITZ & LUXENBERG, PC
CAMERON              DEBRA J               NY         10645702         WEITZ & LUXENBERG, PC                                CAMPBELL             HARVEY H              NY         02105715         WEITZ & LUXENBERG, PC
CAMERON              GORDON NELSON         NY         10645702         WEITZ & LUXENBERG, PC                                CAMPBELL             HOWARD E              NY         11387599         WEITZ & LUXENBERG, PC
CAMERON              HELEN                 NY         19024611         WEITZ & LUXENBERG, PC                                CAMPBELL             JAMES                 NY         10891305         WEITZ & LUXENBERG, PC
CAMERON              HELEN VIRGINIA        NY         CV003590         WEITZ & LUXENBERG, PC                                CAMPBELL             JULIA ANN             NY         01CIV3910        WEITZ & LUXENBERG, PC
CAMERON              JOANNE H              NY         10645702         WEITZ & LUXENBERG, PC                                CAMPBELL             LARRY DAVE            NY         CV016445         WEITZ & LUXENBERG, PC
CAMERON              JOSEPH                NY         10073403         WEITZ & LUXENBERG, PC                                CAMPBELL             LENORA                NY         10606299         WEITZ & LUXENBERG, PC
CAMERON              KEVIN MICHAEL         NY         12668702         WEITZ & LUXENBERG, PC                                CAMPBELL             LINDA                 NY         19025410         WEITZ & LUXENBERG, PC
CAMERON              LEON                  NY         01111228         WEITZ & LUXENBERG, PC                                CAMPBELL             MALCOLM J             NY         110423           WEITZ & LUXENBERG, PC
CAMERON              PATRICIA              NY         12668702         WEITZ & LUXENBERG, PC                                CAMPBELL             MARGARET              NY         10357500         WEITZ & LUXENBERG, PC
CAMERON              RICHARD J             NY         02106694         WEITZ & LUXENBERG, PC                                CAMPBELL             RONALD M              NY         10357500         WEITZ & LUXENBERG, PC
CAMERON              RITA                  NY         98117769         WEITZ & LUXENBERG, PC                                CAMPBELL             ROY                   NY         10632899         WEITZ & LUXENBERG, PC
CAMERON              ROBERT                NY         12039001         WEITZ & LUXENBERG, PC                                CAMPBELL             SANDRA                NY         10696302         WEITZ & LUXENBERG, PC
CAMERON              ROBERT JOHN           NY         10645702         WEITZ & LUXENBERG, PC                                CAMPBELL             WILLIAM               NY         10846903         WEITZ & LUXENBERG, PC
CAMERON              WILLIAM H             NY         CV003590         WEITZ & LUXENBERG, PC                                CAMPBLE              JOEL C                NY         1902232018       WEITZ & LUXENBERG, PC
CAMERON              WILLIAM J             NY         19024611         WEITZ & LUXENBERG, PC                                CAMPISI              CHRISTINE             NY         02107102         WEITZ & LUXENBERG, PC
CAMILLERI            ALICE ANITA           NY         11584104         WEITZ & LUXENBERG, PC                                CAMPISI              JOSEPHINE             NY         11487503         WEITZ & LUXENBERG, PC
CAMILLERI            CHARLES CARL          NY         11584104         WEITZ & LUXENBERG, PC                                CAMPISI              LOUIS                 NY         11487503         WEITZ & LUXENBERG, PC
CAMISA               JOHN                  NY         11632103         WEITZ & LUXENBERG, PC                                CAMPISI              SALVATORE             NY         02107102         WEITZ & LUXENBERG, PC
CAMMARANO            ANTONIO               NY         10003401         WEITZ & LUXENBERG, PC                                CAMPO                ANTHONY               NY         103578000        WEITZ & LUXENBERG, PC
CAMMARANO            GREGORY               NY         10432200         WEITZ & LUXENBERG, PC                                CAMPO                LORRAINE              NY         103578000        WEITZ & LUXENBERG, PC
CAMMARANO            JO ANN                NY         10432200         WEITZ & LUXENBERG, PC                                CAMPOLI              LOUIS                 NY         10363202         WEITZ & LUXENBERG, PC
CAMMARANO            LOUNNE                NY         10003401         WEITZ & LUXENBERG, PC                                CAMPOS               ALICE                 NY         10003501         WEITZ & LUXENBERG, PC
CAMMARANO            PASQUALE J            NY         10432200         WEITZ & LUXENBERG, PC                                CAMPOS               DAVID                 NY         10023403         WEITZ & LUXENBERG, PC
CAMMARATA            ANTHONY               NY         1903662017       WEITZ & LUXENBERG, PC                                CAMPOS               FRANCIS               NY         19042209         WEITZ & LUXENBERG, PC
CAMMARATA            ANTOINETTE            NY         01121099         WEITZ & LUXENBERG, PC                                CAMPOS               JOAN                  NY         19042209         WEITZ & LUXENBERG, PC
CAMMARATA            ANTOINETTE            NY         10851802         WEITZ & LUXENBERG, PC                                CAMPOS               RUFINO                NY         10003501         WEITZ & LUXENBERG, PC
CAMMARATA            HAROLD J              NY         10571402         WEITZ & LUXENBERG, PC                                CAMUTO               GLORIA                NY         12801802         WEITZ & LUXENBERG, PC
CAMMARATA            MARY                  NY         1903662017       WEITZ & LUXENBERG, PC                                CAMUTO               JOSEPH A              NY         12801802         WEITZ & LUXENBERG, PC
CAMMARATA            SALVATORE             NY         01121099         WEITZ & LUXENBERG, PC                                CANADY               JOANN                 NY         CV014579         WEITZ & LUXENBERG, PC
CAMMARATA            SALVATORE             NY         10851802         WEITZ & LUXENBERG, PC                                CANADY               JOHN D                NY         CV014579         WEITZ & LUXENBERG, PC
CAMMAROTA            ROCCO F               NY         12092601         WEITZ & LUXENBERG, PC                                CANADY               LEE                   NY         CV003590         WEITZ & LUXENBERG, PC
CAMMAROTA            ROCCO F               NY         01111224         WEITZ & LUXENBERG, PC                                CANADY               QUITETTA              NY         CV003590         WEITZ & LUXENBERG, PC
CAMMAROTA            ROCCO P               NY         12092601         WEITZ & LUXENBERG, PC                                CANALE               MICHAEL C             NY         10357300         WEITZ & LUXENBERG, PC
CAMMAROTA            ROCCO P               NY         01111224         WEITZ & LUXENBERG, PC                                CANAVAN              THOMAS                NY         11777298         WEITZ & LUXENBERG, PC
CAMMUSO              ANDREW P              NY         10358200         WEITZ & LUXENBERG, PC                                CANCEL               CARMELO               NY         02107005         WEITZ & LUXENBERG, PC
CAMMUSO              ASSUNTA               NY         10358200         WEITZ & LUXENBERG, PC                                CANCEL               FAUSTINA              NY         02107005         WEITZ & LUXENBERG, PC
CAMP                 BETTY JANE            NY         1901572012       WEITZ & LUXENBERG, PC                                CANDER               BEATRICE              NY         CV014225         WEITZ & LUXENBERG, PC
CAMP                 KENNETH CHARLES       NY         01CIV3901        WEITZ & LUXENBERG, PC                                CANDER               SAMUEL                NY         CV014225         WEITZ & LUXENBERG, PC
CAMP                 RAYMOND               NY         1901572012       WEITZ & LUXENBERG, PC                                CANDLER              GROVER C              NY         02CIV5100        WEITZ & LUXENBERG, PC
CAMP                 SHARON                NY         01CIV3901        WEITZ & LUXENBERG, PC                                CANDLER              MARY R                NY         02CIV5100        WEITZ & LUXENBERG, PC
CAMPAGNA             SALVATORE             NY         10357600         WEITZ & LUXENBERG, PC                                CANFIELD             BENJAMIN C            NY         11044901         WEITZ & LUXENBERG, PC
CAMPAGNA             YOLANDA               NY         10357600         WEITZ & LUXENBERG, PC                                CANFIELD             FRANK L               NY         10680702         WEITZ & LUXENBERG, PC
CAMPAGNO             THOMAS                NY         19044810         WEITZ & LUXENBERG, PC                                CANFIELD             LINA                  NY         11044901         WEITZ & LUXENBERG, PC
CAMPAGNOLA           LILLIAN               NY         11035100         WEITZ & LUXENBERG, PC                                CANFIELD             SANDRA M              NY         10680702         WEITZ & LUXENBERG, PC
CAMPAGNOLA           MAURO J               NY         11035100         WEITZ & LUXENBERG, PC                                CANIGIANI            JOSEPH N              NY         01118261         WEITZ & LUXENBERG, PC
CAMPANA              JEFF F                NY         99113876         WEITZ & LUXENBERG, PC                                CANIGIANI            ROSE MARIE            NY         01118261         WEITZ & LUXENBERG, PC
CAMPANA              LENA                  NY         10632999         WEITZ & LUXENBERG, PC                                CANINO               BERTHA                NY         10357200         WEITZ & LUXENBERG, PC
CAMPANA              MARIO PETER           NY         10632999         WEITZ & LUXENBERG, PC                                CANINO               JOSEPH J              NY         10357200         WEITZ & LUXENBERG, PC
CAMPANA              MICHAEL D             NY         10632999         WEITZ & LUXENBERG, PC                                CANINO               MICHAEL J             NY         99119950         WEITZ & LUXENBERG, PC
CAMPANARO            DANIEL P              NY         12668102         WEITZ & LUXENBERG, PC                                CANLON               HUGH                  NY         02107102         WEITZ & LUXENBERG, PC
CAMPANARO            ROSLYN                NY         12668102         WEITZ & LUXENBERG, PC                                CANN                 HELEN LILY            NY         98117800         WEITZ & LUXENBERG, PC
CAMPANELLA           FLORENCE              NY         10577100         WEITZ & LUXENBERG, PC                                CANN                 JOHN M                NY         98117800         WEITZ & LUXENBERG, PC
CAMPANELLI           CONCETTA              NY         11624101         WEITZ & LUXENBERG, PC                                CANN                 JOHN R                NY         98117800         WEITZ & LUXENBERG, PC
CAMPANELLI           CONCETTA              NY         01111221         WEITZ & LUXENBERG, PC                                CANN                 MATTHIAS              NY         10357100         WEITZ & LUXENBERG, PC
CAMPANY              GARY T                NY         11530803         WEITZ & LUXENBERG, PC                                CANNATA              JOSEPH C              NY         10722102         WEITZ & LUXENBERG, PC
CAMPANY              MARSHA                NY         11530803         WEITZ & LUXENBERG, PC                                CANNATA              JOSEPH C              NY         11314302         WEITZ & LUXENBERG, PC
CAMPBELL             ANN                   NY         11387599         WEITZ & LUXENBERG, PC                                CANNATA              LOUIS M               NY         10722102         WEITZ & LUXENBERG, PC
CAMPBELL             ARCOLA                NY         01CIV3910        WEITZ & LUXENBERG, PC                                CANNATA              LOUIS M               NY         11314302         WEITZ & LUXENBERG, PC
CAMPBELL             ARTHUR F              NY         10432300         WEITZ & LUXENBERG, PC                                CANNATA              MARIE IRENE           NY         10722102         WEITZ & LUXENBERG, PC
CAMPBELL             AVA                   NY         12693702         WEITZ & LUXENBERG, PC                                CANNATA              MARIE IRENE           NY         11314302         WEITZ & LUXENBERG, PC
CAMPBELL             BERNARD               NY         10696302         WEITZ & LUXENBERG, PC                                CANNELL              RANDALL H             NY         98117805         WEITZ & LUXENBERG, PC
CAMPBELL             DANNY L               NY         19025410         WEITZ & LUXENBERG, PC                                CANNETTI             JOHN                  NY         11741400         WEITZ & LUXENBERG, PC
CAMPBELL             DEIRDRE               NY         10432300         WEITZ & LUXENBERG, PC                                CANNETTI             KATHLEEN              NY         11741400         WEITZ & LUXENBERG, PC
CAMPBELL             DONDRA E              NY         10548300         WEITZ & LUXENBERG, PC                                CANNEY               ROBERT W              NY         10630599         WEITZ & LUXENBERG, PC
CAMPBELL             DORIS B               NY         CV013921         WEITZ & LUXENBERG, PC                                CANNING              JOHN T                NY         01111235         WEITZ & LUXENBERG, PC
CAMPBELL             DOROTHY               NY         10632899         WEITZ & LUXENBERG, PC                                CANNING              JOHN T                NY         11829501         WEITZ & LUXENBERG, PC
CAMPBELL             DOROTHY               NY         10680802         WEITZ & LUXENBERG, PC                                CANNING              THERESA               NY         01111235         WEITZ & LUXENBERG, PC
CAMPBELL             FLOYD                 NY         12693702         WEITZ & LUXENBERG, PC                                CANNING              THERESA               NY         11829501         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 882
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 217 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CANNISI              ANTOINETTE            NY         01111234         WEITZ & LUXENBERG, PC                                CAPOBIANCO           ANNETTE               NY         12039101         WEITZ & LUXENBERG, PC
CANNISI              JOSEPH A              NY         01111234         WEITZ & LUXENBERG, PC                                CAPOBIANCO           DAVID J               NY         10003701         WEITZ & LUXENBERG, PC
CANNIZZARO           CINDY                 NY         12241801         WEITZ & LUXENBERG, PC                                CAPOBIANCO           DIANE R               NY         10431307         WEITZ & LUXENBERG, PC
CANNIZZARO           CINDY                 NY         01111226         WEITZ & LUXENBERG, PC                                CAPOBIANCO           EDWARD                NY         01122139         WEITZ & LUXENBERG, PC
CANNIZZARO           MICHELLE              NY         99113874         WEITZ & LUXENBERG, PC                                CAPOBIANCO           JOHN P                NY         10431307         WEITZ & LUXENBERG, PC
CANNIZZARO           NETTIE                NY         10357000         WEITZ & LUXENBERG, PC                                CAPOBIANCO           JOSEPH P              NY         12039101         WEITZ & LUXENBERG, PC
CANNIZZARO           SALVATORE             NY         99113874         WEITZ & LUXENBERG, PC                                CAPOBIANCO           SUSAN A               NY         10003701         WEITZ & LUXENBERG, PC
CANNIZZARO           VINCENT J             NY         10357000         WEITZ & LUXENBERG, PC                                CAPOBIANOC           NANCY M               NY         01122139         WEITZ & LUXENBERG, PC
CANNIZZO             JOHN J                NY         11972099         WEITZ & LUXENBERG, PC                                CAPODANNO            JAMES                 NY         10432800         WEITZ & LUXENBERG, PC
CANNIZZO             MARY JANE             NY         11972099         WEITZ & LUXENBERG, PC                                CAPODANNO            JAMES                 NY         99113860         WEITZ & LUXENBERG, PC
CANNON               DIANE                 NY         12039101         WEITZ & LUXENBERG, PC                                CAPODANNO            LYDIA                 NY         99113860         WEITZ & LUXENBERG, PC
CANNON               DOLORES               NY         10356900         WEITZ & LUXENBERG, PC                                CAPODANNO            LYDIA                 NY         10432800         WEITZ & LUXENBERG, PC
CANNON               DORIS                 NY         11035900         WEITZ & LUXENBERG, PC                                CAPODICASA           GIUSEPPE              NY         1900012017       WEITZ & LUXENBERG, PC
CANNON               GEORGE L              NY         11035900         WEITZ & LUXENBERG, PC                                CAPODICASA           LEONIDES              NY         1900012017       WEITZ & LUXENBERG, PC
CANNON               GERALD C              NY         02106693         WEITZ & LUXENBERG, PC                                CAPOGNA              ARMOND J              NY         10432900         WEITZ & LUXENBERG, PC
CANNON               IDA                   NY         11035000         WEITZ & LUXENBERG, PC                                CAPOGNA              SANDRA                NY         10432900         WEITZ & LUXENBERG, PC
CANNON               JOHN FRANK            NY         10432500         WEITZ & LUXENBERG, PC                                CAPONE               ANTHONY               NY         CV021512         WEITZ & LUXENBERG, PC
CANNON               LEROY SR              NY         11035000         WEITZ & LUXENBERG, PC                                CAPONE               LORRAINE              NY         11841099         WEITZ & LUXENBERG, PC
CANNON               ROBERT                NY         CV003590         WEITZ & LUXENBERG, PC                                CAPONE               MELISA                NY         CV021512         WEITZ & LUXENBERG, PC
CANNON               ROBERT W              NY         CV003590         WEITZ & LUXENBERG, PC                                CAPONE               RICHARD               NY         10431000         WEITZ & LUXENBERG, PC
CANNON               THOMAS                NY         12039101         WEITZ & LUXENBERG, PC                                CAPORALE             VICTORIA              NY         10525900         WEITZ & LUXENBERG, PC
CANNON               WALTER                NY         1900182018       WEITZ & LUXENBERG, PC                                CAPOTORTO            JUDITH                NY         02107102         WEITZ & LUXENBERG, PC
CANNON               WILLIAM JOSEPH        NY         10356900         WEITZ & LUXENBERG, PC                                CAPOTORTO            MICHAEL E             NY         02107102         WEITZ & LUXENBERG, PC
CANONICO             GUY J                 NY         10432600         WEITZ & LUXENBERG, PC                                CAPOUS               ELIAS G               NY         01111233         WEITZ & LUXENBERG, PC
CANONICO             MAUREEN               NY         10432600         WEITZ & LUXENBERG, PC                                CAPOZZI              CATHERINE             NY         10356600         WEITZ & LUXENBERG, PC
CANOVA               FRED H                NY         10003601         WEITZ & LUXENBERG, PC                                CAPOZZI              CATHERINE             NY         10356500         WEITZ & LUXENBERG, PC
CANOVA               PHYLLIS               NY         10003601         WEITZ & LUXENBERG, PC                                CAPOZZI              ELAINE E              NY         99113859         WEITZ & LUXENBERG, PC
CANTINIERI           SALVATORE A           NY         99113878         WEITZ & LUXENBERG, PC                                CAPOZZI              FRANCES               NY         99106252         WEITZ & LUXENBERG, PC
CANTONETTI           ANGELO J              NY         12801902         WEITZ & LUXENBERG, PC                                CAPOZZI              HELENE                NY         10682199         WEITZ & LUXENBERG, PC
CANTONETTI           JULIE                 NY         12801902         WEITZ & LUXENBERG, PC                                CAPOZZI              MARIO                 NY         99106252         WEITZ & LUXENBERG, PC
CANTRE               FRANCISCO             NY         1901192014       WEITZ & LUXENBERG, PC                                CAPOZZI              MIKE                  NY         10682199         WEITZ & LUXENBERG, PC
CANTU                ERASMO                NY         11386299         WEITZ & LUXENBERG, PC                                CAPOZZI              RAYMOND J             NY         10008703         WEITZ & LUXENBERG, PC
CANTU                GLORIA                NY         11386299         WEITZ & LUXENBERG, PC                                CAPOZZI              RICHARD N             NY         99113859         WEITZ & LUXENBERG, PC
CANTWELL             HELEN                 NY         11780199         WEITZ & LUXENBERG, PC                                CAPOZZI              SYLVERSTER            NY         10356600         WEITZ & LUXENBERG, PC
CANTWELL             ROGER A               NY         11780199         WEITZ & LUXENBERG, PC                                CAPOZZI              SYLVESTER             NY         10356500         WEITZ & LUXENBERG, PC
CANTY                CATHERINE             NY         11258905         WEITZ & LUXENBERG, PC                                CAPOZZOLLI           FRANK                 NY         11801003         WEITZ & LUXENBERG, PC
CANTY                SAMUEL                NY         11258905         WEITZ & LUXENBERG, PC                                CAPOZZOLLI           ROSE MARIE            NY         11801003         WEITZ & LUXENBERG, PC
CANZANELLA           ANTOINETTE            NY         10630799         WEITZ & LUXENBERG, PC                                CAPPAS               ARTHUR                NY         19004309         WEITZ & LUXENBERG, PC
CANZANELLA           FRANK                 NY         10630799         WEITZ & LUXENBERG, PC                                CAPPAS               CAMILLE               NY         19004309         WEITZ & LUXENBERG, PC
CANZANO              DOMENICO              NY         11386199         WEITZ & LUXENBERG, PC                                CAPPIELLO            ANTHONY MARTIN        NY         10645702         WEITZ & LUXENBERG, PC
CANZANO              ROSARIA               NY         11386199         WEITZ & LUXENBERG, PC                                CAPPIELLO            RONALD JOHN           NY         11026802         WEITZ & LUXENBERG, PC
CANZANO              SARINA                NY         11386199         WEITZ & LUXENBERG, PC                                CAPPIELLO            SHARON KAY            NY         11026802         WEITZ & LUXENBERG, PC
CANZONERI            LUCILLE               NY         10356800         WEITZ & LUXENBERG, PC                                CAPPOTELLI           ARCHIE C              NY         10740202         WEITZ & LUXENBERG, PC
CANZONERI            SALVATORE             NY         10356800         WEITZ & LUXENBERG, PC                                CAPPOTELLI           JOAN                  NY         10740202         WEITZ & LUXENBERG, PC
CAPALDI              GAIL                  NY         10356700         WEITZ & LUXENBERG, PC                                CAPPS                NEAL                  NY         1901722014       WEITZ & LUXENBERG, PC
CAPALDI              VINCENT D             NY         10356700         WEITZ & LUXENBERG, PC                                CAPPS                SUSAN                 NY         1901722014       WEITZ & LUXENBERG, PC
CAPANELLI            LOUIS                 NY         11035700         WEITZ & LUXENBERG, PC                                CAPPUCCIO            RONALD                NY         12039301         WEITZ & LUXENBERG, PC
CAPANELLI            PEGGY                 NY         11035700         WEITZ & LUXENBERG, PC                                CAPPUCCIO            URSULA                NY         12039301         WEITZ & LUXENBERG, PC
CAPANO               GEORGE F              NY         11356702         WEITZ & LUXENBERG, PC                                CAPRINO              CARL J                NY         10670602         WEITZ & LUXENBERG, PC
CAPANO               OLGA                  NY         11356702         WEITZ & LUXENBERG, PC                                CAPRINO              MARY                  NY         10670602         WEITZ & LUXENBERG, PC
CAPASSO              ADELA                 NY         12329601         WEITZ & LUXENBERG, PC                                CAPRIOLA             ANTHONY               NY         19016709         WEITZ & LUXENBERG, PC
CAPASSO              ADELE                 NY         12329601         WEITZ & LUXENBERG, PC                                CAPRIOTTI            EUGENE J              NY         11916103         WEITZ & LUXENBERG, PC
CAPASSO              ELAINE                NY         98117806         WEITZ & LUXENBERG, PC                                CAPRON               DEBORAH               NY         10625199         WEITZ & LUXENBERG, PC
CAPASSO              HENRY                 NY         98117806         WEITZ & LUXENBERG, PC                                CAPRON               WILLIAM C             NY         10625199         WEITZ & LUXENBERG, PC
CAPASSO              JOY                   NY         99106308         WEITZ & LUXENBERG, PC                                CAPUTO               ANNA                  NY         10003801         WEITZ & LUXENBERG, PC
CAPASSO              KERRY                 NY         1900562019       WEITZ & LUXENBERG, PC                                CAPUTO               ANTHONY               NY         02106690         WEITZ & LUXENBERG, PC
CAPASSO              LOUIS A               NY         12329601         WEITZ & LUXENBERG, PC                                CAPUTO               DOLORES               NY         11905203         WEITZ & LUXENBERG, PC
CAPASSO              LOUIS F               NY         99106308         WEITZ & LUXENBERG, PC                                CAPUTO               DONALD J              NY         11905203         WEITZ & LUXENBERG, PC
CAPASSO              MARIE                 NY         10357700         WEITZ & LUXENBERG, PC                                CAPUTO               FRANK VINCENT         NY         11385899         WEITZ & LUXENBERG, PC
CAPASSO              MICHAEL               NY         1900562019       WEITZ & LUXENBERG, PC                                CAPUTO               IDA                   NY         11235804         WEITZ & LUXENBERG, PC
CAPASSO              NELSON A              NY         10357700         WEITZ & LUXENBERG, PC                                CAPUTO               JACQUELINE            NY         10697008         WEITZ & LUXENBERG, PC
CAPEK                MARGARET A            NY         12039901         WEITZ & LUXENBERG, PC                                CAPUTO               JO-AN                 NY         02106690         WEITZ & LUXENBERG, PC
CAPEK                WILLIAM J             NY         12039901         WEITZ & LUXENBERG, PC                                CAPUTO               LOUIS A               NY         10003801         WEITZ & LUXENBERG, PC
CAPEN                HUGH                  NY         11356702         WEITZ & LUXENBERG, PC                                CAPUTO               PASQUALE              NY         11235804         WEITZ & LUXENBERG, PC
CAPETELLO            AUGUSTIN              NY         11355903         WEITZ & LUXENBERG, PC                                CAPUTO               STEVE                 NY         10697008         WEITZ & LUXENBERG, PC
CAPETELLO            RITA                  NY         11355903         WEITZ & LUXENBERG, PC                                CAPUTO               TERESA                NY         11385899         WEITZ & LUXENBERG, PC
CAPIZZO              PATRICIA              NY         01111234         WEITZ & LUXENBERG, PC                                CARABALLO            DIANE M               NY         1905362012       WEITZ & LUXENBERG, PC
CAPIZZO              STEPHEN P             NY         01111234         WEITZ & LUXENBERG, PC                                CARABALLO            HECTOR L              NY         1905362012       WEITZ & LUXENBERG, PC
CAPLE                ALEXANDER             NY         CV020153         WEITZ & LUXENBERG, PC                                CARACCIOLO           ROBERT NICHOLAS       NY         98117804         WEITZ & LUXENBERG, PC
CAPLE                MAE ELLA              NY         CV020153         WEITZ & LUXENBERG, PC                                CARACCIOLO           VIOLET                NY         98117804         WEITZ & LUXENBERG, PC
CAPLIS               BRIAN T               NY         1900852019       WEITZ & LUXENBERG, PC                                CARAFOS              ARTHUR                NY         10091603         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 883
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 218 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CARAFOS              CAROLYN               NY         10091603         WEITZ & LUXENBERG, PC                                CAREY                RAYMOND               NY         01111220         WEITZ & LUXENBERG, PC
CARAVALLO            MONSERRAT             NY         1900262019       WEITZ & LUXENBERG, PC                                CAREY                ROBIN                 DE         N17C03231ASB     WEITZ & LUXENBERG, PC
CARAVELLA            FRANK PAUL            NY         12039901         WEITZ & LUXENBERG, PC                                CAREY                ROSEMARY              NY         10356100         WEITZ & LUXENBERG, PC
CARAVELLA            FRANK PAUL            NY         10451402         WEITZ & LUXENBERG, PC                                CAREY                WILLIAM J             NY         10356100         WEITZ & LUXENBERG, PC
CARAVELLA            JAMES R               NY         12043001         WEITZ & LUXENBERG, PC                                CAREY                WILLIAM JOHN          NY         10356000         WEITZ & LUXENBERG, PC
CARAVELLA            JOSEPH D              NY         10356400         WEITZ & LUXENBERG, PC                                CARFANO              AUGUST                NY         10355900         WEITZ & LUXENBERG, PC
CARAVELLA            LOUISE                NY         12043001         WEITZ & LUXENBERG, PC                                CARFANO              AUGUST A              NY         10355900         WEITZ & LUXENBERG, PC
CARAVELLA            THERESA               NY         10356400         WEITZ & LUXENBERG, PC                                CARFANO              RITA                  NY         10355900         WEITZ & LUXENBERG, PC
CARBARNES            MARY                  NY         190191215        WEITZ & LUXENBERG, PC                                CARGILE              RUBY                  NY         01CIV3895        WEITZ & LUXENBERG, PC
CARBARNES            THOMAS H              NY         190191215        WEITZ & LUXENBERG, PC                                CARINO               ANGEL                 NY         11399699         WEITZ & LUXENBERG, PC
CARBINO              DAVID D               NY         10669102         WEITZ & LUXENBERG, PC                                CARINO               DOLORES               NY         11396799         WEITZ & LUXENBERG, PC
CARBINO              MELISSA A             NY         10669102         WEITZ & LUXENBERG, PC                                CARINO               FRANCESCO S           NY         11399699         WEITZ & LUXENBERG, PC
CARBON               ANDREW J              NY         12039801         WEITZ & LUXENBERG, PC                                CARINO               PETER S               NY         11396799         WEITZ & LUXENBERG, PC
CARBON               SANDY                 NY         12039801         WEITZ & LUXENBERG, PC                                CARIOLA              ANTONINO              NY         10355800         WEITZ & LUXENBERG, PC
CARBONE              ANGELO L              NY         10356300         WEITZ & LUXENBERG, PC                                CARIOLA              ROSARIA               NY         10355800         WEITZ & LUXENBERG, PC
CARBONE              ANTHONY J             NY         11026702         WEITZ & LUXENBERG, PC                                CARLETON             LUCILLE               NY         10740302         WEITZ & LUXENBERG, PC
CARBONE              ANTHONY J             NY         12637802         WEITZ & LUXENBERG, PC                                CARLETON             ROBERT C              NY         10740302         WEITZ & LUXENBERG, PC
CARBONE              CAROLE                NY         01111235         WEITZ & LUXENBERG, PC                                CARLIN               DOLORES               NY         02106709         WEITZ & LUXENBERG, PC
CARBONE              CAROLE                NY         11829401         WEITZ & LUXENBERG, PC                                CARLIN               JANET                 NY         10073103         WEITZ & LUXENBERG, PC
CARBONE              FRANK                 NY         01111235         WEITZ & LUXENBERG, PC                                CARLIN               MICHAEL               NY         10073103         WEITZ & LUXENBERG, PC
CARBONE              FRANK                 NY         11829401         WEITZ & LUXENBERG, PC                                CARLIN               PATRICK W             NY         02106709         WEITZ & LUXENBERG, PC
CARBONE              JOHN                  NY         10074103         WEITZ & LUXENBERG, PC                                CARLINO              BERNICE               NY         10431100         WEITZ & LUXENBERG, PC
CARBONE              JOHN                  NY         10289903         WEITZ & LUXENBERG, PC                                CARLINO              CHARLES A             NY         10431100         WEITZ & LUXENBERG, PC
CARBONE              JOSEPH J              NY         10074103         WEITZ & LUXENBERG, PC                                CARLISLE             ALTEE                 NY         11356702         WEITZ & LUXENBERG, PC
CARBONE              JOSEPH J              NY         10289903         WEITZ & LUXENBERG, PC                                CARLISLE             GLORIA                NY         10633499         WEITZ & LUXENBERG, PC
CARBONE              JULIA                 NY         10356300         WEITZ & LUXENBERG, PC                                CARLISLE             HENRY                 NY         11356702         WEITZ & LUXENBERG, PC
CARBONE              RITA                  NY         10003901         WEITZ & LUXENBERG, PC                                CARLISLE             RONALD F              NY         10633499         WEITZ & LUXENBERG, PC
CARBONE              ROCCO A               NY         10003901         WEITZ & LUXENBERG, PC                                CARLO                CAROLYN A             NY         10355700         WEITZ & LUXENBERG, PC
CARBONE              ROCCO J               NY         10003901         WEITZ & LUXENBERG, PC                                CARLO                EDWARD R              NY         10355700         WEITZ & LUXENBERG, PC
CARBONE              YVONNE                NY         11026702         WEITZ & LUXENBERG, PC                                CARLSON              BIRGER                NY         10004301         WEITZ & LUXENBERG, PC
CARBONE              YVONNE                NY         12637802         WEITZ & LUXENBERG, PC                                CARLSON              BO K                  NY         01111235         WEITZ & LUXENBERG, PC
CARBONI              ROBERT A              NY         10004001         WEITZ & LUXENBERG, PC                                CARLSON              BO K                  NY         11829601         WEITZ & LUXENBERG, PC
CARCICH              LINDA                 NY         1900852016       WEITZ & LUXENBERG, PC                                CARLSON              CINDY                 NY         I200110071       WEITZ & LUXENBERG, PC
CARCICH              MARCO                 NY         1900852016       WEITZ & LUXENBERG, PC                                CARLSON              CINDY                 NY         12448902         WEITZ & LUXENBERG, PC
CARCIONE             THOMAS P              NY         02106693         WEITZ & LUXENBERG, PC                                CARLSON              CINDY                 NY         10177103         WEITZ & LUXENBERG, PC
CARCONE              DONALD                NY         11399899         WEITZ & LUXENBERG, PC                                CARLSON              EDWARD                NY         11035600         WEITZ & LUXENBERG, PC
CARDI                CESARE                NY         10722102         WEITZ & LUXENBERG, PC                                CARLSON              ELIZABETH             NY         11035600         WEITZ & LUXENBERG, PC
CARDI                CHARLOTTE             NY         10722102         WEITZ & LUXENBERG, PC                                CARLSON              JOANNA                NY         12039401         WEITZ & LUXENBERG, PC
CARDILLO             ANITA                 NY         99103854         WEITZ & LUXENBERG, PC                                CARLSON              JOHN A                NY         12039401         WEITZ & LUXENBERG, PC
CARDILLO             PASQUALE              NY         99103854         WEITZ & LUXENBERG, PC                                CARLSON              JOYCE                 NY         01111235         WEITZ & LUXENBERG, PC
CARDINAL             EILEEN                NY         10669102         WEITZ & LUXENBERG, PC                                CARLSON              JOYCE                 NY         11829601         WEITZ & LUXENBERG, PC
CARDINAL             EILEEN                NY         11479002         WEITZ & LUXENBERG, PC                                CARLSON              LILLIAN               NY         12185599         WEITZ & LUXENBERG, PC
CARDINAL             REJEAN                NY         10669102         WEITZ & LUXENBERG, PC                                CARLSON              LINDA                 NY         11035500         WEITZ & LUXENBERG, PC
CARDINAL             REJEAN                NY         11479002         WEITZ & LUXENBERG, PC                                CARLSON              NEAL                  NY         11035500         WEITZ & LUXENBERG, PC
CARDINALE            ANGELINA R            NY         98117785         WEITZ & LUXENBERG, PC                                CARLSON              RHONDA                NY         1903772013       WEITZ & LUXENBERG, PC
CARDINALE            ANGELINA R            NY         11949801         WEITZ & LUXENBERG, PC                                CARLSON              RICHARD L             NY         12185599         WEITZ & LUXENBERG, PC
CARDINALE            ANGELINA R            NY         01111220         WEITZ & LUXENBERG, PC                                CARLSON              ROBERT J              NY         10658102         WEITZ & LUXENBERG, PC
CARDINALE            DOROTHY               NY         98117785         WEITZ & LUXENBERG, PC                                CARLSON              ROLAND                NY         1903772013       WEITZ & LUXENBERG, PC
CARDINALE            DOROTHY               NY         11949801         WEITZ & LUXENBERG, PC                                CARLSON              SUSAN                 NY         10658102         WEITZ & LUXENBERG, PC
CARDINALE            JOAN                  NY         10004101         WEITZ & LUXENBERG, PC                                CARLSON              VIRGINIA              NY         10004301         WEITZ & LUXENBERG, PC
CARDINALE            SALVATORE             NY         98117785         WEITZ & LUXENBERG, PC                                CARLSTRAND           ANNA                  NY         1901942017       WEITZ & LUXENBERG, PC
CARDINALE            SALVATORE             NY         11949801         WEITZ & LUXENBERG, PC                                CARLSTRAND           RICHARD               NY         1901942017       WEITZ & LUXENBERG, PC
CARDINALE            SALVATORE             NY         01111220         WEITZ & LUXENBERG, PC                                CARLUCCI             DOROTHY               NY         11170005         WEITZ & LUXENBERG, PC
CARDINALE            SANTO J               NY         10004101         WEITZ & LUXENBERG, PC                                CARLUCCI             FRANK J               NY         11170005         WEITZ & LUXENBERG, PC
CARDINO              LILLIAN               NY         12343301         WEITZ & LUXENBERG, PC                                CARMACK              ALFRED CLAY           NY         CV017496         WEITZ & LUXENBERG, PC
CARDINO              LILLIAN               NY         01111227         WEITZ & LUXENBERG, PC                                CARMAN               RUTH E                NY         02107099         WEITZ & LUXENBERG, PC
CARDINO              RALPH E               NY         12343301         WEITZ & LUXENBERG, PC                                CARMAN               RUTH E                NY         11757202         WEITZ & LUXENBERG, PC
CARDINO              RALPH E               NY         01111227         WEITZ & LUXENBERG, PC                                CARMICHAEL           ARDIS                 NY         98117788         WEITZ & LUXENBERG, PC
CARDINO              RALPH P               NY         12343301         WEITZ & LUXENBERG, PC                                CARMICHAEL           ARTHUR J              NY         10509700         WEITZ & LUXENBERG, PC
CARDINO              RALPH P               NY         01111227         WEITZ & LUXENBERG, PC                                CARMICHAEL           JESSE                 NY         98117788         WEITZ & LUXENBERG, PC
CARDONA              OLGA                  NY         11244100         WEITZ & LUXENBERG, PC                                CARMICHAEL           PARIS                 NY         10509700         WEITZ & LUXENBERG, PC
CARELLA              ANTHONY               NY         10356200         WEITZ & LUXENBERG, PC                                CARMODY              CATHERINE             NY         02106694         WEITZ & LUXENBERG, PC
CARELLA              LORRAINE              NY         10356200         WEITZ & LUXENBERG, PC                                CARMODY              HENRY J               NY         02106694         WEITZ & LUXENBERG, PC
CAREY                AUDREY                NY         10356000         WEITZ & LUXENBERG, PC                                CARMONA              CHERYL                NY         11258000         WEITZ & LUXENBERG, PC
CAREY                BEVERLY               NY         11949901         WEITZ & LUXENBERG, PC                                CARNER               FREDERICK C           NY         10722002         WEITZ & LUXENBERG, PC
CAREY                BEVERLY               NY         01111220         WEITZ & LUXENBERG, PC                                CARNEVALE            JASON                 NY         10587502         WEITZ & LUXENBERG, PC
CAREY                CHRISTINA             NY         1902972016       WEITZ & LUXENBERG, PC                                CARNEVALE            JASON                 NY         110009502        WEITZ & LUXENBERG, PC
CAREY                DANIEL J              NY         143710           WEITZ & LUXENBERG, PC                                CARNEVALE            JOSEPH A              NY         10587502         WEITZ & LUXENBERG, PC
CAREY                HAROLD G              NY         1902972016       WEITZ & LUXENBERG, PC                                CARNEVALE            JOSEPH A              NY         110009502        WEITZ & LUXENBERG, PC
CAREY                JOHN                  NY         10004201         WEITZ & LUXENBERG, PC                                CARNEY               JOHN H                NY         10587202         WEITZ & LUXENBERG, PC
CAREY                RAYMOND               NY         11949901         WEITZ & LUXENBERG, PC                                CARNEY               JOHN H                NY         10819302         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 884
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 219 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CARNEY               WANDA                 NY         10587202         WEITZ & LUXENBERG, PC                                CARRICATO            WILLIAM F             NY         10509500         WEITZ & LUXENBERG, PC
CARNEY               WANDA                 NY         10819302         WEITZ & LUXENBERG, PC                                CARRICOTA            CLARA                 NY         10509500         WEITZ & LUXENBERG, PC
CAROLAN              MARGARET              NY         10004401         WEITZ & LUXENBERG, PC                                CARRIER              CHESTER E             NY         CV015718         WEITZ & LUXENBERG, PC
CAROLAN              TERENCE               NY         10004401         WEITZ & LUXENBERG, PC                                CARRIER              MOLLIE                NY         CV015718         WEITZ & LUXENBERG, PC
CAROLAN              TERENCE J             NY         10004401         WEITZ & LUXENBERG, PC                                CARRIER              PETER                 NY         1903912018       WEITZ & LUXENBERG, PC
CAROLLO              GIACOMA               NY         10509600         WEITZ & LUXENBERG, PC                                CARRIERO             CARMINE               NY         11027002         WEITZ & LUXENBERG, PC
CAROLLO              PIETRO                NY         10509600         WEITZ & LUXENBERG, PC                                CARRIERO             CONCETTA              NY         11027002         WEITZ & LUXENBERG, PC
CARONE               JOYCE                 NY         12094501         WEITZ & LUXENBERG, PC                                CARRIERO             LEONARD A             NY         1900412018       WEITZ & LUXENBERG, PC
CARONE               JOYCE                 NY         01111223         WEITZ & LUXENBERG, PC                                CARRIERO             VIRGINIA              NY         1900412018       WEITZ & LUXENBERG, PC
CARONE               NICOLA                NY         12094501         WEITZ & LUXENBERG, PC                                CARRO                ANTHONY               NY         11123101         WEITZ & LUXENBERG, PC
CARONE               NICOLA                NY         01111223         WEITZ & LUXENBERG, PC                                CARRO                ARNOLD                NY         01121099         WEITZ & LUXENBERG, PC
CAROTA               LEONARD               NY         10403502         WEITZ & LUXENBERG, PC                                CARRO                CARMELLA              NY         01121099         WEITZ & LUXENBERG, PC
CAROTA               MARK A                NY         02105715         WEITZ & LUXENBERG, PC                                CARRO                JOANN                 NY         11123101         WEITZ & LUXENBERG, PC
CAROTA               MARY                  NY         10403502         WEITZ & LUXENBERG, PC                                CARROLL              AGNES                 NY         11716200         WEITZ & LUXENBERG, PC
CAROTA               PATRICIA              NY         02105715         WEITZ & LUXENBERG, PC                                CARROLL              BERNADETTE            NY         11716200         WEITZ & LUXENBERG, PC
CAROTHERS            JILL H                NY         11716000         WEITZ & LUXENBERG, PC                                CARROLL              BETTY J               NY         10032201         WEITZ & LUXENBERG, PC
CAROTHERS            WILLARD               NY         11716000         WEITZ & LUXENBERG, PC                                CARROLL              BETTY LOU             NY         1901742018       WEITZ & LUXENBERG, PC
CAROWICK             FRED M                NY         10004501         WEITZ & LUXENBERG, PC                                CARROLL              CARMELLA              NY         01111236         WEITZ & LUXENBERG, PC
CAROWICK             LORETTA               NY         10004501         WEITZ & LUXENBERG, PC                                CARROLL              CHARLES               NY         02107102         WEITZ & LUXENBERG, PC
CAROZZA              ANTONIO               NY         11035400         WEITZ & LUXENBERG, PC                                CARROLL              CHRISTINE             NY         02107102         WEITZ & LUXENBERG, PC
CAROZZA              GIOVANNA              NY         11035400         WEITZ & LUXENBERG, PC                                CARROLL              EUGENE J              NY         10431400         WEITZ & LUXENBERG, PC
CARPENTER            BERNARDINE A          NY         11380902         WEITZ & LUXENBERG, PC                                CARROLL              FRANK P               NY         10608299         WEITZ & LUXENBERG, PC
CARPENTER            BONNIE                NY         10680602         WEITZ & LUXENBERG, PC                                CARROLL              GEORGE L              NY         11056900         WEITZ & LUXENBERG, PC
CARPENTER            CHARLES I             NY         12039501         WEITZ & LUXENBERG, PC                                CARROLL              HELEN                 NY         10509400         WEITZ & LUXENBERG, PC
CARPENTER            DOROTHY               NY         98117789         WEITZ & LUXENBERG, PC                                CARROLL              HELEN R               NY         10509300         WEITZ & LUXENBERG, PC
CARPENTER            FRANCIS               NY         98117789         WEITZ & LUXENBERG, PC                                CARROLL              JAMES                 NY         98117779         WEITZ & LUXENBERG, PC
CARPENTER            FRANK                 NY         98117789         WEITZ & LUXENBERG, PC                                CARROLL              JAMES                 NY         10004601         WEITZ & LUXENBERG, PC
CARPENTER            HAROLD C              NY         10722002         WEITZ & LUXENBERG, PC                                CARROLL              JAMES W               NY         00CIV1202        WEITZ & LUXENBERG, PC
CARPENTER            HELEN                 NY         10722002         WEITZ & LUXENBERG, PC                                CARROLL              JANE                  NY         98117779         WEITZ & LUXENBERG, PC
CARPENTER            JOHN A                NY         12039901         WEITZ & LUXENBERG, PC                                CARROLL              JEREMIAH J            NY         01111236         WEITZ & LUXENBERG, PC
CARPENTER            JUNE                  NY         12039901         WEITZ & LUXENBERG, PC                                CARROLL              JOHN J                NY         10004701         WEITZ & LUXENBERG, PC
CARPENTER            LEON A                NY         11396599         WEITZ & LUXENBERG, PC                                CARROLL              JOHN THOMAS           NY         10509400         WEITZ & LUXENBERG, PC
CARPENTER            LLOYD C               NY         02105715         WEITZ & LUXENBERG, PC                                CARROLL              JOSEPH P              NY         1901742018       WEITZ & LUXENBERG, PC
CARPENTER            LOIS                  NY         11396599         WEITZ & LUXENBERG, PC                                CARROLL              JULIE                 NY         10004701         WEITZ & LUXENBERG, PC
CARPENTER            MARY                  NY         02105715         WEITZ & LUXENBERG, PC                                CARROLL              LEE                   NY         00CIV1202        WEITZ & LUXENBERG, PC
CARPENTER            MICHAEL               DE         N19C06029ASB     WEITZ & LUXENBERG, PC                                CARROLL              LOUISE                NY         10608299         WEITZ & LUXENBERG, PC
CARPENTER            NANCY ELLEN           NY         12039501         WEITZ & LUXENBERG, PC                                CARROLL              MARIE A               NY         10431400         WEITZ & LUXENBERG, PC
CARPENTER            PEGGY                 NY         01CIV4688        WEITZ & LUXENBERG, PC                                CARROLL              PATRICK M             NY         10509300         WEITZ & LUXENBERG, PC
CARPENTER            THOMAS W              NY         10680602         WEITZ & LUXENBERG, PC                                CARROLL              ROSETTA               NY         10023203         WEITZ & LUXENBERG, PC
CARPENTER            WESLEY LEE            NY         01CIV4688        WEITZ & LUXENBERG, PC                                CARROLL              THOMAS                NY         10023203         WEITZ & LUXENBERG, PC
CARPENTER            WILLIAM L             NY         11380902         WEITZ & LUXENBERG, PC                                CARROLL              THOMAS M              NY         11716200         WEITZ & LUXENBERG, PC
CARPER               BRENDA                NY         CV013921         WEITZ & LUXENBERG, PC                                CARROLL              WILLIAM J             NY         1901862019       WEITZ & LUXENBERG, PC
CARPER               ROY EDWARD            NY         CV013921         WEITZ & LUXENBERG, PC                                CARRON               ARTHUR G              NY         10431500         WEITZ & LUXENBERG, PC
CARPINIELLO          ANTHONY C             NY         99113964         WEITZ & LUXENBERG, PC                                CARRON               HOWARD H              NY         01111219         WEITZ & LUXENBERG, PC
CARPINIELLO          JANICE                NY         99113964         WEITZ & LUXENBERG, PC                                CARRON               MARCIA CANNON         NY         10431500         WEITZ & LUXENBERG, PC
CARR                 DOROTHY               NY         02107006         WEITZ & LUXENBERG, PC                                CARROW               KENNETH C             NY         10722202         WEITZ & LUXENBERG, PC
CARR                 GAIL                  NY         1903572018       WEITZ & LUXENBERG, PC                                CARROW               LINDA                 NY         11259100         WEITZ & LUXENBERG, PC
CARR                 GLORIA                NY         12039801         WEITZ & LUXENBERG, PC                                CARROW               RUSSELL C             NY         02106693         WEITZ & LUXENBERG, PC
CARR                 IRENE A               NY         11716100         WEITZ & LUXENBERG, PC                                CARSALINI            ANTOINETTE A          NY         98117780         WEITZ & LUXENBERG, PC
CARR                 JAMES B               NY         11716100         WEITZ & LUXENBERG, PC                                CARSON               CAMERON               NY         10431600         WEITZ & LUXENBERG, PC
CARR                 JAMES J               NY         11716100         WEITZ & LUXENBERG, PC                                CARSON               CARA                  NY         10431600         WEITZ & LUXENBERG, PC
CARR                 JOHN                  NY         98117783         WEITZ & LUXENBERG, PC                                CARSON               CAROL A               NY         11870301         WEITZ & LUXENBERG, PC
CARR                 JOHN                  NY         11778398         WEITZ & LUXENBERG, PC                                CARSON               CAROL A               NY         01111233         WEITZ & LUXENBERG, PC
CARR                 JOHN M                NY         1903572018       WEITZ & LUXENBERG, PC                                CARSTENSEN           ESTHER                NY         98117781         WEITZ & LUXENBERG, PC
CARR                 LAWRENCE W            NY         02107006         WEITZ & LUXENBERG, PC                                CARSTENSEN           THEODORE              NY         98117781         WEITZ & LUXENBERG, PC
CARR                 OWEN ORSON            NY         11057000         WEITZ & LUXENBERG, PC                                CARTE                DONALD KEITH          NY         02106580         WEITZ & LUXENBERG, PC
CARR                 SAMUEL                NY         12039801         WEITZ & LUXENBERG, PC                                CARTE                NANCY                 NY         02106580         WEITZ & LUXENBERG, PC
CARR                 SANDRA G              CA         19STCV05734      WEITZ & LUXENBERG, PC                                CARTER               AARON MARTIN          NY         CV016797         WEITZ & LUXENBERG, PC
CARR                 SONIA                 NY         11057000         WEITZ & LUXENBERG, PC                                CARTER               BETTY                 NY         CV016797         WEITZ & LUXENBERG, PC
CARRACINO            ALFRED J              NY         11950001         WEITZ & LUXENBERG, PC                                CARTER               DURWARD W             NY         02120706         WEITZ & LUXENBERG, PC
CARRACINO            ALFRED J              NY         01111220         WEITZ & LUXENBERG, PC                                CARTER               ESTHER                NY         CV003590         WEITZ & LUXENBERG, PC
CARRACINO            JOSEPH J              NY         11950001         WEITZ & LUXENBERG, PC                                CARTER               GAMAGE B              NY         10608099         WEITZ & LUXENBERG, PC
CARRACINO            JOSEPH J              NY         01111220         WEITZ & LUXENBERG, PC                                CARTER               GLADYS                NY         10608099         WEITZ & LUXENBERG, PC
CARRACINO            ROSE                  NY         11950001         WEITZ & LUXENBERG, PC                                CARTER               JAMES                 NY         10431900         WEITZ & LUXENBERG, PC
CARRACINO            ROSE                  NY         01111220         WEITZ & LUXENBERG, PC                                CARTER               JAMES EDWARD          NY         CV017498         WEITZ & LUXENBERG, PC
CARRENO              ANDREAS               NY         11356702         WEITZ & LUXENBERG, PC                                CARTER               JOHN M                NY         11632503         WEITZ & LUXENBERG, PC
CARREON              JOSE                  NY         1902932012       WEITZ & LUXENBERG, PC                                CARTER               JOYCE                 NY         99113872         WEITZ & LUXENBERG, PC
CARRERO              ISMAEL                NY         10431300         WEITZ & LUXENBERG, PC                                CARTER               KATHY                 NY         12801902         WEITZ & LUXENBERG, PC
CARRERO              MARY                  NY         10431300         WEITZ & LUXENBERG, PC                                CARTER               MARY A                NY         10740102         WEITZ & LUXENBERG, PC
CARRESI              FRANCESCO             NY         10985303         WEITZ & LUXENBERG, PC                                CARTER               MARY A                NY         11350702         WEITZ & LUXENBERG, PC
CARRESI              SANTINA               NY         10985303         WEITZ & LUXENBERG, PC                                CARTER               MICHAEL R             NY         1903252017       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 885
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 220 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CARTER               NORMAN P              NY         10740102         WEITZ & LUXENBERG, PC                                CASEY                AGNES                 NY         01111222         WEITZ & LUXENBERG, PC
CARTER               NORMAN P              NY         11350702         WEITZ & LUXENBERG, PC                                CASEY                CHARLES J             NY         1902472014       WEITZ & LUXENBERG, PC
CARTER               PETER D               NY         12801902         WEITZ & LUXENBERG, PC                                CASEY                DONALD W              NY         12668302         WEITZ & LUXENBERG, PC
CARTER               ROBERT BENJAMIN       NY         CV003590         WEITZ & LUXENBERG, PC                                CASEY                JAMES E               NY         11294603         WEITZ & LUXENBERG, PC
CARTER               RUTH                  NY         10431900         WEITZ & LUXENBERG, PC                                CASEY                JOHN P                NY         10005201         WEITZ & LUXENBERG, PC
CARTER               SAMUEL D              NY         99113872         WEITZ & LUXENBERG, PC                                CASEY                MARGARET              NY         10005201         WEITZ & LUXENBERG, PC
CARTER               WILLIAM               NY         1903252017       WEITZ & LUXENBERG, PC                                CASEY                MARGARET B            NY         12668302         WEITZ & LUXENBERG, PC
CARTER               WILLIAM K             NY         01111219         WEITZ & LUXENBERG, PC                                CASEY                MARGUERITE            NY         1902472014       WEITZ & LUXENBERG, PC
CARTHENS             CAMAY                 NY         11327106         WEITZ & LUXENBERG, PC                                CASEY                PATRICK J             NY         01111222         WEITZ & LUXENBERG, PC
CARTOLANO            BARBARA               NY         11834903         WEITZ & LUXENBERG, PC                                CASH                 JC                    NY         CIV006917        WEITZ & LUXENBERG, PC
CARTOLANO            JOSEPH                NY         11834903         WEITZ & LUXENBERG, PC                                CASH                 J.C.                  NY         CV025758         WEITZ & LUXENBERG, PC
CARTWRIGHT           HENRY G               NY         10509200         WEITZ & LUXENBERG, PC                                CASH                 JERRY                 NY         CV023092         WEITZ & LUXENBERG, PC
CARTWRIGHT           MARGARET              NY         10509200         WEITZ & LUXENBERG, PC                                CASH                 JOYCE                 NY         CV023092         WEITZ & LUXENBERG, PC
CARTWRIGHT           PAUL                  NY         1903282016       WEITZ & LUXENBERG, PC                                CASH                 PAUL E                NY         CV020711         WEITZ & LUXENBERG, PC
CARTWRIGHT           PAUL EDWARD           NY         10004901         WEITZ & LUXENBERG, PC                                CASHA                CHARLES               NY         11123101         WEITZ & LUXENBERG, PC
CARUANA              JOSEPH F              NY         11059100         WEITZ & LUXENBERG, PC                                CASHETTA             KAREN                 NY         1902782016       WEITZ & LUXENBERG, PC
CARUANA              MARY E                NY         11059100         WEITZ & LUXENBERG, PC                                CASHETTA             NICHOLAS              NY         1902782016       WEITZ & LUXENBERG, PC
CARUBIA              JOSEPH                NY         10074103         WEITZ & LUXENBERG, PC                                CASHIN               CAROL                 NY         11026902         WEITZ & LUXENBERG, PC
CARUBIA              MARY ANN              NY         10074103         WEITZ & LUXENBERG, PC                                CASHIN               JOHN T                NY         11026902         WEITZ & LUXENBERG, PC
CARUSO               BETTY JEAN            NY         10951800         WEITZ & LUXENBERG, PC                                CASHMAN              JOAN                  NY         12039901         WEITZ & LUXENBERG, PC
CARUSO               LOUIS                 NY         10082302         WEITZ & LUXENBERG, PC                                CASHMAN              JOAN                  NY         10451202         WEITZ & LUXENBERG, PC
CARUSO               RICHARD               NY         10510500         WEITZ & LUXENBERG, PC                                CASHMAN              JOHN J                NY         12039901         WEITZ & LUXENBERG, PC
CARUSO               SEBASTIAN JOSEP       NY         10510400         WEITZ & LUXENBERG, PC                                CASHMAN              JOHN J                NY         10451202         WEITZ & LUXENBERG, PC
CARVER               CATHERINE             NY         CV016699         WEITZ & LUXENBERG, PC                                CASIANO              EDDY                  NY         10877403         WEITZ & LUXENBERG, PC
CARVER               DEWEY G               NY         11386499         WEITZ & LUXENBERG, PC                                CASIANO              SAUL NAZARIO          NY         10877403         WEITZ & LUXENBERG, PC
CARVER               ROY DEAN              NY         CV016699         WEITZ & LUXENBERG, PC                                CASIMATES            JOHN                  NY         10005301         WEITZ & LUXENBERG, PC
CARVER               THERA                 NY         11386499         WEITZ & LUXENBERG, PC                                CASLIN               HOWARD V              NY         98117790         WEITZ & LUXENBERG, PC
CARVILL              GORDON PARK           NY         10587402         WEITZ & LUXENBERG, PC                                CASLIN               VINCENT D             NY         12381201         WEITZ & LUXENBERG, PC
CARVILL              JAMES F               NY         02106692         WEITZ & LUXENBERG, PC                                CASMENTO             CLIFFORD              NY         12014501         WEITZ & LUXENBERG, PC
CARVILL              ROBERT G              NY         10696502         WEITZ & LUXENBERG, PC                                CASO                 ELAINE D              NY         02106580         WEITZ & LUXENBERG, PC
CARY                 FRANCES A             NY         11059000         WEITZ & LUXENBERG, PC                                CASO                 LOUIS J               NY         02106580         WEITZ & LUXENBERG, PC
CARY                 PAUL T                NY         11059000         WEITZ & LUXENBERG, PC                                CASPE                JOHN                  NY         1900172017       WEITZ & LUXENBERG, PC
CASA                 JAMES                 NY         1902752014       WEITZ & LUXENBERG, PC                                CASPER               JACQUELINE            NY         10127907         WEITZ & LUXENBERG, PC
CASABIANCA           ELEANOR               NY         01111220         WEITZ & LUXENBERG, PC                                CASPER               MARGARET              NY         11718400         WEITZ & LUXENBERG, PC
CASABIANCA           JOHN                  NY         01111220         WEITZ & LUXENBERG, PC                                CASPER               RICHARD L             NY         10127907         WEITZ & LUXENBERG, PC
CASABURI             JOSEPH                NY         01111225         WEITZ & LUXENBERG, PC                                CASPER               THEODORE A            NY         11718400         WEITZ & LUXENBERG, PC
CASABURI             SHEILA                NY         01111225         WEITZ & LUXENBERG, PC                                CASSAMASSINA         DONALD                NY         10089206         WEITZ & LUXENBERG, PC
CASAGRANDE           DERYL                 NY         12039001         WEITZ & LUXENBERG, PC                                CASSAMASSINA         RITA                  NY         10089206         WEITZ & LUXENBERG, PC
CASAGRANDE           DERYL                 NY         12395301         WEITZ & LUXENBERG, PC                                CASSANO              CARMINE T             NY         12039401         WEITZ & LUXENBERG, PC
CASALASPRO           KAREN                 NY         6027172018       WEITZ & LUXENBERG, PC                                CASSANO              CARMINE T             NY         10577102         WEITZ & LUXENBERG, PC
CASALASPRO           MICHAEL G             NY         6027172018       WEITZ & LUXENBERG, PC                                CASSANO              DOMINICK              NY         1900432018       WEITZ & LUXENBERG, PC
CASALE               MARY ANN              NY         99106079         WEITZ & LUXENBERG, PC                                CASSANO              DOMINICK              NY         10926503         WEITZ & LUXENBERG, PC
CASALE               THOMAS                NY         99106079         WEITZ & LUXENBERG, PC                                CASSANO              EMILIA R              NY         12038901         WEITZ & LUXENBERG, PC
CASALI               JOHN A                NY         12039401         WEITZ & LUXENBERG, PC                                CASSANO              LEE                   NY         11008703         WEITZ & LUXENBERG, PC
CASALI               WILLIAMINA            NY         12039401         WEITZ & LUXENBERG, PC                                CASSANO              ROBERT                NY         11008703         WEITZ & LUXENBERG, PC
CASALIGGI            LONNA                 NY         12039101         WEITZ & LUXENBERG, PC                                CASSANO              VITO J                NY         12038901         WEITZ & LUXENBERG, PC
CASALIGGI            LONNA                 NY         10431202         WEITZ & LUXENBERG, PC                                CASSANO MORTON       SUZANNE               NY         12039401         WEITZ & LUXENBERG, PC
CASALIGGI            LOUIS                 NY         12039101         WEITZ & LUXENBERG, PC                                CASSANO MORTON       SUZANNE               NY         10577102         WEITZ & LUXENBERG, PC
CASALIGGI            LOUIS                 NY         10431202         WEITZ & LUXENBERG, PC                                CASSARA              FILOMENA              NY         01111233         WEITZ & LUXENBERG, PC
CASALINO             APRIL                 NY         11356702         WEITZ & LUXENBERG, PC                                CASSARA              LEONARDO              NY         01111233         WEITZ & LUXENBERG, PC
CASALINO             JOHN L                NY         11356702         WEITZ & LUXENBERG, PC                                CASSARINO            PAOLO                 NY         10871803         WEITZ & LUXENBERG, PC
CASALINO             VINCENT               NY         11386599         WEITZ & LUXENBERG, PC                                CASSARINO            ROSARIA               NY         11033303         WEITZ & LUXENBERG, PC
CASARELLA            SALVATORE             NY         12039101         WEITZ & LUXENBERG, PC                                CASSARINO            SAVERIO               NY         11033303         WEITZ & LUXENBERG, PC
CASARIO              ALBERT                NY         10510300         WEITZ & LUXENBERG, PC                                CASSARINO            SYLVANIA              NY         10871803         WEITZ & LUXENBERG, PC
CASARIO              ROSE                  NY         10510300         WEITZ & LUXENBERG, PC                                CASSELI              MARK                  NY         10598700         WEITZ & LUXENBERG, PC
CASCIANI             GIOVANNI              NY         02105715         WEITZ & LUXENBERG, PC                                CASSELLS             ANN                   NY         12039101         WEITZ & LUXENBERG, PC
CASCIANI             GIOVANNI              NY         11021802         WEITZ & LUXENBERG, PC                                CASSELLS             ANN                   NY         10431002         WEITZ & LUXENBERG, PC
CASCIO               ANTONINA              NY         12444102         WEITZ & LUXENBERG, PC                                CASSELLS             PETER                 NY         12039101         WEITZ & LUXENBERG, PC
CASCIO               CALOGERO              NY         12444102         WEITZ & LUXENBERG, PC                                CASSELLS             PETER                 NY         10431002         WEITZ & LUXENBERG, PC
CASCONE              DOROTHY               NY         1901872014       WEITZ & LUXENBERG, PC                                CASSIDY              HELEN A               NY         10870801         WEITZ & LUXENBERG, PC
CASCONE              LEONARD J             NY         1901872014       WEITZ & LUXENBERG, PC                                CASSIDY              JAMES L               NY         19016609         WEITZ & LUXENBERG, PC
CASE                 DAVID R               NY         02120615         WEITZ & LUXENBERG, PC                                CASSIDY              JOHN T                NY         12693402         WEITZ & LUXENBERG, PC
CASE                 DAWN                  NY         10005101         WEITZ & LUXENBERG, PC                                CASSIDY              JOHN T                NY         10441703         WEITZ & LUXENBERG, PC
CASE                 DEANNA J              NY         10432000         WEITZ & LUXENBERG, PC                                CASSIDY              JOSEPH                NY         10870801         WEITZ & LUXENBERG, PC
CASE                 DESMOND H             NY         10005101         WEITZ & LUXENBERG, PC                                CASSIDY              MARGARET A            NY         12693402         WEITZ & LUXENBERG, PC
CASE                 RAYMOND R             NY         10432000         WEITZ & LUXENBERG, PC                                CASSIDY              MARGARET A            NY         10441703         WEITZ & LUXENBERG, PC
CASE                 ROBERT C              NY         11521103         WEITZ & LUXENBERG, PC                                CASSIDY              MARGIE                NY         12693402         WEITZ & LUXENBERG, PC
CASE                 SHARON                NY         11521103         WEITZ & LUXENBERG, PC                                CASSIDY              MARGIE                NY         10441703         WEITZ & LUXENBERG, PC
CASE                 SHARON ANNE           NY         02120615         WEITZ & LUXENBERG, PC                                CASSIDY              THERESA               NY         19016609         WEITZ & LUXENBERG, PC
CASES                FELIPE                NY         12039701         WEITZ & LUXENBERG, PC                                CASSINI              LOUIS                 NY         01111223         WEITZ & LUXENBERG, PC
CASES                JULIA                 NY         12039701         WEITZ & LUXENBERG, PC                                CASTAGNA             LESTER                NY         12039801         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 886
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 221 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CASTAGNARO           MICHAEL A             NY         99120433         WEITZ & LUXENBERG, PC                                CATANZANO            IMMACOLATA            NY         11643601         WEITZ & LUXENBERG, PC
CASTAING             DEBRA JAYNE           NY         CV026012         WEITZ & LUXENBERG, PC                                CATANZANO            IMMACOLATA            NY         01111219         WEITZ & LUXENBERG, PC
CASTAING             ROBERT JOACHIM        NY         CV026012         WEITZ & LUXENBERG, PC                                CATANZARO            JOETT                 NY         10444900         WEITZ & LUXENBERG, PC
CASTALDO             LENA                  NY         10005401         WEITZ & LUXENBERG, PC                                CATANZARO            JOHN R                NY         10444900         WEITZ & LUXENBERG, PC
CASTALDO             LENA                  NY         11938700         WEITZ & LUXENBERG, PC                                CATENA               FERNANDO              NY         98117795         WEITZ & LUXENBERG, PC
CASTALDO             LINDA                 NY         10005501         WEITZ & LUXENBERG, PC                                CATENA               MARIA                 NY         98117795         WEITZ & LUXENBERG, PC
CASTALDO             MICHAEL               NY         10005501         WEITZ & LUXENBERG, PC                                CATENACCIO           JOHN                  NY         1903252012       WEITZ & LUXENBERG, PC
CASTALDO             PATRICK               NY         10005401         WEITZ & LUXENBERG, PC                                CATES                CLAUDIA               NY         CV022862         WEITZ & LUXENBERG, PC
CASTALDO             PATRICK               NY         11938700         WEITZ & LUXENBERG, PC                                CATES                JAMES WAYNE           NY         CV022862         WEITZ & LUXENBERG, PC
CASTANIO             FRANK A               NY         11599103         WEITZ & LUXENBERG, PC                                CATINO               GOLDIE D              NY         10510900         WEITZ & LUXENBERG, PC
CASTELLANA           CONCETTA C            NY         10965102         WEITZ & LUXENBERG, PC                                CATINO               JOHN                  NY         10510900         WEITZ & LUXENBERG, PC
CASTELLANA           THOMAS R              NY         10965102         WEITZ & LUXENBERG, PC                                CATONE               ANGELO                NY         10627399         WEITZ & LUXENBERG, PC
CASTELLANI           GEORGE                NY         01111236         WEITZ & LUXENBERG, PC                                CATONE               JOHN RICHARD          NY         10627399         WEITZ & LUXENBERG, PC
CASTELLANI           MYRETTA               NY         01111236         WEITZ & LUXENBERG, PC                                CATT                 PAUL                  NY         1902002014       WEITZ & LUXENBERG, PC
CASTELLANO           GIOACCHINO            NY         11868401         WEITZ & LUXENBERG, PC                                CATT                 SHARON K              NY         1902002014       WEITZ & LUXENBERG, PC
CASTELLANO           GIOACCHINO            NY         01111233         WEITZ & LUXENBERG, PC                                CATTARIN             JOSEPH J              NY         11718700         WEITZ & LUXENBERG, PC
CASTELLANO           MARIA                 NY         11868401         WEITZ & LUXENBERG, PC                                CATTARIN             PHYLLIS               NY         11718700         WEITZ & LUXENBERG, PC
CASTELLANO           MARIA                 NY         01111233         WEITZ & LUXENBERG, PC                                CATTES               MARIE                 NY         02107005         WEITZ & LUXENBERG, PC
CASTELLANO           ROSEMARIE             NY         10868206         WEITZ & LUXENBERG, PC                                CATTES               MARIE                 NY         11622702         WEITZ & LUXENBERG, PC
CASTELLANO           VINCENT M             NY         10868206         WEITZ & LUXENBERG, PC                                CAUFIELD             KENNETH W             NY         02113566         WEITZ & LUXENBERG, PC
CASTELLUCCI          JOAN                  NY         11159403         WEITZ & LUXENBERG, PC                                CAUFIELD             KENNETH W             NY         12618502         WEITZ & LUXENBERG, PC
CASTELLUCCI          JOSEPH                NY         11159403         WEITZ & LUXENBERG, PC                                CAUFIELD             MARY                  NY         02113566         WEITZ & LUXENBERG, PC
CASTELLUCCIO         ALBERT J              NY         1902412016       WEITZ & LUXENBERG, PC                                CAUFIELD             MARY                  NY         12618502         WEITZ & LUXENBERG, PC
CASTELLUCCIO         AUDREY                NY         1902412016       WEITZ & LUXENBERG, PC                                CAUGHEL              MILDRED               NY         10716902         WEITZ & LUXENBERG, PC
CASTIGLIA            ANTHONY J             NY         12693502         WEITZ & LUXENBERG, PC                                CAUGHEL              MILDRED               NY         11217102         WEITZ & LUXENBERG, PC
CASTIGLIA            URSULA                NY         12693502         WEITZ & LUXENBERG, PC                                CAUGHEL              RUSSELL               NY         10716902         WEITZ & LUXENBERG, PC
CASTILLO             CARMELA               NY         1902662017       WEITZ & LUXENBERG, PC                                CAUGHEL              RUSSELL               NY         11217102         WEITZ & LUXENBERG, PC
CASTILLO             PEDRO C               NY         1902662017       WEITZ & LUXENBERG, PC                                CAULDER              CECIL O               NY         10627299         WEITZ & LUXENBERG, PC
CASTILLOUX           MARIE                 NY         11055200         WEITZ & LUXENBERG, PC                                CAULDER              MARY JANE             NY         10627299         WEITZ & LUXENBERG, PC
CASTILLOUX           RAYMOND               NY         11055200         WEITZ & LUXENBERG, PC                                CAULO                ANTHONY               NY         10510800         WEITZ & LUXENBERG, PC
CASTIN               ALVIN                 NY         12788802         WEITZ & LUXENBERG, PC                                CAULO                MARIE                 NY         10510800         WEITZ & LUXENBERG, PC
CASTLE               ALFRED                NY         98117793         WEITZ & LUXENBERG, PC                                CAUSER               KATHERINE             NY         10627199         WEITZ & LUXENBERG, PC
CASTLE               DAN                   NY         98117793         WEITZ & LUXENBERG, PC                                CAUSER               LAVERN DAVID          NY         10627199         WEITZ & LUXENBERG, PC
CASTLE               FRANCES               NY         98117793         WEITZ & LUXENBERG, PC                                CAVALIER             RONALD                NY         11162103         WEITZ & LUXENBERG, PC
CASTLE               RICHARD BERNARD       NY         02106694         WEITZ & LUXENBERG, PC                                CAVALIERE            JOSEPH H              NY         11868601         WEITZ & LUXENBERG, PC
CASTLEMAN            CONNIE A              NY         10740302         WEITZ & LUXENBERG, PC                                CAVALIERE            JOSEPH H              NY         01111233         WEITZ & LUXENBERG, PC
CASTLEMAN            PETER R               NY         10740302         WEITZ & LUXENBERG, PC                                CAVALIERI            ANTHONY               NY         8142932016       WEITZ & LUXENBERG, PC
CASTONGUAY           BRENDA                NY         02107007         WEITZ & LUXENBERG, PC                                CAVALIERI            SUSAN                 NY         8142932016       WEITZ & LUXENBERG, PC
CASTONGUAY           JOHN                  NY         02107007         WEITZ & LUXENBERG, PC                                CAVALLARO            JANICE                NY         19011910         WEITZ & LUXENBERG, PC
CASTOR               WILLIAM L             NY         10587602         WEITZ & LUXENBERG, PC                                CAVALLARO            PAUL C                NY         19011910         WEITZ & LUXENBERG, PC
CASTORA              ANNETTE               NY         10510100         WEITZ & LUXENBERG, PC                                CAVALLERI            JOSEPH                NY         10680802         WEITZ & LUXENBERG, PC
CASTORA              PETER                 NY         10510100         WEITZ & LUXENBERG, PC                                CAVALLERI            MARYANN               NY         10680802         WEITZ & LUXENBERG, PC
CASTORIA             DOLORES               NY         11718500         WEITZ & LUXENBERG, PC                                CAVALLI              ANNA                  NY         11609703         WEITZ & LUXENBERG, PC
CASTORIA             JOHN M                NY         11718500         WEITZ & LUXENBERG, PC                                CAVALLI              GIORGIO               NY         11609703         WEITZ & LUXENBERG, PC
CASTRICONE           NANCY S               NY         10510000         WEITZ & LUXENBERG, PC                                CAVALLO              BARBARA               NY         1901472017       WEITZ & LUXENBERG, PC
CASTRICONE           SALVATORE             NY         10510000         WEITZ & LUXENBERG, PC                                CAVALLO              JAMES                 NY         12039401         WEITZ & LUXENBERG, PC
CASTRO               ARLENE                NY         10005601         WEITZ & LUXENBERG, PC                                CAVALLO              PETER J               NY         1901472017       WEITZ & LUXENBERG, PC
CASTRO               RICHARD               NY         10005601         WEITZ & LUXENBERG, PC                                CAVALLO              SUE ELLEN             NY         12039401         WEITZ & LUXENBERG, PC
CASTRONOVA           ELSIE                 NY         10670602         WEITZ & LUXENBERG, PC                                CAVALUZZI            AMELIA                NY         10005701         WEITZ & LUXENBERG, PC
CASTRONOVA           SALVATORE L           NY         10670602         WEITZ & LUXENBERG, PC                                CAVALUZZI            MICHAEL               NY         10005701         WEITZ & LUXENBERG, PC
CASTRONOVO           FRANK                 NY         01111233         WEITZ & LUXENBERG, PC                                CAVANAUGH            PAUL DAVID            NY         10699902         WEITZ & LUXENBERG, PC
CASTRONOVO           FRANK J               NY         11738200         WEITZ & LUXENBERG, PC                                CAVE                 GEORGE                NY         10445000         WEITZ & LUXENBERG, PC
CATALANO             CATARINA MAURA        NY         10627699         WEITZ & LUXENBERG, PC                                CAVE                 SUSAN                 NY         10445000         WEITZ & LUXENBERG, PC
CATALANO             KATHRYN               NY         98118847         WEITZ & LUXENBERG, PC                                CAVERLY              JOHN                  NY         634652018        WEITZ & LUXENBERG, PC
CATALANO             PIETRO                NY         10627699         WEITZ & LUXENBERG, PC                                CAVERLY              SANDRA                NY         634652018        WEITZ & LUXENBERG, PC
CATALANOTTI          ARTHUR F              NY         19002509         WEITZ & LUXENBERG, PC                                CAWEIN               CINDY                 NY         10511500         WEITZ & LUXENBERG, PC
CATALANOTTI          MARY JANE             NY         19002509         WEITZ & LUXENBERG, PC                                CAWEIN               GLENN WILLIAM         NY         10511500         WEITZ & LUXENBERG, PC
CATALDO              ANTHONY J             NY         11386799         WEITZ & LUXENBERG, PC                                CAWLEY               TERRENCE J            NY         11055000         WEITZ & LUXENBERG, PC
CATALDO              JOHN J                NY         10444800         WEITZ & LUXENBERG, PC                                CEA                  CASEY ANN             NY         10859699         WEITZ & LUXENBERG, PC
CATALDO              RALPH E               NY         10444800         WEITZ & LUXENBERG, PC                                CECALA               AURELIA               NY         12700502         WEITZ & LUXENBERG, PC
CATALDO              ROSALIE               NY         11386799         WEITZ & LUXENBERG, PC                                CECALA               JOSEPH                NY         12700502         WEITZ & LUXENBERG, PC
CATALFAMO            LOUIS                 NY         10509900         WEITZ & LUXENBERG, PC                                CECCHINI             ANGELO                NY         11054900         WEITZ & LUXENBERG, PC
CATALFAMO            PAULETTE ANITA        NY         10509900         WEITZ & LUXENBERG, PC                                CECCO                RINO G                NY         98117798         WEITZ & LUXENBERG, PC
CATALONE             GEORGE FRED           NY         11718600         WEITZ & LUXENBERG, PC                                CECCO                THECLA                NY         98117798         WEITZ & LUXENBERG, PC
CATALONE             MARGARET              NY         11718600         WEITZ & LUXENBERG, PC                                CECORA               DIANE                 NY         19024110         WEITZ & LUXENBERG, PC
CATANESE             FRANK J               NY         10509800         WEITZ & LUXENBERG, PC                                CECORA               FRANK J               NY         19024110         WEITZ & LUXENBERG, PC
CATANESE             MARGARET              NY         10509800         WEITZ & LUXENBERG, PC                                CECOT                MILTON JOHN           NY         10669102         WEITZ & LUXENBERG, PC
CATANZANO            ALPHONSO              NY         11643601         WEITZ & LUXENBERG, PC                                CEDAR                JUDY                  NY         12693502         WEITZ & LUXENBERG, PC
CATANZANO            ALPHONSO              NY         01111219         WEITZ & LUXENBERG, PC                                CEDAR                PAUL ROYCE            NY         12693502         WEITZ & LUXENBERG, PC
CATANZANO            COSMO D               NY         11643601         WEITZ & LUXENBERG, PC                                CEDDIA               GLORIA                NY         11039104         WEITZ & LUXENBERG, PC
CATANZANO            COSMO D               NY         01111219         WEITZ & LUXENBERG, PC                                CEDDIA               PETER R               NY         11039104         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 887
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 222 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CEDERRORH            BARBARA               NY         1903802015       WEITZ & LUXENBERG, PC                                CESTARE              CYNTHIA               NY         97123238         WEITZ & LUXENBERG, PC
CEDERROTH            JOHN                  NY         1903802015       WEITZ & LUXENBERG, PC                                CETNAR               CATHY                 NY         10511000         WEITZ & LUXENBERG, PC
CEFALIELLO           LOUIS                 NY         10039603         WEITZ & LUXENBERG, PC                                CETNAR               DONALD S              NY         10511000         WEITZ & LUXENBERG, PC
CEFALO               ANTHONY               NY         12239201         WEITZ & LUXENBERG, PC                                CEVALLOS             EDISON A              NY         12043101         WEITZ & LUXENBERG, PC
CEGLIO               MARVIN J              NY         11774900         WEITZ & LUXENBERG, PC                                CEVALLOS             GRACIELA              NY         12043101         WEITZ & LUXENBERG, PC
CEHCCHINI            ADELA                 NY         11054900         WEITZ & LUXENBERG, PC                                CHACH                IRENE                 NY         11560801         WEITZ & LUXENBERG, PC
CEHOK                BONNIE A              NY         10127307         WEITZ & LUXENBERG, PC                                CHACH                IRENE                 NY         01111218         WEITZ & LUXENBERG, PC
CEHOK                JOHN                  NY         10127307         WEITZ & LUXENBERG, PC                                CHAFFEE              HOWARD L              NY         02120615         WEITZ & LUXENBERG, PC
CEHOK                TRAVIS                NY         10127307         WEITZ & LUXENBERG, PC                                CHAFFEE              HOWARD L              NY         12759202         WEITZ & LUXENBERG, PC
CEKAVIC              BARBARA               NY         10023403         WEITZ & LUXENBERG, PC                                CHAFFIN              DOLORES               NY         99113886         WEITZ & LUXENBERG, PC
CEKAVIC              JOHN                  NY         10023403         WEITZ & LUXENBERG, PC                                CHAFFIN              RICHARD D             NY         99113886         WEITZ & LUXENBERG, PC
CELANI               EDWARD                NY         I200110245       WEITZ & LUXENBERG, PC                                CHAIRES              DESIR'EE              NY         12578299         WEITZ & LUXENBERG, PC
CELANI               MARJORIE              NY         I200110245       WEITZ & LUXENBERG, PC                                CHAIRES              JOHN ROBERT           NY         12578299         WEITZ & LUXENBERG, PC
CELARDO              ANTHONY J             NY         1902542016       WEITZ & LUXENBERG, PC                                CHAKALAS             CHRISTINA             NY         10512300         WEITZ & LUXENBERG, PC
CELESTE              ALBERT F              NY         1621122015       WEITZ & LUXENBERG, PC                                CHAKALAS             JAMES                 NY         10512300         WEITZ & LUXENBERG, PC
CELESTE              ROSEMARIE             NY         1621122015       WEITZ & LUXENBERG, PC                                CHALCO               AZALIA                NY         1903732016       WEITZ & LUXENBERG, PC
CELLI                JOSEPH                NY         10511400         WEITZ & LUXENBERG, PC                                CHALCO               WILSON                NY         1903732016       WEITZ & LUXENBERG, PC
CENCHEK              MICHAEL J             NY         12693502         WEITZ & LUXENBERG, PC                                CHALKER              JERRY M               NY         10669502         WEITZ & LUXENBERG, PC
CENDAGORTA           IGNACIO               NY         12356601         WEITZ & LUXENBERG, PC                                CHALKER              JOAN                  NY         10669502         WEITZ & LUXENBERG, PC
CENDAGORTA           PILAR                 NY         12356601         WEITZ & LUXENBERG, PC                                CHAMBERLAIN          EDWARD J              NY         11356702         WEITZ & LUXENBERG, PC
CENTERBAR            ERNEST PAUL           NY         10085503         WEITZ & LUXENBERG, PC                                CHAMBERLAIN          ELAINE                NY         11356702         WEITZ & LUXENBERG, PC
CENTERBAR            IRENE                 NY         10085503         WEITZ & LUXENBERG, PC                                CHAMBERLAIN          LINDA S               NY         10512100         WEITZ & LUXENBERG, PC
CENTRONE             JOSEPH                NY         10626999         WEITZ & LUXENBERG, PC                                CHAMBERLAIN          RICHARD R             NY         10512100         WEITZ & LUXENBERG, PC
CENZANO              ANDREW                NY         10445100         WEITZ & LUXENBERG, PC                                CHAMBERS             CULLEN                NY         11777498         WEITZ & LUXENBERG, PC
CEPERLEY             BARBA                 NY         10005901         WEITZ & LUXENBERG, PC                                CHAMBERS             DEBRA                 NY         11388799         WEITZ & LUXENBERG, PC
CEPERLEY             FRED G                NY         10005901         WEITZ & LUXENBERG, PC                                CHAMBERS             JIMMY CARLTON         NY         01CIV2802        WEITZ & LUXENBERG, PC
CERBONE              VITO                  NY         1904442012       WEITZ & LUXENBERG, PC                                CHAMBERS             MARTHA                NY         11388799         WEITZ & LUXENBERG, PC
CERCHIARA            CELIA                 NY         10134007         WEITZ & LUXENBERG, PC                                CHAMBERS             MARY                  NY         01CIV2802        WEITZ & LUXENBERG, PC
CERCHIARA            DANTE A               NY         10134007         WEITZ & LUXENBERG, PC                                CHAMBERS             ROBERT JAMES          NY         11388799         WEITZ & LUXENBERG, PC
CERENECK             JOHN J                NY         10085503         WEITZ & LUXENBERG, PC                                CHAMBERY             RUTH                  NY         10023403         WEITZ & LUXENBERG, PC
CERENECK             LORETTA               NY         10085503         WEITZ & LUXENBERG, PC                                CHAMBERY             THOMAS                NY         10023403         WEITZ & LUXENBERG, PC
CERIO                FRANK R               NY         11664603         WEITZ & LUXENBERG, PC                                CHAMBLISS            IDELLA                NY         10512000         WEITZ & LUXENBERG, PC
CERIO                JEAN                  NY         11664603         WEITZ & LUXENBERG, PC                                CHAMBLISS            TOM L                 NY         10512000         WEITZ & LUXENBERG, PC
CERLENKO             FRANK J               NY         10633699         WEITZ & LUXENBERG, PC                                CHAMBRY              CARL R                NY         10680702         WEITZ & LUXENBERG, PC
CERLENKO             JOAN                  NY         10633699         WEITZ & LUXENBERG, PC                                CHAMBRY              SALLY                 NY         10680702         WEITZ & LUXENBERG, PC
CERNAK               SHERIANE              NY         11939800         WEITZ & LUXENBERG, PC                                CHAMPA               CHRISTINE             NY         02106694         WEITZ & LUXENBERG, PC
CERNAK               STEPHEN DANIEL        NY         11939800         WEITZ & LUXENBERG, PC                                CHAMPA               PATRICK               NY         02106694         WEITZ & LUXENBERG, PC
CERNELLERA           ANGELO                NY         02106693         WEITZ & LUXENBERG, PC                                CHAMPAGNE            GEORGE                NY         10633799         WEITZ & LUXENBERG, PC
CERNJUL              ATILIO                NY         10378504         WEITZ & LUXENBERG, PC                                CHAMPLIN             EDWARD R              NY         10670802         WEITZ & LUXENBERG, PC
CERNJUL              PIERINA               NY         10378504         WEITZ & LUXENBERG, PC                                CHAMPLIN             KATHLEEN              NY         10670802         WEITZ & LUXENBERG, PC
CERRATI              GENNARO               NY         01111235         WEITZ & LUXENBERG, PC                                CHAMPOUILLON         CHARLES               NY         10784607         WEITZ & LUXENBERG, PC
CERRATI              GENNARO               NY         11829301         WEITZ & LUXENBERG, PC                                CHANDLER             ALICE                 NY         10590101         WEITZ & LUXENBERG, PC
CERRATI              MARIA                 NY         01111235         WEITZ & LUXENBERG, PC                                CHANDLER             CONNIE                NY         CV014395         WEITZ & LUXENBERG, PC
CERRATI              MARIA                 NY         11829301         WEITZ & LUXENBERG, PC                                CHANDLER             DAISY                 DE         N17C02073ASB     WEITZ & LUXENBERG, PC
CERRITO              RITA                  NY         10511300         WEITZ & LUXENBERG, PC                                CHANDLER             DAVID                 NY         19036011         WEITZ & LUXENBERG, PC
CERRITO              THEODORE              NY         10511300         WEITZ & LUXENBERG, PC                                CHANDLER             DOROTHY               NY         12668102         WEITZ & LUXENBERG, PC
CERRONE              ANTONIO               NY         10430900         WEITZ & LUXENBERG, PC                                CHANDLER             GEORGE R              DE         N17C02073ASB     WEITZ & LUXENBERG, PC
CERTA                MARIE                 NY         10511200         WEITZ & LUXENBERG, PC                                CHANDLER             JAMES                 NY         10590101         WEITZ & LUXENBERG, PC
CERTA                VINCENT               NY         10511200         WEITZ & LUXENBERG, PC                                CHANDLER             JAMES                 NY         CV014395         WEITZ & LUXENBERG, PC
CERULLI              FRANK                 NY         19027911         WEITZ & LUXENBERG, PC                                CHANDLER             JEANETTE              NY         98117775         WEITZ & LUXENBERG, PC
CERUTTI              ADRIANO               NY         1900092016       WEITZ & LUXENBERG, PC                                CHANDLER             LAMAR                 NY         12668102         WEITZ & LUXENBERG, PC
CERUTTI              ANITA                 NY         1900092016       WEITZ & LUXENBERG, PC                                CHANDLER             LAVERNE E             NY         10722202         WEITZ & LUXENBERG, PC
CERVELLERA           ALICE                 NY         10740102         WEITZ & LUXENBERG, PC                                CHANDLER             LISA                  NY         19036011         WEITZ & LUXENBERG, PC
CERVELLERA           FRANCIS J             NY         10740102         WEITZ & LUXENBERG, PC                                CHANDLER             PAUL M                NY         98117775         WEITZ & LUXENBERG, PC
CERVENY              DENISE                NY         12788602         WEITZ & LUXENBERG, PC                                CHANDLER             WALTER D              NY         10543908         WEITZ & LUXENBERG, PC
CERVENY              DENISE                NY         10248103         WEITZ & LUXENBERG, PC                                CHANDLER             WANDA                 NY         10543908         WEITZ & LUXENBERG, PC
CERVENY              DOROTHY               NY         12788602         WEITZ & LUXENBERG, PC                                CHANTILOPE           DARETT                NY         1900832015       WEITZ & LUXENBERG, PC
CERVENY              DOROTHY               NY         10248103         WEITZ & LUXENBERG, PC                                CHANTILOPE           MARGARITO             NY         1900832015       WEITZ & LUXENBERG, PC
CERVENY              KENNETH               NY         12788602         WEITZ & LUXENBERG, PC                                CHAPIN               FRANK J               NY         10740402         WEITZ & LUXENBERG, PC
CERVENY              KENNETH               NY         10248103         WEITZ & LUXENBERG, PC                                CHAPIN               FRANK J               NY         11431702         WEITZ & LUXENBERG, PC
CERVOLA              JOSEPHINE             NY         10023203         WEITZ & LUXENBERG, PC                                CHAPIN               GRACE E               NY         10740002         WEITZ & LUXENBERG, PC
CERVOLA              JOSEPHINE             NY         10576003         WEITZ & LUXENBERG, PC                                CHAPIN               GRACE E               NY         11407702         WEITZ & LUXENBERG, PC
CERVOLA              SAMUEL                NY         10023203         WEITZ & LUXENBERG, PC                                CHAPLICK             GERTRUDE              NY         11347703         WEITZ & LUXENBERG, PC
CERVOLA              SAMUEL                NY         10576003         WEITZ & LUXENBERG, PC                                CHAPLICK             MURRAY                NY         11347703         WEITZ & LUXENBERG, PC
CERVONE              GLORIA                NY         11123101         WEITZ & LUXENBERG, PC                                CHAPMAN              BARBARA               NY         10511800         WEITZ & LUXENBERG, PC
CERVONE              GLORIA                NY         12046501         WEITZ & LUXENBERG, PC                                CHAPMAN              CHARLES E             NY         10511800         WEITZ & LUXENBERG, PC
CERVONE              JOSEPH                NY         11123101         WEITZ & LUXENBERG, PC                                CHAPMAN              CRAIG C               NY         02106579         WEITZ & LUXENBERG, PC
CERVONE              JOSEPH                NY         12046501         WEITZ & LUXENBERG, PC                                CHAPMAN              DONALD                NY         12788702         WEITZ & LUXENBERG, PC
CESARE               BARBARA               NY         CV018219         WEITZ & LUXENBERG, PC                                CHAPMAN              FAYLENE               NY         12788702         WEITZ & LUXENBERG, PC
CESARSKI             RONALD                NY         19010010         WEITZ & LUXENBERG, PC                                CHAPMAN              JACK ALLEN            NY         11036400         WEITZ & LUXENBERG, PC
CESARSKI             SIMA                  NY         19010010         WEITZ & LUXENBERG, PC                                CHAPMAN              JAMES LLOYD           NY         11388599         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 888
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 223 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CHAPMAN              JAY K                 NY         11327702         WEITZ & LUXENBERG, PC                                CHERUBINI            FRANK                 NY         10008203         WEITZ & LUXENBERG, PC
CHAPMAN              MARILYN               NY         11388599         WEITZ & LUXENBERG, PC                                CHESLOCK             JOHN C                NY         01111229         WEITZ & LUXENBERG, PC
CHAPMAN              VIRGINA L             NY         11327702         WEITZ & LUXENBERG, PC                                CHEVALIER            DANIEL J              DE         N19C04237ASB     WEITZ & LUXENBERG, PC
CHARCZUK             HENRY E               NY         10430100         WEITZ & LUXENBERG, PC                                CHEVALIER            KATHRYN               DE         N19C04237ASB     WEITZ & LUXENBERG, PC
CHARCZUK             MATILDA               NY         10430100         WEITZ & LUXENBERG, PC                                CHEVALIER            WAYNE R               NY         10700102         WEITZ & LUXENBERG, PC
CHARLAND             CANDACE A             NY         10696502         WEITZ & LUXENBERG, PC                                CHEYNE               TRACEY                NY         10598900         WEITZ & LUXENBERG, PC
CHARLAND             CARLTON JAMES         NY         10696502         WEITZ & LUXENBERG, PC                                CHIACHIARETTA        FRANCES               NY         10427300         WEITZ & LUXENBERG, PC
CHARLAND             KRISTOPHER R          NY         1901712015       WEITZ & LUXENBERG, PC                                CHIACHIARETTA        JOSEPH J              NY         10427300         WEITZ & LUXENBERG, PC
CHARLAND             ROBIN L               NY         10645702         WEITZ & LUXENBERG, PC                                CHIAFFI              HARRIET               NY         99113975         WEITZ & LUXENBERG, PC
CHARLEBOIS           BERTHA                NY         10633899         WEITZ & LUXENBERG, PC                                CHIAFFI              JOHN J                NY         99113975         WEITZ & LUXENBERG, PC
CHARLEBOIS           EDWARD E              NY         10633899         WEITZ & LUXENBERG, PC                                CHIANESE             JOHN                  NY         1901762016       WEITZ & LUXENBERG, PC
CHARLEBOIS           JACQUES E             NY         11026802         WEITZ & LUXENBERG, PC                                CHIANESE             ROSE MARIE            NY         1901762016       WEITZ & LUXENBERG, PC
CHARLEBOIS           LOIS M                NY         10645702         WEITZ & LUXENBERG, PC                                CHIANG               DEAN                  NY         12693502         WEITZ & LUXENBERG, PC
CHARLEBOIS           RICHARD E             NY         10645702         WEITZ & LUXENBERG, PC                                CHIANG               MEI-JEN               NY         12693502         WEITZ & LUXENBERG, PC
CHARLEBOIS           ROBERT W              NY         10716802         WEITZ & LUXENBERG, PC                                CHIARAMONTE          ELENA                 NY         10834903         WEITZ & LUXENBERG, PC
CHARLEBOIS           TERRY L               NY         10716802         WEITZ & LUXENBERG, PC                                CHIARAMONTE          FRANK                 NY         10834903         WEITZ & LUXENBERG, PC
CHARLES              ANNETTE               NY         19004810         WEITZ & LUXENBERG, PC                                CHIARAMONTE          GENEVIEVE             NY         12039401         WEITZ & LUXENBERG, PC
CHARLES              MERVYN A              NY         98117776         WEITZ & LUXENBERG, PC                                CHIARAMONTE          GENEVIEVE             NY         10576902         WEITZ & LUXENBERG, PC
CHARLES              NORMAN                NY         19004810         WEITZ & LUXENBERG, PC                                CHIARAMONTE          GEORGE                NY         12039401         WEITZ & LUXENBERG, PC
CHARLESTON           JANE T                NY         10587402         WEITZ & LUXENBERG, PC                                CHIARAMONTE          GEORGE                NY         10576902         WEITZ & LUXENBERG, PC
CHARLESTON           JANE T                NY         02106694         WEITZ & LUXENBERG, PC                                CHIARELLI            CALOGERO              NY         10023403         WEITZ & LUXENBERG, PC
CHARLESTON           RODERICK D            NY         10587402         WEITZ & LUXENBERG, PC                                CHIARULLI            ANTHONY               NY         10513900         WEITZ & LUXENBERG, PC
CHARLESTON           RODERICK DELANO       NY         02106694         WEITZ & LUXENBERG, PC                                CHIARULLI            MARY ANN              NY         10513900         WEITZ & LUXENBERG, PC
CHARLESTON           RUTH                  NY         1902792014       WEITZ & LUXENBERG, PC                                CHIAVACCI            ANSO                  NY         10710102         WEITZ & LUXENBERG, PC
CHARLESTON           WILLIAM E             NY         1902792014       WEITZ & LUXENBERG, PC                                CHIAVACCI            ANSO                  NY         11967302         WEITZ & LUXENBERG, PC
CHARLTON             DOUGLAS E             NY         02106580         WEITZ & LUXENBERG, PC                                CHIAVACCI            NOLA                  NY         10710102         WEITZ & LUXENBERG, PC
CHARLTON             LEONORA               NY         02106580         WEITZ & LUXENBERG, PC                                CHIAVACCI            NOLA                  NY         11967302         WEITZ & LUXENBERG, PC
CHARNOCK             HARRY T               NY         10587602         WEITZ & LUXENBERG, PC                                CHIAVELLI            SADIE ANNE            NY         10513800         WEITZ & LUXENBERG, PC
CHASE                DOLLIE                NY         12668102         WEITZ & LUXENBERG, PC                                CHIAVELLI            WILLIAM               NY         10513800         WEITZ & LUXENBERG, PC
CHASE                EDWARD THOMAS         NY         99111887         WEITZ & LUXENBERG, PC                                CHICHESTER           LAWRENCE              NY         99113978         WEITZ & LUXENBERG, PC
CHASE                GERALD E              NY         10511700         WEITZ & LUXENBERG, PC                                CHICHESTER           SALLY                 NY         99113978         WEITZ & LUXENBERG, PC
CHASE                JAMES                 NY         12668102         WEITZ & LUXENBERG, PC                                CHIDSEY              JOHN J                NY         10357702         WEITZ & LUXENBERG, PC
CHASE                JAMES R               NY         10634399         WEITZ & LUXENBERG, PC                                CHIDSEY              RUTH J                NY         10357702         WEITZ & LUXENBERG, PC
CHASE                LINDA                 NY         10634399         WEITZ & LUXENBERG, PC                                CHIESA               ANNA                  NY         11397799         WEITZ & LUXENBERG, PC
CHASE                LINDA C               NY         CV20070124949    WEITZ & LUXENBERG, PC                                CHIESA               RAYMOND               NY         11397799         WEITZ & LUXENBERG, PC
CHASE                MARILYN               NY         10511700         WEITZ & LUXENBERG, PC                                CHILDERS             BRANDON               NY         00CIV3589        WEITZ & LUXENBERG, PC
CHASE                NAOMI M               NY         99111887         WEITZ & LUXENBERG, PC                                CHILDS               GERALD E              NY         10696502         WEITZ & LUXENBERG, PC
CHASE                ROBERT L              NY         CV20070124949    WEITZ & LUXENBERG, PC                                CHILDS               GORDON E              NY         10669102         WEITZ & LUXENBERG, PC
CHATLAND             SAMUEL J              NY         02106694         WEITZ & LUXENBERG, PC                                CHILDS               PATRICIA              NY         10589901         WEITZ & LUXENBERG, PC
CHATZIANTONIAN       CHRIS                 NY         01111229         WEITZ & LUXENBERG, PC                                CHILDS               SUSAN L               NY         10669102         WEITZ & LUXENBERG, PC
CHAUSSE              JOSEPH D              NY         02107006         WEITZ & LUXENBERG, PC                                CHILDS               WILLIAM               NY         10589901         WEITZ & LUXENBERG, PC
CHAVIE               RAYMOND J             NY         19019309         WEITZ & LUXENBERG, PC                                CHILES               MARY E                NY         10699902         WEITZ & LUXENBERG, PC
CHEATHEM             BEATRICE              NY         11036300         WEITZ & LUXENBERG, PC                                CHILES               MARY E                NY         11131502         WEITZ & LUXENBERG, PC
CHEATHEM             GEORGE T              NY         11036300         WEITZ & LUXENBERG, PC                                CHILLEMI             CHARLES J             NY         98118155         WEITZ & LUXENBERG, PC
CHECCO               MARIE                 NY         10514000         WEITZ & LUXENBERG, PC                                CHILLEMI             DOLORES               NY         98118155         WEITZ & LUXENBERG, PC
CHECCO               ROBERT V              NY         10514000         WEITZ & LUXENBERG, PC                                CHIMENTO             FRANK                 NY         10630299         WEITZ & LUXENBERG, PC
CHECK                MARIAN                NY         11035107         WEITZ & LUXENBERG, PC                                CHIMENTO             SHARON                NY         10630299         WEITZ & LUXENBERG, PC
CHECK                STEPHEN P             NY         11035107         WEITZ & LUXENBERG, PC                                CHIMERA              RICHARD A             NY         10670802         WEITZ & LUXENBERG, PC
CHEEK                DONNIE ROY            NY         01CIV4688        WEITZ & LUXENBERG, PC                                CHIMERA              SHIRLEY G             NY         10670802         WEITZ & LUXENBERG, PC
CHEEK                PAULA                 NY         01CIV4688        WEITZ & LUXENBERG, PC                                CHIMERI              FRANK A               NY         10023403         WEITZ & LUXENBERG, PC
CHEETHAM             TERRANCE R            NY         10722002         WEITZ & LUXENBERG, PC                                CHINAL               KAREN                 NY         10023203         WEITZ & LUXENBERG, PC
CHEETHAM             TERRANCE R            NY         11346202         WEITZ & LUXENBERG, PC                                CHINAL               LOUIS                 NY         10023203         WEITZ & LUXENBERG, PC
CHEFF                JEAN                  NY         11036200         WEITZ & LUXENBERG, PC                                CHING                EDWARD                NY         10870801         WEITZ & LUXENBERG, PC
CHEFF                JEAN M                NY         11036200         WEITZ & LUXENBERG, PC                                CHING                PUIG YIN              NY         10870801         WEITZ & LUXENBERG, PC
CHEFF                JOHN T                NY         11036200         WEITZ & LUXENBERG, PC                                CHINISKI             JOHN W                NY         02107004         WEITZ & LUXENBERG, PC
CHELSTOWSKI          BENJAMIN              NY         98118401         WEITZ & LUXENBERG, PC                                CHINLOY              HYACINTH I            NY         98118157         WEITZ & LUXENBERG, PC
CHELSTOWSKI          BETTY                 NY         98118401         WEITZ & LUXENBERG, PC                                CHINLOY              PATRICK               NY         98118157         WEITZ & LUXENBERG, PC
CHENEY               CYNTHIA               NY         1904732012       WEITZ & LUXENBERG, PC                                CHIODO               ANTONETTE             NY         11398099         WEITZ & LUXENBERG, PC
CHENEY               GLENN                 NY         10722202         WEITZ & LUXENBERG, PC                                CHIODO               CLARA                 NY         12693702         WEITZ & LUXENBERG, PC
CHENEY               JACK                  NY         10427500         WEITZ & LUXENBERG, PC                                CHIODO               DEBORAH H             NY         10670802         WEITZ & LUXENBERG, PC
CHENEY               MARY LOU              NY         10722202         WEITZ & LUXENBERG, PC                                CHIODO               GLORIA M              NY         11398099         WEITZ & LUXENBERG, PC
CHENEY               PHILLIP D             NY         1904732012       WEITZ & LUXENBERG, PC                                CHIODO               JOHN                  NY         11398099         WEITZ & LUXENBERG, PC
CHENEY               RICHARD E             NY         10427500         WEITZ & LUXENBERG, PC                                CHIODO               JOSEPH R              NY         12693702         WEITZ & LUXENBERG, PC
CHENIER              DIANE                 NY         10680802         WEITZ & LUXENBERG, PC                                CHIODO               PAUL                  NY         10670802         WEITZ & LUXENBERG, PC
CHENIER              RODGER                NY         10680802         WEITZ & LUXENBERG, PC                                CHIOLA               HELEN                 NY         11873600         WEITZ & LUXENBERG, PC
CHERNIKOWSKI         JOSEPH                NY         12238597         WEITZ & LUXENBERG, PC                                CHIOLA               JOHN L                NY         11873600         WEITZ & LUXENBERG, PC
CHERNIKOWSKI         TOVA                  NY         12238597         WEITZ & LUXENBERG, PC                                CHIOVARO             ANTHONY               NY         10589801         WEITZ & LUXENBERG, PC
CHERNY               ANDREW                NY         10590001         WEITZ & LUXENBERG, PC                                CHIOVARO             GERARD                NY         10589801         WEITZ & LUXENBERG, PC
CHERRY               AGNES                 NY         00CIV1202        WEITZ & LUXENBERG, PC                                CHIOVARO             VIRGINIA              NY         10589801         WEITZ & LUXENBERG, PC
CHERRY               FRANK C               NY         00CIV1202        WEITZ & LUXENBERG, PC                                CHIPMAN              BEATRICE              NY         10630399         WEITZ & LUXENBERG, PC
CHERUBINI            DONALD                NY         10008203         WEITZ & LUXENBERG, PC                                CHIPMAN              JOHN C                NY         10630399         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 889
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 224 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CHIRCOP              FRANK                 NY         10722407         WEITZ & LUXENBERG, PC                                CHRZANOWSKI          ALICE                 NY         11717700         WEITZ & LUXENBERG, PC
CHIRCOP              GINA                  NY         10722407         WEITZ & LUXENBERG, PC                                CHRZANOWSKI          JAMES P               NY         11327702         WEITZ & LUXENBERG, PC
CHIRICO              DOLORES               NY         11626801         WEITZ & LUXENBERG, PC                                CHRZANOWSKI          SUSAN                 NY         11327702         WEITZ & LUXENBERG, PC
CHIRICO              DOLORES               NY         01111221         WEITZ & LUXENBERG, PC                                CHRZANWOSKI          ANNA                  NY         11397099         WEITZ & LUXENBERG, PC
CHIRICO              ERNEST                NY         11626801         WEITZ & LUXENBERG, PC                                CHRZANWOSKI          RONALD A              NY         11397099         WEITZ & LUXENBERG, PC
CHIRICO              ERNEST                NY         01111221         WEITZ & LUXENBERG, PC                                CHUDZIK              JEAN                  NY         10102105         WEITZ & LUXENBERG, PC
CHIRIELEISON         ANTHONY               NY         12312701         WEITZ & LUXENBERG, PC                                CHUDZIK              RICHARD G             NY         10102105         WEITZ & LUXENBERG, PC
CHIRIELEISON         BERNICE               NY         12312701         WEITZ & LUXENBERG, PC                                CHUM                 JOHN                  NY         10590501         WEITZ & LUXENBERG, PC
CHLUDZINSKI          GAIL A                NY         10716902         WEITZ & LUXENBERG, PC                                CHUNN                DIANA                 NY         01CIV3922        WEITZ & LUXENBERG, PC
CHLUDZINSKI          JOSEPH E              NY         10716902         WEITZ & LUXENBERG, PC                                CHUNN                ROBERT MONROE         NY         01CIV3922        WEITZ & LUXENBERG, PC
CHMIELOWIEC          ROBERT G              NY         98118158         WEITZ & LUXENBERG, PC                                CHURA                ANN                   NY         110151           WEITZ & LUXENBERG, PC
CHMIELOWIEC          STANLEY E             NY         98118158         WEITZ & LUXENBERG, PC                                CHURA                ANN                   NY         12448902         WEITZ & LUXENBERG, PC
CHMIELOWIEC          VIRGINIA L            NY         98118158         WEITZ & LUXENBERG, PC                                CHURA                ANTHONY C             NY         11398199         WEITZ & LUXENBERG, PC
CHMURA               EVELYN                NY         10624099         WEITZ & LUXENBERG, PC                                CHURA                HAROLD                NY         110151           WEITZ & LUXENBERG, PC
CHMURA               PETER W               NY         10624099         WEITZ & LUXENBERG, PC                                CHURA                HAROLD                NY         12448902         WEITZ & LUXENBERG, PC
CHMURA               PETER W               NY         10589701         WEITZ & LUXENBERG, PC                                CHURA                THERESA               NY         11398199         WEITZ & LUXENBERG, PC
CHOATES              EFFIE                 NY         11612506         WEITZ & LUXENBERG, PC                                CHURCH               BARBARA               NY         1900642013       WEITZ & LUXENBERG, PC
CHOATES              TED M                 NY         11612506         WEITZ & LUXENBERG, PC                                CHURCH               CHARLES F             NY         01CIV7363        WEITZ & LUXENBERG, PC
CHOINSKI             JANICE                NY         10513700         WEITZ & LUXENBERG, PC                                CHURCH               EDWARD G              NY         10740402         WEITZ & LUXENBERG, PC
CHOINSKI             JOHN                  NY         10513700         WEITZ & LUXENBERG, PC                                CHURCH               ERIC                  NY         1900642013       WEITZ & LUXENBERG, PC
CHOJECKI             EDWIN                 NY         11125504         WEITZ & LUXENBERG, PC                                CHURCH               MARILYN               NY         01CIV7363        WEITZ & LUXENBERG, PC
CHOJECKI             ESTELLE               NY         11125504         WEITZ & LUXENBERG, PC                                CHURNETSKI           BERNARD J             NY         02106694         WEITZ & LUXENBERG, PC
CHOJECKI             NORMAN A              NY         10587202         WEITZ & LUXENBERG, PC                                CHWASTYK             JOSEPH JOHN           PA         160503796        WEITZ & LUXENBERG, PC
CHOMKO               GREGORY J             DE         N17C11236ASB     WEITZ & LUXENBERG, PC                                CIACH                CARMELA               NY         10590401         WEITZ & LUXENBERG, PC
CHOMKO               SHAYNA J              DE         N17C11236ASB     WEITZ & LUXENBERG, PC                                CIACH                GUIDO                 NY         10590401         WEITZ & LUXENBERG, PC
CHONTOSH             JOSEPH R              NY         02105716         WEITZ & LUXENBERG, PC                                CIALLELA             JAMES E               NY         19008908         WEITZ & LUXENBERG, PC
CHONTOSH             JULIE A               NY         02105716         WEITZ & LUXENBERG, PC                                CIALONE              BARBARA               NY         11043401         WEITZ & LUXENBERG, PC
CHORAZAK             JEAN M                NY         10589601         WEITZ & LUXENBERG, PC                                CIALONE              JOHN C                NY         11043401         WEITZ & LUXENBERG, PC
CHORAZAK             THEODORE C            NY         10589601         WEITZ & LUXENBERG, PC                                CIAMPI               FREDERICK A           NY         10935702         WEITZ & LUXENBERG, PC
CHOWANIEC            EDNA                  NY         12234399         WEITZ & LUXENBERG, PC                                CIAMPI               FREDERICK A JR        NY         10935702         WEITZ & LUXENBERG, PC
CHOWANIEC            ROBERT                NY         12234399         WEITZ & LUXENBERG, PC                                CIAMPI               MARY                  NY         10935702         WEITZ & LUXENBERG, PC
CHOWANIEC            STANISLAW             NY         12234399         WEITZ & LUXENBERG, PC                                CIAMPINO             ANTHONY               NY         10590301         WEITZ & LUXENBERG, PC
CHRISMAN             ANNA JANE             NY         10716902         WEITZ & LUXENBERG, PC                                CIAMPINO             ROSE                  NY         10590301         WEITZ & LUXENBERG, PC
CHRISMAN             ANNA JANE             NY         11216902         WEITZ & LUXENBERG, PC                                CIANCONE             DELIA                 NY         10513300         WEITZ & LUXENBERG, PC
CHRISMAN             PAUL F                NY         10716902         WEITZ & LUXENBERG, PC                                CIANCONE             VITTORIO              NY         10513300         WEITZ & LUXENBERG, PC
CHRISMAN             PAUL F                NY         11216902         WEITZ & LUXENBERG, PC                                CIANO                LENA C                NY         1901292016       WEITZ & LUXENBERG, PC
CHRISTENSEN          ANTON G               NY         11718800         WEITZ & LUXENBERG, PC                                CIARAMELLO           RICHARD T             NY         11397299         WEITZ & LUXENBERG, PC
CHRISTENSEN          EARL                  NY         98118159         WEITZ & LUXENBERG, PC                                CIARAMELLO           SHARON                NY         11397299         WEITZ & LUXENBERG, PC
CHRISTENSEN          EUGENE R              NY         10513600         WEITZ & LUXENBERG, PC                                CIARAPICHI           DANIEL                NY         01122139         WEITZ & LUXENBERG, PC
CHRISTENSEN          GEORGE A              NY         10513500         WEITZ & LUXENBERG, PC                                CIBELLA              ANTHONY               NY         10513200         WEITZ & LUXENBERG, PC
CHRISTENSEN          GLORIA                NY         10513600         WEITZ & LUXENBERG, PC                                CIBELLA              ROSALIA               NY         10513200         WEITZ & LUXENBERG, PC
CHRISTENSEN          MARIA                 NY         10513500         WEITZ & LUXENBERG, PC                                CICCARELLI           ALBERT J              NY         10716702         WEITZ & LUXENBERG, PC
CHRISTENSEN          TERESSA ANN           NY         11718800         WEITZ & LUXENBERG, PC                                CICCARELLI           ANTIONETTE            NY         12306001         WEITZ & LUXENBERG, PC
CHRISTENSEN          VERONICA              NY         98118159         WEITZ & LUXENBERG, PC                                CICCARELLI           ANTIONETTE            NY         01111230         WEITZ & LUXENBERG, PC
CHRISTIAN            ALBERT J              NY         01111221         WEITZ & LUXENBERG, PC                                CICCARELLI           ANTOINETTA            NY         12306001         WEITZ & LUXENBERG, PC
CHRISTIAN            ELSIE                 NY         01111221         WEITZ & LUXENBERG, PC                                CICCARELLI           ANTOINETTA            NY         01111230         WEITZ & LUXENBERG, PC
CHRISTIAN            MARLOW F              NY         19007312         WEITZ & LUXENBERG, PC                                CICCARELLI           ELISA                 NY         10587502         WEITZ & LUXENBERG, PC
CHRISTIANO           ARLENE                NY         10513400         WEITZ & LUXENBERG, PC                                CICCARELLI           NICK                  NY         10587502         WEITZ & LUXENBERG, PC
CHRISTIANO           JOHN J                NY         10513400         WEITZ & LUXENBERG, PC                                CICCARELLI           PASQUALE              NY         12306001         WEITZ & LUXENBERG, PC
CHRISTIE             HARRY K               NY         02107004         WEITZ & LUXENBERG, PC                                CICCARELLI           PASQUALE              NY         01111230         WEITZ & LUXENBERG, PC
CHRISTIE             LINDA                 NY         110561           WEITZ & LUXENBERG, PC                                CICCARELLI           STELLA A              NY         10716702         WEITZ & LUXENBERG, PC
CHRISTIE             LYNN                  NY         02107004         WEITZ & LUXENBERG, PC                                CICHETTI             ARTHUR R              NY         11404107         WEITZ & LUXENBERG, PC
CHRISTIE             ROBERT                NY         110561           WEITZ & LUXENBERG, PC                                CICHETTI             NICHOLAS              NY         11404107         WEITZ & LUXENBERG, PC
CHRISTMAS            THOMAS G              NY         12668202         WEITZ & LUXENBERG, PC                                CICIRELLO            JUDY                  NY         11717800         WEITZ & LUXENBERG, PC
CHRISTMAS            VICKY                 NY         12668202         WEITZ & LUXENBERG, PC                                CICIRELLO            LEWIS C               NY         11717800         WEITZ & LUXENBERG, PC
CHRISTO              CHERYL                NY         10414701         WEITZ & LUXENBERG, PC                                CIECKO               RICHARD J             NY         10587602         WEITZ & LUXENBERG, PC
CHRISTO              PETER                 NY         10414701         WEITZ & LUXENBERG, PC                                CIEPLY               EDWIN A               NY         10623999         WEITZ & LUXENBERG, PC
CHRISTO              RUTH                  NY         10414701         WEITZ & LUXENBERG, PC                                CIERO                DANIEL                NY         19038211         WEITZ & LUXENBERG, PC
CHRISTODARO          SAMUEL R              NY         11456302         WEITZ & LUXENBERG, PC                                CIERO                REBECCA               NY         19038211         WEITZ & LUXENBERG, PC
CHRISTOFFERSON       RICHARD               NY         12306601         WEITZ & LUXENBERG, PC                                CIESIELSKI           ANTHONY B             NY         11070801         WEITZ & LUXENBERG, PC
CHRISTOFFERSON       RICHARD               NY         01111230         WEITZ & LUXENBERG, PC                                CIESIELSKI           JOYCE                 NY         10590201         WEITZ & LUXENBERG, PC
CHRISTOPHER          DOREEN                NY         10590601         WEITZ & LUXENBERG, PC                                CIESIELSKI           ROBERT J              NY         10590201         WEITZ & LUXENBERG, PC
CHRISTOPHER          JOHN                  NY         10590601         WEITZ & LUXENBERG, PC                                CIESLA               LEONARD S JR          NY         10513100         WEITZ & LUXENBERG, PC
CHRISTY              CATHERINE             NY         1901162015       WEITZ & LUXENBERG, PC                                CIESLA               ROSEMARIE             NY         10513100         WEITZ & LUXENBERG, PC
CHRISTY              FREDERICK             NY         1901162015       WEITZ & LUXENBERG, PC                                CIESLAK              JOHN WILLIAM          NY         12048197         WEITZ & LUXENBERG, PC
CHRYSLER             MARGARET              NY         99113958         WEITZ & LUXENBERG, PC                                CIESLAK              JOHN WILLIAM          NY         11569600         WEITZ & LUXENBERG, PC
CHRYSLER             ROBERT E              NY         99113958         WEITZ & LUXENBERG, PC                                CIFFA                CONNIE                NY         11026802         WEITZ & LUXENBERG, PC
CHRYSLER             ROGER M               NY         02121082         WEITZ & LUXENBERG, PC                                CIFFA                JOSEPH P              NY         11026802         WEITZ & LUXENBERG, PC
CHRYSTAL             TAFT                  NY         10722102         WEITZ & LUXENBERG, PC                                CIFUENTAS            MARTA                 NY         6055172016       WEITZ & LUXENBERG, PC
CHRYSTAL             TAFT                  NY         11310402         WEITZ & LUXENBERG, PC                                CIFUENTES            CARLOS                NY         6055172016       WEITZ & LUXENBERG, PC
CHRZANOWSKI          ALFRED                NY         11717700         WEITZ & LUXENBERG, PC                                CIKO                 AGNES                 NY         11717900         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 890
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 225 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CIKO                 ANTHONY               NY         11717900         WEITZ & LUXENBERG, PC                                CISCO                ROBERT L              NY         6155152017       WEITZ & LUXENBERG, PC
CILENTO              RALPH J               NY         10513000         WEITZ & LUXENBERG, PC                                CITO                 ANTHONY               NY         12039301         WEITZ & LUXENBERG, PC
CILESKI              SHIRLEY V             NY         11422507         WEITZ & LUXENBERG, PC                                CITO                 ANTHONY               NY         10364902         WEITZ & LUXENBERG, PC
CILESKI              WILLIAM E             NY         11422507         WEITZ & LUXENBERG, PC                                CITO                 ROSE                  NY         12039301         WEITZ & LUXENBERG, PC
CILLEY               ARMIN B               NY         11521603         WEITZ & LUXENBERG, PC                                CITO                 ROSE                  NY         10364902         WEITZ & LUXENBERG, PC
CILLEY               BARBARA               NY         11521603         WEITZ & LUXENBERG, PC                                CITOWITZ             RICHARD G             NY         10512700         WEITZ & LUXENBERG, PC
CIMATO               CONCETTO              NY         02106707         WEITZ & LUXENBERG, PC                                CITRO                ELIZABETH             NY         12039701         WEITZ & LUXENBERG, PC
CIMBORA              ROGER M               NY         11397199         WEITZ & LUXENBERG, PC                                CITRO                LOUIS VITO            NY         12039701         WEITZ & LUXENBERG, PC
CIMINERA             ANTONIO               NY         1905242012       WEITZ & LUXENBERG, PC                                CITRON               DANIEL J              NY         11120299         WEITZ & LUXENBERG, PC
CIMINERA             DORA                  NY         1905242012       WEITZ & LUXENBERG, PC                                CIULLA               FRANCES               NY         01111224         WEITZ & LUXENBERG, PC
CIMINI               SERAFINO              NY         10066205         WEITZ & LUXENBERG, PC                                CIULLA               JOHN H                NY         11395599         WEITZ & LUXENBERG, PC
CIMINI               VIOLA                 NY         10066205         WEITZ & LUXENBERG, PC                                CIULLA               LUIGI                 NY         01111224         WEITZ & LUXENBERG, PC
CIMINO               ANTHONY M             NY         10740502         WEITZ & LUXENBERG, PC                                CIULLA               SYLVIA                NY         11395599         WEITZ & LUXENBERG, PC
CIMINO               ANTHONY M             NY         11417702         WEITZ & LUXENBERG, PC                                CIVELLO              CAROL                 NY         10560600         WEITZ & LUXENBERG, PC
CIMINO               JOSEPH                NY         10427200         WEITZ & LUXENBERG, PC                                CIZON                BARBARA               NY         12154001         WEITZ & LUXENBERG, PC
CIMINO               MARIE                 NY         10740502         WEITZ & LUXENBERG, PC                                CIZON                BARBARA               NY         01111228         WEITZ & LUXENBERG, PC
CIMINO               MARIE                 NY         11417702         WEITZ & LUXENBERG, PC                                CIZON                STANLEY               NY         12154001         WEITZ & LUXENBERG, PC
CIMINO               NICHOLAS              NY         10740502         WEITZ & LUXENBERG, PC                                CIZON                STANLEY               NY         01111228         WEITZ & LUXENBERG, PC
CIMINO               NICHOLAS              NY         11417702         WEITZ & LUXENBERG, PC                                CLABEAUX             RONALD G              NY         10587202         WEITZ & LUXENBERG, PC
CIMINO               SERPHINA              NY         10427200         WEITZ & LUXENBERG, PC                                CLABEAUX             RONALD G              NY         10819502         WEITZ & LUXENBERG, PC
CIMMINO              EMANUELA              NY         10591101         WEITZ & LUXENBERG, PC                                CLACK                LAWANA                NY         CV020154         WEITZ & LUXENBERG, PC
CIMMINO              FRANK                 NY         10591101         WEITZ & LUXENBERG, PC                                CLACK                STEVEN CURTIS         NY         CV020154         WEITZ & LUXENBERG, PC
CIMO                 ANNIE P               NY         10587402         WEITZ & LUXENBERG, PC                                CLAFFEY              ROBERT JAMES          NY         02106692         WEITZ & LUXENBERG, PC
CIMO                 JOSEPH A              NY         10587402         WEITZ & LUXENBERG, PC                                CLAFFEY              SARAH S               NY         02106692         WEITZ & LUXENBERG, PC
CINCOTTA             ANTHONY J             NY         01118263         WEITZ & LUXENBERG, PC                                CLAIR                ARLENE                NY         10219105         WEITZ & LUXENBERG, PC
CINCOTTA             MAE                   NY         01118263         WEITZ & LUXENBERG, PC                                CLAIR                KENNETH F             NY         10219105         WEITZ & LUXENBERG, PC
CINELLI              JAMES                 NY         01111219         WEITZ & LUXENBERG, PC                                CLAMPETT             SEAN J                NY         12043201         WEITZ & LUXENBERG, PC
CINFO                BETH                  NY         1902332019       WEITZ & LUXENBERG, PC                                CLANTON              REBECCA               NY         01CIV3922        WEITZ & LUXENBERG, PC
CINFO                PASQUALE              NY         1902332019       WEITZ & LUXENBERG, PC                                CLANTON              TIMOTHY D             NY         01CIV3922        WEITZ & LUXENBERG, PC
CINGOLANI            GENE                  NY         CV021632         WEITZ & LUXENBERG, PC                                CLAPP                CLEMONT F             NY         11036000         WEITZ & LUXENBERG, PC
CINNAMO              CARMINE               NY         11123101         WEITZ & LUXENBERG, PC                                CLAPP                JORETTA               NY         11036000         WEITZ & LUXENBERG, PC
CINNAMO              MARIANN               NY         11123101         WEITZ & LUXENBERG, PC                                CLARDY               PATRICIA              NY         CV016070         WEITZ & LUXENBERG, PC
CINO                 CHARLES J             NY         01109203         WEITZ & LUXENBERG, PC                                CLARDY               RONALD W              NY         CV016070         WEITZ & LUXENBERG, PC
CINQUE               BARBARA               NY         11397399         WEITZ & LUXENBERG, PC                                CLARK                ALLEN E               NY         CV016700         WEITZ & LUXENBERG, PC
CINQUE               RICHARD J             NY         11397399         WEITZ & LUXENBERG, PC                                CLARK                ANNA BELLE            NY         10632299         WEITZ & LUXENBERG, PC
CINTRON              ALBERTANIO            NY         10512900         WEITZ & LUXENBERG, PC                                CLARK                BARBARA               NY         10632399         WEITZ & LUXENBERG, PC
CINTRON              EMERITA               NY         10512900         WEITZ & LUXENBERG, PC                                CLARK                BOYD E                NY         10860202         WEITZ & LUXENBERG, PC
CIOFFI               CARLOS                NY         10512800         WEITZ & LUXENBERG, PC                                CLARK                BRIAN J               NY         11431502         WEITZ & LUXENBERG, PC
CIOFFI               CAROL                 NY         10740102         WEITZ & LUXENBERG, PC                                CLARK                CALEB                 DE         N18C03053ASB     WEITZ & LUXENBERG, PC
CIOFFI               CHRISTOPHER J         NY         11395799         WEITZ & LUXENBERG, PC                                CLARK                CAROLYN               NY         10632499         WEITZ & LUXENBERG, PC
CIOFFI               JOHN J                NY         10740102         WEITZ & LUXENBERG, PC                                CLARK                CASEY                 DE         N18C03053ASB     WEITZ & LUXENBERG, PC
CIOFFI               RITA                  NY         10512800         WEITZ & LUXENBERG, PC                                CLARK                CECIL R               NY         11718200         WEITZ & LUXENBERG, PC
CIOFFI               SARAH                 NY         11395799         WEITZ & LUXENBERG, PC                                CLARK                CHRISTINE             NY         10860202         WEITZ & LUXENBERG, PC
CIPOLETTI            CAROLYN               NY         10023403         WEITZ & LUXENBERG, PC                                CLARK                DENNIS L              NY         10512400         WEITZ & LUXENBERG, PC
CIPOLETTI            GEORGE                NY         20012272         WEITZ & LUXENBERG, PC                                CLARK                DON                   NY         10072203         WEITZ & LUXENBERG, PC
CIPOLETTI            GEORGE                NY         02120615         WEITZ & LUXENBERG, PC                                CLARK                DON R                 NY         01CIV4688        WEITZ & LUXENBERG, PC
CIPOLETTI            ROBERT A              NY         10023403         WEITZ & LUXENBERG, PC                                CLARK                ELIZABETH             NY         10670602         WEITZ & LUXENBERG, PC
CIPOLLA              CATHERINE             NY         11718000         WEITZ & LUXENBERG, PC                                CLARK                ELIZABETH J           NY         10696302         WEITZ & LUXENBERG, PC
CIPOLLA              JOSEPH                NY         11718000         WEITZ & LUXENBERG, PC                                CLARK                ERNEST R              NY         10072203         WEITZ & LUXENBERG, PC
CIPOLLA              JOSEPH E              NY         11718000         WEITZ & LUXENBERG, PC                                CLARK                FRANKLIN ALBERT       NY         10696302         WEITZ & LUXENBERG, PC
CIPOLLA              KATHERINE             NY         11718000         WEITZ & LUXENBERG, PC                                CLARK                FREDERICK             NY         02106579         WEITZ & LUXENBERG, PC
CIPOLLONE            ELAINE                NY         11158903         WEITZ & LUXENBERG, PC                                CLARK                GAIL CHARLES          NY         10632499         WEITZ & LUXENBERG, PC
CIPOLLONE            HAROLD                NY         11158903         WEITZ & LUXENBERG, PC                                CLARK                GERALD                NY         10008703         WEITZ & LUXENBERG, PC
CIPRESSY             MARY ANNE             NY         10591001         WEITZ & LUXENBERG, PC                                CLARK                GLADYS V              NY         10710102         WEITZ & LUXENBERG, PC
CIPRESSY             ROSEMARY              NY         10591001         WEITZ & LUXENBERG, PC                                CLARK                GLORIA                NY         98118152         WEITZ & LUXENBERG, PC
CIPRESSY             VITTORIO A            NY         10591001         WEITZ & LUXENBERG, PC                                CLARK                GLORIA J              NY         10740002         WEITZ & LUXENBERG, PC
CIRIELLO             PATRICIA              NY         662172019        WEITZ & LUXENBERG, PC                                CLARK                GORDON W              NY         12185699         WEITZ & LUXENBERG, PC
CIRIELLO             THOMAS J              NY         662172019        WEITZ & LUXENBERG, PC                                CLARK                HAROLD R              NY         10722202         WEITZ & LUXENBERG, PC
CIRILLO              JANET M               NY         10632999         WEITZ & LUXENBERG, PC                                CLARK                HAROLD R              NY         11364602         WEITZ & LUXENBERG, PC
CIRILLO              MILLIE                NY         10512600         WEITZ & LUXENBERG, PC                                CLARK                JAMES A               NY         11026802         WEITZ & LUXENBERG, PC
CIRILLO              PAT V                 NY         10512600         WEITZ & LUXENBERG, PC                                CLARK                JAMES C               NY         10564600         WEITZ & LUXENBERG, PC
CIRILLO              SALVATORE             NY         10512500         WEITZ & LUXENBERG, PC                                CLARK                JAMES F               NY         11055400         WEITZ & LUXENBERG, PC
CIRINO               CASIN                 NY         12693402         WEITZ & LUXENBERG, PC                                CLARK                JANIE                 NY         02106579         WEITZ & LUXENBERG, PC
CIRINO               ROBERT                NY         12693402         WEITZ & LUXENBERG, PC                                CLARK                JOAN                  NY         10623005         WEITZ & LUXENBERG, PC
CIRON                HAI-YEN               NY         1903872013       WEITZ & LUXENBERG, PC                                CLARK                JODI                  NY         12344601         WEITZ & LUXENBERG, PC
CIRON                MICHAEL               NY         1903872013       WEITZ & LUXENBERG, PC                                CLARK                JODI                  NY         01111227         WEITZ & LUXENBERG, PC
CIRRITO              CHARLES J             NY         11395699         WEITZ & LUXENBERG, PC                                CLARK                JOHN C                NY         10670602         WEITZ & LUXENBERG, PC
CIRRITO              SHARON                NY         11395699         WEITZ & LUXENBERG, PC                                CLARK                JOHN W                NY         1900662013       WEITZ & LUXENBERG, PC
CIRULLO              ANTONIO               NY         10427000         WEITZ & LUXENBERG, PC                                CLARK                JOYCE                 NY         99113880         WEITZ & LUXENBERG, PC
CIRULLO              ASSUITA               NY         10427000         WEITZ & LUXENBERG, PC                                CLARK                JUDY                  NY         11104503         WEITZ & LUXENBERG, PC
CISCO                JENNI                 NY         6155152017       WEITZ & LUXENBERG, PC                                CLARK                JUNE A                NY         11026802         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 891
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 226 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CLARK                KATE                  NY         10835400         WEITZ & LUXENBERG, PC                                CLEMENT              JOHN H                NY         10629299         WEITZ & LUXENBERG, PC
CLARK                KENNETH A             NY         10590901         WEITZ & LUXENBERG, PC                                CLEMENTE             MARIA                 NY         99113884         WEITZ & LUXENBERG, PC
CLARK                LAWRENCE ERNEST       NY         10740002         WEITZ & LUXENBERG, PC                                CLEMENTE             MARK S                NY         02106580         WEITZ & LUXENBERG, PC
CLARK                LEROY J               NY         10632399         WEITZ & LUXENBERG, PC                                CLEMENTE             NANCY                 NY         02106580         WEITZ & LUXENBERG, PC
CLARK                LOWELL W              NY         99113880         WEITZ & LUXENBERG, PC                                CLEMENTE             VITO                  NY         99113884         WEITZ & LUXENBERG, PC
CLARK                MARY R                NY         10167602         WEITZ & LUXENBERG, PC                                CLEMENTS             JEANNE                NY         11304799         WEITZ & LUXENBERG, PC
CLARK                MATTIE A              NY         10722202         WEITZ & LUXENBERG, PC                                CLEMMONS             JOHN E                NY         00CIV1204        WEITZ & LUXENBERG, PC
CLARK                MATTIE A              NY         11364602         WEITZ & LUXENBERG, PC                                CLENDENNING          RICHARD               NY         10559500         WEITZ & LUXENBERG, PC
CLARK                MELVIN L              NY         10564600         WEITZ & LUXENBERG, PC                                CLENDENNING          THOMAS J              NY         10559500         WEITZ & LUXENBERG, PC
CLARK                MIRIAM                DE         N18C03053ASB     WEITZ & LUXENBERG, PC                                CLEVELAND            BETTY K               NY         02105715         WEITZ & LUXENBERG, PC
CLARK                NANCY                 NY         11055400         WEITZ & LUXENBERG, PC                                CLEVELAND            EVERETTE W            NY         02105715         WEITZ & LUXENBERG, PC
CLARK                NELLIE                NY         11718200         WEITZ & LUXENBERG, PC                                CLICK                NORMA S               NY         1900172018       WEITZ & LUXENBERG, PC
CLARK                PATRICIA              NY         10512400         WEITZ & LUXENBERG, PC                                CLIFFORD             GEORGE J              NY         10722002         WEITZ & LUXENBERG, PC
CLARK                PATRICIA              NY         10590901         WEITZ & LUXENBERG, PC                                CLIFFORD             GEORGE J              NY         11346102         WEITZ & LUXENBERG, PC
CLARK                PAUL A                NY         10623005         WEITZ & LUXENBERG, PC                                CLIFFORD             IDA M                 NY         10670602         WEITZ & LUXENBERG, PC
CLARK                PENNY LOU             NY         02106692         WEITZ & LUXENBERG, PC                                CLIFFORD             IDA M                 NY         11488802         WEITZ & LUXENBERG, PC
CLARK                RICHARD E             NY         01CIV7363        WEITZ & LUXENBERG, PC                                CLIFFORD             MARGARET M            NY         10722002         WEITZ & LUXENBERG, PC
CLARK                ROBERT                NY         1903342017       WEITZ & LUXENBERG, PC                                CLIFFORD             MARGARET M            NY         11346102         WEITZ & LUXENBERG, PC
CLARK                ROBERT J              NY         11104503         WEITZ & LUXENBERG, PC                                CLIFFORD             WHITE S               NY         10670602         WEITZ & LUXENBERG, PC
CLARK                RONALD LOWELL         NY         02106692         WEITZ & LUXENBERG, PC                                CLIFFORD             WHITE S               NY         11488802         WEITZ & LUXENBERG, PC
CLARK                RUTH                  NY         01CIV7363        WEITZ & LUXENBERG, PC                                CLINE                GARWOOD               NY         10632799         WEITZ & LUXENBERG, PC
CLARK                STEPHEN               DE         N18C03053ASB     WEITZ & LUXENBERG, PC                                CLINE                LORRAINE              NY         10632799         WEITZ & LUXENBERG, PC
CLARK                VIRGINIA              NY         10564600         WEITZ & LUXENBERG, PC                                CLINGERSMITH         JEAN D                NY         99106340         WEITZ & LUXENBERG, PC
CLARK                WANDA J               NY         10740402         WEITZ & LUXENBERG, PC                                CLINGERSMITH         WILLIAM P             NY         99106340         WEITZ & LUXENBERG, PC
CLARK                WANDA JANE            NY         11431502         WEITZ & LUXENBERG, PC                                CLINTON              LEE                   NY         11817298         WEITZ & LUXENBERG, PC
CLARK                WILLARD B             NY         10632299         WEITZ & LUXENBERG, PC                                CLOHERTY             JOHN                  NY         10591601         WEITZ & LUXENBERG, PC
CLARK                WILLIAM A             NY         98118152         WEITZ & LUXENBERG, PC                                CLOHERTY             KATHLEEN              NY         10591601         WEITZ & LUXENBERG, PC
CLARK                WILLIE JAMES          NY         10835400         WEITZ & LUXENBERG, PC                                CLOHESSEY            EDWARD H              NY         12043101         WEITZ & LUXENBERG, PC
CLARK -ORTIZ         DENISE A              NY         98118152         WEITZ & LUXENBERG, PC                                CLOHESSEY            FRANCES               NY         12043101         WEITZ & LUXENBERG, PC
CLARKE               ANTHONY A             NY         01111230         WEITZ & LUXENBERG, PC                                CLOHESSY             NORAH M               NY         99106341         WEITZ & LUXENBERG, PC
CLARKE               FRANCIS M             NY         99113871         WEITZ & LUXENBERG, PC                                CLOHESSY             PATRICK               NY         99106341         WEITZ & LUXENBERG, PC
CLARKE               JAMES                 NY         10590701         WEITZ & LUXENBERG, PC                                CLOONAN              EDWARD H              NY         10520405         WEITZ & LUXENBERG, PC
CLARKE               JO ANN                NY         10590701         WEITZ & LUXENBERG, PC                                CLOONAN              JOSEPH T              NY         1900142019       WEITZ & LUXENBERG, PC
CLARKE               JOHN                  NY         11816998         WEITZ & LUXENBERG, PC                                CLOONAN              MAUREEN               NY         1900142019       WEITZ & LUXENBERG, PC
CLARKE               JOHN E                NY         1901902017       WEITZ & LUXENBERG, PC                                CLOSE                JOYCE                 NY         10559400         WEITZ & LUXENBERG, PC
CLARKE               JOHN H                NY         12668602         WEITZ & LUXENBERG, PC                                CLOSE                LAURENCE E            NY         10559400         WEITZ & LUXENBERG, PC
CLARKE               JOHN J                NY         10363702         WEITZ & LUXENBERG, PC                                CLOSE                NANCY                 NY         02106690         WEITZ & LUXENBERG, PC
CLARKE               LOUISE                NY         11816998         WEITZ & LUXENBERG, PC                                CLOSE                PATRICK               NY         02106690         WEITZ & LUXENBERG, PC
CLARKE               MARGARET              NY         CV044688         WEITZ & LUXENBERG, PC                                CLOTHIER             MARIAN                NY         10193700         WEITZ & LUXENBERG, PC
CLARKE               MARILYN A             NY         11026802         WEITZ & LUXENBERG, PC                                CLOTHIER             NORMAN                NY         10193700         WEITZ & LUXENBERG, PC
CLARKE               SHIRLEY               NY         99113871         WEITZ & LUXENBERG, PC                                CLOUTHIER            GAYLE M               NY         98118173         WEITZ & LUXENBERG, PC
CLARKE               WILLIAM               NY         99113870         WEITZ & LUXENBERG, PC                                CLOUTHIER            RONALD L              NY         98118173         WEITZ & LUXENBERG, PC
CLARKE               ROBERT                NY         CV044688         WEITZ & LUXENBERG, PC                                CLOUTIER             ROGER                 NY         11388399         WEITZ & LUXENBERG, PC
CLARKSON             CORA M                NY         10559600         WEITZ & LUXENBERG, PC                                CLOUTIER             STEPHANIE             NY         11388399         WEITZ & LUXENBERG, PC
CLARKSON             DONALD                NY         10559600         WEITZ & LUXENBERG, PC                                CLOW                 D CHARLES             NY         11388299         WEITZ & LUXENBERG, PC
CLARONI              WILLIAM O             NY         99106335         WEITZ & LUXENBERG, PC                                CLOW                 HEIDI M               NY         11388299         WEITZ & LUXENBERG, PC
CLARY                JERRY M               NY         10670402         WEITZ & LUXENBERG, PC                                CLUCKEY              EUGENE                NY         99113881         WEITZ & LUXENBERG, PC
CLAUS                LEONARD               NY         02106579         WEITZ & LUXENBERG, PC                                CLUM                 BETTY ANN             NY         99106342         WEITZ & LUXENBERG, PC
CLAUS                MARGARET              NY         02106579         WEITZ & LUXENBERG, PC                                CLUM                 DOYLE L               NY         99106342         WEITZ & LUXENBERG, PC
CLAY                 FLORENCE              NY         11235400         WEITZ & LUXENBERG, PC                                CLUTE                LEONARD               NY         02106580         WEITZ & LUXENBERG, PC
CLAY                 JEFFERSON DAVIS       NY         11235400         WEITZ & LUXENBERG, PC                                CLUTE                MARCIA                NY         02106580         WEITZ & LUXENBERG, PC
CLAYTON              HENRY E               NY         CV021081         WEITZ & LUXENBERG, PC                                CLYDE                PAULINE               NY         10008703         WEITZ & LUXENBERG, PC
CLAYTON              MARILYN ANNE          NY         CV021081         WEITZ & LUXENBERG, PC                                CLYDE                THOMAS                NY         10008703         WEITZ & LUXENBERG, PC
CLEAR                DAVID WAYNE           NY         98118171         WEITZ & LUXENBERG, PC                                CLYDESDALE           BEATRICE              NY         10559300         WEITZ & LUXENBERG, PC
CLEAR                GEORGIANN             NY         98118171         WEITZ & LUXENBERG, PC                                CLYDESDALE           ROBERT                NY         10559300         WEITZ & LUXENBERG, PC
CLEARY               DOLORES               NY         99106291         WEITZ & LUXENBERG, PC                                CLYNES               JOHN F                NY         02107006         WEITZ & LUXENBERG, PC
CLEARY               GLORIA                NY         12039901         WEITZ & LUXENBERG, PC                                CLYNES               JOHN F                NY         11797702         WEITZ & LUXENBERG, PC
CLEARY               LAWRENCE J            NY         99106291         WEITZ & LUXENBERG, PC                                CLYNES               JUDITH                NY         02107006         WEITZ & LUXENBERG, PC
CLEARY               RONALD G              NY         10587402         WEITZ & LUXENBERG, PC                                CLYNES               JUDITH                NY         11797702         WEITZ & LUXENBERG, PC
CLEARY               RONALD G              NY         10991702         WEITZ & LUXENBERG, PC                                COADY                GEORGE A              NY         10426800         WEITZ & LUXENBERG, PC
CLEARY               WILLIAM P             NY         12039901         WEITZ & LUXENBERG, PC                                COADY                MADELINE              NY         10426800         WEITZ & LUXENBERG, PC
CLEGG                BETTY J               NY         CV003590         WEITZ & LUXENBERG, PC                                COADY                PATRICK J             NY         10571402         WEITZ & LUXENBERG, PC
CLEGG                EDDIE                 NY         01CIV4688        WEITZ & LUXENBERG, PC                                COAKELY              EULAR                 NY         01CIV3922        WEITZ & LUXENBERG, PC
CLEGG                ELNORA                NY         99113868         WEITZ & LUXENBERG, PC                                COAKLEY              DOROTHY               NY         CV022035         WEITZ & LUXENBERG, PC
CLEGG                GROVER                NY         CV003590         WEITZ & LUXENBERG, PC                                COAKLEY              EULAR                 NY         01CIV3922        WEITZ & LUXENBERG, PC
CLEGG                JOHN JR               NY         99113868         WEITZ & LUXENBERG, PC                                COAKLEY              JAMES B               NY         CV022035         WEITZ & LUXENBERG, PC
CLEGG                VICKI R               NY         01CIV4688        WEITZ & LUXENBERG, PC                                COAKLEY              JAMES B JR            NY         CV022035         WEITZ & LUXENBERG, PC
CLEMENS              JAYNE                 NY         10591701         WEITZ & LUXENBERG, PC                                COAKLEY              WILLIE                NY         01CIV3922        WEITZ & LUXENBERG, PC
CLEMENS              PHILIP                NY         10591701         WEITZ & LUXENBERG, PC                                COATES               ANNIE                 NY         10591401         WEITZ & LUXENBERG, PC
CLEMENT              BERNARD               NY         12521402         WEITZ & LUXENBERG, PC                                COATES               CHARISSE              NY         10591401         WEITZ & LUXENBERG, PC
CLEMENT              EDNA M                NY         10629299         WEITZ & LUXENBERG, PC                                COATES               JOE                   NY         CV015330         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 892
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 227 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COATES               PATRICIA A            NY         CV015330         WEITZ & LUXENBERG, PC                                COHEN                MICHAEL               NY         01111236         WEITZ & LUXENBERG, PC
COATES               RAYMOND               NY         10591401         WEITZ & LUXENBERG, PC                                COHEN                MICHAEL               NY         11123997         WEITZ & LUXENBERG, PC
COATS                JEWEL E               NY         02113280         WEITZ & LUXENBERG, PC                                COHEN                MORRIS                NY         11626601         WEITZ & LUXENBERG, PC
COATS                JEWEL E               NY         12010802         WEITZ & LUXENBERG, PC                                COHEN                MORRIS                NY         01111221         WEITZ & LUXENBERG, PC
COATS                RICHARD F             NY         02113280         WEITZ & LUXENBERG, PC                                COHEN                MURRAY                NY         10073103         WEITZ & LUXENBERG, PC
COATS                RICHARD F             NY         12010802         WEITZ & LUXENBERG, PC                                COHEN                PHILIP                NY         10722102         WEITZ & LUXENBERG, PC
COBB                 DELBERT C             NY         10630199         WEITZ & LUXENBERG, PC                                COHEN                PHILIP                NY         11314002         WEITZ & LUXENBERG, PC
COBB                 DELBERT J             NY         10630199         WEITZ & LUXENBERG, PC                                COHEN                RENEE                 NY         10722102         WEITZ & LUXENBERG, PC
COBB                 EDWARD C              NY         10630999         WEITZ & LUXENBERG, PC                                COHEN                RENEE                 NY         11314002         WEITZ & LUXENBERG, PC
COBB                 JOSEPHINE             NY         10630999         WEITZ & LUXENBERG, PC                                COHEN                SAM                   NY         12433902         WEITZ & LUXENBERG, PC
COBB                 MARY C                NY         10630199         WEITZ & LUXENBERG, PC                                COHEN                SAM                   NY         10198103         WEITZ & LUXENBERG, PC
COBB                 WILLIAM C             NY         10630999         WEITZ & LUXENBERG, PC                                COHEN                SAMMY                 NY         12039601         WEITZ & LUXENBERG, PC
COBBS                LARRY                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                COHEN                SAMUEL                NY         01113257         WEITZ & LUXENBERG, PC
COBBS                PATRICIA ANN          NY         01CIV3900        WEITZ & LUXENBERG, PC                                COHEN                SAMUEL                NY         01111236         WEITZ & LUXENBERG, PC
COBURN               CAROL                 NY         19017711         WEITZ & LUXENBERG, PC                                COHEN                SHIRLEY               NY         10073103         WEITZ & LUXENBERG, PC
COBURN               JAMES                 NY         19017711         WEITZ & LUXENBERG, PC                                COHEN                SOPHIA                NY         12039601         WEITZ & LUXENBERG, PC
COCCA                FRANK                 NY         01111223         WEITZ & LUXENBERG, PC                                COHEN                VICTORIA              NY         10871897         WEITZ & LUXENBERG, PC
COCHRAN              ALLEN HINSON          NY         11396399         WEITZ & LUXENBERG, PC                                COHEN                YOUSSEF               NY         1901382015       WEITZ & LUXENBERG, PC
COCHRAN              MOSES ARTHUR          NY         CV018403         WEITZ & LUXENBERG, PC                                COHN                 SARA                  NY         10877503         WEITZ & LUXENBERG, PC
COCHRAN              PAULETTE              NY         CV018403         WEITZ & LUXENBERG, PC                                COHN                 SAUL                  NY         10877503         WEITZ & LUXENBERG, PC
COCHRAN              SHERRI                NY         11396399         WEITZ & LUXENBERG, PC                                COIL                 MARGARET              NY         10591201         WEITZ & LUXENBERG, PC
COCHRANE             GEORGE T              NY         8140722015       WEITZ & LUXENBERG, PC                                COIL                 WARREN G              NY         10591201         WEITZ & LUXENBERG, PC
COCHRANE             MARJORIE              NY         8140722015       WEITZ & LUXENBERG, PC                                COIRO                FRANK                 NY         11626501         WEITZ & LUXENBERG, PC
COCKBURN             JOHN W                NY         99106238         WEITZ & LUXENBERG, PC                                COIRO                FRANK                 NY         01111221         WEITZ & LUXENBERG, PC
COCKBURN             MARIE A               NY         99106238         WEITZ & LUXENBERG, PC                                COIRO                MARIA                 NY         11626501         WEITZ & LUXENBERG, PC
COCKBURN             RUSSELL W             NY         99106238         WEITZ & LUXENBERG, PC                                COIRO                MARIA                 NY         01111221         WEITZ & LUXENBERG, PC
COCKER               NANCY                 NY         11026702         WEITZ & LUXENBERG, PC                                COKELY               GLENN E               NY         02105716         WEITZ & LUXENBERG, PC
COCKER               RICHARD L             NY         11026702         WEITZ & LUXENBERG, PC                                COKELY               WILMA                 NY         02105716         WEITZ & LUXENBERG, PC
COCKRELL             CHARLES L             NY         CV017788         WEITZ & LUXENBERG, PC                                COKER                HAROLD P              DE         N19C04055ASB     WEITZ & LUXENBERG, PC
COCKRELL             DELOMA                NY         CV017788         WEITZ & LUXENBERG, PC                                COKER                SILVIA                DE         N19C04055ASB     WEITZ & LUXENBERG, PC
COCUZZO              DEBRA ANN             NY         1901462012       WEITZ & LUXENBERG, PC                                COLABINE             CONNIE L              NY         10740402         WEITZ & LUXENBERG, PC
COCUZZO              GERARD                NY         1901462012       WEITZ & LUXENBERG, PC                                COLAFRANCESCHI       MICHAEL               NY         99106235         WEITZ & LUXENBERG, PC
CODDINGTON           DAROLD                NY         11396999         WEITZ & LUXENBERG, PC                                COLAIO               MARY                  NY         99106234         WEITZ & LUXENBERG, PC
CODDINGTON           TERESA                NY         11396999         WEITZ & LUXENBERG, PC                                COLAIO               VICTOR J              NY         99106234         WEITZ & LUXENBERG, PC
CODER                THOMAS J              NY         10426600         WEITZ & LUXENBERG, PC                                COLAMARCO            FRANCO                NY         11396899         WEITZ & LUXENBERG, PC
CODER                VICTORIA              NY         10426600         WEITZ & LUXENBERG, PC                                COLAMARCO            FRANCO A              NY         11396899         WEITZ & LUXENBERG, PC
CODY                 BERNICE               NY         10587602         WEITZ & LUXENBERG, PC                                COLAMARCO            RAMONA                NY         11396899         WEITZ & LUXENBERG, PC
CODY                 CHARLES J             NY         11074000         WEITZ & LUXENBERG, PC                                COLANDREA            CAROL                 NY         11398299         WEITZ & LUXENBERG, PC
CODY                 EDWARD                NY         19041209         WEITZ & LUXENBERG, PC                                COLANDREA            WILLIAM A             NY         11398299         WEITZ & LUXENBERG, PC
CODY                 EDWARD J              NY         19003909         WEITZ & LUXENBERG, PC                                COLANTONIO           CHERYL                NY         1904932012       WEITZ & LUXENBERG, PC
CODY                 SAMUEL L              NY         10587602         WEITZ & LUXENBERG, PC                                COLANTONIO           DENNIS                NY         1904932012       WEITZ & LUXENBERG, PC
CODY                 SELDA J               NY         19003909         WEITZ & LUXENBERG, PC                                COLAROSSI            CARMINE               NY         11398499         WEITZ & LUXENBERG, PC
CODY                 WILLIAM R             NY         10740402         WEITZ & LUXENBERG, PC                                COLAROSSI            LORRAINE              NY         11398499         WEITZ & LUXENBERG, PC
COE                  LEROY                 NY         02106690         WEITZ & LUXENBERG, PC                                COLAROSSI            SEVERINO A            NY         10426500         WEITZ & LUXENBERG, PC
COELHO               NICHOLAS              NY         11984097         WEITZ & LUXENBERG, PC                                COLASCIONE           LEWIS J               NY         106263399        WEITZ & LUXENBERG, PC
COELHO               NICHOLAS CHARLES      NY         11984097         WEITZ & LUXENBERG, PC                                COLASCIONE           MARIE                 NY         106263399        WEITZ & LUXENBERG, PC
COFFEY               INEZ                  NY         10926203         WEITZ & LUXENBERG, PC                                COLAVITO             ANGELA                NY         1901152018       WEITZ & LUXENBERG, PC
COFFEY               RICHARD F             NY         10926203         WEITZ & LUXENBERG, PC                                COLAVITO             DOMENICO              NY         1901152018       WEITZ & LUXENBERG, PC
COFFMAN              CHRISTOPHER W         NY         1901372016       WEITZ & LUXENBERG, PC                                COLAVITO             JACK                  NY         10559200         WEITZ & LUXENBERG, PC
COFFMAN              ELEANOR               NY         11397699         WEITZ & LUXENBERG, PC                                COLAVITO             ROSEMARY              NY         10559200         WEITZ & LUXENBERG, PC
COFFMAN              GERALD R              NY         11397699         WEITZ & LUXENBERG, PC                                COLBERT              DARLENE M             NY         11716900         WEITZ & LUXENBERG, PC
COFFMAN              ROBERT G              NY         1901372016       WEITZ & LUXENBERG, PC                                COLBERT              DONALD J              NY         02106578         WEITZ & LUXENBERG, PC
COGAN                DONNA                 NY         20015337         WEITZ & LUXENBERG, PC                                COLBERT              EDMUND C SR           NY         11716900         WEITZ & LUXENBERG, PC
COGAN                HARRIET               NY         11718300         WEITZ & LUXENBERG, PC                                COLBERT              JOHN J                NY         11398399         WEITZ & LUXENBERG, PC
COGAN                MICHAEL R             NY         11718300         WEITZ & LUXENBERG, PC                                COLBERT              KAY                   NY         11398399         WEITZ & LUXENBERG, PC
COGAN                RONALD J              NY         20015337         WEITZ & LUXENBERG, PC                                COLBERT              LARRY JAMES           NY         110496           WEITZ & LUXENBERG, PC
COGAR                KATHY                 NY         10718701         WEITZ & LUXENBERG, PC                                COLBERT              SANDRA MARIE          NY         110496           WEITZ & LUXENBERG, PC
COGAR                KATHY                 NY         11937600         WEITZ & LUXENBERG, PC                                COLBURN              AMELIA                NY         11060402         WEITZ & LUXENBERG, PC
COGGINS              ANDREW                NY         12693502         WEITZ & LUXENBERG, PC                                COLBURN              AMELIA                NY         10680802         WEITZ & LUXENBERG, PC
COGGINS              DOROTHY               NY         12693502         WEITZ & LUXENBERG, PC                                COLBURN              DARWIN L              NY         10680802         WEITZ & LUXENBERG, PC
COGSHELL             JOY D                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLBURN              DARWIN L              NY         11060402         WEITZ & LUXENBERG, PC
COGSHELL             SAMMIE                NY         CV013921         WEITZ & LUXENBERG, PC                                COLBY                DAVID A               NY         02106578         WEITZ & LUXENBERG, PC
COGSHELL             VERSIE L              NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLBY                FALINE                NY         02106578         WEITZ & LUXENBERG, PC
COHAN                MARGARET E            NY         11505498         WEITZ & LUXENBERG, PC                                COLBY                MILDRED ALBERTA       NY         12693402         WEITZ & LUXENBERG, PC
COHEN                ALBERT                NY         10871897         WEITZ & LUXENBERG, PC                                COLCORD              ERFORD R              NY         CV015228         WEITZ & LUXENBERG, PC
COHEN                CLAIRE                NY         12433902         WEITZ & LUXENBERG, PC                                COLCORD              PHYLLIS J             NY         CV015228         WEITZ & LUXENBERG, PC
COHEN                CLAIRE                NY         10198103         WEITZ & LUXENBERG, PC                                COLE                 CATHERINE             NY         10631999         WEITZ & LUXENBERG, PC
COHEN                FLORENCE              NY         99106236         WEITZ & LUXENBERG, PC                                COLE                 DEBRA                 NY         CV018461         WEITZ & LUXENBERG, PC
COHEN                HOWARD                NY         99106236         WEITZ & LUXENBERG, PC                                COLE                 GARY M                NY         02106579         WEITZ & LUXENBERG, PC
COHEN                JENNIE                NY         11626601         WEITZ & LUXENBERG, PC                                COLE                 GERTRUDE I            NY         10592801         WEITZ & LUXENBERG, PC
COHEN                JENNIE                NY         01111221         WEITZ & LUXENBERG, PC                                COLE                 JEAN                  NY         98118176         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 893
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 228 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COLE                 JEFFREY B             NY         12039401         WEITZ & LUXENBERG, PC                                COLLINS              CONNIE                NY         12043001         WEITZ & LUXENBERG, PC
COLE                 JOHN W                NY         12039201         WEITZ & LUXENBERG, PC                                COLLINS              CORNELIUS             NY         10605599         WEITZ & LUXENBERG, PC
COLE                 MERRITT ENLO          NY         11396299         WEITZ & LUXENBERG, PC                                COLLINS              DANIEL J              NY         98118179         WEITZ & LUXENBERG, PC
COLE                 PAMELA J              NY         12039401         WEITZ & LUXENBERG, PC                                COLLINS              DENIS C               NY         98118179         WEITZ & LUXENBERG, PC
COLE                 PAUL J                NY         10592801         WEITZ & LUXENBERG, PC                                COLLINS              DENNIS                NY         1901852016       WEITZ & LUXENBERG, PC
COLE                 RICHARD DOUGLAS       NY         10716702         WEITZ & LUXENBERG, PC                                COLLINS              DONALD E              NY         10559000         WEITZ & LUXENBERG, PC
COLE                 ROBERT                NY         98118176         WEITZ & LUXENBERG, PC                                COLLINS              DONNA M               NY         11856598         WEITZ & LUXENBERG, PC
COLE                 ROGER DALE            NY         CV018461         WEITZ & LUXENBERG, PC                                COLLINS              DORIS                 NY         12693402         WEITZ & LUXENBERG, PC
COLE                 WALTER A              NY         10631999         WEITZ & LUXENBERG, PC                                COLLINS              DOROTHY               NY         10606899         WEITZ & LUXENBERG, PC
COLE                 WILMA                 NY         11396299         WEITZ & LUXENBERG, PC                                COLLINS              EASTER                NY         10428700         WEITZ & LUXENBERG, PC
COLECCHIA            ANTHONY J             NY         12668702         WEITZ & LUXENBERG, PC                                COLLINS              ELSIE                 NY         10592601         WEITZ & LUXENBERG, PC
COLEGROVE            DE FORREST            NY         10559100         WEITZ & LUXENBERG, PC                                COLLINS              EVA                   NY         01CIV3895        WEITZ & LUXENBERG, PC
COLEGROVE            EARLE R               NY         02113280         WEITZ & LUXENBERG, PC                                COLLINS              FRANCES P             NY         CV011181         WEITZ & LUXENBERG, PC
COLEGROVE            JOYCE                 NY         10559100         WEITZ & LUXENBERG, PC                                COLLINS              GENEVIEVE             NY         11026802         WEITZ & LUXENBERG, PC
COLEGROVE            PAULA M               NY         02113280         WEITZ & LUXENBERG, PC                                COLLINS              GENEVIEVE             NY         02117538         WEITZ & LUXENBERG, PC
COLELLA              BENEDETTO             NY         10592701         WEITZ & LUXENBERG, PC                                COLLINS              GEORGE                NY         06CIV3578        WEITZ & LUXENBERG, PC
COLELLA              CARMELLA              NY         10592701         WEITZ & LUXENBERG, PC                                COLLINS              GEORGE                NY         CV013921         WEITZ & LUXENBERG, PC
COLELLA              KATHLEEN              NY         12110001         WEITZ & LUXENBERG, PC                                COLLINS              GEORGE A              NY         12693402         WEITZ & LUXENBERG, PC
COLELLA              RALPH W               NY         12110001         WEITZ & LUXENBERG, PC                                COLLINS              GILBERT F             NY         02106579         WEITZ & LUXENBERG, PC
COLELLO              LOUIS                 NY         10426400         WEITZ & LUXENBERG, PC                                COLLINS              HANSEL DAVID          NY         10138302         WEITZ & LUXENBERG, PC
COLEMAN              ALFRED L              NY         12039701         WEITZ & LUXENBERG, PC                                COLLINS              HELEN                 NY         02120615         WEITZ & LUXENBERG, PC
COLEMAN              BARBARA               NY         19001709         WEITZ & LUXENBERG, PC                                COLLINS              HELEN S               NY         10430807         WEITZ & LUXENBERG, PC
COLEMAN              CAROL N               NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLLINS              JC                    NY         CV023073         WEITZ & LUXENBERG, PC
COLEMAN              CHESTER               NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLLINS              JAMES L               NY         01CIV3895        WEITZ & LUXENBERG, PC
COLEMAN              DEBORAH               NY         10079301         WEITZ & LUXENBERG, PC                                COLLINS              JANICE H              NY         02107005         WEITZ & LUXENBERG, PC
COLEMAN              DEBORAH               NY         11939100         WEITZ & LUXENBERG, PC                                COLLINS              JERALD                NY         CV011181         WEITZ & LUXENBERG, PC
COLEMAN              ELIZA                 NY         12039701         WEITZ & LUXENBERG, PC                                COLLINS              JOAN                  NY         10605599         WEITZ & LUXENBERG, PC
COLEMAN              ELZABETH              NY         1331216          WEITZ & LUXENBERG, PC                                COLLINS              JOHN A                NY         10011502         WEITZ & LUXENBERG, PC
COLEMAN              EVIE                  NY         11007300         WEITZ & LUXENBERG, PC                                COLLINS              JOHN DANIEL           NY         00CIV1202        WEITZ & LUXENBERG, PC
COLEMAN              GLADYS E              NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLLINS              JOHN G                NY         10558900         WEITZ & LUXENBERG, PC
COLEMAN              JOE                   NY         12668202         WEITZ & LUXENBERG, PC                                COLLINS              JOHN P                NY         02120615         WEITZ & LUXENBERG, PC
COLEMAN              JOSEPH                NY         19001709         WEITZ & LUXENBERG, PC                                COLLINS              JOSH                  NY         CV020155         WEITZ & LUXENBERG, PC
COLEMAN              KASIE                 NY         19023311         WEITZ & LUXENBERG, PC                                COLLINS              LAURA BELL            NY         12801902         WEITZ & LUXENBERG, PC
COLEMAN              KENNETH               NY         11007300         WEITZ & LUXENBERG, PC                                COLLINS              LAURA BELL            NY         10594403         WEITZ & LUXENBERG, PC
COLEMAN              MATTHEW C             NY         98118177         WEITZ & LUXENBERG, PC                                COLLINS              LAWRENCE G            NY         12003902         WEITZ & LUXENBERG, PC
COLEMAN              NANCY                 NY         02106709         WEITZ & LUXENBERG, PC                                COLLINS              MAMIE JANE            NY         01CIV3900        WEITZ & LUXENBERG, PC
COLEMAN              RONALD                NY         1331216          WEITZ & LUXENBERG, PC                                COLLINS              MARGARET              NY         10559000         WEITZ & LUXENBERG, PC
COLEMAN              THOMAS H              NY         02106709         WEITZ & LUXENBERG, PC                                COLLINS              MARGARET B            NY         02107005         WEITZ & LUXENBERG, PC
COLEMAN              WANDA                 NY         01CIV4580        WEITZ & LUXENBERG, PC                                COLLINS              MARY ELLEN            NY         98118179         WEITZ & LUXENBERG, PC
COLEMAN              WILLIE                NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLLINS              MICHAEL               NY         02107005         WEITZ & LUXENBERG, PC
COLERN               ERNEST                NY         02122688         WEITZ & LUXENBERG, PC                                COLLINS              MYRTLE                NY         10138302         WEITZ & LUXENBERG, PC
COLERN               PATRICIA              NY         02122688         WEITZ & LUXENBERG, PC                                COLLINS              PATRICK               NY         10606899         WEITZ & LUXENBERG, PC
COLES                JAMES                 NY         99106258         WEITZ & LUXENBERG, PC                                COLLINS              PETER T               NY         12043001         WEITZ & LUXENBERG, PC
COLES                LAWRENCE W            NY         99106258         WEITZ & LUXENBERG, PC                                COLLINS              RHODA                 NY         0331012017       WEITZ & LUXENBERG, PC
COLETTA              LUCY                  NY         11123201         WEITZ & LUXENBERG, PC                                COLLINS              RICHARD J             NY         10558800         WEITZ & LUXENBERG, PC
COLETTA              ROBERT                NY         11123201         WEITZ & LUXENBERG, PC                                COLLINS              RICHARD W             NY         10645702         WEITZ & LUXENBERG, PC
COLGAN               PHILIP                NY         11343603         WEITZ & LUXENBERG, PC                                COLLINS              ROBERT H              NY         10592601         WEITZ & LUXENBERG, PC
COLICA               FRED L                NY         01111218         WEITZ & LUXENBERG, PC                                COLLINS              ROSE                  NY         02106694         WEITZ & LUXENBERG, PC
COLICA               PATRICIA              NY         01111218         WEITZ & LUXENBERG, PC                                COLLINS              ROSEMARIE             NY         10558800         WEITZ & LUXENBERG, PC
COLITTO              ANNA                  NY         10870801         WEITZ & LUXENBERG, PC                                COLLINS              RUDOLPH               NY         02106694         WEITZ & LUXENBERG, PC
COLITTO              DONATO                NY         10870801         WEITZ & LUXENBERG, PC                                COLLINS              SHARON                NY         11396199         WEITZ & LUXENBERG, PC
COLLETI              MARY                  NY         11756804         WEITZ & LUXENBERG, PC                                COLLINS              SONDRA L              NY         02117538         WEITZ & LUXENBERG, PC
COLLETT              ANTHONY N             NY         10625799         WEITZ & LUXENBERG, PC                                COLLINS              SUSAN                 NY         99113960         WEITZ & LUXENBERG, PC
COLLETT              GLORIA BERNICE        NY         10625799         WEITZ & LUXENBERG, PC                                COLLINS              SUSIE MAE             NY         CV020155         WEITZ & LUXENBERG, PC
COLLETTI             LOUIS J               NY         11756804         WEITZ & LUXENBERG, PC                                COLLINS              SUZANNE B             NY         02106579         WEITZ & LUXENBERG, PC
COLLETTI             SUE ELLEN             NY         97123238         WEITZ & LUXENBERG, PC                                COLLINS              SYLVIA B              NY         1901852016       WEITZ & LUXENBERG, PC
COLLEY               JOAN                  NY         10626599         WEITZ & LUXENBERG, PC                                COLLINS              THOMAS E              NY         0331012017       WEITZ & LUXENBERG, PC
COLLEY               PAUL R                NY         10626599         WEITZ & LUXENBERG, PC                                COLLINS              THOMAS E              NY         10722102         WEITZ & LUXENBERG, PC
COLLIER              PETER M               NY         02107099         WEITZ & LUXENBERG, PC                                COLLINS              THOMAS E              NY         11313902         WEITZ & LUXENBERG, PC
COLLIER              VIRGINIA              NY         02107099         WEITZ & LUXENBERG, PC                                COLLINS              VERNICE               NY         01CIV3898        WEITZ & LUXENBERG, PC
COLLIER              VIRGINIA J            NY         01CIV7363        WEITZ & LUXENBERG, PC                                COLLINS              WO                    NY         01CIV3898        WEITZ & LUXENBERG, PC
COLLIGAN             GEORGE E              NY         10241902         WEITZ & LUXENBERG, PC                                COLLINS              WALTER S              NY         02107005         WEITZ & LUXENBERG, PC
COLLIGAN             JOHN P                NY         01121099         WEITZ & LUXENBERG, PC                                COLLINS              WILLIAM               NY         10430807         WEITZ & LUXENBERG, PC
COLLIGAN             NANCY                 NY         01121099         WEITZ & LUXENBERG, PC                                COLLINS              WILLIAM L             NY         10428700         WEITZ & LUXENBERG, PC
COLLINS              ANCEL A               NY         11396199         WEITZ & LUXENBERG, PC                                COLLINS              WILLIE HUGH           NY         99113960         WEITZ & LUXENBERG, PC
COLLINS              BOYD G                NY         10740502         WEITZ & LUXENBERG, PC                                COLLITON             BARRY                 NY         10592501         WEITZ & LUXENBERG, PC
COLLINS              CALVIN                NY         01CIV3897        WEITZ & LUXENBERG, PC                                COLLITON             PATRICIA              NY         10592501         WEITZ & LUXENBERG, PC
COLLINS              CARMEN M              NY         10011502         WEITZ & LUXENBERG, PC                                COLOGRANDE           FRANK P               NY         10558600         WEITZ & LUXENBERG, PC
COLLINS              CAROL A               NY         10645702         WEITZ & LUXENBERG, PC                                COLOGRANDE           MARIE                 NY         10558600         WEITZ & LUXENBERG, PC
COLLINS              CHARLIE               NY         01CIV3900        WEITZ & LUXENBERG, PC                                COLON                GENEVIEVE             NY         10168102         WEITZ & LUXENBERG, PC
COLLINS              CLAIRE                NY         10558900         WEITZ & LUXENBERG, PC                                COLON                LEONARDO              NY         10074103         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 894
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 229 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COLON                LEONARDO              NY         10289703         WEITZ & LUXENBERG, PC                                CONFORTI             JANET                 NY         02106508         WEITZ & LUXENBERG, PC
COLON                LOUIS H               NY         10603299         WEITZ & LUXENBERG, PC                                CONGDON              KARL A                NY         99106071         WEITZ & LUXENBERG, PC
COLON                PETER                 NY         19002309         WEITZ & LUXENBERG, PC                                CONGDON              MARGARET M            NY         99106071         WEITZ & LUXENBERG, PC
COLON                RITA                  NY         10603299         WEITZ & LUXENBERG, PC                                CONIGLIO             CARL J                NY         10587402         WEITZ & LUXENBERG, PC
COLON                ROSEMARIE             NY         19002309         WEITZ & LUXENBERG, PC                                CONIGLIO             CARL J                NY         10994602         WEITZ & LUXENBERG, PC
COLON                VINENT                NY         10168102         WEITZ & LUXENBERG, PC                                CONIGLIO             ELEANOR               NY         10587602         WEITZ & LUXENBERG, PC
COLONNA              ANGELA                NY         10877703         WEITZ & LUXENBERG, PC                                CONIGLIO             FRANK C               NY         10670602         WEITZ & LUXENBERG, PC
COLONNA              NICOLA                NY         10877703         WEITZ & LUXENBERG, PC                                CONIGLIO             GINA                  NY         11076503         WEITZ & LUXENBERG, PC
COLONY               ARLENE                NY         CV018541         WEITZ & LUXENBERG, PC                                CONIGLIO             GINA                  NY         12115499         WEITZ & LUXENBERG, PC
COLONY               CHARLES A             NY         CV018541         WEITZ & LUXENBERG, PC                                CONIGLIO             JANICE C              NY         10670602         WEITZ & LUXENBERG, PC
COLOSI               JACQUELINE            NY         11395999         WEITZ & LUXENBERG, PC                                CONIGLIO             JOAN                  NY         10587402         WEITZ & LUXENBERG, PC
COLOSI               JOSEPH P              NY         11395999         WEITZ & LUXENBERG, PC                                CONIGLIO             JOAN                  NY         10994602         WEITZ & LUXENBERG, PC
COLOSI               RUSSELL J             NY         10716902         WEITZ & LUXENBERG, PC                                CONIGLIO             JOSEPH PHILIP         NY         10587602         WEITZ & LUXENBERG, PC
COLPOYS              MARY                  NY         10722202         WEITZ & LUXENBERG, PC                                CONKEY               KENNETH               NY         10039603         WEITZ & LUXENBERG, PC
COLPOYS              RAYMOND J             NY         10722202         WEITZ & LUXENBERG, PC                                CONKLIN              DEBRA                 NY         1901212014       WEITZ & LUXENBERG, PC
COLSTON              LAURA                 NY         11399599         WEITZ & LUXENBERG, PC                                CONKLIN              GEORGE R              NY         10559900         WEITZ & LUXENBERG, PC
COLSTON              SHERRILL              NY         11399599         WEITZ & LUXENBERG, PC                                CONKLIN              KERRY A               NY         1901212014       WEITZ & LUXENBERG, PC
COLUCCI              BERNADINE             NY         10592401         WEITZ & LUXENBERG, PC                                CONKLIN              LAUREL LYNN           NY         12444102         WEITZ & LUXENBERG, PC
COLUCCI              EUGENE C              NY         10592401         WEITZ & LUXENBERG, PC                                CONKLIN              MAUREEN               NY         10592001         WEITZ & LUXENBERG, PC
COLUCCI              ROBERT D              NY         10560400         WEITZ & LUXENBERG, PC                                CONKLIN              RICHARD J             NY         11603706         WEITZ & LUXENBERG, PC
COLUCCIO             BERNARD P             NY         11400399         WEITZ & LUXENBERG, PC                                CONKLIN              RUTH                  NY         10559900         WEITZ & LUXENBERG, PC
COLUCCIO             MARIE                 NY         11400399         WEITZ & LUXENBERG, PC                                CONKLIN              SHIRLEY ANN           NY         99113148         WEITZ & LUXENBERG, PC
COLUMBIA             LAWRENCE              NY         10134500         WEITZ & LUXENBERG, PC                                CONKLIN              THOMAS A              NY         12444102         WEITZ & LUXENBERG, PC
COLUMBIA             LOUISE                NY         10134500         WEITZ & LUXENBERG, PC                                CONKLIN              WILLIAM               NY         10592001         WEITZ & LUXENBERG, PC
COLUMBO              LINDA                 NY         12668602         WEITZ & LUXENBERG, PC                                CONLEY               BOBBIE                NY         CV014137         WEITZ & LUXENBERG, PC
COLUMBO              LINDA                 NY         10404203         WEITZ & LUXENBERG, PC                                CONLEY               EUGENE                NY         CV014137         WEITZ & LUXENBERG, PC
COLVILLE             PATRICIA              NY         11400299         WEITZ & LUXENBERG, PC                                CONLEY               RUFUS                 NY         01CIV3900        WEITZ & LUXENBERG, PC
COLVILLE             RICHARD               NY         11400299         WEITZ & LUXENBERG, PC                                CONLEY               SUSIE                 NY         01CIV3900        WEITZ & LUXENBERG, PC
COMAN-BRATESCU       PAVEL                 NY         00CV0652         WEITZ & LUXENBERG, PC                                CONLIN               CAROL                 NY         02107007         WEITZ & LUXENBERG, PC
COMAS                GLADYS                NY         10558200         WEITZ & LUXENBERG, PC                                CONLIN               THOMAS                NY         02107007         WEITZ & LUXENBERG, PC
COMBE                FLOYD                 NY         1900742015       WEITZ & LUXENBERG, PC                                CONLISK              ADDIE                 NY         10168202         WEITZ & LUXENBERG, PC
COMBE                MARY M                NY         1900742015       WEITZ & LUXENBERG, PC                                CONLON               JAMES F               NY         10559800         WEITZ & LUXENBERG, PC
COMBES               GEORGETTE E           NY         11770103         WEITZ & LUXENBERG, PC                                CONLON               JANE L                NY         10559800         WEITZ & LUXENBERG, PC
COMBES               GERALD G              NY         11770103         WEITZ & LUXENBERG, PC                                CONLON               JANET                 NY         12038901         WEITZ & LUXENBERG, PC
COMBOPIANO           FRANK                 NY         10587402         WEITZ & LUXENBERG, PC                                CONLON               JUDY L                NY         10591901         WEITZ & LUXENBERG, PC
COMBOPIANO           GENEIEVE              NY         10587402         WEITZ & LUXENBERG, PC                                CONLON               LAURENCE E            NY         12038901         WEITZ & LUXENBERG, PC
COMEAU               DAVID L               NY         1903572015       WEITZ & LUXENBERG, PC                                CONLON               MICHAEL B             NY         10591901         WEITZ & LUXENBERG, PC
COMEAU               DONALD                NY         1903572015       WEITZ & LUXENBERG, PC                                CONN                 CARL M                NY         12039401         WEITZ & LUXENBERG, PC
COMENZO              RICHARD R             NY         01111219         WEITZ & LUXENBERG, PC                                CONN                 NADEZDA               NY         12039401         WEITZ & LUXENBERG, PC
COMERRO              JOSEPH                NY         10560300         WEITZ & LUXENBERG, PC                                CONN                 WILLIAM H             NY         10870801         WEITZ & LUXENBERG, PC
COMERRO              JOYCE                 NY         10560300         WEITZ & LUXENBERG, PC                                CONNAUGHTON          KENNETH               NY         12043101         WEITZ & LUXENBERG, PC
COMFORT              DAVID                 NY         10560200         WEITZ & LUXENBERG, PC                                CONNAUGHTON          MLADENKA              NY         12043101         WEITZ & LUXENBERG, PC
COMFORT              SHARON                NY         10560200         WEITZ & LUXENBERG, PC                                CONNEELY             JAMES MICHAEL         NY         10591801         WEITZ & LUXENBERG, PC
COMITO               JOHN                  NY         10560100         WEITZ & LUXENBERG, PC                                CONNEELY             MARGARET              NY         10591801         WEITZ & LUXENBERG, PC
COMITTO              CHARLES               NY         11818198         WEITZ & LUXENBERG, PC                                CONNELL              ALLEN R               NY         12039301         WEITZ & LUXENBERG, PC
COMPAGNONE           ANTHONY R             NY         11026702         WEITZ & LUXENBERG, PC                                CONNELL              JEANNINE              NY         10618300         WEITZ & LUXENBERG, PC
COMPAGNONE           NANCY                 NY         11026702         WEITZ & LUXENBERG, PC                                CONNELL              MARILYN               NY         12039301         WEITZ & LUXENBERG, PC
COMSTOCK             MICHAEL V             NY         1902882017       WEITZ & LUXENBERG, PC                                CONNELLEY            JOANNE                NY         CV020156         WEITZ & LUXENBERG, PC
COMSTOCK             PAMELA                NY         1902882017       WEITZ & LUXENBERG, PC                                CONNELLEY            JOSEPH W              NY         CV020156         WEITZ & LUXENBERG, PC
COMTOIS              LENA                  NY         10592201         WEITZ & LUXENBERG, PC                                CONNELLY             DOLORES               NY         11976001         WEITZ & LUXENBERG, PC
COMTOIS              NORMAN                NY         10592201         WEITZ & LUXENBERG, PC                                CONNELLY             DOLORES               NY         11123201         WEITZ & LUXENBERG, PC
CONAWAY              GEORGE J              NY         10740102         WEITZ & LUXENBERG, PC                                CONNELLY             EILEEN                NY         1902162014       WEITZ & LUXENBERG, PC
CONCA                RALPH J               NY         10608799         WEITZ & LUXENBERG, PC                                CONNELLY             JAMES J               NY         98118224         WEITZ & LUXENBERG, PC
CONCANNON            ANTHONY               NY         99106072         WEITZ & LUXENBERG, PC                                CONNELLY             JOSEPH                NY         1902162014       WEITZ & LUXENBERG, PC
CONCANNON            ELIZABETH             NY         99106072         WEITZ & LUXENBERG, PC                                CONNELLY             KENNETH               NY         11976001         WEITZ & LUXENBERG, PC
CONCANNON            JOSEPH                NY         01111226         WEITZ & LUXENBERG, PC                                CONNELLY             KENNETH               NY         11123201         WEITZ & LUXENBERG, PC
CONCANNON            ROSEMARIE             NY         01111226         WEITZ & LUXENBERG, PC                                CONNELLY             LAWRENCE T            NY         10710002         WEITZ & LUXENBERG, PC
CONDENZIO            MARTIN                NY         11715501         WEITZ & LUXENBERG, PC                                CONNELLY             PATRICIA              NY         98118224         WEITZ & LUXENBERG, PC
CONDENZIO            MARTIN A              NY         11715501         WEITZ & LUXENBERG, PC                                CONNENA              DINA                  NY         10560000         WEITZ & LUXENBERG, PC
CONDENZIO            MICHAEL A             NY         11715501         WEITZ & LUXENBERG, PC                                CONNER               EARLENE               NY         CV016447         WEITZ & LUXENBERG, PC
CONDO                DOROTHY               PA         180105695        WEITZ & LUXENBERG, PC                                CONNER               GEORGE                NY         11356702         WEITZ & LUXENBERG, PC
CONDO                PAUL W                PA         180105695        WEITZ & LUXENBERG, PC                                CONNER               HOWARD M              NY         01CIV3895        WEITZ & LUXENBERG, PC
CONDON               HELEN Y               NY         02106693         WEITZ & LUXENBERG, PC                                CONNER               JOE R                 NY         99106070         WEITZ & LUXENBERG, PC
CONDON               JOHN J                NY         12300601         WEITZ & LUXENBERG, PC                                CONNER               RL                    NY         CV016447         WEITZ & LUXENBERG, PC
CONDON               KATHERINE             NY         12300601         WEITZ & LUXENBERG, PC                                CONNER               SUE                   NY         01CIV3895        WEITZ & LUXENBERG, PC
CONDON               KIM C                 NY         02106693         WEITZ & LUXENBERG, PC                                CONNERS              DEBRA J               NY         02106578         WEITZ & LUXENBERG, PC
CONDUZIO             ARTHUR C              NY         02107099         WEITZ & LUXENBERG, PC                                CONNERS              JEFFERY L             NY         02106578         WEITZ & LUXENBERG, PC
CONDUZIO             BRIDGET               NY         02107099         WEITZ & LUXENBERG, PC                                CONNOLE              ANDREW V              NY         11356702         WEITZ & LUXENBERG, PC
CONENNA              VINCENZO              NY         10560000         WEITZ & LUXENBERG, PC                                CONNOLE              GENEVIEVE             NY         11356702         WEITZ & LUXENBERG, PC
CONFER               JAMES                 NY         12668202         WEITZ & LUXENBERG, PC                                CONNOLLY             ANNE B                NY         10593601         WEITZ & LUXENBERG, PC
CONFORTI             CHARLES               NY         02106508         WEITZ & LUXENBERG, PC                                CONNOLLY             HIRAM M               NY         11119499         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 895
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 230 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CONNOLLY             KEVIN T               NY         12043201         WEITZ & LUXENBERG, PC                                CONTI                PAUL E                NY         10428300         WEITZ & LUXENBERG, PC
CONNOLLY             LORRAINE              NY         11119499         WEITZ & LUXENBERG, PC                                CONTI                VITO                  NY         I20012489        WEITZ & LUXENBERG, PC
CONNOLLY             MARY ANN              NY         12039001         WEITZ & LUXENBERG, PC                                CONTICELLI           PAULA                 NY         10404401         WEITZ & LUXENBERG, PC
CONNOLLY             MARY DOLORES          NY         11007200         WEITZ & LUXENBERG, PC                                CONTINO              EDWARD J              NY         99118413         WEITZ & LUXENBERG, PC
CONNOLLY             MATTHEW C             NY         10593601         WEITZ & LUXENBERG, PC                                CONTINO              FELICE                NY         99118413         WEITZ & LUXENBERG, PC
CONNOLLY             MICHAEL F             NY         12039001         WEITZ & LUXENBERG, PC                                CONTINO              INCORONATA            NY         01111234         WEITZ & LUXENBERG, PC
CONNOLLY             RITA                  NY         12043201         WEITZ & LUXENBERG, PC                                CONTINO              INCORONATA            NY         11925201         WEITZ & LUXENBERG, PC
CONNOLLY             THOMAS                NY         11007200         WEITZ & LUXENBERG, PC                                CONTINO              NANCY                 NY         01111234         WEITZ & LUXENBERG, PC
CONNOLY              FRANK                 NY         12788802         WEITZ & LUXENBERG, PC                                CONTINO              NANCY                 NY         11925201         WEITZ & LUXENBERG, PC
CONNOLY              FRIEDE                NY         12788802         WEITZ & LUXENBERG, PC                                CONTINO              NUNZIANTE             NY         01111234         WEITZ & LUXENBERG, PC
CONNOR               DAISY                 NY         12039401         WEITZ & LUXENBERG, PC                                CONTINO              NUNZIANTE             NY         11925201         WEITZ & LUXENBERG, PC
CONNOR               ROBERT W              NY         11137803         WEITZ & LUXENBERG, PC                                CONTO                DANIEL R              NY         10593201         WEITZ & LUXENBERG, PC
CONNOR               THOMAS W              NY         12039401         WEITZ & LUXENBERG, PC                                CONTO                ROSE                  NY         10593201         WEITZ & LUXENBERG, PC
CONNORS              JAMES                 NY         10592301         WEITZ & LUXENBERG, PC                                CONTOIS              BEVERLY               NY         11531003         WEITZ & LUXENBERG, PC
CONNORS              JESSIE                NY         10587102         WEITZ & LUXENBERG, PC                                CONTOIS              RAYMOND               NY         11531003         WEITZ & LUXENBERG, PC
CONNORS              JOHN W                NY         99114755         WEITZ & LUXENBERG, PC                                CONVERSE             MERLE LAVERNE         NY         02105718         WEITZ & LUXENBERG, PC
CONNORS              MARY L                NY         99114755         WEITZ & LUXENBERG, PC                                CONWAY               HELEN                 NY         10680702         WEITZ & LUXENBERG, PC
CONNORS              MATTHEW P             NY         10587102         WEITZ & LUXENBERG, PC                                CONWAY               JOHN J                NY         10605799         WEITZ & LUXENBERG, PC
CONNORS              MICHAEL D             NY         99114755         WEITZ & LUXENBERG, PC                                CONWAY               JOHN J                NY         11026702         WEITZ & LUXENBERG, PC
CONNORS              PATRICIA              NY         10722002         WEITZ & LUXENBERG, PC                                CONWAY               MARY                  NY         98118229         WEITZ & LUXENBERG, PC
CONNORS              PATRICK E             NY         10722002         WEITZ & LUXENBERG, PC                                CONWAY               MICHAEL               NY         98118229         WEITZ & LUXENBERG, PC
CONNORS              ROBERT                NY         10592301         WEITZ & LUXENBERG, PC                                CONWAY               NORA                  NY         10605799         WEITZ & LUXENBERG, PC
CONOLLY              ELVET                 NY         1901112013       WEITZ & LUXENBERG, PC                                CONWAY               PHYLLIS               NY         11119599         WEITZ & LUXENBERG, PC
CONOLLY              FRANSCENE             NY         1902132019       WEITZ & LUXENBERG, PC                                CONWAY               STEVE P               NY         11758802         WEITZ & LUXENBERG, PC
CONOLLY              HINTON R              NY         1902132019       WEITZ & LUXENBERG, PC                                CONWAY               WILLIAM A             NY         10680702         WEITZ & LUXENBERG, PC
CONOLLY              SUSAN                 NY         1901112013       WEITZ & LUXENBERG, PC                                CONWELL              JOHN T                NY         10562500         WEITZ & LUXENBERG, PC
CONRAD               ALBERT C              NY         1900682015       WEITZ & LUXENBERG, PC                                CONWELL              MARY P                NY         10562500         WEITZ & LUXENBERG, PC
CONRAD               ANDREW H              NY         1902392012       WEITZ & LUXENBERG, PC                                COOGAN               BARBARA               NY         02107099         WEITZ & LUXENBERG, PC
CONRAD               CLARK W               NY         10593501         WEITZ & LUXENBERG, PC                                COOGAN               JAMES E               NY         02107099         WEITZ & LUXENBERG, PC
CONRAD               FRANCIS               NY         10593401         WEITZ & LUXENBERG, PC                                COOHILL              CATHERINE             NY         10562400         WEITZ & LUXENBERG, PC
CONRAD               FRANK                 NY         10562100         WEITZ & LUXENBERG, PC                                COOHILL              THOMAS                NY         10562400         WEITZ & LUXENBERG, PC
CONRAD               HARRIET               NY         10593501         WEITZ & LUXENBERG, PC                                COOK                 AGNES                 NY         10562300         WEITZ & LUXENBERG, PC
CONRAD               HERBERT F             NY         11822698         WEITZ & LUXENBERG, PC                                COOK                 ALLEN D               NY         1902672012       WEITZ & LUXENBERG, PC
CONRAD               JOHN W                NY         10593401         WEITZ & LUXENBERG, PC                                COOK                 ANNA                  NY         11007000         WEITZ & LUXENBERG, PC
CONRAD               LAWRENCE A            NY         10562000         WEITZ & LUXENBERG, PC                                COOK                 CAROLYN H             NY         10658102         WEITZ & LUXENBERG, PC
CONRAD               MADELINE              NY         1902392012       WEITZ & LUXENBERG, PC                                COOK                 DEBORA                NY         CV017789         WEITZ & LUXENBERG, PC
CONRAD               MONICA D              NY         99120444         WEITZ & LUXENBERG, PC                                COOK                 DELIA                 NY         12788702         WEITZ & LUXENBERG, PC
CONRAD               ROBERT B              NY         99120444         WEITZ & LUXENBERG, PC                                COOK                 EARL W                NY         10696302         WEITZ & LUXENBERG, PC
CONRAD               WILLBY E              NY         10562100         WEITZ & LUXENBERG, PC                                COOK                 FLORENCE              NY         10587402         WEITZ & LUXENBERG, PC
CONROY               ELLEN                 NY         12693502         WEITZ & LUXENBERG, PC                                COOK                 FLORENCE L            NY         10587402         WEITZ & LUXENBERG, PC
CONROY               JACQUELINE            NY         12693502         WEITZ & LUXENBERG, PC                                COOK                 GLENDA                NY         1902672012       WEITZ & LUXENBERG, PC
CONROY               JAMES                 NY         02107007         WEITZ & LUXENBERG, PC                                COOK                 GORDON L SR           NY         11007000         WEITZ & LUXENBERG, PC
CONROY               JAMES                 NY         12693702         WEITZ & LUXENBERG, PC                                COOK                 HAROLD F              NY         10587402         WEITZ & LUXENBERG, PC
CONROY               JOHN                  NY         12693502         WEITZ & LUXENBERG, PC                                COOK                 HENRY J               NY         12039401         WEITZ & LUXENBERG, PC
CONROY               LORETTA               NY         12693702         WEITZ & LUXENBERG, PC                                COOK                 JAMES NEAL            NY         CV017789         WEITZ & LUXENBERG, PC
CONROY               THOMAS FRANCIS        NY         12693502         WEITZ & LUXENBERG, PC                                COOK                 JEAN                  NY         11026702         WEITZ & LUXENBERG, PC
CONSIGLIO            JOHN S                NY         10023203         WEITZ & LUXENBERG, PC                                COOK                 JOHN T                NY         10563200         WEITZ & LUXENBERG, PC
CONSILVIO            ANGELINA              NY         10561900         WEITZ & LUXENBERG, PC                                COOK                 KATHLEEN              NY         1900152014       WEITZ & LUXENBERG, PC
CONSILVIO            ANGELO                NY         10561900         WEITZ & LUXENBERG, PC                                COOK                 KENNETH W             NY         10658102         WEITZ & LUXENBERG, PC
CONTARINO            MARGARET              NY         10562200         WEITZ & LUXENBERG, PC                                COOK                 LE ROY R              NY         11026702         WEITZ & LUXENBERG, PC
CONTARINO            SALVATORE             NY         10562200         WEITZ & LUXENBERG, PC                                COOK                 LEO                   NY         10563100         WEITZ & LUXENBERG, PC
CONTE                ALEXANDER             NY         10428400         WEITZ & LUXENBERG, PC                                COOK                 LORETTA               NY         11717200         WEITZ & LUXENBERG, PC
CONTE                DOMINIC A             NY         10892699         WEITZ & LUXENBERG, PC                                COOK                 MARION CREE           NY         10563200         WEITZ & LUXENBERG, PC
CONTE                LOUISE                NY         02106690         WEITZ & LUXENBERG, PC                                COOK                 MAX W                 NY         1900152014       WEITZ & LUXENBERG, PC
CONTE                LOUISE                NY         11379102         WEITZ & LUXENBERG, PC                                COOK                 MERVIN J              NY         11717200         WEITZ & LUXENBERG, PC
CONTE                SHERRY                NY         10428400         WEITZ & LUXENBERG, PC                                COOK                 NATHANIEL             NY         01111224         WEITZ & LUXENBERG, PC
CONTELLO             AGNES                 NY         10562600         WEITZ & LUXENBERG, PC                                COOK                 RICHARD               NY         12788702         WEITZ & LUXENBERG, PC
CONTELLO             SAL                   NY         10562600         WEITZ & LUXENBERG, PC                                COOK                 RICHARD A             NY         10587402         WEITZ & LUXENBERG, PC
CONTER               ERMINIA               NY         10652604         WEITZ & LUXENBERG, PC                                COOK                 ROBERT E              NY         1904532013       WEITZ & LUXENBERG, PC
CONTER               JOHN                  NY         10652604         WEITZ & LUXENBERG, PC                                COOK                 SUSAN                 NY         01111224         WEITZ & LUXENBERG, PC
CONTI                ANGELO M              NY         10024208         WEITZ & LUXENBERG, PC                                COOK                 THERESA E             NY         12039401         WEITZ & LUXENBERG, PC
CONTI                ANTHONY               NY         11007100         WEITZ & LUXENBERG, PC                                COOK                 WILLIAM J             NY         10562300         WEITZ & LUXENBERG, PC
CONTI                BONNIE                NY         10428300         WEITZ & LUXENBERG, PC                                COOK                 WILLIAM JOSEPH        NY         10562300         WEITZ & LUXENBERG, PC
CONTI                CARMELO J             NY         12039201         WEITZ & LUXENBERG, PC                                COOK                 WILLIE J              NY         CV013921         WEITZ & LUXENBERG, PC
CONTI                DOMINICK M            NY         10593301         WEITZ & LUXENBERG, PC                                COOKE                BETH                  NY         10605899         WEITZ & LUXENBERG, PC
CONTI                GRACE                 NY         10593301         WEITZ & LUXENBERG, PC                                COOKE                JOHN                  NY         01111229         WEITZ & LUXENBERG, PC
CONTI                GRACE                 NY         I20012489        WEITZ & LUXENBERG, PC                                COOKE                TERRANCE J            NY         10605899         WEITZ & LUXENBERG, PC
CONTI                JOSEPH                NY         11717100         WEITZ & LUXENBERG, PC                                COOKINGHAM           HAROLD C              NY         10428200         WEITZ & LUXENBERG, PC
CONTI                KAREN                 NY         10024208         WEITZ & LUXENBERG, PC                                COOKINGHAM           LINDA                 NY         10428200         WEITZ & LUXENBERG, PC
CONTI                MARY JEAN             NY         11717100         WEITZ & LUXENBERG, PC                                COOL                 ALAN                  NY         19007712         WEITZ & LUXENBERG, PC
CONTI                OLGA ANN              NY         11007100         WEITZ & LUXENBERG, PC                                COOL                 LOUISE                NY         19007712         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 896
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 231 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COOLEY               JAMES L               NY         98118160         WEITZ & LUXENBERG, PC                                CORBETT              JOSEPH                NY         1902722019       WEITZ & LUXENBERG, PC
COOLEY               LINDA J               NY         98118160         WEITZ & LUXENBERG, PC                                CORBETT              LINDA                 NY         10736002         WEITZ & LUXENBERG, PC
COOLIDGE             GEORGE H              NY         02113280         WEITZ & LUXENBERG, PC                                CORBISHLEY           AGNES                 NY         CV018404         WEITZ & LUXENBERG, PC
COOLIDGE             VIRGINIA M            NY         02113280         WEITZ & LUXENBERG, PC                                CORBISHLEY           JOE DON               NY         CV018404         WEITZ & LUXENBERG, PC
COOMER               CHRISTIAN A           NY         12042901         WEITZ & LUXENBERG, PC                                CORCHADO             ANGEL                 NY         01111227         WEITZ & LUXENBERG, PC
COOMER               CHRISTIAN A           NY         10061702         WEITZ & LUXENBERG, PC                                CORCORAN             JAMES P               NY         11475199         WEITZ & LUXENBERG, PC
COONEY               CARL H                NY         11006900         WEITZ & LUXENBERG, PC                                CORCORAN             JOHN J                NY         11475099         WEITZ & LUXENBERG, PC
COONEY               MARJORIE L            NY         11006900         WEITZ & LUXENBERG, PC                                CORCORAN             KIERAN                NY         02106690         WEITZ & LUXENBERG, PC
COONEY               MICHAEL               NY         10933702         WEITZ & LUXENBERG, PC                                CORCORAN             MARGARET              NY         11475099         WEITZ & LUXENBERG, PC
COONEY               TERESA M              NY         10933702         WEITZ & LUXENBERG, PC                                CORCORAN             MARGARET              NY         11475199         WEITZ & LUXENBERG, PC
COONRADT             CHARLES H             NY         11026702         WEITZ & LUXENBERG, PC                                CORCORAN             PATRICK               NY         98118161         WEITZ & LUXENBERG, PC
COONRADT             EVELYN                NY         11026702         WEITZ & LUXENBERG, PC                                CORCORAN             PATRICK J             NY         98118161         WEITZ & LUXENBERG, PC
COONRADT             ROBERT F              NY         10605999         WEITZ & LUXENBERG, PC                                CORCORAN             THOMAS F              NY         I20019072        WEITZ & LUXENBERG, PC
COONRADT             VICKI                 NY         10605999         WEITZ & LUXENBERG, PC                                CORDA                CATHERINE R           NY         12039601         WEITZ & LUXENBERG, PC
COONS                JOAN                  NY         11026902         WEITZ & LUXENBERG, PC                                CORDA                IGNAZIO               NY         12039601         WEITZ & LUXENBERG, PC
COONS                JUNE                  NY         10606099         WEITZ & LUXENBERG, PC                                CORDELL              DONALD W              NY         19004209         WEITZ & LUXENBERG, PC
COONS                MARY                  NY         10593101         WEITZ & LUXENBERG, PC                                CORDIER              DONALD                NY         10593901         WEITZ & LUXENBERG, PC
COONS                PETER                 NY         10593101         WEITZ & LUXENBERG, PC                                CORDIER              JOSEPHINE             NY         10593901         WEITZ & LUXENBERG, PC
COONS                ROBERT J              NY         11026902         WEITZ & LUXENBERG, PC                                CORDINER             CAROL                 NY         10593801         WEITZ & LUXENBERG, PC
COONS                ROBERT V              NY         10606099         WEITZ & LUXENBERG, PC                                CORDINER             WALTER                NY         10593801         WEITZ & LUXENBERG, PC
COOPER               ANITA                 NY         10606199         WEITZ & LUXENBERG, PC                                CORE                 DEBORAH               NY         CV025616         WEITZ & LUXENBERG, PC
COOPER               BEVERLY A             NY         10696302         WEITZ & LUXENBERG, PC                                CORKER               JAMES H               NY         99103856         WEITZ & LUXENBERG, PC
COOPER               CLARENCE              NY         01111229         WEITZ & LUXENBERG, PC                                CORKER               REGINA                NY         99103856         WEITZ & LUXENBERG, PC
COOPER               CLARENCE E            NY         20019879         WEITZ & LUXENBERG, PC                                CORLETT              LAWFORD J             NY         12039601         WEITZ & LUXENBERG, PC
COOPER               CUBA D                NY         1902212017       WEITZ & LUXENBERG, PC                                CORLETT              MURIEL                NY         12039601         WEITZ & LUXENBERG, PC
COOPER               CURTIS WARREN         NY         99114753         WEITZ & LUXENBERG, PC                                CORLEW               THOMAS F              NY         10562800         WEITZ & LUXENBERG, PC
COOPER               DEBRA                 NY         10428100         WEITZ & LUXENBERG, PC                                CORLEW               WILLIAM               NY         10562800         WEITZ & LUXENBERG, PC
COOPER               DON                   NY         CV013921         WEITZ & LUXENBERG, PC                                CORMACK              MARGARET M            NY         11975901         WEITZ & LUXENBERG, PC
COOPER               ETHEL                 NY         10563000         WEITZ & LUXENBERG, PC                                CORMACK              MARGARET M            NY         11123201         WEITZ & LUXENBERG, PC
COOPER               EVELEAN B             NY         CV013921         WEITZ & LUXENBERG, PC                                CORMACK              PATRICK A             NY         11975901         WEITZ & LUXENBERG, PC
COOPER               GEORGE R              NY         10428100         WEITZ & LUXENBERG, PC                                CORMACK              PATRICK A             NY         11123201         WEITZ & LUXENBERG, PC
COOPER               HOWARD GENE           NY         01CIV3895        WEITZ & LUXENBERG, PC                                CORNACCHIA           DOMINICK              NY         19002009         WEITZ & LUXENBERG, PC
COOPER               JAMES F               NY         10606199         WEITZ & LUXENBERG, PC                                CORNELIUS            BRADLEY               NY         10427800         WEITZ & LUXENBERG, PC
COOPER               JOANN                 NY         11006800         WEITZ & LUXENBERG, PC                                CORNELIUS            GERALD C              NY         10427800         WEITZ & LUXENBERG, PC
COOPER               JOSEPH                NY         10563000         WEITZ & LUXENBERG, PC                                CORNELIUS            MARY JO               NY         10716902         WEITZ & LUXENBERG, PC
COOPER               JOSEPH W              NY         10722202         WEITZ & LUXENBERG, PC                                CORNELIUS            WILLIE                NY         10716902         WEITZ & LUXENBERG, PC
COOPER               KAY                   NY         01CIV3895        WEITZ & LUXENBERG, PC                                CORNELL              BLAND                 NY         10008703         WEITZ & LUXENBERG, PC
COOPER               KENNETH A             NY         11006800         WEITZ & LUXENBERG, PC                                CORNELL              MARGARET              NY         10008703         WEITZ & LUXENBERG, PC
COOPER               MARY LOU              NY         10592901         WEITZ & LUXENBERG, PC                                CORNWALL             BRUCE                 PA         181200934        WEITZ & LUXENBERG, PC
COOPER               MATTIE B              NY         10606299         WEITZ & LUXENBERG, PC                                CORNWALL             FRANK H               NY         1900082019       WEITZ & LUXENBERG, PC
COOPER               OMER                  NY         10592901         WEITZ & LUXENBERG, PC                                CORNWALL             LINDA                 PA         181200934        WEITZ & LUXENBERG, PC
COOPER               RAYMOND               NY         1902212017       WEITZ & LUXENBERG, PC                                CORONA               FRANK                 NY         12038901         WEITZ & LUXENBERG, PC
COOPER               RICHARD               NY         CV013921         WEITZ & LUXENBERG, PC                                CORONA               ROBERTA               NY         12038901         WEITZ & LUXENBERG, PC
COOPER               ROSIE H               NY         CV013921         WEITZ & LUXENBERG, PC                                CORONADO             DORA                  NY         11006700         WEITZ & LUXENBERG, PC
COOPER               SEBERT                NY         01111229         WEITZ & LUXENBERG, PC                                CORONADO             MIKE                  NY         11006700         WEITZ & LUXENBERG, PC
COOPER               SHIRLEY               NY         20019879         WEITZ & LUXENBERG, PC                                CORONATO             ANTHONY C             NY         01111230         WEITZ & LUXENBERG, PC
COOPER               THOMAS                NY         98111408         WEITZ & LUXENBERG, PC                                CORR                 DOLORES               NY         11939700         WEITZ & LUXENBERG, PC
COPE                 MARSHALL A            NY         CV013921         WEITZ & LUXENBERG, PC                                CORR                 ELIZABETH             NY         12039301         WEITZ & LUXENBERG, PC
COPE                 NAOMI                 NY         CV013921         WEITZ & LUXENBERG, PC                                CORR                 HOWARD                NY         12039301         WEITZ & LUXENBERG, PC
COPELAND             GAIL                  NY         CV021553         WEITZ & LUXENBERG, PC                                CORR                 TURNAGE W             NY         11939700         WEITZ & LUXENBERG, PC
COPICOTTO            ANTHONY               NY         10428000         WEITZ & LUXENBERG, PC                                CORRA                DAVE P                NY         10870801         WEITZ & LUXENBERG, PC
COPICOTTO            CAMILLE               NY         10428000         WEITZ & LUXENBERG, PC                                CORRA                GIACINTO              NY         11006600         WEITZ & LUXENBERG, PC
COPPERSMITH          MARIA                 NY         11026902         WEITZ & LUXENBERG, PC                                CORRA                LAURIE                NY         10870801         WEITZ & LUXENBERG, PC
COPPERSMITH          MORRIS                NY         11026902         WEITZ & LUXENBERG, PC                                CORRA                MARY                  NY         11006600         WEITZ & LUXENBERG, PC
COPPO                DOMENICK              NY         99106076         WEITZ & LUXENBERG, PC                                CORRADO              BARBARA               NY         11624701         WEITZ & LUXENBERG, PC
COPPO                MARIE                 NY         99106076         WEITZ & LUXENBERG, PC                                CORRADO              BARBARA               NY         01111221         WEITZ & LUXENBERG, PC
COPPOLA              AMELIA                NY         10562900         WEITZ & LUXENBERG, PC                                CORRADO              MARTIN V              NY         11008100         WEITZ & LUXENBERG, PC
COPPOLA              ANDREW L              NY         I200110281       WEITZ & LUXENBERG, PC                                CORRAO               JOHN                  NY         10576606         WEITZ & LUXENBERG, PC
COPPOLA              ANTONINO              NY         11475299         WEITZ & LUXENBERG, PC                                CORREA               JESENIA               NY         1901662015       WEITZ & LUXENBERG, PC
COPPOLA              FRANCA                NY         11475299         WEITZ & LUXENBERG, PC                                CORREA RODRIGUEZ     LUIS A                NY         1901662015       WEITZ & LUXENBERG, PC
COPPOLA              KATHERINE             NY         12693402         WEITZ & LUXENBERG, PC                                CORREIA              EDUARDO A             NY         10670602         WEITZ & LUXENBERG, PC
COPPOLA              MADELINE              NY         01111225         WEITZ & LUXENBERG, PC                                CORRENTE             DOLORES               NY         01111234         WEITZ & LUXENBERG, PC
COPPOLA              MADELINE              NY         11807101         WEITZ & LUXENBERG, PC                                CORRENTE             DOLORES               NY         11925301         WEITZ & LUXENBERG, PC
COPPOLA              MICHAEL               NY         12693402         WEITZ & LUXENBERG, PC                                CORRENTE             FRANK J               NY         01111234         WEITZ & LUXENBERG, PC
COPPOLA              PATSY P               NY         10562900         WEITZ & LUXENBERG, PC                                CORRENTE             FRANK J               NY         11925301         WEITZ & LUXENBERG, PC
COPPOLA              ROBERT A              NY         10090005         WEITZ & LUXENBERG, PC                                CORRENTE             IDA                   NY         10563500         WEITZ & LUXENBERG, PC
COPPOLA              ROSEANN               NY         10090005         WEITZ & LUXENBERG, PC                                CORRENTE             LINDA                 NY         10563600         WEITZ & LUXENBERG, PC
COPPOLA              VINCENT JOSEPH        NY         01111225         WEITZ & LUXENBERG, PC                                CORRENTE             MARTIN                NY         10563600         WEITZ & LUXENBERG, PC
COPPOLA              VINCENT JOSEPH        NY         11807101         WEITZ & LUXENBERG, PC                                CORRENTE             MARTIN                NY         10563500         WEITZ & LUXENBERG, PC
CORBETIS             ANGELINA              NY         10560100         WEITZ & LUXENBERG, PC                                CORRENTE             MICHAEL               NY         10563500         WEITZ & LUXENBERG, PC
CORBETT              CLARENCE              NY         10736002         WEITZ & LUXENBERG, PC                                CORRETI              MICHAEL               NY         99111892         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 897
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 232 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CORRIGAN             DANIEL JAMES          NY         10700102         WEITZ & LUXENBERG, PC                                COSTA                JAMES A               NY         10571402         WEITZ & LUXENBERG, PC
CORRIGAN             DANIEL P              NY         99106034         WEITZ & LUXENBERG, PC                                COSTA                LUCY                  NY         12046201         WEITZ & LUXENBERG, PC
CORRIGAN             DOROTHY               NY         10685200         WEITZ & LUXENBERG, PC                                COSTA                MARIA GRAZIA          NY         10430000         WEITZ & LUXENBERG, PC
CORRIGAN             MARY A                NY         10736202         WEITZ & LUXENBERG, PC                                COSTA                SALVATORE             NY         10427600         WEITZ & LUXENBERG, PC
CORRIGAN             MICHAEL J             NY         10685200         WEITZ & LUXENBERG, PC                                COSTA                SALVATORE F           NY         10430000         WEITZ & LUXENBERG, PC
CORRIGAN             WILLIAM P             NY         10736202         WEITZ & LUXENBERG, PC                                COSTA                LUCY                  NY         12046201         WEITZ & LUXENBERG, PC
CORRIGAN-HANCOCK     DIANE                 NY         99106034         WEITZ & LUXENBERG, PC                                COSTANTINI           JOHN                  NY         10019101         WEITZ & LUXENBERG, PC
CORRIS               BARBARA               NY         11356702         WEITZ & LUXENBERG, PC                                COSTANTINI           MARY                  NY         10019101         WEITZ & LUXENBERG, PC
CORRIS               FRANK J               NY         11356702         WEITZ & LUXENBERG, PC                                COSTANTINO           FRED                  NY         10582500         WEITZ & LUXENBERG, PC
CORRON               ALLAN LEE             NY         10603399         WEITZ & LUXENBERG, PC                                COSTANTINO           FRED A                NY         10582500         WEITZ & LUXENBERG, PC
CORRON               EVA M                 NY         10603399         WEITZ & LUXENBERG, PC                                COSTANZA             AMEDEO T              NY         02106508         WEITZ & LUXENBERG, PC
CORSALE              ROSARIO               NY         11123101         WEITZ & LUXENBERG, PC                                COSTANZA             AMEDEO T              NY         11083902         WEITZ & LUXENBERG, PC
CORSARO              EUGENE L              NY         98118164         WEITZ & LUXENBERG, PC                                COSTANZA             ANNA                  NY         10073001         WEITZ & LUXENBERG, PC
CORSARO              GERALDINE             NY         98118164         WEITZ & LUXENBERG, PC                                COSTANZA             MICHAEL               NY         02106508         WEITZ & LUXENBERG, PC
CORSARO              PATRICK P             NY         12081400         WEITZ & LUXENBERG, PC                                COSTANZA             MICHAEL               NY         11083902         WEITZ & LUXENBERG, PC
CORSELLO             EVELYN                NY         1904762012       WEITZ & LUXENBERG, PC                                COSTANZO             ANGELO E              NY         11178004         WEITZ & LUXENBERG, PC
CORSELLO             FLORENCE              NY         11201004         WEITZ & LUXENBERG, PC                                COSTANZO             FRANK S               NY         11007700         WEITZ & LUXENBERG, PC
CORSELLO             PAUL J                NY         12213801         WEITZ & LUXENBERG, PC                                COSTANZO             GLORIA                NY         01111236         WEITZ & LUXENBERG, PC
CORSELLO             PAUL J                NY         10276502         WEITZ & LUXENBERG, PC                                COSTANZO             JOHN                  NY         1903842015       WEITZ & LUXENBERG, PC
CORSELLO             ROBERT                NY         11201004         WEITZ & LUXENBERG, PC                                COSTANZO             LINDA M               NY         11007700         WEITZ & LUXENBERG, PC
CORSELLO             WILLIAM               NY         1904762012       WEITZ & LUXENBERG, PC                                COSTANZO             MARIE L               NY         11178004         WEITZ & LUXENBERG, PC
CORSI                EDWARD                NY         01111225         WEITZ & LUXENBERG, PC                                COSTANZO             MICHAEL               NY         01111236         WEITZ & LUXENBERG, PC
CORSI                ERICA                 NY         01111225         WEITZ & LUXENBERG, PC                                COSTE                JOHN F                NY         02113280         WEITZ & LUXENBERG, PC
CORSINI              IRENE                 NY         10018801         WEITZ & LUXENBERG, PC                                COSTE                SUE ELLEN             NY         02113280         WEITZ & LUXENBERG, PC
CORSINI              LUCIANO J             NY         10018801         WEITZ & LUXENBERG, PC                                COSTELLO             ANN                   NY         10626199         WEITZ & LUXENBERG, PC
CORSO                AUGUSTUS R            NY         11327802         WEITZ & LUXENBERG, PC                                COSTELLO             FRANCES               NY         11399999         WEITZ & LUXENBERG, PC
CORSO                MARY                  NY         11327802         WEITZ & LUXENBERG, PC                                COSTELLO             FRANK                 NY         10626199         WEITZ & LUXENBERG, PC
CORSO                RICHARD S             PA         181101699        WEITZ & LUXENBERG, PC                                COSTELLO             JAMES J               NY         11924899         WEITZ & LUXENBERG, PC
CORSO                RUTH ANN              PA         181101699        WEITZ & LUXENBERG, PC                                COSTELLO             JANET                 NY         10378805         WEITZ & LUXENBERG, PC
CORTESE              ANTHONY D             NY         10645702         WEITZ & LUXENBERG, PC                                COSTELLO             MARY                  NY         11924899         WEITZ & LUXENBERG, PC
CORTESE              CATERINA              NY         10566604         WEITZ & LUXENBERG, PC                                COSTELLO             MICHAEL J             NY         02105715         WEITZ & LUXENBERG, PC
CORTESE              FELICE                NY         10566604         WEITZ & LUXENBERG, PC                                COSTELLO             NANCY                 NY         02105715         WEITZ & LUXENBERG, PC
CORTESE              JANICE A              NY         10645702         WEITZ & LUXENBERG, PC                                COSTELLO             NANCY T               NY         10429800         WEITZ & LUXENBERG, PC
CORTOPASSI           JEANNE                NY         10018901         WEITZ & LUXENBERG, PC                                COSTELLO             SALVATORE             NY         10429800         WEITZ & LUXENBERG, PC
CORTOPASSI           MARIO                 NY         10018901         WEITZ & LUXENBERG, PC                                COSTELLO             THOMAS MICHAEL        NY         11399999         WEITZ & LUXENBERG, PC
CORULLI              ANTHONY               NY         11476099         WEITZ & LUXENBERG, PC                                COSTELLO             WILLIAM H             NY         10378805         WEITZ & LUXENBERG, PC
CORULLI              EVE                   NY         11476099         WEITZ & LUXENBERG, PC                                COSTIGLIO            JAMES                 NY         99106260         WEITZ & LUXENBERG, PC
CORWIN               ALICE                 NY         11008000         WEITZ & LUXENBERG, PC                                COSTLEIGH            DONALD M              NY         01111234         WEITZ & LUXENBERG, PC
CORWIN               ALICE RITA            NY         01111221         WEITZ & LUXENBERG, PC                                COSTLEIGH            DONALD M              NY         11923201         WEITZ & LUXENBERG, PC
CORWIN               WENDELL               NY         11008000         WEITZ & LUXENBERG, PC                                COSTLEIGH            REGINA                NY         01111234         WEITZ & LUXENBERG, PC
CORWIN               WENDELL AUSTIN        NY         01111221         WEITZ & LUXENBERG, PC                                COSTLEIGH            REGINA                NY         11923201         WEITZ & LUXENBERG, PC
CORY                 DOMINIC F             NY         10019001         WEITZ & LUXENBERG, PC                                COSTLOW              JOANN L               NY         10538502         WEITZ & LUXENBERG, PC
CORY                 JOSEPH R              NY         I20019324        WEITZ & LUXENBERG, PC                                COSTLOW              JOHN L                NY         10538502         WEITZ & LUXENBERG, PC
CORY                 RICHARD               NY         I20019324        WEITZ & LUXENBERG, PC                                COTCAMP              ELBERTA A             NY         10670602         WEITZ & LUXENBERG, PC
CORY                 RITA                  NY         10019001         WEITZ & LUXENBERG, PC                                COTCAMP              ELBERTA A             NY         11488702         WEITZ & LUXENBERG, PC
COSBEY               DANIEL C              NY         11007900         WEITZ & LUXENBERG, PC                                COTCAMP              MARON C               NY         10670602         WEITZ & LUXENBERG, PC
COSBEY               DEBORAH               NY         11007900         WEITZ & LUXENBERG, PC                                COTCAMP              MARON C               NY         11488702         WEITZ & LUXENBERG, PC
COSBEY               NANETTE L             NY         10606799         WEITZ & LUXENBERG, PC                                COTE                 BERDINA               NY         12301301         WEITZ & LUXENBERG, PC
COSBEY               THOMAS W              NY         10606799         WEITZ & LUXENBERG, PC                                COTE                 CLARENCE              NY         12301301         WEITZ & LUXENBERG, PC
COSBY                MAGGIE                NY         12042901         WEITZ & LUXENBERG, PC                                COTHERN              JOHN BURL             NY         CV014636         WEITZ & LUXENBERG, PC
COSBY                MAGGIE                NY         10061402         WEITZ & LUXENBERG, PC                                COTHRON              DOROTHY M             NY         11400099         WEITZ & LUXENBERG, PC
COSENTINO            MARY J                NY         06112804         WEITZ & LUXENBERG, PC                                COTHRON              JAMES NOLAN           NY         11400099         WEITZ & LUXENBERG, PC
COSENTINO            PHILIP                NY         06112804         WEITZ & LUXENBERG, PC                                COTHRON JR           JAMES NOLAN           NY         11400099         WEITZ & LUXENBERG, PC
COSGRIFF             JOHN R                NY         1901212017       WEITZ & LUXENBERG, PC                                COTTER               JAMES                 NY         12039001         WEITZ & LUXENBERG, PC
COSGRIFF             ROSEMARY              NY         1901212017       WEITZ & LUXENBERG, PC                                COTTER               MARY                  NY         12039001         WEITZ & LUXENBERG, PC
COSGROVE             PATRICIA              NY         12039501         WEITZ & LUXENBERG, PC                                COTTOM               BLAINE L              NY         10658102         WEITZ & LUXENBERG, PC
COSGROVE             THOMAS E              NY         12039501         WEITZ & LUXENBERG, PC                                COTTOM               BLAINE L              NY         11391102         WEITZ & LUXENBERG, PC
COSIER               WAYNE ALAN            NY         10740402         WEITZ & LUXENBERG, PC                                COTTOM               JEAN HELEN            NY         10658102         WEITZ & LUXENBERG, PC
COSME                CARMEN                NY         11007800         WEITZ & LUXENBERG, PC                                COTTOM               JEAN HELEN            NY         11391102         WEITZ & LUXENBERG, PC
COSME                CRISTINA              NY         10582600         WEITZ & LUXENBERG, PC                                COTTON               CARRIE                NY         CV014136         WEITZ & LUXENBERG, PC
COSME                HARRIS A              NY         11007800         WEITZ & LUXENBERG, PC                                COTTON               HOMER E               NY         CV021054         WEITZ & LUXENBERG, PC
COSME                LUIS                  NY         10582600         WEITZ & LUXENBERG, PC                                COTTON               JOHNNY                NY         CV014136         WEITZ & LUXENBERG, PC
COSSARO              JAMES J               NY         11159303         WEITZ & LUXENBERG, PC                                COTTON               TREVA                 NY         CV021054         WEITZ & LUXENBERG, PC
COSSARO              PATRICIA              NY         11159303         WEITZ & LUXENBERG, PC                                COTTONE              ROSALIE               NY         1901892019       WEITZ & LUXENBERG, PC
COSSEY               CHARLES               NY         11616904         WEITZ & LUXENBERG, PC                                COTTONE              SALVATORE L           NY         1901892019       WEITZ & LUXENBERG, PC
COSSEY               CHARLES M             NY         10039603         WEITZ & LUXENBERG, PC                                COTUGNO              PATRICK A             NY         1903182017       WEITZ & LUXENBERG, PC
COSSEY               NORMA                 NY         11616904         WEITZ & LUXENBERG, PC                                COUCH                LARRY                 NY         1900682013       WEITZ & LUXENBERG, PC
COSTA                ALMA                  NY         10427600         WEITZ & LUXENBERG, PC                                COUCH                MARILYN               NY         10581200         WEITZ & LUXENBERG, PC
COSTA                ANGELO                NY         11056306         WEITZ & LUXENBERG, PC                                COUCH                RICHARD J             NY         10581200         WEITZ & LUXENBERG, PC
COSTA                ANN                   NY         10427600         WEITZ & LUXENBERG, PC                                COUCH                ROSALIE               NY         1900682013       WEITZ & LUXENBERG, PC
COSTA                JAMES A               NY         11179902         WEITZ & LUXENBERG, PC                                COUGHLAN             BRIDGET               NY         1904702012       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 898
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 233 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COUGHLAN             CHRISTOPHER           NY         11565107         WEITZ & LUXENBERG, PC                                COYKENDALL           GARY S                NY         10740402         WEITZ & LUXENBERG, PC
COUGHLAN             MICHAEL               NY         1904702012       WEITZ & LUXENBERG, PC                                COYLE                JOSEPH                NY         11159003         WEITZ & LUXENBERG, PC
COUGHLIN             BARBARA ANNE          NY         10234705         WEITZ & LUXENBERG, PC                                COYLE                PATRICK M             NY         10580700         WEITZ & LUXENBERG, PC
COUGHLIN             BENJAMIN              NY         10034103         WEITZ & LUXENBERG, PC                                COYNE                CHRISTINA             NY         10580600         WEITZ & LUXENBERG, PC
COUGHLIN             JOHN                  NY         10234705         WEITZ & LUXENBERG, PC                                COYNE                JOHN J                NY         10580600         WEITZ & LUXENBERG, PC
COUGHLIN             JUNE                  NY         10034103         WEITZ & LUXENBERG, PC                                COYNE                MARTIN J              NY         98118213         WEITZ & LUXENBERG, PC
COUILLOU             LAUREL LYNN           NY         12444102         WEITZ & LUXENBERG, PC                                COYNE                THOMAS J              NY         02107102         WEITZ & LUXENBERG, PC
COUILLOU             THEODORE R            NY         12444102         WEITZ & LUXENBERG, PC                                COZIN                BRUNO                 NY         10625499         WEITZ & LUXENBERG, PC
COULTER              CHARLES               NY         10626699         WEITZ & LUXENBERG, PC                                COZZ                 MARY                  NY         99104162         WEITZ & LUXENBERG, PC
COULTER              MARGARET              NY         10581100         WEITZ & LUXENBERG, PC                                COZZOLINO            DOMINICK A            NY         11821498         WEITZ & LUXENBERG, PC
COULTER              VINCENT G             NY         10581100         WEITZ & LUXENBERG, PC                                COZZOLINO            LINDA L               NY         11821498         WEITZ & LUXENBERG, PC
COUNTS               EUGENE                NY         CV021264         WEITZ & LUXENBERG, PC                                CRABTREE             CLAUDINE              NY         11975801         WEITZ & LUXENBERG, PC
COUNTS               MARY LOU              NY         CV021264         WEITZ & LUXENBERG, PC                                CRABTREE             CLAUDINE              NY         11123201         WEITZ & LUXENBERG, PC
COURNEYA             MARTIN                NY         10581000         WEITZ & LUXENBERG, PC                                CRABTREE             GERALD W              NY         11975801         WEITZ & LUXENBERG, PC
COURNEYA             SHIRLEY               NY         10581000         WEITZ & LUXENBERG, PC                                CRABTREE             GERALD W              NY         11123201         WEITZ & LUXENBERG, PC
COURSEY              DIANA                 NY         CV023333         WEITZ & LUXENBERG, PC                                CRACKNELL            JANI                  NY         10548999         WEITZ & LUXENBERG, PC
COURSEY              MARVIN E              NY         CV023333         WEITZ & LUXENBERG, PC                                CRAGO                ELEANOR M             NY         10429900         WEITZ & LUXENBERG, PC
COURSON              MARIE ANN             NY         02107006         WEITZ & LUXENBERG, PC                                CRAGO                THOMAS R              NY         10429900         WEITZ & LUXENBERG, PC
COURSON              WARREN W              NY         02107006         WEITZ & LUXENBERG, PC                                CRAIG                CAROL A               NY         10539102         WEITZ & LUXENBERG, PC
COURTNEY             DONNA L               NY         97119410         WEITZ & LUXENBERG, PC                                CRAIG                PRINCE                NY         11007500         WEITZ & LUXENBERG, PC
COURTNEY             JEANETTE              NY         8004602014       WEITZ & LUXENBERG, PC                                CRAMER               CHARLES A             NY         10716902         WEITZ & LUXENBERG, PC
COURTNEY             JOHN F                NY         10019201         WEITZ & LUXENBERG, PC                                CRAMER               EILEEN                NY         10716902         WEITZ & LUXENBERG, PC
COURTNEY             JOHN J                NY         97119410         WEITZ & LUXENBERG, PC                                CRAMER               JAQUELINE J           NY         10587602         WEITZ & LUXENBERG, PC
COURTNEY             MARY C                NY         10019201         WEITZ & LUXENBERG, PC                                CRAMER               JAQUELINE J           NY         10969802         WEITZ & LUXENBERG, PC
COURTNEY             NORMAN B              NY         8004602014       WEITZ & LUXENBERG, PC                                CRAMER               PATRICIA              NY         11058900         WEITZ & LUXENBERG, PC
COUSINS              FREDIA                NY         11007600         WEITZ & LUXENBERG, PC                                CRAMER               PATRICIA              NY         10835600         WEITZ & LUXENBERG, PC
COUSINS              WILLIAM D             NY         11007600         WEITZ & LUXENBERG, PC                                CRAMER               RONALD WARD           NY         10587602         WEITZ & LUXENBERG, PC
COUTU                ANN MARIE             NY         02CIV1251        WEITZ & LUXENBERG, PC                                CRAMER               RONALD WARD           NY         10969802         WEITZ & LUXENBERG, PC
COUTU                BERNARD               NY         02CIV1251        WEITZ & LUXENBERG, PC                                CRANA                BARBARA A             NY         12219799         WEITZ & LUXENBERG, PC
COUTURIAUX           EMMA MAE              NY         10625699         WEITZ & LUXENBERG, PC                                CRANA                BARBARA A             NY         11440900         WEITZ & LUXENBERG, PC
COUTURIAUX           MARGARET              NY         11400199         WEITZ & LUXENBERG, PC                                CRANDALL             ANNE L                NY         10740102         WEITZ & LUXENBERG, PC
COUTURIAUX           ROBERT N              NY         11400199         WEITZ & LUXENBERG, PC                                CRANDALL             ANNE L                NY         11350302         WEITZ & LUXENBERG, PC
COVART               ALAN                  NY         10019301         WEITZ & LUXENBERG, PC                                CRANDALL             FREDERICK E           NY         10740102         WEITZ & LUXENBERG, PC
COVELLI              CAROL                 NY         02105716         WEITZ & LUXENBERG, PC                                CRANDALL             FREDERICK E           NY         11350302         WEITZ & LUXENBERG, PC
COVELLI              CAROL                 NY         10274602         WEITZ & LUXENBERG, PC                                CRANDALL             JEAN                  NY         10625599         WEITZ & LUXENBERG, PC
COVELLO              ANGELA                NY         99106259         WEITZ & LUXENBERG, PC                                CRANDALL             KENNETH E             NY         10625599         WEITZ & LUXENBERG, PC
COVELLO              ANTONIO               NY         99106259         WEITZ & LUXENBERG, PC                                CRANDON              DESMOND               NY         10580500         WEITZ & LUXENBERG, PC
COVENEY              DANIEL                NY         CV025139         WEITZ & LUXENBERG, PC                                CRANE                ELEANOR               NY         99114112         WEITZ & LUXENBERG, PC
COVENEY              DAVID                 NY         CV025139         WEITZ & LUXENBERG, PC                                CRANE                ELEANOR M             NY         10429700         WEITZ & LUXENBERG, PC
COVENEY              FRANCIS               NY         CV025139         WEITZ & LUXENBERG, PC                                CRANE                JOHN CLAUDE           NY         99113991         WEITZ & LUXENBERG, PC
COVERT               BEVERLY               NY         02105718         WEITZ & LUXENBERG, PC                                CRANE                JOSEPH                NY         10429700         WEITZ & LUXENBERG, PC
COVERT               DARREL C              NY         02105718         WEITZ & LUXENBERG, PC                                CRANE                JOSEPH PATRICK        NY         99114112         WEITZ & LUXENBERG, PC
COVERT               JAMES                 NY         19002511         WEITZ & LUXENBERG, PC                                CRANE                JULIE C               NY         99113991         WEITZ & LUXENBERG, PC
COVERT               SANDRA                NY         19002511         WEITZ & LUXENBERG, PC                                CRAPER               JOAN                  NY         19002311         WEITZ & LUXENBERG, PC
COVEY                ELLA MAY              NY         11356702         WEITZ & LUXENBERG, PC                                CRAPER               SAMUEL J              NY         19002311         WEITZ & LUXENBERG, PC
COVEY                ROBERT C              NY         11356702         WEITZ & LUXENBERG, PC                                CRAPSI               FRANCIS D             NY         99106339         WEITZ & LUXENBERG, PC
COVINGTON            ROBERT                NY         11579701         WEITZ & LUXENBERG, PC                                CRAPSI               MARY                  NY         99106339         WEITZ & LUXENBERG, PC
COVINGTON            ROBERT                NY         01111222         WEITZ & LUXENBERG, PC                                CRAVER               HERBERT               NY         10429500         WEITZ & LUXENBERG, PC
COVINO               ALBERT J              NY         02106693         WEITZ & LUXENBERG, PC                                CRAWFORD             ARTHUR                NY         10429400         WEITZ & LUXENBERG, PC
COVINO               DORIS G               NY         02106693         WEITZ & LUXENBERG, PC                                CRAWFORD             FRED                  NY         10019601         WEITZ & LUXENBERG, PC
COWAN                DONA L                NY         10072103         WEITZ & LUXENBERG, PC                                CRAWFORD             HELEN                 NY         10587102         WEITZ & LUXENBERG, PC
COWAN                JAMES J               NY         10072103         WEITZ & LUXENBERG, PC                                CRAWFORD             JAMES                 NY         10722102         WEITZ & LUXENBERG, PC
COWAN                JAMES K               NY         10670802         WEITZ & LUXENBERG, PC                                CRAWFORD             JAMES E               NY         10587102         WEITZ & LUXENBERG, PC
COWAN                MARIE J               NY         10670802         WEITZ & LUXENBERG, PC                                CRAWFORD             JAMES P               NY         01110685         WEITZ & LUXENBERG, PC
COWAN                MARY                  NY         CV015602         WEITZ & LUXENBERG, PC                                CRAWFORD             JOSEPH T              NY         11412899         WEITZ & LUXENBERG, PC
COWBURN              LEE JOANNE            NY         10019401         WEITZ & LUXENBERG, PC                                CRAWFORD             JUDITH                NY         10019701         WEITZ & LUXENBERG, PC
COWBURN              RONALD G              NY         10019401         WEITZ & LUXENBERG, PC                                CRAWFORD             LEWIS J               NY         10019701         WEITZ & LUXENBERG, PC
COX                  COTIS                 NY         CV013921         WEITZ & LUXENBERG, PC                                CRAWFORD             NANCY                 NY         10019601         WEITZ & LUXENBERG, PC
COX                  ELLA LOUISE           NY         CV013921         WEITZ & LUXENBERG, PC                                CRAWFORD             PATRICIA              NY         12444102         WEITZ & LUXENBERG, PC
COX                  GRACIE M              NY         10670602         WEITZ & LUXENBERG, PC                                CRAWFORD             ROBERT A              NY         10722102         WEITZ & LUXENBERG, PC
COX                  HUBERT                NY         10670602         WEITZ & LUXENBERG, PC                                CRAWFORD             ROBERT A              NY         11313002         WEITZ & LUXENBERG, PC
COX                  JOHN A                NY         12668202         WEITZ & LUXENBERG, PC                                CRAWFORD             ROBERT W              NY         12444102         WEITZ & LUXENBERG, PC
COX                  MARY                  NY         02107006         WEITZ & LUXENBERG, PC                                CRAWFORD             ROBERTA EVOY          NY         10722102         WEITZ & LUXENBERG, PC
COX                  NILES EDWARD          NY         02106693         WEITZ & LUXENBERG, PC                                CRAWFORD             ROBERTA EVOY          NY         11313002         WEITZ & LUXENBERG, PC
COX                  NORMAN A              NY         19003712         WEITZ & LUXENBERG, PC                                CRAWFORD             ROSE                  NY         11412899         WEITZ & LUXENBERG, PC
COX                  PATRICK M             NY         02107006         WEITZ & LUXENBERG, PC                                CRAWFORD             THOMAS J              NY         11412899         WEITZ & LUXENBERG, PC
COX                  RANDALL L             NY         10645702         WEITZ & LUXENBERG, PC                                CRAWLEY              AUDREY                NY         19028210         WEITZ & LUXENBERG, PC
COX                  RENEE                 NY         19003712         WEITZ & LUXENBERG, PC                                CRAWLEY              LINWOOD               NY         19028210         WEITZ & LUXENBERG, PC
COX                  ROBERT L              NY         02106709         WEITZ & LUXENBERG, PC                                CREACH               JOHN DEMPSEY          NY         CV024441         WEITZ & LUXENBERG, PC
COX                  ROOSEVELT             NY         CV003590         WEITZ & LUXENBERG, PC                                CREACH               LOIS                  NY         CV024441         WEITZ & LUXENBERG, PC
COX                  SUSAN                 NY         12668202         WEITZ & LUXENBERG, PC                                CREAHAN              JAMES                 NY         98123113         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 899
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 234 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CREAHAN              THOMAS P              NY         98123113         WEITZ & LUXENBERG, PC                                CRONIN               ELLEN                 NY         99106036         WEITZ & LUXENBERG, PC
CREDICOTT            LINDA                 NY         11411099         WEITZ & LUXENBERG, PC                                CRONIN               RICHARD P             NY         99106036         WEITZ & LUXENBERG, PC
CREDICOTT            RICHARD P             NY         11411099         WEITZ & LUXENBERG, PC                                CRONK                CHESTER P             NY         12668402         WEITZ & LUXENBERG, PC
CREHAN               MARK V                NY         I20019855        WEITZ & LUXENBERG, PC                                CRONK                CYNTHIA               NY         12668402         WEITZ & LUXENBERG, PC
CREHAN               MARY                  NY         I20019855        WEITZ & LUXENBERG, PC                                CROOKS               CHARLES W             NY         10430800         WEITZ & LUXENBERG, PC
CREMMINS             JOHN JOSEPH           NY         1903702012       WEITZ & LUXENBERG, PC                                CROOKS               PHYLLIS               NY         10430800         WEITZ & LUXENBERG, PC
CREMMINS             KAY                   NY         1903702012       WEITZ & LUXENBERG, PC                                CROPPER              EILEEN                NY         10023203         WEITZ & LUXENBERG, PC
CRENNAN              DEBORAH               NY         10019801         WEITZ & LUXENBERG, PC                                CROPSEY              EDWARD EARL           NY         99114108         WEITZ & LUXENBERG, PC
CRENNAN              JERRY                 NY         10019801         WEITZ & LUXENBERG, PC                                CROPSEY              VIRGINIA              NY         99114108         WEITZ & LUXENBERG, PC
CRENSHAW             WILL EARL             NY         CV013921         WEITZ & LUXENBERG, PC                                CROSBY               ELLEN                 NY         19032109         WEITZ & LUXENBERG, PC
CRESCIO              JOANNE                NY         12039001         WEITZ & LUXENBERG, PC                                CROSBY               GARY                  NY         10430700         WEITZ & LUXENBERG, PC
CRESCIO              JOHN                  NY         12039001         WEITZ & LUXENBERG, PC                                CROSBY               JOHN R                NY         19032109         WEITZ & LUXENBERG, PC
CRESSEY              JUDI A                NY         19013310         WEITZ & LUXENBERG, PC                                CROSBY               LUCILLE               NY         10430700         WEITZ & LUXENBERG, PC
CRETACCI             MICHAEL V             NY         10571402         WEITZ & LUXENBERG, PC                                CROSBY               ROBERT                NY         10430700         WEITZ & LUXENBERG, PC
CRETACCI             SHIRLEY               NY         10571402         WEITZ & LUXENBERG, PC                                CROSIO               RUSSELL               NY         CV025616         WEITZ & LUXENBERG, PC
CREVATIN             PAOLA                 NY         11821598         WEITZ & LUXENBERG, PC                                CROSKERY             GENEVA                NY         10722202         WEITZ & LUXENBERG, PC
CREVATIN             VITTORIO              NY         11821598         WEITZ & LUXENBERG, PC                                CROSKERY             JIMMY L               NY         10722202         WEITZ & LUXENBERG, PC
CREW                 CHARLES               NY         EFC20170511      WEITZ & LUXENBERG, PC                                CROSS                GEORGE F              NY         10430600         WEITZ & LUXENBERG, PC
CREWS                BOBBY                 NY         01CIV4578        WEITZ & LUXENBERG, PC                                CROSS                MURIEL                NY         CV015375         WEITZ & LUXENBERG, PC
CREWS                FANNIE                NY         12668202         WEITZ & LUXENBERG, PC                                CROSS                PAT                   NY         10430600         WEITZ & LUXENBERG, PC
CREWS                SHIRLEY               NY         01CIV4578        WEITZ & LUXENBERG, PC                                CROSS                RACHEL                NY         1903142017       WEITZ & LUXENBERG, PC
CREWS                TASTER                NY         99114109         WEITZ & LUXENBERG, PC                                CROSS                SAMUEL L              NY         1903142017       WEITZ & LUXENBERG, PC
CREWS                WILLIAM               NY         12668202         WEITZ & LUXENBERG, PC                                CROTEAU              BARBARA               NY         10430500         WEITZ & LUXENBERG, PC
CRIFASI              JACK                  NY         12092201         WEITZ & LUXENBERG, PC                                CROTEAU              DENNIS MARK           NY         10430500         WEITZ & LUXENBERG, PC
CRIFASI              JACK                  NY         01111224         WEITZ & LUXENBERG, PC                                CROUCH               CHARLES R             NY         10430400         WEITZ & LUXENBERG, PC
CRIFASI              MARIA                 NY         12092201         WEITZ & LUXENBERG, PC                                CROUCH               MELISSA L             NY         10430400         WEITZ & LUXENBERG, PC
CRIFASI              MARIA                 NY         01111224         WEITZ & LUXENBERG, PC                                CROUNSE              DAVID J               NY         10020201         WEITZ & LUXENBERG, PC
CRIMI                JOSEPH A              NY         01111227         WEITZ & LUXENBERG, PC                                CROUNSE              KATHY                 NY         10020201         WEITZ & LUXENBERG, PC
CRINGLE              CHRIS J               NY         02113280         WEITZ & LUXENBERG, PC                                CROUNSE              KENNETH               NY         10020301         WEITZ & LUXENBERG, PC
CRINGLE              TAMMY                 NY         02113280         WEITZ & LUXENBERG, PC                                CROW                 JAMES M               NY         19020410         WEITZ & LUXENBERG, PC
CRINKLAW             JAMES J               NY         10696302         WEITZ & LUXENBERG, PC                                CROW                 JOHNNIE D             NY         CV017790         WEITZ & LUXENBERG, PC
CRIPPEN              ALAN R                NY         10019901         WEITZ & LUXENBERG, PC                                CROW                 MARY JO               NY         CV017790         WEITZ & LUXENBERG, PC
CRIPPEN              BARBARA               NY         11008500         WEITZ & LUXENBERG, PC                                CROWDER              CARLA MAE             NY         01CIV3910        WEITZ & LUXENBERG, PC
CRIPPEN              BARBARA               NY         10019901         WEITZ & LUXENBERG, PC                                CROWDER              GEORGE                NY         01CIV3910        WEITZ & LUXENBERG, PC
CRIPPEN              BETTY                 NY         10020001         WEITZ & LUXENBERG, PC                                CROWLEY              ANASTASIA             NY         12039401         WEITZ & LUXENBERG, PC
CRIPPEN              HOWARD L              NY         11008500         WEITZ & LUXENBERG, PC                                CROWLEY              GERTRUDE              NY         11033403         WEITZ & LUXENBERG, PC
CRIPPEN              JACK L                NY         10020001         WEITZ & LUXENBERG, PC                                CROWLEY              JAMES E               NY         11033403         WEITZ & LUXENBERG, PC
CRISALLI             LAURIE                NY         98121989         WEITZ & LUXENBERG, PC                                CROWLEY              JOAN                  NY         01111235         WEITZ & LUXENBERG, PC
CRISCUOLI            ANDREW S              NY         1903522013       WEITZ & LUXENBERG, PC                                CROWLEY              LINDA                 NY         12110001         WEITZ & LUXENBERG, PC
CRISCUOLI            CARMELA               NY         1903522013       WEITZ & LUXENBERG, PC                                CROWLEY              PATRICK               NY         01111235         WEITZ & LUXENBERG, PC
CRISP                DANIEL                NY         19011911         WEITZ & LUXENBERG, PC                                CROWLEY              RUTH ANN              NY         10722202         WEITZ & LUXENBERG, PC
CRISP                HERMAN                NY         19011911         WEITZ & LUXENBERG, PC                                CROWLEY              RUTH ANN              NY         11364202         WEITZ & LUXENBERG, PC
CRISP                PAULINE               NY         19011911         WEITZ & LUXENBERG, PC                                CROWLEY              THOMAS H              NY         10722202         WEITZ & LUXENBERG, PC
CRISP                RONALD                NY         19011911         WEITZ & LUXENBERG, PC                                CROWLEY              THOMAS H              NY         11364202         WEITZ & LUXENBERG, PC
CRISP                SAMUEL J              NY         10429100         WEITZ & LUXENBERG, PC                                CROWLEY              WALTER J              NY         12039401         WEITZ & LUXENBERG, PC
CRISPINO             ANITA                 NY         12043101         WEITZ & LUXENBERG, PC                                CROWLEY              WILLIAM F             NY         12110001         WEITZ & LUXENBERG, PC
CRISPINO             VINCENT               NY         12043101         WEITZ & LUXENBERG, PC                                CROWN                EDWARD                NY         01109118         WEITZ & LUXENBERG, PC
CRISPYN              ANDRE                 NY         12444102         WEITZ & LUXENBERG, PC                                CROWN                HOWARD L              NY         12039901         WEITZ & LUXENBERG, PC
CRISPYN              ANDRE                 NY         10319603         WEITZ & LUXENBERG, PC                                CROWN                HOWARD L              NY         10453402         WEITZ & LUXENBERG, PC
CRISPYN              PAUL                  NY         12444102         WEITZ & LUXENBERG, PC                                CROWN                LLOYD                 NY         01109118         WEITZ & LUXENBERG, PC
CRISPYN              PAUL                  NY         10319603         WEITZ & LUXENBERG, PC                                CRUELL               HERBERT J             NY         10020401         WEITZ & LUXENBERG, PC
CRISTALLO            FRANK                 NY         1900682016       WEITZ & LUXENBERG, PC                                CRUELL               MAESHEILA             NY         10020401         WEITZ & LUXENBERG, PC
CRISTALLO            MADALINE              NY         1900682016       WEITZ & LUXENBERG, PC                                CRUMB                EILEEN                NY         99104196         WEITZ & LUXENBERG, PC
CRISTIANI            ALFONSO               NY         10429000         WEITZ & LUXENBERG, PC                                CRUMBY               KATHY V               NY         01CIV3087        WEITZ & LUXENBERG, PC
CRISTIANO            MARY                  NY         11008400         WEITZ & LUXENBERG, PC                                CRUMLISH             JOHN E                NY         02106707         WEITZ & LUXENBERG, PC
CRISTIANO            PASQUALE J            NY         11008400         WEITZ & LUXENBERG, PC                                CRUMMENAUER          MARY                  NY         10153005         WEITZ & LUXENBERG, PC
CROCCO               COLETTE               NY         00111846         WEITZ & LUXENBERG, PC                                CRUMMENAUER          THOMAS J              NY         10153005         WEITZ & LUXENBERG, PC
CROCCO               RAYMOND               NY         00111846         WEITZ & LUXENBERG, PC                                CRUMP                JOHN A                NY         12038801         WEITZ & LUXENBERG, PC
CROCE                ANTHONY               NY         10776202         WEITZ & LUXENBERG, PC                                CRUMP                SHIRLIE J             NY         10696502         WEITZ & LUXENBERG, PC
CROCE                CARMELA               NY         10776202         WEITZ & LUXENBERG, PC                                CRUMP                WILLIAM J             NY         10696502         WEITZ & LUXENBERG, PC
CROCE                CHARLES               NY         12043101         WEITZ & LUXENBERG, PC                                CRUTTENDEN           LORETTA               NY         10609700         WEITZ & LUXENBERG, PC
CROCE                FRANK                 NY         01111227         WEITZ & LUXENBERG, PC                                CRUTTENDEN           LORETTA               NY         12198999         WEITZ & LUXENBERG, PC
CROCITTO             WILLIAM J             NY         10428900         WEITZ & LUXENBERG, PC                                CRUZ                 ALBERT                NY         12801902         WEITZ & LUXENBERG, PC
CROCKER              JANET                 NY         1901862014       WEITZ & LUXENBERG, PC                                CRUZ                 PABLO                 NY         10122805         WEITZ & LUXENBERG, PC
CROCKETT             CHARLES E             NY         01CIV3901        WEITZ & LUXENBERG, PC                                CRYSTAL              KAREN                 NY         11741900         WEITZ & LUXENBERG, PC
CROCKETT             NATASHA M             NY         10548400         WEITZ & LUXENBERG, PC                                CSENDON              ROSE MARIE            NY         11821798         WEITZ & LUXENBERG, PC
CROCKETT             SYNTHIA               NY         01CIV3901        WEITZ & LUXENBERG, PC                                CSENDON              STEVEN                NY         11821798         WEITZ & LUXENBERG, PC
CROCONO              CONNIE                NY         1903252012       WEITZ & LUXENBERG, PC                                CU                   HELEN CHUA            NY         1902582017       WEITZ & LUXENBERG, PC
CROKER               JOHN                  NY         1901862014       WEITZ & LUXENBERG, PC                                CUBANO               EDUARDO               NY         01111235         WEITZ & LUXENBERG, PC
CROM                 BILL LEE              NY         02CIV1849        WEITZ & LUXENBERG, PC                                CUBANO               MARTHA G              NY         01111235         WEITZ & LUXENBERG, PC
CROMP                ROBERT W              NY         10716902         WEITZ & LUXENBERG, PC                                CUCCIA               ANITA                 NY         12043001         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 900
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 235 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

CUCCIA               ANTHONY               NY         12043001         WEITZ & LUXENBERG, PC                                CUNDARI              ANTHONY               NY         11412799           WEITZ & LUXENBERG, PC
CUCCINIELLO          JOSEPH R              NY         99114116         WEITZ & LUXENBERG, PC                                CUNDARI              ELLEN                 NY         1900982013         WEITZ & LUXENBERG, PC
CUCINOTTA            MARCO                 NY         10020501         WEITZ & LUXENBERG, PC                                CUNDARI              JENNIE                NY         11412799           WEITZ & LUXENBERG, PC
CUCINOTTA            SONIA                 NY         10020501         WEITZ & LUXENBERG, PC                                CUNDARI              JOSEPH                NY         1900982013         WEITZ & LUXENBERG, PC
CUDDY                JOHN                  NY         12422502         WEITZ & LUXENBERG, PC                                CUNDARI              ROSEMARIE             NY         10491300           WEITZ & LUXENBERG, PC
CUDDY                MARGARET              NY         12422502         WEITZ & LUXENBERG, PC                                CUNDARI              SALVATORE             NY         10491300           WEITZ & LUXENBERG, PC
CUDIHY               JAMES A               NY         10710002         WEITZ & LUXENBERG, PC                                CUNNANE              AGNES                 NY         10491400           WEITZ & LUXENBERG, PC
CUDIHY               JAMES A               NY         12685702         WEITZ & LUXENBERG, PC                                CUNNANE              PATRICK               NY         10491400           WEITZ & LUXENBERG, PC
CUDIHY               SHIRLEY               NY         10710002         WEITZ & LUXENBERG, PC                                CUNNEEN              EDWARD                NY         11822198           WEITZ & LUXENBERG, PC
CUDIHY               SHIRLEY               NY         12685702         WEITZ & LUXENBERG, PC                                CUNNEY               PATRICK J             NY         12039401           WEITZ & LUXENBERG, PC
CUDMORE              THOMAS J              NY         12039301         WEITZ & LUXENBERG, PC                                CUNNINGHAM           CHARLES PATRICK       NY         10491500           WEITZ & LUXENBERG, PC
CUEVAS               DENNIS                NY         1903062016       WEITZ & LUXENBERG, PC                                CUNNINGHAM           DAVID                 NY         12039901           WEITZ & LUXENBERG, PC
CUEVAS               THELMA J              NY         1903062016       WEITZ & LUXENBERG, PC                                CUNNINGHAM           EDWARD G              NY         11142698_ADMIN_CTD WEITZ & LUXENBERG, PC
CUILLA               MARY                  NY         11026702         WEITZ & LUXENBERG, PC                                CUNNINGHAM           EILEEN                NY         12693502           WEITZ & LUXENBERG, PC
CUILLA               MARY                  NY         12637202         WEITZ & LUXENBERG, PC                                CUNNINGHAM           JAMES C               NY         12693502           WEITZ & LUXENBERG, PC
CUILLA               MICHAEL J             NY         11026702         WEITZ & LUXENBERG, PC                                CUNNINGHAM           JAMES D               NY         01111235           WEITZ & LUXENBERG, PC
CUILLA               MICHAEL J             NY         12637202         WEITZ & LUXENBERG, PC                                CUNNINGHAM           JAMES D               NY         11829501           WEITZ & LUXENBERG, PC
CULBERTSON           DOROTHY               NY         10680702         WEITZ & LUXENBERG, PC                                CUNNINGHAM           JOHN F                NY         10491200           WEITZ & LUXENBERG, PC
CULBERTSON           HULBERT               NY         10680702         WEITZ & LUXENBERG, PC                                CUNNINGHAM           JOSEPHINE             NY         10740202           WEITZ & LUXENBERG, PC
CULELLO              JOSEPH                NY         10430300         WEITZ & LUXENBERG, PC                                CUNNINGHAM           MERCEDES              NY         1900502018         WEITZ & LUXENBERG, PC
CULELLO              SELMA                 NY         10430300         WEITZ & LUXENBERG, PC                                CUNNINGHAM           PATRICK A             NY         11130102           WEITZ & LUXENBERG, PC
CULKOWSKI            GERALD F              NY         11327802         WEITZ & LUXENBERG, PC                                CUNNINGHAM           RALPH                 NY         1900502018         WEITZ & LUXENBERG, PC
CULLARO              GIUSEPPINO            NY         12433902         WEITZ & LUXENBERG, PC                                CUNNINGHAM           ROBERT T              NY         10740402           WEITZ & LUXENBERG, PC
CULLARO              VINCENZO              NY         12433902         WEITZ & LUXENBERG, PC                                CUNNINGHAM           THOMAS                NY         11142698_ADMIN_CTD WEITZ & LUXENBERG, PC
CULLEN               CHARLES JOHN          NY         11821898         WEITZ & LUXENBERG, PC                                CUNNINGHAM           WHITMORE              NY         10740202           WEITZ & LUXENBERG, PC
CULLEN               DANA                  NY         10020601         WEITZ & LUXENBERG, PC                                CUNNINGHAM           WILLIAM E             NY         11130102           WEITZ & LUXENBERG, PC
CULLEN               DANIEL P              NY         10020601         WEITZ & LUXENBERG, PC                                CUNNINGHAM           WILLIAM EDWARD        NY         10696502           WEITZ & LUXENBERG, PC
CULLEN               JAMES J               NY         10740302         WEITZ & LUXENBERG, PC                                CUOCO                ANGELO                NY         10722102           WEITZ & LUXENBERG, PC
CULLEN               JAMES J               NY         11413002         WEITZ & LUXENBERG, PC                                CUOCO                ANGELO                NY         11312902           WEITZ & LUXENBERG, PC
CULLEN               JOAN E                NY         10430200         WEITZ & LUXENBERG, PC                                CUOCO                FRANK J               NY         10490500           WEITZ & LUXENBERG, PC
CULLEN               JOSEPH N              NY         10430200         WEITZ & LUXENBERG, PC                                CUOCO                VIRGINIA              NY         10722102           WEITZ & LUXENBERG, PC
CULLEN               LINDA                 NY         11401502         WEITZ & LUXENBERG, PC                                CUOCO                VIRGINIA              NY         11312902           WEITZ & LUXENBERG, PC
CULLEN               M JEANETTE            NY         10740302         WEITZ & LUXENBERG, PC                                CUPELLI              BENJAMIN L            NY         01111222           WEITZ & LUXENBERG, PC
CULLEN               M JEANETTE            NY         11413002         WEITZ & LUXENBERG, PC                                CUPELLI              EMILY                 NY         01111222           WEITZ & LUXENBERG, PC
CULLEN               MARY JEANETTE         NY         10740302         WEITZ & LUXENBERG, PC                                CUPPERNELL           GERTRUDE              NY         11008200           WEITZ & LUXENBERG, PC
CULLEN               MARY JEANETTE         NY         11413002         WEITZ & LUXENBERG, PC                                CUPPERNELL           ROBERT M              NY         11008200           WEITZ & LUXENBERG, PC
CULLUM               JOHN W JR             NY         12578099         WEITZ & LUXENBERG, PC                                CURA                 FRANK E               NY         10490600           WEITZ & LUXENBERG, PC
CULLUM               MARIE                 NY         12578099         WEITZ & LUXENBERG, PC                                CURA                 HELEN                 NY         10490600           WEITZ & LUXENBERG, PC
CULVER               CLARK                 NY         12788802         WEITZ & LUXENBERG, PC                                CURATOLA             EDWARD                NY         10490700           WEITZ & LUXENBERG, PC
CULVER               KIMBERLY              NY         12788802         WEITZ & LUXENBERG, PC                                CURATTALO            ANGEL                 NY         1902312016         WEITZ & LUXENBERG, PC
CULVER               LOIS G                NY         11821998         WEITZ & LUXENBERG, PC                                CURATTALO            JOSEPH                NY         1902312016         WEITZ & LUXENBERG, PC
CULWELL              BEVERLY               NY         CV017883         WEITZ & LUXENBERG, PC                                CURCIO               FRANK J               NY         11518404           WEITZ & LUXENBERG, PC
CULWELL              GILBERT E             NY         CV017883         WEITZ & LUXENBERG, PC                                CURCIO               RACHEL J              NY         11518404           WEITZ & LUXENBERG, PC
CUMBIE               GRADY H               NY         CV020157         WEITZ & LUXENBERG, PC                                CURICH               JOSEPH D              NY         12039101           WEITZ & LUXENBERG, PC
CUMBIE               VIVIENE               NY         CV020157         WEITZ & LUXENBERG, PC                                CURICH               RAFICA                NY         12039101           WEITZ & LUXENBERG, PC
CUMMINGS             ANGELA                NY         1901622019       WEITZ & LUXENBERG, PC                                CURLEY               ARTHUR                NY         98118223           WEITZ & LUXENBERG, PC
CUMMINGS             ANITA                 NY         12043201         WEITZ & LUXENBERG, PC                                CURLEY               MARY                  NY         98118223           WEITZ & LUXENBERG, PC
CUMMINGS             BLANCHE               NY         11026902         WEITZ & LUXENBERG, PC                                CURNAN               PETER NOEL            NY         11938201           WEITZ & LUXENBERG, PC
CUMMINGS             CHESTER               NY         12693702         WEITZ & LUXENBERG, PC                                CURRAN               ANNE M                NY         1902172019         WEITZ & LUXENBERG, PC
CUMMINGS             DOLORES               NY         12038801         WEITZ & LUXENBERG, PC                                CURRAN               ANNE M                NY         98118200           WEITZ & LUXENBERG, PC
CUMMINGS             EDWARD E              NY         10670802         WEITZ & LUXENBERG, PC                                CURRAN               HELEN                 NY         98118201           WEITZ & LUXENBERG, PC
CUMMINGS             ELIZABETH             NY         02113280         WEITZ & LUXENBERG, PC                                CURRAN               JAMES T               NY         11468202           WEITZ & LUXENBERG, PC
CUMMINGS             ERNEST D              NY         1901622019       WEITZ & LUXENBERG, PC                                CURRAN               JOHN                  NY         98118200           WEITZ & LUXENBERG, PC
CUMMINGS             JACQUELINE            NY         12693702         WEITZ & LUXENBERG, PC                                CURRAN               JOHN                  NY         1902172019         WEITZ & LUXENBERG, PC
CUMMINGS             JAMES J               NY         12038801         WEITZ & LUXENBERG, PC                                CURRAN               JUDITH                NY         10242002           WEITZ & LUXENBERG, PC
CUMMINGS             JAMES K               NY         10670802         WEITZ & LUXENBERG, PC                                CURRAN               LINDA                 NY         10605499           WEITZ & LUXENBERG, PC
CUMMINGS             JOANN                 NY         10390404         WEITZ & LUXENBERG, PC                                CURRAN               NANCY                 NY         11026802           WEITZ & LUXENBERG, PC
CUMMINGS             JOHN A                NY         02113280         WEITZ & LUXENBERG, PC                                CURRAN               PATRICK J             NY         10605499           WEITZ & LUXENBERG, PC
CUMMINGS             LINDA                 NY         10670802         WEITZ & LUXENBERG, PC                                CURRAN               PHOEBE H              NY         02106694           WEITZ & LUXENBERG, PC
CUMMINGS             MABEL J               NY         1900432013       WEITZ & LUXENBERG, PC                                CURRAN               PHOEBE H              NY         11468202           WEITZ & LUXENBERG, PC
CUMMINGS             MABEL J               PA         131002372        WEITZ & LUXENBERG, PC                                CURRAN               RODNEY L              NY         02106694           WEITZ & LUXENBERG, PC
CUMMINGS             MARTIN P              NY         12043201         WEITZ & LUXENBERG, PC                                CURRAN               VINCENT               NY         98118201           WEITZ & LUXENBERG, PC
CUMMINGS             ROBERT                NY         10390404         WEITZ & LUXENBERG, PC                                CURRAN               VINCENT J             NY         10242002           WEITZ & LUXENBERG, PC
CUMMINGS             RONALD J              NY         1900432013       WEITZ & LUXENBERG, PC                                CURRAN               VINCENT P             NY         11026802           WEITZ & LUXENBERG, PC
CUMMINGS             RONALD J              PA         131002372        WEITZ & LUXENBERG, PC                                CURRIE               DAVID A               NY         10020801           WEITZ & LUXENBERG, PC
CUMMINGS             SALLY L               NY         10670802         WEITZ & LUXENBERG, PC                                CURRIE               JEANETTE              NY         11149005           WEITZ & LUXENBERG, PC
CUMMINGS             WALTER                NY         11027002         WEITZ & LUXENBERG, PC                                CURRIE               ROY K                 NY         11149005           WEITZ & LUXENBERG, PC
CUMMINGS             WILLIAM M             NY         11026902         WEITZ & LUXENBERG, PC                                CURRIE-LAFOUNTAINE   TRACEY                NY         10020801           WEITZ & LUXENBERG, PC
CUMMINS              DOROTHY               NY         11411599         WEITZ & LUXENBERG, PC                                CURRIER              BELLA                 NY         02113280           WEITZ & LUXENBERG, PC
CUMMINS              WILLIAM               NY         11411599         WEITZ & LUXENBERG, PC                                CURRIER              BONNIE LEE            NY         10696302           WEITZ & LUXENBERG, PC
CUMPSTON             JERRY M               NY         10329202         WEITZ & LUXENBERG, PC                                CURRIER              HARRY D               NY         02113280           WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 901
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 236 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CURRIER              JOSEPH ROBERT         NY         10696302         WEITZ & LUXENBERG, PC                                CZAPLINSKI           VICTOR B              NY         10489900         WEITZ & LUXENBERG, PC
CURRY                FERN                  NY         11105703         WEITZ & LUXENBERG, PC                                CZARNECKI            ANGELINE              NY         11820498         WEITZ & LUXENBERG, PC
CURRY                JOHN                  NY         1901722016       WEITZ & LUXENBERG, PC                                CZARNECKI            ANGELINE              NY         98118204         WEITZ & LUXENBERG, PC
CURRY                JOHN J                NY         10490800         WEITZ & LUXENBERG, PC                                CZARNECKI            BETTY F               NY         10490000         WEITZ & LUXENBERG, PC
CURRY                LOUISE                NY         1901722016       WEITZ & LUXENBERG, PC                                CZARNECKI            JOHN A                NY         10490000         WEITZ & LUXENBERG, PC
CURRY                MICHAEL J             NY         11105703         WEITZ & LUXENBERG, PC                                CZARNECKI            RAYMOND J             NY         11820498         WEITZ & LUXENBERG, PC
CURRY                ORA R                 NY         11009200         WEITZ & LUXENBERG, PC                                CZARNECKI            RAYMOND J             NY         98118204         WEITZ & LUXENBERG, PC
CURRY                POLLARD               NY         11009200         WEITZ & LUXENBERG, PC                                CZEREPAK             LAURALYN              NY         10490200         WEITZ & LUXENBERG, PC
CURTIN               DANIEL R              NY         02106578         WEITZ & LUXENBERG, PC                                CZEREPAK             PETER J               NY         10490200         WEITZ & LUXENBERG, PC
CURTIN               DARLENE A             NY         02106578         WEITZ & LUXENBERG, PC                                CZEREPKOWSKI         FRANCES               NY         12038801         WEITZ & LUXENBERG, PC
CURTIS               ANNE W                NY         01111686         WEITZ & LUXENBERG, PC                                CZEREPKOWSKI         LEO J                 NY         12038801         WEITZ & LUXENBERG, PC
CURTIS               ANTHONY L             NY         00CIV1202        WEITZ & LUXENBERG, PC                                CZERNIAK             EDMUND F              NY         02106709         WEITZ & LUXENBERG, PC
CURTIS               DAVID M               NY         01111686         WEITZ & LUXENBERG, PC                                CZERNIAK             EDMUND F              NY         11555302         WEITZ & LUXENBERG, PC
CURTIS               DENNIS PATRICK        NY         12801902         WEITZ & LUXENBERG, PC                                CZERNIAK             IRENE                 NY         02106709         WEITZ & LUXENBERG, PC
CURTIS               DENNIS PATRICK        NY         10596203         WEITZ & LUXENBERG, PC                                CZERNIAK             IRENE                 NY         11555302         WEITZ & LUXENBERG, PC
CURTIS               DOUGLAS               NY         10073103         WEITZ & LUXENBERG, PC                                CZERNIAK             JACQUELINE L          NY         02106709         WEITZ & LUXENBERG, PC
CURTIS               DOUGLAS               NY         10517103         WEITZ & LUXENBERG, PC                                CZERNIAK             JACQUELINE L          NY         11555302         WEITZ & LUXENBERG, PC
CURTIS               JEAN                  NY         CV016449         WEITZ & LUXENBERG, PC                                CZERWIEC             HENRY                 NY         11820598         WEITZ & LUXENBERG, PC
CURTIS               JOYCE                 NY         00CIV1202        WEITZ & LUXENBERG, PC                                CZEWICZ              ANNI                  NY         10809702         WEITZ & LUXENBERG, PC
CURTIS               KENNETH               NY         1902762019       WEITZ & LUXENBERG, PC                                CZEWICZ              JOHN                  NY         10809702         WEITZ & LUXENBERG, PC
CURTIS               LARRY                 NY         CV016449         WEITZ & LUXENBERG, PC                                CZUPRYNA             STELLA M              NY         10332703         WEITZ & LUXENBERG, PC
CURTIS               NINA JOAN             NY         10073103         WEITZ & LUXENBERG, PC                                CZUPRYNSKI           ALEX S                NY         10587202         WEITZ & LUXENBERG, PC
CURTIS               NINA JOAN             NY         10517103         WEITZ & LUXENBERG, PC                                CZYZ                 HELEN                 NY         10490300         WEITZ & LUXENBERG, PC
CURTIS               PATRICK DANIEL        NY         10596203         WEITZ & LUXENBERG, PC                                CZYZ                 JOSEPH J              NY         10490300         WEITZ & LUXENBERG, PC
CURTIS               WILLIAM G             NY         10658102         WEITZ & LUXENBERG, PC                                CZYZ                 JOSEPH J JR           NY         10490300         WEITZ & LUXENBERG, PC
CURTISS              ALFRED J              NY         10710002         WEITZ & LUXENBERG, PC                                DA SILVA             ANTONIO               NY         11383500         WEITZ & LUXENBERG, PC
CURTO                CHARLES               NY         01111229         WEITZ & LUXENBERG, PC                                DA SILVA             ERNESTINA             NY         11383500         WEITZ & LUXENBERG, PC
CUSACK               JOHN T                NY         11026902         WEITZ & LUXENBERG, PC                                DABIERE              DENNIS M              NY         10489100         WEITZ & LUXENBERG, PC
CUSACK               MARY                  NY         11026902         WEITZ & LUXENBERG, PC                                DABY                 RICHARD M             NY         10680602         WEITZ & LUXENBERG, PC
CUSANO               HELEN                 NY         1905742012       WEITZ & LUXENBERG, PC                                DACH                 GERALD                NY         11477704         WEITZ & LUXENBERG, PC
CUSANO               JAMES J               NY         1905742012       WEITZ & LUXENBERG, PC                                DACH                 HARRIET               NY         11477704         WEITZ & LUXENBERG, PC
CUSSNELLI            PASQUALE              NY         10490900         WEITZ & LUXENBERG, PC                                DACIMO               PATRICIA K            NY         12039401         WEITZ & LUXENBERG, PC
CUSUMANO             NOCENZO               NY         10889703         WEITZ & LUXENBERG, PC                                DACIMO               VINCENT R             NY         12039401         WEITZ & LUXENBERG, PC
CUSUMANO             PATRICIA              NY         10889703         WEITZ & LUXENBERG, PC                                DACK                 ANGELINA DOLLY        NY         10906302         WEITZ & LUXENBERG, PC
CUTHBERT             DAVID                 NY         12685502         WEITZ & LUXENBERG, PC                                DACK                 FRANCIS               NY         10906302         WEITZ & LUXENBERG, PC
CUTHBERT             DAVID                 NY         10710002         WEITZ & LUXENBERG, PC                                DACORTE              PETER A               NY         19008110         WEITZ & LUXENBERG, PC
CUTHBERT             JOHN                  NY         11820298         WEITZ & LUXENBERG, PC                                DADIAN               AIDA                  NY         01122139         WEITZ & LUXENBERG, PC
CUTHBERT             LURLINE               NY         12521402         WEITZ & LUXENBERG, PC                                DADIAN               JACK                  NY         01122139         WEITZ & LUXENBERG, PC
CUTHBERT             RUTH                  NY         12685502         WEITZ & LUXENBERG, PC                                DADY                 DANIEL M              NY         11717300         WEITZ & LUXENBERG, PC
CUTHBERT             RUTH                  NY         10710002         WEITZ & LUXENBERG, PC                                DADY                 GERALDINE             NY         11717300         WEITZ & LUXENBERG, PC
CUTI                 THOMAS                NY         10491000         WEITZ & LUXENBERG, PC                                DAGGETT              BARBARA               NY         CV020216         WEITZ & LUXENBERG, PC
CUTI                 VINCENZA              NY         10491000         WEITZ & LUXENBERG, PC                                DAGGETT              GARY R                NY         1030613          WEITZ & LUXENBERG, PC
CUTLER               GERTRUDE              NY         12073899         WEITZ & LUXENBERG, PC                                DAGGETT              SUZANNE               NY         1030613          WEITZ & LUXENBERG, PC
CUTLER               IRWIN                 NY         12073899         WEITZ & LUXENBERG, PC                                DAGGETT              WAYNE LEWIS           NY         CV020216         WEITZ & LUXENBERG, PC
CUTRONE              CHRISTINE MARIE       NY         11769900         WEITZ & LUXENBERG, PC                                DAGONESE             ROBERT                NY         8082962018       WEITZ & LUXENBERG, PC
CUTRONE              DOMENICO              NY         1901962019       WEITZ & LUXENBERG, PC                                D'AGOSTINO           JOAN                  NY         10605099         WEITZ & LUXENBERG, PC
CUTRONE              FREDERICK             NY         1901902019       WEITZ & LUXENBERG, PC                                D'AGOSTINO           KATHRYN               NY         10073103         WEITZ & LUXENBERG, PC
CUTRONE              PATRICIA              NY         1901962019       WEITZ & LUXENBERG, PC                                D'AGOSTINO           MARILYN CHRISTODAR    NY         11456302         WEITZ & LUXENBERG, PC
CUYLER               DENNIS W              NY         10491100         WEITZ & LUXENBERG, PC                                D'AGOSTINO           MICHAEL J             NY         10073103         WEITZ & LUXENBERG, PC
CWALINKSI            CARLA                 NY         10604999         WEITZ & LUXENBERG, PC                                D'AGOSTINO           PETER S               NY         10605099         WEITZ & LUXENBERG, PC
CWALINSKI            LEONARD F             NY         10604999         WEITZ & LUXENBERG, PC                                D'AGOSTINO           PHYLLIS               NY         530062015        WEITZ & LUXENBERG, PC
CYCON                IRENE E               NY         02106693         WEITZ & LUXENBERG, PC                                DAHIR                GEORGE J              NY         12039901         WEITZ & LUXENBERG, PC
CYCON                TERRY C               NY         02106693         WEITZ & LUXENBERG, PC                                DAHIR                GEORGE J              NY         10453402         WEITZ & LUXENBERG, PC
CYR                  ELLEN                 NY         10538602         WEITZ & LUXENBERG, PC                                DAHL                 ADELINE               NY         10073903         WEITZ & LUXENBERG, PC
CYR                  JOSEPH G              NY         12448902         WEITZ & LUXENBERG, PC                                DAHL                 KARL                  NY         01111220         WEITZ & LUXENBERG, PC
CYR                  JOSEPH G              NY         10177803         WEITZ & LUXENBERG, PC                                DAHL                 MARILYN               NY         01111220         WEITZ & LUXENBERG, PC
CYR                  PATRICIA A            NY         12448902         WEITZ & LUXENBERG, PC                                DAHL                 RICHARD               NY         10073903         WEITZ & LUXENBERG, PC
CYR                  PATRICIA A            NY         10177803         WEITZ & LUXENBERG, PC                                DAHLEN               ROY K                 NY         02107102         WEITZ & LUXENBERG, PC
CYREK                GAYLE                 NY         10645501         WEITZ & LUXENBERG, PC                                DAHLEN               RUTH                  NY         02107102         WEITZ & LUXENBERG, PC
CYTRYNBAUM           MARK                  NY         10020901         WEITZ & LUXENBERG, PC                                DAHLKE               FRANK H               NY         01111224         WEITZ & LUXENBERG, PC
CYTRYNBAUM           RITA                  NY         10020901         WEITZ & LUXENBERG, PC                                DAHLKE               MARY                  NY         01111224         WEITZ & LUXENBERG, PC
CZAJA                BENJAMIN A            NY         10722202         WEITZ & LUXENBERG, PC                                DAHN                 KENNETH               NY         12693402         WEITZ & LUXENBERG, PC
CZAJA                BENJAMIN A            NY         11364102         WEITZ & LUXENBERG, PC                                DAIDOLA              JOSEPH C              NY         10489300         WEITZ & LUXENBERG, PC
CZAJA                MARIE G               NY         11364102         WEITZ & LUXENBERG, PC                                DAIDOLA              JOY MARION            NY         10489300         WEITZ & LUXENBERG, PC
CZAJA                ROBINSON              NY         10722202         WEITZ & LUXENBERG, PC                                DAIL                 BERTHA                NY         10717501         WEITZ & LUXENBERG, PC
CZAJKOWSKI           DIANE                 NY         10038808         WEITZ & LUXENBERG, PC                                DAIL                 BERTHA                NY         11937600         WEITZ & LUXENBERG, PC
CZAJKOWSKI           EUGENE E              NY         10587602         WEITZ & LUXENBERG, PC                                DAILEY               DALE H                NY         01CIV3910        WEITZ & LUXENBERG, PC
CZAJKOWSKI           FRANK J               NY         10023403         WEITZ & LUXENBERG, PC                                DAILEY               DOUGLAS               NY         19029110         WEITZ & LUXENBERG, PC
CZAMARA              JOHN                  NY         10587602         WEITZ & LUXENBERG, PC                                DAILEY               KAREN                 NY         01CIV3910        WEITZ & LUXENBERG, PC
CZAMARA              SUSAN                 NY         10587602         WEITZ & LUXENBERG, PC                                DAILEY               NELSON S              NY         111323           WEITZ & LUXENBERG, PC
CZAPLINSKI           IRENE                 NY         10489900         WEITZ & LUXENBERG, PC                                DAILEY               NELSON S              NY         12448902         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 902
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 237 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DAILEY               SUSAN                 NY         111323           WEITZ & LUXENBERG, PC                                DAMIANO              ANTHONY R             NY         11476199         WEITZ & LUXENBERG, PC
DAILEY               SUSAN                 NY         12448902         WEITZ & LUXENBERG, PC                                DAMIANO              ISABELLA              NY         11476199         WEITZ & LUXENBERG, PC
DAILEY               VICKI                 NY         19029110         WEITZ & LUXENBERG, PC                                DAMICO               JIMMA                 NY         01CIV7363        WEITZ & LUXENBERG, PC
DALABA               DEBORAH               NY         110149           WEITZ & LUXENBERG, PC                                DAMICO               JOHN F                NY         01CIV7363        WEITZ & LUXENBERG, PC
DALABA               DEBORAH               NY         12448902         WEITZ & LUXENBERG, PC                                D'AMICO              GRAZIA                NY         11370804         WEITZ & LUXENBERG, PC
DALABA               WILLIAM E             NY         110149           WEITZ & LUXENBERG, PC                                D'AMICO              JOSEPH F              NY         10906002         WEITZ & LUXENBERG, PC
DALABA               WILLIAM E             NY         12448902         WEITZ & LUXENBERG, PC                                D'AMICO              PATRICIA              NY         10906002         WEITZ & LUXENBERG, PC
D'ALESSANDRO         DOLORES               NY         10605199         WEITZ & LUXENBERG, PC                                D'AMICO              ROBERT J              NY         10696302         WEITZ & LUXENBERG, PC
D'ALESSANDRO         JOSEPH                NY         10605199         WEITZ & LUXENBERG, PC                                D'AMICO              SALVATORE             NY         11370804         WEITZ & LUXENBERG, PC
D'ALESSANDRO         MARYJANE              NY         10490400         WEITZ & LUXENBERG, PC                                DAMO                 ALEX                  NY         10021201         WEITZ & LUXENBERG, PC
D'ALESSANDRO         RALPH F               NY         10490400         WEITZ & LUXENBERG, PC                                DAMO                 MARLENE               NY         10021201         WEITZ & LUXENBERG, PC
D'ALESSIO            CAROLINE              NY         1901762018       WEITZ & LUXENBERG, PC                                DAMON                CLIFFORD F            NY         10696402         WEITZ & LUXENBERG, PC
D'ALESSIO            MATTHEW J             NY         1901762018       WEITZ & LUXENBERG, PC                                DAMON                CLIFFORD F            NY         11209302         WEITZ & LUXENBERG, PC
DALEY                J FRANK               NY         10488500         WEITZ & LUXENBERG, PC                                DAMON                DORIS                 NY         10696402         WEITZ & LUXENBERG, PC
DALEY                MARGARET              NY         10488500         WEITZ & LUXENBERG, PC                                DAMON                DORIS                 NY         11209302         WEITZ & LUXENBERG, PC
DALIK                DAVID W               NY         CV014577         WEITZ & LUXENBERG, PC                                DAMON                JOEL W                NY         10488900         WEITZ & LUXENBERG, PC
DALIK                DAVID W               NY         10668301         WEITZ & LUXENBERG, PC                                DAMON                SALLY                 NY         10488900         WEITZ & LUXENBERG, PC
DALIK                GERALDINE             NY         CV014577         WEITZ & LUXENBERG, PC                                D'AMORE              JAMES L               NY         10021001         WEITZ & LUXENBERG, PC
DALIK                GERALDINE             NY         10668301         WEITZ & LUXENBERG, PC                                D'AMORE              KAROL                 NY         10021001         WEITZ & LUXENBERG, PC
DALKAS               EARL A                NY         CV035070         WEITZ & LUXENBERG, PC                                DANA                 ANDREW F              NY         10489000         WEITZ & LUXENBERG, PC
DALKAS               ERNEST J              NY         CV035070         WEITZ & LUXENBERG, PC                                DANA                 JENNIE                NY         10489000         WEITZ & LUXENBERG, PC
DALKAS               JENNY MARY            NY         CV035070         WEITZ & LUXENBERG, PC                                DANAHER              JOHN J                NY         12668602         WEITZ & LUXENBERG, PC
D'ALMA               DON D                 NY         11009100         WEITZ & LUXENBERG, PC                                DANAHER              JOHN J                NY         10400303         WEITZ & LUXENBERG, PC
D'ALMA               SANDY RICHTER         NY         11009100         WEITZ & LUXENBERG, PC                                DANAHER              JOSEPH J              NY         12043301         WEITZ & LUXENBERG, PC
DALPAN               DAVID S               NY         10073103         WEITZ & LUXENBERG, PC                                DANAHER              PENELOPE              NY         10400303         WEITZ & LUXENBERG, PC
DALTON               CHARLOTTE             NY         12801602         WEITZ & LUXENBERG, PC                                DANAHER              THOMAS                NY         10195108         WEITZ & LUXENBERG, PC
DALTON               EUGENE                NY         11036208         WEITZ & LUXENBERG, PC                                DANAHY               JAMES W               NY         99114762         WEITZ & LUXENBERG, PC
DALTON               HAROLD                NY         98118137         WEITZ & LUXENBERG, PC                                DANAHY               MARY                  NY         99114762         WEITZ & LUXENBERG, PC
DALTON               JAMES                 NY         12801602         WEITZ & LUXENBERG, PC                                D'ANCONA             KERI                  NY         1902772017       WEITZ & LUXENBERG, PC
DALTON               RAYMOND ERWIN         NY         10740302         WEITZ & LUXENBERG, PC                                D'ANCONA             THOMAS D              NY         1902772017       WEITZ & LUXENBERG, PC
DALUISIO             ERVA G                NY         10488700         WEITZ & LUXENBERG, PC                                D'ANDREA             ANTONIO               NY         99114766         WEITZ & LUXENBERG, PC
DALUISIO             FRANK J               NY         10488700         WEITZ & LUXENBERG, PC                                D'ANDREA             MARY                  NY         99114766         WEITZ & LUXENBERG, PC
DALUISIO             SHIRLEY A             NY         10488700         WEITZ & LUXENBERG, PC                                DANDRIDGE            ROSALIND              NY         1900862013       WEITZ & LUXENBERG, PC
DALY                 BERNARD J             NY         10526505         WEITZ & LUXENBERG, PC                                DANDROW              THEODORE              NY         99106045         WEITZ & LUXENBERG, PC
DALY                 CATHERINE             NY         01111226         WEITZ & LUXENBERG, PC                                DANDROW              TONIA                 NY         99106045         WEITZ & LUXENBERG, PC
DALY                 CHARLES M             NY         12042901         WEITZ & LUXENBERG, PC                                DANFORTH             CHERYLE               NY         99107766         WEITZ & LUXENBERG, PC
DALY                 CHARLES M             NY         10062202         WEITZ & LUXENBERG, PC                                D'ANGELO             CARL                  NY         11009000         WEITZ & LUXENBERG, PC
DALY                 DANIEL E              NY         10604399         WEITZ & LUXENBERG, PC                                D'ANGELO             CONNIE                NY         10040203         WEITZ & LUXENBERG, PC
DALY                 ELEANOR               NY         1902252019       WEITZ & LUXENBERG, PC                                D'ANGELO             DOMINIC A             NY         10040203         WEITZ & LUXENBERG, PC
DALY                 FRANCIS               NY         01111228         WEITZ & LUXENBERG, PC                                D'ANGELO             GREGORY               NY         01111229         WEITZ & LUXENBERG, PC
DALY                 GEORGE V              NY         1902252019       WEITZ & LUXENBERG, PC                                D'ANGELO             LEONARA J             NY         11009000         WEITZ & LUXENBERG, PC
DALY                 GERALD K              NY         10488800         WEITZ & LUXENBERG, PC                                D'ANGELO             LORENZO               NY         10891405         WEITZ & LUXENBERG, PC
DALY                 JAMES                 NY         12039801         WEITZ & LUXENBERG, PC                                D'ANGELO             MARGHERITA            NY         10891405         WEITZ & LUXENBERG, PC
DALY                 JOHN                  NY         11646703         WEITZ & LUXENBERG, PC                                D'ANGELO             MARIE                 NY         01111229         WEITZ & LUXENBERG, PC
DALY                 JOHN B                NY         1902972019       WEITZ & LUXENBERG, PC                                D'ANGELO             ROSANN M              NY         12183101         WEITZ & LUXENBERG, PC
DALY                 JOSEPH V              NY         10560303         WEITZ & LUXENBERG, PC                                D'ANGELO             VITO                  NY         01111228         WEITZ & LUXENBERG, PC
DALY                 JOSEPH W              NY         12039801         WEITZ & LUXENBERG, PC                                DANIEL               CHARLES WAYNE         NY         CV020217         WEITZ & LUXENBERG, PC
DALY                 JULIA M               NY         11008800         WEITZ & LUXENBERG, PC                                DANIEL               EMMA CORENE           NY         CV020217         WEITZ & LUXENBERG, PC
DALY                 KELLY ANNE            NY         10526505         WEITZ & LUXENBERG, PC                                DANIEL               HOMER                 NY         10487500         WEITZ & LUXENBERG, PC
DALY                 MADELYN               NY         10604399         WEITZ & LUXENBERG, PC                                DANIEL               IN TO CHA             NY         CV020218         WEITZ & LUXENBERG, PC
DALY                 MARGARET              NY         10526505         WEITZ & LUXENBERG, PC                                DANIEL               JEAN                  NY         10487500         WEITZ & LUXENBERG, PC
DALY                 MARTIN                NY         01111226         WEITZ & LUXENBERG, PC                                DANIEL               LEROY                 NY         CV020218         WEITZ & LUXENBERG, PC
DALY                 MARY                  NY         1902972019       WEITZ & LUXENBERG, PC                                DANIELI              VINCENT R             NY         CV030301         WEITZ & LUXENBERG, PC
DALY                 PATRICK W             NY         10239102         WEITZ & LUXENBERG, PC                                DANIELS              ARLEE                 NY         10604699         WEITZ & LUXENBERG, PC
DALY                 ROBERT J              NY         11008800         WEITZ & LUXENBERG, PC                                DANIELS              COTRELL               NY         CV015691         WEITZ & LUXENBERG, PC
DAM                  ANN                   NY         19036311         WEITZ & LUXENBERG, PC                                DANIELS              COTTRELL              NY         01CIV3910        WEITZ & LUXENBERG, PC
DAM                  HENRY                 NY         19036311         WEITZ & LUXENBERG, PC                                DANIELS              DOROTHY JEAN          NY         CV015691         WEITZ & LUXENBERG, PC
DAMANTI              GIOVANNI              NY         01111230         WEITZ & LUXENBERG, PC                                DANIELS              EDGAR R               NY         10807108         WEITZ & LUXENBERG, PC
D'AMATO              BERARDINO             NY         10811303         WEITZ & LUXENBERG, PC                                DANIELS              EDWIN C               NY         11086602         WEITZ & LUXENBERG, PC
D'AMATO              MARY                  NY         10811303         WEITZ & LUXENBERG, PC                                DANIELS              EDWIN C               NY         10680702         WEITZ & LUXENBERG, PC
DAMBRA               JOSEPHINE             NY         10008703         WEITZ & LUXENBERG, PC                                DANIELS              EMMA B                NY         12422602         WEITZ & LUXENBERG, PC
DAMBRA               NICHOLAS              NY         10008703         WEITZ & LUXENBERG, PC                                DANIELS              IVERY                 NY         10487600         WEITZ & LUXENBERG, PC
D'AMBRO              DONALD L              NY         11327702         WEITZ & LUXENBERG, PC                                DANIELS              JANIE                 NY         10604699         WEITZ & LUXENBERG, PC
D'AMBRO              DONALD L              NY         11981302         WEITZ & LUXENBERG, PC                                DANIELS              JASON                 NY         11086602         WEITZ & LUXENBERG, PC
D'AMBRO              JOHN V                NY         11327702         WEITZ & LUXENBERG, PC                                DANIELS              JASON                 NY         10680702         WEITZ & LUXENBERG, PC
D'AMBRO              JOHN V                NY         11981302         WEITZ & LUXENBERG, PC                                DANIELS              JOYCE                 NY         11008700         WEITZ & LUXENBERG, PC
DAMBROSIO            VINCENT SR            NY         10870801         WEITZ & LUXENBERG, PC                                DANIELS              KAREN                 NY         10604799         WEITZ & LUXENBERG, PC
DAMBROSIO            VINENZA ROSE          NY         10870801         WEITZ & LUXENBERG, PC                                DANIELS              KENNETH J             NY         10604799         WEITZ & LUXENBERG, PC
D'AMELIO             ANTHONY M             NY         10965302         WEITZ & LUXENBERG, PC                                DANIELS              LACIE                 NY         19005412         WEITZ & LUXENBERG, PC
DAMIAN               EUGENE W              NY         12668502         WEITZ & LUXENBERG, PC                                DANIELS              LEWIS G               NY         11008700         WEITZ & LUXENBERG, PC
DAMIAN               NORMA C               NY         12668502         WEITZ & LUXENBERG, PC                                DANIELS              MARION A              NY         1900012018       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 903
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 238 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DANIELS              ORANELL               NY         10604699         WEITZ & LUXENBERG, PC                                DAVI                 MARIE                 NY         12243101         WEITZ & LUXENBERG, PC
DANIELS              PATRICIA              NY         10487600         WEITZ & LUXENBERG, PC                                DAVI                 MARIE                 NY         01111226         WEITZ & LUXENBERG, PC
DANIELS              RUDOLPH J             NY         10487700         WEITZ & LUXENBERG, PC                                DAVID                BETTY                 NY         10488000         WEITZ & LUXENBERG, PC
DANIELS              RUSSELL CHARLES       NY         10680802         WEITZ & LUXENBERG, PC                                DAVID                HOWARD F              NY         10488000         WEITZ & LUXENBERG, PC
DANIELS              SHIRLEY               NY         19005412         WEITZ & LUXENBERG, PC                                DAVID                JOHN W                NY         10710102         WEITZ & LUXENBERG, PC
DANIELS              SHIRLEY               NY         10680802         WEITZ & LUXENBERG, PC                                DAVID                MURIEL                NY         10710102         WEITZ & LUXENBERG, PC
DANIELS              THOMAS J              NY         12423002         WEITZ & LUXENBERG, PC                                DAVIDOW              JOHN JR               NY         10488100         WEITZ & LUXENBERG, PC
DANISON              TIMOTHY W             NY         02106580         WEITZ & LUXENBERG, PC                                DAVIDSON             ALICE E               NY         10700102         WEITZ & LUXENBERG, PC
DANISZEWSKI          EDWARD                NY         10487800         WEITZ & LUXENBERG, PC                                DAVIDSON             BRUCE                 NY         12788802         WEITZ & LUXENBERG, PC
D'ANNA               CLARA M               NY         10489400         WEITZ & LUXENBERG, PC                                DAVIDSON             DAVID                 NY         12788802         WEITZ & LUXENBERG, PC
D'ANNA               RUSSELL N             NY         10489400         WEITZ & LUXENBERG, PC                                DAVIDSON             DOROTHY               NY         12788802         WEITZ & LUXENBERG, PC
DANNECKER            ROBERT E              NY         12668502         WEITZ & LUXENBERG, PC                                DAVIDSON             DOROTHY M             NY         11026802         WEITZ & LUXENBERG, PC
DANNER               BETTYE                NY         CV003590         WEITZ & LUXENBERG, PC                                DAVIDSON             EVELYN                NY         12100401         WEITZ & LUXENBERG, PC
DANNER               KENNY                 NY         CV003590         WEITZ & LUXENBERG, PC                                DAVIDSON             EVELYN                NY         10604802         WEITZ & LUXENBERG, PC
DANTE                BRIAN                 NY         1901212015       WEITZ & LUXENBERG, PC                                DAVIDSON             KENNETH G             NY         11026802         WEITZ & LUXENBERG, PC
DANTE                LOIS I                NY         1901212015       WEITZ & LUXENBERG, PC                                DAVIDSON             OLIVER                NY         12100401         WEITZ & LUXENBERG, PC
DANTONIO             JOSEPH V              NY         10603999         WEITZ & LUXENBERG, PC                                DAVIDSON             OLIVER                NY         10604802         WEITZ & LUXENBERG, PC
D'ANTONIO            FRANK                 NY         10375202         WEITZ & LUXENBERG, PC                                DAVIDSON             PAUL                  NY         10021501         WEITZ & LUXENBERG, PC
DANZ                 GREGORY               NY         12043101         WEITZ & LUXENBERG, PC                                DAVIDSON             RICHARD J             NY         10700102         WEITZ & LUXENBERG, PC
DANZ                 NORMA JEAN            NY         12043101         WEITZ & LUXENBERG, PC                                DAVIERO              DENNIS J              NY         10870801         WEITZ & LUXENBERG, PC
DANZI                DANIEL                NY         11818698         WEITZ & LUXENBERG, PC                                DAVIERO              SONYA                 NY         10870801         WEITZ & LUXENBERG, PC
DANZI                RUTH                  NY         11818698         WEITZ & LUXENBERG, PC                                DAVIS                AGUITA D              NY         01111229         WEITZ & LUXENBERG, PC
DARBY                DONALD                PA         190804842        WEITZ & LUXENBERG, PC                                DAVIS                ALFRED                NY         10607499         WEITZ & LUXENBERG, PC
DARCANGELO           DONALD A              NY         10487900         WEITZ & LUXENBERG, PC                                DAVIS                BETTY                 NY         CV020219         WEITZ & LUXENBERG, PC
DARCANGELO           NORA                  NY         10487900         WEITZ & LUXENBERG, PC                                DAVIS                BRUCE EDWARD          NY         12801902         WEITZ & LUXENBERG, PC
D'ARCANGELO          MICHELLE              NY         1900182013       WEITZ & LUXENBERG, PC                                DAVIS                CASILDA               NY         12042901         WEITZ & LUXENBERG, PC
DARENBERG            THOMAS P              NY         1900222019       WEITZ & LUXENBERG, PC                                DAVIS                CECELIA               NY         12039901         WEITZ & LUXENBERG, PC
DARIA                ANTHONY J             NY         10031507         WEITZ & LUXENBERG, PC                                DAVIS                CHESTER WILLIAM       NY         00CIV1202        WEITZ & LUXENBERG, PC
DARIA                MARILYNN E            NY         10031507         WEITZ & LUXENBERG, PC                                DAVIS                CLARA                 NY         CV017491         WEITZ & LUXENBERG, PC
DARMETKO             JOHN                  NY         10604099         WEITZ & LUXENBERG, PC                                DAVIS                CLIFTON W             NY         10740102         WEITZ & LUXENBERG, PC
DARMETKO             SUSAN                 NY         10604099         WEITZ & LUXENBERG, PC                                DAVIS                DAISY M               NY         CV013921         WEITZ & LUXENBERG, PC
DARMSTEDTER          ARTHUR                NY         8006302014       WEITZ & LUXENBERG, PC                                DAVIS                DANIEL L              NY         12802602         WEITZ & LUXENBERG, PC
DARMSTEDTER          JAMES A               NY         10571402         WEITZ & LUXENBERG, PC                                DAVIS                DAVID C               NY         10032903         WEITZ & LUXENBERG, PC
DARMSTEDTER          JAMES A               NY         11180102         WEITZ & LUXENBERG, PC                                DAVIS                DEBRA                 NY         10021801         WEITZ & LUXENBERG, PC
DARMSTEDTER          LORRAINE J            NY         10571402         WEITZ & LUXENBERG, PC                                DAVIS                DIANE M               NY         12801902         WEITZ & LUXENBERG, PC
DARMSTEDTER          LORRAINE J            NY         11180102         WEITZ & LUXENBERG, PC                                DAVIS                DOROTHY               NY         CV016246         WEITZ & LUXENBERG, PC
DARNELL              ANNETTE               NY         99114764         WEITZ & LUXENBERG, PC                                DAVIS                DUTCH G               NY         CV012847         WEITZ & LUXENBERG, PC
DARNELL              HORACE T              NY         99114764         WEITZ & LUXENBERG, PC                                DAVIS                EDWARD                NY         11327802         WEITZ & LUXENBERG, PC
DARNULC              CONSTANCE             NY         10085503         WEITZ & LUXENBERG, PC                                DAVIS                ELAINE                NY         10487400         WEITZ & LUXENBERG, PC
DARNULC              CONSTANCE             NY         10625003         WEITZ & LUXENBERG, PC                                DAVIS                EUGENE J              NY         12100401         WEITZ & LUXENBERG, PC
DARON                STEPHEN               NY         CV013921         WEITZ & LUXENBERG, PC                                DAVIS                EVERETT D             NY         10021701         WEITZ & LUXENBERG, PC
D'ASCOLI             CARMINE               NY         98118187         WEITZ & LUXENBERG, PC                                DAVIS                EVON                  NY         11026702         WEITZ & LUXENBERG, PC
D'ASCOLI             CINDY                 NY         12306401         WEITZ & LUXENBERG, PC                                DAVIS                FANNIE                NY         10487200         WEITZ & LUXENBERG, PC
D'ASCOLI             CINDY                 NY         01111230         WEITZ & LUXENBERG, PC                                DAVIS                GENE R                NY         10906202         WEITZ & LUXENBERG, PC
D'ASCOLI             RACHEL                NY         98118187         WEITZ & LUXENBERG, PC                                DAVIS                GEORGE H              DE         N18C07139ASB     WEITZ & LUXENBERG, PC
D'ASCOLI             WAYNE J               NY         12306401         WEITZ & LUXENBERG, PC                                DAVIS                GILBERT               NY         10021801         WEITZ & LUXENBERG, PC
D'ASCOLI             WAYNE J               NY         01111230         WEITZ & LUXENBERG, PC                                DAVIS                IDA M                 NY         01CIV3900        WEITZ & LUXENBERG, PC
DASH                 DONALD                NY         10021401         WEITZ & LUXENBERG, PC                                DAVIS                JAMES                 NY         12070702         WEITZ & LUXENBERG, PC
DASH                 SARA                  NY         10021401         WEITZ & LUXENBERG, PC                                DAVIS                JAMES J               NY         12213801         WEITZ & LUXENBERG, PC
DASHNAW              CLAUDE O              NY         109922           WEITZ & LUXENBERG, PC                                DAVIS                JAMES R               NY         19022309         WEITZ & LUXENBERG, PC
DASHNAW              MARGARET              NY         109922           WEITZ & LUXENBERG, PC                                DAVIS                JERRY VANCE           NY         CV003590         WEITZ & LUXENBERG, PC
DAUGHTRY             ROBERT LAMONT         NY         10607399         WEITZ & LUXENBERG, PC                                DAVIS                JOAN                  NY         10716702         WEITZ & LUXENBERG, PC
DAUGHTRY             WILLIAM H             NY         10607399         WEITZ & LUXENBERG, PC                                DAVIS                JOAN                  NY         99114769         WEITZ & LUXENBERG, PC
DAUM                 LINDA                 NY         I200110071       WEITZ & LUXENBERG, PC                                DAVIS                JOAN                  NY         11280602         WEITZ & LUXENBERG, PC
DAUM                 LINDA                 NY         12448902         WEITZ & LUXENBERG, PC                                DAVIS                JOHN W                NY         10487100         WEITZ & LUXENBERG, PC
DAUM                 LINDA                 NY         10177103         WEITZ & LUXENBERG, PC                                DAVIS                JOSEPH E              NY         02106580         WEITZ & LUXENBERG, PC
DAUNCE               HAROLD                NY         98118188         WEITZ & LUXENBERG, PC                                DAVIS                JOSEPH E              NY         11325002         WEITZ & LUXENBERG, PC
DAUNCE               PATRICIA              NY         98118188         WEITZ & LUXENBERG, PC                                DAVIS                JOSEPH N              NY         11026702         WEITZ & LUXENBERG, PC
DAVENPORT            JANET                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                DAVIS                JOSEPH P              NY         10716702         WEITZ & LUXENBERG, PC
DAVENPORT            JERRY LYNN            NY         01CIV3910        WEITZ & LUXENBERG, PC                                DAVIS                JOSEPH P              NY         11280602         WEITZ & LUXENBERG, PC
D'AVERSA             CARMELA               NY         10489500         WEITZ & LUXENBERG, PC                                DAVIS                KATRINA               NY         12788602         WEITZ & LUXENBERG, PC
D'AVERSA             JOSEPH                NY         10489500         WEITZ & LUXENBERG, PC                                DAVIS                KATRINA               NY         10248003         WEITZ & LUXENBERG, PC
D'AVERSA             ORESTE J              NY         10489500         WEITZ & LUXENBERG, PC                                DAVIS                LELAND E              NY         12444102         WEITZ & LUXENBERG, PC
DAVI                 AMTOMIA               NY         11009500         WEITZ & LUXENBERG, PC                                DAVIS                LELAND E              NY         10319703         WEITZ & LUXENBERG, PC
DAVI                 ANGELA                NY         99114763         WEITZ & LUXENBERG, PC                                DAVIS                LEON                  NY         10487200         WEITZ & LUXENBERG, PC
DAVI                 ANTONIO               NY         11475699         WEITZ & LUXENBERG, PC                                DAVIS                LEONARD J             NY         99114769         WEITZ & LUXENBERG, PC
DAVI                 BENEDETTO             NY         11009500         WEITZ & LUXENBERG, PC                                DAVIS                LESLIE W              NY         1900722013       WEITZ & LUXENBERG, PC
DAVI                 FRANCO                NY         99114763         WEITZ & LUXENBERG, PC                                DAVIS                LINDA                 NY         00CIV1202        WEITZ & LUXENBERG, PC
DAVI                 JOSEPH J              NY         12243101         WEITZ & LUXENBERG, PC                                DAVIS                LORRAINE              NY         01111235         WEITZ & LUXENBERG, PC
DAVI                 JOSEPH J              NY         01111226         WEITZ & LUXENBERG, PC                                DAVIS                LORRAINE              NY         11829001         WEITZ & LUXENBERG, PC
DAVI                 MARIA ROSARIA         NY         11475699         WEITZ & LUXENBERG, PC                                DAVIS                LOUIS C               NY         12788602         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 904
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 239 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DAVIS                LOUIS C               NY         10248003         WEITZ & LUXENBERG, PC                                DE ARELLANO          LUZ RAMIREZ           NY         12356401         WEITZ & LUXENBERG, PC
DAVIS                LOVELL                NY         01CIV3910        WEITZ & LUXENBERG, PC                                DE BARROS            JOAQUIM               NY         01111228         WEITZ & LUXENBERG, PC
DAVIS                LUCILLE               NY         11327802         WEITZ & LUXENBERG, PC                                DE BLASIO            ANTHONY J             NY         01107656         WEITZ & LUXENBERG, PC
DAVIS                MARCELINA             DE         N18C07139ASB     WEITZ & LUXENBERG, PC                                DE BLASIO            LENA                  NY         01107656         WEITZ & LUXENBERG, PC
DAVIS                MARCUS D              NY         12042901         WEITZ & LUXENBERG, PC                                DE BLASIO            PETER                 NY         01107656         WEITZ & LUXENBERG, PC
DAVIS                MARGARET              NY         12802602         WEITZ & LUXENBERG, PC                                DE BOLD              JOSEPHINE             NY         19003009         WEITZ & LUXENBERG, PC
DAVIS                MARY                  NY         10032903         WEITZ & LUXENBERG, PC                                DE BOLD              WILLIAM EDWARD        NY         19003009         WEITZ & LUXENBERG, PC
DAVIS                MARY                  NY         10021701         WEITZ & LUXENBERG, PC                                DE BRUIN             HYMAN                 NY         I200110284       WEITZ & LUXENBERG, PC
DAVIS                MARY                  NY         CV003590         WEITZ & LUXENBERG, PC                                DE BRUIN             ROBERTA WOLFF         NY         I200110284       WEITZ & LUXENBERG, PC
DAVIS                MARY                  NY         CV012847         WEITZ & LUXENBERG, PC                                DE CANDIA            MARGARET              NY         11819498         WEITZ & LUXENBERG, PC
DAVIS                MARY ETHEL            NY         01CIV3910        WEITZ & LUXENBERG, PC                                DE CANDIA            PETER                 NY         11819498         WEITZ & LUXENBERG, PC
DAVIS                MATTHEW               NY         10487300         WEITZ & LUXENBERG, PC                                DE CARLO             BARBARA A             NY         11026802         WEITZ & LUXENBERG, PC
DAVIS                NANCY                 NY         10607499         WEITZ & LUXENBERG, PC                                DE CARLO             JOHN                  NY         10023403         WEITZ & LUXENBERG, PC
DAVIS                NANCY                 NY         12070702         WEITZ & LUXENBERG, PC                                DE CARLO             LOUISE                NY         10023403         WEITZ & LUXENBERG, PC
DAVIS                NANCY                 NY         CV003590         WEITZ & LUXENBERG, PC                                DE CARLO             VICTOR E              NY         11026802         WEITZ & LUXENBERG, PC
DAVIS                OBREY L               NY         12039901         WEITZ & LUXENBERG, PC                                DE CHELLIS           FLORENCE              NY         10722102         WEITZ & LUXENBERG, PC
DAVIS                OSCAR                 NY         CV016246         WEITZ & LUXENBERG, PC                                DE CHELLIS           LOUIS                 NY         10722102         WEITZ & LUXENBERG, PC
DAVIS                PAULINE               NY         10906202         WEITZ & LUXENBERG, PC                                DE CICCO             JOAN                  NY         10472200         WEITZ & LUXENBERG, PC
DAVIS                PHYLLIS               NY         99116947         WEITZ & LUXENBERG, PC                                DE CICCO             JOSEPH A              NY         10472200         WEITZ & LUXENBERG, PC
DAVIS                PHYLLIS J             NY         10487100         WEITZ & LUXENBERG, PC                                DE CILLA             DOROTHY               NY         11010400         WEITZ & LUXENBERG, PC
DAVIS                READA J               NY         12444102         WEITZ & LUXENBERG, PC                                DE CILLA             MICHAEL S             NY         11010400         WEITZ & LUXENBERG, PC
DAVIS                READA J               NY         10319703         WEITZ & LUXENBERG, PC                                DE CRESCENZO         JOHN                  NY         10472300         WEITZ & LUXENBERG, PC
DAVIS                RICHARD               NY         01CIV3900        WEITZ & LUXENBERG, PC                                DE FABIO             CATHERINE             NY         10529400         WEITZ & LUXENBERG, PC
DAVIS                RITA                  NY         02106580         WEITZ & LUXENBERG, PC                                DE FABIO             DOMINICK              NY         10529400         WEITZ & LUXENBERG, PC
DAVIS                RITA                  NY         11325002         WEITZ & LUXENBERG, PC                                DE FALCO             ROSE                  NY         11010300         WEITZ & LUXENBERG, PC
DAVIS                ROBERT                NY         01111235         WEITZ & LUXENBERG, PC                                DE FALCO             SALVATORE             NY         11010300         WEITZ & LUXENBERG, PC
DAVIS                ROBERT                NY         11450205         WEITZ & LUXENBERG, PC                                DE FELICE            KAREN                 NY         11477099         WEITZ & LUXENBERG, PC
DAVIS                ROBERT                NY         11829001         WEITZ & LUXENBERG, PC                                DE FELICE            MICHAEL               NY         11477099         WEITZ & LUXENBERG, PC
DAVIS                ROBERT GLEN           NY         CV003590         WEITZ & LUXENBERG, PC                                DE FELICE            NICHOLAS A            NY         10670802         WEITZ & LUXENBERG, PC
DAVIS                SHEILA                NY         19022309         WEITZ & LUXENBERG, PC                                DE FELICE            VIRGINIA              NY         10670802         WEITZ & LUXENBERG, PC
DAVIS                SHELBY JAMES          NY         99116947         WEITZ & LUXENBERG, PC                                DE FLORIO            MARY                  NY         10472400         WEITZ & LUXENBERG, PC
DAVIS                STACY                 DE         N18C07139ASB     WEITZ & LUXENBERG, PC                                DE FLORIO            MICHAEL               NY         10472400         WEITZ & LUXENBERG, PC
DAVIS                STEVEN                NY         12693402         WEITZ & LUXENBERG, PC                                DE FONCE             BENJAMIN A            NY         10473200         WEITZ & LUXENBERG, PC
DAVIS                THEODORE C            NY         1901992018       WEITZ & LUXENBERG, PC                                DE GEORGE            DIANA                 NY         12081499         WEITZ & LUXENBERG, PC
DAVIS                THOMAS TERRY          NY         CV017491         WEITZ & LUXENBERG, PC                                DE GEORGE            FRANK V               NY         12081499         WEITZ & LUXENBERG, PC
DAVIS                TRACY                 DE         N18C07139ASB     WEITZ & LUXENBERG, PC                                DE GRAUW             HENRY                 NY         11560601         WEITZ & LUXENBERG, PC
DAVIS                VIOLA L               NY         12100401         WEITZ & LUXENBERG, PC                                DE GRAUW             HENRY                 NY         01111218         WEITZ & LUXENBERG, PC
DAVIS                WALLACE T             NY         CV020219         WEITZ & LUXENBERG, PC                                DE GRAUW             JACOB                 NY         11560601         WEITZ & LUXENBERG, PC
DAVIS                WILLIAM A             NY         10487400         WEITZ & LUXENBERG, PC                                DE GRAUW             JACOB                 NY         01111218         WEITZ & LUXENBERG, PC
DAVIS                WILLIAM THEODIS       NY         CV012847         WEITZ & LUXENBERG, PC                                DE GRAW              DAAVID N              NY         10073103         WEITZ & LUXENBERG, PC
DAVIS                ZORA M                NY         10487300         WEITZ & LUXENBERG, PC                                DE GRAW              KIM                   NY         10073103         WEITZ & LUXENBERG, PC
DAVIS                VIRGINIA              NY         11450205         WEITZ & LUXENBERG, PC                                DE GROOT             MARRIANN              NY         1904282013       WEITZ & LUXENBERG, PC
DAVISON              BRUCE N               NY         02113280         WEITZ & LUXENBERG, PC                                DE GROOT             RICHARD               NY         1904282013       WEITZ & LUXENBERG, PC
DAVISON              BRUCE N               NY         12010102         WEITZ & LUXENBERG, PC                                DE HEER              DAVID                 NY         02107005         WEITZ & LUXENBERG, PC
DAVISON              JOHN A                PA         180802710        WEITZ & LUXENBERG, PC                                DE HEER              MARION A              NY         02107005         WEITZ & LUXENBERG, PC
DAVISON              MARCIA RAE            NY         02113280         WEITZ & LUXENBERG, PC                                DE JESUS             SERGIO                NY         10473300         WEITZ & LUXENBERG, PC
DAVISON              MARCIA RAE            NY         12010102         WEITZ & LUXENBERG, PC                                DE JOHN              ALBERT                NY         10473000         WEITZ & LUXENBERG, PC
DAWES                ALBERTA               NY         CV017880         WEITZ & LUXENBERG, PC                                DE JOHN              FLORENCE              NY         10473000         WEITZ & LUXENBERG, PC
DAWES                CHARLES HENRY         NY         CV017880         WEITZ & LUXENBERG, PC                                DE KONING            LEONARD E             NY         11123101         WEITZ & LUXENBERG, PC
DAWKINS              JULIA                 NY         10491600         WEITZ & LUXENBERG, PC                                DE KONING            WINIFRED              NY         11123101         WEITZ & LUXENBERG, PC
DAWKINS              MARTHA                NY         10491600         WEITZ & LUXENBERG, PC                                DE LA CRUZ           DORA                  NY         1904432012       WEITZ & LUXENBERG, PC
DAWKINS              WILLIAM               NY         10491600         WEITZ & LUXENBERG, PC                                DE LA CRUZ           IGNACIO               NY         1904432012       WEITZ & LUXENBERG, PC
DAWLEY               HAROLD B              NY         02105713         WEITZ & LUXENBERG, PC                                DE LILLO             FRANCES               NY         10022201         WEITZ & LUXENBERG, PC
DAWLEY               JOYCE A               NY         02105713         WEITZ & LUXENBERG, PC                                DE LILLO             PASQUALE              NY         10022201         WEITZ & LUXENBERG, PC
DAY                  JOHN E                NY         CV020221         WEITZ & LUXENBERG, PC                                DE LISA              ANGELA                NY         10023403         WEITZ & LUXENBERG, PC
DAY                  LINDA L               NY         11047802         WEITZ & LUXENBERG, PC                                DE LISA              ANTHONY               NY         10023403         WEITZ & LUXENBERG, PC
DAY                  RICHARD J             NY         11047802         WEITZ & LUXENBERG, PC                                DE LONG              DONALD L              NY         20011009         WEITZ & LUXENBERG, PC
DAY                  S LYNN                NY         CV020221         WEITZ & LUXENBERG, PC                                DE LONG              EARL W                NY         01106929         WEITZ & LUXENBERG, PC
DAY                  WILLIAM H             NY         02106709         WEITZ & LUXENBERG, PC                                DE LONG              EDNA                  NY         01106929         WEITZ & LUXENBERG, PC
DAY                  WINIFRED              NY         02106709         WEITZ & LUXENBERG, PC                                DE LONG              EUGENE                NY         10022301         WEITZ & LUXENBERG, PC
DAYWALT              SUZANNE               NY         19019111         WEITZ & LUXENBERG, PC                                DE LONG              KAREN                 NY         10022301         WEITZ & LUXENBERG, PC
DAZET                CARMELA               NY         1902222013       WEITZ & LUXENBERG, PC                                DE LOS SANTOS        ANGEL                 NY         98118196         WEITZ & LUXENBERG, PC
DAZET                JOSEPH                NY         1902222013       WEITZ & LUXENBERG, PC                                DE LOS SANTOS        RAMONA                NY         98118196         WEITZ & LUXENBERG, PC
DDI TROIA            ANTHONY               NY         11158903         WEITZ & LUXENBERG, PC                                DE LUCA              ANTHONY               NY         12039201         WEITZ & LUXENBERG, PC
DE ANGELIS           CARMELO               NY         01111224         WEITZ & LUXENBERG, PC                                DE LUCA              ANTHONY M             NY         1901942015       WEITZ & LUXENBERG, PC
DE ANGELIS           FLORA                 NY         01111224         WEITZ & LUXENBERG, PC                                DE LUCA              ASSUNTA               NY         12039201         WEITZ & LUXENBERG, PC
DE ANGELO            DONALD                NY         10085503         WEITZ & LUXENBERG, PC                                DE LUCA              DONNA                 NY         1901942015       WEITZ & LUXENBERG, PC
DE ANGELO            DONALD                NY         11355403         WEITZ & LUXENBERG, PC                                DE LUCIA             KATHLEEN              NY         02106580         WEITZ & LUXENBERG, PC
DE ANGELO            MARILYN E             NY         10085503         WEITZ & LUXENBERG, PC                                DE LUCIA             MICHAEL A             NY         02106580         WEITZ & LUXENBERG, PC
DE ANGELO            MARILYN E             NY         11355403         WEITZ & LUXENBERG, PC                                DE MARCO             ANTHONY               NY         11843403         WEITZ & LUXENBERG, PC
DE ARELLANO          ANDRES RAMIREZ        NY         12356401         WEITZ & LUXENBERG, PC                                DE MARCO             ELISA                 NY         02107099         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 905
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 240 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DE MARCO             FELICIA               NY         11026702         WEITZ & LUXENBERG, PC                                DEAHL                GARVEY                NY         11123101         WEITZ & LUXENBERG, PC
DE MARCO             JOAN                  NY         11843403         WEITZ & LUXENBERG, PC                                DEAKIN               JON H                 NY         12693502         WEITZ & LUXENBERG, PC
DE MARCO             JOHN                  NY         02107099         WEITZ & LUXENBERG, PC                                DEAL                 CALVIN FRANK          NY         CV017734         WEITZ & LUXENBERG, PC
DE MARCO             PAUL                  NY         11026702         WEITZ & LUXENBERG, PC                                DEAL                 DOROTHY               NY         CV017734         WEITZ & LUXENBERG, PC
DE MARINIS           DOMINICK              NY         11819798         WEITZ & LUXENBERG, PC                                DEAMER               CATHERINE             NY         10022501         WEITZ & LUXENBERG, PC
DE MARINIS           MARIE                 NY         11819798         WEITZ & LUXENBERG, PC                                DEAMER               JOSEPH                NY         10022501         WEITZ & LUXENBERG, PC
DE MARTINO           CHARLES               NY         01111223         WEITZ & LUXENBERG, PC                                DEAN                 ELIZABETH             NY         11819898         WEITZ & LUXENBERG, PC
DE MARTINO           MATTHEW               NY         01111226         WEITZ & LUXENBERG, PC                                DEAN                 ELIZABETH             NY         10472800         WEITZ & LUXENBERG, PC
DE MATTEO            JANE                  NY         10194002         WEITZ & LUXENBERG, PC                                DEAN                 GEORGE                NY         10472800         WEITZ & LUXENBERG, PC
DE MATTEO            NICHOLAS              NY         10194002         WEITZ & LUXENBERG, PC                                DEAN                 IRMA                  NY         10022601         WEITZ & LUXENBERG, PC
DE MAY               ALICE                 NY         11010200         WEITZ & LUXENBERG, PC                                DEAN                 JOHN                  NY         99116948         WEITZ & LUXENBERG, PC
DE MAY               CHARLES               NY         11010200         WEITZ & LUXENBERG, PC                                DEAN                 JOHN                  NY         11819898         WEITZ & LUXENBERG, PC
DE MAYO              LILLIAN               NY         10008703         WEITZ & LUXENBERG, PC                                DEAN                 KARIN                 NY         10152105         WEITZ & LUXENBERG, PC
DE MAYO              LILLIAN               NY         10316903         WEITZ & LUXENBERG, PC                                DEAN                 LLOYD P               NY         10022601         WEITZ & LUXENBERG, PC
DE MAYO              MATTHEW M             NY         10008703         WEITZ & LUXENBERG, PC                                DEAN                 RAYMOND J             NY         11819898         WEITZ & LUXENBERG, PC
DE MAYO              MATTHEW M             NY         10316903         WEITZ & LUXENBERG, PC                                DEAN                 WALTER B              NY         11449999         WEITZ & LUXENBERG, PC
DE MELLA             ADAM R                NY         12038801         WEITZ & LUXENBERG, PC                                DEANE                BARBARA J             NY         02105716         WEITZ & LUXENBERG, PC
DE MELLA             MARIA                 NY         12038801         WEITZ & LUXENBERG, PC                                DEANE                BARBARA J             NY         11168502         WEITZ & LUXENBERG, PC
DE NICE              JEFFREY T             NY         11380502         WEITZ & LUXENBERG, PC                                DEANE                CECELIA C             NY         10740302         WEITZ & LUXENBERG, PC
DE NICE              JEFFREY T             NY         02106690         WEITZ & LUXENBERG, PC                                DEANE                CECELIA C             NY         11412502         WEITZ & LUXENBERG, PC
DE NICOLA            ANTHONY R             NY         11123101         WEITZ & LUXENBERG, PC                                DEANE                RODERICK L            NY         10740302         WEITZ & LUXENBERG, PC
DE NICOLA            PATRICIA              NY         11123101         WEITZ & LUXENBERG, PC                                DEANE                RODERICK L            NY         11412502         WEITZ & LUXENBERG, PC
DE NOBILE            MICHAEL               NY         12039601         WEITZ & LUXENBERG, PC                                DEANE                THOMAS P              NY         02105716         WEITZ & LUXENBERG, PC
DE NOBILE            REGINA                NY         12039601         WEITZ & LUXENBERG, PC                                DEANE                THOMAS P              NY         11168502         WEITZ & LUXENBERG, PC
DE PALMA             NICHOLAS              NY         11236000         WEITZ & LUXENBERG, PC                                DEANGELIS            AIDA                  NY         10604299         WEITZ & LUXENBERG, PC
DE PALO              JOSEPH J              NY         10485304         WEITZ & LUXENBERG, PC                                DEANGELIS            FILIPPO               NY         12185399         WEITZ & LUXENBERG, PC
DE PALO              ROBERT                NY         10485304         WEITZ & LUXENBERG, PC                                DEANGELIS            JOSEPH                NY         1900312015       WEITZ & LUXENBERG, PC
DE PASQUALE          JANET                 NY         11010100         WEITZ & LUXENBERG, PC                                DEANGELIS            NORA                  NY         1900312015       WEITZ & LUXENBERG, PC
DE PASQUALE          JOHN                  NY         11010100         WEITZ & LUXENBERG, PC                                DEANGELIS            PASQUALINA            NY         12185399         WEITZ & LUXENBERG, PC
DE PIERRO            FLORENCE J            NY         10576306         WEITZ & LUXENBERG, PC                                DEANGELIS            PATSY                 NY         10604299         WEITZ & LUXENBERG, PC
DE PIERRO            LOUIS J               NY         10576306         WEITZ & LUXENBERG, PC                                DEANS                ADA                   NY         10564400         WEITZ & LUXENBERG, PC
DE PLANCHE           JOSEPH H              NY         99114771         WEITZ & LUXENBERG, PC                                DEANS                JOHNNIE               NY         10564400         WEITZ & LUXENBERG, PC
DE PLANCHE           MARION                NY         99114771         WEITZ & LUXENBERG, PC                                DE'ARMOND            DAVIS GALE            NY         CV013921         WEITZ & LUXENBERG, PC
DE PUY               DAVID E               NY         10658102         WEITZ & LUXENBERG, PC                                DEAS                 JOHNY                 NY         11450099         WEITZ & LUXENBERG, PC
DE PUY               THELMA H              NY         10658102         WEITZ & LUXENBERG, PC                                DEATON               JIMMY DEAN            NY         01CIV3910        WEITZ & LUXENBERG, PC
DE RENZI             DOMINIC               NY         12341701         WEITZ & LUXENBERG, PC                                DEATON               RUTH                  NY         01CIV3910        WEITZ & LUXENBERG, PC
DE RENZI             JEAN                  NY         12341701         WEITZ & LUXENBERG, PC                                DEAVER               CAROL                 NY         10022701         WEITZ & LUXENBERG, PC
DE RENZI             PASQUALE              NY         12341701         WEITZ & LUXENBERG, PC                                DEAVER               EDWARD C              NY         10022701         WEITZ & LUXENBERG, PC
DE ROSA              PASQUALE JOSEPH       NY         12039301         WEITZ & LUXENBERG, PC                                DEBELLOTTE           EILEEN                NY         10022801         WEITZ & LUXENBERG, PC
DE ROSE              HELEN                 NY         11026702         WEITZ & LUXENBERG, PC                                DEBELLOTTE           RUPERT                NY         10022801         WEITZ & LUXENBERG, PC
DE ROSE              RALPH                 NY         11026702         WEITZ & LUXENBERG, PC                                DEBIEN               ETHEL JANE            NY         10645702         WEITZ & LUXENBERG, PC
DE SANTIS            EGINO                 NY         10472600         WEITZ & LUXENBERG, PC                                DEBIEN               GEORGE O              NY         02106694         WEITZ & LUXENBERG, PC
DE SANTIS            JOSEPH                NY         10604199         WEITZ & LUXENBERG, PC                                DEBIEN               GERALD JOSEPH         NY         02106692         WEITZ & LUXENBERG, PC
DE SANTIS            MARIE                 NY         10604199         WEITZ & LUXENBERG, PC                                DEBIEN               LEO ROBERT            NY         10645702         WEITZ & LUXENBERG, PC
DE SANTIS            WANDA                 NY         10472600         WEITZ & LUXENBERG, PC                                DEBIEN               NORMA C               NY         12448902         WEITZ & LUXENBERG, PC
DE SANTO             JOSEPH A              NY         10740302         WEITZ & LUXENBERG, PC                                DEBIEN               NORMA C               NY         109631           WEITZ & LUXENBERG, PC
DE SANTO             JUDY                  NY         10740302         WEITZ & LUXENBERG, PC                                DEBIEN               RONALD P              NY         12448902         WEITZ & LUXENBERG, PC
DE SILVA             ALBERT JOHNSON        NY         11477299         WEITZ & LUXENBERG, PC                                DEBIEN               RONALD P              NY         109631           WEITZ & LUXENBERG, PC
DE SILVA             MARY                  NY         11477299         WEITZ & LUXENBERG, PC                                DEBIEN               SUSAN A               NY         02106692         WEITZ & LUXENBERG, PC
DE SIMONE            ALICE                 NY         10710002         WEITZ & LUXENBERG, PC                                DEBISCEGLIE          FRANK                 NY         01111233         WEITZ & LUXENBERG, PC
DE SIMONE            HENRY L               NY         10710002         WEITZ & LUXENBERG, PC                                DEBISCEGLIE          YOLANDA               NY         01111233         WEITZ & LUXENBERG, PC
DE SIO               LOUISE                NY         10697608         WEITZ & LUXENBERG, PC                                DEBLIEK              JEAN L                NY         11717400         WEITZ & LUXENBERG, PC
DE SIO               THOMAS                NY         10697608         WEITZ & LUXENBERG, PC                                DEBOTH               FRANK M               NY         12668502         WEITZ & LUXENBERG, PC
DE TOLLA             DOLORES               NY         11477399         WEITZ & LUXENBERG, PC                                DECERCE              ROBERT B              NY         10605699         WEITZ & LUXENBERG, PC
DE TOLLA             JAMES                 NY         11477399         WEITZ & LUXENBERG, PC                                DECHIARO             DONNA                 NY         10473800         WEITZ & LUXENBERG, PC
DE VERTEUIL          JOHN                  NY         10603599         WEITZ & LUXENBERG, PC                                DECHIARO             JOSEPHINE CHAIRE      NY         10473800         WEITZ & LUXENBERG, PC
DE VERTEUIL          RITA                  NY         10603599         WEITZ & LUXENBERG, PC                                DECHIARO             SEBASTIAN             NY         10473800         WEITZ & LUXENBERG, PC
DE VITO              JAMES                 NY         12316402         WEITZ & LUXENBERG, PC                                DECIBUS              EDWARD                NY         12433902         WEITZ & LUXENBERG, PC
DE VITO              KATHERYN C            NY         12316402         WEITZ & LUXENBERG, PC                                DECITISE             CHARLES P             NY         10691699         WEITZ & LUXENBERG, PC
DE VIVO              ANTHONY               NY         10472700         WEITZ & LUXENBERG, PC                                DECITISE             JANICE                NY         10691699         WEITZ & LUXENBERG, PC
DE WERT              KENNETH L             NY         99114765         WEITZ & LUXENBERG, PC                                DECKER               CAROL                 NY         1902202014       WEITZ & LUXENBERG, PC
DE WERT              SHIRLEY A             NY         99114765         WEITZ & LUXENBERG, PC                                DECKER               CATHY M               NY         11815198         WEITZ & LUXENBERG, PC
DE WISPELAERE        ISAAC                 NY         10670602         WEITZ & LUXENBERG, PC                                DECKER               ROBERT R              NY         11815198         WEITZ & LUXENBERG, PC
DE WISPELAERE        NAN                   NY         10670602         WEITZ & LUXENBERG, PC                                DECKER               WILLIAM F             NY         1902202014       WEITZ & LUXENBERG, PC
DE WITT              KENNETH               NY         10034902         WEITZ & LUXENBERG, PC                                DECKER               WILLIAM S             NY         201500002399     WEITZ & LUXENBERG, PC
DE WITT              ROSE M                NY         10034902         WEITZ & LUXENBERG, PC                                DECOSSE              DONALD N              NY         10167802         WEITZ & LUXENBERG, PC
DE YOUNG             EDWARD C              NY         02106709         WEITZ & LUXENBERG, PC                                DECOSSE              MARJORIE              NY         10167802         WEITZ & LUXENBERG, PC
DE YOUNG             KATHRYN               NY         02106709         WEITZ & LUXENBERG, PC                                DEDMON               AUDALIE               NY         99114501         WEITZ & LUXENBERG, PC
DE YOUNG             PATRICIA              NY         02106709         WEITZ & LUXENBERG, PC                                DEDMON               THOMAS B              NY         99114501         WEITZ & LUXENBERG, PC
DE YOUNG             RICHARD K             NY         02106709         WEITZ & LUXENBERG, PC                                DEEGAN               FRANCIS J             NY         1900532019       WEITZ & LUXENBERG, PC
DEAHL                ELIZABETH             NY         11123101         WEITZ & LUXENBERG, PC                                DEEGAN               MARY                  NY         1900532019       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 906
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 241 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DEERY                EDWARD                NY         11009900         WEITZ & LUXENBERG, PC                                DEL PRETE            FRANK                 NY         11448899         WEITZ & LUXENBERG, PC
DEERY                NORA                  NY         11009900         WEITZ & LUXENBERG, PC                                DEL SORDO            GRACE                 NY         10564500         WEITZ & LUXENBERG, PC
DEES                 LEONARD               NY         CV024386         WEITZ & LUXENBERG, PC                                DEL SORDO            JOSEPH J              NY         10564500         WEITZ & LUXENBERG, PC
DEES                 OLETHA PEARL          NY         CV024386         WEITZ & LUXENBERG, PC                                DELACE               MARIE MAIDA           NY         10404401         WEITZ & LUXENBERG, PC
DEFAZIO              JOHN                  NY         01111235         WEITZ & LUXENBERG, PC                                DELAHUNTY            DEANNA                NY         1903112012       WEITZ & LUXENBERG, PC
DEFAZIO              JOHN                  NY         11828901         WEITZ & LUXENBERG, PC                                DELAHUNTY            MILDRED               NY         1903112012       WEITZ & LUXENBERG, PC
DEFELICE             EUGENE C              NY         1903662013       WEITZ & LUXENBERG, PC                                DELANEY              GEORGE EDWARD         NY         01CIV3901        WEITZ & LUXENBERG, PC
DEFELICE             JEAN                  NY         1903662013       WEITZ & LUXENBERG, PC                                DELANEY              JAMES P               NY         11448999         WEITZ & LUXENBERG, PC
DEFILLIPIS           LOUIS                 NY         19051511         WEITZ & LUXENBERG, PC                                DELANEY              LINDA                 NY         01CIV3901        WEITZ & LUXENBERG, PC
DEFILLIPPIS          LOUIS                 NY         19039609         WEITZ & LUXENBERG, PC                                DELANEY              MARY DENISE           NY         10471700         WEITZ & LUXENBERG, PC
DEFLIPPO             JOAN                  NY         10931803         WEITZ & LUXENBERG, PC                                DELANEY              PATRICIA              NY         11448999         WEITZ & LUXENBERG, PC
DEFOSSEY             EDWARD J              NY         1900152018       WEITZ & LUXENBERG, PC                                DELANEY              RICHARD J             NY         10471700         WEITZ & LUXENBERG, PC
DEFOSSEY             MERRIE ANN            NY         1900152018       WEITZ & LUXENBERG, PC                                DELANO               JOSEPH DOMINIC        NY         10687399         WEITZ & LUXENBERG, PC
DEGANIS              ERNEST                NY         98118150         WEITZ & LUXENBERG, PC                                DELAUTER             JAMES                 NY         1903992012       WEITZ & LUXENBERG, PC
DEGANIS              ROSA                  NY         98118150         WEITZ & LUXENBERG, PC                                DELAUTER             PATRICIA              NY         1903992012       WEITZ & LUXENBERG, PC
DEGEN                ALBERTINA             NY         10564100         WEITZ & LUXENBERG, PC                                DELAVALLE            SHARON C              NY         10564200         WEITZ & LUXENBERG, PC
DEGEN                WALTER                NY         10564100         WEITZ & LUXENBERG, PC                                DELCONTE             MURIEL                NY         12582400         WEITZ & LUXENBERG, PC
DEGEORGIA            JAMES                 NY         98118148         WEITZ & LUXENBERG, PC                                DELCONTE             MURIEL                NY         11938800         WEITZ & LUXENBERG, PC
DEGEORGIA            MARY                  NY         98118148         WEITZ & LUXENBERG, PC                                DELESSIO             DIANE                 NY         1902892017       WEITZ & LUXENBERG, PC
DEGIDIO              MARIA                 NY         99114376         WEITZ & LUXENBERG, PC                                DELESSIO             ROBERT                NY         1902892017       WEITZ & LUXENBERG, PC
DEGIDIO              MICHELE               NY         99114376         WEITZ & LUXENBERG, PC                                DELEVA               JOSEPH                NY         10471800         WEITZ & LUXENBERG, PC
D'EGIDIO             MARIA                 NY         1900552016       WEITZ & LUXENBERG, PC                                DELEVA               MARILYNN              NY         10471800         WEITZ & LUXENBERG, PC
D'EGIDIO             NICOLA                NY         1900552016       WEITZ & LUXENBERG, PC                                DELGATTO             DENNIS F              NY         6125802016       WEITZ & LUXENBERG, PC
DEGRAFENREED         BONNIE LEE            NY         12042901         WEITZ & LUXENBERG, PC                                D'ELIA               CONO                  NY         10489600         WEITZ & LUXENBERG, PC
DEGRAFENREED         BONNIE LEE            NY         01111219         WEITZ & LUXENBERG, PC                                D'ELIA               FRANK P               NY         11008900         WEITZ & LUXENBERG, PC
DEGRAFFENRIED        MCKINLEY              NY         11327802         WEITZ & LUXENBERG, PC                                D'ELIA               MARIANNA              NY         10489700         WEITZ & LUXENBERG, PC
DEGRATTO             FRANK                 NY         10564700         WEITZ & LUXENBERG, PC                                D'ELIA               MARY ANN              NY         11008900         WEITZ & LUXENBERG, PC
DEGRATTO             NANCY                 NY         10564700         WEITZ & LUXENBERG, PC                                D'ELIA               MICHELE C             NY         10489700         WEITZ & LUXENBERG, PC
DEGROODT             ANNEMARIE             NY         12668202         WEITZ & LUXENBERG, PC                                D'ELIA               PASQUALINA            NY         10489600         WEITZ & LUXENBERG, PC
DEGROODT             JOSEPH                NY         12668202         WEITZ & LUXENBERG, PC                                DELILL               KRISS J               NY         11717500         WEITZ & LUXENBERG, PC
DEGROODT             JOSEPH F              NY         12693402         WEITZ & LUXENBERG, PC                                DELILL               LU ANN                NY         11717500         WEITZ & LUXENBERG, PC
DEGRUTTOLA           ANITA                 NY         CV02831          WEITZ & LUXENBERG, PC                                DELL                 HAROLD E              NY         10740302         WEITZ & LUXENBERG, PC
DEGRUTTOLA           VICTOR G              NY         CV02831          WEITZ & LUXENBERG, PC                                DELL                 MARION                NY         10740302         WEITZ & LUXENBERG, PC
Degu;lis             Carol                 NY         01111218         WEITZ & LUXENBERG, PC                                DELL                 ROBERT F              NY         10716902         WEITZ & LUXENBERG, PC
DEGUILS              CAROL ANN             NY         01111218         WEITZ & LUXENBERG, PC                                DELL                 ROBERT F              NY         11216402         WEITZ & LUXENBERG, PC
DEGULIS              ANTHONY               NY         01111218         WEITZ & LUXENBERG, PC                                DELL                 ROBERT F              NY         02107007         WEITZ & LUXENBERG, PC
DEHAAN               MARTIN                NY         12044299         WEITZ & LUXENBERG, PC                                DELL                 SANDRA                NY         10716902         WEITZ & LUXENBERG, PC
DEHAAN               MATILDA               NY         12044299         WEITZ & LUXENBERG, PC                                DELL                 SANDRA                NY         11216402         WEITZ & LUXENBERG, PC
DEINHART             ALBERTA               NY         10691399         WEITZ & LUXENBERG, PC                                DELL                 SANDRA M              NY         02107007         WEITZ & LUXENBERG, PC
DEINHART             FREDERICK C           NY         10691399         WEITZ & LUXENBERG, PC                                DELLABARTOLOMEA      CHRISTINA             NY         10018701         WEITZ & LUXENBERG, PC
DEININGER            JOAN                  NY         11026702         WEITZ & LUXENBERG, PC                                DELLABARTOLOMEA      PIO                   NY         10018701         WEITZ & LUXENBERG, PC
DEININGER            JOAN                  NY         12636402         WEITZ & LUXENBERG, PC                                DELLACQUA            CARMELO               NY         11183203         WEITZ & LUXENBERG, PC
DEININGER            RON L                 NY         11026702         WEITZ & LUXENBERG, PC                                DELLACQUA            MARIE                 NY         11183203         WEITZ & LUXENBERG, PC
DEININGER            RON L                 NY         12636402         WEITZ & LUXENBERG, PC                                DELLAMURA            CHRISTI               NY         12014501         WEITZ & LUXENBERG, PC
DEININGER            RONALD L              NY         11026702         WEITZ & LUXENBERG, PC                                DELLAMURA            EILEEN                NY         12039901         WEITZ & LUXENBERG, PC
DEININGER            RONALD L              NY         12636402         WEITZ & LUXENBERG, PC                                DELLAMURA            GEORGE R              NY         12039901         WEITZ & LUXENBERG, PC
DEINZER              DIANE                 NY         11327802         WEITZ & LUXENBERG, PC                                DELLAPINA            ATTILIO               NY         10564000         WEITZ & LUXENBERG, PC
DEINZER              GERALD                NY         11327802         WEITZ & LUXENBERG, PC                                DELLAPINA            DOLORES               NY         10564000         WEITZ & LUXENBERG, PC
DEJESUS              ALEXANDER             NY         1903112019       WEITZ & LUXENBERG, PC                                DELLIGATTI           ANGELO                NY         11009800         WEITZ & LUXENBERG, PC
DEJESUS              JUANITA               NY         1903112019       WEITZ & LUXENBERG, PC                                DELLIGATTI           ANNA MARIA            NY         02106693         WEITZ & LUXENBERG, PC
DEJESUS              JULIO                 NY         02107102         WEITZ & LUXENBERG, PC                                DELLIGATTI           ANNA MARIA            NY         11499602         WEITZ & LUXENBERG, PC
DEJESUS              MICHEL                NY         02107102         WEITZ & LUXENBERG, PC                                DELLIGATTI           GILDA                 NY         11009800         WEITZ & LUXENBERG, PC
DEJOIE               ELEANOR               NY         12668102         WEITZ & LUXENBERG, PC                                DELLIGATTI           MICHAEL               NY         02106693         WEITZ & LUXENBERG, PC
DEJOIE               ELEANOR               NY         10352803         WEITZ & LUXENBERG, PC                                DELLIGATTI           MICHAEL               NY         11499602         WEITZ & LUXENBERG, PC
DEJOIE               LOUIS                 NY         12668102         WEITZ & LUXENBERG, PC                                DELLIVENERI          LAWRENCE              NY         10022901         WEITZ & LUXENBERG, PC
DEJOIE               LOUIS                 NY         10352803         WEITZ & LUXENBERG, PC                                DELLIVENERI          NATALIE               NY         10022901         WEITZ & LUXENBERG, PC
DEL BEL              CALVIN                NY         98118147         WEITZ & LUXENBERG, PC                                DELMAR               LOUIS                 NY         11450299         WEITZ & LUXENBERG, PC
DEL BEL              JEAN                  NY         98118147         WEITZ & LUXENBERG, PC                                DELONG               RICHARD C             NY         02120615         WEITZ & LUXENBERG, PC
DEL COSTELLO         LORRAINE              NY         10723299         WEITZ & LUXENBERG, PC                                DELONG               THERESA M             NY         02120615         WEITZ & LUXENBERG, PC
DEL GRECO            JACK                  NY         10561903         WEITZ & LUXENBERG, PC                                DELPIZZO             JULIUS                NY         10473400         WEITZ & LUXENBERG, PC
DEL GRECO            JACK E                NY         12693702         WEITZ & LUXENBERG, PC                                DELPIZZO             ROSALIE               NY         10473400         WEITZ & LUXENBERG, PC
DEL GRECO            JACK E                NY         10561903         WEITZ & LUXENBERG, PC                                DELUCA               CARMINE               NY         98118142         WEITZ & LUXENBERG, PC
DEL MATO             MARIE                 NY         10697500         WEITZ & LUXENBERG, PC                                DELUCA               ELSIE                 NY         10023001         WEITZ & LUXENBERG, PC
DEL MATO             VINCENT J             NY         10697500         WEITZ & LUXENBERG, PC                                DELUCA               JEAN                  NY         98118142         WEITZ & LUXENBERG, PC
DEL MONTE            MARGARET J            NY         10740502         WEITZ & LUXENBERG, PC                                DELUCA               JOSEPH A              NY         10563900         WEITZ & LUXENBERG, PC
DEL MONTE            RICHARD A             NY         10740502         WEITZ & LUXENBERG, PC                                DELUCA               MARY JANE             NY         10563900         WEITZ & LUXENBERG, PC
DEL MORAL            ELBA                  NY         10471600         WEITZ & LUXENBERG, PC                                DELUCA               THOMAS                NY         10023001         WEITZ & LUXENBERG, PC
DEL MORAL            ROBERT                NY         10471600         WEITZ & LUXENBERG, PC                                DELURY               ARTHUR                NY         10817806         WEITZ & LUXENBERG, PC
DEL PLATO            FRANCES               NY         10691299         WEITZ & LUXENBERG, PC                                DELURY               ELAINE                NY         10817806         WEITZ & LUXENBERG, PC
DEL PLATO            MARIO                 NY         10691299         WEITZ & LUXENBERG, PC                                DELZER               JULANA E              NY         12234199         WEITZ & LUXENBERG, PC
DEL PRETE            ANGELA                NY         11448899         WEITZ & LUXENBERG, PC                                DEMARCO              ALBERT A              NY         11009700         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 907
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 242 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DEMARCO              KATHLEEN M            NY         11009700         WEITZ & LUXENBERG, PC                                DENIKE               JACQUELINE            NY         1901392018       WEITZ & LUXENBERG, PC
DEMAREST             ELWOOD J              NY         1901152014       WEITZ & LUXENBERG, PC                                DENIKE               RICHARD H             NY         1901392018       WEITZ & LUXENBERG, PC
DEMARIA              ANTONIO               NY         705692017        WEITZ & LUXENBERG, PC                                DENIS                HARVEY H              NY         12039201         WEITZ & LUXENBERG, PC
DEMARIA              CARMELA               NY         10022401         WEITZ & LUXENBERG, PC                                DENIS                LORRAINE              NY         12039201         WEITZ & LUXENBERG, PC
DEMARIA              DOMINIC E             NY         99114494         WEITZ & LUXENBERG, PC                                DENISE               GEORGE A              NY         12668702         WEITZ & LUXENBERG, PC
DEMARIA              JOSEPH                NY         705692017        WEITZ & LUXENBERG, PC                                DENIZARD             LUIS                  NY         10558200         WEITZ & LUXENBERG, PC
DEMARIA              MARGARET              NY         99114494         WEITZ & LUXENBERG, PC                                DENIZARD             MARIA                 NY         10558200         WEITZ & LUXENBERG, PC
DEMARIA              WILLIAM               NY         10022401         WEITZ & LUXENBERG, PC                                DENKENBERGER         ROBERT GARY           NY         02120615         WEITZ & LUXENBERG, PC
DEMARTINO            CAROL                 NY         10473500         WEITZ & LUXENBERG, PC                                DENNARD              MARVIN                NY         10710002         WEITZ & LUXENBERG, PC
DEMARTINO            ROBERT E              NY         10473500         WEITZ & LUXENBERG, PC                                DENNARD              VERNEIL               NY         10710002         WEITZ & LUXENBERG, PC
DEMELO               DEANNA                NY         12668202         WEITZ & LUXENBERG, PC                                DENNI                CONSTANT              NY         10090403         WEITZ & LUXENBERG, PC
DEMELO               LICINIO               NY         12668202         WEITZ & LUXENBERG, PC                                DENNI                MARGARET              NY         10090403         WEITZ & LUXENBERG, PC
DEMENT               CINDY L               NY         CV013921         WEITZ & LUXENBERG, PC                                DENNINGER            MARTHA                NY         10475700         WEITZ & LUXENBERG, PC
DEMENT               DAVID                 NY         10023101         WEITZ & LUXENBERG, PC                                DENNINGER            PETER A               NY         10475700         WEITZ & LUXENBERG, PC
DEMENT               MICHAEL ELMER         NY         CV013921         WEITZ & LUXENBERG, PC                                DENNIS               ARLOWEEN M            NY         10687099         WEITZ & LUXENBERG, PC
DEMENUS              MANFRED               NY         12668602         WEITZ & LUXENBERG, PC                                DENNIS               JOHN OSCAR            NY         10687099         WEITZ & LUXENBERG, PC
DEMEO                JOSEPH M              NY         11327602         WEITZ & LUXENBERG, PC                                DENNO                HAROLD C              NY         02107005         WEITZ & LUXENBERG, PC
DEMEO                ROSE                  NY         11327602         WEITZ & LUXENBERG, PC                                DENNY                BETTY JO              NY         11438299         WEITZ & LUXENBERG, PC
DEMERCHANT           ROBERT W              NY         10463907         WEITZ & LUXENBERG, PC                                DENNY                BURTON                NY         10558100         WEITZ & LUXENBERG, PC
DEMERI               ANTHONY               NY         1900472017       WEITZ & LUXENBERG, PC                                DENNY                DONALD WILSON         NY         11438299         WEITZ & LUXENBERG, PC
DEMERI               ELAINE                NY         1900472017       WEITZ & LUXENBERG, PC                                DENNY                DONNA                 NY         99114383         WEITZ & LUXENBERG, PC
DEMERI               FRANK M               NY         10089106         WEITZ & LUXENBERG, PC                                DENNY                JODI                  NY         19038310         WEITZ & LUXENBERG, PC
DEMERI               MARY A                NY         10089106         WEITZ & LUXENBERG, PC                                DENNY                JOHN DARRELL          NY         99114383         WEITZ & LUXENBERG, PC
DEMERS               JOHN FRANKLIN         NY         10700102         WEITZ & LUXENBERG, PC                                DENNY                MURIEZ                NY         10558100         WEITZ & LUXENBERG, PC
DEMERS               ROBERT A              NY         11813498         WEITZ & LUXENBERG, PC                                DENONCOURT           JOSEPH E              NY         02105716         WEITZ & LUXENBERG, PC
DEMICHELE            ANTONIO               NY         10680702         WEITZ & LUXENBERG, PC                                DENSTAEDT            FLOYD PAUL            NY         10135804         WEITZ & LUXENBERG, PC
DEMICHELE            MARIA                 NY         10680702         WEITZ & LUXENBERG, PC                                DENSTAEDT            MARIA                 NY         10135804         WEITZ & LUXENBERG, PC
DEMIDIO              ANGELA                NY         98118133         WEITZ & LUXENBERG, PC                                DENTE                LAWRENCE A            NY         10558300         WEITZ & LUXENBERG, PC
DEMIDIO              DONALD                NY         98118133         WEITZ & LUXENBERG, PC                                DENTE                MARIE T               NY         10558300         WEITZ & LUXENBERG, PC
DEMING               DALE F                NY         10985900         WEITZ & LUXENBERG, PC                                DEON                 ANNA J                NY         10670402         WEITZ & LUXENBERG, PC
DEMKO                JOSEPH                NY         10587402         WEITZ & LUXENBERG, PC                                DEON                 ANNA J                NY         11036502         WEITZ & LUXENBERG, PC
DEMKO                VIRGINIA              NY         10587402         WEITZ & LUXENBERG, PC                                DEON                 DONALD P              NY         10670402         WEITZ & LUXENBERG, PC
DEMKOSKI             ANN MARIE             NY         10571402         WEITZ & LUXENBERG, PC                                DEON                 DONALD P              NY         11036502         WEITZ & LUXENBERG, PC
DEMKOSKI             ANN MARIE             NY         11180202         WEITZ & LUXENBERG, PC                                DEPASQUALE           JOSEPH                NY         1900832019       WEITZ & LUXENBERG, PC
DEMKOSKI             RUDOLPH M             NY         10571402         WEITZ & LUXENBERG, PC                                DEPAULA              RICHARD C             NY         99114367         WEITZ & LUXENBERG, PC
DEMKOSKI             RUDOLPH M             NY         11180202         WEITZ & LUXENBERG, PC                                DEPAULA              VIRGINA               NY         99114367         WEITZ & LUXENBERG, PC
DEMODNA              FRANCIS J             NY         10817906         WEITZ & LUXENBERG, PC                                DEPELLEGRINI         ROBERT                NY         19022409         WEITZ & LUXENBERG, PC
DEMODNA              NANCY A               NY         10817906         WEITZ & LUXENBERG, PC                                DEPETRO              ALDO                  NY         10558400         WEITZ & LUXENBERG, PC
DEMPS                ARTHUR L              NY         10023201         WEITZ & LUXENBERG, PC                                DEPIETRO             BARBARA               NY         01111236         WEITZ & LUXENBERG, PC
DEMPS                MARION                NY         10023201         WEITZ & LUXENBERG, PC                                DEPIETRO             VINCENT               NY         01111236         WEITZ & LUXENBERG, PC
DEMPSEY              CATHERINE M           NY         10563800         WEITZ & LUXENBERG, PC                                DEPINTO              JENNIFER              NY         1900472017       WEITZ & LUXENBERG, PC
DEMPSEY              CLAUDIE LEAMON        NY         CV016450         WEITZ & LUXENBERG, PC                                DEPPERMAN            ANTHONY               NY         01111224         WEITZ & LUXENBERG, PC
DEMPSEY              JOHN W                NY         10563800         WEITZ & LUXENBERG, PC                                DEPPERMAN            CAROL                 NY         01111224         WEITZ & LUXENBERG, PC
DEMPSEY              JOSEPHINE             NY         12000201         WEITZ & LUXENBERG, PC                                DEPPERT              FRED J                NY         10852206         WEITZ & LUXENBERG, PC
DEMPSEY              KATHERINE             NY         02107006         WEITZ & LUXENBERG, PC                                DEPPERT              VIRGINIA LEE          NY         10852206         WEITZ & LUXENBERG, PC
DEMPSEY              MICHAEL L             NY         01CIV3910        WEITZ & LUXENBERG, PC                                DEPRETA              DOMINIC               NY         10870801         WEITZ & LUXENBERG, PC
DEMPSEY              RAFFAELA              NY         11478004         WEITZ & LUXENBERG, PC                                DEPRIEST             VERNON                NY         12788602         WEITZ & LUXENBERG, PC
DEMPSEY              RICHARD H             NY         02107006         WEITZ & LUXENBERG, PC                                DEPRIEST             VERNON                NY         10247903         WEITZ & LUXENBERG, PC
DEMPSEY              ROBERT                NY         11478004         WEITZ & LUXENBERG, PC                                DEPUY                BEVERLY               NY         1900962015       WEITZ & LUXENBERG, PC
DEMPSEY              STEPHEN J             NY         12000201         WEITZ & LUXENBERG, PC                                DEPUY                JOSEPH T              NY         1900962015       WEITZ & LUXENBERG, PC
DEMS                 MARGARET              NY         11011200         WEITZ & LUXENBERG, PC                                DERAGON              LINDA                 NY         10696502         WEITZ & LUXENBERG, PC
DEMS                 MICHAEL F             NY         11011200         WEITZ & LUXENBERG, PC                                DERAGON              RONALD E              NY         10696502         WEITZ & LUXENBERG, PC
DEN BLEYKER          CYNTHIA               NY         10670802         WEITZ & LUXENBERG, PC                                DERELANKO            ANNE                  NY         11011100         WEITZ & LUXENBERG, PC
DEN BLEYKER          NEIL J                NY         10670802         WEITZ & LUXENBERG, PC                                DERELANKO            FRANK                 NY         11011100         WEITZ & LUXENBERG, PC
DENARO               FRANK J               NY         10687299         WEITZ & LUXENBERG, PC                                DEREN                JOSEPH W              NY         10942105         WEITZ & LUXENBERG, PC
DENARO               JOHN                  NY         12043101         WEITZ & LUXENBERG, PC                                DERKOWSKI            RAYMOND               NY         98118135         WEITZ & LUXENBERG, PC
DENARO               MARY ANN              NY         12043101         WEITZ & LUXENBERG, PC                                DERMAKE              JEROME                NY         10239002         WEITZ & LUXENBERG, PC
DENEAULT             BARBARA               DE         N14C01138ASB     WEITZ & LUXENBERG, PC                                DEROBERTIS           ELAINE                NY         1901492019       WEITZ & LUXENBERG, PC
DENEAULT             DANIEL E              DE         N14C01138ASB     WEITZ & LUXENBERG, PC                                DEROBERTIS           FREDERICK J           NY         1901492019       WEITZ & LUXENBERG, PC
DENECKER             GRACE M               NY         10687199         WEITZ & LUXENBERG, PC                                DEROSA               MARY                  NY         10686899         WEITZ & LUXENBERG, PC
DENECKER             RICHARD J             NY         10687199         WEITZ & LUXENBERG, PC                                DEROSA               VINCENT               NY         10686899         WEITZ & LUXENBERG, PC
DENGEL               DENNIS D              NY         10023301         WEITZ & LUXENBERG, PC                                DEROSE               CATHERINE             NY         11011000         WEITZ & LUXENBERG, PC
DENGEL               MARCIA EHRENBERG      NY         10023301         WEITZ & LUXENBERG, PC                                DEROSE               COSMO A               NY         11011000         WEITZ & LUXENBERG, PC
DENGLER              JERALDINE             NY         19002710         WEITZ & LUXENBERG, PC                                DEROUCHIA            ALLEN C               NY         10740302         WEITZ & LUXENBERG, PC
DENGLER              ROY                   NY         19002710         WEITZ & LUXENBERG, PC                                DEROUCHIA            JOSEPHINE             NY         10740302         WEITZ & LUXENBERG, PC
DENHOFF              JAMES L               NY         10023401         WEITZ & LUXENBERG, PC                                DEROUCHIE            MICHAEL ROBERT        NY         02105716         WEITZ & LUXENBERG, PC
DENHOFF              PHYLLIS MARIE         NY         10023401         WEITZ & LUXENBERG, PC                                DEROUCHIE            VIRGINIA              NY         02105716         WEITZ & LUXENBERG, PC
DENICOLA             FRANCIS               NY         10023501         WEITZ & LUXENBERG, PC                                DERR                 JEANETTE              NY         10028001         WEITZ & LUXENBERG, PC
DENICOLA             PAULINE               NY         10023501         WEITZ & LUXENBERG, PC                                DERR                 LORRAINE              NY         10669502         WEITZ & LUXENBERG, PC
DENIEN               MARGARET              NY         10564300         WEITZ & LUXENBERG, PC                                DERR                 NYMAN H               NY         10669502         WEITZ & LUXENBERG, PC
DENIEN               THOMAS J              NY         10564300         WEITZ & LUXENBERG, PC                                DERR                 ROBERT NEIL           NY         10028001         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 908
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 243 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

D'ERRICO             GAIL                  NY         02107099         WEITZ & LUXENBERG, PC                                DEVERY               GERALDINE             NY         12100401         WEITZ & LUXENBERG, PC
D'ERRICO             TOMMARO A             NY         02107099         WEITZ & LUXENBERG, PC                                DEVINE               DOLORES               NY         19017610         WEITZ & LUXENBERG, PC
DERSHAM              JANINE                NY         10587602         WEITZ & LUXENBERG, PC                                DEVINE               HARRY                 NY         19017610         WEITZ & LUXENBERG, PC
DERSHAM              TERENCE D             NY         10587602         WEITZ & LUXENBERG, PC                                DEVINE               JAMES                 NY         01111225         WEITZ & LUXENBERG, PC
DERUSHIA             DAVID ARTHUR          NY         10645702         WEITZ & LUXENBERG, PC                                DEVINE               JAMES                 NY         02121082         WEITZ & LUXENBERG, PC
DERUSHIA             WANDA LEE             NY         10645702         WEITZ & LUXENBERG, PC                                DEVINE               MARGARET              NY         02121082         WEITZ & LUXENBERG, PC
DESANTIS             JOSEPH                NY         1901572019       WEITZ & LUXENBERG, PC                                DEVINE               MARY                  NY         01111225         WEITZ & LUXENBERG, PC
DESANTIS             JOSEPH                NY         12668202         WEITZ & LUXENBERG, PC                                DEVINE               STEPHEN D             NY         10028401         WEITZ & LUXENBERG, PC
DESANTIS             JOSEPH                NY         10386303         WEITZ & LUXENBERG, PC                                DEVINE               WALLACE H             NY         01111221         WEITZ & LUXENBERG, PC
DESANTIS             MARIE                 NY         1901572019       WEITZ & LUXENBERG, PC                                DEVINGO              ANNA                  NY         673442018        WEITZ & LUXENBERG, PC
DESANTIS             ROBERT C              NY         578252016        WEITZ & LUXENBERG, PC                                DEVINGO              EDWARD S              NY         673442018        WEITZ & LUXENBERG, PC
DESANTIS             STEVEN P              NY         578252016        WEITZ & LUXENBERG, PC                                DEVITA               EDWARD                NY         11813698         WEITZ & LUXENBERG, PC
DESARIO              CHARLES               NY         10602100         WEITZ & LUXENBERG, PC                                DEVITA               LORETTA               NY         11813698         WEITZ & LUXENBERG, PC
DESCISCIOLO          ARTHUR A              NY         02105715         WEITZ & LUXENBERG, PC                                DEVITO               ANTONIA               NY         1903382018       WEITZ & LUXENBERG, PC
DESCISCIOLO          LORRAINE              NY         02105715         WEITZ & LUXENBERG, PC                                DEVITO               FAY                   NY         01111222         WEITZ & LUXENBERG, PC
DESCO                MARY BERTICE          NY         11010900         WEITZ & LUXENBERG, PC                                DEVITO               FELICE P              NY         98118138         WEITZ & LUXENBERG, PC
DESCO                STEPHEN PAUL          NY         11010900         WEITZ & LUXENBERG, PC                                DEVITO               GARMELA               NY         98118138         WEITZ & LUXENBERG, PC
DESENCHUK            IRINA                 NY         10686799         WEITZ & LUXENBERG, PC                                DEVITO               JOSEPH L              NY         1902672015       WEITZ & LUXENBERG, PC
DESENCHUK            STANLEY               NY         10686799         WEITZ & LUXENBERG, PC                                DEVITO               JOSEPHINE             NY         98118143         WEITZ & LUXENBERG, PC
DESENZO              JANET                 NY         11640601         WEITZ & LUXENBERG, PC                                DEVITO               LUCIANO               NY         1903382018       WEITZ & LUXENBERG, PC
DESENZO              JANET                 NY         01111219         WEITZ & LUXENBERG, PC                                DEVITO               MARIE                 NY         1902672015       WEITZ & LUXENBERG, PC
DESERIO              MARCO                 NY         10011802         WEITZ & LUXENBERG, PC                                DEVITO               PETER J               NY         01111222         WEITZ & LUXENBERG, PC
DESERTO              FRANK                 NY         10028201         WEITZ & LUXENBERG, PC                                DEVITO               SALVATORE             NY         98118143         WEITZ & LUXENBERG, PC
DESERTO              NANCY                 NY         10028201         WEITZ & LUXENBERG, PC                                DEVITT               JAMES                 NY         01111235         WEITZ & LUXENBERG, PC
DESHAIES             ARTHUR C              NY         10645702         WEITZ & LUXENBERG, PC                                DEVITT               JAMES                 NY         11828801         WEITZ & LUXENBERG, PC
DESHAIES             NANCY J               NY         10645702         WEITZ & LUXENBERG, PC                                DEVITT               MARY                  NY         01111235         WEITZ & LUXENBERG, PC
DESHAZO              JACKIE                NY         CV017166         WEITZ & LUXENBERG, PC                                DEVITT               MARY                  NY         11828801         WEITZ & LUXENBERG, PC
DESHAZO              JOSIE LEE             NY         CV017166         WEITZ & LUXENBERG, PC                                DEVIVO               MICHAEL JOSEPH        NY         99114481         WEITZ & LUXENBERG, PC
DESIDERIO            ANTHONY J             NY         11904803         WEITZ & LUXENBERG, PC                                DEVIVO               PEGGY                 NY         99114481         WEITZ & LUXENBERG, PC
DESIDERIO            FRANK J               NY         10899603         WEITZ & LUXENBERG, PC                                DEVLIN               DONALD                NY         11814098         WEITZ & LUXENBERG, PC
DESIDERIO            RICHARD A             NY         11904803         WEITZ & LUXENBERG, PC                                DEVORA               KAREN                 NY         10547000         WEITZ & LUXENBERG, PC
DESIENA              PETER                 NY         10560500         WEITZ & LUXENBERG, PC                                DEW                  JAMES WILLIAM         NY         00CIV1202        WEITZ & LUXENBERG, PC
DESIMONE             ANTHONY               NY         11010800         WEITZ & LUXENBERG, PC                                DEWEESE              RICHARD E             NY         10561100         WEITZ & LUXENBERG, PC
DESIMONE             CARA                  NY         11616907         WEITZ & LUXENBERG, PC                                DEWERT               ALLEN LYNN            NY         10740402         WEITZ & LUXENBERG, PC
DESIMONE             EDMOND C              NY         11717600         WEITZ & LUXENBERG, PC                                DEWEY                DONALD                NY         12209797         WEITZ & LUXENBERG, PC
DESIMONE             JEANNE                NY         10686699         WEITZ & LUXENBERG, PC                                DEWEY                JANE                  NY         12209797         WEITZ & LUXENBERG, PC
DESIMONE             MARY                  NY         11717600         WEITZ & LUXENBERG, PC                                DEWEY                JEANNE A              NY         12693502         WEITZ & LUXENBERG, PC
DESIMONE             ROBERT A              NY         10686699         WEITZ & LUXENBERG, PC                                DEWEY                ROGER W               NY         12693502         WEITZ & LUXENBERG, PC
DESIMONE             THOMAS                NY         11616907         WEITZ & LUXENBERG, PC                                DEWOODY              TRACY A               NY         12331397         WEITZ & LUXENBERG, PC
DESIMONE             THOMAS J              NY         10560600         WEITZ & LUXENBERG, PC                                DEY                  CAROL                 NY         11026902         WEITZ & LUXENBERG, PC
DESIMONE             VIVIAN                NY         11010800         WEITZ & LUXENBERG, PC                                DEY                  RAYMOND R             NY         11026902         WEITZ & LUXENBERG, PC
DESIMONE             WILLIAM               NY         11010700         WEITZ & LUXENBERG, PC                                DEYOE                ELLEN                 NY         10028601         WEITZ & LUXENBERG, PC
DESIO                PHYLLIS L             NY         11716300         WEITZ & LUXENBERG, PC                                DEYOE                HENRY J               NY         10028601         WEITZ & LUXENBERG, PC
DESIO                RAYMOND               NY         10238902         WEITZ & LUXENBERG, PC                                DI BENEDETTO         ANNA                  NY         10587602         WEITZ & LUXENBERG, PC
DESIO                ROBERT R              NY         11716300         WEITZ & LUXENBERG, PC                                DI BENEDETTO         SALVATORE             NY         10587602         WEITZ & LUXENBERG, PC
DESIVO               LORI                  NY         10132703         WEITZ & LUXENBERG, PC                                DI BERNARDO          JOSEPH F              NY         99114482         WEITZ & LUXENBERG, PC
DESIVO               MICHAEL A             NY         10132703         WEITZ & LUXENBERG, PC                                DI BIASE             ANNA M                NY         01111224         WEITZ & LUXENBERG, PC
D'ESPOSITO           ANDREA                NY         10489800         WEITZ & LUXENBERG, PC                                DI BIASE             ANTONIO               NY         01111224         WEITZ & LUXENBERG, PC
D'ESPOSITO           RALPH                 NY         10489800         WEITZ & LUXENBERG, PC                                DI BLASI             ADRIANA               NY         01111224         WEITZ & LUXENBERG, PC
DESTEFANO            SAL                   NY         12039201         WEITZ & LUXENBERG, PC                                DI BLASI             ETHEL E               NY         I20019845        WEITZ & LUXENBERG, PC
DESTEFANO            VICTOR L              NY         11164303         WEITZ & LUXENBERG, PC                                DI BLASI             FRANK A               NY         I20019845        WEITZ & LUXENBERG, PC
DETONE               RAYMOND P             NY         01111219         WEITZ & LUXENBERG, PC                                DI BLASI             GAETANO               NY         11123101         WEITZ & LUXENBERG, PC
DETTERMAN            MABEL MARIE           NY         1901672012       WEITZ & LUXENBERG, PC                                DI BLASI             GAETANO               NY         12045701         WEITZ & LUXENBERG, PC
DETTERMAN            RICHARD MARIE         NY         1901672012       WEITZ & LUXENBERG, PC                                DI BLASI             IGINO                 NY         01111224         WEITZ & LUXENBERG, PC
DETTMAN              MARY                  NY         02120709         WEITZ & LUXENBERG, PC                                DI BLASI             JOSEPH C              NY         00111083         WEITZ & LUXENBERG, PC
DETTMAN              RICHARD M             NY         02120709         WEITZ & LUXENBERG, PC                                DI BLASI             MARY                  NY         00111083         WEITZ & LUXENBERG, PC
DETTMER              ISABEL                NY         11010600         WEITZ & LUXENBERG, PC                                DI BLASI             NUNZIO                NY         11123101         WEITZ & LUXENBERG, PC
DETTMER              ROBERT H              NY         11010600         WEITZ & LUXENBERG, PC                                DI BLASI             NUNZIO                NY         12045701         WEITZ & LUXENBERG, PC
DETZ                 ANGELA                NY         11437199         WEITZ & LUXENBERG, PC                                DI BLASI             SALVATORE             NY         00111083         WEITZ & LUXENBERG, PC
DETZ                 RICHARD               NY         11437199         WEITZ & LUXENBERG, PC                                DI CAMILLO           PATRICK P             NY         11026802         WEITZ & LUXENBERG, PC
DEUTSCH              JUDITH                NY         11716400         WEITZ & LUXENBERG, PC                                DI CAPUA             EVELYN                NY         12038801         WEITZ & LUXENBERG, PC
DEUTSCH              ZVI                   NY         11716400         WEITZ & LUXENBERG, PC                                DI CAPUA             FRANK                 NY         12038801         WEITZ & LUXENBERG, PC
DEVALD               MILDRED J             NY         10835300         WEITZ & LUXENBERG, PC                                DI CARLO             LAURA                 NY         11682805         WEITZ & LUXENBERG, PC
DEVALD               STEPHEN C             NY         10835300         WEITZ & LUXENBERG, PC                                DI CARLO             VINCENZO              NY         11682805         WEITZ & LUXENBERG, PC
DEVENS               CLARENCE B            NY         12668202         WEITZ & LUXENBERG, PC                                DI CASTRO            SUSAN                 NY         10073103         WEITZ & LUXENBERG, PC
DEVENS               CLARENCE B            NY         10389603         WEITZ & LUXENBERG, PC                                DI CASTRO            WILLIAM J             NY         10073103         WEITZ & LUXENBERG, PC
DEVENS               PATRICIA M            NY         12668202         WEITZ & LUXENBERG, PC                                DI CHIARA            ROBERT                NY         1902872017       WEITZ & LUXENBERG, PC
DEVENS               PATRICIA M            NY         10389603         WEITZ & LUXENBERG, PC                                DI CHIARA            THERESA               NY         1902872017       WEITZ & LUXENBERG, PC
DEVEREAUX            MARTIN                NY         10028301         WEITZ & LUXENBERG, PC                                DI CIOCCIO           DIANE                 NY         10740102         WEITZ & LUXENBERG, PC
DEVEREAUX            PHILOMENA             NY         10028301         WEITZ & LUXENBERG, PC                                DI CIOCCIO           DOMENIC C             NY         10740102         WEITZ & LUXENBERG, PC
DEVERY               FREDERICK T           NY         12100401         WEITZ & LUXENBERG, PC                                DI COSTANZO          IMMACOLATA            NY         10475000         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 909
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 244 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DI COSTANZO          LORENZO               NY         10475000         WEITZ & LUXENBERG, PC                                DI PIERRO            MICHAEL V             NY         12045601         WEITZ & LUXENBERG, PC
DI FALCO             DIANE                 NY         10686599         WEITZ & LUXENBERG, PC                                DI PRIMA             EDWARD J              NY         02105715         WEITZ & LUXENBERG, PC
DI FALCO             EDMOND A              NY         10686599         WEITZ & LUXENBERG, PC                                DI PRIMA             EDWARD J              NY         10068507         WEITZ & LUXENBERG, PC
DI FALCO             GIOVANNI              NY         99114377         WEITZ & LUXENBERG, PC                                DI PRIMA             FRANK                 NY         01111227         WEITZ & LUXENBERG, PC
DI FALCO             MICHELINA             NY         99114377         WEITZ & LUXENBERG, PC                                DI PRIMA             SHEILA                NY         02105715         WEITZ & LUXENBERG, PC
DI FORTI             THERESA               NY         12113901         WEITZ & LUXENBERG, PC                                DI PRIMA             SHEILA                NY         10068507         WEITZ & LUXENBERG, PC
DI FORTI             THERESA               NY         01111224         WEITZ & LUXENBERG, PC                                DI PRIMIO            DANTE                 NY         99114380         WEITZ & LUXENBERG, PC
DI GESARE            JACK                  NY         12039701         WEITZ & LUXENBERG, PC                                DI PRIMIO            ELLEN                 NY         99114380         WEITZ & LUXENBERG, PC
DI GESARE            KATHLEEN              NY         12039701         WEITZ & LUXENBERG, PC                                DI RESTA             JOSEPH G              NY         11975701         WEITZ & LUXENBERG, PC
DI GIACOMO           GIUSEPPA              NY         10030001         WEITZ & LUXENBERG, PC                                DI RESTA             JOSEPH G              NY         11123201         WEITZ & LUXENBERG, PC
DI GIACOMO           JANICE                NY         11096200         WEITZ & LUXENBERG, PC                                DI RUSSO             ANTHONY               NY         10561400         WEITZ & LUXENBERG, PC
DI GIACOMO           JANICE                NY         10835100         WEITZ & LUXENBERG, PC                                DI RUSSO             CANDIDA               NY         10561400         WEITZ & LUXENBERG, PC
DI GIACOMO           JOSEPHINE             NY         10030001         WEITZ & LUXENBERG, PC                                DI SAPIO             BENJAMIN C            NY         11856898         WEITZ & LUXENBERG, PC
DI GIAIMO            JOSEPH                NY         02107007         WEITZ & LUXENBERG, PC                                DI SAPIO             LORRAINE              NY         11856898         WEITZ & LUXENBERG, PC
DI GIAIMO            MARIE                 NY         02107007         WEITZ & LUXENBERG, PC                                DI SAPIO             THERESA               NY         11856898         WEITZ & LUXENBERG, PC
DI GIUSEPPE          FRANK                 NY         12017799         WEITZ & LUXENBERG, PC                                DI SCHIAVI           ARMAND                NY         12042901         WEITZ & LUXENBERG, PC
DI GIUSEPPE          MICHAEL               NY         12017799         WEITZ & LUXENBERG, PC                                DI SCHIAVI           FLORENCE              NY         12042901         WEITZ & LUXENBERG, PC
DI GREGORIO          GERARDO               NY         01111233         WEITZ & LUXENBERG, PC                                DI SERIO             KAY M                 NY         11857098         WEITZ & LUXENBERG, PC
DI GREGORIO          GLORIA                NY         99114378         WEITZ & LUXENBERG, PC                                DI SERIO             LEONARD R             NY         11857098         WEITZ & LUXENBERG, PC
DI GREGORIO          JOSEPH S              NY         99114378         WEITZ & LUXENBERG, PC                                DI STEFANO           ANGELINA              NY         99114365         WEITZ & LUXENBERG, PC
DI GUISEPPE          MICHAEL               NY         12017799         WEITZ & LUXENBERG, PC                                DI STEFANO           GIOVANNI              NY         10561300         WEITZ & LUXENBERG, PC
DI GUISEPPE          PEARL                 NY         12017799         WEITZ & LUXENBERG, PC                                DI STEFANO           JANE                  NY         10318207         WEITZ & LUXENBERG, PC
DI LAURA             JAMES V               NY         02106694         WEITZ & LUXENBERG, PC                                DI STEFANO           PHILIP                NY         10318207         WEITZ & LUXENBERG, PC
DI LAURA             VIRGINIA F            NY         02106694         WEITZ & LUXENBERG, PC                                DI STEFANO           PIETRO                NY         99114365         WEITZ & LUXENBERG, PC
DI MAGGIO            BENEDELTA             NY         10560900         WEITZ & LUXENBERG, PC                                DI STEFFANO          MARIA ROSE            NY         10561300         WEITZ & LUXENBERG, PC
DI MAGGIO            CALOGER               NY         10561000         WEITZ & LUXENBERG, PC                                DI TORO              CELINDA               NY         11356702         WEITZ & LUXENBERG, PC
DI MAGGIO            CALOGERO              NY         10560900         WEITZ & LUXENBERG, PC                                DI TORO              JOHN                  NY         12039001         WEITZ & LUXENBERG, PC
DI MAGGIO            CHARLES               NY         98118594         WEITZ & LUXENBERG, PC                                DI TORO              JOHN                  NY         12393301         WEITZ & LUXENBERG, PC
DI MAGGIO            EVA                   NY         98118594         WEITZ & LUXENBERG, PC                                DI TORO              RALPH                 NY         11356702         WEITZ & LUXENBERG, PC
DI MAGGIO            GIOVANNI              NY         10560700         WEITZ & LUXENBERG, PC                                DI TORO              VIRGINIA              NY         12039001         WEITZ & LUXENBERG, PC
DI MAGGIO            GIOVANNI              NY         10560800         WEITZ & LUXENBERG, PC                                DI TORO              VIRGINIA              NY         12393301         WEITZ & LUXENBERG, PC
DI MAGGIO            MADELINE              NY         10558700         WEITZ & LUXENBERG, PC                                DIACCO               JOSEPH                NY         99114374         WEITZ & LUXENBERG, PC
DI MAGGIO            ROSA                  NY         10560700         WEITZ & LUXENBERG, PC                                DIACO                LORRAINE              NY         99114374         WEITZ & LUXENBERG, PC
DI MAGGIO            ROSA                  NY         10560800         WEITZ & LUXENBERG, PC                                DIAMANTOPOULOS       ARTHUR L              NY         CV025103         WEITZ & LUXENBERG, PC
DI MAGGIO            SALVATORE             NY         10558700         WEITZ & LUXENBERG, PC                                DIAMANTOPOULOS       MARY T                NY         CV025103         WEITZ & LUXENBERG, PC
DI MARCO             CARMELLO              NY         10561200         WEITZ & LUXENBERG, PC                                DIAMOND              BONNIE                NY         10471100         WEITZ & LUXENBERG, PC
DI MARCO             CAROLYN               NY         11446904         WEITZ & LUXENBERG, PC                                DIAMOND              CHARLES R             NY         10471100         WEITZ & LUXENBERG, PC
DI MARCO             JOSEPH                NY         11446904         WEITZ & LUXENBERG, PC                                DIAMOND              GEORGE                NY         10028701         WEITZ & LUXENBERG, PC
DI MARCO             TINA                  NY         10561200         WEITZ & LUXENBERG, PC                                DIAMOND              GEORGE                NY         02107099         WEITZ & LUXENBERG, PC
DI MARIA             SALVATORE             NY         10005102         WEITZ & LUXENBERG, PC                                DIAMOND              GEORGE                NY         11757202         WEITZ & LUXENBERG, PC
DI MARTINO           GUERRINO              NY         10561800         WEITZ & LUXENBERG, PC                                DIAMOND              JOHN                  NY         11856798         WEITZ & LUXENBERG, PC
DI MASSA             ELLEN                 NY         99114379         WEITZ & LUXENBERG, PC                                DIAMOND              NANCY                 NY         10870801         WEITZ & LUXENBERG, PC
DI MASSA             STEPHEN               NY         99114379         WEITZ & LUXENBERG, PC                                DIAMOND              RHONDA                NY         10466400         WEITZ & LUXENBERG, PC
DI MATTEI            ANNE                  NY         12042901         WEITZ & LUXENBERG, PC                                DIAMOND              THOMAS M              NY         10466400         WEITZ & LUXENBERG, PC
DI MATTEI            ANNE                  NY         10061802         WEITZ & LUXENBERG, PC                                DIAMOND              VICTOR C              NY         10870801         WEITZ & LUXENBERG, PC
DI MEGLIO            ANGELINA              NY         10561700         WEITZ & LUXENBERG, PC                                DIAMONTI             ALBERT                NY         10028801         WEITZ & LUXENBERG, PC
DI MEGLIO            DANIEL                NY         10561700         WEITZ & LUXENBERG, PC                                DIAMONTI             DENNIS ALFRED         NY         10028801         WEITZ & LUXENBERG, PC
DI MEZZO             FRANK J               NY         10587602         WEITZ & LUXENBERG, PC                                DIAZ                 ANASTASIO             NY         02106578         WEITZ & LUXENBERG, PC
DI MEZZO             LOIS                  NY         10587602         WEITZ & LUXENBERG, PC                                DIAZ                 ANASTASIO             NY         11273402         WEITZ & LUXENBERG, PC
DI MICELI            FRANCA                NY         02107007         WEITZ & LUXENBERG, PC                                DIAZ                 CARMEN                NY         98118095         WEITZ & LUXENBERG, PC
DI MICELI            VINCENT               NY         02107007         WEITZ & LUXENBERG, PC                                DIAZ                 CARMEN                NY         12767302         WEITZ & LUXENBERG, PC
DI MICHELE           ANGELINA              NY         01122139         WEITZ & LUXENBERG, PC                                DIAZ                 CLEOTY                NY         02106578         WEITZ & LUXENBERG, PC
DI MICHELE           ANTHONY               NY         11026702         WEITZ & LUXENBERG, PC                                DIAZ                 CLEOTY                NY         11273402         WEITZ & LUXENBERG, PC
DI MICHELE           ELEANOR               NY         11026702         WEITZ & LUXENBERG, PC                                DIAZ                 JASMINE               NY         98118095         WEITZ & LUXENBERG, PC
DI MICHELE           NICHOLAS              NY         01122139         WEITZ & LUXENBERG, PC                                DIAZ                 JASMINE               NY         12767302         WEITZ & LUXENBERG, PC
DI MONTE             ELIO                  NY         10561600         WEITZ & LUXENBERG, PC                                DIAZ                 MARIA N               NY         02107004         WEITZ & LUXENBERG, PC
DI MONTE             MADDALENA             NY         10561600         WEITZ & LUXENBERG, PC                                DIAZ                 PLINIO SALVADOR       NY         98118095         WEITZ & LUXENBERG, PC
DI NOIA              CARMINE               NY         10375405         WEITZ & LUXENBERG, PC                                DIAZ                 PLINIO SALVADOR       NY         12767302         WEITZ & LUXENBERG, PC
DI NOIA              MARIE                 NY         10375405         WEITZ & LUXENBERG, PC                                DIAZ                 RENE                  NY         10710102         WEITZ & LUXENBERG, PC
DI NOVO              JAMES M               NY         10475100         WEITZ & LUXENBERG, PC                                DIAZ                 RENE                  NY         11967002         WEITZ & LUXENBERG, PC
DI NUNZIO            ALFRED N              NY         12056803         WEITZ & LUXENBERG, PC                                DIAZ                 ROLANDO               NY         02107004         WEITZ & LUXENBERG, PC
DI NUNZIO            NANCY                 NY         12056803         WEITZ & LUXENBERG, PC                                DIBBLE               DOUGLAS R             NY         02105713         WEITZ & LUXENBERG, PC
DI PALERMO           ANN                   NY         10380103         WEITZ & LUXENBERG, PC                                DIBBLE               GAYE E                NY         02105713         WEITZ & LUXENBERG, PC
DI PALERMO           JOHN                  NY         10380103         WEITZ & LUXENBERG, PC                                DIBBLE               KATHERINE             NY         02106508         WEITZ & LUXENBERG, PC
DI PAOLA             JACK                  NY         11287899         WEITZ & LUXENBERG, PC                                DIBBLE               ROBERT C              NY         02106508         WEITZ & LUXENBERG, PC
DI PAOLA             ROSE                  NY         11287899         WEITZ & LUXENBERG, PC                                DIBELLO              CHESTER C             NY         11248100         WEITZ & LUXENBERG, PC
DI PASQUALE          LOUIS M               NY         02106693         WEITZ & LUXENBERG, PC                                DIBELLO              ESABELLA              NY         11248300         WEITZ & LUXENBERG, PC
DI PASQUALE          RICHARD               NY         10561500         WEITZ & LUXENBERG, PC                                DIBELLO              JOSEPHINE             NY         11248100         WEITZ & LUXENBERG, PC
DI PIERRO            CARMELA               NY         11123101         WEITZ & LUXENBERG, PC                                DIBELLO              NICHOLAS              NY         11248200         WEITZ & LUXENBERG, PC
DI PIERRO            CARMELA               NY         12045601         WEITZ & LUXENBERG, PC                                DIBELLO              VINCENT               NY         11248300         WEITZ & LUXENBERG, PC
DI PIERRO            MICHAEL V             NY         11123101         WEITZ & LUXENBERG, PC                                DIBLASI              DIANNE                NY         10748400         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 910
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 245 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DIBONA               AIDANO                NY         1900852018       WEITZ & LUXENBERG, PC                                DIGIACOMO            PETER                 NY         10030001         WEITZ & LUXENBERG, PC
DIBONA               ANN                   NY         1901782015       WEITZ & LUXENBERG, PC                                DIGIORGIO            SALVATORE             NY         11159403         WEITZ & LUXENBERG, PC
DIBONA               JAMES R               NY         1901782015       WEITZ & LUXENBERG, PC                                DIGIORGIO            STELLA                NY         11159403         WEITZ & LUXENBERG, PC
DIBUDUO              NICHOLAS              NY         10686499         WEITZ & LUXENBERG, PC                                DIGIULIO             LOUIS                 NY         10562700         WEITZ & LUXENBERG, PC
DICALOGERO           EVELYN                NY         CV025199         WEITZ & LUXENBERG, PC                                DIGIULIO             MARY                  NY         10562700         WEITZ & LUXENBERG, PC
DICALOGERO           JOHN                  NY         CV025199         WEITZ & LUXENBERG, PC                                DIGRAZIA             ALFRED L              NY         10039703         WEITZ & LUXENBERG, PC
DICARLO              GIUSEPPE              NY         01111219         WEITZ & LUXENBERG, PC                                DIGRAZIA             VERA                  NY         10039703         WEITZ & LUXENBERG, PC
DICATALDO            NICHOLAS              NY         11857598         WEITZ & LUXENBERG, PC                                DIKLIC               IVAN                  NY         01111223         WEITZ & LUXENBERG, PC
DICENZO              DOMINIC CHARLES       NY         10028901         WEITZ & LUXENBERG, PC                                DILAURA              ELENA J               NY         10686299         WEITZ & LUXENBERG, PC
DICIOCCIO            CESIDIO               NY         11849798         WEITZ & LUXENBERG, PC                                DILAURA              JOHN J                NY         10686299         WEITZ & LUXENBERG, PC
DICIOCCIO            DOMENIC               NY         11849798         WEITZ & LUXENBERG, PC                                DILAURENZIO          ERNEST                NY         19043810         WEITZ & LUXENBERG, PC
DICIOCCIO            SHIRLEY               NY         11849798         WEITZ & LUXENBERG, PC                                DILAURENZIO          MARIA                 NY         19043810         WEITZ & LUXENBERG, PC
DICK                 FREDERICK             NY         10902602         WEITZ & LUXENBERG, PC                                DILBERT              ROYCE A               NY         1903632018       WEITZ & LUXENBERG, PC
DICK                 WILLIAM F             NY         10902602         WEITZ & LUXENBERG, PC                                DILBERT              YVETTE                NY         1903632018       WEITZ & LUXENBERG, PC
DICKENSON            JOANN                 NY         10740102         WEITZ & LUXENBERG, PC                                DILIBERTO            ANITA                 NY         12038801         WEITZ & LUXENBERG, PC
DICKENSON            JOSEPH                NY         10740102         WEITZ & LUXENBERG, PC                                DILIBERTO            ANITA                 NY         10630702         WEITZ & LUXENBERG, PC
DICKERMAN            ROGER ELWOOD          NY         10740402         WEITZ & LUXENBERG, PC                                DILIBERTO            MARY                  NY         1900272017       WEITZ & LUXENBERG, PC
DICKERMAN            VIRGINIA ANN          NY         10740402         WEITZ & LUXENBERG, PC                                DILIBERTO            RICHARD               NY         12038801         WEITZ & LUXENBERG, PC
DICKERSON            GRETA                 NY         10670802         WEITZ & LUXENBERG, PC                                DILIBERTO            RICHARD               NY         10630702         WEITZ & LUXENBERG, PC
DICKERSON            JAMES L               NY         CV015419         WEITZ & LUXENBERG, PC                                DILL                 ALVIN                 NY         10535603         WEITZ & LUXENBERG, PC
DICKERSON            LAVERNE A             NY         10670802         WEITZ & LUXENBERG, PC                                DILL                 DAVID A               NY         10535603         WEITZ & LUXENBERG, PC
DICKERSON            ORA LEE               NY         01CIV3910        WEITZ & LUXENBERG, PC                                DILL                 LOUISE I              NY         10535603         WEITZ & LUXENBERG, PC
DICKERT              PAMELA ANNE           NY         10935702         WEITZ & LUXENBERG, PC                                DILLABOUGH           ELAINE M              NY         10696502         WEITZ & LUXENBERG, PC
DICKINSON            DAVID V               NY         CV026172         WEITZ & LUXENBERG, PC                                DILLABOUGH           JAMES JOSEPH          NY         02106707         WEITZ & LUXENBERG, PC
DICKINSON            LUCY                  NY         11248500         WEITZ & LUXENBERG, PC                                DILLABOUGH           STANLEY G             NY         10696502         WEITZ & LUXENBERG, PC
DICKINSON            TERRY                 NY         11248500         WEITZ & LUXENBERG, PC                                DILLMAN              BERTHA                NY         10587402         WEITZ & LUXENBERG, PC
DICKLER              DONNA MARIE           NY         11819798         WEITZ & LUXENBERG, PC                                DILLMAN              RICHARD               NY         10587402         WEITZ & LUXENBERG, PC
DICKS                ISIDORE               NY         10793905         WEITZ & LUXENBERG, PC                                DILLON               CATHERINE             NY         10686199         WEITZ & LUXENBERG, PC
DICKS                SUE                   NY         10793905         WEITZ & LUXENBERG, PC                                DILLON               CHRIS                 NY         10686199         WEITZ & LUXENBERG, PC
DICKSON              JONAS                 NY         1901762017       WEITZ & LUXENBERG, PC                                DILLON               EDWARD FRANK          NY         CV000122         WEITZ & LUXENBERG, PC
DICOLA               NICHOLAS W            NY         10342804         WEITZ & LUXENBERG, PC                                DILLON               LINDA M               NY         11303700         WEITZ & LUXENBERG, PC
DICOLA               TRACEY J              NY         10342804         WEITZ & LUXENBERG, PC                                DILLY                BILLY H               NY         10563400         WEITZ & LUXENBERG, PC
DICONO               BERNICE L             NY         1900102018       WEITZ & LUXENBERG, PC                                DILLY                MARIAN                NY         10030101         WEITZ & LUXENBERG, PC
DIDDIO               CHARLES A             NY         02107005         WEITZ & LUXENBERG, PC                                DILLY                MARY ANN              NY         10563400         WEITZ & LUXENBERG, PC
DIDDIO               CHARLES A             NY         11623502         WEITZ & LUXENBERG, PC                                DILLY                ROY G                 NY         10030101         WEITZ & LUXENBERG, PC
DIDIO                ANNETTE               NY         11247300         WEITZ & LUXENBERG, PC                                DILLY                WALTER D              NY         10587002         WEITZ & LUXENBERG, PC
DIDIO                BEATRICE L            NY         10686399         WEITZ & LUXENBERG, PC                                DILWORTH             DEBORAH               NY         10587602         WEITZ & LUXENBERG, PC
DIDIO                CHARLES A             NY         02107005         WEITZ & LUXENBERG, PC                                DILWORTH             DEBORAH               NY         10970502         WEITZ & LUXENBERG, PC
DIDIO                CHARLES A             NY         11623502         WEITZ & LUXENBERG, PC                                DILWORTH             MARIANNE              NY         10587602         WEITZ & LUXENBERG, PC
DIDIO                JAMES                 NY         10686399         WEITZ & LUXENBERG, PC                                DILWORTH             MARIANNE              NY         10970502         WEITZ & LUXENBERG, PC
DIDIO                JOSEPH J              NY         02107005         WEITZ & LUXENBERG, PC                                DILWORTH             RICHARD J             NY         10587602         WEITZ & LUXENBERG, PC
DIDIO                JOSEPH J              NY         11623502         WEITZ & LUXENBERG, PC                                DILWORTH             RICHARD J             NY         10970502         WEITZ & LUXENBERG, PC
DIDIO                MICHAEL               NY         02107005         WEITZ & LUXENBERG, PC                                DILWORTH             RICHARD JOHN          NY         10587602         WEITZ & LUXENBERG, PC
DIDIO                MICHAEL               NY         11623502         WEITZ & LUXENBERG, PC                                DILWORTH             RICHARD JOHN          NY         10970502         WEITZ & LUXENBERG, PC
DIDIO                THOMAS J              NY         11247300         WEITZ & LUXENBERG, PC                                DIMAGGIO             GIOVANNE              NY         10561000         WEITZ & LUXENBERG, PC
DIEHL                AMANDUS               NY         10700102         WEITZ & LUXENBERG, PC                                DIMAGGIO             ROCCO                 NY         1903432018       WEITZ & LUXENBERG, PC
DIEHL                PHYLLIS               NY         10700102         WEITZ & LUXENBERG, PC                                DIMARCO              NICHOLAS              NY         19004409         WEITZ & LUXENBERG, PC
DIENSTAG             ANDREA                NY         1903052019       WEITZ & LUXENBERG, PC                                DIMARCO              THERESA               NY         19004409         WEITZ & LUXENBERG, PC
DIENSTAG             MATTHEW               NY         1903052019       WEITZ & LUXENBERG, PC                                DIMARIA              SEBASTIAN S           NY         12668702         WEITZ & LUXENBERG, PC
DIETHRICH            DONALD E              NY         1903592015       WEITZ & LUXENBERG, PC                                DIMENTO              CARMELA               NY         12801902         WEITZ & LUXENBERG, PC
DIETRICH             ANTHONY T             NY         10561304         WEITZ & LUXENBERG, PC                                DIMENTO              GIOVANNI              NY         12801902         WEITZ & LUXENBERG, PC
DIETRICH             STELLA                NY         10561304         WEITZ & LUXENBERG, PC                                DIMEO                ANGELO                NY         01113727         WEITZ & LUXENBERG, PC
DIETSCHWEILER        BETTY                 NY         10680802         WEITZ & LUXENBERG, PC                                DIMEO                SANDRA                NY         01113727         WEITZ & LUXENBERG, PC
DIETSHWEILER         DONALD G              NY         10680802         WEITZ & LUXENBERG, PC                                DIMESA               CHARLES J             NY         11438199         WEITZ & LUXENBERG, PC
DIETZ                ALICE                 NY         02106690         WEITZ & LUXENBERG, PC                                DIMESA               PATRICIA              NY         11438199         WEITZ & LUXENBERG, PC
DIETZ                FREDERICK C           NY         11157204         WEITZ & LUXENBERG, PC                                DIMICK               CHARLES J             NY         10645702         WEITZ & LUXENBERG, PC
DIETZ                JOHN P                NY         02106690         WEITZ & LUXENBERG, PC                                DIMMER               ROBERT B              NY         10030201         WEITZ & LUXENBERG, PC
DIETZ                JUNE M                NY         11157204         WEITZ & LUXENBERG, PC                                DIMMER               VIRGINIA              NY         10030201         WEITZ & LUXENBERG, PC
DIFABIO              EMILIO                NY         11364002         WEITZ & LUXENBERG, PC                                D'IMPERIO            RICHARD P             NY         1903882018       WEITZ & LUXENBERG, PC
DIFABIO              JOAN MARIE            NY         11364002         WEITZ & LUXENBERG, PC                                D'IMPERIO            SUZANNE               NY         1903882018       WEITZ & LUXENBERG, PC
DIFAZIO              SUSAN                 NY         10065308         WEITZ & LUXENBERG, PC                                DIMURA               BEVERLY J             NY         99114370         WEITZ & LUXENBERG, PC
DIFAZIO              VINCENT               NY         10065308         WEITZ & LUXENBERG, PC                                DIMURA               HALINA C              NY         11436999         WEITZ & LUXENBERG, PC
DIFIORE              ANTONIO               NY         11437399         WEITZ & LUXENBERG, PC                                DIMURA               JOHN J                NY         99114370         WEITZ & LUXENBERG, PC
DIFIORE              CONCETTA              NY         11437399         WEITZ & LUXENBERG, PC                                DIMURA               JOSEPH T              NY         11436999         WEITZ & LUXENBERG, PC
DIFRANCO             ALFRED                NY         1903632015       WEITZ & LUXENBERG, PC                                DINAPOLI             JOSEPH                NY         19019118         WEITZ & LUXENBERG, PC
DIFRANCO             ANTHONY J             NY         6001492018       WEITZ & LUXENBERG, PC                                DINARDO              PASQUALINA            NY         11159403         WEITZ & LUXENBERG, PC
DIFRANCO             KATHLEEN              NY         6001492018       WEITZ & LUXENBERG, PC                                DINARDO              VINCENZO              NY         11159403         WEITZ & LUXENBERG, PC
DIGBY                MARLIN LEWIS          NY         11247400         WEITZ & LUXENBERG, PC                                D'INCECCO            VITO H                NY         12039801         WEITZ & LUXENBERG, PC
DIGGINS              WILLIAM J             NY         10571402         WEITZ & LUXENBERG, PC                                DINEHART             JOHN E                NY         10686099         WEITZ & LUXENBERG, PC
DIGIACOMO            PAUL P                NY         CV022368         WEITZ & LUXENBERG, PC                                DINEHART             SHIRLEY M             NY         10686099         WEITZ & LUXENBERG, PC
DIGIACOMO            PEGGY ANNE            NY         CV022368         WEITZ & LUXENBERG, PC                                DINEZZA              JAMES P               NY         11247500         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 911
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 246 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DINEZZA              SUZANNE C             NY         11247500         WEITZ & LUXENBERG, PC                                DIXON                DAVID HENRY           NY         CV020222         WEITZ & LUXENBERG, PC
DINGA                WILLIAM STEVEN        NY         10670802         WEITZ & LUXENBERG, PC                                DIXON                EDITH                 NY         CV020222         WEITZ & LUXENBERG, PC
DINGER               BETTY                 NY         01CIV7492        WEITZ & LUXENBERG, PC                                DIXON                HARRISON              NY         CV016392         WEITZ & LUXENBERG, PC
DINGER               JAMES FRANK           NY         01CIV7492        WEITZ & LUXENBERG, PC                                DIXON                JAMES GILLIAM         NY         99107792         WEITZ & LUXENBERG, PC
DINGFELDER           ANNE                  NY         12342701         WEITZ & LUXENBERG, PC                                DIXON                JAMES GILLIAM         NY         10779299         WEITZ & LUXENBERG, PC
DINGFELDER           ANNE                  NY         01111227         WEITZ & LUXENBERG, PC                                DIXON                JONATHAN              NY         19023309         WEITZ & LUXENBERG, PC
DINGFELDER           VICTOR                NY         12342701         WEITZ & LUXENBERG, PC                                DIXON                NANCY                 NY         10030301         WEITZ & LUXENBERG, PC
DINGFELDER           VICTOR                NY         01111227         WEITZ & LUXENBERG, PC                                DIXON                ROBERT                NY         10030301         WEITZ & LUXENBERG, PC
DINGLE               JOE                   NY         11626201         WEITZ & LUXENBERG, PC                                DIXON                SAMELLA               NY         01CIV3910        WEITZ & LUXENBERG, PC
DINGLE               JOE                   NY         01111221         WEITZ & LUXENBERG, PC                                DIXON                SHEREE                NY         10740502         WEITZ & LUXENBERG, PC
DINI                 JOHN                  NY         10563300         WEITZ & LUXENBERG, PC                                DIXSON               LINDA                 NY         10587102         WEITZ & LUXENBERG, PC
DINI                 JULIA                 NY         10563300         WEITZ & LUXENBERG, PC                                DIXSON               RENE L                NY         10587102         WEITZ & LUXENBERG, PC
DINKEL               ELSA                  NY         10582800         WEITZ & LUXENBERG, PC                                DIZINSKI             DOREEN                NY         12039201         WEITZ & LUXENBERG, PC
DINKEL               KARL F                NY         10582800         WEITZ & LUXENBERG, PC                                DLUGOLECKI           ANNETTE               NY         11026702         WEITZ & LUXENBERG, PC
DINSE                JEANNE B              NY         10685999         WEITZ & LUXENBERG, PC                                DLUGOLECKI           JOHN A                NY         11026702         WEITZ & LUXENBERG, PC
DINSE                RICHARD F             NY         10685999         WEITZ & LUXENBERG, PC                                DOAK                 MARY DONETTE          NY         99114501         WEITZ & LUXENBERG, PC
DINSE                TIMOTHY               NY         10685999         WEITZ & LUXENBERG, PC                                DOBBIN               AUDREY                NY         11450399         WEITZ & LUXENBERG, PC
DINSMORE             JUDY                  NY         10891400         WEITZ & LUXENBERG, PC                                DOBBIN               JOSEPH A              NY         11450399         WEITZ & LUXENBERG, PC
D'INTRONO            ARCANGELIA            NY         11476799         WEITZ & LUXENBERG, PC                                DOBBS                CHARLES J             NY         99114492         WEITZ & LUXENBERG, PC
D'INTRONO            FRANK A               NY         11476799         WEITZ & LUXENBERG, PC                                DOBBS                DEBBIE                NY         99114492         WEITZ & LUXENBERG, PC
DIODATO              MICHAEL V             NY         01111218         WEITZ & LUXENBERG, PC                                DOBROWSKY            EUGENE                NY         11001003         WEITZ & LUXENBERG, PC
DIODATO              SHARON                NY         01111218         WEITZ & LUXENBERG, PC                                DOBROWSKY            MARIE                 NY         11001003         WEITZ & LUXENBERG, PC
DIOLOSA              CARMELINO J           NY         11643101         WEITZ & LUXENBERG, PC                                DOBSON               GILBERT               NY         19039309         WEITZ & LUXENBERG, PC
DIOLOSA              CARMELINO J           NY         01111219         WEITZ & LUXENBERG, PC                                DOBSON               MARY L                NY         19039309         WEITZ & LUXENBERG, PC
DIOLOSA              LENA                  NY         11643101         WEITZ & LUXENBERG, PC                                DODD                 STANLEY J             NY         99120437         WEITZ & LUXENBERG, PC
DIOLOSA              LENA                  NY         01111219         WEITZ & LUXENBERG, PC                                DODD                 SUSAN                 NY         11270004         WEITZ & LUXENBERG, PC
DIONNE               LAI-MING              NY         1901132013       WEITZ & LUXENBERG, PC                                DODDS                ROBERT                NY         01111236         WEITZ & LUXENBERG, PC
DIONNE               ROBERT                NY         1901132013       WEITZ & LUXENBERG, PC                                DODDS                ROBERT T              NY         12185601         WEITZ & LUXENBERG, PC
DIONNE               SUZANNE M             NY         1901742012       WEITZ & LUXENBERG, PC                                DODGE                DEBORAH A             NY         10587402         WEITZ & LUXENBERG, PC
DIOTTE               CHARLES               NY         1901262013       WEITZ & LUXENBERG, PC                                DODGE                DEBORAH A             NY         10994002         WEITZ & LUXENBERG, PC
DIPERNA              VINCENT               NY         12094901         WEITZ & LUXENBERG, PC                                DODGE                GEORGE P              NY         10680602         WEITZ & LUXENBERG, PC
DIPERNA              VINCENT               NY         01111223         WEITZ & LUXENBERG, PC                                DODGE                RICHARD B             NY         10587402         WEITZ & LUXENBERG, PC
DIPILATO             CHARLES               NY         11348903         WEITZ & LUXENBERG, PC                                DODGE                RICHARD B             NY         10994002         WEITZ & LUXENBERG, PC
DIPILATO             CORINNE               NY         11348903         WEITZ & LUXENBERG, PC                                DODSON               HARVEY                NY         19003511         WEITZ & LUXENBERG, PC
DIPPOLD              JOYCE                 NY         02120709         WEITZ & LUXENBERG, PC                                DODSON               MICHAEL               NY         19003511         WEITZ & LUXENBERG, PC
DIPPOLD              PAUL J                NY         02120709         WEITZ & LUXENBERG, PC                                DOE                  JOE                   NY         12039701         WEITZ & LUXENBERG, PC
DIPRONIO             PATRICK               NY         10685899         WEITZ & LUXENBERG, PC                                DOE                  JOE                   NY         12100401         WEITZ & LUXENBERG, PC
DIPRONIO             SEBASTIAN ANTHONY     NY         10685899         WEITZ & LUXENBERG, PC                                DOE                  JOE                   NY         10605002         WEITZ & LUXENBERG, PC
DIRINGER             GLORIA                NY         10692399         WEITZ & LUXENBERG, PC                                DOE                  JOE                   NY         10508502         WEITZ & LUXENBERG, PC
DIRINGER             WALTER                NY         10692399         WEITZ & LUXENBERG, PC                                DOE                  JOHN                  NY         01111225         WEITZ & LUXENBERG, PC
DIRZULAITIS          ANNE                  NY         19023510         WEITZ & LUXENBERG, PC                                DOE                  JOHN                  NY         02106709         WEITZ & LUXENBERG, PC
DIRZULAITIS          WALTER                NY         19023510         WEITZ & LUXENBERG, PC                                DOE                  JOHN                  NY         11809001         WEITZ & LUXENBERG, PC
DISANTO              IRENE                 NY         11436899         WEITZ & LUXENBERG, PC                                DOE                  JOHN                  NY         11553802         WEITZ & LUXENBERG, PC
DISANTO              JOSEPH                NY         11436899         WEITZ & LUXENBERG, PC                                DOEBLER              DAVID CARL            NY         8074052018       WEITZ & LUXENBERG, PC
DISCIPIO             JOHNNA                NY         11436899         WEITZ & LUXENBERG, PC                                DOEBLER              JUDITH                NY         8074052018       WEITZ & LUXENBERG, PC
DISHAW               LEO E                 NY         11026802         WEITZ & LUXENBERG, PC                                DOEDEMA              EDWARD                NY         12668202         WEITZ & LUXENBERG, PC
DISIENA              ANN MARIE             NY         99114375         WEITZ & LUXENBERG, PC                                DOEDEMA              GERALDINE             NY         12668202         WEITZ & LUXENBERG, PC
DISIENA              MARIO                 NY         99114375         WEITZ & LUXENBERG, PC                                DOERING              DALE                  NY         1904712012       WEITZ & LUXENBERG, PC
DISPENSA             RICHARD J             NY         1900622019       WEITZ & LUXENBERG, PC                                DOERING              PAUL                  NY         1904712012       WEITZ & LUXENBERG, PC
DISTASIO             PATRICIA E            NY         99114506         WEITZ & LUXENBERG, PC                                DOERING              TERESA                NY         1904712012       WEITZ & LUXENBERG, PC
DISTASIO             ROBERT PAUL           NY         99114506         WEITZ & LUXENBERG, PC                                DOERSAM              GLADYS                NY         12448902         WEITZ & LUXENBERG, PC
DISTEFANO            ANTONINA              NY         11247600         WEITZ & LUXENBERG, PC                                DOERSAM              VINCENT P             NY         12448902         WEITZ & LUXENBERG, PC
DISTEFANO            ANTONINA              NY         01110940         WEITZ & LUXENBERG, PC                                DOHERTY              BERNARD               NY         11849998         WEITZ & LUXENBERG, PC
DISTEFANO            CAROL                 NY         10692299         WEITZ & LUXENBERG, PC                                DOHERTY              CAROL                 NY         10658102         WEITZ & LUXENBERG, PC
DISTEFANO            JOSEPH R              NY         10692299         WEITZ & LUXENBERG, PC                                DOHERTY              ELIZABETH             NY         11849998         WEITZ & LUXENBERG, PC
DISTEFANO            PIETRO                NY         11247600         WEITZ & LUXENBERG, PC                                DOHERTY              JOSEPH                NY         19003211         WEITZ & LUXENBERG, PC
DISTEFANO            PIETRO                NY         01110940         WEITZ & LUXENBERG, PC                                DOHERTY              STEWART J             NY         10658102         WEITZ & LUXENBERG, PC
DITORO               NORMAN                NY         11324802         WEITZ & LUXENBERG, PC                                DOHERTY              TERESA                NY         19003211         WEITZ & LUXENBERG, PC
DITORO               NORMAN P              NY         02106580         WEITZ & LUXENBERG, PC                                DOHRING              DAVID W               NY         11859198         WEITZ & LUXENBERG, PC
DITORO               NORMAN P              NY         11324802         WEITZ & LUXENBERG, PC                                DOKTOR               ALFRED M              NY         10710002         WEITZ & LUXENBERG, PC
DITULLIO             JAMES                 NY         1901922016       WEITZ & LUXENBERG, PC                                DOKTOR               ALFRED M              NY         12685202         WEITZ & LUXENBERG, PC
DIULIO               ANTHONY               NY         12668202         WEITZ & LUXENBERG, PC                                DOKTOR               GENEVIEVE S           NY         10710002         WEITZ & LUXENBERG, PC
DIULIO               FILOMENA              NY         12668202         WEITZ & LUXENBERG, PC                                DOKTOR               GENEVIEVE S           NY         12685202         WEITZ & LUXENBERG, PC
DIVONZO              FRANK J               NY         01111222         WEITZ & LUXENBERG, PC                                DOLAN                DOROTHY               NY         11393105         WEITZ & LUXENBERG, PC
DIVONZO              JACQELINE             NY         01111222         WEITZ & LUXENBERG, PC                                DOLAN                DOROTHY               NY         19008710         WEITZ & LUXENBERG, PC
DIX                  PATRICIA              NY         10692199         WEITZ & LUXENBERG, PC                                DOLAN                ETHEL                 NY         11946403         WEITZ & LUXENBERG, PC
DIX                  WILLIAM E             NY         10692199         WEITZ & LUXENBERG, PC                                DOLAN                JOHN C                NY         11393105         WEITZ & LUXENBERG, PC
DIXON                ADDIE S               NY         CV013921         WEITZ & LUXENBERG, PC                                DOLAN                JULIA                 NY         11350003         WEITZ & LUXENBERG, PC
DIXON                CD                    NY         99114493         WEITZ & LUXENBERG, PC                                DOLAN                KENNETH G             NY         11869001         WEITZ & LUXENBERG, PC
DIXON                CHARLENE              NY         CV016392         WEITZ & LUXENBERG, PC                                DOLAN                KENNETH G             NY         01111233         WEITZ & LUXENBERG, PC
DIXON                DANNY L               NY         10740502         WEITZ & LUXENBERG, PC                                DOLAN                MARTIN J              NY         10692099         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 912
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 247 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DOLAN                MARY                  NY         12039601         WEITZ & LUXENBERG, PC                                DONNELLY             BERNARD J             NY         99114485         WEITZ & LUXENBERG, PC
DOLAN                PATRICIA              NY         10692099         WEITZ & LUXENBERG, PC                                DONNELLY             DONALD A              NY         1901182017       WEITZ & LUXENBERG, PC
DOLAN                PATRICIA              NY         10587502         WEITZ & LUXENBERG, PC                                DONNELLY             DONALD A              NY         10217302         WEITZ & LUXENBERG, PC
DOLAN                PATRICIA A            NY         11869001         WEITZ & LUXENBERG, PC                                DONNELLY             GERTRUDE              NY         10049205         WEITZ & LUXENBERG, PC
DOLAN                PATRICIA A            NY         01111233         WEITZ & LUXENBERG, PC                                DONNELLY             JEAN                  NY         99114485         WEITZ & LUXENBERG, PC
DOLAN                PATRICK C             NY         10587502         WEITZ & LUXENBERG, PC                                DONNELLY             JOHN J                NY         99114486         WEITZ & LUXENBERG, PC
DOLAN                PATRICK E             NY         12039601         WEITZ & LUXENBERG, PC                                DONNELLY             MARGARET              NY         11857198         WEITZ & LUXENBERG, PC
DOLAN                PAUL R                NY         11946403         WEITZ & LUXENBERG, PC                                DONNELLY             MARYANN               NY         1901182017       WEITZ & LUXENBERG, PC
DOLAN                ROBERT J              NY         11393105         WEITZ & LUXENBERG, PC                                DONNELLY             MARYANN               NY         10217302         WEITZ & LUXENBERG, PC
DOLAN                WILLIAM               NY         19008710         WEITZ & LUXENBERG, PC                                DONNELLY             MICHAEL J             NY         10049205         WEITZ & LUXENBERG, PC
DOLEZEL              ERWIN A               NY         99114490         WEITZ & LUXENBERG, PC                                DONNELLY             THOMAS P              NY         02113280         WEITZ & LUXENBERG, PC
DOLEZEL              GEORGE R              NY         20160419         WEITZ & LUXENBERG, PC                                DONNELLY             WILLIAM E             NY         11857198         WEITZ & LUXENBERG, PC
DOLEZEL              LISA                  NY         20160419         WEITZ & LUXENBERG, PC                                DONOFRIO             JOSEPH F              NY         10670802         WEITZ & LUXENBERG, PC
DOLINAR              JOSEPH                NY         99114364         WEITZ & LUXENBERG, PC                                DONOFRIO             SONDRA                NY         10670802         WEITZ & LUXENBERG, PC
DOLINAR              TERESA M              NY         99114364         WEITZ & LUXENBERG, PC                                D'ONOFRIO            ALBERT C              NY         01110436         WEITZ & LUXENBERG, PC
DOLINAR              THERESA               NY         99114364         WEITZ & LUXENBERG, PC                                D'ONOFRIO            ALMA                  NY         99114768         WEITZ & LUXENBERG, PC
DOLL                 RUTH                  NY         10670602         WEITZ & LUXENBERG, PC                                D'ONOFRIO            BARBARA               NY         19030011         WEITZ & LUXENBERG, PC
DOLL                 RUTH                  NY         11486002         WEITZ & LUXENBERG, PC                                D'ONOFRIO            DOMINICK P            NY         19030011         WEITZ & LUXENBERG, PC
DOLLAR               DENNIS                NY         1900542014       WEITZ & LUXENBERG, PC                                D'ONOFRIO            DOROTHY               NY         01110436         WEITZ & LUXENBERG, PC
DOLLAR               VICKI                 NY         1900542014       WEITZ & LUXENBERG, PC                                D'ONOFRIO            DORTHY                NY         01110436         WEITZ & LUXENBERG, PC
DOLU                 BULENT T              NY         10039603         WEITZ & LUXENBERG, PC                                D'ONOFRIO            HARRY O               NY         99114768         WEITZ & LUXENBERG, PC
DOLU                 BULENT T              NY         10565503         WEITZ & LUXENBERG, PC                                D'ONOFRIO            JOSEPH                NY         01110436         WEITZ & LUXENBERG, PC
DOLU                 GAIL                  NY         10039603         WEITZ & LUXENBERG, PC                                DONOGHUE             ALEXANDER P           NY         10283802         WEITZ & LUXENBERG, PC
DOLU                 GAIL                  NY         10565503         WEITZ & LUXENBERG, PC                                DONOGHUE             EILEEN T              NY         10283802         WEITZ & LUXENBERG, PC
DOMARDZKI            MARY D                NY         10942200         WEITZ & LUXENBERG, PC                                DONOHUE              CHRISTINA             NY         11026902         WEITZ & LUXENBERG, PC
DOMARDZKI            MARY D                NY         99122187         WEITZ & LUXENBERG, PC                                DONOHUE              DAVID P               NY         1900992017       WEITZ & LUXENBERG, PC
DOMBROWSKI           LEONARD               NY         10716902         WEITZ & LUXENBERG, PC                                DONOHUE              ELLEN                 NY         10030601         WEITZ & LUXENBERG, PC
DOMBROWSKI           MARJORIE              NY         1901142012       WEITZ & LUXENBERG, PC                                DONOHUE              JOHN                  NY         10030601         WEITZ & LUXENBERG, PC
DOMBROWSKI           ROBERT J              NY         1901142012       WEITZ & LUXENBERG, PC                                DONOHUE              MARILYN               NY         10722202         WEITZ & LUXENBERG, PC
DOMINGER             THOMAS                NY         1903502018       WEITZ & LUXENBERG, PC                                DONOHUE              MARILYN               NY         11363902         WEITZ & LUXENBERG, PC
DOMINICI             ANGELO                NY         11459303         WEITZ & LUXENBERG, PC                                DONOHUE              MARYLYN J             NY         10722202         WEITZ & LUXENBERG, PC
DOMINICI             ELZA                  NY         11459303         WEITZ & LUXENBERG, PC                                DONOHUE              MARYLYN J             NY         11363902         WEITZ & LUXENBERG, PC
DOMINO               ANTHONY               NY         10998902         WEITZ & LUXENBERG, PC                                DONOHUE              THOMAS D              NY         10722202         WEITZ & LUXENBERG, PC
DOMINO               EVA                   NY         10998902         WEITZ & LUXENBERG, PC                                DONOHUE              THOMAS D              NY         11363902         WEITZ & LUXENBERG, PC
DOMOND               MARETTE               NY         1003041          WEITZ & LUXENBERG, PC                                DONOHUE              WILLIAM J             NY         11026902         WEITZ & LUXENBERG, PC
DOMOND               RAYMOND               NY         1003041          WEITZ & LUXENBERG, PC                                DONOR                MARIA                 NY         10003801         WEITZ & LUXENBERG, PC
DONAGHEY             BEATRICE              NY         CV020158         WEITZ & LUXENBERG, PC                                DONOVAN              ANDREW J              NY         1901662019       WEITZ & LUXENBERG, PC
DONAGHEY             JAMES H               NY         CV020158         WEITZ & LUXENBERG, PC                                DONOVAN              BEATRICE              NY         02106707         WEITZ & LUXENBERG, PC
DONAHUE              ARTHUR J              NY         12230197         WEITZ & LUXENBERG, PC                                DONOVAN              BEATRICE              NY         11570502         WEITZ & LUXENBERG, PC
DONAHUE              JAMES T               NY         01111234         WEITZ & LUXENBERG, PC                                DONOVAN              CHARLES J             NY         10722102         WEITZ & LUXENBERG, PC
DONAHUE              JAMES T               NY         11923301         WEITZ & LUXENBERG, PC                                DONOVAN              CHARLES J             NY         11312602         WEITZ & LUXENBERG, PC
DONAHUE              MARGARITA             NY         01111234         WEITZ & LUXENBERG, PC                                DONOVAN              CHRISTINE             NY         1901662019       WEITZ & LUXENBERG, PC
DONAHUE              MARGARITA             NY         11923301         WEITZ & LUXENBERG, PC                                DONOVAN              DAVETTA               NY         10582302         WEITZ & LUXENBERG, PC
DONALDSON            CHARLES EARL          NY         11247700         WEITZ & LUXENBERG, PC                                DONOVAN              EDWARD                NY         1901002016       WEITZ & LUXENBERG, PC
DONALDSON            DOROTHEA              NY         12039701         WEITZ & LUXENBERG, PC                                DONOVAN              JEREMIAH J            NY         10710002         WEITZ & LUXENBERG, PC
DONALDSON            RANDOLPH F            NY         12039701         WEITZ & LUXENBERG, PC                                DONOVAN              JOAN                  NY         11859298         WEITZ & LUXENBERG, PC
DONATH               ALICE                 NY         10581900         WEITZ & LUXENBERG, PC                                DONOVAN              JOHN J                NY         10722102         WEITZ & LUXENBERG, PC
DONATH               HERBERT H             NY         10581900         WEITZ & LUXENBERG, PC                                DONOVAN              JOHN J                NY         11312602         WEITZ & LUXENBERG, PC
DONATO               ANGELA                NY         19010109         WEITZ & LUXENBERG, PC                                DONOVAN              JOSEPH A              NY         10581800         WEITZ & LUXENBERG, PC
DONATO               BARBARA               NY         12444102         WEITZ & LUXENBERG, PC                                DONOVAN              JUNE MARIE            NY         10710002         WEITZ & LUXENBERG, PC
DONATO               GAETANO               NY         12230501         WEITZ & LUXENBERG, PC                                DONOVAN              MARILYN               NY         10722102         WEITZ & LUXENBERG, PC
DONATO               GENO J                NY         19010109         WEITZ & LUXENBERG, PC                                DONOVAN              MARILYN               NY         11312602         WEITZ & LUXENBERG, PC
DONATO               MICHAEL G             NY         10467300         WEITZ & LUXENBERG, PC                                DONOVAN              MIRIAM PATRICIA       NY         10581800         WEITZ & LUXENBERG, PC
DONATO               ROSE                  NY         12230501         WEITZ & LUXENBERG, PC                                DONOVAN              NANCY                 NY         1901002016       WEITZ & LUXENBERG, PC
DONATO               THOMAS J              NY         12444102         WEITZ & LUXENBERG, PC                                DONOVAN              ROGER E               NY         10710102         WEITZ & LUXENBERG, PC
DONDIEGO             JOHN ANTHONY          NY         99114483         WEITZ & LUXENBERG, PC                                DONOVAN              THOMAS R              NY         02106707         WEITZ & LUXENBERG, PC
DONDIEGO             SHARON LEE            NY         99114483         WEITZ & LUXENBERG, PC                                DONOVAN              THOMAS R              NY         11570502         WEITZ & LUXENBERG, PC
DONELAN              JOHN J                NY         9914484          WEITZ & LUXENBERG, PC                                DONOVAN              THOMAS V              NY         11859298         WEITZ & LUXENBERG, PC
DONELAN              PATRICIA              NY         9914484          WEITZ & LUXENBERG, PC                                DONOVAN              VINCENT               NY         10582302         WEITZ & LUXENBERG, PC
DONER                ROBERT J              NY         10691999         WEITZ & LUXENBERG, PC                                DOOLEY               JOHN J                NY         10587402         WEITZ & LUXENBERG, PC
DONIGAN              ELAINE J              NY         10740302         WEITZ & LUXENBERG, PC                                DOOLEY               JOHN J                NY         10993902         WEITZ & LUXENBERG, PC
DONIGAN              TERRACE P             NY         10740302         WEITZ & LUXENBERG, PC                                DOOLEY               SHIRLEY A             NY         10587402         WEITZ & LUXENBERG, PC
DONINI               CATHERINE             NY         11486704         WEITZ & LUXENBERG, PC                                DOOLEY               SHIRLEY A             NY         10993902         WEITZ & LUXENBERG, PC
DONINI               LEONARD J             NY         11486704         WEITZ & LUXENBERG, PC                                DOPYERA              PHYLLIS               NY         12015903         WEITZ & LUXENBERG, PC
DONIS                JOHN N                NY         12043001         WEITZ & LUXENBERG, PC                                DOPYERA              RICHARD               NY         12015903         WEITZ & LUXENBERG, PC
DONIS                MILDRED R             NY         12043001         WEITZ & LUXENBERG, PC                                DORAK                ELLEN                 NY         10030801         WEITZ & LUXENBERG, PC
DONLEAVY             JOHN M                NY         12043101         WEITZ & LUXENBERG, PC                                DORAK                WILLIAM G             NY         10030801         WEITZ & LUXENBERG, PC
DONLEAVY             LOUISE                NY         12043101         WEITZ & LUXENBERG, PC                                DORAN                CYNTHIA RENEE         NY         10582200         WEITZ & LUXENBERG, PC
DONLON               KAREN                 NY         10030501         WEITZ & LUXENBERG, PC                                DORAN                EILEEN B              NY         12668202         WEITZ & LUXENBERG, PC
DONLON               WILLIAM               NY         10030501         WEITZ & LUXENBERG, PC                                DORAN                EILEEN B              NY         10389303         WEITZ & LUXENBERG, PC
DONNELLY             AGNES                 NY         99114486         WEITZ & LUXENBERG, PC                                DORAN                HOWARD E              NY         10582200         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 913
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 248 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DORAN                ROBERT WARREN         NY         11327902         WEITZ & LUXENBERG, PC                                DOW                  GARRY S               NY         10680602         WEITZ & LUXENBERG, PC
DORAN                WILLIAM T             NY         12668202         WEITZ & LUXENBERG, PC                                DOW                  LAWRENCE              NY         11711203         WEITZ & LUXENBERG, PC
DORAN                WILLIAM T             NY         10389303         WEITZ & LUXENBERG, PC                                DOW                  NANCY J               NY         10581700         WEITZ & LUXENBERG, PC
D'ORAZIO             CAROL                 NY         02106709         WEITZ & LUXENBERG, PC                                DOW                  RICHARD F             NY         99114505         WEITZ & LUXENBERG, PC
D'ORAZIO             PASQUALE A            NY         02106709         WEITZ & LUXENBERG, PC                                DOWE                 JOEL GERALD           NY         10669102         WEITZ & LUXENBERG, PC
DORE                 MARILYN               NY         10271701         WEITZ & LUXENBERG, PC                                DOWE                 JOEL GERALD           NY         11478602         WEITZ & LUXENBERG, PC
DOREY                ROBERT D              NY         01106930         WEITZ & LUXENBERG, PC                                DOWELL               RONNIE ALLEN          NY         99114487         WEITZ & LUXENBERG, PC
DOREY                ROSEMARY              NY         01106930         WEITZ & LUXENBERG, PC                                DOWHUNYK             MIKE T                NY         01111227         WEITZ & LUXENBERG, PC
DORF                 CLAIRE                NY         10030901         WEITZ & LUXENBERG, PC                                DOWLING              CHUCK P               NY         1903832014       WEITZ & LUXENBERG, PC
DORF                 LEONARD               NY         10030901         WEITZ & LUXENBERG, PC                                DOWLING              EDNA                  NY         19020011         WEITZ & LUXENBERG, PC
DORF                 LOUIS                 NY         10030901         WEITZ & LUXENBERG, PC                                DOWLING              JAMES J               NY         99114495         WEITZ & LUXENBERG, PC
DORFMEYER            BOBBY E               NY         1902332012       WEITZ & LUXENBERG, PC                                DOWLING              JOHN                  NY         19020011         WEITZ & LUXENBERG, PC
DORGE                DOREEN                NY         11716500         WEITZ & LUXENBERG, PC                                DOWLING              MARY                  NY         99114495         WEITZ & LUXENBERG, PC
DORGE                WILLIAM H             NY         11716500         WEITZ & LUXENBERG, PC                                DOWLING              MARY JEAN             NY         10193404         WEITZ & LUXENBERG, PC
DORIA                JOSEPH                NY         11009303         WEITZ & LUXENBERG, PC                                DOWLING              WILLIAM J             NY         10193404         WEITZ & LUXENBERG, PC
DORIA                ROSE                  NY         11009303         WEITZ & LUXENBERG, PC                                DOWNARD              LUCILLA               NY         12043001         WEITZ & LUXENBERG, PC
DORMOND              ERNEST A              NY         10691899         WEITZ & LUXENBERG, PC                                DOWNARD              LUCILLE               NY         10016302         WEITZ & LUXENBERG, PC
DORMOND              RACHEL                NY         10691899         WEITZ & LUXENBERG, PC                                DOWNARD              ROBERT W              NY         12043001         WEITZ & LUXENBERG, PC
DOROSCHUK            WALTER C              NY         1900482017       WEITZ & LUXENBERG, PC                                DOWNARD              ROBERT W              NY         10016302         WEITZ & LUXENBERG, PC
DOROZYNSKI           THEODORE              NY         11950301         WEITZ & LUXENBERG, PC                                DOWNER               JEAN                  NY         11257200         WEITZ & LUXENBERG, PC
DOROZYNSKI           THEODORE              NY         01111220         WEITZ & LUXENBERG, PC                                DOWNES               GEORGE M              NY         10710102         WEITZ & LUXENBERG, PC
DORRIS               JAMES EDWARD          NY         CV020224         WEITZ & LUXENBERG, PC                                DOWNEY               BARBARA               NY         12043001         WEITZ & LUXENBERG, PC
DORRITIE             DIANE                 NY         01111218         WEITZ & LUXENBERG, PC                                DOWNEY               CHRISTOPHER E         NY         10716702         WEITZ & LUXENBERG, PC
DORRITIE             JOHN                  NY         01111218         WEITZ & LUXENBERG, PC                                DOWNEY               DONALD R              NY         99114496         WEITZ & LUXENBERG, PC
DORSEY               GERALD                NY         10031001         WEITZ & LUXENBERG, PC                                DOWNEY               EDWARD V              NY         10581600         WEITZ & LUXENBERG, PC
DORSEY               GLORIA                NY         10031001         WEITZ & LUXENBERG, PC                                DOWNEY               EUGENE J              NY         10581500         WEITZ & LUXENBERG, PC
DORSEY               KIM K                 NY         1903162015       WEITZ & LUXENBERG, PC                                DOWNEY               JANE                  NY         01103613         WEITZ & LUXENBERG, PC
DORTCH               MARK                  DE         N19C11094ASB     WEITZ & LUXENBERG, PC                                DOWNEY               JOHN J                NY         12043001         WEITZ & LUXENBERG, PC
DORTCH               TRACY ALICIA          DE         N19C11094ASB     WEITZ & LUXENBERG, PC                                DOWNEY               KATHLEEN P            NY         10581600         WEITZ & LUXENBERG, PC
DOSCHER              ANN MARIE             NY         02106709         WEITZ & LUXENBERG, PC                                DOWNEY               PAMELA MARASHIAN      NY         02106578         WEITZ & LUXENBERG, PC
DOSCHER              EDWARD P              NY         12039601         WEITZ & LUXENBERG, PC                                DOWNEY               PAMELA MARASHIAN      NY         11274302         WEITZ & LUXENBERG, PC
DOSCHER              GEORGE                NY         02106709         WEITZ & LUXENBERG, PC                                DOWNEY               ROGER F               NY         01103613         WEITZ & LUXENBERG, PC
DOSCHER              RITA                  NY         12039601         WEITZ & LUXENBERG, PC                                DOWNEY               STEVEN J              NY         02106578         WEITZ & LUXENBERG, PC
DOSCHER              SUSAN                 NY         12038901         WEITZ & LUXENBERG, PC                                DOWNEY               STEVEN J              NY         11274302         WEITZ & LUXENBERG, PC
DOSCHER              WILLIAM               NY         12038901         WEITZ & LUXENBERG, PC                                DOWNIE               JOSEPH L              NY         11850698         WEITZ & LUXENBERG, PC
DOSER                JAMES C               NY         11456602         WEITZ & LUXENBERG, PC                                DOWNIE               LORETTA V             NY         11850698         WEITZ & LUXENBERG, PC
DOSER                WARNER F              NY         11456602         WEITZ & LUXENBERG, PC                                DOWNIE               NANCY                 NY         10587602         WEITZ & LUXENBERG, PC
DOSS                 LORETTA               NY         01CIV3900        WEITZ & LUXENBERG, PC                                DOWNIE               RICHARD P             NY         10587602         WEITZ & LUXENBERG, PC
DOSSETT              MARGARET              NY         10467400         WEITZ & LUXENBERG, PC                                DOWNING              PATRICK               NY         10870801         WEITZ & LUXENBERG, PC
DOSSETT              RICHARD G             NY         10467400         WEITZ & LUXENBERG, PC                                DOWNS                JAMES P               NY         10581400         WEITZ & LUXENBERG, PC
DOSTER               SYBIL ERNIE SUE       NY         CV017735         WEITZ & LUXENBERG, PC                                DOWNS                JOHN R                NY         10680802         WEITZ & LUXENBERG, PC
DOTEN                EVERETT DOUGLAS       NY         10691199         WEITZ & LUXENBERG, PC                                DOWNS                KEVIN E               NY         10581400         WEITZ & LUXENBERG, PC
DOTEN                JOAN                  NY         10691199         WEITZ & LUXENBERG, PC                                DOWNS                MARY RITA             NY         10680802         WEITZ & LUXENBERG, PC
DOTSON               RONNIE L              NY         10582100         WEITZ & LUXENBERG, PC                                DOXIE                HATTIE M              NY         10467600         WEITZ & LUXENBERG, PC
DOTTERWEICH          AUGUST                NY         10691099         WEITZ & LUXENBERG, PC                                DOXIE                JOSEPH                NY         10467600         WEITZ & LUXENBERG, PC
DOTTERWEICH          MADONNA               NY         10691099         WEITZ & LUXENBERG, PC                                DOYCHAK              ALLIE                 NY         10090403         WEITZ & LUXENBERG, PC
DOUCETTE             DONALD W              NY         11843603         WEITZ & LUXENBERG, PC                                DOYCHAK              ALLIE                 NY         10565403         WEITZ & LUXENBERG, PC
DOUCETTE             KATHERINE M           NY         11843603         WEITZ & LUXENBERG, PC                                DOYCHAK              ANDREW                NY         10090403         WEITZ & LUXENBERG, PC
DOUGHER              DONALD                NY         12668602         WEITZ & LUXENBERG, PC                                DOYCHAK              ANDREW                NY         10565403         WEITZ & LUXENBERG, PC
DOUGHERTY            BERNARD WILLIAM       NY         12693402         WEITZ & LUXENBERG, PC                                DOYCHAK              OLLIE                 NY         10090403         WEITZ & LUXENBERG, PC
DOUGHERTY            JOAN                  NY         11857398         WEITZ & LUXENBERG, PC                                DOYCHAK              OLLIE                 NY         10565403         WEITZ & LUXENBERG, PC
DOUGHERTY            MARY                  NY         12693402         WEITZ & LUXENBERG, PC                                DOYLE                GEORGIA               NY         10581300         WEITZ & LUXENBERG, PC
DOUGHERTY            WILLIAM               NY         11857398         WEITZ & LUXENBERG, PC                                DOYLE                IRENE M               NY         1905432012       WEITZ & LUXENBERG, PC
DOUGHNEY             CAROL ANN             NY         99106908         WEITZ & LUXENBERG, PC                                DOYLE                JAMES J               NY         02107099         WEITZ & LUXENBERG, PC
DOUGHNEY             JOSEPH C              NY         99106908         WEITZ & LUXENBERG, PC                                DOYLE                JAMES J               NY         11779905         WEITZ & LUXENBERG, PC
DOUGLAS              ASHTON                NY         10467500         WEITZ & LUXENBERG, PC                                DOYLE                MARGARET              NY         02107099         WEITZ & LUXENBERG, PC
DOUGLAS              JOAN M                NY         10582000         WEITZ & LUXENBERG, PC                                DOYLE                MICHAEL T             NY         10670802         WEITZ & LUXENBERG, PC
DOUGLAS              JOHN PATRICK          NY         10582000         WEITZ & LUXENBERG, PC                                DOYLE                RAYMOND J             NY         1903002017       WEITZ & LUXENBERG, PC
DOUGLAS              JOSEPH                NY         01111225         WEITZ & LUXENBERG, PC                                DOYLE                ROBERT E              NY         1903002017       WEITZ & LUXENBERG, PC
DOUGLAS              MARYANNE              NY         01111225         WEITZ & LUXENBERG, PC                                DOYLE                ROSE                  NY         11779905         WEITZ & LUXENBERG, PC
DOUGLAS              PATRICIA M            NY         10271801         WEITZ & LUXENBERG, PC                                DOYLE                STEPHEN               NY         10581300         WEITZ & LUXENBERG, PC
DOUGLAS              PEARL                 NY         10467500         WEITZ & LUXENBERG, PC                                DOZIER               DON T                 NY         19024114         WEITZ & LUXENBERG, PC
DOUKAS               FRANCINE              NY         12039201         WEITZ & LUXENBERG, PC                                DOZIER               MILDRED ANN           NY         19024114         WEITZ & LUXENBERG, PC
DOUKAS               FRANCINE              NY         10406602         WEITZ & LUXENBERG, PC                                DRAB                 ANDREW                NY         11361804         WEITZ & LUXENBERG, PC
DOUTT                JUDY                  NY         1900972015       WEITZ & LUXENBERG, PC                                DRAGONE              GIDIO                 NY         10031101         WEITZ & LUXENBERG, PC
DOUTT                REED                  NY         1900972015       WEITZ & LUXENBERG, PC                                DRAGONE              JOHANNA               NY         10031101         WEITZ & LUXENBERG, PC
DOUVRES              JOSEPHINE             NY         99114504         WEITZ & LUXENBERG, PC                                DRAGONETTE           DANIEL                NY         10467700         WEITZ & LUXENBERG, PC
DOUVRES              THEODORE A            NY         99114504         WEITZ & LUXENBERG, PC                                DRAGONETTE           JULIA N               NY         10467700         WEITZ & LUXENBERG, PC
DOVEALA              GRACE                 NY         12039101         WEITZ & LUXENBERG, PC                                DRAGONETTI           DOLORIS               NY         99114497         WEITZ & LUXENBERG, PC
DOVEALA              ROBERT                NY         12039101         WEITZ & LUXENBERG, PC                                DRAGONETTI           RALPH                 NY         99114497         WEITZ & LUXENBERG, PC
DOW                  CHARLES W             NY         10581700         WEITZ & LUXENBERG, PC                                DRAGOVIC             PATRICIA              NY         10716902         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 914
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 249 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DRAGOVIC             STEVE                 NY         10716902         WEITZ & LUXENBERG, PC                                DUBRAY               DEBRA                 NY         10690499         WEITZ & LUXENBERG, PC
DRAIN                TERESA A              NY         10463607         WEITZ & LUXENBERG, PC                                DUBRAY               RONALD D              NY         10690499         WEITZ & LUXENBERG, PC
DRAIN                WILLIAM J             NY         10463607         WEITZ & LUXENBERG, PC                                DUBRAY               SHARI                 NY         5891718          WEITZ & LUXENBERG, PC
DRAKE                BEVERLY M             NY         11327702         WEITZ & LUXENBERG, PC                                DUBRAY               WILLIAM T             NY         5891718          WEITZ & LUXENBERG, PC
DRAKE                LOUIS ROGER           NY         10690699         WEITZ & LUXENBERG, PC                                DUBRINSKI            ANTHONY               NY         10716802         WEITZ & LUXENBERG, PC
DRAKE                WILLIAM BLAINE        NY         11327702         WEITZ & LUXENBERG, PC                                DUBRINSKI            ANTHONY               NY         11242802         WEITZ & LUXENBERG, PC
DRANCE               GEORGE W              NY         10784407         WEITZ & LUXENBERG, PC                                DUBUQUE              BARBARA               NY         01121099         WEITZ & LUXENBERG, PC
DRANK                PAUL J                NY         11246200         WEITZ & LUXENBERG, PC                                DUBUQUE              DONALD R              NY         01121099         WEITZ & LUXENBERG, PC
DRASBY               FRANK                 NY         11159403         WEITZ & LUXENBERG, PC                                DUCASSE              ALICE                 NY         11246400         WEITZ & LUXENBERG, PC
DREBOT               EUGENE V              NY         10587602         WEITZ & LUXENBERG, PC                                DUCASSE              RODNEY                NY         11246400         WEITZ & LUXENBERG, PC
DREBOT               VICTORIA M            NY         10587602         WEITZ & LUXENBERG, PC                                DUCASSI              HECTOR                NY         1901972013       WEITZ & LUXENBERG, PC
DREILING             JAMES P               NY         1900202013       WEITZ & LUXENBERG, PC                                DUCASSI              MARICEL               NY         1901972013       WEITZ & LUXENBERG, PC
DRESSEL              LILLIE E              NY         10580300         WEITZ & LUXENBERG, PC                                DUCATTE              LARRY J               NY         10468300         WEITZ & LUXENBERG, PC
DRESSEL              PAUL                  NY         10580300         WEITZ & LUXENBERG, PC                                DUCHARME             CLARENCE F            NY         02107007         WEITZ & LUXENBERG, PC
DRIEKONSKI           ALEX                  NY         12043001         WEITZ & LUXENBERG, PC                                DUCHESNE             WILFRED               NY         1900032017       WEITZ & LUXENBERG, PC
DRIEKONSKI           ALEX                  NY         10016102         WEITZ & LUXENBERG, PC                                DUCKER               KENNETH F             NY         01111236         WEITZ & LUXENBERG, PC
DRIEKONSKI           ESTHER                NY         12043001         WEITZ & LUXENBERG, PC                                DUCKWALD             CHARLES               NY         02106690         WEITZ & LUXENBERG, PC
DRIEKONSKI           ESTHER                NY         10016102         WEITZ & LUXENBERG, PC                                DUCKWALD             LORAL                 NY         02106690         WEITZ & LUXENBERG, PC
DRINKWATER           JOHN                  NY         19043610         WEITZ & LUXENBERG, PC                                DUCLOS               CATHERINE M           NY         10584500         WEITZ & LUXENBERG, PC
DRINKWATER           VERONICA              NY         19043610         WEITZ & LUXENBERG, PC                                DUCLOS               CATHERINE M           NY         99121980         WEITZ & LUXENBERG, PC
DRISCOLL             DAN JOSEPH            NY         10580200         WEITZ & LUXENBERG, PC                                DUCLOS               JOSEPH F              NY         10584500         WEITZ & LUXENBERG, PC
DRISCOLL             DENIS                 NY         10031201         WEITZ & LUXENBERG, PC                                DUCLOS               JOSEPH F              NY         99121980         WEITZ & LUXENBERG, PC
DRISCOLL             HELEN                 NY         11521303         WEITZ & LUXENBERG, PC                                DUCLOS               THOMAS CARNEY         NY         10584500         WEITZ & LUXENBERG, PC
DRISCOLL             HELEN JESSIE          NY         10580200         WEITZ & LUXENBERG, PC                                DUCLOS               THOMAS CARNEY         NY         99121980         WEITZ & LUXENBERG, PC
DRISCOLL             JOHN F                NY         11449899         WEITZ & LUXENBERG, PC                                DUDAK                JOANNE                NY         12668502         WEITZ & LUXENBERG, PC
DRISCOLL             JULIA                 NY         10031201         WEITZ & LUXENBERG, PC                                DUDAK                JOANNE                NY         10335403         WEITZ & LUXENBERG, PC
DRISCOLL             MARY                  NY         110329203        WEITZ & LUXENBERG, PC                                DUDAK                RAYMOND               NY         12668502         WEITZ & LUXENBERG, PC
DRISCOLL             ROBERT M              NY         110329203        WEITZ & LUXENBERG, PC                                DUDAK                RAYMOND               NY         10335403         WEITZ & LUXENBERG, PC
DRISCOLL             THOMAS H              NY         11521303         WEITZ & LUXENBERG, PC                                DUDALA               MARY                  NY         02100267         WEITZ & LUXENBERG, PC
DRISCOLL             THOMAS J              NY         10696502         WEITZ & LUXENBERG, PC                                DUDALA               WITOLD                NY         02100267         WEITZ & LUXENBERG, PC
DRISKILL             HELEN                 NY         01111230         WEITZ & LUXENBERG, PC                                DUDDLESTON           CAROLYN               NY         10670402         WEITZ & LUXENBERG, PC
DRISKILL             LIONEL                NY         01111230         WEITZ & LUXENBERG, PC                                DUDDLESTON           DOUGLAS JOHN          NY         10670402         WEITZ & LUXENBERG, PC
DRIVER               DARLENE BREEDING      NY         10168302         WEITZ & LUXENBERG, PC                                DUDDY                CONSTANCE             NY         11162403         WEITZ & LUXENBERG, PC
DRIVER               DARLENE BREEDING      NY         11475799         WEITZ & LUXENBERG, PC                                DUDDY                JAMES E               NY         11162403         WEITZ & LUXENBERG, PC
DRIVER               JAMES H               NY         10168302         WEITZ & LUXENBERG, PC                                DUDLEY               GERALDINE             NY         99106903         WEITZ & LUXENBERG, PC
DRIVER               JAMES H               NY         11475799         WEITZ & LUXENBERG, PC                                DUDLEY               PETER A               NY         10031901         WEITZ & LUXENBERG, PC
DROLET               JANE                  NY         12349199         WEITZ & LUXENBERG, PC                                DUDLEY               WILBUR E              NY         99106903         WEITZ & LUXENBERG, PC
DROLET               JOHN F                NY         12349199         WEITZ & LUXENBERG, PC                                DUDSAK               CHARLES               NJ         MIDL462816AS     WEITZ & LUXENBERG, PC
DRONE                JACQUELINE A          NY         01CIV3895        WEITZ & LUXENBERG, PC                                DUDSAK               CHARLES J             NY         01111220         WEITZ & LUXENBERG, PC
DRONE                WILLIE L              NY         01CIV3895        WEITZ & LUXENBERG, PC                                DUDSAK               DOLORES               NJ         MIDL462816AS     WEITZ & LUXENBERG, PC
DROUIN               GUY                   NY         10690599         WEITZ & LUXENBERG, PC                                DUDSAK               DOLORES               NY         01111220         WEITZ & LUXENBERG, PC
DROUIN               LUCETTE               NY         10690599         WEITZ & LUXENBERG, PC                                DUDZIAK              FRANK J               NY         12557502         WEITZ & LUXENBERG, PC
DROZIC               LOUISE                NY         10632401         WEITZ & LUXENBERG, PC                                DUDZIAK              FRANK L               NY         11026802         WEITZ & LUXENBERG, PC
DROZYNSKI            JOHN R                NY         10740502         WEITZ & LUXENBERG, PC                                DUDZIC               STEPHEN A             NY         10587002         WEITZ & LUXENBERG, PC
DROZYNSKI            PATRICIA              NY         10740502         WEITZ & LUXENBERG, PC                                DUELL                DONALD L              NY         10716802         WEITZ & LUXENBERG, PC
DRUCKER              NORMA                 NY         10580100         WEITZ & LUXENBERG, PC                                DUELL                DONALD L              NY         11242702         WEITZ & LUXENBERG, PC
DRUCKER              THEODORE              NY         10580100         WEITZ & LUXENBERG, PC                                DUELL                ELIZABETH             NY         10716802         WEITZ & LUXENBERG, PC
DRUM                 THOMAS N              NY         1900392016       WEITZ & LUXENBERG, PC                                DUELL                ELIZABETH             NY         11242702         WEITZ & LUXENBERG, PC
DRUMM                DIANNE                NY         11159303         WEITZ & LUXENBERG, PC                                DUESLER              FRANCES JOAN          NY         10740502         WEITZ & LUXENBERG, PC
DRUMM                JAMES J               NY         11159303         WEITZ & LUXENBERG, PC                                DUESLER              FRANCES JOAN          NY         11417102         WEITZ & LUXENBERG, PC
DRUMMOND             DARCY L               NY         11026802         WEITZ & LUXENBERG, PC                                DUESLER              NELLIS F              NY         10740502         WEITZ & LUXENBERG, PC
DRUMMOND             MICHAEL D             NY         11026802         WEITZ & LUXENBERG, PC                                DUESLER              NELLIS F              NY         11417102         WEITZ & LUXENBERG, PC
DRUNNER              DONALD K              NY         02122050         WEITZ & LUXENBERG, PC                                DUFFNEY              MICHAEL J             NY         10469400         WEITZ & LUXENBERG, PC
DRZYMALA             KENNETH F             NY         02120709         WEITZ & LUXENBERG, PC                                DUFFWEY              PAMELA                NY         10469400         WEITZ & LUXENBERG, PC
DRZYMALA             MARY                  NY         1903012019       WEITZ & LUXENBERG, PC                                DUFFY                ALICE B               NY         99106907         WEITZ & LUXENBERG, PC
DRZYMALA             WALTER                NY         1903012019       WEITZ & LUXENBERG, PC                                DUFFY                BARBARA               NY         12444102         WEITZ & LUXENBERG, PC
DU FOUR              BEVERLY A             NY         02107005         WEITZ & LUXENBERG, PC                                DUFFY                BERNADETTE            NY         10584300         WEITZ & LUXENBERG, PC
DU FOUR              JOSEPH P              NY         02107005         WEITZ & LUXENBERG, PC                                DUFFY                BERNADETTE            NY         99121980         WEITZ & LUXENBERG, PC
DUBAIL               DORIS                 DE         N16C10016ASB     WEITZ & LUXENBERG, PC                                DUFFY                FRANCES               NY         01111234         WEITZ & LUXENBERG, PC
DUBAIL               GUY                   DE         N16C10016ASB     WEITZ & LUXENBERG, PC                                DUFFY                JAMES MICHAEL         NY         10637002         WEITZ & LUXENBERG, PC
DUBLIN               ANGELA                NY         19015709         WEITZ & LUXENBERG, PC                                DUFFY                JOSEPH A              NY         10584400         WEITZ & LUXENBERG, PC
DUBLIN               NELSON                NY         19015709         WEITZ & LUXENBERG, PC                                DUFFY                JOSEPH A              NY         99121980         WEITZ & LUXENBERG, PC
DUBOIS               ADDIE                 NY         99121980         WEITZ & LUXENBERG, PC                                DUFFY                JOSEPH W              NY         12668102         WEITZ & LUXENBERG, PC
DUBOIS               ARTHUR PHILLIP        NY         10699902         WEITZ & LUXENBERG, PC                                DUFFY                JOSEPH W              NY         10352603         WEITZ & LUXENBERG, PC
DUBOIS               ARTHUR PHILLIP        NY         11131702         WEITZ & LUXENBERG, PC                                DUFFY                MARIA                 NY         12668102         WEITZ & LUXENBERG, PC
DUBOIS               DUANE                 NY         10699902         WEITZ & LUXENBERG, PC                                DUFFY                MARIA                 NY         10352603         WEITZ & LUXENBERG, PC
DUBOIS               DUANE                 NY         11131702         WEITZ & LUXENBERG, PC                                DUFFY                MARY                  NY         11693599         WEITZ & LUXENBERG, PC
DUBOIS               DUANE A               NY         02120706         WEITZ & LUXENBERG, PC                                DUFFY                RAYMOND E             NY         99106907         WEITZ & LUXENBERG, PC
DUBOIS               KATHLEEN R            NY         02120706         WEITZ & LUXENBERG, PC                                DUFFY                RICHARD JAMES         NY         10584300         WEITZ & LUXENBERG, PC
DUBOIS               WILLIAM               NY         99121980         WEITZ & LUXENBERG, PC                                DUFFY                RICHARD JAMES         NY         99121980         WEITZ & LUXENBERG, PC
DUBRASKY             GEORGE J              NY         12668702         WEITZ & LUXENBERG, PC                                DUFFY                ROBERT J              NY         01111234         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 915
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 250 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DUFFY                THOMAS                NY         11693599         WEITZ & LUXENBERG, PC                                DUNHAM               JAMES THOMAS          NY         02120616         WEITZ & LUXENBERG, PC
DUFFY                TIMOTHY P             NY         11327902         WEITZ & LUXENBERG, PC                                DUNHAM               KAREN                 NY         02120616         WEITZ & LUXENBERG, PC
DUFFY                WILLIAM K             NY         12444102         WEITZ & LUXENBERG, PC                                DUNHAM               RAY                   NY         11693699         WEITZ & LUXENBERG, PC
DUFORT               JOSEPHINE R           NY         99106902         WEITZ & LUXENBERG, PC                                DUNHAM               WILMA                 NY         11693699         WEITZ & LUXENBERG, PC
DUFORT               ROBERT T              NY         99106902         WEITZ & LUXENBERG, PC                                DUNKLEY              HERBERT               NY         02106508         WEITZ & LUXENBERG, PC
DUFRANE              DARYL J               NY         10716702         WEITZ & LUXENBERG, PC                                DUNKLEY              NEALEY                NY         02106508         WEITZ & LUXENBERG, PC
DUFRANE              MICHAEL J             NY         CV20150145913    WEITZ & LUXENBERG, PC                                DUNLAP               LINDA F               NY         01CIV3910        WEITZ & LUXENBERG, PC
DUFRANE              MICHAEL J             NY         1903312016       WEITZ & LUXENBERG, PC                                DUNLAP               STANLEY               NY         01CIV3910        WEITZ & LUXENBERG, PC
DUFRANE              MICHAEL J             NY         10696502         WEITZ & LUXENBERG, PC                                DUNLOP               FRANCIS               NY         10690199         WEITZ & LUXENBERG, PC
DUFRANE              ROBERT E              NY         CV20150145913    WEITZ & LUXENBERG, PC                                DUNN                 ALEXANDER H           NY         12039601         WEITZ & LUXENBERG, PC
DUFRANE              ROBERT E              NY         1903312016       WEITZ & LUXENBERG, PC                                DUNN                 ALFRED D              NY         02105715         WEITZ & LUXENBERG, PC
DUFRANE              ROBERT E              NY         10696502         WEITZ & LUXENBERG, PC                                DUNN                 ALFRED D              NY         11021302         WEITZ & LUXENBERG, PC
DUGAN                JAMES                 NY         10032001         WEITZ & LUXENBERG, PC                                DUNN                 ALICE                 NY         02105715         WEITZ & LUXENBERG, PC
DUGAN                MARY                  NY         10032001         WEITZ & LUXENBERG, PC                                DUNN                 ALICE                 NY         11021302         WEITZ & LUXENBERG, PC
DUGGAN               CECELIA               NY         11853098         WEITZ & LUXENBERG, PC                                DUNN                 ANDRIE J              NY         10583900         WEITZ & LUXENBERG, PC
DUGGAN               CORNELIUS             NY         10031301         WEITZ & LUXENBERG, PC                                DUNN                 ANDRIE J              NY         99121980         WEITZ & LUXENBERG, PC
DUGGAN               ELLEN                 NY         10584200         WEITZ & LUXENBERG, PC                                DUNN                 DAISY                 NY         10032301         WEITZ & LUXENBERG, PC
DUGGAN               ELLEN                 NY         99121980         WEITZ & LUXENBERG, PC                                DUNN                 DIANE                 NY         02106579         WEITZ & LUXENBERG, PC
DUGGAN               GEORGE J              NY         11246500         WEITZ & LUXENBERG, PC                                DUNN                 DOLORES               NY         12039601         WEITZ & LUXENBERG, PC
DUGGAN               JOAN                  NY         11246500         WEITZ & LUXENBERG, PC                                DUNN                 ELIZABETH             NY         12039801         WEITZ & LUXENBERG, PC
DUGGAN               JOHN E                NY         11853098         WEITZ & LUXENBERG, PC                                DUNN                 FRANK A               NY         10583900         WEITZ & LUXENBERG, PC
DUGGAN               MARGARET              NY         10031301         WEITZ & LUXENBERG, PC                                DUNN                 FRANK A               NY         99121980         WEITZ & LUXENBERG, PC
DUGGAN               WILLIAM               NY         10584200         WEITZ & LUXENBERG, PC                                DUNN                 GARY C                NY         10852204         WEITZ & LUXENBERG, PC
DUGGAN               WILLIAM               NY         99121980         WEITZ & LUXENBERG, PC                                DUNN                 JANET                 NY         10852204         WEITZ & LUXENBERG, PC
DUGGER               BENJAMIN LEE          NY         10032101         WEITZ & LUXENBERG, PC                                DUNN                 JOHN                  NY         12039801         WEITZ & LUXENBERG, PC
DUGGER               CATHERINE             NY         10032101         WEITZ & LUXENBERG, PC                                DUNN                 JOHN                  NY         10583800         WEITZ & LUXENBERG, PC
DUHEME               IRENE                 NY         10722102         WEITZ & LUXENBERG, PC                                DUNN                 JOHN                  NY         99121980         WEITZ & LUXENBERG, PC
DUHEME               IRENE                 NY         11312502         WEITZ & LUXENBERG, PC                                DUNN                 JOHN J                NY         11645304         WEITZ & LUXENBERG, PC
DUHEME               JOSEPH A              NY         10722102         WEITZ & LUXENBERG, PC                                DUNN                 KEVIN C               NY         1902452016       WEITZ & LUXENBERG, PC
DUHEME               JOSEPH A              NY         11312502         WEITZ & LUXENBERG, PC                                DUNN                 LAWRENCE A            NY         10105902         WEITZ & LUXENBERG, PC
DUKARM               DONALD F              NY         20018980         WEITZ & LUXENBERG, PC                                DUNN                 MICHAEL J             NY         02106579         WEITZ & LUXENBERG, PC
DUKE                 ELAINE                NY         10584100         WEITZ & LUXENBERG, PC                                DUNN                 NORMAN                NY         10032301         WEITZ & LUXENBERG, PC
DUKE                 ELAINE                NY         99121980         WEITZ & LUXENBERG, PC                                DUNN                 ROSS R                NY         12038901         WEITZ & LUXENBERG, PC
DUKE                 ERIC                  NY         10584100         WEITZ & LUXENBERG, PC                                DUNN                 SERAFINA              NY         10583800         WEITZ & LUXENBERG, PC
DUKE                 ERIC                  NY         99121980         WEITZ & LUXENBERG, PC                                DUNN                 SERAFINA              NY         99121980         WEITZ & LUXENBERG, PC
DUKE                 MARGARET              NY         19004211         WEITZ & LUXENBERG, PC                                DUNN                 SERAFINE              NY         12038901         WEITZ & LUXENBERG, PC
DUKE                 PETER P               NY         19004211         WEITZ & LUXENBERG, PC                                DUNN                 TINA                  NY         1902452016       WEITZ & LUXENBERG, PC
DULLAGHAN            ANNA                  NY         11159303         WEITZ & LUXENBERG, PC                                DUNN                 KARIN                 NY         11645304         WEITZ & LUXENBERG, PC
DULLAGHAN            STEVEN                NY         11159303         WEITZ & LUXENBERG, PC                                DUNNE                CLAIRE                NY         11804104         WEITZ & LUXENBERG, PC
DUMAN                BERNARD P             NY         11858298         WEITZ & LUXENBERG, PC                                DUNNE                JANICE                NY         536722019        WEITZ & LUXENBERG, PC
DUMAN                DOLORES               NY         11858298         WEITZ & LUXENBERG, PC                                DUNNE                JOHN J                NY         11804104         WEITZ & LUXENBERG, PC
DUMAR                LANDYCE               NY         10584000         WEITZ & LUXENBERG, PC                                DUNNE                JOYCE                 NY         1904542018       WEITZ & LUXENBERG, PC
DUMAR                LANDYCE               NY         99121980         WEITZ & LUXENBERG, PC                                DUNNE                KENNETH               NY         1904542018       WEITZ & LUXENBERG, PC
DUMAR                PETER A               NY         10584000         WEITZ & LUXENBERG, PC                                DUNNE                THOMAS J              NY         536722019        WEITZ & LUXENBERG, PC
DUMAR                PETER A               NY         99121980         WEITZ & LUXENBERG, PC                                DUNNING              MARCIA A              NY         10628499         WEITZ & LUXENBERG, PC
DUMAS                BARBARA A             NY         1900012018       WEITZ & LUXENBERG, PC                                DUNPHY               DIANE M               NY         10817406         WEITZ & LUXENBERG, PC
DUMAS                CHARLES E             NY         01CIV3922        WEITZ & LUXENBERG, PC                                DUNPHY               STEPHEN M             NY         10817406         WEITZ & LUXENBERG, PC
DUMAS                DONNA L               NY         02105718         WEITZ & LUXENBERG, PC                                DUNWOODIE            AGNES MARIE           NY         11693799         WEITZ & LUXENBERG, PC
DUMAS                JOHN FRANCIS          NY         02105718         WEITZ & LUXENBERG, PC                                DUNWOODIE            KATHLEEN M            NY         11693799         WEITZ & LUXENBERG, PC
DUMAS                SHERRY                NY         01CIV3922        WEITZ & LUXENBERG, PC                                DUNWOODIE            WILLIAM RAYMOND       NY         11693799         WEITZ & LUXENBERG, PC
DUMAS                WAYNE ROY             NY         02106692         WEITZ & LUXENBERG, PC                                DUPERRON             LARRY                 NY         11356003         WEITZ & LUXENBERG, PC
DUMKA                MARY M                NY         20016902         WEITZ & LUXENBERG, PC                                DUPERRON             STELLA                NY         11356003         WEITZ & LUXENBERG, PC
DUMKA                WILLIAM E             NY         20016902         WEITZ & LUXENBERG, PC                                DUPLESSIS            CAROLYN G             NY         12801902         WEITZ & LUXENBERG, PC
DUNBAR               PAUL R                NY         01CIV3922        WEITZ & LUXENBERG, PC                                DUPLESSIS            JAMES JOSEPH          NY         12801902         WEITZ & LUXENBERG, PC
DUNBAR               PEARL                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                DUPLIS               EMILY                 NY         99116939         WEITZ & LUXENBERG, PC
DUNCAN               BILLIE O              NY         12668202         WEITZ & LUXENBERG, PC                                DUPLIS               WILLIAM E             NY         99116939         WEITZ & LUXENBERG, PC
DUNCAN               DIANA                 NY         11246600         WEITZ & LUXENBERG, PC                                DUPRAW               JAMES F               NY         10680702         WEITZ & LUXENBERG, PC
DUNCAN               DONNA                 NY         1901642017       WEITZ & LUXENBERG, PC                                DUPRAW               JAMES F               NY         11086402         WEITZ & LUXENBERG, PC
DUNCAN               HELEN                 NY         11902101         WEITZ & LUXENBERG, PC                                DUPREE               WILBERT LEE           NY         01CIV3910        WEITZ & LUXENBERG, PC
DUNCAN               JAMES A               NY         11902101         WEITZ & LUXENBERG, PC                                DUPREY               CLIFFORD              NY         10689899         WEITZ & LUXENBERG, PC
DUNCAN               JERRY L               NY         1902222015       WEITZ & LUXENBERG, PC                                DUPREY               MYRA M                NY         10689899         WEITZ & LUXENBERG, PC
DUNCAN               JOSEPH                NY         11246600         WEITZ & LUXENBERG, PC                                DUPUIS               BETTY SUE             NY         CV013921         WEITZ & LUXENBERG, PC
DUNCAN               KATHLEEN              NY         12668202         WEITZ & LUXENBERG, PC                                DUPUIS               JOHNNY                NY         CV013921         WEITZ & LUXENBERG, PC
DUNCAN               LOUIE K               NY         1901642017       WEITZ & LUXENBERG, PC                                DUQUETTE             CLARK G               NY         10032401         WEITZ & LUXENBERG, PC
DUNCAN               PENNY                 NY         10735701         WEITZ & LUXENBERG, PC                                DUQUETTE             MARGARET              NY         10032401         WEITZ & LUXENBERG, PC
DUNCAN               GLENDA                NY         1902222015       WEITZ & LUXENBERG, PC                                DUQUETTE             NANCY                 NY         10680702         WEITZ & LUXENBERG, PC
DUNCAN-GARNER        MARGARET              NY         12433902         WEITZ & LUXENBERG, PC                                DUQUETTE             RYON A                NY         10680702         WEITZ & LUXENBERG, PC
DUNCHESKIE           HAROLD J              NY         I20019453        WEITZ & LUXENBERG, PC                                DURAN                ANTONIO J             NY         11327802         WEITZ & LUXENBERG, PC
DUNFORD              WILLIAM L             NY         1901602018       WEITZ & LUXENBERG, PC                                DURAN                NIDIA L               NY         11327802         WEITZ & LUXENBERG, PC
DUNHAM               CHARLES B             NY         10032201         WEITZ & LUXENBERG, PC                                DURAN                PATRICIA              NY         1902432019       WEITZ & LUXENBERG, PC
DUNHAM               GERTRUDE              NY         10032201         WEITZ & LUXENBERG, PC                                DURAND               EMILY                 NY         99106897         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 916
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 251 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DURAND               HARRY JOHN            NY         99106897         WEITZ & LUXENBERG, PC                                DWYER                MARTIN                NY         99116942         WEITZ & LUXENBERG, PC
DURANT               CAROL                 NY         99116940         WEITZ & LUXENBERG, PC                                DWYER                MARY A                NY         11697299         WEITZ & LUXENBERG, PC
DURANT               DANIEL M              NY         10710102         WEITZ & LUXENBERG, PC                                DWYER                MARY A                NY         99116942         WEITZ & LUXENBERG, PC
DURANT               GEORGE W              NY         99116940         WEITZ & LUXENBERG, PC                                DWYER                MARY LOU              NY         10583400         WEITZ & LUXENBERG, PC
DURANT               JOHN A                NY         10670402         WEITZ & LUXENBERG, PC                                DWYER                MARY LOU              NY         99121980         WEITZ & LUXENBERG, PC
DURANT               LESLIE G              NY         10716802         WEITZ & LUXENBERG, PC                                DWYER                MOIRA P               NY         12070197         WEITZ & LUXENBERG, PC
DURANT               MARIA                 NY         10716802         WEITZ & LUXENBERG, PC                                DWYER                RICHARD               NY         10583300         WEITZ & LUXENBERG, PC
DURANT               MARY ANN              NY         10710102         WEITZ & LUXENBERG, PC                                DWYER                RICHARD               NY         99121980         WEITZ & LUXENBERG, PC
DURANT               SIMONNE H             NY         10670402         WEITZ & LUXENBERG, PC                                DWYER                WILLIAM P             NY         01111222         WEITZ & LUXENBERG, PC
DURANT               STEPHEN DOUGLAS       NY         02106694         WEITZ & LUXENBERG, PC                                DYCHA                EILEEN                NY         02120709         WEITZ & LUXENBERG, PC
DURANT               SUSAN                 NY         02106694         WEITZ & LUXENBERG, PC                                DYCHA                HENRY A               NY         02120709         WEITZ & LUXENBERG, PC
DURANT               THOMAS J              NY         609882016        WEITZ & LUXENBERG, PC                                DYER                 KENNETH C             NY         1900392017       WEITZ & LUXENBERG, PC
DURANTE              CAROLINE              NY         12039101         WEITZ & LUXENBERG, PC                                DYRO                 WILLIAM               NY         11246700         WEITZ & LUXENBERG, PC
DURANTE              CAROLINE              NY         10430602         WEITZ & LUXENBERG, PC                                DYS                  JAMES M               NY         10658102         WEITZ & LUXENBERG, PC
DURANTE              JOHN V                NY         12039101         WEITZ & LUXENBERG, PC                                DYS                  JAMES M               NY         11391702         WEITZ & LUXENBERG, PC
DURANTE              JOHN V                NY         10430602         WEITZ & LUXENBERG, PC                                DYS                  KENNETH A             NY         10658102         WEITZ & LUXENBERG, PC
DURANTE              NICHOLAS              NY         12056903         WEITZ & LUXENBERG, PC                                DYS                  KENNETH A             NY         11391702         WEITZ & LUXENBERG, PC
DURANTE              ROSEMARIE             NY         12056903         WEITZ & LUXENBERG, PC                                DYSON                JAMES V               NY         10587202         WEITZ & LUXENBERG, PC
DURGEN               HOWARD A              NY         10696502         WEITZ & LUXENBERG, PC                                DYSON                JAMES V               NY         10819802         WEITZ & LUXENBERG, PC
DURGEN               LAVINA LEE            NY         10696502         WEITZ & LUXENBERG, PC                                DYSON                MARY                  NY         10587202         WEITZ & LUXENBERG, PC
DURHAM               CHAMBERS              NY         99116941         WEITZ & LUXENBERG, PC                                DYSON                MARY                  NY         10819802         WEITZ & LUXENBERG, PC
DURHAM               ELOISE                NY         99116941         WEITZ & LUXENBERG, PC                                DYSON                PAUL                  NY         10587202         WEITZ & LUXENBERG, PC
DURICK               JOANN                 NY         10652504         WEITZ & LUXENBERG, PC                                DYSON                PAUL                  NY         10819802         WEITZ & LUXENBERG, PC
DURICK               JOHN L                NY         10652504         WEITZ & LUXENBERG, PC                                DZIADOWICZ           STANLEY J             NY         12043001         WEITZ & LUXENBERG, PC
DURKA                JACQUELINE            NY         10034701         WEITZ & LUXENBERG, PC                                DZIDUCH              FLORENCE              NY         11694599         WEITZ & LUXENBERG, PC
DURKA                MARGARETNA            NY         10034801         WEITZ & LUXENBERG, PC                                DZIDUCH              STANLEY JOHN          NY         11694599         WEITZ & LUXENBERG, PC
DURKA                NICHOLAS WILLIAM      NY         10034701         WEITZ & LUXENBERG, PC                                DZIECHCIARZ          AUDREY J              NY         10583200         WEITZ & LUXENBERG, PC
DURKA                STANLEY               NY         10034801         WEITZ & LUXENBERG, PC                                DZIECHCIARZ          AUDREY J              NY         99121980         WEITZ & LUXENBERG, PC
DURNING              JOHN C                NY         01122139         WEITZ & LUXENBERG, PC                                DZIECHCIARZ          LEO                   NY         12209197         WEITZ & LUXENBERG, PC
DURNING              MARGARET M            NY         01122139         WEITZ & LUXENBERG, PC                                DZIECHCIARZ          MARY                  NY         12209197         WEITZ & LUXENBERG, PC
DURR                 CHRISTIAN             NY         11950501         WEITZ & LUXENBERG, PC                                DZIECHCIARZ          VINCENT J             NY         10583200         WEITZ & LUXENBERG, PC
DURR                 CHRISTIAN             NY         01111220         WEITZ & LUXENBERG, PC                                DZIECHCIARZ          VINCENT J             NY         99121980         WEITZ & LUXENBERG, PC
DURR                 CHRISTIAN A           NY         11950501         WEITZ & LUXENBERG, PC                                DZIEDZINA            LEONARD S             NY         10034901         WEITZ & LUXENBERG, PC
DURR                 CHRISTIAN A           NY         01111220         WEITZ & LUXENBERG, PC                                DZIEDZINA            MARIE                 NY         10034901         WEITZ & LUXENBERG, PC
DURR                 MICHAEL               NY         11950501         WEITZ & LUXENBERG, PC                                DZIEMA               KONSTANTY I           NY         11694699         WEITZ & LUXENBERG, PC
DURR                 MICHAEL               NY         01111220         WEITZ & LUXENBERG, PC                                DZIENDZIEL           ADELGUNDE             NY         10035001         WEITZ & LUXENBERG, PC
DURSO                THERESA               NY         11756604         WEITZ & LUXENBERG, PC                                DZIENDZIEL           ZYGFRYD               NY         10035001         WEITZ & LUXENBERG, PC
DUS                  JULIA                 NY         10583700         WEITZ & LUXENBERG, PC                                DZIMIERA             WANDA                 NY         10468500         WEITZ & LUXENBERG, PC
DUS                  JULIA                 NY         99121980         WEITZ & LUXENBERG, PC                                DZIMIERA             ZBIGNIEW              NY         10468500         WEITZ & LUXENBERG, PC
DUS                  SZABOLCS              NY         10583700         WEITZ & LUXENBERG, PC                                DZUBELLA             WALTER                NY         10517102         WEITZ & LUXENBERG, PC
DUS                  SZABOLCS              NY         99121980         WEITZ & LUXENBERG, PC                                EADIE                JUDITH                NY         10075704         WEITZ & LUXENBERG, PC
DUSSETT              JIMMIE                NY         10931403         WEITZ & LUXENBERG, PC                                EADIE                THEODORE              NY         10075704         WEITZ & LUXENBERG, PC
DUSSETT              LILLIE M              NY         10931403         WEITZ & LUXENBERG, PC                                EAGAN                ELVIRA MARY           NY         01111235         WEITZ & LUXENBERG, PC
DUSSETT              LILY M                NY         10931403         WEITZ & LUXENBERG, PC                                EAGAN                ELVIRA MARY           NY         11831001         WEITZ & LUXENBERG, PC
DUSTIN               ALBERTA               NY         10710002         WEITZ & LUXENBERG, PC                                EAGAN                JOSEPH                NY         01111235         WEITZ & LUXENBERG, PC
DUSTIN               DAVID                 NY         10710002         WEITZ & LUXENBERG, PC                                EAGAN                JOSEPH                NY         11831001         WEITZ & LUXENBERG, PC
DUTTON               CLARA E               NY         10583600         WEITZ & LUXENBERG, PC                                EAGLE                BILLIE DON            NY         CV017881         WEITZ & LUXENBERG, PC
DUTTON               CLARA E               NY         99121980         WEITZ & LUXENBERG, PC                                EAGLE                JOHN D                NY         CV017881         WEITZ & LUXENBERG, PC
DUTTON               DAVID G               NY         I20019782        WEITZ & LUXENBERG, PC                                EAMES                EDWIN W               NY         11246800         WEITZ & LUXENBERG, PC
DUTTON               DIANE                 NY         10469500         WEITZ & LUXENBERG, PC                                EAMES                EVELYN MARY           NY         11246800         WEITZ & LUXENBERG, PC
DUTTON               JACK L                NY         10583600         WEITZ & LUXENBERG, PC                                EANES                JOEL                  NY         1902292012       WEITZ & LUXENBERG, PC
DUTTON               JACK L                NY         99121980         WEITZ & LUXENBERG, PC                                EANES                MILDRED D             NY         1902292012       WEITZ & LUXENBERG, PC
DUTTON               JOHN                  NY         10469500         WEITZ & LUXENBERG, PC                                EARL                 FRED M                NY         12801902         WEITZ & LUXENBERG, PC
DUTTON               JOHN D                NY         201400000986     WEITZ & LUXENBERG, PC                                EARL                 GEORGETTE             NY         12219799         WEITZ & LUXENBERG, PC
DUTTON               SANDRA K              NY         I20019782        WEITZ & LUXENBERG, PC                                EARL                 GEORGETTE             NY         11440900         WEITZ & LUXENBERG, PC
DUVALL               BETTE R               NY         CV022622         WEITZ & LUXENBERG, PC                                EARL                 ROBERT                NY         12219799         WEITZ & LUXENBERG, PC
DUVALL               ROBERT                NY         CV022622         WEITZ & LUXENBERG, PC                                EARL                 ROBERT                NY         11440900         WEITZ & LUXENBERG, PC
DUVE                 DOROTHY               NY         19004808         WEITZ & LUXENBERG, PC                                EARLE                DOROTHY               NY         12039701         WEITZ & LUXENBERG, PC
DUVE                 ROGER                 NY         19004808         WEITZ & LUXENBERG, PC                                EARLE                EWART G               NY         12039701         WEITZ & LUXENBERG, PC
DUVIER               PHILIPPE              NY         10583500         WEITZ & LUXENBERG, PC                                EARLEY               JANE                  NY         10035101         WEITZ & LUXENBERG, PC
DUVIER               PHILIPPE              NY         99121980         WEITZ & LUXENBERG, PC                                EARLEY               ROY L                 NY         10035101         WEITZ & LUXENBERG, PC
DWYER                ALICE                 NY         11853198         WEITZ & LUXENBERG, PC                                EARLY                ANNIE                 NY         01CIV3922        WEITZ & LUXENBERG, PC
DWYER                ANNEMARIE             NY         12213801         WEITZ & LUXENBERG, PC                                EARLY                HARVEY                NY         12668602         WEITZ & LUXENBERG, PC
DWYER                ANNEMARIE             NY         10274702         WEITZ & LUXENBERG, PC                                EARLY                JOBIE SAMUEL          NY         01CIV3922        WEITZ & LUXENBERG, PC
DWYER                CAROL                 NY         01111222         WEITZ & LUXENBERG, PC                                EARLY                JOSEPH J              NY         01111226         WEITZ & LUXENBERG, PC
DWYER                EDWARD F              NY         10583400         WEITZ & LUXENBERG, PC                                EARP                 THOMAS P              NY         1902282017       WEITZ & LUXENBERG, PC
DWYER                EDWARD F              NY         99121980         WEITZ & LUXENBERG, PC                                EASLEY               RACHEL                NY         99120264         WEITZ & LUXENBERG, PC
DWYER                FLORENCE              NY         10583300         WEITZ & LUXENBERG, PC                                EASON                CHARLES STERLON       NY         CV020225         WEITZ & LUXENBERG, PC
DWYER                FLORENCE              NY         99121980         WEITZ & LUXENBERG, PC                                EASON                EDWARD                NY         01CIV3910        WEITZ & LUXENBERG, PC
DWYER                JOHN F                NY         11853198         WEITZ & LUXENBERG, PC                                EASON                FRANCIE               NY         01CIV3910        WEITZ & LUXENBERG, PC
DWYER                MARTIN                NY         11697299         WEITZ & LUXENBERG, PC                                EASON                MARY                  NY         CV020226         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 917
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 252 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

EASON                MICHAEL WAYNE         NY         CV020226         WEITZ & LUXENBERG, PC                                EDGREEN              SHERIAN               NY         19035111         WEITZ & LUXENBERG, PC
EASON                ROBERT S              NY         02105713         WEITZ & LUXENBERG, PC                                EDICK                DONALD G              NY         99120300         WEITZ & LUXENBERG, PC
EAST                 ALFONSO               NY         10541000         WEITZ & LUXENBERG, PC                                EDICK                LAURA                 NY         99120300         WEITZ & LUXENBERG, PC
EAST                 GLORIA                NY         10541000         WEITZ & LUXENBERG, PC                                EDICK                ROBERT H              NY         10035601         WEITZ & LUXENBERG, PC
EASTERBROOK          ROY                   NY         10035201         WEITZ & LUXENBERG, PC                                EDICK                SHARON M              NY         10585600         WEITZ & LUXENBERG, PC
EASTERBROOKS         CHARLES               NY         10583100         WEITZ & LUXENBERG, PC                                EDICK                SHARON M              NY         99121980         WEITZ & LUXENBERG, PC
EASTERBROOKS         CHARLES               NY         99121980         WEITZ & LUXENBERG, PC                                EDICK                SUSAN                 NY         10035601         WEITZ & LUXENBERG, PC
EASTERBROOKS         RUTH                  NY         10583100         WEITZ & LUXENBERG, PC                                EDICK                THOMAS RICHARD        NY         10585600         WEITZ & LUXENBERG, PC
EASTERBROOKS         RUTH                  NY         99121980         WEITZ & LUXENBERG, PC                                EDICK                THOMAS RICHARD        NY         99121980         WEITZ & LUXENBERG, PC
EASTERLY             ELIZABETH             NY         1902642012       WEITZ & LUXENBERG, PC                                EDMONDS              BURNEST               NY         10585500         WEITZ & LUXENBERG, PC
EASTERLY             MICHAEL               NY         1902642012       WEITZ & LUXENBERG, PC                                EDMONDS              BURNEST               NY         99121980         WEITZ & LUXENBERG, PC
EASTMAN              LLOYD D               NY         CV020227         WEITZ & LUXENBERG, PC                                EDMONDS              SHIRLEY               NY         10585500         WEITZ & LUXENBERG, PC
EASTMAN              WINNIE                NY         CV020227         WEITZ & LUXENBERG, PC                                EDMONDS              SHIRLEY               NY         99121980         WEITZ & LUXENBERG, PC
EASTON               GERALD D              NY         11246900         WEITZ & LUXENBERG, PC                                EDMONDSON            EDGAR                 NY         11938101         WEITZ & LUXENBERG, PC
EASTON               PRISCILLA             NY         11246900         WEITZ & LUXENBERG, PC                                EDMONDSON            JAMES B               NY         00CIV1202        WEITZ & LUXENBERG, PC
EATON                TOMMYE J              NY         01CIV3910        WEITZ & LUXENBERG, PC                                EDMONDSON            JAMES W               NY         00CIV1202        WEITZ & LUXENBERG, PC
EATS                 RICHARD               NY         11858398         WEITZ & LUXENBERG, PC                                EDMONDSON            JOSEPHINE             NY         00CIV1202        WEITZ & LUXENBERG, PC
EATS                 SHIRLEY               NY         11858398         WEITZ & LUXENBERG, PC                                EDWARDS              ALTON                 NY         10469800         WEITZ & LUXENBERG, PC
EAVENS               FRANK                 NY         10035301         WEITZ & LUXENBERG, PC                                EDWARDS              BEVERLY               NY         10469800         WEITZ & LUXENBERG, PC
EAVENS               MARY ELIZABETH        NY         10035301         WEITZ & LUXENBERG, PC                                EDWARDS              CARL D                NY         10469900         WEITZ & LUXENBERG, PC
EAVES                MARY                  NY         1903992014       WEITZ & LUXENBERG, PC                                EDWARDS              CARLTON R             NY         02107099         WEITZ & LUXENBERG, PC
EAVES                THOMAS                NY         1903992014       WEITZ & LUXENBERG, PC                                EDWARDS              CURTIS                NY         11395601         WEITZ & LUXENBERG, PC
EBANKS               ERNEST K              NY         1900612017       WEITZ & LUXENBERG, PC                                EDWARDS              DONALD T              NY         11858498         WEITZ & LUXENBERG, PC
EBANKS               ROBERT                NY         1903042019       WEITZ & LUXENBERG, PC                                EDWARDS              FLORENCE              NY         10035801         WEITZ & LUXENBERG, PC
EBANKS               WILLIAM D             NY         1900402015       WEITZ & LUXENBERG, PC                                EDWARDS              FRED L                NY         10696302         WEITZ & LUXENBERG, PC
EBERHARD             ROBERT                NY         10074103         WEITZ & LUXENBERG, PC                                EDWARDS              GERTRUDE M            NY         11033403         WEITZ & LUXENBERG, PC
EBERHARDT            CHARLES A             NY         10583000         WEITZ & LUXENBERG, PC                                EDWARDS              HELEN                 NY         02107005         WEITZ & LUXENBERG, PC
EBERHARDT            CHARLES A             NY         99121980         WEITZ & LUXENBERG, PC                                EDWARDS              HELEN                 NY         11623202         WEITZ & LUXENBERG, PC
EBERHARDT            MADALINE              NY         10583000         WEITZ & LUXENBERG, PC                                EDWARDS              JANET                 NY         10585300         WEITZ & LUXENBERG, PC
EBERHARDT            MADALINE              NY         99121980         WEITZ & LUXENBERG, PC                                EDWARDS              JANET                 NY         99121980         WEITZ & LUXENBERG, PC
EBLING               HELEN                 NY         10445900         WEITZ & LUXENBERG, PC                                EDWARDS              JOHN G                NY         02107005         WEITZ & LUXENBERG, PC
ECCHER               ANDREW                NY         10585900         WEITZ & LUXENBERG, PC                                EDWARDS              JOHN G                NY         11623202         WEITZ & LUXENBERG, PC
ECCHER               ANDREW                NY         99121980         WEITZ & LUXENBERG, PC                                EDWARDS              JOYCE                 NY         11858498         WEITZ & LUXENBERG, PC
ECCHER               MARY                  NY         10585900         WEITZ & LUXENBERG, PC                                EDWARDS              KENTON                NY         01111227         WEITZ & LUXENBERG, PC
ECCHER               MARY                  NY         99121980         WEITZ & LUXENBERG, PC                                EDWARDS              MONICA M              NY         01122139         WEITZ & LUXENBERG, PC
ECCLESTON            ALBERT                NY         10468700         WEITZ & LUXENBERG, PC                                EDWARDS              MONICA M              NY         10814402         WEITZ & LUXENBERG, PC
ECCLESTON            SUSAN                 NY         10468700         WEITZ & LUXENBERG, PC                                EDWARDS              PETER                 NY         10035801         WEITZ & LUXENBERG, PC
ECHOLS               CLYDEAN               NY         CV003590         WEITZ & LUXENBERG, PC                                EDWARDS              RAYMOND J             NY         01122139         WEITZ & LUXENBERG, PC
ECHOLS               SB                    NY         CV003590         WEITZ & LUXENBERG, PC                                EDWARDS              RAYMOND J             NY         10814402         WEITZ & LUXENBERG, PC
ECKARDT              ANNA                  NY         11583701         WEITZ & LUXENBERG, PC                                EDWARDS              REBA                  NY         10585400         WEITZ & LUXENBERG, PC
ECKARDT              ANNA                  NY         01111222         WEITZ & LUXENBERG, PC                                EDWARDS              REBA                  NY         99121980         WEITZ & LUXENBERG, PC
ECKARDT              JAMES G               NY         11583701         WEITZ & LUXENBERG, PC                                EDWARDS              ROBERT E              NY         02107099         WEITZ & LUXENBERG, PC
ECKARDT              JAMES G               NY         01111222         WEITZ & LUXENBERG, PC                                EDWARDS              ROBERT E              NY         11758202         WEITZ & LUXENBERG, PC
ECKARDT              JAMES W               NY         11583701         WEITZ & LUXENBERG, PC                                EDWARDS              ROBERT FRANKLIN       NY         10585400         WEITZ & LUXENBERG, PC
ECKARDT              JAMES W               NY         01111222         WEITZ & LUXENBERG, PC                                EDWARDS              ROBERT FRANKLIN       NY         99121980         WEITZ & LUXENBERG, PC
ECKEL                EDWARD E              NY         10073103         WEITZ & LUXENBERG, PC                                EDWARDS              ROBERT K              NY         10585300         WEITZ & LUXENBERG, PC
ECKERT               JEANETTE              NY         10585800         WEITZ & LUXENBERG, PC                                EDWARDS              ROBERT K              NY         99121980         WEITZ & LUXENBERG, PC
ECKERT               JEANETTE              NY         99121980         WEITZ & LUXENBERG, PC                                EDWARDS              RONALD R              NY         12039201         WEITZ & LUXENBERG, PC
ECKERT               RICHARD               NY         10585800         WEITZ & LUXENBERG, PC                                EDWARDS              SHERYL                NY         02107099         WEITZ & LUXENBERG, PC
ECKERT               RICHARD               NY         99121980         WEITZ & LUXENBERG, PC                                EDWARDS              SHERYL                NY         11758202         WEITZ & LUXENBERG, PC
ECKHOFF              CAROL                 NY         11680307         WEITZ & LUXENBERG, PC                                EDWARDS              SHIRLEY               NY         11853398         WEITZ & LUXENBERG, PC
ECKHOFF              ROBERT A              NY         11680307         WEITZ & LUXENBERG, PC                                EDWARDS              STANTON M             NY         11853398         WEITZ & LUXENBERG, PC
ECKLAND              JANICE                NY         1903742015       WEITZ & LUXENBERG, PC                                EDWARDS              TERESA                NY         12039201         WEITZ & LUXENBERG, PC
ECKLAND              RONALD                NY         1903742015       WEITZ & LUXENBERG, PC                                EDWARDS              VINCENT               NY         12668102         WEITZ & LUXENBERG, PC
ECKRICH              ROSE                  NY         1902502017       WEITZ & LUXENBERG, PC                                EDWARDSEN            EDWIN L               NY         11530903         WEITZ & LUXENBERG, PC
ECKRICH              THOMAS L              NY         1902502017       WEITZ & LUXENBERG, PC                                EDWARDSEN            EILEEN                NY         11530903         WEITZ & LUXENBERG, PC
ECKSTEIN             KATHLEEN              NY         10585700         WEITZ & LUXENBERG, PC                                EFFINGER             ANDREW G              NY         99121980         WEITZ & LUXENBERG, PC
ECKSTEIN             KATHLEEN              NY         99121980         WEITZ & LUXENBERG, PC                                EFFINGER             MARIE                 NY         99121980         WEITZ & LUXENBERG, PC
ECKSTEIN             ROBERT KENNETH        NY         10585700         WEITZ & LUXENBERG, PC                                EFTHEMIS             DONALD G              NY         10687999         WEITZ & LUXENBERG, PC
ECKSTEIN             ROBERT KENNETH        NY         99121980         WEITZ & LUXENBERG, PC                                EFTHEMIS             GAIL S                NY         10687999         WEITZ & LUXENBERG, PC
EDBAUER              DONALD G              NY         99106896         WEITZ & LUXENBERG, PC                                EGAN                 ARLEEN                NY         11493107         WEITZ & LUXENBERG, PC
EDBAUER              JOAN M                NY         99106896         WEITZ & LUXENBERG, PC                                EGAN                 FRANCIS G             NY         1904522018       WEITZ & LUXENBERG, PC
EDDY                 WILLIAM               NY         1902882019       WEITZ & LUXENBERG, PC                                EGAN                 JAMES E               NY         10062399         WEITZ & LUXENBERG, PC
EDER                 JOHN                  NY         11247000         WEITZ & LUXENBERG, PC                                EGAN                 MARIA                 NY         1903962012       WEITZ & LUXENBERG, PC
EDER                 JOSEPH                NY         10035501         WEITZ & LUXENBERG, PC                                EGAN                 PATRICIA              NY         1904522018       WEITZ & LUXENBERG, PC
EDER                 MARY ANN              NY         11247000         WEITZ & LUXENBERG, PC                                EGAN                 THOMAS                NY         10585100         WEITZ & LUXENBERG, PC
EDGAR                KAREN                 NY         10469700         WEITZ & LUXENBERG, PC                                EGAN                 THOMAS                NY         99121980         WEITZ & LUXENBERG, PC
EDGAR                VINCENT J             NY         10469700         WEITZ & LUXENBERG, PC                                EGAN                 THOMAS J              NY         1903962012       WEITZ & LUXENBERG, PC
EDGERLY              ERNEST L              NY         02107005         WEITZ & LUXENBERG, PC                                EGANA                ADELINE               NY         10687799         WEITZ & LUXENBERG, PC
EDGERLY              THELMA R              NY         02107005         WEITZ & LUXENBERG, PC                                EGANA                MICHAEL               NY         10687799         WEITZ & LUXENBERG, PC
EDGREEN              ROBERT                NY         19035111         WEITZ & LUXENBERG, PC                                EGAN-KOEBEL          ELLEN                 NY         98121887         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 918
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 253 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

EGBERT               CYNTHIA               NY         CV016798         WEITZ & LUXENBERG, PC                                ELLERTSEN            GLADYS                NY         99121980         WEITZ & LUXENBERG, PC
EGBERT               DONALD DEAN           NY         CV016798         WEITZ & LUXENBERG, PC                                ELLINGSEN            HENRY RICHARD         NY         12300901         WEITZ & LUXENBERG, PC
EGERT                ANTHONY W             NY         10710102         WEITZ & LUXENBERG, PC                                ELLINGTON            SHARON                NY         CV025227         WEITZ & LUXENBERG, PC
EGERTON              ARTHUR                NY         11329706         WEITZ & LUXENBERG, PC                                ELLIOT               FRANCES               NY         10740002         WEITZ & LUXENBERG, PC
EGGIMANN             GEOFFREY              NY         1903772018       WEITZ & LUXENBERG, PC                                ELLIOT               FRANCES               NY         11407702         WEITZ & LUXENBERG, PC
EGGINK               NIKOLAOS              NY         10645702         WEITZ & LUXENBERG, PC                                ELLIOTT              DAVID                 NY         10587300         WEITZ & LUXENBERG, PC
EGLE                 GERALD LEE            NY         02CIV2090        WEITZ & LUXENBERG, PC                                ELLIOTT              DAVID                 NY         99121980         WEITZ & LUXENBERG, PC
EGLE                 JOYCE                 NY         02CIV2090        WEITZ & LUXENBERG, PC                                ELLIOTT              EILEEN                NY         1902362017       WEITZ & LUXENBERG, PC
EGLIT                GAIL                  NY         10585000         WEITZ & LUXENBERG, PC                                ELLIOTT              FRANCES A             NY         10740402         WEITZ & LUXENBERG, PC
EGLIT                GAIL                  NY         99121980         WEITZ & LUXENBERG, PC                                ELLIOTT              FRANCES A             NY         11431702         WEITZ & LUXENBERG, PC
EGLIT                ROBERT ALAN           NY         10585000         WEITZ & LUXENBERG, PC                                ELLIOTT              ROBERT F              NY         1902362017       WEITZ & LUXENBERG, PC
EGLIT                ROBERT ALAN           NY         99121980         WEITZ & LUXENBERG, PC                                ELLIOTT              SARA MAE              NY         11492102         WEITZ & LUXENBERG, PC
EHL                  ALVIN E               NY         10584900         WEITZ & LUXENBERG, PC                                ELLIOTT              THORNTON              NY         11247200         WEITZ & LUXENBERG, PC
EHLERS               VIRGINIA              NY         11026902         WEITZ & LUXENBERG, PC                                ELLIOTT              VIRGIL L              NY         11492102         WEITZ & LUXENBERG, PC
EHLERS               WILLIAM J             NY         11026902         WEITZ & LUXENBERG, PC                                ELLIOTT              WILLIE MAE            NY         10587300         WEITZ & LUXENBERG, PC
EHRENSPECK           ROBERT                NY         10687899         WEITZ & LUXENBERG, PC                                ELLIOTT              WILLIE MAE            NY         99121980         WEITZ & LUXENBERG, PC
EHRET                PAUL V                NY         01111234         WEITZ & LUXENBERG, PC                                ELLIS                BEULAH                NY         CV021338         WEITZ & LUXENBERG, PC
EHRET                PAUL V                NY         11923601         WEITZ & LUXENBERG, PC                                ELLIS                DONALD J              NY         10470200         WEITZ & LUXENBERG, PC
EICH                 LARRY V               NY         I200110467       WEITZ & LUXENBERG, PC                                ELLIS                GAIL W                NY         10049405         WEITZ & LUXENBERG, PC
EICH                 LARRY V               NY         02120709         WEITZ & LUXENBERG, PC                                ELLIS                HAROLD                NY         CV020228         WEITZ & LUXENBERG, PC
EICHEL               MELVIN                NY         12110001         WEITZ & LUXENBERG, PC                                ELLIS                JAMES F               NY         10587200         WEITZ & LUXENBERG, PC
EICHEL               MELVIN                NY         10648502         WEITZ & LUXENBERG, PC                                ELLIS                JAMES F               NY         99121980         WEITZ & LUXENBERG, PC
EIK                  ANDREAS               NY         01111230         WEITZ & LUXENBERG, PC                                ELLIS                JERRY W               NY         10687599         WEITZ & LUXENBERG, PC
EILENBERGER          FRED A                NY         11026802         WEITZ & LUXENBERG, PC                                ELLIS                KARRIS                NY         10470200         WEITZ & LUXENBERG, PC
EILENBERGER          FRED A                NY         12556502         WEITZ & LUXENBERG, PC                                ELLIS                KAYTHLEEN             NY         10687599         WEITZ & LUXENBERG, PC
EISENBEIS            JOSEPH L              NY         1903652012       WEITZ & LUXENBERG, PC                                ELLIS                MARY                  NY         1905002013       WEITZ & LUXENBERG, PC
EISENBEIS            SUANNA                NY         1903652012       WEITZ & LUXENBERG, PC                                ELLIS                NANCY                 NY         CV020228         WEITZ & LUXENBERG, PC
EISENBERG            HARRIET               NY         10470000         WEITZ & LUXENBERG, PC                                ELLIS                OSCAR W               NY         1905002013       WEITZ & LUXENBERG, PC
EISENBERG            MILTON                NY         10470000         WEITZ & LUXENBERG, PC                                ELLIS                SENERY                NY         CV021338         WEITZ & LUXENBERG, PC
EJNIK                JUDITH                NY         10470100         WEITZ & LUXENBERG, PC                                ELLIS                VALERIE               NY         10086803         WEITZ & LUXENBERG, PC
EJNIK                RICHARD J             NY         10470100         WEITZ & LUXENBERG, PC                                ELLISON              GARY                  NY         10587100         WEITZ & LUXENBERG, PC
EKES                 GEORGE                NY         12668702         WEITZ & LUXENBERG, PC                                ELLISON              GARY                  NY         99121980         WEITZ & LUXENBERG, PC
EKES                 GEORGE                NY         10464003         WEITZ & LUXENBERG, PC                                ELLISON              MICHAEL               NY         10587100         WEITZ & LUXENBERG, PC
EKES                 MARION                NY         12668702         WEITZ & LUXENBERG, PC                                ELLISON              MICHAEL               NY         99121980         WEITZ & LUXENBERG, PC
EKES                 MARION                NY         10464003         WEITZ & LUXENBERG, PC                                ELROSE               DANIEL                NY         10870801         WEITZ & LUXENBERG, PC
EKSTEDT              ANNE MARIE            NY         10687699         WEITZ & LUXENBERG, PC                                ELSENSOHN            CONNIE                NY         10036201         WEITZ & LUXENBERG, PC
EKSTEDT              MEREDITH ANN          NY         10687699         WEITZ & LUXENBERG, PC                                ELSENSOHN            EDWARD                NY         10036201         WEITZ & LUXENBERG, PC
EKSTEDT              ROY A                 NY         10687699         WEITZ & LUXENBERG, PC                                ELSIE                MARY A                NY         02CIV1249        WEITZ & LUXENBERG, PC
ELAINE               DEBRA                 NY         1904672018       WEITZ & LUXENBERG, PC                                ELSIE                ROBERT                NY         02CIV1249        WEITZ & LUXENBERG, PC
ELARIO               DOMINIC J             NY         11123703         WEITZ & LUXENBERG, PC                                ELSTONE              BARBARA               NY         19014110         WEITZ & LUXENBERG, PC
ELCOX                GERALD                NY         10700102         WEITZ & LUXENBERG, PC                                ELSTONE              JOHN M                NY         19014110         WEITZ & LUXENBERG, PC
ELDER                JAMES                 NY         11853598         WEITZ & LUXENBERG, PC                                ELVIE                CLINTON YORKE         NY         10587000         WEITZ & LUXENBERG, PC
ELDER                JOERETHA              NY         11853598         WEITZ & LUXENBERG, PC                                ELVIE                CLINTON YORKE         NY         99121980         WEITZ & LUXENBERG, PC
ELDRIDGE             ALLIE                 NY         99121980         WEITZ & LUXENBERG, PC                                ELVIE                INEZ                  NY         10587000         WEITZ & LUXENBERG, PC
ELDRIDGE             ALLIE                 NY         00105848         WEITZ & LUXENBERG, PC                                ELVIE                INEZ                  NY         99121980         WEITZ & LUXENBERG, PC
ELDRIDGE             FRANKLIN E            NY         11026802         WEITZ & LUXENBERG, PC                                ELY                  DONALD                NY         11939400         WEITZ & LUXENBERG, PC
ELDRIDGE             IRENE M               NY         10696502         WEITZ & LUXENBERG, PC                                ELY                  JAMES MICHAEL         NY         10740402         WEITZ & LUXENBERG, PC
ELDRIDGE             MADGE                 NY         99121980         WEITZ & LUXENBERG, PC                                ELY                  JOANNE                NY         11939400         WEITZ & LUXENBERG, PC
ELDRIDGE             MADGE                 NY         00105848         WEITZ & LUXENBERG, PC                                ELY                  VINCENT L             NJ         MIDL429810AS     WEITZ & LUXENBERG, PC
ELDRIDGE             MARY A                NY         10696502         WEITZ & LUXENBERG, PC                                EMBURY               DAVID D               NY         11356702         WEITZ & LUXENBERG, PC
ELDRIDGE             RAYMOND E             NY         10696502         WEITZ & LUXENBERG, PC                                EMDEN                EUGENE C              NY         10586900         WEITZ & LUXENBERG, PC
ELDRIDGE             STANLEY H             NY         10696502         WEITZ & LUXENBERG, PC                                EMDEN                EUGENE C              NY         99121980         WEITZ & LUXENBERG, PC
ELEFANTE             BEATRICE              NY         10584700         WEITZ & LUXENBERG, PC                                EMDEN                MARLENE C             NY         10586900         WEITZ & LUXENBERG, PC
ELEFANTE             BEATRICE              NY         99121980         WEITZ & LUXENBERG, PC                                EMDEN                MARLENE C             NY         99121980         WEITZ & LUXENBERG, PC
ELEFANTE             MICHAEL A             NY         10584700         WEITZ & LUXENBERG, PC                                EMERSON              MELISSA               NY         11696604         WEITZ & LUXENBERG, PC
ELEFANTE             MICHAEL A             NY         99121980         WEITZ & LUXENBERG, PC                                EMERSON              MICHAEL R             NY         11696604         WEITZ & LUXENBERG, PC
ELEY                 FLORENCE              NY         1900672013       WEITZ & LUXENBERG, PC                                EMERT                GERALD E              NY         12801902         WEITZ & LUXENBERG, PC
ELIASON              ELIS                  NY         10870801         WEITZ & LUXENBERG, PC                                EMILIO               CARMELO               NY         11356702         WEITZ & LUXENBERG, PC
ELIASON              KATHRYN               NY         10718501         WEITZ & LUXENBERG, PC                                EMILIO               GRACE                 NY         11356702         WEITZ & LUXENBERG, PC
ELIASON              KATHRYN               NY         11937600         WEITZ & LUXENBERG, PC                                EMMA                 IRENE C               NY         12072103         WEITZ & LUXENBERG, PC
ELIASON              OLGA                  NY         10870801         WEITZ & LUXENBERG, PC                                EMMA                 RICHARD R             NY         12072103         WEITZ & LUXENBERG, PC
ELINGER              JANICE                NY         01CIV3922        WEITZ & LUXENBERG, PC                                EMMERT               JANET                 NY         1901232019       WEITZ & LUXENBERG, PC
ELINGER              JERRY JOE             NY         01CIV3922        WEITZ & LUXENBERG, PC                                EMMERT               RONALD W              NY         1901232019       WEITZ & LUXENBERG, PC
ELKIN                BEATRICE              NY         12042901         WEITZ & LUXENBERG, PC                                ENDEDRS              ANNETTE               NY         10586700         WEITZ & LUXENBERG, PC
ELKIN                BERNARD               NY         12668602         WEITZ & LUXENBERG, PC                                ENDEDRS              ANNETTE               NY         99121980         WEITZ & LUXENBERG, PC
ELKIN                DAVID                 NY         12042901         WEITZ & LUXENBERG, PC                                ENDERS               LEMBIT                NY         10586800         WEITZ & LUXENBERG, PC
ELKINS               KATHLEEN              NY         CV001169         WEITZ & LUXENBERG, PC                                ENDERS               LEMBIT                NY         99121980         WEITZ & LUXENBERG, PC
ELKINS               WILLIAM               NY         CV001169         WEITZ & LUXENBERG, PC                                ENDERS               MARIE                 NY         10586800         WEITZ & LUXENBERG, PC
ELLERTSEN            ARNE                  NY         10587400         WEITZ & LUXENBERG, PC                                ENDERS               MARIE                 NY         99121980         WEITZ & LUXENBERG, PC
ELLERTSEN            ARNE                  NY         99121980         WEITZ & LUXENBERG, PC                                ENDRES               RONALD GEORGE         NY         10586700         WEITZ & LUXENBERG, PC
ELLERTSEN            GLADYS                NY         10587400         WEITZ & LUXENBERG, PC                                ENDRES               RONALD GEORGE         NY         99121980         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 919
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 254 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ENDRIS               INGEBORG              NY         12044699         WEITZ & LUXENBERG, PC                                ERWIN                RICHARD E             NY         10670802         WEITZ & LUXENBERG, PC
ENDRIS               KARL                  NY         12044699         WEITZ & LUXENBERG, PC                                ESCOTT               CAROL                 NY         10059701         WEITZ & LUXENBERG, PC
ENDRYCK              FRANCIS               NY         90637419         WEITZ & LUXENBERG, PC                                ESCOTT               DONALD N              NY         10059701         WEITZ & LUXENBERG, PC
ENG                  JOYCE                 NY         11560201         WEITZ & LUXENBERG, PC                                ESPOSITO             ANDREA                NY         10579300         WEITZ & LUXENBERG, PC
ENG                  JOYCE                 NY         01111218         WEITZ & LUXENBERG, PC                                ESPOSITO             ANGELINA              NY         01122139         WEITZ & LUXENBERG, PC
ENG                  YUK HONG              NY         10469600         WEITZ & LUXENBERG, PC                                ESPOSITO             CATHLEEN F            NY         10085503         WEITZ & LUXENBERG, PC
ENGEL                HENRY                 NY         19003611         WEITZ & LUXENBERG, PC                                ESPOSITO             DOMINICK A            NY         10852604         WEITZ & LUXENBERG, PC
ENGEL                JUDITH                NY         19003611         WEITZ & LUXENBERG, PC                                ESPOSITO             FRANCES               NY         10852604         WEITZ & LUXENBERG, PC
ENGELAGE             EDWARDS E             NY         11851598         WEITZ & LUXENBERG, PC                                ESPOSITO             FRANK                 NY         1903492016       WEITZ & LUXENBERG, PC
ENGELAGE             MARY                  NY         11851598         WEITZ & LUXENBERG, PC                                ESPOSITO             FRANK                 NY         01100596         WEITZ & LUXENBERG, PC
ENGLE                ALBERT L              NY         02106580         WEITZ & LUXENBERG, PC                                ESPOSITO             JOHN P                NY         10586100         WEITZ & LUXENBERG, PC
ENGLE                FRANK WILLIAM         NY         12668602         WEITZ & LUXENBERG, PC                                ESPOSITO             JOHN P                NY         99121980         WEITZ & LUXENBERG, PC
ENGLEBRIGHT          JAMES CALE            NY         11477604         WEITZ & LUXENBERG, PC                                ESPOSITO             LEONARD T             NY         10710402         WEITZ & LUXENBERG, PC
ENGLEBRIGHT          LUCILLE               NY         11477604         WEITZ & LUXENBERG, PC                                ESPOSITO             LOUIS FRANK           NY         10586200         WEITZ & LUXENBERG, PC
ENGLER               JOHN R                NY         01111233         WEITZ & LUXENBERG, PC                                ESPOSITO             LOUIS FRANK           NY         99121980         WEITZ & LUXENBERG, PC
ENGLER               LINDA                 NY         01111233         WEITZ & LUXENBERG, PC                                ESPOSITO             MARIE                 NY         1903492016       WEITZ & LUXENBERG, PC
ENGLISH              JANE ALICE            NY         11827204         WEITZ & LUXENBERG, PC                                ESPOSITO             NICHOLAS              NY         01122139         WEITZ & LUXENBERG, PC
ENGLISH              MARLENE               NY         10059901         WEITZ & LUXENBERG, PC                                ESPOSITO             PAUL                  NY         11948101         WEITZ & LUXENBERG, PC
ENGLISH              WILLIAM               NY         10059901         WEITZ & LUXENBERG, PC                                ESPOSITO             PAUL                  NY         01111220         WEITZ & LUXENBERG, PC
ENGLUND              KARL ERIK             NY         11560201         WEITZ & LUXENBERG, PC                                ESPOSITO             PETER                 NY         11369904         WEITZ & LUXENBERG, PC
ENGLUND              KARL ERIK             NY         01111218         WEITZ & LUXENBERG, PC                                ESPOSITO             RAE                   NY         10586100         WEITZ & LUXENBERG, PC
ENLUND               JOANNE                NY         11065902         WEITZ & LUXENBERG, PC                                ESPOSITO             RAE                   NY         99121980         WEITZ & LUXENBERG, PC
ENRIGHT              ARLEEN                NY         10586600         WEITZ & LUXENBERG, PC                                ESPOSITO             SOLIDEA               NY         99102962         WEITZ & LUXENBERG, PC
ENRIGHT              ARLEEN                NY         99121980         WEITZ & LUXENBERG, PC                                ESQUIBEL             BENNY R               NY         12577999         WEITZ & LUXENBERG, PC
ENRIGHT              HOWARD                NY         10586600         WEITZ & LUXENBERG, PC                                ESQUIBEL             REBECCA               NY         12577999         WEITZ & LUXENBERG, PC
ENRIGHT              HOWARD                NY         99121980         WEITZ & LUXENBERG, PC                                ESSEX                DONALD D              NY         10586000         WEITZ & LUXENBERG, PC
ENRIGHT              JOHN J                NY         99116776         WEITZ & LUXENBERG, PC                                ESSEX                DONALD D              NY         99121980         WEITZ & LUXENBERG, PC
ENRIGHT              JOHN P                NY         10740302         WEITZ & LUXENBERG, PC                                ESSLER               GLENN D               NY         99116775         WEITZ & LUXENBERG, PC
ENRIGHT              NANCY                 NY         10740302         WEITZ & LUXENBERG, PC                                ESSLER               KAREN                 NY         99116775         WEITZ & LUXENBERG, PC
ENSER                CHARLENE              NY         I200110477       WEITZ & LUXENBERG, PC                                ESTELIS              FREDERIC              NY         11716704         WEITZ & LUXENBERG, PC
ENSER                CHARLENE              NY         02120709         WEITZ & LUXENBERG, PC                                ESTELIS              MARIE                 NY         11716704         WEITZ & LUXENBERG, PC
ENSER                JAMES G               NY         I200110477       WEITZ & LUXENBERG, PC                                ESTER                HEINZ H               NY         10658102         WEITZ & LUXENBERG, PC
ENSER                JAMES G               NY         02120709         WEITZ & LUXENBERG, PC                                ESTER                HEINZ H               NY         11391802         WEITZ & LUXENBERG, PC
ENTEL                FRANK                 NY         10059801         WEITZ & LUXENBERG, PC                                ESTER                HENRY G               NY         10658102         WEITZ & LUXENBERG, PC
ENTWISTLE            DONALD R              NY         11716700         WEITZ & LUXENBERG, PC                                ESTER                HENRY G               NY         11391802         WEITZ & LUXENBERG, PC
EOFF                 DORIS M               NY         CV012629         WEITZ & LUXENBERG, PC                                ESTER                META                  NY         10658102         WEITZ & LUXENBERG, PC
EOFF                 JIM M                 NY         CV012629         WEITZ & LUXENBERG, PC                                ESTER                META                  NY         11391802         WEITZ & LUXENBERG, PC
EPIFONIA             LUCILLE               NY         12039601         WEITZ & LUXENBERG, PC                                ESTRADA              CHARLES               NY         10516502         WEITZ & LUXENBERG, PC
EPIFONIA             ROBERT F              NY         12039601         WEITZ & LUXENBERG, PC                                ESTRADA              JESUS M               NY         12043101         WEITZ & LUXENBERG, PC
EPPERSON             DOROTHY JEAN          NY         01CIV3910        WEITZ & LUXENBERG, PC                                ESTRADA              LOUIS                 NY         10516502         WEITZ & LUXENBERG, PC
EPPERSON             HENRY                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                ESTRADA              LUCY                  NY         12043101         WEITZ & LUXENBERG, PC
EPPLER               WALTER A              NY         10586500         WEITZ & LUXENBERG, PC                                ESTURO               CHARLES W             NY         1904552013       WEITZ & LUXENBERG, PC
EPPLER               WALTER A              NY         99121980         WEITZ & LUXENBERG, PC                                ETCHIESON            EMMA RUTH             NY         CV020229         WEITZ & LUXENBERG, PC
EPRIFANIA            MARGUERITE            NY         19032409         WEITZ & LUXENBERG, PC                                ETCHIESON            GERALD D              NY         CV020229         WEITZ & LUXENBERG, PC
EPRIFANIA            ROBERT J              NY         19032409         WEITZ & LUXENBERG, PC                                ETTER                FRED                  NY         11616804         WEITZ & LUXENBERG, PC
EPSTEIN              ABRAHAM G             NY         01111227         WEITZ & LUXENBERG, PC                                ETTER                ROSALIND              NY         11616804         WEITZ & LUXENBERG, PC
ERB                  ARTHUR E              NY         12577999         WEITZ & LUXENBERG, PC                                EUGENE               ALBERT                NY         10710102         WEITZ & LUXENBERG, PC
ERBE                 KURT F                NY         11854598         WEITZ & LUXENBERG, PC                                EUTO                 EILEEN P              NY         10722102         WEITZ & LUXENBERG, PC
ERBE                 ROBERT KURT           NY         11854598         WEITZ & LUXENBERG, PC                                EUTO                 EILEEN P              NY         11312402         WEITZ & LUXENBERG, PC
ERBE                 SHIRLEY               NY         11854598         WEITZ & LUXENBERG, PC                                EUTO                 STANLEY F             NY         10722102         WEITZ & LUXENBERG, PC
ERBE                 SHIRLEY L             NY         11854598         WEITZ & LUXENBERG, PC                                EUTO                 STANLEY F             NY         11312402         WEITZ & LUXENBERG, PC
ERBIS                MARLENE C             NY         12058203         WEITZ & LUXENBERG, PC                                EVANGELISTA          ARMANDO               NY         06112805         WEITZ & LUXENBERG, PC
ERBIS                WILLIAM M             NY         12058203         WEITZ & LUXENBERG, PC                                EVANGELISTA          JOHN R                NY         11245200         WEITZ & LUXENBERG, PC
ERIKSEN              ALFRED                NY         10586400         WEITZ & LUXENBERG, PC                                EVANGELISTA          PATRICK               NY         1902582016       WEITZ & LUXENBERG, PC
ERIKSEN              ALFRED                NY         99121980         WEITZ & LUXENBERG, PC                                EVANGELISTA          SUSAN                 NY         11245200         WEITZ & LUXENBERG, PC
ERIKSEN              DOROTHY               NY         10586400         WEITZ & LUXENBERG, PC                                EVANGELISTO          LAURA A               NY         10582900         WEITZ & LUXENBERG, PC
ERIKSEN              DOROTHY               NY         99121980         WEITZ & LUXENBERG, PC                                EVANGELISTO          LAURA A               NY         99121980         WEITZ & LUXENBERG, PC
ERIKSEN              RONALD                NY         1904992012       WEITZ & LUXENBERG, PC                                EVANGELISTO          LEWIS AUGUST          NY         10582900         WEITZ & LUXENBERG, PC
ERNO                 MARY                  NY         AXXXXXXXX       WEITZ & LUXENBERG, PC                                EVANGELISTO          LEWIS AUGUST          NY         99121980         WEITZ & LUXENBERG, PC
ERNO                 RAYMOND J             NY         AXXXXXXXX       WEITZ & LUXENBERG, PC                                EVANIAK              HELEN                 NY         10587700         WEITZ & LUXENBERG, PC
ERRICO               ANNA MAGAZZU          NY         1900362014       WEITZ & LUXENBERG, PC                                EVANIAK              HELEN                 NY         99121980         WEITZ & LUXENBERG, PC
ERRICO               DANIEL J              NY         1900362014       WEITZ & LUXENBERG, PC                                EVANIAK              MICHAEL               NY         10587700         WEITZ & LUXENBERG, PC
ERSPAMER             EILEEN                NY         10586300         WEITZ & LUXENBERG, PC                                EVANIAK              MICHAEL               NY         99121980         WEITZ & LUXENBERG, PC
ERSPAMER             EILEEN                NY         99121980         WEITZ & LUXENBERG, PC                                EVANS                BRUCE G               NY         10587402         WEITZ & LUXENBERG, PC
ERSPANER             BRUNO                 NY         10586300         WEITZ & LUXENBERG, PC                                EVANS                CATHERINE M           NY         11179404         WEITZ & LUXENBERG, PC
ERSPANER             BRUNO                 NY         99121980         WEITZ & LUXENBERG, PC                                EVANS                CLARA MAE             NY         10669102         WEITZ & LUXENBERG, PC
ERSPANER             EILEEN                NY         10586300         WEITZ & LUXENBERG, PC                                EVANS                DONALD J              NY         10680802         WEITZ & LUXENBERG, PC
ERSPANER             EILEEN                NY         99121980         WEITZ & LUXENBERG, PC                                EVANS                ELMER                 NY         19031009         WEITZ & LUXENBERG, PC
ERWIN                ANNE A                NY         19021811         WEITZ & LUXENBERG, PC                                EVANS                ELNORA                NY         01CIV3901        WEITZ & LUXENBERG, PC
ERWIN                JEANNE                NY         10670802         WEITZ & LUXENBERG, PC                                EVANS                EXEL                  NY         01CIV3901        WEITZ & LUXENBERG, PC
ERWIN                LLOYD E               NY         11123003         WEITZ & LUXENBERG, PC                                EVANS                HOWARD C              NY         10587002         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 920
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 255 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

EVANS                HUGH W                NY         10033803         WEITZ & LUXENBERG, PC                                FACCI                ANTHONY JOHN          NY         12668602         WEITZ & LUXENBERG, PC
EVANS                JEAN                  NY         11183702         WEITZ & LUXENBERG, PC                                FACCIOLI             JOSEPH                NY         12043101         WEITZ & LUXENBERG, PC
EVANS                JOHN W                NY         20016996         WEITZ & LUXENBERG, PC                                FADDEN               MARY LOU              NY         10471900         WEITZ & LUXENBERG, PC
EVANS                LINDA                 NY         10587500         WEITZ & LUXENBERG, PC                                FADDEN               THOMAS F              NY         10471900         WEITZ & LUXENBERG, PC
EVANS                LINDA                 NY         99121980         WEITZ & LUXENBERG, PC                                FADEL                LILLIAN               NY         10579600         WEITZ & LUXENBERG, PC
EVANS                LIONEL ALLEN          NY         10587600         WEITZ & LUXENBERG, PC                                FADEL                RAY                   NY         10579600         WEITZ & LUXENBERG, PC
EVANS                LIONEL ALLEN          NY         99121980         WEITZ & LUXENBERG, PC                                FADELICI             MARY BETH             NY         10579700         WEITZ & LUXENBERG, PC
EVANS                LORETTA               NY         19031009         WEITZ & LUXENBERG, PC                                FADELICI             WILLIAM               NY         10579700         WEITZ & LUXENBERG, PC
EVANS                LORNA                 NY         10716702         WEITZ & LUXENBERG, PC                                FAGAN                JAMES JOSEPH          NY         11716800         WEITZ & LUXENBERG, PC
EVANS                MICHAEL               NY         11179404         WEITZ & LUXENBERG, PC                                FAGAN                MARIETTA              NY         11716800         WEITZ & LUXENBERG, PC
EVANS                ROBERT J              NY         10048905         WEITZ & LUXENBERG, PC                                FAGAN                PATRICIA              NY         01111234         WEITZ & LUXENBERG, PC
EVANS                RONALD L              NY         10587500         WEITZ & LUXENBERG, PC                                FAGAN                PATRICIA              NY         11923701         WEITZ & LUXENBERG, PC
EVANS                RONALD L              NY         99121980         WEITZ & LUXENBERG, PC                                FAGAN                WILLIAM               NY         1901202018       WEITZ & LUXENBERG, PC
EVANS                SHIRLEY               NY         10587600         WEITZ & LUXENBERG, PC                                FAGEN                ESTELLE               NY         11851798         WEITZ & LUXENBERG, PC
EVANS                SHIRLEY               NY         10680802         WEITZ & LUXENBERG, PC                                FAGEN                HERMAN                NY         11851798         WEITZ & LUXENBERG, PC
EVANS                SHIRLEY               NY         99121980         WEITZ & LUXENBERG, PC                                FAHERTY              BRENDA E              NY         10933702         WEITZ & LUXENBERG, PC
EVANS                SHIRLEY A             NY         10587002         WEITZ & LUXENBERG, PC                                FAHIE                ROBERT                NY         10008703         WEITZ & LUXENBERG, PC
EVANS                THOMAS                NY         01111229         WEITZ & LUXENBERG, PC                                FAILING              DIANE                 NY         10073103         WEITZ & LUXENBERG, PC
EVANS                THOMAS R              NY         10033803         WEITZ & LUXENBERG, PC                                FAILING              JOHN I                NY         10073103         WEITZ & LUXENBERG, PC
EVANS                VADA I                NY         20016996         WEITZ & LUXENBERG, PC                                FAILLA               FRANCES               NY         10807008         WEITZ & LUXENBERG, PC
EVANS                VIRGINIA              NY         10587402         WEITZ & LUXENBERG, PC                                FAILLA               SEBASTIAN             NY         10807008         WEITZ & LUXENBERG, PC
EVANS                WILLIAM D             NY         10716702         WEITZ & LUXENBERG, PC                                FAIOLA               JOHN J                NY         10474000         WEITZ & LUXENBERG, PC
EVANS                MARILYN               NY         10048905         WEITZ & LUXENBERG, PC                                FAIR                 DIANE                 NY         1901922013       WEITZ & LUXENBERG, PC
EVELO                JOHN                  NY         99121986         WEITZ & LUXENBERG, PC                                FAIR                 JAMES                 NY         1901922013       WEITZ & LUXENBERG, PC
EVENS                MARJORIE A            NY         02113280         WEITZ & LUXENBERG, PC                                FAIRBANKS            JOHN                  NY         1900932013       WEITZ & LUXENBERG, PC
EVENS                RICHARD M             NY         02113280         WEITZ & LUXENBERG, PC                                FAIRBANKS            LINDA                 NY         1900932013       WEITZ & LUXENBERG, PC
EVERETT              ARNOLD                NY         01CIV3910        WEITZ & LUXENBERG, PC                                FAIRHURST            ROBERT JACK           NY         11245400         WEITZ & LUXENBERG, PC
EVERETT              CLARKIE               NY         10472000         WEITZ & LUXENBERG, PC                                FAIRLY               ELBERT W              NY         11716600         WEITZ & LUXENBERG, PC
EVERETT              CURTIS J              NY         1900072018       WEITZ & LUXENBERG, PC                                FAIRLY               NORMA                 NY         11716600         WEITZ & LUXENBERG, PC
EVERETT              DOROTHY               NY         11851698         WEITZ & LUXENBERG, PC                                FAIRWEATHER          FRANK                 NY         1902662015       WEITZ & LUXENBERG, PC
EVERETT              HARRY                 NY         11851698         WEITZ & LUXENBERG, PC                                FAIRWEATHER          LYSTINE               NY         1902662015       WEITZ & LUXENBERG, PC
EVERETT              LOUISE                NY         10472000         WEITZ & LUXENBERG, PC                                FAITH                CAROL                 NY         CV030152         WEITZ & LUXENBERG, PC
EVERETT              MARY FRANCES          NY         01CIV3910        WEITZ & LUXENBERG, PC                                FAITH                CARROLL               NY         CV030152         WEITZ & LUXENBERG, PC
EVERHART             CLADY J               NY         06CIV3404        WEITZ & LUXENBERG, PC                                FAITH                ROBERTA               NY         11851898         WEITZ & LUXENBERG, PC
EVERS                DENISE                NY         11975501         WEITZ & LUXENBERG, PC                                FAITH                RONALD                NY         11851898         WEITZ & LUXENBERG, PC
EVERS                DENISE                NY         11123201         WEITZ & LUXENBERG, PC                                FAIVOR               LAWRENCE              NY         6172312018       WEITZ & LUXENBERG, PC
EVERS                JAYNE                 NY         11104403         WEITZ & LUXENBERG, PC                                FAIVOR               SUZANNE               NY         6172312018       WEITZ & LUXENBERG, PC
EVERS                RICHARD A             NY         11975501         WEITZ & LUXENBERG, PC                                FALASCA              HELEN E               NY         10670602         WEITZ & LUXENBERG, PC
EVERS                RICHARD A             NY         11123201         WEITZ & LUXENBERG, PC                                FALASCA              HELEN E               NY         11488402         WEITZ & LUXENBERG, PC
EVERS                WILLIAM J             NY         11104403         WEITZ & LUXENBERG, PC                                FALASCA              JOSEPH A              NY         10670602         WEITZ & LUXENBERG, PC
EVERTS               BEVERLY               NY         10658102         WEITZ & LUXENBERG, PC                                FALASCA              JOSEPH A              NY         11488402         WEITZ & LUXENBERG, PC
EVERTS               WILLIAM E             NY         10658102         WEITZ & LUXENBERG, PC                                FALBO                MARY                  NY         12788802         WEITZ & LUXENBERG, PC
EVERTSZ              SHIRLEY               NY         11579701         WEITZ & LUXENBERG, PC                                FALBO                RICHARD               NY         12788802         WEITZ & LUXENBERG, PC
EVERTSZ              SHIRLEY               NY         01111222         WEITZ & LUXENBERG, PC                                FALCI                DORIS                 NY         11000603         WEITZ & LUXENBERG, PC
EWALD                JOHN                  NY         10579900         WEITZ & LUXENBERG, PC                                FALCI                JOHN T                NY         11000603         WEITZ & LUXENBERG, PC
EWALD                MARIAN                NY         10579900         WEITZ & LUXENBERG, PC                                FALCO                JOSEPH                NY         10134907         WEITZ & LUXENBERG, PC
EWART                GEORGE O              NY         11245300         WEITZ & LUXENBERG, PC                                FALCO                SHARON A              NY         10134907         WEITZ & LUXENBERG, PC
EWING                BETTY                 NY         10740102         WEITZ & LUXENBERG, PC                                FALCONE              ANGELO                NY         11851998         WEITZ & LUXENBERG, PC
EWING                BETTY                 NY         11349902         WEITZ & LUXENBERG, PC                                FALCONE              ANGELO A              NY         12043301         WEITZ & LUXENBERG, PC
EWING                JOHN E                NY         10740102         WEITZ & LUXENBERG, PC                                FALCONE              ANGELO A              NY         12419101         WEITZ & LUXENBERG, PC
EWING                JOHN E                NY         11349902         WEITZ & LUXENBERG, PC                                FALCONE              DAVID                 NY         10579500         WEITZ & LUXENBERG, PC
EXLER                JAMES J               NY         10059501         WEITZ & LUXENBERG, PC                                FALCONE              DIANA                 NY         10579500         WEITZ & LUXENBERG, PC
EXLER                JOAN                  NY         10059501         WEITZ & LUXENBERG, PC                                FALCONE              EDWARD                NY         10579400         WEITZ & LUXENBERG, PC
EXNER                JOEL H                NY         10059401         WEITZ & LUXENBERG, PC                                FALCONE              HAROLD                NY         12039901         WEITZ & LUXENBERG, PC
EZOCH                DONNA                 NY         10574601         WEITZ & LUXENBERG, PC                                FALCONE              JOSEPHINE             NY         10579400         WEITZ & LUXENBERG, PC
FABIAN               MARLA                 NJ         MIDL00718419AS   WEITZ & LUXENBERG, PC                                FALCONE              ROSE                  NY         12039901         WEITZ & LUXENBERG, PC
FABIAN               PAUL J                NY         10722202         WEITZ & LUXENBERG, PC                                FALCONE              SABATO J              NY         10855200         WEITZ & LUXENBERG, PC
FABIN                DENNIS E              NY         11131802         WEITZ & LUXENBERG, PC                                FALCONER             JAMES J               NY         11123101         WEITZ & LUXENBERG, PC
FABIN                FRANK M               NY         99106924         WEITZ & LUXENBERG, PC                                FALCONER             MARY P                NY         11123101         WEITZ & LUXENBERG, PC
FABIN                HENRY J               NY         10699902         WEITZ & LUXENBERG, PC                                FALCONITE            BETTY L               NY         10060301         WEITZ & LUXENBERG, PC
FABIN                HENRY J               NY         11131802         WEITZ & LUXENBERG, PC                                FALCONITE            JOSEPH A              NY         10060301         WEITZ & LUXENBERG, PC
FABIN                MARY ANN              NY         99106924         WEITZ & LUXENBERG, PC                                FALERNI              GUIDO                 NY         11852098         WEITZ & LUXENBERG, PC
FABIO                MARILYN R             NY         1900322019       WEITZ & LUXENBERG, PC                                FALERNI              JEFF                  NY         11852098         WEITZ & LUXENBERG, PC
FABIO                ROBERT                NY         1900322019       WEITZ & LUXENBERG, PC                                FALGIANO             ANTHONY               NY         10579300         WEITZ & LUXENBERG, PC
FABISCHE             CURT R                NY         19038309         WEITZ & LUXENBERG, PC                                FALKOWSKI            KATHLEEN              NY         11159403         WEITZ & LUXENBERG, PC
FABISCHE             SHIRLEY               NY         19038309         WEITZ & LUXENBERG, PC                                FALKOWSKI            PETER P               NY         11159403         WEITZ & LUXENBERG, PC
FABISZEWSKI          JUNE                  NY         10579800         WEITZ & LUXENBERG, PC                                FALKOWSKI            VINCENT               NY         10060201         WEITZ & LUXENBERG, PC
FABISZEWSKI          STANLEY S             NY         10579800         WEITZ & LUXENBERG, PC                                FALLAS               MIGUEL A              NY         12043301         WEITZ & LUXENBERG, PC
FABOZZI              JOSEPH V              NY         11123101         WEITZ & LUXENBERG, PC                                FALLAS               SONIA                 NY         12043301         WEITZ & LUXENBERG, PC
FACAS                CHARLES M             NY         1901472018       WEITZ & LUXENBERG, PC                                FALLER               BRUCE                 NY         12039601         WEITZ & LUXENBERG, PC
FACAS                WENDY                 NY         1901472018       WEITZ & LUXENBERG, PC                                FALLER               BRUCE                 NY         10336402         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 921
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 256 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FALLER               JANE                  NY         12039601         WEITZ & LUXENBERG, PC                                FARMILETTE           JANET L               NY         10060901         WEITZ & LUXENBERG, PC
FALLER               JANE                  NY         10336402         WEITZ & LUXENBERG, PC                                FARMILETTE           MICHAEL J             NY         10060901         WEITZ & LUXENBERG, PC
FALLETTA             CONNIE                NY         12043001         WEITZ & LUXENBERG, PC                                FARNAN               JAMES F               NY         11969901         WEITZ & LUXENBERG, PC
FALLETTA             CONNIE                NY         10015902         WEITZ & LUXENBERG, PC                                FARNAN               MARIE                 NY         11969901         WEITZ & LUXENBERG, PC
FALLETTA             SALVATORE             NY         12043001         WEITZ & LUXENBERG, PC                                FARNAN               TERESA                NY         1905602012       WEITZ & LUXENBERG, PC
FALLETTA             SALVATORE             NY         10015902         WEITZ & LUXENBERG, PC                                FARNHAM              GRACE                 NY         12693502         WEITZ & LUXENBERG, PC
FALLON               EILEEN                NY         10579100         WEITZ & LUXENBERG, PC                                FARNHAM              OTTO J                NY         12693502         WEITZ & LUXENBERG, PC
FALLON               MICHAEL               NY         1900672016       WEITZ & LUXENBERG, PC                                FAROLINO             ANNA                  NY         I200110252       WEITZ & LUXENBERG, PC
FALLON               PETER JOSEPH          NY         10579200         WEITZ & LUXENBERG, PC                                FAROLINO             ANNA                  NY         02122050         WEITZ & LUXENBERG, PC
FALLON               THERESA               NY         10579200         WEITZ & LUXENBERG, PC                                FAROLINO             RICHARD               NY         I200110252       WEITZ & LUXENBERG, PC
FALLON               THOMAS J              NY         10579100         WEITZ & LUXENBERG, PC                                FAROLINO             RICHARD               NY         02122050         WEITZ & LUXENBERG, PC
FALSETTI             JOSEPH                NY         10579000         WEITZ & LUXENBERG, PC                                FARR                 ADA                   NY         10740102         WEITZ & LUXENBERG, PC
FALSETTI             VIOLET                NY         10579000         WEITZ & LUXENBERG, PC                                FARR                 ARNOLD D              NY         10060801         WEITZ & LUXENBERG, PC
FALTISCO             EDWARD J              NY         10710102         WEITZ & LUXENBERG, PC                                FARR                 LINDA L               NY         10060801         WEITZ & LUXENBERG, PC
FALTISCO             EDWARD J              NY         11969002         WEITZ & LUXENBERG, PC                                FARR                 VICTOR T              NY         10740102         WEITZ & LUXENBERG, PC
FALTISCO             JUDITH A              NY         10710102         WEITZ & LUXENBERG, PC                                FARRAN               ELEANOR               NY         10474100         WEITZ & LUXENBERG, PC
FALTISCO             JUDITH A              NY         11969002         WEITZ & LUXENBERG, PC                                FARRAN               GEORGE                NY         10474100         WEITZ & LUXENBERG, PC
FAMA                 CHARLES               NY         01111228         WEITZ & LUXENBERG, PC                                FARRELL              ANNE I                NY         12051201         WEITZ & LUXENBERG, PC
FAMIGLIETTI          DONATO                NY         12100401         WEITZ & LUXENBERG, PC                                FARRELL              CORNELIUS             NY         10578600         WEITZ & LUXENBERG, PC
FAMIGLIETTI          THERESA               NY         12100401         WEITZ & LUXENBERG, PC                                FARRELL              DOUGLAS A             NY         I200110476       WEITZ & LUXENBERG, PC
FAMILIO              ANNE                  NY         11854798         WEITZ & LUXENBERG, PC                                FARRELL              DOUGLAS A             NY         02120709         WEITZ & LUXENBERG, PC
FAMILO               GEORGE T              NY         11854798         WEITZ & LUXENBERG, PC                                FARRELL              HENRY T               NY         11580101         WEITZ & LUXENBERG, PC
FANCHER              ANTOINETTE            NY         99107241         WEITZ & LUXENBERG, PC                                FARRELL              HENRY T               NY         01111222         WEITZ & LUXENBERG, PC
FANCHER              EVERETT E             NY         10870801         WEITZ & LUXENBERG, PC                                FARRELL              JEAN MARIE            NY         11821898         WEITZ & LUXENBERG, PC
FANCHER              SHARON                NY         10870801         WEITZ & LUXENBERG, PC                                FARRELL              JOHN J                NY         11643001         WEITZ & LUXENBERG, PC
FANELLA              JOSEPH                NY         10692999         WEITZ & LUXENBERG, PC                                FARRELL              JOHN J                NY         01111219         WEITZ & LUXENBERG, PC
FANELLA              YOLANDA               NY         10692999         WEITZ & LUXENBERG, PC                                FARRELL              JOSEPHINE TERESA      NY         11245500         WEITZ & LUXENBERG, PC
FANELLI              J0HN A                NY         12433902         WEITZ & LUXENBERG, PC                                FARRELL              LEWIS L               NY         12051201         WEITZ & LUXENBERG, PC
FANELLI              JOANNE M              NY         12433902         WEITZ & LUXENBERG, PC                                FARRELL              LOUISE                NY         10578500         WEITZ & LUXENBERG, PC
FANELLI              JOANNE M              NY         10198503         WEITZ & LUXENBERG, PC                                FARRELL              MARGARET              NY         97120697         WEITZ & LUXENBERG, PC
FANELLI              JOHN A                NY         10198503         WEITZ & LUXENBERG, PC                                FARRELL              PATRICK P             NY         11245500         WEITZ & LUXENBERG, PC
FANNERON             JOHN                  NY         19010011         WEITZ & LUXENBERG, PC                                FARRELL              PETER                 NY         97120697         WEITZ & LUXENBERG, PC
FANNIN               BERNARD W             NY         1900492016       WEITZ & LUXENBERG, PC                                FARRELL              ROBERT                NY         10887302         WEITZ & LUXENBERG, PC
FANNIN               CLAYTON               NY         10705506         WEITZ & LUXENBERG, PC                                FARRELL              TERRANCE M            NY         10578500         WEITZ & LUXENBERG, PC
FANNIN               SADA                  NY         1900492016       WEITZ & LUXENBERG, PC                                FARRIS               EUGENE                NY         10060601         WEITZ & LUXENBERG, PC
FANNING              CAROL J               NY         02107006         WEITZ & LUXENBERG, PC                                FARRUGGIO            ANGELO J              NY         11531103         WEITZ & LUXENBERG, PC
FANNING              CHARLES M             NY         02107006         WEITZ & LUXENBERG, PC                                FARRUGGIO            LORNA                 NY         11531103         WEITZ & LUXENBERG, PC
FANNING              CHRISTOPHER C         NY         10578800         WEITZ & LUXENBERG, PC                                FARRUGGIO            STACY                 NY         1904552018       WEITZ & LUXENBERG, PC
FANNING              DAVID WAYNE           NY         01CIV3910        WEITZ & LUXENBERG, PC                                FARRUGGIO            STEVEN                NY         1904552018       WEITZ & LUXENBERG, PC
FANNING              LESLIE ANN            NY         10578800         WEITZ & LUXENBERG, PC                                FARRY                JUDITH A              NY         I20019690        WEITZ & LUXENBERG, PC
FANTAS               ROGER A               NY         10060001         WEITZ & LUXENBERG, PC                                FARRY                THOMAS J              NY         I20019690        WEITZ & LUXENBERG, PC
FANTAS               SHIRLEY S             NY         10060001         WEITZ & LUXENBERG, PC                                FARVER               GWENDOLYN             NY         CV011425         WEITZ & LUXENBERG, PC
FANTON               NANCY                 NY         10722102         WEITZ & LUXENBERG, PC                                FARVER               WASHINGTON S          NY         CV011425         WEITZ & LUXENBERG, PC
FANTON               RALPH E               NY         10722102         WEITZ & LUXENBERG, PC                                FASCETTI             AMERICO R             NY         6097252019       WEITZ & LUXENBERG, PC
FANTOZZI             LAWRENCE              NY         12043301         WEITZ & LUXENBERG, PC                                FATA                 MARIA                 NY         10578400         WEITZ & LUXENBERG, PC
FARAGASSO            FRANK A               NY         10602000         WEITZ & LUXENBERG, PC                                FATA                 PASQUALE              NY         10578400         WEITZ & LUXENBERG, PC
FARAGASSO            ROSE                  NY         10602000         WEITZ & LUXENBERG, PC                                FATIG                DAVID A               NY         I200110426       WEITZ & LUXENBERG, PC
FARELLA              VINCENT JOSEPH        NY         10578700         WEITZ & LUXENBERG, PC                                FATIG                DAVID A               NY         02122050         WEITZ & LUXENBERG, PC
FAREN                KEVIN                 NY         19035011         WEITZ & LUXENBERG, PC                                FATIG                JANET                 NY         I200110426       WEITZ & LUXENBERG, PC
FAREWELL             JOHN WILLIAM          NY         01111220         WEITZ & LUXENBERG, PC                                FATIG                JANET                 NY         02122050         WEITZ & LUXENBERG, PC
FARGNOLI             JOANNE                NY         19034610         WEITZ & LUXENBERG, PC                                FAUGHNAN             EUGENE P              NY         01122139         WEITZ & LUXENBERG, PC
FARINA               GIANNI                NY         11027002         WEITZ & LUXENBERG, PC                                FAUGHNAN             MARYANNE              NY         01122139         WEITZ & LUXENBERG, PC
FARINA               STELLA                NY         11027002         WEITZ & LUXENBERG, PC                                FAULKNER             CHARLES B             NY         CV014461         WEITZ & LUXENBERG, PC
FARINACCIO           GIUSEPPE JOE          NY         12091601         WEITZ & LUXENBERG, PC                                FAULKNER             THOMAS                NY         10060501         WEITZ & LUXENBERG, PC
FARINACCIO           GIUSEPPE JOE          NY         01111224         WEITZ & LUXENBERG, PC                                FAULKNER             THOMAS H              NY         12668602         WEITZ & LUXENBERG, PC
FARLEY               JACQUELINE            NY         10860002         WEITZ & LUXENBERG, PC                                FAUSNER              JOHN T                NY         01111227         WEITZ & LUXENBERG, PC
FARLEY               JOHN R                NY         10860002         WEITZ & LUXENBERG, PC                                FAUSTO               DOMINICK              NY         02104786         WEITZ & LUXENBERG, PC
FARMARCO             AGATHA                NY         11852398         WEITZ & LUXENBERG, PC                                FAUSTO               LILLIAN               NY         02104786         WEITZ & LUXENBERG, PC
FARMARCO             MICHAEL               NY         11852398         WEITZ & LUXENBERG, PC                                FAUSTO               MICHAEL               NY         11854998         WEITZ & LUXENBERG, PC
FARMER               HOWARD HEUBERT        NY         11047402         WEITZ & LUXENBERG, PC                                FAUSTO               PATRICIA              NY         11854998         WEITZ & LUXENBERG, PC
FARMER               HOWARD HEUBERT        NY         10680602         WEITZ & LUXENBERG, PC                                FAVA                 GLORIA                NY         12110001         WEITZ & LUXENBERG, PC
FARMER               KEITH EDWARD          NY         110631           WEITZ & LUXENBERG, PC                                FAVA                 SERGIO                NY         12110001         WEITZ & LUXENBERG, PC
FARMER               KEITH EDWARD          NY         02120709         WEITZ & LUXENBERG, PC                                FAVALE               EILEEN                NY         10658102         WEITZ & LUXENBERG, PC
FARMER               NANCY J               NY         10716702         WEITZ & LUXENBERG, PC                                FAVALE               JOSEPH V              NY         10658102         WEITZ & LUXENBERG, PC
FARMER               STEVEN J              NY         10716702         WEITZ & LUXENBERG, PC                                FAVALORO             GIUSEPPA              NY         11869201         WEITZ & LUXENBERG, PC
FARMER               STEVEN J              NY         11047402         WEITZ & LUXENBERG, PC                                FAVALORO             GIUSEPPA              NY         01111233         WEITZ & LUXENBERG, PC
FARMER               STEVEN J              NY         10680602         WEITZ & LUXENBERG, PC                                FAVALORO             GIUSEPPE              NY         11869201         WEITZ & LUXENBERG, PC
FARMER               VIVIAN MARY           NY         11047402         WEITZ & LUXENBERG, PC                                FAVALORO             GIUSEPPE              NY         01111233         WEITZ & LUXENBERG, PC
FARMER               VIVIAN MARY           NY         10680602         WEITZ & LUXENBERG, PC                                FAVOCCIA             JOSEPH                NY         12433902         WEITZ & LUXENBERG, PC
FARMER               WAYNE H               NY         11047402         WEITZ & LUXENBERG, PC                                FAVOCCIA             JOSEPH A              NY         10198603         WEITZ & LUXENBERG, PC
FARMER               WAYNE H               NY         10680602         WEITZ & LUXENBERG, PC                                FAY                  DOUGLAS PAUL          NY         02106579         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 922
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 257 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FAY                  HELEN                 NY         10474300         WEITZ & LUXENBERG, PC                                FENTON               GARY D                NY         10696502         WEITZ & LUXENBERG, PC
FAY                  JOHN                  NY         10474300         WEITZ & LUXENBERG, PC                                FENTON               LEWIS                 NY         11003108         WEITZ & LUXENBERG, PC
FAY                  LINDA                 NY         02106579         WEITZ & LUXENBERG, PC                                FENTON               PHILIP J              NY         10740402         WEITZ & LUXENBERG, PC
FAZIO                ANTHONY S             NY         1903872018       WEITZ & LUXENBERG, PC                                FENZI                NANCY                 NY         1902802017       WEITZ & LUXENBERG, PC
FEALEY               LAURONA               NY         10023403         WEITZ & LUXENBERG, PC                                FENZI                NANCY                 NY         11948301         WEITZ & LUXENBERG, PC
FEALEY               MICHAEL               NY         10023403         WEITZ & LUXENBERG, PC                                FENZI                NANCY                 NY         01111220         WEITZ & LUXENBERG, PC
FEARS                REBECCA               NY         CV020230         WEITZ & LUXENBERG, PC                                FENZI                PIER L                NY         1902802017       WEITZ & LUXENBERG, PC
FEARS                WILLIE B              NY         CV020230         WEITZ & LUXENBERG, PC                                FENZI                PIER L                NY         11948301         WEITZ & LUXENBERG, PC
FEASTER              BARBARA               NY         10061301         WEITZ & LUXENBERG, PC                                FENZI                PIER L                NY         01111220         WEITZ & LUXENBERG, PC
FEASTER              JOHN                  NY         10061301         WEITZ & LUXENBERG, PC                                FEOLA                ENRICHETTA            NY         11854098         WEITZ & LUXENBERG, PC
FEATHERSON           ANNETTE               NY         01118260         WEITZ & LUXENBERG, PC                                FEOLA                VITTORIO              NY         11854098         WEITZ & LUXENBERG, PC
FEATHERSON           RAYMOND G             NY         01118260         WEITZ & LUXENBERG, PC                                FERENC               GEORGE                NY         10699902         WEITZ & LUXENBERG, PC
FEDER                EDWIN M               NY         12039401         WEITZ & LUXENBERG, PC                                FERENCZ              JAMES R               NY         10577500         WEITZ & LUXENBERG, PC
FEDER                MARA                  NY         12039401         WEITZ & LUXENBERG, PC                                FERGE                DAVID D               NY         10740302         WEITZ & LUXENBERG, PC
FEDERATION           CAROLE                NY         10670802         WEITZ & LUXENBERG, PC                                FERGE                LINDA J               NY         10740302         WEITZ & LUXENBERG, PC
FEDERATION           GERARD                NY         10670802         WEITZ & LUXENBERG, PC                                FERGEN               KENNETH F             NY         02120709         WEITZ & LUXENBERG, PC
FEDERLIN             DONALD J              NY         10578200         WEITZ & LUXENBERG, PC                                FERGUSON             BILLIE                NY         10062301         WEITZ & LUXENBERG, PC
FEDERLIN             LILLIAN G             NY         10578200         WEITZ & LUXENBERG, PC                                FERGUSON             CAROLINE              NY         10577200         WEITZ & LUXENBERG, PC
FEDEROCKO            JULIUS                NY         1902052018       WEITZ & LUXENBERG, PC                                FERGUSON             CLEODES               NY         CV013921         WEITZ & LUXENBERG, PC
FEDEROCKO            MARLENE               NY         1902052018       WEITZ & LUXENBERG, PC                                FERGUSON             COLLEEN               NY         10692799         WEITZ & LUXENBERG, PC
FEDORYK              HARRY PETER           NY         11855098         WEITZ & LUXENBERG, PC                                FERGUSON             CRAIG W               NY         10740502         WEITZ & LUXENBERG, PC
FEE                  GERARD                NY         10578100         WEITZ & LUXENBERG, PC                                FERGUSON             DAVID R               NY         02106707         WEITZ & LUXENBERG, PC
FEE                  JOSEPH J              NY         10474700         WEITZ & LUXENBERG, PC                                FERGUSON             DELLA R               NY         12039301         WEITZ & LUXENBERG, PC
FEE                  MARY                  NY         10474700         WEITZ & LUXENBERG, PC                                FERGUSON             DELLA R               NY         10367502         WEITZ & LUXENBERG, PC
FEEHAN               DONALD T              NY         11975401         WEITZ & LUXENBERG, PC                                FERGUSON             DOROTHY               NY         CV013921         WEITZ & LUXENBERG, PC
FEEHAN               DONALD T              NY         11123201         WEITZ & LUXENBERG, PC                                FERGUSON             GLADYS                NY         02106578         WEITZ & LUXENBERG, PC
FEENEY               ELLEN                 NY         10578000         WEITZ & LUXENBERG, PC                                FERGUSON             HARRY D               NY         12039301         WEITZ & LUXENBERG, PC
FEENEY               GARY WILSON           NY         10578000         WEITZ & LUXENBERG, PC                                FERGUSON             HARRY D               NY         10367502         WEITZ & LUXENBERG, PC
FEERICK              MARGARET              NY         12043001         WEITZ & LUXENBERG, PC                                FERGUSON             JAMES                 NY         12788802         WEITZ & LUXENBERG, PC
FEERICK              MICHAEL V             NY         12043001         WEITZ & LUXENBERG, PC                                FERGUSON             JAMES S               NY         02106578         WEITZ & LUXENBERG, PC
FEFERMAN             CELIA                 NY         11853998         WEITZ & LUXENBERG, PC                                FERGUSON             JOAN                  NY         12191898         WEITZ & LUXENBERG, PC
FEFERMAN             EMANUEL               NY         11853998         WEITZ & LUXENBERG, PC                                FERGUSON             JOSEPHINE             NY         10577300         WEITZ & LUXENBERG, PC
FEHLING              HENRY J               NY         10577900         WEITZ & LUXENBERG, PC                                FERGUSON             LINDA A               NY         02106707         WEITZ & LUXENBERG, PC
FEINBERG             ABRAM                 NY         12039001         WEITZ & LUXENBERG, PC                                FERGUSON             MARCO                 NY         12693502         WEITZ & LUXENBERG, PC
FEINBERG             IRVING                NY         10047508         WEITZ & LUXENBERG, PC                                FERGUSON             ROBERT F              NY         10692799         WEITZ & LUXENBERG, PC
FEINBERG             JUDITH                NY         10047508         WEITZ & LUXENBERG, PC                                FERGUSON             THOMAS C              NY         10577300         WEITZ & LUXENBERG, PC
FEINBERG             RETTA E               NY         12039001         WEITZ & LUXENBERG, PC                                FERGUSON             VINCENT               NY         10577200         WEITZ & LUXENBERG, PC
FELDMANN             DAVID                 NY         10692899         WEITZ & LUXENBERG, PC                                FERINA               LUCY                  NY         6000912016       WEITZ & LUXENBERG, PC
FELDMANN             MARYANN               NY         10692899         WEITZ & LUXENBERG, PC                                FERINA               VINCENT N             NY         6000912016       WEITZ & LUXENBERG, PC
FELGER               BARBARA A             NY         10577800         WEITZ & LUXENBERG, PC                                FERKO                JACK                  NY         1901062013       WEITZ & LUXENBERG, PC
FELGER               RICHARD C             NY         10577800         WEITZ & LUXENBERG, PC                                FERKO                MARY                  NY         1901062013       WEITZ & LUXENBERG, PC
FELICE               JOETTE G              NY         12433902         WEITZ & LUXENBERG, PC                                FERLITA              ANTONINO              NY         10577100         WEITZ & LUXENBERG, PC
FELICE               KAY                   NY         11855198         WEITZ & LUXENBERG, PC                                FERLITA              MARIANNA              NY         10577100         WEITZ & LUXENBERG, PC
FELICE               MARINO P              NY         12433902         WEITZ & LUXENBERG, PC                                FERNANDEZ            ANGEL                 NY         10062201         WEITZ & LUXENBERG, PC
FELICE               TONY                  NY         11855198         WEITZ & LUXENBERG, PC                                FERNANDEZ            ELEANOR               NY         99111262         WEITZ & LUXENBERG, PC
FELICETTI            LORRAINE              NY         11827399         WEITZ & LUXENBERG, PC                                FERNANDEZ            FRANK J               NY         10870801         WEITZ & LUXENBERG, PC
FELICETTI            RUDY T                NY         11827399         WEITZ & LUXENBERG, PC                                FERNANDEZ            JOSE M                NY         12038901         WEITZ & LUXENBERG, PC
FELICISSIMO          ENZO                  NY         01111235         WEITZ & LUXENBERG, PC                                FERNANDEZ            LAURA                 NY         12038901         WEITZ & LUXENBERG, PC
FELICISSIMO          ENZO                  NY         11830901         WEITZ & LUXENBERG, PC                                FERNANDEZ            LISA                  NY         10870801         WEITZ & LUXENBERG, PC
FELICISSIMO          SUSAN                 NY         01111235         WEITZ & LUXENBERG, PC                                FERNANDEZ            MICHAEL               NY         99111262         WEITZ & LUXENBERG, PC
FELICISSIMO          SUSAN                 NY         11830901         WEITZ & LUXENBERG, PC                                FERNANDEZ            MIGUEL E              NY         10127707         WEITZ & LUXENBERG, PC
FELIX                DESIREE               NY         1900582018       WEITZ & LUXENBERG, PC                                FERNANDEZ            OLGA                  NY         10062001         WEITZ & LUXENBERG, PC
FELIX                RONALD A              NY         1904622018       WEITZ & LUXENBERG, PC                                FERNANDEZ            PEDRO                 NY         10062001         WEITZ & LUXENBERG, PC
FELIX                SYDNEY                NY         1900582018       WEITZ & LUXENBERG, PC                                FERNANDEZ            ROSA                  NY         10062201         WEITZ & LUXENBERG, PC
FELIX                WAYNE GERALD          NY         10645702         WEITZ & LUXENBERG, PC                                FERRANDINO           NICHOLAS              NY         12042901         WEITZ & LUXENBERG, PC
FELLOM               SHARON F              NY         10577700         WEITZ & LUXENBERG, PC                                FERRANDINO           NICHOLAS              NY         10061802         WEITZ & LUXENBERG, PC
FELLOM               VINCENT W             NY         10577700         WEITZ & LUXENBERG, PC                                FERRANTE             ALVARO                NY         99120449         WEITZ & LUXENBERG, PC
FELLOWS              RONALD F              NY         10700102         WEITZ & LUXENBERG, PC                                FERRANTE             DOROTHY               NY         01111221         WEITZ & LUXENBERG, PC
FELSER               DONNA                 NY         10809902         WEITZ & LUXENBERG, PC                                FERRANTE             PASQUALE S            NY         01111221         WEITZ & LUXENBERG, PC
FELSER               DOUGLAS W             NY         10809902         WEITZ & LUXENBERG, PC                                FERRANTE             YOLANDA               NY         99120449         WEITZ & LUXENBERG, PC
FELTON               BETTY                 NY         10474800         WEITZ & LUXENBERG, PC                                FERRANTELLO          MARIA                 NY         11235600         WEITZ & LUXENBERG, PC
FELTON               BETTY                 NY         11696404         WEITZ & LUXENBERG, PC                                FERRANTELLO          SALVATORE             NY         11235600         WEITZ & LUXENBERG, PC
FELTON               THOMAS V              NY         10474800         WEITZ & LUXENBERG, PC                                FERRARA              ANTHONY T             NY         12039201         WEITZ & LUXENBERG, PC
FELTON               THOMAS V              NY         11696404         WEITZ & LUXENBERG, PC                                FERRARA              ANTHONY T             NY         10409502         WEITZ & LUXENBERG, PC
FENNELL              FREDERICK F           NY         01111233         WEITZ & LUXENBERG, PC                                FERRARA              DOMINIC               NY         10474600         WEITZ & LUXENBERG, PC
FENNER               L BRIAN               NY         10061101         WEITZ & LUXENBERG, PC                                FERRARA              DOMINIC V             NY         11855498         WEITZ & LUXENBERG, PC
FENNESSY             JOHN E                NY         10056106         WEITZ & LUXENBERG, PC                                FERRARA              HELEN                 NY         12039201         WEITZ & LUXENBERG, PC
FENNING              JOSEPH                NY         19022511         WEITZ & LUXENBERG, PC                                FERRARA              HELEN                 NY         10409502         WEITZ & LUXENBERG, PC
FENNING              RUTH                  NY         19022511         WEITZ & LUXENBERG, PC                                FERRARA              JOSEPHINE             NY         10474600         WEITZ & LUXENBERG, PC
FENTNER              KENNETH W             NY         10577600         WEITZ & LUXENBERG, PC                                FERRARA              LOUIS                 NY         10587602         WEITZ & LUXENBERG, PC
FENTON               ANNA MAE              NY         10696502         WEITZ & LUXENBERG, PC                                FERRARA              MARION                NY         10587602         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 923
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 258 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FERRARA              MARY                  NY         11854298         WEITZ & LUXENBERG, PC                                FIALO                MICHAEL J             NY         02107102         WEITZ & LUXENBERG, PC
FERRARA              MARY                  NY         10061901         WEITZ & LUXENBERG, PC                                FIASCHETTI           CARL R                NY         10716802         WEITZ & LUXENBERG, PC
FERRARA              NANCY                 NY         11855498         WEITZ & LUXENBERG, PC                                FIASCHETTI           MICHELLE LANOUE       NY         10716802         WEITZ & LUXENBERG, PC
FERRARA              NEIL A                NY         10061901         WEITZ & LUXENBERG, PC                                FICI                 PHILIP                NY         10576100         WEITZ & LUXENBERG, PC
FERRARA              PHILIP                NY         11854298         WEITZ & LUXENBERG, PC                                FICKEL               DONALD O              NY         11850098         WEITZ & LUXENBERG, PC
FERRARA              THOMAS M              NY         12039001         WEITZ & LUXENBERG, PC                                FIDLOW               DONALD                NY         99120323         WEITZ & LUXENBERG, PC
FERRARA              THOMAS M              NY         12393101         WEITZ & LUXENBERG, PC                                FIDLOW               SUSAN                 NY         99120323         WEITZ & LUXENBERG, PC
FERRARA              VINCENT               NY         12039001         WEITZ & LUXENBERG, PC                                FIELD                JANE                  NY         12668502         WEITZ & LUXENBERG, PC
FERRARA              VINCENT               NY         12393101         WEITZ & LUXENBERG, PC                                FIELD                PAUL                  NY         12668502         WEITZ & LUXENBERG, PC
FERRARACCIO          VINCENT P             NY         02106578         WEITZ & LUXENBERG, PC                                FIELD                PAUL                  NY         10335503         WEITZ & LUXENBERG, PC
FERRARI              ANTHONY               NY         10577000         WEITZ & LUXENBERG, PC                                FIELDS               EDNA                  NY         02106580         WEITZ & LUXENBERG, PC
FERRARO              ANTHONY J             NY         1901722017       WEITZ & LUXENBERG, PC                                FIELDS               FREDERICK R           NY         02106580         WEITZ & LUXENBERG, PC
FERRARO              DONATO                NY         10061801         WEITZ & LUXENBERG, PC                                FIELDS               JOAN B                NY         10689599         WEITZ & LUXENBERG, PC
FERRARO              FRANCES               NY         12039701         WEITZ & LUXENBERG, PC                                FIELDS               MARGARET M            NY         02106709         WEITZ & LUXENBERG, PC
FERRARO              LEBRO                 NY         10061701         WEITZ & LUXENBERG, PC                                FIELDS               ONEAL                 NY         10689599         WEITZ & LUXENBERG, PC
FERRARO              LOUIS R               NY         10576900         WEITZ & LUXENBERG, PC                                FIELDS               VINCENT J             NY         02106709         WEITZ & LUXENBERG, PC
FERRARO              MARGARET              NY         10576900         WEITZ & LUXENBERG, PC                                FIERRO               DOROTHEA A            NY         10513000         WEITZ & LUXENBERG, PC
FERRARO              MAZIE                 NY         10061701         WEITZ & LUXENBERG, PC                                FIFIELD              ANN                   NY         10576000         WEITZ & LUXENBERG, PC
FERRARO              ROBERTO               NY         12039701         WEITZ & LUXENBERG, PC                                FIFIELD              WILFRED R             NY         10576000         WEITZ & LUXENBERG, PC
FERRARO              SHEILA                NY         10061801         WEITZ & LUXENBERG, PC                                FIGUEROA             ALICE                 NY         12038901         WEITZ & LUXENBERG, PC
FERREIRA             JOSEPH                DE         N18C02032ASB     WEITZ & LUXENBERG, PC                                FIGUEROA             HECTOR                NY         12038901         WEITZ & LUXENBERG, PC
FERREIRA             LAURA                 NY         11948401         WEITZ & LUXENBERG, PC                                FIGUEROA             JAUNA                 NY         10846703         WEITZ & LUXENBERG, PC
FERREIRA             LAURA                 NY         01111220         WEITZ & LUXENBERG, PC                                FIGUEROA             JUANA                 NY         10846703         WEITZ & LUXENBERG, PC
FERREIRA             RUI A                 NY         11948401         WEITZ & LUXENBERG, PC                                FIGUEROA             RICHARD               NY         10846703         WEITZ & LUXENBERG, PC
FERREIRA             RUI A                 NY         01111220         WEITZ & LUXENBERG, PC                                FIGURA               RICHARD               NY         11855798         WEITZ & LUXENBERG, PC
FERRENDI             CARMINE J             NY         19007409         WEITZ & LUXENBERG, PC                                FIJAL                JEAN K                NY         11855898         WEITZ & LUXENBERG, PC
FERRENTINO           ANTHONY               NY         11854398         WEITZ & LUXENBERG, PC                                FIJAL                RICHARD J             NY         11855898         WEITZ & LUXENBERG, PC
FERRENTINO           ROSALIE               NY         11854398         WEITZ & LUXENBERG, PC                                FILBERTI             MARGARET              NY         01111226         WEITZ & LUXENBERG, PC
FERRETTI             ANDREW                NY         12668802         WEITZ & LUXENBERG, PC                                FILDES               MARGARET M            NY         11554702         WEITZ & LUXENBERG, PC
FERRETTI             CAROLYN               NY         12668802         WEITZ & LUXENBERG, PC                                FILDES               VINCENT J             NY         11554702         WEITZ & LUXENBERG, PC
FERRETTI             JOHN E                NY         1900972019       WEITZ & LUXENBERG, PC                                FILIBERTI            JACK                  NY         01111226         WEITZ & LUXENBERG, PC
FERRI                LORETO                NY         10576700         WEITZ & LUXENBERG, PC                                FILINGERI            ANNA                  NY         10728799         WEITZ & LUXENBERG, PC
FERRI                MARY                  NY         10576700         WEITZ & LUXENBERG, PC                                FILINGERI            GIOVANNI              NY         10728799         WEITZ & LUXENBERG, PC
FERRO                ANTONIO               NY         10430707         WEITZ & LUXENBERG, PC                                FILIP                FRANK                 PA         181202315        WEITZ & LUXENBERG, PC
FERRO                BARBARA               NY         10430707         WEITZ & LUXENBERG, PC                                FILIP                TERESA M              PA         181202315        WEITZ & LUXENBERG, PC
FERRO                CAROLE Y              NY         10710002         WEITZ & LUXENBERG, PC                                FILIPPI              BRUCE                 NY         11850198         WEITZ & LUXENBERG, PC
FERRO                JOSEPH                NY         10710002         WEITZ & LUXENBERG, PC                                FILIPPI              FLOYD                 NY         11850198         WEITZ & LUXENBERG, PC
FERRO                JOYCE                 NY         11350203         WEITZ & LUXENBERG, PC                                FILIPPI              LIVIA ANNA            NY         11850198         WEITZ & LUXENBERG, PC
FERRO                LEONARD               NY         11350203         WEITZ & LUXENBERG, PC                                FILIPSKI             ELENOR T              NY         10587502         WEITZ & LUXENBERG, PC
FERRY                ROBERT J              NY         10039603         WEITZ & LUXENBERG, PC                                FILIPSKI             JOSEPH E              NY         10587502         WEITZ & LUXENBERG, PC
FERTITTA             JUDY                  NY         01111218         WEITZ & LUXENBERG, PC                                FILLBRUNN            GEORGE                NY         01122139         WEITZ & LUXENBERG, PC
FERTITTA             SALVATORE             NY         01111218         WEITZ & LUXENBERG, PC                                FILLBRUNN            MARIE                 NY         01122139         WEITZ & LUXENBERG, PC
FERY                 MAUREEN               NY         11854498         WEITZ & LUXENBERG, PC                                FILLINGER            JOHN                  NY         10689499         WEITZ & LUXENBERG, PC
FERY                 ROBERT                NY         11854498         WEITZ & LUXENBERG, PC                                FILOSA               ANDREA                NY         10474500         WEITZ & LUXENBERG, PC
FESER                SUZANNE               NY         10061501         WEITZ & LUXENBERG, PC                                FILOSA               JOHN C                NY         10474500         WEITZ & LUXENBERG, PC
FESER                THOMAS M              NY         10061501         WEITZ & LUXENBERG, PC                                FILOSOFOS            IREDA                 NY         11018100         WEITZ & LUXENBERG, PC
FESHOH               THOMAS S              NY         11074406         WEITZ & LUXENBERG, PC                                FILOSOFOS            JAMES                 NY         11018100         WEITZ & LUXENBERG, PC
FESHON               SUSAN                 NY         11074406         WEITZ & LUXENBERG, PC                                FIMMANO              CONNIE                NY         12306901         WEITZ & LUXENBERG, PC
FESS                 CONNIE                NY         12788802         WEITZ & LUXENBERG, PC                                FIMMANO              CONNIE                NY         01111230         WEITZ & LUXENBERG, PC
FESS                 EDWARD                NY         12788802         WEITZ & LUXENBERG, PC                                FIMMANO              JOSEPH J              NY         12306901         WEITZ & LUXENBERG, PC
FESSLER              EUGENE F              NY         10571402         WEITZ & LUXENBERG, PC                                FIMMANO              JOSEPH J              NY         01111230         WEITZ & LUXENBERG, PC
FESSLER              VIRGINIA              NY         10571402         WEITZ & LUXENBERG, PC                                FINAN                JOAN                  NY         10473600         WEITZ & LUXENBERG, PC
FESTA                AGNES                 NY         10576500         WEITZ & LUXENBERG, PC                                FINAN                JOSEPH B              NY         10473600         WEITZ & LUXENBERG, PC
FESTA                ANTHONY T             NY         10576500         WEITZ & LUXENBERG, PC                                FINCH                CYNTHIA               DE         N17C03231ASB     WEITZ & LUXENBERG, PC
FESTGER              BARBARA M             NY         10576300         WEITZ & LUXENBERG, PC                                FINE                 BLANCHE               NY         12344701         WEITZ & LUXENBERG, PC
FESTGER              JOHN JOSEPH           NY         10576300         WEITZ & LUXENBERG, PC                                FINE                 SIDNEY                NY         12344701         WEITZ & LUXENBERG, PC
FETES                DOREEN A              NY         10061401         WEITZ & LUXENBERG, PC                                FINE                 SIDNEY                NY         01111227         WEITZ & LUXENBERG, PC
FETES                FRANCIS J             NY         10061401         WEITZ & LUXENBERG, PC                                FINEGAN              HOWARD                NY         02106508         WEITZ & LUXENBERG, PC
FETTER               BARBARA               NY         02107004         WEITZ & LUXENBERG, PC                                FINEGAN              JOAN                  NY         02106508         WEITZ & LUXENBERG, PC
FETTER               BEVERLY               NY         10059301         WEITZ & LUXENBERG, PC                                FINI                 EUGENE J              NY         10700102         WEITZ & LUXENBERG, PC
FETTER               RAYMOND L             NY         10059301         WEITZ & LUXENBERG, PC                                FINI                 LORRAINE A            NY         10700102         WEITZ & LUXENBERG, PC
FETTER               ROY A                 NY         02107004         WEITZ & LUXENBERG, PC                                FINIGAN              JAMES J               NY         10669502         WEITZ & LUXENBERG, PC
FETZER               MARTIN J              NY         10576200         WEITZ & LUXENBERG, PC                                FINIGAN              PATRICIA              NY         10669502         WEITZ & LUXENBERG, PC
FETZER               TERESA                NY         10576200         WEITZ & LUXENBERG, PC                                FINKBEINER           EDWARD                NY         11706500         WEITZ & LUXENBERG, PC
FEY                  EDWARD M              NY         12038901         WEITZ & LUXENBERG, PC                                FINKBEINER           KENNETH               NY         11706500         WEITZ & LUXENBERG, PC
FEY                  MARILYN               NY         12038901         WEITZ & LUXENBERG, PC                                FINKELSTEIN          JOSEPH J              NY         10133003         WEITZ & LUXENBERG, PC
FIAL                 LEO W                 NY         99106926         WEITZ & LUXENBERG, PC                                FINLEY               EDWARD W              NY         11856098         WEITZ & LUXENBERG, PC
FIAL                 LOUISE J              NY         99106926         WEITZ & LUXENBERG, PC                                FINNEGAN             JULIE                 NY         19001912         WEITZ & LUXENBERG, PC
FIALKOWSKI           ANTHONY F             NY         I20019075        WEITZ & LUXENBERG, PC                                FINNEGAN             OWEN                  NY         12668602         WEITZ & LUXENBERG, PC
FIALKOWSKI           ANTHONY F             NY         02121082         WEITZ & LUXENBERG, PC                                FINNERTY             BARBARA               NY         12213801         WEITZ & LUXENBERG, PC
FIALO                CAROLINE              NY         02107102         WEITZ & LUXENBERG, PC                                FINNERTY             BARBARA               NY         10276202         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 924
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 259 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FINNERTY             RICHARD               NY         12213801         WEITZ & LUXENBERG, PC                                FISHER               ROSALYN W             NY         1903972012       WEITZ & LUXENBERG, PC
FINNERTY             RICHARD               NY         10276202         WEITZ & LUXENBERG, PC                                FISHER               VANCE H               NY         10587202         WEITZ & LUXENBERG, PC
FINNIE               RAYMOND LEE           NY         10571402         WEITZ & LUXENBERG, PC                                FISHMAN              ARTHUR                NY         10923008         WEITZ & LUXENBERG, PC
FINOCHIARO           JOSEPH                NY         12038901         WEITZ & LUXENBERG, PC                                FISHMAN              HENRIETTA             NY         10923008         WEITZ & LUXENBERG, PC
FINOCHIARO           MARIE GRACE           NY         12038901         WEITZ & LUXENBERG, PC                                FISK                 LILLIAN               NY         11270004         WEITZ & LUXENBERG, PC
FIOLKOWSKI           DAVID S               NY         99116949         WEITZ & LUXENBERG, PC                                FITCHETT             PATRICIA              NY         01122139         WEITZ & LUXENBERG, PC
FIOLKOWSKI           EDWARD V              NY         99116949         WEITZ & LUXENBERG, PC                                FITCHETT             WILLIAM C             NY         01122139         WEITZ & LUXENBERG, PC
FIOLKOWSKI           STANLEY               NY         99116949         WEITZ & LUXENBERG, PC                                FITE                 IMOGENE               NY         CV016365         WEITZ & LUXENBERG, PC
FIORE                CONNIE                NY         10313805         WEITZ & LUXENBERG, PC                                FITTIPALDI           FRANK ANTHONY         NY         12038801         WEITZ & LUXENBERG, PC
FIORE                GENNARO L             NY         12039001         WEITZ & LUXENBERG, PC                                FITTIPALDI           FRANK ANTHONY         NY         10630502         WEITZ & LUXENBERG, PC
FIORE                GRACE                 NY         11850398         WEITZ & LUXENBERG, PC                                FITZGERALD           CAROL L               NY         99106893         WEITZ & LUXENBERG, PC
FIORE                LOUIS M               NY         11695299         WEITZ & LUXENBERG, PC                                FITZGERALD           DANIEL                NY         10575700         WEITZ & LUXENBERG, PC
FIORE                NICHOLAS J            NY         10313805         WEITZ & LUXENBERG, PC                                FITZGERALD           DONALD F              NY         12801902         WEITZ & LUXENBERG, PC
FIORE                RROBERTA              NY         10536001         WEITZ & LUXENBERG, PC                                FITZGERALD           DONALD F              NY         10595603         WEITZ & LUXENBERG, PC
FIORE                SALVATORE E           NY         10536001         WEITZ & LUXENBERG, PC                                FITZGERALD           ELLEN                 NY         10575700         WEITZ & LUXENBERG, PC
FIORE                SANTO                 NY         11850398         WEITZ & LUXENBERG, PC                                FITZGERALD           FRANCES               NY         12213801         WEITZ & LUXENBERG, PC
FIORELLA             JAMES J               NY         12080699         WEITZ & LUXENBERG, PC                                FITZGERALD           FRANCES               NY         10276102         WEITZ & LUXENBERG, PC
FIORELLA             ROSEMARY T            NY         12080699         WEITZ & LUXENBERG, PC                                FITZGERALD           JAMES JOSEPH          NY         01111219         WEITZ & LUXENBERG, PC
FIORENTINO           CATHERINE             NY         CV025200         WEITZ & LUXENBERG, PC                                FITZGERALD           JOHN E                NY         12213801         WEITZ & LUXENBERG, PC
FIORENTINO           ROBERT B              NY         CV025200         WEITZ & LUXENBERG, PC                                FITZGERALD           JOHN E                NY         10276102         WEITZ & LUXENBERG, PC
FIORETTI             ADLE                  NY         10870801         WEITZ & LUXENBERG, PC                                FITZGERALD           JOHNNIE FAY           NY         10059001         WEITZ & LUXENBERG, PC
FIORETTI             GIULIO                NY         10870801         WEITZ & LUXENBERG, PC                                FITZGERALD           LAURA                 NY         12801902         WEITZ & LUXENBERG, PC
FIORI                ANTHONY               NY         11695099         WEITZ & LUXENBERG, PC                                FITZGERALD           LAURA                 NY         10595603         WEITZ & LUXENBERG, PC
FIORI                JUNE                  NY         11695099         WEITZ & LUXENBERG, PC                                FITZGERALD           NORA ANN              NY         10351101         WEITZ & LUXENBERG, PC
FIORI                LINDA L               NY         11695099         WEITZ & LUXENBERG, PC                                FITZGERALD           ROBERT L              NY         10059001         WEITZ & LUXENBERG, PC
FIORILLO             FANNY                 NY         10473700         WEITZ & LUXENBERG, PC                                FITZGERALD           THOMAS                NY         10351101         WEITZ & LUXENBERG, PC
FIORILLO             HENRY                 NY         1903022012       WEITZ & LUXENBERG, PC                                FITZGERALD           THOMAS F              NY         99106893         WEITZ & LUXENBERG, PC
FIORILLO             MARTHA                NY         1903022012       WEITZ & LUXENBERG, PC                                FITZPATRICK          ANN E                 NY         11245900         WEITZ & LUXENBERG, PC
FIORILLO             RALPH J               NY         10473700         WEITZ & LUXENBERG, PC                                FITZPATRICK          COLLEEN               NY         11695599         WEITZ & LUXENBERG, PC
FIORINO              NICHOLAS J            NY         01111233         WEITZ & LUXENBERG, PC                                FITZPATRICK          EDWARD F              NY         11270805         WEITZ & LUXENBERG, PC
FIRE                 ROSE                  NY         11026802         WEITZ & LUXENBERG, PC                                FITZPATRICK          FRANCIS A             NY         I200110473       WEITZ & LUXENBERG, PC
FIRE                 WILLIAM T             NY         11026802         WEITZ & LUXENBERG, PC                                FITZPATRICK          FRANCIS A             NY         02120709         WEITZ & LUXENBERG, PC
FIRMATURE            JARED J               NY         00CIV1202        WEITZ & LUXENBERG, PC                                FITZPATRICK          FRANK                 PA         180400963        WEITZ & LUXENBERG, PC
FIRMATURE            JEANNIE               NY         00CIV1202        WEITZ & LUXENBERG, PC                                FITZPATRICK          FRANK T               NY         11857798         WEITZ & LUXENBERG, PC
FISCH                JOHN J                NY         11856198         WEITZ & LUXENBERG, PC                                FITZPATRICK          JOHN J                NY         01111220         WEITZ & LUXENBERG, PC
FISCH                MARGARET              NY         11856198         WEITZ & LUXENBERG, PC                                FITZPATRICK          KEARNEY J             NY         11327802         WEITZ & LUXENBERG, PC
FISCHBACH            JOSEPH A              NY         1900092018       WEITZ & LUXENBERG, PC                                FITZPATRICK          LORRAINE              NY         I200110473       WEITZ & LUXENBERG, PC
FISCHER              CHARLES               NY         11159003         WEITZ & LUXENBERG, PC                                FITZPATRICK          LORRAINE              NY         02120709         WEITZ & LUXENBERG, PC
FISCHER              DIANA                 NY         10740302         WEITZ & LUXENBERG, PC                                FITZPATRICK          LORRAINE M            NY         10397607         WEITZ & LUXENBERG, PC
FISCHER              DIANA                 NY         11411702         WEITZ & LUXENBERG, PC                                FITZPATRICK          MARGARET              NY         11857798         WEITZ & LUXENBERG, PC
FISCHER              NORA G                NY         98118905         WEITZ & LUXENBERG, PC                                FITZPATRICK          MICHAEL A             NY         02122690         WEITZ & LUXENBERG, PC
FISCHER              ROBERT J              NY         10740302         WEITZ & LUXENBERG, PC                                FITZPATRICK          PAULINE               NY         11695599         WEITZ & LUXENBERG, PC
FISCHER              ROBERT J              NY         11411702         WEITZ & LUXENBERG, PC                                FITZPATRICK          REGINA                NY         01111220         WEITZ & LUXENBERG, PC
FISCHER              VIRGINIA              NY         11159003         WEITZ & LUXENBERG, PC                                FITZPATRICK          ROBERT                NY         10397607         WEITZ & LUXENBERG, PC
FISCHETTO            MARYANN               NY         10008703         WEITZ & LUXENBERG, PC                                FITZPATRICK          ROBERTA G             PA         180400963        WEITZ & LUXENBERG, PC
FISCHETTO            ROY                   NY         10008703         WEITZ & LUXENBERG, PC                                FITZPATRICK          THOMAS                NY         11245900         WEITZ & LUXENBERG, PC
FISCUS               RONALD R              NY         I200110761       WEITZ & LUXENBERG, PC                                FITZPATRICK          VINCENT GERARD        NY         11695599         WEITZ & LUXENBERG, PC
FISH                 MARILYN J             NY         10059101         WEITZ & LUXENBERG, PC                                FITZSIMMONS          JOSEPHINE             NY         11706600         WEITZ & LUXENBERG, PC
FISH                 MERLE                 NY         10931303         WEITZ & LUXENBERG, PC                                FITZSIMMONS          LARRY S               NY         11706600         WEITZ & LUXENBERG, PC
FISH                 MICHAEL D             NY         10059101         WEITZ & LUXENBERG, PC                                FITZSIMMONS          MICHAEL H             NY         10700102         WEITZ & LUXENBERG, PC
FISH                 ROGER E               NY         84160            WEITZ & LUXENBERG, PC                                FIUMANO              JOHN N                NY         99116956         WEITZ & LUXENBERG, PC
FISHER               DALE A                NY         11026702         WEITZ & LUXENBERG, PC                                FIUMANO              THERESA               NY         99116956         WEITZ & LUXENBERG, PC
FISHER               DALE A                NY         12636102         WEITZ & LUXENBERG, PC                                FIX                  DOROTHY               NY         10710002         WEITZ & LUXENBERG, PC
FISHER               DEAN                  NY         11026702         WEITZ & LUXENBERG, PC                                FIX                  NORMAN E              NY         10710002         WEITZ & LUXENBERG, PC
FISHER               DEAN                  NY         12636102         WEITZ & LUXENBERG, PC                                FLACCOMIO            ANTHONY               NY         1902622019       WEITZ & LUXENBERG, PC
FISHER               ERROL C               NY         1901122019       WEITZ & LUXENBERG, PC                                FLACCOMIO            JOSEPHINE             NY         1902622019       WEITZ & LUXENBERG, PC
FISHER               FRAN                  NY         1901122019       WEITZ & LUXENBERG, PC                                FLAGG                WILLIAM E             NY         02106707         WEITZ & LUXENBERG, PC
FISHER               GARTH A               NY         19021910         WEITZ & LUXENBERG, PC                                FLAHERTY             ANTHONY               NY         12039101         WEITZ & LUXENBERG, PC
FISHER               GEORGE M              NY         12043001         WEITZ & LUXENBERG, PC                                FLAHERTY             MARY                  NY         12039101         WEITZ & LUXENBERG, PC
FISHER               HENRY J               NY         10575800         WEITZ & LUXENBERG, PC                                FLAIM                ANNAMAE               NY         11695799         WEITZ & LUXENBERG, PC
FISHER               HERBERT               NY         1901622013       WEITZ & LUXENBERG, PC                                FLAIM                DAVID                 NY         11695799         WEITZ & LUXENBERG, PC
FISHER               HUBERTINA             NY         12043001         WEITZ & LUXENBERG, PC                                FLAITZ               GERALD S              NY         1903442016       WEITZ & LUXENBERG, PC
FISHER               JOAN                  NY         12788802         WEITZ & LUXENBERG, PC                                FLAKE                BARBARA JEAN          NY         01CIV3910        WEITZ & LUXENBERG, PC
FISHER               JOHN A                NY         19027909         WEITZ & LUXENBERG, PC                                FLANAGAN             CHARLOTTE M           NY         11756704         WEITZ & LUXENBERG, PC
FISHER               JOHN J                NY         19027909         WEITZ & LUXENBERG, PC                                FLANAGAN             EVELYN                NY         11395203         WEITZ & LUXENBERG, PC
FISHER               KENNETH               NY         12788802         WEITZ & LUXENBERG, PC                                FLANAGAN             ISABELLA              NY         00104408         WEITZ & LUXENBERG, PC
FISHER               LILLIAN               NY         19021910         WEITZ & LUXENBERG, PC                                FLANAGAN             JOHN                  NY         01111236         WEITZ & LUXENBERG, PC
FISHER               LOIS                  NY         10575800         WEITZ & LUXENBERG, PC                                FLANAGAN             JOHN B                NY         11756704         WEITZ & LUXENBERG, PC
FISHER               MARCIA                NY         1901622013       WEITZ & LUXENBERG, PC                                FLANAGAN             JOSEPH J              NY         00104408         WEITZ & LUXENBERG, PC
FISHER               RAYMOND               NY         10587202         WEITZ & LUXENBERG, PC                                FLANAGAN             JUDITH                NY         01111236         WEITZ & LUXENBERG, PC
FISHER               ROBERT                NY         19027909         WEITZ & LUXENBERG, PC                                FLANAGAN             PETER R               NY         11395203         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 925
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 260 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FLANDERS             DIANE                 NY         10700102         WEITZ & LUXENBERG, PC                                FLORIANO             RAYMOND ERNEST        PA         160503054        WEITZ & LUXENBERG, PC
FLANDERS             ERNEST                NY         11695899         WEITZ & LUXENBERG, PC                                FLORIDIA             CONCETTA              NY         10575200         WEITZ & LUXENBERG, PC
FLANDERS             ERNEST                NY         99116958         WEITZ & LUXENBERG, PC                                FLORIDIA             SALVATORE             NY         10575200         WEITZ & LUXENBERG, PC
FLANDERS             GEORGE D              NY         10700102         WEITZ & LUXENBERG, PC                                FLORIO               JOAN                  NY         10475300         WEITZ & LUXENBERG, PC
FLANDERS             LEVENIA               NY         11695899         WEITZ & LUXENBERG, PC                                FLORIO               MICHAEL               NY         1901872017       WEITZ & LUXENBERG, PC
FLANDERS             LEVENIA               NY         99116958         WEITZ & LUXENBERG, PC                                FLORIO               NICHOLAS J            NY         10475300         WEITZ & LUXENBERG, PC
FLANIGAN             BRUCE N               NY         10587402         WEITZ & LUXENBERG, PC                                FLORIO               WILLIAM               NY         10475300         WEITZ & LUXENBERG, PC
FLANIGAN             HELEN                 NY         CV011176         WEITZ & LUXENBERG, PC                                FLOWERS              BETTY                 NY         01CIV3910        WEITZ & LUXENBERG, PC
FLANIGAN             JIMMY                 NY         CV011176         WEITZ & LUXENBERG, PC                                FLOWERS              WILLIE NATHANIEL      NY         01CIV3910        WEITZ & LUXENBERG, PC
FLANIGAN             MARY                  NY         10587402         WEITZ & LUXENBERG, PC                                FLOYD                GLORIA YVONNE         NY         01CIV3900        WEITZ & LUXENBERG, PC
FLANNERY             CATHY                 NY         12039801         WEITZ & LUXENBERG, PC                                FLOYD                WILLIE H              NY         01CIV3900        WEITZ & LUXENBERG, PC
FLANNERY             CATHY                 NY         10482302         WEITZ & LUXENBERG, PC                                FLYNN                AGNES                 NY         12100401         WEITZ & LUXENBERG, PC
FLANNERY             DAVID E               NY         1903192019       WEITZ & LUXENBERG, PC                                FLYNN                ALBERT                NY         10058301         WEITZ & LUXENBERG, PC
FLANNERY             EUGENE                NY         12039801         WEITZ & LUXENBERG, PC                                FLYNN                CHRISTINE             NY         10024408         WEITZ & LUXENBERG, PC
FLANNERY             EUGENE                NY         10482302         WEITZ & LUXENBERG, PC                                FLYNN                DANIEL M              NY         11026702         WEITZ & LUXENBERG, PC
FLANNERY             JOHN GORDON           NY         10575500         WEITZ & LUXENBERG, PC                                FLYNN                DEAN H                NY         10587202         WEITZ & LUXENBERG, PC
FLANNERY             MARY JANE B           NY         10575500         WEITZ & LUXENBERG, PC                                FLYNN                DOLORES               NY         01111236         WEITZ & LUXENBERG, PC
FLANNERY             THOMAS P              NY         10740402         WEITZ & LUXENBERG, PC                                FLYNN                DOLORES               NY         12185201         WEITZ & LUXENBERG, PC
FLATTERY             JOAN                  NY         10058901         WEITZ & LUXENBERG, PC                                FLYNN                EDMOND JOHN           NY         12198599         WEITZ & LUXENBERG, PC
FLATTERY             WILLIAM               NY         10058901         WEITZ & LUXENBERG, PC                                FLYNN                EDWARD                NY         12344601         WEITZ & LUXENBERG, PC
FLEDER               MAX                   NY         10807601         WEITZ & LUXENBERG, PC                                FLYNN                EDWARD                NY         01111227         WEITZ & LUXENBERG, PC
FLEECE               MARIAN R              NY         12307001         WEITZ & LUXENBERG, PC                                FLYNN                HUGH J                NY         12039801         WEITZ & LUXENBERG, PC
FLEECE               MARIAN R              NY         01111230         WEITZ & LUXENBERG, PC                                FLYNN                JOHN P                NY         12100401         WEITZ & LUXENBERG, PC
FLEECE               ROBERT E              NY         12307001         WEITZ & LUXENBERG, PC                                FLYNN                JOSEPHINE             NY         12344601         WEITZ & LUXENBERG, PC
FLEECE               ROBERT E              NY         01111230         WEITZ & LUXENBERG, PC                                FLYNN                JOSEPHINE             NY         01111227         WEITZ & LUXENBERG, PC
FLEISCHMAN           MAX                   NY         10697508         WEITZ & LUXENBERG, PC                                FLYNN                KATHLEEN              NY         12039801         WEITZ & LUXENBERG, PC
FLEMING              CLARENCE              NY         CV020231         WEITZ & LUXENBERG, PC                                FLYNN                MARGARET              NY         12198599         WEITZ & LUXENBERG, PC
FLEMING              DOROTHY R             NY         1901562018       WEITZ & LUXENBERG, PC                                FLYNN                MARILYN E             NY         1902382012       WEITZ & LUXENBERG, PC
FLEMING              IVAN K                NY         CV053950         WEITZ & LUXENBERG, PC                                FLYNN                PENELOPE              NY         11026702         WEITZ & LUXENBERG, PC
FLEMING              JAMES B               NY         11978101         WEITZ & LUXENBERG, PC                                FLYNN                PETER J               NY         01111236         WEITZ & LUXENBERG, PC
FLEMING              JAMES B               NY         11123201         WEITZ & LUXENBERG, PC                                FLYNN                PETER J               NY         12185201         WEITZ & LUXENBERG, PC
FLEMING              MARY HILL             NY         CV020231         WEITZ & LUXENBERG, PC                                FLYNN                ROSANNE               NY         10598000         WEITZ & LUXENBERG, PC
FLEMING              NOREEN                NY         11978101         WEITZ & LUXENBERG, PC                                FLYNN                ROSWITHA              NY         10058301         WEITZ & LUXENBERG, PC
FLEMING              NOREEN                NY         11123201         WEITZ & LUXENBERG, PC                                FLYNN                THOMAS                NY         1902382012       WEITZ & LUXENBERG, PC
FLEMING              SUSAN K               NY         CV053950         WEITZ & LUXENBERG, PC                                FLYNN                TONY                  NY         12344601         WEITZ & LUXENBERG, PC
FLEMMING             LUCY                  NY         10688999         WEITZ & LUXENBERG, PC                                FLYNN                TONY                  NY         01111227         WEITZ & LUXENBERG, PC
FLEMMING             RALPH EDWARD          NY         10688999         WEITZ & LUXENBERG, PC                                FLYNN                VICKI                 NY         10587202         WEITZ & LUXENBERG, PC
FLETCHER             BETTY M               NY         CV021632         WEITZ & LUXENBERG, PC                                FLYNN                WENDY S               NY         10729600         WEITZ & LUXENBERG, PC
FLETCHER             CARL E                NY         10716802         WEITZ & LUXENBERG, PC                                FOGARTY              DENNIS P              NY         12039801         WEITZ & LUXENBERG, PC
FLETCHER             MARY                  NY         12434601         WEITZ & LUXENBERG, PC                                FOGARTY              MARY M                NY         12039801         WEITZ & LUXENBERG, PC
FLETCHER             ROBERT G              NY         12434601         WEITZ & LUXENBERG, PC                                FOGLIA               LEO                   NY         01CIV7364        WEITZ & LUXENBERG, PC
FLEURETON            CATHERINA             NY         1900422018       WEITZ & LUXENBERG, PC                                FOGLIA               RITA J                NY         01CIV7364        WEITZ & LUXENBERG, PC
FLEURETON            EDWARD C              NY         1900422018       WEITZ & LUXENBERG, PC                                FOGUS                JOHN                  NY         01111229         WEITZ & LUXENBERG, PC
FLEWELLING           JOSEPH L              NY         24893            WEITZ & LUXENBERG, PC                                FOLEY                ANNA C                NY         10475400         WEITZ & LUXENBERG, PC
FLICK                LODENA                NY         11356702         WEITZ & LUXENBERG, PC                                FOLEY                EDWARD W              NY         12387300         WEITZ & LUXENBERG, PC
FLICK                WAYNE                 NY         11356702         WEITZ & LUXENBERG, PC                                FOLEY                EUGENE                NY         10599000         WEITZ & LUXENBERG, PC
FLINT                CLAUDE FRANK          NY         02120615         WEITZ & LUXENBERG, PC                                FOLEY                JAMES R               NY         10475400         WEITZ & LUXENBERG, PC
FLINT                CLAUDE FRANK          NY         12758602         WEITZ & LUXENBERG, PC                                FOLEY                JOHN                  NY         1905592012       WEITZ & LUXENBERG, PC
FLINT                ELIZABETH             NY         10575400         WEITZ & LUXENBERG, PC                                FOLEY                JOHN                  NY         110219           WEITZ & LUXENBERG, PC
FLINT                FRANK W               NY         10658102         WEITZ & LUXENBERG, PC                                FOLEY                LOUISE                NY         10599000         WEITZ & LUXENBERG, PC
FLINT                JASON                 NY         10575400         WEITZ & LUXENBERG, PC                                FOLEY                MARGARET              NY         11850898         WEITZ & LUXENBERG, PC
FLINT                JIMMY                 NY         10575400         WEITZ & LUXENBERG, PC                                FOLEY                MARY                  NY         1905592012       WEITZ & LUXENBERG, PC
FLINT                PENNY L               NY         10351301         WEITZ & LUXENBERG, PC                                FOLEY                MARY                  NY         99106888         WEITZ & LUXENBERG, PC
FLINT                STEVEN C              NY         02120615         WEITZ & LUXENBERG, PC                                FOLEY                MARY                  NY         110219           WEITZ & LUXENBERG, PC
FLINT                STEVEN C              NY         12758602         WEITZ & LUXENBERG, PC                                FOLEY                MAURICE               NY         99106888         WEITZ & LUXENBERG, PC
FLIS                 RICHARD               NY         10058701         WEITZ & LUXENBERG, PC                                FOLEY                MICHAEL               NY         11850898         WEITZ & LUXENBERG, PC
FLODEN               FLORENCE              NY         12043301         WEITZ & LUXENBERG, PC                                FOLEY                PAM                   NY         12387300         WEITZ & LUXENBERG, PC
FLODEN               ROY                   NY         12043301         WEITZ & LUXENBERG, PC                                FOLEY                PATRICK               NY         10058201         WEITZ & LUXENBERG, PC
FLOOD                DANIEL                NY         12043201         WEITZ & LUXENBERG, PC                                FOLEY                THOMAS J              NY         1903582015       WEITZ & LUXENBERG, PC
FLOOD                JAMES                 NY         10058601         WEITZ & LUXENBERG, PC                                FOLEY                WILLIAM               NY         11356702         WEITZ & LUXENBERG, PC
FLOOD                JOHN                  NY         10058501         WEITZ & LUXENBERG, PC                                FOLGNER              KENNETH               NY         10508102         WEITZ & LUXENBERG, PC
FLOOD                JOHN F                NY         19004510         WEITZ & LUXENBERG, PC                                FOLLETT              STEVEN P              NY         10571402         WEITZ & LUXENBERG, PC
FLOOD                MARY                  NY         19004510         WEITZ & LUXENBERG, PC                                FOLLICK              JOANNE C              NY         10599300         WEITZ & LUXENBERG, PC
FLOOD                MONA                  NY         12043201         WEITZ & LUXENBERG, PC                                FOLLICK              WALTER ERVIN          NY         10599300         WEITZ & LUXENBERG, PC
FLOOD                PATRICIA              NY         10058501         WEITZ & LUXENBERG, PC                                FOLLIS               DIANE                 NY         11851098         WEITZ & LUXENBERG, PC
FLORA                DANNY G               NY         12693402         WEITZ & LUXENBERG, PC                                FOLLIS               THEODORE F            NY         11851098         WEITZ & LUXENBERG, PC
FLORA                SANDRA                NY         12693402         WEITZ & LUXENBERG, PC                                FOLNSBEE             ANNABELL              NY         02118278         WEITZ & LUXENBERG, PC
FLORES               ABRAHAM               NY         10471500         WEITZ & LUXENBERG, PC                                FOLNSBEE             DONALD E              NY         02118278         WEITZ & LUXENBERG, PC
FLORES               ALICE B               NY         10575300         WEITZ & LUXENBERG, PC                                FOLNSBEE             EMMA                  NY         20012281         WEITZ & LUXENBERG, PC
FLORES               JOSE E                NY         10575300         WEITZ & LUXENBERG, PC                                FOLNSBEE             WALTER T              NY         20012281         WEITZ & LUXENBERG, PC
FLORES               MARGARET              NY         10471500         WEITZ & LUXENBERG, PC                                FOLSOM               HARMOND E             NY         11706700         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 926
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 261 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FOLSOM               JOSEPHINE             NY         11706700         WEITZ & LUXENBERG, PC                                FORSELL              MARIA                 NY         1900272017       WEITZ & LUXENBERG, PC
FOLTS                JOEL E                NY         10691799         WEITZ & LUXENBERG, PC                                FORSHEY              CARL D                NY         99116959         WEITZ & LUXENBERG, PC
FOLTS                MELANIE               NY         10691799         WEITZ & LUXENBERG, PC                                FORSHEY              PAMELA                NY         99116959         WEITZ & LUXENBERG, PC
FOLTYNIAK            RITA                  NY         12571502         WEITZ & LUXENBERG, PC                                FORSTER              BARBARA               NY         10787700         WEITZ & LUXENBERG, PC
FONDA                LENA                  NY         11851198         WEITZ & LUXENBERG, PC                                FORSTER              DANIEL A              NY         10057901         WEITZ & LUXENBERG, PC
FONDA                WALTER                NY         11851198         WEITZ & LUXENBERG, PC                                FORSTER              JOHN                  NY         10219705         WEITZ & LUXENBERG, PC
FONTAINE             EILEEN                NY         01111234         WEITZ & LUXENBERG, PC                                FORSTER              MARILYN               NY         10057901         WEITZ & LUXENBERG, PC
FONTAINE             EILEEN                NY         11923801         WEITZ & LUXENBERG, PC                                FORSTER              REGINA                NY         01111222         WEITZ & LUXENBERG, PC
FONTAINE             WILLIAM E             NY         01111234         WEITZ & LUXENBERG, PC                                FORSTER              RICHARD A             NY         10219705         WEITZ & LUXENBERG, PC
FONTAINE             WILLIAM E             NY         11923801         WEITZ & LUXENBERG, PC                                FORSTER              WILLIAM F             NY         01111222         WEITZ & LUXENBERG, PC
FONTANA              ANNA                  NY         11123101         WEITZ & LUXENBERG, PC                                FORSYTH              ALEXANDER             NY         01111236         WEITZ & LUXENBERG, PC
FONTANA              DOMINICK              NY         12043101         WEITZ & LUXENBERG, PC                                FORSYTH              EILEEN                NY         1903492017       WEITZ & LUXENBERG, PC
FONTANA              LOUIS B               NY         12668702         WEITZ & LUXENBERG, PC                                FORSYTH              FREDERICK J           NY         10570300         WEITZ & LUXENBERG, PC
FONTANA              SANTINO               NY         11123101         WEITZ & LUXENBERG, PC                                FORSYTH              MARY ANN              NY         10570300         WEITZ & LUXENBERG, PC
FONTENEOU            ADA                   NY         10073103         WEITZ & LUXENBERG, PC                                FORSYTH              ROBERT J              NY         1903492017       WEITZ & LUXENBERG, PC
FONTENEOU            ALBERT                NY         10073103         WEITZ & LUXENBERG, PC                                FORTE                CAMILLE               NY         10057801         WEITZ & LUXENBERG, PC
FOOR                 BERNARD E             NY         11244300         WEITZ & LUXENBERG, PC                                FORTE                MICHAEL               NY         10057801         WEITZ & LUXENBERG, PC
FOOR                 ELIZABETH M           NY         11244300         WEITZ & LUXENBERG, PC                                FORTER               MARIE A               NY         10688199         WEITZ & LUXENBERG, PC
FOOSE                CHARLES               NY         19006110         WEITZ & LUXENBERG, PC                                FORTER               PATRICK J             NY         10688199         WEITZ & LUXENBERG, PC
FOOTE                MARY                  NY         99106931         WEITZ & LUXENBERG, PC                                FORTH                KENNETH G             NY         10817106         WEITZ & LUXENBERG, PC
FOOTE                PATRICK               NY         99106931         WEITZ & LUXENBERG, PC                                FORTH                NORMA                 NY         10817106         WEITZ & LUXENBERG, PC
FORACKER             JOHN O                NY         CV021845         WEITZ & LUXENBERG, PC                                FORTI                JOSEPH D              NY         10570200         WEITZ & LUXENBERG, PC
FORACKER             JOHN O                NY         02105715         WEITZ & LUXENBERG, PC                                FORTUNATO            ANTHONY P             NY         01111235         WEITZ & LUXENBERG, PC
FORBES               DALE G                NY         1903742013       WEITZ & LUXENBERG, PC                                FORTUNATO            ANTHONY P             NY         11830801         WEITZ & LUXENBERG, PC
FORBES               ERROL                 NY         10190010         WEITZ & LUXENBERG, PC                                FORTUNATO            CAMILLE               NY         01111235         WEITZ & LUXENBERG, PC
FORBES               HAZELINE              NY         10190010         WEITZ & LUXENBERG, PC                                FORTUNATO            CAMILLE               NY         11830801         WEITZ & LUXENBERG, PC
FORBES               MERLENE               NY         1903742013       WEITZ & LUXENBERG, PC                                FORTUNATO            CHARLES               NY         12433902         WEITZ & LUXENBERG, PC
FORBES               ROBERT W              NY         02106694         WEITZ & LUXENBERG, PC                                FORTUNATO            LOUISA                NY         12433902         WEITZ & LUXENBERG, PC
FORCUCCI             ANTHONY               NY         10688099         WEITZ & LUXENBERG, PC                                FORTUNATO            VARISCO               NY         10614600         WEITZ & LUXENBERG, PC
FORCUCCI             CELIA                 NY         10688099         WEITZ & LUXENBERG, PC                                FORTUNATO            VINCENZA              NY         10614600         WEITZ & LUXENBERG, PC
FORCUCCI             GABRIELLA             NY         11856298         WEITZ & LUXENBERG, PC                                FORWARD              CALVIN                NY         12788802         WEITZ & LUXENBERG, PC
FORCUCCI             RICHARD               NY         11856298         WEITZ & LUXENBERG, PC                                FORWARD              SHIRLEY               NY         12788802         WEITZ & LUXENBERG, PC
FORCUCCI             WALTER D              NY         10870801         WEITZ & LUXENBERG, PC                                FOSGREEN             PATRICIA              NY         01111220         WEITZ & LUXENBERG, PC
FORCZEK              FRANK D               NY         10571402         WEITZ & LUXENBERG, PC                                FOSGREEN             WILLIAM A             NY         01111220         WEITZ & LUXENBERG, PC
FORCZEK              JOSEPHINE             NY         10571402         WEITZ & LUXENBERG, PC                                FOSSE                BARBARA               NY         11159003         WEITZ & LUXENBERG, PC
FORD                 ALLEN M               NY         10570400         WEITZ & LUXENBERG, PC                                FOSSE                JOHN                  NY         11159003         WEITZ & LUXENBERG, PC
FORD                 DAVID F               NY         12801902         WEITZ & LUXENBERG, PC                                FOSTER               ALFREDA               NY         10693499         WEITZ & LUXENBERG, PC
FORD                 EUGENE                NY         19019511         WEITZ & LUXENBERG, PC                                FOSTER               BARBARA E             NY         10680602         WEITZ & LUXENBERG, PC
FORD                 FE ESTER              NY         CV013921         WEITZ & LUXENBERG, PC                                FOSTER               BERNARD S             NY         10680602         WEITZ & LUXENBERG, PC
FORD                 HELENE                NY         10740402         WEITZ & LUXENBERG, PC                                FOSTER               BETTY                 NY         11026702         WEITZ & LUXENBERG, PC
FORD                 HELENE                NY         11430402         WEITZ & LUXENBERG, PC                                FOSTER               CHARLIE E             NY         10475600         WEITZ & LUXENBERG, PC
FORD                 HOSIA                 NY         CV013921         WEITZ & LUXENBERG, PC                                FOSTER               DAVID PARTEE          NY         01CIV3910        WEITZ & LUXENBERG, PC
FORD                 IRENE                 NY         12801902         WEITZ & LUXENBERG, PC                                FOSTER               DIANE M               NY         10587102         WEITZ & LUXENBERG, PC
FORD                 JAMES                 NY         01111224         WEITZ & LUXENBERG, PC                                FOSTER               ELIZABETH             NY         10614500         WEITZ & LUXENBERG, PC
FORD                 JESSIE L              NY         10058101         WEITZ & LUXENBERG, PC                                FOSTER               EUGENE                NY         10614500         WEITZ & LUXENBERG, PC
FORD                 JIMMIE L              NY         CV011877         WEITZ & LUXENBERG, PC                                FOSTER               HARRY W               NY         02105715         WEITZ & LUXENBERG, PC
FORD                 LEONORA               NY         19019511         WEITZ & LUXENBERG, PC                                FOSTER               JEAN                  NY         02105715         WEITZ & LUXENBERG, PC
FORD                 MARGARET              NY         01111224         WEITZ & LUXENBERG, PC                                FOSTER               JIMMY L               NY         10693499         WEITZ & LUXENBERG, PC
FORD                 MELBA                 NY         CV011877         WEITZ & LUXENBERG, PC                                FOSTER               KIMBERLY              NY         10072203         WEITZ & LUXENBERG, PC
FORD                 ROBERT                NY         10058001         WEITZ & LUXENBERG, PC                                FOSTER               LC                    NY         10475600         WEITZ & LUXENBERG, PC
FORD                 TRENNIE               NY         10058101         WEITZ & LUXENBERG, PC                                FOSTER               MALVA                 NY         12039601         WEITZ & LUXENBERG, PC
FORD                 WILLIS L              NY         10740402         WEITZ & LUXENBERG, PC                                FOSTER               MINARD S              NY         1903082014       WEITZ & LUXENBERG, PC
FORD                 WILLIS L              NY         11430402         WEITZ & LUXENBERG, PC                                FOSTER               OTIS                  NY         12668502         WEITZ & LUXENBERG, PC
FORESTER             JAMES E               NY         10693299         WEITZ & LUXENBERG, PC                                FOSTER               RANDOLPH D            NY         10587402         WEITZ & LUXENBERG, PC
FORESTER             ROSE ETHA             NY         10693299         WEITZ & LUXENBERG, PC                                FOSTER               ROBERT H              NY         11026702         WEITZ & LUXENBERG, PC
FORGER               ANNA P                NY         01111236         WEITZ & LUXENBERG, PC                                FOSTER               ROXIE ANN             NY         10740202         WEITZ & LUXENBERG, PC
FORGER               ANNA P                NY         12185101         WEITZ & LUXENBERG, PC                                FOSTER               ROXIE ANN             NY         11333202         WEITZ & LUXENBERG, PC
FORGER               DONALD EDWARD         NY         01111236         WEITZ & LUXENBERG, PC                                FOSTER               SYLVIA                NY         02106694         WEITZ & LUXENBERG, PC
FORGER               DONALD EDWARD         NY         12185101         WEITZ & LUXENBERG, PC                                FOSTER               THALIA                NY         1903082014       WEITZ & LUXENBERG, PC
FORGER               EDWARD                NY         01111236         WEITZ & LUXENBERG, PC                                FOSTER               THOMAS B              NY         10587102         WEITZ & LUXENBERG, PC
FORGER               EDWARD                NY         12185101         WEITZ & LUXENBERG, PC                                FOSTER               THOMAS M              NY         02106694         WEITZ & LUXENBERG, PC
FORGIONE             AGATA                 NY         10710002         WEITZ & LUXENBERG, PC                                FOSTER               WINSTON B             NY         12039601         WEITZ & LUXENBERG, PC
FORGIONE             AGATA                 NY         12684702         WEITZ & LUXENBERG, PC                                FOTI                 PETER                 NY         10057701         WEITZ & LUXENBERG, PC
FORGIONE             ANTHONY               NY         10710002         WEITZ & LUXENBERG, PC                                FOTI                 ROSE                  NY         10057701         WEITZ & LUXENBERG, PC
FORGIONE             ANTHONY               NY         12684702         WEITZ & LUXENBERG, PC                                FOTI                 ROSE ANN              NY         10057701         WEITZ & LUXENBERG, PC
FORINO               ANTHONY J             NY         110495           WEITZ & LUXENBERG, PC                                FOUBERT              KENNETH               NY         CV033134         WEITZ & LUXENBERG, PC
FORINO               MARY C                NY         110495           WEITZ & LUXENBERG, PC                                FOULTZ               JEWELL M              NY         12801902         WEITZ & LUXENBERG, PC
FORKEY               JULIE M               NY         12039301         WEITZ & LUXENBERG, PC                                FOULTZ               KARL J                NY         12801902         WEITZ & LUXENBERG, PC
FORKEY               LLOYD                 NY         12039301         WEITZ & LUXENBERG, PC                                FOUNTAIN             JOSEPH E              NY         10057601         WEITZ & LUXENBERG, PC
FORMANSKI            BERT                  NY         1903392015       WEITZ & LUXENBERG, PC                                FOURNIA              CLARENCE J            NY         02107005         WEITZ & LUXENBERG, PC
FORMANSKI            JOYCE H               NY         1903392015       WEITZ & LUXENBERG, PC                                FOURNIA              MARGARET              NY         02107005         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 927
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 262 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FOURNIER             ROGER D               NY         02105718         WEITZ & LUXENBERG, PC                                FRANCISCI            LEO E                 NY         10693699         WEITZ & LUXENBERG, PC
FOURTOUNIS           ANNA                  NY         1903682013       WEITZ & LUXENBERG, PC                                FRANCISCO            BEATRICE              NY         10068701         WEITZ & LUXENBERG, PC
FOURTOUNIS           GEORGE                NY         1903682013       WEITZ & LUXENBERG, PC                                FRANCISCO            LAWRENCE              NY         10068701         WEITZ & LUXENBERG, PC
FOWLER               COURTNEY D            NY         10068601         WEITZ & LUXENBERG, PC                                FRANCO               AGNES                 NY         10740102         WEITZ & LUXENBERG, PC
FOWLER               DEWITT                NY         10614400         WEITZ & LUXENBERG, PC                                FRANCO               MARINA                NY         99116763         WEITZ & LUXENBERG, PC
FOWLER               EMMA GRACE            NY         I20016633        WEITZ & LUXENBERG, PC                                FRANCO               MODESTO               NY         99116763         WEITZ & LUXENBERG, PC
FOWLER               GLADYS L              NY         10068601         WEITZ & LUXENBERG, PC                                FRANCO               WILLIAM J             NY         10740102         WEITZ & LUXENBERG, PC
FOWLER               JOHN T                NY         I20016633        WEITZ & LUXENBERG, PC                                FRANCOEUR            JUNE                  NY         02107099         WEITZ & LUXENBERG, PC
FOWLER               LOUISE M              NY         10645702         WEITZ & LUXENBERG, PC                                FRANCOEUR            RICHARD               NY         02107099         WEITZ & LUXENBERG, PC
FOWLER               MILLICENT             NY         10614400         WEITZ & LUXENBERG, PC                                FRANCZYK             FRANK L               NY         11856598         WEITZ & LUXENBERG, PC
FOWLER               ROBERT JOHN           NY         10645702         WEITZ & LUXENBERG, PC                                FRANCZYK             LORETTA               NY         11856598         WEITZ & LUXENBERG, PC
FOX                  AUBREY LEE            NY         11696199         WEITZ & LUXENBERG, PC                                FRANDINA             JOAN                  NY         10722102         WEITZ & LUXENBERG, PC
FOX                  BEVERLEY B            NY         20152454         WEITZ & LUXENBERG, PC                                FRANDINA             VINCENT               NY         10722102         WEITZ & LUXENBERG, PC
FOX                  CORA                  NY         20152454         WEITZ & LUXENBERG, PC                                FRANGELLO            HENRY J               DE         N18C06017ASB     WEITZ & LUXENBERG, PC
FOX                  DAVID W               NY         10587602         WEITZ & LUXENBERG, PC                                FRANGELLO            KAREN                 DE         N18C06017ASB     WEITZ & LUXENBERG, PC
FOX                  GERHARD J             NY         10471000         WEITZ & LUXENBERG, PC                                FRANGKOS             JO ANN                NY         19009810         WEITZ & LUXENBERG, PC
FOX                  JAMES                 NY         10614300         WEITZ & LUXENBERG, PC                                FRANGKOS             NICK                  NY         19009810         WEITZ & LUXENBERG, PC
FOX                  JOAN                  NY         10614300         WEITZ & LUXENBERG, PC                                FRANK                BERNHARDT             NY         10613900         WEITZ & LUXENBERG, PC
FOX                  KAREN                 NY         10587602         WEITZ & LUXENBERG, PC                                FRANK                EDWARD P              NY         01111220         WEITZ & LUXENBERG, PC
FOX                  KENNETH H             NY         12668702         WEITZ & LUXENBERG, PC                                FRANK                JULIANE               NY         1902282014       WEITZ & LUXENBERG, PC
FOX                  MARY T                NY         10688299         WEITZ & LUXENBERG, PC                                FRANK                LESTER L              NY         12039701         WEITZ & LUXENBERG, PC
FOX                  MAX                   NY         19008510         WEITZ & LUXENBERG, PC                                FRANK                MARY ETHEL            NY         12668102         WEITZ & LUXENBERG, PC
FOX                  MELISSA               NY         1901322018       WEITZ & LUXENBERG, PC                                FRANK                ROBERT M              NY         12668102         WEITZ & LUXENBERG, PC
FOX                  MICHAEL               NY         1901322018       WEITZ & LUXENBERG, PC                                FRANK                SHEILA                NY         01111220         WEITZ & LUXENBERG, PC
FOX                  NORAH T               NY         10471300         WEITZ & LUXENBERG, PC                                FRANKEL              SAMUEL                NY         10870801         WEITZ & LUXENBERG, PC
FOX                  NORMA                 NY         10699902         WEITZ & LUXENBERG, PC                                FRANKIE              ANNA M                NY         10716902         WEITZ & LUXENBERG, PC
FOX                  PATRICK J             NY         10688299         WEITZ & LUXENBERG, PC                                FRANKIE              FREDERICK A           NY         10716902         WEITZ & LUXENBERG, PC
FOX                  PHILIP                NY         10471300         WEITZ & LUXENBERG, PC                                FRANKLIN             MORTON                NY         1901742017       WEITZ & LUXENBERG, PC
FOX                  ROBERT G              NY         10699902         WEITZ & LUXENBERG, PC                                FRANKOVIC            MARIA D G             NY         12110001         WEITZ & LUXENBERG, PC
FOX                  SADYE                 NY         11696199         WEITZ & LUXENBERG, PC                                FRANKOVIC            VLADO                 NY         12110001         WEITZ & LUXENBERG, PC
FOX                  STELLA M              NY         10471000         WEITZ & LUXENBERG, PC                                FRANKS               LILLIAN L             NY         10467800         WEITZ & LUXENBERG, PC
FOXWORTH             CHARLIE               NY         10587602         WEITZ & LUXENBERG, PC                                FRANKS               MARGARET              NY         201860078        WEITZ & LUXENBERG, PC
FOXWORTH             LJ                    NY         99116762         WEITZ & LUXENBERG, PC                                FRANKS               PAUL M                NY         10467800         WEITZ & LUXENBERG, PC
FOY                  JOHN K                NY         02106694         WEITZ & LUXENBERG, PC                                FRANKS               ROBERT                NY         201860078        WEITZ & LUXENBERG, PC
FOY                  ROBERT J              NY         12043001         WEITZ & LUXENBERG, PC                                FRANQUES             LLOYD R               NY         CV011426         WEITZ & LUXENBERG, PC
FOY                  RUTH                  NY         12043001         WEITZ & LUXENBERG, PC                                FRANQUES             PATTY J               NY         CV011426         WEITZ & LUXENBERG, PC
FRAAS                EDNA E                NY         11538606         WEITZ & LUXENBERG, PC                                FRANTZ               JEANNETTE             NY         1902032015       WEITZ & LUXENBERG, PC
FRAAS                THEODORE              NY         11538606         WEITZ & LUXENBERG, PC                                FRANTZ               WILLIAM H             NY         1902032015       WEITZ & LUXENBERG, PC
FRACCALVIERI         FRANK                 NY         11244400         WEITZ & LUXENBERG, PC                                FRANZ                KEITH                 NY         1901892018       WEITZ & LUXENBERG, PC
FRACCALVIERI         LAURA                 NY         11244400         WEITZ & LUXENBERG, PC                                FRANZ                MATTHEW               NY         1901892018       WEITZ & LUXENBERG, PC
FRAGALE              FRANKLIN              NY         10471200         WEITZ & LUXENBERG, PC                                FRANZ                SUZANNE               NY         1901892018       WEITZ & LUXENBERG, PC
FRAGALE              MARY JO               NY         10471200         WEITZ & LUXENBERG, PC                                FRANZESE             ANTONIO               NY         10430907         WEITZ & LUXENBERG, PC
FRALEY               BETTY JO              NY         CV013921         WEITZ & LUXENBERG, PC                                FRANZESE             DOMINICK              NY         10820703         WEITZ & LUXENBERG, PC
FRALEY               RICHARD               NY         CV013921         WEITZ & LUXENBERG, PC                                FRANZESE             JAMES A               NY         11026902         WEITZ & LUXENBERG, PC
FRANCE               JAMES H               NY         99116962         WEITZ & LUXENBERG, PC                                FRANZESE             MARIA ANNA            NY         10430907         WEITZ & LUXENBERG, PC
FRANCESCONE          JOSEPH R              NY         01111230         WEITZ & LUXENBERG, PC                                FRANZESE             PAUL                  NY         10430907         WEITZ & LUXENBERG, PC
FRANCESE             EILEEN ANITA          NY         10614100         WEITZ & LUXENBERG, PC                                FRANZESE             SHEILA ANN            NY         11026902         WEITZ & LUXENBERG, PC
FRANCESE             FRANK                 NY         10614100         WEITZ & LUXENBERG, PC                                FRANZINO             EVELYN                NY         11244500         WEITZ & LUXENBERG, PC
FRANCHI              BARBARA               NY         99116764         WEITZ & LUXENBERG, PC                                FRANZINO             JOSEPH                NY         11244500         WEITZ & LUXENBERG, PC
FRANCHI              GERALD                NY         99116764         WEITZ & LUXENBERG, PC                                FRARY                CAROLINE R            NY         10538802         WEITZ & LUXENBERG, PC
FRANCIAMONE          VINCENT T E           NY         10688399         WEITZ & LUXENBERG, PC                                FRARY                ROBERT F              NY         10073103         WEITZ & LUXENBERG, PC
FRANCIS              ALFRED J              NY         12039901         WEITZ & LUXENBERG, PC                                FRASCATORE           PATSY J               NY         10688499         WEITZ & LUXENBERG, PC
FRANCIS              ALFRED J              NY         10453002         WEITZ & LUXENBERG, PC                                FRASCO               GRACE                 NY         10887402         WEITZ & LUXENBERG, PC
FRANCIS              ARLENE                NY         10693599         WEITZ & LUXENBERG, PC                                FRASCO               LINDA                 NY         10887402         WEITZ & LUXENBERG, PC
FRANCIS              CATHERINE             NY         12039901         WEITZ & LUXENBERG, PC                                FRASCO               THOMAS                NY         10887402         WEITZ & LUXENBERG, PC
FRANCIS              CATHERINE             NY         10453002         WEITZ & LUXENBERG, PC                                FRASER               BRUCE EDWIN           NY         CV016071         WEITZ & LUXENBERG, PC
FRANCIS              EMMA                  NY         19002411         WEITZ & LUXENBERG, PC                                FRASER               CAROLINE              NY         10068901         WEITZ & LUXENBERG, PC
FRANCIS              GILBERT W             NY         10693599         WEITZ & LUXENBERG, PC                                FRASER               ELIZABETH JANE        NY         10613800         WEITZ & LUXENBERG, PC
FRANCIS              HUGH                  NY         19002411         WEITZ & LUXENBERG, PC                                FRASER               FRANCIS G             NY         10613800         WEITZ & LUXENBERG, PC
FRANCIS              JAMES PHILIP          NY         12444102         WEITZ & LUXENBERG, PC                                FRASER               GWENDOLYN MARIE       NY         02106578         WEITZ & LUXENBERG, PC
FRANCIS              LENUS DOMINIC         NY         10614000         WEITZ & LUXENBERG, PC                                FRASER               HAL J                 NY         02106578         WEITZ & LUXENBERG, PC
FRANCIS              MARYELLEN             NY         01111225         WEITZ & LUXENBERG, PC                                FRASER               HENRY                 NY         10068901         WEITZ & LUXENBERG, PC
FRANCIS              NANCY M               NY         19014710         WEITZ & LUXENBERG, PC                                FRASER               HENRY CHARLES         NY         10068901         WEITZ & LUXENBERG, PC
FRANCIS              PAMELA A              NY         02106578         WEITZ & LUXENBERG, PC                                FRASER               SUZANNE               NY         CV016071         WEITZ & LUXENBERG, PC
FRANCIS              PATRICK J             NY         02106578         WEITZ & LUXENBERG, PC                                FRASIER              ANNE                  NY         10870801         WEITZ & LUXENBERG, PC
FRANCIS              RICHARD               NY         01111225         WEITZ & LUXENBERG, PC                                FRASIER              LEONARD               NY         10870801         WEITZ & LUXENBERG, PC
FRANCIS              TERRY OTIS            NY         10716702         WEITZ & LUXENBERG, PC                                FRAVEL               DALE                  NY         12191497         WEITZ & LUXENBERG, PC
FRANCIS              VERONICA AGATHA       NY         10614000         WEITZ & LUXENBERG, PC                                FRAVEL               SHIRLEY               NY         12191497         WEITZ & LUXENBERG, PC
FRANCIS              VIVIAN                NY         01111224         WEITZ & LUXENBERG, PC                                FRAWLEY              JOHN                  NY         10023203         WEITZ & LUXENBERG, PC
FRANCIS              WILLIAM               NY         12788702         WEITZ & LUXENBERG, PC                                FRAWLEY              JOHN                  NY         10571704         WEITZ & LUXENBERG, PC
FRANCIS              WILLIAM T             NY         19014710         WEITZ & LUXENBERG, PC                                FRAWLEY              MAUREEN               NY         1900762015       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 928
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 263 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

FRAWLEY              THOMAS                NY         10023203         WEITZ & LUXENBERG, PC                                FREYBURGER           HARRIS                NY         02122050           WEITZ & LUXENBERG, PC
FRAWLEY              THOMAS                NY         10571704         WEITZ & LUXENBERG, PC                                FREYBURGER           NORMA B               NY         I200110165         WEITZ & LUXENBERG, PC
FRAZIER              ANNA                  NY         01111221         WEITZ & LUXENBERG, PC                                FREYBURGER           NORMA B               NY         02122050           WEITZ & LUXENBERG, PC
FRAZIER              CONNIE M              NY         10701100         WEITZ & LUXENBERG, PC                                FREYTAG              ANNE                  NY         98118867           WEITZ & LUXENBERG, PC
FRAZIER              DAVID LEE             NY         01CIV3922        WEITZ & LUXENBERG, PC                                FREYTAG              THEODORE H            NY         98118867           WEITZ & LUXENBERG, PC
FRAZIER              EARLINE               NY         01CIV3922        WEITZ & LUXENBERG, PC                                FREZZA               ANTHONY               NY         1901452014         WEITZ & LUXENBERG, PC
FRAZIER              ETTA                  NY         CV026172         WEITZ & LUXENBERG, PC                                FRIBOURG             CATHERINE             NY         11244700           WEITZ & LUXENBERG, PC
FRAZIER              JOSEPH LOUIS          NY         CV026172         WEITZ & LUXENBERG, PC                                FRIBOURG             CHARLES L             NY         11244700           WEITZ & LUXENBERG, PC
FREAS                BARBARA ALLEN         NY         12499900         WEITZ & LUXENBERG, PC                                FRICANO              ANTONETTA             NY         12668602           WEITZ & LUXENBERG, PC
FREDA                FRANK                 NY         99116765         WEITZ & LUXENBERG, PC                                FRICANO              ANTONETTA             NY         10401203           WEITZ & LUXENBERG, PC
FREDENBURG           DONALD                NY         11846200         WEITZ & LUXENBERG, PC                                FRICANO              RICHARD               NY         12668602           WEITZ & LUXENBERG, PC
FREDENBURG           EARL FRANKLIN         NY         11846200         WEITZ & LUXENBERG, PC                                FRICANO              RICHARD               NY         10401203           WEITZ & LUXENBERG, PC
FREDENBURG           ROBERT                NY         10599200         WEITZ & LUXENBERG, PC                                FRICKER              BARBARA               NY         12039301           WEITZ & LUXENBERG, PC
FREDENBURG           SANDRA                NY         10599200         WEITZ & LUXENBERG, PC                                FRICKER              GUSTAVE               NY         12039301           WEITZ & LUXENBERG, PC
FREDERICK            JOYLYN                NY         1902032018       WEITZ & LUXENBERG, PC                                FRIDMAN              BARBARA J             NY         01111221           WEITZ & LUXENBERG, PC
FREDERICK            ROSE M                NY         10688599         WEITZ & LUXENBERG, PC                                FRIDMAN              CHARLES               NY         01111221           WEITZ & LUXENBERG, PC
FREDERICK            WILLIAM H             NY         10688599         WEITZ & LUXENBERG, PC                                FRIEDBERG            MARY JANE             NY         11244800           WEITZ & LUXENBERG, PC
FREDERICK            WINFIELD P            NY         1902032018       WEITZ & LUXENBERG, PC                                FRIEDBERG            ROBERT                NY         11244800           WEITZ & LUXENBERG, PC
FREDERICKS           JOHN                  NY         12094801         WEITZ & LUXENBERG, PC                                FRIEDEL              MARGARET              NY         12039001           WEITZ & LUXENBERG, PC
FREDERICKS           JOHN                  NY         01111223         WEITZ & LUXENBERG, PC                                FRIEDEL              WARREN                NY         12039001           WEITZ & LUXENBERG, PC
FREDERICKSON         DUANE SCOTT           NY         I200110548       WEITZ & LUXENBERG, PC                                FRIEDL               PHILIP L              NY         02106690           WEITZ & LUXENBERG, PC
FREDERICKSON         JAMES                 NY         10587202         WEITZ & LUXENBERG, PC                                FRIEDL               PHILIP L              NY         11379102           WEITZ & LUXENBERG, PC
FREDERICKSON         KAREN                 NY         10587202         WEITZ & LUXENBERG, PC                                FRIEDMAN             JERRY                 NY         1900222017         WEITZ & LUXENBERG, PC
FREDERIKSEN          BRUCE                 CA         BC699367         WEITZ & LUXENBERG, PC                                FRIEDMAN             JUNE                  NY         1900222017         WEITZ & LUXENBERG, PC
FREDHOLM             ALICE                 NY         10074103         WEITZ & LUXENBERG, PC                                FRIEDMAN             NORMA R               NY         10974500           WEITZ & LUXENBERG, PC
FREDHOLM             CHARLES               NY         10074103         WEITZ & LUXENBERG, PC                                FRIEDRICH            KENNETH E             NY         11244900           WEITZ & LUXENBERG, PC
FREDO                ANTHONY               NY         10693899         WEITZ & LUXENBERG, PC                                FRIEDRICH            LOIS M                NY         11244900           WEITZ & LUXENBERG, PC
FREDO                IRENE E               NY         10693899         WEITZ & LUXENBERG, PC                                FRIEND               KENNETH ARCHIE        NY         02106692           WEITZ & LUXENBERG, PC
FREEBORN             DAVID H               NY         1901802015       WEITZ & LUXENBERG, PC                                FRIERSON             DOLORES               NY         01CIV3901          WEITZ & LUXENBERG, PC
FREEBORN             DOREEN                NY         1901802015       WEITZ & LUXENBERG, PC                                FRIERSON             NAPOLEON              NY         01CIV3901          WEITZ & LUXENBERG, PC
FREEMAN              DORA                  NY         10597200         WEITZ & LUXENBERG, PC                                FRIGA                ANN                   NY         19032809           WEITZ & LUXENBERG, PC
FREEMAN              EDWARD                NY         10598900         WEITZ & LUXENBERG, PC                                FRIGA                STEPHEN               NY         19032809           WEITZ & LUXENBERG, PC
FREEMAN              HAROLD J              NY         10599100         WEITZ & LUXENBERG, PC                                FRIGENTI             ALFONSO J             NY         10597000           WEITZ & LUXENBERG, PC
FREEMAN              JANETTA B             NY         01CIV3914        WEITZ & LUXENBERG, PC                                FRIOT                SHARON A              NY         12444402           WEITZ & LUXENBERG, PC
FREEMAN              KAY                   NY         CV020246         WEITZ & LUXENBERG, PC                                FRIOT                WILLIAM D             NY         12444402           WEITZ & LUXENBERG, PC
FREEMAN              MARVIN W              NY         10597200         WEITZ & LUXENBERG, PC                                FRISBIE              BARRY                 NY         01111226           WEITZ & LUXENBERG, PC
FREEMAN              MARY                  NY         10599100         WEITZ & LUXENBERG, PC                                FRISBIE              WALTRAUD SUCKROW      NY         01111226           WEITZ & LUXENBERG, PC
FREEMAN              MARY ANNE             NY         10853500         WEITZ & LUXENBERG, PC                                FRISBY               SHERIL L              NY         CV012847           WEITZ & LUXENBERG, PC
FREEMAN              MELVIN F              NY         10853500         WEITZ & LUXENBERG, PC                                FRISBY               WILEY DOYNE           NY         CV012847           WEITZ & LUXENBERG, PC
FREEMAN              PHILLIP M             NY         CV020246         WEITZ & LUXENBERG, PC                                FRISCH               MICHAEL P             NY         10596900           WEITZ & LUXENBERG, PC
FREEMAN              PHYLLIS               NY         12124903         WEITZ & LUXENBERG, PC                                FRISCH               MILTON                NY         10596900           WEITZ & LUXENBERG, PC
FREEMAN              ROBERT L              NY         99116766         WEITZ & LUXENBERG, PC                                FRITZ                ELSIE JR              NY         11706900           WEITZ & LUXENBERG, PC
FREEMAN              SANDRA                NY         01CIV3914        WEITZ & LUXENBERG, PC                                FRITZ                STEWART M             NY         11706900           WEITZ & LUXENBERG, PC
FREEMAN              STANLEY B             NY         12124903         WEITZ & LUXENBERG, PC                                FRIZELL              HENRY J               NY         12039701           WEITZ & LUXENBERG, PC
FREESE               ROBERT GENE           NY         I20019070        WEITZ & LUXENBERG, PC                                FRIZELL              HENRY J               NY         10508502           WEITZ & LUXENBERG, PC
FREESE               SHARON J              NY         I20019070        WEITZ & LUXENBERG, PC                                FRIZZALONE           BARBARA               NY         11142698_ADMIN_CTD WEITZ & LUXENBERG, PC
FREESTONE            DOVIE                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                FROEHLICH            ESTHER                NY         12693702           WEITZ & LUXENBERG, PC
FREESTONE            DOVIE JEAN            NY         CV013921         WEITZ & LUXENBERG, PC                                FROEHLICH            FRANCIS               NY         12693702           WEITZ & LUXENBERG, PC
FREESTONE            JACK                  NY         01CIV3901        WEITZ & LUXENBERG, PC                                FROELICH             ARTHUR M              NY         10069301           WEITZ & LUXENBERG, PC
FREESTONE            JACK                  NY         CV013921         WEITZ & LUXENBERG, PC                                FROELICH             FLORENCE M            NY         10069301           WEITZ & LUXENBERG, PC
FREGOE               CAROL L               NY         10670402         WEITZ & LUXENBERG, PC                                FROMME               FRED                  NY         11676799           WEITZ & LUXENBERG, PC
FREGOE               PAUL J                NY         10670402         WEITZ & LUXENBERG, PC                                FROMME               MARGOT                NY         11676799           WEITZ & LUXENBERG, PC
FREIFELD             MARLENE               NY         01111235         WEITZ & LUXENBERG, PC                                FROS                 JAKOBUS H             NY         10696302           WEITZ & LUXENBERG, PC
FREIFELD             MARVIN                NY         01111235         WEITZ & LUXENBERG, PC                                FROSCH               HERBERT               NY         12039101           WEITZ & LUXENBERG, PC
FRELOCK              JOHN                  NY         10069001         WEITZ & LUXENBERG, PC                                FROSCH               HERBERT               NY         10430302           WEITZ & LUXENBERG, PC
FRELOCK              LAURA                 NY         10069001         WEITZ & LUXENBERG, PC                                FROSCH               LILLIAN               NY         12039101           WEITZ & LUXENBERG, PC
FRENCH               DIANE                 NY         110464           WEITZ & LUXENBERG, PC                                FROSCH               LILLIAN               NY         10430302           WEITZ & LUXENBERG, PC
FRENCH               PATRICK JOHN          NY         10587102         WEITZ & LUXENBERG, PC                                FROSINA              BARBARA               NY         11245000           WEITZ & LUXENBERG, PC
FRENCH               ROBERT V              NY         110464           WEITZ & LUXENBERG, PC                                FROSINA              JOHN                  NY         11245000           WEITZ & LUXENBERG, PC
FRENCHE- ILLIAMS     CECIL FRENCHE         NY         11258000         WEITZ & LUXENBERG, PC                                FROSOLONE            FLORENCE              NY         10467900           WEITZ & LUXENBERG, PC
FREUND               DONNA                 NY         10740502         WEITZ & LUXENBERG, PC                                FROSOLONE            VICTOR                NY         10467900           WEITZ & LUXENBERG, PC
FREUND               DONNA                 NY         11416902         WEITZ & LUXENBERG, PC                                FROST                CAROLE                NY         12685502           WEITZ & LUXENBERG, PC
FREUND               ROGER                 NY         10740502         WEITZ & LUXENBERG, PC                                FROST                CAROLE                NY         10710002           WEITZ & LUXENBERG, PC
FREUND               ROGER                 NY         11416902         WEITZ & LUXENBERG, PC                                FROST                JOAN                  NY         10598100           WEITZ & LUXENBERG, PC
FREY                 CHRISTIANA            NY         10597100         WEITZ & LUXENBERG, PC                                FROST                ROBERT D              NY         10598100           WEITZ & LUXENBERG, PC
FREY                 GEORGE A              NY         10597100         WEITZ & LUXENBERG, PC                                FRUEH                JOHN                  NY         10069501           WEITZ & LUXENBERG, PC
FREY                 MERLIN G              NY         1903722017       WEITZ & LUXENBERG, PC                                FRUEH                RUTH                  NY         10069501           WEITZ & LUXENBERG, PC
FREY                 RANDALL               NY         12191597         WEITZ & LUXENBERG, PC                                FRY                  FREEMAN R             NY         10069601           WEITZ & LUXENBERG, PC
FREY                 RICHARD DALE          NY         1903722017       WEITZ & LUXENBERG, PC                                FRY                  ROSELLA               NY         10069601           WEITZ & LUXENBERG, PC
FREY                 DORIS                 NY         12191597         WEITZ & LUXENBERG, PC                                FRYE                 LYNDA                 NY         98118901           WEITZ & LUXENBERG, PC
FREYBURGER           HARRIS                NY         I200110165       WEITZ & LUXENBERG, PC                                FRYE                 PAUL E                NY         98118901           WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 929
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 264 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FRYER                DENISE                NY         10587402         WEITZ & LUXENBERG, PC                                FURNACE              JUNE                  NY         10670802         WEITZ & LUXENBERG, PC
FRYER                DENISE                NY         10990502         WEITZ & LUXENBERG, PC                                FURNISH              HARRY G               NY         10071903         WEITZ & LUXENBERG, PC
FUCA                 LUIGA ROSA            NY         11123101         WEITZ & LUXENBERG, PC                                FURRER               DENNIS H              NY         12039601         WEITZ & LUXENBERG, PC
FUCA                 OSVALDO               NY         11123101         WEITZ & LUXENBERG, PC                                FUSCO                ANDREW                NY         10468200         WEITZ & LUXENBERG, PC
FUCCELA              ROSAMARIE             NY         1900782013       WEITZ & LUXENBERG, PC                                FUSCO                ANITA                 NY         10597900         WEITZ & LUXENBERG, PC
FUCCELLA             JOSEPH R              NY         1900782013       WEITZ & LUXENBERG, PC                                FUSCO                EDWARD J              NY         10597900         WEITZ & LUXENBERG, PC
FUCCILLO             NANCY                 NY         10877803         WEITZ & LUXENBERG, PC                                FUSCO                ELIZABETH             NY         19043109         WEITZ & LUXENBERG, PC
FUCCILLO             RICHARD               NY         10877803         WEITZ & LUXENBERG, PC                                FUSCO                FRANK                 NY         01111225         WEITZ & LUXENBERG, PC
FUENTES              DANNA                 NY         10468100         WEITZ & LUXENBERG, PC                                FUSCO                FRANK                 NY         11808601         WEITZ & LUXENBERG, PC
FUENTES              RAYMOND               NY         10468100         WEITZ & LUXENBERG, PC                                FUSCO                JOHN                  NY         19043109         WEITZ & LUXENBERG, PC
FUGARO               FRANK                 NY         11179404         WEITZ & LUXENBERG, PC                                FUSCO                JOSEPH M              NY         10985403         WEITZ & LUXENBERG, PC
FUGARO               MARITZA               NY         11179404         WEITZ & LUXENBERG, PC                                FUSCO                JUNE                  NY         10985403         WEITZ & LUXENBERG, PC
FUGATE               DARREN                NY         I20012351        WEITZ & LUXENBERG, PC                                FUSCO                PETRINA               NY         01111225         WEITZ & LUXENBERG, PC
FUGATE               FRANKIE               NY         19013709         WEITZ & LUXENBERG, PC                                FUSCO                PETRINA               NY         11808601         WEITZ & LUXENBERG, PC
FUGATE               SYLVIA                NY         19013709         WEITZ & LUXENBERG, PC                                FUSS                 SHIRLEY L             NY         11303100         WEITZ & LUXENBERG, PC
FUGATE               THOMAS                NY         I20012351        WEITZ & LUXENBERG, PC                                FUTIA                MICHAEL               NY         10466800         WEITZ & LUXENBERG, PC
FUINA                VINCENT J             NY         11890298         WEITZ & LUXENBERG, PC                                FUTIA                ROSE                  NY         10466800         WEITZ & LUXENBERG, PC
FULFORD              ELIZABETH             NY         10598000         WEITZ & LUXENBERG, PC                                FYFE                 PATRICIA              NY         10710002         WEITZ & LUXENBERG, PC
FULFORD              WILBUR B              NY         10598000         WEITZ & LUXENBERG, PC                                FYFE                 WILLIAM G             NY         10710002         WEITZ & LUXENBERG, PC
FULLER               BETH ANN              NY         12444302         WEITZ & LUXENBERG, PC                                GABBIDON             HERMEL                NY         10702004         WEITZ & LUXENBERG, PC
FULLER               BEVERLY               NY         12693502         WEITZ & LUXENBERG, PC                                GABBIDON             JOSEPH                NY         10702004         WEITZ & LUXENBERG, PC
FULLER               DONALD EUGENE         NY         10680702         WEITZ & LUXENBERG, PC                                GABEL                BONNIE M              NY         10658102         WEITZ & LUXENBERG, PC
FULLER               JAMES                 NY         19021711         WEITZ & LUXENBERG, PC                                GABEL                ELIZABETH             NY         1901382019       WEITZ & LUXENBERG, PC
FULLER               JAMES ANTHONY         NY         12693502         WEITZ & LUXENBERG, PC                                GABEL                ELIZABETH             NY         12039201         WEITZ & LUXENBERG, PC
FULLER               JAMES J               NY         11243700         WEITZ & LUXENBERG, PC                                GABEL                NORMAN FREDDIE        NY         1901382019       WEITZ & LUXENBERG, PC
FULLER               LYNN                  NY         11294504         WEITZ & LUXENBERG, PC                                GABEL                NORMAN FREDDIE        NY         12039201         WEITZ & LUXENBERG, PC
FULLER               MICHAEL               NY         12448302         WEITZ & LUXENBERG, PC                                GABEL                ROBERT E              NY         10658102         WEITZ & LUXENBERG, PC
FULLER               ROBERT H              NY         I20019494        WEITZ & LUXENBERG, PC                                GABLE                HENRY                 NY         1905482012       WEITZ & LUXENBERG, PC
FULLER               ROBERT H              NY         02121082         WEITZ & LUXENBERG, PC                                GABLE                LAVERNE L             NY         1905482012       WEITZ & LUXENBERG, PC
FULLER               ROSEMARY              NY         12448302         WEITZ & LUXENBERG, PC                                GABRI                ALEX A                NY         02106707         WEITZ & LUXENBERG, PC
FULLER               VANCE                 NY         1900182019       WEITZ & LUXENBERG, PC                                GABRI                FLORENCE E            NY         02106707         WEITZ & LUXENBERG, PC
FULLER               WILLIAM J             NY         11294504         WEITZ & LUXENBERG, PC                                GABRI                JOSEPH A              NY         10587402         WEITZ & LUXENBERG, PC
FULLER M             MARY                  NY         I20019494        WEITZ & LUXENBERG, PC                                GABRI                PHILIP G              NY         11026802         WEITZ & LUXENBERG, PC
FULLER M             MARY                  NY         02121082         WEITZ & LUXENBERG, PC                                GABRI                VIOLET H              NY         10587402         WEITZ & LUXENBERG, PC
FULLERTON            NANCY                 NY         19007208         WEITZ & LUXENBERG, PC                                GABRIEL              SHIRLEY               NY         12039601         WEITZ & LUXENBERG, PC
FULLUM               JOSEPH M              NY         10509401         WEITZ & LUXENBERG, PC                                GABRIEL              WINSTON F             NY         12039601         WEITZ & LUXENBERG, PC
FUN                  JACKIE ANNE           NY         1903532017       WEITZ & LUXENBERG, PC                                GABRIELE             BERNARDI              NY         10069901         WEITZ & LUXENBERG, PC
FUNCELL              JAMES H               NY         10587002         WEITZ & LUXENBERG, PC                                GABRIELE             BONA                  NY         10597800         WEITZ & LUXENBERG, PC
FUNDIS               WILLIAM G             NY         02106693         WEITZ & LUXENBERG, PC                                GABRIELE             SALVATORE             NY         10597800         WEITZ & LUXENBERG, PC
FUNICELLO            CHARLES               NY         1902472019       WEITZ & LUXENBERG, PC                                GABY                 KEITH                 NY         10070001         WEITZ & LUXENBERG, PC
FUNICELLO            HERMA                 NY         1902472019       WEITZ & LUXENBERG, PC                                GADANI               ETTORE S              NY         10693999         WEITZ & LUXENBERG, PC
FUNK                 BONNIE J              NY         10069701         WEITZ & LUXENBERG, PC                                GADANI               LORETTA               NY         10693999         WEITZ & LUXENBERG, PC
FUNK                 GLORIA                NY         05CIV5730        WEITZ & LUXENBERG, PC                                GADLER               CARL                  NY         11356702         WEITZ & LUXENBERG, PC
FUNK                 JOHN G                NY         10069701         WEITZ & LUXENBERG, PC                                GADLER               CARL                  NY         12730602         WEITZ & LUXENBERG, PC
FUNK                 PETER J               NY         05CIV5730        WEITZ & LUXENBERG, PC                                GADLER               JOSEPHINE             NY         11356702         WEITZ & LUXENBERG, PC
FUNKEY               HENRY                 NY         01121099         WEITZ & LUXENBERG, PC                                GADLER               JOSEPHINE             NY         12730602         WEITZ & LUXENBERG, PC
FUNKEY               HENRY                 NY         10852202         WEITZ & LUXENBERG, PC                                GADOMSKI             BERNIE R              NY         11327802         WEITZ & LUXENBERG, PC
FUNKEY               MARY                  NY         01121099         WEITZ & LUXENBERG, PC                                GADOMSKI             BERNIE R              NY         11949502         WEITZ & LUXENBERG, PC
FUNKEY               MARY                  NY         10852202         WEITZ & LUXENBERG, PC                                GADOMSKI             GEORGE                NY         11327802         WEITZ & LUXENBERG, PC
FURBY                DARRELL EUGENE        NY         CV024537         WEITZ & LUXENBERG, PC                                GADOMSKI             GEORGE                NY         11949502         WEITZ & LUXENBERG, PC
FURCIATO             JOSEPH J              NY         12367102         WEITZ & LUXENBERG, PC                                GADWAY               BARBARA A             NY         10716802         WEITZ & LUXENBERG, PC
FURINO               EILEEN POWER          NY         99116771         WEITZ & LUXENBERG, PC                                GADWAY               JAMES                 NY         10716802         WEITZ & LUXENBERG, PC
FURINO               PETER P               NY         99116771         WEITZ & LUXENBERG, PC                                GADWAY               LAWRENCE JR           NY         10597600         WEITZ & LUXENBERG, PC
FURIO                JOHN A                NY         11677299         WEITZ & LUXENBERG, PC                                GADWAY               MARY LOU              NY         10597600         WEITZ & LUXENBERG, PC
FURIO                ROSE                  NY         11677299         WEITZ & LUXENBERG, PC                                GAEBLER              RONALD                NY         01111223         WEITZ & LUXENBERG, PC
FURLETTI             NORMAN J              NY         20017370         WEITZ & LUXENBERG, PC                                GAETANO              PAULINE               NY         10070101         WEITZ & LUXENBERG, PC
FURMAN               CAROL                 NY         CV017733         WEITZ & LUXENBERG, PC                                GAETANO              PETER                 NY         10070101         WEITZ & LUXENBERG, PC
FURMAN               CLYDE ALLEN           NY         CV017733         WEITZ & LUXENBERG, PC                                GAFFNEY              MARY ELLEN            NY         02105716         WEITZ & LUXENBERG, PC
FURMAN               DENNIS R              NY         01111234         WEITZ & LUXENBERG, PC                                GAGLIANO             CHARLES J             NY         1905172012       WEITZ & LUXENBERG, PC
FURMAN               DENNIS R              NY         11923901         WEITZ & LUXENBERG, PC                                GAGLIANO             JEANNE                NY         1905172012       WEITZ & LUXENBERG, PC
FURMAN               JANET                 NY         98118865         WEITZ & LUXENBERG, PC                                GAGLIARDI            ANTHONY               NY         11549504         WEITZ & LUXENBERG, PC
FURMAN               JON                   NY         10069801         WEITZ & LUXENBERG, PC                                GAGLIARDI            JEANETTE              NY         11549504         WEITZ & LUXENBERG, PC
FURMAN               MARCIA I              NY         01111234         WEITZ & LUXENBERG, PC                                GAGLIARDI            MICHAEL               NY         11549504         WEITZ & LUXENBERG, PC
FURMAN               MARCIA I              NY         11923901         WEITZ & LUXENBERG, PC                                GAGLIARDI            ROSARIA               NY         1905112012       WEITZ & LUXENBERG, PC
FURMAN               MAXINE                NY         10069801         WEITZ & LUXENBERG, PC                                GAGLIARDI            VINCENT               NY         1905112012       WEITZ & LUXENBERG, PC
FURMAN               ROBERT                NY         98118865         WEITZ & LUXENBERG, PC                                GAGLIARDO            BARBARA               NY         01104982         WEITZ & LUXENBERG, PC
FURNACE              CHARLES A             NY         10670802         WEITZ & LUXENBERG, PC                                GAGLIARDO            ROBERT B              NY         01104982         WEITZ & LUXENBERG, PC
FURNACE              DONALD E              NY         12788702         WEITZ & LUXENBERG, PC                                GAGLIARDO            SEBASTIAN             NY         10070201         WEITZ & LUXENBERG, PC
FURNACE              DONALD E              NY         10215603         WEITZ & LUXENBERG, PC                                GAGLIARDO            SEBASTIAN J           NY         10070201         WEITZ & LUXENBERG, PC
FURNACE              DONALD L              NY         12788702         WEITZ & LUXENBERG, PC                                GAGNON               ANNE                  NY         10740402         WEITZ & LUXENBERG, PC
FURNACE              DONALD L              NY         10215603         WEITZ & LUXENBERG, PC                                GAGNON               ANNE                  NY         11430302         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 930
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 265 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GAGNON               ANNE M                NY         99106887         WEITZ & LUXENBERG, PC                                GALLERT              GUNTHER               NY         10070901         WEITZ & LUXENBERG, PC
GAGNON               JEANNINE              NY         10740302         WEITZ & LUXENBERG, PC                                GALLERT              HALINA                NY         10070901         WEITZ & LUXENBERG, PC
GAGNON               MELVIN K              NY         11886398         WEITZ & LUXENBERG, PC                                GALLETTO             JAMES A               NY         01111233         WEITZ & LUXENBERG, PC
GAGNON               OTIS H                NY         10740302         WEITZ & LUXENBERG, PC                                GALLEY               RITA ANN              NY         11054900         WEITZ & LUXENBERG, PC
GAGNON               RONALD J              NY         99106887         WEITZ & LUXENBERG, PC                                GALLIGAN             ALOYSIUS              NY         10598600         WEITZ & LUXENBERG, PC
GAGNON               WALTER R              NY         10740402         WEITZ & LUXENBERG, PC                                GALLIGAN             TERESA                NY         10467200         WEITZ & LUXENBERG, PC
GAGNON               WALTER R              NY         11430302         WEITZ & LUXENBERG, PC                                GALLIGAN             WILLIAM D             NY         10467200         WEITZ & LUXENBERG, PC
GAINES               ARFREDAH              NY         10597500         WEITZ & LUXENBERG, PC                                GALLINELLI           CATERINA              NY         10071001         WEITZ & LUXENBERG, PC
GAINES               GEORGE R              NY         01CIV3922        WEITZ & LUXENBERG, PC                                GALLINELLI           SAVINO                NY         10071001         WEITZ & LUXENBERG, PC
GAINES               JOHN                  NY         10597500         WEITZ & LUXENBERG, PC                                GALLINELLI           THOMAS                NY         10071001         WEITZ & LUXENBERG, PC
GAINES               LILLIAN               NY         01CIV3922        WEITZ & LUXENBERG, PC                                GALLO                ANDREW                NY         12039601         WEITZ & LUXENBERG, PC
GAIZO                MAUREEN               NY         11009203         WEITZ & LUXENBERG, PC                                GALLO                ANGELO A              NY         12039001         WEITZ & LUXENBERG, PC
GAIZO                VINCENT               NY         11009203         WEITZ & LUXENBERG, PC                                GALLO                ANTHONY T             NY         1903032016       WEITZ & LUXENBERG, PC
GAJDA                PATRICE               NY         1903432016       WEITZ & LUXENBERG, PC                                GALLO                ANTONETTE             NY         10906102         WEITZ & LUXENBERG, PC
GAJDA                ROBERT F              NY         1903432016       WEITZ & LUXENBERG, PC                                GALLO                CATHERINE             NY         10071301         WEITZ & LUXENBERG, PC
GAJEWSKI             CHESTER J             NY         11625801         WEITZ & LUXENBERG, PC                                GALLO                DOROTHY               NY         1903032016       WEITZ & LUXENBERG, PC
GAJEWSKI             CHESTER J             NY         01111221         WEITZ & LUXENBERG, PC                                GALLO                FRANK                 NY         12039301         WEITZ & LUXENBERG, PC
GAJEWSKI             DORIS M               NY         01111221         WEITZ & LUXENBERG, PC                                GALLO                FREDERICK D           NY         10906102         WEITZ & LUXENBERG, PC
GALAMORE             ROBERT H              NY         11156804         WEITZ & LUXENBERG, PC                                GALLO                INGE                  NY         10122705         WEITZ & LUXENBERG, PC
GALAMORE             ROBERT L              NY         11156804         WEITZ & LUXENBERG, PC                                GALLO                JAMES                 NY         10342100         WEITZ & LUXENBERG, PC
GALANO               JOSEPH                NY         11369504         WEITZ & LUXENBERG, PC                                GALLO                LOUIS P               NY         10122705         WEITZ & LUXENBERG, PC
GALANO               ROSEMARIE             NY         11369504         WEITZ & LUXENBERG, PC                                GALLO                NANCY                 NY         12039001         WEITZ & LUXENBERG, PC
GALARNEAU            CLAYTON V             NY         10680702         WEITZ & LUXENBERG, PC                                GALLO                NANCY S               NY         10342100         WEITZ & LUXENBERG, PC
GALARNEAU            ELIZABETH             NY         10680702         WEITZ & LUXENBERG, PC                                GALLO                PATRICIA              NY         12039301         WEITZ & LUXENBERG, PC
GALATI               JOSEPH                NY         01111222         WEITZ & LUXENBERG, PC                                GALLO                VINCENT S             NY         10071101         WEITZ & LUXENBERG, PC
GALATI               LOUIS G               NY         10567300         WEITZ & LUXENBERG, PC                                GALLO                VINCENT S             NY         10071201         WEITZ & LUXENBERG, PC
GALATI               MARILYN               NY         10567300         WEITZ & LUXENBERG, PC                                GALLO                WILLIAM R             NY         10071301         WEITZ & LUXENBERG, PC
GALATI               ROSALIE               NY         01111222         WEITZ & LUXENBERG, PC                                GALLOWAY             BOBBY L               NY         CV020247         WEITZ & LUXENBERG, PC
GALATIOTO            NATALE S              NY         12039401         WEITZ & LUXENBERG, PC                                GALLOWAY             CAROLYN L             NY         1904432014       WEITZ & LUXENBERG, PC
GALATIOTO            ROSALIE               NY         12039401         WEITZ & LUXENBERG, PC                                GALLOWAY             PATRICIA              NY         CV020247         WEITZ & LUXENBERG, PC
GALCHUS              FRANK M               NY         10070301         WEITZ & LUXENBERG, PC                                GALLUCCI             GEORGE A              NY         10598500         WEITZ & LUXENBERG, PC
GALCHUS              MARY                  NY         10070301         WEITZ & LUXENBERG, PC                                GALLUCCI             RUTH DORAN            NY         10598500         WEITZ & LUXENBERG, PC
GALE                 GEORGE M              NY         10598800         WEITZ & LUXENBERG, PC                                GALLUZZO             GABRIELLE             NY         1901832014       WEITZ & LUXENBERG, PC
GALE                 JANE                  NY         10598800         WEITZ & LUXENBERG, PC                                GALLUZZO             JOSEPH A              NY         1901832014       WEITZ & LUXENBERG, PC
GALESKI              BEATRICE              NY         6030892017       WEITZ & LUXENBERG, PC                                GALLUZZO             MOSES                 NY         1903862018       WEITZ & LUXENBERG, PC
GALFO                GERALD                NY         10971302         WEITZ & LUXENBERG, PC                                GALM                 LOUIS                 NY         01111225         WEITZ & LUXENBERG, PC
GALFO                GERALD P              NY         10587602         WEITZ & LUXENBERG, PC                                GALM                 MARY ANN              NY         01111225         WEITZ & LUXENBERG, PC
GALGANO              SALVATORE R           NY         10598700         WEITZ & LUXENBERG, PC                                GALOFARO             SALVATORE             NY         12043101         WEITZ & LUXENBERG, PC
GALICK               DOROTHY               NY         10070501         WEITZ & LUXENBERG, PC                                GALONZKA             DONNA                 NJ         MIDL135014AS     WEITZ & LUXENBERG, PC
GALICK               IRMA                  NY         10694099         WEITZ & LUXENBERG, PC                                GALPIN               ALBERT T              NY         110462           WEITZ & LUXENBERG, PC
GALICK               LEWIS F               NY         10694099         WEITZ & LUXENBERG, PC                                GALPIN               ALBERT T              NY         02121082         WEITZ & LUXENBERG, PC
GALICK               WILLIAM J             NY         10070501         WEITZ & LUXENBERG, PC                                GALPIN               ALBERT T              NY         02120706         WEITZ & LUXENBERG, PC
GALIMI               EDWARD                NY         01111224         WEITZ & LUXENBERG, PC                                GALPIN               LINDA                 NY         110462           WEITZ & LUXENBERG, PC
GALIMI               THERESA               NY         01111224         WEITZ & LUXENBERG, PC                                GALPIN               LINDA                 NY         02121082         WEITZ & LUXENBERG, PC
GALL                 STEVEN M              NY         11243900         WEITZ & LUXENBERG, PC                                GALPIN               LINDA                 NY         02120706         WEITZ & LUXENBERG, PC
GALLA                ANN MARIE             NY         98121995         WEITZ & LUXENBERG, PC                                GALU                 DEBRA                 NY         10045902         WEITZ & LUXENBERG, PC
GALLA                JOSEPH                NY         11343503         WEITZ & LUXENBERG, PC                                GALU                 JAMES J               NY         10045902         WEITZ & LUXENBERG, PC
GALLAGHER            ANNETTE H             NY         12039501         WEITZ & LUXENBERG, PC                                GALUS                NOREEN                NY         10071401         WEITZ & LUXENBERG, PC
GALLAGHER            BARBARA               NY         12039601         WEITZ & LUXENBERG, PC                                GALUS                PETER J               NY         10716902         WEITZ & LUXENBERG, PC
GALLAGHER            BERNARD F             NY         10740302         WEITZ & LUXENBERG, PC                                GALUS                PETER J               NY         11216002         WEITZ & LUXENBERG, PC
GALLAGHER            BETTY                 NY         12306601         WEITZ & LUXENBERG, PC                                GALUS                THOMAS S              NY         10071401         WEITZ & LUXENBERG, PC
GALLAGHER            BETTY                 NY         01111230         WEITZ & LUXENBERG, PC                                GALVIN               DAVID J               NY         12039401         WEITZ & LUXENBERG, PC
GALLAGHER            C PATRICIA            NY         10070701         WEITZ & LUXENBERG, PC                                GALVIN               JOHN J                NY         02105715         WEITZ & LUXENBERG, PC
GALLAGHER            CLAIRE                NY         10070801         WEITZ & LUXENBERG, PC                                GALVIN               MARGARET              NY         12039401         WEITZ & LUXENBERG, PC
GALLAGHER            DONALD                NY         1903812016       WEITZ & LUXENBERG, PC                                GAMBARDELLA          VINCENT R             NY         12213801         WEITZ & LUXENBERG, PC
GALLAGHER            FRANCIS               NY         10070701         WEITZ & LUXENBERG, PC                                GAMBASSI             CLAUDIA               NY         1904262018       WEITZ & LUXENBERG, PC
GALLAGHER            HELEN G               NY         98118905         WEITZ & LUXENBERG, PC                                GAMBASSI             JOHN M                NY         1904262018       WEITZ & LUXENBERG, PC
GALLAGHER            JAMES J               NY         12039501         WEITZ & LUXENBERG, PC                                GAMBINO              GIUSEPPE              NY         12039301         WEITZ & LUXENBERG, PC
GALLAGHER            JOHN R                NY         10467100         WEITZ & LUXENBERG, PC                                GAMBINO              JOSEPH                NY         10598300         WEITZ & LUXENBERG, PC
GALLAGHER            JOHN W                NY         12039601         WEITZ & LUXENBERG, PC                                GAMBINO              JOSEPH                NY         10587502         WEITZ & LUXENBERG, PC
GALLAGHER            JOSEPH                NY         98118905         WEITZ & LUXENBERG, PC                                GAMBINO              JOSEPHINE             NY         12039301         WEITZ & LUXENBERG, PC
GALLAGHER            JOSEPH PAUL           NY         11244000         WEITZ & LUXENBERG, PC                                GAMBINO              MATTHEW P             NY         12213801         WEITZ & LUXENBERG, PC
GALLAGHER            MARGARET              NY         1903812016       WEITZ & LUXENBERG, PC                                GAMBLINI             GEORGE P              NY         99106941         WEITZ & LUXENBERG, PC
GALLAGHER            MARY                  NY         98118864         WEITZ & LUXENBERG, PC                                GAMIELLO             ANTHONY J             NY         11682605         WEITZ & LUXENBERG, PC
GALLAGHER            PATRICK               NY         98118864         WEITZ & LUXENBERG, PC                                GAMIELLO             JUDITH                NY         11682605         WEITZ & LUXENBERG, PC
GALLAGHER            PATTI ANN             NY         10740302         WEITZ & LUXENBERG, PC                                GANCAREK             PATRICIA              NY         1901742017       WEITZ & LUXENBERG, PC
GALLAGHER            ROSA                  NY         11244000         WEITZ & LUXENBERG, PC                                GANCI                CALAGERO              NY         01111222         WEITZ & LUXENBERG, PC
GALLAGHER            THERESA MARY          NY         1902412019       WEITZ & LUXENBERG, PC                                GANCI                CALOGERO              NY         11580401         WEITZ & LUXENBERG, PC
GALLAGHER            THOMAS                NY         10070801         WEITZ & LUXENBERG, PC                                GANCI                DAVID                 NY         11580401         WEITZ & LUXENBERG, PC
GALLANT              JOSEPH                NY         CV025617         WEITZ & LUXENBERG, PC                                GANCI                ILVA                  NY         EFCA2019001800   WEITZ & LUXENBERG, PC
GALLEGO              HERNANDO              NY         01111233         WEITZ & LUXENBERG, PC                                GANCI                LOUISE                NY         10587502         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 931
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 266 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GANCI                MARGARET              NY         11580401         WEITZ & LUXENBERG, PC                                GARNER               CAROLYN T             NY         10729499         WEITZ & LUXENBERG, PC
GANCI                MARGARET              NY         01111222         WEITZ & LUXENBERG, PC                                GARNER               CLARA                 NY         06996            WEITZ & LUXENBERG, PC
GANCI                RICHARD S             NY         10587502         WEITZ & LUXENBERG, PC                                GARNER               DENNIS                NY         10729499         WEITZ & LUXENBERG, PC
GANDOLFINI           MICHELE               NY         19015210         WEITZ & LUXENBERG, PC                                GARNER               MOSES L               NY         06996            WEITZ & LUXENBERG, PC
GANDOLFINI           VERA                  NY         19015210         WEITZ & LUXENBERG, PC                                GARNER               PERRY M               NY         12433902         WEITZ & LUXENBERG, PC
GANDOLFO             JOHN CARLO            NY         01111230         WEITZ & LUXENBERG, PC                                GAROFALO             CHARLES U             NY         10613100         WEITZ & LUXENBERG, PC
GANDOLFO             THERESA G             NY         01111230         WEITZ & LUXENBERG, PC                                GAROFALO             FRANK A               NY         10729399         WEITZ & LUXENBERG, PC
GANDY                CAROL                 NY         19014910         WEITZ & LUXENBERG, PC                                GAROFALO             PIA                   NY         10613100         WEITZ & LUXENBERG, PC
GANDY                HENRY                 NY         1902312019       WEITZ & LUXENBERG, PC                                GAROFALO             VELIA M               NY         10729399         WEITZ & LUXENBERG, PC
GANDY                JIM                   NY         19014910         WEITZ & LUXENBERG, PC                                GAROMO               VERONICA R            NY         10630002         WEITZ & LUXENBERG, PC
GANNON               MARTIN A              NY         98118907         WEITZ & LUXENBERG, PC                                GARRAND              JUDY                  NY         10613000         WEITZ & LUXENBERG, PC
GANNON               PATRICIA              NY         98118907         WEITZ & LUXENBERG, PC                                GARRAND              THOMAS J              NY         10613000         WEITZ & LUXENBERG, PC
GANSTER              THERESA L             NY         1900872017       WEITZ & LUXENBERG, PC                                GARRASI              ANTHONY               NY         99107230         WEITZ & LUXENBERG, PC
GANT                 ALBERT E              NY         CV020248         WEITZ & LUXENBERG, PC                                GARREN               JOAN C                NY         11580501         WEITZ & LUXENBERG, PC
GANT                 FREDDIE               NY         CV020248         WEITZ & LUXENBERG, PC                                GARREN               JOAN C                NY         01111222         WEITZ & LUXENBERG, PC
GANTZ                ELNORA P              NY         19024410         WEITZ & LUXENBERG, PC                                GARREN               JOHN                  NY         11580501         WEITZ & LUXENBERG, PC
GANTZ                KIRK                  NY         19024410         WEITZ & LUXENBERG, PC                                GARREN               JOHN                  NY         01111222         WEITZ & LUXENBERG, PC
GARAY                DANIEL E              NY         10613700         WEITZ & LUXENBERG, PC                                GARRETT              CARROLL R             NY         CV024610         WEITZ & LUXENBERG, PC
GARAY                DIANA                 NY         10613700         WEITZ & LUXENBERG, PC                                GARRETT              DONALD                NY         10587202         WEITZ & LUXENBERG, PC
GARBACZ              RICHARD               NY         10931103         WEITZ & LUXENBERG, PC                                GARRETT              EARL M                NY         12170402         WEITZ & LUXENBERG, PC
GARBACZ              SUSAN                 NY         10931103         WEITZ & LUXENBERG, PC                                GARRETT              ERNEST A              NY         CV020249         WEITZ & LUXENBERG, PC
GARBARINO            ELENA                 NY         01111225         WEITZ & LUXENBERG, PC                                GARRETT              GLADYS                NY         11520803         WEITZ & LUXENBERG, PC
GARBARINO            ELENA                 NY         10033604         WEITZ & LUXENBERG, PC                                GARRETT              HOWARD A              NY         11520803         WEITZ & LUXENBERG, PC
GARBARINO            JOHN                  NY         01111225         WEITZ & LUXENBERG, PC                                GARRETT              KENT A                NY         11119299         WEITZ & LUXENBERG, PC
GARBARINO            JOHN                  NY         10033604         WEITZ & LUXENBERG, PC                                GARRETT              NANCY                 NY         12170402         WEITZ & LUXENBERG, PC
GARBUTT              JOHN E                NY         10613600         WEITZ & LUXENBERG, PC                                GARRETT              NEBAHAT               NY         12100401         WEITZ & LUXENBERG, PC
GARBUTT              PENELOPE              NY         10613600         WEITZ & LUXENBERG, PC                                GARRETT              NEBAHAT               NY         10604302         WEITZ & LUXENBERG, PC
GARCES               MARIO                 NY         10613500         WEITZ & LUXENBERG, PC                                GARRETT              SHIRLEY               NY         CV020249         WEITZ & LUXENBERG, PC
GARCES               NILDA                 NY         10613500         WEITZ & LUXENBERG, PC                                GARRETT              WILLIA MAE            NY         11119299         WEITZ & LUXENBERG, PC
GARCIA               DAMARIS               NY         10694299         WEITZ & LUXENBERG, PC                                GARRETT              WILLIAM D             NY         12100401         WEITZ & LUXENBERG, PC
GARCIA               JOSE L                NY         11244100         WEITZ & LUXENBERG, PC                                GARRETT              WILLIAM D             NY         10604302         WEITZ & LUXENBERG, PC
GARCIA               LUCILA                NY         10613400         WEITZ & LUXENBERG, PC                                GARRISON             BONNIE                NY         10930803         WEITZ & LUXENBERG, PC
GARCIA               LUZ                   NY         10587202         WEITZ & LUXENBERG, PC                                GARRISON             JOHN P                NY         10930803         WEITZ & LUXENBERG, PC
GARCIA               LYDIA                 NY         12043101         WEITZ & LUXENBERG, PC                                GARROW               GERARD L              NY         10722002         WEITZ & LUXENBERG, PC
GARCIA               MARCELO R             NY         10613400         WEITZ & LUXENBERG, PC                                GARROW               JOHN ARTHUR           NY         10793802         WEITZ & LUXENBERG, PC
GARCIA               OVANIO                NY         12043101         WEITZ & LUXENBERG, PC                                GARROW               VIOLA W               NY         10793802         WEITZ & LUXENBERG, PC
GARCIA               REINALDO R            NY         99107243         WEITZ & LUXENBERG, PC                                GARTTNER             CLAIRE                NY         01111222         WEITZ & LUXENBERG, PC
GARCIA               RICHARD A             NY         10587202         WEITZ & LUXENBERG, PC                                GARTTNER             FREDERICK G           NY         01111222         WEITZ & LUXENBERG, PC
GARCIA               SERGIO BENJAMIN       NY         10694299         WEITZ & LUXENBERG, PC                                GARVEY               EILEEN                NY         12043201         WEITZ & LUXENBERG, PC
GARDNER              CAROL ANN             NY         02106692         WEITZ & LUXENBERG, PC                                GARVEY               JAMES                 NY         CV035280         WEITZ & LUXENBERG, PC
GARDNER              FRANCIS JAMES         NY         02106692         WEITZ & LUXENBERG, PC                                GARVEY               JOHN E                NY         99107231         WEITZ & LUXENBERG, PC
GARDNER              GARY                  NY         02105716         WEITZ & LUXENBERG, PC                                GARVEY               JOHN J                NY         12043201         WEITZ & LUXENBERG, PC
GARDNER              GEORGE M              NY         02106694         WEITZ & LUXENBERG, PC                                GARVEY               JOHN JOSEPH           NY         99107231         WEITZ & LUXENBERG, PC
GARDNER              JOSEPH J              NY         10696302         WEITZ & LUXENBERG, PC                                GARVEY               MARY                  NY         CV035280         WEITZ & LUXENBERG, PC
GARDNER              MARIE A               NY         10613300         WEITZ & LUXENBERG, PC                                GARVEY               THOMAS                NY         10612900         WEITZ & LUXENBERG, PC
GARDNER              MARY JANE             NY         02106692         WEITZ & LUXENBERG, PC                                GARWACKI             JOHN J                NY         10468900         WEITZ & LUXENBERG, PC
GARDNER              PATRICIA              NY         10613200         WEITZ & LUXENBERG, PC                                GARWACKI             MARY                  NY         10468900         WEITZ & LUXENBERG, PC
GARDNER              RALPH A               NY         10613300         WEITZ & LUXENBERG, PC                                GARY                 CAROLE                NY         12100401         WEITZ & LUXENBERG, PC
GARDNER              RAYMOND CLARENCE      NY         02106692         WEITZ & LUXENBERG, PC                                GARY                 CAROLE                NY         10604202         WEITZ & LUXENBERG, PC
GARDNER              ROBERT F              NY         10613200         WEITZ & LUXENBERG, PC                                GARY                 RICHARD S             NY         12100401         WEITZ & LUXENBERG, PC
GARFIELD             HOWARD                NY         10729599         WEITZ & LUXENBERG, PC                                GARY                 RICHARD S             NY         10604202         WEITZ & LUXENBERG, PC
GARFIELD             ROSE ANN              NY         10729599         WEITZ & LUXENBERG, PC                                GARY                 WILLIE JAMES          NY         CV016523         WEITZ & LUXENBERG, PC
GARFINKEL            SAMUEL                NY         1900782014       WEITZ & LUXENBERG, PC                                GARZANITI            JOSEPHINE             NY         10612800         WEITZ & LUXENBERG, PC
GARGAN               JOHN                  NY         11885998         WEITZ & LUXENBERG, PC                                GARZANITI            MICHAEL               NY         10612800         WEITZ & LUXENBERG, PC
GARGAN               MARY                  NY         11885998         WEITZ & LUXENBERG, PC                                GASI                 MARIA                 NY         10333106         WEITZ & LUXENBERG, PC
GARGANO              PATRICK               NY         10039603         WEITZ & LUXENBERG, PC                                GASI                 ZELKO                 NY         10333106         WEITZ & LUXENBERG, PC
GARGIULO             ANDREW                NY         10071501         WEITZ & LUXENBERG, PC                                GASKA                PATRICIA              NY         10071601         WEITZ & LUXENBERG, PC
GARGIULO             DIANE TAYLOR          NY         10219099         WEITZ & LUXENBERG, PC                                GASKA                ROBERT                NY         10071601         WEITZ & LUXENBERG, PC
GARGIULO             JOAN                  NY         10071501         WEITZ & LUXENBERG, PC                                GASPARINI            CARMELA A             NY         10128207         WEITZ & LUXENBERG, PC
GARGIULO             MARIE                 NY         02107102         WEITZ & LUXENBERG, PC                                GASPARINI            DOMINICK D            NY         10128207         WEITZ & LUXENBERG, PC
GARGIULO             ROBERT A              NY         02107102         WEITZ & LUXENBERG, PC                                GASPARRE             LUCY ANN              NY         01111236         WEITZ & LUXENBERG, PC
GARGIULO             SALVATORE LOUIS       NY         10219099         WEITZ & LUXENBERG, PC                                GASPARRE             LUCY ANN              NY         12184901         WEITZ & LUXENBERG, PC
GARGUIOLO            JOHN M                NY         10710102         WEITZ & LUXENBERG, PC                                GASPARRE             PAUL J                NY         01111236         WEITZ & LUXENBERG, PC
GARICA               VIRGINIA              NY         99107243         WEITZ & LUXENBERG, PC                                GASPARRE             PAUL J                NY         12184901         WEITZ & LUXENBERG, PC
GARITANO             ANTHONY T             NY         12668602         WEITZ & LUXENBERG, PC                                GASSER               ALBERTA               NY         11159403         WEITZ & LUXENBERG, PC
GARLAND              HORACE L              NY         10233306         WEITZ & LUXENBERG, PC                                GASSER               DEBORAH VERDA         NY         01CIV3910        WEITZ & LUXENBERG, PC
GARLAND              MARIE                 NY         99113990         WEITZ & LUXENBERG, PC                                GASSER               JULIUS                NY         11159403         WEITZ & LUXENBERG, PC
GARLAND              SHERRY M              NY         10233306         WEITZ & LUXENBERG, PC                                GASTON               BENNY                 NY         10612700         WEITZ & LUXENBERG, PC
GARLAND              WILLIAM               NY         99113990         WEITZ & LUXENBERG, PC                                GASTON               CARMELLA              NY         10612700         WEITZ & LUXENBERG, PC
GARNEAU              PAULA                 NY         10680702         WEITZ & LUXENBERG, PC                                GATEHOUSE            EDWARD G              NY         10489705         WEITZ & LUXENBERG, PC
GARNEAU              TODD                  NY         10680702         WEITZ & LUXENBERG, PC                                GATEHOUSE            EDWARD S              NY         10489705         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 932
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 267 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GATEHOUSE            FRANCES               NY         10489705         WEITZ & LUXENBERG, PC                                GEIS                 ALEXIS                NY         01111234         WEITZ & LUXENBERG, PC
GATELY               MARTIN                NY         1901902016       WEITZ & LUXENBERG, PC                                GEIS                 ALEXIS                NY         11924001         WEITZ & LUXENBERG, PC
GATELY               MARTIN                NY         163323           WEITZ & LUXENBERG, PC                                GEIS                 WILLIAM J             NY         01111234         WEITZ & LUXENBERG, PC
GATELY               MARY ELLEN            NY         1901902016       WEITZ & LUXENBERG, PC                                GEIS                 WILLIAM J             NY         11924001         WEITZ & LUXENBERG, PC
GATELY               MARY ELLEN            NY         163323           WEITZ & LUXENBERG, PC                                GEISER               AUGUST F              NY         12444102         WEITZ & LUXENBERG, PC
GATES                GEORGE H              NY         12042901         WEITZ & LUXENBERG, PC                                GEISLER              MARIANNE KOZER        NY         02105716         WEITZ & LUXENBERG, PC
GATES                GEORGE H              NY         10061702         WEITZ & LUXENBERG, PC                                GEISLER              MARIANNE KOZER        NY         11167402         WEITZ & LUXENBERG, PC
GATES                HARRY C               NY         10710102         WEITZ & LUXENBERG, PC                                GELINEAULT           ANTOINETTE            NY         10729299         WEITZ & LUXENBERG, PC
GATES                HENRY E               NY         12197899         WEITZ & LUXENBERG, PC                                GELINEAULT           GEORGE H              NY         10729299         WEITZ & LUXENBERG, PC
GATES                HOWARD PAUL           NY         10612600         WEITZ & LUXENBERG, PC                                GELLER               EDWARD                NY         10784307         WEITZ & LUXENBERG, PC
GATES                MARY                  NY         12197899         WEITZ & LUXENBERG, PC                                GELLER               HELEN                 NY         10784307         WEITZ & LUXENBERG, PC
GATES                RENA                  NY         12042901         WEITZ & LUXENBERG, PC                                GELONI               MARIO                 NY         09190405         WEITZ & LUXENBERG, PC
GATES                RENA                  NY         10061702         WEITZ & LUXENBERG, PC                                GENAWAY              JOHN R                NY         02106692         WEITZ & LUXENBERG, PC
GATES                ROSEMARIE             NY         10612600         WEITZ & LUXENBERG, PC                                GENCO                RUSSELL B             NY         10073103         WEITZ & LUXENBERG, PC
GATHANY              MICHAEL J             NY         10670602         WEITZ & LUXENBERG, PC                                GENEVIE              DAVID A               NY         10886502         WEITZ & LUXENBERG, PC
GATHANY              MICHAEL J             NY         11485402         WEITZ & LUXENBERG, PC                                GENEVIE              NANCY L               NY         10886502         WEITZ & LUXENBERG, PC
GATHEN               STACI                 NY         11380502         WEITZ & LUXENBERG, PC                                GENIS                ERMA                  NY         99107242         WEITZ & LUXENBERG, PC
GATHEN               STACI                 NY         02106690         WEITZ & LUXENBERG, PC                                GENIS                STEPHEN R             NY         99107242         WEITZ & LUXENBERG, PC
GATHERS              ABRAHAM               NY         12301001         WEITZ & LUXENBERG, PC                                GENNARO              DOMINICK              NY         10101805         WEITZ & LUXENBERG, PC
GATLIN               DIANA                 NY         CV013921         WEITZ & LUXENBERG, PC                                GENNOSA              ANN                   NY         01111236         WEITZ & LUXENBERG, PC
GATLIN               JOHN DARRELL          NY         CV013921         WEITZ & LUXENBERG, PC                                GENNOSA              JOEL ARTHUR           NY         01111236         WEITZ & LUXENBERG, PC
GATLING              DAVID L               NY         1903622016       WEITZ & LUXENBERG, PC                                GENOVESE             DOMINIC C             NY         10710002         WEITZ & LUXENBERG, PC
GATLING              LINDA                 NY         1903622016       WEITZ & LUXENBERG, PC                                GENOVESE             HELENE                NY         10710002         WEITZ & LUXENBERG, PC
GATTI                GARY A                NY         10357602         WEITZ & LUXENBERG, PC                                GENOVESE             MARGARET              NY         10652204         WEITZ & LUXENBERG, PC
GATTIN               DONALD M              NY         01CIV3901        WEITZ & LUXENBERG, PC                                GENOVESE             MARION L              NY         1509872016       WEITZ & LUXENBERG, PC
GATTIN               DONNA                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                GENOVESE             PAMELA L              NY         1509872016       WEITZ & LUXENBERG, PC
GAUDAUR              DAVID                 NY         10672500         WEITZ & LUXENBERG, PC                                GENOVESE             THOMAS                NY         10652204         WEITZ & LUXENBERG, PC
GAUDETTE             SARAH                 NY         10469000         WEITZ & LUXENBERG, PC                                GENOVESI             ANNA                  NY         10072101         WEITZ & LUXENBERG, PC
GAUDETTE             WAYNE J               NY         10469000         WEITZ & LUXENBERG, PC                                GENOVESI             SANTO                 NY         10072101         WEITZ & LUXENBERG, PC
GAUDIO               JOHN                  NY         98118893         WEITZ & LUXENBERG, PC                                GENTHNER             GARY                  NY         10670402         WEITZ & LUXENBERG, PC
GAUDIO               TIMOTHY W             NY         02107099         WEITZ & LUXENBERG, PC                                GENTHNER             GARY                  NY         11036002         WEITZ & LUXENBERG, PC
GAUDIO               TIMOTHY W             NY         11758402         WEITZ & LUXENBERG, PC                                GENTHNER             THOMAS C              NY         10670402         WEITZ & LUXENBERG, PC
GAUGHRAN             ARTHUR P              NY         11032706         WEITZ & LUXENBERG, PC                                GENTHNER             THOMAS C              NY         11036002         WEITZ & LUXENBERG, PC
GAUGHRAN             ELINOR M              NY         11032706         WEITZ & LUXENBERG, PC                                GENTILE              ELEANOR               NY         10670402         WEITZ & LUXENBERG, PC
GAUL                 CATHERINE             NY         10710002         WEITZ & LUXENBERG, PC                                GENTILE              JOHN D                NY         11887698         WEITZ & LUXENBERG, PC
GAUL                 WILLIAM F             NY         10710002         WEITZ & LUXENBERG, PC                                GENTILE              JOSEPH                NY         11887798         WEITZ & LUXENBERG, PC
GAURIN               ELIAS J               NY         12788702         WEITZ & LUXENBERG, PC                                GENTILE              JOSEPH D              NY         10670402         WEITZ & LUXENBERG, PC
GAURIN               ELIAS J               NY         10215703         WEITZ & LUXENBERG, PC                                GENTILE              LORENZO               NY         10469100         WEITZ & LUXENBERG, PC
GAURIN               GLORIA                NY         12788702         WEITZ & LUXENBERG, PC                                GENTILE              MADELINE              NY         11887798         WEITZ & LUXENBERG, PC
GAURIN               GLORIA                NY         10215703         WEITZ & LUXENBERG, PC                                GENTILE              PATRICIA              NY         11887698         WEITZ & LUXENBERG, PC
GAUTHIER             JOSEPH                NY         10217402         WEITZ & LUXENBERG, PC                                GENTILE              ROSE                  NY         10469100         WEITZ & LUXENBERG, PC
GAVAN                BERNARD GERARD        NY         10672300         WEITZ & LUXENBERG, PC                                GENTILE              TERESA                NY         10889903         WEITZ & LUXENBERG, PC
GAVAN                PATRICIA              NY         10672300         WEITZ & LUXENBERG, PC                                GENTILE              THOMAS E              NY         10889903         WEITZ & LUXENBERG, PC
GAVEL                JOSEPH J              NY         10672200         WEITZ & LUXENBERG, PC                                GENTILELLA           CAROLYN F             NY         10397704         WEITZ & LUXENBERG, PC
GAVEL                KATHY                 NY         10672200         WEITZ & LUXENBERG, PC                                GENTILELLA           NICHOLAS M            NY         10397704         WEITZ & LUXENBERG, PC
GAYDEK               FRANCES               NY         10672100         WEITZ & LUXENBERG, PC                                GENTILUOMO           DOMINICK P            NY         10672000         WEITZ & LUXENBERG, PC
GAYDEK               JOSEPH                NY         10672100         WEITZ & LUXENBERG, PC                                GENTILUOMO           DOROTHY               NY         10672000         WEITZ & LUXENBERG, PC
GAYDOS               MICHAEL E             NY         1900732015       WEITZ & LUXENBERG, PC                                GENTRY               CAROL                 NY         CV018405         WEITZ & LUXENBERG, PC
GAYNAIR              DENNIS G              NY         10071901         WEITZ & LUXENBERG, PC                                GENTRY               DELMER TROY           NY         CV017493         WEITZ & LUXENBERG, PC
GEARMAN              JOHN H                NY         10571402         WEITZ & LUXENBERG, PC                                GENTRY               HORACE D              NY         CV018405         WEITZ & LUXENBERG, PC
GEARY                DANIEL J              NY         10716902         WEITZ & LUXENBERG, PC                                GENUS                DENNIS                NY         10847003         WEITZ & LUXENBERG, PC
GEARY                HARVEY                NY         10072001         WEITZ & LUXENBERG, PC                                GENUS                MAVIS                 NY         10847003         WEITZ & LUXENBERG, PC
GEARY                MARY                  NY         10072001         WEITZ & LUXENBERG, PC                                GEORGE               ALFRED P              NY         12693402         WEITZ & LUXENBERG, PC
GEARY                MARYANN               NY         10710002         WEITZ & LUXENBERG, PC                                GEORGE               DOLORES M             NY         10722202         WEITZ & LUXENBERG, PC
GEARY                VIRGINIA A            NY         10716902         WEITZ & LUXENBERG, PC                                GEORGE               ELLEN                 NY         11026902         WEITZ & LUXENBERG, PC
GEARY                WILLIAM J             NY         10710002         WEITZ & LUXENBERG, PC                                GEORGE               ELLEN                 NY         12676602         WEITZ & LUXENBERG, PC
GEASON HULBERT       JEANNE ROOT           NY         1905312013       WEITZ & LUXENBERG, PC                                GEORGE               ELLIS S               NY         10671900         WEITZ & LUXENBERG, PC
GEASON HULBERT       JEANNE ROOT           NY         1904312013       WEITZ & LUXENBERG, PC                                GEORGE               JAMES A               NY         10722202         WEITZ & LUXENBERG, PC
GEBHARDT             GEORGE                NY         19034009         WEITZ & LUXENBERG, PC                                GEORGE               JOHN W                NY         10729199         WEITZ & LUXENBERG, PC
GEBHARDT             KATHLEEN              NY         19034009         WEITZ & LUXENBERG, PC                                GEORGE               MARY                  NY         12693402         WEITZ & LUXENBERG, PC
GECK                 MARTIN                NY         12801902         WEITZ & LUXENBERG, PC                                GEORGE               PATRICIA              NY         99107241         WEITZ & LUXENBERG, PC
GECK                 MARYANN               NY         12801902         WEITZ & LUXENBERG, PC                                GEORGE               PATRICIA              NY         CV018330         WEITZ & LUXENBERG, PC
GEE                  LEWIS                 NY         12209297         WEITZ & LUXENBERG, PC                                GEORGE               RAFFAELE J            NY         99107241         WEITZ & LUXENBERG, PC
GEHL                 EVELYN                NY         10835200         WEITZ & LUXENBERG, PC                                GEORGE               RANDELL C             NY         CV018330         WEITZ & LUXENBERG, PC
GEHL                 JAMES J               NY         10670402         WEITZ & LUXENBERG, PC                                GEORGE               ROSE                  NY         10671900         WEITZ & LUXENBERG, PC
GEHL                 JANE                  NY         10670402         WEITZ & LUXENBERG, PC                                GEORGE               SADIE                 NY         10729199         WEITZ & LUXENBERG, PC
GEHL                 JOSEPH                NY         10835200         WEITZ & LUXENBERG, PC                                GEORGE               THOMAS D              NY         11026902         WEITZ & LUXENBERG, PC
GEIER                FREDERICK W           NY         10085503         WEITZ & LUXENBERG, PC                                GEORGE               THOMAS D              NY         12676602         WEITZ & LUXENBERG, PC
GEIER                FREDERICK W           NY         11159105         WEITZ & LUXENBERG, PC                                GEORGE               VERNON CECIL          NY         CV021312         WEITZ & LUXENBERG, PC
GEIER                MARJORIE              NY         10085503         WEITZ & LUXENBERG, PC                                GEORGENS             KENNETH               NY         01111233         WEITZ & LUXENBERG, PC
GEIER                MARJORIE              NY         11159105         WEITZ & LUXENBERG, PC                                GEORGER              FRANK                 NY         10671700         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 933
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 268 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GEORGER              KATHY                 NY         10671700         WEITZ & LUXENBERG, PC                                GERSBACHER           JOSEPH L              NY         I20019443        WEITZ & LUXENBERG, PC
GEORGES              JOHN P                NY         12213801         WEITZ & LUXENBERG, PC                                GERSBACHER           JOSEPH L              NY         02120709         WEITZ & LUXENBERG, PC
GEORGES              MARY ELLEN            NY         12213801         WEITZ & LUXENBERG, PC                                GERSON               CONSTANCE M           NY         10949400         WEITZ & LUXENBERG, PC
GEOSITS              JANET POMPOSELLO      NY         01111233         WEITZ & LUXENBERG, PC                                GERSON               CONSTANCE M           NY         99122190         WEITZ & LUXENBERG, PC
GEPPERT              JEAN                  NY         11889598         WEITZ & LUXENBERG, PC                                GERVAIS              CELESTE               NY         12039101         WEITZ & LUXENBERG, PC
GEPPERT              WILLIAM A             NY         11889598         WEITZ & LUXENBERG, PC                                GERVAIS              CLAUDE                NY         12039101         WEITZ & LUXENBERG, PC
GERAGHTY             DOMINICK              NY         12305201         WEITZ & LUXENBERG, PC                                GERVAIS              OCTAVE                NY         19039209         WEITZ & LUXENBERG, PC
GERAGHTY             DOMINICK              NY         01111230         WEITZ & LUXENBERG, PC                                GERWITZ              BEVERLY               NY         11169000         WEITZ & LUXENBERG, PC
GERAGHTY             DYNA                  NY         12305201         WEITZ & LUXENBERG, PC                                GERWITZ              ROBERT V              NY         11169000         WEITZ & LUXENBERG, PC
GERAGHTY             DYNA                  NY         01111230         WEITZ & LUXENBERG, PC                                GESSMAN              ALFONS J              NY         10740302         WEITZ & LUXENBERG, PC
GERAGHTY             JAMES JOSEPH          NY         10671600         WEITZ & LUXENBERG, PC                                GESSMAN              ROSALIE K             NY         10740302         WEITZ & LUXENBERG, PC
GERAGHTY             JEANETTE              NY         10671600         WEITZ & LUXENBERG, PC                                GESTACHER            KATHY                 NY         11475205         WEITZ & LUXENBERG, PC
GERAGHTY             MARY                  NY         11123101         WEITZ & LUXENBERG, PC                                GETMAN               FRANCIS DAVID         NY         11026802         WEITZ & LUXENBERG, PC
GERAGHTY             MARY                  NY         12057101         WEITZ & LUXENBERG, PC                                GETMAN               JEANNE M              NY         11026802         WEITZ & LUXENBERG, PC
GERAGHTY             RAYMOND M             NY         1901492018       WEITZ & LUXENBERG, PC                                GETZ                 ARLENE                NY         6058142016       WEITZ & LUXENBERG, PC
GERANI               ALFONSE               NY         10072201         WEITZ & LUXENBERG, PC                                GEYER                CHARLES W             NY         12444102         WEITZ & LUXENBERG, PC
GERANI               MARY                  NY         10072201         WEITZ & LUXENBERG, PC                                GEYER                FRED W                NY         10926103         WEITZ & LUXENBERG, PC
GERARDI              DOLORES               NY         10673400         WEITZ & LUXENBERG, PC                                GEYER                MARIE V               NY         12444102         WEITZ & LUXENBERG, PC
GERARDI              JOSEPH C              NY         I20019421        WEITZ & LUXENBERG, PC                                GEYER                THOMAS P              NY         01111227         WEITZ & LUXENBERG, PC
GERARDI              JOSEPH C              NY         02120709         WEITZ & LUXENBERG, PC                                GHEZZI               ELVIA                 NY         10673300         WEITZ & LUXENBERG, PC
GERARDI              ROSEMARY              NY         I20019421        WEITZ & LUXENBERG, PC                                GHEZZI               ERNEST                NY         10673300         WEITZ & LUXENBERG, PC
GERARDI              ROSEMARY              NY         02120709         WEITZ & LUXENBERG, PC                                GHIANNI              JOSEPH V              NY         10723899         WEITZ & LUXENBERG, PC
GERARDI              SALVATORE             NY         10673400         WEITZ & LUXENBERG, PC                                GHOSTLAW             COLIN JOHN            NY         02106707         WEITZ & LUXENBERG, PC
GERBER               EDWARD N              NY         12668702         WEITZ & LUXENBERG, PC                                GHOSTLAW             CONNIE J              NY         10320403         WEITZ & LUXENBERG, PC
GERBINO              GASPER P              NY         12039101         WEITZ & LUXENBERG, PC                                GHOSTLAW             CONNIE J              NY         12444102         WEITZ & LUXENBERG, PC
GERBINO              GASPER P              NY         10430202         WEITZ & LUXENBERG, PC                                GHOSTLAW             KENNETH JAMES         NY         10696302         WEITZ & LUXENBERG, PC
GERBINO              GRACE                 NY         12039101         WEITZ & LUXENBERG, PC                                GHOSTLAW             MARLENE J             NY         02106707         WEITZ & LUXENBERG, PC
GERBINO              GRACE                 NY         10430202         WEITZ & LUXENBERG, PC                                GHOSTLAW             RAYMOND J             NY         12444102         WEITZ & LUXENBERG, PC
GERCHARIO            AGNES                 NY         10072301         WEITZ & LUXENBERG, PC                                GHOSTLAW             RAYMOND J             NY         10320403         WEITZ & LUXENBERG, PC
GERCHARIO            WALTER J              NY         10072301         WEITZ & LUXENBERG, PC                                GIACCHINO            BEN J                 NY         10673200         WEITZ & LUXENBERG, PC
GERDES               DIANE M               NY         10860102         WEITZ & LUXENBERG, PC                                GIACCHINO            BEN J                 NY         11888098         WEITZ & LUXENBERG, PC
GERDES               HOWARD M              NY         10860102         WEITZ & LUXENBERG, PC                                GIACCHINO            JOSEPH L              NY         10673200         WEITZ & LUXENBERG, PC
GERDIK               EDITH                 NY         02107007         WEITZ & LUXENBERG, PC                                GIACCHINO            JOSEPH L              NY         11888098         WEITZ & LUXENBERG, PC
GERDIK               RICHARD S             NY         02107007         WEITZ & LUXENBERG, PC                                GIACCONE             PHILIP D              NY         11027002         WEITZ & LUXENBERG, PC
GERDING              NANCY                 NY         CV014228         WEITZ & LUXENBERG, PC                                GIACHETTI            FRED C                NY         12057503         WEITZ & LUXENBERG, PC
GERGENTI             MARGARET              NY         10469200         WEITZ & LUXENBERG, PC                                GIACHETTI            MARJORIE              NY         12057503         WEITZ & LUXENBERG, PC
GERGENTI             VINCENT J             NY         10469200         WEITZ & LUXENBERG, PC                                GIACOMO              PIETRA                NY         99105693         WEITZ & LUXENBERG, PC
GERKEN               ELLEN                 NY         01121099         WEITZ & LUXENBERG, PC                                GIACOPINO            JOAN                  NY         98118880         WEITZ & LUXENBERG, PC
GERKEN               ELLEN                 NY         10852402         WEITZ & LUXENBERG, PC                                GIACOPINO            JOSEPH L              NY         98118880         WEITZ & LUXENBERG, PC
GERKEN               WILFRED C             NY         01121099         WEITZ & LUXENBERG, PC                                GIAIMO               ANTHONY               NY         10011602         WEITZ & LUXENBERG, PC
GERKEN               WILFRED C             NY         10852402         WEITZ & LUXENBERG, PC                                GIAIMO               MARY                  NY         10011602         WEITZ & LUXENBERG, PC
GERLACH              KARL P                NY         11221302         WEITZ & LUXENBERG, PC                                GIALELLA             CATHERINE I           NY         10673100         WEITZ & LUXENBERG, PC
GERLACH              MARIAN                NY         12507502         WEITZ & LUXENBERG, PC                                GIALELLA             JOHN JR               NY         10673100         WEITZ & LUXENBERG, PC
GERLACH              ROBERT E              NY         12507502         WEITZ & LUXENBERG, PC                                GIALLANZO            CARL F                NY         11632603         WEITZ & LUXENBERG, PC
GERLACH              VALERIE               NY         11221302         WEITZ & LUXENBERG, PC                                GIALLANZO            LORETTA               NY         11632603         WEITZ & LUXENBERG, PC
GERLANDO             BARBARA               NY         19014810         WEITZ & LUXENBERG, PC                                GIALLORETO           FRANK M               NY         12668502         WEITZ & LUXENBERG, PC
GERLANDO             DAMON                 NY         19014810         WEITZ & LUXENBERG, PC                                GIAMATTEO            ARLENE                NY         10724499         WEITZ & LUXENBERG, PC
GERLINSKY            GEORGE                NY         12039601         WEITZ & LUXENBERG, PC                                GIAMATTEO            LOUIS                 NY         10724499         WEITZ & LUXENBERG, PC
GERLINSKY            MADELINE              NY         12039601         WEITZ & LUXENBERG, PC                                GIAMBALVO            ANGELO                NY         10622202         WEITZ & LUXENBERG, PC
GERMAIN              CLAUDE                NY         10023403         WEITZ & LUXENBERG, PC                                GIAMBATTISTA         ALBERT JOSEPH         NY         10673000         WEITZ & LUXENBERG, PC
GERMAIN              JANICE                NY         10023403         WEITZ & LUXENBERG, PC                                GIAMBATTISTA         AUDREY                NY         10673000         WEITZ & LUXENBERG, PC
GERMAIN              JEAN ANN              NY         10670802         WEITZ & LUXENBERG, PC                                GIAMBRA              MICHAEL A             NY         10699902         WEITZ & LUXENBERG, PC
GERMAIN              JEAN ANN              NY         11606102         WEITZ & LUXENBERG, PC                                GIAMBRONE            ANN T                 NY         10390604         WEITZ & LUXENBERG, PC
GERMAIN              WILLIAN J             NY         10670802         WEITZ & LUXENBERG, PC                                GIAMBRONE            ANTHONY P             NY         10390604         WEITZ & LUXENBERG, PC
GERMAIN              WILLIAN J             NY         11606102         WEITZ & LUXENBERG, PC                                GIAMBRONE            DOLORES               NY         00110803         WEITZ & LUXENBERG, PC
GERMAN               JACK                  NY         10072401         WEITZ & LUXENBERG, PC                                GIAMBRONE            JOSEPH                NY         00110803         WEITZ & LUXENBERG, PC
GERMAN               JACK                  NY         11939300         WEITZ & LUXENBERG, PC                                GIAMELLA             HELEN                 NY         10134307         WEITZ & LUXENBERG, PC
GERMAN               PAULINE G             NY         10242202         WEITZ & LUXENBERG, PC                                GIAMELLA             THOMAS                NY         10134307         WEITZ & LUXENBERG, PC
GERMAN               ROBERT W              NY         10242202         WEITZ & LUXENBERG, PC                                GIAMMARINO           CARMIN                NY         1904502010       WEITZ & LUXENBERG, PC
GERMAN               ROBERTA M             NY         10072401         WEITZ & LUXENBERG, PC                                GIAMO                ANGELINA              NY         10672900         WEITZ & LUXENBERG, PC
GERMAN               ROBERTA M             NY         11939300         WEITZ & LUXENBERG, PC                                GIAMO                SAMUEL T              NY         10672900         WEITZ & LUXENBERG, PC
GERMANI              ASSUNTA               NY         11707100         WEITZ & LUXENBERG, PC                                GIANAZZA             HAZEL                 NY         10672800         WEITZ & LUXENBERG, PC
GERMANI              BERNARDO              NY         11707100         WEITZ & LUXENBERG, PC                                GIANAZZA             RONALD                NY         10672800         WEITZ & LUXENBERG, PC
GERO                 MARY                  NY         11642801         WEITZ & LUXENBERG, PC                                GIANCARLO            GRACE                 NY         10470300         WEITZ & LUXENBERG, PC
GERO                 MARY                  NY         01111219         WEITZ & LUXENBERG, PC                                GIANCARLO            SAM L                 NY         10470300         WEITZ & LUXENBERG, PC
GERO                 NICHOLAS T            NY         11642801         WEITZ & LUXENBERG, PC                                GIANFRANCESCO        CARMINE               NY         10871401         WEITZ & LUXENBERG, PC
GERO                 NICHOLAS T            NY         01111219         WEITZ & LUXENBERG, PC                                GIANFRANCESCO        DELIA                 NY         10871401         WEITZ & LUXENBERG, PC
GEROW                LINDA                 NY         10717701         WEITZ & LUXENBERG, PC                                GIANGASPRO           ELIZABETH             NY         12039401         WEITZ & LUXENBERG, PC
GEROW                LINDA                 NY         11937600         WEITZ & LUXENBERG, PC                                GIANGASPRO           PETER                 NY         12039401         WEITZ & LUXENBERG, PC
GERRETSEN            CHARLES               NY         11168900         WEITZ & LUXENBERG, PC                                GIANGRANDE           CARMELA MARY          NY         11021800         WEITZ & LUXENBERG, PC
GERRETSEN            COLLEEN               NY         11168900         WEITZ & LUXENBERG, PC                                GIANGRANDE           ERNEST ANTHONY        NY         11021800         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 934
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 269 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GIANGRANDE           MARGARET              NY         1900282015       WEITZ & LUXENBERG, PC                                GIGLIONE             DOMINICK C            NY         02107102         WEITZ & LUXENBERG, PC
GIANGRANDE           SALVATORE             NY         1900282015       WEITZ & LUXENBERG, PC                                GIGLIONE             SUSAN                 NY         02107102         WEITZ & LUXENBERG, PC
GIANNATASIO          MARIE                 NY         01111225         WEITZ & LUXENBERG, PC                                GIL                  ALFREDO               NY         10674100         WEITZ & LUXENBERG, PC
GIANNATASIO          PELLEGRINO            NY         01111225         WEITZ & LUXENBERG, PC                                GILBERT              DANIEL L              NY         10072701         WEITZ & LUXENBERG, PC
GIANNINI             ELEONORA              NY         01111236         WEITZ & LUXENBERG, PC                                GILBERT              EDWARD                NY         1900672014       WEITZ & LUXENBERG, PC
GIANNINI             GEORGE                NY         01111236         WEITZ & LUXENBERG, PC                                GILBERT              HAZEL                 NY         01CIV3895        WEITZ & LUXENBERG, PC
GIANOULIS            JAN                   NY         11169100         WEITZ & LUXENBERG, PC                                GILBERT              JEAN M                NY         11026802         WEITZ & LUXENBERG, PC
GIANOULIS            PAUL                  NY         11169100         WEITZ & LUXENBERG, PC                                GILBERT              JEAN MARIE            NY         11026802         WEITZ & LUXENBERG, PC
GIARDIELLO           DIANE                 NY         10672700         WEITZ & LUXENBERG, PC                                GILBERT              JOANNE                NY         10072701         WEITZ & LUXENBERG, PC
GIARDIELLO           DIANE                 NY         10491804         WEITZ & LUXENBERG, PC                                GILBERT              LEO A                 NY         10680802         WEITZ & LUXENBERG, PC
GIARDIELLO           JOHN                  NY         10672700         WEITZ & LUXENBERG, PC                                GILBERT              LEO A                 NY         11059902         WEITZ & LUXENBERG, PC
GIARDIELLO           JOHN                  NY         10491804         WEITZ & LUXENBERG, PC                                GILBERT              ROBERT HENRY          NY         11026802         WEITZ & LUXENBERG, PC
GIARDINA             GIUSEPPINA            NY         10470400         WEITZ & LUXENBERG, PC                                GILBERT              SALLIE L              NY         10680802         WEITZ & LUXENBERG, PC
GIARDINA             VINCENZO              NY         10470400         WEITZ & LUXENBERG, PC                                GILBERT              SALLIE L              NY         11059902         WEITZ & LUXENBERG, PC
GIARDINI             LEONARD R             NY         02106508         WEITZ & LUXENBERG, PC                                GILBERT              SALLY                 NY         10680802         WEITZ & LUXENBERG, PC
GIARDINO             MARIE                 NY         02107006         WEITZ & LUXENBERG, PC                                GILBERT              SALLY                 NY         11059902         WEITZ & LUXENBERG, PC
GIARDINO             RONALD                NY         02107006         WEITZ & LUXENBERG, PC                                GILBERT CYR          DONAT                 NY         02107005         WEITZ & LUXENBERG, PC
GIARRAPUTO           PATRICIA              NY         11349503         WEITZ & LUXENBERG, PC                                GILDAY               ELLEN                 NY         10072801         WEITZ & LUXENBERG, PC
GIARRAPUTO           RALPH                 NY         11349503         WEITZ & LUXENBERG, PC                                GILDAY               PATRICK               NY         10072801         WEITZ & LUXENBERG, PC
GIBALA               ANITA                 NY         11026802         WEITZ & LUXENBERG, PC                                GILDEA               GERTRUDE              NY         10470500         WEITZ & LUXENBERG, PC
GIBALA               WALTER A              NY         11026802         WEITZ & LUXENBERG, PC                                GILDEA               JAMES C               NY         10470500         WEITZ & LUXENBERG, PC
GIBB                 FREDERICK             NY         1904232018       WEITZ & LUXENBERG, PC                                GILDEMEISTER         GLENN L               NY         19049511         WEITZ & LUXENBERG, PC
GIBBONS              JOHN                  NY         1903832018       WEITZ & LUXENBERG, PC                                GILDEMEISTER         ROBERT                NY         19049511         WEITZ & LUXENBERG, PC
GIBBONS              NAOMI                 NY         10716902         WEITZ & LUXENBERG, PC                                GILDERSLEEVE         CHARLES               NY         12411901         WEITZ & LUXENBERG, PC
GIBBONS              PATRICK               NY         I20019442        WEITZ & LUXENBERG, PC                                GILDERSLEEVE         DORIS                 NY         12411901         WEITZ & LUXENBERG, PC
GIBBONS              PATRICK               NY         02120709         WEITZ & LUXENBERG, PC                                GILES                DONALD M              NY         11026902         WEITZ & LUXENBERG, PC
GIBBONS              ROBERT E              NY         10716902         WEITZ & LUXENBERG, PC                                GILES                DONALD M              NY         12676702         WEITZ & LUXENBERG, PC
GIBBS                DEFOREST              DE         N19C09265ASB     WEITZ & LUXENBERG, PC                                GILES                ELLEN                 NY         11026902         WEITZ & LUXENBERG, PC
GIBBS                ELIZABETH E           NY         CV013921         WEITZ & LUXENBERG, PC                                GILES                ELLEN                 NY         12676702         WEITZ & LUXENBERG, PC
GIBBS                FRANCES               NY         10672600         WEITZ & LUXENBERG, PC                                GILL                 ALICE                 NY         10680602         WEITZ & LUXENBERG, PC
GIBBS                GEORGE                NY         19007810         WEITZ & LUXENBERG, PC                                GILL                 ALICE                 NY         11047202         WEITZ & LUXENBERG, PC
GIBBS                JIMMIE                NY         CV013921         WEITZ & LUXENBERG, PC                                GILL                 BARTLETT              NY         10680602         WEITZ & LUXENBERG, PC
GIBBS                JOHN D                NY         10672600         WEITZ & LUXENBERG, PC                                GILL                 BARTLETT              NY         11047202         WEITZ & LUXENBERG, PC
GIBBS                JOHN P                NY         10672600         WEITZ & LUXENBERG, PC                                GILL                 CALVIN                NY         CV014783         WEITZ & LUXENBERG, PC
GIBBS                MARIE ANNE            NY         10680702         WEITZ & LUXENBERG, PC                                GILL                 DOROTHY               NY         CV014783         WEITZ & LUXENBERG, PC
GIBBS                PATRICE               NY         19007810         WEITZ & LUXENBERG, PC                                GILL                 JIMMY D               NY         01CIV7364        WEITZ & LUXENBERG, PC
GIBBS                RUDOLPH B             NY         10680702         WEITZ & LUXENBERG, PC                                GILL                 ROBERT R              NY         10673900         WEITZ & LUXENBERG, PC
GIBBS                SHERRYL               DE         N19C09265ASB     WEITZ & LUXENBERG, PC                                GILL                 ROSE MARIE            NY         10673900         WEITZ & LUXENBERG, PC
GIBE                 JEANNE                NY         CV044188         WEITZ & LUXENBERG, PC                                GILL                 RUSSELL               NY         12411501         WEITZ & LUXENBERG, PC
GIBE                 ROBERT                NY         CV044188         WEITZ & LUXENBERG, PC                                GILLAN               ANTHONY               NY         10072901         WEITZ & LUXENBERG, PC
GIBIINO              JOSEPHINE             NY         98118860         WEITZ & LUXENBERG, PC                                GILLAN               ANTOINETTE            NY         99107240         WEITZ & LUXENBERG, PC
GIBIINO              VINCENT               NY         98118860         WEITZ & LUXENBERG, PC                                GILLAN               BRIAN                 NY         99107240         WEITZ & LUXENBERG, PC
GIBNEY               CANDACE               NY         10674500         WEITZ & LUXENBERG, PC                                GILLAN               HELEN                 NY         10072901         WEITZ & LUXENBERG, PC
GIBNEY               FRANK                 NY         12307700         WEITZ & LUXENBERG, PC                                GILLEN               FRANCIS D             NY         10587402         WEITZ & LUXENBERG, PC
GIBNEY               JOSEPH MICHAEL        NY         10674500         WEITZ & LUXENBERG, PC                                GILLEN               LILLIAN M             NY         02107006         WEITZ & LUXENBERG, PC
GIBNEY               KENNETH J             NY         01111218         WEITZ & LUXENBERG, PC                                GILLEN               LORRAINE              NY         10587402         WEITZ & LUXENBERG, PC
GIBNEY               MARILYN               NY         01111218         WEITZ & LUXENBERG, PC                                GILLEN               RAYMOND               NY         02107006         WEITZ & LUXENBERG, PC
GIBSON               ALICE                 NY         11889798         WEITZ & LUXENBERG, PC                                GILLESPIE            DAVID                 NY         10723999         WEITZ & LUXENBERG, PC
GIBSON               LLOYD ELIOT           NY         11889798         WEITZ & LUXENBERG, PC                                GILLESPIE            MARTIN                NY         19038709         WEITZ & LUXENBERG, PC
GIBSON               MARY JANE             NY         11707200         WEITZ & LUXENBERG, PC                                GILLESPIE            OSHIAW                NY         01CIV3900        WEITZ & LUXENBERG, PC
GIBSON               ROBERT F              NY         11707200         WEITZ & LUXENBERG, PC                                GILLESPIE            SHIRLEY B             NY         01CIV3900        WEITZ & LUXENBERG, PC
GIDDENS              AUBREY                NY         CV018217         WEITZ & LUXENBERG, PC                                GILLESPIE WHITE      MARGARET              NY         19038709         WEITZ & LUXENBERG, PC
GIDDENS              SUE                   NY         CV018217         WEITZ & LUXENBERG, PC                                GILLEY               CHARLES F             NY         01118867         WEITZ & LUXENBERG, PC
GIDDINGS             ROBERT J              NY         01111227         WEITZ & LUXENBERG, PC                                GILLEY               LORRAINE MARY         NY         01118867         WEITZ & LUXENBERG, PC
GIELLA               JOHN F                NY         10674400         WEITZ & LUXENBERG, PC                                GILLHAM              MARVIN W              NY         01CIV3901        WEITZ & LUXENBERG, PC
GIELLA               JOHN G                NY         10674400         WEITZ & LUXENBERG, PC                                GILLIES              JAMES                 NY         01111024         WEITZ & LUXENBERG, PC
GIELLA               MARY                  NY         10674400         WEITZ & LUXENBERG, PC                                GILLIES              PATRICIA              NY         01111024         WEITZ & LUXENBERG, PC
GIENOW               DANIEL GLENN          NY         10670602         WEITZ & LUXENBERG, PC                                GILLIGAN             PEGGY JO              NY         12788802         WEITZ & LUXENBERG, PC
GIENOW               LYLIA                 NY         10670602         WEITZ & LUXENBERG, PC                                GILLIGAN             WILLIAM               NY         12788802         WEITZ & LUXENBERG, PC
GIER                 MAYNARD G             NY         10674300         WEITZ & LUXENBERG, PC                                GILLIN               JANET S               NY         01122139         WEITZ & LUXENBERG, PC
GIER                 NADELLE               NY         00CIV1202        WEITZ & LUXENBERG, PC                                GILLIN               PAUL D                NY         01122139         WEITZ & LUXENBERG, PC
GIER                 NATHAN J              NY         00CIV1202        WEITZ & LUXENBERG, PC                                GILLIS               BENJAMIN STEPHEN      NY         02CIV3339        WEITZ & LUXENBERG, PC
GIER                 PATRICIA ANN          NY         10674300         WEITZ & LUXENBERG, PC                                GILLIS               ELIZABETH T           NY         02CIV3339        WEITZ & LUXENBERG, PC
GIESECKE             ALBERT                NY         98118861         WEITZ & LUXENBERG, PC                                GILLIS               EVERETT A             NY         01CIV3897        WEITZ & LUXENBERG, PC
GIESECKE             MARGUERITE            NY         98118861         WEITZ & LUXENBERG, PC                                GILLIS               JOSEPH                NY         CV025618         WEITZ & LUXENBERG, PC
GIGANTE              ANGELA                NY         01111233         WEITZ & LUXENBERG, PC                                GILLIS               MALCOLM A             NY         CV025618         WEITZ & LUXENBERG, PC
GIGANTE              ANTONIO               NY         01111233         WEITZ & LUXENBERG, PC                                GILLIS               MARILYN               NY         02107099         WEITZ & LUXENBERG, PC
GIGLIO               DALE                  NY         10674200         WEITZ & LUXENBERG, PC                                GILLIS               ROBERT P              NY         02107099         WEITZ & LUXENBERG, PC
GIGLIO               ELENA                 NY         10072601         WEITZ & LUXENBERG, PC                                GILMAN               WILLIAM               NY         02106690         WEITZ & LUXENBERG, PC
GIGLIO               GIACOMO               NY         10072601         WEITZ & LUXENBERG, PC                                GILMET               ROBERT E              NY         10673700         WEITZ & LUXENBERG, PC
GIGLIO               HAROLD L              NY         10674200         WEITZ & LUXENBERG, PC                                GILMORE              IRENE                 NY         12039101         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 935
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 270 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GILMORE              MARY                  NY         11869901         WEITZ & LUXENBERG, PC                                GIRARDI              FERNANDO              NY         10008803         WEITZ & LUXENBERG, PC
GILMORE              MARY                  NY         01111233         WEITZ & LUXENBERG, PC                                GIRARDI              LELIANA               NY         10008803         WEITZ & LUXENBERG, PC
GILMORE              MICHAEL               NY         12039101         WEITZ & LUXENBERG, PC                                GIRARDI              MARIO                 NY         1902332014       WEITZ & LUXENBERG, PC
GILMORE              PATRICK J             NY         11869901         WEITZ & LUXENBERG, PC                                GIRDLESTONE          COLLEEN               NY         11318199         WEITZ & LUXENBERG, PC
GILMORE              PATRICK J             NY         01111233         WEITZ & LUXENBERG, PC                                GIRGENTI             GREGORY               NY         12006500         WEITZ & LUXENBERG, PC
GILRAY               GEORGE C              NY         10729099         WEITZ & LUXENBERG, PC                                GIRGENTI             HECTOR A              NY         12006500         WEITZ & LUXENBERG, PC
GILRAY               RUTH                  NY         10729099         WEITZ & LUXENBERG, PC                                GISKE                REGINALD              NY         12039001         WEITZ & LUXENBERG, PC
GILVEY               ROBERT L              NY         10728699         WEITZ & LUXENBERG, PC                                GITTO                DOLORES A             NY         10128307         WEITZ & LUXENBERG, PC
GIMINIANI            BALDWIN T             NY         10470600         WEITZ & LUXENBERG, PC                                GITTO                JOSEPH F              NY         10128307         WEITZ & LUXENBERG, PC
GIMINIANI            LOUISE                NY         10470600         WEITZ & LUXENBERG, PC                                GIULIANELLI          CAROL                 NY         02106690         WEITZ & LUXENBERG, PC
GINGHER              KAREN                 NY         11401202         WEITZ & LUXENBERG, PC                                GIULIANELLI          NICHOLAS              NY         02106690         WEITZ & LUXENBERG, PC
GINGHER              KAREN KABEL           NY         11401202         WEITZ & LUXENBERG, PC                                GIULINI              ANN MARIE             NY         12700402         WEITZ & LUXENBERG, PC
GINGHER              THOMAS E              NY         11401202         WEITZ & LUXENBERG, PC                                GIULINI              ANTHONY G             NY         12700402         WEITZ & LUXENBERG, PC
GINOVSKY             STEPHEN               NY         12788602         WEITZ & LUXENBERG, PC                                GIUMETTI             MARGARET M            NY         11127200         WEITZ & LUXENBERG, PC
GINOVSKY             STEPHEN               NY         10246503         WEITZ & LUXENBERG, PC                                GIUNTA               ANGELO                NY         00100559         WEITZ & LUXENBERG, PC
GINTER               JOHN W                NY         02107006         WEITZ & LUXENBERG, PC                                GIUNTA               ANGELO                NY         00100599         WEITZ & LUXENBERG, PC
GINTNER              GAYE                  NY         1903692017       WEITZ & LUXENBERG, PC                                GIUNTA               ANTOINETTE            NY         12213801         WEITZ & LUXENBERG, PC
GINTNER              RAYMOND               NY         1903692017       WEITZ & LUXENBERG, PC                                GIUNTA               ANTOINETTE            NY         10272802         WEITZ & LUXENBERG, PC
GINZIG               ELAINE                NY         01110641         WEITZ & LUXENBERG, PC                                GIUNTA               MADELINE              NY         00100559         WEITZ & LUXENBERG, PC
GINZIG               STANLEY               NY         01110641         WEITZ & LUXENBERG, PC                                GIUNTA               MADELINE              NY         00100599         WEITZ & LUXENBERG, PC
GIOGAIA              DONNA                 NY         10079301         WEITZ & LUXENBERG, PC                                GIUSEFFI             DOROTHY               NY         10074103         WEITZ & LUXENBERG, PC
GIOGAIA              DONNA                 NY         11939100         WEITZ & LUXENBERG, PC                                GIUSEFFI             MICHAEL               NY         10074103         WEITZ & LUXENBERG, PC
GIOIA                ADELINE               NY         10073001         WEITZ & LUXENBERG, PC                                GIUSEPPE             FILECCIA F            NY         11356702         WEITZ & LUXENBERG, PC
GIOIA                LOUIS A               NY         10604905         WEITZ & LUXENBERG, PC                                GIUSEPPE             SUSAN                 NY         11356702         WEITZ & LUXENBERG, PC
GIOIA                PASQUALE              NY         10073001         WEITZ & LUXENBERG, PC                                GIUSTI               DAVID                 NY         01111228         WEITZ & LUXENBERG, PC
GIOIA                ROSE                  NY         10604905         WEITZ & LUXENBERG, PC                                GIVEANS              GEORGE                NY         10173301         WEITZ & LUXENBERG, PC
GIOIA                VINCENT               NY         10073001         WEITZ & LUXENBERG, PC                                GIVENS               JEAN                  NY         CV016524         WEITZ & LUXENBERG, PC
GIOMUNDO             FRANCES               NY         10587202         WEITZ & LUXENBERG, PC                                GIVENS               ROBERT NEY            NY         CV016524         WEITZ & LUXENBERG, PC
GIOMUNDO             FRANCES               NY         10838802         WEITZ & LUXENBERG, PC                                GIZZI                BILLI                 NY         1905312013       WEITZ & LUXENBERG, PC
GIOMUNDO             JOSEPH                NY         10587202         WEITZ & LUXENBERG, PC                                GIZZI                BILLI                 NY         1904312013       WEITZ & LUXENBERG, PC
GIOMUNDO             JOSEPH                NY         10838802         WEITZ & LUXENBERG, PC                                GIZZI                EUGENE                NY         11258103         WEITZ & LUXENBERG, PC
GIOMUNDO             JOSEPH J              NY         10587202         WEITZ & LUXENBERG, PC                                GIZZI                MAUREEN               NY         11258103         WEITZ & LUXENBERG, PC
GIOMUNDO             JOSEPH J              NY         10838802         WEITZ & LUXENBERG, PC                                GLADITSCH            AUDREY                NY         02107004         WEITZ & LUXENBERG, PC
GIOMUNDO             LISA                  NY         10587202         WEITZ & LUXENBERG, PC                                GLADITSCH            ROBERT                NY         02107004         WEITZ & LUXENBERG, PC
GIOMUNDO             LISA                  NY         10838802         WEITZ & LUXENBERG, PC                                GLADSTONE            GILDA                 NY         01111236         WEITZ & LUXENBERG, PC
GIONET               MARK                  NY         1902942017       WEITZ & LUXENBERG, PC                                GLADSTONE            GILDA                 NY         11123997         WEITZ & LUXENBERG, PC
GIONET               RALPH J               NY         1902942017       WEITZ & LUXENBERG, PC                                GLANCY               PETER                 NY         10173201         WEITZ & LUXENBERG, PC
GIORDANI             HENRY                 NY         01111236         WEITZ & LUXENBERG, PC                                GLANCY               ROSE                  NY         10173201         WEITZ & LUXENBERG, PC
GIORDANO             ALDO                  NY         10673600         WEITZ & LUXENBERG, PC                                GLASER               MELVYN                NY         12039701         WEITZ & LUXENBERG, PC
GIORDANO             ALFRED J              NY         10673500         WEITZ & LUXENBERG, PC                                GLASER               MELVYN                NY         10508402         WEITZ & LUXENBERG, PC
GIORDANO             ANGELA J              NY         10673500         WEITZ & LUXENBERG, PC                                GLASER               SHARON                NY         12039701         WEITZ & LUXENBERG, PC
GIORDANO             ANGELO M              NY         12668502         WEITZ & LUXENBERG, PC                                GLASER               SHARON                NY         10508402         WEITZ & LUXENBERG, PC
GIORDANO             CAROL                 NY         10673600         WEITZ & LUXENBERG, PC                                GLASS                DONALD                NY         10173001         WEITZ & LUXENBERG, PC
GIORDANO             FAITH C               NY         12668502         WEITZ & LUXENBERG, PC                                GLASS                ELAINE                NY         1902012019       WEITZ & LUXENBERG, PC
GIORDANO             GEORGE                NY         11493007         WEITZ & LUXENBERG, PC                                GLASS                KATHLEEN              NY         01CIV3895        WEITZ & LUXENBERG, PC
GIORDANO             GERALD                NY         11843503         WEITZ & LUXENBERG, PC                                GLASS                NORMAN M              NY         1902012019       WEITZ & LUXENBERG, PC
GIORDANO             LINDA                 NY         11843503         WEITZ & LUXENBERG, PC                                GLASS                RONALD J              NY         10716802         WEITZ & LUXENBERG, PC
GIORDANO             ROXANNE               NY         11556803         WEITZ & LUXENBERG, PC                                GLASS                RUTH ANN              NY         10173001         WEITZ & LUXENBERG, PC
GIORDANO             ROXANNE               NY         19019011         WEITZ & LUXENBERG, PC                                GLATT                FLORENCE              NY         10172901         WEITZ & LUXENBERG, PC
GIORGI               BRIGITTE              NY         11123101         WEITZ & LUXENBERG, PC                                GLATT                LOUIS                 NY         10172901         WEITZ & LUXENBERG, PC
GIORGI               PHILIP C              NY         11123101         WEITZ & LUXENBERG, PC                                GLEASON              DIANE                 NY         10172801         WEITZ & LUXENBERG, PC
GIORGIO              BARBARA               NY         12042901         WEITZ & LUXENBERG, PC                                GLEASON              JAMES M               NY         10675700         WEITZ & LUXENBERG, PC
GIORGIO              NICOLA R              NY         12042901         WEITZ & LUXENBERG, PC                                GLEASON              JOHN ALEXANDER        NY         11169300         WEITZ & LUXENBERG, PC
GIOVANELLO           FRANK                 NY         01118863         WEITZ & LUXENBERG, PC                                GLEASON              MARY                  NY         10675600         WEITZ & LUXENBERG, PC
GIOVANELLO           JOSEPH N              NY         01118863         WEITZ & LUXENBERG, PC                                GLEASON              RICHARD JOSEPH        NY         10675600         WEITZ & LUXENBERG, PC
GIOVANNANGELO        DANIEL                NY         10674900         WEITZ & LUXENBERG, PC                                GLEASON              ROGER W               NY         02105716         WEITZ & LUXENBERG, PC
GIOVANNANGELO        MYRTLE                NY         10674900         WEITZ & LUXENBERG, PC                                GLEASON              WILLIAM T             NY         10172801         WEITZ & LUXENBERG, PC
GIOVANNIELLO         THERESA               NY         10674800         WEITZ & LUXENBERG, PC                                GLEBOCKI             FELIKS                NY         I200110020       WEITZ & LUXENBERG, PC
GIOVANNIELLO         WILLIAM               NY         10674800         WEITZ & LUXENBERG, PC                                GLEESAN              PATRICK               NY         10172701         WEITZ & LUXENBERG, PC
GIOVINAZZO           FRANK                 NY         10674700         WEITZ & LUXENBERG, PC                                GLEESON CARR         MARY                  NY         10172701         WEITZ & LUXENBERG, PC
GIOVINAZZO           GEORGE E              NY         10674600         WEITZ & LUXENBERG, PC                                GLENN                BARBARA               NY         12788802         WEITZ & LUXENBERG, PC
GIOVINAZZO           ISABELLE              NY         10674700         WEITZ & LUXENBERG, PC                                GLENN                CELIA                 NY         98118883         WEITZ & LUXENBERG, PC
GIOVINGO             CLOTILDA              NY         10675900         WEITZ & LUXENBERG, PC                                GLENN                CLAUDE F              NY         10571702         WEITZ & LUXENBERG, PC
GIOVINGO             MICHAEL               NY         10675900         WEITZ & LUXENBERG, PC                                GLENN                HOWARD G              NY         98118883         WEITZ & LUXENBERG, PC
GIPP                 JOHN M                NY         02107005         WEITZ & LUXENBERG, PC                                GLENN                PAULINE A             NY         10571702         WEITZ & LUXENBERG, PC
GIPP                 JOHN M                NY         11623002         WEITZ & LUXENBERG, PC                                GLENNON              JAMES P               NY         1901332016       WEITZ & LUXENBERG, PC
GIPP                 LINDA LEE             NY         02107005         WEITZ & LUXENBERG, PC                                GLENNON              RUTH                  NY         1901332016       WEITZ & LUXENBERG, PC
GIPP                 LINDA LEE             NY         11623002         WEITZ & LUXENBERG, PC                                GLIBOWSKI            GERI                  NY         11026902         WEITZ & LUXENBERG, PC
GIRARD               PATRICIA              NY         10073201         WEITZ & LUXENBERG, PC                                GLIBOWSKI            MICHAEL J             NY         11026902         WEITZ & LUXENBERG, PC
GIRARD               RONALD GORDON         NY         10073201         WEITZ & LUXENBERG, PC                                GLIBOWSKI            SHARON                NY         01122139         WEITZ & LUXENBERG, PC
GIRARDI              ANGELA                NY         1902332014       WEITZ & LUXENBERG, PC                                GLIBOWSKI            STEPHEN J             NY         01122139         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 936
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 271 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GLICKSTEIN           ARTHUR J              NY         10675400         WEITZ & LUXENBERG, PC                                GOLDBERG             MORTON                NY         12039901         WEITZ & LUXENBERG, PC
GLICKSTEIN           LOLA                  NY         10675400         WEITZ & LUXENBERG, PC                                GOLDBERG             PHYLLIS               NY         12039901         WEITZ & LUXENBERG, PC
GLIDEWELL            FLORINE               NY         CV020250         WEITZ & LUXENBERG, PC                                GOLDEN               GERARD T              NY         10172401         WEITZ & LUXENBERG, PC
GLIDEWELL            LOUIS NELSON          NY         CV020250         WEITZ & LUXENBERG, PC                                GOLDEN               GRACE E               NY         10470800         WEITZ & LUXENBERG, PC
GLIKIN               HERBERT               NY         12213801         WEITZ & LUXENBERG, PC                                GOLDEN               JOAN C                NY         10172401         WEITZ & LUXENBERG, PC
GLIKIN               MARILYN               NY         12213801         WEITZ & LUXENBERG, PC                                GOLDEN               SUSAN E               NY         11246800         WEITZ & LUXENBERG, PC
GLINCHE              RENE C                NY         99120434         WEITZ & LUXENBERG, PC                                GOLDEN               THOMAS                NY         10470800         WEITZ & LUXENBERG, PC
GLISZCZYNSKI         MATTHEW D             NY         10675300         WEITZ & LUXENBERG, PC                                GOLDENBERG           MARILYN               NY         01111235         WEITZ & LUXENBERG, PC
GLISZCZYNSKI         RITA                  NY         10675300         WEITZ & LUXENBERG, PC                                GOLDENBERG           STANLEY               NY         01111235         WEITZ & LUXENBERG, PC
GLOR                 JOYCE                 NY         11168000         WEITZ & LUXENBERG, PC                                GOLDFARB             JANE L                NY         1900982019       WEITZ & LUXENBERG, PC
GLOR                 WILLIAM G             NY         11168000         WEITZ & LUXENBERG, PC                                GOLDFARB             MILDRED               NY         01111221         WEITZ & LUXENBERG, PC
GLOSE                CAROLYN               NY         11168100         WEITZ & LUXENBERG, PC                                GOLDFARB             PAUL                  NY         01111221         WEITZ & LUXENBERG, PC
GLOSE                GORDON NORMAN         NY         11168100         WEITZ & LUXENBERG, PC                                GOLDIN               JOSEPH                NY         10676200         WEITZ & LUXENBERG, PC
GLOSSER              RANDALL               NY         10728599         WEITZ & LUXENBERG, PC                                GOLDIN               LUCY                  NY         10676200         WEITZ & LUXENBERG, PC
GLOTZBIER            JOSEPH                NY         12034202         WEITZ & LUXENBERG, PC                                GOLDNER              EDWIN                 NY         01111236         WEITZ & LUXENBERG, PC
GLOVER               FRANK R               NY         10675200         WEITZ & LUXENBERG, PC                                GOLDNER              GLORIA                NY         01111236         WEITZ & LUXENBERG, PC
GLOVER               PEARL                 NY         10675200         WEITZ & LUXENBERG, PC                                GOLDSBARY            FRANK S               NY         CV042900         WEITZ & LUXENBERG, PC
GLUBERMAN            BARRY                 NY         1902162017       WEITZ & LUXENBERG, PC                                GOLDSBARY            LA VONNE              NY         CV042900         WEITZ & LUXENBERG, PC
GLUBERMAN            JUDY                  NY         1902162017       WEITZ & LUXENBERG, PC                                GOLDSTEIN            KENNETH               NY         10561004         WEITZ & LUXENBERG, PC
GMELIN               GRACE ANN             NY         12043301         WEITZ & LUXENBERG, PC                                GOLDSTEIN            NATALIE               NY         10561004         WEITZ & LUXENBERG, PC
GMELIN               HENRY J               NY         12043301         WEITZ & LUXENBERG, PC                                GOLDSTEIN            STANLEY I             NY         02105716         WEITZ & LUXENBERG, PC
GNOLFO               MARY DELLA            NY         12039401         WEITZ & LUXENBERG, PC                                GOLDWASSER           JOSEF                 NY         12039701         WEITZ & LUXENBERG, PC
GNOLFO               MARY DELLA            NY         10560302         WEITZ & LUXENBERG, PC                                GOLDWASSER           JOSEF                 NY         10508302         WEITZ & LUXENBERG, PC
GOC                  ROSE                  NY         10676400         WEITZ & LUXENBERG, PC                                GOLDWASSER           MARYLA                NY         12039701         WEITZ & LUXENBERG, PC
GOC                  WILLIAM J             NY         10676400         WEITZ & LUXENBERG, PC                                GOLDWASSER           MARYLA                NY         10508302         WEITZ & LUXENBERG, PC
GODBOIS              GRACE PARKER          NY         1904182018       WEITZ & LUXENBERG, PC                                GOLIAS               EDWARD J              NY         10728299         WEITZ & LUXENBERG, PC
GODBOIS              RONALD N              NY         1904182018       WEITZ & LUXENBERG, PC                                GOLIAS               MARY                  NY         10728299         WEITZ & LUXENBERG, PC
GODDARD              ARTHUR                NY         10023403         WEITZ & LUXENBERG, PC                                GOLINO               JOSEPH                NY         10728199         WEITZ & LUXENBERG, PC
GODDARD              DORCAS                NY         10023403         WEITZ & LUXENBERG, PC                                GOLINO               NANCY                 NY         10728199         WEITZ & LUXENBERG, PC
GODFREY              MARY                  NY         CV015520         WEITZ & LUXENBERG, PC                                GOLINO               PETER                 NY         10728199         WEITZ & LUXENBERG, PC
GODFREY              MARY                  NY         CV013909         WEITZ & LUXENBERG, PC                                GOLIO                ROBERT E              NY         10313805         WEITZ & LUXENBERG, PC
GODFREY              ORRIE                 NY         CV013909         WEITZ & LUXENBERG, PC                                GOLLINGER            ROGER EDWARD          NY         02106692         WEITZ & LUXENBERG, PC
GODLEWSKI            ANTOINETTE            NY         10728399         WEITZ & LUXENBERG, PC                                GOLLNITZ             CONRAD F              NY         11327802         WEITZ & LUXENBERG, PC
GODLEWSKI            JOHN                  NY         10728399         WEITZ & LUXENBERG, PC                                GOLLNITZ             CONRAD F              NY         11949302         WEITZ & LUXENBERG, PC
GOEHLE               FLORENCE E            NY         12433902         WEITZ & LUXENBERG, PC                                GOLLNITZ             MINNIE                NY         11327802         WEITZ & LUXENBERG, PC
GOEHLE               FLORENCE E            NY         10199003         WEITZ & LUXENBERG, PC                                GOLLNITZ             MINNIE                NY         11949302         WEITZ & LUXENBERG, PC
GOEHLE               FRANK X               NY         12433902         WEITZ & LUXENBERG, PC                                GOLTRY               LINDA MARIE           NY         10740102         WEITZ & LUXENBERG, PC
GOEHLE               FRANK X               NY         10199003         WEITZ & LUXENBERG, PC                                GOLTRY               LINDA MARIE           NY         11349602         WEITZ & LUXENBERG, PC
GOEHLE               RUTH                  NY         12433902         WEITZ & LUXENBERG, PC                                GOLTRY               PAUL W                NY         10740102         WEITZ & LUXENBERG, PC
GOERKE               CAREN                 NY         1903432014       WEITZ & LUXENBERG, PC                                GOLTRY               PAUL W                NY         11349602         WEITZ & LUXENBERG, PC
GOERKE               DENNIS D              NY         1903432014       WEITZ & LUXENBERG, PC                                GOMBOS               CAROL                 NY         02107007         WEITZ & LUXENBERG, PC
GOES                 FRANCIS               NY         10090403         WEITZ & LUXENBERG, PC                                GOMBOS               FRANK J               NY         02107007         WEITZ & LUXENBERG, PC
GOES                 SENTA                 NY         10090403         WEITZ & LUXENBERG, PC                                GOMEZ                ANNA                  NY         12110001         WEITZ & LUXENBERG, PC
GOESEKE              SANDRA                NY         10167702         WEITZ & LUXENBERG, PC                                GOMEZ                ELISA                 NY         10676100         WEITZ & LUXENBERG, PC
GOESEKE              WILLIAM               NY         10167702         WEITZ & LUXENBERG, PC                                GOMEZ                JESUS R               NY         10676100         WEITZ & LUXENBERG, PC
GOETKE               CHRISTOPHER J         NY         10429708         WEITZ & LUXENBERG, PC                                GOMEZ                LUIS                  NY         12110001         WEITZ & LUXENBERG, PC
GOETZ                ISABEL                NY         11168300         WEITZ & LUXENBERG, PC                                GONKA                CAROL M               NY         10505800         WEITZ & LUXENBERG, PC
GOETZ                WILLIAM               NY         11168300         WEITZ & LUXENBERG, PC                                GONKA                CAROLYN               NY         10505800         WEITZ & LUXENBERG, PC
GOETZMANN            WILLIAM G             NY         10740002         WEITZ & LUXENBERG, PC                                GONKA                FRANK B               NY         10505800         WEITZ & LUXENBERG, PC
GOGER                EUGENE                NY         10172601         WEITZ & LUXENBERG, PC                                GONTOWICZ            WIKTOR                NY         10172201         WEITZ & LUXENBERG, PC
GOGER                TERESA                NY         10172601         WEITZ & LUXENBERG, PC                                GONZALES             DOMINIC D             NY         12693502         WEITZ & LUXENBERG, PC
GOGOS                STEVIOS               NY         12668702         WEITZ & LUXENBERG, PC                                GONZALES             MARIA ROSA            NY         12693502         WEITZ & LUXENBERG, PC
GOGOS                STERIOS               NY         10463003         WEITZ & LUXENBERG, PC                                GONZALEZ             CRUZMARIA             NY         10505900         WEITZ & LUXENBERG, PC
GOKEY                CHARLES               NY         02105718         WEITZ & LUXENBERG, PC                                GONZALEZ             DAVID                 NY         11606698         WEITZ & LUXENBERG, PC
GOKEY                JOHN J                NY         10172501         WEITZ & LUXENBERG, PC                                GONZALEZ             EFRAIM                NY         10505900         WEITZ & LUXENBERG, PC
GOKEY                JUNE                  NY         10172501         WEITZ & LUXENBERG, PC                                GONZALEZ             FRANCISCO             NY         12039801         WEITZ & LUXENBERG, PC
GOKEY                MARY E                NY         02105718         WEITZ & LUXENBERG, PC                                GONZALEZ             FRANCISCO             NY         10481902         WEITZ & LUXENBERG, PC
GOKEY                WILLIAM M             NY         11026802         WEITZ & LUXENBERG, PC                                GONZALEZ             LUIS G                NY         11080003         WEITZ & LUXENBERG, PC
GOLAS                JOSEPH F              NY         11707300         WEITZ & LUXENBERG, PC                                GONZALEZ             LUIS MICHAEL          NY         10676000         WEITZ & LUXENBERG, PC
GOLAS                SHIRLEY               NY         11707300         WEITZ & LUXENBERG, PC                                GONZALEZ             LUZ                   NY         1902932012       WEITZ & LUXENBERG, PC
GOLD                 BENJAMIN              NY         10773699         WEITZ & LUXENBERG, PC                                GONZALEZ             MIGUEL A              NY         10676000         WEITZ & LUXENBERG, PC
GOLD                 DONALD                NY         01111235         WEITZ & LUXENBERG, PC                                GONZALEZ             OLGA                  NY         10676000         WEITZ & LUXENBERG, PC
GOLD                 GLORIA                NY         01111235         WEITZ & LUXENBERG, PC                                GONZALEZ             OLGA                  NY         10152504         WEITZ & LUXENBERG, PC
GOLDA                JOAN                  NY         10722102         WEITZ & LUXENBERG, PC                                GONZALEZ             PETER                 NY         10152504         WEITZ & LUXENBERG, PC
GOLDA                LORRAINE A            NY         10710102         WEITZ & LUXENBERG, PC                                GONZALEZ             RACHEL                NY         11606698         WEITZ & LUXENBERG, PC
GOLDA                RICHARD M             NY         10722102         WEITZ & LUXENBERG, PC                                GONZALEZ             RAYMOND               NY         12199299         WEITZ & LUXENBERG, PC
GOLDA                STANLEY               NY         10710102         WEITZ & LUXENBERG, PC                                GONZENBACH           ALBERT R              NY         CV016597         WEITZ & LUXENBERG, PC
GOLDBACH             ROBERT H              NY         10716902         WEITZ & LUXENBERG, PC                                GONZENBACH           ESTELLE M             NY         CV016597         WEITZ & LUXENBERG, PC
GOLDBACH             ROBERT H              NY         11215702         WEITZ & LUXENBERG, PC                                GOOD                 JUDITH                NY         12039701         WEITZ & LUXENBERG, PC
GOLDBACH             SHIRLEY               NY         10716902         WEITZ & LUXENBERG, PC                                GOOD                 MARY RENOWDEN         NY         11167100         WEITZ & LUXENBERG, PC
GOLDBACH             SHIRLEY               NY         11215702         WEITZ & LUXENBERG, PC                                GOOD                 ROBERT B              NY         12039701         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 937
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 272 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GOODBERLET           PHILOMENA             NY         10723299         WEITZ & LUXENBERG, PC                                GORKA                THEODORE              NY         10659200         WEITZ & LUXENBERG, PC
GOODBERLET           WILBUR                NY         10723299         WEITZ & LUXENBERG, PC                                GORKA                WILLIAM               NY         10659100         WEITZ & LUXENBERG, PC
GOODE                BRIDGET               NY         19036709         WEITZ & LUXENBERG, PC                                GORMAN               EDWARD M              NY         10716802         WEITZ & LUXENBERG, PC
GOODE                FRANCIS P             NY         19036709         WEITZ & LUXENBERG, PC                                GORMAN               FRANK                 NY         12668102         WEITZ & LUXENBERG, PC
GOODE                PATRICIA              NY         1903362012       WEITZ & LUXENBERG, PC                                GORMAN               LOIS                  NY         12668102         WEITZ & LUXENBERG, PC
GOODFELLOW           JAMES DAVID           NY         10669102         WEITZ & LUXENBERG, PC                                GORNEY               EDMOND J              NY         105061           WEITZ & LUXENBERG, PC
GOODFELLOW           SUSAN                 NY         10669102         WEITZ & LUXENBERG, PC                                GORNEY               RUTH                  NY         105061           WEITZ & LUXENBERG, PC
GOODHEART            GLORIA                NY         10658400         WEITZ & LUXENBERG, PC                                GORNIC               DOLORES               NY         10726899         WEITZ & LUXENBERG, PC
GOODHEART            THOMAS M              NY         10658400         WEITZ & LUXENBERG, PC                                GORNIC               GERALD S              NY         10726899         WEITZ & LUXENBERG, PC
GOODIN               EUGENE                NY         10172001         WEITZ & LUXENBERG, PC                                GORROW               SHIRLEY JANE          NY         12788702         WEITZ & LUXENBERG, PC
GOODIN               EVA                   NY         10172001         WEITZ & LUXENBERG, PC                                GORROW               SHIRLEY JANE          NY         10215803         WEITZ & LUXENBERG, PC
GOODLEAF             COLETTE NEVEL         NY         10659600         WEITZ & LUXENBERG, PC                                GORROW               WARREN P.A.           NY         12788702         WEITZ & LUXENBERG, PC
GOODLEAF             GEORGE H SR           NY         10659600         WEITZ & LUXENBERG, PC                                GORROW               WARREN P.A.           NY         10215803         WEITZ & LUXENBERG, PC
GOODMAN              BERNARD               NY         10171901         WEITZ & LUXENBERG, PC                                GOSH                 HENRY J               NY         10859602         WEITZ & LUXENBERG, PC
GOODMAN              CLARENCE A            NY         10670602         WEITZ & LUXENBERG, PC                                GOSH                 LOUISE                NY         10859602         WEITZ & LUXENBERG, PC
GOODMAN              DOROTHY               NY         10171701         WEITZ & LUXENBERG, PC                                GOSS                 BLANCHE               NY         10726799         WEITZ & LUXENBERG, PC
GOODMAN              ELANOR                NY         10670602         WEITZ & LUXENBERG, PC                                GOSS                 HENRY E               NY         10506200         WEITZ & LUXENBERG, PC
GOODMAN              JACK                  NY         10171701         WEITZ & LUXENBERG, PC                                GOSS                 JOHN J                NY         02105716         WEITZ & LUXENBERG, PC
GOODMAN              NEIL                  NY         10171701         WEITZ & LUXENBERG, PC                                GOSS                 JOSEPH MICHAEL        NY         10726799         WEITZ & LUXENBERG, PC
GOODMAN              ROBERT C              NY         11026802         WEITZ & LUXENBERG, PC                                GOSS                 TERRI F               NY         10726799         WEITZ & LUXENBERG, PC
GOODRICH             FREDERICK W           NY         10506000         WEITZ & LUXENBERG, PC                                GOSVENOR             KATHRYN               NY         CV020252         WEITZ & LUXENBERG, PC
GOODRICH             KAY                   NY         10506000         WEITZ & LUXENBERG, PC                                GOSVENOR             LESLIE                NY         CV020252         WEITZ & LUXENBERG, PC
GOODRICH             MILDRED L             NY         11327802         WEITZ & LUXENBERG, PC                                GOTSHALL             JAMES R               NY         10670402         WEITZ & LUXENBERG, PC
GOODRICH             MILDRED L             NY         11949202         WEITZ & LUXENBERG, PC                                GOTSHALL             SHEILA                NY         10670402         WEITZ & LUXENBERG, PC
GOODRICH             RICHARD F             NY         11327802         WEITZ & LUXENBERG, PC                                GOTTLIEB             AL J                  NY         12042901         WEITZ & LUXENBERG, PC
GOODRICH             RICHARD F             NY         11949202         WEITZ & LUXENBERG, PC                                GOTTLIEB             ALLAN A               NY         11625601         WEITZ & LUXENBERG, PC
GOODROW              FAE                   NY         10680802         WEITZ & LUXENBERG, PC                                GOTTLIEB             ALLAN A               NY         01111221         WEITZ & LUXENBERG, PC
GOODROW              HOWARD W              NY         10680802         WEITZ & LUXENBERG, PC                                GOTTLIEB             BEATRICE              NY         10659000         WEITZ & LUXENBERG, PC
GOODSELL             MARY                  NY         10065602         WEITZ & LUXENBERG, PC                                GOTTLIEB             HOWARD L              NY         12043001         WEITZ & LUXENBERG, PC
GOODSELL             RICHARD I             NY         10065602         WEITZ & LUXENBERG, PC                                GOTTLIEB             ISIDORE               NY         10659000         WEITZ & LUXENBERG, PC
GOODWIN              ALVIE LAVELLE         NY         01CIV3910        WEITZ & LUXENBERG, PC                                GOTTLIEB             WENDY                 NY         11625601         WEITZ & LUXENBERG, PC
GOODWIN              GAIL K                NY         10670802         WEITZ & LUXENBERG, PC                                GOTTLIEB             WENDY                 NY         01111221         WEITZ & LUXENBERG, PC
GOODWIN              JOSEPH                NY         02120615         WEITZ & LUXENBERG, PC                                GOTTSCHALK           JOAN A                NY         10414701         WEITZ & LUXENBERG, PC
GOODWIN              WILLIAM R             NY         10670802         WEITZ & LUXENBERG, PC                                GOULD                BARBARA               NY         11561701         WEITZ & LUXENBERG, PC
GOOSHAW              LOIS M                NY         10727099         WEITZ & LUXENBERG, PC                                GOULD                BARBARA               NY         01111218         WEITZ & LUXENBERG, PC
GOOSHAW              RONALD H              NY         10727099         WEITZ & LUXENBERG, PC                                GOULD                MARY                  NY         12033099         WEITZ & LUXENBERG, PC
GORDESKY             EDWARD                NY         CV016525         WEITZ & LUXENBERG, PC                                GOULD                ROBERT L              NY         10090405         WEITZ & LUXENBERG, PC
GORDESKY             ERNIDEAN              NY         CV016525         WEITZ & LUXENBERG, PC                                GOULD                WAYNE                 NY         10090405         WEITZ & LUXENBERG, PC
GORDH                DOROTHY               NY         10659500         WEITZ & LUXENBERG, PC                                GOULD                WILLIAM J             NY         11561701         WEITZ & LUXENBERG, PC
GORDH                JOHN MILTON           NY         10659500         WEITZ & LUXENBERG, PC                                GOULD                WILLIAM J             NY         01111218         WEITZ & LUXENBERG, PC
GORDON               ARLEEN                NY         02106709         WEITZ & LUXENBERG, PC                                GOURLEY              ROBERT                NY         1901972016       WEITZ & LUXENBERG, PC
GORDON               ARLEEN                NY         11554602         WEITZ & LUXENBERG, PC                                GOURLEY              ROBERT T              NY         1901972016       WEITZ & LUXENBERG, PC
GORDON               BILLY JOE             NY         CV020251         WEITZ & LUXENBERG, PC                                GOURLIDES            ANDREA                NY         19022710         WEITZ & LUXENBERG, PC
GORDON               BRYCE W               NY         11074902         WEITZ & LUXENBERG, PC                                GOURLIDES            PETER                 NY         19022710         WEITZ & LUXENBERG, PC
GORDON               CHRISTINE             NY         12316302         WEITZ & LUXENBERG, PC                                GOUYD                HOWARD                NY         02106707         WEITZ & LUXENBERG, PC
GORDON               EMILY                 NY         10659300         WEITZ & LUXENBERG, PC                                GOUYD                HOWARD                NY         11569902         WEITZ & LUXENBERG, PC
GORDON               HOMER A               NY         02106709         WEITZ & LUXENBERG, PC                                GOUYD                JOYCE                 NY         19021710         WEITZ & LUXENBERG, PC
GORDON               HOMER A               NY         11554602         WEITZ & LUXENBERG, PC                                GOUYD                MARTIN                NY         19021710         WEITZ & LUXENBERG, PC
GORDON               LJ                    NY         10659400         WEITZ & LUXENBERG, PC                                GOVE                 BARBARA L             NJ         MIDL599914AS     WEITZ & LUXENBERG, PC
GORDON               LEWIS A SR            NY         10659300         WEITZ & LUXENBERG, PC                                GOVE                 THOMAS E              NJ         MIDL599914AS     WEITZ & LUXENBERG, PC
GORDON               LINDA                 NY         CV020251         WEITZ & LUXENBERG, PC                                GOVERNO              THOMAS                NY         01113158         WEITZ & LUXENBERG, PC
GORDON               MARY                  NY         10171601         WEITZ & LUXENBERG, PC                                GOZZA                JOHN F                NY         10171501         WEITZ & LUXENBERG, PC
GORDON               OSTINE                NY         10659400         WEITZ & LUXENBERG, PC                                GRABAR               DOROTHY               NY         10506300         WEITZ & LUXENBERG, PC
GORDON               PETER                 NY         10171601         WEITZ & LUXENBERG, PC                                GRABAR               GEORGE C              NY         10506300         WEITZ & LUXENBERG, PC
GORDON               RUTH                  NY         11074902         WEITZ & LUXENBERG, PC                                GRABER               JOHN                  NY         10171401         WEITZ & LUXENBERG, PC
GORECKI              HELEN                 NY         10740502         WEITZ & LUXENBERG, PC                                GRABER               LOIS                  NY         10171401         WEITZ & LUXENBERG, PC
GORECKI              HELEN                 NY         11416802         WEITZ & LUXENBERG, PC                                GRABOSKE             ALBERT J              NY         10506400         WEITZ & LUXENBERG, PC
GORECKI              HENRY J               NY         12377802         WEITZ & LUXENBERG, PC                                GRABOSKE             BETTY                 NY         10506400         WEITZ & LUXENBERG, PC
GORECKI              RICHARD               NY         10740502         WEITZ & LUXENBERG, PC                                GRABOSKI             JOAN E                NY         10506500         WEITZ & LUXENBERG, PC
GORECKI              RICHARD               NY         11416802         WEITZ & LUXENBERG, PC                                GRABOSKI             RONALD F              NY         10506500         WEITZ & LUXENBERG, PC
GORECKI              ROBERT                NY         10740502         WEITZ & LUXENBERG, PC                                GRABOWSKI            DONALD                NY         10658900         WEITZ & LUXENBERG, PC
GORECKI              ROBERT                NY         11416802         WEITZ & LUXENBERG, PC                                GRABOWSKI            JOAN                  NY         10658900         WEITZ & LUXENBERG, PC
GORECKI              WALTER S              NY         10740502         WEITZ & LUXENBERG, PC                                GRABOWSKI            WALTER                NY         11427300         WEITZ & LUXENBERG, PC
GORECKI              WALTER S              NY         11416802         WEITZ & LUXENBERG, PC                                GRABP                FRANK M               NY         10504400         WEITZ & LUXENBERG, PC
GORHAM               CAROL                 NY         02113280         WEITZ & LUXENBERG, PC                                GRABSKI              EDNA                  NY         10090505         WEITZ & LUXENBERG, PC
GORHAM               JAMES T               NY         02113280         WEITZ & LUXENBERG, PC                                GRABSKI              ROBERT                NY         10090505         WEITZ & LUXENBERG, PC
GORI                 DONALD                NY         11311305         WEITZ & LUXENBERG, PC                                GRACE                JAMES C               NY         11026802         WEITZ & LUXENBERG, PC
GORI                 LINDA                 NY         0510724105       WEITZ & LUXENBERG, PC                                GRACESQUI            ANDREA                NY         10870801         WEITZ & LUXENBERG, PC
GORI                 RAYMOND R             NY         0510724105       WEITZ & LUXENBERG, PC                                GRACESQUI            LUIS E                NY         10870801         WEITZ & LUXENBERG, PC
GORKA                BARBARA               NY         10659100         WEITZ & LUXENBERG, PC                                GRACIA               MANUEL                NY         12039101         WEITZ & LUXENBERG, PC
GORKA                EUNICE                NY         10659200         WEITZ & LUXENBERG, PC                                GRACZYK              WILLIAM MICHAEL       NY         I200110276       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 938
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 273 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GRADY                ARTHUR W              NY         12801902         WEITZ & LUXENBERG, PC                                GRANT                ARLENE                NY         98118888         WEITZ & LUXENBERG, PC
GRADY                JULIE G               NY         10658800         WEITZ & LUXENBERG, PC                                GRANT                CARL J                VA         299CV899         WEITZ & LUXENBERG, PC
GRADY                SHARON                NY         12801902         WEITZ & LUXENBERG, PC                                GRANT                CURTIS ELTON          NY         CV012847         WEITZ & LUXENBERG, PC
GRADY                WILLIAM J             NY         10658800         WEITZ & LUXENBERG, PC                                GRANT                DOREEN                NY         11158903         WEITZ & LUXENBERG, PC
GRAF                 DAWN                  NY         11884898         WEITZ & LUXENBERG, PC                                GRANT                EDNA W                NY         10726699         WEITZ & LUXENBERG, PC
GRAFE                WILLIAM G             NY         12039701         WEITZ & LUXENBERG, PC                                GRANT                EDWARD                NY         10039603         WEITZ & LUXENBERG, PC
GRAFE                WILLIAM G             NY         10508102         WEITZ & LUXENBERG, PC                                GRANT                ELLA MAE              NY         CV012847         WEITZ & LUXENBERG, PC
GRAFFITTI            CARMELLA              NY         10008703         WEITZ & LUXENBERG, PC                                GRANT                ELLEN                 NY         10660400         WEITZ & LUXENBERG, PC
GRAFFITTI            REMO                  NY         10008703         WEITZ & LUXENBERG, PC                                GRANT                ESTALEE Y             NY         CV016799         WEITZ & LUXENBERG, PC
GRAHAM               ALBERTA P             NY         19009012         WEITZ & LUXENBERG, PC                                GRANT                FRANKLIN              NY         10726699         WEITZ & LUXENBERG, PC
GRAHAM               AUDREY J              NY         10740402         WEITZ & LUXENBERG, PC                                GRANT                JACK L                NY         10660400         WEITZ & LUXENBERG, PC
GRAHAM               AUDREY J              NY         11429002         WEITZ & LUXENBERG, PC                                GRANT                JACQUELINE M          NY         12213801         WEITZ & LUXENBERG, PC
GRAHAM               BARBARA               NY         10658700         WEITZ & LUXENBERG, PC                                GRANT                JACQUELINE M          NY         10275602         WEITZ & LUXENBERG, PC
GRAHAM               EDMOND EARNEST        NY         11561601         WEITZ & LUXENBERG, PC                                GRANT                JAMES                 NY         11158903         WEITZ & LUXENBERG, PC
GRAHAM               EDMOND EARNEST        NY         01111218         WEITZ & LUXENBERG, PC                                GRANT                JOHN A                NY         11356702         WEITZ & LUXENBERG, PC
GRAHAM               EMMA                  NY         11561601         WEITZ & LUXENBERG, PC                                GRANT                JOHN C                NY         10571402         WEITZ & LUXENBERG, PC
GRAHAM               EMMA                  NY         01111218         WEITZ & LUXENBERG, PC                                GRANT                KATHY A               NY         10571402         WEITZ & LUXENBERG, PC
GRAHAM               GEORGE                NY         10171101         WEITZ & LUXENBERG, PC                                GRANT                KENNETH               NY         12213801         WEITZ & LUXENBERG, PC
GRAHAM               GLORIA                NY         10171201         WEITZ & LUXENBERG, PC                                GRANT                KENNETH               NY         10275602         WEITZ & LUXENBERG, PC
GRAHAM               JACQUALLA             NY         10336299         WEITZ & LUXENBERG, PC                                GRANT                KENNETH J             NY         12433902         WEITZ & LUXENBERG, PC
GRAHAM               JEROME                NY         19041509         WEITZ & LUXENBERG, PC                                GRANT                OLIVER                NY         98118888         WEITZ & LUXENBERG, PC
GRAHAM               JOHN J                NY         10658700         WEITZ & LUXENBERG, PC                                GRANT                ROY D                 NY         10660300         WEITZ & LUXENBERG, PC
GRAHAM               JOSEPH R              NY         10658600         WEITZ & LUXENBERG, PC                                GRANT                RUTH L                VA         299CV899         WEITZ & LUXENBERG, PC
GRAHAM               LINDA                 NY         02107007         WEITZ & LUXENBERG, PC                                GRANT                SHIRLEY A             NY         10660300         WEITZ & LUXENBERG, PC
GRAHAM               MARGARET              NY         10658600         WEITZ & LUXENBERG, PC                                GRANT                THOMAS GLEN           NY         02106578         WEITZ & LUXENBERG, PC
GRAHAM               MARY                  NY         10171101         WEITZ & LUXENBERG, PC                                GRANT                VIRGINIA              NY         10660500         WEITZ & LUXENBERG, PC
GRAHAM               MARY D                NY         01CIV3900        WEITZ & LUXENBERG, PC                                GRANTINETTI          CAROLYN               NY         10699902         WEITZ & LUXENBERG, PC
GRAHAM               ORMOND L              NY         CIV0843          WEITZ & LUXENBERG, PC                                GRANTINETTI          MANUEL                NY         10699902         WEITZ & LUXENBERG, PC
GRAHAM               RICHARD               NY         02107007         WEITZ & LUXENBERG, PC                                GRANTON              MARILYN               NY         11159003         WEITZ & LUXENBERG, PC
GRAHAM               RUTH                  NY         19041509         WEITZ & LUXENBERG, PC                                GRANTON              RONALD                NY         11159003         WEITZ & LUXENBERG, PC
GRAHAM               SUE                   NY         11327602         WEITZ & LUXENBERG, PC                                GRAPEVINE            FRANCES A             NY         10740102         WEITZ & LUXENBERG, PC
GRAHAM               SUSANNE               NY         12109902         WEITZ & LUXENBERG, PC                                GRAPEVINE            FRANCES ANN           NY         10587102         WEITZ & LUXENBERG, PC
GRAHAM               WALTER                NY         10171201         WEITZ & LUXENBERG, PC                                GRAPEVINE            GERALD E              NY         10740102         WEITZ & LUXENBERG, PC
GRAHAM               WALTER C              NY         11327602         WEITZ & LUXENBERG, PC                                GRAPEVINE            GERALD E              NY         10587102         WEITZ & LUXENBERG, PC
GRAHAM               WALTER C              NY         12109902         WEITZ & LUXENBERG, PC                                GRASSE               PHILIP L              NY         12039801         WEITZ & LUXENBERG, PC
GRAHAM-JEFFERIES     GLADYS L              NY         CIV0843          WEITZ & LUXENBERG, PC                                GRASSE               ROSALIE               NY         10669502         WEITZ & LUXENBERG, PC
GRAJEDA              ESTER                 NY         10658500         WEITZ & LUXENBERG, PC                                GRASSE               SAMUEL                NY         10669502         WEITZ & LUXENBERG, PC
GRAJEDA              JOSEPH                NY         10658500         WEITZ & LUXENBERG, PC                                GRASSE               SANDY                 NY         12039801         WEITZ & LUXENBERG, PC
GRALAK               EDWARD G              NY         10171001         WEITZ & LUXENBERG, PC                                GRASSI               DENNIS                NY         10660200         WEITZ & LUXENBERG, PC
GRAMIGNA             JOHN H                NY         10489605         WEITZ & LUXENBERG, PC                                GRASSO               ANN                   NY         10170901         WEITZ & LUXENBERG, PC
GRANATA              ANNETTE               NY         1900902017       WEITZ & LUXENBERG, PC                                GRASSO               ANTHONY               NY         01111235         WEITZ & LUXENBERG, PC
GRANATA              GERARD                NY         12043301         WEITZ & LUXENBERG, PC                                GRASSO               ANTHONY               NY         11830401         WEITZ & LUXENBERG, PC
GRANATA              JOHN T                NY         1900902017       WEITZ & LUXENBERG, PC                                GRASSO               DELORES               NY         10726499         WEITZ & LUXENBERG, PC
GRANATA              SARAH                 NY         12043301         WEITZ & LUXENBERG, PC                                GRASSO               FRANK                 NY         10170901         WEITZ & LUXENBERG, PC
GRANATO              ANN MARIE             NY         12503800         WEITZ & LUXENBERG, PC                                GRASSO               JOHN                  NY         10696502         WEITZ & LUXENBERG, PC
GRANCARICH           BRANKO                NY         12693402         WEITZ & LUXENBERG, PC                                GRASSO               JOSEPH                NY         11027002         WEITZ & LUXENBERG, PC
GRANCARICH           ELSIE                 NY         12693402         WEITZ & LUXENBERG, PC                                GRASSO               JOSEPH                NY         12672502         WEITZ & LUXENBERG, PC
GRANDE               ALEXANDER J           NY         12039201         WEITZ & LUXENBERG, PC                                GRASSO               MARILYN               NY         10170801         WEITZ & LUXENBERG, PC
GRANDE               ALEXANDER J           NY         10409302         WEITZ & LUXENBERG, PC                                GRASSO               MARY JANE             NY         01111235         WEITZ & LUXENBERG, PC
GRANDE               RAYMOND               NY         12039201         WEITZ & LUXENBERG, PC                                GRASSO               MARY JANE             NY         11830401         WEITZ & LUXENBERG, PC
GRANDE               RAYMOND               NY         10409302         WEITZ & LUXENBERG, PC                                GRASSO               RALPH WILLIAM         NY         10726499         WEITZ & LUXENBERG, PC
GRANDNER             IDA                   NY         10660900         WEITZ & LUXENBERG, PC                                GRASSO               ROBIN                 NY         11027002         WEITZ & LUXENBERG, PC
GRANDNER             WILLIAM E             NY         10660900         WEITZ & LUXENBERG, PC                                GRASSO               ROBIN                 NY         12672502         WEITZ & LUXENBERG, PC
GRANDO               JOHN                  NY         10660800         WEITZ & LUXENBERG, PC                                GRASSO               SEBASTIANO J          NY         10170801         WEITZ & LUXENBERG, PC
GRANDO               KAREN                 NY         10660800         WEITZ & LUXENBERG, PC                                GRATTO               GERALD N              NY         10048705         WEITZ & LUXENBERG, PC
GRANDPIERRE          ANNE                  NY         10660700         WEITZ & LUXENBERG, PC                                GRATTO               MARIANNE              NY         10048705         WEITZ & LUXENBERG, PC
GRANDPIERRE          KURT                  NY         10660700         WEITZ & LUXENBERG, PC                                GRAUL                ALBERT J              NY         1900192018       WEITZ & LUXENBERG, PC
GRANELLI             ANTOINETTE            NY         10870801         WEITZ & LUXENBERG, PC                                GRAUL                CHARLOTTE             NY         1900192018       WEITZ & LUXENBERG, PC
GRANELLI             ETTORE                NY         10870801         WEITZ & LUXENBERG, PC                                GRAVELY              CLYDE                 NY         10660100         WEITZ & LUXENBERG, PC
GRANGER              CAROL                 NY         I20018194        WEITZ & LUXENBERG, PC                                GRAVELY              NELLIE                NY         10660100         WEITZ & LUXENBERG, PC
GRANGER              DARWIN N              NY         I20018194        WEITZ & LUXENBERG, PC                                GRAVER               LOUIS D               NY         110463           WEITZ & LUXENBERG, PC
GRANGER              STEVEN A              NY         110516           WEITZ & LUXENBERG, PC                                GRAVER               ROBERT E              NY         10680802         WEITZ & LUXENBERG, PC
GRANGER              STEVEN A              NY         12448902         WEITZ & LUXENBERG, PC                                GRAVES               BARBARA               NY         10740302         WEITZ & LUXENBERG, PC
GRANGLOFF            CHARLES               NY         11327702         WEITZ & LUXENBERG, PC                                GRAVES               CLAUDE L              NY         10740302         WEITZ & LUXENBERG, PC
GRANGLOFF            MARY                  NY         11327702         WEITZ & LUXENBERG, PC                                GRAVES               JEDELL                NY         CV013921         WEITZ & LUXENBERG, PC
GRANICA              WALTER J              NY         10740502         WEITZ & LUXENBERG, PC                                GRAY                 BARBARA               NY         01111220         WEITZ & LUXENBERG, PC
GRANO                ANNETTE               NY         98118874         WEITZ & LUXENBERG, PC                                GRAY                 BARBARA J             NY         11026802         WEITZ & LUXENBERG, PC
GRANO                MICHAEL               NY         98118874         WEITZ & LUXENBERG, PC                                GRAY                 BARBARA J             NY         12571202         WEITZ & LUXENBERG, PC
GRANSTON             RONALD                NY         10660600         WEITZ & LUXENBERG, PC                                GRAY                 CHARLES               NY         1902342015       WEITZ & LUXENBERG, PC
GRANSTON             THELMA                NY         10660600         WEITZ & LUXENBERG, PC                                GRAY                 DE VILUS              NY         11026802         WEITZ & LUXENBERG, PC
GRANT                ALBERT C              NY         10660500         WEITZ & LUXENBERG, PC                                GRAY                 DE VILUS              NY         12571202         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 939
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 274 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GRAY                 DEBRA LEE             NY         10670402         WEITZ & LUXENBERG, PC                                GRECO                SEBASTIAN L           NY         6120332018       WEITZ & LUXENBERG, PC
GRAY                 DONALD C              NY         02107004         WEITZ & LUXENBERG, PC                                GRECO                VICTOR J              NY         CV011418         WEITZ & LUXENBERG, PC
GRAY                 DORIS                 NY         CIV006917        WEITZ & LUXENBERG, PC                                GREEFF               CHARLOETTE            NY         11162103         WEITZ & LUXENBERG, PC
GRAY                 GEORGE A              NY         10168002         WEITZ & LUXENBERG, PC                                GREEFF               WILLIAM               NY         11162103         WEITZ & LUXENBERG, PC
GRAY                 HAROLD R              NY         11026702         WEITZ & LUXENBERG, PC                                GREEN                ALICE                 NY         10169801         WEITZ & LUXENBERG, PC
GRAY                 IRA                   NY         01111220         WEITZ & LUXENBERG, PC                                GREEN                ALVIN                 NY         99107260         WEITZ & LUXENBERG, PC
GRAY                 JAMES R               NY         CIV006917        WEITZ & LUXENBERG, PC                                GREEN                ARTHUR                NY         10023203         WEITZ & LUXENBERG, PC
GRAY                 JEAN                  NY         11026702         WEITZ & LUXENBERG, PC                                GREEN                BARBARA J             NY         11168500         WEITZ & LUXENBERG, PC
GRAY                 JOYCE                 NY         10660000         WEITZ & LUXENBERG, PC                                GREEN                BRENDA                NY         I20019436        WEITZ & LUXENBERG, PC
GRAY                 KATHY ANN             NY         02106578         WEITZ & LUXENBERG, PC                                GREEN                CALLIE                NY         1902502016       WEITZ & LUXENBERG, PC
GRAY                 MARINA B              NY         10726399         WEITZ & LUXENBERG, PC                                GREEN                CAROL B.              NY         1902362012       WEITZ & LUXENBERG, PC
GRAY                 MARY                  NY         10079501         WEITZ & LUXENBERG, PC                                GREEN                CLAYTON J             NY         10725999         WEITZ & LUXENBERG, PC
GRAY                 MARY                  NY         11939100         WEITZ & LUXENBERG, PC                                GREEN                DAVID J               NY         02107004         WEITZ & LUXENBERG, PC
GRAY                 MARY ANN              NY         02106578         WEITZ & LUXENBERG, PC                                GREEN                DAVID M               NY         02106579         WEITZ & LUXENBERG, PC
GRAY                 RANDY                 NY         10670402         WEITZ & LUXENBERG, PC                                GREEN                DENNIS J              NY         02106578         WEITZ & LUXENBERG, PC
GRAY                 REGINA                NY         11363502         WEITZ & LUXENBERG, PC                                GREEN                EARL A                NY         10169801         WEITZ & LUXENBERG, PC
GRAY                 RICHARD F             NY         10660000         WEITZ & LUXENBERG, PC                                GREEN                GARRON MARSHAL        NY         10659700         WEITZ & LUXENBERG, PC
GRAY                 RICHARD H             NY         02106578         WEITZ & LUXENBERG, PC                                GREEN                GILLIS MARIE          NY         CV012137         WEITZ & LUXENBERG, PC
GRAY                 SONYA R               NY         11026802         WEITZ & LUXENBERG, PC                                GREEN                GLORIA                NY         10659700         WEITZ & LUXENBERG, PC
GRAY                 SONYA R               NY         12571202         WEITZ & LUXENBERG, PC                                GREEN                HOWARD I              NY         10740502         WEITZ & LUXENBERG, PC
GRAY                 WALTER L              NY         10726399         WEITZ & LUXENBERG, PC                                GREEN                ISAAC                 NY         CV017340         WEITZ & LUXENBERG, PC
GRAY                 WILLIE C              NY         CV011212         WEITZ & LUXENBERG, PC                                GREEN                JAMES                 NY         19001309         WEITZ & LUXENBERG, PC
GRAYSON              CHARLES S             NY         10726299         WEITZ & LUXENBERG, PC                                GREEN                JAMES M               NY         12668202         WEITZ & LUXENBERG, PC
GRAYSON              DEBRA                 NY         10726299         WEITZ & LUXENBERG, PC                                GREEN                JEAN L                NY         10725999         WEITZ & LUXENBERG, PC
GRAZIADEI            DONALD                NY         EFCA2017000157   WEITZ & LUXENBERG, PC                                GREEN                JESSIE M              NY         10661300         WEITZ & LUXENBERG, PC
GRAZIADEI            KEVIN                 NY         EFCA2017000157   WEITZ & LUXENBERG, PC                                GREEN                JOHN T                NY         01CIV3922        WEITZ & LUXENBERG, PC
GRAZIADEI            SHIRLEY               NY         EFCA2017000157   WEITZ & LUXENBERG, PC                                GREEN                JOSEPH M              NY         10587202         WEITZ & LUXENBERG, PC
GRAZIANI             COLETTE               NY         10574601         WEITZ & LUXENBERG, PC                                GREEN                LESLIE ERWIN          NY         02120615         WEITZ & LUXENBERG, PC
GRAZIANI             GERALD J              NY         10574601         WEITZ & LUXENBERG, PC                                GREEN                LOUIS                 NY         10504500         WEITZ & LUXENBERG, PC
GRAZIANI             MARLENE               NY         10574601         WEITZ & LUXENBERG, PC                                GREEN                LOUIS                 NY         10504400         WEITZ & LUXENBERG, PC
GRAZIANO             ANDRE                 NY         12039301         WEITZ & LUXENBERG, PC                                GREEN                LOUIS                 NY         12577599         WEITZ & LUXENBERG, PC
GRAZIANO             JOANNE                NY         12039301         WEITZ & LUXENBERG, PC                                GREEN                LYNDA                 NY         02106579         WEITZ & LUXENBERG, PC
GRAZIANO             VITO                  NY         01111224         WEITZ & LUXENBERG, PC                                GREEN                MARGARET              NY         98118838         WEITZ & LUXENBERG, PC
GRAZIOSE             BARBARA               NY         10170701         WEITZ & LUXENBERG, PC                                GREEN                MARLENE               NY         10169701         WEITZ & LUXENBERG, PC
GRAZIOSE             GERARD                NY         10170701         WEITZ & LUXENBERG, PC                                GREEN                MARY                  NY         10661100         WEITZ & LUXENBERG, PC
GRAZULEWICZ          DANIEL J              NY         6086392017       WEITZ & LUXENBERG, PC                                GREEN                MARY ANN              NY         10680802         WEITZ & LUXENBERG, PC
GRBIC                MIRANDA               NY         10726199         WEITZ & LUXENBERG, PC                                GREEN                MARY ELLA             NY         CV017165         WEITZ & LUXENBERG, PC
GRBIC                VLADO                 NY         10726199         WEITZ & LUXENBERG, PC                                GREEN                MILDRED               NY         12668202         WEITZ & LUXENBERG, PC
GREANY               PATRICIA              NY         01111222         WEITZ & LUXENBERG, PC                                GREEN                NED                   NY         10661300         WEITZ & LUXENBERG, PC
GREANY               VINCENT C             NY         01111222         WEITZ & LUXENBERG, PC                                GREEN                PERCY E               NY         10680802         WEITZ & LUXENBERG, PC
GREASER              CATHERINE             NY         10659800         WEITZ & LUXENBERG, PC                                GREEN                PRISCILLA M           NY         10661300         WEITZ & LUXENBERG, PC
GREASER              ELMER R               NY         10659900         WEITZ & LUXENBERG, PC                                GREEN                ROBERT E              NY         02120615         WEITZ & LUXENBERG, PC
GREASER              FLORENCE              NY         10659900         WEITZ & LUXENBERG, PC                                GREEN                ROBERT J              NY         98118838         WEITZ & LUXENBERG, PC
GREASER              MARTIN ALOYSIUS       NY         10659800         WEITZ & LUXENBERG, PC                                GREEN                ROBERT L              NY         CV020253         WEITZ & LUXENBERG, PC
GREATHOUSE           CLORENE               NY         CIV006917        WEITZ & LUXENBERG, PC                                GREEN                ROBIN A               NY         10587602         WEITZ & LUXENBERG, PC
GREATHOUSE           MORRIS D              NY         CIV006917        WEITZ & LUXENBERG, PC                                GREEN                ROBIN A               NY         10971902         WEITZ & LUXENBERG, PC
GREBE                PATRICIA              NY         12433902         WEITZ & LUXENBERG, PC                                GREEN                RODNEY L              NY         10169701         WEITZ & LUXENBERG, PC
GREBE                PATRICIA              NY         10197903         WEITZ & LUXENBERG, PC                                GREEN                ROSA                  NY         10504500         WEITZ & LUXENBERG, PC
GRECKO               HELEN                 NY         10587402         WEITZ & LUXENBERG, PC                                GREEN                ROSA                  NY         10504400         WEITZ & LUXENBERG, PC
GRECKO               WILLIAM               NY         10587402         WEITZ & LUXENBERG, PC                                GREEN                ROSA                  NY         12577599         WEITZ & LUXENBERG, PC
GRECO                ANGELINA              NY         11707400         WEITZ & LUXENBERG, PC                                GREEN                RUBY                  NY         CV020253         WEITZ & LUXENBERG, PC
GRECO                ANN                   NY         11707400         WEITZ & LUXENBERG, PC                                GREEN                WALTER C              NY         10661100         WEITZ & LUXENBERG, PC
GRECO                ANTHONY               NY         12305301         WEITZ & LUXENBERG, PC                                GREEN                WALTER W              NY         I20019436        WEITZ & LUXENBERG, PC
GRECO                ANTHONY               NY         01111230         WEITZ & LUXENBERG, PC                                GREEN                WAYNE JOSEPH          NY         02106578         WEITZ & LUXENBERG, PC
GRECO                CARL C                NY         11707400         WEITZ & LUXENBERG, PC                                GREEN                WILLIAM JR            NY         CV017165         WEITZ & LUXENBERG, PC
GRECO                CHARLES P             NY         10661500         WEITZ & LUXENBERG, PC                                GREEN                MARIE                 NY         19001309         WEITZ & LUXENBERG, PC
GRECO                DOMINIC F             NY         98118847         WEITZ & LUXENBERG, PC                                GREENBAUM            HARRY                 NY         10661000         WEITZ & LUXENBERG, PC
GRECO                ERNEST                NY         1903332014       WEITZ & LUXENBERG, PC                                GREENBAUM            SYLVIA                NY         10661000         WEITZ & LUXENBERG, PC
GRECO                GILDA                 NY         12305301         WEITZ & LUXENBERG, PC                                GREENBERG            MATTHEW               NY         19021311         WEITZ & LUXENBERG, PC
GRECO                GILDA                 NY         01111230         WEITZ & LUXENBERG, PC                                GREENE               ALLEN                 NY         10857905         WEITZ & LUXENBERG, PC
GRECO                JOHN                  NY         10170601         WEITZ & LUXENBERG, PC                                GREENE               BERTRAND F            NY         11026802         WEITZ & LUXENBERG, PC
GRECO                MARIETTA              NY         10661400         WEITZ & LUXENBERG, PC                                GREENE               CYRIL                 NY         1902042015       WEITZ & LUXENBERG, PC
GRECO                MARY T                NY         CV011418         WEITZ & LUXENBERG, PC                                GREENE               DONNA                 NY         11026802         WEITZ & LUXENBERG, PC
GRECO                MICHAEL               NY         10170601         WEITZ & LUXENBERG, PC                                GREENE               DOROTHY T             NY         01114854         WEITZ & LUXENBERG, PC
GRECO                MICHELLI              NY         6120332018       WEITZ & LUXENBERG, PC                                GREENE               FRED A                NY         11884898         WEITZ & LUXENBERG, PC
GRECO                NICOLA                NY         12111901         WEITZ & LUXENBERG, PC                                GREENE               HARRY                 NY         10662500         WEITZ & LUXENBERG, PC
GRECO                NICOLA                NY         01111224         WEITZ & LUXENBERG, PC                                GREENE               HENRY                 NY         11363502         WEITZ & LUXENBERG, PC
GRECO                PHILIP A              NY         10661400         WEITZ & LUXENBERG, PC                                GREENE               HENRY O               NY         10722202         WEITZ & LUXENBERG, PC
GRECO                ROSA                  NY         12111901         WEITZ & LUXENBERG, PC                                GREENE               HERBERT L             NY         10652104         WEITZ & LUXENBERG, PC
GRECO                ROSA                  NY         01111224         WEITZ & LUXENBERG, PC                                GREENE               JOAN W                NY         10652104         WEITZ & LUXENBERG, PC
GRECO                ROSE                  NY         98118847         WEITZ & LUXENBERG, PC                                GREENE               KENNETH J             NY         10504600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 940
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 275 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GREENE               MARCIA                NY         11363502         WEITZ & LUXENBERG, PC                                GRGAS                ANTHONY               NY         10170401         WEITZ & LUXENBERG, PC
GREENE               O JEANNE              NY         10662500         WEITZ & LUXENBERG, PC                                GRGAS                ELVIRA                NY         10379804         WEITZ & LUXENBERG, PC
GREENE               PETER J               NY         01114854         WEITZ & LUXENBERG, PC                                GRGAS                FRANK                 NY         11027002         WEITZ & LUXENBERG, PC
GREENE               RENEE                 NY         1902042015       WEITZ & LUXENBERG, PC                                GRGAS                FRANK                 NY         12672602         WEITZ & LUXENBERG, PC
GREENE               THEODORE              NY         10710102         WEITZ & LUXENBERG, PC                                GRGAS                IVOS                  NY         10379804         WEITZ & LUXENBERG, PC
GREENE               WILLIE IDA            NY         10710102         WEITZ & LUXENBERG, PC                                GRGAS                JERKA                 NY         11027002         WEITZ & LUXENBERG, PC
GREENFIELD           JOHN F                NY         01106932         WEITZ & LUXENBERG, PC                                GRGAS                JERKA                 NY         12672602         WEITZ & LUXENBERG, PC
GREENLEE             BRUCE A               NY         CV013275         WEITZ & LUXENBERG, PC                                GRGAS                JOSEPH W              NY         10170401         WEITZ & LUXENBERG, PC
GREENLEE             MARY ANN              NY         CV013275         WEITZ & LUXENBERG, PC                                GRGAS                JOSIP                 NY         11027002         WEITZ & LUXENBERG, PC
GREENOGH             DONALD                NY         19006612         WEITZ & LUXENBERG, PC                                GRGAS                LEOPOLD               NY         11625501         WEITZ & LUXENBERG, PC
GREENOGH             DONALD                NY         2012171          WEITZ & LUXENBERG, PC                                GRGAS                LEOPOLD               NY         01111221         WEITZ & LUXENBERG, PC
GREENOUGH            DONALD                NY         19006612         WEITZ & LUXENBERG, PC                                GRGAS                MARIJA                NY         12039701         WEITZ & LUXENBERG, PC
GREENOUGH            DONALD                NY         2012171          WEITZ & LUXENBERG, PC                                GRGAS                MARY                  NY         10170401         WEITZ & LUXENBERG, PC
GREENWALT            LORAINE               NY         10740002         WEITZ & LUXENBERG, PC                                GRGAS                NIKO                  NY         12039701         WEITZ & LUXENBERG, PC
GREENWALT            LORAINE               NY         11407402         WEITZ & LUXENBERG, PC                                GRGAS                VEDRANA               NY         11027002         WEITZ & LUXENBERG, PC
GREENWALT            RICHARD               NY         10740002         WEITZ & LUXENBERG, PC                                GRIBBINS             ANNE                  NY         01111236         WEITZ & LUXENBERG, PC
GREENWALT            RICHARD               NY         11407402         WEITZ & LUXENBERG, PC                                GRIBBINS             MICHAEL               NY         01111236         WEITZ & LUXENBERG, PC
GREENWAY             HAZEL                 NY         CV013921         WEITZ & LUXENBERG, PC                                GRICE                LENWOOD               NY         10722102         WEITZ & LUXENBERG, PC
GREENWAY             WILLIAM B             NY         CV013921         WEITZ & LUXENBERG, PC                                GRICE                OLA                   NY         10722102         WEITZ & LUXENBERG, PC
GREENWOOD            GAIL C                NY         10870801         WEITZ & LUXENBERG, PC                                GRIECO               ALFONSO V             NY         11185904         WEITZ & LUXENBERG, PC
GREENWOOD            JAMES                 NY         12444102         WEITZ & LUXENBERG, PC                                GRIECO               CARL                  NY         10662100         WEITZ & LUXENBERG, PC
GREENWOOD            RICHARD D             NY         10870801         WEITZ & LUXENBERG, PC                                GRIECO               JACQUELINE            NY         11185904         WEITZ & LUXENBERG, PC
GREER                JAMES H               NY         CV020254         WEITZ & LUXENBERG, PC                                GRIECO               MARYLN                NY         10662100         WEITZ & LUXENBERG, PC
GREER                LOUISE                NY         CV020254         WEITZ & LUXENBERG, PC                                GRIESENBRAUCK        HERIBERT              NY         10210403         WEITZ & LUXENBERG, PC
GREFSKI              HERBERT S             NY         6228872017       WEITZ & LUXENBERG, PC                                GRIESENBRAUCK        SANDRA                NY         10210403         WEITZ & LUXENBERG, PC
GREFSKI              JOAN                  NY         6228872017       WEITZ & LUXENBERG, PC                                GRIESINGER           CHARLES F             NY         10170301         WEITZ & LUXENBERG, PC
GREGG                KATHERINE             NY         99121278         WEITZ & LUXENBERG, PC                                GRIESINGER           JAMES J               NY         10662000         WEITZ & LUXENBERG, PC
GREGG                MICHAEL J             NY         99121278         WEITZ & LUXENBERG, PC                                GRIESINGER           KATHLEEN              NY         10170301         WEITZ & LUXENBERG, PC
GREGOR               BARNEY                NY         10504700         WEITZ & LUXENBERG, PC                                GRIESINGER           NANCY                 NY         10662000         WEITZ & LUXENBERG, PC
GREGOR               MARY JANE             NY         10504700         WEITZ & LUXENBERG, PC                                GRIFFEN              JOHN                  NY         10661900         WEITZ & LUXENBERG, PC
GREGOR               ROBERT                NY         01111226         WEITZ & LUXENBERG, PC                                GRIFFEN              KATHERINE             NY         10661900         WEITZ & LUXENBERG, PC
GREGORIO             ALADINO               NY         10371306         WEITZ & LUXENBERG, PC                                GRIFFIN              ADA                   NY         10587602         WEITZ & LUXENBERG, PC
GREGORIO             ANNA                  NY         10371306         WEITZ & LUXENBERG, PC                                GRIFFIN              ALBERT F              NY         11884098         WEITZ & LUXENBERG, PC
GREGORY              BRIAN                 NY         E2017000215      WEITZ & LUXENBERG, PC                                GRIFFIN              ALICE                 NY         12144001         WEITZ & LUXENBERG, PC
GREGORY              CARL                  NY         E2017000215      WEITZ & LUXENBERG, PC                                GRIFFIN              ANTHONY G             NY         10504800         WEITZ & LUXENBERG, PC
GREGORY              EFFIE FLORENCE        NY         CV018231         WEITZ & LUXENBERG, PC                                GRIFFIN              BETTY                 NY         11884098         WEITZ & LUXENBERG, PC
GREGORY              INEZ                  NY         10662400         WEITZ & LUXENBERG, PC                                GRIFFIN              DOROTHY               NY         10722002         WEITZ & LUXENBERG, PC
GREGORY              LUCIA E               NY         10696402         WEITZ & LUXENBERG, PC                                GRIFFIN              DOROTHY               NY         11345802         WEITZ & LUXENBERG, PC
GREGORY              MICHAEL W             NY         10696402         WEITZ & LUXENBERG, PC                                GRIFFIN              FRANCIS               NY         12305401         WEITZ & LUXENBERG, PC
GREGORY              MURIEL                NY         E2017000215      WEITZ & LUXENBERG, PC                                GRIFFIN              FRANCIS               NY         12144001         WEITZ & LUXENBERG, PC
GREGORY              PETER                 NY         6197932018       WEITZ & LUXENBERG, PC                                GRIFFIN              FRANCIS               NY         01111230         WEITZ & LUXENBERG, PC
GREGORY              REBECCA A             NY         10648101         WEITZ & LUXENBERG, PC                                GRIFFIN              FRANCIS P             NY         01111228         WEITZ & LUXENBERG, PC
GREGORY              THOMAS                NY         10662400         WEITZ & LUXENBERG, PC                                GRIFFIN              GERALD                NY         01111226         WEITZ & LUXENBERG, PC
GREICO               ANGIOLIO JULIUS       NY         10662300         WEITZ & LUXENBERG, PC                                GRIFFIN              JIMMIE L              NY         10587602         WEITZ & LUXENBERG, PC
GREICO               FRANK J               NY         12043101         WEITZ & LUXENBERG, PC                                GRIFFIN              LANE                  NY         01111226         WEITZ & LUXENBERG, PC
GREICO               MARY                  NY         12043101         WEITZ & LUXENBERG, PC                                GRIFFIN              MARGARET              NY         12305401         WEITZ & LUXENBERG, PC
GREIG                MARK C                NY         11124904         WEITZ & LUXENBERG, PC                                GRIFFIN              MARGARET              NY         01111230         WEITZ & LUXENBERG, PC
GREIG                WANDA F               NY         11124904         WEITZ & LUXENBERG, PC                                GRIFFIN              MARYLOU               NY         1902372014       WEITZ & LUXENBERG, PC
GREMLER              WILLIAM               NY         11026902         WEITZ & LUXENBERG, PC                                GRIFFIN              MICHAEL               NY         1902562017       WEITZ & LUXENBERG, PC
GREMLER              WILLIAM               NY         12676702         WEITZ & LUXENBERG, PC                                GRIFFIN              MILDRED               NY         10170201         WEITZ & LUXENBERG, PC
GRENGA               ELIZABETH T           NY         10662200         WEITZ & LUXENBERG, PC                                GRIFFIN              PATRICK J             NY         10722002         WEITZ & LUXENBERG, PC
GRENGA               PAUL A                NY         10662200         WEITZ & LUXENBERG, PC                                GRIFFIN              PATRICK J             NY         11345802         WEITZ & LUXENBERG, PC
GRENGA               PAUL A JR             NY         10662200         WEITZ & LUXENBERG, PC                                GRIFFIN              PATRICK JOHN          NY         10722002         WEITZ & LUXENBERG, PC
GRENNON              LAURIS JAMES          NY         10645702         WEITZ & LUXENBERG, PC                                GRIFFIN              PATRICK JOHN          NY         11345802         WEITZ & LUXENBERG, PC
GRENON               GEORGE                NY         1905302012       WEITZ & LUXENBERG, PC                                GRIFFIN              ROBERT                NY         1902372014       WEITZ & LUXENBERG, PC
GRENON               THERESA               NY         1905302012       WEITZ & LUXENBERG, PC                                GRIFFIN              ROBERT E              NY         10170201         WEITZ & LUXENBERG, PC
GRESCO               MARY ELAINE           NY         I20019856        WEITZ & LUXENBERG, PC                                GRIFFIN              TERESA                NY         1902562017       WEITZ & LUXENBERG, PC
GRESCO               MARY ELAINE           NY         12448802         WEITZ & LUXENBERG, PC                                GRIFFIS              JAMES                 NY         CV021456         WEITZ & LUXENBERG, PC
GRESCO               ROBERT M              NY         I20019856        WEITZ & LUXENBERG, PC                                GRIFFIS              MARY MARGARET         NY         CV021456         WEITZ & LUXENBERG, PC
GRESCO               ROBERT M              NY         12448802         WEITZ & LUXENBERG, PC                                GRIFFITH             CARL                  NY         99107258         WEITZ & LUXENBERG, PC
GRESHAM              JESSIE                NY         CV013921         WEITZ & LUXENBERG, PC                                GRIFFITH             GENEVA                NY         CV003590         WEITZ & LUXENBERG, PC
GRESS                KAMAL N               NY         12039601         WEITZ & LUXENBERG, PC                                GRIFFITH             HUGH JR               NY         CV003590         WEITZ & LUXENBERG, PC
GRESS                SARAH                 NY         12039601         WEITZ & LUXENBERG, PC                                GRIFFITH             LAWRENCE              NY         1901752014       WEITZ & LUXENBERG, PC
GRETO                DONNA                 NY         10817306         WEITZ & LUXENBERG, PC                                GRIFFITH             LENOX ALENTON         NY         10661800         WEITZ & LUXENBERG, PC
GREUSEL              JAMIE B               NY         12039901         WEITZ & LUXENBERG, PC                                GRIFFITH             LYNETTE               NY         10661800         WEITZ & LUXENBERG, PC
GREUSEL              JAMIE B               NY         10451202         WEITZ & LUXENBERG, PC                                GRIFFITH             MARY A                NY         01CIV3910        WEITZ & LUXENBERG, PC
GREY                 DAVID J               NY         2016002542       WEITZ & LUXENBERG, PC                                GRIFFITH             MURIEL                NY         99107258         WEITZ & LUXENBERG, PC
GREY                 TERESA                NY         2016002542       WEITZ & LUXENBERG, PC                                GRIFFITH             ROBERT C              NY         10587402         WEITZ & LUXENBERG, PC
GREY                 VINCENT               NY         2016002542       WEITZ & LUXENBERG, PC                                GRIFFITHS            COLIN                 NY         1900712018       WEITZ & LUXENBERG, PC
GRGAS                ANDELKA               NY         11625501         WEITZ & LUXENBERG, PC                                GRIFFITHS            SANDRA                NY         1900712018       WEITZ & LUXENBERG, PC
GRGAS                ANDELKA               NY         01111221         WEITZ & LUXENBERG, PC                                GRIGSBY              FANNIE                NY         CV007452         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 941
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 276 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GRIGSBY              GARALD KENNETH        NY         CV007452         WEITZ & LUXENBERG, PC                                GRULICH              JACQUELINE A          NY         105984           WEITZ & LUXENBERG, PC
GRIGSBY              SHIRLEY               NY         CV013899         WEITZ & LUXENBERG, PC                                GRULICH              JAQULINE A            NY         105984           WEITZ & LUXENBERG, PC
GRILL                GARY W                NY         12597002         WEITZ & LUXENBERG, PC                                GRULICH              ROBERT WILLIAM        NY         105984           WEITZ & LUXENBERG, PC
GRILL                JANET                 NY         12597002         WEITZ & LUXENBERG, PC                                GRUPKA               ALBERTA               NY         98118842         WEITZ & LUXENBERG, PC
GRILLO               BARBARA               NY         1900812018       WEITZ & LUXENBERG, PC                                GRUPKA               STANLEY               NY         98118842         WEITZ & LUXENBERG, PC
GRILLO               SYLVESTER M           NY         1900812018       WEITZ & LUXENBERG, PC                                GRUSZFELD            JERZY                 NY         10169101         WEITZ & LUXENBERG, PC
GRIMALDI             GERALD                NY         11168600         WEITZ & LUXENBERG, PC                                GRYN                 JOHN M                NY         1902262017       WEITZ & LUXENBERG, PC
GRIMALDI             JANE                  NY         11168600         WEITZ & LUXENBERG, PC                                GRYN                 LINDA                 NY         1902262017       WEITZ & LUXENBERG, PC
GRIMALDI             MICHAEL               NY         10716802         WEITZ & LUXENBERG, PC                                GRYS                 AMY                   NY         10169001         WEITZ & LUXENBERG, PC
GRIMM                ALAN RICHARD          NY         12693702         WEITZ & LUXENBERG, PC                                GRYS                 JOSEPH F              NY         10169001         WEITZ & LUXENBERG, PC
GRIMM                ROWENA                NY         12693702         WEITZ & LUXENBERG, PC                                GRYTTEN              CAROL                 NY         1903442018       WEITZ & LUXENBERG, PC
GRIMMER              HENRY                 NY         02CIV1249        WEITZ & LUXENBERG, PC                                GRYTTEN              ROBERT LEIF           NY         1903442018       WEITZ & LUXENBERG, PC
GRIMMER              LINDA E               NY         02CIV1249        WEITZ & LUXENBERG, PC                                GRYZIEC              RICHARD S             NY         10663200         WEITZ & LUXENBERG, PC
GRIMMETT             DONALD                NY         CV013362         WEITZ & LUXENBERG, PC                                GRZESZKIEWICZ        ZBIGNIEW              NY         02CIV1849        WEITZ & LUXENBERG, PC
GRIMMETT             NORMA JEAN            NY         CV013362         WEITZ & LUXENBERG, PC                                GRZYBOWSKI           BRIAN E               NY         8021592018       WEITZ & LUXENBERG, PC
GRINDER              ANNA                  NY         10725699         WEITZ & LUXENBERG, PC                                GRZYBOWSKI           JOSEPHINE             NY         99107254         WEITZ & LUXENBERG, PC
GRINDER              ROBERT                NY         10725699         WEITZ & LUXENBERG, PC                                GRZYBOWSKI           NORBERT               NY         10700002         WEITZ & LUXENBERG, PC
GRINDSTAFF           JOANNE                NY         98118850         WEITZ & LUXENBERG, PC                                GRZYBOWSKI           RAYMOND               NY         99107254         WEITZ & LUXENBERG, PC
GRINDSTAFF           ROY LUTHER            NY         00CIV1202        WEITZ & LUXENBERG, PC                                GRZYWNA              EDMUND                NY         10699902         WEITZ & LUXENBERG, PC
GRINDSTAFF           VIRGINIA              NY         00CIV1202        WEITZ & LUXENBERG, PC                                GUADAGNINO           ANTONIETTO            NY         10663100         WEITZ & LUXENBERG, PC
GRINDSTAFF           WAYNE J               NY         98118850         WEITZ & LUXENBERG, PC                                GUADAGNINO           ANTONINO              NY         10663100         WEITZ & LUXENBERG, PC
GRIPPIN              GERALD W              NY         10661700         WEITZ & LUXENBERG, PC                                GUADAGNO             ELIZABETH             NY         11026702         WEITZ & LUXENBERG, PC
GRIPPIN              PAULINE               NY         10661700         WEITZ & LUXENBERG, PC                                GUADAGNO             PHILIP                NY         11026702         WEITZ & LUXENBERG, PC
GRIST                MARY ELLEN            NY         10740002         WEITZ & LUXENBERG, PC                                GUAGENTI             ANN                   NY         10502500         WEITZ & LUXENBERG, PC
GRIST                RONALD                NY         97121911         WEITZ & LUXENBERG, PC                                GUAGENTI             JOSEPH J              NY         10502500         WEITZ & LUXENBERG, PC
GRIST                SHARON                NY         97121911         WEITZ & LUXENBERG, PC                                GUALTIERI            JOSEPH JOHN           NY         10120301         WEITZ & LUXENBERG, PC
GRISWOLD             MILDRED D             NY         10817506         WEITZ & LUXENBERG, PC                                GUALTIERI            KATHLEEN              NY         10120301         WEITZ & LUXENBERG, PC
GRISWOLD             WILLIAM               NY         10817506         WEITZ & LUXENBERG, PC                                GUARDINO             LAWRENCE              NY         1902622014       WEITZ & LUXENBERG, PC
GROAT                ALLEN F               NY         02107006         WEITZ & LUXENBERG, PC                                GUARDINO             MARLENE               NY         1902622014       WEITZ & LUXENBERG, PC
GROAT                ALLEN F               NY         11798702         WEITZ & LUXENBERG, PC                                GUARINO              JEROME F              NY         10663000         WEITZ & LUXENBERG, PC
GROAT                LOIS ANN              NY         02107006         WEITZ & LUXENBERG, PC                                GUASP                DANIEL E              NY         12192598         WEITZ & LUXENBERG, PC
GROAT                LOIS ANN              NY         11798702         WEITZ & LUXENBERG, PC                                GUASTAMACCHIA        JOSEPH                NY         99100620         WEITZ & LUXENBERG, PC
GROGAN               DANIEL P              NY         10716207         WEITZ & LUXENBERG, PC                                GUASTAMACCHIA        ROSEMARIE             NY         99100620         WEITZ & LUXENBERG, PC
GROGAN               JOAN                  NY         10716207         WEITZ & LUXENBERG, PC                                GUASTAMACCHIA        VINCENT               NY         11449705         WEITZ & LUXENBERG, PC
GROGAN               KAY                   NY         10283402         WEITZ & LUXENBERG, PC                                GUASTELLA            ANGELA                NY         12199199         WEITZ & LUXENBERG, PC
GROGAN               ROBERT W              NY         10283402         WEITZ & LUXENBERG, PC                                GUAY                 ALAIN                 NY         10662900         WEITZ & LUXENBERG, PC
GROMEK               EDWARD                NY         10504900         WEITZ & LUXENBERG, PC                                GUAY                 MARY                  NY         10662900         WEITZ & LUXENBERG, PC
GROPPER              ROBERT F              NY         01111234         WEITZ & LUXENBERG, PC                                GUBLO                FRANK M               NY         11240404         WEITZ & LUXENBERG, PC
GROSS                ALOYSIUS P            NY         12411401         WEITZ & LUXENBERG, PC                                GUBLO                LORNA                 NY         11240404         WEITZ & LUXENBERG, PC
GROSS                DANIEL                NY         1903542013       WEITZ & LUXENBERG, PC                                GUCCIARDI            FRANK                 NY         10930703         WEITZ & LUXENBERG, PC
GROSS                G JEAN                NY         10169601         WEITZ & LUXENBERG, PC                                GUCCIARDI            SANDRA                NY         10930703         WEITZ & LUXENBERG, PC
GROSS                HERBERT H             NY         10169601         WEITZ & LUXENBERG, PC                                GUELE                NICHOLAS              NY         11308604         WEITZ & LUXENBERG, PC
GROSS                MILTON LAWRENCE       NY         19007208         WEITZ & LUXENBERG, PC                                GUENOT               ANN PATRICIA          NY         99107252         WEITZ & LUXENBERG, PC
GROSS                MORTON P              NY         11327802         WEITZ & LUXENBERG, PC                                GUENOT               GEORGE                NY         99107252         WEITZ & LUXENBERG, PC
GROSS                MORTON P              NY         11949102         WEITZ & LUXENBERG, PC                                GUENTHER             EDWARD JOSEPH         NY         12668702         WEITZ & LUXENBERG, PC
GROSS                WANETA PEARL          NY         11327802         WEITZ & LUXENBERG, PC                                GUERARD              ELEVRETTE             NY         10680602         WEITZ & LUXENBERG, PC
GROSS                WANETA PEARL          NY         11949102         WEITZ & LUXENBERG, PC                                GUERARD              ELEVRETTE             NY         11047102         WEITZ & LUXENBERG, PC
GROSSARTH            JOSEPHINE             NY         12038901         WEITZ & LUXENBERG, PC                                GUERARD              FLEURETTE             NY         10680602         WEITZ & LUXENBERG, PC
GROSSARTH            JOSEPHINE             NY         12445301         WEITZ & LUXENBERG, PC                                GUERARD              FLEURETTE             NY         11047102         WEITZ & LUXENBERG, PC
GROSSARTH            RAYMOND               NY         12038901         WEITZ & LUXENBERG, PC                                GUERARD              PAUL E                NY         10680602         WEITZ & LUXENBERG, PC
GROSSARTH            RAYMOND               NY         12445301         WEITZ & LUXENBERG, PC                                GUERARD              PAUL E                NY         11047102         WEITZ & LUXENBERG, PC
GROSSI               JOHN                  NY         10661600         WEITZ & LUXENBERG, PC                                GUERARD              PIERRE R              NY         02105718         WEITZ & LUXENBERG, PC
GROSSI               PHYLLIS               NY         10661600         WEITZ & LUXENBERG, PC                                GUERARD              VALERIE               NY         02105718         WEITZ & LUXENBERG, PC
GROSSWEILER          PATRICIA              NY         11632503         WEITZ & LUXENBERG, PC                                GUERCIA              JANICE E              NY         11315901         WEITZ & LUXENBERG, PC
GROTHMAN             EUGENE                NY         12693402         WEITZ & LUXENBERG, PC                                GUERCIA              JOSEPH                NY         11315901         WEITZ & LUXENBERG, PC
GROTHMAN             FLORENCE              NY         12693402         WEITZ & LUXENBERG, PC                                GUERCIO              JOSEPH                NY         01111228         WEITZ & LUXENBERG, PC
GROTKE               CAROL                 NY         10169501         WEITZ & LUXENBERG, PC                                GUERIN               AMELIA                NY         1903022019       WEITZ & LUXENBERG, PC
GROTKE               CHARLES R             NY         10169501         WEITZ & LUXENBERG, PC                                GUERIN               MICHAEL               NY         1903022019       WEITZ & LUXENBERG, PC
GROULEX              CLARA                 NY         10169401         WEITZ & LUXENBERG, PC                                GUERRA               FRANK                 NY         10168901         WEITZ & LUXENBERG, PC
GROULX               LEONARD               NY         10169401         WEITZ & LUXENBERG, PC                                GUERRA               FRANK                 NY         10168801         WEITZ & LUXENBERG, PC
GROVER               JACK                  NY         10169301         WEITZ & LUXENBERG, PC                                GUERRA               RAYMOND MARK          NY         10168801         WEITZ & LUXENBERG, PC
GROVER               LINDA A               NY         10169301         WEITZ & LUXENBERG, PC                                GUERRA               SADIE                 NY         10168901         WEITZ & LUXENBERG, PC
GROVES               BILLY JOE             NY         00CIV1202        WEITZ & LUXENBERG, PC                                GUERRIERO            ALBERT A              NY         19008410         WEITZ & LUXENBERG, PC
GROVES               WILLIAM E             NY         10169201         WEITZ & LUXENBERG, PC                                GUERRIERO            GINA                  NY         10477002         WEITZ & LUXENBERG, PC
GROWE                KIM M                 NY         02106707         WEITZ & LUXENBERG, PC                                GUERRIERO            MICHAEL               NY         10477002         WEITZ & LUXENBERG, PC
GROWE                MARTIN C              NY         02106707         WEITZ & LUXENBERG, PC                                GUERRIERO            ROBERTA               NY         19008410         WEITZ & LUXENBERG, PC
GRUBBS               WILLIE                NY         10090403         WEITZ & LUXENBERG, PC                                GUERZON              PERLITA               NY         10662800         WEITZ & LUXENBERG, PC
GRUBE                LYNNETTE C            NY         10696502         WEITZ & LUXENBERG, PC                                GUERZON              ROBERTO               NY         10662800         WEITZ & LUXENBERG, PC
GRUBER               CAROLYN               NY         10505100         WEITZ & LUXENBERG, PC                                GUGGIARI             NORMA                 NY         1902922013       WEITZ & LUXENBERG, PC
GRUBER               ROBERT R              NY         10505100         WEITZ & LUXENBERG, PC                                GUGGIARI             RICHARD               NY         1902922013       WEITZ & LUXENBERG, PC
GRUENFIELDER         KENNETH               NY         01111228         WEITZ & LUXENBERG, PC                                GUGINO               CORA J                NY         I20019998        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 942
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 277 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GUGINO               JAMES ANTHONY         NY         I20019998        WEITZ & LUXENBERG, PC                                GUTEKUNEST           ROBERT                NY         02106578         WEITZ & LUXENBERG, PC
GUGLIOTTA            JOSEPH                NY         10662700         WEITZ & LUXENBERG, PC                                GUTHY                ANGELA                NY         10616600         WEITZ & LUXENBERG, PC
GUGLIOTTA            PHILIP                NY         01112405         WEITZ & LUXENBERG, PC                                GUTHY                KURT PETER            NY         10616600         WEITZ & LUXENBERG, PC
GUGLIOTTA            SHERRILL              NY         10662700         WEITZ & LUXENBERG, PC                                GUTIERREZ            BARBARA               NY         11003205         WEITZ & LUXENBERG, PC
GUGLIUZZA            CARMEN                NY         10680702         WEITZ & LUXENBERG, PC                                GUTIERREZ            EMILIA                NY         1903232013       WEITZ & LUXENBERG, PC
GUGLIUZZA            CHRISTOPHER           NY         10680702         WEITZ & LUXENBERG, PC                                GUTIERREZ            MANUEL                NY         1903232013       WEITZ & LUXENBERG, PC
GUGNACKI             MARILYN               NY         12668202         WEITZ & LUXENBERG, PC                                GUTTMAN              DOROTHY               NY         11707700         WEITZ & LUXENBERG, PC
GUGNACKI             ROGER                 NY         12668202         WEITZ & LUXENBERG, PC                                GUTTMAN              NATHAN                NY         11707700         WEITZ & LUXENBERG, PC
GUICE                NATHANIEL             NY         11249199         WEITZ & LUXENBERG, PC                                GUY                  GARY A                NY         11033308         WEITZ & LUXENBERG, PC
GUICE                SARAH                 NY         11249199         WEITZ & LUXENBERG, PC                                GUYER                CLARENCE E            NY         10135007         WEITZ & LUXENBERG, PC
GUIDICE              DOLORES               NY         11834803         WEITZ & LUXENBERG, PC                                GUYER                PHYLLIS A             NY         10135007         WEITZ & LUXENBERG, PC
GUIDICE              PASQUALE J            NY         11834803         WEITZ & LUXENBERG, PC                                GUYETTE              FLOYD                 NY         10587502         WEITZ & LUXENBERG, PC
GUIDONE              DANIEL J              NY         10505300         WEITZ & LUXENBERG, PC                                GUYETTE              FRANCIS               NY         12039001         WEITZ & LUXENBERG, PC
GUIDONE              SUSAN P               NY         10505300         WEITZ & LUXENBERG, PC                                GUYETTE              VIRGINIA M            NY         10587502         WEITZ & LUXENBERG, PC
GUIFFRE              LOUIS                 NY         12043001         WEITZ & LUXENBERG, PC                                GUZZO                ANTHONY               NY         11167600         WEITZ & LUXENBERG, PC
GUIFFRE              PATRICIA              NY         12043001         WEITZ & LUXENBERG, PC                                GWOREK               DOROTHY               NY         10616500         WEITZ & LUXENBERG, PC
GUILAND              PATRICIA              NY         19001910         WEITZ & LUXENBERG, PC                                GWOREK               WALTER R              NY         10616500         WEITZ & LUXENBERG, PC
GUILAND              PEDRO                 NY         19001910         WEITZ & LUXENBERG, PC                                GYERGYEK             ANTHONY               NY         11167700         WEITZ & LUXENBERG, PC
GUILDER              BETTY                 NY         99107251         WEITZ & LUXENBERG, PC                                GYORI                JOY                   NY         1901302012       WEITZ & LUXENBERG, PC
GUILDER              HOWARD                NY         99107251         WEITZ & LUXENBERG, PC                                GYORI                WILLIAM R             NY         1901302012       WEITZ & LUXENBERG, PC
GUILLAUME            GEORGE                NY         10168701         WEITZ & LUXENBERG, PC                                GYURINDAK            JIMMY G               NY         10216902         WEITZ & LUXENBERG, PC
GUINAN               CHARLOTTE             NY         12038801         WEITZ & LUXENBERG, PC                                HAACK                RAYMOND               NY         12039101         WEITZ & LUXENBERG, PC
GUINAN               GEORGE W              NY         12038801         WEITZ & LUXENBERG, PC                                HAACK                SARAH                 NY         12039101         WEITZ & LUXENBERG, PC
GUIPAULT             JEANNE                NY         110483           WEITZ & LUXENBERG, PC                                HAAS                 JUDITH                NY         8071722017       WEITZ & LUXENBERG, PC
GUIPAULT             JEANNE                NY         02121082         WEITZ & LUXENBERG, PC                                HAAS                 THOMAS M              NY         8071722017       WEITZ & LUXENBERG, PC
GUIPAULT             RICHARD B             NY         110483           WEITZ & LUXENBERG, PC                                HAASE                DOUGLAS               NY         I20019111        WEITZ & LUXENBERG, PC
GUIPAULT             RICHARD B             NY         02121082         WEITZ & LUXENBERG, PC                                HAASE                RICHARD J             NY         I20019111        WEITZ & LUXENBERG, PC
GUIRY                THOMAS                NY         10090403         WEITZ & LUXENBERG, PC                                HABAS                CATHERINE A           NY         11705700         WEITZ & LUXENBERG, PC
GUISTELLA            GIUSEPPE              NY         12199199         WEITZ & LUXENBERG, PC                                HABAS                ROBERT E              NY         11705700         WEITZ & LUXENBERG, PC
GUITERREZ            VICTOR                NY         11003205         WEITZ & LUXENBERG, PC                                HABER                NORMAN L              NY         10735902         WEITZ & LUXENBERG, PC
GULASKIE             HERTA                 NY         12693702         WEITZ & LUXENBERG, PC                                HABERGER             FRANK J               NY         1900082018       WEITZ & LUXENBERG, PC
GULASKIE             JOHN J                NY         12693702         WEITZ & LUXENBERG, PC                                HABERGER             MARY MAXWELL          NY         1900082018       WEITZ & LUXENBERG, PC
GULCZEWSKI           LORRAINE              NY         8095452019       WEITZ & LUXENBERG, PC                                HACIC                MARY D                NY         11327902         WEITZ & LUXENBERG, PC
GULCZEWSKI           LORRAINE              NY         11707500         WEITZ & LUXENBERG, PC                                HACIC                WILLIAM               NY         11327902         WEITZ & LUXENBERG, PC
GULCZEWSKI           VALERIAN              NY         8095452019       WEITZ & LUXENBERG, PC                                HACK                 JOSEPHINE             NY         CV017072         WEITZ & LUXENBERG, PC
GULCZEWSKI           VALERIAN              NY         11707500         WEITZ & LUXENBERG, PC                                HACK                 WILLIAM A             NY         CV017072         WEITZ & LUXENBERG, PC
GULLEKSON            MARY                  NY         10505400         WEITZ & LUXENBERG, PC                                HACKER               JOYCE                 NY         11327802         WEITZ & LUXENBERG, PC
GULLEKSON            ROBERT R              NY         10505400         WEITZ & LUXENBERG, PC                                HACKER               MARY JO               NY         02107004         WEITZ & LUXENBERG, PC
GULLO                ANDREA                NY         01121099         WEITZ & LUXENBERG, PC                                HACKER               THOMAS GEORGE         NY         11327802         WEITZ & LUXENBERG, PC
GULLO                DOROTHY M             NY         10740402         WEITZ & LUXENBERG, PC                                HACKER               TIMOTHY R             NY         02107004         WEITZ & LUXENBERG, PC
GULLO                DOROTHY M             NY         11430202         WEITZ & LUXENBERG, PC                                HACKETT              BRADLEY B             NY         10616300         WEITZ & LUXENBERG, PC
GULLO                JEFF                  NY         01121099         WEITZ & LUXENBERG, PC                                HACKETT              ROSEMARY E            NY         10616300         WEITZ & LUXENBERG, PC
GULLO                JOSEPH J              NY         10740402         WEITZ & LUXENBERG, PC                                HACKIMER             JEANETTE              NY         10217002         WEITZ & LUXENBERG, PC
GULLO                JOSEPH J              NY         11430202         WEITZ & LUXENBERG, PC                                HACKIMER             ROBERT                NY         10217002         WEITZ & LUXENBERG, PC
GUND                 LINDA                 NY         10505500         WEITZ & LUXENBERG, PC                                HACKMAN              BARBARA               NY         10724999         WEITZ & LUXENBERG, PC
GUND                 MARGARET J            NY         98118852         WEITZ & LUXENBERG, PC                                HACKMAN              LEO H                 NY         10724999         WEITZ & LUXENBERG, PC
GUND                 STEVEN C              NY         10505500         WEITZ & LUXENBERG, PC                                HADDAD               FRED                  NY         1901642016       WEITZ & LUXENBERG, PC
GUND                 WILLIAM P             NY         98118852         WEITZ & LUXENBERG, PC                                HADDAD               SUZANNE               NY         1901642016       WEITZ & LUXENBERG, PC
GUNDERSON            MARY C                NY         11475099         WEITZ & LUXENBERG, PC                                HADFIELD             CHARLES P             NY         12039001         WEITZ & LUXENBERG, PC
GUNN                 ANEGLINE              NY         10168501         WEITZ & LUXENBERG, PC                                HADFIELD             SUZANNE L             NY         12039001         WEITZ & LUXENBERG, PC
GUNN                 DAVID                 NY         10168501         WEITZ & LUXENBERG, PC                                HADLEY               APRIL E               NY         02105713         WEITZ & LUXENBERG, PC
GUNSHAW              CARL                  NY         02120615         WEITZ & LUXENBERG, PC                                HADLEY               APRIL E               NY         11259502         WEITZ & LUXENBERG, PC
GUNSHAW              CARL                  NY         12758302         WEITZ & LUXENBERG, PC                                HADLEY               HARRY LEROY           NY         02113280         WEITZ & LUXENBERG, PC
GUNTHER              CATHERINE A           NY         11167300         WEITZ & LUXENBERG, PC                                HADLEY               LEAH G                NY         02113280         WEITZ & LUXENBERG, PC
GUNTHER              JAY R                 NY         11167300         WEITZ & LUXENBERG, PC                                HAFEY                CAROL                 NY         12433902         WEITZ & LUXENBERG, PC
GUNTHER              PATRICIA              NY         01111222         WEITZ & LUXENBERG, PC                                HAFEY                THOMAS                NY         12433902         WEITZ & LUXENBERG, PC
GUNTHER              RANDALL               NY         11167300         WEITZ & LUXENBERG, PC                                HAFFER               AUDREY                NY         01115461         WEITZ & LUXENBERG, PC
GUNTHER              WILLIAM G             NY         01111222         WEITZ & LUXENBERG, PC                                HAFFER               WILLIAM               NY         01115461         WEITZ & LUXENBERG, PC
GUNTHER              WILLIAM GEORGE        NY         11707600         WEITZ & LUXENBERG, PC                                HAFFER               WILLIAM E             NY         01115461         WEITZ & LUXENBERG, PC
GUPTON               WILLIAM G             NY         12693402         WEITZ & LUXENBERG, PC                                HAFNER               BEULAH                NY         10077201         WEITZ & LUXENBERG, PC
GURRIERI-RICHARDS    LINDA                 NY         12802102         WEITZ & LUXENBERG, PC                                HAFNER               BEULAH                NY         11939100         WEITZ & LUXENBERG, PC
GURROLA              JAMES J               NY         02106692         WEITZ & LUXENBERG, PC                                HAFNER               KENNETH               NY         10077201         WEITZ & LUXENBERG, PC
GURROLA              KAREN J               NY         02106692         WEITZ & LUXENBERG, PC                                HAFNER               KENNETH               NY         11939100         WEITZ & LUXENBERG, PC
GUSHUE               KATHLEEN              NY         10616800         WEITZ & LUXENBERG, PC                                HAGE                 THERESA               NY         10669502         WEITZ & LUXENBERG, PC
GUSHUE               LEWIS P               NY         10616800         WEITZ & LUXENBERG, PC                                HAGE                 THOMAS E              NY         10669502         WEITZ & LUXENBERG, PC
GUSMAN               BARBARA               NY         11327702         WEITZ & LUXENBERG, PC                                HAGEMAN              CAROL                 NY         10587002         WEITZ & LUXENBERG, PC
GUSMAN               BARBARA               NY         11978402         WEITZ & LUXENBERG, PC                                HAGEMAN              ROBERT CLARK          NY         10587002         WEITZ & LUXENBERG, PC
GUSMAN               JOHN                  NY         11327702         WEITZ & LUXENBERG, PC                                HAGEN                JULIE                 NY         10616200         WEITZ & LUXENBERG, PC
GUSMAN               JOHN                  NY         11978402         WEITZ & LUXENBERG, PC                                HAGEN                WILLIAM C             NY         10616200         WEITZ & LUXENBERG, PC
GUSTAVSON            CARL D                NY         1901602017       WEITZ & LUXENBERG, PC                                HAGER                LILLIAN M             NY         12668102         WEITZ & LUXENBERG, PC
GUSTAVSON            GLENDA                NY         1901602017       WEITZ & LUXENBERG, PC                                HAGER                LILLIAN M             NY         10349703         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 943
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 278 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HAGGARD              GLADYS                NY         1904042014       WEITZ & LUXENBERG, PC                                HALL                 JERRY                 NY         11939100         WEITZ & LUXENBERG, PC
HAGGARD              PAUL D                NY         1904042014       WEITZ & LUXENBERG, PC                                HALL                 JOE L                 NY         10618500         WEITZ & LUXENBERG, PC
HAGGART              DAVID J               NY         98118828         WEITZ & LUXENBERG, PC                                HALL                 JOHN                  NY         12111701         WEITZ & LUXENBERG, PC
HAGGART              DAVID J               NY         10870801         WEITZ & LUXENBERG, PC                                HALL                 JOHN                  NY         01111224         WEITZ & LUXENBERG, PC
HAGGART              DEBORAH               NY         98118828         WEITZ & LUXENBERG, PC                                HALL                 JOHN                  NY         98118857         WEITZ & LUXENBERG, PC
HAGGART              DEBORAH               NY         10870801         WEITZ & LUXENBERG, PC                                HALL                 JOY C                 NY         10077701         WEITZ & LUXENBERG, PC
HAGGERTY             ELLEN                 NY         10616100         WEITZ & LUXENBERG, PC                                HALL                 JOY C                 NY         11939100         WEITZ & LUXENBERG, PC
HAGGERTY             JAMES                 NY         10616100         WEITZ & LUXENBERG, PC                                HALL                 KENNETH G             NY         99107246         WEITZ & LUXENBERG, PC
HAHL                 BARBARA               NY         10616000         WEITZ & LUXENBERG, PC                                HALL                 LAWRENCE              NY         1903772015       WEITZ & LUXENBERG, PC
HAHL                 HENRY C               NY         10616000         WEITZ & LUXENBERG, PC                                HALL                 LINDA                 NY         11939100         WEITZ & LUXENBERG, PC
HAHN                 DOUGLAS               NY         10615900         WEITZ & LUXENBERG, PC                                HALL                 LORETTA               NY         02113280         WEITZ & LUXENBERG, PC
HAHN                 JOAN                  NY         02106707         WEITZ & LUXENBERG, PC                                HALL                 LORETTA               NY         12009502         WEITZ & LUXENBERG, PC
HAHN                 JOAN                  NY         11569702         WEITZ & LUXENBERG, PC                                HALL                 LUCINDA               NY         10077801         WEITZ & LUXENBERG, PC
HAHN                 JOHN M                NY         02106707         WEITZ & LUXENBERG, PC                                HALL                 LUCINDA               NY         11939100         WEITZ & LUXENBERG, PC
HAHN                 JOHN M                NY         11569702         WEITZ & LUXENBERG, PC                                HALL                 MARGARET              NY         10618600         WEITZ & LUXENBERG, PC
HAHN                 JUDITH                NY         10615900         WEITZ & LUXENBERG, PC                                HALL                 MARY ANN              NY         10984703         WEITZ & LUXENBERG, PC
HAIGHT               MARSHA                NY         10617300         WEITZ & LUXENBERG, PC                                HALL                 MARY LOU              NY         11223705         WEITZ & LUXENBERG, PC
HAIGHT               ROBERT                NY         10617300         WEITZ & LUXENBERG, PC                                HALL                 MATTHEW               NY         10609300         WEITZ & LUXENBERG, PC
HAINES               H STEVENS             NY         10617200         WEITZ & LUXENBERG, PC                                HALL                 MATTHEW               NY         12198999         WEITZ & LUXENBERG, PC
HAINES               MARY                  NY         10617200         WEITZ & LUXENBERG, PC                                HALL                 MICHAEL C             NY         10503400         WEITZ & LUXENBERG, PC
HAINSWORTH           GEORGE                NY         10008703         WEITZ & LUXENBERG, PC                                HALL                 NANCY                 NY         10618500         WEITZ & LUXENBERG, PC
HAIRSTON             CASSANDRA K           NY         01CIV3910        WEITZ & LUXENBERG, PC                                HALL                 NELSON E              NY         1900882015       WEITZ & LUXENBERG, PC
HAIRSTON             RICHAR                NY         01CIV3910        WEITZ & LUXENBERG, PC                                HALL                 RICHARD C             NY         11258003         WEITZ & LUXENBERG, PC
HAIST                WILLIAM A             NY         11939100         WEITZ & LUXENBERG, PC                                HALL                 RICHARD M             NY         02107006         WEITZ & LUXENBERG, PC
HAJEK                HENRY F               NY         CV021592         WEITZ & LUXENBERG, PC                                HALL                 RICHARD R             NY         10618400         WEITZ & LUXENBERG, PC
HAJEK                LORRAINE M            NY         CV021592         WEITZ & LUXENBERG, PC                                HALL                 ROBERT                NY         11223705         WEITZ & LUXENBERG, PC
HAJOSTEK             PAUL                  NY         01111235         WEITZ & LUXENBERG, PC                                HALL                 ROBERT JOSEPH         NY         10077801         WEITZ & LUXENBERG, PC
HAJOSTEK             VIRGINIA              NY         01111235         WEITZ & LUXENBERG, PC                                HALL                 ROBERT JOSEPH         NY         11939100         WEITZ & LUXENBERG, PC
HAKES                ELEANOR F             NY         10387001         WEITZ & LUXENBERG, PC                                HALL                 RUFUS                 NY         10456301         WEITZ & LUXENBERG, PC
HAKES                WILLIAM V             NY         10387001         WEITZ & LUXENBERG, PC                                HALL                 RUSSEL D              NY         10489400         WEITZ & LUXENBERG, PC
HALAS                PETER                 NY         10503300         WEITZ & LUXENBERG, PC                                HALL                 THOMAS A              NY         11978001         WEITZ & LUXENBERG, PC
HALAS                PETER P               NY         10505700         WEITZ & LUXENBERG, PC                                HALL                 THOMAS A              NY         11123201         WEITZ & LUXENBERG, PC
HALAS                SOPHIE                NY         10505700         WEITZ & LUXENBERG, PC                                HALL                 VILA F                NY         10724599         WEITZ & LUXENBERG, PC
HALAS                SOPHIE R              NY         10503300         WEITZ & LUXENBERG, PC                                HALL                 WILLIAM M             NY         10658102         WEITZ & LUXENBERG, PC
HALAS                WALTER                NY         11939100         WEITZ & LUXENBERG, PC                                HALL                 WILLIAM M             NY         11392302         WEITZ & LUXENBERG, PC
HALAY                ELIZABETH             NY         10617100         WEITZ & LUXENBERG, PC                                HALL                 WILMA                 NY         10724599         WEITZ & LUXENBERG, PC
HALAY                ROBERT                NY         10617100         WEITZ & LUXENBERG, PC                                HALLAHAN             MARK P                NY         10077901         WEITZ & LUXENBERG, PC
HALE                 AMY                   NY         02121082         WEITZ & LUXENBERG, PC                                HALLAHAN             MARK P                NY         11939100         WEITZ & LUXENBERG, PC
HALE                 DAVID N               NY         02121082         WEITZ & LUXENBERG, PC                                HALLAHAN             SHEILA                NY         10077901         WEITZ & LUXENBERG, PC
HALE                 DOUGLAS E JR          NY         10617000         WEITZ & LUXENBERG, PC                                HALLAHAN             SHEILA                NY         11939100         WEITZ & LUXENBERG, PC
HALE                 EDWARD W              NY         10724899         WEITZ & LUXENBERG, PC                                HALLAM               VIRGINIA L            NY         1902442014       WEITZ & LUXENBERG, PC
HALE                 JOYCE                 NY         10724899         WEITZ & LUXENBERG, PC                                HALLER               EDWARD F              NY         10618300         WEITZ & LUXENBERG, PC
HALE                 SHARON                NY         10617000         WEITZ & LUXENBERG, PC                                HALLINAN             BARBARA A             PA         181101079        WEITZ & LUXENBERG, PC
HALEM                ELAINE                NY         1900132018       WEITZ & LUXENBERG, PC                                HALLINAN             ROBERT J              PA         181101079        WEITZ & LUXENBERG, PC
HALEM                SIDNEY                NY         1900132018       WEITZ & LUXENBERG, PC                                HALLMAN              MITZI                 NY         10609600         WEITZ & LUXENBERG, PC
HALEY                CHERYL                NY         10680602         WEITZ & LUXENBERG, PC                                HALLMAN              MITZI                 NY         12198999         WEITZ & LUXENBERG, PC
HALEY                ISOM T                NY         11356702         WEITZ & LUXENBERG, PC                                HALLORAN             KEVIN                 NY         1904592013       WEITZ & LUXENBERG, PC
HALEY                LORETTA               NY         11356702         WEITZ & LUXENBERG, PC                                HALLORAN             WILLIAM NEIL          NY         1904592013       WEITZ & LUXENBERG, PC
HALEY                PATRICK D             NY         10680602         WEITZ & LUXENBERG, PC                                HALL-PETERSEN        FAYE E                NY         98118830         WEITZ & LUXENBERG, PC
HALL                 ANN                   NY         99107247         WEITZ & LUXENBERG, PC                                HALM                 FAITH                 NY         10728099         WEITZ & LUXENBERG, PC
HALL                 ARBUTA                NY         11978001         WEITZ & LUXENBERG, PC                                HALM                 RICHARD M             NY         10728099         WEITZ & LUXENBERG, PC
HALL                 ARBUTA                NY         11123201         WEITZ & LUXENBERG, PC                                HALO                 DAVID                 NY         02107007         WEITZ & LUXENBERG, PC
HALL                 BRUCE                 NY         1902312013       WEITZ & LUXENBERG, PC                                HALO                 REGINA                NY         02107007         WEITZ & LUXENBERG, PC
HALL                 BRUCE                 NY         99107247         WEITZ & LUXENBERG, PC                                HALPER               ALLEN                 NY         10078001         WEITZ & LUXENBERG, PC
HALL                 CAROL                 NY         1900882015       WEITZ & LUXENBERG, PC                                HALPER               ALLEN                 NY         11939100         WEITZ & LUXENBERG, PC
HALL                 CLARA                 NY         98118857         WEITZ & LUXENBERG, PC                                HALPER               MICHAEL               NY         10078001         WEITZ & LUXENBERG, PC
HALL                 CYNTHIA               NY         12111701         WEITZ & LUXENBERG, PC                                HALPER               MICHAEL               NY         11939100         WEITZ & LUXENBERG, PC
HALL                 CYNTHIA               NY         01111224         WEITZ & LUXENBERG, PC                                HALPIN               MARIANNE E            NY         02107006         WEITZ & LUXENBERG, PC
HALL                 DOLORES A             NY         02107006         WEITZ & LUXENBERG, PC                                HALPIN               THOMAS E              NY         02107006         WEITZ & LUXENBERG, PC
HALL                 DOUGLAS E             NY         10077501         WEITZ & LUXENBERG, PC                                HALPIN               THOMAS JOSEPH         NY         10716702         WEITZ & LUXENBERG, PC
HALL                 DOUGLAS E             NY         11939100         WEITZ & LUXENBERG, PC                                HALS                 PETER                 NY         10505700         WEITZ & LUXENBERG, PC
HALL                 ELOISE                NY         10456301         WEITZ & LUXENBERG, PC                                HALSTEAD             GARY                  NY         10060703         WEITZ & LUXENBERG, PC
HALL                 GLADYS                NY         10616900         WEITZ & LUXENBERG, PC                                HALSTEAD             JEMAL                 NY         10618200         WEITZ & LUXENBERG, PC
HALL                 GORDON A              NY         10700002         WEITZ & LUXENBERG, PC                                HALSTEAD             KEITH                 NY         10618200         WEITZ & LUXENBERG, PC
HALL                 HARRY                 NY         10616900         WEITZ & LUXENBERG, PC                                HALSTEAD             LYNNE                 NY         10060703         WEITZ & LUXENBERG, PC
HALL                 HELEN                 NY         10618400         WEITZ & LUXENBERG, PC                                HALSTEEN             EVA                   NY         10107293         WEITZ & LUXENBERG, PC
HALL                 HELEN M               NY         99107246         WEITZ & LUXENBERG, PC                                HALSTEEN             NIELS                 NY         10107293         WEITZ & LUXENBERG, PC
HALL                 HERBERT               NY         10618600         WEITZ & LUXENBERG, PC                                HALVORSEN            ARTHUR G              NY         12078397         WEITZ & LUXENBERG, PC
HALL                 JAMES A               NY         02113280         WEITZ & LUXENBERG, PC                                HALVORSEN            MARIE MARGARET        NY         12078397         WEITZ & LUXENBERG, PC
HALL                 JAMES A               NY         12009502         WEITZ & LUXENBERG, PC                                HAMAKER              JAMES                 NY         12213801         WEITZ & LUXENBERG, PC
HALL                 JAMES H               NY         10984703         WEITZ & LUXENBERG, PC                                HAMANN               JOSEPH W              NY         10722102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 944
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 279 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HAMANN               JOSEPH W              NY         11311802         WEITZ & LUXENBERG, PC                                HANCOSKY             JACK                  NY         12788802         WEITZ & LUXENBERG, PC
HAMBEL               MAUREEN               NY         01122139         WEITZ & LUXENBERG, PC                                HAND                 PATRICIA A            NY         10587102         WEITZ & LUXENBERG, PC
HAMBEL               ROBERT J              NY         01122139         WEITZ & LUXENBERG, PC                                HAND                 WILLIAM H             NY         10587102         WEITZ & LUXENBERG, PC
HAMBY                ARNOLD                NY         19015309         WEITZ & LUXENBERG, PC                                HANDLEY              CHARLEY               NY         CV020255         WEITZ & LUXENBERG, PC
HAMBY                MARY                  NY         19015309         WEITZ & LUXENBERG, PC                                HANDLEY              EDITH                 NY         CV020255         WEITZ & LUXENBERG, PC
HAMELIN              ROLLAND J             NY         10618100         WEITZ & LUXENBERG, PC                                HANES                ARTHUR                NY         CV016364         WEITZ & LUXENBERG, PC
HAMELIN              VIVIAN                NY         10618100         WEITZ & LUXENBERG, PC                                HANEY                DEBORAH L             NY         11703700         WEITZ & LUXENBERG, PC
HAMILL               GEORGIANN             NY         10716902         WEITZ & LUXENBERG, PC                                HANITZ               SHARON                NY         98118832         WEITZ & LUXENBERG, PC
HAMILL               GEORGIANN             NY         11214102         WEITZ & LUXENBERG, PC                                HANITZ               STEPHEN M             NY         98118832         WEITZ & LUXENBERG, PC
HAMILL               ROBERT                NY         1900762017       WEITZ & LUXENBERG, PC                                HANKE                WILFRIED              NY         10634100         WEITZ & LUXENBERG, PC
HAMILTON             ALFRED                NY         10618000         WEITZ & LUXENBERG, PC                                HANKOWSKI            CHARLES               NY         10634000         WEITZ & LUXENBERG, PC
HAMILTON             ANN                   NY         10618000         WEITZ & LUXENBERG, PC                                HANKOWSKI            EUPHEMIA              NY         10634000         WEITZ & LUXENBERG, PC
HAMILTON             BARBARA               NY         10617900         WEITZ & LUXENBERG, PC                                HANLEY               CAROL                 NY         1903412015       WEITZ & LUXENBERG, PC
HAMILTON             CHRISTINE             NY         98118818         WEITZ & LUXENBERG, PC                                HANLEY               DOROTHY L             NY         11401103         WEITZ & LUXENBERG, PC
HAMILTON             DAVID L               NY         11026104         WEITZ & LUXENBERG, PC                                HANLEY               EDWARD                NY         10090403         WEITZ & LUXENBERG, PC
HAMILTON             EDGAR                 NY         12111601         WEITZ & LUXENBERG, PC                                HANLEY               EDWARD F              NY         11401103         WEITZ & LUXENBERG, PC
HAMILTON             EDGAR                 NY         01111224         WEITZ & LUXENBERG, PC                                HANLEY               JANET                 NY         1905702012       WEITZ & LUXENBERG, PC
HAMILTON             EMMA                  NY         1900532016       WEITZ & LUXENBERG, PC                                HANLEY               JOANNE                NY         02106508         WEITZ & LUXENBERG, PC
HAMILTON             GARY ROY              NY         02106694         WEITZ & LUXENBERG, PC                                HANLEY               JOANNE                NY         11084402         WEITZ & LUXENBERG, PC
HAMILTON             GEORGE B              NY         10617900         WEITZ & LUXENBERG, PC                                HANLEY               LISA                  NY         11522003         WEITZ & LUXENBERG, PC
HAMILTON             GRACE                 NY         11026104         WEITZ & LUXENBERG, PC                                HANLEY               MICHAEL J             NY         1903412015       WEITZ & LUXENBERG, PC
HAMILTON             JAMES C               NY         11629604         WEITZ & LUXENBERG, PC                                HANLEY               RICHARD M             NY         1905702012       WEITZ & LUXENBERG, PC
HAMILTON             JAMES E               NY         02105716         WEITZ & LUXENBERG, PC                                HANLEY               ROBERT E              NY         11522003         WEITZ & LUXENBERG, PC
HAMILTON             JANE                  NY         10503700         WEITZ & LUXENBERG, PC                                HANLON               WILLIAM V             NY         10693101         WEITZ & LUXENBERG, PC
HAMILTON             LC                    NY         1900532016       WEITZ & LUXENBERG, PC                                HANMER               EARL R                NY         I20012205        WEITZ & LUXENBERG, PC
HAMILTON             LAURA                 NY         12788702         WEITZ & LUXENBERG, PC                                HANMER               JEAN                  NY         10733208         WEITZ & LUXENBERG, PC
HAMILTON             LESLIE                NY         02106694         WEITZ & LUXENBERG, PC                                HANMER               JEAN                  NY         I20012205        WEITZ & LUXENBERG, PC
HAMILTON             OB                    NY         1900952017       WEITZ & LUXENBERG, PC                                HANNA                MARTHA                NY         02107005         WEITZ & LUXENBERG, PC
HAMILTON             PAUL E                NY         10503700         WEITZ & LUXENBERG, PC                                HANNA                WILLIAM E             NY         02107005         WEITZ & LUXENBERG, PC
HAMILTON             PEARL                 NY         10023403         WEITZ & LUXENBERG, PC                                HANNAH               BLANCHE               NY         10716902         WEITZ & LUXENBERG, PC
HAMILTON             PERRY D               NY         12788702         WEITZ & LUXENBERG, PC                                HANNAH               GRADY                 NY         12693702         WEITZ & LUXENBERG, PC
HAMILTON             ROBERT J              NY         98118818         WEITZ & LUXENBERG, PC                                HANNAH               WILLIAM HENRY         NY         10716902         WEITZ & LUXENBERG, PC
HAMILTON             RUDOLPH               NY         10023403         WEITZ & LUXENBERG, PC                                HANNAN               GEORGE M              NY         1904162012       WEITZ & LUXENBERG, PC
HAMILTON             SUSAN                 NY         02105716         WEITZ & LUXENBERG, PC                                HANNUM               BONITA                NY         1902742012       WEITZ & LUXENBERG, PC
HAMILTON             VIRLY                 NY         12111601         WEITZ & LUXENBERG, PC                                HANNUM               EDWARD A              NY         1902742012       WEITZ & LUXENBERG, PC
HAMILTON             VIRLY                 NY         01111224         WEITZ & LUXENBERG, PC                                HANNUM               JAMES                 NY         1902742012       WEITZ & LUXENBERG, PC
HAMILTON             WANDA C               NY         1900952017       WEITZ & LUXENBERG, PC                                HANSEL               CAROLE                NY         11327802         WEITZ & LUXENBERG, PC
HAMLIN               JAMES W               NY         10670602         WEITZ & LUXENBERG, PC                                HANSEN               ALLIE M               NY         11123101         WEITZ & LUXENBERG, PC
HAMLIN               JAMES W               NY         11486402         WEITZ & LUXENBERG, PC                                HANSEN               BARBARA W             NY         12693502         WEITZ & LUXENBERG, PC
HAMLIN               JOAN F                NY         10670602         WEITZ & LUXENBERG, PC                                HANSEN               BJORN ANDREAS         NY         10727999         WEITZ & LUXENBERG, PC
HAMLIN               JOAN F                NY         11486402         WEITZ & LUXENBERG, PC                                HANSEN               CATHERINE             NY         10633900         WEITZ & LUXENBERG, PC
HAMM                 CAROLYN               NY         19021211         WEITZ & LUXENBERG, PC                                HANSEN               DAVID                 NY         12213801         WEITZ & LUXENBERG, PC
HAMM                 DEBBIE                NY         11939100         WEITZ & LUXENBERG, PC                                HANSEN               ELAINE                NY         10633800         WEITZ & LUXENBERG, PC
HAMM                 JOHN L                NY         19021211         WEITZ & LUXENBERG, PC                                HANSEN               FRANCES               NY         10727999         WEITZ & LUXENBERG, PC
HAMM                 MARY BELLE            NY         12185100         WEITZ & LUXENBERG, PC                                HANSEN               HELEN                 NY         12143701         WEITZ & LUXENBERG, PC
HAMM                 PATRICIA              NY         10617700         WEITZ & LUXENBERG, PC                                HANSEN               JEANNE                NY         10439305         WEITZ & LUXENBERG, PC
HAMM                 PHILLIP E             NY         10617700         WEITZ & LUXENBERG, PC                                HANSEN               JOHN R                NY         12693502         WEITZ & LUXENBERG, PC
HAMM                 QUITMAN               NY         12185100         WEITZ & LUXENBERG, PC                                HANSEN               KATHLEEN              NY         12043201         WEITZ & LUXENBERG, PC
HAMM                 ROY                   NY         11939100         WEITZ & LUXENBERG, PC                                HANSEN               KATHLEEN              NY         10110602         WEITZ & LUXENBERG, PC
HAMM                 WILLIAM E             NY         10716802         WEITZ & LUXENBERG, PC                                HANSEN               LINDA                 NY         10710102         WEITZ & LUXENBERG, PC
HAMMAN               GARTH                 NY         10633799         WEITZ & LUXENBERG, PC                                HANSEN               MANUEL                NY         10633900         WEITZ & LUXENBERG, PC
HAMMER               JUDITH A              NY         10696502         WEITZ & LUXENBERG, PC                                HANSEN               NORRIS D              NY         10439305         WEITZ & LUXENBERG, PC
HAMMER               WILLIAM J             NY         10696502         WEITZ & LUXENBERG, PC                                HANSEN               PETER                 NY         12143701         WEITZ & LUXENBERG, PC
HAMMERSMITH          DAVID F               NY         10617600         WEITZ & LUXENBERG, PC                                HANSEN               PETER N               NY         02106508         WEITZ & LUXENBERG, PC
HAMMERSMITH          STELLA                NY         10617600         WEITZ & LUXENBERG, PC                                HANSEN               PETER N               NY         11078202         WEITZ & LUXENBERG, PC
HAMMILL              JEREMIAH J            NY         10670402         WEITZ & LUXENBERG, PC                                HANSEN               RALPH                 NY         10633800         WEITZ & LUXENBERG, PC
HAMMOND              CAROL                 NY         10740002         WEITZ & LUXENBERG, PC                                HANSEN               RAYMOND H             NY         12043201         WEITZ & LUXENBERG, PC
HAMMOND              CAROL                 NY         11407102         WEITZ & LUXENBERG, PC                                HANSEN               RICHARD A             NY         12043201         WEITZ & LUXENBERG, PC
HAMMOND              HANNAH                NY         10074103         WEITZ & LUXENBERG, PC                                HANSEN               RICHARD A             NY         10110602         WEITZ & LUXENBERG, PC
HAMMOND              HANNAH                NY         10289203         WEITZ & LUXENBERG, PC                                HANSEN               ROSITA M              NY         02106508         WEITZ & LUXENBERG, PC
HAMMOND              HOWARD                NY         98118831         WEITZ & LUXENBERG, PC                                HANSEN               ROSITA M              NY         11078202         WEITZ & LUXENBERG, PC
HAMMOND              JOHN J                NY         10740002         WEITZ & LUXENBERG, PC                                HANSEN               WALTER                NY         01111228         WEITZ & LUXENBERG, PC
HAMMOND              JOHN J                NY         11407102         WEITZ & LUXENBERG, PC                                HANSEN               WALTER E              NY         12143701         WEITZ & LUXENBERG, PC
HAMMOND              JOSEPH L              NY         10074103         WEITZ & LUXENBERG, PC                                HANSEN               WALTER R              NY         10710102         WEITZ & LUXENBERG, PC
HAMMOND              JOSEPH L              NY         10289203         WEITZ & LUXENBERG, PC                                HANSEN               WILLIAM               NY         10700102         WEITZ & LUXENBERG, PC
HAMNER               JAMES E               NY         10617500         WEITZ & LUXENBERG, PC                                HANSEN               WILLIAM C             NY         10633700         WEITZ & LUXENBERG, PC
HAMNER-BAINES        JANICE                NY         10617500         WEITZ & LUXENBERG, PC                                HANSEN               YOLANDA               NY         10633700         WEITZ & LUXENBERG, PC
HAMP                 WILLIAM J             NY         10587202         WEITZ & LUXENBERG, PC                                HANSLICK             HENRY C               NY         98118833         WEITZ & LUXENBERG, PC
HAMPTON              CHARLES ALLEN         NY         10078201         WEITZ & LUXENBERG, PC                                HANSLICK             HENRY C               NY         11883398         WEITZ & LUXENBERG, PC
HAMPTON              CHARLES ALLEN         NY         11939100         WEITZ & LUXENBERG, PC                                HANSLICK             JOSEPHINE             NY         98118833         WEITZ & LUXENBERG, PC
HAMPTON              DOROTHY JEAN          NY         01CIV3910        WEITZ & LUXENBERG, PC                                HANSLICK             JOSEPHINE             NY         11883398         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 945
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 280 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HANSON               ALFRED W              NY         10633600         WEITZ & LUXENBERG, PC                                HARMON               MARY                  NY         12801902         WEITZ & LUXENBERG, PC
HANSON               ALLAN P               NY         98118834         WEITZ & LUXENBERG, PC                                HARMON               MARY ANNE             NY         02107007         WEITZ & LUXENBERG, PC
HANSON               DIANE                 NY         98118834         WEITZ & LUXENBERG, PC                                HARMON               MARY ANNE             NY         10595103         WEITZ & LUXENBERG, PC
HANSON               GERALDINE D           NY         10633600         WEITZ & LUXENBERG, PC                                HARMON               ROBERT R              NY         02107007         WEITZ & LUXENBERG, PC
HANSON               HAROLD L              NY         10985003         WEITZ & LUXENBERG, PC                                HARMON               ROBERT R              NY         12801902         WEITZ & LUXENBERG, PC
HANSON               JOHN G                NY         10008703         WEITZ & LUXENBERG, PC                                HARMON               ROBERT R              NY         10595103         WEITZ & LUXENBERG, PC
HANSON               JOHN G                NY         10316603         WEITZ & LUXENBERG, PC                                HARMON               TONJA                 NY         CV021456         WEITZ & LUXENBERG, PC
HANSON               LAWRENCE              NY         01111224         WEITZ & LUXENBERG, PC                                HARMONAY             GEORGE                NY         12668102         WEITZ & LUXENBERG, PC
HANSON               LEONORE D             NY         10008703         WEITZ & LUXENBERG, PC                                HARNAS               EMIL E                NY         10633100         WEITZ & LUXENBERG, PC
HANSON               LEONORE D             NY         10316603         WEITZ & LUXENBERG, PC                                HARNAS               WANDA J               NY         10633100         WEITZ & LUXENBERG, PC
HANSON               MARGARET              NY         10985003         WEITZ & LUXENBERG, PC                                HARNICK              HARRIET               NY         11166900         WEITZ & LUXENBERG, PC
HARALAMBOU           ANDREW                NY         12038801         WEITZ & LUXENBERG, PC                                HARNICK              LEROY JR              NY         11166900         WEITZ & LUXENBERG, PC
HARALAMBOU           ELENE                 NY         12038801         WEITZ & LUXENBERG, PC                                HARNISCH             CAROL                 NY         98118809         WEITZ & LUXENBERG, PC
HARAN                JOHN F                NY         12038801         WEITZ & LUXENBERG, PC                                HARNISCH             RICHARD               NY         98118809         WEITZ & LUXENBERG, PC
HARAN                JOHN F                NY         10630102         WEITZ & LUXENBERG, PC                                HAROLD               GRACE                 NY         99107274         WEITZ & LUXENBERG, PC
HARAN                MARY ANN              NY         12038801         WEITZ & LUXENBERG, PC                                HAROLD               THOMAS A              NY         10696502         WEITZ & LUXENBERG, PC
HARAN                MARY ANN              NY         10630102         WEITZ & LUXENBERG, PC                                HAROLD               WILLIAM J             NY         99107274         WEITZ & LUXENBERG, PC
HARASIMOWICZ         HENRY                 NY         10633500         WEITZ & LUXENBERG, PC                                HARPER               BARBARA               NY         CV012847         WEITZ & LUXENBERG, PC
HARB                 FARID                 NY         98118820         WEITZ & LUXENBERG, PC                                HARPER               CHARLES WESLEY        NY         00CIV1202        WEITZ & LUXENBERG, PC
HARB                 SALWA                 NY         98118820         WEITZ & LUXENBERG, PC                                HARPER               DAVID PRESLEY         NY         CV016363         WEITZ & LUXENBERG, PC
HARBAUGH             IRA H                 NY         10740102         WEITZ & LUXENBERG, PC                                HARPER               ELTON                 NY         10680702         WEITZ & LUXENBERG, PC
HARBAUGH             IRA H                 NY         11349402         WEITZ & LUXENBERG, PC                                HARPER               JAMES A               NY         11363402         WEITZ & LUXENBERG, PC
HARBAUGH             LARENA M              NY         10740102         WEITZ & LUXENBERG, PC                                HARPER               KATHLEEN              NY         20152580         WEITZ & LUXENBERG, PC
HARBAUGH             LARENA M              NY         11349402         WEITZ & LUXENBERG, PC                                HARPER               LARRY JAMES           NY         CV012847         WEITZ & LUXENBERG, PC
HARBISON             FRANKLIN R            NY         10632400         WEITZ & LUXENBERG, PC                                HARPER               LOIS A                NY         10727399         WEITZ & LUXENBERG, PC
HARCROW              EVELYN M              NY         10504000         WEITZ & LUXENBERG, PC                                HARPER               RICHARD EUGENE        NY         10727399         WEITZ & LUXENBERG, PC
HARCROW              JOSEPH M              NY         10504000         WEITZ & LUXENBERG, PC                                HARPER               ROBERT A              NY         20152580         WEITZ & LUXENBERG, PC
HARDEN               JAMES                 NY         11870001         WEITZ & LUXENBERG, PC                                HARPER               ROBERT M              NY         10722202         WEITZ & LUXENBERG, PC
HARDEN               JAMES                 NY         01111233         WEITZ & LUXENBERG, PC                                HARPER               ROBERT M              NY         11363402         WEITZ & LUXENBERG, PC
HARDEN               LLOYD                 NY         10075504         WEITZ & LUXENBERG, PC                                HARPER               ROSE ANNE             NY         CV016363         WEITZ & LUXENBERG, PC
HARDEN               LORETTA               NY         10075504         WEITZ & LUXENBERG, PC                                HARPER               YVONNE                NY         10680702         WEITZ & LUXENBERG, PC
HARDIMAN             MICHAEL DOUGLAS       NY         12039801         WEITZ & LUXENBERG, PC                                HARPHAM              LLOYD S               NY         10992204         WEITZ & LUXENBERG, PC
HARDIMAN             PEARL                 NY         12039801         WEITZ & LUXENBERG, PC                                HARPHAM              VIRGINIA A            NY         10992204         WEITZ & LUXENBERG, PC
HARDING              FLORA                 NY         00CIV6510        WEITZ & LUXENBERG, PC                                HARREL               EVELYN                NY         CV017737         WEITZ & LUXENBERG, PC
HARDING              OLIVER P              NY         00CIV6510        WEITZ & LUXENBERG, PC                                HARREL               WILLIAM C             NY         CV017737         WEITZ & LUXENBERG, PC
HARDWICK             JAMES J               NY         02106694         WEITZ & LUXENBERG, PC                                HARRELL              GLENNA                NY         01CIV2935        WEITZ & LUXENBERG, PC
HARDWICK             KATHLEEN              NY         10964502         WEITZ & LUXENBERG, PC                                HARRELL              JAMES A               NY         11327802         WEITZ & LUXENBERG, PC
HARDWICK             THOMAS W              NY         10964502         WEITZ & LUXENBERG, PC                                HARRELL              JAMES R               NY         02105715         WEITZ & LUXENBERG, PC
HARDY                HAROLD                NY         10633400         WEITZ & LUXENBERG, PC                                HARRELL              ROBERT L              NY         CV012847         WEITZ & LUXENBERG, PC
HARDY                JOSEPH                NY         12039001         WEITZ & LUXENBERG, PC                                HARRELL              ROSE M                NY         02105715         WEITZ & LUXENBERG, PC
HARDY                MIRIAM                NY         10633400         WEITZ & LUXENBERG, PC                                HARRELL              ROY LEON              NY         01CIV2935        WEITZ & LUXENBERG, PC
HARE                 DALE W                NY         E20181054CV      WEITZ & LUXENBERG, PC                                HARRELL              WALKER T              NY         01CIV3910        WEITZ & LUXENBERG, PC
HARE                 GLORIA                NY         E20181054CV      WEITZ & LUXENBERG, PC                                HARRIGAN             DOROTHY               NY         10571702         WEITZ & LUXENBERG, PC
HARENZA              GERALD                NY         98118821         WEITZ & LUXENBERG, PC                                HARRIGAN             THOMAS F              NY         10571702         WEITZ & LUXENBERG, PC
HARENZA              JOSEPHINE             NY         98118821         WEITZ & LUXENBERG, PC                                HARRIGER             EARL P                NY         10716902         WEITZ & LUXENBERG, PC
HARFORD              JAMES FRANCIS         NY         10633300         WEITZ & LUXENBERG, PC                                HARRIGER             PAULINE               NY         10716902         WEITZ & LUXENBERG, PC
HARFORD              LOTTIE                NY         10633300         WEITZ & LUXENBERG, PC                                HARRINGTON           BETSY                 NY         110199           WEITZ & LUXENBERG, PC
HARGETT              JOHN                  NY         12039101         WEITZ & LUXENBERG, PC                                HARRINGTON           BETSY                 NY         12448902         WEITZ & LUXENBERG, PC
HARGETT              VENUS                 NY         12039101         WEITZ & LUXENBERG, PC                                HARRINGTON           CHESTER D             NY         11632203         WEITZ & LUXENBERG, PC
HARGIS               BETTY                 NY         CV012847         WEITZ & LUXENBERG, PC                                HARRINGTON           ETHEL                 NY         10852306         WEITZ & LUXENBERG, PC
HARGIS               HENRY P               NY         CV012847         WEITZ & LUXENBERG, PC                                HARRINGTON           FRANK X               NY         10633000         WEITZ & LUXENBERG, PC
HARGIS               LARRY W               NY         CV042012         WEITZ & LUXENBERG, PC                                HARRINGTON           JEFFREY               NY         90679116         WEITZ & LUXENBERG, PC
HARGIS               VIRGINIA              NY         CV042012         WEITZ & LUXENBERG, PC                                HARRINGTON           JOHN C                NY         11123101         WEITZ & LUXENBERG, PC
HARGRAVE             CARMEN                NY         02106690         WEITZ & LUXENBERG, PC                                HARRINGTON           JOHN C                NY         12047601         WEITZ & LUXENBERG, PC
HARGRAVE             REX                   NY         02106690         WEITZ & LUXENBERG, PC                                HARRINGTON           KENNETH               NY         10852306         WEITZ & LUXENBERG, PC
HARGRETT             COOLIDGE              NY         1902302013       WEITZ & LUXENBERG, PC                                HARRINGTON           KENNETH DAVID         NY         10700002         WEITZ & LUXENBERG, PC
HARGRETT             PATRICIA              NY         1902302013       WEITZ & LUXENBERG, PC                                HARRINGTON           LOIS J                NY         11632203         WEITZ & LUXENBERG, PC
HARGROVE             HARVEY EUGENE         NY         CV016898         WEITZ & LUXENBERG, PC                                HARRINGTON           MARY                  NY         11123101         WEITZ & LUXENBERG, PC
HARGROVE             MARY                  NY         CV016898         WEITZ & LUXENBERG, PC                                HARRINGTON           MARY                  NY         12047601         WEITZ & LUXENBERG, PC
HARHIGH              ANDREW                NY         10633200         WEITZ & LUXENBERG, PC                                HARRINGTON           MARY JO L             NY         12693702         WEITZ & LUXENBERG, PC
HARHIGH              MARY                  NY         10633200         WEITZ & LUXENBERG, PC                                HARRINGTON           MICHAEL J             NY         10633000         WEITZ & LUXENBERG, PC
HARKIN               CHARLES J             NY         12693402         WEITZ & LUXENBERG, PC                                HARRINGTON           NED                   NY         12411201         WEITZ & LUXENBERG, PC
HARKNESS             MARY L                NY         CV02555          WEITZ & LUXENBERG, PC                                HARRINGTON           PATRICIA              NY         11327902         WEITZ & LUXENBERG, PC
HARKNESS             ROBERT RICKY          NY         CV02555          WEITZ & LUXENBERG, PC                                HARRINGTON           PATRICK J             NY         1901082013       WEITZ & LUXENBERG, PC
HARLACKER            JOHN A                NY         12668102         WEITZ & LUXENBERG, PC                                HARRINGTON           PAUL E                NY         11327902         WEITZ & LUXENBERG, PC
HARLING              CHARLIE               NY         10727799         WEITZ & LUXENBERG, PC                                HARRINGTON           RAYMOND               NY         110199           WEITZ & LUXENBERG, PC
HARLING              EDWARD M              NY         10727799         WEITZ & LUXENBERG, PC                                HARRINGTON           RAYMOND               NY         12448902         WEITZ & LUXENBERG, PC
HARLING              JOYCE M               NY         99107276         WEITZ & LUXENBERG, PC                                HARRINGTON           RICKY J               NY         10645702         WEITZ & LUXENBERG, PC
HARLING              ROBERT L              NY         99107276         WEITZ & LUXENBERG, PC                                HARRINGTON           RONALD G              NY         02120615         WEITZ & LUXENBERG, PC
HARM                 ARTHUR C              NY         12110001         WEITZ & LUXENBERG, PC                                HARRINGTON           SHEILA                NY         1901082013       WEITZ & LUXENBERG, PC
HARM                 CATHERINE             NY         12110001         WEITZ & LUXENBERG, PC                                HARRINGTON           SONCHA                NY         10645702         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 946
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 281 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HARRINGTON           THOMAS E              NY         12693702         WEITZ & LUXENBERG, PC                                HART                 ANDREW                NY         01CIV3910        WEITZ & LUXENBERG, PC
HARRIOTT             HARVEY L              NY         10635307         WEITZ & LUXENBERG, PC                                HART                 BERNICE               NY         01CIV3910        WEITZ & LUXENBERG, PC
HARRIOTT             JOHANNE H             NY         10635307         WEITZ & LUXENBERG, PC                                HART                 CAROL                 NY         12039601         WEITZ & LUXENBERG, PC
HARRIS               AGNES F               NY         1902362012       WEITZ & LUXENBERG, PC                                HART                 GARY                  NY         10632200         WEITZ & LUXENBERG, PC
HARRIS               ANNIE                 NY         19005910         WEITZ & LUXENBERG, PC                                HART                 GEORGE                NY         1904092018       WEITZ & LUXENBERG, PC
HARRIS               BERNICE B             NY         01CIV3915        WEITZ & LUXENBERG, PC                                HART                 HOLLY                 NY         1903662015       WEITZ & LUXENBERG, PC
HARRIS               CHARLES               NY         1903562015       WEITZ & LUXENBERG, PC                                HART                 JAMES P               NY         12801902         WEITZ & LUXENBERG, PC
HARRIS               CHARLES               NY         10632900         WEITZ & LUXENBERG, PC                                HART                 JOHN M                NY         12039601         WEITZ & LUXENBERG, PC
HARRIS               CHRISTINE C           NY         12039301         WEITZ & LUXENBERG, PC                                HART                 KENNETH R             NY         10727199         WEITZ & LUXENBERG, PC
HARRIS               DANIEL LEE            NY         CV02410          WEITZ & LUXENBERG, PC                                HART                 LINDA                 NY         12801902         WEITZ & LUXENBERG, PC
HARRIS               DANIEL W              NY         19016811         WEITZ & LUXENBERG, PC                                HART                 MARIE J               NY         10727199         WEITZ & LUXENBERG, PC
HARRIS               DENNIS W              NY         CV003590         WEITZ & LUXENBERG, PC                                HART                 RALPH                 NY         10632200         WEITZ & LUXENBERG, PC
HARRIS               EDWARD                NY         19016411         WEITZ & LUXENBERG, PC                                HART                 SHIRLEY               NY         CV016701         WEITZ & LUXENBERG, PC
HARRIS               ELEANOR               NY         10632800         WEITZ & LUXENBERG, PC                                HART                 SHIRLEY D             NY         01CIV3895        WEITZ & LUXENBERG, PC
HARRIS               ELLEN                 NY         10632600         WEITZ & LUXENBERG, PC                                HART                 WILLIAM               NY         01CIV3895        WEITZ & LUXENBERG, PC
HARRIS               FRANCIS E             NY         10670602         WEITZ & LUXENBERG, PC                                HART                 WILLIAM THOMAS        NY         CV016701         WEITZ & LUXENBERG, PC
HARRIS               FRANCIS E             NY         12693702         WEITZ & LUXENBERG, PC                                HARTE                GEORGE A              NY         10587402         WEITZ & LUXENBERG, PC
HARRIS               GEORGE EDWARD         NY         10722002         WEITZ & LUXENBERG, PC                                HARTENSTEIN          CHARLES F             NY         1902442019       WEITZ & LUXENBERG, PC
HARRIS               GEORGE EDWARD         NY         11345702         WEITZ & LUXENBERG, PC                                HARTER               JUNE                  NY         10587502         WEITZ & LUXENBERG, PC
HARRIS               GRACE                 NY         10632900         WEITZ & LUXENBERG, PC                                HARTER               RONALD R              NY         10587502         WEITZ & LUXENBERG, PC
HARRIS               GUS SR                NY         10632500         WEITZ & LUXENBERG, PC                                HARTH                EDWARD P              NY         10005302         WEITZ & LUXENBERG, PC
HARRIS               HEIDE                 NY         1900462017       WEITZ & LUXENBERG, PC                                HARTH                STEWART               NY         10005302         WEITZ & LUXENBERG, PC
HARRIS               HELEN R               NY         CV015611         WEITZ & LUXENBERG, PC                                HARTH                STEWART J             NY         12039701         WEITZ & LUXENBERG, PC
HARRIS               HERSCHEL TROTTER      NY         00CIV1202        WEITZ & LUXENBERG, PC                                HARTIG               BETTE                 NY         10078501         WEITZ & LUXENBERG, PC
HARRIS               HUGH                  NY         CV015611         WEITZ & LUXENBERG, PC                                HARTIG               BETTE                 NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               JB                    NY         01CIV3898        WEITZ & LUXENBERG, PC                                HARTIG               WILLIAM C             NY         10078501         WEITZ & LUXENBERG, PC
HARRIS               JANICE                NY         CV02410          WEITZ & LUXENBERG, PC                                HARTIG               WILLIAM C             NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               JESSIE J              NY         1903912014       WEITZ & LUXENBERG, PC                                HARTLEY              DOROTHY               NY         11026902         WEITZ & LUXENBERG, PC
HARRIS               JOE L                 NY         10504200         WEITZ & LUXENBERG, PC                                HARTLEY              DOROTHY               NY         12678902         WEITZ & LUXENBERG, PC
HARRIS               JOSEPH D              NY         10632800         WEITZ & LUXENBERG, PC                                HARTLEY              RICHARD P             NY         11026902         WEITZ & LUXENBERG, PC
HARRIS               JOSEPH LEE            NY         12042901         WEITZ & LUXENBERG, PC                                HARTLEY              RICHARD P             NY         12678902         WEITZ & LUXENBERG, PC
HARRIS               JOSEPH LEE            NY         10061402         WEITZ & LUXENBERG, PC                                HARTMAN              BEATRICE              NY         10697408         WEITZ & LUXENBERG, PC
HARRIS               KATHERYNE             NY         10078401         WEITZ & LUXENBERG, PC                                HARTMAN              EILEEN                NY         10078601         WEITZ & LUXENBERG, PC
HARRIS               KATHERYNE             NY         11939100         WEITZ & LUXENBERG, PC                                HARTMAN              EILEEN                NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               LENA L                NY         01CIV3898        WEITZ & LUXENBERG, PC                                HARTMAN              JAMES                 NY         10078601         WEITZ & LUXENBERG, PC
HARRIS               LEONARD MARTIN        NY         10571702         WEITZ & LUXENBERG, PC                                HARTMAN              JAMES                 NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               LIDDA PEARL           NY         10504200         WEITZ & LUXENBERG, PC                                HARTMAN              JOHN J                NY         10697408         WEITZ & LUXENBERG, PC
HARRIS               LORETTA               NY         12042901         WEITZ & LUXENBERG, PC                                HARTNETT             THOMAS F              NY         10740302         WEITZ & LUXENBERG, PC
HARRIS               LORETTA               NY         10061402         WEITZ & LUXENBERG, PC                                HARTSELL             ALBERTA               NY         CV024385         WEITZ & LUXENBERG, PC
HARRIS               LYDIA                 NY         19016411         WEITZ & LUXENBERG, PC                                HARTSELL             FORNIE EDWARD         NY         CV024385         WEITZ & LUXENBERG, PC
HARRIS               MARTHA                NY         00CIV1202        WEITZ & LUXENBERG, PC                                HARTSHORNE           DEBORAH J             NY         11208802         WEITZ & LUXENBERG, PC
HARRIS               MARTIN C              NY         10078401         WEITZ & LUXENBERG, PC                                HARTSHORNE           DEBORAH J             NY         10696402         WEITZ & LUXENBERG, PC
HARRIS               MARTIN C              NY         11939100         WEITZ & LUXENBERG, PC                                HARTSON              DOUGLAS C             NY         02105718         WEITZ & LUXENBERG, PC
HARRIS               MELVA                 NY         CV003590         WEITZ & LUXENBERG, PC                                HARTSON              LINDA K               NY         02105718         WEITZ & LUXENBERG, PC
HARRIS               PATRICIA              NY         12693702         WEITZ & LUXENBERG, PC                                HARTSON              MADELINE              NY         10632100         WEITZ & LUXENBERG, PC
HARRIS               PHILLIP               NY         11448404         WEITZ & LUXENBERG, PC                                HARTSON              PATRICIA              NY         10670602         WEITZ & LUXENBERG, PC
HARRIS               ROBERT                NY         1900462017       WEITZ & LUXENBERG, PC                                HARTSON              PATRICIA              NY         11486202         WEITZ & LUXENBERG, PC
HARRIS               ROBERT L              NY         10632700         WEITZ & LUXENBERG, PC                                HARTSON              THOMAS ROMUALD        NY         10632100         WEITZ & LUXENBERG, PC
HARRIS               ROGER M               NY         10632500         WEITZ & LUXENBERG, PC                                HARTWICK             LEMRO                 NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               RONALD R              NY         10632600         WEITZ & LUXENBERG, PC                                HARTWICK             RUBY                  NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               ROSA                  NY         1903912014       WEITZ & LUXENBERG, PC                                HARVEY               CATHERINE             NY         10078801         WEITZ & LUXENBERG, PC
HARRIS               ROSA LEE              NY         11882298         WEITZ & LUXENBERG, PC                                HARVEY               CATHERINE             NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               RUTH J                NY         10722002         WEITZ & LUXENBERG, PC                                HARVEY               DESMOND FRANK         NY         01111229         WEITZ & LUXENBERG, PC
HARRIS               RUTH J                NY         11345702         WEITZ & LUXENBERG, PC                                HARVEY               ETHEL SHORT           NY         11071300         WEITZ & LUXENBERG, PC
HARRIS               STACEY                NY         1903562015       WEITZ & LUXENBERG, PC                                HARVEY               ETHEL SHORT           NY         12219599         WEITZ & LUXENBERG, PC
HARRIS               TRUDY                 NY         11167000         WEITZ & LUXENBERG, PC                                HARVEY               FRANK H               NY         10078801         WEITZ & LUXENBERG, PC
HARRIS               WALTER                NY         19005910         WEITZ & LUXENBERG, PC                                HARVEY               FRANK H               NY         11939100         WEITZ & LUXENBERG, PC
HARRIS               WALTER SR             NY         11882298         WEITZ & LUXENBERG, PC                                HARVEY               GARETH                NY         1903012016       WEITZ & LUXENBERG, PC
HARRIS               WILLIAM T             NY         12039301         WEITZ & LUXENBERG, PC                                HARVEY               JAMES H               NY         02107102         WEITZ & LUXENBERG, PC
HARRIS               WILLIE                NY         11167000         WEITZ & LUXENBERG, PC                                HARVEY               MARY                  NY         02107102         WEITZ & LUXENBERG, PC
HARRIS               ZENBA B               NY         00CIV1202        WEITZ & LUXENBERG, PC                                HARVEY               PATRICK               NY         01111230         WEITZ & LUXENBERG, PC
HARRIS-HAMMILL       NANCY A               NY         10670402         WEITZ & LUXENBERG, PC                                HARVEY               RICHARD L             NY         11846000         WEITZ & LUXENBERG, PC
HARRISON             ANNA MAUDE            NY         01CIV3910        WEITZ & LUXENBERG, PC                                HARVEY               WARREN E              NY         02113280         WEITZ & LUXENBERG, PC
HARRISON             HELEN                 NY         10632300         WEITZ & LUXENBERG, PC                                HARVEY               WYCLIFFE              NY         1903012016       WEITZ & LUXENBERG, PC
HARRISON             JAMES M               NY         10632300         WEITZ & LUXENBERG, PC                                HARWOOD              JAMES A               NY         12039601         WEITZ & LUXENBERG, PC
HARRISON             JEAN                  NY         10632400         WEITZ & LUXENBERG, PC                                HARWOOD              JAMES A               NY         10335402         WEITZ & LUXENBERG, PC
HARRISON             JOHN                  NY         01CIV3910        WEITZ & LUXENBERG, PC                                HARWOOD              MIGUELINA             NY         12039601         WEITZ & LUXENBERG, PC
HARSHBERGER          ROBERTA               NY         10708301         WEITZ & LUXENBERG, PC                                HARWOOD              MIGUELINA             NY         10335402         WEITZ & LUXENBERG, PC
HARSHBERGER          ROBERTA               NY         11937900         WEITZ & LUXENBERG, PC                                HARWORTH             GEZAR                 NY         12668502         WEITZ & LUXENBERG, PC
HARSHBERGER          WANDA                 NY         10708301         WEITZ & LUXENBERG, PC                                HARWORTH             PATRICIA              NY         12668502         WEITZ & LUXENBERG, PC
HARSHBERGER          WANDA                 NY         11937900         WEITZ & LUXENBERG, PC                                HASAN                NAZHA                 NY         10710102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 947
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 282 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HASAN                NAZHA                 NY         11968902         WEITZ & LUXENBERG, PC                                HAWKES               RITA JEAN             NY         02105716         WEITZ & LUXENBERG, PC
HASAN                NAZMI                 NY         10710102         WEITZ & LUXENBERG, PC                                HAWKES               WC                    NY         02105716         WEITZ & LUXENBERG, PC
HASAN                NAZMI                 NY         11968902         WEITZ & LUXENBERG, PC                                HAWKINHS             ELLA                  NY         11272400         WEITZ & LUXENBERG, PC
HASAN                SAMIER                NY         10710102         WEITZ & LUXENBERG, PC                                HAWKINS              CHARLES J             NY         10950800         WEITZ & LUXENBERG, PC
HASAN                SAMIER                NY         11968902         WEITZ & LUXENBERG, PC                                HAWKINS              HERSHELL              NY         10950700         WEITZ & LUXENBERG, PC
HASBROUCK            AUGUST                NY         10699902         WEITZ & LUXENBERG, PC                                HAWKINS              MARTHA E              NY         CV016263         WEITZ & LUXENBERG, PC
HASBROUCK            LORRAINE              NY         10699902         WEITZ & LUXENBERG, PC                                HAWKINS              MAXINE LESLIE         NY         10501900         WEITZ & LUXENBERG, PC
HASELEY              NELLIE                NY         99107237         WEITZ & LUXENBERG, PC                                HAWKINS              ODELL ANN             NY         CV013899         WEITZ & LUXENBERG, PC
HASELEY              WAYNE L               NY         99107237         WEITZ & LUXENBERG, PC                                HAWKINS              OTIS                  NY         10463707         WEITZ & LUXENBERG, PC
HASENOHR             CHARLES               NY         01111223         WEITZ & LUXENBERG, PC                                HAWKINS              SHIRLEY B             NY         10463707         WEITZ & LUXENBERG, PC
HASKELL              EDWARD                NY         10696502         WEITZ & LUXENBERG, PC                                HAWKINS              THOMAS                NY         10501900         WEITZ & LUXENBERG, PC
HASKINS              DAVID F               NY         10716802         WEITZ & LUXENBERG, PC                                HAWLEY               EUELL SILAS           NY         CV016362         WEITZ & LUXENBERG, PC
HASKINS              RALPH                 NY         CV013921         WEITZ & LUXENBERG, PC                                HAWLEY               RUBY                  NY         CV016362         WEITZ & LUXENBERG, PC
HASKINS              RUTH                  NY         CV013921         WEITZ & LUXENBERG, PC                                HAWTHORNE            BETTY JANE            NY         CV021466         WEITZ & LUXENBERG, PC
HASKINS              THELMA                NY         10716802         WEITZ & LUXENBERG, PC                                HAYDA                ANNE                  NY         10722102         WEITZ & LUXENBERG, PC
HASSETT              GRACIE                NY         12199099         WEITZ & LUXENBERG, PC                                HAYDA                JERRY                 NY         10722102         WEITZ & LUXENBERG, PC
HASSETT              JAMES J               NY         12199099         WEITZ & LUXENBERG, PC                                HAYDEN               CATHERINE             NY         10700102         WEITZ & LUXENBERG, PC
HASSLER              PATRICIA              NY         10951600         WEITZ & LUXENBERG, PC                                HAYDEN               DONALD P              NY         10700102         WEITZ & LUXENBERG, PC
HASSLER              PETER                 NY         10951600         WEITZ & LUXENBERG, PC                                HAYDEN               MAUREEN               NY         10950600         WEITZ & LUXENBERG, PC
HASSLER              ROBERT                NY         10951500         WEITZ & LUXENBERG, PC                                HAYDEN               RONALD P              NY         10950600         WEITZ & LUXENBERG, PC
HASTINGS             JOAN E                NY         10095801         WEITZ & LUXENBERG, PC                                HAYES                ABIGAIL ELAINE        NY         00112933         WEITZ & LUXENBERG, PC
HASTINGS             LEE                   NY         CV014070         WEITZ & LUXENBERG, PC                                HAYES                BEATRICE              NY         01CIV3910        WEITZ & LUXENBERG, PC
HASTINGS             NELLIE J              NY         CV014070         WEITZ & LUXENBERG, PC                                HAYES                BERNICE               NY         01CIV3900        WEITZ & LUXENBERG, PC
HATCH                MARY ANN              NY         10548300         WEITZ & LUXENBERG, PC                                HAYES                BRUCE W               NY         12668702         WEITZ & LUXENBERG, PC
HATCHER              CHARLES R             NY         10740002         WEITZ & LUXENBERG, PC                                HAYES                DALLAS B              NY         10079001         WEITZ & LUXENBERG, PC
HATSCHEK             DORIS A               NY         11705900         WEITZ & LUXENBERG, PC                                HAYES                DALLAS B              NY         11939100         WEITZ & LUXENBERG, PC
HATSCHEK             ROBERT                NY         11705900         WEITZ & LUXENBERG, PC                                HAYES                ELIZABETH             NY         11166300         WEITZ & LUXENBERG, PC
HATT                 DANIEL                NY         98118811         WEITZ & LUXENBERG, PC                                HAYES                GENEVIEVE             NY         10079301         WEITZ & LUXENBERG, PC
HATT                 MAE                   NY         98118811         WEITZ & LUXENBERG, PC                                HAYES                GENEVIEVE             NY         11939100         WEITZ & LUXENBERG, PC
HATTEN               ETHEL                 NY         10951400         WEITZ & LUXENBERG, PC                                HAYES                HELEN T               NY         98118813         WEITZ & LUXENBERG, PC
HATTEN               ETTA                  NY         02105715         WEITZ & LUXENBERG, PC                                HAYES                JAMES                 NY         00112933         WEITZ & LUXENBERG, PC
HATTEN               GABBY E               NY         10047504         WEITZ & LUXENBERG, PC                                HAYES                JAMES C               NY         10079101         WEITZ & LUXENBERG, PC
HATTEN               MATTHEW               NY         10951400         WEITZ & LUXENBERG, PC                                HAYES                JAMES C               NY         11939100         WEITZ & LUXENBERG, PC
HATTEN               MICHAEL J             NY         10047504         WEITZ & LUXENBERG, PC                                HAYES                JAMES MICHAEL         NY         98118813         WEITZ & LUXENBERG, PC
HATTEN               ODELL S               NY         02105715         WEITZ & LUXENBERG, PC                                HAYES                JEAN L                NY         10952600         WEITZ & LUXENBERG, PC
HATTON               IRENE                 NY         10951300         WEITZ & LUXENBERG, PC                                HAYES                JOE L                 NY         CV013899         WEITZ & LUXENBERG, PC
HATTON               JAMES J               NY         10951300         WEITZ & LUXENBERG, PC                                HAYES                JOSEPH R              NY         98118814         WEITZ & LUXENBERG, PC
HAUCK                AUDREY                NY         11327702         WEITZ & LUXENBERG, PC                                HAYES                JOYCE A               NY         98118814         WEITZ & LUXENBERG, PC
HAUCK                MAMIE                 NY         10716802         WEITZ & LUXENBERG, PC                                HAYES                KENNETH               NY         10079301         WEITZ & LUXENBERG, PC
HAUCK                ROBERT G              NY         11327702         WEITZ & LUXENBERG, PC                                HAYES                KENNETH               NY         11939100         WEITZ & LUXENBERG, PC
HAUCK                ROBERT W              NY         10716802         WEITZ & LUXENBERG, PC                                HAYES                LOIS                  NY         10633400         WEITZ & LUXENBERG, PC
HAUF                 ROLAND                NY         10078901         WEITZ & LUXENBERG, PC                                HAYES                MINNIE ROSE           NY         CV013899         WEITZ & LUXENBERG, PC
HAUF                 ROLAND                NY         11939100         WEITZ & LUXENBERG, PC                                HAYES                MYRNA                 NY         10079001         WEITZ & LUXENBERG, PC
HAUF                 SANDRA                NY         10078901         WEITZ & LUXENBERG, PC                                HAYES                MYRNA                 NY         11939100         WEITZ & LUXENBERG, PC
HAUF                 SANDRA                NY         11939100         WEITZ & LUXENBERG, PC                                HAYES                RICHARD LEO           NY         11166300         WEITZ & LUXENBERG, PC
HAUG                 JOHN HENRY            NY         10951200         WEITZ & LUXENBERG, PC                                HAYES                ROSEANN               NY         02107007         WEITZ & LUXENBERG, PC
HAUG                 MARY LOU              NY         10951200         WEITZ & LUXENBERG, PC                                HAYES                RUSSELL               NY         10079001         WEITZ & LUXENBERG, PC
HAUGEDAL             LUDVIG                NY         01111230         WEITZ & LUXENBERG, PC                                HAYES                RUSSELL               NY         11939100         WEITZ & LUXENBERG, PC
HAUGH                BEVERLY               NY         I200110100       WEITZ & LUXENBERG, PC                                HAYES                RUTHIE M              NY         01CIV3897        WEITZ & LUXENBERG, PC
HAUGH                BEVERLY               NY         02122050         WEITZ & LUXENBERG, PC                                HAYES                STEPHEN               NY         10079001         WEITZ & LUXENBERG, PC
HAUGH                DAVID                 NY         I200110100       WEITZ & LUXENBERG, PC                                HAYES                STEPHEN               NY         11939100         WEITZ & LUXENBERG, PC
HAUGH                DAVID                 NY         02122050         WEITZ & LUXENBERG, PC                                HAYES                STEPHEN H             NY         10952600         WEITZ & LUXENBERG, PC
HAUGHEY              SYLVIA                NY         10951100         WEITZ & LUXENBERG, PC                                HAYES                THOMAS                NY         02107007         WEITZ & LUXENBERG, PC
HAUGHEY              WILLIAM               NY         10951100         WEITZ & LUXENBERG, PC                                HAYES                THOMAS                NY         10699300         WEITZ & LUXENBERG, PC
HAUGHT               ALAN P                NY         10587402         WEITZ & LUXENBERG, PC                                HAYGOOD              BOBBY JEAN            NY         CV012845         WEITZ & LUXENBERG, PC
HAUGHT               DELBERTA              NY         11055601         WEITZ & LUXENBERG, PC                                HAYGOOD              WC                    NY         CV012845         WEITZ & LUXENBERG, PC
HAUGHT               WAYNE HOWARD          NY         11055601         WEITZ & LUXENBERG, PC                                HAYNES               ASHTON                NY         12039601         WEITZ & LUXENBERG, PC
HAUGLAND             BORGHILD              NY         10055800         WEITZ & LUXENBERG, PC                                HAYNES               CHRISTOPHER           NY         01CIV3897        WEITZ & LUXENBERG, PC
HAUGLAND             ERNA                  NY         10951000         WEITZ & LUXENBERG, PC                                HAYNES               EURKA E               NY         01CIV3897        WEITZ & LUXENBERG, PC
HAUGLAND             OLAF                  NY         10951000         WEITZ & LUXENBERG, PC                                HAYNES               JAMES DONALD          NY         I20019419        WEITZ & LUXENBERG, PC
HAUGLAND             SIMON                 NY         10055800         WEITZ & LUXENBERG, PC                                HAYNES               JAMES DONALD          NY         02120709         WEITZ & LUXENBERG, PC
HAUN                 EDWARD F              NY         11167100         WEITZ & LUXENBERG, PC                                HAYNES               NELSON S              NY         12596702         WEITZ & LUXENBERG, PC
HAUPT                JACQUELINE            NY         12043001         WEITZ & LUXENBERG, PC                                HAYNES               PATRICIA A            NY         I20019419        WEITZ & LUXENBERG, PC
HAUPT                LEONARD J             NY         12043001         WEITZ & LUXENBERG, PC                                HAYNES               PATRICIA A            NY         02120709         WEITZ & LUXENBERG, PC
HAUPTMAN             FREDERICK JR          NY         98118824         WEITZ & LUXENBERG, PC                                HAYNES               RICHARD DONALD        NY         10587202         WEITZ & LUXENBERG, PC
HAUPTMAN             ROSE                  NY         98118824         WEITZ & LUXENBERG, PC                                HAYNES               SANDRA                NY         02107006         WEITZ & LUXENBERG, PC
HAVERLY              CARL G                NY         11370704         WEITZ & LUXENBERG, PC                                HAYNES               SANDRA                NY         11799002         WEITZ & LUXENBERG, PC
HAVERLY              NANCY                 NY         11370704         WEITZ & LUXENBERG, PC                                HAYNES               VALERIE               NY         12039601         WEITZ & LUXENBERG, PC
HAVILAND             ANTHONY               NY         10886702         WEITZ & LUXENBERG, PC                                HAYNES               VONNE                 NY         12596702         WEITZ & LUXENBERG, PC
HAVLIN               DOROTHY               NY         10950900         WEITZ & LUXENBERG, PC                                HAYNES               WILLIAM J             NY         02107006         WEITZ & LUXENBERG, PC
HAVLIN               WILLIAM S             NY         10950900         WEITZ & LUXENBERG, PC                                HAYNES               WILLIAM J             NY         11799002         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 948
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 283 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HAYNIE               HERMAN T              NY         11347204         WEITZ & LUXENBERG, PC                                HEER                 BILLY N               NY         CV013825         WEITZ & LUXENBERG, PC
HAYNIE               JANIE HOLLAND         NY         11347204         WEITZ & LUXENBERG, PC                                HEER                 BONNIE                NY         CV013825         WEITZ & LUXENBERG, PC
HAYOSTEK             CANDYCE SARRIS        NY         10952500         WEITZ & LUXENBERG, PC                                HEERDT               GEORGE A              NY         10952100         WEITZ & LUXENBERG, PC
HAYOSTEK             JOHN ANTHONY          NY         10952500         WEITZ & LUXENBERG, PC                                HEERDT               VIOLA                 NY         10952100         WEITZ & LUXENBERG, PC
HAYOWY               STEPHEN               NY         10952400         WEITZ & LUXENBERG, PC                                HEEREN               HARRIET               NY         1903902013       WEITZ & LUXENBERG, PC
HAYS                 EDDIE                 NY         1903982012       WEITZ & LUXENBERG, PC                                HEEREN               KENNETH L             NY         1903902013       WEITZ & LUXENBERG, PC
HAYS                 JESS W                NY         00CIV1202        WEITZ & LUXENBERG, PC                                HEERS                FRANCES A             NY         11026802         WEITZ & LUXENBERG, PC
HAYS                 NANCY S               NY         1903982012       WEITZ & LUXENBERG, PC                                HEERS                FRANCES A             NY         12571402         WEITZ & LUXENBERG, PC
HAYS                 RICHARD L             NY         CV013899         WEITZ & LUXENBERG, PC                                HEERS                HENRY E               NY         11026802         WEITZ & LUXENBERG, PC
HAYS                 RUTHIE                NY         00CIV1202        WEITZ & LUXENBERG, PC                                HEERS                HENRY E               NY         12571402         WEITZ & LUXENBERG, PC
HAYS                 VIVIAN                NY         CV013899         WEITZ & LUXENBERG, PC                                HEETER               LAURA                 NY         10952000         WEITZ & LUXENBERG, PC
HAYWARD              ANDREA                NY         12603702         WEITZ & LUXENBERG, PC                                HEETER               LORAIN W              NY         10952000         WEITZ & LUXENBERG, PC
HAYWARD              HENRY J               NY         12603702         WEITZ & LUXENBERG, PC                                HEFERLE              CARMELLA              NY         10710102         WEITZ & LUXENBERG, PC
HAYWOOD              CAROL                 NY         10645501         WEITZ & LUXENBERG, PC                                HEFERLE              RUDOLF                NY         10710102         WEITZ & LUXENBERG, PC
HAZZARD              FRED                  NY         02106508         WEITZ & LUXENBERG, PC                                HEFFERNAN            JOHN                  NY         11159003         WEITZ & LUXENBERG, PC
HAZZARD              IDA                   NY         10336399         WEITZ & LUXENBERG, PC                                HEFFERNAN            SARAH                 NY         11159003         WEITZ & LUXENBERG, PC
HAZZARD              RAY J                 NY         10336399         WEITZ & LUXENBERG, PC                                HEFFERON             ROBERT                NY         01111218         WEITZ & LUXENBERG, PC
HEACOCK              SHARON                NY         1902442014       WEITZ & LUXENBERG, PC                                HEFFERON             ROSEMARY              NY         01111218         WEITZ & LUXENBERG, PC
HEAD                 GEORGE                NY         12801902         WEITZ & LUXENBERG, PC                                HEFFEZ               ELIE                  NY         19000408         WEITZ & LUXENBERG, PC
HEAD                 JOAN M                NY         12801902         WEITZ & LUXENBERG, PC                                HEFFEZ               ESTHER                NY         19000408         WEITZ & LUXENBERG, PC
HEAGWOOD             DONALD L              NY         CV013921         WEITZ & LUXENBERG, PC                                HEFLIN               GARY                  DE         N18C01090ASB     WEITZ & LUXENBERG, PC
HEAGWOOD             WANDA                 NY         CV013921         WEITZ & LUXENBERG, PC                                HEFTY                HOWARD P              NY         10611100         WEITZ & LUXENBERG, PC
HEALEY               WILLIAM J             NY         11630004         WEITZ & LUXENBERG, PC                                HEFTY                HOWARD P              NY         12198999         WEITZ & LUXENBERG, PC
HEALY                BARBARA               NY         02106693         WEITZ & LUXENBERG, PC                                HEGELAND             ANNY                  NY         10502000         WEITZ & LUXENBERG, PC
HEALY                CORNELIUS             NY         10079501         WEITZ & LUXENBERG, PC                                HEGELAND             ARTHUR                NY         10502000         WEITZ & LUXENBERG, PC
HEALY                CORNELIUS             NY         11939100         WEITZ & LUXENBERG, PC                                HEGELAND             STEVE                 NY         10502000         WEITZ & LUXENBERG, PC
HEALY                EDWARD                NY         10004902         WEITZ & LUXENBERG, PC                                HEHL                 PETER                 NY         10951900         WEITZ & LUXENBERG, PC
HEALY                IRENE                 NY         11026702         WEITZ & LUXENBERG, PC                                HEIDCAMP             MARIE                 NY         10568199         WEITZ & LUXENBERG, PC
HEALY                IRENE                 NY         12636502         WEITZ & LUXENBERG, PC                                HEIFNER              ALICE                 NY         CV015612         WEITZ & LUXENBERG, PC
HEALY                JOHN J                NY         02106693         WEITZ & LUXENBERG, PC                                HEIFNER              RICHARD LEE           NY         CV015612         WEITZ & LUXENBERG, PC
HEALY                JOHN J                NY         11026702         WEITZ & LUXENBERG, PC                                HEIFNER              ROY                   NY         CV015607         WEITZ & LUXENBERG, PC
HEALY                JOHN J                NY         12636502         WEITZ & LUXENBERG, PC                                HEILEMANN            MICHAEL               NY         11939100         WEITZ & LUXENBERG, PC
HEALY                MARY                  NY         10079501         WEITZ & LUXENBERG, PC                                HEILEMANN            SUZANNE               NY         11939100         WEITZ & LUXENBERG, PC
HEALY                MARY                  NY         11939100         WEITZ & LUXENBERG, PC                                HEILIG               EDWARD                NY         10700002         WEITZ & LUXENBERG, PC
HEANEY               JOHN L                NY         02107099         WEITZ & LUXENBERG, PC                                HEILIG               SHERYL                NY         10700002         WEITZ & LUXENBERG, PC
HEANEY               MARCIA                NY         02107099         WEITZ & LUXENBERG, PC                                HEIM                 ERICK J               NY         10951800         WEITZ & LUXENBERG, PC
HEARD                FLORDENE              NY         01CIV3922        WEITZ & LUXENBERG, PC                                HEIM                 GLORIA                NY         11166400         WEITZ & LUXENBERG, PC
HEARD                OTIS                  NY         01CIV3922        WEITZ & LUXENBERG, PC                                HEIM                 MARCUS JR             NY         11166400         WEITZ & LUXENBERG, PC
HEARD                PIERCY                NY         CV012135         WEITZ & LUXENBERG, PC                                HEIMBACK             BRENT                 NY         19039909         WEITZ & LUXENBERG, PC
HEARM                LEROY                 NY         11939100         WEITZ & LUXENBERG, PC                                HEIMBACK             ELEANOR               NY         19039909         WEITZ & LUXENBERG, PC
HEARN                KENDRICK              NY         CV031204         WEITZ & LUXENBERG, PC                                HEINLEIN             HENRY                 NY         10951700         WEITZ & LUXENBERG, PC
HEASLIP              CHARLES FRANCIS       NY         10875399         WEITZ & LUXENBERG, PC                                HEINLEIN             KATHLEEN              NY         10951700         WEITZ & LUXENBERG, PC
HEASLIP              LILLIAN               NY         10875399         WEITZ & LUXENBERG, PC                                HEINRICH             ALBERT L              NY         10670602         WEITZ & LUXENBERG, PC
HEASLIP              THOMAS C              NY         10875399         WEITZ & LUXENBERG, PC                                HEINRICH             ALFRED                NY         11356103         WEITZ & LUXENBERG, PC
HEATH                BONNIE                NY         11939100         WEITZ & LUXENBERG, PC                                HEINRICH             ARLENE                NY         02106693         WEITZ & LUXENBERG, PC
HEATH                BONNIE                NY         10079901         WEITZ & LUXENBERG, PC                                HEINRICH             ARLENE                NY         11500202         WEITZ & LUXENBERG, PC
HEATH                ELVERA A              NY         10079801         WEITZ & LUXENBERG, PC                                HEINRICH             BERND                 NY         01122139         WEITZ & LUXENBERG, PC
HEATH                ELVERA A              NY         11939100         WEITZ & LUXENBERG, PC                                HEINRICH             BETTY                 NY         10722202         WEITZ & LUXENBERG, PC
HEATH                ERROL                 NY         10079701         WEITZ & LUXENBERG, PC                                HEINRICH             JACK B                NY         02106693         WEITZ & LUXENBERG, PC
HEATH                ERROL                 NY         11939100         WEITZ & LUXENBERG, PC                                HEINRICH             JACK B                NY         11500202         WEITZ & LUXENBERG, PC
HEATH                JAMES H               NY         10079801         WEITZ & LUXENBERG, PC                                HEINRICH             MARILYN               NY         10670602         WEITZ & LUXENBERG, PC
HEATH                JAMES H               NY         11939100         WEITZ & LUXENBERG, PC                                HEINRICH             NORA                  NY         11356103         WEITZ & LUXENBERG, PC
HEATH                SHIRLEY               NY         10079701         WEITZ & LUXENBERG, PC                                HEINRICH             REUBEN B              NY         10722202         WEITZ & LUXENBERG, PC
HEATH                SHIRLEY               NY         11939100         WEITZ & LUXENBERG, PC                                HEINSCH              EVELYN                NY         11881798         WEITZ & LUXENBERG, PC
HEATH                THEODORE              NY         11939100         WEITZ & LUXENBERG, PC                                HEINSCH              RICHARD F             NY         11881798         WEITZ & LUXENBERG, PC
HEATH                THEODORE              NY         10079901         WEITZ & LUXENBERG, PC                                HEINTZ               MARY ANN              NY         CV017343         WEITZ & LUXENBERG, PC
HEATON               KATHLEEN              NY         10952200         WEITZ & LUXENBERG, PC                                HEINTZ               ROSEMARY              NY         12230197         WEITZ & LUXENBERG, PC
HEATON               THOMAS                NY         10952200         WEITZ & LUXENBERG, PC                                HEINTZ               WILLIAM D             NY         CV017343         WEITZ & LUXENBERG, PC
HEBELER              ALBERT L              NY         98118815         WEITZ & LUXENBERG, PC                                HEISLER              DEBRA                 NY         10722002         WEITZ & LUXENBERG, PC
HEBELER              NANCY L               NY         98118815         WEITZ & LUXENBERG, PC                                HEISLER              DEBRA                 NY         11342202         WEITZ & LUXENBERG, PC
HEBERT               CAROL                 NY         10870801         WEITZ & LUXENBERG, PC                                HEISLER              MARILYN               NY         02106579         WEITZ & LUXENBERG, PC
HEBERT               CHESTER               NY         1903402016       WEITZ & LUXENBERG, PC                                HEISLER              RICHARD R             NY         02106579         WEITZ & LUXENBERG, PC
HEBERT               PEARL                 NY         1903402016       WEITZ & LUXENBERG, PC                                HEISLER              THOMAS J              NY         10670802         WEITZ & LUXENBERG, PC
HEBERT               THOMAS W              NY         10870801         WEITZ & LUXENBERG, PC                                HEITZENRATER         ROBERT F              NY         10571402         WEITZ & LUXENBERG, PC
HECKER               GEORGE                NY         01111226         WEITZ & LUXENBERG, PC                                HEITZENRATER         VIRGINIA              NY         10571402         WEITZ & LUXENBERG, PC
HECKMAN              PADDY                 NY         10080001         WEITZ & LUXENBERG, PC                                HEITZMAN             THOMAS N              NY         02107004         WEITZ & LUXENBERG, PC
HECKMAN              PADDY                 NY         11939100         WEITZ & LUXENBERG, PC                                HELFENBEIN           ABRAHAM               NY         12270201         WEITZ & LUXENBERG, PC
HECKMAN              SEYMOUR D             NY         10080001         WEITZ & LUXENBERG, PC                                HELFENBEIN           LIBBY                 NY         12270201         WEITZ & LUXENBERG, PC
HECKMAN              SEYMOUR D             NY         11939100         WEITZ & LUXENBERG, PC                                HELFENBEIN           REBECCA               NY         12270201         WEITZ & LUXENBERG, PC
HEDDEN               GILBERT D             NY         99123934         WEITZ & LUXENBERG, PC                                HELFERTY             SEAN P                NY         1903942018       WEITZ & LUXENBERG, PC
HEDDEN               MARJORIE              NY         99123934         WEITZ & LUXENBERG, PC                                HELFRICHT            CRAIG                 NY         1901582019       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 949
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 284 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HELFRICHT            LINDA                 NY         1901582019       WEITZ & LUXENBERG, PC                                HENKEL               KENNETH HENRY         NY         10502100         WEITZ & LUXENBERG, PC
HELGANS              HERBERT H             NY         11902001         WEITZ & LUXENBERG, PC                                HENKLEL              PATRICIA              NY         10502100         WEITZ & LUXENBERG, PC
HELGANS              RITA                  NY         11902001         WEITZ & LUXENBERG, PC                                HENLEY               PATRINA               NY         10910300         WEITZ & LUXENBERG, PC
HELLIJAS             PAUL F                NY         10740102         WEITZ & LUXENBERG, PC                                HENLEY               PATRINA               NY         12220399         WEITZ & LUXENBERG, PC
HELLINGER            KURT                  NY         11166500         WEITZ & LUXENBERG, PC                                HENN                 DONNA                 NY         12788802         WEITZ & LUXENBERG, PC
HELLMAR              DAVE                  NY         10023403         WEITZ & LUXENBERG, PC                                HENN                 KENNETH               NY         12788802         WEITZ & LUXENBERG, PC
HELLMAR              MARY                  NY         10023403         WEITZ & LUXENBERG, PC                                HENNARD              JAMES                 NY         11706100         WEITZ & LUXENBERG, PC
HELMAN               DEBRA                 NY         10642508         WEITZ & LUXENBERG, PC                                HENNARD              MARILYN               NY         11706100         WEITZ & LUXENBERG, PC
HELMAN               JOSEPH                NY         10642508         WEITZ & LUXENBERG, PC                                HENNEBERRY           A WILLIAM             NY         10587202         WEITZ & LUXENBERG, PC
HELMKE               WILLIAM MARTIN        NY         12668702         WEITZ & LUXENBERG, PC                                HENNEBERRY           DAVID J               NY         10587202         WEITZ & LUXENBERG, PC
HELMLE               LAWRENCE              NY         10669102         WEITZ & LUXENBERG, PC                                HENNEMAN             DIANA                 NY         11521003         WEITZ & LUXENBERG, PC
HELMLE               LAWRENCE A            NY         11478202         WEITZ & LUXENBERG, PC                                HENNEMAN             EDWARD M              NY         11521003         WEITZ & LUXENBERG, PC
HELMLE               THOMAS G              NY         11478202         WEITZ & LUXENBERG, PC                                HENNESSEY            CAROL                 NY         10080201         WEITZ & LUXENBERG, PC
HELMS                AMOS                  NY         CV016526         WEITZ & LUXENBERG, PC                                HENNESSEY            CAROL                 NY         11939100         WEITZ & LUXENBERG, PC
HELTZEL              WILLIAM D             NY         1901052014       WEITZ & LUXENBERG, PC                                HENNESSEY            CLEM S                NY         10080201         WEITZ & LUXENBERG, PC
HEMBREE              DENISE                NY         10953200         WEITZ & LUXENBERG, PC                                HENNESSEY            CLEM S                NY         11939100         WEITZ & LUXENBERG, PC
HEMBREE              RALPH DANIEL          NY         10953200         WEITZ & LUXENBERG, PC                                HENNESSEY            EDWARD P              NY         11939100         WEITZ & LUXENBERG, PC
HEMINGWAY            DAVID C               NY         10680802         WEITZ & LUXENBERG, PC                                HENNESSEY            HELENE                NY         11939100         WEITZ & LUXENBERG, PC
HEMINGWAY            MADELINE              NY         10680802         WEITZ & LUXENBERG, PC                                HENNESSY             BARBARA               NY         12039101         WEITZ & LUXENBERG, PC
HEMLOCK              JAMES A               NY         10645702         WEITZ & LUXENBERG, PC                                HENNESSY             EDWARD P              NY         10080301         WEITZ & LUXENBERG, PC
HEMLY                ANNE E                NY         10953100         WEITZ & LUXENBERG, PC                                HENNESSY             HELENE                NY         10080301         WEITZ & LUXENBERG, PC
HEMLY                GARY T                NY         10953100         WEITZ & LUXENBERG, PC                                HENNESSY             RICHARD               NY         12039101         WEITZ & LUXENBERG, PC
HEMMERLING           HILDA                 NY         11166600         WEITZ & LUXENBERG, PC                                HENNIG               EDWARD J              NY         11706200         WEITZ & LUXENBERG, PC
HEMMERLING           WILLIAM A             NY         11166600         WEITZ & LUXENBERG, PC                                HENNIG               LOUISE                NY         11706200         WEITZ & LUXENBERG, PC
HEMMERT              JEFFREY DOUGLAS       NY         12740702         WEITZ & LUXENBERG, PC                                HENNIGAN             ELSIE                 NY         10502200         WEITZ & LUXENBERG, PC
HEMMERT              SANDRA                NY         12740702         WEITZ & LUXENBERG, PC                                HENNIGAN             LAMAR                 NY         10502200         WEITZ & LUXENBERG, PC
HEMMES               CHERYL A              NY         02107099         WEITZ & LUXENBERG, PC                                HENNIGAN             LESLIE                NY         10502200         WEITZ & LUXENBERG, PC
HEMMES               CORNELIS              NY         02107099         WEITZ & LUXENBERG, PC                                HENNING              LELAND W              NY         10952800         WEITZ & LUXENBERG, PC
HEMMY                JOHN A                NY         10836100         WEITZ & LUXENBERG, PC                                HENNING              MARILYN               NY         10952800         WEITZ & LUXENBERG, PC
HEMMY                JOHN A                NY         00108361         WEITZ & LUXENBERG, PC                                HENRICKS             GEORGE B              NY         10710102         WEITZ & LUXENBERG, PC
HEMMY                LORRAINE              NY         10836100         WEITZ & LUXENBERG, PC                                HENRICKS             HILDEGARD             NY         10710102         WEITZ & LUXENBERG, PC
HEMMY                LORRAINE              NY         00108361         WEITZ & LUXENBERG, PC                                HENRY                ANDREW                NY         11327902         WEITZ & LUXENBERG, PC
HEMPFLING            GEORGE F              NY         6055382018       WEITZ & LUXENBERG, PC                                HENRY                ANNA                  NY         10973900         WEITZ & LUXENBERG, PC
HEMPHILL             GEORGIA L             NY         01CIV3901        WEITZ & LUXENBERG, PC                                HENRY                BERNARD H             NY         110514           WEITZ & LUXENBERG, PC
HEMPHILL             GLORIA                NY         11166700         WEITZ & LUXENBERG, PC                                HENRY                BERNARD H             NY         12448802         WEITZ & LUXENBERG, PC
HEMPHILL             JAMES H               NY         11166700         WEITZ & LUXENBERG, PC                                HENRY                CAROL                 NJ         MIDL00548913AS   WEITZ & LUXENBERG, PC
HEMPHILL             LEO J                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                HENRY                CLARA                 NY         10080401         WEITZ & LUXENBERG, PC
HENAULT              MARY E                NY         02106692         WEITZ & LUXENBERG, PC                                HENRY                CLARA                 NY         11939100         WEITZ & LUXENBERG, PC
HENAULT              RICHARD CHARLES       NY         02106692         WEITZ & LUXENBERG, PC                                HENRY                ELLEN S               NY         10740402         WEITZ & LUXENBERG, PC
HENCE                JOYCE MARIE           NY         110489           WEITZ & LUXENBERG, PC                                HENRY                EUGENE ROBERT         NY         10952700         WEITZ & LUXENBERG, PC
HENCE                JOYCE MARIE           NY         12448902         WEITZ & LUXENBERG, PC                                HENRY                GARY D                NY         10696302         WEITZ & LUXENBERG, PC
HENCE                KENNETH FRANCIS       NY         110489           WEITZ & LUXENBERG, PC                                HENRY                HARRY D               NY         10740402         WEITZ & LUXENBERG, PC
HENCE                KENNETH FRANCIS       NY         12448902         WEITZ & LUXENBERG, PC                                HENRY                HOWARD                NY         10952700         WEITZ & LUXENBERG, PC
HENDERSON            CLINTON               NY         CV013921         WEITZ & LUXENBERG, PC                                HENRY                JAMES                 NY         10080401         WEITZ & LUXENBERG, PC
HENDERSON            DAWSON                NY         10953000         WEITZ & LUXENBERG, PC                                HENRY                JAMES                 NY         11939100         WEITZ & LUXENBERG, PC
HENDERSON            DOROTHY               NY         CV013921         WEITZ & LUXENBERG, PC                                HENRY                JOHN F                NY         190082014        WEITZ & LUXENBERG, PC
HENDERSON            EARL                  NY         CV017871         WEITZ & LUXENBERG, PC                                HENRY                JOYCE E               NY         110514           WEITZ & LUXENBERG, PC
HENDERSON            HAMILTON J            NY         1900092017       WEITZ & LUXENBERG, PC                                HENRY                JOYCE E               NY         12448802         WEITZ & LUXENBERG, PC
HENDERSON            IDELL                 NY         CV013277         WEITZ & LUXENBERG, PC                                HENRY                NONA                  NY         CV013921         WEITZ & LUXENBERG, PC
HENDERSON            JOHN H                NY         CV013277         WEITZ & LUXENBERG, PC                                HENRY                PATRICK               NY         12039401         WEITZ & LUXENBERG, PC
HENDERSON            LYETH                 NY         98119821         WEITZ & LUXENBERG, PC                                HENRY                PATSY M               NY         10696302         WEITZ & LUXENBERG, PC
HENDERSON            MADONNA               NY         99107236         WEITZ & LUXENBERG, PC                                HENRY                RICHARD               NY         10973900         WEITZ & LUXENBERG, PC
HENDERSON            MAYBELLE              NY         11150100         WEITZ & LUXENBERG, PC                                HENRY                ROBERT EUGENE         NY         10740202         WEITZ & LUXENBERG, PC
HENDERSON            OMA JEAN              NY         1900092017       WEITZ & LUXENBERG, PC                                HENRY                RONALD BRUCE          NY         10502300         WEITZ & LUXENBERG, PC
HENDERSON            PATSY                 NY         CV017871         WEITZ & LUXENBERG, PC                                HENRY                TERRY D               NY         10090703         WEITZ & LUXENBERG, PC
HENDERSON            PHYLLIS               NY         98119821         WEITZ & LUXENBERG, PC                                HENRY                THERESA L             NY         12039401         WEITZ & LUXENBERG, PC
HENDERSON            RAY                   NY         99107236         WEITZ & LUXENBERG, PC                                HENRY                THOMAS D              NY         CV013921         WEITZ & LUXENBERG, PC
HENDERSON            ROBERT C              NY         11150100         WEITZ & LUXENBERG, PC                                HENRY                VIRGINIA              NY         190082014        WEITZ & LUXENBERG, PC
HENDERSON            SPENCER JAMES         NY         02105713         WEITZ & LUXENBERG, PC                                HENRY                WILLIAM               NJ         MIDL00548913AS   WEITZ & LUXENBERG, PC
HENDRA               CHRISTINE             NY         8001802013       WEITZ & LUXENBERG, PC                                HENSEL               LAVERN CARL           NY         11327802         WEITZ & LUXENBERG, PC
HENDRA               TERRY N               NY         8001802013       WEITZ & LUXENBERG, PC                                HENSHAW              DIANE                 NY         01122139         WEITZ & LUXENBERG, PC
HENDRICKS            LAURA A               NY         1901242013       WEITZ & LUXENBERG, PC                                HENSHAW              DIANE                 NY         10813902         WEITZ & LUXENBERG, PC
HENDRICKS            ROBERT C              NY         99107235         WEITZ & LUXENBERG, PC                                HENSHAW              ROBERT P              NY         01122139         WEITZ & LUXENBERG, PC
HENDRIX              KATHRYN HALL          NY         CV022367         WEITZ & LUXENBERG, PC                                HENSHAW              ROBERT P              NY         10813902         WEITZ & LUXENBERG, PC
HENHAWK              HARLEY                NY         11032106         WEITZ & LUXENBERG, PC                                HENSKI               LYNN                  NY         19032311         WEITZ & LUXENBERG, PC
HENKEL               ALICE                 NY         10952900         WEITZ & LUXENBERG, PC                                HENSKI               WILLIAM               NY         19032311         WEITZ & LUXENBERG, PC
HENKEL               BILLIE T              NY         12039301         WEITZ & LUXENBERG, PC                                HENSLEY              LEO T                 NY         CV016896         WEITZ & LUXENBERG, PC
HENKEL               BRIAN J               NY         10952900         WEITZ & LUXENBERG, PC                                HENSLEY              NADINE                NY         CV016896         WEITZ & LUXENBERG, PC
HENKEL               FRANK G               NY         12039301         WEITZ & LUXENBERG, PC                                HENSON               GERALD J              NY         10974200         WEITZ & LUXENBERG, PC
HENKEL               GEORGE E              NY         10952900         WEITZ & LUXENBERG, PC                                HENWOOD              ANGUS E               NY         10080501         WEITZ & LUXENBERG, PC
HENKEL               JOSEPH B              NY         10952900         WEITZ & LUXENBERG, PC                                HENWOOD              ANGUS E               NY         11939100         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 950
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 285 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HENWOOD              FRAN                  NY         10080501         WEITZ & LUXENBERG, PC                                HESCOX               JAMES W               NY         10080901         WEITZ & LUXENBERG, PC
HENWOOD              FRAN                  NY         11939100         WEITZ & LUXENBERG, PC                                HESCOX               JAMES W               NY         11939100         WEITZ & LUXENBERG, PC
HEPFER               JACK W                NY         11150300         WEITZ & LUXENBERG, PC                                HESS                 BARBARA A             NY         10900300         WEITZ & LUXENBERG, PC
HEPFER               JOAN                  NY         11150300         WEITZ & LUXENBERG, PC                                HESS                 BEATRICE A            NY         10670602         WEITZ & LUXENBERG, PC
HEPLER               ROBERT C              NY         19019209         WEITZ & LUXENBERG, PC                                HESS                 BEATRICE A            NY         11486702         WEITZ & LUXENBERG, PC
HEPLER               ROGER E               NY         19019209         WEITZ & LUXENBERG, PC                                HESS                 DIANE                 NY         01111224         WEITZ & LUXENBERG, PC
HERAGHTY             ELLEN                 NY         11123101         WEITZ & LUXENBERG, PC                                HESS                 JOHN                  NY         10008703         WEITZ & LUXENBERG, PC
HERAGHTY             ELLEN                 NY         12047501         WEITZ & LUXENBERG, PC                                HESS                 JOHN P                NY         10670602         WEITZ & LUXENBERG, PC
HERAGHTY             MARTIN                NY         11123101         WEITZ & LUXENBERG, PC                                HESS                 JOHN P                NY         11486702         WEITZ & LUXENBERG, PC
HERAGHTY             MARTIN                NY         12047501         WEITZ & LUXENBERG, PC                                HESS                 KATHY                 NY         10008703         WEITZ & LUXENBERG, PC
HERBERT              DONALD                NY         11123303         WEITZ & LUXENBERG, PC                                HESS                 LEO                   NY         01111224         WEITZ & LUXENBERG, PC
HERBERT              FRANCES D             NY         10716802         WEITZ & LUXENBERG, PC                                HESSE                JOSEPH R              NY         01111219         WEITZ & LUXENBERG, PC
HERBERT              FRANCES D             NY         11241502         WEITZ & LUXENBERG, PC                                HESSION              STEPHEN P             NY         10955200         WEITZ & LUXENBERG, PC
HERBERT              FRANCIS C             NY         10716802         WEITZ & LUXENBERG, PC                                HESSLER              MARY                  NY         99107746         WEITZ & LUXENBERG, PC
HERBERT              FRANCIS C             NY         11241502         WEITZ & LUXENBERG, PC                                HESSLER              ROBERT                NY         99107746         WEITZ & LUXENBERG, PC
HERBERT              STEPHANIE             NY         11123303         WEITZ & LUXENBERG, PC                                HESTER               ANNIE MAE             NY         CV014304         WEITZ & LUXENBERG, PC
HERBST               JOHN J                NY         10491904         WEITZ & LUXENBERG, PC                                HETTICK              HARRY F               NY         10081001         WEITZ & LUXENBERG, PC
HERBST               LARAINE A             NY         10491904         WEITZ & LUXENBERG, PC                                HETTICK              HARRY F               NY         11939100         WEITZ & LUXENBERG, PC
HERCEK               VICTOR                NY         10953900         WEITZ & LUXENBERG, PC                                HETTICK              JOAN E                NY         10081001         WEITZ & LUXENBERG, PC
HERHELETZIS          ANTONIOS              NY         11150400         WEITZ & LUXENBERG, PC                                HETTICK              JOAN E                NY         11939100         WEITZ & LUXENBERG, PC
HERHELETZIS          DONNA                 NY         11150400         WEITZ & LUXENBERG, PC                                HETTINGER            PAUL M                NY         1900152016       WEITZ & LUXENBERG, PC
HERITAGE             DAWN                  NY         10080601         WEITZ & LUXENBERG, PC                                HETZEL               JEANETTE              NY         02105716         WEITZ & LUXENBERG, PC
HERITAGE             DAWN                  NY         11939100         WEITZ & LUXENBERG, PC                                HETZEL               JOHN T                NY         02105716         WEITZ & LUXENBERG, PC
HERITAGE             JOHN H                NY         10080601         WEITZ & LUXENBERG, PC                                HEUSER               RAYMOND M             NY         99107734         WEITZ & LUXENBERG, PC
HERITAGE             JOHN H                NY         11939100         WEITZ & LUXENBERG, PC                                HEUSER               SARAH                 NY         99107734         WEITZ & LUXENBERG, PC
HERKEY               GERDA G               NY         I20019420        WEITZ & LUXENBERG, PC                                HEWLETT              CHARLES R             NY         10700002         WEITZ & LUXENBERG, PC
HERKEY               GERDA G               NY         02120709         WEITZ & LUXENBERG, PC                                HEXEMER              ROBERT E              NY         10955100         WEITZ & LUXENBERG, PC
HERKEY               LEROY                 NY         10953800         WEITZ & LUXENBERG, PC                                HEXT                 SHARON A              NY         10085503         WEITZ & LUXENBERG, PC
HERKEY               MARCELLA              NY         10953800         WEITZ & LUXENBERG, PC                                HEXT                 SHARON A              NY         11159105         WEITZ & LUXENBERG, PC
HERKO                DONALD                NY         11327602         WEITZ & LUXENBERG, PC                                HEYL                 VIVIAN                NY         10081101         WEITZ & LUXENBERG, PC
HERKO                ROSEMARY              NY         11327602         WEITZ & LUXENBERG, PC                                HEYL                 VIVIAN                NY         11939100         WEITZ & LUXENBERG, PC
HERMAN               FLORENCE EVA          NY         CV021633         WEITZ & LUXENBERG, PC                                HEYL                 WILLIAM CHARLES       NY         10081101         WEITZ & LUXENBERG, PC
HERMAN               MARGARET              NY         11982398         WEITZ & LUXENBERG, PC                                HEYL                 WILLIAM CHARLES       NY         11939100         WEITZ & LUXENBERG, PC
HERMAN               WILLIAM               NY         11982398         WEITZ & LUXENBERG, PC                                HEYWARD              BARBARA               NY         10740502         WEITZ & LUXENBERG, PC
HERMANSKI            EUGENE ANTHONY        NY         01111227         WEITZ & LUXENBERG, PC                                HEYWARD              ERNELL                NY         10955000         WEITZ & LUXENBERG, PC
HERNANDEZ            FLORENTINO            NY         10953700         WEITZ & LUXENBERG, PC                                HEYWARD              INEZ                  NY         02106707         WEITZ & LUXENBERG, PC
HERNANDEZ            GILBERT               NY         12386900         WEITZ & LUXENBERG, PC                                HEYWARD              JAMES                 NY         10955000         WEITZ & LUXENBERG, PC
HERNANDEZ            HILDA                 NY         10953700         WEITZ & LUXENBERG, PC                                HEYWARD              JULIUS                NY         10740502         WEITZ & LUXENBERG, PC
HERNANDEZ            IRENE                 NY         01109761         WEITZ & LUXENBERG, PC                                HEYWARD              JULIUS                NY         11416502         WEITZ & LUXENBERG, PC
HERNANDEZ            OLGA                  NY         12386900         WEITZ & LUXENBERG, PC                                HEYWARD              PAULA                 NY         11416502         WEITZ & LUXENBERG, PC
HERNANDEZ            PHILIP                NY         01109761         WEITZ & LUXENBERG, PC                                HEYWARD              WILLIE                NY         99107733         WEITZ & LUXENBERG, PC
HERNANDEZ            REGINA MONTELL        NY         1902412015       WEITZ & LUXENBERG, PC                                HIAM                 DANIEL                NY         10081201         WEITZ & LUXENBERG, PC
HERNANDEZ            RICHARD               NY         10953500         WEITZ & LUXENBERG, PC                                HIAM                 DANIEL                NY         11939100         WEITZ & LUXENBERG, PC
HERNANDEZ            RONALD C              NY         10363502         WEITZ & LUXENBERG, PC                                HIAM                 DANIEL T              NY         10696402         WEITZ & LUXENBERG, PC
HERNIAK              JOHN                  NY         10502400         WEITZ & LUXENBERG, PC                                HIAM                 LOUGENIA              NY         10081201         WEITZ & LUXENBERG, PC
HERNIAK              MARGARET MARY         NY         10502400         WEITZ & LUXENBERG, PC                                HIAM                 LOUGENIA              NY         11939100         WEITZ & LUXENBERG, PC
HERON                ELEANOR               NY         10074203         WEITZ & LUXENBERG, PC                                HIAM                 MICHELE               NY         10696402         WEITZ & LUXENBERG, PC
HERON                GEORGE L              NY         10074203         WEITZ & LUXENBERG, PC                                HIBBARD              CLIFFORD A            NY         02105716         WEITZ & LUXENBERG, PC
HERON                GEORGE W              NY         10074203         WEITZ & LUXENBERG, PC                                HIBBERT              VINCENT               NY         12433902         WEITZ & LUXENBERG, PC
HERR                 ADELAIDE              NY         10502500         WEITZ & LUXENBERG, PC                                HICHZ                LUISA                 NY         10714300         WEITZ & LUXENBERG, PC
HERR                 GEORGE H              NY         10502500         WEITZ & LUXENBERG, PC                                HICKERSON            DOROTHY J             NY         11625401         WEITZ & LUXENBERG, PC
HERR                 MARILYN               NY         11939100         WEITZ & LUXENBERG, PC                                HICKERSON            DOROTHY J             NY         01111221         WEITZ & LUXENBERG, PC
HERR                 MARILYN               NY         10080701         WEITZ & LUXENBERG, PC                                HICKERSON            JOHN L                NY         11625401         WEITZ & LUXENBERG, PC
HERR                 ROBERT                NY         11939100         WEITZ & LUXENBERG, PC                                HICKERSON            JOHN L                NY         01111221         WEITZ & LUXENBERG, PC
HERR                 ROBERT                NY         10080701         WEITZ & LUXENBERG, PC                                HICKEY               AUDREY                NY         10090403         WEITZ & LUXENBERG, PC
HERREN               BRADY MACK            NY         CV016890         WEITZ & LUXENBERG, PC                                HICKEY               DAVID                 NY         506992016        WEITZ & LUXENBERG, PC
HERRERA              JENNIFER              NY         1901902017       WEITZ & LUXENBERG, PC                                HICKEY               JOANNE                NY         506992016        WEITZ & LUXENBERG, PC
HERRICK              LARRY                 NY         10080801         WEITZ & LUXENBERG, PC                                HICKEY               KENNETH W             NY         1622382015       WEITZ & LUXENBERG, PC
HERRINGTON           BURTON                NY         10390704         WEITZ & LUXENBERG, PC                                HICKEY               LAWRENCE              NY         11370004         WEITZ & LUXENBERG, PC
HERRINGTON           CAROL                 NY         10390704         WEITZ & LUXENBERG, PC                                HICKEY               MICHAEL               NY         12788702         WEITZ & LUXENBERG, PC
HERRINGTON           MARY DARLENE          NY         122981           WEITZ & LUXENBERG, PC                                HICKEY               MICHELLE A            NY         02106707         WEITZ & LUXENBERG, PC
HERTING              CAROLYN               NY         11870101         WEITZ & LUXENBERG, PC                                HICKEY               MICHELLE A            NY         11571202         WEITZ & LUXENBERG, PC
HERTING              CAROLYN               NY         01111233         WEITZ & LUXENBERG, PC                                HICKEY               PETER                 NY         10090403         WEITZ & LUXENBERG, PC
HERTING              EDWARD                NY         11870101         WEITZ & LUXENBERG, PC                                HICKMAN              CHRISTINE             NY         01CIV3920        WEITZ & LUXENBERG, PC
HERTING              EDWARD                NY         01111233         WEITZ & LUXENBERG, PC                                HICKMAN              DEOTIS                NY         01CIV3920        WEITZ & LUXENBERG, PC
HERTZKE              JUDITH ANNE           NY         1903552013       WEITZ & LUXENBERG, PC                                HICKMAN              JOHN                  NY         01CIV3910        WEITZ & LUXENBERG, PC
HERTZKE              WILLIAM               NY         1903552013       WEITZ & LUXENBERG, PC                                HICKMAN              JOHN EDWARD           NY         01CIV3910        WEITZ & LUXENBERG, PC
HERWEG               JAMES D               NY         CV013921         WEITZ & LUXENBERG, PC                                HICKMAN              MARY                  NY         01CIV3910        WEITZ & LUXENBERG, PC
HERZOG               ARLENE L              NY         11809801         WEITZ & LUXENBERG, PC                                HICKMAN              MARY A                NY         01CIV3910        WEITZ & LUXENBERG, PC
HESCOX               DOLORES               NY         10080901         WEITZ & LUXENBERG, PC                                HICKOCK              HARRY E               NY         10774499         WEITZ & LUXENBERG, PC
HESCOX               DOLORES               NY         11939100         WEITZ & LUXENBERG, PC                                HICKS                ALICE M               NY         98119851         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 951
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 286 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HICKS                ARCHIE                NY         99107732         WEITZ & LUXENBERG, PC                                HILL                 CORDIA                NY         1903302016       WEITZ & LUXENBERG, PC
HICKS                BRENDA                NY         CV016390         WEITZ & LUXENBERG, PC                                HILL                 EMMA M                NY         11122397         WEITZ & LUXENBERG, PC
HICKS                CLAUDIA K             NY         CV022366         WEITZ & LUXENBERG, PC                                HILL                 ERNEST                NY         11770303         WEITZ & LUXENBERG, PC
HICKS                EDWARD L              NY         CV016390         WEITZ & LUXENBERG, PC                                HILL                 FREDERICK D           NY         02105715         WEITZ & LUXENBERG, PC
HICKS                HOMER                 NY         10954700         WEITZ & LUXENBERG, PC                                HILL                 FREDERICK D           NY         11020702         WEITZ & LUXENBERG, PC
HICKS                IDA                   NY         10502600         WEITZ & LUXENBERG, PC                                HILL                 GEORGE                NY         12301201         WEITZ & LUXENBERG, PC
HICKS                JAMES                 NY         1904342013       WEITZ & LUXENBERG, PC                                HILL                 HARRY A               NY         11984998         WEITZ & LUXENBERG, PC
HICKS                JAMES J               NY         98119851         WEITZ & LUXENBERG, PC                                HILL                 HARRY A               NY         10870801         WEITZ & LUXENBERG, PC
HICKS                JOHN W                NY         10954800         WEITZ & LUXENBERG, PC                                HILL                 JAMES A               NY         02106692         WEITZ & LUXENBERG, PC
HICKS                KATHLEEN              NY         10954800         WEITZ & LUXENBERG, PC                                HILL                 JAMES L               NY         11122397         WEITZ & LUXENBERG, PC
HICKS                KATHLEEN R            NY         11416900         WEITZ & LUXENBERG, PC                                HILL                 JOANN M               NY         1902932017       WEITZ & LUXENBERG, PC
HICKS                KITTY                 NY         1904342013       WEITZ & LUXENBERG, PC                                HILL                 JOHN                  NY         10610000         WEITZ & LUXENBERG, PC
HICKS                LOUISE                NY         99107732         WEITZ & LUXENBERG, PC                                HILL                 JOHN                  NY         12198999         WEITZ & LUXENBERG, PC
HICKS                MARIE                 NY         10954700         WEITZ & LUXENBERG, PC                                HILL                 JOHN C                NY         10610000         WEITZ & LUXENBERG, PC
HICKS                ROY JR                NY         10502600         WEITZ & LUXENBERG, PC                                HILL                 JOHN C                NY         12198999         WEITZ & LUXENBERG, PC
HICKS                WILLIE LEE            NY         10773699         WEITZ & LUXENBERG, PC                                HILL                 JOHN EDDIE            NY         01CIV3900        WEITZ & LUXENBERG, PC
HICZEWSKI            HELEN C               NY         10722102         WEITZ & LUXENBERG, PC                                HILL                 JOHNNIE M             NY         02105715         WEITZ & LUXENBERG, PC
HIGGENBOTHAM         DENA                  NY         01CIV7492        WEITZ & LUXENBERG, PC                                HILL                 JOHNNIE M             NY         11020702         WEITZ & LUXENBERG, PC
HIGGINS              ANNETTE H             NY         10954600         WEITZ & LUXENBERG, PC                                HILL                 KATHLEEN M            NY         12231100         WEITZ & LUXENBERG, PC
HIGGINS              BERNARD J             NY         10954600         WEITZ & LUXENBERG, PC                                HILL                 KAY                   NY         1901262016       WEITZ & LUXENBERG, PC
HIGGINS              BRENDA                NY         04CIV1524        WEITZ & LUXENBERG, PC                                HILL                 LILLIE MC CLOUD       NY         11770303         WEITZ & LUXENBERG, PC
HIGGINS              BRIDGET ANGELA        NY         10081301         WEITZ & LUXENBERG, PC                                HILL                 MARILYN               NY         02122691         WEITZ & LUXENBERG, PC
HIGGINS              BRIDGET ANGELA        NY         11939100         WEITZ & LUXENBERG, PC                                HILL                 MARION                NY         12043301         WEITZ & LUXENBERG, PC
HIGGINS              CAROLYN               NY         10954400         WEITZ & LUXENBERG, PC                                HILL                 MARION                NY         12415901         WEITZ & LUXENBERG, PC
HIGGINS              CHRISTOPHER           NY         11327602         WEITZ & LUXENBERG, PC                                HILL                 MARY M                NY         10792199         WEITZ & LUXENBERG, PC
HIGGINS              DANIEL L              NY         10587202         WEITZ & LUXENBERG, PC                                HILL                 NORMAN L              NY         1901262016       WEITZ & LUXENBERG, PC
HIGGINS              DANIEL L              NY         10821102         WEITZ & LUXENBERG, PC                                HILL                 PATRICIA              NY         11033003         WEITZ & LUXENBERG, PC
HIGGINS              DOROTHY A             NY         02107004         WEITZ & LUXENBERG, PC                                HILL                 RAYMOND               NY         6153642019       WEITZ & LUXENBERG, PC
HIGGINS              DOROTHY A             NY         11514802         WEITZ & LUXENBERG, PC                                HILL                 RICHARD B             NY         10587002         WEITZ & LUXENBERG, PC
HIGGINS              EILEEN                NY         10954300         WEITZ & LUXENBERG, PC                                HILL                 RICHARD B             NY         02107099         WEITZ & LUXENBERG, PC
HIGGINS              HARRY F               NY         10886602         WEITZ & LUXENBERG, PC                                HILL                 RICHARD B             NY         11758802         WEITZ & LUXENBERG, PC
HIGGINS              HOLLY                 NY         11327602         WEITZ & LUXENBERG, PC                                HILL                 RITA                  NY         12198999         WEITZ & LUXENBERG, PC
HIGGINS              JAMES J               NY         02107004         WEITZ & LUXENBERG, PC                                HILL                 RITA J                NY         10954000         WEITZ & LUXENBERG, PC
HIGGINS              JAMES J               NY         11514802         WEITZ & LUXENBERG, PC                                HILL                 ROBERT M              NY         10022903         WEITZ & LUXENBERG, PC
HIGGINS              JOAN M                NY         10092103         WEITZ & LUXENBERG, PC                                HILL                 ROY J                 NY         02122691         WEITZ & LUXENBERG, PC
HIGGINS              JOANNE                NY         10886602         WEITZ & LUXENBERG, PC                                HILL                 STANLEY A             NY         10792199         WEITZ & LUXENBERG, PC
HIGGINS              KEVIN                 NY         10954500         WEITZ & LUXENBERG, PC                                HILL                 THOMAS                NY         10022903         WEITZ & LUXENBERG, PC
HIGGINS              MARGARET              NY         10954500         WEITZ & LUXENBERG, PC                                HILL                 VIRGINIA              NY         1903622015       WEITZ & LUXENBERG, PC
HIGGINS              MARY C                NY         10587202         WEITZ & LUXENBERG, PC                                HILL                 WILLIAM L             NY         1903302016       WEITZ & LUXENBERG, PC
HIGGINS              MARY C                NY         10821102         WEITZ & LUXENBERG, PC                                HILLARD              ANDREW JR             NY         10609900         WEITZ & LUXENBERG, PC
HIGGINS              PATRICK               NY         10081301         WEITZ & LUXENBERG, PC                                HILLARD              ANDREW JR             NY         12198999         WEITZ & LUXENBERG, PC
HIGGINS              PATRICK               NY         11939100         WEITZ & LUXENBERG, PC                                HILLMAN              CARL                  NY         10609800         WEITZ & LUXENBERG, PC
HIGGINS              PAUL JOHN SR          NY         10954400         WEITZ & LUXENBERG, PC                                HILLMAN              CARL                  NY         12198999         WEITZ & LUXENBERG, PC
HIGGINS              ROBERT                NY         10081401         WEITZ & LUXENBERG, PC                                HILLMAN              JOAN                  NY         I20019047        WEITZ & LUXENBERG, PC
HIGGINS              ROBERT                NY         11939100         WEITZ & LUXENBERG, PC                                HILLMAN              JOAN                  NY         02120615         WEITZ & LUXENBERG, PC
HIGGINS              THOMAS                NY         10954300         WEITZ & LUXENBERG, PC                                HILLMAN              JOAN N                NY         12758102         WEITZ & LUXENBERG, PC
HIGGINS              WILLIAM F             NY         12668502         WEITZ & LUXENBERG, PC                                HILLMAN              PATRICIA              NY         10609800         WEITZ & LUXENBERG, PC
HIGGINS              WILLIAM P             NY         10092103         WEITZ & LUXENBERG, PC                                HILLMAN              PATRICIA              NY         12198999         WEITZ & LUXENBERG, PC
HIGGS                GEORGE F              NY         10587002         WEITZ & LUXENBERG, PC                                HILLMAN              WALTER E              NY         11706300         WEITZ & LUXENBERG, PC
HIGGS                GERALD                NY         10699902         WEITZ & LUXENBERG, PC                                HILLMAN              WILLIAM N             NY         I20019047        WEITZ & LUXENBERG, PC
HIGHFILL             BOBBIE                NY         CV016527         WEITZ & LUXENBERG, PC                                HILLMAN              WILLIAM N             NY         02120615         WEITZ & LUXENBERG, PC
HIGHFILL             FRANK                 NY         CV016527         WEITZ & LUXENBERG, PC                                HILLMAN              WILLIAM N             NY         12758102         WEITZ & LUXENBERG, PC
HIGHTOWER            COLLEEN               NY         19017510         WEITZ & LUXENBERG, PC                                HILLS                GERALDIEN             NY         11705000         WEITZ & LUXENBERG, PC
HIGHTOWER            ROBERT                NY         10954200         WEITZ & LUXENBERG, PC                                HILLS                RALPH E               NY         11705000         WEITZ & LUXENBERG, PC
HIGHTOWER            RONALD                NY         19017510         WEITZ & LUXENBERG, PC                                HILLS                THOMAS JAMES          NY         10500001         WEITZ & LUXENBERG, PC
HIGHTOWER            SHIRLEY               NY         10954200         WEITZ & LUXENBERG, PC                                HILLS                THOMAS JAMES          NY         20011574         WEITZ & LUXENBERG, PC
HILBORN              DOROTHY               NY         CV024384         WEITZ & LUXENBERG, PC                                HILLYER              ANTHONY               NY         10658102         WEITZ & LUXENBERG, PC
HILBORN              ROY STANLEY           NY         CV024384         WEITZ & LUXENBERG, PC                                HILLYER              MICHELE M             NY         10658102         WEITZ & LUXENBERG, PC
HILBURGER            FLOYD                 NY         10954100         WEITZ & LUXENBERG, PC                                HILTON               RICHARD D             NY         11984898         WEITZ & LUXENBERG, PC
HILBURGER            MARY ANN              NY         10954100         WEITZ & LUXENBERG, PC                                HILTON               SALLY E               NY         11984898         WEITZ & LUXENBERG, PC
HILDENBRANDT         DEBBIE                NY         99107747         WEITZ & LUXENBERG, PC                                HILTS                BARRY D               NY         10933602         WEITZ & LUXENBERG, PC
HILDENBRANDT         JOHN S                NY         99107747         WEITZ & LUXENBERG, PC                                HILTS                HENRIETTA             NY         10502800         WEITZ & LUXENBERG, PC
HILDRETH             WAYNE JUDE            NY         10700102         WEITZ & LUXENBERG, PC                                HILTS                LOREN M               NY         10502800         WEITZ & LUXENBERG, PC
HILL                 ALLA                  NY         10022903         WEITZ & LUXENBERG, PC                                HILTS                ROGER C               NY         01111219         WEITZ & LUXENBERG, PC
HILL                 ARTHUR                NY         10954000         WEITZ & LUXENBERG, PC                                HILTWINE             GORDON                NY         10490501         WEITZ & LUXENBERG, PC
HILL                 BARBARA               NY         02106692         WEITZ & LUXENBERG, PC                                HILTWINE             JOSEPH                NY         10490501         WEITZ & LUXENBERG, PC
HILL                 BERNARD F             NY         12198999         WEITZ & LUXENBERG, PC                                HILTWINE             LILLIAN               NY         10490501         WEITZ & LUXENBERG, PC
HILL                 BEVERLY               NY         11984998         WEITZ & LUXENBERG, PC                                HIMES                EILEEN                NY         99107939         WEITZ & LUXENBERG, PC
HILL                 BEVERLY               NY         10870801         WEITZ & LUXENBERG, PC                                HIMES                FREDA                 NY         10609700         WEITZ & LUXENBERG, PC
HILL                 CHARLES               NY         1903622015       WEITZ & LUXENBERG, PC                                HIMES                FREDA                 NY         12198999         WEITZ & LUXENBERG, PC
HILL                 CHARLES               NY         99107735         WEITZ & LUXENBERG, PC                                HIMES                GENE JAY              NY         99107939         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 952
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 287 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HIMES                JOHN                  NY         10609700         WEITZ & LUXENBERG, PC                                HOCH                 WILLIAM J             NY         02120709         WEITZ & LUXENBERG, PC
HIMES                JOHN                  NY         12198999         WEITZ & LUXENBERG, PC                                HOCHSTRASSER         DOROTHY               NY         1903082013       WEITZ & LUXENBERG, PC
HIND                 WILLIAM P             NY         12039301         WEITZ & LUXENBERG, PC                                HOCHSTRASSER         STEPHEN               NY         1903082013       WEITZ & LUXENBERG, PC
HINES                CARL                  NY         01CIV3910        WEITZ & LUXENBERG, PC                                HOCKETT              FRANCES D             NY         12111999         WEITZ & LUXENBERG, PC
HINES                DOROTHY MAE           NY         01CIV3910        WEITZ & LUXENBERG, PC                                HOCKETT              KENNETH E             NY         12111999         WEITZ & LUXENBERG, PC
HINES                JESSE                 NY         10609600         WEITZ & LUXENBERG, PC                                HOCKEY               JOHN A                NY         02105715         WEITZ & LUXENBERG, PC
HINES                JESSE                 NY         12198999         WEITZ & LUXENBERG, PC                                HOCTOR               BARBARA               NY         99107914         WEITZ & LUXENBERG, PC
HINES                WILLIAM               NY         98119846         WEITZ & LUXENBERG, PC                                HOCTOR               JOHN C                NY         99107914         WEITZ & LUXENBERG, PC
HINKLEIN             WALTER                NY         10416902         WEITZ & LUXENBERG, PC                                HODGE                RAYMOND               NY         12788802         WEITZ & LUXENBERG, PC
HINKLEY              MARY S                NJ         MIDL070918AS     WEITZ & LUXENBERG, PC                                HODGE                URITA                 NY         12788802         WEITZ & LUXENBERG, PC
HINKLEY              RICHARD D             NJ         MIDL070918AS     WEITZ & LUXENBERG, PC                                HODGMAN              ETHEL                 NY         1901242017       WEITZ & LUXENBERG, PC
HINKSON              EARL J                NY         10740202         WEITZ & LUXENBERG, PC                                HODGMAN              GLENN E               NY         1901242017       WEITZ & LUXENBERG, PC
HINKSON              KATHLEEN              NY         10740202         WEITZ & LUXENBERG, PC                                HOEFER               JOHN                  NY         02107099         WEITZ & LUXENBERG, PC
HINTON               CLARA                 NY         11311202         WEITZ & LUXENBERG, PC                                HOEFSMIT             WAYNE                 NY         CV033135         WEITZ & LUXENBERG, PC
HINTON               DONALD C              NY         02106709         WEITZ & LUXENBERG, PC                                HOEFT                RONALD                NY         10023403         WEITZ & LUXENBERG, PC
HINTON               DONALD C              NY         11554502         WEITZ & LUXENBERG, PC                                HOEKO                JOHN NICHOLAS         NY         11710703         WEITZ & LUXENBERG, PC
HINTON               HERSHALL L            NY         11311202         WEITZ & LUXENBERG, PC                                HOEKO                MICHAEL               NY         11710703         WEITZ & LUXENBERG, PC
HINTON               HERSHELL L            NY         10722102         WEITZ & LUXENBERG, PC                                HOELTZ               EDITH                 NY         11149300         WEITZ & LUXENBERG, PC
HIRD                 FREDERIC H            NY         11149200         WEITZ & LUXENBERG, PC                                HOELTZ               HORST                 NY         11149300         WEITZ & LUXENBERG, PC
HIRD                 LUCILLE               NY         11149200         WEITZ & LUXENBERG, PC                                HOEPNER              ALEXANDER W           NY         99120657         WEITZ & LUXENBERG, PC
HIRSCH               DAVID E               NY         02106693         WEITZ & LUXENBERG, PC                                HOEPNER              BARBARA               NY         99120657         WEITZ & LUXENBERG, PC
HIRSCH               ELIZABETH             NY         02106693         WEITZ & LUXENBERG, PC                                HOESEL               GRACE                 NY         10502900         WEITZ & LUXENBERG, PC
HIRSCH               JOHN                  NY         10404102         WEITZ & LUXENBERG, PC                                HOESEL               ROBERT C              NY         10502900         WEITZ & LUXENBERG, PC
HIRSCH               MARILYN               NY         10404102         WEITZ & LUXENBERG, PC                                HOEY                 JOSEPH                NY         12668702         WEITZ & LUXENBERG, PC
HIRSCHFIELD          RACHEL                NY         10609500         WEITZ & LUXENBERG, PC                                HOFFMAN              BARBARA HASON         NY         I200110239       WEITZ & LUXENBERG, PC
HIRSCHFIELD          RACHEL                NY         12198999         WEITZ & LUXENBERG, PC                                HOFFMAN              BARBARA HASON         NY         02122050         WEITZ & LUXENBERG, PC
HIRSCHFIELD          STANLEY               NY         10609500         WEITZ & LUXENBERG, PC                                HOFFMAN              BEACTRICE             NY         12039901         WEITZ & LUXENBERG, PC
HIRSCHFIELD          STANLEY               NY         12198999         WEITZ & LUXENBERG, PC                                HOFFMAN              CHARLES               NY         1901122012       WEITZ & LUXENBERG, PC
HIRST                JOHN D                NY         99107938         WEITZ & LUXENBERG, PC                                HOFFMAN              CHRISTOPHER           NY         10609400         WEITZ & LUXENBERG, PC
HIRST                RUTH                  NY         99107938         WEITZ & LUXENBERG, PC                                HOFFMAN              CHRISTOPHER           NY         12198999         WEITZ & LUXENBERG, PC
HIRST                WILLIAM               NY         01108565         WEITZ & LUXENBERG, PC                                HOFFMAN              DAVID                 NY         I200110099       WEITZ & LUXENBERG, PC
HISCHE               GEORGE W              NY         19012511         WEITZ & LUXENBERG, PC                                HOFFMAN              DAVID                 NY         02122050         WEITZ & LUXENBERG, PC
HISCHE               MARTINA L             NY         19012511         WEITZ & LUXENBERG, PC                                HOFFMAN              EUGENE V              NY         10609400         WEITZ & LUXENBERG, PC
HISE                 EDWYN C               NY         I20019107        WEITZ & LUXENBERG, PC                                HOFFMAN              EUGENE V              NY         12198999         WEITZ & LUXENBERG, PC
HISE                 MARGARET              NY         I20019107        WEITZ & LUXENBERG, PC                                HOFFMAN              FRED C                NY         01111224         WEITZ & LUXENBERG, PC
HITCHCOCK            HATTIE B              NY         1900382019       WEITZ & LUXENBERG, PC                                HOFFMAN              GEORGE C              NY         02106693         WEITZ & LUXENBERG, PC
HITCHINGS            CLAUDE H              NY         11327702         WEITZ & LUXENBERG, PC                                HOFFMAN              GEORGE C              NY         11500302         WEITZ & LUXENBERG, PC
HITCHINGS            CLAUDE H              NY         11978602         WEITZ & LUXENBERG, PC                                HOFFMAN              HOWARD G              NY         11500302         WEITZ & LUXENBERG, PC
HITCHINGS            JANET                 NY         11327702         WEITZ & LUXENBERG, PC                                HOFFMAN              JUDITH E              NY         I200110099       WEITZ & LUXENBERG, PC
HITCHINGS            JANET                 NY         11978602         WEITZ & LUXENBERG, PC                                HOFFMAN              JUDITH E              NY         02122050         WEITZ & LUXENBERG, PC
HITCHINGS            JOHN                  NY         11327802         WEITZ & LUXENBERG, PC                                HOFFMAN              KATHLEEN              NY         01111224         WEITZ & LUXENBERG, PC
HITCHINGS            SYLVIA                NY         11327802         WEITZ & LUXENBERG, PC                                HOFFMAN              MEYER                 NY         12039901         WEITZ & LUXENBERG, PC
HITT                 FRED W                NY         1901652015       WEITZ & LUXENBERG, PC                                HOFFMAN              MICHELLE              NY         1901122012       WEITZ & LUXENBERG, PC
HIVELY               DANIEL                NY         11705100         WEITZ & LUXENBERG, PC                                HOFFMAN              PETER M               NY         11401802         WEITZ & LUXENBERG, PC
HLLS                 JANICE                NY         10500001         WEITZ & LUXENBERG, PC                                HOFFMAN              RICHARD F             NY         I200110239       WEITZ & LUXENBERG, PC
HLLS                 JANICE                NY         20011574         WEITZ & LUXENBERG, PC                                HOFFMAN              RICHARD F             NY         02122050         WEITZ & LUXENBERG, PC
HNATYSZYN            JOHN                  NY         98119845         WEITZ & LUXENBERG, PC                                HOFFMAN TOMASI       KATHLEEN M            NY         11401802         WEITZ & LUXENBERG, PC
HNATYSZYN            MARY                  NY         98119845         WEITZ & LUXENBERG, PC                                HOFFMIRE             MARY                  NY         10503000         WEITZ & LUXENBERG, PC
HOAR                 JAMES SR              NY         99107930         WEITZ & LUXENBERG, PC                                HOFFMIRE             ROBERT E              NY         10503000         WEITZ & LUXENBERG, PC
HOAR                 MILDRED               NY         99107930         WEITZ & LUXENBERG, PC                                HOFFMIRE             ROBERT R              NY         10503000         WEITZ & LUXENBERG, PC
HOAR-BOLINE          KATHY                 NY         99107930         WEITZ & LUXENBERG, PC                                HOFMANN              ROBERT                NY         11939100         WEITZ & LUXENBERG, PC
HOARE                ANITA                 NY         I20016119        WEITZ & LUXENBERG, PC                                HOFMANN              ROBERT                NY         01100815         WEITZ & LUXENBERG, PC
HOARE                BERNARD M             NY         I20016119        WEITZ & LUXENBERG, PC                                HOFSETH              ELIZABETH L           NY         98119843         WEITZ & LUXENBERG, PC
HOARE                JOHN T                NY         02106709         WEITZ & LUXENBERG, PC                                HOFSETH              RICHARD               NY         98119843         WEITZ & LUXENBERG, PC
HOBBS                CARL D                NY         10680702         WEITZ & LUXENBERG, PC                                HOGAN                ALONZO                NY         10670602         WEITZ & LUXENBERG, PC
HOBBS                DEBRA J               NY         1902652012       WEITZ & LUXENBERG, PC                                HOGAN                DORTHY                NY         12779602         WEITZ & LUXENBERG, PC
HOBBS                DIANE                 NY         10455407         WEITZ & LUXENBERG, PC                                HOGAN                ELLEN L               NY         02106578         WEITZ & LUXENBERG, PC
HOBBS                G BARTELLA            NY         10680702         WEITZ & LUXENBERG, PC                                HOGAN                ELLEN L               NY         11272302         WEITZ & LUXENBERG, PC
HOBBS                MARTHA                NY         01CIV3897        WEITZ & LUXENBERG, PC                                HOGAN                GERARD J              NY         99107925         WEITZ & LUXENBERG, PC
HOBBS                WILLIAM               NY         1902652012       WEITZ & LUXENBERG, PC                                HOGAN                JAMES F               NY         02106578         WEITZ & LUXENBERG, PC
HOBLIN               GAIL                  NY         1905642012       WEITZ & LUXENBERG, PC                                HOGAN                JAMES F               NY         11272302         WEITZ & LUXENBERG, PC
HOBLIN               THOMAS                NY         1905642012       WEITZ & LUXENBERG, PC                                HOGAN                JAMES W               NY         12301401         WEITZ & LUXENBERG, PC
HOBSON               BARBARA               NY         CV015609         WEITZ & LUXENBERG, PC                                HOGAN                JO ANN MARIE          NY         10023203         WEITZ & LUXENBERG, PC
HOBSON               HOLLIS                NY         12039601         WEITZ & LUXENBERG, PC                                HOGAN                JO ANN MARIE          NY         10576003         WEITZ & LUXENBERG, PC
HOBSON               MARJORIE              NY         12039601         WEITZ & LUXENBERG, PC                                HOGAN                JOAN                  NY         99107925         WEITZ & LUXENBERG, PC
HOBSON               TOMMY EUGENE          NY         CV015609         WEITZ & LUXENBERG, PC                                HOGAN                LORI                  NY         10740202         WEITZ & LUXENBERG, PC
HOCH                 CECELIA               NY         I20019780        WEITZ & LUXENBERG, PC                                HOGAN                LORI                  NY         11333602         WEITZ & LUXENBERG, PC
HOCH                 DARLENE M             NY         I20019430        WEITZ & LUXENBERG, PC                                HOGAN                MARK C                NY         10740202         WEITZ & LUXENBERG, PC
HOCH                 DARLENE M             NY         02120709         WEITZ & LUXENBERG, PC                                HOGAN                MARK C                NY         11333602         WEITZ & LUXENBERG, PC
HOCH                 RICHARD S             NY         I20019780        WEITZ & LUXENBERG, PC                                HOGAN                NANCY                 NY         12301401         WEITZ & LUXENBERG, PC
HOCH                 WILLIAM J             NY         I20019430        WEITZ & LUXENBERG, PC                                HOGAN                WILLIAM               NY         12779602         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 953
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 288 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HOHL                 ROGER M               NY         10609300         WEITZ & LUXENBERG, PC                                HOLLIDAY             EVA                   NY         CV003590         WEITZ & LUXENBERG, PC
HOHL                 ROGER M               NY         12198999         WEITZ & LUXENBERG, PC                                HOLLIDAY             FREDDIE LEE           NY         CV003590         WEITZ & LUXENBERG, PC
HOHL                 ROSE                  NY         10609300         WEITZ & LUXENBERG, PC                                HOLLIDAY             JUSTIN DION           NY         10612500         WEITZ & LUXENBERG, PC
HOHL                 ROSE                  NY         12198999         WEITZ & LUXENBERG, PC                                HOLLIDAY             JUSTIN DION           NY         12198999         WEITZ & LUXENBERG, PC
HOJLO                DIANE L               NY         1904292012       WEITZ & LUXENBERG, PC                                HOLLIDAY             LELIA                 NY         10612500         WEITZ & LUXENBERG, PC
HOJLO                PAUL                  NY         1904292012       WEITZ & LUXENBERG, PC                                HOLLIDAY             LELIA                 NY         12198999         WEITZ & LUXENBERG, PC
HOKE                 CHERYL ANN            PA         170402565        WEITZ & LUXENBERG, PC                                HOLLIDAY             ODELL                 NY         10612500         WEITZ & LUXENBERG, PC
HOKHOLD              RUTH MCOMB            NY         01111235         WEITZ & LUXENBERG, PC                                HOLLIDAY             ODELL                 NY         12198999         WEITZ & LUXENBERG, PC
HOKHOLD              RUTH MCOMB            NY         11831601         WEITZ & LUXENBERG, PC                                HOLLIMAN             WILBERT               NY         10797599         WEITZ & LUXENBERG, PC
HOKHOLD              STEPHEN               NY         01111235         WEITZ & LUXENBERG, PC                                HOLLINGER            RUBY H                NY         CV022569         WEITZ & LUXENBERG, PC
HOKHOLD              STEPHEN               NY         11831601         WEITZ & LUXENBERG, PC                                HOLLINGSWORTH        WILLIE                NY         1901722019       WEITZ & LUXENBERG, PC
HOKHOLD              STEPHEN T             NY         01111221         WEITZ & LUXENBERG, PC                                HOLLIS               SONNIE                NY         10710102         WEITZ & LUXENBERG, PC
HOKIRK               MARJORY               NY         10081601         WEITZ & LUXENBERG, PC                                HOLLIS               WILLIAM               NY         10612400         WEITZ & LUXENBERG, PC
HOKIRK               MARJORY               NY         11939100         WEITZ & LUXENBERG, PC                                HOLLIS               WILLIAM               NY         12198999         WEITZ & LUXENBERG, PC
HOKIRK               RICHARD L             NY         10081601         WEITZ & LUXENBERG, PC                                HOLLOWAY             ANDREW                NY         CV013899         WEITZ & LUXENBERG, PC
HOKIRK               RICHARD L             NY         11939100         WEITZ & LUXENBERG, PC                                HOLLOWAY             BETTY S               NY         01CIV3910        WEITZ & LUXENBERG, PC
HOLBERT              RON                   NY         1902412012       WEITZ & LUXENBERG, PC                                HOLLOWAY             DIANNE M              NY         10680602         WEITZ & LUXENBERG, PC
HOLBROOK             KATHLEEN M            NY         10700102         WEITZ & LUXENBERG, PC                                HOLLOWAY             THERESA V             NY         CV013899         WEITZ & LUXENBERG, PC
HOLBROOK             KATHLEEN M            NY         11194202         WEITZ & LUXENBERG, PC                                HOLLOWAY             WILLIAM G             NY         10680602         WEITZ & LUXENBERG, PC
HOLBROOK             MICHELLE A            NY         10680802         WEITZ & LUXENBERG, PC                                HOLLSTEIN            HERMAN                NY         10612300         WEITZ & LUXENBERG, PC
HOLBROOK             MICHELLE A            NY         11060402         WEITZ & LUXENBERG, PC                                HOLLSTEIN            HERMAN                NY         12198999         WEITZ & LUXENBERG, PC
HOLBROOK             THORNTON E            NY         10700102         WEITZ & LUXENBERG, PC                                HOLLSTEIN            JOHANNA               NY         10612300         WEITZ & LUXENBERG, PC
HOLBROOK             THORNTON E            NY         11194202         WEITZ & LUXENBERG, PC                                HOLLSTEIN            JOHANNA               NY         12198999         WEITZ & LUXENBERG, PC
HOLDCRAFT            CHARLIE               NY         CV016889         WEITZ & LUXENBERG, PC                                HOLLY                BERNICE               NY         11159003         WEITZ & LUXENBERG, PC
HOLDCRAFT            LINDA M               NY         CV016889         WEITZ & LUXENBERG, PC                                HOLLY                BERNICE               NY         11203703         WEITZ & LUXENBERG, PC
HOLL                 DOROTHY               NY         19017710         WEITZ & LUXENBERG, PC                                HOLLY                ELMER W               NY         11159003         WEITZ & LUXENBERG, PC
HOLL                 HEDRIG KING           NY         10609200         WEITZ & LUXENBERG, PC                                HOLLY                ELMER W               NY         11203703         WEITZ & LUXENBERG, PC
HOLL                 HEDRIG KING           NY         12198999         WEITZ & LUXENBERG, PC                                HOLLY                KEVIN                 NY         11159003         WEITZ & LUXENBERG, PC
HOLL                 JOHN F                NY         19017710         WEITZ & LUXENBERG, PC                                HOLLY                KEVIN                 NY         11203703         WEITZ & LUXENBERG, PC
HOLL                 KARL                  NY         10609200         WEITZ & LUXENBERG, PC                                HOLM                 CHET                  NY         1902902014       WEITZ & LUXENBERG, PC
HOLL                 KARL                  NY         12198999         WEITZ & LUXENBERG, PC                                HOLM                 DOLPH E               NY         10587301         WEITZ & LUXENBERG, PC
HOLL                 MAXINE                NY         12042901         WEITZ & LUXENBERG, PC                                HOLM                 HAROLD                NY         1902902014       WEITZ & LUXENBERG, PC
HOLL                 WILLIAM H             NY         12042901         WEITZ & LUXENBERG, PC                                HOLMAN               SONJA                 NY         10612200         WEITZ & LUXENBERG, PC
HOLLADAY             ROBERT EVANS          NY         CV017495         WEITZ & LUXENBERG, PC                                HOLMAN               SONJA                 NY         12198999         WEITZ & LUXENBERG, PC
HOLLAMBY             CARL                  NY         10461104         WEITZ & LUXENBERG, PC                                HOLMAN               WILLIAM R             NY         10612200         WEITZ & LUXENBERG, PC
HOLLAMBY             JUDY                  NY         10461104         WEITZ & LUXENBERG, PC                                HOLMAN               WILLIAM R             NY         12198999         WEITZ & LUXENBERG, PC
HOLLAND              ALLEN D               NY         CV017872         WEITZ & LUXENBERG, PC                                HOLMES               BARBARA               NY         10870801         WEITZ & LUXENBERG, PC
HOLLAND              ANN S                 NY         98109397         WEITZ & LUXENBERG, PC                                HOLMES               BARBARA A             NY         12043301         WEITZ & LUXENBERG, PC
HOLLAND              BETTE-ALENE           NY         10073103         WEITZ & LUXENBERG, PC                                HOLMES               BEATRICE              NJ         MIDL405318AS     WEITZ & LUXENBERG, PC
HOLLAND              DONALD H              NY         10609100         WEITZ & LUXENBERG, PC                                HOLMES               CHARLENE              NY         1902732012       WEITZ & LUXENBERG, PC
HOLLAND              DONALD H              NY         12198999         WEITZ & LUXENBERG, PC                                HOLMES               EDWARD R              NJ         MIDL405318AS     WEITZ & LUXENBERG, PC
HOLLAND              E JANE                NY         99107976         WEITZ & LUXENBERG, PC                                HOLMES               EDWIN H               NY         10039903         WEITZ & LUXENBERG, PC
HOLLAND              EDWARD T              NY         10073103         WEITZ & LUXENBERG, PC                                HOLMES               GEORGE                NY         10870801         WEITZ & LUXENBERG, PC
HOLLAND              JAMES H               NY         00CIV1202        WEITZ & LUXENBERG, PC                                HOLMES               GLORIA                NY         10039903         WEITZ & LUXENBERG, PC
HOLLAND              JOAN E                NY         10609100         WEITZ & LUXENBERG, PC                                HOLMES               JACKIE                NY         10680802         WEITZ & LUXENBERG, PC
HOLLAND              JOAN E                NY         12198999         WEITZ & LUXENBERG, PC                                HOLMES               JOHN J                NY         1902732012       WEITZ & LUXENBERG, PC
HOLLAND              LINDA C               NY         10609000         WEITZ & LUXENBERG, PC                                HOLMES               JOSEPH A              NY         19024211         WEITZ & LUXENBERG, PC
HOLLAND              LINDA C               NY         12198999         WEITZ & LUXENBERG, PC                                HOLMES               MARGIE J              NY         10784507         WEITZ & LUXENBERG, PC
HOLLAND              MALOEY LEE            NY         00CIV1202        WEITZ & LUXENBERG, PC                                HOLMES               MONIKA                NY         10269102         WEITZ & LUXENBERG, PC
HOLLAND              MILDRED               NY         00CIV1202        WEITZ & LUXENBERG, PC                                HOLMES               RANDOLPH A            NY         12043301         WEITZ & LUXENBERG, PC
HOLLAND              MURIEL PENNY          NY         12039401         WEITZ & LUXENBERG, PC                                HOLMES               RICHARD               NY         10090403         WEITZ & LUXENBERG, PC
HOLLAND              MURIEL PENNY          NY         10561702         WEITZ & LUXENBERG, PC                                HOLMES               SHIRLEY S             NY         1901572015       WEITZ & LUXENBERG, PC
HOLLAND              REBECCA               NY         00CIV1202        WEITZ & LUXENBERG, PC                                HOLMES               TEBA TOFFLING         NY         19024211         WEITZ & LUXENBERG, PC
HOLLAND              RICHARD               NY         99107976         WEITZ & LUXENBERG, PC                                HOLMES               TEX RICHARD           NY         10680802         WEITZ & LUXENBERG, PC
HOLLAND              RICHARD LEE           NY         10609000         WEITZ & LUXENBERG, PC                                HOLMES               THEODORE              NY         10784507         WEITZ & LUXENBERG, PC
HOLLAND              RICHARD LEE           NY         12198999         WEITZ & LUXENBERG, PC                                HOLMES               WESLEY O              NY         10269102         WEITZ & LUXENBERG, PC
HOLLAND              ROBERT L              NY         12039401         WEITZ & LUXENBERG, PC                                HOLMQUIST            ANN-LIS               NY         10612100         WEITZ & LUXENBERG, PC
HOLLAND              ROBERT L              NY         10561702         WEITZ & LUXENBERG, PC                                HOLMQUIST            ANN-LIS               NY         12198999         WEITZ & LUXENBERG, PC
HOLLAND              RONALD D              NY         CV017872         WEITZ & LUXENBERG, PC                                HOLMQUIST            BORJE                 NY         10612100         WEITZ & LUXENBERG, PC
HOLLAND              ROY P                 NY         98109397         WEITZ & LUXENBERG, PC                                HOLMQUIST            BORJE                 NY         12198999         WEITZ & LUXENBERG, PC
HOLLAND              WILLIAM               NY         10608900         WEITZ & LUXENBERG, PC                                HOLMWOOD             DAVID R               NY         10081701         WEITZ & LUXENBERG, PC
HOLLAND              WILLIAM               NY         12198999         WEITZ & LUXENBERG, PC                                HOLMWOOD             DAVID R               NY         11939100         WEITZ & LUXENBERG, PC
HOLLANDS             JAMES W               NY         12801902         WEITZ & LUXENBERG, PC                                HOLMWOOD             DONNA                 NY         10081701         WEITZ & LUXENBERG, PC
HOLLENBAUGH          JOANNE                NY         10587602         WEITZ & LUXENBERG, PC                                HOLMWOOD             DONNA                 NY         11939100         WEITZ & LUXENBERG, PC
HOLLENBAUGH          MILTON                NY         10587602         WEITZ & LUXENBERG, PC                                HOLODUEK             JOHN                  NY         10081801         WEITZ & LUXENBERG, PC
HOLLENBECK           PHYLLIS               NY         1901702014       WEITZ & LUXENBERG, PC                                HOLODUEK             JOHN                  NY         11939100         WEITZ & LUXENBERG, PC
HOLLER               DARROW H              NY         12668502         WEITZ & LUXENBERG, PC                                HOLOWATY             MICHAEL S             NY         10571702         WEITZ & LUXENBERG, PC
HOLLEY               CHESTER LEE           NY         CV015420         WEITZ & LUXENBERG, PC                                HOLSCHER             MICHELINA             NY         01111221         WEITZ & LUXENBERG, PC
HOLLEY               HELEN JEAN            NY         CV015420         WEITZ & LUXENBERG, PC                                HOLSCHER             WILLIAM F             NY         01111221         WEITZ & LUXENBERG, PC
HOLLEY               RICHARD G             NY         12801902         WEITZ & LUXENBERG, PC                                HOLT                 DONALD                NY         01CIV3900        WEITZ & LUXENBERG, PC
HOLLEY               RICHARD G             NY         10594703         WEITZ & LUXENBERG, PC                                HOLT                 ELSIE M               NY         01CIV3900        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 954
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 289 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HOLT                 FRED                  NY         99107977         WEITZ & LUXENBERG, PC                                HOPKINS              MARY ANN              NY         11939900         WEITZ & LUXENBERG, PC
HOLT                 STEPHAN C             NY         1901272018       WEITZ & LUXENBERG, PC                                HOPKINS              RALPH E               NY         11149700         WEITZ & LUXENBERG, PC
HOLTHUSEN            JOHN H                NY         11744703         WEITZ & LUXENBERG, PC                                HOPKINS              TERRANCE T            NY         11939900         WEITZ & LUXENBERG, PC
HOLTHUSEN            MARGARET              NY         11744703         WEITZ & LUXENBERG, PC                                HOPKINS              THOMAS                NY         1900792017       WEITZ & LUXENBERG, PC
HOLTZ                ARTHUR C              NY         02106690         WEITZ & LUXENBERG, PC                                HOPKINS              TYLER J               NY         19010409         WEITZ & LUXENBERG, PC
HOLTZ                ARTHUR C              NY         11379902         WEITZ & LUXENBERG, PC                                HOPPE                LAURA                 NY         445916           WEITZ & LUXENBERG, PC
HOLTZ                EVERETT               NY         10081901         WEITZ & LUXENBERG, PC                                HOPPE                ROBERT ANDREW         NY         445916           WEITZ & LUXENBERG, PC
HOLTZ                EVERETT               NY         11939100         WEITZ & LUXENBERG, PC                                HOPPEL               BEVERLY               NY         10670802         WEITZ & LUXENBERG, PC
HOLTZ                JUNE E                NY         02106690         WEITZ & LUXENBERG, PC                                HOPPEL               BEVERLY               NY         11605802         WEITZ & LUXENBERG, PC
HOLTZ                JUNE E                NY         11379902         WEITZ & LUXENBERG, PC                                HOPPEL               RICHARD GEORGE        NY         10670802         WEITZ & LUXENBERG, PC
HOLTZ                KATHLEEN              NY         10081901         WEITZ & LUXENBERG, PC                                HOPPEL               RICHARD GEORGE        NY         11605802         WEITZ & LUXENBERG, PC
HOLTZ                KATHLEEN              NY         11939100         WEITZ & LUXENBERG, PC                                HOPPER               ANTOINETTE P          NY         12241301         WEITZ & LUXENBERG, PC
HOMA                 LYNNE M               NY         12039801         WEITZ & LUXENBERG, PC                                HOPPER               ANTOINETTE P          NY         01111226         WEITZ & LUXENBERG, PC
HOMA                 ROBERT A              NY         12039801         WEITZ & LUXENBERG, PC                                HOPPS                FREDERICK W           NY         10089006         WEITZ & LUXENBERG, PC
HOMAN                ANNA MARIE            NY         10503100         WEITZ & LUXENBERG, PC                                HOPPS                VIRGINIA              NY         10089006         WEITZ & LUXENBERG, PC
HOMAN                CHESTER E             NY         10503100         WEITZ & LUXENBERG, PC                                HOPSICKER            CHERI                 NY         12788702         WEITZ & LUXENBERG, PC
HOMER                RONALD                NY         10798901         WEITZ & LUXENBERG, PC                                HOPSICKER            LAWRENCE T            NY         12788702         WEITZ & LUXENBERG, PC
HOMIAK               IRENE                 NY         10696502         WEITZ & LUXENBERG, PC                                HORAK                ARTHUR R              NY         10611700         WEITZ & LUXENBERG, PC
HOMIAK               IRENE                 NY         11128702         WEITZ & LUXENBERG, PC                                HORAK                ARTHUR R              NY         12198999         WEITZ & LUXENBERG, PC
HOMIAK               STEPHEN               NY         10696502         WEITZ & LUXENBERG, PC                                HORAK                PAMELA                NY         10611700         WEITZ & LUXENBERG, PC
HOMIAK               STEPHEN               NY         11128702         WEITZ & LUXENBERG, PC                                HORAK                PAMELA                NY         12198999         WEITZ & LUXENBERG, PC
HOMIAK               STEPHEN W             NY         10696502         WEITZ & LUXENBERG, PC                                HOREY                CHARLES NELSON        NY         12668502         WEITZ & LUXENBERG, PC
HOMIAK               STEPHEN W             NY         11128702         WEITZ & LUXENBERG, PC                                HORGAN               ANNETTE               NY         10003003         WEITZ & LUXENBERG, PC
HONAN                LIAM                  NY         10074103         WEITZ & LUXENBERG, PC                                HORGAN               JOHN D                NY         10003003         WEITZ & LUXENBERG, PC
HONAN                PATRICK               NY         11162403         WEITZ & LUXENBERG, PC                                HORN                 ROBERT                NY         01111229         WEITZ & LUXENBERG, PC
HONAN                PHILAMENA             NY         11162403         WEITZ & LUXENBERG, PC                                HORNE                DONALD J              NY         11977901         WEITZ & LUXENBERG, PC
HONAN                TERESA                NY         10074103         WEITZ & LUXENBERG, PC                                HORNE                DONALD J              NY         11123201         WEITZ & LUXENBERG, PC
HONEYCUTT            JIMMY A               NY         CV015778         WEITZ & LUXENBERG, PC                                HORNE                PATRICIA M            NY         11977901         WEITZ & LUXENBERG, PC
HONEYCUTT            MARY                  NY         CV015778         WEITZ & LUXENBERG, PC                                HORNE                PATRICIA M            NY         11123201         WEITZ & LUXENBERG, PC
HONSINGER            GLORIA                NY         10680802         WEITZ & LUXENBERG, PC                                HORNER               GERALDINE             NY         12288297         WEITZ & LUXENBERG, PC
HONSINGER            KERMIT J              NY         10680802         WEITZ & LUXENBERG, PC                                HORNER               HOWARD R              NY         12288297         WEITZ & LUXENBERG, PC
HOOD                 AUSTIN P              NY         CV016702         WEITZ & LUXENBERG, PC                                HORNER               LINDA M               NY         19017809         WEITZ & LUXENBERG, PC
HOOD                 GWENDOLYN M           NY         01CIV3901        WEITZ & LUXENBERG, PC                                HORNSBY              WALLACE               NY         10501800         WEITZ & LUXENBERG, PC
HOOD                 JUANITA               NY         CV016702         WEITZ & LUXENBERG, PC                                HORNUNG              ARLINE                NY         10096501         WEITZ & LUXENBERG, PC
HOODAK-CHAFFEE       GAIL                  NY         02120615         WEITZ & LUXENBERG, PC                                HORNUNG              JOHN                  NY         10096501         WEITZ & LUXENBERG, PC
HOODAK-CHAFFEE       GAIL                  NY         12759202         WEITZ & LUXENBERG, PC                                HOROWITZ             LOUIS                 NY         10096401         WEITZ & LUXENBERG, PC
HOOEY                DORMAN DE WITT        NY         10740102         WEITZ & LUXENBERG, PC                                HOROWITZ             ROSE                  NY         10096401         WEITZ & LUXENBERG, PC
HOOEY                HELEN                 NY         10740102         WEITZ & LUXENBERG, PC                                HORSFIELD            DONALD J              NY         12039201         WEITZ & LUXENBERG, PC
HOOGESTRAAT          CAROL ANN             NY         12039401         WEITZ & LUXENBERG, PC                                HORSTMAN             CAROL                 NY         10964302         WEITZ & LUXENBERG, PC
HOOGESTRAAT          CAROL ANN             NY         10561602         WEITZ & LUXENBERG, PC                                HORSTMANN            WALLACE               NY         10964302         WEITZ & LUXENBERG, PC
HOOGESTRAAT          RICHARD J             NY         12039401         WEITZ & LUXENBERG, PC                                HORTON               BRENDA                NY         12509802         WEITZ & LUXENBERG, PC
HOOGESTRAAT          RICHARD J             NY         10561602         WEITZ & LUXENBERG, PC                                HORTON               CHARLES G             NY         01CIV4580        WEITZ & LUXENBERG, PC
HOOGEVEEN            JAMES L               NY         1902752012       WEITZ & LUXENBERG, PC                                HORTON               HELEN                 NY         10611600         WEITZ & LUXENBERG, PC
HOOGEVEEN            LOIS                  NY         1902752012       WEITZ & LUXENBERG, PC                                HORTON               HELEN                 NY         12198999         WEITZ & LUXENBERG, PC
HOOKER               EARL                  NY         01106564         WEITZ & LUXENBERG, PC                                HORTON               KAREN                 NY         1900072018       WEITZ & LUXENBERG, PC
HOOKS                JAMES W               NY         10612000         WEITZ & LUXENBERG, PC                                HORTON               LARRY GENE            NY         12509802         WEITZ & LUXENBERG, PC
HOOKS                JAMES W               NY         12198999         WEITZ & LUXENBERG, PC                                HORTON               ROLAND E              NY         10611600         WEITZ & LUXENBERG, PC
HOOPER               EVELYN                NY         02106693         WEITZ & LUXENBERG, PC                                HORTON               ROLAND E              NY         12198999         WEITZ & LUXENBERG, PC
HOOPER               ROBERT J              NY         02106693         WEITZ & LUXENBERG, PC                                HORTON               WANDA                 NY         01CIV4580        WEITZ & LUXENBERG, PC
HOOPFER              CHRISTINE M           NY         1904332013       WEITZ & LUXENBERG, PC                                HORVAT               MARIA                 NY         10611500         WEITZ & LUXENBERG, PC
HOOPFER              WILLIAM               NY         1904332013       WEITZ & LUXENBERG, PC                                HORVAT               MARIA                 NY         12198999         WEITZ & LUXENBERG, PC
HOOSE                EUGENE                NY         12109602         WEITZ & LUXENBERG, PC                                HORVAT               PETER                 NY         10611500         WEITZ & LUXENBERG, PC
HOOSE                EUGENE                NY         11327602         WEITZ & LUXENBERG, PC                                HORVAT               PETER                 NY         12198999         WEITZ & LUXENBERG, PC
HOOSE                JASPER C              NY         12109602         WEITZ & LUXENBERG, PC                                HORVATH              ALEXANDER             NY         10722202         WEITZ & LUXENBERG, PC
HOOSE                JASPER C              NY         11327602         WEITZ & LUXENBERG, PC                                HORVATH              ANNA                  NY         19025310         WEITZ & LUXENBERG, PC
HOOSE                RUTH                  NY         12109602         WEITZ & LUXENBERG, PC                                HORVATH              BILLIE JUNE           NY         00CIV4025        WEITZ & LUXENBERG, PC
HOOSE                RUTH                  NY         11327602         WEITZ & LUXENBERG, PC                                HORVATH              EUGENE J              NY         1620182015       WEITZ & LUXENBERG, PC
HOOTER               LAWRENCE RAYMOND      NY         10611900         WEITZ & LUXENBERG, PC                                HORVATH              FRANK                 NY         19025310         WEITZ & LUXENBERG, PC
HOOTER               LAWRENCE RAYMOND      NY         12198999         WEITZ & LUXENBERG, PC                                HORVATH              JAMES EDWARD          NY         CV017873         WEITZ & LUXENBERG, PC
HOOTER               RUBY                  NY         10611900         WEITZ & LUXENBERG, PC                                HORVATH              KATHLEEN              NY         10722202         WEITZ & LUXENBERG, PC
HOOTER               RUBY                  NY         12198999         WEITZ & LUXENBERG, PC                                HORVATH              MADELINE              NY         1620182015       WEITZ & LUXENBERG, PC
HOOVER               MARY                  NY         10503200         WEITZ & LUXENBERG, PC                                HORVATH              WILLIAM HENRY         NY         00CIV4025        WEITZ & LUXENBERG, PC
HOOVER               ROBERT P              NY         10503200         WEITZ & LUXENBERG, PC                                HOSEY                CECILE                NY         1900752018       WEITZ & LUXENBERG, PC
HOPE                 DOUGLAS               NY         10722102         WEITZ & LUXENBERG, PC                                HOSEY                JAMES J               NY         1900752018       WEITZ & LUXENBERG, PC
HOPKINS              BARBARA               NY         1900792017       WEITZ & LUXENBERG, PC                                HOSFORD              ROSEANN               NY         10611400         WEITZ & LUXENBERG, PC
HOPKINS              ERIC R                NY         12693702         WEITZ & LUXENBERG, PC                                HOSFORD              ROSEANN               NY         12198999         WEITZ & LUXENBERG, PC
HOPKINS              FRANCIS               NY         10611800         WEITZ & LUXENBERG, PC                                HOSFORD              WILLIAM J             NY         10611400         WEITZ & LUXENBERG, PC
HOPKINS              FRANCIS               NY         12198999         WEITZ & LUXENBERG, PC                                HOSFORD              WILLIAM J             NY         12198999         WEITZ & LUXENBERG, PC
HOPKINS              IRENE                 NY         11149700         WEITZ & LUXENBERG, PC                                HOSIER               RICHARD C             NY         19003609         WEITZ & LUXENBERG, PC
HOPKINS              MARY                  NY         10611800         WEITZ & LUXENBERG, PC                                HOSIER               THERESA               NY         19003609         WEITZ & LUXENBERG, PC
HOPKINS              MARY                  NY         12198999         WEITZ & LUXENBERG, PC                                HOTH                 MALCOLM D             NY         10587002         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 955
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 290 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HOTH                 MALCOLM D             NY         10874002         WEITZ & LUXENBERG, PC                                HOWELL               ARVEL                 NY         01CIV3910        WEITZ & LUXENBERG, PC
HOTH                 REDA                  NY         10587002         WEITZ & LUXENBERG, PC                                HOWELL               ASTOR LEE             NY         11149800         WEITZ & LUXENBERG, PC
HOTH                 REDA                  NY         10874002         WEITZ & LUXENBERG, PC                                HOWELL               BEATRICE I            NY         12039501         WEITZ & LUXENBERG, PC
HOTNICH              JOHN                  NY         98119873         WEITZ & LUXENBERG, PC                                HOWELL               CLARA                 NY         10609499         WEITZ & LUXENBERG, PC
HOTNICH              PATRICIA A            NY         98119873         WEITZ & LUXENBERG, PC                                HOWELL               JAMES R               NY         12039501         WEITZ & LUXENBERG, PC
HOTTUM               CHARLES J             NY         10740102         WEITZ & LUXENBERG, PC                                HOWELL               PATRICIA              NY         11149800         WEITZ & LUXENBERG, PC
HOTTUM               MARY                  NY         10740102         WEITZ & LUXENBERG, PC                                HOWLETT              PATRICIA              NY         11947901         WEITZ & LUXENBERG, PC
HOUCK                DOROTHY VALERIE       NY         10611300         WEITZ & LUXENBERG, PC                                HOWLETT              PATRICIA              NY         01111220         WEITZ & LUXENBERG, PC
HOUCK                DOROTHY VALERIE       NY         12198999         WEITZ & LUXENBERG, PC                                HOWLETT              THOMAS H              NY         12038801         WEITZ & LUXENBERG, PC
HOUCK                RAMONA V              NY         I200110162       WEITZ & LUXENBERG, PC                                HOWLETT              THOMAS H              NY         10630002         WEITZ & LUXENBERG, PC
HOUCK                ROBERT W              NY         10611300         WEITZ & LUXENBERG, PC                                HOXIE                MAUREEN               NY         10696302         WEITZ & LUXENBERG, PC
HOUCK                ROBERT W              NY         12198999         WEITZ & LUXENBERG, PC                                HOXIE                RICHARD L             NY         10696302         WEITZ & LUXENBERG, PC
HOUGHTALIN           DAVID M               NY         19037111         WEITZ & LUXENBERG, PC                                HOYT                 CLEARENCE J           NY         02120615         WEITZ & LUXENBERG, PC
HOUGHTALIN           JOANNE                NY         19037111         WEITZ & LUXENBERG, PC                                HOYT                 EDWARD J              NY         02106508         WEITZ & LUXENBERG, PC
HOUGHTON             CARROLL W             NY         10793499         WEITZ & LUXENBERG, PC                                HOYT                 EDWARD J              NY         11078402         WEITZ & LUXENBERG, PC
HOULDER              CHARLES C             NY         12042901         WEITZ & LUXENBERG, PC                                HOYT                 KATHLEEN              NY         02106508         WEITZ & LUXENBERG, PC
HOULDER              JOAN                  NY         12042901         WEITZ & LUXENBERG, PC                                HOYT                 KATHLEEN              NY         11078402         WEITZ & LUXENBERG, PC
HOULE                ELAINE M              NY         10611200         WEITZ & LUXENBERG, PC                                HOYTE                GEORGE D              NY         12038801         WEITZ & LUXENBERG, PC
HOULE                ELAINE M              NY         12198999         WEITZ & LUXENBERG, PC                                HOYTE                GEORGE D              NY         10629902         WEITZ & LUXENBERG, PC
HOULE                FRANK M               NY         10611200         WEITZ & LUXENBERG, PC                                HOYTE                NORMAN W              NY         12038801         WEITZ & LUXENBERG, PC
HOULE                FRANK M               NY         12198999         WEITZ & LUXENBERG, PC                                HOYTE                NORMAN W              NY         10629902         WEITZ & LUXENBERG, PC
HOULIHAN             BEATRICE M            NY         10008703         WEITZ & LUXENBERG, PC                                HRUBES               MILDRED E             NY         10378304         WEITZ & LUXENBERG, PC
HOULIHAN             BEATRICE M            NY         99120315         WEITZ & LUXENBERG, PC                                HRUBES               ROBERT J              NY         10378304         WEITZ & LUXENBERG, PC
HOULIHAN             THOMAS                NY         10008703         WEITZ & LUXENBERG, PC                                HRYHOR               JOHN                  NY         10096201         WEITZ & LUXENBERG, PC
HOULIHAN             THOMAS                NY         99120315         WEITZ & LUXENBERG, PC                                HUBBARD              ALONZO RUSSELL        NY         99107947         WEITZ & LUXENBERG, PC
HOUSE                ANDREA SUSAN          NY         12241801         WEITZ & LUXENBERG, PC                                HUBBARD              BEVERLY               NY         11009103         WEITZ & LUXENBERG, PC
HOUSE                ANDREA SUSAN          NY         01111226         WEITZ & LUXENBERG, PC                                HUBBARD              ELEANOR ELIZABETH     NY         11361704         WEITZ & LUXENBERG, PC
HOUSE                CARROLL GLEN          NY         10363402         WEITZ & LUXENBERG, PC                                HUBBARD              EUNICE                NY         99107935         WEITZ & LUXENBERG, PC
HOUSE                CHARLES EDWARD        NY         02106694         WEITZ & LUXENBERG, PC                                HUBBARD              FRANK                 NY         11009103         WEITZ & LUXENBERG, PC
HOUSE                CLARENCE C            NY         01CIV3898        WEITZ & LUXENBERG, PC                                HUBBARD              JAMES                 NY         I20018977        WEITZ & LUXENBERG, PC
HOUSE                PHYLLIS M             NY         10778199         WEITZ & LUXENBERG, PC                                HUBBARD              JOHN A                NY         11361704         WEITZ & LUXENBERG, PC
HOUSE                WILLIAM CARL          NY         10587002         WEITZ & LUXENBERG, PC                                HUBBARD              LESTER A              NY         99107935         WEITZ & LUXENBERG, PC
HOUSE HAWKINS        PAMELA GAIL           NY         01CIV3898        WEITZ & LUXENBERG, PC                                HUBBARD              ORIN MACEL            NY         02120615         WEITZ & LUXENBERG, PC
HOUST                WALTER GERALD         NY         10611100         WEITZ & LUXENBERG, PC                                HUBBARD              VIRGINIA L            NY         I20018977        WEITZ & LUXENBERG, PC
HOUST                WALTER GERALD         NY         12198999         WEITZ & LUXENBERG, PC                                HUBEN                ROBERT A              NY         12039601         WEITZ & LUXENBERG, PC
HOUSTON              BEN                   NY         10611000         WEITZ & LUXENBERG, PC                                HUBEN                SUSAN                 NY         12039601         WEITZ & LUXENBERG, PC
HOUSTON              BEN                   NY         12198999         WEITZ & LUXENBERG, PC                                HUBER                BEVERLY A             NY         19013310         WEITZ & LUXENBERG, PC
HOUSTON              BETTY                 NY         12014401         WEITZ & LUXENBERG, PC                                HUBER                JOHN R                NY         11149900         WEITZ & LUXENBERG, PC
HOUSTON              DOUGLAS               NY         12014401         WEITZ & LUXENBERG, PC                                HUBER                JOSEPH G              NY         10571702         WEITZ & LUXENBERG, PC
HOUSTON              EDNA ELIZABETH        NY         10611000         WEITZ & LUXENBERG, PC                                HUBER                KENNETH               NJ         MIDL00773518AS   WEITZ & LUXENBERG, PC
HOUSTON              EDNA ELIZABETH        NY         12198999         WEITZ & LUXENBERG, PC                                HUBER                MARILYN L             NY         11149900         WEITZ & LUXENBERG, PC
HOUSTON              MAUREEN               NY         10693101         WEITZ & LUXENBERG, PC                                HUBERT               CHESTER WILLIAM       NY         99107948         WEITZ & LUXENBERG, PC
HOWANIEC             RICHARD H             NY         02106693         WEITZ & LUXENBERG, PC                                HUBERT               FLORENCE              NY         99107948         WEITZ & LUXENBERG, PC
HOWARD               CAROL                 NY         12788802         WEITZ & LUXENBERG, PC                                HUBMAN               EBER H                NY         10722002         WEITZ & LUXENBERG, PC
HOWARD               DARLENE               NY         1901752014       WEITZ & LUXENBERG, PC                                HUBSCHMITT           MARY                  NY         1900912017       WEITZ & LUXENBERG, PC
HOWARD               ERNEST                NY         1900582013       WEITZ & LUXENBERG, PC                                HUBSCHMITT           RAYMOND               NY         1900912017       WEITZ & LUXENBERG, PC
HOWARD               FRED                  NY         10587602         WEITZ & LUXENBERG, PC                                HUDAK                JULIA                 NY         10587502         WEITZ & LUXENBERG, PC
HOWARD               GUYOWEN H             NY         02107004         WEITZ & LUXENBERG, PC                                HUDAK                THOMAS J              NY         10587502         WEITZ & LUXENBERG, PC
HOWARD               JOHN                  NY         12788802         WEITZ & LUXENBERG, PC                                HUDMAN               CHARLES EUGENE        NY         02106579         WEITZ & LUXENBERG, PC
HOWARD               ROBERT J              NY         10740202         WEITZ & LUXENBERG, PC                                HUDSON               BRUCE A               NY         01111221         WEITZ & LUXENBERG, PC
HOWARD               SUSAN                 NY         02107004         WEITZ & LUXENBERG, PC                                HUDSON               FUMI                  NY         01111221         WEITZ & LUXENBERG, PC
HOWARD               THELMA J              NY         10587602         WEITZ & LUXENBERG, PC                                HUDSON               GEORGE H              NY         10722002         WEITZ & LUXENBERG, PC
HOWE                 BRUCE A               NY         98119872         WEITZ & LUXENBERG, PC                                HUDSON               KEITH                 NY         02106579         WEITZ & LUXENBERG, PC
HOWE                 EDNA                  NY         02105716         WEITZ & LUXENBERG, PC                                HUDSON               MARYANN               NY         10722002         WEITZ & LUXENBERG, PC
HOWE                 JANICE                NY         01122139         WEITZ & LUXENBERG, PC                                HUDSON               PERCELL               NY         CV02409          WEITZ & LUXENBERG, PC
HOWE                 JOHN ALFRED           NY         10610900         WEITZ & LUXENBERG, PC                                HUDSON               RUBY                  NY         CV02409          WEITZ & LUXENBERG, PC
HOWE                 JOHN ALFRED           NY         12198999         WEITZ & LUXENBERG, PC                                HUEGEN               HENRY                 NY         11188203         WEITZ & LUXENBERG, PC
HOWE                 LOUISE A              NY         10610900         WEITZ & LUXENBERG, PC                                HUEGEN               SHIRLEY               NY         11188203         WEITZ & LUXENBERG, PC
HOWE                 LOUISE A              NY         12198999         WEITZ & LUXENBERG, PC                                HUEMMER              ALICE                 NY         10529300         WEITZ & LUXENBERG, PC
HOWE                 MARY                  NY         10610700         WEITZ & LUXENBERG, PC                                HUEMMER              JOSEPH                NY         10529300         WEITZ & LUXENBERG, PC
HOWE                 MARY                  NY         12198999         WEITZ & LUXENBERG, PC                                HUFF                 RICHARD E             NY         98119912         WEITZ & LUXENBERG, PC
HOWE                 MORGAN SETH           NY         10610800         WEITZ & LUXENBERG, PC                                HUGGINS              RACHEL                NY         12043001         WEITZ & LUXENBERG, PC
HOWE                 MORGAN SETH           NY         12198999         WEITZ & LUXENBERG, PC                                HUGGINS              RICHARD A             NY         12043001         WEITZ & LUXENBERG, PC
HOWE                 NORMAN F              NY         02105716         WEITZ & LUXENBERG, PC                                HUGGINS              WALTER J              NY         1903082016       WEITZ & LUXENBERG, PC
HOWE                 PAMELA K              NY         10610800         WEITZ & LUXENBERG, PC                                HUGHES               ALAN                  NY         10610600         WEITZ & LUXENBERG, PC
HOWE                 PAMELA K              NY         12198999         WEITZ & LUXENBERG, PC                                HUGHES               ALAN                  NY         12198999         WEITZ & LUXENBERG, PC
HOWE                 ROSALIE               NY         98119872         WEITZ & LUXENBERG, PC                                HUGHES               BRIAN J               NY         01111222         WEITZ & LUXENBERG, PC
HOWE                 TIMOTHY A             NY         01122139         WEITZ & LUXENBERG, PC                                HUGHES               CARL L                NY         CV021701         WEITZ & LUXENBERG, PC
HOWE                 VIRGINIA H            NY         11500302         WEITZ & LUXENBERG, PC                                HUGHES               CAROL L               NY         10023403         WEITZ & LUXENBERG, PC
HOWE                 WILLIAM J             NY         10610700         WEITZ & LUXENBERG, PC                                HUGHES               CARROL                NY         CV012137         WEITZ & LUXENBERG, PC
HOWE                 WILLIAM J             NY         12198999         WEITZ & LUXENBERG, PC                                HUGHES               CLARE                 NY         10740502         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 956
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 291 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HUGHES               DONALD F              NY         11055501         WEITZ & LUXENBERG, PC                                HUNOLD               DOROTHY               NY         12198999         WEITZ & LUXENBERG, PC
HUGHES               DONALD M              NY         10610500         WEITZ & LUXENBERG, PC                                HUNOLD               NILES                 NY         10615800         WEITZ & LUXENBERG, PC
HUGHES               DONALD M              NY         12198999         WEITZ & LUXENBERG, PC                                HUNOLD               NILES                 NY         12198999         WEITZ & LUXENBERG, PC
HUGHES               FRANKLIN E            NY         10658102         WEITZ & LUXENBERG, PC                                HUNT                 CAROLYN               NY         98119884         WEITZ & LUXENBERG, PC
HUGHES               GWIN                  NY         01CIV3910        WEITZ & LUXENBERG, PC                                HUNT                 DOROTHY               NY         I200110164       WEITZ & LUXENBERG, PC
HUGHES               HARVEY L              NY         01CIV3910        WEITZ & LUXENBERG, PC                                HUNT                 ELYSE                 NY         11123500         WEITZ & LUXENBERG, PC
HUGHES               HOLLIS A              NY         11055501         WEITZ & LUXENBERG, PC                                HUNT                 JACK R                NY         99107905         WEITZ & LUXENBERG, PC
HUGHES               JANE                  NY         01111222         WEITZ & LUXENBERG, PC                                HUNT                 JIMMIE                NY         I200110164       WEITZ & LUXENBERG, PC
HUGHES               JOHN                  NY         99107936         WEITZ & LUXENBERG, PC                                HUNT                 MARGARET E            NY         10615700         WEITZ & LUXENBERG, PC
HUGHES               JOHN                  NY         10610400         WEITZ & LUXENBERG, PC                                HUNT                 MARGARET E            NY         12198999         WEITZ & LUXENBERG, PC
HUGHES               JOHN                  NY         12198999         WEITZ & LUXENBERG, PC                                HUNT                 PATRICIA              NY         10615600         WEITZ & LUXENBERG, PC
HUGHES               JOHN C                NY         10740502         WEITZ & LUXENBERG, PC                                HUNT                 PATRICIA              NY         12198999         WEITZ & LUXENBERG, PC
HUGHES               JOHN L                NY         02105718         WEITZ & LUXENBERG, PC                                HUNT                 RAYMOND               NY         10615700         WEITZ & LUXENBERG, PC
HUGHES               KIM M                 NY         10446100         WEITZ & LUXENBERG, PC                                HUNT                 RAYMOND               NY         12198999         WEITZ & LUXENBERG, PC
HUGHES               LAWRENCE S            NY         CV02712          WEITZ & LUXENBERG, PC                                HUNT                 RICHARD H             NY         98119884         WEITZ & LUXENBERG, PC
HUGHES               LINDA                 NY         10096001         WEITZ & LUXENBERG, PC                                HUNT                 SALLY ANN             NY         I20019666        WEITZ & LUXENBERG, PC
HUGHES               MATILDA               NY         10870801         WEITZ & LUXENBERG, PC                                HUNT                 THOMAS                NY         10615600         WEITZ & LUXENBERG, PC
HUGHES               MAUDIE LAVERN         NY         CV012137         WEITZ & LUXENBERG, PC                                HUNT                 THOMAS                NY         12198999         WEITZ & LUXENBERG, PC
HUGHES               NANCY                 NY         12693402         WEITZ & LUXENBERG, PC                                HUNT                 VELMA                 NY         99107905         WEITZ & LUXENBERG, PC
HUGHES               PAUL                  NY         99108192         WEITZ & LUXENBERG, PC                                HUNTE                CLEMENTE F            NY         12693502         WEITZ & LUXENBERG, PC
HUGHES               PHYLLIS               NY         99107936         WEITZ & LUXENBERG, PC                                HUNTER               ARLINE                NY         12100401         WEITZ & LUXENBERG, PC
HUGHES               REGINA                NY         10610500         WEITZ & LUXENBERG, PC                                HUNTER               ARTHUR                NY         01CIV3910        WEITZ & LUXENBERG, PC
HUGHES               REGINA                NY         12198999         WEITZ & LUXENBERG, PC                                HUNTER               DOROTHY               NY         CV015424         WEITZ & LUXENBERG, PC
HUGHES               RICHARD               NY         12693402         WEITZ & LUXENBERG, PC                                HUNTER               GEORGE                NY         12100401         WEITZ & LUXENBERG, PC
HUGHES               RONALD R              NY         10870801         WEITZ & LUXENBERG, PC                                HUNTER               HELEN W               NY         01CIV3910        WEITZ & LUXENBERG, PC
HUGHES               SHELTON               NY         11159403         WEITZ & LUXENBERG, PC                                HUNTER               HOWARD H              NY         1901252018       WEITZ & LUXENBERG, PC
HUGHES               STELLA                NY         CV02712          WEITZ & LUXENBERG, PC                                HUNTER               JAMES                 NY         11680407         WEITZ & LUXENBERG, PC
HUGHES               TODD                  NY         10096001         WEITZ & LUXENBERG, PC                                HUNTER               JERRY                 NY         10534600         WEITZ & LUXENBERG, PC
HUGHES               VERA                  NY         99108192         WEITZ & LUXENBERG, PC                                HUNTER               MARGARET              NY         11680407         WEITZ & LUXENBERG, PC
HUGHES               WILLIAM R             NY         01CIV3910        WEITZ & LUXENBERG, PC                                HUNTER               OSCAR                 NY         CV015424         WEITZ & LUXENBERG, PC
HUGUENARD            DONALD                NY         1905192012       WEITZ & LUXENBERG, PC                                HUNTZ                CHARLES L             NY         98119883         WEITZ & LUXENBERG, PC
HUGULEY              KIM                   NY         10104299         WEITZ & LUXENBERG, PC                                HUNTZ                ELINOR                NY         98119883         WEITZ & LUXENBERG, PC
HUHA                 GEORGE M              NY         1903912015       WEITZ & LUXENBERG, PC                                HURLBURT             ALEX A                NY         10571402         WEITZ & LUXENBERG, PC
HULBERT              JEANNE                NY         1905312013       WEITZ & LUXENBERG, PC                                HURLBURT             JOHN R                NY         10740402         WEITZ & LUXENBERG, PC
HULBERT              JEANNE                NY         1904312013       WEITZ & LUXENBERG, PC                                HURLBURT             JOHN R                NY         11428702         WEITZ & LUXENBERG, PC
HULBERT              JOYCE                 NY         10610300         WEITZ & LUXENBERG, PC                                HURST                DAVID L               NY         11189099         WEITZ & LUXENBERG, PC
HULBERT              JOYCE                 NY         12198999         WEITZ & LUXENBERG, PC                                HURST                SUZANNE               NY         11189099         WEITZ & LUXENBERG, PC
HULBERT              RONALD K              NY         10610300         WEITZ & LUXENBERG, PC                                HURTEAU              LEE CHARLES           NY         10696302         WEITZ & LUXENBERG, PC
HULBERT              RONALD K              NY         12198999         WEITZ & LUXENBERG, PC                                HUSEBOE              SHARON                NY         1901122014       WEITZ & LUXENBERG, PC
HULBERT              WILLIAM               NY         1905312013       WEITZ & LUXENBERG, PC                                HUSEBOE              SHARON                NY         1900122014       WEITZ & LUXENBERG, PC
HULBERT              WILLIAM               NY         1904312013       WEITZ & LUXENBERG, PC                                HUSSAIN              SYED                  NY         12039101         WEITZ & LUXENBERG, PC
HULEFELD             EDWARD H              NY         1900422013       WEITZ & LUXENBERG, PC                                HUSTED               GORDON PRICE          NY         10740002         WEITZ & LUXENBERG, PC
HULEFELD             KAREN                 NY         1900422013       WEITZ & LUXENBERG, PC                                HUSTED               THOMAS W              NY         10887102         WEITZ & LUXENBERG, PC
HULETT               HOWARD                NY         12173101         WEITZ & LUXENBERG, PC                                HUSZAR               ELAINE                NY         10550200         WEITZ & LUXENBERG, PC
HULETT               RUBY FAYE             NY         12173101         WEITZ & LUXENBERG, PC                                HUSZAR               PAUL J                NY         10550200         WEITZ & LUXENBERG, PC
HULL                 DONALD                NY         10610200         WEITZ & LUXENBERG, PC                                HUTCHINS             ALLEN DEWITT          NY         19006612         WEITZ & LUXENBERG, PC
HULL                 DONALD                NY         12198999         WEITZ & LUXENBERG, PC                                HUTCHINS             ALLEN DEWITT          NY         2012171          WEITZ & LUXENBERG, PC
HULL                 KATHRYN A             NY         10740302         WEITZ & LUXENBERG, PC                                HUTCHINS             CLINTON E             NY         12460702         WEITZ & LUXENBERG, PC
HULL                 PEGGY ANN             NY         10610200         WEITZ & LUXENBERG, PC                                HUTCHINS             MARTHA                NY         19006612         WEITZ & LUXENBERG, PC
HULL                 PEGGY ANN             NY         12198999         WEITZ & LUXENBERG, PC                                HUTCHINS             MARTHA                NY         2012171          WEITZ & LUXENBERG, PC
HULL                 WATER H               NY         10740302         WEITZ & LUXENBERG, PC                                HUTCHINS             SANDRA L              NY         12460702         WEITZ & LUXENBERG, PC
HULLER               MARIE                 NY         10722002         WEITZ & LUXENBERG, PC                                HUTCHINSON           JOSEPH                NY         19008808         WEITZ & LUXENBERG, PC
HULLER               MARIE                 NY         11343702         WEITZ & LUXENBERG, PC                                HUTCHISON            DAVID H               PA         180600795        WEITZ & LUXENBERG, PC
HULSE                FREDERICK LEROY       NY         10669102         WEITZ & LUXENBERG, PC                                HUTTA                DENNIS                NY         11280306         WEITZ & LUXENBERG, PC
HULSE                KATHLEEN              NY         10669102         WEITZ & LUXENBERG, PC                                HUTTA                JOAN E                NY         11280306         WEITZ & LUXENBERG, PC
HULSIZER             ANNA JAMCE            NY         1901282018       WEITZ & LUXENBERG, PC                                HUTTO                LINDA                 DE         N18C10329ASB     WEITZ & LUXENBERG, PC
HULSIZER             JAMES W               NY         1901282018       WEITZ & LUXENBERG, PC                                HUTTO                ROBERT S              DE         N18C10329ASB     WEITZ & LUXENBERG, PC
HUME                 CHARLOTTE             NY         10790099         WEITZ & LUXENBERG, PC                                HUTZLER              MOIRA                 NY         01121099         WEITZ & LUXENBERG, PC
HUME                 JAMES TOMAS           NY         10790099         WEITZ & LUXENBERG, PC                                HUTZLER              MOIRA                 NY         10852602         WEITZ & LUXENBERG, PC
HUMPHREY             CAROLYN D             NY         11150000         WEITZ & LUXENBERG, PC                                HUTZLER              ROBERT S              NY         01121099         WEITZ & LUXENBERG, PC
HUMPHREY             JUANITA               NY         99108195         WEITZ & LUXENBERG, PC                                HUTZLER              ROBERT S              NY         10852602         WEITZ & LUXENBERG, PC
HUMPHREY             VIRBLE                NY         99108195         WEITZ & LUXENBERG, PC                                HUZAR                JOHN                  NY         10095901         WEITZ & LUXENBERG, PC
HUMPHREY             WALTER J              NY         11150000         WEITZ & LUXENBERG, PC                                HUZAR                MARY                  NY         10095901         WEITZ & LUXENBERG, PC
HUMPHREYS            JOHN P                NY         10610100         WEITZ & LUXENBERG, PC                                HYDE                 HILMA B               NY         10095801         WEITZ & LUXENBERG, PC
HUMPHREYS            JOHN P                NY         12198999         WEITZ & LUXENBERG, PC                                HYDE                 RICHARD H             NY         10792299         WEITZ & LUXENBERG, PC
HUMPHREYS            MARGARET              NY         10610100         WEITZ & LUXENBERG, PC                                HYLAS                MARK K                NY         98119880         WEITZ & LUXENBERG, PC
HUMPHREYS            MARGARET              NY         12198999         WEITZ & LUXENBERG, PC                                HYLAS                MAUREEN               NY         98119880         WEITZ & LUXENBERG, PC
HUND                 ANTHONY               NY         10291702         WEITZ & LUXENBERG, PC                                HYMOWITZ             CYNTHIA               NY         99120435         WEITZ & LUXENBERG, PC
HUND                 JEANETTE              NY         10291702         WEITZ & LUXENBERG, PC                                HYMOWITZ             PAUL                  NY         99120435         WEITZ & LUXENBERG, PC
HUNOLD               CYNTHIA               NY         1901072018       WEITZ & LUXENBERG, PC                                HYNES                CATHERINE             NY         99107941         WEITZ & LUXENBERG, PC
HUNOLD               DOROTHY               NY         10615800         WEITZ & LUXENBERG, PC                                HYNES                DONALD P              NY         99107941         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 957
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 292 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HYNES                KATHLEEN              NY         99107941         WEITZ & LUXENBERG, PC                                INCORVAIA            CHARLES               NY         12198999         WEITZ & LUXENBERG, PC
HYTINEN              PAUL R                NY         20172080         WEITZ & LUXENBERG, PC                                INCORVAIA            MILDRED               NY         10615400         WEITZ & LUXENBERG, PC
HYTINEN              PAULETTE              NY         20172080         WEITZ & LUXENBERG, PC                                INCORVAIA            MILDRED               NY         12198999         WEITZ & LUXENBERG, PC
IACOBELLI            FRANCA                NY         99107923         WEITZ & LUXENBERG, PC                                INDOVINO             JOSEPH                NY         19024210         WEITZ & LUXENBERG, PC
IACOBELLI            LENA                  NY         12043101         WEITZ & LUXENBERG, PC                                INDOVINO             NANCY                 NY         19024210         WEITZ & LUXENBERG, PC
IACOBELLI            LOUIS                 NY         99107923         WEITZ & LUXENBERG, PC                                INDRI                ALBERT A              NY         99107904         WEITZ & LUXENBERG, PC
IACOBELLI            PAT                   NY         12043101         WEITZ & LUXENBERG, PC                                INDRI                IRENE                 NY         99107904         WEITZ & LUXENBERG, PC
IACONO               CROCE                 NY         11148200         WEITZ & LUXENBERG, PC                                INDRICK              DENISE                NY         1904282018       WEITZ & LUXENBERG, PC
IACONO               GIOVANNI              NY         11148200         WEITZ & LUXENBERG, PC                                INDRICK              THOMAS                NY         1904282018       WEITZ & LUXENBERG, PC
IACOVANGELO          FRANK B               NY         12191497         WEITZ & LUXENBERG, PC                                INDUBHAI             PATEL S               NY         01111230         WEITZ & LUXENBERG, PC
IAFRATE              JOAN                  NY         10870801         WEITZ & LUXENBERG, PC                                INFANTOLINO          ANASTASIA             NY         10893204         WEITZ & LUXENBERG, PC
IAFRATE              VICTOR                NY         10870801         WEITZ & LUXENBERG, PC                                INFANTOLINO          BARRY                 NY         10893204         WEITZ & LUXENBERG, PC
IAIZZO               GERALDINE             NY         12039801         WEITZ & LUXENBERG, PC                                INFUSO               ANTONINO              NY         10615300         WEITZ & LUXENBERG, PC
IAIZZO               GERALDINE             NY         10479402         WEITZ & LUXENBERG, PC                                INFUSO               ANTONINO              NY         12198999         WEITZ & LUXENBERG, PC
IAKOVOU              DIMITRIOS             NY         11017604         WEITZ & LUXENBERG, PC                                INFUSO               GAETANA               NY         10615300         WEITZ & LUXENBERG, PC
IAKOVOU              GRAMMATIKA            NY         11017604         WEITZ & LUXENBERG, PC                                INFUSO               GAETANA               NY         12198999         WEITZ & LUXENBERG, PC
IAMMATTEO            BERNARD               NY         11148300         WEITZ & LUXENBERG, PC                                INGA                 FRANCESCO             NY         10095501         WEITZ & LUXENBERG, PC
IAMMATTEO            MARY                  NY         11148300         WEITZ & LUXENBERG, PC                                INGA                 GIUSEPPINA            NY         10095501         WEITZ & LUXENBERG, PC
IANNIELLO            BEATRICE              NY         99107944         WEITZ & LUXENBERG, PC                                INGALLINELLA         ANTHONY               NY         11870201         WEITZ & LUXENBERG, PC
IANNIELLO            CARMINE VINCENNT      NY         10794299         WEITZ & LUXENBERG, PC                                INGALLINELLA         ANTHONY               NY         01111233         WEITZ & LUXENBERG, PC
IANNIELLO            JOAN                  NY         10794299         WEITZ & LUXENBERG, PC                                INGALLINELLA         KATHY                 NY         11870201         WEITZ & LUXENBERG, PC
IANNIELLO            LUCILLE               NY         00112355         WEITZ & LUXENBERG, PC                                INGALLINELLA         KATHY                 NY         01111233         WEITZ & LUXENBERG, PC
IANNIELLO            MATTHEW               NY         99107944         WEITZ & LUXENBERG, PC                                INGALLS              CHARLES R             NY         12801902         WEITZ & LUXENBERG, PC
IANNIELLO            RALPH                 NY         00112355         WEITZ & LUXENBERG, PC                                INGALLS              CHARLES R             NY         10594603         WEITZ & LUXENBERG, PC
IANNUCCI             MARY                  NY         1903172015       WEITZ & LUXENBERG, PC                                INGALLS              SUE                   NY         12801902         WEITZ & LUXENBERG, PC
IANNUZZELLI          JOSEPH A              NY         12039701         WEITZ & LUXENBERG, PC                                INGALLS              SUE                   NY         10594603         WEITZ & LUXENBERG, PC
IAOPAOLO             GINO                  NY         01111225         WEITZ & LUXENBERG, PC                                INGALLS              SUSAN J               NY         12801902         WEITZ & LUXENBERG, PC
IAOPAOLO             GINO                  NY         11808201         WEITZ & LUXENBERG, PC                                INGALLS              SUSAN J               NY         10594603         WEITZ & LUXENBERG, PC
IAPAOLO              DIANA G               NY         01111225         WEITZ & LUXENBERG, PC                                INGEBRETHSEN         FRANCIS               NY         12043101         WEITZ & LUXENBERG, PC
IAPAOLO              DIANA G               NY         11808201         WEITZ & LUXENBERG, PC                                INGEBRETHSEN         MARION                NY         12043101         WEITZ & LUXENBERG, PC
IARROBINO            VIRGINIA              NY         10793299         WEITZ & LUXENBERG, PC                                INGERSOLL            DOTTIE L              NY         1903542016       WEITZ & LUXENBERG, PC
IARROBINO            WILLIAM               NY         10793299         WEITZ & LUXENBERG, PC                                INGERSOLL            HAROLD                NY         11705400         WEITZ & LUXENBERG, PC
IAVENDITTI           KATHLEEN              NY         10615500         WEITZ & LUXENBERG, PC                                INGERSOLL            JAMES                 NY         1903542016       WEITZ & LUXENBERG, PC
IAVENDITTI           KATHLEEN              NY         12198999         WEITZ & LUXENBERG, PC                                INGERSOLL            MARCIA A              NY         11705400         WEITZ & LUXENBERG, PC
IAVENDITTI           MARIO                 NY         10615500         WEITZ & LUXENBERG, PC                                INGIANNE             SALVATORE             NY         19035811         WEITZ & LUXENBERG, PC
IAVENDITTI           MARIO                 NY         12198999         WEITZ & LUXENBERG, PC                                INGOLDSBY            ROBERT PAUL           NY         02106693         WEITZ & LUXENBERG, PC
IDA                  FRANK                 NY         99107945         WEITZ & LUXENBERG, PC                                INGRAHAM             VERONICA R            NY         10095401         WEITZ & LUXENBERG, PC
IDA                  JOYCE                 NY         99107945         WEITZ & LUXENBERG, PC                                INGRAM               KENNETH               NY         01111228         WEITZ & LUXENBERG, PC
IENI                 ANGELO                NY         1901712018       WEITZ & LUXENBERG, PC                                INGRASSIA            CHRISTINA L           NY         1901132019       WEITZ & LUXENBERG, PC
IENI                 GIUSEPPA              NY         1901712018       WEITZ & LUXENBERG, PC                                INGUAGIATO           THOMAS J              NY         10615200         WEITZ & LUXENBERG, PC
IGLIC                GILDA                 NY         10550400         WEITZ & LUXENBERG, PC                                INGUAGIATO           THOMAS J              NY         12198999         WEITZ & LUXENBERG, PC
IGLIC                MARIJAN               NY         10550400         WEITZ & LUXENBERG, PC                                INGUAIATO            SHIRLEY               NY         10615200         WEITZ & LUXENBERG, PC
IGNACZAK             CARL                  NY         11985698         WEITZ & LUXENBERG, PC                                INGUAIATO            SHIRLEY               NY         12198999         WEITZ & LUXENBERG, PC
IGNACZAK             GENEVIEVE             NY         11985698         WEITZ & LUXENBERG, PC                                INMAN                JEAN                  NY         19038710         WEITZ & LUXENBERG, PC
IGNATIADIS           GEORGE                NY         11581001         WEITZ & LUXENBERG, PC                                INMAN                THOMAS J              NY         19038710         WEITZ & LUXENBERG, PC
IGNATIADIS           GEORGE                NY         01111222         WEITZ & LUXENBERG, PC                                INMAN                THOMAS M              NY         19038710         WEITZ & LUXENBERG, PC
IHNKEN               GERALD E              NY         01111226         WEITZ & LUXENBERG, PC                                INNAMORATA           JOSEPH J              NY         11159003         WEITZ & LUXENBERG, PC
IHNKEN               LORRAINE              NY         01111226         WEITZ & LUXENBERG, PC                                INNAMORATA           SHEILA                NY         11159003         WEITZ & LUXENBERG, PC
ILARDO               ROSA                  NY         10095701         WEITZ & LUXENBERG, PC                                INNES                ARTHUR                NY         12039101         WEITZ & LUXENBERG, PC
ILARDO               SALVATORE             NY         10095701         WEITZ & LUXENBERG, PC                                INNES                BARBARA               NY         12039101         WEITZ & LUXENBERG, PC
ILIC                 DANNY                 NY         1903932014       WEITZ & LUXENBERG, PC                                INNESS               JOHN                  NY         10090403         WEITZ & LUXENBERG, PC
ILIC                 KARLA ANN             NY         1903932014       WEITZ & LUXENBERG, PC                                INNISS               LINCOLN DARNEL        NY         10095301         WEITZ & LUXENBERG, PC
ILOVAR               IVAN                  NY         10550500         WEITZ & LUXENBERG, PC                                INNISS               ROSLYN                NY         10095301         WEITZ & LUXENBERG, PC
IMBASCIANI           FLORENCE              NY         01122139         WEITZ & LUXENBERG, PC                                INSALACO             DIANE                 NY         10670802         WEITZ & LUXENBERG, PC
IMBASCIANI           JOSEPH                NY         01122139         WEITZ & LUXENBERG, PC                                INSALACO             FRANK R               NY         10670802         WEITZ & LUXENBERG, PC
IMBER                ADELINE               NY         10008603         WEITZ & LUXENBERG, PC                                INSCHO               HOWARD                NY         10065502         WEITZ & LUXENBERG, PC
IMBER                ISIDORE               NY         10008603         WEITZ & LUXENBERG, PC                                INSCHO               JOYCE                 NY         10065502         WEITZ & LUXENBERG, PC
IMBRIANO             DONATO                NY         10095601         WEITZ & LUXENBERG, PC                                INSERO               JOSEPH C              NY         11026702         WEITZ & LUXENBERG, PC
IMBRIANO             LOUIS                 NY         10095601         WEITZ & LUXENBERG, PC                                INSINGA              PIERINO               NY         10023203         WEITZ & LUXENBERG, PC
IMBRO                ALFRED                NY         1901902015       WEITZ & LUXENBERG, PC                                INTELISANO           BEVERLY JEAN          NY         99107903         WEITZ & LUXENBERG, PC
IMBRO                KATHLEEN              NY         1901902015       WEITZ & LUXENBERG, PC                                INTELISANO           FRANK                 NY         99107903         WEITZ & LUXENBERG, PC
IMMEL                EILEEN                NY         11630104         WEITZ & LUXENBERG, PC                                INTINI               JOSEPH                NY         12788802         WEITZ & LUXENBERG, PC
IMMEL                HARRY T               NY         11630104         WEITZ & LUXENBERG, PC                                INTINI               LINDA                 NY         12788802         WEITZ & LUXENBERG, PC
IMPARATO             JOAN                  NY         10870801         WEITZ & LUXENBERG, PC                                INTRIERI             ANTHONY J             NY         11518304         WEITZ & LUXENBERG, PC
IMPARATO             LOUIS P               NY         10870801         WEITZ & LUXENBERG, PC                                INTSCHERT            GEORGE                NY         99107902         WEITZ & LUXENBERG, PC
IMPERATO             JOHN                  NY         10887602         WEITZ & LUXENBERG, PC                                INVIDIATA            CATHERINE             NY         10095201         WEITZ & LUXENBERG, PC
IMPERIOSO            AIDA                  NY         CV025196         WEITZ & LUXENBERG, PC                                INVIDIATA            JOSEPH S              NY         10095201         WEITZ & LUXENBERG, PC
IMPERIOSO            RAMO                  NY         CV025196         WEITZ & LUXENBERG, PC                                INZANO               JODI                  NY         596432019        WEITZ & LUXENBERG, PC
INCONTRERA           FRANK VITO            NY         99108194         WEITZ & LUXENBERG, PC                                INZANO               MARIO                 NY         596432019        WEITZ & LUXENBERG, PC
INCONTRERA           MARY                  NY         99108194         WEITZ & LUXENBERG, PC                                INZIRILLO            EMANUEL A             NY         19030909         WEITZ & LUXENBERG, PC
INCORVAIA            CHARLES               NY         10615400         WEITZ & LUXENBERG, PC                                IOAPAOLO             DIANE                 NY         01111225         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 958
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 293 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

IOAPAOLO             DIANE                 NY         11808201         WEITZ & LUXENBERG, PC                                JACASA               MARIO                 NY         10587502         WEITZ & LUXENBERG, PC
IOVINELLI            ALFRED                NY         10095101         WEITZ & LUXENBERG, PC                                JACCARD              ALBERT                NY         12039901         WEITZ & LUXENBERG, PC
IOVINO               FRANK J               NY         1903462016       WEITZ & LUXENBERG, PC                                JACCHINO             JOHN M                NY         10587002         WEITZ & LUXENBERG, PC
IOVINO               JACOB A               NY         12213801         WEITZ & LUXENBERG, PC                                JACCHINO             SANDRA                NY         10587002         WEITZ & LUXENBERG, PC
IOVINO               RITA                  NY         12213801         WEITZ & LUXENBERG, PC                                JACCODINE            ROBERTA               NY         11427500         WEITZ & LUXENBERG, PC
IOVINO               THERESA               NY         1903462016       WEITZ & LUXENBERG, PC                                JACHURA              DIANE V               NY         12668502         WEITZ & LUXENBERG, PC
IPPOLITO             ANNETTE               NY         10095001         WEITZ & LUXENBERG, PC                                JACHURA              DIANE V               NY         10333903         WEITZ & LUXENBERG, PC
IPPOLITO             DENNIS                NY         19012010         WEITZ & LUXENBERG, PC                                JACHURA              DONALD NICHOLAS       NY         12668502         WEITZ & LUXENBERG, PC
IPPOLITO             JOHN                  NY         02106508         WEITZ & LUXENBERG, PC                                JACHURA              DONALD NICHOLAS       NY         10333903         WEITZ & LUXENBERG, PC
IPPOLITO             MARIE                 NY         02106508         WEITZ & LUXENBERG, PC                                JACK                 JOAN                  NY         10098101         WEITZ & LUXENBERG, PC
IPPOLITO             WILLIAM F             NY         10095001         WEITZ & LUXENBERG, PC                                JACK                 JOSEPH JOHN           NY         10098101         WEITZ & LUXENBERG, PC
IRETON               GENEVIEVE M           NY         99120307         WEITZ & LUXENBERG, PC                                JACKMAN              DOROTHY               NY         99107917         WEITZ & LUXENBERG, PC
IRIZARRY             CAROL A               NY         99107926         WEITZ & LUXENBERG, PC                                JACKMAN              THOMAS F              NY         99107917         WEITZ & LUXENBERG, PC
IRIZARRY             MIGDOEL               NY         99107926         WEITZ & LUXENBERG, PC                                JACKMIN              JOHN                  NY         12043101         WEITZ & LUXENBERG, PC
IRVIN                HAZEL                 NY         CV017532         WEITZ & LUXENBERG, PC                                JACKMIN              LYNN                  NY         12043101         WEITZ & LUXENBERG, PC
IRVIN                HENRY E               NY         10550800         WEITZ & LUXENBERG, PC                                JACKOWSKI            CAROL                 NY         10551100         WEITZ & LUXENBERG, PC
IRVIN                LARRY DON             NY         CV017532         WEITZ & LUXENBERG, PC                                JACKOWSKI            MICHAEL R             NY         10551100         WEITZ & LUXENBERG, PC
IRVIN                MARY                  NY         10550800         WEITZ & LUXENBERG, PC                                JACKSON              ANN                   NY         16014800         WEITZ & LUXENBERG, PC
IRVING               JEANNE                NY         10587502         WEITZ & LUXENBERG, PC                                JACKSON              ANN                   NY         12198999         WEITZ & LUXENBERG, PC
IRVING               LEVY                  NY         11370603         WEITZ & LUXENBERG, PC                                JACKSON              ARCHIE PARNELL        NY         01CIV3910        WEITZ & LUXENBERG, PC
IRVING               PETER V               NY         10587502         WEITZ & LUXENBERG, PC                                JACKSON              BERNARD RAYMOND       NY         10680702         WEITZ & LUXENBERG, PC
ISAACS               DONALD                NY         10550900         WEITZ & LUXENBERG, PC                                JACKSON              BETTY                 NY         10551400         WEITZ & LUXENBERG, PC
ISAACS               ROBERT                NY         10550900         WEITZ & LUXENBERG, PC                                JACKSON              BUDDY R               NY         19032211         WEITZ & LUXENBERG, PC
ISENBARGER           DONALD W              NY         11705500         WEITZ & LUXENBERG, PC                                JACKSON              CAROL                 NY         01CIV3898        WEITZ & LUXENBERG, PC
ISENHART             JAMES                 NY         99107915         WEITZ & LUXENBERG, PC                                JACKSON              CATHERINE             NY         10793199         WEITZ & LUXENBERG, PC
ISENHART             LINDA                 NY         99107915         WEITZ & LUXENBERG, PC                                JACKSON              CLARENCE E SR         NY         10551200         WEITZ & LUXENBERG, PC
ISEREAU              JOSEPH RICHARD        NY         12801902         WEITZ & LUXENBERG, PC                                JACKSON              CLEO A                NY         02106579         WEITZ & LUXENBERG, PC
ISEREAU              JOSEPH RICHARD        NY         10594503         WEITZ & LUXENBERG, PC                                JACKSON              DAVID                 NY         CV013921         WEITZ & LUXENBERG, PC
ISEREAU              SANDRA J              NY         12801902         WEITZ & LUXENBERG, PC                                JACKSON              DELVIN S              NY         11149500         WEITZ & LUXENBERG, PC
ISEREAU              SANDRA J              NY         10594503         WEITZ & LUXENBERG, PC                                JACKSON              DIANE                 NY         2015EF492        WEITZ & LUXENBERG, PC
ISEREAU              SANDY                 NY         12801902         WEITZ & LUXENBERG, PC                                JACKSON              DONALD RAY            NY         10098001         WEITZ & LUXENBERG, PC
ISEREAU              SANDY                 NY         10594503         WEITZ & LUXENBERG, PC                                JACKSON              DOROTHY               NY         CV015813         WEITZ & LUXENBERG, PC
ISERNIA              FRANCES               NY         1900712016       WEITZ & LUXENBERG, PC                                JACKSON              DOROTHY               NY         11149500         WEITZ & LUXENBERG, PC
ISERNIA              JOHN M                NY         1900712016       WEITZ & LUXENBERG, PC                                JACKSON              EDDIE                 NY         01CIV3901        WEITZ & LUXENBERG, PC
ISOPO                DENISE                NY         10098201         WEITZ & LUXENBERG, PC                                JACKSON              ELIZABETH             NY         01CIV3910        WEITZ & LUXENBERG, PC
ISOPO                GIULIANO              NY         10098201         WEITZ & LUXENBERG, PC                                JACKSON              ERNEST                NY         01111228         WEITZ & LUXENBERG, PC
ITALIANO             SALVATORE             NY         12042901         WEITZ & LUXENBERG, PC                                JACKSON              ESTELLE               NY         10551200         WEITZ & LUXENBERG, PC
ITALIANO             TINA                  NY         12042901         WEITZ & LUXENBERG, PC                                JACKSON              GEORGE D              NY         16014900         WEITZ & LUXENBERG, PC
IUPPA                ANNA M                NY         12042901         WEITZ & LUXENBERG, PC                                JACKSON              GEORGE D              NY         12198999         WEITZ & LUXENBERG, PC
IUPPA                GERARD E              NY         12042901         WEITZ & LUXENBERG, PC                                JACKSON              GODREY W              NY         12213801         WEITZ & LUXENBERG, PC
IUZZOLINO            DEBORAH K             NY         02107005         WEITZ & LUXENBERG, PC                                JACKSON              HELEN                 NY         10680702         WEITZ & LUXENBERG, PC
IUZZOLINO            DEBORAH K             NY         11622702         WEITZ & LUXENBERG, PC                                JACKSON              HEMMINGS              NY         1902192015       WEITZ & LUXENBERG, PC
IUZZOLINO            MATTHEW J             NY         02107005         WEITZ & LUXENBERG, PC                                JACKSON              HENRIETTA             NY         12213801         WEITZ & LUXENBERG, PC
IUZZOLINO            MATTHEW J             NY         11622702         WEITZ & LUXENBERG, PC                                JACKSON              HERMAN L              NY         CV003590         WEITZ & LUXENBERG, PC
IVALDI               JOANN                 NY         12213801         WEITZ & LUXENBERG, PC                                JACKSON              HERMINE               NY         1902192015       WEITZ & LUXENBERG, PC
IVERSEN              JOAN                  NY         99120649         WEITZ & LUXENBERG, PC                                JACKSON              IRENE G               NY         10098001         WEITZ & LUXENBERG, PC
IVERSEN              JOHN                  NY         99120649         WEITZ & LUXENBERG, PC                                JACKSON              JERRY L               NY         CV013921         WEITZ & LUXENBERG, PC
IVES                 BERNARD D             NY         10670602         WEITZ & LUXENBERG, PC                                JACKSON              JOHN                  NY         12801902         WEITZ & LUXENBERG, PC
IVES                 VERONICA              NY         10670602         WEITZ & LUXENBERG, PC                                JACKSON              JOHN                  NY         10594403         WEITZ & LUXENBERG, PC
IVEY                 BERTHA                NY         10722202         WEITZ & LUXENBERG, PC                                JACKSON              JOHN M                NY         2015EF492        WEITZ & LUXENBERG, PC
IVEY                 NEROY                 NY         10722202         WEITZ & LUXENBERG, PC                                JACKSON              KARLA J               NY         16014900         WEITZ & LUXENBERG, PC
IWANIEC              JOHN                  NY         02107005         WEITZ & LUXENBERG, PC                                JACKSON              KARLA J               NY         12198999         WEITZ & LUXENBERG, PC
IZOLD                FLORIAN               NY         12039101         WEITZ & LUXENBERG, PC                                JACKSON              LESLIE THOMAS         NY         16014800         WEITZ & LUXENBERG, PC
IZOLD                MARIETTE              NY         12039101         WEITZ & LUXENBERG, PC                                JACKSON              LESLIE THOMAS         NY         12198999         WEITZ & LUXENBERG, PC
IZYDORCZAK           DIANA D               NY         10551000         WEITZ & LUXENBERG, PC                                JACKSON              LINDA                 NY         110481           WEITZ & LUXENBERG, PC
IZYDORCZAK           JOHN F                NY         10551000         WEITZ & LUXENBERG, PC                                JACKSON              LINDA                 NY         12448902         WEITZ & LUXENBERG, PC
IZYK                 MARGARET              NY         02107006         WEITZ & LUXENBERG, PC                                JACKSON              MARY A                NY         CV021243         WEITZ & LUXENBERG, PC
IZYK                 ROBERT G              NY         02107006         WEITZ & LUXENBERG, PC                                JACKSON              MICHAEL CARL          NY         19051411         WEITZ & LUXENBERG, PC
IZZO                 ANTHONY               NY         16015000         WEITZ & LUXENBERG, PC                                JACKSON              MICKEY DEE            NY         CV02408          WEITZ & LUXENBERG, PC
IZZO                 ANTHONY               NY         12198999         WEITZ & LUXENBERG, PC                                JACKSON              MILDRED               NY         19051411         WEITZ & LUXENBERG, PC
IZZO                 CAROL                 NY         12043101         WEITZ & LUXENBERG, PC                                JACKSON              RAYMOND LEE           NY         CV017875         WEITZ & LUXENBERG, PC
IZZO                 HARRY J               NY         99107928         WEITZ & LUXENBERG, PC                                JACKSON              ROBERT                NY         12668602         WEITZ & LUXENBERG, PC
IZZO                 MARY ANN              NY         99107928         WEITZ & LUXENBERG, PC                                JACKSON              ROGER EDWARD          NY         01CIV3898        WEITZ & LUXENBERG, PC
IZZO                 NEAL T                NY         12043101         WEITZ & LUXENBERG, PC                                JACKSON              ROOSEVELT             NY         10793199         WEITZ & LUXENBERG, PC
IZZO                 THERESA               NY         16015000         WEITZ & LUXENBERG, PC                                JACKSON              ROXANA                NY         02106579         WEITZ & LUXENBERG, PC
IZZO                 THERESA               NY         12198999         WEITZ & LUXENBERG, PC                                JACKSON              SHIRLEY JEAN          NY         CV013899         WEITZ & LUXENBERG, PC
JABLONSKI            PHILIP                NY         10528101         WEITZ & LUXENBERG, PC                                JACKSON              SIMON                 NY         10551400         WEITZ & LUXENBERG, PC
JABLOW               CHERYL                NY         12039001         WEITZ & LUXENBERG, PC                                JACKSON              TAYLOR                NY         10740002         WEITZ & LUXENBERG, PC
JABLOW               CHERYL                NY         12395301         WEITZ & LUXENBERG, PC                                JACKSON              THOMAS G              NY         110481           WEITZ & LUXENBERG, PC
JABONASKI            DIANE                 NY         02107006         WEITZ & LUXENBERG, PC                                JACKSON              THOMAS G              NY         12448902         WEITZ & LUXENBERG, PC
JABONASKI            STEPHEN P             NY         02107006         WEITZ & LUXENBERG, PC                                JACKSON              TYJWONIA              NY         19032211         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 959
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 294 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JACKSON              VIRGINA               NY         16014900         WEITZ & LUXENBERG, PC                                JANIS                WILLIAM               NY         98119914         WEITZ & LUXENBERG, PC
JACKSON              VIRGINA               NY         12198999         WEITZ & LUXENBERG, PC                                JANISZAK             MARIA                 NY         10536100         WEITZ & LUXENBERG, PC
JACKSON              WD                    NY         CV015813         WEITZ & LUXENBERG, PC                                JANISZAK             STEPHAN               NY         10536100         WEITZ & LUXENBERG, PC
JACKSON              WADE M                NY         16014700         WEITZ & LUXENBERG, PC                                JANITS               FRANK                 NY         1904502012       WEITZ & LUXENBERG, PC
JACKSON              WADE M                NY         12198999         WEITZ & LUXENBERG, PC                                JANITS               KATHLEEN              NY         1904502012       WEITZ & LUXENBERG, PC
JACKSON              WILLIAM               NY         12604102         WEITZ & LUXENBERG, PC                                JANKENS              HELLMER               NY         10379004         WEITZ & LUXENBERG, PC
JACOBS               ALEXANDER             NY         12198899         WEITZ & LUXENBERG, PC                                JANKENS              MARLENE               NY         10379004         WEITZ & LUXENBERG, PC
JACOBS               ALVESTER              NY         10685100         WEITZ & LUXENBERG, PC                                JANKOWSKI            HENRY                 NY         10097301         WEITZ & LUXENBERG, PC
JACOBS               ARTHUR L              NY         10685000         WEITZ & LUXENBERG, PC                                JANKOWSKI            JEAN                  NY         02106579         WEITZ & LUXENBERG, PC
JACOBS               CARRIE                NY         02104785         WEITZ & LUXENBERG, PC                                JANKOWSKI            JOSEPH                NY         02106690         WEITZ & LUXENBERG, PC
JACOBS               DONALD J              NY         10551500         WEITZ & LUXENBERG, PC                                JANKOWSKI            MARIE                 NY         02106690         WEITZ & LUXENBERG, PC
JACOBS               DOROTHY               NY         02107004         WEITZ & LUXENBERG, PC                                JANKOWSKI            PAULINE               NY         10097301         WEITZ & LUXENBERG, PC
JACOBS               DOSSIE T              NY         02104785         WEITZ & LUXENBERG, PC                                JANKOWSKI            ROBERT L              NY         11125804         WEITZ & LUXENBERG, PC
JACOBS               ETHEL                 NY         12198899         WEITZ & LUXENBERG, PC                                JANKOWSKI            SYDNEY M              NY         11125804         WEITZ & LUXENBERG, PC
JACOBS               HARRIET               NY         10680702         WEITZ & LUXENBERG, PC                                JANKOWSKI            VICTOR M              NY         02106579         WEITZ & LUXENBERG, PC
JACOBS               HERBERT A             PA         170800563        WEITZ & LUXENBERG, PC                                JANNAZZO             LENORA                NY         11478204         WEITZ & LUXENBERG, PC
JACOBS               JOHN A                NY         02107004         WEITZ & LUXENBERG, PC                                JANNAZZO             SAM P                 NY         11478204         WEITZ & LUXENBERG, PC
JACOBS               KIM                   NY         10097901         WEITZ & LUXENBERG, PC                                JANOSZ               JOSEPHINE             NY         10933502         WEITZ & LUXENBERG, PC
JACOBS               KIMBERLY C            PA         170800563        WEITZ & LUXENBERG, PC                                JANOSZ               ROBERT                NY         10933502         WEITZ & LUXENBERG, PC
JACOBS               MARGARET              NY         12788702         WEITZ & LUXENBERG, PC                                JANOSZ               STANLEY F             NY         10933502         WEITZ & LUXENBERG, PC
JACOBS               NANCY                 NY         10685000         WEITZ & LUXENBERG, PC                                JANSEN               JOHANNES              NY         12039401         WEITZ & LUXENBERG, PC
JACOBS               NELSON R              NY         02106694         WEITZ & LUXENBERG, PC                                JANSSEN              FLORENCE              NY         10456701         WEITZ & LUXENBERG, PC
JACOBS               RAYMOND               NY         10097901         WEITZ & LUXENBERG, PC                                JANSSEN              HENRY T               NY         10456701         WEITZ & LUXENBERG, PC
JACOBS               RICHARD               NY         01111225         WEITZ & LUXENBERG, PC                                JANUCHOWSKI          ANTHONY               NY         10684700         WEITZ & LUXENBERG, PC
JACOBS               RICHARD B             NY         12788702         WEITZ & LUXENBERG, PC                                JANUCHOWSKI          STELLA                NY         10684700         WEITZ & LUXENBERG, PC
JACOBS               THEODORE L            NY         10680702         WEITZ & LUXENBERG, PC                                JANUSZKIEWICZ        KAZIMIERZ             NY         1901612016       WEITZ & LUXENBERG, PC
JACOBSON             PATRICIA              NY         10401200         WEITZ & LUXENBERG, PC                                JANUSZKIEWICZ        MARGARET              NY         1901612016       WEITZ & LUXENBERG, PC
JACOBY               JACK                  NY         10128807         WEITZ & LUXENBERG, PC                                JARCZYK              FLORENCE              NY         99108193         WEITZ & LUXENBERG, PC
JACOBY               MICHAEL N             NY         12039801         WEITZ & LUXENBERG, PC                                JARCZYK              JOSEPH                NY         99108193         WEITZ & LUXENBERG, PC
JACOBY               SYDELL                NY         10128807         WEITZ & LUXENBERG, PC                                JARDIM               PAMELA                NY         01111219         WEITZ & LUXENBERG, PC
JACQUES              CARLOS                NY         19023610         WEITZ & LUXENBERG, PC                                JAREMKO              BARBARA               NY         10097201         WEITZ & LUXENBERG, PC
JACQUES              LAURENCE              NY         98119916         WEITZ & LUXENBERG, PC                                JAREMKO              STANLEY               NY         10097201         WEITZ & LUXENBERG, PC
JADWIZYC             MARYANNA              NY         10587502         WEITZ & LUXENBERG, PC                                JARNOT               DOLORES               NY         10684600         WEITZ & LUXENBERG, PC
JADWIZYC             STANLEY W             NY         10587502         WEITZ & LUXENBERG, PC                                JARNOT               FRANK F               NY         10684600         WEITZ & LUXENBERG, PC
JAEGER               CAROL                 NY         12039501         WEITZ & LUXENBERG, PC                                JAROMIN              PATRICIA              NY         10587102         WEITZ & LUXENBERG, PC
JAEGER               ROBERT F              NY         12039501         WEITZ & LUXENBERG, PC                                JAROMIN              PATRICIA              NY         10902002         WEITZ & LUXENBERG, PC
JAGER                HAROLD                NY         99107919         WEITZ & LUXENBERG, PC                                JAROMIN              RICHARD ANTHONY       NY         10587102         WEITZ & LUXENBERG, PC
JAGIELLO             DOROTHY M             NY         02105713         WEITZ & LUXENBERG, PC                                JAROMIN              RICHARD ANTHONY       NY         10902002         WEITZ & LUXENBERG, PC
JAGIELLO             EDWIN T               NY         02105713         WEITZ & LUXENBERG, PC                                JAROSZ               DENNIS J              NY         10097101         WEITZ & LUXENBERG, PC
JAGIELLO             LORETTA               NY         12287097         WEITZ & LUXENBERG, PC                                JAROSZ               JUDITH M              NY         11123000         WEITZ & LUXENBERG, PC
JAGIELLO             PAUL                  NY         12287097         WEITZ & LUXENBERG, PC                                JAROSZEWSKI          DANIEL A              NY         02116178         WEITZ & LUXENBERG, PC
JAHELKA              ADELINE               NY         10049005         WEITZ & LUXENBERG, PC                                JAROSZEWSKI          ROSE MARIE            NY         02116178         WEITZ & LUXENBERG, PC
JAHELKA              JOSEPH T              NY         10049005         WEITZ & LUXENBERG, PC                                JARREAU              RANDY                 NY         1904402013       WEITZ & LUXENBERG, PC
JAKOB                HANS K                NY         10073103         WEITZ & LUXENBERG, PC                                JARRELL              JANICE M              NY         10684500         WEITZ & LUXENBERG, PC
JAKOB                JOAN                  NY         10073103         WEITZ & LUXENBERG, PC                                JARRELL              ROY J                 NY         10684500         WEITZ & LUXENBERG, PC
JAKUBEZAK            LEONARD               NY         10696502         WEITZ & LUXENBERG, PC                                JARVIS               BERNARD WILLIAM       NY         10716702         WEITZ & LUXENBERG, PC
JAKUBEZAK            VERA                  NY         10696502         WEITZ & LUXENBERG, PC                                JARVIS               BRIAN                 NY         10110302         WEITZ & LUXENBERG, PC
JAKUBOWSKI           JOSEPH                NY         10792099         WEITZ & LUXENBERG, PC                                JARVIS               DALE JAMES            NY         10536300         WEITZ & LUXENBERG, PC
JAKUP                JOHN PAUL             NY         12039701         WEITZ & LUXENBERG, PC                                JARVIS               DONALD R              NY         12043001         WEITZ & LUXENBERG, PC
JAKUP                JOSEPHINE             NY         12039701         WEITZ & LUXENBERG, PC                                JARVIS               FLORENCE A            NY         10536300         WEITZ & LUXENBERG, PC
JAMACK               GEORGE ALLEN          NY         10794099         WEITZ & LUXENBERG, PC                                JARVIS               HEATHER               NY         12043001         WEITZ & LUXENBERG, PC
JAMES                JENNIFER              NY         19026010         WEITZ & LUXENBERG, PC                                JARVIS               SHARON M              NY         10716702         WEITZ & LUXENBERG, PC
JAMES                LORRAINE              NY         99107252         WEITZ & LUXENBERG, PC                                JARVIS               STEPHEN M             NY         12043201         WEITZ & LUXENBERG, PC
JAMES                REYNOLD               NY         19026010         WEITZ & LUXENBERG, PC                                JARVIS               STEPHEN M             NY         10110302         WEITZ & LUXENBERG, PC
JAMES                ROLAND M              NY         02107099         WEITZ & LUXENBERG, PC                                JARVIS               YVONNE M              NY         02121082         WEITZ & LUXENBERG, PC
JAMES                RUSSELL G             NY         CV003590         WEITZ & LUXENBERG, PC                                JASEK                ANTHONY G             NY         10684400         WEITZ & LUXENBERG, PC
JAMESON              GERALDINE             NY         CV016528         WEITZ & LUXENBERG, PC                                JASEN                BENNY A               NY         02106693         WEITZ & LUXENBERG, PC
JAMESON              JOHN KENDRICK         NY         CV016528         WEITZ & LUXENBERG, PC                                JASEWICZ             JAMES J               NY         10097001         WEITZ & LUXENBERG, PC
JAMISON              JUNE                  NY         10097601         WEITZ & LUXENBERG, PC                                JASINSKI             ANNA                  NY         12039301         WEITZ & LUXENBERG, PC
JAMISON              THEODORE E            NY         10097601         WEITZ & LUXENBERG, PC                                JASINSKI             FRANK J               NY         12039301         WEITZ & LUXENBERG, PC
JANCZAK              GEORGE                NY         10684900         WEITZ & LUXENBERG, PC                                JASINSKI             MARIE                 NY         1905003          WEITZ & LUXENBERG, PC
JANCZAK              THERESA               NY         10684900         WEITZ & LUXENBERG, PC                                JASINSKI             RICHARD C             NY         1905003          WEITZ & LUXENBERG, PC
JANESE               CAROL                 NY         10535900         WEITZ & LUXENBERG, PC                                JATHAS               ANGELO J              NY         10684300         WEITZ & LUXENBERG, PC
JANESE               JEAN                  NY         10536000         WEITZ & LUXENBERG, PC                                JATHAS               BARBARA               NY         10684300         WEITZ & LUXENBERG, PC
JANESE               LAWRENCE SR           NY         10535900         WEITZ & LUXENBERG, PC                                JAWORSKI             CARL                  NY         02107099         WEITZ & LUXENBERG, PC
JANESE               RUDOLPH M             NY         10536000         WEITZ & LUXENBERG, PC                                JAWORSKI             CAROL                 NY         02107099         WEITZ & LUXENBERG, PC
JANICK               JEANNINE              NY         10097501         WEITZ & LUXENBERG, PC                                JAWORSKI             PATRICIA ANN          NY         10700002         WEITZ & LUXENBERG, PC
JANICK               ROBERT                NY         10097501         WEITZ & LUXENBERG, PC                                JAWORSKI             THOMAS                NY         10700002         WEITZ & LUXENBERG, PC
JANIGA               DENNIS J              NY         10684800         WEITZ & LUXENBERG, PC                                JAWORSKY             BARBARA               NY         98119863         WEITZ & LUXENBERG, PC
JANIGA               EDWARD                NY         10684800         WEITZ & LUXENBERG, PC                                JAWORSKY             CORY                  NY         98119863         WEITZ & LUXENBERG, PC
JANIGA               JAMES E               NY         10684800         WEITZ & LUXENBERG, PC                                JAY                  ARTHUR M              NY         10790199         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 960
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 295 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JAY                  HELEN I               NY         10790199         WEITZ & LUXENBERG, PC                                JERRETT              DONALD P              NY         10685900         WEITZ & LUXENBERG, PC
JAYNES               ELMO L                NY         10716702         WEITZ & LUXENBERG, PC                                JERZAK               DANIEL T              NY         10658102         WEITZ & LUXENBERG, PC
JEAN                 JOSEPH KARL           NY         12042901         WEITZ & LUXENBERG, PC                                JERZAK               DANIEL T              NY         11392602         WEITZ & LUXENBERG, PC
JEAN-LOUIS           RENE                  NY         10835100         WEITZ & LUXENBERG, PC                                JERZEWSKI            GERALDINE             NY         10096601         WEITZ & LUXENBERG, PC
JEAN-LOUIS           YANICK                NY         10835100         WEITZ & LUXENBERG, PC                                JERZEWSKI            MICHAEL J             NY         10096601         WEITZ & LUXENBERG, PC
JEANNOTT             GARY                  NY         10096901         WEITZ & LUXENBERG, PC                                JESENSKI             ROBERTA               NY         10534300         WEITZ & LUXENBERG, PC
JEANNOTT             PATRICIA              NY         10096901         WEITZ & LUXENBERG, PC                                JESENSKI             WILLIAM J             NY         10534300         WEITZ & LUXENBERG, PC
JEDERLINIC           JOHN                  NY         19010110         WEITZ & LUXENBERG, PC                                JESONOWSKI           GERARD C              NY         10099701         WEITZ & LUXENBERG, PC
JEDERLINIC           PATRICIA              NY         19010110         WEITZ & LUXENBERG, PC                                JESSIE               ADRIEN D              NY         99107956         WEITZ & LUXENBERG, PC
JEFFERS              DEBRA LYNN            NY         CV017531         WEITZ & LUXENBERG, PC                                JESSIE               DONNA                 NY         11026702         WEITZ & LUXENBERG, PC
JEFFERS              MELVIN LEON           NY         CV017531         WEITZ & LUXENBERG, PC                                JESSIE               LOIS                  NY         99107956         WEITZ & LUXENBERG, PC
JEFFERSON            WILLIAM OWEN          NY         99107792         WEITZ & LUXENBERG, PC                                JESSIE               WILLIAM               NY         11026702         WEITZ & LUXENBERG, PC
JEFFERSON            WILLIAM OWEN          NY         10779299         WEITZ & LUXENBERG, PC                                JESTER               CLARENCE              NY         11370604         WEITZ & LUXENBERG, PC
JEFFERY              MARGARET              NY         10680602         WEITZ & LUXENBERG, PC                                JESTER               DOROTHY ANN           NY         11370604         WEITZ & LUXENBERG, PC
JEFFERY              RALPH W               NY         10680602         WEITZ & LUXENBERG, PC                                JEZIORO              HENRY J               NY         I200110237       WEITZ & LUXENBERG, PC
JEFFORDS             JACQUELINE            NY         1903722016       WEITZ & LUXENBERG, PC                                JIGUERE              FRED P                NY         02113280         WEITZ & LUXENBERG, PC
JEFFORDS             LESLIE                NY         1903722016       WEITZ & LUXENBERG, PC                                JIMENEZ              ANDRES L              NY         1900412013       WEITZ & LUXENBERG, PC
JEFFORDS             MELVIN L              NY         1902572014       WEITZ & LUXENBERG, PC                                JIMENEZ              ELIAS                 NY         10835100         WEITZ & LUXENBERG, PC
JEFFREY              OSWALD C              NY         11986298         WEITZ & LUXENBERG, PC                                JIMENEZ              JULIA                 NY         10835100         WEITZ & LUXENBERG, PC
JEFFREY              OSWALD C              NY         10870801         WEITZ & LUXENBERG, PC                                JIMENEZ              MARGARET              NY         1900412013       WEITZ & LUXENBERG, PC
JEFFRIES             HENRY                 NY         CV013921         WEITZ & LUXENBERG, PC                                JIMINEZ              MODESTO F             NY         10099601         WEITZ & LUXENBERG, PC
JEFFRIES             JOHN J                NY         19007610         WEITZ & LUXENBERG, PC                                JIVIDEN              CYNTHIA M             NY         11246800         WEITZ & LUXENBERG, PC
JEFFRIES             MARY                  NY         19007610         WEITZ & LUXENBERG, PC                                JOACHIMSEN           MATILDA               NY         10099501         WEITZ & LUXENBERG, PC
JEFFRIES             SHARON ANN            NY         CV013921         WEITZ & LUXENBERG, PC                                JOACHIMSEN           RICHARD               NY         10099501         WEITZ & LUXENBERG, PC
JELEN                JOZEF                 NY         10096801         WEITZ & LUXENBERG, PC                                JOBE                 JOHN M                NY         10740502         WEITZ & LUXENBERG, PC
JEMISON              FRANK                 NY         10686400         WEITZ & LUXENBERG, PC                                JOBE                 RENEE                 NY         10740502         WEITZ & LUXENBERG, PC
JEMISON              MAGGIE                NY         10686400         WEITZ & LUXENBERG, PC                                JOCK                 DENISE                NY         12788702         WEITZ & LUXENBERG, PC
JENKINS              BARBARA               NY         19029810         WEITZ & LUXENBERG, PC                                JOCK                 DONALD W              NY         02106694         WEITZ & LUXENBERG, PC
JENKINS              BOBBY D               NY         01CIV3910        WEITZ & LUXENBERG, PC                                JOCK                 DONNA                 NY         10696302         WEITZ & LUXENBERG, PC
JENKINS              CHRISTINE             PA         190703065        WEITZ & LUXENBERG, PC                                JOCK                 ESTHER M              NY         02105718         WEITZ & LUXENBERG, PC
JENKINS              DONALD L              NY         10536400         WEITZ & LUXENBERG, PC                                JOCK                 ESTHER M              NY         11225102         WEITZ & LUXENBERG, PC
JENKINS              EDWARD                PA         190703065        WEITZ & LUXENBERG, PC                                JOCK                 HAROLD DAVID          NY         10696302         WEITZ & LUXENBERG, PC
JENKINS              ELLIS J               NY         10686300         WEITZ & LUXENBERG, PC                                JOCK                 IVA J                 NY         02106578         WEITZ & LUXENBERG, PC
JENKINS              ERNEST H              NY         CV020407         WEITZ & LUXENBERG, PC                                JOCK                 JOAN MARIE            NY         10645702         WEITZ & LUXENBERG, PC
JENKINS              HERBERT               NY         19029810         WEITZ & LUXENBERG, PC                                JOCK                 JOHN A                NY         10680602         WEITZ & LUXENBERG, PC
JENKINS              HERBERT M             NY         10686200         WEITZ & LUXENBERG, PC                                JOCK                 LEROY A               NY         02105718         WEITZ & LUXENBERG, PC
JENKINS              LEO                   NY         02106508         WEITZ & LUXENBERG, PC                                JOCK                 LEROY A               NY         11225102         WEITZ & LUXENBERG, PC
JENKINS              LYNN J                NY         10722102         WEITZ & LUXENBERG, PC                                JOCK                 RANDOLPH R            NY         12788702         WEITZ & LUXENBERG, PC
JENKINS              MARGUERITE            NY         1901462013       WEITZ & LUXENBERG, PC                                JOCK                 RONALD J              NY         02106578         WEITZ & LUXENBERG, PC
JENKINS              NANCY                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                JOCK                 STANLEY W             NY         10645702         WEITZ & LUXENBERG, PC
JENKINS              POLLY                 NY         CV020407         WEITZ & LUXENBERG, PC                                JOCK                 TIMOTHY J             NY         10680702         WEITZ & LUXENBERG, PC
JENKINS              SALLY A               NY         10536400         WEITZ & LUXENBERG, PC                                JOCKO                HENRY F               NY         110484           WEITZ & LUXENBERG, PC
JENKINS              TOMMY                 NY         02106508         WEITZ & LUXENBERG, PC                                JOE                  ALMA JOAN             NY         10870801         WEITZ & LUXENBERG, PC
JENKINS              VIVIAN A              NY         10686300         WEITZ & LUXENBERG, PC                                JOE                  PETER                 NY         10870801         WEITZ & LUXENBERG, PC
JENKINS              WILLIAM               NY         1901462013       WEITZ & LUXENBERG, PC                                JOERGER              AUSTIN C              NY         10697308         WEITZ & LUXENBERG, PC
JENKS                RONALD                NY         12693402         WEITZ & LUXENBERG, PC                                JOERGER              JAMES                 NY         10697308         WEITZ & LUXENBERG, PC
JENKS                SUSAN                 NY         12693402         WEITZ & LUXENBERG, PC                                JOERGER              THERESA               NY         10697308         WEITZ & LUXENBERG, PC
JENNINGS             ANDREW                NY         10096701         WEITZ & LUXENBERG, PC                                JOHANSEN             CARMELLA E            NY         12444502         WEITZ & LUXENBERG, PC
JENNINGS             CAROLANN              NY         10074103         WEITZ & LUXENBERG, PC                                JOHANSEN             GEORGE L              NY         12444502         WEITZ & LUXENBERG, PC
JENNINGS             ERVIN                 NY         19033010         WEITZ & LUXENBERG, PC                                JOHANSEN             JEAN                  NY         1900602019       WEITZ & LUXENBERG, PC
JENNINGS             EVELYNA               NY         19033010         WEITZ & LUXENBERG, PC                                JOHANSEN             LARRY J               NY         1900602019       WEITZ & LUXENBERG, PC
JENNINGS             JOHN RICHARD          NY         10535601         WEITZ & LUXENBERG, PC                                JOHANSON             CECILIA               NY         12039101         WEITZ & LUXENBERG, PC
JENNINGS             LINDA                 NY         10096701         WEITZ & LUXENBERG, PC                                JOHANSON             GUSTAVE               NY         12039101         WEITZ & LUXENBERG, PC
JENNINGS             MARY ANN              NY         1901522018       WEITZ & LUXENBERG, PC                                JOHANSSON            CAROL                 NY         1904482013       WEITZ & LUXENBERG, PC
JENNINGS             MATTHEW R             NY         10535601         WEITZ & LUXENBERG, PC                                JOHANSSON            GUSTAV                NY         10685800         WEITZ & LUXENBERG, PC
JENNINGS             RICHARD T             NY         10074103         WEITZ & LUXENBERG, PC                                JOHANSSON            HAROLD A              NY         1904482013       WEITZ & LUXENBERG, PC
JENNINGS             THOMAS E              NY         1901522018       WEITZ & LUXENBERG, PC                                JOHNS                CLAYTON               NY         10587602         WEITZ & LUXENBERG, PC
JENSEN               ELAINE                NY         11705600         WEITZ & LUXENBERG, PC                                JOHNS                DOROTHY               NY         10587602         WEITZ & LUXENBERG, PC
JENSEN               ELEANOR               NY         01111220         WEITZ & LUXENBERG, PC                                JOHNS                DOYLE JOE             NY         CV020406         WEITZ & LUXENBERG, PC
JENSEN               ERIK                  NY         10686100         WEITZ & LUXENBERG, PC                                JOHNS                KENNETH E             NY         1901882018       WEITZ & LUXENBERG, PC
JENSEN               JAMES R               NY         11705600         WEITZ & LUXENBERG, PC                                JOHNS                KENNETH E             NY         CV084473         WEITZ & LUXENBERG, PC
JENSEN               JOSEPH D              NY         11705600         WEITZ & LUXENBERG, PC                                JOHNS                MAVIS                 NY         CV020406         WEITZ & LUXENBERG, PC
JENSEN               ROBERT                NY         01111220         WEITZ & LUXENBERG, PC                                JOHNS                ZELDA                 NY         1901882018       WEITZ & LUXENBERG, PC
JENSEN               WILFORD               NY         01111228         WEITZ & LUXENBERG, PC                                JOHNSEN              ANN                   NY         10098701         WEITZ & LUXENBERG, PC
JENTZ                JOHN JOSEPH           NY         10716802         WEITZ & LUXENBERG, PC                                JOHNSEN              ARNOLD E              NY         10534500         WEITZ & LUXENBERG, PC
JENTZ                PAULINE               NY         10716802         WEITZ & LUXENBERG, PC                                JOHNSEN              GERTRUDE F            NY         10534500         WEITZ & LUXENBERG, PC
JEPPESEN             ELLEN                 NY         10686000         WEITZ & LUXENBERG, PC                                JOHNSEN              JOHN T                NY         10098701         WEITZ & LUXENBERG, PC
JEPPESEN             WILLIAM J             NY         10686000         WEITZ & LUXENBERG, PC                                JOHNSON              ABE                   NY         10534600         WEITZ & LUXENBERG, PC
JERLA                MATTHEW B             NY         11096400         WEITZ & LUXENBERG, PC                                JOHNSON              AGATHA                NY         10686700         WEITZ & LUXENBERG, PC
JERLA                MATTHEW B             NY         10835100         WEITZ & LUXENBERG, PC                                JOHNSON              AGNES                 NY         CV021466         WEITZ & LUXENBERG, PC
JERLES               VELMA H               NY         12330101         WEITZ & LUXENBERG, PC                                JOHNSON              ALFRED HOUSTON        NY         CV013921         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 961
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 296 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JOHNSON              ALLEN U               NY         CV021466         WEITZ & LUXENBERG, PC                                JOHNSON              JUANITA               NY         12731102         WEITZ & LUXENBERG, PC
JOHNSON              ANDREW                NY         02106580         WEITZ & LUXENBERG, PC                                JOHNSON              JUNE                  NY         19028110         WEITZ & LUXENBERG, PC
JOHNSON              ANDREW                NY         11324302         WEITZ & LUXENBERG, PC                                JOHNSON              KATHELENE             NY         CV013921         WEITZ & LUXENBERG, PC
JOHNSON              ANDREW WILLIAM        NY         10685700         WEITZ & LUXENBERG, PC                                JOHNSON              KENNETH               NY         11096600         WEITZ & LUXENBERG, PC
JOHNSON              ANGUS                 NY         11159403         WEITZ & LUXENBERG, PC                                JOHNSON              KENNETH               NY         10835100         WEITZ & LUXENBERG, PC
JOHNSON              ANNIE                 NY         10534900         WEITZ & LUXENBERG, PC                                JOHNSON              KENNETH A             NY         10534700         WEITZ & LUXENBERG, PC
JOHNSON              BEATRICE E            NY         04CIV1524        WEITZ & LUXENBERG, PC                                JOHNSON              LAUREL                NY         1901392016       WEITZ & LUXENBERG, PC
JOHNSON              BENJAMIN F            DE         N18C09095ASB     WEITZ & LUXENBERG, PC                                JOHNSON              LEOLA                 NY         99107951         WEITZ & LUXENBERG, PC
JOHNSON              BETTY                 NY         CV042782         WEITZ & LUXENBERG, PC                                JOHNSON              LESSIE                NY         10099201         WEITZ & LUXENBERG, PC
JOHNSON              BOB D                 NY         10561104         WEITZ & LUXENBERG, PC                                JOHNSON              LINDA                 NY         10740002         WEITZ & LUXENBERG, PC
JOHNSON              BRUCE                 NY         02106690         WEITZ & LUXENBERG, PC                                JOHNSON              LINDA                 NY         11449805         WEITZ & LUXENBERG, PC
JOHNSON              CALVIN M              NY         1902272018       WEITZ & LUXENBERG, PC                                JOHNSON              LINDA A               NY         11704000         WEITZ & LUXENBERG, PC
JOHNSON              CAROLYN               NY         CV017876         WEITZ & LUXENBERG, PC                                JOHNSON              LORI                  NY         02106580         WEITZ & LUXENBERG, PC
JOHNSON              CHARLIE               NY         CV021243         WEITZ & LUXENBERG, PC                                JOHNSON              LORI                  NY         11324302         WEITZ & LUXENBERG, PC
JOHNSON              CHESTER               NY         10099301         WEITZ & LUXENBERG, PC                                JOHNSON              LYDIA                 NY         11986798         WEITZ & LUXENBERG, PC
JOHNSON              CLAIRE                NY         02106690         WEITZ & LUXENBERG, PC                                JOHNSON              MARCY A               NY         10086703         WEITZ & LUXENBERG, PC
JOHNSON              COLUMBUS              NY         19002310         WEITZ & LUXENBERG, PC                                JOHNSON              MARGARET              NY         10808700         WEITZ & LUXENBERG, PC
JOHNSON              CONNIE                NY         10685400         WEITZ & LUXENBERG, PC                                JOHNSON              MARGARET              NY         99122192         WEITZ & LUXENBERG, PC
JOHNSON              CYNTHIA               NY         11123201         WEITZ & LUXENBERG, PC                                JOHNSON              MARIA                 NY         10098901         WEITZ & LUXENBERG, PC
JOHNSON              DANIEL                NY         10685600         WEITZ & LUXENBERG, PC                                JOHNSON              MARION                NY         CV021321         WEITZ & LUXENBERG, PC
JOHNSON              DELILAH L             NY         CV021243         WEITZ & LUXENBERG, PC                                JOHNSON              MARTHA                NY         01111235         WEITZ & LUXENBERG, PC
JOHNSON              DELOIS T              NY         19002310         WEITZ & LUXENBERG, PC                                JOHNSON              MARY                  NY         10680802         WEITZ & LUXENBERG, PC
JOHNSON              DIANA A               NY         01108009         WEITZ & LUXENBERG, PC                                JOHNSON              MARY ANN              NY         10073103         WEITZ & LUXENBERG, PC
JOHNSON              DONALD E              NY         11356702         WEITZ & LUXENBERG, PC                                JOHNSON              MARY ANN              NY         10515803         WEITZ & LUXENBERG, PC
JOHNSON              DONALD E              NY         12731102         WEITZ & LUXENBERG, PC                                JOHNSON              MARY JANE             NY         10099001         WEITZ & LUXENBERG, PC
JOHNSON              DOUGLAS V             NY         10685500         WEITZ & LUXENBERG, PC                                JOHNSON              MARY LOUISE           NY         10687000         WEITZ & LUXENBERG, PC
JOHNSON              EARL D                NY         10086703         WEITZ & LUXENBERG, PC                                JOHNSON              MAUREEN               NY         CV041397         WEITZ & LUXENBERG, PC
JOHNSON              EDDIE JR              NY         10795899         WEITZ & LUXENBERG, PC                                JOHNSON              MERLE E               NY         10099001         WEITZ & LUXENBERG, PC
JOHNSON              EDNA                  NY         11065802         WEITZ & LUXENBERG, PC                                JOHNSON              MILDRED               NY         CV013921         WEITZ & LUXENBERG, PC
JOHNSON              EILEEN                NY         10685600         WEITZ & LUXENBERG, PC                                JOHNSON              MILDRED               NY         10685500         WEITZ & LUXENBERG, PC
JOHNSON              ELEANORE              NY         11096600         WEITZ & LUXENBERG, PC                                JOHNSON              MINNIE                NY         12129400         WEITZ & LUXENBERG, PC
JOHNSON              ELEANORE              NY         10835100         WEITZ & LUXENBERG, PC                                JOHNSON              MINNIE                NY         I20012526        WEITZ & LUXENBERG, PC
JOHNSON              ELIZABETH             NY         02106693         WEITZ & LUXENBERG, PC                                JOHNSON              NANCY                 NY         10099301         WEITZ & LUXENBERG, PC
JOHNSON              ELVAN                 NY         1901582017       WEITZ & LUXENBERG, PC                                JOHNSON              OSCAR Y               NY         11986798         WEITZ & LUXENBERG, PC
JOHNSON              ERNEST                NY         11238200         WEITZ & LUXENBERG, PC                                JOHNSON              OTIS BERNARD          NY         11065802         WEITZ & LUXENBERG, PC
JOHNSON              ETHEL                 NY         10329002         WEITZ & LUXENBERG, PC                                JOHNSON              PAUL D                NY         02106693         WEITZ & LUXENBERG, PC
JOHNSON              EUGENE A              NY         10685400         WEITZ & LUXENBERG, PC                                JOHNSON              RALPH O               NY         1901392016       WEITZ & LUXENBERG, PC
JOHNSON              EVELENA               NY         10250702         WEITZ & LUXENBERG, PC                                JOHNSON              REGINALD              NY         1900052019       WEITZ & LUXENBERG, PC
JOHNSON              EVELYN                NY         11238200         WEITZ & LUXENBERG, PC                                JOHNSON              RICHARD J             NY         10378104         WEITZ & LUXENBERG, PC
JOHNSON              FLOYD                 NY         11449805         WEITZ & LUXENBERG, PC                                JOHNSON              ROBERT                NY         10098801         WEITZ & LUXENBERG, PC
JOHNSON              FRANKLIN              NY         10099201         WEITZ & LUXENBERG, PC                                JOHNSON              ROBERT                NY         10098901         WEITZ & LUXENBERG, PC
JOHNSON              FRANKLIN D            NY         CV042782         WEITZ & LUXENBERG, PC                                JOHNSON              ROBERT HOUSTON        NY         CV013921         WEITZ & LUXENBERG, PC
JOHNSON              GARY E                NY         19028110         WEITZ & LUXENBERG, PC                                JOHNSON              ROBERT L              NY         10716802         WEITZ & LUXENBERG, PC
JOHNSON              GARY O                NY         11704000         WEITZ & LUXENBERG, PC                                JOHNSON              ROBERT W              NY         10571702         WEITZ & LUXENBERG, PC
JOHNSON              GENEVA P              NY         01CIV3901        WEITZ & LUXENBERG, PC                                JOHNSON              RONALD E              NY         10740502         WEITZ & LUXENBERG, PC
JOHNSON              GEORGE                NY         01122139         WEITZ & LUXENBERG, PC                                JOHNSON              RONALD G              NY         11123201         WEITZ & LUXENBERG, PC
JOHNSON              GERALD D              NY         02106707         WEITZ & LUXENBERG, PC                                JOHNSON              ROOSEVELT             NY         10534900         WEITZ & LUXENBERG, PC
JOHNSON              GILBERT               NY         CV021321         WEITZ & LUXENBERG, PC                                JOHNSON              RUBIN                 NY         01111235         WEITZ & LUXENBERG, PC
JOHNSON              GLEANISH              NY         10571702         WEITZ & LUXENBERG, PC                                JOHNSON              RUBY                  NY         10670402         WEITZ & LUXENBERG, PC
JOHNSON              GORDON P              NY         12129400         WEITZ & LUXENBERG, PC                                JOHNSON              RUTH                  NY         12038801         WEITZ & LUXENBERG, PC
JOHNSON              GRACE                 NY         11986998         WEITZ & LUXENBERG, PC                                JOHNSON              SAMUEL                NY         CV015415         WEITZ & LUXENBERG, PC
JOHNSON              HANFORD ROBERT        NY         10073103         WEITZ & LUXENBERG, PC                                JOHNSON              SAMUEL G              NY         11986998         WEITZ & LUXENBERG, PC
JOHNSON              HANFORD ROBERT        NY         10515803         WEITZ & LUXENBERG, PC                                JOHNSON              SANDRA                NY         CV020405         WEITZ & LUXENBERG, PC
JOHNSON              HENRY L               NY         98119868         WEITZ & LUXENBERG, PC                                JOHNSON              SHARON                NY         10740502         WEITZ & LUXENBERG, PC
JOHNSON              HOLMON                NY         CV020405         WEITZ & LUXENBERG, PC                                JOHNSON              SHIRLEY               NY         10561104         WEITZ & LUXENBERG, PC
JOHNSON              HOWARD A              NY         10680602         WEITZ & LUXENBERG, PC                                JOHNSON              THELMA J              NY         10378104         WEITZ & LUXENBERG, PC
JOHNSON              HOWARD J              NY         10686800         WEITZ & LUXENBERG, PC                                JOHNSON              THEODORE              NY         CV041397         WEITZ & LUXENBERG, PC
JOHNSON              JW                    NY         04CIV1524        WEITZ & LUXENBERG, PC                                JOHNSON              THOMAS C              NY         10250702         WEITZ & LUXENBERG, PC
JOHNSON              JACQUELINE A          NY         01118260         WEITZ & LUXENBERG, PC                                JOHNSON              THOMAS P              NY         10740002         WEITZ & LUXENBERG, PC
JOHNSON              JAMES                 NY         10687000         WEITZ & LUXENBERG, PC                                JOHNSON              TONIA                 NY         12422602         WEITZ & LUXENBERG, PC
JOHNSON              JAMES R               NY         10329002         WEITZ & LUXENBERG, PC                                JOHNSON              VELPO                 NY         I20012526        WEITZ & LUXENBERG, PC
JOHNSON              JAMES R               NY         10670402         WEITZ & LUXENBERG, PC                                JOHNSON              VERONICA              NY         19004109         WEITZ & LUXENBERG, PC
JOHNSON              JANE C                NY         10615600         WEITZ & LUXENBERG, PC                                JOHNSON              VIRGINIA              NY         10534700         WEITZ & LUXENBERG, PC
JOHNSON              JANE C                NY         12198999         WEITZ & LUXENBERG, PC                                JOHNSON              WANDA P               NY         CV017576         WEITZ & LUXENBERG, PC
JOHNSON              JAY A                 NY         10686900         WEITZ & LUXENBERG, PC                                JOHNSON              WAYNE                 NY         10685600         WEITZ & LUXENBERG, PC
JOHNSON              JAY H                 NY         10099101         WEITZ & LUXENBERG, PC                                JOHNSON              WILL E                NY         99107951         WEITZ & LUXENBERG, PC
JOHNSON              JOAN M                NY         11159403         WEITZ & LUXENBERG, PC                                JOHNSON              WILLIAM               NY         11959901         WEITZ & LUXENBERG, PC
JOHNSON              JOHN P                NY         12038801         WEITZ & LUXENBERG, PC                                JOHNSON              WILLIAM               NY         01111229         WEITZ & LUXENBERG, PC
JOHNSON              JOSEPH                NY         10680802         WEITZ & LUXENBERG, PC                                JOHNSON              WILLIAM C             NY         19004109         WEITZ & LUXENBERG, PC
JOHNSON              JOYCE                 NY         10686900         WEITZ & LUXENBERG, PC                                JOHNSON              WILLIAM L             NY         CV017876         WEITZ & LUXENBERG, PC
JOHNSON              JUANITA               NY         11356702         WEITZ & LUXENBERG, PC                                JOHNSON              WILLIE                NY         CV021243         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 962
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 297 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JOHNSON              WILLIE J              NY         01CIV3901        WEITZ & LUXENBERG, PC                                JONES                HENDERSON             NY         CV017071         WEITZ & LUXENBERG, PC
JOHNSON              WILLIE LEE            NY         10795899         WEITZ & LUXENBERG, PC                                JONES                IDA G                 NY         02106694         WEITZ & LUXENBERG, PC
JOHNSON              WOODROW W             NY         10535000         WEITZ & LUXENBERG, PC                                JONES                IDA G                 NY         11466302         WEITZ & LUXENBERG, PC
JOHNSON MANN         CLARA LISA            NY         10405701         WEITZ & LUXENBERG, PC                                JONES                JAMES                 NY         10023203         WEITZ & LUXENBERG, PC
JOHNSTON             ARTHUR                NY         1901632017       WEITZ & LUXENBERG, PC                                JONES                JAMES                 NY         11978503         WEITZ & LUXENBERG, PC
JOHNSTON             CHARLES               NY         12094001         WEITZ & LUXENBERG, PC                                JONES                JAMES C               NY         11096800         WEITZ & LUXENBERG, PC
JOHNSTON             CHARLES               NY         01111223         WEITZ & LUXENBERG, PC                                JONES                JAMES C               NY         10835100         WEITZ & LUXENBERG, PC
JOHNSTON             EASTER                NY         12094001         WEITZ & LUXENBERG, PC                                JONES                JAMES EDWARD          NY         CV020403         WEITZ & LUXENBERG, PC
JOHNSTON             EASTER                NY         01111223         WEITZ & LUXENBERG, PC                                JONES                JAMES H               NY         10740002         WEITZ & LUXENBERG, PC
JOHNSTON             ELEANOR M             NY         1901632017       WEITZ & LUXENBERG, PC                                JONES                JAYNE                 NY         11017304         WEITZ & LUXENBERG, PC
JOHNSTON             FREDERICK J JR        NY         10686700         WEITZ & LUXENBERG, PC                                JONES                JEANETTE M            NY         10210603         WEITZ & LUXENBERG, PC
JOHNSTON             HOWARD DONALD         NY         10098601         WEITZ & LUXENBERG, PC                                JONES                JENNY                 NY         10710102         WEITZ & LUXENBERG, PC
JOHNSTON             JOHN W                NY         11344201         WEITZ & LUXENBERG, PC                                JONES                JERRY R               NY         01CIV3922        WEITZ & LUXENBERG, PC
JOHNSTON             KENT L                NY         1904892012       WEITZ & LUXENBERG, PC                                JONES                JESSE                 NY         CV017877         WEITZ & LUXENBERG, PC
JOHNSTON             MARTA                 NY         1904892012       WEITZ & LUXENBERG, PC                                JONES                JESSIE                NY         10710102         WEITZ & LUXENBERG, PC
JOHNSTON             MARY                  NY         10098601         WEITZ & LUXENBERG, PC                                JONES                JIMMY NATHAN          NY         CV017891         WEITZ & LUXENBERG, PC
JOHNSTON             VERONICA              NY         02122689         WEITZ & LUXENBERG, PC                                JONES                JOHN                  NY         12038901         WEITZ & LUXENBERG, PC
JOHNSTON             WILLIAM J             NY         02122689         WEITZ & LUXENBERG, PC                                JONES                JOHN W                NY         98119871         WEITZ & LUXENBERG, PC
JOHOSKY              ETHEL                 NY         11156304         WEITZ & LUXENBERG, PC                                JONES                KATHLEEN              NY         10535400         WEITZ & LUXENBERG, PC
JOHOSKY              WALTER                NY         11156304         WEITZ & LUXENBERG, PC                                JONES                KENNETH               NY         01CIV3922        WEITZ & LUXENBERG, PC
JOINER               BURLON A              NY         CV018335         WEITZ & LUXENBERG, PC                                JONES                LARRY JOHN            NY         11986598         WEITZ & LUXENBERG, PC
JOINER               JAMES                 DE         N18C12173ASB     WEITZ & LUXENBERG, PC                                JONES                LEW D                 NY         99107912         WEITZ & LUXENBERG, PC
JOINER               JOE A                 DE         N18C12173ASB     WEITZ & LUXENBERG, PC                                JONES                LILY MOORE            NY         10272801         WEITZ & LUXENBERG, PC
JOINER               MARVIN                DE         N18C12173ASB     WEITZ & LUXENBERG, PC                                JONES                LOUISE                NY         CV022197         WEITZ & LUXENBERG, PC
JOINER               MARY                  DE         N18C12173ASB     WEITZ & LUXENBERG, PC                                JONES                LYDIA                 NY         10074103         WEITZ & LUXENBERG, PC
JOINER               MERILENE              NY         1904882013       WEITZ & LUXENBERG, PC                                JONES                LYDIA                 NY         11978503         WEITZ & LUXENBERG, PC
JOINER               NATHANIEL             NY         1904882013       WEITZ & LUXENBERG, PC                                JONES                MARGARETTA            NY         10687700         WEITZ & LUXENBERG, PC
JOINER               ROBERT                DE         N18C12173ASB     WEITZ & LUXENBERG, PC                                JONES                MARIE                 NY         01CIV3910        WEITZ & LUXENBERG, PC
JOLINE               MISCHA                DE         N18C07139ASB     WEITZ & LUXENBERG, PC                                JONES                MARION V              NY         10733508         WEITZ & LUXENBERG, PC
JONAP                JEFFREY               NY         10098501         WEITZ & LUXENBERG, PC                                JONES                MARK SHERWOOD         NY         02105713         WEITZ & LUXENBERG, PC
JONAP                KATHLEEN              NY         10098501         WEITZ & LUXENBERG, PC                                JONES                MARTHA                NY         12143301         WEITZ & LUXENBERG, PC
JONAP                ROBERT S              NY         10098501         WEITZ & LUXENBERG, PC                                JONES                MAUREEN               NY         99107912         WEITZ & LUXENBERG, PC
JONAS                ROBERT F              NY         11096700         WEITZ & LUXENBERG, PC                                JONES                MAXINE                NY         10964002         WEITZ & LUXENBERG, PC
JONAS                ROBERT F              NY         10835100         WEITZ & LUXENBERG, PC                                JONES                MERCEREE H            NY         01CIV3905        WEITZ & LUXENBERG, PC
JONES                ALVIN                 NY         CV012136         WEITZ & LUXENBERG, PC                                JONES                PARNELLE              NY         11987098         WEITZ & LUXENBERG, PC
JONES                ANNIE                 NY         CV017877         WEITZ & LUXENBERG, PC                                JONES                PAT                   NY         CV017891         WEITZ & LUXENBERG, PC
JONES                BARBARA               NY         10740002         WEITZ & LUXENBERG, PC                                JONES                PATRICIA              NY         10687600         WEITZ & LUXENBERG, PC
JONES                BARBARA               NY         10687500         WEITZ & LUXENBERG, PC                                JONES                PATRICIA ANN          NY         11096800         WEITZ & LUXENBERG, PC
JONES                BARBARA R             NY         10587002         WEITZ & LUXENBERG, PC                                JONES                PATRICIA ANN          NY         10835100         WEITZ & LUXENBERG, PC
JONES                BETTY SUE             NY         CV012136         WEITZ & LUXENBERG, PC                                JONES                PHILIP JOHN           NY         02106694         WEITZ & LUXENBERG, PC
JONES                CAMILUS               NY         I20016813        WEITZ & LUXENBERG, PC                                JONES                PHILIP JOHN           NY         11466302         WEITZ & LUXENBERG, PC
JONES                CAROL                 NY         CV003590         WEITZ & LUXENBERG, PC                                JONES                RAYMOND               NY         00CIV1202        WEITZ & LUXENBERG, PC
JONES                CATHLEEN M            NY         10630199         WEITZ & LUXENBERG, PC                                JONES                REBECCA DARLENE       NY         02CIV1249        WEITZ & LUXENBERG, PC
JONES                CHARLES               NY         10074103         WEITZ & LUXENBERG, PC                                JONES                RICHARD LEONARD       NY         10687700         WEITZ & LUXENBERG, PC
JONES                CHARLES E             NY         10587002         WEITZ & LUXENBERG, PC                                JONES                RICHARD M             NY         10795399         WEITZ & LUXENBERG, PC
JONES                CHRISTIE              NY         01CIV3922        WEITZ & LUXENBERG, PC                                JONES                RICKY                 NY         02CIV1249        WEITZ & LUXENBERG, PC
JONES                CHRISTINA             NY         10680702         WEITZ & LUXENBERG, PC                                JONES                ROBERT                NY         10098401         WEITZ & LUXENBERG, PC
JONES                CLARENCE H            NY         10733508         WEITZ & LUXENBERG, PC                                JONES                ROBERT A              NY         10964002         WEITZ & LUXENBERG, PC
JONES                DAN                   NY         10535200         WEITZ & LUXENBERG, PC                                JONES                ROBERT D              NY         10535400         WEITZ & LUXENBERG, PC
JONES                DANIEL L              NY         10680702         WEITZ & LUXENBERG, PC                                JONES                ROBERT P              NY         11415403         WEITZ & LUXENBERG, PC
JONES                DAVID                 NY         I20016813        WEITZ & LUXENBERG, PC                                JONES                ROSE                  NY         CV020404         WEITZ & LUXENBERG, PC
JONES                DEBORAH               NY         12038901         WEITZ & LUXENBERG, PC                                JONES                ROSEVELT J            NY         10535500         WEITZ & LUXENBERG, PC
JONES                DIANE                 NY         10192701         WEITZ & LUXENBERG, PC                                JONES                SARAH N               NY         CV017071         WEITZ & LUXENBERG, PC
JONES                DONALD J              NY         10710102         WEITZ & LUXENBERG, PC                                JONES                SHEMIKIA              NY         01CIV3922        WEITZ & LUXENBERG, PC
JONES                DORIS                 NY         10795399         WEITZ & LUXENBERG, PC                                JONES                SHIRLEY               NY         CV018406         WEITZ & LUXENBERG, PC
JONES                EARL T                NY         11986598         WEITZ & LUXENBERG, PC                                JONES                SHIRLEY               NY         99107954         WEITZ & LUXENBERG, PC
JONES                EDDIE ERSHAL          NY         CIV006917        WEITZ & LUXENBERG, PC                                JONES                STUART                NY         99107912         WEITZ & LUXENBERG, PC
JONES                EDWIN E               NY         CV020404         WEITZ & LUXENBERG, PC                                JONES                THOMAS D              NY         10283902         WEITZ & LUXENBERG, PC
JONES                EDWIN F               NY         00CIV1202        WEITZ & LUXENBERG, PC                                JONES                THOMAS P              NY         10687600         WEITZ & LUXENBERG, PC
JONES                EULA KEEL             NY         19007211         WEITZ & LUXENBERG, PC                                JONES                VERN M                NY         99107954         WEITZ & LUXENBERG, PC
JONES                FRANCES               NY         10710102         WEITZ & LUXENBERG, PC                                JONES                WALTER R              NY         11463002         WEITZ & LUXENBERG, PC
JONES                GALE                  NY         CV022197         WEITZ & LUXENBERG, PC                                JONES                WANDA                 NY         01CIV3910        WEITZ & LUXENBERG, PC
JONES                GARY                  NY         01CIV3920        WEITZ & LUXENBERG, PC                                JONES                WARD E                NY         10587002         WEITZ & LUXENBERG, PC
JONES                GERALD E              NY         11017304         WEITZ & LUXENBERG, PC                                JONES                WILKIE                NY         CV017577         WEITZ & LUXENBERG, PC
JONES                GLADYS                NY         01CIV3897        WEITZ & LUXENBERG, PC                                JONES                WILLIAM               NY         10192701         WEITZ & LUXENBERG, PC
JONES                GLADYS                NY         11986598         WEITZ & LUXENBERG, PC                                JONES                WILLIAM L             NY         10687500         WEITZ & LUXENBERG, PC
JONES                GLENN E               NY         10210603         WEITZ & LUXENBERG, PC                                JONES                WILLIE EARL           NY         CV003590         WEITZ & LUXENBERG, PC
JONES                HARRY A               NY         11350103         WEITZ & LUXENBERG, PC                                JONES                WILLIE J              NY         11987098         WEITZ & LUXENBERG, PC
JONES                HATTIE MAE            NY         11463002         WEITZ & LUXENBERG, PC                                JONES                WILMA                 NY         00CIV1202        WEITZ & LUXENBERG, PC
JONES                HAZEL                 NY         11415403         WEITZ & LUXENBERG, PC                                JONES                WINSTON               NY         01111228         WEITZ & LUXENBERG, PC
JONES                HEDWIG BARBARA        NY         01CIV3920        WEITZ & LUXENBERG, PC                                JONES                WINSTON W             NY         12143301         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 963
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 298 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JONNSON              LAVERNE E             NY         12329701         WEITZ & LUXENBERG, PC                                JURZYSTA             SHARON                NY         11817501         WEITZ & LUXENBERG, PC
JORDAN               ANTONIETTA SANTA      NY         11386199         WEITZ & LUXENBERG, PC                                JUST                 LAWRENCE              NY         10192201         WEITZ & LUXENBERG, PC
JORDAN               BETH J                NY         02106578         WEITZ & LUXENBERG, PC                                JUST                 SUSAN AHEARN          NY         10192201         WEITZ & LUXENBERG, PC
JORDAN               CECIL                 NY         10535600         WEITZ & LUXENBERG, PC                                JUSTICE              ALFRED                NY         19036910         WEITZ & LUXENBERG, PC
JORDAN               CHARLES P             NY         02106578         WEITZ & LUXENBERG, PC                                JUSTICE              LAURA                 NY         19036910         WEITZ & LUXENBERG, PC
JORDAN               CHERYL                NY         11096900         WEITZ & LUXENBERG, PC                                JUTH                 HAROLD J              NY         1903722014       WEITZ & LUXENBERG, PC
JORDAN               CHERYL                NY         10835100         WEITZ & LUXENBERG, PC                                JUUL                 CONSTANCE             NY         10686500         WEITZ & LUXENBERG, PC
JORDAN               DANIEL C              NY         11096900         WEITZ & LUXENBERG, PC                                JUUL                 JACK ALLEN            NY         10686500         WEITZ & LUXENBERG, PC
JORDAN               DANIEL C              NY         10835100         WEITZ & LUXENBERG, PC                                JUZDOWSKI            FELIX M               NY         11679607         WEITZ & LUXENBERG, PC
JORDAN               DOROTHY               NY         02106508         WEITZ & LUXENBERG, PC                                JUZDOWSKI            PATRICIA              NY         11679607         WEITZ & LUXENBERG, PC
JORDAN               JOYCE                 NY         10535600         WEITZ & LUXENBERG, PC                                JUZWIAK              JOSEPH                NY         12788802         WEITZ & LUXENBERG, PC
JORDAN               MERLYN G              NY         12038901         WEITZ & LUXENBERG, PC                                JUZWIAK              JOYCE                 NY         12788802         WEITZ & LUXENBERG, PC
JORDAN               RICHARD W             NY         02106508         WEITZ & LUXENBERG, PC                                KACHOCKI             EDWARD B              NY         1904852013       WEITZ & LUXENBERG, PC
JORDAN               THEOPHILUS            NY         12038901         WEITZ & LUXENBERG, PC                                KACHOCKI             NANCY                 NY         1904852013       WEITZ & LUXENBERG, PC
JORQUERA             FERNANDO              NY         12039001         WEITZ & LUXENBERG, PC                                KACZEWICZ            GEORGE JOSEPH         NY         10689000         WEITZ & LUXENBERG, PC
JORQUERA             FERNANDO              NY         12392201         WEITZ & LUXENBERG, PC                                KACZEWICZ            MARY                  NY         10689000         WEITZ & LUXENBERG, PC
JORQUERA VELASQUEZ   SUSAN                 NY         12039001         WEITZ & LUXENBERG, PC                                KACZMARCZYK          ALFRED                NY         I20019426        WEITZ & LUXENBERG, PC
JORQUERA VELASQUEZ   SUSAN                 NY         12392201         WEITZ & LUXENBERG, PC                                KACZMARCZYK          ALFRED                NY         02120709         WEITZ & LUXENBERG, PC
JOSEPH               ALVA                  NY         12727702         WEITZ & LUXENBERG, PC                                KACZMARCZYK          CHESTER R             NY         I20019142        WEITZ & LUXENBERG, PC
JOSEPH               ANNE T                NY         10687400         WEITZ & LUXENBERG, PC                                KACZMARCZYK          CHESTER R             NY         02120615         WEITZ & LUXENBERG, PC
JOSEPH               ATHANASIUS A          NY         11704100         WEITZ & LUXENBERG, PC                                KACZMARCZYK          DOROTHY A             NY         I20019142        WEITZ & LUXENBERG, PC
JOSEPH               ETHEL                 NY         12727702         WEITZ & LUXENBERG, PC                                KACZMARCZYK          DOROTHY A             NY         02120615         WEITZ & LUXENBERG, PC
JOSEPH               GABRIEL PETER         NY         10687400         WEITZ & LUXENBERG, PC                                KACZMARCZYK          PATRICIA ANN          NY         I20019426        WEITZ & LUXENBERG, PC
JOSEPH               MARY HENRIETTA        NY         11704100         WEITZ & LUXENBERG, PC                                KACZMARCZYK          PATRICIA ANN          NY         02120709         WEITZ & LUXENBERG, PC
JOSHUA               LEONARD               NY         12119297         WEITZ & LUXENBERG, PC                                KACZOROWSKI          PAULETTE              NY         02106690         WEITZ & LUXENBERG, PC
JOSLYN               GENE E                NY         10795599         WEITZ & LUXENBERG, PC                                KACZOROWSKI          WALTER J              NY         02106690         WEITZ & LUXENBERG, PC
JOSLYN               MARIE                 NY         10795599         WEITZ & LUXENBERG, PC                                KACZYNSKI            EDWARD A              NY         99107789         WEITZ & LUXENBERG, PC
JOSS                 AMELIA B              NY         99107950         WEITZ & LUXENBERG, PC                                KACZYNSKI            SOPHIE A              NY         99107789         WEITZ & LUXENBERG, PC
JOSS                 STEVEN W              NY         99107950         WEITZ & LUXENBERG, PC                                KAHANE               CLAIRE                NY         1902802019       WEITZ & LUXENBERG, PC
JOST                 MICHAEL J             NY         1900462019       WEITZ & LUXENBERG, PC                                KAHANE               DAVID                 NY         1902802019       WEITZ & LUXENBERG, PC
JOST                 THOMAS F              NY         1900462019       WEITZ & LUXENBERG, PC                                KAHEN                HARRY                 NY         10192101         WEITZ & LUXENBERG, PC
JOUNGBLOOD           KEITH W               NY         1902172018       WEITZ & LUXENBERG, PC                                KAHEN                JESSICA               NY         10192101         WEITZ & LUXENBERG, PC
JOURDAIN             KARL                  NY         10192601         WEITZ & LUXENBERG, PC                                KAHL                 ARTHUR                NY         10192001         WEITZ & LUXENBERG, PC
JOURDAIN             KATHLEEN              NY         10192601         WEITZ & LUXENBERG, PC                                KAHL                 HENRY V               NY         10192001         WEITZ & LUXENBERG, PC
JOURDANAIS           EDWARD                NY         10587002         WEITZ & LUXENBERG, PC                                KAHL                 IDA                   NY         10192001         WEITZ & LUXENBERG, PC
JOURDANAIS           PATRICIA A            NY         10587002         WEITZ & LUXENBERG, PC                                KAHN                 EDY                   NY         01111226         WEITZ & LUXENBERG, PC
JOY                  ROBERT E              NY         10645702         WEITZ & LUXENBERG, PC                                KAHN                 HILDEGARD             NY         01111226         WEITZ & LUXENBERG, PC
JOYCE                ALBERT JAMES          NY         11841099         WEITZ & LUXENBERG, PC                                KAIDAS               CONNIE                NY         10870801         WEITZ & LUXENBERG, PC
JOYCE                HARRIET               NY         12043001         WEITZ & LUXENBERG, PC                                KAIDAS               VICTOR D              NY         10870801         WEITZ & LUXENBERG, PC
JOYCE                HARRIET               NY         10031702         WEITZ & LUXENBERG, PC                                KAIMEN               LAILA M               NY         11074106         WEITZ & LUXENBERG, PC
JOYCE                HELEN                 NY         11841099         WEITZ & LUXENBERG, PC                                KAIMEN               SAMIR                 NY         11074106         WEITZ & LUXENBERG, PC
JOYCE                JOAN                  NY         10192401         WEITZ & LUXENBERG, PC                                KAIRNS               MARGARET              NY         12043301         WEITZ & LUXENBERG, PC
JOYCE                JOHN                  NY         1901182016       WEITZ & LUXENBERG, PC                                KAIRNS               RONALD P              NY         12043301         WEITZ & LUXENBERG, PC
JOYCE                JOHN F                NY         19018209         WEITZ & LUXENBERG, PC                                KAISER               ARLEAN M              NY         11097000         WEITZ & LUXENBERG, PC
JOYCE                LEO T                 NY         10571402         WEITZ & LUXENBERG, PC                                KAISER               ARLEAN M              NY         10835100         WEITZ & LUXENBERG, PC
JOYCE                LEO T                 NY         11181202         WEITZ & LUXENBERG, PC                                KAISER               EDWIN B               NY         10587002         WEITZ & LUXENBERG, PC
JOYCE                MARIA                 NY         1901182016       WEITZ & LUXENBERG, PC                                KAISER               JOHN R                NY         11097000         WEITZ & LUXENBERG, PC
JOYCE                PETER                 NY         10192401         WEITZ & LUXENBERG, PC                                KAISER               JOHN R                NY         10835100         WEITZ & LUXENBERG, PC
JOYCE                RAYMOND G             NY         12043001         WEITZ & LUXENBERG, PC                                KAISER               KIMBERLY              NY         10671700         WEITZ & LUXENBERG, PC
JOYCE                RAYMOND G             NY         10031702         WEITZ & LUXENBERG, PC                                KAISER               MONICA                NY         10191901         WEITZ & LUXENBERG, PC
JOYCE                ROSEANN               NY         10571402         WEITZ & LUXENBERG, PC                                KAISER               ROBERT                NY         10191901         WEITZ & LUXENBERG, PC
JOYCE                ROSEANN               NY         11181202         WEITZ & LUXENBERG, PC                                KAKAR                NAZIFA                NY         1900642015       WEITZ & LUXENBERG, PC
JUDD                 BARBARA               NY         10790799         WEITZ & LUXENBERG, PC                                KALAKA               LEONARD               NY         12038403         WEITZ & LUXENBERG, PC
JUDD                 HENRY R               NY         10790799         WEITZ & LUXENBERG, PC                                KALFA                ANNE                  NY         10191801         WEITZ & LUXENBERG, PC
JUDISKY              JOSEPHINE A           NY         10654001         WEITZ & LUXENBERG, PC                                KALFA                WILLIAM               NY         10191801         WEITZ & LUXENBERG, PC
JUDKINS              THOMAS LEE            NY         12039001         WEITZ & LUXENBERG, PC                                KALIES               KAREN DELANEY         NY         10670802         WEITZ & LUXENBERG, PC
JULIUS               MARTHA                NY         10687300         WEITZ & LUXENBERG, PC                                KALIES               KAREN DELANEY         NY         11605602         WEITZ & LUXENBERG, PC
JULIUS               VINCENT WALTON        NY         10687300         WEITZ & LUXENBERG, PC                                KALIES               THOMAS J              NY         10670802         WEITZ & LUXENBERG, PC
JUMPER               JAMES EDWARD          NY         01111221         WEITZ & LUXENBERG, PC                                KALIES               THOMAS J              NY         11605602         WEITZ & LUXENBERG, PC
JUMPER               MARIE                 NY         01111221         WEITZ & LUXENBERG, PC                                KALIVAS              GEORGE P              NY         19001209         WEITZ & LUXENBERG, PC
JUNTA                LORRAINE              NY         10687200         WEITZ & LUXENBERG, PC                                KALKBRENNER          LEO                   NY         19025009         WEITZ & LUXENBERG, PC
JUNTA                LOUIS R               NY         10687200         WEITZ & LUXENBERG, PC                                KALLMANN             THOMAS R              NY         12039301         WEITZ & LUXENBERG, PC
JURAIN               JOHN S                NY         10687100         WEITZ & LUXENBERG, PC                                KALMIKOFF            MARION E              NY         12345801         WEITZ & LUXENBERG, PC
JURAIN               NANCY                 NY         10687100         WEITZ & LUXENBERG, PC                                KALMIKOFF            MARION E              NY         01111227         WEITZ & LUXENBERG, PC
JURAIN               STANLEY               NY         10687100         WEITZ & LUXENBERG, PC                                KALVAR               ALYSSA MICHELE        NY         10998702         WEITZ & LUXENBERG, PC
JURANIC              JOANNE                NY         10790699         WEITZ & LUXENBERG, PC                                KAMELGARN            EMMA                  NY         12603402         WEITZ & LUXENBERG, PC
JURANIC              JOSEPH                NY         10790699         WEITZ & LUXENBERG, PC                                KAMELGARN            JAKOB                 NY         12603402         WEITZ & LUXENBERG, PC
JURANICH             ANNE                  NY         99108196         WEITZ & LUXENBERG, PC                                KAMEN                HARVEY B              NY         00123070         WEITZ & LUXENBERG, PC
JURANICH             FRANK T               NY         99108196         WEITZ & LUXENBERG, PC                                KAMINSKI             DOREEN                NY         10722002         WEITZ & LUXENBERG, PC
JURANICH             PETER F               NY         10192301         WEITZ & LUXENBERG, PC                                KAMINSKI             EDWARD F              NY         98119828         WEITZ & LUXENBERG, PC
JURZYSTA             HEINRICH J            NY         11817501         WEITZ & LUXENBERG, PC                                KAMINSKI             HARRY E               NY         98119826         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 964
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 299 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KAMINSKI             HELEN                 NY         11982598         WEITZ & LUXENBERG, PC                                KARACH               PETER J               NY         11097100         WEITZ & LUXENBERG, PC
KAMINSKI             JOSEPH R              NY         02106709         WEITZ & LUXENBERG, PC                                KARACH               PETER J               NY         10835100         WEITZ & LUXENBERG, PC
KAMINSKI             LINDA                 NY         98119826         WEITZ & LUXENBERG, PC                                KARALUS              DANIEL                NY         10931003         WEITZ & LUXENBERG, PC
KAMINSKI             LORRAINE              NY         02106709         WEITZ & LUXENBERG, PC                                KARALUS              ROSE MARIE            NY         10931003         WEITZ & LUXENBERG, PC
KAMINSKI             MARIAN                NY         02106709         WEITZ & LUXENBERG, PC                                KARETNY              ARLEEN                NY         10688700         WEITZ & LUXENBERG, PC
KAMINSKI             MAX                   NY         11982598         WEITZ & LUXENBERG, PC                                KARETNY              PAUL                  NY         10688700         WEITZ & LUXENBERG, PC
KAMINSKI             PAUL                  NY         10722002         WEITZ & LUXENBERG, PC                                KARLIC               ANTE                  NY         01111229         WEITZ & LUXENBERG, PC
KAMINSKI             RICHARD               NY         10023403         WEITZ & LUXENBERG, PC                                KARLSON              RICHARD               NY         10870801         WEITZ & LUXENBERG, PC
KAMINSKI             RICHARD C             NY         6147042017       WEITZ & LUXENBERG, PC                                KARLSON              ROSE                  NY         10870801         WEITZ & LUXENBERG, PC
KAMINSKI             RICHARD F             NY         02106709         WEITZ & LUXENBERG, PC                                KARMON               PERRY W               NY         11179404         WEITZ & LUXENBERG, PC
KAMINSKY             JOHN R                NY         11561301         WEITZ & LUXENBERG, PC                                KARMON               SYLVIA                NY         11179404         WEITZ & LUXENBERG, PC
KAMINSKY             JOHN R                NY         01111218         WEITZ & LUXENBERG, PC                                KARNES               JAMES C               NY         00CIV1202        WEITZ & LUXENBERG, PC
KAMINSKY             SUSAN M               NY         11561301         WEITZ & LUXENBERG, PC                                KARNES               JUSTINE               NY         10835100         WEITZ & LUXENBERG, PC
KAMINSKY             SUSAN M               NY         01111218         WEITZ & LUXENBERG, PC                                KARNES               MARY                  NY         00CIV1202        WEITZ & LUXENBERG, PC
KANDEFER             ELEANOR               NY         19025609         WEITZ & LUXENBERG, PC                                KARNES               ROBERT D              NY         10835100         WEITZ & LUXENBERG, PC
KANDEFER             MATTHEW               NY         19025609         WEITZ & LUXENBERG, PC                                KARNIEWICZ           CAROL M               NY         11696504         WEITZ & LUXENBERG, PC
KANE                 DEBORAH ANN           NY         10237904         WEITZ & LUXENBERG, PC                                KARNIEWICZ           JOHN M                NY         11696504         WEITZ & LUXENBERG, PC
KANE                 DINAH                 NY         12038901         WEITZ & LUXENBERG, PC                                KARP                 DONALD FRANK          NY         10716902         WEITZ & LUXENBERG, PC
KANE                 DINAH                 NY         10001202         WEITZ & LUXENBERG, PC                                KARPEN               JEAN                  NY         1903372015       WEITZ & LUXENBERG, PC
KANE                 DONALD VINCENT        NY         10688900         WEITZ & LUXENBERG, PC                                KARPEN               LEONARD               NY         1903372015       WEITZ & LUXENBERG, PC
KANE                 DOROTHY               NY         12779402         WEITZ & LUXENBERG, PC                                KARPIN               GLADYS                NY         01111236         WEITZ & LUXENBERG, PC
KANE                 ERIC                  NY         11565007         WEITZ & LUXENBERG, PC                                KARPIN               LAWRENCE              NY         01111236         WEITZ & LUXENBERG, PC
KANE                 FLORENCE S            NY         10237904         WEITZ & LUXENBERG, PC                                KARTAGENER           BERNARD R             NY         10688600         WEITZ & LUXENBERG, PC
KANE                 JAMES VINCENT         NY         98119839         WEITZ & LUXENBERG, PC                                KARTEN               SHELLY A              NY         10632306         WEITZ & LUXENBERG, PC
KANE                 JEAN                  NY         12668202         WEITZ & LUXENBERG, PC                                KASPRZYK             EUGENE                NY         10688500         WEITZ & LUXENBERG, PC
KANE                 JOAN                  NY         99108190         WEITZ & LUXENBERG, PC                                KASPRZYK             MARY ANN              NY         10688500         WEITZ & LUXENBERG, PC
KANE                 JUDY                  NY         02106579         WEITZ & LUXENBERG, PC                                KASSLER              REGINA                NY         10429500         WEITZ & LUXENBERG, PC
KANE                 JULIAN                NY         11565007         WEITZ & LUXENBERG, PC                                KASTEN               PAULA M               DE         N18C12251ASB     WEITZ & LUXENBERG, PC
KANE                 JULIUS                NY         12038901         WEITZ & LUXENBERG, PC                                KASZEWSKI            AUDREY J              NY         02106580         WEITZ & LUXENBERG, PC
KANE                 JULIUS                NY         10001202         WEITZ & LUXENBERG, PC                                KATES                LESLIE D              PA         120800197        WEITZ & LUXENBERG, PC
KANE                 MURIEL                NY         11565007         WEITZ & LUXENBERG, PC                                KATRA                CHARLES G             NY         99107791         WEITZ & LUXENBERG, PC
KANE                 RANDALL               NY         11565007         WEITZ & LUXENBERG, PC                                KATRA                LORETTA               NY         99107791         WEITZ & LUXENBERG, PC
KANE                 ROBERT F              NY         02106579         WEITZ & LUXENBERG, PC                                KATRA                THEODORE T            NY         99107791         WEITZ & LUXENBERG, PC
KANE                 SAM                   NY         12779402         WEITZ & LUXENBERG, PC                                KATUNA               ADELE                 NY         1904522013       WEITZ & LUXENBERG, PC
KANE                 THOMAS                NY         12668202         WEITZ & LUXENBERG, PC                                KATUNA               CHARLES               NY         1904522013       WEITZ & LUXENBERG, PC
KANE                 VINCENT D             NY         99108190         WEITZ & LUXENBERG, PC                                KATUSHA              BARBARA               NY         12801902         WEITZ & LUXENBERG, PC
KANE                 VIOLET L              NY         10688900         WEITZ & LUXENBERG, PC                                KATUSHA              EDWARD J              NY         12801902         WEITZ & LUXENBERG, PC
KANE                 WALTER T              NY         10237904         WEITZ & LUXENBERG, PC                                KATZ                 ALAN J                NY         1903352013       WEITZ & LUXENBERG, PC
KANEL                MARTHA                NY         01CIV7365        WEITZ & LUXENBERG, PC                                KATZ                 MICHAEL M             NY         12043001         WEITZ & LUXENBERG, PC
KANEL                WILLIAM G             NY         01CIV7365        WEITZ & LUXENBERG, PC                                KATZ                 SUZANNE               NY         12043001         WEITZ & LUXENBERG, PC
KANEY                CAROL                 NY         1902282018       WEITZ & LUXENBERG, PC                                KATZ                 WENDY                 NY         1903352013       WEITZ & LUXENBERG, PC
KANEY                DENNIS                NY         1902282018       WEITZ & LUXENBERG, PC                                KAUFFMAN             CAROL E               PA         191002146        WEITZ & LUXENBERG, PC
KANIA                ANDREW                NY         10191601         WEITZ & LUXENBERG, PC                                KAUFFMAN             GEORGE F              PA         191002146        WEITZ & LUXENBERG, PC
KANIA                FRANK                 NY         10191501         WEITZ & LUXENBERG, PC                                KAUFMAN              ALLAN                 NY         10688400         WEITZ & LUXENBERG, PC
KANIA                YVONNE                NY         10191601         WEITZ & LUXENBERG, PC                                KAUFMAN              CHARLES A             NY         10191401         WEITZ & LUXENBERG, PC
KANIASCZAK           ANDREW                NY         12034302         WEITZ & LUXENBERG, PC                                KAUFMAN              GRACE ANETA           NY         10191401         WEITZ & LUXENBERG, PC
KANKOLENSKI          MARY SCOTT            NY         98119837         WEITZ & LUXENBERG, PC                                KAUFMAN              MARILYN               NY         10688400         WEITZ & LUXENBERG, PC
KANKOLENSKI          WILLIAM P             NY         98119837         WEITZ & LUXENBERG, PC                                KAUFMAN              MICHAEL H             NY         11581101         WEITZ & LUXENBERG, PC
KANWISHER            JOAN                  NY         10877903         WEITZ & LUXENBERG, PC                                KAUFMAN              MICHAEL H             NY         01111222         WEITZ & LUXENBERG, PC
KANWISHER            RAYMAOND G            NY         10877903         WEITZ & LUXENBERG, PC                                KAUFMAN              MILTON W              NY         10386302         WEITZ & LUXENBERG, PC
KAPINOS              DOLORES               NY         99108191         WEITZ & LUXENBERG, PC                                KAUFMAN              PHYLLIS               NY         10386302         WEITZ & LUXENBERG, PC
KAPINOS              HARRY S               NY         99108191         WEITZ & LUXENBERG, PC                                KAUFMAN              SOL                   NY         11581101         WEITZ & LUXENBERG, PC
KAPL                 GEORGE                NY         19043010         WEITZ & LUXENBERG, PC                                KAUFMAN              SOL                   NY         01111222         WEITZ & LUXENBERG, PC
KAPL                 VIRGINIA              NY         19043010         WEITZ & LUXENBERG, PC                                KAUFMANN             FRED H                NY         99108200         WEITZ & LUXENBERG, PC
KAPLAN               ADRIAN                NY         1902962017       WEITZ & LUXENBERG, PC                                KAUFMANN             LOIS                  NY         99108200         WEITZ & LUXENBERG, PC
KAPLAN               FLORENCE              NY         1902962017       WEITZ & LUXENBERG, PC                                KAUKUS               BERNARD S             NY         10587202         WEITZ & LUXENBERG, PC
KAPLAN               HELEN                 NY         10535800         WEITZ & LUXENBERG, PC                                KAVANA               JAMES                 NY         11159003         WEITZ & LUXENBERG, PC
KAPLAN               IRVING                NY         10535800         WEITZ & LUXENBERG, PC                                KAVANA               JAMES                 NY         11203403         WEITZ & LUXENBERG, PC
KAPLAN               JEFFREY L             NY         01111221         WEITZ & LUXENBERG, PC                                KAVANAGH             FRANCES B             NY         10073103         WEITZ & LUXENBERG, PC
KAPLAN               KAREN                 NY         01111221         WEITZ & LUXENBERG, PC                                KAVANAGH             FRANCES B             NY         10515703         WEITZ & LUXENBERG, PC
KAPLAN               SELMA                 NY         10733108         WEITZ & LUXENBERG, PC                                KAVANAGH             HENRY JOSEPH          NY         99107899         WEITZ & LUXENBERG, PC
KAPLAN               THEODORE              NY         10733108         WEITZ & LUXENBERG, PC                                KAVANAGH             MARY                  NY         99107899         WEITZ & LUXENBERG, PC
KAPLAN-MANN          MARCIA                NY         10901400         WEITZ & LUXENBERG, PC                                KAVANAGH             TERENCE               NY         10073103         WEITZ & LUXENBERG, PC
KAPP                 CHARLOTTE             NY         10688800         WEITZ & LUXENBERG, PC                                KAVANAGH             TERENCE               NY         10515703         WEITZ & LUXENBERG, PC
KAPP                 ERNEST A              NY         10688800         WEITZ & LUXENBERG, PC                                KAWALEK              CASIMER               NY         10587502         WEITZ & LUXENBERG, PC
KAPP                 STANLEY R             NY         01111219         WEITZ & LUXENBERG, PC                                KAY                  JOHN M                NY         11327802         WEITZ & LUXENBERG, PC
KAPP                 WILLIAM               NY         11159003         WEITZ & LUXENBERG, PC                                KAY                  STEPHANIE             NY         11327802         WEITZ & LUXENBERG, PC
KAPPUS               GEORGE                NY         19034610         WEITZ & LUXENBERG, PC                                KAYANTAS             JOHN                  NY         1902512013       WEITZ & LUXENBERG, PC
KAPUTA               GERALDINE A           NY         11074001         WEITZ & LUXENBERG, PC                                KAYANTAS             SOPHIA                NY         1902512013       WEITZ & LUXENBERG, PC
KARACH               CATHERINE L           NY         11097100         WEITZ & LUXENBERG, PC                                KAYANTAS             STAMATIOS             NY         1902512013       WEITZ & LUXENBERG, PC
KARACH               CATHERINE L           NY         10835100         WEITZ & LUXENBERG, PC                                KAYE                 CAROL ANN             NY         98119888         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 965
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 300 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KAYE                 SIDNEY C              NY         98119888         WEITZ & LUXENBERG, PC                                KEIL                 KENNETH L             NY         12043201         WEITZ & LUXENBERG, PC
KAYLOR               MARIE                 NY         12038801         WEITZ & LUXENBERG, PC                                KEIL                 LOIS                  NY         12043201         WEITZ & LUXENBERG, PC
KAYLOR               THOMAS J              NY         12038801         WEITZ & LUXENBERG, PC                                KEINGARSKY           SUSAN                 NY         11268700         WEITZ & LUXENBERG, PC
KAYOLA               JOSEPH C              NY         11095500         WEITZ & LUXENBERG, PC                                KEIRLE               FRANK                 NY         19019311         WEITZ & LUXENBERG, PC
KAYOLA               JOSEPH C              NY         10835100         WEITZ & LUXENBERG, PC                                KEIRLE               VERA MARIE            NY         19019311         WEITZ & LUXENBERG, PC
KAYOLA               PATRICIA              NY         11095500         WEITZ & LUXENBERG, PC                                KEISER               ETHEL LYNN            NY         12039201         WEITZ & LUXENBERG, PC
KAYOLA               PATRICIA              NY         10835100         WEITZ & LUXENBERG, PC                                KEISER               RICHARD K             NY         12039201         WEITZ & LUXENBERG, PC
KAZAK                EMILY LESUK           NY         10533200         WEITZ & LUXENBERG, PC                                KEITH                FRED                  NY         02106690         WEITZ & LUXENBERG, PC
KAZAK                WILLIAM M             NY         10533200         WEITZ & LUXENBERG, PC                                KEITH                FRED                  NY         11379502         WEITZ & LUXENBERG, PC
KAZELESKI            RHONDA M              NY         99114487         WEITZ & LUXENBERG, PC                                KEITH                GERALD E              NY         10710102         WEITZ & LUXENBERG, PC
KAZMERCZAK           ARTHUR CHESTER        NY         11026802         WEITZ & LUXENBERG, PC                                KEITH                SHIRLEY               NY         02106690         WEITZ & LUXENBERG, PC
KAZMERCZAK           ARTHUR CHESTER        NY         12571502         WEITZ & LUXENBERG, PC                                KEITH                SHIRLEY               NY         11379502         WEITZ & LUXENBERG, PC
KAZMERCZAK           THERESA E             NY         12571502         WEITZ & LUXENBERG, PC                                KELCHLIN             ALVIN E               NY         10191101         WEITZ & LUXENBERG, PC
KAZMERCZAK           THERESA E             NY         11026802         WEITZ & LUXENBERG, PC                                KELCHLIN             CAROLYN               NY         10191101         WEITZ & LUXENBERG, PC
KAZUKIETAS           BARBARA L             NY         12039501         WEITZ & LUXENBERG, PC                                KELLEHER             EILEEN A              NY         12043301         WEITZ & LUXENBERG, PC
KAZUKIETAS           STANLEY J             NY         12039501         WEITZ & LUXENBERG, PC                                KELLEHER             EILEEN A              NY         12418401         WEITZ & LUXENBERG, PC
KAZUKIEWICZ          PATRICK M             NY         02106578         WEITZ & LUXENBERG, PC                                KELLEHER             ELIZABETH             NY         01121099         WEITZ & LUXENBERG, PC
KEAHEY               GAIL PATRICIA         NY         11607802         WEITZ & LUXENBERG, PC                                KELLEHER             ELIZABETH             NY         10533600         WEITZ & LUXENBERG, PC
KEANE                JOHN                  NY         10191201         WEITZ & LUXENBERG, PC                                KELLEHER             JAMES F               NY         01121099         WEITZ & LUXENBERG, PC
KEARNEY              FRANK M               NY         98119886         WEITZ & LUXENBERG, PC                                KELLEHER             JOHN                  NY         10533600         WEITZ & LUXENBERG, PC
KEARNEY              KATHERINE B           NY         98119886         WEITZ & LUXENBERG, PC                                KELLEHER             JOHN H                NY         10533600         WEITZ & LUXENBERG, PC
KEARNEY              PACELLI               NY         10688300         WEITZ & LUXENBERG, PC                                KELLEHER             JOHN J                NY         12043301         WEITZ & LUXENBERG, PC
KEARNEY              PATRICK J             NY         10688300         WEITZ & LUXENBERG, PC                                KELLEHER             JOHN J                NY         12418401         WEITZ & LUXENBERG, PC
KEARNS               DEBORAH               NY         10533300         WEITZ & LUXENBERG, PC                                KELLEHER             LIBERINA              NY         10533600         WEITZ & LUXENBERG, PC
KEARNS               JAMES F               NY         01111223         WEITZ & LUXENBERG, PC                                KELLENBERGER         EILEEN T              NY         10645500         WEITZ & LUXENBERG, PC
KEARNS               JOHN J                NY         10533300         WEITZ & LUXENBERG, PC                                KELLER               CALVIN W              NY         I200110275       WEITZ & LUXENBERG, PC
KEATING              CHARLES               NY         11985398         WEITZ & LUXENBERG, PC                                KELLER               CALVIN W              NY         02120615         WEITZ & LUXENBERG, PC
KEAYS                MICHAEL T             NY         02113280         WEITZ & LUXENBERG, PC                                KELLER               CLYDE J               NY         12668502         WEITZ & LUXENBERG, PC
KEAZER               MCDONALD              NY         11095600         WEITZ & LUXENBERG, PC                                KELLER               MARIE                 NY         99108181         WEITZ & LUXENBERG, PC
KEAZER               MCDONALD              NY         10835100         WEITZ & LUXENBERG, PC                                KELLER               PATRICIA A            NY         12668502         WEITZ & LUXENBERG, PC
KECK                 ANDREW W              NY         10688200         WEITZ & LUXENBERG, PC                                KELLER               RICHARD D             NY         99108181         WEITZ & LUXENBERG, PC
KEDEN                HANS F                NY         10073103         WEITZ & LUXENBERG, PC                                KELLEY               CATHERINE             NY         10533700         WEITZ & LUXENBERG, PC
KEDEN                URSULA                NY         10073103         WEITZ & LUXENBERG, PC                                KELLEY               CHARLES               NY         19003711         WEITZ & LUXENBERG, PC
KEDRON               LOIS                  NY         99108278         WEITZ & LUXENBERG, PC                                KELLEY               DAVID D               NY         10533700         WEITZ & LUXENBERG, PC
KEDRON               WALTER                NY         99108278         WEITZ & LUXENBERG, PC                                KELLEY               DOROTHY               NY         01CIV3910        WEITZ & LUXENBERG, PC
KEECH                ELLEN L               NY         12668102         WEITZ & LUXENBERG, PC                                KELLEY               GRANT                 NY         01CIV3910        WEITZ & LUXENBERG, PC
KEECH                LARRY                 NY         12668102         WEITZ & LUXENBERG, PC                                KELLEY               JOHNNY L              NY         01CIV3910        WEITZ & LUXENBERG, PC
KEEGAN               ALFRED R              NY         10740202         WEITZ & LUXENBERG, PC                                KELLEY               LUE G                 NY         01CIV3900        WEITZ & LUXENBERG, PC
KEEGAN               ALFRED R              NY         11333402         WEITZ & LUXENBERG, PC                                KELLEY               LYNN                  NY         02105718         WEITZ & LUXENBERG, PC
KEEGAN               BERNARD               NY         19032009         WEITZ & LUXENBERG, PC                                KELLEY               LYNN                  NY         11225102         WEITZ & LUXENBERG, PC
KEEGAN               CHARLES               NY         10193800         WEITZ & LUXENBERG, PC                                KELLEY               MARY                  NY         19003711         WEITZ & LUXENBERG, PC
KEEGAN               DOLORES               NY         19032009         WEITZ & LUXENBERG, PC                                KELLEY               NADINE L              NY         10754201         WEITZ & LUXENBERG, PC
KEEGAN               GRACE                 NY         10688100         WEITZ & LUXENBERG, PC                                KELLEY               PAUL J                NY         10740402         WEITZ & LUXENBERG, PC
KEEGAN               HELEN M               NY         10193800         WEITZ & LUXENBERG, PC                                KELLEY               PHYLLIS A             NY         01111236         WEITZ & LUXENBERG, PC
KEEGAN               JAMES A               NY         10688100         WEITZ & LUXENBERG, PC                                KELLEY               PHYLLIS A             NY         CV022372         WEITZ & LUXENBERG, PC
KEEGAN               JAMES J               NY         98119904         WEITZ & LUXENBERG, PC                                KELLISON             CAROL J               NY         02106694         WEITZ & LUXENBERG, PC
KEEGAN               PATRICIA              NY         98119904         WEITZ & LUXENBERG, PC                                KELLISON             CAROL J               NY         11466302         WEITZ & LUXENBERG, PC
KEEGAN               RICHARD               NY         10688100         WEITZ & LUXENBERG, PC                                KELLNER              CHARLES L             NY         12039301         WEITZ & LUXENBERG, PC
KEEL                 ROBERT                NY         19007211         WEITZ & LUXENBERG, PC                                KELLNER              CHARLES L             NY         10366402         WEITZ & LUXENBERG, PC
KEELE                FRANK MARRION         NY         00CIV1202        WEITZ & LUXENBERG, PC                                KELLNER              DOLORES               NY         12039301         WEITZ & LUXENBERG, PC
KEELE                GERALD J              NY         1903452016       WEITZ & LUXENBERG, PC                                KELLNER              DOLORES               NY         10366402         WEITZ & LUXENBERG, PC
KEELE                NELDA SUE             NY         00CIV1202        WEITZ & LUXENBERG, PC                                KELLOGG              BONNIE                NY         02105718         WEITZ & LUXENBERG, PC
KEELE                SHARON                NY         1903452016       WEITZ & LUXENBERG, PC                                KELLOGG              DALE MAURICE          NY         02105718         WEITZ & LUXENBERG, PC
KEELER               KENNETH ROBERT        NY         10587502         WEITZ & LUXENBERG, PC                                KELLOGG              PATRICIA              NY         02106694         WEITZ & LUXENBERG, PC
KEELER               LILY                  NY         10587502         WEITZ & LUXENBERG, PC                                KELLOGG              ROBERT                NY         02106694         WEITZ & LUXENBERG, PC
KEENAN               JOHN C                NY         12788702         WEITZ & LUXENBERG, PC                                KELLY                ANNE                  NY         10670801         WEITZ & LUXENBERG, PC
KEENAN               LINDA                 NY         12788702         WEITZ & LUXENBERG, PC                                KELLY                ANNIE N               NY         11158903         WEITZ & LUXENBERG, PC
KEENEY-PAYNE         LINDA L               NY         10541699         WEITZ & LUXENBERG, PC                                KELLY                ANNIE N               NY         11208703         WEITZ & LUXENBERG, PC
KEESE                BETTY                 NY         10688000         WEITZ & LUXENBERG, PC                                KELLY                BETTY A               NY         10710602         WEITZ & LUXENBERG, PC
KEESE                ROBERT C              NY         10688000         WEITZ & LUXENBERG, PC                                KELLY                BRIAN JOHN            NY         01109479         WEITZ & LUXENBERG, PC
KEETON               HARRY                 NY         98119902         WEITZ & LUXENBERG, PC                                KELLY                CAROLE                NY         1903752015       WEITZ & LUXENBERG, PC
KEETON               LILLIAN               NY         98119902         WEITZ & LUXENBERG, PC                                KELLY                CATHERINE             NY         10646900         WEITZ & LUXENBERG, PC
KEEVERN              FRANK J               NY         10533400         WEITZ & LUXENBERG, PC                                KELLY                CHARLES               NY         10710602         WEITZ & LUXENBERG, PC
KEEVERN              KAREN                 NY         10533400         WEITZ & LUXENBERG, PC                                KELLY                DIANE J               NY         12270001         WEITZ & LUXENBERG, PC
KEHER                ELLEN                 NY         12198799         WEITZ & LUXENBERG, PC                                KELLY                DONALD CHARLES        NY         10835100         WEITZ & LUXENBERG, PC
KEHER                HENRY                 NY         12198799         WEITZ & LUXENBERG, PC                                KELLY                DONALD W              NY         10828399         WEITZ & LUXENBERG, PC
KEHOE                DALE R                NY         11787203         WEITZ & LUXENBERG, PC                                KELLY                DORA K                NY         10740202         WEITZ & LUXENBERG, PC
KEHOE                DONALD W              NY         11787203         WEITZ & LUXENBERG, PC                                KELLY                EDWARD J              NY         12042901         WEITZ & LUXENBERG, PC
KEHRBAUM             ILENE                 NY         10647100         WEITZ & LUXENBERG, PC                                KELLY                EDWARD J              NY         10646900         WEITZ & LUXENBERG, PC
KEHRBAUM             ROBERT J              NY         10647100         WEITZ & LUXENBERG, PC                                KELLY                EDWIN J               NY         I20018970        WEITZ & LUXENBERG, PC
KEIGHRON             EDWARD H              NY         10740502         WEITZ & LUXENBERG, PC                                KELLY                EDWIN J               NY         02122046         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 966
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 301 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KELLY                EILEEN                NY         99108186         WEITZ & LUXENBERG, PC                                KENNEDY              DANIEL                NY         1903862016       WEITZ & LUXENBERG, PC
KELLY                ELLEN                 NY         12305801         WEITZ & LUXENBERG, PC                                KENNEDY              DANIEL                NY         10834803         WEITZ & LUXENBERG, PC
KELLY                ELLEN                 NY         01111230         WEITZ & LUXENBERG, PC                                KENNEDY              DEBORAH J             NY         10618400         WEITZ & LUXENBERG, PC
KELLY                EUGENE A              NY         11027002         WEITZ & LUXENBERG, PC                                KENNEDY              DENNIS H              NY         10534000         WEITZ & LUXENBERG, PC
KELLY                EUGENE A              NY         12670802         WEITZ & LUXENBERG, PC                                KENNEDY              DONALD V              NY         02107007         WEITZ & LUXENBERG, PC
KELLY                EVELYN                NY         10818499         WEITZ & LUXENBERG, PC                                KENNEDY              DONNA                 NY         12039001         WEITZ & LUXENBERG, PC
KELLY                FAY L                 NY         99108282         WEITZ & LUXENBERG, PC                                KENNEDY              EDWARD J              NY         99108189         WEITZ & LUXENBERG, PC
KELLY                FRANCIS               NY         02107007         WEITZ & LUXENBERG, PC                                KENNEDY              ELAINE                NY         02107007         WEITZ & LUXENBERG, PC
KELLY                FRANCIS P             NY         CV045431         WEITZ & LUXENBERG, PC                                KENNEDY              ELIZABETH A           NY         10189801         WEITZ & LUXENBERG, PC
KELLY                FREDERICK C           NY         10818399         WEITZ & LUXENBERG, PC                                KENNEDY              HELEN                 NY         02113566         WEITZ & LUXENBERG, PC
KELLY                FREDRICK P            NY         99108282         WEITZ & LUXENBERG, PC                                KENNEDY              JAMES J               NY         1904112018       WEITZ & LUXENBERG, PC
KELLY                GEORGE A              NY         10023203         WEITZ & LUXENBERG, PC                                KENNEDY              JAMES J               NY         12039001         WEITZ & LUXENBERG, PC
KELLY                GEORGE P              NY         11158903         WEITZ & LUXENBERG, PC                                KENNEDY              JAMES M               NY         98119907         WEITZ & LUXENBERG, PC
KELLY                GEORGE P              NY         11208703         WEITZ & LUXENBERG, PC                                KENNEDY              JOANN                 NY         CV023073         WEITZ & LUXENBERG, PC
KELLY                GLENN                 NY         10669502         WEITZ & LUXENBERG, PC                                KENNEDY              JOHN A                NY         10189801         WEITZ & LUXENBERG, PC
KELLY                HELEN                 NY         11704200         WEITZ & LUXENBERG, PC                                KENNEDY              JOHN B                NY         11775000         WEITZ & LUXENBERG, PC
KELLY                JAMES                 NY         10871808         WEITZ & LUXENBERG, PC                                KENNEDY              JOSEPH W              NY         02113566         WEITZ & LUXENBERG, PC
KELLY                JAMES J               NY         1903752015       WEITZ & LUXENBERG, PC                                KENNEDY              JUDITH                NY         02106694         WEITZ & LUXENBERG, PC
KELLY                JAMES J               NY         10658102         WEITZ & LUXENBERG, PC                                KENNEDY              MARGUERITE            NY         10534000         WEITZ & LUXENBERG, PC
KELLY                JAMES J               NY         10871808         WEITZ & LUXENBERG, PC                                KENNEDY              MARION                NY         01111225         WEITZ & LUXENBERG, PC
KELLY                JOHN                  NY         10397507         WEITZ & LUXENBERG, PC                                KENNEDY              MARION                NY         11807901         WEITZ & LUXENBERG, PC
KELLY                JOHN A                NY         10818499         WEITZ & LUXENBERG, PC                                KENNEDY              PATRICIA              NY         1904112018       WEITZ & LUXENBERG, PC
KELLY                JOHN F                NY         11623101         WEITZ & LUXENBERG, PC                                KENNEDY              PATRICK               NY         10829299         WEITZ & LUXENBERG, PC
KELLY                JOHN F                NY         01111221         WEITZ & LUXENBERG, PC                                KENNEDY              PHILIP                NY         01111225         WEITZ & LUXENBERG, PC
KELLY                JOSEPH F              NY         10571702         WEITZ & LUXENBERG, PC                                KENNEDY              PHILIP                NY         11807901         WEITZ & LUXENBERG, PC
KELLY                JOSEPH M              NY         11990998         WEITZ & LUXENBERG, PC                                KENNEDY              RICHARD D             NY         02106694         WEITZ & LUXENBERG, PC
KELLY                JOSEPH P              NY         99108186         WEITZ & LUXENBERG, PC                                KENNEDY              RICHARD F             NY         11744405         WEITZ & LUXENBERG, PC
KELLY                JULIA M               NY         12042901         WEITZ & LUXENBERG, PC                                KENNEDY              ROBERT L              NY         10074103         WEITZ & LUXENBERG, PC
KELLY                KATHLEEN              NY         01111222         WEITZ & LUXENBERG, PC                                KENNEDY              ROSEMARY              NY         1903862016       WEITZ & LUXENBERG, PC
KELLY                LENA                  NY         10646800         WEITZ & LUXENBERG, PC                                KENNEDY              ROSEMARY              NY         10834803         WEITZ & LUXENBERG, PC
KELLY                LENA                  NY         12305901         WEITZ & LUXENBERG, PC                                KENNEDY              TANYA                 NY         1900932013       WEITZ & LUXENBERG, PC
KELLY                LINDA                 NY         11027002         WEITZ & LUXENBERG, PC                                KENNEDY              WILLIAM               NY         11775000         WEITZ & LUXENBERG, PC
KELLY                LINDA A               NY         12670802         WEITZ & LUXENBERG, PC                                KENNEDY              WINIFRED              NY         99108197         WEITZ & LUXENBERG, PC
KELLY                LOUISE M              NY         10397507         WEITZ & LUXENBERG, PC                                KENNEY               BARRY A               NY         10534100         WEITZ & LUXENBERG, PC
KELLY                MARIE C               NY         10818399         WEITZ & LUXENBERG, PC                                KENNEY               BLANCHARD O           NY         11026902         WEITZ & LUXENBERG, PC
KELLY                MARY                  NY         10658102         WEITZ & LUXENBERG, PC                                KENNEY               BLANCHARD O           NY         12679002         WEITZ & LUXENBERG, PC
KELLY                MARY                  NY         11623101         WEITZ & LUXENBERG, PC                                KENNEY               BRIAN J               NY         10189601         WEITZ & LUXENBERG, PC
KELLY                MARY                  NY         01111221         WEITZ & LUXENBERG, PC                                KENNEY               ELLEN                 NY         10646600         WEITZ & LUXENBERG, PC
KELLY                MARY L                NY         01CIV3910        WEITZ & LUXENBERG, PC                                KENNEY               MARION                NY         11026902         WEITZ & LUXENBERG, PC
KELLY                MARY M                NY         10646700         WEITZ & LUXENBERG, PC                                KENNEY               MARION                NY         12679002         WEITZ & LUXENBERG, PC
KELLY                MICHAEL               NY         01111222         WEITZ & LUXENBERG, PC                                KENNEY               PETER F               NY         10646600         WEITZ & LUXENBERG, PC
KELLY                MICHAEL O             NY         12305801         WEITZ & LUXENBERG, PC                                KENNEY               ROSS J                NY         10571402         WEITZ & LUXENBERG, PC
KELLY                MICHAEL O             NY         01111230         WEITZ & LUXENBERG, PC                                KENNINGTON           JOSEPH                NY         01111226         WEITZ & LUXENBERG, PC
KELLY                MICHAEL P             NY         99108187         WEITZ & LUXENBERG, PC                                KENNINGTON           MARY                  NY         01111226         WEITZ & LUXENBERG, PC
KELLY                MIRIAM R              NY         10828399         WEITZ & LUXENBERG, PC                                KENNON               EDWARD MICHAEL        NY         99108285         WEITZ & LUXENBERG, PC
KELLY                PATRICIA              NY         11990998         WEITZ & LUXENBERG, PC                                KENNON               JEAN ELAINE           NY         99108285         WEITZ & LUXENBERG, PC
KELLY                PATRICIA ANN          NY         CV045431         WEITZ & LUXENBERG, PC                                KENNY                ANTOENETTE            NY         10646500         WEITZ & LUXENBERG, PC
KELLY                PATRICK J             NY         10646800         WEITZ & LUXENBERG, PC                                KENNY                LUCILLE               NY         12433902         WEITZ & LUXENBERG, PC
KELLY                PATRICK J             NY         12305901         WEITZ & LUXENBERG, PC                                KENNY                MICHAEL P             NY         10646500         WEITZ & LUXENBERG, PC
KELLY                PATRICK J             NY         01111230         WEITZ & LUXENBERG, PC                                KENNY                ROBERT                NY         12433902         WEITZ & LUXENBERG, PC
KELLY                PETER E               NY         10670801         WEITZ & LUXENBERG, PC                                KENT                 CARL                  NY         10646400         WEITZ & LUXENBERG, PC
KELLY                RAFFAELA              NY         10190701         WEITZ & LUXENBERG, PC                                KENT                 ELIZABETH             NY         10646300         WEITZ & LUXENBERG, PC
KELLY                RICHARD               NY         10190701         WEITZ & LUXENBERG, PC                                KENT                 JOHN H                NY         10646300         WEITZ & LUXENBERG, PC
KELLY                ROBERT A              NY         10190601         WEITZ & LUXENBERG, PC                                KENT                 LYNNE                 NY         10632201         WEITZ & LUXENBERG, PC
KELLY                SARA                  NY         10835100         WEITZ & LUXENBERG, PC                                KENYON               DONALD F              NY         10699902         WEITZ & LUXENBERG, PC
KELLY                SUSAN                 NY         02107007         WEITZ & LUXENBERG, PC                                KENYON               KENNETH W             NY         10944700         WEITZ & LUXENBERG, PC
KELLY                THOMAS J              NY         10646700         WEITZ & LUXENBERG, PC                                KENYON               KENNETH W             NY         99122187         WEITZ & LUXENBERG, PC
KELLY                TIMOTHY J             NY         11704200         WEITZ & LUXENBERG, PC                                KEOHAN               KIMBERLY              NY         1901742012       WEITZ & LUXENBERG, PC
KEMPSTER             CLAUDE                NY         01121099         WEITZ & LUXENBERG, PC                                KEOSKEY              CARMEL                NY         10189501         WEITZ & LUXENBERG, PC
KEMPSTER             KAREN                 NY         01121099         WEITZ & LUXENBERG, PC                                KEOSKEY              JOHN                  NY         10189501         WEITZ & LUXENBERG, PC
KENCEL               JOSEPH                NY         12693402         WEITZ & LUXENBERG, PC                                KEOUGH               ANTOINETTE            NY         10829199         WEITZ & LUXENBERG, PC
KENDRICK             BONNIE                NY         00CIV3589        WEITZ & LUXENBERG, PC                                KEOUGH               JAMES T               NY         10829199         WEITZ & LUXENBERG, PC
KENDRICK             CHARLES EDWARD        NY         00CIV3589        WEITZ & LUXENBERG, PC                                KEOWN                LISA                  NY         CV024537         WEITZ & LUXENBERG, PC
KENDZIOR             FERDINAND             NY         10533900         WEITZ & LUXENBERG, PC                                KEPHART              JEAN                  NY         10740202         WEITZ & LUXENBERG, PC
KENDZIOR             RITA                  NY         10533900         WEITZ & LUXENBERG, PC                                KEPHART              JEAN                  NY         11333202         WEITZ & LUXENBERG, PC
KENDZIORA            CHESTER               NY         10870801         WEITZ & LUXENBERG, PC                                KEPHART              LORAINE               NY         10189401         WEITZ & LUXENBERG, PC
KENDZIORA            VIRGINIA              NY         10870801         WEITZ & LUXENBERG, PC                                KEPHART              NANCY                 NY         10189401         WEITZ & LUXENBERG, PC
KENEFIC              RICHARD               NY         99108188         WEITZ & LUXENBERG, PC                                KEPHART              RAYMOND J             NY         10740202         WEITZ & LUXENBERG, PC
KENNEDY              ANN                   NY         10670402         WEITZ & LUXENBERG, PC                                KEPHART              RAYMOND J             NY         11333202         WEITZ & LUXENBERG, PC
KENNEDY              ANNE                  NY         10829299         WEITZ & LUXENBERG, PC                                KEPTNER              JOHN W                NY         10646200         WEITZ & LUXENBERG, PC
KENNEDY              ARTHUR                NY         99108197         WEITZ & LUXENBERG, PC                                KEPTNER              SALLY A               NY         10646200         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 967
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 302 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KERCH                STEPHEN               NY         01111228         WEITZ & LUXENBERG, PC                                KIBURZ               EDWARD C              NY         02107004         WEITZ & LUXENBERG, PC
KERL                 MARY ANN              NY         11068700         WEITZ & LUXENBERG, PC                                KIBURZ               EDWARD C              NY         11515102         WEITZ & LUXENBERG, PC
KERL                 MARY ANN              NY         12219599         WEITZ & LUXENBERG, PC                                KIBURZ               RUTH                  NY         02107004         WEITZ & LUXENBERG, PC
KERLIN               DEAN R                NY         1901262015       WEITZ & LUXENBERG, PC                                KIBURZ               RUTH                  NY         11515102         WEITZ & LUXENBERG, PC
KERMIZIAN            MICHAEL S             NY         02105713         WEITZ & LUXENBERG, PC                                KICAK                LORINE                NY         11640601         WEITZ & LUXENBERG, PC
KERMIZIAN            SHELLEY               NY         02105713         WEITZ & LUXENBERG, PC                                KICAK                LORINE                NY         01111219         WEITZ & LUXENBERG, PC
KERN                 JOHN E                NY         10085503         WEITZ & LUXENBERG, PC                                KIDDER               MARY R                NY         01CIV3910        WEITZ & LUXENBERG, PC
KERNAN               ARCHIE                NY         10740102         WEITZ & LUXENBERG, PC                                KIDDER               REAMEY                NY         01CIV3910        WEITZ & LUXENBERG, PC
KERNAN               JANE L                NY         10740102         WEITZ & LUXENBERG, PC                                KIDER                IRVING                NY         10645800         WEITZ & LUXENBERG, PC
KERNAN               PHYLLIS               NY         12039401         WEITZ & LUXENBERG, PC                                KIDER                ROSALIA               NY         10645800         WEITZ & LUXENBERG, PC
KERNAN               ROBERT                NY         12039401         WEITZ & LUXENBERG, PC                                KIEFER               FRANK L               NY         1903872012       WEITZ & LUXENBERG, PC
KERNOZEK             MARTHA                NY         99108279         WEITZ & LUXENBERG, PC                                KIEFER               MYRTLE                NY         1903872012       WEITZ & LUXENBERG, PC
KERNOZEK             WALTER W              NY         99108279         WEITZ & LUXENBERG, PC                                KIERL                FREDERICK J           NY         11123503         WEITZ & LUXENBERG, PC
KERR                 EUGENE                NY         19000208         WEITZ & LUXENBERG, PC                                KIERL                GERALDINE I           NY         11123503         WEITZ & LUXENBERG, PC
KERR                 LAWRENCE E            NY         10571402         WEITZ & LUXENBERG, PC                                KIESLING             JUDY                  NY         12039201         WEITZ & LUXENBERG, PC
KERR                 MARTHA J              NY         02105718         WEITZ & LUXENBERG, PC                                KIESLING             WALTER C              NY         12039201         WEITZ & LUXENBERG, PC
KERR                 MARY LYN              NY         12011199         WEITZ & LUXENBERG, PC                                KIESNOSKI            JEANETTE              NY         10090403         WEITZ & LUXENBERG, PC
KERR                 PATRICK JOSEPH        NY         02105718         WEITZ & LUXENBERG, PC                                KIESNOSKI            JEANETTE              NY         10624903         WEITZ & LUXENBERG, PC
KERR                 SAMUEL                NY         12011199         WEITZ & LUXENBERG, PC                                KIESNOSKI            RONALD                NY         10090403         WEITZ & LUXENBERG, PC
KERRIGAN             ARTHUR                NY         00108197         WEITZ & LUXENBERG, PC                                KIESNOSKI            RONALD                NY         10624903         WEITZ & LUXENBERG, PC
KERRIGAN             CHRISTINA             NY         00108197         WEITZ & LUXENBERG, PC                                KIESSLING            GARY FRED             NY         10645600         WEITZ & LUXENBERG, PC
KERSHNER             ROBERT R              NY         10740502         WEITZ & LUXENBERG, PC                                KIESSLING            GERALDINE ANN         NY         10645600         WEITZ & LUXENBERG, PC
KERSTEN              EDWARD D              NY         98119899         WEITZ & LUXENBERG, PC                                KIETLINSKI           BERNADETTE            NY         10189101         WEITZ & LUXENBERG, PC
KERSTEN              ENRIQUETA             NY         10189301         WEITZ & LUXENBERG, PC                                KIETLINSKI           RICHARD               NY         10189101         WEITZ & LUXENBERG, PC
KERSTEN              GEORGE                NY         10189301         WEITZ & LUXENBERG, PC                                KIISKINEN            PETER                 NY         10741102         WEITZ & LUXENBERG, PC
KERSTEN              VERONICA              NY         98119899         WEITZ & LUXENBERG, PC                                KIJOWSKI             DOROTHY               NY         10189001         WEITZ & LUXENBERG, PC
KERT-WOLSON          FRIEDELL              NY         1901582015       WEITZ & LUXENBERG, PC                                KIJOWSKI             HARRY                 NY         10189001         WEITZ & LUXENBERG, PC
KESAKOWSKI           ZIGMUND               NY         10646100         WEITZ & LUXENBERG, PC                                KILBORN              WILMA L               NY         11086402         WEITZ & LUXENBERG, PC
KESNER               HORST E               NY         1904572018       WEITZ & LUXENBERG, PC                                KILCULLEN            CHARLES               NY         11095800         WEITZ & LUXENBERG, PC
KESNER               JOHN E                NY         1904572018       WEITZ & LUXENBERG, PC                                KILCULLEN            CHARLES               NY         10835100         WEITZ & LUXENBERG, PC
KESSLER              ANNA                  NY         12444102         WEITZ & LUXENBERG, PC                                KILCULLEN            MARY ANN              NY         11095800         WEITZ & LUXENBERG, PC
KESSLER              BEATRICE              NY         12038801         WEITZ & LUXENBERG, PC                                KILCULLEN            MARY ANN              NY         10835100         WEITZ & LUXENBERG, PC
KESSLER              ERWIN                 NY         11026702         WEITZ & LUXENBERG, PC                                KILDOYLE             LAWRENCE R            NY         02106579         WEITZ & LUXENBERG, PC
KESSLER              ERWIN                 NY         12635202         WEITZ & LUXENBERG, PC                                KILDOYLE             PATRICIA              NY         02106579         WEITZ & LUXENBERG, PC
KESSLER              HAROLD                NY         12038801         WEITZ & LUXENBERG, PC                                KILGALLEN            DENA                  NY         1901962017       WEITZ & LUXENBERG, PC
KESSLER              JOSEPH J              NY         10393102         WEITZ & LUXENBERG, PC                                KILGALLEN            JAMES J               NY         1901962017       WEITZ & LUXENBERG, PC
KESSLER              RAYMOND B             NY         10670802         WEITZ & LUXENBERG, PC                                KILGALLON            BRIAN J               NY         11327702         WEITZ & LUXENBERG, PC
KESSLER              RITA                  NY         11026702         WEITZ & LUXENBERG, PC                                KILGALLON            BRIAN J               NY         11978702         WEITZ & LUXENBERG, PC
KESSLER              RITA                  NY         12635202         WEITZ & LUXENBERG, PC                                KILGALLON            JOHN A                NY         10700102         WEITZ & LUXENBERG, PC
KESSLER              TERESA                NY         10393102         WEITZ & LUXENBERG, PC                                KILGALLON            JOHN A                NY         11194102         WEITZ & LUXENBERG, PC
KESSLER              THERESA               NY         10062399         WEITZ & LUXENBERG, PC                                KILGALLON            JOSEPHINE             NY         10700102         WEITZ & LUXENBERG, PC
KESSLER              WILLIAM               NY         12444102         WEITZ & LUXENBERG, PC                                KILGALLON            JOSEPHINE             NY         11194102         WEITZ & LUXENBERG, PC
KESTIN               HARRIET G             NY         10646000         WEITZ & LUXENBERG, PC                                KILGALLON            VERA                  NY         11327702         WEITZ & LUXENBERG, PC
KESTIN               MARVIN S              NY         10646000         WEITZ & LUXENBERG, PC                                KILGALLON            VERA                  NY         11978702         WEITZ & LUXENBERG, PC
KESTLER              JO ANN                NY         10386901         WEITZ & LUXENBERG, PC                                KILGORE              GUERIN E              NY         1902112013       WEITZ & LUXENBERG, PC
KESTLER              JOANN                 NY         01111219         WEITZ & LUXENBERG, PC                                KILGORE              KERRY                 NY         CV013921         WEITZ & LUXENBERG, PC
KESTLER              JOSEPH WILLIAM        NY         10386901         WEITZ & LUXENBERG, PC                                KILGORE              MARY L                NY         1902112013       WEITZ & LUXENBERG, PC
KETT                 JOHN A                NY         1901192018       WEITZ & LUXENBERG, PC                                KILGORE              RICHARD K             NY         CV013921         WEITZ & LUXENBERG, PC
KETTER               JENNIFER ANN          NY         1904312014       WEITZ & LUXENBERG, PC                                KILL                 GENE F                NY         02107005         WEITZ & LUXENBERG, PC
KETTERLING-TRAYLOR   DIANA                 NY         1901242014       WEITZ & LUXENBERG, PC                                KILL                 JOAN                  NY         02107005         WEITZ & LUXENBERG, PC
KETTIG               DAVID T               NY         12077201         WEITZ & LUXENBERG, PC                                KILLCOMMONS          ELIZABETH             NY         99108295         WEITZ & LUXENBERG, PC
KETTIG               DAVID T               NY         01111223         WEITZ & LUXENBERG, PC                                KILLCOMMONS          JOHN J                NY         99108295         WEITZ & LUXENBERG, PC
KEUFNER              THOMAS PAUL           NY         99107798         WEITZ & LUXENBERG, PC                                KILLENBEC            GERALDINE             NY         99108287         WEITZ & LUXENBERG, PC
KEUREN               GERALDINE VAN         NY         11008100         WEITZ & LUXENBERG, PC                                KILLENBEC            JAMES K               NY         99108287         WEITZ & LUXENBERG, PC
KEY                  BONNIE                NY         19010511         WEITZ & LUXENBERG, PC                                KILLENBEC            KATHRYN               NY         10658102         WEITZ & LUXENBERG, PC
KEY                  ISAAC R               NY         10710102         WEITZ & LUXENBERG, PC                                KILLENBEC            KATHRYN               NY         11395002         WEITZ & LUXENBERG, PC
KEY                  ISAAC R               NY         11968002         WEITZ & LUXENBERG, PC                                KILLENBERGER         ROBERT B              NY         10645500         WEITZ & LUXENBERG, PC
KEYES                HESTER                NY         19026410         WEITZ & LUXENBERG, PC                                KILLIAN              DOROTHY M             NY         10560604         WEITZ & LUXENBERG, PC
KEYES                HUBERT                NY         19026410         WEITZ & LUXENBERG, PC                                KILLIAN              ROBERT H              NY         10560604         WEITZ & LUXENBERG, PC
KEYES                KENNETH J             NY         11870301         WEITZ & LUXENBERG, PC                                KILLORAN             JOSEPH F              NY         10645400         WEITZ & LUXENBERG, PC
KEYES                KENNETH J             NY         01111233         WEITZ & LUXENBERG, PC                                KILSS                HENRY K               NY         01111221         WEITZ & LUXENBERG, PC
KEYS                 CALVIN E              NY         11978103         WEITZ & LUXENBERG, PC                                KIM                  RALPH                 NY         01115732         WEITZ & LUXENBERG, PC
KEYS                 CAROLYN               NY         11978103         WEITZ & LUXENBERG, PC                                KIMBALL              DAVID MICHAEL         NY         10545300         WEITZ & LUXENBERG, PC
KHAFAGA              AHMED                 NY         02107099         WEITZ & LUXENBERG, PC                                KIMBALL              KIMBERLY              NY         10545300         WEITZ & LUXENBERG, PC
KHAFAGA              SAMIA                 NY         02107099         WEITZ & LUXENBERG, PC                                KIMBALL              MARLENE               NY         10740102         WEITZ & LUXENBERG, PC
KHARMANN             FREDERICK W           NY         12039201         WEITZ & LUXENBERG, PC                                KIMBER               KELLY A               NY         E2019008544      WEITZ & LUXENBERG, PC
KHATIB               JOY L                 NY         11335999         WEITZ & LUXENBERG, PC                                KIMBERO              MARY                  NY         00CIV1202        WEITZ & LUXENBERG, PC
KIBBLE               ANDREA                NY         19042309         WEITZ & LUXENBERG, PC                                KIMBLE               CAROLYN D             NY         01CIV4055        WEITZ & LUXENBERG, PC
KIBBLE               JOHN T                NY         19042309         WEITZ & LUXENBERG, PC                                KIMBLE               DELMA L               NY         01CIV4055        WEITZ & LUXENBERG, PC
KIBLER               CAROL A               NY         10827699         WEITZ & LUXENBERG, PC                                KIMBLE               DENNIS                NY         01CIV4055        WEITZ & LUXENBERG, PC
KIBLER               PAUL                  NY         10827699         WEITZ & LUXENBERG, PC                                KIMBRO               RALPH HARTFORD        NY         00CIV1202        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 968
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 303 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KIMKOWSKI            BARBARA               NY         12043301         WEITZ & LUXENBERG, PC                                KINSLEY              ARTHUR F              NY         11977701         WEITZ & LUXENBERG, PC
KIMKOWSKI            EDWARD J              NY         12043301         WEITZ & LUXENBERG, PC                                KINSLEY              ARTHUR F              NY         11123201         WEITZ & LUXENBERG, PC
KINBAR               CHARLES               NY         10645300         WEITZ & LUXENBERG, PC                                KIPA                 ROBERT PAUL           NY         12668602         WEITZ & LUXENBERG, PC
KINBAR               EVELYN                NY         10645300         WEITZ & LUXENBERG, PC                                KIRBY                SUSAN L               NY         11717400         WEITZ & LUXENBERG, PC
KINCHEN              LEMAR                 NY         CIV007454        WEITZ & LUXENBERG, PC                                KIRCHHEIMER          HELMUT                NY         10870801         WEITZ & LUXENBERG, PC
KING                 ACECIL GUY            NY         CV021511         WEITZ & LUXENBERG, PC                                KIRIAKOS             ANDREW                NY         10810302         WEITZ & LUXENBERG, PC
KING                 ARTHUR P              NY         99108293         WEITZ & LUXENBERG, PC                                KIRIAKOS             STELLA                NY         10810302         WEITZ & LUXENBERG, PC
KING                 BETTY                 NY         10835100         WEITZ & LUXENBERG, PC                                KIRISITS             JOSEPH                NY         10716702         WEITZ & LUXENBERG, PC
KING                 BILLY JAY             NY         CV016529         WEITZ & LUXENBERG, PC                                KIRK                 CHRIS F               NY         10680702         WEITZ & LUXENBERG, PC
KING                 BRENDAN P             NY         10545400         WEITZ & LUXENBERG, PC                                KIRK                 DENNIS M              NY         10644700         WEITZ & LUXENBERG, PC
KING                 CLAUDE J              NY         99107978         WEITZ & LUXENBERG, PC                                KIRK                 GEORGE T              NY         12039701         WEITZ & LUXENBERG, PC
KING                 CLAYTON G             NY         02107004         WEITZ & LUXENBERG, PC                                KIRK                 GEORGE T              NY         10507502         WEITZ & LUXENBERG, PC
KING                 DIANE                 NY         12788702         WEITZ & LUXENBERG, PC                                KIRK                 JAMES J               NY         99107965         WEITZ & LUXENBERG, PC
KING                 DORIS                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                KIRK                 MARY                  NY         99107965         WEITZ & LUXENBERG, PC
KING                 ELEANOR               NY         99108293         WEITZ & LUXENBERG, PC                                KIRKENDALL           CATHERINE             NY         10199603         WEITZ & LUXENBERG, PC
KING                 EUGENE P              NY         12788702         WEITZ & LUXENBERG, PC                                KIRKENDALL           JEAN                  NY         10870801         WEITZ & LUXENBERG, PC
KING                 FRANK                 NY         10587502         WEITZ & LUXENBERG, PC                                KIRKENDALL           LEROY                 NY         10870801         WEITZ & LUXENBERG, PC
KING                 GENE R                NY         01CIV3910        WEITZ & LUXENBERG, PC                                KIRKER               ELEANOR M             NY         11096100         WEITZ & LUXENBERG, PC
KING                 GERALD STEPHEN        NY         99107981         WEITZ & LUXENBERG, PC                                KIRKER               ELEANOR M             NY         10835100         WEITZ & LUXENBERG, PC
KING                 HAROLD                NY         10645200         WEITZ & LUXENBERG, PC                                KIRKER               HARRY J               NY         11096100         WEITZ & LUXENBERG, PC
KING                 JC                    NY         01CIV3901        WEITZ & LUXENBERG, PC                                KIRKER               HARRY J               NY         10835100         WEITZ & LUXENBERG, PC
KING                 JAMES R               NY         10797999         WEITZ & LUXENBERG, PC                                KIRKPATRICK          CATHERINE             NY         97120893         WEITZ & LUXENBERG, PC
KING                 JOSEPH                NY         10870801         WEITZ & LUXENBERG, PC                                KIRKPATRICK          MAVIS                 NY         10545700         WEITZ & LUXENBERG, PC
KING                 JOSEPH T              NY         12038801         WEITZ & LUXENBERG, PC                                KIRKPATRICK          ROBERT                NY         97120893         WEITZ & LUXENBERG, PC
KING                 JOYCE E               NY         10295099         WEITZ & LUXENBERG, PC                                KIRKSEY              HUGH                  NY         10644600         WEITZ & LUXENBERG, PC
KING                 KAY KYSER             NY         01CIV3901        WEITZ & LUXENBERG, PC                                KIRKWOOD             DEWITT S              NY         98119891         WEITZ & LUXENBERG, PC
KING                 LAURA                 NY         99107981         WEITZ & LUXENBERG, PC                                KIRKWOOD             FRANK C               NY         10545700         WEITZ & LUXENBERG, PC
KING                 MARIAN                NY         12038801         WEITZ & LUXENBERG, PC                                KIRKWOOD             VERDIA MARIE          NY         98119891         WEITZ & LUXENBERG, PC
KING                 MARY KATHERINE        NY         01CIV3901        WEITZ & LUXENBERG, PC                                KIRRANE              JAMES                 NY         10648900         WEITZ & LUXENBERG, PC
KING                 MARY T                NY         10870801         WEITZ & LUXENBERG, PC                                KIRSCHENBAUM         SAMUEL                NY         12061797         WEITZ & LUXENBERG, PC
KING                 MICHAEL               NY         10797299         WEITZ & LUXENBERG, PC                                KIRSCHNER            ANN                   NY         01111235         WEITZ & LUXENBERG, PC
KING                 MICHAEL               NY         02107007         WEITZ & LUXENBERG, PC                                KIRSCHNER            STANLEY               NY         01111235         WEITZ & LUXENBERG, PC
KING                 OPAL FRANKLIN         NY         CV013921         WEITZ & LUXENBERG, PC                                KISIL                RITA                  NY         10188701         WEITZ & LUXENBERG, PC
KING                 RALPH                 NY         19028211         WEITZ & LUXENBERG, PC                                KISIL                WILLIAM R             NY         10188701         WEITZ & LUXENBERG, PC
KING                 RICHARD A             NY         10835100         WEITZ & LUXENBERG, PC                                KISS                 MARIA A               NY         10670802         WEITZ & LUXENBERG, PC
KING                 ROBERT G              NY         10587502         WEITZ & LUXENBERG, PC                                KISS                 ZOLTAN                NY         10670802         WEITZ & LUXENBERG, PC
KING                 RONALD E              NY         10835100         WEITZ & LUXENBERG, PC                                KISSELBURGH          GODFREY K             NY         10188601         WEITZ & LUXENBERG, PC
KING                 ROSE                  NY         10835100         WEITZ & LUXENBERG, PC                                KITE                 GILBERT R             NY         10700102         WEITZ & LUXENBERG, PC
KING                 RUBY                  NY         CV016529         WEITZ & LUXENBERG, PC                                KITE                 KATHY                 NY         10700102         WEITZ & LUXENBERG, PC
KING                 RUSSELL               NY         10188801         WEITZ & LUXENBERG, PC                                KITTEL               HENRY F               NY         10545900         WEITZ & LUXENBERG, PC
KING                 SOLOMON W             NY         01111223         WEITZ & LUXENBERG, PC                                KITTEL               MARY                  NY         10545900         WEITZ & LUXENBERG, PC
KING                 THERESA               NY         10545400         WEITZ & LUXENBERG, PC                                KITTLER              KEITH D               NY         CV03813          WEITZ & LUXENBERG, PC
KING                 TIMOTHY J             NY         99107978         WEITZ & LUXENBERG, PC                                KITTREDGE            ROBERT                NY         1903162015       WEITZ & LUXENBERG, PC
KING                 WILLIAM               NY         10722002         WEITZ & LUXENBERG, PC                                KITTS                DOROTHY               NY         10587402         WEITZ & LUXENBERG, PC
KING                 WILMA                 NY         10587502         WEITZ & LUXENBERG, PC                                KITTS                DOROTHY K             NY         02106694         WEITZ & LUXENBERG, PC
KING                 WINNIE                NY         01CIV3901        WEITZ & LUXENBERG, PC                                KITTS                LYLE R                NY         10587402         WEITZ & LUXENBERG, PC
KING                 DOROTHY               NY         19028211         WEITZ & LUXENBERG, PC                                KITTS                LYLE R                NY         02106694         WEITZ & LUXENBERG, PC
KINGSLAND            HAROLD E              NY         10644800         WEITZ & LUXENBERG, PC                                KIUBER               JAMES J               NY         10546000         WEITZ & LUXENBERG, PC
KINGSLAND            HELEN V               NY         10644800         WEITZ & LUXENBERG, PC                                KIUBER               LIZBETH               NY         10546000         WEITZ & LUXENBERG, PC
KINGSLAND            WILLIAM               NY         10644800         WEITZ & LUXENBERG, PC                                KIUBER               WILLIAM P             NY         98119890         WEITZ & LUXENBERG, PC
KINGSLEY             DONALD P              NY         10696402         WEITZ & LUXENBERG, PC                                KIZZAIAH             JUDITH                NY         19000212         WEITZ & LUXENBERG, PC
KINGSLEY             DONALD P              NY         12693702         WEITZ & LUXENBERG, PC                                KIZZIAH              OLEN                  NY         19000212         WEITZ & LUXENBERG, PC
KINGSLEY             HOMER GEORGE          NY         02106707         WEITZ & LUXENBERG, PC                                KIZZIAR              JOHNNY CLIFFORD       NY         CV017578         WEITZ & LUXENBERG, PC
KINGSLEY             PATRICIA              NY         12693702         WEITZ & LUXENBERG, PC                                KIZZIAR              LINDA                 NY         CV017578         WEITZ & LUXENBERG, PC
KINGSLEY             PENELOPE              NY         10696402         WEITZ & LUXENBERG, PC                                KLAG                 JOANN                 NY         11616604         WEITZ & LUXENBERG, PC
KINKLER              LORRAINE              NY         19021311         WEITZ & LUXENBERG, PC                                KLAG                 JOHN                  NY         11616604         WEITZ & LUXENBERG, PC
KINNE                GLADYS M              NY         10696402         WEITZ & LUXENBERG, PC                                KLAMIS               MARIA                 NY         19017709         WEITZ & LUXENBERG, PC
KINNE                WILLIAM E             NY         10696402         WEITZ & LUXENBERG, PC                                KLAMIS               RICHARD               NY         19017709         WEITZ & LUXENBERG, PC
KINNEAR              ROBERT EARL           NY         11327802         WEITZ & LUXENBERG, PC                                KLAUM                MARIA                 NY         02107102         WEITZ & LUXENBERG, PC
KINNEY               DONALD V              NY         11349403         WEITZ & LUXENBERG, PC                                KLAUM                MARIA                 NY         11910102         WEITZ & LUXENBERG, PC
KINNEY               JOAN E                NY         11349403         WEITZ & LUXENBERG, PC                                KLAUM                ROBERT O              NY         02107102         WEITZ & LUXENBERG, PC
KINNEY               MICHAEL R             NY         1902932017       WEITZ & LUXENBERG, PC                                KLAUM                ROBERT O              NY         11910102         WEITZ & LUXENBERG, PC
KINNEY               ROBERT G              NY         10587502         WEITZ & LUXENBERG, PC                                KLAUS                ELIZABETH T           NY         99108284         WEITZ & LUXENBERG, PC
KINNIN               FLORENCE              NY         99107964         WEITZ & LUXENBERG, PC                                KLAUS                JERROLD               NY         1900062014       WEITZ & LUXENBERG, PC
KINNIN               JOHN I                NY         99107964         WEITZ & LUXENBERG, PC                                KLAUS                RICHARD               NY         99108284         WEITZ & LUXENBERG, PC
KINSELLA             JAMES                 NY         10716902         WEITZ & LUXENBERG, PC                                KLEBER               DOROTHY               NY         10648800         WEITZ & LUXENBERG, PC
KINSELLA             THOMAS W              NY         10716902         WEITZ & LUXENBERG, PC                                KLEBER               WILLIAM               NY         10648800         WEITZ & LUXENBERG, PC
KINSEY               DAVID RAYMOND         NY         99107973         WEITZ & LUXENBERG, PC                                KLEFBECK             JOHN H                NY         99108289         WEITZ & LUXENBERG, PC
KINSEY               DEBORAH               NY         99107973         WEITZ & LUXENBERG, PC                                KLEFBECK             JOHN HAROLD           NY         99108289         WEITZ & LUXENBERG, PC
KINSLEY              AGNES F               NY         11977701         WEITZ & LUXENBERG, PC                                KLEFBECK             OLIVIA M              NY         99108289         WEITZ & LUXENBERG, PC
KINSLEY              AGNES F               NY         11123201         WEITZ & LUXENBERG, PC                                KLEIM                ROBERT                NY         99100624         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 969
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 304 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KLEIM                ROBERTA               NY         99100624         WEITZ & LUXENBERG, PC                                KLOPFER              DOROTHY               NY         12234199         WEITZ & LUXENBERG, PC
KLEIN                BERNICE E             NY         I20019108        WEITZ & LUXENBERG, PC                                KLOPFER              GEORGE                NY         12234199         WEITZ & LUXENBERG, PC
KLEIN                GENEVIEVE             NY         11009003         WEITZ & LUXENBERG, PC                                KLOSTER              BURTON E              NY         10680602         WEITZ & LUXENBERG, PC
KLEIN                GEORGE W              NY         1903802013       WEITZ & LUXENBERG, PC                                KLOSTER              FRANCIS G             NY         11208802         WEITZ & LUXENBERG, PC
KLEIN                HENRY R               NY         I20019108        WEITZ & LUXENBERG, PC                                KLOSTER              FRANCIS G             NY         10696402         WEITZ & LUXENBERG, PC
KLEIN                JOHN D                NY         10648700         WEITZ & LUXENBERG, PC                                KLOSTER              THERESA               NY         1905432012       WEITZ & LUXENBERG, PC
KLEIN                JULIUS                NY         11711103         WEITZ & LUXENBERG, PC                                KLOUDA               ANN A                 NY         11079106         WEITZ & LUXENBERG, PC
KLEIN                JULIUS                NY         10187501         WEITZ & LUXENBERG, PC                                KLOUDA               MORTIMER E            NY         11079106         WEITZ & LUXENBERG, PC
KLEIN                KAREN                 NY         10546100         WEITZ & LUXENBERG, PC                                KLOZOW               BONNIE                NY         12110001         WEITZ & LUXENBERG, PC
KLEIN                LESLIE R              NY         10546100         WEITZ & LUXENBERG, PC                                KLOZOW               BONNIE                NY         10648502         WEITZ & LUXENBERG, PC
KLEIN                MARK J                NY         I20019488        WEITZ & LUXENBERG, PC                                KLUGE                DOLORES M             NY         11327802         WEITZ & LUXENBERG, PC
KLEIN                MARK J                NY         02121082         WEITZ & LUXENBERG, PC                                KLUGE                DOLORES M             NY         11948502         WEITZ & LUXENBERG, PC
KLEIN                MARK J                NY         12711702         WEITZ & LUXENBERG, PC                                KLUGE                WALLACE A             NY         11327802         WEITZ & LUXENBERG, PC
KLEIN                NANCY                 NY         1903802013       WEITZ & LUXENBERG, PC                                KLUGE                WALLACE A             NY         11948502         WEITZ & LUXENBERG, PC
KLEIN                OLGA                  NY         12043301         WEITZ & LUXENBERG, PC                                KLUGMAN              MILTON                NY         10648200         WEITZ & LUXENBERG, PC
KLEIN                RACHEL                NY         10187501         WEITZ & LUXENBERG, PC                                KLUSMEYER            EVELYN CHRISTINE      NY         12039801         WEITZ & LUXENBERG, PC
KLEIN                RICHARD G             NY         11009003         WEITZ & LUXENBERG, PC                                KLUSMEYER            VINCENT C             NY         12039801         WEITZ & LUXENBERG, PC
KLEIN                ROBERT                NY         12043301         WEITZ & LUXENBERG, PC                                KLUTH                CAROL                 NY         12788802         WEITZ & LUXENBERG, PC
KLEIN                TEDDY JOSEPH          NY         I20019488        WEITZ & LUXENBERG, PC                                KLUTH                RICHARD               NY         12788802         WEITZ & LUXENBERG, PC
KLEIN                TEDDY JOSEPH          NY         02121082         WEITZ & LUXENBERG, PC                                KLVANA               JEANNE                NY         1901922016       WEITZ & LUXENBERG, PC
KLEIN                TEDDY JOSEPH          NY         12711702         WEITZ & LUXENBERG, PC                                KMIEC                JOSEPH                NY         10696502         WEITZ & LUXENBERG, PC
KLEINMAN             DAVID                 NY         10187401         WEITZ & LUXENBERG, PC                                KMIEC                ROSE                  NY         10696502         WEITZ & LUXENBERG, PC
KLEINMAN             GLADYS                NY         10187401         WEITZ & LUXENBERG, PC                                KNABEL               ELEANOR               NY         10186801         WEITZ & LUXENBERG, PC
KLEMECKO             DOLORES               NY         10648500         WEITZ & LUXENBERG, PC                                KNABEL               JOSEPH R              NY         10186801         WEITZ & LUXENBERG, PC
KLEMM                MARY                  NY         1902802014       WEITZ & LUXENBERG, PC                                KNAPIK               JOAN                  NY         20182587         WEITZ & LUXENBERG, PC
KLEMM                ROBERT C              NY         1902802014       WEITZ & LUXENBERG, PC                                KNAPIK               NORMAN J              NY         20182587         WEITZ & LUXENBERG, PC
KLEMP                MARY                  NY         10546200         WEITZ & LUXENBERG, PC                                KNAPP                AUDREY                NY         10658102         WEITZ & LUXENBERG, PC
KLEMP                ROGER D               NY         10546200         WEITZ & LUXENBERG, PC                                KNAPP                CHESTER               NY         11704300         WEITZ & LUXENBERG, PC
KLEPP                FREDERICK EVERETT     NY         10648600         WEITZ & LUXENBERG, PC                                KNAPP                DONALD                NY         19010610         WEITZ & LUXENBERG, PC
KLEPP                ROSE MARIE            NY         10648600         WEITZ & LUXENBERG, PC                                KNAPP                DOROTHY               NY         CV016530         WEITZ & LUXENBERG, PC
KLIEBER              LINDA                 NY         11715501         WEITZ & LUXENBERG, PC                                KNAPP                DUANE                 NY         CV016530         WEITZ & LUXENBERG, PC
KLIMA                ADELINE               NY         11096200         WEITZ & LUXENBERG, PC                                KNAPP                EDWARD J              NY         02105715         WEITZ & LUXENBERG, PC
KLIMA                ADELINE               NY         10835100         WEITZ & LUXENBERG, PC                                KNAPP                JOHN J                NY         11744603         WEITZ & LUXENBERG, PC
KLIMA                STANLEY A             NY         11096200         WEITZ & LUXENBERG, PC                                KNAPP                JOHN R                NY         10658102         WEITZ & LUXENBERG, PC
KLIMA                STANLEY A             NY         10835100         WEITZ & LUXENBERG, PC                                KNAPP                JOYCE                 NY         10023203         WEITZ & LUXENBERG, PC
KLIMBACK             JACQUELINE G          NJ         MIDL00888607AS   WEITZ & LUXENBERG, PC                                KNAPP                ROBERT J              NY         10023203         WEITZ & LUXENBERG, PC
KLIMBACK             JAMES F               NJ         MIDL00888607AS   WEITZ & LUXENBERG, PC                                KNAPP                RUTH N                NY         11704300         WEITZ & LUXENBERG, PC
KLIMECKO             A ROGER               NY         10648500         WEITZ & LUXENBERG, PC                                KNAPP                VIRGIE                NY         02105715         WEITZ & LUXENBERG, PC
KLIMEK               CHRISTINE             NY         10708601         WEITZ & LUXENBERG, PC                                KNASZAK              KENNETH P             NY         19039009         WEITZ & LUXENBERG, PC
KLIMEK               CHRISTINE             NY         11937900         WEITZ & LUXENBERG, PC                                KNASZAK              PATRICIA C            NY         19039009         WEITZ & LUXENBERG, PC
KLIMMEK              WALTER                NY         12039001         WEITZ & LUXENBERG, PC                                KNAUP                BERNHARD              NY         99108294         WEITZ & LUXENBERG, PC
KLIMOWICZ            DANIEL LAWRENCE       NY         02106580         WEITZ & LUXENBERG, PC                                KNEETER              OSCAR                 NY         11901701         WEITZ & LUXENBERG, PC
KLIMOWICZ            JUDITH                NY         02106580         WEITZ & LUXENBERG, PC                                KNESEL               LARRY                 NY         01121099         WEITZ & LUXENBERG, PC
KLINE                BARIE E               NY         19028609         WEITZ & LUXENBERG, PC                                KNESEL               THERESA               NY         01121099         WEITZ & LUXENBERG, PC
KLINE                CLOYD                 NY         10571402         WEITZ & LUXENBERG, PC                                KNESTRICK            CARL                  NY         19020510         WEITZ & LUXENBERG, PC
KLINE                DAVID W               NY         10187201         WEITZ & LUXENBERG, PC                                KNESTRICK            RUBY                  NY         19020510         WEITZ & LUXENBERG, PC
KLINE                DOROTHY               NY         10187101         WEITZ & LUXENBERG, PC                                KNICKERBOCKER        BRUCE E               NY         90251018         WEITZ & LUXENBERG, PC
KLINE                EUGENE                NY         98100487         WEITZ & LUXENBERG, PC                                KNIESE               ROBERT WAYNE          NY         10587002         WEITZ & LUXENBERG, PC
KLINE                EUGENE                NY         19028609         WEITZ & LUXENBERG, PC                                KNIFFEN              JUNE                  NY         12043001         WEITZ & LUXENBERG, PC
KLINE                GEORGE                NY         10187101         WEITZ & LUXENBERG, PC                                KNIFFEN              LLOYD W               NY         12043001         WEITZ & LUXENBERG, PC
KLINE                MIRIAM                NY         98100487         WEITZ & LUXENBERG, PC                                KNIGHT               DOROTHY               NY         10829799         WEITZ & LUXENBERG, PC
KLINE                MIRIAM                NY         19028609         WEITZ & LUXENBERG, PC                                KNIGHT               EDNA                  NY         10546500         WEITZ & LUXENBERG, PC
KLINE                NANCY                 NY         10571402         WEITZ & LUXENBERG, PC                                KNIGHT               FRAN                  NY         98119895         WEITZ & LUXENBERG, PC
KLINE                PATRICIA              NY         10187201         WEITZ & LUXENBERG, PC                                KNIGHT               FRANCIS A             NY         10186701         WEITZ & LUXENBERG, PC
KLINE                RUTH M                NY         11319200         WEITZ & LUXENBERG, PC                                KNIGHT               GERALD J              NY         10829799         WEITZ & LUXENBERG, PC
KLINGBEIL            LINDA                 NY         10546300         WEITZ & LUXENBERG, PC                                KNIGHT               JESSE F               NY         10546400         WEITZ & LUXENBERG, PC
KLINGBEIL            PHYLLIS               NY         10187001         WEITZ & LUXENBERG, PC                                KNIGHT               JOHN                  NY         10546500         WEITZ & LUXENBERG, PC
KLINGBEIL            RICHARD               NY         10187001         WEITZ & LUXENBERG, PC                                KNIGHT               JOHN                  NY         99120264         WEITZ & LUXENBERG, PC
KLINGBEIL            ROBERT SR             NY         10546300         WEITZ & LUXENBERG, PC                                KNIGHT               JOHNIE                NY         10546400         WEITZ & LUXENBERG, PC
KLINGSBERG           IRVING                NY         11682903         WEITZ & LUXENBERG, PC                                KNIGHT               PATRICIA              NY         99120264         WEITZ & LUXENBERG, PC
KLINGSBERG           RHODA                 NY         11682903         WEITZ & LUXENBERG, PC                                KNIGHT               PHYLLIS               NY         10829699         WEITZ & LUXENBERG, PC
KLINKBEIL            CLARENCE J            NY         I20019110        WEITZ & LUXENBERG, PC                                KNIGHT               RICHARD F             NY         10829699         WEITZ & LUXENBERG, PC
KLINKBEIL            HELEN                 NY         I20019110        WEITZ & LUXENBERG, PC                                KNIGHT               ROBERT E              NY         10699902         WEITZ & LUXENBERG, PC
KLINKO               BEVERLY               NY         11448604         WEITZ & LUXENBERG, PC                                KNIGHT               SIMON P               NY         98119895         WEITZ & LUXENBERG, PC
KLINKO               DAVID J               NY         11448604         WEITZ & LUXENBERG, PC                                KNIGHT               THURMAN               NY         01111224         WEITZ & LUXENBERG, PC
KLIPFEL              SARAH                 NY         10648400         WEITZ & LUXENBERG, PC                                KNIGHT               WILLIAM J             NY         10546600         WEITZ & LUXENBERG, PC
KLIPFEL              WE                    NY         10648400         WEITZ & LUXENBERG, PC                                KNIGHTNER            BERTHA                NY         10648100         WEITZ & LUXENBERG, PC
KLOAP                JANET                 NY         01111217         WEITZ & LUXENBERG, PC                                KNIGHTNER            JAMES                 NY         10648100         WEITZ & LUXENBERG, PC
KLOAP                NICHOLAS              NY         01111217         WEITZ & LUXENBERG, PC                                KNIGHTS              EDNA                  NY         02106707         WEITZ & LUXENBERG, PC
KLONTZ               ROSE                  NY         11682705         WEITZ & LUXENBERG, PC                                KNIGHTS              EDNA                  NY         11569302         WEITZ & LUXENBERG, PC
KLONTZ               WAYNE C               NY         11682705         WEITZ & LUXENBERG, PC                                KNIGHTS              RALPH E               NY         02106707         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 970
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 305 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KNIGHTS              RALPH E               NY         11569302         WEITZ & LUXENBERG, PC                                KOERBER              ARLENE                NY         12213801         WEITZ & LUXENBERG, PC
KNITTEL              BARBARA               NY         110653           WEITZ & LUXENBERG, PC                                KOERBER              JOHN H                NY         12213801         WEITZ & LUXENBERG, PC
KNITTEL              PAUL J                NY         110653           WEITZ & LUXENBERG, PC                                KOESTER              GLENN                 NY         12788802         WEITZ & LUXENBERG, PC
KNOPP                MARY                  NY         02105713         WEITZ & LUXENBERG, PC                                KOESTER              JAMA                  NY         12788802         WEITZ & LUXENBERG, PC
KNOPP                WALTER A              NY         02105713         WEITZ & LUXENBERG, PC                                KOESTER              JUDITH                NY         10186201         WEITZ & LUXENBERG, PC
KNORR                FRANK JOSEPH          NY         10962597         WEITZ & LUXENBERG, PC                                KOESTER              RICHARD ALAN          NY         12188998         WEITZ & LUXENBERG, PC
KNOSP                BARBARA               NY         10722202         WEITZ & LUXENBERG, PC                                KOESTER              RONALD G              NY         10186201         WEITZ & LUXENBERG, PC
KNOSP                DONALD E              NY         10722202         WEITZ & LUXENBERG, PC                                KOESTER              SHARON                NY         12188998         WEITZ & LUXENBERG, PC
KNOSP                GERALDINE             NY         10186601         WEITZ & LUXENBERG, PC                                KOESTLER             RICHARD               NY         1901222014       WEITZ & LUXENBERG, PC
KNOSP                JOHN R                NY         10186601         WEITZ & LUXENBERG, PC                                KOFFER               JESSIE                NY         01111226         WEITZ & LUXENBERG, PC
KNOTH                ADA R                 NY         10535901         WEITZ & LUXENBERG, PC                                KOFFER               WILLIAM A             NY         01111226         WEITZ & LUXENBERG, PC
KNOTH                DONALD J              NY         10535901         WEITZ & LUXENBERG, PC                                KOGEL                DAVID                 NY         11025504         WEITZ & LUXENBERG, PC
KNOX                 ELAINE JEANETTE       NY         01CIV3910        WEITZ & LUXENBERG, PC                                KOGEL                ERIC                  NY         11025504         WEITZ & LUXENBERG, PC
KNOX                 HAROLD R              NY         10867906         WEITZ & LUXENBERG, PC                                KOGEL                ISABEL                NY         11025504         WEITZ & LUXENBERG, PC
KNOX                 KAY M                 NY         12039701         WEITZ & LUXENBERG, PC                                KOGUT                JOSEPH                NY         99107787         WEITZ & LUXENBERG, PC
KNOX                 ROBERT J              NY         12039701         WEITZ & LUXENBERG, PC                                KOGUT                MARGARET              NY         99107787         WEITZ & LUXENBERG, PC
KNOX                 RONALD JAY            NY         99107766         WEITZ & LUXENBERG, PC                                KOHLEPP              ELAINE                NY         10674900         WEITZ & LUXENBERG, PC
KNOX                 ROY S                 NY         99107766         WEITZ & LUXENBERG, PC                                KOHLEPP              RALPH H               NY         10674900         WEITZ & LUXENBERG, PC
KNOX                 SHIRLEY D             NY         99107766         WEITZ & LUXENBERG, PC                                KOHLER               DAISY                 NY         1903822018       WEITZ & LUXENBERG, PC
KNUDSEN              GRACE                 NY         12043001         WEITZ & LUXENBERG, PC                                KOHLER               EDYTHE                NY         01111225         WEITZ & LUXENBERG, PC
KNUDSEN              SEVALD H              NY         12043001         WEITZ & LUXENBERG, PC                                KOHLER               REIMER E              NY         1903822018       WEITZ & LUXENBERG, PC
KNUTH                NILA C                NY         98119894         WEITZ & LUXENBERG, PC                                KOHLER               ROBERT                NY         01111225         WEITZ & LUXENBERG, PC
KNUTH                ROBERT R              NY         98119894         WEITZ & LUXENBERG, PC                                KOHLER               ROBERT C              NY         12668702         WEITZ & LUXENBERG, PC
KOBAN                MARY GRACE            NY         12668102         WEITZ & LUXENBERG, PC                                KOHLI                KENNETH               NY         10587402         WEITZ & LUXENBERG, PC
KOBAN                THOMAS                NY         12668102         WEITZ & LUXENBERG, PC                                KOHLI                SHEILA                NY         10587402         WEITZ & LUXENBERG, PC
KOBSTAD              JOHN T                NY         12027601         WEITZ & LUXENBERG, PC                                KOHM                 CHARLES W             NY         99107786         WEITZ & LUXENBERG, PC
KOCH                 AIVERA                NY         12344201         WEITZ & LUXENBERG, PC                                KOHM                 EDRIS A               NY         99107786         WEITZ & LUXENBERG, PC
KOCH                 AIVERA                NY         01111227         WEITZ & LUXENBERG, PC                                KOHN                 LARRY                 NY         11370003         WEITZ & LUXENBERG, PC
KOCH                 ALBERT                NY         12344201         WEITZ & LUXENBERG, PC                                KOLERSKI             KATHLEEN              NY         10722002         WEITZ & LUXENBERG, PC
KOCH                 ALBERT                NY         01111227         WEITZ & LUXENBERG, PC                                KOLERSKI             RICHARD J             NY         10722002         WEITZ & LUXENBERG, PC
KOCH                 ALFRED J              NY         12344201         WEITZ & LUXENBERG, PC                                KOLIS                EUGENE F              NY         10722002         WEITZ & LUXENBERG, PC
KOCH                 ALFRED J              NY         01111227         WEITZ & LUXENBERG, PC                                KOLIS                EUGENE F              NY         11345102         WEITZ & LUXENBERG, PC
KOCH                 ANTOINETTE A          NY         10186401         WEITZ & LUXENBERG, PC                                KOLIS                VICTORIA              NY         10722002         WEITZ & LUXENBERG, PC
KOCH                 DELORES               NY         99107774         WEITZ & LUXENBERG, PC                                KOLIS                VICTORIA              NY         11345102         WEITZ & LUXENBERG, PC
KOCH                 FREDERICK W           NY         10186401         WEITZ & LUXENBERG, PC                                KOLLER               ALFRED M              NY         10699902         WEITZ & LUXENBERG, PC
KOCH                 GEORGE W              NY         10404202         WEITZ & LUXENBERG, PC                                KOLLER               ALFRED M              NY         11133002         WEITZ & LUXENBERG, PC
KOCH                 HAROLD A              NY         02107004         WEITZ & LUXENBERG, PC                                KOLLER               BETTY J               NY         10699902         WEITZ & LUXENBERG, PC
KOCH                 HAROLD A              NY         11515302         WEITZ & LUXENBERG, PC                                KOLLER               BETTY J               NY         11133002         WEITZ & LUXENBERG, PC
KOCH                 HARRY                 NY         99107770         WEITZ & LUXENBERG, PC                                KOLLER               DONALD                NY         CV023911         WEITZ & LUXENBERG, PC
KOCH                 HERMAN P              NY         99107774         WEITZ & LUXENBERG, PC                                KOLLER               ELIZABETH J           NY         10699902         WEITZ & LUXENBERG, PC
KOCH                 KENNETH W             NY         01111219         WEITZ & LUXENBERG, PC                                KOLLER               ELIZABETH J           NY         11133002         WEITZ & LUXENBERG, PC
KOCH                 MARY A                NY         02107004         WEITZ & LUXENBERG, PC                                KOLLER               ROBERT                NY         CV023911         WEITZ & LUXENBERG, PC
KOCH                 MARY A                NY         11515302         WEITZ & LUXENBERG, PC                                KOLLER               ROBERT J              NY         CV023911         WEITZ & LUXENBERG, PC
KOCH                 ROBERT A              NY         02106693         WEITZ & LUXENBERG, PC                                KOLLER               SUSAN E               NY         11059300         WEITZ & LUXENBERG, PC
KOCH                 RUTH ARLENE           NY         99107770         WEITZ & LUXENBERG, PC                                KOLLER               SUSAN E               NY         11059300         WEITZ & LUXENBERG, PC
KOCH                 WOODROW C F           NY         10186401         WEITZ & LUXENBERG, PC                                KOLLIE               JOHN T                NY         10722002         WEITZ & LUXENBERG, PC
KOCHANOFF            ROBERT ALEXANDER      NY         I200110073       WEITZ & LUXENBERG, PC                                KOLLMAR              EUGENE J              NY         11088202         WEITZ & LUXENBERG, PC
KOCHANOFF BUCHERT    CYNTHIA F             NY         I200110073       WEITZ & LUXENBERG, PC                                KOLLMAR              EUGENE T              NY         10680702         WEITZ & LUXENBERG, PC
KOCIENSKI            LEONA M               NY         10587102         WEITZ & LUXENBERG, PC                                KOLLMAR              SUSANNE J             NY         10680702         WEITZ & LUXENBERG, PC
KOCIENSKI            RAYMOND               NY         10587102         WEITZ & LUXENBERG, PC                                KOLLMAR              SUSANNE J             NY         11088202         WEITZ & LUXENBERG, PC
KOCSIS               GERALDINE             NY         12241801         WEITZ & LUXENBERG, PC                                KOLLWITZ             MAX                   NY         11684706         WEITZ & LUXENBERG, PC
KOCSIS               GERALDINE             NY         01111226         WEITZ & LUXENBERG, PC                                KOLM                 HELEN                 NY         6106892016       WEITZ & LUXENBERG, PC
KOCSIS               LARRY                 NY         12241801         WEITZ & LUXENBERG, PC                                KOLM                 WILLIAM F             NY         6106892016       WEITZ & LUXENBERG, PC
KOCSIS               LARRY                 NY         01111226         WEITZ & LUXENBERG, PC                                KOLONICH             HELEN                 NY         1902222014       WEITZ & LUXENBERG, PC
KOCUR                THEODORE J            NY         10047708         WEITZ & LUXENBERG, PC                                KOLONICH             PAUL E                NY         1902222014       WEITZ & LUXENBERG, PC
KOCZUR               DIANE G               NY         98121888         WEITZ & LUXENBERG, PC                                KOMIAK               PETER                 NY         1903202017       WEITZ & LUXENBERG, PC
KOCZUR               MARTIN FRANCIS        NY         98121888         WEITZ & LUXENBERG, PC                                KOMLJENOVICH         BOGDAN MILAN          NY         02106508         WEITZ & LUXENBERG, PC
KOEBEL               CHARLES WILLIAM       NY         98121887         WEITZ & LUXENBERG, PC                                KOMLJENOVICH         BOGDAN MILAN          NY         11078902         WEITZ & LUXENBERG, PC
KOEBLER              DOROTHY               NY         10186301         WEITZ & LUXENBERG, PC                                KOMLJENOVICH         MARIA F               NY         02106508         WEITZ & LUXENBERG, PC
KOEBLER              ROBERT J              NY         10186301         WEITZ & LUXENBERG, PC                                KOMLJENOVICH         MARIA F               NY         11078902         WEITZ & LUXENBERG, PC
KOEHL                GORDON                NY         201400000986     WEITZ & LUXENBERG, PC                                KOMLO                EVELYN B              NY         10186101         WEITZ & LUXENBERG, PC
KOEHLER              EDWARD C              NY         02106693         WEITZ & LUXENBERG, PC                                KOMLO                STEPHEN A             NY         10186101         WEITZ & LUXENBERG, PC
KOEHLER              JOAN E                NY         10648000         WEITZ & LUXENBERG, PC                                KONDRICK             MARYLIN               NY         10722002         WEITZ & LUXENBERG, PC
KOEHLER              MARY                  NY         10008703         WEITZ & LUXENBERG, PC                                KONDRICK             RICHARD L             NY         10722002         WEITZ & LUXENBERG, PC
KOEHLER              RICHARD L             NY         10648000         WEITZ & LUXENBERG, PC                                KONG                 LUCILLE               NY         1902192015       WEITZ & LUXENBERG, PC
KOEHLER              ROBERT H              NY         10008703         WEITZ & LUXENBERG, PC                                KONIDIS              LEONARD L             NY         99107773         WEITZ & LUXENBERG, PC
KOEK                 BILLIE J              NY         10716802         WEITZ & LUXENBERG, PC                                KONOPKA              CHARLES L             NY         99107772         WEITZ & LUXENBERG, PC
KOEK                 GLEN L                NY         10716802         WEITZ & LUXENBERG, PC                                KONOPKA              THOMAS D              NY         10185801         WEITZ & LUXENBERG, PC
KOENIG               ERMA L                NY         11704500         WEITZ & LUXENBERG, PC                                KONOPSKI             STANLEY FRANK         NY         10740102         WEITZ & LUXENBERG, PC
KOENIG               VICTOR H              NY         11704500         WEITZ & LUXENBERG, PC                                KONSAVICH            JOYCE M               NY         19008910         WEITZ & LUXENBERG, PC
KOENIGSAMEN          THERESA A             NY         1902862016       WEITZ & LUXENBERG, PC                                KONSECK              WAYNE                 NY         10647800         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 971
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 306 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KONTAKIS             KONSTANTIN G          NY         1902902013       WEITZ & LUXENBERG, PC                                KOVACS               CAROLE                NY         10028803         WEITZ & LUXENBERG, PC
KONTAKIS             LINOA                 NY         1902902013       WEITZ & LUXENBERG, PC                                KOVACS               JOSEF                 NY         11125904         WEITZ & LUXENBERG, PC
KOON                 FRANCES               NY         CV018462         WEITZ & LUXENBERG, PC                                KOVACS               JOSEPH                NY         10028803         WEITZ & LUXENBERG, PC
KOON                 HORACE S              NY         CV018462         WEITZ & LUXENBERG, PC                                KOVACS               PIROSKA               NY         11125904         WEITZ & LUXENBERG, PC
KOPERA               HELEN                 NY         10185701         WEITZ & LUXENBERG, PC                                KOVAL                BARBARA A             NY         10649300         WEITZ & LUXENBERG, PC
KOPERA               JOSEPH F              NY         10185701         WEITZ & LUXENBERG, PC                                KOVARIK              ELEANOR               NY         10193304         WEITZ & LUXENBERG, PC
KOPERA               SANDRA A              NY         10716702         WEITZ & LUXENBERG, PC                                KOVARIK              JOSEPH                NY         10193304         WEITZ & LUXENBERG, PC
KOPINSKI             HARVEY                NY         11827204         WEITZ & LUXENBERG, PC                                KOVAROVIC            LORRAINE              NY         02106579         WEITZ & LUXENBERG, PC
KOPINSKI             WINIFRED ANN          NY         11827204         WEITZ & LUXENBERG, PC                                KOVAROVIC            LORRAINE              NY         11306502         WEITZ & LUXENBERG, PC
KOPPEN               HORST                 NY         12039101         WEITZ & LUXENBERG, PC                                KOVAROVIC            MICHAEL J             NY         02106579         WEITZ & LUXENBERG, PC
KOPPEN               HORST                 NY         10429002         WEITZ & LUXENBERG, PC                                KOVAROVIC            MICHAEL J             NY         11306502         WEITZ & LUXENBERG, PC
KOPPEN               MONICA                NY         12039101         WEITZ & LUXENBERG, PC                                KOVAROVIC            MICHAEL L             NY         02106579         WEITZ & LUXENBERG, PC
KOPPEN               MONICA                NY         10429002         WEITZ & LUXENBERG, PC                                KOVAROVIC            MICHAEL L             NY         11306502         WEITZ & LUXENBERG, PC
KOPPMANN             MARION                NY         10023403         WEITZ & LUXENBERG, PC                                KOWAL                MARTIN S              NY         99107767         WEITZ & LUXENBERG, PC
KOPPMANN             RAYMOND               NY         10023403         WEITZ & LUXENBERG, PC                                KOWALCZKY            NANCY                 NY         10231701         WEITZ & LUXENBERG, PC
KOPRAK               JAKOB                 NY         10546700         WEITZ & LUXENBERG, PC                                KOWALCZYK            JOHN                  NY         10231701         WEITZ & LUXENBERG, PC
KOPRAK               SARA                  NY         10546700         WEITZ & LUXENBERG, PC                                KOWALEWSKI           FLORENCE J            NY         10649200         WEITZ & LUXENBERG, PC
KORETZ               JOSEPH                NY         98121903         WEITZ & LUXENBERG, PC                                KOWALEWSKI           ROBERT L              NY         10649200         WEITZ & LUXENBERG, PC
KORFF                ADELINE MARIE         NY         02107007         WEITZ & LUXENBERG, PC                                KOWALL               BARBARA               NY         10231801         WEITZ & LUXENBERG, PC
KORFF                HAROLD E              NY         02107007         WEITZ & LUXENBERG, PC                                KOWALL               JOHN P                NY         10231801         WEITZ & LUXENBERG, PC
KORMAN               JAMES                 NY         10647700         WEITZ & LUXENBERG, PC                                KOWALSKI             ANGELA                NY         10649100         WEITZ & LUXENBERG, PC
KORMANYOS            MICHAEL S             NY         10716702         WEITZ & LUXENBERG, PC                                KOWALSKI             ANNA MARIE            NY         00100548         WEITZ & LUXENBERG, PC
KORN                 JOSEPH L              NY         10776899         WEITZ & LUXENBERG, PC                                KOWALSKI             JOSEPH T              NY         00100548         WEITZ & LUXENBERG, PC
KORN                 LOUISE                NY         10776899         WEITZ & LUXENBERG, PC                                KOWALSKI             STEPHANIE             NY         19033709         WEITZ & LUXENBERG, PC
KORNER               DANIEL                NY         11938300         WEITZ & LUXENBERG, PC                                KOWALSKI             STEPHEN ANTHONY       NY         10649100         WEITZ & LUXENBERG, PC
KORNER               VIVIAN                NY         11938300         WEITZ & LUXENBERG, PC                                KOWALSKI             THOMAS J              NY         19033709         WEITZ & LUXENBERG, PC
KORONA               ALFRED F              NY         10647600         WEITZ & LUXENBERG, PC                                KOZACZKA             DORIS S               NY         I20019505        WEITZ & LUXENBERG, PC
KORONA               SANDRA                NY         10647600         WEITZ & LUXENBERG, PC                                KOZACZKA             DORIS S               NY         02120709         WEITZ & LUXENBERG, PC
KORSZOLOSKI          CHESTER               NY         10647500         WEITZ & LUXENBERG, PC                                KOZACZKA             THOMAS J              NY         I20019505        WEITZ & LUXENBERG, PC
KORSZUN              BEATRICE              NY         02106579         WEITZ & LUXENBERG, PC                                KOZACZKA             THOMAS J              NY         02120709         WEITZ & LUXENBERG, PC
KORSZUN              BEATRICE              NY         11306402         WEITZ & LUXENBERG, PC                                KOZAK                ALICE                 NY         10649000         WEITZ & LUXENBERG, PC
KORSZUN              GRAZYNA               NY         11027002         WEITZ & LUXENBERG, PC                                KOZAK                FRANK E               NY         10649000         WEITZ & LUXENBERG, PC
KORSZUN              JOZEF                 NY         11027002         WEITZ & LUXENBERG, PC                                KOZAK                MILDRED               NY         99107769         WEITZ & LUXENBERG, PC
KORSZUN              WALTER                NY         02106579         WEITZ & LUXENBERG, PC                                KOZAK                ROBERT                NY         99107769         WEITZ & LUXENBERG, PC
KORSZUN              WALTER                NY         11306402         WEITZ & LUXENBERG, PC                                KOZCRANSKI           WALTER M              NY         10229901         WEITZ & LUXENBERG, PC
KORZ                 ELLEN                 NY         10647400         WEITZ & LUXENBERG, PC                                KOZER                JACK J                NY         02105716         WEITZ & LUXENBERG, PC
KORZ                 JOHN T                NY         10647400         WEITZ & LUXENBERG, PC                                KOZER                JACK J                NY         11167402         WEITZ & LUXENBERG, PC
KOS                  BERTHA                NY         I20019448        WEITZ & LUXENBERG, PC                                KOZIARA              BARBARA               NY         10652305         WEITZ & LUXENBERG, PC
KOS                  EDWARD A              NY         I20019448        WEITZ & LUXENBERG, PC                                KOZIARA              JAMES P               NY         10652305         WEITZ & LUXENBERG, PC
KOSCIELNIAK          JOAN                  NY         11704600         WEITZ & LUXENBERG, PC                                KOZIKOWSKI           RICHARD               NY         11162503         WEITZ & LUXENBERG, PC
KOSCIELNIAK          JOSEPH J JR           NY         11704600         WEITZ & LUXENBERG, PC                                KOZIOL               BENNY J               NY         CV012936         WEITZ & LUXENBERG, PC
KOSHOFER             WAYNE R               NY         1902342017       WEITZ & LUXENBERG, PC                                KOZIOL               GENEVIEVE A           NY         CV012936         WEITZ & LUXENBERG, PC
KOSLIK               CLYDETTE              NY         10232001         WEITZ & LUXENBERG, PC                                KOZLOW               GEORGE                NY         12038801         WEITZ & LUXENBERG, PC
KOSLIK               RONALD                NY         10232001         WEITZ & LUXENBERG, PC                                KOZLOW               PATRICIA              NY         12038801         WEITZ & LUXENBERG, PC
KOSOVAN              BONITA M              NY         I200110018       WEITZ & LUXENBERG, PC                                KOZLOWSKI            ELEANOR               NY         10740502         WEITZ & LUXENBERG, PC
KOSOVAN              JOHN                  NY         I200110018       WEITZ & LUXENBERG, PC                                KOZLOWSKI            ELEANOR               NY         11415902         WEITZ & LUXENBERG, PC
KOSOVAN              RUTH V                NY         I200110018       WEITZ & LUXENBERG, PC                                KOZLOWSKI            FRANK M               NY         12198199         WEITZ & LUXENBERG, PC
KOSTELLO             MARY ELLEN            NY         12125003         WEITZ & LUXENBERG, PC                                KOZLOWSKI            GERALD R              NY         10644400         WEITZ & LUXENBERG, PC
KOSTELLO             ROBERT R              NY         12125003         WEITZ & LUXENBERG, PC                                KOZLOWSKI            JANICE                NY         10644400         WEITZ & LUXENBERG, PC
KOSTENBLATT          ALFRED                NY         10231601         WEITZ & LUXENBERG, PC                                KOZLOWSKI            JOAN                  NY         12198199         WEITZ & LUXENBERG, PC
KOSTENBLATT          ELAINE                NY         10231601         WEITZ & LUXENBERG, PC                                KOZLOWSKI            LEONARD               NY         19020610         WEITZ & LUXENBERG, PC
KOSTENBLATT          MARIE ELAINE          NY         10231601         WEITZ & LUXENBERG, PC                                KOZLOWSKI            LOUIS F               NY         02106707         WEITZ & LUXENBERG, PC
KOSTI                ALEXANDER M           NY         1902962013       WEITZ & LUXENBERG, PC                                KOZLOWSKI            PAUL J                NY         10740502         WEITZ & LUXENBERG, PC
KOSTICK              JOHN                  NY         11949001         WEITZ & LUXENBERG, PC                                KOZLOWSKI            PAUL J                NY         11415902         WEITZ & LUXENBERG, PC
KOSTICK              JOHN                  NY         01111220         WEITZ & LUXENBERG, PC                                KOZLOWSKI            RICHARD               NY         19020610         WEITZ & LUXENBERG, PC
KOSTICK              PATRICIA              NY         11949001         WEITZ & LUXENBERG, PC                                KOZUB                GEORGE                NY         10699902         WEITZ & LUXENBERG, PC
KOSTICK              PATRICIA              NY         01111220         WEITZ & LUXENBERG, PC                                KOZUB                HELEN                 NY         10699902         WEITZ & LUXENBERG, PC
KOSTYNIC             IWAN JOHN             NY         10090403         WEITZ & LUXENBERG, PC                                KOZUB                JOHN J                NY         10230801         WEITZ & LUXENBERG, PC
KOSTYNIC             ROSE                  NY         10090403         WEITZ & LUXENBERG, PC                                KOZUB                MARY ANNE             NY         10230801         WEITZ & LUXENBERG, PC
KOTLARCHYK           LINDA M               NY         01113334         WEITZ & LUXENBERG, PC                                KRABBELER            MADELINE              NY         11058200         WEITZ & LUXENBERG, PC
KOTLARCHYK           WILLIAM               NY         01113334         WEITZ & LUXENBERG, PC                                KRABBELER            MADELINE              NY         10835600         WEITZ & LUXENBERG, PC
KOTRAKOS             CAROLYN               NY         06112805         WEITZ & LUXENBERG, PC                                KRAEMER              ALICE M               NY         19013211         WEITZ & LUXENBERG, PC
KOTZ                 ANN                   NY         10647300         WEITZ & LUXENBERG, PC                                KRAEMER              CARLTON               NY         19013211         WEITZ & LUXENBERG, PC
KOTZ                 GEORGE H              NY         10647300         WEITZ & LUXENBERG, PC                                KRAFT                GEORGE O              NY         10644300         WEITZ & LUXENBERG, PC
KOUBA                CAROL                 NY         10647200         WEITZ & LUXENBERG, PC                                KRAFT                GERALDINE             NY         10644300         WEITZ & LUXENBERG, PC
KOUBA                ROBERT J              NY         10647200         WEITZ & LUXENBERG, PC                                KRAL                 CHARLES               NY         10871301         WEITZ & LUXENBERG, PC
KOUP                 EDWARD                NY         99107771         WEITZ & LUXENBERG, PC                                KRAL                 TERRY L               NY         10871301         WEITZ & LUXENBERG, PC
KOUP                 GEORGE W              NY         99107771         WEITZ & LUXENBERG, PC                                KRALL                GLENN R               NY         99107765         WEITZ & LUXENBERG, PC
KOUSOULAS            PETE                  NY         10751407         WEITZ & LUXENBERG, PC                                KRALL                RHONDA                NY         99107765         WEITZ & LUXENBERG, PC
KOVACIK              NANCY                 NY         1900482019       WEITZ & LUXENBERG, PC                                KRAMEK               CATHERINE M           NY         1900032017       WEITZ & LUXENBERG, PC
KOVACIK              THOMAS M              NY         1900482019       WEITZ & LUXENBERG, PC                                KRAMEK               EDWARD A              NY         10231001         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 972
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 307 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel

KRAMEK               RUTH                  NY         10231001         WEITZ & LUXENBERG, PC                                KRIESE               PATRICIA A            NY         10716802           WEITZ & LUXENBERG, PC
KRAMER               CHARLES               NY         10776499         WEITZ & LUXENBERG, PC                                KRIESE               RICHARD J             NY         10716802           WEITZ & LUXENBERG, PC
KRAMER               CYNTHIA K             NY         I20019837        WEITZ & LUXENBERG, PC                                KRIKORIAN            DOLORES               NY         11032206           WEITZ & LUXENBERG, PC
KRAMER               KENNETH GEORGE        NY         99107759         WEITZ & LUXENBERG, PC                                KRIKORIAN            JOSEPH                NY         11032206           WEITZ & LUXENBERG, PC
KRAMER               LOUIS                 NY         12110001         WEITZ & LUXENBERG, PC                                KRINER               ALVERTA               NY         10643800           WEITZ & LUXENBERG, PC
KRAMER               LOUIS                 NY         10648002         WEITZ & LUXENBERG, PC                                KRINER               WILFORD               NY         10643800           WEITZ & LUXENBERG, PC
KRAMER               LUCILLE               NY         11179902         WEITZ & LUXENBERG, PC                                KRINGS               SUSAN                 NY         1903752016         WEITZ & LUXENBERG, PC
KRAMER               LUCILLE               NY         10571402         WEITZ & LUXENBERG, PC                                KRISCH               MIKE                  NY         02105715           WEITZ & LUXENBERG, PC
KRAMER               PATRICIA              NY         99107759         WEITZ & LUXENBERG, PC                                KRISKEY              EDWARD J              NY         1902712017         WEITZ & LUXENBERG, PC
KRAMER               RHODA                 NY         12110001         WEITZ & LUXENBERG, PC                                KRISKEY              PHYLLIS               NY         1902712017         WEITZ & LUXENBERG, PC
KRAMER               RHODA                 NY         10648002         WEITZ & LUXENBERG, PC                                KRISTIANSEN          HANS                  NY         10231301           WEITZ & LUXENBERG, PC
KRAMER               ROBERT P              NY         I20019837        WEITZ & LUXENBERG, PC                                KRISTIANSEN          MATHILDE              NY         10231301           WEITZ & LUXENBERG, PC
KRAMER               SYLVIA                NY         10776499         WEITZ & LUXENBERG, PC                                KRIVACSY             BARBARA               NY         12039201           WEITZ & LUXENBERG, PC
KRAN                 ISAAC IKE             NY         10820903         WEITZ & LUXENBERG, PC                                KRIVACSY             VINCENT S             NY         12039201           WEITZ & LUXENBERG, PC
KRANTZ               ELVIRA                NY         10231101         WEITZ & LUXENBERG, PC                                KROELL               JOHN                  NY         12213801           WEITZ & LUXENBERG, PC
KRANTZ               GERARD                NY         10231101         WEITZ & LUXENBERG, PC                                KROELL               SONIA                 NY         12213801           WEITZ & LUXENBERG, PC
KRANZ                WILLIAM C             NY         10305902         WEITZ & LUXENBERG, PC                                KROESE               FRANS                 NY         11094700           WEITZ & LUXENBERG, PC
KRASINSKI            PHYLLIS               NY         02106580         WEITZ & LUXENBERG, PC                                KROESE               FRANS                 NY         10835100           WEITZ & LUXENBERG, PC
KRASINSKI            PHYLLIS               NY         11324102         WEITZ & LUXENBERG, PC                                KROESE               JUDITH                NY         11094700           WEITZ & LUXENBERG, PC
KRASINSKI            RICHARD D             NY         02106580         WEITZ & LUXENBERG, PC                                KROESE               JUDITH                NY         10835100           WEITZ & LUXENBERG, PC
KRASINSKI            RICHARD D             NY         11324102         WEITZ & LUXENBERG, PC                                KROHMER              DAVID J               NY         1903292016         WEITZ & LUXENBERG, PC
KRASS                CAROL                 NY         10582107         WEITZ & LUXENBERG, PC                                KROKEL               CAROL LISA            NY         10231501           WEITZ & LUXENBERG, PC
KRASS                CHARLES R             NY         10582107         WEITZ & LUXENBERG, PC                                KROKEL               CHARLES PATRICK       NY         10231501           WEITZ & LUXENBERG, PC
KRAUS                GEORGE                NY         11287802         WEITZ & LUXENBERG, PC                                KROMER               FRANCES               NY         99107762           WEITZ & LUXENBERG, PC
KRAUS                KURT                  NY         11287802         WEITZ & LUXENBERG, PC                                KROMER               KENNETH C             NY         99107762           WEITZ & LUXENBERG, PC
KRAUS                PRISCILLA             NY         11287802         WEITZ & LUXENBERG, PC                                KROMHOLIC            LOU                   NY         CV011214           WEITZ & LUXENBERG, PC
KRAUSE               JURGEN                NY         1900912019       WEITZ & LUXENBERG, PC                                KROMHOLIC            SHIRLEY A             NY         CV011214           WEITZ & LUXENBERG, PC
KRAUSE               MARIE                 NY         1900912019       WEITZ & LUXENBERG, PC                                KRONE                MARIANNE              NY         99107761           WEITZ & LUXENBERG, PC
KRAUSE               NORMA                 NY         12788802         WEITZ & LUXENBERG, PC                                KRONE                ROBERT D              NY         99107761           WEITZ & LUXENBERG, PC
KRAUSE               NORMAN                NY         12788802         WEITZ & LUXENBERG, PC                                KRONTHALER           MARILYN               NY         10643600           WEITZ & LUXENBERG, PC
KRAUTSACK            JUDITH ANN            NY         10644200         WEITZ & LUXENBERG, PC                                KRONTHALER           ROBERT MAX            NY         10643600           WEITZ & LUXENBERG, PC
KRAUTSACK            RICHARD F             NY         10644200         WEITZ & LUXENBERG, PC                                KROPF                EDWARD F              NY         10776399           WEITZ & LUXENBERG, PC
KRAUZA               MARY LOUISE           NY         10644100         WEITZ & LUXENBERG, PC                                KROPF                LILLIAN ANNA          NY         10776399           WEITZ & LUXENBERG, PC
KRAUZA               MATTHEW R             NY         10644100         WEITZ & LUXENBERG, PC                                KROTZ                DONALD M              NY         10571702           WEITZ & LUXENBERG, PC
KREBS                ELEANOR               NY         98121896         WEITZ & LUXENBERG, PC                                KROZER               JILL LEE              NY         11854598           WEITZ & LUXENBERG, PC
KREBS                JAMES MICHAEL         NY         CV016703         WEITZ & LUXENBERG, PC                                KRUEGER              DORLI                 NY         11029798           WEITZ & LUXENBERG, PC
KREBS                JOHN A                NY         98121896         WEITZ & LUXENBERG, PC                                KRUEGER              HORST                 NY         11029798           WEITZ & LUXENBERG, PC
KREBS                JOHN H                NY         1900932018       WEITZ & LUXENBERG, PC                                KRUK                 MARIE                 NY         10560504           WEITZ & LUXENBERG, PC
KREBS                JOHN R                NY         98121896         WEITZ & LUXENBERG, PC                                KRUK                 ROGER P               NY         10560504           WEITZ & LUXENBERG, PC
KREBS                SANDRA                NY         CV016703         WEITZ & LUXENBERG, PC                                KRULL                BARBARA ANNA          NY         11158903           WEITZ & LUXENBERG, PC
KREDA                ALLAN                 NY         10008603         WEITZ & LUXENBERG, PC                                KRULL                CLARENCE              NY         11158903           WEITZ & LUXENBERG, PC
KREFTA               GARY                  NY         98121891         WEITZ & LUXENBERG, PC                                KRUMENSKEN           DOROTHY               NY         11370404           WEITZ & LUXENBERG, PC
KREGER               RICHARD               NY         98122428         WEITZ & LUXENBERG, PC                                KRUMENSKEN           HARRY F               NY         11370404           WEITZ & LUXENBERG, PC
KREGG                KENNETH R             NY         11704700         WEITZ & LUXENBERG, PC                                KRUMHOLZ             STANLEY               NY         10643500           WEITZ & LUXENBERG, PC
KREGG                VIVIAN                NY         11704700         WEITZ & LUXENBERG, PC                                KRUS                 EDWARD L              NY         10456401           WEITZ & LUXENBERG, PC
KREIE                THOMAS HARRY          NY         10644000         WEITZ & LUXENBERG, PC                                KRUS                 MARY                  NY         10456401           WEITZ & LUXENBERG, PC
KRENN                JOHN M                NY         1902232015       WEITZ & LUXENBERG, PC                                KRYAK                BEATRICE              NY         00CIV1316          WEITZ & LUXENBERG, PC
KRENN                PHYLLIS               NY         1902232015       WEITZ & LUXENBERG, PC                                KRYAK                ROBERT T              NY         00CIV1316          WEITZ & LUXENBERG, PC
KRENT                ADELE C               NY         10658102         WEITZ & LUXENBERG, PC                                KRYSTOFIK            EDWARD                NY         99107754           WEITZ & LUXENBERG, PC
KRENT                ALFRED J              NY         10658102         WEITZ & LUXENBERG, PC                                KRYSTOFIK            KATHLEEN              NY         99107754           WEITZ & LUXENBERG, PC
KREPPS               SYLVIA                NY         98121893         WEITZ & LUXENBERG, PC                                KRYSZAK              JUDITH                NY         10571702           WEITZ & LUXENBERG, PC
KREPPS               WILLIAM J             NY         98121893         WEITZ & LUXENBERG, PC                                KRYSZAK              ROBERT J              NY         10571702           WEITZ & LUXENBERG, PC
KRESCONKO            JOSEPHINE             NY         10696502         WEITZ & LUXENBERG, PC                                KRZAL                CHRISTINE             NY         10505700           WEITZ & LUXENBERG, PC
KRESS                FRANK M               NY         99107760         WEITZ & LUXENBERG, PC                                KRZANOWICS           JACQUELINE            NY         10643400           WEITZ & LUXENBERG, PC
KRESS                FRANK M               NY         10776099         WEITZ & LUXENBERG, PC                                KRZANOWICZ           THOMAS JAMES          NY         10643400           WEITZ & LUXENBERG, PC
KRESS                SAVILLA M             NY         99107760         WEITZ & LUXENBERG, PC                                KSELMAN              ALBERT J              NY         19017809           WEITZ & LUXENBERG, PC
KRESS                SAVILLA M             NY         10776099         WEITZ & LUXENBERG, PC                                KSELMAN              ROBERT A              NY         19017809           WEITZ & LUXENBERG, PC
KRESSE               GERHARD E             NY         02105716         WEITZ & LUXENBERG, PC                                KSZANAK              JOHN                  NY         10710102           WEITZ & LUXENBERG, PC
KRESSE               PATRICIA B            NY         02105716         WEITZ & LUXENBERG, PC                                KSZANAK              JOHN                  NY         11967502           WEITZ & LUXENBERG, PC
KRETCHMER            BARBARA               NY         1903762013       WEITZ & LUXENBERG, PC                                KSZANAK              LORAINE               NY         10710102           WEITZ & LUXENBERG, PC
KRETCHMER            PAUL                  NY         10740002         WEITZ & LUXENBERG, PC                                KSZANAK              LORAINE               NY         11967502           WEITZ & LUXENBERG, PC
KRETCHMER            ROBERT M              NY         1903762013       WEITZ & LUXENBERG, PC                                KUBARYK              PETER                 NY         12009499           WEITZ & LUXENBERG, PC
KRETSCH              ROBERT                NY         12039101         WEITZ & LUXENBERG, PC                                KUBARYK              PHYLLIS A             NY         12009499           WEITZ & LUXENBERG, PC
KRETZMAN             ROBERT K              NY         12269901         WEITZ & LUXENBERG, PC                                KUBERA               JOSEPH                NY         99107753           WEITZ & LUXENBERG, PC
KREUDER              GARY E                NY         02106690         WEITZ & LUXENBERG, PC                                KUBERA               NANCY J               NY         99107753           WEITZ & LUXENBERG, PC
KRICKS               HELMUT F              NY         11096300         WEITZ & LUXENBERG, PC                                KUBISTY              GAIL                  NY         10545399           WEITZ & LUXENBERG, PC
KRICKS               HELMUT F              NY         10835100         WEITZ & LUXENBERG, PC                                KUBIT                DANIEL J              NY         12173997_ADMIN_CTD WEITZ & LUXENBERG, PC
KRICKS               RITA                  NY         11096300         WEITZ & LUXENBERG, PC                                KUBIT                NANCY C               NY         12173997_ADMIN_CTD WEITZ & LUXENBERG, PC
KRICKS               RITA                  NY         10835100         WEITZ & LUXENBERG, PC                                KUCERA               LOUIS L               NY         11870401           WEITZ & LUXENBERG, PC
KRIEGER              ALAN                  NY         01113337         WEITZ & LUXENBERG, PC                                KUCERA               LOUIS L               NY         01111233           WEITZ & LUXENBERG, PC
KRIEGER              SANDRA                NY         01113337         WEITZ & LUXENBERG, PC                                KUCHAREW             JOHN                  NY         10871301           WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 973
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 308 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KUCHAREW             NADIA                 NY         10871301           WEITZ & LUXENBERG, PC                                KURTZ                ELIZABETH             NY         01111226         WEITZ & LUXENBERG, PC
KUCHTENKO            DANIELLE              NY         10229501           WEITZ & LUXENBERG, PC                                KURTZ                RICHARD               NY         00106430         WEITZ & LUXENBERG, PC
KUCHTENKO            DEBRA                 NY         10229501           WEITZ & LUXENBERG, PC                                KURZ                 ISSY S                NY         99107803         WEITZ & LUXENBERG, PC
KUCHTENKO            NICHOLAS              NY         10229501           WEITZ & LUXENBERG, PC                                KURZ                 JACK                  NY         99107803         WEITZ & LUXENBERG, PC
KUCK                 MARY                  NY         10775699           WEITZ & LUXENBERG, PC                                KURZ                 LENORE                NY         11704900         WEITZ & LUXENBERG, PC
KUCK                 ROBERT HENRY          NY         10775699           WEITZ & LUXENBERG, PC                                KURZ                 MANFRED               NY         11704900         WEITZ & LUXENBERG, PC
KUCZKOWSKI           ALICE                 NY         98121916           WEITZ & LUXENBERG, PC                                KURZ                 MURIEL                NY         10045802         WEITZ & LUXENBERG, PC
KUCZKOWSKI           JAMES J               NY         98121916           WEITZ & LUXENBERG, PC                                KURZ                 ROSE                  NY         99107803         WEITZ & LUXENBERG, PC
KUCZKOWSKI           JOSEPH B              NY         98121916           WEITZ & LUXENBERG, PC                                KURZ                 THEODORE J            NY         10045802         WEITZ & LUXENBERG, PC
KUCZYNSKI            JUDITH                NY         10775599           WEITZ & LUXENBERG, PC                                KUSELEWICZ           MARY                  NY         10642900         WEITZ & LUXENBERG, PC
KUCZYNSKI            NORA JEAN             NY         10232707           WEITZ & LUXENBERG, PC                                KUSHMAN              MYRNA                 NY         12111101         WEITZ & LUXENBERG, PC
KUCZYNSKI            STANLEY F             NY         10232707           WEITZ & LUXENBERG, PC                                KUSHMAN              MYRNA                 NY         01111224         WEITZ & LUXENBERG, PC
KUCZYNSKI            WALTER                NY         10775599           WEITZ & LUXENBERG, PC                                KUSHMAN              PHILIP                NY         12111101         WEITZ & LUXENBERG, PC
KUDIEL               DIANE L               NY         11679607           WEITZ & LUXENBERG, PC                                KUSHMAN              PHILIP                NY         01111224         WEITZ & LUXENBERG, PC
KUEBLER              DON                   NY         02106580           WEITZ & LUXENBERG, PC                                KUSNIR               JOSEPH                NY         02107102         WEITZ & LUXENBERG, PC
KUEBLER              DONALD J              NY         11324002           WEITZ & LUXENBERG, PC                                KUSNIR               MAUREEN               NY         02107102         WEITZ & LUXENBERG, PC
KUEBLER              MARY                  NY         02106580           WEITZ & LUXENBERG, PC                                KUSZELEWICZ          WALTER L              NY         10642900         WEITZ & LUXENBERG, PC
KUEBLER              MARY M                NY         11324002           WEITZ & LUXENBERG, PC                                KUTCHEY WHEELER      CAROL A               NY         12448902         WEITZ & LUXENBERG, PC
KUEBLER              OLGA A                NY         10587102           WEITZ & LUXENBERG, PC                                KUTSCHE              GERHART               NY         10008703         WEITZ & LUXENBERG, PC
KUEBLER              ROBERT J              NY         10587102           WEITZ & LUXENBERG, PC                                KUTZA                MARIANNE              NY         01111220         WEITZ & LUXENBERG, PC
KUEFNER              ANTHONY J             NY         99107798           WEITZ & LUXENBERG, PC                                KUZE                 HIROKO                NY         1903802014       WEITZ & LUXENBERG, PC
KUEFNER              CLARA W               NY         99107798           WEITZ & LUXENBERG, PC                                KUZIORA              STANLEY M             NY         10229801         WEITZ & LUXENBERG, PC
KUEHNE               GLORIA                NY         11356702           WEITZ & LUXENBERG, PC                                KUZNIAR              JAMES A               NY         10587202         WEITZ & LUXENBERG, PC
KUEHNE               JAMES LOUIS           NY         11356702           WEITZ & LUXENBERG, PC                                KUZNIAR              PATRICIA              NY         10587202         WEITZ & LUXENBERG, PC
KUESTER              ALVIN S               NY         10547000           WEITZ & LUXENBERG, PC                                KWARCIAK             JUDY                  NY         11094900         WEITZ & LUXENBERG, PC
KUGLER               RALPH G               NY         10964602           WEITZ & LUXENBERG, PC                                KWARCIAK             JUDY                  NY         10835100         WEITZ & LUXENBERG, PC
KUITEMS              ALBERT C              NY         10740202           WEITZ & LUXENBERG, PC                                KWARCIAK             RICHARD E             NY         11094900         WEITZ & LUXENBERG, PC
KUITEMS              JANE H                NY         10740302           WEITZ & LUXENBERG, PC                                KWARCIAK             RICHARD E             NY         10835100         WEITZ & LUXENBERG, PC
KUITEMS              PHYLLIS J             NY         10740202           WEITZ & LUXENBERG, PC                                KWASNIEWSKI          PAUL L                NY         1904052012       WEITZ & LUXENBERG, PC
KUITEMS              RALPH                 NY         10740302           WEITZ & LUXENBERG, PC                                KWASNIK              ANDREW F              NY         11235700         WEITZ & LUXENBERG, PC
KUKLA                GEORGE O              NY         10065402           WEITZ & LUXENBERG, PC                                KWASNIK              FRANCES J             NY         11235700         WEITZ & LUXENBERG, PC
KUKLA                JANET BAYER           NY         10065402           WEITZ & LUXENBERG, PC                                KWIATKOWSKI          JOHN J                NY         11977501         WEITZ & LUXENBERG, PC
KULAK                HENRY W               NY         12191298           WEITZ & LUXENBERG, PC                                KWIATKOWSKI          JOHN J                NY         11123201         WEITZ & LUXENBERG, PC
KULAK                LOUISE                NY         12191298           WEITZ & LUXENBERG, PC                                KWITEK               JOSEPH                NY         99107802         WEITZ & LUXENBERG, PC
KULAK                MILTON J              NY         10669102           WEITZ & LUXENBERG, PC                                KWITEK               LONGINA               NY         99107802         WEITZ & LUXENBERG, PC
KULAK                MILTON J              NY         11475702           WEITZ & LUXENBERG, PC                                KWOKA                JOHN                  NY         11577704         WEITZ & LUXENBERG, PC
KULCZYK              NOREEN                NY         11356702           WEITZ & LUXENBERG, PC                                KYER                 DORIS R               NY         111609           WEITZ & LUXENBERG, PC
KULCZYK              ROBERT                NY         11356702           WEITZ & LUXENBERG, PC                                KYER                 ROBERT C              NY         111609           WEITZ & LUXENBERG, PC
KULEBA               CAMILLIA              NY         10780099           WEITZ & LUXENBERG, PC                                KYLE                 DUANE R               NY         02106707         WEITZ & LUXENBERG, PC
KULEBA               MICHAEL               NY         10780099           WEITZ & LUXENBERG, PC                                LA BARBERA           GERALDINE             NY         99107801         WEITZ & LUXENBERG, PC
KULIS                EUGENE                NY         12788802           WEITZ & LUXENBERG, PC                                LA BARBERA           HENRY R               NY         10642800         WEITZ & LUXENBERG, PC
KULKIEWICZ           KENNETH               NY         10023403           WEITZ & LUXENBERG, PC                                LA BARBERA           JOSEPH                NY         10642700         WEITZ & LUXENBERG, PC
KULKIEWICZ           MARY                  NY         10023403           WEITZ & LUXENBERG, PC                                LA BARBERA           MARILYN               NY         10642700         WEITZ & LUXENBERG, PC
KULL                 JAMES P               NY         10699902           WEITZ & LUXENBERG, PC                                LA BARBERA           VITO                  NY         99107801         WEITZ & LUXENBERG, PC
KULLMAN              SUZANNE               NY         99112915           WEITZ & LUXENBERG, PC                                LA BARGE             KEVIN J               NY         10587402         WEITZ & LUXENBERG, PC
KULLMAN              WILBUR F              NY         99112915           WEITZ & LUXENBERG, PC                                LA BATE              EMILIO                NY         10640800         WEITZ & LUXENBERG, PC
KULP                 CAROL                 NY         1246315            WEITZ & LUXENBERG, PC                                LA BATE              FRANCES               NY         10640800         WEITZ & LUXENBERG, PC
KULP                 NORMAN C              NY         1246315            WEITZ & LUXENBERG, PC                                LA BRECK             RICHARD J             NY         11327802         WEITZ & LUXENBERG, PC
KUMM                 ELMER                 NY         99107799           WEITZ & LUXENBERG, PC                                LA CHANCE            CHRISTINE             NY         02107102         WEITZ & LUXENBERG, PC
KUMM                 RUTH                  NY         99107799           WEITZ & LUXENBERG, PC                                LA CHANCE            GERALD J              NY         02107102         WEITZ & LUXENBERG, PC
KUMMER               EGON M                NY         10835100           WEITZ & LUXENBERG, PC                                LA CLAIR             DAVID                 NY         10700102         WEITZ & LUXENBERG, PC
KUMMER               HEDWIG                NY         10835100           WEITZ & LUXENBERG, PC                                LA CLAIRE            GEORGE E              NY         02107006         WEITZ & LUXENBERG, PC
KUMPE                EDWARD JACKSON        NY         CV016912           WEITZ & LUXENBERG, PC                                LA CLAIRE            GEORGE E              NY         11799402         WEITZ & LUXENBERG, PC
KUMPE                MARLENE               NY         CV016912           WEITZ & LUXENBERG, PC                                LA CLAIRE            ROBERT                NY         02107006         WEITZ & LUXENBERG, PC
KUNISCH              FRITZ                 NY         10229701           WEITZ & LUXENBERG, PC                                LA CLAIRE            ROBERT                NY         11799402         WEITZ & LUXENBERG, PC
KUNISCH              MARTHA                NY         10229701           WEITZ & LUXENBERG, PC                                LA COMBE             LORNA R               NY         02106578         WEITZ & LUXENBERG, PC
KUNKEL               MARLENE E             NY         02106707           WEITZ & LUXENBERG, PC                                LA COMBE             ROBERT P              NY         02106578         WEITZ & LUXENBERG, PC
KUNKEL               MARLENE E             NY         11569102           WEITZ & LUXENBERG, PC                                LA COSS              DONNA L               NY         10680802         WEITZ & LUXENBERG, PC
KUNKEL               NEIL ALAN             NY         02106707           WEITZ & LUXENBERG, PC                                LA COSS              DONNA L               NY         11059002         WEITZ & LUXENBERG, PC
KUNKEL               NEIL ALAN             NY         11569102           WEITZ & LUXENBERG, PC                                LA COSS              GARRY JAMES           NY         10680802         WEITZ & LUXENBERG, PC
KUNO                 JAMES E               NY         11051103           WEITZ & LUXENBERG, PC                                LA COSS              GARRY JAMES           NY         11059002         WEITZ & LUXENBERG, PC
KUNO                 SHARON A              NY         11051103           WEITZ & LUXENBERG, PC                                LA COUNT             KATHYLEEN             NY         02113280         WEITZ & LUXENBERG, PC
KUNSCH               GENEVIEVE M           NY         10643200           WEITZ & LUXENBERG, PC                                LA COUNT             WILLIAM J             NY         02113280         WEITZ & LUXENBERG, PC
KUNSCH               RICHARD               NY         10643200           WEITZ & LUXENBERG, PC                                LA DEAUX             PAULINE               NY         02106579         WEITZ & LUXENBERG, PC
KUPLEN               ELIZABETH             NY         11142698_ADMIN_CTD WEITZ & LUXENBERG, PC                                LA DEAUX             RAYMOND               NY         02106579         WEITZ & LUXENBERG, PC
KURILOVITCH          STEPHEN               NY         10643100           WEITZ & LUXENBERG, PC                                LA DUE               FRANK W               NY         10587402         WEITZ & LUXENBERG, PC
KURKLAND             LOUIS                 NY         11056702           WEITZ & LUXENBERG, PC                                LA DUE               HARRY CHARLES         NY         10680602         WEITZ & LUXENBERG, PC
KURPIEWSKI           MARIAN                NY         99120285           WEITZ & LUXENBERG, PC                                LA DUE               PHYLLIS I             NY         10587402         WEITZ & LUXENBERG, PC
KURPIEWSKI           WALTER                NY         99120285           WEITZ & LUXENBERG, PC                                LA DUKE              ALBERT J              NY         02113280         WEITZ & LUXENBERG, PC
KURTZ                EDWARD O              NY         01111226           WEITZ & LUXENBERG, PC                                LA FERLITA           GIOVANNI              NY         10640700         WEITZ & LUXENBERG, PC
KURTZ                ELEANOR               NY         00106430           WEITZ & LUXENBERG, PC                                LA FERLITA           MARIA                 NY         10640700         WEITZ & LUXENBERG, PC




                                                                                                              Appendix A - 974
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 309 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LA FERRERA           ANTHONY               NY         10294502         WEITZ & LUXENBERG, PC                                LABRECK              JOHN A                NY         19025409         WEITZ & LUXENBERG, PC
LA FORCE             DONNA                 NY         10740302         WEITZ & LUXENBERG, PC                                LABRECK              VICTORIA              NY         19025409         WEITZ & LUXENBERG, PC
LA FORCE             RICHARD M             NY         10740302         WEITZ & LUXENBERG, PC                                LACCONA              ELENA                 NY         1902702017       WEITZ & LUXENBERG, PC
LA FOREST            JEAN                  NY         02106579         WEITZ & LUXENBERG, PC                                LACCONA              ROCCO                 NY         1902702017       WEITZ & LUXENBERG, PC
LA FOREST            VERNON                NY         02106579         WEITZ & LUXENBERG, PC                                LACH                 VITOLD                NY         10640600         WEITZ & LUXENBERG, PC
LA FORTUNE           GERALD                NY         11027002         WEITZ & LUXENBERG, PC                                LACKNER              HANS J                NY         10871301         WEITZ & LUXENBERG, PC
LA GOY               ANNETTE M             NY         11026802         WEITZ & LUXENBERG, PC                                LACKNER              JOSEPHINE             NY         10871301         WEITZ & LUXENBERG, PC
LA GOY               DAVID WILLIAM         NY         11026802         WEITZ & LUXENBERG, PC                                LACLAIR              AMOS W                NY         10680702         WEITZ & LUXENBERG, PC
LA GRECA             DOMINICK              NY         10547100         WEITZ & LUXENBERG, PC                                LACORTE              ANTHONY               NY         99107785         WEITZ & LUXENBERG, PC
LA GRECA             VALENCIA              NY         10547100         WEITZ & LUXENBERG, PC                                LACORTE              CATHERINE             NY         99107785         WEITZ & LUXENBERG, PC
LA MAGNA             BERNARD               NY         98121910         WEITZ & LUXENBERG, PC                                LACROCE              CARMELLA              NY         10226101         WEITZ & LUXENBERG, PC
LA MAGNA             MAFALDA               NY         98121910         WEITZ & LUXENBERG, PC                                LACROCE              FRED                  NY         10226101         WEITZ & LUXENBERG, PC
LA MANTIA            PATRICIA              NY         01108104         WEITZ & LUXENBERG, PC                                LADENHEIM            DEBRA                 NY         98117711         WEITZ & LUXENBERG, PC
LA MANTIA            ROBERT                NY         01108104         WEITZ & LUXENBERG, PC                                LADONNA              DANIEL H              NY         02106508         WEITZ & LUXENBERG, PC
LA MARQUE            PATRICIA              NY         11356702         WEITZ & LUXENBERG, PC                                LADUE                BRUCE F               NY         02106694         WEITZ & LUXENBERG, PC
LA MARQUE            RONALD                NY         11356702         WEITZ & LUXENBERG, PC                                LADUE                CHARLES O             NY         10670402         WEITZ & LUXENBERG, PC
LA MENDOLA           CHARLES M             NY         11094600         WEITZ & LUXENBERG, PC                                LADUE                FRANCIS               NY         10640400         WEITZ & LUXENBERG, PC
LA MENDOLA           CHARLES M             NY         10835100         WEITZ & LUXENBERG, PC                                LADUE                MARILYN L             NY         10670402         WEITZ & LUXENBERG, PC
LA MENDOLA           PETER J               NY         11094600         WEITZ & LUXENBERG, PC                                LADUE                ROBERTA               NY         10640400         WEITZ & LUXENBERG, PC
LA MENDOLA           PETER J               NY         10835100         WEITZ & LUXENBERG, PC                                LADUE                SAMMIE L              NY         02106694         WEITZ & LUXENBERG, PC
LA PLACA             DANTE J               NY         12039401         WEITZ & LUXENBERG, PC                                LADUKE               BARBARA               NY         10680602         WEITZ & LUXENBERG, PC
LA PLACA             FANNIE                NY         12039401         WEITZ & LUXENBERG, PC                                LADUKE               BARBARA               NY         11050102         WEITZ & LUXENBERG, PC
LA PLACA             PHILLIP J             NY         10737199         WEITZ & LUXENBERG, PC                                LADUKE               ELSIE                 NY         11349303         WEITZ & LUXENBERG, PC
LA PLANTE            BARBARA               NY         10658102         WEITZ & LUXENBERG, PC                                LADUKE               LOUIS S               NY         11349303         WEITZ & LUXENBERG, PC
LA PLANTE            CARL E                NY         10658102         WEITZ & LUXENBERG, PC                                LAERA                LORRAINE              NY         11446704         WEITZ & LUXENBERG, PC
LA POINTE            MARILYN H             NY         11055701         WEITZ & LUXENBERG, PC                                LAERA                VITO J                NY         11446704         WEITZ & LUXENBERG, PC
LA POINTE            MARILYN H             NY         12448902         WEITZ & LUXENBERG, PC                                LAESE                ROBERT J              NY         10226201         WEITZ & LUXENBERG, PC
LA POINTE            WAYNE A               NY         11055701         WEITZ & LUXENBERG, PC                                LAESE                RUTH                  NY         10226201         WEITZ & LUXENBERG, PC
LA POINTE            WAYNE A               NY         12448902         WEITZ & LUXENBERG, PC                                LAETTNER             NANCY C               NY         10722202         WEITZ & LUXENBERG, PC
LA PORTE             DAWN                  NY         10313200         WEITZ & LUXENBERG, PC                                LAETTNER             NANCY C               NY         11362202         WEITZ & LUXENBERG, PC
LA RIVIERE           AGNES                 NY         19005312         WEITZ & LUXENBERG, PC                                LAFE                 ESPERANZA             NY         11162403         WEITZ & LUXENBERG, PC
LA RIVIERE           FRANK                 NY         19005312         WEITZ & LUXENBERG, PC                                LAFE                 GILBERT               NY         11162403         WEITZ & LUXENBERG, PC
LA ROCCA             ANN                   NY         12444102         WEITZ & LUXENBERG, PC                                LAFFEY               MARTIN                NY         01111235         WEITZ & LUXENBERG, PC
LA ROCCA             ANTHONY               NY         12239301         WEITZ & LUXENBERG, PC                                LAFFEY               PATRICK               NY         10591402         WEITZ & LUXENBERG, PC
LA ROCCA             ANTHONY               NY         10090403         WEITZ & LUXENBERG, PC                                LAFFEY               ROSE                  NY         10591402         WEITZ & LUXENBERG, PC
LA ROCCA             DONNA                 NY         02107005         WEITZ & LUXENBERG, PC                                LAFOREST             CAROL J               NY         12192598         WEITZ & LUXENBERG, PC
LA ROCCA             FRANCES               NY         12239301         WEITZ & LUXENBERG, PC                                LAFOREST             MARILYN J             NY         12192598         WEITZ & LUXENBERG, PC
LA ROCCA             JAMES A               NY         12444102         WEITZ & LUXENBERG, PC                                LAFOREST             MELVIN J              NY         12192598         WEITZ & LUXENBERG, PC
LA ROCCA             PAUL                  NY         02107005         WEITZ & LUXENBERG, PC                                LAFORGUE             BRENDAN               NY         10871301         WEITZ & LUXENBERG, PC
LA ROCCA             VINCENT               NY         12239301         WEITZ & LUXENBERG, PC                                LAFORGUE             BRIDGET               NY         10871301         WEITZ & LUXENBERG, PC
LA ROCCO             VINCENT               NY         11095000         WEITZ & LUXENBERG, PC                                LAFORTE              CONCETTA              NY         10360007         WEITZ & LUXENBERG, PC
LA ROCCO             VINCENT               NY         10835100         WEITZ & LUXENBERG, PC                                LAFORTE              FRANCES               NY         10028901         WEITZ & LUXENBERG, PC
LA RONDE             CARLEEN               NY         10722102         WEITZ & LUXENBERG, PC                                LAFORTE              VINCENT               NY         10360007         WEITZ & LUXENBERG, PC
LA RONDE             DENNIS D              NY         10722102         WEITZ & LUXENBERG, PC                                LAFRANCE             BRENDA                NY         02106692         WEITZ & LUXENBERG, PC
LA ROSA              CHARLES               NY         10225901         WEITZ & LUXENBERG, PC                                LAFRANCE             JAKE W                NY         02106692         WEITZ & LUXENBERG, PC
LA SCALA             MARJORIE              NY         10780599         WEITZ & LUXENBERG, PC                                LAFRAZZA             RALPH                 NY         10640300         WEITZ & LUXENBERG, PC
LA SCALA             SALVATORE J           NY         10780599         WEITZ & LUXENBERG, PC                                LAGAMBINA            ANGELO                NY         98121926         WEITZ & LUXENBERG, PC
LA SELVA             LUCREZIA              NY         11027002         WEITZ & LUXENBERG, PC                                LAGAMBINA            ANNA                  NY         98121926         WEITZ & LUXENBERG, PC
LA SELVA             LUCREZIA              NY         12671202         WEITZ & LUXENBERG, PC                                LAGANO-CROUCH        LYNNE F               NY         1901572016       WEITZ & LUXENBERG, PC
LA SELVA             MODESTO               NY         11027002         WEITZ & LUXENBERG, PC                                LAGASSE              DONALD F              NY         10778199         WEITZ & LUXENBERG, PC
LA SELVA             MODESTO               NY         12671202         WEITZ & LUXENBERG, PC                                LAGGENBAUER          CECILIA RUTH          NY         11095100         WEITZ & LUXENBERG, PC
LA SHOMB             HARVEY J              NY         10740402         WEITZ & LUXENBERG, PC                                LAGGENBAUER          CECILIA RUTH          NY         10835100         WEITZ & LUXENBERG, PC
LABANOWSKI           ALFRED                NY         10778399         WEITZ & LUXENBERG, PC                                LAGGENBAUER          EDWARD H              NY         11095100         WEITZ & LUXENBERG, PC
LABANOWSKI           ANN T                 NY         10778399         WEITZ & LUXENBERG, PC                                LAGGENBAUER          EDWARD H              NY         10835100         WEITZ & LUXENBERG, PC
LABAR                RANDY A               NY         10700002         WEITZ & LUXENBERG, PC                                LAGHEZZA             ELIZABETH             NY         10640200         WEITZ & LUXENBERG, PC
LABARGE              DIANNA                NY         19033111         WEITZ & LUXENBERG, PC                                LAGHEZZA             FRANK                 NY         10640200         WEITZ & LUXENBERG, PC
LABARGE              LEWIS                 NY         19033111         WEITZ & LUXENBERG, PC                                LAGLENNE             CHRISTIAN             NY         10226301         WEITZ & LUXENBERG, PC
LABARGE              PAMELLA J             NY         10669102         WEITZ & LUXENBERG, PC                                LAGLENNE             LINDA                 NY         10226301         WEITZ & LUXENBERG, PC
LABARGE              RICHARD E             NY         10669102         WEITZ & LUXENBERG, PC                                LAGRECA              BARNEY JR             NY         10547200         WEITZ & LUXENBERG, PC
LABARRE              CHARLES DONALD        NY         12668702         WEITZ & LUXENBERG, PC                                LAGRECA              JAMES                 NY         19035210         WEITZ & LUXENBERG, PC
LABOCCETTA           ARLENE A              NY         19034609         WEITZ & LUXENBERG, PC                                LAGRECA              TINA                  NY         19035210         WEITZ & LUXENBERG, PC
LABOMBARD            AUDREY                NY         99107782         WEITZ & LUXENBERG, PC                                LAGUEUX              CAROL                 NY         12668202         WEITZ & LUXENBERG, PC
LABOMBARD            PAUL L                NY         99107782         WEITZ & LUXENBERG, PC                                LAGUEUX              PAUL                  NY         12668202         WEITZ & LUXENBERG, PC
LABONTE              LISA                  NY         12668102         WEITZ & LUXENBERG, PC                                LAHEY                FRANCIS D             NY         10640100         WEITZ & LUXENBERG, PC
LABONTE              LISA                  NY         10351703         WEITZ & LUXENBERG, PC                                LAHEY                FRANCIS D             NY         10817104         WEITZ & LUXENBERG, PC
LABONTE              MARSHALL              NY         12668102         WEITZ & LUXENBERG, PC                                LAHEY                ROSE MARIE            NY         10640100         WEITZ & LUXENBERG, PC
LABONTE              MARSHALL              NY         10351703         WEITZ & LUXENBERG, PC                                LAHEY                ROSE MARIE            NY         10817104         WEITZ & LUXENBERG, PC
LABRAKE              AGNES                 NY         10680702         WEITZ & LUXENBERG, PC                                LAIDLA               KALJO                 NY         10226401         WEITZ & LUXENBERG, PC
LABRAKE              CAROL                 NY         10680802         WEITZ & LUXENBERG, PC                                LAIDLA               MAUREEN               NY         10226401         WEITZ & LUXENBERG, PC
LABRAKE              LOUIS                 NY         10680802         WEITZ & LUXENBERG, PC                                LAINO                CONSTANCE C           NY         00105299         WEITZ & LUXENBERG, PC
LABRAKE              ROBERT E              NY         10680702         WEITZ & LUXENBERG, PC                                LAINO                EMIL                  NY         00105299         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 975
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 310 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LAJEUNESSE           EUGENE                NY         19042409         WEITZ & LUXENBERG, PC                                LAMP                 RAYMOND W             NY         98121917         WEITZ & LUXENBERG, PC
LAJEUNESSE           ROSELLA               NY         19042409         WEITZ & LUXENBERG, PC                                LAMPERT              HENRY E               NY         10774399         WEITZ & LUXENBERG, PC
LAKE                 ELIJAH H              NY         991077780        WEITZ & LUXENBERG, PC                                LANAHAN              JAMES R               NY         10777799         WEITZ & LUXENBERG, PC
LAKE                 MARIE                 NY         991077780        WEITZ & LUXENBERG, PC                                LANAHAN              KATHY                 NY         10777799         WEITZ & LUXENBERG, PC
LAKSO                JOHN                  NY         10669502         WEITZ & LUXENBERG, PC                                LANCASTER            CAROLYN HUBBARD       NY         01CIV3910        WEITZ & LUXENBERG, PC
LAKSO                JOHN                  NY         11897302         WEITZ & LUXENBERG, PC                                LANCIA               COSIMINA              NY         01111224         WEITZ & LUXENBERG, PC
LAKSO                LINDA M               NY         10669502         WEITZ & LUXENBERG, PC                                LANCIA               JOHN R                NY         11703200         WEITZ & LUXENBERG, PC
LAKSO                LINDA M               NY         11897302         WEITZ & LUXENBERG, PC                                LANCIA               MARIO                 NY         01111224         WEITZ & LUXENBERG, PC
LALAMA               DONATO                NY         11095200         WEITZ & LUXENBERG, PC                                LANCIA               ROSINA                NY         11703200         WEITZ & LUXENBERG, PC
LALAMA               DONATO                NY         10835100         WEITZ & LUXENBERG, PC                                LANCLEOT             DOLORES               NY         10641500         WEITZ & LUXENBERG, PC
LALAMA               LIDIA                 NY         11095200         WEITZ & LUXENBERG, PC                                LANCLEOT             DONALD J              NY         10641500         WEITZ & LUXENBERG, PC
LALAMA               LIDIA                 NY         10835100         WEITZ & LUXENBERG, PC                                LANDAETA             HECTOR                NY         19033910         WEITZ & LUXENBERG, PC
LALKA                JOSEPH                NY         12119097         WEITZ & LUXENBERG, PC                                LANDAETA             MARJORIE              NY         19033910         WEITZ & LUXENBERG, PC
LALKA                ROBIN                 NY         12119097         WEITZ & LUXENBERG, PC                                LANDAU               DOROTHY               NY         10777599         WEITZ & LUXENBERG, PC
LALLA                JAMES A               NY         1902232017       WEITZ & LUXENBERG, PC                                LANDAU               ROBERT A              NY         10777599         WEITZ & LUXENBERG, PC
LALONDE              EDWARD D              NY         10680602         WEITZ & LUXENBERG, PC                                LANDER               DOUGLAS               NY         10641400         WEITZ & LUXENBERG, PC
LALONDE              KAREN M               NY         10680602         WEITZ & LUXENBERG, PC                                LANDERS              ANTHONY V             NY         99120121         WEITZ & LUXENBERG, PC
LAMACCHIA            GRACE                 NY         99107779         WEITZ & LUXENBERG, PC                                LANDERS              CLARICE               NY         01CIV3900        WEITZ & LUXENBERG, PC
LAMACCHIA            JOSEPH                NY         99107779         WEITZ & LUXENBERG, PC                                LANDERS              GLADYS A              NY         99120121         WEITZ & LUXENBERG, PC
LAMANNA              RICHARD A             NY         12433902         WEITZ & LUXENBERG, PC                                LANDERS              HAROLD LACY           NY         01CIV7366        WEITZ & LUXENBERG, PC
LAMANNA              RICHARD A             NY         10199603         WEITZ & LUXENBERG, PC                                LANDERS              LEA                   NY         01CIV7366        WEITZ & LUXENBERG, PC
LAMAR                CORELINE              NY         12596402         WEITZ & LUXENBERG, PC                                LANDI                ALBERT                NY         12039801         WEITZ & LUXENBERG, PC
LAMAR                JOHN H                NY         11703100         WEITZ & LUXENBERG, PC                                LANDI                HELEN                 NY         12039801         WEITZ & LUXENBERG, PC
LAMAR                NAOMI                 NY         11703100         WEITZ & LUXENBERG, PC                                LANDREVILLE          CHARLES W             NY         10226501         WEITZ & LUXENBERG, PC
LAMAR                ROBERT L              NY         12596402         WEITZ & LUXENBERG, PC                                LANDRIGAN            GEORGE                NY         11349103         WEITZ & LUXENBERG, PC
LAMB                 CATHERINE             NY         10639900         WEITZ & LUXENBERG, PC                                LANDRIO              DOROTHY               NY         10587402         WEITZ & LUXENBERG, PC
LAMB                 CATHERINE ANN         NY         106399000        WEITZ & LUXENBERG, PC                                LANDRIO              DOROTHY               NY         10992502         WEITZ & LUXENBERG, PC
LAMB                 EDWARD E              NY         10640000         WEITZ & LUXENBERG, PC                                LANDRIO              HAROLD                NY         10587402         WEITZ & LUXENBERG, PC
LAMB                 GERALD WALTER         NY         106399000        WEITZ & LUXENBERG, PC                                LANDRIO              HAROLD                NY         10992502         WEITZ & LUXENBERG, PC
LAMB                 LORRAINE C            NY         10806708         WEITZ & LUXENBERG, PC                                LANDRIO              HAROLD W              NY         10587402         WEITZ & LUXENBERG, PC
LAMB                 NANCY J               NY         10640000         WEITZ & LUXENBERG, PC                                LANDRIO              HAROLD W              NY         10992502         WEITZ & LUXENBERG, PC
LAMB                 ROBERT                NY         10806708         WEITZ & LUXENBERG, PC                                LANDRY               ANDREW                NY         02120618         WEITZ & LUXENBERG, PC
LAMBERT              AMADO                 NY         19021210         WEITZ & LUXENBERG, PC                                LANDRY               LOIS                  NY         02120618         WEITZ & LUXENBERG, PC
LAMBERT              CARLA                 NY         12399394         WEITZ & LUXENBERG, PC                                LANDSIEDEL           JOHN R                NY         12043001         WEITZ & LUXENBERG, PC
LAMBERT              EVELYN                NY         11104603         WEITZ & LUXENBERG, PC                                LANDSIEDEL           JOHN R                NY         10031202         WEITZ & LUXENBERG, PC
LAMBERT              FLORENCE              NY         12399394         WEITZ & LUXENBERG, PC                                LANDSIEDEL           NANCY C               NY         12043001         WEITZ & LUXENBERG, PC
LAMBERT              GEORGE HENRY          NY         10688305         WEITZ & LUXENBERG, PC                                LANDSIEDEL           NANCY C               NY         10031202         WEITZ & LUXENBERG, PC
LAMBERT              IRENE                 NY         10688305         WEITZ & LUXENBERG, PC                                LANE                 BRIDGET               NY         10526405         WEITZ & LUXENBERG, PC
LAMBERT              ISABEL                NY         19021210         WEITZ & LUXENBERG, PC                                LANE                 DONNIE R              NY         19003312         WEITZ & LUXENBERG, PC
LAMBERT              LAWRENCE              NY         1900652016       WEITZ & LUXENBERG, PC                                LANE                 DOUGLAS E             NY         01CIV3901        WEITZ & LUXENBERG, PC
LAMBERT              MARY ANN              NY         10639800         WEITZ & LUXENBERG, PC                                LANE                 EILEEN                NY         01111226         WEITZ & LUXENBERG, PC
LAMBERT              NILS                  NY         11104603         WEITZ & LUXENBERG, PC                                LANE                 ESSIE                 NY         10722202         WEITZ & LUXENBERG, PC
LAMBERT              SAMUEL F              NY         12399394         WEITZ & LUXENBERG, PC                                LANE                 ESSIE                 NY         11362902         WEITZ & LUXENBERG, PC
LAMBERT              STEVEN R              NY         12181803         WEITZ & LUXENBERG, PC                                LANE                 GERALD THOMAS         NY         01111225         WEITZ & LUXENBERG, PC
LAMBERT              THEODORE H            NY         10639800         WEITZ & LUXENBERG, PC                                LANE                 GERALD THOMAS         NY         11809701         WEITZ & LUXENBERG, PC
LAMBERT              WANDA                 NY         12399394         WEITZ & LUXENBERG, PC                                LANE                 JEAN                  NY         02107099         WEITZ & LUXENBERG, PC
LAMBO                JOHN                  NY         11227102         WEITZ & LUXENBERG, PC                                LANE                 JEAN                  NY         11759402         WEITZ & LUXENBERG, PC
LAMBO                MABEL                 NY         11227102         WEITZ & LUXENBERG, PC                                LANE                 JERRY R               NY         1901802017       WEITZ & LUXENBERG, PC
LAMBRACHT            LISELETTE             NY         10641700         WEITZ & LUXENBERG, PC                                LANE                 JOHN W                NY         01111226         WEITZ & LUXENBERG, PC
LAMBRACHT            RUDOLF                NY         10641700         WEITZ & LUXENBERG, PC                                LANE                 LARRY G               NY         10645702         WEITZ & LUXENBERG, PC
LAMENDOLA            FRANK                 NY         98121920         WEITZ & LUXENBERG, PC                                LANE                 LINDA                 NY         01CIV3901        WEITZ & LUXENBERG, PC
LAMENDOLA            JILL                  NY         98121920         WEITZ & LUXENBERG, PC                                LANE                 LONNIE                NY         10722202         WEITZ & LUXENBERG, PC
LAMICA               JOHN F                NY         10680602         WEITZ & LUXENBERG, PC                                LANE                 LONNIE                NY         11362902         WEITZ & LUXENBERG, PC
LAMICA               LARRY RONALD          NY         02106692         WEITZ & LUXENBERG, PC                                LANE                 LORI                  NY         1900562017       WEITZ & LUXENBERG, PC
LAMICA               MARK W                NY         10318002         WEITZ & LUXENBERG, PC                                LANE                 MARLIN E              NY         01122507         WEITZ & LUXENBERG, PC
LAMICA               MARTHA BESS           NY         02106692         WEITZ & LUXENBERG, PC                                LANE                 MICHAEL               NY         10526405         WEITZ & LUXENBERG, PC
LAMICA               STARR A               NY         10318002         WEITZ & LUXENBERG, PC                                LANE                 NANCY VAUGHN          NY         01111225         WEITZ & LUXENBERG, PC
LAMIE                BEVERLY A             NY         11095300         WEITZ & LUXENBERG, PC                                LANE                 NANCY VAUGHN          NY         11809701         WEITZ & LUXENBERG, PC
LAMIE                BEVERLY A             NY         10835100         WEITZ & LUXENBERG, PC                                LANE                 PETRITA               NY         01122507         WEITZ & LUXENBERG, PC
LAMIE                JOHN A                NY         11095300         WEITZ & LUXENBERG, PC                                LANE                 RICHARD L             NY         1900562017       WEITZ & LUXENBERG, PC
LAMIE                JOHN A                NY         10835100         WEITZ & LUXENBERG, PC                                LANE                 WILLIAM B             NY         02107099         WEITZ & LUXENBERG, PC
LAMONT               STEWART               NY         11370103         WEITZ & LUXENBERG, PC                                LANE                 WILLIAM B             NY         11759402         WEITZ & LUXENBERG, PC
LAMORA               GERALD EDWARD         NY         10680702         WEITZ & LUXENBERG, PC                                LANE                 WILLIAM J             NY         11759402         WEITZ & LUXENBERG, PC
LAMORA               JANET                 NY         10680702         WEITZ & LUXENBERG, PC                                LANE                 GLENDORA              NY         10722202         WEITZ & LUXENBERG, PC
LAMORA               LOIS                  NY         11099902         WEITZ & LUXENBERG, PC                                LANE                 GLENDORA              NY         11362902         WEITZ & LUXENBERG, PC
LAMOT                RAYMOND J             NY         10641600         WEITZ & LUXENBERG, PC                                LANEFORD             DELOWIS T             NY         01CIV3900        WEITZ & LUXENBERG, PC
LAMOY                ROBERT A              NY         10696402         WEITZ & LUXENBERG, PC                                LANEY                FRANK K               NY         12191898         WEITZ & LUXENBERG, PC
LAMOY                ROBERT A              NY         11208602         WEITZ & LUXENBERG, PC                                LANFRANCHI           LOUIS A               NY         10347204         WEITZ & LUXENBERG, PC
LAMOY                SUSAN A               NY         10696402         WEITZ & LUXENBERG, PC                                LANG                 BARBARA A             NY         10031207         WEITZ & LUXENBERG, PC
LAMOY                SUSAN A               NY         11208602         WEITZ & LUXENBERG, PC                                LANG                 CATHY                 NY         10587202         WEITZ & LUXENBERG, PC
LAMP                 CATHERINE             NY         98121917         WEITZ & LUXENBERG, PC                                LANG                 DWAYNE F              NY         10587202         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 976
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 311 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LANG                 HENRY S               NY         I20018970        WEITZ & LUXENBERG, PC                                LAPI                 JOSEPH A              NY         11219004         WEITZ & LUXENBERG, PC
LANG                 HENRY S               NY         02122046         WEITZ & LUXENBERG, PC                                LAPI                 LORI                  NY         11219004         WEITZ & LUXENBERG, PC
LANG                 JAMES                 NY         10740502         WEITZ & LUXENBERG, PC                                LAPI                 VICTOR                NY         11219004         WEITZ & LUXENBERG, PC
LANG                 JOAN                  NY         10641100         WEITZ & LUXENBERG, PC                                LAPIERRE             ROGER L               NY         02106707         WEITZ & LUXENBERG, PC
LANG                 JOAN                  NY         12693402         WEITZ & LUXENBERG, PC                                LAPLACA              JOSEPH F              NY         10640900         WEITZ & LUXENBERG, PC
LANG                 LARRY P               NY         10031207         WEITZ & LUXENBERG, PC                                LAPLACA              ROSE                  NY         10640900         WEITZ & LUXENBERG, PC
LANG                 ROBERT                NY         12693402         WEITZ & LUXENBERG, PC                                LAPOINTE             ALBERT                NY         11455707         WEITZ & LUXENBERG, PC
LANG                 ROBERT A              NY         10641100         WEITZ & LUXENBERG, PC                                LAPOINTE             CONSETTA              NY         11455707         WEITZ & LUXENBERG, PC
LANG                 RUBY J                NY         I20018970        WEITZ & LUXENBERG, PC                                LAPORTE              MICHAEL E             NY         10680802         WEITZ & LUXENBERG, PC
LANG                 RUBY J                NY         02122046         WEITZ & LUXENBERG, PC                                LAPORTE              VIOLET                NY         10680802         WEITZ & LUXENBERG, PC
LANG                 WILLIAM M             NY         I20019495        WEITZ & LUXENBERG, PC                                LAPP                 JOHN I                NY         10587102         WEITZ & LUXENBERG, PC
LANG                 WILLIAM M             NY         02121082         WEITZ & LUXENBERG, PC                                LAPP                 SHELLY LYNN           NY         10587102         WEITZ & LUXENBERG, PC
LANGAN               ELIZABETH M           NY         10499701         WEITZ & LUXENBERG, PC                                LAPPAS               JOHN A                NY         1900572019       WEITZ & LUXENBERG, PC
LANGAN               ELIZABETH M           NY         I20014594        WEITZ & LUXENBERG, PC                                LAPPAS               MARIANNE              NY         1900572019       WEITZ & LUXENBERG, PC
LANGAN               FRANCIS J             NY         10499701         WEITZ & LUXENBERG, PC                                LAPPLE               HOWARD                NY         19006910         WEITZ & LUXENBERG, PC
LANGAN               FRANCIS J             NY         I20014594        WEITZ & LUXENBERG, PC                                LAPPLE               LOUISE                NY         19006910         WEITZ & LUXENBERG, PC
LANGAN               RICHARD               NY         11026902         WEITZ & LUXENBERG, PC                                LAPRADE              BRIAN R               NY         10670402         WEITZ & LUXENBERG, PC
LANGDON              DEBORAH A             NY         10871301         WEITZ & LUXENBERG, PC                                LAPRESS              CHARLES H             NY         10226701         WEITZ & LUXENBERG, PC
LANGDON              DONALD H              NY         02106692         WEITZ & LUXENBERG, PC                                LAPRESS              LINDA                 NY         10226701         WEITZ & LUXENBERG, PC
LANGDON              FRED D                NY         10571702         WEITZ & LUXENBERG, PC                                LARDARO              LOUIS R               NY         12801902         WEITZ & LUXENBERG, PC
LANGDON              GEORGE                NY         1900602015       WEITZ & LUXENBERG, PC                                LARDARO              VITA                  NY         12801902         WEITZ & LUXENBERG, PC
LANGDON              GLADYS ROSE           NY         02120615         WEITZ & LUXENBERG, PC                                LARIVEY              MARIANNE              NY         10642200         WEITZ & LUXENBERG, PC
LANGDON              KATHLEEN              NY         1900602015       WEITZ & LUXENBERG, PC                                LARIVEY              NELSON R              NY         10642200         WEITZ & LUXENBERG, PC
LANGDON              KENNETH E             NY         02120615         WEITZ & LUXENBERG, PC                                LARKA                NANCY R               NY         1902012018       WEITZ & LUXENBERG, PC
LANGDON              PHYLLIS               NY         02120615         WEITZ & LUXENBERG, PC                                LARKIN               ELLEN                 NY         11870501         WEITZ & LUXENBERG, PC
LANGDON              RICHARD B             NY         10871301         WEITZ & LUXENBERG, PC                                LARKIN               ELLEN                 NY         01111233         WEITZ & LUXENBERG, PC
LANGE                ARMIDA                NY         01111222         WEITZ & LUXENBERG, PC                                LARKIN               GAY                   NY         1902072017       WEITZ & LUXENBERG, PC
LANGE                EARL W                NY         10226601         WEITZ & LUXENBERG, PC                                LARKIN               GAY                   NY         99107815         WEITZ & LUXENBERG, PC
LANGE                FRANCES               NY         6068192017       WEITZ & LUXENBERG, PC                                LARKIN               JOSEPHINE             NY         02105715         WEITZ & LUXENBERG, PC
LANGE                GERALD J              NY         1903802014       WEITZ & LUXENBERG, PC                                LARKIN               KEVIN PATRICK         NY         1902072017       WEITZ & LUXENBERG, PC
LANGE                HAROLD                NY         01111222         WEITZ & LUXENBERG, PC                                LARKIN               KEVIN PATRICK         NY         99107815         WEITZ & LUXENBERG, PC
LANGE                HORST                 NY         10871301         WEITZ & LUXENBERG, PC                                LARKIN               RICHARD MICHAEL       NY         02105715         WEITZ & LUXENBERG, PC
LANGELIER            CAROL                 NY         02106579         WEITZ & LUXENBERG, PC                                LARKIN               RICHARD T             NY         11870501         WEITZ & LUXENBERG, PC
LANGELIER            DAVID WALTER          NY         02106579         WEITZ & LUXENBERG, PC                                LARKIN               RICHARD T             NY         01111233         WEITZ & LUXENBERG, PC
LANGELLA             ANTHONY G             NY         10547300         WEITZ & LUXENBERG, PC                                LARKMAN              BARBARA               NY         98121931         WEITZ & LUXENBERG, PC
LANGELLA             BARBARA J             NY         10547300         WEITZ & LUXENBERG, PC                                LARKMAN              DONALD R              NY         98121931         WEITZ & LUXENBERG, PC
LANGER               ELLIOTT               NY         01111234         WEITZ & LUXENBERG, PC                                LARNAITIS            GLORIA A              NY         12344101         WEITZ & LUXENBERG, PC
LANGER               ELLIOTT               NY         11924201         WEITZ & LUXENBERG, PC                                LARNAITIS            STANLEY E             NY         12344101         WEITZ & LUXENBERG, PC
LANGER               FLORENCE              NY         01111234         WEITZ & LUXENBERG, PC                                LARNAITIS            STANLEY E             NY         01111227         WEITZ & LUXENBERG, PC
LANGER               FLORENCE              NY         11924201         WEITZ & LUXENBERG, PC                                LAROCCA              DOMINICK              NY         99107814         WEITZ & LUXENBERG, PC
LANGEVIN             MADELINE              NY         10587402         WEITZ & LUXENBERG, PC                                LAROCCA              THERESA               NY         99107814         WEITZ & LUXENBERG, PC
LANGEVIN             SIMEON F              NY         10587402         WEITZ & LUXENBERG, PC                                LAROSA               FRANK A               NY         98121921         WEITZ & LUXENBERG, PC
LANGFORD             ROY                   NY         CV016361         WEITZ & LUXENBERG, PC                                LAROSA               MARIE                 NY         19004809         WEITZ & LUXENBERG, PC
LANGFORD             RUTH                  NY         CV016361         WEITZ & LUXENBERG, PC                                LAROSA               MARY                  NY         98121921         WEITZ & LUXENBERG, PC
LANGLEY              CHARLES E             NY         10645702         WEITZ & LUXENBERG, PC                                LAROSA               THOMAS                NY         19004809         WEITZ & LUXENBERG, PC
LANGMAID             ERVIN                 NY         1902292015       WEITZ & LUXENBERG, PC                                LARROUY              RAYMOND               NY         12039201         WEITZ & LUXENBERG, PC
LANHAM               MICHAEL DENNIS        NY         10716702         WEITZ & LUXENBERG, PC                                LARROUY              REGINA                NY         12039201         WEITZ & LUXENBERG, PC
LANKFORD             LOU ANN               NY         CV015413         WEITZ & LUXENBERG, PC                                LARROW               THOMAS                NY         10680602         WEITZ & LUXENBERG, PC
LANKFORD             WINFORD               NY         CV015413         WEITZ & LUXENBERG, PC                                LARSEN               BOB G                 NY         12038801         WEITZ & LUXENBERG, PC
LANNING              DONALD J              NY         151394           WEITZ & LUXENBERG, PC                                LARSEN               CATHY                 NY         10680702         WEITZ & LUXENBERG, PC
LANO                 EDWINA                NY         19010111         WEITZ & LUXENBERG, PC                                LARSEN               ELEANOR               NY         10642100         WEITZ & LUXENBERG, PC
LANO                 THOMAS                NY         19010111         WEITZ & LUXENBERG, PC                                LARSEN               GERALDINE             NY         10226801         WEITZ & LUXENBERG, PC
LANPHEAR             EDWIN D               NY         10060603         WEITZ & LUXENBERG, PC                                LARSEN               HERBERT JOHN          NY         10226801         WEITZ & LUXENBERG, PC
LANPHEAR             MARY LOU              NY         10060603         WEITZ & LUXENBERG, PC                                LARSEN               JOHN                  NY         10642100         WEITZ & LUXENBERG, PC
LANSKI               BERNICE               NY         10547400         WEITZ & LUXENBERG, PC                                LARSEN               KAREN                 NY         10642000         WEITZ & LUXENBERG, PC
LANSKI               NORBERT               NY         10547400         WEITZ & LUXENBERG, PC                                LARSEN               KURT                  NY         11109300         WEITZ & LUXENBERG, PC
LANTIERI             JACK                  NY         99107807         WEITZ & LUXENBERG, PC                                LARSEN               KURT                  NY         10835100         WEITZ & LUXENBERG, PC
LANTIERI             JEAN                  NY         99107807         WEITZ & LUXENBERG, PC                                LARSEN               LINDA                 NY         12038801         WEITZ & LUXENBERG, PC
LANZ                 FREDERICK W           NY         10193204         WEITZ & LUXENBERG, PC                                LARSEN               MAUREEN               NY         11109300         WEITZ & LUXENBERG, PC
LANZ                 PATRICIA              NY         10193204         WEITZ & LUXENBERG, PC                                LARSEN               MAUREEN               NY         10835100         WEITZ & LUXENBERG, PC
LANZILLI             JERRY                 NY         1903372018       WEITZ & LUXENBERG, PC                                LARSEN               RICHARD               NY         10642000         WEITZ & LUXENBERG, PC
LANZILOTTA           GRACE                 NY         10133805         WEITZ & LUXENBERG, PC                                LARSEN               RITA                  NY         11109300         WEITZ & LUXENBERG, PC
LANZILOTTA           PETER W               NY         10133805         WEITZ & LUXENBERG, PC                                LARSEN               RITA                  NY         10835100         WEITZ & LUXENBERG, PC
LAPAGE               DARRELL N             NY         10696302         WEITZ & LUXENBERG, PC                                LARSEN               ROBERT LAVERNE        NY         10680702         WEITZ & LUXENBERG, PC
LAPAGE               PAMELA                NY         10696302         WEITZ & LUXENBERG, PC                                LARSEN               ROY                   NY         10781399         WEITZ & LUXENBERG, PC
LAPAYOWER            PHILIP R              NY         01111226         WEITZ & LUXENBERG, PC                                LARSEN               SCOTT                 NY         10642000         WEITZ & LUXENBERG, PC
LAPAYOWER            SHERYL DEBORAH        NY         01111226         WEITZ & LUXENBERG, PC                                LARSON               ARTHUR                NY         12444502         WEITZ & LUXENBERG, PC
LAPE                 ALLEN J               NY         10740502         WEITZ & LUXENBERG, PC                                LARSON               ARTHUR                NY         10317703         WEITZ & LUXENBERG, PC
LAPE                 CLARE                 NY         10740502         WEITZ & LUXENBERG, PC                                LARSON               BERT A                NY         10641900         WEITZ & LUXENBERG, PC
LAPERA               FRANCES               NY         12444102         WEITZ & LUXENBERG, PC                                LARSON               EDWARD W              NY         11026702         WEITZ & LUXENBERG, PC
LAPERA               JOSEPH P              NY         12444102         WEITZ & LUXENBERG, PC                                LARSON               GLORY ANNA            NY         10641900         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 977
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 312 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LARSON               MARGARET              NY         12444502         WEITZ & LUXENBERG, PC                                LATZA                ANDREW A              NY         98121936         WEITZ & LUXENBERG, PC
LARSON               MARGARET              NY         10317703         WEITZ & LUXENBERG, PC                                LATZA                BARBARA ANN           NY         98121936         WEITZ & LUXENBERG, PC
LARSON               MARY                  NY         11026702         WEITZ & LUXENBERG, PC                                LAUB                 FRANCIS T             NY         11849499         WEITZ & LUXENBERG, PC
LARSSAN              ROBERT A              NY         10547600         WEITZ & LUXENBERG, PC                                LAUBER               BARBARA JANE          NY         02106692         WEITZ & LUXENBERG, PC
LARSSAN              TINA                  NY         10547600         WEITZ & LUXENBERG, PC                                LAUBER               ERNEST                NY         02105715         WEITZ & LUXENBERG, PC
LASAGNE              JOHN THOMAS           NY         10871301         WEITZ & LUXENBERG, PC                                LAUBER               GEORGE L              NY         02106580         WEITZ & LUXENBERG, PC
LASAGNE              LEONIA IDA            NY         10871301         WEITZ & LUXENBERG, PC                                LAUBER               GEORGE L              NY         11323902         WEITZ & LUXENBERG, PC
LASAGNE              LUCILLE               NY         10641800         WEITZ & LUXENBERG, PC                                LAUBER               HELEN B               NY         10587402         WEITZ & LUXENBERG, PC
LASAGNE              ROBERT                NY         10641800         WEITZ & LUXENBERG, PC                                LAUBER               JOANNE                NY         02106580         WEITZ & LUXENBERG, PC
LASALA               AUDENZIO              NY         12042901         WEITZ & LUXENBERG, PC                                LAUBER               JOANNE                NY         11323902         WEITZ & LUXENBERG, PC
LASALA               MARGHERITA            NY         12042901         WEITZ & LUXENBERG, PC                                LAUBER               LEONARD WILLIAM       NY         02106692         WEITZ & LUXENBERG, PC
LASHER               LLOYD T               NY         10547800         WEITZ & LUXENBERG, PC                                LAUBER               LLOYD C               NY         10587402         WEITZ & LUXENBERG, PC
LASHER               SHELIA                NY         10547800         WEITZ & LUXENBERG, PC                                LAUDENSLAGER         MICHAEL C             NY         I200110287       WEITZ & LUXENBERG, PC
LASHOMB              HAROLD J              NY         10696302         WEITZ & LUXENBERG, PC                                LAUFER               DIANN J               NY         02107004         WEITZ & LUXENBERG, PC
LASHOMB              HAROLD J              NY         11198202         WEITZ & LUXENBERG, PC                                LAUFER               EDWARD W              NY         02107004         WEITZ & LUXENBERG, PC
LASHOMB              JOHN H                NY         02106692         WEITZ & LUXENBERG, PC                                LAUFER               LAWRENCE R            NY         10642300         WEITZ & LUXENBERG, PC
LASHOMB              PAUL                  NY         10696302         WEITZ & LUXENBERG, PC                                LAUFER               WENDY                 NY         10642300         WEITZ & LUXENBERG, PC
LASHOMB              PAUL                  NY         11198202         WEITZ & LUXENBERG, PC                                LAUGHLIN             ELEANOR               NY         10669502         WEITZ & LUXENBERG, PC
LASHWAY              CHERYL A              NY         02106692         WEITZ & LUXENBERG, PC                                LAUGHLIN             WILLIAM F             NY         10669502         WEITZ & LUXENBERG, PC
LASHWAY              EUGENE WILLIAMS       NY         02106692         WEITZ & LUXENBERG, PC                                LAUGHLIN             WILLIAM F             NY         11897202         WEITZ & LUXENBERG, PC
LASKER               JOHN                  NY         98121933         WEITZ & LUXENBERG, PC                                LAURENT              MARJORIE              NY         1901882016       WEITZ & LUXENBERG, PC
LASKER               ROSE MARIE            NY         98121933         WEITZ & LUXENBERG, PC                                LAURENT              RENE                  NY         1901882016       WEITZ & LUXENBERG, PC
LASKOWSKI            PATRICIA L            NY         10642600         WEITZ & LUXENBERG, PC                                LAURENTI             LAURENCE              NY         11213005         WEITZ & LUXENBERG, PC
LASKOWSKI            ROBERT P              NY         10642600         WEITZ & LUXENBERG, PC                                LAURIA               JAMES S               NY         11109600         WEITZ & LUXENBERG, PC
LASPINA              ANNE                  NY         10642500         WEITZ & LUXENBERG, PC                                LAURIA               JAMES S               NY         10835100         WEITZ & LUXENBERG, PC
LASPINA              DONNA                 NY         10642500         WEITZ & LUXENBERG, PC                                LAURICELLA           CHARLES               NY         10700002         WEITZ & LUXENBERG, PC
LASPINA              VINCENT               NY         10642500         WEITZ & LUXENBERG, PC                                LAURITO              MARYLOU               NY         10587002         WEITZ & LUXENBERG, PC
LAST                 KENNETH               NY         1902422019       WEITZ & LUXENBERG, PC                                LAUSTED              GEORGE F              NY         98121937         WEITZ & LUXENBERG, PC
LASTER               HENRY L               NY         CV00650          WEITZ & LUXENBERG, PC                                LAUSTED              RITA J                NY         98121937         WEITZ & LUXENBERG, PC
LASTER               OSCAR                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                LAVALLEY             CATHERINE             NY         10680802         WEITZ & LUXENBERG, PC
LASTER               PEARLIE MAE           NY         01CIV3900        WEITZ & LUXENBERG, PC                                LAVALLEY             ERNEST J              NY         10680802         WEITZ & LUXENBERG, PC
LASTER               SHIRLEY               NY         CV00650          WEITZ & LUXENBERG, PC                                LAVASSEUR            DENNIS                NY         10227101         WEITZ & LUXENBERG, PC
LATCHFORD            DONNA                 NY         12193498         WEITZ & LUXENBERG, PC                                LAVASSEUR            DIANE                 NY         10227101         WEITZ & LUXENBERG, PC
LATCHFORD            ROBERT                NY         10699902         WEITZ & LUXENBERG, PC                                LAVASSEUR            LORETTA               NY         10547900         WEITZ & LUXENBERG, PC
LATCHFORD            WILLIAM J             NY         12193498         WEITZ & LUXENBERG, PC                                LAVASSEUR            WILLIAM               NY         10547900         WEITZ & LUXENBERG, PC
LATERZA              DENNIS J              NY         11109500         WEITZ & LUXENBERG, PC                                LAVER                JOHN C                NY         10696402         WEITZ & LUXENBERG, PC
LATERZA              DENNIS J              NY         10835100         WEITZ & LUXENBERG, PC                                LAVERY               ALFRED                NY         12151200         WEITZ & LUXENBERG, PC
LATERZA              FRANCINE              NY         11109500         WEITZ & LUXENBERG, PC                                LAVERY               GLORIA                NY         12151200         WEITZ & LUXENBERG, PC
LATERZA              FRANCINE              NY         10835100         WEITZ & LUXENBERG, PC                                LAVERY               JOANN                 NY         1900242019       WEITZ & LUXENBERG, PC
LATERZA              JOSEPH                NY         01108102         WEITZ & LUXENBERG, PC                                LAVERY               THOMAS A              NY         1900242019       WEITZ & LUXENBERG, PC
LATHAM               LYNNER                NY         19009012         WEITZ & LUXENBERG, PC                                LAVIGNE              JAMES                 NY         10215201         WEITZ & LUXENBERG, PC
LATONA               ANGELO JAMES          NY         99107812         WEITZ & LUXENBERG, PC                                LAVIGNE              KATHLEEN              NY         10215201         WEITZ & LUXENBERG, PC
LATONA               MARILYN A             NY         99107812         WEITZ & LUXENBERG, PC                                LAVINE               LAURA B               NY         10595603         WEITZ & LUXENBERG, PC
LATORRE              ANTHONY               NY         11703400         WEITZ & LUXENBERG, PC                                LAVOIE               DARREL L              NY         02106707         WEITZ & LUXENBERG, PC
LATORRE              BASIL J               NY         1900042014       WEITZ & LUXENBERG, PC                                LAVOIE               MARY M                NY         02106707         WEITZ & LUXENBERG, PC
LATORRE              CAROL                 NY         1900042014       WEITZ & LUXENBERG, PC                                LAW                  CORA L                NY         99107810         WEITZ & LUXENBERG, PC
LATORRE              MARIE                 NY         11703400         WEITZ & LUXENBERG, PC                                LAW                  JAMES A               NY         99107810         WEITZ & LUXENBERG, PC
LATOUR               LEONARD P             NY         02113280         WEITZ & LUXENBERG, PC                                LAW                  JOHN N                NY         10696402         WEITZ & LUXENBERG, PC
LATOURETTE           CAROL                 NY         10642400         WEITZ & LUXENBERG, PC                                LAW                  KING                  NY         1902112019       WEITZ & LUXENBERG, PC
LATOURETTE           GEORGE                NY         10642400         WEITZ & LUXENBERG, PC                                LAWANDUS             JOHN L                NY         11109700         WEITZ & LUXENBERG, PC
LATRAY               DAVID A               NY         10587402         WEITZ & LUXENBERG, PC                                LAWANDUS             JOHN L                NY         10835100         WEITZ & LUXENBERG, PC
LATTANZIO            ANNA                  NY         10226901         WEITZ & LUXENBERG, PC                                LAWANDUS             LINDA H               NY         11109700         WEITZ & LUXENBERG, PC
LATTANZIO            ANNA                  NY         10762306         WEITZ & LUXENBERG, PC                                LAWANDUS             LINDA H               NY         10835100         WEITZ & LUXENBERG, PC
LATTANZIO            CLEMENTINA            NY         11369804         WEITZ & LUXENBERG, PC                                LAWENDOWSKI          BETTE A               NY         10786100         WEITZ & LUXENBERG, PC
LATTANZIO            EVELINA               NY         10878103         WEITZ & LUXENBERG, PC                                LAWENDOWSKI          JOSEPH                NY         10786100         WEITZ & LUXENBERG, PC
LATTANZIO            FRANK                 NY         10878103         WEITZ & LUXENBERG, PC                                LAWERGREN            CRAIG D               NY         I200110600       WEITZ & LUXENBERG, PC
LATTANZIO            GIOVANNI N            NY         10226901         WEITZ & LUXENBERG, PC                                LAWERGREN            CRAIG D               NY         02121082         WEITZ & LUXENBERG, PC
LATTANZIO            GIOVANNI N            NY         10762306         WEITZ & LUXENBERG, PC                                LAWERGREN            CRAIG D               NY         02120706         WEITZ & LUXENBERG, PC
LATTANZIO            JOSEPH                NY         10878103         WEITZ & LUXENBERG, PC                                LAWERGREN            CRAIG D               NY         12711202         WEITZ & LUXENBERG, PC
LATTANZIO            JOSEPH                NY         11369804         WEITZ & LUXENBERG, PC                                LAWERGREN            DAVID A               NY         I200110600       WEITZ & LUXENBERG, PC
LATTANZIO            KATHLEEN              NY         1902982017       WEITZ & LUXENBERG, PC                                LAWERGREN            DAVID A               NY         02121082         WEITZ & LUXENBERG, PC
LATTANZIO            PHILIP A              NY         1902982017       WEITZ & LUXENBERG, PC                                LAWERGREN            DAVID A               NY         02120706         WEITZ & LUXENBERG, PC
LATTIMORE            STEPHEN HEDIN         NY         12668502         WEITZ & LUXENBERG, PC                                LAWERGREN            DAVID A               NY         12711202         WEITZ & LUXENBERG, PC
LATTIMORE            SUSAN J               NY         12668502         WEITZ & LUXENBERG, PC                                LAWIDA               ESTHER                NY         10722002         WEITZ & LUXENBERG, PC
LATTUCA              CAROL                 NY         11259100         WEITZ & LUXENBERG, PC                                LAWIDA               RICHARD               NY         10722002         WEITZ & LUXENBERG, PC
LATULIPE             ALBERT W              NY         10716702         WEITZ & LUXENBERG, PC                                LAWLER               EDWIN                 NY         10576707         WEITZ & LUXENBERG, PC
LATULIPE             JANE W                NY         02106707         WEITZ & LUXENBERG, PC                                LAWLER               EVA JEAN              NY         10835600         WEITZ & LUXENBERG, PC
LATULIPE             JOYCE M               NY         10716702         WEITZ & LUXENBERG, PC                                LAWLER               MARGARET              NY         10576707         WEITZ & LUXENBERG, PC
LATULIPE             LEO PAUL              NY         02106707         WEITZ & LUXENBERG, PC                                LAWLESS              ALICIA                NY         12043201         WEITZ & LUXENBERG, PC
LATULIPPE            ELEANOR               NY         98121935         WEITZ & LUXENBERG, PC                                LAWLESS              ALICIA                NY         10110102         WEITZ & LUXENBERG, PC
LATULIPPE            JOSEPH                NY         98121935         WEITZ & LUXENBERG, PC                                LAWLESS              DANIEL A              NY         12693402         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 978
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 313 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LAWLESS              LINDA                 NY         12693402         WEITZ & LUXENBERG, PC                                LEARN                VERNON R              NY         10788300         WEITZ & LUXENBERG, PC
LAWLESS              WILLIAM               NY         12043201         WEITZ & LUXENBERG, PC                                LEATHEM              PATRICK               NY         11870601         WEITZ & LUXENBERG, PC
LAWLESS              WILLIAM               NY         10110102         WEITZ & LUXENBERG, PC                                LEATHEM              PATRICK               NY         01111233         WEITZ & LUXENBERG, PC
LAWN                 SHEILA M              NY         01111221         WEITZ & LUXENBERG, PC                                LEATHERBARROW        KENNETH               NY         10215501         WEITZ & LUXENBERG, PC
LAWN                 THOMAS                NY         01111221         WEITZ & LUXENBERG, PC                                LEATHERBARROW        MERRY                 NY         10215501         WEITZ & LUXENBERG, PC
LAWRENCE             ADRIAN P              NY         10696402         WEITZ & LUXENBERG, PC                                LEATHERWOOD          COALEL                NY         10548100         WEITZ & LUXENBERG, PC
LAWRENCE             ANDREA                NY         10696402         WEITZ & LUXENBERG, PC                                LEATHERWOOD          DAISY                 NY         10548200         WEITZ & LUXENBERG, PC
LAWRENCE             FRANK G               NY         10740502         WEITZ & LUXENBERG, PC                                LEATHERWOOD          THOMAS                NY         10548200         WEITZ & LUXENBERG, PC
LAWRENCE             HAL A                 NY         10039603         WEITZ & LUXENBERG, PC                                LEAVELL              KRISTEN R             NY         1901682017       WEITZ & LUXENBERG, PC
LAWRENCE             HAL A                 NY         10802503         WEITZ & LUXENBERG, PC                                LEAVELL              ROY L                 NY         1900632013       WEITZ & LUXENBERG, PC
LAWRENCE             JAMES E               NY         99107809         WEITZ & LUXENBERG, PC                                LEAVENS              DONALD                NY         20016475         WEITZ & LUXENBERG, PC
LAWRIK               PETER                 NY         10090403         WEITZ & LUXENBERG, PC                                LEAVENS              ELAINE                NY         20016475         WEITZ & LUXENBERG, PC
LAWRIK               PETER                 NY         11294904         WEITZ & LUXENBERG, PC                                LEAVITT              DUDLEY H              NY         01CIV7362        WEITZ & LUXENBERG, PC
LAWRY                ALFREDO               NY         01122139         WEITZ & LUXENBERG, PC                                LEBEAU               SHARON                NY         10215601         WEITZ & LUXENBERG, PC
LAWRY                JOSEPHINE             NY         01122139         WEITZ & LUXENBERG, PC                                LEBEAU               WARREN                NY         10215601         WEITZ & LUXENBERG, PC
LAWS                 CHARLES W             NY         1902152018       WEITZ & LUXENBERG, PC                                LEBEK                EDWARD                NY         10788100         WEITZ & LUXENBERG, PC
LAWSON               BEATRICE              NY         CV023941         WEITZ & LUXENBERG, PC                                LEBEK                EDWARD                NY         10788200         WEITZ & LUXENBERG, PC
LAWSON               CARL G                NY         CV023941         WEITZ & LUXENBERG, PC                                LEBEL                CLARENCE              NY         10788100         WEITZ & LUXENBERG, PC
LAWSON               EDNA MAE              NY         01CIV3910        WEITZ & LUXENBERG, PC                                LEBEL                CUILDA                NY         10788100         WEITZ & LUXENBERG, PC
LAWSON               GARY R                NY         12039301         WEITZ & LUXENBERG, PC                                LEBEN                GLORIA                NY         1902282016       WEITZ & LUXENBERG, PC
LAWSON               JOHN F                NY         10215301         WEITZ & LUXENBERG, PC                                LEBEN                SIMEON                NY         1902282016       WEITZ & LUXENBERG, PC
LAWSON               LOIS                  NY         12039301         WEITZ & LUXENBERG, PC                                LEBIRE               MARILYN R             NY         02106692         WEITZ & LUXENBERG, PC
LAWSON               ROBERT D              NY         1901982013       WEITZ & LUXENBERG, PC                                LEBIRE               RICHARD J             NY         02106692         WEITZ & LUXENBERG, PC
LAWSON               ROSE M                NY         10215301         WEITZ & LUXENBERG, PC                                LEBLANC              ARTHUR E              NY         10215701         WEITZ & LUXENBERG, PC
LAWSON               SUSAN                 NY         1901982013       WEITZ & LUXENBERG, PC                                LEBLANC              MICHAEL               NY         10215801         WEITZ & LUXENBERG, PC
LAWSON               WALTER B              NY         02105716         WEITZ & LUXENBERG, PC                                LEBLANC              PATRICIA              NY         10215801         WEITZ & LUXENBERG, PC
LAWTON               DONALD P              NY         01329402         WEITZ & LUXENBERG, PC                                LEBLANC              TILMAN JOSEPH         NY         12231100         WEITZ & LUXENBERG, PC
LAWTON               DONNA M               NY         01329402         WEITZ & LUXENBERG, PC                                LEBLANC              VIVIAN                NY         10215701         WEITZ & LUXENBERG, PC
LAWTON               JAMES H               NY         10696402         WEITZ & LUXENBERG, PC                                LEBRATO              FRANK                 NY         10788000         WEITZ & LUXENBERG, PC
LAWTON               MARY ELLEN            NY         10696402         WEITZ & LUXENBERG, PC                                LEBRATO              HELEN                 NY         10788000         WEITZ & LUXENBERG, PC
LAWYER               BOYCE V               NY         02107099         WEITZ & LUXENBERG, PC                                LECH                 ROBERT C              NY         10871301         WEITZ & LUXENBERG, PC
LAWYER               KERMIT GUY            NY         99107808         WEITZ & LUXENBERG, PC                                LECLAIR              BARB                  NY         10696402         WEITZ & LUXENBERG, PC
LAWYER               MARLENE               NY         02107099         WEITZ & LUXENBERG, PC                                LECLAIR              FRANK E               NY         10696402         WEITZ & LUXENBERG, PC
LAYER                CANDACE               NY         12043001         WEITZ & LUXENBERG, PC                                LECLAIR              JANICE                NY         10696402         WEITZ & LUXENBERG, PC
LAYER                ROBERT E              NY         12043001         WEITZ & LUXENBERG, PC                                LECLAIR              THOMAS H              NY         AXXXXXXXX       WEITZ & LUXENBERG, PC
LAYNE                GEORGE H              NY         12039601         WEITZ & LUXENBERG, PC                                LECLAIR              WILLIAM P             NY         10696402         WEITZ & LUXENBERG, PC
LAYO                 ELIZABETH             NY         10645702         WEITZ & LUXENBERG, PC                                LECLERC              DOREEN E              NY         680372019        WEITZ & LUXENBERG, PC
LAYO                 GERALD E              NY         10680602         WEITZ & LUXENBERG, PC                                LECLERC              GUY                   NY         98121909         WEITZ & LUXENBERG, PC
LAYO                 JOHN A                NY         10645702         WEITZ & LUXENBERG, PC                                LECLERC              MARGARET              NY         98121909         WEITZ & LUXENBERG, PC
LAYO                 KENNETH E             NY         10670402         WEITZ & LUXENBERG, PC                                LECOQ                ARTHUR J              NY         19007611         WEITZ & LUXENBERG, PC
LAYTON               MICHAEL               NY         1900632019       WEITZ & LUXENBERG, PC                                LECOQ                DEBBY                 NY         19007611         WEITZ & LUXENBERG, PC
LAYTON               MICHAEL R             NY         10696302         WEITZ & LUXENBERG, PC                                LECOUNT              CHERYL                NY         12693402         WEITZ & LUXENBERG, PC
LAZAR                ANTHONY               NY         10215401         WEITZ & LUXENBERG, PC                                LECOUNT              CHERYL                NY         10439303         WEITZ & LUXENBERG, PC
LAZAR                LAWRENCE              NY         10133007         WEITZ & LUXENBERG, PC                                LECOUNT              THOMAS H              NY         12693402         WEITZ & LUXENBERG, PC
LAZAR                LILLIAN               NY         10215401         WEITZ & LUXENBERG, PC                                LECOUNT              THOMAS H              NY         10439303         WEITZ & LUXENBERG, PC
LAZAR                MANDY                 NY         10133007         WEITZ & LUXENBERG, PC                                LEDBETTER            BEVERLY               NY         CV016704         WEITZ & LUXENBERG, PC
LAZARZ               ALFRED                NY         10785900         WEITZ & LUXENBERG, PC                                LEDBETTER            MILTON M              NY         CV016704         WEITZ & LUXENBERG, PC
LAZARZ               BARBARA               NY         10785900         WEITZ & LUXENBERG, PC                                LEDBETTER            SYLVIA LOUISE         NY         CV022246         WEITZ & LUXENBERG, PC
LAZAZZARO            JOAN J                NY         12307101         WEITZ & LUXENBERG, PC                                LEDDOMADO            ELENA                 NY         11306303         WEITZ & LUXENBERG, PC
LAZAZZARO            JOAN J                NY         01111230         WEITZ & LUXENBERG, PC                                LEDDOMADO            PETER                 NY         11306303         WEITZ & LUXENBERG, PC
LAZORE               THOMAS M              NY         10722102         WEITZ & LUXENBERG, PC                                LEDDY                BARBARA               NY         12444102         WEITZ & LUXENBERG, PC
LAZORE-THOMPSON      ELIZABETH             NY         11522503         WEITZ & LUXENBERG, PC                                LEDDY                ROBERT                NY         12444102         WEITZ & LUXENBERG, PC
LAZZARA              ANTHONY               NY         12444102         WEITZ & LUXENBERG, PC                                LEDETSCH             BARBARA               NY         12043001         WEITZ & LUXENBERG, PC
LAZZARA              DARLENE               NY         12444102         WEITZ & LUXENBERG, PC                                LEDETSCH             FREDERICK             NY         12043001         WEITZ & LUXENBERG, PC
LCCOINTE             STELLA FRANCES        NY         CV003590         WEITZ & LUXENBERG, PC                                LEDSON               GEORGE ANTHONY        NY         11703500         WEITZ & LUXENBERG, PC
LE BARON             GERALD ARTHUR         NY         10740202         WEITZ & LUXENBERG, PC                                LEDSON               GEORGE J              NY         11703500         WEITZ & LUXENBERG, PC
LE BARRON            OSCAR K               NY         10548000         WEITZ & LUXENBERG, PC                                LEDZION              ANNA L                NY         10215901         WEITZ & LUXENBERG, PC
LE BORGNE            JEANNINE              NY         10740202         WEITZ & LUXENBERG, PC                                LEDZION              JOHN                  NY         10215901         WEITZ & LUXENBERG, PC
LE BORGNE            RAYMOND               NY         10740202         WEITZ & LUXENBERG, PC                                LEE                  BRENDA                NY         02106508         WEITZ & LUXENBERG, PC
LE PAGE              DONALD F              NY         10680802         WEITZ & LUXENBERG, PC                                LEE                  BRENDA                NY         CV025685         WEITZ & LUXENBERG, PC
LE PAGE              PAULINE A             NY         10680802         WEITZ & LUXENBERG, PC                                LEE                  CYNTHIA               NY         10787800         WEITZ & LUXENBERG, PC
LE STRANGE           CORA LEE              NY         10786900         WEITZ & LUXENBERG, PC                                LEE                  DONALD G              NY         11026802         WEITZ & LUXENBERG, PC
LEA                  COVERLYN              NY         CV024354         WEITZ & LUXENBERG, PC                                LEE                  DONALD G              NY         12570302         WEITZ & LUXENBERG, PC
LEA                  REEDIE LESTER         NY         CV024354         WEITZ & LUXENBERG, PC                                LEE                  ERMA                  NY         00CIV3589        WEITZ & LUXENBERG, PC
LEA                  SAMUEL                NY         01CIV3910        WEITZ & LUXENBERG, PC                                LEE                  EVELYN                NY         CV025685         WEITZ & LUXENBERG, PC
LEA                  STELLA LEWIS          NY         01CIV3910        WEITZ & LUXENBERG, PC                                LEE                  FRANCIS M             NY         11159003         WEITZ & LUXENBERG, PC
LEAKE                ANGELINA              NY         10786700         WEITZ & LUXENBERG, PC                                LEE                  FRANCIS M             NY         11203403         WEITZ & LUXENBERG, PC
LEAKE                FRANK                 NY         10786700         WEITZ & LUXENBERG, PC                                LEE                  FRANK E               NY         CV025685         WEITZ & LUXENBERG, PC
LEAKE                PATRICK E             NY         10788400         WEITZ & LUXENBERG, PC                                LEE                  HELEN                 NY         10870400         WEITZ & LUXENBERG, PC
LEAR                 THOMAS J              NY         6138362016       WEITZ & LUXENBERG, PC                                LEE                  HERMAN R              NY         10787800         WEITZ & LUXENBERG, PC
LEARN                MITZIE C              NY         10788300         WEITZ & LUXENBERG, PC                                LEE                  HORACE                NY         10548300         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 979
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 314 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LEE                  ISAAC                 NY         10787900         WEITZ & LUXENBERG, PC                                LEMBO                MICHAEL D             NY         19032209         WEITZ & LUXENBERG, PC
LEE                  JAMES H               NY         11236004         WEITZ & LUXENBERG, PC                                LEMBRKE              DAVID E               NY         I20019666        WEITZ & LUXENBERG, PC
LEE                  JEAN                  NY         11236004         WEITZ & LUXENBERG, PC                                LEMING               DONNIE                NY         01CIV3895        WEITZ & LUXENBERG, PC
LEE                  JOHNIE MAE            NY         10787900         WEITZ & LUXENBERG, PC                                LEMING               WILLIAM A             NY         01CIV3895        WEITZ & LUXENBERG, PC
LEE                  JOSEPH A              NY         02106508         WEITZ & LUXENBERG, PC                                LEMON                CHRISTINA             NY         1901612018       WEITZ & LUXENBERG, PC
LEE                  JOYCE A               NY         11026802         WEITZ & LUXENBERG, PC                                LEN                  FREDERICK P           NY         10870800         WEITZ & LUXENBERG, PC
LEE                  JOYCE A               NY         12570302         WEITZ & LUXENBERG, PC                                LEN                  GREGORY R             NY         10870800         WEITZ & LUXENBERG, PC
LEE                  LEAH MICHELLE         NY         19039411         WEITZ & LUXENBERG, PC                                LEN                  IRENE                 NY         10870800         WEITZ & LUXENBERG, PC
LEE                  LINDSAY J             NY         00CIV1202        WEITZ & LUXENBERG, PC                                LEN                  JEFFREY F             NY         10870800         WEITZ & LUXENBERG, PC
LEE                  LONNIE R              NY         00CIV3589        WEITZ & LUXENBERG, PC                                LENARZ               LEROY ALBERT          NY         CV018463         WEITZ & LUXENBERG, PC
LEE                  MARILEE               NY         12039801         WEITZ & LUXENBERG, PC                                LENARZ               LORNA                 NY         CV018463         WEITZ & LUXENBERG, PC
LEE                  MARILEE               NY         10481202         WEITZ & LUXENBERG, PC                                LENDWAY              GEORGE J              NY         12668502         WEITZ & LUXENBERG, PC
LEE                  MARY                  NY         12039101         WEITZ & LUXENBERG, PC                                LENDWAY              VALERIE               NY         12668502         WEITZ & LUXENBERG, PC
LEE                  MARY                  NY         CV025685         WEITZ & LUXENBERG, PC                                LENEKER              BEVERLY               NY         11026702         WEITZ & LUXENBERG, PC
LEE                  MICHAEL J             NY         12070197         WEITZ & LUXENBERG, PC                                LENEKER              RAYMOND V             NY         11026702         WEITZ & LUXENBERG, PC
LEE                  MIRELEE               NY         12039801         WEITZ & LUXENBERG, PC                                LENGEL               ALEX                  NY         11744403         WEITZ & LUXENBERG, PC
LEE                  MIRELEE               NY         10481202         WEITZ & LUXENBERG, PC                                LENGEL               JEAN                  NY         11744403         WEITZ & LUXENBERG, PC
LEE                  NATHANIEL             NY         10548400         WEITZ & LUXENBERG, PC                                LENHARD              CHARA LEE HULLER      NY         11327802         WEITZ & LUXENBERG, PC
LEE                  OTIS                  NY         10870300         WEITZ & LUXENBERG, PC                                LENHARD              JOHN A                NY         11327802         WEITZ & LUXENBERG, PC
LEE                  PAMELA                NY         00CIV1202        WEITZ & LUXENBERG, PC                                LENIO                RONALD                NY         10871300         WEITZ & LUXENBERG, PC
LEE                  PATRICK               NY         12039101         WEITZ & LUXENBERG, PC                                LENIO                VICTORIA              NY         10871300         WEITZ & LUXENBERG, PC
LEE                  PETER G               NY         10870400         WEITZ & LUXENBERG, PC                                LENNON               AGNES LORINE          NY         12039701         WEITZ & LUXENBERG, PC
LEE                  RICHARD A             NY         19027710         WEITZ & LUXENBERG, PC                                LENNON               AGNES LORINE          NY         10505102         WEITZ & LUXENBERG, PC
LEE                  ROBERT E              NY         12039801         WEITZ & LUXENBERG, PC                                LENNON               JAMES DONALD          NY         10871200         WEITZ & LUXENBERG, PC
LEE                  ROBERT E              NY         10481202         WEITZ & LUXENBERG, PC                                LENNON               LORINE A              NY         12039701         WEITZ & LUXENBERG, PC
LEE                  ROBERT F              NY         11109800         WEITZ & LUXENBERG, PC                                LENNON               LORINE A              NY         10505102         WEITZ & LUXENBERG, PC
LEE                  ROBERT F              NY         10835100         WEITZ & LUXENBERG, PC                                LENNON               MICHAEL J             NY         12039701         WEITZ & LUXENBERG, PC
LEE                  STANLEY RAYMON        NY         CV025685         WEITZ & LUXENBERG, PC                                LENNON               MICHAEL J             NY         10505102         WEITZ & LUXENBERG, PC
LEE                  WELDON D              NY         CV025685         WEITZ & LUXENBERG, PC                                LENNON               PATRICIA              NY         10871200         WEITZ & LUXENBERG, PC
LEE DENNO            SHARON                NY         02107005         WEITZ & LUXENBERG, PC                                LENNON               PATRICIA A            NY         12039701         WEITZ & LUXENBERG, PC
LEECOCK              JANET                 NY         10870200         WEITZ & LUXENBERG, PC                                LENNON               PATRICIA A            NY         10505102         WEITZ & LUXENBERG, PC
LEECOCK              THOMAS                NY         10870200         WEITZ & LUXENBERG, PC                                LENNON               VINCENT               NY         98122031         WEITZ & LUXENBERG, PC
LEEF                 EVA                   NY         1900792018       WEITZ & LUXENBERG, PC                                LENNON               WILLIAM J             NY         12039701         WEITZ & LUXENBERG, PC
LEEF                 JOSEPH                NY         1900792018       WEITZ & LUXENBERG, PC                                LENNON               WILLIAM J             NY         10505102         WEITZ & LUXENBERG, PC
LEE-OTERO            AMBER                 NY         12039801         WEITZ & LUXENBERG, PC                                LENSE                CHRISTINE             NY         10658102         WEITZ & LUXENBERG, PC
LEE-OTERO            AMBER                 NY         10481202         WEITZ & LUXENBERG, PC                                LENSE                CHRISTINE             NY         11395002         WEITZ & LUXENBERG, PC
LEES                 DEBRA                 NY         1903682015       WEITZ & LUXENBERG, PC                                LENTINELLO           SALVATORE             NY         11756604         WEITZ & LUXENBERG, PC
LEES                 MEGAN                 NY         1903682015       WEITZ & LUXENBERG, PC                                LENZA                ALBERT                NY         10787700         WEITZ & LUXENBERG, PC
LEFORCE              DONNA                 NY         19003812         WEITZ & LUXENBERG, PC                                LENZA                MATILDA               NY         10787700         WEITZ & LUXENBERG, PC
LEFORCE              JEROME E              NY         19003812         WEITZ & LUXENBERG, PC                                LENZA                SALVATORE F           NY         12341801         WEITZ & LUXENBERG, PC
LEFRIERI             LENORE                NY         19033009         WEITZ & LUXENBERG, PC                                LENZI                THERESA               NY         12039801         WEITZ & LUXENBERG, PC
LEGER                BARBARA               NY         01111222         WEITZ & LUXENBERG, PC                                LENZI                WAYNE P               NY         12039801         WEITZ & LUXENBERG, PC
LEGER                ROBERT                NY         01111222         WEITZ & LUXENBERG, PC                                LEO                  BROWNIE               NY         12203098         WEITZ & LUXENBERG, PC
LEGNANTE             ANTHONY F             NY         10890300         WEITZ & LUXENBERG, PC                                LEO                  LILLIAN               NY         12203098         WEITZ & LUXENBERG, PC
LEHEW                DOROTHY               NY         1903882012       WEITZ & LUXENBERG, PC                                LEON                 LUZ YANETH            NY         10085503         WEITZ & LUXENBERG, PC
LEHEW                JAN                   NY         1903882012       WEITZ & LUXENBERG, PC                                LEON                 LUZ YANETH            NY         10980404         WEITZ & LUXENBERG, PC
LEHMBECK-TODARO      FLORENCE              NY         12043001         WEITZ & LUXENBERG, PC                                LEONARD              BEVERLY R             NY         10740102         WEITZ & LUXENBERG, PC
LEHNER               JOYCE                 NY         10722202         WEITZ & LUXENBERG, PC                                LEONARD              EARL J                NY         10700302         WEITZ & LUXENBERG, PC
LEHNER               THOMAS EDWARD         NY         10722202         WEITZ & LUXENBERG, PC                                LEONARD              EARL L                NY         1905422012       WEITZ & LUXENBERG, PC
LEIDER               CURTIS HOWARD         NY         02CIV2090        WEITZ & LUXENBERG, PC                                LEONARD              GENALYN               NY         6132872019       WEITZ & LUXENBERG, PC
LEIDER               DONALD B              NY         19027410         WEITZ & LUXENBERG, PC                                LEONARD              JACQUELIN D           NY         10386402         WEITZ & LUXENBERG, PC
LEIDER               ELEANOR               NY         02CIV2090        WEITZ & LUXENBERG, PC                                LEONARD              JOHANNA               NY         10587502         WEITZ & LUXENBERG, PC
LEIDER               IRVING J              NY         19027410         WEITZ & LUXENBERG, PC                                LEONARD              JOHN B                NY         6132872019       WEITZ & LUXENBERG, PC
LEIDER               MADELINE T            NY         19027410         WEITZ & LUXENBERG, PC                                LEONARD              JOHN JOSEPH           NY         10386402         WEITZ & LUXENBERG, PC
LEIDER               ROGER P               NY         19027410         WEITZ & LUXENBERG, PC                                LEONARD              JOYCE                 NY         1905422012       WEITZ & LUXENBERG, PC
LEIGH                EILEEN                NY         10216001         WEITZ & LUXENBERG, PC                                LEONARD              NOVA                  NY         01111235         WEITZ & LUXENBERG, PC
LEIGH                JOSEPH                NY         10216001         WEITZ & LUXENBERG, PC                                LEONARD              OLIVER                NY         01111235         WEITZ & LUXENBERG, PC
LEIGH                MICHAEL P             NY         10716702         WEITZ & LUXENBERG, PC                                LEONARD              PETER                 NY         10587502         WEITZ & LUXENBERG, PC
LEIKER               BARBARA               NY         10216101         WEITZ & LUXENBERG, PC                                LEONARDI             EDWARD                NY         1901362016       WEITZ & LUXENBERG, PC
LEIKER               DONALD J              NY         10216101         WEITZ & LUXENBERG, PC                                LEONARDI             JOSEPH A              NY         1902492017       WEITZ & LUXENBERG, PC
LEILI                BARBARA               NY         10216201         WEITZ & LUXENBERG, PC                                LEONARDI             LINDA                 NY         01111224         WEITZ & LUXENBERG, PC
LEILI                MICHAEL               NY         10216201         WEITZ & LUXENBERG, PC                                LEONARDI             MARILYN               NY         1901362016       WEITZ & LUXENBERG, PC
LEITO                ERWIN                 NY         12039601         WEITZ & LUXENBERG, PC                                LEONARDI             MARION                NY         1902492017       WEITZ & LUXENBERG, PC
LEMAN                BETTY                 NY         02107004         WEITZ & LUXENBERG, PC                                LEONARDI             PATRICK T             NY         01111224         WEITZ & LUXENBERG, PC
LEMAN                BETTY                 NY         11515502         WEITZ & LUXENBERG, PC                                LEONARDI             ROSARIO               NY         01111229         WEITZ & LUXENBERG, PC
LEMAN                KENNETH J             NY         02107004         WEITZ & LUXENBERG, PC                                LEONARDI             THOMAS ANTONINO       NY         11109900         WEITZ & LUXENBERG, PC
LEMAN                KENNETH J             NY         11515502         WEITZ & LUXENBERG, PC                                LEONARDI             THOMAS ANTONINO       NY         10835100         WEITZ & LUXENBERG, PC
LEMBICZ              HENRY A               NY         10216301         WEITZ & LUXENBERG, PC                                LEONARDO             DONATO R              NY         1901252015       WEITZ & LUXENBERG, PC
LEMBICZ              MARYANN A             NY         10216301         WEITZ & LUXENBERG, PC                                LEONARDO             ELIZABETH             NY         1901252015       WEITZ & LUXENBERG, PC
LEMBKE               DAVID E               NY         I20019666        WEITZ & LUXENBERG, PC                                LEONARDO             PIETRA                NY         11123101         WEITZ & LUXENBERG, PC
LEMBO                BARBARA               NY         19032209         WEITZ & LUXENBERG, PC                                LEONE                ANTHONY               NY         01111223         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 980
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 315 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LEONE                BARBARA               NY         10400604         WEITZ & LUXENBERG, PC                                LEVANDOSKI           JOHN                  NY         19026610         WEITZ & LUXENBERG, PC
LEONE                COMILLO               NY         10400604         WEITZ & LUXENBERG, PC                                LEVANDOSKI           PATRICIA              NY         19026610         WEITZ & LUXENBERG, PC
LEONE                FRANCESCO             NY         10217101         WEITZ & LUXENBERG, PC                                LEVENDUSKY           CLIFFORD J            NY         02106579         WEITZ & LUXENBERG, PC
LEONE                FRANK                 NY         10444708         WEITZ & LUXENBERG, PC                                LEVENDUSKY           ELIZABETH             NY         02106579         WEITZ & LUXENBERG, PC
LEONE                JULIUS J              NY         10548600         WEITZ & LUXENBERG, PC                                LEVENTHAL            STANLEY               NY         10217501         WEITZ & LUXENBERG, PC
LEONE                MARIA A               NY         10217101         WEITZ & LUXENBERG, PC                                LEVERETT             RICHARD               NY         1902902015       WEITZ & LUXENBERG, PC
LEONE                MARIAN                NY         10548600         WEITZ & LUXENBERG, PC                                LEVERETT             RICHARD L             NY         1902902015       WEITZ & LUXENBERG, PC
LEONE                NELSON                NY         99120313         WEITZ & LUXENBERG, PC                                LEVESQUE             FRANCES               NY         12433902         WEITZ & LUXENBERG, PC
LEONE                SALVATORE A           NY         02105715         WEITZ & LUXENBERG, PC                                LEVESQUE             JOAN                  NY         98122034         WEITZ & LUXENBERG, PC
LEONE                VINCENT               NY         10008703         WEITZ & LUXENBERG, PC                                LEVESQUE             JOSEPH G.A.           NY         98122034         WEITZ & LUXENBERG, PC
LEONE                VINCENZA              NY         10444708         WEITZ & LUXENBERG, PC                                LEVESQUE             RAYMOND               NY         12433902         WEITZ & LUXENBERG, PC
LEONETTI             CESARE                NY         98122028         WEITZ & LUXENBERG, PC                                LEVI                 IRVING                NY         12356501         WEITZ & LUXENBERG, PC
LEONETTI             MARIE                 NY         98122028         WEITZ & LUXENBERG, PC                                LEVIN                EVELYN                NY         11561201         WEITZ & LUXENBERG, PC
LEONIDAS             ALEXANDER             NY         98121989         WEITZ & LUXENBERG, PC                                LEVIN                EVELYN                NY         01111218         WEITZ & LUXENBERG, PC
LEONIDAS             ELEANOR               NY         98121989         WEITZ & LUXENBERG, PC                                LEVIN                JACK M                NY         11561201         WEITZ & LUXENBERG, PC
LEOPOLD              EDWARD R              NY         CV004028         WEITZ & LUXENBERG, PC                                LEVIN                JACK M                NY         01111218         WEITZ & LUXENBERG, PC
LEOPOLD              M ELAINE              NY         CV004028         WEITZ & LUXENBERG, PC                                LEVIN                JOEL I                NY         11561201         WEITZ & LUXENBERG, PC
LEPAGE               RICHARD J             NY         10716802         WEITZ & LUXENBERG, PC                                LEVIN                JOEL I                NY         01111218         WEITZ & LUXENBERG, PC
LEPIK                ENDLA                 NY         10023403         WEITZ & LUXENBERG, PC                                LEVIN                LAUREL ANN            NY         99104234         WEITZ & LUXENBERG, PC
LEPIK                KARL                  NY         10023403         WEITZ & LUXENBERG, PC                                LEVINE               ANN                   NY         11370203         WEITZ & LUXENBERG, PC
LEPINE               KELLY                 NY         19013211         WEITZ & LUXENBERG, PC                                LEVINE               ANN TIGHE             NY         01111226         WEITZ & LUXENBERG, PC
LEPORE               KATHLEEN              NY         98122036         WEITZ & LUXENBERG, PC                                LEVINE               ARTHUR                NY         01111226         WEITZ & LUXENBERG, PC
LEPORE               SUZANNE               NY         10785500         WEITZ & LUXENBERG, PC                                LEVINE               BERNICE               NY         12110001         WEITZ & LUXENBERG, PC
LEPORE               THOMAS                NY         98122036         WEITZ & LUXENBERG, PC                                LEVINE               BILLIE                NY         12213801         WEITZ & LUXENBERG, PC
LEPORE               VITO                  NY         10785500         WEITZ & LUXENBERG, PC                                LEVINE               CHRISTINE             NY         6174232017       WEITZ & LUXENBERG, PC
LEPORIN              ARTHUR                NY         10787600         WEITZ & LUXENBERG, PC                                LEVINE               ISAAC                 NY         10217601         WEITZ & LUXENBERG, PC
LEPORIN              GERALDINE             NY         10787600         WEITZ & LUXENBERG, PC                                LEVINE               JACK                  NY         12110001         WEITZ & LUXENBERG, PC
LEPPER               FLOYD T               NY         10548700         WEITZ & LUXENBERG, PC                                LEVINE               JOHN                  NY         6174232017       WEITZ & LUXENBERG, PC
LEPPER               MARILYN               NY         10548700         WEITZ & LUXENBERG, PC                                LEVINE               LUCILLE               NY         00113837         WEITZ & LUXENBERG, PC
LERCH                PETER E               NY         10040003         WEITZ & LUXENBERG, PC                                LEVINE               NORMA                 NY         12039001         WEITZ & LUXENBERG, PC
LERMOND              CARL                  NY         1903892014       WEITZ & LUXENBERG, PC                                LEVINE               OSCAR                 NY         11370203         WEITZ & LUXENBERG, PC
LEROUX               GILBERT F             NY         10217201         WEITZ & LUXENBERG, PC                                LEVINE               PHILIP                NY         12213801         WEITZ & LUXENBERG, PC
LEROUX               WAYNE A               NY         10700002         WEITZ & LUXENBERG, PC                                LEVINE               SANFORD E             NY         11629904         WEITZ & LUXENBERG, PC
LESAKOWSKI           ALBERT S              NY         10548800         WEITZ & LUXENBERG, PC                                LEVINE               SELMA                 NY         01111218         WEITZ & LUXENBERG, PC
LESAKOWSKI           NANCY                 NY         10548800         WEITZ & LUXENBERG, PC                                LEVINE               SEYMOUR               NY         00113837         WEITZ & LUXENBERG, PC
LESCH                GERARD F              NY         01108101         WEITZ & LUXENBERG, PC                                LEVINE               SEYMOUR               NY         01111218         WEITZ & LUXENBERG, PC
LESH                 LINDA                 NY         12693402         WEITZ & LUXENBERG, PC                                LEVINGSTON           QUEEN ESTHER          NY         01CIV3901        WEITZ & LUXENBERG, PC
LESH                 ROGER                 NY         12693402         WEITZ & LUXENBERG, PC                                LEVINGSTON           RE                    NY         01CIV3901        WEITZ & LUXENBERG, PC
LESHOK               CHARLES               NY         10722202         WEITZ & LUXENBERG, PC                                LEVINS               ELIZABETH             NY         10548900         WEITZ & LUXENBERG, PC
LESHOK               CHARLES               NY         11362702         WEITZ & LUXENBERG, PC                                LEVINS               WILLIAM FRANCIS       NY         10548900         WEITZ & LUXENBERG, PC
LESHOK               JOHN                  NY         10722202         WEITZ & LUXENBERG, PC                                LEVINSON             ANN C                 NY         12110001         WEITZ & LUXENBERG, PC
LESHOK               JOHN                  NY         11362702         WEITZ & LUXENBERG, PC                                LEVINSON             MILTON                NY         12110001         WEITZ & LUXENBERG, PC
LESHOURE             MARY ALICE            NY         10716802         WEITZ & LUXENBERG, PC                                LEVITAN              MARJORIE G            NY         10787300         WEITZ & LUXENBERG, PC
LESHOURE             WAVERLY               NY         10716802         WEITZ & LUXENBERG, PC                                LEVITAN              WALTER M              NY         10787300         WEITZ & LUXENBERG, PC
LESKO                JEAN                  NY         12668102         WEITZ & LUXENBERG, PC                                LEVULIS              ALFRED E              NY         02106693         WEITZ & LUXENBERG, PC
LESKO                ROBERT J              NY         12668102         WEITZ & LUXENBERG, PC                                LEVULIS              DOROTHY               NY         02106693         WEITZ & LUXENBERG, PC
LESLIE               IVYLIN E              NY         11547807         WEITZ & LUXENBERG, PC                                LEVULIS              DOROTHY A             NY         02117540         WEITZ & LUXENBERG, PC
LESLIE               WILTON A              NY         11547807         WEITZ & LUXENBERG, PC                                LEVULIS              FRANK WALTER          NY         I20019506        WEITZ & LUXENBERG, PC
L'ESPERANCE          ALBERT                NY         02115951         WEITZ & LUXENBERG, PC                                LEVULIS              FRANK WALTER          NY         02120709         WEITZ & LUXENBERG, PC
L'ESPERANCE          JEAN                  NY         02115951         WEITZ & LUXENBERG, PC                                LEVULIS              MARY                  NY         I20019506        WEITZ & LUXENBERG, PC
LESS                 NORMAN                NY         19006912         WEITZ & LUXENBERG, PC                                LEVULIS              MARY                  NY         02120709         WEITZ & LUXENBERG, PC
LESSER               ELSIE                 NY         02106709         WEITZ & LUXENBERG, PC                                LEVULIS              STANLEY               NY         02117540         WEITZ & LUXENBERG, PC
LESSER               HAROLD R              NY         02106709         WEITZ & LUXENBERG, PC                                LEVY                 HOWARD                NY         10787200         WEITZ & LUXENBERG, PC
LESSLER              EDWARD J              NY         02106508         WEITZ & LUXENBERG, PC                                LEVY                 MALKA                 NY         12344001         WEITZ & LUXENBERG, PC
LESSLER              EDWARD J              NY         11085802         WEITZ & LUXENBERG, PC                                LEVY                 MALKA                 NY         01111227         WEITZ & LUXENBERG, PC
LESSLER              JUDITH A              NY         02106508         WEITZ & LUXENBERG, PC                                LEVY                 MARGARET              NY         10787200         WEITZ & LUXENBERG, PC
LESSLER              JUDITH A              NY         11085802         WEITZ & LUXENBERG, PC                                LEVY                 RUDY                  NY         12039301         WEITZ & LUXENBERG, PC
LESSON               MAYNARD L             NY         02107099         WEITZ & LUXENBERG, PC                                LEVY                 RUDY                  NY         10366202         WEITZ & LUXENBERG, PC
LESSON               MAYNARD L             NY         11759602         WEITZ & LUXENBERG, PC                                LEVY                 SHALOM                NY         12344001         WEITZ & LUXENBERG, PC
LESTER               ANNETTE               NY         11356702         WEITZ & LUXENBERG, PC                                LEVY                 SHALOM                NY         01111227         WEITZ & LUXENBERG, PC
LESTER               GERALD                NY         10787400         WEITZ & LUXENBERG, PC                                LEVY                 SHIRLEY               NY         12039301         WEITZ & LUXENBERG, PC
LESTER               JOYCE                 NY         10787400         WEITZ & LUXENBERG, PC                                LEVY                 SHIRLEY               NY         10366202         WEITZ & LUXENBERG, PC
LESTER               STEVEN K              NY         11356702         WEITZ & LUXENBERG, PC                                LEWALLEN             CLEM                  NY         05CIV5815        WEITZ & LUXENBERG, PC
LESTRANGE            CORA                  NY         10786900         WEITZ & LUXENBERG, PC                                LEWALLEN             MARGARET HELEN        NY         05CIV5815        WEITZ & LUXENBERG, PC
LESTRANGE            WALTER                NY         10786900         WEITZ & LUXENBERG, PC                                LEWANDOWSKI          CHESTER J             NY         02121082         WEITZ & LUXENBERG, PC
LESYSHYN             JULIA                 NY         11415103         WEITZ & LUXENBERG, PC                                LEWANDOWSKI          ELIZABETH E           NY         10587202         WEITZ & LUXENBERG, PC
LESYSHYN             LOUIS                 NY         11415103         WEITZ & LUXENBERG, PC                                LEWANDOWSKI          HENRY E               NY         10587202         WEITZ & LUXENBERG, PC
LEVAC                DENNIS JOSEPH         NY         02105716         WEITZ & LUXENBERG, PC                                LEWANDOWSKI          RAYMOND S             NY         10549000         WEITZ & LUXENBERG, PC
LEVAC                GLORIA                NY         02105716         WEITZ & LUXENBERG, PC                                LEWANDOWSKI          YVONNE A              NY         02121082         WEITZ & LUXENBERG, PC
LEVAC                STEVEN JAMES          NY         02105716         WEITZ & LUXENBERG, PC                                LEWCZYK              PATRICIA              NY         98122032         WEITZ & LUXENBERG, PC
LEVAN                RONALD                NY         12668702         WEITZ & LUXENBERG, PC                                LEWCZYK              RAYMOND               NY         98122032         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 981
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 316 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LEWELLYN             BARBARA               NY         02106580         WEITZ & LUXENBERG, PC                                LEYZA                JUANA                 NY         10788500         WEITZ & LUXENBERG, PC
LEWELLYN             DONALD                NY         02106580         WEITZ & LUXENBERG, PC                                LEYZA                PEDRO                 NY         10788500         WEITZ & LUXENBERG, PC
LEWI                 LILLIAN               NY         10549100         WEITZ & LUXENBERG, PC                                LIA                  JOSEPH S              NY         10587402         WEITZ & LUXENBERG, PC
LEWI                 SEYMOUR               NY         10549100         WEITZ & LUXENBERG, PC                                LIA                  JOSEPH S              NY         10992102         WEITZ & LUXENBERG, PC
LEWINSKI             ARTHUR R              NY         10549200         WEITZ & LUXENBERG, PC                                LIA                  JUSTINE               NY         10587402         WEITZ & LUXENBERG, PC
LEWINSKI             PHOEBE R              NY         10549200         WEITZ & LUXENBERG, PC                                LIA                  JUSTINE               NY         10992102         WEITZ & LUXENBERG, PC
LEWIS                ALBERT LEE            NY         CV018464         WEITZ & LUXENBERG, PC                                LIAMERO              DANIEL J              NY         10163506         WEITZ & LUXENBERG, PC
LEWIS                ALBERT R              NY         10871301         WEITZ & LUXENBERG, PC                                LIAMERO              MARY ANN              NY         10235005         WEITZ & LUXENBERG, PC
LEWIS                BARBARA E             NY         02100266         WEITZ & LUXENBERG, PC                                LIAMERO              WILLIAM H             NY         10235005         WEITZ & LUXENBERG, PC
LEWIS                BARBARA J             NY         01CIV3900        WEITZ & LUXENBERG, PC                                LIAS                 JACOB                 NY         10788900         WEITZ & LUXENBERG, PC
LEWIS                BENNY                 NY         10217701         WEITZ & LUXENBERG, PC                                LIAS                 NANCY                 NY         10788900         WEITZ & LUXENBERG, PC
LEWIS                BONNIE                NY         CV025685         WEITZ & LUXENBERG, PC                                LIBERATORE           ALBERT                NY         10788800         WEITZ & LUXENBERG, PC
LEWIS                BRUCE ALLEN           NY         10787100         WEITZ & LUXENBERG, PC                                LIBERATORE           COSIMO                NY         10414601         WEITZ & LUXENBERG, PC
LEWIS                BUCK                  NY         CV025685         WEITZ & LUXENBERG, PC                                LIBERATORE           ERMINIO               NY         11110100         WEITZ & LUXENBERG, PC
LEWIS                CARL                  NY         CV014822         WEITZ & LUXENBERG, PC                                LIBERATORE           ERMINIO               NY         10835100         WEITZ & LUXENBERG, PC
LEWIS                CARLA                 NY         01CIV3907        WEITZ & LUXENBERG, PC                                LIBERATORE           FRANCA                NY         12039201         WEITZ & LUXENBERG, PC
LEWIS                CLAUDIA               NY         12444102         WEITZ & LUXENBERG, PC                                LIBERATORE           GIUSEPPE              NY         12039301         WEITZ & LUXENBERG, PC
LEWIS                DAFTON LADOY          NY         CV025685         WEITZ & LUXENBERG, PC                                LIBERATORE           KAREN A               NY         12411801         WEITZ & LUXENBERG, PC
LEWIS                DAVID K               NY         10176706         WEITZ & LUXENBERG, PC                                LIBERATORE           MARY                  NY         11110100         WEITZ & LUXENBERG, PC
LEWIS                DOLORES               NY         10402901         WEITZ & LUXENBERG, PC                                LIBERATORE           MARY                  NY         10835100         WEITZ & LUXENBERG, PC
LEWIS                DONALD A              NY         10176706         WEITZ & LUXENBERG, PC                                LIBERATORE           NANCY                 NY         10788800         WEITZ & LUXENBERG, PC
LEWIS                DOROTHY               NY         CV018464         WEITZ & LUXENBERG, PC                                LIBERATORE           OTTAVIANO             NY         12039201         WEITZ & LUXENBERG, PC
LEWIS                ETHEL                 NY         10560304         WEITZ & LUXENBERG, PC                                LIBERATORE           PETER J               NY         02107004         WEITZ & LUXENBERG, PC
LEWIS                FRANK                 NY         11938200         WEITZ & LUXENBERG, PC                                LIBERATORE           PHILIP                NY         12411801         WEITZ & LUXENBERG, PC
LEWIS                FREDDIE               NY         CV025685         WEITZ & LUXENBERG, PC                                LIBERATORE           VITINA                NY         10414601         WEITZ & LUXENBERG, PC
LEWIS                FRITZ T               NY         01115462         WEITZ & LUXENBERG, PC                                LIBERATOSCIOLI       ANNA                  NY         11356702         WEITZ & LUXENBERG, PC
LEWIS                GLORIA                NY         12039801         WEITZ & LUXENBERG, PC                                LIBERATOSCIOLI       SECONDINO             NY         11356702         WEITZ & LUXENBERG, PC
LEWIS                GLORIA                NY         10481902         WEITZ & LUXENBERG, PC                                LIBERTA              NICHOLAS              NY         12801902         WEITZ & LUXENBERG, PC
LEWIS                GREG                  NY         01CIV3900        WEITZ & LUXENBERG, PC                                LIBERTI              MARLENE               NY         10788700         WEITZ & LUXENBERG, PC
LEWIS                HARVEY P              NY         10839000         WEITZ & LUXENBERG, PC                                LIBERTI              STEPHEN               NY         10788700         WEITZ & LUXENBERG, PC
LEWIS                HELEN                 NY         10549600         WEITZ & LUXENBERG, PC                                LIBERTY              LINDA                 NY         10669502         WEITZ & LUXENBERG, PC
LEWIS                HENRY                 NY         12693502         WEITZ & LUXENBERG, PC                                LIBERTY              ROBERT R              NY         10669502         WEITZ & LUXENBERG, PC
LEWIS                HOLLY J               NY         10008703         WEITZ & LUXENBERG, PC                                LIBONATI             ANTHONY               NY         10403001         WEITZ & LUXENBERG, PC
LEWIS                HOLLY J               NY         10565603         WEITZ & LUXENBERG, PC                                LIBONATI             MARY ELLEN            NY         10403001         WEITZ & LUXENBERG, PC
LEWIS                IRIS                  NY         10839000         WEITZ & LUXENBERG, PC                                LIBRERA              CONCETTA              NY         10403101         WEITZ & LUXENBERG, PC
LEWIS                JAMES E               NY         10549400         WEITZ & LUXENBERG, PC                                LIBRERA              WILLIAM J             NY         10403101         WEITZ & LUXENBERG, PC
LEWIS                JAMES G               NY         10402901         WEITZ & LUXENBERG, PC                                LICATA               AGATINO               NY         11646303         WEITZ & LUXENBERG, PC
LEWIS                JOANNE                NY         10871301         WEITZ & LUXENBERG, PC                                LICATA               BEATRICE              NY         11646303         WEITZ & LUXENBERG, PC
LEWIS                JOE E                 NY         11110000         WEITZ & LUXENBERG, PC                                LICATA               GABRIELA A            NY         12039001         WEITZ & LUXENBERG, PC
LEWIS                JOE E                 NY         10835100         WEITZ & LUXENBERG, PC                                LICATA               RONALD                NY         12039001         WEITZ & LUXENBERG, PC
LEWIS                JOEL W                NY         1900102016       WEITZ & LUXENBERG, PC                                LICCIARDONE          LUCILLE M             NY         10198603         WEITZ & LUXENBERG, PC
LEWIS                JOSEPH R              NY         10571702         WEITZ & LUXENBERG, PC                                LICENZIATO           GENNARO               NY         10785100         WEITZ & LUXENBERG, PC
LEWIS                KATHLEEN R            NY         10571702         WEITZ & LUXENBERG, PC                                LICIAGA              HERMINIA              NY         I20017050        WEITZ & LUXENBERG, PC
LEWIS                KEY                   NY         CV025685         WEITZ & LUXENBERG, PC                                LICIAGA              HERMINIA              NY         02122684         WEITZ & LUXENBERG, PC
LEWIS                LATEYFA               NY         10491600         WEITZ & LUXENBERG, PC                                LICIAGA              JUAN                  NY         I20017050        WEITZ & LUXENBERG, PC
LEWIS                LINDA                 NY         10176706         WEITZ & LUXENBERG, PC                                LICIAGA              JUAN                  NY         02122684         WEITZ & LUXENBERG, PC
LEWIS                MACK                  NY         10090403         WEITZ & LUXENBERG, PC                                LICKERS              HOWARD L              NY         I20019859        WEITZ & LUXENBERG, PC
LEWIS                MARLEEN               NY         98119868         WEITZ & LUXENBERG, PC                                LICKERS              HOWARD L              NY         02120709         WEITZ & LUXENBERG, PC
LEWIS                MARLENE               NY         12693502         WEITZ & LUXENBERG, PC                                LICKFELD             ROBERT C              NY         10403201         WEITZ & LUXENBERG, PC
LEWIS                MARYLIN               NY         01111235         WEITZ & LUXENBERG, PC                                LICKFELD             ROSEMARIE             NY         10403201         WEITZ & LUXENBERG, PC
LEWIS                MATTIE B              NY         10549400         WEITZ & LUXENBERG, PC                                LIEBER               ENID                  NY         1900782014       WEITZ & LUXENBERG, PC
LEWIS                MILDRED               NY         10549400         WEITZ & LUXENBERG, PC                                LIEBERMAN            BARBARA               NY         1902742015       WEITZ & LUXENBERG, PC
LEWIS                NANCY                 NY         CV014822         WEITZ & LUXENBERG, PC                                LIEBERMAN            NORMAN                NY         1902742015       WEITZ & LUXENBERG, PC
LEWIS                NOEL VANCIL           NY         CV025685         WEITZ & LUXENBERG, PC                                LIEBMAN              JEANNE                NY         10322203         WEITZ & LUXENBERG, PC
LEWIS                OCIE                  NY         10549600         WEITZ & LUXENBERG, PC                                LIEBRATORE           LIDIA                 NY         12039301         WEITZ & LUXENBERG, PC
LEWIS                OSCEOLA               NY         01CIV3900        WEITZ & LUXENBERG, PC                                LIEM                 JOANNA                NY         01111225         WEITZ & LUXENBERG, PC
LEWIS                RANFORD               NY         19037910         WEITZ & LUXENBERG, PC                                LIEM                 KENNETH               NY         01111225         WEITZ & LUXENBERG, PC
LEWIS                ROBERT                NY         02100266         WEITZ & LUXENBERG, PC                                LIESENFELD           ANDREW D              NY         12199098         WEITZ & LUXENBERG, PC
LEWIS                ROSE                  NY         19037910         WEITZ & LUXENBERG, PC                                LIESENFELD           BARBARA               NY         12199098         WEITZ & LUXENBERG, PC
LEWIS                SHEILA B              NY         01115462         WEITZ & LUXENBERG, PC                                LIFRIERI             LOUIS                 NY         19033009         WEITZ & LUXENBERG, PC
LEWIS                STANLEY B             NY         1902672016       WEITZ & LUXENBERG, PC                                LIGGONS              ARDELL                NY         11123101         WEITZ & LUXENBERG, PC
LEWIS                VERDELL               NY         10217701         WEITZ & LUXENBERG, PC                                LIGGONS              THELMA                NY         11123101         WEITZ & LUXENBERG, PC
LEWIS                VERONICA              NY         1902672016       WEITZ & LUXENBERG, PC                                LIGHTFOOT            ALICE                 NY         01CIV3922        WEITZ & LUXENBERG, PC
LEWIS                WARREN ELBERT         NY         CV025685         WEITZ & LUXENBERG, PC                                LIGHTFOOT            GERALD LEE            NY         01CIV3922        WEITZ & LUXENBERG, PC
LEWIS                WILLIAM               NY         12444102         WEITZ & LUXENBERG, PC                                LIGHTHALL            MELVIN                NY         10587402         WEITZ & LUXENBERG, PC
LEWIS                WILLIAM F             NY         01111235         WEITZ & LUXENBERG, PC                                LIGHTHALL            NANCY                 NY         10587402         WEITZ & LUXENBERG, PC
LEWIS                WILLIAM L             NY         01111219         WEITZ & LUXENBERG, PC                                LIGHTKEP             DONALD A              NY         1901652016       WEITZ & LUXENBERG, PC
LEWIS                DAVID K               NY         10176706         WEITZ & LUXENBERG, PC                                LIGHTKEP             JOAN                  NY         1901652016       WEITZ & LUXENBERG, PC
LEWIS CANINO         JANET                 NY         99119950         WEITZ & LUXENBERG, PC                                LIGNOS               GEORGE                NY         10074103         WEITZ & LUXENBERG, PC
LEWIS JOHNSON        MELANIE               NY         10549600         WEITZ & LUXENBERG, PC                                LIGNOS               LUCILLE               NY         98121995         WEITZ & LUXENBERG, PC
LEYDEN               MICHAEL               NY         01111227         WEITZ & LUXENBERG, PC                                LIGNOS               PETER C               NY         98121995         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 982
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 317 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LIGUORI              FERDINAND             NY         1900272016       WEITZ & LUXENBERG, PC                                LINGENFELTER         TODD A                NY         11348602         WEITZ & LUXENBERG, PC
LILLIE               JOAN M                NY         10722002         WEITZ & LUXENBERG, PC                                LINGO                CLAUDE                NY         1900252018       WEITZ & LUXENBERG, PC
LILLIE               ROBERT                NY         10722002         WEITZ & LUXENBERG, PC                                LINGO                JOSEPHINE             NY         1900252018       WEITZ & LUXENBERG, PC
LILLIS               MICHAEL F             NY         12693502         WEITZ & LUXENBERG, PC                                LININS               LINARDS               NY         10786600         WEITZ & LUXENBERG, PC
LILLIS               SUSAN                 NY         12693502         WEITZ & LUXENBERG, PC                                LINSKY               ALLISON               NY         1901492016       WEITZ & LUXENBERG, PC
LILOVAR              MARIA                 NY         10550500         WEITZ & LUXENBERG, PC                                LINSLEY              JANE                  NY         10402601         WEITZ & LUXENBERG, PC
LIMA                 ALEXANDER             NY         10785800         WEITZ & LUXENBERG, PC                                LINSLEY              JOSEPH                NY         10402601         WEITZ & LUXENBERG, PC
LIMA                 MARIA                 NY         10785800         WEITZ & LUXENBERG, PC                                LINTEAU              LAWRENCE D            NY         CV018465         WEITZ & LUXENBERG, PC
LIMBURG              GLENN                 NY         12788802         WEITZ & LUXENBERG, PC                                LINTEAU              REBECCA               NY         CV018465         WEITZ & LUXENBERG, PC
LIMPERT              MICHAEL               NY         I200110098       WEITZ & LUXENBERG, PC                                LINWOOD              CHARLES A             NY         CV025685         WEITZ & LUXENBERG, PC
LIMPERT              MICHAEL               NY         02122050         WEITZ & LUXENBERG, PC                                LINWOOD              ELOISE                NY         CV025685         WEITZ & LUXENBERG, PC
LIMPERT              VALERIE J             NY         I200110098       WEITZ & LUXENBERG, PC                                LIO                  DOLLY                 NY         10549700         WEITZ & LUXENBERG, PC
LIMPERT              VALERIE J             NY         02122050         WEITZ & LUXENBERG, PC                                LIO                  GINO                  NY         10549700         WEITZ & LUXENBERG, PC
LIMPUANGTHIP         PIMOLVARN             NY         1902772012       WEITZ & LUXENBERG, PC                                LIOCE                VINCENT               NY         11158903         WEITZ & LUXENBERG, PC
LIMPUANGTHIP         REANGTHONG            NY         1902772012       WEITZ & LUXENBERG, PC                                LIOTTA               ANTHONY J             NY         10786500         WEITZ & LUXENBERG, PC
LINCE                CLYDE O               NY         19011708         WEITZ & LUXENBERG, PC                                LIOTTA               JANET                 NY         10786500         WEITZ & LUXENBERG, PC
LINCE                ELVIRA M              NY         19011708         WEITZ & LUXENBERG, PC                                LIPKA                JOHN A                NY         10787905         WEITZ & LUXENBERG, PC
LINCOLN              DONALD L              NY         10785700         WEITZ & LUXENBERG, PC                                LIPKA                LAURA                 NY         10787905         WEITZ & LUXENBERG, PC
LINCOLN              VIRGINIA              NY         10785700         WEITZ & LUXENBERG, PC                                LIPORACE             JACQUELINE HELEN      NY         12042901         WEITZ & LUXENBERG, PC
LIND                 CARL                  NY         11026702         WEITZ & LUXENBERG, PC                                LIPORACE             JOSEPH J              NY         12042901         WEITZ & LUXENBERG, PC
LIND                 CARL                  NY         12635602         WEITZ & LUXENBERG, PC                                LIPPERT              AUDREY                NY         12110001         WEITZ & LUXENBERG, PC
LIND                 CARL A                NY         11026702         WEITZ & LUXENBERG, PC                                LIPPERT              AUDREY                NY         10647702         WEITZ & LUXENBERG, PC
LIND                 CARL A                NY         12635602         WEITZ & LUXENBERG, PC                                LIPPERT              EDWARD                NY         12110001         WEITZ & LUXENBERG, PC
LIND                 MILDRED               NY         11026702         WEITZ & LUXENBERG, PC                                LIPPERT              EDWARD                NY         10647702         WEITZ & LUXENBERG, PC
LIND                 MILDRED               NY         12635602         WEITZ & LUXENBERG, PC                                LIPSIE               LARRY                 NY         01CIV3900        WEITZ & LUXENBERG, PC
LINDBERG             CHRISTINA             NY         1902002018       WEITZ & LUXENBERG, PC                                LIPSIE               RUTHIA T              NY         01CIV3900        WEITZ & LUXENBERG, PC
LINDBERG             FREDERICK F           NY         1902002018       WEITZ & LUXENBERG, PC                                LIPSKY               BORAH                 NY         10878203         WEITZ & LUXENBERG, PC
LINDELL              LILLIAN               NY         01111236         WEITZ & LUXENBERG, PC                                LIPSKY               FRANKLIN              NY         10878203         WEITZ & LUXENBERG, PC
LINDELL              SOL                   NY         01111236         WEITZ & LUXENBERG, PC                                LIPSKY               RUTH                  NY         10878203         WEITZ & LUXENBERG, PC
LINDENBAUM           ISRAEL                NY         01111218         WEITZ & LUXENBERG, PC                                LIPSKY               STUART                NY         10878203         WEITZ & LUXENBERG, PC
LINDENBAUM           PEARL                 NY         01111218         WEITZ & LUXENBERG, PC                                LIPTAK               EDWARD G              NY         10817706         WEITZ & LUXENBERG, PC
LINDER               MARCIE                NY         11110600         WEITZ & LUXENBERG, PC                                LIPTAK               JOHN J                NY         10870700         WEITZ & LUXENBERG, PC
LINDER               MARCIE                NY         10835100         WEITZ & LUXENBERG, PC                                LIPTAK               NANCY                 NY         10870700         WEITZ & LUXENBERG, PC
LINDER               ROBERT F              NY         11110600         WEITZ & LUXENBERG, PC                                LIPTON               EDWARD E              NY         01122139         WEITZ & LUXENBERG, PC
LINDER               ROBERT F              NY         10835100         WEITZ & LUXENBERG, PC                                LIPTON               EDWARD E              NY         10813302         WEITZ & LUXENBERG, PC
LINDHAMMER           CHARLES               NY         11110700         WEITZ & LUXENBERG, PC                                LIPTON               JEANETTE              NY         01122139         WEITZ & LUXENBERG, PC
LINDHAMMER           CHARLES               NY         10835100         WEITZ & LUXENBERG, PC                                LIPTON               JEANETTE              NY         10813302         WEITZ & LUXENBERG, PC
LINDLEY              DAVID F               NY         00107856         WEITZ & LUXENBERG, PC                                LIQUORI              NORMAN                NY         01111229         WEITZ & LUXENBERG, PC
LINDNER              ANN                   NY         10571402         WEITZ & LUXENBERG, PC                                LIQUORI              RICHARD F             NY         12801902         WEITZ & LUXENBERG, PC
LINDNER              ANN                   NY         11181702         WEITZ & LUXENBERG, PC                                LISCANDRELLA         MARY                  NY         11375704         WEITZ & LUXENBERG, PC
LINDNER              BRUCE M               NY         10571402         WEITZ & LUXENBERG, PC                                LISCANDRELLA         SALVATORE             NY         11375704         WEITZ & LUXENBERG, PC
LINDNER              BRUCE M               NY         11181702         WEITZ & LUXENBERG, PC                                LISK                 JOHN J                NY         10549800         WEITZ & LUXENBERG, PC
LINDNER              GEORGE                NY         11159403         WEITZ & LUXENBERG, PC                                LISO                 NICHOLAS S            NY         10870600         WEITZ & LUXENBERG, PC
LINDNER              GEORGE                NY         11221003         WEITZ & LUXENBERG, PC                                LISTON               CATHERINE B           NY         12039301         WEITZ & LUXENBERG, PC
LINDNER              JOAN                  NY         11159403         WEITZ & LUXENBERG, PC                                LISTON               THOMAS J              NY         12039301         WEITZ & LUXENBERG, PC
LINDNER              JOAN                  NY         11221003         WEITZ & LUXENBERG, PC                                LITA                 IMER                  NY         12693502         WEITZ & LUXENBERG, PC
LINDNER              PETER                 NY         11159403         WEITZ & LUXENBERG, PC                                LITA                 LULZIME SP            NY         12693502         WEITZ & LUXENBERG, PC
LINDNER              PETER                 NY         11221003         WEITZ & LUXENBERG, PC                                LITCHKO              JUDITH                NY         10549900         WEITZ & LUXENBERG, PC
LINDOW               EVELYN                NY         11453403         WEITZ & LUXENBERG, PC                                LITCHKO              ROBERT F              NY         10549900         WEITZ & LUXENBERG, PC
LINDOW               STANLEY               NY         11453403         WEITZ & LUXENBERG, PC                                LITTLE               BENIGHTA              NY         10710102         WEITZ & LUXENBERG, PC
LINDQUIST            GEORGE L              NY         CV030243         WEITZ & LUXENBERG, PC                                LITTLE               BENIGHTA              NY         11967602         WEITZ & LUXENBERG, PC
LINDQUIST            MARY S                NY         CV030243         WEITZ & LUXENBERG, PC                                LITTLE               CHRISTOPHER F         NY         12100401         WEITZ & LUXENBERG, PC
LINDSEY              BARBARA               NY         11050703         WEITZ & LUXENBERG, PC                                LITTLE               CHRISTOPHER F         NY         10604002         WEITZ & LUXENBERG, PC
LINDSEY              INGE M                NY         I20017618        WEITZ & LUXENBERG, PC                                LITTLE               EARLENE               NY         CV015959         WEITZ & LUXENBERG, PC
LINDSEY              IRELAND O             NY         I20017618        WEITZ & LUXENBERG, PC                                LITTLE               EDDIE                 NY         10710102         WEITZ & LUXENBERG, PC
LINDSEY              MARY B                NY         12444102         WEITZ & LUXENBERG, PC                                LITTLE               EDDIE                 NY         11967602         WEITZ & LUXENBERG, PC
LINDSEY              TERRY C               NY         11050703         WEITZ & LUXENBERG, PC                                LITTLE               GLENN E               NY         02105716         WEITZ & LUXENBERG, PC
LINDSEY              THOMAS J              NY         12444102         WEITZ & LUXENBERG, PC                                LITTLE               IRENE L               NY         02105716         WEITZ & LUXENBERG, PC
LINDSEY              TOMMY G               NY         CV013921         WEITZ & LUXENBERG, PC                                LITTLE               JOHN R                NY         CV016394         WEITZ & LUXENBERG, PC
LINDSLEY             DAVID L               NY         00107856         WEITZ & LUXENBERG, PC                                LITTLE               JOHNNIE               NY         19008010         WEITZ & LUXENBERG, PC
LINDSLEY             DORI                  NY         12039301         WEITZ & LUXENBERG, PC                                LITTLE               SONDRA                NY         19008010         WEITZ & LUXENBERG, PC
LINDSLEY             ELIZABETH LOUELLA     NY         12033099         WEITZ & LUXENBERG, PC                                LITTLE               WANDA                 NY         CV016394         WEITZ & LUXENBERG, PC
LINDSLEY             JEFFREY T             NY         12039301         WEITZ & LUXENBERG, PC                                LITTLE               WINFORD FRANKLIN      NY         CV015959         WEITZ & LUXENBERG, PC
LINDSLEY             LEON GEORGE           NY         12033099         WEITZ & LUXENBERG, PC                                LIVERNOIS            WILLIAM               CA         RG18904408       WEITZ & LUXENBERG, PC
LINFORS              KATHRYN               NY         1901072019       WEITZ & LUXENBERG, PC                                LIVINGSTON           SHARON ANNE           NY         12043201         WEITZ & LUXENBERG, PC
LINFORS              NILS                  NY         1901072019       WEITZ & LUXENBERG, PC                                LIVINGSTONE          RANDOLPH              NY         01110163         WEITZ & LUXENBERG, PC
LINGEL               LOUIS                 NY         12039001         WEITZ & LUXENBERG, PC                                LIVOTE               BEATRICE              NY         11349603         WEITZ & LUXENBERG, PC
LINGEL               LOUIS                 NY         12394301         WEITZ & LUXENBERG, PC                                LIVOTE               ROBERT J              NY         11349603         WEITZ & LUXENBERG, PC
LINGENFELTER         OSCAR L               NY         10740102         WEITZ & LUXENBERG, PC                                LLOYD                CAROL                 NY         00CIV3589        WEITZ & LUXENBERG, PC
LINGENFELTER         OSCAR L               NY         11348602         WEITZ & LUXENBERG, PC                                LLOYD                GEORGE                NY         19004012         WEITZ & LUXENBERG, PC
LINGENFELTER         TODD A                NY         10740102         WEITZ & LUXENBERG, PC                                LLOYD                LARRY H               NY         00CIV3589        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 983
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 318 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LLOYD                SHARON S              NY         19004012         WEITZ & LUXENBERG, PC                                LOFTIS               EDWIN LEE             NY         CV016264         WEITZ & LUXENBERG, PC
LO BIANCO            CLAIRE                NY         12043001         WEITZ & LUXENBERG, PC                                LOFTIS               JAMES E               NY         CV015620         WEITZ & LUXENBERG, PC
LO BIANCO            SALVATORE             NY         12043001         WEITZ & LUXENBERG, PC                                LOFTIS               KATIE                 NY         CV015620         WEITZ & LUXENBERG, PC
LO BUE               CATHERINE             NY         11849399         WEITZ & LUXENBERG, PC                                LOFTIS               SHANNON               NY         CV016264         WEITZ & LUXENBERG, PC
LO BUE               VINCENT J             NY         11849399         WEITZ & LUXENBERG, PC                                LOFTON               ARIGHT                NY         10587602         WEITZ & LUXENBERG, PC
LO MONACO            CHARLES               NY         1902172016       WEITZ & LUXENBERG, PC                                LOFTON               ARIGHT                NY         10971902         WEITZ & LUXENBERG, PC
LO MONACO            ROSALIE               NY         1902172016       WEITZ & LUXENBERG, PC                                LOFTON               YVONNE                NY         10587602         WEITZ & LUXENBERG, PC
LO MONACO            VINCENT               NY         12110001         WEITZ & LUXENBERG, PC                                LOFTON               YVONNE                NY         10971902         WEITZ & LUXENBERG, PC
LO MONACO            VINCENT               NY         10647502         WEITZ & LUXENBERG, PC                                LOGERFO              CHRISTOPHER           NY         12039201         WEITZ & LUXENBERG, PC
LO PICCOLO           ANTHONY MICHAEL       NY         10871100         WEITZ & LUXENBERG, PC                                LOGERFO              CHRISTOPHER           NY         10408502         WEITZ & LUXENBERG, PC
LO TEMPIO            GERTRUDE              NY         12198399         WEITZ & LUXENBERG, PC                                LOGERFO              LARAYNE               NY         12039201         WEITZ & LUXENBERG, PC
LO TEMPIO            RONALD L SR           NY         12198399         WEITZ & LUXENBERG, PC                                LOGERFO              LARAYNE               NY         10408502         WEITZ & LUXENBERG, PC
LOBASSO              JOSEPHINE             NY         1901792018       WEITZ & LUXENBERG, PC                                LOGOSSO              DIANA                 NY         11870701         WEITZ & LUXENBERG, PC
LOBASSO              NICK                  NY         1901792018       WEITZ & LUXENBERG, PC                                LOGOSSO              DIANA                 NY         01111233         WEITZ & LUXENBERG, PC
LOBB                 EDITH                 NY         10911600         WEITZ & LUXENBERG, PC                                LOGOSSO              SAMUEL                NY         11870701         WEITZ & LUXENBERG, PC
LOBB                 RICHARD T             NY         10911600         WEITZ & LUXENBERG, PC                                LOGOSSO              SAMUEL                NY         01111233         WEITZ & LUXENBERG, PC
LOBOSCO              ROSARIO J             NY         11704400         WEITZ & LUXENBERG, PC                                LOHMAN               EVELYN M              NY         06CIV2988        WEITZ & LUXENBERG, PC
LOBUGLIO             PATRICIA              NY         12201698         WEITZ & LUXENBERG, PC                                LOHR                 GEORGE                NY         11703700         WEITZ & LUXENBERG, PC
LOBUGLIO             PAUL A                NY         12201698         WEITZ & LUXENBERG, PC                                LOHR                 JOYCE D               NY         11703700         WEITZ & LUXENBERG, PC
LOBUS                JOAN CHURCH           NY         10911400         WEITZ & LUXENBERG, PC                                LOHR                 TIMOTHY J             NY         11703700         WEITZ & LUXENBERG, PC
LOBUS                RAYMOND C             NY         10911400         WEITZ & LUXENBERG, PC                                LOIACANO             RUSSELL J             NY         10587102         WEITZ & LUXENBERG, PC
LOCASCIO             FRANK                 NY         11598903         WEITZ & LUXENBERG, PC                                LOIACONO             DELIZIA               NY         11110800         WEITZ & LUXENBERG, PC
LOCASCIO             GEORGE                NY         11598903         WEITZ & LUXENBERG, PC                                LOIACONO             DELIZIA               NY         10835100         WEITZ & LUXENBERG, PC
LOCICERO             BEVERLY               NY         10911300         WEITZ & LUXENBERG, PC                                LOIACONO             EMANUEL               NY         11110800         WEITZ & LUXENBERG, PC
LOCICERO             FRANK JAMES           NY         10911300         WEITZ & LUXENBERG, PC                                LOIACONO             EMANUEL               NY         10835100         WEITZ & LUXENBERG, PC
LOCK                 ALLEN L               NY         10911200         WEITZ & LUXENBERG, PC                                LOIK                 JOHANNES              NY         10912500         WEITZ & LUXENBERG, PC
LOCK                 ARTHUR J              NY         CV025685         WEITZ & LUXENBERG, PC                                LOIK                 NORMA                 NY         10912500         WEITZ & LUXENBERG, PC
LOCK                 JOYCELYN              NY         CV025685         WEITZ & LUXENBERG, PC                                LOJEWSKI             ANDREW                NY         10402701         WEITZ & LUXENBERG, PC
LOCKE                DONALD M              NY         10291602         WEITZ & LUXENBERG, PC                                LOJEWSKI             PAMELA                NY         10402701         WEITZ & LUXENBERG, PC
LOCKE                JEAN M                NY         10291602         WEITZ & LUXENBERG, PC                                LOKENBERG            ROBERT A              NY         10402801         WEITZ & LUXENBERG, PC
LOCKHART             ANDREW                NY         01CIV3910        WEITZ & LUXENBERG, PC                                LOKIETEK             DIANE                 NY         10912300         WEITZ & LUXENBERG, PC
LOCKHART             CICERO                NY         10911100         WEITZ & LUXENBERG, PC                                LOKIETEK             JOSEPH ANTHONY        NY         10912400         WEITZ & LUXENBERG, PC
LOCKHART             JAMES                 NY         10912700         WEITZ & LUXENBERG, PC                                LOKIETEK             THOMAS J              NY         10912300         WEITZ & LUXENBERG, PC
LOCKHART             KIMBERLY D            NY         01CIV3895        WEITZ & LUXENBERG, PC                                LOMANDO              ANTHONY J             NY         12100401         WEITZ & LUXENBERG, PC
LOCKHART             MARTHA                NY         10652105         WEITZ & LUXENBERG, PC                                LOMANDO              ANTHONY J             NY         10603902         WEITZ & LUXENBERG, PC
LOCKHART             THERESA               NY         01CIV3910        WEITZ & LUXENBERG, PC                                LOMANDO              BELLA A               NY         12100401         WEITZ & LUXENBERG, PC
LOCKHART             VERA MAE              NY         10912700         WEITZ & LUXENBERG, PC                                LOMANDO              BELLA A               NY         10603902         WEITZ & LUXENBERG, PC
LOCKHART             WALTER J              NY         10652105         WEITZ & LUXENBERG, PC                                LOMANDO              RALPH G               NY         12100401         WEITZ & LUXENBERG, PC
LOCKWOOD             EDWIN A               NY         02105716         WEITZ & LUXENBERG, PC                                LOMANDO              RALPH G               NY         10603902         WEITZ & LUXENBERG, PC
LOCKWOOD             HALLIE JOAN           NY         02105716         WEITZ & LUXENBERG, PC                                LOMBARD              THOMAS                NY         10401601         WEITZ & LUXENBERG, PC
LOCKWOOD             HARRY J               NY         11159303         WEITZ & LUXENBERG, PC                                LOMBARDI             AIDA                  NY         12329801         WEITZ & LUXENBERG, PC
LOCKWOOD             JAMES                 NY         11622801         WEITZ & LUXENBERG, PC                                LOMBARDI             ANTHONY A             NY         12693702         WEITZ & LUXENBERG, PC
LOCKWOOD             JAMES                 NY         01111221         WEITZ & LUXENBERG, PC                                LOMBARDI             ANTHONY A             NY         10560603         WEITZ & LUXENBERG, PC
LOCKWOOD             JAMES A               NY         02105716         WEITZ & LUXENBERG, PC                                LOMBARDI             BERENICE              NY         12693702         WEITZ & LUXENBERG, PC
LOCKWOOD             LYNN M                NY         9015302015       WEITZ & LUXENBERG, PC                                LOMBARDI             BERENICE              NY         10560603         WEITZ & LUXENBERG, PC
LOCKWOOD             URSULA                NY         11159303         WEITZ & LUXENBERG, PC                                LOMBARDI             CHARLES C             NY         11870801         WEITZ & LUXENBERG, PC
LOCURTO              JOHN                  NY         99108912         WEITZ & LUXENBERG, PC                                LOMBARDI             CHARLES C             NY         01111233         WEITZ & LUXENBERG, PC
LOCURTO              JOHN                  NY         10891299         WEITZ & LUXENBERG, PC                                LOMBARDI             ESTHER                NY         10023203         WEITZ & LUXENBERG, PC
LOCURTO              KATHERINE             NY         99108912         WEITZ & LUXENBERG, PC                                LOMBARDI             EVELYN P              NY         11870801         WEITZ & LUXENBERG, PC
LOCURTO              KATHERINE             NY         10891299         WEITZ & LUXENBERG, PC                                LOMBARDI             EVELYN P              NY         01111233         WEITZ & LUXENBERG, PC
LOCUS                KAREN                 NY         10687899         WEITZ & LUXENBERG, PC                                LOMBARDI             GEORGE ESTATE         NY         12329801         WEITZ & LUXENBERG, PC
LOCY                 JERRY L               NY         11055801         WEITZ & LUXENBERG, PC                                LOMBARDI             RALPH                 NY         10023203         WEITZ & LUXENBERG, PC
LOCY                 SHARON                NY         11055801         WEITZ & LUXENBERG, PC                                LOMBARDI             THERESA               NY         01111223         WEITZ & LUXENBERG, PC
LODDO                GIOVANNA              NY         11348607         WEITZ & LUXENBERG, PC                                LOMBARDO             ANNE                  NY         11870901         WEITZ & LUXENBERG, PC
LODDO                JOANN                 NY         11348607         WEITZ & LUXENBERG, PC                                LOMBARDO             ANNE                  NY         01111233         WEITZ & LUXENBERG, PC
LODDO                JOHN                  NY         11348607         WEITZ & LUXENBERG, PC                                LOMBARDO             ANTHONY               NY         11870901         WEITZ & LUXENBERG, PC
LODHREN              MARYBETH              NY         11977401         WEITZ & LUXENBERG, PC                                LOMBARDO             ANTHONY               NY         01111233         WEITZ & LUXENBERG, PC
LODHREN              MARYBETH              NY         11123201         WEITZ & LUXENBERG, PC                                LOMBARDO             MARY                  NY         11159303         WEITZ & LUXENBERG, PC
LODHREN              ROBERT A              NY         11977401         WEITZ & LUXENBERG, PC                                LOMBARDO             MICHELE               NY         1900332018       WEITZ & LUXENBERG, PC
LODHREN              ROBERT A              NY         11123201         WEITZ & LUXENBERG, PC                                LOMBARDO             ROSARIO               NY         11159303         WEITZ & LUXENBERG, PC
LODY                 CHARLES EDWIN         NY         CV025685         WEITZ & LUXENBERG, PC                                LOMBARDO             SALVATORE             NY         1900332018       WEITZ & LUXENBERG, PC
LOEHMANN             LOUISE                NY         10912600         WEITZ & LUXENBERG, PC                                LOMUSCIO             CAROL                 NY         10912200         WEITZ & LUXENBERG, PC
LOEHMANN             ROBERT WALTER         NY         10912600         WEITZ & LUXENBERG, PC                                LOMUSCIO             JOSEPH                NY         10912200         WEITZ & LUXENBERG, PC
LOESCH               KATHLEEN              NY         12043201         WEITZ & LUXENBERG, PC                                LONCHIEK             MARIANNE              NY         10024508         WEITZ & LUXENBERG, PC
LOESCH               KATHLEEN              NY         10110002         WEITZ & LUXENBERG, PC                                LONCHIEK             ROBERT M              NY         10024508         WEITZ & LUXENBERG, PC
LOESCH               RONALD                NY         12043201         WEITZ & LUXENBERG, PC                                LONDON               ELLEN                 NY         10550000         WEITZ & LUXENBERG, PC
LOESCH               RONALD                NY         10110002         WEITZ & LUXENBERG, PC                                LONDON               ERNEST E              NY         10550000         WEITZ & LUXENBERG, PC
LOFFREDO             DARWIN                NY         19042709         WEITZ & LUXENBERG, PC                                LONEGRO              JOSEPH                NY         10912100         WEITZ & LUXENBERG, PC
LOFFREDO             MIRTA                 NY         19042709         WEITZ & LUXENBERG, PC                                LONEGRO              MARION                NY         10912100         WEITZ & LUXENBERG, PC
LOFTIN               BERTHA W              NY         1905332012       WEITZ & LUXENBERG, PC                                LONERGAN             EDWARD                NY         1903952012       WEITZ & LUXENBERG, PC
LOFTIN               TOMMIE                NY         1905332012       WEITZ & LUXENBERG, PC                                LONERGAN             GEORGE                NY         02107102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 984
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 319 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LONERGAN             MAUREEN               NY         02107102         WEITZ & LUXENBERG, PC                                LORELLO              YOLANDA               NY         10871401         WEITZ & LUXENBERG, PC
LONERGON             ROBERT                NY         10912000         WEITZ & LUXENBERG, PC                                LORENC               CHRISTINE             NY         02106709         WEITZ & LUXENBERG, PC
LONG                 CLIFFORD W            NY         10911800         WEITZ & LUXENBERG, PC                                LORENC               CHRISTINE             NY         11553902         WEITZ & LUXENBERG, PC
LONG                 DONALD J              NY         98122015         WEITZ & LUXENBERG, PC                                LORENC               EUGENE H              NY         02106709         WEITZ & LUXENBERG, PC
LONG                 ELMER D               NY         1905382012       WEITZ & LUXENBERG, PC                                LORENC               EUGENE H              NY         11553902         WEITZ & LUXENBERG, PC
LONG                 FREDERICK C           NY         10401701         WEITZ & LUXENBERG, PC                                LORENSEN             ROBERT N              NY         02113280         WEITZ & LUXENBERG, PC
LONG                 HELEN                 NY         01111234         WEITZ & LUXENBERG, PC                                LORENSEN             SANDRA M              NY         02113280         WEITZ & LUXENBERG, PC
LONG                 HELEN                 NY         11924401         WEITZ & LUXENBERG, PC                                LORENTZ              JULIA A               NY         10835100         WEITZ & LUXENBERG, PC
LONG                 JOYCE                 NY         1905382012       WEITZ & LUXENBERG, PC                                LORENTZ              ROBERT G              NY         10835100         WEITZ & LUXENBERG, PC
LONG                 JUDY                  NY         10023403         WEITZ & LUXENBERG, PC                                LORENTZEN            GERALD                NY         10090403         WEITZ & LUXENBERG, PC
LONG                 LARRY E               NY         10587202         WEITZ & LUXENBERG, PC                                LORENTZEN            NANCY LEE             NY         10090403         WEITZ & LUXENBERG, PC
LONG                 LARRY H               NY         10550100         WEITZ & LUXENBERG, PC                                LORENZINI            GINO                  NY         10587002         WEITZ & LUXENBERG, PC
LONG                 LINDA                 NY         1902342013       WEITZ & LUXENBERG, PC                                LORIA                ANTHONY J             NY         10893004         WEITZ & LUXENBERG, PC
LONG                 LORRAINE J            NY         10871301         WEITZ & LUXENBERG, PC                                LORIA                SALVATORE             NY         11020599         WEITZ & LUXENBERG, PC
LONG                 LOUISE                NY         10550100         WEITZ & LUXENBERG, PC                                LORIA                VERNA A               NY         10893004         WEITZ & LUXENBERG, PC
LONG                 MARY ANN              NY         10401701         WEITZ & LUXENBERG, PC                                LORISH               BETTY C               NY         02107004         WEITZ & LUXENBERG, PC
LONG                 MICHAEL               NY         10871301         WEITZ & LUXENBERG, PC                                LORISH               HOWARD R              NY         02107004         WEITZ & LUXENBERG, PC
LONG                 MILDRED               NY         10911800         WEITZ & LUXENBERG, PC                                LORTZ                ARTHUR L              NY         10913000         WEITZ & LUXENBERG, PC
LONG                 PATRICK J             NY         01111234         WEITZ & LUXENBERG, PC                                LORTZ                GREG                  NY         10913000         WEITZ & LUXENBERG, PC
LONG                 PATRICK J             NY         11924401         WEITZ & LUXENBERG, PC                                LOSEY                RAYMOND CHARLES       NY         02106692         WEITZ & LUXENBERG, PC
LONG                 RICHARD J             NY         0037422017       WEITZ & LUXENBERG, PC                                LOSITO               ANTOINETTE            NY         10835100         WEITZ & LUXENBERG, PC
LONG                 ROBERT                NY         1902342013       WEITZ & LUXENBERG, PC                                LOSITO               CHARLES               NY         10835100         WEITZ & LUXENBERG, PC
LONG                 TOMMY LEE             NY         01CIV3895        WEITZ & LUXENBERG, PC                                LOSURDO              DEBRA                 NY         02114960         WEITZ & LUXENBERG, PC
LONG                 WILLIAM               NY         10023403         WEITZ & LUXENBERG, PC                                LOSURDO              JOHN                  NY         02114960         WEITZ & LUXENBERG, PC
LONGO                DEBORAH               NY         12576899         WEITZ & LUXENBERG, PC                                LOTEY                MICHAEL               NY         12032099         WEITZ & LUXENBERG, PC
LONGO                ISABEL                NY         10913600         WEITZ & LUXENBERG, PC                                LOTEY                STEFANIE              NY         12032099         WEITZ & LUXENBERG, PC
LONGO                JOHN                  NY         12433902         WEITZ & LUXENBERG, PC                                LOTITO               DEBORAH               NY         10058701         WEITZ & LUXENBERG, PC
LONGO                JUAN                  NY         10913600         WEITZ & LUXENBERG, PC                                LOTT                 JACQUELINE            NY         10912900         WEITZ & LUXENBERG, PC
LONGO                LINDA                 NY         12433902         WEITZ & LUXENBERG, PC                                LOTT                 JEANNE                NY         10912800         WEITZ & LUXENBERG, PC
LONGO                NICHOLAS S            NY         12576899         WEITZ & LUXENBERG, PC                                LOTT                 JETTER                NY         10912900         WEITZ & LUXENBERG, PC
LONGOLUCCO           SUSAN C               NY         1901642014       WEITZ & LUXENBERG, PC                                LOTT                 RODELLA               NY         10912900         WEITZ & LUXENBERG, PC
LONGSPAUGH           DAVID                 NY         01122139         WEITZ & LUXENBERG, PC                                LOTT                 RUBY E                NY         CV025685         WEITZ & LUXENBERG, PC
LONGSPAUGH           GAIL                  NY         01122139         WEITZ & LUXENBERG, PC                                LOTT                 WILLIAM H             NY         10912800         WEITZ & LUXENBERG, PC
LONGTIN              DONALD                NY         CV016548         WEITZ & LUXENBERG, PC                                LOTTI                JANET                 NY         12043201         WEITZ & LUXENBERG, PC
LONGTIN              ELVIRA                NY         CV016548         WEITZ & LUXENBERG, PC                                LOTTI                JOHN F                NY         12043201         WEITZ & LUXENBERG, PC
LONIGRO              FRANK                 NY         12043301         WEITZ & LUXENBERG, PC                                LOTUFO               JACK                  NY         12039601         WEITZ & LUXENBERG, PC
LONIGRO              MIRIAM                NY         12043301         WEITZ & LUXENBERG, PC                                LOTZ                 CAROL                 NY         19025309         WEITZ & LUXENBERG, PC
LONTRATO             JOHN                  NY         10401801         WEITZ & LUXENBERG, PC                                LOTZ                 LEONA                 NY         10914600         WEITZ & LUXENBERG, PC
LONTRATO             LINDA                 NY         10401801         WEITZ & LUXENBERG, PC                                LOTZ                 PAUL                  NY         19025309         WEITZ & LUXENBERG, PC
LOONIE               JEAN L                NY         10913500         WEITZ & LUXENBERG, PC                                LOTZ                 PETER E               NY         10914600         WEITZ & LUXENBERG, PC
LOONIE               JOHN F                NY         10913500         WEITZ & LUXENBERG, PC                                LOUCKS               GEORGETTE MARIE       NY         01118864         WEITZ & LUXENBERG, PC
LOOZE                JAMES A               NY         10587002         WEITZ & LUXENBERG, PC                                LOUD                 GAIL                  NY         11156704         WEITZ & LUXENBERG, PC
LOPACKI              DIANE                 NY         10913400         WEITZ & LUXENBERG, PC                                LOUD                 RICHARD W             NY         11156704         WEITZ & LUXENBERG, PC
LOPACKI              SIGISMOND M           NY         10913400         WEITZ & LUXENBERG, PC                                LOUEY                MAVIS M               NY         10645702         WEITZ & LUXENBERG, PC
LOPARDO              CARMELO               NY         19004710         WEITZ & LUXENBERG, PC                                LOUEY                RICHARD M             NY         10645702         WEITZ & LUXENBERG, PC
LOPER                DAVID L               NY         1903062017       WEITZ & LUXENBERG, PC                                LOUGHNANE            FRANCIS J             NY         12330001         WEITZ & LUXENBERG, PC
LOPER                SHARON                NY         1903062017       WEITZ & LUXENBERG, PC                                LOUGHRAN             STEPHEN               NY         98122019         WEITZ & LUXENBERG, PC
LOPEZ                ABELARDO A            NY         1902702015       WEITZ & LUXENBERG, PC                                LOUGHREY             CINDI L               NY         11111100         WEITZ & LUXENBERG, PC
LOPEZ                BLANCA                NY         1902702015       WEITZ & LUXENBERG, PC                                LOUGHREY             CINDI L               NY         10835100         WEITZ & LUXENBERG, PC
LOPEZ                JOE LUIS              NY         10401901         WEITZ & LUXENBERG, PC                                LOUGHREY             ROBERT ERWIN          NY         11111100         WEITZ & LUXENBERG, PC
LOPEZ                JOSEPH A              NY         10913300         WEITZ & LUXENBERG, PC                                LOUGHREY             ROBERT ERWIN          NY         10835100         WEITZ & LUXENBERG, PC
LOPEZ                JOSEPH M              NY         10913300         WEITZ & LUXENBERG, PC                                LOUIE                HAROLD                NY         11111200         WEITZ & LUXENBERG, PC
LOPEZ                MARIA                 NY         19023610         WEITZ & LUXENBERG, PC                                LOUIE                HAROLD                NY         10835100         WEITZ & LUXENBERG, PC
LOPEZ                NANCY                 NY         19023610         WEITZ & LUXENBERG, PC                                LOUIE                HAZEL G               NY         11111200         WEITZ & LUXENBERG, PC
LOPEZ                PAUL                  NY         10913200         WEITZ & LUXENBERG, PC                                LOUIE                HAZEL G               NY         10835100         WEITZ & LUXENBERG, PC
LOPEZ                ROBERT                NY         10913300         WEITZ & LUXENBERG, PC                                LOUIS                THELLA L              NY         02106690         WEITZ & LUXENBERG, PC
LOPEZ                SANDRA                NY         10401901         WEITZ & LUXENBERG, PC                                LOUIS                THELLA L              NY         11379502         WEITZ & LUXENBERG, PC
LOPEZ                VITINA                NY         10913200         WEITZ & LUXENBERG, PC                                LOUISSAINT           HECTOR                NY         10914500         WEITZ & LUXENBERG, PC
LOPICCOLO            AGOSTINA              NY         10913100         WEITZ & LUXENBERG, PC                                LOUISSAINT           THERLEAN              NY         11109400         WEITZ & LUXENBERG, PC
LOPICCOLO            JEROME                NY         10024608         WEITZ & LUXENBERG, PC                                LOUISSAINT           THERLEAN              NY         10835100         WEITZ & LUXENBERG, PC
LOPICCOLO            JOSEPH                NY         10913100         WEITZ & LUXENBERG, PC                                L'OUVERTURE          JEFFRIES              NY         01CIV3901        WEITZ & LUXENBERG, PC
LOPICCOLO SIDLAR     MARIE                 NY         10913100         WEITZ & LUXENBERG, PC                                LOVAGLIO             BARBARA               NY         10914400         WEITZ & LUXENBERG, PC
LORBER               WILLIAM T             NY         10867806         WEITZ & LUXENBERG, PC                                LOVAGLIO             JOSEPH P              NY         10914400         WEITZ & LUXENBERG, PC
LORCH                MARJORIE              NY         01111236         WEITZ & LUXENBERG, PC                                LOVE                 DONALD L              NY         CV03815          WEITZ & LUXENBERG, PC
LORCH                SIEGBERT              NY         01111236         WEITZ & LUXENBERG, PC                                LOVE                 EILEEN                NY         1903512018       WEITZ & LUXENBERG, PC
LORDI-THOMPSON       CHERYL                NY         12039001         WEITZ & LUXENBERG, PC                                LOVE                 EMMA                  NY         10914300         WEITZ & LUXENBERG, PC
LORELLO              MARYANN               NY         12028199         WEITZ & LUXENBERG, PC                                LOVE                 JOSEPH A              NY         10402101         WEITZ & LUXENBERG, PC
LORELLO              MARYANN               NY         10871401         WEITZ & LUXENBERG, PC                                LOVE                 MICHAEL A             NY         1903512018       WEITZ & LUXENBERG, PC
LORELLO              NICHOLAS              NY         12028199         WEITZ & LUXENBERG, PC                                LOVE                 MONNA                 NY         CV03815          WEITZ & LUXENBERG, PC
LORELLO              NICHOLAS              NY         10871401         WEITZ & LUXENBERG, PC                                LOVE                 ROBERT J              NY         10914300         WEITZ & LUXENBERG, PC
LORELLO              YOLANDA               NY         12028199         WEITZ & LUXENBERG, PC                                LOVE                 THOMAS N              NY         10402101         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 985
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 320 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LOVECE               KATHLEEN              NY         10210303         WEITZ & LUXENBERG, PC                                LUCCHESE             ANTOINETTE            NY         19011208         WEITZ & LUXENBERG, PC
LOVELACE             KEN                   PA         180902361        WEITZ & LUXENBERG, PC                                LUCCHESE             FARO                  NY         1903232017       WEITZ & LUXENBERG, PC
LOVELACE             MARY ANN              PA         180902361        WEITZ & LUXENBERG, PC                                LUCCHESE             FRANCES               NY         01111226         WEITZ & LUXENBERG, PC
LOVETT               JOHN J                NY         01111223         WEITZ & LUXENBERG, PC                                LUCCHESE             JOSEPHINE             NY         1903232017       WEITZ & LUXENBERG, PC
LOVISA               LYDIA                 NY         10871301         WEITZ & LUXENBERG, PC                                LUCCHESE             SALVATORE             NY         19011208         WEITZ & LUXENBERG, PC
LOVISA               RAYMOND               NY         10871301         WEITZ & LUXENBERG, PC                                LUCCHI               JOHN A                NY         11327802         WEITZ & LUXENBERG, PC
LOWE                 ARCHIE F              NY         11109100         WEITZ & LUXENBERG, PC                                LUCCI                AGOSTINO A            NY         12080899         WEITZ & LUXENBERG, PC
LOWE                 ARCHIE F              NY         10835100         WEITZ & LUXENBERG, PC                                LUCCI                CARMELA               NY         12080899         WEITZ & LUXENBERG, PC
LOWE                 AZLEY MAE             NY         11560901         WEITZ & LUXENBERG, PC                                LUCCI                JEANETTE              NY         12110001         WEITZ & LUXENBERG, PC
LOWE                 AZLEY MAE             NY         01111218         WEITZ & LUXENBERG, PC                                LUCCI                JOSEPHINE             NY         12080899         WEITZ & LUXENBERG, PC
LOWE                 BYRON N               NY         12202698         WEITZ & LUXENBERG, PC                                LUCCI                VICTOR H              NY         12110001         WEITZ & LUXENBERG, PC
LOWE                 JEANNE                NY         11019404         WEITZ & LUXENBERG, PC                                LUCENTI              CAROLEE               NY         10915900         WEITZ & LUXENBERG, PC
LOWE                 KAREN                 NY         11109100         WEITZ & LUXENBERG, PC                                LUCENTI              JOSEPH D              NY         10439005         WEITZ & LUXENBERG, PC
LOWE                 KAREN                 NY         10835100         WEITZ & LUXENBERG, PC                                LUCENTI              NICHOLAS J            NY         10915900         WEITZ & LUXENBERG, PC
LOWE                 NORAINE               NY         12444402         WEITZ & LUXENBERG, PC                                LUCIANO              DOMINTILA             NY         10587502         WEITZ & LUXENBERG, PC
LOWE                 PHYLLIS               NY         01CIV3895        WEITZ & LUXENBERG, PC                                LUCIANO              FRANK                 NY         12039201         WEITZ & LUXENBERG, PC
LOWE                 ROBERT A              NY         11019404         WEITZ & LUXENBERG, PC                                LUCIANO              PATRICIA              NY         12039201         WEITZ & LUXENBERG, PC
LOWE                 SAMUEL E              NY         12202698         WEITZ & LUXENBERG, PC                                LUCIANO              PRIMITIVO             NY         10587502         WEITZ & LUXENBERG, PC
LOWE                 WALTER                NY         12444402         WEITZ & LUXENBERG, PC                                LUCIDO               CAROLE MARIE          NY         11109200         WEITZ & LUXENBERG, PC
LOWERY               JOHNNIE               NY         98122025         WEITZ & LUXENBERG, PC                                LUCIDO               CAROLE MARIE          NY         10835100         WEITZ & LUXENBERG, PC
LOWERY               KAREN ANN             NY         98122025         WEITZ & LUXENBERG, PC                                LUCIDO               ELLIN                 NY         10915800         WEITZ & LUXENBERG, PC
LOWERY               LAURETTA              NY         98122025         WEITZ & LUXENBERG, PC                                LUCIDO               SAL G                 NY         10915800         WEITZ & LUXENBERG, PC
LOWIG                EILEEN                NY         98122000         WEITZ & LUXENBERG, PC                                LUCIDO               SALVATORE             NY         10915800         WEITZ & LUXENBERG, PC
LOWIG                GEORGE H              NY         98122000         WEITZ & LUXENBERG, PC                                LUCIDO               VINCENT A             NY         11109200         WEITZ & LUXENBERG, PC
LOWREY               ROBERT J              NY         12668602         WEITZ & LUXENBERG, PC                                LUCIDO               VINCENT A             NY         10835100         WEITZ & LUXENBERG, PC
LOWRY                JUDITH                NY         10914200         WEITZ & LUXENBERG, PC                                LUCIER               CYNTHIA               NY         10732800         WEITZ & LUXENBERG, PC
LOWRY                WILLIAM               NY         10914200         WEITZ & LUXENBERG, PC                                LUCIER               WILLIAM J             NY         10732800         WEITZ & LUXENBERG, PC
LOWY                 ANN                   NY         1901662018       WEITZ & LUXENBERG, PC                                LUCIN                NEDILKA               NY         12213801         WEITZ & LUXENBERG, PC
LOWY                 MARTIN                NY         1901662018       WEITZ & LUXENBERG, PC                                LUCIN                NIKOLA                NY         12213801         WEITZ & LUXENBERG, PC
LOY                  LEON                  NY         12668202         WEITZ & LUXENBERG, PC                                LUCK                 ANTON                 NY         01122139         WEITZ & LUXENBERG, PC
LOZINA               DOROTHY               NY         10914100         WEITZ & LUXENBERG, PC                                LUCY                 DOROTHY               NY         98121999         WEITZ & LUXENBERG, PC
LOZINA               STANLEY               NY         10914100         WEITZ & LUXENBERG, PC                                LUCY                 DOUGLAS L             NY         98121999         WEITZ & LUXENBERG, PC
LOZING               EDITH                 NY         1905462012       WEITZ & LUXENBERG, PC                                LUDEKE               ELEANOR M             NY         12039801         WEITZ & LUXENBERG, PC
LOZINSKY             JAMES                 NY         10722202         WEITZ & LUXENBERG, PC                                LUDEKE               JOHN J                NY         12039801         WEITZ & LUXENBERG, PC
LOZO                 KENNETH D             NY         10732600         WEITZ & LUXENBERG, PC                                LUDES                BEVERLY               NY         01111234         WEITZ & LUXENBERG, PC
LUBA                 ANDREW J              NY         02106690         WEITZ & LUXENBERG, PC                                LUDES                BEVERLY               NY         11921901         WEITZ & LUXENBERG, PC
LUBA                 LORETTA C             NY         02106690         WEITZ & LUXENBERG, PC                                LUDES                RICHARD F             NY         01111234         WEITZ & LUXENBERG, PC
LUBANSKI             CAROLYN               NY         01108778         WEITZ & LUXENBERG, PC                                LUDES                RICHARD F             NY         11921901         WEITZ & LUXENBERG, PC
LUBANSKI             FREDERICK W           NY         01108778         WEITZ & LUXENBERG, PC                                LUDLOW               HAZEL                 NY         10716702         WEITZ & LUXENBERG, PC
LUBECKI              BEVERLEY              NY         10587502         WEITZ & LUXENBERG, PC                                LUDLOW               JAMES E               NY         10716702         WEITZ & LUXENBERG, PC
LUBECKI              EDWARD W              NY         10587502         WEITZ & LUXENBERG, PC                                LUDWIG               MICHAEL               NY         11111300         WEITZ & LUXENBERG, PC
LUBEN                HELEN                 NY         10732700         WEITZ & LUXENBERG, PC                                LUDWIG               MICHAEL               NY         10835100         WEITZ & LUXENBERG, PC
LUBEN                VICTOR J              NY         10732700         WEITZ & LUXENBERG, PC                                LUDWIG               NANCY                 NY         CV015027         WEITZ & LUXENBERG, PC
LUBNEWSKI            BRUNO                 NY         12475100         WEITZ & LUXENBERG, PC                                LUDWIG               ROYE DWAIN            NY         CV015027         WEITZ & LUXENBERG, PC
LUBRANO              CIRO                  NY         12143001         WEITZ & LUXENBERG, PC                                LUDWIG               SANDRA                NY         11111300         WEITZ & LUXENBERG, PC
LUBRANO              CIRO                  NY         01111228         WEITZ & LUXENBERG, PC                                LUDWIG               SANDRA                NY         10835100         WEITZ & LUXENBERG, PC
LUBRANO              DOREEN MARY           NY         99114504         WEITZ & LUXENBERG, PC                                LUDWIN               JUDITH                NY         10740102         WEITZ & LUXENBERG, PC
LUBRANO              MARTHA                NY         12143001         WEITZ & LUXENBERG, PC                                LUDWIN               RAYMOND M             NY         10740102         WEITZ & LUXENBERG, PC
LUBRANO              MARTHA                NY         01111228         WEITZ & LUXENBERG, PC                                LUEVANO              ALBERT                NY         1902882015       WEITZ & LUXENBERG, PC
LUBRANO              PROCOLO               NY         12142901         WEITZ & LUXENBERG, PC                                LUEVANO              ROLINA                NY         1902882015       WEITZ & LUXENBERG, PC
LUBRANO              PROCOLO               NY         01111228         WEITZ & LUXENBERG, PC                                LUGARI               CAROL A               NY         12039901         WEITZ & LUXENBERG, PC
LUBRANO              ROSE MARIE            NY         12142901         WEITZ & LUXENBERG, PC                                LUGARI               ROBERT E              NY         12039901         WEITZ & LUXENBERG, PC
LUBRANO              ROSE MARIE            NY         01111228         WEITZ & LUXENBERG, PC                                LUGO                 ENDRIDO               NY         12039301         WEITZ & LUXENBERG, PC
LUCARELLI            ALBERT                NY         10913900         WEITZ & LUXENBERG, PC                                LUGO                 ENDRIDO               NY         10368702         WEITZ & LUXENBERG, PC
LUCARELLI            DONALD H              NY         10402301         WEITZ & LUXENBERG, PC                                LUINETTI             CHARLES J             NY         0333772018       WEITZ & LUXENBERG, PC
LUCARELLI            DONNA                 NY         10402301         WEITZ & LUXENBERG, PC                                LUINETTI             SUE                   NY         0333772018       WEITZ & LUXENBERG, PC
LUCARELLI            JOHN                  NY         10402401         WEITZ & LUXENBERG, PC                                LUISI                RAPLH F               NY         12444502         WEITZ & LUXENBERG, PC
LUCARELLI            MARIA                 NY         10402401         WEITZ & LUXENBERG, PC                                LUISI                THERESA               NY         12444502         WEITZ & LUXENBERG, PC
LUCAS                ANTHONY               NY         10913800         WEITZ & LUXENBERG, PC                                LUIZER               EDWARD L              NY         12039401         WEITZ & LUXENBERG, PC
LUCAS                DONALD J              NY         10645702         WEITZ & LUXENBERG, PC                                LUIZER               EDWARD L              NY         10560802         WEITZ & LUXENBERG, PC
LUCAS                DONALD R              NY         110333           WEITZ & LUXENBERG, PC                                LUIZER               LORETTA               NY         12039401         WEITZ & LUXENBERG, PC
LUCAS                GLORIA ANN            NY         00125919         WEITZ & LUXENBERG, PC                                LUIZER               LORETTA               NY         10560802         WEITZ & LUXENBERG, PC
LUCAS                LORI-ANNE             NY         10913800         WEITZ & LUXENBERG, PC                                LUKENS               ELLA                  NY         10401201         WEITZ & LUXENBERG, PC
LUCAS                LYNN                  NY         10645702         WEITZ & LUXENBERG, PC                                LUKENS               WILLIAM               NY         10401201         WEITZ & LUXENBERG, PC
LUCAS                MARY THERESA          NY         10587502         WEITZ & LUXENBERG, PC                                LULAJ                DILA                  NY         12043301         WEITZ & LUXENBERG, PC
LUCAS                MILDERD               NY         110333           WEITZ & LUXENBERG, PC                                LULAJ                PAUL                  NY         12043301         WEITZ & LUXENBERG, PC
LUCAS                MILDRED T             NY         10696302         WEITZ & LUXENBERG, PC                                LULEY                ELEANOR               NY         10587402         WEITZ & LUXENBERG, PC
LUCAS                SAMMIE H              NY         10587502         WEITZ & LUXENBERG, PC                                LULEY                HAROLD                NY         10587402         WEITZ & LUXENBERG, PC
LUCAS                WALTER A              NY         00125919         WEITZ & LUXENBERG, PC                                LUMMEL               CLARENCE J            NY         99120309         WEITZ & LUXENBERG, PC
LUCCA                FRANK J               NY         10401001         WEITZ & LUXENBERG, PC                                LUMMEL               DAVID                 NY         10915600         WEITZ & LUXENBERG, PC
LUCCHESE             ANTHONY               NY         01111226         WEITZ & LUXENBERG, PC                                LUMMEL               LINDA                 NY         99120309         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 986
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 321 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LUMMEL               VIRGINIA              NY         10915600         WEITZ & LUXENBERG, PC                                LYNCH                ALFRED                NY         10401501         WEITZ & LUXENBERG, PC
LUMPUY               VICTOR                NY         10401301         WEITZ & LUXENBERG, PC                                LYNCH                ALFRED JOSEPH         NY         10733200         WEITZ & LUXENBERG, PC
LUMPUY               XIOMARA               NY         10401301         WEITZ & LUXENBERG, PC                                LYNCH                ALICE ELIZABETH       NY         10733200         WEITZ & LUXENBERG, PC
LUNA                 CARMEN                NY         10716802         WEITZ & LUXENBERG, PC                                LYNCH                CATHERINE             NY         01122139         WEITZ & LUXENBERG, PC
LUNA                 DIANA                 NY         11110200         WEITZ & LUXENBERG, PC                                LYNCH                DONALD C              NY         12788702         WEITZ & LUXENBERG, PC
LUNA                 DIANA                 NY         10835100         WEITZ & LUXENBERG, PC                                LYNCH                EDWARD J              NY         11026902         WEITZ & LUXENBERG, PC
LUNA                 DOMINIC F             NY         11110200         WEITZ & LUXENBERG, PC                                LYNCH                EDWIN P               NY         11159003         WEITZ & LUXENBERG, PC
LUNA                 DOMINIC F             NY         10835100         WEITZ & LUXENBERG, PC                                LYNCH                EDWIN P               NY         11203203         WEITZ & LUXENBERG, PC
LUNA                 MARY                  NY         10716802         WEITZ & LUXENBERG, PC                                LYNCH                GERALDINE             NY         11159003         WEITZ & LUXENBERG, PC
LUND                 FRANCES               NY         10915400         WEITZ & LUXENBERG, PC                                LYNCH                GERALDINE             NY         11203203         WEITZ & LUXENBERG, PC
LUND                 RALPH M               NY         10915400         WEITZ & LUXENBERG, PC                                LYNCH                JAMES                 NY         12100401         WEITZ & LUXENBERG, PC
LUNDBERG             FRANK W               NY         12162803         WEITZ & LUXENBERG, PC                                LYNCH                JAMES K               NY         10401501         WEITZ & LUXENBERG, PC
LUNDGREN             SIGNE A               NY         1900102017       WEITZ & LUXENBERG, PC                                LYNCH                JEROME M              NY         10915000         WEITZ & LUXENBERG, PC
LUNDY                ARTHUR S L            NY         01CIV3901        WEITZ & LUXENBERG, PC                                LYNCH                JOSEPH F              NY         01122139         WEITZ & LUXENBERG, PC
LUNDY                BARBARA               NY         12039401         WEITZ & LUXENBERG, PC                                LYNCH                JUDITH                NY         11026902         WEITZ & LUXENBERG, PC
LUNDY                CARISSA               NY         01CIV3901        WEITZ & LUXENBERG, PC                                LYNCH                KEVIN JAMES           NY         11159003         WEITZ & LUXENBERG, PC
LUNDY                JOHNNY J              NY         12039401         WEITZ & LUXENBERG, PC                                LYNCH                KEVIN JAMES           NY         11203203         WEITZ & LUXENBERG, PC
LUNETTA              GERALD D              NY         11335299         WEITZ & LUXENBERG, PC                                LYNCH                MARTHA L              NY         CV012233         WEITZ & LUXENBERG, PC
LUNETTA              ROSE                  NY         11335299         WEITZ & LUXENBERG, PC                                LYNCH                MARY                  NY         12100401         WEITZ & LUXENBERG, PC
LUNGEN               EDWARD                NY         02106579         WEITZ & LUXENBERG, PC                                LYNCH                MARY J                NY         10914900         WEITZ & LUXENBERG, PC
LUNGHI               ADECIO                NY         11159403         WEITZ & LUXENBERG, PC                                LYNCH                PATRICK JOSEPH        NY         10914900         WEITZ & LUXENBERG, PC
LUNGHI               IDA                   NY         11556603         WEITZ & LUXENBERG, PC                                LYNCH                ROGER DALE            NY         01CIV3910        WEITZ & LUXENBERG, PC
LUNGHI               MARIO                 NY         11556603         WEITZ & LUXENBERG, PC                                LYNCH                SHEILA                NY         01CIV3910        WEITZ & LUXENBERG, PC
LUNGHI               ROSA                  NY         11159403         WEITZ & LUXENBERG, PC                                LYNCH                THOMAS J              NY         10786600         WEITZ & LUXENBERG, PC
LUNNIE               SELENDA B             NY         01CIV3907        WEITZ & LUXENBERG, PC                                LYNCHESKY            CINDY                 NY         10311101         WEITZ & LUXENBERG, PC
LUONGO               GERARD                NY         11703800         WEITZ & LUXENBERG, PC                                LYNCHESKY            EDWARD                NY         10311101         WEITZ & LUXENBERG, PC
LUPI                 ANTHONY               NY         10401401         WEITZ & LUXENBERG, PC                                LYNETT               ALEXANDER             NY         10733300         WEITZ & LUXENBERG, PC
LUPI                 HELEN N               NY         10401401         WEITZ & LUXENBERG, PC                                LYNETT               MARGARET              NY         10733300         WEITZ & LUXENBERG, PC
LUPINACCI            LOUIS                 NY         12110801         WEITZ & LUXENBERG, PC                                LYNN                 DIANA                 NY         02106709         WEITZ & LUXENBERG, PC
LUPINACCI            LOUIS                 NY         01111224         WEITZ & LUXENBERG, PC                                LYNN                 DIANA                 NY         11553002         WEITZ & LUXENBERG, PC
LUPINACCI            LOUIS P               NY         01111220         WEITZ & LUXENBERG, PC                                LYNN                 EUGENE                NY         10914800         WEITZ & LUXENBERG, PC
LUPINACCI            NANCY                 NY         12110801         WEITZ & LUXENBERG, PC                                LYNN                 GWENDA                NY         10403401         WEITZ & LUXENBERG, PC
LUPINACCI            NANCY                 NY         01111224         WEITZ & LUXENBERG, PC                                LYNN                 ROBERT                NY         10403401         WEITZ & LUXENBERG, PC
LUPINACCI            PATTI                 NY         01111220         WEITZ & LUXENBERG, PC                                LYON                 ANN MALONE            NY         19015510         WEITZ & LUXENBERG, PC
LUPINO               PATRICIA A            NY         10563800         WEITZ & LUXENBERG, PC                                LYON                 GARY L                NY         19015510         WEITZ & LUXENBERG, PC
LUPO                 ALICE N               NY         10740102         WEITZ & LUXENBERG, PC                                LYON                 JACK C                NY         10914700         WEITZ & LUXENBERG, PC
LUPO                 EARL A                NY         19024411         WEITZ & LUXENBERG, PC                                LYON                 JAMES J               NY         10700002         WEITZ & LUXENBERG, PC
LUPO                 EDWINA                NY         10915200         WEITZ & LUXENBERG, PC                                LYON                 JUDITH                NY         10914700         WEITZ & LUXENBERG, PC
LUPO                 NICHOLAS L            NY         10740102         WEITZ & LUXENBERG, PC                                LYON                 ROBERT                NY         12668602         WEITZ & LUXENBERG, PC
LUPO                 RONALD W              NY         10915300         WEITZ & LUXENBERG, PC                                LYON                 WILLIAM               NY         01111222         WEITZ & LUXENBERG, PC
LUPO                 SAVERIO               NY         10915200         WEITZ & LUXENBERG, PC                                LYONS                ANN MARIE             NY         11218904         WEITZ & LUXENBERG, PC
LUPO                 SUE                   NY         19024411         WEITZ & LUXENBERG, PC                                LYONS                JAMES                 NY         10403501         WEITZ & LUXENBERG, PC
LUPOLI               AGNES F               NY         11137703         WEITZ & LUXENBERG, PC                                LYONS                JOSEPH ROBERT         NY         98121997         WEITZ & LUXENBERG, PC
LUPOLI               RAYMOND J             NY         11137703         WEITZ & LUXENBERG, PC                                LYONS                MARIE                 NY         10403501         WEITZ & LUXENBERG, PC
LUPTON               CYNTHIA               NY         11110300         WEITZ & LUXENBERG, PC                                LYONS                PATRICK               NY         11218904         WEITZ & LUXENBERG, PC
LUPTON               CYNTHIA               NY         10835100         WEITZ & LUXENBERG, PC                                LYONS                PETER                 NY         12043201         WEITZ & LUXENBERG, PC
LUPTON               WENDELL               NY         11110300         WEITZ & LUXENBERG, PC                                LYONS                REBA FRANCES          NY         00CIV1202        WEITZ & LUXENBERG, PC
LUPTON               WENDELL               NY         10835100         WEITZ & LUXENBERG, PC                                LYONS                ROBERT BILLY          NY         00CIV1202        WEITZ & LUXENBERG, PC
LURIA                DENNIS                NY         11000703         WEITZ & LUXENBERG, PC                                LYSOGORSKI           JOSEPH                NY         11765001         WEITZ & LUXENBERG, PC
LURIA                SUSAN                 NY         11000703         WEITZ & LUXENBERG, PC                                LYSOGORSKI           MARIE R               NY         11765001         WEITZ & LUXENBERG, PC
LUSK                 LAWRENCE J            NY         10733100         WEITZ & LUXENBERG, PC                                LYTLE                CAROLYN               NY         11110400         WEITZ & LUXENBERG, PC
LUSK                 MINA C                NY         10733100         WEITZ & LUXENBERG, PC                                LYTLE                CAROLYN               NY         10835100         WEITZ & LUXENBERG, PC
LUSKIN               BERNARD E             NY         02106508         WEITZ & LUXENBERG, PC                                LYTLE                JAMES RICHARD         NY         11110400         WEITZ & LUXENBERG, PC
LUSKIN               THERESA               NY         02106508         WEITZ & LUXENBERG, PC                                LYTLE                JAMES RICHARD         NY         10835100         WEITZ & LUXENBERG, PC
LUTEY                CARMELLA              NY         10710102         WEITZ & LUXENBERG, PC                                MAARBERG             ARNOLD                NY         10742300         WEITZ & LUXENBERG, PC
LUTEY                WILLIAM E             NY         10710102         WEITZ & LUXENBERG, PC                                MAARBERG             MIRIAM                NY         10742300         WEITZ & LUXENBERG, PC
LUTZ                 ANITA                 NY         1900782019       WEITZ & LUXENBERG, PC                                MAASS                ALBERTA               NY         10742200         WEITZ & LUXENBERG, PC
LUTZ                 DAVID                 NY         1904842013       WEITZ & LUXENBERG, PC                                MAASS                MARILYN               NY         10455407         WEITZ & LUXENBERG, PC
LUTZ                 DAWN                  NY         1904842013       WEITZ & LUXENBERG, PC                                MAASS                RICHARD C             NY         10742200         WEITZ & LUXENBERG, PC
LUTZ                 EDWARD W              NY         1900782019       WEITZ & LUXENBERG, PC                                MABIE                KEITH A               NY         10733400         WEITZ & LUXENBERG, PC
LUTZ                 JOHN                  NY         10915100         WEITZ & LUXENBERG, PC                                MABIE                ROSE                  NY         10733400         WEITZ & LUXENBERG, PC
LUTZ                 JULIA ANN             NY         10571402         WEITZ & LUXENBERG, PC                                MABIN                ANN                   NY         10403601         WEITZ & LUXENBERG, PC
LUTZ                 LELAND B              NY         99120299         WEITZ & LUXENBERG, PC                                MABIN                THOMAS                NY         10403601         WEITZ & LUXENBERG, PC
LUTZ                 LILA L                NY         99120299         WEITZ & LUXENBERG, PC                                MABRY                SYBIL M               NY         98122004         WEITZ & LUXENBERG, PC
LUTZ                 WILLIAM HENRY         NY         10571402         WEITZ & LUXENBERG, PC                                MABRY                WILLIE J              NY         98122004         WEITZ & LUXENBERG, PC
LUX                  DAVID F               NY         10587602         WEITZ & LUXENBERG, PC                                MAC DONALD           PATRICIA              NY         10742100         WEITZ & LUXENBERG, PC
LYES                 JOE                   NY         CV013921         WEITZ & LUXENBERG, PC                                MAC DONALD           ROY D                 NY         10742100         WEITZ & LUXENBERG, PC
LYKE                 JAMES                 NY         19024711         WEITZ & LUXENBERG, PC                                MAC DOUGALL          DIANE                 NY         11310702         WEITZ & LUXENBERG, PC
LYKE                 RICHARD J             NY         11305000         WEITZ & LUXENBERG, PC                                MAC DOUGALL          LARRY                 NY         11310702         WEITZ & LUXENBERG, PC
LYLES                JESSIE                NY         CV025685         WEITZ & LUXENBERG, PC                                MAC DOUGALL          LARRY L               NY         10722102         WEITZ & LUXENBERG, PC
LYLES                WILLIE J              NY         CV025685         WEITZ & LUXENBERG, PC                                MAC GREGOR           DOROTHY               NY         10731800         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 987
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 322 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MAC GREGOR           ROY PHILIP            NY         10731800         WEITZ & LUXENBERG, PC                                MACKAY               RICHARD               NY         1900502016       WEITZ & LUXENBERG, PC
MAC HATTIE           ALAN R                NY         10742000         WEITZ & LUXENBERG, PC                                MACKEY               EDWIN L               NY         19015409         WEITZ & LUXENBERG, PC
MAC HATTIE           JANET                 NY         10742000         WEITZ & LUXENBERG, PC                                MACKEY               GERALD W              NY         10587202         WEITZ & LUXENBERG, PC
MAC HOSE             DOROTHY LOUISE        NY         10741900         WEITZ & LUXENBERG, PC                                MACKEY               JOSEPH                NY         01111225         WEITZ & LUXENBERG, PC
MAC HOSE             ROY                   NY         10741900         WEITZ & LUXENBERG, PC                                MACKEY               JOSEPH                NY         10404101         WEITZ & LUXENBERG, PC
MAC INNES            ANGUS DONALD          NY         12039601         WEITZ & LUXENBERG, PC                                MACKEY               PATRICIA              NY         01111225         WEITZ & LUXENBERG, PC
MAC INNES            BARBARA WHEATLEY      NY         12039601         WEITZ & LUXENBERG, PC                                MACKEY               SANDRA                NY         10404101         WEITZ & LUXENBERG, PC
MAC NEIL             JOSEPH L              NY         10741800         WEITZ & LUXENBERG, PC                                MACKEY               SUSAN R               NY         10587202         WEITZ & LUXENBERG, PC
MACALUSO             ANGELO                NY         10741700         WEITZ & LUXENBERG, PC                                MACKEY               THOMAS                NY         10008703         WEITZ & LUXENBERG, PC
MACALUSO             DANIEL                NY         10741700         WEITZ & LUXENBERG, PC                                MACKLIN              ELINORE               NY         19011909         WEITZ & LUXENBERG, PC
MACALUSO             EMMA                  NY         10741700         WEITZ & LUXENBERG, PC                                MACKLIN              WILLIAM               NY         19011909         WEITZ & LUXENBERG, PC
MACCARO              MICHAEL               NY         10430507         WEITZ & LUXENBERG, PC                                MACLARTY             FRANK                 NY         11156104         WEITZ & LUXENBERG, PC
MACCHI               JOSEPH J              NY         1902602012       WEITZ & LUXENBERG, PC                                MACLEOD              NANCY                 NY         20161034         WEITZ & LUXENBERG, PC
MACCHIA              ANTHONY               NY         10741600         WEITZ & LUXENBERG, PC                                MACLEOD              WILLIAM               NY         20161034         WEITZ & LUXENBERG, PC
MACCHIA              CAROLINA              NY         10741600         WEITZ & LUXENBERG, PC                                MACMILLAN            CATHERINE             NY         1901222018       WEITZ & LUXENBERG, PC
MACCHIA              NICOLA                NY         10741500         WEITZ & LUXENBERG, PC                                MACMILLAN            JAMES                 NY         1901222018       WEITZ & LUXENBERG, PC
MACCHIA              ROSE                  NY         10741500         WEITZ & LUXENBERG, PC                                MACMILLON            EDDIE L               NY         02106709         WEITZ & LUXENBERG, PC
MACCHIONI            ANNA                  NY         11905103         WEITZ & LUXENBERG, PC                                MACMILLON            EDDIE L               NY         11553802         WEITZ & LUXENBERG, PC
MACCHIONI            DONALD A              NY         10741400         WEITZ & LUXENBERG, PC                                MACRE                MARIE                 NY         10954404         WEITZ & LUXENBERG, PC
MACCHIONI            GRACE                 NY         10741400         WEITZ & LUXENBERG, PC                                MACRINI              ARTURO                NY         12042901         WEITZ & LUXENBERG, PC
MACCHIONI            PHILIP J              NY         11905103         WEITZ & LUXENBERG, PC                                MACRINI              ARTURO                NY         10060502         WEITZ & LUXENBERG, PC
MACCHIOROLA          CARMINE               NY         10741300         WEITZ & LUXENBERG, PC                                MACRINI              GRAZZIETTA            NY         12042901         WEITZ & LUXENBERG, PC
MACCHIOROLA          VITO                  NY         10741300         WEITZ & LUXENBERG, PC                                MACRINI              GRAZZIETTA            NY         10060502         WEITZ & LUXENBERG, PC
MACCUBBIN            HARRY E               NY         10741200         WEITZ & LUXENBERG, PC                                MACSATA              KATHERINE             NY         1902942019       WEITZ & LUXENBERG, PC
MACCUBBIN            MILDRED               NY         10741200         WEITZ & LUXENBERG, PC                                MADAR                HAROLD E              NY         10587002         WEITZ & LUXENBERG, PC
MACDONALD            DOUGLAS JOSEPH        NY         10741100         WEITZ & LUXENBERG, PC                                MADAR                HAROLD E              NY         10875502         WEITZ & LUXENBERG, PC
MACDONALD            EDMUND                NY         19019109         WEITZ & LUXENBERG, PC                                MADAR                MAUREEN               NY         10587002         WEITZ & LUXENBERG, PC
MACDONALD            KATHLEEN              NY         10741100         WEITZ & LUXENBERG, PC                                MADAR                MAUREEN               NY         10875502         WEITZ & LUXENBERG, PC
MACDONALD            MARTHA                NY         19019109         WEITZ & LUXENBERG, PC                                MADAR                ROBERT                NY         10587002         WEITZ & LUXENBERG, PC
MACEDA               JOAN                  NY         10403701         WEITZ & LUXENBERG, PC                                MADAR                ROBERT                NY         10875502         WEITZ & LUXENBERG, PC
MACEDA               PETER                 NY         10403701         WEITZ & LUXENBERG, PC                                MADAU                JANET                 NY         10748100         WEITZ & LUXENBERG, PC
MACEJKA              JOSEPH                NY         10403801         WEITZ & LUXENBERG, PC                                MADAU                VITO                  NY         10748100         WEITZ & LUXENBERG, PC
MACEJKA              SUSAN                 NY         10403801         WEITZ & LUXENBERG, PC                                MADDALONE            MARIO                 NY         11938501         WEITZ & LUXENBERG, PC
MACELWAIN            HAROLD JAMES          NY         10696302         WEITZ & LUXENBERG, PC                                MADDALONE            MICHAEL               NY         11938501         WEITZ & LUXENBERG, PC
MACERA               FAUSTO                NY         19018409         WEITZ & LUXENBERG, PC                                MADDOX               ADDIE                 NY         01111227         WEITZ & LUXENBERG, PC
MACERA               MARGARET              NY         19018409         WEITZ & LUXENBERG, PC                                MADDOX               ALFRED                NY         01111227         WEITZ & LUXENBERG, PC
MACGOWAN             ANNA                  NY         10336399         WEITZ & LUXENBERG, PC                                MADEIROS             VALENTIN              NY         10023403         WEITZ & LUXENBERG, PC
MACH                 DOLORES               NY         10740900         WEITZ & LUXENBERG, PC                                MADELINE             RICHARD J             NY         10747900         WEITZ & LUXENBERG, PC
MACH                 FRANK                 NY         10403901         WEITZ & LUXENBERG, PC                                MADER                THOMAS E              NY         02106693         WEITZ & LUXENBERG, PC
MACH                 GENEVIEVE             NY         10403901         WEITZ & LUXENBERG, PC                                MADER                ZINDS                 NY         02106693         WEITZ & LUXENBERG, PC
MACH                 HENRY                 NY         10740900         WEITZ & LUXENBERG, PC                                MADERO               RICHARD               NY         12668602         WEITZ & LUXENBERG, PC
MACHAJEWSKI          LOUISE                NY         10838700         WEITZ & LUXENBERG, PC                                MADIGAN              ANN                   NY         10747700         WEITZ & LUXENBERG, PC
MACHAJEWSKI          STEPHEN               NY         10838700         WEITZ & LUXENBERG, PC                                MADIGAN              DORIS                 NY         10587202         WEITZ & LUXENBERG, PC
MACHEN               PAMELA                NY         1049041          WEITZ & LUXENBERG, PC                                MADIGAN              DORIS                 NY         10821902         WEITZ & LUXENBERG, PC
MACHERONE            DEBBIE                NY         10404001         WEITZ & LUXENBERG, PC                                MADIGAN              DUNE                  NY         10747800         WEITZ & LUXENBERG, PC
MACHERONE            ROBERT                NY         10404001         WEITZ & LUXENBERG, PC                                MADIGAN              JAMES PAUL            NY         10587202         WEITZ & LUXENBERG, PC
MACHUGA              ROSE                  NY         10740800         WEITZ & LUXENBERG, PC                                MADIGAN              JAMES PAUL            NY         10821902         WEITZ & LUXENBERG, PC
MACHUGA              THEODORE              NY         10740800         WEITZ & LUXENBERG, PC                                MADIGAN              JOHN A                NY         10747800         WEITZ & LUXENBERG, PC
MACHULSKI            CAROL ANNE            NY         10740700         WEITZ & LUXENBERG, PC                                MADIGAN              MICHAEL               NY         10747700         WEITZ & LUXENBERG, PC
MACHULSKI            CHESTER RICARD        NY         10740700         WEITZ & LUXENBERG, PC                                MADILL               WILLIAM B             NY         10747600         WEITZ & LUXENBERG, PC
MACIEJEWSKI          ALFRED D              NY         10740600         WEITZ & LUXENBERG, PC                                MADINE               GEORGE F              NY         12039801         WEITZ & LUXENBERG, PC
MACIEJEWSKI          BARBARA               NY         10740600         WEITZ & LUXENBERG, PC                                MADINE               PATRICIA              NY         12039801         WEITZ & LUXENBERG, PC
MACINTOSH            FRANCES               NY         10740500         WEITZ & LUXENBERG, PC                                MADISON              JAMES                 NY         CV025685         WEITZ & LUXENBERG, PC
MACINTOSH            ROBERT                NY         10740500         WEITZ & LUXENBERG, PC                                MADISON              LEON                  NY         117039000        WEITZ & LUXENBERG, PC
MACIOCE              BENEDICT              NY         12043001         WEITZ & LUXENBERG, PC                                MADISON              MARRIAH               NY         CV025685         WEITZ & LUXENBERG, PC
MACIOCE              RUTH                  NY         12043001         WEITZ & LUXENBERG, PC                                MADLIN               GARY H                NY         10587402         WEITZ & LUXENBERG, PC
MACK                 CARLENE CELESTE       NY         10740400         WEITZ & LUXENBERG, PC                                MADONNA              ANGLEINE              NY         11212400         WEITZ & LUXENBERG, PC
MACK                 CATHERINE C           NY         10929600         WEITZ & LUXENBERG, PC                                MADONNA              HELEN                 NY         10871401         WEITZ & LUXENBERG, PC
MACK                 COLLIN                NY         10740400         WEITZ & LUXENBERG, PC                                MADONNA              JAMES ANTHONY         NY         10871401         WEITZ & LUXENBERG, PC
MACK                 ELIZABETH             NY         10740300         WEITZ & LUXENBERG, PC                                MADONNA              JOHN                  NY         11212400         WEITZ & LUXENBERG, PC
MACK                 GLLADYS               NY         01111222         WEITZ & LUXENBERG, PC                                MADONNA              PATSY                 NY         10151605         WEITZ & LUXENBERG, PC
MACK                 IRVING                NY         01111222         WEITZ & LUXENBERG, PC                                MADSEN               DANIEL P              NY         10747500         WEITZ & LUXENBERG, PC
MACK                 JOSEPH S              NY         02107004         WEITZ & LUXENBERG, PC                                MADSEN               FRANCES               NY         10046002         WEITZ & LUXENBERG, PC
MACK                 PATRICE               NY         10740400         WEITZ & LUXENBERG, PC                                MADSEN               MARJORIE              NY         10747500         WEITZ & LUXENBERG, PC
MACK                 RAYMOND PATRICK       NY         10740300         WEITZ & LUXENBERG, PC                                MADSEN               PAUL                  NY         01111228         WEITZ & LUXENBERG, PC
MACK                 ROY JAMES             NY         10587102         WEITZ & LUXENBERG, PC                                MADSEN               WALTER                NY         10046002         WEITZ & LUXENBERG, PC
MACK                 WILLIE L              NY         10740502         WEITZ & LUXENBERG, PC                                MAEMONE              THOMAS J              NY         01111219         WEITZ & LUXENBERG, PC
MACK                 WILLIE L              NY         11415502         WEITZ & LUXENBERG, PC                                MAESTRI              FRANCES               NY         01122139         WEITZ & LUXENBERG, PC
MACKAY               DONALD R              NY         1902612017       WEITZ & LUXENBERG, PC                                MAESTRI              JOSEPH                NY         01122139         WEITZ & LUXENBERG, PC
MACKAY               MARY                  NY         1900502016       WEITZ & LUXENBERG, PC                                MAFFEI               ROMEO                 NY         1903782018       WEITZ & LUXENBERG, PC
MACKAY               MARY                  NY         1902612017       WEITZ & LUXENBERG, PC                                MAFFEI               ROSA                  NY         1903782018       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 988
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 323 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MAGDA                JOHN ANDREW           NY         01111223         WEITZ & LUXENBERG, PC                                MAIMONE              ELAINE                NY         02107006         WEITZ & LUXENBERG, PC
MAGDE                PATRICIA              NY         11249699         WEITZ & LUXENBERG, PC                                MAIN                 ROBERT E              NY         19013010         WEITZ & LUXENBERG, PC
MAGEE                VIRGINIA              NY         10455407         WEITZ & LUXENBERG, PC                                MAINE                CLARENCE J            NY         11432003         WEITZ & LUXENBERG, PC
MAGENTA              CARMELA               NY         10404201         WEITZ & LUXENBERG, PC                                MAINE                HELEN D               NY         11432003         WEITZ & LUXENBERG, PC
MAGENTA              JOSEPH                NY         10404201         WEITZ & LUXENBERG, PC                                MAINES               RICHARD A             NY         02106693         WEITZ & LUXENBERG, PC
MAGGI                CARMELLA              NY         01113336         WEITZ & LUXENBERG, PC                                MAINES               RICHARD A             NY         11501502         WEITZ & LUXENBERG, PC
MAGGI                DOMINICK              NY         01113336         WEITZ & LUXENBERG, PC                                MAINES               VERA P                NY         02106693         WEITZ & LUXENBERG, PC
MAGGI                FLORENCE              NY         02106508         WEITZ & LUXENBERG, PC                                MAINES               VERA P                NY         11501502         WEITZ & LUXENBERG, PC
MAGGI                JOSEPH                NY         02106508         WEITZ & LUXENBERG, PC                                MAIO                 BARBARA               NY         10749700         WEITZ & LUXENBERG, PC
MAGGI                NICHOLAS              NY         02106690         WEITZ & LUXENBERG, PC                                MAIORIELLO           MARIO                 NY         1903702016       WEITZ & LUXENBERG, PC
MAGGI                NICHOLAS              NY         11379102         WEITZ & LUXENBERG, PC                                MAIORIELLO           SANTA                 NY         1903702016       WEITZ & LUXENBERG, PC
MAGGIO               JACK J                NY         10034802         WEITZ & LUXENBERG, PC                                MAIS                 CATHERINE R           NY         10749600         WEITZ & LUXENBERG, PC
MAGIERA              ARLENE                NY         10747300         WEITZ & LUXENBERG, PC                                MAIS                 JOSEPH                NY         10749600         WEITZ & LUXENBERG, PC
MAGIERA              ROBERT                NY         10747300         WEITZ & LUXENBERG, PC                                MAITHLAND            RANFORD               NY         1904972012       WEITZ & LUXENBERG, PC
MAGILL               GEORGE                NY         10404301         WEITZ & LUXENBERG, PC                                MAITHLAND            VICTORENE             NY         1904972012       WEITZ & LUXENBERG, PC
MAGILL               SANDRA                NY         11306500         WEITZ & LUXENBERG, PC                                MAJ                  FRANCIS D             NY         10587502         WEITZ & LUXENBERG, PC
MAGNANI              RONALD R              NY         1902452019       WEITZ & LUXENBERG, PC                                MAJ                  RICHARD               NY         10587502         WEITZ & LUXENBERG, PC
MAGNANO              DONNA                 NY         02105718         WEITZ & LUXENBERG, PC                                MAJEROWSKI           HENRIETTA             NY         10722002         WEITZ & LUXENBERG, PC
MAGNANTE             GERALD                NY         02114962         WEITZ & LUXENBERG, PC                                MAJEROWSKI           HENRIETTA             NY         11344602         WEITZ & LUXENBERG, PC
MAGNANTE             MARY                  NY         02114962         WEITZ & LUXENBERG, PC                                MAJEROWSKI           LEON M                NY         10722002         WEITZ & LUXENBERG, PC
MAGNER               EDWARD J              NY         10699902         WEITZ & LUXENBERG, PC                                MAJEROWSKI           LEON M                NY         11344602         WEITZ & LUXENBERG, PC
MAGNIER              DEBORAH               NY         11179504         WEITZ & LUXENBERG, PC                                MAJERUS              NICOLE                NY         1904672012       WEITZ & LUXENBERG, PC
MAGNIER              DEBORAH               NY         11323204         WEITZ & LUXENBERG, PC                                MAJERUS              TINA L                NY         10972402         WEITZ & LUXENBERG, PC
MAGNOLIA             ANGELINA              NY         12039801         WEITZ & LUXENBERG, PC                                MAJESKI              MARYANNE              NY         10749500         WEITZ & LUXENBERG, PC
MAGNOLIA             ANGELINA              NY         10480802         WEITZ & LUXENBERG, PC                                MAJESKI              ROBERT J              NY         10749500         WEITZ & LUXENBERG, PC
MAGNOLIA             CARMINE               NY         12039801         WEITZ & LUXENBERG, PC                                MAJESTIC             JOHN                  NY         12201298         WEITZ & LUXENBERG, PC
MAGNOLIA             CARMINE               NY         10480802         WEITZ & LUXENBERG, PC                                MAJESTIC             LAURA                 NY         12201298         WEITZ & LUXENBERG, PC
MAGRO                FRANCES M             NY         10571702         WEITZ & LUXENBERG, PC                                MAJKA                BENJAMIN J            NY         10699902         WEITZ & LUXENBERG, PC
MAGRO                JOHN                  NY         10571702         WEITZ & LUXENBERG, PC                                MAJKA                REGINA                NY         10699902         WEITZ & LUXENBERG, PC
MAGRO                JOHN P                NY         10571702         WEITZ & LUXENBERG, PC                                MAJOR                ANNIE L               NY         12039701         WEITZ & LUXENBERG, PC
MAGUIRE              BRIGID                NY         12039101         WEITZ & LUXENBERG, PC                                MAJOR                CLAIRE                NY         02113280         WEITZ & LUXENBERG, PC
MAGUIRE              GLORIA                NY         10750000         WEITZ & LUXENBERG, PC                                MAJOR                DIANE                 NY         10749400         WEITZ & LUXENBERG, PC
MAGUIRE              MARY                  NY         1071604          WEITZ & LUXENBERG, PC                                MAJOR                JULIUS H              NY         12039701         WEITZ & LUXENBERG, PC
MAGUIRE              MICHAEL F             NY         1071604          WEITZ & LUXENBERG, PC                                MAJOR                KATHRYN               NY         10749300         WEITZ & LUXENBERG, PC
MAGUIRE              RALPH                 NY         10750000         WEITZ & LUXENBERG, PC                                MAJOR                RENALD                NY         02113280         WEITZ & LUXENBERG, PC
MAGUIRE              REGINA                NY         10609300         WEITZ & LUXENBERG, PC                                MAJOR                ROBERT L              NY         10749300         WEITZ & LUXENBERG, PC
MAGUIRE              REGINA                NY         12198999         WEITZ & LUXENBERG, PC                                MAJOR                ROBERT L              NY         10749400         WEITZ & LUXENBERG, PC
MAHAN                JOSEPH                NY         11327902         WEITZ & LUXENBERG, PC                                MAKAI                JEANINE               NY         11212500         WEITZ & LUXENBERG, PC
MAHANEY              FLORENCE R            NY         20016474         WEITZ & LUXENBERG, PC                                MAKAI                JOHN S                NY         11212500         WEITZ & LUXENBERG, PC
MAHANEY              PATRICK MICHAEL       NY         20016474         WEITZ & LUXENBERG, PC                                MAKAR                ROSE                  NY         1901132018       WEITZ & LUXENBERG, PC
MAHAR                CLIFFORD              NY         12039001         WEITZ & LUXENBERG, PC                                MAKAR                WILLIAM J             NY         1901132018       WEITZ & LUXENBERG, PC
MAHAR                JEAN S                NY         12039001         WEITZ & LUXENBERG, PC                                MAKELKE              CLEMENTINE            NY         99120114         WEITZ & LUXENBERG, PC
MAHDEE               YUSUF                 NY         CV024384         WEITZ & LUXENBERG, PC                                MAKELKE              JOHN                  NY         99120114         WEITZ & LUXENBERG, PC
MAHER                SUSAN                 NY         99100492         WEITZ & LUXENBERG, PC                                MAKI                 DIANE D               NY         19021011         WEITZ & LUXENBERG, PC
MAHER                THOMAS F              NY         12043101         WEITZ & LUXENBERG, PC                                MAKI                 GARY                  NY         19021011         WEITZ & LUXENBERG, PC
MAHESHWARI           NALINI S              NY         02105718         WEITZ & LUXENBERG, PC                                MAKLAN               LESTER                NY         19009011         WEITZ & LUXENBERG, PC
MAHESHWARI           SHARAN S              NY         02105718         WEITZ & LUXENBERG, PC                                MAKLAN               SHEILA                NY         19009011         WEITZ & LUXENBERG, PC
MAHIA-PRICE          LINDA                 NY         10859300         WEITZ & LUXENBERG, PC                                MAKOVITCH            DEBORAH E             NY         11074406         WEITZ & LUXENBERG, PC
MAHLMANN             ERWIN KARL            NY         11468205         WEITZ & LUXENBERG, PC                                MAKOWSKI             BERNARD F             NY         10732000         WEITZ & LUXENBERG, PC
MAHLSTEDT            JOHN KANE             NY         1901682018       WEITZ & LUXENBERG, PC                                MAKOWSKI             DALE E                NY         02106694         WEITZ & LUXENBERG, PC
MAHLSTEDT            JOHN M                NY         1901682018       WEITZ & LUXENBERG, PC                                MAKOWSKI             JEANNE                NY         02106694         WEITZ & LUXENBERG, PC
MAHLSTEDT            VALARIE               NY         1901682018       WEITZ & LUXENBERG, PC                                MAKOWSKI             LINDA JO              NY         19041609         WEITZ & LUXENBERG, PC
MAHNKEN              FREDERICK             NY         10485803         WEITZ & LUXENBERG, PC                                MAKOWSKI             TED                   NY         19041609         WEITZ & LUXENBERG, PC
MAHON                FRANCES               NY         10749900         WEITZ & LUXENBERG, PC                                MAL                  ANTHONY               NY         12788802         WEITZ & LUXENBERG, PC
MAHON                JAMES R               NY         10749900         WEITZ & LUXENBERG, PC                                MALACHOWSKY          JUDITH                NY         10074103         WEITZ & LUXENBERG, PC
MAHON                JOSEPH                NY         10890003         WEITZ & LUXENBERG, PC                                MALACHOWSKY          MORTON W              NY         10074103         WEITZ & LUXENBERG, PC
MAHON                NORA                  NY         10890003         WEITZ & LUXENBERG, PC                                MALAK                EDWARD J              NY         10404701         WEITZ & LUXENBERG, PC
MAHONEY              EDWARD D              NY         99120302         WEITZ & LUXENBERG, PC                                MALAN                JULIE                 NY         02113280         WEITZ & LUXENBERG, PC
MAHONEY              EILEEN                NY         98121180         WEITZ & LUXENBERG, PC                                MALAN                MATTHEW J             NY         02113280         WEITZ & LUXENBERG, PC
MAHONEY              JOYCE                 NY         12043201         WEITZ & LUXENBERG, PC                                MALARK               ELIZABETH             NY         12038801         WEITZ & LUXENBERG, PC
MAHONEY              MARCIA                NY         99120302         WEITZ & LUXENBERG, PC                                MALARK               ELIZABETH             NY         10629102         WEITZ & LUXENBERG, PC
MAHONEY              WILLIAM M             NY         12043201         WEITZ & LUXENBERG, PC                                MALARK               ROBERT J              NY         12038801         WEITZ & LUXENBERG, PC
MAIDA                FRANK                 NY         10404401         WEITZ & LUXENBERG, PC                                MALARK               ROBERT J              NY         10629102         WEITZ & LUXENBERG, PC
MAIDEN               RUTH E                NY         00125917         WEITZ & LUXENBERG, PC                                MALARK-MANSKY        SUSAN E               NY         12038801         WEITZ & LUXENBERG, PC
MAIELLO              ANGELINA              NY         11306699         WEITZ & LUXENBERG, PC                                MALARK-MANSKY        SUSAN E               NY         10629102         WEITZ & LUXENBERG, PC
MAIELLO              JOSEPH                NY         01111222         WEITZ & LUXENBERG, PC                                MALAYNY              DEBORAH               NY         02106578         WEITZ & LUXENBERG, PC
MAIELLO              JOSEPH ANTHONY        NY         11306699         WEITZ & LUXENBERG, PC                                MALAYNY              DEBORAH               NY         11270402         WEITZ & LUXENBERG, PC
MAIELLO              LILLIAN               NY         10749800         WEITZ & LUXENBERG, PC                                MALCOLM              ELAINE                NY         10749100         WEITZ & LUXENBERG, PC
MAIELLO              VINCENT               NY         10749800         WEITZ & LUXENBERG, PC                                MALCOLM              NORMAN P              NY         10749100         WEITZ & LUXENBERG, PC
MAIETTA              RALPH                 NY         12668102         WEITZ & LUXENBERG, PC                                MALDONADO            VICTOR                NY         01111234         WEITZ & LUXENBERG, PC
MAIMONE              DANIEL J              NY         02107006         WEITZ & LUXENBERG, PC                                MALDONADO            VICTOR                NY         11922001         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 989
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                        Desc
                                                                                                      Complaint-Part 2 Page 324 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name        State Filed Docket Number   Primary Plaintiff Counsel

MALECKI              DON F                 NY         10749000         WEITZ & LUXENBERG, PC                                MAMINSKI             MARY                       NY         11947802         WEITZ & LUXENBERG, PC
MALECKI              FRANCIS J             NY         10749000         WEITZ & LUXENBERG, PC                                MAMON                SHANNON A                  NY         10785900         WEITZ & LUXENBERG, PC
MALECKI              MARCIA M              NY         1901402016       WEITZ & LUXENBERG, PC                                MANAHER              GERTRUDE                   NY         10658102         WEITZ & LUXENBERG, PC
MALECKI              PAUL E                NY         1901402016       WEITZ & LUXENBERG, PC                                MANAHER              GERTRUDE                   NY         11393102         WEITZ & LUXENBERG, PC
MALEK                BENZION               NY         10506306         WEITZ & LUXENBERG, PC                                MANAHER              JAMES J                    NY         10658102         WEITZ & LUXENBERG, PC
MALEK                BRAINO                NY         10506306         WEITZ & LUXENBERG, PC                                MANAHER              JAMES J                    NY         11393102         WEITZ & LUXENBERG, PC
MALETTE              CINDY                 NY         11904903         WEITZ & LUXENBERG, PC                                MANCHESTER           PAUL                       NY         10405001         WEITZ & LUXENBERG, PC
MALETTE              LINDA S               NY         10696302         WEITZ & LUXENBERG, PC                                MANCHESTER           TERESA                     NY         10405001         WEITZ & LUXENBERG, PC
MALETTE              THOMAS E              NY         11904903         WEITZ & LUXENBERG, PC                                MANCINI              ANNE                       NY         01111220         WEITZ & LUXENBERG, PC
MALEY                FRANCES               NY         1902092012       WEITZ & LUXENBERG, PC                                MANCINI              ERNEST C                   NY         10006199         WEITZ & LUXENBERG, PC
MALFA                ROSARIO               NY         11212600         WEITZ & LUXENBERG, PC                                MANCINI              JEFFREY R                  NY         10006199         WEITZ & LUXENBERG, PC
MALFA                ROSEMARIE             NY         11212600         WEITZ & LUXENBERG, PC                                MANCINI              MARGHERITA                 NY         19021509         WEITZ & LUXENBERG, PC
MALIAROS             CORINNE               NY         11950301         WEITZ & LUXENBERG, PC                                MANCINI              PHILIP V                   NY         02106579         WEITZ & LUXENBERG, PC
MALIAROS             CORINNE               NY         01111220         WEITZ & LUXENBERG, PC                                MANCINI              RAYMOND                    NY         01111220         WEITZ & LUXENBERG, PC
MALINAK              ALFREDA M             NY         10003399         WEITZ & LUXENBERG, PC                                MANCINI              RITA                       NY         10006199         WEITZ & LUXENBERG, PC
MALINOSKI            FRANK                 NY         01115737         WEITZ & LUXENBERG, PC                                MANCINI              VITTORIO                   NY         19021509         WEITZ & LUXENBERG, PC
MALINOSKI            MARILYN               NY         01115737         WEITZ & LUXENBERG, PC                                MANCO                DOMINICK P                 NY         12693402         WEITZ & LUXENBERG, PC
MALINOWSKI           JAMES S               NY         10748900         WEITZ & LUXENBERG, PC                                MANCUSO              ANNA MARIE                 NY         00104409         WEITZ & LUXENBERG, PC
MALINOWSKI           LINDA ANN             NY         10748900         WEITZ & LUXENBERG, PC                                MANCUSO              DULCIE                     NY         10405101         WEITZ & LUXENBERG, PC
MALLARD              LEO P                 NY         10200402         WEITZ & LUXENBERG, PC                                MANCUSO              GERARD                     NY         10405101         WEITZ & LUXENBERG, PC
MALLARD              MARGARET              NY         10200402         WEITZ & LUXENBERG, PC                                MANCUSO              JOSEPH                     NY         1903582014       WEITZ & LUXENBERG, PC
MALLESCH             EILEEN J              NY         10748800         WEITZ & LUXENBERG, PC                                MANCUSO              MARGUERITE                 NY         1903582014       WEITZ & LUXENBERG, PC
MALLESCH             RICHARD H             NY         10748800         WEITZ & LUXENBERG, PC                                MANDEL               EILEEN                     NY         11977301         WEITZ & LUXENBERG, PC
MALLEY               VINCENT               NY         12213801         WEITZ & LUXENBERG, PC                                MANDEL               EILEEN                     NY         11123201         WEITZ & LUXENBERG, PC
MALLEY               VINCENT               NY         10274702         WEITZ & LUXENBERG, PC                                MANDEL               FRIEDA                     NY         11418402         WEITZ & LUXENBERG, PC
MALLON               DORIS F               NY         12039801         WEITZ & LUXENBERG, PC                                MANDEL               MARY D                     NY         12243101         WEITZ & LUXENBERG, PC
MALLON               DORIS F               NY         10480702         WEITZ & LUXENBERG, PC                                MANDEL               MARY D                     NY         01111226         WEITZ & LUXENBERG, PC
MALLON               WILLIAM H             NY         12039801         WEITZ & LUXENBERG, PC                                MANDEL               THOMAS P                   NY         11977301         WEITZ & LUXENBERG, PC
MALLON               WILLIAM H             NY         10480702         WEITZ & LUXENBERG, PC                                MANDEL               THOMAS P                   NY         11123201         WEITZ & LUXENBERG, PC
MALLORY              DONNA                 NY         CV016913         WEITZ & LUXENBERG, PC                                MANDELBAUM           AARON                      NY         11156904         WEITZ & LUXENBERG, PC
MALLORY              JOHNNIE J             NY         CV016913         WEITZ & LUXENBERG, PC                                MANDELBAUM           LAWRENCE                   NY         01111228         WEITZ & LUXENBERG, PC
MALLORY              JOHNNY JAMES          NY         CV016914         WEITZ & LUXENBERG, PC                                MANDERSON            ALINTON R                  NY         1901122013       WEITZ & LUXENBERG, PC
MALLORY              JUNE                  NY         CV016914         WEITZ & LUXENBERG, PC                                MANDERSON            JESSICA                    NY         1901122013       WEITZ & LUXENBERG, PC
MALLOY               CHARLES EDWARD        NY         10003299         WEITZ & LUXENBERG, PC                                MANDIA               JOSEPH A                   NY         12081399         WEITZ & LUXENBERG, PC
MALLOY               SANDRA                NY         10386901         WEITZ & LUXENBERG, PC                                MANDIA               RALPH A                    NY         11018200         WEITZ & LUXENBERG, PC
MALLOY               WINIFRED              NY         10003299         WEITZ & LUXENBERG, PC                                MANDIA               ROSEMARIE                  NY         11018200         WEITZ & LUXENBERG, PC
MALONE               DENNIS                NY         10074103         WEITZ & LUXENBERG, PC                                MANDIAK              GEORGE                     NY         10722002         WEITZ & LUXENBERG, PC
MALONE               ERIKA                 NY         10404801         WEITZ & LUXENBERG, PC                                MANDIAK              RITA                       NY         10722002         WEITZ & LUXENBERG, PC
MALONE               JOAN                  NY         10748700         WEITZ & LUXENBERG, PC                                MANDICK              ARTHUR J                   NY         10748400         WEITZ & LUXENBERG, PC
MALONE               JOAN                  NY         10871301         WEITZ & LUXENBERG, PC                                MANDICK              CONSTANCE ISABELLA CLARK   NY         10748400         WEITZ & LUXENBERG, PC
MALONE               JOHN B                NY         10748700         WEITZ & LUXENBERG, PC                                MANDRACCHIA          CARMEN                     NY         11453503         WEITZ & LUXENBERG, PC
MALONE               JOHN J                NY         10748600         WEITZ & LUXENBERG, PC                                MANDURA              FRANK                      NY         10405201         WEITZ & LUXENBERG, PC
MALONE               MARYELLEN             NY         10074103         WEITZ & LUXENBERG, PC                                MANETTA              GEORGE                     NY         11164403         WEITZ & LUXENBERG, PC
MALONE               PATRICK J             NY         10404801         WEITZ & LUXENBERG, PC                                MANETTA              ROSE                       NY         11164403         WEITZ & LUXENBERG, PC
MALONE               RAYMOND               NY         10430307         WEITZ & LUXENBERG, PC                                MANFRE               IGNAZIO                    NY         11213000         WEITZ & LUXENBERG, PC
MALONE               VERONICA              NY         10748600         WEITZ & LUXENBERG, PC                                MANFRE               SILVANA                    NY         11213000         WEITZ & LUXENBERG, PC
MALONE               WILLIAM               NY         10871301         WEITZ & LUXENBERG, PC                                MANFREDI             ELAINE                     NY         10587301         WEITZ & LUXENBERG, PC
MALONE               WILLIS                NY         19017909         WEITZ & LUXENBERG, PC                                MANFREDO             JEAN                       NY         10587502         WEITZ & LUXENBERG, PC
MALONEY              DOMINICK              NY         11212800         WEITZ & LUXENBERG, PC                                MANFREDO             ROBERT F                   NY         10587502         WEITZ & LUXENBERG, PC
MALONEY              FRANCIS R             NY         10748500         WEITZ & LUXENBERG, PC                                MANGANIELLO          MAUREEN                    NY         12039101         WEITZ & LUXENBERG, PC
MALONEY              GEORGE B              NY         12668502         WEITZ & LUXENBERG, PC                                MANGANIELLO          ROGER                      NY         12039101         WEITZ & LUXENBERG, PC
MALONEY              GEORGE B              NY         10334303         WEITZ & LUXENBERG, PC                                MANGANO              PHILIP L                   NY         02105718         WEITZ & LUXENBERG, PC
MALONEY              GINA                  NY         10095201         WEITZ & LUXENBERG, PC                                MANGEL               ALBERT                     NY         10748300         WEITZ & LUXENBERG, PC
MALONEY              JOHN C                NY         10670402         WEITZ & LUXENBERG, PC                                MANGEL               URSULA                     NY         10748300         WEITZ & LUXENBERG, PC
MALONEY              JOHN C                NY         11035102         WEITZ & LUXENBERG, PC                                MANGER               LESLIE DAVID               NY         12197999         WEITZ & LUXENBERG, PC
MALONEY              JOHN J                NY         10716902         WEITZ & LUXENBERG, PC                                MANGIAPANE           JOSEPH                     NY         10902100         WEITZ & LUXENBERG, PC
MALONEY              JUNE H                NY         10670402         WEITZ & LUXENBERG, PC                                MANGIAPIA            LILLIAN MAE                NY         10930903         WEITZ & LUXENBERG, PC
MALONEY              JUNE H                NY         11035102         WEITZ & LUXENBERG, PC                                MANGIAPIA            LOUIS J                    NY         10930903         WEITZ & LUXENBERG, PC
MALONEY              MARY JANE             NY         11706400         WEITZ & LUXENBERG, PC                                MANGINO              CONCETTA                   NY         10901900         WEITZ & LUXENBERG, PC
MALONEY              SANDRA JEAN           NY         11212800         WEITZ & LUXENBERG, PC                                MANGINO              DOMINICK                   NY         10901900         WEITZ & LUXENBERG, PC
MALONEY              THOMAS J              NY         11706400         WEITZ & LUXENBERG, PC                                MANGO                BERNARD                    NY         02106579         WEITZ & LUXENBERG, PC
MALONY               JOHN                  NY         12788702         WEITZ & LUXENBERG, PC                                MANGO                JEANNIE                    NY         02106579         WEITZ & LUXENBERG, PC
MALONY               KAREN                 NY         12788702         WEITZ & LUXENBERG, PC                                MANIACE              ELIZABETH                  NY         11020599         WEITZ & LUXENBERG, PC
MALTBIE              RICHARD C             NY         02106694         WEITZ & LUXENBERG, PC                                MANIACE              JOHN                       NY         10931803         WEITZ & LUXENBERG, PC
MALTESE              FRANK P               NY         11212900         WEITZ & LUXENBERG, PC                                MANIACE              LOUIS                      NY         10901800         WEITZ & LUXENBERG, PC
MALTESE              THERESA               NY         11212900         WEITZ & LUXENBERG, PC                                MANICO               BEATRICE                   NY         10901700         WEITZ & LUXENBERG, PC
MALTZ                HENRY                 NY         10404901         WEITZ & LUXENBERG, PC                                MANICO               JOSEPH O                   NY         10901700         WEITZ & LUXENBERG, PC
MALVIN               THERESA M             NY         01CIV3895        WEITZ & LUXENBERG, PC                                MANIERI              DAVID                      NY         10405401         WEITZ & LUXENBERG, PC
MALYSZA              CAROL A               NY         10006299         WEITZ & LUXENBERG, PC                                MANIERI              JILL                       NY         10405401         WEITZ & LUXENBERG, PC
MALYSZA              DONALD R              NY         10006299         WEITZ & LUXENBERG, PC                                MANIOUS              ANNE                       NY         1903322012       WEITZ & LUXENBERG, PC
MAMINSKI             MARY                  NY         11327802         WEITZ & LUXENBERG, PC                                MANIOUS              JOHN T                     NY         1903322012       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 990
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                      Desc
                                                                                                      Complaint-Part 2 Page 325 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name      Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MANISCALCO           ANGELINA              NY         02107007         WEITZ & LUXENBERG, PC                                MANTONE                 CAROLE                NY         11977201         WEITZ & LUXENBERG, PC
MANISCALCO           CHARLES A             NY         10901600         WEITZ & LUXENBERG, PC                                MANTONE                 CAROLE                NY         11123201         WEITZ & LUXENBERG, PC
MANISCALCO           ELSIE                 NY         10901600         WEITZ & LUXENBERG, PC                                MANTONE                 JAMES L               NY         11977201         WEITZ & LUXENBERG, PC
MANISCALCO           FRANK                 NY         10405601         WEITZ & LUXENBERG, PC                                MANTONE                 JAMES L               NY         11123201         WEITZ & LUXENBERG, PC
MANISCALCO           THOMAS                NY         02107007         WEITZ & LUXENBERG, PC                                MANTOVI                 LORRAINE              NY         1900552017       WEITZ & LUXENBERG, PC
MANKOFF              ROBERT A              NY         10378404         WEITZ & LUXENBERG, PC                                MANTOVI                 THOMAS                NY         1900552017       WEITZ & LUXENBERG, PC
MANKOWSKI            ROBERT                NY         10901500         WEITZ & LUXENBERG, PC                                MANUEL                  HATTIE                NY         11938100         WEITZ & LUXENBERG, PC
MANKOWSKI            TERRI                 NY         10901500         WEITZ & LUXENBERG, PC                                MANUEL                  RESPORT               NY         11938100         WEITZ & LUXENBERG, PC
MANLEY               CLARA                 NY         CV025685         WEITZ & LUXENBERG, PC                                MANUELE                 RICHARD L             NY         EFCA2018002698   WEITZ & LUXENBERG, PC
MANLEY               JAMES COZELL          NY         CV025685         WEITZ & LUXENBERG, PC                                MANUELLA                JANINE                NY         11849798         WEITZ & LUXENBERG, PC
MANLEY               LYNN                  NY         CV018466         WEITZ & LUXENBERG, PC                                MANUFACTURERS TRADERS   AND TRUST COMPANY     NY         98118833         WEITZ & LUXENBERG, PC
MANLEY               WILLIAM JERRY         NY         CV018466         WEITZ & LUXENBERG, PC                                MANUFACTURERS TRADERS   AND TRUST COMPANY     NY         11883398         WEITZ & LUXENBERG, PC
MANLMANN             WALTRAUD              NY         11468205         WEITZ & LUXENBERG, PC                                MANWARING               MARY                  NY         10342501         WEITZ & LUXENBERG, PC
MANN                 ELSA                  NY         CV013921         WEITZ & LUXENBERG, PC                                MANWARING               RICHARD D             NY         10342501         WEITZ & LUXENBERG, PC
MANN                 IGNACIO P             NY         10405701         WEITZ & LUXENBERG, PC                                MANZELL                 JOHN                  NY         10748300         WEITZ & LUXENBERG, PC
MANN                 MARION E              NY         10696502         WEITZ & LUXENBERG, PC                                MANZI                   KATHLEEN              NY         10732500         WEITZ & LUXENBERG, PC
MANN                 MICHAEL               NY         10901400         WEITZ & LUXENBERG, PC                                MANZI                   MICAHEL A             NY         10732500         WEITZ & LUXENBERG, PC
MANN                 PATRICK G             NY         10696502         WEITZ & LUXENBERG, PC                                MANZIONE                ANTHONY JOSEPH        NY         01111223         WEITZ & LUXENBERG, PC
MANN                 ROBERT                NY         10700002         WEITZ & LUXENBERG, PC                                MANZIONE                MIRIAM                NY         10901000         WEITZ & LUXENBERG, PC
MANN                 THEO WALLACE          NY         CV013921         WEITZ & LUXENBERG, PC                                MANZIONE                SALVATORE             NY         10901000         WEITZ & LUXENBERG, PC
MANNA                JACK A                NY         10901300         WEITZ & LUXENBERG, PC                                MANZOLILLO              ANN MARIE             NY         12018801         WEITZ & LUXENBERG, PC
MANNA                MICHAEL               NY         10732200         WEITZ & LUXENBERG, PC                                MANZOLILLO              JOSEPH DAVID          NY         12018801         WEITZ & LUXENBERG, PC
MANNA                VINCENT               NY         12039701         WEITZ & LUXENBERG, PC                                MARANDA                 ANNA                  NY         10740102         WEITZ & LUXENBERG, PC
MANNA                VINCENT               NY         10507302         WEITZ & LUXENBERG, PC                                MARANDA                 ANNA                  NY         11348202         WEITZ & LUXENBERG, PC
MANNARINO            EMMA                  NY         10732300         WEITZ & LUXENBERG, PC                                MARANDA                 JOSEPH M              NY         10740102         WEITZ & LUXENBERG, PC
MANNARINO            LOUIS A               NY         10732300         WEITZ & LUXENBERG, PC                                MARANDA                 JOSEPH M              NY         11348202         WEITZ & LUXENBERG, PC
MANNELL              DAVID                 DE         N17C03231ASB     WEITZ & LUXENBERG, PC                                MARANGINE               PATRICIA A            NY         10329502         WEITZ & LUXENBERG, PC
MANNELL              RICHARD D             DE         N17C03231ASB     WEITZ & LUXENBERG, PC                                MARANGINE               THEODORE              NY         10329502         WEITZ & LUXENBERG, PC
MANNELL              VIRGINIA              DE         N17C03231ASB     WEITZ & LUXENBERG, PC                                MARANO                  DOMINIC               NY         10816804         WEITZ & LUXENBERG, PC
MANNES               ARTHUR                NY         10740302         WEITZ & LUXENBERG, PC                                MARANO                  PHILIP                NY         11081001         WEITZ & LUXENBERG, PC
MANNES               MARYLEE               NY         10740302         WEITZ & LUXENBERG, PC                                MARANO                  PHYLLIS E             NY         11081001         WEITZ & LUXENBERG, PC
MANNING              ASSONTA               NY         10732400         WEITZ & LUXENBERG, PC                                MARANO                  YOLANDA               NY         10816804         WEITZ & LUXENBERG, PC
MANNING              CARMEL MADISON        NY         01CIV3910        WEITZ & LUXENBERG, PC                                MARASHIAN               PAMELA A              NY         02106578         WEITZ & LUXENBERG, PC
MANNING              CHERYL                NY         10008703         WEITZ & LUXENBERG, PC                                MARASHIAN               PAMELA A              NY         11274302         WEITZ & LUXENBERG, PC
MANNING              GEORGE C              NY         10006099         WEITZ & LUXENBERG, PC                                MARBLE                  KENNETH A             NY         10716902         WEITZ & LUXENBERG, PC
MANNING              GERALD                NY         10008703         WEITZ & LUXENBERG, PC                                MARBLE                  KENNETH A             NY         11214902         WEITZ & LUXENBERG, PC
MANNING              IRIS G                NY         10006099         WEITZ & LUXENBERG, PC                                MARCEAU                 FRANK O               NY         10909200         WEITZ & LUXENBERG, PC
MANNING              JOHN A                NY         11125104         WEITZ & LUXENBERG, PC                                MARCEAU                 ROSE                  NY         10909200         WEITZ & LUXENBERG, PC
MANNING              KATHLEEN              NY         11125104         WEITZ & LUXENBERG, PC                                MARCELIC                BRANKO                NY         10730800         WEITZ & LUXENBERG, PC
MANNING              LETHA MARQUITTA       NY         01CIV3910        WEITZ & LUXENBERG, PC                                MARCELIC                SONJA                 NY         10730800         WEITZ & LUXENBERG, PC
MANNING              LILLIAN               NY         I200110599       WEITZ & LUXENBERG, PC                                MARCELLO                ANN                   NY         10342601         WEITZ & LUXENBERG, PC
MANNING              LILLIAN               NY         02120706         WEITZ & LUXENBERG, PC                                MARCELLO                ANTHONY S             NY         10342601         WEITZ & LUXENBERG, PC
MANNING              LILLIAN               NY         12756302         WEITZ & LUXENBERG, PC                                MARCELLUS               DUDLEY P              NY         10909100         WEITZ & LUXENBERG, PC
MANNING              LLOYD A               NY         I200110599       WEITZ & LUXENBERG, PC                                MARCELLUS               PATRICIA              NY         10909100         WEITZ & LUXENBERG, PC
MANNING              LLOYD A               NY         02120706         WEITZ & LUXENBERG, PC                                MARCHELLO               KENNETH CHARLES       NY         10909000         WEITZ & LUXENBERG, PC
MANNING              LLOYD A               NY         12756302         WEITZ & LUXENBERG, PC                                MARCHESE                CAROLE                NY         10484903         WEITZ & LUXENBERG, PC
MANNING              SIMON B               NY         01108009         WEITZ & LUXENBERG, PC                                MARCHESE                FRED                  NY         10484903         WEITZ & LUXENBERG, PC
MANNING              TODD                  NY         I200110599       WEITZ & LUXENBERG, PC                                MARCHESE                JOSEPH A              NY         12100401         WEITZ & LUXENBERG, PC
MANNING              TODD                  NY         02120706         WEITZ & LUXENBERG, PC                                MARCHESIELLO            KENNETH               NY         11614501         WEITZ & LUXENBERG, PC
MANNING              TODD                  NY         12756302         WEITZ & LUXENBERG, PC                                MARCHESIELLO            SUSAN                 NY         11614501         WEITZ & LUXENBERG, PC
MANNING              WILLIAM F             NY         10732400         WEITZ & LUXENBERG, PC                                MARCHETTI               CARMINE J             NY         190042017        WEITZ & LUXENBERG, PC
MANNINO              ANGELO                NY         11026902         WEITZ & LUXENBERG, PC                                MARCHETTI               KAROLYN               NY         10900800         WEITZ & LUXENBERG, PC
MANNINO              ANGELO                NY         12673002         WEITZ & LUXENBERG, PC                                MARCHETTI               LORRAINE              NY         190042017        WEITZ & LUXENBERG, PC
MANNINO              ANTHONY               NY         11026902         WEITZ & LUXENBERG, PC                                MARCHETTI               ROBERT                NY         10900800         WEITZ & LUXENBERG, PC
MANNINO              ANTHONY               NY         12673002         WEITZ & LUXENBERG, PC                                MARCHIO                 DIANE                 NY         I200110554       WEITZ & LUXENBERG, PC
MANNINO              BARBARA               NY         19042810         WEITZ & LUXENBERG, PC                                MARCHIO                 DIANE                 NY         02122048         WEITZ & LUXENBERG, PC
MANNINO              RICHARD               NY         19042810         WEITZ & LUXENBERG, PC                                MARCHIO                 THOMAS A              NY         I200110554       WEITZ & LUXENBERG, PC
MANNINO              SALVATORE             NY         11123101         WEITZ & LUXENBERG, PC                                MARCHIO                 THOMAS A              NY         02122048         WEITZ & LUXENBERG, PC
MANNINO              SALVATRICE            NY         11123101         WEITZ & LUXENBERG, PC                                MARCIANO                DOLORES               NY         11594703         WEITZ & LUXENBERG, PC
MANNINO              SUE                   NY         11026902         WEITZ & LUXENBERG, PC                                MARCIANO                FRANCESCO             NY         10900700         WEITZ & LUXENBERG, PC
MANNINO              SUE                   NY         12673002         WEITZ & LUXENBERG, PC                                MARCIANO                JACK                  NY         01118866         WEITZ & LUXENBERG, PC
MANOCCHIO            MARIE                 NY         10901200         WEITZ & LUXENBERG, PC                                MARCIANO                JACK GIACOMO          NY         12112901         WEITZ & LUXENBERG, PC
MANOCCHIO            ROBERT A              NY         10901200         WEITZ & LUXENBERG, PC                                MARCIANO                JACK GIACOMO          NY         01111224         WEITZ & LUXENBERG, PC
MANOR                ELDMOUR               NY         10901100         WEITZ & LUXENBERG, PC                                MARCIANO                JEAN                  NY         01118866         WEITZ & LUXENBERG, PC
MANOR                ERNEST A              NY         12025399         WEITZ & LUXENBERG, PC                                MARCIANO                JOSEPH GIUSEPPE       NY         12112901         WEITZ & LUXENBERG, PC
MANOR                GLADYS M              NY         10901100         WEITZ & LUXENBERG, PC                                MARCIANO                JOSEPH GIUSEPPE       NY         01111224         WEITZ & LUXENBERG, PC
MANOR                SHIRLEY               NY         12025399         WEITZ & LUXENBERG, PC                                MARCIANO                PIA                   NY         12112901         WEITZ & LUXENBERG, PC
MANTELLO             NICHOLAS F            NY         10700102         WEITZ & LUXENBERG, PC                                MARCIANO                PIA                   NY         01111224         WEITZ & LUXENBERG, PC
MANTIONE             FLORENCE FRANCES      NY         I200110280       WEITZ & LUXENBERG, PC                                MARCIANO                RON                   NY         10039603         WEITZ & LUXENBERG, PC
MANTIONE             JOSEPHINE             NY         10002901         WEITZ & LUXENBERG, PC                                MARCIANO                RONALD                NY         11594703         WEITZ & LUXENBERG, PC
MANTIONE             SALVATORE             NY         I200110280       WEITZ & LUXENBERG, PC                                MARCINAK                SUSAN                 NY         1903112016       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 991
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 326 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MARCINAK             VINCENT W             NY         1903112016       WEITZ & LUXENBERG, PC                                MARINO               LOUIS L               NY         10367407         WEITZ & LUXENBERG, PC
MARCINISZYN          GLADYS P              NY         11356702         WEITZ & LUXENBERG, PC                                MARINO               MICHAEL               NY         1903772016       WEITZ & LUXENBERG, PC
MARCINISZYN          STEPHEN J             NY         11356702         WEITZ & LUXENBERG, PC                                MARINO               ROSE MARY             NY         11623805         WEITZ & LUXENBERG, PC
MARCISZEWSKI         JOSEPH                NY         99120090         WEITZ & LUXENBERG, PC                                MARINO               SAM                   NY         11622601         WEITZ & LUXENBERG, PC
MARCOCCIA            MARIO                 NY         19010311         WEITZ & LUXENBERG, PC                                MARINO               SAM                   NY         01111221         WEITZ & LUXENBERG, PC
MARCOCCIO            ADA                   NY         19010311         WEITZ & LUXENBERG, PC                                MARINO-CACCIATORE    BARBARA MARINO        NY         10339800         WEITZ & LUXENBERG, PC
MARCONI              PATSY                 NY         12411601         WEITZ & LUXENBERG, PC                                MARINZULICH          ANTONIO               NY         10002199         WEITZ & LUXENBERG, PC
MARCOTE              ANNA                  NY         99118267         WEITZ & LUXENBERG, PC                                MARINZULICH          LJUBICA               NY         10002199         WEITZ & LUXENBERG, PC
MARCOTE              MANUEL                NY         99118267         WEITZ & LUXENBERG, PC                                MARINZULICH          MARCELLO              NY         12039201         WEITZ & LUXENBERG, PC
MARCOUX              JENNIE                NY         12433902         WEITZ & LUXENBERG, PC                                MARION               FRANCIS J             NY         02106709         WEITZ & LUXENBERG, PC
MARCOUX              LEO P                 NY         12433902         WEITZ & LUXENBERG, PC                                MARION               MARY                  NY         02106709         WEITZ & LUXENBERG, PC
MARCUCCI             THOMAS                NY         10342801         WEITZ & LUXENBERG, PC                                MARIOTTI             JOSEPH                NY         10731300         WEITZ & LUXENBERG, PC
MARCUS               BRUCE G               NY         11622701         WEITZ & LUXENBERG, PC                                MARIOTTI             JOSEPH P              NY         10731300         WEITZ & LUXENBERG, PC
MARCUS               BRUCE G               NY         01111221         WEITZ & LUXENBERG, PC                                MARIOTTI             TERESA                NY         10731300         WEITZ & LUXENBERG, PC
MARCUS               JOAN E                NY         11622701         WEITZ & LUXENBERG, PC                                MARISCO              ROSALIE A             NY         10745900         WEITZ & LUXENBERG, PC
MARCUS               JOAN E                NY         01111221         WEITZ & LUXENBERG, PC                                MARK                 BERNARD               NY         01111225         WEITZ & LUXENBERG, PC
MARDEN               MARYANN               NY         12444102         WEITZ & LUXENBERG, PC                                MARK                 JANE                  NY         01111225         WEITZ & LUXENBERG, PC
MARDEN               RONALD                NY         12444102         WEITZ & LUXENBERG, PC                                MARKEL               BRUCE M               NY         10900200         WEITZ & LUXENBERG, PC
MARDINO              NEIL P                NY         10716702         WEITZ & LUXENBERG, PC                                MARKEL               GAIL                  NY         10900200         WEITZ & LUXENBERG, PC
MARDINO              RICHARD J             NY         10699902         WEITZ & LUXENBERG, PC                                MARKELL              GREGORY T             NY         110375           WEITZ & LUXENBERG, PC
MARDINO              SARAH F               NY         10699902         WEITZ & LUXENBERG, PC                                MARKELL              GREGORY T             NY         12448902         WEITZ & LUXENBERG, PC
MARDINO              SHIRLEY C             NY         10716702         WEITZ & LUXENBERG, PC                                MARKERT              GARY R                NY         10740502         WEITZ & LUXENBERG, PC
MAREK                DOLORES               NY         19010009         WEITZ & LUXENBERG, PC                                MARKERT              MICHELLE              NY         10740502         WEITZ & LUXENBERG, PC
MAREK                WILLIAM J             NY         19010009         WEITZ & LUXENBERG, PC                                MARKEY               ANNA B                NY         10900100         WEITZ & LUXENBERG, PC
MARESCA              ANTOINETTE            NY         10022803         WEITZ & LUXENBERG, PC                                MARKEY               CHARLES R             NY         11837900         WEITZ & LUXENBERG, PC
MARESCA              JOHN L                NY         10022803         WEITZ & LUXENBERG, PC                                MARKEY               JOHN M                NY         10900100         WEITZ & LUXENBERG, PC
MARGOLIS             MARJORIE              NY         1901062017       WEITZ & LUXENBERG, PC                                MARKEY               LORRAINE P            NY         11837900         WEITZ & LUXENBERG, PC
MARGOLIS             PAUL D                NY         1901062017       WEITZ & LUXENBERG, PC                                MARKIEWICZ           ERIC                  NY         10909600         WEITZ & LUXENBERG, PC
MARIANI              SHARON                NY         1904232018       WEITZ & LUXENBERG, PC                                MARKIEWICZ           HENRY L               NY         10909600         WEITZ & LUXENBERG, PC
MARIANO              ANGELA                NY         10710002         WEITZ & LUXENBERG, PC                                MARKLE               JOHN DONALD           NY         10909500         WEITZ & LUXENBERG, PC
MARIANO              EMEDIO                NY         10710002         WEITZ & LUXENBERG, PC                                MARKLE               KAREN                 NY         10909500         WEITZ & LUXENBERG, PC
MARIANO              MICHAEL JAMES         NY         10731100         WEITZ & LUXENBERG, PC                                MARKOWITZ            EDWARD                NY         12433902         WEITZ & LUXENBERG, PC
MARIANO              PAULA ROSEANN         NY         10731100         WEITZ & LUXENBERG, PC                                MARKOWITZ            INEZ                  NY         12433902         WEITZ & LUXENBERG, PC
MARIANO              ROSE                  NY         10731100         WEITZ & LUXENBERG, PC                                MARKOWSKY            JOSEPH J              NY         10496602         WEITZ & LUXENBERG, PC
MARIARTY             ROSEMARIE             NY         12043201         WEITZ & LUXENBERG, PC                                MARKOWSKY            JUNE K                NY         10496602         WEITZ & LUXENBERG, PC
MARIN                ALBERTO               NY         12043101         WEITZ & LUXENBERG, PC                                MARKS                AUSTIN                NY         1901992013       WEITZ & LUXENBERG, PC
MARIN                ALBERTO               NY         12357201         WEITZ & LUXENBERG, PC                                MARKS                BETTY A               NY         1901992013       WEITZ & LUXENBERG, PC
MARIN                DOMENICA SCICUTELLA   NY         12043101         WEITZ & LUXENBERG, PC                                MARKS                DONALD                NY         11159303         WEITZ & LUXENBERG, PC
MARIN                DOMENICA SCICUTELLA   NY         12357201         WEITZ & LUXENBERG, PC                                MARKS                JEROME CALVIN         NY         CV017506         WEITZ & LUXENBERG, PC
MARINACCI            FRANK A               NY         10900600         WEITZ & LUXENBERG, PC                                MARKS                NONA                  NY         CV017506         WEITZ & LUXENBERG, PC
MARINACCI            ROSE MARIE            NY         10900600         WEITZ & LUXENBERG, PC                                MARKWITZ             MARCA                 NY         10342901         WEITZ & LUXENBERG, PC
MARINELLI            SALVATORE T           NY         10909700         WEITZ & LUXENBERG, PC                                MARKWITZ             RICHARD EDWARD        NY         10342901         WEITZ & LUXENBERG, PC
MARINER              SHELI                 NY         12343699         WEITZ & LUXENBERG, PC                                MARLBOROUGH          GEORGE M              NY         12039001         WEITZ & LUXENBERG, PC
MARINGO              ANTHONY J             NY         11625702         WEITZ & LUXENBERG, PC                                MARLBOROUGH          MARY R                NY         12039001         WEITZ & LUXENBERG, PC
MARINGO              ANTONIO               NY         02107005         WEITZ & LUXENBERG, PC                                MARLING              LONNIE R              NY         02106707         WEITZ & LUXENBERG, PC
MARINGO              ANTONIO               NY         11625702         WEITZ & LUXENBERG, PC                                MARLOW               ALBERT W              NY         10669102         WEITZ & LUXENBERG, PC
MARINGO              JOHN F                NY         11625702         WEITZ & LUXENBERG, PC                                MARLOW               PHILLIP JOHN          NY         10645702         WEITZ & LUXENBERG, PC
MARINGO              MILDRED               NY         11625702         WEITZ & LUXENBERG, PC                                MARLOWE              SUSAN J               NY         10680602         WEITZ & LUXENBERG, PC
MARINGO              MILDRED               NY         02107005         WEITZ & LUXENBERG, PC                                MARLOWE              WILLIAM R             NY         10680602         WEITZ & LUXENBERG, PC
MARINGO              MILDRED               NY         11625702         WEITZ & LUXENBERG, PC                                MARNIKA              LUZARKA               NY         19022609         WEITZ & LUXENBERG, PC
MARINI               LUIGI                 NY         10900500         WEITZ & LUXENBERG, PC                                MARNIKA              STIPE                 NY         19022609         WEITZ & LUXENBERG, PC
MARINI               MARLIN                NY         10900500         WEITZ & LUXENBERG, PC                                MAROTTA              HERMAN RICHARD        NY         12032199         WEITZ & LUXENBERG, PC
MARINO               ALFRED A              NY         12063000         WEITZ & LUXENBERG, PC                                MAROTTA              NANCY                 NY         12032199         WEITZ & LUXENBERG, PC
MARINO               ALFRED R              NY         10900400         WEITZ & LUXENBERG, PC                                MAROTTA              PATSY A               NY         12213801         WEITZ & LUXENBERG, PC
MARINO               ANDREW                NY         12788702         WEITZ & LUXENBERG, PC                                MAROTTA              PATSY A               NY         10275602         WEITZ & LUXENBERG, PC
MARINO               ANNA                  NY         99120319         WEITZ & LUXENBERG, PC                                MAROTTO              ANTHONY M             NY         10001999         WEITZ & LUXENBERG, PC
MARINO               ANTHONY               NY         99120319         WEITZ & LUXENBERG, PC                                MAROTTO              MARGRETHE J           NY         10001999         WEITZ & LUXENBERG, PC
MARINO               ANTHONY J             NY         10339800         WEITZ & LUXENBERG, PC                                MARQUART             ALLAN                 NY         10909300         WEITZ & LUXENBERG, PC
MARINO               BARBARA               NY         1900012014       WEITZ & LUXENBERG, PC                                MARQUART             LOIS                  NY         10909300         WEITZ & LUXENBERG, PC
MARINO               BARBARA               NY         10367407         WEITZ & LUXENBERG, PC                                MARQUES              JOSE C                NY         12693402         WEITZ & LUXENBERG, PC
MARINO               CARL J                NY         10900300         WEITZ & LUXENBERG, PC                                MARQUES              MARIA F               NY         12693402         WEITZ & LUXENBERG, PC
MARINO               CAROL                 NY         10900300         WEITZ & LUXENBERG, PC                                MARR                 JUDITH ANN            NY         10700102         WEITZ & LUXENBERG, PC
MARINO               DANIEL                NY         11623805         WEITZ & LUXENBERG, PC                                MARR                 RICHARD D             NY         10700102         WEITZ & LUXENBERG, PC
MARINO               EDWARD                NY         1900012014       WEITZ & LUXENBERG, PC                                MARRA                ANGELINA              NY         99118274         WEITZ & LUXENBERG, PC
MARINO               ELAINE                NY         12788702         WEITZ & LUXENBERG, PC                                MARRA                BETTINA               NY         02107099         WEITZ & LUXENBERG, PC
MARINO               ELIZABETH             NY         1903772016       WEITZ & LUXENBERG, PC                                MARRA                CARMEN F              NY         10908900         WEITZ & LUXENBERG, PC
MARINO               JENNIE                NY         11622601         WEITZ & LUXENBERG, PC                                MARRA                CATELLO               NY         99118274         WEITZ & LUXENBERG, PC
MARINO               JENNIE                NY         01111221         WEITZ & LUXENBERG, PC                                MARRA                LUKE JAMES            NY         10731400         WEITZ & LUXENBERG, PC
MARINO               JOSEPH                NY         11159403         WEITZ & LUXENBERG, PC                                MARRA                MARIE J               NY         10908900         WEITZ & LUXENBERG, PC
MARINO               JOSEPH                NY         11220603         WEITZ & LUXENBERG, PC                                MARRA                PATRICIA E            NY         10731400         WEITZ & LUXENBERG, PC
MARINO               JOSEPHINE             NY         11220603         WEITZ & LUXENBERG, PC                                MARRA                STEPHEN J             NY         02107099         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 992
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 327 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MARRACCO             JOANNE A              NY         11157004         WEITZ & LUXENBERG, PC                                MARTELL              RAYMOND ROBERT        NY         10669102         WEITZ & LUXENBERG, PC
MARRACINO            ALBERT C              NY         99120305         WEITZ & LUXENBERG, PC                                MARTELLI             JAMES                 NY         CV012133         WEITZ & LUXENBERG, PC
MARRACINO            EMILY                 NY         99120305         WEITZ & LUXENBERG, PC                                MARTELLI             PATRICIA              NY         CV012133         WEITZ & LUXENBERG, PC
MARRAFFA             ANGELO                NY         10587502         WEITZ & LUXENBERG, PC                                MARTELLO             ANDREW                NY         10343201         WEITZ & LUXENBERG, PC
MARRAFFA             LOUISE                NY         10587502         WEITZ & LUXENBERG, PC                                MARTELLO             CAROL A               NY         I20018195        WEITZ & LUXENBERG, PC
MARRANCA             FRANK                 NY         10001899         WEITZ & LUXENBERG, PC                                MARTELLO             JOHN A                NY         I20018195        WEITZ & LUXENBERG, PC
MARRAPODI            NICOLETTA             NY         11356702         WEITZ & LUXENBERG, PC                                MARTELLO             MARQUERITE            NY         10343201         WEITZ & LUXENBERG, PC
MARRO                PATRICIA              NY         11123703         WEITZ & LUXENBERG, PC                                MARTELOTTI           ANNA                  NY         10908600         WEITZ & LUXENBERG, PC
MARROCCO             ROBERT                NY         11157004         WEITZ & LUXENBERG, PC                                MARTELOTTI           ELIO                  NY         10908600         WEITZ & LUXENBERG, PC
MARRON               PATRICIA ANN          NY         1903912015       WEITZ & LUXENBERG, PC                                MARTH                FRANK                 NY         10716902         WEITZ & LUXENBERG, PC
MARRONE              BARBARA               NY         12092901         WEITZ & LUXENBERG, PC                                MARTH                FRANK                 NY         11214802         WEITZ & LUXENBERG, PC
MARRONE              BARBARA               NY         01111223         WEITZ & LUXENBERG, PC                                MARTH                FRANK J               NY         10716902         WEITZ & LUXENBERG, PC
MARRONE              MARCELLINO            NY         12092901         WEITZ & LUXENBERG, PC                                MARTH                FRANK J               NY         11214802         WEITZ & LUXENBERG, PC
MARRONE              MARCELLINO            NY         01111223         WEITZ & LUXENBERG, PC                                MARTH                MARK D                NY         10716902         WEITZ & LUXENBERG, PC
MARRONE              PETER                 NY         11211400         WEITZ & LUXENBERG, PC                                MARTH                MARK D                NY         11214802         WEITZ & LUXENBERG, PC
MARROW               JAMES E               NY         10908800         WEITZ & LUXENBERG, PC                                MARTHENS             CAROLINE              NY         12043301         WEITZ & LUXENBERG, PC
MARROW               MARY O                NY         10908800         WEITZ & LUXENBERG, PC                                MARTHENS             CAROLINE              NY         12417801         WEITZ & LUXENBERG, PC
MARSALA              JAMES JOSEPH          NY         11622501         WEITZ & LUXENBERG, PC                                MARTHENS             RICHARD J             NY         12043301         WEITZ & LUXENBERG, PC
MARSALA              JAMES JOSEPH          NY         01111221         WEITZ & LUXENBERG, PC                                MARTHENS             RICHARD J             NY         12417801         WEITZ & LUXENBERG, PC
MARSALA              MARIE                 NY         11622501         WEITZ & LUXENBERG, PC                                MARTILLO             ROBERT S              NY         1900062018       WEITZ & LUXENBERG, PC
MARSALA              MARIE                 NY         01111221         WEITZ & LUXENBERG, PC                                MARTILLO             ROBERT S              NY         10343301         WEITZ & LUXENBERG, PC
MARSENBERG           WILLIE MAE            NY         CV013899         WEITZ & LUXENBERG, PC                                MARTILLO             SUZANNE               NY         1900062018       WEITZ & LUXENBERG, PC
MARSH                BETTY                 NY         11456502         WEITZ & LUXENBERG, PC                                MARTILLO             SUZANNE               NY         10343301         WEITZ & LUXENBERG, PC
MARSH                CARL J                NY         10740002         WEITZ & LUXENBERG, PC                                MARTIN               ADELINE               NY         99122331         WEITZ & LUXENBERG, PC
MARSH                CARL J                NY         11406302         WEITZ & LUXENBERG, PC                                MARTIN               AGNES                 NY         01111235         WEITZ & LUXENBERG, PC
MARSH                HARRY E               NY         11456502         WEITZ & LUXENBERG, PC                                MARTIN               AGNES                 NY         11831101         WEITZ & LUXENBERG, PC
MARSH                JESSIE                NY         01CIV3895        WEITZ & LUXENBERG, PC                                MARTIN               ALVIN E               NY         I200110246       WEITZ & LUXENBERG, PC
MARSH                JOHN W                NY         01CIV3895        WEITZ & LUXENBERG, PC                                MARTIN               ALVIN E               NY         12448902         WEITZ & LUXENBERG, PC
MARSH                KATHERINE             NY         10740002         WEITZ & LUXENBERG, PC                                MARTIN               ALVIN E               NY         10177603         WEITZ & LUXENBERG, PC
MARSH                KATHERINE             NY         11406302         WEITZ & LUXENBERG, PC                                MARTIN               ANN                   NY         10087202         WEITZ & LUXENBERG, PC
MARSHALL             BILLIE JOANN          NY         01CIV3910        WEITZ & LUXENBERG, PC                                MARTIN               ANN                   NY         02106709         WEITZ & LUXENBERG, PC
MARSHALL             CHARLES A             NY         CV025535         WEITZ & LUXENBERG, PC                                MARTIN               ANNE                  NY         10908400         WEITZ & LUXENBERG, PC
MARSHALL             DWAYNE                NY         CV025685         WEITZ & LUXENBERG, PC                                MARTIN               BARBARA               NY         10591504         WEITZ & LUXENBERG, PC
MARSHALL             EDWARD                NY         02107102         WEITZ & LUXENBERG, PC                                MARTIN               BARBARA               NY         CV013921         WEITZ & LUXENBERG, PC
MARSHALL             EVELYN                NY         CV025535         WEITZ & LUXENBERG, PC                                MARTIN               BETTY ANN             NY         1902382015       WEITZ & LUXENBERG, PC
MARSHALL             FLORENCE              NY         11211500         WEITZ & LUXENBERG, PC                                MARTIN               BEVERLY               NY         I200110246       WEITZ & LUXENBERG, PC
MARSHALL             GLORIA                NY         10731500         WEITZ & LUXENBERG, PC                                MARTIN               BEVERLY               NY         10670602         WEITZ & LUXENBERG, PC
MARSHALL             JAMES                 NY         10109100         WEITZ & LUXENBERG, PC                                MARTIN               BEVERLY               NY         12448902         WEITZ & LUXENBERG, PC
MARSHALL             JOSEPH D              NY         12043101         WEITZ & LUXENBERG, PC                                MARTIN               BEVERLY               NY         10177603         WEITZ & LUXENBERG, PC
MARSHALL             LETA PARKER           DE         N19C07233ASB     WEITZ & LUXENBERG, PC                                MARTIN               BEVERLY A             NY         10587602         WEITZ & LUXENBERG, PC
MARSHALL             LUCILLE               NY         02107102         WEITZ & LUXENBERG, PC                                MARTIN               BEVERLY A             NY         10972102         WEITZ & LUXENBERG, PC
MARSHALL             MARYANN               NY         10722102         WEITZ & LUXENBERG, PC                                MARTIN               CAROL                 NY         1904002014       WEITZ & LUXENBERG, PC
MARSHALL             MICHAEL S             NY         10722102         WEITZ & LUXENBERG, PC                                MARTIN               CAROL                 NY         00CIV3589        WEITZ & LUXENBERG, PC
MARSHALL             MICHELLE              NY         12567002         WEITZ & LUXENBERG, PC                                MARTIN               CAROLINE              NY         11327902         WEITZ & LUXENBERG, PC
MARSHALL             PAUL ROYCE            NY         10908700         WEITZ & LUXENBERG, PC                                MARTIN               CASPER                NY         10023403         WEITZ & LUXENBERG, PC
MARSHALL             ROY                   NY         11211500         WEITZ & LUXENBERG, PC                                MARTIN               CRAIG S               NY         10587602         WEITZ & LUXENBERG, PC
MARSHALL             SADIE                 NY         10908700         WEITZ & LUXENBERG, PC                                MARTIN               CRAIG S               NY         10972102         WEITZ & LUXENBERG, PC
MARSHALL             WILLIAM E             NY         10731500         WEITZ & LUXENBERG, PC                                MARTIN               DANNY JOE             NY         CV024387         WEITZ & LUXENBERG, PC
MARSHALL-HALL        RENEE                 NY         10456301         WEITZ & LUXENBERG, PC                                MARTIN               DARRELL HAROLD        NY         10696302         WEITZ & LUXENBERG, PC
MARSIC               GEORGE J              NY         10757702         WEITZ & LUXENBERG, PC                                MARTIN               DEBORAH               NY         12125103         WEITZ & LUXENBERG, PC
MARSIC               PAULINE               NY         10757702         WEITZ & LUXENBERG, PC                                MARTIN               DENNIS B              NY         10087202         WEITZ & LUXENBERG, PC
MARSICANO            DOLORES               NY         12091601         WEITZ & LUXENBERG, PC                                MARTIN               DOLORES               NY         10023403         WEITZ & LUXENBERG, PC
MARSICANO            DOLORES               NY         01111224         WEITZ & LUXENBERG, PC                                MARTIN               DONALD H              NY         10908400         WEITZ & LUXENBERG, PC
MARSICO              ANGELA                NY         10892304         WEITZ & LUXENBERG, PC                                MARTIN               DORILEE               NY         10343401         WEITZ & LUXENBERG, PC
MARSICO              JOHN A                NY         10892304         WEITZ & LUXENBERG, PC                                MARTIN               DOROTHY               NY         CV024387         WEITZ & LUXENBERG, PC
MARSIELLO            ANNA                  NY         10343101         WEITZ & LUXENBERG, PC                                MARTIN               EDWARD A              NY         12125103         WEITZ & LUXENBERG, PC
MARSIELLO            FRANK                 NY         10343101         WEITZ & LUXENBERG, PC                                MARTIN               ELLA FAYE             NY         CV013899         WEITZ & LUXENBERG, PC
MARSILLIO            LISA                  NY         10670602         WEITZ & LUXENBERG, PC                                MARTIN               EUGENE J              NY         01111224         WEITZ & LUXENBERG, PC
MARSILLIO            LISA                  NY         11487102         WEITZ & LUXENBERG, PC                                MARTIN               FLOYD ELBERT          NY         CV013921         WEITZ & LUXENBERG, PC
MARSILLO             ANGELINA              NY         10670602         WEITZ & LUXENBERG, PC                                MARTIN               FRANCES M             NY         99122331         WEITZ & LUXENBERG, PC
MARSILLO             ANGELINA              NY         11487102         WEITZ & LUXENBERG, PC                                MARTIN               G JAN                 NY         12668202         WEITZ & LUXENBERG, PC
MARSILLO             ELIO A                NY         10670602         WEITZ & LUXENBERG, PC                                MARTIN               GERALD M              NY         10908300         WEITZ & LUXENBERG, PC
MARSILLO             ELIO A                NY         11487102         WEITZ & LUXENBERG, PC                                MARTIN               GISELA                NY         02105715         WEITZ & LUXENBERG, PC
MARSILLO             RALPH                 NY         10001799         WEITZ & LUXENBERG, PC                                MARTIN               GUSSIE                NY         CV025685         WEITZ & LUXENBERG, PC
MARSILLO             SHIRLEY M             NY         10001799         WEITZ & LUXENBERG, PC                                MARTIN               HAROLD J              NY         11622004         WEITZ & LUXENBERG, PC
MARSTON              NORMAN F              NY         11977101         WEITZ & LUXENBERG, PC                                MARTIN               HERBERT               NY         01111235         WEITZ & LUXENBERG, PC
MARSTON              NORMAN F              NY         11123201         WEITZ & LUXENBERG, PC                                MARTIN               HERBERT               NY         11831101         WEITZ & LUXENBERG, PC
MARTEL               LOUIS A               NY         12788702         WEITZ & LUXENBERG, PC                                MARTIN               HOWARD                NY         99122331         WEITZ & LUXENBERG, PC
MARTEL               PAULINE L             NY         12788702         WEITZ & LUXENBERG, PC                                MARTIN               JACK                  NY         10670602         WEITZ & LUXENBERG, PC
MARTELL              BRENDA J              NY         10669102         WEITZ & LUXENBERG, PC                                MARTIN               JAMES                 NY         10343401         WEITZ & LUXENBERG, PC
MARTELL              NICOLE C              NY         10731401         WEITZ & LUXENBERG, PC                                MARTIN               JAMES M               NY         1902592015       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 993
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 328 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MARTIN               JEAN                  NY         10908300         WEITZ & LUXENBERG, PC                                MARTINEZ             VIRGEN                NY         02113566         WEITZ & LUXENBERG, PC
MARTIN               JEFFERY L             NY         11375504         WEITZ & LUXENBERG, PC                                MARTINI              EDWARD                NY         01114377         WEITZ & LUXENBERG, PC
MARTIN               JIMMY LEE             NY         01CIV3901        WEITZ & LUXENBERG, PC                                MARTINO              CATHY                 NY         10731600         WEITZ & LUXENBERG, PC
MARTIN               JOE                   NY         12668202         WEITZ & LUXENBERG, PC                                MARTINO              EDWARD                NY         01111226         WEITZ & LUXENBERG, PC
MARTIN               JOSEPH E              NY         10591504         WEITZ & LUXENBERG, PC                                MARTINO              FRANCIS X             NY         98122877         WEITZ & LUXENBERG, PC
MARTIN               KENNETH WAYNE         NY         01CIV3922        WEITZ & LUXENBERG, PC                                MARTINO              LAURA                 NY         01111226         WEITZ & LUXENBERG, PC
MARTIN               LARRY LEO             NY         10696302         WEITZ & LUXENBERG, PC                                MARTINO              MARGARET S            NY         98122877         WEITZ & LUXENBERG, PC
MARTIN               LEON LAROY            NY         11026802         WEITZ & LUXENBERG, PC                                MARTINO              ROBERT J              NY         10731600         WEITZ & LUXENBERG, PC
MARTIN               LLOYD HAROLD          NY         02105715         WEITZ & LUXENBERG, PC                                MARTINO              ROCCO                 NY         02106508         WEITZ & LUXENBERG, PC
MARTIN               LOUIS                 NY         10333206         WEITZ & LUXENBERG, PC                                MARTINO              RONALD L              NY         10731700         WEITZ & LUXENBERG, PC
MARTIN               MARGARET              NY         10908100         WEITZ & LUXENBERG, PC                                MARTINOLICH          JOSEPH E              NY         11356702         WEITZ & LUXENBERG, PC
MARTIN               MARIE N               NY         11871001         WEITZ & LUXENBERG, PC                                MARTINSEN            RONALD W              NY         12039301         WEITZ & LUXENBERG, PC
MARTIN               MARIE N               NY         01111233         WEITZ & LUXENBERG, PC                                MARTON               JAMES J               NY         1901252019       WEITZ & LUXENBERG, PC
MARTIN               MARILYN               NY         12039001         WEITZ & LUXENBERG, PC                                MARTON               JANICE                NY         1901252019       WEITZ & LUXENBERG, PC
MARTIN               MARY                  NY         11375504         WEITZ & LUXENBERG, PC                                MARTON               PATRICIA ANN          NY         10909100         WEITZ & LUXENBERG, PC
MARTIN               MICHAEL               NY         01111228         WEITZ & LUXENBERG, PC                                MARTORANA            ANNA MARIE            NY         11211800         WEITZ & LUXENBERG, PC
MARTIN               MILLARD L             NY         12668502         WEITZ & LUXENBERG, PC                                MARTORANA            BEN R                 NY         10343601         WEITZ & LUXENBERG, PC
MARTIN               MILLARD L             NY         10334403         WEITZ & LUXENBERG, PC                                MARTORANA            CARMEN P              NY         11211800         WEITZ & LUXENBERG, PC
MARTIN               NICOLE J              NY         99101738         WEITZ & LUXENBERG, PC                                MARTUSCELLO          MARY                  NY         10729300         WEITZ & LUXENBERG, PC
MARTIN               NORMAN BERNARD        NY         CV025685         WEITZ & LUXENBERG, PC                                MARTUSCELLO          RUDOLF                NY         10729300         WEITZ & LUXENBERG, PC
MARTIN               PATRICIA              NY         01CIV3901        WEITZ & LUXENBERG, PC                                MARTYKA              MARY PATRICIA         NY         10907400         WEITZ & LUXENBERG, PC
MARTIN               PAUL                  NY         10908100         WEITZ & LUXENBERG, PC                                MARTYKA              STANLEY J             NY         10907400         WEITZ & LUXENBERG, PC
MARTIN               PAULA C               NY         11622004         WEITZ & LUXENBERG, PC                                MARUSA               BETTY                 NY         1902402014       WEITZ & LUXENBERG, PC
MARTIN               PETER M               NY         12039001         WEITZ & LUXENBERG, PC                                MARUSA               BETTY                 NY         1904332014       WEITZ & LUXENBERG, PC
MARTIN               RAYMOND H             NY         11327902         WEITZ & LUXENBERG, PC                                MARUSA               VINCENT T             NY         1902402014       WEITZ & LUXENBERG, PC
MARTIN               RETA H                NY         10669102         WEITZ & LUXENBERG, PC                                MARUSA               VINCENT T             NY         1904332014       WEITZ & LUXENBERG, PC
MARTIN               RICHARD J             NY         10669102         WEITZ & LUXENBERG, PC                                MARVIN               JOHN N                NY         10740402         WEITZ & LUXENBERG, PC
MARTIN               ROBERT                NY         02106709         WEITZ & LUXENBERG, PC                                MARWIN               ERNEST                NY         10289901         WEITZ & LUXENBERG, PC
MARTIN               ROBERT P              NY         0008602016       WEITZ & LUXENBERG, PC                                MARX                 DIANA                 NY         10907300         WEITZ & LUXENBERG, PC
MARTIN               ROGER M               NY         10716702         WEITZ & LUXENBERG, PC                                MARX                 JAMES R               NY         10343701         WEITZ & LUXENBERG, PC
MARTIN               RONALD G              NY         CV013899         WEITZ & LUXENBERG, PC                                MARX                 KENNETH C             NY         10907300         WEITZ & LUXENBERG, PC
MARTIN               ROSEMARY              NY         01111224         WEITZ & LUXENBERG, PC                                MARX                 MARY ANN              NY         10343701         WEITZ & LUXENBERG, PC
MARTIN               RUTH                  NY         11026802         WEITZ & LUXENBERG, PC                                MARYN                GLORIA A              NY         1902612019       WEITZ & LUXENBERG, PC
MARTIN               STEVEN E              NY         1902382015       WEITZ & LUXENBERG, PC                                MARZANO              PHILOMENA             NY         11696804         WEITZ & LUXENBERG, PC
MARTIN               TJ                    NY         CV025685         WEITZ & LUXENBERG, PC                                MARZANO              VINCENT M             NY         11696804         WEITZ & LUXENBERG, PC
MARTIN               THOMAS R              NY         1904002014       WEITZ & LUXENBERG, PC                                MARZELLO             RICHARD               NY         10343801         WEITZ & LUXENBERG, PC
MARTIN               WALTER ABLE           NY         00CIV3589        WEITZ & LUXENBERG, PC                                MARZULLO             ANTOINETTE            NY         10729400         WEITZ & LUXENBERG, PC
MARTIN               WILLIAM F             NY         11871001         WEITZ & LUXENBERG, PC                                MARZULLO             CARMELO M             NY         10710102         WEITZ & LUXENBERG, PC
MARTIN               WILLIAM F             NY         01111233         WEITZ & LUXENBERG, PC                                MARZULLO             CARMELO M             NY         11966202         WEITZ & LUXENBERG, PC
MARTIN               WILLIAM M             NY         99101738         WEITZ & LUXENBERG, PC                                MARZULLO             DAVID                 NY         10710102         WEITZ & LUXENBERG, PC
MARTINDALE           MICHAEL MONROE        NY         CV025685         WEITZ & LUXENBERG, PC                                MARZULLO             DAVID                 NY         11966202         WEITZ & LUXENBERG, PC
MARTINDALE           PATTY                 NY         CV025685         WEITZ & LUXENBERG, PC                                MARZULLO             DOMINIC               NY         10729400         WEITZ & LUXENBERG, PC
MARTINEAU            MALCOLM A             NY         10680802         WEITZ & LUXENBERG, PC                                MARZULLO             JAMES                 NY         10907200         WEITZ & LUXENBERG, PC
MARTINEAU            PHILLIS C             NY         10680802         WEITZ & LUXENBERG, PC                                MARZULLO             ROSE                  NY         10907200         WEITZ & LUXENBERG, PC
MARTINELLI           DOLORES               NY         10907800         WEITZ & LUXENBERG, PC                                MARZULLO             SANTA                 NY         10710102         WEITZ & LUXENBERG, PC
MARTINELLI           EDWARD                NY         10908000         WEITZ & LUXENBERG, PC                                MARZULLO             SANTA                 NY         11966202         WEITZ & LUXENBERG, PC
MARTINELLI           JOSEPH                NY         10907800         WEITZ & LUXENBERG, PC                                MASCI                GLORIA                NY         02107004         WEITZ & LUXENBERG, PC
MARTINELLI           JOSEPHINE             NY         10908000         WEITZ & LUXENBERG, PC                                MASCI                RAYMOND               NY         02107004         WEITZ & LUXENBERG, PC
MARTINEN             JENS                  NY         99120306         WEITZ & LUXENBERG, PC                                MASELLI              LILLIAN               NY         11977001         WEITZ & LUXENBERG, PC
MARTINEN             RUTH                  NY         99120306         WEITZ & LUXENBERG, PC                                MASELLI              LILLIAN               NY         11123201         WEITZ & LUXENBERG, PC
MARTINEZ             ALBA                  NY         1902082019       WEITZ & LUXENBERG, PC                                MASELLI              VICTOR W              NY         11977001         WEITZ & LUXENBERG, PC
MARTINEZ             ANTHONY               NY         99120118         WEITZ & LUXENBERG, PC                                MASELLI              VICTOR W              NY         11123201         WEITZ & LUXENBERG, PC
MARTINEZ             BOLIVAR               NY         10219305         WEITZ & LUXENBERG, PC                                MASHBURN             DONNA L               NY         11159205         WEITZ & LUXENBERG, PC
MARTINEZ             CASTO R               NY         99120325         WEITZ & LUXENBERG, PC                                MASHBURN             ROBERT G              NY         11159205         WEITZ & LUXENBERG, PC
MARTINEZ             EDDIE                 NY         10049106         WEITZ & LUXENBERG, PC                                MASHUTA              ALEXANDER             NY         10496402         WEITZ & LUXENBERG, PC
MARTINEZ             EDITH                 NY         11211700         WEITZ & LUXENBERG, PC                                MASHUTA              ANNE                  NY         10496402         WEITZ & LUXENBERG, PC
MARTINEZ             ENRIQUE               NY         12433902         WEITZ & LUXENBERG, PC                                MASHUTA              FLORENCE              NY         10343901         WEITZ & LUXENBERG, PC
MARTINEZ             FRANK                 NY         10001499         WEITZ & LUXENBERG, PC                                MASHUTA              GEORGE                NY         10343901         WEITZ & LUXENBERG, PC
MARTINEZ             IRMAYAMEZ             NY         12433902         WEITZ & LUXENBERG, PC                                MASIELLO             MARCELLA J            NY         12433902         WEITZ & LUXENBERG, PC
MARTINEZ             JAMES R               NY         1902082019       WEITZ & LUXENBERG, PC                                MASIELLO             SAMUEL J              NY         12433902         WEITZ & LUXENBERG, PC
MARTINEZ             JOSE                  NY         02113566         WEITZ & LUXENBERG, PC                                MASOCCO              LARRY G               NY         8079132019       WEITZ & LUXENBERG, PC
MARTINEZ             JOSE                  NY         CV013921         WEITZ & LUXENBERG, PC                                MASOCCO              SHARON                NY         8079132019       WEITZ & LUXENBERG, PC
MARTINEZ             JULIA                 NY         99120325         WEITZ & LUXENBERG, PC                                MASOCCO              SHARON                NY         10722102         WEITZ & LUXENBERG, PC
MARTINEZ             MARIA R               NY         12039301         WEITZ & LUXENBERG, PC                                MASOCCO              SHARON                NY         11313902         WEITZ & LUXENBERG, PC
MARTINEZ             MARIA R               NY         10368702         WEITZ & LUXENBERG, PC                                MASON                DONNA                 NY         10344001         WEITZ & LUXENBERG, PC
MARTINEZ             PATRICE LYNN          NY         10049106         WEITZ & LUXENBERG, PC                                MASON                GARY G                NY         10344001         WEITZ & LUXENBERG, PC
MARTINEZ             PERCIDA               NY         10219305         WEITZ & LUXENBERG, PC                                MASON                GEORGE P              NY         11026902         WEITZ & LUXENBERG, PC
MARTINEZ             ROBERT                NY         01111227         WEITZ & LUXENBERG, PC                                MASON                GEORGE P              NY         12673202         WEITZ & LUXENBERG, PC
MARTINEZ             ROSE                  NY         10001499         WEITZ & LUXENBERG, PC                                MASON                GERALD E              NY         CV025685         WEITZ & LUXENBERG, PC
MARTINEZ             SOCRATES              NY         10343501         WEITZ & LUXENBERG, PC                                MASON                HERBERT A             NY         02107007         WEITZ & LUXENBERG, PC
MARTINEZ             VICTOR M              NY         11211700         WEITZ & LUXENBERG, PC                                MASON                HERBERT A             NY         11533702         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 994
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 329 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MASON                LAWRENCE J            NY         02107007         WEITZ & LUXENBERG, PC                                MATA                 ROBERT                NY         10809502         WEITZ & LUXENBERG, PC
MASON                LAWRENCE J            NY         11533702         WEITZ & LUXENBERG, PC                                MATACALE             ROBERT L              NY         11838000         WEITZ & LUXENBERG, PC
MASON                MARY ANN              NY         10005199         WEITZ & LUXENBERG, PC                                MATACALE             ROSE ANN              NY         11838000         WEITZ & LUXENBERG, PC
MASON                PRISCILLA             NY         11303699         WEITZ & LUXENBERG, PC                                MATARAZZO            ALAN S                NY         10740502         WEITZ & LUXENBERG, PC
MASON                RONALD LEE            NY         12668702         WEITZ & LUXENBERG, PC                                MATARAZZO            ALAN S                NY         11415302         WEITZ & LUXENBERG, PC
MASON                RUTH MARIE            NY         02107007         WEITZ & LUXENBERG, PC                                MATARAZZO            JAMES P               NY         10740502         WEITZ & LUXENBERG, PC
MASON                RUTH MARIE            NY         11533702         WEITZ & LUXENBERG, PC                                MATARAZZO            JAMES P               NY         11415302         WEITZ & LUXENBERG, PC
MASON                THOMAS                NY         10005199         WEITZ & LUXENBERG, PC                                MATAS                BRUNO                 NY         10760600         WEITZ & LUXENBERG, PC
MASON                THOMAS E              NY         10700002         WEITZ & LUXENBERG, PC                                MATELA               JANE                  NY         10571702         WEITZ & LUXENBERG, PC
MASSA                DANIEL J              NY         12218999         WEITZ & LUXENBERG, PC                                MATELA               JOHN J                NY         10571702         WEITZ & LUXENBERG, PC
MASSA                FRANK J               NY         10871401         WEITZ & LUXENBERG, PC                                MATESIC              DIANA                 NY         12168500         WEITZ & LUXENBERG, PC
MASSA                LORAINE               NY         02106508         WEITZ & LUXENBERG, PC                                MATESIC              DOMENIC               NY         12168500         WEITZ & LUXENBERG, PC
MASSA                LORAINE               NY         11076602         WEITZ & LUXENBERG, PC                                MATEUS               JUANA                 NY         10023403         WEITZ & LUXENBERG, PC
MASSA                LOUIS P               NY         02106508         WEITZ & LUXENBERG, PC                                MATEUS               MANUEL                NY         10023403         WEITZ & LUXENBERG, PC
MASSA                LOUIS P               NY         11076602         WEITZ & LUXENBERG, PC                                MATHESON             ELENA                 NY         01111225         WEITZ & LUXENBERG, PC
MASSA                MARION BARBARA        NY         10871401         WEITZ & LUXENBERG, PC                                MATHESON             RAYMOND               NY         01111225         WEITZ & LUXENBERG, PC
MASSA                MAUREEN               NY         12218999         WEITZ & LUXENBERG, PC                                MATHEW               CARL C                NY         10729600         WEITZ & LUXENBERG, PC
MASSARI              CARLO                 NY         10759400         WEITZ & LUXENBERG, PC                                MATHEWS              CHARLES EDWARD        NY         CV022500         WEITZ & LUXENBERG, PC
MASSARI              CHERYL                NY         10759400         WEITZ & LUXENBERG, PC                                MATHEWS              DONNA                 NY         01111224         WEITZ & LUXENBERG, PC
MASSARO              JOSEPH F              NY         10175800         WEITZ & LUXENBERG, PC                                MATHEWS              GILBERT               NY         01111224         WEITZ & LUXENBERG, PC
MASSARO              JOSEPH F              NY         99125768         WEITZ & LUXENBERG, PC                                MATHEWS              LOUIS                 NY         1902342012       WEITZ & LUXENBERG, PC
MASSARO              JOSEPH G              NY         10175800         WEITZ & LUXENBERG, PC                                MATHEWS              LOUISE                NY         1902342012       WEITZ & LUXENBERG, PC
MASSARO              JOSEPH G              NY         99125768         WEITZ & LUXENBERG, PC                                MATHEWS              SAMUEL T              NY         1902342012       WEITZ & LUXENBERG, PC
MASSEY               BETTY BLONDELL        NY         CV025685         WEITZ & LUXENBERG, PC                                MATHIS               ALVIN D               NY         CV011549         WEITZ & LUXENBERG, PC
MASSEY               CAROLYN               NY         CV025685         WEITZ & LUXENBERG, PC                                MATHIS               JOHN L                NY         10943100         WEITZ & LUXENBERG, PC
MASSEY               FRANKLIN D            NY         CV025685         WEITZ & LUXENBERG, PC                                MATHIS               JUDITH L              NY         10943100         WEITZ & LUXENBERG, PC
MASSEY               HUEY                  NY         CV025685         WEITZ & LUXENBERG, PC                                MATHIS               MARTHA                NY         CV015719         WEITZ & LUXENBERG, PC
MASSEY               WILLIAM L             NY         CV017579         WEITZ & LUXENBERG, PC                                MATHIS               MELVIN                NY         CV015719         WEITZ & LUXENBERG, PC
MASTANTUONO          CAROL                 NY         10344301         WEITZ & LUXENBERG, PC                                MATHISEN             THOMAS                NY         10008703         WEITZ & LUXENBERG, PC
MASTANTUONO          SALVATORE             NY         10344301         WEITZ & LUXENBERG, PC                                MATHISON             GLORIA                NY         11765101         WEITZ & LUXENBERG, PC
MASTELLONE           MARIE                 NY         10760100         WEITZ & LUXENBERG, PC                                MATHISON             HAROLD R              NY         11765101         WEITZ & LUXENBERG, PC
MASTELLONE           VINCENT               NY         10760100         WEITZ & LUXENBERG, PC                                MATOTT               KAREN ANN             NY         10049199         WEITZ & LUXENBERG, PC
MASTENBROOK          ROBERT FLOYD          NY         10670402         WEITZ & LUXENBERG, PC                                MATOTT               RICHARD               NY         10049199         WEITZ & LUXENBERG, PC
MASTENBROOK          ROBERT FLOYD          NY         11035002         WEITZ & LUXENBERG, PC                                MATOUSEK             BERNADETTE            NY         10762000         WEITZ & LUXENBERG, PC
MASTENBROOK          VERA                  NY         10670402         WEITZ & LUXENBERG, PC                                MATOUSEK             ROBERT                NY         10762000         WEITZ & LUXENBERG, PC
MASTENBROOK          VERA                  NY         11035002         WEITZ & LUXENBERG, PC                                MATRISCIANO          GERALDINE             NY         1901152013       WEITZ & LUXENBERG, PC
MASTERS              DANIEL J              NY         10710102         WEITZ & LUXENBERG, PC                                MATRISCIANO          JOSEPH                NY         1901152013       WEITZ & LUXENBERG, PC
MASTERS              HOLLY                 NY         10710102         WEITZ & LUXENBERG, PC                                MATROS               FREDERICK H           NY         11976901         WEITZ & LUXENBERG, PC
MASTERSON            CHARLES V             NY         11051003         WEITZ & LUXENBERG, PC                                MATROS               FREDERICK H           NY         11123201         WEITZ & LUXENBERG, PC
MASTERSON            DONALD                NY         10134807         WEITZ & LUXENBERG, PC                                MATROS               JEANNE                NY         11976901         WEITZ & LUXENBERG, PC
MASTERSON            EDWARD                NY         10403702         WEITZ & LUXENBERG, PC                                MATROS               JEANNE                NY         11123201         WEITZ & LUXENBERG, PC
MASTERSON            FRANCIS J             NY         12172597         WEITZ & LUXENBERG, PC                                MATTE                JOSEPH                NY         10049399         WEITZ & LUXENBERG, PC
MASTERSON            JOAN                  NY         11051003         WEITZ & LUXENBERG, PC                                MATTE                JOSEPH M              NY         99100612         WEITZ & LUXENBERG, PC
MASTERSON            ROBERT E              NY         12172597         WEITZ & LUXENBERG, PC                                MATTE                LORETTA               NY         10049399         WEITZ & LUXENBERG, PC
MASTERSON            RUTH D                NY         10134807         WEITZ & LUXENBERG, PC                                MATTE                NAN                   NY         99100612         WEITZ & LUXENBERG, PC
MASTORCOLA           LOUIS                 NY         10760000         WEITZ & LUXENBERG, PC                                MATTEO               ANTONIO               NY         11295202         WEITZ & LUXENBERG, PC
MASTORCOLA           LUCY                  NY         10760000         WEITZ & LUXENBERG, PC                                MATTEO               FRANCES               NY         11073901         WEITZ & LUXENBERG, PC
MASTRANGELO          GLORIA                NY         10919504         WEITZ & LUXENBERG, PC                                MATTEO               MARIE J               NY         11295202         WEITZ & LUXENBERG, PC
MASTRANGELO          NICHOLAS              NY         10919504         WEITZ & LUXENBERG, PC                                MATTEO               MICHAEL               NY         11073901         WEITZ & LUXENBERG, PC
MASTRANTUONO         JOSEPH J              NY         11212000         WEITZ & LUXENBERG, PC                                MATTEO               PALMA                 NY         10761900         WEITZ & LUXENBERG, PC
MASTRANTUONO         LOUISE                NY         11212000         WEITZ & LUXENBERG, PC                                MATTEO               ROBERT A              NY         10761900         WEITZ & LUXENBERG, PC
MASTRIANNI           GAYLE MARIE           NY         02106690         WEITZ & LUXENBERG, PC                                MATTEO               WILLIAM               NY         10761900         WEITZ & LUXENBERG, PC
MASTRIANNI           VINCENT               NY         02106690         WEITZ & LUXENBERG, PC                                MATTERESE            JOHN L                NY         10587502         WEITZ & LUXENBERG, PC
MASTRION             JOHN J                NY         12039201         WEITZ & LUXENBERG, PC                                MATTERESE            TIODOSIA              NY         10587502         WEITZ & LUXENBERG, PC
MASTRION             ROSE                  NY         12039201         WEITZ & LUXENBERG, PC                                MATTERS              CARMELLA              NY         10761800         WEITZ & LUXENBERG, PC
MASTROIANNI          FERDINANDO            NY         10760900         WEITZ & LUXENBERG, PC                                MATTERS              GEORGE A              NY         10761800         WEITZ & LUXENBERG, PC
MASTROIANNI          MARGHERTIA            NY         10760900         WEITZ & LUXENBERG, PC                                MATTES               BENJAMIN              NY         10526605         WEITZ & LUXENBERG, PC
MASTROIANNI          MARIA                 NY         10760800         WEITZ & LUXENBERG, PC                                MATTES               FREDERICK             NY         10526605         WEITZ & LUXENBERG, PC
MASTROIANNI          VINCENZO              NY         10760800         WEITZ & LUXENBERG, PC                                MATTES               LILLIAN               NY         10526605         WEITZ & LUXENBERG, PC
MASTROMANO           ROBERT CIRO           NY         12100401         WEITZ & LUXENBERG, PC                                MATTESON             BETTIE A              NY         10761600         WEITZ & LUXENBERG, PC
MASTROMANO           ROBERT CIRO           NY         10603502         WEITZ & LUXENBERG, PC                                MATTESON             CLAIR D JR            NY         10761600         WEITZ & LUXENBERG, PC
MASTROMANO           ROSE                  NY         12100401         WEITZ & LUXENBERG, PC                                MATTESON             DONALD E              NY         10761700         WEITZ & LUXENBERG, PC
MASTROMANO           ROSE                  NY         10603502         WEITZ & LUXENBERG, PC                                MATTESON             LINDA C               NY         10761700         WEITZ & LUXENBERG, PC
MASTROMARINO         ALEXANDER E           NY         99100492         WEITZ & LUXENBERG, PC                                MATTES-SCHWARTZ      SANDRA                NY         10526605         WEITZ & LUXENBERG, PC
MASTROMARINO         EDWARD                NY         99100492         WEITZ & LUXENBERG, PC                                MATTHAEI             DORIS                 NY         11369604         WEITZ & LUXENBERG, PC
MASTROMARINO         FLORENCE              NY         99100492         WEITZ & LUXENBERG, PC                                MATTHAEI             EDWARD                NY         11369604         WEITZ & LUXENBERG, PC
MASTROSERIO          ANNA                  NY         10760700         WEITZ & LUXENBERG, PC                                MATTHEWS             CAROL J               NY         1902812013       WEITZ & LUXENBERG, PC
MASTROSERIO          ROCCO                 NY         10760700         WEITZ & LUXENBERG, PC                                MATTHEWS             EDDIE G               NY         CV018467         WEITZ & LUXENBERG, PC
MASULLO              ANGELINA              NY         11109706         WEITZ & LUXENBERG, PC                                MATTHEWS             HAZEL                 NY         CV018467         WEITZ & LUXENBERG, PC
MASULLO              PASQUALE              NY         11109706         WEITZ & LUXENBERG, PC                                MATTHEWS             HOWARD D              NY         10344501         WEITZ & LUXENBERG, PC
MATA                 MARY                  NY         10809502         WEITZ & LUXENBERG, PC                                MATTHEWS             JAMES                 NY         CV025685         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 995
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 330 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MATTHEWS             MARY                  NY         CV025685         WEITZ & LUXENBERG, PC                                MAY                  MARILYN A             NY         11332702         WEITZ & LUXENBERG, PC
MATTHEWS             RONALD V              NY         1900692015       WEITZ & LUXENBERG, PC                                MAY                  ROBERT E              NY         CV014227         WEITZ & LUXENBERG, PC
MATTHEWS             RONNIE H              NY         10344501         WEITZ & LUXENBERG, PC                                MAY                  SADIE F               NY         CV013090         WEITZ & LUXENBERG, PC
MATTHEWS             ROSE                  NY         1900692015       WEITZ & LUXENBERG, PC                                MAY                  TERRY                 NY         12788802         WEITZ & LUXENBERG, PC
MATTHEWS             WILBUR L              NY         CV021466         WEITZ & LUXENBERG, PC                                MAY                  WILLIAM               NY         02117539         WEITZ & LUXENBERG, PC
MATTHIE              BRIDGET A             NY         02105716         WEITZ & LUXENBERG, PC                                MAYDICH              HELEN                 NY         10211507         WEITZ & LUXENBERG, PC
MATTHIE              BRIDGET A             NY         11166402         WEITZ & LUXENBERG, PC                                MAYDICH              ROBERT LAURANCE       NY         10211507         WEITZ & LUXENBERG, PC
MATTICE              KATHERINE             NY         10344601         WEITZ & LUXENBERG, PC                                MAYE                 FRANK G               NY         10387101         WEITZ & LUXENBERG, PC
MATTICE              RICHARD               NY         10344601         WEITZ & LUXENBERG, PC                                MAYER                ETHEL                 NY         1902502012       WEITZ & LUXENBERG, PC
MATTICE              WILLIAM F             NY         10696402         WEITZ & LUXENBERG, PC                                MAYER                IDA                   NY         12039101         WEITZ & LUXENBERG, PC
MATTIELLI            FANNIE                NY         10954404         WEITZ & LUXENBERG, PC                                MAYER                IDA                   NY         10428602         WEITZ & LUXENBERG, PC
MATTIELLI            LOUIS                 NY         10954404         WEITZ & LUXENBERG, PC                                MAYER                JAMES K               NY         1902502012       WEITZ & LUXENBERG, PC
MATTISON             DALE W                NY         11660804         WEITZ & LUXENBERG, PC                                MAYER                LEO                   NY         10345001         WEITZ & LUXENBERG, PC
MATTISON             EDWARD L              NY         10761500         WEITZ & LUXENBERG, PC                                MAYER                ROBERT                NY         12039101         WEITZ & LUXENBERG, PC
MATTISON             EDWARD L SR           NY         10761500         WEITZ & LUXENBERG, PC                                MAYER                ROBERT                NY         10428602         WEITZ & LUXENBERG, PC
MATTISON             JUNE                  NY         10761500         WEITZ & LUXENBERG, PC                                MAYER                ROBERT J              NY         12039101         WEITZ & LUXENBERG, PC
MATTISON             LARRY EUGENE          NY         02106707         WEITZ & LUXENBERG, PC                                MAYER                ROBERT J              NY         10428602         WEITZ & LUXENBERG, PC
MATTLE               FAY ANN               NY         10762900         WEITZ & LUXENBERG, PC                                MAYERS               BERNICE               NY         10722202         WEITZ & LUXENBERG, PC
MATTLE               JOSEPH                NY         10762900         WEITZ & LUXENBERG, PC                                MAYERS               FLOYD                 NY         10722202         WEITZ & LUXENBERG, PC
MATTONI              HELEN                 NY         10344701         WEITZ & LUXENBERG, PC                                MAYERS               MARIAN                NY         11212100         WEITZ & LUXENBERG, PC
MATTONI              VINCENT D             NY         10344701         WEITZ & LUXENBERG, PC                                MAYERS               WILLIAM L             NY         11212100         WEITZ & LUXENBERG, PC
MATULA               MARIAN                NY         10762800         WEITZ & LUXENBERG, PC                                MAYFIELD             ARTHUR E              NY         1900692017       WEITZ & LUXENBERG, PC
MATULA               PAUL GEORGE           NY         10762800         WEITZ & LUXENBERG, PC                                MAYFIELD             FAYE                  NY         CV025685         WEITZ & LUXENBERG, PC
MAUCERI              JOACHIM               NY         02106690         WEITZ & LUXENBERG, PC                                MAYFIELD             JIMMY DOYCE           NY         CV025685         WEITZ & LUXENBERG, PC
MAULTHROP            CAROLE                NY         10344801         WEITZ & LUXENBERG, PC                                MAYO                 ANDREW                NY         19004410         WEITZ & LUXENBERG, PC
MAULTHROP            EARL                  NY         10344801         WEITZ & LUXENBERG, PC                                MAYO                 SHIRLEY               NY         19004410         WEITZ & LUXENBERG, PC
MAUNEY               CECIL RAY             NY         CV017890         WEITZ & LUXENBERG, PC                                MAYONE               CHARLES               NY         10345101         WEITZ & LUXENBERG, PC
MAUNEY               WILMA                 NY         CV017890         WEITZ & LUXENBERG, PC                                MAYONE               HELEN                 NY         10345101         WEITZ & LUXENBERG, PC
MAURICE              BENJAMIN              NY         02100353         WEITZ & LUXENBERG, PC                                MAYS                 BILL R                NY         01CIV3901        WEITZ & LUXENBERG, PC
MAURO                ANGLEO                NY         01111224         WEITZ & LUXENBERG, PC                                MAYS                 FLORA                 NY         CV025685         WEITZ & LUXENBERG, PC
MAURO                ANTHONY               NY         10344901         WEITZ & LUXENBERG, PC                                MAYS                 JOANN                 NY         CV025685         WEITZ & LUXENBERG, PC
MAURO                CATERINA              NY         01111224         WEITZ & LUXENBERG, PC                                MAYS                 LAWRENCE EDWARD       NY         CV025685         WEITZ & LUXENBERG, PC
MAURO                JERRY                 NY         10729800         WEITZ & LUXENBERG, PC                                MAYS                 MARVIN LEE            NY         CV025685         WEITZ & LUXENBERG, PC
MAURO                SALLY                 NY         10344901         WEITZ & LUXENBERG, PC                                MAYS                 PATSY                 NY         01CIV3901        WEITZ & LUXENBERG, PC
MAVER                ELISABETH             NY         12322901         WEITZ & LUXENBERG, PC                                MAYVILLE             DONNA REED            NY         10680602         WEITZ & LUXENBERG, PC
MAVER                WILLIAM               NY         12322901         WEITZ & LUXENBERG, PC                                MAYVILLE             JEFFREY A             NY         10680602         WEITZ & LUXENBERG, PC
MAVROGIORGIS         HELEN                 NY         10934102         WEITZ & LUXENBERG, PC                                MAYWALT              JOAN                  NY         10587202         WEITZ & LUXENBERG, PC
MAVROGIORGIS         STELIOS               NY         10934102         WEITZ & LUXENBERG, PC                                MAYWALT              PAUL J                NY         10587202         WEITZ & LUXENBERG, PC
MAXEY                DUGAN C               NY         CV014581         WEITZ & LUXENBERG, PC                                MAZEIKA              FRAN                  NY         02106508         WEITZ & LUXENBERG, PC
MAXEY                SUE                   NY         CV014581         WEITZ & LUXENBERG, PC                                MAZEIKA              PETER                 NY         02106508         WEITZ & LUXENBERG, PC
MAXFIELD             SUSAN                 NY         10700002         WEITZ & LUXENBERG, PC                                MAZELLA              FRANK                 NY         12032499         WEITZ & LUXENBERG, PC
MAXFIELD             WARREN HENRY          NY         10700002         WEITZ & LUXENBERG, PC                                MAZELLA              FRANK                 NY         I200110576       WEITZ & LUXENBERG, PC
MAXON                CLAUDE W              NY         11027002         WEITZ & LUXENBERG, PC                                MAZIERSKI            FRANCIS J             NY         11838100         WEITZ & LUXENBERG, PC
MAXON                PAUL J                NY         02107099         WEITZ & LUXENBERG, PC                                MAZIERSKI            LORETTA               NY         11838100         WEITZ & LUXENBERG, PC
MAXON                SHARON                NY         02107099         WEITZ & LUXENBERG, PC                                MAZUR                DOROTHY               NY         10759600         WEITZ & LUXENBERG, PC
MAXWELL              ANNA RAYE             NY         CV025685         WEITZ & LUXENBERG, PC                                MAZUR                EDWARD                NY         10759600         WEITZ & LUXENBERG, PC
MAXWELL              CONSTANCE             NY         12218999         WEITZ & LUXENBERG, PC                                MAZUR                EDWARD M              NY         10759500         WEITZ & LUXENBERG, PC
MAXWELL              FRANCES L             NY         12039801         WEITZ & LUXENBERG, PC                                MAZUR                HELENA                NY         1901922012       WEITZ & LUXENBERG, PC
MAXWELL              FRANCES L             NY         10480602         WEITZ & LUXENBERG, PC                                MAZUR                KATHLEEN              NY         10759500         WEITZ & LUXENBERG, PC
MAXWELL              JAMES OSCAR           NY         CV017742         WEITZ & LUXENBERG, PC                                MAZUR                LEONARD               NY         12668202         WEITZ & LUXENBERG, PC
MAXWELL              KENNETH W             NY         12218999         WEITZ & LUXENBERG, PC                                MAZUR                RICHARD EDWARD        NY         10571702         WEITZ & LUXENBERG, PC
MAXWELL              LINDA                 NY         CV017742         WEITZ & LUXENBERG, PC                                MAZURKEVITCH         MARGARET W            NY         10345201         WEITZ & LUXENBERG, PC
MAXWELL              RALPH                 NY         12347900         WEITZ & LUXENBERG, PC                                MAZURKEVITCH         VINCENT JAMES         NY         10345201         WEITZ & LUXENBERG, PC
MAXWELL              WILLIAM A             NY         12039801         WEITZ & LUXENBERG, PC                                MAZURKIEWICZ         IRENE                 NY         10716902         WEITZ & LUXENBERG, PC
MAXWELL              WILLIAM A             NY         10480602         WEITZ & LUXENBERG, PC                                MAZURKIEWICZ         IRENE                 NY         11214602         WEITZ & LUXENBERG, PC
MAXWELL              WILLIAM B             NY         02107099         WEITZ & LUXENBERG, PC                                MAZURKIEWICZ         JOSEPH F              NY         10716902         WEITZ & LUXENBERG, PC
MAXWELL              WILLIAM GEORGE        NY         CV025685         WEITZ & LUXENBERG, PC                                MAZURKIEWICZ         JOSEPH F              NY         11214602         WEITZ & LUXENBERG, PC
MAY                  CARMEN                NY         10759700         WEITZ & LUXENBERG, PC                                MAZUROWSKI           NANCY J               NY         11212200         WEITZ & LUXENBERG, PC
MAY                  CLIFTON               NY         01CIV3901        WEITZ & LUXENBERG, PC                                MAZUROWSKI           STEFAN L              NY         11212200         WEITZ & LUXENBERG, PC
MAY                  DONALD                NY         10740202         WEITZ & LUXENBERG, PC                                MAZZA                CLAUDE                NY         10760400         WEITZ & LUXENBERG, PC
MAY                  DONALD                NY         11332702         WEITZ & LUXENBERG, PC                                MAZZA                MARILYN               NY         10760400         WEITZ & LUXENBERG, PC
MAY                  DOROTHY               NY         CV014227         WEITZ & LUXENBERG, PC                                MAZZEO               DOLORES               NY         10760300         WEITZ & LUXENBERG, PC
MAY                  GARLAND E             NY         CV025685         WEITZ & LUXENBERG, PC                                MAZZEO               PATSY JOSEPH          NY         10760300         WEITZ & LUXENBERG, PC
MAY                  JAMES H               NY         10716902         WEITZ & LUXENBERG, PC                                MAZZIE               CYNTHIA ELLEN         NY         12346401         WEITZ & LUXENBERG, PC
MAY                  JIMMY LEE             NY         10759700         WEITZ & LUXENBERG, PC                                MAZZIE               CYNTHIA ELLEN         NY         01111227         WEITZ & LUXENBERG, PC
MAY                  JOAN                  NY         10716902         WEITZ & LUXENBERG, PC                                MAZZIE               RONALD                NY         12346401         WEITZ & LUXENBERG, PC
MAY                  JOSEPH A              NY         12025599         WEITZ & LUXENBERG, PC                                MAZZIE               RONALD                NY         01111227         WEITZ & LUXENBERG, PC
MAY                  LESTER A              NY         CV013090         WEITZ & LUXENBERG, PC                                MAZZIOTTA            MARY JANE             NY         01111236         WEITZ & LUXENBERG, PC
MAY                  LOTTIE                NY         CV025685         WEITZ & LUXENBERG, PC                                MAZZIOTTA            THOMAS                NY         01111236         WEITZ & LUXENBERG, PC
MAY                  MARGARET              NY         02117539         WEITZ & LUXENBERG, PC                                MAZZIOTTI            MARY                  NY         CV025619         WEITZ & LUXENBERG, PC
MAY                  MARILYN A             NY         10740202         WEITZ & LUXENBERG, PC                                MAZZIOTTI            VINCENT               NY         CV025619         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 996
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 331 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MAZZOBEL             ANNELIES              NY         10760200         WEITZ & LUXENBERG, PC                                MC COLGAN            DONALD                NY         CV025620         WEITZ & LUXENBERG, PC
MAZZOBEL             ROMEO                 NY         10760200         WEITZ & LUXENBERG, PC                                MC COMISKEY          ALBERTA               NY         1121000          WEITZ & LUXENBERG, PC
MAZZOCCHI            FRANCES               NY         19021310         WEITZ & LUXENBERG, PC                                MC COMISKEY          ROBERT G              NY         1121000          WEITZ & LUXENBERG, PC
MAZZOCCHI            JOHN                  NY         19021310         WEITZ & LUXENBERG, PC                                MC CONKEY            KENNETH               NY         10624603         WEITZ & LUXENBERG, PC
MAZZONE              NICK                  NY         11896802         WEITZ & LUXENBERG, PC                                MC CONKEY            NORMA                 NY         10624603         WEITZ & LUXENBERG, PC
MAZZULLO             JOHN A                NY         01108103         WEITZ & LUXENBERG, PC                                MC CORMACK           JOHN                  NY         01111225         WEITZ & LUXENBERG, PC
MC ALLISTER          JACQUELINE P          NY         12043301         WEITZ & LUXENBERG, PC                                MC CORMACK           JOHN                  NY         11809001         WEITZ & LUXENBERG, PC
MC ALLISTER          JACQUELINE P          NY         12417701         WEITZ & LUXENBERG, PC                                MC CORMICK           CARYN                 NY         10762100         WEITZ & LUXENBERG, PC
MC ALLISTER          JEFFERY J             NY         12043301         WEITZ & LUXENBERG, PC                                MC CORMICK           EDITH                 NY         02105716         WEITZ & LUXENBERG, PC
MC ALLISTER          JEFFERY J             NY         12417701         WEITZ & LUXENBERG, PC                                MC CORMICK           EDITH                 NY         10274602         WEITZ & LUXENBERG, PC
MC ALONEN            FRANCIS               NY         01111225         WEITZ & LUXENBERG, PC                                MC CORMICK           KELLY                 NY         CV042405         WEITZ & LUXENBERG, PC
MC ALONEN            RENATA                NY         01111225         WEITZ & LUXENBERG, PC                                MC CORMICK           KIT L                 NY         CV042405         WEITZ & LUXENBERG, PC
MC ANDREW            MARGARET TERESA       NY         10761400         WEITZ & LUXENBERG, PC                                MC CORMICK           PAUL                  NY         10762100         WEITZ & LUXENBERG, PC
MC ANDREW            MICHAEL J             NY         10761400         WEITZ & LUXENBERG, PC                                MC COY               HERBERT L             NY         10730300         WEITZ & LUXENBERG, PC
MC ANDREWS           JOSEPH                NY         10761300         WEITZ & LUXENBERG, PC                                MC COY               JOHN W                NY         10785000         WEITZ & LUXENBERG, PC
MC ANDREWS           LOUISE                NY         10761300         WEITZ & LUXENBERG, PC                                MC COY               RUTH ALBERTA          NY         10785000         WEITZ & LUXENBERG, PC
MC ARTHUR            JAMES W               NY         10587002         WEITZ & LUXENBERG, PC                                MC CRANE             JAMES V               NY         11327802         WEITZ & LUXENBERG, PC
MC ARTHUR            MARIE                 NY         10587002         WEITZ & LUXENBERG, PC                                MC CRANE             JUDITH                NY         11327802         WEITZ & LUXENBERG, PC
MC AULIFFE           DOUGLAS               NY         10761200         WEITZ & LUXENBERG, PC                                MC CRERY             NANCY                 NY         11210100         WEITZ & LUXENBERG, PC
MC AULIFFE           MARTIN                NY         12039801         WEITZ & LUXENBERG, PC                                MC CRERY             ROBERT V              NY         11210100         WEITZ & LUXENBERG, PC
MC AVAN              CLAUDIA               NY         10761100         WEITZ & LUXENBERG, PC                                MC CRUDDEN           MARGARET              NY         12038801         WEITZ & LUXENBERG, PC
MC AVAN              JERRY L               NY         10761100         WEITZ & LUXENBERG, PC                                MC CRUDDEN           OWEN JOSEPH           NY         12038801         WEITZ & LUXENBERG, PC
MC BRIDE             BURNELL D             NY         10716902         WEITZ & LUXENBERG, PC                                MC CULLOUGH          ELLEN                 NY         10784800         WEITZ & LUXENBERG, PC
MC BRIDE             MICHAEL               NY         10152005         WEITZ & LUXENBERG, PC                                MC CULLOUGH          GEORGE                NY         10784800         WEITZ & LUXENBERG, PC
MC BRIDE             PAULINE               NY         10152005         WEITZ & LUXENBERG, PC                                MC CULLOUGH          JAMES J               NY         10893304         WEITZ & LUXENBERG, PC
MC BRIDE             WANDA                 NY         10716902         WEITZ & LUXENBERG, PC                                MC CULLOUGH          JOAN A                NY         10893304         WEITZ & LUXENBERG, PC
MC CABE              ARTHUR X              NY         02106694         WEITZ & LUXENBERG, PC                                MC CULLOUGH          KENNETH W             NY         10587502         WEITZ & LUXENBERG, PC
MC CABE              JAMES E               NY         02106579         WEITZ & LUXENBERG, PC                                MC CULLOUGH          LINDA                 NY         10587502         WEITZ & LUXENBERG, PC
MC CABE              MARY N                NY         02106694         WEITZ & LUXENBERG, PC                                MC DERMOTT           BRENDAN               NY         12039501         WEITZ & LUXENBERG, PC
MC CABE              SHIRLEY A             NY         02106579         WEITZ & LUXENBERG, PC                                MC DERMOTT           IRIS                  NY         02106709         WEITZ & LUXENBERG, PC
MC CANN              EARL                  NY         10761000         WEITZ & LUXENBERG, PC                                MC DERMOTT           MARIE                 NY         12039501         WEITZ & LUXENBERG, PC
MC CANN              HENRY W               NY         11209900         WEITZ & LUXENBERG, PC                                MC DERMOTT           MICHAEL T             NY         02106709         WEITZ & LUXENBERG, PC
MC CANN              LEO E                 NY         02105713         WEITZ & LUXENBERG, PC                                MC DONALD            CLOTILDA              NY         02107102         WEITZ & LUXENBERG, PC
MC CANN              LEO E                 NY         11259502         WEITZ & LUXENBERG, PC                                MC DONALD            ELLEN                 NY         99100486         WEITZ & LUXENBERG, PC
MC CANN              LEO W                 NY         02105713         WEITZ & LUXENBERG, PC                                MC DONALD            JAMES W               NY         12788702         WEITZ & LUXENBERG, PC
MC CANN              LEO W                 NY         11259502         WEITZ & LUXENBERG, PC                                MC DONALD            JOHN                  NY         I20019674        WEITZ & LUXENBERG, PC
MC CANN              NOREEN                NY         11209900         WEITZ & LUXENBERG, PC                                MC DONALD            JOHN F                NY         10740302         WEITZ & LUXENBERG, PC
MC CANN              WILSON                NY         12668702         WEITZ & LUXENBERG, PC                                MC DONALD            JOSEPH PETER          NY         10784700         WEITZ & LUXENBERG, PC
MC CARRON            FRANK J               NY         12039501         WEITZ & LUXENBERG, PC                                MC DONALD            MARTHA J              NY         10669102         WEITZ & LUXENBERG, PC
MC CARRON            MARY                  NY         12039501         WEITZ & LUXENBERG, PC                                MC DONALD            NORINE T ROGERS       NY         I20019674        WEITZ & LUXENBERG, PC
MC CARTHY            BRIDGET ANN           NY         10762500         WEITZ & LUXENBERG, PC                                MC DONALD            PATRICK ARTHUR        NY         10669102         WEITZ & LUXENBERG, PC
MC CARTHY            DONALD H              NY         10105602         WEITZ & LUXENBERG, PC                                MC DONALD            ROBERT V              NY         02107102         WEITZ & LUXENBERG, PC
MC CARTHY            DONNA M               NY         10740002         WEITZ & LUXENBERG, PC                                MC DONALD            ROSEMARIE             NY         10740302         WEITZ & LUXENBERG, PC
MC CARTHY            EARL J                NY         10587402         WEITZ & LUXENBERG, PC                                MC DONNELL           DENNIS J              NY         10784600         WEITZ & LUXENBERG, PC
MC CARTHY            EARL J                NY         10991702         WEITZ & LUXENBERG, PC                                MC DONOUGH           EUGENE                NY         01111225         WEITZ & LUXENBERG, PC
MC CARTHY            GRACE                 NY         10762400         WEITZ & LUXENBERG, PC                                MC DONOUGH           GERALD                NY         11026702         WEITZ & LUXENBERG, PC
MC CARTHY            JOHN JOSEPH           NY         10762500         WEITZ & LUXENBERG, PC                                MC DOWELL            ANDREW                NY         02122049         WEITZ & LUXENBERG, PC
MC CARTHY            MARY ANN              NY         12173001         WEITZ & LUXENBERG, PC                                MC DOWELL            GEORGE W              NY         10722202         WEITZ & LUXENBERG, PC
MC CARTHY            PATRICIA              NY         10105602         WEITZ & LUXENBERG, PC                                MC DOWELL            GEORGE W              NY         11362402         WEITZ & LUXENBERG, PC
MC CARTHY            ROBERT PATRICK        NY         10762400         WEITZ & LUXENBERG, PC                                MC DOWELL            JAMES                 NY         02122049         WEITZ & LUXENBERG, PC
MC CARTHY            SHIRLEY               NY         10762300         WEITZ & LUXENBERG, PC                                MC DOWELL            JUNE R                NY         10722202         WEITZ & LUXENBERG, PC
MC CARTHY            THOMAS CHARLES        NY         110201           WEITZ & LUXENBERG, PC                                MC DOWELL            JUNE R                NY         11362402         WEITZ & LUXENBERG, PC
MC CARTHY            THOMAS CHARLES        NY         12448902         WEITZ & LUXENBERG, PC                                MC ELWAIN            BRUCE F               NY         10669102         WEITZ & LUXENBERG, PC
MC CASKILL           BARBARA               NY         10722002         WEITZ & LUXENBERG, PC                                MC ELWAIN            MARGERIE A            NY         10669102         WEITZ & LUXENBERG, PC
MC CASKILL           BENNIE                NY         10722002         WEITZ & LUXENBERG, PC                                MC ENTEE             EDWARD J              NY         10049499         WEITZ & LUXENBERG, PC
MC CAUGHAN           WILLIAM R             NY         10210303         WEITZ & LUXENBERG, PC                                MC ENTEE             JOHN                  NY         10049499         WEITZ & LUXENBERG, PC
MC CAW               GRAHAM R              NY         11976801         WEITZ & LUXENBERG, PC                                MC ENTEE             MARY                  NY         10049499         WEITZ & LUXENBERG, PC
MC CAW               GRAHAM R              NY         11123201         WEITZ & LUXENBERG, PC                                MC ENTEER            MADELINE              NY         10230503         WEITZ & LUXENBERG, PC
MC CAW               MARY                  NY         11976801         WEITZ & LUXENBERG, PC                                MC ENTYRE            EDNAMAE               NY         12322400         WEITZ & LUXENBERG, PC
MC CAW               MARY                  NY         11123201         WEITZ & LUXENBERG, PC                                MC ENTYRE            RONALD P              NY         12322400         WEITZ & LUXENBERG, PC
MC CLAIN             GEORGE D              NY         10035402         WEITZ & LUXENBERG, PC                                MC EVOY              WILLIAM E             NY         12038801         WEITZ & LUXENBERG, PC
MC CLAIN             HAROLD FRANCIS        NY         10696302         WEITZ & LUXENBERG, PC                                MC EVOY              WILLIAM E             NY         10628902         WEITZ & LUXENBERG, PC
MC CLAIN             HAROLD FRANCIS        NY         11197502         WEITZ & LUXENBERG, PC                                MC EWAN              PATRICIA              NY         01111225         WEITZ & LUXENBERG, PC
MC CLAIN             JOAN S                NY         11197502         WEITZ & LUXENBERG, PC                                MC EWAN              ROBERT C              NY         12788602         WEITZ & LUXENBERG, PC
MC CLATCHIE          CARLTON               NY         01111225         WEITZ & LUXENBERG, PC                                MC EWAN              ROBERT C              NY         10247603         WEITZ & LUXENBERG, PC
MC CLOSKEY           CHARLOTTE             NY         CV016522         WEITZ & LUXENBERG, PC                                MC EWAN              SHARON                NY         12788602         WEITZ & LUXENBERG, PC
MC CLOSKEY           EDWARD T              NY         10762200         WEITZ & LUXENBERG, PC                                MC EWAN              SHARON                NY         10247603         WEITZ & LUXENBERG, PC
MC CLOSKEY           MARY                  NY         10762200         WEITZ & LUXENBERG, PC                                MC EWAN              WILLIAM               NY         01111225         WEITZ & LUXENBERG, PC
MC CLOSKEY           PAUL                  NY         CV016522         WEITZ & LUXENBERG, PC                                MC EWEN              KAREN                 NY         11820298         WEITZ & LUXENBERG, PC
MC CLURE             PAUL STEPHENS         NY         CV022034         WEITZ & LUXENBERG, PC                                MC FADDEN            DOLORES               NY         11123101         WEITZ & LUXENBERG, PC
MC COLGAN            ANN                   NY         CV025620         WEITZ & LUXENBERG, PC                                MC FADDEN            STEPHEN JOHN          NY         11123101         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 997
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 332 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MC FALL              MARK B                NY         11033305         WEITZ & LUXENBERG, PC                                MC ILWAIN            DELPHINE              NY         11310402         WEITZ & LUXENBERG, PC
MC FARLAND           GLENN J               NY         10567402         WEITZ & LUXENBERG, PC                                MC INERNEY           CHRISTINA             NY         12039601         WEITZ & LUXENBERG, PC
MC FARLAND           HELEN                 NY         12039501         WEITZ & LUXENBERG, PC                                MC INERNEY           CHRISTINA             NY         10090403         WEITZ & LUXENBERG, PC
MC FARLAND           JAMES E               NY         12039501         WEITZ & LUXENBERG, PC                                MC INERNY            MARIE                 NY         11932301         WEITZ & LUXENBERG, PC
MC FARLANE           IRIS                  NY         12042901         WEITZ & LUXENBERG, PC                                MC INERNY            MARIE                 NY         01111220         WEITZ & LUXENBERG, PC
MC FARLANE           SPENCER R             NY         12042901         WEITZ & LUXENBERG, PC                                MC INERNY            MICHAEL J             NY         11932301         WEITZ & LUXENBERG, PC
MC FAUL              JAMES HERBERT         NY         10680602         WEITZ & LUXENBERG, PC                                MC INERNY            MICHAEL J             NY         01111220         WEITZ & LUXENBERG, PC
MC FAUL              JAMES HERBERT         NY         11046702         WEITZ & LUXENBERG, PC                                MC INTYRE            EDWARD P              NY         12039001         WEITZ & LUXENBERG, PC
MC FAUL              REBA                  NY         10680602         WEITZ & LUXENBERG, PC                                MC INTYRE            IRENE E               NY         12039001         WEITZ & LUXENBERG, PC
MC FAUL              REBA                  NY         11046702         WEITZ & LUXENBERG, PC                                MC IVOR              EDWARD I              NY         10587202         WEITZ & LUXENBERG, PC
MC GARRY             MARIE                 NY         10730400         WEITZ & LUXENBERG, PC                                MC IVOR              EDWARD I              NY         10822302         WEITZ & LUXENBERG, PC
MC GARRY             MARK                  NY         02121082         WEITZ & LUXENBERG, PC                                MC KAY               JOSEPH                NY         01111223         WEITZ & LUXENBERG, PC
MC GARRY             MARY                  NY         10730500         WEITZ & LUXENBERG, PC                                MC KEEVER            DONALD F              NY         12039301         WEITZ & LUXENBERG, PC
MC GARRY             MICHAEL J             NY         10730400         WEITZ & LUXENBERG, PC                                MC KEEVER            DONALD F              NY         10368502         WEITZ & LUXENBERG, PC
MC GARRY             THOMAS J              NY         10730500         WEITZ & LUXENBERG, PC                                MC KEEVER            MAUREEN               NY         12039301         WEITZ & LUXENBERG, PC
MC GAW               CONNIE B              NY         10680602         WEITZ & LUXENBERG, PC                                MC KEEVER            MAUREEN               NY         10368502         WEITZ & LUXENBERG, PC
MC GAW               DENNIS W              NY         10680602         WEITZ & LUXENBERG, PC                                MC KEIVER            MYRTLE M              NY         11837200         WEITZ & LUXENBERG, PC
MC GEE               CATHERINE             NY         11369704         WEITZ & LUXENBERG, PC                                MC KENNA             ANNA                  NY         10571402         WEITZ & LUXENBERG, PC
MC GEE               JOHN                  NY         11369704         WEITZ & LUXENBERG, PC                                MC KENNA             DONALD L              NY         10571402         WEITZ & LUXENBERG, PC
MC GEEHAN            THOMAS                NY         10784500         WEITZ & LUXENBERG, PC                                MC KENNA             JAMES J               NY         10785300         WEITZ & LUXENBERG, PC
MC GEORGE            THOMAS E              NY         10784400         WEITZ & LUXENBERG, PC                                MC KENNA             MARGARET E            NY         10785300         WEITZ & LUXENBERG, PC
MC GILLIVARY         DAVID                 NY         10710102         WEITZ & LUXENBERG, PC                                MC KENTY             JAMES F               NY         10716702         WEITZ & LUXENBERG, PC
MC GILLIVARY         DAVID                 NY         10810402         WEITZ & LUXENBERG, PC                                MC KEON              MARIELLEN             NY         12039601         WEITZ & LUXENBERG, PC
MC GILLIVARY         VALERIE               NY         10710102         WEITZ & LUXENBERG, PC                                MC KEON              MARIELLEN             NY         10334402         WEITZ & LUXENBERG, PC
MC GILLIVARY         VALERIE               NY         10810402         WEITZ & LUXENBERG, PC                                MC KEON              THOMAS F              NY         12039601         WEITZ & LUXENBERG, PC
MC GINLEY            BRIGID                NY         10008703         WEITZ & LUXENBERG, PC                                MC KEON              THOMAS F              NY         10334402         WEITZ & LUXENBERG, PC
MC GINLEY            WILLIAM               NY         10008703         WEITZ & LUXENBERG, PC                                MC KIERNAN           ELLEN HABERT          NY         10730600         WEITZ & LUXENBERG, PC
MC GINNIS            CHARLES LEO           NY         10587402         WEITZ & LUXENBERG, PC                                MC KIERNAN           ROBERT JOSEPH         NY         10730600         WEITZ & LUXENBERG, PC
MC GINNIS            CHARLES LEO           NY         10991602         WEITZ & LUXENBERG, PC                                MC KILLOP            PATRICK J             NY         12038801         WEITZ & LUXENBERG, PC
MC GIVNEY            DANIEL A              NY         10700002         WEITZ & LUXENBERG, PC                                MC KINNON            MALACHI C             NY         11327602         WEITZ & LUXENBERG, PC
MC GIVNEY            LINDA BENWARE         NY         10700002         WEITZ & LUXENBERG, PC                                MC KINNON            MARY                  NY         11327602         WEITZ & LUXENBERG, PC
MC GLONE             JOHN A                NY         10784300         WEITZ & LUXENBERG, PC                                MC KNIGHT            ROBERT L              NY         10785200         WEITZ & LUXENBERG, PC
MC GLONE             SHEILAH               NY         10784300         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          BRIAN                 NY         12341601         WEITZ & LUXENBERG, PC
MC GLYNN             DONALD                NY         01111225         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          GREGG M               NY         02107102         WEITZ & LUXENBERG, PC
MC GLYNN             VALENTINE             NY         12039101         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          JOHN                  NY         1902972017       WEITZ & LUXENBERG, PC
MC GOVERN            JAMES T               NY         10710102         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          JOHN                  NY         12801702         WEITZ & LUXENBERG, PC
MC GOVERN            MARY                  NY         10740302         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          MARGARET              NY         12039801         WEITZ & LUXENBERG, PC
MC GOVERN            SALLY M               NY         10710102         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          SUSAN                 NY         12341601         WEITZ & LUXENBERG, PC
MC GOVERN            WILLIAM J             NY         10740302         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          THOMAS                NY         01111223         WEITZ & LUXENBERG, PC
MC GOWAN             AUDREY                NY         02106709         WEITZ & LUXENBERG, PC                                MC LAUGHLIN          WILLIAM M             NY         12039801         WEITZ & LUXENBERG, PC
MC GOWAN             FRANCIS P             NY         11123201         WEITZ & LUXENBERG, PC                                MC LEAN              CURTIS                NY         02107007         WEITZ & LUXENBERG, PC
MC GOWAN             JOHN E                NY         02106709         WEITZ & LUXENBERG, PC                                MC LEAN              DENNIS E              NY         10587502         WEITZ & LUXENBERG, PC
MC GOWAN             JOHN J                NY         02107102         WEITZ & LUXENBERG, PC                                MC LEAN              DONNA                 NY         10587502         WEITZ & LUXENBERG, PC
MC GOWAN             JOHN J                NY         11909502         WEITZ & LUXENBERG, PC                                MC LENNAN            PATRICIA              NY         10515403         WEITZ & LUXENBERG, PC
MC GOWAN             JUNE                  NY         02107102         WEITZ & LUXENBERG, PC                                MC LENNAN            PIERCE                NY         10515403         WEITZ & LUXENBERG, PC
MC GOWAN             JUNE                  NY         11909502         WEITZ & LUXENBERG, PC                                MC LOUGHLIN          FRANK E               NY         12043101         WEITZ & LUXENBERG, PC
MC GRADY             JOHN                  NY         10784200         WEITZ & LUXENBERG, PC                                MC LOUGHLIN          REGINA                NY         12043101         WEITZ & LUXENBERG, PC
MC GRADY             MARY A                NY         10784200         WEITZ & LUXENBERG, PC                                MC MAHON             FREDERICK J           NY         11978802         WEITZ & LUXENBERG, PC
MC GRAIL             GARRY                 NY         02106690         WEITZ & LUXENBERG, PC                                MC MAHON             JOHN J                NY         99122190         WEITZ & LUXENBERG, PC
MC GRAIL             RENEE                 NY         02106690         WEITZ & LUXENBERG, PC                                MC MAHON             MARIE                 NY         12038801         WEITZ & LUXENBERG, PC
MC GRATH             JOSEPH C              NY         02105715         WEITZ & LUXENBERG, PC                                MC MAHON             MARY                  NY         99122190         WEITZ & LUXENBERG, PC
MC GRATH             MARYELLEN             NY         01111226         WEITZ & LUXENBERG, PC                                MC MANUS             ALLEN                 NY         12270501         WEITZ & LUXENBERG, PC
MC GRATH             ROBERT J              NY         01111226         WEITZ & LUXENBERG, PC                                MC MANUS             MICHELE               NY         10943000         WEITZ & LUXENBERG, PC
MC GRATH             ROSEMARY              NY         02105715         WEITZ & LUXENBERG, PC                                MC MANUS             MICHELE               NY         99122190         WEITZ & LUXENBERG, PC
MC GREEVY            DANIEL J              NY         10740102         WEITZ & LUXENBERG, PC                                MC MANUS             THOMAS                NY         10943000         WEITZ & LUXENBERG, PC
MC GREEVY            FRANCES               NY         10740102         WEITZ & LUXENBERG, PC                                MC MANUS             THOMAS                NY         99122190         WEITZ & LUXENBERG, PC
MC GREGOR            PAUL JAMES            NY         02106707         WEITZ & LUXENBERG, PC                                MC MEEKIN            JOHN                  NY         12700602         WEITZ & LUXENBERG, PC
MC GREGOR            SHIRLEY M             NY         02106707         WEITZ & LUXENBERG, PC                                MC MENAMIN           MARY                  NY         12043201         WEITZ & LUXENBERG, PC
MC GUIRE             DONNA M               NY         10658102         WEITZ & LUXENBERG, PC                                MC MENAMIN           SEAN J                NY         12043201         WEITZ & LUXENBERG, PC
MC GUIRE             JAMES W               NY         10658102         WEITZ & LUXENBERG, PC                                MC MILLIAN           ALVIN                 NY         02106709         WEITZ & LUXENBERG, PC
MC GUIRE             JOHN P                NY         01122139         WEITZ & LUXENBERG, PC                                MC MILLIAN           ALVIN                 NY         11553802         WEITZ & LUXENBERG, PC
MC GUIRE             MICHAEL D             NY         10571402         WEITZ & LUXENBERG, PC                                MC MORROW            EUGENE                NY         12039501         WEITZ & LUXENBERG, PC
MC GURRAN            MALACHY               NY         12039101         WEITZ & LUXENBERG, PC                                MC MORROW            KATHLEEN              NY         12039501         WEITZ & LUXENBERG, PC
MC GURRAN            MARY                  NY         12039101         WEITZ & LUXENBERG, PC                                MC NAMARA            KEVIN J               NY         10700102         WEITZ & LUXENBERG, PC
MC HALE              BERNADETTE            NY         12039101         WEITZ & LUXENBERG, PC                                MC NEILL             AURELIA               NY         11837300         WEITZ & LUXENBERG, PC
MC HALE              MARTIN                NY         12039101         WEITZ & LUXENBERG, PC                                MC NEILL             DANIEL                NY         11837300         WEITZ & LUXENBERG, PC
MC HUGH              RENATE                NY         02106709         WEITZ & LUXENBERG, PC                                MC NICHOLL           JOSEPH R              NY         11976501         WEITZ & LUXENBERG, PC
MC HUGH              THOMAS J              NY         02106709         WEITZ & LUXENBERG, PC                                MC NICHOLL           JOSEPH R              NY         11123201         WEITZ & LUXENBERG, PC
MC ILWAIN            CHARLES H             NY         10722102         WEITZ & LUXENBERG, PC                                MC PARTLAND          JAMES F               NY         10730700         WEITZ & LUXENBERG, PC
MC ILWAIN            CHARLES H             NY         11310402         WEITZ & LUXENBERG, PC                                MC PARTLAND          REGINA                NY         10730700         WEITZ & LUXENBERG, PC
MC ILWAIN            DELPHINE              NY         10722102         WEITZ & LUXENBERG, PC                                MC PHERSON           JUANITA M             NY         10669102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 998
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 333 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MC PHERSON           JUANITA M             NY         11477402         WEITZ & LUXENBERG, PC                                MCCAMMON             PHYLLIS D             NY         CV015333         WEITZ & LUXENBERG, PC
MC PHERSON           WAYNE LLOYD           NY         10669102         WEITZ & LUXENBERG, PC                                MCCAMMON             PHYLLIS D             NY         01CIV5333        WEITZ & LUXENBERG, PC
MC PHERSON           WAYNE LLOYD           NY         11477402         WEITZ & LUXENBERG, PC                                MCCANN               DONALD G              NY         02105718         WEITZ & LUXENBERG, PC
MC QUILLIN           LINDA                 NY         10942800         WEITZ & LUXENBERG, PC                                MCCANN               ELAINE M              NY         10680602         WEITZ & LUXENBERG, PC
MC QUILLIN           LINDA                 NY         99122190         WEITZ & LUXENBERG, PC                                MCCANN               EUGENE                NY         10587201         WEITZ & LUXENBERG, PC
MC QUILLIN           THOMAS                NY         10942800         WEITZ & LUXENBERG, PC                                MCCANN               KATHERINE A           NY         10942300         WEITZ & LUXENBERG, PC
MC QUILLIN           THOMAS                NY         99122190         WEITZ & LUXENBERG, PC                                MCCANN               KATHERINE A           NY         99122190         WEITZ & LUXENBERG, PC
MC RAE               BONNIE                NY         10974100         WEITZ & LUXENBERG, PC                                MCCANN               MICHAEL               NY         10680602         WEITZ & LUXENBERG, PC
MC RAE               ERNEST                NY         10193900         WEITZ & LUXENBERG, PC                                MCCANN               PATRICK J             NY         10942300         WEITZ & LUXENBERG, PC
MC RAE               LAWRENCE J SR         NY         10974100         WEITZ & LUXENBERG, PC                                MCCANN               PATRICK J             NY         99122190         WEITZ & LUXENBERG, PC
MC SPEDON            FRANCIS               NY         10023403         WEITZ & LUXENBERG, PC                                MCCANN               PRISCILLA             NY         02105713         WEITZ & LUXENBERG, PC
MC SPEDON            SUSAN                 NY         10023403         WEITZ & LUXENBERG, PC                                MCCANN               PRISCILLA             NY         11259502         WEITZ & LUXENBERG, PC
MC TERNAN            ROBERT                NY         12043301         WEITZ & LUXENBERG, PC                                MCCANN               RAYMOND G             NY         10346601         WEITZ & LUXENBERG, PC
MC TERNAN            ROBERT                NY         12417501         WEITZ & LUXENBERG, PC                                MCCARRICK            GORDON G              NY         10346701         WEITZ & LUXENBERG, PC
MC TERNAN            VIVIAN                NY         12043301         WEITZ & LUXENBERG, PC                                MCCARRICK            JUDY                  NY         10346701         WEITZ & LUXENBERG, PC
MC TERNAN            VIVIAN                NY         12417501         WEITZ & LUXENBERG, PC                                MCCARRICK            LINDA E               NY         10722202         WEITZ & LUXENBERG, PC
MCADAMS              LOUISE                NY         01CIV3901        WEITZ & LUXENBERG, PC                                MCCARRICK            LINDA E               NY         11364602         WEITZ & LUXENBERG, PC
MCADAMS              MAX LADD              NY         01CIV3901        WEITZ & LUXENBERG, PC                                MCCARROLL            HELEN                 NY         12693502         WEITZ & LUXENBERG, PC
MCALEAVEY            WILLIAM               NY         01111223         WEITZ & LUXENBERG, PC                                MCCARROLL            JAMES K               NY         12693502         WEITZ & LUXENBERG, PC
MCALLISTER           PATRICIA ANN          NY         99120105         WEITZ & LUXENBERG, PC                                MCCARRON             LAURA                 NY         10871401         WEITZ & LUXENBERG, PC
MCALLISTER           PATRICIA ANN          NY         10608399         WEITZ & LUXENBERG, PC                                MCCARRON             PETER                 NY         19004910         WEITZ & LUXENBERG, PC
MCALLISTER           ROBERT J              NY         19019409         WEITZ & LUXENBERG, PC                                MCCARRON             ROBERT M              NY         10871401         WEITZ & LUXENBERG, PC
MCALLISTER           WAYNE R               NY         99120105         WEITZ & LUXENBERG, PC                                MCCARTER             MOSES                 NY         1903712016       WEITZ & LUXENBERG, PC
MCALLISTER           WAYNE R               NY         10608399         WEITZ & LUXENBERG, PC                                MCCARTER             PAULINE               NY         1903712016       WEITZ & LUXENBERG, PC
MCALPIN              LUCY                  NY         12693502         WEITZ & LUXENBERG, PC                                MCCARTHY             AGNES                 NY         99120120         WEITZ & LUXENBERG, PC
MCALPIN              WALTER                NY         12693502         WEITZ & LUXENBERG, PC                                MCCARTHY             ANDREW                NY         10345501         WEITZ & LUXENBERG, PC
MCANDREWS            LINDA ANN             NY         12693402         WEITZ & LUXENBERG, PC                                MCCARTHY             BAENADINE             NY         10587402         WEITZ & LUXENBERG, PC
MCANDREWS            LINDA ANN             NY         10438903         WEITZ & LUXENBERG, PC                                MCCARTHY             BAENADINE             NY         10991702         WEITZ & LUXENBERG, PC
MCANDREWS            WILLIAM GUY           NY         12693402         WEITZ & LUXENBERG, PC                                MCCARTHY             CHRISTINA             NY         10345501         WEITZ & LUXENBERG, PC
MCANDREWS            WILLIAM GUY           NY         10438903         WEITZ & LUXENBERG, PC                                MCCARTHY             GEORGE E              NY         10942200         WEITZ & LUXENBERG, PC
MCARTHUR             FRANKLIN J            NY         01111223         WEITZ & LUXENBERG, PC                                MCCARTHY             GEORGE E              NY         99122190         WEITZ & LUXENBERG, PC
MCARTHY              PATRICIA J            NY         00109421         WEITZ & LUXENBERG, PC                                MCCARTHY             JAMES P               NY         10645702         WEITZ & LUXENBERG, PC
MCAULEY              WILLIAM               NY         10942600         WEITZ & LUXENBERG, PC                                MCCARTHY             JOHN                  NY         99120120         WEITZ & LUXENBERG, PC
MCAULEY              WILLIAM               NY         99122190         WEITZ & LUXENBERG, PC                                MCCARTHY             JOHN V                NY         11182703         WEITZ & LUXENBERG, PC
MCAULIFFE            BERNADETTE            NY         12693502         WEITZ & LUXENBERG, PC                                MCCARTHY             JOSEPH R              NY         I20019104        WEITZ & LUXENBERG, PC
MCAULIFFE            THOMAS                NY         12693502         WEITZ & LUXENBERG, PC                                MCCARTHY             JOSEPH V              NY         10942200         WEITZ & LUXENBERG, PC
MCAULIFFE            THOMAS D              NY         10680702         WEITZ & LUXENBERG, PC                                MCCARTHY             JOSEPH V              NY         99122190         WEITZ & LUXENBERG, PC
MCAVOY               JOHN                  NY         11412907         WEITZ & LUXENBERG, PC                                MCCARTHY             LYNNE LAPHAM          NY         99120120         WEITZ & LUXENBERG, PC
MCBAIN               DONALD J              NY         10942500         WEITZ & LUXENBERG, PC                                MCCARTHY             PATRICIA              NY         11182703         WEITZ & LUXENBERG, PC
MCBAIN               DONALD J              NY         99122190         WEITZ & LUXENBERG, PC                                MCCARTHY             VINCENT               NY         11350103         WEITZ & LUXENBERG, PC
MCBAIN               VIRGINIA              NY         10942500         WEITZ & LUXENBERG, PC                                MCCARTHY             WILLIAM GERALD        NY         00109421         WEITZ & LUXENBERG, PC
MCBAIN               VIRGINIA              NY         99122190         WEITZ & LUXENBERG, PC                                MCCAULEY             JAMES F               NY         10942000         WEITZ & LUXENBERG, PC
MCBRIDE              DOROTHY               NY         CV013921         WEITZ & LUXENBERG, PC                                MCCAULEY             JAMES F               NY         99122190         WEITZ & LUXENBERG, PC
MCBRIDE              TOMMY GENE            NY         01CIV2846        WEITZ & LUXENBERG, PC                                MCCAULEY             JOAN                  NY         10942000         WEITZ & LUXENBERG, PC
MCBRIDE              WILLIE G              NY         CV013921         WEITZ & LUXENBERG, PC                                MCCAULEY             JOAN                  NY         99122190         WEITZ & LUXENBERG, PC
MCCABE               ARTHUR                NY         11465702         WEITZ & LUXENBERG, PC                                MCCAULEY             RAYMOND R             NY         10680702         WEITZ & LUXENBERG, PC
MCCABE               FRANCES A             NY         99108466         WEITZ & LUXENBERG, PC                                MCCLAIN              ELIZA                 NY         CV011744         WEITZ & LUXENBERG, PC
MCCABE               JAMES                 NY         10942400         WEITZ & LUXENBERG, PC                                MCCLANE              BETTY                 NY         01CIV2846        WEITZ & LUXENBERG, PC
MCCABE               JAMES                 NY         99122190         WEITZ & LUXENBERG, PC                                MCCLANE              BOYCE P               NY         01CIV2846        WEITZ & LUXENBERG, PC
MCCABE               JAMES V               NY         99112489         WEITZ & LUXENBERG, PC                                MCCLEAN              HELGA                 NY         99100613         WEITZ & LUXENBERG, PC
MCCABE               JOAN                  NY         99112489         WEITZ & LUXENBERG, PC                                MCCLEAN              OLIVER S              NY         99100613         WEITZ & LUXENBERG, PC
MCCABE               MARY N                NY         11465702         WEITZ & LUXENBERG, PC                                MCCLEERY             CATHERINE             NY         12693702         WEITZ & LUXENBERG, PC
MCCABE               ROBERT                NY         1900362019       WEITZ & LUXENBERG, PC                                MCCLEERY             ROBERT                NY         12693702         WEITZ & LUXENBERG, PC
MCCABE               SADIE                 NY         1900362019       WEITZ & LUXENBERG, PC                                MCCLENDON            JAMES ALLEN           NY         01CIV3901        WEITZ & LUXENBERG, PC
MCCABE               SANDY                 NY         10942400         WEITZ & LUXENBERG, PC                                MCCLENDON            JUDY                  NY         01CIV3901        WEITZ & LUXENBERG, PC
MCCABE               SANDY                 NY         99122190         WEITZ & LUXENBERG, PC                                MCCLENDON            LOWELL                NY         01CIV3910        WEITZ & LUXENBERG, PC
MCCAFFERTY           ISABEL                NY         10061499         WEITZ & LUXENBERG, PC                                MCCLENDON            MILDRED MARIE         NY         01CIV3910        WEITZ & LUXENBERG, PC
MCCAFFERTY           JAMES R               NY         10061499         WEITZ & LUXENBERG, PC                                MCCLINTON            EDMOND                NY         CV025685         WEITZ & LUXENBERG, PC
MCCAFFERTY           PATRICIA              NY         12024803         WEITZ & LUXENBERG, PC                                MCCLOSKEY            ARTHUR G              NY         10974000         WEITZ & LUXENBERG, PC
MCCAFFERTY           PATRICIA              NY         01111222         WEITZ & LUXENBERG, PC                                MCCLOSKEY            ROSEANNE              NY         10974000         WEITZ & LUXENBERG, PC
MCCAFFERTY           THOMAS                NY         12024803         WEITZ & LUXENBERG, PC                                MCCLOUD              AUDREY JOANNE         NY         1904562014       WEITZ & LUXENBERG, PC
MCCAFFERTY           THOMAS                NY         01111222         WEITZ & LUXENBERG, PC                                MCCLOUD              JOHN                  NY         12603902         WEITZ & LUXENBERG, PC
MCCAFFREY            ROBERT                NY         01111224         WEITZ & LUXENBERG, PC                                MCCLOUD              KENNETH L             NY         1904562014       WEITZ & LUXENBERG, PC
MCCAIN               DAVID                 NY         1904582013       WEITZ & LUXENBERG, PC                                MCCLOUD              ROBERTA               NY         12603902         WEITZ & LUXENBERG, PC
MCCAIN               JOHNNIE               NY         1049041          WEITZ & LUXENBERG, PC                                MCCLOUD              SHAWN                 NY         8092872015       WEITZ & LUXENBERG, PC
MCCAIN               LORRAINE              NY         1904582013       WEITZ & LUXENBERG, PC                                MCCLOUD              SHEILA                NY         1904362018       WEITZ & LUXENBERG, PC
MCCALL               EUGENE J              NY         10345301         WEITZ & LUXENBERG, PC                                MCCLOUD              SUSAN                 NY         1904362018       WEITZ & LUXENBERG, PC
MCCALL               FELICIA               NY         1904632013       WEITZ & LUXENBERG, PC                                MCCLURE              ELLIE                 NY         CV016705         WEITZ & LUXENBERG, PC
MCCALL               JIMMY                 NY         1904632013       WEITZ & LUXENBERG, PC                                MCCLURE              FERMAN                NY         CV016705         WEITZ & LUXENBERG, PC
MCCAMMON             ELIZABETH ANN         NY         10740302         WEITZ & LUXENBERG, PC                                MCCLURE              JUNA Q                NY         01CIV3895        WEITZ & LUXENBERG, PC
MCCAMMON             ELIZABETH ANN         NY         11411702         WEITZ & LUXENBERG, PC                                MCCLUSKY             MICHAEL J             NY         10345601         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 999
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 334 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MCCOLLUM             ALICE                 NY         CV014462         WEITZ & LUXENBERG, PC                                MCDERMOTT            BRENDAN               NY         10941200         WEITZ & LUXENBERG, PC
MCCOLLUM             ALISE JOYCE           NY         CV013921         WEITZ & LUXENBERG, PC                                MCDERMOTT            BRENDAN               NY         99122190         WEITZ & LUXENBERG, PC
MCCOLLUM             DANIEL T              NY         99122190         WEITZ & LUXENBERG, PC                                MCDERMOTT            BRENDAN               NY         10954102         WEITZ & LUXENBERG, PC
MCCOLLUM             DANIEL T              NY         10941900         WEITZ & LUXENBERG, PC                                MCDERMOTT            FERGUS J              NY         12576699         WEITZ & LUXENBERG, PC
MCCOLLUM             DELORES               NY         99122190         WEITZ & LUXENBERG, PC                                MCDERMOTT            JOSEPH KEVIN          NY         99120303         WEITZ & LUXENBERG, PC
MCCOLLUM             DELORES               NY         10941900         WEITZ & LUXENBERG, PC                                MCDERMOTT            MARIE                 NY         10680702         WEITZ & LUXENBERG, PC
MCCOLLUM             JAMES                 NY         CV014462         WEITZ & LUXENBERG, PC                                MCDERMOTT            MARIE                 NY         CV032716         WEITZ & LUXENBERG, PC
MCCOMBES             DONALD G              NY         10346801         WEITZ & LUXENBERG, PC                                MCDERMOTT            MARIE                 NY         10954102         WEITZ & LUXENBERG, PC
MCCOMBES             FLORENCE              NY         10346801         WEITZ & LUXENBERG, PC                                MCDERMOTT            NANCY                 NY         1902682012       WEITZ & LUXENBERG, PC
MCCONICO             MINNIE                NY         99120650         WEITZ & LUXENBERG, PC                                MCDERMOTT            PATRICIA E            NY         99120303         WEITZ & LUXENBERG, PC
MCCONICO             ORVIN                 NY         99120650         WEITZ & LUXENBERG, PC                                MCDERMOTT            RONALD S              NY         1902682012       WEITZ & LUXENBERG, PC
MCCONNELL            ARLENE                NY         10345801         WEITZ & LUXENBERG, PC                                MCDEVITT             DENIS JAMES           NY         10871301         WEITZ & LUXENBERG, PC
MCCONNELL            JOHN C                NY         10345801         WEITZ & LUXENBERG, PC                                MCDEVITT             JULIE                 NY         10871301         WEITZ & LUXENBERG, PC
MCCONNELL            JOHN W                NY         10587202         WEITZ & LUXENBERG, PC                                MCDONAGH             EDWARD T              NY         10346001         WEITZ & LUXENBERG, PC
MCCOOL               LORRAINE              NY         1902562013       WEITZ & LUXENBERG, PC                                MCDONAGH             EUGENE                NY         01111228         WEITZ & LUXENBERG, PC
MCCOOL               MICHAEL J             NY         1902562013       WEITZ & LUXENBERG, PC                                MCDONAGH             MARY                  NY         10346001         WEITZ & LUXENBERG, PC
MCCORMACK            CARMELA               NY         10941800         WEITZ & LUXENBERG, PC                                MCDONAGH             MICHAEL E             NY         10346001         WEITZ & LUXENBERG, PC
MCCORMACK            CARMELA               NY         99122190         WEITZ & LUXENBERG, PC                                MCDONALD             ANNE                  NY         01CIV3897        WEITZ & LUXENBERG, PC
MCCORMACK            RICHARD               NY         10941800         WEITZ & LUXENBERG, PC                                MCDONALD             BETTIE                NY         CV016531         WEITZ & LUXENBERG, PC
MCCORMACK            RICHARD               NY         99122190         WEITZ & LUXENBERG, PC                                MCDONALD             BETTIE L              NY         CV025685         WEITZ & LUXENBERG, PC
MCCORMICK            DONALD M              NY         10941700         WEITZ & LUXENBERG, PC                                MCDONALD             DANIEL M              NY         99120098         WEITZ & LUXENBERG, PC
MCCORMICK            DONALD M              NY         99122190         WEITZ & LUXENBERG, PC                                MCDONALD             FREDDIE JAMES         NY         01CIV3897        WEITZ & LUXENBERG, PC
MCCORMICK            EDITH                 NY         12213801         WEITZ & LUXENBERG, PC                                MCDONALD             JOHN E                NY         99100486         WEITZ & LUXENBERG, PC
MCCORMICK            JEAN                  NY         10941700         WEITZ & LUXENBERG, PC                                MCDONALD             JOHN LENOX            NY         11260000         WEITZ & LUXENBERG, PC
MCCORMICK            JEAN                  NY         99122190         WEITZ & LUXENBERG, PC                                MCDONALD             JOYCE                 NY         01CIV3897        WEITZ & LUXENBERG, PC
MCCORMICK            JOHN P                NY         12213801         WEITZ & LUXENBERG, PC                                MCDONALD             KENNETH HERMAN        NY         10125002         WEITZ & LUXENBERG, PC
MCCORMICK            JOHN P                NY         02105716         WEITZ & LUXENBERG, PC                                MCDONALD             LAURA                 NY         10125002         WEITZ & LUXENBERG, PC
MCCORMICK            JOHN P                NY         10274602         WEITZ & LUXENBERG, PC                                MCDONALD             LOVEDAY               NY         99120098         WEITZ & LUXENBERG, PC
MCCOURT              JOHN B                NY         10941600         WEITZ & LUXENBERG, PC                                MCDONALD             MILTON                NY         CV016531         WEITZ & LUXENBERG, PC
MCCOURT              JOHN B                NY         99122190         WEITZ & LUXENBERG, PC                                MCDONALD             MILTON                NY         CV025685         WEITZ & LUXENBERG, PC
MCCOURT              MARY P                NY         10941600         WEITZ & LUXENBERG, PC                                MCDONALD             MILUS                 NY         01CIV3897        WEITZ & LUXENBERG, PC
MCCOURT              MARY P                NY         99122190         WEITZ & LUXENBERG, PC                                MCDONALD             MOSES                 NY         CV017898         WEITZ & LUXENBERG, PC
MCCOWN               ALFRED FREDERICK      NY         01CIV3922        WEITZ & LUXENBERG, PC                                MCDONELL             KEVIN L               NY         10329302         WEITZ & LUXENBERG, PC
MCCOWN               JOHNNIE               NY         01CIV3922        WEITZ & LUXENBERG, PC                                MCDONNELL            ALICE                 NY         10941100         WEITZ & LUXENBERG, PC
MCCOY                BETTY                 NY         10696402         WEITZ & LUXENBERG, PC                                MCDONNELL            ALICE                 NY         99122190         WEITZ & LUXENBERG, PC
MCCOY                BETTY                 NY         11836900         WEITZ & LUXENBERG, PC                                MCDONNELL            FRANCIS J             NY         10049699         WEITZ & LUXENBERG, PC
MCCOY                BOBBY EDWARD          NY         CV013921         WEITZ & LUXENBERG, PC                                MCDONNELL            JAMES P               NY         10941100         WEITZ & LUXENBERG, PC
MCCOY                CATHERINE             NY         10941400         WEITZ & LUXENBERG, PC                                MCDONNELL            JAMES P               NY         99122190         WEITZ & LUXENBERG, PC
MCCOY                CATHERINE             NY         99122190         WEITZ & LUXENBERG, PC                                MCDONNELL            JOHN DENNIS           NY         12377900         WEITZ & LUXENBERG, PC
MCCOY                DONALD M              NY         10696402         WEITZ & LUXENBERG, PC                                MCDONNELL            MICHAEL FRANCIS       NY         12377900         WEITZ & LUXENBERG, PC
MCCOY                DONALD M              NY         11836900         WEITZ & LUXENBERG, PC                                MCDONNELL            RICHARD               NY         10346101         WEITZ & LUXENBERG, PC
MCCOY                DOROTHY               NY         10941500         WEITZ & LUXENBERG, PC                                MCDONNELL            TERESA                NY         10346101         WEITZ & LUXENBERG, PC
MCCOY                DOROTHY               NY         99122190         WEITZ & LUXENBERG, PC                                MCDONOUGH            JOSEPH P              PA         181203276        WEITZ & LUXENBERG, PC
MCCOY                EUVETTA               NY         10346901         WEITZ & LUXENBERG, PC                                MCDONOUGH            MARY                  NY         10807208         WEITZ & LUXENBERG, PC
MCCOY                HAROLD W              NY         10941500         WEITZ & LUXENBERG, PC                                MCDONOUGH            MICHAEL               NY         10807208         WEITZ & LUXENBERG, PC
MCCOY                HAROLD W              NY         99122190         WEITZ & LUXENBERG, PC                                MCDONOUGH            THOMAS E              NY         12043101         WEITZ & LUXENBERG, PC
MCCOY                JAMES                 NY         10710102         WEITZ & LUXENBERG, PC                                MCDONOUGH            VINCENT R             NY         10941000         WEITZ & LUXENBERG, PC
MCCOY                JOHN                  NY         10941400         WEITZ & LUXENBERG, PC                                MCDONOUGH            VINCENT R             NY         99122190         WEITZ & LUXENBERG, PC
MCCOY                JOHN                  NY         99122190         WEITZ & LUXENBERG, PC                                MCDOUGALL            CHARLES B             NY         1900842018       WEITZ & LUXENBERG, PC
MCCOY                LUCILLE               NY         CV013921         WEITZ & LUXENBERG, PC                                MCDOWELL             BRENDA                NY         01CIV3922        WEITZ & LUXENBERG, PC
MCCOY                RAYMOND E             NY         10346901         WEITZ & LUXENBERG, PC                                MCDOWELL             DAN C                 NY         01CIV3922        WEITZ & LUXENBERG, PC
MCCOY                ROBERT                NY         10680702         WEITZ & LUXENBERG, PC                                MCDOWELL             JANET                 NY         02122049         WEITZ & LUXENBERG, PC
MCCOY                ROBERT                NY         11091202         WEITZ & LUXENBERG, PC                                MCDUFFY              JAMES                 NY         10940900         WEITZ & LUXENBERG, PC
MCCOY                VIRGINIA J            NY         19009911         WEITZ & LUXENBERG, PC                                MCDUFFY              JAMES                 NY         99122190         WEITZ & LUXENBERG, PC
MCCOY                WILLIAM EMIL          NY         10680702         WEITZ & LUXENBERG, PC                                MCEACHERN            MELISSA MIANN         NY         1901552015       WEITZ & LUXENBERG, PC
MCCOY                WILLIAM EMIL          NY         11091202         WEITZ & LUXENBERG, PC                                MCELHINNEY           KENNETH               NY         1901812015       WEITZ & LUXENBERG, PC
MCCULLA              ROBERT B              NY         1901582016       WEITZ & LUXENBERG, PC                                MCELHINNEY           MONA                  NY         1901812015       WEITZ & LUXENBERG, PC
MCCULLOUGH           LEON                  NY         01CIV7363        WEITZ & LUXENBERG, PC                                MCELHONE             CHARLES MELVILLE      NY         99100041         WEITZ & LUXENBERG, PC
MCCULLOUGH           MILDRED               NY         01CIV7363        WEITZ & LUXENBERG, PC                                MCELLIGOTT           JAMES A               NY         1902362016       WEITZ & LUXENBERG, PC
MCCULLOUGH           PEARLEAN              NY         01CIV7363        WEITZ & LUXENBERG, PC                                MCELLIGOTT           LORRAINE              NY         1902362016       WEITZ & LUXENBERG, PC
MCDANIEL             DOROTHY               NY         CV015527         WEITZ & LUXENBERG, PC                                MCELRATH             JOAN A                NY         12668202         WEITZ & LUXENBERG, PC
MCDANIEL             EDDIE RAY             NY         CV060510         WEITZ & LUXENBERG, PC                                MCELRATH             MARLIN                NY         10347001         WEITZ & LUXENBERG, PC
MCDANIEL             MARY                  NY         CV060510         WEITZ & LUXENBERG, PC                                MCELRATH             THOMAS                NY         12668202         WEITZ & LUXENBERG, PC
MCDANIEL             MILDRED L             NY         12668502         WEITZ & LUXENBERG, PC                                MCELROY              ELIZABETH             NY         11179404         WEITZ & LUXENBERG, PC
MCDANIEL             NORAH                 NY         CV015527         WEITZ & LUXENBERG, PC                                MCELROY              ELIZABETH W           NY         10940800         WEITZ & LUXENBERG, PC
MCDANIELS            EARTHA LENE           NY         CV025685         WEITZ & LUXENBERG, PC                                MCELROY              FRANCIS               NY         19008809         WEITZ & LUXENBERG, PC
MCDANIELS            NOAH                  NY         CV025685         WEITZ & LUXENBERG, PC                                MCELROY              JAMES                 NY         11179404         WEITZ & LUXENBERG, PC
MCDERMOTT            ANDREW                NY         10680702         WEITZ & LUXENBERG, PC                                MCELROY              JAMES H               NY         10940800         WEITZ & LUXENBERG, PC
MCDERMOTT            ANDREW                NY         CV032716         WEITZ & LUXENBERG, PC                                MCELROY              PATRICIA              NY         19008809         WEITZ & LUXENBERG, PC
MCDERMOTT            BERNADETTE            NY         10941200         WEITZ & LUXENBERG, PC                                MCELYEA              JOHN                  NY         CV015523         WEITZ & LUXENBERG, PC
MCDERMOTT            BERNADETTE            NY         99122190         WEITZ & LUXENBERG, PC                                MCELYEA              WANDA                 NY         CV015523         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1000
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                    Desc
                                                                                                      Complaint-Part 2 Page 335 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name    State Filed Docket Number   Primary Plaintiff Counsel

MCENTEE              EDWARD P              NY         10230503         WEITZ & LUXENBERG, PC                                MCGOWAN              KELLY P                NY         1900122019       WEITZ & LUXENBERG, PC
MCENTIRE             MELBA                 NY         CV016915         WEITZ & LUXENBERG, PC                                MCGOWAN              LEIGHT                 NY         1900122019       WEITZ & LUXENBERG, PC
MCENTIRE             TOMMY LEE             NY         CV016915         WEITZ & LUXENBERG, PC                                MCGOWAN              MARY                   NY         98121180         WEITZ & LUXENBERG, PC
MCEVOY               ELAINE K              NY         12038801         WEITZ & LUXENBERG, PC                                MCGRATH              HELEN                  NY         10948800         WEITZ & LUXENBERG, PC
MCEVOY               ELAINE K              NY         10628902         WEITZ & LUXENBERG, PC                                MCGRATH              HELEN                  NY         99122190         WEITZ & LUXENBERG, PC
MCEWAN               SHARON                NY         12788602         WEITZ & LUXENBERG, PC                                MCGRATH              MARY                   NY         10871301         WEITZ & LUXENBERG, PC
MCEWAN               SHARON                NY         10247603         WEITZ & LUXENBERG, PC                                MCGRATH              MICHAEL J              NY         10948800         WEITZ & LUXENBERG, PC
MCFADDEN             LEROY W               NY         CV016395         WEITZ & LUXENBERG, PC                                MCGRATH              MICHAEL J              NY         99122190         WEITZ & LUXENBERG, PC
MCFADDEN             MARY                  NY         CV016395         WEITZ & LUXENBERG, PC                                MCGRATH              TIMOTHY A              NY         10871301         WEITZ & LUXENBERG, PC
MCFALL               DONALD E              NY         11938000         WEITZ & LUXENBERG, PC                                MCGREEVY             JOSEPH J               NY         12434501         WEITZ & LUXENBERG, PC
MCFALL               ELIZABETH             NY         11938000         WEITZ & LUXENBERG, PC                                MCGREGOR             BENJAMIN               NY         CV025685         WEITZ & LUXENBERG, PC
MCFALL               LINDA S               NY         11033305         WEITZ & LUXENBERG, PC                                MCGROARY             BRIDGET                NY         12317701         WEITZ & LUXENBERG, PC
MCFALL               ROBERT K              NY         1904062018       WEITZ & LUXENBERG, PC                                MCGROARY             BRIDGET                NY         01111230         WEITZ & LUXENBERG, PC
MCFARLAND            ELSIE RAY             NY         11526802         WEITZ & LUXENBERG, PC                                MCGROARY             ELLEN N                NY         11123101         WEITZ & LUXENBERG, PC
MCFARLAND            MARGARET              NY         11990998         WEITZ & LUXENBERG, PC                                MCGROARY             JOSEPH                 NY         12317701         WEITZ & LUXENBERG, PC
MCFAUL               HARMON L              NY         02106707         WEITZ & LUXENBERG, PC                                MCGROARY             JOSEPH                 NY         01111230         WEITZ & LUXENBERG, PC
MCFEE                DIANN                 NY         10820000         WEITZ & LUXENBERG, PC                                MCGUINNESS           TERENCE J              NY         1900202019       WEITZ & LUXENBERG, PC
MCFEE                KENNETH J             NY         10820000         WEITZ & LUXENBERG, PC                                MCGUIRE              CATHY                  NY         10346301         WEITZ & LUXENBERG, PC
MCFERGUSON           DOLUSTER              NY         01CIV3910        WEITZ & LUXENBERG, PC                                MCGUIRE              CONNIE                 NY         EF0006792019     WEITZ & LUXENBERG, PC
MCGAHUEY             ROBERT                NY         03CIV3143        WEITZ & LUXENBERG, PC                                MCGUIRE              DANIEL J               NY         EF0006792019     WEITZ & LUXENBERG, PC
MCGANN               KATHLEEN              NY         10346201         WEITZ & LUXENBERG, PC                                MCGUIRE              DONALD PAUL            NY         10587602         WEITZ & LUXENBERG, PC
MCGANN               MICHAEL JOSEPH        NY         10346201         WEITZ & LUXENBERG, PC                                MCGUIRE              JOHN J                 NY         10269001         WEITZ & LUXENBERG, PC
MCGARRY              KENNETH A             NY         10289501         WEITZ & LUXENBERG, PC                                MCGUIRE              KATHLEEN               NY         10948700         WEITZ & LUXENBERG, PC
MCGARRY              MURIEL                NY         10289501         WEITZ & LUXENBERG, PC                                MCGUIRE              KATHLEEN               NY         99122190         WEITZ & LUXENBERG, PC
MCGEE                BARBARA               NY         CV016396         WEITZ & LUXENBERG, PC                                MCGUIRE              KATHRYN                NY         10587602         WEITZ & LUXENBERG, PC
MCGEE                EFFIE MAE RILES       NY         01CIV3910        WEITZ & LUXENBERG, PC                                MCGUIRE              MARIANNE               NY         01122139         WEITZ & LUXENBERG, PC
MCGEE                ELVERNER              NY         CV016396         WEITZ & LUXENBERG, PC                                MCGUIRE              MICHAEL PATRICK        NY         10346301         WEITZ & LUXENBERG, PC
MCGEE                HUBERT C              NY         CV017580         WEITZ & LUXENBERG, PC                                MCGUIRE              THOMAS P               NY         10948700         WEITZ & LUXENBERG, PC
MCGEE                JAMES                 NY         19018009         WEITZ & LUXENBERG, PC                                MCGUIRE              THOMAS P               NY         99122190         WEITZ & LUXENBERG, PC
MCGEE                JAMES                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                MCHALE               ELIZABETH BERNADETTE   NY         10428302         WEITZ & LUXENBERG, PC
MCGEE                MADELINE              NY         19018009         WEITZ & LUXENBERG, PC                                MCHALE               LINDA                  NY         11327902         WEITZ & LUXENBERG, PC
MCGEE                MAMIE L               NY         01CIV3910        WEITZ & LUXENBERG, PC                                MCHALE               MARTIN                 NY         10428302         WEITZ & LUXENBERG, PC
MCGEE                WALTER                NY         CV016532         WEITZ & LUXENBERG, PC                                MCHALE               STEPHEN                NY         11327902         WEITZ & LUXENBERG, PC
MCGEEVER             ANN                   NY         12422802         WEITZ & LUXENBERG, PC                                MCHENRY              ARTHUR J               NY         CV025685         WEITZ & LUXENBERG, PC
MCGEOUGH             HELENA                NY         19011908         WEITZ & LUXENBERG, PC                                MCINERNEY            EVA FRANCIS            NY         11123101         WEITZ & LUXENBERG, PC
MCGEOUGH             JOSEPH                NY         19011908         WEITZ & LUXENBERG, PC                                MCINERNEY            EVA FRANCIS            NY         12057101         WEITZ & LUXENBERG, PC
MCGILL               BETTY                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                MCINERNEY            WILLIAM                NY         11123101         WEITZ & LUXENBERG, PC
MCGILL               ROY A                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                MCINERNEY            WILLIAM                NY         12057101         WEITZ & LUXENBERG, PC
MCGINLEY             EDWARD                NY         10940700         WEITZ & LUXENBERG, PC                                MCINTOSH             CHESTER ALVIN          PA         180900259        WEITZ & LUXENBERG, PC
MCGINLEY             EDWARD                NY         99122190         WEITZ & LUXENBERG, PC                                MCINTOSH             EDITH                  NY         19025910         WEITZ & LUXENBERG, PC
MCGINLEY             JEAN S                NY         10940700         WEITZ & LUXENBERG, PC                                MCINTOSH             LAWRENCE               NY         19025910         WEITZ & LUXENBERG, PC
MCGINLEY             JEAN S                NY         99122190         WEITZ & LUXENBERG, PC                                MCINTOSH             MICHAEL S              NY         10669102         WEITZ & LUXENBERG, PC
MCGINNIS             BARBARA               NY         10721200         WEITZ & LUXENBERG, PC                                MCINTOSH             RETHA                  NY         CV016367         WEITZ & LUXENBERG, PC
MCGINNIS             JW                    NY         01CIV3895        WEITZ & LUXENBERG, PC                                MCINTOSH             ULYSSES                NY         CV016367         WEITZ & LUXENBERG, PC
MCGINNIS             JAMES A               NY         10721200         WEITZ & LUXENBERG, PC                                MCINTYRE             BRIAN                  NY         12668502         WEITZ & LUXENBERG, PC
MCGINNIS             OLIVE                 NY         CV021512         WEITZ & LUXENBERG, PC                                MCINTYRE             CHARLES P              NY         11056903         WEITZ & LUXENBERG, PC
MCGINNIS             PATRICIA              NY         10587402         WEITZ & LUXENBERG, PC                                MCINTYRE             DEBRA                  NY         11346202         WEITZ & LUXENBERG, PC
MCGINNIS             PATRICIA              NY         10991602         WEITZ & LUXENBERG, PC                                MCINTYRE             JOAN                   NY         11056903         WEITZ & LUXENBERG, PC
MCGINNIS             SUSAN ANNETTE         NY         01CIV3895        WEITZ & LUXENBERG, PC                                MCINTYRE             RICHARD E              NY         I20019445        WEITZ & LUXENBERG, PC
MCGIVNEY             JAMES A               NY         11210300         WEITZ & LUXENBERG, PC                                MCINTYRE             RICHARD E              NY         02120709         WEITZ & LUXENBERG, PC
MCGIVNEY             MICHAEL               NY         11210300         WEITZ & LUXENBERG, PC                                MCJUNKINS            DAVIE HUDSON           NY         CV025685         WEITZ & LUXENBERG, PC
MCGLYNN              THOMAS JAMES          NY         10949200         WEITZ & LUXENBERG, PC                                MCJUNKINS            JOHNNY SMITH           NY         CV015377         WEITZ & LUXENBERG, PC
MCGLYNN              THOMAS JAMES          NY         99122190         WEITZ & LUXENBERG, PC                                MCJUNKINS            TWYLA                  NY         CV025685         WEITZ & LUXENBERG, PC
MCGLYNN              VERONICA              NY         10949200         WEITZ & LUXENBERG, PC                                MCKAY                GLADYS BURNICE         NY         01CIV3910        WEITZ & LUXENBERG, PC
MCGLYNN              VERONICA              NY         99122190         WEITZ & LUXENBERG, PC                                MCKAY                HELENE                 NY         10105799         WEITZ & LUXENBERG, PC
MCGOLDRICK           EDWARD                NY         10949000         WEITZ & LUXENBERG, PC                                MCKAY                MACK                   NY         01CIV3910        WEITZ & LUXENBERG, PC
MCGOLDRICK           EDWARD                NY         99122190         WEITZ & LUXENBERG, PC                                MCKAY                MARK G                 NY         01111220         WEITZ & LUXENBERG, PC
MCGOLDRICK           MARYANN               NY         10949000         WEITZ & LUXENBERG, PC                                MCKAY                SUSAN B                NY         01111220         WEITZ & LUXENBERG, PC
MCGOLDRICK           MARYANN               NY         99122190         WEITZ & LUXENBERG, PC                                MCKEEVER             CARVELL                NY         12693402         WEITZ & LUXENBERG, PC
MCGORMAN             CYNTHIA A             NY         1902102018       WEITZ & LUXENBERG, PC                                MCKEEVER             CARVELL                NY         10438803         WEITZ & LUXENBERG, PC
MCGOUGH              JOHN                  NY         99120448         WEITZ & LUXENBERG, PC                                MCKEEVER             DORIS                  NY         12693402         WEITZ & LUXENBERG, PC
MCGOUGH              MONICA                NY         99120448         WEITZ & LUXENBERG, PC                                MCKEEVER             DORIS                  NY         10438803         WEITZ & LUXENBERG, PC
MCGOVERN             JAMES J               NY         10948900         WEITZ & LUXENBERG, PC                                MCKEEVER             FRED                   NY         1901572016       WEITZ & LUXENBERG, PC
MCGOVERN             JAMES J               NY         99122190         WEITZ & LUXENBERG, PC                                MCKELL               DAVID F                NY         01111220         WEITZ & LUXENBERG, PC
MCGOVERN             KATHLEEN              NY         10948900         WEITZ & LUXENBERG, PC                                MCKELL               MARY K                 NY         01111220         WEITZ & LUXENBERG, PC
MCGOVERN             KATHLEEN              NY         99122190         WEITZ & LUXENBERG, PC                                MCKENNA              EUGENE                 NY         10948600         WEITZ & LUXENBERG, PC
MCGOWAN              DANA                  NY         99101737         WEITZ & LUXENBERG, PC                                MCKENNA              EUGENE                 NY         99122190         WEITZ & LUXENBERG, PC
MCGOWAN              DEBORAH               NY         10878003         WEITZ & LUXENBERG, PC                                MCKENNA              JEAN                   NY         11871101         WEITZ & LUXENBERG, PC
MCGOWAN              FRANCIS P             NY         99101737         WEITZ & LUXENBERG, PC                                MCKENNA              JEAN                   NY         01111233         WEITZ & LUXENBERG, PC
MCGOWAN              JOHN                  NY         98121180         WEITZ & LUXENBERG, PC                                MCKENNA              MAUREEN                NY         10948500         WEITZ & LUXENBERG, PC
MCGOWAN              JOHN J                NY         10023203         WEITZ & LUXENBERG, PC                                MCKENNA              MAUREEN                NY         99122190         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1001
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 336 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MCKENNA              MICHAEL T             NY         11871101         WEITZ & LUXENBERG, PC                                MCLEER               HAROLD T              NY         10950200         WEITZ & LUXENBERG, PC
MCKENNA              MICHAEL T             NY         01111233         WEITZ & LUXENBERG, PC                                MCLEER               HAROLD T              NY         99122190         WEITZ & LUXENBERG, PC
MCKENNA              OWEN                  NY         10948500         WEITZ & LUXENBERG, PC                                MCLEMORE             HARVEY L              NY         CV025685         WEITZ & LUXENBERG, PC
MCKENNA              OWEN                  NY         99122190         WEITZ & LUXENBERG, PC                                MCLEMORE             PEARLIE               NY         CV025685         WEITZ & LUXENBERG, PC
MCKEOWN              DEBORAH J             NY         99100024         WEITZ & LUXENBERG, PC                                MCLENNAN             PATRICIA              NY         10073103         WEITZ & LUXENBERG, PC
MCKEOWN              JAMES                 NY         10948400         WEITZ & LUXENBERG, PC                                MCLENNAN             PIERCE                NY         10073103         WEITZ & LUXENBERG, PC
MCKEOWN              JAMES                 NY         99122190         WEITZ & LUXENBERG, PC                                MCLEOD               EDWARD                NY         1900212019       WEITZ & LUXENBERG, PC
MCKEOWN              JAMES J               NY         99100024         WEITZ & LUXENBERG, PC                                MCLEOD               EDWARD                NY         19018809         WEITZ & LUXENBERG, PC
MCKIE                BERNARD S             NY         10948300         WEITZ & LUXENBERG, PC                                MCLNERNY             THOMAS A              NY         12039601         WEITZ & LUXENBERG, PC
MCKIE                BERNARD S             NY         99122190         WEITZ & LUXENBERG, PC                                MCLNERNY             THOMAS A              NY         10090403         WEITZ & LUXENBERG, PC
MCKIM                BRUCE                 NY         1902252012       WEITZ & LUXENBERG, PC                                MCLOUD               BETTY                 NY         10346401         WEITZ & LUXENBERG, PC
MCKIM                DONNA                 NY         1902252012       WEITZ & LUXENBERG, PC                                MCLOUD               HENRY S               NY         10346401         WEITZ & LUXENBERG, PC
MCKIM                ROBERT S              NY         1902252012       WEITZ & LUXENBERG, PC                                MCLOUGHLIN           JAMES J               NY         10652804         WEITZ & LUXENBERG, PC
MCKINNEY             ALICE                 NY         CV025685         WEITZ & LUXENBERG, PC                                MCLOUGHLIN           JOAN                  NY         10652804         WEITZ & LUXENBERG, PC
MCKINNEY             BUSTER B              NY         1900312016       WEITZ & LUXENBERG, PC                                MCMAHAN              FRANK                 NY         01CIV3922        WEITZ & LUXENBERG, PC
MCKINNEY             DOROTHY               NY         10664902         WEITZ & LUXENBERG, PC                                MCMAHAN              MARY B                NY         01CIV3922        WEITZ & LUXENBERG, PC
MCKINNEY             ELBERT V              NY         CV024788         WEITZ & LUXENBERG, PC                                MCMAHON              EDWARD JAMES          NY         10716702         WEITZ & LUXENBERG, PC
MCKINNEY             GLORIA HELEN          NY         10948200         WEITZ & LUXENBERG, PC                                MCMAHON              FREDERICK J           NY         11327702         WEITZ & LUXENBERG, PC
MCKINNEY             GLORIA HELEN          NY         99122190         WEITZ & LUXENBERG, PC                                MCMANUS              ANNIE                 NY         11976601         WEITZ & LUXENBERG, PC
MCKINNEY             JAMES                 NY         10664902         WEITZ & LUXENBERG, PC                                MCMANUS              ANNIE                 NY         11123201         WEITZ & LUXENBERG, PC
MCKINNEY             LILLIE                NY         CV024788         WEITZ & LUXENBERG, PC                                MCMANUS              DUNCAN F              NY         99100064         WEITZ & LUXENBERG, PC
MCKINNEY             MARIE                 NY         12042901         WEITZ & LUXENBERG, PC                                MCMANUS              FLORENCE D            NY         10720300         WEITZ & LUXENBERG, PC
MCKINNEY             NORMA                 NY         1900312016       WEITZ & LUXENBERG, PC                                MCMANUS              GERALD L              NY         99120100         WEITZ & LUXENBERG, PC
MCKINNEY             OTHA L                NY         CV022416         WEITZ & LUXENBERG, PC                                MCMANUS              JOHN J                NY         11976601         WEITZ & LUXENBERG, PC
MCKINNEY             RITA LOUISE           NY         01CIV3910        WEITZ & LUXENBERG, PC                                MCMANUS              JOHN J                NY         11123201         WEITZ & LUXENBERG, PC
MCKINNEY             ROY EDWARD            NY         CV025685         WEITZ & LUXENBERG, PC                                MCMANUS              PAULA                 NY         99100064         WEITZ & LUXENBERG, PC
MCKINNEY             WILLIAM               NY         10948200         WEITZ & LUXENBERG, PC                                MCMANUS              SHELDON E             NY         10720300         WEITZ & LUXENBERG, PC
MCKINNEY             WILLIAM               NY         99122190         WEITZ & LUXENBERG, PC                                MCMANUS              THERESA               NY         99120100         WEITZ & LUXENBERG, PC
MCKINNEY             WILLIAM               NY         01CIV3910        WEITZ & LUXENBERG, PC                                MCMICKING            BEATRICE              NY         99100616         WEITZ & LUXENBERG, PC
MCKINNEY             WILLIAM M             NY         12042901         WEITZ & LUXENBERG, PC                                MCMICKING            CHARLES L             NY         99100616         WEITZ & LUXENBERG, PC
MCKINNON             HUGH RICHARD          NY         CV025685         WEITZ & LUXENBERG, PC                                MCMILLAN             JOSEPH W              NY         10942900         WEITZ & LUXENBERG, PC
MCKINNON             RAYMONA               NY         CV025685         WEITZ & LUXENBERG, PC                                MCMILLAN             JOSEPH W              NY         99122190         WEITZ & LUXENBERG, PC
MCKNIGHT             CRAIG                 NY         10785200         WEITZ & LUXENBERG, PC                                MCMILLAN             ROBERT                NY         10942900         WEITZ & LUXENBERG, PC
MCKNIGHT             DOUGLAS               NY         10002399         WEITZ & LUXENBERG, PC                                MCMILLAN             ROBERT                NY         99122190         WEITZ & LUXENBERG, PC
MCKNIGHT             JANET                 NY         10002399         WEITZ & LUXENBERG, PC                                MCMILLAN             WANDA GAIL            NY         01CIV3910        WEITZ & LUXENBERG, PC
MCKOWAN              DONALD V              NY         02107004         WEITZ & LUXENBERG, PC                                MCMILLEN             PATRICIA ANN          NY         CV018328         WEITZ & LUXENBERG, PC
MCKOWAN              DONNA                 NY         02107004         WEITZ & LUXENBERG, PC                                MCMILLEN             TOMMY GENE            NY         CV018328         WEITZ & LUXENBERG, PC
MCLAIN               MAUREEN               NY         10948100         WEITZ & LUXENBERG, PC                                MCMILLIAN            DAVID                 NY         01CIV3910        WEITZ & LUXENBERG, PC
MCLAIN               MAUREEN               NY         99122190         WEITZ & LUXENBERG, PC                                MCMULLEN             HENRY R               NY         10950100         WEITZ & LUXENBERG, PC
MCLAIN               NICHOLAS EDWARD       NY         10948100         WEITZ & LUXENBERG, PC                                MCMULLEN             HENRY R               NY         99122190         WEITZ & LUXENBERG, PC
MCLAIN               NICHOLAS EDWARD       NY         99122190         WEITZ & LUXENBERG, PC                                MCMULLEN             NANCY                 NY         10716702         WEITZ & LUXENBERG, PC
MCLAUGHLIN           CARLOS                NY         19002209         WEITZ & LUXENBERG, PC                                MCMULLEN             NANCY                 NY         11280602         WEITZ & LUXENBERG, PC
MCLAUGHLIN           CAROL ANEE            NY         1903852018       WEITZ & LUXENBERG, PC                                MCNALLY              HELEN                 NY         1903692013       WEITZ & LUXENBERG, PC
MCLAUGHLIN           CARROLL-JOHN          NY         1903032015       WEITZ & LUXENBERG, PC                                MCNALLY              MAY                   NY         10950000         WEITZ & LUXENBERG, PC
MCLAUGHLIN           EDWARD                NY         12341601         WEITZ & LUXENBERG, PC                                MCNALLY              PETER                 NY         1903692013       WEITZ & LUXENBERG, PC
MCLAUGHLIN           ELIZABETH             NY         10950300         WEITZ & LUXENBERG, PC                                MCNALLY              WILLIAM J             NY         10950000         WEITZ & LUXENBERG, PC
MCLAUGHLIN           ELIZABETH             NY         99122190         WEITZ & LUXENBERG, PC                                MCNALLY              WILLIAM L SR          NY         00101940         WEITZ & LUXENBERG, PC
MCLAUGHLIN           EMILY                 NY         1902972017       WEITZ & LUXENBERG, PC                                MCNAMEE              BERNARD               NY         10061599         WEITZ & LUXENBERG, PC
MCLAUGHLIN           EMILY                 NY         12801702         WEITZ & LUXENBERG, PC                                MCNAMEE              MIDRED                NY         10061599         WEITZ & LUXENBERG, PC
MCLAUGHLIN           FRANCIS J             NY         10950500         WEITZ & LUXENBERG, PC                                MCNEAIR              JAMES                 NY         10040303         WEITZ & LUXENBERG, PC
MCLAUGHLIN           FRANCIS J             NY         99122190         WEITZ & LUXENBERG, PC                                MCNEAIR              LULAMAE               NY         10040303         WEITZ & LUXENBERG, PC
MCLAUGHLIN           GEORGE                NY         11614801         WEITZ & LUXENBERG, PC                                MCNEILL              PATRICK J             NY         10871301         WEITZ & LUXENBERG, PC
MCLAUGHLIN           HARRY J               NY         10950400         WEITZ & LUXENBERG, PC                                MCOLLUM              JAMES                 NY         CV013921         WEITZ & LUXENBERG, PC
MCLAUGHLIN           HARRY J               NY         99122190         WEITZ & LUXENBERG, PC                                MCPHAIL              NELSON                NY         CV016895         WEITZ & LUXENBERG, PC
MCLAUGHLIN           JAMES R               NY         10950300         WEITZ & LUXENBERG, PC                                MCPHERSON            HAROLD R              NY         CV013921         WEITZ & LUXENBERG, PC
MCLAUGHLIN           JAMES R               NY         99122190         WEITZ & LUXENBERG, PC                                MCPHERSON            JEAN                  NY         CV013921         WEITZ & LUXENBERG, PC
MCLAUGHLIN           LOIS J                NY         10720200         WEITZ & LUXENBERG, PC                                MCPHILLIPS           FLORENCE              NY         10949900         WEITZ & LUXENBERG, PC
MCLAUGHLIN           LORETTA               NY         1903032015       WEITZ & LUXENBERG, PC                                MCPHILLIPS           FLORENCE              NY         99122190         WEITZ & LUXENBERG, PC
MCLAUGHLIN           LORRAINE E            NY         10120201         WEITZ & LUXENBERG, PC                                MCPHILLIPS           WILLIAM J             NY         10949900         WEITZ & LUXENBERG, PC
MCLAUGHLIN           MARIE                 NY         11614801         WEITZ & LUXENBERG, PC                                MCPHILLIPS           WILLIAM J             NY         99122190         WEITZ & LUXENBERG, PC
MCLAUGHLIN           MARY                  NY         10950400         WEITZ & LUXENBERG, PC                                MCPHILMY             JOHN                  NY         CA2016000627     WEITZ & LUXENBERG, PC
MCLAUGHLIN           MARY                  NY         99122190         WEITZ & LUXENBERG, PC                                MCQUADE              BARBARA A             NY         10525301         WEITZ & LUXENBERG, PC
MCLAUGHLIN           PETER A               NY         10716702         WEITZ & LUXENBERG, PC                                MCQUADE              LARRY                 NY         10525301         WEITZ & LUXENBERG, PC
MCLAUGHLIN           ROBERT                NY         10120201         WEITZ & LUXENBERG, PC                                MCQUEEN              ANN                   NY         10949800         WEITZ & LUXENBERG, PC
MCLAUGHLIN           ROBERT M              NY         10720200         WEITZ & LUXENBERG, PC                                MCQUEEN              ANN                   NY         99122190         WEITZ & LUXENBERG, PC
MCLAUGHLIN           ROSEMARY              NY         10950500         WEITZ & LUXENBERG, PC                                MCQUEEN              JOHN J                NY         99122190         WEITZ & LUXENBERG, PC
MCLAUGHLIN           ROSEMARY              NY         99122190         WEITZ & LUXENBERG, PC                                MCQUEEN              JOHN J                NY         10949800         WEITZ & LUXENBERG, PC
MCLAUGHLIN           VICTOR                NY         1903852018       WEITZ & LUXENBERG, PC                                MCQUEEN              VERDENE               NY         CV013921         WEITZ & LUXENBERG, PC
MCLEAN               ERROL W               NY         10700002         WEITZ & LUXENBERG, PC                                MCSHANE              ARLENE                NY         10587602         WEITZ & LUXENBERG, PC
MCLEER               FRANCES               NY         10950200         WEITZ & LUXENBERG, PC                                MCSHANE              WILLIAM H             NY         10587602         WEITZ & LUXENBERG, PC
MCLEER               FRANCES               NY         99122190         WEITZ & LUXENBERG, PC                                MCSPEDON             ELLEN                 NY         12693402         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1002
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 337 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MCSPEDON             GEORGE K              NY         12693402         WEITZ & LUXENBERG, PC                                MEEHAN               WILLIAM               NY         11210600         WEITZ & LUXENBERG, PC
MCSWEEN              CARRIE                NY         1905342012       WEITZ & LUXENBERG, PC                                MEEHIN               ELIZABETH             NY         10269401         WEITZ & LUXENBERG, PC
MCSWEEN              MELVIN                NY         1905342012       WEITZ & LUXENBERG, PC                                MEEHIN               MILTON T              NY         10269401         WEITZ & LUXENBERG, PC
MCSWEENEY            JOHN J                NY         10949700         WEITZ & LUXENBERG, PC                                MEEKS                JEWEL DEAN            NY         01CIV3910        WEITZ & LUXENBERG, PC
MCSWEENEY            JOHN J                NY         99122190         WEITZ & LUXENBERG, PC                                MEERE                BELINDA               NY         10746900         WEITZ & LUXENBERG, PC
MCTEST               LENNY                 NY         11327802         WEITZ & LUXENBERG, PC                                MEERE                MICHAEL SR            NY         10746900         WEITZ & LUXENBERG, PC
MCTURK               ROSINA                NY         10049105         WEITZ & LUXENBERG, PC                                MEGNA                ALPHONSE JR           NY         10720500         WEITZ & LUXENBERG, PC
MCTURK               TERENCE J             NY         10049105         WEITZ & LUXENBERG, PC                                MEGNA                FRANCES               NY         10720500         WEITZ & LUXENBERG, PC
MCVAY                GARY A                NY         CV018468         WEITZ & LUXENBERG, PC                                MEHAFFY              LOREN R               NY         10680602         WEITZ & LUXENBERG, PC
MCVEY                JAMES                 NY         1901312018       WEITZ & LUXENBERG, PC                                MEIER                FRANZ                 NY         11701203         WEITZ & LUXENBERG, PC
MCWAIN               ROBERT M              NY         1900282018       WEITZ & LUXENBERG, PC                                MEINHOLD             CHRISTINE             NY         107468000        WEITZ & LUXENBERG, PC
MCWHITE              GLORIA                NY         I20019997        WEITZ & LUXENBERG, PC                                MEINHOLD             WILLIAM D             NY         107468000        WEITZ & LUXENBERG, PC
MCWHITE              JOHN                  NY         I20019997        WEITZ & LUXENBERG, PC                                MEINKEN              HENRY C               NY         11976401         WEITZ & LUXENBERG, PC
MCWILLIAMS           ALBA                  NY         1907372018       WEITZ & LUXENBERG, PC                                MEINKEN              HENRY C               NY         11123201         WEITZ & LUXENBERG, PC
MCWILLIAMS           JAMES                 NY         1907372018       WEITZ & LUXENBERG, PC                                MEINKEN              RUSSELL W             NY         11976401         WEITZ & LUXENBERG, PC
MCWILLIAMS           KENNETH RUSSELL       NY         10670402         WEITZ & LUXENBERG, PC                                MEINKEN              RUSSELL W             NY         11123201         WEITZ & LUXENBERG, PC
MEACHAM              TODD M                NY         02106694         WEITZ & LUXENBERG, PC                                MEIS                 LUZ A                 NY         10746700         WEITZ & LUXENBERG, PC
MEAD                 EUGENE R              NY         12043201         WEITZ & LUXENBERG, PC                                MEIS                 VICTOR P              NY         10746700         WEITZ & LUXENBERG, PC
MEAD                 EUGENE R              NY         10109502         WEITZ & LUXENBERG, PC                                MEISEN               ANN                   NY         12043301         WEITZ & LUXENBERG, PC
MEAD                 KATHIE                NY         10871301         WEITZ & LUXENBERG, PC                                MEISEN               HERBERT J             NY         12043301         WEITZ & LUXENBERG, PC
MEAD                 MARLENE               NY         12043201         WEITZ & LUXENBERG, PC                                MEISENBURG           DAVID J               NY         11210700         WEITZ & LUXENBERG, PC
MEAD                 MARLENE               NY         10109502         WEITZ & LUXENBERG, PC                                MEISENBURG           PATRICIA              NY         11210700         WEITZ & LUXENBERG, PC
MEAD                 MICHAEL L             NY         CV021709         WEITZ & LUXENBERG, PC                                MEISENHOLDER         GEORGE                NY         12444102         WEITZ & LUXENBERG, PC
MEAD                 RICHARD A             NY         10871301         WEITZ & LUXENBERG, PC                                MEISENHOLDER         GEORGE                NY         10319703         WEITZ & LUXENBERG, PC
MEAD                 SHERRY                NY         CV021709         WEITZ & LUXENBERG, PC                                MEJAK                RICHARD A             NY         10658102         WEITZ & LUXENBERG, PC
MEADE                MARY LOUISE           NY         99122190         WEITZ & LUXENBERG, PC                                MEJAK                RICHARD A             NY         11393402         WEITZ & LUXENBERG, PC
MEADE                RAYMOND W             NY         99122190         WEITZ & LUXENBERG, PC                                MEKA                 DONALD R              NY         02106709         WEITZ & LUXENBERG, PC
MEANS                HUNCLES               NY         10949500         WEITZ & LUXENBERG, PC                                MEKA                 JOSEPHINE A           NY         02106709         WEITZ & LUXENBERG, PC
MEANS                HUNCLES               NY         99122190         WEITZ & LUXENBERG, PC                                MELDER               ROBERT JAMES          NY         01111227         WEITZ & LUXENBERG, PC
MEASDAY              CHARLOTTE             NY         19006611         WEITZ & LUXENBERG, PC                                MELE                 ANGELA                NY         01121099         WEITZ & LUXENBERG, PC
MEASDAY              DAVID J               NY         19006611         WEITZ & LUXENBERG, PC                                MELE                 ANTOINETTE            NY         12112301         WEITZ & LUXENBERG, PC
MECA                 NORMA                 NY         10720400T        WEITZ & LUXENBERG, PC                                MELE                 ANTOINETTE            NY         01111224         WEITZ & LUXENBERG, PC
MECA                 PETER J               NY         10720400T        WEITZ & LUXENBERG, PC                                MELE                 ARTHUR                NY         01111235         WEITZ & LUXENBERG, PC
MECCARELLO           ANGELINA              NY         10949400         WEITZ & LUXENBERG, PC                                MELE                 ARTHUR                NY         11838901         WEITZ & LUXENBERG, PC
MECCARELLO           ANGELINA              NY         99122190         WEITZ & LUXENBERG, PC                                MELE                 FRANK                 NY         99100035         WEITZ & LUXENBERG, PC
MECCARELLO           CONSTANTINO JOSEPH    NY         10949400         WEITZ & LUXENBERG, PC                                MELE                 JAMES                 NY         01121099         WEITZ & LUXENBERG, PC
MECCARELLO           CONSTANTINO JOSEPH    NY         99122190         WEITZ & LUXENBERG, PC                                MELE                 JOSEPH                NY         10669102         WEITZ & LUXENBERG, PC
MECCARELLO           JON C                 NY         10949400         WEITZ & LUXENBERG, PC                                MELE                 MARIANO               NY         12112301         WEITZ & LUXENBERG, PC
MECCARELLO           JON C                 NY         99122190         WEITZ & LUXENBERG, PC                                MELE                 MARIANO               NY         01111224         WEITZ & LUXENBERG, PC
MECHEM               CYNTHIA               NY         12801502         WEITZ & LUXENBERG, PC                                MELE                 MARYANNE              NY         10669102         WEITZ & LUXENBERG, PC
MECKENECK            DANIEL                NY         11020599         WEITZ & LUXENBERG, PC                                MELECA               ELIZABETH             NY         10740202         WEITZ & LUXENBERG, PC
MECKENECK            MARY                  NY         11020599         WEITZ & LUXENBERG, PC                                MELECA               FRANK R               NY         10740202         WEITZ & LUXENBERG, PC
MECKLE               DONALD J              NY         10949300         WEITZ & LUXENBERG, PC                                MELECA               SANDRA                NY         10740202         WEITZ & LUXENBERG, PC
MECKLE               DONALD J              NY         99122190         WEITZ & LUXENBERG, PC                                MELECA               THOMAS J              NY         10740202         WEITZ & LUXENBERG, PC
MECKLE               ELIZABETH             NY         10949300         WEITZ & LUXENBERG, PC                                MELENDEZ             ELIEZER               NY         01111228         WEITZ & LUXENBERG, PC
MECKLE               ELIZABETH             NY         99122190         WEITZ & LUXENBERG, PC                                MELEWSKI             EDWARD T              NY         10746600         WEITZ & LUXENBERG, PC
MECURIO              DIANE                 NY         12788702         WEITZ & LUXENBERG, PC                                MELHORN              WILLIAM J             PA         180402055        WEITZ & LUXENBERG, PC
MECURIO              RONALD                NY         12788702         WEITZ & LUXENBERG, PC                                MELI                 JOSEPH                NY         12112301         WEITZ & LUXENBERG, PC
MEDER                DONNA M               NY         10708101         WEITZ & LUXENBERG, PC                                MELI                 JOSEPH                NY         01111224         WEITZ & LUXENBERG, PC
MEDER                DONNA M               NY         11937900         WEITZ & LUXENBERG, PC                                MELI                 SALVATORE A           NY         12112301         WEITZ & LUXENBERG, PC
MEDER                DONNA M               NY         10679706         WEITZ & LUXENBERG, PC                                MELI                 SALVATORE A           NY         01111224         WEITZ & LUXENBERG, PC
MEDIATE              ARTHUR J              NY         10811403         WEITZ & LUXENBERG, PC                                MELI                 STEPHEN               NY         I20019691        WEITZ & LUXENBERG, PC
MEDIATE              HARRIET               NY         10811403         WEITZ & LUXENBERG, PC                                MELICHAR             CHARLES A             NY         12039901         WEITZ & LUXENBERG, PC
MEDICI               AMERICO L             NY         10670602         WEITZ & LUXENBERG, PC                                MELICHAR             RITA                  NY         12039901         WEITZ & LUXENBERG, PC
MEDINA               ANA V                 NY         10747200         WEITZ & LUXENBERG, PC                                MELIDONA             DOMINIC F             NY         11210900         WEITZ & LUXENBERG, PC
MEDINA               FELIX                 NY         10747200         WEITZ & LUXENBERG, PC                                MELIDONA             DOROTHY               NY         11210900         WEITZ & LUXENBERG, PC
MEDLOCK              CHARLIE               NY         01CIV3922        WEITZ & LUXENBERG, PC                                MELILLO              FELIX                 NY         10746500         WEITZ & LUXENBERG, PC
MEDLOCK              SARAH                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                MELILLO              JOSEPH P              NY         01111234         WEITZ & LUXENBERG, PC
MEDRANO              ANNA G                NY         10399903         WEITZ & LUXENBERG, PC                                MELILLO              JOSEPH P              NY         11922101         WEITZ & LUXENBERG, PC
MEDRANO              SILVIO R              DE         N18C02105ASB     WEITZ & LUXENBERG, PC                                MELILLO              MARY                  NY         10746500         WEITZ & LUXENBERG, PC
MEEHAN               ANNA                  NY         12788702         WEITZ & LUXENBERG, PC                                MELITO               GIROLAMO              NY         11211100         WEITZ & LUXENBERG, PC
MEEHAN               ANNA                  NY         10219203         WEITZ & LUXENBERG, PC                                MELITO               PHYLLIS               NY         11211100         WEITZ & LUXENBERG, PC
MEEHAN               BEATRICE ANNE         NY         10269301         WEITZ & LUXENBERG, PC                                MELKA                FRANCIS R             NY         12668202         WEITZ & LUXENBERG, PC
MEEHAN               FELICITA              NY         11210600         WEITZ & LUXENBERG, PC                                MELKA                FRANCIS R             NY         10388203         WEITZ & LUXENBERG, PC
MEEHAN               JOHN A                NY         10269301         WEITZ & LUXENBERG, PC                                MELKA                GERALDINE             NY         12668202         WEITZ & LUXENBERG, PC
MEEHAN               JOHN J                NY         10747100         WEITZ & LUXENBERG, PC                                MELKA                GERALDINE             NY         10388203         WEITZ & LUXENBERG, PC
MEEHAN               PATRICIA              NY         10747100         WEITZ & LUXENBERG, PC                                MELLERSKI            HELEN                 NY         I20019502        WEITZ & LUXENBERG, PC
MEEHAN               ROBERT S              NY         12043001         WEITZ & LUXENBERG, PC                                MELLERSKI            HELEN                 NY         02120709         WEITZ & LUXENBERG, PC
MEEHAN               THOMAS JOHN           NY         12788702         WEITZ & LUXENBERG, PC                                MELLERSKI            STEPHEN J             NY         I20019502        WEITZ & LUXENBERG, PC
MEEHAN               THOMAS JOHN           NY         10219203         WEITZ & LUXENBERG, PC                                MELLERSKI            STEPHEN J             NY         02120709         WEITZ & LUXENBERG, PC
MEEHAN               VIRGINIA              NY         12043001         WEITZ & LUXENBERG, PC                                MELLOY               ANGELA                NY         10708401         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1003
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 338 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MELLOY               ANGELA                NY         11937900         WEITZ & LUXENBERG, PC                                MERANDO              STEVEN                NY         11710903         WEITZ & LUXENBERG, PC
MELLUSI              ANTHONY               NY         12039201         WEITZ & LUXENBERG, PC                                MERCADO              ANNA                  NY         11640801         WEITZ & LUXENBERG, PC
MELLUSI              ANTHONY               NY         10408102         WEITZ & LUXENBERG, PC                                MERCADO              ANNA                  NY         01111219         WEITZ & LUXENBERG, PC
MELLUSI              LUCILLE               NY         12039201         WEITZ & LUXENBERG, PC                                MERCADO              JOSEPH                NY         11640801         WEITZ & LUXENBERG, PC
MELLUSI              LUCILLE               NY         10408102         WEITZ & LUXENBERG, PC                                MERCADO              JOSEPH                NY         01111219         WEITZ & LUXENBERG, PC
MELLUSI              RAFFAELE              NY         12039101         WEITZ & LUXENBERG, PC                                MERCADO              PALMA                 NY         1903212017       WEITZ & LUXENBERG, PC
MELLUSI              RAFFAELE              NY         10428202         WEITZ & LUXENBERG, PC                                MERCADO              VICTOR                NY         1903212017       WEITZ & LUXENBERG, PC
MELLUSI              RALPH J               NY         12039101         WEITZ & LUXENBERG, PC                                MERCATANTE           FRANK                 NY         1900182017       WEITZ & LUXENBERG, PC
MELLUSI              RALPH J               NY         10428202         WEITZ & LUXENBERG, PC                                MERCATANTE           SARI                  NY         1900182017       WEITZ & LUXENBERG, PC
MELLUSI              ROSE G                NY         12039101         WEITZ & LUXENBERG, PC                                MERCER               OWEN                  NY         19009511         WEITZ & LUXENBERG, PC
MELLUSI              ROSE G                NY         10428202         WEITZ & LUXENBERG, PC                                MERCIER              FRANK WAYNE           NY         01CIV3910        WEITZ & LUXENBERG, PC
MELNICK              ELAINE                NY         01122139         WEITZ & LUXENBERG, PC                                MERCIER              MARY BETH             NY         01CIV3910        WEITZ & LUXENBERG, PC
MELNICK              FRED                  NY         01122139         WEITZ & LUXENBERG, PC                                MERCKEL              NORMAN D              NY         99100038         WEITZ & LUXENBERG, PC
MELNICK              JUDITH                NY         10754602         WEITZ & LUXENBERG, PC                                MERCKEL              RUTH                  NY         99100038         WEITZ & LUXENBERG, PC
MELNICK              MARVIN                NY         10754602         WEITZ & LUXENBERG, PC                                MERCURIO             DIANE                 NY         10219303         WEITZ & LUXENBERG, PC
MELTON               BENJAMIN SR           NY         10720700         WEITZ & LUXENBERG, PC                                MERCURIO             RONALD S              NY         10219303         WEITZ & LUXENBERG, PC
MELTON               DASIE                 NY         10720700         WEITZ & LUXENBERG, PC                                MERE                 CAROL                 NY         02106692         WEITZ & LUXENBERG, PC
MELTON               JONHHIE MAE           NY         11123101         WEITZ & LUXENBERG, PC                                MERE                 GILBERT D             NY         02106692         WEITZ & LUXENBERG, PC
MELTON               WALKER                NY         11123101         WEITZ & LUXENBERG, PC                                MERECKI              WALTER J              NY         10268501         WEITZ & LUXENBERG, PC
MELTZER              DEBORAH               NY         99120294         WEITZ & LUXENBERG, PC                                MEREDITH             PATRICIA ANN          NY         11026702         WEITZ & LUXENBERG, PC
MELTZER              LEONARD               NY         99120294         WEITZ & LUXENBERG, PC                                MERENDO              CARMEL                NY         10496202         WEITZ & LUXENBERG, PC
MELVIN               JOHN                  NY         19025111         WEITZ & LUXENBERG, PC                                MERENDO              YVONNE                NY         10496202         WEITZ & LUXENBERG, PC
MELVIN               PHYLLIS               NY         19025111         WEITZ & LUXENBERG, PC                                MERGENHAGEN          DON R                 NY         11211300         WEITZ & LUXENBERG, PC
MELZER               ABRAHAM J             NY         1900482014       WEITZ & LUXENBERG, PC                                MERGENHAGEN          MARILYN J             NY         11211300         WEITZ & LUXENBERG, PC
MEMMEN               KENNETH H             NY         01111223         WEITZ & LUXENBERG, PC                                MERHOLZ              DENNIS                NY         1902202012       WEITZ & LUXENBERG, PC
MEMMERTH             CHARLES H             NY         10746400         WEITZ & LUXENBERG, PC                                MERHOLZ              JANE                  NY         1902202012       WEITZ & LUXENBERG, PC
MEMMERTH             JEANNE C              NY         10746400         WEITZ & LUXENBERG, PC                                MERHOLZ              MARTY                 NY         1902202012       WEITZ & LUXENBERG, PC
MEMMO                ANTHONY               NY         10268401         WEITZ & LUXENBERG, PC                                MERIAM               PHILIP W              NY         19002412         WEITZ & LUXENBERG, PC
MEMMO                JAMES A               NY         10268401         WEITZ & LUXENBERG, PC                                MERINO               JOANNE                NY         I20019491        WEITZ & LUXENBERG, PC
MEMMO                MICHAEL J             NY         10268401         WEITZ & LUXENBERG, PC                                MERINO               JOANNE                NY         02121082         WEITZ & LUXENBERG, PC
MENARD               GILBERT A             NY         1902102019       WEITZ & LUXENBERG, PC                                MERINO               MARC F                NY         I20019491        WEITZ & LUXENBERG, PC
MENARD               RITA                  NY         1902102019       WEITZ & LUXENBERG, PC                                MERINO               MARC F                NY         02121082         WEITZ & LUXENBERG, PC
MENCHICCHI           JO ANN                NY         10023403         WEITZ & LUXENBERG, PC                                MERKITCH             ARNOLD                NY         12043301         WEITZ & LUXENBERG, PC
MENCHICCHI           LOUIS                 NY         10023403         WEITZ & LUXENBERG, PC                                MERKITCH             DIANA                 NY         12043301         WEITZ & LUXENBERG, PC
MENDENHALL           MARGARET WILLIAMS     NY         CV025685         WEITZ & LUXENBERG, PC                                MERKLING             BARBARA               NY         02106709         WEITZ & LUXENBERG, PC
MENDES               AGNES B               NY         11976301         WEITZ & LUXENBERG, PC                                MERKLING             NEIL T                NY         02106709         WEITZ & LUXENBERG, PC
MENDES               AGNES B               NY         11123201         WEITZ & LUXENBERG, PC                                MERLINO              MICHAEL R             NY         I20019503        WEITZ & LUXENBERG, PC
MENDES               ROBERT F              NY         11976301         WEITZ & LUXENBERG, PC                                MERLINO              MICHAEL R             NY         02120709         WEITZ & LUXENBERG, PC
MENDES               ROBERT F              NY         11123201         WEITZ & LUXENBERG, PC                                MEROLA               JAMES R               NY         10712100         WEITZ & LUXENBERG, PC
MENDEZ               ROSE P                NY         02106578         WEITZ & LUXENBERG, PC                                MEROLA               PATRICIA              NY         11616600         WEITZ & LUXENBERG, PC
MENDEZ               SALVATORE             NY         02106578         WEITZ & LUXENBERG, PC                                MEROLA               VITO                  NY         11616600         WEITZ & LUXENBERG, PC
MENDILLO             VIRGINIA A            NY         10345301         WEITZ & LUXENBERG, PC                                MERRICK              RANDY PHILLIP         NY         02106694         WEITZ & LUXENBERG, PC
MENDOCHA             DOUGLAS T             NY         12346601         WEITZ & LUXENBERG, PC                                MERRIOTT             JAMES CLYDE           NY         01CIV3913        WEITZ & LUXENBERG, PC
MENDOCHA             DOUGLAS T             NY         01111227         WEITZ & LUXENBERG, PC                                MERRIOTT             TRELLEYA              NY         01CIV3913        WEITZ & LUXENBERG, PC
MENDOCHA             OLGA                  NY         12346601         WEITZ & LUXENBERG, PC                                MERRITT              CHARLOTTE J           NY         CV018136         WEITZ & LUXENBERG, PC
MENDOCHA             OLGA                  NY         01111227         WEITZ & LUXENBERG, PC                                MERRITT              DEWAYNE               NY         CV018136         WEITZ & LUXENBERG, PC
MENDOCHA             TED E                 NY         12346601         WEITZ & LUXENBERG, PC                                MERTZ                HEDWIG                NY         10670602         WEITZ & LUXENBERG, PC
MENDOCHA             TED E                 NY         01111227         WEITZ & LUXENBERG, PC                                MERTZ                PAUL A                NY         10670602         WEITZ & LUXENBERG, PC
MENDOLA              AGOSTINO              NY         1900762019       WEITZ & LUXENBERG, PC                                MERZKE               GAIL                  NY         99100031         WEITZ & LUXENBERG, PC
MENDOLA              MARIA                 NY         1900762019       WEITZ & LUXENBERG, PC                                MERZKE               RONALD L              NY         99100031         WEITZ & LUXENBERG, PC
MENDOLA              PATSY                 NY         11211200         WEITZ & LUXENBERG, PC                                MESA                 CARMELO               NY         99100054         WEITZ & LUXENBERG, PC
MENDOLA              SALVATORE             NY         11211200         WEITZ & LUXENBERG, PC                                MESA                 GEORGINA              NY         99100054         WEITZ & LUXENBERG, PC
MENECHINO            FILOMENA              NY         11026702         WEITZ & LUXENBERG, PC                                MESEC                GARY J                NY         11026702         WEITZ & LUXENBERG, PC
MENECHINO            JOHN                  NY         11026702         WEITZ & LUXENBERG, PC                                MESEC                PATRICIA              NY         12668102         WEITZ & LUXENBERG, PC
MENENDEZ             MARJORIE A            NY         10720800         WEITZ & LUXENBERG, PC                                MESEC                TERRY J               NY         12668102         WEITZ & LUXENBERG, PC
MENENDEZ             RALPH A               NY         10720800         WEITZ & LUXENBERG, PC                                MESLER               EARL DANIEL           NY         10587602         WEITZ & LUXENBERG, PC
MENIFEE              PAUL                  NY         10720900         WEITZ & LUXENBERG, PC                                MESLER               EARL DANIEL           NY         10972402         WEITZ & LUXENBERG, PC
MENNA                ANGELO                NY         01111226         WEITZ & LUXENBERG, PC                                MESSENGER            JAMES                 NY         12317801         WEITZ & LUXENBERG, PC
MENNELLA             JOHN                  NY         11123101         WEITZ & LUXENBERG, PC                                MESSENGER            JAMES                 NY         01111230         WEITZ & LUXENBERG, PC
MENNELLA             JOHN                  NY         12056901         WEITZ & LUXENBERG, PC                                MESSENGER            LOIS                  NY         12317801         WEITZ & LUXENBERG, PC
MENNO                JOSEPH P              NY         10700302         WEITZ & LUXENBERG, PC                                MESSENGER            LOIS                  NY         01111230         WEITZ & LUXENBERG, PC
MENNO                THERESA               NY         10700302         WEITZ & LUXENBERG, PC                                MESSINA              CHARLES               NY         10379404         WEITZ & LUXENBERG, PC
MENSCHE              ARLENE                NY         10147502         WEITZ & LUXENBERG, PC                                MESSINA              LOUIS V               NY         1904312014       WEITZ & LUXENBERG, PC
MENSCHE              DAVID                 NY         10147502         WEITZ & LUXENBERG, PC                                MESSINA              SARAH                 NY         10379404         WEITZ & LUXENBERG, PC
MENTEL               DAWN M                NY         10838600         WEITZ & LUXENBERG, PC                                MESSINA              SCOTT ANTHONY         NY         1904312014       WEITZ & LUXENBERG, PC
MENVILLE             JOAN                  NY         02107102         WEITZ & LUXENBERG, PC                                MESSINA              VIRGINIA              NY         1904312014       WEITZ & LUXENBERG, PC
MENVILLE             JOHN A                NY         02107102         WEITZ & LUXENBERG, PC                                MESSINEO             MARGUERITE            NY         12039601         WEITZ & LUXENBERG, PC
MENZ                 CHARLOTTE             NY         02107004         WEITZ & LUXENBERG, PC                                MESSINEO             MARGUERITE            NY         10334302         WEITZ & LUXENBERG, PC
MENZ                 RICHARD E             NY         02107004         WEITZ & LUXENBERG, PC                                MESSINEO             THOMAS                NY         12039601         WEITZ & LUXENBERG, PC
MENZINGER            KATHLEEN A            NY         12057803         WEITZ & LUXENBERG, PC                                MESSINEO             THOMAS                NY         10334302         WEITZ & LUXENBERG, PC
MENZINGER            WALTER P              NY         12057803         WEITZ & LUXENBERG, PC                                MESSMER              FRANK A               NY         11622401         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1004
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 339 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MESSMER              FRANK A               NY         01111221         WEITZ & LUXENBERG, PC                                MICHAELEK            LINDA                 NY         10722002         WEITZ & LUXENBERG, PC
MESSMER              THORA C               NY         11622401         WEITZ & LUXENBERG, PC                                MICHAELS             MARY                  NY         10603302         WEITZ & LUXENBERG, PC
MESSMER              THORA C               NY         01111221         WEITZ & LUXENBERG, PC                                MICHAELS             MARY                  NY         12100401         WEITZ & LUXENBERG, PC
MESTANZA             DONALD                NY         10871401         WEITZ & LUXENBERG, PC                                MICHAELS             WILLIAM               NY         10603302         WEITZ & LUXENBERG, PC
MESTANZA             SHARON R              NY         10871401         WEITZ & LUXENBERG, PC                                MICHAELS             WILLIAM               NY         12100401         WEITZ & LUXENBERG, PC
MESTROV              GEORGE                NY         99120252         WEITZ & LUXENBERG, PC                                MICHALAK             BUSTER S              NY         02105716         WEITZ & LUXENBERG, PC
MESTROV              JOHN F                NY         99120252         WEITZ & LUXENBERG, PC                                MICHALAK             WILLIAM GEORGE        NY         12038901         WEITZ & LUXENBERG, PC
METCALF              CORA JANE             NY         01CIV3895        WEITZ & LUXENBERG, PC                                MICHALEK             PATRICIA              NY         10745500         WEITZ & LUXENBERG, PC
METCALF              DONNA                 NY         1902552015       WEITZ & LUXENBERG, PC                                MICHALEK             ROBERT                NY         10745500         WEITZ & LUXENBERG, PC
METCALF              LUND-DUANE            NY         1902552015       WEITZ & LUXENBERG, PC                                MICHALOWSKI          BARBARA A             NY         10710002         WEITZ & LUXENBERG, PC
METHE                FREDERICK J           NY         02120520         WEITZ & LUXENBERG, PC                                MICHALOWSKI          BARBARA A             NY         12684002         WEITZ & LUXENBERG, PC
METOT                GERALD EUGENE         NY         02106508         WEITZ & LUXENBERG, PC                                MICHALOWSKI          HENRY                 NY         10268701         WEITZ & LUXENBERG, PC
METOT                GERALD EUGENE         NY         11076802         WEITZ & LUXENBERG, PC                                MICHALOWSKI          SOPHIA                NY         10268701         WEITZ & LUXENBERG, PC
METOT                KENNETH L             NY         02106508         WEITZ & LUXENBERG, PC                                MICHALOWSKI          WALTER P              NY         10710002         WEITZ & LUXENBERG, PC
METOT                KENNETH L             NY         11076802         WEITZ & LUXENBERG, PC                                MICHALOWSKI          WALTER P              NY         12684002         WEITZ & LUXENBERG, PC
METROS               DIANE                 NY         10722002         WEITZ & LUXENBERG, PC                                MICHALSKI            ANNA MARIA            NY         10716802         WEITZ & LUXENBERG, PC
METROS               NICK                  NY         10722002         WEITZ & LUXENBERG, PC                                MICHALSKI            ANNA MARIA            NY         11240702         WEITZ & LUXENBERG, PC
METZ                 KAY                   NY         E2019000371      WEITZ & LUXENBERG, PC                                MICHALSKI            FLORENCE              NY         10034702         WEITZ & LUXENBERG, PC
METZ                 SHELDON               NY         E2019000371      WEITZ & LUXENBERG, PC                                MICHALSKI            FRANK J               NY         10716802         WEITZ & LUXENBERG, PC
METZGER              ROLLAND J             NY         02105718         WEITZ & LUXENBERG, PC                                MICHALSKI            FRANK J               NY         11240702         WEITZ & LUXENBERG, PC
MEURER               WILLIAM A             NY         10746100         WEITZ & LUXENBERG, PC                                MICHALSKI            HENRY S               NY         10034702         WEITZ & LUXENBERG, PC
MEYER                CHARLES J             NY         11209000         WEITZ & LUXENBERG, PC                                MICHAUD              ERMA                  NY         10716702         WEITZ & LUXENBERG, PC
MEYER                DOROTHY B             NY         12026399         WEITZ & LUXENBERG, PC                                MICHAUD              JOSEPH A              NY         11356702         WEITZ & LUXENBERG, PC
MEYER                EDWARD                NY         01111223         WEITZ & LUXENBERG, PC                                MICHAUD              ROY K                 NY         10716702         WEITZ & LUXENBERG, PC
MEYER                JOAN OLIVIA           NY         11209000         WEITZ & LUXENBERG, PC                                MICHAUD              URSULA                NY         11356702         WEITZ & LUXENBERG, PC
MEYER                JOHN C                NY         12433902         WEITZ & LUXENBERG, PC                                MICHEL               DAVID                 NY         10669102         WEITZ & LUXENBERG, PC
MEYER                JULIA                 NY         12433902         WEITZ & LUXENBERG, PC                                MICHEL               DENISE C              NY         11414102         WEITZ & LUXENBERG, PC
MEYER                LADONNA PAULETTE      NY         1905502012       WEITZ & LUXENBERG, PC                                MICHEL               GERALD J              NY         12433200         WEITZ & LUXENBERG, PC
MEYER                LAURIE L              NY         10402901         WEITZ & LUXENBERG, PC                                MICHEL               ROSEMARY              NY         12433200         WEITZ & LUXENBERG, PC
MEYER                MARGUERITE L          NY         10300504         WEITZ & LUXENBERG, PC                                MICHEL               SHANNON               NY         10669102         WEITZ & LUXENBERG, PC
MEYER                STEPHEN F             NY         12026399         WEITZ & LUXENBERG, PC                                MICHELINE            ROBERT D              NY         01111223         WEITZ & LUXENBERG, PC
MEYER                WILLIAM H             NY         01111234         WEITZ & LUXENBERG, PC                                MICHELIS             MICHELE               NY         10628102         WEITZ & LUXENBERG, PC
MEYER                WILLIAM H             NY         11922201         WEITZ & LUXENBERG, PC                                MICHELLA             FRANCIS J             NY         0349632018       WEITZ & LUXENBERG, PC
MEYERHOEFER          JAMES P               NY         10732904         WEITZ & LUXENBERG, PC                                MICHELSON            JEFFREY S             NY         1900282018       WEITZ & LUXENBERG, PC
MEYERHOEFER          MARILYN L             NY         10732904         WEITZ & LUXENBERG, PC                                MICHITSCH            KENNETH L             NY         107454000        WEITZ & LUXENBERG, PC
MEYERHOFFER          DEBORA                NY         1903102012       WEITZ & LUXENBERG, PC                                MICHITSCH            MADELINE              NY         107454000        WEITZ & LUXENBERG, PC
MEYERHOFFER          MARVIN                NY         1903102012       WEITZ & LUXENBERG, PC                                MICIOTTA             MICHAEL V             NY         10380203         WEITZ & LUXENBERG, PC
MEYEROWITZ           LENA                  NY         00106928         WEITZ & LUXENBERG, PC                                MICKAN               RICHARD CHARLES       NY         10268801         WEITZ & LUXENBERG, PC
MEYERS               ALBERT W              NY         10587002         WEITZ & LUXENBERG, PC                                MICKAN               SHARON                NY         10268801         WEITZ & LUXENBERG, PC
MEYERS               ALFRED W              NY         10746000         WEITZ & LUXENBERG, PC                                MICKLAS              DONNA J               NY         11759402         WEITZ & LUXENBERG, PC
MEYERS               ANDREW AMOS           NY         01121099         WEITZ & LUXENBERG, PC                                MIDDIONE             JOSEPH J              NY         10721100         WEITZ & LUXENBERG, PC
MEYERS               ANDREW AMOS           NY         10853302         WEITZ & LUXENBERG, PC                                MIDDLEBROOKS         DENISE BROWN          NY         10606699         WEITZ & LUXENBERG, PC
MEYERS               CHARLES E             NY         10525201         WEITZ & LUXENBERG, PC                                MIDDLETON            CARL F                NY         10745300         WEITZ & LUXENBERG, PC
MEYERS               HILDA                 NY         10587002         WEITZ & LUXENBERG, PC                                MIDDLETON            CHARLES               NY         11627904         WEITZ & LUXENBERG, PC
MEYERS               HOWARD BRUCE          NY         11209100         WEITZ & LUXENBERG, PC                                MIDDLETON            LINDA M               NY         11627904         WEITZ & LUXENBERG, PC
MEYERS               JAMES WALTER          NY         10716902         WEITZ & LUXENBERG, PC                                MIDDLIONE            VIVIAN                NY         10721100         WEITZ & LUXENBERG, PC
MEYERS               LUCILLE SALLY         NY         01121099         WEITZ & LUXENBERG, PC                                MIELCAREK            JOHN                  NY         10269601         WEITZ & LUXENBERG, PC
MEYERS               LUCILLE SALLY         NY         10853302         WEITZ & LUXENBERG, PC                                MIELCAREK            NORMA                 NY         10269601         WEITZ & LUXENBERG, PC
MEYERS               ROSE ANN              NY         11209100         WEITZ & LUXENBERG, PC                                MIELE                EMILIA                NY         11375904         WEITZ & LUXENBERG, PC
MEZIC                BRUNO                 NY         99120458         WEITZ & LUXENBERG, PC                                MIELE                JOHN E                NY         10485303         WEITZ & LUXENBERG, PC
MEZIC                JOSEPH                NY         02107007         WEITZ & LUXENBERG, PC                                MIELE                JOSEPH A              NY         11375904         WEITZ & LUXENBERG, PC
MEZIC                NADA                  NY         02107007         WEITZ & LUXENBERG, PC                                MIELE                LILLIAN               NY         10485303         WEITZ & LUXENBERG, PC
MEZZAPESA            DOMINIC               NY         10268601         WEITZ & LUXENBERG, PC                                MIELNICKI            WALTER                NY         10745200         WEITZ & LUXENBERG, PC
MEZZAPESA            DOROTHY               NY         10268601         WEITZ & LUXENBERG, PC                                MIELNIK              JOAN STEPHANIE        NY         11315799         WEITZ & LUXENBERG, PC
MEZZATESTA           FRANK                 NY         10745900         WEITZ & LUXENBERG, PC                                MIESNER              DANIEL E              NY         10587102         WEITZ & LUXENBERG, PC
MEZZATESTA           MAE                   NY         10745900         WEITZ & LUXENBERG, PC                                MIESNER              DONNA                 NY         10587102         WEITZ & LUXENBERG, PC
MEZZO                JACK                  NY         11837500         WEITZ & LUXENBERG, PC                                MIGIAS               ANASTASIOS G          NY         10871301         WEITZ & LUXENBERG, PC
MEZZO                ROSE                  NY         11837500         WEITZ & LUXENBERG, PC                                MIGIAS               SOFIA                 NY         10871301         WEITZ & LUXENBERG, PC
MIANO                FRANK D               NY         99120089         WEITZ & LUXENBERG, PC                                MIGLESZ              MICHAEL               NY         10745000         WEITZ & LUXENBERG, PC
MIANO                JOSEPH V              NY         10722002         WEITZ & LUXENBERG, PC                                MIGLIARESE           JOSEPH                NY         19019111         WEITZ & LUXENBERG, PC
MIANO                LILLIAN M             NY         10722002         WEITZ & LUXENBERG, PC                                MIGLIARESE           MATILDA               NY         19019111         WEITZ & LUXENBERG, PC
MIANO                MARIANNE              NY         99120089         WEITZ & LUXENBERG, PC                                MIGLIORE             JACK J                NY         11209200         WEITZ & LUXENBERG, PC
MIANO                VICTORIA I            NY         10287903         WEITZ & LUXENBERG, PC                                MIGLIORINI           GINO                  NY         19003509         WEITZ & LUXENBERG, PC
MIAZGA               BETTY A               NY         10745800         WEITZ & LUXENBERG, PC                                MIGLIORINI           ROMINA                NY         19003509         WEITZ & LUXENBERG, PC
MIAZGA               RICHARD L             NY         10745800         WEITZ & LUXENBERG, PC                                MIGNANO              LEONARDO              NY         11123101         WEITZ & LUXENBERG, PC
MICCIULLA            JO ANNE PLUEO         NY         10745700         WEITZ & LUXENBERG, PC                                MIGNONE              DOMINICK              NY         10912005         WEITZ & LUXENBERG, PC
MICCIULLA            SALVATORE             NY         10745700         WEITZ & LUXENBERG, PC                                MIGNONE              JUDITH                NY         10912005         WEITZ & LUXENBERG, PC
MICELI               ANTONIO               NY         10745600         WEITZ & LUXENBERG, PC                                MIHAL                FRANK A               NY         11026702         WEITZ & LUXENBERG, PC
MICELI               GIOVANNA              NY         10745600         WEITZ & LUXENBERG, PC                                MIHAL                FRANK A               NY         12634902         WEITZ & LUXENBERG, PC
MICELI               NICHOLAS J            NY         10137605         WEITZ & LUXENBERG, PC                                MIHAL                STEPHEN F             NY         11026702         WEITZ & LUXENBERG, PC
MICHAELEK            JOSEPH                NY         10722002         WEITZ & LUXENBERG, PC                                MIHAL                STEPHEN F             NY         12634902         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1005
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 340 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MIHOCKO              JOANNE H              NY         10074103         WEITZ & LUXENBERG, PC                                MILLER               DONNA                 NY         110494           WEITZ & LUXENBERG, PC
MIHOCKO              PAUL A                NY         10074103         WEITZ & LUXENBERG, PC                                MILLER               DORIS                 NY         CV024536         WEITZ & LUXENBERG, PC
MIKLE                GAIL M                NY         10744800         WEITZ & LUXENBERG, PC                                MILLER               DOROTHY               NY         99120316         WEITZ & LUXENBERG, PC
MIKLE                STEVE                 NY         10744800         WEITZ & LUXENBERG, PC                                MILLER               DOROTHY               NY         01CIV3910        WEITZ & LUXENBERG, PC
MIKLITCH             JOHN                  NY         10744700         WEITZ & LUXENBERG, PC                                MILLER               DOUGLAS               NY         10744000         WEITZ & LUXENBERG, PC
MIKOLAJCZAK          CAROL A               NY         I200110282       WEITZ & LUXENBERG, PC                                MILLER               DWIGHT                NY         10269701         WEITZ & LUXENBERG, PC
MIKOLAJCZAK          THADDEUS A            NY         I200110282       WEITZ & LUXENBERG, PC                                MILLER               EDDIE                 NY         10743900         WEITZ & LUXENBERG, PC
MIKULA               JOHN J                NY         11837600         WEITZ & LUXENBERG, PC                                MILLER               EDDIE                 NY         10716802         WEITZ & LUXENBERG, PC
MIKULAK              ELEANOR               NY         10744600         WEITZ & LUXENBERG, PC                                MILLER               EDWARD                NY         1900992014       WEITZ & LUXENBERG, PC
MIKULAK              JOSEPH                NY         10744600         WEITZ & LUXENBERG, PC                                MILLER               EDWARD A              NY         CV013921         WEITZ & LUXENBERG, PC
MILAN                CASILDA               NY         01111227         WEITZ & LUXENBERG, PC                                MILLER               ELMO                  NY         10743800         WEITZ & LUXENBERG, PC
MILAN                CHARLES               NY         01111227         WEITZ & LUXENBERG, PC                                MILLER               ESTHER                NY         10587002         WEITZ & LUXENBERG, PC
MILANI               ARTHUR J              NY         I200110596       WEITZ & LUXENBERG, PC                                MILLER               ESTHER                NY         10719200         WEITZ & LUXENBERG, PC
MILANI               HELEN E               NY         I200110596       WEITZ & LUXENBERG, PC                                MILLER               GEORGE                NY         02113280         WEITZ & LUXENBERG, PC
MILANKOVIC           JOE                   NY         10744500         WEITZ & LUXENBERG, PC                                MILLER               GERALDINE             NY         10742900         WEITZ & LUXENBERG, PC
MILANKOVIC           SVETINKA              NY         10744500         WEITZ & LUXENBERG, PC                                MILLER               GERTRUDE              NY         10743300         WEITZ & LUXENBERG, PC
MILCETIC             JOSEPH                NY         01111229         WEITZ & LUXENBERG, PC                                MILLER               GETRUDE               NY         10743300         WEITZ & LUXENBERG, PC
MILCETIC             MARGARET              NY         12317901         WEITZ & LUXENBERG, PC                                MILLER               HAROLD R              NY         10587202         WEITZ & LUXENBERG, PC
MILCETIC             MARGARET              NY         01111230         WEITZ & LUXENBERG, PC                                MILLER               HERMAN J              NY         10587002         WEITZ & LUXENBERG, PC
MILCETIC             PAUL                  NY         12317901         WEITZ & LUXENBERG, PC                                MILLER               HUGH PAUL             NY         10743700         WEITZ & LUXENBERG, PC
MILCETIC             PAUL                  NY         01111230         WEITZ & LUXENBERG, PC                                MILLER               IRENE                 NY         10743400         WEITZ & LUXENBERG, PC
MILES                CORNELIUS C           NY         10744400         WEITZ & LUXENBERG, PC                                MILLER               IVAN C                NY         12433902         WEITZ & LUXENBERG, PC
MILES                DOLORES               NY         12039601         WEITZ & LUXENBERG, PC                                MILLER               JE                    NY         CV024536         WEITZ & LUXENBERG, PC
MILES                GUY R                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                MILLER               JAMES                 NY         12668102         WEITZ & LUXENBERG, PC
MILES                GUYLAH                NY         01CIV3922        WEITZ & LUXENBERG, PC                                MILLER               JAMES                 NY         1903502016       WEITZ & LUXENBERG, PC
MILES                VENDETTA              NY         10744400         WEITZ & LUXENBERG, PC                                MILLER               JAMES CHARLES         NY         CV012422         WEITZ & LUXENBERG, PC
MILES                WILLETTS H            NY         12039601         WEITZ & LUXENBERG, PC                                MILLER               JAMES M               NY         10743600         WEITZ & LUXENBERG, PC
MILETI               BARBARA               NY         11123201         WEITZ & LUXENBERG, PC                                MILLER               JANICE K              NY         10744000         WEITZ & LUXENBERG, PC
MILETI               WILLIAM               NY         11123201         WEITZ & LUXENBERG, PC                                MILLER               JOAN                  NY         10743200         WEITZ & LUXENBERG, PC
MILETIC              ANGELO                NY         01111222         WEITZ & LUXENBERG, PC                                MILLER               JOANNE                NY         10743600         WEITZ & LUXENBERG, PC
MILETIC              JOSEPHINE             NY         01111222         WEITZ & LUXENBERG, PC                                MILLER               JOHN                  NY         12039201         WEITZ & LUXENBERG, PC
MILETO               CAROL                 NY         12039401         WEITZ & LUXENBERG, PC                                MILLER               JOHN H                NY         10269801         WEITZ & LUXENBERG, PC
MILETO               CAROL                 NY         10578802         WEITZ & LUXENBERG, PC                                MILLER               JOHNNIE               NY         CV013921         WEITZ & LUXENBERG, PC
MILETO               CONSTANTINO           NY         12039401         WEITZ & LUXENBERG, PC                                MILLER               JOSEPH                NY         01CIV3910        WEITZ & LUXENBERG, PC
MILETO               CONSTANTINO           NY         10578802         WEITZ & LUXENBERG, PC                                MILLER               JOSEPH C              NY         10743500         WEITZ & LUXENBERG, PC
MILEWSKI             MICHAEL STANLEY       NY         10744300         WEITZ & LUXENBERG, PC                                MILLER               JOSEPH F              NY         12038901         WEITZ & LUXENBERG, PC
MILEWSKI             PEGGY                 NY         10744300         WEITZ & LUXENBERG, PC                                MILLER               JOSEPH P              NY         12213801         WEITZ & LUXENBERG, PC
MILEWSKI             SHIRLEY               NY         10757801         WEITZ & LUXENBERG, PC                                MILLER               JOYCE                 NY         10269801         WEITZ & LUXENBERG, PC
MILEY                LAWRENCE G            NY         19015411         WEITZ & LUXENBERG, PC                                MILLER               JUANITA               NY         19041211         WEITZ & LUXENBERG, PC
MILGO                CHRISTOPHER W         NY         10744200         WEITZ & LUXENBERG, PC                                MILLER               JUDITH                NY         02106709         WEITZ & LUXENBERG, PC
MILGO                ELIZABETH             NY         10744200         WEITZ & LUXENBERG, PC                                MILLER               JUDITH                NY         12668102         WEITZ & LUXENBERG, PC
MILICH               ELIZABETH             NY         10074103         WEITZ & LUXENBERG, PC                                MILLER               JUDY                  NY         CV013921         WEITZ & LUXENBERG, PC
MILICH               LOUIS J               NY         10074103         WEITZ & LUXENBERG, PC                                MILLER               JUDY ANN              NY         02105715         WEITZ & LUXENBERG, PC
MILITELLO            ANGELO S              NY         10696502         WEITZ & LUXENBERG, PC                                MILLER               KENNETH E             NY         10680702         WEITZ & LUXENBERG, PC
MILITELLO            JOSEPH A              NY         10722102         WEITZ & LUXENBERG, PC                                MILLER               KENNETH G             NY         02105715         WEITZ & LUXENBERG, PC
MILITELLO            JOSEPH A              NY         11310202         WEITZ & LUXENBERG, PC                                MILLER               LAURA                 NY         10269701         WEITZ & LUXENBERG, PC
MILITELLO            KAREN A               NY         10722102         WEITZ & LUXENBERG, PC                                MILLER               LAVINA                NY         1901502012       WEITZ & LUXENBERG, PC
MILITELLO            KAREN A               NY         11310202         WEITZ & LUXENBERG, PC                                MILLER               LAWRENCE              NY         10371901         WEITZ & LUXENBERG, PC
MILKS                BEVERLY               NY         10744100         WEITZ & LUXENBERG, PC                                MILLER               LEON                  NY         19017411         WEITZ & LUXENBERG, PC
MILKS                RONALD L              NY         10744100         WEITZ & LUXENBERG, PC                                MILLER               LESTER                NY         10743300         WEITZ & LUXENBERG, PC
MILLARD              FRANCIS M             NY         1901992017       WEITZ & LUXENBERG, PC                                MILLER               LEWIS E               NY         19028910         WEITZ & LUXENBERG, PC
MILLARD              LORI J                NY         1901992017       WEITZ & LUXENBERG, PC                                MILLER               LINDA                 NY         02113280         WEITZ & LUXENBERG, PC
MILLBOWER            LEONARD H             NY         10587402         WEITZ & LUXENBERG, PC                                MILLER               LINDA                 NY         11209300         WEITZ & LUXENBERG, PC
MILLBOWER            PATRICIA              NY         10587402         WEITZ & LUXENBERG, PC                                MILLER               LORRAINE              NY         1900482014       WEITZ & LUXENBERG, PC
MILLER               ADELE                 NY         10270101         WEITZ & LUXENBERG, PC                                MILLER               LOUIS JR              NY         10743400         WEITZ & LUXENBERG, PC
MILLER               ALLEN W               NY         10700002         WEITZ & LUXENBERG, PC                                MILLER               MACKIEL M             NY         19028910         WEITZ & LUXENBERG, PC
MILLER               ANN                   NY         10742800         WEITZ & LUXENBERG, PC                                MILLER               MARIA                 NY         1902142018       WEITZ & LUXENBERG, PC
MILLER               ARLENE                NY         10371901         WEITZ & LUXENBERG, PC                                MILLER               MARTHA                NY         10269901         WEITZ & LUXENBERG, PC
MILLER               AUDRIENNE L           NY         10743800         WEITZ & LUXENBERG, PC                                MILLER               MARTIN                NY         12038801         WEITZ & LUXENBERG, PC
MILLER               AVIS M                NY         10270001         WEITZ & LUXENBERG, PC                                MILLER               MARTIN                NY         10628702         WEITZ & LUXENBERG, PC
MILLER               BARBARA               NY         1900992014       WEITZ & LUXENBERG, PC                                MILLER               MARY                  NY         10742700         WEITZ & LUXENBERG, PC
MILLER               BARBRA J              NY         10716802         WEITZ & LUXENBERG, PC                                MILLER               MARY                  NY         99120091         WEITZ & LUXENBERG, PC
MILLER               BARBRA J              NY         11240502         WEITZ & LUXENBERG, PC                                MILLER               MARY ANN              NY         12038901         WEITZ & LUXENBERG, PC
MILLER               BEVERLY               NY         10167602         WEITZ & LUXENBERG, PC                                MILLER               MELVIN P              NY         1901502012       WEITZ & LUXENBERG, PC
MILLER               CHERYL A              NY         99104237         WEITZ & LUXENBERG, PC                                MILLER               MERRITT W             NY         11871201         WEITZ & LUXENBERG, PC
MILLER               CLAIRE                NY         11871201         WEITZ & LUXENBERG, PC                                MILLER               MERRITT W             NY         01111233         WEITZ & LUXENBERG, PC
MILLER               CLAIRE                NY         01111233         WEITZ & LUXENBERG, PC                                MILLER               MICHAEL A             NY         10743200         WEITZ & LUXENBERG, PC
MILLER               CLEO                  NY         01CIV3910        WEITZ & LUXENBERG, PC                                MILLER               MICHAEL R             NY         02106692         WEITZ & LUXENBERG, PC
MILLER               DENNIS L              NY         1902612012       WEITZ & LUXENBERG, PC                                MILLER               MINNIE                NY         10743900         WEITZ & LUXENBERG, PC
MILLER               DONALD                NY         1902142018       WEITZ & LUXENBERG, PC                                MILLER               NANCY M               NY         10719300         WEITZ & LUXENBERG, PC
MILLER               DONALD S              NY         10719200         WEITZ & LUXENBERG, PC                                MILLER               NINA G                NY         12039201         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1006
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 341 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MILLER               NORMA                 NY         10743700         WEITZ & LUXENBERG, PC                                MILLS                MARY BETH             NY         01107655         WEITZ & LUXENBERG, PC
MILLER               PETER                 NY         10269901         WEITZ & LUXENBERG, PC                                MILLS                RAYMOND A             NY         01CIV3276        WEITZ & LUXENBERG, PC
MILLER               PLEDGER J             NY         CV018469         WEITZ & LUXENBERG, PC                                MILLS                WILLIAM R             NY         11716604         WEITZ & LUXENBERG, PC
MILLER               RALPH T               NY         10270001         WEITZ & LUXENBERG, PC                                MILLSAP              BOB                   NY         01CIV2846        WEITZ & LUXENBERG, PC
MILLER               RAYMOND W             NY         99120091         WEITZ & LUXENBERG, PC                                MILLSAP              FAYE                  NY         CV025685         WEITZ & LUXENBERG, PC
MILLER               RHODA                 NY         10743500         WEITZ & LUXENBERG, PC                                MILLSAP              JOE                   NY         CV025685         WEITZ & LUXENBERG, PC
MILLER               RICHARD               NY         10743100         WEITZ & LUXENBERG, PC                                MILLSAP              NAN                   NY         01CIV2846        WEITZ & LUXENBERG, PC
MILLER               RICHARD               NY         11554604         WEITZ & LUXENBERG, PC                                MILOVCIC             MARIJA                NY         11209500         WEITZ & LUXENBERG, PC
MILLER               RICHARD A             NY         10743000         WEITZ & LUXENBERG, PC                                MILOVCIC             PAUL                  NY         11209500         WEITZ & LUXENBERG, PC
MILLER               RICHARD ALVIN         NY         CV013921         WEITZ & LUXENBERG, PC                                MILOZZI              CAROL                 NY         10587700         WEITZ & LUXENBERG, PC
MILLER               RICHARD H             NY         10719300         WEITZ & LUXENBERG, PC                                MILOZZI              CAROL                 NY         99121980         WEITZ & LUXENBERG, PC
MILLER               RICHARD LEROY         NY         99120316         WEITZ & LUXENBERG, PC                                MILSTEIN             ANNE                  NY         12043301         WEITZ & LUXENBERG, PC
MILLER               ROBERT B              NY         10652205         WEITZ & LUXENBERG, PC                                MILSTEIN             ANNE                  NY         12417201         WEITZ & LUXENBERG, PC
MILLER               ROBERT C              NY         110494           WEITZ & LUXENBERG, PC                                MILSTEIN             HOWARD                NY         12043301         WEITZ & LUXENBERG, PC
MILLER               ROBERT CARL           NY         10716702         WEITZ & LUXENBERG, PC                                MILSTEIN             HOWARD                NY         12417201         WEITZ & LUXENBERG, PC
MILLER               ROBERT E              NY         10742900         WEITZ & LUXENBERG, PC                                MILTON               JOHN                  NY         12218599         WEITZ & LUXENBERG, PC
MILLER               ROSEANN               NY         12433902         WEITZ & LUXENBERG, PC                                MILUSA               DOMINIC               NY         10023203         WEITZ & LUXENBERG, PC
MILLER               ROSEMARY              NY         CV015517         WEITZ & LUXENBERG, PC                                MILUSA               MARIE                 NY         10023203         WEITZ & LUXENBERG, PC
MILLER               ROSEMARY              NY         19003111         WEITZ & LUXENBERG, PC                                MIMNAUGH             RICHARD M             NY         10008703         WEITZ & LUXENBERG, PC
MILLER               RUTH                  NY         10104399         WEITZ & LUXENBERG, PC                                MINCEL               CHERI                 NY         99101041         WEITZ & LUXENBERG, PC
MILLER               RUTH                  NY         19017411         WEITZ & LUXENBERG, PC                                MINCEL               MICHAEL               NY         99101041         WEITZ & LUXENBERG, PC
MILLER               SANDRA                NY         12316002         WEITZ & LUXENBERG, PC                                MINCH                ELANOR                NY         10740102         WEITZ & LUXENBERG, PC
MILLER               SHIRLEY ANN           NY         01CIV3910        WEITZ & LUXENBERG, PC                                MINCH                STUART                NY         10740102         WEITZ & LUXENBERG, PC
MILLER               SHIRLEY ANN           NY         10587202         WEITZ & LUXENBERG, PC                                MINCKS               KENNETH D             NY         1900532017       WEITZ & LUXENBERG, PC
MILLER               SIDNEY                NY         10742800         WEITZ & LUXENBERG, PC                                MINCKS               LOIS E                NY         1900532017       WEITZ & LUXENBERG, PC
MILLER               SOLOMON               NY         10270101         WEITZ & LUXENBERG, PC                                MINER                CONNIE                NY         12668202         WEITZ & LUXENBERG, PC
MILLER               THOMAS E              NY         10104399         WEITZ & LUXENBERG, PC                                MINER                JAMES L               NY         11871301         WEITZ & LUXENBERG, PC
MILLER               THOMAS G              NY         19003111         WEITZ & LUXENBERG, PC                                MINER                JAMES L               NY         01111233         WEITZ & LUXENBERG, PC
MILLER               VERNON B              NY         CV011625         WEITZ & LUXENBERG, PC                                MINER                LINDA                 NY         11871301         WEITZ & LUXENBERG, PC
MILLER               VIRGINIA              NY         11123803         WEITZ & LUXENBERG, PC                                MINER                LINDA                 NY         01111233         WEITZ & LUXENBERG, PC
MILLER               WHITT F               NY         19041211         WEITZ & LUXENBERG, PC                                MINER                MICHAEL J             NY         11871301         WEITZ & LUXENBERG, PC
MILLER               WILLIAM C             NY         11123803         WEITZ & LUXENBERG, PC                                MINER                MICHAEL J             NY         01111233         WEITZ & LUXENBERG, PC
MILLER               WILLIAM D             NY         11209300         WEITZ & LUXENBERG, PC                                MINER                PERRY                 NY         12668202         WEITZ & LUXENBERG, PC
MILLER               WILLIAM G             NY         10716802         WEITZ & LUXENBERG, PC                                MINERVA              DOMINICK              NY         1902742019       WEITZ & LUXENBERG, PC
MILLER               WILLIAM G             NY         11240502         WEITZ & LUXENBERG, PC                                MINERVA              ROXANNE S             NY         1902742019       WEITZ & LUXENBERG, PC
MILLER               WILLIAM I             NY         10742700         WEITZ & LUXENBERG, PC                                MINERVA              VINCENT S             NY         11229805         WEITZ & LUXENBERG, PC
MILLER               WILLIAM MARK          NY         10742700         WEITZ & LUXENBERG, PC                                MINERVINI            ANNE                  NY         1902072018       WEITZ & LUXENBERG, PC
MILLER               WILLIAM S             NY         10716902         WEITZ & LUXENBERG, PC                                MINERVINI            EUGENE W              NY         1902072018       WEITZ & LUXENBERG, PC
MILLER               WILLIE LEE            NY         CV015517         WEITZ & LUXENBERG, PC                                MINETELLO            ANGELO                NY         10270401         WEITZ & LUXENBERG, PC
MILLER               YOSHIKO               NY         11554604         WEITZ & LUXENBERG, PC                                MINETELLO            RITA T                NY         10270401         WEITZ & LUXENBERG, PC
MILLET               CAROL                 NY         99120115         WEITZ & LUXENBERG, PC                                MING                 LOIS                  NY         00CIV1202        WEITZ & LUXENBERG, PC
MILLETT              ROBERT A              NY         99120115         WEITZ & LUXENBERG, PC                                MING                 VEVLAN T              NY         00CIV1202        WEITZ & LUXENBERG, PC
MILLIGAN             DENNIS                NY         11209400         WEITZ & LUXENBERG, PC                                MINGIONE             JUNE AGNES            NY         10610700         WEITZ & LUXENBERG, PC
MILLIGAN             LAWRENCE S            NY         99120088         WEITZ & LUXENBERG, PC                                MINGIONE             JUNE AGNES            NY         12198999         WEITZ & LUXENBERG, PC
MILLIGAN             LYNETTE               NY         11209400         WEITZ & LUXENBERG, PC                                MINGOLLA             LUCRETIA              NY         10271801         WEITZ & LUXENBERG, PC
MILLINER             LEWIS B               NY         10742600         WEITZ & LUXENBERG, PC                                MINGOLLA             MICHAEL               NY         10271801         WEITZ & LUXENBERG, PC
MILLINER             NATALIE               NY         10742600         WEITZ & LUXENBERG, PC                                MINIHAN              BRIDGET               NY         11622301         WEITZ & LUXENBERG, PC
MILLIOUS             BARBARA               NY         10742500         WEITZ & LUXENBERG, PC                                MINIHAN              BRIDGET               NY         01111221         WEITZ & LUXENBERG, PC
MILLIOUS             FLOYD WALTER          NY         10742500         WEITZ & LUXENBERG, PC                                MINIHAN              GERARD                NY         11622301         WEITZ & LUXENBERG, PC
MILLIS               ELIZABETH             NY         10669102         WEITZ & LUXENBERG, PC                                MINIHAN              GERARD                NY         01111221         WEITZ & LUXENBERG, PC
MILLIS               ELIZABETH             NY         11477002         WEITZ & LUXENBERG, PC                                MINIKEL              MADELINE              NY         10038808         WEITZ & LUXENBERG, PC
MILLIS               TRACY E               NY         10669102         WEITZ & LUXENBERG, PC                                MINIKEL              ROBERT                NY         10038808         WEITZ & LUXENBERG, PC
MILLIS               TRACY E               NY         11477002         WEITZ & LUXENBERG, PC                                MININSON             DIANE                 NY         10133707         WEITZ & LUXENBERG, PC
MILLIS JR            TRACY E               NY         10669102         WEITZ & LUXENBERG, PC                                MININSON             MARK                  NY         10133707         WEITZ & LUXENBERG, PC
MILLIS JR            TRACY E               NY         11477002         WEITZ & LUXENBERG, PC                                MINK                 GEORGE J              NY         1901412019       WEITZ & LUXENBERG, PC
MILLS                BEVERLY MAY           NY         99120295         WEITZ & LUXENBERG, PC                                MINK                 PATRICIA              NY         1901412019       WEITZ & LUXENBERG, PC
MILLS                BILLIE L              NY         01111229         WEITZ & LUXENBERG, PC                                MINNIFIELD           BENJAMIN              NY         02106579         WEITZ & LUXENBERG, PC
MILLS                BRENDA JO             NY         10670802         WEITZ & LUXENBERG, PC                                MINNIFIELD           MELVINA               NY         02106579         WEITZ & LUXENBERG, PC
MILLS                DOROTHY               NY         12039801         WEITZ & LUXENBERG, PC                                MINOR                FRANCIS               NY         1901772015       WEITZ & LUXENBERG, PC
MILLS                DOROTHY MAE           NY         01CIV3276        WEITZ & LUXENBERG, PC                                MINOR                VIRGINIA              NY         1901772015       WEITZ & LUXENBERG, PC
MILLS                EDGAR                 NY         10104299         WEITZ & LUXENBERG, PC                                MINTER               JAMES L               NY         10925400         WEITZ & LUXENBERG, PC
MILLS                GLADYS                NY         10742400         WEITZ & LUXENBERG, PC                                MINTON               DORIS FAYE            NY         CV013921         WEITZ & LUXENBERG, PC
MILLS                GREGORY LYNN          NY         10670802         WEITZ & LUXENBERG, PC                                MINUNNO              JEAN                  NY         99120311         WEITZ & LUXENBERG, PC
MILLS                HECTOR J              NY         10740302         WEITZ & LUXENBERG, PC                                MINUNNO              NICHOLAS              NY         99120311         WEITZ & LUXENBERG, PC
MILLS                HENRY                 NY         10742400         WEITZ & LUXENBERG, PC                                MIQUELI              GERMINAL              NY         01111229         WEITZ & LUXENBERG, PC
MILLS                HOWARD                NY         12039801         WEITZ & LUXENBERG, PC                                MIRABELLA            MICHAEL               NY         01111223         WEITZ & LUXENBERG, PC
MILLS                JAMES M               NY         99120295         WEITZ & LUXENBERG, PC                                MIRABILE             CHARLES A             NY         10719500         WEITZ & LUXENBERG, PC
MILLS                JOSEPH                NY         10719400         WEITZ & LUXENBERG, PC                                MIRABILE             JOSEPH                NY         12039901         WEITZ & LUXENBERG, PC
MILLS                JULIA KELLE           NY         01CIV3276        WEITZ & LUXENBERG, PC                                MIRABILE             MARY THERESA          NY         10719500         WEITZ & LUXENBERG, PC
MILLS                KENNETH C             NY         01107655         WEITZ & LUXENBERG, PC                                MIRABILE             PAULA                 NY         12039901         WEITZ & LUXENBERG, PC
MILLS                MARIT                 NY         11716604         WEITZ & LUXENBERG, PC                                MIRANDA              CECILIO               NY         12042901         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1007
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 342 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MIRANDA              JANEYN                NY         1901442012       WEITZ & LUXENBERG, PC                                MIXON                CHESTER RAY           NY         01CIV3922        WEITZ & LUXENBERG, PC
MIRANDA              JUANA                 NY         12042901         WEITZ & LUXENBERG, PC                                MIXON                JAYDENE               NY         01CIV3922        WEITZ & LUXENBERG, PC
MIRANDO              DAWN                  NY         10925200         WEITZ & LUXENBERG, PC                                MIZE                 DALE WAYNE            NY         CV013921         WEITZ & LUXENBERG, PC
MIRANDO              GUS CHARLES           NY         10925200         WEITZ & LUXENBERG, PC                                MIZSAK               GEORGE                NY         1901672017       WEITZ & LUXENBERG, PC
MIRISOLOFF           JANICE                NY         UNKNOWN          WEITZ & LUXENBERG, PC                                MIZSAK               GLORIA                NY         1901672017       WEITZ & LUXENBERG, PC
MIRISOLOFF           MICHAEL G             NY         UNKNOWN          WEITZ & LUXENBERG, PC                                MLODZINSKI           BENJAMIN J            NY         10740002         WEITZ & LUXENBERG, PC
MIRRA                ALBERT J              NY         10878003         WEITZ & LUXENBERG, PC                                MLYNARSKI            EDWARD                NY         10924300         WEITZ & LUXENBERG, PC
MIRRA                RAYLEEN               NY         01111235         WEITZ & LUXENBERG, PC                                MLYNARSKI            JEAN E                NY         10924300         WEITZ & LUXENBERG, PC
MIRRA                RAYLEEN               NY         11838701         WEITZ & LUXENBERG, PC                                MOCCIARO             PAUL                  NY         01111219         WEITZ & LUXENBERG, PC
MIRRA                ROBERT                NY         01111235         WEITZ & LUXENBERG, PC                                MOCH                 ELAINE C              NY         10924200         WEITZ & LUXENBERG, PC
MIRRA                ROBERT                NY         11838701         WEITZ & LUXENBERG, PC                                MOCH                 VICTOR A              NY         10924200         WEITZ & LUXENBERG, PC
MISHOOK              CHRISTINE             NY         10271901         WEITZ & LUXENBERG, PC                                MOCHOS               ALEXANDER             NY         10947600         WEITZ & LUXENBERG, PC
MISHOOK              JAMES C               NY         10271901         WEITZ & LUXENBERG, PC                                MOCLAIR              DONALD J              NY         12043201         WEITZ & LUXENBERG, PC
MISIAK               CHARLIE A             NY         12668702         WEITZ & LUXENBERG, PC                                MOCLAIR              DONALD J              NY         10109402         WEITZ & LUXENBERG, PC
MISKILL              HELENA                NY         10949603         WEITZ & LUXENBERG, PC                                MOCLAIR              MAY E                 NY         12043201         WEITZ & LUXENBERG, PC
MISKILL              THOMAS GEORGE         NY         10949603         WEITZ & LUXENBERG, PC                                MOCLAIR              MAY E                 NY         10109402         WEITZ & LUXENBERG, PC
MISSO                EVELYN                NY         10925100         WEITZ & LUXENBERG, PC                                MODAFFERE            BESTIANO              NY         01118861         WEITZ & LUXENBERG, PC
MISSO                NELSON                NY         10925100         WEITZ & LUXENBERG, PC                                MODAFFERI            ANTHONY               NY         10272001         WEITZ & LUXENBERG, PC
MISTASZ              IRENE M               NY         02105718         WEITZ & LUXENBERG, PC                                MODAFFERI            MAUREEN               NY         10272001         WEITZ & LUXENBERG, PC
MISTASZ              JOSEPH F              NY         02105718         WEITZ & LUXENBERG, PC                                MODENA               JOSEPH                NY         12668602         WEITZ & LUXENBERG, PC
MISTRETTA            CAROLINE R            NY         10719600         WEITZ & LUXENBERG, PC                                MODICA               CATHERINE             NY         10090403         WEITZ & LUXENBERG, PC
MISTRETTA            GASPERINO M           NY         10719600         WEITZ & LUXENBERG, PC                                MODICA               CATHERINE             NY         11294904         WEITZ & LUXENBERG, PC
MISURACA             ARTHUR A              NY         8086432014       WEITZ & LUXENBERG, PC                                MODUGNO              KALLIOPE              NY         10924100         WEITZ & LUXENBERG, PC
MISURACA             PAMELA                NY         8086432014       WEITZ & LUXENBERG, PC                                MODUGNO              STEFANO               NY         10924100         WEITZ & LUXENBERG, PC
MITCHELL             ARBRY EULENE          NY         CV025685         WEITZ & LUXENBERG, PC                                MOEN                 JUDITH ANN            NY         02106580         WEITZ & LUXENBERG, PC
MITCHELL             ARCHIE L              NY         CV025685         WEITZ & LUXENBERG, PC                                MOEN                 ROBERT C              NY         02106580         WEITZ & LUXENBERG, PC
MITCHELL             AVON                  NY         CV013921         WEITZ & LUXENBERG, PC                                MOFFATT              BRIDGET               NY         10719700         WEITZ & LUXENBERG, PC
MITCHELL             BARBARA               PA         150100954        WEITZ & LUXENBERG, PC                                MOFFATT              JOHN M                NY         10719700         WEITZ & LUXENBERG, PC
MITCHELL             BOBBY JOE             NY         00CIV3589        WEITZ & LUXENBERG, PC                                MOFFATT              MILLIE                NY         99101038         WEITZ & LUXENBERG, PC
MITCHELL             CAROLINE              NY         12039601         WEITZ & LUXENBERG, PC                                MOFFATT              WILLIAM               NY         1901322016       WEITZ & LUXENBERG, PC
MITCHELL             CLARA                 NY         01CIV3910        WEITZ & LUXENBERG, PC                                MOFFATT              WINSTON               NY         99101038         WEITZ & LUXENBERG, PC
MITCHELL             DARRYL                NY         1900352014       WEITZ & LUXENBERG, PC                                MOFFITT              CHRISTINE M           NY         10670402         WEITZ & LUXENBERG, PC
MITCHELL             DIANE                 NY         10924500         WEITZ & LUXENBERG, PC                                MOFFITT              DONALD CURTIS         NY         10670402         WEITZ & LUXENBERG, PC
MITCHELL             DORIS                 NY         10871301         WEITZ & LUXENBERG, PC                                MOGAVERO             GUY A                 NY         10932400         WEITZ & LUXENBERG, PC
MITCHELL             ERROL D               NY         19009811         WEITZ & LUXENBERG, PC                                MOGAVERO             SALVATORE             NY         10932400         WEITZ & LUXENBERG, PC
MITCHELL             EULA                  NY         1900352014       WEITZ & LUXENBERG, PC                                MOHAMMED             ABDUL SALIM           NY         12433902         WEITZ & LUXENBERG, PC
MITCHELL             EVELYN                NY         CV025685         WEITZ & LUXENBERG, PC                                MOHL                 CLIFFORD W            NY         02121082         WEITZ & LUXENBERG, PC
MITCHELL             FRANK F               PA         150100954        WEITZ & LUXENBERG, PC                                MOHL                 DOROTHY               NY         10932300         WEITZ & LUXENBERG, PC
MITCHELL             FREDA                 NY         1901172012       WEITZ & LUXENBERG, PC                                MOHL                 KATHRYN F             NY         9015302015       WEITZ & LUXENBERG, PC
MITCHELL             GEORGE                NY         12039601         WEITZ & LUXENBERG, PC                                MOHL                 PAUL                  NY         10932300         WEITZ & LUXENBERG, PC
MITCHELL             HUBERT                NY         10871301         WEITZ & LUXENBERG, PC                                MOHLER               LEO R                 NY         12115599         WEITZ & LUXENBERG, PC
MITCHELL             JUDITH                NY         10925000         WEITZ & LUXENBERG, PC                                MOHOS                FRANK                 NY         11837700         WEITZ & LUXENBERG, PC
MITCHELL             LAFAYETTE S           NY         01CIV3910        WEITZ & LUXENBERG, PC                                MOHOS                PATRICIA              NY         11837700         WEITZ & LUXENBERG, PC
MITCHELL             LEE                   NY         CV013908         WEITZ & LUXENBERG, PC                                MOHR                 EDWARD J              NY         19004509         WEITZ & LUXENBERG, PC
MITCHELL             LEROY G               NY         1901172012       WEITZ & LUXENBERG, PC                                MOHR                 LINDA LOUISE          NY         10932200         WEITZ & LUXENBERG, PC
MITCHELL             LISA                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                MOHR                 PHILIP JOSEPH JR      NY         10932200         WEITZ & LUXENBERG, PC
MITCHELL             LYNN M                NY         11376600         WEITZ & LUXENBERG, PC                                MOHRMAN              RICHARD E             NY         10571702         WEITZ & LUXENBERG, PC
MITCHELL             MARZELL               NY         1900352014       WEITZ & LUXENBERG, PC                                MOHUSKY              LEONARD               NY         12039201         WEITZ & LUXENBERG, PC
MITCHELL             NORMAN D              NY         10925000         WEITZ & LUXENBERG, PC                                MOHUSKY              VIOLET                NY         12039201         WEITZ & LUXENBERG, PC
MITCHELL             ROBERT K              NY         11209600         WEITZ & LUXENBERG, PC                                MOINI                SALVATORE             NY         19037810         WEITZ & LUXENBERG, PC
MITCHELL             ROBERT L              NY         10924800         WEITZ & LUXENBERG, PC                                MOIR                 ROSE                  NY         1901282017       WEITZ & LUXENBERG, PC
MITCHELL             SAMMIE LEE            NY         CV013921         WEITZ & LUXENBERG, PC                                MOIR                 WILLIAM               NY         1901282017       WEITZ & LUXENBERG, PC
MITCHELL             SARAH LOUISE          NY         10924600         WEITZ & LUXENBERG, PC                                MOISTER              JON C                 NY         10103799         WEITZ & LUXENBERG, PC
MITCHELL             SIRRONDA              DE         N19C11036ASB     WEITZ & LUXENBERG, PC                                MOLAK                CONSTANCE             NY         10710002         WEITZ & LUXENBERG, PC
MITCHELL             SOLOMON               DE         N19C11036ASB     WEITZ & LUXENBERG, PC                                MOLAK                EUGENE E              NY         10710002         WEITZ & LUXENBERG, PC
MITCHELL             STEWARD               NY         10924600         WEITZ & LUXENBERG, PC                                MOLAN                EDWARD                NY         99120258         WEITZ & LUXENBERG, PC
MITCHELL             TOKIE L               NY         01CIV3901        WEITZ & LUXENBERG, PC                                MOLAN                PAULINE               NY         99120258         WEITZ & LUXENBERG, PC
MITCHELL             VIRGEN G              NY         10924800         WEITZ & LUXENBERG, PC                                MOLDENHAUER          GERALD D              NY         11105603         WEITZ & LUXENBERG, PC
MITCHELL             WILLIAM T             NY         10924500         WEITZ & LUXENBERG, PC                                MOLDENHAUER          SHIRLEY               NY         11105603         WEITZ & LUXENBERG, PC
MITCHELL             WOODIE                NY         CV025685         WEITZ & LUXENBERG, PC                                MOLEA                JOHN ROBERT           NY         10932100         WEITZ & LUXENBERG, PC
MITERKO              PAUL A                NY         10571702         WEITZ & LUXENBERG, PC                                MOLEA                VIVIAN J              NY         10932100         WEITZ & LUXENBERG, PC
MITERKO              SANDRA                NY         10571702         WEITZ & LUXENBERG, PC                                MOLER                CURTIS G              NY         10932000         WEITZ & LUXENBERG, PC
MITRI                CHIPPIE F             NY         10722002         WEITZ & LUXENBERG, PC                                MOLER                DELILA                NY         10932000         WEITZ & LUXENBERG, PC
MITRI                CHIPPIE F             NY         11344002         WEITZ & LUXENBERG, PC                                MOLICK               JOSEPH                NY         1900732017       WEITZ & LUXENBERG, PC
MITRI                MARY                  NY         10722002         WEITZ & LUXENBERG, PC                                MOLICK               KATHERINE             NY         1900732017       WEITZ & LUXENBERG, PC
MITRI                MARY                  NY         11344002         WEITZ & LUXENBERG, PC                                MOLINA               JUAN                  NY         19012711         WEITZ & LUXENBERG, PC
MITROSKY             MICHAEL D             NY         1904672018       WEITZ & LUXENBERG, PC                                MOLINA               NELVA                 NY         19012711         WEITZ & LUXENBERG, PC
MITTELSTAEDT         MICHAEL P             NY         10696302         WEITZ & LUXENBERG, PC                                MOLINARI             HAROLD T              NY         11868000         WEITZ & LUXENBERG, PC
MITTIGA              FRANK                 NY         10587102         WEITZ & LUXENBERG, PC                                MOLINARI             RACHEL FRANCES        NY         11868000         WEITZ & LUXENBERG, PC
MITULSKI             CARA DAWN             NY         10924400         WEITZ & LUXENBERG, PC                                MOLINARI             THOMAS                NY         11868000         WEITZ & LUXENBERG, PC
MITULSKI             DENNIS JAMES          NY         10924400         WEITZ & LUXENBERG, PC                                MOLINARO             FRANK J               NY         1900832014       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1008
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 343 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MOLINARO             NANCY                 NY         1900832014       WEITZ & LUXENBERG, PC                                MONICA               RICHARD               NY         19011108         WEITZ & LUXENBERG, PC
MOLL                 FILOMENA              NY         11837800         WEITZ & LUXENBERG, PC                                MONNAT               MAUREEN A             NY         99120101         WEITZ & LUXENBERG, PC
MOLL                 OTTO H                NY         11837800         WEITZ & LUXENBERG, PC                                MONNAT               RONALD D              NY         99120101         WEITZ & LUXENBERG, PC
MOLLE                EDYTHE K.             NY         11226502         WEITZ & LUXENBERG, PC                                MONROE               ALBERT V              NY         10072703         WEITZ & LUXENBERG, PC
MOLLE                JOSEPH                NY         02105718         WEITZ & LUXENBERG, PC                                MONROE               CHARLES EARL          NY         CV013921         WEITZ & LUXENBERG, PC
MOLLE                JOSEPH                NY         11226502         WEITZ & LUXENBERG, PC                                MONROE               CHARLES O             NY         11251003         WEITZ & LUXENBERG, PC
MOLLOY               PATRICIA A            NY         10128007         WEITZ & LUXENBERG, PC                                MONROE               DAVID A               NY         02106694         WEITZ & LUXENBERG, PC
MOLLOY               TERRANCE              NY         10128007         WEITZ & LUXENBERG, PC                                MONROE               DAVID A               NY         11464602         WEITZ & LUXENBERG, PC
MOLNAR               GREG                  NY         12668702         WEITZ & LUXENBERG, PC                                MONROE               DONALD F              NY         02106694         WEITZ & LUXENBERG, PC
MOLNAR               GREG                  NY         10460703         WEITZ & LUXENBERG, PC                                MONROE               DONALD F              NY         11464602         WEITZ & LUXENBERG, PC
MOLNER               JAMES                 NY         12043101         WEITZ & LUXENBERG, PC                                MONROE               EDWARD H              NY         02106692         WEITZ & LUXENBERG, PC
MOLNER               NORA                  NY         12043101         WEITZ & LUXENBERG, PC                                MONROE               FREDERRICK            NY         10072703         WEITZ & LUXENBERG, PC
MOLTON               GERD                  NY         10272201         WEITZ & LUXENBERG, PC                                MONROE               HELEN                 NY         11836300         WEITZ & LUXENBERG, PC
MOLTON               RAGNAR                NY         10272201         WEITZ & LUXENBERG, PC                                MONROE               JEAN                  NY         CV013921         WEITZ & LUXENBERG, PC
MOMON                MACK                  NY         10351201         WEITZ & LUXENBERG, PC                                MONROE               JOHN B                NY         19038111         WEITZ & LUXENBERG, PC
MOMON                ROBERT LOUIS          NY         CV018470         WEITZ & LUXENBERG, PC                                MONROE               MARTHA                NY         19038111         WEITZ & LUXENBERG, PC
MOMON                SHIRLEY A             NY         10351201         WEITZ & LUXENBERG, PC                                MONROE               PHYLIS                NY         11251003         WEITZ & LUXENBERG, PC
MONACCO              ANTHONY               NY         1900742016       WEITZ & LUXENBERG, PC                                MONROE               SUZANNE D             NY         10688399         WEITZ & LUXENBERG, PC
MONACCO              JANET                 NY         1900742016       WEITZ & LUXENBERG, PC                                MONROE               THOMAS M              NY         11836300         WEITZ & LUXENBERG, PC
MONACHELLI           ELEANOR               NY         10931900         WEITZ & LUXENBERG, PC                                MONS                 JAMES H               NY         11027002         WEITZ & LUXENBERG, PC
MONACHELLI           LAWRENCE              NY         10931900         WEITZ & LUXENBERG, PC                                MONS                 PRISCILLA J           NY         11027002         WEITZ & LUXENBERG, PC
MONACO               ANTHONY A             NY         10722102         WEITZ & LUXENBERG, PC                                MONSON               LENNART H             NY         02107099         WEITZ & LUXENBERG, PC
MONACO               ANTHONY C             NY         10700302         WEITZ & LUXENBERG, PC                                MONSVCHIEN           ALOIS                 NY         10931400         WEITZ & LUXENBERG, PC
MONACO               ANTHONY C             NY         11071002         WEITZ & LUXENBERG, PC                                MONTAGANO            CARMELA               NY         01111224         WEITZ & LUXENBERG, PC
MONACO               DOMINICK J            NY         12668202         WEITZ & LUXENBERG, PC                                MONTAGANO            PHILIP J              NY         01111224         WEITZ & LUXENBERG, PC
MONACO               LOUIS                 NY         10516402         WEITZ & LUXENBERG, PC                                MONTAGNA             CHARLES               NY         10931300         WEITZ & LUXENBERG, PC
MONACO               LOUIS                 NY         11836200         WEITZ & LUXENBERG, PC                                MONTAGNA             IRMA                  NY         10931300         WEITZ & LUXENBERG, PC
MONACO               PETER                 NY         10168202         WEITZ & LUXENBERG, PC                                MONTAGNINO           VINCENT J             NY         01111235         WEITZ & LUXENBERG, PC
MONACO               RAFFAELLA             NY         10700302         WEITZ & LUXENBERG, PC                                MONTALBANO           CHARLES               NY         1901632018       WEITZ & LUXENBERG, PC
MONACO               RAFFAELLA             NY         11071002         WEITZ & LUXENBERG, PC                                MONTALBANO           FRANCES               NY         1901632018       WEITZ & LUXENBERG, PC
MONAGHAN             BRIAN E               NY         10077602         WEITZ & LUXENBERG, PC                                MONTALDO             MARGUERITE            NY         02107007         WEITZ & LUXENBERG, PC
MONAGHAN             JAMES                 NY         10272301         WEITZ & LUXENBERG, PC                                MONTALDO             RICHARD F             NY         02107007         WEITZ & LUXENBERG, PC
MONAGHAN             JAMES J               NY         10077602         WEITZ & LUXENBERG, PC                                MONTANARO            CARMINE               NY         10272601         WEITZ & LUXENBERG, PC
MONAGHAN             MARGARET              NY         10272301         WEITZ & LUXENBERG, PC                                MONTANARO            LORETTA               NY         10930300         WEITZ & LUXENBERG, PC
MONAHAN              ANN C                 NY         01111221         WEITZ & LUXENBERG, PC                                MONTANARO            SAMUEL                NY         10930300         WEITZ & LUXENBERG, PC
MONAHAN              DANIEL L              NY         10604002         WEITZ & LUXENBERG, PC                                MONTANARO            TINA                  NY         10272601         WEITZ & LUXENBERG, PC
MONAHAN              GERARD J              NY         01111221         WEITZ & LUXENBERG, PC                                MONTANTI             LOUIS J               NY         11209700         WEITZ & LUXENBERG, PC
MONAHAN              HARRIET               NY         01112097         WEITZ & LUXENBERG, PC                                MONTANTI             MARGOT                NY         11209700         WEITZ & LUXENBERG, PC
MONAHAN              JAMES F               NY         01112097         WEITZ & LUXENBERG, PC                                MONTANTI             VINCENT               NY         10878303         WEITZ & LUXENBERG, PC
MONAHAN              JAMES W               NY         10700102         WEITZ & LUXENBERG, PC                                MONTAPERTO           CHARLES               NY         11756604         WEITZ & LUXENBERG, PC
MONAHAN              JOHN R                NY         99101034         WEITZ & LUXENBERG, PC                                MONTAYNE             ELDON W               NY         19012408         WEITZ & LUXENBERG, PC
MONAHAN              JOSEPH                NY         02107005         WEITZ & LUXENBERG, PC                                MONTAYNE             MADGE M               NY         19012408         WEITZ & LUXENBERG, PC
MONAHAN              MARIA                 NY         10931700         WEITZ & LUXENBERG, PC                                MONTE                RICHARD               NY         99101033         WEITZ & LUXENBERG, PC
MONAHAN              PATRICIA              NY         02107005         WEITZ & LUXENBERG, PC                                MONTEFORTE           LEONARD A             NY         11979701         WEITZ & LUXENBERG, PC
MONAHAN              RICHARD T             NY         10931700         WEITZ & LUXENBERG, PC                                MONTEFORTE           LEONARD A             NY         11123201         WEITZ & LUXENBERG, PC
MONAHAN              RUTH M                NY         10700102         WEITZ & LUXENBERG, PC                                MONTEFORTE           ROSE                  NY         11979701         WEITZ & LUXENBERG, PC
MONCZKO              ARTHUR                NY         99120103         WEITZ & LUXENBERG, PC                                MONTEFORTE           ROSE                  NY         11123201         WEITZ & LUXENBERG, PC
MONCZKO              ZORAIDA               NY         99120103         WEITZ & LUXENBERG, PC                                MONTEITH             DAVID MARK            NY         10311001         WEITZ & LUXENBERG, PC
MONDELLO             CHARLES               NY         10931600         WEITZ & LUXENBERG, PC                                MONTEITH             ERIC EUGENE           NY         10311001         WEITZ & LUXENBERG, PC
MONDELLO             HELEN                 NY         10931600         WEITZ & LUXENBERG, PC                                MONTEITH             RANDELL E             NY         10311001         WEITZ & LUXENBERG, PC
MONDICS              ROBERT B              NY         11522203         WEITZ & LUXENBERG, PC                                MONTELL              JAMES R               NY         1902412015       WEITZ & LUXENBERG, PC
MONDONE              BEATRICE              NY         10931500         WEITZ & LUXENBERG, PC                                MONTELLA             DENNIS                NY         12038901         WEITZ & LUXENBERG, PC
MONDONE              ROBERT                NY         10931500         WEITZ & LUXENBERG, PC                                MONTELLA             DENNIS                NY         10000802         WEITZ & LUXENBERG, PC
MONETTE              PATRICIA ANN          NY         10535701         WEITZ & LUXENBERG, PC                                MONTELLA             SALVATORE             NY         12038901         WEITZ & LUXENBERG, PC
MONETTE              RICHARD               NY         10535701         WEITZ & LUXENBERG, PC                                MONTELLA             SALVATORE             NY         10000802         WEITZ & LUXENBERG, PC
MONEY                ROBERT J              NY         10587402         WEITZ & LUXENBERG, PC                                MONTELLO             CATHERINE             NY         10030606         WEITZ & LUXENBERG, PC
MONEY                ROBERT J              NY         10991402         WEITZ & LUXENBERG, PC                                MONTEMARANO          ANTHONY               NY         10397207         WEITZ & LUXENBERG, PC
MONEY                ROSEMARY A            NY         10587402         WEITZ & LUXENBERG, PC                                MONTEMARANO          ELIZABETH             NY         10397207         WEITZ & LUXENBERG, PC
MONEY                ROSEMARY A            NY         10991402         WEITZ & LUXENBERG, PC                                MONTEMARANO          THOMAS                NY         10397207         WEITZ & LUXENBERG, PC
MONGE                DOMINGO               NY         99101034         WEITZ & LUXENBERG, PC                                MONTERVILLE          DONNA                 NY         10722102         WEITZ & LUXENBERG, PC
MONGE                GLORIA ESTHER         NY         99101034         WEITZ & LUXENBERG, PC                                MONTERVILLE          JAMES E               NY         10722102         WEITZ & LUXENBERG, PC
MONGELLI             GRACE A               NY         10272401         WEITZ & LUXENBERG, PC                                MONTESANO            BEN S                 NY         02106707         WEITZ & LUXENBERG, PC
MONGELLI             JOSEPH                NY         10272401         WEITZ & LUXENBERG, PC                                MONTESANO            BEN S                 NY         11567102         WEITZ & LUXENBERG, PC
MONGELLI             MICHAEL               NY         10719800         WEITZ & LUXENBERG, PC                                MONTESANO            SILVA                 NY         02106707         WEITZ & LUXENBERG, PC
MONGELLI             THERESA               NY         10719800         WEITZ & LUXENBERG, PC                                MONTESANO            SILVA                 NY         11567102         WEITZ & LUXENBERG, PC
MONGIARDO            VINCENT               NY         11624501         WEITZ & LUXENBERG, PC                                MONTGOMERY           DIANE                 NY         10272701         WEITZ & LUXENBERG, PC
MONGIARDO            VINCENT               NY         01111221         WEITZ & LUXENBERG, PC                                MONTGOMERY           EILEEN                NY         11871401         WEITZ & LUXENBERG, PC
MONGILLO             JOHN                  NY         10272501         WEITZ & LUXENBERG, PC                                MONTGOMERY           EILEEN                NY         01111233         WEITZ & LUXENBERG, PC
MONICA               DENISE L              NY         10587402         WEITZ & LUXENBERG, PC                                MONTGOMERY           JOAN J                NY         CV025685         WEITZ & LUXENBERG, PC
MONICA               JOSEPH M              NY         10587402         WEITZ & LUXENBERG, PC                                MONTGOMERY           JOHN                  NY         10272701         WEITZ & LUXENBERG, PC
MONICA               JOYCE C               NY         19011108         WEITZ & LUXENBERG, PC                                MONTGOMERY           MARY BOWMAN           NY         10930200         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1009
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 344 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MONTGOMERY           ROBERT                NY         10930200         WEITZ & LUXENBERG, PC                                MOORE                EDWARD JAMES          NY         19021010         WEITZ & LUXENBERG, PC
MONTGOMERY           ROBERT JAMES          NY         10740002         WEITZ & LUXENBERG, PC                                MOORE                ELI                   NY         CV013921         WEITZ & LUXENBERG, PC
MONTGOMERY           SHARON (CLEGG)        NY         CV025685         WEITZ & LUXENBERG, PC                                MOORE                EUGENE                NY         10720000         WEITZ & LUXENBERG, PC
MONTGOMERY           THOMAS                NY         11871401         WEITZ & LUXENBERG, PC                                MOORE                FEASTER               NY         CV013921         WEITZ & LUXENBERG, PC
MONTGOMERY           THOMAS                NY         01111233         WEITZ & LUXENBERG, PC                                MOORE                FRANCIS               NY         01CIV3910        WEITZ & LUXENBERG, PC
MONTI                ROBERT J              NY         10523404         WEITZ & LUXENBERG, PC                                MOORE                GARY NELSON           NY         10719200         WEITZ & LUXENBERG, PC
MONTI                ROSE L                NY         10523404         WEITZ & LUXENBERG, PC                                MOORE                GEORGE                NY         12115299         WEITZ & LUXENBERG, PC
MONTI                VINCENT M             NY         1901852017       WEITZ & LUXENBERG, PC                                MOORE                HERBERT               NY         10871301         WEITZ & LUXENBERG, PC
MONTONI              GINA                  NY         99120249         WEITZ & LUXENBERG, PC                                MOORE                IVAN J                NY         10658102         WEITZ & LUXENBERG, PC
MONTONI              PETER                 NY         99120249         WEITZ & LUXENBERG, PC                                MOORE                JOHN M                NY         1900542017       WEITZ & LUXENBERG, PC
MONTOUR              HAYLEY                NY         10680702         WEITZ & LUXENBERG, PC                                MOORE                JOSEPH PAUL           NY         10571402         WEITZ & LUXENBERG, PC
MONTOUR              KEVIN                 NY         10680702         WEITZ & LUXENBERG, PC                                MOORE                LEWIS                 NY         11209800         WEITZ & LUXENBERG, PC
MONTOUR              ROY F                 NY         12432700         WEITZ & LUXENBERG, PC                                MOORE                MARY                  NY         10929700         WEITZ & LUXENBERG, PC
MONTOUR              WILMA I               NY         12432700         WEITZ & LUXENBERG, PC                                MOORE                MATTIE                NY         CV013921         WEITZ & LUXENBERG, PC
MONTRONE             ANDREW A              NY         10930100         WEITZ & LUXENBERG, PC                                MOORE                OSCAR                 NY         1901062018       WEITZ & LUXENBERG, PC
MONTRONE             VIRGINIA              NY         10930100         WEITZ & LUXENBERG, PC                                MOORE                RAYMOND W             NY         10103099         WEITZ & LUXENBERG, PC
MONTUORI             ANITA                 NY         10930000         WEITZ & LUXENBERG, PC                                MOORE                RICHARD               NY         CV031202         WEITZ & LUXENBERG, PC
MONTUORI             FRANCIS J             NY         10930000         WEITZ & LUXENBERG, PC                                MOORE                ROBERT                NY         0063752019       WEITZ & LUXENBERG, PC
MONTWAID             DELORES               NY         1900522019       WEITZ & LUXENBERG, PC                                MOORE                ROBERT K              NY         1903452017       WEITZ & LUXENBERG, PC
MONTWAID             DELORES               NY         11017504         WEITZ & LUXENBERG, PC                                MOORE                RONALD F              NY         10571702         WEITZ & LUXENBERG, PC
MONTWAID             ROBERT J              NY         1900522019       WEITZ & LUXENBERG, PC                                MOORE                ROSCOE A              NY         10316402         WEITZ & LUXENBERG, PC
MONTWAID             ROBERT J              NY         11017504         WEITZ & LUXENBERG, PC                                MOORE                SAMMIE JEAN           NY         01CIV3910        WEITZ & LUXENBERG, PC
MONTY                EDWARD M              NY         11327702         WEITZ & LUXENBERG, PC                                MOORE                SUSAN                 NY         10103099         WEITZ & LUXENBERG, PC
MONTY                EDWARD M              NY         11978902         WEITZ & LUXENBERG, PC                                MOORE                TERRI                 NY         19021010         WEITZ & LUXENBERG, PC
MONTY                JOYCE L               NY         11327702         WEITZ & LUXENBERG, PC                                MOORE                VAND                  NY         10272801         WEITZ & LUXENBERG, PC
MONTY                JOYCE L               NY         11978902         WEITZ & LUXENBERG, PC                                MOORE                WILLIAM               NY         10929700         WEITZ & LUXENBERG, PC
MONUSZKO             DOROTHY               NY         12043001         WEITZ & LUXENBERG, PC                                MOORE                WILLIAM               NY         12668102         WEITZ & LUXENBERG, PC
MONUSZKO             EDWARD                NY         12043001         WEITZ & LUXENBERG, PC                                MOORE                WILLIAM HENRY         NY         CV016368         WEITZ & LUXENBERG, PC
MONZOLINO            ANNA                  NY         11026902         WEITZ & LUXENBERG, PC                                MOORES               DONNA                 NY         02CIV3910        WEITZ & LUXENBERG, PC
MONZOLINO            JOSEPH F              NY         11026902         WEITZ & LUXENBERG, PC                                MOORES               FRANCIS L             NY         02CIV3910        WEITZ & LUXENBERG, PC
MOODY                ALONZO                NY         1901262019       WEITZ & LUXENBERG, PC                                MOORES               KATHERINE A           NY         02CIV3910        WEITZ & LUXENBERG, PC
MOODY                DANNY K               NY         10929900         WEITZ & LUXENBERG, PC                                MOORES               THEODORE J            NY         10929600         WEITZ & LUXENBERG, PC
MOODY                EDWARD                NY         01CIV3907        WEITZ & LUXENBERG, PC                                MOORHEAD             JEFFREY               NY         19028811         WEITZ & LUXENBERG, PC
MOODY                EDWARD                NY         01CIV3922        WEITZ & LUXENBERG, PC                                MOORHEAD             SHIRLEY               NY         19028811         WEITZ & LUXENBERG, PC
MOODY                EDWARD O              NY         01CIV3910        WEITZ & LUXENBERG, PC                                MOOSE                DIANNE LYNN           NY         10740502         WEITZ & LUXENBERG, PC
MOODY                JACQUELYN             NY         1901262019       WEITZ & LUXENBERG, PC                                MOOSE                DIANNE LYNN           NY         11413702         WEITZ & LUXENBERG, PC
MOODY                JEFFERSON E           NY         CV018137         WEITZ & LUXENBERG, PC                                MOQUIN               ALBERT J              NY         10587102         WEITZ & LUXENBERG, PC
MOODY                REGINA                NY         CV018137         WEITZ & LUXENBERG, PC                                MOQUIN               ALBERT J              NY         10899502         WEITZ & LUXENBERG, PC
MOODY                SAMIE LEE             NY         99120297         WEITZ & LUXENBERG, PC                                MOQUIN               ARLENE                NY         10587102         WEITZ & LUXENBERG, PC
MOOG                 DIETER                NY         99101032         WEITZ & LUXENBERG, PC                                MOQUIN               ARLENE                NY         10899502         WEITZ & LUXENBERG, PC
MOOG                 LILLIAN               NY         99101032         WEITZ & LUXENBERG, PC                                MOQUIN               ARMAND A              NY         10216702         WEITZ & LUXENBERG, PC
MOON                 KATHLEEN              NY         11979601         WEITZ & LUXENBERG, PC                                MOQUIN               DAVID                 NY         10104699         WEITZ & LUXENBERG, PC
MOON                 KATHLEEN              NY         11123201         WEITZ & LUXENBERG, PC                                MOQUIN               MARIA                 NY         10104699         WEITZ & LUXENBERG, PC
MOON                 PATRICK J             NY         11979601         WEITZ & LUXENBERG, PC                                MOQUIN               MAUREEN               NY         10216702         WEITZ & LUXENBERG, PC
MOON                 PATRICK J             NY         11123201         WEITZ & LUXENBERG, PC                                MORA                 BENNIE                NY         04CIV1918        WEITZ & LUXENBERG, PC
MOONEY               COLMAN J              NY         12039701         WEITZ & LUXENBERG, PC                                MORA                 BOBBIE                NY         04CIV1918        WEITZ & LUXENBERG, PC
MOONEY               EDWARD STANLEY        NY         10929800         WEITZ & LUXENBERG, PC                                MORA                 EMILIO                NY         04CIV1918        WEITZ & LUXENBERG, PC
MOONEY               ELLEN M               NY         12039701         WEITZ & LUXENBERG, PC                                MORABITO             CARMEN L              NY         10740302         WEITZ & LUXENBERG, PC
MOONEY               HELENA                NY         1902492019       WEITZ & LUXENBERG, PC                                MORABITO             CARMEN L              NY         11410302         WEITZ & LUXENBERG, PC
MOONEY               J DEAN                NY         CV016894         WEITZ & LUXENBERG, PC                                MORABITO             FRANK                 NY         10699902         WEITZ & LUXENBERG, PC
MOONEY               JAMES E               NY         1902492019       WEITZ & LUXENBERG, PC                                MORABITO             JOSEPHINE             NY         11208800         WEITZ & LUXENBERG, PC
MOONEY               JOAN                  NY         CV016894         WEITZ & LUXENBERG, PC                                MORABITO             LOLA                  NY         10740302         WEITZ & LUXENBERG, PC
MOONEY               JOHN F                NY         10709900         WEITZ & LUXENBERG, PC                                MORABITO             LOLA                  NY         11410302         WEITZ & LUXENBERG, PC
MOONEY               PATRICIA              NY         10929800         WEITZ & LUXENBERG, PC                                MORABITO             SAMUEL                NY         11208800         WEITZ & LUXENBERG, PC
MOONEY               REGINA                NY         10709900         WEITZ & LUXENBERG, PC                                MORALE               ANTHONY W             NY         1900822019       WEITZ & LUXENBERG, PC
MOORE                ANDREW                NY         01CIV3910        WEITZ & LUXENBERG, PC                                MORALES              ARIOSTO               NY         10687399         WEITZ & LUXENBERG, PC
MOORE                ANNIE                 NY         CV016368         WEITZ & LUXENBERG, PC                                MORALES              ERIC A                NY         10929500         WEITZ & LUXENBERG, PC
MOORE                BARBARA               NY         CV031202         WEITZ & LUXENBERG, PC                                MORALES              KAREN                 NY         10929500         WEITZ & LUXENBERG, PC
MOORE                BOBBIE JEAN           NY         01CIV3910        WEITZ & LUXENBERG, PC                                MORALES              KAREN ANN             NY         11256800         WEITZ & LUXENBERG, PC
MOORE                CAROL                 NY         12668102         WEITZ & LUXENBERG, PC                                MORALES              RENE                  NY         10710102         WEITZ & LUXENBERG, PC
MOORE                CAROL                 NY         10270601         WEITZ & LUXENBERG, PC                                MORALES              RENE                  NY         11026802         WEITZ & LUXENBERG, PC
MOORE                CAROL MARIE           NY         10740002         WEITZ & LUXENBERG, PC                                MORALES              RENE                  NY         12570102         WEITZ & LUXENBERG, PC
MOORE                CATHERINE HOPPER      NY         10316402         WEITZ & LUXENBERG, PC                                MORALES              ROSALIE               NY         10710102         WEITZ & LUXENBERG, PC
MOORE                CHARLIE               NY         10270501         WEITZ & LUXENBERG, PC                                MORALES              ROSALIE               NY         11026802         WEITZ & LUXENBERG, PC
MOORE                DANIEL L              NY         10272801         WEITZ & LUXENBERG, PC                                MORALES              ROSALIE               NY         12570102         WEITZ & LUXENBERG, PC
MOORE                DARLENE               NY         10571402         WEITZ & LUXENBERG, PC                                MORAN                DOLORES               NY         10929400         WEITZ & LUXENBERG, PC
MOORE                DIANE                 NY         1900892017       WEITZ & LUXENBERG, PC                                MORAN                EDITH                 NY         11446604         WEITZ & LUXENBERG, PC
MOORE                DONALD J              NY         19011408         WEITZ & LUXENBERG, PC                                MORAN                JOAN                  NY         99101056         WEITZ & LUXENBERG, PC
MOORE                DOROTHY ANN           NY         01CIV3913        WEITZ & LUXENBERG, PC                                MORAN                JOANNE                NY         10934002         WEITZ & LUXENBERG, PC
MOORE                EDWARD DON            NY         97120283         WEITZ & LUXENBERG, PC                                MORAN                JOHN J                NY         10929400         WEITZ & LUXENBERG, PC
MOORE                EDWARD H              NY         10270601         WEITZ & LUXENBERG, PC                                MORAN                JOHN J                NY         10934002         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1010
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 345 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MORAN                JOHN MICHAEL          NY         99101056         WEITZ & LUXENBERG, PC                                MORO                 JOHN                  NY         10271001         WEITZ & LUXENBERG, PC
MORAN                JOSEPH                NY         10934002         WEITZ & LUXENBERG, PC                                MORONESE             ANN                   NY         11010100         WEITZ & LUXENBERG, PC
MORAN                JOSEPH V              NY         I20019843        WEITZ & LUXENBERG, PC                                MORONEY              JAMES P               NY         10930700         WEITZ & LUXENBERG, PC
MORAN                PAUL P                NY         10587002         WEITZ & LUXENBERG, PC                                MORONEY              JEAN                  NY         10930700         WEITZ & LUXENBERG, PC
MORAN                THOMAS                NY         11446604         WEITZ & LUXENBERG, PC                                MOROTTA              JOSEPHINE             NY         10930600         WEITZ & LUXENBERG, PC
MORAN                WALTER                NY         10270701         WEITZ & LUXENBERG, PC                                MOROTTA              LOUIS J               NY         10930600         WEITZ & LUXENBERG, PC
MORANO               JOSEPH                NY         0337982016       WEITZ & LUXENBERG, PC                                MOROTTA              MICHAEL J             NY         10930600         WEITZ & LUXENBERG, PC
MORANO               NANCY                 NY         0337982016       WEITZ & LUXENBERG, PC                                MORRA                DORANN                NY         12668102         WEITZ & LUXENBERG, PC
MORASKI              JOSEPH WILLIAM        NY         10720100         WEITZ & LUXENBERG, PC                                MORRA                DORANN                NY         10352603         WEITZ & LUXENBERG, PC
MORASKI              JUDY                  NY         10720100         WEITZ & LUXENBERG, PC                                MORREALE             VINCENT               NY         10930500         WEITZ & LUXENBERG, PC
MORBY                HARRIET               NY         10929200         WEITZ & LUXENBERG, PC                                MORRELL              MAUREEN               NY         02106692         WEITZ & LUXENBERG, PC
MORBY                JAMES W               NY         10929200         WEITZ & LUXENBERG, PC                                MORRELL              ROBERT JAMES          NY         02106692         WEITZ & LUXENBERG, PC
MOREAU               GASTON M              NY         10562402         WEITZ & LUXENBERG, PC                                MORRELL              RUBY                  NY         10271101         WEITZ & LUXENBERG, PC
MOREHOUSE            CHARLES R             NY         02107099         WEITZ & LUXENBERG, PC                                MORRIS               BERNARD L             NY         10740102         WEITZ & LUXENBERG, PC
MOREHOUSE            GEORGE E              NY         02107005         WEITZ & LUXENBERG, PC                                MORRIS               CHARLES RICHARD       NY         01CIV7584        WEITZ & LUXENBERG, PC
MOREHOUSE            PHYLLIS               NY         02107099         WEITZ & LUXENBERG, PC                                MORRIS               DOVIE J               NY         01CIV3901        WEITZ & LUXENBERG, PC
MORELLI              JERRY                 NY         01111219         WEITZ & LUXENBERG, PC                                MORRIS               EVELYN DENISE         NY         01CIV3915        WEITZ & LUXENBERG, PC
MORELLO              SANTA                 NY         1900212018       WEITZ & LUXENBERG, PC                                MORRIS               GEORGE D              NY         11026702         WEITZ & LUXENBERG, PC
MORELLO              THOMAS                NY         1900212018       WEITZ & LUXENBERG, PC                                MORRIS               HELEN                 NY         10722002         WEITZ & LUXENBERG, PC
MORENO               CATHY                 NY         19038110         WEITZ & LUXENBERG, PC                                MORRIS               IRENE                 NY         02107005         WEITZ & LUXENBERG, PC
MORENO               RALPH                 NY         19038110         WEITZ & LUXENBERG, PC                                MORRIS               IRENE                 NY         11625402         WEITZ & LUXENBERG, PC
MORETTE              LOUIS D               NY         10929100         WEITZ & LUXENBERG, PC                                MORRIS               JERRY                 NY         01CIV3901        WEITZ & LUXENBERG, PC
MORETTE NEAL         DANITA L              NY         10929100         WEITZ & LUXENBERG, PC                                MORRIS               JOHN J                NY         02107005         WEITZ & LUXENBERG, PC
MORGAN               BETH                  NY         10858503         WEITZ & LUXENBERG, PC                                MORRIS               JOHN J                NY         11625402         WEITZ & LUXENBERG, PC
MORGAN               BETTY M               NY         10587002         WEITZ & LUXENBERG, PC                                MORRIS               JOYCE D               NY         01CIV7584        WEITZ & LUXENBERG, PC
MORGAN               BOB M                 NY         10587002         WEITZ & LUXENBERG, PC                                MORRIS               MARTHA                NY         11026702         WEITZ & LUXENBERG, PC
MORGAN               CALVIN W              NY         1901552015       WEITZ & LUXENBERG, PC                                MORRIS               MURL                  NY         CV015028         WEITZ & LUXENBERG, PC
MORGAN               DEBRA                 NY         CV013921         WEITZ & LUXENBERG, PC                                MORRIS               MURL D                NY         CV011748         WEITZ & LUXENBERG, PC
MORGAN               DOYLE E               NY         OOCIV3855        WEITZ & LUXENBERG, PC                                MORRIS               RICHARD E             NY         11235900         WEITZ & LUXENBERG, PC
MORGAN               EDDIE J               NY         01CIV6533        WEITZ & LUXENBERG, PC                                MORRIS               RICHARD M             NY         11235900         WEITZ & LUXENBERG, PC
MORGAN               EDWARD M              NY         10270801         WEITZ & LUXENBERG, PC                                MORRIS               ROBERT W              NY         10930400         WEITZ & LUXENBERG, PC
MORGAN               FRANCES               NY         10931200         WEITZ & LUXENBERG, PC                                MORRIS               THOMAS M              NY         10658102         WEITZ & LUXENBERG, PC
MORGAN               HAROLD DAVID          NY         CV013921         WEITZ & LUXENBERG, PC                                MORRIS               TRUMAN J              NY         10722002         WEITZ & LUXENBERG, PC
MORGAN               HAROLD K              NY         10858503         WEITZ & LUXENBERG, PC                                MORRIS               WAYNE                 NY         610201           WEITZ & LUXENBERG, PC
MORGAN               IRWIN R               NY         11812600         WEITZ & LUXENBERG, PC                                MORRIS               WILLA DEAN            NY         CV015028         WEITZ & LUXENBERG, PC
MORGAN               JAMES P               NY         10931200         WEITZ & LUXENBERG, PC                                MORRIS               WILLA DEAN            NY         CV011748         WEITZ & LUXENBERG, PC
MORGAN               JO ANNE               NY         10270801         WEITZ & LUXENBERG, PC                                MORRIS SMITH         ELIZABETH DELIA       NY         02107005         WEITZ & LUXENBERG, PC
MORGAN               JOANNE A              NY         10696302         WEITZ & LUXENBERG, PC                                MORRIS SMITH         ELIZABETH DELIA       NY         11625402         WEITZ & LUXENBERG, PC
MORGAN               JOHN L                NY         10696302         WEITZ & LUXENBERG, PC                                MORRISON             ALVYN J               NY         10716902         WEITZ & LUXENBERG, PC
MORGAN               JOY                   NY         01CIV7781        WEITZ & LUXENBERG, PC                                MORRISON             DELAINE               NY         00CIV3589        WEITZ & LUXENBERG, PC
MORGAN               JOYCE                 NY         12043201         WEITZ & LUXENBERG, PC                                MORRISON             JEANIE                NY         10271201         WEITZ & LUXENBERG, PC
MORGAN               LINCOLN S             NY         12043201         WEITZ & LUXENBERG, PC                                MORRISON             KENNETH DEAN          NY         00CIV3589        WEITZ & LUXENBERG, PC
MORGAN               MARY M                NY         OOCIV3855        WEITZ & LUXENBERG, PC                                MORRISON             LEO                   NY         10271201         WEITZ & LUXENBERG, PC
MORGAN               PAUL                  NY         10931100         WEITZ & LUXENBERG, PC                                MORRISON             SAMUEL G              PA         121101333        WEITZ & LUXENBERG, PC
MORGAN               RUTHIE LEE            NY         01CIV6533        WEITZ & LUXENBERG, PC                                MORRISSEY            JAMES MICHAEL         NY         10948000         WEITZ & LUXENBERG, PC
MORGAN               THELMA                NY         10931100         WEITZ & LUXENBERG, PC                                MORRISSEY            JAMES MICHAEL         NY         99122187         WEITZ & LUXENBERG, PC
MORGANTI             FREDERICK             NY         10931000         WEITZ & LUXENBERG, PC                                MORRISSEY            JOHN P                NY         11208500         WEITZ & LUXENBERG, PC
MORGANTI             PATRICIA              NY         10931000         WEITZ & LUXENBERG, PC                                MORRISSEY            PATRICK               NY         01111229         WEITZ & LUXENBERG, PC
MORGIA               BARBARA               NY         02106709         WEITZ & LUXENBERG, PC                                MORRISSEY            VIOLA                 NY         10948000         WEITZ & LUXENBERG, PC
MORGIA               DAVID J               NY         02106709         WEITZ & LUXENBERG, PC                                MORRISSEY            VIOLA                 NY         99122187         WEITZ & LUXENBERG, PC
MORI                 ROBERT G              NY         11179504         WEITZ & LUXENBERG, PC                                MORRISSEY            WILLIAM FRANCIS       NY         01107884         WEITZ & LUXENBERG, PC
MORI                 TYRRELL T             NY         11179504         WEITZ & LUXENBERG, PC                                MORRO                ANTHONY M             NY         11623705         WEITZ & LUXENBERG, PC
MORIARTY             GREGORY               NY         12043201         WEITZ & LUXENBERG, PC                                MORRO                FRANK                 NY         11621904         WEITZ & LUXENBERG, PC
MORIN                RICHARD               NY         10270901         WEITZ & LUXENBERG, PC                                MORRO                JANE B                NY         11623705         WEITZ & LUXENBERG, PC
MORIN                ROGER A               NY         10700002         WEITZ & LUXENBERG, PC                                MORRO                JOAN                  NY         11621904         WEITZ & LUXENBERG, PC
MORINE               DELORES               NY         01CIV3910        WEITZ & LUXENBERG, PC                                MORROW               ANNEMARIE             NY         10271301         WEITZ & LUXENBERG, PC
MORINE               JOHNNIE A             NY         01CIV3910        WEITZ & LUXENBERG, PC                                MORROW               CHARLES               NY         10271301         WEITZ & LUXENBERG, PC
MORINELLO            ELIZABETH             NY         10700002         WEITZ & LUXENBERG, PC                                MORROW               GLORIA                NY         10947900         WEITZ & LUXENBERG, PC
MORINELLO            ELIZABETH             NY         11115702         WEITZ & LUXENBERG, PC                                MORROW               HUGH                  NY         10947900         WEITZ & LUXENBERG, PC
MORINELLO            FRANK                 NY         10700002         WEITZ & LUXENBERG, PC                                MORSE                CAROLYN               NY         10669502         WEITZ & LUXENBERG, PC
MORINELLO            FRANK                 NY         11115702         WEITZ & LUXENBERG, PC                                MORSE                CAROLYN               NY         11896902         WEITZ & LUXENBERG, PC
MORIO                DONALD                NY         10031707         WEITZ & LUXENBERG, PC                                MORSE                EDWARD D              NY         10669502         WEITZ & LUXENBERG, PC
MORISANO             ANTHONY J             NY         10930900         WEITZ & LUXENBERG, PC                                MORSE                EDWARD D              NY         11896902         WEITZ & LUXENBERG, PC
MORISANO             GLENDA                NY         10930900         WEITZ & LUXENBERG, PC                                MORSE                MARGARET              NY         10402403         WEITZ & LUXENBERG, PC
MORISIE              ALICE                 NY         10717800         WEITZ & LUXENBERG, PC                                MORSE                REGINALD              NY         12668602         WEITZ & LUXENBERG, PC
MORISIE              JOHN DANIEL           NY         10717800         WEITZ & LUXENBERG, PC                                MORSE                REGINALD              NY         10402403         WEITZ & LUXENBERG, PC
MORISIE              SANDRA ELIZABETH      NY         10717800         WEITZ & LUXENBERG, PC                                MORSE COLLETTA       ELAINE                NY         10669502         WEITZ & LUXENBERG, PC
MORITZ               ALBERT T              NY         1903792016       WEITZ & LUXENBERG, PC                                MORSE COLLETTA       ELAINE                NY         11896902         WEITZ & LUXENBERG, PC
MORMINO              ANNETTE               NY         10930800         WEITZ & LUXENBERG, PC                                MORSILLO             MICHAEL               NY         11627804         WEITZ & LUXENBERG, PC
MORMINO              LEONARD               NY         10930800         WEITZ & LUXENBERG, PC                                MORSILLO             OLGA S                NY         11627804         WEITZ & LUXENBERG, PC
MORO                 JANET                 NY         10271001         WEITZ & LUXENBERG, PC                                MORSTADT             ANNE                  NY         10271401         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1011
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 346 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MORSTADT             RONALD                NY         10271401         WEITZ & LUXENBERG, PC                                MOSTOW               SAM                   NY         10364303         WEITZ & LUXENBERG, PC
MORTENSEN            CYNTHIA               NY         12693502         WEITZ & LUXENBERG, PC                                MOTCHKAVITZ          JOAN                  NY         19014209         WEITZ & LUXENBERG, PC
MORTENSEN            RONALD H              NY         12693502         WEITZ & LUXENBERG, PC                                MOTCHKAVITZ          RONALD A              NY         19014209         WEITZ & LUXENBERG, PC
MORTIZ               GERALDINE             NY         1903792016       WEITZ & LUXENBERG, PC                                MOTHERAL             KAYWIN                NY         1905792012       WEITZ & LUXENBERG, PC
MORTON               BERVERLY J            NY         10740202         WEITZ & LUXENBERG, PC                                MOTLEY               BRENDA                NY         10947400         WEITZ & LUXENBERG, PC
MORTON               BERVERLY J            NY         11332402         WEITZ & LUXENBERG, PC                                MOTLEY               BRENDA                NY         99122187         WEITZ & LUXENBERG, PC
MORTON               DONALD E              NY         10740202         WEITZ & LUXENBERG, PC                                MOTLEY               EDWARD                NY         10947400         WEITZ & LUXENBERG, PC
MORTON               DONALD E              NY         11332402         WEITZ & LUXENBERG, PC                                MOTLEY               EDWARD                NY         99122187         WEITZ & LUXENBERG, PC
MORTON               JO-ANN                NY         02113280         WEITZ & LUXENBERG, PC                                MOTT                 BERTHA                NY         12788702         WEITZ & LUXENBERG, PC
MORTON               LEON P                NY         10947700         WEITZ & LUXENBERG, PC                                MOTT                 HARRY WARDWELL        NY         12032800         WEITZ & LUXENBERG, PC
MORTON               LEON P                NY         99122187         WEITZ & LUXENBERG, PC                                MOTT                 REGINALD              NY         12788702         WEITZ & LUXENBERG, PC
MORTON               PATRICK H             NY         02113280         WEITZ & LUXENBERG, PC                                MOTTA                ARGEO                 NY         01111219         WEITZ & LUXENBERG, PC
MOSCARVI             EUGENIO               NY         10722002         WEITZ & LUXENBERG, PC                                MOTZ                 HENRY W               NY         11208700         WEITZ & LUXENBERG, PC
MOSCARVI             SHERLIY               NY         10722002         WEITZ & LUXENBERG, PC                                MOULD                DENNIS                NY         10696502         WEITZ & LUXENBERG, PC
MOSCHOS              JOHN                  NY         12043301         WEITZ & LUXENBERG, PC                                MOUNT                FREDERICK             NY         10947300         WEITZ & LUXENBERG, PC
MOSCHOS              TSAMBIK               NY         12043301         WEITZ & LUXENBERG, PC                                MOUNT                FREDERICK             NY         99122187         WEITZ & LUXENBERG, PC
MOSELEY              CHARLES               NY         CV018606         WEITZ & LUXENBERG, PC                                MOUNT                RUTH                  NY         10947300         WEITZ & LUXENBERG, PC
MOSELEY              CHARLES EDWARD        NY         CV017611         WEITZ & LUXENBERG, PC                                MOUNT                RUTH                  NY         99122187         WEITZ & LUXENBERG, PC
MOSELEY              DOROTHY               NY         CV017611         WEITZ & LUXENBERG, PC                                MOUNT                SAM                   NY         12346401         WEITZ & LUXENBERG, PC
MOSELEY              DOROTHY RAY           NY         CV018606         WEITZ & LUXENBERG, PC                                MOUNT                SAM                   NY         01111227         WEITZ & LUXENBERG, PC
MOSELLE              BRENDA                NY         10680702         WEITZ & LUXENBERG, PC                                MOUNT                TROY LEE              NY         CV015679         WEITZ & LUXENBERG, PC
MOSELLE              MICHAEL M             NY         10680702         WEITZ & LUXENBERG, PC                                MOUSAW               CHRISTOPHER A         NY         10571402         WEITZ & LUXENBERG, PC
MOSER                ROBERT                NY         10271501         WEITZ & LUXENBERG, PC                                MOUSAW               JANE ROSE             NY         02105716         WEITZ & LUXENBERG, PC
MOSES                JOSEPH                NY         10271601         WEITZ & LUXENBERG, PC                                MOUSAW               JANE ROSE             NY         11166402         WEITZ & LUXENBERG, PC
MOSEY                ACEA M                NY         10722202         WEITZ & LUXENBERG, PC                                MOUSAW               LEE RAYMOND           NY         02105716         WEITZ & LUXENBERG, PC
MOSEY                ACEA M                NY         11365302         WEITZ & LUXENBERG, PC                                MOUSAW               LEE RAYMOND           NY         11166402         WEITZ & LUXENBERG, PC
MOSHER               ARLENE                NY         02107099         WEITZ & LUXENBERG, PC                                MOUSAW               WILLIAM S             NY         10571402         WEITZ & LUXENBERG, PC
MOSHER               ARLENE                NY         11760202         WEITZ & LUXENBERG, PC                                MOUSER               JOHNNIE J             NY         11356702         WEITZ & LUXENBERG, PC
MOSHER               BURTON W              NY         10271701         WEITZ & LUXENBERG, PC                                MOUSER               JUANITA               NY         11356702         WEITZ & LUXENBERG, PC
MOSHER               CAROL ANN             NY         10740002         WEITZ & LUXENBERG, PC                                MOUSSA               MICHAEL               NY         10039603         WEITZ & LUXENBERG, PC
MOSHER               DAVID C               NY         19015110         WEITZ & LUXENBERG, PC                                MOUSSETTE            ANNA                  NY         01114663         WEITZ & LUXENBERG, PC
MOSHER               EUGENE O              NY         11937400         WEITZ & LUXENBERG, PC                                MOUSSETTE            ANTHONY               NY         01114663         WEITZ & LUXENBERG, PC
MOSHER               ROBERT F              NY         02107099         WEITZ & LUXENBERG, PC                                MOUTAL               PAUL M                NY         1900862019       WEITZ & LUXENBERG, PC
MOSHER               ROBERT F              NY         11760202         WEITZ & LUXENBERG, PC                                MOVESIAN             SAMUEL                NY         11208300         WEITZ & LUXENBERG, PC
MOSHER               STANLEY O             NY         10740002         WEITZ & LUXENBERG, PC                                MOVROYDIS            CHARLES C             NY         11017404         WEITZ & LUXENBERG, PC
MOSHER               WILLIS L              NY         11937400         WEITZ & LUXENBERG, PC                                MOWREY               JOAN C                NY         10947200         WEITZ & LUXENBERG, PC
MOSHOS               ARISTOTLE             NY         10947600         WEITZ & LUXENBERG, PC                                MOWREY               JOAN C                NY         99122187         WEITZ & LUXENBERG, PC
MOSIENIK             JACOB                 NY         10947500         WEITZ & LUXENBERG, PC                                MOWREY               TIMOTHY J             NY         10947200         WEITZ & LUXENBERG, PC
MOSIENIK             JACOB                 NY         99122187         WEITZ & LUXENBERG, PC                                MOWREY               TIMOTHY J             NY         99122187         WEITZ & LUXENBERG, PC
MOSIER               MARY                  NY         12039601         WEITZ & LUXENBERG, PC                                MOWREY               WILLIAM R             NY         10947200         WEITZ & LUXENBERG, PC
MOSIER               THOMAS M              NY         12039601         WEITZ & LUXENBERG, PC                                MOWREY               WILLIAM R             NY         99122187         WEITZ & LUXENBERG, PC
MOSKAL               JOHN PETER            NY         10699902         WEITZ & LUXENBERG, PC                                MOYER                JOAN A                NY         10740202         WEITZ & LUXENBERG, PC
MOSKOWITZ            DAVID                 NY         11208600         WEITZ & LUXENBERG, PC                                MOZITIS              ALLYN                 NY         19027610         WEITZ & LUXENBERG, PC
MOSKOWITZ            JO ANN                NY         11208600         WEITZ & LUXENBERG, PC                                MOZZONE              TONY                  NY         10669502         WEITZ & LUXENBERG, PC
MOSKOWITZ            MICHAEL               NY         10926500         WEITZ & LUXENBERG, PC                                MOZZONE              TONY                  NY         11896802         WEITZ & LUXENBERG, PC
MOSKOWITZ            MICHAEL               NY         12220399         WEITZ & LUXENBERG, PC                                MRUK                 THOMAS O              NY         10718000         WEITZ & LUXENBERG, PC
MOSLEY               CLARENCE              NY         10710102         WEITZ & LUXENBERG, PC                                MUCCIACIO            PAULINE               NY         12039601         WEITZ & LUXENBERG, PC
MOSS                 DESSIE                NY         10722202         WEITZ & LUXENBERG, PC                                MUCCIACIO            PETER M               NY         12039601         WEITZ & LUXENBERG, PC
MOSS                 ELIZABETH R           NY         11836500         WEITZ & LUXENBERG, PC                                MUCKE                JOHN J                NY         10716802         WEITZ & LUXENBERG, PC
MOSS                 GEORGE                NY         10871401         WEITZ & LUXENBERG, PC                                MUCKE                WANDA                 NY         10716802         WEITZ & LUXENBERG, PC
MOSS                 GRACE                 NY         10871401         WEITZ & LUXENBERG, PC                                MUDARO               SAM                   NY         111836600        WEITZ & LUXENBERG, PC
MOSS                 JIMMIE L              NY         10740102         WEITZ & LUXENBERG, PC                                MUELLER              DAVID                 NY         19031711         WEITZ & LUXENBERG, PC
MOSS                 JIMMIE L              NY         11347602         WEITZ & LUXENBERG, PC                                MUELLER              GORDON                NY         10632901         WEITZ & LUXENBERG, PC
MOSS                 MACK H                NY         10722202         WEITZ & LUXENBERG, PC                                MUELLER              JEAN                  NY         10632901         WEITZ & LUXENBERG, PC
MOSS                 MARY                  NY         10707900         WEITZ & LUXENBERG, PC                                MUELLER              JOSEPH ROGER          NY         99120102         WEITZ & LUXENBERG, PC
MOSS                 MARY E                NY         10707900         WEITZ & LUXENBERG, PC                                MUELLER              PATRICIA              NY         19031711         WEITZ & LUXENBERG, PC
MOSS                 RONALD                NY         10707900         WEITZ & LUXENBERG, PC                                MUELLER              THERESA               NY         99120102         WEITZ & LUXENBERG, PC
MOSS                 RONALD J              NY         10707900         WEITZ & LUXENBERG, PC                                MUGGELBERG           LARRY H C             NY         12011299         WEITZ & LUXENBERG, PC
MOSS                 TIMOTHY FREDERICK     NY         11836500         WEITZ & LUXENBERG, PC                                MUGGELBERG           NANCY                 NY         12011299         WEITZ & LUXENBERG, PC
MOSS                 UDELLA                NY         10740102         WEITZ & LUXENBERG, PC                                MUGNANO              DORA                  NY         10947000         WEITZ & LUXENBERG, PC
MOSS                 UDELLA                NY         11347602         WEITZ & LUXENBERG, PC                                MUGNANO              DORA                  NY         99122187         WEITZ & LUXENBERG, PC
MOSS                 UDELLAR               NY         10740102         WEITZ & LUXENBERG, PC                                MUGNANO              SEVERINO              NY         10947000         WEITZ & LUXENBERG, PC
MOSS                 UDELLAR               NY         11347602         WEITZ & LUXENBERG, PC                                MUGNANO              SEVERINO              NY         99122187         WEITZ & LUXENBERG, PC
MOSSCROP             CLIFFORD J            NY         02107102         WEITZ & LUXENBERG, PC                                MUHLBAUER            BARBARA J             NY         01122139         WEITZ & LUXENBERG, PC
MOSSCROP             MARGIE                NY         02107102         WEITZ & LUXENBERG, PC                                MUHLBAUER            JOSEPH A              NY         10722002         WEITZ & LUXENBERG, PC
MOSSOW               DONNA                 NY         10700002         WEITZ & LUXENBERG, PC                                MUHLBAUER            JOSEPH A              NY         11343702         WEITZ & LUXENBERG, PC
MOSSOW               LELAND EARL           NY         10716702         WEITZ & LUXENBERG, PC                                MUHLBAUER            WALTER H              NY         01122139         WEITZ & LUXENBERG, PC
MOSSOW               LORRAINE              NY         10716702         WEITZ & LUXENBERG, PC                                MUIA                 FRANK                 NY         11356702         WEITZ & LUXENBERG, PC
MOSSOW               RICKEY A              NY         10700002         WEITZ & LUXENBERG, PC                                MUIA                 SUSAN L               NY         11356702         WEITZ & LUXENBERG, PC
MOSTILLER            ERNESTINE             NY         10382300         WEITZ & LUXENBERG, PC                                MULARZ               LEOPOLD               NY         10811603         WEITZ & LUXENBERG, PC
MOSTOW               ALAN                  NY         10364303         WEITZ & LUXENBERG, PC                                MULARZ               MARY                  NY         10811603         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1012
                                                           Case 20-03004                             Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                        Complaint-Part 2 Page 347 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number     Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MULDER               ANNA                  NY         12305700           WEITZ & LUXENBERG, PC                                MULLIS               RAFAELA               NY         CV017341         WEITZ & LUXENBERG, PC
MULDER               MAURITS C             NY         12305700           WEITZ & LUXENBERG, PC                                MULLIS               SANFORD M             NY         CV017341         WEITZ & LUXENBERG, PC
MULDER               SHARON                NY         E2017000215        WEITZ & LUXENBERG, PC                                MULVENNA             HAZEL                 NY         10946100         WEITZ & LUXENBERG, PC
MULDOON              CAROL JO              NY         10946900           WEITZ & LUXENBERG, PC                                MULVENNA             HAZEL                 NY         99122187         WEITZ & LUXENBERG, PC
MULDOON              CAROL JO              NY         99122187           WEITZ & LUXENBERG, PC                                MULVENNA             JAMES M               NY         10946100         WEITZ & LUXENBERG, PC
MULDOON              CHARLES               NY         12444102           WEITZ & LUXENBERG, PC                                MULVENNA             JAMES M               NY         99122187         WEITZ & LUXENBERG, PC
MULDOON              CHARLES               NY         10321603           WEITZ & LUXENBERG, PC                                MULVEY               DANIEL E              NY         19027510         WEITZ & LUXENBERG, PC
MULDOON              JOSEPH                NY         12444102           WEITZ & LUXENBERG, PC                                MULVEY               DOLORES               NY         19027510         WEITZ & LUXENBERG, PC
MULDOON              JOSEPH                NY         10321603           WEITZ & LUXENBERG, PC                                MULVIHILL            KEITH R               NY         10587202         WEITZ & LUXENBERG, PC
MULDOON              ROBERT                NY         10946900           WEITZ & LUXENBERG, PC                                MULVIHILL            MARY                  NY         10587202         WEITZ & LUXENBERG, PC
MULDOON              ROBERT                NY         99122187           WEITZ & LUXENBERG, PC                                MUMFORD              DONALD J              NY         10633201         WEITZ & LUXENBERG, PC
MULDOON              SHIRLEY               NY         10718100           WEITZ & LUXENBERG, PC                                MUMFORD              MARY                  NY         10633201         WEITZ & LUXENBERG, PC
MULDOON              WILLIAM VINCENT       NY         10718100           WEITZ & LUXENBERG, PC                                MUNAFO               ANGELO                NY         10464207         WEITZ & LUXENBERG, PC
MULDROW              THELMA LOUISE         NY         01CIV3910          WEITZ & LUXENBERG, PC                                MUNAFO               ANTONIA               NY         10464207         WEITZ & LUXENBERG, PC
MULE                 IGNATIUS              NY         10740002           WEITZ & LUXENBERG, PC                                MUNCY                ADELE                 NY         12039201         WEITZ & LUXENBERG, PC
MULE                 PATRICIA              NY         10740002           WEITZ & LUXENBERG, PC                                MUNCY                ADELE                 NY         10407802         WEITZ & LUXENBERG, PC
MULHERN              DANIEL A              NY         10946800           WEITZ & LUXENBERG, PC                                MUNCY                KENDALL W             NY         12039201         WEITZ & LUXENBERG, PC
MULHERN              DANIEL A              NY         99122187           WEITZ & LUXENBERG, PC                                MUNCY                KENDALL W             NY         10407802         WEITZ & LUXENBERG, PC
MULHERN              GERALD T              NY         10946700           WEITZ & LUXENBERG, PC                                MUNDA                ANGELA                NY         10946000         WEITZ & LUXENBERG, PC
MULHERN              GERALD T              NY         99122187           WEITZ & LUXENBERG, PC                                MUNDA                ANGELA                NY         99122187         WEITZ & LUXENBERG, PC
MULHERN              SUSANE                NY         10946700           WEITZ & LUXENBERG, PC                                MUNDA                JOSEPH S              NY         10946000         WEITZ & LUXENBERG, PC
MULHERN              SUSANE                NY         99122187           WEITZ & LUXENBERG, PC                                MUNDA                JOSEPH S              NY         99122187         WEITZ & LUXENBERG, PC
MULHOLLAND           DENNIS J              NY         12693702           WEITZ & LUXENBERG, PC                                MUNDALE              LINDA                 NY         19049011         WEITZ & LUXENBERG, PC
MULITZ               CATHERINE             NY         11142698_ADMIN_CTD WEITZ & LUXENBERG, PC                                MUNICE               BONNIE B              NY         98121206         WEITZ & LUXENBERG, PC
MULKERN              ELIZABETH             NY         11076503           WEITZ & LUXENBERG, PC                                MUNICE               EMANUEL               NY         98121206         WEITZ & LUXENBERG, PC
MULKERN              ELIZABETH             NY         12115499           WEITZ & LUXENBERG, PC                                MUNIR                BERTHA                NY         10633101         WEITZ & LUXENBERG, PC
MULKERN              THOMAS                NY         11076503           WEITZ & LUXENBERG, PC                                MUNIR                NUR                   NY         10633101         WEITZ & LUXENBERG, PC
MULKERN              THOMAS                NY         12115499           WEITZ & LUXENBERG, PC                                MUNKES               DAVID L               NY         10633001         WEITZ & LUXENBERG, PC
MULLALY              DOLORES               NY         12039901           WEITZ & LUXENBERG, PC                                MUNKES               RICHARD J             NY         10633001         WEITZ & LUXENBERG, PC
MULLALY              EUGENE A              NY         12039901           WEITZ & LUXENBERG, PC                                MUNOZ                CARMELO               NY         12043101         WEITZ & LUXENBERG, PC
MULLEE               ANNE                  NY         10946600           WEITZ & LUXENBERG, PC                                MUNOZ                FELIX                 NY         10945900         WEITZ & LUXENBERG, PC
MULLEE               ANNE                  NY         99122187           WEITZ & LUXENBERG, PC                                MUNOZ                FELIX                 NY         99122187         WEITZ & LUXENBERG, PC
MULLEE               JAMES                 NY         10946600           WEITZ & LUXENBERG, PC                                MUNOZ                LOURDES               NY         10945900         WEITZ & LUXENBERG, PC
MULLEE               JAMES                 NY         99122187           WEITZ & LUXENBERG, PC                                MUNOZ                LOURDES               NY         99122187         WEITZ & LUXENBERG, PC
MULLEN               FLOYD                 NY         12115199           WEITZ & LUXENBERG, PC                                MUNOZ                MARGARITA             NY         12043101         WEITZ & LUXENBERG, PC
MULLEN               LEONARD I             NY         02105713           WEITZ & LUXENBERG, PC                                MUNRO                MARILYNN              NY         01111234         WEITZ & LUXENBERG, PC
MULLEN               MARY KATE             NY         02106508           WEITZ & LUXENBERG, PC                                MUNRO                MARILYNN              NY         11921601         WEITZ & LUXENBERG, PC
MULLEN               MARY KATE             NY         11078402           WEITZ & LUXENBERG, PC                                MUNSON               SANDRA D              NY         10587202         WEITZ & LUXENBERG, PC
MULLEN               VICTORIA MARIA        NY         10716802           WEITZ & LUXENBERG, PC                                MUNSON               WILLIE R              NY         10587202         WEITZ & LUXENBERG, PC
MULLEN               VICTORIA MARIA        NY         11240702           WEITZ & LUXENBERG, PC                                MURABITO             JOSEPH                NY         19003908         WEITZ & LUXENBERG, PC
MULLEN               VONNIE                NY         12115199           WEITZ & LUXENBERG, PC                                MURATORE             DOLORES               NY         10945800         WEITZ & LUXENBERG, PC
MULLER               EDWIN H               NY         11085905           WEITZ & LUXENBERG, PC                                MURATORE             DOLORES               NY         99122187         WEITZ & LUXENBERG, PC
MULLER               FRED H                NY         01111223           WEITZ & LUXENBERG, PC                                MURATORE             FRANK                 NY         99101060         WEITZ & LUXENBERG, PC
MULLER               GEORGE A              NY         1901842018         WEITZ & LUXENBERG, PC                                MURATORE             JAMES R               NY         10945800         WEITZ & LUXENBERG, PC
MULLER               HILDEGARD             NY         11085905           WEITZ & LUXENBERG, PC                                MURATORE             JAMES R               NY         99122187         WEITZ & LUXENBERG, PC
MULLER               JOSEPH A              NY         12693702           WEITZ & LUXENBERG, PC                                MURATORE             SHEILA M              NY         99101060         WEITZ & LUXENBERG, PC
MULLER               JOSEPH A              NY         10560303           WEITZ & LUXENBERG, PC                                MURAWSKI             HELEN                 NY         11327902         WEITZ & LUXENBERG, PC
MULLER               MARJORIE              NY         1901842018         WEITZ & LUXENBERG, PC                                MURAWSKI             HELEN                 NY         12090702         WEITZ & LUXENBERG, PC
MULLIGAN             ALICE M               NY         99101061           WEITZ & LUXENBERG, PC                                MURAWSKI             WILLIAM C             NY         11327902         WEITZ & LUXENBERG, PC
MULLIGAN             ANTOINETTE J          NY         10946400           WEITZ & LUXENBERG, PC                                MURAWSKI             WILLIAM C             NY         12090702         WEITZ & LUXENBERG, PC
MULLIGAN             ANTOINETTE J          NY         99122187           WEITZ & LUXENBERG, PC                                MURAWSKI             WILLIAM T             NY         11327902         WEITZ & LUXENBERG, PC
MULLIGAN             JOHN M                NY         10946400           WEITZ & LUXENBERG, PC                                MURAWSKI             WILLIAM T             NY         12090702         WEITZ & LUXENBERG, PC
MULLIGAN             JOHN M                NY         99122187           WEITZ & LUXENBERG, PC                                MURCH                JOHN                  NY         12788802         WEITZ & LUXENBERG, PC
MULLIGAN             MARIE                 NY         01111226           WEITZ & LUXENBERG, PC                                MURCH                STEPHANIE             NY         12788802         WEITZ & LUXENBERG, PC
MULLIGAN             NOREEN ANN            NY         99101061           WEITZ & LUXENBERG, PC                                MURCHISON            ADELLA                NY         CV016893         WEITZ & LUXENBERG, PC
MULLIGAN             PATRICK J             NY         10700002           WEITZ & LUXENBERG, PC                                MURCHISON            EASTER                NY         11249199         WEITZ & LUXENBERG, PC
MULLIGAN             THOMAS                NY         01111226           WEITZ & LUXENBERG, PC                                MURDOCK              JOAN J                NY         1902322012       WEITZ & LUXENBERG, PC
MULLIGAN             WILLIAM J             NY         99101061           WEITZ & LUXENBERG, PC                                MURDOCK              OSCAR ALVIN           NY         CV017899         WEITZ & LUXENBERG, PC
MULLINS              ANNE M                NY         11143704           WEITZ & LUXENBERG, PC                                MURDOCK              STELLA                NY         CV017899         WEITZ & LUXENBERG, PC
MULLINS              CHARLES               NY         10946300           WEITZ & LUXENBERG, PC                                MURILLO              BILLY                 NY         12039101         WEITZ & LUXENBERG, PC
MULLINS              CHARLES               NY         99122187           WEITZ & LUXENBERG, PC                                MURILLO              MARIA                 NY         12039101         WEITZ & LUXENBERG, PC
MULLINS              JUDITH A              NY         02106579           WEITZ & LUXENBERG, PC                                MURINO               ANTHONY R             NY         12110001         WEITZ & LUXENBERG, PC
MULLINS              LINDA                 NY         11027002           WEITZ & LUXENBERG, PC                                MURINO               ANTHONY R             NY         10647502         WEITZ & LUXENBERG, PC
MULLINS              MARGARET              NY         99122187           WEITZ & LUXENBERG, PC                                MURINO               MARIA                 NY         12110001         WEITZ & LUXENBERG, PC
MULLINS              MARY                  NY         10946300           WEITZ & LUXENBERG, PC                                MURINO               MARIA                 NY         10647502         WEITZ & LUXENBERG, PC
MULLINS              MARY                  NY         99122187           WEITZ & LUXENBERG, PC                                MURINO               MARIE                 NY         12110001         WEITZ & LUXENBERG, PC
MULLINS              NEIL A                NY         99122187           WEITZ & LUXENBERG, PC                                MURINO               MARIE                 NY         10647502         WEITZ & LUXENBERG, PC
MULLINS              STEPHEN E             NY         99122187           WEITZ & LUXENBERG, PC                                MURNANE              COLIN                 NY         02107007         WEITZ & LUXENBERG, PC
MULLINS              THOMAS                NY         11027002           WEITZ & LUXENBERG, PC                                MURNANE              COLIN MICHAEL         NY         11533302         WEITZ & LUXENBERG, PC
MULLINS              WAYNE E               NY         11143704           WEITZ & LUXENBERG, PC                                MURNANE              JUDITH ANN            NY         11533302         WEITZ & LUXENBERG, PC
MULLINS              WILLIAM EDWARD        NY         02106579           WEITZ & LUXENBERG, PC                                MURNANE              JUDY                  NY         02107007         WEITZ & LUXENBERG, PC




                                                                                                              Appendix A - 1013
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 348 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MURO                 JAMES                 NY         01111236         WEITZ & LUXENBERG, PC                                MURPHY               MICHELE               NY         12318001         WEITZ & LUXENBERG, PC
MURO                 JOSEPHINE             NY         01111236         WEITZ & LUXENBERG, PC                                MURPHY               MICHELE               NY         01111230         WEITZ & LUXENBERG, PC
MURPHY               ARLENE                NY         1904292013       WEITZ & LUXENBERG, PC                                MURPHY               NELSONIA L            NY         10945300         WEITZ & LUXENBERG, PC
MURPHY               BARBARA               NY         12043101         WEITZ & LUXENBERG, PC                                MURPHY               NELSONIA L            NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               BARBARA               NY         12012299         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK               NY         01111235         WEITZ & LUXENBERG, PC
MURPHY               CAMILLE               NY         10587202         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK               NY         11837801         WEITZ & LUXENBERG, PC
MURPHY               CAROLE                NY         11148400         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK C             NY         01111218         WEITZ & LUXENBERG, PC
MURPHY               CHARLES F             NY         11957703         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK J             NY         10945200         WEITZ & LUXENBERG, PC
MURPHY               CHARLES HENRY         NY         CV025685         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK J             NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               DANIEL THOMAS         NY         02106692         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK PAUL          NY         10945100         WEITZ & LUXENBERG, PC
MURPHY               DENNIS                NY         12788702         WEITZ & LUXENBERG, PC                                MURPHY               PATRICK PAUL          NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               DOCK J                NY         CV017070         WEITZ & LUXENBERG, PC                                MURPHY               PETER T               NY         11532399         WEITZ & LUXENBERG, PC
MURPHY               DORIS E               NY         10378704         WEITZ & LUXENBERG, PC                                MURPHY               PHYLLIS A             NY         CV011418         WEITZ & LUXENBERG, PC
MURPHY               E DOROTHY             NY         10945400         WEITZ & LUXENBERG, PC                                MURPHY               RAYMOND THOMAS        NY         01111025         WEITZ & LUXENBERG, PC
MURPHY               E DOROTHY             NY         99122187         WEITZ & LUXENBERG, PC                                MURPHY               RICHARD               NY         10716802         WEITZ & LUXENBERG, PC
MURPHY               ELAINE                NY         01111225         WEITZ & LUXENBERG, PC                                MURPHY               RICHARD               NY         11240302         WEITZ & LUXENBERG, PC
MURPHY               ELAINE                NY         11810101         WEITZ & LUXENBERG, PC                                MURPHY               ROBERT                NY         12043101         WEITZ & LUXENBERG, PC
MURPHY               ELEANE                NY         10945200         WEITZ & LUXENBERG, PC                                MURPHY               ROBERT F              NY         10634001         WEITZ & LUXENBERG, PC
MURPHY               ELEANE                NY         99122187         WEITZ & LUXENBERG, PC                                MURPHY               ROGER J               NY         12012299         WEITZ & LUXENBERG, PC
MURPHY               ELEANOR MARIE         NY         10634001         WEITZ & LUXENBERG, PC                                MURPHY               RONALD J              NY         1902032013       WEITZ & LUXENBERG, PC
MURPHY               EVELYN                NY         12039201         WEITZ & LUXENBERG, PC                                MURPHY               SALLY A               NY         99101058         WEITZ & LUXENBERG, PC
MURPHY               FIOLDALIZA M          NY         1901112019       WEITZ & LUXENBERG, PC                                MURPHY               SHARLEEN FRANCIS      NY         10669102         WEITZ & LUXENBERG, PC
MURPHY               FRANCIS E             NY         10838500         WEITZ & LUXENBERG, PC                                MURPHY               SHARON                NY         02107102         WEITZ & LUXENBERG, PC
MURPHY               FRANCIS W             NY         01111225         WEITZ & LUXENBERG, PC                                MURPHY               SHIRLEY A             NY         10587502         WEITZ & LUXENBERG, PC
MURPHY               FRANCIS W             NY         11810101         WEITZ & LUXENBERG, PC                                MURPHY               STEPHEN               NY         12318001         WEITZ & LUXENBERG, PC
MURPHY               GARY                  NY         01111225         WEITZ & LUXENBERG, PC                                MURPHY               STEPHEN               NY         01111230         WEITZ & LUXENBERG, PC
MURPHY               GARY                  NY         11810101         WEITZ & LUXENBERG, PC                                MURPHY               SYLVIA                NY         11957703         WEITZ & LUXENBERG, PC
MURPHY               GEORGE LOUIS          NY         02105713         WEITZ & LUXENBERG, PC                                MURPHY               THOMAS                NY         99120310         WEITZ & LUXENBERG, PC
MURPHY               GEORGE LOUIS          NY         11259702         WEITZ & LUXENBERG, PC                                MURPHY               THOMAS L              NY         10944900         WEITZ & LUXENBERG, PC
MURPHY               GERALD J              NY         10716702         WEITZ & LUXENBERG, PC                                MURPHY               THOMAS L              NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               HAROLD A              NY         10378704         WEITZ & LUXENBERG, PC                                MURPHY               THOMAS M              NY         10587202         WEITZ & LUXENBERG, PC
MURPHY               HARRIET               NY         11159403         WEITZ & LUXENBERG, PC                                MURPHY               THOMAS V              NY         12039201         WEITZ & LUXENBERG, PC
MURPHY               HARRY R               NY         1902732016       WEITZ & LUXENBERG, PC                                MURPHY               TIMOTHY               NY         02105713         WEITZ & LUXENBERG, PC
MURPHY               HELEN P               NY         10105799         WEITZ & LUXENBERG, PC                                MURPHY               TIMOTHY               NY         11259702         WEITZ & LUXENBERG, PC
MURPHY               HELEN P               NY         01111219         WEITZ & LUXENBERG, PC                                MURPHY               TIMOTHY F             NY         01111234         WEITZ & LUXENBERG, PC
MURPHY               HUGH J                NY         1902202017       WEITZ & LUXENBERG, PC                                MURPHY               TIMOTHY F             NY         11922301         WEITZ & LUXENBERG, PC
MURPHY               JAMES                 NY         10945300         WEITZ & LUXENBERG, PC                                MURPHY               TIMOTHY M             NY         02107102         WEITZ & LUXENBERG, PC
MURPHY               JAMES                 NY         99122187         WEITZ & LUXENBERG, PC                                MURPHY               VERNETTE              NY         CV017070         WEITZ & LUXENBERG, PC
MURPHY               JAMES D               NY         11148400         WEITZ & LUXENBERG, PC                                MURPHY               WILLIAM               NY         11159403         WEITZ & LUXENBERG, PC
MURPHY               JEANETTE              NY         99120310         WEITZ & LUXENBERG, PC                                MURPHY               WILLIAM J             NY         10945700         WEITZ & LUXENBERG, PC
MURPHY               JEREMIAH J            NY         10945600         WEITZ & LUXENBERG, PC                                MURPHY               WILLIAM J             NY         12057403         WEITZ & LUXENBERG, PC
MURPHY               JEREMIAH J            NY         99122187         WEITZ & LUXENBERG, PC                                MURPHY               WILLIAM J             NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               JODI A                NY         19013310         WEITZ & LUXENBERG, PC                                MURPHY               WILLIAM R             NY         02106692         WEITZ & LUXENBERG, PC
MURPHY               JOHN                  NY         99101058         WEITZ & LUXENBERG, PC                                MURPHY               WILLIE C              NY         CV025685         WEITZ & LUXENBERG, PC
MURPHY               JOHN H                NY         CV011418         WEITZ & LUXENBERG, PC                                MURRAY               AGNES                 NY         10633901         WEITZ & LUXENBERG, PC
MURPHY               JOHN J                NY         10105799         WEITZ & LUXENBERG, PC                                MURRAY               BERNARD               NY         01111235         WEITZ & LUXENBERG, PC
MURPHY               JOHN J                NY         01111219         WEITZ & LUXENBERG, PC                                MURRAY               BERNARD               NY         11837701         WEITZ & LUXENBERG, PC
MURPHY               JOSEPH P              NY         11624401         WEITZ & LUXENBERG, PC                                MURRAY               BRIDGET               NY         02107007         WEITZ & LUXENBERG, PC
MURPHY               JOSEPH P              NY         01111221         WEITZ & LUXENBERG, PC                                MURRAY               BRIDGET               NY         11533202         WEITZ & LUXENBERG, PC
MURPHY               JOSEPH PATRICK        NY         10945500         WEITZ & LUXENBERG, PC                                MURRAY               CAROL A               NY         01111235         WEITZ & LUXENBERG, PC
MURPHY               JOSEPH PATRICK        NY         99122187         WEITZ & LUXENBERG, PC                                MURRAY               CAROL A               NY         11837701         WEITZ & LUXENBERG, PC
MURPHY               JOYCE                 NY         02106707         WEITZ & LUXENBERG, PC                                MURRAY               HELENE                NY         01111218         WEITZ & LUXENBERG, PC
MURPHY               JUDY                  NY         CV025685         WEITZ & LUXENBERG, PC                                MURRAY               HENRY W               NY         10944800         WEITZ & LUXENBERG, PC
MURPHY               JUNE                  NY         1902732016       WEITZ & LUXENBERG, PC                                MURRAY               HENRY W               NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               JUNE E                NY         01111218         WEITZ & LUXENBERG, PC                                MURRAY               JAMES                 NY         01111218         WEITZ & LUXENBERG, PC
MURPHY               JUNG SU               NY         11532399         WEITZ & LUXENBERG, PC                                MURRAY               JANE A                NY         10077702         WEITZ & LUXENBERG, PC
MURPHY               JUSTIN G              NY         1904292013       WEITZ & LUXENBERG, PC                                MURRAY               JOHN                  NY         1905542012       WEITZ & LUXENBERG, PC
MURPHY               LAVERNE               NY         CV025685         WEITZ & LUXENBERG, PC                                MURRAY               JOHN                  NY         10633901         WEITZ & LUXENBERG, PC
MURPHY               LAWRENCE E            NY         10945400         WEITZ & LUXENBERG, PC                                MURRAY               JOHN                  NY         10633801         WEITZ & LUXENBERG, PC
MURPHY               LAWRENCE E            NY         99122187         WEITZ & LUXENBERG, PC                                MURRAY               JOHN THOMAS           NY         02107007         WEITZ & LUXENBERG, PC
MURPHY               LEO F                 NY         10587502         WEITZ & LUXENBERG, PC                                MURRAY               JOHN THOMAS           NY         11533202         WEITZ & LUXENBERG, PC
MURPHY               LEO M                 NY         02106707         WEITZ & LUXENBERG, PC                                MURRAY               JUDITH                NY         10710102         WEITZ & LUXENBERG, PC
MURPHY               MARCIA                NY         10944900         WEITZ & LUXENBERG, PC                                MURRAY               LAWRENCE R            NY         11716504         WEITZ & LUXENBERG, PC
MURPHY               MARCIA                NY         99122187         WEITZ & LUXENBERG, PC                                MURRAY               LEO H                 NY         10944700         WEITZ & LUXENBERG, PC
MURPHY               MARGARET              NY         01111234         WEITZ & LUXENBERG, PC                                MURRAY               LEO H                 NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               MARGARET              NY         11922301         WEITZ & LUXENBERG, PC                                MURRAY               MARIA                 NY         10944600         WEITZ & LUXENBERG, PC
MURPHY               MARILYN               NY         12057403         WEITZ & LUXENBERG, PC                                MURRAY               MARIA                 NY         99122187         WEITZ & LUXENBERG, PC
MURPHY               MARY                  NY         10838500         WEITZ & LUXENBERG, PC                                MURRAY               MARIE                 NY         11801303         WEITZ & LUXENBERG, PC
MURPHY               MARY E                NY         10945600         WEITZ & LUXENBERG, PC                                MURRAY               MARY                  NY         1905542012       WEITZ & LUXENBERG, PC
MURPHY               MARY E                NY         99122187         WEITZ & LUXENBERG, PC                                MURRAY               PATRICIA M            NY         10944800         WEITZ & LUXENBERG, PC
MURPHY               MAUREEN E             NY         02106692         WEITZ & LUXENBERG, PC                                MURRAY               PATRICIA M            NY         99122187         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1014
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 349 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MURRAY               REGINA-MARIA          NY         10633801         WEITZ & LUXENBERG, PC                                MYERS                ANZA                  NY         10634601         WEITZ & LUXENBERG, PC
MURRAY               ROBERT R              NY         11801303         WEITZ & LUXENBERG, PC                                MYERS                CHARLES               NY         10633601         WEITZ & LUXENBERG, PC
MURRAY               THOMAS D              NY         02107004         WEITZ & LUXENBERG, PC                                MYERS                FLORENCE              NY         10944000         WEITZ & LUXENBERG, PC
MURRAY               WILLIAM               NY         10147802         WEITZ & LUXENBERG, PC                                MYERS                GARY                  NY         10634601         WEITZ & LUXENBERG, PC
MURRAY               WILLIAM E             NY         12038901         WEITZ & LUXENBERG, PC                                MYERS                GEORGE E              NY         10847203         WEITZ & LUXENBERG, PC
MURRAY               WILLIAM J             NY         10077702         WEITZ & LUXENBERG, PC                                MYERS                JAMES H               NY         10074103         WEITZ & LUXENBERG, PC
MURRAY               WILLIAM R             NY         10710102         WEITZ & LUXENBERG, PC                                MYERS                JOHN L                NY         10722002         WEITZ & LUXENBERG, PC
MURRELL              ALICE                 NY         CV015621         WEITZ & LUXENBERG, PC                                MYERS                JOHN M                NY         10944000         WEITZ & LUXENBERG, PC
MURRELL              DAVID PAUL            NY         CV015621         WEITZ & LUXENBERG, PC                                MYERS                KAREN                 NY         10074103         WEITZ & LUXENBERG, PC
MURTAGH              FRAN                  NY         11159003         WEITZ & LUXENBERG, PC                                MYERS                MARY                  NY         10943900         WEITZ & LUXENBERG, PC
MURTAGH              JAMES                 NY         11159003         WEITZ & LUXENBERG, PC                                MYERS                MARY                  NY         99122187         WEITZ & LUXENBERG, PC
MURTHA               ARLENE                NY         10944500         WEITZ & LUXENBERG, PC                                MYERS                MARY ANN              NY         10722002         WEITZ & LUXENBERG, PC
MURTHA               ARLENE                NY         99122187         WEITZ & LUXENBERG, PC                                MYERS                NANCY                 NY         CV013923         WEITZ & LUXENBERG, PC
MURTHA               GILBERT J             NY         10944500         WEITZ & LUXENBERG, PC                                MYERS                PAUL                  NY         02106690         WEITZ & LUXENBERG, PC
MURTHA               GILBERT J             NY         99122187         WEITZ & LUXENBERG, PC                                MYERS                SALLY                 NY         10847203         WEITZ & LUXENBERG, PC
MURTHA               JAMES                 NY         01111226         WEITZ & LUXENBERG, PC                                MYERS                THOMAS P              NY         10943900         WEITZ & LUXENBERG, PC
MURTHA               JOAN ANN              NY         01111226         WEITZ & LUXENBERG, PC                                MYERS                THOMAS P              NY         99122187         WEITZ & LUXENBERG, PC
MUSANTE              TRACEY J              NY         02106578         WEITZ & LUXENBERG, PC                                MYERS                TROY EDWIN            NY         CV013923         WEITZ & LUXENBERG, PC
MUSAP                BOZO                  NY         12039301         WEITZ & LUXENBERG, PC                                MYLAR                DAVID J               NY         10943800         WEITZ & LUXENBERG, PC
MUSAP                MILENA                NY         12039301         WEITZ & LUXENBERG, PC                                MYLAR                DAVID J               NY         99122187         WEITZ & LUXENBERG, PC
MUSCANELL            ESTHER                NY         10718200         WEITZ & LUXENBERG, PC                                MYLAR                PENNY                 NY         10943800         WEITZ & LUXENBERG, PC
MUSCANELL            FRED E                NY         10718200         WEITZ & LUXENBERG, PC                                MYLAR                PENNY                 NY         99122187         WEITZ & LUXENBERG, PC
MUSCARDIN            FERNANDA              NY         10217202         WEITZ & LUXENBERG, PC                                MYLES                CAMILLE               NY         10943600         WEITZ & LUXENBERG, PC
MUSCARDIN            PETER D               NY         10217202         WEITZ & LUXENBERG, PC                                MYLES                CAMILLE               NY         99122187         WEITZ & LUXENBERG, PC
MUSCARELLA           FILOMENA              NY         10944400         WEITZ & LUXENBERG, PC                                MYLES                CHARLES J             NY         02107004         WEITZ & LUXENBERG, PC
MUSCARELLA           FILOMENA              NY         99122187         WEITZ & LUXENBERG, PC                                MYLES                GILBERT BRUCE         NY         10943700         WEITZ & LUXENBERG, PC
MUSCARELLA           SILVESTRI             NY         10944400         WEITZ & LUXENBERG, PC                                MYLES                GILBERT BRUCE         NY         99122187         WEITZ & LUXENBERG, PC
MUSCARELLA           SILVESTRI             NY         99122187         WEITZ & LUXENBERG, PC                                MYLES                JEAN M                NY         02107004         WEITZ & LUXENBERG, PC
MUSCAT               JOSEPHINE             NY         10669502         WEITZ & LUXENBERG, PC                                MYLES                MICHAEL A             NY         10943600         WEITZ & LUXENBERG, PC
MUSCAT               MICHAEL               NY         10669502         WEITZ & LUXENBERG, PC                                MYLES                MICHAEL A             NY         99122187         WEITZ & LUXENBERG, PC
MUSCI                JOSEPHINE             NY         11356702         WEITZ & LUXENBERG, PC                                MYRICK               WAYNE                 NY         1903682016       WEITZ & LUXENBERG, PC
MUSCI                SERGIO V              NY         11356702         WEITZ & LUXENBERG, PC                                MYSLIWIEC            JAMES W               NY         10943500         WEITZ & LUXENBERG, PC
MUSCOLINO            ARNALDO B             NY         10718300         WEITZ & LUXENBERG, PC                                MYSLIWIEC            JAMES W               NY         99122187         WEITZ & LUXENBERG, PC
MUSCOLINO            GIOVANNA              NY         10718300         WEITZ & LUXENBERG, PC                                MYSLIWIEC            JANICE M              NY         10943500         WEITZ & LUXENBERG, PC
MUSE                 HEIDY M               NY         19017218         WEITZ & LUXENBERG, PC                                MYSLIWIEC            JANICE M              NY         99122187         WEITZ & LUXENBERG, PC
MUSIAL               GENE JAMES            NY         10944300         WEITZ & LUXENBERG, PC                                NACCARATO            FRANK                 NY         10634501         WEITZ & LUXENBERG, PC
MUSIAL               GENE JAMES            NY         99122187         WEITZ & LUXENBERG, PC                                NACCARATO            MAUREEN               NY         10634501         WEITZ & LUXENBERG, PC
MUSIAL               IRENE                 NY         10944300         WEITZ & LUXENBERG, PC                                NACCARTO             ANTHONY               NY         10634401         WEITZ & LUXENBERG, PC
MUSIAL               IRENE                 NY         99122187         WEITZ & LUXENBERG, PC                                NACCARTO             ROSE ANN              NY         10634401         WEITZ & LUXENBERG, PC
MUSIELLO             CARL                  NY         12042901         WEITZ & LUXENBERG, PC                                NADAL                CLARE                 NY         11493107         WEITZ & LUXENBERG, PC
MUSILOWSKI           CHESTER J             NY         10942200         WEITZ & LUXENBERG, PC                                NADAL MANGIONE       ELLEN                 NY         11493107         WEITZ & LUXENBERG, PC
MUSILOWSKI           CHESTER J             NY         99122187         WEITZ & LUXENBERG, PC                                NADEAU               HENRY                 NY         02106580         WEITZ & LUXENBERG, PC
MUSORAFITE           MARION                NY         11104303         WEITZ & LUXENBERG, PC                                NADEAU               HENRY R               NY         02106694         WEITZ & LUXENBERG, PC
MUSORAFITE           THOMAS                NY         11104303         WEITZ & LUXENBERG, PC                                NADEAU               PATRICIA              NY         02106694         WEITZ & LUXENBERG, PC
MUSTAC               LENKA                 NY         12039201         WEITZ & LUXENBERG, PC                                NADEAU               PATRICIA T            NY         02106580         WEITZ & LUXENBERG, PC
MUSTAC               MILIVOJ               NY         12039201         WEITZ & LUXENBERG, PC                                NADRICH              LEO                   NY         10943300         WEITZ & LUXENBERG, PC
MUSTARELLI           ANGELO                NY         10944100         WEITZ & LUXENBERG, PC                                NADRICH              LEO                   NY         99122187         WEITZ & LUXENBERG, PC
MUSTARELLI           ANGELO                NY         99122187         WEITZ & LUXENBERG, PC                                NADRICH-SOBEL        RANDI                 NY         10943300         WEITZ & LUXENBERG, PC
MUSTARELLI           CASSIE                NY         10944100         WEITZ & LUXENBERG, PC                                NADRICH-SOBEL        RANDI                 NY         99122187         WEITZ & LUXENBERG, PC
MUSTARELLI           CASSIE                NY         99122187         WEITZ & LUXENBERG, PC                                NADVORNIK            MADELEINE             NY         10008703         WEITZ & LUXENBERG, PC
MUSTIFUL             ERNESTINE             NY         CV017892         WEITZ & LUXENBERG, PC                                NADVORNIK            THEODORE              NY         10008703         WEITZ & LUXENBERG, PC
MUSTO                HELEN                 NY         12800402         WEITZ & LUXENBERG, PC                                NAGEL                ANNE MARIE            NY         10718500         WEITZ & LUXENBERG, PC
MUSTO                HENRY                 NY         12800402         WEITZ & LUXENBERG, PC                                NAGEL                FREDERICK L           NY         10718500         WEITZ & LUXENBERG, PC
MUSUMECI             CARMINE V             NY         10430607         WEITZ & LUXENBERG, PC                                NAGLE                CAROL                 NY         02107102         WEITZ & LUXENBERG, PC
MUSUMECI             FRED V                NY         10430607         WEITZ & LUXENBERG, PC                                NAGLE                THOMAS J              NY         02107102         WEITZ & LUXENBERG, PC
MUSUTA               ANTHONY A             NY         12801902         WEITZ & LUXENBERG, PC                                NAGY                 ELIZABETH             NY         01111235         WEITZ & LUXENBERG, PC
MUSUTA               CHERYL H              NY         12801902         WEITZ & LUXENBERG, PC                                NAGY                 ISTVAN                NY         10670402         WEITZ & LUXENBERG, PC
MUTHANA              ABDUL M               NY         99101065         WEITZ & LUXENBERG, PC                                NAGY                 ISTVAN                NY         11034702         WEITZ & LUXENBERG, PC
MUTHANA              ELIA                  NY         99101065         WEITZ & LUXENBERG, PC                                NAGY                 LEWIS                 NY         11327902         WEITZ & LUXENBERG, PC
MUTHIG               ELAINE                NY         02107099         WEITZ & LUXENBERG, PC                                NAGY                 NICHOLAS              NY         01111235         WEITZ & LUXENBERG, PC
MUTHIG               RONALD G              NY         02107099         WEITZ & LUXENBERG, PC                                NAGY                 WILMA E               NY         11327902         WEITZ & LUXENBERG, PC
MUTOLO               GIULIO                NY         10090403         WEITZ & LUXENBERG, PC                                NAILOR               LAWRENCE D            NY         99101064         WEITZ & LUXENBERG, PC
MUXIE                MICHAEL               NY         12100401         WEITZ & LUXENBERG, PC                                NAILOR               SHARON                NY         99101064         WEITZ & LUXENBERG, PC
MUXIE                PATRICIA              NY         12100401         WEITZ & LUXENBERG, PC                                NAITOVE              IRWIN                 NY         19011710         WEITZ & LUXENBERG, PC
MUZIC                LURDINO               NY         10633701         WEITZ & LUXENBERG, PC                                NAITOVE              JOHN                  NY         19011710         WEITZ & LUXENBERG, PC
MUZIC                RENATA                NY         10633701         WEITZ & LUXENBERG, PC                                NALDRETT             ANTIONETTE            NY         11079703         WEITZ & LUXENBERG, PC
MYATT                ELIZABETH J           NY         10716702         WEITZ & LUXENBERG, PC                                NALDRETT             FRANCIS A             NY         12038801         WEITZ & LUXENBERG, PC
MYATT                NICHOLAS I            NY         10716702         WEITZ & LUXENBERG, PC                                NALDRETT             JAMES E               NY         11079703         WEITZ & LUXENBERG, PC
MYATT                NICHOLAS J            NY         02106692         WEITZ & LUXENBERG, PC                                NALDRETT             JOAN                  NY         12038801         WEITZ & LUXENBERG, PC
MYDLARZ              BRONISLAUS            NY         10722202         WEITZ & LUXENBERG, PC                                NALE                 ELIZABETH ANN         NY         1900802016       WEITZ & LUXENBERG, PC
MYDLARZ              BRONISLAUS            NY         11362202         WEITZ & LUXENBERG, PC                                NALEZYNSKI           EUGENE                NY         10943200         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1015
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 350 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

NALEZYNSKI           EUGENE                NY         99122187         WEITZ & LUXENBERG, PC                                NEAL                 BRIAN                 NY         10880703         WEITZ & LUXENBERG, PC
NALEZYNSKI           LUCY                  NY         10943200         WEITZ & LUXENBERG, PC                                NEAL                 EUGENE F              NY         02105715         WEITZ & LUXENBERG, PC
NALEZYNSKI           LUCY                  NY         99122187         WEITZ & LUXENBERG, PC                                NEAL                 EUGENE F              NY         11030602         WEITZ & LUXENBERG, PC
NALLY                MICHAEL               NY         10634301         WEITZ & LUXENBERG, PC                                NEAL                 GRACIA                NY         00CIV3589        WEITZ & LUXENBERG, PC
NANCI                FRANK                 NY         11760402         WEITZ & LUXENBERG, PC                                NEAL                 LOUISE                NY         10880703         WEITZ & LUXENBERG, PC
NANCI                STEFANINA             NY         11760402         WEITZ & LUXENBERG, PC                                NEAL                 LUCILLE M             NY         02105715         WEITZ & LUXENBERG, PC
NANKERVIS            KENNETH               NY         1903462017       WEITZ & LUXENBERG, PC                                NEAL                 LUCILLE M             NY         11030602         WEITZ & LUXENBERG, PC
NAPADY               ANNE                  NY         1901232016       WEITZ & LUXENBERG, PC                                NEALLY               HAROLD J              NY         10740002         WEITZ & LUXENBERG, PC
NAPADY               STEVEN N              NY         1901232016       WEITZ & LUXENBERG, PC                                NEALY                ROY L                 NY         10904900         WEITZ & LUXENBERG, PC
NAPLES               ANITA L               NY         10571702         WEITZ & LUXENBERG, PC                                NEALY                ROY L                 NY         99122188         WEITZ & LUXENBERG, PC
NAPLES               DONALD                NY         10571702         WEITZ & LUXENBERG, PC                                NEAMONITIS           JAMES                 NY         12039001         WEITZ & LUXENBERG, PC
NAPLES               EVERETT N             NY         12039301         WEITZ & LUXENBERG, PC                                NEAMONITIS           JAMES                 NY         12393801         WEITZ & LUXENBERG, PC
NAPLES               JAMES A               NY         12156101         WEITZ & LUXENBERG, PC                                NEAMONITIS           LILLIAN               NY         12039001         WEITZ & LUXENBERG, PC
NAPLES               JAMES A               NY         01111228         WEITZ & LUXENBERG, PC                                NEAMONITIS           LILLIAN               NY         12393801         WEITZ & LUXENBERG, PC
NAPLES               JAMES V               NY         12156101         WEITZ & LUXENBERG, PC                                NEAULT               JOSEPH A              NY         10669102         WEITZ & LUXENBERG, PC
NAPLES               JAMES V               NY         01111228         WEITZ & LUXENBERG, PC                                NEAULT               SHARON                NY         10669102         WEITZ & LUXENBERG, PC
NAPLES               LILLIAN               NY         12039301         WEITZ & LUXENBERG, PC                                NEDDO                JAMES D               NY         CV150408         WEITZ & LUXENBERG, PC
NAPORANO             ANNE                  NY         10834703         WEITZ & LUXENBERG, PC                                NEE                  CHRISTINE             NY         10634801         WEITZ & LUXENBERG, PC
NAPORANO             JOHN                  NY         10834703         WEITZ & LUXENBERG, PC                                NEE                  MICHAEL               NY         10634801         WEITZ & LUXENBERG, PC
NAPPI                JOSEPH                NY         99122188         WEITZ & LUXENBERG, PC                                NEEDHAM              JANE                  NY         10718700         WEITZ & LUXENBERG, PC
NAPURSKI             ALBERT                NY         10387803         WEITZ & LUXENBERG, PC                                NEEDHAM              RICHARD P             NY         10718700         WEITZ & LUXENBERG, PC
NAPURSKI             ALBERT                NY         12668202         WEITZ & LUXENBERG, PC                                NEENAN               CHARLOTTE             NY         10904800         WEITZ & LUXENBERG, PC
NAPURSKI             THERESA               NY         10387803         WEITZ & LUXENBERG, PC                                NEENAN               CHARLOTTE             NY         99122188         WEITZ & LUXENBERG, PC
NAPURSKI             THERESA               NY         12668202         WEITZ & LUXENBERG, PC                                NEENAN               CORNELIUS F           NY         10904800         WEITZ & LUXENBERG, PC
NARANJO              ALICE DENICE          NY         1903042019       WEITZ & LUXENBERG, PC                                NEENAN               CORNELIUS F           NY         99122188         WEITZ & LUXENBERG, PC
NARCOWICH            MARIANNE              NY         8004602014       WEITZ & LUXENBERG, PC                                NEER                 ANDREW S              NY         10740402         WEITZ & LUXENBERG, PC
NARDELLA             ANTHONY               NY         12668702         WEITZ & LUXENBERG, PC                                NEFF                 PAMELA STRAUB         NY         10871401         WEITZ & LUXENBERG, PC
NARDI                LEO R                 NY         12802102         WEITZ & LUXENBERG, PC                                NEFF                 THOMAS BRIEN          NY         10871401         WEITZ & LUXENBERG, PC
NARDOLILLO           FRANK                 NY         10905300         WEITZ & LUXENBERG, PC                                NEGLIA               RONALD J              NY         1902272017       WEITZ & LUXENBERG, PC
NARDOLILLO           FRANK                 NY         99122188         WEITZ & LUXENBERG, PC                                NEGRON               DAVID                 NY         1903962015       WEITZ & LUXENBERG, PC
NARDOLILLO           MARION                NY         10905300         WEITZ & LUXENBERG, PC                                NEGRON               LYDIA                 NY         1903962015       WEITZ & LUXENBERG, PC
NARDOLILLO           MARION                NY         99122188         WEITZ & LUXENBERG, PC                                NEIDRICK             NANETTE               NY         10902700         WEITZ & LUXENBERG, PC
NARDONE              MARGARET              NY         11159403         WEITZ & LUXENBERG, PC                                NEIDRICK             NANETTE               NY         99122188         WEITZ & LUXENBERG, PC
NARDONE              WILLIAM L             NY         11159403         WEITZ & LUXENBERG, PC                                NEIDRICK             WILLIAM A             NY         10902700         WEITZ & LUXENBERG, PC
NARDUCCI             ANN                   NY         10008703         WEITZ & LUXENBERG, PC                                NEIDRICK             WILLIAM A             NY         99122188         WEITZ & LUXENBERG, PC
NARDUCCI             MICHAEL C             NY         10008703         WEITZ & LUXENBERG, PC                                NEIST                JAMES F               NY         10101905         WEITZ & LUXENBERG, PC
NAREWISKI            CHESTER J             NY         02120615         WEITZ & LUXENBERG, PC                                NEIST                MARGARET              NY         10101905         WEITZ & LUXENBERG, PC
NARLOCH              CHARLOTTE             NY         02107004         WEITZ & LUXENBERG, PC                                NEJMAN               CHERYL                NY         10634701         WEITZ & LUXENBERG, PC
NARLOCH              CHARLOTTE             NY         11516502         WEITZ & LUXENBERG, PC                                NEJMAN               DOUGLAS STANLEY       NY         10634701         WEITZ & LUXENBERG, PC
NARLOCH              HENRY J               NY         02107004         WEITZ & LUXENBERG, PC                                NELAN                JOHN J                NY         01122697         WEITZ & LUXENBERG, PC
NARLOCH              HENRY J               NY         11516502         WEITZ & LUXENBERG, PC                                NELLIGAN             BURT F                NY         10696402         WEITZ & LUXENBERG, PC
NASH                 BONNIE                NY         99122188         WEITZ & LUXENBERG, PC                                NELLIGAN             JOAN M                NY         10696402         WEITZ & LUXENBERG, PC
NASH                 CHARLES A             NY         99122188         WEITZ & LUXENBERG, PC                                NELSON               ALBERTA               NY         10635401         WEITZ & LUXENBERG, PC
NASH                 DOROTHY               NY         10635101         WEITZ & LUXENBERG, PC                                NELSON               BARRY J               NY         01121099         WEITZ & LUXENBERG, PC
NASH                 DOUGLAS H             NY         10635101         WEITZ & LUXENBERG, PC                                NELSON               CAROL                 NY         12668502         WEITZ & LUXENBERG, PC
NASH                 JAMES                 NY         10635001         WEITZ & LUXENBERG, PC                                NELSON               CHARLENE              NY         01CIV3900        WEITZ & LUXENBERG, PC
NASH                 SUSAN                 NY         10635001         WEITZ & LUXENBERG, PC                                NELSON               CLYDE O               NY         01CIV3900        WEITZ & LUXENBERG, PC
NASSO                DOMINICK              NY         99101063         WEITZ & LUXENBERG, PC                                NELSON               DARYL                 NY         02CIV1249        WEITZ & LUXENBERG, PC
NASSO                FRANCES               NY         99101063         WEITZ & LUXENBERG, PC                                NELSON               DIANE                 NY         109026           WEITZ & LUXENBERG, PC
NATALE               LORRAINE              NY         CV042456         WEITZ & LUXENBERG, PC                                NELSON               DIANE                 NY         99122188         WEITZ & LUXENBERG, PC
NATALE               ONOFRIO               NY         CV042456         WEITZ & LUXENBERG, PC                                NELSON               EILEEN                NY         10718900         WEITZ & LUXENBERG, PC
NATALE               ROBERT L              NY         11118899         WEITZ & LUXENBERG, PC                                NELSON               GEORGE JR             NY         109026           WEITZ & LUXENBERG, PC
NATALI               FRANCO                NY         10696402         WEITZ & LUXENBERG, PC                                NELSON               GEORGE JR             NY         99122188         WEITZ & LUXENBERG, PC
NATALI               GIUSEPPA              NY         10696402         WEITZ & LUXENBERG, PC                                NELSON               GREG                  NY         02CIV1249        WEITZ & LUXENBERG, PC
NATALIE              FANNIE                NY         11118899         WEITZ & LUXENBERG, PC                                NELSON               INGVER A              NY         01111233         WEITZ & LUXENBERG, PC
NATHAN               SUSAN MOORE           NY         10720000         WEITZ & LUXENBERG, PC                                NELSON               JEWELLENE             NY         CV021243         WEITZ & LUXENBERG, PC
NATHAN               VICTORIA              NY         10710102         WEITZ & LUXENBERG, PC                                NELSON               JIMMIE                NY         02CIV2198        WEITZ & LUXENBERG, PC
NATHAN               VICTORIA              NY         11968002         WEITZ & LUXENBERG, PC                                NELSON               MARIE                 NY         02CIV2198        WEITZ & LUXENBERG, PC
NATOLI               JOHN                  NY         1901562016       WEITZ & LUXENBERG, PC                                NELSON               MARY                  NY         02CIV1249        WEITZ & LUXENBERG, PC
NATWORA              FELIX W               NY         10905000         WEITZ & LUXENBERG, PC                                NELSON               MAXWELL HENRY         NY         02CIV1249        WEITZ & LUXENBERG, PC
NATWORA              FELIX W               NY         99122188         WEITZ & LUXENBERG, PC                                NELSON               MINNIE                NY         109026           WEITZ & LUXENBERG, PC
NATWORA              ROBERT A              NY         10905000         WEITZ & LUXENBERG, PC                                NELSON               MINNIE                NY         99122188         WEITZ & LUXENBERG, PC
NATWORA              ROBERT A              NY         99122188         WEITZ & LUXENBERG, PC                                NELSON               NEVILLE               NY         12039601         WEITZ & LUXENBERG, PC
NAUMAN               ARTHUR                NY         11159003         WEITZ & LUXENBERG, PC                                NELSON               NORMA L               NY         01CIV3900        WEITZ & LUXENBERG, PC
NAUSS                GERALD                NY         19024011         WEITZ & LUXENBERG, PC                                NELSON               RICHARD H             NY         10587002         WEITZ & LUXENBERG, PC
NAYLOR               BARBARA L             NY         11010900         WEITZ & LUXENBERG, PC                                NELSON               RICHARD H             NY         10876402         WEITZ & LUXENBERG, PC
NAYOWITZ             ABRAHAM               NY         12039901         WEITZ & LUXENBERG, PC                                NELSON               RICHARD J             NY         10718900         WEITZ & LUXENBERG, PC
NAYOWITZ             PAULA                 NY         12039901         WEITZ & LUXENBERG, PC                                NELSON               RICHARD P             NY         12668502         WEITZ & LUXENBERG, PC
NAZAR                ANNA                  NY         11350003         WEITZ & LUXENBERG, PC                                NELSON               ROBERT                NY         10635401         WEITZ & LUXENBERG, PC
NAZAR                MICHAEL J             NY         11350003         WEITZ & LUXENBERG, PC                                NEMIA                JOHN                  NY         10635301         WEITZ & LUXENBERG, PC
NAZARIO              ELSITA                NY         10877403         WEITZ & LUXENBERG, PC                                NEMIA                NANCY                 NY         10635301         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1016
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 351 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

NEPHEW               CURTIS L              NY         99122188         WEITZ & LUXENBERG, PC                                NEWKIRK              RONALD D              NY         10871301         WEITZ & LUXENBERG, PC
NEPHEW               CURTIS L              NY         10902500         WEITZ & LUXENBERG, PC                                NEWMAN               MARTIN A              NY         99122188         WEITZ & LUXENBERG, PC
NEPHEW               KENNETH F             NY         10669102         WEITZ & LUXENBERG, PC                                NEWMAN               MARY ANNA             NY         99122188         WEITZ & LUXENBERG, PC
NEPHEW               SHARON                NY         99122188         WEITZ & LUXENBERG, PC                                NEWMAN               NORMAN N              NY         12039501         WEITZ & LUXENBERG, PC
NEPHEW               SHARON                NY         10902500         WEITZ & LUXENBERG, PC                                NEWMAN               PAULINE               NY         12039501         WEITZ & LUXENBERG, PC
NERI                 ELDEN DALE            NY         10719000         WEITZ & LUXENBERG, PC                                NEWSOME              CAROL                 NY         12039701         WEITZ & LUXENBERG, PC
NERI                 LIDONO                NY         10902400         WEITZ & LUXENBERG, PC                                NEWSOME              CLEVELAND             NY         10632701         WEITZ & LUXENBERG, PC
NERI                 LIDONO                NY         99122188         WEITZ & LUXENBERG, PC                                NEWSOME              JOHN A                NY         12039701         WEITZ & LUXENBERG, PC
NERI                 MARY RITA             NY         10902400         WEITZ & LUXENBERG, PC                                NEWSOME              MARTHA                NY         10632701         WEITZ & LUXENBERG, PC
NERI                 MARY RITA             NY         99122188         WEITZ & LUXENBERG, PC                                NEWTON               DAVID                 NY         I20031364        WEITZ & LUXENBERG, PC
NERI                 SHARON                NY         10719000         WEITZ & LUXENBERG, PC                                NEWTON               EDWARD C              NY         01114378         WEITZ & LUXENBERG, PC
NERO                 PASQUALE              NY         02122051         WEITZ & LUXENBERG, PC                                NEWTON               ELEANOR               NY         01114378         WEITZ & LUXENBERG, PC
NERO                 THOMAS                NY         02122051         WEITZ & LUXENBERG, PC                                NEWTON               FRANK                 NY         I20031364        WEITZ & LUXENBERG, PC
NERWINSKI            STEPHEN T             NY         6129822015       WEITZ & LUXENBERG, PC                                NEWTON               HELEN                 NY         10680602         WEITZ & LUXENBERG, PC
NERWINSKI            SUZANNE               NY         6129822015       WEITZ & LUXENBERG, PC                                NEWTON               JAMES                 NY         10632601         WEITZ & LUXENBERG, PC
NESBIET              ROBERT W              NY         01114661         WEITZ & LUXENBERG, PC                                NEWTON               KATHLEEN D            NY         I20031364        WEITZ & LUXENBERG, PC
NESBITT              LESLIE                NY         99101015         WEITZ & LUXENBERG, PC                                NEWTON               KENNETH E             NY         10073503         WEITZ & LUXENBERG, PC
NESTER               ANGELINA              NY         10547801         WEITZ & LUXENBERG, PC                                NEWTON               LILY                  NY         10073503         WEITZ & LUXENBERG, PC
NESTER               ANTHONY H             NY         10547801         WEITZ & LUXENBERG, PC                                NEWTON               RAYMOND F             NY         10680602         WEITZ & LUXENBERG, PC
NESTORYAK            JOSEPH                NY         10085503         WEITZ & LUXENBERG, PC                                NEWTON               SALLY                 NY         10632601         WEITZ & LUXENBERG, PC
NESTORYAK            SHARON                NY         10085503         WEITZ & LUXENBERG, PC                                NEWTOWN              GILBERT               NY         10700002         WEITZ & LUXENBERG, PC
NEUBERT              KARL E                NY         10571402         WEITZ & LUXENBERG, PC                                NEWTOWN              GILBERT J             NY         10571402         WEITZ & LUXENBERG, PC
NEUBERT              PATRICIA              NY         10571402         WEITZ & LUXENBERG, PC                                NEWTOWN              GILBERT L             NY         10700002         WEITZ & LUXENBERG, PC
NEUBERT              VIRGINIA              NY         10571402         WEITZ & LUXENBERG, PC                                NEZOLOSKY            ANN M                 NY         10716700         WEITZ & LUXENBERG, PC
NEUHENGEN            BARABRA               NY         1900032018       WEITZ & LUXENBERG, PC                                NEZOLOSKY            JOHN                  NY         10716700         WEITZ & LUXENBERG, PC
NEUHENGEN            DONALD J              NY         1900032018       WEITZ & LUXENBERG, PC                                NICCUM               JAMES E               NY         1900182015       WEITZ & LUXENBERG, PC
NEUREUTHER           GRACE R               NY         10587202         WEITZ & LUXENBERG, PC                                NICEWICZ             ANNA                  NY         10680702         WEITZ & LUXENBERG, PC
NEUREUTHER           GRACE R               NY         10822802         WEITZ & LUXENBERG, PC                                NICEWICZ             STANLEY               NY         10680702         WEITZ & LUXENBERG, PC
NEUREUTHER           ROSS S                NY         10587202         WEITZ & LUXENBERG, PC                                NICHOLAS             ANGELINE              NY         11836700         WEITZ & LUXENBERG, PC
NEUREUTHER           ROSS S                NY         10822802         WEITZ & LUXENBERG, PC                                NICHOLAS             ANNE                  NY         10906800         WEITZ & LUXENBERG, PC
NEUROTH              KEITH A               NY         12788702         WEITZ & LUXENBERG, PC                                NICHOLAS             ANNE                  NY         99122188         WEITZ & LUXENBERG, PC
NEUWEILER            CLARIDGE F            NY         10902300         WEITZ & LUXENBERG, PC                                NICHOLAS             DAVID                 NY         10906800         WEITZ & LUXENBERG, PC
NEUWEILER            CLARIDGE F            NY         99122188         WEITZ & LUXENBERG, PC                                NICHOLAS             DAVID                 NY         99122188         WEITZ & LUXENBERG, PC
NEUWEILER            DOROTHY               NY         10902300         WEITZ & LUXENBERG, PC                                NICHOLAS             FRANCIS               NY         10379204         WEITZ & LUXENBERG, PC
NEUWEILER            DOROTHY               NY         99122188         WEITZ & LUXENBERG, PC                                NICHOLAS             GAIL F                NY         99108440         WEITZ & LUXENBERG, PC
NEVELS               DODIE                 NY         CV018608         WEITZ & LUXENBERG, PC                                NICHOLAS             JO ANNE               NY         10379204         WEITZ & LUXENBERG, PC
NEVELS               HENDERSON             NY         CV018608         WEITZ & LUXENBERG, PC                                NICHOLAS             JOHN                  NY         10716902         WEITZ & LUXENBERG, PC
NEVERETTE            ANNETTE               NY         02106692         WEITZ & LUXENBERG, PC                                NICHOLAS             JOHN                  NY         11214102         WEITZ & LUXENBERG, PC
NEVERETTE            JEAN                  NY         10669102         WEITZ & LUXENBERG, PC                                NICHOLAS             JOYCE                 NY         12191597         WEITZ & LUXENBERG, PC
NEVERETTE            RALPH JOSEPH          NY         10669102         WEITZ & LUXENBERG, PC                                NICHOLAS             THOMAS A              NY         11836700         WEITZ & LUXENBERG, PC
NEVERETTE            ROBERT PAUL           NY         02106692         WEITZ & LUXENBERG, PC                                NICHOLLS             DOLORES               NY         1900612016       WEITZ & LUXENBERG, PC
NEVILLE              MICHAEL J             NY         19038010         WEITZ & LUXENBERG, PC                                NICHOLLS             GEORGE L              NY         1900612016       WEITZ & LUXENBERG, PC
NEVILLE              SCOTT A               NY         1900702016       WEITZ & LUXENBERG, PC                                NICHOLS              FRANK V               NY         99122188         WEITZ & LUXENBERG, PC
NEVILLE              VIRGINIA              NY         19038010         WEITZ & LUXENBERG, PC                                NICHOLS              JAIME                 NY         10906600         WEITZ & LUXENBERG, PC
NEVIN                JOAN CATHERINE        NY         10632801         WEITZ & LUXENBERG, PC                                NICHOLS              JAIME                 NY         99122188         WEITZ & LUXENBERG, PC
NEVIN                MICHAEL F             NY         10632801         WEITZ & LUXENBERG, PC                                NICHOLS              JAMES                 NY         10906600         WEITZ & LUXENBERG, PC
NEW                  BRADLEY E             NY         99122188         WEITZ & LUXENBERG, PC                                NICHOLS              JAMES                 NY         99122188         WEITZ & LUXENBERG, PC
NEW                  DONNA                 NY         12039501         WEITZ & LUXENBERG, PC                                NICHOLS              JUDY                  NY         10632501         WEITZ & LUXENBERG, PC
NEW                  JAMES ODELL           NY         CV016897         WEITZ & LUXENBERG, PC                                NICHOLS              KENNETH ERVING        NY         10740002         WEITZ & LUXENBERG, PC
NEW                  JAYNE                 NY         99122188         WEITZ & LUXENBERG, PC                                NICHOLS              LEON G                NY         10632501         WEITZ & LUXENBERG, PC
NEW                  JOHN P                NY         12039501         WEITZ & LUXENBERG, PC                                NICHOLS              LORRAINE              NY         99122188         WEITZ & LUXENBERG, PC
NEW                  PATSY                 NY         CV016897         WEITZ & LUXENBERG, PC                                NICHOLSON            EUGENE                NY         10721902         WEITZ & LUXENBERG, PC
NEWBORN              ESTHER                NY         CV018609         WEITZ & LUXENBERG, PC                                NICHOLSON            PATRICIA              NY         12039001         WEITZ & LUXENBERG, PC
NEWBORN              JESSE LOUIS           NY         CV018609         WEITZ & LUXENBERG, PC                                NICHOLSON            RUTH                  NY         10721902         WEITZ & LUXENBERG, PC
NEWBORN              LC                    NY         00CIV3589        WEITZ & LUXENBERG, PC                                NICHOLSON            WALTER A              NY         12039001         WEITZ & LUXENBERG, PC
NEWCOMB              ARTHUR                NY         CV022033         WEITZ & LUXENBERG, PC                                NICHY                WILLIAM C             NY         99101007         WEITZ & LUXENBERG, PC
NEWCOMB              JOYCE                 NY         CV022033         WEITZ & LUXENBERG, PC                                NICKELSBERG          MOSHE                 NY         19038809         WEITZ & LUXENBERG, PC
NEWCOMBE             BARRY E               NY         02105716         WEITZ & LUXENBERG, PC                                NICKELSBERG          ZISLA                 NY         19038809         WEITZ & LUXENBERG, PC
NEWCOMBE             BRUCE H               NY         110461           WEITZ & LUXENBERG, PC                                NICKERSON            REGINALD E            NY         19024909         WEITZ & LUXENBERG, PC
NEWCOMBE             LINDA                 NY         110461           WEITZ & LUXENBERG, PC                                NICODEMUS            CAROL                 NY         1903852017       WEITZ & LUXENBERG, PC
NEWCOMER             ELLEN F               NY         10747500         WEITZ & LUXENBERG, PC                                NICODEMUS            CAROL                 NY         12788802         WEITZ & LUXENBERG, PC
NEWCOMER             JOHN                  NY         10716802         WEITZ & LUXENBERG, PC                                NICODEMUS            GARRY I               NY         1903852017       WEITZ & LUXENBERG, PC
NEWCOMER             SARA                  NY         10716802         WEITZ & LUXENBERG, PC                                NICODEMUS            GARRY I               NY         12788802         WEITZ & LUXENBERG, PC
NEWELL               BEATRICE              NY         10716600         WEITZ & LUXENBERG, PC                                NICOIS               ALFONSE               NY         11148800         WEITZ & LUXENBERG, PC
NEWELL               CARNIDA GAIL          NY         01CIV3922        WEITZ & LUXENBERG, PC                                NICOIS               MARGARET              NY         11148800         WEITZ & LUXENBERG, PC
NEWELL               HERBERT L             NY         10716600         WEITZ & LUXENBERG, PC                                NICOLAS              ALFRED                NY         11348807         WEITZ & LUXENBERG, PC
NEWELL               JOHN                  NY         01111223         WEITZ & LUXENBERG, PC                                NICOLELLA            KAREN                 NY         10871301         WEITZ & LUXENBERG, PC
NEWELL               LORI                  NY         02113280         WEITZ & LUXENBERG, PC                                NICOLELLA            MICHAEL J             NY         10871301         WEITZ & LUXENBERG, PC
NEWKIRK              KAREN                 NY         10871301         WEITZ & LUXENBERG, PC                                NICOLO               ANGELA                NY         01111233         WEITZ & LUXENBERG, PC
NEWKIRK              KATHLEEN              NY         99122188         WEITZ & LUXENBERG, PC                                NICOLO               DECIO                 NY         01111233         WEITZ & LUXENBERG, PC
NEWKIRK              NORMAN L              NY         99122188         WEITZ & LUXENBERG, PC                                NICOLOSI             BEN                   NY         10906300         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1017
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 352 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

NICOLOSI             BEN                   NY         99122188         WEITZ & LUXENBERG, PC                                NILSSEN              ARNE S                NY         01111220         WEITZ & LUXENBERG, PC
NICOLOSI             CARLO                 NY         10906200         WEITZ & LUXENBERG, PC                                NILSSEN              MARIE                 NY         11947301         WEITZ & LUXENBERG, PC
NICOLOSI             CARLO                 NY         99122188         WEITZ & LUXENBERG, PC                                NILSSEN              MARIE                 NY         01111220         WEITZ & LUXENBERG, PC
NICOLOSI             ELENA                 NY         10906200         WEITZ & LUXENBERG, PC                                NILSSON              SVEN ELOF             NY         10548301         WEITZ & LUXENBERG, PC
NICOLOSI             ELENA                 NY         99122188         WEITZ & LUXENBERG, PC                                NILSSON              TAIME                 NY         10548301         WEITZ & LUXENBERG, PC
NICOLOSI             VIRGINIA              NY         10906300         WEITZ & LUXENBERG, PC                                NILSSON              TAIMI                 NY         10548301         WEITZ & LUXENBERG, PC
NICOLOSI             VIRGINIA              NY         99122188         WEITZ & LUXENBERG, PC                                NIMMO                CAROL                 NY         10074103         WEITZ & LUXENBERG, PC
NICOMETI             ANN MARIE             NY         10906100         WEITZ & LUXENBERG, PC                                NIMMO                EDGAR T               NY         10074103         WEITZ & LUXENBERG, PC
NICOMETI             ANN MARIE             NY         99122188         WEITZ & LUXENBERG, PC                                NISKY                LEONORE               NY         99100999         WEITZ & LUXENBERG, PC
NICOMETI             CHESTER               NY         10906100         WEITZ & LUXENBERG, PC                                NISKY                SYLVESTER             NY         99100999         WEITZ & LUXENBERG, PC
NICOMETI             CHESTER               NY         99122188         WEITZ & LUXENBERG, PC                                NITTOLO              FRANK A               NY         11547707         WEITZ & LUXENBERG, PC
NICOMETO             DOMINIC               NY         10906000         WEITZ & LUXENBERG, PC                                NITTOLO              JOANNE                NY         11547707         WEITZ & LUXENBERG, PC
NICOMETO             DOMINIC               NY         99122188         WEITZ & LUXENBERG, PC                                NIVEN                MARY                  NY         1900962016       WEITZ & LUXENBERG, PC
NICOMETO             SANDRA                NY         10906000         WEITZ & LUXENBERG, PC                                NIVEN                RAYMOND               NY         1900962016       WEITZ & LUXENBERG, PC
NICOMETO             SANDRA                NY         99122188         WEITZ & LUXENBERG, PC                                NIXON                FREDA                 NY         12448702         WEITZ & LUXENBERG, PC
NICOSIA              BENEDETTO             NY         10632401         WEITZ & LUXENBERG, PC                                NIXON                KENNETH L             NY         12448702         WEITZ & LUXENBERG, PC
NICOSIA              CONCETTA              NY         10632401         WEITZ & LUXENBERG, PC                                NIXON                LOUIS V               NY         CV017505         WEITZ & LUXENBERG, PC
NIEDDA               JOHN J                NY         10023203         WEITZ & LUXENBERG, PC                                NIXON                WENDY M               NY         10731401         WEITZ & LUXENBERG, PC
NIEDERLANDER         GLORIA                NY         10905900         WEITZ & LUXENBERG, PC                                NIXON                WILLIAM               NY         02106707         WEITZ & LUXENBERG, PC
NIEDERLANDER         GLORIA                NY         99122188         WEITZ & LUXENBERG, PC                                NO DEPENDANT         NO DEPENDANT          NY         01100596         WEITZ & LUXENBERG, PC
NIEDERLANDER         RICHARD               NY         10905900         WEITZ & LUXENBERG, PC                                NOAH                 ANNA MARIE            NY         10118799         WEITZ & LUXENBERG, PC
NIEDERLANDER         RICHARD               NY         99122188         WEITZ & LUXENBERG, PC                                NOAH                 RUTH ANN              NY         12668502         WEITZ & LUXENBERG, PC
NIEDERT              EDITH                 NY         1903782012       WEITZ & LUXENBERG, PC                                NOAH                 RUTH ANN              NY         10334303         WEITZ & LUXENBERG, PC
NIEDERT              EDITH                 NY         99101002         WEITZ & LUXENBERG, PC                                NOBLE                MARILYN A             NY         01CIV3895        WEITZ & LUXENBERG, PC
NIEDERT              EDITH D               NY         1903112017       WEITZ & LUXENBERG, PC                                NOBLE                MORGAN G              NY         01CIV3895        WEITZ & LUXENBERG, PC
NIEDERT              HELEN                 NY         12039801         WEITZ & LUXENBERG, PC                                NOBLE                ROBERT J              NY         01111223         WEITZ & LUXENBERG, PC
NIEDERT              PAUL                  NY         1903782012       WEITZ & LUXENBERG, PC                                NOBLES               AUSTIN                NY         10670602         WEITZ & LUXENBERG, PC
NIEDERT              PAUL                  NY         99101002         WEITZ & LUXENBERG, PC                                NOBLES               MARION                NY         10670602         WEITZ & LUXENBERG, PC
NIEDERT              PAUL                  NY         1903112017       WEITZ & LUXENBERG, PC                                NOBRIGA              EMILY                 NY         12801902         WEITZ & LUXENBERG, PC
NIEDERT              PHILIP L              NY         12039801         WEITZ & LUXENBERG, PC                                NOBRIGA              EUGENE                NY         12801902         WEITZ & LUXENBERG, PC
NIEDHAMMER           LILLIAN M             NY         10871301         WEITZ & LUXENBERG, PC                                NOCELLA              BERNARD               NY         01118265         WEITZ & LUXENBERG, PC
NIEDHAMMER           ROBERT A              NY         10871301         WEITZ & LUXENBERG, PC                                NOCELLA              DOROTHEA              NY         01118265         WEITZ & LUXENBERG, PC
NIELSEN              LINDA                 NY         12039301         WEITZ & LUXENBERG, PC                                NOCELLA              LINDA                 NY         12043301         WEITZ & LUXENBERG, PC
NIELSEN              ROBERT                NY         12039301         WEITZ & LUXENBERG, PC                                NOCELLA              LINDA                 NY         12419101         WEITZ & LUXENBERG, PC
NIELSEN              WILLIAM K             NY         10905800         WEITZ & LUXENBERG, PC                                NODOP                MARGARET              NY         12039501         WEITZ & LUXENBERG, PC
NIELSEN              WILLIAM K             NY         99122188         WEITZ & LUXENBERG, PC                                NODOP                WALTER H              NY         12039501         WEITZ & LUXENBERG, PC
NIEMCZYK             ELLEN                 NY         6118762018       WEITZ & LUXENBERG, PC                                NOEL                 LEE A                 NY         11149100         WEITZ & LUXENBERG, PC
NIEMCZYK             JEROME                NY         6118762018       WEITZ & LUXENBERG, PC                                NOEL                 THEODORE O            NY         99122188         WEITZ & LUXENBERG, PC
NIEMEIER             WILLIAM A             NY         11979501         WEITZ & LUXENBERG, PC                                NOEL                 VALERIE               NY         11149100         WEITZ & LUXENBERG, PC
NIEMEIER             WILLIAM A             NY         11123201         WEITZ & LUXENBERG, PC                                NOEL                 WENDY                 NY         99122188         WEITZ & LUXENBERG, PC
NIEMI                IRMA                  NY         10905700         WEITZ & LUXENBERG, PC                                NOEST                JEANETTE              NY         10134707         WEITZ & LUXENBERG, PC
NIEMI                IRMA                  NY         99122188         WEITZ & LUXENBERG, PC                                NOLAN                CHARLES J             NY         11624301         WEITZ & LUXENBERG, PC
NIEMI                KAUKO                 NY         10905700         WEITZ & LUXENBERG, PC                                NOLAN                CHARLES J             NY         01111221         WEITZ & LUXENBERG, PC
NIEMI                KAUKO                 NY         99122188         WEITZ & LUXENBERG, PC                                NOLAN                DEANNA                NY         01CIV3922        WEITZ & LUXENBERG, PC
NIERI                DANTE                 NY         10905600         WEITZ & LUXENBERG, PC                                NOLAN                PHILOMENA             NY         11624301         WEITZ & LUXENBERG, PC
NIERI                DANTE                 NY         99122188         WEITZ & LUXENBERG, PC                                NOLAN                PHILOMENA             NY         01111221         WEITZ & LUXENBERG, PC
NIERI                ETHEL                 NY         10905600         WEITZ & LUXENBERG, PC                                NOLDER               ROBERT E              NY         10632201         WEITZ & LUXENBERG, PC
NIERI                ETHEL                 NY         99122188         WEITZ & LUXENBERG, PC                                NOLEN                BARBARA               NY         10904700         WEITZ & LUXENBERG, PC
NIEVES               BLANCHE J             NY         11149000         WEITZ & LUXENBERG, PC                                NOLEN                BARBARA               NY         99122188         WEITZ & LUXENBERG, PC
NIEVES               GLENN J               NY         11149000         WEITZ & LUXENBERG, PC                                NOLEN                DEBBIE                NY         CV016598         WEITZ & LUXENBERG, PC
NIEWINSKI            CHARLES               NY         10632301         WEITZ & LUXENBERG, PC                                NOLEN                EDWARD                NY         10904700         WEITZ & LUXENBERG, PC
NIEWINSKI            CHESTER J             NY         02106579         WEITZ & LUXENBERG, PC                                NOLEN                EDWARD                NY         99122188         WEITZ & LUXENBERG, PC
NIEWINSKI            REGINA                NY         02106579         WEITZ & LUXENBERG, PC                                NOLEN                GLORIA                NY         10048805         WEITZ & LUXENBERG, PC
NIFORAS              ASPASIA               NY         10122605         WEITZ & LUXENBERG, PC                                NOLEN                TOMMY R               NY         CV016598         WEITZ & LUXENBERG, PC
NIFORAS              KONSTANTINOS H        NY         10122605         WEITZ & LUXENBERG, PC                                NOLEN                WILLIAM               NY         10048805         WEITZ & LUXENBERG, PC
NIGLIO               CORMALITA             NY         11356702         WEITZ & LUXENBERG, PC                                NOLIN                RITA                  NY         10904600         WEITZ & LUXENBERG, PC
NIGLIO               VINCENT               NY         11356702         WEITZ & LUXENBERG, PC                                NOLIN                RITA                  NY         99122188         WEITZ & LUXENBERG, PC
NIGRO                IRENE                 NY         99120293         WEITZ & LUXENBERG, PC                                NOLIN                ROBERT W              NY         10904600         WEITZ & LUXENBERG, PC
NIGRO                MARYJANE              NY         11123201         WEITZ & LUXENBERG, PC                                NOLIN                ROBERT W              NY         99122188         WEITZ & LUXENBERG, PC
NIGRO                PAUL R                NY         10905500         WEITZ & LUXENBERG, PC                                NOODY                JANET                 NY         11327902         WEITZ & LUXENBERG, PC
NIGRO                PAUL R                NY         99122188         WEITZ & LUXENBERG, PC                                NOODY                ROBERT B              NY         11327902         WEITZ & LUXENBERG, PC
NIGRO                SALVATORE             NY         99120293         WEITZ & LUXENBERG, PC                                NOONAN               JAMES H               NY         11147400         WEITZ & LUXENBERG, PC
NIGRO                VINCENT J             NY         11123201         WEITZ & LUXENBERG, PC                                NOONAN               PHYLLIS               NY         11147400         WEITZ & LUXENBERG, PC
NIKISCHER            DONALD                NY         10587102         WEITZ & LUXENBERG, PC                                NOONAN               ROSE                  NY         11026902         WEITZ & LUXENBERG, PC
NIKLES               JANET                 NY         10669502         WEITZ & LUXENBERG, PC                                NOONAN               THOMAS P              NY         11026902         WEITZ & LUXENBERG, PC
NIKLES               WILLIAM J             NY         10669502         WEITZ & LUXENBERG, PC                                NOONER               ROBERT                NY         01CIV3900        WEITZ & LUXENBERG, PC
NILES                HAROLD W              NY         10680802         WEITZ & LUXENBERG, PC                                NOONER               ROBERT LOUIS          NY         01CIV3910        WEITZ & LUXENBERG, PC
NILES                WILMA G               NY         10680802         WEITZ & LUXENBERG, PC                                NOONER               WILLIE                NY         01CIV3910        WEITZ & LUXENBERG, PC
NILSEN               GORDON                NY         10098701         WEITZ & LUXENBERG, PC                                NOONER               WILLIE VIOLET         NY         01CIV3900        WEITZ & LUXENBERG, PC
NILSEN               TELLEIF A             NY         11327602         WEITZ & LUXENBERG, PC                                NOORD                BEN                   NY         10904500         WEITZ & LUXENBERG, PC
NILSSEN              ARNE S                NY         11947301         WEITZ & LUXENBERG, PC                                NOORD                BEN                   NY         99122188         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1018
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 353 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

NORCROSS             CARAL A               NY         02105716         WEITZ & LUXENBERG, PC                                NOVOA                MANUEL A              NY         99101025         WEITZ & LUXENBERG, PC
NORCROSS             CARAL A               NY         11166202         WEITZ & LUXENBERG, PC                                NOVOHRADSKY          EMIL                  NY         12025699         WEITZ & LUXENBERG, PC
NORCROSS             RICHARD HARRY         NY         02105716         WEITZ & LUXENBERG, PC                                NOVOHRADSKY          MARYLOU               NY         12025699         WEITZ & LUXENBERG, PC
NORCROSS             RICHARD HARRY         NY         11166202         WEITZ & LUXENBERG, PC                                NOVOTNY              GERALD                NY         02107005         WEITZ & LUXENBERG, PC
NORDHEIM             IRVING S              NY         02106709         WEITZ & LUXENBERG, PC                                NOWAK                BERT F                NY         11174600         WEITZ & LUXENBERG, PC
NORDHEIM             IRVING S              NY         11553002         WEITZ & LUXENBERG, PC                                NOWAK                DIANNE                NY         10903700         WEITZ & LUXENBERG, PC
NORDMAN              GRETA A               NY         10904400         WEITZ & LUXENBERG, PC                                NOWAK                DIANNE                NY         99122188         WEITZ & LUXENBERG, PC
NORDMAN              GRETA A               NY         99122188         WEITZ & LUXENBERG, PC                                NOWAK                DONALD                NY         I20019927        WEITZ & LUXENBERG, PC
NORDMAN              KURT                  NY         10904400         WEITZ & LUXENBERG, PC                                NOWAK                DONALD                NY         02122692         WEITZ & LUXENBERG, PC
NORDMAN              KURT                  NY         99122188         WEITZ & LUXENBERG, PC                                NOWAK                EDWARD F              NY         10740102         WEITZ & LUXENBERG, PC
NORDSTROM            CARMEN                NY         10904300         WEITZ & LUXENBERG, PC                                NOWAK                FRANCES A             NY         10740302         WEITZ & LUXENBERG, PC
NORDSTROM            CARMEN                NY         99122188         WEITZ & LUXENBERG, PC                                NOWAK                GERALDINE T           NY         02106709         WEITZ & LUXENBERG, PC
NORDSTROM            JOHN D                NY         10904300         WEITZ & LUXENBERG, PC                                NOWAK                HAZEL                 NY         10740102         WEITZ & LUXENBERG, PC
NORDSTROM            JOHN D                NY         99122188         WEITZ & LUXENBERG, PC                                NOWAK                HENRY R               NY         10717000         WEITZ & LUXENBERG, PC
NORDYKE              EDGAR W               NY         01111233         WEITZ & LUXENBERG, PC                                NOWAK                JOHN L                NY         I200110161       WEITZ & LUXENBERG, PC
NORJEN               HELEN                 NY         10033203         WEITZ & LUXENBERG, PC                                NOWAK                JOSEPH C              NY         10740302         WEITZ & LUXENBERG, PC
NORJEN               LEROY                 NY         10033203         WEITZ & LUXENBERG, PC                                NOWAK                JOYCE                 NY         I200110161       WEITZ & LUXENBERG, PC
NORMAN               FAYE JEAN             NY         1902572012       WEITZ & LUXENBERG, PC                                NOWAK                JUDY                  NY         10717000         WEITZ & LUXENBERG, PC
NORMAN               RALPH                 NY         1902572012       WEITZ & LUXENBERG, PC                                NOWAK                LEON M                NY         02106709         WEITZ & LUXENBERG, PC
NORMYLE              LOUISE E              NY         11867800         WEITZ & LUXENBERG, PC                                NOWAK                LINDA                 NY         11174600         WEITZ & LUXENBERG, PC
NORMYLE              RICHARD               NY         11867800         WEITZ & LUXENBERG, PC                                NOWAK                RICHARD C             NY         10903700         WEITZ & LUXENBERG, PC
NORRIS               DENISE                NY         10033303         WEITZ & LUXENBERG, PC                                NOWAK                RICHARD C             NY         99122188         WEITZ & LUXENBERG, PC
NORRIS               DENMAN D              NY         10033303         WEITZ & LUXENBERG, PC                                NOWAKOWSKI           CYNTHIA               NY         10998000         WEITZ & LUXENBERG, PC
NORRIS               DENNIS                NY         10033303         WEITZ & LUXENBERG, PC                                NOWAKOWSKI           DAVID F               NY         10717100         WEITZ & LUXENBERG, PC
NORRIS               FRANCES               NY         1900312013       WEITZ & LUXENBERG, PC                                NOWAKOWSKI           DOROTHY               NY         10717100         WEITZ & LUXENBERG, PC
NORRIS               LARRY                 NY         1900312013       WEITZ & LUXENBERG, PC                                NOWAKOWSKI           FRANK L               NY         11260399         WEITZ & LUXENBERG, PC
NORRIS               RICHARD M             NY         99101028         WEITZ & LUXENBERG, PC                                NOWAKOWSKI           IRENE L               NY         11260399         WEITZ & LUXENBERG, PC
NORRIS               SUSAN                 NY         10033303         WEITZ & LUXENBERG, PC                                NOWATZKI             DIANE                 NY         11303200         WEITZ & LUXENBERG, PC
NORTHRIDGE           KELLY                 NY         19009511         WEITZ & LUXENBERG, PC                                NOWICKI              DANIEL A              NY         10669502         WEITZ & LUXENBERG, PC
NORTON               DAVID M               NY         10710102         WEITZ & LUXENBERG, PC                                NOWICKI              JEAN                  NY         11498198         WEITZ & LUXENBERG, PC
NORTON               GARY S                NY         12043201         WEITZ & LUXENBERG, PC                                NOWICKI              NORMA                 NY         10669502         WEITZ & LUXENBERG, PC
NORTON               IRENE                 NY         19022509         WEITZ & LUXENBERG, PC                                NOWLIN               DANIEL J              NY         11415203         WEITZ & LUXENBERG, PC
NORTON               LEON                  NY         12316002         WEITZ & LUXENBERG, PC                                NOWLIN               WILLIAM B             NY         11415203         WEITZ & LUXENBERG, PC
NORTON               ROBERT EDWARD         NY         10904200         WEITZ & LUXENBERG, PC                                NOWOWIEJSKI          EDMUND C              NY         10871301         WEITZ & LUXENBERG, PC
NORTON               ROBERT EDWARD         NY         99122188         WEITZ & LUXENBERG, PC                                NOWOWIEJSKI          MARY JANE             NY         10871301         WEITZ & LUXENBERG, PC
NORTON               WILLIAM               NY         19022509         WEITZ & LUXENBERG, PC                                NUARA                PATRICIA              NY         10098401         WEITZ & LUXENBERG, PC
NORWOOD              ANNIE                 NY         CV024384         WEITZ & LUXENBERG, PC                                NUCASTE              MARY                  NY         10631901         WEITZ & LUXENBERG, PC
NORWOOD              ANNIE MAE             NY         CV024384         WEITZ & LUXENBERG, PC                                NUCASTE              RAYMOND W             NY         10631901         WEITZ & LUXENBERG, PC
NORWOOD              JERLEAN H             NY         01CIV3900        WEITZ & LUXENBERG, PC                                NUCCITELLI           MICHAEL               NY         01111226         WEITZ & LUXENBERG, PC
NORWOOD              NATHANIEL             NY         CV024384         WEITZ & LUXENBERG, PC                                NUCHERENO            LOUIS                 NY         10587602         WEITZ & LUXENBERG, PC
NOSCHESE             MATTHEW               NY         10033503         WEITZ & LUXENBERG, PC                                NUCHERENO            MARY                  NY         10587602         WEITZ & LUXENBERG, PC
NOSCHESE             PATRICIA ANN          NY         10033503         WEITZ & LUXENBERG, PC                                NUGENT               FRANCES B             NY         1903282012       WEITZ & LUXENBERG, PC
NOSKY                GRACE                 NY         10904100         WEITZ & LUXENBERG, PC                                NUGENT               JOHN J                NY         01111229         WEITZ & LUXENBERG, PC
NOSKY                GRACE                 NY         99122188         WEITZ & LUXENBERG, PC                                NUGENT               THOMAS                NY         1903282012       WEITZ & LUXENBERG, PC
NOSKY                JEROME                NY         10904100         WEITZ & LUXENBERG, PC                                NULL                 THOMAS                NY         10028503         WEITZ & LUXENBERG, PC
NOSKY                JEROME                NY         99122188         WEITZ & LUXENBERG, PC                                NULLET               JOSEPH F              NY         12039501         WEITZ & LUXENBERG, PC
NOSOWICZ             BEVERLY               NY         99120318         WEITZ & LUXENBERG, PC                                NULLET               MARY                  NY         12039501         WEITZ & LUXENBERG, PC
NOSOWICZ             DANIEL                NY         99120318         WEITZ & LUXENBERG, PC                                NUNES                JAMES                 NY         1900972017       WEITZ & LUXENBERG, PC
NOTARO               ANTOINETTE            NY         10903900         WEITZ & LUXENBERG, PC                                NUNES                JAMIE ANN             NY         1900972017       WEITZ & LUXENBERG, PC
NOTARO               ANTOINETTE            NY         99122188         WEITZ & LUXENBERG, PC                                NUNN                 CHARLES               DE         N18C02127ASB     WEITZ & LUXENBERG, PC
NOTARO               MICHAEL               NY         10903900         WEITZ & LUXENBERG, PC                                NUNN                 WILMA                 DE         N18C02127ASB     WEITZ & LUXENBERG, PC
NOTARO               MICHAEL               NY         99122188         WEITZ & LUXENBERG, PC                                NUNZIATO             BENNY                 NY         11979301         WEITZ & LUXENBERG, PC
NOTO                 CONNIE                NY         11518204         WEITZ & LUXENBERG, PC                                NUNZIATO             BENNY                 NY         11123201         WEITZ & LUXENBERG, PC
NOTO                 GRACE                 NY         CV031879         WEITZ & LUXENBERG, PC                                NUNZIATO             KATHERINE             NY         11979301         WEITZ & LUXENBERG, PC
NOTO                 JOSEPH P              NY         11518204         WEITZ & LUXENBERG, PC                                NUNZIATO             KATHERINE             NY         11123201         WEITZ & LUXENBERG, PC
NOTO                 VINCENT J             NY         CV031879         WEITZ & LUXENBERG, PC                                NUSBAUM              LOIS                  NY         99122188         WEITZ & LUXENBERG, PC
NOURSE               SHIRLEY A             NY         10716800         WEITZ & LUXENBERG, PC                                NUSBAUM              WALLACE GENE          NY         99122188         WEITZ & LUXENBERG, PC
NOURSE               STANLEY F             NY         10716800         WEITZ & LUXENBERG, PC                                NUSS                 HELEN F               NY         10658102         WEITZ & LUXENBERG, PC
NOUZA                RUTH                  NY         10800601         WEITZ & LUXENBERG, PC                                NUSS                 HELEN F               NY         11393802         WEITZ & LUXENBERG, PC
NOUZA                THOMAS W              NY         10800601         WEITZ & LUXENBERG, PC                                NUSS                 LEAMON LEVI           NY         10658102         WEITZ & LUXENBERG, PC
NOVAK                JACK                  NY         11147500         WEITZ & LUXENBERG, PC                                NUSS                 LEAMON LEVI           NY         11393802         WEITZ & LUXENBERG, PC
NOVAK                JOYCE                 NY         02107007         WEITZ & LUXENBERG, PC                                NUTT                 FLOYD EVERETT         NY         01CIV3901        WEITZ & LUXENBERG, PC
NOVAK                LILLIAN               NY         11147500         WEITZ & LUXENBERG, PC                                NUTT                 LUCY                  NY         01CIV3901        WEITZ & LUXENBERG, PC
NOVAK                PATRICIA M            NY         10545799         WEITZ & LUXENBERG, PC                                NUZZO                LOUISE                NY         19027310         WEITZ & LUXENBERG, PC
NOVAK                STEPHANIE             NY         10871301         WEITZ & LUXENBERG, PC                                NUZZOLESE            ALICE                 NY         EF0076742018     WEITZ & LUXENBERG, PC
NOVAK                STEVE                 NY         02107007         WEITZ & LUXENBERG, PC                                NUZZOLESE            MICHAEL               NY         EF0076742018     WEITZ & LUXENBERG, PC
NOVAK                WILLIAM               NY         10871301         WEITZ & LUXENBERG, PC                                NYLAND               ERIC                  NY         01111228         WEITZ & LUXENBERG, PC
NOVELLI              FELIX A               NY         12460602         WEITZ & LUXENBERG, PC                                NYLAND               TAMMY                 NY         02107099         WEITZ & LUXENBERG, PC
NOVINSON             HARRY                 NY         99122188         WEITZ & LUXENBERG, PC                                NYLAND               TAMMY                 NY         11759602         WEITZ & LUXENBERG, PC
NOVINSON             LILY                  NY         99122188         WEITZ & LUXENBERG, PC                                OAKES                DONALD A              NY         1903162016       WEITZ & LUXENBERG, PC
NOVOA                JULIA                 NY         99101025         WEITZ & LUXENBERG, PC                                OAKES                EDITH                 NY         10680802         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1019
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 354 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

OAKES                HELEN                 NY         11270800         WEITZ & LUXENBERG, PC                                O'BRIEN              NICK                  NY         99122188         WEITZ & LUXENBERG, PC
OAKES                LAWRENCE C            NY         11270800         WEITZ & LUXENBERG, PC                                O'BRIEN              PETER J               NY         1900612013       WEITZ & LUXENBERG, PC
OAKES                MARSHALL              NY         110647           WEITZ & LUXENBERG, PC                                O'BRIEN              PHILOMENA             NY         1900612013       WEITZ & LUXENBERG, PC
OAKES                THOMAS W              NY         10700002         WEITZ & LUXENBERG, PC                                O'BRIEN              ROBERT                NY         12039501         WEITZ & LUXENBERG, PC
OAKES                WILLIAM GEORGE        NY         10680802         WEITZ & LUXENBERG, PC                                O'BRIEN              ROBERT JOHN           NY         10903100         WEITZ & LUXENBERG, PC
OAKLEY               MICHAEL DAVID         NY         10740002         WEITZ & LUXENBERG, PC                                O'BRIEN              ROBERT JOHN           NY         99122188         WEITZ & LUXENBERG, PC
OAKLEY               ROBERT D              NY         11269800         WEITZ & LUXENBERG, PC                                O'BRIEN              SHAUN                 NY         12788802         WEITZ & LUXENBERG, PC
OAKS                 FRANK M               NY         99102878         WEITZ & LUXENBERG, PC                                O'BRIEN-SCHRANK      LINDA                 NY         583992018        WEITZ & LUXENBERG, PC
OAKS                 LISA                  CA         BC699367         WEITZ & LUXENBERG, PC                                OBRISKIE             HELEN                 NY         01111236         WEITZ & LUXENBERG, PC
OATHOUT              HELENE                NY         02106579         WEITZ & LUXENBERG, PC                                OBRISKIE             JOSEPH A              NY         01111236         WEITZ & LUXENBERG, PC
OATHOUT              JAMES F               NY         02106579         WEITZ & LUXENBERG, PC                                O'BROCTA             WALTER                NY         10903000         WEITZ & LUXENBERG, PC
O'BEIRNE             JANICE                NY         10903500         WEITZ & LUXENBERG, PC                                O'BROCTA             WALTER                NY         99122188         WEITZ & LUXENBERG, PC
O'BEIRNE             JANICE                NY         99122188         WEITZ & LUXENBERG, PC                                O'BRYAN              DAVID N               NY         10740202         WEITZ & LUXENBERG, PC
O'BEIRNE             STEPHEN               NY         10903500         WEITZ & LUXENBERG, PC                                O'BRYAN              EILEEN                NY         11979201         WEITZ & LUXENBERG, PC
O'BEIRNE             STEPHEN               NY         99122188         WEITZ & LUXENBERG, PC                                O'BRYAN              EILEEN                NY         11123201         WEITZ & LUXENBERG, PC
OBERCON              JOHN R                NY         10700302         WEITZ & LUXENBERG, PC                                O'BRYAN              JAMES J               NY         11979201         WEITZ & LUXENBERG, PC
OBERCON              JOHN R                NY         11070902         WEITZ & LUXENBERG, PC                                O'BRYAN              JAMES J               NY         11123201         WEITZ & LUXENBERG, PC
OBERCON              LINDA ANN             NY         10700302         WEITZ & LUXENBERG, PC                                O'CAIN               TRESSIE A             NY         01CIV3900        WEITZ & LUXENBERG, PC
OBERCON              LINDA ANN             NY         11070902         WEITZ & LUXENBERG, PC                                OCHMANN              MARIA                 NY         11269700         WEITZ & LUXENBERG, PC
OBERCON              MARY E                NY         10700302         WEITZ & LUXENBERG, PC                                OCHMANN              RICHARD C             NY         11269700         WEITZ & LUXENBERG, PC
OBERCON              MARY E                NY         11070902         WEITZ & LUXENBERG, PC                                OCHSNER              ROBERT J              NY         20016739         WEITZ & LUXENBERG, PC
OBERMEIER            JOHN                  NY         10931503         WEITZ & LUXENBERG, PC                                O'CONNELL            ANNE                  NY         10871301         WEITZ & LUXENBERG, PC
OBIT                 JUDY                  NY         11836000         WEITZ & LUXENBERG, PC                                O'CONNELL            DANIEL                NY         10256601         WEITZ & LUXENBERG, PC
OBIT                 PHILIP F              NY         11836000         WEITZ & LUXENBERG, PC                                O'CONNELL            JOHN                  NY         10902900         WEITZ & LUXENBERG, PC
O'BOYLE              JOHN WILLIAM          NY         12693502         WEITZ & LUXENBERG, PC                                O'CONNELL            JOHN                  NY         99122188         WEITZ & LUXENBERG, PC
O'BOYLE              JUDITH                NY         12693502         WEITZ & LUXENBERG, PC                                O'CONNELL            JOSEPH                NY         1901852018       WEITZ & LUXENBERG, PC
O'BOYLE              RICHARD J             NY         10073103         WEITZ & LUXENBERG, PC                                O'CONNELL            KIERAN J              NY         12039501         WEITZ & LUXENBERG, PC
OBOYSKI              VICTOR                NY         10670402         WEITZ & LUXENBERG, PC                                O'CONNELL            MARTIN                NY         10871301         WEITZ & LUXENBERG, PC
O'BRIAN              JEAN M                NY         11147700         WEITZ & LUXENBERG, PC                                O'CONNELL            MARY                  NY         1901852018       WEITZ & LUXENBERG, PC
O'BRIAN              PHILLIP B             NY         11147700         WEITZ & LUXENBERG, PC                                O'CONNELL            MARY M                NY         12039501         WEITZ & LUXENBERG, PC
OBRIEN               FRANCIS A             NY         12668702         WEITZ & LUXENBERG, PC                                O'CONNELL            PHYLLIS               NY         10902900         WEITZ & LUXENBERG, PC
O'BRIEN              BERNARD               NY         10903400         WEITZ & LUXENBERG, PC                                O'CONNELL            PHYLLIS               NY         99122188         WEITZ & LUXENBERG, PC
O'BRIEN              BERNARD               NY         99122188         WEITZ & LUXENBERG, PC                                O'CONNELL            VINCENT               NY         01111223         WEITZ & LUXENBERG, PC
O'BRIEN              BERNARD T             NY         10903400         WEITZ & LUXENBERG, PC                                O'CONNELL            WILLIAM               NY         01111228         WEITZ & LUXENBERG, PC
O'BRIEN              BERNARD T             NY         99122188         WEITZ & LUXENBERG, PC                                O'CONNER             THOMAS                NY         10902800         WEITZ & LUXENBERG, PC
O'BRIEN              COLIN P               NY         02105718         WEITZ & LUXENBERG, PC                                O'CONNER             THOMAS                NY         99122188         WEITZ & LUXENBERG, PC
O'BRIEN              DENNA DEE             NY         12668502         WEITZ & LUXENBERG, PC                                O'CONNOR             BERNARD               NY         10871301         WEITZ & LUXENBERG, PC
O'BRIEN              DENNIS J              NY         12668502         WEITZ & LUXENBERG, PC                                O'CONNOR             BRIAN T               NY         99121153         WEITZ & LUXENBERG, PC
O'BRIEN              DIANE                 NY         12039501         WEITZ & LUXENBERG, PC                                O'CONNOR             CONSTANCE             NY         10670602         WEITZ & LUXENBERG, PC
O'BRIEN              DONNA A               NY         02107005         WEITZ & LUXENBERG, PC                                O'CONNOR             CORNELIUS ANDREW      NY         10631501         WEITZ & LUXENBERG, PC
O'BRIEN              DONNA A               NY         11623502         WEITZ & LUXENBERG, PC                                O'CONNOR             CORNELUIS S           NY         11123201         WEITZ & LUXENBERG, PC
O'BRIEN              EDWARD J              NY         02105713         WEITZ & LUXENBERG, PC                                O'CONNOR             DENIS KEVIN           NY         11273100         WEITZ & LUXENBERG, PC
O'BRIEN              ERWIN                 NY         10991202         WEITZ & LUXENBERG, PC                                O'CONNOR             DIANE                 NY         10871301         WEITZ & LUXENBERG, PC
O'BRIEN              ERWIN R               NY         10587402         WEITZ & LUXENBERG, PC                                O'CONNOR             DONALD E              NY         10587002         WEITZ & LUXENBERG, PC
O'BRIEN              JAMES FRANCIS         NY         12121401         WEITZ & LUXENBERG, PC                                O'CONNOR             EDWARD                NY         10023403         WEITZ & LUXENBERG, PC
O'BRIEN              JEANNE M              NY         02105713         WEITZ & LUXENBERG, PC                                O'CONNOR             ELLEN T               NY         11272900         WEITZ & LUXENBERG, PC
O'BRIEN              JOAN                  NY         10620805         WEITZ & LUXENBERG, PC                                O'CONNOR             EVELYN JANE           NY         11570399         WEITZ & LUXENBERG, PC
O'BRIEN              JOHN                  NY         12332302         WEITZ & LUXENBERG, PC                                O'CONNOR             GLADYS                NY         11273100         WEITZ & LUXENBERG, PC
O'BRIEN              JOHN                  NY         11835800         WEITZ & LUXENBERG, PC                                O'CONNOR             JAMES                 NY         99101016         WEITZ & LUXENBERG, PC
O'BRIEN              JOHN F                NY         10903300         WEITZ & LUXENBERG, PC                                O'CONNOR             JAMES                 NY         10631601         WEITZ & LUXENBERG, PC
O'BRIEN              JOHN F                NY         99122188         WEITZ & LUXENBERG, PC                                O'CONNOR             JAMES A               NY         10023403         WEITZ & LUXENBERG, PC
O'BRIEN              JOSEPHINE             NY         12121401         WEITZ & LUXENBERG, PC                                O'CONNOR             JANICE C              NY         11147800         WEITZ & LUXENBERG, PC
O'BRIEN              JOSEPHINE M           NY         10903400         WEITZ & LUXENBERG, PC                                O'CONNOR             JOHN A                NY         11147800         WEITZ & LUXENBERG, PC
O'BRIEN              JOSEPHINE M           NY         99122188         WEITZ & LUXENBERG, PC                                O'CONNOR             JOHN PATRICK          NY         10717400         WEITZ & LUXENBERG, PC
O'BRIEN              KATHLEEN              NY         10903100         WEITZ & LUXENBERG, PC                                O'CONNOR             JOHN VINCENT          NY         11570399         WEITZ & LUXENBERG, PC
O'BRIEN              KATHLEEN              NY         99122188         WEITZ & LUXENBERG, PC                                O'CONNOR             JUDY                  NY         99121153         WEITZ & LUXENBERG, PC
O'BRIEN              LISA                  NY         11131202         WEITZ & LUXENBERG, PC                                O'CONNOR             MARY                  NY         10631501         WEITZ & LUXENBERG, PC
O'BRIEN              LISA                  NY         10699902         WEITZ & LUXENBERG, PC                                O'CONNOR             MAUREEN               NY         11304300         WEITZ & LUXENBERG, PC
O'BRIEN              LORETTA               NY         12332302         WEITZ & LUXENBERG, PC                                O'CONNOR             MAURICE               NY         10023203         WEITZ & LUXENBERG, PC
O'BRIEN              MARCIA                NY         12788802         WEITZ & LUXENBERG, PC                                O'CONNOR             PATRICE               NY         12039901         WEITZ & LUXENBERG, PC
O'BRIEN              MARGARET              NY         1900612013       WEITZ & LUXENBERG, PC                                O'CONNOR             PATRICIA ANNE         NY         10717400         WEITZ & LUXENBERG, PC
O'BRIEN              MARGARET              NY         10903200         WEITZ & LUXENBERG, PC                                O'CONNOR             PATRICIA E            NY         99101016         WEITZ & LUXENBERG, PC
O'BRIEN              MARGARET              NY         99122188         WEITZ & LUXENBERG, PC                                O'CONNOR             RICHARD J             NY         11327902         WEITZ & LUXENBERG, PC
O'BRIEN              MARGUERITE L          NY         10717200         WEITZ & LUXENBERG, PC                                O'CONNOR             ROBERT                NY         1900202014       WEITZ & LUXENBERG, PC
O'BRIEN              MARIE REGINA          NY         1900612013       WEITZ & LUXENBERG, PC                                O'CONNOR             RUTH                  NY         10631601         WEITZ & LUXENBERG, PC
O'BRIEN              MARILYN               NY         10991202         WEITZ & LUXENBERG, PC                                O'CONNOR             SCOTT A               NY         02105716         WEITZ & LUXENBERG, PC
O'BRIEN              MARTIN                NY         10620805         WEITZ & LUXENBERG, PC                                O'CONNOR             SHIRLEY               NY         10587002         WEITZ & LUXENBERG, PC
O'BRIEN              MARY                  NY         11835800         WEITZ & LUXENBERG, PC                                O'CONNOR             THOMAS E              NY         12039901         WEITZ & LUXENBERG, PC
O'BRIEN              MICHAEL J             NY         10717200         WEITZ & LUXENBERG, PC                                O'CONNOR             WILLIAM               NY         10670602         WEITZ & LUXENBERG, PC
O'BRIEN              MICHAEL TIMOTHY       NY         1900612013       WEITZ & LUXENBERG, PC                                O'CONNOR             WILLIAM               NY         11947401         WEITZ & LUXENBERG, PC
O'BRIEN              NICK                  NY         10903200         WEITZ & LUXENBERG, PC                                O'CONNOR             WILLIAM               NY         01111220         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1020
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 355 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

O'CONNOR             WILLIAM JOSEPH        NY         11272900         WEITZ & LUXENBERG, PC                                O'JIDA               LINDA DIANE           NY         110515           WEITZ & LUXENBERG, PC
OCZEK                CHARLOTTE             NY         11269600         WEITZ & LUXENBERG, PC                                O'JIDA               LINDA DIANE           NY         12448902         WEITZ & LUXENBERG, PC
OCZEK                CONSTANTINE S         NY         11269600         WEITZ & LUXENBERG, PC                                O'JIDA               ROBERT HENRY          NY         110515           WEITZ & LUXENBERG, PC
O'DALY               BARRY K               NY         00112728         WEITZ & LUXENBERG, PC                                O'JIDA               ROBERT HENRY          NY         12448902         WEITZ & LUXENBERG, PC
ODDO                 ANTHONY               NY         99101161         WEITZ & LUXENBERG, PC                                OKAL                 MARGARET M            NY         10699902         WEITZ & LUXENBERG, PC
ODDO                 FRANCIS               NY         10740102         WEITZ & LUXENBERG, PC                                OKAL                 MICHAEL JAMES         NY         10699902         WEITZ & LUXENBERG, PC
ODDO                 JOSEPH A              NY         10740102         WEITZ & LUXENBERG, PC                                O'KANE               JAMES J               NY         11272300         WEITZ & LUXENBERG, PC
O'DELL               ELIZABETH             NY         12100401         WEITZ & LUXENBERG, PC                                O'KANE               MILDRED C             NY         11272300         WEITZ & LUXENBERG, PC
O'DELL               ERNEST W              NY         11978403         WEITZ & LUXENBERG, PC                                O'KANE               PHILIP                NY         01111229         WEITZ & LUXENBERG, PC
O'DELL               EUGENE R              NY         12100401         WEITZ & LUXENBERG, PC                                O'KEEFE              DEBORAH               NY         11123403         WEITZ & LUXENBERG, PC
O'DELL               HOWARD                NY         10090403         WEITZ & LUXENBERG, PC                                O'KEEFE              DIANE L               PA         190703388        WEITZ & LUXENBERG, PC
O'DELL               HOWARD                NY         10565403         WEITZ & LUXENBERG, PC                                O'KEEFE              JAMES EARL            NY         10670802         WEITZ & LUXENBERG, PC
O'DELL               JOE                   NY         10631401         WEITZ & LUXENBERG, PC                                O'KEEFE              JAMES J               NY         10670802         WEITZ & LUXENBERG, PC
O'DELL               LYNETTE G             NY         11978403         WEITZ & LUXENBERG, PC                                O'KEEFE              JAMES P               NY         12043001         WEITZ & LUXENBERG, PC
ODENDAHL             MADELYN               NY         11159403         WEITZ & LUXENBERG, PC                                O'KEEFE              KATHLEEN              NY         12039101         WEITZ & LUXENBERG, PC
ODENDAHL             THOMAS                NY         11159403         WEITZ & LUXENBERG, PC                                O'KEEFE              MARIE                 NY         11272200         WEITZ & LUXENBERG, PC
ODISHOO              DAVID                 NY         12039701         WEITZ & LUXENBERG, PC                                O'KEEFE              PATRICIA              NY         12043001         WEITZ & LUXENBERG, PC
ODJICK               GILBERT               NY         10621301         WEITZ & LUXENBERG, PC                                O'KEEFE              RONALD                NY         11123403         WEITZ & LUXENBERG, PC
ODJICK               JOAN                  NY         10621301         WEITZ & LUXENBERG, PC                                O'KEEFE              TERENCE J             PA         190703388        WEITZ & LUXENBERG, PC
ODOM                 KATHLEEN M            NY         11526802         WEITZ & LUXENBERG, PC                                O'KEEFE              THOMAS                NY         12039101         WEITZ & LUXENBERG, PC
ODONALD              BILLY GENE            NY         00CIV3589        WEITZ & LUXENBERG, PC                                O'KEEFE              WILLIAM               NY         11272200         WEITZ & LUXENBERG, PC
ODONALD              RITA                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                O'KEEFE              WINNIFRED             NY         10670802         WEITZ & LUXENBERG, PC
O'DONNELL            JEANNE                NY         10587502         WEITZ & LUXENBERG, PC                                O'KEEFFE             CORNELIUS L           NY         10631001         WEITZ & LUXENBERG, PC
O'DONNELL            JEANNE                NY         11006702         WEITZ & LUXENBERG, PC                                O'KEEFFE             JEAN C                NY         10631001         WEITZ & LUXENBERG, PC
O'DONNELL            JOHN                  NY         10652704         WEITZ & LUXENBERG, PC                                O'KELLEY             HELEN LOUISE          NY         01CIV3900        WEITZ & LUXENBERG, PC
O'DONNELL            KEVIN FRANCIS         NY         10587502         WEITZ & LUXENBERG, PC                                O'KELLEY             LEONARD A             NY         01CIV3900        WEITZ & LUXENBERG, PC
O'DONNELL            KEVIN FRANCIS         NY         11006702         WEITZ & LUXENBERG, PC                                OKONIEWSKI           LORENA E              NY         11269300         WEITZ & LUXENBERG, PC
O'DONNELL            MARGARET              NY         10652704         WEITZ & LUXENBERG, PC                                OKONIEWSKI           WALTER                NY         11269300         WEITZ & LUXENBERG, PC
O'DONNELL            THOMAS F              NY         10587502         WEITZ & LUXENBERG, PC                                OKONSKY              DIANE                 NY         12577499         WEITZ & LUXENBERG, PC
O'DONNELL            THOMAS F              NY         11006702         WEITZ & LUXENBERG, PC                                OKONSKY              RICHARD L             NY         12577499         WEITZ & LUXENBERG, PC
O'DONOGHUE           BRENDAN E             NY         11272700         WEITZ & LUXENBERG, PC                                OKONZAK              JEROME                NY         11269200         WEITZ & LUXENBERG, PC
O'DONOGHUE           PEGGY                 NY         11272700         WEITZ & LUXENBERG, PC                                OKONZAK              PEARL                 NY         11269200         WEITZ & LUXENBERG, PC
O'DONOHUE            JOHN T                NY         11272600         WEITZ & LUXENBERG, PC                                O'KREPKA             MICHAEL SR            NY         00123075         WEITZ & LUXENBERG, PC
OEFELEIN             JAMES P               NY         12039301         WEITZ & LUXENBERG, PC                                O'KREPKA             STELLA                NY         00123075         WEITZ & LUXENBERG, PC
OERTLE               GLORIA                NY         11399299         WEITZ & LUXENBERG, PC                                OKVIST               FRANCES               NY         19001610         WEITZ & LUXENBERG, PC
OERTLE               HENRY                 NY         11399299         WEITZ & LUXENBERG, PC                                OKVIST               GEORGE A              NY         19001610         WEITZ & LUXENBERG, PC
OETTINGER            BARBARA               NY         11148100         WEITZ & LUXENBERG, PC                                OLBERDING            ROBERT                NY         01111229         WEITZ & LUXENBERG, PC
OETTINGER            KARL                  NY         11148100         WEITZ & LUXENBERG, PC                                OLCZAK               PAUL                  NY         02107007         WEITZ & LUXENBERG, PC
O'GALLAGHER          MAUREEN               NY         10461203         WEITZ & LUXENBERG, PC                                OLDEN                HENRY LEE             NY         01CIV3922        WEITZ & LUXENBERG, PC
O'GALLAGHER          WALTER J              NY         12668702         WEITZ & LUXENBERG, PC                                OLDEN                NARCISSUE             NY         01CIV3922        WEITZ & LUXENBERG, PC
O'GALLAGHER          WALTER J              NY         10461203         WEITZ & LUXENBERG, PC                                OLDEN                NARCISSUS             NY         01CIV3922        WEITZ & LUXENBERG, PC
O'GARA               CAROL                 NY         99101166         WEITZ & LUXENBERG, PC                                OLDHAM               BENNY RAY             NY         00CIV1204        WEITZ & LUXENBERG, PC
O'GARA               JOHN RICHARD          NY         99101166         WEITZ & LUXENBERG, PC                                OLDHAM               MARGIE                NY         00CIV1204        WEITZ & LUXENBERG, PC
O'GARA               KEVIN                 NY         99101165         WEITZ & LUXENBERG, PC                                O'LEARY              CAROL ANN             NY         11272100         WEITZ & LUXENBERG, PC
O'GARA               MARTIN R              NY         11349703         WEITZ & LUXENBERG, PC                                O'LEARY              DONALD J              NY         11272100         WEITZ & LUXENBERG, PC
OGDEN                ARLENE M              NY         02105715         WEITZ & LUXENBERG, PC                                O'LEARY              MICHAEL ROBERT        NY         99122336         WEITZ & LUXENBERG, PC
OGDEN                THOMAS G              NY         02105715         WEITZ & LUXENBERG, PC                                OLECHNOWICZ          ALBERT                NY         10621101         WEITZ & LUXENBERG, PC
OHANESSIAN           MARY A                NY         10368700         WEITZ & LUXENBERG, PC                                OLECHNOWICZ          ROSE M                NY         10621101         WEITZ & LUXENBERG, PC
O'HANLON             DIANE J               NY         8121302019       WEITZ & LUXENBERG, PC                                OLEJNIK              STANLEY               NY         11269100         WEITZ & LUXENBERG, PC
O'HANLON             JOHN                  NY         10631301         WEITZ & LUXENBERG, PC                                OLEKSAK              PATRICIA              NY         10621001         WEITZ & LUXENBERG, PC
O'HANLON             ROBERTA               NY         10631301         WEITZ & LUXENBERG, PC                                OLEKSAK              WILLIAM R             NY         10621001         WEITZ & LUXENBERG, PC
O'HARA               ADDISON               NY         10039603         WEITZ & LUXENBERG, PC                                O'LENAHAN            KEVIN                 NY         12693402         WEITZ & LUXENBERG, PC
O'HARA               ALVIN                 NY         12668102         WEITZ & LUXENBERG, PC                                O'LENAHAN            PHYLLIS               NY         12693402         WEITZ & LUXENBERG, PC
O'HARA               ELLEN                 NY         10631201         WEITZ & LUXENBERG, PC                                OLENICK              ANDREW R              NY         12043201         WEITZ & LUXENBERG, PC
O'HARA               KATHLEEN              NY         12039201         WEITZ & LUXENBERG, PC                                OLENICK              MURIEL                NY         12043201         WEITZ & LUXENBERG, PC
O'HARA               LYLE H                NY         11272400         WEITZ & LUXENBERG, PC                                OLIN                 MARY                  NY         10287799         WEITZ & LUXENBERG, PC
O'HARA               MICHAEL J             NY         12039201         WEITZ & LUXENBERG, PC                                OLIN                 RICHARD A             NY         10287799         WEITZ & LUXENBERG, PC
O'HARA               PATRICK               NY         10631201         WEITZ & LUXENBERG, PC                                OLINICK              LILLIAN               NY         10571702         WEITZ & LUXENBERG, PC
O'HARA               SANDRA                NY         12668102         WEITZ & LUXENBERG, PC                                OLINICK              LILLIAN               NY         11146302         WEITZ & LUXENBERG, PC
O'HARE               EDWARD JOSEPH         NY         10710002         WEITZ & LUXENBERG, PC                                OLINICK              OSCAR                 NY         10571702         WEITZ & LUXENBERG, PC
O'HARE               JAMES P               NY         10631101         WEITZ & LUXENBERG, PC                                OLINICK              OSCAR                 NY         11146302         WEITZ & LUXENBERG, PC
O'HARE               PHYLLIS               NY         10587502         WEITZ & LUXENBERG, PC                                OLIVA                MARGARET              NY         11269000         WEITZ & LUXENBERG, PC
O'HARE               SUSAN                 NY         10631101         WEITZ & LUXENBERG, PC                                OLIVA                VINCENT               NY         11269000         WEITZ & LUXENBERG, PC
O'HARE               VINCENT E             NY         10587502         WEITZ & LUXENBERG, PC                                OLIVE                LEE ROY               NY         CV014784         WEITZ & LUXENBERG, PC
O'HARE               VIRGINIA              NY         10710002         WEITZ & LUXENBERG, PC                                OLIVE                SARAH                 NY         CV014784         WEITZ & LUXENBERG, PC
OHNMEISS             EDWIN C               NY         11269500         WEITZ & LUXENBERG, PC                                OLIVEIRA             ELISA                 NY         11558901         WEITZ & LUXENBERG, PC
OHNMEISS             LOIS J                NY         11269500         WEITZ & LUXENBERG, PC                                OLIVEIRA             ELISA                 NY         01111218         WEITZ & LUXENBERG, PC
OHRT                 DARYL                 NY         12039801         WEITZ & LUXENBERG, PC                                OLIVEIRA             JOAQUIM               NY         11558901         WEITZ & LUXENBERG, PC
OHRT                 DARYL                 NY         10479502         WEITZ & LUXENBERG, PC                                OLIVEIRA             JOAQUIM               NY         01111218         WEITZ & LUXENBERG, PC
OIFFER               BARRY                 NY         12312601         WEITZ & LUXENBERG, PC                                OLIVER               BARBARA               NY         00CIV6274        WEITZ & LUXENBERG, PC
OIFFER               SOL                   NY         12312601         WEITZ & LUXENBERG, PC                                OLIVER               BILLY J               NY         00CIV6274        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1021
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 356 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

OLIVER               GERALD PETER          NY         10696402         WEITZ & LUXENBERG, PC                                O'NEILL              WARREN                NY         1904392018       WEITZ & LUXENBERG, PC
OLIVER               GILBERT L             NY         12237200         WEITZ & LUXENBERG, PC                                O'NEILL              WILLIAM J             NY         11270600         WEITZ & LUXENBERG, PC
OLIVER               MILDRED B             NY         1905282012       WEITZ & LUXENBERG, PC                                O'NEILL              WILLIAM J             NY         11784400         WEITZ & LUXENBERG, PC
OLIVERI              JOHN L                NY         1900322013       WEITZ & LUXENBERG, PC                                O'NEILL              WILLIAM J             NY         11937300         WEITZ & LUXENBERG, PC
OLIVERI              NICHOLAS              NY         1904512018       WEITZ & LUXENBERG, PC                                O'NIELL              LORRAINE M            NY         11271600         WEITZ & LUXENBERG, PC
OLIVIERI             ANTHONY               NY         10699902         WEITZ & LUXENBERG, PC                                ONORATO              RICHARD               NY         19030109         WEITZ & LUXENBERG, PC
OLIVIERI             JEAN AVRIL            NY         10699902         WEITZ & LUXENBERG, PC                                OPAL                 CHERYL K              NY         10645702         WEITZ & LUXENBERG, PC
OLIVO                SALVATORE             NY         10657502         WEITZ & LUXENBERG, PC                                OPAL                 MICHAEL W             NY         10645702         WEITZ & LUXENBERG, PC
OLLIS                BEULAH LOU            NY         10049405         WEITZ & LUXENBERG, PC                                O'PASEK              EILENN                NY         02108039         WEITZ & LUXENBERG, PC
OLLISON              BILL                  NY         CV025685         WEITZ & LUXENBERG, PC                                OPETOSKY             JOSEPH STANLEY        NY         10740202         WEITZ & LUXENBERG, PC
OLLISON              RENOBIA               NY         CV025685         WEITZ & LUXENBERG, PC                                OPPEDISANO           ROCCO                 NY         11127500         WEITZ & LUXENBERG, PC
OLLISON              ROYCE DIANNE          NY         CV013921         WEITZ & LUXENBERG, PC                                OPPEDISANO           SUE                   NY         11127500         WEITZ & LUXENBERG, PC
O'LOUGHLIN           FRANCIS               NY         10178701         WEITZ & LUXENBERG, PC                                OPPIZZI              PRIMO                 NY         99102875         WEITZ & LUXENBERG, PC
OLSCAMP              JOHN K                NY         10620801         WEITZ & LUXENBERG, PC                                ORBANK               KENNETH               NY         10620601         WEITZ & LUXENBERG, PC
OLSCAMP              JULIA                 NY         10620801         WEITZ & LUXENBERG, PC                                ORBANK               MICHAEL               NY         10620601         WEITZ & LUXENBERG, PC
OLSEN                ANN                   NY         11271400         WEITZ & LUXENBERG, PC                                ORBANK               ROBERT J              NY         10620601         WEITZ & LUXENBERG, PC
OLSEN                CAROL ANN             NY         10200502         WEITZ & LUXENBERG, PC                                ORDWAY               PATRICIA              NY         10620501         WEITZ & LUXENBERG, PC
OLSEN                ELEANOR               NY         12213801         WEITZ & LUXENBERG, PC                                ORDWAY               RICHARD G             NY         10620501         WEITZ & LUXENBERG, PC
OLSEN                GUNNAR                NY         12318101         WEITZ & LUXENBERG, PC                                OREFICE              STELLA                NY         12230501         WEITZ & LUXENBERG, PC
OLSEN                GUNNAR                NY         01111230         WEITZ & LUXENBERG, PC                                O'REILLY             ELIZABETH             NY         11123201         WEITZ & LUXENBERG, PC
OLSEN                HARRY L               NY         11533104         WEITZ & LUXENBERG, PC                                O'REILLY             GEORGETTE             NY         12693702         WEITZ & LUXENBERG, PC
OLSEN                KARL A                NY         12213801         WEITZ & LUXENBERG, PC                                O'REILLY             HAROLD ANTHONY        NY         99120099         WEITZ & LUXENBERG, PC
OLSEN                MARIT                 NY         12318101         WEITZ & LUXENBERG, PC                                O'REILLY             JOSEPH P              NY         12693702         WEITZ & LUXENBERG, PC
OLSEN                MARIT                 NY         01111230         WEITZ & LUXENBERG, PC                                O'REILLY             JUDITH A              NY         99120099         WEITZ & LUXENBERG, PC
OLSEN                SAMUEL                NY         11271400         WEITZ & LUXENBERG, PC                                O'REILLY             MATTHEW JOSEPH        NY         11270500         WEITZ & LUXENBERG, PC
OLSHEFSKY            STANLEY A             NY         02107099         WEITZ & LUXENBERG, PC                                O'REILLY             PHILOMENA             NY         11270500         WEITZ & LUXENBERG, PC
OLSMIT               HAROLD                NY         10620701         WEITZ & LUXENBERG, PC                                O'REILLY             WILLIAM J             NY         11123201         WEITZ & LUXENBERG, PC
OLSMIT               SANDRA                NY         10620701         WEITZ & LUXENBERG, PC                                ORF                  CARL E                NY         11268100         WEITZ & LUXENBERG, PC
OLSON                CARL H                NY         11978203         WEITZ & LUXENBERG, PC                                ORF                  MILDRED M             NY         11268100         WEITZ & LUXENBERG, PC
OLSON                MARK J                NY         99102876         WEITZ & LUXENBERG, PC                                ORFINI               MARY                  NY         11127600         WEITZ & LUXENBERG, PC
OLTHAUS              JOSEPH                NY         6152892019       WEITZ & LUXENBERG, PC                                ORFINI               ROY                   NY         11127600         WEITZ & LUXENBERG, PC
OLTHAUS              PAMELA                NY         6152892019       WEITZ & LUXENBERG, PC                                ORIFICI              SALVATORE             NY         12094901         WEITZ & LUXENBERG, PC
O'MALLEY             EILEEN                NY         12039901         WEITZ & LUXENBERG, PC                                ORIFICI              SALVATORE             NY         01111223         WEITZ & LUXENBERG, PC
O'MALLEY             JAMES J               NY         10339905         WEITZ & LUXENBERG, PC                                ORILIA               BENEDETTA             NY         11578701         WEITZ & LUXENBERG, PC
O'MALLEY             JOANNE                NY         11272000         WEITZ & LUXENBERG, PC                                ORILIA               BENEDETTA             NY         10463407         WEITZ & LUXENBERG, PC
O'MALLEY             JOHN C                NY         12039901         WEITZ & LUXENBERG, PC                                ORILIA               FRANK                 NY         11578701         WEITZ & LUXENBERG, PC
O'MALLEY             MICHAEL               NY         11272000         WEITZ & LUXENBERG, PC                                ORILIA               FRANK                 NY         10463407         WEITZ & LUXENBERG, PC
O'MEARA              EILEEN M              NY         10709802         WEITZ & LUXENBERG, PC                                ORILIA               JOSEPH                NY         11578701         WEITZ & LUXENBERG, PC
O'MEARA              WILLIAM P             NY         10709802         WEITZ & LUXENBERG, PC                                ORILIA               JOSEPH                NY         10463407         WEITZ & LUXENBERG, PC
OMUNDSEN             ALEXANDER F           NY         11664703         WEITZ & LUXENBERG, PC                                ORING                LAURA                 NY         02106580         WEITZ & LUXENBERG, PC
OMUNDSEN             DIANA                 NY         11664703         WEITZ & LUXENBERG, PC                                ORING                MICHAEL               NY         02106580         WEITZ & LUXENBERG, PC
ONDERBEKE            BOBBY FRED            NY         CV021552         WEITZ & LUXENBERG, PC                                ORIORDON             EUGENE                NY         10621601         WEITZ & LUXENBERG, PC
O'NEAL               JOSEPH                NY         11271900         WEITZ & LUXENBERG, PC                                ORIORDON             MARY                  NY         10621601         WEITZ & LUXENBERG, PC
O'NEAL               JUANITA               NY         11271900         WEITZ & LUXENBERG, PC                                ORLANDO              ARMANDO               NY         11127700         WEITZ & LUXENBERG, PC
O'NEIL               JAMES R               NY         10587002         WEITZ & LUXENBERG, PC                                ORLANDO              CARLO                 NY         12039901         WEITZ & LUXENBERG, PC
O'NEIL               JOHN                  NY         10630901         WEITZ & LUXENBERG, PC                                ORLANDO              GERTRUDE              NY         12039901         WEITZ & LUXENBERG, PC
O'NEIL               MARY ELLEN            NY         10717600         WEITZ & LUXENBERG, PC                                ORLANDO              LILLIAN               NY         11127700         WEITZ & LUXENBERG, PC
O'NEIL               NORA M                NY         10630901         WEITZ & LUXENBERG, PC                                ORLIC                JOHN                  NY         01111220         WEITZ & LUXENBERG, PC
O'NEIL               ROBERT J              NY         10717600         WEITZ & LUXENBERG, PC                                ORLIC                LISA                  NY         01111220         WEITZ & LUXENBERG, PC
O'NEILL              ANN LOUISE            NY         12039201         WEITZ & LUXENBERG, PC                                ORNA                 PATRICK J             NY         01111227         WEITZ & LUXENBERG, PC
O'NEILL              BRIDGET               NY         12058403         WEITZ & LUXENBERG, PC                                ORNER                DONALD                NY         1900762016       WEITZ & LUXENBERG, PC
O'NEILL              ELAINE                NY         1904392018       WEITZ & LUXENBERG, PC                                ORNER                SHEILA ANN            NY         1900762016       WEITZ & LUXENBERG, PC
O'NEILL              GERARD                NY         12058403         WEITZ & LUXENBERG, PC                                OROSZ                GEORGE B              NY         11267900         WEITZ & LUXENBERG, PC
O'NEILL              JAMES J               NY         11271700         WEITZ & LUXENBERG, PC                                OROSZ                KIP MICHAEL           NY         02105716         WEITZ & LUXENBERG, PC
O'NEILL              JANE                  NY         11271700         WEITZ & LUXENBERG, PC                                OROSZ                LISA MARIE            NY         02105716         WEITZ & LUXENBERG, PC
O'NEILL              JOAN F                NY         11937300         WEITZ & LUXENBERG, PC                                O'ROURK              JOHN W                NY         11270400         WEITZ & LUXENBERG, PC
O'NEILL              JOAN F                NY         11784400         WEITZ & LUXENBERG, PC                                O'ROURK              JOSEPHINE             NY         11270400         WEITZ & LUXENBERG, PC
O'NEILL              JOHN G                NY         11148000         WEITZ & LUXENBERG, PC                                OROURKE              EDWARD J              NY         10090803         WEITZ & LUXENBERG, PC
O'NEILL              JOHN JOSEPH           NY         11271600         WEITZ & LUXENBERG, PC                                OROURKE              MARY                  NY         10621501         WEITZ & LUXENBERG, PC
O'NEILL              JOSEPH FRANCIS        NY         20017208         WEITZ & LUXENBERG, PC                                OROURKE              MARY CLARE            NY         10090803         WEITZ & LUXENBERG, PC
O'NEILL              KENNETH G             NY         11271500         WEITZ & LUXENBERG, PC                                OROURKE              THOMAS H              NY         10621501         WEITZ & LUXENBERG, PC
O'NEILL              LORRAINE              NY         11273200         WEITZ & LUXENBERG, PC                                O'ROURKE             CATHY                 NY         02106508         WEITZ & LUXENBERG, PC
O'NEILL              LORRAINE A            NY         1903832017       WEITZ & LUXENBERG, PC                                O'ROURKE             JAMES P               NY         11270300         WEITZ & LUXENBERG, PC
O'NEILL              MARGARET              NY         11148000         WEITZ & LUXENBERG, PC                                O'ROURKE             LILY T                NY         10717700         WEITZ & LUXENBERG, PC
O'NEILL              MARTIN T              NY         12039201         WEITZ & LUXENBERG, PC                                O'ROURKE             MARGARET M            NY         12332602         WEITZ & LUXENBERG, PC
O'NEILL              MICHAEL S             NY         99120304         WEITZ & LUXENBERG, PC                                O'ROURKE             MARY                  NY         11270300         WEITZ & LUXENBERG, PC
O'NEILL              MURIEL E              NY         11270600         WEITZ & LUXENBERG, PC                                O'ROURKE             MILDRED               NY         99101163         WEITZ & LUXENBERG, PC
O'NEILL              ROBERT                NY         11273200         WEITZ & LUXENBERG, PC                                O'ROURKE             PATRICK               NY         10717700         WEITZ & LUXENBERG, PC
O'NEILL              ROBERT F              NY         11271800         WEITZ & LUXENBERG, PC                                O'ROURKE             ROBERT J              NY         02106508         WEITZ & LUXENBERG, PC
O'NEILL              SHARON R              NY         11271800         WEITZ & LUXENBERG, PC                                O'ROURKE             THOMAS F              NY         12332602         WEITZ & LUXENBERG, PC
O'NEILL              STEPHANIE J           NY         99120304         WEITZ & LUXENBERG, PC                                O'ROURKE             THOMAS FRANCIS        NY         99101163         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1022
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 357 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

OROZCO               CEASAR                NY         11267800         WEITZ & LUXENBERG, PC                                OSTRANDER            HELEN                 NY         10703100         WEITZ & LUXENBERG, PC
OROZCO               ROSALINA              NY         11267800         WEITZ & LUXENBERG, PC                                OSTROWSKI            EUGENIA               NY         10118799         WEITZ & LUXENBERG, PC
ORR                  GREGORY               NY         99101190         WEITZ & LUXENBERG, PC                                OSTROWSKI            THADDEUS              NY         10118799         WEITZ & LUXENBERG, PC
ORRELL               BOB                   NY         01CIV3922        WEITZ & LUXENBERG, PC                                OSTROWSKI            YOLANDA               NY         10066105         WEITZ & LUXENBERG, PC
ORSI                 FRANK A               NY         10710102         WEITZ & LUXENBERG, PC                                O'SULLIVAN           BARBARA J             NY         10031208         WEITZ & LUXENBERG, PC
ORSI                 FRANK A               NY         11966002         WEITZ & LUXENBERG, PC                                O'SULLIVAN           DENNIS J              NY         11271100         WEITZ & LUXENBERG, PC
ORSI                 PEGGY LYNN            NY         10710102         WEITZ & LUXENBERG, PC                                O'SULLIVAN           EVELYN K              NY         10699902         WEITZ & LUXENBERG, PC
ORSI                 PEGGY LYNN            NY         11966002         WEITZ & LUXENBERG, PC                                O'SULLIVAN           IDA                   NY         02107099         WEITZ & LUXENBERG, PC
ORSINI               ADELE                 NY         11947601         WEITZ & LUXENBERG, PC                                O'SULLIVAN           JAMES                 NY         11271000         WEITZ & LUXENBERG, PC
ORSINI               ADELE                 NY         01111220         WEITZ & LUXENBERG, PC                                O'SULLIVAN           JAMES R               NY         02107099         WEITZ & LUXENBERG, PC
ORSINI               FRANK J               NY         11947601         WEITZ & LUXENBERG, PC                                O'SULLIVAN           JOHN                  NY         10031208         WEITZ & LUXENBERG, PC
ORSINI               FRANK J               NY         01111220         WEITZ & LUXENBERG, PC                                O'SULLIVAN           TERESA                NY         11271000         WEITZ & LUXENBERG, PC
ORSO                 ANNA MARIE            NY         01109170         WEITZ & LUXENBERG, PC                                O'SULLIVAN           THOMAS ALLEN          NY         10699902         WEITZ & LUXENBERG, PC
ORSO                 VINCENT               NY         01109170         WEITZ & LUXENBERG, PC                                O'SULLIVAN           YVONNE                NY         11271100         WEITZ & LUXENBERG, PC
ORTH                 CATHERINE L           NY         11267700         WEITZ & LUXENBERG, PC                                OSWALD               RALPH                 NY         11269900         WEITZ & LUXENBERG, PC
ORTH                 ROBERT JOHN           NY         11267700         WEITZ & LUXENBERG, PC                                OTERO                ARTHUR                NY         10871301         WEITZ & LUXENBERG, PC
ORTIZ                ANTHONY J             NY         1902342019       WEITZ & LUXENBERG, PC                                O'TOOLE              CAROL                 NY         99102879         WEITZ & LUXENBERG, PC
ORTIZ                DENISE                NY         12039601         WEITZ & LUXENBERG, PC                                O'TOOLE              DOROTHY               NY         11270900         WEITZ & LUXENBERG, PC
ORTIZ                DOMITILA              NY         10871301         WEITZ & LUXENBERG, PC                                O'TOOLE              JAMES D               NY         11270900         WEITZ & LUXENBERG, PC
ORTIZ                ISMAEL                NY         10871301         WEITZ & LUXENBERG, PC                                O'TOOLE              JOHN                  NY         99102879         WEITZ & LUXENBERG, PC
ORTIZ                JOAN                  NY         1902342019       WEITZ & LUXENBERG, PC                                OTREMBA              RONALD J              NY         10620301         WEITZ & LUXENBERG, PC
ORTIZ                MILAGROS              NY         12039501         WEITZ & LUXENBERG, PC                                OTREMBA              VERONICA              NY         10620301         WEITZ & LUXENBERG, PC
ORTIZ                RAMON                 NY         12039501         WEITZ & LUXENBERG, PC                                OTT                  CHARLES               NY         19001909         WEITZ & LUXENBERG, PC
ORTIZ                RAYMOND               NY         12039601         WEITZ & LUXENBERG, PC                                OTT                  DELORES A             NY         02105713         WEITZ & LUXENBERG, PC
ORTLAND              CARMELLA              NY         10621801         WEITZ & LUXENBERG, PC                                OTT                  DIANE                 NY         10620201         WEITZ & LUXENBERG, PC
ORTLAND              JOSEPH                NY         10621801         WEITZ & LUXENBERG, PC                                OTT                  ELSIN G               NY         10670802         WEITZ & LUXENBERG, PC
ORTON                SUZANNE               NY         02105718         WEITZ & LUXENBERG, PC                                OTT                  GERALD F              NY         10065108         WEITZ & LUXENBERG, PC
ORTON                WILLIAM G             NY         02105718         WEITZ & LUXENBERG, PC                                OTT                  MARGARET T            NY         10065108         WEITZ & LUXENBERG, PC
OSADCIW              STEFANIA              NY         99101188         WEITZ & LUXENBERG, PC                                OTT                  MARY                  NY         19001909         WEITZ & LUXENBERG, PC
OSADCIW              WALTER                NY         99101188         WEITZ & LUXENBERG, PC                                OTT                  RITA M                NY         12220399         WEITZ & LUXENBERG, PC
OSATCHUCK            JOAN M                NY         10740202         WEITZ & LUXENBERG, PC                                OTT                  RONALD E              NY         02105713         WEITZ & LUXENBERG, PC
OSATCHUCK            JOAN M                NY         11332002         WEITZ & LUXENBERG, PC                                OTT                  RUDOLPH H             NY         10670802         WEITZ & LUXENBERG, PC
OSATCHUCK            MICHAEL               NY         10740202         WEITZ & LUXENBERG, PC                                OTT                  WILLIAM F             NY         10620201         WEITZ & LUXENBERG, PC
OSATCHUCK            MICHAEL               NY         11332002         WEITZ & LUXENBERG, PC                                OTT                  WILLIAM F             NY         12220399         WEITZ & LUXENBERG, PC
OSBERG               KENNETH               NY         10620401         WEITZ & LUXENBERG, PC                                OTTATI               MAUREEN               NY         11127800         WEITZ & LUXENBERG, PC
OSBERG               SANDRA                NY         10620401         WEITZ & LUXENBERG, PC                                OTTATI               MICHAEL A             NY         11127800         WEITZ & LUXENBERG, PC
OSBORN               BARBARA J             NY         12112101         WEITZ & LUXENBERG, PC                                OTTO                 DAVID L               NY         10740202         WEITZ & LUXENBERG, PC
OSBORN               BARBARA J             NY         01111224         WEITZ & LUXENBERG, PC                                OTTO                 DAVID L               NY         1131902          WEITZ & LUXENBERG, PC
OSBORN               ROBERT F              NY         12112101         WEITZ & LUXENBERG, PC                                OTTO                 EGON G                NY         12213801         WEITZ & LUXENBERG, PC
OSBORN               ROBERT F              NY         01111224         WEITZ & LUXENBERG, PC                                OTTO                 EUGENE                NY         CV021588         WEITZ & LUXENBERG, PC
OSBORNE              ANNE M                NY         10078401         WEITZ & LUXENBERG, PC                                OTTO                 MAGDALENE             NY         12213801         WEITZ & LUXENBERG, PC
OSBORNE              ANNE M                NY         11939100         WEITZ & LUXENBERG, PC                                OTTO                 MARIE                 NY         10740202         WEITZ & LUXENBERG, PC
OSBORNE              CORNELIUS             NY         00124326         WEITZ & LUXENBERG, PC                                OTTO                 MARIE                 NY         1131902          WEITZ & LUXENBERG, PC
OSBORNE              JULIA                 NY         10073703         WEITZ & LUXENBERG, PC                                OTTO                 MAUREEN               NY         10023203         WEITZ & LUXENBERG, PC
OSBORNE              RAYMOND               NY         10073703         WEITZ & LUXENBERG, PC                                OTTO                 MAUREEN               NY         10636203         WEITZ & LUXENBERG, PC
OSENBRUCK            HENRY                 NY         12076601         WEITZ & LUXENBERG, PC                                OTTO                 RICHARD C             NY         10023203         WEITZ & LUXENBERG, PC
OSENBRUCK            HENRY                 NY         01111223         WEITZ & LUXENBERG, PC                                OTTO                 RICHARD C             NY         10636203         WEITZ & LUXENBERG, PC
OSENBRUCK            MADELINE              NY         12076601         WEITZ & LUXENBERG, PC                                OTTO                 YVONNE                NY         CV021588         WEITZ & LUXENBERG, PC
OSENBRUCK            MADELINE              NY         01111223         WEITZ & LUXENBERG, PC                                OUDERKIRK            ANGELA                NY         02106707         WEITZ & LUXENBERG, PC
OSGOOD               JAMES D               NY         11270000         WEITZ & LUXENBERG, PC                                OUDERKIRK            CHARLES H             NY         02106707         WEITZ & LUXENBERG, PC
OSGOOD               PATRICIA A            NY         02105716         WEITZ & LUXENBERG, PC                                OUDERKIRK            CLARENCE D            NY         02107006         WEITZ & LUXENBERG, PC
OSGOOD               ROBERTA E             NY         11270000         WEITZ & LUXENBERG, PC                                OUDERKIRK            JUDITH A              NY         02107006         WEITZ & LUXENBERG, PC
O'SHA                JERRY                 NY         1902042018       WEITZ & LUXENBERG, PC                                OULETTE              DEBORAH               PA         150100954        WEITZ & LUXENBERG, PC
O'SHA                MARGARET              NY         1902042018       WEITZ & LUXENBERG, PC                                OVERALL              HIRAM                 NY         10910300         WEITZ & LUXENBERG, PC
O'SHAUGHNESSY        DONALD JEROME         NY         11270200         WEITZ & LUXENBERG, PC                                OVERALL              HIRAM                 NY         12220399         WEITZ & LUXENBERG, PC
O'SHAUGHNESSY        VIRGINIA              NY         11270200         WEITZ & LUXENBERG, PC                                OVERBAUGH            GARY                  NY         10859902         WEITZ & LUXENBERG, PC
O'SHEA               BARBARA               NY         11271200         WEITZ & LUXENBERG, PC                                OVERMAN              JUDITH                NY         02120621         WEITZ & LUXENBERG, PC
O'SHEA               CATHERINE             NY         11271300         WEITZ & LUXENBERG, PC                                OVERMAN              KENNETH               NY         02120621         WEITZ & LUXENBERG, PC
O'SHEA               JOHN                  NY         11271300         WEITZ & LUXENBERG, PC                                OVERSTREET           AVA                   NY         CV013921         WEITZ & LUXENBERG, PC
O'SHEA               WALTER RAYMOND        NY         11271200         WEITZ & LUXENBERG, PC                                OVERSTREET           TROY LEE              NY         CV013921         WEITZ & LUXENBERG, PC
OSHIER               IRENE M               NY         02106692         WEITZ & LUXENBERG, PC                                OVERTON              BILLIE SUE            NY         01CIV1458        WEITZ & LUXENBERG, PC
OSHIER               LELAND M              NY         02106692         WEITZ & LUXENBERG, PC                                OVERTON              JOHN D                NY         02105713         WEITZ & LUXENBERG, PC
OSLACKY              JOYCE A               NY         10740302         WEITZ & LUXENBERG, PC                                OVERTON              LECIL D               NY         01CIV1458        WEITZ & LUXENBERG, PC
OSLACKY              MICHAEL P             NY         10740302         WEITZ & LUXENBERG, PC                                OVERTON              MICHELE               NY         02105713         WEITZ & LUXENBERG, PC
OSOWSKI              WILLIAM               NY         11327802         WEITZ & LUXENBERG, PC                                OVERTON              REGINA                NY         1900902019       WEITZ & LUXENBERG, PC
OSOWSKI              WILLIAM               NY         11947802         WEITZ & LUXENBERG, PC                                OVERTON              ROBERT V              NY         1900902019       WEITZ & LUXENBERG, PC
OSSANA               ALBERT C              NY         10817206         WEITZ & LUXENBERG, PC                                OVERTURF             CAROL                 NY         01CIV3922        WEITZ & LUXENBERG, PC
OSSANA               GERALDINE H           NY         10817206         WEITZ & LUXENBERG, PC                                OVERTURF             WILLIAM HENRY         NY         01CIV3922        WEITZ & LUXENBERG, PC
OSTERHOUT            DEBRA                 NY         19037711         WEITZ & LUXENBERG, PC                                OVIEDO               WEIZMAN               NY         10085503         WEITZ & LUXENBERG, PC
OSTERHOUT            JOHN                  NY         19037711         WEITZ & LUXENBERG, PC                                OVIEDO               WEIZMAN               NY         10980404         WEITZ & LUXENBERG, PC
OSTRANDER            HAROLD S              NY         10703100         WEITZ & LUXENBERG, PC                                OWCZARCZAK           EUPHEMIA              NY         19030310         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1023
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 358 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

OWCZARCZAK           VALENTINE J           NY         19030310         WEITZ & LUXENBERG, PC                                PADUANO              ANNA                  NY         10208699         WEITZ & LUXENBERG, PC
OWEN                 AUDREY                NY         11342002         WEITZ & LUXENBERG, PC                                PADUANO              JEROME E              NY         10208699         WEITZ & LUXENBERG, PC
OWEN                 CHARLES F             NY         10910200         WEITZ & LUXENBERG, PC                                PAFFORD              FRANCES               NY         1900132013       WEITZ & LUXENBERG, PC
OWEN                 CHARLES F             NY         12220399         WEITZ & LUXENBERG, PC                                PAFFORD              LARENCE               NY         1900132013       WEITZ & LUXENBERG, PC
OWEN                 DAVID L               NY         11127900         WEITZ & LUXENBERG, PC                                PAGAN                VICTORIA              NY         10030606         WEITZ & LUXENBERG, PC
OWEN                 NETTY D               NY         10910200         WEITZ & LUXENBERG, PC                                PAGANA               CHRISTINE A           NY         10386400         WEITZ & LUXENBERG, PC
OWEN                 NETTY D               NY         12220399         WEITZ & LUXENBERG, PC                                PAGANELLI            JOHN                  NY         10697808         WEITZ & LUXENBERG, PC
OWEN                 ROBERT JESSE          NY         11127900         WEITZ & LUXENBERG, PC                                PAGANO               ANN                   NY         1904142013       WEITZ & LUXENBERG, PC
OWENS                ANDREW                NY         02105713         WEITZ & LUXENBERG, PC                                PAGANO               ARMAND D              NY         1904532018       WEITZ & LUXENBERG, PC
OWENS                BETTY                 NY         10910000         WEITZ & LUXENBERG, PC                                PAGANO               ELAINE                NY         1901302019       WEITZ & LUXENBERG, PC
OWENS                BETTY                 NY         12220399         WEITZ & LUXENBERG, PC                                PAGANO               FLORENCE              NY         10256801         WEITZ & LUXENBERG, PC
OWENS                ERMAGENE              NY         10910100         WEITZ & LUXENBERG, PC                                PAGANO               GIUSEPPE              NY         10928900         WEITZ & LUXENBERG, PC
OWENS                ERMAGENE              NY         12220399         WEITZ & LUXENBERG, PC                                PAGANO               GIUSEPPE              NY         12220399         WEITZ & LUXENBERG, PC
OWENS                GORDON K              NY         11128000         WEITZ & LUXENBERG, PC                                PAGANO               JAMES                 NY         1901302019       WEITZ & LUXENBERG, PC
OWENS                HAZEL RUTH            NY         10910100         WEITZ & LUXENBERG, PC                                PAGANO               JIOVANIN              NY         1904532018       WEITZ & LUXENBERG, PC
OWENS                HAZEL RUTH            NY         12220399         WEITZ & LUXENBERG, PC                                PAGANO               MICHAEL J             NY         10256801         WEITZ & LUXENBERG, PC
OWENS                JOE P                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                PAGANO               ROSE                  NY         10620101         WEITZ & LUXENBERG, PC
OWENS                MARVIN A              NY         10910100         WEITZ & LUXENBERG, PC                                PAGANO               SARAFINA              NY         10928900         WEITZ & LUXENBERG, PC
OWENS                MARVIN A              NY         12220399         WEITZ & LUXENBERG, PC                                PAGANO               SARAFINA              NY         12220399         WEITZ & LUXENBERG, PC
OWENS                MAURICE W             NY         10910000         WEITZ & LUXENBERG, PC                                PAGANO               VINCENT               NY         10620101         WEITZ & LUXENBERG, PC
OWENS                MAURICE W             NY         12220399         WEITZ & LUXENBERG, PC                                PAGANO               WILLIAM               NY         1904142013       WEITZ & LUXENBERG, PC
OWENS                OLLIE RUTH            NY         01CIV3901        WEITZ & LUXENBERG, PC                                PAGAY                MARY SUE              NY         10670602         WEITZ & LUXENBERG, PC
OWENS                RICHARD J             NY         10587402         WEITZ & LUXENBERG, PC                                PAGAY                SHRIKANT N            NY         10670602         WEITZ & LUXENBERG, PC
OWENS                SANDY                 NY         11128000         WEITZ & LUXENBERG, PC                                PAGE                 DONALD O              NY         10928800         WEITZ & LUXENBERG, PC
OWENS                WESTON T              NY         01111225         WEITZ & LUXENBERG, PC                                PAGE                 DONALD O              NY         12220399         WEITZ & LUXENBERG, PC
PAAS                 ROBERT L              NY         10909900         WEITZ & LUXENBERG, PC                                PAGE                 EDDIE L               NY         11125600         WEITZ & LUXENBERG, PC
PAAS                 ROBERT L              NY         12220399         WEITZ & LUXENBERG, PC                                PAGE                 EMMA                  NY         CV016534         WEITZ & LUXENBERG, PC
PAAS                 SHARON                NY         10909900         WEITZ & LUXENBERG, PC                                PAGE                 ESSIE DOCK            NY         CV018605         WEITZ & LUXENBERG, PC
PAAS                 SHARON                NY         12220399         WEITZ & LUXENBERG, PC                                PAGE                 GAIL                  NY         10047608         WEITZ & LUXENBERG, PC
PABST                INGE C                NY         10909800         WEITZ & LUXENBERG, PC                                PAGE                 GIRVIS                NY         CV016534         WEITZ & LUXENBERG, PC
PABST                INGE C                NY         12220399         WEITZ & LUXENBERG, PC                                PAGE                 JAMES                 NY         11126500         WEITZ & LUXENBERG, PC
PABST                UWE                   NY         10909800         WEITZ & LUXENBERG, PC                                PAGE                 JOHN                  NY         10928700         WEITZ & LUXENBERG, PC
PABST                UWE                   NY         12220399         WEITZ & LUXENBERG, PC                                PAGE                 JOHN                  NY         12220399         WEITZ & LUXENBERG, PC
PAC                  STEVE                 NY         10703200         WEITZ & LUXENBERG, PC                                PAGE                 MARY                  NY         10928800         WEITZ & LUXENBERG, PC
PACE                 ANTONIO               NY         12693702         WEITZ & LUXENBERG, PC                                PAGE                 MARY                  NY         12220399         WEITZ & LUXENBERG, PC
PACE                 CALVIN                NY         CV025685         WEITZ & LUXENBERG, PC                                PAGE                 ORA D                 NY         11126400         WEITZ & LUXENBERG, PC
PACE                 CLEVELAND             NY         01CIV3922        WEITZ & LUXENBERG, PC                                PAGE                 ROBERT                NY         11126400         WEITZ & LUXENBERG, PC
PACE                 CYNTHIA               NY         01CIV3922        WEITZ & LUXENBERG, PC                                PAGE                 RON                   NY         11126500         WEITZ & LUXENBERG, PC
PACE                 DONNA L               NY         10853004         WEITZ & LUXENBERG, PC                                PAGE                 RONALD HERBERT        NY         10696302         WEITZ & LUXENBERG, PC
PACE                 EMANUEL J             NY         99102079         WEITZ & LUXENBERG, PC                                PAGE                 RUTH N                NY         10928700         WEITZ & LUXENBERG, PC
PACE                 JOAN                  NY         99102079         WEITZ & LUXENBERG, PC                                PAGE                 RUTH N                NY         12220399         WEITZ & LUXENBERG, PC
PACE                 JOSEPH L              NY         10853004         WEITZ & LUXENBERG, PC                                PAGE                 SCOTT                 NY         10047608         WEITZ & LUXENBERG, PC
PACE                 MARGARET              NY         I20019842        WEITZ & LUXENBERG, PC                                PAGLIARO             BARBARA               NY         01111225         WEITZ & LUXENBERG, PC
PACE                 MARY                  NY         12693702         WEITZ & LUXENBERG, PC                                PAGLIARO             DANIEL                NY         01111225         WEITZ & LUXENBERG, PC
PACE                 VIRGIE                NY         CV025685         WEITZ & LUXENBERG, PC                                PAIGE                DENISE M              NY         110332           WEITZ & LUXENBERG, PC
PACE                 WILLIE E              NY         I20019842        WEITZ & LUXENBERG, PC                                PAIGE                DENISE M              NY         12448902         WEITZ & LUXENBERG, PC
PACELLA              ROBERT                NY         10386802         WEITZ & LUXENBERG, PC                                PAIGE                GEORGE W              NY         10710102         WEITZ & LUXENBERG, PC
PACER                MARGARET E            NY         I20019504        WEITZ & LUXENBERG, PC                                PAIGE                GEORGE W              NY         02106707         WEITZ & LUXENBERG, PC
PACER                MARGARET E            NY         02120709         WEITZ & LUXENBERG, PC                                PAIGE                GEORGE W              NY         11566702         WEITZ & LUXENBERG, PC
PACER                NORBERT J             NY         I20019504        WEITZ & LUXENBERG, PC                                PAIGE                HELEN A               NY         02106707         WEITZ & LUXENBERG, PC
PACER                NORBERT J             NY         02120709         WEITZ & LUXENBERG, PC                                PAIGE                HELEN A               NY         11566702         WEITZ & LUXENBERG, PC
PACHUCKI             STANLEY W             NY         10700102         WEITZ & LUXENBERG, PC                                PAIGE                HELEN A               NY         10710102         WEITZ & LUXENBERG, PC
PACIONE              LORI A                NY         11870401         WEITZ & LUXENBERG, PC                                PAIGE                JOELLA                NY         01CIV3922        WEITZ & LUXENBERG, PC
PACIONE              LORI A                NY         01111233         WEITZ & LUXENBERG, PC                                PAIGE                LARRY T               NY         110332           WEITZ & LUXENBERG, PC
PACITTO              ANTHONY               NY         99102075         WEITZ & LUXENBERG, PC                                PAIGE                LARRY T               NY         12448902         WEITZ & LUXENBERG, PC
PACOS                DORIS J               NY         10929000         WEITZ & LUXENBERG, PC                                PAIGE                LERALD G              NY         02105716         WEITZ & LUXENBERG, PC
PACOS                DORIS J               NY         12220399         WEITZ & LUXENBERG, PC                                PAIGE                RUTH E                NY         99107947         WEITZ & LUXENBERG, PC
PACOS                PAUL                  NY         10929000         WEITZ & LUXENBERG, PC                                PAINI                ALBERT J              NY         10928600         WEITZ & LUXENBERG, PC
PACOS                PAUL                  NY         12220399         WEITZ & LUXENBERG, PC                                PAINI                ALBERT J              NY         12220399         WEITZ & LUXENBERG, PC
PACYNA               ANDREW J              NY         99102088         WEITZ & LUXENBERG, PC                                PAINTNER             SOL                   NY         12668602         WEITZ & LUXENBERG, PC
PACYNA               CAROL M               NY         99102088         WEITZ & LUXENBERG, PC                                PAIXAO               BARBARA               NY         1062001          WEITZ & LUXENBERG, PC
PADELFORD            WILLIAM B             NY         11356702         WEITZ & LUXENBERG, PC                                PAIXAO               FRANCIS               NY         1062001          WEITZ & LUXENBERG, PC
PADELFORD            WILLIAM B             NY         12733102         WEITZ & LUXENBERG, PC                                PAJAK                LORETTA               NY         10208799         WEITZ & LUXENBERG, PC
PADIA                JOANNE                NY         10090403         WEITZ & LUXENBERG, PC                                PAJAK                STANLEY               NY         10208799         WEITZ & LUXENBERG, PC
PADIA                RAMON                 NY         10090403         WEITZ & LUXENBERG, PC                                PAJICH               CATHERINE             NY         99102963         WEITZ & LUXENBERG, PC
PADILLA              ARTURO                NY         19009510         WEITZ & LUXENBERG, PC                                PAJICH               STEPHEN P             NY         99102963         WEITZ & LUXENBERG, PC
PADILLA              CONNIE                NY         12603302         WEITZ & LUXENBERG, PC                                PAKIN                BERTHA V              NY         10928500         WEITZ & LUXENBERG, PC
PADILLA              VIRGINIA              NY         19009510         WEITZ & LUXENBERG, PC                                PAKIN                BERTHA V              NY         12220399         WEITZ & LUXENBERG, PC
PADLICK              ANN                   NY         10488800         WEITZ & LUXENBERG, PC                                PAKIN                NESTORI J             NY         10928500         WEITZ & LUXENBERG, PC
PADRE                ADILLA                NY         11356702         WEITZ & LUXENBERG, PC                                PAKIN                NESTORI J             NY         12220399         WEITZ & LUXENBERG, PC
PADRE                MANUEL R              NY         11356702         WEITZ & LUXENBERG, PC                                PALACINO             ANTHONY               NY         1900022019       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1024
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 359 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PALACINO             SALVATORE             NY         1900022019       WEITZ & LUXENBERG, PC                                PALMERI              SONDRA DOBIN          NY         10619301         WEITZ & LUXENBERG, PC
PALACINO             WILLIAM S             NY         1900022019       WEITZ & LUXENBERG, PC                                PALMERO              ANTHONY F             NY         00120593         WEITZ & LUXENBERG, PC
PALADINO             DOMENIC               NY         99101202         WEITZ & LUXENBERG, PC                                PALMIERI             JOHN A                NY         99100618         WEITZ & LUXENBERG, PC
PALADINO             DOMENIC               NY         10871301         WEITZ & LUXENBERG, PC                                PALMIERI             KATHLEEN              NY         99100618         WEITZ & LUXENBERG, PC
PALADINO             KATHERINE             NY         99101202         WEITZ & LUXENBERG, PC                                PALMIERI             ROSE                  NY         11327602         WEITZ & LUXENBERG, PC
PALADINO             KATHERINE             NY         10871301         WEITZ & LUXENBERG, PC                                PALMIERI             WILLIAM               NY         11327602         WEITZ & LUXENBERG, PC
PALAGONIA            JOSEPH                NY         10619901         WEITZ & LUXENBERG, PC                                PALMINITERI          MARY                  NY         12039501         WEITZ & LUXENBERG, PC
PALAM                SARAH                 NY         10871301         WEITZ & LUXENBERG, PC                                PALMINITERI          MARY                  NY         10957602         WEITZ & LUXENBERG, PC
PALAM                THOMAS ANDREW         NY         10871301         WEITZ & LUXENBERG, PC                                PALMINTERI           MARY                  NY         12039501         WEITZ & LUXENBERG, PC
PALAMARA             JOSEPH A              NY         12220399         WEITZ & LUXENBERG, PC                                PALMINTERI           MARY                  NY         10957602         WEITZ & LUXENBERG, PC
PALAMARA             JOSEPHINE             NY         12220399         WEITZ & LUXENBERG, PC                                PALMINTERI           PETER F               NY         12039501         WEITZ & LUXENBERG, PC
PALASZYNSKI          EDWARD J              NY         99101200         WEITZ & LUXENBERG, PC                                PALMINTERI           PETER F               NY         10957602         WEITZ & LUXENBERG, PC
PALASZYNSKI          JOHN G                NY         2001138          WEITZ & LUXENBERG, PC                                PALMINTERI           PETER P               NY         12039501         WEITZ & LUXENBERG, PC
PALASZYNSKI          MAUREEN H             NY         2001138          WEITZ & LUXENBERG, PC                                PALMINTERI           PETER P               NY         10957602         WEITZ & LUXENBERG, PC
PALAZZO              ALBERT P              NY         10619801         WEITZ & LUXENBERG, PC                                PALMINTIERI          FRANCESCA             NY         10927800         WEITZ & LUXENBERG, PC
PALAZZO              JUDITH A              NY         10619801         WEITZ & LUXENBERG, PC                                PALMINTIERI          FRANCESCA             NY         12220399         WEITZ & LUXENBERG, PC
PALERMO              ANGELO C              NY         10928300         WEITZ & LUXENBERG, PC                                PALMINTIERI          PAOLO                 NY         10927800         WEITZ & LUXENBERG, PC
PALERMO              ANGELO C              NY         12220399         WEITZ & LUXENBERG, PC                                PALMINTIERI          PAOLO                 NY         12220399         WEITZ & LUXENBERG, PC
PALERMO              VINCENT               NY         10703300         WEITZ & LUXENBERG, PC                                PALMISANO            JOSEPH C              NY         10669102         WEITZ & LUXENBERG, PC
PALILLO              FRED J                NY         11126700         WEITZ & LUXENBERG, PC                                PALMISANO            SHIRLEY A             NY         10669102         WEITZ & LUXENBERG, PC
PALKOVIC             WILLIAM               NY         10619701         WEITZ & LUXENBERG, PC                                PALMROOS             DOROTHY               NY         10119799         WEITZ & LUXENBERG, PC
PALKOVICH            JOSEPH                NY         10928200         WEITZ & LUXENBERG, PC                                PALMROOS             SVEN                  NY         10119799         WEITZ & LUXENBERG, PC
PALKOVICH            JOSEPH                NY         12220399         WEITZ & LUXENBERG, PC                                PALOMBI              ALFRED CARMEN         NY         10703500         WEITZ & LUXENBERG, PC
PALKOVICH            JOSEPHINE             NY         10928200         WEITZ & LUXENBERG, PC                                PALOMBI              GRACE                 NY         10703500         WEITZ & LUXENBERG, PC
PALKOVICH            JOSEPHINE             NY         12220399         WEITZ & LUXENBERG, PC                                PALOUMBIS            ANARGYROS             NY         11306203         WEITZ & LUXENBERG, PC
PALLAMOLLO           ALBERT                NY         10928100         WEITZ & LUXENBERG, PC                                PALOUMBIS            PARASKIVI             NY         11306203         WEITZ & LUXENBERG, PC
PALLAMOLLO           ALBERT                NY         11594803         WEITZ & LUXENBERG, PC                                PALSO                STEPHEN M             NY         10619201         WEITZ & LUXENBERG, PC
PALLAMOLLO           ALBERT                NY         12220399         WEITZ & LUXENBERG, PC                                PALSO                SUSAN                 NY         10619201         WEITZ & LUXENBERG, PC
PALLAMOLLO           GENEVIVE              NY         10928100         WEITZ & LUXENBERG, PC                                PALUCH               MARGARET T            NY         02106694         WEITZ & LUXENBERG, PC
PALLAMOLLO           GENEVIVE              NY         11594803         WEITZ & LUXENBERG, PC                                PALUCH               PETER                 NY         02106694         WEITZ & LUXENBERG, PC
PALLAMOLLO           GENEVIVE              NY         12220399         WEITZ & LUXENBERG, PC                                PALUMBO              ANTONIETTA            NY         10927700         WEITZ & LUXENBERG, PC
PALLANTE             JEAN                  NY         99102085         WEITZ & LUXENBERG, PC                                PALUMBO              ANTONIETTA            NY         12220399         WEITZ & LUXENBERG, PC
PALLANTE             JOSEPH                NY         99102085         WEITZ & LUXENBERG, PC                                PALUMBO              CONCETTA              NY         19032910         WEITZ & LUXENBERG, PC
PALLANTE             LUCIA                 NY         11133800         WEITZ & LUXENBERG, PC                                PALUMBO              CORRADO A             NY         10927700         WEITZ & LUXENBERG, PC
PALLANTE             NICOLA                NY         11133800         WEITZ & LUXENBERG, PC                                PALUMBO              CORRADO A             NY         12220399         WEITZ & LUXENBERG, PC
PALLANTI             SAL                   NY         11133800         WEITZ & LUXENBERG, PC                                PALUMBO              FAUSTO                NY         1903192012       WEITZ & LUXENBERG, PC
PALLESCHI            FRANCIS               NY         02106690         WEITZ & LUXENBERG, PC                                PALUMBO              FREDERICK C           NY         10485003         WEITZ & LUXENBERG, PC
PALLESCHI            JANET                 NY         10619601         WEITZ & LUXENBERG, PC                                PALUMBO              JAMES                 NY         19032910         WEITZ & LUXENBERG, PC
PALLESCHI            MARK                  NY         10619601         WEITZ & LUXENBERG, PC                                PALUMBO              JEAN                  NY         1903192012       WEITZ & LUXENBERG, PC
PALLESCHI            PHILOMENA             NY         02106690         WEITZ & LUXENBERG, PC                                PALUMBO              JOAN                  NY         10283502         WEITZ & LUXENBERG, PC
PALLESEN             CAROL ANN             NY         10703400         WEITZ & LUXENBERG, PC                                PALUMBO              JOHN                  NY         10283502         WEITZ & LUXENBERG, PC
PALLESEN             SVEIN                 NY         10703400         WEITZ & LUXENBERG, PC                                PALUMBO              JOHN                  NY         1901902014       WEITZ & LUXENBERG, PC
PALLONE              MARIO                 NY         10022603         WEITZ & LUXENBERG, PC                                PALUMBO              MAXINE                NY         1901902014       WEITZ & LUXENBERG, PC
PALMATIER            DONALD C              NY         10619501         WEITZ & LUXENBERG, PC                                PALUMBO              MICHAEL               NY         10119699         WEITZ & LUXENBERG, PC
PALMATIER            EILEEN E              NY         10619501         WEITZ & LUXENBERG, PC                                PANCIC               BOZIDAR M             NY         11123201         WEITZ & LUXENBERG, PC
PALMER               CURTIS                NY         02106692         WEITZ & LUXENBERG, PC                                PANCIC               HELEN                 NY         11123201         WEITZ & LUXENBERG, PC
PALMER               CURTIS                NY         11436502         WEITZ & LUXENBERG, PC                                PANCZAK              ARLENE                NY         02107004         WEITZ & LUXENBERG, PC
PALMER               DENNIS A              NY         12100401         WEITZ & LUXENBERG, PC                                PANDORI              BRIDGET               NY         11030802         WEITZ & LUXENBERG, PC
PALMER               DONALD L              NY         10740502         WEITZ & LUXENBERG, PC                                PANDORI              LINDA C               NY         02107006         WEITZ & LUXENBERG, PC
PALMER               EDGAR                 NY         1900942016       WEITZ & LUXENBERG, PC                                PANDORI              ROBERT ALFRED         NY         02105715         WEITZ & LUXENBERG, PC
PALMER               ELIJAH                NY         10208399         WEITZ & LUXENBERG, PC                                PANDORI              ROBERT ALFRED         NY         11030802         WEITZ & LUXENBERG, PC
PALMER               HUGH M                NY         10696302         WEITZ & LUXENBERG, PC                                PANDORI              ROBERT V              NY         02107006         WEITZ & LUXENBERG, PC
PALMER               JAMES                 NY         10619401         WEITZ & LUXENBERG, PC                                PANETTA              MODESTO               NY         99101195         WEITZ & LUXENBERG, PC
PALMER               JAMES M               NY         01CIV3895        WEITZ & LUXENBERG, PC                                PANGBURN             PATRICIA              NY         02106690         WEITZ & LUXENBERG, PC
PALMER               JEANIE                NY         10927900         WEITZ & LUXENBERG, PC                                PANGBURN             TERRY                 NY         02106690         WEITZ & LUXENBERG, PC
PALMER               JEANIE                NY         12220399         WEITZ & LUXENBERG, PC                                PANNELL              ERIC                  NY         10543699         WEITZ & LUXENBERG, PC
PALMER               JOSEPHINE             NY         12100401         WEITZ & LUXENBERG, PC                                PANNO                DOMENICO              NY         10485903         WEITZ & LUXENBERG, PC
PALMER               LARRIE E              NY         11446504         WEITZ & LUXENBERG, PC                                PANNO                MARIA                 NY         10485903         WEITZ & LUXENBERG, PC
PALMER               LEO                   NY         10090403         WEITZ & LUXENBERG, PC                                PANNONE              FIORE                 NY         11164403         WEITZ & LUXENBERG, PC
PALMER               LEO E                 NY         02107006         WEITZ & LUXENBERG, PC                                PANTALONE            JOSEPH A              NY         11027002         WEITZ & LUXENBERG, PC
PALMER               LINDA                 NY         11446504         WEITZ & LUXENBERG, PC                                PANTALONE            MARY                  NY         11027002         WEITZ & LUXENBERG, PC
PALMER               MARION                NY         1900942016       WEITZ & LUXENBERG, PC                                PANTELIDES           MICHAEL               NY         12693502         WEITZ & LUXENBERG, PC
PALMER               MARY                  NY         02107006         WEITZ & LUXENBERG, PC                                PANTELIDES           MIRIAM                NY         12693502         WEITZ & LUXENBERG, PC
PALMER               MATTHEW               NY         10927900         WEITZ & LUXENBERG, PC                                PANTELIS             GEORGE                NY         10927500         WEITZ & LUXENBERG, PC
PALMER               MATTHEW               NY         12220399         WEITZ & LUXENBERG, PC                                PANTELIS             GEORGE                NY         12220399         WEITZ & LUXENBERG, PC
PALMER               MELVIA J              NY         10740502         WEITZ & LUXENBERG, PC                                PANTUOSCO            CHRISTIAN J           NY         99101193         WEITZ & LUXENBERG, PC
PALMER               PHYLLIS F             NY         110146           WEITZ & LUXENBERG, PC                                PANTUOSCO            SUSAN                 NY         99101193         WEITZ & LUXENBERG, PC
PALMER               PHYLLIS F             NY         12448902         WEITZ & LUXENBERG, PC                                PANZA                MARY                  NY         10167502         WEITZ & LUXENBERG, PC
PALMER               WAYNE J               NY         110146           WEITZ & LUXENBERG, PC                                PANZA                PETER                 NY         10167502         WEITZ & LUXENBERG, PC
PALMER               WAYNE J               NY         12448902         WEITZ & LUXENBERG, PC                                PANZARINO            LUCREZIA              NY         10926800         WEITZ & LUXENBERG, PC
PALMERI              IRWIN                 NY         10619301         WEITZ & LUXENBERG, PC                                PANZARINO            LUCREZIA              NY         12220399         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1025
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 360 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PANZARINO            VINCENT PASQUALE      NY         10926800         WEITZ & LUXENBERG, PC                                PARDI                CARMINE V             NY         10926100         WEITZ & LUXENBERG, PC
PANZARINO            VINCENT PASQUALE      NY         12220399         WEITZ & LUXENBERG, PC                                PARDI                CARMINE V             NY         12220399         WEITZ & LUXENBERG, PC
PANZELLA             BRIDGET               NY         11884300         WEITZ & LUXENBERG, PC                                PARDOE               DOLORES A             NY         12668502         WEITZ & LUXENBERG, PC
PANZELLA             THOMAS                NY         11884300         WEITZ & LUXENBERG, PC                                PARETE               ANTHONY J             NY         10926000         WEITZ & LUXENBERG, PC
PAOLELLA             AGNES                 NY         12039901         WEITZ & LUXENBERG, PC                                PARETE               ANTHONY J             NY         12220399         WEITZ & LUXENBERG, PC
PAOLELLA             FRANK                 NY         12039901         WEITZ & LUXENBERG, PC                                PARETE               TAMMY                 NY         10926000         WEITZ & LUXENBERG, PC
PAOLELLI             ARMANDO               NY         99102084         WEITZ & LUXENBERG, PC                                PARETE               TAMMY                 NY         12220399         WEITZ & LUXENBERG, PC
PAOLELLI             DORIS                 NY         99102084         WEITZ & LUXENBERG, PC                                PARHAM               ARTHUR                NY         01CIV3895        WEITZ & LUXENBERG, PC
PAOLILLO             ANTHONY D             NY         12039201         WEITZ & LUXENBERG, PC                                PARHAM               CAROLYN               NY         01CIV3895        WEITZ & LUXENBERG, PC
PAOLINE              EUGENE                NY         1902912016       WEITZ & LUXENBERG, PC                                PARHAM               DEBORAH               NY         I200110278       WEITZ & LUXENBERG, PC
PAOLINE              MARGARETROSE          NY         1902912016       WEITZ & LUXENBERG, PC                                PARHAM               JAMES                 NY         I200110278       WEITZ & LUXENBERG, PC
PAOLINI              HARRIET               NY         99102964         WEITZ & LUXENBERG, PC                                PARHAM               ROBERT F              NY         10927400         WEITZ & LUXENBERG, PC
PAOLINI              RICHARD               NY         99102964         WEITZ & LUXENBERG, PC                                PARHAM               ROBERT F              NY         12220399         WEITZ & LUXENBERG, PC
PAOLUCCI             FRANCES               NY         12039001         WEITZ & LUXENBERG, PC                                PARINELLO            JOHN                  NY         01111228         WEITZ & LUXENBERG, PC
PAOLUCCI             FRED                  NY         10074103         WEITZ & LUXENBERG, PC                                PARIS                JOSEPH                NY         11641701         WEITZ & LUXENBERG, PC
PAOLUCCI             MADDALENA             NY         10926700         WEITZ & LUXENBERG, PC                                PARIS                JOSEPH                NY         01111219         WEITZ & LUXENBERG, PC
PAOLUCCI             MADDALENA             NY         12220399         WEITZ & LUXENBERG, PC                                PARIS                PAUL                  NY         01111218         WEITZ & LUXENBERG, PC
PAOLUCCI             MAURIZIO              NY         10926700         WEITZ & LUXENBERG, PC                                PARISE               JEANETTE MARY         NY         11026802         WEITZ & LUXENBERG, PC
PAOLUCCI             MAURIZIO              NY         12220399         WEITZ & LUXENBERG, PC                                PARISE               JEANETTE MARY         NY         12556002         WEITZ & LUXENBERG, PC
PAOLUCCI             NANCY                 NY         10074103         WEITZ & LUXENBERG, PC                                PARISE               JOHN                  NY         12114201         WEITZ & LUXENBERG, PC
PAOLUCCI             UMBERTO AL            NY         12039001         WEITZ & LUXENBERG, PC                                PARISE               JOHN                  NY         01111224         WEITZ & LUXENBERG, PC
PAONESSA             MARIA                 NY         10306405         WEITZ & LUXENBERG, PC                                PARISE               JOSEPHINE             NY         12114201         WEITZ & LUXENBERG, PC
PAONESSA             SERAFINO              NY         10306405         WEITZ & LUXENBERG, PC                                PARISE               JOSEPHINE             NY         01111224         WEITZ & LUXENBERG, PC
PAPA                 BRIGIDA               NY         12038801         WEITZ & LUXENBERG, PC                                PARISI               ANTHONY F             NY         12039201         WEITZ & LUXENBERG, PC
PAPA                 CARMINE               NY         12038801         WEITZ & LUXENBERG, PC                                PARISI               ANTHONY F             NY         10407202         WEITZ & LUXENBERG, PC
PAPA                 CLAIRE                NY         10926500         WEITZ & LUXENBERG, PC                                PARISI               JANET                 NY         12039201         WEITZ & LUXENBERG, PC
PAPA                 CLAIRE                NY         12220399         WEITZ & LUXENBERG, PC                                PARISI               JANET                 NY         10407202         WEITZ & LUXENBERG, PC
PAPA                 GIUSEPPINA            NY         1902822017       WEITZ & LUXENBERG, PC                                PARISI               JEAN                  NY         01110942         WEITZ & LUXENBERG, PC
PAPA                 JOSEPH ANTHONY        NY         CV025685         WEITZ & LUXENBERG, PC                                PARISI               JOHN                  NY         01111229         WEITZ & LUXENBERG, PC
PAPA                 KAREN                 NY         19032910         WEITZ & LUXENBERG, PC                                PARISI               LEWIS M               NY         01110942         WEITZ & LUXENBERG, PC
PAPA                 SALVATORE             NY         1902822017       WEITZ & LUXENBERG, PC                                PARK                 GARNET                NY         1904362018       WEITZ & LUXENBERG, PC
PAPA                 SALVATORE P           NY         10926500         WEITZ & LUXENBERG, PC                                PARK                 RUSSELL ELMO          NY         1904362018       WEITZ & LUXENBERG, PC
PAPA                 SALVATORE P           NY         12220399         WEITZ & LUXENBERG, PC                                PARK                 TONY                  NY         1904362018       WEITZ & LUXENBERG, PC
PAPAGNO              MARY V                NY         11081101         WEITZ & LUXENBERG, PC                                PARKER               AMELIA                NY         10398601         WEITZ & LUXENBERG, PC
PAPAGNO              SIMONE F              NY         11081101         WEITZ & LUXENBERG, PC                                PARKER               BERTHA                NY         99102080         WEITZ & LUXENBERG, PC
PAPANDRIKOS          ALEX                  NY         1902382017       WEITZ & LUXENBERG, PC                                PARKER               BOBBY D               NY         01CIV3900        WEITZ & LUXENBERG, PC
PAPANDRIKOS          GEORGETTE             NY         1902382017       WEITZ & LUXENBERG, PC                                PARKER               DAVID LEE             DE         N19C07233ASB     WEITZ & LUXENBERG, PC
PAPAPIETRO           IRENE                 NY         11327902         WEITZ & LUXENBERG, PC                                PARKER               EDWARD J              NY         10152604         WEITZ & LUXENBERG, PC
PAPAPIETRO           IRENE                 NY         12091102         WEITZ & LUXENBERG, PC                                PARKER               EILEEN                NY         10618901         WEITZ & LUXENBERG, PC
PAPAPIETRO           MICHAEL               NY         11327902         WEITZ & LUXENBERG, PC                                PARKER               HERBERT D             NY         02106693         WEITZ & LUXENBERG, PC
PAPAPIETRO           MICHAEL               NY         12091102         WEITZ & LUXENBERG, PC                                PARKER               JP                    NY         01CIV3922        WEITZ & LUXENBERG, PC
PAPAPIETRO           RALPH R               NY         11327902         WEITZ & LUXENBERG, PC                                PARKER               JAMES M               NY         99102080         WEITZ & LUXENBERG, PC
PAPAPIETRO           RALPH R               NY         12091102         WEITZ & LUXENBERG, PC                                PARKER               JOHN D                NY         10618901         WEITZ & LUXENBERG, PC
PAPAPIETRO           ROCCO                 NY         10926400         WEITZ & LUXENBERG, PC                                PARKER               JOHN W                NY         10618801         WEITZ & LUXENBERG, PC
PAPAPIETRO           ROCCO                 NY         12220399         WEITZ & LUXENBERG, PC                                PARKER               JOYCE                 NY         10152604         WEITZ & LUXENBERG, PC
PAPAPIETRO           ROSA                  NY         10926400         WEITZ & LUXENBERG, PC                                PARKER               KAETHE MYLES          NY         19007508         WEITZ & LUXENBERG, PC
PAPAPIETRO           ROSA                  NY         12220399         WEITZ & LUXENBERG, PC                                PARKER               KATHLEEN              NY         I20019112        WEITZ & LUXENBERG, PC
PAPARELLA            BENJAMIN              NY         10619101         WEITZ & LUXENBERG, PC                                PARKER               LINDA                 NY         1902902015       WEITZ & LUXENBERG, PC
PAPARELLO            GLADYS                NY         10619101         WEITZ & LUXENBERG, PC                                PARKER               LOIS                  NY         01CIV3900        WEITZ & LUXENBERG, PC
PAPARESTA            DOMENICA              NY         10871001         WEITZ & LUXENBERG, PC                                PARKER               PAT                   NY         CV017771         WEITZ & LUXENBERG, PC
PAPARESTA            PASQUALE              NY         10871001         WEITZ & LUXENBERG, PC                                PARKER               RAYMOND N             NY         I20019112        WEITZ & LUXENBERG, PC
PAPINI               JAMES                 NY         99101212         WEITZ & LUXENBERG, PC                                PARKER               RICHARD               NY         10398601         WEITZ & LUXENBERG, PC
PAPINI               JOHN                  NY         99100492         WEITZ & LUXENBERG, PC                                PARKER               RICHARD J             NY         10398601         WEITZ & LUXENBERG, PC
PAPINI               MARY T                NY         99101212         WEITZ & LUXENBERG, PC                                PARKER               STEWART C             NY         19007508         WEITZ & LUXENBERG, PC
PAPPAGALLO           ANTHONY N             NY         10587602         WEITZ & LUXENBERG, PC                                PARKER               WILLIAM J             NY         CV017771         WEITZ & LUXENBERG, PC
PAPPAGALLO           ROSALIE               NY         10587602         WEITZ & LUXENBERG, PC                                PARKER-PATTERSON     DETTA                 NY         10890000         WEITZ & LUXENBERG, PC
PAPPAS               KIRIAKOS              NY         11356702         WEITZ & LUXENBERG, PC                                PARKHILL             BENNETT C             NY         10710002         WEITZ & LUXENBERG, PC
PAPSON               EVELYN                NY         11126900         WEITZ & LUXENBERG, PC                                PARKHILL             MARIE A               NY         10710002         WEITZ & LUXENBERG, PC
PAPSON               JOHN A                NY         11126900         WEITZ & LUXENBERG, PC                                PARKHURST            BURNETTA K            NY         99102965         WEITZ & LUXENBERG, PC
PAQUETTE             BARBARA               NY         10926300         WEITZ & LUXENBERG, PC                                PARKHURST            MALCOLM G             NY         99102965         WEITZ & LUXENBERG, PC
PAQUETTE             BARBARA               NY         12220399         WEITZ & LUXENBERG, PC                                PARKINSON            ALEXANDER             NY         12596302         WEITZ & LUXENBERG, PC
PAQUETTE             MARCEL R              NY         10670602         WEITZ & LUXENBERG, PC                                PARKIS               GEORGE F              NY         10740002         WEITZ & LUXENBERG, PC
PAQUETTE             RONALD W              NY         10926300         WEITZ & LUXENBERG, PC                                PARKIS               NANCY                 NY         10740002         WEITZ & LUXENBERG, PC
PAQUETTE             RONALD W              NY         12220399         WEITZ & LUXENBERG, PC                                PARKS                CYRUS                 NY         99102076         WEITZ & LUXENBERG, PC
PAQUIN               MICHAEL               NY         01111222         WEITZ & LUXENBERG, PC                                PARKS                DONALD                NY         CV016938         WEITZ & LUXENBERG, PC
PARADIS              GARY L                NY         02106580         WEITZ & LUXENBERG, PC                                PARKS                JANICE COLE           NY         11396299         WEITZ & LUXENBERG, PC
PARADISO             OTTIMIA               NY         10926200         WEITZ & LUXENBERG, PC                                PARKS                JOHNNY L              NY         01CIV3895        WEITZ & LUXENBERG, PC
PARADISO             OTTIMIA               NY         12220399         WEITZ & LUXENBERG, PC                                PARKS                LLOYD GEORGE          NY         02106707         WEITZ & LUXENBERG, PC
PARADISO             ROCCO                 NY         10926200         WEITZ & LUXENBERG, PC                                PARKS                RITA                  NY         99102076         WEITZ & LUXENBERG, PC
PARADISO             ROCCO                 NY         12220399         WEITZ & LUXENBERG, PC                                PARKS                VICKIE LAVERN         NY         01CIV3895        WEITZ & LUXENBERG, PC
PARCELL              JOANNE M              NY         10328199         WEITZ & LUXENBERG, PC                                PARKS                WARREN J              NY         10669502         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1026
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 361 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PARMENTER            JACQUELINE M          NY         10421999         WEITZ & LUXENBERG, PC                                PASQUARIELLO         RONALD A              NY         11026702         WEITZ & LUXENBERG, PC
PARMER               WALTER G              PA         170402565        WEITZ & LUXENBERG, PC                                PASQUARIELLO         STEPHEN               NY         02107099         WEITZ & LUXENBERG, PC
PARMETER             JOHN EDWIN            NY         02106692         WEITZ & LUXENBERG, PC                                PASS                 ALBERT                NY         19039411         WEITZ & LUXENBERG, PC
PARMETER             LAURIE                NY         02106692         WEITZ & LUXENBERG, PC                                PASSARELLA           DANIEL                NY         1905572012       WEITZ & LUXENBERG, PC
PARNELL              BILLY R               NY         CV024787         WEITZ & LUXENBERG, PC                                PASSARELLA           DAWN                  NY         1905572012       WEITZ & LUXENBERG, PC
PARNELL              HELEN                 NY         CV024787         WEITZ & LUXENBERG, PC                                PASSARELLO           MARIE                 NY         11836100         WEITZ & LUXENBERG, PC
PARR                 JOHN F                NY         10680702         WEITZ & LUXENBERG, PC                                PASSARELLO           MICHAEL F             NY         11836100         WEITZ & LUXENBERG, PC
PARR                 JOHN F                NY         11090502         WEITZ & LUXENBERG, PC                                PASSARO              JOHN F                NY         6120022018       WEITZ & LUXENBERG, PC
PARR                 JOHNNY B              NY         CV013824         WEITZ & LUXENBERG, PC                                PASSINO              ANDREW P              NY         10618401         WEITZ & LUXENBERG, PC
PARR                 PHOEBE F              NY         10680702         WEITZ & LUXENBERG, PC                                PASSINO              ROSE GERALDINE        NY         10618401         WEITZ & LUXENBERG, PC
PARR                 PHOEBE F              NY         11090502         WEITZ & LUXENBERG, PC                                PASSMORE             GRACE                 NY         11327802         WEITZ & LUXENBERG, PC
PARR                 SYLVIA                NY         CV013824         WEITZ & LUXENBERG, PC                                PASSMORE             GRACE                 NY         11947702         WEITZ & LUXENBERG, PC
PARRA                DARIENE               NY         12039701         WEITZ & LUXENBERG, PC                                PASSMORE             REID W                NY         10927100         WEITZ & LUXENBERG, PC
PARRA                SANTIAGO              NY         12039701         WEITZ & LUXENBERG, PC                                PASSMORE             REID W                NY         12220399         WEITZ & LUXENBERG, PC
PARRELLA             FRANCES               NY         99102962         WEITZ & LUXENBERG, PC                                PASSMORE             THOMAS E              NY         11327802         WEITZ & LUXENBERG, PC
PARRELLA             JESSIE A              NY         10134507         WEITZ & LUXENBERG, PC                                PASSMORE             THOMAS E              NY         11947702         WEITZ & LUXENBERG, PC
PARRELLA             ROCCO A               NY         99102962         WEITZ & LUXENBERG, PC                                PASTER               MORA                  NY         10023203         WEITZ & LUXENBERG, PC
PARRELLA             THOMAS R              NY         10134507         WEITZ & LUXENBERG, PC                                PASTERCHICK          STEPHEN               NY         10670602         WEITZ & LUXENBERG, PC
PARRILLO             ANTHONY J             NY         11127200         WEITZ & LUXENBERG, PC                                PASTIER              GARY M                NY         10927000         WEITZ & LUXENBERG, PC
PARRILLO             CATHERINE             NY         10618601         WEITZ & LUXENBERG, PC                                PASTIER              GARY M                NY         12220399         WEITZ & LUXENBERG, PC
PARRILLO             DOMINIC F             NY         10618601         WEITZ & LUXENBERG, PC                                PASTORE              ANTHONY C             NY         02122050         WEITZ & LUXENBERG, PC
PARRILLO             MARY                  NY         11127200         WEITZ & LUXENBERG, PC                                PASTORE              ANTHONY C             NY         I20015298        WEITZ & LUXENBERG, PC
PARRISH              MARY                  NY         11127300         WEITZ & LUXENBERG, PC                                PASTORE              CATHIE A              NY         02122050         WEITZ & LUXENBERG, PC
PARRISH              RICHARD E             NY         11127300         WEITZ & LUXENBERG, PC                                PASTORE              CATHIE A              NY         I20015298        WEITZ & LUXENBERG, PC
PARROM               ERSKINE CARL          NY         01115463         WEITZ & LUXENBERG, PC                                PASTORE              MARIE                 NY         01111236         WEITZ & LUXENBERG, PC
PARROM               THELMA BENNETT        NY         01115463         WEITZ & LUXENBERG, PC                                PASTORE              MICHAEL               NY         01111236         WEITZ & LUXENBERG, PC
PARRY REOME          TONI MARION           NY         99103694         WEITZ & LUXENBERG, PC                                PASTORE              MILDRED CARMELLA      NY         10926900         WEITZ & LUXENBERG, PC
PARSLEY              BARBARA               NY         19036610         WEITZ & LUXENBERG, PC                                PASTORE              MILDRED CARMELLA      NY         12220399         WEITZ & LUXENBERG, PC
PARSLEY              RON                   NY         19036610         WEITZ & LUXENBERG, PC                                PASTORE              PETER F               NY         10926900         WEITZ & LUXENBERG, PC
PARSON               CARL J                NY         02106709         WEITZ & LUXENBERG, PC                                PASTORE              PETER F               NY         12220399         WEITZ & LUXENBERG, PC
PARSON               GERALDINE             NY         02106709         WEITZ & LUXENBERG, PC                                PASZKIEWIEZ          ALEX                  NY         01111221         WEITZ & LUXENBERG, PC
PARSON               WARREN WALTON         NY         CV016265         WEITZ & LUXENBERG, PC                                PATAKI               MONICA                NY         12100401         WEITZ & LUXENBERG, PC
PARSONS              JB                    NY         CV012365         WEITZ & LUXENBERG, PC                                PATE                 ROBERT MARK           NY         00CIV3589        WEITZ & LUXENBERG, PC
PARSONS              LEWIS D               NY         10740002         WEITZ & LUXENBERG, PC                                PATERNOSTRO          NICHOLAS R            NY         11327902         WEITZ & LUXENBERG, PC
PARSONS              LITA                  NY         CV012365         WEITZ & LUXENBERG, PC                                PATERNOSTRO          NICHOLAS R            NY         12091202         WEITZ & LUXENBERG, PC
PARSONS              MARY                  NY         1903182015       WEITZ & LUXENBERG, PC                                PATERNOSTRO          PETER                 NY         11327902         WEITZ & LUXENBERG, PC
PARSONS              THOMAS                NY         1903182015       WEITZ & LUXENBERG, PC                                PATERNOSTRO          PETER                 NY         12091202         WEITZ & LUXENBERG, PC
PARTENIO             BARBARA               NY         01111236         WEITZ & LUXENBERG, PC                                PATERSON             DALLAS B              NY         10703700         WEITZ & LUXENBERG, PC
PARTENIO             CHARLES M             NY         01111236         WEITZ & LUXENBERG, PC                                PATERSON             LORA                  NY         10809402         WEITZ & LUXENBERG, PC
PARUOLO              JOSEPH                NY         11582101         WEITZ & LUXENBERG, PC                                PATERSON             MARCELLA J            NY         10703700         WEITZ & LUXENBERG, PC
PARUOLO              JOSEPH                NY         01111222         WEITZ & LUXENBERG, PC                                PATERSON             THOMAS A              NY         10809402         WEITZ & LUXENBERG, PC
PARUOLO              SANDRA                NY         11582101         WEITZ & LUXENBERG, PC                                PATILLO              JOHN                  NY         19032511         WEITZ & LUXENBERG, PC
PARUOLO              SANDRA                NY         01111222         WEITZ & LUXENBERG, PC                                PATITUCCI            ANGELO F              NY         12039801         WEITZ & LUXENBERG, PC
PARZYCH              ROBERT T              NY         02105715         WEITZ & LUXENBERG, PC                                PATITUCCI            ANGELO F              NY         10480102         WEITZ & LUXENBERG, PC
PARZYCH              TRUDY                 NY         02105715         WEITZ & LUXENBERG, PC                                PATITUCCI            LENA                  NY         12039801         WEITZ & LUXENBERG, PC
PASCALE              DORIS                 NY         10207899         WEITZ & LUXENBERG, PC                                PATITUCCI            LENA                  NY         10480102         WEITZ & LUXENBERG, PC
PASCALE              PAUL                  NY         10207899         WEITZ & LUXENBERG, PC                                PATNODE              DAILON F              NY         10587402         WEITZ & LUXENBERG, PC
PASCARELLA           ANGELA                NY         12043301         WEITZ & LUXENBERG, PC                                PATNODE              JAN                   NY         10696302         WEITZ & LUXENBERG, PC
PASCARELLA           ELLAMAE               NY         10618501         WEITZ & LUXENBERG, PC                                PATNODE              KAREN R               NY         10587402         WEITZ & LUXENBERG, PC
PASCARELLA           FRANK                 NY         10618501         WEITZ & LUXENBERG, PC                                PATNODE              LEO J                 NY         10696302         WEITZ & LUXENBERG, PC
PASCARELLA           NEIL                  NY         12043301         WEITZ & LUXENBERG, PC                                PATNODE              STEPHEN C             NY         10587502         WEITZ & LUXENBERG, PC
PASCUCCI             MARGARET              NY         11127400         WEITZ & LUXENBERG, PC                                PATRICIA             SHANNON A             NY         10548799         WEITZ & LUXENBERG, PC
PASCUCCI             MARIANO               NY         11127400         WEITZ & LUXENBERG, PC                                PATRICK              CHRISTINE             NY         11125200         WEITZ & LUXENBERG, PC
PASHKUTZ             MICHAEL               NY         10927300         WEITZ & LUXENBERG, PC                                PATRICK              RUSSELL J             NY         11125200         WEITZ & LUXENBERG, PC
PASHKUTZ             MICHAEL               NY         12220399         WEITZ & LUXENBERG, PC                                PATRIE               CLARENCE              NY         10696402         WEITZ & LUXENBERG, PC
PASIER               EDMUND S              NY         10927200         WEITZ & LUXENBERG, PC                                PATRIE               SHARON                NY         10696402         WEITZ & LUXENBERG, PC
PASIER               EDMUND S              NY         12220399         WEITZ & LUXENBERG, PC                                PATRINICOLA          BIAGIO                NY         10702000         WEITZ & LUXENBERG, PC
PASIER               MARY ANN              NY         10927200         WEITZ & LUXENBERG, PC                                PATRONIK             BROWNIE J             NY         I200110163       WEITZ & LUXENBERG, PC
PASIER               MARY ANN              NY         12220399         WEITZ & LUXENBERG, PC                                PATRONIK             EVE                   NY         10670402         WEITZ & LUXENBERG, PC
PASLEY               BILLY                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                PATRONIK             EVE                   NY         11034702         WEITZ & LUXENBERG, PC
PASLEY               RUTH ELIZABETH        NY         01CIV3922        WEITZ & LUXENBERG, PC                                PATRONIK             GLORIA                NY         10716702         WEITZ & LUXENBERG, PC
PASQUALE             MARIE                 NY         12039901         WEITZ & LUXENBERG, PC                                PATRONIK             GLORIA                NY         11278002         WEITZ & LUXENBERG, PC
PASQUALE             MARIE                 NY         10451402         WEITZ & LUXENBERG, PC                                PATRONIK             MELVIN J              NY         10716702         WEITZ & LUXENBERG, PC
PASQUANTINO          JOSEPH J              NY         11125000         WEITZ & LUXENBERG, PC                                PATRONIK             MELVIN J              NY         11278002         WEITZ & LUXENBERG, PC
PASQUANTINO          JOSEPH J              NY         11127400         WEITZ & LUXENBERG, PC                                PATTAVINA            SEBASTIANO            NY         1901332018       WEITZ & LUXENBERG, PC
PASQUANTINO          VIRIGINIA             NY         11125000         WEITZ & LUXENBERG, PC                                PATTEN-SCHMITT       EILEEN                NY         11113200         WEITZ & LUXENBERG, PC
PASQUANTINO          VIRIGINIA             NY         11127400         WEITZ & LUXENBERG, PC                                PATTERSON            CLARA                 NY         10925800         WEITZ & LUXENBERG, PC
PASQUARELLA          MARY ANN              NY         10207799         WEITZ & LUXENBERG, PC                                PATTERSON            CLARA                 NY         12220399         WEITZ & LUXENBERG, PC
PASQUARELLA          RICHARD A             NY         10207799         WEITZ & LUXENBERG, PC                                PATTERSON            CLARENCE              NY         11125300         WEITZ & LUXENBERG, PC
PASQUARIELLO         DALE ANN              NY         11026702         WEITZ & LUXENBERG, PC                                PATTERSON            DIANE                 NY         11958701         WEITZ & LUXENBERG, PC
PASQUARIELLO         RAFFAELA              NY         02107099         WEITZ & LUXENBERG, PC                                PATTERSON            ERNEST                NY         10925900         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1027
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 362 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PATTERSON            ERNEST                NY         12220399         WEITZ & LUXENBERG, PC                                PAYNE                SHIRLEY               NY         12220399         WEITZ & LUXENBERG, PC
PATTERSON            HORACE                NY         CV020068         WEITZ & LUXENBERG, PC                                PAYNE                WALTER LEWIS          NY         CV021589         WEITZ & LUXENBERG, PC
PATTERSON            LLOYD                 NY         11958701         WEITZ & LUXENBERG, PC                                PAYNE                WANDA LOIS            NY         01111236         WEITZ & LUXENBERG, PC
PATTERSON            LLOYD                 NY         01111229         WEITZ & LUXENBERG, PC                                PAYNTER              MARIE                 NY         11125800         WEITZ & LUXENBERG, PC
PATTERSON            MARGO                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                PAYNTER              THOMAS J              NY         11125800         WEITZ & LUXENBERG, PC
PATTERSON            MARY L                NY         19025810         WEITZ & LUXENBERG, PC                                PAYTON               BENJAMIN              NY         10618001         WEITZ & LUXENBERG, PC
PATTERSON            NORMAN                NY         10925800         WEITZ & LUXENBERG, PC                                PAYTON               BERNICE               NY         10618001         WEITZ & LUXENBERG, PC
PATTERSON            NORMAN                NY         12220399         WEITZ & LUXENBERG, PC                                PAZAMICKAS           ANTHONY               NY         99102520         WEITZ & LUXENBERG, PC
PATTERSON            OSSIE                 NY         11125300         WEITZ & LUXENBERG, PC                                PAZAMICKAS           BETTY                 NY         99102520         WEITZ & LUXENBERG, PC
PATTERSON            ROBERT E              NY         19025810         WEITZ & LUXENBERG, PC                                PAZAN                FRANCES               NY         10910700         WEITZ & LUXENBERG, PC
PATTERSON            ROY E                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                PAZAN                FRANCES               NY         12220399         WEITZ & LUXENBERG, PC
PATTERSON            THEODORE R            NY         19025810         WEITZ & LUXENBERG, PC                                PAZAN                STEPHEN               NY         10910700         WEITZ & LUXENBERG, PC
PATTI                CHARLES               NY         12043001         WEITZ & LUXENBERG, PC                                PAZAN                STEPHEN               NY         12220399         WEITZ & LUXENBERG, PC
PATTI                FRANCIS J             NY         99102522         WEITZ & LUXENBERG, PC                                PAZAN                STEPHEN P             NY         10910700         WEITZ & LUXENBERG, PC
PATTI                IRENE                 NY         12043001         WEITZ & LUXENBERG, PC                                PAZAN                STEPHEN P             NY         12220399         WEITZ & LUXENBERG, PC
PATTI                MARY                  NY         99102522         WEITZ & LUXENBERG, PC                                PEACOCK              DAVID                 NY         10722202         WEITZ & LUXENBERG, PC
PATTON               MARCELL               NY         01CIV3900        WEITZ & LUXENBERG, PC                                PEACOCK              DOLORES               NY         19025109         WEITZ & LUXENBERG, PC
PATTON               MARGARET              NY         01CIV3900        WEITZ & LUXENBERG, PC                                PEACOCK              IRVING W              NY         19025109         WEITZ & LUXENBERG, PC
PATTON               ONA                   NY         12668502         WEITZ & LUXENBERG, PC                                PEACOCK              JOHNNYE S             NY         1905502012       WEITZ & LUXENBERG, PC
PATTON               THOMAS                NY         12668502         WEITZ & LUXENBERG, PC                                PEACOCK              RUBY                  NY         10722202         WEITZ & LUXENBERG, PC
PAUL                 DIANE                 NY         10591402         WEITZ & LUXENBERG, PC                                PEACOCK              WILLIAM V             NY         1905502012       WEITZ & LUXENBERG, PC
PAUL                 FOREST G              NY         10992004         WEITZ & LUXENBERG, PC                                PEARL                RICHARD W             NY         10716702         WEITZ & LUXENBERG, PC
PAUL                 JAMES E               NY         11356702         WEITZ & LUXENBERG, PC                                PEARROW              CAROLYN JEAN          NY         CV025685         WEITZ & LUXENBERG, PC
PAUL                 LESTER J              NY         10925700         WEITZ & LUXENBERG, PC                                PEARROW              VICKEY L              NY         CV025685         WEITZ & LUXENBERG, PC
PAUL                 LESTER J              NY         12220399         WEITZ & LUXENBERG, PC                                PEARSALL             FELTON                NY         99102519         WEITZ & LUXENBERG, PC
PAUL                 RICHARD HAROLD        NY         10740002         WEITZ & LUXENBERG, PC                                PEARSALL             FRANK                 NY         11074306         WEITZ & LUXENBERG, PC
PAUL                 ROBERT I              NY         I200110071       WEITZ & LUXENBERG, PC                                PEARSALL             JOSEPH                NY         02107007         WEITZ & LUXENBERG, PC
PAUL                 ROBERT I              NY         12448902         WEITZ & LUXENBERG, PC                                PEARSALL             MARGARET              NY         02107007         WEITZ & LUXENBERG, PC
PAUL                 ROBERT I              NY         10177103         WEITZ & LUXENBERG, PC                                PEARSALL             SHIRLEY               NY         99102519         WEITZ & LUXENBERG, PC
PAUL                 ROSEMARIE J           NY         11356702         WEITZ & LUXENBERG, PC                                PEARSLON             LULA                  NY         12668202         WEITZ & LUXENBERG, PC
PAUL                 SHIRLEY L             NY         10992004         WEITZ & LUXENBERG, PC                                PEARSON              EDLEN C               NY         1902542013       WEITZ & LUXENBERG, PC
PAUL                 VICTOR T              NY         10740502         WEITZ & LUXENBERG, PC                                PEARSON              EDNA                  NY         11125900         WEITZ & LUXENBERG, PC
PAVEL                GEORGE F              NY         10618201         WEITZ & LUXENBERG, PC                                PEARSON              EDNA                  NY         10838500         WEITZ & LUXENBERG, PC
PAVEL                JOSEPHINE             NY         10618201         WEITZ & LUXENBERG, PC                                PEARSON              LOMAN                 NY         12668202         WEITZ & LUXENBERG, PC
PAVESE               DANIEL L              NY         10587502         WEITZ & LUXENBERG, PC                                PEARSON              SAMUEL L              NY         11125900         WEITZ & LUXENBERG, PC
PAVESE               IRIS                  NY         10587502         WEITZ & LUXENBERG, PC                                PEARSON              SAMUEL L              NY         10838500         WEITZ & LUXENBERG, PC
PAVIA                GIACOMO               NY         10528202         WEITZ & LUXENBERG, PC                                PEASE                JAMES F               NY         02106709         WEITZ & LUXENBERG, PC
PAVIA                JEANETTE              NY         10528202         WEITZ & LUXENBERG, PC                                PEASE                JAMES F               NY         111552502        WEITZ & LUXENBERG, PC
PAVICH               VLADO                 NY         01111226         WEITZ & LUXENBERG, PC                                PEASE                RITA C                NY         02106709         WEITZ & LUXENBERG, PC
PAVONE               CAROL                 NY         10925600         WEITZ & LUXENBERG, PC                                PEASE                RITA C                NY         111552502        WEITZ & LUXENBERG, PC
PAVONE               CAROL                 NY         12220399         WEITZ & LUXENBERG, PC                                PEASLEE              CHARLES E             NY         11327802         WEITZ & LUXENBERG, PC
PAVONE               JOHN                  NY         10925600         WEITZ & LUXENBERG, PC                                PEASLEE              ELAINE M              NY         11327802         WEITZ & LUXENBERG, PC
PAVONE               JOHN                  NY         12220399         WEITZ & LUXENBERG, PC                                PEAT                 ROSEMARY              NY         12370001         WEITZ & LUXENBERG, PC
PAWLACZYK            DONALD                NY         12668602         WEITZ & LUXENBERG, PC                                PEAT                 TOM                   NY         12370001         WEITZ & LUXENBERG, PC
PAWLAK               EDMUND A              NY         02106707         WEITZ & LUXENBERG, PC                                PECEK                ANNA                  NY         1904302012       WEITZ & LUXENBERG, PC
PAWLAK               JOHN M                NY         10871301         WEITZ & LUXENBERG, PC                                PECEK                JOSEPH                NY         1904302012       WEITZ & LUXENBERG, PC
PAWLAK               KATHLEEN              NY         10571702         WEITZ & LUXENBERG, PC                                PECK                 AMELIA                NY         10910600         WEITZ & LUXENBERG, PC
PAWLAK               MARY T                NY         10871301         WEITZ & LUXENBERG, PC                                PECK                 AMELIA                NY         12220399         WEITZ & LUXENBERG, PC
PAWLAK               THOMAS A              NY         10571702         WEITZ & LUXENBERG, PC                                PECK                 CARL E                NY         10910600         WEITZ & LUXENBERG, PC
PAWLAK               VIRGINIA F            NY         10925500         WEITZ & LUXENBERG, PC                                PECK                 CARL E                NY         12220399         WEITZ & LUXENBERG, PC
PAWLAK               VIRGINIA F            NY         12220399         WEITZ & LUXENBERG, PC                                PECK                 RONALD R              NY         10670402         WEITZ & LUXENBERG, PC
PAWLAK               WALTER J              NY         10925500         WEITZ & LUXENBERG, PC                                PECK                 SUZANNE               NY         10670402         WEITZ & LUXENBERG, PC
PAWLAK               WALTER J              NY         12220399         WEITZ & LUXENBERG, PC                                PECKHAM              ROBERT                NY         10910900         WEITZ & LUXENBERG, PC
PAWLIK               JOSEPH                NY         99102521         WEITZ & LUXENBERG, PC                                PECKHAM              ROBERT                NY         12220399         WEITZ & LUXENBERG, PC
PAWLOWSKI            CARMELLA              NY         02106709         WEITZ & LUXENBERG, PC                                PECORA               CONO                  NY         01111228         WEITZ & LUXENBERG, PC
PAWLOWSKI            EDMUND R              NY         02106709         WEITZ & LUXENBERG, PC                                PECORARO             GIOVANNA              NY         11123101         WEITZ & LUXENBERG, PC
PAXTON               MADISON               NY         01CIV3895        WEITZ & LUXENBERG, PC                                PECORARO             GIOVANNA              NY         12056701         WEITZ & LUXENBERG, PC
PAYNE                ALENA                 NY         00CIV1204        WEITZ & LUXENBERG, PC                                PECORARO             JOHN J                NY         11837000         WEITZ & LUXENBERG, PC
PAYNE                FRANCIS               NY         10910500         WEITZ & LUXENBERG, PC                                PECORARO             LILLIAN H             NY         99102517         WEITZ & LUXENBERG, PC
PAYNE                FRANCIS               NY         12220399         WEITZ & LUXENBERG, PC                                PECORARO             RITA                  NY         11837000         WEITZ & LUXENBERG, PC
PAYNE                HARVEY CLARENCE       NY         00CIV1204        WEITZ & LUXENBERG, PC                                PECORARO             RONALD J              NY         99102517         WEITZ & LUXENBERG, PC
PAYNE                JACQUELINE            NY         10105799         WEITZ & LUXENBERG, PC                                PECORARO             SALVATORE             NY         11123101         WEITZ & LUXENBERG, PC
PAYNE                JERRY D               NY         10740002         WEITZ & LUXENBERG, PC                                PECORARO             SALVATORE             NY         12056701         WEITZ & LUXENBERG, PC
PAYNE                JERRY WAYNE           NY         01111236         WEITZ & LUXENBERG, PC                                PEDALINO             ALFONZA               NY         12039401         WEITZ & LUXENBERG, PC
PAYNE                KATHLEEN H            NY         10740002         WEITZ & LUXENBERG, PC                                PEDALINO             ALFONZA               NY         10578702         WEITZ & LUXENBERG, PC
PAYNE                LEONARD R             NY         11837100         WEITZ & LUXENBERG, PC                                PEDALINO             YOLANDA               NY         12039401         WEITZ & LUXENBERG, PC
PAYNE                MARY                  NY         CV021589         WEITZ & LUXENBERG, PC                                PEDALINO             YOLANDA               NY         10578702         WEITZ & LUXENBERG, PC
PAYNE                MARY JANE             NY         11837100         WEITZ & LUXENBERG, PC                                PEDERSEN             CATHERINE H           NY         11789500         WEITZ & LUXENBERG, PC
PAYNE                MICHAEL EUGENE        NY         10702100         WEITZ & LUXENBERG, PC                                PEDERSEN             EILEEN M              NY         01122139         WEITZ & LUXENBERG, PC
PAYNE                PAULETTE              NY         10702100         WEITZ & LUXENBERG, PC                                PEDERSEN             EILEEN M              NY         10812702         WEITZ & LUXENBERG, PC
PAYNE                SHIRLEY               NY         10910500         WEITZ & LUXENBERG, PC                                PEDERSEN             GREGORY               NY         01111222         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1028
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 363 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PEDERSEN             JOSEPHINE             NY         01111222         WEITZ & LUXENBERG, PC                                PEMBERTON            BENJAMIN              NY         11126100         WEITZ & LUXENBERG, PC
PEDERSEN             LEON R                NY         01122139         WEITZ & LUXENBERG, PC                                PEMBERTON            MARIE                 NY         11126100         WEITZ & LUXENBERG, PC
PEDERSEN             LEON R                NY         10812702         WEITZ & LUXENBERG, PC                                PEMBLETON            RUSSELL               NY         10251499         WEITZ & LUXENBERG, PC
PEDERSEN             MILES R               NY         01111222         WEITZ & LUXENBERG, PC                                PEMDLETON            NANCY                 NY         10251499         WEITZ & LUXENBERG, PC
PEDERSEN             NICOLE                NY         01111222         WEITZ & LUXENBERG, PC                                PENALE               LAWRENCE              NY         10116899         WEITZ & LUXENBERG, PC
PEDERSEN             ROGER                 NY         11789500         WEITZ & LUXENBERG, PC                                PENALE               MARY                  NY         10116899         WEITZ & LUXENBERG, PC
PEDERSEN             TOM A                 NY         10911000         WEITZ & LUXENBERG, PC                                PENALE               RALPH J               NY         10116899         WEITZ & LUXENBERG, PC
PEDERSEN             TOM A                 NY         12220399         WEITZ & LUXENBERG, PC                                PENCOLA              CHARLES               NY         00102919         WEITZ & LUXENBERG, PC
PEDERSON             DOUGLAS               NY         11684906         WEITZ & LUXENBERG, PC                                PENDERGAST           EUGENE R              NY         10871301         WEITZ & LUXENBERG, PC
PEDRICK              ALEXIS                NY         10617501         WEITZ & LUXENBERG, PC                                PENDERGAST           TINA                  NY         10871301         WEITZ & LUXENBERG, PC
PEDRICK              FRANCIS W             NY         02120706         WEITZ & LUXENBERG, PC                                PENFOLD              EDNABEL               NY         10117099         WEITZ & LUXENBERG, PC
PEDRICK              RONALD S              NY         10617501         WEITZ & LUXENBERG, PC                                PENFOLD              HOWARD K              NY         10117099         WEITZ & LUXENBERG, PC
PEDULLA              XAVIER P              NY         12220399         WEITZ & LUXENBERG, PC                                PENHOLLOW            JANE A                NY         99102513         WEITZ & LUXENBERG, PC
PEDUTO               BENJAMIN              NY         99102518         WEITZ & LUXENBERG, PC                                PENHOLLOW            WILLIAM W             NY         99102513         WEITZ & LUXENBERG, PC
PEDUTO               MADELEINE             NY         99102518         WEITZ & LUXENBERG, PC                                PENNA                ANTHONY               NY         97120887         WEITZ & LUXENBERG, PC
PEEK                 ANN MARIE             NY         10702200         WEITZ & LUXENBERG, PC                                PENNA                HELEN                 NY         10669502         WEITZ & LUXENBERG, PC
PEEK                 EDWARD JR             NY         10702200         WEITZ & LUXENBERG, PC                                PENNA                JOHN                  NY         10669502         WEITZ & LUXENBERG, PC
PEETS                HUGH O                NY         10696302         WEITZ & LUXENBERG, PC                                PENNA                LUCILLE               NY         97120887         WEITZ & LUXENBERG, PC
PEETS                PATRICIA              NY         10696302         WEITZ & LUXENBERG, PC                                PENNACCHIA           FELICE                NY         10852404         WEITZ & LUXENBERG, PC
PEETS                PAUL S                NY         11026802         WEITZ & LUXENBERG, PC                                PENNACCHIA           ROSE ANN              NY         10852404         WEITZ & LUXENBERG, PC
PEETZ                EDWARD B              NY         19000211         WEITZ & LUXENBERG, PC                                PENNOCK              WILLIAM W             NY         10994000         WEITZ & LUXENBERG, PC
PEETZ                VIRGINIA              NY         19000211         WEITZ & LUXENBERG, PC                                PENNY                ANTHONY               NY         1903662016       WEITZ & LUXENBERG, PC
PEGELOW              LEONARD PAXTON        NY         10699902         WEITZ & LUXENBERG, PC                                PENROD               JAMES E               NY         10670402         WEITZ & LUXENBERG, PC
PEGELOW              MERELINE N            NY         10699902         WEITZ & LUXENBERG, PC                                PENSANTE             ANTHONY               NY         10993900         WEITZ & LUXENBERG, PC
PEGHI                ANNE M                NY         01111234         WEITZ & LUXENBERG, PC                                PENSANTE             RHODA                 NY         10993900         WEITZ & LUXENBERG, PC
PEGHI                WALTER R              NY         01111234         WEITZ & LUXENBERG, PC                                PENSAVALLE           JEANNE E              NY         01111222         WEITZ & LUXENBERG, PC
PEKOFSKY             ROSE                  NY         10910400         WEITZ & LUXENBERG, PC                                PENSAVALLE           SALVATORE             NY         01111222         WEITZ & LUXENBERG, PC
PEKOFSKY             ROSE                  NY         12220399         WEITZ & LUXENBERG, PC                                PENTANGELO           SALVATORE J           NY         10942205         WEITZ & LUXENBERG, PC
PEKOFSKY             WILLIAM               NY         10910400         WEITZ & LUXENBERG, PC                                PENTECOST            JAMES M               NY         1903812014       WEITZ & LUXENBERG, PC
PEKOFSKY             WILLIAM               NY         12220399         WEITZ & LUXENBERG, PC                                PENTECOST            RACHEL SUE            NY         1903812014       WEITZ & LUXENBERG, PC
PELC                 FRANK J               NY         02106580         WEITZ & LUXENBERG, PC                                PENTELTON            CAL                   NY         10722002         WEITZ & LUXENBERG, PC
PELC                 JACQUELYN             NY         02106580         WEITZ & LUXENBERG, PC                                PENTZ                JOHN                  NY         10251299         WEITZ & LUXENBERG, PC
PELC                 ROBERT JOHN           NY         10587002         WEITZ & LUXENBERG, PC                                PENTZ                JOHN RONALD           NY         10251299         WEITZ & LUXENBERG, PC
PELCHY               JOHN J                NY         12220499         WEITZ & LUXENBERG, PC                                PENTZ                MARY C                NY         10251299         WEITZ & LUXENBERG, PC
PELICONE             ANTHONY M             NY         10617701         WEITZ & LUXENBERG, PC                                PENZES               LAWRENCE W            NY         02106693         WEITZ & LUXENBERG, PC
PELICONE             ARLENE                NY         10617701         WEITZ & LUXENBERG, PC                                PEOPLES              LUTHER LEE            NY         01CIV3922        WEITZ & LUXENBERG, PC
PELKEY               CAROL MARY            NY         12433902         WEITZ & LUXENBERG, PC                                PEPE                 ANNIE M               NY         I200110068       WEITZ & LUXENBERG, PC
PELKEY               JACK EMERSON          NY         12433902         WEITZ & LUXENBERG, PC                                PEPE                 BETTY                 NY         10700002         WEITZ & LUXENBERG, PC
PELKEY               STEPHEN P             NY         10669102         WEITZ & LUXENBERG, PC                                PEPE                 DAVID JOSEPH          NY         10700002         WEITZ & LUXENBERG, PC
PELKY                DALE FRANCIS          NY         10696502         WEITZ & LUXENBERG, PC                                PEPE                 GEORGE E              NY         I200110068       WEITZ & LUXENBERG, PC
PELLECCHIA           JOSEPHINE             NY         12110001         WEITZ & LUXENBERG, PC                                PEPE                 JOSEPH A              NY         98118706         WEITZ & LUXENBERG, PC
PELLECCHIA           JOSEPHINE             NY         10647402         WEITZ & LUXENBERG, PC                                PEPINO               HENRY A               NY         12039001         WEITZ & LUXENBERG, PC
PELLECCHIA           NICHOLAS              NY         12110001         WEITZ & LUXENBERG, PC                                PEPINO               HENRY A               NY         12393501         WEITZ & LUXENBERG, PC
PELLECCHIA           NICHOLAS              NY         10647402         WEITZ & LUXENBERG, PC                                PEPINO               MILLICENT R           NY         12039001         WEITZ & LUXENBERG, PC
PELLEGRINI           FRANK                 NY         19020709         WEITZ & LUXENBERG, PC                                PEPINO               MILLICENT R           NY         12393501         WEITZ & LUXENBERG, PC
PELLEGRINI           FRANK J               NY         19020709         WEITZ & LUXENBERG, PC                                PEPINO               THOMAS                NY         12039001         WEITZ & LUXENBERG, PC
PELLEGRINI           IDA                   NY         19020709         WEITZ & LUXENBERG, PC                                PEPINO               THOMAS                NY         12393501         WEITZ & LUXENBERG, PC
PELLEGRINO           ANTHONY               NY         0207669          WEITZ & LUXENBERG, PC                                PEPPER               CHARLES L             NY         01CIV3900        WEITZ & LUXENBERG, PC
PELLEGRINO           FRANK J               NY         01111229         WEITZ & LUXENBERG, PC                                PEPPER               DAN K                 NY         12279002         WEITZ & LUXENBERG, PC
PELLEGRINO           JAMES                 NY         10023403         WEITZ & LUXENBERG, PC                                PEPPER               DONALD C              NY         CV011878         WEITZ & LUXENBERG, PC
PELLEGRINO           LEONARD               NY         12039501         WEITZ & LUXENBERG, PC                                PEPPER               DONNA L               NY         01CIV3900        WEITZ & LUXENBERG, PC
PELLEGRINO           MARTHA                NY         12039501         WEITZ & LUXENBERG, PC                                PEPPER               JANETTE L             NY         12279002         WEITZ & LUXENBERG, PC
PELLETIER            HENRY ROBERT          NY         10670402         WEITZ & LUXENBERG, PC                                PEPPER               MARY                  NY         CV011878         WEITZ & LUXENBERG, PC
PELLETIER            JANE M                NY         10670402         WEITZ & LUXENBERG, PC                                PERA                 LOIS                  NY         10993800         WEITZ & LUXENBERG, PC
PELLETIERE           DOROTHY               NY         12039901         WEITZ & LUXENBERG, PC                                PERA                 VITO NICHOLAS         NY         10993800         WEITZ & LUXENBERG, PC
PELLETIERE           DOROTHY               NY         10455802         WEITZ & LUXENBERG, PC                                PERAGINE             ELIZABETH             NY         11370703         WEITZ & LUXENBERG, PC
PELLETIERE           RICHARD A             NY         12039901         WEITZ & LUXENBERG, PC                                PERAGINE             JOSEPH                NY         11370703         WEITZ & LUXENBERG, PC
PELLETIERE           RICHARD A             NY         10455802         WEITZ & LUXENBERG, PC                                PERAGINE             LOUISE                NY         19036509         WEITZ & LUXENBERG, PC
PELLICANE            LUCILLE               NY         1900652015       WEITZ & LUXENBERG, PC                                PERAGINE             VITO F                NY         19036509         WEITZ & LUXENBERG, PC
PELLICANE            VITO                  NY         1900652015       WEITZ & LUXENBERG, PC                                PERAICA              IVO J                 NY         12039301         WEITZ & LUXENBERG, PC
PELLICCIO            ANTHONY               NY         12043101         WEITZ & LUXENBERG, PC                                PERCOCO              DOMINICK              NY         6050792019       WEITZ & LUXENBERG, PC
PELLICCIO            VIRGINIA              NY         12043101         WEITZ & LUXENBERG, PC                                PERCOCO              MARIA                 NY         6050792019       WEITZ & LUXENBERG, PC
PELLIEN              EDWARD P              NY         10994100         WEITZ & LUXENBERG, PC                                PERDICARO            ANTHONY               NY         12110001         WEITZ & LUXENBERG, PC
PELLIEN              JACQUELINE            NY         10994100         WEITZ & LUXENBERG, PC                                PERDICARO            CARMFAL               NY         12110001         WEITZ & LUXENBERG, PC
PELLIGRINO           ALFIO                 NY         10251699         WEITZ & LUXENBERG, PC                                PERDICARO            DIANE                 NY         11599103         WEITZ & LUXENBERG, PC
PELLIGRINO           LINA                  NY         10251699         WEITZ & LUXENBERG, PC                                PERDOMO              BRIGIDA               NY         10993700         WEITZ & LUXENBERG, PC
PELLOR               MARJORIE              NY         11156604         WEITZ & LUXENBERG, PC                                PERDOMO              RAFAEL                NY         10993700         WEITZ & LUXENBERG, PC
PELLOR               RICHARD D             NY         11156604         WEITZ & LUXENBERG, PC                                PEREICICH            JOSEPH                NY         10617801         WEITZ & LUXENBERG, PC
PELTIER              RALPH J               NY         10702300         WEITZ & LUXENBERG, PC                                PEREICICH            RUTH                  NY         10617801         WEITZ & LUXENBERG, PC
PELUSO               ALBA                  NY         99102515         WEITZ & LUXENBERG, PC                                PEREIRA              LAZARO                NY         10617901         WEITZ & LUXENBERG, PC
PELUSO               FRANK J               NY         99102515         WEITZ & LUXENBERG, PC                                PEREIRA              LIVIA P               NY         10617901         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1029
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 364 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PERETIN              CORINNE               NY         1902482014       WEITZ & LUXENBERG, PC                                PERRONE              RALPH                 NY         99102509         WEITZ & LUXENBERG, PC
PERETIN              RAYMOND               NY         1902482014       WEITZ & LUXENBERG, PC                                PERRONE              VINCENT T             NY         11582401         WEITZ & LUXENBERG, PC
PEREZ                ANTHONY               NY         10120499         WEITZ & LUXENBERG, PC                                PERRONE              VINCENT T             NY         01111222         WEITZ & LUXENBERG, PC
PEREZ                AVELINO               NY         01111227         WEITZ & LUXENBERG, PC                                PERROTTA             JOHN                  NY         01111226         WEITZ & LUXENBERG, PC
PEREZ                DOMINICK A            NY         12039701         WEITZ & LUXENBERG, PC                                PERROTTA             JOSEPHINE             NY         01111226         WEITZ & LUXENBERG, PC
PEREZ                JUAN                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                PERROTTA             MERYL                 NY         12039001         WEITZ & LUXENBERG, PC
PEREZ                KATHLEEN              NY         10120499         WEITZ & LUXENBERG, PC                                PERROTTA             MERYL                 NY         12395301         WEITZ & LUXENBERG, PC
PEREZ                LINDA SUE             NY         00CIV3589        WEITZ & LUXENBERG, PC                                PERROTTA             MICHAEL A             NY         12039001         WEITZ & LUXENBERG, PC
PEREZ                MARGARET              NY         12039701         WEITZ & LUXENBERG, PC                                PERROTTA             MICHAEL A             NY         12395301         WEITZ & LUXENBERG, PC
PEREZ                MICHELINA             NY         19010311         WEITZ & LUXENBERG, PC                                PERROTTA             MICHAEL J             NY         12039001         WEITZ & LUXENBERG, PC
PEREZ                NILDA                 NY         10993600         WEITZ & LUXENBERG, PC                                PERROTTA             MICHAEL J             NY         12395301         WEITZ & LUXENBERG, PC
PEREZ                PEDRO R               NY         10993600         WEITZ & LUXENBERG, PC                                PERROTTA             VIRGINIA              NY         12039001         WEITZ & LUXENBERG, PC
PERGAMENT            MARC A                NY         12039201         WEITZ & LUXENBERG, PC                                PERROTTA             VIRGINIA              NY         12395301         WEITZ & LUXENBERG, PC
PERGAMENT            MARC A                NY         10407202         WEITZ & LUXENBERG, PC                                PERRY                ANNA C                NY         10994600         WEITZ & LUXENBERG, PC
PERIGO               LEON JR               NY         11377400         WEITZ & LUXENBERG, PC                                PERRY                BEVERLY               NY         10250899         WEITZ & LUXENBERG, PC
PERIGO               SHARON                NY         11377400         WEITZ & LUXENBERG, PC                                PERRY                CARMON                NY         12301101         WEITZ & LUXENBERG, PC
PERILLO              DOMINICK              NY         1902642015       WEITZ & LUXENBERG, PC                                PERRY                CAROL                 NY         10994900         WEITZ & LUXENBERG, PC
PERILLO              DONNA                 NY         1902642015       WEITZ & LUXENBERG, PC                                PERRY                CHARLES A             NY         1902782014       WEITZ & LUXENBERG, PC
PERKINS              BETTY                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                PERRY                DIANE                 NY         10700002         WEITZ & LUXENBERG, PC
PERKINS              BRIAN                 DE         N18C01232ASB     WEITZ & LUXENBERG, PC                                PERRY                ELAINE                NY         1902782014       WEITZ & LUXENBERG, PC
PERKINS              JAMES                 NY         10251199         WEITZ & LUXENBERG, PC                                PERRY                GENERAL W             NY         10702400         WEITZ & LUXENBERG, PC
PERKINS              JUDY                  NY         01CIV3901        WEITZ & LUXENBERG, PC                                PERRY                GEORGE                NY         10994900         WEITZ & LUXENBERG, PC
PERKINS              LOU ANN               NY         1905222012       WEITZ & LUXENBERG, PC                                PERRY                GERALD D              NY         1902402012       WEITZ & LUXENBERG, PC
PERKINS              LYLE M                NY         10722202         WEITZ & LUXENBERG, PC                                PERRY                GORDON J              NY         10696302         WEITZ & LUXENBERG, PC
PERKINS              LYLE M                NY         11362002         WEITZ & LUXENBERG, PC                                PERRY                JAMES                 NY         10994800         WEITZ & LUXENBERG, PC
PERKINS              MARILYN F             NY         10722202         WEITZ & LUXENBERG, PC                                PERRY                JOHN                  NY         02117542         WEITZ & LUXENBERG, PC
PERKINS              MARILYN F             NY         11362002         WEITZ & LUXENBERG, PC                                PERRY                JOSEPH                NY         10648601         WEITZ & LUXENBERG, PC
PERKINS              MATTIE                NY         01CIV3901        WEITZ & LUXENBERG, PC                                PERRY                LOIS                  NY         10994700         WEITZ & LUXENBERG, PC
PERKINS              MELVIN ARNETT         NY         01CIV3901        WEITZ & LUXENBERG, PC                                PERRY                MARJORIE              NY         10648601         WEITZ & LUXENBERG, PC
PERKINS              ROBERT                NY         1905222012       WEITZ & LUXENBERG, PC                                PERRY                MARY                  NY         1902402012       WEITZ & LUXENBERG, PC
PERKINS              WILLIE RUTH           NY         00CIV3589        WEITZ & LUXENBERG, PC                                PERRY                MELVIN                NY         10250899         WEITZ & LUXENBERG, PC
PERKS                EILEEN                NY         10993500         WEITZ & LUXENBERG, PC                                PERRY                NICHOLAS J            NY         10994700         WEITZ & LUXENBERG, PC
PERKS                ROBERT L              NY         10993500         WEITZ & LUXENBERG, PC                                PERRY                NILA                  NY         10716802         WEITZ & LUXENBERG, PC
PERLMUTTER           FRED                  NY         12043101         WEITZ & LUXENBERG, PC                                PERRY                NILA                  NY         11240102         WEITZ & LUXENBERG, PC
PERLMUTTER           OLVIDO                NY         12043101         WEITZ & LUXENBERG, PC                                PERRY                RAYMOND               NY         10994600         WEITZ & LUXENBERG, PC
PERNA                CAROLYN               NY         12693702         WEITZ & LUXENBERG, PC                                PERRY                ROBERT F              NY         10716802         WEITZ & LUXENBERG, PC
PERNA                ERMALINDA             NY         10669502         WEITZ & LUXENBERG, PC                                PERRY                ROBERT F              NY         11240102         WEITZ & LUXENBERG, PC
PERNA                MARIO                 NY         10669502         WEITZ & LUXENBERG, PC                                PERRY                ROBERT K              NY         10702500         WEITZ & LUXENBERG, PC
PERNA                RAYMOND               NY         12693702         WEITZ & LUXENBERG, PC                                PERRY                RUTH                  NY         10702400         WEITZ & LUXENBERG, PC
PERNICE              CARL                  NY         1904902012       WEITZ & LUXENBERG, PC                                PERRY                STEPHEN M             NY         10700002         WEITZ & LUXENBERG, PC
PERNICE              CARLTON A             NY         1904902012       WEITZ & LUXENBERG, PC                                PERRY                SYLVIA                NY         12301101         WEITZ & LUXENBERG, PC
PEROCIER             ELEANOR               NY         10993400         WEITZ & LUXENBERG, PC                                PERRYMAN             LILLIE                NY         10358701         WEITZ & LUXENBERG, PC
PEROCIER             LOU                   NY         10993400         WEITZ & LUXENBERG, PC                                PERRYMAN             SAM                   NY         10358701         WEITZ & LUXENBERG, PC
PERONE               RALPH F               NY         1903232016       WEITZ & LUXENBERG, PC                                PERSAUD              SASENARINE            NY         19018909         WEITZ & LUXENBERG, PC
PEROSI               KAREN                 NY         1901742016       WEITZ & LUXENBERG, PC                                PERSAUD              TETRIE                NY         19018909         WEITZ & LUXENBERG, PC
PEROSI               VICTOR A              NY         1901742016       WEITZ & LUXENBERG, PC                                PERSIC               ALBINA                NY         12318401         WEITZ & LUXENBERG, PC
PERRAM               JOHN                  NY         02106693         WEITZ & LUXENBERG, PC                                PERSIC               ALBINA                NY         01111230         WEITZ & LUXENBERG, PC
PERRAM               MARY ANNE             NY         02106693         WEITZ & LUXENBERG, PC                                PERSIC               EGIDIO                NY         1900732019       WEITZ & LUXENBERG, PC
PERRAS               EDWARD T              NY         12039301         WEITZ & LUXENBERG, PC                                PERSIC               ELIO                  NY         12318401         WEITZ & LUXENBERG, PC
PERRAS               EDWARD T              NY         10370102         WEITZ & LUXENBERG, PC                                PERSIC               ELIO                  NY         01111230         WEITZ & LUXENBERG, PC
PERRAS               LAWRENCE A            NY         02106578         WEITZ & LUXENBERG, PC                                PERSICH              GUIDO                 NY         01111229         WEITZ & LUXENBERG, PC
PERRAS               MARY                  NY         12039301         WEITZ & LUXENBERG, PC                                PERSICHETTI          ANNA                  NY         12213801         WEITZ & LUXENBERG, PC
PERRAS               MARY                  NY         10370102         WEITZ & LUXENBERG, PC                                PERSICHETTI          JOHN P                NY         12213801         WEITZ & LUXENBERG, PC
PERREAULT            CECILE                NY         11356702         WEITZ & LUXENBERG, PC                                PERSICHINI           ELEANORE              NY         10696402         WEITZ & LUXENBERG, PC
PERREAULT            CECILE                NY         12733102         WEITZ & LUXENBERG, PC                                PERSICHINI           ELEANORE              NY         11210602         WEITZ & LUXENBERG, PC
PERREAULT            EDMOND L              NY         11356702         WEITZ & LUXENBERG, PC                                PERSICHINI           SILVIANO J            NY         10696402         WEITZ & LUXENBERG, PC
PERREAULT            EDMOND L              NY         12733102         WEITZ & LUXENBERG, PC                                PERSICHINI           SILVIANO J            NY         11210602         WEITZ & LUXENBERG, PC
PERRELLA             PASQUALE              NY         11137903         WEITZ & LUXENBERG, PC                                PERSICO              MARIE                 NY         01108677         WEITZ & LUXENBERG, PC
PERRELLA             PATRICIA              NY         11137903         WEITZ & LUXENBERG, PC                                PERSICO              PASQUALE              NY         01108677         WEITZ & LUXENBERG, PC
PERRETTA             ELENA                 NY         10871301         WEITZ & LUXENBERG, PC                                PERSING              JOAN                  NY         11327902         WEITZ & LUXENBERG, PC
PERRETTA             FRANK                 NY         10871301         WEITZ & LUXENBERG, PC                                PERSING              LAMAR E               NY         11327902         WEITZ & LUXENBERG, PC
PERRILL              JALEAH                NY         10705506         WEITZ & LUXENBERG, PC                                PERSONS              GERALD JONES          NY         99102507         WEITZ & LUXENBERG, PC
PERRIN               DONALD                NY         1901712015       WEITZ & LUXENBERG, PC                                PERSONS              NANCY                 NY         99102507         WEITZ & LUXENBERG, PC
PERRIN               SHARON L              NY         1901712015       WEITZ & LUXENBERG, PC                                PERUSKO              GINA                  NY         12318501         WEITZ & LUXENBERG, PC
PERRON               FERNAND E             NY         1903332016       WEITZ & LUXENBERG, PC                                PERUSKO              GINA                  NY         01111230         WEITZ & LUXENBERG, PC
PERRON               MARSHA                NY         1903332016       WEITZ & LUXENBERG, PC                                PERUSKO              JOSEPH                NY         12318501         WEITZ & LUXENBERG, PC
PERRONE              FLORENCE              NY         11582401         WEITZ & LUXENBERG, PC                                PERUSKO              JOSEPH                NY         01111230         WEITZ & LUXENBERG, PC
PERRONE              FLORENCE              NY         01111222         WEITZ & LUXENBERG, PC                                PERYER               JEANE                 NY         11327802         WEITZ & LUXENBERG, PC
PERRONE              JOSEPHINE             NY         10176300         WEITZ & LUXENBERG, PC                                PERYER               STEPHEN R             NY         11327802         WEITZ & LUXENBERG, PC
PERRONE              MARIE                 NY         99102509         WEITZ & LUXENBERG, PC                                PESCE                ROBERT V              NY         12043201         WEITZ & LUXENBERG, PC
PERRONE              PAT R                 NY         10176300         WEITZ & LUXENBERG, PC                                PESCE                VELTA                 NY         12043201         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1030
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 365 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PESKIR               CECELIA               NY         11271502         WEITZ & LUXENBERG, PC                                PETRASHUNE           MICHAEL A             NY         10696402         WEITZ & LUXENBERG, PC
PESKIR               CECELIA               NY         02106578         WEITZ & LUXENBERG, PC                                PETRASHUNE           MICHAEL A             NY         11210502         WEITZ & LUXENBERG, PC
PESKIR               CHARLES S             NY         02106578         WEITZ & LUXENBERG, PC                                PETRASHUNE           NANCY                 NY         10696402         WEITZ & LUXENBERG, PC
PESKIR               CHARLES S             NY         11271502         WEITZ & LUXENBERG, PC                                PETRASHUNE           NANCY                 NY         11210502         WEITZ & LUXENBERG, PC
PESSONI              ALFRED H              NY         10008703         WEITZ & LUXENBERG, PC                                PETRASSI             ANN                   NY         10995900         WEITZ & LUXENBERG, PC
PESSONI              PANELA                NY         10008703         WEITZ & LUXENBERG, PC                                PETRASSI             MARIO                 NY         10995900         WEITZ & LUXENBERG, PC
PESTA                TIMOTHY R             NY         10740502         WEITZ & LUXENBERG, PC                                PETRELLI             UMBERTON              NY         10008703         WEITZ & LUXENBERG, PC
PESTI                NORMA                 NY         12151700         WEITZ & LUXENBERG, PC                                PETRIK               EMIL C                NY         10587202         WEITZ & LUXENBERG, PC
PESTI                VICTOR                NY         12151700         WEITZ & LUXENBERG, PC                                PETRIK               EMIL C                NY         10822902         WEITZ & LUXENBERG, PC
PESUVANI             ANNE                  NY         02106707         WEITZ & LUXENBERG, PC                                PETRIK               JOAN                  NY         10587202         WEITZ & LUXENBERG, PC
PESUVANI             MICHAEL               NY         02106707         WEITZ & LUXENBERG, PC                                PETRIK               JOAN                  NY         10822902         WEITZ & LUXENBERG, PC
PETAGNO              BABY BOY              NY         1900622016       WEITZ & LUXENBERG, PC                                PETRILLO             ALFRED A              NY         11356702         WEITZ & LUXENBERG, PC
PETAK                JOHN I                NY         11801203         WEITZ & LUXENBERG, PC                                PETRILLO             MARY                  NY         11356702         WEITZ & LUXENBERG, PC
PETAK                NANCY                 NY         11801203         WEITZ & LUXENBERG, PC                                PETRINEC             CYNTHIA               NY         99102538         WEITZ & LUXENBERG, PC
PETELEY              BETTY M               NY         12110001         WEITZ & LUXENBERG, PC                                PETRINEC             MICHAEL               NY         99102538         WEITZ & LUXENBERG, PC
PETELEY              VINCENT A             NY         12110001         WEITZ & LUXENBERG, PC                                PETRIS               ANASTAZIA             NY         10387202         WEITZ & LUXENBERG, PC
PETELL               LEONA                 NY         99102506         WEITZ & LUXENBERG, PC                                PETRIS               GEORGE                NY         10387202         WEITZ & LUXENBERG, PC
PETELL               PAUL J                NY         99102506         WEITZ & LUXENBERG, PC                                PETROCELLI           DAVID P               NY         10817404         WEITZ & LUXENBERG, PC
PETERMAN             CATHERINE             NY         11348703         WEITZ & LUXENBERG, PC                                PETROCELLI           DORIS                 NY         10817404         WEITZ & LUXENBERG, PC
PETERMAN             WILLIAM K             NY         11348703         WEITZ & LUXENBERG, PC                                PETRONI              IDA                   NY         99101175         WEITZ & LUXENBERG, PC
PETERS               BETTY JEAN            NY         99102505         WEITZ & LUXENBERG, PC                                PETRONI              JOSEPH                NY         99101175         WEITZ & LUXENBERG, PC
PETERS               CECELIA               NY         12788802         WEITZ & LUXENBERG, PC                                PETRONIO             ROBERT COSMO          NY         10587502         WEITZ & LUXENBERG, PC
PETERS               CHARLES               NY         10994500         WEITZ & LUXENBERG, PC                                PETRONIO             ROSEANN               NY         10587502         WEITZ & LUXENBERG, PC
PETERS               DONALD                NY         12788802         WEITZ & LUXENBERG, PC                                PETROSKY             JOSEPH                NY         10232099         WEITZ & LUXENBERG, PC
PETERS               GENEVEVE              NY         10994500         WEITZ & LUXENBERG, PC                                PETROSKY             MARGUERITE            NY         10232099         WEITZ & LUXENBERG, PC
PETERS               GERALDINE             NY         10994300         WEITZ & LUXENBERG, PC                                PETROU               JIM                   NY         10592304         WEITZ & LUXENBERG, PC
PETERS               HAROLD CLIFFORD       NY         99102505         WEITZ & LUXENBERG, PC                                PETROU               VASILIKI              NY         10592304         WEITZ & LUXENBERG, PC
PETERS               HARRY WALTER          NY         12155601         WEITZ & LUXENBERG, PC                                PETROV               LUDMIL D              NY         12444102         WEITZ & LUXENBERG, PC
PETERS               HARRY WALTER          NY         01111228         WEITZ & LUXENBERG, PC                                PETROVICH            THOMAS GERALD         NY         01111235         WEITZ & LUXENBERG, PC
PETERS               HENRY                 NY         10994300         WEITZ & LUXENBERG, PC                                PETRUCCELLI          ANGELO F              NY         10702104         WEITZ & LUXENBERG, PC
PETERS               JANE S                NY         11377500         WEITZ & LUXENBERG, PC                                PETRUCCELLI          JUNE E                NY         10702104         WEITZ & LUXENBERG, PC
PETERS               MARJORIE              NY         12043301         WEITZ & LUXENBERG, PC                                PETRUCCO             ELIZABETH             NY         10995800         WEITZ & LUXENBERG, PC
PETERS               PAUL N                NY         11377500         WEITZ & LUXENBERG, PC                                PETRUCCO             LUIGI A               NY         10995800         WEITZ & LUXENBERG, PC
PETERS               ROBERT T              NY         12043301         WEITZ & LUXENBERG, PC                                PETRUCELLI           DOROTHY-EVE           NY         12039001         WEITZ & LUXENBERG, PC
PETERS               RONALD A              NY         10696502         WEITZ & LUXENBERG, PC                                PETRUCELLI           MICHAEL J             NY         12039001         WEITZ & LUXENBERG, PC
PETERS               SUZANNE               NY         10252399         WEITZ & LUXENBERG, PC                                PETRUS               DAVID                 NY         10587602         WEITZ & LUXENBERG, PC
PETERS               WILLIAM M             NY         10252399         WEITZ & LUXENBERG, PC                                PETRUS               JUDITH                NY         10587602         WEITZ & LUXENBERG, PC
PETERSEN             ALLEN                 NY         98118830         WEITZ & LUXENBERG, PC                                PETRUSIC             ANTHONY               NY         19048911         WEITZ & LUXENBERG, PC
PETERSEN             DARLENE M             NY         02105716         WEITZ & LUXENBERG, PC                                PETRUSIC             JOSEPH                NY         19048911         WEITZ & LUXENBERG, PC
PETERSEN             DARLENE M             NY         11165702         WEITZ & LUXENBERG, PC                                PETRY                JAMES                 NY         01111225         WEITZ & LUXENBERG, PC
PETERSEN             GEORGE A              NY         02105716         WEITZ & LUXENBERG, PC                                PETRY                JAMES A               NY         11809801         WEITZ & LUXENBERG, PC
PETERSEN             GEORGE A              NY         11165702         WEITZ & LUXENBERG, PC                                PETRY                LAURETTA              NY         01111225         WEITZ & LUXENBERG, PC
PETERSON             ANN M                 NY         11040408         WEITZ & LUXENBERG, PC                                PETRY                LAURETTA              NY         11809801         WEITZ & LUXENBERG, PC
PETERSON             CHARLES               NY         10941101         WEITZ & LUXENBERG, PC                                PETRYLAK             IRENE                 NY         99102344         WEITZ & LUXENBERG, PC
PETERSON             CHARLES               NY         12100401         WEITZ & LUXENBERG, PC                                PETRYLAK             MYKOLA                NY         99102344         WEITZ & LUXENBERG, PC
PETERSON             DALE J                NY         10471800         WEITZ & LUXENBERG, PC                                PETSIS               HARRY                 NY         19010908         WEITZ & LUXENBERG, PC
PETERSON             DANIEL J              NY         11040408         WEITZ & LUXENBERG, PC                                PETSIS               VIOLA                 NY         19010908         WEITZ & LUXENBERG, PC
PETERSON             DIANE                 NY         10994200         WEITZ & LUXENBERG, PC                                PETTEYS              MARK W                NY         10008703         WEITZ & LUXENBERG, PC
PETERSON             DOROTHY               NY         11158903         WEITZ & LUXENBERG, PC                                PETTEYS              MARK W                NY         10565603         WEITZ & LUXENBERG, PC
PETERSON             EARNESTINE            NY         10571402         WEITZ & LUXENBERG, PC                                PETTINGILL           KENNETH               NY         00CIV3589        WEITZ & LUXENBERG, PC
PETERSON             EDMORE                NY         11158903         WEITZ & LUXENBERG, PC                                PETTINGILL           KENNETH JOE           NY         00CIV3589        WEITZ & LUXENBERG, PC
PETERSON             EUGENE                NY         10571402         WEITZ & LUXENBERG, PC                                PETTINGILL           MARY                  NY         00CIV3589        WEITZ & LUXENBERG, PC
PETERSON             GERALDINE             NY         CV013921         WEITZ & LUXENBERG, PC                                PETTINGILL           MARY ELIZABETH        NY         00CIV3589        WEITZ & LUXENBERG, PC
PETERSON             GERARD                NY         10994200         WEITZ & LUXENBERG, PC                                PETTIT               PATRICIA              NY         11871701         WEITZ & LUXENBERG, PC
PETERSON             JAMES J               NY         10710102         WEITZ & LUXENBERG, PC                                PETTIT               PATRICIA              NY         01111233         WEITZ & LUXENBERG, PC
PETERSON             JAMES J               NY         10722102         WEITZ & LUXENBERG, PC                                PETTIT               WILLIAM               NY         11871701         WEITZ & LUXENBERG, PC
PETERSON             JOAN                  NY         10996100         WEITZ & LUXENBERG, PC                                PETTIT               WILLIAM               NY         01111233         WEITZ & LUXENBERG, PC
PETERSON             JOHNNY                NY         CV013921         WEITZ & LUXENBERG, PC                                PETTUS               JULIA                 NY         1900812017       WEITZ & LUXENBERG, PC
PETERSON             KARL D                NY         10696502         WEITZ & LUXENBERG, PC                                PETTUS               RICHARD E             NY         1900812017       WEITZ & LUXENBERG, PC
PETERSON             KARL D                NY         11127802         WEITZ & LUXENBERG, PC                                PETTUS               SHERRY ANN            NY         01CIV3900        WEITZ & LUXENBERG, PC
PETERSON             LOUISE                NY         10996200         WEITZ & LUXENBERG, PC                                PETTUS               THOMAS JEFF           NY         01CIV3900        WEITZ & LUXENBERG, PC
PETERSON             MARGARET              NY         10740402         WEITZ & LUXENBERG, PC                                PETTY                ELIJAH                NY         CV025685         WEITZ & LUXENBERG, PC
PETERSON             PETER JR              NY         10996200         WEITZ & LUXENBERG, PC                                PETTY                VERSIE                NY         CV025685         WEITZ & LUXENBERG, PC
PETERSON             RAYMOND E             NY         10996100         WEITZ & LUXENBERG, PC                                PETTYS               HOWARD R              NY         10648301         WEITZ & LUXENBERG, PC
PETERSON             SANDRA                NY         11127802         WEITZ & LUXENBERG, PC                                PETTYS               JEANNE                NY         10648301         WEITZ & LUXENBERG, PC
PETERSON             THERESA               NY         12100401         WEITZ & LUXENBERG, PC                                PEUSER               ANNA                  NY         12039701         WEITZ & LUXENBERG, PC
PETERSON             THERESA ANN           NY         10941101         WEITZ & LUXENBERG, PC                                PEUSER               GERALD                NY         12039701         WEITZ & LUXENBERG, PC
PETERSON             THOMAS R              NY         10740402         WEITZ & LUXENBERG, PC                                PEYCKE               VIRGINIA              NY         10648401         WEITZ & LUXENBERG, PC
PETRAGLIA            JOAN                  NY         10996000         WEITZ & LUXENBERG, PC                                PEYCKE               WILLIAM               NY         10648401         WEITZ & LUXENBERG, PC
PETRAGLIA            RICHARD               NY         10996000         WEITZ & LUXENBERG, PC                                PEYMANN              MARYLOU               NY         11158903         WEITZ & LUXENBERG, PC
PETRAI               JOAN                  NY         11272600         WEITZ & LUXENBERG, PC                                PEYMANN              MARYLOU               NY         11208203         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1031
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 366 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PEYMANN              THEODORE J            NY         11158903         WEITZ & LUXENBERG, PC                                PHILLIPS             REBECCA A             NY         19049411         WEITZ & LUXENBERG, PC
PEYMANN              THEODORE J            NY         11208203         WEITZ & LUXENBERG, PC                                PHILLIPS             RICHARD               NY         99102536         WEITZ & LUXENBERG, PC
PEYTON               ALBERT                NY         11789600         WEITZ & LUXENBERG, PC                                PHILLIPS             RICHARD               NY         10965002         WEITZ & LUXENBERG, PC
PEYTON               ALBERT W              NY         11789600         WEITZ & LUXENBERG, PC                                PHILLIPS             ROBERT A              NY         19049411         WEITZ & LUXENBERG, PC
PEYTON               NORA JANE             NY         11789600         WEITZ & LUXENBERG, PC                                PHILLIPS             SHERRY                NY         10716902         WEITZ & LUXENBERG, PC
PFAFF                SUZANNE               NY         10618201         WEITZ & LUXENBERG, PC                                PHILLIPS             SUZANNE M             NY         10965002         WEITZ & LUXENBERG, PC
PFAFFENBACH          KATHY                 NY         10871001         WEITZ & LUXENBERG, PC                                PHILLIPS             THEODORE              NY         10647701         WEITZ & LUXENBERG, PC
PFAFFENBACH          RAYMOND J             NY         10871001         WEITZ & LUXENBERG, PC                                PHILLIPS             TOLBIE JAY            NY         CV025685         WEITZ & LUXENBERG, PC
PFEIFER              GEORGE E              NY         10995700         WEITZ & LUXENBERG, PC                                PHILLIPS             TONI                  NY         02116177         WEITZ & LUXENBERG, PC
PFEIFER              JACQUELINE            NY         10995700         WEITZ & LUXENBERG, PC                                PHILLIPS             VICKI KAREN           NY         01CIV3900        WEITZ & LUXENBERG, PC
PFEIFFER             FREDRICK              NY         01111222         WEITZ & LUXENBERG, PC                                PHIPPS               DONNIE                NY         1903422013       WEITZ & LUXENBERG, PC
PFEIFFER             JEANNETTE             NY         01111222         WEITZ & LUXENBERG, PC                                PHIPPS               EDNA                  NY         1903422013       WEITZ & LUXENBERG, PC
PFEIFFER             MIRIAM                NY         99102340         WEITZ & LUXENBERG, PC                                PIANKA               DONALD F              NY         11377600         WEITZ & LUXENBERG, PC
PFEIFFER             ROBERT C              NY         99102340         WEITZ & LUXENBERG, PC                                PIANKA               LESLIE                NY         11377600         WEITZ & LUXENBERG, PC
PFEIL                ROBERT                NY         10716702         WEITZ & LUXENBERG, PC                                PIASCIK              CATHERINE             NY         11789700         WEITZ & LUXENBERG, PC
PHARO                ANTHONY               NY         10648501         WEITZ & LUXENBERG, PC                                PIASCIK              HENRY J               NY         11789700         WEITZ & LUXENBERG, PC
PHARO                BARBARA               NY         10648501         WEITZ & LUXENBERG, PC                                PIASTA               CINDY                 NY         11377700         WEITZ & LUXENBERG, PC
PHAROAH              RUTH MARY             NY         12788702         WEITZ & LUXENBERG, PC                                PIASTA               MICHAEL               NY         11377700         WEITZ & LUXENBERG, PC
PHAROAH              RUTH MARY             NY         10218803         WEITZ & LUXENBERG, PC                                PIATKO               BARBARA A             NY         12668502         WEITZ & LUXENBERG, PC
PHAROAH              WALTER                NY         12788702         WEITZ & LUXENBERG, PC                                PIATKO               JOHN W                NY         12668502         WEITZ & LUXENBERG, PC
PHAROAH              WALTER                NY         10218803         WEITZ & LUXENBERG, PC                                PIAZZA               JAMES T               NY         10722002         WEITZ & LUXENBERG, PC
PHARRIS              CONNIE                NY         1903542017       WEITZ & LUXENBERG, PC                                PIAZZA               JOSEPH P              NY         99102534         WEITZ & LUXENBERG, PC
PHARRIS              MARK                  NY         1903542017       WEITZ & LUXENBERG, PC                                PIAZZA               MILDRED               NY         99102534         WEITZ & LUXENBERG, PC
PHELAN               DOROTHY               NY         99102338         WEITZ & LUXENBERG, PC                                PIAZZA               PATRICIA              NY         02106709         WEITZ & LUXENBERG, PC
PHELAN               GEORGE F              NY         99102338         WEITZ & LUXENBERG, PC                                PIAZZA               PATRICIA              NY         11551902         WEITZ & LUXENBERG, PC
PHELKA               ANTONETTE             NY         10995500         WEITZ & LUXENBERG, PC                                PIAZZA               ROSE M                NY         10722002         WEITZ & LUXENBERG, PC
PHELKA               KENNETH               NY         10995500         WEITZ & LUXENBERG, PC                                PIAZZA               WILLIAM J             NY         CV015814         WEITZ & LUXENBERG, PC
PHELKA               STANLEY               NY         10995500         WEITZ & LUXENBERG, PC                                PICATAGGI            ANTONIO               NY         11123101         WEITZ & LUXENBERG, PC
PHELPS               EDWARD                NY         1901252017       WEITZ & LUXENBERG, PC                                PICATAGGI            JOSEPHINE             NY         11123101         WEITZ & LUXENBERG, PC
PHELPS               JOHN M                NY         10669502         WEITZ & LUXENBERG, PC                                PICCIANO             MICHAEL A             NY         12253401         WEITZ & LUXENBERG, PC
PHELPS               PATRICIA              NY         12306601         WEITZ & LUXENBERG, PC                                PICCIANO             MICHAEL A             NY         01111226         WEITZ & LUXENBERG, PC
PHELPS               PATRICIA              NY         01111230         WEITZ & LUXENBERG, PC                                PICCIANO             PATRICIA              NY         12253401         WEITZ & LUXENBERG, PC
PHELPS               SHARON                NY         10669502         WEITZ & LUXENBERG, PC                                PICCIANO             PATRICIA              NY         01111226         WEITZ & LUXENBERG, PC
PHELPS               WENDY                 NY         1901252017       WEITZ & LUXENBERG, PC                                PICCINICH            ALFONSO               NY         10871001         WEITZ & LUXENBERG, PC
PHILBIN              MURIEL M              NY         11123101         WEITZ & LUXENBERG, PC                                PICCINICH            CAROLINA              NY         10871001         WEITZ & LUXENBERG, PC
PHILBIN              WILLIAM G             NY         11123101         WEITZ & LUXENBERG, PC                                PICCINICH            STEFANO               NY         1900852017       WEITZ & LUXENBERG, PC
PHILIPPS             JAMES                 NY         01111228         WEITZ & LUXENBERG, PC                                PICCININNO           ANGELO                NY         10995200         WEITZ & LUXENBERG, PC
PHILLIP              HARRY                 NY         99102540         WEITZ & LUXENBERG, PC                                PICCININNO           ANNA                  NY         10995200         WEITZ & LUXENBERG, PC
PHILLIPS             ABRAM                 NY         10696402         WEITZ & LUXENBERG, PC                                PICCIONE             JEAN                  NY         12039901         WEITZ & LUXENBERG, PC
PHILLIPS             ANDREW                NY         01CIV3900        WEITZ & LUXENBERG, PC                                PICCIONE             JOSEPH M              NY         12039901         WEITZ & LUXENBERG, PC
PHILLIPS             ANNA                  NY         CV020069         WEITZ & LUXENBERG, PC                                PICCIOTTO            BENEDICT              NY         10253299         WEITZ & LUXENBERG, PC
PHILLIPS             BARBARA M             NY         01CIV3900        WEITZ & LUXENBERG, PC                                PICCIOTTO            ROSE                  NY         10253299         WEITZ & LUXENBERG, PC
PHILLIPS             BRENDA A              NY         10587502         WEITZ & LUXENBERG, PC                                PICCIRILLO           GABRIELLA             NY         11546401         WEITZ & LUXENBERG, PC
PHILLIPS             CAROLINE              NY         10648001         WEITZ & LUXENBERG, PC                                PICCIRILLO           JOHN M                NY         11546401         WEITZ & LUXENBERG, PC
PHILLIPS             CLAUDIE RAY           NY         CV020069         WEITZ & LUXENBERG, PC                                PICCOLINO            ARCANGELA             NY         1901862016       WEITZ & LUXENBERG, PC
PHILLIPS             DAVID WAYNE           NY         CV015680         WEITZ & LUXENBERG, PC                                PICCOLINO            MARIO                 NY         1901862016       WEITZ & LUXENBERG, PC
PHILLIPS             DON WYMON             NY         CV025685         WEITZ & LUXENBERG, PC                                PICCONI              ELSIE                 NY         10995100         WEITZ & LUXENBERG, PC
PHILLIPS             DORIS                 NY         CV025685         WEITZ & LUXENBERG, PC                                PICCONI              LOUIS F               NY         10995100         WEITZ & LUXENBERG, PC
PHILLIPS             DUANE A               NY         10699902         WEITZ & LUXENBERG, PC                                PICINICH             ANNA                  NY         19039509         WEITZ & LUXENBERG, PC
PHILLIPS             DUANE A               NY         11134402         WEITZ & LUXENBERG, PC                                PICINICH             IVAN                  NY         19039509         WEITZ & LUXENBERG, PC
PHILLIPS             EDWARD                NY         1902322013       WEITZ & LUXENBERG, PC                                PICINICH             NIKOLINA              NY         11641601         WEITZ & LUXENBERG, PC
PHILLIPS             EDWARD S              NY         10648001         WEITZ & LUXENBERG, PC                                PICINICH             NIKOLINA              NY         01111219         WEITZ & LUXENBERG, PC
PHILLIPS             EVELYN                NY         10127807         WEITZ & LUXENBERG, PC                                PICINICS             NIKOLA                NY         11641601         WEITZ & LUXENBERG, PC
PHILLIPS             FRANCES               NY         10648101         WEITZ & LUXENBERG, PC                                PICINICS             NIKOLA                NY         01111219         WEITZ & LUXENBERG, PC
PHILLIPS             FREDERICK             NY         10127807         WEITZ & LUXENBERG, PC                                PICKARD              DAVID LEWIS           NY         01CIV3922        WEITZ & LUXENBERG, PC
PHILLIPS             FREIDA                NY         CV025685         WEITZ & LUXENBERG, PC                                PICKARD              ELVENE M              NY         01840            WEITZ & LUXENBERG, PC
PHILLIPS             HARRY R               NY         10995400         WEITZ & LUXENBERG, PC                                PICKARD              JAMES E               NY         I200110003       WEITZ & LUXENBERG, PC
PHILLIPS             JAMES                 NY         10648101         WEITZ & LUXENBERG, PC                                PICKARD              JAMES E               NY         02120709         WEITZ & LUXENBERG, PC
PHILLIPS             JAMES H               NY         10716902         WEITZ & LUXENBERG, PC                                PICKARD              JANICE                NY         01CIV3922        WEITZ & LUXENBERG, PC
PHILLIPS             JIM                   NY         01CIV3900        WEITZ & LUXENBERG, PC                                PICKARD              NORMA S               NY         I200110003       WEITZ & LUXENBERG, PC
PHILLIPS             JOAN D                NY         12788702         WEITZ & LUXENBERG, PC                                PICKARD              NORMA S               NY         02120709         WEITZ & LUXENBERG, PC
PHILLIPS             JOSEPH                NY         10995300         WEITZ & LUXENBERG, PC                                PICKARD              PAUL E                NY         01840            WEITZ & LUXENBERG, PC
PHILLIPS             JOSEPH                NY         12788702         WEITZ & LUXENBERG, PC                                PICKERING            JAMES L               NY         10571702         WEITZ & LUXENBERG, PC
PHILLIPS             LINDA                 NY         10995400         WEITZ & LUXENBERG, PC                                PICKETT              CARL                  NY         10647801         WEITZ & LUXENBERG, PC
PHILLIPS             LINDA LEE             NY         CV015680         WEITZ & LUXENBERG, PC                                PICKETT              CHRISTINA             NY         10669502         WEITZ & LUXENBERG, PC
PHILLIPS             MARK STEVEN           NY         110565           WEITZ & LUXENBERG, PC                                PICKETT              JOHN B                NY         10287903         WEITZ & LUXENBERG, PC
PHILLIPS             MARK STEVEN           NY         12448902         WEITZ & LUXENBERG, PC                                PICKETT              WILLIAM F             NY         10669502         WEITZ & LUXENBERG, PC
PHILLIPS             MARYANNE              NY         10647701         WEITZ & LUXENBERG, PC                                PICKETT              WILLIAM M             NY         10074103         WEITZ & LUXENBERG, PC
PHILLIPS             PATRICIA              NY         99102536         WEITZ & LUXENBERG, PC                                PICKETT              WILLIAM M             NY         10287903         WEITZ & LUXENBERG, PC
PHILLIPS             PATTY                 NY         10696402         WEITZ & LUXENBERG, PC                                PICOGNA              CHARLES               NY         99102531         WEITZ & LUXENBERG, PC
PHILLIPS             RAY W                 NY         10587502         WEITZ & LUXENBERG, PC                                PICOGNA              DELORES               NY         99102531         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1032
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 367 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PICONE               IGNAZIO J             NY         11562501         WEITZ & LUXENBERG, PC                                PIKE                 JIMMIE                NY         1904582012       WEITZ & LUXENBERG, PC
PICONE               IGNAZIO J             NY         01111218         WEITZ & LUXENBERG, PC                                PIKE                 WALTER                NY         1904582012       WEITZ & LUXENBERG, PC
PICONE               JOHN                  NY         11562501         WEITZ & LUXENBERG, PC                                PILCHER              ERNASTINE             NY         10740502         WEITZ & LUXENBERG, PC
PICONE               JOHN                  NY         01111218         WEITZ & LUXENBERG, PC                                PILCHER              JIMMIE L              NY         10740502         WEITZ & LUXENBERG, PC
PICONE               NANCY                 NY         11123101         WEITZ & LUXENBERG, PC                                PINELLO              DOMENICO              NY         12038901         WEITZ & LUXENBERG, PC
PICONE               NANCY                 NY         12058101         WEITZ & LUXENBERG, PC                                PINELLO              FRANCESCO             NY         11027002         WEITZ & LUXENBERG, PC
PIDANICK             NICHOLAS              NY         8078392019       WEITZ & LUXENBERG, PC                                PINELLO              LENA                  NY         11027002         WEITZ & LUXENBERG, PC
PIDANICK             NICHOLAS              NY         10740002         WEITZ & LUXENBERG, PC                                PINELLO              SIMONA                NY         12038901         WEITZ & LUXENBERG, PC
PIDANICK             SANDRA                NY         8078392019       WEITZ & LUXENBERG, PC                                PINIELLA             ELLEN                 NY         10024408         WEITZ & LUXENBERG, PC
PIDANICK             SANDRA                NY         10740002         WEITZ & LUXENBERG, PC                                PINIELLA             ERNEST                NY         10024408         WEITZ & LUXENBERG, PC
PIDGEON              JOHN                  NY         1902872016       WEITZ & LUXENBERG, PC                                PINIEWSKI            EDWARD J              NY         10722002         WEITZ & LUXENBERG, PC
PIDGEON              LADINE                NY         1902872016       WEITZ & LUXENBERG, PC                                PINIEWSKI            SHIRLEY               NY         10722002         WEITZ & LUXENBERG, PC
PIDGEON              LAWRENCE G            NY         10253099         WEITZ & LUXENBERG, PC                                PINKOWSKI            BARBARA               NY         10996600         WEITZ & LUXENBERG, PC
PIDGEON              TERRENCE D            NY         10253099         WEITZ & LUXENBERG, PC                                PINKOWSKI            ROBERT H              NY         10996600         WEITZ & LUXENBERG, PC
PIECHACZEK           FLORENCE              NY         I200110551       WEITZ & LUXENBERG, PC                                PINNETTE             DOLORES CARMEL        NY         11789800         WEITZ & LUXENBERG, PC
PIECHACZEK           FLORENCE              NY         02120709         WEITZ & LUXENBERG, PC                                PINNETTE             RICHARD               NY         11789800         WEITZ & LUXENBERG, PC
PIECHACZEK           PAUL                  NY         I200110551       WEITZ & LUXENBERG, PC                                PINQUE               MARIA                 NY         10647401         WEITZ & LUXENBERG, PC
PIECHACZEK           PAUL                  NY         02120709         WEITZ & LUXENBERG, PC                                PINQUE               PALMINO               NY         10647401         WEITZ & LUXENBERG, PC
PIECZYNSKI           CHRISTINE A           NY         10252999         WEITZ & LUXENBERG, PC                                PINTO                ANGELA                NY         11378000         WEITZ & LUXENBERG, PC
PIECZYNSKI           HENRY                 NY         10252999         WEITZ & LUXENBERG, PC                                PINTO                LUIGI                 NY         11378000         WEITZ & LUXENBERG, PC
PIEDMONT             PETER J               NY         11156404         WEITZ & LUXENBERG, PC                                PINYUH               GEORGE                NY         11556103         WEITZ & LUXENBERG, PC
PIELECHOWSKI         HENRY                 NY         10700303         WEITZ & LUXENBERG, PC                                PINYUH               SUSANNA               NY         11556103         WEITZ & LUXENBERG, PC
PIELECHOWSKI         KENNETH               NY         10700303         WEITZ & LUXENBERG, PC                                PIONTKOWSKI          KAREN J               NY         10716902         WEITZ & LUXENBERG, PC
PIENIAZEK            GENEVIEVE             NY         99120307         WEITZ & LUXENBERG, PC                                PIONTKOWSKI          KAREN J               NY         11213902         WEITZ & LUXENBERG, PC
PIENIAZEK            STANLEY               NY         99120307         WEITZ & LUXENBERG, PC                                PIONTKOWSKI          LEONARD JOHN          NY         10716902         WEITZ & LUXENBERG, PC
PIENTA               CAROLYN               NY         10571702         WEITZ & LUXENBERG, PC                                PIONTKOWSKI          LEONARD JOHN          NY         11213902         WEITZ & LUXENBERG, PC
PIENTA               JOHN J                NY         10571702         WEITZ & LUXENBERG, PC                                PIOTROVSKY           ALFRED G              NY         1901242019       WEITZ & LUXENBERG, PC
PIEPKE               HEINRICH O            NY         I200110597       WEITZ & LUXENBERG, PC                                PIOTROVSKY           CAROLE                NY         1901242019       WEITZ & LUXENBERG, PC
PIEPKE               NICOLE                NY         I200110597       WEITZ & LUXENBERG, PC                                PIPE                 DAVID O               NY         10740202         WEITZ & LUXENBERG, PC
PIEPRZYK             GERALD ARTHUR         NY         10587402         WEITZ & LUXENBERG, PC                                PIPERSBOUGH          GERVIN                NY         01118262         WEITZ & LUXENBERG, PC
PIERCE               BARBARA JEAN          NY         01CIV3922        WEITZ & LUXENBERG, PC                                PIPPARD              BARBARA               NY         10647501         WEITZ & LUXENBERG, PC
PIERCE               CARL E                NY         CV015518         WEITZ & LUXENBERG, PC                                PIPPARD              GORDON C              NY         12788802         WEITZ & LUXENBERG, PC
PIERCE               CLIFFORD              NY         01CIV3922        WEITZ & LUXENBERG, PC                                PIPPARD              MILDRED               NY         10074103         WEITZ & LUXENBERG, PC
PIERCE               DEE W                 NY         10995000         WEITZ & LUXENBERG, PC                                PIPPARD              RICHARD H             NY         10647501         WEITZ & LUXENBERG, PC
PIERCE               ELLEN M               NY         10995000         WEITZ & LUXENBERG, PC                                PIPPARD              WILLIAM               NY         10074103         WEITZ & LUXENBERG, PC
PIERCE               ELLEN M               NY         10997000         WEITZ & LUXENBERG, PC                                PIPPENS              HARPER                NY         10996500         WEITZ & LUXENBERG, PC
PIERCE               IRENE                 NY         10996900         WEITZ & LUXENBERG, PC                                PIRATO               MICHAEL               NY         10996400         WEITZ & LUXENBERG, PC
PIERCE               JAMES ALTON           NY         CV025685         WEITZ & LUXENBERG, PC                                PIRONTI              DOMINIC               NY         10996300         WEITZ & LUXENBERG, PC
PIERCE               JAMES F               NY         11123103         WEITZ & LUXENBERG, PC                                PIRONTI              ROSEANN               NY         10996300         WEITZ & LUXENBERG, PC
PIERCE               JOHN M                NY         10997000         WEITZ & LUXENBERG, PC                                PIROS                JOHN E                NY         02105716         WEITZ & LUXENBERG, PC
PIERCE               KENNETH               NY         99120298         WEITZ & LUXENBERG, PC                                PIROWSKI             JOSEPH MICHAEL        NY         10292899         WEITZ & LUXENBERG, PC
PIERCE               LEAUTRY GENE          NY         01CIV3922        WEITZ & LUXENBERG, PC                                PIROWSKI             PATRICIA A            NY         10292899         WEITZ & LUXENBERG, PC
PIERCE               MAUDE E               NY         CV025685         WEITZ & LUXENBERG, PC                                PIRRI                FRANK D               NY         02106508         WEITZ & LUXENBERG, PC
PIERCE               ROBERT                NY         10996900         WEITZ & LUXENBERG, PC                                PIRRI                FRANK D               NY         11077002         WEITZ & LUXENBERG, PC
PIERCE               ROGER                 NY         10647901         WEITZ & LUXENBERG, PC                                PIRRI                FRANK D JR            NY         02106508         WEITZ & LUXENBERG, PC
PIERCE               VENETIA F             NY         99120298         WEITZ & LUXENBERG, PC                                PIRRI                FRANK D JR            NY         11077002         WEITZ & LUXENBERG, PC
PIERCE               VIVIAN P              NY         10587002         WEITZ & LUXENBERG, PC                                PIRRI                MARGUERITE            NY         02106508         WEITZ & LUXENBERG, PC
PIERETTI             ANGSES                NY         01111236         WEITZ & LUXENBERG, PC                                PIRRI                MARGUERITE            NY         11077002         WEITZ & LUXENBERG, PC
PIERETTI             WILLIAM               NY         01111236         WEITZ & LUXENBERG, PC                                PISANO               ANTHONY               NY         12039301         WEITZ & LUXENBERG, PC
PIERSON              CLEVELAND             NY         I20068628        WEITZ & LUXENBERG, PC                                PISANO               ETTA                  NY         10997200         WEITZ & LUXENBERG, PC
PIERSON              ELEANOR               NY         I20068628        WEITZ & LUXENBERG, PC                                PISANO               GAETANO               NY         10997100         WEITZ & LUXENBERG, PC
PIETRANGOLARE        FRANK                 NY         02113565         WEITZ & LUXENBERG, PC                                PISANO               GIOVANNI Z            NY         1902942012       WEITZ & LUXENBERG, PC
PIETRANGOLARE        LEANNE                NY         02113565         WEITZ & LUXENBERG, PC                                PISANO               GRACE                 NY         12039301         WEITZ & LUXENBERG, PC
PIETRANTUONO         JOHN B                NY         12433902         WEITZ & LUXENBERG, PC                                PISANO               LOUIS                 NY         10997200         WEITZ & LUXENBERG, PC
PIETRANTUONO         JOHN B                NY         10196003         WEITZ & LUXENBERG, PC                                PISANO               RACHEL                NY         1902942012       WEITZ & LUXENBERG, PC
PIETRANTUONO         JOSEPH F              NY         12433902         WEITZ & LUXENBERG, PC                                PISANO               VINCENZA              NY         10997100         WEITZ & LUXENBERG, PC
PIETRANTUONO         JOSEPH F              NY         10196003         WEITZ & LUXENBERG, PC                                PISCIOTTA            BARTOLA MARIA         NY         02107005         WEITZ & LUXENBERG, PC
PIETROCARLO          ANTHONY               NY         99102527         WEITZ & LUXENBERG, PC                                PISCIOTTA            JOSEPH J              NY         02107005         WEITZ & LUXENBERG, PC
PIETROCARLO          MARY LUCY             NY         99102527         WEITZ & LUXENBERG, PC                                PISCOPO              ALBERT J              NY         12433902         WEITZ & LUXENBERG, PC
PIETRZAK             EILEEN                NY         10252699         WEITZ & LUXENBERG, PC                                PISCOPO              LOIS A                NY         12433902         WEITZ & LUXENBERG, PC
PIETRZAK             ROBERT V              NY         10252699         WEITZ & LUXENBERG, PC                                PISCULLI             CAROLYN               NY         10997300         WEITZ & LUXENBERG, PC
PIETSCH              DONALD K              NY         02106694         WEITZ & LUXENBERG, PC                                PISCULLI             VINCENT P             NY         10997300         WEITZ & LUXENBERG, PC
PIETSCH              MARY                  NY         02106694         WEITZ & LUXENBERG, PC                                PITA                 BERNARD               NY         99102927         WEITZ & LUXENBERG, PC
PIGNATARO            JENNIFER              NY         19011708         WEITZ & LUXENBERG, PC                                PITCHER              INGRID                NY         1902672019       WEITZ & LUXENBERG, PC
PIGOTT               ROSEMARY              NY         10996800         WEITZ & LUXENBERG, PC                                PITCHER              PAUL E                NY         1902672019       WEITZ & LUXENBERG, PC
PIGOTT               THOMAS M              NY         10996800         WEITZ & LUXENBERG, PC                                PITEO                JEANNE                NY         11125800         WEITZ & LUXENBERG, PC
PIGULA               WILLIAM               NY         11377900         WEITZ & LUXENBERG, PC                                PITTARELLI           ALBERT                NY         11522103         WEITZ & LUXENBERG, PC
PIKAS                HARRY                 NY         10702700         WEITZ & LUXENBERG, PC                                PITTARELLI           STELLA                NY         11522103         WEITZ & LUXENBERG, PC
PIKAS                ROKSOLANA             NY         10702700         WEITZ & LUXENBERG, PC                                PITTEL               GARY                  NY         12693702         WEITZ & LUXENBERG, PC
PIKE                 ELIZABETH J           NY         10996700         WEITZ & LUXENBERG, PC                                PITTELLA             ALFRED                NY         10647601         WEITZ & LUXENBERG, PC
PIKE                 JAMES R               NY         10996700         WEITZ & LUXENBERG, PC                                PITTELLA             EDA                   NY         10647601         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1033
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 368 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PITTMAN              EARL                  NY         10646401         WEITZ & LUXENBERG, PC                                PLUMADORE            FREDERICK E           NY         99102921         WEITZ & LUXENBERG, PC
PITTMAN              MONROE JR             NY         00CIV3589        WEITZ & LUXENBERG, PC                                PLUMADORE            JOAN                  NY         99102921         WEITZ & LUXENBERG, PC
PITTMAN              SHELIA                NY         10646401         WEITZ & LUXENBERG, PC                                PLUMADORE            ROBERT H              NY         10696402         WEITZ & LUXENBERG, PC
PITTORF              WARREN RICHARD        NY         10696302         WEITZ & LUXENBERG, PC                                PLUMARI              GRAZIA                NY         01111224         WEITZ & LUXENBERG, PC
PITTS                ARON                  NY         10292699         WEITZ & LUXENBERG, PC                                PLUMARI              ROSARIO               NY         01111224         WEITZ & LUXENBERG, PC
PITTS                CLAUDIA               NY         CV011749         WEITZ & LUXENBERG, PC                                PLUMB                KENNETH J             NY         02106578         WEITZ & LUXENBERG, PC
PITTS                DANIEL S              NY         02106692         WEITZ & LUXENBERG, PC                                PLUMERI              DEBORAH               NY         11428400         WEITZ & LUXENBERG, PC
PITTS                JAMES CARTER          NY         CV011749         WEITZ & LUXENBERG, PC                                PLUMITALLO           THOMAS                NY         1903562018       WEITZ & LUXENBERG, PC
PITTS                PRISCILLA             NY         10292699         WEITZ & LUXENBERG, PC                                PLUMMER              ELIZABETH             NY         10997900         WEITZ & LUXENBERG, PC
PITTSLEY             WILLIAM F             NY         10700905         WEITZ & LUXENBERG, PC                                PLUMMER              PHILIP                NY         10997900         WEITZ & LUXENBERG, PC
PIUREK               LINDA                 NY         10646601         WEITZ & LUXENBERG, PC                                PLUNKETT             HERBERT A             NY         10722002         WEITZ & LUXENBERG, PC
PIUREK               RONALD                NY         10646601         WEITZ & LUXENBERG, PC                                PLUNKETT             THELMA                NY         10722002         WEITZ & LUXENBERG, PC
PIWOWARCZYK          HENRY R               NY         10991500         WEITZ & LUXENBERG, PC                                PLYMALE              ANSEL                 NY         10646801         WEITZ & LUXENBERG, PC
PIWOWARCZYK          JOSEPHINE L           NY         10991500         WEITZ & LUXENBERG, PC                                PLYMALE              BARBARA               NY         10646801         WEITZ & LUXENBERG, PC
PIZZA                EDWARD                NY         10292499         WEITZ & LUXENBERG, PC                                POBORCZAK            FRANCES               NY         10998000         WEITZ & LUXENBERG, PC
PIZZA                ROBERTA               NY         10292499         WEITZ & LUXENBERG, PC                                POBORCZAK            RICHARD               NY         10998000         WEITZ & LUXENBERG, PC
PIZZINI              MARIO                 NY         01111222         WEITZ & LUXENBERG, PC                                POCHILY              DAVID                 NY         12801902         WEITZ & LUXENBERG, PC
PIZZUTO              DONALD A              NY         10702800         WEITZ & LUXENBERG, PC                                POCHRON              DEBORAH               NY         10998200         WEITZ & LUXENBERG, PC
PLACE                OLIVER L              NY         10722202         WEITZ & LUXENBERG, PC                                POCHRON              PAUL Z                NY         10998200         WEITZ & LUXENBERG, PC
PLACE                PEGGY                 NY         11303100         WEITZ & LUXENBERG, PC                                PODANY               ELTON C               NY         1900652013       WEITZ & LUXENBERG, PC
PLACE                VIRGINIA              NY         10722202         WEITZ & LUXENBERG, PC                                PODANY               TERESSA               NY         1900652013       WEITZ & LUXENBERG, PC
PLACEK               IRENE                 NY         02106709         WEITZ & LUXENBERG, PC                                PODD                 ARNOLD                NY         11375800         WEITZ & LUXENBERG, PC
PLACEK               JULIAN P              NY         02106709         WEITZ & LUXENBERG, PC                                PODDANY              DENNIS                NY         10587502         WEITZ & LUXENBERG, PC
PLANDOWSKI           ALFRED W              NY         10716802         WEITZ & LUXENBERG, PC                                PODKOWA              MICHAEL               NY         10793702         WEITZ & LUXENBERG, PC
PLANDOWSKI           CONSTANCE             NY         10716802         WEITZ & LUXENBERG, PC                                PODKOWA              ZIGMUND               NY         10793702         WEITZ & LUXENBERG, PC
PLANETA              ELIZABETH             NY         10997700         WEITZ & LUXENBERG, PC                                PODOLA               JOHN P                NY         12693402         WEITZ & LUXENBERG, PC
PLANETA              JOHN G                NY         10997700         WEITZ & LUXENBERG, PC                                PODOLA               RITA T                NY         12693402         WEITZ & LUXENBERG, PC
PLANKEY              LORRAINE              NY         11230003         WEITZ & LUXENBERG, PC                                PODOLSKI             STANLEY W             NY         10295099         WEITZ & LUXENBERG, PC
PLANKEY              LOUIS                 NY         11230003         WEITZ & LUXENBERG, PC                                PODWYSZYUSKI         JOSEPH ROBERT         NY         10716702         WEITZ & LUXENBERG, PC
PLANTE               BERNARD R             NY         1904322014       WEITZ & LUXENBERG, PC                                POGGE                HORST                 NY         11295302         WEITZ & LUXENBERG, PC
PLANTE               ROGER A               NY         10699902         WEITZ & LUXENBERG, PC                                POGGE                PATRICIA              NY         11295302         WEITZ & LUXENBERG, PC
PLANTE               RONALD G              NY         1904322014       WEITZ & LUXENBERG, PC                                POGORZELSKI          RAYMOND               NY         10701005         WEITZ & LUXENBERG, PC
PLANTT               TAMARA                NY         02106692         WEITZ & LUXENBERG, PC                                POGORZELSKI          SANDRA R              NY         10701005         WEITZ & LUXENBERG, PC
PLANTT               WALTER F              NY         02106692         WEITZ & LUXENBERG, PC                                POHANCSEK            EUGENE L              NY         12090000         WEITZ & LUXENBERG, PC
PLANTY               BERNICE               NY         10539102         WEITZ & LUXENBERG, PC                                POHANCSEK            NANCY                 NY         12090000         WEITZ & LUXENBERG, PC
PLANTY               GERALD E              NY         10539102         WEITZ & LUXENBERG, PC                                POIDOMANI            SARA                  NY         12057003         WEITZ & LUXENBERG, PC
PLANTZ               BARBARA               NY         10646701         WEITZ & LUXENBERG, PC                                POIDOMANI            VINCENT               NY         12057003         WEITZ & LUXENBERG, PC
PLANTZ               JOHN E                NY         10646701         WEITZ & LUXENBERG, PC                                POINDEXTER           GLORIA J              NY         10755801         WEITZ & LUXENBERG, PC
PLATE                ANNA                  NY         12039301         WEITZ & LUXENBERG, PC                                POIRIER              JAMES A               NY         10646901         WEITZ & LUXENBERG, PC
PLATE                JOHN                  NY         12039301         WEITZ & LUXENBERG, PC                                POIRIER              JEAN                  NY         12039901         WEITZ & LUXENBERG, PC
PLATER               JIMMY LEE             NY         CV013921         WEITZ & LUXENBERG, PC                                POIRIER              JOANN                 NY         10646901         WEITZ & LUXENBERG, PC
PLATER               JUANITA               NY         CV013921         WEITZ & LUXENBERG, PC                                POIRIER              ROBERT A              NY         12039901         WEITZ & LUXENBERG, PC
PLATIA               CHARLES J             NY         11123101         WEITZ & LUXENBERG, PC                                POKORSKI             DANIEL E              NY         99102951         WEITZ & LUXENBERG, PC
PLATIA               MARIE                 NY         11123101         WEITZ & LUXENBERG, PC                                POKORSKI             FRANCIS               NY         I200110251       WEITZ & LUXENBERG, PC
PLATT                ANDREW T              NY         99102923         WEITZ & LUXENBERG, PC                                POKORSKI             FRANCIS               NY         02122050         WEITZ & LUXENBERG, PC
PLATT                LYNN                  NY         99102923         WEITZ & LUXENBERG, PC                                POKORSKI             RAYMOND               NY         I200110251       WEITZ & LUXENBERG, PC
PLAUS                DAVID                 NY         10834301         WEITZ & LUXENBERG, PC                                POKORSKI             RAYMOND               NY         02122050         WEITZ & LUXENBERG, PC
PLAUS                PHYLLIS               NY         10834301         WEITZ & LUXENBERG, PC                                POKORSKI             SOPHIE                NY         99102951         WEITZ & LUXENBERG, PC
PLAYER               JOSEPH E              NY         CV041395         WEITZ & LUXENBERG, PC                                POLACCO              FRANK                 NY         10647001         WEITZ & LUXENBERG, PC
PLAYER               MARY                  NY         CV041395         WEITZ & LUXENBERG, PC                                POLAK                DIANNA                NY         02106690         WEITZ & LUXENBERG, PC
PLAYER               SANDRA LYNN           NY         CV041395         WEITZ & LUXENBERG, PC                                POLAK                JESSE                 NY         02106690         WEITZ & LUXENBERG, PC
PLEDGER              GEORGE W              NY         00CIV3589        WEITZ & LUXENBERG, PC                                POLAKIEWICZ          JOSEPH S              NY         99102918         WEITZ & LUXENBERG, PC
PLEDGER              OLLIE                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                POLAKIEWICZ          ROSALIE J             NY         99102918         WEITZ & LUXENBERG, PC
PLENCA               DRAGUTIN              NY         10292299         WEITZ & LUXENBERG, PC                                POLANIN              DUNCAN                NJ         MIDL00097013AS   WEITZ & LUXENBERG, PC
PLENCA               GORDANA               NY         10292299         WEITZ & LUXENBERG, PC                                POLANIN              URSULA                NJ         MIDL00097013AS   WEITZ & LUXENBERG, PC
PLESTIS              BETTY                 NY         12668502         WEITZ & LUXENBERG, PC                                POLANSKY             ABRAHAM               NY         11368704         WEITZ & LUXENBERG, PC
PLESTIS              PETER F               NY         12668502         WEITZ & LUXENBERG, PC                                POLANSKY             LILLIAN               NY         11368704         WEITZ & LUXENBERG, PC
PLOOF                ANN                   NY         10696402         WEITZ & LUXENBERG, PC                                POLASIK              CLEMENT O             NY         10074103         WEITZ & LUXENBERG, PC
PLOOF                FAY                   NY         10696402         WEITZ & LUXENBERG, PC                                POLASIK              MARY ANN              NY         10074103         WEITZ & LUXENBERG, PC
PLOTNICK             ILEENE                NY         10997800         WEITZ & LUXENBERG, PC                                POLEN                AMOS                  NY         10090403         WEITZ & LUXENBERG, PC
PLOTNICK             MICHAEL               NY         10997800         WEITZ & LUXENBERG, PC                                POLESCHNER           BARBARA               NY         11327602         WEITZ & LUXENBERG, PC
PLOTNICK             MICHAEL MARVIN        NY         10997800         WEITZ & LUXENBERG, PC                                POLESCHNER           CARL F                NY         11327602         WEITZ & LUXENBERG, PC
PLOUCH               BETTY JANE            NY         01CIV3901        WEITZ & LUXENBERG, PC                                POLETOWSKI           ADAM J                NY         10587102         WEITZ & LUXENBERG, PC
PLOUCH               RALPH                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                POLICASTRO           CHARLES CARL          NY         99102917         WEITZ & LUXENBERG, PC
PLOURDE              ALFRED D              NY         10680602         WEITZ & LUXENBERG, PC                                POLICASTRO           MARIE ROSE            NY         99102917         WEITZ & LUXENBERG, PC
PLOURDE              BARBARA J             NY         10669102         WEITZ & LUXENBERG, PC                                POLICICCHIO          CARMINE               NY         12318601         WEITZ & LUXENBERG, PC
PLOURDE              JOHN                  NY         10669102         WEITZ & LUXENBERG, PC                                POLICICCHIO          CARMINE               NY         01111230         WEITZ & LUXENBERG, PC
PLOURDE              JOSEPH ALFRED         NY         02106578         WEITZ & LUXENBERG, PC                                POLICICCHIO          LUCIA                 NY         12318601         WEITZ & LUXENBERG, PC
PLOURDE              JOSEPH LEON           NY         10669102         WEITZ & LUXENBERG, PC                                POLICICCHIO          LUCIA                 NY         01111230         WEITZ & LUXENBERG, PC
PLOURDE              VALERIE               NY         10680602         WEITZ & LUXENBERG, PC                                POLIDORO             CARMINE               NY         01111229         WEITZ & LUXENBERG, PC
PLUMADORE            ALICE                 NY         10696402         WEITZ & LUXENBERG, PC                                POLIFRONE            DIANE                 NY         12039101         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1034
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 369 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

POLIKOFF             FRANCES               NY         12082397         WEITZ & LUXENBERG, PC                                PORCELLA             GEORGIA               NY         12038801         WEITZ & LUXENBERG, PC
POLIKOFF             LEONARD               NY         12082397         WEITZ & LUXENBERG, PC                                PORCELLA             JOHN Q                NY         11033003         WEITZ & LUXENBERG, PC
POLIMENI             JO ANN                NY         97123238         WEITZ & LUXENBERG, PC                                PORCELLA             ROBERT F              NY         12038801         WEITZ & LUXENBERG, PC
POLISANO             ANGELO J              NY         10696502         WEITZ & LUXENBERG, PC                                PORCELLA             ROGER                 NY         99102957         WEITZ & LUXENBERG, PC
POLIZZI              LOUIS                 NY         11375900         WEITZ & LUXENBERG, PC                                PORDAN               HELEN                 NY         I200110549       WEITZ & LUXENBERG, PC
POLIZZI              MARY                  NY         11375900         WEITZ & LUXENBERG, PC                                PORDAN               HELEN                 NY         02120709         WEITZ & LUXENBERG, PC
POLIZZI              PHILIP                NY         10658102         WEITZ & LUXENBERG, PC                                PORDAN               HELEN E               NY         I200110762       WEITZ & LUXENBERG, PC
POLIZZI              YOLA                  NY         10658102         WEITZ & LUXENBERG, PC                                PORDAN               HELEN E               NY         02120709         WEITZ & LUXENBERG, PC
POLK                 DONNIE K              NY         01CIV3900        WEITZ & LUXENBERG, PC                                PORDAN               JOHN                  NY         I200110762       WEITZ & LUXENBERG, PC
POLK                 SANDRA KAY            NY         01CIV3900        WEITZ & LUXENBERG, PC                                PORDAN               JOHN                  NY         02120709         WEITZ & LUXENBERG, PC
POLK                 SHARON                NY         99102916         WEITZ & LUXENBERG, PC                                PORDAN               JOHN F                NY         I200110549       WEITZ & LUXENBERG, PC
POLK                 WILLIAM HENRY         NY         99102916         WEITZ & LUXENBERG, PC                                PORDAN               JOHN F                NY         02120709         WEITZ & LUXENBERG, PC
POLLAN               ALICE                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                POROPAT              ANTHONY A             NY         10700002         WEITZ & LUXENBERG, PC
POLLAN               RUBEN                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                POROPAT              ANTHONY A             NY         11116502         WEITZ & LUXENBERG, PC
POLLARD              PATRICK               NY         12039601         WEITZ & LUXENBERG, PC                                POROPAT              VIOLETTA              NY         10700002         WEITZ & LUXENBERG, PC
POLLARO              ANTHONY J             NY         1900302015       WEITZ & LUXENBERG, PC                                POROPAT              VIOLETTA              NY         11116502         WEITZ & LUXENBERG, PC
POLLARO              LENORE                NY         1900302015       WEITZ & LUXENBERG, PC                                PORPORA              LINDA                 NY         11081001         WEITZ & LUXENBERG, PC
POLLEY               KATHLEEN              NY         6050252019       WEITZ & LUXENBERG, PC                                PORRELLO             MARGARET              NY         10703000         WEITZ & LUXENBERG, PC
POLLEY               RAYMOND J             NY         6050252019       WEITZ & LUXENBERG, PC                                PORRELLO             NORMAN                NY         10703000         WEITZ & LUXENBERG, PC
POLLICHINO           LUCY                  NY         10643901         WEITZ & LUXENBERG, PC                                PORTA                FREDERICK A           NY         1900342019       WEITZ & LUXENBERG, PC
POLLICHINO           MATTEO P              NY         10643901         WEITZ & LUXENBERG, PC                                PORTA                ROSE                  NY         1900342019       WEITZ & LUXENBERG, PC
POLLIFRONE           FRANK R               NY         12039101         WEITZ & LUXENBERG, PC                                PORTELLO             ALEXANDRA A           NY         12081099         WEITZ & LUXENBERG, PC
POLOSKEY             ELEANOR               NY         11710803         WEITZ & LUXENBERG, PC                                PORTELLO             ANTHONY J             NY         12081099         WEITZ & LUXENBERG, PC
POLSINO              ALBERT                NY         19001810         WEITZ & LUXENBERG, PC                                PORTER               BILLY WAYNE           NY         01CIV3901        WEITZ & LUXENBERG, PC
POLSINO              CONCETTA              NY         19001810         WEITZ & LUXENBERG, PC                                PORTER               DONALD R              NY         99102955         WEITZ & LUXENBERG, PC
POLTOWICZ            FREDERICK S           NY         10571702         WEITZ & LUXENBERG, PC                                PORTER               DOROTHY               NY         CV014228         WEITZ & LUXENBERG, PC
POLTOWICZ            HELEN                 NY         10571702         WEITZ & LUXENBERG, PC                                PORTER               JAMES                 NY         10124802         WEITZ & LUXENBERG, PC
POLYCHRONIS          EMMANUEL              NY         99102913         WEITZ & LUXENBERG, PC                                PORTER               JUNE ANN              NY         01CIV3901        WEITZ & LUXENBERG, PC
POMARANSKI           MARIA                 NY         02105718         WEITZ & LUXENBERG, PC                                PORTER               MACK EDWARD           NY         CV016939         WEITZ & LUXENBERG, PC
POMARANSKI           RONALD MARDY          NY         02105718         WEITZ & LUXENBERG, PC                                PORTER               MADLEAN               NY         CV016939         WEITZ & LUXENBERG, PC
POMILLA              ALPHONSE              NY         11644601         WEITZ & LUXENBERG, PC                                PORTER               MARY A                NY         10539002         WEITZ & LUXENBERG, PC
POMILLA              ALPHONSE              NY         01111219         WEITZ & LUXENBERG, PC                                PORTER               MILDRED JEAN          NY         20016478         WEITZ & LUXENBERG, PC
POMILLA              ROSALIE               NY         11644601         WEITZ & LUXENBERG, PC                                PORTER               PAUL LORENZO          NY         10539002         WEITZ & LUXENBERG, PC
POMMER               EMIL                  NY         10871001         WEITZ & LUXENBERG, PC                                PORTER               RAYMOND               NY         20016478         WEITZ & LUXENBERG, PC
POMMER               MAGDALENA             NY         10871001         WEITZ & LUXENBERG, PC                                PORTER               ROSALIE G             NY         99102955         WEITZ & LUXENBERG, PC
POMMERVILLE          ROBERT                NY         10700002         WEITZ & LUXENBERG, PC                                PORTER               ROSETTA W             NY         01CIV3895        WEITZ & LUXENBERG, PC
POMPARELLI           SUSAN                 NY         10926403         WEITZ & LUXENBERG, PC                                PORTER               TERI L                NY         10124802         WEITZ & LUXENBERG, PC
POMPEY               BETTY                 NY         99102911         WEITZ & LUXENBERG, PC                                PORTER               VIVIAN ROSE           NY         CV018138         WEITZ & LUXENBERG, PC
POMPEY               EMANUEL               NY         99102911         WEITZ & LUXENBERG, PC                                PORTER               WARREN ALBERT         NY         CV014228         WEITZ & LUXENBERG, PC
POMPOSELLO           CATHERINE             NY         01111233         WEITZ & LUXENBERG, PC                                PORTESY              RONALD R              NY         10998100         WEITZ & LUXENBERG, PC
POMPOSELLO           DEBRA                 NY         01111233         WEITZ & LUXENBERG, PC                                PORTH                GERTRUDE              NY         19040009         WEITZ & LUXENBERG, PC
POMPOSELLO           LEONARD P             NY         01111233         WEITZ & LUXENBERG, PC                                PORTH                HERBERT A             NY         19040009         WEITZ & LUXENBERG, PC
PONESSA              EDITH                 NY         10295899         WEITZ & LUXENBERG, PC                                PORTILLO             ALBY                  NY         11376000         WEITZ & LUXENBERG, PC
PONESSA              FRANK                 NY         10295899         WEITZ & LUXENBERG, PC                                PORTILLO             MOSES                 NY         11376000         WEITZ & LUXENBERG, PC
PONGER               CHRISTINE             NY         12213801         WEITZ & LUXENBERG, PC                                PORTINO              DOMINICK              NY         12220599         WEITZ & LUXENBERG, PC
PONGER               CHRISTINE             NY         10276502         WEITZ & LUXENBERG, PC                                PORTINO              LENA                  NY         12220599         WEITZ & LUXENBERG, PC
PONICHTERA           HENRY F               NY         10696502         WEITZ & LUXENBERG, PC                                PORTLOW              ANNIE DORIS           NY         I20015352        WEITZ & LUXENBERG, PC
PONICHTERA           HENRY F               NY         11127602         WEITZ & LUXENBERG, PC                                PORTLOW              GEORGE                NY         I20015352        WEITZ & LUXENBERG, PC
PONICHTERA           ROBERT                NY         10696502         WEITZ & LUXENBERG, PC                                PORTO                ALBINO                NJ         MIDL266213AS     WEITZ & LUXENBERG, PC
PONICHTERA           ROBERT                NY         11127602         WEITZ & LUXENBERG, PC                                PORTO                MARGARET              NY         99102956         WEITZ & LUXENBERG, PC
PONTIKOS             MICHAEL S             NY         12693502         WEITZ & LUXENBERG, PC                                PORTO                PETER E               NY         99102956         WEITZ & LUXENBERG, PC
PONZI                CHARLOTTE FLORENCE    NY         11789200         WEITZ & LUXENBERG, PC                                PORTOR               CHARLES A             NY         01CIV3897        WEITZ & LUXENBERG, PC
PONZI                FRANCIS JOSEPH        NY         11789200         WEITZ & LUXENBERG, PC                                PORTSCHY             GLORIA J              NY         CV011215         WEITZ & LUXENBERG, PC
PONZI                LEONARD               NY         99102960         WEITZ & LUXENBERG, PC                                PORTSCHY             HARLAN W              NY         CV011215         WEITZ & LUXENBERG, PC
PONZI                MARY                  NY         99102960         WEITZ & LUXENBERG, PC                                PORZIO               DONALD ANTHONY        NY         01111223         WEITZ & LUXENBERG, PC
POOL                 BETTY SCOTT           NY         10363602         WEITZ & LUXENBERG, PC                                POSPESEL             IRENE                 NY         11376100         WEITZ & LUXENBERG, PC
POOL                 NORRIS D              NY         10363602         WEITZ & LUXENBERG, PC                                POSPESEL             WALTER                NY         11376100         WEITZ & LUXENBERG, PC
POORE                KENNETH L             NY         10645702         WEITZ & LUXENBERG, PC                                POSSTER              JOSEPH                NY         10028603         WEITZ & LUXENBERG, PC
POORMAN              JAMES A               NY         10296199         WEITZ & LUXENBERG, PC                                POSTON               DANA                  NY         CV013921         WEITZ & LUXENBERG, PC
POORMAN              PATRICIA E            NY         10296199         WEITZ & LUXENBERG, PC                                POSTON               MORRIS GENE           NY         CV013921         WEITZ & LUXENBERG, PC
POPE                 CHARLOTTE             NY         01CIV3922        WEITZ & LUXENBERG, PC                                POTAMKIN             ALAN                  NY         1904622018       WEITZ & LUXENBERG, PC
POPE                 MARJORIE G            NY         10325302         WEITZ & LUXENBERG, PC                                POTTER               ANNA                  NY         10861100         WEITZ & LUXENBERG, PC
POPE                 MARJORIE G            NY         00CIV1204        WEITZ & LUXENBERG, PC                                POTTER               BARBARA               NY         10571402         WEITZ & LUXENBERG, PC
POPE                 ROBERT M              NY         10699902         WEITZ & LUXENBERG, PC                                POTTER               CECELIA               NY         2016788          WEITZ & LUXENBERG, PC
POPE                 ROBERT M              NY         11134602         WEITZ & LUXENBERG, PC                                POTTER               CECELIA               NY         10701000         WEITZ & LUXENBERG, PC
POPE                 ROSIE                 NY         10699902         WEITZ & LUXENBERG, PC                                POTTER               EDWARD A              NY         02107099         WEITZ & LUXENBERG, PC
POPE                 ROSIE                 NY         11134602         WEITZ & LUXENBERG, PC                                POTTER               EDWARD A              NY         11760802         WEITZ & LUXENBERG, PC
POPE                 WILEY E               NY         10325302         WEITZ & LUXENBERG, PC                                POTTER               EUGENE R              NY         2016788          WEITZ & LUXENBERG, PC
POPE                 WILEY E               NY         00CIV1204        WEITZ & LUXENBERG, PC                                POTTER               EUGENE R              NY         10701000         WEITZ & LUXENBERG, PC
POPE                 WILLIAM H             NY         01CIV3922        WEITZ & LUXENBERG, PC                                POTTER               FRANK C               NY         10861100         WEITZ & LUXENBERG, PC
PORCELLA             ELIZABETH             NY         99102957         WEITZ & LUXENBERG, PC                                POTTER               LOISA                 NY         1900322014       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1035
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 370 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

POTTER               LYNDON                NY         11901901         WEITZ & LUXENBERG, PC                                POWERS               PAUL W                NY         I20016278        WEITZ & LUXENBERG, PC
POTTER               RICHARD W             NY         10571402         WEITZ & LUXENBERG, PC                                POWERS               PAUL W                NY         02120706         WEITZ & LUXENBERG, PC
POTTER               SHIRLEY               NY         02107099         WEITZ & LUXENBERG, PC                                POWERS               PAUL W                NY         12756102         WEITZ & LUXENBERG, PC
POTTER               SHIRLEY               NY         11760802         WEITZ & LUXENBERG, PC                                POWERS               RAYMOND W             NY         11376200         WEITZ & LUXENBERG, PC
POTTER               VALERIE A             NY         10846799         WEITZ & LUXENBERG, PC                                POWERS               RICHARD WILLIAM       NY         10700002         WEITZ & LUXENBERG, PC
POTTER               WAYNE                 NY         1900322014       WEITZ & LUXENBERG, PC                                POWERS               WILLIAM               NY         10869000         WEITZ & LUXENBERG, PC
POTTER               WILLIE F              NY         CV025685         WEITZ & LUXENBERG, PC                                POWLESS              ADELINE E             NY         10295299         WEITZ & LUXENBERG, PC
POTTS                BARBRA                NY         10740102         WEITZ & LUXENBERG, PC                                POWLESS              NORMAN A              NY         10295299         WEITZ & LUXENBERG, PC
POTTS                FRANKIE               NY         00CIV3589        WEITZ & LUXENBERG, PC                                POYER                JOHN J                NY         11006824         WEITZ & LUXENBERG, PC
POTTS                LEONARD H             NY         10740102         WEITZ & LUXENBERG, PC                                POYER                LINDA                 NY         11006824         WEITZ & LUXENBERG, PC
POTTS                VERNA LEE             NY         00CIV3589        WEITZ & LUXENBERG, PC                                POYER                MARY I                NY         10740302         WEITZ & LUXENBERG, PC
POTURICA             JERRY J               NY         12039201         WEITZ & LUXENBERG, PC                                POYER                MERTON E              NY         12668602         WEITZ & LUXENBERG, PC
POTURICA             SHIRLEY               NY         12039201         WEITZ & LUXENBERG, PC                                POYER                RONALD A              NY         10740302         WEITZ & LUXENBERG, PC
POTYCZ               LINDA                 NY         10700102         WEITZ & LUXENBERG, PC                                POYFAIR              MARGARET ANN          NY         1901052019       WEITZ & LUXENBERG, PC
POTYCZ               LINDA                 NY         11193202         WEITZ & LUXENBERG, PC                                POYFAIR              MARGARET ANN          NY         12043201         WEITZ & LUXENBERG, PC
POTYCZ               STEVE                 NY         10700102         WEITZ & LUXENBERG, PC                                POYFAIR              MARGARET ANN          NY         10108502         WEITZ & LUXENBERG, PC
POTYCZ               STEVE                 NY         11193202         WEITZ & LUXENBERG, PC                                POYFAIR              RONALD G              NY         1901052019       WEITZ & LUXENBERG, PC
POULIOT              HENRIETTE             NY         02105713         WEITZ & LUXENBERG, PC                                POYFAIR              RONALD G              NY         12043201         WEITZ & LUXENBERG, PC
POULIOT              RODOLPH E             NY         02105713         WEITZ & LUXENBERG, PC                                POYFAIR              RONALD G              NY         10108502         WEITZ & LUXENBERG, PC
POULSEN              GORDON K              NY         10860900         WEITZ & LUXENBERG, PC                                POZINSKI             THOMAS P              NY         10710002         WEITZ & LUXENBERG, PC
POULSEN              RUTH                  NY         10860900         WEITZ & LUXENBERG, PC                                PRADY                RONALD L              PA         191203035        WEITZ & LUXENBERG, PC
POUNDSTONE           DORIS                 PA         180800975        WEITZ & LUXENBERG, PC                                PRADY                ROSE A                PA         191203035        WEITZ & LUXENBERG, PC
POUNDSTONE           RONALD H              PA         180800975        WEITZ & LUXENBERG, PC                                PRANZO               PETER J               NY         1902352014       WEITZ & LUXENBERG, PC
POVELL               JEFFREY ALLEN         NY         99111201         WEITZ & LUXENBERG, PC                                PRANZO               RACHELA               NY         1902352014       WEITZ & LUXENBERG, PC
POVELL               PHILIP                NY         99111201         WEITZ & LUXENBERG, PC                                PRASHAW              DONALD J              NY         02106690         WEITZ & LUXENBERG, PC
POVELL               SHIRLEY               NY         99111201         WEITZ & LUXENBERG, PC                                PRASHAW              DONALD J              NY         11378302         WEITZ & LUXENBERG, PC
POVOLNY              CHARLES J             NY         10860800         WEITZ & LUXENBERG, PC                                PRASHAW              DONALD W              NY         10587402         WEITZ & LUXENBERG, PC
POVOLYN              LEANNE                NY         10860800         WEITZ & LUXENBERG, PC                                PRASHAW              MARY R                NY         02106690         WEITZ & LUXENBERG, PC
POWELL               DAVID L               NY         10295499         WEITZ & LUXENBERG, PC                                PRASHAW              MARY R                NY         11378302         WEITZ & LUXENBERG, PC
POWELL               DAVID W               NY         11327902         WEITZ & LUXENBERG, PC                                PRATER               FANDORA               NY         CV025685         WEITZ & LUXENBERG, PC
POWELL               DAVID W               NY         12091402         WEITZ & LUXENBERG, PC                                PRATER               ROBERT LEE            NY         CV025685         WEITZ & LUXENBERG, PC
POWELL               DAVID W               NY         10295499         WEITZ & LUXENBERG, PC                                PRATILLO             ANTHONY               NY         01111235         WEITZ & LUXENBERG, PC
POWELL               DONNA                 NY         11327902         WEITZ & LUXENBERG, PC                                PRATILLO             ANTHONY               NY         11839501         WEITZ & LUXENBERG, PC
POWELL               DONNA                 NY         12091402         WEITZ & LUXENBERG, PC                                PRATILLO             MARGIE                NY         01111235         WEITZ & LUXENBERG, PC
POWELL               FRANK L               NY         CV020713         WEITZ & LUXENBERG, PC                                PRATILLO             MARGIE                NY         11839501         WEITZ & LUXENBERG, PC
POWELL               JAMES J               NY         01111234         WEITZ & LUXENBERG, PC                                PRATO                ANNA MARIE            NY         00104409         WEITZ & LUXENBERG, PC
POWELL               JAMES J               NY         11922501         WEITZ & LUXENBERG, PC                                PRATO                DARLENE               NY         10868800         WEITZ & LUXENBERG, PC
POWELL               JOHN                  NY         01CIV3922        WEITZ & LUXENBERG, PC                                PRATO                NICOLO A              NY         00104409         WEITZ & LUXENBERG, PC
POWELL               JOY                   NY         01111234         WEITZ & LUXENBERG, PC                                PRATO                RICHARD               NY         10868800         WEITZ & LUXENBERG, PC
POWELL               JOY                   NY         11922501         WEITZ & LUXENBERG, PC                                PRATT                ARNOLD                NY         10644201         WEITZ & LUXENBERG, PC
POWELL               LEE T                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                PRATT                BENNIE L              NY         10740302         WEITZ & LUXENBERG, PC
POWELL               MJ                    NY         CV020713         WEITZ & LUXENBERG, PC                                PRATT                E RUTH                NY         10740302         WEITZ & LUXENBERG, PC
POWELL               MARGARET              NY         01CIV3922        WEITZ & LUXENBERG, PC                                PRATT                GEORGE                NY         10868600         WEITZ & LUXENBERG, PC
POWELL               PATSY                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                PRATT                GEORGE E              NY         10868700         WEITZ & LUXENBERG, PC
POWELL               REECE SULLIVAN        NY         01CIV3922        WEITZ & LUXENBERG, PC                                PRATT                GEORGE W              NY         10868600         WEITZ & LUXENBERG, PC
POWELL               ROGER L               NY         10295499         WEITZ & LUXENBERG, PC                                PRATT                MARGARET A            NY         10868600         WEITZ & LUXENBERG, PC
POWENSKI             CAROL                 NY         10869100         WEITZ & LUXENBERG, PC                                PRATT                OLMA FAYE             NY         11376300         WEITZ & LUXENBERG, PC
POWENSKI             EDWARD                NY         10869100         WEITZ & LUXENBERG, PC                                PRATT                ORVILLE J             NY         10680802         WEITZ & LUXENBERG, PC
POWER                FINBAR                NY         12788702         WEITZ & LUXENBERG, PC                                PRATT                ORVILLE J             NY         11058102         WEITZ & LUXENBERG, PC
POWER                MAUREEN               NY         12788702         WEITZ & LUXENBERG, PC                                PRATT                PATRICIA              NY         10644201         WEITZ & LUXENBERG, PC
POWERS               ANDREW J              NY         99120248         WEITZ & LUXENBERG, PC                                PRATT                RICHARD ALLEN         NY         02106578         WEITZ & LUXENBERG, PC
POWERS               BERTHA                NY         02106709         WEITZ & LUXENBERG, PC                                PRATT                ROBERT B              NY         11376300         WEITZ & LUXENBERG, PC
POWERS               CARL                  NY         02106709         WEITZ & LUXENBERG, PC                                PRATT                VIRGINIA              NY         10868600         WEITZ & LUXENBERG, PC
POWERS               EDWARD CARLTON        NY         00CIV1204        WEITZ & LUXENBERG, PC                                PRATT                VIRGINIA              NY         10680802         WEITZ & LUXENBERG, PC
POWERS               EDWARD ELCO           NY         CV036269         WEITZ & LUXENBERG, PC                                PRATT                VIRGINIA COOKE        NY         11058102         WEITZ & LUXENBERG, PC
POWERS               FRANCIS JOHN          NY         10295399         WEITZ & LUXENBERG, PC                                PRATT                VIRGINIA H            NY         10868700         WEITZ & LUXENBERG, PC
POWERS               FRANK D               NY         I200110272       WEITZ & LUXENBERG, PC                                PRAYDICK             EILEEN                NY         10644301         WEITZ & LUXENBERG, PC
POWERS               GEOFFREY M            PA         130101594        WEITZ & LUXENBERG, PC                                PRAYDICK             PAUL                  NY         10644301         WEITZ & LUXENBERG, PC
POWERS               GLENNA E              NY         10901901         WEITZ & LUXENBERG, PC                                PREDDICE             CHARLES J             NY         99102949         WEITZ & LUXENBERG, PC
POWERS               HARRY T JR            NY         10901901         WEITZ & LUXENBERG, PC                                PREDDICE             EILEEN                NY         99102949         WEITZ & LUXENBERG, PC
POWERS               HELEN                 PA         130101594        WEITZ & LUXENBERG, PC                                PREDDY               FAYE                  NY         01CIV3901        WEITZ & LUXENBERG, PC
POWERS               JAMES C               NY         12043201         WEITZ & LUXENBERG, PC                                PREDDY               GERALD HOWARD         NY         01CIV3901        WEITZ & LUXENBERG, PC
POWERS               JOHN                  NY         01111225         WEITZ & LUXENBERG, PC                                PREE                 LINDA                 NY         CV017893         WEITZ & LUXENBERG, PC
POWERS               JOHN                  NY         10058202         WEITZ & LUXENBERG, PC                                PREFORE              JUANITA               NY         10644401         WEITZ & LUXENBERG, PC
POWERS               JOHN III              NY         10058202         WEITZ & LUXENBERG, PC                                PREFORE              JUNAITA R             NY         10644401         WEITZ & LUXENBERG, PC
POWERS               JOHN JOSEPH           NY         99120248         WEITZ & LUXENBERG, PC                                PREFORE              PAUL J                NY         10644401         WEITZ & LUXENBERG, PC
POWERS               KAREN                 NY         10869000         WEITZ & LUXENBERG, PC                                PREISCHEL            RAYMOND I             NY         02106579         WEITZ & LUXENBERG, PC
POWERS               MARY                  NY         I200110272       WEITZ & LUXENBERG, PC                                PREISCHEL            RAYMOND I             NY         11307802         WEITZ & LUXENBERG, PC
POWERS               MIEP R                NY         CV036269         WEITZ & LUXENBERG, PC                                PREISCHEL            RAYMOND K             NY         02106579         WEITZ & LUXENBERG, PC
POWERS               MIER R                NY         CV036269         WEITZ & LUXENBERG, PC                                PREISCHEL            RAYMOND K             NY         11307802         WEITZ & LUXENBERG, PC
POWERS               NAN                   NY         11376200         WEITZ & LUXENBERG, PC                                PREISCHEL            WILMA                 NY         02106579         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1036
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 371 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PREISCHEL            WILMA                 NY         11307802         WEITZ & LUXENBERG, PC                                PRINCE               HAROLD E              NY         12668502         WEITZ & LUXENBERG, PC
PREMO                DIANE                 NY         1903272015       WEITZ & LUXENBERG, PC                                PRINCE               JT                    NY         CV013823         WEITZ & LUXENBERG, PC
PREMO                DONALD W              NY         10716702         WEITZ & LUXENBERG, PC                                PRINCE               JOHN EDWIN            NY         CV014637         WEITZ & LUXENBERG, PC
PREMO                HOWARD J              NY         10740402         WEITZ & LUXENBERG, PC                                PRINCE               LEROY                 NY         11223306         WEITZ & LUXENBERG, PC
PREMO                HOWARD J              NY         11429402         WEITZ & LUXENBERG, PC                                PRINCE               LINDA                 NY         12668502         WEITZ & LUXENBERG, PC
PREMO                JANICE                NY         10670402         WEITZ & LUXENBERG, PC                                PRINCE               MARGARET H            NY         CV014637         WEITZ & LUXENBERG, PC
PREMO                MARJORIE S            NY         10740402         WEITZ & LUXENBERG, PC                                PRINCE               MARZEL                NY         CV010711         WEITZ & LUXENBERG, PC
PREMO                MARJORIE S            NY         11429402         WEITZ & LUXENBERG, PC                                PRINCE               NORMA JEAN            NY         01CIV3901        WEITZ & LUXENBERG, PC
PREMO                TIMOTHY H             NY         1903272015       WEITZ & LUXENBERG, PC                                PRINCE               NORMA JEAN            NY         CV013823         WEITZ & LUXENBERG, PC
PREMO                WALTER B              NY         10670402         WEITZ & LUXENBERG, PC                                PRINCE               PETER WILLIAM         NY         I20019492        WEITZ & LUXENBERG, PC
PRENATT              BARBARA               NY         02105713         WEITZ & LUXENBERG, PC                                PRINCE               PETER WILLIAM         NY         02120706         WEITZ & LUXENBERG, PC
PRENATT              JACQUELINE E          NY         02105713         WEITZ & LUXENBERG, PC                                PRINCE               SANDRA                NY         11223306         WEITZ & LUXENBERG, PC
PRENATT              RICHARD P             NY         02105713         WEITZ & LUXENBERG, PC                                PRINGLE              HAROLD                NY         20018969         WEITZ & LUXENBERG, PC
PRENATT              WILLIAM F             NY         02105713         WEITZ & LUXENBERG, PC                                PRINGLE              MARY                  NY         20018969         WEITZ & LUXENBERG, PC
PRENTICE             GERALD R              NY         11055901         WEITZ & LUXENBERG, PC                                PRINTUP              DAVID P               NY         10858700         WEITZ & LUXENBERG, PC
PRENTICE             SHIRLEY S             NY         11055901         WEITZ & LUXENBERG, PC                                PRIOR                HELEN E               NY         10678005         WEITZ & LUXENBERG, PC
PRESCOTT             BROOKS P              NY         10701100         WEITZ & LUXENBERG, PC                                PRIOR                JAMES J               NY         10678005         WEITZ & LUXENBERG, PC
PRESCOTT             LOIS                  NY         10701100         WEITZ & LUXENBERG, PC                                PRISTINA             JOHN                  NY         19009010         WEITZ & LUXENBERG, PC
PRESET               WILLIAM S             NY         10740002         WEITZ & LUXENBERG, PC                                PRISTINA             MARY                  NY         19009010         WEITZ & LUXENBERG, PC
PRESLEY              MARY J                NY         02107099         WEITZ & LUXENBERG, PC                                PRITCHETT            DOUGLAS               NY         12057103         WEITZ & LUXENBERG, PC
PRESS                MARVIN                NY         12668602         WEITZ & LUXENBERG, PC                                PRITCHETTE           CAROLE                NY         10587001         WEITZ & LUXENBERG, PC
PREST                IRENE                 NY         I20019109        WEITZ & LUXENBERG, PC                                PRITCHETTE           DONALD C              NY         10587001         WEITZ & LUXENBERG, PC
PREST SWAW           THERESA               NY         19001312         WEITZ & LUXENBERG, PC                                PRIZZI               FRANK                 NY         12038901         WEITZ & LUXENBERG, PC
PRESTIA              JOSEPH                NY         1902402015       WEITZ & LUXENBERG, PC                                PRIZZI               ROBERTA               NY         12038901         WEITZ & LUXENBERG, PC
PRESTIA              JULIANNA              NY         02106580         WEITZ & LUXENBERG, PC                                PROCHNER             WALDEMAR              NY         10644501         WEITZ & LUXENBERG, PC
PRESTIA              MICHAEL               NY         02106580         WEITZ & LUXENBERG, PC                                PROCKNAL             JOHN A                NY         11376500         WEITZ & LUXENBERG, PC
PRESTIGIACOMO        ATANASIO              NY         1903862017       WEITZ & LUXENBERG, PC                                PROCKNAL             JOHN THOMAS           NY         99102938         WEITZ & LUXENBERG, PC
PRESTIGIACOMO        MARIA                 NY         12012399         WEITZ & LUXENBERG, PC                                PROCKNAL             MICHELLE F            NY         11376500         WEITZ & LUXENBERG, PC
PRESTIGIACOMO        MARIA                 NY         99120123         WEITZ & LUXENBERG, PC                                PROCTOR              ALAN A                NY         01CIV3901        WEITZ & LUXENBERG, PC
PRESTIGIACOMO        PAULINE               NY         1903862017       WEITZ & LUXENBERG, PC                                PROCTOR              GEORGE C              NY         1901092018       WEITZ & LUXENBERG, PC
PRESTIGIACOMO        SANTO M               NY         12012399         WEITZ & LUXENBERG, PC                                PROCTOR              JAMES H               NY         11376600         WEITZ & LUXENBERG, PC
PRESTIGIACOMO        SANTO M               NY         99120123         WEITZ & LUXENBERG, PC                                PROCTOR              JOHN                  NY         10644601         WEITZ & LUXENBERG, PC
PRESTON              DONALD C              NY         10859500         WEITZ & LUXENBERG, PC                                PROCTOR              NANCY                 NY         1901092018       WEITZ & LUXENBERG, PC
PRESTON              JEAN                  NY         10859400         WEITZ & LUXENBERG, PC                                PROCTOR              ROBERT                NY         01CIV3901        WEITZ & LUXENBERG, PC
PRESTON              MARY                  NY         10859500         WEITZ & LUXENBERG, PC                                PROCTOR              SUSAN                 NY         10644601         WEITZ & LUXENBERG, PC
PRESTON              RAYMOND T             NY         10859400         WEITZ & LUXENBERG, PC                                PROFETTA             CHARLES               NY         10293399         WEITZ & LUXENBERG, PC
PREVOST              CAROLYN M             NY         01CIV3901        WEITZ & LUXENBERG, PC                                PROFETTA             VITTORIO              NY         10293399         WEITZ & LUXENBERG, PC
PREZEPIORA           STEPHANIA R           NY         10644801         WEITZ & LUXENBERG, PC                                PROKOSCH             HOWARD                NY         10858600         WEITZ & LUXENBERG, PC
PREZIOSO             RICHARD               NY         10295999         WEITZ & LUXENBERG, PC                                PROKOSCH             JOHN                  NY         10858600         WEITZ & LUXENBERG, PC
PRICE                BILL                  NY         01CIV3901        WEITZ & LUXENBERG, PC                                PRONKO               DAVID                 NY         19039709         WEITZ & LUXENBERG, PC
PRICE                CAROL                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                PRONKO               ELIZABETH             NY         19039709         WEITZ & LUXENBERG, PC
PRICE                CAROLYN               NY         10944203         WEITZ & LUXENBERG, PC                                PROPER               DONALD E              NY         10700002         WEITZ & LUXENBERG, PC
PRICE                CHARLES E             NY         19035911         WEITZ & LUXENBERG, PC                                PROPER               YVETTE                NY         10700002         WEITZ & LUXENBERG, PC
PRICE                CLARENCE W            NY         19039011         WEITZ & LUXENBERG, PC                                PROSCHUK             ROBERT FRANK          NY         10858500         WEITZ & LUXENBERG, PC
PRICE                CONNIE                NY         01CIV3901        WEITZ & LUXENBERG, PC                                PROTEGNA             MARINKO               NY         12668202         WEITZ & LUXENBERG, PC
PRICE                CORNELIA              NY         1905782012       WEITZ & LUXENBERG, PC                                PROTO                JAMES J               NY         10926403         WEITZ & LUXENBERG, PC
PRICE                DONALD                NY         10859300         WEITZ & LUXENBERG, PC                                PROTO                JEANIE                NY         10926403         WEITZ & LUXENBERG, PC
PRICE                DONALD REX            NY         1905782012       WEITZ & LUXENBERG, PC                                PROTO                JENNIE                NY         10926403         WEITZ & LUXENBERG, PC
PRICE                ELMA                  NY         19035911         WEITZ & LUXENBERG, PC                                PROUDMAN             GRACE M               NY         10293499         WEITZ & LUXENBERG, PC
PRICE                JAMES                 NY         10944203         WEITZ & LUXENBERG, PC                                PROUDMAN             JAMES                 NY         10293499         WEITZ & LUXENBERG, PC
PRICE                JOSEPH B              NY         11977903         WEITZ & LUXENBERG, PC                                PROUDMAN             JAMES A               NY         10745802         WEITZ & LUXENBERG, PC
PRICE                LINDA                 NY         10859300         WEITZ & LUXENBERG, PC                                PROUDMAN             WALTER                NY         10293499         WEITZ & LUXENBERG, PC
PRICE                LYNN                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                PROVENCHER           MICHELLE              NY         10644701         WEITZ & LUXENBERG, PC
PRICE                NEVA H                NY         11977903         WEITZ & LUXENBERG, PC                                PROVENCHER           ROBERT                NY         10644701         WEITZ & LUXENBERG, PC
PRICE                PATRINIA              NY         10716702         WEITZ & LUXENBERG, PC                                PROVENZANO           CAROL A               NY         99108900         WEITZ & LUXENBERG, PC
PRICE                RICHARD               NY         19039011         WEITZ & LUXENBERG, PC                                PROVENZANO           CHARLES A             NY         99108900         WEITZ & LUXENBERG, PC
PRICE                THEODORE              NY         10716702         WEITZ & LUXENBERG, PC                                PROVENZANO           JEAN A                NY         10701200         WEITZ & LUXENBERG, PC
PRIEGUE              ELIZABETH             NY         11375804         WEITZ & LUXENBERG, PC                                PROVENZANO           JOHN JR               NY         10701200         WEITZ & LUXENBERG, PC
PRIEGUE              JOSE M                NY         10859100         WEITZ & LUXENBERG, PC                                PROVOST              ALYCE                 NY         19015409         WEITZ & LUXENBERG, PC
PRIEGUE              MANUEL                NY         11375804         WEITZ & LUXENBERG, PC                                PRUDEN               RICHARD L             NY         10696402         WEITZ & LUXENBERG, PC
PRIEGUE              PURIFICACION          NY         10859100         WEITZ & LUXENBERG, PC                                PRUETT               BONNALYN M            NY         02105713         WEITZ & LUXENBERG, PC
PRIEST               CATHERINE             NY         10859000         WEITZ & LUXENBERG, PC                                PRUETT               BONNALYN M            NY         11255702         WEITZ & LUXENBERG, PC
PRIEST               MICHAEL               NY         10859000         WEITZ & LUXENBERG, PC                                PRUETT               ROBERT R              NY         02105713         WEITZ & LUXENBERG, PC
PRIESTER             EDWARD J              NY         I200110274       WEITZ & LUXENBERG, PC                                PRUETT               ROBERT R              NY         11255702         WEITZ & LUXENBERG, PC
PRIESTER             MILDRED               NY         I200110274       WEITZ & LUXENBERG, PC                                PRUETT               VIRGINIA MARLENE      NY         01CIV3915        WEITZ & LUXENBERG, PC
PRIGNANO             PASQUALE              NY         10669502         WEITZ & LUXENBERG, PC                                PRUSAK               CAROL                 NY         10860000         WEITZ & LUXENBERG, PC
PRIGNANO             PASQUALE              NY         11856902         WEITZ & LUXENBERG, PC                                PRUSAK               EUGENE J              NY         10860000         WEITZ & LUXENBERG, PC
PRIGNANO             VIRGINIA M            NY         10669502         WEITZ & LUXENBERG, PC                                PRUSAK               LEONARD J             NY         10716902         WEITZ & LUXENBERG, PC
PRIGNANO             VIRGINIA M            NY         11856902         WEITZ & LUXENBERG, PC                                PRUSAK               RITA R                NY         10716902         WEITZ & LUXENBERG, PC
PRIGNOLI             LORETO RITO           NY         10858800         WEITZ & LUXENBERG, PC                                PRUSH                EDWARD F              NY         10074103         WEITZ & LUXENBERG, PC
PRINCE               DOLORES A             NY         10742600         WEITZ & LUXENBERG, PC                                PRUSH                EDWARD F              NY         10287603         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1037
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 372 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PRUSH                MARILYN               NY         10074103         WEITZ & LUXENBERG, PC                                PUORTO               GREGORY L             NY         99102945         WEITZ & LUXENBERG, PC
PRUSH                MARILYN               NY         10287603         WEITZ & LUXENBERG, PC                                PUPKIEWICZ           EDWARD                NY         1901562015       WEITZ & LUXENBERG, PC
PRUSKI               CHRISTINE             NY         12800102         WEITZ & LUXENBERG, PC                                PUPKIEWICZ           PHYLLIS               NY         1901562015       WEITZ & LUXENBERG, PC
PRUSKI               STEVE                 NY         12800102         WEITZ & LUXENBERG, PC                                PURCE                BEVERLY               NY         99102944         WEITZ & LUXENBERG, PC
PRUSKO               LINDA                 NY         10701300         WEITZ & LUXENBERG, PC                                PURCE                WILLIAM K             NY         99102944         WEITZ & LUXENBERG, PC
PRUSKO               ROBERT A              NY         10701300         WEITZ & LUXENBERG, PC                                PURCELL              ANDREW                NY         11789400         WEITZ & LUXENBERG, PC
PRUSSEN              CHRISTOPHER           NY         1903902014       WEITZ & LUXENBERG, PC                                PURCELL              CARMEN MARIE          NY         11789400         WEITZ & LUXENBERG, PC
PRUSSEN              ELSIE                 NY         1903902014       WEITZ & LUXENBERG, PC                                PURDIE               JOAN                  NY         10860600         WEITZ & LUXENBERG, PC
PRYOR                CAROLE                NY         02106690         WEITZ & LUXENBERG, PC                                PURDIE               THOMAS T              NY         10860600         WEITZ & LUXENBERG, PC
PRYOR                DELORES               NY         11376700         WEITZ & LUXENBERG, PC                                PURDY                BETTINA               NY         10740502         WEITZ & LUXENBERG, PC
PRYOR                DIANNE                NY         10859900         WEITZ & LUXENBERG, PC                                PURDY                FLOYD E               NY         10740502         WEITZ & LUXENBERG, PC
PRYOR                EDWARD J              NY         10859900         WEITZ & LUXENBERG, PC                                PURICK               KATHLEEN A            NY         02107005         WEITZ & LUXENBERG, PC
PRYOR                JAMES                 DE         N19C10148ASB     WEITZ & LUXENBERG, PC                                PURICK               WILBUR M              NY         02107005         WEITZ & LUXENBERG, PC
PRYOR                PHILLIP               NY         11376700         WEITZ & LUXENBERG, PC                                PURTEE               PHYLLIS               NY         CV016252         WEITZ & LUXENBERG, PC
PRYOR                RICHARD               NY         02106690         WEITZ & LUXENBERG, PC                                PURTEE               ROGER                 NY         CV016252         WEITZ & LUXENBERG, PC
PRYSLOPSKI           PAUL                  NY         10859800         WEITZ & LUXENBERG, PC                                PURVIS               CAROLYN A             NY         10670402         WEITZ & LUXENBERG, PC
PRYSLOPSKI           SALLY                 NY         10859800         WEITZ & LUXENBERG, PC                                PURVIS               DONALD IRA            NY         10670402         WEITZ & LUXENBERG, PC
PRZEPIORA            ALOYSIUS              NY         10644801         WEITZ & LUXENBERG, PC                                PUSEY                GEORGE                NY         1900442018       WEITZ & LUXENBERG, PC
PRZEWLOCKI           LAURA                 NY         99102931         WEITZ & LUXENBERG, PC                                PUSEY                LUCY                  NY         1900442018       WEITZ & LUXENBERG, PC
PRZEWLOCKI           LEONARD               NY         99102931         WEITZ & LUXENBERG, PC                                PUSKAR               JOHN                  NY         10860500         WEITZ & LUXENBERG, PC
PRZYBYLEK            CATHY                 NY         10644901         WEITZ & LUXENBERG, PC                                PUSKAR               SUSAN                 NY         10860500         WEITZ & LUXENBERG, PC
PRZYBYLEK            JOHN S                NY         10644901         WEITZ & LUXENBERG, PC                                PUTCH                JOSEPH                NY         10722102         WEITZ & LUXENBERG, PC
PRZYBYLO             JACOB JOSEPH          NY         10571402         WEITZ & LUXENBERG, PC                                PUTCH                JOSEPH                NY         11309802         WEITZ & LUXENBERG, PC
PSZCZOLKOWSKI        JAMES S               NY         1900182013       WEITZ & LUXENBERG, PC                                PUTCH                ROSE M                NY         10722102         WEITZ & LUXENBERG, PC
PSZCZOLKOWSKI        JULIA                 NY         1900182013       WEITZ & LUXENBERG, PC                                PUTCH                ROSE M                NY         11309802         WEITZ & LUXENBERG, PC
PTAK                 STEPHANIE A           NY         10859700         WEITZ & LUXENBERG, PC                                PUTMAN               BEULAH M              NY         CV025685         WEITZ & LUXENBERG, PC
PTAK                 THOMAS J              NY         10859700         WEITZ & LUXENBERG, PC                                PUTMAN               WOODY                 NY         CV025685         WEITZ & LUXENBERG, PC
PUCCI                LUCY C                NY         10645001         WEITZ & LUXENBERG, PC                                PUTNAM               BARBARA C             NY         10645301         WEITZ & LUXENBERG, PC
PUCCI                ROBERT R              NY         10645001         WEITZ & LUXENBERG, PC                                PUTNAM               RICHARD W             NY         10645301         WEITZ & LUXENBERG, PC
PUCCI                SAVERIO               NY         10645101         WEITZ & LUXENBERG, PC                                PUTNEY               SUSAN                 NY         10700102         WEITZ & LUXENBERG, PC
PUCCI                SILVANA               NY         10645101         WEITZ & LUXENBERG, PC                                PUTNEY               VERNON W              NY         10700102         WEITZ & LUXENBERG, PC
PUCCIARELLI          FRED V                NY         1904422014       WEITZ & LUXENBERG, PC                                PYANOWSKI            JOAN ANN              NY         10300504         WEITZ & LUXENBERG, PC
PUCCIO               ANGELO A              NY         12039201         WEITZ & LUXENBERG, PC                                PYANOWSKI            ROBERT                NY         10300504         WEITZ & LUXENBERG, PC
PUCKETT              DANIEL F              NY         10680602         WEITZ & LUXENBERG, PC                                PYKE                 LAWRENCE A            NY         12788702         WEITZ & LUXENBERG, PC
PUCKETT              DARLENE F             NY         10680602         WEITZ & LUXENBERG, PC                                PYKE                 PAULETTE A            NY         12788702         WEITZ & LUXENBERG, PC
PUCKETT              JEWEL                 NY         12460802         WEITZ & LUXENBERG, PC                                PYLE                 THOMAS                NY         01111220         WEITZ & LUXENBERG, PC
PUCKETT              MILDRED               NY         12460802         WEITZ & LUXENBERG, PC                                PYNNONEN             ANNA E                NY         12039901         WEITZ & LUXENBERG, PC
PUETZER              BARBARA               NY         1902952019       WEITZ & LUXENBERG, PC                                PYNNONEN             ANNA E                NY         10455602         WEITZ & LUXENBERG, PC
PUETZER              ERIC C                NY         1902952019       WEITZ & LUXENBERG, PC                                PYNNONEN             VILHO R               NY         12039901         WEITZ & LUXENBERG, PC
PUGH                 LAWRENCE W            NY         10871001         WEITZ & LUXENBERG, PC                                PYNNONEN             VILHO R               NY         10455602         WEITZ & LUXENBERG, PC
PUGH                 MARY                  NY         10871001         WEITZ & LUXENBERG, PC                                QUACKENBUSH          LESLIE DAVID          NY         02120709         WEITZ & LUXENBERG, PC
PUGLIESE             ALDA                  NY         99102947         WEITZ & LUXENBERG, PC                                QUACKENBUSH          RONALD A              NY         99102943         WEITZ & LUXENBERG, PC
PUGLIESE             ALDO                  NY         99102947         WEITZ & LUXENBERG, PC                                QUACKENBUSH          SHARON                NY         99102943         WEITZ & LUXENBERG, PC
PUGLIESE             EDWARD D              NY         614192017        WEITZ & LUXENBERG, PC                                QUALEY               ANITA                 NY         10216301         WEITZ & LUXENBERG, PC
PUGLIESE             NAOMI                 NY         614192017        WEITZ & LUXENBERG, PC                                QUARANTA             PAT                   NY         12043201         WEITZ & LUXENBERG, PC
PUGLISI              ALFIO                 NY         10859600         WEITZ & LUXENBERG, PC                                QUARANTA             RONALD F              NY         12043201         WEITZ & LUXENBERG, PC
PUGLISI              PIETRINA              NY         10859600         WEITZ & LUXENBERG, PC                                QUARLES              MARSHALL              NY         01CIV3900        WEITZ & LUXENBERG, PC
PUHL                 JOSETTE               NY         10430100         WEITZ & LUXENBERG, PC                                QUARLES              RANDY BLAKE           NY         01CIV3900        WEITZ & LUXENBERG, PC
PUIATTI              DINA                  NY         12039301         WEITZ & LUXENBERG, PC                                QUAY                 BONNIE                NY         10645401         WEITZ & LUXENBERG, PC
PUIATTI              WILLIAM               NY         12039301         WEITZ & LUXENBERG, PC                                QUAY                 WILLIAM               NY         10645401         WEITZ & LUXENBERG, PC
PUKALO               ELIZABETH M           NY         10696502         WEITZ & LUXENBERG, PC                                QUEEN                WILLIAM E             NY         12801902         WEITZ & LUXENBERG, PC
PUKALO               ELIZABETH M           NY         11127502         WEITZ & LUXENBERG, PC                                QUENZER              GEORGE R              NY         11027002         WEITZ & LUXENBERG, PC
PUKALO               JOHN                  NY         10696502         WEITZ & LUXENBERG, PC                                QUENZER              GRACE                 NY         11027002         WEITZ & LUXENBERG, PC
PUKALO               JOHN                  NY         11127502         WEITZ & LUXENBERG, PC                                QUICKER              FRIEDA                NY         11158903         WEITZ & LUXENBERG, PC
PUKALO               WILLIAM J             NY         10696502         WEITZ & LUXENBERG, PC                                QUICKER              JOHN A                NY         11158903         WEITZ & LUXENBERG, PC
PUKALO               WILLIAM J             NY         11127502         WEITZ & LUXENBERG, PC                                QUIGLEY              DOROTHY               NY         12249700         WEITZ & LUXENBERG, PC
PULITO               CATHY                 NY         11027002         WEITZ & LUXENBERG, PC                                QUIGLEY              JAMES                 NY         11040103         WEITZ & LUXENBERG, PC
PULITO               MARCO                 NY         11027002         WEITZ & LUXENBERG, PC                                QUIGLEY              MARY A                NY         11040103         WEITZ & LUXENBERG, PC
PULK                 JESSIE                NY         10700002         WEITZ & LUXENBERG, PC                                QUILTY               DIANE                 NY         1902292017       WEITZ & LUXENBERG, PC
PULK                 JESSIE                NY         11116802         WEITZ & LUXENBERG, PC                                QUILTY               DIANE                 NY         12693702         WEITZ & LUXENBERG, PC
PULK                 PHILIP E              NY         10700002         WEITZ & LUXENBERG, PC                                QUILTY               JAMES A               NY         1902292017       WEITZ & LUXENBERG, PC
PULK                 PHILIP E              NY         11116802         WEITZ & LUXENBERG, PC                                QUILTY               JAMES A               NY         12693702         WEITZ & LUXENBERG, PC
PULLANO              JANE                  NY         10860700         WEITZ & LUXENBERG, PC                                QUINI                JOSEPH A              NY         10645501         WEITZ & LUXENBERG, PC
PULLANO              NICHOLAS              NY         10860700         WEITZ & LUXENBERG, PC                                QUINI                SYLVIA                NY         10645501         WEITZ & LUXENBERG, PC
PULLI                SANDRA                NY         11526800         WEITZ & LUXENBERG, PC                                QUINLAN              HUGH F                NY         10677703         WEITZ & LUXENBERG, PC
PULLIAM              JOYCE                 NY         1901042018       WEITZ & LUXENBERG, PC                                QUINLAN              LORRAINE A            NY         10677703         WEITZ & LUXENBERG, PC
PULLIAM              JOYCE                 NY         11159403         WEITZ & LUXENBERG, PC                                QUINN                JAMES R               NY         10860400         WEITZ & LUXENBERG, PC
PULLIAM              MICHAEL               NY         1901042018       WEITZ & LUXENBERG, PC                                QUINN                KAREN                 NY         10860400         WEITZ & LUXENBERG, PC
PULLIAM              MICHAEL               NY         11159403         WEITZ & LUXENBERG, PC                                QUINN                KATHLEEN              NY         10860200         WEITZ & LUXENBERG, PC
PULVER               MARTIN W              NY         02117814         WEITZ & LUXENBERG, PC                                QUINN                MALCOLM P             NY         10860200         WEITZ & LUXENBERG, PC
PULVER               VALERIE ANN           NY         02117814         WEITZ & LUXENBERG, PC                                QUINN                MICHAEL               NY         01111228         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1038
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 373 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

QUINN                PETER B               NY         10313700         WEITZ & LUXENBERG, PC                                RAGNONE              JUDITH M              NY         10740302         WEITZ & LUXENBERG, PC
QUINNEY              MACK                  NY         10860100         WEITZ & LUXENBERG, PC                                RAGNONE              ROBERT J              NY         10740302         WEITZ & LUXENBERG, PC
QUINNEY              ROSA MAE              NY         10860100         WEITZ & LUXENBERG, PC                                RAGOSTA              FRANK A               NY         10701500         WEITZ & LUXENBERG, PC
QUINONES             JACINTO               NY         11327902         WEITZ & LUXENBERG, PC                                RAGOSTA              PAULA M               NY         10701500         WEITZ & LUXENBERG, PC
QUINONES             MANUELA SILVA         NY         11327902         WEITZ & LUXENBERG, PC                                RAGUCCI              DENIS C               NY         12213801         WEITZ & LUXENBERG, PC
QUIRK                JAMES J               NY         1900252016       WEITZ & LUXENBERG, PC                                RAGUCCI              GERALDINE M           NY         12213801         WEITZ & LUXENBERG, PC
QUIRK                NELLE                 NY         1900252016       WEITZ & LUXENBERG, PC                                RAGUSA               FRANCESCO             NY         11377000         WEITZ & LUXENBERG, PC
QUIRKE               NANCY                 NY         10701804         WEITZ & LUXENBERG, PC                                RAGUSA               MARIE                 NY         11377000         WEITZ & LUXENBERG, PC
QUIRKE               RICHARD F             NY         10701804         WEITZ & LUXENBERG, PC                                RAGUSIN              EDWARD                NY         99103357         WEITZ & LUXENBERG, PC
QUIRPLE              EVERETT F             NY         1901562019       WEITZ & LUXENBERG, PC                                RAGUSIN              LUCILLE               NY         99103357         WEITZ & LUXENBERG, PC
QUIRPLE              NANCY                 NY         1901562019       WEITZ & LUXENBERG, PC                                RAHE                 CAROL                 NY         11377100         WEITZ & LUXENBERG, PC
QUITER               JOHN LEO              NY         10861700         WEITZ & LUXENBERG, PC                                RAHE                 DETLEF                NY         11377100         WEITZ & LUXENBERG, PC
QUITER               SHIRLEY ANN           NY         10861700         WEITZ & LUXENBERG, PC                                RAHIMI               AHMAD ALI O           NY         1900642015       WEITZ & LUXENBERG, PC
QUYNN                ALLEN                 NY         1901012016       WEITZ & LUXENBERG, PC                                RAHNER               RODNEY                NY         1902212016       WEITZ & LUXENBERG, PC
RAAB                 KURT                  NY         12039601         WEITZ & LUXENBERG, PC                                RAIA                 JEAN                  NY         12039401         WEITZ & LUXENBERG, PC
RAAB                 KURT                  NY         10333402         WEITZ & LUXENBERG, PC                                RAIA                 SALVATORE             NY         12039401         WEITZ & LUXENBERG, PC
RAAB WALKER          KRISTA E              NY         12039601         WEITZ & LUXENBERG, PC                                RAICH                NANCY                 NY         12433902         WEITZ & LUXENBERG, PC
RAAB WALKER          KRISTA E              NY         10333402         WEITZ & LUXENBERG, PC                                RAICH                STANLEY F             NY         12433902         WEITZ & LUXENBERG, PC
RABASCA              FRED J                NY         1902472016       WEITZ & LUXENBERG, PC                                RAIFF                CATHERINE A           NY         02106707         WEITZ & LUXENBERG, PC
RABASCA              GERARD                NY         1902472016       WEITZ & LUXENBERG, PC                                RAIFF                CATHERINE A           NY         11569902         WEITZ & LUXENBERG, PC
RABE                 JERRIE                NY         CV013921         WEITZ & LUXENBERG, PC                                RAILEY               JOSEPH RANDOLF        NY         CV016250         WEITZ & LUXENBERG, PC
RABE                 RICKEY                NY         CV013921         WEITZ & LUXENBERG, PC                                RAILEY               MARSHA                NY         CV016250         WEITZ & LUXENBERG, PC
RABIDEAU             KENNETH               NY         10861600         WEITZ & LUXENBERG, PC                                RAIMO                RICHARD               NY         1903562017       WEITZ & LUXENBERG, PC
RABIDEAU             LILLIAN               NY         10716802         WEITZ & LUXENBERG, PC                                RAIMO                ROSEANN               NY         1903562017       WEITZ & LUXENBERG, PC
RABIDEAU             LILLIAN               NY         11239902         WEITZ & LUXENBERG, PC                                RAINBOLT             BETTY JO              NY         CV025685         WEITZ & LUXENBERG, PC
RABIDEAU             RICHARD C             NY         10716802         WEITZ & LUXENBERG, PC                                RAINBOLT             MCKINLEY              NY         CV025685         WEITZ & LUXENBERG, PC
RABIDEAU             RICHARD C             NY         11239902         WEITZ & LUXENBERG, PC                                RAINES               ALFONSO D             NY         11123201         WEITZ & LUXENBERG, PC
RABUCK               MAE O                 NY         19040110         WEITZ & LUXENBERG, PC                                RAINES               BELLE                 NY         11123201         WEITZ & LUXENBERG, PC
RABUCK               WILLIAM               NY         19040110         WEITZ & LUXENBERG, PC                                RAINES               CHARLES               NY         CV021310         WEITZ & LUXENBERG, PC
RABY                 CHARLENE              NY         01CIV3901        WEITZ & LUXENBERG, PC                                RAINES               CHARLES WARREN        NY         CV021310         WEITZ & LUXENBERG, PC
RABY                 DANIEL EUGENE         NY         01CIV3901        WEITZ & LUXENBERG, PC                                RAINES               JANEY                 NY         CV021310         WEITZ & LUXENBERG, PC
RACANELLI            ANN                   NY         01111235         WEITZ & LUXENBERG, PC                                RAINES               JANEY SUE             NY         CV021310         WEITZ & LUXENBERG, PC
RACANELLI            ANN                   NY         11839401         WEITZ & LUXENBERG, PC                                RAINES               MARJORIE L            NY         CV022246         WEITZ & LUXENBERG, PC
RACANELLI            ANN T                 NY         12039801         WEITZ & LUXENBERG, PC                                RAINEY               ATRIC                 NY         CV016535         WEITZ & LUXENBERG, PC
RACANELLI            ANN T                 NY         10479402         WEITZ & LUXENBERG, PC                                RAINEY               DERRIES               NY         CV016535         WEITZ & LUXENBERG, PC
RACANELLI            VINCENT               NY         01111235         WEITZ & LUXENBERG, PC                                RAINEY               EMMA                  NY         01CIV3895        WEITZ & LUXENBERG, PC
RACANELLI            VINCENT               NY         11839401         WEITZ & LUXENBERG, PC                                RAKEBRAND            ELAINE                NY         1900652019       WEITZ & LUXENBERG, PC
RACE                 MARGARET              NY         12801902         WEITZ & LUXENBERG, PC                                RAKEBRAND            HERBERT A             NY         1900652019       WEITZ & LUXENBERG, PC
RACE                 RALPH G               NY         12801902         WEITZ & LUXENBERG, PC                                RAKER                FRANCIS               NY         10646101         WEITZ & LUXENBERG, PC
RACHUTA              JOSEPH P              NY         10861500         WEITZ & LUXENBERG, PC                                RAKER                RONALD G              NY         10646101         WEITZ & LUXENBERG, PC
RACHWAL              JOSEPH J              NY         11376900         WEITZ & LUXENBERG, PC                                RAMETTI              LINDA                 NY         01111234         WEITZ & LUXENBERG, PC
RACIOPPI             GEORGE                NY         10645601         WEITZ & LUXENBERG, PC                                RAMETTI              LINDA                 NY         11922601         WEITZ & LUXENBERG, PC
RACIOPPI             VIRGINIA              NY         10645601         WEITZ & LUXENBERG, PC                                RAMETTI              RALPH C               NY         01111234         WEITZ & LUXENBERG, PC
RADA                 CAROLINA              NY         12043101         WEITZ & LUXENBERG, PC                                RAMETTI              RALPH C               NY         11922601         WEITZ & LUXENBERG, PC
RADA                 FREDERICK             NY         12043101         WEITZ & LUXENBERG, PC                                RAMIREZ              ELIDA                 NY         1900702016       WEITZ & LUXENBERG, PC
RADICE               JOSEPHINE G           NY         10701400         WEITZ & LUXENBERG, PC                                RAMIREZ              JESUS                 NY         10039603         WEITZ & LUXENBERG, PC
RADICE               NICHOLAS C            NY         10701400         WEITZ & LUXENBERG, PC                                RAMIREZ              JOSEPH F              NY         1903942014       WEITZ & LUXENBERG, PC
RADICH               STEPHEN N             NY         02120709         WEITZ & LUXENBERG, PC                                RAMIREZ              TAMARA                NY         1903942014       WEITZ & LUXENBERG, PC
RADO                 ARLENE                NY         11788100         WEITZ & LUXENBERG, PC                                RAMIREZ              VONDA A               NY         10716702         WEITZ & LUXENBERG, PC
RADO                 DAVID L               NY         10645701         WEITZ & LUXENBERG, PC                                RAMIREZ              WILLIAM               NY         10716702         WEITZ & LUXENBERG, PC
RADO                 JOSEPH P              NY         11788100         WEITZ & LUXENBERG, PC                                RAMMER               ANTHONY               NY         11770503         WEITZ & LUXENBERG, PC
RADOMSKI             CASIMER               NY         99103358         WEITZ & LUXENBERG, PC                                RAMO                 CAROL                 NY         1901302018       WEITZ & LUXENBERG, PC
RADOMSKI             MARY                  NY         99103358         WEITZ & LUXENBERG, PC                                RAMO                 JOHN                  NY         1901302018       WEITZ & LUXENBERG, PC
RADOVCIC             EMILIJO               NY         10817606         WEITZ & LUXENBERG, PC                                RAMOS                BARBARA               NY         02107006         WEITZ & LUXENBERG, PC
RADOVCIC             MARIGA                NY         10817606         WEITZ & LUXENBERG, PC                                RAMOS                HECTOR                NY         11548007         WEITZ & LUXENBERG, PC
RADOVIC              JOSIP L               NY         1902772019       WEITZ & LUXENBERG, PC                                RAMOS                JORGE                 NY         01111227         WEITZ & LUXENBERG, PC
RADOVIC              ROMANA                NY         1902772019       WEITZ & LUXENBERG, PC                                RAMOS                NEREIDA               NY         11377200         WEITZ & LUXENBERG, PC
RADTKE               DONALD W              NY         10699902         WEITZ & LUXENBERG, PC                                RAMOS                REGINA                NY         11548007         WEITZ & LUXENBERG, PC
RADTKE               PATRICIA              NY         10699902         WEITZ & LUXENBERG, PC                                RAMOS                THOMAS                NY         11377200         WEITZ & LUXENBERG, PC
RADULSKI             MARY                  NY         10658102         WEITZ & LUXENBERG, PC                                RAMOS                THOMAS G              NY         02107006         WEITZ & LUXENBERG, PC
RADULSKI             ROBERT A              NY         10658102         WEITZ & LUXENBERG, PC                                RAMSDEN              IRMA                  NY         1901592018       WEITZ & LUXENBERG, PC
RADWANSKI            BERNARD               NY         10316602         WEITZ & LUXENBERG, PC                                RAMSDEN              WILLIAM L             NY         1901592018       WEITZ & LUXENBERG, PC
RADWANSKI            STANLEY C             NY         10700002         WEITZ & LUXENBERG, PC                                RAMSEY               TG                    NY         01CIV3900        WEITZ & LUXENBERG, PC
RADWANSKI            VALENTINA             NY         10316602         WEITZ & LUXENBERG, PC                                RANALLI              JOSEPH J              NY         01CIV7365        WEITZ & LUXENBERG, PC
RAE                  DEAN                  NY         10722202         WEITZ & LUXENBERG, PC                                RAND                 LEROY BERNARD         NY         99103368         WEITZ & LUXENBERG, PC
RAE                  MARIE                 NY         10722202         WEITZ & LUXENBERG, PC                                RAND                 SANDRA                NY         99103368         WEITZ & LUXENBERG, PC
RAFFERTY             JOHN                  NY         10645801         WEITZ & LUXENBERG, PC                                RANDALL              GARY R                NY         10701600         WEITZ & LUXENBERG, PC
RAFFERTY             MAUREEN               NY         10645801         WEITZ & LUXENBERG, PC                                RANDALL              JACKLIN RACHEAL       NY         01CIV3895        WEITZ & LUXENBERG, PC
RAFOSS               BJORN                 NY         1900062019       WEITZ & LUXENBERG, PC                                RANDALL              JOSEPH L              DE         N16C09065ASB     WEITZ & LUXENBERG, PC
RAFOSS               REIDUN                NY         1900062019       WEITZ & LUXENBERG, PC                                RANDALL              ROBERT G              NY         10357702         WEITZ & LUXENBERG, PC
RAGNO                DOMENICO              NY         10861300         WEITZ & LUXENBERG, PC                                RANDALL              ROSE                  NY         10701600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1039
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 374 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RANDALL              ROSEMARY              DE         N16C09065ASB     WEITZ & LUXENBERG, PC                                RAUCH                CHARLES H             NY         11123201         WEITZ & LUXENBERG, PC
RANDALL              WILLIAM               NY         1904522012       WEITZ & LUXENBERG, PC                                RAUCH                EVELYN                NY         11978701         WEITZ & LUXENBERG, PC
RANDAZZO             ANNA                  NY         10646201         WEITZ & LUXENBERG, PC                                RAUCH                EVELYN                NY         11123201         WEITZ & LUXENBERG, PC
RANDAZZO             CHRISTINE             NY         6084122018       WEITZ & LUXENBERG, PC                                RAUCHMAN             PHILIP                NY         12056603         WEITZ & LUXENBERG, PC
RANDAZZO             FRANK                 NY         6084122018       WEITZ & LUXENBERG, PC                                RAUCHUT              JOHN                  NY         01111235         WEITZ & LUXENBERG, PC
RANDAZZO             FRANK J               NY         10646201         WEITZ & LUXENBERG, PC                                RAUCHUT              JOHN                  NY         11839301         WEITZ & LUXENBERG, PC
RANDAZZO             LILLIAN               NY         10870000         WEITZ & LUXENBERG, PC                                RAUCHUT              ROSEMARIE             NY         01111235         WEITZ & LUXENBERG, PC
RANDAZZO             MICHAEL               NY         10870000         WEITZ & LUXENBERG, PC                                RAUCHUT              ROSEMARIE             NY         11839301         WEITZ & LUXENBERG, PC
RANDLE               SIDNEY                NY         00CIV3589        WEITZ & LUXENBERG, PC                                RAUDABAUGH           JUDY                  DE         N19C09014ASB     WEITZ & LUXENBERG, PC
RANGEL               CARLEZ J              NY         11026902         WEITZ & LUXENBERG, PC                                RAUDABAUGH           VERNON L              DE         N19C09014ASB     WEITZ & LUXENBERG, PC
RANGEL               EVELYN                NY         11026902         WEITZ & LUXENBERG, PC                                RAUERT               ELIZABETH             NY         10200502         WEITZ & LUXENBERG, PC
RANGER               MARGARET O            NY         19002412         WEITZ & LUXENBERG, PC                                RAUERT               JOHN                  NY         10200502         WEITZ & LUXENBERG, PC
RANIC                RICHARD D             NY         10869900         WEITZ & LUXENBERG, PC                                RAULINS              CORRINE A             NY         11099902         WEITZ & LUXENBERG, PC
RANIC                RITA A                NY         10869900         WEITZ & LUXENBERG, PC                                RAUSCH               EDWARD H              NY         02105718         WEITZ & LUXENBERG, PC
RANIERI              FRANCESCO             NY         12693502         WEITZ & LUXENBERG, PC                                RAUSCH               ELLEN S               NY         12693402         WEITZ & LUXENBERG, PC
RANIERI              KATERINA              NY         12693502         WEITZ & LUXENBERG, PC                                RAUSCH               EUGENE                NY         12693402         WEITZ & LUXENBERG, PC
RANKIN               EBBIN                 NY         02106580         WEITZ & LUXENBERG, PC                                RAUSCH               JACQUELINE            NY         02105718         WEITZ & LUXENBERG, PC
RANKIN               JOHN A                NY         10696402         WEITZ & LUXENBERG, PC                                RAUSCH               NANCY C               NY         99103365         WEITZ & LUXENBERG, PC
RANKIN               MARY LOU              NY         10696402         WEITZ & LUXENBERG, PC                                RAUSCH               WILLIAM M             NY         99103365         WEITZ & LUXENBERG, PC
RANKIN               WILLIE DELL           NY         02106580         WEITZ & LUXENBERG, PC                                RAVAN                MABEL                 DE         N17C031616ASB    WEITZ & LUXENBERG, PC
RANNO                GLEN P                NY         02122050         WEITZ & LUXENBERG, PC                                RAVAN                ROY                   DE         N17C031616ASB    WEITZ & LUXENBERG, PC
RANSEY               WANDA                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                RAVEN                DIANNE S              NY         99103364         WEITZ & LUXENBERG, PC
RANSOM               ALMA                  NY         10869800         WEITZ & LUXENBERG, PC                                RAVEN                RONALD LEE            NY         99103364         WEITZ & LUXENBERG, PC
RANSOM               BENJAMIN R            NY         10696402         WEITZ & LUXENBERG, PC                                RAVENELL             ANITA                 NY         10869400         WEITZ & LUXENBERG, PC
RANSOM               ORLO                  NY         10869800         WEITZ & LUXENBERG, PC                                RAVENELL             JOSEPH                NY         10869400         WEITZ & LUXENBERG, PC
RANZ                 BERNARD E             NY         10740302         WEITZ & LUXENBERG, PC                                RAVIDA               HELEN                 NY         10869300         WEITZ & LUXENBERG, PC
RANZ                 DAWN                  NY         10740302         WEITZ & LUXENBERG, PC                                RAVIDA               MICHAEL CARMEN        NY         10869300         WEITZ & LUXENBERG, PC
RAPANARO             JOSEPHINE             NY         10869700         WEITZ & LUXENBERG, PC                                RAVILLE              MARVIN JAMES          NY         10587402         WEITZ & LUXENBERG, PC
RAPANARO             PETER                 NY         10869700         WEITZ & LUXENBERG, PC                                RAWLES               CHARLES               NY         10701800         WEITZ & LUXENBERG, PC
RAPHAEL              JOHN                  NY         1904972013       WEITZ & LUXENBERG, PC                                RAY                  ALMA JEAN             NY         02106692         WEITZ & LUXENBERG, PC
RAPONE               FLORENCE              NY         11788200         WEITZ & LUXENBERG, PC                                RAY                  DONALD L              NY         11327702         WEITZ & LUXENBERG, PC
RAPONE               ROCKY A               NY         11788200         WEITZ & LUXENBERG, PC                                RAY                  FREELYN H             NY         CV017610         WEITZ & LUXENBERG, PC
RAPONI               ANTONIA               NY         10701700         WEITZ & LUXENBERG, PC                                RAY                  JAMES                 NY         10336299         WEITZ & LUXENBERG, PC
RAPONI               ORLANDO               NY         10701700         WEITZ & LUXENBERG, PC                                RAY                  JOSEPH H              NY         1901662012       WEITZ & LUXENBERG, PC
RAPP                 HAROLD R              NY         10710102         WEITZ & LUXENBERG, PC                                RAY                  JOYCE                 NY         10336299         WEITZ & LUXENBERG, PC
RAPP                 HAROLD R              NY         11965302         WEITZ & LUXENBERG, PC                                RAY                  LAWRENCE              NY         12788802         WEITZ & LUXENBERG, PC
RAPP                 JERZY T               NY         11961801         WEITZ & LUXENBERG, PC                                RAY                  NORMAN                NY         02106692         WEITZ & LUXENBERG, PC
RAPP                 JERZY T               NY         01111229         WEITZ & LUXENBERG, PC                                RAY                  ROBERT C              NY         01CIV3901        WEITZ & LUXENBERG, PC
RAPP                 MARIA                 NY         10710102         WEITZ & LUXENBERG, PC                                RAY                  RUBY                  NY         CV017585         WEITZ & LUXENBERG, PC
RAPP                 MARIA                 NY         11965302         WEITZ & LUXENBERG, PC                                RAY                  SHARON                NY         01CIV3901        WEITZ & LUXENBERG, PC
RAPP                 MARY E                NY         11961801         WEITZ & LUXENBERG, PC                                RAY                  THERESA               NY         11327702         WEITZ & LUXENBERG, PC
RAPP                 MARY E                NY         01111229         WEITZ & LUXENBERG, PC                                RAY                  THERRELL MELTON       NY         CV017585         WEITZ & LUXENBERG, PC
RAPPE                JOSEPHINE             NY         12039901         WEITZ & LUXENBERG, PC                                RAY                  VINCENT C             NY         11026702         WEITZ & LUXENBERG, PC
RAPPE                THOMAS D              NY         12039901         WEITZ & LUXENBERG, PC                                RAY                  YEVON                 NY         1901662012       WEITZ & LUXENBERG, PC
RARRICK              CHARLOTTE             NY         10740202         WEITZ & LUXENBERG, PC                                RAYCRAFT             ELIZABETH             NY         1902342015       WEITZ & LUXENBERG, PC
RARRICK              CHARLOTTE             NY         11331702         WEITZ & LUXENBERG, PC                                RAYL                 EVANGELINE            NY         10869200         WEITZ & LUXENBERG, PC
RARRICK              JACK                  NY         10740202         WEITZ & LUXENBERG, PC                                RAYL                 STEPHEN               NY         10869200         WEITZ & LUXENBERG, PC
RARRICK              JACK                  NY         11331702         WEITZ & LUXENBERG, PC                                RAYMOND              MICHAEL               NY         12100401         WEITZ & LUXENBERG, PC
RAS                  EDWARD J              NY         02105713         WEITZ & LUXENBERG, PC                                RAYMOND              VIOLET                NY         12100401         WEITZ & LUXENBERG, PC
RAS                  MARILYN               NY         02105713         WEITZ & LUXENBERG, PC                                RAYMORE              ALBERT                NY         10754701         WEITZ & LUXENBERG, PC
RASCONA              CARMELO               NY         11938400         WEITZ & LUXENBERG, PC                                RAYNOR               CHARLES               NY         CV017586         WEITZ & LUXENBERG, PC
RASCONA              REGINA LEE            NY         11938400         WEITZ & LUXENBERG, PC                                RAYNOR               IVAN                  NY         10701900         WEITZ & LUXENBERG, PC
RASILE               ANTONIO               NY         01111226         WEITZ & LUXENBERG, PC                                RAYNOR               LORETTA               NY         10701900         WEITZ & LUXENBERG, PC
RASILE               FLORINE               NY         01111226         WEITZ & LUXENBERG, PC                                RAZIS                MARGARET ANN          NY         1904612018       WEITZ & LUXENBERG, PC
RASMUS               GEORGE S              NY         10869600         WEITZ & LUXENBERG, PC                                RAZIS                PETER                 NY         1904612018       WEITZ & LUXENBERG, PC
RASMUS               GERALDINE             NY         10869600         WEITZ & LUXENBERG, PC                                RAZZANO              FRANK A               NY         12039101         WEITZ & LUXENBERG, PC
RASPBERRY            LORETTA               NY         11415502         WEITZ & LUXENBERG, PC                                RAZZANO              FRANK A               NY         10427802         WEITZ & LUXENBERG, PC
RATCHFORD            ROBERT B              NY         101762           WEITZ & LUXENBERG, PC                                RAZZANO              JOSEPHINE             NY         12039101         WEITZ & LUXENBERG, PC
RATCLIFF             BETTY                 NY         12043101         WEITZ & LUXENBERG, PC                                RAZZANO              JOSEPHINE             NY         10427802         WEITZ & LUXENBERG, PC
RATCLIFF             IVEY                  NY         12043101         WEITZ & LUXENBERG, PC                                REA                  DONALD PETER          NY         10405599         WEITZ & LUXENBERG, PC
RATH                 HAROLD H              NY         12668202         WEITZ & LUXENBERG, PC                                REA                  EMMA E                NY         10405599         WEITZ & LUXENBERG, PC
RATH                 JAMES F               NY         11377300         WEITZ & LUXENBERG, PC                                REA                  LORETTA J             NY         1901562018       WEITZ & LUXENBERG, PC
RATH                 JUDITH                NY         11377300         WEITZ & LUXENBERG, PC                                READ                 ALEXA                 NY         10008703         WEITZ & LUXENBERG, PC
RATH                 MARY                  NY         12668202         WEITZ & LUXENBERG, PC                                READ                 DELANO                NY         10008703         WEITZ & LUXENBERG, PC
RATHBUN              VALERIE               NY         1902042013       WEITZ & LUXENBERG, PC                                REAGAN               BETTE                 NY         10710002         WEITZ & LUXENBERG, PC
RATHBUN              VIRGIL V              NY         1902042013       WEITZ & LUXENBERG, PC                                REAGAN               BETTE                 NY         12221502         WEITZ & LUXENBERG, PC
RATHBURN             THOMAS F              NY         10696502         WEITZ & LUXENBERG, PC                                REAGAN               FRANK H               NY         10710002         WEITZ & LUXENBERG, PC
RATNER               AL                    NY         10869500         WEITZ & LUXENBERG, PC                                REAGAN               FRANK H               NY         12221502         WEITZ & LUXENBERG, PC
RATNER               MYRA                  NY         10869500         WEITZ & LUXENBERG, PC                                REAHER               DOROTHY               NY         10405499         WEITZ & LUXENBERG, PC
RAUCCI               FRANCIS A             NY         19030809         WEITZ & LUXENBERG, PC                                REAHER               WALKER J              NY         10405499         WEITZ & LUXENBERG, PC
RAUCH                CHARLES H             NY         11978701         WEITZ & LUXENBERG, PC                                REALE                JOAN                  NY         12039301         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1040
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 375 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

REALE                JOHN                  NY         12039301         WEITZ & LUXENBERG, PC                                REED                 EVELYN                NY         10669502         WEITZ & LUXENBERG, PC
REALE                PASQUALE A            NY         11978303         WEITZ & LUXENBERG, PC                                REED                 GLENN R               NY         10700002         WEITZ & LUXENBERG, PC
REALMUTO             ENZA                  NY         99122192         WEITZ & LUXENBERG, PC                                REED                 HOPE                  NY         99122192         WEITZ & LUXENBERG, PC
REALMUTO             VINCENZO              NY         99122192         WEITZ & LUXENBERG, PC                                REED                 IVEY                  NY         01CIV3895        WEITZ & LUXENBERG, PC
REAP                 FRANCIS P             NY         10571702         WEITZ & LUXENBERG, PC                                REED                 JAMES A               NY         CV013921         WEITZ & LUXENBERG, PC
REASINGER            DONALD                NY         10809000         WEITZ & LUXENBERG, PC                                REED                 JANICE                NY         CV018232         WEITZ & LUXENBERG, PC
REASINGER            DONALD                NY         99122192         WEITZ & LUXENBERG, PC                                REED                 JERRY                 NY         10072303         WEITZ & LUXENBERG, PC
REASINGER            HELEN                 NY         10809000         WEITZ & LUXENBERG, PC                                REED                 JOE ARNOLD            NY         CV021265         WEITZ & LUXENBERG, PC
REASINGER            HELEN                 NY         99122192         WEITZ & LUXENBERG, PC                                REED                 JOHN                  NY         19004011         WEITZ & LUXENBERG, PC
REAVES               DEBBIE                NY         CV025685         WEITZ & LUXENBERG, PC                                REED                 KEITH T               NY         10393499         WEITZ & LUXENBERG, PC
REAVES               DELERT LEON           NY         CV025685         WEITZ & LUXENBERG, PC                                REED                 KENNETH EDWARD        NY         10740202         WEITZ & LUXENBERG, PC
REBECCA              JOHNSON               NY         1901582017       WEITZ & LUXENBERG, PC                                REED                 KENNETH EDWARD        NY         11331602         WEITZ & LUXENBERG, PC
REBIS                DIANA                 NY         1902982019       WEITZ & LUXENBERG, PC                                REED                 LEE A                 NY         10871001         WEITZ & LUXENBERG, PC
REBIS                JOHN G                NY         1902982019       WEITZ & LUXENBERG, PC                                REED                 MARILOU               NY         19004011         WEITZ & LUXENBERG, PC
RECCHIO              GEORGE                NY         10808900         WEITZ & LUXENBERG, PC                                REED                 NORMAN                NY         10808400         WEITZ & LUXENBERG, PC
RECCHIO              GEORGE                NY         99122192         WEITZ & LUXENBERG, PC                                REED                 NORMAN                NY         99122192         WEITZ & LUXENBERG, PC
RECCHIO              JANICE F              NY         10808900         WEITZ & LUXENBERG, PC                                REED                 PHILIP E              NY         10669502         WEITZ & LUXENBERG, PC
RECCHIO              JANICE F              NY         99122192         WEITZ & LUXENBERG, PC                                REED                 ROBERT F              NY         CV040019         WEITZ & LUXENBERG, PC
RECHIN               PATRICIA              NY         11327802         WEITZ & LUXENBERG, PC                                REED                 SUE                   NY         CV013921         WEITZ & LUXENBERG, PC
RECHIN               RONALD G              NY         11327802         WEITZ & LUXENBERG, PC                                REED                 TERRY                 NY         CV018232         WEITZ & LUXENBERG, PC
RECK                 CAROL                 NY         11027002         WEITZ & LUXENBERG, PC                                REED                 TIMOTHY R             NY         10393499         WEITZ & LUXENBERG, PC
RECK                 CAROL JANE            NY         12670402         WEITZ & LUXENBERG, PC                                REED                 WILLIAM A JR          NY         99122192         WEITZ & LUXENBERG, PC
RECK                 RANDOLPH F            NY         11027002         WEITZ & LUXENBERG, PC                                REEDER               PERVIS                NY         10754601         WEITZ & LUXENBERG, PC
RECK                 RANDOLPH F            NY         12670402         WEITZ & LUXENBERG, PC                                REEDER               SONIA                 NY         10754601         WEITZ & LUXENBERG, PC
RECORE               JAMES L               NY         10808800         WEITZ & LUXENBERG, PC                                REEDY                LARRY L               NY         10740202         WEITZ & LUXENBERG, PC
RECORE               JAMES L               NY         99122192         WEITZ & LUXENBERG, PC                                REEP                 GENEVIEVE             NY         11375000         WEITZ & LUXENBERG, PC
RED                  JESS WILLARD          NY         CIV006917        WEITZ & LUXENBERG, PC                                REEP                 ROGER W               NY         11375000         WEITZ & LUXENBERG, PC
RED                  SUNNY                 NY         CIV006917        WEITZ & LUXENBERG, PC                                REES                 ALMA                  NY         12433902         WEITZ & LUXENBERG, PC
REDD                 CLARENCE E            NY         12039701         WEITZ & LUXENBERG, PC                                REES                 HARRY                 NY         12433902         WEITZ & LUXENBERG, PC
REDD                 JUDITH                NY         12039701         WEITZ & LUXENBERG, PC                                REESE                JAMES ROBERT          NY         CV016251         WEITZ & LUXENBERG, PC
REDDER               EDWARD L              NY         12100401         WEITZ & LUXENBERG, PC                                REESE                JANE                  NY         CV016251         WEITZ & LUXENBERG, PC
REDDY                ROBERT J              NY         99103936         WEITZ & LUXENBERG, PC                                REESE                MINERVA               NY         12043101         WEITZ & LUXENBERG, PC
REDFERN              DOUGLAS S             NY         02105716         WEITZ & LUXENBERG, PC                                REESE                PAUL L                NY         12043101         WEITZ & LUXENBERG, PC
REDFERN              DOUGLAS S             NY         11165502         WEITZ & LUXENBERG, PC                                REEVES               BARTRAM L             NY         11901801         WEITZ & LUXENBERG, PC
REDFERN              SANDRA                NY         02105716         WEITZ & LUXENBERG, PC                                REEVES               CLARA ZETT            NY         01CIV3900        WEITZ & LUXENBERG, PC
REDFERN              SANDRA                NY         11165502         WEITZ & LUXENBERG, PC                                REEVES               GEORGE                NY         99103933         WEITZ & LUXENBERG, PC
REDIC                ALANZO                NY         CV025685         WEITZ & LUXENBERG, PC                                REEVES               IRENE                 NY         11901801         WEITZ & LUXENBERG, PC
REDIC                HATY LEIGH            NY         CV025685         WEITZ & LUXENBERG, PC                                REEVES               JOHN                  NY         00CIV3589        WEITZ & LUXENBERG, PC
REDICAN              LAWRENCE              NY         10710002         WEITZ & LUXENBERG, PC                                REEVES               LYNDA                 NY         00CIV3589        WEITZ & LUXENBERG, PC
REDICAN              LAWRENCE              NY         12683502         WEITZ & LUXENBERG, PC                                REEVES               MILDRED               NY         99103933         WEITZ & LUXENBERG, PC
REDICAN              MARY                  NY         10710002         WEITZ & LUXENBERG, PC                                REGA                 ANIELLO               NY         1900192014       WEITZ & LUXENBERG, PC
REDICAN              MARY                  NY         12683502         WEITZ & LUXENBERG, PC                                REGA                 FRANK J               NY         11788300         WEITZ & LUXENBERG, PC
REDICAN              STEPHEN               NY         10710002         WEITZ & LUXENBERG, PC                                REGA                 MARILYN LEE           NY         11788300         WEITZ & LUXENBERG, PC
REDICAN              STEPHEN               NY         12683502         WEITZ & LUXENBERG, PC                                REGA                 ROSA                  NY         1900192014       WEITZ & LUXENBERG, PC
REDMAN               WILLIAM J             NY         10696502         WEITZ & LUXENBERG, PC                                REGAN                CHARLES A             NY         10670402         WEITZ & LUXENBERG, PC
REDMOND              EDWARD A              NY         11374900         WEITZ & LUXENBERG, PC                                REGAN                LILLIAN               NY         11179504         WEITZ & LUXENBERG, PC
REDMOND              ELDORA I              NY         11374900         WEITZ & LUXENBERG, PC                                REGAN                ROBERT J              NY         12668602         WEITZ & LUXENBERG, PC
REDRICK              ABE                   NY         10808700         WEITZ & LUXENBERG, PC                                REGAN                WILLIAM               NY         11179504         WEITZ & LUXENBERG, PC
REDRICK              ABE                   NY         99122192         WEITZ & LUXENBERG, PC                                REGGANS              RUTHEL                NY         CV012367         WEITZ & LUXENBERG, PC
REECE                JACQUELINE            NY         12349499         WEITZ & LUXENBERG, PC                                REGGIO               ANN                   NY         10808200         WEITZ & LUXENBERG, PC
REECE                MARVIN                NY         12349499         WEITZ & LUXENBERG, PC                                REGGIO               ANN                   NY         99122192         WEITZ & LUXENBERG, PC
REECK                JOAN DOROTHY          NY         1903292012       WEITZ & LUXENBERG, PC                                REGGIO               ANTHONY L             NY         10808200         WEITZ & LUXENBERG, PC
REECK                LLOYD A               NY         1903292012       WEITZ & LUXENBERG, PC                                REGGIO               ANTHONY L             NY         99122192         WEITZ & LUXENBERG, PC
REECK                STEPHEN L             NY         1903292012       WEITZ & LUXENBERG, PC                                REGGIO               GINO                  NY         10393199         WEITZ & LUXENBERG, PC
REED                 ADORA L               NY         10740202         WEITZ & LUXENBERG, PC                                REGGIO               JOHN C                NY         10669502         WEITZ & LUXENBERG, PC
REED                 ADORA L               NY         11331602         WEITZ & LUXENBERG, PC                                REGGIO               JOHN C                NY         11857102         WEITZ & LUXENBERG, PC
REED                 ALFONIA               NY         01CIV3895        WEITZ & LUXENBERG, PC                                REGGIO               LAURA                 NY         10393199         WEITZ & LUXENBERG, PC
REED                 ALICE                 NY         10700002         WEITZ & LUXENBERG, PC                                REGGIO               LILIAN                NY         10669502         WEITZ & LUXENBERG, PC
REED                 BARBARA               NY         11616904         WEITZ & LUXENBERG, PC                                REGGIO               LILIAN                NY         11857102         WEITZ & LUXENBERG, PC
REED                 BOBBY                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                REGGIO               LILLIAN               NY         10669502         WEITZ & LUXENBERG, PC
REED                 BRADLEY               NY         10548000         WEITZ & LUXENBERG, PC                                REGGIO               LILLIAN               NY         11857102         WEITZ & LUXENBERG, PC
REED                 BRENDA                NY         10072303         WEITZ & LUXENBERG, PC                                REGINELLA            ROSARIO               NY         01111228         WEITZ & LUXENBERG, PC
REED                 BRENDA JOYCE          NY         00CIV3589        WEITZ & LUXENBERG, PC                                REGINO-REYNA         MARTIN                PA         190900377        WEITZ & LUXENBERG, PC
REED                 CHARLES L             NY         10710002         WEITZ & LUXENBERG, PC                                REGIS                MARTHA                NY         10722002         WEITZ & LUXENBERG, PC
REED                 CLAIRE                NY         10710002         WEITZ & LUXENBERG, PC                                REGIS                ROBERT                NY         10722002         WEITZ & LUXENBERG, PC
REED                 DANA B                NY         1901852014       WEITZ & LUXENBERG, PC                                REGULA               ANITA                 NY         10808100         WEITZ & LUXENBERG, PC
REED                 DAVID L               NY         10808600         WEITZ & LUXENBERG, PC                                REGULA               ANITA                 NY         99122192         WEITZ & LUXENBERG, PC
REED                 DAVID L               NY         99122192         WEITZ & LUXENBERG, PC                                REGULA               ROBERT R              NY         10808100         WEITZ & LUXENBERG, PC
REED                 DEBORAH               NY         1901852014       WEITZ & LUXENBERG, PC                                REGULA               ROBERT R              NY         99122192         WEITZ & LUXENBERG, PC
REED                 ELIZABETH             NY         10808600         WEITZ & LUXENBERG, PC                                REHILL               DEREK                 NY         11769900         WEITZ & LUXENBERG, PC
REED                 ELIZABETH             NY         99122192         WEITZ & LUXENBERG, PC                                REHILL               FRANK                 NY         10807700         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1041
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 376 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

REHILL               FRANK                 NY         99122192         WEITZ & LUXENBERG, PC                                REINBRECHT           KIMBERLY A            NY         1901882018       WEITZ & LUXENBERG, PC
REHILL               JAMES                 NY         11769900         WEITZ & LUXENBERG, PC                                REINBRECHT           KIMBERLY A            NY         CV084473         WEITZ & LUXENBERG, PC
REHILL               MARY                  NY         10807700         WEITZ & LUXENBERG, PC                                REINER               ISAAC E               NY         10368799         WEITZ & LUXENBERG, PC
REHILL               MARY                  NY         99122192         WEITZ & LUXENBERG, PC                                REINER               LAWRENCE JOHN         NY         99120312         WEITZ & LUXENBERG, PC
REICH                BARBARA R             NY         10722102         WEITZ & LUXENBERG, PC                                REINERT              KARRI                 NY         01108103         WEITZ & LUXENBERG, PC
REICH                BARBARA R             NY         11311802         WEITZ & LUXENBERG, PC                                REINERTSEN           ARTHUR J              NY         11075204         WEITZ & LUXENBERG, PC
REICH                JEFFREY               NY         1901612018       WEITZ & LUXENBERG, PC                                REINES               MARY M                NY         10033704         WEITZ & LUXENBERG, PC
REICH                RAYMOND J             NY         1901612018       WEITZ & LUXENBERG, PC                                REINES               ROBERT                NY         10033704         WEITZ & LUXENBERG, PC
REICHE               BARBARA T             NY         12039601         WEITZ & LUXENBERG, PC                                REINHOLD             MARIE                 NY         12121401         WEITZ & LUXENBERG, PC
REICHE               WALTER G              NY         12039601         WEITZ & LUXENBERG, PC                                REIS                 HANNACOVE             NY         10754401         WEITZ & LUXENBERG, PC
REICHHART            NORBERT J             NY         11375100         WEITZ & LUXENBERG, PC                                REIS                 RICHARD               NY         10754401         WEITZ & LUXENBERG, PC
REICHHART            SHIRLEY A             NY         11375100         WEITZ & LUXENBERG, PC                                REISE                CAROL M               NY         10807200         WEITZ & LUXENBERG, PC
REID                 BRENDA                NY         CV011216         WEITZ & LUXENBERG, PC                                REISE                CAROL M               NY         99122192         WEITZ & LUXENBERG, PC
REID                 JACK WALLACE          NY         97123238         WEITZ & LUXENBERG, PC                                REISE                PRESTON               NY         10807200         WEITZ & LUXENBERG, PC
REID                 JAMES                 NY         CV011216         WEITZ & LUXENBERG, PC                                REISE                PRESTON               NY         99122192         WEITZ & LUXENBERG, PC
REID                 JOHN                  NY         12039701         WEITZ & LUXENBERG, PC                                REISS                ALAN                  NY         19003210         WEITZ & LUXENBERG, PC
REID                 MADELINE              NY         97123238         WEITZ & LUXENBERG, PC                                REISS                FLORENCE              NY         19003210         WEITZ & LUXENBERG, PC
REID                 RICHARD K             NY         11375200         WEITZ & LUXENBERG, PC                                REITANO              ANTHONY               NY         12039101         WEITZ & LUXENBERG, PC
REID                 SECONIA               NY         12039701         WEITZ & LUXENBERG, PC                                REITH                ARLENE KAROL          NY         10700100         WEITZ & LUXENBERG, PC
REID                 SYLVIA                NY         11871901         WEITZ & LUXENBERG, PC                                REITH                JACK CHARLES          NY         10700100         WEITZ & LUXENBERG, PC
REID                 SYLVIA                NY         01111233         WEITZ & LUXENBERG, PC                                REITMAN              HAROLD                NY         99103697         WEITZ & LUXENBERG, PC
REID                 THOMAS M              NY         11871901         WEITZ & LUXENBERG, PC                                REITZ                ALBERT                NY         02107006         WEITZ & LUXENBERG, PC
REID                 THOMAS M              NY         01111233         WEITZ & LUXENBERG, PC                                REITZ                CHARLENE              NY         10809800         WEITZ & LUXENBERG, PC
REID                 WILLIAM               NY         01111223         WEITZ & LUXENBERG, PC                                REITZ                CHARLENE              NY         99122192         WEITZ & LUXENBERG, PC
REIDY                EDITH MARY            NY         10807600         WEITZ & LUXENBERG, PC                                REITZ                NICK F                NY         10740502         WEITZ & LUXENBERG, PC
REIDY                EDITH MARY            NY         99122192         WEITZ & LUXENBERG, PC                                REITZ                PHILLIP J             NY         10809800         WEITZ & LUXENBERG, PC
REIDY                WILLIAM J             NY         10807600         WEITZ & LUXENBERG, PC                                REITZ                PHILLIP J             NY         99122192         WEITZ & LUXENBERG, PC
REIDY                WILLIAM J             NY         99122192         WEITZ & LUXENBERG, PC                                RELIFORD             EDWARD                NY         11375300         WEITZ & LUXENBERG, PC
REIFFEN              MARJORIE              NY         10688600         WEITZ & LUXENBERG, PC                                RELIFORD             LOREAN                NY         11375300         WEITZ & LUXENBERG, PC
REIFSCHNEIDER        DONNA                 NY         98119902         WEITZ & LUXENBERG, PC                                RELYEA               JAMES A               NY         99103696         WEITZ & LUXENBERG, PC
REIGHTER             ROBERT                PA         190200613        WEITZ & LUXENBERG, PC                                RELYEA               PATRICIA ANN          NY         99103696         WEITZ & LUXENBERG, PC
REIGHTER             TERESA                PA         190200613        WEITZ & LUXENBERG, PC                                REMBERT              EDMONIA               NY         11375400         WEITZ & LUXENBERG, PC
REILLER              ANNE M                NY         10664201         WEITZ & LUXENBERG, PC                                REMBERT              ROBERT                NY         11375400         WEITZ & LUXENBERG, PC
REILLER              ANTHONY JOHN          NY         10664201         WEITZ & LUXENBERG, PC                                REMCHUK              CHRIS                 NY         10754301         WEITZ & LUXENBERG, PC
REILLY               BRIDGET               NY         1902412019       WEITZ & LUXENBERG, PC                                REMCHUK              LEWIS                 NY         10754301         WEITZ & LUXENBERG, PC
REILLY               CATHERINE             NY         10700000         WEITZ & LUXENBERG, PC                                REMES                PARKER V              NY         10809700         WEITZ & LUXENBERG, PC
REILLY               EILEEN                NY         1900372019       WEITZ & LUXENBERG, PC                                REMES                PARKER V              NY         99122192         WEITZ & LUXENBERG, PC
REILLY               ENRIQUETA             NY         01122139         WEITZ & LUXENBERG, PC                                REMES                ROSEMARIE             NY         10809700         WEITZ & LUXENBERG, PC
REILLY               ENRIQUETA             NY         10812802         WEITZ & LUXENBERG, PC                                REMES                ROSEMARIE             NY         99122192         WEITZ & LUXENBERG, PC
REILLY               FLORITA               NY         99120117         WEITZ & LUXENBERG, PC                                REMHILD              MARGARET              NY         10809600         WEITZ & LUXENBERG, PC
REILLY               GEORGE MICHAEL        NY         10807500         WEITZ & LUXENBERG, PC                                REMHILD              MARGARET              NY         99122192         WEITZ & LUXENBERG, PC
REILLY               GEORGE MICHAEL        NY         99122192         WEITZ & LUXENBERG, PC                                REMHILD              ROBERT C              NY         10809600         WEITZ & LUXENBERG, PC
REILLY               JAMES                 NY         10807400         WEITZ & LUXENBERG, PC                                REMHILD              ROBERT C              NY         99122192         WEITZ & LUXENBERG, PC
REILLY               JAMES J               NY         10871001         WEITZ & LUXENBERG, PC                                REMINGTON            PAUL F                NY         12802002         WEITZ & LUXENBERG, PC
REILLY               JAMES L               NY         01111226         WEITZ & LUXENBERG, PC                                REMINGTON            SANDRA L              NY         12802002         WEITZ & LUXENBERG, PC
REILLY               JAMES P               NY         01122139         WEITZ & LUXENBERG, PC                                REMMES               MARTY J               NY         10571702         WEITZ & LUXENBERG, PC
REILLY               JAMES P               NY         10812802         WEITZ & LUXENBERG, PC                                REMMLER              DONNELLI              NY         19003612         WEITZ & LUXENBERG, PC
REILLY               JOAN                  NY         10807500         WEITZ & LUXENBERG, PC                                REMMLER              LARRY W               NY         19003612         WEITZ & LUXENBERG, PC
REILLY               JOAN                  NY         99122192         WEITZ & LUXENBERG, PC                                REMSON               JOSEPH W              NY         11080200         WEITZ & LUXENBERG, PC
REILLY               JOAN                  NY         01111226         WEITZ & LUXENBERG, PC                                REMUS                HEINZ A               NY         02106693         WEITZ & LUXENBERG, PC
REILLY               JOHN J                NY         99120117         WEITZ & LUXENBERG, PC                                RENALDO              DONALD M              NY         10809500         WEITZ & LUXENBERG, PC
REILLY               JOSEPH P              NY         1902972015       WEITZ & LUXENBERG, PC                                RENALDO              DONALD M              NY         99122192         WEITZ & LUXENBERG, PC
REILLY               JULIA                 NY         10871001         WEITZ & LUXENBERG, PC                                RENALDO              MARLENE               NY         10809500         WEITZ & LUXENBERG, PC
REILLY               MARIANNE              NY         10049499         WEITZ & LUXENBERG, PC                                RENALDO              MARLENE               NY         99122192         WEITZ & LUXENBERG, PC
REILLY               MARY                  NY         12039201         WEITZ & LUXENBERG, PC                                RENDA                CATERINA              NY         10700200         WEITZ & LUXENBERG, PC
REILLY               MARY GAIL             NY         1902972015       WEITZ & LUXENBERG, PC                                RENDA                FRANCESCO             NY         10700200         WEITZ & LUXENBERG, PC
REILLY               MATTHEW J             NY         10178901         WEITZ & LUXENBERG, PC                                RENDA                GUISEPPE S            NY         10809400         WEITZ & LUXENBERG, PC
REILLY               MICHAEL               NY         10700000         WEITZ & LUXENBERG, PC                                RENDA                GUISEPPE S            NY         99122192         WEITZ & LUXENBERG, PC
REILLY               THOMAS J              NY         1902412019       WEITZ & LUXENBERG, PC                                RENDA                JANE                  NY         01111234         WEITZ & LUXENBERG, PC
REILLY               WILLIAM J             NY         1900372019       WEITZ & LUXENBERG, PC                                RENDA                JANE                  NY         11922701         WEITZ & LUXENBERG, PC
REIMERS              MARGARET              NY         99103688         WEITZ & LUXENBERG, PC                                RENDA                JOHN S                NY         01111234         WEITZ & LUXENBERG, PC
REIMERS              RICHARD C             NY         99103688         WEITZ & LUXENBERG, PC                                RENDA                JOHN S                NY         11922701         WEITZ & LUXENBERG, PC
REIMONDO             JOHN JAMES            NY         02122685         WEITZ & LUXENBERG, PC                                RENDER               JAMES A               NY         11375500         WEITZ & LUXENBERG, PC
REIMONDO             JUNE L                NY         02122685         WEITZ & LUXENBERG, PC                                RENDER               JOAN                  NY         11375500         WEITZ & LUXENBERG, PC
REIMONDO             LINDA                 NY         11436900         WEITZ & LUXENBERG, PC                                RENGERT              HAROLD G              NY         99103695         WEITZ & LUXENBERG, PC
REIMONDO             LINDA                 NY         12219799         WEITZ & LUXENBERG, PC                                RENGERT              MARGIE                NY         99103695         WEITZ & LUXENBERG, PC
REINA                ANTHONY               NY         11158903         WEITZ & LUXENBERG, PC                                RENN                 LEON 0                NY         10754201         WEITZ & LUXENBERG, PC
REINA                BIAGIO                NY         12173301         WEITZ & LUXENBERG, PC                                RENN                 MILDRED M             NY         10754201         WEITZ & LUXENBERG, PC
REINA                PATRICIA              NY         11158903         WEITZ & LUXENBERG, PC                                RENO                 TERRY DUANE           NY         10696402         WEITZ & LUXENBERG, PC
REINA                PHILIP                NY         10807300         WEITZ & LUXENBERG, PC                                RENTA                JOSE                  NY         10754101         WEITZ & LUXENBERG, PC
REINA                PHILIP                NY         99122192         WEITZ & LUXENBERG, PC                                RENTA                SARA                  NY         10754101         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1042
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 377 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RENZ                 DAVID J               NY         12039501         WEITZ & LUXENBERG, PC                                RHODES               BETTIE RUTH           NY         01CIV3895        WEITZ & LUXENBERG, PC
RENZ                 HERBERT               NY         12039501         WEITZ & LUXENBERG, PC                                RHODES               BILL R                NY         CV016706         WEITZ & LUXENBERG, PC
RENZ                 MAUREEN               NY         12039501         WEITZ & LUXENBERG, PC                                RHODES               CHERYL                NY         10118705         WEITZ & LUXENBERG, PC
RENZLER              JEANETTE              NY         1901792019       WEITZ & LUXENBERG, PC                                RHODES               DONALD RICHARD        NY         CV016536         WEITZ & LUXENBERG, PC
RENZLER              ROBERT K              NY         1901792019       WEITZ & LUXENBERG, PC                                RHODES               ETHEL                 NY         11375600         WEITZ & LUXENBERG, PC
REOME                BERNARD E             NY         99103694         WEITZ & LUXENBERG, PC                                RHODES               JAMES L               NY         10118705         WEITZ & LUXENBERG, PC
REPETTO              ANTHONY               NY         19030209         WEITZ & LUXENBERG, PC                                RHODES               JEAN                  NY         CV016536         WEITZ & LUXENBERG, PC
REPETTO              JOHN W                NY         1901682017       WEITZ & LUXENBERG, PC                                RHODES               MARTHA                NY         CV016706         WEITZ & LUXENBERG, PC
REPMAN               NORBERT C             NY         02106709         WEITZ & LUXENBERG, PC                                RHODES               RONALD C              NY         11375600         WEITZ & LUXENBERG, PC
REPMAN               NORBERT C             NY         11552202         WEITZ & LUXENBERG, PC                                RHODES               WALTER                NY         01CIV3895        WEITZ & LUXENBERG, PC
REPMAN               PATRICIA              NY         02106709         WEITZ & LUXENBERG, PC                                RIAL                 EDWARD E              NY         10740202         WEITZ & LUXENBERG, PC
REPMAN               PATRICIA              NY         11552202         WEITZ & LUXENBERG, PC                                RIAL                 EDWARD E              NY         11331402         WEITZ & LUXENBERG, PC
RESCIGNO             ANN                   NY         10106002         WEITZ & LUXENBERG, PC                                RIAL                 LINDA                 NY         10753901         WEITZ & LUXENBERG, PC
RESCIGNO             PALMILIO              NY         10106002         WEITZ & LUXENBERG, PC                                RIAL                 PRISCILLA             NY         10740202         WEITZ & LUXENBERG, PC
RESILE               MARY                  NY         01111218         WEITZ & LUXENBERG, PC                                RIAL                 PRISCILLA             NY         11331402         WEITZ & LUXENBERG, PC
RESILE               PASQUALE              NY         01111218         WEITZ & LUXENBERG, PC                                RIAL                 WILLIAM               NY         10753901         WEITZ & LUXENBERG, PC
RESSMAN              CARL J                NY         12693402         WEITZ & LUXENBERG, PC                                RIBANDO              CHARLES               NY         01111223         WEITZ & LUXENBERG, PC
RESSMAN              ELIZABETH             NY         12693402         WEITZ & LUXENBERG, PC                                RIBBLE               ARCHIE D              NY         10740002         WEITZ & LUXENBERG, PC
RETTIG               NATALIE               NY         I20019844        WEITZ & LUXENBERG, PC                                RIBBLE               ARCHIE D              NY         11404602         WEITZ & LUXENBERG, PC
RETTIG               THOMAS D              NY         I20019844        WEITZ & LUXENBERG, PC                                RIBBLE               CLIFFORD              NY         12668502         WEITZ & LUXENBERG, PC
REUSKENS             DEBRA                 NY         10809300         WEITZ & LUXENBERG, PC                                RIBBLE               CLIFFORD              NY         10331803         WEITZ & LUXENBERG, PC
REUSKENS             DEBRA                 NY         99122192         WEITZ & LUXENBERG, PC                                RIBBLE               ILENE M               NY         10740002         WEITZ & LUXENBERG, PC
REUSKENS             DONALD                NY         10809300         WEITZ & LUXENBERG, PC                                RIBBLE               ILENE M               NY         11404602         WEITZ & LUXENBERG, PC
REUSKENS             DONALD                NY         99122192         WEITZ & LUXENBERG, PC                                RIBBLE               SELINE M              NY         10740202         WEITZ & LUXENBERG, PC
REVAI                JOSEPH E              NY         10669102         WEITZ & LUXENBERG, PC                                RIBBLE               SELINE M              NY         11333402         WEITZ & LUXENBERG, PC
REVAI                JULIA B               NY         10669102         WEITZ & LUXENBERG, PC                                RIBBLE               SHIRLEY E             NY         12668502         WEITZ & LUXENBERG, PC
REVERA               ANN                   NY         11356702         WEITZ & LUXENBERG, PC                                RIBBLE               SHIRLEY E             NY         10331803         WEITZ & LUXENBERG, PC
REVERA               ANN                   NY         12730602         WEITZ & LUXENBERG, PC                                RICARD               ASILEE                NY         CV02880          WEITZ & LUXENBERG, PC
REVERE               JOSEPH W              NY         10420999         WEITZ & LUXENBERG, PC                                RICARD               EDWARD                NY         CV02880          WEITZ & LUXENBERG, PC
REY                  DOROTHY M             NY         02106693         WEITZ & LUXENBERG, PC                                RICARDI              SALLY                 NY         1901142014       WEITZ & LUXENBERG, PC
REY                  ELI E                 NY         02106693         WEITZ & LUXENBERG, PC                                RICCARDI             BONNIE J              NY         11036400         WEITZ & LUXENBERG, PC
REYER                CAROLYN S             NY         10700102         WEITZ & LUXENBERG, PC                                RICCARDI             CAROL                 NY         10176600         WEITZ & LUXENBERG, PC
REYER                DAVID CARL            NY         10700102         WEITZ & LUXENBERG, PC                                RICCARDI             RALPH                 NY         1901142014       WEITZ & LUXENBERG, PC
REYER                JOSEPHINE             NY         10700102         WEITZ & LUXENBERG, PC                                RICCARDI             RICHARD               NY         10176600         WEITZ & LUXENBERG, PC
REYER                PAUL R                NY         10700102         WEITZ & LUXENBERG, PC                                RICCARDO             JANE M                NY         10808000         WEITZ & LUXENBERG, PC
REYES                ANTHONY J             NY         11978601         WEITZ & LUXENBERG, PC                                RICCARDO             JANE M                NY         99122192         WEITZ & LUXENBERG, PC
REYES                ANTHONY J             NY         11123201         WEITZ & LUXENBERG, PC                                RICCARDO             RICHARD J             NY         10808000         WEITZ & LUXENBERG, PC
REYES                GERARDO               NY         10754001         WEITZ & LUXENBERG, PC                                RICCARDO             RICHARD J             NY         99122192         WEITZ & LUXENBERG, PC
REYES                LUZ A                 NY         11978601         WEITZ & LUXENBERG, PC                                RICCI                ANTHONY JOSEPH        NY         10700400         WEITZ & LUXENBERG, PC
REYES                LUZ A                 NY         11123201         WEITZ & LUXENBERG, PC                                RICCI                CAMILLE               NY         10700400         WEITZ & LUXENBERG, PC
REYES                MILCA                 NY         10754001         WEITZ & LUXENBERG, PC                                RICCI                JOANN                 NY         1902402015       WEITZ & LUXENBERG, PC
REYNICK              KENNETH               NY         12788802         WEITZ & LUXENBERG, PC                                RICCIARDI            ANN                   NY         11375700         WEITZ & LUXENBERG, PC
REYNOLDS             CAROL                 NY         1903522017       WEITZ & LUXENBERG, PC                                RICCIARDI            DOMINICK J            NY         11375700         WEITZ & LUXENBERG, PC
REYNOLDS             CHARLES N             NY         11938001         WEITZ & LUXENBERG, PC                                RICCIO               JOHN                  NY         10571702         WEITZ & LUXENBERG, PC
REYNOLDS             FREDERICK             NY         12043201         WEITZ & LUXENBERG, PC                                RICCIO               LINDA                 NY         02107102         WEITZ & LUXENBERG, PC
REYNOLDS             GOODWIN               NY         99104203         WEITZ & LUXENBERG, PC                                RICCIO               LOUIS                 NY         02107102         WEITZ & LUXENBERG, PC
REYNOLDS             JAMES C               NY         00107003         WEITZ & LUXENBERG, PC                                RICCIONE             MICHAEL L             NY         11660102         WEITZ & LUXENBERG, PC
REYNOLDS             JESSICA               NY         19023710         WEITZ & LUXENBERG, PC                                RICCIONE             VIRGINIA              NY         11660102         WEITZ & LUXENBERG, PC
REYNOLDS             JOHN C                NY         11327802         WEITZ & LUXENBERG, PC                                RICE                 ALICE                 NY         11374200         WEITZ & LUXENBERG, PC
REYNOLDS             JOHN L JR             NY         99122192         WEITZ & LUXENBERG, PC                                RICE                 ALLAN G               NY         02107005         WEITZ & LUXENBERG, PC
REYNOLDS             JOSEPH C              NY         99122192         WEITZ & LUXENBERG, PC                                RICE                 BARBARA               NY         02107007         WEITZ & LUXENBERG, PC
REYNOLDS             JUNE                  NY         99104203         WEITZ & LUXENBERG, PC                                RICE                 CLAUDE R              NY         10670602         WEITZ & LUXENBERG, PC
REYNOLDS             KATHRYN               NY         12448902         WEITZ & LUXENBERG, PC                                RICE                 DOLORES               NY         02107005         WEITZ & LUXENBERG, PC
REYNOLDS             KAY                   NY         99122192         WEITZ & LUXENBERG, PC                                RICE                 ELEANORE              NY         10970807         WEITZ & LUXENBERG, PC
REYNOLDS             KAY C                 NY         99122192         WEITZ & LUXENBERG, PC                                RICE                 ELMER                 NY         10970807         WEITZ & LUXENBERG, PC
REYNOLDS             LIZ                   NY         12043201         WEITZ & LUXENBERG, PC                                RICE                 IRENE                 NY         10670602         WEITZ & LUXENBERG, PC
REYNOLDS             MACIE                 NY         00107003         WEITZ & LUXENBERG, PC                                RICE                 LARRY Q               NY         11374000         WEITZ & LUXENBERG, PC
REYNOLDS             MARY                  NY         11327802         WEITZ & LUXENBERG, PC                                RICE                 MARSHA                NY         00124326         WEITZ & LUXENBERG, PC
REYNOLDS             NANCY                 NY         1902512019       WEITZ & LUXENBERG, PC                                RICE                 MICHAEL C             NY         99104064         WEITZ & LUXENBERG, PC
REYNOLDS             RICHARD W             NY         1902512019       WEITZ & LUXENBERG, PC                                RICE                 MICHAEL T             NY         02107007         WEITZ & LUXENBERG, PC
REYNOLDS             ROBERT E              NY         12448902         WEITZ & LUXENBERG, PC                                RICE                 PAMELA                NY         11374000         WEITZ & LUXENBERG, PC
REYNOLDS             RONALD J              NY         19023710         WEITZ & LUXENBERG, PC                                RICE                 PATRICK               NY         12039501         WEITZ & LUXENBERG, PC
REYNOLDS             THERESA               NY         11938001         WEITZ & LUXENBERG, PC                                RICE                 RONALD JAMES          NY         19006012         WEITZ & LUXENBERG, PC
REYNOLDS             THOMAS S              NY         12043201         WEITZ & LUXENBERG, PC                                RICE                 WILLIAM L             NY         11374200         WEITZ & LUXENBERG, PC
REYNOLDS             TRIFLENE              NY         12043201         WEITZ & LUXENBERG, PC                                RICH                 ANTHONY               NY         10047408         WEITZ & LUXENBERG, PC
REYNOLDS             WARD A                NY         1903522017       WEITZ & LUXENBERG, PC                                RICH                 CLAUDE                NY         01CIV3900        WEITZ & LUXENBERG, PC
RHEINER              GAIL                  NY         10072401         WEITZ & LUXENBERG, PC                                RICH                 DIXIE                 NY         00CIV1204        WEITZ & LUXENBERG, PC
RHEINER              GAIL                  NY         11939300         WEITZ & LUXENBERG, PC                                RICH                 FRANCES               NY         10907900         WEITZ & LUXENBERG, PC
RHINEHART            BARBARA LOUISE        NY         00CIV3589        WEITZ & LUXENBERG, PC                                RICH                 FRANCES               NY         99122192         WEITZ & LUXENBERG, PC
RHODA                FAWN LORRAIN          NY         10952700         WEITZ & LUXENBERG, PC                                RICH                 GERARD A              NY         10907900         WEITZ & LUXENBERG, PC
RHODE                CAROL                 NY         12668102         WEITZ & LUXENBERG, PC                                RICH                 GERARD A              NY         99122192         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1043
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 378 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RICH                 JAMES MARTIN          NY         00CIV1204        WEITZ & LUXENBERG, PC                                RICUPERO             CARLO A               NY         99122192         WEITZ & LUXENBERG, PC
RICH                 JOHN B                NY         12693502         WEITZ & LUXENBERG, PC                                RICUPERO             ROSE                  NY         10810500         WEITZ & LUXENBERG, PC
RICH                 JOYCE A               NY         01CIV3900        WEITZ & LUXENBERG, PC                                RICUPERO             ROSE                  NY         99122192         WEITZ & LUXENBERG, PC
RICH                 KENNETH G             NY         12043201         WEITZ & LUXENBERG, PC                                RIDDING              JANNIE DARLENE        NY         01CIV3900        WEITZ & LUXENBERG, PC
RICH                 KENNETH G             NY         10108102         WEITZ & LUXENBERG, PC                                RIDDLING             EDWARD E              NY         01CIV3900        WEITZ & LUXENBERG, PC
RICH                 LOIS                  NY         12801902         WEITZ & LUXENBERG, PC                                RIDDLING             IRENE B               NY         01CIV3900        WEITZ & LUXENBERG, PC
RICH                 MARGARET              NY         12043201         WEITZ & LUXENBERG, PC                                RIDGEWAY             BETTY                 NY         10722002         WEITZ & LUXENBERG, PC
RICH                 MARGARET              NY         10108102         WEITZ & LUXENBERG, PC                                RIDGEWAY             ROBERT J              NY         10722002         WEITZ & LUXENBERG, PC
RICH                 MARY                  NY         12693502         WEITZ & LUXENBERG, PC                                RIDLEY               RUSSELL A             NY         10755801         WEITZ & LUXENBERG, PC
RICH                 VERA                  NY         10047408         WEITZ & LUXENBERG, PC                                RIDLING              BETTY                 DE         N17C01440ASB     WEITZ & LUXENBERG, PC
RICH                 WILLIAM HENRY         NY         12801902         WEITZ & LUXENBERG, PC                                RIDLING              CLARENCE E            DE         N17C01440ASB     WEITZ & LUXENBERG, PC
RICHARDS             ANITA L               NY         02106692         WEITZ & LUXENBERG, PC                                RIED                 BRENDA                NY         11375200         WEITZ & LUXENBERG, PC
RICHARDS             ARTHUR J              NY         11374300         WEITZ & LUXENBERG, PC                                RIEDER               DOROTHY               NY         10406899         WEITZ & LUXENBERG, PC
RICHARDS             DOUGLAS               NY         10060503         WEITZ & LUXENBERG, PC                                RIEDER               EDGAR                 NY         10406899         WEITZ & LUXENBERG, PC
RICHARDS             EDISON E              NY         10700002         WEITZ & LUXENBERG, PC                                RIEDER               FRED J                NY         10408599         WEITZ & LUXENBERG, PC
RICHARDS             ERNA                  NY         12110001         WEITZ & LUXENBERG, PC                                RIEDER               MARY                  NY         10408599         WEITZ & LUXENBERG, PC
RICHARDS             FLORENCE              NY         10753701         WEITZ & LUXENBERG, PC                                RIEDY                BARBARA ANN           NY         I20019781        WEITZ & LUXENBERG, PC
RICHARDS             JACK S                NY         CV014305         WEITZ & LUXENBERG, PC                                RIEDY                JAMES D               NY         I20019781        WEITZ & LUXENBERG, PC
RICHARDS             JOHN E                NY         10587002         WEITZ & LUXENBERG, PC                                RIEGEL               ANNA                  NY         11158703         WEITZ & LUXENBERG, PC
RICHARDS             JOSEPH V              NY         12110001         WEITZ & LUXENBERG, PC                                RIEGEL               ROBERT B              NY         11158703         WEITZ & LUXENBERG, PC
RICHARDS             LC                    NY         11788500         WEITZ & LUXENBERG, PC                                RIEGER               CAROL J               NY         11332401         WEITZ & LUXENBERG, PC
RICHARDS             LAWRENCE ALVIN        NY         02106692         WEITZ & LUXENBERG, PC                                RIEGER               WILLIAM K             NY         11332401         WEITZ & LUXENBERG, PC
RICHARDS             LLOYD A               NY         10298407         WEITZ & LUXENBERG, PC                                RIENHARDT            ALLEN PAUL            NY         11374600         WEITZ & LUXENBERG, PC
RICHARDS             MABEL                 NY         10060503         WEITZ & LUXENBERG, PC                                RIENHARDT            JANET                 NY         11374600         WEITZ & LUXENBERG, PC
RICHARDS             MARY BELL             NY         11788500         WEITZ & LUXENBERG, PC                                RIERA                ALFREDO A             NY         11079206         WEITZ & LUXENBERG, PC
RICHARDS             MARY L                NY         10700002         WEITZ & LUXENBERG, PC                                RIEWALDT             RICHARD               NY         I20018196        WEITZ & LUXENBERG, PC
RICHARDS             MURIEL                NY         10298407         WEITZ & LUXENBERG, PC                                RIGBY                EMILY F               NY         10740202         WEITZ & LUXENBERG, PC
RICHARDS             RUDFORD A             NY         10363302         WEITZ & LUXENBERG, PC                                RIGBY                GEORGE P              NY         10740202         WEITZ & LUXENBERG, PC
RICHARDS             WILLIAM J             NY         10753701         WEITZ & LUXENBERG, PC                                RIGGI                BENJAMIN P            NY         10128901         WEITZ & LUXENBERG, PC
RICHARDSON           BERNADETTE            NY         CV041915         WEITZ & LUXENBERG, PC                                RIGGI                JOHN T                NY         10128901         WEITZ & LUXENBERG, PC
RICHARDSON           CURTIS                NY         99107732         WEITZ & LUXENBERG, PC                                RIGGI                MARY                  NY         10128901         WEITZ & LUXENBERG, PC
RICHARDSON           GABRIEL               NY         11368804         WEITZ & LUXENBERG, PC                                RIGGINS-SCHAEFFER    JOYCE                 NY         98122877         WEITZ & LUXENBERG, PC
RICHARDSON           GAYLE TOLER           NY         10810700         WEITZ & LUXENBERG, PC                                RILEY                BARBARA               NY         99104083         WEITZ & LUXENBERG, PC
RICHARDSON           GAYLE TOLER           NY         99122192         WEITZ & LUXENBERG, PC                                RILEY                CARL                  NY         12668702         WEITZ & LUXENBERG, PC
RICHARDSON           GISELE                NY         CV041915         WEITZ & LUXENBERG, PC                                RILEY                CARL                  NY         10460903         WEITZ & LUXENBERG, PC
RICHARDSON           GLADYS                NY         12788802         WEITZ & LUXENBERG, PC                                RILEY                CARL                  NY         02120706         WEITZ & LUXENBERG, PC
RICHARDSON           GLORIA F              NY         CV013921         WEITZ & LUXENBERG, PC                                RILEY                CHARLES E             NY         02107005         WEITZ & LUXENBERG, PC
RICHARDSON           JAMES E               NY         10753601         WEITZ & LUXENBERG, PC                                RILEY                DONNA                 NY         10755701         WEITZ & LUXENBERG, PC
RICHARDSON           JOHN H                NY         10810700         WEITZ & LUXENBERG, PC                                RILEY                DONNA J               NY         11003108         WEITZ & LUXENBERG, PC
RICHARDSON           JOHN H                NY         99122192         WEITZ & LUXENBERG, PC                                RILEY                FREDERICK             NY         99104083         WEITZ & LUXENBERG, PC
RICHARDSON           NANCE                 NY         02106580         WEITZ & LUXENBERG, PC                                RILEY                JERRY                 NY         CV016537         WEITZ & LUXENBERG, PC
RICHARDSON           NANCE                 NY         11322302         WEITZ & LUXENBERG, PC                                RILEY                JOHN A                NY         10200702         WEITZ & LUXENBERG, PC
RICHARDSON           WILLIAM               NY         12788802         WEITZ & LUXENBERG, PC                                RILEY                JUNE                  NY         02107005         WEITZ & LUXENBERG, PC
RICHER               NANCY                 NY         10669102         WEITZ & LUXENBERG, PC                                RILEY                KAREN                 NY         12668702         WEITZ & LUXENBERG, PC
RICHER               RICHARD J             NY         10669102         WEITZ & LUXENBERG, PC                                RILEY                KAREN                 NY         10460903         WEITZ & LUXENBERG, PC
RICHEY               LORETTA               NY         1901542017       WEITZ & LUXENBERG, PC                                RILEY                KAREN M               NY         02120706         WEITZ & LUXENBERG, PC
RICHEY               LORETTA               NY         10722102         WEITZ & LUXENBERG, PC                                RILEY                LULA                  NY         CV016537         WEITZ & LUXENBERG, PC
RICHEY               WILLIAM K             NY         1901542017       WEITZ & LUXENBERG, PC                                RILEY                MICHAEL L             NY         10755701         WEITZ & LUXENBERG, PC
RICHEY               WILLIAM K             NY         10722102         WEITZ & LUXENBERG, PC                                RINALDI              JOSEPHINE             NY         10071001         WEITZ & LUXENBERG, PC
RICHIUSA             GLOVANNA              NY         99120290         WEITZ & LUXENBERG, PC                                RING                 MARIE                 NY         10722202         WEITZ & LUXENBERG, PC
RICHIUSA             SANTO                 NY         99120290         WEITZ & LUXENBERG, PC                                RING                 WILLIAM J             NY         10722202         WEITZ & LUXENBERG, PC
RICHMAN              ANDREW F              NY         02107005         WEITZ & LUXENBERG, PC                                RINGER               HARVEY                NY         10755601         WEITZ & LUXENBERG, PC
RICHMAN              DIANE                 NY         02107005         WEITZ & LUXENBERG, PC                                RINGER               LIANNE                NY         10755601         WEITZ & LUXENBERG, PC
RICHMOND             DANIEL P              NY         11294305         WEITZ & LUXENBERG, PC                                RINKER               DOROTHY               NY         1901792016       WEITZ & LUXENBERG, PC
RICHMOND             DAVID J               NY         10755901         WEITZ & LUXENBERG, PC                                RINKER               LEONARD               NY         10810300         WEITZ & LUXENBERG, PC
RICHMOND             MARIA                 NY         10755901         WEITZ & LUXENBERG, PC                                RINKER               LEONARD               NY         99122192         WEITZ & LUXENBERG, PC
RICHMOND             MARIANNE              NY         10871001         WEITZ & LUXENBERG, PC                                RINKER               MERRILL B             NY         1901792016       WEITZ & LUXENBERG, PC
RICHMOND             SAMUEL                NY         10871001         WEITZ & LUXENBERG, PC                                RINKER               PATRICIA              NY         10810300         WEITZ & LUXENBERG, PC
RICHTER              CHRISTINA             NY         10722002         WEITZ & LUXENBERG, PC                                RINKER               PATRICIA              NY         99122192         WEITZ & LUXENBERG, PC
RICHTER              EILEEN ANN            NY         10378904         WEITZ & LUXENBERG, PC                                RINKLE               CHARLES T             NY         19037311         WEITZ & LUXENBERG, PC
RICHTER              HANS K                NY         10378904         WEITZ & LUXENBERG, PC                                RINKLE               DONNIE                NY         19037311         WEITZ & LUXENBERG, PC
RICHTER              JOSEPH S              NY         10722002         WEITZ & LUXENBERG, PC                                RINOLDO              SANTA                 NY         10755501         WEITZ & LUXENBERG, PC
RICHTMEYER           RONALD TERRY          NY         99122192         WEITZ & LUXENBERG, PC                                RION                 PHILIP H              NY         10033404         WEITZ & LUXENBERG, PC
RICIOPPO             JACK                  NY         12103301         WEITZ & LUXENBERG, PC                                RIORDAN              COLLEEN               NY         10810200         WEITZ & LUXENBERG, PC
RICIOPPO             LINDA                 NY         12103301         WEITZ & LUXENBERG, PC                                RIORDAN              COLLEEN               NY         99122192         WEITZ & LUXENBERG, PC
RICKETTS             AMMY                  NY         10406199         WEITZ & LUXENBERG, PC                                RIORDAN              LEONARD A             NY         10810200         WEITZ & LUXENBERG, PC
RICKETTS             GILBERT               NY         10406199         WEITZ & LUXENBERG, PC                                RIORDAN              LEONARD A             NY         99122192         WEITZ & LUXENBERG, PC
RICKLEFS             ELMER                 NY         12788802         WEITZ & LUXENBERG, PC                                RIOS                 CECILIA               NY         10810100         WEITZ & LUXENBERG, PC
RICKLEFS             ELMER D               NY         10236303         WEITZ & LUXENBERG, PC                                RIOS                 CECILIA               NY         99122192         WEITZ & LUXENBERG, PC
RICKWALT             DONALD C              NY         10587102         WEITZ & LUXENBERG, PC                                RIOS                 CORA SUE              NY         01CIV3901        WEITZ & LUXENBERG, PC
RICUPERO             CARLO A               NY         10810500         WEITZ & LUXENBERG, PC                                RIOS                 GEORGE                NY         02107005         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1044
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 379 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RIOS                 GEORGE                NY         11624602         WEITZ & LUXENBERG, PC                                RIZZO                GREGORY R             NY         99122192         WEITZ & LUXENBERG, PC
RIOS                 GUADALUPE             NY         02107005         WEITZ & LUXENBERG, PC                                RIZZO                HELEN                 NY         11293998         WEITZ & LUXENBERG, PC
RIOS                 GUADALUPE             NY         11624602         WEITZ & LUXENBERG, PC                                RIZZO                JOSEPH P              NY         10866607         WEITZ & LUXENBERG, PC
RIOS                 JOE                   NY         01CIV3901        WEITZ & LUXENBERG, PC                                RIZZO                JOSEPH R              NY         10700102         WEITZ & LUXENBERG, PC
RIOS                 ROBERT                NY         10810100         WEITZ & LUXENBERG, PC                                RIZZO                JOSEPH R              NY         11192802         WEITZ & LUXENBERG, PC
RIOS                 ROBERT                NY         99122192         WEITZ & LUXENBERG, PC                                RIZZO                MARIA P               NY         10811900         WEITZ & LUXENBERG, PC
RIOUX                EMILE W               NY         19010609         WEITZ & LUXENBERG, PC                                RIZZO                MARIA P               NY         99122192         WEITZ & LUXENBERG, PC
RIOUX                PATRICIA              NY         19010609         WEITZ & LUXENBERG, PC                                RIZZO                MICHAEL               NY         99104073         WEITZ & LUXENBERG, PC
RIPLEY               BEVERLYANN            NY         19028010         WEITZ & LUXENBERG, PC                                RIZZO                NICHOLAS              NY         11293998         WEITZ & LUXENBERG, PC
RIPLEY               JAMES WARREN          NY         19028010         WEITZ & LUXENBERG, PC                                RIZZO                NICHOLAS F            NY         10700800         WEITZ & LUXENBERG, PC
RISE                 ARTHUR I              NY         12039101         WEITZ & LUXENBERG, PC                                RIZZO                RALPH                 NY         10811900         WEITZ & LUXENBERG, PC
RISE                 ARTHUR I              NY         10427602         WEITZ & LUXENBERG, PC                                RIZZO                RALPH                 NY         99122192         WEITZ & LUXENBERG, PC
RISE                 RUTH                  NY         12039101         WEITZ & LUXENBERG, PC                                RIZZO                RICHARD               NY         10407499         WEITZ & LUXENBERG, PC
RISE                 RUTH                  NY         10427602         WEITZ & LUXENBERG, PC                                RIZZO                ROSE                  NY         10700102         WEITZ & LUXENBERG, PC
RISER                JOANNE                NY         10810400         WEITZ & LUXENBERG, PC                                RIZZO                ROSE                  NY         11192802         WEITZ & LUXENBERG, PC
RISER                JOANNE                NY         99122192         WEITZ & LUXENBERG, PC                                RIZZO                RUSSELL J             NY         99104072         WEITZ & LUXENBERG, PC
RISER                JOHN                  NY         10810400         WEITZ & LUXENBERG, PC                                RIZZO                SALVATORE J           NY         10419199         WEITZ & LUXENBERG, PC
RISER                JOHN                  NY         99122192         WEITZ & LUXENBERG, PC                                RIZZO                SALVATORE J           NY         11033902         WEITZ & LUXENBERG, PC
RISERVATO            LU                    NY         10810000         WEITZ & LUXENBERG, PC                                RIZZO                SALVATORE L           NY         10670402         WEITZ & LUXENBERG, PC
RISERVATO            LU                    NY         99122192         WEITZ & LUXENBERG, PC                                RIZZO                VIRGINIA              NY         10811900         WEITZ & LUXENBERG, PC
RISERVATO            VITO                  NY         10810000         WEITZ & LUXENBERG, PC                                RIZZO                VIRGINIA              NY         99122192         WEITZ & LUXENBERG, PC
RISERVATO            VITO                  NY         99122192         WEITZ & LUXENBERG, PC                                ROACH                CAROL                 NY         CV017587         WEITZ & LUXENBERG, PC
RISHEL               JACK M                NY         02120709         WEITZ & LUXENBERG, PC                                ROACH                EDDIE W               NY         01CIV3900        WEITZ & LUXENBERG, PC
RISHEL               LORETTA               NY         02120709         WEITZ & LUXENBERG, PC                                ROACH                JAMES GILBERT         NY         CV017587         WEITZ & LUXENBERG, PC
RISO                 EUGENE                NY         10073103         WEITZ & LUXENBERG, PC                                ROACH                SHIRLEY A             NY         01CIV3900        WEITZ & LUXENBERG, PC
RISPOLI              SAM                   NY         11624101         WEITZ & LUXENBERG, PC                                ROBB                 ARTHUR J              NY         01111229         WEITZ & LUXENBERG, PC
RISPOLI              SAM                   NY         01111221         WEITZ & LUXENBERG, PC                                ROBBECKE             JAMES HUEY            NY         CV017588         WEITZ & LUXENBERG, PC
RITA                 FRANCES A             NY         11788600         WEITZ & LUXENBERG, PC                                ROBBINS              ALBERT                NY         10870705         WEITZ & LUXENBERG, PC
RITA                 PETER N               NY         11788600         WEITZ & LUXENBERG, PC                                ROBBINS              BENJAMIN              NY         12039701         WEITZ & LUXENBERG, PC
RITCHEY              BILLIE G              NY         CV015682         WEITZ & LUXENBERG, PC                                ROBBINS              JOHN                  NY         12668202         WEITZ & LUXENBERG, PC
RITCHEY              WANDA                 NY         CV015682         WEITZ & LUXENBERG, PC                                ROBBINS              LEA                   NY         10870705         WEITZ & LUXENBERG, PC
RITCHIE              BONNIE                NY         10696402         WEITZ & LUXENBERG, PC                                ROBBINS              PATRICIA              NY         10670402         WEITZ & LUXENBERG, PC
RITCHIE              CHARLES T             NY         10809900         WEITZ & LUXENBERG, PC                                ROBBINS              ROBERT V              NY         10670402         WEITZ & LUXENBERG, PC
RITCHIE              CHARLES T             NY         99122192         WEITZ & LUXENBERG, PC                                ROBBINS              SHIRLEY A             NY         12668202         WEITZ & LUXENBERG, PC
RITCHIE              DALE F                NY         10696402         WEITZ & LUXENBERG, PC                                ROBERSON             HELEN BENNETT         NY         12039001         WEITZ & LUXENBERG, PC
RITCHIE              DONALD S              NY         11817401         WEITZ & LUXENBERG, PC                                ROBERSON             HELEN BENNETT         NY         12395401         WEITZ & LUXENBERG, PC
RITCHIE              DONALD S              NY         99122192         WEITZ & LUXENBERG, PC                                ROBERSON             KAY                   NY         CV018233         WEITZ & LUXENBERG, PC
RITCHIE              JOAN                  NY         10809900         WEITZ & LUXENBERG, PC                                ROBERSON             LUCIOUS               NY         01CIV3895        WEITZ & LUXENBERG, PC
RITCHIE              JOAN                  NY         99122192         WEITZ & LUXENBERG, PC                                ROBERSON             OLEE                  NY         01CIV3895        WEITZ & LUXENBERG, PC
RITCHIE              MAUDY ARLENE          NY         01CIV3900        WEITZ & LUXENBERG, PC                                ROBERSON             PITT L                NY         12039001         WEITZ & LUXENBERG, PC
RITCHIE              SANDRA                NY         11817401         WEITZ & LUXENBERG, PC                                ROBERSON             PITT L                NY         12395401         WEITZ & LUXENBERG, PC
RITCHIE              SANDRA                NY         99122192         WEITZ & LUXENBERG, PC                                ROBERSON             THOMAS                NY         CV018233         WEITZ & LUXENBERG, PC
RITTENBURG           DOROTHY               NY         10670602         WEITZ & LUXENBERG, PC                                ROBERT               BONNIE                NY         02106580         WEITZ & LUXENBERG, PC
RITTENBURG           ROBERT L              NY         10670602         WEITZ & LUXENBERG, PC                                ROBERT               JAMES HOWARD          NY         02106580         WEITZ & LUXENBERG, PC
RITTMEYER            BEATRICE              NY         99104075         WEITZ & LUXENBERG, PC                                ROBERTI              JAMES                 NY         12433902         WEITZ & LUXENBERG, PC
RITTMEYER            RICHARD J             NY         99104075         WEITZ & LUXENBERG, PC                                ROBERTI              JAMES                 NY         10196403         WEITZ & LUXENBERG, PC
RIVERA               ANGEL LOUIS           NY         10217502         WEITZ & LUXENBERG, PC                                ROBERTI              TERESA                NY         12433902         WEITZ & LUXENBERG, PC
RIVERA               CARMEN                NY         10085503         WEITZ & LUXENBERG, PC                                ROBERTI              TERESA                NY         10196403         WEITZ & LUXENBERG, PC
RIVERA               JULIO                 NY         10085503         WEITZ & LUXENBERG, PC                                ROBERTS              ARTHUR                NY         1904662013       WEITZ & LUXENBERG, PC
RIVERA               RAMON                 NY         19030509         WEITZ & LUXENBERG, PC                                ROBERTS              BETTY M               NY         1904612014       WEITZ & LUXENBERG, PC
RIVERA               VICTOR                NY         12693502         WEITZ & LUXENBERG, PC                                ROBERTS              BEVERLY               NY         10811800         WEITZ & LUXENBERG, PC
RIVERA               VIVIAN M              NY         12693502         WEITZ & LUXENBERG, PC                                ROBERTS              BEVERLY               NY         99122192         WEITZ & LUXENBERG, PC
RIVERA-VASQUEZ       TEODORO               NY         CV033806         WEITZ & LUXENBERG, PC                                ROBERTS              CHAMP                 NY         1901172019       WEITZ & LUXENBERG, PC
RIVERS               EDWARD L              NY         10961005         WEITZ & LUXENBERG, PC                                ROBERTS              CHAMP                 NY         10073103         WEITZ & LUXENBERG, PC
RIVERS               EMMIE                 NY         11373400         WEITZ & LUXENBERG, PC                                ROBERTS              DONALD K              NY         12038801         WEITZ & LUXENBERG, PC
RIVERS               JOHN F                NY         11373400         WEITZ & LUXENBERG, PC                                ROBERTS              DORIS T               NY         1901172019       WEITZ & LUXENBERG, PC
RIVERS               MATTIE                NY         01122139         WEITZ & LUXENBERG, PC                                ROBERTS              DORIS T               NY         10073103         WEITZ & LUXENBERG, PC
RIVERS               PAUL                  NY         01122139         WEITZ & LUXENBERG, PC                                ROBERTS              ELAINE                NY         10196503         WEITZ & LUXENBERG, PC
RIVERS               SHARON                NY         10961005         WEITZ & LUXENBERG, PC                                ROBERTS              ERMA                  NY         02107004         WEITZ & LUXENBERG, PC
RIVISTO              JUDITH                NY         19008709         WEITZ & LUXENBERG, PC                                ROBERTS              FRANCES               NY         12038801         WEITZ & LUXENBERG, PC
RIVISTO              MICHAEL               NY         19008709         WEITZ & LUXENBERG, PC                                ROBERTS              GARY                  NY         1904662013       WEITZ & LUXENBERG, PC
RIZARRY              ALFREDO               NY         10716902         WEITZ & LUXENBERG, PC                                ROBERTS              JULIAN L              NY         10196503         WEITZ & LUXENBERG, PC
RIZARRY              MARIA                 NY         10716902         WEITZ & LUXENBERG, PC                                ROBERTS              LOUISE WEISS          NY         1904662013       WEITZ & LUXENBERG, PC
RIZZO                ANTOINETTE            NY         10419199         WEITZ & LUXENBERG, PC                                ROBERTS              MARGARET C            NY         12604202         WEITZ & LUXENBERG, PC
RIZZO                ANTOINETTE            NY         11033902         WEITZ & LUXENBERG, PC                                ROBERTS              RAWLES                NY         12604202         WEITZ & LUXENBERG, PC
RIZZO                CONSTANCE             NY         10866607         WEITZ & LUXENBERG, PC                                ROBERTS              RICHARD H             NY         02107004         WEITZ & LUXENBERG, PC
RIZZO                FRANCES               NY         10419199         WEITZ & LUXENBERG, PC                                ROBERTS              ROBIN                 NY         1901172019       WEITZ & LUXENBERG, PC
RIZZO                FRANCES               NY         10670402         WEITZ & LUXENBERG, PC                                ROBERTS              ROBIN                 NY         10073103         WEITZ & LUXENBERG, PC
RIZZO                FRANCES               NY         11033902         WEITZ & LUXENBERG, PC                                ROBERTS              RODNEY P              NY         10811800         WEITZ & LUXENBERG, PC
RIZZO                GERALDINE             NY         10407499         WEITZ & LUXENBERG, PC                                ROBERTS              RODNEY P              NY         99122192         WEITZ & LUXENBERG, PC
RIZZO                GREGORY R             NY         10811900         WEITZ & LUXENBERG, PC                                ROBERTS              SYDNEY B              NY         19028311         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1045
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 380 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ROBERTSON            ALFRED L              NY         02106692         WEITZ & LUXENBERG, PC                                ROBINSON             RODNEY                NY         01CIV3901        WEITZ & LUXENBERG, PC
ROBERTSON            BERNICE C             NY         CV025685         WEITZ & LUXENBERG, PC                                ROBINSON             ROSCOE N              NY         12693702         WEITZ & LUXENBERG, PC
ROBERTSON            BESSIE                NY         00CIV3589        WEITZ & LUXENBERG, PC                                ROBINSON             SHAYN DARROW          NY         98121997         WEITZ & LUXENBERG, PC
ROBERTSON            BETTY LOU             NY         12312901         WEITZ & LUXENBERG, PC                                ROBINSON             THOMAS L              NY         02106694         WEITZ & LUXENBERG, PC
ROBERTSON            DONALD E              NY         12668702         WEITZ & LUXENBERG, PC                                ROBINSON             VEN                   NY         1900122018       WEITZ & LUXENBERG, PC
ROBERTSON            DONALD E              NY         10460803         WEITZ & LUXENBERG, PC                                ROBINSON             VICKY                 NY         12693702         WEITZ & LUXENBERG, PC
ROBERTSON            FLEMMING H            NY         12312901         WEITZ & LUXENBERG, PC                                ROBINSON             WILLIAM               NY         10811400         WEITZ & LUXENBERG, PC
ROBERTSON            GLORIA                NY         02113565         WEITZ & LUXENBERG, PC                                ROBINSON             WILLIAM               NY         99122192         WEITZ & LUXENBERG, PC
ROBERTSON            GREGORY W             NY         12668702         WEITZ & LUXENBERG, PC                                ROBINSON             ZETTIE                NY         01CIV3900        WEITZ & LUXENBERG, PC
ROBERTSON            GREGORY W             NY         10460803         WEITZ & LUXENBERG, PC                                ROBINSON-LEA         FLOSSIE M             NY         01CIV3910        WEITZ & LUXENBERG, PC
ROBERTSON            HELEN                 NY         12693502         WEITZ & LUXENBERG, PC                                ROBISON              CECIL L               NY         1901752019       WEITZ & LUXENBERG, PC
ROBERTSON            JOHN M                NY         02113565         WEITZ & LUXENBERG, PC                                ROBISON              ELIZABETH             NY         1901752019       WEITZ & LUXENBERG, PC
ROBERTSON            MARJORIE              NY         12668702         WEITZ & LUXENBERG, PC                                ROBSON               DANIEL T              NY         12039901         WEITZ & LUXENBERG, PC
ROBERTSON            MARJORIE              NY         10460803         WEITZ & LUXENBERG, PC                                ROBSON               MARY ELLEN            NY         12039901         WEITZ & LUXENBERG, PC
ROBERTSON            MARTHA                NY         02106692         WEITZ & LUXENBERG, PC                                ROCCABRUMA           MARGARET              NY         10061003         WEITZ & LUXENBERG, PC
ROBERTSON            NATHANIEL             NY         10931703         WEITZ & LUXENBERG, PC                                ROCCABRUNA           JOSEPHINE             NY         10811300         WEITZ & LUXENBERG, PC
ROBERTSON            ROBERT CLIFTON        NY         00CIV3589        WEITZ & LUXENBERG, PC                                ROCCABRUNA           JOSEPHINE             NY         99122192         WEITZ & LUXENBERG, PC
ROBERTSON            ROBERT H              NY         11373600         WEITZ & LUXENBERG, PC                                ROCCABRUNA           MARIO                 NY         10811300         WEITZ & LUXENBERG, PC
ROBERTSON            SANDRA A              NY         11373600         WEITZ & LUXENBERG, PC                                ROCCABRUNA           MARIO                 NY         99122192         WEITZ & LUXENBERG, PC
ROBERTSON            WARDEN                NY         CV024439         WEITZ & LUXENBERG, PC                                ROCCABRUNA           ROBERT                NY         10061003         WEITZ & LUXENBERG, PC
ROBERTSON            WESLEY                NY         CV025685         WEITZ & LUXENBERG, PC                                ROCCHIO              CONCETTA              NY         10930403         WEITZ & LUXENBERG, PC
ROBERTSON            WILLARD MELVILLE      NY         CV024439         WEITZ & LUXENBERG, PC                                ROCCHIO              PIETRO                NY         10930403         WEITZ & LUXENBERG, PC
ROBERTSON            WILLIAM H             NY         12693502         WEITZ & LUXENBERG, PC                                ROCCO                PETER                 NY         11032606         WEITZ & LUXENBERG, PC
ROBIDEAU             CLARK JAMES           NY         02105716         WEITZ & LUXENBERG, PC                                ROCHE                DENISE                NY         19003409         WEITZ & LUXENBERG, PC
ROBINSON             ANNA                  NY         10811600         WEITZ & LUXENBERG, PC                                ROCHE                JANET                 NY         11788700         WEITZ & LUXENBERG, PC
ROBINSON             ANNA                  NY         99122192         WEITZ & LUXENBERG, PC                                ROCHE                PATRICIA              NY         12039501         WEITZ & LUXENBERG, PC
ROBINSON             ANNIE LEE             NY         01CIV3900        WEITZ & LUXENBERG, PC                                ROCHE                ROBERT                NY         12039501         WEITZ & LUXENBERG, PC
ROBINSON             BENNIE R              NY         CV022499         WEITZ & LUXENBERG, PC                                ROCHE                ROBERT RICHARD        NY         11788700         WEITZ & LUXENBERG, PC
ROBINSON             BESSIE                NY         10811500         WEITZ & LUXENBERG, PC                                ROCHE                WILLIAM T             NY         19003409         WEITZ & LUXENBERG, PC
ROBINSON             BESSIE                NY         99122192         WEITZ & LUXENBERG, PC                                ROCHEFORT            ANDRE P               NY         10587402         WEITZ & LUXENBERG, PC
ROBINSON             BETTY ZANE            NY         CV025685         WEITZ & LUXENBERG, PC                                ROCHEFORT            JOHN L                NY         10670402         WEITZ & LUXENBERG, PC
ROBINSON             BEVERLY               NY         10811700         WEITZ & LUXENBERG, PC                                ROCHEFORT            MARY E                NY         10670402         WEITZ & LUXENBERG, PC
ROBINSON             BEVERLY               NY         99122192         WEITZ & LUXENBERG, PC                                ROCHEFORT            PIERRE B              NY         02106580         WEITZ & LUXENBERG, PC
ROBINSON             BEVERLY               NY         CV013921         WEITZ & LUXENBERG, PC                                ROCHELLE             ROBERT K              NY         01111229         WEITZ & LUXENBERG, PC
ROBINSON             CECIL                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                ROCHESTER            ALMA                  NY         01111236         WEITZ & LUXENBERG, PC
ROBINSON             CHARLENE              NY         00CIV3589        WEITZ & LUXENBERG, PC                                ROCHESTER            CLEVELAND A           NY         01111236         WEITZ & LUXENBERG, PC
ROBINSON             CHARLES T             NY         10290101         WEITZ & LUXENBERG, PC                                ROCHLER              FRANK M               NY         10116006         WEITZ & LUXENBERG, PC
ROBINSON             CHRISTINE ANN         NY         01CIV3900        WEITZ & LUXENBERG, PC                                ROCHLER              HELEN                 NY         10116006         WEITZ & LUXENBERG, PC
ROBINSON             CLYDE                 NY         CV025685         WEITZ & LUXENBERG, PC                                ROCK                 COLLEEN K             NY         11086402         WEITZ & LUXENBERG, PC
ROBINSON             DALE L                NY         11026702         WEITZ & LUXENBERG, PC                                ROCKEY               ELAINE                NY         02107004         WEITZ & LUXENBERG, PC
ROBINSON             DALLAS R              NY         02106707         WEITZ & LUXENBERG, PC                                ROCKEY               JAMES L               NY         02107004         WEITZ & LUXENBERG, PC
ROBINSON             DIANE                 NY         CV025637         WEITZ & LUXENBERG, PC                                ROCKEY               RICHARD               NY         1902242012       WEITZ & LUXENBERG, PC
ROBINSON             ERNEST                NY         10811700         WEITZ & LUXENBERG, PC                                ROCKEY               SILVIA                NY         1902242012       WEITZ & LUXENBERG, PC
ROBINSON             ERNEST                NY         99122192         WEITZ & LUXENBERG, PC                                ROCKHILL             DARREL O              NY         10722102         WEITZ & LUXENBERG, PC
ROBINSON             FLORENCE A            NY         10755401         WEITZ & LUXENBERG, PC                                ROCKHILL             LYNN M                NY         10722102         WEITZ & LUXENBERG, PC
ROBINSON             FREDDIE               NY         CV025685         WEITZ & LUXENBERG, PC                                ROCKHILL             RANDY E               NY         10645702         WEITZ & LUXENBERG, PC
ROBINSON             GENEVA                NY         10290101         WEITZ & LUXENBERG, PC                                ROCKWELL             RALPH D               NY         10740202         WEITZ & LUXENBERG, PC
ROBINSON             GENEVIEVE M           NY         11961601         WEITZ & LUXENBERG, PC                                ROCKWOOD             GERALD S              NY         10740302         WEITZ & LUXENBERG, PC
ROBINSON             GENEVIEVE M           NY         01111229         WEITZ & LUXENBERG, PC                                RODAK                ELIZABETH             NY         10040103         WEITZ & LUXENBERG, PC
ROBINSON             GEORGE                NY         10755401         WEITZ & LUXENBERG, PC                                RODAK                GEORGE                NY         10040103         WEITZ & LUXENBERG, PC
ROBINSON             ISHAM                 NY         10811600         WEITZ & LUXENBERG, PC                                RODEN                JAMES                 NY         10755301         WEITZ & LUXENBERG, PC
ROBINSON             ISHAM                 NY         99122192         WEITZ & LUXENBERG, PC                                RODEN                JOHN A                NY         CV013921         WEITZ & LUXENBERG, PC
ROBINSON             JAMES                 NY         12604002         WEITZ & LUXENBERG, PC                                RODEN                MARIE                 NY         10755301         WEITZ & LUXENBERG, PC
ROBINSON             JAMES J               NY         11961601         WEITZ & LUXENBERG, PC                                RODGERS              ARTHENA               NY         01CIV3901        WEITZ & LUXENBERG, PC
ROBINSON             JAMES J               NY         01111229         WEITZ & LUXENBERG, PC                                RODGERS              FRANK                 NY         02107005         WEITZ & LUXENBERG, PC
ROBINSON             JEAN                  NY         10696402         WEITZ & LUXENBERG, PC                                RODGERS              JAMES L SR            NY         00CIV3589        WEITZ & LUXENBERG, PC
ROBINSON             JOHN                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                RODGERS              JOHN                  NY         10162505         WEITZ & LUXENBERG, PC
ROBINSON             JOHNNIE L             NY         12162903         WEITZ & LUXENBERG, PC                                RODGERS              KATHLEEN              NY         02107005         WEITZ & LUXENBERG, PC
ROBINSON             LARRY J               NY         10696402         WEITZ & LUXENBERG, PC                                RODGERS              TONER A               NY         10699902         WEITZ & LUXENBERG, PC
ROBINSON             LAURA J               NY         1900652016       WEITZ & LUXENBERG, PC                                RODGERS              VERNA                 NY         10699902         WEITZ & LUXENBERG, PC
ROBINSON             LAWRENCE G            NY         99120434         WEITZ & LUXENBERG, PC                                RODINO               EVELIO                NY         00100586         WEITZ & LUXENBERG, PC
ROBINSON             LENA                  NY         01CIV3900        WEITZ & LUXENBERG, PC                                RODINO               JULIA                 NY         00100586         WEITZ & LUXENBERG, PC
ROBINSON             MAE                   NY         CV025685         WEITZ & LUXENBERG, PC                                RODISH               JUDY                  NY         10729299         WEITZ & LUXENBERG, PC
ROBINSON             MAGDALENE MARY        NY         11373800         WEITZ & LUXENBERG, PC                                RODNEY               MELVIN                NY         12043301         WEITZ & LUXENBERG, PC
ROBINSON             MARGARET              NY         12162903         WEITZ & LUXENBERG, PC                                RODNEY               SHIRLEY               NY         12043301         WEITZ & LUXENBERG, PC
ROBINSON             MARVIN W              NY         10811500         WEITZ & LUXENBERG, PC                                RODOLPHE             CALIXTE A             NY         10722002         WEITZ & LUXENBERG, PC
ROBINSON             MARVIN W              NY         99122192         WEITZ & LUXENBERG, PC                                RODOLPHE             PHILOMENE             NY         10722002         WEITZ & LUXENBERG, PC
ROBINSON             MERLE                 NY         CV025637         WEITZ & LUXENBERG, PC                                RODRIGUES            AMERICO               NY         12668202         WEITZ & LUXENBERG, PC
ROBINSON             NATHANIEL             NY         CV013921         WEITZ & LUXENBERG, PC                                RODRIGUES            BELMIRA               NY         12668202         WEITZ & LUXENBERG, PC
ROBINSON             PAUL E                NY         11373800         WEITZ & LUXENBERG, PC                                RODRIGUES            JOHN M                NY         59021402         WEITZ & LUXENBERG, PC
ROBINSON             RICHARD PAUL          NY         11373800         WEITZ & LUXENBERG, PC                                RODRIGUES            MOSES                 NY         CV030295         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1046
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 381 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RODRIGUES            PAUL                  NY         59021402         WEITZ & LUXENBERG, PC                                ROGERS               FULTON                NY         99103973         WEITZ & LUXENBERG, PC
RODRIGUEZ            ALICIA A              NY         02105718         WEITZ & LUXENBERG, PC                                ROGERS               GERALDINE F           NY         01107551         WEITZ & LUXENBERG, PC
RODRIGUEZ            AMANDA                NY         10811000         WEITZ & LUXENBERG, PC                                ROGERS               HERMAN WAYNE          NY         CV022568         WEITZ & LUXENBERG, PC
RODRIGUEZ            AMANDA                NY         99122192         WEITZ & LUXENBERG, PC                                ROGERS               JERRELL               NY         19038310         WEITZ & LUXENBERG, PC
RODRIGUEZ            ANGEL L               NY         12039201         WEITZ & LUXENBERG, PC                                ROGERS               JOE                   NY         19038310         WEITZ & LUXENBERG, PC
RODRIGUEZ            ANGEL L               NY         10406702         WEITZ & LUXENBERG, PC                                ROGERS               JUDY                  NY         1904482018       WEITZ & LUXENBERG, PC
RODRIGUEZ            BARBARA               NY         1900172017       WEITZ & LUXENBERG, PC                                ROGERS               LEO P                 NY         12038801         WEITZ & LUXENBERG, PC
RODRIGUEZ            DIOSDADO              NY         1900262019       WEITZ & LUXENBERG, PC                                ROGERS               LEO P                 NY         10628102         WEITZ & LUXENBERG, PC
RODRIGUEZ            DORIS NILDA           NY         10023403         WEITZ & LUXENBERG, PC                                ROGERS               LULA                  NY         99103973         WEITZ & LUXENBERG, PC
RODRIGUEZ            ELENA                 NY         10587002         WEITZ & LUXENBERG, PC                                ROGERS               MARGIT                NY         19000310         WEITZ & LUXENBERG, PC
RODRIGUEZ            EMILIO                NY         99103969         WEITZ & LUXENBERG, PC                                ROGERS               MARY                  NY         10871001         WEITZ & LUXENBERG, PC
RODRIGUEZ            EMILY M               NY         10811100         WEITZ & LUXENBERG, PC                                ROGERS               MICHAEL E             NY         1901962015       WEITZ & LUXENBERG, PC
RODRIGUEZ            EMILY M               NY         99122192         WEITZ & LUXENBERG, PC                                ROGERS               MICHAEL HUGH          NY         01CIV3901        WEITZ & LUXENBERG, PC
RODRIGUEZ            FRANCISCO             NY         10811200         WEITZ & LUXENBERG, PC                                ROGERS               PATRICIA              NY         CV022568         WEITZ & LUXENBERG, PC
RODRIGUEZ            FRANCISCO             NY         99122192         WEITZ & LUXENBERG, PC                                ROGERS               PHILLIP T             NY         10130601         WEITZ & LUXENBERG, PC
RODRIGUEZ            IRENE                 NY         1902792019       WEITZ & LUXENBERG, PC                                ROGERS               PHILLIP T             NY         01111227         WEITZ & LUXENBERG, PC
RODRIGUEZ            JEANNIE               NY         1901102018       WEITZ & LUXENBERG, PC                                ROGERS               RALPH EDWARD          NY         10871001         WEITZ & LUXENBERG, PC
RODRIGUEZ            JOHN                  NY         10811100         WEITZ & LUXENBERG, PC                                ROGERS               ROBERT                NY         02107004         WEITZ & LUXENBERG, PC
RODRIGUEZ            JOHN                  NY         99122192         WEITZ & LUXENBERG, PC                                ROGERS               ROBIN M               NY         02106709         WEITZ & LUXENBERG, PC
RODRIGUEZ            JORGE T               NY         10587002         WEITZ & LUXENBERG, PC                                ROGERS               ROBIN M               NY         11552102         WEITZ & LUXENBERG, PC
RODRIGUEZ            JOSEPH                NY         1901102018       WEITZ & LUXENBERG, PC                                ROGERS               STEVEN P              NY         01122139         WEITZ & LUXENBERG, PC
RODRIGUEZ            LAURA                 NY         02113565         WEITZ & LUXENBERG, PC                                ROGERS               SWEETIE B             NY         02106709         WEITZ & LUXENBERG, PC
RODRIGUEZ            LORENZO               NY         10023403         WEITZ & LUXENBERG, PC                                ROGERS               SWEETIE B             NY         11552102         WEITZ & LUXENBERG, PC
RODRIGUEZ            MARIA M               NY         12039201         WEITZ & LUXENBERG, PC                                ROGERS               WAYNE                 NY         1904482018       WEITZ & LUXENBERG, PC
RODRIGUEZ            MARIA M               NY         10406702         WEITZ & LUXENBERG, PC                                ROGERS               WILLIAM               NY         19000310         WEITZ & LUXENBERG, PC
RODRIGUEZ            MARIANA               NY         10008703         WEITZ & LUXENBERG, PC                                ROGLER               JERILYN               NY         10871401         WEITZ & LUXENBERG, PC
RODRIGUEZ            MARY L                NY         12175797         WEITZ & LUXENBERG, PC                                ROGLER               JOYCE                 NY         99103976         WEITZ & LUXENBERG, PC
RODRIGUEZ            NELSON                NY         1902792019       WEITZ & LUXENBERG, PC                                ROGLER               KEVIN J               NY         99103976         WEITZ & LUXENBERG, PC
RODRIGUEZ            PABLO                 NY         01111224         WEITZ & LUXENBERG, PC                                ROGLER               RICHARD               NY         10871401         WEITZ & LUXENBERG, PC
RODRIGUEZ            PATRICK               NY         02113565         WEITZ & LUXENBERG, PC                                ROHALLA              CORA                  NY         02106709         WEITZ & LUXENBERG, PC
RODRIGUEZ            RAFAEL A              NY         10811000         WEITZ & LUXENBERG, PC                                ROHALLA              EDWARD                NY         02106709         WEITZ & LUXENBERG, PC
RODRIGUEZ            RAFAEL A              NY         99122192         WEITZ & LUXENBERG, PC                                ROHBACK              FRED D                NY         01111226         WEITZ & LUXENBERG, PC
RODRIGUEZ            RITA                  NY         02107004         WEITZ & LUXENBERG, PC                                ROHLF                MURIEL                NY         1904532012       WEITZ & LUXENBERG, PC
RODRIGUEZ            ROGELIO               NY         02105718         WEITZ & LUXENBERG, PC                                ROHLF                THEODORE O            NY         1904532012       WEITZ & LUXENBERG, PC
RODRIGUEZ            SANTOS                NY         02107004         WEITZ & LUXENBERG, PC                                ROHLOFF              EILEEN L              NY         11581700         WEITZ & LUXENBERG, PC
RODRIGUEZ            SYLVIA                NY         01111224         WEITZ & LUXENBERG, PC                                ROHRER               BRYAN D               NY         1902812013       WEITZ & LUXENBERG, PC
RODRIGUEZ            WENCESLAO             NY         10716702         WEITZ & LUXENBERG, PC                                ROHRER               MICHAEL               NY         1902812013       WEITZ & LUXENBERG, PC
RODRIGUEZ            WENCESLAO             NY         11277302         WEITZ & LUXENBERG, PC                                ROJAS                CHARLES               NY         10755001         WEITZ & LUXENBERG, PC
RODRIGUEZ            WILBERTO              NY         10716702         WEITZ & LUXENBERG, PC                                ROJAS                ISIDRO                NY         1901032018       WEITZ & LUXENBERG, PC
RODRIGUEZ            WILBERTO              NY         11277302         WEITZ & LUXENBERG, PC                                ROJAS                PATRICIA              NY         10755001         WEITZ & LUXENBERG, PC
RODRIGUEZ            WILFREDO              NY         12039501         WEITZ & LUXENBERG, PC                                ROLOFF               SIEGFRIED             NY         02107004         WEITZ & LUXENBERG, PC
RODRIGUEZ            ZORAIDA               NY         99103969         WEITZ & LUXENBERG, PC                                ROLOSON              GERALD Z              NY         11801103         WEITZ & LUXENBERG, PC
ROE                  ALTON LEWIS           NY         99103970         WEITZ & LUXENBERG, PC                                ROLOSON              ROBERTA B             NY         11801103         WEITZ & LUXENBERG, PC
ROE                  ART E                 NY         02107006         WEITZ & LUXENBERG, PC                                ROMAGNOLO            JOHN                  NY         99103978         WEITZ & LUXENBERG, PC
ROE                  GEORGE D              NY         10810900         WEITZ & LUXENBERG, PC                                ROMAKO               BEVERLY               NY         12582400         WEITZ & LUXENBERG, PC
ROE                  GEORGE D              NY         99122192         WEITZ & LUXENBERG, PC                                ROMAKO               BEVERLY               NY         11938800         WEITZ & LUXENBERG, PC
ROE                  HERBERT A             NY         10670602         WEITZ & LUXENBERG, PC                                ROMAN                ADELINDA              NY         1901212016       WEITZ & LUXENBERG, PC
ROE                  HERBERT A             NY         11485402         WEITZ & LUXENBERG, PC                                ROMAN                ADELINDA              NY         12219199         WEITZ & LUXENBERG, PC
ROE                  JOAN                  NY         02107006         WEITZ & LUXENBERG, PC                                ROMAN                AIDA                  NY         1901212016       WEITZ & LUXENBERG, PC
ROE                  MARY                  NY         10810900         WEITZ & LUXENBERG, PC                                ROMAN                AIDA                  NY         12219199         WEITZ & LUXENBERG, PC
ROE                  MARY                  NY         99122192         WEITZ & LUXENBERG, PC                                ROMAN                INES                  NY         10975100         WEITZ & LUXENBERG, PC
ROE                  SANDRA                NY         99103970         WEITZ & LUXENBERG, PC                                ROMAN                PATRICIA              NY         10975200         WEITZ & LUXENBERG, PC
ROEDER               CATHERINE             NY         12039401         WEITZ & LUXENBERG, PC                                ROMAN                PEDRO J               NY         1901212016       WEITZ & LUXENBERG, PC
ROEDER               CATHERINE             NY         10560802         WEITZ & LUXENBERG, PC                                ROMAN                PEDRO J               NY         12219199         WEITZ & LUXENBERG, PC
ROESKE               FLORENCE              NY         10755201         WEITZ & LUXENBERG, PC                                ROMAN                ROBERT                NY         10975200         WEITZ & LUXENBERG, PC
ROESKE               RICHARD D             NY         10755201         WEITZ & LUXENBERG, PC                                ROMAN                VICTOR                NY         10975100         WEITZ & LUXENBERG, PC
ROETHEL              BEVERLY               NY         12788602         WEITZ & LUXENBERG, PC                                ROMANCIK             MAUREEN               NY         609882016        WEITZ & LUXENBERG, PC
ROETHEL              DONALD                NY         12788602         WEITZ & LUXENBERG, PC                                ROMANELLO            ANDREW                NY         12433902         WEITZ & LUXENBERG, PC
ROGALA               JOHN J                NY         10810800         WEITZ & LUXENBERG, PC                                ROMANELLO            CATHERINE             NY         12433902         WEITZ & LUXENBERG, PC
ROGALA               JOHN J                NY         99122192         WEITZ & LUXENBERG, PC                                ROMANO               ANGELA                NY         01121003         WEITZ & LUXENBERG, PC
ROGALEWSKI           ROBERT S              NY         10571702         WEITZ & LUXENBERG, PC                                ROMANO               ANTHONY               NY         1900222018       WEITZ & LUXENBERG, PC
ROGALSKI             BARBARA ANN           NY         10838600         WEITZ & LUXENBERG, PC                                ROMANO               ANTHONY J             NY         01110165         WEITZ & LUXENBERG, PC
ROGALSKI             ROBERT J              NY         10838600         WEITZ & LUXENBERG, PC                                ROMANO               ARTHUR                NY         01CIV7365        WEITZ & LUXENBERG, PC
ROGAN                ELLEN                 NY         10397199         WEITZ & LUXENBERG, PC                                ROMANO               DIEGO                 NY         01111235         WEITZ & LUXENBERG, PC
ROGAN                MARTIN                NY         10397199         WEITZ & LUXENBERG, PC                                ROMANO               DOMINICK J            NY         10754901         WEITZ & LUXENBERG, PC
ROGERS               BEATRIZ               NY         1901962015       WEITZ & LUXENBERG, PC                                ROMANO               EDITH                 NY         01CIV7365        WEITZ & LUXENBERG, PC
ROGERS               BECKY                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                ROMANO               FRANK                 NY         01121003         WEITZ & LUXENBERG, PC
ROGERS               BRENDA                NY         10130601         WEITZ & LUXENBERG, PC                                ROMANO               JOSEPHINE             NY         1900222018       WEITZ & LUXENBERG, PC
ROGERS               DENNIS                NY         01107551         WEITZ & LUXENBERG, PC                                ROMANO               KATHERINE             NY         01110165         WEITZ & LUXENBERG, PC
ROGERS               DIANA                 NY         02107004         WEITZ & LUXENBERG, PC                                ROMANO               MARGARET A            NY         10754901         WEITZ & LUXENBERG, PC
ROGERS               ELAINE                NY         01122139         WEITZ & LUXENBERG, PC                                ROMANO               ROCCO ROBERT          NY         01110165         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1047
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 382 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ROMANO               YVONE J               NY         1902822019       WEITZ & LUXENBERG, PC                                ROSE                 ALICE                 NY         110649           WEITZ & LUXENBERG, PC
ROMANOWSKI           HAROLD                NY         10716902         WEITZ & LUXENBERG, PC                                ROSE                 CARL E                NY         01CIV3900        WEITZ & LUXENBERG, PC
ROMANOWSKI           SOPHIE                NY         10716902         WEITZ & LUXENBERG, PC                                ROSE                 CHARLOTTE             NY         10756701         WEITZ & LUXENBERG, PC
ROMASZKO             GENEVIEVE             NY         10868406         WEITZ & LUXENBERG, PC                                ROSE                 DAVID H               NY         CV018140         WEITZ & LUXENBERG, PC
ROMASZKO             WILLIAM J             NY         10868406         WEITZ & LUXENBERG, PC                                ROSE                 DONNA                 NY         20016587         WEITZ & LUXENBERG, PC
ROMBOUGH             ANNETTE L             NY         02106707         WEITZ & LUXENBERG, PC                                ROSE                 EARNEST               NY         01CIV3901        WEITZ & LUXENBERG, PC
ROMBOUGH             RICHARD HAROLD        NY         02106707         WEITZ & LUXENBERG, PC                                ROSE                 EDDIE                 NY         CV013921         WEITZ & LUXENBERG, PC
ROME                 AINSLIE               NY         10754801         WEITZ & LUXENBERG, PC                                ROSE                 GEORGE A              NY         110649           WEITZ & LUXENBERG, PC
ROME                 ARLENE                NY         10754801         WEITZ & LUXENBERG, PC                                ROSE                 GEORGE C              NY         00CIV3589        WEITZ & LUXENBERG, PC
ROMEO                VIRGINIA              NY         11641201         WEITZ & LUXENBERG, PC                                ROSE                 HELEN JANE            NY         11788800         WEITZ & LUXENBERG, PC
ROMEO KESTLER        JOANN                 NY         11641201         WEITZ & LUXENBERG, PC                                ROSE                 HELEN L               NY         99103940         WEITZ & LUXENBERG, PC
ROMERO               ANA                   NY         12043101         WEITZ & LUXENBERG, PC                                ROSE                 HELEN L               NY         10394009         WEITZ & LUXENBERG, PC
ROMERO               HIPOLITO              NY         12043101         WEITZ & LUXENBERG, PC                                ROSE                 JANE                  NY         10700002         WEITZ & LUXENBERG, PC
ROMERO               MANUEL OLIVA          NY         10974900         WEITZ & LUXENBERG, PC                                ROSE                 LAVERN                NY         10756701         WEITZ & LUXENBERG, PC
ROMERO               RAQUEL                NY         10974900         WEITZ & LUXENBERG, PC                                ROSE                 LOUIS A               NY         11788800         WEITZ & LUXENBERG, PC
ROMES                FREDDIE               NY         01CIV3900        WEITZ & LUXENBERG, PC                                ROSE                 MARGARET TYLER        NY         CV016940         WEITZ & LUXENBERG, PC
ROMES                KATIE B               NY         01CIV3900        WEITZ & LUXENBERG, PC                                ROSE                 MARTIN M              NY         20016587         WEITZ & LUXENBERG, PC
RONCAIOLI            JOHN P                NY         11947901         WEITZ & LUXENBERG, PC                                ROSE                 MARY M                NY         01CIV3900        WEITZ & LUXENBERG, PC
RONCAIOLI            JOHN P                NY         01111220         WEITZ & LUXENBERG, PC                                ROSE                 ROBERT ALAN           NY         02106693         WEITZ & LUXENBERG, PC
RONCAIOLI            RUTH                  NY         11947901         WEITZ & LUXENBERG, PC                                ROSE                 RONALD N              NY         99103940         WEITZ & LUXENBERG, PC
RONCAIOLI            RUTH                  NY         01111220         WEITZ & LUXENBERG, PC                                ROSE                 RONALD N              NY         10394009         WEITZ & LUXENBERG, PC
RONCAIOLLI           SILVIO                NY         01111220         WEITZ & LUXENBERG, PC                                ROSE                 ROSIE                 NY         10604699         WEITZ & LUXENBERG, PC
RONDINONE            CHARLES ANTHONY       NY         99108913         WEITZ & LUXENBERG, PC                                ROSE                 THOMAS E              NY         10699300         WEITZ & LUXENBERG, PC
RONDINONE            LINDA C               NY         99108913         WEITZ & LUXENBERG, PC                                ROSE                 THOMAS L              NY         1903062015       WEITZ & LUXENBERG, PC
RONE                 DENNIS RAY            NY         01CIV3901        WEITZ & LUXENBERG, PC                                ROSE                 VERNON K              NY         10700002         WEITZ & LUXENBERG, PC
RONE                 MARTHA                NY         01CIV3901        WEITZ & LUXENBERG, PC                                ROSE                 VERONICA              NY         1900182018       WEITZ & LUXENBERG, PC
RONGO                CARMEL                NY         11369204         WEITZ & LUXENBERG, PC                                ROSEBURROW           ETHEL MARION          NY         01CIV3895        WEITZ & LUXENBERG, PC
RONGO                JOSEPH A              NY         11369204         WEITZ & LUXENBERG, PC                                ROSELLE              GRACE                 NY         12322300         WEITZ & LUXENBERG, PC
RONK                 HARRY B               NY         12668502         WEITZ & LUXENBERG, PC                                ROSELLE              JOHN                  NY         12322300         WEITZ & LUXENBERG, PC
RONK                 PAULINE               NY         12668502         WEITZ & LUXENBERG, PC                                ROSELLE              JOHN JR               NY         12322300         WEITZ & LUXENBERG, PC
ROOD                 FLOYD G               NY         11026802         WEITZ & LUXENBERG, PC                                ROSELLI              FRANCESCO S           NY         10680602         WEITZ & LUXENBERG, PC
ROOD                 TONYA                 NY         11026802         WEITZ & LUXENBERG, PC                                ROSELLI              VELMA                 NY         10680602         WEITZ & LUXENBERG, PC
ROODE                WILLIAM               NY         12668102         WEITZ & LUXENBERG, PC                                ROSEN                BARRY                 NY         12043301         WEITZ & LUXENBERG, PC
ROOF                 DIANNE P              NY         I20019846        WEITZ & LUXENBERG, PC                                ROSEN                ELAINE                NY         01111234         WEITZ & LUXENBERG, PC
ROOF                 DONALD F              NY         I20019846        WEITZ & LUXENBERG, PC                                ROSEN                ELAINE                NY         11921101         WEITZ & LUXENBERG, PC
ROOF                 JEANETTE              NY         10974800         WEITZ & LUXENBERG, PC                                ROSEN                GABRIEL               NY         11644501         WEITZ & LUXENBERG, PC
ROOF                 ROBERT                NY         11026902         WEITZ & LUXENBERG, PC                                ROSEN                GABRIEL               NY         01111219         WEITZ & LUXENBERG, PC
ROOF                 ROBERT                NY         12673202         WEITZ & LUXENBERG, PC                                ROSEN                JOSEPH T              NY         12110001         WEITZ & LUXENBERG, PC
ROOF                 RONALD H              NY         10974800         WEITZ & LUXENBERG, PC                                ROSEN                PATRICIA              NY         12043201         WEITZ & LUXENBERG, PC
ROOKS                CHARLES               NY         19009512         WEITZ & LUXENBERG, PC                                ROSEN                PATRICIA              NY         10110102         WEITZ & LUXENBERG, PC
ROOKS                PETRA                 NY         19009512         WEITZ & LUXENBERG, PC                                ROSEN                RACHEL                NY         12043301         WEITZ & LUXENBERG, PC
ROONEY               DAVID E               NY         02107099         WEITZ & LUXENBERG, PC                                ROSEN                STANLEY               NY         01111234         WEITZ & LUXENBERG, PC
ROONEY               INEZ M                NY         02107099         WEITZ & LUXENBERG, PC                                ROSEN                STANLEY               NY         11921101         WEITZ & LUXENBERG, PC
ROONEY               JAMES W               NY         10710102         WEITZ & LUXENBERG, PC                                ROSENBACH            LOUIS A               NY         00123070         WEITZ & LUXENBERG, PC
ROONEY               JAMES W               NY         11965402         WEITZ & LUXENBERG, PC                                ROSENBACH            SYLVIA KAMEN          NY         00123070         WEITZ & LUXENBERG, PC
ROONEY               LORETTA               NY         10710102         WEITZ & LUXENBERG, PC                                ROSENBAUM            KATHERINE             NY         12039801         WEITZ & LUXENBERG, PC
ROONEY               LORETTA               NY         11965402         WEITZ & LUXENBERG, PC                                ROSENBAUM            WILLIAM               NY         12039801         WEITZ & LUXENBERG, PC
ROOSA                JEANETTE              NY         10669502         WEITZ & LUXENBERG, PC                                ROSENBERG            BARBARA               NY         10974400         WEITZ & LUXENBERG, PC
ROOSA                ROBERT H              NY         10669502         WEITZ & LUXENBERG, PC                                ROSENBERG            DEBORA                NY         10974500         WEITZ & LUXENBERG, PC
ROOSEVELT            MARTHA                NY         CV003590         WEITZ & LUXENBERG, PC                                ROSENBERG            EDWARD                NY         10974500         WEITZ & LUXENBERG, PC
ROOT                 JOSEPH R              NY         10669502         WEITZ & LUXENBERG, PC                                ROSENBERG            HARRY                 NY         10974400         WEITZ & LUXENBERG, PC
ROOT                 MARGARET              NY         10669502         WEITZ & LUXENBERG, PC                                ROSENBLUM            SAMUEL                NY         01111235         WEITZ & LUXENBERG, PC
ROPETER              JOAN                  NY         10699100         WEITZ & LUXENBERG, PC                                ROSENBLUM            SAMUEL                NY         11838801         WEITZ & LUXENBERG, PC
ROPETER              ROBERT RALPH          NY         10699100         WEITZ & LUXENBERG, PC                                ROSENHECK            BETTY                 NY         11909601         WEITZ & LUXENBERG, PC
RORICK               DONALD R              NY         10876703         WEITZ & LUXENBERG, PC                                ROSENHECK            SAMUEL                NY         11909601         WEITZ & LUXENBERG, PC
RORICK               MARIAN SIMPSON        NY         10876703         WEITZ & LUXENBERG, PC                                ROSENTHAL            HELENE                NY         12038901         WEITZ & LUXENBERG, PC
ROSA                 JUANITA               NY         1902992012       WEITZ & LUXENBERG, PC                                ROSENTHAL            JOEL                  NY         12038901         WEITZ & LUXENBERG, PC
ROSA                 LEONARD               NY         10545206         WEITZ & LUXENBERG, PC                                ROSENTHAL            LORRAINE              NY         00123871         WEITZ & LUXENBERG, PC
ROSA                 NORMA                 NY         10545206         WEITZ & LUXENBERG, PC                                ROSENTHAL            THOMAS                NY         00123871         WEITZ & LUXENBERG, PC
ROSA                 THOMAS E              NY         1902992012       WEITZ & LUXENBERG, PC                                ROSENWASSER          JAY                   NY         10200602         WEITZ & LUXENBERG, PC
ROSADO               ELADIA                NY         12039201         WEITZ & LUXENBERG, PC                                ROSENWASSER          ROCHELLE              NY         10200602         WEITZ & LUXENBERG, PC
ROSADO               ELADIA                NY         10406502         WEITZ & LUXENBERG, PC                                ROSENWIE             HENRIETTA G           NY         02105713         WEITZ & LUXENBERG, PC
ROSADO               ELDIA                 NY         12039201         WEITZ & LUXENBERG, PC                                ROSENWIE             ROBERT V              NY         02105713         WEITZ & LUXENBERG, PC
ROSADO               ELDIA                 NY         10406502         WEITZ & LUXENBERG, PC                                ROSENZWEIG           JANET                 NY         10740202         WEITZ & LUXENBERG, PC
ROSADO               SANTIAGO              NY         12039201         WEITZ & LUXENBERG, PC                                ROSENZWEIG           JOHN F                NY         10740202         WEITZ & LUXENBERG, PC
ROSADO               SANTIAGO              NY         10406502         WEITZ & LUXENBERG, PC                                ROSEO                ANGELO                NY         01118868         WEITZ & LUXENBERG, PC
ROSBOROUGH           DOROTHY M             NY         I200110877       WEITZ & LUXENBERG, PC                                ROSEO                PAULINE               NY         01118868         WEITZ & LUXENBERG, PC
ROSBOROUGH           MILTON IVAN           NY         12032699         WEITZ & LUXENBERG, PC                                ROSETE               JOSEPHINE T           NY         12213801         WEITZ & LUXENBERG, PC
ROSBOROUGH           ROMAINE               NY         12032699         WEITZ & LUXENBERG, PC                                ROSETE               MESIAS I              NY         12213801         WEITZ & LUXENBERG, PC
ROSCIOLI             GAIL                  NY         10756801         WEITZ & LUXENBERG, PC                                ROSETI               ANTHONY               NY         01111236         WEITZ & LUXENBERG, PC
ROSCIOLI             JOHN                  NY         10756801         WEITZ & LUXENBERG, PC                                ROSETI               ANTHONY               NY         12183101         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1048
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 383 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ROSINA               JOHN                  NY         10974300         WEITZ & LUXENBERG, PC                                ROTHENHAUSEN         ARLENE                NY         02107007         WEITZ & LUXENBERG, PC
ROSINA               OLGA                  NY         10974300         WEITZ & LUXENBERG, PC                                ROTHENHAUSEN         ARLENE                NY         11532702         WEITZ & LUXENBERG, PC
ROSINSKI             DONALD J              NY         10976000         WEITZ & LUXENBERG, PC                                ROTHENHAUSEN         SPENCER               NY         11532702         WEITZ & LUXENBERG, PC
ROSINSKI             SHERRY                NY         10976000         WEITZ & LUXENBERG, PC                                ROTHENHAUSEN         SPENCES               NY         02107007         WEITZ & LUXENBERG, PC
ROSKELL              KATHLEEN              NY         11978501         WEITZ & LUXENBERG, PC                                ROTHLEDER            DEBORAH               NY         10740502         WEITZ & LUXENBERG, PC
ROSKELL              KATHLEEN              NY         11123201         WEITZ & LUXENBERG, PC                                ROTHLEDER            WILLIAM E             NY         10740502         WEITZ & LUXENBERG, PC
ROSKELL              RICHARD H             NY         11978501         WEITZ & LUXENBERG, PC                                ROTHMAN              DIANE                 NY         10005002         WEITZ & LUXENBERG, PC
ROSKELL              RICHARD H             NY         11123201         WEITZ & LUXENBERG, PC                                ROTHMAN              PAUL                  NY         10005002         WEITZ & LUXENBERG, PC
ROSKOSKI             CAROLYN               NY         11582701         WEITZ & LUXENBERG, PC                                ROTHMANN             GEORGE W              NY         10074103         WEITZ & LUXENBERG, PC
ROSKOSKI             CAROLYN               NY         01111222         WEITZ & LUXENBERG, PC                                ROTHMANN             TONYA                 NY         10074103         WEITZ & LUXENBERG, PC
ROSKOSKI             EDWARD                NY         11582701         WEITZ & LUXENBERG, PC                                ROTHMEL              ELIZABETH             NY         10419799         WEITZ & LUXENBERG, PC
ROSKOSKI             EDWARD                NY         01111222         WEITZ & LUXENBERG, PC                                ROTHMEL              JEFFREY               NY         10419799         WEITZ & LUXENBERG, PC
ROSKWITALSKI         DAVID R               NY         10571702         WEITZ & LUXENBERG, PC                                ROTHMEL              WILLIAM               NY         10419799         WEITZ & LUXENBERG, PC
ROSKWITALSKI         TINA                  NY         10571702         WEITZ & LUXENBERG, PC                                ROTHSTEIN            HELEN                 NY         12693502         WEITZ & LUXENBERG, PC
ROSNO                MICHAEL S             NY         10740202         WEITZ & LUXENBERG, PC                                ROTHSTEIN            MARTIN                NY         12693502         WEITZ & LUXENBERG, PC
ROSS                 ANNIE                 NY         99120301         WEITZ & LUXENBERG, PC                                ROTI                 VINCENT J             NY         99104196         WEITZ & LUXENBERG, PC
ROSS                 ARMAND                NY         19029010         WEITZ & LUXENBERG, PC                                ROTILIO              CLEMMA                NY         10975300         WEITZ & LUXENBERG, PC
ROSS                 BARBARA               NY         99103938         WEITZ & LUXENBERG, PC                                ROTILIO              JOE                   NY         10975300         WEITZ & LUXENBERG, PC
ROSS                 BARBARA A             NY         1900892017       WEITZ & LUXENBERG, PC                                ROTILIO              JOSEPH                NY         10975300         WEITZ & LUXENBERG, PC
ROSS                 CAROL L               NY         11446404         WEITZ & LUXENBERG, PC                                ROTOLO               MAUREEN               NY         1903682016       WEITZ & LUXENBERG, PC
ROSS                 CLAIRMONT L           NY         1900892017       WEITZ & LUXENBERG, PC                                ROTT                 DONNA                 NY         10977000         WEITZ & LUXENBERG, PC
ROSS                 DAVID BEST            NY         10587002         WEITZ & LUXENBERG, PC                                ROTT                 LAWRENCE A            NY         10977000         WEITZ & LUXENBERG, PC
ROSS                 DENYSE                NY         11026902         WEITZ & LUXENBERG, PC                                ROTTER               RONALD R              NY         00106994         WEITZ & LUXENBERG, PC
ROSS                 EDMOND                NY         10975900         WEITZ & LUXENBERG, PC                                ROTUNNO              PATRICIA              NY         1904312018       WEITZ & LUXENBERG, PC
ROSS                 ELIZABETH             NY         11581900         WEITZ & LUXENBERG, PC                                ROTUNNO              PATRICIA              NY         01111234         WEITZ & LUXENBERG, PC
ROSS                 ERROL J               NY         11446404         WEITZ & LUXENBERG, PC                                ROTUNNO              PATRICIA              NY         11921201         WEITZ & LUXENBERG, PC
ROSS                 FREDDIE               NY         12042901         WEITZ & LUXENBERG, PC                                ROTUNNO              SALVATORE             NY         1904312018       WEITZ & LUXENBERG, PC
ROSS                 GALE H                NY         10722102         WEITZ & LUXENBERG, PC                                ROTUNNO              SALVATORE A           NY         01111234         WEITZ & LUXENBERG, PC
ROSS                 GORDON WILLIAM        NY         10716902         WEITZ & LUXENBERG, PC                                ROTUNNO              SALVATORE A           NY         11921201         WEITZ & LUXENBERG, PC
ROSS                 HELEN                 NY         19029010         WEITZ & LUXENBERG, PC                                ROUBLICK             JOHN                  NY         01111218         WEITZ & LUXENBERG, PC
ROSS                 JAMES J               NY         11581900         WEITZ & LUXENBERG, PC                                ROUBLICK             SUSAN                 NY         01111218         WEITZ & LUXENBERG, PC
ROSS                 JOHN                  NY         99120301         WEITZ & LUXENBERG, PC                                ROUGH                MARY ANN              PA         190901157        WEITZ & LUXENBERG, PC
ROSS                 JOHN R                NY         02106709         WEITZ & LUXENBERG, PC                                ROUGH                WAYNE L               PA         190901157        WEITZ & LUXENBERG, PC
ROSS                 KATHERINE HELEN       NY         10740002         WEITZ & LUXENBERG, PC                                ROULE                EMMA R                NY         10699500         WEITZ & LUXENBERG, PC
ROSS                 LESTER PAUL           NY         99103938         WEITZ & LUXENBERG, PC                                ROULEAU              RENAUD J.P.           NY         10658102         WEITZ & LUXENBERG, PC
ROSS                 MERVIN E              NY         1902002013       WEITZ & LUXENBERG, PC                                ROUNDTREE            ULYSSESS              NY         12433902         WEITZ & LUXENBERG, PC
ROSS                 NORA                  NY         1902002013       WEITZ & LUXENBERG, PC                                ROUNDTREE            WILLIE                NY         01CIV3900        WEITZ & LUXENBERG, PC
ROSS                 RODERICK A            NY         10975800         WEITZ & LUXENBERG, PC                                ROURKE               CATHERINE             NY         10419499         WEITZ & LUXENBERG, PC
ROSS                 ROSEMARIE             NY         12042901         WEITZ & LUXENBERG, PC                                ROURKE               DONALD RICHARD        NY         99104195         WEITZ & LUXENBERG, PC
ROSS                 RUSSELL P             NY         10722102         WEITZ & LUXENBERG, PC                                ROURKE               DOROTHY M             NY         99104195         WEITZ & LUXENBERG, PC
ROSS                 TREVOR G              NY         11026902         WEITZ & LUXENBERG, PC                                ROURKE               ISABEL                NY         10680802         WEITZ & LUXENBERG, PC
ROSS                 VIRGINIA              NY         02106709         WEITZ & LUXENBERG, PC                                ROURKE               JOSEPH N              NY         10680802         WEITZ & LUXENBERG, PC
ROSSI                CAROL ANN             NY         10975700         WEITZ & LUXENBERG, PC                                ROURKE               WALTER                NY         10976900         WEITZ & LUXENBERG, PC
ROSSI                CAROLYN JANE          NY         12801902         WEITZ & LUXENBERG, PC                                ROURKE               WILLIAM F             NY         10419499         WEITZ & LUXENBERG, PC
ROSSI                JAMES MICHAEL         NY         12801902         WEITZ & LUXENBERG, PC                                ROUSELL              LAWRENCE C            NY         10740402         WEITZ & LUXENBERG, PC
ROSSI                JANET                 NY         19051511         WEITZ & LUXENBERG, PC                                ROUSSEY              JEROME A              NY         10756401         WEITZ & LUXENBERG, PC
ROSSI                JANET                 NY         19039609         WEITZ & LUXENBERG, PC                                ROUSSEY              ROSE MARY             NY         10756401         WEITZ & LUXENBERG, PC
ROSSI                LOUIS JOHN            NY         10975700         WEITZ & LUXENBERG, PC                                ROVITO               ALLEN L               NY         10700002         WEITZ & LUXENBERG, PC
ROSSI                RALPH                 NY         10455407         WEITZ & LUXENBERG, PC                                ROVITO               KIMBERLY              NY         10700002         WEITZ & LUXENBERG, PC
ROSSI                VINCENT E             NY         19039609         WEITZ & LUXENBERG, PC                                ROWE                 DONALD RAY            NY         CV015537         WEITZ & LUXENBERG, PC
ROSSIELLO            CATHERINE C           NY         98117769         WEITZ & LUXENBERG, PC                                ROWE                 HARRY                 NY         11948001         WEITZ & LUXENBERG, PC
ROSSMAN              JACK                  NY         01110707         WEITZ & LUXENBERG, PC                                ROWE                 HARRY                 NY         01111220         WEITZ & LUXENBERG, PC
ROSSMAN              SYLVIA A              NY         01110707         WEITZ & LUXENBERG, PC                                ROWE                 SANDRA                NY         CV015537         WEITZ & LUXENBERG, PC
ROST                 RICHARD A             NY         02106579         WEITZ & LUXENBERG, PC                                ROWEDDER             DOUGLAS               NY         10976800         WEITZ & LUXENBERG, PC
ROSZEL               RICHARD S             NY         10710102         WEITZ & LUXENBERG, PC                                ROWELL               ANNE                  NY         99104193         WEITZ & LUXENBERG, PC
ROSZEL               SUSAN M               NY         10710102         WEITZ & LUXENBERG, PC                                ROWELL               ANTHONY               NY         10517002         WEITZ & LUXENBERG, PC
ROTH                 ABRAHAM               NY         19043710         WEITZ & LUXENBERG, PC                                ROWELL               EDMUND                NY         01111236         WEITZ & LUXENBERG, PC
ROTH                 ALICE                 NY         10756501         WEITZ & LUXENBERG, PC                                ROWELL               EDMUND                NY         CV022372         WEITZ & LUXENBERG, PC
ROTH                 DOUGLAS               NY         10975400         WEITZ & LUXENBERG, PC                                ROWELL               KEN M                 NY         99104193         WEITZ & LUXENBERG, PC
ROTH                 ELISSA                NY         19043710         WEITZ & LUXENBERG, PC                                ROWELL               MERVIN K              NY         10517002         WEITZ & LUXENBERG, PC
ROTH                 FLORENCE              NY         10699902         WEITZ & LUXENBERG, PC                                ROWLAND              EMMA R                NY         01CIV3910        WEITZ & LUXENBERG, PC
ROTH                 FLORENCE F            NY         11134902         WEITZ & LUXENBERG, PC                                ROWLAND              LOUIS                 NY         01CIV3910        WEITZ & LUXENBERG, PC
ROTH                 GLORIA M              NY         11134902         WEITZ & LUXENBERG, PC                                ROWLES               KYLE                  NY         10587202         WEITZ & LUXENBERG, PC
ROTH                 RONALD C              NY         10756501         WEITZ & LUXENBERG, PC                                ROWLES               KYLE                  NY         10822302         WEITZ & LUXENBERG, PC
ROTH                 SAMUEL P              NY         10699902         WEITZ & LUXENBERG, PC                                ROWLEY               DAVID M               NY         10756301         WEITZ & LUXENBERG, PC
ROTH                 SAMUEL P              NY         11134902         WEITZ & LUXENBERG, PC                                ROWLEY               DONALD                NY         11159303         WEITZ & LUXENBERG, PC
ROTH                 WILLIAM ARTHUR        NY         10756501         WEITZ & LUXENBERG, PC                                ROWLEY               SHIRLEY               NY         11159303         WEITZ & LUXENBERG, PC
ROTHENBERG           JANET                 NY         11070400         WEITZ & LUXENBERG, PC                                ROYAEL               EDWARD                NY         12039501         WEITZ & LUXENBERG, PC
ROTHENBERG           JANET                 NY         12219599         WEITZ & LUXENBERG, PC                                ROYAEL               EDWARD                NY         10956802         WEITZ & LUXENBERG, PC
ROTHENBERGER         PATRICIA              NY         99104199         WEITZ & LUXENBERG, PC                                ROYAEL               EILEEN                NY         12039501         WEITZ & LUXENBERG, PC
ROTHENBERGER         RALPH C               NY         99104199         WEITZ & LUXENBERG, PC                                ROYAEL               EILEEN                NY         10956802         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1049
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 384 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ROYCE                JAMES A               NY         10722202         WEITZ & LUXENBERG, PC                                RUFFINO              PAUL                  NY         10756101         WEITZ & LUXENBERG, PC
ROYCE                PATRICIA A            NY         10722202         WEITZ & LUXENBERG, PC                                RUFFINO              SAMUEL J              NY         10756001         WEITZ & LUXENBERG, PC
ROYER                CHARLOTTE E           NY         99120438         WEITZ & LUXENBERG, PC                                RUFFNER              KAREN J               NY         10571402         WEITZ & LUXENBERG, PC
ROYER                FREDRICK L            NY         1901812019       WEITZ & LUXENBERG, PC                                RUFFNER              RICHARD W             NY         10571402         WEITZ & LUXENBERG, PC
ROYER                GEORGE R              NY         99120438         WEITZ & LUXENBERG, PC                                RUFFO                JOSEPHINE             NY         10106102         WEITZ & LUXENBERG, PC
ROYER                HOWARD J              PA         120800197        WEITZ & LUXENBERG, PC                                RUFFO                VINCENZO              NY         10106102         WEITZ & LUXENBERG, PC
ROYER                JOYCE                 NY         1901812019       WEITZ & LUXENBERG, PC                                RUFO                 RACHAEL               NY         12039001         WEITZ & LUXENBERG, PC
ROYER                OLGA E                PA         120800197        WEITZ & LUXENBERG, PC                                RUFO                 SECONDO               NY         12039001         WEITZ & LUXENBERG, PC
ROYER                ROBERT EARL           NY         1901812019       WEITZ & LUXENBERG, PC                                RUGGIERO             BEATRICE              NY         99120265         WEITZ & LUXENBERG, PC
ROZELL               CHARLOTTE             NY         02107005         WEITZ & LUXENBERG, PC                                RUGGIERO             ELIZABETH J           NY         10571702         WEITZ & LUXENBERG, PC
ROZELL               CHARLOTTE             NY         11627102         WEITZ & LUXENBERG, PC                                RUGGIERO             ELIZABETH J           NY         11148502         WEITZ & LUXENBERG, PC
ROZELL               JOHN A                NY         02107005         WEITZ & LUXENBERG, PC                                RUGGIERO             JOSEPH T              NY         6102062018       WEITZ & LUXENBERG, PC
ROZELL               JOHN A                NY         11627102         WEITZ & LUXENBERG, PC                                RUGGIERO             SAM J                 NY         10571702         WEITZ & LUXENBERG, PC
ROZELL               PATRICIA K            NY         10665002         WEITZ & LUXENBERG, PC                                RUGGIERO             SAM J                 NY         11148502         WEITZ & LUXENBERG, PC
ROZELL               PATRICIA K            NY         109573           WEITZ & LUXENBERG, PC                                RUGGIERO             WILLIAM J             NY         99120265         WEITZ & LUXENBERG, PC
ROZELL               PETER J               NY         10665002         WEITZ & LUXENBERG, PC                                RUGGIRELLO           MARLENE               NY         01111225         WEITZ & LUXENBERG, PC
ROZELL               PETER J               NY         109573           WEITZ & LUXENBERG, PC                                RUGGIRELLO           MARLENE               NY         11811401         WEITZ & LUXENBERG, PC
ROZONEWSKI           JOHN SR               NY         10976700         WEITZ & LUXENBERG, PC                                RUGGIRELLO           ROBERT J              NY         01111225         WEITZ & LUXENBERG, PC
ROZONEWSKI           KARN                  NY         10976700         WEITZ & LUXENBERG, PC                                RUGGIRELLO           ROBERT J              NY         11811401         WEITZ & LUXENBERG, PC
ROZWOOD              CAROL                 NY         10571702         WEITZ & LUXENBERG, PC                                RUGGLES              GORDON                NY         10648001         WEITZ & LUXENBERG, PC
ROZWOOD              RICHARD R             NY         10571702         WEITZ & LUXENBERG, PC                                RUHLAND              CHARLES W             NY         02122023         WEITZ & LUXENBERG, PC
RUBACK               LINDA                 NY         10756201         WEITZ & LUXENBERG, PC                                RUHLAND              JOAN G                NY         02122023         WEITZ & LUXENBERG, PC
RUBACK               ROGER                 NY         10756201         WEITZ & LUXENBERG, PC                                RUIZ                 FRANCISCO             NY         10977900         WEITZ & LUXENBERG, PC
RUBANO               DANIEL J              NY         10976600         WEITZ & LUXENBERG, PC                                RULAND               BARBARA               NY         02106690         WEITZ & LUXENBERG, PC
RUBECK               DONNA                 NY         11327602         WEITZ & LUXENBERG, PC                                RULAND               BARRY                 NY         02106690         WEITZ & LUXENBERG, PC
RUBECK               KENNETH               NY         11327602         WEITZ & LUXENBERG, PC                                RUMSEY               BETTY                 NY         10669502         WEITZ & LUXENBERG, PC
RUBIN                DAVID                 NY         1901932013       WEITZ & LUXENBERG, PC                                RUMSEY               DAVID H               NY         10669502         WEITZ & LUXENBERG, PC
RUBIN                GERTRUDE F            NY         1901932013       WEITZ & LUXENBERG, PC                                RUMSEY               FRANK M               NY         12668102         WEITZ & LUXENBERG, PC
RUBINO               CLEOPATRA             NY         19007510         WEITZ & LUXENBERG, PC                                RUMSEY               JAMES E               NY         99104183         WEITZ & LUXENBERG, PC
RUBINO               FLORENCE              NY         10976500         WEITZ & LUXENBERG, PC                                RUMSEY               JOANNE                NY         10977700         WEITZ & LUXENBERG, PC
RUBINO               JOHN A                NY         10976500         WEITZ & LUXENBERG, PC                                RUMSEY               KATHRYN               NY         10670602         WEITZ & LUXENBERG, PC
RUBINO               JOHN J                NY         19007510         WEITZ & LUXENBERG, PC                                RUMSEY               MARY                  NY         99104183         WEITZ & LUXENBERG, PC
RUBINO               PETER                 NY         99104192         WEITZ & LUXENBERG, PC                                RUMSEY               PAULA                 NY         12668102         WEITZ & LUXENBERG, PC
RUBY                 DOLORES               NY         12668602         WEITZ & LUXENBERG, PC                                RUMSEY               PHILIP R              NY         10670602         WEITZ & LUXENBERG, PC
RUBY                 DOLORES               NY         10403403         WEITZ & LUXENBERG, PC                                RUMSEY               ROGER C               NY         12801902         WEITZ & LUXENBERG, PC
RUBY                 FRANK L               NY         12668602         WEITZ & LUXENBERG, PC                                RUMSEY               TRACY W               NY         10977700         WEITZ & LUXENBERG, PC
RUBY                 FRANK L               NY         10403403         WEITZ & LUXENBERG, PC                                RUNIONS              BARBARA               NY         10645702         WEITZ & LUXENBERG, PC
RUCINSKI             GEORGE JOSEPH         NY         10976400         WEITZ & LUXENBERG, PC                                RUNIONS              ERNEST E              NY         10645702         WEITZ & LUXENBERG, PC
RUCKDESCHEL          JUDITH A              NY         110334           WEITZ & LUXENBERG, PC                                RUNSTROM             GARNET                NY         12111297         WEITZ & LUXENBERG, PC
RUCKDESCHEL          JUDITH A              NY         12448902         WEITZ & LUXENBERG, PC                                RUNSTROM             RAYMOND               NY         12111297         WEITZ & LUXENBERG, PC
RUCKDESCHEL          ROY                   NY         110334           WEITZ & LUXENBERG, PC                                RUNYAN               BETTY J               NY         01CIV3901        WEITZ & LUXENBERG, PC
RUCKDESCHEL          ROY                   NY         12448902         WEITZ & LUXENBERG, PC                                RUNYAN               BILLY W               NY         01CIV3901        WEITZ & LUXENBERG, PC
RUDD                 JACK F                NY         10976300         WEITZ & LUXENBERG, PC                                RUNYON               MICHAEL A             NY         1902962019       WEITZ & LUXENBERG, PC
RUDD                 JUDY                  NY         10976300         WEITZ & LUXENBERG, PC                                RUOFF                MARGARET              NY         01111220         WEITZ & LUXENBERG, PC
RUDNICK              JAMES B               NY         10036305         WEITZ & LUXENBERG, PC                                RUOFF                WALTER M              NY         01111220         WEITZ & LUXENBERG, PC
RUDNICK              ROSANNE               NY         10036305         WEITZ & LUXENBERG, PC                                RUOPOLI              JOSEPH                NY         19004909         WEITZ & LUXENBERG, PC
RUDNIK               CAROL                 NY         02106693         WEITZ & LUXENBERG, PC                                RUPERT               EDGAR KEITH           NY         10680702         WEITZ & LUXENBERG, PC
RUDNIK               CAROL                 NY         11502202         WEITZ & LUXENBERG, PC                                RUPERT               EDGAR KEITH           NY         11090302         WEITZ & LUXENBERG, PC
RUDNIK               FLORIAN               NY         02106693         WEITZ & LUXENBERG, PC                                RUPERT               MARILYN               NY         10680702         WEITZ & LUXENBERG, PC
RUDNIK               FLORIAN               NY         11502202         WEITZ & LUXENBERG, PC                                RUPERT               MARILYN               NY         11090302         WEITZ & LUXENBERG, PC
RUDNIK               FRANK                 NY         02106693         WEITZ & LUXENBERG, PC                                RUPPERT              BETSY                 NY         12668202         WEITZ & LUXENBERG, PC
RUDNIK               FRANK                 NY         11502202         WEITZ & LUXENBERG, PC                                RUPPERT              BETSY                 NY         10387103         WEITZ & LUXENBERG, PC
RUDNIK               JOSEPH VICTOR         NY         10670602         WEITZ & LUXENBERG, PC                                RUPPERT              DENNIS J              NY         12110001         WEITZ & LUXENBERG, PC
RUDNIK               THERESA               NY         10670602         WEITZ & LUXENBERG, PC                                RUPPERT              DENNIS J              NY         10646902         WEITZ & LUXENBERG, PC
RUDOLPH              JAMES W               NY         10976200         WEITZ & LUXENBERG, PC                                RUPPERT              HAROLD G              NY         12668202         WEITZ & LUXENBERG, PC
RUDOLPH              NANCY W               NY         10976200         WEITZ & LUXENBERG, PC                                RUPPERT              HAROLD G              NY         10387103         WEITZ & LUXENBERG, PC
RUDOLPHI             ARNOLD C              NY         1900122015       WEITZ & LUXENBERG, PC                                RUPPERT              HAROLD JERRY          NY         10418199         WEITZ & LUXENBERG, PC
RUDOLPHI             ROSEANNE              NY         1900122015       WEITZ & LUXENBERG, PC                                RUPPERT              MARY                  NY         10418199         WEITZ & LUXENBERG, PC
RUEBSAMEN            DAVID WILLIAM         NY         10699902         WEITZ & LUXENBERG, PC                                RUPPERT              WILLIAM A             NY         12110001         WEITZ & LUXENBERG, PC
RUEHL                GORDON E              NY         19036211         WEITZ & LUXENBERG, PC                                RUPPERT              WILLIAM A             NY         10646902         WEITZ & LUXENBERG, PC
RUEHL                JANET                 NY         19036211         WEITZ & LUXENBERG, PC                                RUPPERT              WILLIAM JR            NY         12110001         WEITZ & LUXENBERG, PC
RUETER               HERMAN J              NY         10976100         WEITZ & LUXENBERG, PC                                RUPPERT              WILLIAM JR            NY         10646902         WEITZ & LUXENBERG, PC
RUETER               PAULINE               NY         10976100         WEITZ & LUXENBERG, PC                                RUPRECHT             DOROTHY               NY         10418099         WEITZ & LUXENBERG, PC
RUETER               WILLIAM H             NY         02105713         WEITZ & LUXENBERG, PC                                RUPRECHT             FRED HENRY            NY         10418099         WEITZ & LUXENBERG, PC
RUETSCHI             GEORGE A              NY         10587502         WEITZ & LUXENBERG, PC                                RUPRECHT             JOAN E                NY         10418099         WEITZ & LUXENBERG, PC
RUETSCHI             VIRGINIA              NY         10587502         WEITZ & LUXENBERG, PC                                RUSAW                SILAS R               NY         10700002         WEITZ & LUXENBERG, PC
RUFF                 DOROTHY M             NY         10978100         WEITZ & LUXENBERG, PC                                RUSCHAK              JOHN D                NY         11123101         WEITZ & LUXENBERG, PC
RUFF                 JOHN J                NY         10978100         WEITZ & LUXENBERG, PC                                RUSCHAK              JOHN D                NY         12058401         WEITZ & LUXENBERG, PC
RUFFIN               LEVI                  NY         10978000         WEITZ & LUXENBERG, PC                                RUSCHAK              MARGIE                NY         11123101         WEITZ & LUXENBERG, PC
RUFFINO              JOANNE                NY         10756101         WEITZ & LUXENBERG, PC                                RUSCHAK              MARGIE                NY         12058401         WEITZ & LUXENBERG, PC
RUFFINO              MARJORIE J            NY         10756001         WEITZ & LUXENBERG, PC                                RUSH                 DANIEL WILLIAM        NY         11582400         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1050
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 385 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RUSH                 MARY                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                RUSSO                MARIANO               NY         11235800         WEITZ & LUXENBERG, PC
RUSH                 SUSAN                 NY         11582400         WEITZ & LUXENBERG, PC                                RUSSO                MARY M                NY         99104162         WEITZ & LUXENBERG, PC
RUSH                 WILLIE RODGERS        NY         00CIV3589        WEITZ & LUXENBERG, PC                                RUSSO                MARYJANE              NY         10587002         WEITZ & LUXENBERG, PC
RUSHING              SUSAN G               NY         10705506         WEITZ & LUXENBERG, PC                                RUSSO                MICHELE               NY         19007111         WEITZ & LUXENBERG, PC
RUSINCKY             MARYANN               NY         10871001         WEITZ & LUXENBERG, PC                                RUSSO                PAUL                  NY         11235800         WEITZ & LUXENBERG, PC
RUSINCKY             PAUL T                NY         10871001         WEITZ & LUXENBERG, PC                                RUSSO                PETER                 NY         12668102         WEITZ & LUXENBERG, PC
RUSO                 SUSAN                 NY         10977600         WEITZ & LUXENBERG, PC                                RUSSO                RICHARD               NY         01111234         WEITZ & LUXENBERG, PC
RUSS                 GLORIA                NY         00CIV3589        WEITZ & LUXENBERG, PC                                RUSSO                RICHARD               NY         11921401         WEITZ & LUXENBERG, PC
RUSS                 HATTIE                NY         10587602         WEITZ & LUXENBERG, PC                                RUSSO                RITA                  NY         10758001         WEITZ & LUXENBERG, PC
RUSS                 JAMES LEE             NY         00CIV3589        WEITZ & LUXENBERG, PC                                RUSSO                ROSARIO               NY         11788900         WEITZ & LUXENBERG, PC
RUSS                 RAYMOND               NY         10587602         WEITZ & LUXENBERG, PC                                RUSSO                ROSS F                NY         10587002         WEITZ & LUXENBERG, PC
RUSSEAU              KENNETH               NY         1901112016       WEITZ & LUXENBERG, PC                                RUSSO                SALVATORE             NY         10977400         WEITZ & LUXENBERG, PC
RUSSEAU              MIKE                  NY         1901112016       WEITZ & LUXENBERG, PC                                RUSSO                SEBASTIAN C           NY         1900032016       WEITZ & LUXENBERG, PC
RUSSELL              ARLENE                NY         12788802         WEITZ & LUXENBERG, PC                                RUSSO                STEVE P               NY         10977200         WEITZ & LUXENBERG, PC
RUSSELL              BECKY                 NY         11554604         WEITZ & LUXENBERG, PC                                RUSSO                VINCENT               NY         10977100         WEITZ & LUXENBERG, PC
RUSSELL              BETTY J               NY         02106579         WEITZ & LUXENBERG, PC                                RUSSO                WILLIAM L             NY         11789000         WEITZ & LUXENBERG, PC
RUSSELL              CLEON J               NY         02106579         WEITZ & LUXENBERG, PC                                RUSSOMANNO           VITO                  NJ         MIDL81211AS      WEITZ & LUXENBERG, PC
RUSSELL              DONALD                NY         12788802         WEITZ & LUXENBERG, PC                                RUTECKI              EDWARD R              NY         99104162         WEITZ & LUXENBERG, PC
RUSSELL              ELOISE                NY         12044799         WEITZ & LUXENBERG, PC                                RUTECKI              FRANCES               NY         99104162         WEITZ & LUXENBERG, PC
RUSSELL              GEORGE                NY         12044799         WEITZ & LUXENBERG, PC                                RUTGERSEN            ARTHUR                NY         11159303         WEITZ & LUXENBERG, PC
RUSSELL              GREGORY L             NY         11446304         WEITZ & LUXENBERG, PC                                RUTH                 BRIAN S               NY         10979000         WEITZ & LUXENBERG, PC
RUSSELL              JOSEPH N              NY         01111234         WEITZ & LUXENBERG, PC                                RUTH                 GEORGE A              NY         10979100         WEITZ & LUXENBERG, PC
RUSSELL              JOSEPH N              NY         11921301         WEITZ & LUXENBERG, PC                                RUTH                 HENRY G               NY         10979000         WEITZ & LUXENBERG, PC
RUSSELL              MARGARET              NY         01111235         WEITZ & LUXENBERG, PC                                RUTH                 MARGARET              NY         10979100         WEITZ & LUXENBERG, PC
RUSSELL              MARY L                NY         10758201         WEITZ & LUXENBERG, PC                                RUTH                 MARGARETTA M          NY         10979000         WEITZ & LUXENBERG, PC
RUSSELL              RICHARD PHILLIP       NY         10669102         WEITZ & LUXENBERG, PC                                RUTHLEDGE            MARY                  NY         1901512016       WEITZ & LUXENBERG, PC
RUSSELL              ROBERT C              NY         10722202         WEITZ & LUXENBERG, PC                                RUTLEDGE             GARY LYNN             NY         CV018234         WEITZ & LUXENBERG, PC
RUSSELL              ROBERT C              NY         11361502         WEITZ & LUXENBERG, PC                                RUTLEDGE             MARY                  NY         1901512016       WEITZ & LUXENBERG, PC
RUSSELL              ROBERT DANIEL         NY         01111236         WEITZ & LUXENBERG, PC                                RUTLEDGE             THOMAS                NY         1901512016       WEITZ & LUXENBERG, PC
RUSSELL              ROBERT G              NY         01111235         WEITZ & LUXENBERG, PC                                RUTZELL              RAYMOND               NY         11582700         WEITZ & LUXENBERG, PC
RUSSELL              RUTH M                NY         10722202         WEITZ & LUXENBERG, PC                                RUTZELL              SUSAN                 NY         11582700         WEITZ & LUXENBERG, PC
RUSSELL              RUTH M                NY         11361502         WEITZ & LUXENBERG, PC                                RUZICKA              JAMES                 NY         12039601         WEITZ & LUXENBERG, PC
RUSSELL              THOMAS                NY         CV013921         WEITZ & LUXENBERG, PC                                RUZZINE              ANNA                  NY         99118266         WEITZ & LUXENBERG, PC
RUSSELL              THOMAS W              NY         10758201         WEITZ & LUXENBERG, PC                                RUZZINE              DOMINIC               NY         99118266         WEITZ & LUXENBERG, PC
RUSSELLO             DOMINICK P            NY         11582500         WEITZ & LUXENBERG, PC                                RYAN                 ALICIA                NY         1901702012       WEITZ & LUXENBERG, PC
RUSSELLO             VINCENT W             NY         11582500         WEITZ & LUXENBERG, PC                                RYAN                 ANN                   NY         12038901         WEITZ & LUXENBERG, PC
RUSSES               MARY                  NY         CV025663         WEITZ & LUXENBERG, PC                                RYAN                 ARTHUR L              NY         10978900         WEITZ & LUXENBERG, PC
RUSSES               RICHARD               NY         CV025663         WEITZ & LUXENBERG, PC                                RYAN                 BARBARA               NY         1900552019       WEITZ & LUXENBERG, PC
RUSSESAU             MICHAEL               NY         1901112016       WEITZ & LUXENBERG, PC                                RYAN                 BRENDA                NY         12668502         WEITZ & LUXENBERG, PC
RUSSI                ARTHUR                NY         12788602         WEITZ & LUXENBERG, PC                                RYAN                 BRENDA J              NY         12668502         WEITZ & LUXENBERG, PC
RUSSI                MARGARET              NY         12788602         WEITZ & LUXENBERG, PC                                RYAN                 BRENDA J              NY         10332103         WEITZ & LUXENBERG, PC
RUSSO                ANDREW S              NY         10758101         WEITZ & LUXENBERG, PC                                RYAN                 CAROL                 NY         10699800         WEITZ & LUXENBERG, PC
RUSSO                ANGELO                NY         10758001         WEITZ & LUXENBERG, PC                                RYAN                 CHARLES               NY         10978800         WEITZ & LUXENBERG, PC
RUSSO                ANTHONY               NY         10977600         WEITZ & LUXENBERG, PC                                RYAN                 CONCELYERS            NY         10978800         WEITZ & LUXENBERG, PC
RUSSO                ANTONIO               NY         10587502         WEITZ & LUXENBERG, PC                                RYAN                 DAVID                 NY         CV023336         WEITZ & LUXENBERG, PC
RUSSO                CATHERINE A           NY         10699700         WEITZ & LUXENBERG, PC                                RYAN                 EDWARD R              NY         10871001         WEITZ & LUXENBERG, PC
RUSSO                CONCETTA              NY         10977400         WEITZ & LUXENBERG, PC                                RYAN                 ELAINE                NY         02106707         WEITZ & LUXENBERG, PC
RUSSO                CONNIE                NY         10977400         WEITZ & LUXENBERG, PC                                RYAN                 FRANCES               NY         1900952018       WEITZ & LUXENBERG, PC
RUSSO                DOMINICK S            NY         10699700         WEITZ & LUXENBERG, PC                                RYAN                 GERARD                NY         10978700         WEITZ & LUXENBERG, PC
RUSSO                ELAINE                NY         10977300         WEITZ & LUXENBERG, PC                                RYAN                 HARRY                 NY         10757801         WEITZ & LUXENBERG, PC
RUSSO                ELIZABETH             NY         10977100         WEITZ & LUXENBERG, PC                                RYAN                 HELEN LOUISE          NY         01CIV3895        WEITZ & LUXENBERG, PC
RUSSO                FERDINAND             NY         11909701         WEITZ & LUXENBERG, PC                                RYAN                 JAMES W               NY         02113280         WEITZ & LUXENBERG, PC
RUSSO                FILOMENA              NY         10587502         WEITZ & LUXENBERG, PC                                RYAN                 JOANNE                NY         02113280         WEITZ & LUXENBERG, PC
RUSSO                GAETANO               NY         19007111         WEITZ & LUXENBERG, PC                                RYAN                 JOHN J                NY         12038901         WEITZ & LUXENBERG, PC
RUSSO                GARY N                NY         10758001         WEITZ & LUXENBERG, PC                                RYAN                 JOHN J                NY         12038801         WEITZ & LUXENBERG, PC
RUSSO                GLORIA                NY         1900032016       WEITZ & LUXENBERG, PC                                RYAN                 JOHN J                NY         10699800         WEITZ & LUXENBERG, PC
RUSSO                HELENE                NY         10758101         WEITZ & LUXENBERG, PC                                RYAN                 JOHN J                NY         10871001         WEITZ & LUXENBERG, PC
RUSSO                IRENE                 NY         1901682013       WEITZ & LUXENBERG, PC                                RYAN                 JOHN JAMES            NY         10978600         WEITZ & LUXENBERG, PC
RUSSO                JACK                  NY         10977400         WEITZ & LUXENBERG, PC                                RYAN                 JOHN JOSEPH           NY         10699902         WEITZ & LUXENBERG, PC
RUSSO                JEAN                  NY         11909701         WEITZ & LUXENBERG, PC                                RYAN                 JOSEPH F              NY         1902552019       WEITZ & LUXENBERG, PC
RUSSO                JOHN F                NY         1075901          WEITZ & LUXENBERG, PC                                RYAN                 JOSEPH W              NY         10978500         WEITZ & LUXENBERG, PC
RUSSO                JOHN P                NY         1904212018       WEITZ & LUXENBERG, PC                                RYAN                 JUNE                  NY         12788602         WEITZ & LUXENBERG, PC
RUSSO                JOHN P                NY         10977300         WEITZ & LUXENBERG, PC                                RYAN                 KATHLEEN              NY         10871001         WEITZ & LUXENBERG, PC
RUSSO                JOSEPH                NY         10210503         WEITZ & LUXENBERG, PC                                RYAN                 LAWRENCE W            NY         12043201         WEITZ & LUXENBERG, PC
RUSSO                JOSEPH S              NY         11582600         WEITZ & LUXENBERG, PC                                RYAN                 MARY                  NY         10978500         WEITZ & LUXENBERG, PC
RUSSO                JOSEPHINE             NY         1075901          WEITZ & LUXENBERG, PC                                RYAN                 MARY                  NY         CV023336         WEITZ & LUXENBERG, PC
RUSSO                KATHERINE             NY         11789000         WEITZ & LUXENBERG, PC                                RYAN                 MARY                  NY         10978300         WEITZ & LUXENBERG, PC
RUSSO                LORENZO A             NY         1901682013       WEITZ & LUXENBERG, PC                                RYAN                 MARY ANN              NY         12038801         WEITZ & LUXENBERG, PC
RUSSO                LORETTA               NY         11788900         WEITZ & LUXENBERG, PC                                RYAN                 MICHAEL EDWARD        NY         02105715         WEITZ & LUXENBERG, PC
RUSSO                LOUISE                NY         01111234         WEITZ & LUXENBERG, PC                                RYAN                 PATRICIA              NY         10978700         WEITZ & LUXENBERG, PC
RUSSO                LOUISE                NY         11921401         WEITZ & LUXENBERG, PC                                RYAN                 PAUL D                NY         10669102         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1051
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 386 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RYAN                 PAUL D                NY         11475702         WEITZ & LUXENBERG, PC                                SAFRAN               JOSEPH                NY         10409499         WEITZ & LUXENBERG, PC
RYAN                 RICHARD A             NY         12668502         WEITZ & LUXENBERG, PC                                SAGE                 DOROTHY               NY         10757201         WEITZ & LUXENBERG, PC
RYAN                 RICHARD A             NY         10332103         WEITZ & LUXENBERG, PC                                SAGE                 PAUL H                NY         10757201         WEITZ & LUXENBERG, PC
RYAN                 RICHARD FLEMING       NY         1900552019       WEITZ & LUXENBERG, PC                                SAGGIOMO             CAROLINE              NY         1902122019       WEITZ & LUXENBERG, PC
RYAN                 ROBERT                NY         02113565         WEITZ & LUXENBERG, PC                                SAHM                 ROGER W               NY         1901742015       WEITZ & LUXENBERG, PC
RYAN                 ROBERT                NY         12788602         WEITZ & LUXENBERG, PC                                SAILER               ELAINE                NY         99104206         WEITZ & LUXENBERG, PC
RYAN                 ROBERT J              NY         10978400         WEITZ & LUXENBERG, PC                                SAILER               GEORGE J              NY         99104206         WEITZ & LUXENBERG, PC
RYAN                 ROGER                 NY         97107263         WEITZ & LUXENBERG, PC                                SAITTA               ADRIENN               NY         12039201         WEITZ & LUXENBERG, PC
RYAN                 RONALD                NY         1901702012       WEITZ & LUXENBERG, PC                                SAITTA               ADRIENN               NY         10406602         WEITZ & LUXENBERG, PC
RYAN                 RONALD E              NY         02106707         WEITZ & LUXENBERG, PC                                SAITTA               ANTHONY               NY         11583200         WEITZ & LUXENBERG, PC
RYAN                 SHIRLEY E             NY         10757801         WEITZ & LUXENBERG, PC                                SAITTA               FRANK J               NY         12039201         WEITZ & LUXENBERG, PC
RYAN                 THOMAS                NY         1900952018       WEITZ & LUXENBERG, PC                                SAITTA               FRANK J               NY         10406602         WEITZ & LUXENBERG, PC
RYAN                 THOMAS F              NY         10978300         WEITZ & LUXENBERG, PC                                SAITTA               MAXINE                NY         11583200         WEITZ & LUXENBERG, PC
RYAN                 THOMAS M              NY         12039501         WEITZ & LUXENBERG, PC                                SAITTA               SUZANNA               NY         12039201         WEITZ & LUXENBERG, PC
RYAN                 WILLIAM R             NY         10985203         WEITZ & LUXENBERG, PC                                SAITTA               SUZANNA               NY         10406602         WEITZ & LUXENBERG, PC
RYBAK                FRANCIS               NY         10090403         WEITZ & LUXENBERG, PC                                SAIZ                 AURELIO               NY         02120619         WEITZ & LUXENBERG, PC
RYBARCZYK            ETHEL                 NY         11582800         WEITZ & LUXENBERG, PC                                SAIZ                 ELSA                  NY         12668202         WEITZ & LUXENBERG, PC
RYBARCZYK            WATSON                NY         11582800         WEITZ & LUXENBERG, PC                                SAIZ                 LUIS                  NY         12668202         WEITZ & LUXENBERG, PC
RYBICKI              CHESTER J             NY         99104166         WEITZ & LUXENBERG, PC                                SAKAL                MICHAEL               NY         11124600         WEITZ & LUXENBERG, PC
RYBICKI              PAULINE               NY         99104166         WEITZ & LUXENBERG, PC                                SAKLA                GRETEL S              NY         11123700         WEITZ & LUXENBERG, PC
RYBKE                EDITH MAY             NY         10669102         WEITZ & LUXENBERG, PC                                SAKLA                WALTER                NY         11123700         WEITZ & LUXENBERG, PC
RYBKE                PHILLIP EDWARD        NY         10669102         WEITZ & LUXENBERG, PC                                SAKOVICS             LINDA D               NY         1905212012       WEITZ & LUXENBERG, PC
RYCX                 LOIS                  NY         11850198         WEITZ & LUXENBERG, PC                                SAKOWSKI             JOSEPH A              NY         11856198         WEITZ & LUXENBERG, PC
RYDER                CLARA J               NY         109029           WEITZ & LUXENBERG, PC                                SAL0OM-LEAHY         ROSE A                NY         12039401         WEITZ & LUXENBERG, PC
RYDER                DAVID JOHN            NY         109029           WEITZ & LUXENBERG, PC                                SAL0OM-LEAHY         ROSE A                NY         10578502         WEITZ & LUXENBERG, PC
RYDER                GAIL                  NY         10757601         WEITZ & LUXENBERG, PC                                SALADYGA             THERESA               NY         10722102         WEITZ & LUXENBERG, PC
RYDER                GEORGE                NY         10118801         WEITZ & LUXENBERG, PC                                SALADYGA             THOMAS M              NY         10722102         WEITZ & LUXENBERG, PC
RYDER                HARRY                 NY         10757601         WEITZ & LUXENBERG, PC                                SALAMANDRA           CHRISTA               NY         1900212015       WEITZ & LUXENBERG, PC
RYDER                JANET L               NY         11871301         WEITZ & LUXENBERG, PC                                SALAMANDRA           JACK R                NY         1900212015       WEITZ & LUXENBERG, PC
RYDER                JANET L               NY         01111233         WEITZ & LUXENBERG, PC                                SALAMON              EMANUEL               NY         12433902         WEITZ & LUXENBERG, PC
RYDER                RICHARD SR            NY         97121479         WEITZ & LUXENBERG, PC                                SALAMON              PHYLLIS               NY         12433902         WEITZ & LUXENBERG, PC
RYDER                WILLIAM H             NY         02107005         WEITZ & LUXENBERG, PC                                SALAMONE             FRANCEEN              NY         11162403         WEITZ & LUXENBERG, PC
RYDZEWSKI            RICHARD R             NY         1900432017       WEITZ & LUXENBERG, PC                                SALAMONE             MATTHEW               NY         10669502         WEITZ & LUXENBERG, PC
RYNG                 DAVID                 NY         12802302         WEITZ & LUXENBERG, PC                                SALANGER             CYNTHIA               NY         10892504         WEITZ & LUXENBERG, PC
RYNG                 JACK M                NY         12802302         WEITZ & LUXENBERG, PC                                SALANGER             KENNETH W             NY         10892504         WEITZ & LUXENBERG, PC
RYNG                 JANINA                NY         12802302         WEITZ & LUXENBERG, PC                                SALATTO              ANTHONY               NY         10636003         WEITZ & LUXENBERG, PC
RYNN                 CATHERINE T           NY         10716802         WEITZ & LUXENBERG, PC                                SALATTO              ANTHONY M             NY         10023203         WEITZ & LUXENBERG, PC
RYNN                 JAMES J               NY         10716802         WEITZ & LUXENBERG, PC                                SALATTO              LILA                  NY         10636003         WEITZ & LUXENBERG, PC
RYNSKY               JOHN                  NY         10514803         WEITZ & LUXENBERG, PC                                SALAZAR              JORGE                 NY         10696302         WEITZ & LUXENBERG, PC
RYNSKY               JOHN C                NY         10073103         WEITZ & LUXENBERG, PC                                SALENSKE             FREDERICK R           NY         12668702         WEITZ & LUXENBERG, PC
RZUCIDLO             MARTHA C              NY         99104170         WEITZ & LUXENBERG, PC                                SALENSKE             FREDERICK R           NY         10460703         WEITZ & LUXENBERG, PC
RZUCIDLO             STANLEY D             NY         99104170         WEITZ & LUXENBERG, PC                                SALERNO              DEBORAH E             NY         10528700         WEITZ & LUXENBERG, PC
SABA                 OLGA                  NY         12377802         WEITZ & LUXENBERG, PC                                SALERNO              JOSEPH RICHARD        NY         10587502         WEITZ & LUXENBERG, PC
SABADASZ             JAMES                 NY         00109782         WEITZ & LUXENBERG, PC                                SALERNO              LOUIS D               NY         10528700         WEITZ & LUXENBERG, PC
SABADASZ             ROBERT S              NY         00109782         WEITZ & LUXENBERG, PC                                SALERNO              MICHAEL               NY         01111230         WEITZ & LUXENBERG, PC
SABAT                EDITH                 NY         1904472018       WEITZ & LUXENBERG, PC                                SALERNO              PATRICIA              NY         10587502         WEITZ & LUXENBERG, PC
SABAT                STEVEN B              NY         1904472018       WEITZ & LUXENBERG, PC                                SALETTA              CALVIN                NY         11123600         WEITZ & LUXENBERG, PC
SABATELLI            ANTHONY               NY         10871001         WEITZ & LUXENBERG, PC                                SALIBA               DIANE H               NY         12577199         WEITZ & LUXENBERG, PC
SABATELLI            GAIL                  NY         10871001         WEITZ & LUXENBERG, PC                                SALIBA               FRANK K               NY         1900582015       WEITZ & LUXENBERG, PC
SABATINI             FRANK                 NY         12668602         WEITZ & LUXENBERG, PC                                SALIBA               MICHAEL               NY         12577199         WEITZ & LUXENBERG, PC
SABATINI             GRACE                 NY         19043310         WEITZ & LUXENBERG, PC                                SALIM                PAUL R                NY         10722002         WEITZ & LUXENBERG, PC
SABATINI             RALPH A               NY         19043310         WEITZ & LUXENBERG, PC                                SALIM                PAUL R                NY         11342602         WEITZ & LUXENBERG, PC
SABLICH              MATTEO                NY         01111229         WEITZ & LUXENBERG, PC                                SALINARDO            JOSEPH J              NY         12163003         WEITZ & LUXENBERG, PC
SACCACCIO            THEODORE              NY         11583100         WEITZ & LUXENBERG, PC                                SALINARI             LOUIS M               NY         1901512019       WEITZ & LUXENBERG, PC
SACCO                CAROL                 NY         01111224         WEITZ & LUXENBERG, PC                                SALINARI             LYNN                  NY         1901512019       WEITZ & LUXENBERG, PC
SACCO                FRANK J               NY         01111224         WEITZ & LUXENBERG, PC                                SALISBURY            ARLENE                NY         11583300         WEITZ & LUXENBERG, PC
SACCO                LOUIS                 NY         12668102         WEITZ & LUXENBERG, PC                                SALISBURY            ARTHUR J              NY         11583300         WEITZ & LUXENBERG, PC
SACCOMONDO           NICK                  NY         11124900         WEITZ & LUXENBERG, PC                                SALISBURY            CHRISTINA             NY         12307600         WEITZ & LUXENBERG, PC
SACCOMONDO           SYLVIA                NY         11124900         WEITZ & LUXENBERG, PC                                SALISBURY            KENNETH               NY         1901622014       WEITZ & LUXENBERG, PC
SACCONE              ANTHONY PETER         NY         10757301         WEITZ & LUXENBERG, PC                                SALISBURY            ROBERT L              NY         12307600         WEITZ & LUXENBERG, PC
SACCONE              MARY                  NY         10757301         WEITZ & LUXENBERG, PC                                SALISKI              ARLENE                NY         11026902         WEITZ & LUXENBERG, PC
SACHS                SEYMOUR               NY         11159303         WEITZ & LUXENBERG, PC                                SALISKI              ROBERT J              NY         11026902         WEITZ & LUXENBERG, PC
SACKMAN              MARY ANN              NY         11306700         WEITZ & LUXENBERG, PC                                SALLEY               ALEXANDER             NY         CV018407         WEITZ & LUXENBERG, PC
SACKS                LEONARD               NY         11159303         WEITZ & LUXENBERG, PC                                SALMON               ROY A                 NY         10485104         WEITZ & LUXENBERG, PC
SACKS                LORRAINE              NY         11159303         WEITZ & LUXENBERG, PC                                SALOMONE             RALPH A               NY         10820408         WEITZ & LUXENBERG, PC
SADA                 JAMES D               NY         11124800         WEITZ & LUXENBERG, PC                                SALOOM               RICHARD N             NY         12039401         WEITZ & LUXENBERG, PC
SADLIS               GEORGE S              NY         1902902019       WEITZ & LUXENBERG, PC                                SALOOM               RICHARD N             NY         10578502         WEITZ & LUXENBERG, PC
SADLIS               SARAH                 NY         1902902019       WEITZ & LUXENBERG, PC                                SALSBERY             EDWARD J              NY         99104237         WEITZ & LUXENBERG, PC
SADLO                GEORGE                NY         11174205         WEITZ & LUXENBERG, PC                                SALSBERY             GENEVIEVE EDNA        NY         99104237         WEITZ & LUXENBERG, PC
SAELI                ANNA                  NY         11159303         WEITZ & LUXENBERG, PC                                SALTER               ANDREW                NY         10722002         WEITZ & LUXENBERG, PC
SAELI                THOMAS                NY         11159303         WEITZ & LUXENBERG, PC                                SALTER               MARIE D               NY         10722002         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1052
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 387 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SALTZER              BONNIE M              NY         12426802         WEITZ & LUXENBERG, PC                                SANDERS              DOROTHY               NY         02113565         WEITZ & LUXENBERG, PC
SALTZER              JOHN R                NY         12426802         WEITZ & LUXENBERG, PC                                SANDERS              ELISABETH             NY         12043001         WEITZ & LUXENBERG, PC
SALVADOR             DOROTHEA              NY         02106580         WEITZ & LUXENBERG, PC                                SANDERS              ELISABETH             NY         10030102         WEITZ & LUXENBERG, PC
SALVADOR             RONALD                NY         02106580         WEITZ & LUXENBERG, PC                                SANDERS              ELIZABETH             NY         12043001         WEITZ & LUXENBERG, PC
SALVAGNO             FRANCESCO             NY         10423699         WEITZ & LUXENBERG, PC                                SANDERS              ELIZABETH             NY         10030102         WEITZ & LUXENBERG, PC
SALVAGNO             LIDIA                 NY         10423699         WEITZ & LUXENBERG, PC                                SANDERS              FRANKIE M             NY         CV012630         WEITZ & LUXENBERG, PC
SALVALZO             JOSEPH A              NY         10722002         WEITZ & LUXENBERG, PC                                SANDERS              LUCIOUS               NY         CV017609         WEITZ & LUXENBERG, PC
SALVALZO             MARCIA                NY         10722002         WEITZ & LUXENBERG, PC                                SANDERS              LURLENE               NY         01CIV3901        WEITZ & LUXENBERG, PC
SALVATO              ANGELO                NY         11294804         WEITZ & LUXENBERG, PC                                SANDERS              PATRICIA              NY         02107099         WEITZ & LUXENBERG, PC
SALVATO              JOSEPHINE             NY         11294804         WEITZ & LUXENBERG, PC                                SANDERS              RAYMOND               NY         CV012630         WEITZ & LUXENBERG, PC
SALVESEN             DAVID B               NY         10423599         WEITZ & LUXENBERG, PC                                SANDFORD             JOSEPH H              NY         02105715         WEITZ & LUXENBERG, PC
SALVESEN             KATHLEEN              NY         10423599         WEITZ & LUXENBERG, PC                                SANDONATO            ANTHONY A             NY         11122900         WEITZ & LUXENBERG, PC
SALVITTI             ELAINE                NY         10414500         WEITZ & LUXENBERG, PC                                SANDONATO            BETTY M               NY         11122900         WEITZ & LUXENBERG, PC
SALVITTI             RAYMOND               NY         10414500         WEITZ & LUXENBERG, PC                                SANDONATO            PATRICIA              NY         8017762019       WEITZ & LUXENBERG, PC
SALZANO              MARGARET              NY         12039101         WEITZ & LUXENBERG, PC                                SANDONATO            RAYMOND               NY         8017762019       WEITZ & LUXENBERG, PC
SALZANO              RALPH                 NY         12039101         WEITZ & LUXENBERG, PC                                SANDRIK              ELEANOR A             NY         12213801         WEITZ & LUXENBERG, PC
SALZARULO            DOLORES               NY         99104234         WEITZ & LUXENBERG, PC                                SANDRIK              ELEANOR A             NY         02113565         WEITZ & LUXENBERG, PC
SALZARULO            PETER M               NY         99104234         WEITZ & LUXENBERG, PC                                SANDRIK              JAN A                 NY         12213801         WEITZ & LUXENBERG, PC
SALZMAN              SAM R                 NY         11123500         WEITZ & LUXENBERG, PC                                SANDRIK              JAN A                 NY         02113565         WEITZ & LUXENBERG, PC
SAMARDAK             WALTER                NY         11123000         WEITZ & LUXENBERG, PC                                SANDS                BARBARA               NY         11122700         WEITZ & LUXENBERG, PC
SAMBATARO            CARL                  NY         11725806         WEITZ & LUXENBERG, PC                                SANDS                MICHAEL D             NY         11122700         WEITZ & LUXENBERG, PC
SAMBATARO            MARGUERITE            NY         11725806         WEITZ & LUXENBERG, PC                                SANDS                SARAH W               NY         1902492012       WEITZ & LUXENBERG, PC
SAMBORA              DOROTHY               NY         11123400         WEITZ & LUXENBERG, PC                                SANDS                WILLIAM               NY         1902492012       WEITZ & LUXENBERG, PC
SAMBORA              RICHARD               NY         11123400         WEITZ & LUXENBERG, PC                                SANDVIK              CARLA                 NY         11122800         WEITZ & LUXENBERG, PC
SAMBORA              RICHARD S             NY         10716702         WEITZ & LUXENBERG, PC                                SANDVIK              PER                   NY         11122800         WEITZ & LUXENBERG, PC
SAMBORSKI            LEONA                 NY         11123300         WEITZ & LUXENBERG, PC                                SANETICK             JAMES R               NY         10414400         WEITZ & LUXENBERG, PC
SAMBORSKI            THADDEUS              NY         11123300         WEITZ & LUXENBERG, PC                                SANETICK             ROSEMARY              NY         10414400         WEITZ & LUXENBERG, PC
SAMBURSKY            SHEILA                NY         1901942019       WEITZ & LUXENBERG, PC                                SANEY                CARLTON               NY         11580900         WEITZ & LUXENBERG, PC
SAMIDA               JOHN E                NY         10049305         WEITZ & LUXENBERG, PC                                SANEY                ENID                  NY         11580900         WEITZ & LUXENBERG, PC
SAMIDA               ROSANNE               NY         10049305         WEITZ & LUXENBERG, PC                                SANEY                GRETA                 NY         11580900         WEITZ & LUXENBERG, PC
SAMIDE               OLIVIA                NY         12039101         WEITZ & LUXENBERG, PC                                SANFORD              CARL L                NY         01CIV7364        WEITZ & LUXENBERG, PC
SAMIDE               OLIVIA                NY         10427402         WEITZ & LUXENBERG, PC                                SANFORD              CHARLES T             NY         10405899         WEITZ & LUXENBERG, PC
SAMIDE               RICHARD               NY         12039101         WEITZ & LUXENBERG, PC                                SANFORD              EVELYN                NY         01CIV7364        WEITZ & LUXENBERG, PC
SAMIDE               RICHARD               NY         10427402         WEITZ & LUXENBERG, PC                                SANFORD              GEORGE W              NY         02105718         WEITZ & LUXENBERG, PC
SAMMARCO             ANDREW                NY         10008703         WEITZ & LUXENBERG, PC                                SANFORD              GEORGE W              NY         11227302         WEITZ & LUXENBERG, PC
SAMMARCO             ROSE                  NY         10008703         WEITZ & LUXENBERG, PC                                SANFORD              JERRELDINE            NY         I20068628        WEITZ & LUXENBERG, PC
SAMONA               PATRICIA              NY         0306842018       WEITZ & LUXENBERG, PC                                SANFORD              JOSEPHINE             NY         10405899         WEITZ & LUXENBERG, PC
SAMONA               ROBERT F              NY         0306842018       WEITZ & LUXENBERG, PC                                SANFORD              WILLIE                NY         02105718         WEITZ & LUXENBERG, PC
SAMOWITZ             GERTRUDE              NY         11123200         WEITZ & LUXENBERG, PC                                SANFORD              WILLIE                NY         11227302         WEITZ & LUXENBERG, PC
SAMOWITZ             PAUL                  NY         11123200         WEITZ & LUXENBERG, PC                                SANFRATELLO          JOHN V                NY         12241301         WEITZ & LUXENBERG, PC
SAMPIERI             SAMUEL P              NY         11123100         WEITZ & LUXENBERG, PC                                SANFRATELLO          JOHN V                NY         01111226         WEITZ & LUXENBERG, PC
SAMPLE               GREGORY               NY         12005198         WEITZ & LUXENBERG, PC                                SANGIOVANNI          DANIEL                NY         12125303         WEITZ & LUXENBERG, PC
SAMSON               JOHN B                NY         12089500         WEITZ & LUXENBERG, PC                                SANGIOVANNI          NANCY                 NY         12125303         WEITZ & LUXENBERG, PC
SAMSON               SHARON LEE            NY         12089500         WEITZ & LUXENBERG, PC                                SANKEY               CATHERINE             NY         10406099         WEITZ & LUXENBERG, PC
SAMUEL               CAROLYN               NY         12038901         WEITZ & LUXENBERG, PC                                SANKEY               JERRY L               NY         10406099         WEITZ & LUXENBERG, PC
SAMUEL               GEORGE                NY         12038901         WEITZ & LUXENBERG, PC                                SANSERVERINO         ANTHONY               NY         12668102         WEITZ & LUXENBERG, PC
SAMUELS              EDNA F                NY         10035102         WEITZ & LUXENBERG, PC                                SANSERVERINO         ELAINE                NY         12668102         WEITZ & LUXENBERG, PC
SAMUELS              HAROLD                NY         12100401         WEITZ & LUXENBERG, PC                                SANSEVERINO          JAN                   NY         10414300         WEITZ & LUXENBERG, PC
SAMUELS              HAROLD                NY         10602602         WEITZ & LUXENBERG, PC                                SANSEVERINO          SALVATORE             NY         10414300         WEITZ & LUXENBERG, PC
SAMUELS              KATHLEEN              NY         12222001         WEITZ & LUXENBERG, PC                                SANSKY               ADRIANA               NY         10535301         WEITZ & LUXENBERG, PC
SAMUELS              MARY                  NY         12100401         WEITZ & LUXENBERG, PC                                SANSKY               CHARLES               NY         10535301         WEITZ & LUXENBERG, PC
SAMUELS              MARY                  NY         10602602         WEITZ & LUXENBERG, PC                                SANSONE              DIANE                 NY         10871001         WEITZ & LUXENBERG, PC
SAMUELS              PAUL E                NY         10035102         WEITZ & LUXENBERG, PC                                SANSONE              THOMAS P              NY         10871001         WEITZ & LUXENBERG, PC
SAMUELS              RONALD                NY         12222001         WEITZ & LUXENBERG, PC                                SANTA BARBARA        PAUL J                NY         631701           WEITZ & LUXENBERG, PC
SAMUELS              RUTH F                NY         10035102         WEITZ & LUXENBERG, PC                                SANTACROCE           ELIZABETH             NY         11122600         WEITZ & LUXENBERG, PC
SANBORN              DONNA                 NY         02106692         WEITZ & LUXENBERG, PC                                SANTACROCE           FRANK                 NY         11122600         WEITZ & LUXENBERG, PC
SANBORN              RONALD GEORGE         NY         02106692         WEITZ & LUXENBERG, PC                                SANTAMARIA           KATHLEEN              NY         10414200         WEITZ & LUXENBERG, PC
SANCHEZ              JOSE VALENTIN         NY         01111227         WEITZ & LUXENBERG, PC                                SANTAMARIA           SALVATORE J           NY         10414200         WEITZ & LUXENBERG, PC
SANCHEZ              ROBERTO               NY         1902562019       WEITZ & LUXENBERG, PC                                SANTAMARINA          ANNA                  NY         10408699         WEITZ & LUXENBERG, PC
SANCHEZ REGINO       MARIA M               PA         190900377        WEITZ & LUXENBERG, PC                                SANTAMARINA          SALVATORE             NY         10408699         WEITZ & LUXENBERG, PC
SANDBERG             WALTER A              NY         01111228         WEITZ & LUXENBERG, PC                                SANTAMOOR            EVA M                 NY         02117543         WEITZ & LUXENBERG, PC
SANDE                JOFEFA                NY         1901052016       WEITZ & LUXENBERG, PC                                SANTAMOOR            WALTER E              NY         02117543         WEITZ & LUXENBERG, PC
SANDE                JUAN JOSE             NY         1901052016       WEITZ & LUXENBERG, PC                                SANTERSERO           AMELIA                NY         12788602         WEITZ & LUXENBERG, PC
SANDERS              ARNOLD                NY         12043001         WEITZ & LUXENBERG, PC                                SANTERSERO           MICHAEL               NY         12788602         WEITZ & LUXENBERG, PC
SANDERS              ARNOLD                NY         10030102         WEITZ & LUXENBERG, PC                                SANTIAGO             ANGEL L               NY         12039001         WEITZ & LUXENBERG, PC
SANDERS              CATHERINE             NY         01CIV3901        WEITZ & LUXENBERG, PC                                SANTIAGO             CARMEN                NY         11164503         WEITZ & LUXENBERG, PC
SANDERS              CHARLES HENRY         NY         01CIV3901        WEITZ & LUXENBERG, PC                                SANTIAGO             ESTHER                NY         1900502014       WEITZ & LUXENBERG, PC
SANDERS              CHARLES J             NY         12433902         WEITZ & LUXENBERG, PC                                SANTIAGO             JOSEPHINE             NY         11113000         WEITZ & LUXENBERG, PC
SANDERS              CHESTER               NY         01CIV3901        WEITZ & LUXENBERG, PC                                SANTIAGO             LUIS                  NY         11164503         WEITZ & LUXENBERG, PC
SANDERS              DONALD C              NY         02107099         WEITZ & LUXENBERG, PC                                SANTIAGO             LUIS R                NY         11122500         WEITZ & LUXENBERG, PC
SANDERS              DONALD E              NY         02113565         WEITZ & LUXENBERG, PC                                SANTIAGO             MARGARET              NY         12039001         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1053
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 388 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SANTIAGO             RAYMOND               NY         11113000         WEITZ & LUXENBERG, PC                                SASIADEK             JEROME                NY         10409299         WEITZ & LUXENBERG, PC
SANTILLO             WILLIAM J             NY         01111219         WEITZ & LUXENBERG, PC                                SASIADEK             JOSEPH N              NY         10696001         WEITZ & LUXENBERG, PC
SANTORA              ANGELINA M            NY         10414100         WEITZ & LUXENBERG, PC                                SASIADEK             JOSEPH N              NY         11937900         WEITZ & LUXENBERG, PC
SANTORA              JOSEPH F              NY         10414100         WEITZ & LUXENBERG, PC                                SASKIN               ARNOLD J              NY         1904002015       WEITZ & LUXENBERG, PC
SANTORE              MARION                NY         10571402         WEITZ & LUXENBERG, PC                                SASKIN               ESTELLE               NY         1904002015       WEITZ & LUXENBERG, PC
SANTORE              MARION                NY         11182902         WEITZ & LUXENBERG, PC                                SASSO                ANGELO J              NY         10414000         WEITZ & LUXENBERG, PC
SANTORE              MICHAEL P             NY         10571402         WEITZ & LUXENBERG, PC                                SASSO                MICHAEL               NY         10414000         WEITZ & LUXENBERG, PC
SANTORE              MICHAEL P             NY         11182902         WEITZ & LUXENBERG, PC                                SATALINO             JOSEPH                NY         10696101         WEITZ & LUXENBERG, PC
SANTORELLI           DUILIO                NY         02120617         WEITZ & LUXENBERG, PC                                SATALINO             JOSEPH                NY         11937900         WEITZ & LUXENBERG, PC
SANTORELLO           ANNE                  NY         11159403         WEITZ & LUXENBERG, PC                                SATALINO             VIRGINIA              NY         10696101         WEITZ & LUXENBERG, PC
SANTORELLO           BENJAMIN              NY         11159403         WEITZ & LUXENBERG, PC                                SATALINO             VIRGINIA              NY         11937900         WEITZ & LUXENBERG, PC
SANTORO              ANGELO                NY         530062015        WEITZ & LUXENBERG, PC                                SATTAR               AZIZA                 NY         1900682017       WEITZ & LUXENBERG, PC
SANTOS               ARNOLD P              NY         1901532017       WEITZ & LUXENBERG, PC                                SATTAR               MOHAMMAD K            NY         1900682017       WEITZ & LUXENBERG, PC
SANTOS               DIANA                 NY         1901532017       WEITZ & LUXENBERG, PC                                SATTERLEE            ELTON ELLSWORTH       NY         10407099         WEITZ & LUXENBERG, PC
SANTOVITO            RALPH                 NY         10073103         WEITZ & LUXENBERG, PC                                SATTLER              BETTY                 NY         10587102         WEITZ & LUXENBERG, PC
SANTUCCI             ELAINE                NY         11112900         WEITZ & LUXENBERG, PC                                SATTLER              EDWARD W              NY         10587102         WEITZ & LUXENBERG, PC
SANTUCCI             ELAINE                NY         01108347         WEITZ & LUXENBERG, PC                                SATTLER              SHARON                NY         10699902         WEITZ & LUXENBERG, PC
SANTUCCI             FRANK                 NY         11112900         WEITZ & LUXENBERG, PC                                SATTLER              STEPHEN E             NY         10699902         WEITZ & LUXENBERG, PC
SANTUCCI             FRED S                NY         01108347         WEITZ & LUXENBERG, PC                                SAUBERAN             JOHN E                NY         1901982019       WEITZ & LUXENBERG, PC
SANTUZ               JENNIE LIOTTA         NY         10571702         WEITZ & LUXENBERG, PC                                SAUBERAN             SUZANNE ETHEL         NY         1901982019       WEITZ & LUXENBERG, PC
SANTUZ               MARIO                 NY         10571702         WEITZ & LUXENBERG, PC                                SAUERBIER            DORIS                 NY         11112100         WEITZ & LUXENBERG, PC
SANZO                BARBARA               NY         11112800         WEITZ & LUXENBERG, PC                                SAUERBIER            EDWARD A              NY         11112100         WEITZ & LUXENBERG, PC
SANZO                JOSEPH D              NY         11112800         WEITZ & LUXENBERG, PC                                SAULS                JOAN                  NY         12043301         WEITZ & LUXENBERG, PC
SARA                 EDWARD                NY         12089900         WEITZ & LUXENBERG, PC                                SAULS                JOSEPH W              NY         12043301         WEITZ & LUXENBERG, PC
SARA                 MARGARET M            NY         12089900         WEITZ & LUXENBERG, PC                                SAUMIER              ANN                   NY         12433902         WEITZ & LUXENBERG, PC
SARABELLA            DOMINICK              NY         12110001         WEITZ & LUXENBERG, PC                                SAUMIER              ANN                   NY         10197203         WEITZ & LUXENBERG, PC
SARABELLA            MILDRED               NY         12110001         WEITZ & LUXENBERG, PC                                SAUMIER              GARY W                NY         02106692         WEITZ & LUXENBERG, PC
SARACENA             CANIO J               NY         12433902         WEITZ & LUXENBERG, PC                                SAUMIER              GERALD R              NY         10587102         WEITZ & LUXENBERG, PC
SARACENA             MABEL T               NY         12433902         WEITZ & LUXENBERG, PC                                SAUMIER              WANDA                 NY         10587102         WEITZ & LUXENBERG, PC
SARACENO             DOMINICK              NY         99104088         WEITZ & LUXENBERG, PC                                SAUMIER              WILLIAM H             NY         12433902         WEITZ & LUXENBERG, PC
SARACENO             DOROTHY               NY         10408999         WEITZ & LUXENBERG, PC                                SAUMIER              WILLIAM H             NY         10197203         WEITZ & LUXENBERG, PC
SARACENO             FRANCES               NY         99104088         WEITZ & LUXENBERG, PC                                SAUNDERS             ANN CHRISTINE         NY         11581200         WEITZ & LUXENBERG, PC
SARACENO             FRANK                 NY         10408999         WEITZ & LUXENBERG, PC                                SAUNDERS             BETTY D               NY         11548107         WEITZ & LUXENBERG, PC
SARACINA             FRANK J               NY         11112700         WEITZ & LUXENBERG, PC                                SAUNDERS             DONALD                NY         11581200         WEITZ & LUXENBERG, PC
SARACINA             HELEN                 NY         11112600         WEITZ & LUXENBERG, PC                                SAUNDERS             LAURENCE              NY         10039603         WEITZ & LUXENBERG, PC
SARACINA             JOHN                  NY         11112600         WEITZ & LUXENBERG, PC                                SAUNDERS             VICTORIA              NY         12038901         WEITZ & LUXENBERG, PC
SARAGO               FRANK A               NY         11581000         WEITZ & LUXENBERG, PC                                SAUNDERS             VICTORIA              NY         10001602         WEITZ & LUXENBERG, PC
SARAGO               IRENE                 NY         11581000         WEITZ & LUXENBERG, PC                                SAUNDERS             WILLIAM R             NY         11548107         WEITZ & LUXENBERG, PC
SARAMA               EDWARD L              NY         I200110166       WEITZ & LUXENBERG, PC                                SAUNIER              SANDRA K              NY         10742300         WEITZ & LUXENBERG, PC
SARAMA               THERESA               NY         I200110166       WEITZ & LUXENBERG, PC                                SAUR                 ARTHUR R              NY         1903342012       WEITZ & LUXENBERG, PC
SARCONE              FARNK                 NY         01111225         WEITZ & LUXENBERG, PC                                SAUR                 MINNA                 NY         1903342012       WEITZ & LUXENBERG, PC
SARCONE              VERONIKA              NY         01111225         WEITZ & LUXENBERG, PC                                SAVAGE               DONA M                NY         02105713         WEITZ & LUXENBERG, PC
SARDELLA             ANNE M                NY         02106694         WEITZ & LUXENBERG, PC                                SAVAGE               DONA M                NY         11256202         WEITZ & LUXENBERG, PC
SARDELLA             ANTHONY               NY         02106694         WEITZ & LUXENBERG, PC                                SAVAGE               DOUGLAS J             NY         02105713         WEITZ & LUXENBERG, PC
SARDINA              CHARLOTTE             NY         02106578         WEITZ & LUXENBERG, PC                                SAVAGE               DOUGLAS J             NY         11256202         WEITZ & LUXENBERG, PC
SARDINA              JOSEPH C              NY         02106578         WEITZ & LUXENBERG, PC                                SAVAGE               ERIN R                NY         1900802018       WEITZ & LUXENBERG, PC
SARDO                FRANK J               NY         I20015132        WEITZ & LUXENBERG, PC                                SAVAGE               JUDY C                NY         11112200         WEITZ & LUXENBERG, PC
SARDO                THERESA               NY         I20015132        WEITZ & LUXENBERG, PC                                SAVAGE               RICHARD               NY         11112200         WEITZ & LUXENBERG, PC
SARDONE              JOSEPH P              NY         10065208         WEITZ & LUXENBERG, PC                                SAVAGE               RONALD LEE            NY         02106693         WEITZ & LUXENBERG, PC
SARGEANT             SHARON                NY         12129400         WEITZ & LUXENBERG, PC                                SAVINETTI            JOHN B                NY         12668602         WEITZ & LUXENBERG, PC
SARKIES              DONNA                 NY         12668102         WEITZ & LUXENBERG, PC                                SAVINO               DANIEL R              NY         20012295         WEITZ & LUXENBERG, PC
SARKIES              RICHARD               NY         12668102         WEITZ & LUXENBERG, PC                                SAVINO               FRANK                 NY         10614701         WEITZ & LUXENBERG, PC
SARLO                MARION P              NY         10232607         WEITZ & LUXENBERG, PC                                SAVINO               JOANN C               NY         20012295         WEITZ & LUXENBERG, PC
SARLO                VINCENT J             NY         10232607         WEITZ & LUXENBERG, PC                                SAVIOLA              RALPH                 NY         10571702         WEITZ & LUXENBERG, PC
SARNA                CHESTER J             NY         10587102         WEITZ & LUXENBERG, PC                                SAVOCA               NICHOLAS              NY         1040699          WEITZ & LUXENBERG, PC
SARNA                ROSE J                NY         10587102         WEITZ & LUXENBERG, PC                                SAVOCA               SALLY                 NY         1040699          WEITZ & LUXENBERG, PC
SARNICOLA            JOAN                  NY         01122139         WEITZ & LUXENBERG, PC                                SAVOURAS             BRIDGET               NY         10220108         WEITZ & LUXENBERG, PC
SARNICOLA            VINCENT               NY         01122139         WEITZ & LUXENBERG, PC                                SAVOURAS             LOUIS                 NY         10220108         WEITZ & LUXENBERG, PC
SARNO                CARMINE               NY         01111222         WEITZ & LUXENBERG, PC                                SAWATIS              NELSON P              NY         12788702         WEITZ & LUXENBERG, PC
SARNO                ROSALIE               NY         01111222         WEITZ & LUXENBERG, PC                                SAWICKI              ROBERT PAUL           NY         10696301         WEITZ & LUXENBERG, PC
SARNOWICZ            JAMES                 NY         11937900         WEITZ & LUXENBERG, PC                                SAWICKI              ROBERT PAUL           NY         11937900         WEITZ & LUXENBERG, PC
SARNOWICZ            LINDA                 NY         11937900         WEITZ & LUXENBERG, PC                                SAWULA               BRIDGET               NY         11112000         WEITZ & LUXENBERG, PC
SAROTE               BEATRICE              NY         10998702         WEITZ & LUXENBERG, PC                                SAWULA               JOHN W                NY         11112000         WEITZ & LUXENBERG, PC
SAROTE               BENJAMIN              NY         10998702         WEITZ & LUXENBERG, PC                                SAWYER               LYNN                  NY         CV02412          WEITZ & LUXENBERG, PC
SARRACCO             MICHAEL               NY         12043101         WEITZ & LUXENBERG, PC                                SAWYER               MAX DEMPSEY           NY         10700002         WEITZ & LUXENBERG, PC
SARRACCO             PAULA                 NY         12043101         WEITZ & LUXENBERG, PC                                SAWYER               RAYMOND G             NY         CV02412          WEITZ & LUXENBERG, PC
SARRO                EDWARD L              NY         11112300         WEITZ & LUXENBERG, PC                                SAXBY                DAVID A               NY         11026702         WEITZ & LUXENBERG, PC
SARRO                JAMES M               NY         11112300         WEITZ & LUXENBERG, PC                                SAXMAN               JOHN C                NY         11521703         WEITZ & LUXENBERG, PC
SARRO                KATHERINE K           NY         11112300         WEITZ & LUXENBERG, PC                                SAXMAN               LOIS                  NY         11521703         WEITZ & LUXENBERG, PC
SASIADEK             BARBARA               NY         10696001         WEITZ & LUXENBERG, PC                                SAXON                JANET                 NY         11521903         WEITZ & LUXENBERG, PC
SASIADEK             BARBARA               NY         11937900         WEITZ & LUXENBERG, PC                                SAXON                JOHN E                NY         11521903         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1054
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 389 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SAYER                DONALD H              NY         10421099         WEITZ & LUXENBERG, PC                                SCARPETTA            MARY                  NY         01122139         WEITZ & LUXENBERG, PC
SAYER                FAY                   NY         11356702         WEITZ & LUXENBERG, PC                                SCARPULLA            ANDREW                NY         10030606         WEITZ & LUXENBERG, PC
SAYER                FAY                   NY         12731102         WEITZ & LUXENBERG, PC                                SCEE                 TIMOTHY               NY         10644303         WEITZ & LUXENBERG, PC
SAYER                JANICE K              NY         10421099         WEITZ & LUXENBERG, PC                                SCEE                 WILLIAM R             NY         10644303         WEITZ & LUXENBERG, PC
SAYERS               BETTY                 NY         10710102         WEITZ & LUXENBERG, PC                                SCELZI               DOMINICK              NY         12038801         WEITZ & LUXENBERG, PC
SAYERS               DAVID T               NY         10710102         WEITZ & LUXENBERG, PC                                SCELZI               DOMINICK              NY         10627902         WEITZ & LUXENBERG, PC
SAYLOR               DONALD V              NY         02107006         WEITZ & LUXENBERG, PC                                SCELZI               DOMINICK JR           NY         12038801         WEITZ & LUXENBERG, PC
SAYRE                MICHAEL D             NY         1902192017       WEITZ & LUXENBERG, PC                                SCELZI               DOMINICK JR           NY         10627902         WEITZ & LUXENBERG, PC
SAYRE                PAULA                 NY         1902192017       WEITZ & LUXENBERG, PC                                SCELZO               ALEXANDRA             NY         10085503         WEITZ & LUXENBERG, PC
SBOTO                PATRICIA M            NY         12038901         WEITZ & LUXENBERG, PC                                SCELZO               GERALD                NY         10085503         WEITZ & LUXENBERG, PC
SBOTO                SALVATORE J           NY         12038901         WEITZ & LUXENBERG, PC                                SCERBO               FLAVIA                NY         99104240         WEITZ & LUXENBERG, PC
SCACCIA              CANDIS                NY         11111900         WEITZ & LUXENBERG, PC                                SCERBO               JOSEPH                NY         99104240         WEITZ & LUXENBERG, PC
SCACCIA              JAMES F               NY         11111900         WEITZ & LUXENBERG, PC                                SCHAAF               FRANCIS               NY         10696501         WEITZ & LUXENBERG, PC
SCAFFIDI             ARLINE                NY         11581300         WEITZ & LUXENBERG, PC                                SCHAAF               FRANCIS               NY         11937900         WEITZ & LUXENBERG, PC
SCAFFIDI             RUSSELL C             NY         11581300         WEITZ & LUXENBERG, PC                                SCHAAL               CAROL                 NY         1900032019       WEITZ & LUXENBERG, PC
SCAGLIONE            MARY                  NY         10571402         WEITZ & LUXENBERG, PC                                SCHAAL               KENNETH I             NY         1900032019       WEITZ & LUXENBERG, PC
SCAGLIONE            VINCENT A             NY         10571402         WEITZ & LUXENBERG, PC                                SCHAEFER             DOUGLAS R             NY         12043201         WEITZ & LUXENBERG, PC
SCAIFE               MARTHA                NY         01CIV3901        WEITZ & LUXENBERG, PC                                SCHAEFER             EDWARD J              NY         12345801         WEITZ & LUXENBERG, PC
SCAIFE               WALLACE RUSSELL       NY         01CIV3901        WEITZ & LUXENBERG, PC                                SCHAEFER             EDWARD J              NY         01111227         WEITZ & LUXENBERG, PC
SCALA                CHRISTINA             NY         1901772013       WEITZ & LUXENBERG, PC                                SCHAEFER             EDWARD T              NY         1901512015       WEITZ & LUXENBERG, PC
SCALA                FRANK                 NY         1901772013       WEITZ & LUXENBERG, PC                                SCHAEFER             HELEN                 NY         12043201         WEITZ & LUXENBERG, PC
SCALA                JOSEPHINE             NY         11026902         WEITZ & LUXENBERG, PC                                SCHAEFER             JAMES MICHAEL         NY         12448902         WEITZ & LUXENBERG, PC
SCALA                RITA                  NY         11111800         WEITZ & LUXENBERG, PC                                SCHAEFER             JANICE                NY         12448902         WEITZ & LUXENBERG, PC
SCALA                RUDOLPH               NY         1901022016       WEITZ & LUXENBERG, PC                                SCHAEFER             MARGARET              NY         12076201         WEITZ & LUXENBERG, PC
SCALA                RUDOLPH               NY         11026902         WEITZ & LUXENBERG, PC                                SCHAEFER             PEGGY                 NY         99104231         WEITZ & LUXENBERG, PC
SCALA                VINCENT               NY         11111800         WEITZ & LUXENBERG, PC                                SCHAEFER             ROBERT                NY         12076201         WEITZ & LUXENBERG, PC
SCALAMANDRE          ANITA                 NY         12039101         WEITZ & LUXENBERG, PC                                SCHAEFER             ROBERT                NY         01111223         WEITZ & LUXENBERG, PC
SCALAMANDRE          JOHN                  NY         12039101         WEITZ & LUXENBERG, PC                                SCHAEFER             ROBERT E              NY         19033909         WEITZ & LUXENBERG, PC
SCALERO              JOHN J                NY         10075604         WEITZ & LUXENBERG, PC                                SCHAEFER             ROBERT T              NY         99104231         WEITZ & LUXENBERG, PC
SCALERO              MARY M                NY         10075604         WEITZ & LUXENBERG, PC                                SCHAEFER             SHIRLEY               NY         19033909         WEITZ & LUXENBERG, PC
SCALES               MARTHA                NY         01CIV3922        WEITZ & LUXENBERG, PC                                SCHAFER              ANGELICA              NY         12345801         WEITZ & LUXENBERG, PC
SCALES               OTHEL                 NY         01CIV3922        WEITZ & LUXENBERG, PC                                SCHAFER              ANGELICA              NY         01111227         WEITZ & LUXENBERG, PC
SCALES               SHIRLEY A             NY         01CIV3895        WEITZ & LUXENBERG, PC                                SCHAFER              CARL G                NY         10696601         WEITZ & LUXENBERG, PC
SCALFARO             WILLIAM RICHARD       NY         1900872017       WEITZ & LUXENBERG, PC                                SCHAFER              CARL G                NY         11937900         WEITZ & LUXENBERG, PC
SCALIA               DOROTHY               NY         11111700         WEITZ & LUXENBERG, PC                                SCHAFER              FLORENCE              NY         10696601         WEITZ & LUXENBERG, PC
SCALIA               VINCENT J             NY         11111700         WEITZ & LUXENBERG, PC                                SCHAFER              FLORENCE              NY         11937900         WEITZ & LUXENBERG, PC
SCALICI              ANGELA                NY         11111600         WEITZ & LUXENBERG, PC                                SCHAFFER             ANDREW                NY         10696701         WEITZ & LUXENBERG, PC
SCALICI              NICOLA                NY         11111600         WEITZ & LUXENBERG, PC                                SCHAFFER             ANDREW                NY         11937900         WEITZ & LUXENBERG, PC
SCALICI              ROSARIO               NY         11111600         WEITZ & LUXENBERG, PC                                SCHAFFER             CAROL                 NY         11124500         WEITZ & LUXENBERG, PC
SCALZO               DOROTHY               NY         10658102         WEITZ & LUXENBERG, PC                                SCHAFFER             JOHN F                NY         11124500         WEITZ & LUXENBERG, PC
SCALZO               RICHARD               NY         10658102         WEITZ & LUXENBERG, PC                                SCHAFFER             PATRICIA              NY         10696701         WEITZ & LUXENBERG, PC
SCAMARDELLA          BARBARA A             NY         12039501         WEITZ & LUXENBERG, PC                                SCHAFFER             PATRICIA              NY         11937900         WEITZ & LUXENBERG, PC
SCAMARDELLA          BARBARA A             NY         10956602         WEITZ & LUXENBERG, PC                                SCHAFFROTH           CHARLES C             NY         12043201         WEITZ & LUXENBERG, PC
SCAMARDELLA          DOMINIC J             NY         12039501         WEITZ & LUXENBERG, PC                                SCHAFFROTH           GRACE                 NY         12043201         WEITZ & LUXENBERG, PC
SCAMARDELLA          DOMINIC J             NY         10956602         WEITZ & LUXENBERG, PC                                SCHANKIN             ELAINE C              NY         12009799         WEITZ & LUXENBERG, PC
SCAMPAS              ANNA                  NY         10066005         WEITZ & LUXENBERG, PC                                SCHANKIN             ROY F                 NY         12009799         WEITZ & LUXENBERG, PC
SCAMPAS              PHILIP G              NY         10066005         WEITZ & LUXENBERG, PC                                SCHAPIRO             ROBERT                NY         6058142016       WEITZ & LUXENBERG, PC
SCANDARIATO          GIUSEPPE              NY         10696401         WEITZ & LUXENBERG, PC                                SCHARPOU             EDWARD H              NY         10423999         WEITZ & LUXENBERG, PC
SCANDARIATO          GIUSEPPE              NY         11937900         WEITZ & LUXENBERG, PC                                SCHARPOU             IRENE                 NY         10423999         WEITZ & LUXENBERG, PC
SCANLON              KENNETH S             NY         1900702014       WEITZ & LUXENBERG, PC                                SCHAUMLOFFEL         DIANE                 NY         12043101         WEITZ & LUXENBERG, PC
SCANLON              WAYNE L               NY         10670402         WEITZ & LUXENBERG, PC                                SCHAUMLOFFEL         WILLIAM H             NY         12043101         WEITZ & LUXENBERG, PC
SCANZANO             ENRICO                NY         11111500         WEITZ & LUXENBERG, PC                                SCHEBLEIN            ANDREW                NY         11124400         WEITZ & LUXENBERG, PC
SCANZANO             MADELINE              NY         11111500         WEITZ & LUXENBERG, PC                                SCHEBLEIN            VIOLA                 NY         11124400         WEITZ & LUXENBERG, PC
SCARAMUZZINO         NICOLA                NY         10413900         WEITZ & LUXENBERG, PC                                SCHECKENBURG         CATHERINE             NY         02106578         WEITZ & LUXENBERG, PC
SCARAMUZZINO         ROSA                  NY         10413900         WEITZ & LUXENBERG, PC                                SCHECKENBURG         CHARLES               NY         02106578         WEITZ & LUXENBERG, PC
SCARANGELLA          ANNE RUTH             NY         12039101         WEITZ & LUXENBERG, PC                                SCHECKENBURG         KATHY                 NY         02106578         WEITZ & LUXENBERG, PC
SCARANGELLA          ANNE RUTH             NY         10427202         WEITZ & LUXENBERG, PC                                SCHEE                GEORGIA M             NY         01CIV3901        WEITZ & LUXENBERG, PC
SCARANGELLA          WILLIAM               NY         12039101         WEITZ & LUXENBERG, PC                                SCHEER               KEVIN                 NY         10571702         WEITZ & LUXENBERG, PC
SCARANGELLA          WILLIAM               NY         10427202         WEITZ & LUXENBERG, PC                                SCHEER               KEVIN                 NY         11150402         WEITZ & LUXENBERG, PC
SCARCELLA            DOMENICK              NY         1903762015       WEITZ & LUXENBERG, PC                                SCHEER               KEVIN T               NY         10571702         WEITZ & LUXENBERG, PC
SCARCELLA            GARY                  NY         1903762015       WEITZ & LUXENBERG, PC                                SCHEER               KEVIN T               NY         11150402         WEITZ & LUXENBERG, PC
SCARCHILLI           MICHAEL A             NY         02106508         WEITZ & LUXENBERG, PC                                SCHEG                HAROLD GEORGE         NY         12668502         WEITZ & LUXENBERG, PC
SCARCHILLI           MICHAEL A             NY         11077202         WEITZ & LUXENBERG, PC                                SCHEIRER             JOHN C                NY         10696801         WEITZ & LUXENBERG, PC
SCARDILLI            MARLA                 NY         02106508         WEITZ & LUXENBERG, PC                                SCHEIRER             JOHN C                NY         11937900         WEITZ & LUXENBERG, PC
SCARDILLI            MARLA                 NY         11077202         WEITZ & LUXENBERG, PC                                SCHELL               DIANE                 NY         02122686         WEITZ & LUXENBERG, PC
SCAROLA              MARGARET              NY         10811003         WEITZ & LUXENBERG, PC                                SCHELL               HENRY E               NY         02122686         WEITZ & LUXENBERG, PC
SCAROLA              VITO                  NY         10811003         WEITZ & LUXENBERG, PC                                SCHELL               MARY                  NY         10696901         WEITZ & LUXENBERG, PC
SCAROZZA             ANTHONY V             NY         02107004         WEITZ & LUXENBERG, PC                                SCHELL               MARY                  NY         11937900         WEITZ & LUXENBERG, PC
SCAROZZA             CAROLINE              NY         02107004         WEITZ & LUXENBERG, PC                                SCHELL               WILLIAM R             NY         10696901         WEITZ & LUXENBERG, PC
SCARPACE             JOSEPH L              NY         10571702         WEITZ & LUXENBERG, PC                                SCHELL               WILLIAM R             NY         11937900         WEITZ & LUXENBERG, PC
SCARPETTA            CHARLES               NY         01122139         WEITZ & LUXENBERG, PC                                SCHEMBARY            JAMES A               NY         CV025871         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1055
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 390 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SCHEMBARY            MARY                  NY         CV025871         WEITZ & LUXENBERG, PC                                SCHILLE              MAGNE                 NY         12668202         WEITZ & LUXENBERG, PC
SCHEMBRI             CAROLYN N             NY         11307298         WEITZ & LUXENBERG, PC                                SCHINSING            MELEN                 NY         10670802         WEITZ & LUXENBERG, PC
SCHEMBRI             CHARLES               NY         11307298         WEITZ & LUXENBERG, PC                                SCHINSING            VINCENT               NY         10670802         WEITZ & LUXENBERG, PC
SCHEMBRI             MARY ANN              NY         11079903         WEITZ & LUXENBERG, PC                                SCHION               JEAN                  NY         CV012744         WEITZ & LUXENBERG, PC
SCHEMBRI             RAYMOND               NY         11079903         WEITZ & LUXENBERG, PC                                SCHION               WARREN KEITH          NY         CV012744         WEITZ & LUXENBERG, PC
SCHENCK              AMELIA                NY         12668102         WEITZ & LUXENBERG, PC                                SCHIRALDI            FRANK                 NY         11124000         WEITZ & LUXENBERG, PC
SCHENCK              TRAVIS                NY         12668102         WEITZ & LUXENBERG, PC                                SCHIRALDI            JEANETTE M            NY         11124000         WEITZ & LUXENBERG, PC
SCHENK               THERESA               NY         02107099         WEITZ & LUXENBERG, PC                                SCHIRMER             ANTHONY               NY         10716802         WEITZ & LUXENBERG, PC
SCHENK               THERESA               NY         11761202         WEITZ & LUXENBERG, PC                                SCHIRMER             GEORGIANA             NY         11123900         WEITZ & LUXENBERG, PC
SCHENK               WALTER                NY         02107099         WEITZ & LUXENBERG, PC                                SCHIRMER             WENDY                 NY         10716802         WEITZ & LUXENBERG, PC
SCHENK               WALTER                NY         11761202         WEITZ & LUXENBERG, PC                                SCHIRMER             WILLIAM               NY         11123900         WEITZ & LUXENBERG, PC
SCHENKER             SEYMOUR               NY         10423299         WEITZ & LUXENBERG, PC                                SCHISKE              DONALD                NY         11123800         WEITZ & LUXENBERG, PC
SCHENKER             SHIELA                NY         10423299         WEITZ & LUXENBERG, PC                                SCHIULAZ             ALBERT                NY         11581500         WEITZ & LUXENBERG, PC
SCHER                PHILIP                NY         1900952016       WEITZ & LUXENBERG, PC                                SCHIULAZ             EILEEN                NY         11581500         WEITZ & LUXENBERG, PC
SCHER                STELLA                NY         1900952016       WEITZ & LUXENBERG, PC                                SCHLACHTER           BARBARA               NY         1901312019       WEITZ & LUXENBERG, PC
SCHERB               DAVID                 CA         19STCV04998      WEITZ & LUXENBERG, PC                                SCHLACHTER           JOHN                  NY         1901312019       WEITZ & LUXENBERG, PC
SCHERB               JEANNE                CA         19STCV04998      WEITZ & LUXENBERG, PC                                SCHLAMP              LOIS                  NY         12317501         WEITZ & LUXENBERG, PC
SCHERER              EUGENE H              NY         10587102         WEITZ & LUXENBERG, PC                                SCHLAMP              LOIS                  NY         01111230         WEITZ & LUXENBERG, PC
SCHERER              MARGARET              NY         10587102         WEITZ & LUXENBERG, PC                                SCHLAMP              WILLIAM A             NY         12317501         WEITZ & LUXENBERG, PC
SCHERIFF             JAMES J               NY         1902702019       WEITZ & LUXENBERG, PC                                SCHLAMP              WILLIAM A             NY         01111230         WEITZ & LUXENBERG, PC
SCHERIFF             ROBERTA               NY         1902702019       WEITZ & LUXENBERG, PC                                SCHLEE               CAROL ANN             NY         12603502         WEITZ & LUXENBERG, PC
SCHERMERHORN         JOELLEN               NY         10697401         WEITZ & LUXENBERG, PC                                SCHLEE               JAMES FRANCIS         NY         I200110288       WEITZ & LUXENBERG, PC
SCHERMERHORN         JOELLEN               NY         11937900         WEITZ & LUXENBERG, PC                                SCHLEE               JOANNE                NY         I200110288       WEITZ & LUXENBERG, PC
SCHERMERHORN         JOHN ALLEN            NY         10413600         WEITZ & LUXENBERG, PC                                SCHLEE               JOHN MICHAEL          NY         12603502         WEITZ & LUXENBERG, PC
SCHERMERHORN         RONALD                NY         10697401         WEITZ & LUXENBERG, PC                                SCHLENKER            SHARRON               NY         02107004         WEITZ & LUXENBERG, PC
SCHERMERHORN         RONALD                NY         11937900         WEITZ & LUXENBERG, PC                                SCHLENKER            WILLIAM H             NY         02107004         WEITZ & LUXENBERG, PC
SCHESCHAREG          AGNES                 NY         10074103         WEITZ & LUXENBERG, PC                                SCHLICHT             DAVID                 NY         10421799         WEITZ & LUXENBERG, PC
SCHESCHAREG          AGNES                 NY         10287403         WEITZ & LUXENBERG, PC                                SCHLICHT             NOEL                  NY         10421799         WEITZ & LUXENBERG, PC
SCHESCHAREG          MAX                   NY         10074103         WEITZ & LUXENBERG, PC                                SCHLOEMER            KAREN                 NY         19022411         WEITZ & LUXENBERG, PC
SCHESCHAREG          MAX                   NY         10287403         WEITZ & LUXENBERG, PC                                SCHLOSS              FAY                   NY         12110001         WEITZ & LUXENBERG, PC
SCHETTER             FRED P                NY         10421999         WEITZ & LUXENBERG, PC                                SCHLOSS              SAM                   NY         12110001         WEITZ & LUXENBERG, PC
SCHETTINI            ENRICO                NY         12038901         WEITZ & LUXENBERG, PC                                SCHLUBATIS           MARY                  NY         610201           WEITZ & LUXENBERG, PC
SCHETTINI            ENRICO                NY         10002702         WEITZ & LUXENBERG, PC                                SCHLUBATIS           ROBERT                NY         610201           WEITZ & LUXENBERG, PC
SCHETTINI            FRANK                 NY         12038901         WEITZ & LUXENBERG, PC                                SCHLUETER            CARL A                NY         10424399         WEITZ & LUXENBERG, PC
SCHETTINI            FRANK                 NY         10002702         WEITZ & LUXENBERG, PC                                SCHLUETER            NORMA                 NY         10424399         WEITZ & LUXENBERG, PC
SCHEUERMANN          CHRISTEL              NY         19044010         WEITZ & LUXENBERG, PC                                SCHMEH               EUGENIA               NY         10587502         WEITZ & LUXENBERG, PC
SCHEUERMANN          FRIEDRICH             NY         19044010         WEITZ & LUXENBERG, PC                                SCHMEH               THOMAS E              NY         10587502         WEITZ & LUXENBERG, PC
SCHEUNER             ANGELA                NY         10422099         WEITZ & LUXENBERG, PC                                SCHMEISING           HENRY                 NY         11108802         WEITZ & LUXENBERG, PC
SCHEUNER             WILLIAM E             NY         10422099         WEITZ & LUXENBERG, PC                                SCHMELZLE            JEAN                  NY         11113600         WEITZ & LUXENBERG, PC
SCHIAROLI            DIANE                 NY         10871001         WEITZ & LUXENBERG, PC                                SCHMELZLE            TERRY LEE             NY         11113600         WEITZ & LUXENBERG, PC
SCHIAROLI            RAYMOND               NY         10871001         WEITZ & LUXENBERG, PC                                SCHMIDLI             GERALD                NY         11113500         WEITZ & LUXENBERG, PC
SCHIAVO              FILOMENA              NY         11124300         WEITZ & LUXENBERG, PC                                SCHMIDLI             THERESA               NY         11113500         WEITZ & LUXENBERG, PC
SCHIAVO              MICHAEL               NY         11124300         WEITZ & LUXENBERG, PC                                SCHMIDT              CAROLYN               NY         10697101         WEITZ & LUXENBERG, PC
SCHIAVONE            BETTY J               NY         11113700         WEITZ & LUXENBERG, PC                                SCHMIDT              CAROLYN               NY         11937900         WEITZ & LUXENBERG, PC
SCHIAVONE            FRANK                 NY         11113700         WEITZ & LUXENBERG, PC                                SCHMIDT              CATHERINE             NY         10710002         WEITZ & LUXENBERG, PC
SCHIAVONE            RONALD                NY         616432019        WEITZ & LUXENBERG, PC                                SCHMIDT              DIEDRICH J            NY         10697201         WEITZ & LUXENBERG, PC
SCHICHTEL            HENRY J               NY         11124200         WEITZ & LUXENBERG, PC                                SCHMIDT              DIEDRICH J            NY         11937900         WEITZ & LUXENBERG, PC
SCHICHTEL            NORMAN J              NY         12668202         WEITZ & LUXENBERG, PC                                SCHMIDT              DORIS                 NY         10697201         WEITZ & LUXENBERG, PC
SCHICHTEL            RITA                  NY         11124200         WEITZ & LUXENBERG, PC                                SCHMIDT              DORIS                 NY         11937900         WEITZ & LUXENBERG, PC
SCHIEBER             CAROL                 NY         12788702         WEITZ & LUXENBERG, PC                                SCHMIDT              ELFRIEDE              NY         10697201         WEITZ & LUXENBERG, PC
SCHIEBER             RAYMOND               NY         12788702         WEITZ & LUXENBERG, PC                                SCHMIDT              ELFRIEDE              NY         11937900         WEITZ & LUXENBERG, PC
SCHIEFEN             CORNELIA A            NY         20012403         WEITZ & LUXENBERG, PC                                SCHMIDT              JAMES P               NY         10697101         WEITZ & LUXENBERG, PC
SCHIEFEN             JOSEPH J              NY         20012403         WEITZ & LUXENBERG, PC                                SCHMIDT              JAMES P               NY         11937900         WEITZ & LUXENBERG, PC
SCHIEFERSTEIN        HARRY                 NY         12100401         WEITZ & LUXENBERG, PC                                SCHMIDT              JULIUS B              NY         12039501         WEITZ & LUXENBERG, PC
SCHIEFERSTEIN        SUSAN                 NY         12100401         WEITZ & LUXENBERG, PC                                SCHMIDT              LINDA                 NY         6167002019       WEITZ & LUXENBERG, PC
SCHIERING            GEORGE                NY         11124100         WEITZ & LUXENBERG, PC                                SCHMIDT              PAUL JOHN             NY         11113400         WEITZ & LUXENBERG, PC
SCHIERING            MARJORIE SUE          NY         11124100         WEITZ & LUXENBERG, PC                                SCHMIDT              RAYMOND D             NY         1900262018       WEITZ & LUXENBERG, PC
SCHIFF               RALPH D               NY         11700607         WEITZ & LUXENBERG, PC                                SCHMIDT              ROBERT A              NY         10710002         WEITZ & LUXENBERG, PC
SCHIFF               SARA M                NY         11700607         WEITZ & LUXENBERG, PC                                SCHMIDT              VERA                  NY         1900262018       WEITZ & LUXENBERG, PC
SCHIFFERLI           THOMAS F              NY         12668502         WEITZ & LUXENBERG, PC                                SCHMIDT              WILLIAM J             NY         6167002019       WEITZ & LUXENBERG, PC
SCHIFFERLI           THOMAS F              NY         10332303         WEITZ & LUXENBERG, PC                                SCHMIDT              WILLIAM T             NY         11103903         WEITZ & LUXENBERG, PC
SCHIGOTZKI           MARY A                NY         01111705         WEITZ & LUXENBERG, PC                                SCHMITT              JOSEPH D              NY         11113200         WEITZ & LUXENBERG, PC
SCHIGOTZKI           ROBERT                NY         01111705         WEITZ & LUXENBERG, PC                                SCHMITT              MARTIN                NY         12077101         WEITZ & LUXENBERG, PC
SCHIHL               BARBARA               NY         10680702         WEITZ & LUXENBERG, PC                                SCHMITT              MARTIN                NY         01111223         WEITZ & LUXENBERG, PC
SCHIHL               BARBARA               NY         11090202         WEITZ & LUXENBERG, PC                                SCHMITT              PHYLLIS               NY         11369004         WEITZ & LUXENBERG, PC
SCHIHL               JAMES J               NY         10680702         WEITZ & LUXENBERG, PC                                SCHMITT              WARREN J              NY         11369004         WEITZ & LUXENBERG, PC
SCHIHL               JAMES J               NY         11090202         WEITZ & LUXENBERG, PC                                SCHMITT              YVETTE                NY         12077101         WEITZ & LUXENBERG, PC
SCHILBERGER          DAVID L               NY         10740202         WEITZ & LUXENBERG, PC                                SCHMITT              YVETTE                NY         01111223         WEITZ & LUXENBERG, PC
SCHILIRO             ILLUMINATO            NY         10424599         WEITZ & LUXENBERG, PC                                SCHMITZ              HERBERT A             NY         11602101         WEITZ & LUXENBERG, PC
SCHILIRO             MARGARET              NY         10424599         WEITZ & LUXENBERG, PC                                SCHMITZ              IDA                   NY         11113100         WEITZ & LUXENBERG, PC
SCHILLE              INGEBJORG             NY         12668202         WEITZ & LUXENBERG, PC                                SCHMITZ              JAMES A               NY         11113100         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1056
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 391 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

SCHMITZ              LORRAINE              NY         11602101         WEITZ & LUXENBERG, PC                                SCHREINER            MARGURITE R           NY         10669502        WEITZ & LUXENBERG, PC
SCHMITZ              PETER N               NY         01111219         WEITZ & LUXENBERG, PC                                SCHRENK              CARL A                NY         11937900        WEITZ & LUXENBERG, PC
SCHMITZ              WILLIAM J             NY         1901242013       WEITZ & LUXENBERG, PC                                SCHRENK              CARL A                NY         10697901        WEITZ & LUXENBERG, PC
SCHNEEGURT           ELAINE                NY         12038901         WEITZ & LUXENBERG, PC                                SCHRENK              GRACE B               NY         11937900        WEITZ & LUXENBERG, PC
SCHNEEGURT           ELAINE                NY         10002602         WEITZ & LUXENBERG, PC                                SCHRENK              GRACE B               NY         10697901        WEITZ & LUXENBERG, PC
SCHNEEGURT           ERROL                 NY         12038901         WEITZ & LUXENBERG, PC                                SCHRETTNER           ALFRED F              NY         01111218        WEITZ & LUXENBERG, PC
SCHNEEGURT           ERROL                 NY         10002602         WEITZ & LUXENBERG, PC                                SCHRETTNER           ROSERITA P            NY         01111218        WEITZ & LUXENBERG, PC
SCHNEIDER            ADELE                 NY         10852704         WEITZ & LUXENBERG, PC                                SCHRODY              DANIEL P              NY         10762103        WEITZ & LUXENBERG, PC
SCHNEIDER            CARL W                NY         10714603         WEITZ & LUXENBERG, PC                                SCHRODY              DANIEL P              NY         01CIV7365       WEITZ & LUXENBERG, PC
SCHNEIDER            CAROLINE              NY         12038801         WEITZ & LUXENBERG, PC                                SCHRODY              KATHLEEN              NY         10762103        WEITZ & LUXENBERG, PC
SCHNEIDER            CATHLEEN              NY         10714603         WEITZ & LUXENBERG, PC                                SCHRODY              KATHLEEN              NY         01CIV7365       WEITZ & LUXENBERG, PC
SCHNEIDER            HELEN                 NY         1900282019       WEITZ & LUXENBERG, PC                                SCHROEDER            ALICE                 NY         11581700        WEITZ & LUXENBERG, PC
SCHNEIDER            HELEN                 NY         10669502         WEITZ & LUXENBERG, PC                                SCHROEDER            EMMA                  NY         UNKNOWN         WEITZ & LUXENBERG, PC
SCHNEIDER            HOWARD S              NY         12038801         WEITZ & LUXENBERG, PC                                SCHROEDER            ERMA                  NY         UNKNOWN         WEITZ & LUXENBERG, PC
SCHNEIDER            NOEL                  NY         10852704         WEITZ & LUXENBERG, PC                                SCHROEDER            FRANCIS C             NY         11581700        WEITZ & LUXENBERG, PC
SCHNEIDER            ROBERT                NY         1900282019       WEITZ & LUXENBERG, PC                                SCHROEDER            JOAN                  NY         1903842012      WEITZ & LUXENBERG, PC
SCHNEIDER            RUDOLF                NY         10669502         WEITZ & LUXENBERG, PC                                SCHROEDER            KAETHE M              NY         12038901        WEITZ & LUXENBERG, PC
SCHNEIDER            VERONICA J            NY         11307000         WEITZ & LUXENBERG, PC                                SCHROEDER            KAETHE M              NY         10002502        WEITZ & LUXENBERG, PC
SCHNEIDER            WALTER H              NY         02108039         WEITZ & LUXENBERG, PC                                SCHROEDER            KLAUS H               NY         12038901        WEITZ & LUXENBERG, PC
SCHNEIDER            WILLIAM               NY         11307000         WEITZ & LUXENBERG, PC                                SCHROEDER            KLAUS H               NY         10002502        WEITZ & LUXENBERG, PC
SCHNEIDMILLER        DONALD CARL           NY         10422399         WEITZ & LUXENBERG, PC                                SCHROEDER            LINDA                 NY         12039601        WEITZ & LUXENBERG, PC
SCHNEIDMILLER        DOROTHY               NY         10422399         WEITZ & LUXENBERG, PC                                SCHROEDER            NORBERT G             NY         11581700        WEITZ & LUXENBERG, PC
SCHNIK               CALVIN E              NY         01118862         WEITZ & LUXENBERG, PC                                SCHROEDER            RALPH                 NY         12039601        WEITZ & LUXENBERG, PC
SCHNITZER            HARRIET M             NY         10697001         WEITZ & LUXENBERG, PC                                SCHROEDER            RICHARD A             NY         UNKNOWN         WEITZ & LUXENBERG, PC
SCHNITZER            HARRIET M             NY         11937900         WEITZ & LUXENBERG, PC                                SCHROEDER            WILLIAM F             NY         1903842012      WEITZ & LUXENBERG, PC
SCHNITZER            MAX                   NY         10697001         WEITZ & LUXENBERG, PC                                SCHROM               GEORGE                NY         10697801        WEITZ & LUXENBERG, PC
SCHNITZER            MAX                   NY         11937900         WEITZ & LUXENBERG, PC                                SCHROM               GEORGE                NY         11937900        WEITZ & LUXENBERG, PC
SCHNOOR              RICHARD D             NY         6088582016       WEITZ & LUXENBERG, PC                                SCHROM               MARGE                 NY         10697801        WEITZ & LUXENBERG, PC
SCHNUR               NORMAN W              NY         10587002         WEITZ & LUXENBERG, PC                                SCHROM               MARGE                 NY         11937900        WEITZ & LUXENBERG, PC
SCHNUR               VIRIGNIA A            NY         10587002         WEITZ & LUXENBERG, PC                                SCHULAM              CARL M                NY         10710002        WEITZ & LUXENBERG, PC
SCHOBER              ANNA MARIE            NY         11581600         WEITZ & LUXENBERG, PC                                SCHULER              GLORIA                NY         12693502        WEITZ & LUXENBERG, PC
SCHOBER              DONALD R              NY         11581600         WEITZ & LUXENBERG, PC                                SCHULER              WILLIAM               NY         12693502        WEITZ & LUXENBERG, PC
SCHOELLHORN          DORIS C               NY         11306900         WEITZ & LUXENBERG, PC                                SCHULHOFF            HELEN                 NY         11581800        WEITZ & LUXENBERG, PC
SCHOELLHORN          HENRY F               NY         11306900         WEITZ & LUXENBERG, PC                                SCHULHOFF            ROBERT                NY         11581800        WEITZ & LUXENBERG, PC
SCHOEMAN             ANNIE                 NY         1902392017       WEITZ & LUXENBERG, PC                                SCHULHOFF            WILLIAM               NY         11581800        WEITZ & LUXENBERG, PC
SCHOEMAN             FRANK H               NY         1902392017       WEITZ & LUXENBERG, PC                                SCHULMAN             RITA                  NY         10931303        WEITZ & LUXENBERG, PC
SCHOEN               IRVING                NY         10485403         WEITZ & LUXENBERG, PC                                SCHULTE              KATHLEEN ANN          NY         1900552019      WEITZ & LUXENBERG, PC
SCHOEN               JAMES                 NY         10485403         WEITZ & LUXENBERG, PC                                SCHULTZ              ANDREW E              NY         02105716        WEITZ & LUXENBERG, PC
SCHOFIELD            ROBERT E              NY         I20018765        WEITZ & LUXENBERG, PC                                SCHULTZ              ANDREW E              NY         11165302        WEITZ & LUXENBERG, PC
SCHOFIELD            RUTH ANN              NY         I20018765        WEITZ & LUXENBERG, PC                                SCHULTZ              BARBARA               NY         1902012014      WEITZ & LUXENBERG, PC
SCHOL                EDITH EMMA            NY         11315305         WEITZ & LUXENBERG, PC                                SCHULTZ              BEATRICE              NY         02105716        WEITZ & LUXENBERG, PC
SCHOL                GARRETT A             NY         11315305         WEITZ & LUXENBERG, PC                                SCHULTZ              BEATRICE              NY         11165302        WEITZ & LUXENBERG, PC
SCHOLZ               ERICH                 NY         11306800         WEITZ & LUXENBERG, PC                                SCHULTZ              BRUCE R               NY         10806808        WEITZ & LUXENBERG, PC
SCHOLZ               INGEBURG              NY         11306800         WEITZ & LUXENBERG, PC                                SCHULTZ              DOROTHY               NY         01111235        WEITZ & LUXENBERG, PC
SCHOONBECK           GEORGE ALBERT         NY         10700002         WEITZ & LUXENBERG, PC                                SCHULTZ              EMILIA                NY         02105718        WEITZ & LUXENBERG, PC
SCHOONMAKER          JOAN M                NY         11033503         WEITZ & LUXENBERG, PC                                SCHULTZ              FLORENCE              NY         11306500        WEITZ & LUXENBERG, PC
SCHOONMAKER          PETER                 NY         11033503         WEITZ & LUXENBERG, PC                                SCHULTZ              GEORGE                NY         01111235        WEITZ & LUXENBERG, PC
SCHOONOVER           JAMES                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                SCHULTZ              GERALDINE             NY         1903732015      WEITZ & LUXENBERG, PC
SCHOONOVER           LINDA KAY             NY         00CIV3589        WEITZ & LUXENBERG, PC                                SCHULTZ              HAROLD                NY         1903732015      WEITZ & LUXENBERG, PC
SCHORK               JAMES L               NY         02120709         WEITZ & LUXENBERG, PC                                SCHULTZ              JOAN                  NY         10413700        WEITZ & LUXENBERG, PC
SCHORN               BLANCHE               NY         10208406         WEITZ & LUXENBERG, PC                                SCHULTZ              JOHN H                NY         01100344        WEITZ & LUXENBERG, PC
SCHORN               MANFRED               NY         10208406         WEITZ & LUXENBERG, PC                                SCHULTZ              KENNETH               NY         10413700        WEITZ & LUXENBERG, PC
SCHOROBURA           ERNA                  NY         10657602         WEITZ & LUXENBERG, PC                                SCHULTZ              MORRIS                NY         10806808        WEITZ & LUXENBERG, PC
SCHOROBURA           WASYL                 NY         10657602         WEITZ & LUXENBERG, PC                                SCHULTZ              NEIL                  NY         10806808        WEITZ & LUXENBERG, PC
SCHRADER             EDWARD O              NY         11306700         WEITZ & LUXENBERG, PC                                SCHULTZ              PATRICIA              NY         02105715        WEITZ & LUXENBERG, PC
SCHRADER             JOAN                  NY         11306700         WEITZ & LUXENBERG, PC                                SCHULTZ              RICHARD               NY         02105718        WEITZ & LUXENBERG, PC
SCHRADER             PATRICK               NY         11306600         WEITZ & LUXENBERG, PC                                SCHULTZ              ROBERT                NY         1902012014      WEITZ & LUXENBERG, PC
SCHRADER             SALLY                 NY         11306600         WEITZ & LUXENBERG, PC                                SCHULTZ              STARR D               NY         02105715        WEITZ & LUXENBERG, PC
SCHRAM               ALBERT JOSEPH         NY         10587502         WEITZ & LUXENBERG, PC                                SCHULTZ              WENDELL C             NY         11306500        WEITZ & LUXENBERG, PC
SCHRAM               ELIZABETH             NY         10587502         WEITZ & LUXENBERG, PC                                SCHUMACHER           GEORGE W              NY         10740302        WEITZ & LUXENBERG, PC
SCHRANK              GLEN C                NY         583992018        WEITZ & LUXENBERG, PC                                SCHUMACHER           LINDA A               NY         10740302        WEITZ & LUXENBERG, PC
SCHRANTZ             ANTHONY               NY         11398799         WEITZ & LUXENBERG, PC                                SCHUMAN              DIANE                 NY         1902522013      WEITZ & LUXENBERG, PC
SCHRANTZ             DENNIS W              NY         10422499         WEITZ & LUXENBERG, PC                                SCHUMAN              LEO F                 NY         UNKNOWN_ADMIN_CTD
                                                                                                                                                                                                  WEITZ & LUXENBERG, PC
SCHRANTZ             PAULINE               NY         10422499         WEITZ & LUXENBERG, PC                                SCHUMAN              LEO F                 NY         1902522013      WEITZ & LUXENBERG, PC
SCHRECK              HAROLD                NY         10422299         WEITZ & LUXENBERG, PC                                SCHUMER              DAVID L               NY         10587002        WEITZ & LUXENBERG, PC
SCHRECK              MARY JANE             NY         10422299         WEITZ & LUXENBERG, PC                                SCHUMER              LORRAINE E            NY         10587002        WEITZ & LUXENBERG, PC
SCHREIBER            PAUL                  NY         11158903         WEITZ & LUXENBERG, PC                                SCHUNK               JAMES R               NY         I20019693       WEITZ & LUXENBERG, PC
SCHREIBER            PAUL                  NY         11207703         WEITZ & LUXENBERG, PC                                SCHUNK               JAMES R               NY         19036811        WEITZ & LUXENBERG, PC
SCHREIBER            RENEE                 NY         11158903         WEITZ & LUXENBERG, PC                                SCHURMAN             KATHRYN               NY         1901262012      WEITZ & LUXENBERG, PC
SCHREIBER            RENEE                 NY         11207703         WEITZ & LUXENBERG, PC                                SCHURMAN             VINCENT C             NY         1901262012      WEITZ & LUXENBERG, PC
SCHREINER            LLOYD R               NY         10669502         WEITZ & LUXENBERG, PC                                SCHURR               RUTH                  NY         11306400        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1057
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 392 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SCHURR               WALTER W              NY         11306400         WEITZ & LUXENBERG, PC                                SCIMECA              SEBASTIANO            NY         10562699         WEITZ & LUXENBERG, PC
SCHUSTER             ANN                   NY         CV022032         WEITZ & LUXENBERG, PC                                SCIORTINO            DONNA                 NY         10416702         WEITZ & LUXENBERG, PC
SCHUSTER             ANTHONY               NY         CV022032         WEITZ & LUXENBERG, PC                                SCIORTINO            NICHOLAS              NY         11523300         WEITZ & LUXENBERG, PC
SCHUTT               ELIZABETH             NY         11306300         WEITZ & LUXENBERG, PC                                SCIORTINO            SEBASTIANA            NY         11523300         WEITZ & LUXENBERG, PC
SCHUTT               FLOYD E               NY         10740202         WEITZ & LUXENBERG, PC                                SCIPIONE             BETTY                 NY         10550299         WEITZ & LUXENBERG, PC
SCHUTT               HERMAN A              NY         11306300         WEITZ & LUXENBERG, PC                                SCIPIONE             RICHARD DANIEL        NY         10550299         WEITZ & LUXENBERG, PC
SCHUTT               TERESA K              NY         10740202         WEITZ & LUXENBERG, PC                                SCIRBONA             ANTHONY S             NY         10128407         WEITZ & LUXENBERG, PC
SCHUTZ               IRENE                 NY         10210203         WEITZ & LUXENBERG, PC                                SCIRBONA             ERIKA M               NY         10128407         WEITZ & LUXENBERG, PC
SCHUTZ               JEAN LIQUORI          NY         10087102         WEITZ & LUXENBERG, PC                                SCIRIA               FRANK                 NY         10698401         WEITZ & LUXENBERG, PC
SCHUTZ               PHILLIP               NY         10087102         WEITZ & LUXENBERG, PC                                SCIRIA               FRANK                 NY         11937900         WEITZ & LUXENBERG, PC
SCHUTZ               WILLIAM               NY         10210203         WEITZ & LUXENBERG, PC                                SCIUTO               BALDASSARE            NY         10090403         WEITZ & LUXENBERG, PC
SCHWALB              ELLEN E               NY         1901242016       WEITZ & LUXENBERG, PC                                SCIUTO               BALDASSARE            NY         11786703         WEITZ & LUXENBERG, PC
SCHWALB              JEFF                  NY         1901242016       WEITZ & LUXENBERG, PC                                SCIUTO               ROSARIA               NY         10090403         WEITZ & LUXENBERG, PC
SCHWAM               CHESTER S             NY         12039901         WEITZ & LUXENBERG, PC                                SCIUTO               ROSARIA               NY         11786703         WEITZ & LUXENBERG, PC
SCHWAN               PAUL                  NY         10414900         WEITZ & LUXENBERG, PC                                SCLAFANI             ANTONINO              NY         12168600         WEITZ & LUXENBERG, PC
SCHWARCZ             DAVID                 NY         11032803         WEITZ & LUXENBERG, PC                                SCLAFANI             ROSARIA               NY         12168600         WEITZ & LUXENBERG, PC
SCHWARCZ             ESTHER                NY         11032803         WEITZ & LUXENBERG, PC                                SCOCA                VINCENT J             NY         11327902         WEITZ & LUXENBERG, PC
SCHWARTZ             ABRAHAM               NY         12118397         WEITZ & LUXENBERG, PC                                SCOGGINS             DAVIDSON              NY         CV013921         WEITZ & LUXENBERG, PC
SCHWARTZ             BARBARA               NY         12118397         WEITZ & LUXENBERG, PC                                SCOGINS              DAPHEY RAY            NY         CV025227         WEITZ & LUXENBERG, PC
SCHWARTZ             CAROL                 NY         10722002         WEITZ & LUXENBERG, PC                                SCOGINS              PATRICIA              NY         CV025227         WEITZ & LUXENBERG, PC
SCHWARTZ             DOROTHY A             NY         I20013185        WEITZ & LUXENBERG, PC                                SCOLLAN              EILEEN                NY         12100401         WEITZ & LUXENBERG, PC
SCHWARTZ             EUGENE                NY         10697601         WEITZ & LUXENBERG, PC                                SCOLLAN              THOMAS P              NY         12100401         WEITZ & LUXENBERG, PC
SCHWARTZ             EUGENE                NY         11937900         WEITZ & LUXENBERG, PC                                SCOLLO               JOHN                  NY         01111228         WEITZ & LUXENBERG, PC
SCHWARTZ             JANE                  NY         1903572017       WEITZ & LUXENBERG, PC                                SCORSONE             JENNY                 NY         12788702         WEITZ & LUXENBERG, PC
SCHWARTZ             JUDITH                NY         1900402016       WEITZ & LUXENBERG, PC                                SCORSONE             ROSARIO               NY         12788702         WEITZ & LUXENBERG, PC
SCHWARTZ             KATHY                 NY         10697601         WEITZ & LUXENBERG, PC                                SCORZELLI            ANGELO A              NY         10925903         WEITZ & LUXENBERG, PC
SCHWARTZ             KATHY                 NY         11937900         WEITZ & LUXENBERG, PC                                SCORZELLI            DOROTHY               NY         10925903         WEITZ & LUXENBERG, PC
SCHWARTZ             LINWOOD RICHARD       NY         1903572017       WEITZ & LUXENBERG, PC                                SCOTCH               MADELINE              NY         10073103         WEITZ & LUXENBERG, PC
SCHWARTZ             RAYMOND J             NY         I20013185        WEITZ & LUXENBERG, PC                                SCOTCH               VINCENT               NY         10073103         WEITZ & LUXENBERG, PC
SCHWARTZ             STANLEY F             NY         11523200         WEITZ & LUXENBERG, PC                                SCOTT                ANTHONY               NY         10698301         WEITZ & LUXENBERG, PC
SCHWARTZ             STEPHEN               NY         1900402016       WEITZ & LUXENBERG, PC                                SCOTT                ANTHONY               NY         11937900         WEITZ & LUXENBERG, PC
SCHWARTZ             THOMAS W              NY         10722002         WEITZ & LUXENBERG, PC                                SCOTT                BETTY JANE            NY         11024604         WEITZ & LUXENBERG, PC
SCHWARZTRAUBER       PAUL FREDERICK        NY         10716702         WEITZ & LUXENBERG, PC                                SCOTT                CAROLYN MARIE         NY         01CIV3895        WEITZ & LUXENBERG, PC
SCHWEIGER            KATHLEEN D            NY         01111234         WEITZ & LUXENBERG, PC                                SCOTT                CARVILLE M            NY         1900702016       WEITZ & LUXENBERG, PC
SCHWEIGER            KATHLEEN D            NY         11921501         WEITZ & LUXENBERG, PC                                SCOTT                CECIL G               NY         10892704         WEITZ & LUXENBERG, PC
SCHWEIGER            PATRICK T             NY         01111234         WEITZ & LUXENBERG, PC                                SCOTT                CHARLES H             NY         CV016768         WEITZ & LUXENBERG, PC
SCHWEIGER            PATRICK T             NY         11921501         WEITZ & LUXENBERG, PC                                SCOTT                CHARUS                NY         11162103         WEITZ & LUXENBERG, PC
SCHWEITZER           ALVIN J               NY         99112498         WEITZ & LUXENBERG, PC                                SCOTT                CHRISTINE             NY         11305800         WEITZ & LUXENBERG, PC
SCHWEITZER           NANCY                 NY         99112498         WEITZ & LUXENBERG, PC                                SCOTT                DANIEL G              NY         12043101         WEITZ & LUXENBERG, PC
SCHWEIZER            CONRAD                NY         12043301         WEITZ & LUXENBERG, PC                                SCOTT                DAVID J               NY         11035007         WEITZ & LUXENBERG, PC
SCHWEIZER            SHEILA                NY         12043301         WEITZ & LUXENBERG, PC                                SCOTT                DORIS                 NY         11305600         WEITZ & LUXENBERG, PC
SCHWENK              ANDREAS               NY         11235904         WEITZ & LUXENBERG, PC                                SCOTT                DORIS                 NY         11327702         WEITZ & LUXENBERG, PC
SCHWENK              E MARION              NY         11235904         WEITZ & LUXENBERG, PC                                SCOTT                ELIZABETH             NY         11305900         WEITZ & LUXENBERG, PC
SCHWEYEN             MARY                  NY         02105715         WEITZ & LUXENBERG, PC                                SCOTT                ELIZABETH             NY         11305700         WEITZ & LUXENBERG, PC
SCHWEYEN             PAUL R                NY         02105715         WEITZ & LUXENBERG, PC                                SCOTT                ELSIE G               NY         10892704         WEITZ & LUXENBERG, PC
SCHWEYHER            GERHARD               NY         11306200         WEITZ & LUXENBERG, PC                                SCOTT                EMILY                 NY         10698301         WEITZ & LUXENBERG, PC
SCIABARRASI          ARLENE                NY         10697501         WEITZ & LUXENBERG, PC                                SCOTT                EMILY                 NY         11937900         WEITZ & LUXENBERG, PC
SCIABARRASI          ARLENE                NY         11937900         WEITZ & LUXENBERG, PC                                SCOTT                ERNEST P              NY         12113801         WEITZ & LUXENBERG, PC
SCIABARRASI          DAWN                  NY         104148           WEITZ & LUXENBERG, PC                                SCOTT                ERNEST P              NY         01111224         WEITZ & LUXENBERG, PC
SCIABARRASI          FRANK W               NY         104148           WEITZ & LUXENBERG, PC                                SCOTT                GEROGE W              NY         11306000         WEITZ & LUXENBERG, PC
SCIABARRASI          LOUIS J               NY         10697501         WEITZ & LUXENBERG, PC                                SCOTT                GRANT B               NY         10651904         WEITZ & LUXENBERG, PC
SCIABARRASI          LOUIS J               NY         11937900         WEITZ & LUXENBERG, PC                                SCOTT                HOWARD                NY         11305900         WEITZ & LUXENBERG, PC
SCIACCA              ALBERT                NY         10964402         WEITZ & LUXENBERG, PC                                SCOTT                JAMES A               NY         10716902         WEITZ & LUXENBERG, PC
SCIACCA              JOHN                  NY         10964402         WEITZ & LUXENBERG, PC                                SCOTT                JAMES A               NY         11213402         WEITZ & LUXENBERG, PC
SCIALDONE            ANGELA                NY         11159403         WEITZ & LUXENBERG, PC                                SCOTT                JAMES H               NY         12233399         WEITZ & LUXENBERG, PC
SCIALDONE            JOHN                  NY         11159403         WEITZ & LUXENBERG, PC                                SCOTT                JAMES L               NY         11327702         WEITZ & LUXENBERG, PC
SCIALDONE            LORETTA               NY         11159403         WEITZ & LUXENBERG, PC                                SCOTT                JANICE                NY         02106707         WEITZ & LUXENBERG, PC
SCIALDONE            PASQUALE              NY         11159403         WEITZ & LUXENBERG, PC                                SCOTT                JOAN M                NY         10716902         WEITZ & LUXENBERG, PC
SCIARA               GIUSEPPE              NY         99120110         WEITZ & LUXENBERG, PC                                SCOTT                JOAN M                NY         11213402         WEITZ & LUXENBERG, PC
SCIARRATTA           PAT J                 NY         12113901         WEITZ & LUXENBERG, PC                                SCOTT                JOHN C                NY         10550499         WEITZ & LUXENBERG, PC
SCIARRATTA           PAT J                 NY         01111224         WEITZ & LUXENBERG, PC                                SCOTT                JOHN L                NY         CV017617         WEITZ & LUXENBERG, PC
SCIASCIA             JACK                  NY         12344601         WEITZ & LUXENBERG, PC                                SCOTT                JOHN W                NY         99118270         WEITZ & LUXENBERG, PC
SCIASCIA             JACK                  NY         01111227         WEITZ & LUXENBERG, PC                                SCOTT                JONATHAN              NY         11305800         WEITZ & LUXENBERG, PC
SCIBILIA             CARMEN S              NY         11306100         WEITZ & LUXENBERG, PC                                SCOTT                KATHLEEN              NY         10550499         WEITZ & LUXENBERG, PC
SCIBILIA             FRANK                 NY         10542499         WEITZ & LUXENBERG, PC                                SCOTT                KENNETH C             NY         11305700         WEITZ & LUXENBERG, PC
SCIBILIA             LEONA                 NY         10542499         WEITZ & LUXENBERG, PC                                SCOTT                LAWRENCE              NY         12668202         WEITZ & LUXENBERG, PC
SCIBILIA             LOUVERA               NY         11306100         WEITZ & LUXENBERG, PC                                SCOTT                LEON                  NY         01CIV3901        WEITZ & LUXENBERG, PC
SCIGLIANO            VINCENT               NY         19001809         WEITZ & LUXENBERG, PC                                SCOTT                MARCIA J              NY         10651904         WEITZ & LUXENBERG, PC
SCIMECA              LAURA                 NY         00102246         WEITZ & LUXENBERG, PC                                SCOTT                MARIA J               NY         12043101         WEITZ & LUXENBERG, PC
SCIMECA              MIAOMI                NY         10562699         WEITZ & LUXENBERG, PC                                SCOTT                MARVIN H              NY         11024604         WEITZ & LUXENBERG, PC
SCIMECA              MICHELANGELO          NY         00102246         WEITZ & LUXENBERG, PC                                SCOTT                MARY ELLEN            NY         11035007         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1058
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 393 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SCOTT                MARY F                NY         CV016768         WEITZ & LUXENBERG, PC                                SEBESTA              LAURENCE              NY         11937900         WEITZ & LUXENBERG, PC
SCOTT                MATTIE                NY         CV017617         WEITZ & LUXENBERG, PC                                SEBESTA              REBECCA               NY         10709401         WEITZ & LUXENBERG, PC
SCOTT                MORRIS E              NY         CV014393         WEITZ & LUXENBERG, PC                                SEBESTA              REBECCA               NY         11937900         WEITZ & LUXENBERG, PC
SCOTT                NANCY                 NY         11306000         WEITZ & LUXENBERG, PC                                SEBESTA              WILLIAM J             NY         02106579         WEITZ & LUXENBERG, PC
SCOTT                PATRICIA              NY         01CIV3901        WEITZ & LUXENBERG, PC                                SECOURS              DAVID L               NY         10709301         WEITZ & LUXENBERG, PC
SCOTT                RICHARD C             NY         11305600         WEITZ & LUXENBERG, PC                                SECOURS              DAVID L               NY         11937900         WEITZ & LUXENBERG, PC
SCOTT                ROBERT H              NY         02106707         WEITZ & LUXENBERG, PC                                SECOURS              MARY                  NY         10709301         WEITZ & LUXENBERG, PC
SCOTT                ROBERT J              NY         12043301         WEITZ & LUXENBERG, PC                                SECOURS              MARY                  NY         11937900         WEITZ & LUXENBERG, PC
SCOTT                ROBERT M              NY         12039401         WEITZ & LUXENBERG, PC                                SEE                  ALETA R               NY         02106707         WEITZ & LUXENBERG, PC
SCOTT                RUTH                  NY         12233399         WEITZ & LUXENBERG, PC                                SEE                  ALETA R               NY         11568202         WEITZ & LUXENBERG, PC
SCOTT                SHARON                NY         12043301         WEITZ & LUXENBERG, PC                                SEE                  JAMES A               NY         02106707         WEITZ & LUXENBERG, PC
SCOTT                THOMAS J              NY         1901312017       WEITZ & LUXENBERG, PC                                SEE                  JAMES A               NY         11568202         WEITZ & LUXENBERG, PC
SCOTT                TOBY                  NY         11162103         WEITZ & LUXENBERG, PC                                SEE                  ROBERT CHARLES        NY         19047511         WEITZ & LUXENBERG, PC
SCOTT                WILLIAM PETER         NY         10550799         WEITZ & LUXENBERG, PC                                SEEBECK              FREDERICK             NY         12039501         WEITZ & LUXENBERG, PC
SCOTT                WILLIE MAE            NY         12668202         WEITZ & LUXENBERG, PC                                SEEBECK              JUDITH                NY         12039501         WEITZ & LUXENBERG, PC
SCOTT                WILLIE S              NY         00CIV3589        WEITZ & LUXENBERG, PC                                SEEBER               CHARLES M             NY         02105713         WEITZ & LUXENBERG, PC
SCOTT                ZEPHRINE              NY         99118270         WEITZ & LUXENBERG, PC                                SEEBER               MARJORIE D            NY         02105713         WEITZ & LUXENBERG, PC
SCOTTI               ANGELINA              NY         11305500         WEITZ & LUXENBERG, PC                                SEEDORF              JOHN H                NY         12039401         WEITZ & LUXENBERG, PC
SCOTTI               VINCENT               NY         11305500         WEITZ & LUXENBERG, PC                                SEELEY               EDWARD F              NY         11464105         WEITZ & LUXENBERG, PC
SCOTTO               DOMINIC               NY         11809403         WEITZ & LUXENBERG, PC                                SEELEY               MARGO A               NY         11464105         WEITZ & LUXENBERG, PC
SCOTTO               JENNIE                NY         11809403         WEITZ & LUXENBERG, PC                                SEELMAN              NANCY                 NY         19018211         WEITZ & LUXENBERG, PC
SCOTTO               VINCENT               NY         11809403         WEITZ & LUXENBERG, PC                                SEERY                CAROL                 NY         10306305         WEITZ & LUXENBERG, PC
SCOVILLE             ARLENE MARIE          NY         10698201         WEITZ & LUXENBERG, PC                                SEERY                JAMES P               NY         10306305         WEITZ & LUXENBERG, PC
SCOVILLE             ARLENE MARIE          NY         11937900         WEITZ & LUXENBERG, PC                                SEES                 MARY JEAN             NY         10731300         WEITZ & LUXENBERG, PC
SCOVILLE             CARL H                NY         10698201         WEITZ & LUXENBERG, PC                                SEETAL               JAMES                 NY         12043201         WEITZ & LUXENBERG, PC
SCOVILLE             CARL H                NY         11937900         WEITZ & LUXENBERG, PC                                SEETAL               ROSALYN               NY         12043201         WEITZ & LUXENBERG, PC
SCOZZARI             EUGENE T              NY         12039501         WEITZ & LUXENBERG, PC                                SEGARRA              JOSEPH L              NY         11304900         WEITZ & LUXENBERG, PC
SCOZZARI             LORRAINE              NY         12039501         WEITZ & LUXENBERG, PC                                SEGER                ANN                   NY         1902462019       WEITZ & LUXENBERG, PC
SCRABAT              MICHAEL H             NY         10817304         WEITZ & LUXENBERG, PC                                SEGER                GEORGE W              NY         1902462019       WEITZ & LUXENBERG, PC
SCRABAT              PAMLA                 NY         10817304         WEITZ & LUXENBERG, PC                                SEGER                GISELE                NY         10696302         WEITZ & LUXENBERG, PC
SCRANTON             JAMES                 NY         10698101         WEITZ & LUXENBERG, PC                                SEGER                HOWARD A              NY         10696302         WEITZ & LUXENBERG, PC
SCRANTON             JAMES                 NY         11937900         WEITZ & LUXENBERG, PC                                SEGIEL               ELIZABETH M           NY         11304800         WEITZ & LUXENBERG, PC
SCRANTON             SHARON                NY         10698101         WEITZ & LUXENBERG, PC                                SEGIEL               THOMAS                NY         11304800         WEITZ & LUXENBERG, PC
SCRANTON             SHARON                NY         11937900         WEITZ & LUXENBERG, PC                                SEGOOL               ROBERT A              NY         11787400         WEITZ & LUXENBERG, PC
SCRIBER              BONNIE                NY         11937900         WEITZ & LUXENBERG, PC                                SEGRETO              VINCENT P             NY         12039801         WEITZ & LUXENBERG, PC
SCRIBER              DOUGLAS               NY         11937900         WEITZ & LUXENBERG, PC                                SEGRETO              WENDY M               NY         12039801         WEITZ & LUXENBERG, PC
SCRIMA               DANIEL                NY         11305400         WEITZ & LUXENBERG, PC                                SEGUIN               ELEANOR               NY         02106694         WEITZ & LUXENBERG, PC
SCRIMA               ETHEL L               NY         12444502         WEITZ & LUXENBERG, PC                                SEGUIN               JO ANN                NY         11027002         WEITZ & LUXENBERG, PC
SCRIMA               JOHN                  NY         12444502         WEITZ & LUXENBERG, PC                                SEGUIN               LOUIS JAMES           NY         02106694         WEITZ & LUXENBERG, PC
SCRIMA               LYNN                  NY         11305400         WEITZ & LUXENBERG, PC                                SEGUIN               PHILLIP               NY         11027002         WEITZ & LUXENBERG, PC
SCROGGINS            WILDRED J             NY         CV013921         WEITZ & LUXENBERG, PC                                SEGUIN               PHILLIP               NY         12670502         WEITZ & LUXENBERG, PC
SCRUGGS              EARL                  NY         11305300         WEITZ & LUXENBERG, PC                                SEGUIN               THOMAS                NY         12670502         WEITZ & LUXENBERG, PC
SCULLY               HENRY J               NY         11305200         WEITZ & LUXENBERG, PC                                SEIBERT              EDMOND J              NY         01111234         WEITZ & LUXENBERG, PC
SCULLY               MARGARET A            NY         12444102         WEITZ & LUXENBERG, PC                                SEIBERT              EDMOND J              NY         11921601         WEITZ & LUXENBERG, PC
SCULLY               MARGARET A            NY         10321903         WEITZ & LUXENBERG, PC                                SEIBERT              MARIE                 NY         01111234         WEITZ & LUXENBERG, PC
SCULLY               RUTH C                NY         11305200         WEITZ & LUXENBERG, PC                                SEIBERT              MARIE                 NY         11921601         WEITZ & LUXENBERG, PC
SCULLY               THOMAS J              NY         12444102         WEITZ & LUXENBERG, PC                                SEIBOLD              CLIFFORD              NY         11304700         WEITZ & LUXENBERG, PC
SCULLY               THOMAS J              NY         10321903         WEITZ & LUXENBERG, PC                                SEIBOLD              LOUISE                NY         11304700         WEITZ & LUXENBERG, PC
SCUTELLARO           ANITA                 NY         02106508         WEITZ & LUXENBERG, PC                                SEIDL                ANTON J               NY         10811203         WEITZ & LUXENBERG, PC
SCUTELLARO           ROBERT                NY         02106508         WEITZ & LUXENBERG, PC                                SEIDL                CATHERINE             NY         10811203         WEITZ & LUXENBERG, PC
SCZYREK              JOHN                  NY         19044610         WEITZ & LUXENBERG, PC                                SEIDL                CORINNE               NY         10562599         WEITZ & LUXENBERG, PC
SCZYREK              JOSEPH A              NY         19044610         WEITZ & LUXENBERG, PC                                SEIDL                FRANK                 NY         10562599         WEITZ & LUXENBERG, PC
SEABURY              LOIS                  NY         11916003         WEITZ & LUXENBERG, PC                                SEIDMAN              HERBERT               NY         1903342018       WEITZ & LUXENBERG, PC
SEABURY              THOMAS                NY         11916003         WEITZ & LUXENBERG, PC                                SEIMS                DOROTHY M             NY         12213801         WEITZ & LUXENBERG, PC
SEAGER               JENNIE                NY         10540899         WEITZ & LUXENBERG, PC                                SEIMS                DOUGLAS A             NY         12213801         WEITZ & LUXENBERG, PC
SEAGER               WILLIAMS H            NY         10540899         WEITZ & LUXENBERG, PC                                SEINDLER             FRANK R               NY         10669102         WEITZ & LUXENBERG, PC
SEAMAN               DAVIDE B              NY         CV013921         WEITZ & LUXENBERG, PC                                SEITZ                DEBRA                 NY         10404401         WEITZ & LUXENBERG, PC
SEAMAN               EILEEN                NY         11305100         WEITZ & LUXENBERG, PC                                SEITZ                GARY B                NY         02122050         WEITZ & LUXENBERG, PC
SEAMAN               FRANCES C             NY         CV013921         WEITZ & LUXENBERG, PC                                SEITZ                KAREN A               NY         02122050         WEITZ & LUXENBERG, PC
SEAMAN               RONALD F              NY         11305100         WEITZ & LUXENBERG, PC                                SEIWELL              EMILY                 NY         11523500         WEITZ & LUXENBERG, PC
SEARA                KAREN A               NY         1902352019       WEITZ & LUXENBERG, PC                                SEIWELL              SAMUEL C              NY         11523500         WEITZ & LUXENBERG, PC
SEARFOSS             GAIL                  NY         11523400         WEITZ & LUXENBERG, PC                                SEJAS                ELIODORO              NY         1902432019       WEITZ & LUXENBERG, PC
SEARFOSS             ROBERT M              NY         11523400         WEITZ & LUXENBERG, PC                                SELBY                IVANA                 NY         00CIV3589        WEITZ & LUXENBERG, PC
SEARLEY              JOHN E                NY         10740302         WEITZ & LUXENBERG, PC                                SELBY                SAM T                 NY         00CIV3589        WEITZ & LUXENBERG, PC
SEARS                DOROTHY               NY         CV012368         WEITZ & LUXENBERG, PC                                SELECKY              JOSEPH K              NY         12039701         WEITZ & LUXENBERG, PC
SEARS                LEO V                 NY         CV012368         WEITZ & LUXENBERG, PC                                SELF                 ELIJAH                NY         10709201         WEITZ & LUXENBERG, PC
SEARS                RICHARD J             NY         11305000         WEITZ & LUXENBERG, PC                                SELF                 ELIJAH                NY         11937900         WEITZ & LUXENBERG, PC
SEBASTIANO           ANGELO A              NY         10549699         WEITZ & LUXENBERG, PC                                SELF                 KATHERYN              NY         CV016941         WEITZ & LUXENBERG, PC
SEBASTIANO           CATHERINE             NY         10549699         WEITZ & LUXENBERG, PC                                SELF                 NANCY                 NY         10709201         WEITZ & LUXENBERG, PC
SEBESTA              GRACE                 NY         02106579         WEITZ & LUXENBERG, PC                                SELF                 NANCY                 NY         11937900         WEITZ & LUXENBERG, PC
SEBESTA              LAURENCE              NY         10709401         WEITZ & LUXENBERG, PC                                SELF                 TOMMY W               NY         CV016941         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1059
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 394 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SELHORN              ELIZABETH             NY         10549999         WEITZ & LUXENBERG, PC                                SERVELLO             CARL A                NY         11523700         WEITZ & LUXENBERG, PC
SELHORN              PAUL                  NY         10549999         WEITZ & LUXENBERG, PC                                SERVELLO             KANDACE ANNE          NY         11523700         WEITZ & LUXENBERG, PC
SELINSKY             THOMAS                NY         01111229         WEITZ & LUXENBERG, PC                                SERVIDIO             PATSY                 NY         11304300         WEITZ & LUXENBERG, PC
SELJASEN             OLAF                  NY         10709101         WEITZ & LUXENBERG, PC                                SESSA                MICHAEL               NY         1900942015       WEITZ & LUXENBERG, PC
SELJASEN             OLAF                  NY         11937900         WEITZ & LUXENBERG, PC                                SESSA                SALVATORE T           NY         1900942015       WEITZ & LUXENBERG, PC
SELL                 ELIZABETH             NY         10716802         WEITZ & LUXENBERG, PC                                SESSUM               LAURENCE              NY         11523800         WEITZ & LUXENBERG, PC
SELL                 ELIZABETH             NY         11242802         WEITZ & LUXENBERG, PC                                SESTER               ELENE                 NY         02105718         WEITZ & LUXENBERG, PC
SELLAS               RAUL                  NY         10414600         WEITZ & LUXENBERG, PC                                SESTER               ELENE                 NY         11228802         WEITZ & LUXENBERG, PC
SELMENSBERGER        DAVID                 NY         11355603         WEITZ & LUXENBERG, PC                                SESTER               EUGENE R              NY         02105718         WEITZ & LUXENBERG, PC
SELMENSBERGER        DAVID W               NY         11355603         WEITZ & LUXENBERG, PC                                SESTER               EUGENE R              NY         11228802         WEITZ & LUXENBERG, PC
SELMENSBERGER        JEAN                  NY         11355603         WEITZ & LUXENBERG, PC                                SETTLE               DORIS                 NY         11304100         WEITZ & LUXENBERG, PC
SELMENSBERGER        WILLIAM P             NY         11355603         WEITZ & LUXENBERG, PC                                SETTLE               RICHARD A             NY         11304100         WEITZ & LUXENBERG, PC
SELUCO               GARY S                NY         10892804         WEITZ & LUXENBERG, PC                                SETTLE               RICHARD T             NY         11304100         WEITZ & LUXENBERG, PC
SELVAGGIO            DOLORE                NY         11937900         WEITZ & LUXENBERG, PC                                SEUFERT              GEORGE                NY         10708701         WEITZ & LUXENBERG, PC
SELVAGGIO            DOMINIC PETER         NY         11937900         WEITZ & LUXENBERG, PC                                SEUFERT              GEORGE                NY         11937900         WEITZ & LUXENBERG, PC
SELVAGGIO            JOHN                  NY         12038901         WEITZ & LUXENBERG, PC                                SEUFERT              JOY                   NY         10708701         WEITZ & LUXENBERG, PC
SELVAGGIO            JOHN                  NY         10002402         WEITZ & LUXENBERG, PC                                SEUFERT              JOY                   NY         11937900         WEITZ & LUXENBERG, PC
SEMBRAT              MARY                  NY         20013722         WEITZ & LUXENBERG, PC                                SEUFERT              MARSHALL              NY         99120317         WEITZ & LUXENBERG, PC
SEMBRAT              MICHAEL               NY         20013722         WEITZ & LUXENBERG, PC                                SEVENSKY             ANNE MARIE            NY         11787500         WEITZ & LUXENBERG, PC
SEMELKA              FRANK                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                SEVENSKY             JOHN                  NY         11787500         WEITZ & LUXENBERG, PC
SEMELKA              LINDA                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                SEVERANCE            HERBERT EDWARD        NY         11304000         WEITZ & LUXENBERG, PC
SEMERARO             CARMELO               NY         12039301         WEITZ & LUXENBERG, PC                                SEVERANCE            KATHLEEN              NY         11304000         WEITZ & LUXENBERG, PC
SEMERARO             CARMELO               NY         10369602         WEITZ & LUXENBERG, PC                                SEVILLIAN            ROBERT                NY         11303900         WEITZ & LUXENBERG, PC
SEMIS                DEBORAH               NY         11104303         WEITZ & LUXENBERG, PC                                SEVILLIAN            WILMERTINE            NY         11303900         WEITZ & LUXENBERG, PC
SENA                 ANGELO                NY         12668702         WEITZ & LUXENBERG, PC                                SEVIN                CHARLES P             NY         10620705         WEITZ & LUXENBERG, PC
SENDALL              BARBARA MARY          NY         10709001         WEITZ & LUXENBERG, PC                                SEVIN                LOTTIE                NY         10620705         WEITZ & LUXENBERG, PC
SENDALL              BARBARA MARY          NY         11937900         WEITZ & LUXENBERG, PC                                SEWELL               JIMMY J               DE         N17C01125ASB     WEITZ & LUXENBERG, PC
SENDALL              CHARLES BERTRAM       NY         10709001         WEITZ & LUXENBERG, PC                                SEXTON               EILEEN                NY         12039301         WEITZ & LUXENBERG, PC
SENDALL              CHARLES BERTRAM       NY         11937900         WEITZ & LUXENBERG, PC                                SEXTON               FELIX M               NY         12039301         WEITZ & LUXENBERG, PC
SENDLEIN             RUPERT                NY         01CIV7365        WEITZ & LUXENBERG, PC                                SEXTON               JAMES A               NY         1902872015       WEITZ & LUXENBERG, PC
SENECAL              JANE M                NY         12596802         WEITZ & LUXENBERG, PC                                SEYMOUR              CHERYL                NY         10696402         WEITZ & LUXENBERG, PC
SENECAL              RICHARD P             NY         12596802         WEITZ & LUXENBERG, PC                                SEYMOUR              KEITH R               NY         10696402         WEITZ & LUXENBERG, PC
SENESE               JAMES L               NY         10415200         WEITZ & LUXENBERG, PC                                SFARRA               ANTHONY               NY         11303800         WEITZ & LUXENBERG, PC
SENESE               ROSEANNE              NY         10415200         WEITZ & LUXENBERG, PC                                SFARRA               GERALDINE             NY         11303800         WEITZ & LUXENBERG, PC
SENIOR               JUDITH P              NY         01121099         WEITZ & LUXENBERG, PC                                SFERRAZZA            CARL                  NY         11104003         WEITZ & LUXENBERG, PC
SENIOR               RICHARD J             NY         01121099         WEITZ & LUXENBERG, PC                                SFERRAZZA            CATHERINE             NY         11483104         WEITZ & LUXENBERG, PC
SENTER               CLIFFORD LEE          NY         01CIV3900        WEITZ & LUXENBERG, PC                                SFERRAZZA            DAVID V               NY         11483104         WEITZ & LUXENBERG, PC
SENTER               LADONNA               NY         01CIV3900        WEITZ & LUXENBERG, PC                                SFERRAZZA            EDYE                  NY         11104003         WEITZ & LUXENBERG, PC
SERACH               DIANE                 NY         10708901         WEITZ & LUXENBERG, PC                                SFORZA               FRANK N               NY         11978401         WEITZ & LUXENBERG, PC
SERACH               DIANE                 NY         11937900         WEITZ & LUXENBERG, PC                                SFORZA               FRANK N               NY         11123201         WEITZ & LUXENBERG, PC
SERACH               GORDON                NY         10708901         WEITZ & LUXENBERG, PC                                SFORZA               LORRAINE              NY         11978401         WEITZ & LUXENBERG, PC
SERACH               GORDON                NY         11937900         WEITZ & LUXENBERG, PC                                SFORZA               LORRAINE              NY         11123201         WEITZ & LUXENBERG, PC
SERDULA              JOHN                  NY         113044000        WEITZ & LUXENBERG, PC                                SGAMBATI             GUERINO               NY         1901432016       WEITZ & LUXENBERG, PC
SERDULA              MARJORIE              NY         113044000        WEITZ & LUXENBERG, PC                                SGAMBATI             THERESA               NY         1901432016       WEITZ & LUXENBERG, PC
SERENO               ANA                   NY         11123101         WEITZ & LUXENBERG, PC                                SGAMBELLURI          ANNA                  NY         11303700         WEITZ & LUXENBERG, PC
SERENO               ANA                   NY         12058101         WEITZ & LUXENBERG, PC                                SGAMBELLURI          JOSEPH                NY         11303700         WEITZ & LUXENBERG, PC
SERENO               ANNA                  NY         11123101         WEITZ & LUXENBERG, PC                                SGROMO               CAROLYN               NY         11872001         WEITZ & LUXENBERG, PC
SERENO               ANNA                  NY         12058101         WEITZ & LUXENBERG, PC                                SGROMO               CAROLYN               NY         01111233         WEITZ & LUXENBERG, PC
SERENO               ARTHUR                NY         11027002         WEITZ & LUXENBERG, PC                                SGROMO               FRANK B               NY         11872001         WEITZ & LUXENBERG, PC
SERENO               NUNZIA M              NY         11027002         WEITZ & LUXENBERG, PC                                SGROMO               FRANK B               NY         01111233         WEITZ & LUXENBERG, PC
SERENO               SAL                   NY         11027002         WEITZ & LUXENBERG, PC                                SHACKELFORD          JOE D                 NY         01CIV3901        WEITZ & LUXENBERG, PC
SERENO               SILVA                 NY         11027002         WEITZ & LUXENBERG, PC                                SHACKELFORD          ODESSA                NY         01CIV3901        WEITZ & LUXENBERG, PC
SERENO               SILVIA                NY         11027002         WEITZ & LUXENBERG, PC                                SHADDON              FRANK                 NY         11627704         WEITZ & LUXENBERG, PC
SERENO               TOMMASO               NY         11123101         WEITZ & LUXENBERG, PC                                SHADDON              MARTHA                NY         CV024388         WEITZ & LUXENBERG, PC
SERENO               TOMMASO               NY         12058101         WEITZ & LUXENBERG, PC                                SHADDON              REBECCA M             NY         11627704         WEITZ & LUXENBERG, PC
SERES                EDWARD JAMES          NY         02120709         WEITZ & LUXENBERG, PC                                SHADDON              TROY DEAN             NY         CV024388         WEITZ & LUXENBERG, PC
SERES                HELEN R               NY         02120709         WEITZ & LUXENBERG, PC                                SHAFER               FLOYD F               NY         12693702         WEITZ & LUXENBERG, PC
SERFASS              PALMER F              NY         CV018219         WEITZ & LUXENBERG, PC                                SHAFER               JAMES A               NY         00102247         WEITZ & LUXENBERG, PC
SERGI                NELLA                 NY         02106694         WEITZ & LUXENBERG, PC                                SHAFER               JANICE                NY         00102247         WEITZ & LUXENBERG, PC
SERGI                SALVATORE             NY         02106694         WEITZ & LUXENBERG, PC                                SHAFER               VERNE D               NY         12693702         WEITZ & LUXENBERG, PC
SEROW                ROBERT F              NY         02106580         WEITZ & LUXENBERG, PC                                SHAIN                IZZY                  NY         11027002         WEITZ & LUXENBERG, PC
SERPE                BARBARA               NY         12043001         WEITZ & LUXENBERG, PC                                SHAIN                POLA                  NY         11027002         WEITZ & LUXENBERG, PC
SERPE                THOMAS                NY         12043001         WEITZ & LUXENBERG, PC                                SHAMALY              JOHN                  NY         CV041022         WEITZ & LUXENBERG, PC
SERRAINO             EMANUEL               NY         11523600         WEITZ & LUXENBERG, PC                                SHAMALY              NORMA                 NY         CV041022         WEITZ & LUXENBERG, PC
SERRAINO             JEAN                  NY         11523600         WEITZ & LUXENBERG, PC                                SHANAHAN             JOHN                  NY         12317401         WEITZ & LUXENBERG, PC
SERRANO              SALOMON               NY         1902462016       WEITZ & LUXENBERG, PC                                SHANAHAN             JOHN                  NY         01111230         WEITZ & LUXENBERG, PC
SERRANO              SONIA                 NY         1902462016       WEITZ & LUXENBERG, PC                                SHANDRAW             CONSTANCE A           NY         I200110066       WEITZ & LUXENBERG, PC
SERRAPICA            CORINNE L             NY         11327802         WEITZ & LUXENBERG, PC                                SHANDRAW             NORRIS A              NY         I200110066       WEITZ & LUXENBERG, PC
SERRAPICA            HENRY J               NY         11327802         WEITZ & LUXENBERG, PC                                SHANKS               LYNWOOD               NY         11303400         WEITZ & LUXENBERG, PC
SERVEDIO             CAMILLA               NY         1901442018       WEITZ & LUXENBERG, PC                                SHANKS               MATTIE G              NY         11303400         WEITZ & LUXENBERG, PC
SERVEDIO             CHARLES               NY         1901442018       WEITZ & LUXENBERG, PC                                SHANNON              ANNA                  NY         01CIV3901        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1060
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 395 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SHANNON              ARLIE                 NY         01CIV3895        WEITZ & LUXENBERG, PC                                SHEAHAN              WINIFRED              NY         19032509         WEITZ & LUXENBERG, PC
SHANNON              BERNICE E             NY         02107007         WEITZ & LUXENBERG, PC                                SHEAR                TERRY L               NY         11268500         WEITZ & LUXENBERG, PC
SHANNON              CALVIN B              NY         01CIV3901        WEITZ & LUXENBERG, PC                                SHEARS               DENNIS R              NY         11268200         WEITZ & LUXENBERG, PC
SHANNON              EARL                  NY         01CIV3901        WEITZ & LUXENBERG, PC                                SHEARS               JULIA                 NY         11268200         WEITZ & LUXENBERG, PC
SHANNON              GERALD K              NY         02107007         WEITZ & LUXENBERG, PC                                SHEARS               RUPERT                NY         11268200         WEITZ & LUXENBERG, PC
SHANNON              JOHN J                NY         10548799         WEITZ & LUXENBERG, PC                                SHEDLOW              CELESTINE             NY         10708601         WEITZ & LUXENBERG, PC
SHANNON              JOSEPH                NY         10455901         WEITZ & LUXENBERG, PC                                SHEDLOW              CELESTINE             NY         11937900         WEITZ & LUXENBERG, PC
SHANNON              JOSEPH E              NY         10455901         WEITZ & LUXENBERG, PC                                SHEDLOW              STEPHEN M             NY         10708601         WEITZ & LUXENBERG, PC
SHANNON              MONA                  NY         11787600         WEITZ & LUXENBERG, PC                                SHEDLOW              STEPHEN M             NY         11937900         WEITZ & LUXENBERG, PC
SHANNON              PATRICK J             NY         99122332         WEITZ & LUXENBERG, PC                                SHEDLOW              VERONICA              NY         10708601         WEITZ & LUXENBERG, PC
SHANNON              TELLA                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                SHEDLOW              VERONICA              NY         11937900         WEITZ & LUXENBERG, PC
SHANNON              WILLIAM F             NY         11787600         WEITZ & LUXENBERG, PC                                SHEEHAN              ANNE                  NY         10023203         WEITZ & LUXENBERG, PC
SHANTIE              DEAN HERMIE           NY         02106579         WEITZ & LUXENBERG, PC                                SHEEHAN              BARBARA               NY         12788602         WEITZ & LUXENBERG, PC
SHAPIRO              ALAN                  NY         19029812         WEITZ & LUXENBERG, PC                                SHEEHAN              COLLEEN               NY         02121476         WEITZ & LUXENBERG, PC
SHAPIRO              BARBARA               NY         11303300         WEITZ & LUXENBERG, PC                                SHEEHAN              DENIS                 NY         10023203         WEITZ & LUXENBERG, PC
SHAPIRO              ROBERT                NY         19029812         WEITZ & LUXENBERG, PC                                SHEEHAN              EDWARD                NY         12788602         WEITZ & LUXENBERG, PC
SHAPIRO              ROGER                 NY         11303300         WEITZ & LUXENBERG, PC                                SHEEHAN              ELEANOR               NY         11268400         WEITZ & LUXENBERG, PC
SHAPIRO              SHERRY L              NY         02118429         WEITZ & LUXENBERG, PC                                SHEEHAN              JUDY                  NY         10547299         WEITZ & LUXENBERG, PC
SHARICK              PAULINE               NY         11303200         WEITZ & LUXENBERG, PC                                SHEEHAN              MARK                  NY         10547299         WEITZ & LUXENBERG, PC
SHARICK              WILBUR                NY         11303200         WEITZ & LUXENBERG, PC                                SHEEHAN              MICHAEL               NY         11268400         WEITZ & LUXENBERG, PC
SHARKEY              ELIZABETH             NY         11303100         WEITZ & LUXENBERG, PC                                SHEEHAN              PATRICIA              NY         02121476         WEITZ & LUXENBERG, PC
SHARKEY              JOHN                  NY         12113401         WEITZ & LUXENBERG, PC                                SHEEHAN              WALTER P              NY         11268400         WEITZ & LUXENBERG, PC
SHARKEY              JOHN                  NY         01111224         WEITZ & LUXENBERG, PC                                SHEEHAN              WILLIAM               NY         12668102         WEITZ & LUXENBERG, PC
SHARKEY              JOHN J                NY         11524000         WEITZ & LUXENBERG, PC                                SHEERER              RONALD J              NY         02107005         WEITZ & LUXENBERG, PC
SHARKEY              LINDA J               NY         12367102         WEITZ & LUXENBERG, PC                                SHEETS               LARRY W               NY         02106694         WEITZ & LUXENBERG, PC
SHARKEY              MARGARET              NY         11524000         WEITZ & LUXENBERG, PC                                SHEETS               SUSAN                 NY         10618100         WEITZ & LUXENBERG, PC
SHARKEY              ROBERT M              NY         11303100         WEITZ & LUXENBERG, PC                                SHEETZ               MICHELLE              NY         11070801         WEITZ & LUXENBERG, PC
SHARKEY              WAYNE                 NY         12113401         WEITZ & LUXENBERG, PC                                SHEFFIELD            PEGGY T               NY         1901842017       WEITZ & LUXENBERG, PC
SHARKEY              WAYNE                 NY         01111224         WEITZ & LUXENBERG, PC                                SHEFFIELD            WILLIAM E             NY         1901842017       WEITZ & LUXENBERG, PC
SHARLAND             GARY A                NY         10670402         WEITZ & LUXENBERG, PC                                SHELBY               ARLENE                NY         10669502         WEITZ & LUXENBERG, PC
SHARLAND             JANICE M              NY         10670402         WEITZ & LUXENBERG, PC                                SHELBY               CHARLES               NY         10669502         WEITZ & LUXENBERG, PC
SHARLOW              WILLIAM K             NY         10680602         WEITZ & LUXENBERG, PC                                SHELDON              ALLIE                 NY         CV014463         WEITZ & LUXENBERG, PC
SHARP                CARLETON C            NY         11685306         WEITZ & LUXENBERG, PC                                SHELDON              ROBERT                NY         CV014463         WEITZ & LUXENBERG, PC
SHARP                RICHARD T             NY         12039701         WEITZ & LUXENBERG, PC                                SHELTON              BILLY                 NY         CV014041         WEITZ & LUXENBERG, PC
SHARPE               MARCIA EMILIE         NY         02120706         WEITZ & LUXENBERG, PC                                SHELTON              JAMES T               NY         11268300         WEITZ & LUXENBERG, PC
SHARRICK             CATHERINE             NY         11303000         WEITZ & LUXENBERG, PC                                SHELTON              NENA M                NY         1901652015       WEITZ & LUXENBERG, PC
SHARRICK             WESLEY                NY         11303000         WEITZ & LUXENBERG, PC                                SHELTON              SARAH F               NY         CV014041         WEITZ & LUXENBERG, PC
SHATRAW              ELLA M                NY         99120266         WEITZ & LUXENBERG, PC                                SHELTON              VIRGINIA              NY         11268300         WEITZ & LUXENBERG, PC
SHATRAW              JOHN F                NY         99120266         WEITZ & LUXENBERG, PC                                SHENK                MARY T                NY         10710102         WEITZ & LUXENBERG, PC
SHAUL                GERTRUDE              NY         11268800         WEITZ & LUXENBERG, PC                                SHENK                THELMA                NY         11342202         WEITZ & LUXENBERG, PC
SHAUL                PERRY                 NY         11268800         WEITZ & LUXENBERG, PC                                SHENK                THELMA                NY         10722002         WEITZ & LUXENBERG, PC
SHAVER               CHARLES RAY           NY         19000910         WEITZ & LUXENBERG, PC                                SHENK                WALTER E              NY         10710102         WEITZ & LUXENBERG, PC
SHAVER               EVERETT E             NY         10740202         WEITZ & LUXENBERG, PC                                SHENK                WILLIAM               NY         11342202         WEITZ & LUXENBERG, PC
SHAW                 BERNARD               NY         11268700         WEITZ & LUXENBERG, PC                                SHENK                WILLIAM H             NY         10722002         WEITZ & LUXENBERG, PC
SHAW                 CATHLYNE              NY         11268600         WEITZ & LUXENBERG, PC                                SHENK                WILLIAM H             NY         11342202         WEITZ & LUXENBERG, PC
SHAW                 FA                    NY         10680802         WEITZ & LUXENBERG, PC                                SHEPARD              DEAN W                NY         11249699         WEITZ & LUXENBERG, PC
SHAW                 FRANK                 NY         19029511         WEITZ & LUXENBERG, PC                                SHEPARD              JANELLE               NY         01CIV3901        WEITZ & LUXENBERG, PC
SHAW                 GEORGE                NY         10680802         WEITZ & LUXENBERG, PC                                SHEPARD              JIMMY LYNN            NY         01CIV3901        WEITZ & LUXENBERG, PC
SHAW                 KEITH S               NY         10548899         WEITZ & LUXENBERG, PC                                SHEPARD              JOHN                  NY         10696402         WEITZ & LUXENBERG, PC
SHAW                 MADGE L               NY         19029511         WEITZ & LUXENBERG, PC                                SHEPARD              MARGARET              NY         10696402         WEITZ & LUXENBERG, PC
SHAW                 MARGARET J            NY         10548899         WEITZ & LUXENBERG, PC                                SHEPARD              MARY E                NY         11249699         WEITZ & LUXENBERG, PC
SHAW                 MARTHA J              NY         11787700         WEITZ & LUXENBERG, PC                                SHEPARD              ROBERT                NY         12788602         WEITZ & LUXENBERG, PC
SHAW                 MILROY M              NY         11787700         WEITZ & LUXENBERG, PC                                SHEPARD              ROSALIE               NY         12788602         WEITZ & LUXENBERG, PC
SHAW                 RAYMOND ROGER         NY         11268600         WEITZ & LUXENBERG, PC                                SHEPHARD             BARRY W               NY         10740502         WEITZ & LUXENBERG, PC
SHAW                 RICHARD E             NY         10548999         WEITZ & LUXENBERG, PC                                SHEPHARD             DARLEEN               NY         10740502         WEITZ & LUXENBERG, PC
SHAW                 ROSA L                NY         1901912016       WEITZ & LUXENBERG, PC                                SHEPHERD             GLENDA G              NY         01CIV3895        WEITZ & LUXENBERG, PC
SHAW                 RUSSEL T              NY         01111660         WEITZ & LUXENBERG, PC                                SHEPPARD             ERNEST                NY         12219599         WEITZ & LUXENBERG, PC
SHAW                 RUTH                  NY         CV025685         WEITZ & LUXENBERG, PC                                SHEPPARD             LOUISE                NY         10871101         WEITZ & LUXENBERG, PC
SHAWHAN              ANN D                 NY         11937900         WEITZ & LUXENBERG, PC                                SHEPPARD             MARTIN J              NY         10871101         WEITZ & LUXENBERG, PC
SHAWHAN              JOHN B                NY         11937900         WEITZ & LUXENBERG, PC                                SHEPPERSON           MORTON                NY         01111221         WEITZ & LUXENBERG, PC
SHAY                 RICHARD M             NY         10740002         WEITZ & LUXENBERG, PC                                SHEPS                MARIA                 NY         12039001         WEITZ & LUXENBERG, PC
SHEA                 ANNE                  NY         10835003         WEITZ & LUXENBERG, PC                                SHEPS                MARIA                 NY         12394801         WEITZ & LUXENBERG, PC
SHEA                 DENNIS                NY         10549099         WEITZ & LUXENBERG, PC                                SHEPS                STANFORD A            NY         12039001         WEITZ & LUXENBERG, PC
SHEA                 GERALD F              NY         11026802         WEITZ & LUXENBERG, PC                                SHEPS                STANFORD A            NY         12394801         WEITZ & LUXENBERG, PC
SHEA                 HARRY                 NY         10549199         WEITZ & LUXENBERG, PC                                SHERALD              ERICK                 NY         12219599         WEITZ & LUXENBERG, PC
SHEA                 JEAN                  NY         10871101         WEITZ & LUXENBERG, PC                                SHERIDAN             BILLY RAY             NY         CV02411          WEITZ & LUXENBERG, PC
SHEA                 LIBBY M               NY         10549099         WEITZ & LUXENBERG, PC                                SHERIDAN             CECELIA               NY         11071700         WEITZ & LUXENBERG, PC
SHEA                 PAT                   NY         10549199         WEITZ & LUXENBERG, PC                                SHERIDAN             CECELIA               NY         12219599         WEITZ & LUXENBERG, PC
SHEA                 ROBERT J              NY         10835003         WEITZ & LUXENBERG, PC                                SHERIDAN             CECELIA A             NY         11071700         WEITZ & LUXENBERG, PC
SHEA                 WILLIAM JAMES         NY         10871101         WEITZ & LUXENBERG, PC                                SHERIDAN             CHARLES E             NY         11071800         WEITZ & LUXENBERG, PC
SHEAHAN              KINGSTON              NY         19032509         WEITZ & LUXENBERG, PC                                SHERIDAN             CHARLES E             NY         12219599         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1061
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 396 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SHERIDAN             DW                    NY         00CIV6929        WEITZ & LUXENBERG, PC                                SHORT                ANGIE                 NY         CV022570         WEITZ & LUXENBERG, PC
SHERIDAN             JOSEPH                NY         11071700         WEITZ & LUXENBERG, PC                                SHORT                BEATRICE              NY         11432403         WEITZ & LUXENBERG, PC
SHERIDAN             JOSEPH                NY         12219599         WEITZ & LUXENBERG, PC                                SHORT                DOROTHY E             NY         10680602         WEITZ & LUXENBERG, PC
SHERIDAN             KEITH W               NY         10696402         WEITZ & LUXENBERG, PC                                SHORT                DOROTHY E             NY         11050102         WEITZ & LUXENBERG, PC
SHERIDAN             KEITH W               NY         11212502         WEITZ & LUXENBERG, PC                                SHORT                FLORENCE              NY         11071200         WEITZ & LUXENBERG, PC
SHERIDAN             LEONA                 NY         CV017618         WEITZ & LUXENBERG, PC                                SHORT                FLORENCE              NY         12219599         WEITZ & LUXENBERG, PC
SHERIDAN             LINDA                 NY         00CIV6929        WEITZ & LUXENBERG, PC                                SHORT                FREDERICK B           NY         11432403         WEITZ & LUXENBERG, PC
SHERIDAN             MICHAEL WAYNE         NY         CV017618         WEITZ & LUXENBERG, PC                                SHORT                GLEN HAROLD           NY         CV022570         WEITZ & LUXENBERG, PC
SHERIDAN             ROBERT J              NY         10696402         WEITZ & LUXENBERG, PC                                SHORT                JOSHUA                NY         11071300         WEITZ & LUXENBERG, PC
SHERIDAN             ROBERT J              NY         11212502         WEITZ & LUXENBERG, PC                                SHORT                JOSHUA                NY         12219599         WEITZ & LUXENBERG, PC
SHERLOCK             MARGARET              NY         12039501         WEITZ & LUXENBERG, PC                                SHORT                KEVIN R               NY         8058102015       WEITZ & LUXENBERG, PC
SHERLOCK             MARGARET              NY         10956202         WEITZ & LUXENBERG, PC                                SHORT                LOWELL E              NY         10680602         WEITZ & LUXENBERG, PC
SHERLOCK             PATRICK J             NY         12039501         WEITZ & LUXENBERG, PC                                SHORT                LOWELL E              NY         11050102         WEITZ & LUXENBERG, PC
SHERLOCK             PATRICK J             NY         10956202         WEITZ & LUXENBERG, PC                                SHORT                ROBERT E              NY         11071200         WEITZ & LUXENBERG, PC
SHERMAN              ANGELINE              NY         02120709         WEITZ & LUXENBERG, PC                                SHORT                ROBERT E              NY         12219599         WEITZ & LUXENBERG, PC
SHERMAN              ARTHUR                NY         12057203         WEITZ & LUXENBERG, PC                                SHORTER              KAREN                 NY         10669502         WEITZ & LUXENBERG, PC
SHERMAN              CHARLES B             NY         12668702         WEITZ & LUXENBERG, PC                                SHORTER              ROBERT C              NY         10669502         WEITZ & LUXENBERG, PC
SHERMAN              CHARLES R             NY         12668502         WEITZ & LUXENBERG, PC                                SHORTER              THELMA                NY         00CIV3589        WEITZ & LUXENBERG, PC
SHERMAN              MONROE A              NY         02120709         WEITZ & LUXENBERG, PC                                SHORTER              WILLIE LEE            NY         00CIV3589        WEITZ & LUXENBERG, PC
SHERMAN              RHODA                 NY         12057203         WEITZ & LUXENBERG, PC                                SHOVA                GERALDINE             NY         10700002         WEITZ & LUXENBERG, PC
SHERR                ABRAHAM               NY         10306202         WEITZ & LUXENBERG, PC                                SHOVA                RALPH R               NY         10700002         WEITZ & LUXENBERG, PC
SHERRON              BRENDA                NY         11123201         WEITZ & LUXENBERG, PC                                SHRAMEK              GENEVIEVE N           NY         12039401         WEITZ & LUXENBERG, PC
SHERRON              FRED G                NY         11123201         WEITZ & LUXENBERG, PC                                SHRAMEK              GENEVIEVE N           NY         10576902         WEITZ & LUXENBERG, PC
SHERRY               ARTHUR                NY         10415100         WEITZ & LUXENBERG, PC                                SHRECK               CATHERINE             NY         10797999         WEITZ & LUXENBERG, PC
SHERRY               MARY                  NY         10415100         WEITZ & LUXENBERG, PC                                SHROBA               VINCENT T             NY         10428801         WEITZ & LUXENBERG, PC
SHERWIN              GEORGE MILTON         NY         12219599         WEITZ & LUXENBERG, PC                                SHUFFIELD            JOANN                 NY         CV016600         WEITZ & LUXENBERG, PC
SHERWIN              JUNE R                NY         12219599         WEITZ & LUXENBERG, PC                                SHUFFIELD            PAUL                  NY         CV016600         WEITZ & LUXENBERG, PC
SHERWIN              RONALD L              NY         10700002         WEITZ & LUXENBERG, PC                                SHUGART              ALBERT                NY         CV016249         WEITZ & LUXENBERG, PC
SHERWOOD             PERCIVAL              NY         02107005         WEITZ & LUXENBERG, PC                                SHUGART              MARILYN               NY         CV016249         WEITZ & LUXENBERG, PC
SHERWOOD             REBECCA A             NY         10587002         WEITZ & LUXENBERG, PC                                SHUMATE              CAROLE                NY         11524500         WEITZ & LUXENBERG, PC
SHERWOOD             REBECCA A             NY         10877602         WEITZ & LUXENBERG, PC                                SHUMATE              FRANKLIN R            NY         11524500         WEITZ & LUXENBERG, PC
SHERWOOD             SHARON                NY         02105716         WEITZ & LUXENBERG, PC                                SHURELDS             GLORIA                NY         10428700         WEITZ & LUXENBERG, PC
SHERWOOD             TERRY P               NY         10587002         WEITZ & LUXENBERG, PC                                SHURIN               BARNEY                NY         10716802         WEITZ & LUXENBERG, PC
SHERWOOD             TERRY P               NY         10877602         WEITZ & LUXENBERG, PC                                SHURIN               BEATRICE              NY         10716802         WEITZ & LUXENBERG, PC
SHERWOOD             WILLIAM J             NY         02105716         WEITZ & LUXENBERG, PC                                SHURTLEFF            HAROLD W              NY         CV016601         WEITZ & LUXENBERG, PC
SHEUMAKER            LINDA                 NY         1905402012       WEITZ & LUXENBERG, PC                                SHURTLEFF            LINDA                 NY         CV016601         WEITZ & LUXENBERG, PC
SHEUMAKER            MERLE R               NY         1905402012       WEITZ & LUXENBERG, PC                                SHUSS                LEO D                 NY         1900792014       WEITZ & LUXENBERG, PC
SHEVLIN              ELAYNE                NY         12039301         WEITZ & LUXENBERG, PC                                SHUTES               CAROL                 NY         CV025685         WEITZ & LUXENBERG, PC
SHEVLIN              ELAYNE                NY         10369402         WEITZ & LUXENBERG, PC                                SHUTES               CHARLES RAY           NY         CV025685         WEITZ & LUXENBERG, PC
SHEVLIN              VINCENT J             NY         12039301         WEITZ & LUXENBERG, PC                                SHUTT                FRED R                NY         10740502         WEITZ & LUXENBERG, PC
SHEVLIN              VINCENT J             NY         10369402         WEITZ & LUXENBERG, PC                                SHUTT                FRED R                NY         11413902         WEITZ & LUXENBERG, PC
SHIEL                DONNA                 NY         02107005         WEITZ & LUXENBERG, PC                                SHUTTER              NANCY L               NY         1902592016       WEITZ & LUXENBERG, PC
SHIEL                DONNA                 NY         11627102         WEITZ & LUXENBERG, PC                                SIALIANO             BEATRICE              NY         10708501         WEITZ & LUXENBERG, PC
SHIELDS              ANDREW H              NY         10892204         WEITZ & LUXENBERG, PC                                SIALIANO             BEATRICE              NY         11937900         WEITZ & LUXENBERG, PC
SHIELDS              HAVIS BREWER          NY         01CIV3900        WEITZ & LUXENBERG, PC                                SIALIANO             JOHN P                NY         10708501         WEITZ & LUXENBERG, PC
SHIELDS              JEAN RAE              NY         10892204         WEITZ & LUXENBERG, PC                                SIALIANO             JOHN P                NY         11937900         WEITZ & LUXENBERG, PC
SHIELDS              ROXIE                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                SIANI                EDWARD P              NY         10132903         WEITZ & LUXENBERG, PC
SHIKARIDES           ANDREW                NY         01111222         WEITZ & LUXENBERG, PC                                SIANO                ANITA                 NY         11123101         WEITZ & LUXENBERG, PC
SHIKARIDES           BARBARA M             NY         01111222         WEITZ & LUXENBERG, PC                                SIANO                JERRY                 NY         01111236         WEITZ & LUXENBERG, PC
SHIN                 CAROL J               NY         11071500         WEITZ & LUXENBERG, PC                                SIANO                JERRY                 NY         12182901         WEITZ & LUXENBERG, PC
SHIN                 CAROL J               NY         12219599         WEITZ & LUXENBERG, PC                                SIANO                JOHN                  NY         10547999         WEITZ & LUXENBERG, PC
SHIN                 ROBERT                NY         11071500         WEITZ & LUXENBERG, PC                                SIANO                JOSEPH                NY         10708401         WEITZ & LUXENBERG, PC
SHIN                 ROBERT                NY         12219599         WEITZ & LUXENBERG, PC                                SIANO                JOSEPH                NY         11937900         WEITZ & LUXENBERG, PC
SHINE                JOHN                  NY         10023403         WEITZ & LUXENBERG, PC                                SIANO                PHILIP M              NY         11123101         WEITZ & LUXENBERG, PC
SHINE                MARGARET MARY         NY         10023403         WEITZ & LUXENBERG, PC                                SIANO                RHODA                 NY         01111236         WEITZ & LUXENBERG, PC
SHIPE                BEVERLY ANN           NY         02106707         WEITZ & LUXENBERG, PC                                SIANO                RHODA                 NY         12182901         WEITZ & LUXENBERG, PC
SHIPE                VINCENT A             NY         02106707         WEITZ & LUXENBERG, PC                                SIBIGA               CASIMIR               NY         10708301         WEITZ & LUXENBERG, PC
SHIPE                VINCENT A             NY         12444402         WEITZ & LUXENBERG, PC                                SIBIGA               CASIMIR               NY         11937900         WEITZ & LUXENBERG, PC
SHIPE                VINCENT JOHN          NY         12444402         WEITZ & LUXENBERG, PC                                SIBIGA               JOHN T                NY         10645702         WEITZ & LUXENBERG, PC
SHIPOSKI             FIORINA               NY         12307300         WEITZ & LUXENBERG, PC                                SIBIGA               PATRICIA              NY         10645702         WEITZ & LUXENBERG, PC
SHIPOSKI             GEORGE J              NY         12307300         WEITZ & LUXENBERG, PC                                SIBIGA               WANDA                 NY         10708301         WEITZ & LUXENBERG, PC
SHIPPEE              JAMES E               NY         11024704         WEITZ & LUXENBERG, PC                                SIBIGA               WANDA                 NY         11937900         WEITZ & LUXENBERG, PC
SHIPPEY              HOWARD F              NY         10669502         WEITZ & LUXENBERG, PC                                SICILIANO            CAROL L               NY         10587002         WEITZ & LUXENBERG, PC
SHIRLEY              ROBERT E              NY         11071400         WEITZ & LUXENBERG, PC                                SICILIANO            DOMINIC               NY         10587002         WEITZ & LUXENBERG, PC
SHIRLEY              ROBERT E              NY         12219599         WEITZ & LUXENBERG, PC                                SICILIANO            GLORIA E              NY         10708201         WEITZ & LUXENBERG, PC
SHISLER              HARRY                 NY         19024311         WEITZ & LUXENBERG, PC                                SICILIANO            GLORIA E              NY         11937900         WEITZ & LUXENBERG, PC
SHISLER              JANE                  NY         19024311         WEITZ & LUXENBERG, PC                                SICILIANO            JOHN                  NY         10708201         WEITZ & LUXENBERG, PC
SHOEMAKER            JAMES                 NY         12788602         WEITZ & LUXENBERG, PC                                SICILIANO            JOHN                  NY         11937900         WEITZ & LUXENBERG, PC
SHOEMAKER            NANCY                 NY         12788602         WEITZ & LUXENBERG, PC                                SICKER               GERARD J              NY         11071100         WEITZ & LUXENBERG, PC
SHOPE                JERRY                 NY         CV016599         WEITZ & LUXENBERG, PC                                SICKER               GERARD J              NY         12219599         WEITZ & LUXENBERG, PC
SHOPE                MARY FRANCES          NY         CV016599         WEITZ & LUXENBERG, PC                                SIDDONS              JOSEPH                NY         1901772017       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1062
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 397 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SIDDONS              MICHAEL J             NY         1901462019       WEITZ & LUXENBERG, PC                                SILER                GLADYS                NY         00CIV3589        WEITZ & LUXENBERG, PC
SIDER                ALEXANDER             NY         11071000         WEITZ & LUXENBERG, PC                                SILHAN               HENRY P               NY         11369104         WEITZ & LUXENBERG, PC
SIDER                ALEXANDER             NY         12219599         WEITZ & LUXENBERG, PC                                SILHAN               MARION J              NY         11369104         WEITZ & LUXENBERG, PC
SIDER                BETTY                 NY         11071000         WEITZ & LUXENBERG, PC                                SILICKI              BOGDAN                NY         12219599         WEITZ & LUXENBERG, PC
SIDER                BETTY                 NY         12219599         WEITZ & LUXENBERG, PC                                SILLER               JAMES D               NY         10587102         WEITZ & LUXENBERG, PC
SIDERI               JOYA                  NY         01CIV7365        WEITZ & LUXENBERG, PC                                SILLER               PATRICIA A            NY         10587102         WEITZ & LUXENBERG, PC
SIDERI               WARREN                NY         01CIV7365        WEITZ & LUXENBERG, PC                                SILMENSBERGER        WILLIAM P             NY         11355603         WEITZ & LUXENBERG, PC
SIDES                DAVID                 NY         11769903         WEITZ & LUXENBERG, PC                                SILVA                ALICE                 NY         10708001         WEITZ & LUXENBERG, PC
SIDES                RAQUEL                NY         11769903         WEITZ & LUXENBERG, PC                                SILVA                ALICE                 NY         11937900         WEITZ & LUXENBERG, PC
SIDES                SAM                   NY         11769903         WEITZ & LUXENBERG, PC                                SILVA                DIANE                 NY         10001203         WEITZ & LUXENBERG, PC
SIDORSKI             LEONARD               NY         10716802         WEITZ & LUXENBERG, PC                                SILVA                ELISE                 NY         11524700         WEITZ & LUXENBERG, PC
SIDOTI               CHARLES               NY         19005708         WEITZ & LUXENBERG, PC                                SILVA                HIRAM                 NY         11524700         WEITZ & LUXENBERG, PC
SIDOTI               CHARLES ANTHONY       NY         19005708         WEITZ & LUXENBERG, PC                                SILVA                JOSEPH                NY         10708001         WEITZ & LUXENBERG, PC
SIDOTI               JENNIE                NY         19005708         WEITZ & LUXENBERG, PC                                SILVA                JOSEPH                NY         11937900         WEITZ & LUXENBERG, PC
SIEBERT              BARBARA               NY         10680702         WEITZ & LUXENBERG, PC                                SILVA                RICHARD               NY         10001203         WEITZ & LUXENBERG, PC
SIEBERT              DENISE                NY         99105617         WEITZ & LUXENBERG, PC                                SILVEIRA             ARMANDO               NY         11159403         WEITZ & LUXENBERG, PC
SIEBERT              FREDERICK L           NY         10680702         WEITZ & LUXENBERG, PC                                SILVEIRA             ELVIRA                NY         11159403         WEITZ & LUXENBERG, PC
SIEBERT              GEORGE V              NY         99105617         WEITZ & LUXENBERG, PC                                SILVER               EILEEN M              NY         10416100         WEITZ & LUXENBERG, PC
SIEG                 ANN                   NY         02105718         WEITZ & LUXENBERG, PC                                SILVER               WARREN B              NY         10416100         WEITZ & LUXENBERG, PC
SIEG                 BERNARD J             NY         02105718         WEITZ & LUXENBERG, PC                                SILVERBERG           ISRAEL I              NY         10561399         WEITZ & LUXENBERG, PC
SIEGEL               BERNARD               NY         02107006         WEITZ & LUXENBERG, PC                                SILVERBERG           LOTTIE                NY         10561399         WEITZ & LUXENBERG, PC
SIEGEL               JOSEPH A              NY         10716702         WEITZ & LUXENBERG, PC                                SILVERMAN            IRWIN                 NY         12668102         WEITZ & LUXENBERG, PC
SIEGEL               JOSEPH A              NY         11277002         WEITZ & LUXENBERG, PC                                SILVERMAN            MARILYN               NY         12668102         WEITZ & LUXENBERG, PC
SIEGEL               KATHLEEN              NY         10871101         WEITZ & LUXENBERG, PC                                SILVESTRI            PAULA                 NY         1901712017       WEITZ & LUXENBERG, PC
SIEGEL               PHILIP M              NY         10871101         WEITZ & LUXENBERG, PC                                SILVESTRI            VINCENT J             NY         1901712017       WEITZ & LUXENBERG, PC
SIEGEL               SUSAN                 NY         11277002         WEITZ & LUXENBERG, PC                                SILVIS               FREDRIC M             NY         10563499         WEITZ & LUXENBERG, PC
SIEGLER              MARGARET              NY         02107102         WEITZ & LUXENBERG, PC                                SIMAR                CYNTHIA               NY         19019211         WEITZ & LUXENBERG, PC
SIEGLER              MICHAEL G             NY         02107102         WEITZ & LUXENBERG, PC                                SIMAR                ROBERT                NY         19019211         WEITZ & LUXENBERG, PC
SIEGLITZ             ALBERT                NY         12043301         WEITZ & LUXENBERG, PC                                SIMAT                MARIO                 NY         1902152015       WEITZ & LUXENBERG, PC
SIEGLITZ             ALBERT                NY         12416201         WEITZ & LUXENBERG, PC                                SIMAT                MARLENE               NY         1902152015       WEITZ & LUXENBERG, PC
SIEGLITZ             ALBERT                NY         12416101         WEITZ & LUXENBERG, PC                                SIMCOX               GEORGE GORDON         NY         11070700         WEITZ & LUXENBERG, PC
SIEGLITZ             RICHARD E             NY         12043301         WEITZ & LUXENBERG, PC                                SIMCOX               GEORGE GORDON         NY         12219599         WEITZ & LUXENBERG, PC
SIEGLITZ             RICHARD E             NY         12416201         WEITZ & LUXENBERG, PC                                SIMEK                MARCIA M              NY         02107006         WEITZ & LUXENBERG, PC
SIEGLITZ             RICHARD E             NY         12416101         WEITZ & LUXENBERG, PC                                SIMEK                ROBERT L              NY         02107006         WEITZ & LUXENBERG, PC
SIEGLITZ             ROSALIND E            NY         12043301         WEITZ & LUXENBERG, PC                                SIMICICH             EDWARD                NY         10871101         WEITZ & LUXENBERG, PC
SIEGLITZ             ROSALIND E            NY         12416101         WEITZ & LUXENBERG, PC                                SIMMONS              ANNA                  NY         11070600         WEITZ & LUXENBERG, PC
SIEGLITZ             ROSALIND E            NY         12416201         WEITZ & LUXENBERG, PC                                SIMMONS              ANNA                  NY         12219599         WEITZ & LUXENBERG, PC
SIEMBIDA             EDWARD                NY         02106693         WEITZ & LUXENBERG, PC                                SIMMONS              BARBARA               NY         10680702         WEITZ & LUXENBERG, PC
SIEMS                FRANCIS               NY         01111236         WEITZ & LUXENBERG, PC                                SIMMONS              BARBARA               NY         11090002         WEITZ & LUXENBERG, PC
SIEMS                RICHARD               NY         01111236         WEITZ & LUXENBERG, PC                                SIMMONS              CAROLYN               NY         01122139         WEITZ & LUXENBERG, PC
SIENKIEWYCZ          ALEX A                NY         10669102         WEITZ & LUXENBERG, PC                                SIMMONS              CHARLES W             NY         20016585         WEITZ & LUXENBERG, PC
SIERING              DONALD E              NY         10708101         WEITZ & LUXENBERG, PC                                SIMMONS              CHARLIE               NY         01122139         WEITZ & LUXENBERG, PC
SIERING              DONALD E              NY         11937900         WEITZ & LUXENBERG, PC                                SIMMONS              DELBERT ARTHUR        NY         11937900         WEITZ & LUXENBERG, PC
SIERING              DONALD E              NY         10679706         WEITZ & LUXENBERG, PC                                SIMMONS              DONALD A              NY         10680602         WEITZ & LUXENBERG, PC
SIERING              ELIZABETH             NY         10708101         WEITZ & LUXENBERG, PC                                SIMMONS              DORIS I               NY         20016585         WEITZ & LUXENBERG, PC
SIERING              ELIZABETH             NY         11937900         WEITZ & LUXENBERG, PC                                SIMMONS              DOUGLAS J             NY         10716802         WEITZ & LUXENBERG, PC
SIERING              ELIZABETH             NY         10679706         WEITZ & LUXENBERG, PC                                SIMMONS              DOUGLAS J             NY         11239302         WEITZ & LUXENBERG, PC
SIEWERTSEN           FRAUKE                NY         12043101         WEITZ & LUXENBERG, PC                                SIMMONS              EDWARD J              NY         12668502         WEITZ & LUXENBERG, PC
SIEWERTSEN           FRAUKE                NY         12359601         WEITZ & LUXENBERG, PC                                SIMMONS              ETHEL G               NY         11937900         WEITZ & LUXENBERG, PC
SIEWERTSEN           HANS                  NY         12043101         WEITZ & LUXENBERG, PC                                SIMMONS              GRETCHEN              NY         12039201         WEITZ & LUXENBERG, PC
SIEWERTSEN           HANS                  NY         12359601         WEITZ & LUXENBERG, PC                                SIMMONS              IVORY K               NY         10716802         WEITZ & LUXENBERG, PC
SIGNORELLI           JENNIFER              NY         1901362015       WEITZ & LUXENBERG, PC                                SIMMONS              IVORY K               NY         11239302         WEITZ & LUXENBERG, PC
SIGNORELLI           PATSY P               NY         11524600         WEITZ & LUXENBERG, PC                                SIMMONS              JOHN L                NY         10680702         WEITZ & LUXENBERG, PC
SIGNORELLI           PHYLLIS               NY         11524600         WEITZ & LUXENBERG, PC                                SIMMONS              JOHN L                NY         11090002         WEITZ & LUXENBERG, PC
SIGNORELLI           WAYNE                 NY         1901362015       WEITZ & LUXENBERG, PC                                SIMMONS              JOSEPH                NY         11872301         WEITZ & LUXENBERG, PC
SIGNORIELLO          FRANK                 NY         1900202018       WEITZ & LUXENBERG, PC                                SIMMONS              JOSEPH                NY         01111233         WEITZ & LUXENBERG, PC
SIGNORIELLO          GEORGE W              NY         10559305         WEITZ & LUXENBERG, PC                                SIMMONS              LEWIS H               NY         11070600         WEITZ & LUXENBERG, PC
SIGNORIELLO          PATRICIA              NY         1900202018       WEITZ & LUXENBERG, PC                                SIMMONS              LEWIS H               NY         12219599         WEITZ & LUXENBERG, PC
SIKORSKI             JOSEPH JOHN           NY         10716702         WEITZ & LUXENBERG, PC                                SIMMONS              MAUREEN               NY         11872301         WEITZ & LUXENBERG, PC
SIKORSKI             STANLEY               NY         02105713         WEITZ & LUXENBERG, PC                                SIMMONS              MAUREEN               NY         01111233         WEITZ & LUXENBERG, PC
SIKORSKI             THOMAS F              NY         10716802         WEITZ & LUXENBERG, PC                                SIMMONS              NORMA                 NY         11070500         WEITZ & LUXENBERG, PC
SILDAR               AUGUST F              NY         11872201         WEITZ & LUXENBERG, PC                                SIMMONS              NORMA                 NY         12219599         WEITZ & LUXENBERG, PC
SILDAR               AUGUST F              NY         01111233         WEITZ & LUXENBERG, PC                                SIMMONS              OLLIE MAE             NY         CV016602         WEITZ & LUXENBERG, PC
SILDAR               MENA                  NY         11872201         WEITZ & LUXENBERG, PC                                SIMMONS              RICHARD O             NY         12039201         WEITZ & LUXENBERG, PC
SILDAR               MENA                  NY         01111233         WEITZ & LUXENBERG, PC                                SIMMONS              ROBERT J              NY         10074103         WEITZ & LUXENBERG, PC
SILECCHIA            ANGELO                NY         10561499         WEITZ & LUXENBERG, PC                                SIMMONS              ROBERT LEON           NY         CV016602         WEITZ & LUXENBERG, PC
SILEO                FRANCIS               NY         10774403         WEITZ & LUXENBERG, PC                                SIMMONS              ROSE M                NY         12668502         WEITZ & LUXENBERG, PC
SILEO                FRANCIS               NY         01111218         WEITZ & LUXENBERG, PC                                SIMMONS              ROSEMARY L            NY         10680602         WEITZ & LUXENBERG, PC
SILEO                FRED P                NY         10774403         WEITZ & LUXENBERG, PC                                SIMMONS              SHERMAN               NY         11070500         WEITZ & LUXENBERG, PC
SILEO                FRED P                NY         01111218         WEITZ & LUXENBERG, PC                                SIMMONS              SHERMAN               NY         12219599         WEITZ & LUXENBERG, PC
SILER                ERNEST E              NY         00CIV3589        WEITZ & LUXENBERG, PC                                SIMMS                DIANE                 NY         01CIV3901        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1063
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 398 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SIMMS                ROBERT W              NY         CV012256         WEITZ & LUXENBERG, PC                                SINERI               MARIA                 NY         11937900         WEITZ & LUXENBERG, PC
SIMMS                RUTH ELAINE           NY         CV012256         WEITZ & LUXENBERG, PC                                SINES                LEO E                 NY         1901972017       WEITZ & LUXENBERG, PC
SIMON                ANN                   NY         1903412012       WEITZ & LUXENBERG, PC                                SINES                PEGGE                 NY         1901972017       WEITZ & LUXENBERG, PC
SIMON                ISRAEL                NY         10306505         WEITZ & LUXENBERG, PC                                SINESI               GLORIA                NY         11070100         WEITZ & LUXENBERG, PC
SIMON                JOSEPH                NY         1903412012       WEITZ & LUXENBERG, PC                                SINESI               GLORIA                NY         12219599         WEITZ & LUXENBERG, PC
SIMON                JUDITH                NY         19011109         WEITZ & LUXENBERG, PC                                SINESI               MATTHEW ANTHONY       NY         11070100         WEITZ & LUXENBERG, PC
SIMON                LLOYD                 NY         10563299         WEITZ & LUXENBERG, PC                                SINESI               MATTHEW ANTHONY       NY         12219599         WEITZ & LUXENBERG, PC
SIMON                MAUDE H               NY         10563299         WEITZ & LUXENBERG, PC                                SING                 JOHN                  NY         01111225         WEITZ & LUXENBERG, PC
SIMON                PEARL                 NY         10306505         WEITZ & LUXENBERG, PC                                SINGER               MARILYN               NY         19018311         WEITZ & LUXENBERG, PC
SIMONCINI            JOANN                 NY         11623901         WEITZ & LUXENBERG, PC                                SINGER               MARYLA                NY         12039701         WEITZ & LUXENBERG, PC
SIMONCINI            JOANN                 NY         01111221         WEITZ & LUXENBERG, PC                                SINGER               MARYLA                NY         10508302         WEITZ & LUXENBERG, PC
SIMONCINI            SALVATORE             NY         11623901         WEITZ & LUXENBERG, PC                                SINGER               WARREN                NY         19018311         WEITZ & LUXENBERG, PC
SIMONCINI            SALVATORE             NY         01111221         WEITZ & LUXENBERG, PC                                SINGER-KNIGHT        EVELYN                NY         10546600         WEITZ & LUXENBERG, PC
SIMONDS              ETHEL                 NY         10540799         WEITZ & LUXENBERG, PC                                SINGLE               ELEANORE              NY         99120116         WEITZ & LUXENBERG, PC
SIMONDS              GLENN A               NY         10416000         WEITZ & LUXENBERG, PC                                SINGLE               HAROLD                NY         99120116         WEITZ & LUXENBERG, PC
SIMONDS              JOAN T                NY         10416000         WEITZ & LUXENBERG, PC                                SINGLETARY           MARIE                 NY         11070000         WEITZ & LUXENBERG, PC
SIMONDS              LORRAINE              NY         12043201         WEITZ & LUXENBERG, PC                                SINGLETARY           MARIE                 NY         12219599         WEITZ & LUXENBERG, PC
SIMONDS              MICHAEL               NY         12043201         WEITZ & LUXENBERG, PC                                SINGLETARY           WILLARD               NY         11070000         WEITZ & LUXENBERG, PC
SIMONDS              RODERICK K            NY         10540799         WEITZ & LUXENBERG, PC                                SINGLETARY           WILLARD               NY         12219599         WEITZ & LUXENBERG, PC
SIMONE               ANTHONY J             NY         1903372016       WEITZ & LUXENBERG, PC                                SINGLETERY           JAMES                 NY         10562799         WEITZ & LUXENBERG, PC
SIMONE               ANTHONY P             NY         12444102         WEITZ & LUXENBERG, PC                                SINGLETERY           MARY                  NY         10562799         WEITZ & LUXENBERG, PC
SIMONE               ANTHONY P             NY         10322103         WEITZ & LUXENBERG, PC                                SINGLETON            HOYTE LARUE           NY         CV016608         WEITZ & LUXENBERG, PC
SIMONE               CATHERINE             NY         12444102         WEITZ & LUXENBERG, PC                                SINGLETON            MARION                NY         CV016608         WEITZ & LUXENBERG, PC
SIMONE               CATHERINE             NY         10322103         WEITZ & LUXENBERG, PC                                SINGLEY              PATRICIA I            NY         11716100         WEITZ & LUXENBERG, PC
SIMONE               JACLYN                NY         1903372016       WEITZ & LUXENBERG, PC                                SINNOTT              LAURA                 NY         10072301         WEITZ & LUXENBERG, PC
SIMONE               MARK A                NY         12444102         WEITZ & LUXENBERG, PC                                SIPILA               JOHN P                NY         1903532017       WEITZ & LUXENBERG, PC
SIMONE               MARK A                NY         10322103         WEITZ & LUXENBERG, PC                                SIRACUSE             KATHLEEN              NY         10971302         WEITZ & LUXENBERG, PC
SIMONELLI            PATRICIA              NY         11183702         WEITZ & LUXENBERG, PC                                SIRC                 JOSEPH                NY         01111229         WEITZ & LUXENBERG, PC
SIMONS               CHRISTINE             NY         10710102         WEITZ & LUXENBERG, PC                                SIRENA               JUDY                  NY         10950100         WEITZ & LUXENBERG, PC
SIMONS               JOHN C                NY         10710102         WEITZ & LUXENBERG, PC                                SIRENA               JUDY                  NY         99122190         WEITZ & LUXENBERG, PC
SIMPSON              AARON                 NY         10540699         WEITZ & LUXENBERG, PC                                SIRIANI              ANTHONY G             NY         10700302         WEITZ & LUXENBERG, PC
SIMPSON              BERNICE               NY         10415900         WEITZ & LUXENBERG, PC                                SIRICO               CAROL                 NY         10430407         WEITZ & LUXENBERG, PC
SIMPSON              CHARLES               NY         10190803         WEITZ & LUXENBERG, PC                                SIRICO               RICHARD               NY         10430407         WEITZ & LUXENBERG, PC
SIMPSON              EDDIE J               NY         10415900         WEITZ & LUXENBERG, PC                                SISKAVICH            THERESA M             NY         20160411         WEITZ & LUXENBERG, PC
SIMPSON              GLENN E               NY         CV016248         WEITZ & LUXENBERG, PC                                SISOLAK              PATRICIA              NY         11069900         WEITZ & LUXENBERG, PC
SIMPSON              JANET R               NY         10587102         WEITZ & LUXENBERG, PC                                SISOLAK              PATRICIA              NY         12219599         WEITZ & LUXENBERG, PC
SIMPSON              LARRY WAYNE           NY         10707901         WEITZ & LUXENBERG, PC                                SISOLAK              RICHARD M             NY         11069900         WEITZ & LUXENBERG, PC
SIMPSON              LARRY WAYNE           NY         11937900         WEITZ & LUXENBERG, PC                                SISOLAK              RICHARD M             NY         12219599         WEITZ & LUXENBERG, PC
SIMPSON              LOUIS LAMAR           NY         11192702         WEITZ & LUXENBERG, PC                                SISSON               LOWELL R              NY         1900752019       WEITZ & LUXENBERG, PC
SIMPSON              MARRION LUCILLE       NY         CV016244         WEITZ & LUXENBERG, PC                                SISTO                JOSEPH J              NY         10709601         WEITZ & LUXENBERG, PC
SIMPSON              MAUREEN               NY         10540699         WEITZ & LUXENBERG, PC                                SISTO                JOSEPH J              NY         11937900         WEITZ & LUXENBERG, PC
SIMPSON              NATHANIEL             NY         10722002         WEITZ & LUXENBERG, PC                                SISTO                RACHEL                NY         10709601         WEITZ & LUXENBERG, PC
SIMPSON              RICHARD L             NY         10587102         WEITZ & LUXENBERG, PC                                SISTO                RACHEL                NY         11937900         WEITZ & LUXENBERG, PC
SIMPSON              WILLIAM               NY         11070400         WEITZ & LUXENBERG, PC                                SISTROM              DOROTHY E             NY         19021811         WEITZ & LUXENBERG, PC
SIMPSON              WILLIAM               NY         12219599         WEITZ & LUXENBERG, PC                                SISTROM              PETER A               NY         19021811         WEITZ & LUXENBERG, PC
SIMPSON              WILLIAM D             NY         1620022015       WEITZ & LUXENBERG, PC                                SITAREK              LEONARD P             NY         02107004         WEITZ & LUXENBERG, PC
SIMPSON              WILMA                 NY         CV016248         WEITZ & LUXENBERG, PC                                SITEK                EDWARD M              NY         02106690         WEITZ & LUXENBERG, PC
SIMPSON              YVONNE H              NY         00CIV3589        WEITZ & LUXENBERG, PC                                SITORS               MARY DAWN             NY         10562899         WEITZ & LUXENBERG, PC
SIMPSON              ZELMA                 NY         11070400         WEITZ & LUXENBERG, PC                                SITORS               MARY DAWN             NY         10871101         WEITZ & LUXENBERG, PC
SIMPSON              ZELMA                 NY         12219599         WEITZ & LUXENBERG, PC                                SITORS               RICHARD               NY         10562899         WEITZ & LUXENBERG, PC
SIMS                 ALVIN                 NY         CV016607         WEITZ & LUXENBERG, PC                                SITORS               RICHARD               NY         10871101         WEITZ & LUXENBERG, PC
SIMS                 HENRY                 NY         CV012369         WEITZ & LUXENBERG, PC                                SITORS               STANLEY J             NY         10562899         WEITZ & LUXENBERG, PC
SIMS                 JAQUELYN              NY         CV012369         WEITZ & LUXENBERG, PC                                SITORS               STANLEY J             NY         10871101         WEITZ & LUXENBERG, PC
SIMS                 MARILYN DIANE         NY         CV016607         WEITZ & LUXENBERG, PC                                SIUTA                DIANE                 NY         99120286         WEITZ & LUXENBERG, PC
SIMSER               PAUL E                NY         12597102         WEITZ & LUXENBERG, PC                                SIUTA                JOHN                  NY         99120286         WEITZ & LUXENBERG, PC
SIMSER               WANDA                 NY         12597102         WEITZ & LUXENBERG, PC                                SIVERSEN             CHARLES               NY         10591804         WEITZ & LUXENBERG, PC
SINCAVAGE            SHARON                NY         10587202         WEITZ & LUXENBERG, PC                                SIVERSEN             MARY LOU              NY         10591804         WEITZ & LUXENBERG, PC
SINCAVAGE            WILLIAM R             NY         10587202         WEITZ & LUXENBERG, PC                                SIVERT               ANDREW R              NY         11069800         WEITZ & LUXENBERG, PC
SINCLAIR             BETTY                 NY         11018000         WEITZ & LUXENBERG, PC                                SIVERT               ANDREW R              NY         12219599         WEITZ & LUXENBERG, PC
SINCLAIR             GERARD JOSEPH         NY         11070300         WEITZ & LUXENBERG, PC                                SIVERT               CAROLINE              NY         11069800         WEITZ & LUXENBERG, PC
SINCLAIR             GERARD JOSEPH         NY         12219599         WEITZ & LUXENBERG, PC                                SIVERT               CAROLINE              NY         12219599         WEITZ & LUXENBERG, PC
SINCLAIR             JAMES L               NY         11018000         WEITZ & LUXENBERG, PC                                SIX                  BOBBY JOE             NY         11069700         WEITZ & LUXENBERG, PC
SINCLAIR             KATHLEEN MARIAN       NY         11070300         WEITZ & LUXENBERG, PC                                SIX                  BOBBY JOE             NY         12219599         WEITZ & LUXENBERG, PC
SINCLAIR             KATHLEEN MARIAN       NY         12219599         WEITZ & LUXENBERG, PC                                SIX                  DANIEL H              NY         11069700         WEITZ & LUXENBERG, PC
SINCLAIR             MARIE                 NY         11070200         WEITZ & LUXENBERG, PC                                SIX                  DANIEL H              NY         12219599         WEITZ & LUXENBERG, PC
SINCLAIR             MARIE                 NY         12219599         WEITZ & LUXENBERG, PC                                SIX                  MARJORIE              NY         11069700         WEITZ & LUXENBERG, PC
SINCLAIR             RICHARD               NY         11070200         WEITZ & LUXENBERG, PC                                SIX                  MARJORIE              NY         12219599         WEITZ & LUXENBERG, PC
SINCLAIR             RICHARD               NY         12219599         WEITZ & LUXENBERG, PC                                SIZENSKY             ELEANOR M             NY         11074001         WEITZ & LUXENBERG, PC
SINERI               CHARLES F             NY         10709701         WEITZ & LUXENBERG, PC                                SIZENSKY             STEPHEN J             NY         11074001         WEITZ & LUXENBERG, PC
SINERI               CHARLES F             NY         11937900         WEITZ & LUXENBERG, PC                                SKARA                ANTE                  NY         10415800         WEITZ & LUXENBERG, PC
SINERI               MARIA                 NY         10709701         WEITZ & LUXENBERG, PC                                SKEA                 ANN                   NY         11069600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1064
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 399 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SKEA                 ANN                   NY         12219599         WEITZ & LUXENBERG, PC                                SLACK                DIANE                 NY         01CIV3910        WEITZ & LUXENBERG, PC
SKEA                 RALPH                 NY         11069600         WEITZ & LUXENBERG, PC                                SLADE                JENNIE A              NY         11068600         WEITZ & LUXENBERG, PC
SKEA                 RALPH                 NY         12219599         WEITZ & LUXENBERG, PC                                SLADE                JENNIE A              NY         12219599         WEITZ & LUXENBERG, PC
SKEA                 RICHARD C             NY         11069500         WEITZ & LUXENBERG, PC                                SLADE                PHOEBE A              NY         20015814         WEITZ & LUXENBERG, PC
SKEA                 RICHARD C             NY         12219599         WEITZ & LUXENBERG, PC                                SLADE                TIMOTHY W             NY         20015814         WEITZ & LUXENBERG, PC
SKEA                 ROSE E                NY         11069500         WEITZ & LUXENBERG, PC                                SLAGHT               NANCY                 NY         12240897         WEITZ & LUXENBERG, PC
SKEA                 ROSE E                NY         12219599         WEITZ & LUXENBERG, PC                                SLAGHT               WILLIAM               NY         12240897         WEITZ & LUXENBERG, PC
SKEHAN               PHILIP F              NY         11069400         WEITZ & LUXENBERG, PC                                SLATE                HAZEL                 NY         10023403         WEITZ & LUXENBERG, PC
SKEHAN               PHILIP F              NY         12219599         WEITZ & LUXENBERG, PC                                SLATE                MORRIS                NY         10023403         WEITZ & LUXENBERG, PC
SKELDON              ALLEN E               NY         10740102         WEITZ & LUXENBERG, PC                                SLATER               FAAEDAH               NY         1902622017       WEITZ & LUXENBERG, PC
SKELDON              BONNIE                NY         10740102         WEITZ & LUXENBERG, PC                                SLATER               JARVIS                NY         1902622017       WEITZ & LUXENBERG, PC
SKELLEY              BARBARA J             NY         11937900         WEITZ & LUXENBERG, PC                                SLATTERY             JAMES W               NY         10329102         WEITZ & LUXENBERG, PC
SKELLEY              EDWARD R              NY         11937900         WEITZ & LUXENBERG, PC                                SLAUGHTER            FRANK                 NY         10008703         WEITZ & LUXENBERG, PC
SKELLIE              WILLIAM J             NY         11069300         WEITZ & LUXENBERG, PC                                SLAUGHTER            JOHN                  NY         00CIV3589        WEITZ & LUXENBERG, PC
SKELLIE              WILLIAM J             NY         12219599         WEITZ & LUXENBERG, PC                                SLAUGHTER            MARTHA SUE            NY         00CIV3589        WEITZ & LUXENBERG, PC
SKELLY               DAVID J               NY         10696402         WEITZ & LUXENBERG, PC                                SLAVIK               EDWARD                NY         10378804         WEITZ & LUXENBERG, PC
SKELLY               DONALD H              NY         10645702         WEITZ & LUXENBERG, PC                                SLAVIK               VIOLA                 NY         10378804         WEITZ & LUXENBERG, PC
SKELLY               GARY T                NY         12788702         WEITZ & LUXENBERG, PC                                SLECHTA              DENNIS                NY         10736401         WEITZ & LUXENBERG, PC
SKELLY               NANCY ANN             NY         12788702         WEITZ & LUXENBERG, PC                                SLECHTA              DENNIS                NY         11937800         WEITZ & LUXENBERG, PC
SKELLY               SHIRLEY               NY         10645702         WEITZ & LUXENBERG, PC                                SLECHTA              ELEANOR               NY         10736401         WEITZ & LUXENBERG, PC
SKERENCAK            ANDREW JOSEPH         NY         11069200         WEITZ & LUXENBERG, PC                                SLECHTA              ELEANOR               NY         11937800         WEITZ & LUXENBERG, PC
SKERENCAK            ANDREW JOSEPH         NY         12219599         WEITZ & LUXENBERG, PC                                SLEEMAN              CHARLES               NY         19047311         WEITZ & LUXENBERG, PC
SKERENCAK            KATHLEEN              NY         11069200         WEITZ & LUXENBERG, PC                                SLEEMAN              VIVIAN E              NY         19047311         WEITZ & LUXENBERG, PC
SKERENCAK            KATHLEEN              NY         12219599         WEITZ & LUXENBERG, PC                                SLEVIN               JOSEPH                NY         10736301         WEITZ & LUXENBERG, PC
SKIBA                KARYN J               NY         10701100         WEITZ & LUXENBERG, PC                                SLEVIN               JOSEPH                NY         11937800         WEITZ & LUXENBERG, PC
SKIBINSKI            ANDREW ARTHUR         NY         12668502         WEITZ & LUXENBERG, PC                                SLINEY               DAVID J               NY         CV025664         WEITZ & LUXENBERG, PC
SKIBINSKI            GERALDINE             NY         12668502         WEITZ & LUXENBERG, PC                                SLINGERLAND          LYLE ROBERT           NY         10587002         WEITZ & LUXENBERG, PC
SKIBOLA              CHRISTINE             NY         1901032016       WEITZ & LUXENBERG, PC                                SLINKOSKY            DOROTHEA              NY         11068500         WEITZ & LUXENBERG, PC
SKILLERN             CAROL                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                SLINKOSKY            DOROTHEA              NY         12219599         WEITZ & LUXENBERG, PC
SKILLERN             JOHN LARRY            NY         00CIV3589        WEITZ & LUXENBERG, PC                                SLINKOSKY            WILLIAM A             NY         11068500         WEITZ & LUXENBERG, PC
SKINNER              DORIS                 NY         10565699         WEITZ & LUXENBERG, PC                                SLINKOSKY            WILLIAM A             NY         12219599         WEITZ & LUXENBERG, PC
SKINNER              EDMUND                NY         02107006         WEITZ & LUXENBERG, PC                                SLINZEWSKI           VINCENT JOHN          NY         12219599         WEITZ & LUXENBERG, PC
SKINNER              HOWARD M              NY         10565699         WEITZ & LUXENBERG, PC                                SLIWA                MELANIE               NY         10729099         WEITZ & LUXENBERG, PC
SKINNER              JANICE                NY         CV025685         WEITZ & LUXENBERG, PC                                SLIZEWSKI            MARY                  NY         11068300         WEITZ & LUXENBERG, PC
SKINNER              PATRICIA              NY         11069100         WEITZ & LUXENBERG, PC                                SLIZEWSKI            MARY                  NY         12219599         WEITZ & LUXENBERG, PC
SKINNER              PATRICIA              NY         12219599         WEITZ & LUXENBERG, PC                                SLIZEWSKI            VINCENT JOHN          NY         11068300         WEITZ & LUXENBERG, PC
SKINNER              RAYMOND CHARLES       NY         12668602         WEITZ & LUXENBERG, PC                                SLOANE               EDITH                 NY         10415600         WEITZ & LUXENBERG, PC
SKINNER              ROBERT E SR           NY         CV025685         WEITZ & LUXENBERG, PC                                SLOANE               ELLIOT                NY         10415600         WEITZ & LUXENBERG, PC
SKINNER              WALTER J              NY         11069100         WEITZ & LUXENBERG, PC                                SLOBE                DONALD A              NY         02107006         WEITZ & LUXENBERG, PC
SKINNER              WALTER J              NY         12219599         WEITZ & LUXENBERG, PC                                SLOBODA              DOROTHY               NY         1901102019       WEITZ & LUXENBERG, PC
SKJENNUM             JAN                   NY         10565799         WEITZ & LUXENBERG, PC                                SLOBODA              ROBERT                NY         1901102019       WEITZ & LUXENBERG, PC
SKJENNUM             JUDITH                NY         10565799         WEITZ & LUXENBERG, PC                                SLOCUM               FRANCIS B             NY         10736201         WEITZ & LUXENBERG, PC
SKOBJAK              JAMES S               NY         11228602         WEITZ & LUXENBERG, PC                                SLOCUM               FRANCIS B             NY         11937800         WEITZ & LUXENBERG, PC
SKOBJAK              JAMES S               NY         02105718         WEITZ & LUXENBERG, PC                                SLOCUM               MARY                  NY         10736201         WEITZ & LUXENBERG, PC
SKOBJAK              MARK J                NY         11228602         WEITZ & LUXENBERG, PC                                SLOCUM               MARY                  NY         11937800         WEITZ & LUXENBERG, PC
SKONIECZNY           EDWARD J              NY         10680802         WEITZ & LUXENBERG, PC                                SLODYSKO             JOSEPH M              NY         02107102         WEITZ & LUXENBERG, PC
SKOTARCZAK           MICHAEL F             NY         10415700         WEITZ & LUXENBERG, PC                                SLODYSKO             JOSEPH M              NY         11911302         WEITZ & LUXENBERG, PC
SKOWRONSKI           BOGUSLAW              NY         01111224         WEITZ & LUXENBERG, PC                                SLODYSKO             KATHERINE             NY         02107102         WEITZ & LUXENBERG, PC
SKOWRONSKI           BRIDGET J             NY         10099701         WEITZ & LUXENBERG, PC                                SLODYSKO             KATHERINE             NY         11911302         WEITZ & LUXENBERG, PC
SKOWRONSKI           DANIEL C              NY         11068400         WEITZ & LUXENBERG, PC                                SLOMIN               HENRY                 NY         12043101         WEITZ & LUXENBERG, PC
SKOWRONSKI           DANIEL C              NY         12219599         WEITZ & LUXENBERG, PC                                SLOMIN               SUE                   NY         12043101         WEITZ & LUXENBERG, PC
SKOWRONSKI           GLORIA                NY         11068400         WEITZ & LUXENBERG, PC                                SLUBERSKI            CAROL                 NY         11069000         WEITZ & LUXENBERG, PC
SKOWRONSKI           GLORIA                NY         12219599         WEITZ & LUXENBERG, PC                                SLUBERSKI            CAROL                 NY         12219599         WEITZ & LUXENBERG, PC
SKREBIEC             MARY                  NY         10565499         WEITZ & LUXENBERG, PC                                SLUBERSKI            THADDEUS C            NY         11069000         WEITZ & LUXENBERG, PC
SKREBIEC             MARY                  NY         10871101         WEITZ & LUXENBERG, PC                                SLUBERSKI            THADDEUS C            NY         12219599         WEITZ & LUXENBERG, PC
SKREBIEC             STEVE                 NY         10565499         WEITZ & LUXENBERG, PC                                SLUSARZ              ANDREW                NY         19042410         WEITZ & LUXENBERG, PC
SKREBIEC             STEVE                 NY         10871101         WEITZ & LUXENBERG, PC                                SLUSARZ              JANINE                NY         19042410         WEITZ & LUXENBERG, PC
SKRLIN               GERALD                NY         11937800         WEITZ & LUXENBERG, PC                                SMALL                ABRAHAM               NY         11311205         WEITZ & LUXENBERG, PC
SKRLIN               TANAR                 NY         11937800         WEITZ & LUXENBERG, PC                                SMALL                ANNA                  NY         11311205         WEITZ & LUXENBERG, PC
SKUGGEVIK            ARTHUR A              NY         10838200         WEITZ & LUXENBERG, PC                                SMALL                CAROL                 NY         99105651         WEITZ & LUXENBERG, PC
SKUGGEVIK            LINDA                 NY         10838200         WEITZ & LUXENBERG, PC                                SMALL                GRACE                 NY         02106707         WEITZ & LUXENBERG, PC
SKULICZ              ADELE                 NY         I20016117        WEITZ & LUXENBERG, PC                                SMALL                GRACE                 NY         11568002         WEITZ & LUXENBERG, PC
SKULICZ              STANLEY               NY         I20016117        WEITZ & LUXENBERG, PC                                SMALL                THOMAS                NY         99105651         WEITZ & LUXENBERG, PC
SKULTETY             ANNA                  NY         10707402         WEITZ & LUXENBERG, PC                                SMALL                WILLIAM J             NY         02106707         WEITZ & LUXENBERG, PC
SKULTETY             ANNA                  NY         12219599         WEITZ & LUXENBERG, PC                                SMALL                WILLIAM J             NY         11568002         WEITZ & LUXENBERG, PC
SKULTETY             THOMAS                NY         10707402         WEITZ & LUXENBERG, PC                                SMALLARZ             DARLENE               NY         10564799         WEITZ & LUXENBERG, PC
SKULTETY             THOMAS                NY         12219599         WEITZ & LUXENBERG, PC                                SMALLARZ             FLOYD J               NY         10564799         WEITZ & LUXENBERG, PC
SKUNCA               KATHERINE             NY         12043001         WEITZ & LUXENBERG, PC                                SMALLBACK            ANN                   NY         12381001         WEITZ & LUXENBERG, PC
SKUNCA               RANKO                 NY         12043001         WEITZ & LUXENBERG, PC                                SMALLBACK            ARTHUR A              NY         12381001         WEITZ & LUXENBERG, PC
SKYEAGLE             LOIS                  NY         00CIV3589        WEITZ & LUXENBERG, PC                                SMALLMAN             THERESA A             NY         99118274         WEITZ & LUXENBERG, PC
SKYEAGLE             THEODORE SR           NY         00CIV3589        WEITZ & LUXENBERG, PC                                SMALLWOOD            KINDRA L              NY         19003312         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1065
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 400 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SMARDZ               JOHN S                NY         11068700         WEITZ & LUXENBERG, PC                                SMITH                DIANA L               NY         11134402         WEITZ & LUXENBERG, PC
SMARDZ               JOHN S                NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                DIANE                 NY         12039301         WEITZ & LUXENBERG, PC
SMART                CHARLES               NY         19032510         WEITZ & LUXENBERG, PC                                SMITH                DOLORES               NY         1901432019       WEITZ & LUXENBERG, PC
SMART                CYNTHIA L             NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                DOLORES               NY         11067500         WEITZ & LUXENBERG, PC
SMART                JAMES J               NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                DOLORES               NY         12219599         WEITZ & LUXENBERG, PC
SMEE                 ELAINE M              PA         180402055        WEITZ & LUXENBERG, PC                                SMITH                DONALD K              NY         11476900         WEITZ & LUXENBERG, PC
SMESTAD              ANNA                  NY         10880803         WEITZ & LUXENBERG, PC                                SMITH                DONALD L              PA         190100610        WEITZ & LUXENBERG, PC
SMESTAD              HANS                  NY         10880803         WEITZ & LUXENBERG, PC                                SMITH                DONALD L              NY         10740102         WEITZ & LUXENBERG, PC
SMI                  LORRAINE              NY         10740502         WEITZ & LUXENBERG, PC                                SMITH                DORIS                 NY         CIV006917        WEITZ & LUXENBERG, PC
SMI                  WILLIAM M             NY         10740502         WEITZ & LUXENBERG, PC                                SMITH                DOROTHY               NY         1905322012       WEITZ & LUXENBERG, PC
SMIRK                CAROL                 NY         01CIV7365        WEITZ & LUXENBERG, PC                                SMITH                DOROTHY               NY         00CIV3589        WEITZ & LUXENBERG, PC
SMIRK                WILLIAM               NY         01CIV7365        WEITZ & LUXENBERG, PC                                SMITH                DWIGHT O              NY         19013311         WEITZ & LUXENBERG, PC
SMITH                ADRIENNE              NY         10670402         WEITZ & LUXENBERG, PC                                SMITH                EDITH                 NY         11067300         WEITZ & LUXENBERG, PC
SMITH                ALBERT                NY         11068800         WEITZ & LUXENBERG, PC                                SMITH                EDITH                 NY         12219599         WEITZ & LUXENBERG, PC
SMITH                ALBERT                NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                EDLINA                NY         01CIV3901        WEITZ & LUXENBERG, PC
SMITH                ALFRED G              NY         11068200         WEITZ & LUXENBERG, PC                                SMITH                EDWARD                NY         8116302014       WEITZ & LUXENBERG, PC
SMITH                ALFRED G              NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                EDWARD M              NY         11477000         WEITZ & LUXENBERG, PC
SMITH                ANITA                 NY         10700102         WEITZ & LUXENBERG, PC                                SMITH                EDWARD R              NY         1905322012       WEITZ & LUXENBERG, PC
SMITH                ANNE MARIE            NY         10428801         WEITZ & LUXENBERG, PC                                SMITH                EDWIN T               NY         10416302         WEITZ & LUXENBERG, PC
SMITH                ARAJEAN               NY         10645702         WEITZ & LUXENBERG, PC                                SMITH                EILLEN                NY         6118682015       WEITZ & LUXENBERG, PC
SMITH                ARAJEAN               NY         10947802         WEITZ & LUXENBERG, PC                                SMITH                ELIZABETH             NY         10716802         WEITZ & LUXENBERG, PC
SMITH                ARLYNN                NY         11811101         WEITZ & LUXENBERG, PC                                SMITH                ELLEN T               NY         10737001         WEITZ & LUXENBERG, PC
SMITH                ARTIS                 NY         10645702         WEITZ & LUXENBERG, PC                                SMITH                ELLEN T               NY         11937800         WEITZ & LUXENBERG, PC
SMITH                ARTIS                 NY         10947802         WEITZ & LUXENBERG, PC                                SMITH                EUGENE C              NY         10740202         WEITZ & LUXENBERG, PC
SMITH                B MARIE               NY         10740202         WEITZ & LUXENBERG, PC                                SMITH                EUGENE JOSEPH         NY         10415400         WEITZ & LUXENBERG, PC
SMITH                BARBARA               NY         8116302014       WEITZ & LUXENBERG, PC                                SMITH                EVELYN                NY         19033310         WEITZ & LUXENBERG, PC
SMITH                BARBARA               NY         12433902         WEITZ & LUXENBERG, PC                                SMITH                EVERETT L             NY         12693702         WEITZ & LUXENBERG, PC
SMITH                BARBARA               NY         11787800         WEITZ & LUXENBERG, PC                                SMITH                FAYE                  NY         10658102         WEITZ & LUXENBERG, PC
SMITH                BARBARA               NY         11937800         WEITZ & LUXENBERG, PC                                SMITH                FRANCES               NY         1903732017       WEITZ & LUXENBERG, PC
SMITH                BERTHA                NY         1901602016       WEITZ & LUXENBERG, PC                                SMITH                FRANCES               NY         11068000         WEITZ & LUXENBERG, PC
SMITH                BETTY                 NY         1902102013       WEITZ & LUXENBERG, PC                                SMITH                FRANCES               NY         12219599         WEITZ & LUXENBERG, PC
SMITH                BETTY                 NY         10737101         WEITZ & LUXENBERG, PC                                SMITH                GARRETT E             NY         11599003         WEITZ & LUXENBERG, PC
SMITH                BETTY                 NY         10858603         WEITZ & LUXENBERG, PC                                SMITH                GARY                  NY         11067900         WEITZ & LUXENBERG, PC
SMITH                BETTY                 NY         11937800         WEITZ & LUXENBERG, PC                                SMITH                GARY                  NY         12219599         WEITZ & LUXENBERG, PC
SMITH                BEVERLY A             NY         19000710         WEITZ & LUXENBERG, PC                                SMITH                GENEVIEVE A           NY         11477200         WEITZ & LUXENBERG, PC
SMITH                BEVERLY B             NY         11562001         WEITZ & LUXENBERG, PC                                SMITH                GEORGE C              NY         11414900         WEITZ & LUXENBERG, PC
SMITH                BEVERLY B             NY         01111218         WEITZ & LUXENBERG, PC                                SMITH                GEORGE E              NY         10716802         WEITZ & LUXENBERG, PC
SMITH                BONNIE ANN            NY         10736001         WEITZ & LUXENBERG, PC                                SMITH                GEORGE J              NY         02120035         WEITZ & LUXENBERG, PC
SMITH                BONNIE ANN            NY         11937800         WEITZ & LUXENBERG, PC                                SMITH                GEORGE R              NY         1901022019       WEITZ & LUXENBERG, PC
SMITH                BRANDY E              NY         2015812          WEITZ & LUXENBERG, PC                                SMITH                GEORGE S              NY         10587002         WEITZ & LUXENBERG, PC
SMITH                BUEL RANDALL          NY         00CIV3589        WEITZ & LUXENBERG, PC                                SMITH                GILBERT H             NY         12693702         WEITZ & LUXENBERG, PC
SMITH                CAROL                 NY         02106709         WEITZ & LUXENBERG, PC                                SMITH                GORDON B              NY         10415300         WEITZ & LUXENBERG, PC
SMITH                CAROL ANITA           NY         00CIV3589        WEITZ & LUXENBERG, PC                                SMITH                GORDON CRAIG          NY         11477100         WEITZ & LUXENBERG, PC
SMITH                CAROL ANN             NY         10562499         WEITZ & LUXENBERG, PC                                SMITH                GORDON K              NY         11067800         WEITZ & LUXENBERG, PC
SMITH                CAROL J               NY         11067400         WEITZ & LUXENBERG, PC                                SMITH                GORDON K              NY         12219599         WEITZ & LUXENBERG, PC
SMITH                CAROL J               NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                GREGORY               NY         10562499         WEITZ & LUXENBERG, PC
SMITH                CATHERINE             NY         11067900         WEITZ & LUXENBERG, PC                                SMITH                HAROLD                NY         1902502016       WEITZ & LUXENBERG, PC
SMITH                CATHERINE             NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                HELEN                 NY         11068200         WEITZ & LUXENBERG, PC
SMITH                CHARLES C             NY         CV016762         WEITZ & LUXENBERG, PC                                SMITH                HELEN                 NY         02113280         WEITZ & LUXENBERG, PC
SMITH                CHARLES J             NY         10608599         WEITZ & LUXENBERG, PC                                SMITH                HELEN                 NY         12219599         WEITZ & LUXENBERG, PC
SMITH                CHARLES WILLIAM       NY         1903732017       WEITZ & LUXENBERG, PC                                SMITH                HERBERT               NY         10736101         WEITZ & LUXENBERG, PC
SMITH                CHARLES WILLIAM       NY         11068000         WEITZ & LUXENBERG, PC                                SMITH                HERBERT               NY         11937800         WEITZ & LUXENBERG, PC
SMITH                CHARLES WILLIAM       NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                HERBERT               NY         19033310         WEITZ & LUXENBERG, PC
SMITH                CHERYL                PA         171201045        WEITZ & LUXENBERG, PC                                SMITH                HERBERT L             NY         12039701         WEITZ & LUXENBERG, PC
SMITH                CHRISTIE              NY         99112499         WEITZ & LUXENBERG, PC                                SMITH                HERMAN LEE SR         NY         00CIV3589        WEITZ & LUXENBERG, PC
SMITH                CHRISTINE             NY         02105713         WEITZ & LUXENBERG, PC                                SMITH                HILTON A              NY         1900572017       WEITZ & LUXENBERG, PC
SMITH                CHRISTINE M           NY         11429997         WEITZ & LUXENBERG, PC                                SMITH                HOLLY                 NY         19013311         WEITZ & LUXENBERG, PC
SMITH                CLAUDETTE             NY         19025710         WEITZ & LUXENBERG, PC                                SMITH                HUGH                  NY         10736001         WEITZ & LUXENBERG, PC
SMITH                CLEVELAND             NY         CV020399         WEITZ & LUXENBERG, PC                                SMITH                HUGH                  NY         11937800         WEITZ & LUXENBERG, PC
SMITH                CLEVEN                NY         10415500         WEITZ & LUXENBERG, PC                                SMITH                ISAAC                 NY         01CIV3901        WEITZ & LUXENBERG, PC
SMITH                CLYDE EVAN            NY         CV020070         WEITZ & LUXENBERG, PC                                SMITH                JABEZ D               NY         CV012744         WEITZ & LUXENBERG, PC
SMITH                CLYDE W               NY         1901262014       WEITZ & LUXENBERG, PC                                SMITH                JACK GORDON           NY         12219599         WEITZ & LUXENBERG, PC
SMITH                COLVIN W              NY         12444402         WEITZ & LUXENBERG, PC                                SMITH                JACQUELINE K          NY         11192702         WEITZ & LUXENBERG, PC
SMITH                COLVIN W              NY         12740502         WEITZ & LUXENBERG, PC                                SMITH                JACQUELINE K          NY         10700102         WEITZ & LUXENBERG, PC
SMITH                CONSTANCE L           NY         11476600         WEITZ & LUXENBERG, PC                                SMITH                JAMES                 NY         12693402         WEITZ & LUXENBERG, PC
SMITH                CURTIS                NY         CIV006917        WEITZ & LUXENBERG, PC                                SMITH                JAMES                 NY         11787800         WEITZ & LUXENBERG, PC
SMITH                CURTIS N              NY         11476700         WEITZ & LUXENBERG, PC                                SMITH                JAMES                 NY         10614500         WEITZ & LUXENBERG, PC
SMITH                DARRELL               NY         01CIV3895        WEITZ & LUXENBERG, PC                                SMITH                JAMES C               NY         11937800         WEITZ & LUXENBERG, PC
SMITH                DENNIS FRANCIS        NY         11476800         WEITZ & LUXENBERG, PC                                SMITH                JAMES C               NY         19032510         WEITZ & LUXENBERG, PC
SMITH                DENNIS FRANCIS        NY         10838200         WEITZ & LUXENBERG, PC                                SMITH                JAMES F               NY         11067600         WEITZ & LUXENBERG, PC
SMITH                DIANA L               NY         10699902         WEITZ & LUXENBERG, PC                                SMITH                JAMES F               NY         12219599         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1066
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 401 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SMITH                JAMES H               NY         10722202         WEITZ & LUXENBERG, PC                                SMITH                MARY T                NY         12693702         WEITZ & LUXENBERG, PC
SMITH                JAMES J               NY         19025710         WEITZ & LUXENBERG, PC                                SMITH                MARYANN               NY         10736901         WEITZ & LUXENBERG, PC
SMITH                JAMES M               PA         130603617        WEITZ & LUXENBERG, PC                                SMITH                MARYANN               NY         11937800         WEITZ & LUXENBERG, PC
SMITH                JAMES M               NY         02113280         WEITZ & LUXENBERG, PC                                SMITH                MAUREEN               NY         10736801         WEITZ & LUXENBERG, PC
SMITH                JAMES R               NY         1901602016       WEITZ & LUXENBERG, PC                                SMITH                MICHAEL A             NY         1901432019       WEITZ & LUXENBERG, PC
SMITH                JANA                  NY         10417300         WEITZ & LUXENBERG, PC                                SMITH                MICHAEL J             NY         12433902         WEITZ & LUXENBERG, PC
SMITH                JANICE                NY         02106709         WEITZ & LUXENBERG, PC                                SMITH                MICHAEL P             NY         10417200         WEITZ & LUXENBERG, PC
SMITH                JASON                 NY         19018211         WEITZ & LUXENBERG, PC                                SMITH                MILTON D              NY         10737101         WEITZ & LUXENBERG, PC
SMITH                JAYNEANN              NY         1905192012       WEITZ & LUXENBERG, PC                                SMITH                MILTON D              NY         11937800         WEITZ & LUXENBERG, PC
SMITH                JEAN                  NY         02113280         WEITZ & LUXENBERG, PC                                SMITH                MOLLIE                NY         12039701         WEITZ & LUXENBERG, PC
SMITH                JEAN                  NY         12693702         WEITZ & LUXENBERG, PC                                SMITH                MYRON L               NY         10564399         WEITZ & LUXENBERG, PC
SMITH                JEANETTE              NY         1900572017       WEITZ & LUXENBERG, PC                                SMITH                NADINE                NY         10722202         WEITZ & LUXENBERG, PC
SMITH                JEANNE M              NY         11476800         WEITZ & LUXENBERG, PC                                SMITH                NANCY                 NY         1903682018       WEITZ & LUXENBERG, PC
SMITH                JEANNE M              NY         10838200         WEITZ & LUXENBERG, PC                                SMITH                NANCY                 NY         10417100         WEITZ & LUXENBERG, PC
SMITH                JESSIE J              NY         549652018        WEITZ & LUXENBERG, PC                                SMITH                NATHANIEL             NY         CV013921         WEITZ & LUXENBERG, PC
SMITH                JIMMY W               NY         01CIV3900        WEITZ & LUXENBERG, PC                                SMITH                NORMAN H              NY         02106709         WEITZ & LUXENBERG, PC
SMITH                JOANNE                NY         10564399         WEITZ & LUXENBERG, PC                                SMITH                ODIS DEAN             NY         CV016266         WEITZ & LUXENBERG, PC
SMITH                JOANNE                NY         11067600         WEITZ & LUXENBERG, PC                                SMITH                PAMELA RAE            NY         10670802         WEITZ & LUXENBERG, PC
SMITH                JOANNE                NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                PATRICIA              NY         12039901         WEITZ & LUXENBERG, PC
SMITH                JOE HENRY             NY         CV013921         WEITZ & LUXENBERG, PC                                SMITH                PATRICIA              NY         01CIV3900        WEITZ & LUXENBERG, PC
SMITH                JOHN A                NY         11477200         WEITZ & LUXENBERG, PC                                SMITH                PATRICIA ANN          NY         11413500         WEITZ & LUXENBERG, PC
SMITH                JOHN E                NY         10696302         WEITZ & LUXENBERG, PC                                SMITH                PATRICK J             NY         12038901         WEITZ & LUXENBERG, PC
SMITH                JOHN HENRY            NY         I20015302        WEITZ & LUXENBERG, PC                                SMITH                PAUL A                NY         1901672019       WEITZ & LUXENBERG, PC
SMITH                JOHN M                NY         11067500         WEITZ & LUXENBERG, PC                                SMITH                PAUL RICHARD          NY         01111223         WEITZ & LUXENBERG, PC
SMITH                JOHN M                NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                PERRY M               NY         11067400         WEITZ & LUXENBERG, PC
SMITH                JOSEPH L              NY         11476600         WEITZ & LUXENBERG, PC                                SMITH                PERRY M               NY         12219599         WEITZ & LUXENBERG, PC
SMITH                JOSEPH T              NY         1903682018       WEITZ & LUXENBERG, PC                                SMITH                PHILIP                NY         12788602         WEITZ & LUXENBERG, PC
SMITH                JOYCE                 NY         10415300         WEITZ & LUXENBERG, PC                                SMITH                RALPH L               PA         171201045        WEITZ & LUXENBERG, PC
SMITH                JOYCE L               NY         10729199         WEITZ & LUXENBERG, PC                                SMITH                RAMONA                NY         CV020070         WEITZ & LUXENBERG, PC
SMITH                JUDITH                NY         10543199         WEITZ & LUXENBERG, PC                                SMITH                RANDOLPH              NY         10658102         WEITZ & LUXENBERG, PC
SMITH                JUDITH CECILIA        NY         12444402         WEITZ & LUXENBERG, PC                                SMITH                RAYMOND               NY         01CIV3901        WEITZ & LUXENBERG, PC
SMITH                JUDITH CECILIA        NY         12740502         WEITZ & LUXENBERG, PC                                SMITH                RICHARD GEORGE        NY         11811101         WEITZ & LUXENBERG, PC
SMITH                JULIUS                NY         01111235         WEITZ & LUXENBERG, PC                                SMITH                RICHARD L             NY         10670802         WEITZ & LUXENBERG, PC
SMITH                JULIUS                NY         11840101         WEITZ & LUXENBERG, PC                                SMITH                ROBERT H              NY         02113280         WEITZ & LUXENBERG, PC
SMITH                KAREN                 NY         12039501         WEITZ & LUXENBERG, PC                                SMITH                ROBERT J              NY         10737001         WEITZ & LUXENBERG, PC
SMITH                KATHLEEN              NY         11067200         WEITZ & LUXENBERG, PC                                SMITH                ROBERT J              NY         11937800         WEITZ & LUXENBERG, PC
SMITH                KATHLEEN              NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                ROBERT JAMES          NY         11067300         WEITZ & LUXENBERG, PC
SMITH                KATIE LEE             NY         10415500         WEITZ & LUXENBERG, PC                                SMITH                ROBERT JAMES          NY         12219599         WEITZ & LUXENBERG, PC
SMITH                LARRY DARNELL         NY         CV020071         WEITZ & LUXENBERG, PC                                SMITH                ROBERT L              NY         10417100         WEITZ & LUXENBERG, PC
SMITH                LAWRENCE L            NY         12039501         WEITZ & LUXENBERG, PC                                SMITH                ROBERT V              NY         12039301         WEITZ & LUXENBERG, PC
SMITH                LAWRENCE P            NY         10587102         WEITZ & LUXENBERG, PC                                SMITH                ROBERT W              NY         11429997         WEITZ & LUXENBERG, PC
SMITH                LEE                   NY         10716902         WEITZ & LUXENBERG, PC                                SMITH                ROBERTA               NY         11356702         WEITZ & LUXENBERG, PC
SMITH                LEE                   NY         11213302         WEITZ & LUXENBERG, PC                                SMITH                RODERICK              NY         10736901         WEITZ & LUXENBERG, PC
SMITH                LENNIE L              NY         CV018408         WEITZ & LUXENBERG, PC                                SMITH                RODERICK              NY         11937800         WEITZ & LUXENBERG, PC
SMITH                LEON                  NY         01CIV3900        WEITZ & LUXENBERG, PC                                SMITH                RODERICK LEROY        NY         10351301         WEITZ & LUXENBERG, PC
SMITH                LEONA                 NY         10645702         WEITZ & LUXENBERG, PC                                SMITH                RONALD E              NY         10700102         WEITZ & LUXENBERG, PC
SMITH                LEONA                 NY         10947802         WEITZ & LUXENBERG, PC                                SMITH                RONALD R              NY         02106709         WEITZ & LUXENBERG, PC
SMITH                LESLIE J              NY         11413500         WEITZ & LUXENBERG, PC                                SMITH                RONNIE MICHAEL        NY         00CIV3589        WEITZ & LUXENBERG, PC
SMITH                LESTER                NY         10739901         WEITZ & LUXENBERG, PC                                SMITH                RUSSELL W             NY         11067200         WEITZ & LUXENBERG, PC
SMITH                LESTER                NY         11937800         WEITZ & LUXENBERG, PC                                SMITH                RUSSELL W             NY         12219599         WEITZ & LUXENBERG, PC
SMITH                LEWIS A               NY         10417300         WEITZ & LUXENBERG, PC                                SMITH                SAMMIE                NY         12219699         WEITZ & LUXENBERG, PC
SMITH                LINDA                 NY         1901672019       WEITZ & LUXENBERG, PC                                SMITH                SHARON                NY         CV016266         WEITZ & LUXENBERG, PC
SMITH                LINDA                 NY         12788602         WEITZ & LUXENBERG, PC                                SMITH                SHEILA                NY         12038901         WEITZ & LUXENBERG, PC
SMITH                LINDA A               NY         10696302         WEITZ & LUXENBERG, PC                                SMITH                SHERYL                NY         10680602         WEITZ & LUXENBERG, PC
SMITH                LORRAINE              NY         01111236         WEITZ & LUXENBERG, PC                                SMITH                SHERYL                NY         11050102         WEITZ & LUXENBERG, PC
SMITH                LORRAINE A            NY         10417000         WEITZ & LUXENBERG, PC                                SMITH                SHIRLEY               NY         CV016762         WEITZ & LUXENBERG, PC
SMITH                LOWELL F              NY         10670402         WEITZ & LUXENBERG, PC                                SMITH                STEPHEN               NY         01111236         WEITZ & LUXENBERG, PC
SMITH                MABLE                 NY         10571402         WEITZ & LUXENBERG, PC                                SMITH                STEPHEN M             NY         10737101         WEITZ & LUXENBERG, PC
SMITH                MADELINE              NY         10736101         WEITZ & LUXENBERG, PC                                SMITH                STEPHEN M             NY         11937800         WEITZ & LUXENBERG, PC
SMITH                MADELINE              NY         11937800         WEITZ & LUXENBERG, PC                                SMITH                STEPHEN W             NY         10740302         WEITZ & LUXENBERG, PC
SMITH                MARION                NY         11068800         WEITZ & LUXENBERG, PC                                SMITH                STEPHEN W             NY         11409202         WEITZ & LUXENBERG, PC
SMITH                MARION                NY         12219599         WEITZ & LUXENBERG, PC                                SMITH                SUE                   NY         10415400         WEITZ & LUXENBERG, PC
SMITH                MARLIN M              NY         00CIV3589        WEITZ & LUXENBERG, PC                                SMITH                SUZANNE C             NY         11477200         WEITZ & LUXENBERG, PC
SMITH                MARLON L              NY         10571402         WEITZ & LUXENBERG, PC                                SMITH                SYLVIA                NY         01CIV3901        WEITZ & LUXENBERG, PC
SMITH                MARSHA L              NY         10645702         WEITZ & LUXENBERG, PC                                SMITH                THOMAS                NY         12039901         WEITZ & LUXENBERG, PC
SMITH                MARSHA L              NY         10947802         WEITZ & LUXENBERG, PC                                SMITH                THOMAS M              NY         19000710         WEITZ & LUXENBERG, PC
SMITH                MARVIN D              NY         11477400         WEITZ & LUXENBERG, PC                                SMITH                VIRGINIA              NY         10739901         WEITZ & LUXENBERG, PC
SMITH                MARY A                NY         01CIV3900        WEITZ & LUXENBERG, PC                                SMITH                VIRGINIA              NY         11937800         WEITZ & LUXENBERG, PC
SMITH                MARY CARMEL           NY         12693402         WEITZ & LUXENBERG, PC                                SMITH                WALTER C              NY         CV012239         WEITZ & LUXENBERG, PC
SMITH                MARY K                NY         10608599         WEITZ & LUXENBERG, PC                                SMITH                WALTER H              NY         10417000         WEITZ & LUXENBERG, PC
SMITH                MARY LUCILLE          NY         01CIV3895        WEITZ & LUXENBERG, PC                                SMITH                WALTER R              NY         6118682015       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1067
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 402 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SMITH                WARREN D              NY         02106580         WEITZ & LUXENBERG, PC                                SOBILO               VIOLET                NY         10847199         WEITZ & LUXENBERG, PC
SMITH                WELTON E              NY         02105713         WEITZ & LUXENBERG, PC                                SOBILO               WALTER C              NY         10847199         WEITZ & LUXENBERG, PC
SMITH                WILBUR W              NY         10858603         WEITZ & LUXENBERG, PC                                SOBKOWIAK            EDWARD J              NY         12387202         WEITZ & LUXENBERG, PC
SMITH                WILHELMENIA           NY         11414900         WEITZ & LUXENBERG, PC                                SOBKOWIAK            VIRGINIA              NY         12387202         WEITZ & LUXENBERG, PC
SMITH                WILLA                 NY         10716802         WEITZ & LUXENBERG, PC                                SOBOCINSKI           FLORIAN J             NY         10696502         WEITZ & LUXENBERG, PC
SMITH                WILLIAM               NY         10543199         WEITZ & LUXENBERG, PC                                SOBOL                MARGOT                NY         11413300         WEITZ & LUXENBERG, PC
SMITH                WILLIAM C             NY         10736801         WEITZ & LUXENBERG, PC                                SOBOL                STANLEY               NY         11413300         WEITZ & LUXENBERG, PC
SMITH                WILLIAM H             NY         10716802         WEITZ & LUXENBERG, PC                                SOBON                ROBERT                NY         10716702         WEITZ & LUXENBERG, PC
SMITH                WILLIAM J             NY         11562001         WEITZ & LUXENBERG, PC                                SOBRANE              HERBERT J             NY         12668202         WEITZ & LUXENBERG, PC
SMITH                WILLIAM J             NY         01111218         WEITZ & LUXENBERG, PC                                SOBRANE              MARLENE LILA          NY         12668202         WEITZ & LUXENBERG, PC
SMITH                WILLIAM L SR          NY         99112499         WEITZ & LUXENBERG, PC                                SOCLERLUND           KIM P                 NY         10710102         WEITZ & LUXENBERG, PC
SMITH                WILLIAM R             NY         10740202         WEITZ & LUXENBERG, PC                                SOCLERLUND           KIM P                 NY         11967002         WEITZ & LUXENBERG, PC
SMITH                WILLIE E              NY         1902102013       WEITZ & LUXENBERG, PC                                SODA                 JAMES                 NY         10716802         WEITZ & LUXENBERG, PC
SMITH                WILLIE J              NY         10716902         WEITZ & LUXENBERG, PC                                SODA                 MARY                  NY         10716802         WEITZ & LUXENBERG, PC
SMITH                WILLIE J              NY         11213302         WEITZ & LUXENBERG, PC                                SODANO               DOMINICK              NY         10073103         WEITZ & LUXENBERG, PC
SMITHPETERS          KENNETH WAYNE         NY         CV016609         WEITZ & LUXENBERG, PC                                SODANO               JUDITH                NY         10073103         WEITZ & LUXENBERG, PC
SMITTIE              DEBORAH ANN           NY         01CIV3900        WEITZ & LUXENBERG, PC                                SOEBKE               GEORGE W              NY         11125204         WEITZ & LUXENBERG, PC
SMITTIE              FRED T                NY         01CIV3900        WEITZ & LUXENBERG, PC                                SOEBKE               URSULA                NY         11125204         WEITZ & LUXENBERG, PC
SMOCK                BEVERIC M             NY         12039901         WEITZ & LUXENBERG, PC                                SOERNSSEN            JOHN HENRY            NY         11315405         WEITZ & LUXENBERG, PC
SMOCK                BEVERIC M             NY         10455002         WEITZ & LUXENBERG, PC                                SOERNSSEN            THERESA MARGARET      NY         11315405         WEITZ & LUXENBERG, PC
SMOCK                RICHARD D             NY         99108453         WEITZ & LUXENBERG, PC                                SOFO                 JOSEPH A              NY         12801902         WEITZ & LUXENBERG, PC
SMOCKER              CHRISTINE             NY         11026902         WEITZ & LUXENBERG, PC                                SOFO                 MICKEY                NY         12801902         WEITZ & LUXENBERG, PC
SMOCKER              CHRISTINE             NY         12676602         WEITZ & LUXENBERG, PC                                SOIKA                ANTHONY R             NY         I20019689        WEITZ & LUXENBERG, PC
SMOKE                CARL JOSEPH           NY         11412000         WEITZ & LUXENBERG, PC                                SOKALSKI             JAMES J               NY         10416700         WEITZ & LUXENBERG, PC
SMOKE                EDWARD                NY         10571402         WEITZ & LUXENBERG, PC                                SOKALSKI             MARILYN               NY         10416700         WEITZ & LUXENBERG, PC
SMOKE                EDWARD                NY         11183202         WEITZ & LUXENBERG, PC                                SOKOLIC              JOSEPH THOMAS         NY         11477500         WEITZ & LUXENBERG, PC
SMOKE                HILDA E               NY         11412800         WEITZ & LUXENBERG, PC                                SOKOLOWSKI           DANIEL                NY         10848099         WEITZ & LUXENBERG, PC
SMOKE                MICHAEL MIKE          NY         11412800         WEITZ & LUXENBERG, PC                                SOKOLOWSKI           JADOIGA               NY         10848099         WEITZ & LUXENBERG, PC
SMOKE                SELENA                NY         11183202         WEITZ & LUXENBERG, PC                                SOLAN                DENNIS T              NY         10670602         WEITZ & LUXENBERG, PC
SMOKE                VIVIAN                NY         11412000         WEITZ & LUXENBERG, PC                                SOLAN                ROSE                  NY         10670602         WEITZ & LUXENBERG, PC
SMOLAK               DAYLE ANN             NY         10543099         WEITZ & LUXENBERG, PC                                SOLAZZO              MICHAEL A             NY         12801902         WEITZ & LUXENBERG, PC
SMOLAK               STEPHEN CHRISTOPHER   NY         10543099         WEITZ & LUXENBERG, PC                                SOLIS                MARY L                NY         12100401         WEITZ & LUXENBERG, PC
SMOLLER              HARRIET               NY         01111224         WEITZ & LUXENBERG, PC                                SOLIS                NICOLO                NY         12100401         WEITZ & LUXENBERG, PC
SMOLLER              SIDNEY                NY         01111224         WEITZ & LUXENBERG, PC                                SOLLAZZO             SALLY ANNE            NY         99108479         WEITZ & LUXENBERG, PC
SMUTZ                LEONA                 NY         10670402         WEITZ & LUXENBERG, PC                                SOLLAZZO             VINCENT J             NY         99108479         WEITZ & LUXENBERG, PC
SMUTZ                LYNN                  NY         10670402         WEITZ & LUXENBERG, PC                                SOLOMITA             MARY                  NY         99100621         WEITZ & LUXENBERG, PC
SMUTZ                STEVE M               NY         10670402         WEITZ & LUXENBERG, PC                                SOLOMITA             NICHOLAS              NY         99100621         WEITZ & LUXENBERG, PC
SMUTZ                WILLIAM S             NY         10670402         WEITZ & LUXENBERG, PC                                SOLOMON              DONA M                NY         02105716         WEITZ & LUXENBERG, PC
SMYTH                ANTOINETTE            NY         10008703         WEITZ & LUXENBERG, PC                                SOLOMON              EDWARD J              NY         02105716         WEITZ & LUXENBERG, PC
SMYTH                ANTOINETTE            NY         10316203         WEITZ & LUXENBERG, PC                                SOLOMON              GEORGE                NY         02106692         WEITZ & LUXENBERG, PC
SMYTH                DAN J                 NY         10008703         WEITZ & LUXENBERG, PC                                SOLOMON              HENRY                 NY         10502602         WEITZ & LUXENBERG, PC
SMYTH                DAN J                 NY         10316203         WEITZ & LUXENBERG, PC                                SOLOMON              HUGH C                NY         12101100         WEITZ & LUXENBERG, PC
SMYTH                PAUL                  NY         10542999         WEITZ & LUXENBERG, PC                                SOLOMON              RUBY L                NY         02106692         WEITZ & LUXENBERG, PC
SMYTH                PETER                 NY         10736701         WEITZ & LUXENBERG, PC                                SOLOYNA              CATHY                 NY         10736501         WEITZ & LUXENBERG, PC
SMYTH                PETER                 NY         11937800         WEITZ & LUXENBERG, PC                                SOLOYNA              ROBERT J              NY         10736501         WEITZ & LUXENBERG, PC
SNARE                ALFRED T              NY         10700102         WEITZ & LUXENBERG, PC                                SOMERS               ALICE E               NY         11413100         WEITZ & LUXENBERG, PC
SNAY                 DAVID W               NY         10670802         WEITZ & LUXENBERG, PC                                SOMERS               EDWARD F              NY         99108458         WEITZ & LUXENBERG, PC
SNAY                 TANYA                 NY         10670802         WEITZ & LUXENBERG, PC                                SOMERS               ELIZABETH J           NY         99108458         WEITZ & LUXENBERG, PC
SNEED                BOBBY GENE            NY         01CIV3895        WEITZ & LUXENBERG, PC                                SOMERS               ROBERT D              NY         11413100         WEITZ & LUXENBERG, PC
SNELL                ELIZABETH J           NY         12330101         WEITZ & LUXENBERG, PC                                SOMMER               DAVID C               NY         CV032999         WEITZ & LUXENBERG, PC
SNELL                HIRAM L               NY         11412700         WEITZ & LUXENBERG, PC                                SOMMER               ELAINE                NY         CV032999         WEITZ & LUXENBERG, PC
SNIDER               ALFRED S              NY         10696302         WEITZ & LUXENBERG, PC                                SOMMERS              ALBERT J              NY         02107099         WEITZ & LUXENBERG, PC
SNOPKOWSKI           DONNA                 NY         11412600         WEITZ & LUXENBERG, PC                                SOMMERS              CATHERINE             NY         02107099         WEITZ & LUXENBERG, PC
SNOPKOWSKI           THOMAS J              NY         11412600         WEITZ & LUXENBERG, PC                                SOMMERS              SUSAN                 NY         12047401         WEITZ & LUXENBERG, PC
SNOW                 CHARLES               NY         19038311         WEITZ & LUXENBERG, PC                                SONES                NORMA F               NY         CV025685         WEITZ & LUXENBERG, PC
SNOW                 HOWARD                NY         11413400         WEITZ & LUXENBERG, PC                                SONES                WILLIAM               NY         CV025685         WEITZ & LUXENBERG, PC
SNOW                 JUDITH                NY         11413400         WEITZ & LUXENBERG, PC                                SONNENFELD           IRVING                NY         11413000         WEITZ & LUXENBERG, PC
SNOWDEN              ELSIE MAE             NY         CV015516         WEITZ & LUXENBERG, PC                                SONNENFELD           MARGARET L            NY         11413000         WEITZ & LUXENBERG, PC
SNOWDEN              PERRY                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                SOPCZYK              DONNA M               NY         8171592017       WEITZ & LUXENBERG, PC
SNOWDEN              ROBERT                NY         01CIV3901        WEITZ & LUXENBERG, PC                                SOPER                ALVIN J               NY         1902642017       WEITZ & LUXENBERG, PC
SNYDER               CHARLES P             NY         02106579         WEITZ & LUXENBERG, PC                                SOPER                CHARLOTTE             NY         10844199         WEITZ & LUXENBERG, PC
SNYDER               CHARLES P             NY         11308402         WEITZ & LUXENBERG, PC                                SOPER                DAVID H               NY         11521203         WEITZ & LUXENBERG, PC
SNYDER               DANIEL                NY         11159403         WEITZ & LUXENBERG, PC                                SOPER                PHILOMENA             NY         1902642017       WEITZ & LUXENBERG, PC
SNYDER               DARRELL               NY         10542799         WEITZ & LUXENBERG, PC                                SOPER                SPENCER R             NY         10844199         WEITZ & LUXENBERG, PC
SNYDER               FRANCES J             NY         11010100         WEITZ & LUXENBERG, PC                                SOPKO                CHARLOTTE             NY         10740701         WEITZ & LUXENBERG, PC
SOBCZAK              BARBARA               NY         10416800         WEITZ & LUXENBERG, PC                                SOPKO                WILLIAM               NY         10740701         WEITZ & LUXENBERG, PC
SOBCZAK              WILLIAM M             NY         10416800         WEITZ & LUXENBERG, PC                                SOPOT                BEATRICE              NY         11414200         WEITZ & LUXENBERG, PC
SOBEL                NANETTE               NY         19012508         WEITZ & LUXENBERG, PC                                SOPOT                JOSEPH                NY         11414200         WEITZ & LUXENBERG, PC
SOBEL                SOL                   NY         19012508         WEITZ & LUXENBERG, PC                                SORANO               VINCENT J             NY         1903102015       WEITZ & LUXENBERG, PC
SOBIESKI             MICHAEL J             NY         10700102         WEITZ & LUXENBERG, PC                                SORBELLO             JANET MARTHA          NY         99112602         WEITZ & LUXENBERG, PC
SOBILO               JUDITH A              NY         10713300         WEITZ & LUXENBERG, PC                                SORBELLO             JOSEPH                NY         99112602         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1068
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 403 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SORELL               MURRAY                NY         10944600         WEITZ & LUXENBERG, PC                                SPARROCK             CHARLES V             NY         19042609         WEITZ & LUXENBERG, PC
SORELL               MURRAY                NY         99122187         WEITZ & LUXENBERG, PC                                SPARROCK             ELEANOR               NY         19042609         WEITZ & LUXENBERG, PC
SORGE                BARBARA A             NY         10740202         WEITZ & LUXENBERG, PC                                SPATAFORA            KATHERINE             NY         10416500         WEITZ & LUXENBERG, PC
SORGE                CHARLES T             NY         10740202         WEITZ & LUXENBERG, PC                                SPATAFORA            MICHAEL               NY         10416500         WEITZ & LUXENBERG, PC
SORICE               ANTIONETTE            NY         10276106         WEITZ & LUXENBERG, PC                                SPEAKMAN             BEATRICE              NY         10716902         WEITZ & LUXENBERG, PC
SORICE               FRANK                 NY         10276106         WEITZ & LUXENBERG, PC                                SPEAKMAN             HENRY A               NY         10716902         WEITZ & LUXENBERG, PC
SORIERO              MARIO                 NY         10740601         WEITZ & LUXENBERG, PC                                SPEARMAN             CALVIN                NY         12044399         WEITZ & LUXENBERG, PC
SORRELLS             JANIE                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                SPEARMAN             JAMES E               NY         01111234         WEITZ & LUXENBERG, PC
SORRELLS             JOE MAC               NY         CIV006917        WEITZ & LUXENBERG, PC                                SPEARMAN             MARY                  NY         01111234         WEITZ & LUXENBERG, PC
SORRELLS             MIGNON                NY         CIV006917        WEITZ & LUXENBERG, PC                                SPEARS               GERALD                NY         10740201         WEITZ & LUXENBERG, PC
SORRELLS             OSCAR                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                SPEARS               IRA                   NY         CV016610         WEITZ & LUXENBERG, PC
SORRENTINO           DOROTHY               NY         02106579         WEITZ & LUXENBERG, PC                                SPEARS               LUCILLE               NY         CV016610         WEITZ & LUXENBERG, PC
SORRENTINO           MARK                  FL         0025003CA42      WEITZ & LUXENBERG, PC                                SPEARS               ROBIN                 NY         10740201         WEITZ & LUXENBERG, PC
SORRENTINO           NICHOLAS SALVATORE    NY         02106579         WEITZ & LUXENBERG, PC                                SPECIALE             JOSEPH A              NY         10740202         WEITZ & LUXENBERG, PC
SORRENTINO           ROBIN                 FL         0025003CA42      WEITZ & LUXENBERG, PC                                SPECKMAN             ELINOR                NY         11477700         WEITZ & LUXENBERG, PC
SORRENTINO           ROBIN M               FL         0025003CA42      WEITZ & LUXENBERG, PC                                SPECKMAN             ROBERT FRANCIS        NY         11477700         WEITZ & LUXENBERG, PC
SORRENTINO           TERESA                NY         99105619         WEITZ & LUXENBERG, PC                                SPECTOR              ROBERT                NY         11413900         WEITZ & LUXENBERG, PC
SORRENTINO           THOMAS                NY         99105619         WEITZ & LUXENBERG, PC                                SPECTOR              ROSE OLENBERG         NY         11413900         WEITZ & LUXENBERG, PC
SOSIAK               STELLA                NJ         MIDL135014AS     WEITZ & LUXENBERG, PC                                SPEER                BEVERLY J             NY         11413800         WEITZ & LUXENBERG, PC
SOSIAK               WALTER                NJ         MIDL135014AS     WEITZ & LUXENBERG, PC                                SPEER                JOHN E                NY         11413800         WEITZ & LUXENBERG, PC
SOSNOSKI             PATRICIA              NY         10817004         WEITZ & LUXENBERG, PC                                SPEICHER             JOSEPH                NY         11809603         WEITZ & LUXENBERG, PC
SOSNOSKI             WALTER                NY         10817004         WEITZ & LUXENBERG, PC                                SPEICHER             SONJA KUNTZLER        NY         11809603         WEITZ & LUXENBERG, PC
SOSNOWSKI            CELIA                 NY         01114662         WEITZ & LUXENBERG, PC                                SPEIDELL             CHARLES               NY         12043201         WEITZ & LUXENBERG, PC
SOSNOWSKI            HENRY V               NY         01114662         WEITZ & LUXENBERG, PC                                SPEIDELL             MARILYN               NY         12043201         WEITZ & LUXENBERG, PC
SOSNOWSKI            VICTORIA              NY         10562099         WEITZ & LUXENBERG, PC                                SPELL                CONSTANCE RAPONE      NY         11788200         WEITZ & LUXENBERG, PC
SOSNOWSKI            WITOLD                NY         10562099         WEITZ & LUXENBERG, PC                                SPELLMAN             MARY                  NY         10740101         WEITZ & LUXENBERG, PC
SOTO                 ISHMAEL               NY         12039501         WEITZ & LUXENBERG, PC                                SPELLMAN             PATRICK               NY         10740101         WEITZ & LUXENBERG, PC
SOTTILARE            ELEANOR               NY         12107697         WEITZ & LUXENBERG, PC                                SPENCER              LINDA L               NY         02120615         WEITZ & LUXENBERG, PC
SOTTILARE            ROBERT                NY         12107697         WEITZ & LUXENBERG, PC                                SPENCER              LINDA L               NY         12757102         WEITZ & LUXENBERG, PC
SOTTOSANTI           JOSEPH                NY         12042901         WEITZ & LUXENBERG, PC                                SPENCER              MICHAEL               NY         01108010         WEITZ & LUXENBERG, PC
SOTTOSANTI           LUCILLE CASTELLOCC    NY         12042901         WEITZ & LUXENBERG, PC                                SPENSER              SAMUEL                NY         12444102         WEITZ & LUXENBERG, PC
SOULT                LINDA LOU             NY         10871600         WEITZ & LUXENBERG, PC                                SPENSER              SAMUEL                NY         10322203         WEITZ & LUXENBERG, PC
SOUSA                ANTONIO A             NY         12043101         WEITZ & LUXENBERG, PC                                SPENSIERI            CATHERINE             NY         02107099         WEITZ & LUXENBERG, PC
SOUSA                MARILYN               NY         12043101         WEITZ & LUXENBERG, PC                                SPENSIERI            FRANK A               NY         02107099         WEITZ & LUXENBERG, PC
SOUTH                BRUCE                 NY         12668502         WEITZ & LUXENBERG, PC                                SPENSLEY             MARILYN               NY         12668702         WEITZ & LUXENBERG, PC
SOUTH                BRUCE                 NY         10332703         WEITZ & LUXENBERG, PC                                SPENSLEY             MARILYN               NY         10463603         WEITZ & LUXENBERG, PC
SOUVA                CLARE                 NY         10680602         WEITZ & LUXENBERG, PC                                SPERANZA             GINA                  NY         11413700         WEITZ & LUXENBERG, PC
SOUVA                JAMES NEIL            NY         10680602         WEITZ & LUXENBERG, PC                                SPERANZA             MARY                  NY         11413700         WEITZ & LUXENBERG, PC
SOWIZDRAL            JOHN S                NY         12693702         WEITZ & LUXENBERG, PC                                SPERANZA             SALVATORE             NY         11413700         WEITZ & LUXENBERG, PC
SPADACCINI           NIHOLAS               NY         01111227         WEITZ & LUXENBERG, PC                                SPERBECK             PATRICIA              NY         02107004         WEITZ & LUXENBERG, PC
SPADAFORA            MARIO A               NY         10378204         WEITZ & LUXENBERG, PC                                SPERBECK             RONALD R              NY         02107004         WEITZ & LUXENBERG, PC
SPADARO              LOUIS R               NY         10162505         WEITZ & LUXENBERG, PC                                SPERUGGIA            GEORGINE A            NY         1900072016       WEITZ & LUXENBERG, PC
SPADARO              ROBERT                NY         11123101         WEITZ & LUXENBERG, PC                                SPERUGGIA            RICHARD               NY         1900072016       WEITZ & LUXENBERG, PC
SPADARO              THERESA               NY         11123101         WEITZ & LUXENBERG, PC                                SPETA                JANE                  NY         10740001         WEITZ & LUXENBERG, PC
SPAGLI               ANNA                  NY         10700102         WEITZ & LUXENBERG, PC                                SPETA                RALPH E               NY         10740001         WEITZ & LUXENBERG, PC
SPAGLI               MARIO A               NY         10700102         WEITZ & LUXENBERG, PC                                SPEYER               JOHN J                NY         10847899         WEITZ & LUXENBERG, PC
SPAGNOLA             ANGELA                NY         99105623         WEITZ & LUXENBERG, PC                                SPEYER               NANCY                 NY         10847899         WEITZ & LUXENBERG, PC
SPAGNOLA             JOSEPH J              NY         12668502         WEITZ & LUXENBERG, PC                                SPEZZACATENA         CAROL ANN             NY         10740501         WEITZ & LUXENBERG, PC
SPAGNOLA             VINCENT JOSEPH        NY         99105623         WEITZ & LUXENBERG, PC                                SPEZZACATENA         JOSEPH                NY         10740501         WEITZ & LUXENBERG, PC
SPAINHOUR            SHIRLEY ANN           NY         00CIV3589        WEITZ & LUXENBERG, PC                                SPIAK                MICHAEL               NY         19045511         WEITZ & LUXENBERG, PC
SPALLANE             ROSEMARY              NY         11414100         WEITZ & LUXENBERG, PC                                SPIAK                NANCY                 NY         19045511         WEITZ & LUXENBERG, PC
SPALLANE             WALTER J              NY         11414100         WEITZ & LUXENBERG, PC                                SPICIJARIC           JOHN                  NY         1900142016       WEITZ & LUXENBERG, PC
SPALLONE             EDWARD                NY         10416600         WEITZ & LUXENBERG, PC                                SPICIJARIC           JOHN C                NY         1900142016       WEITZ & LUXENBERG, PC
SPALLONE             FRANCES C             NY         10416600         WEITZ & LUXENBERG, PC                                SPICKES              ERNEST E              NY         01CIV3901        WEITZ & LUXENBERG, PC
SPAMPANATO           MAVIS                 NY         1901632014       WEITZ & LUXENBERG, PC                                SPICKES              SYLVIA                NY         01CIV3901        WEITZ & LUXENBERG, PC
SPAMPANATO           RALPH                 NY         1901632014       WEITZ & LUXENBERG, PC                                SPIEGEL              AGNES                 NY         12693702         WEITZ & LUXENBERG, PC
SPANN                BILL                  NY         CV022371         WEITZ & LUXENBERG, PC                                SPIEGEL              THOMAS W              NY         12693702         WEITZ & LUXENBERG, PC
SPANN                GARY EUGENE           NY         CV025685         WEITZ & LUXENBERG, PC                                SPIEGELBERG          SALLY W               NY         19035910         WEITZ & LUXENBERG, PC
SPANN                HATTIE                NY         CV025685         WEITZ & LUXENBERG, PC                                SPIELER              JERRY                 NY         12110001         WEITZ & LUXENBERG, PC
SPANN                WANEVA                NY         CV022371         WEITZ & LUXENBERG, PC                                SPIELER              JERRY                 NY         10646602         WEITZ & LUXENBERG, PC
SPANO                GAETANA I             NY         10397407         WEITZ & LUXENBERG, PC                                SPIELER              ZORINA                NY         12110001         WEITZ & LUXENBERG, PC
SPANO                MICHAEL               NY         10397407         WEITZ & LUXENBERG, PC                                SPIELER              ZORINA                NY         10646602         WEITZ & LUXENBERG, PC
SPARA                FRANCIS X             NY         02106707         WEITZ & LUXENBERG, PC                                SPIELSINGER          RUBIN                 NY         12039701         WEITZ & LUXENBERG, PC
SPARACINO            ERNEST R              NY         1903192017       WEITZ & LUXENBERG, PC                                SPIELSINGER          RUBIN                 NY         10505902         WEITZ & LUXENBERG, PC
SPARACINO            MARIE                 NY         1903192017       WEITZ & LUXENBERG, PC                                SPIELSINGER          RUTH                  NY         12039701         WEITZ & LUXENBERG, PC
SPARAGO              ALEX                  NY         1904232014       WEITZ & LUXENBERG, PC                                SPIELSINGER          RUTH                  NY         10505902         WEITZ & LUXENBERG, PC
SPARKS               DALTON E              NY         11414000         WEITZ & LUXENBERG, PC                                SPIEWAK              MARY                  NY         02106580         WEITZ & LUXENBERG, PC
SPARKS               EMILY                 NY         11414000         WEITZ & LUXENBERG, PC                                SPIEWAK              THEODORE              NY         02106580         WEITZ & LUXENBERG, PC
SPARKS               HERMAN W              NY         10008703         WEITZ & LUXENBERG, PC                                SPILLANE             JAMES B               NY         01111234         WEITZ & LUXENBERG, PC
SPARLING             JOAN C                NY         10740301         WEITZ & LUXENBERG, PC                                SPILLANE             JAMES B               NY         11921801         WEITZ & LUXENBERG, PC
SPARLING             OSCAR H               NY         10740301         WEITZ & LUXENBERG, PC                                SPILLANE             PATRICIA              NY         01111234         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1069
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 404 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SPILLANE             PATRICIA              NY         11921801         WEITZ & LUXENBERG, PC                                STAAL                EDWARD J              NY         1903032019       WEITZ & LUXENBERG, PC
SPINA                GEORGE                NY         11413600         WEITZ & LUXENBERG, PC                                STAAL                ROSE                  NY         1903032019       WEITZ & LUXENBERG, PC
SPINA                JANET                 NY         11413600         WEITZ & LUXENBERG, PC                                STABILE              ANGIE                 NY         11449905         WEITZ & LUXENBERG, PC
SPINA                ROBERTA E             NY         11413600         WEITZ & LUXENBERG, PC                                STABILE              ARTHUR                NY         11449905         WEITZ & LUXENBERG, PC
SPINELLI             ANTONIO               NY         12038901         WEITZ & LUXENBERG, PC                                STABILE              GIACOMO               NY         99105693         WEITZ & LUXENBERG, PC
SPINELLI             ANTONIO               NY         10002202         WEITZ & LUXENBERG, PC                                STACEY               DAWN E                NY         10688900         WEITZ & LUXENBERG, PC
SPINELLI             JOSEPH                NY         02121475         WEITZ & LUXENBERG, PC                                STACHOWIAK           CHARLES F             NY         99105694         WEITZ & LUXENBERG, PC
SPINELLI             MARGHERITA            NY         12038901         WEITZ & LUXENBERG, PC                                STACHOWIAK           DELPHINE              NY         99105694         WEITZ & LUXENBERG, PC
SPINELLI             MARGHERITA            NY         10002202         WEITZ & LUXENBERG, PC                                STACHOWSKI           DOLORES               NY         11414700         WEITZ & LUXENBERG, PC
SPINNER              GERARD VICTOR         NY         11026802         WEITZ & LUXENBERG, PC                                STACHOWSKI           JOHN J                NY         11414700         WEITZ & LUXENBERG, PC
SPINNING             EUGENE E              NY         10740302         WEITZ & LUXENBERG, PC                                STACHOWSKI           NATALIE               NY         10871101         WEITZ & LUXENBERG, PC
SPIRIO               JOSEPH                NY         10669502         WEITZ & LUXENBERG, PC                                STACHOWSKI           VICTOR J              NY         10871101         WEITZ & LUXENBERG, PC
SPIRYTUS             ELLEN                 NY         1900552014       WEITZ & LUXENBERG, PC                                STACK                EDWARD                NY         11414600         WEITZ & LUXENBERG, PC
SPIRYTUS             HARRY E               NY         1900552014       WEITZ & LUXENBERG, PC                                STADDAN              ERNA                  NY         11916203         WEITZ & LUXENBERG, PC
SPITALIERI           ROSA                  NY         1901692016       WEITZ & LUXENBERG, PC                                STADDAN              LOUIS H               NY         11916203         WEITZ & LUXENBERG, PC
SPITALIERI           VINCENT               NY         1901692016       WEITZ & LUXENBERG, PC                                STADLER              THOMAS L              NY         10416300         WEITZ & LUXENBERG, PC
SPITZFADEN           CHARLES               NY         11432200         WEITZ & LUXENBERG, PC                                STAFFORD             JACK                  NY         CV011462         WEITZ & LUXENBERG, PC
SPITZFADEN           MARIE                 NY         11432200         WEITZ & LUXENBERG, PC                                STAFFORD             JACK                  NY         00CIV3589        WEITZ & LUXENBERG, PC
SPIVEY               ELVIN                 NY         1900752013       WEITZ & LUXENBERG, PC                                STAFFORD             PAULINE               NY         00CIV3589        WEITZ & LUXENBERG, PC
SPIVEY               SUSAN                 NY         1900752013       WEITZ & LUXENBERG, PC                                STAFFORD             PAULINE               NY         CV011462         WEITZ & LUXENBERG, PC
SPLATT               EVERETT E             NY         99108456         WEITZ & LUXENBERG, PC                                STAGE                CLIFFORD J            NY         11414500         WEITZ & LUXENBERG, PC
SPLATT               LOUISE                NY         99108456         WEITZ & LUXENBERG, PC                                STAGE                HELEN                 NY         11414500         WEITZ & LUXENBERG, PC
SPLAWNIK             JOAN                  NY         99105690         WEITZ & LUXENBERG, PC                                STAGER               BETTY J               PA         191101543        WEITZ & LUXENBERG, PC
SPLAWNIK             RAYMOND J             NY         99105690         WEITZ & LUXENBERG, PC                                STAGER               GARY S                PA         191101543        WEITZ & LUXENBERG, PC
SPONG                CATHERINE             NY         10670802         WEITZ & LUXENBERG, PC                                STAGNITTA            JENNIE                NY         11478300         WEITZ & LUXENBERG, PC
SPONG                RICHARD E             NY         10670802         WEITZ & LUXENBERG, PC                                STAGNITTA            SAM V                 NY         11478300         WEITZ & LUXENBERG, PC
SPONHOLZ             ALBERT E              NY         12788702         WEITZ & LUXENBERG, PC                                STAHL                JUNE                  NY         10023403         WEITZ & LUXENBERG, PC
SPONHOLZ             SUE                   NY         12788702         WEITZ & LUXENBERG, PC                                STAHL                LEO                   NY         10023403         WEITZ & LUXENBERG, PC
SPORS                HENRY B               NY         11477900         WEITZ & LUXENBERG, PC                                STAHURSKI            LILY                  NY         12788702         WEITZ & LUXENBERG, PC
SPRADA               PAUL M                NY         10587102         WEITZ & LUXENBERG, PC                                STAHURSKI            STANLEY               NY         12788702         WEITZ & LUXENBERG, PC
SPRADA               SUSAN                 NY         10587102         WEITZ & LUXENBERG, PC                                STAIGER              BARBARA               NY         10846299         WEITZ & LUXENBERG, PC
SPRAGUE              LORRAINE HELEN        NY         1903422018       WEITZ & LUXENBERG, PC                                STAIGER              WILLIAM               NY         10846299         WEITZ & LUXENBERG, PC
SPRANKLE             JEFFERY G             NY         10700002         WEITZ & LUXENBERG, PC                                STAINES              EDMUND T              NY         11414400         WEITZ & LUXENBERG, PC
SPREACKER            BILLY PATTON          NY         99108460         WEITZ & LUXENBERG, PC                                STAINES              JEAN                  NY         11414400         WEITZ & LUXENBERG, PC
SPREACKER            FRANKIE D             NY         99108460         WEITZ & LUXENBERG, PC                                STALKER              CHARLES               NY         12038901         WEITZ & LUXENBERG, PC
SPRINGER             MINNIE                NY         00CIV3589        WEITZ & LUXENBERG, PC                                STALKER              ROSALIE               NY         12038901         WEITZ & LUXENBERG, PC
SPRINGER             RAYMOND D             NY         00CIV3589        WEITZ & LUXENBERG, PC                                STALLONE             EVA                   NY         10416200         WEITZ & LUXENBERG, PC
SPRINGSTEAD          CLARENCE R            NY         12668102         WEITZ & LUXENBERG, PC                                STALLONE             MICHAEL R             NY         10416200         WEITZ & LUXENBERG, PC
SPRINGSTEAD          CLARENCE R            NY         10349703         WEITZ & LUXENBERG, PC                                STALTER              CHARLES A             NY         11414300         WEITZ & LUXENBERG, PC
SPRUFERO             JOSEPH P              NY         99108452         WEITZ & LUXENBERG, PC                                STALTER              DOROTHY               NY         10738101         WEITZ & LUXENBERG, PC
SPULNICK             ANTHONY JOHN          NY         02105715         WEITZ & LUXENBERG, PC                                STALTER              JOHNNYE               NY         00CIV3589        WEITZ & LUXENBERG, PC
SPULNICK             SANDRA                NY         02105715         WEITZ & LUXENBERG, PC                                STALTER              MARION                NY         11415400         WEITZ & LUXENBERG, PC
SPUNT                ALICE                 NY         11478100         WEITZ & LUXENBERG, PC                                STALTER              PAUL E                NY         00CIV3589        WEITZ & LUXENBERG, PC
SPUNT                GEORGE T              NY         11478100         WEITZ & LUXENBERG, PC                                STALTER              RAYMOND               NY         10738101         WEITZ & LUXENBERG, PC
SPUNT                JUNE S                NY         11478100         WEITZ & LUXENBERG, PC                                STALTER              WILLIAM T             NY         11415400         WEITZ & LUXENBERG, PC
SPURLIN              IRENE                 NY         CV013365         WEITZ & LUXENBERG, PC                                STALZER              DORIS                 NY         10738001         WEITZ & LUXENBERG, PC
SPYCHALSKI           KENNETH               NY         11414800         WEITZ & LUXENBERG, PC                                STALZER              GEORGE                NY         10738001         WEITZ & LUXENBERG, PC
SPYCHALSKI           MARYANN               NY         11414800         WEITZ & LUXENBERG, PC                                STAMATO              IRENE                 NY         10926303         WEITZ & LUXENBERG, PC
SPYCHALSKY           DIANNE                NY         99105691         WEITZ & LUXENBERG, PC                                STAMATO              VINCENT               NY         10926303         WEITZ & LUXENBERG, PC
SPYCHALSKY           EDWARD J              NY         99105691         WEITZ & LUXENBERG, PC                                STAMMATES            KATHLEEN              NY         10696502         WEITZ & LUXENBERG, PC
SPYRIDON             LEONA                 NY         11159003         WEITZ & LUXENBERG, PC                                STAMMATES            STEPHEN E             NY         10696502         WEITZ & LUXENBERG, PC
SPYRIDON             SPYRO                 NY         11159003         WEITZ & LUXENBERG, PC                                STAMOULIS            ATHINA                NY         11625301         WEITZ & LUXENBERG, PC
SQUEGLIA             ANTHONY               NY         12693702         WEITZ & LUXENBERG, PC                                STAMOULIS            ATHINA                NY         01111221         WEITZ & LUXENBERG, PC
SQUEGLIA             BARBARA               NY         12693702         WEITZ & LUXENBERG, PC                                STAMOULIS            STAMATIOS             NY         11625301         WEITZ & LUXENBERG, PC
SQUICCIARINI         EVELYN                NY         99105692         WEITZ & LUXENBERG, PC                                STAMOULIS            STAMATIOS             NY         01111221         WEITZ & LUXENBERG, PC
SQUICCIARINI         FREDSWINDA            NY         10738201         WEITZ & LUXENBERG, PC                                STAMP                MILTON THOMAS         NY         12801902         WEITZ & LUXENBERG, PC
SQUICCIARINI         THOMAS R              NY         10738201         WEITZ & LUXENBERG, PC                                STAMP                PATRICIA              NY         12801902         WEITZ & LUXENBERG, PC
SQUICCIARINI         VITO                  NY         99105692         WEITZ & LUXENBERG, PC                                STAMP                RICHARD C             NY         10696302         WEITZ & LUXENBERG, PC
SQUILLACE            ILENE                 NY         10563100         WEITZ & LUXENBERG, PC                                STAMPOR              MARILYN RITA          NY         11478400         WEITZ & LUXENBERG, PC
SQUIRES              LISA                  NY         10714100         WEITZ & LUXENBERG, PC                                STAMPOR              RICHARD H             NY         11478400         WEITZ & LUXENBERG, PC
SSAKAL               PRISCILLA             NY         11124600         WEITZ & LUXENBERG, PC                                STAMPS               GEORGE                NY         11415300         WEITZ & LUXENBERG, PC
ST ANN               CAROL                 NY         10700002         WEITZ & LUXENBERG, PC                                STAMPS               MILDRED               NY         11415300         WEITZ & LUXENBERG, PC
ST ANN               RIED L                NY         10700002         WEITZ & LUXENBERG, PC                                STANFORD             EDWARD                NY         1904692013       WEITZ & LUXENBERG, PC
ST GERMAINE          BONNIE                NY         10587002         WEITZ & LUXENBERG, PC                                STANFORD             JEANNE                NY         1904692013       WEITZ & LUXENBERG, PC
ST GERMAINE          DALTON                NY         10587002         WEITZ & LUXENBERG, PC                                STANGE               AMY                   NY         11478500         WEITZ & LUXENBERG, PC
ST HILAIRE           LEON A                NY         10587102         WEITZ & LUXENBERG, PC                                STANGE               TRYGVE                NY         11478500         WEITZ & LUXENBERG, PC
ST LAURENT           FERNAND G             NY         02107005         WEITZ & LUXENBERG, PC                                STANGELAND           MARTHA                NY         11439100         WEITZ & LUXENBERG, PC
ST LAURENT           MICHELINE             NY         02107005         WEITZ & LUXENBERG, PC                                STANGELAND           MARTHA                NY         12219799         WEITZ & LUXENBERG, PC
ST THOMAS            DAVID P               NY         11026802         WEITZ & LUXENBERG, PC                                STANKE               RONALD A              NY         10740502         WEITZ & LUXENBERG, PC
ST. HILL             EDWARD                NY         10234103         WEITZ & LUXENBERG, PC                                STANKO               ANNA MARIE            NY         11478600         WEITZ & LUXENBERG, PC
ST.HILL              GERMAIN               NY         10234103         WEITZ & LUXENBERG, PC                                STANKO               PAUL J                NY         11478600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1070
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 405 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STANLEY              ALEXANDRA             NY         12693402         WEITZ & LUXENBERG, PC                                STEELE               MARITA                NY         01CIV3897        WEITZ & LUXENBERG, PC
STANLEY              CHARLES D             NY         CV024031         WEITZ & LUXENBERG, PC                                STEELE               ROGER DALE            NY         CV016942         WEITZ & LUXENBERG, PC
STANLEY              DAVID RONALD          NY         00CIV3589        WEITZ & LUXENBERG, PC                                STEENBERG            FLORENCE J            NY         10737701         WEITZ & LUXENBERG, PC
STANLEY              FELIX                 NY         02105718         WEITZ & LUXENBERG, PC                                STEENBERG            MILLARD C             NY         10737701         WEITZ & LUXENBERG, PC
STANLEY              FELIX                 NY         11228502         WEITZ & LUXENBERG, PC                                STEEPE               JEAN                  NY         10737601         WEITZ & LUXENBERG, PC
STANLEY              JANA LYNN             NY         00CIV3589        WEITZ & LUXENBERG, PC                                STEEPE               RAYMOND               NY         10737601         WEITZ & LUXENBERG, PC
STANLEY              JOANN P               NY         CV025685         WEITZ & LUXENBERG, PC                                STEFANE              ARLENE                NY         12317201         WEITZ & LUXENBERG, PC
STANLEY              MARGARET              NY         12317301         WEITZ & LUXENBERG, PC                                STEFANE              ARLENE                NY         01111230         WEITZ & LUXENBERG, PC
STANLEY              MARGARET              NY         01111230         WEITZ & LUXENBERG, PC                                STEFANE              JOHN A                NY         12317201         WEITZ & LUXENBERG, PC
STANLEY              MARY E                NY         02105718         WEITZ & LUXENBERG, PC                                STEFANE              JOHN A                NY         01111230         WEITZ & LUXENBERG, PC
STANLEY              MARY E                NY         11228502         WEITZ & LUXENBERG, PC                                STEFANIAK            JOHN V                NY         10737501         WEITZ & LUXENBERG, PC
STANLEY              MICHAEL J             NY         11476600         WEITZ & LUXENBERG, PC                                STEFANIAK            KATHLEEN              NY         10737501         WEITZ & LUXENBERG, PC
STANLEY              ROBERT                NY         12693402         WEITZ & LUXENBERG, PC                                STEFANIK             JOHN J                NY         12038901         WEITZ & LUXENBERG, PC
STANLEY              THOMAS                NY         12317301         WEITZ & LUXENBERG, PC                                STEFANIK             SARAH                 NY         12038901         WEITZ & LUXENBERG, PC
STANLEY              THOMAS                NY         01111230         WEITZ & LUXENBERG, PC                                STEFANOV             NIKOLAI               NY         10737401         WEITZ & LUXENBERG, PC
STANTON              CATHERINE H           NY         10418300         WEITZ & LUXENBERG, PC                                STEFFENS             DOLORES               NY         10871101         WEITZ & LUXENBERG, PC
STANTON              CHRIS                 NY         00CIV3589        WEITZ & LUXENBERG, PC                                STEFFENS             ROBERT J              NY         10871101         WEITZ & LUXENBERG, PC
STANTON              JAMES                 NY         10737901         WEITZ & LUXENBERG, PC                                STEGEMANN            HORST                 NY         10060803         WEITZ & LUXENBERG, PC
STANTON              JAMES FRED            NY         00CIV3589        WEITZ & LUXENBERG, PC                                STEIGER              GLORIA J              NY         02106707         WEITZ & LUXENBERG, PC
STANTON              JOSEPH T              NY         10871101         WEITZ & LUXENBERG, PC                                STEIGER              MARTIN E              NY         02106707         WEITZ & LUXENBERG, PC
STANTON              MARY                  NY         10871101         WEITZ & LUXENBERG, PC                                STEIGER              MARY                  NY         02107099         WEITZ & LUXENBERG, PC
STANTON              ROBERT O              NY         10418300         WEITZ & LUXENBERG, PC                                STEIGER              REINHARD J            NY         02107099         WEITZ & LUXENBERG, PC
STANTON              SHIRLEY A             NY         11478700         WEITZ & LUXENBERG, PC                                STEIMER              JOHN J                NY         110465           WEITZ & LUXENBERG, PC
STANTON              VERNON CALVIN         NY         11478700         WEITZ & LUXENBERG, PC                                STEIMER              MYRILL                NY         110465           WEITZ & LUXENBERG, PC
STAPLETON            FREDERICK             NY         10737801         WEITZ & LUXENBERG, PC                                STEIN                ANITA                 NY         11644501         WEITZ & LUXENBERG, PC
STAPLETON            KEITH R               NY         1903362013       WEITZ & LUXENBERG, PC                                STEIN                AVRAM                 NY         12039701         WEITZ & LUXENBERG, PC
STARK                CB                    NY         CV025685         WEITZ & LUXENBERG, PC                                STEIN                AVRAM                 NY         10508302         WEITZ & LUXENBERG, PC
STARK                DANIEL                NY         0110941          WEITZ & LUXENBERG, PC                                STEIN                EDWIN A               NY         10294402         WEITZ & LUXENBERG, PC
STARK                EVELYN                NY         CV025685         WEITZ & LUXENBERG, PC                                STEIN                JEANNE                NY         11415100         WEITZ & LUXENBERG, PC
STARK                GINETTE B             NY         02106578         WEITZ & LUXENBERG, PC                                STEIN                PAUL                  NY         11415100         WEITZ & LUXENBERG, PC
STARK                HUGH A                NY         02106578         WEITZ & LUXENBERG, PC                                STEIN                VERONICA B            NY         19030810         WEITZ & LUXENBERG, PC
STARK                JAMES W               NY         10680602         WEITZ & LUXENBERG, PC                                STEIN                WILLIAM J             NY         19030810         WEITZ & LUXENBERG, PC
STARK                JANET                 NY         10070801         WEITZ & LUXENBERG, PC                                STEINBACH            MARILYN M             NY         01113259         WEITZ & LUXENBERG, PC
STARK                LINDA ANN             NY         10680602         WEITZ & LUXENBERG, PC                                STEINBACH            WILLIAM H             NY         01113259         WEITZ & LUXENBERG, PC
STARK                SUSAN                 NY         10598600         WEITZ & LUXENBERG, PC                                STEINBERG            ANN                   NY         11026802         WEITZ & LUXENBERG, PC
STARKE               JAMES A               NY         12433902         WEITZ & LUXENBERG, PC                                STEINBERG            BENJAMIN              NY         11026802         WEITZ & LUXENBERG, PC
STARKE               JOAN                  NY         12433902         WEITZ & LUXENBERG, PC                                STEINBERG            JEANNE                NY         11478800         WEITZ & LUXENBERG, PC
STARKS               JOANNE M              NY         02122050         WEITZ & LUXENBERG, PC                                STEINBERG            LEON L                NY         19034709         WEITZ & LUXENBERG, PC
STARKS               STEPHEN J             NY         02122050         WEITZ & LUXENBERG, PC                                STEINBERG            RICHARD               NY         19034709         WEITZ & LUXENBERG, PC
STARNER              BRANDEE               NY         19021711         WEITZ & LUXENBERG, PC                                STEINBERG            SALLY                 NY         19034709         WEITZ & LUXENBERG, PC
STARR                EDWARD R              NY         10008703         WEITZ & LUXENBERG, PC                                STEINBERG            WILLIAM S             NY         11478800         WEITZ & LUXENBERG, PC
STARR                EDWARD R              NY         10786103         WEITZ & LUXENBERG, PC                                STEINBRECHER         FREDERICK             NY         01111223         WEITZ & LUXENBERG, PC
STARR                JAMES                 NY         10871101         WEITZ & LUXENBERG, PC                                STEINBRENNER         DOROTHY E             NY         01118264         WEITZ & LUXENBERG, PC
STARR                MARY LOUISE           NY         10470500         WEITZ & LUXENBERG, PC                                STEINBRENNER         FREDERICK C           NY         01118264         WEITZ & LUXENBERG, PC
STARR                PEGGY                 NY         10871101         WEITZ & LUXENBERG, PC                                STEINER              GERALDINE             NY         01111222         WEITZ & LUXENBERG, PC
STARTEK              RICHARD L             NY         02106693         WEITZ & LUXENBERG, PC                                STEINER              RICHARD               NY         01111222         WEITZ & LUXENBERG, PC
STARTEK              SUSAN M               NY         02106693         WEITZ & LUXENBERG, PC                                STEINER              ROBERT                NY         10737301         WEITZ & LUXENBERG, PC
STASUIL              ANNE MARIE            NY         12101000         WEITZ & LUXENBERG, PC                                STEINIGER            CHESTER A             NY         11415000         WEITZ & LUXENBERG, PC
STASUIL              JOSEPH S              NY         12101000         WEITZ & LUXENBERG, PC                                STEINIGER            LOIS F                NY         11415000         WEITZ & LUXENBERG, PC
STASUIL              THOMAS J              NY         12101000         WEITZ & LUXENBERG, PC                                STEININGER           JAMES R               NY         10566299         WEITZ & LUXENBERG, PC
STATH                PAUL                  NY         11415200         WEITZ & LUXENBERG, PC                                STEININGER           JEAN                  NY         10566299         WEITZ & LUXENBERG, PC
STATH                SUSAN                 NY         11415200         WEITZ & LUXENBERG, PC                                STEINMAN             LEONARD               NY         11119599         WEITZ & LUXENBERG, PC
STAUBER              ARLENE M              NY         CV014788         WEITZ & LUXENBERG, PC                                STELFOX              JAMES P               NY         02107102         WEITZ & LUXENBERG, PC
STAUBER              EDWARD L              NY         CV014788         WEITZ & LUXENBERG, PC                                STELFOX              LINDA                 NY         02107102         WEITZ & LUXENBERG, PC
STAUBLE              GEORGE                NY         1902212018       WEITZ & LUXENBERG, PC                                STELL                HUGH C                NY         00CIV3589        WEITZ & LUXENBERG, PC
STAUBLE              JOAN B                NY         1902212018       WEITZ & LUXENBERG, PC                                STELLA               CAMELA                NY         10550999         WEITZ & LUXENBERG, PC
STAUFFER             LAURA                 DE         N17C03231ASB     WEITZ & LUXENBERG, PC                                STELLA               CRUCIANA              NY         11416100         WEITZ & LUXENBERG, PC
STAYTON              CHARLIE LEE           NY         01CIV3900        WEITZ & LUXENBERG, PC                                STELLA               JOSEPH A              NY         10550999         WEITZ & LUXENBERG, PC
STAYTON              ERNESTINE             NY         00CIV3589        WEITZ & LUXENBERG, PC                                STELLA               VITO                  NY         11416100         WEITZ & LUXENBERG, PC
STAYTON              JC                    NY         00CIV3589        WEITZ & LUXENBERG, PC                                STELLE               CAROL A               NY         12081099         WEITZ & LUXENBERG, PC
STEADMAN             ELLEN                 NY         12693702         WEITZ & LUXENBERG, PC                                STELLEFSON           JOHN O                NY         00124334         WEITZ & LUXENBERG, PC
STEADMAN             ROBERT J              NY         12693702         WEITZ & LUXENBERG, PC                                STELLER              CARMELLA              NY         12461202         WEITZ & LUXENBERG, PC
STEARNS              CLARK H               NY         110497           WEITZ & LUXENBERG, PC                                STELLER              JOHN R                NY         12461202         WEITZ & LUXENBERG, PC
STEARNS              JIM                   NY         1902082013       WEITZ & LUXENBERG, PC                                STELLINI             FRANK                 NY         11416000         WEITZ & LUXENBERG, PC
STEARNS              SUZANNE M             NY         110497           WEITZ & LUXENBERG, PC                                STELLKE              VALARIE               NY         1903622013       WEITZ & LUXENBERG, PC
STEBBINS             JAMES W               NY         10587102         WEITZ & LUXENBERG, PC                                STELLKE              WILLIAM               NY         1903622013       WEITZ & LUXENBERG, PC
STEBBINS             RAMONA V              NY         10587102         WEITZ & LUXENBERG, PC                                STELMA               MICHAEL G             NY         19007511         WEITZ & LUXENBERG, PC
STEC                 THADDEUS V            NY         10565999         WEITZ & LUXENBERG, PC                                STELMACH             FAITH I               NY         12448902         WEITZ & LUXENBERG, PC
STECHER              JAMES R               DE         N17C07129ASB     WEITZ & LUXENBERG, PC                                STELMACH             JAMES ANTHONY         NY         12448902         WEITZ & LUXENBERG, PC
STECHER              SHARON                DE         N17C07129ASB     WEITZ & LUXENBERG, PC                                STEMWEDE             ELIZABETH             NY         10739501         WEITZ & LUXENBERG, PC
STEELE               BERTHA                NY         CV016942         WEITZ & LUXENBERG, PC                                STEMWEDE             OTTO J                NY         10739501         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1071
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 406 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STEN                 CARL HENRY            NY         11737000         WEITZ & LUXENBERG, PC                                STEVENS              JAMES                 NY         11415500         WEITZ & LUXENBERG, PC
STEN                 LISEN ANN MARIE       NY         11737000         WEITZ & LUXENBERG, PC                                STEVENS              JAMES T               NY         11415500         WEITZ & LUXENBERG, PC
STENARD              JOHN J                NY         10418200         WEITZ & LUXENBERG, PC                                STEVENS              JEROME ANTHONY        NY         11417000         WEITZ & LUXENBERG, PC
STENARD              KAREN                 NY         10418200         WEITZ & LUXENBERG, PC                                STEVENS              JOHN                  NY         10550899         WEITZ & LUXENBERG, PC
STENGLEIN            CONRAD G              NY         99108457         WEITZ & LUXENBERG, PC                                STEVENS              JUDITH                NY         1598312014       WEITZ & LUXENBERG, PC
STENGLEIN            RUTH                  NY         99108457         WEITZ & LUXENBERG, PC                                STEVENS              MADELINE              NY         10940900         WEITZ & LUXENBERG, PC
STENHOUSE            GERTRUDE              NY         CV025685         WEITZ & LUXENBERG, PC                                STEVENS              MADELINE              NY         99122190         WEITZ & LUXENBERG, PC
STENHOUSE            RUBEN JR              NY         CV025685         WEITZ & LUXENBERG, PC                                STEVENS              MARY                  NY         10739401         WEITZ & LUXENBERG, PC
STENLAKE             LOIS M                NY         19014111         WEITZ & LUXENBERG, PC                                STEVENS              MARY JOAN             NY         02122055         WEITZ & LUXENBERG, PC
STENLAKE             RALPH E               NY         19014111         WEITZ & LUXENBERG, PC                                STEVENS              ROBERT C              NY         10739401         WEITZ & LUXENBERG, PC
STENSON              JAMES W               NY         10418000         WEITZ & LUXENBERG, PC                                STEVENS              ROBERT STANLEY        NY         11416900         WEITZ & LUXENBERG, PC
STENSON              MARY LOU              NY         10418000         WEITZ & LUXENBERG, PC                                STEVENS              RONALD ARTHUR         NY         11416800         WEITZ & LUXENBERG, PC
STEPHANETS           GOSPODEN L            NY         1901142017       WEITZ & LUXENBERG, PC                                STEVENS              SAMUEL L              NY         02105713         WEITZ & LUXENBERG, PC
STEPHANETS           SOIMA                 NY         1901142017       WEITZ & LUXENBERG, PC                                STEVENS              SHIRLEY               NY         10551699         WEITZ & LUXENBERG, PC
STEPHANY             EDWARD                NY         12788602         WEITZ & LUXENBERG, PC                                STEVENS              TERRY E               NY         1900172018       WEITZ & LUXENBERG, PC
STEPHANY             EDWARD                NY         10246603         WEITZ & LUXENBERG, PC                                STEVENS              THOMAS A              NY         1598312014       WEITZ & LUXENBERG, PC
STEPHANY             FRANCES               NY         12788602         WEITZ & LUXENBERG, PC                                STEVENS              WILLIS GERALD         NY         02122055         WEITZ & LUXENBERG, PC
STEPHANY             FRANCES               NY         10246603         WEITZ & LUXENBERG, PC                                STEVENSON            GIGI F                NY         11872601         WEITZ & LUXENBERG, PC
STEPHENS             CATHERINE V           NY         11415900         WEITZ & LUXENBERG, PC                                STEVENSON            GIGI F                NY         01111233         WEITZ & LUXENBERG, PC
STEPHENS             EDWARD L              NY         11415900         WEITZ & LUXENBERG, PC                                STEVENSON            LORENZO               NY         11872601         WEITZ & LUXENBERG, PC
STEPHENS             ETHEL                 NY         CIV006917        WEITZ & LUXENBERG, PC                                STEVENSON            LORENZO               NY         01111233         WEITZ & LUXENBERG, PC
STEPHENS             GEORGE W              NY         8149212017       WEITZ & LUXENBERG, PC                                STEVENSON            ROBERT L              NY         02113280         WEITZ & LUXENBERG, PC
STEPHENS             GEORGE W              NY         02105713         WEITZ & LUXENBERG, PC                                STEVENSON            SHIRLEY A             NY         10700102         WEITZ & LUXENBERG, PC
STEPHENS             HERMON WINDELL        NY         CV021310         WEITZ & LUXENBERG, PC                                STEVENSON            TRACY                 NY         11872601         WEITZ & LUXENBERG, PC
STEPHENS             LOUISE                NY         11872501         WEITZ & LUXENBERG, PC                                STEVENSON            TRACY                 NY         01111233         WEITZ & LUXENBERG, PC
STEPHENS             LOUISE                NY         01111233         WEITZ & LUXENBERG, PC                                STEVERSON            JAMES                 NY         I200110169       WEITZ & LUXENBERG, PC
STEPHENS             LYNN                  NY         12193797         WEITZ & LUXENBERG, PC                                STEVES               EDWARD D              NY         110738           WEITZ & LUXENBERG, PC
STEPHENS             MARY M                NY         12576699         WEITZ & LUXENBERG, PC                                STEVES               LINDA M               NY         110738           WEITZ & LUXENBERG, PC
STEPHENS             NELLIE MAE            NY         01CIV3895        WEITZ & LUXENBERG, PC                                STEWARD              PATRICIA              NY         10314300         WEITZ & LUXENBERG, PC
STEPHENS             ROBERT C              NY         11872501         WEITZ & LUXENBERG, PC                                STEWART              ALFRED                NY         10739301         WEITZ & LUXENBERG, PC
STEPHENS             ROBERT C              NY         01111233         WEITZ & LUXENBERG, PC                                STEWART              ALICE                 NY         10564099         WEITZ & LUXENBERG, PC
STEPHENS             SANDRA                NY         CV021310         WEITZ & LUXENBERG, PC                                STEWART              ALICE                 NY         10564199         WEITZ & LUXENBERG, PC
STEPHENS             SHIRLEY A             NY         8149212017       WEITZ & LUXENBERG, PC                                STEWART              CAROL                 NY         1900292013       WEITZ & LUXENBERG, PC
STEPHENS             SHIRLEY A             NY         02105713         WEITZ & LUXENBERG, PC                                STEWART              EDWARD                NY         10564099         WEITZ & LUXENBERG, PC
STEPHENS             THEOTRIS              NY         01CIV3895        WEITZ & LUXENBERG, PC                                STEWART              EDWINA RUTH           NY         00CIV3589        WEITZ & LUXENBERG, PC
STEPHENS             WILLIE L              NY         CIV006917        WEITZ & LUXENBERG, PC                                STEWART              GEORGE W              NY         10564199         WEITZ & LUXENBERG, PC
STEPHENSON           FRANCES               NY         10551999         WEITZ & LUXENBERG, PC                                STEWART              JACK                  NY         11416600         WEITZ & LUXENBERG, PC
STEPHENSON           JAMES G               NY         10699902         WEITZ & LUXENBERG, PC                                STEWART              JAMES                 NY         1900292013       WEITZ & LUXENBERG, PC
STEPHENSON           JAMES JOSEPH          NY         10551999         WEITZ & LUXENBERG, PC                                STEWART              JOHN                  NY         11416500         WEITZ & LUXENBERG, PC
STEPHENSON           MICHAEL J             NY         10699902         WEITZ & LUXENBERG, PC                                STEWART              JOHN ROBERT           NY         02106579         WEITZ & LUXENBERG, PC
STEPHENSON           THOMAS                NY         10551999         WEITZ & LUXENBERG, PC                                STEWART              JOHN ROBERT           NY         11308402         WEITZ & LUXENBERG, PC
STEPNOWSKI           MARION                NY         11026702         WEITZ & LUXENBERG, PC                                STEWART              JOHNIE MAE            NY         01CIV3900        WEITZ & LUXENBERG, PC
STEPNOWSKI           MARION                NY         12634302         WEITZ & LUXENBERG, PC                                STEWART              KENNETH J             NY         10564099         WEITZ & LUXENBERG, PC
STEPNOWSKI           WALTER C              NY         11026702         WEITZ & LUXENBERG, PC                                STEWART              LEE QUINCY            NY         CV025685         WEITZ & LUXENBERG, PC
STEPNOWSKI           WALTER C              NY         12634302         WEITZ & LUXENBERG, PC                                STEWART              LEO A                 NY         02106580         WEITZ & LUXENBERG, PC
STEPOWSKI            JOANNE N              NY         02105718         WEITZ & LUXENBERG, PC                                STEWART              LEO A                 NY         11322302         WEITZ & LUXENBERG, PC
STEPOWSKI            RONALD B              NY         02105718         WEITZ & LUXENBERG, PC                                STEWART              LINDA S               NY         10564099         WEITZ & LUXENBERG, PC
STERLACCI            LOUIS                 NY         01111226         WEITZ & LUXENBERG, PC                                STEWART              LORECE                NY         01CIV3900        WEITZ & LUXENBERG, PC
STERLACCI            PHYLLIS               NY         01111226         WEITZ & LUXENBERG, PC                                STEWART              MADELENE              NY         99111885         WEITZ & LUXENBERG, PC
STERLING             MICHELLE              NY         1903772015       WEITZ & LUXENBERG, PC                                STEWART              MAMIE L               NY         11416600         WEITZ & LUXENBERG, PC
STERMER              BETTY                 NY         11415800         WEITZ & LUXENBERG, PC                                STEWART              RITA                  NY         02106580         WEITZ & LUXENBERG, PC
STERMER              IVAN S                NY         11415800         WEITZ & LUXENBERG, PC                                STEWART              RITA                  NY         11322302         WEITZ & LUXENBERG, PC
STERN                ARTHUR                NY         10485103         WEITZ & LUXENBERG, PC                                STEWART              ROBERT                NY         01CIV3900        WEITZ & LUXENBERG, PC
STERN                BLANCHE               NY         10485103         WEITZ & LUXENBERG, PC                                STEWART              ROY                   NY         11416400         WEITZ & LUXENBERG, PC
STERNER              DAWN                  NY         11415700         WEITZ & LUXENBERG, PC                                STEWART              RUBY                  NY         11416400         WEITZ & LUXENBERG, PC
STERNER              DOUGLAS H             NY         11415700         WEITZ & LUXENBERG, PC                                STEWART              TROY L                NY         01CIV3900        WEITZ & LUXENBERG, PC
STERPE               LOUIS J               NY         10785700         WEITZ & LUXENBERG, PC                                STEWART              VINCENT               NY         99111885         WEITZ & LUXENBERG, PC
STETKIEWICS          GERALD                NY         1903362012       WEITZ & LUXENBERG, PC                                STEWART              VITA                  NY         10739301         WEITZ & LUXENBERG, PC
STETSON              FRANCIS RONALD        NY         10699902         WEITZ & LUXENBERG, PC                                STEWART              WILLIE B              NY         CV015692         WEITZ & LUXENBERG, PC
STETSON              FRANCIS RONALD        NY         11135402         WEITZ & LUXENBERG, PC                                STEYERT              GERALDINE M           NY         11416300         WEITZ & LUXENBERG, PC
STETTNER             AUGUST                NY         11370503         WEITZ & LUXENBERG, PC                                STEYERT              RAYMOND A             NY         11416300         WEITZ & LUXENBERG, PC
STETTNER             CATHERINE             NY         11370503         WEITZ & LUXENBERG, PC                                STICHT               LINDA M               NY         10564299         WEITZ & LUXENBERG, PC
STETZ                JOSEPH LAWRENCE       NY         10551799         WEITZ & LUXENBERG, PC                                STICHT               ROBERT                NY         10152205         WEITZ & LUXENBERG, PC
STETZ                STELLA                NY         10551799         WEITZ & LUXENBERG, PC                                STICHT               ROSEANNE              NY         10152205         WEITZ & LUXENBERG, PC
STEVENS              BETTY                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                STICHT               WILLIAM GEORGE        NY         10564299         WEITZ & LUXENBERG, PC
STEVENS              CARROL DON            NY         01CIV3901        WEITZ & LUXENBERG, PC                                STICKNEY             PATRICIA              NY         11416200         WEITZ & LUXENBERG, PC
STEVENS              CARROLL               NY         12005198         WEITZ & LUXENBERG, PC                                STICKNEY             ROBERT HYDE           NY         11416200         WEITZ & LUXENBERG, PC
STEVENS              CONSTANCE             NY         11417000         WEITZ & LUXENBERG, PC                                STICKROTH            BRUCE                 NY         1901652012       WEITZ & LUXENBERG, PC
STEVENS              DANIEL L              NY         10551699         WEITZ & LUXENBERG, PC                                STICKROTH            IRENE                 NY         1901652012       WEITZ & LUXENBERG, PC
STEVENS              GERALD L              NY         10696502         WEITZ & LUXENBERG, PC                                STIGLITZ             LOUIS                 NY         1900292018       WEITZ & LUXENBERG, PC
STEVENS              GLORIA J              NY         11416800         WEITZ & LUXENBERG, PC                                STIGLITZ             MARILYN               NY         1900292018       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1072
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 407 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STILE                ANTHONY J             NY         12213801         WEITZ & LUXENBERG, PC                                STOLLERY             DONALD E              NY         10964802         WEITZ & LUXENBERG, PC
STILE                ANTHONY J             NY         10273202         WEITZ & LUXENBERG, PC                                STOME                MARIE                 NY         99113357         WEITZ & LUXENBERG, PC
STILE                JEFFREY A             NY         12213801         WEITZ & LUXENBERG, PC                                STONE                BARRY H               NY         02106578         WEITZ & LUXENBERG, PC
STILE                JEFFREY A             NY         10273202         WEITZ & LUXENBERG, PC                                STONE                DIANE M               NY         02106578         WEITZ & LUXENBERG, PC
STILE                KATHLEEN              NY         12213801         WEITZ & LUXENBERG, PC                                STONE                ELIZABETH             NY         02107099         WEITZ & LUXENBERG, PC
STILE                KATHLEEN              NY         10273202         WEITZ & LUXENBERG, PC                                STONE                ELLEN                 NY         11026802         WEITZ & LUXENBERG, PC
STILES               CHARLOTTE             NY         01CIV3895        WEITZ & LUXENBERG, PC                                STONE                ETTA P                NY         10977001         WEITZ & LUXENBERG, PC
STILES               DEBBIE                NY         00CIV3589        WEITZ & LUXENBERG, PC                                STONE                JAMES                 NY         12693602         WEITZ & LUXENBERG, PC
STILES               DORIS                 NY         1901542019       WEITZ & LUXENBERG, PC                                STONE                JAMES                 NY         11327802         WEITZ & LUXENBERG, PC
STILES               EDWARD H              NY         01CIV3895        WEITZ & LUXENBERG, PC                                STONE                JAMES LUTHER          NY         10977001         WEITZ & LUXENBERG, PC
STILES               GERALD                NY         1901542019       WEITZ & LUXENBERG, PC                                STONE                JESSE                 NY         01CIV6611        WEITZ & LUXENBERG, PC
STILES               GERALD                NY         11118202         WEITZ & LUXENBERG, PC                                STONE                JOSEPH W SR           NY         11437200         WEITZ & LUXENBERG, PC
STILES               GERALD F              NY         10700002         WEITZ & LUXENBERG, PC                                STONE                JOSEPH W SR           NY         12219799         WEITZ & LUXENBERG, PC
STILES               GERALD F              NY         11118202         WEITZ & LUXENBERG, PC                                STONE                LAUREN R              NY         02107099         WEITZ & LUXENBERG, PC
STILES               LARRY GLENN           NY         00CIV3589        WEITZ & LUXENBERG, PC                                STONE                MELBA MURIEL          NY         01CIV6611        WEITZ & LUXENBERG, PC
STILES               MARJORIE              NY         10700002         WEITZ & LUXENBERG, PC                                STONE                MILDRED               NY         11479300         WEITZ & LUXENBERG, PC
STILES               ROBERT                NY         10739201         WEITZ & LUXENBERG, PC                                STONE                NORIN                 NY         11269100         WEITZ & LUXENBERG, PC
STILES               ROSEMARY              NY         10739201         WEITZ & LUXENBERG, PC                                STONE                PAMELA                NY         11327802         WEITZ & LUXENBERG, PC
STILLITANO           JOHN                  NY         19008611         WEITZ & LUXENBERG, PC                                STONE                PATRICIA              NY         12693602         WEITZ & LUXENBERG, PC
STILLITANO           MARY                  NY         19008611         WEITZ & LUXENBERG, PC                                STONE                PAUL L                NY         11479300         WEITZ & LUXENBERG, PC
STILLWELL            GEORGE E              NY         10696402         WEITZ & LUXENBERG, PC                                STONE                ROBERT                NY         11026802         WEITZ & LUXENBERG, PC
STILLWELL            GEORGE E              NY         11212202         WEITZ & LUXENBERG, PC                                STONE                THOMAS BRUCE          NY         02106578         WEITZ & LUXENBERG, PC
STILLWELL            JOANNE L              NY         11212202         WEITZ & LUXENBERG, PC                                STONE                ZENXTONE              NY         97120474         WEITZ & LUXENBERG, PC
STILO                ANGELA                NY         01111224         WEITZ & LUXENBERG, PC                                STONEBRAKER          DONALD W              NY         11188299         WEITZ & LUXENBERG, PC
STILO                DOMENICO              NY         01111224         WEITZ & LUXENBERG, PC                                STONEBRAKER          MELBA JEAN            NY         11188299         WEITZ & LUXENBERG, PC
STIMSON              LINDA                 NY         12110001         WEITZ & LUXENBERG, PC                                STONEMAN             TONY RAY              NY         11437100         WEITZ & LUXENBERG, PC
STIMSON              LINDA                 NY         10647702         WEITZ & LUXENBERG, PC                                STONEMAN             TONY RAY              NY         12219799         WEITZ & LUXENBERG, PC
STINGONE             ROCCO                 NY         01111230         WEITZ & LUXENBERG, PC                                STOOTHOFF            FLORENCE              NY         11437000         WEITZ & LUXENBERG, PC
STINSMAN             JOHN D                NY         10008703         WEITZ & LUXENBERG, PC                                STOOTHOFF            FLORENCE              NY         12219799         WEITZ & LUXENBERG, PC
STINSMAN             ROSEMARY              NY         10008703         WEITZ & LUXENBERG, PC                                STOOTHOFF            FRANK J               NY         11437000         WEITZ & LUXENBERG, PC
STIO                 BEATRICE A            NY         10563999         WEITZ & LUXENBERG, PC                                STOOTHOFF            FRANK J               NY         12219799         WEITZ & LUXENBERG, PC
STIO                 FRANK                 NY         10563999         WEITZ & LUXENBERG, PC                                STOPHA               RICHARD               NY         11436900         WEITZ & LUXENBERG, PC
STIPISICH            EVELYN                NY         10563899         WEITZ & LUXENBERG, PC                                STOPHA               RICHARD               NY         12219799         WEITZ & LUXENBERG, PC
STIPISICH            GEORGE                NY         10563899         WEITZ & LUXENBERG, PC                                STOPKA               JEANINE L             NY         11327802         WEITZ & LUXENBERG, PC
STIVALA              CLAUDIO BENJAMIN      NY         11417200         WEITZ & LUXENBERG, PC                                STOPKA               JEANINE L             NY         11948502         WEITZ & LUXENBERG, PC
STIVES               FRED                  NY         10407504         WEITZ & LUXENBERG, PC                                STOREY               CANDACE               NY         10871101         WEITZ & LUXENBERG, PC
STOCK                FLOSSIE M             NY         11188399         WEITZ & LUXENBERG, PC                                STOREY               JOHN F                NY         10871101         WEITZ & LUXENBERG, PC
STOCK                ROGER NELSON          NY         11188399         WEITZ & LUXENBERG, PC                                STOREY               JOSEPH K              NY         CV013921         WEITZ & LUXENBERG, PC
STOCKHEIM            MATTHEW CHARLES       NY         10226501         WEITZ & LUXENBERG, PC                                STOREY               KATHRYN H             NY         CV013921         WEITZ & LUXENBERG, PC
STOCKS               MYRTLE JUANITA        NY         01CIV3895        WEITZ & LUXENBERG, PC                                STORNELLI            SANDINO               NY         02106690         WEITZ & LUXENBERG, PC
STOCKTON             MARY                  NY         1903522012       WEITZ & LUXENBERG, PC                                STORTINI             ALBERT A              NY         1396219          WEITZ & LUXENBERG, PC
STOCKTON             NORMAN                NY         1903522012       WEITZ & LUXENBERG, PC                                STOUT                ARYLUS                NY         99111881         WEITZ & LUXENBERG, PC
STOCOVICH            DUILIO                NY         02106580         WEITZ & LUXENBERG, PC                                STOUT                ROBERT T              NY         11436800         WEITZ & LUXENBERG, PC
STOCOVICH            DUILIO                NY         11322202         WEITZ & LUXENBERG, PC                                STOUT                ROBERT T              NY         12219799         WEITZ & LUXENBERG, PC
STOCOVICH            NORMA                 NY         02106580         WEITZ & LUXENBERG, PC                                STOUT                ROSEANN               NY         11436800         WEITZ & LUXENBERG, PC
STOCOVICH            NORMA                 NY         11322202         WEITZ & LUXENBERG, PC                                STOUT                ROSEANN               NY         12219799         WEITZ & LUXENBERG, PC
STODDARD             JEAN T                NY         04152            WEITZ & LUXENBERG, PC                                STOWARZ              TERRY                 NJ         MIDL342814AS     WEITZ & LUXENBERG, PC
STODDARD             NORMAN E              NY         04152            WEITZ & LUXENBERG, PC                                STOWARZ              VERA                  NJ         MIDL342814AS     WEITZ & LUXENBERG, PC
STODDARD             WAYNE R               NY         10696502         WEITZ & LUXENBERG, PC                                STOWELL              DOUGLAS K             NY         11436700         WEITZ & LUXENBERG, PC
STOECKERT            FRANCES M             NY         10551499         WEITZ & LUXENBERG, PC                                STOWELL              DOUGLAS K             NY         12219799         WEITZ & LUXENBERG, PC
STOECKERT            JOSEPH A              NY         10551499         WEITZ & LUXENBERG, PC                                STOWELL              PHYLLIS               NY         11436700         WEITZ & LUXENBERG, PC
STOFFEL              CAROL                 NY         10892604         WEITZ & LUXENBERG, PC                                STOWELL              PHYLLIS               NY         12219799         WEITZ & LUXENBERG, PC
STOFFEL              DANIEL G              NY         10892604         WEITZ & LUXENBERG, PC                                STOYELL              ELIZABETH A           NY         10739001         WEITZ & LUXENBERG, PC
STOFFEL              ROBERT R              NY         10700302         WEITZ & LUXENBERG, PC                                STOYELL              JOHN J                NY         10739001         WEITZ & LUXENBERG, PC
STOKES               ANNIE L               NY         00CIV3589        WEITZ & LUXENBERG, PC                                STRACK               JOHN J                NY         11436600         WEITZ & LUXENBERG, PC
STOKES               BOBBIE                NY         CV014072         WEITZ & LUXENBERG, PC                                STRACK               JOHN J                NY         12219799         WEITZ & LUXENBERG, PC
STOKES               DOROTHY               NY         CV017619         WEITZ & LUXENBERG, PC                                STRACK               MARTHA                NY         11436600         WEITZ & LUXENBERG, PC
STOKES               EVELINE               NY         CV016944         WEITZ & LUXENBERG, PC                                STRACK               MARTHA                NY         12219799         WEITZ & LUXENBERG, PC
STOKES               MAL                   NY         CV016944         WEITZ & LUXENBERG, PC                                STRACUZZI            ANTHONY               NY         12312801         WEITZ & LUXENBERG, PC
STOKES               PATRICIA              NY         11417100         WEITZ & LUXENBERG, PC                                STRACUZZI            BETTY LOU             NY         12312801         WEITZ & LUXENBERG, PC
STOKES               RJ                    NY         CV014072         WEITZ & LUXENBERG, PC                                STRAIGHT             DEBRA                 NY         19024909         WEITZ & LUXENBERG, PC
STOKES               ROBERT E              NY         11417100         WEITZ & LUXENBERG, PC                                STRAMKA              PHYLLIS HELEN         NY         12668602         WEITZ & LUXENBERG, PC
STOKES               ROOSEVELT             NY         CV017619         WEITZ & LUXENBERG, PC                                STRAMKA              PHYLLIS HELEN         NY         10403903         WEITZ & LUXENBERG, PC
STOKES               SUSAN P               NY         11417100         WEITZ & LUXENBERG, PC                                STRAMKA              RICHARD W             NY         12668602         WEITZ & LUXENBERG, PC
STOLARSKI            LORRAINE              NY         6087612017       WEITZ & LUXENBERG, PC                                STRAMKA              RICHARD W             NY         10403903         WEITZ & LUXENBERG, PC
STOLARSKI            PETER C               NY         6087612017       WEITZ & LUXENBERG, PC                                STRANGELAND          MARTHA                NY         11439100         WEITZ & LUXENBERG, PC
STOLEN               HARRIET               NY         12219799         WEITZ & LUXENBERG, PC                                STRANGELAND          MARTHA                NY         12219799         WEITZ & LUXENBERG, PC
STOLEN               RAYMOND               NY         12219799         WEITZ & LUXENBERG, PC                                STRANGELAND          THORALF               NY         11439100         WEITZ & LUXENBERG, PC
STOLL                JOHN W                NY         19009009         WEITZ & LUXENBERG, PC                                STRANGELAND          THORALF               NY         12219799         WEITZ & LUXENBERG, PC
STOLL                MARIA                 NY         19009009         WEITZ & LUXENBERG, PC                                STRASSER             JEANNE M              NY         11438900         WEITZ & LUXENBERG, PC
STOLLERY             ANN LAURIE            NY         10964802         WEITZ & LUXENBERG, PC                                STRASSER             JEANNE M              NY         12219799         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1073
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 408 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STRASSER             WILLIAM F             NY         11438900         WEITZ & LUXENBERG, PC                                STRNAD               FRANK                 NY         11270402         WEITZ & LUXENBERG, PC
STRASSER             WILLIAM F             NY         12219799         WEITZ & LUXENBERG, PC                                STRNAD               FRANK S               NY         10587502         WEITZ & LUXENBERG, PC
STRATTON             GORDON H              NY         11438000         WEITZ & LUXENBERG, PC                                STRNAD               STEPHEN F             NY         99105666         WEITZ & LUXENBERG, PC
STRATTON             GORDON H              NY         12219799         WEITZ & LUXENBERG, PC                                STRNAD               THERESA               NY         10587502         WEITZ & LUXENBERG, PC
STRATTON             JOHN                  NY         10820603         WEITZ & LUXENBERG, PC                                STROBEL              DEBRA                 NY         12219799         WEITZ & LUXENBERG, PC
STRATTON             PAULINE M             NY         11438000         WEITZ & LUXENBERG, PC                                STROBEL              DEBRA                 NY         11437500         WEITZ & LUXENBERG, PC
STRATTON             PAULINE M             NY         12219799         WEITZ & LUXENBERG, PC                                STROBEL              RAYMOND PAUL          NY         12219799         WEITZ & LUXENBERG, PC
STRATTON             SHEILA                NY         10820603         WEITZ & LUXENBERG, PC                                STROBEL              RAYMOND PAUL          NY         11437500         WEITZ & LUXENBERG, PC
STRAUSS              KATHLEEN A            NY         10698000         WEITZ & LUXENBERG, PC                                STROH                ARTHUR J              NY         12039401         WEITZ & LUXENBERG, PC
STRAUSS              ROBERT J              NY         10698000         WEITZ & LUXENBERG, PC                                STROH                ARTHUR J              NY         10560302         WEITZ & LUXENBERG, PC
STRAW                ANITA                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                STROH                ELSIE                 NY         12039401         WEITZ & LUXENBERG, PC
STRAW                ERNEST LEE            NY         01CIV3900        WEITZ & LUXENBERG, PC                                STROH                ELSIE                 NY         10560302         WEITZ & LUXENBERG, PC
STREB                JOYCE                 NY         1905692012       WEITZ & LUXENBERG, PC                                STROHL               JOAN                  NY         98107111         WEITZ & LUXENBERG, PC
STREB                WILLIAM               NY         1905692012       WEITZ & LUXENBERG, PC                                STROHL               WILLIAM H             NY         98107111         WEITZ & LUXENBERG, PC
STREEM               BRUCE                 NY         10901801         WEITZ & LUXENBERG, PC                                STRONG               BILLIE                NY         11479600         WEITZ & LUXENBERG, PC
STREEM               HOWARD                NY         10901801         WEITZ & LUXENBERG, PC                                STRONG               CAROL                 NY         11437400         WEITZ & LUXENBERG, PC
STREEM               JACK                  NY         10901801         WEITZ & LUXENBERG, PC                                STRONG               CAROL                 NY         12219799         WEITZ & LUXENBERG, PC
STREEM               MARC                  NY         10901801         WEITZ & LUXENBERG, PC                                STRONG               RONALD J              NY         11437400         WEITZ & LUXENBERG, PC
STREET               CAROL ANN             NY         CV050911         WEITZ & LUXENBERG, PC                                STRONG               RONALD J              NY         12219799         WEITZ & LUXENBERG, PC
STREET               DONALD                NY         CV050911         WEITZ & LUXENBERG, PC                                STROPE               JEANNETTE             NY         99105665         WEITZ & LUXENBERG, PC
STREETER             FLOYD A               NY         99105668         WEITZ & LUXENBERG, PC                                STROPE               WILLIAM H             NY         99105665         WEITZ & LUXENBERG, PC
STREETER             FLOYD F               NY         99105668         WEITZ & LUXENBERG, PC                                STROZIER             EARLIE M              NY         01CIV3900        WEITZ & LUXENBERG, PC
STREETER             MARIE P               NY         10670602         WEITZ & LUXENBERG, PC                                STRUNK               MARYANN CATHERINE     NY         11437300         WEITZ & LUXENBERG, PC
STREETER             MARIE P               NY         11486002         WEITZ & LUXENBERG, PC                                STRUNK               MARYANN CATHERINE     NY         12219799         WEITZ & LUXENBERG, PC
STREETER             STANLEY J             NY         10670602         WEITZ & LUXENBERG, PC                                STRUNK               ROBERT ROLAND         NY         11437300         WEITZ & LUXENBERG, PC
STREETER             STANLEY J             NY         11486002         WEITZ & LUXENBERG, PC                                STRUNK               ROBERT ROLAND         NY         12219799         WEITZ & LUXENBERG, PC
STREETER             VIRGIL                NY         10738901         WEITZ & LUXENBERG, PC                                STRZALKA             KEVIN J               NY         02106578         WEITZ & LUXENBERG, PC
STREETY              JAMES                 NY         11437900         WEITZ & LUXENBERG, PC                                STUART               JOYCE                 NY         01CIV3910        WEITZ & LUXENBERG, PC
STREETY              JAMES                 NY         12219799         WEITZ & LUXENBERG, PC                                STUBBLEFIELD         ARTEE                 NY         00CIV3589        WEITZ & LUXENBERG, PC
STREICH              HENRY                 NY         99105667         WEITZ & LUXENBERG, PC                                STUBBLEFIELD         GLORIA                NY         00CIV3589        WEITZ & LUXENBERG, PC
STREICH              IRENE                 NY         99105667         WEITZ & LUXENBERG, PC                                STUBBS               PATRICIA A            NY         01CIV3897        WEITZ & LUXENBERG, PC
STREIGOLD            HARRIETT              NY         10023203         WEITZ & LUXENBERG, PC                                STUDE                CHRISTINE             NY         10738601         WEITZ & LUXENBERG, PC
STREIGOLD            LEON                  NY         10023203         WEITZ & LUXENBERG, PC                                STUDE                JOSEPH                NY         10738601         WEITZ & LUXENBERG, PC
STREIT               MARILYN               NY         11852098         WEITZ & LUXENBERG, PC                                STUFANO              ALOICIA               NY         01111235         WEITZ & LUXENBERG, PC
STREIT               ROBERT                NY         11479400         WEITZ & LUXENBERG, PC                                STUFANO              FEDELE                NY         01111235         WEITZ & LUXENBERG, PC
STREIT               WILLIAM F             NY         11479400         WEITZ & LUXENBERG, PC                                STULACK              JOAN                  NY         10417800         WEITZ & LUXENBERG, PC
STREK                JANET A               NY         10023403         WEITZ & LUXENBERG, PC                                STULACK              ROBERT S              NY         10417800         WEITZ & LUXENBERG, PC
STREK                ROGER K               NY         10023403         WEITZ & LUXENBERG, PC                                STULAK               ELIZABETH V           NY         11188099         WEITZ & LUXENBERG, PC
STREMOVIHTG          BERNARD               NY         12788602         WEITZ & LUXENBERG, PC                                STULAK               THEODORE C            NY         11188099         WEITZ & LUXENBERG, PC
STRENKOSKI           GEORGE M              NY         10587602         WEITZ & LUXENBERG, PC                                STUMPF               JEAN                  NY         99105664         WEITZ & LUXENBERG, PC
STRENKOSKI           MARGARET              NY         10587602         WEITZ & LUXENBERG, PC                                STUMPF               WARREN E              NY         99105664         WEITZ & LUXENBERG, PC
STREPPONE            JOSEPH                NY         12039801         WEITZ & LUXENBERG, PC                                STURGEN              CHARLES A             NY         11438800         WEITZ & LUXENBERG, PC
STREPPONE            PATRICIA              NY         12039801         WEITZ & LUXENBERG, PC                                STURGEN              CHARLES A             NY         12219799         WEITZ & LUXENBERG, PC
STRESING             HOWARD E              NY         11437800         WEITZ & LUXENBERG, PC                                STURGEN              NATALIE M             NY         11438800         WEITZ & LUXENBERG, PC
STRESING             HOWARD E              NY         12219799         WEITZ & LUXENBERG, PC                                STURGEN              NATALIE M             NY         12219799         WEITZ & LUXENBERG, PC
STRESING             RUTH                  NY         11437800         WEITZ & LUXENBERG, PC                                STURGES              HENRY HOLT            NY         10008703         WEITZ & LUXENBERG, PC
STRESING             RUTH                  NY         12219799         WEITZ & LUXENBERG, PC                                STURGES              HENRY HOLT            NY         10315703         WEITZ & LUXENBERG, PC
STRETCH              ALLAN T               NY         11437700         WEITZ & LUXENBERG, PC                                STURGES              MARY N                NY         10008703         WEITZ & LUXENBERG, PC
STRETCH              ALLAN T               NY         12219799         WEITZ & LUXENBERG, PC                                STURGES              MARY N                NY         10315703         WEITZ & LUXENBERG, PC
STRETCH              ELLEN                 NY         11437700         WEITZ & LUXENBERG, PC                                STURMAN              ANTHONY R             NY         02107004         WEITZ & LUXENBERG, PC
STRETCH              ELLEN                 NY         12219799         WEITZ & LUXENBERG, PC                                STURMAN              ANTHONY R             NY         11517502         WEITZ & LUXENBERG, PC
STRICK               LOUIS R               NY         10738801         WEITZ & LUXENBERG, PC                                STURMAN              AURELIA               NY         02107004         WEITZ & LUXENBERG, PC
STRICK               PATRICIA              NY         10738801         WEITZ & LUXENBERG, PC                                STURMAN              AURELIA               NY         11517502         WEITZ & LUXENBERG, PC
STRICKLAND           ANN                   NY         10738701         WEITZ & LUXENBERG, PC                                STURMAN              KATHLEEN              NY         CV016612         WEITZ & LUXENBERG, PC
STRICKLAND           BETHELLYN             NY         11026902         WEITZ & LUXENBERG, PC                                STURMAN              KATHLEEN              NY         CV016613         WEITZ & LUXENBERG, PC
STRICKLAND           BRUCE W               NY         00CIV3589        WEITZ & LUXENBERG, PC                                STURMAN              PAUL                  NY         CV016612         WEITZ & LUXENBERG, PC
STRICKLAND           EURAL                 NY         11437600         WEITZ & LUXENBERG, PC                                STURMAN              PAUL C                NY         CV016613         WEITZ & LUXENBERG, PC
STRICKLAND           EURAL                 NY         12219799         WEITZ & LUXENBERG, PC                                STURTEVANT           RICHARD               NY         01111228         WEITZ & LUXENBERG, PC
STRICKLAND           JAMES H               NY         10738701         WEITZ & LUXENBERG, PC                                STUTSMAN             HOMER                 NY         1904542013       WEITZ & LUXENBERG, PC
STRICKLAND           MICHAEL K             NY         02106578         WEITZ & LUXENBERG, PC                                STUTSMAN             ROSLYN                NY         1904542013       WEITZ & LUXENBERG, PC
STRICKLAND           SUSAN                 NY         02106578         WEITZ & LUXENBERG, PC                                STUVER               KENNETH               NY         11327802         WEITZ & LUXENBERG, PC
STRICKLAND           THOMAS M              NY         11026902         WEITZ & LUXENBERG, PC                                STUVER               MARGARET              NY         11327802         WEITZ & LUXENBERG, PC
STRIFFLER            FRED W                NY         11479500         WEITZ & LUXENBERG, PC                                STYERS               JOHN                  NY         02107005         WEITZ & LUXENBERG, PC
STRIKWERDA           SAM P                 NY         10740502         WEITZ & LUXENBERG, PC                                STYERS               NANCY                 NY         CV017878         WEITZ & LUXENBERG, PC
STRIKWERDA           SAM P                 NY         11414202         WEITZ & LUXENBERG, PC                                SUAREX               CARMEN ROSARIO        NY         10626601         WEITZ & LUXENBERG, PC
STRIKWERDA PAIS      PAULA                 NY         11414202         WEITZ & LUXENBERG, PC                                SUAREZ               ANGEL LUIS            NY         10626601         WEITZ & LUXENBERG, PC
STRINGER             THOMAS                NY         01111223         WEITZ & LUXENBERG, PC                                SUAREZ               AUGUSTIN              NY         11479700         WEITZ & LUXENBERG, PC
STRNAD               FLORENCE              NY         02106578         WEITZ & LUXENBERG, PC                                SUAREZ               MARYANNE              NY         11857598         WEITZ & LUXENBERG, PC
STRNAD               FLORENCE              NY         11270402         WEITZ & LUXENBERG, PC                                SUAREZ               MERCEDES              NY         11479700         WEITZ & LUXENBERG, PC
STRNAD               FRANCES               NY         99105666         WEITZ & LUXENBERG, PC                                SUAREZ               RAMON A               NY         11438700         WEITZ & LUXENBERG, PC
STRNAD               FRANK                 NY         02106578         WEITZ & LUXENBERG, PC                                SUAREZ               RAMON A               NY         12219799         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1074
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 409 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SUBURU               LAUREN                NY         19000211         WEITZ & LUXENBERG, PC                                SULLIVAN             VERONICA              NY         1900622017       WEITZ & LUXENBERG, PC
SUCHAN               BARBARA               NY         10738401         WEITZ & LUXENBERG, PC                                SULLIVAN             WALTER                NY         10871101         WEITZ & LUXENBERG, PC
SUCHAN               THOMAS                NY         10738401         WEITZ & LUXENBERG, PC                                SULTON               JACK M                NY         01CIV3900        WEITZ & LUXENBERG, PC
SUCHORA              EUGENE J              NY         12432800         WEITZ & LUXENBERG, PC                                SULTON               VERA                  NY         01CIV3900        WEITZ & LUXENBERG, PC
SUCHORA              MARY ANN              NY         12432800         WEITZ & LUXENBERG, PC                                SUMMERS              BRIAN D               NY         1905752012       WEITZ & LUXENBERG, PC
SUDANO               CHERI                 NY         1901752017       WEITZ & LUXENBERG, PC                                SUMMERS              CALVIN SAMUEL         NY         CV014789         WEITZ & LUXENBERG, PC
SUDIT                LEONARD               NY         99105688         WEITZ & LUXENBERG, PC                                SUMMERS              JAMES LEE             NY         12668602         WEITZ & LUXENBERG, PC
SUDIT                RUTH                  NY         99105688         WEITZ & LUXENBERG, PC                                SUMMERS              JOHNNIE               NY         11438200         WEITZ & LUXENBERG, PC
SUIT                 ROSE M                NY         01CIV3901        WEITZ & LUXENBERG, PC                                SUMMERS              JOHNNIE               NY         12219799         WEITZ & LUXENBERG, PC
SUKY                 DOLORES               NY         10862599         WEITZ & LUXENBERG, PC                                SUMMERS              PAUL E                NY         10739701         WEITZ & LUXENBERG, PC
SUKY                 WILLIAM L             NY         10862599         WEITZ & LUXENBERG, PC                                SUMMERVILLE          JOYCE                 NY         01CIV3900        WEITZ & LUXENBERG, PC
SULESKI              DONALD W              NY         10860699         WEITZ & LUXENBERG, PC                                SUMMERVILLE          MARY ANN              NY         02107004         WEITZ & LUXENBERG, PC
SULIK                ALBERTA               NY         99108429         WEITZ & LUXENBERG, PC                                SUMMERVILLE          ROBERT H              NY         02107004         WEITZ & LUXENBERG, PC
SULIK                MICHAEL J             NY         99108429         WEITZ & LUXENBERG, PC                                SUMMEY               FRANCIS               NY         1903572011       WEITZ & LUXENBERG, PC
SULIVAN              JOHN P                NY         10931203         WEITZ & LUXENBERG, PC                                SUMNER               DEBORAH B             NY         12801902         WEITZ & LUXENBERG, PC
SULIVAN              SHIRLEY               NY         10931203         WEITZ & LUXENBERG, PC                                SUMNER               DEBORAH B             NY         10594703         WEITZ & LUXENBERG, PC
SULLIVAN             ALICE                 NY         01108346         WEITZ & LUXENBERG, PC                                SUNDAY               DAVID                 NY         110651           WEITZ & LUXENBERG, PC
SULLIVAN             ARTHUR E              NY         02106709         WEITZ & LUXENBERG, PC                                SUNDAY               MARY F                NY         10680602         WEITZ & LUXENBERG, PC
SULLIVAN             ARTHUR E              NY         11551602         WEITZ & LUXENBERG, PC                                SUNDAY               WILLIAM               NY         10680602         WEITZ & LUXENBERG, PC
SULLIVAN             BARTHOLOMEW           NY         99105687         WEITZ & LUXENBERG, PC                                SUNICK               ALBERT                NY         11480000         WEITZ & LUXENBERG, PC
SULLIVAN             CATHERINE             NY         CV025213         WEITZ & LUXENBERG, PC                                SUNICK               ROSEMARY R            NY         11480000         WEITZ & LUXENBERG, PC
SULLIVAN             CATHERINE             NY         11623801         WEITZ & LUXENBERG, PC                                SUOSMAA              AUDREY                NY         10421799         WEITZ & LUXENBERG, PC
SULLIVAN             CATHERINE             NY         01111221         WEITZ & LUXENBERG, PC                                SUP                  WILLIAM J             NY         12039501         WEITZ & LUXENBERG, PC
SULLIVAN             CHARLES               NY         19010511         WEITZ & LUXENBERG, PC                                SUPAN                DAVID W               NY         12213801         WEITZ & LUXENBERG, PC
SULLIVAN             CHRISTOPHER           NY         02107102         WEITZ & LUXENBERG, PC                                SUPAN                DAVID W               NY         10273102         WEITZ & LUXENBERG, PC
SULLIVAN             CYNTHIA               NY         00CIV3588        WEITZ & LUXENBERG, PC                                SUPAN                RICHARD S             NY         12213801         WEITZ & LUXENBERG, PC
SULLIVAN             DANIEL                NY         12100401         WEITZ & LUXENBERG, PC                                SUPAN                RICHARD S             NY         10273102         WEITZ & LUXENBERG, PC
SULLIVAN             DANIEL                NY         10568699         WEITZ & LUXENBERG, PC                                SUPON                ALBERT R              NY         99105684         WEITZ & LUXENBERG, PC
SULLIVAN             DANIEL R              NY         10568699         WEITZ & LUXENBERG, PC                                SUPON                ELIZABETH             NY         99105684         WEITZ & LUXENBERG, PC
SULLIVAN             DAVID C               NY         11438500         WEITZ & LUXENBERG, PC                                SUPPO                HENRY B               NY         11438100         WEITZ & LUXENBERG, PC
SULLIVAN             DAVID C               NY         12219799         WEITZ & LUXENBERG, PC                                SUPPO                HENRY B               NY         12219799         WEITZ & LUXENBERG, PC
SULLIVAN             DONALD M              NY         11438400         WEITZ & LUXENBERG, PC                                SUPPO                PHYLLIS               NY         11438100         WEITZ & LUXENBERG, PC
SULLIVAN             DONALD M              NY         12219799         WEITZ & LUXENBERG, PC                                SUPPO                PHYLLIS               NY         12219799         WEITZ & LUXENBERG, PC
SULLIVAN             EDMUND                NY         10738301         WEITZ & LUXENBERG, PC                                SUPRENANT            MITCHELL C            NY         02113280         WEITZ & LUXENBERG, PC
SULLIVAN             EDWARD M              NY         1900622017       WEITZ & LUXENBERG, PC                                SUPRENANT            MITCHELL C            NY         12007702         WEITZ & LUXENBERG, PC
SULLIVAN             ELLEN                 NY         99105687         WEITZ & LUXENBERG, PC                                SURDYKE              JOSEPHINE J           NY         99105683         WEITZ & LUXENBERG, PC
SULLIVAN             EUGENE J              NY         CV025213         WEITZ & LUXENBERG, PC                                SURDYKE              ROBERT                NY         99105683         WEITZ & LUXENBERG, PC
SULLIVAN             GAIL                  NY         1903842016       WEITZ & LUXENBERG, PC                                SURIANO              MARIA                 NY         19000410         WEITZ & LUXENBERG, PC
SULLIVAN             GAIL                  NY         10739801         WEITZ & LUXENBERG, PC                                SURIANO              POMPEO                NY         19000410         WEITZ & LUXENBERG, PC
SULLIVAN             GERRAL LEE            NY         CV012425         WEITZ & LUXENBERG, PC                                SURRE                JOHN J                NY         11282007         WEITZ & LUXENBERG, PC
SULLIVAN             JANETH                DE         N18C06088ASB     WEITZ & LUXENBERG, PC                                SUSI                 KATHRYN               NY         1904412014       WEITZ & LUXENBERG, PC
SULLIVAN             JOAN M                NY         11438500         WEITZ & LUXENBERG, PC                                SUSI                 LAWRENCE              NY         1904412014       WEITZ & LUXENBERG, PC
SULLIVAN             JOAN M                NY         12219799         WEITZ & LUXENBERG, PC                                SUSICE               ANITA                 NY         02106580         WEITZ & LUXENBERG, PC
SULLIVAN             JOANNA                NY         02107102         WEITZ & LUXENBERG, PC                                SUSICE               RAYMOND ANTHONY       NY         02106580         WEITZ & LUXENBERG, PC
SULLIVAN             JOHN                  NY         1903842016       WEITZ & LUXENBERG, PC                                SUSSI                JACK                  NY         19011109         WEITZ & LUXENBERG, PC
SULLIVAN             JOHN                  NY         11438300         WEITZ & LUXENBERG, PC                                SUSZYNSKI            JOHN                  PA         161003721        WEITZ & LUXENBERG, PC
SULLIVAN             JOHN                  NY         10739801         WEITZ & LUXENBERG, PC                                SUTCH                BERNICE               NY         I20019822        WEITZ & LUXENBERG, PC
SULLIVAN             JOHN                  NY         12219799         WEITZ & LUXENBERG, PC                                SUTCH                JOSEPH                NY         I20019822        WEITZ & LUXENBERG, PC
SULLIVAN             JOHN L                NY         01111223         WEITZ & LUXENBERG, PC                                SUTERA               MARIA                 NY         99105682         WEITZ & LUXENBERG, PC
SULLIVAN             JOHN PATRICK          NY         12039101         WEITZ & LUXENBERG, PC                                SUTERA               SALVATORE             NY         99105682         WEITZ & LUXENBERG, PC
SULLIVAN             JOSEPH M              NY         01111234         WEITZ & LUXENBERG, PC                                SUTLOVICH            FELIXIA               NY         10568199         WEITZ & LUXENBERG, PC
SULLIVAN             JOSEPH M              NY         11920201         WEITZ & LUXENBERG, PC                                SUTLOVICH            SANTOS S              NY         10568199         WEITZ & LUXENBERG, PC
SULLIVAN             JUDITH                NY         12100401         WEITZ & LUXENBERG, PC                                SUTO                 DONNA                 NY         11440100         WEITZ & LUXENBERG, PC
SULLIVAN             MAURICE               NY         10548499         WEITZ & LUXENBERG, PC                                SUTO                 DONNA                 NY         12219799         WEITZ & LUXENBERG, PC
SULLIVAN             NANCY                 NY         10738301         WEITZ & LUXENBERG, PC                                SUTO                 RAYMOND               NY         11440100         WEITZ & LUXENBERG, PC
SULLIVAN             PATRICIA              NY         10846999         WEITZ & LUXENBERG, PC                                SUTO                 RAYMOND               NY         12219799         WEITZ & LUXENBERG, PC
SULLIVAN             PATRICIA              NY         02106709         WEITZ & LUXENBERG, PC                                SUTTER               SHERRY                NY         10871101         WEITZ & LUXENBERG, PC
SULLIVAN             PATRICIA              NY         11551602         WEITZ & LUXENBERG, PC                                SUTTER               VICTOR                NY         10871101         WEITZ & LUXENBERG, PC
SULLIVAN             PATRICK               NY         11623801         WEITZ & LUXENBERG, PC                                SUTTON               BARBARA               NY         CV018235         WEITZ & LUXENBERG, PC
SULLIVAN             PATRICK               NY         01111221         WEITZ & LUXENBERG, PC                                SUTTON               BARBARA               NY         CV018293         WEITZ & LUXENBERG, PC
SULLIVAN             RICHARD               NY         10846999         WEITZ & LUXENBERG, PC                                SUTTON               BARBARA               NY         02106694         WEITZ & LUXENBERG, PC
SULLIVAN             ROBERT E              NY         01108346         WEITZ & LUXENBERG, PC                                SUTTON               DEWEY R               NY         CV016947         WEITZ & LUXENBERG, PC
SULLIVAN             ROSE                  NY         11438400         WEITZ & LUXENBERG, PC                                SUTTON               DIANNE                NY         11327702         WEITZ & LUXENBERG, PC
SULLIVAN             ROSE                  NY         12219799         WEITZ & LUXENBERG, PC                                SUTTON               EARNEST L             NY         CV018293         WEITZ & LUXENBERG, PC
SULLIVAN             RUTH                  NY         10871101         WEITZ & LUXENBERG, PC                                SUTTON               JAMES O               NY         CV018235         WEITZ & LUXENBERG, PC
SULLIVAN             SHARON                NY         10548499         WEITZ & LUXENBERG, PC                                SUTTON               LOUISE                NY         CV016947         WEITZ & LUXENBERG, PC
SULLIVAN             SHIRLEY               NY         10931203         WEITZ & LUXENBERG, PC                                SUTTON               PAUL                  NY         11440000         WEITZ & LUXENBERG, PC
SULLIVAN             SYLVESTER             NY         01CIV3901        WEITZ & LUXENBERG, PC                                SUTTON               PAUL                  NY         12219799         WEITZ & LUXENBERG, PC
SULLIVAN             THOMAS D              NY         00CIV3588        WEITZ & LUXENBERG, PC                                SUTTON               ROLAND A              NY         11327702         WEITZ & LUXENBERG, PC
SULLIVAN             TIMOTHY               NY         I200110763       WEITZ & LUXENBERG, PC                                SUTTON               VIRGINIA V            NY         11440000         WEITZ & LUXENBERG, PC
SULLIVAN             TOMMIE LEE            NY         01CIV3901        WEITZ & LUXENBERG, PC                                SUTTON               VIRGINIA V            NY         12219799         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1075
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 410 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SUTTON               WILLIAM H             NY         02106694         WEITZ & LUXENBERG, PC                                SWEETMAN             GEORGE A              NY         1901862018       WEITZ & LUXENBERG, PC
SVARA                DOROTHY               NY         12693502         WEITZ & LUXENBERG, PC                                SWEETMAN             MARIA                 NY         1901862018       WEITZ & LUXENBERG, PC
SVARA                ERNEST C              NY         12693502         WEITZ & LUXENBERG, PC                                SWEITZER             LONA J                NY         19016811         WEITZ & LUXENBERG, PC
SVARCZKOPF           MARILYN               NY         10645702         WEITZ & LUXENBERG, PC                                SWIACKI              DIANE                 NY         1900342018       WEITZ & LUXENBERG, PC
SVARCZKOPF           RANDY STEVEN          NY         10645702         WEITZ & LUXENBERG, PC                                SWIACKI              PETER J               NY         1900342018       WEITZ & LUXENBERG, PC
SVIHOVEC             SUZANNE T             NY         99105679         WEITZ & LUXENBERG, PC                                SWIATEK              KATHLEEN              NY         02106580         WEITZ & LUXENBERG, PC
SVIHOVEC             WILLIAM JAMES         NY         99105679         WEITZ & LUXENBERG, PC                                SWIATEK              ROBERT J              NY         02106580         WEITZ & LUXENBERG, PC
SVIZZERO             CEASAR A              NY         10739601         WEITZ & LUXENBERG, PC                                SWIDERSKI            EDWARD                NY         10567899         WEITZ & LUXENBERG, PC
SVIZZERO             LUCIA                 NY         10739601         WEITZ & LUXENBERG, PC                                SWIDERSKI            KRYSTYNA              NY         10567899         WEITZ & LUXENBERG, PC
SWAGGARD             FREEMAN EARL          NY         10696502         WEITZ & LUXENBERG, PC                                SWIFT                SHEILA L              NY         02CIV2863        WEITZ & LUXENBERG, PC
SWAMP                RITA                  NY         11439900         WEITZ & LUXENBERG, PC                                SWIFT                SHELDON               NY         02CIV2863        WEITZ & LUXENBERG, PC
SWAMP                RITA                  NY         12219799         WEITZ & LUXENBERG, PC                                SWIFT                WILLIAM               NY         10008703         WEITZ & LUXENBERG, PC
SWAMP                ROBERT F              NY         11439900         WEITZ & LUXENBERG, PC                                SWIGART              JERRY R               NY         99105677         WEITZ & LUXENBERG, PC
SWAMP                ROBERT F              NY         12219799         WEITZ & LUXENBERG, PC                                SWILLEY              EVA                   NY         CV016800         WEITZ & LUXENBERG, PC
SWAN                 DEANNA JEAN           NY         12219799         WEITZ & LUXENBERG, PC                                SWILLEY              FRANCILLE             NY         CV017504         WEITZ & LUXENBERG, PC
SWAN                 MARGARET              NY         10417700         WEITZ & LUXENBERG, PC                                SWILLEY              FRANK E               NY         CV016800         WEITZ & LUXENBERG, PC
SWAN                 ROBERT S              NY         12219799         WEITZ & LUXENBERG, PC                                SWILLEY              WILLIAM THOMAS        NY         CV017504         WEITZ & LUXENBERG, PC
SWAN                 WILLIAM F             NY         10417700         WEITZ & LUXENBERG, PC                                SWINDLE              BETTY                 NY         1905582012       WEITZ & LUXENBERG, PC
SWANNIE              RAYMOND J             NY         11439700         WEITZ & LUXENBERG, PC                                SWINDLE              DONNIE R              NY         1905582012       WEITZ & LUXENBERG, PC
SWANNIE              RAYMOND J             NY         12219799         WEITZ & LUXENBERG, PC                                SWINGLE              JAMES R               PA         140802360        WEITZ & LUXENBERG, PC
SWANSON              JOYCE AUDREY          NY         10571402         WEITZ & LUXENBERG, PC                                SWINGLE              RANDALL               PA         140802360        WEITZ & LUXENBERG, PC
SWANSON              JOYCE AUDREY          NY         11183302         WEITZ & LUXENBERG, PC                                SWINSON              ALBERT T              NY         10680802         WEITZ & LUXENBERG, PC
SWANSON              LAWRENCE              NY         10571402         WEITZ & LUXENBERG, PC                                SWINSON              CECILIA               NY         10680802         WEITZ & LUXENBERG, PC
SWANSON              LAWRENCE              NY         11183302         WEITZ & LUXENBERG, PC                                SWIRIN               JOSEPHINE R           NY         10567599         WEITZ & LUXENBERG, PC
SWANSON              MARY                  NY         E1605222017      WEITZ & LUXENBERG, PC                                SWIRIN               WILLIAM               NY         10567599         WEITZ & LUXENBERG, PC
SWANSON              ROBERT                NY         E1605222017      WEITZ & LUXENBERG, PC                                SWITZER              ANNA M                NY         12039401         WEITZ & LUXENBERG, PC
SWANSON              SUSAN M               NY         10491504         WEITZ & LUXENBERG, PC                                SWITZER              JOSEPH J              NY         12039401         WEITZ & LUXENBERG, PC
SWANSON              WAYNE F               NY         10491504         WEITZ & LUXENBERG, PC                                SWORDS               CIARAN                NY         11439400         WEITZ & LUXENBERG, PC
SWART                JEAN H                NY         10658102         WEITZ & LUXENBERG, PC                                SWORDS               CIARAN                NY         12219799         WEITZ & LUXENBERG, PC
SWART                KENNETH M             NY         10658102         WEITZ & LUXENBERG, PC                                SWORDS               HENRY                 NY         11439400         WEITZ & LUXENBERG, PC
SWARTZ               KENNETH A             NY         11439600         WEITZ & LUXENBERG, PC                                SWORDS               HENRY                 NY         12219799         WEITZ & LUXENBERG, PC
SWARTZ               KENNETH A             NY         12219799         WEITZ & LUXENBERG, PC                                SWORDS               MARGARET              NY         11439400         WEITZ & LUXENBERG, PC
SWARTZ               KENNETH G             NY         11439600         WEITZ & LUXENBERG, PC                                SWORDS               MARGARET              NY         12219799         WEITZ & LUXENBERG, PC
SWARTZ               KENNETH G             NY         12219799         WEITZ & LUXENBERG, PC                                SWORDS               YVONNE                NY         11439400         WEITZ & LUXENBERG, PC
SWARTZ               RICHARD J             NY         02105713         WEITZ & LUXENBERG, PC                                SWORDS               YVONNE                NY         12219799         WEITZ & LUXENBERG, PC
SWARTZ               RONALD R              NY         10731901         WEITZ & LUXENBERG, PC                                SYDLO                CATHERINE             NY         11439300         WEITZ & LUXENBERG, PC
SWATLAND             CANDACE A             NY         20018766         WEITZ & LUXENBERG, PC                                SYDLO                CATHERINE             NY         12219799         WEITZ & LUXENBERG, PC
SWATLAND             PAUL P                NY         20018766         WEITZ & LUXENBERG, PC                                SYDLO                ROBERT J              NY         11439300         WEITZ & LUXENBERG, PC
SWAW                 THEADORE              NY         19001312         WEITZ & LUXENBERG, PC                                SYDLO                ROBERT J              NY         12219799         WEITZ & LUXENBERG, PC
SWEARENGEN           CLARENCE E            NY         10670802         WEITZ & LUXENBERG, PC                                SYLVIS               MELVIN P              NY         02107004         WEITZ & LUXENBERG, PC
SWEARENGEN           MICHELE               NY         10670802         WEITZ & LUXENBERG, PC                                SYMANSKI             ANNA MARIE            NY         11440600         WEITZ & LUXENBERG, PC
SWEBERG              IVAN                  NY         11439500         WEITZ & LUXENBERG, PC                                SYMANSKI             ANNA MARIE            NY         12219799         WEITZ & LUXENBERG, PC
SWEBERG              IVAN                  NY         12219799         WEITZ & LUXENBERG, PC                                SYMANSKI             MICHAEL R             NY         11440600         WEITZ & LUXENBERG, PC
SWEBERG              LARAINE               NY         11439500         WEITZ & LUXENBERG, PC                                SYMANSKI             MICHAEL R             NY         12219799         WEITZ & LUXENBERG, PC
SWEBERG              LARAINE               NY         12219799         WEITZ & LUXENBERG, PC                                SYMBORSKI            JAMES F               NY         02107005         WEITZ & LUXENBERG, PC
SWEENEY              CATHERINE             NY         01111236         WEITZ & LUXENBERG, PC                                SYMBORSKI            JAMES F               NY         11626102         WEITZ & LUXENBERG, PC
SWEENEY              CATHERINE             NY         10731301         WEITZ & LUXENBERG, PC                                SYMBORSKI            MARY JANE             NY         02107005         WEITZ & LUXENBERG, PC
SWEENEY              CATHERINE             NY         11831296         WEITZ & LUXENBERG, PC                                SYMBORSKI            MARY JANE             NY         11626102         WEITZ & LUXENBERG, PC
SWEENEY              GEORGE                NY         11831296         WEITZ & LUXENBERG, PC                                SYMINGTON            DOUGLAS A             NY         1902822014       WEITZ & LUXENBERG, PC
SWEENEY              HELEN                 NY         10710102         WEITZ & LUXENBERG, PC                                SYMINGTON            LOTTIE                NY         11440500         WEITZ & LUXENBERG, PC
SWEENEY              JAMES                 NY         10731301         WEITZ & LUXENBERG, PC                                SYMINGTON            LOTTIE                NY         12219799         WEITZ & LUXENBERG, PC
SWEENEY              JOHN                  NY         CV024437         WEITZ & LUXENBERG, PC                                SYMINGTON            VINCENZA              NY         1902822014       WEITZ & LUXENBERG, PC
SWEENEY              JOHN H                NY         10710102         WEITZ & LUXENBERG, PC                                SYMINGTON            WESLEY E              NY         11440500         WEITZ & LUXENBERG, PC
SWEENEY              JUDY                  NY         12043201         WEITZ & LUXENBERG, PC                                SYMINGTON            WESLEY E              NY         12219799         WEITZ & LUXENBERG, PC
SWEENEY              KATHLEEN              NY         0020522019       WEITZ & LUXENBERG, PC                                SYMONDS              ROBERT                NY         12444102         WEITZ & LUXENBERG, PC
SWEENEY              MARY FRANCES          NY         CV024437         WEITZ & LUXENBERG, PC                                SYNAKOWSKI           JOSEPH A              NY         10417500         WEITZ & LUXENBERG, PC
SWEENEY              MICHAEL R             NY         10669102         WEITZ & LUXENBERG, PC                                SYNAKOWSKI           MARILYN               NY         10417500         WEITZ & LUXENBERG, PC
SWEENEY              MORGAN                NY         01111236         WEITZ & LUXENBERG, PC                                SYNOWSKI             JOSEPH                NY         10658102         WEITZ & LUXENBERG, PC
SWEENEY              WALTER J              NY         0020522019       WEITZ & LUXENBERG, PC                                SYNOWSKI             JOSEPH                NY         11392602         WEITZ & LUXENBERG, PC
SWEENEY              WARREN J              NY         12043201         WEITZ & LUXENBERG, PC                                SYPEK                RAYMOND L             NY         99105676         WEITZ & LUXENBERG, PC
SWEET                CAROL                 NY         10417600         WEITZ & LUXENBERG, PC                                SYRELL               JAMES E               NY         11480200         WEITZ & LUXENBERG, PC
SWEET                DAVID C               NY         10669102         WEITZ & LUXENBERG, PC                                SYRELL               MARYANN               NY         11480200         WEITZ & LUXENBERG, PC
SWEET                DONALD J              NY         10669102         WEITZ & LUXENBERG, PC                                SYRKETT              LEWIS                 NY         99105674         WEITZ & LUXENBERG, PC
SWEET                GARY M                NY         10587002         WEITZ & LUXENBERG, PC                                SYTA                 STANLEY J             NY         1107800          WEITZ & LUXENBERG, PC
SWEET                HERBERT A             NY         10317902         WEITZ & LUXENBERG, PC                                SYTA                 VIOLA R               NY         1107800          WEITZ & LUXENBERG, PC
SWEET                JOSEPH J              NY         10740202         WEITZ & LUXENBERG, PC                                SZABLEWSKI           LEONARD               NY         11440400         WEITZ & LUXENBERG, PC
SWEET                JOSEPH J              NY         11330102         WEITZ & LUXENBERG, PC                                SZABLEWSKI           LEONARD               NY         12219799         WEITZ & LUXENBERG, PC
SWEET                NANCY A               NY         10669102         WEITZ & LUXENBERG, PC                                SZABO                ARTHUR                NY         11440300         WEITZ & LUXENBERG, PC
SWEET                WALTER N              NY         10417600         WEITZ & LUXENBERG, PC                                SZABO                ARTHUR                NY         12219799         WEITZ & LUXENBERG, PC
SWEETING             GEORGE A              NY         10670802         WEITZ & LUXENBERG, PC                                SZABO                EVELYN                NY         11441400         WEITZ & LUXENBERG, PC
SWEETING             KATHERINE             NY         10670802         WEITZ & LUXENBERG, PC                                SZABO                EVELYN                NY         12219799         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1076
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 411 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SZABO                JOSEPH                NY         11441400         WEITZ & LUXENBERG, PC                                TALARICO             ELIZABETH             NY         1900922016       WEITZ & LUXENBERG, PC
SZABO                JOSEPH                NY         11440200         WEITZ & LUXENBERG, PC                                TALARICO             ELIZABETH             NY         02107007         WEITZ & LUXENBERG, PC
SZABO                JOSEPH                NY         12219799         WEITZ & LUXENBERG, PC                                TALARICO             PETER                 NY         02107007         WEITZ & LUXENBERG, PC
SZABO                WILLIAM C             NY         11440300         WEITZ & LUXENBERG, PC                                TALARICO             PETER                 NY         1900922016       WEITZ & LUXENBERG, PC
SZABO                WILLIAM C             NY         12219799         WEITZ & LUXENBERG, PC                                TALAY                JANET C               NY         10425506         WEITZ & LUXENBERG, PC
SZAFRANSKI           ADAM J                NY         10541999         WEITZ & LUXENBERG, PC                                TALAY                ROBERT                NY         10425506         WEITZ & LUXENBERG, PC
SZARY                FRED                  NY         99108619         WEITZ & LUXENBERG, PC                                TALKIEWICZ           EDWIN                 NY         11432303         WEITZ & LUXENBERG, PC
SZARY                JOANN                 NY         99108619         WEITZ & LUXENBERG, PC                                TALKIEWICZ           RITA                  NY         11432303         WEITZ & LUXENBERG, PC
SZCZESNIAK           LORETTA               NY         11441300         WEITZ & LUXENBERG, PC                                TALLEY               DWIGHT M              NY         10670402         WEITZ & LUXENBERG, PC
SZCZESNIAK           LORETTA               NY         12219799         WEITZ & LUXENBERG, PC                                TALLEY               PATRICIA              NY         10670402         WEITZ & LUXENBERG, PC
SZCZESNIAK           TED P                 NY         11441300         WEITZ & LUXENBERG, PC                                TALLEY               WINNIE MAE            NY         01CIV3900        WEITZ & LUXENBERG, PC
SZCZESNIAK           TED P                 NY         12219799         WEITZ & LUXENBERG, PC                                TALLO                GERALD                NY         10051001         WEITZ & LUXENBERG, PC
SZELEST              CHARLES               NY         11441100         WEITZ & LUXENBERG, PC                                TALLO                HELENE E              NY         10051001         WEITZ & LUXENBERG, PC
SZELEST              CHARLES               NY         12219799         WEITZ & LUXENBERG, PC                                TALMADGE             RAYMOND P             NY         10541799         WEITZ & LUXENBERG, PC
SZELEWSKI            RICHARD J             NY         10700102         WEITZ & LUXENBERG, PC                                TAMBASCO             MARGARET              NY         10386806         WEITZ & LUXENBERG, PC
SZELEWSKI            SUZANNE               NY         10700102         WEITZ & LUXENBERG, PC                                TAMBASCO             PETER                 NY         10386806         WEITZ & LUXENBERG, PC
SZELIGA              EUGENE M              NY         10710102         WEITZ & LUXENBERG, PC                                TAMUCCIO             FRANK M               NY         01111220         WEITZ & LUXENBERG, PC
SZELIGA              EUGENE M              NY         11965002         WEITZ & LUXENBERG, PC                                TAMUCCIO             JOANNE M              NY         01111220         WEITZ & LUXENBERG, PC
SZELIGA              SHIRLEY               NY         10710102         WEITZ & LUXENBERG, PC                                TAMVAKIS             ELAINE P              NY         11916000         WEITZ & LUXENBERG, PC
SZELIGA              SHIRLEY               NY         11965002         WEITZ & LUXENBERG, PC                                TAMVAKIS             ELEFTHERIOS           NY         11916000         WEITZ & LUXENBERG, PC
SZKLARZ              JAKOB                 NY         99108601         WEITZ & LUXENBERG, PC                                TAMWEBER             FRANK                 NY         12043301         WEITZ & LUXENBERG, PC
SZOPINSKI            INA                   NY         10861699         WEITZ & LUXENBERG, PC                                TAMWEBER             JOSEPHINE             NY         12043301         WEITZ & LUXENBERG, PC
SZOPINSKI            STANLEY               NY         10861699         WEITZ & LUXENBERG, PC                                TANICO               AMELIO                NY         1902152014       WEITZ & LUXENBERG, PC
SZPARA               ARTHUR ANDREW         NY         99108437         WEITZ & LUXENBERG, PC                                TANICO               FRANK                 NY         1902152014       WEITZ & LUXENBERG, PC
SZPARA               ELEANOR J             NY         99108437         WEITZ & LUXENBERG, PC                                TANKERSLEY           JACK                  NY         CV034495         WEITZ & LUXENBERG, PC
SZWED                ANTHONY L             NY         11039204         WEITZ & LUXENBERG, PC                                TANKSLEY             ELIZABETH C           NY         10548299         WEITZ & LUXENBERG, PC
SZWED                BETTY                 NY         11039204         WEITZ & LUXENBERG, PC                                TANKSLEY             JAMES EARL            NY         10548299         WEITZ & LUXENBERG, PC
SZWED                JOHN VINCENT          NY         11039204         WEITZ & LUXENBERG, PC                                TANNENBAUM           BERNARD               NY         1903702014       WEITZ & LUXENBERG, PC
SZYJKOWSKI           PETER F               NY         02106690         WEITZ & LUXENBERG, PC                                TANNER               BERNICE L             NY         10548399         WEITZ & LUXENBERG, PC
SZYJKOWSKI           PETER F               NY         11377702         WEITZ & LUXENBERG, PC                                TANNER               BRENDA L              NY         10535401         WEITZ & LUXENBERG, PC
SZYJKOWSKI           VIRGINIA S            NY         02106690         WEITZ & LUXENBERG, PC                                TANNER               EDWIN JAMES           NY         11441000         WEITZ & LUXENBERG, PC
SZYJKOWSKI           VIRGINIA S            NY         11377702         WEITZ & LUXENBERG, PC                                TANNER               EDWIN JAMES           NY         12219799         WEITZ & LUXENBERG, PC
SZYKOWNY             BENEDICT F            NY         02105718         WEITZ & LUXENBERG, PC                                TANNER               PENELOPE A            NY         11441000         WEITZ & LUXENBERG, PC
SZYMANSKI            DENNIS F              NY         11480300         WEITZ & LUXENBERG, PC                                TANNER               PENELOPE A            NY         12219799         WEITZ & LUXENBERG, PC
SZYMANSKI            JOHN J                NY         02105713         WEITZ & LUXENBERG, PC                                TANNER               RALPH J               NY         10696402         WEITZ & LUXENBERG, PC
SZYMCZAK             IRENE M               NY         02107004         WEITZ & LUXENBERG, PC                                TANNER               RALPH JOSEPH          NY         10548399         WEITZ & LUXENBERG, PC
SZYMCZAK             IRENE M               NY         11517802         WEITZ & LUXENBERG, PC                                TANNER               SHARON                NY         10696402         WEITZ & LUXENBERG, PC
SZYMCZAK             MICHAEL A             NY         02107004         WEITZ & LUXENBERG, PC                                TANNER               WILLIAM M             NY         10535401         WEITZ & LUXENBERG, PC
SZYMCZAK             MICHAEL A             NY         11517802         WEITZ & LUXENBERG, PC                                TANSEY               ANN MARIE             NY         12219799         WEITZ & LUXENBERG, PC
SZYMCZAK             MICHAEL J             NY         02107004         WEITZ & LUXENBERG, PC                                TANSEY               ANN MARIE             NY         11440900         WEITZ & LUXENBERG, PC
SZYMCZAK             MICHAEL J             NY         11517802         WEITZ & LUXENBERG, PC                                TANSEY               CYRIL R               NY         12219799         WEITZ & LUXENBERG, PC
SZYMKOWIAK           EDWARD                NY         19035909         WEITZ & LUXENBERG, PC                                TANSEY               CYRIL R               NY         11440900         WEITZ & LUXENBERG, PC
SZYMKOWIAK           PATRICIA              NY         19035909         WEITZ & LUXENBERG, PC                                TANTILLO             CATHERINE             NY         10276902         WEITZ & LUXENBERG, PC
TABACCO              WILLIAM               NY         19049011         WEITZ & LUXENBERG, PC                                TANTILLO             GIUSEPPE              NY         10548199         WEITZ & LUXENBERG, PC
TABER                PATRICIA              NY         1903352017       WEITZ & LUXENBERG, PC                                TAPIA                PEDRO                 NY         01111218         WEITZ & LUXENBERG, PC
TABET                HELEN R               NY         CV020159         WEITZ & LUXENBERG, PC                                TAPPER               WENDY M               NY         10740202         WEITZ & LUXENBERG, PC
TABET                JOSEPH F              NY         CV020159         WEITZ & LUXENBERG, PC                                TAPS                 SAIME                 NY         10548099         WEITZ & LUXENBERG, PC
TABLER               EDGAR                 NY         10541899         WEITZ & LUXENBERG, PC                                TAPS                 UNO                   NY         10548099         WEITZ & LUXENBERG, PC
TABLER               PAT                   NY         10541899         WEITZ & LUXENBERG, PC                                TARALLO              JOHN                  NY         12577099         WEITZ & LUXENBERG, PC
TACCHI               JANET LYNN            NY         10731801         WEITZ & LUXENBERG, PC                                TARALLO              LINDA                 NY         19011010         WEITZ & LUXENBERG, PC
TACCHI               ROBERT                NY         10731801         WEITZ & LUXENBERG, PC                                TARALLO              SAMUEL                NY         19011010         WEITZ & LUXENBERG, PC
TACKETT              CLARNECE              NY         01CIV3901        WEITZ & LUXENBERG, PC                                TARALLO              VIRGINIA              NY         12577099         WEITZ & LUXENBERG, PC
TACKETT              MILDRED E             NY         01CIV3901        WEITZ & LUXENBERG, PC                                TARANTINO            ANTHONY               NY         12039801         WEITZ & LUXENBERG, PC
TADDEO               ANITA                 NY         680862018        WEITZ & LUXENBERG, PC                                TARANTINO            ANTHONY JAMES         NY         10551299         WEITZ & LUXENBERG, PC
TADDEO               JOHN                  NY         10386706         WEITZ & LUXENBERG, PC                                TARANTINO            DOLORES               NY         12039801         WEITZ & LUXENBERG, PC
TADDEO               MARIA                 NY         10386706         WEITZ & LUXENBERG, PC                                TARANTINO            FRANCES               NY         10551299         WEITZ & LUXENBERG, PC
TADDEO               PETER                 NY         11961802         WEITZ & LUXENBERG, PC                                TARBELL              BENJAMIN RICHARD      NY         02106578         WEITZ & LUXENBERG, PC
TADDEO               ROSE                  NY         11961802         WEITZ & LUXENBERG, PC                                TARBELL              CARL M                NY         12788702         WEITZ & LUXENBERG, PC
TAGGART              DENNIS P              NY         99101451         WEITZ & LUXENBERG, PC                                TARBELL              MARILYN               NY         12788602         WEITZ & LUXENBERG, PC
TAGGART              HENRY                 NY         12006600         WEITZ & LUXENBERG, PC                                TARBELL              MICHAEL M             NY         12788602         WEITZ & LUXENBERG, PC
TAGGART              KATHLEEN              NY         99101451         WEITZ & LUXENBERG, PC                                TARBELL              PATRICIA              NY         12788702         WEITZ & LUXENBERG, PC
TAGGART              PATRICIA              NY         12006600         WEITZ & LUXENBERG, PC                                TARITY               DIANNE                NY         02107006         WEITZ & LUXENBERG, PC
TAGGERTY             EVA M                 NY         1902192018       WEITZ & LUXENBERG, PC                                TARITY               THOMAS D              NY         02107006         WEITZ & LUXENBERG, PC
TAGLIAMONTE          JOSEPH                NY         1901372017       WEITZ & LUXENBERG, PC                                TARPEY               BERNARD               NY         1904082013       WEITZ & LUXENBERG, PC
TAILLON              ALEXANDER J           NY         10740402         WEITZ & LUXENBERG, PC                                TARPEY               EILEEN                NY         11440800         WEITZ & LUXENBERG, PC
TAILLON              EVA J                 NY         10740402         WEITZ & LUXENBERG, PC                                TARPEY               EILEEN                NY         12219799         WEITZ & LUXENBERG, PC
TAITT                JOAN                  NY         10998904         WEITZ & LUXENBERG, PC                                TARPEY               JOAN                  NY         1904082013       WEITZ & LUXENBERG, PC
TAITT                RUPERT                NY         10998904         WEITZ & LUXENBERG, PC                                TARPEY               RICHARD P             NY         11440800         WEITZ & LUXENBERG, PC
TALADA               JEANETTE              NY         10541699         WEITZ & LUXENBERG, PC                                TARPEY               RICHARD P             NY         12219799         WEITZ & LUXENBERG, PC
TALADA               LEWIS T               NY         10541699         WEITZ & LUXENBERG, PC                                TARQUIN              CAROL A               NY         11440700         WEITZ & LUXENBERG, PC
TALAMINI             UMBERTO               NY         10731601         WEITZ & LUXENBERG, PC                                TARQUIN              CAROL A               NY         12219799         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1077
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 412 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TARQUIN              LUKE C                NY         11440700         WEITZ & LUXENBERG, PC                                TAYLOR               NITA                  NY         CV018331         WEITZ & LUXENBERG, PC
TARQUIN              LUKE C                NY         12219799         WEITZ & LUXENBERG, PC                                TAYLOR               PAMELA                NY         10610599         WEITZ & LUXENBERG, PC
TARQUINO             ALBERT                NY         12219899         WEITZ & LUXENBERG, PC                                TAYLOR               RANSFORD              NY         19030409         WEITZ & LUXENBERG, PC
TARQUINO             THERESA               NY         12219899         WEITZ & LUXENBERG, PC                                TAYLOR               RICHARD A             NY         19025809         WEITZ & LUXENBERG, PC
TARSIO               EDWARD                NY         01111235         WEITZ & LUXENBERG, PC                                TAYLOR               RICHARD J             NY         10387102         WEITZ & LUXENBERG, PC
TARSIO               EDWARD                NY         118399901        WEITZ & LUXENBERG, PC                                TAYLOR               ROBERT                NY         12039201         WEITZ & LUXENBERG, PC
TARSNANE             JOHANNA               NY         02107005         WEITZ & LUXENBERG, PC                                TAYLOR               ROBERT W              NY         10658102         WEITZ & LUXENBERG, PC
TARSNANE             JOHN                  NY         02107005         WEITZ & LUXENBERG, PC                                TAYLOR               ROBERT W              NY         10883208         WEITZ & LUXENBERG, PC
TARTAGLIA            DIANA                 NY         12039901         WEITZ & LUXENBERG, PC                                TAYLOR               ROGER L               NY         01CIV3900        WEITZ & LUXENBERG, PC
TARTAGLIA            THOMAS J              NY         12039901         WEITZ & LUXENBERG, PC                                TAYLOR               ROSE                  NY         19023109         WEITZ & LUXENBERG, PC
TARULLI              JOSEPH                NY         12213801         WEITZ & LUXENBERG, PC                                TAYLOR               RUSSELL               NY         CV020072         WEITZ & LUXENBERG, PC
TARULLI              RACHEAL               NY         12213801         WEITZ & LUXENBERG, PC                                TAYLOR               THOMAS E              NY         99108617         WEITZ & LUXENBERG, PC
TASIMOWICZ           MARTIN                NY         10008703         WEITZ & LUXENBERG, PC                                TAYLOR               VICTOR                NY         10891100         WEITZ & LUXENBERG, PC
TASSA                ELEANOR               NY         10984903         WEITZ & LUXENBERG, PC                                TAYLOR               WILLIAM CARL          NY         10740002         WEITZ & LUXENBERG, PC
TASSA                JOSEPH                NY         10984903         WEITZ & LUXENBERG, PC                                TAYLOR               WILLIAM J             NY         CV013921         WEITZ & LUXENBERG, PC
TASSEFF              NADA                  NY         10890600         WEITZ & LUXENBERG, PC                                TAYSKOWSKI           BERNARD A             NY         10731201         WEITZ & LUXENBERG, PC
TASSEFF              THOMAS                NY         10890600         WEITZ & LUXENBERG, PC                                TAYSKOWSKI           IRENE                 NY         10731201         WEITZ & LUXENBERG, PC
TASSIE               DARLEEN               NY         11227102         WEITZ & LUXENBERG, PC                                TAZGAL               MARKUS                NY         01111219         WEITZ & LUXENBERG, PC
TASSIO               PATRICIA              NY         1902892019       WEITZ & LUXENBERG, PC                                TEABOUT              MARTIN E              NY         10842599         WEITZ & LUXENBERG, PC
TASSIO               STEPHEN               NY         1902892019       WEITZ & LUXENBERG, PC                                TEABOUT              NELVA                 NY         10842599         WEITZ & LUXENBERG, PC
TATER                BEVERLY               NY         10862199         WEITZ & LUXENBERG, PC                                TEACHOUT             DONALD E              NY         10861299         WEITZ & LUXENBERG, PC
TATER                JOSEPH MICHAEL        NY         99108602         WEITZ & LUXENBERG, PC                                TEACHOUT             LISA DAWN             NY         10861299         WEITZ & LUXENBERG, PC
TATER                STANLEY H             NY         10862199         WEITZ & LUXENBERG, PC                                TEAGUE               GEORGE R              NY         12444302         WEITZ & LUXENBERG, PC
TATESURE             MARIE                 NY         02105715         WEITZ & LUXENBERG, PC                                TEAGUE               HELEN                 NY         10023403         WEITZ & LUXENBERG, PC
TATESURE             VINCENT               NY         02105715         WEITZ & LUXENBERG, PC                                TEAGUE               IRMA E                NY         12444302         WEITZ & LUXENBERG, PC
TATRO                JAMES N               NY         10670402         WEITZ & LUXENBERG, PC                                TEAGUE               JAMES                 NY         10023403         WEITZ & LUXENBERG, PC
TATRO                RONI LYNN             NY         10670402         WEITZ & LUXENBERG, PC                                TEBO                 DEXTER E              NY         10732701         WEITZ & LUXENBERG, PC
TATULLI              FRANCES               NY         12039101         WEITZ & LUXENBERG, PC                                TEBO                 JEANETTE              NY         10732701         WEITZ & LUXENBERG, PC
TATULLI              FRANCES               NY         10427002         WEITZ & LUXENBERG, PC                                TEDALDI              DAME                  NY         10738700         WEITZ & LUXENBERG, PC
TATULLI              VITO                  NY         12039101         WEITZ & LUXENBERG, PC                                TEDALDI              JOSEPH                NY         10738700         WEITZ & LUXENBERG, PC
TATULLI              VITO                  NY         10427002         WEITZ & LUXENBERG, PC                                TEDESCO              ANDREW A              NY         11965901         WEITZ & LUXENBERG, PC
TATUM                GERTRUDE              NY         CV013921         WEITZ & LUXENBERG, PC                                TEDESCO              ANDREW A              NY         01111220         WEITZ & LUXENBERG, PC
TAUB                 ELIZABETH ANN         NY         01121099         WEITZ & LUXENBERG, PC                                TEDESCO              MARY                  NY         11026702         WEITZ & LUXENBERG, PC
TAUB                 ELIZABETH ANN         NY         10854002         WEITZ & LUXENBERG, PC                                TEDESCO              MARY                  NY         12636502         WEITZ & LUXENBERG, PC
TAYLOR               ADELAIDE M            NY         10387102         WEITZ & LUXENBERG, PC                                TEDESCO              MICHAEL               NY         10546699         WEITZ & LUXENBERG, PC
TAYLOR               ARTHUR M              NY         12043301         WEITZ & LUXENBERG, PC                                TEDESCO              NATALINA              NY         10546699         WEITZ & LUXENBERG, PC
TAYLOR               ARTHUR M              NY         12415901         WEITZ & LUXENBERG, PC                                TEDESCO              TERESA                NY         11965901         WEITZ & LUXENBERG, PC
TAYLOR               ARTHUR W              NY         19023109         WEITZ & LUXENBERG, PC                                TEDESCO              TERESA                NY         01111220         WEITZ & LUXENBERG, PC
TAYLOR               BARBARA DENISE        NY         19038609         WEITZ & LUXENBERG, PC                                TEDOR                EILEEN MARIE          PA         131203117        WEITZ & LUXENBERG, PC
TAYLOR               COLLEEN A             NY         12089500         WEITZ & LUXENBERG, PC                                TEETER               DONALD D              NY         10670602         WEITZ & LUXENBERG, PC
TAYLOR               DEBRA                 NY         1903302017       WEITZ & LUXENBERG, PC                                TEETER               DONALD D              NY         11486102         WEITZ & LUXENBERG, PC
TAYLOR               DOLORES               NY         10890400         WEITZ & LUXENBERG, PC                                TEETER               KATHLEEN              NY         10891000         WEITZ & LUXENBERG, PC
TAYLOR               DONALD                NY         99108603         WEITZ & LUXENBERG, PC                                TEETER               ROBERT J              NY         10740102         WEITZ & LUXENBERG, PC
TAYLOR               DONNA J               NY         10658102         WEITZ & LUXENBERG, PC                                TEETER               STEVEN                NY         10670602         WEITZ & LUXENBERG, PC
TAYLOR               EVELYN                NY         01CIV3901        WEITZ & LUXENBERG, PC                                TEETER               STEVEN                NY         11486102         WEITZ & LUXENBERG, PC
TAYLOR               FLOYD                 NY         CV016734         WEITZ & LUXENBERG, PC                                TEETER               THOMAS N              NY         10891000         WEITZ & LUXENBERG, PC
TAYLOR               FORREST COLUMBUS      NY         01CIV3901        WEITZ & LUXENBERG, PC                                TEETER               VELMA                 NY         10670602         WEITZ & LUXENBERG, PC
TAYLOR               GEORGE EDD            NY         10587502         WEITZ & LUXENBERG, PC                                TEETER               VELMA                 NY         11486102         WEITZ & LUXENBERG, PC
TAYLOR               GEORGE EDD            NY         11005302         WEITZ & LUXENBERG, PC                                TEEVAN               JOHN                  NY         11295302         WEITZ & LUXENBERG, PC
TAYLOR               GUY R                 NY         1903302017       WEITZ & LUXENBERG, PC                                TEGIACCHI            ANN MARIE             NY         110448           WEITZ & LUXENBERG, PC
TAYLOR               HARLAND               NY         10731401         WEITZ & LUXENBERG, PC                                TEGIACCHI            JOSEPH                NY         110448           WEITZ & LUXENBERG, PC
TAYLOR               HENRY E               NY         10740002         WEITZ & LUXENBERG, PC                                TEMPERINO            PETER                 NY         6054822017       WEITZ & LUXENBERG, PC
TAYLOR               HOWARD J              NY         12370101         WEITZ & LUXENBERG, PC                                TEMPEST              DELTA M               NY         02120031         WEITZ & LUXENBERG, PC
TAYLOR               HUGH C                NY         10890400         WEITZ & LUXENBERG, PC                                TEMPEST              EDWARD J              NY         02120031         WEITZ & LUXENBERG, PC
TAYLOR               JAMES                 NY         12016301         WEITZ & LUXENBERG, PC                                TENAGLIA             ANTONIO               NY         10861199         WEITZ & LUXENBERG, PC
TAYLOR               JAMES C               NY         11786400         WEITZ & LUXENBERG, PC                                TENAGLIA             BAMBINA               NY         10861199         WEITZ & LUXENBERG, PC
TAYLOR               JAMES L               NY         99111879         WEITZ & LUXENBERG, PC                                TENBROECK            JOHN                  NY         01111218         WEITZ & LUXENBERG, PC
TAYLOR               JAMES L               NY         10740102         WEITZ & LUXENBERG, PC                                TENCIC               FINETA                NY         01122139         WEITZ & LUXENBERG, PC
TAYLOR               JAMES MILES           NY         CV020707         WEITZ & LUXENBERG, PC                                TENCIC               LINO                  NY         01122139         WEITZ & LUXENBERG, PC
TAYLOR               JANE                  NY         99108603         WEITZ & LUXENBERG, PC                                TENENBAUM            LYNN                  NY         1902442016       WEITZ & LUXENBERG, PC
TAYLOR               JEAN W                NY         10049405         WEITZ & LUXENBERG, PC                                TENENINI             CAMILLE               NY         10732601         WEITZ & LUXENBERG, PC
TAYLOR               JIMMIE                NY         19003911         WEITZ & LUXENBERG, PC                                TENENINI             EDWARD                NY         10732601         WEITZ & LUXENBERG, PC
TAYLOR               KATHLEEN P            NY         12043301         WEITZ & LUXENBERG, PC                                TENEYCK              WILLIAM M             NY         02106508         WEITZ & LUXENBERG, PC
TAYLOR               KATHLEEN P            NY         12415901         WEITZ & LUXENBERG, PC                                TENNANT              MARSHA                NY         10716200         WEITZ & LUXENBERG, PC
TAYLOR               LOU ELLEN             NY         19003911         WEITZ & LUXENBERG, PC                                TENNANT              THOMAS W              NY         10716200         WEITZ & LUXENBERG, PC
TAYLOR               LUCILLE               NY         CV020072         WEITZ & LUXENBERG, PC                                TENNELL              REBA                  NY         1902442012       WEITZ & LUXENBERG, PC
TAYLOR               MARGARET              NY         CV016734         WEITZ & LUXENBERG, PC                                TENNELL              WILLIAM L             NY         1902442012       WEITZ & LUXENBERG, PC
TAYLOR               MICHAEL J             NY         11786400         WEITZ & LUXENBERG, PC                                TENNEY               IRVING                NY         10496702         WEITZ & LUXENBERG, PC
TAYLOR               MONA L                NY         10883208         WEITZ & LUXENBERG, PC                                TENNEY               NOREEN                NY         10496702         WEITZ & LUXENBERG, PC
TAYLOR               NELLIE F              NY         10740502         WEITZ & LUXENBERG, PC                                TEPHLY               LUCY                  NY         11026902         WEITZ & LUXENBERG, PC
TAYLOR               NELLIE F              NY         11414102         WEITZ & LUXENBERG, PC                                TEPHLY               RONALD M              NY         11026902         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1078
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 413 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TEPPER               ABE                   NY         10090403         WEITZ & LUXENBERG, PC                                TESTA                ACHILLE               NY         11480800         WEITZ & LUXENBERG, PC
TERCASIO             EDWARD                NY         10546499         WEITZ & LUXENBERG, PC                                TESTA                ANGELO                NY         11480800         WEITZ & LUXENBERG, PC
TERCASIO             SANDRA                NY         10546499         WEITZ & LUXENBERG, PC                                TESTA                JOANN                 NY         12039801         WEITZ & LUXENBERG, PC
TERCHA               EDWARD J              NY         1903252014       WEITZ & LUXENBERG, PC                                TESTA                JOANN                 NY         10480802         WEITZ & LUXENBERG, PC
TERCHA               JACQUELINE            NY         1903252014       WEITZ & LUXENBERG, PC                                TESTA                MARIA                 NY         11480800         WEITZ & LUXENBERG, PC
TERDOSLAVICH         ANNA                  NY         10546399         WEITZ & LUXENBERG, PC                                TETONIC              JOSEPH W              NY         10892900         WEITZ & LUXENBERG, PC
TERDOSLAVICH         NEVIO                 NY         10546399         WEITZ & LUXENBERG, PC                                TETONIC              MARGARET              NY         10892900         WEITZ & LUXENBERG, PC
TERDOSLAVICH         RALPH                 NY         10886902         WEITZ & LUXENBERG, PC                                TETRICK              ALICE                 NY         CV014790         WEITZ & LUXENBERG, PC
TERESKI              WILLIAM J             NY         10735701         WEITZ & LUXENBERG, PC                                TETRICK              HAROLD L              NY         CV014790         WEITZ & LUXENBERG, PC
TERHUNE              JAMES CHANDLER        NY         10740502         WEITZ & LUXENBERG, PC                                TETRO                DAVID                 NY         10871101         WEITZ & LUXENBERG, PC
TERHUNE              JAMES CHANDLER        NY         11414002         WEITZ & LUXENBERG, PC                                TETTER               VELMA                 NY         10670602         WEITZ & LUXENBERG, PC
TERHUNE              JAMES M               NY         11414002         WEITZ & LUXENBERG, PC                                TETTER               VELMA                 NY         11486102         WEITZ & LUXENBERG, PC
TERI                 ANNA                  NY         11480600         WEITZ & LUXENBERG, PC                                TEVNAN               MARIE E               NY         99100492         WEITZ & LUXENBERG, PC
TERI                 GIROLAMO              NY         11480600         WEITZ & LUXENBERG, PC                                THAELE               HARRO                 NY         12042901         WEITZ & LUXENBERG, PC
TERI                 MARIA ANGELA          NY         11480600         WEITZ & LUXENBERG, PC                                THAELE               PAULINE               NY         12042901         WEITZ & LUXENBERG, PC
TERIC                AVELINA               NY         10871101         WEITZ & LUXENBERG, PC                                THARP                EARL JR               NY         99105458         WEITZ & LUXENBERG, PC
TERIC                VITO                  NY         10871101         WEITZ & LUXENBERG, PC                                THARRETT             JAMES A               NY         10680802         WEITZ & LUXENBERG, PC
TERINO               MARION                NY         10658102         WEITZ & LUXENBERG, PC                                THARRETT             PATRICIA              NY         10680802         WEITZ & LUXENBERG, PC
TERINO               MARION                NY         11394702         WEITZ & LUXENBERG, PC                                THAW                 NORMAN L              NY         1901262017       WEITZ & LUXENBERG, PC
TERINO               RALPH T               NY         10658102         WEITZ & LUXENBERG, PC                                THAYER               FREDERICK G           NY         02107006         WEITZ & LUXENBERG, PC
TERINO               RALPH T               NY         11394702         WEITZ & LUXENBERG, PC                                THAYER               FREDERICK G           NY         11801202         WEITZ & LUXENBERG, PC
TERINO               RALPH T JR            NY         10658102         WEITZ & LUXENBERG, PC                                THAYER               RUTH ANN              NY         02107006         WEITZ & LUXENBERG, PC
TERINO               RALPH T JR            NY         11394702         WEITZ & LUXENBERG, PC                                THAYER               RUTH ANN              NY         11801202         WEITZ & LUXENBERG, PC
TERIO                FRAN                  NY         01111226         WEITZ & LUXENBERG, PC                                THELIAN              JOHN                  NY         11480900         WEITZ & LUXENBERG, PC
TERIO                PHILIP                NY         01111226         WEITZ & LUXENBERG, PC                                THELIAN              KATHLEEN              NY         11480900         WEITZ & LUXENBERG, PC
TERMINI              GEORGE                NY         11480700         WEITZ & LUXENBERG, PC                                THEODORE             GREGORY               NY         540222017        WEITZ & LUXENBERG, PC
TERMINI              MARIA                 NY         11480700         WEITZ & LUXENBERG, PC                                THEOPHIL             WILLIAM G             NY         1904632018       WEITZ & LUXENBERG, PC
TERPAY               ALEX                  NY         10710002         WEITZ & LUXENBERG, PC                                THERESE WATSO        MARIE EMERENTIENNE    NY         10680802         WEITZ & LUXENBERG, PC
TERPAY               ALEX                  NY         12683102         WEITZ & LUXENBERG, PC                                THERESE WATSO        MARIE EMERENTIENNE    NY         11052302         WEITZ & LUXENBERG, PC
TERPAY               ALEXANDER F           NY         10710002         WEITZ & LUXENBERG, PC                                THERIAULT            ALFRED L              NY         99108447         WEITZ & LUXENBERG, PC
TERPAY               ALEXANDER F           NY         12683102         WEITZ & LUXENBERG, PC                                THERIAULT            GAIL                  NY         99108447         WEITZ & LUXENBERG, PC
TERPAY               PRISCILLA             NY         10710002         WEITZ & LUXENBERG, PC                                THERRIEN             DENNIS G              NY         02105713         WEITZ & LUXENBERG, PC
TERPAY               PRISCILLA             NY         12683102         WEITZ & LUXENBERG, PC                                THIBAULT             DALES S               NY         10670402         WEITZ & LUXENBERG, PC
TERPAY               ROBERT J              NY         10710002         WEITZ & LUXENBERG, PC                                THIBAULT             EDWARD                NY         1900102013       WEITZ & LUXENBERG, PC
TERPAY               ROBERT J              NY         12683102         WEITZ & LUXENBERG, PC                                THIBAULT             KATHLEEN              NY         1900102013       WEITZ & LUXENBERG, PC
TERPIN               GERALDINE             NY         10892100         WEITZ & LUXENBERG, PC                                THIBAULT             VALERIE               NY         10670402         WEITZ & LUXENBERG, PC
TERPIN               STANLEY               NY         10892100         WEITZ & LUXENBERG, PC                                THIEL                DOROTHY               NY         99105438         WEITZ & LUXENBERG, PC
TERRACCIANO          JANINE                NY         1901522017       WEITZ & LUXENBERG, PC                                THIEL                WILLIAM A             NY         99105438         WEITZ & LUXENBERG, PC
TERRANCE             BARBARA JEAN          NY         02106692         WEITZ & LUXENBERG, PC                                THIELE               FREDERICK H           NY         12668202         WEITZ & LUXENBERG, PC
TERRANCE             BRENDA                NY         10571402         WEITZ & LUXENBERG, PC                                THIELMANN            JAMES                 NY         99105437         WEITZ & LUXENBERG, PC
TERRANCE             GERALD M              NY         10571402         WEITZ & LUXENBERG, PC                                THIELMANN            MARY V                NY         99105437         WEITZ & LUXENBERG, PC
TERRANCE             GERALD M              NY         11183402         WEITZ & LUXENBERG, PC                                THOMALA              LORETTA               NY         00931204         WEITZ & LUXENBERG, PC
TERRANCE             JOHN P                NY         10571402         WEITZ & LUXENBERG, PC                                THOMALA              VICTOR H              NY         00931204         WEITZ & LUXENBERG, PC
TERRANCE             MAUREEN               NY         11183402         WEITZ & LUXENBERG, PC                                THOMANN              RICHARD               NY         10074103         WEITZ & LUXENBERG, PC
TERRANCE             MICHAEL J             NY         10680602         WEITZ & LUXENBERG, PC                                THOMAS               ALICE                 NY         10680802         WEITZ & LUXENBERG, PC
TERRANCE             NANCY                 NY         10680602         WEITZ & LUXENBERG, PC                                THOMAS               ALLEN                 NY         99105435         WEITZ & LUXENBERG, PC
TERRANCE             THOMAS G              NY         02106692         WEITZ & LUXENBERG, PC                                THOMAS               ALVIN                 NY         99105434         WEITZ & LUXENBERG, PC
TERRANOVA            IGNATIUS A            NY         10722102         WEITZ & LUXENBERG, PC                                THOMAS               ALVIN E               NY         99105434         WEITZ & LUXENBERG, PC
TERRELL              DOREEN                NY         10891800         WEITZ & LUXENBERG, PC                                THOMAS               ARTHUR                NY         02107099         WEITZ & LUXENBERG, PC
TERRELL              LEON                  NY         01CIV3900        WEITZ & LUXENBERG, PC                                THOMAS               BERNARD J             NY         10965202         WEITZ & LUXENBERG, PC
TERRELL              LEONA                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                THOMAS               BERTHA ANN            NY         10700002         WEITZ & LUXENBERG, PC
TERRELL              SLYVESTER             NY         10891800         WEITZ & LUXENBERG, PC                                THOMAS               BETTY                 NY         10847599         WEITZ & LUXENBERG, PC
TERRIBLE             SACHIKO               NY         01122139         WEITZ & LUXENBERG, PC                                THOMAS               CHARLENE              NY         12788702         WEITZ & LUXENBERG, PC
TERRIBLE             VITO                  NY         01122139         WEITZ & LUXENBERG, PC                                THOMAS               CHARLES DANIEL        NY         10571702         WEITZ & LUXENBERG, PC
TERRONE              ROSA                  NY         01111228         WEITZ & LUXENBERG, PC                                THOMAS               CLEOPHUS              NY         11481000         WEITZ & LUXENBERG, PC
TERRONE              VITO                  NY         01111228         WEITZ & LUXENBERG, PC                                THOMAS               DANIEL J              NY         11481100         WEITZ & LUXENBERG, PC
TERRY                DOROTHY               NY         02113280         WEITZ & LUXENBERG, PC                                THOMAS               DAVID                 NY         01111225         WEITZ & LUXENBERG, PC
TERRY                EVELENA W             NY         99105461         WEITZ & LUXENBERG, PC                                THOMAS               DORIS                 NY         11033203         WEITZ & LUXENBERG, PC
TERRY                LESTER                NY         99105461         WEITZ & LUXENBERG, PC                                THOMAS               DORIS                 NY         01CIV3900        WEITZ & LUXENBERG, PC
TERRY                MELVIN L              NY         02113280         WEITZ & LUXENBERG, PC                                THOMAS               DOROTHY               NY         11481000         WEITZ & LUXENBERG, PC
TERRY                WILLIAM J             NY         10893000         WEITZ & LUXENBERG, PC                                THOMAS               DOROTHY               NY         01CIV3901        WEITZ & LUXENBERG, PC
TERRY                WILLIAM J JR          NY         10893000         WEITZ & LUXENBERG, PC                                THOMAS               ELEANOR M             NY         I200111266       WEITZ & LUXENBERG, PC
TERZIAN              BARKEY                NY         12039501         WEITZ & LUXENBERG, PC                                THOMAS               ELLIS ROSCOE          NY         01CIV3900        WEITZ & LUXENBERG, PC
TERZO                EDMUND                NY         12668602         WEITZ & LUXENBERG, PC                                THOMAS               ELMER W               NY         10587002         WEITZ & LUXENBERG, PC
TESE                 JOSEPH                NY         12043301         WEITZ & LUXENBERG, PC                                THOMAS               FRANK                 NY         CV013923         WEITZ & LUXENBERG, PC
TESORIERO            JOSEPH                NY         12043101         WEITZ & LUXENBERG, PC                                THOMAS               GARTRICE TRAY         NY         01CIV3901        WEITZ & LUXENBERG, PC
TESORIERO            MARGARET              NY         12043101         WEITZ & LUXENBERG, PC                                THOMAS               GEORGE                NY         01111234         WEITZ & LUXENBERG, PC
TESSAR               DOLORES               NY         12110001         WEITZ & LUXENBERG, PC                                THOMAS               GEORGE                NY         11920301         WEITZ & LUXENBERG, PC
TESSAR               GABRIEL               NY         12110001         WEITZ & LUXENBERG, PC                                THOMAS               GEORGE D              NY         12801902         WEITZ & LUXENBERG, PC
TESSEYMAN            FULVIA                NY         02106580         WEITZ & LUXENBERG, PC                                THOMAS               GEORGE J              NY         11033203         WEITZ & LUXENBERG, PC
TESSEYMAN            FULVIA                NY         11322202         WEITZ & LUXENBERG, PC                                THOMAS               GERALD                NY         10716300         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1079
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 414 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

THOMAS               GLORIA                NY         CV025685         WEITZ & LUXENBERG, PC                                THOMPSON             DOROTHY               NY         10872400         WEITZ & LUXENBERG, PC
THOMAS               GLORIA J              NY         01CIV3900        WEITZ & LUXENBERG, PC                                THOMPSON             EDWARD                NY         01111225         WEITZ & LUXENBERG, PC
THOMAS               HAROLD HUGHES         NY         02105715         WEITZ & LUXENBERG, PC                                THOMPSON             EDWARD                NY         11810801         WEITZ & LUXENBERG, PC
THOMAS               HENRY                 NY         10543699         WEITZ & LUXENBERG, PC                                THOMPSON             EVA                   NY         10645702         WEITZ & LUXENBERG, PC
THOMAS               HERMAN C              NY         1901942018       WEITZ & LUXENBERG, PC                                THOMPSON             FLOYD                 NY         CV014464         WEITZ & LUXENBERG, PC
THOMAS               IRENE F               NY         10892700         WEITZ & LUXENBERG, PC                                THOMPSON             FRED C                NY         11522503         WEITZ & LUXENBERG, PC
THOMAS               JANNIE L              NY         10716300         WEITZ & LUXENBERG, PC                                THOMPSON             GARY L                NY         02106580         WEITZ & LUXENBERG, PC
THOMAS               JERRY C               NY         10700002         WEITZ & LUXENBERG, PC                                THOMPSON             GEORGE M              NY         1903062019       WEITZ & LUXENBERG, PC
THOMAS               JIMMY                 NY         10847599         WEITZ & LUXENBERG, PC                                THOMPSON             HENRY MONROE          NY         CV015684         WEITZ & LUXENBERG, PC
THOMAS               JOAN                  NY         CV021243         WEITZ & LUXENBERG, PC                                THOMPSON             JAMES                 NY         1901712016       WEITZ & LUXENBERG, PC
THOMAS               JOAN                  NY         10658102         WEITZ & LUXENBERG, PC                                THOMPSON             JANET                 NY         CV014464         WEITZ & LUXENBERG, PC
THOMAS               JOANN                 NY         CV020073         WEITZ & LUXENBERG, PC                                THOMPSON             JANICE                NY         10732401         WEITZ & LUXENBERG, PC
THOMAS               JOHN A                NY         CV021243         WEITZ & LUXENBERG, PC                                THOMPSON             JEWEL                 NY         1901712016       WEITZ & LUXENBERG, PC
THOMAS               JOHN J                NY         12039501         WEITZ & LUXENBERG, PC                                THOMPSON             JOHN LEWIS            NY         10587202         WEITZ & LUXENBERG, PC
THOMAS               JOHN R                NY         10892700         WEITZ & LUXENBERG, PC                                THOMPSON             JOSEPHINE             NY         10732301         WEITZ & LUXENBERG, PC
THOMAS               JOSEPH F              NY         10716400         WEITZ & LUXENBERG, PC                                THOMPSON             KATHY                 NY         02107004         WEITZ & LUXENBERG, PC
THOMAS               JOSEPH L              NY         10680802         WEITZ & LUXENBERG, PC                                THOMPSON             KENNETH               NY         10732301         WEITZ & LUXENBERG, PC
THOMAS               JOSEPH W              NY         10892800         WEITZ & LUXENBERG, PC                                THOMPSON             LAVETTE               NY         1903062019       WEITZ & LUXENBERG, PC
THOMAS               KATHY                 NY         12801902         WEITZ & LUXENBERG, PC                                THOMPSON             LIZ                   NY         10838400         WEITZ & LUXENBERG, PC
THOMAS               LAURA M               NY         12788702         WEITZ & LUXENBERG, PC                                THOMPSON             LLOYD                 NY         02117538         WEITZ & LUXENBERG, PC
THOMAS               LEE ARTHUR            NY         CV020073         WEITZ & LUXENBERG, PC                                THOMPSON             LOIS                  NY         11327802         WEITZ & LUXENBERG, PC
THOMAS               LESLIE J              NY         10658102         WEITZ & LUXENBERG, PC                                THOMPSON             MARTHA                NY         99105404         WEITZ & LUXENBERG, PC
THOMAS               LORENZA R             NY         11621804         WEITZ & LUXENBERG, PC                                THOMPSON             MAUREEN               NY         10872200         WEITZ & LUXENBERG, PC
THOMAS               LOUISE                NY         99105435         WEITZ & LUXENBERG, PC                                THOMPSON             MILDRED               NY         10838400         WEITZ & LUXENBERG, PC
THOMAS               MARY L                NY         10716400         WEITZ & LUXENBERG, PC                                THOMPSON             MURIEL                NY         10872200         WEITZ & LUXENBERG, PC
THOMAS               MICHAEL               NY         12788702         WEITZ & LUXENBERG, PC                                THOMPSON             NEIL J                NY         12039001         WEITZ & LUXENBERG, PC
THOMAS               MICHAEL H             NY         CIV006917        WEITZ & LUXENBERG, PC                                THOMPSON             PHILLIP               NY         10700102         WEITZ & LUXENBERG, PC
THOMAS               MILDRED               NY         11481100         WEITZ & LUXENBERG, PC                                THOMPSON             PRECIOUS L            NY         10838400         WEITZ & LUXENBERG, PC
THOMAS               MILTON                NY         CV025685         WEITZ & LUXENBERG, PC                                THOMPSON             RENA                  NY         10700102         WEITZ & LUXENBERG, PC
THOMAS               MILTON                NY         01CIV3900        WEITZ & LUXENBERG, PC                                THOMPSON             RICHARD P             NY         02107004         WEITZ & LUXENBERG, PC
THOMAS               NANCY                 NY         12039501         WEITZ & LUXENBERG, PC                                THOMPSON             ROBERT                NY         10540399         WEITZ & LUXENBERG, PC
THOMAS               ORAVAE                NY         10892800         WEITZ & LUXENBERG, PC                                THOMPSON             ROBERT                NY         99105404         WEITZ & LUXENBERG, PC
THOMAS               PATRICIA              NY         99108427         WEITZ & LUXENBERG, PC                                THOMPSON             ROBERT R              NY         12788702         WEITZ & LUXENBERG, PC
THOMAS               PATRICIA              NY         11481200         WEITZ & LUXENBERG, PC                                THOMPSON             ROSEMARY              NY         10716500         WEITZ & LUXENBERG, PC
THOMAS               PAUL                  NY         99108427         WEITZ & LUXENBERG, PC                                THOMPSON             RUBY                  NY         10652304         WEITZ & LUXENBERG, PC
THOMAS               REBECCA               NY         CIV006917        WEITZ & LUXENBERG, PC                                THOMPSON             RUDOLPH               NY         10716902         WEITZ & LUXENBERG, PC
THOMAS               ROBERT                NY         CV015957         WEITZ & LUXENBERG, PC                                THOMPSON             RUTH                  NY         01CIV3901        WEITZ & LUXENBERG, PC
THOMAS               ROBERT                NY         10740202         WEITZ & LUXENBERG, PC                                THOMPSON             SEPTIMUS              NY         10652304         WEITZ & LUXENBERG, PC
THOMAS               ROBERT E              NY         I200111266       WEITZ & LUXENBERG, PC                                THOMPSON             STANLEY               NY         10872200         WEITZ & LUXENBERG, PC
THOMAS               ROGER H               NY         01111219         WEITZ & LUXENBERG, PC                                THOMPSON             TERRY ARTHUR          NY         11026802         WEITZ & LUXENBERG, PC
THOMAS               ROGERS T              NY         12788702         WEITZ & LUXENBERG, PC                                THOMPSON             WILLIAM H             NY         11327802         WEITZ & LUXENBERG, PC
THOMAS               ROSE                  NY         CV013923         WEITZ & LUXENBERG, PC                                THOMSON              DAVID                 NY         99105467         WEITZ & LUXENBERG, PC
THOMAS               RUSSELL LOWELL        NY         CV012628         WEITZ & LUXENBERG, PC                                THOMSON              DAVID                 NY         10546799         WEITZ & LUXENBERG, PC
THOMAS               SUSAN                 NY         99105471         WEITZ & LUXENBERG, PC                                THOMSON              JOHN MACPHERSON       NY         99108474         WEITZ & LUXENBERG, PC
THOMAS               THOMAS E              NY         99105471         WEITZ & LUXENBERG, PC                                THOMSON              LOUISE                NY         99105467         WEITZ & LUXENBERG, PC
THOMAS               VALERIA B             NY         11621804         WEITZ & LUXENBERG, PC                                THOMSON              LOUISE                NY         10546799         WEITZ & LUXENBERG, PC
THOMAS               WILLIAM A             NY         11481200         WEITZ & LUXENBERG, PC                                THOMSON              MILDRED               NY         99108474         WEITZ & LUXENBERG, PC
THOMAS               WILLIAM R             NY         10892600         WEITZ & LUXENBERG, PC                                THORNBERRY           GARY LEE              NY         01CIV3900        WEITZ & LUXENBERG, PC
THOMAS               ROSE                  NY         CV013923         WEITZ & LUXENBERG, PC                                THORNBERRY           SARAH                 NY         01CIV3900        WEITZ & LUXENBERG, PC
THOMAS-BLACK         DELORES J             NY         19002611         WEITZ & LUXENBERG, PC                                THORNE               JOHN H                NY         10004702         WEITZ & LUXENBERG, PC
THOMASON             CHARLES               NY         CV015720         WEITZ & LUXENBERG, PC                                THORNHILL            CAROL                 NY         10033504         WEITZ & LUXENBERG, PC
THOMASON             JUDY ANN              NY         CV015720         WEITZ & LUXENBERG, PC                                THORNHILL            LARRY D               NY         10033504         WEITZ & LUXENBERG, PC
THOMASULA            MICHAEL A             NY         10547099         WEITZ & LUXENBERG, PC                                THORNTON             CHARLES RAY           NY         CV015334         WEITZ & LUXENBERG, PC
THOMASULA            SANDRA                NY         10547099         WEITZ & LUXENBERG, PC                                THORNTON             ELLIOT                NY         11247200         WEITZ & LUXENBERG, PC
THOMPKINS            ALTON H               NY         10732501         WEITZ & LUXENBERG, PC                                THORNTON             JOYCE ALBERTA         NY         CV024385         WEITZ & LUXENBERG, PC
THOMPKINS            MAMIE                 NY         10732501         WEITZ & LUXENBERG, PC                                THORP                GINA                  NY         1904402018       WEITZ & LUXENBERG, PC
THOMPSON             ALBERTA H             NY         10658102         WEITZ & LUXENBERG, PC                                THORP                THOMAS                NY         1904402018       WEITZ & LUXENBERG, PC
THOMPSON             ALBERTA H             NY         11392302         WEITZ & LUXENBERG, PC                                THORPE               DAVID ALLEN           NY         01CIV3900        WEITZ & LUXENBERG, PC
THOMPSON             ALICE                 NY         01111225         WEITZ & LUXENBERG, PC                                THORPE               LORRAINE              NY         11970001         WEITZ & LUXENBERG, PC
THOMPSON             ALICE A               NY         11810801         WEITZ & LUXENBERG, PC                                THORSTENSEN          HAROLD A              NY         01111223         WEITZ & LUXENBERG, PC
THOMPSON             ALLEN JOHN            NY         10716500         WEITZ & LUXENBERG, PC                                THRALL               JEAN                  NY         10670802         WEITZ & LUXENBERG, PC
THOMPSON             BEULAH                NY         10716902         WEITZ & LUXENBERG, PC                                THRALL               MICHAEL J             NY         10670802         WEITZ & LUXENBERG, PC
THOMPSON             CANDY                 NY         10306102         WEITZ & LUXENBERG, PC                                THRAPP               JOSEPH                NY         10714900         WEITZ & LUXENBERG, PC
THOMPSON             CATHERINE             NY         CV015684         WEITZ & LUXENBERG, PC                                THRAPP               JOSEPH                NY         99125770         WEITZ & LUXENBERG, PC
THOMPSON             CLYDE A               NY         10645702         WEITZ & LUXENBERG, PC                                THRASHER             ORVILLE               NY         1901442012       WEITZ & LUXENBERG, PC
THOMPSON             DANIEL WALTER         NY         01CIV3901        WEITZ & LUXENBERG, PC                                THREEHOUSE           DIANE                 NY         02106692         WEITZ & LUXENBERG, PC
THOMPSON             DENNIS                NY         10732401         WEITZ & LUXENBERG, PC                                THREEHOUSE           JAMES L               NY         02106692         WEITZ & LUXENBERG, PC
THOMPSON             DESHA                 NY         10872400         WEITZ & LUXENBERG, PC                                THRELKELD            EUGENE                NY         01CIV3900        WEITZ & LUXENBERG, PC
THOMPSON             DOLORES               NY         10540399         WEITZ & LUXENBERG, PC                                THRELKELD            EVELYN C              NY         01CIV3900        WEITZ & LUXENBERG, PC
THOMPSON             DONALD S              NY         10306102         WEITZ & LUXENBERG, PC                                THROWER              BILLY J               NY         01CIV3901        WEITZ & LUXENBERG, PC
THOMPSON             DORA L                NY         10090403         WEITZ & LUXENBERG, PC                                THROWER              DORIS                 NY         01CIV3901        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1080
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 415 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

THROWER              HAZEL                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                TIRADO               RAMON                 NY         1900492019       WEITZ & LUXENBERG, PC
THUERCK              CHRISTINE             NY         99105468         WEITZ & LUXENBERG, PC                                TISCORNIA            JOHN G                NY         01118864         WEITZ & LUXENBERG, PC
THUERCK              JOHN W                NY         99105468         WEITZ & LUXENBERG, PC                                TISDALL              MARY ANN              NY         12043101         WEITZ & LUXENBERG, PC
THUNHORST            FRED                  NY         01111229         WEITZ & LUXENBERG, PC                                TISDALL              MARY ANN              NY         12359101         WEITZ & LUXENBERG, PC
THURMON              JAMES                 NY         CV025685         WEITZ & LUXENBERG, PC                                TISDALL              ROBERT                NY         12043101         WEITZ & LUXENBERG, PC
THURMON              LENA JEAN             NY         CV025685         WEITZ & LUXENBERG, PC                                TISDALL              ROBERT                NY         12359101         WEITZ & LUXENBERG, PC
THURMOND             BETTY                 NY         CV011177         WEITZ & LUXENBERG, PC                                TISI                 ARTHUR                NY         11583201         WEITZ & LUXENBERG, PC
THURMOND             ROY                   NY         CV011177         WEITZ & LUXENBERG, PC                                TISI                 ARTHUR                NY         01111222         WEITZ & LUXENBERG, PC
THYNE                EILEEN                NY         01111229         WEITZ & LUXENBERG, PC                                TISI                 CAROL J               NY         11583201         WEITZ & LUXENBERG, PC
TIBBATTS             JAMES G               NY         01111220         WEITZ & LUXENBERG, PC                                TISI                 CAROL J               NY         01111222         WEITZ & LUXENBERG, PC
TIBBATTS             PATRICIA              NY         01111220         WEITZ & LUXENBERG, PC                                TITTLE               JB                    NY         06CIV0664        WEITZ & LUXENBERG, PC
TIBOLLO              BENEDETTO J           NY         10645702         WEITZ & LUXENBERG, PC                                TITTLE               PAULINE               NY         06CIV0664        WEITZ & LUXENBERG, PC
TIBOLLO              HELENE                NY         10645702         WEITZ & LUXENBERG, PC                                TITTLEY              GLORIA                NY         12039601         WEITZ & LUXENBERG, PC
TIBOLLO              VINCENT               NY         12668502         WEITZ & LUXENBERG, PC                                TITTLEY              RICHARD               NY         12039601         WEITZ & LUXENBERG, PC
TICCONI              EMMELINE              NY         10023103         WEITZ & LUXENBERG, PC                                TITUS                DOROTHY               NY         02107005         WEITZ & LUXENBERG, PC
TICCONI              JAMES J               NY         10023103         WEITZ & LUXENBERG, PC                                TITUS                FRANCIS J             NY         02107005         WEITZ & LUXENBERG, PC
TIEL                 JAMES C               NY         CV012934         WEITZ & LUXENBERG, PC                                TITUS                ORLANDO               NY         12668602         WEITZ & LUXENBERG, PC
TIEL                 SARAH                 NY         CV012934         WEITZ & LUXENBERG, PC                                TITUS                ORLANDO               NY         10404203         WEITZ & LUXENBERG, PC
TIERNAN              EUGENE VINCENT        NY         99105402         WEITZ & LUXENBERG, PC                                TJORNHOM             BARBARA               NY         10715000         WEITZ & LUXENBERG, PC
TIERNAN              FLORENCE              NY         00CIV1204        WEITZ & LUXENBERG, PC                                TJORNHOM             GEORG                 NY         10715000         WEITZ & LUXENBERG, PC
TIERNAN              JOHN J III            NY         00CIV1204        WEITZ & LUXENBERG, PC                                TOARMINO             CHARLENE M            NY         11327802         WEITZ & LUXENBERG, PC
TIERNAN              MARY ANGELINE         NY         99105402         WEITZ & LUXENBERG, PC                                TOARMINO             CHARLENE M            NY         11946402         WEITZ & LUXENBERG, PC
TIGHE                KATHLEEN              NY         10732201         WEITZ & LUXENBERG, PC                                TOARMINO             JOHN S                NY         11327802         WEITZ & LUXENBERG, PC
TIGHE                MARTIN                NY         10732201         WEITZ & LUXENBERG, PC                                TOARMINO             JOHN S                NY         11946402         WEITZ & LUXENBERG, PC
TILL                 EDWARD A              NY         10872000         WEITZ & LUXENBERG, PC                                TOARMINO             LEO L                 NY         11327802         WEITZ & LUXENBERG, PC
TILL                 SHARON                NY         10872000         WEITZ & LUXENBERG, PC                                TOARMINO             RUTH                  NY         11327802         WEITZ & LUXENBERG, PC
TILYOU               JOAN                  NY         10732101         WEITZ & LUXENBERG, PC                                TOBACK               ARLENE SUE            NY         12668502         WEITZ & LUXENBERG, PC
TILYOU               RAYMOND B             NY         10732101         WEITZ & LUXENBERG, PC                                TOBACK               ARLENE SUE            NY         10333003         WEITZ & LUXENBERG, PC
TIMBERLAKE           NANCY ANN             NY         10587202         WEITZ & LUXENBERG, PC                                TOBACK               DONALD F              NY         12668502         WEITZ & LUXENBERG, PC
TIMBERLAKE           NANCY ANN             NY         10823202         WEITZ & LUXENBERG, PC                                TOBACK               DONALD F              NY         10333003         WEITZ & LUXENBERG, PC
TIMBERLAKE           ROY J                 NY         10587202         WEITZ & LUXENBERG, PC                                TOBBE                DANIEL LEWIS          NY         10740402         WEITZ & LUXENBERG, PC
TIMBERLAKE           ROY J                 NY         10823202         WEITZ & LUXENBERG, PC                                TOBEY                JOHN E                NY         19021610         WEITZ & LUXENBERG, PC
TIMIANI              GEORGE                NY         11027002         WEITZ & LUXENBERG, PC                                TOBEY                ROBERT                NY         19021610         WEITZ & LUXENBERG, PC
TIMIANI              ROSEANN               NY         11027002         WEITZ & LUXENBERG, PC                                TOBIAS               BETTY                 NY         10871600         WEITZ & LUXENBERG, PC
TIMM                 GARY A                NY         19003912         WEITZ & LUXENBERG, PC                                TOBIAS               GLADYS                NY         12693502         WEITZ & LUXENBERG, PC
TIMM                 JOHNETTE              NY         19003912         WEITZ & LUXENBERG, PC                                TOBIAS               GLADYS                NY         10416003         WEITZ & LUXENBERG, PC
TIMMERMAN            LOUIS W               NY         99105401         WEITZ & LUXENBERG, PC                                TOBIAS               HOWARD F              NY         12693502         WEITZ & LUXENBERG, PC
TIMMERMAN            PAULINE               NY         99105401         WEITZ & LUXENBERG, PC                                TOBIAS               JAMES WILLIAM         NY         12693502         WEITZ & LUXENBERG, PC
TIMMES               JANET                 NY         11327802         WEITZ & LUXENBERG, PC                                TOBIAS               JAMES WILLIAM         NY         10416003         WEITZ & LUXENBERG, PC
TIMMES               JANET                 NY         11946602         WEITZ & LUXENBERG, PC                                TOBIAS               JOAN                  NY         12693502         WEITZ & LUXENBERG, PC
TIMMES               WILLIAM H             NY         11327802         WEITZ & LUXENBERG, PC                                TOBIAS               JOAN                  NY         10416003         WEITZ & LUXENBERG, PC
TIMMES               WILLIAM H             NY         11946602         WEITZ & LUXENBERG, PC                                TOBIAS               JOSEPH C              NY         10871600         WEITZ & LUXENBERG, PC
TIMMONS              LISA                  NY         10358600         WEITZ & LUXENBERG, PC                                TOBIAS               MARGARET              NY         10716902         WEITZ & LUXENBERG, PC
TIMMS                MICHAEL J             NY         10871900         WEITZ & LUXENBERG, PC                                TOBIN                CHARLES               NY         10386202         WEITZ & LUXENBERG, PC
TIMPERIO             DANIEL                NY         12668202         WEITZ & LUXENBERG, PC                                TOBIN                DIANA                 NY         8010382018       WEITZ & LUXENBERG, PC
TIMPERIO             INGEBORG              NY         12668202         WEITZ & LUXENBERG, PC                                TOBIN                ELAINE                NY         10861899         WEITZ & LUXENBERG, PC
TINGO                HARRIET               NY         01111228         WEITZ & LUXENBERG, PC                                TOBIN                JUDITH                NY         10386202         WEITZ & LUXENBERG, PC
TINGO                PATSY                 NY         01111228         WEITZ & LUXENBERG, PC                                TOBIN                MARY                  NY         01111219         WEITZ & LUXENBERG, PC
TINISKI              JAMES M               NY         12039101         WEITZ & LUXENBERG, PC                                TOBIN                NELSON J              NY         8010382018       WEITZ & LUXENBERG, PC
TINISKI              NOEMI                 NY         12039101         WEITZ & LUXENBERG, PC                                TOBIN                RICHARD F             NY         01111219         WEITZ & LUXENBERG, PC
TINKHAM              CYNTHIA ANN           NY         99105400         WEITZ & LUXENBERG, PC                                TOBIN                THOMAS P              NY         11685506         WEITZ & LUXENBERG, PC
TINKHAM              DAVID JOHN            NY         99105400         WEITZ & LUXENBERG, PC                                TOBIN                WILLIAM               NY         10861899         WEITZ & LUXENBERG, PC
TINKLE               CLARENCE RAY          NY         CV025685         WEITZ & LUXENBERG, PC                                TOBISH               DOLORES               NY         10871500         WEITZ & LUXENBERG, PC
TINKLEPAUGH          ROBERT W              NY         10722002         WEITZ & LUXENBERG, PC                                TOBISH               WILLIAM J             NY         10871500         WEITZ & LUXENBERG, PC
TINKLEPAUGH          ROBERT W              NY         11342002         WEITZ & LUXENBERG, PC                                TOBOLA               DALE R                NY         10722202         WEITZ & LUXENBERG, PC
TINSON               AUGUST THEODORE       NY         1900412017       WEITZ & LUXENBERG, PC                                TOBOLA               DALE R                NY         11361302         WEITZ & LUXENBERG, PC
TINSON               DOROTHY BEAN          NY         1900412017       WEITZ & LUXENBERG, PC                                TOBOLA               IRENE                 NY         10722202         WEITZ & LUXENBERG, PC
TIPPENS              ELAINE C              NY         10571702         WEITZ & LUXENBERG, PC                                TOBOLA               IRENE                 NY         11361302         WEITZ & LUXENBERG, PC
TIPPENS              ROBERT E              NY         10571702         WEITZ & LUXENBERG, PC                                TODARO               IGNATIUS              NY         12043001         WEITZ & LUXENBERG, PC
TIPPING              DIANA                 NY         10871700         WEITZ & LUXENBERG, PC                                TODARO               PALMA                 NY         12168600         WEITZ & LUXENBERG, PC
TIPPING              JAMES R               NY         10871700         WEITZ & LUXENBERG, PC                                TODD                 JACKIE ANN            NY         01CIV3900        WEITZ & LUXENBERG, PC
TIPTON               BOBBY                 NY         06255            WEITZ & LUXENBERG, PC                                TODD                 MICHAEL S             NY         10871400         WEITZ & LUXENBERG, PC
TIPTON               COY                   NY         01CIV3900        WEITZ & LUXENBERG, PC                                TODD                 SHIRLEY ANNE          NY         10871400         WEITZ & LUXENBERG, PC
TIPTON               COY JAMES             NY         01CIV3900        WEITZ & LUXENBERG, PC                                TODD                 THOMAS                NY         10716902         WEITZ & LUXENBERG, PC
TIPTON               THELMA                NY         01CIV3900        WEITZ & LUXENBERG, PC                                TODD                 THOMAS K              NY         01CIV3900        WEITZ & LUXENBERG, PC
TIPTON               THELMA INEZ           NY         01CIV3900        WEITZ & LUXENBERG, PC                                TODD                 WILLIAM J             NY         10732001         WEITZ & LUXENBERG, PC
TIRADO               DOLORES               NY         01111235         WEITZ & LUXENBERG, PC                                TOFANI               EDITH                 NY         10733401         WEITZ & LUXENBERG, PC
TIRADO               DOLORES               NY         11839801         WEITZ & LUXENBERG, PC                                TOFANI               RICHARD J             NY         10733401         WEITZ & LUXENBERG, PC
TIRADO               LIGIA                 NY         1900492019       WEITZ & LUXENBERG, PC                                TOLAND               DEBOROAH LYNN         NY         99102913         WEITZ & LUXENBERG, PC
TIRADO               MARIANO               NY         01111235         WEITZ & LUXENBERG, PC                                TOLBERT              LEE                   NY         10428700         WEITZ & LUXENBERG, PC
TIRADO               MARIANO               NY         11839801         WEITZ & LUXENBERG, PC                                TOLBERT              ROOSEVELT             NY         01CIV3900        WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1081
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 416 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TOLHURST             JULIA                 NY         10740402         WEITZ & LUXENBERG, PC                                TONER                SHAUN ANTHONY         NY         99105450         WEITZ & LUXENBERG, PC
TOLHURST             JULIA                 NY         11429402         WEITZ & LUXENBERG, PC                                TONEY                ALBERT G              NY         CV025685         WEITZ & LUXENBERG, PC
TOLL                 DEWEY H               NY         CV025685         WEITZ & LUXENBERG, PC                                TONEY                EATHEA                NY         1901942013       WEITZ & LUXENBERG, PC
TOLL                 MARY                  NY         CV025685         WEITZ & LUXENBERG, PC                                TONEY                ENOCH                 NY         CV025685         WEITZ & LUXENBERG, PC
TOLLAR               HELEN                 NY         02120709         WEITZ & LUXENBERG, PC                                TONEY                GERTRUDE              NY         CV025685         WEITZ & LUXENBERG, PC
TOLLAR               PAUL G                NY         02120709         WEITZ & LUXENBERG, PC                                TONEY                WILLIAM               NY         1901942013       WEITZ & LUXENBERG, PC
TOLLAR               PAUL G                NY         12761002         WEITZ & LUXENBERG, PC                                TONGE                MARILYN               NY         12193797         WEITZ & LUXENBERG, PC
TOLLAR               THOMAS                NY         12761002         WEITZ & LUXENBERG, PC                                TONICK               HELENE                NY         02106709         WEITZ & LUXENBERG, PC
TOLLEFSEN            ALVENA                NY         99108448         WEITZ & LUXENBERG, PC                                TONICK               MURRAY                NY         02106709         WEITZ & LUXENBERG, PC
TOLLEFSEN            GEORGE M              NY         99108448         WEITZ & LUXENBERG, PC                                TOOGOOD              CATHERINE             NY         12039501         WEITZ & LUXENBERG, PC
TOLLESON             MARY                  NY         CV022766         WEITZ & LUXENBERG, PC                                TOOGOOD              JAMES                 NY         12039501         WEITZ & LUXENBERG, PC
TOLLESON             RONALD D              NY         CV022766         WEITZ & LUXENBERG, PC                                TOOKER               HELEN M               NY         11221402         WEITZ & LUXENBERG, PC
TOLLETTE             GERALD                NY         CV025685         WEITZ & LUXENBERG, PC                                TOOKER               JOHN I                NY         11221402         WEITZ & LUXENBERG, PC
TOLLETTE             SOPHRONIA             NY         CV025685         WEITZ & LUXENBERG, PC                                TOOKER               RICHARD               NY         12444102         WEITZ & LUXENBERG, PC
TOLLEY               EARL A                NY         02113565         WEITZ & LUXENBERG, PC                                TOOLE                BOBBY L               NY         01CIV3900        WEITZ & LUXENBERG, PC
TOLLEY               EARL A                NY         12734102         WEITZ & LUXENBERG, PC                                TOOLE                MARY                  NY         01CIV3900        WEITZ & LUXENBERG, PC
TOLLEY               LINDA                 NY         02113565         WEITZ & LUXENBERG, PC                                TOOLS                MARSHEL               NY         99105448         WEITZ & LUXENBERG, PC
TOLLEY               LINDA A               NY         12734102         WEITZ & LUXENBERG, PC                                TOOLS                MATTIE L              NY         99105448         WEITZ & LUXENBERG, PC
TOLOMEO              GORDON                NY         10890100         WEITZ & LUXENBERG, PC                                TOOMEY               AUDREY                NY         10587502         WEITZ & LUXENBERG, PC
TOLOMEO              SHIRLEY ANNE          NY         10890100         WEITZ & LUXENBERG, PC                                TOOMEY               CAROLE                NY         10587102         WEITZ & LUXENBERG, PC
TOLTON               WILLIAM               NY         10890000         WEITZ & LUXENBERG, PC                                TOOMEY               DANIEL J              NY         6116012017       WEITZ & LUXENBERG, PC
TOMAKA               EDWARD                NY         19010309         WEITZ & LUXENBERG, PC                                TOOMEY               FREDERICK A           NY         10587102         WEITZ & LUXENBERG, PC
TOMAKA               JOHN J                NY         10571702         WEITZ & LUXENBERG, PC                                TOOMEY               HELAINE               NY         6116012017       WEITZ & LUXENBERG, PC
TOMAKA               NORMA                 NY         10571702         WEITZ & LUXENBERG, PC                                TOOMEY               RONALD                NY         10587502         WEITZ & LUXENBERG, PC
TOMAN                ELIZABETH A           NY         10545599         WEITZ & LUXENBERG, PC                                TOPOREK              LOUIS S               NY         11501300         WEITZ & LUXENBERG, PC
TOMAN                RICHARD J             NY         10545599         WEITZ & LUXENBERG, PC                                TOPOREK              MARY LOU              NY         11501300         WEITZ & LUXENBERG, PC
TOMASCIK             ANDREW                NY         99105454         WEITZ & LUXENBERG, PC                                TOPPIN               KATHLEEN              NY         10890900         WEITZ & LUXENBERG, PC
TOMASCIK             ANDREW                NY         10871101         WEITZ & LUXENBERG, PC                                TOPPIN               MICHAEL E             NY         10890900         WEITZ & LUXENBERG, PC
TOMASCIK             DARLENE               NY         99105454         WEITZ & LUXENBERG, PC                                TORCASIO             SAMUEL A              NY         10716802         WEITZ & LUXENBERG, PC
TOMASCIK             DARLENE               NY         10871101         WEITZ & LUXENBERG, PC                                TORCASIO             VIOLA                 NY         10716802         WEITZ & LUXENBERG, PC
TOMASELLO            ELAINE                NY         11786500         WEITZ & LUXENBERG, PC                                TORCELLO             RALPH L               NY         10732901         WEITZ & LUXENBERG, PC
TOMASELLO            JAMES J               NY         02105718         WEITZ & LUXENBERG, PC                                TORCHIANO            MICHAEL               NY         10890800         WEITZ & LUXENBERG, PC
TOMASELLO            JOHN S                NY         11786500         WEITZ & LUXENBERG, PC                                TORCHIANO            NORA                  NY         10890800         WEITZ & LUXENBERG, PC
TOMASELLO            SAL                   NY         02105718         WEITZ & LUXENBERG, PC                                TORDELLA             DENISE U              NY         11318500         WEITZ & LUXENBERG, PC
TOMASELLO            THERESA               NY         02105718         WEITZ & LUXENBERG, PC                                TORELLA              ARMANDO               NY         10890700         WEITZ & LUXENBERG, PC
TOMASKI              JANICE                NY         12356500         WEITZ & LUXENBERG, PC                                TORELLA              DINA                  NY         10890700         WEITZ & LUXENBERG, PC
TOMASKI              JOSEPH                NY         12356500         WEITZ & LUXENBERG, PC                                TORINO               ALBERT                NY         11556703         WEITZ & LUXENBERG, PC
TOMASZEWSKI          ALEX PETER            NY         02105713         WEITZ & LUXENBERG, PC                                TORINO               JOAN                  NY         11556703         WEITZ & LUXENBERG, PC
TOMASZEWSKI          DANIEL E              NY         10587602         WEITZ & LUXENBERG, PC                                TORIO                ANTHONY W             NY         1901502019       WEITZ & LUXENBERG, PC
TOMASZEWSKI          GLORIA                NY         10587602         WEITZ & LUXENBERG, PC                                TORIO                ROSEMARY              NY         1901502019       WEITZ & LUXENBERG, PC
TOMASZEWSKI          IRENE                 NY         99105452         WEITZ & LUXENBERG, PC                                TORMEY               EDWARD                NY         1904382014       WEITZ & LUXENBERG, PC
TOMASZEWSKI          IRENE R               NY         10545399         WEITZ & LUXENBERG, PC                                TORMEY               KEVIN                 NY         1904382014       WEITZ & LUXENBERG, PC
TOMASZEWSKI          JOHN A                NY         10545399         WEITZ & LUXENBERG, PC                                TORNABENE            JOHN J                NY         10891400         WEITZ & LUXENBERG, PC
TOMASZEWSKI          STANLEY               NY         99105452         WEITZ & LUXENBERG, PC                                TORNABENE            VIRGINIA              NY         10891400         WEITZ & LUXENBERG, PC
TOMASZEWSKI          THERESA               NY         02105713         WEITZ & LUXENBERG, PC                                TORRE                ANNE                  NY         12039201         WEITZ & LUXENBERG, PC
TOMBASCO             FRANK                 NY         10118805         WEITZ & LUXENBERG, PC                                TORRE                FRANCIS M             NY         12039201         WEITZ & LUXENBERG, PC
TOMBASCO             THERESA               NY         10118805         WEITZ & LUXENBERG, PC                                TORREGEGGIANI        MARA                  NY         1903092013       WEITZ & LUXENBERG, PC
TOMCZAK              ALEXANDER J           NY         10571702         WEITZ & LUXENBERG, PC                                TORREGGIANI          LAWRENCE              NY         1903092013       WEITZ & LUXENBERG, PC
TOMCZAK              ALEXANDER J           NY         11150002         WEITZ & LUXENBERG, PC                                TORRENCE             BARBARA J             NY         10740202         WEITZ & LUXENBERG, PC
TOMCZAK              CARMELA F             NY         10571702         WEITZ & LUXENBERG, PC                                TORRENCE             GWENDOLYN E           NY         11131502         WEITZ & LUXENBERG, PC
TOMCZAK              CARMELA F             NY         11150002         WEITZ & LUXENBERG, PC                                TORRENCE             JAMES N               NY         10740202         WEITZ & LUXENBERG, PC
TOMECK               ELIZABETH             NY         99108600         WEITZ & LUXENBERG, PC                                TORRENT              BENJAMIN              NY         10891300         WEITZ & LUXENBERG, PC
TOMECK               PAUL                  NY         99108600         WEITZ & LUXENBERG, PC                                TORRENT              JOAN                  NY         10891300         WEITZ & LUXENBERG, PC
TOMECK               PAUL J                NY         99108600         WEITZ & LUXENBERG, PC                                TORRES               ANGEL                 NY         12039301         WEITZ & LUXENBERG, PC
TOMIZZI              JOSEPH                NY         99105451         WEITZ & LUXENBERG, PC                                TORRES               CARMEN                NY         19030509         WEITZ & LUXENBERG, PC
TOMIZZI              ROSE MARIE            NY         99105451         WEITZ & LUXENBERG, PC                                TORRES               ELADIA                NY         1903932017       WEITZ & LUXENBERG, PC
TOMKIEWICZ           LEO                   NY         10889900         WEITZ & LUXENBERG, PC                                TORRES               ESTHER                NY         12043101         WEITZ & LUXENBERG, PC
TOMKIEWICZ           PATRICIA              NY         10889900         WEITZ & LUXENBERG, PC                                TORRES               RAMON                 NY         1903932017       WEITZ & LUXENBERG, PC
TOMKINS              KAREN L               NY         02120615         WEITZ & LUXENBERG, PC                                TORRES               RAYMOND               NY         12043101         WEITZ & LUXENBERG, PC
TOMKINS              KAREN L               NY         12758302         WEITZ & LUXENBERG, PC                                TORRES               ULISES                NY         02107005         WEITZ & LUXENBERG, PC
TOMLINS              BARBARA               NY         10733101         WEITZ & LUXENBERG, PC                                TORTORA              ANDREW                NY         10151505         WEITZ & LUXENBERG, PC
TOMLINS              RONALD L              NY         10733101         WEITZ & LUXENBERG, PC                                TORTORA              BERNARD               NY         10891700         WEITZ & LUXENBERG, PC
TOMLINSON            DIANA M               NY         10715100         WEITZ & LUXENBERG, PC                                TORTORA              CHRISTINE             NY         10891700         WEITZ & LUXENBERG, PC
TOMLINSON            JOHN E                NY         01111235         WEITZ & LUXENBERG, PC                                TORTORA              MARION                NY         10151505         WEITZ & LUXENBERG, PC
TOMLINSON            JOHN E                NY         11831601         WEITZ & LUXENBERG, PC                                TORTORICI            MARIA                 NY         10008703         WEITZ & LUXENBERG, PC
TOMLINSON            LYLE                  NY         01111230         WEITZ & LUXENBERG, PC                                TORTORICI            PETER                 NY         10008703         WEITZ & LUXENBERG, PC
TOMLINSON            THOMAS                NY         10715100         WEITZ & LUXENBERG, PC                                TORTURO              MICHAEL J             NY         02107005         WEITZ & LUXENBERG, PC
TOMMONLINO           JOSEPH                NY         10733001         WEITZ & LUXENBERG, PC                                TORTURO              MICHAEL J             NY         11626802         WEITZ & LUXENBERG, PC
TOMPKINS             ANDREA                NY         1901542016       WEITZ & LUXENBERG, PC                                TORTURO              PHYLLIS               NY         02107005         WEITZ & LUXENBERG, PC
TOMPKINS             NORMAN R              NY         1901542016       WEITZ & LUXENBERG, PC                                TORTURO              PHYLLIS               NY         11626802         WEITZ & LUXENBERG, PC
TONER                INGE                  NY         99105450         WEITZ & LUXENBERG, PC                                TOSCANI              FRANK E               NY         1900862018       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1082
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 417 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TOSCANI              JANE                  NY         1900862018       WEITZ & LUXENBERG, PC                                TRALONGO             MICHAEL               NY         10892400         WEITZ & LUXENBERG, PC
TOSCANI              LARRY                 NY         12043201         WEITZ & LUXENBERG, PC                                TRAMANTANO           JOSEPH                NY         11966101         WEITZ & LUXENBERG, PC
TOSCANI              LARRY                 NY         10107202         WEITZ & LUXENBERG, PC                                TRAMANTANO           JOSEPH                NY         01111220         WEITZ & LUXENBERG, PC
TOSCANI              PATRICIA              NY         1901272019       WEITZ & LUXENBERG, PC                                TRAMANTANO           LILLIAN               NY         11966101         WEITZ & LUXENBERG, PC
TOSCANI              PATRICIA              NY         12043201         WEITZ & LUXENBERG, PC                                TRAMANTANO           LILLIAN               NY         01111220         WEITZ & LUXENBERG, PC
TOSCANI              PATRICIA              NY         10107202         WEITZ & LUXENBERG, PC                                TRAMEL               ELLEN                 NY         610201           WEITZ & LUXENBERG, PC
TOSCANI              ROBERT                NY         1901272019       WEITZ & LUXENBERG, PC                                TRAMEL               TJ                    NY         610201           WEITZ & LUXENBERG, PC
TOSTANOSKI           REGINALD W            NY         10722202         WEITZ & LUXENBERG, PC                                TRAMPOSCH            FRANK JOHN            NY         10536101         WEITZ & LUXENBERG, PC
TOTA                 LOUIS M               NY         01111235         WEITZ & LUXENBERG, PC                                TRAMPOSCH            JOSEPHINE             NY         10536101         WEITZ & LUXENBERG, PC
TOTA                 MARIE                 NY         01111235         WEITZ & LUXENBERG, PC                                TRANI                GERALDINE             NY         12039801         WEITZ & LUXENBERG, PC
TOTARO               DOLORES               NY         10680702         WEITZ & LUXENBERG, PC                                TRANI                GERALDINE             NY         10479402         WEITZ & LUXENBERG, PC
TOTARO               JAMES N               NY         02122687         WEITZ & LUXENBERG, PC                                TRANI                PASQUALE T            NY         12039801         WEITZ & LUXENBERG, PC
TOTARO               JOAN M                NY         02122687         WEITZ & LUXENBERG, PC                                TRANI                PASQUALE T            NY         10479402         WEITZ & LUXENBERG, PC
TOTARO               VINCENT               NY         10680702         WEITZ & LUXENBERG, PC                                TRANI                SALVATORE             NY         12039801         WEITZ & LUXENBERG, PC
TOTE                 JOHN JR               NY         99105447         WEITZ & LUXENBERG, PC                                TRANI                SALVATORE             NY         10479402         WEITZ & LUXENBERG, PC
TOTE                 MARY ANN              NY         99105447         WEITZ & LUXENBERG, PC                                TRANOTTI             KATHERINE M           NY         10817706         WEITZ & LUXENBERG, PC
TOTH                 CHARLES S             NY         12043301         WEITZ & LUXENBERG, PC                                TRAPASSO             RALPH                 NY         10892300         WEITZ & LUXENBERG, PC
TOTH                 ETHEL                 NY         12043301         WEITZ & LUXENBERG, PC                                TRAPP                BEVERLY               CA         114CV264682      WEITZ & LUXENBERG, PC
TOTINO               CLEMENTINA            NY         02107004         WEITZ & LUXENBERG, PC                                TRAPP                BRYAN                 CA         114CV264682      WEITZ & LUXENBERG, PC
TOTINO               GIUSEPPE              NY         02107004         WEITZ & LUXENBERG, PC                                TRAPP                DEAN WENDEL           CA         114CV264682      WEITZ & LUXENBERG, PC
TOTTEN               FRANK                 NY         01111224         WEITZ & LUXENBERG, PC                                TRAPP                GARY                  CA         114CV264682      WEITZ & LUXENBERG, PC
TOTTEN               PATTY                 NY         01111224         WEITZ & LUXENBERG, PC                                TRAPP                KEVIN                 CA         114CV264682      WEITZ & LUXENBERG, PC
TOULMIN              CALVIN A              NY         10862699         WEITZ & LUXENBERG, PC                                TRAPPEN              JUTTA                 NY         11872701         WEITZ & LUXENBERG, PC
TOULMIN              CAROL                 NY         10862699         WEITZ & LUXENBERG, PC                                TRAPPEN              JUTTA                 NY         01111233         WEITZ & LUXENBERG, PC
TOURVILLE            RICHARD               NY         10734601         WEITZ & LUXENBERG, PC                                TRAPPEN              RONALD W              NY         11872701         WEITZ & LUXENBERG, PC
TOWART               RONALD                NY         10397307         WEITZ & LUXENBERG, PC                                TRAPPEN              RONALD W              NY         01111233         WEITZ & LUXENBERG, PC
TOWELL               FRANCIS J             NY         12100401         WEITZ & LUXENBERG, PC                                TRAUGOTT             THOMAS                NY         01111223         WEITZ & LUXENBERG, PC
TOWELL               FRANCIS J             NY         10602102         WEITZ & LUXENBERG, PC                                TRAVAGLIA            CHARLOTTE             NY         CV012745         WEITZ & LUXENBERG, PC
TOWELL               JEAN B                NY         12100401         WEITZ & LUXENBERG, PC                                TRAVAGLIA            MICHAEL P             NY         CV012745         WEITZ & LUXENBERG, PC
TOWELL               JEAN B                NY         10602102         WEITZ & LUXENBERG, PC                                TRAVER               GEORGE L              NY         10871101         WEITZ & LUXENBERG, PC
TOWLE                CLIFFORD J            NY         11749905         WEITZ & LUXENBERG, PC                                TRAVER               KATHY P               NY         10871101         WEITZ & LUXENBERG, PC
TOWLE                DORIS                 NY         11749905         WEITZ & LUXENBERG, PC                                TRAVERSA             MARTIN                NY         1901632016       WEITZ & LUXENBERG, PC
TOWLER               LAWRENCE M            NY         10891600         WEITZ & LUXENBERG, PC                                TRAVIS               DONNA L               NY         10571402         WEITZ & LUXENBERG, PC
TOWNES               SARAH                 NY         10587402         WEITZ & LUXENBERG, PC                                TRAVIS               DONNA L               NY         11182902         WEITZ & LUXENBERG, PC
TOWNES               SARAH                 NY         10990502         WEITZ & LUXENBERG, PC                                TRAVIS               ELANOR                NY         1904072012       WEITZ & LUXENBERG, PC
TOWNS                CHARLES               NY         10734501         WEITZ & LUXENBERG, PC                                TRAVIS               FLOYD T               NY         10734401         WEITZ & LUXENBERG, PC
TOWNS                CLINTON MERLE         NY         12014301         WEITZ & LUXENBERG, PC                                TRAVIS               HELEN                 NY         10722102         WEITZ & LUXENBERG, PC
TOWNS                WANDA                 NY         12014301         WEITZ & LUXENBERG, PC                                TRAVIS               HOWARD                NY         10722102         WEITZ & LUXENBERG, PC
TOWNSEND             DENISE                NY         11123101         WEITZ & LUXENBERG, PC                                TRAVIS               JOHN D                NY         1904072012       WEITZ & LUXENBERG, PC
TOWNSEND             DENISE                NY         12057801         WEITZ & LUXENBERG, PC                                TRAVIS               MARION                NY         10734401         WEITZ & LUXENBERG, PC
TOWNSEND             ETHEL LEE             NY         01CIV3900        WEITZ & LUXENBERG, PC                                TRAVIS               PAULINE M             NY         10835900         WEITZ & LUXENBERG, PC
TOWNSEND             GARY D                NY         12693702         WEITZ & LUXENBERG, PC                                TRAVIS               ROBERT L              NY         10835900         WEITZ & LUXENBERG, PC
TOWNSEND             LORRAINE A            NY         10538602         WEITZ & LUXENBERG, PC                                TRAYER               FRANKLIN D            NY         19022011         WEITZ & LUXENBERG, PC
TOWNSEND             SANDY B               NY         11123101         WEITZ & LUXENBERG, PC                                TRAYER               MARY                  NY         19022011         WEITZ & LUXENBERG, PC
TOWNSEND             SANDY B               NY         12057801         WEITZ & LUXENBERG, PC                                TRAYLOR              CHARLES               NY         19000112         WEITZ & LUXENBERG, PC
TOWNSLEY             PAUL                  NY         12346199         WEITZ & LUXENBERG, PC                                TRAYLOR              CONSTANCE A           NY         19000112         WEITZ & LUXENBERG, PC
TRACE                JONATHAN              NY         11594902         WEITZ & LUXENBERG, PC                                TRAYLOR              RONALD GENE           NY         CV025685         WEITZ & LUXENBERG, PC
TRACEY               BEVERLY               NY         10891500         WEITZ & LUXENBERG, PC                                TRAYLOR              WILLIAM A             NY         1901242014       WEITZ & LUXENBERG, PC
TRACEY               FRANCIS F             NY         10891500         WEITZ & LUXENBERG, PC                                TREACY               JAMES V               NY         12038901         WEITZ & LUXENBERG, PC
TRACY                ADA                   NY         12039801         WEITZ & LUXENBERG, PC                                TREACY               REGINA                NY         12038901         WEITZ & LUXENBERG, PC
TRACY                ADA                   NY         10479502         WEITZ & LUXENBERG, PC                                TREADWAY             JAMES S               NY         10696402         WEITZ & LUXENBERG, PC
TRACY                ARTHUR                NY         1900842011       WEITZ & LUXENBERG, PC                                TREANOR              ADRIAN                NY         11510600         WEITZ & LUXENBERG, PC
TRACY                BERNADETTE            NY         1900842011       WEITZ & LUXENBERG, PC                                TREANOR              MARY                  NY         11510600         WEITZ & LUXENBERG, PC
TRACY                EARL J                NY         12788802         WEITZ & LUXENBERG, PC                                TREECE               JIMMY                 NY         CV013921         WEITZ & LUXENBERG, PC
TRACY                JOSEPH                NY         01111219         WEITZ & LUXENBERG, PC                                TRELA                ALBINA                NY         12693402         WEITZ & LUXENBERG, PC
TRACY                JULIA                 NY         19032709         WEITZ & LUXENBERG, PC                                TRELA                MICHAEL J             NY         12693402         WEITZ & LUXENBERG, PC
TRACY                LAWRENCE M            NY         12039801         WEITZ & LUXENBERG, PC                                TRELLE               FRANK                 NY         10860799         WEITZ & LUXENBERG, PC
TRACY                LAWRENCE M            NY         10479502         WEITZ & LUXENBERG, PC                                TREMBATH             DOLORES               NY         02105718         WEITZ & LUXENBERG, PC
TRACY                MILEN J               NY         19032709         WEITZ & LUXENBERG, PC                                TREMBATH             JOSEPH P              NY         02105718         WEITZ & LUXENBERG, PC
TRAHEY               GREGORY               NY         01111227         WEITZ & LUXENBERG, PC                                TREMBLAY             CLIFFORD              NY         10516902         WEITZ & LUXENBERG, PC
TRAINA               JOSEPHINE A           NY         12241001         WEITZ & LUXENBERG, PC                                TREMBLAY             GERARD A              NY         11327902         WEITZ & LUXENBERG, PC
TRAINA               JOSEPHINE A           NY         01111226         WEITZ & LUXENBERG, PC                                TREMBLAY             GERARD A              NY         12091902         WEITZ & LUXENBERG, PC
TRAINA               NICK H                NY         12241001         WEITZ & LUXENBERG, PC                                TREMBLAY             IRENE M               NY         11327902         WEITZ & LUXENBERG, PC
TRAINA               NICK H                NY         01111226         WEITZ & LUXENBERG, PC                                TREMBLAY             IRENE M               NY         12091902         WEITZ & LUXENBERG, PC
TRAINA               ROBERT E              NY         12241001         WEITZ & LUXENBERG, PC                                TREMBLEY             RICHARD A             NY         10700002         WEITZ & LUXENBERG, PC
TRAINA               ROBERT E              NY         01111226         WEITZ & LUXENBERG, PC                                TREMPY               PATRICIA ANN          NY         10715200         WEITZ & LUXENBERG, PC
TRAINER              BARBARA A. SHARLOW    NY         10670402         WEITZ & LUXENBERG, PC                                TREMPY               ROY III               NY         10715200         WEITZ & LUXENBERG, PC
TRAINER              WILLIAM H             NY         10670402         WEITZ & LUXENBERG, PC                                TRENCA               JOSEPH A              NY         02107006         WEITZ & LUXENBERG, PC
TRAINOR              JAMES W               NY         CV025207         WEITZ & LUXENBERG, PC                                TRENCA               MARY ANN              NY         02107006         WEITZ & LUXENBERG, PC
TRAINOR              JEAN                  NY         CV025207         WEITZ & LUXENBERG, PC                                TRENGO               JOSEPH                NY         10496302         WEITZ & LUXENBERG, PC
TRALONGO             LILLIAN               NY         10892400         WEITZ & LUXENBERG, PC                                TRENGO               MARY C                NY         10496302         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1083
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 418 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TRENT                CHERYL                NY         1901282015       WEITZ & LUXENBERG, PC                                TROWBRIDGE           RITA J                NY         99115832         WEITZ & LUXENBERG, PC
TRENT                FITZROY               NY         1901282015       WEITZ & LUXENBERG, PC                                TROWBRIDGE           ROBERT GUY            NY         99115832         WEITZ & LUXENBERG, PC
TRENTINI             RICHARD               NY         02106690         WEITZ & LUXENBERG, PC                                TROZENSKI            EDWARD F              NY         99105397         WEITZ & LUXENBERG, PC
TREVETT              ROGER                 NY         01107343         WEITZ & LUXENBERG, PC                                TROZENSKI            MARGARET              NY         99105397         WEITZ & LUXENBERG, PC
TREVETT              SANDRA JEAN           NY         01107343         WEITZ & LUXENBERG, PC                                TRUAX                ALAN R                NY         10734101         WEITZ & LUXENBERG, PC
TRIANNI              MADELINE              NY         10715400         WEITZ & LUXENBERG, PC                                TRUAX                CHERYL                NY         99105395         WEITZ & LUXENBERG, PC
TRIANNI              SALVATORE J           NY         10715400         WEITZ & LUXENBERG, PC                                TRUAX                IDA MAE               NY         10710002         WEITZ & LUXENBERG, PC
TRIERWEILER          JOSEPH G              NY         1900502017       WEITZ & LUXENBERG, PC                                TRUAX                IDA MAE               NY         12683002         WEITZ & LUXENBERG, PC
TRIERWEILER          VIRGINIA              NY         1900502017       WEITZ & LUXENBERG, PC                                TRUAX                IDAMAE                NY         10710002         WEITZ & LUXENBERG, PC
TRIFILO              CARMEN W              NY         10715500         WEITZ & LUXENBERG, PC                                TRUAX                IDAMAE                NY         12683002         WEITZ & LUXENBERG, PC
TRIFILO              MARIE                 NY         10715500         WEITZ & LUXENBERG, PC                                TRUAX                KENNETH               NY         99105395         WEITZ & LUXENBERG, PC
TRIMBOLI             JOSEPH                NY         10846899         WEITZ & LUXENBERG, PC                                TRUAX                LILLIAN               NY         02106690         WEITZ & LUXENBERG, PC
TRIMBOLI             MARY ANN              NY         10846899         WEITZ & LUXENBERG, PC                                TRUAX                PAUL                  NY         02106690         WEITZ & LUXENBERG, PC
TRIMM                BRENDA                NY         10696302         WEITZ & LUXENBERG, PC                                TRUAX                ROBERT A              NY         10734101         WEITZ & LUXENBERG, PC
TRIMM                JOHNNY R              DE         N17C10250ASB     WEITZ & LUXENBERG, PC                                TRUAX                ROBERT E              NY         10710002         WEITZ & LUXENBERG, PC
TRIMM                PHILLIP RAYMOND       NY         10696302         WEITZ & LUXENBERG, PC                                TRUAX                ROBERT E              NY         12683002         WEITZ & LUXENBERG, PC
TRINCILLA            MARIE                 NY         10893700         WEITZ & LUXENBERG, PC                                TRUAX                THELMA                NY         10734101         WEITZ & LUXENBERG, PC
TRINCILLA            SALVATORE             NY         10893700         WEITZ & LUXENBERG, PC                                TRUAX                THOMAS                NY         12668602         WEITZ & LUXENBERG, PC
TRINCONE             MARIE                 NY         10848799         WEITZ & LUXENBERG, PC                                TRUBIA               LOUIS                 NY         12316302         WEITZ & LUXENBERG, PC
TRINCONE             RALPH D               NY         10848799         WEITZ & LUXENBERG, PC                                TRUBIA               MARIE                 NY         12316302         WEITZ & LUXENBERG, PC
TRINKA               VICTOR                NY         11159303         WEITZ & LUXENBERG, PC                                TRUDDEN              BRYAN P               NY         1904032018       WEITZ & LUXENBERG, PC
TRIPP                DOROTHY J             NY         10587102         WEITZ & LUXENBERG, PC                                TRUESDELL            DONALD                NY         01108779         WEITZ & LUXENBERG, PC
TRIPP                DOROTHY J             NY         10897702         WEITZ & LUXENBERG, PC                                TRUESDELL            EVELYN                NY         01108779         WEITZ & LUXENBERG, PC
TRIPP                ELEANOR               NY         10696402         WEITZ & LUXENBERG, PC                                TRUEX                LEWIS L               NY         1903832015       WEITZ & LUXENBERG, PC
TRIPP                RAYMOND F             NY         10696402         WEITZ & LUXENBERG, PC                                TRUEX                MICHELLE L            NY         1903832015       WEITZ & LUXENBERG, PC
TRIPPANY             BRIAN D               NY         10680602         WEITZ & LUXENBERG, PC                                TRUGLIO              LINDA                 NY         1902812019       WEITZ & LUXENBERG, PC
TRIPPANY             KEVIN P               NY         02106707         WEITZ & LUXENBERG, PC                                TRUGLIO              VICTOR W              NY         1902812019       WEITZ & LUXENBERG, PC
TRIPPANY             KIMBERLY A            NY         02106707         WEITZ & LUXENBERG, PC                                TRUJILLO             JOSEPH                NY         12039701         WEITZ & LUXENBERG, PC
TRITTO               ANGELO                NY         01111225         WEITZ & LUXENBERG, PC                                TRUJILLO             MIRTA                 NY         12039701         WEITZ & LUXENBERG, PC
TRITTO               ANGELO                NY         11810701         WEITZ & LUXENBERG, PC                                TRUMP                ANABELL               NY         19026909         WEITZ & LUXENBERG, PC
TRITTO               OLGA                  NY         01111225         WEITZ & LUXENBERG, PC                                TRUMP                JOHN WALTER           NY         19026909         WEITZ & LUXENBERG, PC
TRITTO               OLGA                  NY         11810701         WEITZ & LUXENBERG, PC                                TRUNDY               AUDREY A              NY         12039601         WEITZ & LUXENBERG, PC
TRITTO               STEVEN                NY         01111225         WEITZ & LUXENBERG, PC                                TRUNDY               RICHARD C             NY         12039601         WEITZ & LUXENBERG, PC
TRITTO               STEVEN                NY         11810701         WEITZ & LUXENBERG, PC                                TRUXILLO             EDWIN                 NY         19006411         WEITZ & LUXENBERG, PC
TRIVERO              ANDREW V              NY         12693502         WEITZ & LUXENBERG, PC                                TRUXILLO             ELAINE                NY         19006411         WEITZ & LUXENBERG, PC
TRIVERO              JOANNE                NY         12693502         WEITZ & LUXENBERG, PC                                TRUXILLO             STEVEN                NY         19006411         WEITZ & LUXENBERG, PC
TRIVILINO            JOSEPH P              NY         10680802         WEITZ & LUXENBERG, PC                                TRYHORN              JAMES                 NY         CV014583         WEITZ & LUXENBERG, PC
TRIVILINO            KIMBERLY              NY         10680802         WEITZ & LUXENBERG, PC                                TRYON                CAROL                 NY         10733901         WEITZ & LUXENBERG, PC
TROCCHIO             JOSEPH F              NY         12668202         WEITZ & LUXENBERG, PC                                TRYON                FERRIS O              NY         1903682017       WEITZ & LUXENBERG, PC
TROCCHIO             JOSEPH F              NY         10386303         WEITZ & LUXENBERG, PC                                TRYON                JEFFREY               NY         10733901         WEITZ & LUXENBERG, PC
TROCHENSKI           CAROL                 NY         10587102         WEITZ & LUXENBERG, PC                                TRZCINSKI            PAUL J                NY         99108423         WEITZ & LUXENBERG, PC
TROCHENSKI           DAVID S               NY         10587102         WEITZ & LUXENBERG, PC                                TRZEINSKI            ROBERTA               NY         99108423         WEITZ & LUXENBERG, PC
TROGEL               CONSTANCE M           NY         10715600         WEITZ & LUXENBERG, PC                                TSAQUSSIS            EVANGELOS             NY         01111227         WEITZ & LUXENBERG, PC
TROGEL               LAWRENCE J            NY         10715600         WEITZ & LUXENBERG, PC                                TUBB                 BERNADETTE            NY         10535501         WEITZ & LUXENBERG, PC
TROIA                ANGELO                NY         01111230         WEITZ & LUXENBERG, PC                                TUBB                 RICHARD               NY         10535501         WEITZ & LUXENBERG, PC
TROIANO              MICHAEL T             NY         02113565         WEITZ & LUXENBERG, PC                                TUCCIARONE           ANTHONY P             NY         10733801         WEITZ & LUXENBERG, PC
TROILO               MACK M                NY         10545799         WEITZ & LUXENBERG, PC                                TUCCIARONE           SANDRA                NY         10733801         WEITZ & LUXENBERG, PC
TROILO               ROBERT                NY         10545799         WEITZ & LUXENBERG, PC                                TUCHOLSKI            JOSEPH A              NY         1903762017       WEITZ & LUXENBERG, PC
TROILO               ROSE                  NY         10545799         WEITZ & LUXENBERG, PC                                TUCKER               CHRISTINE             NY         02105718         WEITZ & LUXENBERG, PC
TROJANWICZ           ALBERT                NY         10023203         WEITZ & LUXENBERG, PC                                TUCKER               JULIA                 NY         10893500         WEITZ & LUXENBERG, PC
TROLIO               JOHN R                NY         99105412         WEITZ & LUXENBERG, PC                                TUCKER               PATRICK               NY         10893500         WEITZ & LUXENBERG, PC
TROMBLEY             CHESTER L             NY         99105411         WEITZ & LUXENBERG, PC                                TUCKER               PEGGY                 NY         CV018409         WEITZ & LUXENBERG, PC
TROMBLEY             CRYSTAL               NY         02113280         WEITZ & LUXENBERG, PC                                TUCKER               RE                    NY         CV018409         WEITZ & LUXENBERG, PC
TROMBLEY             CRYSTAL               NY         12007402         WEITZ & LUXENBERG, PC                                TUCKER               RICHARD B             NY         EF20191858       WEITZ & LUXENBERG, PC
TROMBLEY             LARRY J               NY         02113280         WEITZ & LUXENBERG, PC                                TUCKER               RICHARD C             NY         10716702         WEITZ & LUXENBERG, PC
TROMBLEY             LARRY J               NY         12007402         WEITZ & LUXENBERG, PC                                TUCKER               ROBERT                NY         02105718         WEITZ & LUXENBERG, PC
TROMBLEY             RAYMOND J             NY         99105410         WEITZ & LUXENBERG, PC                                TUCKER               THOMAS                NY         11027002         WEITZ & LUXENBERG, PC
TROMBLEY             REJEANNE M            NY         99105410         WEITZ & LUXENBERG, PC                                TUDISCO              NICOLETTA             NY         10871101         WEITZ & LUXENBERG, PC
TROMBLY              LINDA                 NY         99105399         WEITZ & LUXENBERG, PC                                TUDISCO              POMPEO                NY         10871101         WEITZ & LUXENBERG, PC
TROMBLY              RANDY                 NY         99105399         WEITZ & LUXENBERG, PC                                TUELL                BELLE                 NY         CV024389         WEITZ & LUXENBERG, PC
TROPEA               PETER                 NY         11083102         WEITZ & LUXENBERG, PC                                TUELL                BELLE ILENA           NY         CV025685         WEITZ & LUXENBERG, PC
TROPIANO             COSIMO                NY         10734201         WEITZ & LUXENBERG, PC                                TUELL                HUBERT                NY         CV025685         WEITZ & LUXENBERG, PC
TROPIANO             THERESA               NY         10734201         WEITZ & LUXENBERG, PC                                TUELL                HUBERT O              NY         CV024389         WEITZ & LUXENBERG, PC
TROTMAN              WILBERT W             NY         12039701         WEITZ & LUXENBERG, PC                                TUFANO               EMMANUEL              NY         10848699         WEITZ & LUXENBERG, PC
TROTTA               CARMEN L              NY         12349399         WEITZ & LUXENBERG, PC                                TUFANO               ROSEMARIE             NY         10848699         WEITZ & LUXENBERG, PC
TROTTA               MAXINE                NY         10722002         WEITZ & LUXENBERG, PC                                TUFARIELLO           DANIEL V              NY         99105392         WEITZ & LUXENBERG, PC
TROTTA               THOMAS                NY         10722002         WEITZ & LUXENBERG, PC                                TUFARIELLO           LINDA                 NY         99105392         WEITZ & LUXENBERG, PC
TROTTER              SHARON M              NY         10632500         WEITZ & LUXENBERG, PC                                TULIP                ELEANOR               NY         12367302         WEITZ & LUXENBERG, PC
TROTTO               MARY                  NY         12349399         WEITZ & LUXENBERG, PC                                TULIP                ROBERT A              NY         12367302         WEITZ & LUXENBERG, PC
TROUTMAN             GLORIA                NY         10539899         WEITZ & LUXENBERG, PC                                TULIP                ROBERT J              NY         12367302         WEITZ & LUXENBERG, PC
TROUTMAN             LOUIS M               NY         10539899         WEITZ & LUXENBERG, PC                                TULLY                BEVERLY               NY         1901192018       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1084
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 419 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TULLY                CLIFFORD              NY         1900542011       WEITZ & LUXENBERG, PC                                TURSI                FLORENCE A            NY         11499800         WEITZ & LUXENBERG, PC
TULLY                LAWRENCE R            NY         10571402         WEITZ & LUXENBERG, PC                                TURSI                NAT J                 NY         11499800         WEITZ & LUXENBERG, PC
TULLY                LINDA                 NY         1900542011       WEITZ & LUXENBERG, PC                                TURSKI               BERNARD M             NY         02105713         WEITZ & LUXENBERG, PC
TULLY                MARY                  NY         10571402         WEITZ & LUXENBERG, PC                                TURSKY               CHRISTINA BRIDGET     NY         10861599         WEITZ & LUXENBERG, PC
TUMBLESON            DENA R                NY         CV025685         WEITZ & LUXENBERG, PC                                TURSKY               ROBERT JOSEPH         NY         10861599         WEITZ & LUXENBERG, PC
TUMBLESON            HOFARD                NY         CV025685         WEITZ & LUXENBERG, PC                                TURYK                OLGA                  NY         99105444         WEITZ & LUXENBERG, PC
TUMIEL               PATRICIA              NY         10539199         WEITZ & LUXENBERG, PC                                TURYK                ROMAN                 NY         99105444         WEITZ & LUXENBERG, PC
TUMIEL               RONALD P              NY         10539199         WEITZ & LUXENBERG, PC                                TUSLER               BRUCE J               NY         10645702         WEITZ & LUXENBERG, PC
TUNDO                FRANK                 NY         12461002         WEITZ & LUXENBERG, PC                                TUSLER               CHARMAINE             NY         10645702         WEITZ & LUXENBERG, PC
TUNDO                THERESA               NY         12461002         WEITZ & LUXENBERG, PC                                TUTINO               FRANK                 NY         01111226         WEITZ & LUXENBERG, PC
TUNE                 WALTER H              NY         02105715         WEITZ & LUXENBERG, PC                                TUTTLE               CAROL A               NY         10290104         WEITZ & LUXENBERG, PC
TUNISON              DOROTHY               NY         12039901         WEITZ & LUXENBERG, PC                                TUTTLE               FRANCIS               NY         10696402         WEITZ & LUXENBERG, PC
TUNISON              DOROTHY               NY         10455002         WEITZ & LUXENBERG, PC                                TUTTLE               FREDERICK A           NY         10290104         WEITZ & LUXENBERG, PC
TUNNEY               THOMAS                NY         11158903         WEITZ & LUXENBERG, PC                                TUTTLE               MARION                NY         10696402         WEITZ & LUXENBERG, PC
TUNNEY               THOMAS                NY         11207603         WEITZ & LUXENBERG, PC                                TUZZOLINO            ANTHONY J             NY         12444102         WEITZ & LUXENBERG, PC
TUNNY                CATHERINE             NY         11158903         WEITZ & LUXENBERG, PC                                TVETER               DOLORES               NY         19002909         WEITZ & LUXENBERG, PC
TUNNY                CATHERINE             NY         11207603         WEITZ & LUXENBERG, PC                                TVETER               HARRY                 NY         19002909         WEITZ & LUXENBERG, PC
TUORTO               JOHN D                NY         11327802         WEITZ & LUXENBERG, PC                                TWENTYFIVE           ANTHONY J             NY         10893200         WEITZ & LUXENBERG, PC
TUOSTO               FRANK                 NY         12668202         WEITZ & LUXENBERG, PC                                TWENTYFIVE           YOLANDA               NY         10893200         WEITZ & LUXENBERG, PC
TUOSTO               FRANK                 NY         10386203         WEITZ & LUXENBERG, PC                                TYLER                EILEEN                NY         12100401         WEITZ & LUXENBERG, PC
TUOSTO               ROBERT                NY         10386203         WEITZ & LUXENBERG, PC                                TYLER                JAMES E               NY         12100401         WEITZ & LUXENBERG, PC
TURCIC               ANN                   NY         01111218         WEITZ & LUXENBERG, PC                                TYLER                ROBERT E              NY         12043001         WEITZ & LUXENBERG, PC
TURCIC               ANTON                 NY         01111218         WEITZ & LUXENBERG, PC                                TYLMAN               TRICIA                NY         19024711         WEITZ & LUXENBERG, PC
TURCK                FRANK M               NY         01111219         WEITZ & LUXENBERG, PC                                TYNAN                JOHN                  NY         10544399         WEITZ & LUXENBERG, PC
TURCO                RONALD                NY         02107102         WEITZ & LUXENBERG, PC                                TYNAN                MARY                  NY         10893100         WEITZ & LUXENBERG, PC
TURES                GLADYS                NY         12241201         WEITZ & LUXENBERG, PC                                TYNAN                ROGER HAROLD          NY         10893100         WEITZ & LUXENBERG, PC
TURES                GLADYS                NY         01111226         WEITZ & LUXENBERG, PC                                TYO                  BERNARD F             NY         02106694         WEITZ & LUXENBERG, PC
TURES                H WAYNE               NY         12241201         WEITZ & LUXENBERG, PC                                TYO                  GERALD F              NY         02106694         WEITZ & LUXENBERG, PC
TURES                H WAYNE               NY         01111226         WEITZ & LUXENBERG, PC                                TYO                  KATHLEEN              NY         02106694         WEITZ & LUXENBERG, PC
TURES                HAROLD M              NY         12241201         WEITZ & LUXENBERG, PC                                TYO                  KATHRYN M             NY         02106694         WEITZ & LUXENBERG, PC
TURES                HAROLD M              NY         01111226         WEITZ & LUXENBERG, PC                                TYRAN                HAZEL                 NY         10859799         WEITZ & LUXENBERG, PC
TURGEL               ESTELLE               NY         10893400         WEITZ & LUXENBERG, PC                                TYRE                 STEVEN S              NY         1902872015       WEITZ & LUXENBERG, PC
TURGEL               SEYMOUR               NY         10893400         WEITZ & LUXENBERG, PC                                TYRELL               JANET                 NY         12100401         WEITZ & LUXENBERG, PC
TURKOWITZ            JEROME                NY         10023403         WEITZ & LUXENBERG, PC                                TYRELL               LEONARD R             NY         12100401         WEITZ & LUXENBERG, PC
TURKOWITZ            LAURA                 NY         10023403         WEITZ & LUXENBERG, PC                                TYRON                BARBARA               NY         1903682017       WEITZ & LUXENBERG, PC
TURLEY               DONNA                 NY         10733601         WEITZ & LUXENBERG, PC                                TYRPAK               ESOLINA               NY         12219999         WEITZ & LUXENBERG, PC
TURLEY               ETHEL L               NY         10587402         WEITZ & LUXENBERG, PC                                TYRPAK               JOSEPH                NY         12219999         WEITZ & LUXENBERG, PC
TURLEY               ETHEL L               NY         10990502         WEITZ & LUXENBERG, PC                                TYRPAK               STANLEY J             NY         10700102         WEITZ & LUXENBERG, PC
TURLEY               JOHN                  NY         10733601         WEITZ & LUXENBERG, PC                                TYS                  IRENE                 NY         10722102         WEITZ & LUXENBERG, PC
TURLEY               ULYSSES               NY         10587402         WEITZ & LUXENBERG, PC                                TYS                  STANLEY J             NY         10722102         WEITZ & LUXENBERG, PC
TURLEY               ULYSSES               NY         10990502         WEITZ & LUXENBERG, PC                                TYSON                JIMMY LAMAR           NY         CV017640         WEITZ & LUXENBERG, PC
TURMAN               RUFUS                 NY         12693702         WEITZ & LUXENBERG, PC                                TYSON                TERESA                NY         CV017640         WEITZ & LUXENBERG, PC
TURNBOW              STEPHEN ALLEN         NY         01CIV3901        WEITZ & LUXENBERG, PC                                TYTELL               PETER                 NY         1901352017       WEITZ & LUXENBERG, PC
TURNBOW              SUZY                  NY         01CIV3901        WEITZ & LUXENBERG, PC                                TYTELL               TIKVA                 NY         1901352017       WEITZ & LUXENBERG, PC
TURNBULL             BRUCE A               NY         02113280         WEITZ & LUXENBERG, PC                                TYZNAR               PAUL                  NY         01111227         WEITZ & LUXENBERG, PC
TURNBULL             DEBORAH E             NY         02113280         WEITZ & LUXENBERG, PC                                TZELESIS             THEODORE              NY         10023403         WEITZ & LUXENBERG, PC
TURNER               CAROL ANN             NY         10859699         WEITZ & LUXENBERG, PC                                TZIOMOS              ELEFTHERIOS           NY         12319001         WEITZ & LUXENBERG, PC
TURNER               CHARLES E             NY         CV015721         WEITZ & LUXENBERG, PC                                TZIOMOS              ELEFTHERIOS           NY         01111230         WEITZ & LUXENBERG, PC
TURNER               DONALD                NY         99105390         WEITZ & LUXENBERG, PC                                TZIOMOS              GEORGIA               NY         12319001         WEITZ & LUXENBERG, PC
TURNER               DONALD B              NY         99105390         WEITZ & LUXENBERG, PC                                TZIOMOS              GEORGIA               NY         01111230         WEITZ & LUXENBERG, PC
TURNER               DOROTHY A             NY         19007411         WEITZ & LUXENBERG, PC                                TZOULIS              BARBARA               NY         1904392014       WEITZ & LUXENBERG, PC
TURNER               EARLINE               NY         11478104         WEITZ & LUXENBERG, PC                                TZOULIS              GEORGE                NY         1904392014       WEITZ & LUXENBERG, PC
TURNER               EULA MERLE            NY         CV021456         WEITZ & LUXENBERG, PC                                UBINAS               JOSE                  NY         1900412019       WEITZ & LUXENBERG, PC
TURNER               FRED E                NY         99105636         WEITZ & LUXENBERG, PC                                UBINAS               MARIA ALVEREZ         NY         1900412019       WEITZ & LUXENBERG, PC
TURNER               GARY E                NY         CV015685         WEITZ & LUXENBERG, PC                                UDINA                QUIRINO               NY         10871101         WEITZ & LUXENBERG, PC
TURNER               GEORGE JACK           NY         11786800         WEITZ & LUXENBERG, PC                                UDINA                ROSARIA RINA          NY         10871101         WEITZ & LUXENBERG, PC
TURNER               GRACE                 NY         99105390         WEITZ & LUXENBERG, PC                                UHL                  JAMES E               NY         10074103         WEITZ & LUXENBERG, PC
TURNER               HELEN                 NY         CV016253         WEITZ & LUXENBERG, PC                                UHL                  JOYCE                 NY         10074103         WEITZ & LUXENBERG, PC
TURNER               JOAN                  NY         02113280         WEITZ & LUXENBERG, PC                                UHLENBUSCH           JOHN                  NY         99105441         WEITZ & LUXENBERG, PC
TURNER               JOHN G                NY         11478104         WEITZ & LUXENBERG, PC                                UHLENBUSCH           RUTH                  NY         99105441         WEITZ & LUXENBERG, PC
TURNER               JOSEPH E              NY         02113280         WEITZ & LUXENBERG, PC                                ULBRANDT             PETER E               NY         99120656         WEITZ & LUXENBERG, PC
TURNER               JOY F                 NY         CV021456         WEITZ & LUXENBERG, PC                                ULINE                FREDERICK             NY         10735501         WEITZ & LUXENBERG, PC
TURNER               LAVERNE               NY         1900102016       WEITZ & LUXENBERG, PC                                ULRICH               ALLEN                 NY         11315100         WEITZ & LUXENBERG, PC
TURNER               MARJORIE M            NY         11786800         WEITZ & LUXENBERG, PC                                ULRICH               KASSANDRA D           NY         1620022015       WEITZ & LUXENBERG, PC
TURNER               MILTON R              NY         12039001         WEITZ & LUXENBERG, PC                                ULRICH               LILLIAN R             NY         11315100         WEITZ & LUXENBERG, PC
TURNER               NATHANIEL             NY         CV016253         WEITZ & LUXENBERG, PC                                ULRICH               MARIE J               NY         6176852019       WEITZ & LUXENBERG, PC
TURNER               PAUL                  NY         11629804         WEITZ & LUXENBERG, PC                                ULRICH               WERNER                NY         6176852019       WEITZ & LUXENBERG, PC
TURNER               RICHARD               NY         19007411         WEITZ & LUXENBERG, PC                                UMAR                 ABDULLA               NY         10716902         WEITZ & LUXENBERG, PC
TURNER               RICHARD N             NY         10859699         WEITZ & LUXENBERG, PC                                UMAR                 HALIMAH               NY         10716902         WEITZ & LUXENBERG, PC
TURNER               VIRGINIA              NY         11629804         WEITZ & LUXENBERG, PC                                UMBRO                NICOLETTA             NY         19019011         WEITZ & LUXENBERG, PC
TURNER               WALTER L              NY         10893300         WEITZ & LUXENBERG, PC                                UMBRO                NICOLETTA             NY         11556803         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1085
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 420 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

UMBRO                ROCCO                 NY         11556803         WEITZ & LUXENBERG, PC                                VALENTI              BARBARA               NY         10735301         WEITZ & LUXENBERG, PC
UNDEN                JOHN J                NY         655632019        WEITZ & LUXENBERG, PC                                VALENTI              FRANK A               NY         10735301         WEITZ & LUXENBERG, PC
UNDEN                LORI                  NY         655632019        WEITZ & LUXENBERG, PC                                VALENTI              MICHAEL A             NY         11319000         WEITZ & LUXENBERG, PC
UNDER                JOHN                  NY         12668102         WEITZ & LUXENBERG, PC                                VALENTINE            NANCY                 NY         10124602         WEITZ & LUXENBERG, PC
UNDERWOOD            FAYE                  NY         CV015379         WEITZ & LUXENBERG, PC                                VALENTINE            RAYMOND               NY         10124602         WEITZ & LUXENBERG, PC
UNDERWOOD            LEONARD               NY         CV015379         WEITZ & LUXENBERG, PC                                VALLE                STEVEN                NY         1900312019       WEITZ & LUXENBERG, PC
UNDERWOOD            LORRIE                NY         10735401         WEITZ & LUXENBERG, PC                                VALLONE              GLORIA                NY         12693402         WEITZ & LUXENBERG, PC
UNGARO               DOMINIC ANTHONY       NY         99103798         WEITZ & LUXENBERG, PC                                VALLONE              MURRAY                NY         12576099         WEITZ & LUXENBERG, PC
UNGARO               LOUIS                 NY         11500000         WEITZ & LUXENBERG, PC                                VALLONE              PETER J               NY         12693402         WEITZ & LUXENBERG, PC
UNGARO               MARIA                 NY         11500000         WEITZ & LUXENBERG, PC                                VALLONE              VIRGINIA              NY         12576099         WEITZ & LUXENBERG, PC
UNGARO               VALERIE JOAN          NY         99103798         WEITZ & LUXENBERG, PC                                VALOZE               JOAN                  NY         02107006         WEITZ & LUXENBERG, PC
UNGER                LINDA                 NY         99111262         WEITZ & LUXENBERG, PC                                VALOZE               JOHN A                NY         02107006         WEITZ & LUXENBERG, PC
UNKEL                EDWARD                NY         10880903         WEITZ & LUXENBERG, PC                                VALVA                JANE A                NY         11164403         WEITZ & LUXENBERG, PC
UNKEL                GENOWEFA              NY         10880903         WEITZ & LUXENBERG, PC                                VALVA                JOHN                  NY         11164403         WEITZ & LUXENBERG, PC
UNLINE               LINDA                 NY         10735501         WEITZ & LUXENBERG, PC                                VALVO                PATRICIA A            NY         10587502         WEITZ & LUXENBERG, PC
UNUERHAN             LINDA                 NY         12693702         WEITZ & LUXENBERG, PC                                VALVO                SALVATORE F           NY         10587502         WEITZ & LUXENBERG, PC
UNUERHAN             RICHARD               NY         12693702         WEITZ & LUXENBERG, PC                                VAN ALLEN            LEONARD W             NY         11319200         WEITZ & LUXENBERG, PC
UPENIEKS             ANNAMARIE             NY         12039501         WEITZ & LUXENBERG, PC                                VAN ALLEN            OLIVE K               NY         11319200         WEITZ & LUXENBERG, PC
UPENIEKS             ANNAMARIE             NY         10955302         WEITZ & LUXENBERG, PC                                VAN ARSDALE          CLAUDE L              NY         02107102         WEITZ & LUXENBERG, PC
UPENIEKS             KENNETH               NY         19034411         WEITZ & LUXENBERG, PC                                VAN ARSDALE          HELEN                 NY         02107102         WEITZ & LUXENBERG, PC
UPENIEKS             MARIA                 NY         19034411         WEITZ & LUXENBERG, PC                                VAN AUKEN            ALLAN M               NY         12801902         WEITZ & LUXENBERG, PC
UPENIEKS             ROBERT H              NY         12039501         WEITZ & LUXENBERG, PC                                VAN BLARCOM          EDWIN C               NY         10714100         WEITZ & LUXENBERG, PC
UPENIEKS             ROBERT H              NY         10955302         WEITZ & LUXENBERG, PC                                VAN BRUNT            DIANA                 NY         99108484         WEITZ & LUXENBERG, PC
UPLINGER             FOREST DALE           NY         10379999         WEITZ & LUXENBERG, PC                                VAN BRUNT            RICHARD J             NY         99108484         WEITZ & LUXENBERG, PC
UPLINGER             MARGARET              NY         10379999         WEITZ & LUXENBERG, PC                                VAN BUREN            ALICE                 NY         10735101         WEITZ & LUXENBERG, PC
UPSHAW               CRAIG A               NY         11551905         WEITZ & LUXENBERG, PC                                VAN BUREN            ROBERT                NY         10735101         WEITZ & LUXENBERG, PC
UPSHAW               JANET                 NY         11551905         WEITZ & LUXENBERG, PC                                VAN DE MORTEL        WILLIAM H             NY         1903392012       WEITZ & LUXENBERG, PC
URBAN                JAMES J               NY         11834703         WEITZ & LUXENBERG, PC                                VAN DERVOLGEN        CAROLYN               NY         19004709         WEITZ & LUXENBERG, PC
URBAN                MARY H                NY         11834703         WEITZ & LUXENBERG, PC                                VAN DERVOLGEN        STEPHEN               NY         19004709         WEITZ & LUXENBERG, PC
URBANIAK             EDMUND M              NY         11500100         WEITZ & LUXENBERG, PC                                VAN DERWARKER        JACQUELINE D          NY         02113280         WEITZ & LUXENBERG, PC
URBANIAK             LYNETTE               NY         11500100         WEITZ & LUXENBERG, PC                                VAN DERWARKER        JOHN B                NY         02113280         WEITZ & LUXENBERG, PC
URBANIK              ROGER                 NY         10091503         WEITZ & LUXENBERG, PC                                VAN DETT             AGNES                 NY         10326603         WEITZ & LUXENBERG, PC
URBANIK              THERESA               NY         10091503         WEITZ & LUXENBERG, PC                                VAN DETT             RALPH                 NY         10326603         WEITZ & LUXENBERG, PC
URBANIK              WALTER                NY         10091503         WEITZ & LUXENBERG, PC                                VAN DICK             BARBARA               NY         11319300         WEITZ & LUXENBERG, PC
URENA                CARMEN M              NY         10876603         WEITZ & LUXENBERG, PC                                VAN DICK             NORMAN E              NY         11319300         WEITZ & LUXENBERG, PC
URQUHART             DAWN                  NY         110645           WEITZ & LUXENBERG, PC                                VAN DURME            PHILIP L              NY         1903412016       WEITZ & LUXENBERG, PC
URQUHART             DAWN                  NY         02120706         WEITZ & LUXENBERG, PC                                VAN EPPS             LAWRENCE E            NY         02106579         WEITZ & LUXENBERG, PC
URQUHART             THOMAS G              NY         110645           WEITZ & LUXENBERG, PC                                VAN EPPS             RORIE                 NY         02106579         WEITZ & LUXENBERG, PC
URQUHART             THOMAS G              NY         02120706         WEITZ & LUXENBERG, PC                                VAN ETTEN            BERNARD R             NY         10740402         WEITZ & LUXENBERG, PC
URSINO               ANTONIO               NY         10491404         WEITZ & LUXENBERG, PC                                VAN ETTEN            BERNARD R             NY         11429002         WEITZ & LUXENBERG, PC
URSINO               CARMELLA              NY         10491404         WEITZ & LUXENBERG, PC                                VAN ETTEN            ELISE                 NY         10023203         WEITZ & LUXENBERG, PC
URTEL                JAMES K               NY         I20019046        WEITZ & LUXENBERG, PC                                VAN ETTEN            ELISE                 NY         10799003         WEITZ & LUXENBERG, PC
URTEL                JANET ADELYN          NY         I20019046        WEITZ & LUXENBERG, PC                                VAN ETTEN            ELSIE                 NY         10023203         WEITZ & LUXENBERG, PC
URVALEK              EDWARD JERRY          NY         12668702         WEITZ & LUXENBERG, PC                                VAN ETTEN            ELSIE                 NY         10799003         WEITZ & LUXENBERG, PC
URVALEK              EDWARD JERRY          NY         10460303         WEITZ & LUXENBERG, PC                                VAN ETTEN            ORAN D                NY         10023203         WEITZ & LUXENBERG, PC
USELTON              JACK D                NY         CV023768         WEITZ & LUXENBERG, PC                                VAN ETTEN            ORAN D                NY         10799003         WEITZ & LUXENBERG, PC
USELTON              TAMAH                 NY         CV023768         WEITZ & LUXENBERG, PC                                VAN GENDEREN         NORMA                 NY         10714200         WEITZ & LUXENBERG, PC
USEVICH              JOHN                  NY         11500300         WEITZ & LUXENBERG, PC                                VAN GENDEREN         PHILIP                NY         10714200         WEITZ & LUXENBERG, PC
USHER                JOSEPH T              NY         11318500         WEITZ & LUXENBERG, PC                                VAN GUILDER          HAROLD                NY         19017811         WEITZ & LUXENBERG, PC
UTTARO               ANTHONY               NY         11318600         WEITZ & LUXENBERG, PC                                VAN GUILDER          MARIE                 NY         19017811         WEITZ & LUXENBERG, PC
UTTARO               ROSE                  NY         11318600         WEITZ & LUXENBERG, PC                                VAN HASSENT          HELEN                 NY         10380599         WEITZ & LUXENBERG, PC
UVANNI               JOSEPH V              NY         01111227         WEITZ & LUXENBERG, PC                                VAN HASSENT          JOHN                  NY         10380599         WEITZ & LUXENBERG, PC
VACANTI              AGNES T               NY         11318700         WEITZ & LUXENBERG, PC                                VAN HEUSEN           ANNA                  NY         10587402         WEITZ & LUXENBERG, PC
VACANTI              ANTHONY C             NY         11318700         WEITZ & LUXENBERG, PC                                VAN HEUSEN           ANNA                  NY         10990402         WEITZ & LUXENBERG, PC
VACCARIELLO          CARMINE A             NY         11318800         WEITZ & LUXENBERG, PC                                VAN HEUSEN           JAMES L               NY         99103807         WEITZ & LUXENBERG, PC
VACCARIELLO          MARGARET              NY         11318800         WEITZ & LUXENBERG, PC                                VAN HEUSEN           ROBERT D              NY         10587402         WEITZ & LUXENBERG, PC
VACCARO              CORRADO               DE         N17C11236ASB     WEITZ & LUXENBERG, PC                                VAN HEUSEN           ROBERT D              NY         10990402         WEITZ & LUXENBERG, PC
VACCARO              IDA                   NY         10670302         WEITZ & LUXENBERG, PC                                VAN HORNE            DIANE                 NY         11500400         WEITZ & LUXENBERG, PC
VACCARO              VINCENT               NY         11318900         WEITZ & LUXENBERG, PC                                VAN HORNE            WILLIAM A             NY         11500400         WEITZ & LUXENBERG, PC
VACCARO              VINCENZO              NY         10670302         WEITZ & LUXENBERG, PC                                VAN HOUTEN           ANGELINA              NY         99103806         WEITZ & LUXENBERG, PC
VAGLICA              ANTHONY               NY         10714000         WEITZ & LUXENBERG, PC                                VAN HOUTEN           ANGELINA              NY         10380699         WEITZ & LUXENBERG, PC
VAGLICA              FLAUIA                NY         10714000         WEITZ & LUXENBERG, PC                                VAN HOUTEN           HERBERT               NY         99103806         WEITZ & LUXENBERG, PC
VAIL                 CLARA M               NY         10380199         WEITZ & LUXENBERG, PC                                VAN HOUTEN           ROBERT                NY         10380699         WEITZ & LUXENBERG, PC
VAIL                 CLAYTON H             NY         10587502         WEITZ & LUXENBERG, PC                                VAN HUESEN           DANIELLE              NY         99103807         WEITZ & LUXENBERG, PC
VAIL                 EDWARD F              NY         10380199         WEITZ & LUXENBERG, PC                                VAN HUSEN            RICHARD               NY         02106690         WEITZ & LUXENBERG, PC
VAIL                 ELLEN                 NY         10587502         WEITZ & LUXENBERG, PC                                VAN HUSEN            STUART W              NY         10735001         WEITZ & LUXENBERG, PC
VAITULIS             VETTO                 NY         10700102         WEITZ & LUXENBERG, PC                                VAN KENNEN           ANNIE                 NY         10669102         WEITZ & LUXENBERG, PC
VALACHOVIC           THOMAS ANTHONY        NY         02105715         WEITZ & LUXENBERG, PC                                VAN KENNEN           PHILLIP V             NY         10669102         WEITZ & LUXENBERG, PC
VALDINOTO            FRANK                 NY         19006008         WEITZ & LUXENBERG, PC                                VAN NAME             JOHN                  NY         11449899         WEITZ & LUXENBERG, PC
VALDINOTO            LUCY                  NY         19006008         WEITZ & LUXENBERG, PC                                VAN NESS             JACK B                NY         02106709         WEITZ & LUXENBERG, PC
VALENTE              ANTHONY               NY         10380399         WEITZ & LUXENBERG, PC                                VAN NESS             JACK B                NY         11551802         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1086
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 421 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

VAN NESS             JOAN                  NY         02106709         WEITZ & LUXENBERG, PC                                VANSICKLE            DONALD B              NY         11319500         WEITZ & LUXENBERG, PC
VAN NESS             JOAN                  NY         11551802         WEITZ & LUXENBERG, PC                                VANSICKLE            MARGARET E            NY         11319500         WEITZ & LUXENBERG, PC
VAN NORMAN           DANVERS G             NY         CV016892         WEITZ & LUXENBERG, PC                                VANSLYKE             STEVEN F              NY         12801902         WEITZ & LUXENBERG, PC
VAN NOSTRAND         DOUGLAS               NY         10734901         WEITZ & LUXENBERG, PC                                VANSTEAN             TERRY R               NY         E2018008076      WEITZ & LUXENBERG, PC
VAN NOSTRAND         EILEEN                NY         11319400         WEITZ & LUXENBERG, PC                                VANSTEAN             VALERIE               NY         E2018008076      WEITZ & LUXENBERG, PC
VAN NOSTRAND         GARY                  NY         02106580         WEITZ & LUXENBERG, PC                                VANWIE               BARBARA G             NY         02105718         WEITZ & LUXENBERG, PC
VAN NOSTRAND         MARGARET              NY         02106580         WEITZ & LUXENBERG, PC                                VANWIE               GARY M                NY         02105718         WEITZ & LUXENBERG, PC
VAN NOSTRAND         SALLY                 NY         10734901         WEITZ & LUXENBERG, PC                                VANZILE              ARTHUR                NY         11500500         WEITZ & LUXENBERG, PC
VAN NOSTRAND         WALTER                NY         11319400         WEITZ & LUXENBERG, PC                                VANZILE              LEONA                 NY         11500500         WEITZ & LUXENBERG, PC
VAN ORNUM            BETSY                 NY         02106692         WEITZ & LUXENBERG, PC                                VARAS                JOHN                  NY         1902432016       WEITZ & LUXENBERG, PC
VAN ORNUM            DAVE W                NY         02106692         WEITZ & LUXENBERG, PC                                VARDA                NICHOLAS              NY         12043101         WEITZ & LUXENBERG, PC
VAN PELT             DAVID R               NY         01CIV4690        WEITZ & LUXENBERG, PC                                VARDA                NICHOLAS              NY         12358901         WEITZ & LUXENBERG, PC
VAN PELT             GERALDINE             NY         12668602         WEITZ & LUXENBERG, PC                                VARDA                WILLIAM J             NY         12358901         WEITZ & LUXENBERG, PC
VAN PELT             GERALDINE             NY         10404403         WEITZ & LUXENBERG, PC                                VARDEN               DAPHINE               NY         19039211         WEITZ & LUXENBERG, PC
VAN PELT             MYRON E               NY         12668602         WEITZ & LUXENBERG, PC                                VARDEN               HERMAN L              NY         19039211         WEITZ & LUXENBERG, PC
VAN PELT             MYRON E               NY         10404403         WEITZ & LUXENBERG, PC                                VARDEN SHAPIRO       KELLIE                NY         19039211         WEITZ & LUXENBERG, PC
VAN SICKLE           DONALD V              NY         11319500         WEITZ & LUXENBERG, PC                                VARELAS              ALEX                  NY         99103818         WEITZ & LUXENBERG, PC
VAN SICKLE           MARGARET              NY         11319500         WEITZ & LUXENBERG, PC                                VARELAS              FLORA                 NY         99103818         WEITZ & LUXENBERG, PC
VAN SLYKE            ERIC R                NY         10670802         WEITZ & LUXENBERG, PC                                VARESE               JOSEPH J              NY         1905532012       WEITZ & LUXENBERG, PC
VAN SLYKE            ERIC R                NY         11609202         WEITZ & LUXENBERG, PC                                VARGESON             LYLE A                NY         11319800         WEITZ & LUXENBERG, PC
VAN SLYKE            SUSAN J               NY         10670802         WEITZ & LUXENBERG, PC                                VARGESON             WANDA M               NY         11319800         WEITZ & LUXENBERG, PC
VAN SLYKE            SUSAN J               NY         11609202         WEITZ & LUXENBERG, PC                                VARIALE              ANN                   NY         10734801         WEITZ & LUXENBERG, PC
VAN VALKENBURGH      JANET L               NY         10587402         WEITZ & LUXENBERG, PC                                VARIALE              ANTHONY               NY         10734801         WEITZ & LUXENBERG, PC
VAN VALKENBURGH      JANET L               NY         10990402         WEITZ & LUXENBERG, PC                                VARN                 CHERYL                NY         02105713         WEITZ & LUXENBERG, PC
VAN WIE              BETTY                 NY         10381799         WEITZ & LUXENBERG, PC                                VARN                 DONALD D              NY         02105713         WEITZ & LUXENBERG, PC
VAN WIE              EARL C                NY         10381799         WEITZ & LUXENBERG, PC                                VARONE               ALAN                  NY         CV015716         WEITZ & LUXENBERG, PC
VAN WORMER           BEATRICE              NY         10700102         WEITZ & LUXENBERG, PC                                VARONE               CORALYNN              NY         CV015716         WEITZ & LUXENBERG, PC
VAN WORMER           DONALD L              NY         10700102         WEITZ & LUXENBERG, PC                                VARRICCHIO           LOUIS                 NY         11319900         WEITZ & LUXENBERG, PC
VAN WORMER           LEON                  NY         10735601         WEITZ & LUXENBERG, PC                                VASCETTI             GERALDINE             NY         10033403         WEITZ & LUXENBERG, PC
VAN ZANDT            BRENDA                NY         01111234         WEITZ & LUXENBERG, PC                                VASCETTI             JAMES J               NY         10033403         WEITZ & LUXENBERG, PC
VAN ZANDT            BRENDA                NY         11920401         WEITZ & LUXENBERG, PC                                VASHO                APRIL                 NY         11500700         WEITZ & LUXENBERG, PC
VAN ZANDT            ROBERT W              NY         01111234         WEITZ & LUXENBERG, PC                                VASHO                PHILLIP E             NY         11500700         WEITZ & LUXENBERG, PC
VAN ZANDT            ROBERT W              NY         11920401         WEITZ & LUXENBERG, PC                                VASQUEZ              GILBERT               NY         10587002         WEITZ & LUXENBERG, PC
VAN ZILE             GERALDINE             NY         10740202         WEITZ & LUXENBERG, PC                                VASQUEZ              JOSE C                NY         1900512018       WEITZ & LUXENBERG, PC
VAN ZILE             GERALDINE             NY         11329702         WEITZ & LUXENBERG, PC                                VASQUEZ              RAUL                  NY         12039801         WEITZ & LUXENBERG, PC
VAN ZILE             LARRY ALAN            NY         10740202         WEITZ & LUXENBERG, PC                                VASQUEZ              RAUL                  NY         10479302         WEITZ & LUXENBERG, PC
VAN ZILE             LARRY ALAN            NY         11329702         WEITZ & LUXENBERG, PC                                VASSALLO             ALBERT                NY         11317500         WEITZ & LUXENBERG, PC
VAN ZILE             SANDRA KAY            NY         10740202         WEITZ & LUXENBERG, PC                                VASSAR               KENNETH               NY         99103808         WEITZ & LUXENBERG, PC
VANACORE             JOHN                  NY         10023403         WEITZ & LUXENBERG, PC                                VASSAR               KENNETH L             NY         I20016815        WEITZ & LUXENBERG, PC
VANACORE             JUDITH                NY         12100401         WEITZ & LUXENBERG, PC                                VASSAR               MURIEL                NY         99103808         WEITZ & LUXENBERG, PC
VANACORE             MARIO JOSEPH          NY         12100401         WEITZ & LUXENBERG, PC                                VASSAR               PATRICIA              NY         I20016815        WEITZ & LUXENBERG, PC
VANAMBURG            WAYNE A               NY         10680702         WEITZ & LUXENBERG, PC                                VASSAR               WILLIAM R             NY         99103808         WEITZ & LUXENBERG, PC
VANCE                FRED LEON             NY         CV016948         WEITZ & LUXENBERG, PC                                VASSI                CHARLES M             NY         10714600         WEITZ & LUXENBERG, PC
VANDERBOSCH          ALICE                 NY         1901522016       WEITZ & LUXENBERG, PC                                VASSI                MICHAEL FRANK         NY         10714700         WEITZ & LUXENBERG, PC
VANDERMALLIE-HARE    JOYCE                 NY         1903722014       WEITZ & LUXENBERG, PC                                VASSI                ROBERT                NY         10714600         WEITZ & LUXENBERG, PC
VANDERMARK           DONNA                 NY         10074103         WEITZ & LUXENBERG, PC                                VASSI                SUZANNE               NY         10714700         WEITZ & LUXENBERG, PC
VANDERMARK           JOHN P                NY         10074103         WEITZ & LUXENBERG, PC                                VASSI                VIRGINIA              NY         10714600         WEITZ & LUXENBERG, PC
VANDERPOOL           HERNANDO              NY         10714300         WEITZ & LUXENBERG, PC                                VASSO                GUS M                 NY         10670802         WEITZ & LUXENBERG, PC
VANDERWERF           VIRGINIA              NY         10191101         WEITZ & LUXENBERG, PC                                VASTA                FRANK J               NY         10167402         WEITZ & LUXENBERG, PC
VANDERWERKEN         GARY                  NY         12693702         WEITZ & LUXENBERG, PC                                VASTA                ROSE L                NY         10167402         WEITZ & LUXENBERG, PC
VANDERWERKEN         JOSEPH D              NY         02106707         WEITZ & LUXENBERG, PC                                VAUGHAN              CHARLES               NY         10023403         WEITZ & LUXENBERG, PC
VANDERWERKEN         JOSEPH D              NY         11566402         WEITZ & LUXENBERG, PC                                VAUGHAN              FAIREST               NY         10023403         WEITZ & LUXENBERG, PC
VANDERWERKEN         KAREN                 NY         12693702         WEITZ & LUXENBERG, PC                                VAUGHAN              GEORGINA M            NY         11026902         WEITZ & LUXENBERG, PC
VANDERWERKEN         VERONICA              NY         02106707         WEITZ & LUXENBERG, PC                                VAUGHAN              KENNETH M             NY         11026902         WEITZ & LUXENBERG, PC
VANDERWERKEN         VERONICA              NY         11566402         WEITZ & LUXENBERG, PC                                VAUGHN               ARTHUR                NY         11317600         WEITZ & LUXENBERG, PC
VANDEWINCKEL         GLEN A                NY         11477804         WEITZ & LUXENBERG, PC                                VAUGHN               HERMAN GENE           NY         CV016614         WEITZ & LUXENBERG, PC
VANDEWINCKEL         KATHLEEN T            NY         11477804         WEITZ & LUXENBERG, PC                                VAUGHN               JAMES LEROY           NY         11643701         WEITZ & LUXENBERG, PC
VANDURME             JEAN MARIE            NY         1903412016       WEITZ & LUXENBERG, PC                                VAUGHN               JAMES LEROY           NY         01111219         WEITZ & LUXENBERG, PC
VANELLA              JOSEPH M              NY         12043001         WEITZ & LUXENBERG, PC                                VAUGHN               JOHN C                NY         1900232014       WEITZ & LUXENBERG, PC
VANGELI              LAURA                 NY         10512700         WEITZ & LUXENBERG, PC                                VAUGHN               MARGARET              NY         CV016614         WEITZ & LUXENBERG, PC
VANKAMMEN            JOSEPH A              NY         02CIV2090        WEITZ & LUXENBERG, PC                                VAUGHN               NANCY                 NY         1900232014       WEITZ & LUXENBERG, PC
VANKAMMEN            VICKI A               NY         02CIV2090        WEITZ & LUXENBERG, PC                                VAUGHN               WARREN V              NY         99103809         WEITZ & LUXENBERG, PC
VANLANDINGHAM        PHILIP                NY         10349403         WEITZ & LUXENBERG, PC                                VAUGHN               WILLIAM C             NY         10696502         WEITZ & LUXENBERG, PC
VANLANDINGHAM        PHILLIP               NY         12668102         WEITZ & LUXENBERG, PC                                VAUGHN               WINIFRED D            NY         11317600         WEITZ & LUXENBERG, PC
VANLANDINGHAM        WILLIE                NY         12668102         WEITZ & LUXENBERG, PC                                VAVRA                MARTIN                NY         02106707         WEITZ & LUXENBERG, PC
VANLANDINGHAM        WILLIE M              NY         10349403         WEITZ & LUXENBERG, PC                                VAVRA                MARTIN                NY         11571002         WEITZ & LUXENBERG, PC
VANN                 RONALD H              NY         10696402         WEITZ & LUXENBERG, PC                                VEARA                RICHARD C             NY         11556403         WEITZ & LUXENBERG, PC
VANN                 VERONICA              NY         10696402         WEITZ & LUXENBERG, PC                                VEASLEY              KRISTIN L             NY         11317700         WEITZ & LUXENBERG, PC
VANNATA              ROBERT A              NY         12039401         WEITZ & LUXENBERG, PC                                VEASLEY              LORETTA               NY         11317700         WEITZ & LUXENBERG, PC
VANNOSTRAND          LINDA R               NY         11319700         WEITZ & LUXENBERG, PC                                VEASLEY              ROBERT L              NY         11317700         WEITZ & LUXENBERG, PC
VANNOSTRAND          MICHAEL F             NY         11319700         WEITZ & LUXENBERG, PC                                VECCHIO              CAROL                 NY         12213801         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1087
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 422 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

VECCHIO              JOHN J                NY         11623701         WEITZ & LUXENBERG, PC                                VERGA                VINCENT               NY         99103815         WEITZ & LUXENBERG, PC
VECCHIO              JOHN J                NY         01111221         WEITZ & LUXENBERG, PC                                VERGONA              VICTOR                NY         99103816         WEITZ & LUXENBERG, PC
VECCHIO              JOHN M                NY         12213801         WEITZ & LUXENBERG, PC                                VERI                 KATHLEEN              NY         11501100         WEITZ & LUXENBERG, PC
VECCHIO              JOYCE M               NY         11623701         WEITZ & LUXENBERG, PC                                VERI                 RONALD B              NY         11501100         WEITZ & LUXENBERG, PC
VECCHIO              JOYCE M               NY         01111221         WEITZ & LUXENBERG, PC                                VERNEY               DEAN A                NY         1900802018       WEITZ & LUXENBERG, PC
VEDDER               HOWARD                NY         1901022018       WEITZ & LUXENBERG, PC                                VERNON               LINDA                 NY         02106692         WEITZ & LUXENBERG, PC
VEDDER               LILLIAN               NY         1901022018       WEITZ & LUXENBERG, PC                                VERNON               LINDA                 NY         11436502         WEITZ & LUXENBERG, PC
VEGA                 EGBERTA               NY         10592004         WEITZ & LUXENBERG, PC                                VERONNEAU            EDWARD                NY         03CIV3143        WEITZ & LUXENBERG, PC
VEGA                 GREGORIO              NY         10592004         WEITZ & LUXENBERG, PC                                VEROSTKO             JACQUELINE            NY         I20019667        WEITZ & LUXENBERG, PC
VEGA                 JULIO                 NY         10734701         WEITZ & LUXENBERG, PC                                VERSAGE              ANTHONY P             NY         99103834         WEITZ & LUXENBERG, PC
VEGA                 LETICIA CARDONA       NY         10734701         WEITZ & LUXENBERG, PC                                VERSAGE              FRANCES               NY         99103834         WEITZ & LUXENBERG, PC
VEGA                 MARIA                 NY         12205500         WEITZ & LUXENBERG, PC                                VERSAGE              LINDA R               NY         99103834         WEITZ & LUXENBERG, PC
VEGA                 NANCY                 NY         10383400         WEITZ & LUXENBERG, PC                                VERSER               MARTIN HAROLD         NY         01CIV3087        WEITZ & LUXENBERG, PC
VEGA                 RAMON                 NY         12205500         WEITZ & LUXENBERG, PC                                VERSER               RAMONA                NY         01CIV3087        WEITZ & LUXENBERG, PC
VEIGA                ELLEN MARY            NY         11317800         WEITZ & LUXENBERG, PC                                VERSER               THOMAS HAROLD         NY         01CIV3087        WEITZ & LUXENBERG, PC
VEIGA                ROBERT ANDREW         NY         11317800         WEITZ & LUXENBERG, PC                                VERSTANDIG           HELENE                NY         10561399         WEITZ & LUXENBERG, PC
VELA                 KIMBERLY              NY         1903492018       WEITZ & LUXENBERG, PC                                VERTALINO            ANN                   NY         10842199         WEITZ & LUXENBERG, PC
VELA                 ROSARIO J             NY         1903492018       WEITZ & LUXENBERG, PC                                VERTALINO            FRANK                 NY         10842199         WEITZ & LUXENBERG, PC
VELARDI              ELEANOR               NY         99103811         WEITZ & LUXENBERG, PC                                VERYSSEL             ALFRED A              NY         01111234         WEITZ & LUXENBERG, PC
VELARDI              GREGORY               NY         99103811         WEITZ & LUXENBERG, PC                                VERYSSEL             ALFRED A              NY         11920501         WEITZ & LUXENBERG, PC
VELARDI              HELEN                 NY         99103813         WEITZ & LUXENBERG, PC                                VERYSSEL             CHRISTA               NY         01111234         WEITZ & LUXENBERG, PC
VELARDI              HELEN                 NY         10381399         WEITZ & LUXENBERG, PC                                VERYSSEL             CHRISTA               NY         11920501         WEITZ & LUXENBERG, PC
VELARDI              NATALE                NY         99103813         WEITZ & LUXENBERG, PC                                VESNEFSKY            EUGENE B              NY         11318200         WEITZ & LUXENBERG, PC
VELARDI              NATALE                NY         10381399         WEITZ & LUXENBERG, PC                                VESNEFSKY            SHIRLEY               NY         11318200         WEITZ & LUXENBERG, PC
VELAZQUEZ            EDWIN                 NY         11500900         WEITZ & LUXENBERG, PC                                VETTER               GERALD M              NY         I20019676        WEITZ & LUXENBERG, PC
VELAZQUEZ            GLORIA                NY         11500900         WEITZ & LUXENBERG, PC                                VETTER               KATHLEEN              NY         11786900         WEITZ & LUXENBERG, PC
VELELLA              ANTHONY               NY         12367000         WEITZ & LUXENBERG, PC                                VETTER               MARY C                NY         I20019676        WEITZ & LUXENBERG, PC
VELELLA              JOSEPHINE             NY         12367000         WEITZ & LUXENBERG, PC                                VETTER               PAUL                  NY         11786900         WEITZ & LUXENBERG, PC
VELEZ                JOSE M                NY         1900702018       WEITZ & LUXENBERG, PC                                VETTESE              AIDA                  NY         02107007         WEITZ & LUXENBERG, PC
VELEZ                JUAN A                NY         01122139         WEITZ & LUXENBERG, PC                                VETTESE              AMERIGO               NY         02107007         WEITZ & LUXENBERG, PC
VELEZ                LEDUVINA R            NY         01122139         WEITZ & LUXENBERG, PC                                VIALONGA             EDWARD                NY         02107102         WEITZ & LUXENBERG, PC
VELEZ                VERONICA              NY         1900702018       WEITZ & LUXENBERG, PC                                VIALONGA             SARAH                 NY         02107102         WEITZ & LUXENBERG, PC
VELLA                MARIE                 NY         01114584         WEITZ & LUXENBERG, PC                                VIAU                 LEO R                 NY         11026802         WEITZ & LUXENBERG, PC
VELLA                PETER T               NY         01114584         WEITZ & LUXENBERG, PC                                VICE                 SHARON L              NY         02106578         WEITZ & LUXENBERG, PC
VENDETTE             MARIE                 NY         02113565         WEITZ & LUXENBERG, PC                                VICE                 SHARON L              NY         11270102         WEITZ & LUXENBERG, PC
VENDETTE             ODEO L                NY         02113565         WEITZ & LUXENBERG, PC                                VICE                 WAYNE A               NY         02106578         WEITZ & LUXENBERG, PC
VENDITTI             CARMELLA A            NY         10735801         WEITZ & LUXENBERG, PC                                VICE                 WAYNE A               NY         11270102         WEITZ & LUXENBERG, PC
VENDITTI             PATSY                 NY         10735801         WEITZ & LUXENBERG, PC                                VICENTI              GILDO                 NY         12039701         WEITZ & LUXENBERG, PC
VENEZIA              ANGELO                NY         12213801         WEITZ & LUXENBERG, PC                                VICKERS              JOAN                  NY         02107102         WEITZ & LUXENBERG, PC
VENEZIA              ANGELO                NY         10272802         WEITZ & LUXENBERG, PC                                VICKERS              JOAN                  NY         11912002         WEITZ & LUXENBERG, PC
VENEZIA              ANITA                 NY         12213801         WEITZ & LUXENBERG, PC                                VICKERS              PERRY A               NY         02107102         WEITZ & LUXENBERG, PC
VENEZIA              ANITA                 NY         10272802         WEITZ & LUXENBERG, PC                                VICKERS              PERRY A               NY         11912002         WEITZ & LUXENBERG, PC
VENEZIA              GUS A                 NY         12213801         WEITZ & LUXENBERG, PC                                VICKERY              JOYCE M               NY         10740302         WEITZ & LUXENBERG, PC
VENEZIA              GUS A                 NY         10272802         WEITZ & LUXENBERG, PC                                VICKERY              JOYCE M               NY         11408902         WEITZ & LUXENBERG, PC
VENEZIA              MARY ANN              NY         11317900         WEITZ & LUXENBERG, PC                                VICKERY              RAYMOND E             NY         10740302         WEITZ & LUXENBERG, PC
VENEZIA              NICHOLAS              NY         11317900         WEITZ & LUXENBERG, PC                                VICKERY              RAYMOND E             NY         11408902         WEITZ & LUXENBERG, PC
VENEZIANO            PATRICIA              NY         12322400         WEITZ & LUXENBERG, PC                                VICTORY              ANITA                 NY         01CIV3901        WEITZ & LUXENBERG, PC
VENIER               JOHN F                NY         11327802         WEITZ & LUXENBERG, PC                                VICTORY              MICHAEL GLENN         NY         01CIV3901        WEITZ & LUXENBERG, PC
VENIER               JOSEPHINE             NY         11327802         WEITZ & LUXENBERG, PC                                VIDAIC               MILKA                 NY         02107007         WEITZ & LUXENBERG, PC
VENNEMAN             DONNA O               NY         11318000         WEITZ & LUXENBERG, PC                                VIDAIC               NEDILJKO              NY         02107007         WEITZ & LUXENBERG, PC
VENNEMAN             RICHARD C             NY         11318000         WEITZ & LUXENBERG, PC                                VIDUCIC              ALBINA                NY         11966201         WEITZ & LUXENBERG, PC
VENTRESCA            FLORA                 NY         11501000         WEITZ & LUXENBERG, PC                                VIDUCIC              ALBINA                NY         01111220         WEITZ & LUXENBERG, PC
VENTRESCA            PAUL G                NY         11501000         WEITZ & LUXENBERG, PC                                VIDUCIC              STANKO                NY         11966201         WEITZ & LUXENBERG, PC
VENTURA              MARGARET              NY         99103814         WEITZ & LUXENBERG, PC                                VIDUCIC              STANKO                NY         01111220         WEITZ & LUXENBERG, PC
VENTURA              SAM D                 NY         99103814         WEITZ & LUXENBERG, PC                                VIEIRA               AMERICO               NY         10534701         WEITZ & LUXENBERG, PC
VENTURINO            ALBERT G              NY         10066305         WEITZ & LUXENBERG, PC                                VIEIRA               JOSE A                NY         10534701         WEITZ & LUXENBERG, PC
VENTURINO            ROSE                  NY         10066305         WEITZ & LUXENBERG, PC                                VIELE                LESTER                NY         1901172015       WEITZ & LUXENBERG, PC
VENUTI               CAROL                 NY         10697708         WEITZ & LUXENBERG, PC                                VIENI                CHARLES F             NY         11570703         WEITZ & LUXENBERG, PC
VENUTI               DOMINICK              NY         10697708         WEITZ & LUXENBERG, PC                                VIENI                LORRAINE R            NY         11570703         WEITZ & LUXENBERG, PC
VENUTI               HAZEL                 NY         10085503         WEITZ & LUXENBERG, PC                                VIGGIANO             JOSEPH F              NY         02106709         WEITZ & LUXENBERG, PC
VENUTI               JOSEPH                NY         10085503         WEITZ & LUXENBERG, PC                                VIGGIANO             JOSEPH F              NY         11551902         WEITZ & LUXENBERG, PC
VENZA                ANDRES                NY         11770203         WEITZ & LUXENBERG, PC                                VIGGIANO             PHYLLIS               NY         02106709         WEITZ & LUXENBERG, PC
VENZA                CAROL                 NY         11770203         WEITZ & LUXENBERG, PC                                VIGGIANO             PHYLLIS               NY         11551902         WEITZ & LUXENBERG, PC
VERBANAC             ANGELA                NY         01122139         WEITZ & LUXENBERG, PC                                VIGGIANO             RICHARD               NY         02106709         WEITZ & LUXENBERG, PC
VERBANAC             ROMANO                NY         01122139         WEITZ & LUXENBERG, PC                                VIGGIANO             RICHARD               NY         11551902         WEITZ & LUXENBERG, PC
VERDE                ANTONIO               NY         1900992018       WEITZ & LUXENBERG, PC                                VIGILANTE            FRANK                 NY         12043001         WEITZ & LUXENBERG, PC
VERDE                GIORGIA               NY         1900992018       WEITZ & LUXENBERG, PC                                VIGILANTE            LUCY                  NY         12043001         WEITZ & LUXENBERG, PC
VERDI                WAYNE S               NY         02106707         WEITZ & LUXENBERG, PC                                VIGILO               ANTONETTE             NY         12668102         WEITZ & LUXENBERG, PC
VEREERSTRAETEN       GUY                   NY         11318100         WEITZ & LUXENBERG, PC                                VIGILO               KENNETH W             NY         12668102         WEITZ & LUXENBERG, PC
VEREERSTRAETEN       SUZANNE               NY         11318100         WEITZ & LUXENBERG, PC                                VIGLIETTA            PAT                   NY         12801502         WEITZ & LUXENBERG, PC
VERGA                MARY                  NY         99103815         WEITZ & LUXENBERG, PC                                VIGLIONE             GIUSEPPE              NY         11318300         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1088
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 423 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

VIGLIONE             LINDA                 NY         12039801         WEITZ & LUXENBERG, PC                                VISCUSI              MARIA                 NY         11318400         WEITZ & LUXENBERG, PC
VIGLIONE             MARIA                 NY         11318300         WEITZ & LUXENBERG, PC                                VISONE               MATILDA               NY         02106579         WEITZ & LUXENBERG, PC
VIGLIONE             MICHAEL               NY         12039801         WEITZ & LUXENBERG, PC                                VISONE               PASQUALE              NY         02106579         WEITZ & LUXENBERG, PC
VIGLOTTI             LAURA GIAMELLA        NY         10134307         WEITZ & LUXENBERG, PC                                VITALE               AUGUST F              NY         11327802         WEITZ & LUXENBERG, PC
VIGODA               PHILIP                NY         12213801         WEITZ & LUXENBERG, PC                                VITALE               DOLORES               NY         01111225         WEITZ & LUXENBERG, PC
VILLANI              ANATILO               NY         11123101         WEITZ & LUXENBERG, PC                                VITALE               DOMINICK              NY         01111225         WEITZ & LUXENBERG, PC
VILLANI              ANATILO               NY         12057701         WEITZ & LUXENBERG, PC                                VITALE               EALONER               NY         10842299         WEITZ & LUXENBERG, PC
VILLANI              DONNA                 NY         12693702         WEITZ & LUXENBERG, PC                                VITALE               FRANK                 NY         12113701         WEITZ & LUXENBERG, PC
VILLANI              GIORGIO               NY         11123101         WEITZ & LUXENBERG, PC                                VITALE               FRANK                 NY         01111224         WEITZ & LUXENBERG, PC
VILLANI              GIORGIO               NY         12057701         WEITZ & LUXENBERG, PC                                VITALE               KATHLEEN              NY         11327802         WEITZ & LUXENBERG, PC
VILLANI              JOHN                  NY         12693702         WEITZ & LUXENBERG, PC                                VITALE               LUCHIE                NY         10842299         WEITZ & LUXENBERG, PC
VILLANO              NANCY                 NY         99103837         WEITZ & LUXENBERG, PC                                VITALE               MARGARET M            NY         11316700         WEITZ & LUXENBERG, PC
VILLANO              PATSY R               NY         99103837         WEITZ & LUXENBERG, PC                                VITALE               MARILYN G             NY         12039201         WEITZ & LUXENBERG, PC
VILLAR               JOSE R                NY         19010808         WEITZ & LUXENBERG, PC                                VITALE               MARILYN G             NY         10406102         WEITZ & LUXENBERG, PC
VILLAR               MARY                  NY         19010808         WEITZ & LUXENBERG, PC                                VITALE               RALPH                 NY         12039201         WEITZ & LUXENBERG, PC
VILLARI              PATRICIA              NY         11937600         WEITZ & LUXENBERG, PC                                VITALE               RALPH                 NY         10406102         WEITZ & LUXENBERG, PC
VILLARI              PETER                 NY         11937600         WEITZ & LUXENBERG, PC                                VITALE               ROSE MARIE            NY         10713100         WEITZ & LUXENBERG, PC
VILLECCO             FRANK                 NY         10023203         WEITZ & LUXENBERG, PC                                VITALE               STEPHEN               NY         12113701         WEITZ & LUXENBERG, PC
VILLECCO             FRANK                 NY         10290204         WEITZ & LUXENBERG, PC                                VITALE               STEPHEN               NY         01111224         WEITZ & LUXENBERG, PC
VILLECCO             NEREIDA               NY         10023203         WEITZ & LUXENBERG, PC                                VITALE               TERESA                NY         12113701         WEITZ & LUXENBERG, PC
VILLECCO             NEREIDA               NY         10290204         WEITZ & LUXENBERG, PC                                VITALE               TERESA                NY         01111224         WEITZ & LUXENBERG, PC
VILLENEUVE           ERNEST ROBERT         NY         10383899         WEITZ & LUXENBERG, PC                                VITALE               VICTOR M              NY         11316700         WEITZ & LUXENBERG, PC
VILLENEUVE           JEANNE MARIE          NY         10383899         WEITZ & LUXENBERG, PC                                VITALE               VINCENT A             NY         10713100         WEITZ & LUXENBERG, PC
VILLENEUVE           WAYNE M               NY         10740302         WEITZ & LUXENBERG, PC                                VITALI               JOSEPHINE             NY         11316800         WEITZ & LUXENBERG, PC
VILLNAVE             DANIEL MYERS          NY         02105716         WEITZ & LUXENBERG, PC                                VITALI               SEBASTIANO            NY         11316800         WEITZ & LUXENBERG, PC
VILLNAVE             LEROY H               NY         99103839         WEITZ & LUXENBERG, PC                                VITERITTI            GINA                  NY         19040809         WEITZ & LUXENBERG, PC
VILLNAVE             SANDRA                NY         99103839         WEITZ & LUXENBERG, PC                                VITERITTI            LUIGI                 NY         19040809         WEITZ & LUXENBERG, PC
VILLNAVE             SHANNON               NY         02105716         WEITZ & LUXENBERG, PC                                VITERNA              ALBERT J              NY         99108464         WEITZ & LUXENBERG, PC
VINA                 ANGELO                NY         01115465         WEITZ & LUXENBERG, PC                                VITERNA              GLADYS                NY         99108464         WEITZ & LUXENBERG, PC
VINACCIO             NUNZIO V              NY         01118865         WEITZ & LUXENBERG, PC                                VITIELLO             MARIA                 NY         02107004         WEITZ & LUXENBERG, PC
VINACCIO             PAULA                 NY         01118865         WEITZ & LUXENBERG, PC                                VITIELLO             MICHAEL J             NY         02107004         WEITZ & LUXENBERG, PC
VINCENT              JANIE                 NY         11937600         WEITZ & LUXENBERG, PC                                VITO                 BERNARD               NY         10074003         WEITZ & LUXENBERG, PC
VINCENT              OLLIE                 NY         11937600         WEITZ & LUXENBERG, PC                                VITO                 GENEVIEVE             NY         10074003         WEITZ & LUXENBERG, PC
VINCENTI             MARY                  NY         12039701         WEITZ & LUXENBERG, PC                                VITOLA               LOUIS J               NY         11787000         WEITZ & LUXENBERG, PC
VINCIE               JOSEPH F              NY         12043301         WEITZ & LUXENBERG, PC                                VITOLO               ROBERT PAUL           NY         10382799         WEITZ & LUXENBERG, PC
VINCIE               JOSEPH F              NY         12415601         WEITZ & LUXENBERG, PC                                VITRANO              CAROL A               NY         10031407         WEITZ & LUXENBERG, PC
VINCIE               MALVINE               NY         12043301         WEITZ & LUXENBERG, PC                                VITRANO              JOSEPH                NY         10031407         WEITZ & LUXENBERG, PC
VINCIE               MALVINE               NY         12415601         WEITZ & LUXENBERG, PC                                VITTI                ANTHONY               NY         10817306         WEITZ & LUXENBERG, PC
VINE                 NABINE C              NY         109038           WEITZ & LUXENBERG, PC                                VITTI                CATHERINE             NY         99103828         WEITZ & LUXENBERG, PC
VINE                 ROBERT                NY         109038           WEITZ & LUXENBERG, PC                                VITTI                EDGAR                 NY         99103828         WEITZ & LUXENBERG, PC
VINE                 ROBERT G              NY         02106692         WEITZ & LUXENBERG, PC                                VITTI                JOSEPH                NY         10817306         WEITZ & LUXENBERG, PC
VINES                PAUL G                NY         CV016949         WEITZ & LUXENBERG, PC                                VITTI                JOSEPH D              NY         10817306         WEITZ & LUXENBERG, PC
VINES                RUBY                  NY         CV016949         WEITZ & LUXENBERG, PC                                VIVIANO              HELEN                 NY         10713200         WEITZ & LUXENBERG, PC
VINES                SUSAN                 NY         10714800         WEITZ & LUXENBERG, PC                                VIVIANO              RUDOLPH CARMEN        NY         10713200         WEITZ & LUXENBERG, PC
VINES                VINCENT J             NY         10714800         WEITZ & LUXENBERG, PC                                VIVONE               ANTHONY J             NY         12213801         WEITZ & LUXENBERG, PC
VINEY                LINDA                 NY         10384199         WEITZ & LUXENBERG, PC                                VIVONE               ISABEL J              NY         12213801         WEITZ & LUXENBERG, PC
VINEY                ROBERT                NY         10384199         WEITZ & LUXENBERG, PC                                VIZI                 EVA                   NY         11966301         WEITZ & LUXENBERG, PC
VINGOE               ALBERT                NY         10384299         WEITZ & LUXENBERG, PC                                VIZI                 EVA                   NY         01111220         WEITZ & LUXENBERG, PC
VINGOE               RITA                  NY         10384299         WEITZ & LUXENBERG, PC                                VIZI                 WILLIAM               NY         11966301         WEITZ & LUXENBERG, PC
VINSANT              JOHN                  NY         11632603         WEITZ & LUXENBERG, PC                                VIZI                 WILLIAM               NY         01111220         WEITZ & LUXENBERG, PC
VINTI                ANGELA                NY         12062800         WEITZ & LUXENBERG, PC                                VIZZINI              MICHAEL               NY         12668102         WEITZ & LUXENBERG, PC
VINTI                VINCENT J             NY         12062800         WEITZ & LUXENBERG, PC                                VIZZINI              PAM                   NY         12668102         WEITZ & LUXENBERG, PC
VIOLA                LOUIS R               NY         12043201         WEITZ & LUXENBERG, PC                                VLACANCICH           ANTONIA               NY         10382999         WEITZ & LUXENBERG, PC
VIOLA                MARY ANN              NY         12043201         WEITZ & LUXENBERG, PC                                VLACANCICH           LUIGI                 NY         10382999         WEITZ & LUXENBERG, PC
VIOLA                PAT A                 NY         02113565         WEITZ & LUXENBERG, PC                                VLACANCICH           NEVIO                 NY         10382999         WEITZ & LUXENBERG, PC
VIOLA                VICTORIA              NY         02113565         WEITZ & LUXENBERG, PC                                VLACIC               VLADIMIR              NY         10151305         WEITZ & LUXENBERG, PC
VIOLANO              CATHIE                NY         12668202         WEITZ & LUXENBERG, PC                                V'LCEK               AMBER                 NY         CV021633         WEITZ & LUXENBERG, PC
VIOLANO              CATHIE                NY         10386103         WEITZ & LUXENBERG, PC                                VOELZ                WILBERT               NY         10073203         WEITZ & LUXENBERG, PC
VIOLANO              JOHN ANTHONY          NY         12668202         WEITZ & LUXENBERG, PC                                VOGAL                DOUGLAS               NY         12668102         WEITZ & LUXENBERG, PC
VIOLANO              JOHN ANTHONY          NY         10386103         WEITZ & LUXENBERG, PC                                VOGEL                CLIFFORD R            NY         11316200         WEITZ & LUXENBERG, PC
VIOLANO              JOSEPH                NY         12668202         WEITZ & LUXENBERG, PC                                VOGEL                EDWIN                 NY         11502000         WEITZ & LUXENBERG, PC
VIOLANO              JOSEPH                NY         10386103         WEITZ & LUXENBERG, PC                                VOGEL                ELSIE                 NY         11316200         WEITZ & LUXENBERG, PC
VIOLANTE             CHARLES               NY         10713000         WEITZ & LUXENBERG, PC                                VOGLER               ROBERT J              NY         12043301         WEITZ & LUXENBERG, PC
VIOLE                LILLIAN               NY         10382599         WEITZ & LUXENBERG, PC                                VOGLER               ROBERT J              NY         12415501         WEITZ & LUXENBERG, PC
VIOLE                WILLIAM R             NY         10382599         WEITZ & LUXENBERG, PC                                VOGLER               WINIFRED              NY         12043301         WEITZ & LUXENBERG, PC
VIOLETTE             DESIREE               NY         10086803         WEITZ & LUXENBERG, PC                                VOGLER               WINIFRED              NY         12415501         WEITZ & LUXENBERG, PC
VIRGILIO             EDWARD F              NY         1901082016       WEITZ & LUXENBERG, PC                                VOGT                 JACK R                NY         10713300         WEITZ & LUXENBERG, PC
VIRGILIO             LOUISE                NY         1901082016       WEITZ & LUXENBERG, PC                                VOGT                 JOAN                  NY         10074103         WEITZ & LUXENBERG, PC
VISCOMI              ANGELINA              NY         12039801         WEITZ & LUXENBERG, PC                                VOGT                 REGINA C              NY         10713300         WEITZ & LUXENBERG, PC
VISCOMI              ANTHONY               NY         12039801         WEITZ & LUXENBERG, PC                                VOGT                 WILLIAM M             NY         10074103         WEITZ & LUXENBERG, PC
VISCUSI              BERNARDINO            NY         11318400         WEITZ & LUXENBERG, PC                                VOIGT                OTTO                  NY         11317000         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1089
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 424 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

VOIGT                PRIGIDA               NY         11317000         WEITZ & LUXENBERG, PC                                WADE                 JAMES E               NY         12433902         WEITZ & LUXENBERG, PC
VOLK                 EDWARD J              NY         11317100         WEITZ & LUXENBERG, PC                                WADE                 JEAN P                NY         11159003         WEITZ & LUXENBERG, PC
VOLK                 ELAINE                NY         11317100         WEITZ & LUXENBERG, PC                                WADE                 ROBERT V              NY         11159003         WEITZ & LUXENBERG, PC
VOLMER               EUGENE W              NY         11317200         WEITZ & LUXENBERG, PC                                WAGER                EUGENE                NY         02106690         WEITZ & LUXENBERG, PC
VOLONINO             JUDITH                NY         11317300         WEITZ & LUXENBERG, PC                                WAGER                EUGENE                NY         11377302         WEITZ & LUXENBERG, PC
VOLONINO             ROBERT F              NY         11317300         WEITZ & LUXENBERG, PC                                WAGER                JEAN                  NY         02106690         WEITZ & LUXENBERG, PC
VOLPE                ANGELA                NY         10700102         WEITZ & LUXENBERG, PC                                WAGER                JEAN                  NY         11377302         WEITZ & LUXENBERG, PC
VOLPE                ANTHONY               NY         10700102         WEITZ & LUXENBERG, PC                                WAGER                KATHLEEN              NY         99108610         WEITZ & LUXENBERG, PC
VOLPE                ANTONIO               NY         11317400         WEITZ & LUXENBERG, PC                                WAGER                LEONARD               NY         99108610         WEITZ & LUXENBERG, PC
VOLPE                JOHN J                NY         99103832         WEITZ & LUXENBERG, PC                                WAGLEY               LOIS M                NY         CV016952         WEITZ & LUXENBERG, PC
VOLPE                PAULA F               NY         99103832         WEITZ & LUXENBERG, PC                                WAGMAN               ALEX                  NY         11158903         WEITZ & LUXENBERG, PC
VOLPE                ROSE                  NY         11317400         WEITZ & LUXENBERG, PC                                WAGMAN               ALEX                  NY         11207403         WEITZ & LUXENBERG, PC
VOLTZ                EDWARD JOHN           NY         11327902         WEITZ & LUXENBERG, PC                                WAGMAN               CLAUDIA SUE           NY         11158903         WEITZ & LUXENBERG, PC
VOLTZ                THERESE               NY         11327902         WEITZ & LUXENBERG, PC                                WAGMAN               CLAUDIA SUE           NY         11207403         WEITZ & LUXENBERG, PC
VOLZ                 JOHN K                NY         I20019068        WEITZ & LUXENBERG, PC                                WAGNER               ALEN BRUCE            NY         01CIV3900        WEITZ & LUXENBERG, PC
VOLZ                 MELANIE               NY         I20019068        WEITZ & LUXENBERG, PC                                WAGNER               ARTHUR                NY         10587602         WEITZ & LUXENBERG, PC
VON DER HEIDE        LUCIE E               NY         10720501         WEITZ & LUXENBERG, PC                                WAGNER               ARTHUR                NY         10973102         WEITZ & LUXENBERG, PC
VON DER HEIDE        LUCIE E               NY         11937600         WEITZ & LUXENBERG, PC                                WAGNER               ARTHUR C              NY         10852904         WEITZ & LUXENBERG, PC
VON DER HEIDE        WERNER J              NY         10720501         WEITZ & LUXENBERG, PC                                WAGNER               BARBARA E             NY         10780000         WEITZ & LUXENBERG, PC
VON DER HEIDE        WERNER J              NY         11937600         WEITZ & LUXENBERG, PC                                WAGNER               CONSTANCE             NY         01108105         WEITZ & LUXENBERG, PC
VON DER HEYDT        KARL                  NY         12039301         WEITZ & LUXENBERG, PC                                WAGNER               ELEANOR J             NY         02105713         WEITZ & LUXENBERG, PC
VON DOLLN            GEORGE                NY         1903372013       WEITZ & LUXENBERG, PC                                WAGNER               ELEANOR J             NY         11257402         WEITZ & LUXENBERG, PC
VON RAPACKI          LOIS                  NY         01111234         WEITZ & LUXENBERG, PC                                WAGNER               HAROLD A              NY         10780000         WEITZ & LUXENBERG, PC
VON RAPACKI          LOIS                  NY         11920601         WEITZ & LUXENBERG, PC                                WAGNER               HENRY                 NY         11502300         WEITZ & LUXENBERG, PC
VON RAPACKI          RONALD T              NY         01111234         WEITZ & LUXENBERG, PC                                WAGNER               JOAN                  NY         10780000         WEITZ & LUXENBERG, PC
VON RAPACKI          RONALD T              NY         11920601         WEITZ & LUXENBERG, PC                                WAGNER               JUDY                  NY         2011002478       WEITZ & LUXENBERG, PC
VON STETINA          JOANNE                NY         11327802         WEITZ & LUXENBERG, PC                                WAGNER               LOIS                  NY         10852904         WEITZ & LUXENBERG, PC
VON STETINA          MICHAEL F             NY         11327802         WEITZ & LUXENBERG, PC                                WAGNER               LORRAINE              NY         11026702         WEITZ & LUXENBERG, PC
VONHOLLE             HOWARD B              NY         19022411         WEITZ & LUXENBERG, PC                                WAGNER               MARGARET              NY         10382299         WEITZ & LUXENBERG, PC
VONO                 RICHARD               NY         1900542016       WEITZ & LUXENBERG, PC                                WAGNER               MARGRIT               NY         11502300         WEITZ & LUXENBERG, PC
VORNDRAN             CHARLES P             NY         11394902         WEITZ & LUXENBERG, PC                                WAGNER               MARK P                NY         I20019695        WEITZ & LUXENBERG, PC
VORNDRAN             CHARLES W             NY         10658102         WEITZ & LUXENBERG, PC                                WAGNER               MARY EVA              NY         11787100         WEITZ & LUXENBERG, PC
VORNDRAN             CHARLES W             NY         11394902         WEITZ & LUXENBERG, PC                                WAGNER               MICKEY T              NY         01CIV3900        WEITZ & LUXENBERG, PC
VORNDRAN             HELEN                 NY         11394902         WEITZ & LUXENBERG, PC                                WAGNER               NORMAN C              NY         02105713         WEITZ & LUXENBERG, PC
VORNDRAN             HELEN                 NY         10658102         WEITZ & LUXENBERG, PC                                WAGNER               NORMAN C              NY         11257402         WEITZ & LUXENBERG, PC
VORNDRAN             NANCY E               NY         11394902         WEITZ & LUXENBERG, PC                                WAGNER               NORMAN L              NY         2011002478       WEITZ & LUXENBERG, PC
VOSBURG              MONNIE                NY         CV018218         WEITZ & LUXENBERG, PC                                WAGNER               PATRICIA A            NY         10571702         WEITZ & LUXENBERG, PC
VOSBURG              SIDNEY KEATHLEY       NY         CV018218         WEITZ & LUXENBERG, PC                                WAGNER               PATRICK M             NY         10382299         WEITZ & LUXENBERG, PC
VOSEFSKI             JOSAINE               NY         99120102         WEITZ & LUXENBERG, PC                                WAGNER               RAYMOND L             NY         11787100         WEITZ & LUXENBERG, PC
VOSSELER             LORETTA               NY         12802402         WEITZ & LUXENBERG, PC                                WAGNER               RITA                  NY         10973102         WEITZ & LUXENBERG, PC
VOSSELER             RICHARD               NY         12802402         WEITZ & LUXENBERG, PC                                WAGNER               ROBERT                NY         10713600         WEITZ & LUXENBERG, PC
VOTA                 EMILE                 NY         1900672015       WEITZ & LUXENBERG, PC                                WAGNER               RONALD J              NY         11026702         WEITZ & LUXENBERG, PC
VOTA                 MARY ANNE             NY         1900672015       WEITZ & LUXENBERG, PC                                WAGNER               THOMAS                NY         01108105         WEITZ & LUXENBERG, PC
VOTKE                CHARLES               NY         1903842013       WEITZ & LUXENBERG, PC                                WAGNER               TIMOTHY J             NY         10780000         WEITZ & LUXENBERG, PC
VOTTERO              CHRISTINE P           NY         11315900         WEITZ & LUXENBERG, PC                                WAHL                 EDWARD J              NY         10696502         WEITZ & LUXENBERG, PC
VOTTERO              EDWARD L              NY         11315900         WEITZ & LUXENBERG, PC                                WAHLERS              MARTIN K              NY         11316000         WEITZ & LUXENBERG, PC
VOYZEY               DONALD I              NY         11502200         WEITZ & LUXENBERG, PC                                WAHLERS              PRISCILLA             NY         11316000         WEITZ & LUXENBERG, PC
VRANICK              JOHN DAVID            NY         01111223         WEITZ & LUXENBERG, PC                                WAINWRIGHT           JACK                  NY         12039501         WEITZ & LUXENBERG, PC
VREELAND             FORREST               NY         8055712017       WEITZ & LUXENBERG, PC                                WAINWRIGHT           TRUDY                 NY         12039501         WEITZ & LUXENBERG, PC
VRIENT               BAZIEL W              NY         1901052014       WEITZ & LUXENBERG, PC                                WAITE                DOROTHY               NY         11316100         WEITZ & LUXENBERG, PC
VRIESEMA             ELIZABETH             NY         192086           WEITZ & LUXENBERG, PC                                WAITE                EARL L                NY         11316900         WEITZ & LUXENBERG, PC
VRIESEMA             SAMUEL                NY         192086           WEITZ & LUXENBERG, PC                                WAITE                LOUISE                NY         11316900         WEITZ & LUXENBERG, PC
VUKOVIC              CHARLES               NY         99103820         WEITZ & LUXENBERG, PC                                WAITE                WILLIAM K             NY         11316100         WEITZ & LUXENBERG, PC
VUKOVIC              ROBERT                NY         99103820         WEITZ & LUXENBERG, PC                                WAKEFIELD            ARTHUR J              NY         01111236         WEITZ & LUXENBERG, PC
VUKOVIC              RUTH                  NY         99103820         WEITZ & LUXENBERG, PC                                WALCZAK              JAMES R               NY         02106693         WEITZ & LUXENBERG, PC
VUMBACA              JOSEPH                NY         10713400         WEITZ & LUXENBERG, PC                                WALCZAK              KATHLEEN              NY         02106693         WEITZ & LUXENBERG, PC
VUOLO                MARY ANN              NY         12038403         WEITZ & LUXENBERG, PC                                WALCZAK              SYLVIA                NY         10587502         WEITZ & LUXENBERG, PC
VUOLO                PASQUALE              NY         01111230         WEITZ & LUXENBERG, PC                                WALCZAK              SYLVIA                NY         11004802         WEITZ & LUXENBERG, PC
WAAGE                BEATRICE              NY         10720401         WEITZ & LUXENBERG, PC                                WALD                 RICHARD P             NY         8042352017       WEITZ & LUXENBERG, PC
WAAGE                BEATRICE              NY         11937600         WEITZ & LUXENBERG, PC                                WALD                 RICHARD P             NY         02107004         WEITZ & LUXENBERG, PC
WAAGE                MAX                   NY         10720401         WEITZ & LUXENBERG, PC                                WALDEN               EDWARD J              NY         10721508         WEITZ & LUXENBERG, PC
WAAGE                MAX                   NY         11937600         WEITZ & LUXENBERG, PC                                WALDEN               GEORGE                NY         10720201         WEITZ & LUXENBERG, PC
WABINOSKI            FRANCIHE              NY         11026702         WEITZ & LUXENBERG, PC                                WALDEN               GEORGE                NY         11937600         WEITZ & LUXENBERG, PC
WABINOSKI            JOSEPH J              NY         11026702         WEITZ & LUXENBERG, PC                                WALDEN               MARY                  NY         10721508         WEITZ & LUXENBERG, PC
WACHOWSKI            EMILY                 NY         10382199         WEITZ & LUXENBERG, PC                                WALDEN               MILDRED               NY         10720201         WEITZ & LUXENBERG, PC
WACHOWSKI            THOMAS J              NY         10382199         WEITZ & LUXENBERG, PC                                WALDEN               MILDRED               NY         11937600         WEITZ & LUXENBERG, PC
WADDELL              KRISTA                NY         12081099         WEITZ & LUXENBERG, PC                                WALDHEIM             BARBARA               NY         1902922015       WEITZ & LUXENBERG, PC
WADE                 ANTHONY EUCARIA       NY         11674407         WEITZ & LUXENBERG, PC                                WALDHEIM             GARY E                NY         1902922015       WEITZ & LUXENBERG, PC
WADE                 CAROL ANN             NY         12433902         WEITZ & LUXENBERG, PC                                WALDIE               CAROL ANN             NY         10713700         WEITZ & LUXENBERG, PC
WADE                 GEORGE D              NY         02113280         WEITZ & LUXENBERG, PC                                WALDIE               WILLIAM A             NY         10713700         WEITZ & LUXENBERG, PC
WADE                 IRENE                 NY         11674407         WEITZ & LUXENBERG, PC                                WALDON               ROBERT O              NY         1900872019       WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1090
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 425 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WALDRON              EDWARD L              NY         99103981         WEITZ & LUXENBERG, PC                                WALLA                ROBERT                NY         12381301         WEITZ & LUXENBERG, PC
WALDRON              FRANK                 NY         11316300         WEITZ & LUXENBERG, PC                                WALLACE              AGENOR CLINTON        NY         CV017607         WEITZ & LUXENBERG, PC
WALDRON              ILENE                 NY         11095600         WEITZ & LUXENBERG, PC                                WALLACE              DOROTHY               NY         CV017607         WEITZ & LUXENBERG, PC
WALDRON              ILENE                 NY         10835100         WEITZ & LUXENBERG, PC                                WALLACE              EUNICE                NY         1902432012       WEITZ & LUXENBERG, PC
WALDRON              NANCY                 NY         11316300         WEITZ & LUXENBERG, PC                                WALLACE              HENRY                 NY         01CIV3910        WEITZ & LUXENBERG, PC
WALDRON              PETER P               NY         1903602018       WEITZ & LUXENBERG, PC                                WALLACE              JOANNE LIPUMA         NY         10328899         WEITZ & LUXENBERG, PC
WALDRUFF             DALE E                NY         10696302         WEITZ & LUXENBERG, PC                                WALLACE              LALET B               NY         01CIV3910        WEITZ & LUXENBERG, PC
WALDRUFF             TERRY                 NY         10696302         WEITZ & LUXENBERG, PC                                WALLACE              MURRY L               NY         1902432012       WEITZ & LUXENBERG, PC
WALGATE              RICHARD               NY         02106693         WEITZ & LUXENBERG, PC                                WALLACE              VANESSA               NY         11395601         WEITZ & LUXENBERG, PC
WALK                 JOHN PHILLIP          NY         10740402         WEITZ & LUXENBERG, PC                                WALLDORF             ASTOR H               NY         12038801         WEITZ & LUXENBERG, PC
WALKER               ALICE D               NY         11502500         WEITZ & LUXENBERG, PC                                WALLENDAEL           KATHLEEN VAN          NY         10562300         WEITZ & LUXENBERG, PC
WALKER               ALMA S                NY         01CIV3900        WEITZ & LUXENBERG, PC                                WALLING              JAMES                 NY         19040311         WEITZ & LUXENBERG, PC
WALKER               ANGELA                NY         CV017641         WEITZ & LUXENBERG, PC                                WALLING              SUSAN                 NY         19040311         WEITZ & LUXENBERG, PC
WALKER               CAROL                 NY         10871201         WEITZ & LUXENBERG, PC                                WALLIS               ELSTON C              NY         10719901         WEITZ & LUXENBERG, PC
WALKER               CHARLES L             NY         11309398         WEITZ & LUXENBERG, PC                                WALLIS               ELSTON C              NY         11937600         WEITZ & LUXENBERG, PC
WALKER               CLEVELAND L           NY         CV013278         WEITZ & LUXENBERG, PC                                WALLIS               EUGENE MARTIN         NY         11937600         WEITZ & LUXENBERG, PC
WALKER               CLIFFORD A            NY         10720101         WEITZ & LUXENBERG, PC                                WALLIS               JUDY                  NY         10719901         WEITZ & LUXENBERG, PC
WALKER               CLIFFORD A            NY         11937600         WEITZ & LUXENBERG, PC                                WALLIS               JUDY                  NY         11937600         WEITZ & LUXENBERG, PC
WALKER               DIANN P               NY         I20019451        WEITZ & LUXENBERG, PC                                WALLIS               RUTH                  NY         01CIV3900        WEITZ & LUXENBERG, PC
WALKER               DONALD                NY         11316400         WEITZ & LUXENBERG, PC                                WALLIS               SHARLENE I            NY         11937600         WEITZ & LUXENBERG, PC
WALKER               DONALD E              NY         11316500         WEITZ & LUXENBERG, PC                                WALPOLE              JUDITH                NY         10871201         WEITZ & LUXENBERG, PC
WALKER               DORIS                 NY         11316400         WEITZ & LUXENBERG, PC                                WALPOLE              LAWRENCE E            NY         10871201         WEITZ & LUXENBERG, PC
WALKER               DOROTHY               NY         10720101         WEITZ & LUXENBERG, PC                                WALRICK              GOLDIE                NY         10039603         WEITZ & LUXENBERG, PC
WALKER               DOROTHY               NY         11937600         WEITZ & LUXENBERG, PC                                WALRICK              GOLDIE                NY         10802403         WEITZ & LUXENBERG, PC
WALKER               DOROTHY               NY         CV013278         WEITZ & LUXENBERG, PC                                WALRICK              SEYMOUR               NY         10039603         WEITZ & LUXENBERG, PC
WALKER               DOUGLAS J             NY         12043201         WEITZ & LUXENBERG, PC                                WALRICK              SEYMOUR               NY         10802403         WEITZ & LUXENBERG, PC
WALKER               EDWARD F              NY         11502400         WEITZ & LUXENBERG, PC                                WALROND              DOUGLAS               NY         00CIV1204        WEITZ & LUXENBERG, PC
WALKER               ELIZABETH             NY         10300301         WEITZ & LUXENBERG, PC                                WALROND              LERA                  NY         00CIV1204        WEITZ & LUXENBERG, PC
WALKER               FLOSSIE L             NY         10327799         WEITZ & LUXENBERG, PC                                WALSH                BARBARA               NY         97119447         WEITZ & LUXENBERG, PC
WALKER               GERALD R              NY         10670802         WEITZ & LUXENBERG, PC                                WALSH                BARBARA               NY         11315400         WEITZ & LUXENBERG, PC
WALKER               JAMES E               NY         99108463         WEITZ & LUXENBERG, PC                                WALSH                CAROLYN               NY         11315700         WEITZ & LUXENBERG, PC
WALKER               JEAN                  NY         02CIV2365        WEITZ & LUXENBERG, PC                                WALSH                CATHERINE             NY         12039601         WEITZ & LUXENBERG, PC
WALKER               JESSE T               NY         02CIV2365        WEITZ & LUXENBERG, PC                                WALSH                CATHERINE             NY         11315300         WEITZ & LUXENBERG, PC
WALKER               JOE L                 NY         11316600         WEITZ & LUXENBERG, PC                                WALSH                CATHERINE             NY         11315500         WEITZ & LUXENBERG, PC
WALKER               JOHN                  NY         11502500         WEITZ & LUXENBERG, PC                                WALSH                CATHERINE             NY         11001103         WEITZ & LUXENBERG, PC
WALKER               JOHN H                NY         10720001         WEITZ & LUXENBERG, PC                                WALSH                DONALD                NY         97119447         WEITZ & LUXENBERG, PC
WALKER               JOHN H                NY         11937600         WEITZ & LUXENBERG, PC                                WALSH                DOROTHY               NY         11315300         WEITZ & LUXENBERG, PC
WALKER               JOHN P                NY         11502600         WEITZ & LUXENBERG, PC                                WALSH                EDWARD R              NY         12039901         WEITZ & LUXENBERG, PC
WALKER               KATHLEEN              NY         11315200         WEITZ & LUXENBERG, PC                                WALSH                EVA M                 NY         1900792014       WEITZ & LUXENBERG, PC
WALKER               MARCIA A              NY         10587202         WEITZ & LUXENBERG, PC                                WALSH                JACQUELINE            NY         99108609         WEITZ & LUXENBERG, PC
WALKER               MARCIA A              NY         12668502         WEITZ & LUXENBERG, PC                                WALSH                JAMES A               NY         10074103         WEITZ & LUXENBERG, PC
WALKER               MARCIA A              NY         10818502         WEITZ & LUXENBERG, PC                                WALSH                JAMES F               NY         12039501         WEITZ & LUXENBERG, PC
WALKER               MARCIA A              NY         10334403         WEITZ & LUXENBERG, PC                                WALSH                JAMES P               NY         99108609         WEITZ & LUXENBERG, PC
WALKER               MARY ESTHER           NY         CV025685         WEITZ & LUXENBERG, PC                                WALSH                JAMES PATRICK         NY         10700102         WEITZ & LUXENBERG, PC
WALKER               MAUREEN A             NY         11316500         WEITZ & LUXENBERG, PC                                WALSH                JOAN                  NY         10574701         WEITZ & LUXENBERG, PC
WALKER               MELVIN FRED           NY         CV017641         WEITZ & LUXENBERG, PC                                WALSH                JOHN                  NY         11315300         WEITZ & LUXENBERG, PC
WALKER               MERRVIN               NY         01CIV3900        WEITZ & LUXENBERG, PC                                WALSH                JOHN A                NY         11001103         WEITZ & LUXENBERG, PC
WALKER               MILDRED               NY         10720001         WEITZ & LUXENBERG, PC                                WALSH                JOHN EDWARD           NY         11937600         WEITZ & LUXENBERG, PC
WALKER               MILDRED               NY         11937600         WEITZ & LUXENBERG, PC                                WALSH                JOHN F                NY         10556302         WEITZ & LUXENBERG, PC
WALKER               NANCY                 NY         10696402         WEITZ & LUXENBERG, PC                                WALSH                JOSEPHINE             NY         10556302         WEITZ & LUXENBERG, PC
WALKER               NORMA                 NY         11309398         WEITZ & LUXENBERG, PC                                WALSH                KATHLEEN              NY         10074103         WEITZ & LUXENBERG, PC
WALKER               PATRICIA              NY         11502600         WEITZ & LUXENBERG, PC                                WALSH                KENNETH G             NY         99102966         WEITZ & LUXENBERG, PC
WALKER               ROBERT                NY         10871201         WEITZ & LUXENBERG, PC                                WALSH                KEVIN J               NY         10127706         WEITZ & LUXENBERG, PC
WALKER               RUSSELL L             NY         10696402         WEITZ & LUXENBERG, PC                                WALSH                LINDA                 NY         99102966         WEITZ & LUXENBERG, PC
WALKER               THEODORE F            NY         10300301         WEITZ & LUXENBERG, PC                                WALSH                LOUISE                NY         12043201         WEITZ & LUXENBERG, PC
WALKER               VIVIAN TIMS           NY         01CIV3898        WEITZ & LUXENBERG, PC                                WALSH                MARGARET              NY         12039501         WEITZ & LUXENBERG, PC
WALKER               WAYMAN                NY         10327799         WEITZ & LUXENBERG, PC                                WALSH                MARLIYN               NY         11026902         WEITZ & LUXENBERG, PC
WALKER               WAYNE                 NY         11315200         WEITZ & LUXENBERG, PC                                WALSH                MARY                  NY         11315600         WEITZ & LUXENBERG, PC
WALKER               WILLIE A              NY         02122050         WEITZ & LUXENBERG, PC                                WALSH                MAUREEN               NY         12039901         WEITZ & LUXENBERG, PC
WALKER               WILLIE LEE            NY         CV025685         WEITZ & LUXENBERG, PC                                WALSH                MAURICE T             NY         10574701         WEITZ & LUXENBERG, PC
WALL                 DANIEL                NY         10710002         WEITZ & LUXENBERG, PC                                WALSH                PATRICK               NY         99108449         WEITZ & LUXENBERG, PC
WALL                 FERREL HAROLD         NY         CV020074         WEITZ & LUXENBERG, PC                                WALSH                PHILIP J              NY         11937600         WEITZ & LUXENBERG, PC
WALL                 JANET C               NY         01111234         WEITZ & LUXENBERG, PC                                WALSH                ROBERT A              NY         11315500         WEITZ & LUXENBERG, PC
WALL                 JANET C               NY         11920701         WEITZ & LUXENBERG, PC                                WALSH                ROSE ANN              NY         11937600         WEITZ & LUXENBERG, PC
WALL                 JOHN M                NY         01111234         WEITZ & LUXENBERG, PC                                WALSH                STEPHEN               NY         10961803         WEITZ & LUXENBERG, PC
WALL                 JOHN M                NY         11920701         WEITZ & LUXENBERG, PC                                WALSH                THOMAS J              NY         12043201         WEITZ & LUXENBERG, PC
WALL                 JOSEPH                NY         11696304         WEITZ & LUXENBERG, PC                                WALSH                THOMAS J              NY         11315600         WEITZ & LUXENBERG, PC
WALL                 LAVONNE               NY         CV020074         WEITZ & LUXENBERG, PC                                WALSH                THOMAS P JR           NY         11315400         WEITZ & LUXENBERG, PC
WALL                 MARIE                 NY         10710002         WEITZ & LUXENBERG, PC                                WALSH                WILLIAM J             NY         12039601         WEITZ & LUXENBERG, PC
WALL                 ROSE                  NY         11696304         WEITZ & LUXENBERG, PC                                WALSH                WILLIAM J             NY         11315700         WEITZ & LUXENBERG, PC
WALLA                CONSTANCE             NY         12381301         WEITZ & LUXENBERG, PC                                WALSH                WILLIAM J             NY         11026902         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1091
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                      Desc
                                                                                                      Complaint-Part 2 Page 426 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name      Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WALTER               GERALD                NY         10639900         WEITZ & LUXENBERG, PC                                WARD                    JOSEPH                NY         10700302         WEITZ & LUXENBERG, PC
WALTER               GERALDINE J           NY         02107004         WEITZ & LUXENBERG, PC                                WARD                    JOY MARIE             NY         CV015515         WEITZ & LUXENBERG, PC
WALTER               MARY M                NY         11502700         WEITZ & LUXENBERG, PC                                WARD                    LAINE                 NY         10326799         WEITZ & LUXENBERG, PC
WALTER               MICHELLE              NY         10700102         WEITZ & LUXENBERG, PC                                WARD                    OLA                   NY         11937600         WEITZ & LUXENBERG, PC
WALTER               MICHELLE              NY         11191402         WEITZ & LUXENBERG, PC                                WARD                    RONALD D              NY         1903342013       WEITZ & LUXENBERG, PC
WALTER               PETER A               NY         11502700         WEITZ & LUXENBERG, PC                                WARD                    RONNIE GAINES         NY         CV018220         WEITZ & LUXENBERG, PC
WALTER               RICHARD P             NY         02107004         WEITZ & LUXENBERG, PC                                WARD                    SHELIA D              NY         11058400         WEITZ & LUXENBERG, PC
WALTER               WILLIAM A             NY         10700102         WEITZ & LUXENBERG, PC                                WARD                    SHELIA D              NY         10835600         WEITZ & LUXENBERG, PC
WALTER               WILLIAM A             NY         11191402         WEITZ & LUXENBERG, PC                                WARD                    THURMAN               NY         CV012744         WEITZ & LUXENBERG, PC
WALTERS              CAROL A               NY         11125604         WEITZ & LUXENBERG, PC                                WARD                    THURMAN GLENDON       NY         CV015515         WEITZ & LUXENBERG, PC
WALTERS              CLAYTON               NY         10327299         WEITZ & LUXENBERG, PC                                WARD                    TIMOTHY               NY         CV015338         WEITZ & LUXENBERG, PC
WALTERS              CURTIS                NY         10031707         WEITZ & LUXENBERG, PC                                WARD                    WILLIAM               NY         11159403         WEITZ & LUXENBERG, PC
WALTERS              CURTIS A              NY         11125604         WEITZ & LUXENBERG, PC                                WARD                    WILLIAM               NY         11937600         WEITZ & LUXENBERG, PC
WALTERS              DOYCE DEAN            NY         01CIV3900        WEITZ & LUXENBERG, PC                                WARD                    WILLIAM H             NY         11026702         WEITZ & LUXENBERG, PC
WALTERS              FRANCES M             NY         I20019694        WEITZ & LUXENBERG, PC                                WARDELL                 ELMONT                NY         10085503         WEITZ & LUXENBERG, PC
WALTERS              GARY F                NY         10713800         WEITZ & LUXENBERG, PC                                WARDELL                 MARGARET              NY         10085503         WEITZ & LUXENBERG, PC
WALTERS              JEANNE                NY         11115605         WEITZ & LUXENBERG, PC                                WARDEN                  LORRAINE MARY         NY         01CIV3901        WEITZ & LUXENBERG, PC
WALTERS              JOHN E                NY         11115605         WEITZ & LUXENBERG, PC                                WARDROP                 DIANE                 NY         10842099         WEITZ & LUXENBERG, PC
WALTERS              KENNETH               NY         10031707         WEITZ & LUXENBERG, PC                                WARDROP                 ROBERT A              NY         10842099         WEITZ & LUXENBERG, PC
WALTERS              MARYANN               NY         01CIV3900        WEITZ & LUXENBERG, PC                                WARE                    CONSTANCE WARE        NY         CV016247         WEITZ & LUXENBERG, PC
WALTERS              RALPH S               NY         I20019694        WEITZ & LUXENBERG, PC                                WARE                    DEBORAH A             PA         191202831        WEITZ & LUXENBERG, PC
WALTHER              MARY JEAN             NY         1900662018       WEITZ & LUXENBERG, PC                                WARE                    FLOYD D               NY         01CIV3900        WEITZ & LUXENBERG, PC
WALTHER              ROBERT JOHN           NY         1900662018       WEITZ & LUXENBERG, PC                                WARE                    FRANK G               PA         191202831        WEITZ & LUXENBERG, PC
WALTHERS             KENNETH J             NY         10700102         WEITZ & LUXENBERG, PC                                WARE                    GEORGE                NY         CV025685         WEITZ & LUXENBERG, PC
WALTHERS             WILLIAM               NY         10721601         WEITZ & LUXENBERG, PC                                WARE                    PATSY ROSE            NY         01CIV3900        WEITZ & LUXENBERG, PC
WALTHERS             WILLIAM               NY         11937600         WEITZ & LUXENBERG, PC                                WARE                    RAYMOND J             NY         CV016247         WEITZ & LUXENBERG, PC
WALTON               CAROLYN               NY         20012402         WEITZ & LUXENBERG, PC                                WARE                    ROBERT L              NY         CV015700         WEITZ & LUXENBERG, PC
WALTON               EDWARD S              NY         20012402         WEITZ & LUXENBERG, PC                                WARENDA                 RONALD J              NY         10326399         WEITZ & LUXENBERG, PC
WALTON               ERIC                  NY         12038901         WEITZ & LUXENBERG, PC                                WARGAS                  KENNETH               NY         11032306         WEITZ & LUXENBERG, PC
WALTON               MARGARITE             NY         12038901         WEITZ & LUXENBERG, PC                                WARGAS                  NANCY J               NY         11032306         WEITZ & LUXENBERG, PC
WALTON               MARY JANE             NY         10680702         WEITZ & LUXENBERG, PC                                WARING                  MONICA                NY         01111234         WEITZ & LUXENBERG, PC
WALTON               WILLIAM S             NY         10680702         WEITZ & LUXENBERG, PC                                WARING                  MONICA                NY         11920801         WEITZ & LUXENBERG, PC
WALTS                DAVID B               NY         20015817         WEITZ & LUXENBERG, PC                                WARING                  THOMAS E              NY         01111234         WEITZ & LUXENBERG, PC
WALTS                RONALD J              NY         99103271         WEITZ & LUXENBERG, PC                                WARING                  THOMAS E              NY         11920801         WEITZ & LUXENBERG, PC
WALTS                SUSAN M               NY         20015817         WEITZ & LUXENBERG, PC                                WARKENTHIEN             BERNARD               NY         10721301         WEITZ & LUXENBERG, PC
WALTZ                MARY E                NY         12347101         WEITZ & LUXENBERG, PC                                WARKENTHIEN             BERNARD               NY         11937600         WEITZ & LUXENBERG, PC
WALTZ                ROBERT L              NY         99103269         WEITZ & LUXENBERG, PC                                WARKENTHIEN-D'ALESSIO   DEBORA                NY         10721301         WEITZ & LUXENBERG, PC
WALTZ                VERONICA              NY         99103269         WEITZ & LUXENBERG, PC                                WARKENTHIEN-D'ALESSIO   DEBORA                NY         11937600         WEITZ & LUXENBERG, PC
WALTZ                WILLIAM J             NY         12347101         WEITZ & LUXENBERG, PC                                WARN                    ELROY                 NY         11770003         WEITZ & LUXENBERG, PC
WALTZ                WILLIAM J             NY         01111227         WEITZ & LUXENBERG, PC                                WARN                    ESPERANZA             NY         11770003         WEITZ & LUXENBERG, PC
WALZ                 JENNIE                NY         10713900         WEITZ & LUXENBERG, PC                                WARNER                  DAVID GORDON          NY         10700002         WEITZ & LUXENBERG, PC
WALZ                 JOAN                  NY         01111226         WEITZ & LUXENBERG, PC                                WARNER                  DAWN                  NY         02106690         WEITZ & LUXENBERG, PC
WALZ                 RAYMOND G             NY         10713900         WEITZ & LUXENBERG, PC                                WARNER                  DEBRA                 NY         1900042019       WEITZ & LUXENBERG, PC
WALZ                 RICHARD J             NY         01111226         WEITZ & LUXENBERG, PC                                WARNER                  GRACE                 NY         11085805         WEITZ & LUXENBERG, PC
WANECSKI             EUGENE C              NY         10587102         WEITZ & LUXENBERG, PC                                WARNER                  HAROLD                NY         12039501         WEITZ & LUXENBERG, PC
WANECSKI             NANCY L               NY         10587102         WEITZ & LUXENBERG, PC                                WARNER                  HENRY                 NY         1900042019       WEITZ & LUXENBERG, PC
WANGERMAN            GEORGE R              NY         10871201         WEITZ & LUXENBERG, PC                                WARNER                  JOHN W                NY         10740002         WEITZ & LUXENBERG, PC
WAPEN                FRANCIS A             NY         10721501         WEITZ & LUXENBERG, PC                                WARNER                  KEVIN                 NY         02106690         WEITZ & LUXENBERG, PC
WAPEN                FRANCIS A             NY         11937600         WEITZ & LUXENBERG, PC                                WARNER                  MARYANN               NY         12039501         WEITZ & LUXENBERG, PC
WAPEN                KATHERINE             NY         10721501         WEITZ & LUXENBERG, PC                                WARNER                  RICHARD A             NY         11085805         WEITZ & LUXENBERG, PC
WAPEN                KATHERINE             NY         11937600         WEITZ & LUXENBERG, PC                                WARNER                  ROBERT B              NY         10587002         WEITZ & LUXENBERG, PC
WAPPMAN              DAVID C               NY         10716802         WEITZ & LUXENBERG, PC                                WARREN                  CHARLES J             NY         99108438         WEITZ & LUXENBERG, PC
WARCHOLA             DENIS A               NY         99108461         WEITZ & LUXENBERG, PC                                WARREN                  DONNA MARIE           NY         10721201         WEITZ & LUXENBERG, PC
WARCHOLA             LYNN                  NY         99108461         WEITZ & LUXENBERG, PC                                WARREN                  DONNA MARIE           NY         11937600         WEITZ & LUXENBERG, PC
WARD                 ANN L                 NY         11065902         WEITZ & LUXENBERG, PC                                WARREN                  JAMES                 NY         10721201         WEITZ & LUXENBERG, PC
WARD                 ANN L                 NY         11027002         WEITZ & LUXENBERG, PC                                WARREN                  JAMES                 NY         11937600         WEITZ & LUXENBERG, PC
WARD                 ARTHUR                NY         10326799         WEITZ & LUXENBERG, PC                                WARREN                  JOHN A                NY         11260900         WEITZ & LUXENBERG, PC
WARD                 BOBBY                 NY         CV015336         WEITZ & LUXENBERG, PC                                WARREN                  JOSEPH P              NY         11260900         WEITZ & LUXENBERG, PC
WARD                 BONITA G              NY         CV015336         WEITZ & LUXENBERG, PC                                WARREN                  KURT L                NY         11260800         WEITZ & LUXENBERG, PC
WARD                 CAROL                 NY         10074103         WEITZ & LUXENBERG, PC                                WARREN                  LAWRENCE E            NY         02106578         WEITZ & LUXENBERG, PC
WARD                 CHARLES W             NY         1903342013       WEITZ & LUXENBERG, PC                                WARREN                  ROBERT L              NY         11260800         WEITZ & LUXENBERG, PC
WARD                 DOROTHY               NY         11159403         WEITZ & LUXENBERG, PC                                WARREN                  SUSAN                 NY         02106578         WEITZ & LUXENBERG, PC
WARD                 EDNA                  NY         1903342013       WEITZ & LUXENBERG, PC                                WARRENSKI               ANTHONY               NY         99103262         WEITZ & LUXENBERG, PC
WARD                 ELIZABETH             NY         11026702         WEITZ & LUXENBERG, PC                                WARSZNITER              ALLEN                 NY         10820903         WEITZ & LUXENBERG, PC
WARD                 EMILY                 NY         1902012013       WEITZ & LUXENBERG, PC                                WARSZNITER              JOSEPH                NY         10820903         WEITZ & LUXENBERG, PC
WARD                 EVA                   NY         CV018220         WEITZ & LUXENBERG, PC                                WARSZNITER              MARY                  NY         10820903         WEITZ & LUXENBERG, PC
WARD                 FRANCES               NY         02106690         WEITZ & LUXENBERG, PC                                WARTERS                 LANETTA L             NY         19016611         WEITZ & LUXENBERG, PC
WARD                 GEORGE T              NY         11065902         WEITZ & LUXENBERG, PC                                WARTERS                 RAYMOND               NY         19016611         WEITZ & LUXENBERG, PC
WARD                 GEORGE T              NY         11027002         WEITZ & LUXENBERG, PC                                WARUNEK                 HELEN                 NY         11260700         WEITZ & LUXENBERG, PC
WARD                 JAMES A               NY         10074103         WEITZ & LUXENBERG, PC                                WARUNEK                 JAMES J               NY         11260700         WEITZ & LUXENBERG, PC
WARD                 JOSEPH                NY         02106690         WEITZ & LUXENBERG, PC                                WARZEK                  JEAN                  NY         10862799         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1092
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 427 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WARZEK               STANLEY ALBERT        NY         10862799         WEITZ & LUXENBERG, PC                                WATTS                LORETTA               NY         10487700         WEITZ & LUXENBERG, PC
WASHBURN             BARBARA               NY         10740302         WEITZ & LUXENBERG, PC                                WATTS                MARY                  NY         CV013921         WEITZ & LUXENBERG, PC
WASHBURN             FLOYD F               NY         10670802         WEITZ & LUXENBERG, PC                                WATTS                MARY                  NY         01CIV3901        WEITZ & LUXENBERG, PC
WASHBURN             FLOYD F               NY         11608502         WEITZ & LUXENBERG, PC                                WATTS                PAUL L                NY         CV012744         WEITZ & LUXENBERG, PC
WASHBURN             JOHN G                NY         10740302         WEITZ & LUXENBERG, PC                                WATTS                RAY C                 NY         01CIV3901        WEITZ & LUXENBERG, PC
WASHBURN             MILDRED               NY         10670802         WEITZ & LUXENBERG, PC                                WATTS                THOMAS G              NY         10740002         WEITZ & LUXENBERG, PC
WASHBURN             MILDRED               NY         11608502         WEITZ & LUXENBERG, PC                                WAWRO                WILLIAM               NY         10325999         WEITZ & LUXENBERG, PC
WASHINGTON           CAROLYN               NY         11260600         WEITZ & LUXENBERG, PC                                WAYMAN               LOUISE A              NY         11621704         WEITZ & LUXENBERG, PC
WASHINGTON           COZETTA               NY         02117542         WEITZ & LUXENBERG, PC                                WAYMAN               LYNN B                NY         11621704         WEITZ & LUXENBERG, PC
WASHINGTON           JOSEPH L              NY         11260600         WEITZ & LUXENBERG, PC                                WEAKLEY              ROGER A               NY         10740102         WEITZ & LUXENBERG, PC
WASHINGTON           MARY LOUISE           NY         01CIV3900        WEITZ & LUXENBERG, PC                                WEAKLEY              SUSAN                 NY         10740102         WEITZ & LUXENBERG, PC
WASHINGTON           THEODORE              NY         CV025685         WEITZ & LUXENBERG, PC                                WEATHERLY            BARBARA P             NY         1901242011       WEITZ & LUXENBERG, PC
WASHINGTON           WILLIAM               NY         11503000         WEITZ & LUXENBERG, PC                                WEATHERLY            CLAUDE E              NY         1901242011       WEITZ & LUXENBERG, PC
WASINSKY             GEORGE S              NY         02105718         WEITZ & LUXENBERG, PC                                WEATHERUP            DONALD G              NY         10658102         WEITZ & LUXENBERG, PC
WASINSKY             MARGARET A            NY         02105718         WEITZ & LUXENBERG, PC                                WEATHERUP            DONALD G              NY         11395002         WEITZ & LUXENBERG, PC
WASKOWIAK            BENJAMIN              NY         12039301         WEITZ & LUXENBERG, PC                                WEAVER               BENNIE JEAN           NY         99108622         WEITZ & LUXENBERG, PC
WASKOWIAK            LILLIAN               NY         12039301         WEITZ & LUXENBERG, PC                                WEAVER               DAVID                 NY         01CIV3901        WEITZ & LUXENBERG, PC
WASSERMAN            EDWARD                NY         10721101         WEITZ & LUXENBERG, PC                                WEAVER               OLLIE                 NY         01CIV3901        WEITZ & LUXENBERG, PC
WASSERMAN            EDWARD                NY         11937600         WEITZ & LUXENBERG, PC                                WEAVER               PEGGY ANN             NY         10119699         WEITZ & LUXENBERG, PC
WASSERMAN            IRENE                 NY         10721101         WEITZ & LUXENBERG, PC                                WEAVER               WILLIAM EARL          NY         CV021552         WEITZ & LUXENBERG, PC
WASSERMAN            IRENE                 NY         11937600         WEITZ & LUXENBERG, PC                                WEBB                 BERLIN P              NY         99103258         WEITZ & LUXENBERG, PC
WASSERMAN            STEPHEN               NY         10712100         WEITZ & LUXENBERG, PC                                WEBB                 CLIFFORD              NY         02106579         WEITZ & LUXENBERG, PC
WASZAK               STEPHEN J             NY         10525900         WEITZ & LUXENBERG, PC                                WEBB                 EILEEN                NY         02107102         WEITZ & LUXENBERG, PC
WATKIN               RAYMOND               NY         10700302         WEITZ & LUXENBERG, PC                                WEBB                 GARY                  NY         CV026789         WEITZ & LUXENBERG, PC
WATKIN               RAYMOND               NY         11071502         WEITZ & LUXENBERG, PC                                WEBB                 GARY L                NY         1902552014       WEITZ & LUXENBERG, PC
WATKINS              ALLEN R               NY         10362004         WEITZ & LUXENBERG, PC                                WEBB                 GEORGE ALTON          NY         01CIV7363        WEITZ & LUXENBERG, PC
WATKINS              DOROTHY               NY         10362004         WEITZ & LUXENBERG, PC                                WEBB                 JEFF V                NY         02107102         WEITZ & LUXENBERG, PC
WATKINS              JOHN J                NY         1901852013       WEITZ & LUXENBERG, PC                                WEBB                 JOHNNY LEE            NY         01CIV7363        WEITZ & LUXENBERG, PC
WATKINS              LULU M                NY         02120615         WEITZ & LUXENBERG, PC                                WEBB                 JULIE                 NY         CV026789         WEITZ & LUXENBERG, PC
WATKINS              LULU M                NY         12757102         WEITZ & LUXENBERG, PC                                WEBB                 KAREN                 NY         I20016814        WEITZ & LUXENBERG, PC
WATKINS              ROBERT G              NY         02120615         WEITZ & LUXENBERG, PC                                WEBB                 LEROY H               NY         CV025685         WEITZ & LUXENBERG, PC
WATKINS              ROBERT G              NY         12757102         WEITZ & LUXENBERG, PC                                WEBB                 LUCILLE               NY         CV017608         WEITZ & LUXENBERG, PC
WATKINS GOTT         MARGUERITE            NY         1901852013       WEITZ & LUXENBERG, PC                                WEBB                 MARY                  NY         1902552014       WEITZ & LUXENBERG, PC
WATLEY               WILLIAM               NY         1904302013       WEITZ & LUXENBERG, PC                                WEBB                 ROGER F               NY         01111234         WEITZ & LUXENBERG, PC
WATROBA              ANASTASIA             NY         11260500         WEITZ & LUXENBERG, PC                                WEBB                 ROGER F               NY         11920901         WEITZ & LUXENBERG, PC
WATROBA              BERNARD J             NY         11260500         WEITZ & LUXENBERG, PC                                WEBB                 SAMUEL M              NY         CV017608         WEITZ & LUXENBERG, PC
WATROBA              DONNA                 NY         11260400         WEITZ & LUXENBERG, PC                                WEBB                 SANDRA                NY         1900382019       WEITZ & LUXENBERG, PC
WATROBA              ROMAN S               NY         11260400         WEITZ & LUXENBERG, PC                                WEBB                 VIOLET M              NY         99103258         WEITZ & LUXENBERG, PC
WATSO                THERESA               NY         10680802         WEITZ & LUXENBERG, PC                                WEBB                 WILLIAM H             NY         I20016814        WEITZ & LUXENBERG, PC
WATSO                THERESA               NY         11052302         WEITZ & LUXENBERG, PC                                WEBBER               ARTHUR J              NY         99108623         WEITZ & LUXENBERG, PC
WATSO                THERESE CAPISTRAN     NY         10680802         WEITZ & LUXENBERG, PC                                WEBBER               BRUCE ROBERT          NY         02106578         WEITZ & LUXENBERG, PC
WATSO                THERESE CAPISTRAN     NY         11052302         WEITZ & LUXENBERG, PC                                WEBER                ANNA M                NY         12249700         WEITZ & LUXENBERG, PC
WATSO                WALTER GUY            NY         10680802         WEITZ & LUXENBERG, PC                                WEBER                DANIEL C              NY         10074103         WEITZ & LUXENBERG, PC
WATSO                WALTER GUY            NY         11052302         WEITZ & LUXENBERG, PC                                WEBER                DONALD G              NY         11503100         WEITZ & LUXENBERG, PC
WATSON               BENNIE                NY         10859499         WEITZ & LUXENBERG, PC                                WEBER                GLORIA                NY         1900382018       WEITZ & LUXENBERG, PC
WATSON               CHARLES               NY         11260300         WEITZ & LUXENBERG, PC                                WEBER                HELEN                 NY         10871201         WEITZ & LUXENBERG, PC
WATSON               CHARLIE J             NY         10712200         WEITZ & LUXENBERG, PC                                WEBER                JEAN P                NY         11053200         WEITZ & LUXENBERG, PC
WATSON               DOROTHY               NY         12043101         WEITZ & LUXENBERG, PC                                WEBER                JEANNE                NY         10074103         WEITZ & LUXENBERG, PC
WATSON               ELSIE                 NY         10859499         WEITZ & LUXENBERG, PC                                WEBER                JOHN                  NY         11260100         WEITZ & LUXENBERG, PC
WATSON               GEORGE                NY         CV024356         WEITZ & LUXENBERG, PC                                WEBER                JOHN H                NY         10871201         WEITZ & LUXENBERG, PC
WATSON               IRENE                 NY         11260200         WEITZ & LUXENBERG, PC                                WEBER                JOSEPH PETER          NY         12249700         WEITZ & LUXENBERG, PC
WATSON               JAMES                 NY         10860499         WEITZ & LUXENBERG, PC                                WEBER                LOUIS C               NY         02107004         WEITZ & LUXENBERG, PC
WATSON               JAMES L               NY         11260200         WEITZ & LUXENBERG, PC                                WEBER                PATRICIA              NY         11315900         WEITZ & LUXENBERG, PC
WATSON               JANE                  NY         11260300         WEITZ & LUXENBERG, PC                                WEBER                PAUL M                NY         10700102         WEITZ & LUXENBERG, PC
WATSON               JIMMY L               NY         01CIV0011        WEITZ & LUXENBERG, PC                                WEBER                PETER A               NY         1900382018       WEITZ & LUXENBERG, PC
WATSON               JOHN                  NY         10721001         WEITZ & LUXENBERG, PC                                WEBER                STEPHANIA             NY         11260100         WEITZ & LUXENBERG, PC
WATSON               JOHN                  NY         11937600         WEITZ & LUXENBERG, PC                                WEBER                WILLIAM               NY         11053200         WEITZ & LUXENBERG, PC
WATSON               JOHNNY                NY         00CIV3588        WEITZ & LUXENBERG, PC                                WEBER                WILLIAM T             NY         11937600         WEITZ & LUXENBERG, PC
WATSON               LOUISE                NY         CV025685         WEITZ & LUXENBERG, PC                                WEBSTER              BARBARA               NY         11503300         WEITZ & LUXENBERG, PC
WATSON               LOUISE                NY         01CIV0011        WEITZ & LUXENBERG, PC                                WEBSTER              BEVERLY M             NY         10092303         WEITZ & LUXENBERG, PC
WATSON               ML                    NY         1900162014       WEITZ & LUXENBERG, PC                                WEBSTER              CLIFFORD              NY         19038609         WEITZ & LUXENBERG, PC
WATSON               MARY                  NY         11045302         WEITZ & LUXENBERG, PC                                WEBSTER              JAMES M               NY         10571702         WEITZ & LUXENBERG, PC
WATSON               PATRICIA ANN          NY         00CIV3588        WEITZ & LUXENBERG, PC                                WEBSTER              LORRAINE              NY         10092303         WEITZ & LUXENBERG, PC
WATSON               ROBERT                NY         12043101         WEITZ & LUXENBERG, PC                                WEBSTER              MATTHEW JAMES         NY         10700102         WEITZ & LUXENBERG, PC
WATSON               SUSAN                 NY         10860499         WEITZ & LUXENBERG, PC                                WEBSTER              MICHELE               NY         10571702         WEITZ & LUXENBERG, PC
WATSON               WALTER T              NY         11045302         WEITZ & LUXENBERG, PC                                WEBSTER              WILLIAM E             NY         11503300         WEITZ & LUXENBERG, PC
WATTS                BILLY JOE             NY         CV013921         WEITZ & LUXENBERG, PC                                WECHTER              ALBERT                NY         10720801         WEITZ & LUXENBERG, PC
WATTS                DAWN                  NY         10834201         WEITZ & LUXENBERG, PC                                WECHTER              ALBERT                NY         11937600         WEITZ & LUXENBERG, PC
WATTS                HAROLD J              NY         10834201         WEITZ & LUXENBERG, PC                                WECZEREK             MARSHA Y              NY         12065199         WEITZ & LUXENBERG, PC
WATTS                JEAN MURIEL           NY         CV012744         WEITZ & LUXENBERG, PC                                WEDGE                ANDRULENE             NY         CV012247         WEITZ & LUXENBERG, PC
WATTS                JRAN                  NY         CV012744         WEITZ & LUXENBERG, PC                                WEDGE                THOMAS LEROY          NY         CV012247         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1093
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 428 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WEDGEWOOD            SHIRLEY               NY         11503400         WEITZ & LUXENBERG, PC                                WEIR                 EUGENE                NY         11321602         WEITZ & LUXENBERG, PC
WEDGEWOOD            WILLIAM               NY         11503400         WEITZ & LUXENBERG, PC                                WEIR                 JANET B               NY         10101705         WEITZ & LUXENBERG, PC
WEDZINA              BROWNIE W             NY         10325599         WEITZ & LUXENBERG, PC                                WEIR                 SANDRA                NY         10700002         WEITZ & LUXENBERG, PC
WEDZINA              LORETTA M             NY         10325599         WEITZ & LUXENBERG, PC                                WEIR                 WILLIAM               NY         02106580         WEITZ & LUXENBERG, PC
WEED                 DALE                  NY         10740402         WEITZ & LUXENBERG, PC                                WEIR                 WILLIAM               NY         11321602         WEITZ & LUXENBERG, PC
WEED                 MICHAEL W             NY         10740402         WEITZ & LUXENBERG, PC                                WEIRICH              HERBERT C             NY         02105715         WEITZ & LUXENBERG, PC
WEEGAR               JUDITH L              NY         10696302         WEITZ & LUXENBERG, PC                                WEIRICH              RUTH                  NY         02105715         WEITZ & LUXENBERG, PC
WEEGAR               ROBERT F              NY         10696302         WEITZ & LUXENBERG, PC                                WEISE                HERMAN                NY         10860599         WEITZ & LUXENBERG, PC
WEEKS                BOBBIE P              NY         CV021553         WEITZ & LUXENBERG, PC                                WEISEN               JANICE                NY         10295099         WEITZ & LUXENBERG, PC
WEEKS                JEFFREY V             NY         99103254         WEITZ & LUXENBERG, PC                                WEISENBURGER         BARBARA               NY         10720601         WEITZ & LUXENBERG, PC
WEEKS                STANLEY               NY         1902092018       WEITZ & LUXENBERG, PC                                WEISENBURGER         BARBARA               NY         11937600         WEITZ & LUXENBERG, PC
WEESE                VIRGIL E              NY         CV021711         WEITZ & LUXENBERG, PC                                WEISENBURGER         JAMES S               NY         10720601         WEITZ & LUXENBERG, PC
WEESE                VIRGINIA              NY         CV021711         WEITZ & LUXENBERG, PC                                WEISENBURGER         JAMES S               NY         11937600         WEITZ & LUXENBERG, PC
WEGENAAR             BRIAN                 NY         1901222016       WEITZ & LUXENBERG, PC                                WEISHEIT             GLADYS                NY         11785600         WEITZ & LUXENBERG, PC
WEGENAAR             NANCY                 NY         1901222016       WEITZ & LUXENBERG, PC                                WEISHEIT             RICHARD E             NY         11785600         WEITZ & LUXENBERG, PC
WEGH                 MARTIN                NY         10587501         WEITZ & LUXENBERG, PC                                WEISNICK             ELWOOD                NY         12322701         WEITZ & LUXENBERG, PC
WEGH                 PAULETTE              NY         10587501         WEITZ & LUXENBERG, PC                                WEISNICK             ELWOOD                NY         CV031543         WEITZ & LUXENBERG, PC
WEGLINSKI            STANLEY               NY         11711003         WEITZ & LUXENBERG, PC                                WEISS                ANNETTE               NY         99103249         WEITZ & LUXENBERG, PC
WEHUS                OMMUND                NY         11260000         WEITZ & LUXENBERG, PC                                WEISS                BARBARA               NY         12668702         WEITZ & LUXENBERG, PC
WEIAND               ARLENE L              PA         181201076        WEITZ & LUXENBERG, PC                                WEISS                BARBARA               NY         10464903         WEITZ & LUXENBERG, PC
WEIAND               FREDERICK E           PA         181201076        WEITZ & LUXENBERG, PC                                WEISS                BEVERLY               NY         11259600         WEITZ & LUXENBERG, PC
WEIDINGER            CAROL                 NY         10325399         WEITZ & LUXENBERG, PC                                WEISS                DONALD MARVIN         NY         11259600         WEITZ & LUXENBERG, PC
WEIDINGER            CHARLES WILLIAM       NY         10325399         WEITZ & LUXENBERG, PC                                WEISS                EDWARD A              NY         02105718         WEITZ & LUXENBERG, PC
WEIDTMAN             JOANN                 NY         11259900         WEITZ & LUXENBERG, PC                                WEISS                JOSEPH                NY         99103249         WEITZ & LUXENBERG, PC
WEIDTMAN             WALTER ALLEN          NY         11259900         WEITZ & LUXENBERG, PC                                WEISS                LEONARD               NY         12240601         WEITZ & LUXENBERG, PC
WEIGHTMAN            BETTE                 NY         10712300         WEITZ & LUXENBERG, PC                                WEISS                RICHARD               NY         12240601         WEITZ & LUXENBERG, PC
WEIGHTMAN            BETTE                 NY         99125770         WEITZ & LUXENBERG, PC                                WEISS                RICHARD               NY         01111226         WEITZ & LUXENBERG, PC
WEIGHTMAN            MAURICE L             NY         10712300         WEITZ & LUXENBERG, PC                                WEISS                ROBERT E              NY         10699902         WEITZ & LUXENBERG, PC
WEIGHTMAN            MAURICE L             NY         99125770         WEITZ & LUXENBERG, PC                                WEISSBACH            ANNA                  NY         10717201         WEITZ & LUXENBERG, PC
WEIGOLD              DOROTHY               NY         12109002         WEITZ & LUXENBERG, PC                                WEISSBACH            ANNA                  NY         11937600         WEITZ & LUXENBERG, PC
WEIGOLD              DOROTHY               NY         11327602         WEITZ & LUXENBERG, PC                                WEISSBACH            MARILYN M             NY         107124           WEITZ & LUXENBERG, PC
WEIGOLD              MARGARET              NY         02113565         WEITZ & LUXENBERG, PC                                WEISSBACH            THOMAS E              NY         107124           WEITZ & LUXENBERG, PC
WEIGOLD              RICHARD               NY         02113565         WEITZ & LUXENBERG, PC                                WEISSBACH            WILLIAM E             NY         10717201         WEITZ & LUXENBERG, PC
WEIGOLD              WILLIAM               NY         12109002         WEITZ & LUXENBERG, PC                                WEISSBACH            WILLIAM E             NY         11937600         WEITZ & LUXENBERG, PC
WEIGOLD              WILLIAM               NY         11327602         WEITZ & LUXENBERG, PC                                WEISSGERBER          FLORENCE              NY         10712500         WEITZ & LUXENBERG, PC
WEIGOLO              DOROTHY               NY         12109002         WEITZ & LUXENBERG, PC                                WEISSGERBER          HAROLD                NY         10712500         WEITZ & LUXENBERG, PC
WEIGOLO              DOROTHY               NY         11327602         WEITZ & LUXENBERG, PC                                WEISSMAN             ANN                   NY         12444002         WEITZ & LUXENBERG, PC
WEIHL                EDWARD O              NY         11503500         WEITZ & LUXENBERG, PC                                WEISSMAN             RALPH                 NY         12444002         WEITZ & LUXENBERG, PC
WEIHL                MARLENE               NY         11503500         WEITZ & LUXENBERG, PC                                WEISZ                BELA                  NY         10719601         WEITZ & LUXENBERG, PC
WEIHS                CORA A                NY         10325299         WEITZ & LUXENBERG, PC                                WEISZ                BELA                  NY         11937600         WEITZ & LUXENBERG, PC
WEIHS                JOSEPH A              NY         10325299         WEITZ & LUXENBERG, PC                                WEISZ                DORA                  NY         10719601         WEITZ & LUXENBERG, PC
WEIL                 GEORGE E              NY         02106694         WEITZ & LUXENBERG, PC                                WEISZ                DORA                  NY         11937600         WEITZ & LUXENBERG, PC
WEILAND              WALTER                NY         10023403         WEITZ & LUXENBERG, PC                                WEITZ                NATHAN                NY         12100401         WEITZ & LUXENBERG, PC
WEILLER              CHRISTINE             NY         11243700         WEITZ & LUXENBERG, PC                                WEITZMAN             CHARLES HENRY         NY         12668702         WEITZ & LUXENBERG, PC
WEIMER               ARLENE                NY         1901922017       WEITZ & LUXENBERG, PC                                WEITZMAN             FRANCES               NY         12433902         WEITZ & LUXENBERG, PC
WEIMER               CLARENCE              NY         1901922017       WEITZ & LUXENBERG, PC                                WEITZMAN             MEYER                 NY         12433902         WEITZ & LUXENBERG, PC
WEIMER               DIANA                 NY         10720701         WEITZ & LUXENBERG, PC                                WEKSLER              GARY                  NY         12312701         WEITZ & LUXENBERG, PC
WEIMER               DIANA                 NY         11937600         WEITZ & LUXENBERG, PC                                WELCH                DORIS                 NY         10722202         WEITZ & LUXENBERG, PC
WEIMER               FRED                  NY         10463807         WEITZ & LUXENBERG, PC                                WELCH                EUGENE DUANE          NY         CV020398         WEITZ & LUXENBERG, PC
WEIMER               JEAN                  NY         10463807         WEITZ & LUXENBERG, PC                                WELCH                JOHN                  NY         I200110167       WEITZ & LUXENBERG, PC
WEIMER               MICHAEL               NY         1901922017       WEITZ & LUXENBERG, PC                                WELCH                JOSEPHINE             NY         10719501         WEITZ & LUXENBERG, PC
WEIMER               PHILIP G              NY         10720701         WEITZ & LUXENBERG, PC                                WELCH                JOSEPHINE             NY         11937600         WEITZ & LUXENBERG, PC
WEIMER               PHILIP G              NY         11937600         WEITZ & LUXENBERG, PC                                WELCH                JUDITH                NY         1900662017       WEITZ & LUXENBERG, PC
WEINBERG             EDWARD                NY         11503600         WEITZ & LUXENBERG, PC                                WELCH                KAY                   NY         02107006         WEITZ & LUXENBERG, PC
WEINER               NATHANIEL I           NY         CV025208         WEITZ & LUXENBERG, PC                                WELCH                LAWRENCE              NY         10719501         WEITZ & LUXENBERG, PC
WEINER               THEODORE              NY         CV025208         WEITZ & LUXENBERG, PC                                WELCH                LAWRENCE              NY         11937600         WEITZ & LUXENBERG, PC
WEINHOFER            CHARLES J             NY         11259800         WEITZ & LUXENBERG, PC                                WELCH                LOUIS ED              NY         11026802         WEITZ & LUXENBERG, PC
WEINHOFER            MARILYN               NY         11259800         WEITZ & LUXENBERG, PC                                WELCH                ROBERT                NY         CV033137         WEITZ & LUXENBERG, PC
WEINISCHKE           JEFFREY LEE           NY         11503700         WEITZ & LUXENBERG, PC                                WELCH                RONALD A              NY         10722202         WEITZ & LUXENBERG, PC
WEINISCHKE           JENNIFER              NY         11503700         WEITZ & LUXENBERG, PC                                WELCH                WILLIAM E             NY         1900662017       WEITZ & LUXENBERG, PC
WEINMAN              IRVING                NY         11259700         WEITZ & LUXENBERG, PC                                WELCH                WILLIAM M             NY         02107006         WEITZ & LUXENBERG, PC
WEINMAN              SYLVIA                NY         11259700         WEITZ & LUXENBERG, PC                                WELDON               BRENDA                NY         CV018410         WEITZ & LUXENBERG, PC
WEINSHALL            ABRAHAM               NY         99103251         WEITZ & LUXENBERG, PC                                WELDON               JOHN W                NY         CV018410         WEITZ & LUXENBERG, PC
WEINSHALL            ILENE                 NY         99103251         WEITZ & LUXENBERG, PC                                WELISCHAR            ALBERT V              NY         01111236         WEITZ & LUXENBERG, PC
WEINSHALL            VIVIAN                NY         99103251         WEITZ & LUXENBERG, PC                                WELISCHAR            ALBERT V              NY         12182301         WEITZ & LUXENBERG, PC
WEINSTEIN            BEATRICE              NY         12039901         WEITZ & LUXENBERG, PC                                WELISCHAR            LINDA                 NY         01111236         WEITZ & LUXENBERG, PC
WEINSTEIN            LEONARD               NY         12100401         WEITZ & LUXENBERG, PC                                WELISCHAR            LINDA                 NY         12182301         WEITZ & LUXENBERG, PC
WEINSTEIN            MURRAY                NY         12039901         WEITZ & LUXENBERG, PC                                WELK                 JOHN A                NY         10699902         WEITZ & LUXENBERG, PC
WEIR                 ALEXANDER             NY         10101705         WEITZ & LUXENBERG, PC                                WELKER               BERNARD               NY         11937600         WEITZ & LUXENBERG, PC
WEIR                 DONALD J              NY         10700002         WEITZ & LUXENBERG, PC                                WELKER               JO ANN                NY         11937600         WEITZ & LUXENBERG, PC
WEIR                 EUGENE                NY         02106580         WEITZ & LUXENBERG, PC                                WELLER               BOYD N                NY         02105718         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1094
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 429 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WELLER               PAUL J                NY         02105718         WEITZ & LUXENBERG, PC                                WESNOFSKE            ESTHER                NY         99103289         WEITZ & LUXENBERG, PC
WELLS                GARY W                NY         11259400         WEITZ & LUXENBERG, PC                                WESOLOSKI            ELEONORA              NY         10328899         WEITZ & LUXENBERG, PC
WELLS                JAMES A               NY         11446204         WEITZ & LUXENBERG, PC                                WESOLOWSKI           JOHN J                NY         10328899         WEITZ & LUXENBERG, PC
WELLS                JOHN P                NY         10669502         WEITZ & LUXENBERG, PC                                WESS                 EUGENE F              NY         02122693         WEITZ & LUXENBERG, PC
WELLS                LARRY F               NY         280414           WEITZ & LUXENBERG, PC                                WESS                 MARY ELLEN            NY         02122693         WEITZ & LUXENBERG, PC
WELLS                MARY ANN              NY         11446204         WEITZ & LUXENBERG, PC                                WESSELHOFT           GEORGE NEIL           NY         99103287         WEITZ & LUXENBERG, PC
WELLS                NORMAN EARL           NY         00CIV1204        WEITZ & LUXENBERG, PC                                WESSELHOFT           JULIA MARY            NY         99103287         WEITZ & LUXENBERG, PC
WELLS                PAMELA                NY         10871201         WEITZ & LUXENBERG, PC                                WESSELS              JANIS                 NY         1902752017       WEITZ & LUXENBERG, PC
WELLS                PAUL L                NY         10696302         WEITZ & LUXENBERG, PC                                WESSNER              GEORGE R              NY         10328699         WEITZ & LUXENBERG, PC
WELLS                ROBERT T              NY         10871201         WEITZ & LUXENBERG, PC                                WESSNER              LEE DOROTHY           NY         10328699         WEITZ & LUXENBERG, PC
WELLS                SONJA A               NY         11259400         WEITZ & LUXENBERG, PC                                WESSON               ELLENA                NY         CV033193         WEITZ & LUXENBERG, PC
WELLS                VIOLA M               NY         11503900         WEITZ & LUXENBERG, PC                                WESSON               JERRY JOE             NY         CV016953         WEITZ & LUXENBERG, PC
WELLS                WILBUR R              NY         11503900         WEITZ & LUXENBERG, PC                                WESSON               THIRRECE              NY         CV033193         WEITZ & LUXENBERG, PC
WELSCH               JOHN M                NY         01111227         WEITZ & LUXENBERG, PC                                WEST                 BETTY                 NY         11937600         WEITZ & LUXENBERG, PC
WELSH                ALFRED C              NY         99103247         WEITZ & LUXENBERG, PC                                WEST                 BURNELL WYNN          NY         CV015422         WEITZ & LUXENBERG, PC
WELSH                BARBARA               NY         02113565         WEITZ & LUXENBERG, PC                                WEST                 DEBORAH M             NY         99108457         WEITZ & LUXENBERG, PC
WELSH                BARBARA               NY         CV04544          WEITZ & LUXENBERG, PC                                WEST                 DEBRA                 NY         1903132013       WEITZ & LUXENBERG, PC
WELSH                BARBARA               NY         12733602         WEITZ & LUXENBERG, PC                                WEST                 DONALD                NY         12693402         WEITZ & LUXENBERG, PC
WELSH                DANIEL F              NY         10700002         WEITZ & LUXENBERG, PC                                WEST                 DONALD F              NY         CV015422         WEITZ & LUXENBERG, PC
WELSH                JOHN                  NY         02113565         WEITZ & LUXENBERG, PC                                WEST                 DONNA                 NY         10710002         WEITZ & LUXENBERG, PC
WELSH                JOHN                  NY         10719301         WEITZ & LUXENBERG, PC                                WEST                 EDITH                 NY         10074103         WEITZ & LUXENBERG, PC
WELSH                JOHN                  NY         CV04544          WEITZ & LUXENBERG, PC                                WEST                 GERALDINE             NY         11259200         WEITZ & LUXENBERG, PC
WELSH                JOHN                  NY         11937600         WEITZ & LUXENBERG, PC                                WEST                 JOYCE                 NY         12693402         WEITZ & LUXENBERG, PC
WELSH                JOHN                  NY         12733602         WEITZ & LUXENBERG, PC                                WEST                 LEONARD A             NY         12801902         WEITZ & LUXENBERG, PC
WELSH                MARGARET              NY         10719301         WEITZ & LUXENBERG, PC                                WEST                 MORRIS A              NY         11259200         WEITZ & LUXENBERG, PC
WELSH                MARGARET              NY         11937600         WEITZ & LUXENBERG, PC                                WEST                 NANCY                 NY         CV045237         WEITZ & LUXENBERG, PC
WELSH                RAYMOND               NY         99103247         WEITZ & LUXENBERG, PC                                WEST                 NELL                  NY         CV015422         WEITZ & LUXENBERG, PC
WELSH                SOPHIE                NY         10700002         WEITZ & LUXENBERG, PC                                WEST                 RALEIGH               NY         1903132013       WEITZ & LUXENBERG, PC
WELT                 BETTY                 NY         11259500         WEITZ & LUXENBERG, PC                                WEST                 RANDALL J             NY         02105713         WEITZ & LUXENBERG, PC
WELT                 JACK                  NY         11327802         WEITZ & LUXENBERG, PC                                WEST                 SEBASTIAN C           NY         11937600         WEITZ & LUXENBERG, PC
WELT                 MAUREEN               NY         11327802         WEITZ & LUXENBERG, PC                                WEST                 THOMAS                NY         10074103         WEITZ & LUXENBERG, PC
WELT                 RALPH E               NY         11259500         WEITZ & LUXENBERG, PC                                WEST                 WILLIAM T             NY         10710002         WEITZ & LUXENBERG, PC
WELTER               THEODORE JAMES        NY         10712600         WEITZ & LUXENBERG, PC                                WESTBY               FRED G                NY         12668702         WEITZ & LUXENBERG, PC
WELZEL               DANIEL A              PA         131200016        WEITZ & LUXENBERG, PC                                WESTCOTT             PATRICIA              NY         1900232018       WEITZ & LUXENBERG, PC
WELZEL               DOROTHY               PA         131200016        WEITZ & LUXENBERG, PC                                WESTCOTT             THOMAS W              NY         1900232018       WEITZ & LUXENBERG, PC
WENCEK               LEONARD               NY         99108595         WEITZ & LUXENBERG, PC                                WESTERFIELD          ELSIE                 NY         11252106         WEITZ & LUXENBERG, PC
WENCEK               VIRGINIA              NY         99108595         WEITZ & LUXENBERG, PC                                WESTERFIELD          ROBERT                NY         11252106         WEITZ & LUXENBERG, PC
WENDELL              DONALD J              NY         11259300         WEITZ & LUXENBERG, PC                                WESTERKON            ABRAHAM               NY         10721901         WEITZ & LUXENBERG, PC
WENDELL              DOROTHY               NY         11259300         WEITZ & LUXENBERG, PC                                WESTERKON            ABRAHAM               NY         11937600         WEITZ & LUXENBERG, PC
WENDLING             GEORGE                NY         99108614         WEITZ & LUXENBERG, PC                                WESTERKON            GLORIA                NY         10721901         WEITZ & LUXENBERG, PC
WENDLING             KATHY                 NY         99108614         WEITZ & LUXENBERG, PC                                WESTERKON            GLORIA                NY         11937600         WEITZ & LUXENBERG, PC
WENDT                GLENN L               NY         11504000         WEITZ & LUXENBERG, PC                                WESTERVELT           PRISCILLA             NY         19021410         WEITZ & LUXENBERG, PC
WENDT                JEAN                  NY         11504000         WEITZ & LUXENBERG, PC                                WESTERVELT           ROBERT                NY         19021410         WEITZ & LUXENBERG, PC
WENG                 REXFORD C             NY         10026404         WEITZ & LUXENBERG, PC                                WESTFALL             PATTY LOU             NY         CV041523         WEITZ & LUXENBERG, PC
WENK                 ANDREW R              NY         20012225         WEITZ & LUXENBERG, PC                                WESTFALL             RAYMOND FRANK         NY         CV041523         WEITZ & LUXENBERG, PC
WENK                 ANDREW R              NY         1900872016       WEITZ & LUXENBERG, PC                                WESTGATE             FRANK A               NY         11504200         WEITZ & LUXENBERG, PC
WENK                 LOIS                  NY         1900872016       WEITZ & LUXENBERG, PC                                WESTGATE             SUE A                 NY         11504200         WEITZ & LUXENBERG, PC
WENNBERG             FREDRICK              NY         19014309         WEITZ & LUXENBERG, PC                                WESTLEY              JESSE                 NY         1902812017       WEITZ & LUXENBERG, PC
WENNBERG             JO ANN                NY         19014309         WEITZ & LUXENBERG, PC                                WESTLEY              MARIA I               NY         1902812017       WEITZ & LUXENBERG, PC
WENTHEN              DOUGLAS C             NY         12043001         WEITZ & LUXENBERG, PC                                WEXLER               JOHANNA               NY         11259100         WEITZ & LUXENBERG, PC
WENTHEN              MARGARET              NY         12043001         WEITZ & LUXENBERG, PC                                WEXLER               PHILLIP I             NY         11259100         WEITZ & LUXENBERG, PC
WENTLAND             FLORENCE              NY         12788802         WEITZ & LUXENBERG, PC                                WEYANDT              CHARLES A             NY         01111218         WEITZ & LUXENBERG, PC
WENTLAND             JULIUS                NY         12788802         WEITZ & LUXENBERG, PC                                WEYANDT              CINDY                 NY         01111218         WEITZ & LUXENBERG, PC
WENTLING             CINDY                 NY         11504100         WEITZ & LUXENBERG, PC                                WHALEN               CHARLES R             NY         10670602         WEITZ & LUXENBERG, PC
WENTLING             KENT E                NY         11504100         WEITZ & LUXENBERG, PC                                WHALEN               CHARLES R             NY         11486202         WEITZ & LUXENBERG, PC
WENZ                 DOUGLAS               NY         1900462018       WEITZ & LUXENBERG, PC                                WHALEN               DAVID M               NY         10669502         WEITZ & LUXENBERG, PC
WENZ                 RITA                  NY         1900462018       WEITZ & LUXENBERG, PC                                WHALEN               ELIZABETH             NY         10669502         WEITZ & LUXENBERG, PC
WEPPLER              DEBRA                 NY         1901672015       WEITZ & LUXENBERG, PC                                WHALEN               ESTHER                NY         12043301         WEITZ & LUXENBERG, PC
WEPPLER              ROBERT                NY         1901672015       WEITZ & LUXENBERG, PC                                WHALEN               HELEN R               NY         10623400         WEITZ & LUXENBERG, PC
WEPRIN               TODD                  NY         10550400         WEITZ & LUXENBERG, PC                                WHALEN               JAMES J               NY         10623400         WEITZ & LUXENBERG, PC
WEPRIN               TODD B                NY         10737901         WEITZ & LUXENBERG, PC                                WHALEN               JOHN                  NY         02106690         WEITZ & LUXENBERG, PC
WERBECK              JOHN                  NY         99103245         WEITZ & LUXENBERG, PC                                WHALEN               JOHN THOMAS           NY         10328499         WEITZ & LUXENBERG, PC
WERBECK              WANDA                 NY         99103245         WEITZ & LUXENBERG, PC                                WHALEN               LORRAINE              NY         02106690         WEITZ & LUXENBERG, PC
WERN                 CLARA V               NY         1900472019       WEITZ & LUXENBERG, PC                                WHALEN               ROBERT J              NY         12043301         WEITZ & LUXENBERG, PC
WERNER               GENE R                NY         10658102         WEITZ & LUXENBERG, PC                                WHARTON              MICHAEL L             NY         11504400         WEITZ & LUXENBERG, PC
WERNER               RAYMOND J             NY         12173001         WEITZ & LUXENBERG, PC                                WHATLEY              HERBERT J             NY         10717801         WEITZ & LUXENBERG, PC
WERNER               WILLIAM B             NY         99108443         WEITZ & LUXENBERG, PC                                WHATLEY              HERBERT J             NY         11937600         WEITZ & LUXENBERG, PC
WERNER-ADAMS         PATRICIA ANNE         NY         99108443         WEITZ & LUXENBERG, PC                                WHEAT                BLANCHE MARIE         NY         CV013921         WEITZ & LUXENBERG, PC
WERNIKOWSKI          THOMAS E              NY         1903812017       WEITZ & LUXENBERG, PC                                WHEAT                FRED C                NY         10740502         WEITZ & LUXENBERG, PC
WESCOTT              JAMES W               NY         10587102         WEITZ & LUXENBERG, PC                                WHEAT                FRED C                NY         11413902         WEITZ & LUXENBERG, PC
WESNOFSKE            ALBERT F              NY         99103289         WEITZ & LUXENBERG, PC                                WHEAT                JOSEPH                NY         CV013921         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1095
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 430 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WHEAT                RUTH                  NY         10740502         WEITZ & LUXENBERG, PC                                WHITE                JAMES E               NY         12213801         WEITZ & LUXENBERG, PC
WHEAT                RUTH                  NY         11413902         WEITZ & LUXENBERG, PC                                WHITE                JAMES R               NY         1905292012       WEITZ & LUXENBERG, PC
WHEELER              ARTHUR E              NY         10717701         WEITZ & LUXENBERG, PC                                WHITE                JILL                  NY         10843499         WEITZ & LUXENBERG, PC
WHEELER              ARTHUR E              NY         11937600         WEITZ & LUXENBERG, PC                                WHITE                JOHN A                NY         99108445         WEITZ & LUXENBERG, PC
WHEELER              BARBARA JEAN          NY         10658102         WEITZ & LUXENBERG, PC                                WHITE                JOHN HARVEY           NY         10670402         WEITZ & LUXENBERG, PC
WHEELER              CHARLEY E             NY         00CIV3588        WEITZ & LUXENBERG, PC                                WHITE                JOHN M                NY         12043101         WEITZ & LUXENBERG, PC
WHEELER              GARY ROGER            NY         10740202         WEITZ & LUXENBERG, PC                                WHITE                JOHN T                NY         12788702         WEITZ & LUXENBERG, PC
WHEELER              GARY ROGER            NY         11329502         WEITZ & LUXENBERG, PC                                WHITE                JOSEPH                NY         12693702         WEITZ & LUXENBERG, PC
WHEELER              HERBERT A             NY         1900632013       WEITZ & LUXENBERG, PC                                WHITE                JOSEPH VINCENT        NY         11258800         WEITZ & LUXENBERG, PC
WHEELER              JAMES D               NY         12448902         WEITZ & LUXENBERG, PC                                WHITE                JOYCE L               NY         10717401         WEITZ & LUXENBERG, PC
WHEELER              JIMMY JOE             NY         01CIV3901        WEITZ & LUXENBERG, PC                                WHITE                JOYCE L               NY         11937600         WEITZ & LUXENBERG, PC
WHEELER              MARGARET E            NY         10740202         WEITZ & LUXENBERG, PC                                WHITE                KENNETH R             NY         02106693         WEITZ & LUXENBERG, PC
WHEELER              MARGARET E            NY         11329502         WEITZ & LUXENBERG, PC                                WHITE                LENA P                NY         12213801         WEITZ & LUXENBERG, PC
WHEELER              ROSEMARIE             NY         10717701         WEITZ & LUXENBERG, PC                                WHITE                LOIS                  NY         CV017068         WEITZ & LUXENBERG, PC
WHEELER              ROSEMARIE             NY         11937600         WEITZ & LUXENBERG, PC                                WHITE                LOUIS R               NY         10717501         WEITZ & LUXENBERG, PC
WHEELER              SHERRY                NY         01CIV3901        WEITZ & LUXENBERG, PC                                WHITE                LOUIS R               NY         11937600         WEITZ & LUXENBERG, PC
WHEELER-SILVERS      MARY                  NY         00CIV3588        WEITZ & LUXENBERG, PC                                WHITE                LYDIA                 NY         12039401         WEITZ & LUXENBERG, PC
WHELAN               JAMES W               NY         12668202         WEITZ & LUXENBERG, PC                                WHITE                LYNN                  NY         10645702         WEITZ & LUXENBERG, PC
WHELAN               JAMES W               NY         CV013921         WEITZ & LUXENBERG, PC                                WHITE                MARTIN F              NY         10701406         WEITZ & LUXENBERG, PC
WHELAN               LORA                  NY         12668202         WEITZ & LUXENBERG, PC                                WHITE                RICHARD S             NY         10843499         WEITZ & LUXENBERG, PC
WHELAN               LORA                  NY         CV013921         WEITZ & LUXENBERG, PC                                WHITE                RITA                  NY         10327999         WEITZ & LUXENBERG, PC
WHELEN               JOAN MARY             NY         10328199         WEITZ & LUXENBERG, PC                                WHITE                ROBERT C              NY         10317802         WEITZ & LUXENBERG, PC
WHELEN               MICHAEL               NY         01111218         WEITZ & LUXENBERG, PC                                WHITE                ROBERT L              NY         CV012711         WEITZ & LUXENBERG, PC
WHELEN               ROBERT G JR           NY         10328199         WEITZ & LUXENBERG, PC                                WHITE                SALLY                 NY         12044399         WEITZ & LUXENBERG, PC
WHELEN               ROBERT GERARD         NY         10328199         WEITZ & LUXENBERG, PC                                WHITE                STEVEN D              NY         11050903         WEITZ & LUXENBERG, PC
WHELIHAN             ELAINE                NY         1902762012       WEITZ & LUXENBERG, PC                                WHITE                THERESA M             NY         10317802         WEITZ & LUXENBERG, PC
WHIMPLE              EDWARD F              NY         12433902         WEITZ & LUXENBERG, PC                                WHITE                THOMAS                NY         12269901         WEITZ & LUXENBERG, PC
WHIMPLE              EDWARD F              NY         10197703         WEITZ & LUXENBERG, PC                                WHITE                THOMAS J              NY         10680802         WEITZ & LUXENBERG, PC
WHIMPLE              LORRAINE M            NY         12433902         WEITZ & LUXENBERG, PC                                WHITE                WILLIE E              NY         CV018141         WEITZ & LUXENBERG, PC
WHIMPLE              LORRAINE M            NY         10197703         WEITZ & LUXENBERG, PC                                WHITE BALSECA        STEPHANIE D           NY         11050903         WEITZ & LUXENBERG, PC
WHIPPLE              BETTY A               NY         10717601         WEITZ & LUXENBERG, PC                                WHITEHAIR            NANCY                 NY         10658102         WEITZ & LUXENBERG, PC
WHIPPLE              BETTY A               NY         11937600         WEITZ & LUXENBERG, PC                                WHITEHAIR            ROBERT T              NY         10658102         WEITZ & LUXENBERG, PC
WHIPPLE              NINA                  NY         CV025661         WEITZ & LUXENBERG, PC                                WHITEHEAD            CHARLES               NY         10844699         WEITZ & LUXENBERG, PC
WHIPPLE              RICHARD               NY         CV025661         WEITZ & LUXENBERG, PC                                WHITEHEAD            CHARLES E             NY         CV020075         WEITZ & LUXENBERG, PC
WHIPPLE              WALTER L              NY         10717601         WEITZ & LUXENBERG, PC                                WHITEHEAD            ELVIN J               NY         11258700         WEITZ & LUXENBERG, PC
WHIPPLE              WALTER L              NY         11937600         WEITZ & LUXENBERG, PC                                WHITEHEAD            EUNICE                NY         11258700         WEITZ & LUXENBERG, PC
WHIRLEY              ALICE                 NY         11164902         WEITZ & LUXENBERG, PC                                WHITEHEAD            JOHNNIE               NY         02106690         WEITZ & LUXENBERG, PC
WHIRLEY              ALICE J               NY         02105716         WEITZ & LUXENBERG, PC                                WHITEHEAD            JOSEPH                NY         10783506         WEITZ & LUXENBERG, PC
WHIRLEY              MICHAEL R             NY         02105716         WEITZ & LUXENBERG, PC                                WHITEHEAD            LOLA                  NY         10783506         WEITZ & LUXENBERG, PC
WHIRLEY              MICHAEL R             NY         11164902         WEITZ & LUXENBERG, PC                                WHITEHEAD            MARLENE               NY         02106690         WEITZ & LUXENBERG, PC
WHISPELL             IRENE C               NY         10699902         WEITZ & LUXENBERG, PC                                WHITEHEAD            MERLE L               NY         99108436         WEITZ & LUXENBERG, PC
WHISPELL             THOMAS G              NY         10699902         WEITZ & LUXENBERG, PC                                WHITEHEAD            MOSELLE AMELIA        NY         10844699         WEITZ & LUXENBERG, PC
WHITAKER             BETSY                 NY         11259000         WEITZ & LUXENBERG, PC                                WHITEHURST           HELEN                 NY         19017911         WEITZ & LUXENBERG, PC
WHITAKER             CHARLES               NY         CV015519         WEITZ & LUXENBERG, PC                                WHITEHURST           OSCAR                 NY         19017911         WEITZ & LUXENBERG, PC
WHITAKER             GENEVA                NY         CV015519         WEITZ & LUXENBERG, PC                                WHITENIGHT           KIM                   NY         10953900         WEITZ & LUXENBERG, PC
WHITAKER             TERRY E               NY         11259000         WEITZ & LUXENBERG, PC                                WHITMAN              DONALD T              NY         12444102         WEITZ & LUXENBERG, PC
WHITBECK             EDWARD                NY         01111228         WEITZ & LUXENBERG, PC                                WHITSON              ROSE                  NY         1902652013       WEITZ & LUXENBERG, PC
WHITE                ANTHONY               NY         10327999         WEITZ & LUXENBERG, PC                                WHITSON              WILLIAM D             NY         1902652013       WEITZ & LUXENBERG, PC
WHITE                BARBARA               NY         99108445         WEITZ & LUXENBERG, PC                                WHITSTONE            PRINCE                NY         11258600         WEITZ & LUXENBERG, PC
WHITE                BARBARA J             NY         19007910         WEITZ & LUXENBERG, PC                                WHITTAKER            THOMAS G              NY         CV021266         WEITZ & LUXENBERG, PC
WHITE                BENNIE L              NY         12042901         WEITZ & LUXENBERG, PC                                WHITTINGHAM          MINETT                NY         11258500         WEITZ & LUXENBERG, PC
WHITE                BETTIE                NY         1905292012       WEITZ & LUXENBERG, PC                                WHITTINGHAM          WELLESLEY             NY         11258500         WEITZ & LUXENBERG, PC
WHITE                BOBBY JOE             NY         19007910         WEITZ & LUXENBERG, PC                                WHITTINGTON          ALFRED                NY         CV041040         WEITZ & LUXENBERG, PC
WHITE                BRENDA                NY         CV025685         WEITZ & LUXENBERG, PC                                WHITTINGTON          ALVINA                NY         CV041040         WEITZ & LUXENBERG, PC
WHITE                CHARLES RAY           NY         CV017068         WEITZ & LUXENBERG, PC                                WHITTLE              ROBERT P              NY         10294302         WEITZ & LUXENBERG, PC
WHITE                CONRAD H              NY         10717401         WEITZ & LUXENBERG, PC                                WHITTON              LANNY P               NY         109178           WEITZ & LUXENBERG, PC
WHITE                CONRAD H              NY         11937600         WEITZ & LUXENBERG, PC                                WHITTON              SYLVIA                NY         109178           WEITZ & LUXENBERG, PC
WHITE                CURTIS RAY            NY         CV025685         WEITZ & LUXENBERG, PC                                WHORRALL             FRANK K               NY         11785700         WEITZ & LUXENBERG, PC
WHITE                DEANNE                NY         11050903         WEITZ & LUXENBERG, PC                                WHORRALL             LYLE                  NY         10118505         WEITZ & LUXENBERG, PC
WHITE                DEANNE M              NY         11074406         WEITZ & LUXENBERG, PC                                WHORRALL             RUTH E                NY         10118505         WEITZ & LUXENBERG, PC
WHITE                EARTHA                NY         CV015694         WEITZ & LUXENBERG, PC                                WHYTE                ALEXANDER             NY         02113565         WEITZ & LUXENBERG, PC
WHITE                EDITH                 NY         10670402         WEITZ & LUXENBERG, PC                                WHYTE                DARLENE J             NY         02113565         WEITZ & LUXENBERG, PC
WHITE                EILEEN                NY         10701406         WEITZ & LUXENBERG, PC                                WHYTE                MICHAEL W             NY         10571402         WEITZ & LUXENBERG, PC
WHITE                FRANCES K             NY         12269901         WEITZ & LUXENBERG, PC                                WICENTOWSKY          CHANA                 NY         10506306         WEITZ & LUXENBERG, PC
WHITE                GAIL A                NY         11625801         WEITZ & LUXENBERG, PC                                WICHER               DANIEL F              NY         11158903         WEITZ & LUXENBERG, PC
WHITE                GEORGE D              NY         11475205         WEITZ & LUXENBERG, PC                                WICHMAN              DOROTHY               NY         1902502014       WEITZ & LUXENBERG, PC
WHITE                GLADYS M              NY         12788702         WEITZ & LUXENBERG, PC                                WICHMAN              MARVIN                NY         1902502014       WEITZ & LUXENBERG, PC
WHITE                HAROLD                NY         12039401         WEITZ & LUXENBERG, PC                                WICHROWSKI           ELEANOR C             NY         10717301         WEITZ & LUXENBERG, PC
WHITE                HOMER                 NY         CV015694         WEITZ & LUXENBERG, PC                                WICHROWSKI           ELEANOR C             NY         11937600         WEITZ & LUXENBERG, PC
WHITE                IDA                   NY         10670602         WEITZ & LUXENBERG, PC                                WICHROWSKI           HENRY                 NY         10717301         WEITZ & LUXENBERG, PC
WHITE                IDA                   NY         11488802         WEITZ & LUXENBERG, PC                                WICHROWSKI           HENRY                 NY         11937600         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1096
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 431 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WICHROWSKI           MARY NICOLETTE        NY         10717301         WEITZ & LUXENBERG, PC                                WILCOX               MARY LOU              NY         10329499         WEITZ & LUXENBERG, PC
WICHROWSKI           MARY NICOLETTE        NY         11937600         WEITZ & LUXENBERG, PC                                WILCOX               MICHELINE C           NY         10571702         WEITZ & LUXENBERG, PC
WICK                 THOMAS ALFRED         NY         02120709         WEITZ & LUXENBERG, PC                                WILCOX               TIMOTHY M             NY         10842699         WEITZ & LUXENBERG, PC
WICKERT              DEBORAH               NY         10718601         WEITZ & LUXENBERG, PC                                WILCOX BROWN         DEBORA A              NY         10606699         WEITZ & LUXENBERG, PC
WICKERT              DEBORAH               NY         11937600         WEITZ & LUXENBERG, PC                                WILD                 GEORGE W              NY         01121099         WEITZ & LUXENBERG, PC
WICKERT              PAUL E                NY         10718601         WEITZ & LUXENBERG, PC                                WILD                 MARIE                 NY         01121099         WEITZ & LUXENBERG, PC
WICKERT              PAUL E                NY         11937600         WEITZ & LUXENBERG, PC                                WILDBERGER           CHARLES               NY         11327902         WEITZ & LUXENBERG, PC
WICKLIFFE            DEBRA DEE             NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILDBERGER           SUSAN                 NY         11327902         WEITZ & LUXENBERG, PC
WICKLIFFE            LEON D                NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILDE                FRANK A               NY         02105718         WEITZ & LUXENBERG, PC
WIDMAN               MARGARET C            NY         1904412018       WEITZ & LUXENBERG, PC                                WILDER               DAVID E               NY         12461102         WEITZ & LUXENBERG, PC
WIDMAN               WILTON                NY         1904412018       WEITZ & LUXENBERG, PC                                WILDER               JOANN M               NY         12461102         WEITZ & LUXENBERG, PC
WIDMANN              ELIZABETH             NY         10718501         WEITZ & LUXENBERG, PC                                WILDT                ANNE                  NY         02107005         WEITZ & LUXENBERG, PC
WIDMANN              ELIZABETH             NY         11937600         WEITZ & LUXENBERG, PC                                WILDT                FRANK                 NY         02107005         WEITZ & LUXENBERG, PC
WIDMANN              JACOB N               NY         10718501         WEITZ & LUXENBERG, PC                                WILEY                BERNADETTE            NY         11258200         WEITZ & LUXENBERG, PC
WIDMANN              JACOB N               NY         11937600         WEITZ & LUXENBERG, PC                                WILEY                JEAN T                NY         12042901         WEITZ & LUXENBERG, PC
WIDMANN              JAMES                 NY         10718501         WEITZ & LUXENBERG, PC                                WILEY                MICHAEL F             NY         11258200         WEITZ & LUXENBERG, PC
WIDMANN              JAMES                 NY         11937600         WEITZ & LUXENBERG, PC                                WILEY                PAULA                 NY         19000111         WEITZ & LUXENBERG, PC
WIECZOREK            DIANE                 NY         1904062012       WEITZ & LUXENBERG, PC                                WILEY                RICHARD K             NY         19000111         WEITZ & LUXENBERG, PC
WIECZOREK            FLORENCE              NY         11327702         WEITZ & LUXENBERG, PC                                WILEY                WILLIAM               NY         12042901         WEITZ & LUXENBERG, PC
WIECZOREK            FLORENCE              NY         11979302         WEITZ & LUXENBERG, PC                                WILFONG              LONNIE                NY         1900132017       WEITZ & LUXENBERG, PC
WIECZOREK            KENNETH J             NY         1904062012       WEITZ & LUXENBERG, PC                                WILFONG              ROBERTA               NY         1900132017       WEITZ & LUXENBERG, PC
WIECZOREK            ROBERT S              NY         11327702         WEITZ & LUXENBERG, PC                                WILHELM              EILEEN                NY         10718401         WEITZ & LUXENBERG, PC
WIECZOREK            ROBERT S              NY         11979302         WEITZ & LUXENBERG, PC                                WILHELM              EILEEN                NY         11937600         WEITZ & LUXENBERG, PC
WIEDINGER            DOUGLAS E             NY         99103296         WEITZ & LUXENBERG, PC                                WILHELM              ROBERT                NY         10718401         WEITZ & LUXENBERG, PC
WIEDINGER            JOYCE                 NY         99103296         WEITZ & LUXENBERG, PC                                WILHELM              ROBERT                NY         11937600         WEITZ & LUXENBERG, PC
WIEGEL               JILL                  NY         1901852017       WEITZ & LUXENBERG, PC                                WILKINS              ALBERT G              NY         11258100         WEITZ & LUXENBERG, PC
WIENCEK              ROBERT                NY         10696502         WEITZ & LUXENBERG, PC                                WILKINS              ELIZABETH MARIE       NY         02106694         WEITZ & LUXENBERG, PC
WIENCKOWSKI          DEBORAH               NY         10433900         WEITZ & LUXENBERG, PC                                WILKINS              HAROLD                NY         12043301         WEITZ & LUXENBERG, PC
WIEPRECHT            LOUIS                 NY         10039603         WEITZ & LUXENBERG, PC                                WILKINS              HENRY                 NY         10696502         WEITZ & LUXENBERG, PC
WIER                 DOROTHY               NY         02107102         WEITZ & LUXENBERG, PC                                WILKINS              IVA                   NY         02106508         WEITZ & LUXENBERG, PC
WIER                 JOSEPH J              NY         02107102         WEITZ & LUXENBERG, PC                                WILKINS              JOHN                  NY         02106508         WEITZ & LUXENBERG, PC
WIERNICKI            NEIL                  NY         11327602         WEITZ & LUXENBERG, PC                                WILKINS              JOSEPH J              NY         02106694         WEITZ & LUXENBERG, PC
WIERNICKI            NEIL                  NY         12108902         WEITZ & LUXENBERG, PC                                WILKINS              PATRICIA E            NY         11258100         WEITZ & LUXENBERG, PC
WIERZCHOWICZ         RUTH                  NY         01108564         WEITZ & LUXENBERG, PC                                WILKINS              WALTER                NY         02106690         WEITZ & LUXENBERG, PC
WIERZCHOWICZ         STANLEY C             NY         01108564         WEITZ & LUXENBERG, PC                                WILLANS              JOHN E                PA         171203810        WEITZ & LUXENBERG, PC
WIESE                ELAINE                NY         11258400         WEITZ & LUXENBERG, PC                                WILLARD              FAYE                  NY         99111891         WEITZ & LUXENBERG, PC
WIESE                HARLOW                NY         11258400         WEITZ & LUXENBERG, PC                                WILLARD              GEORGE J              NY         99103292         WEITZ & LUXENBERG, PC
WIESE                HERMAN J              NY         10860599         WEITZ & LUXENBERG, PC                                WILLARD              HOWARD                NY         99111891         WEITZ & LUXENBERG, PC
WIESE                WALTER O              NY         10860599         WEITZ & LUXENBERG, PC                                WILLARD              KATHLEEN              NY         99103292         WEITZ & LUXENBERG, PC
WIESNER              JAMES R               NY         11800903         WEITZ & LUXENBERG, PC                                WILLARD              PATRICIA              NY         00CIV3588        WEITZ & LUXENBERG, PC
WIESZALA             MARY J                NY         11525100         WEITZ & LUXENBERG, PC                                WILLARD              PAUL W                NY         00CIV3588        WEITZ & LUXENBERG, PC
WIESZALA             THADDEUS              NY         11525100         WEITZ & LUXENBERG, PC                                WILLEMSSEN           CONNIE                NY         8041122017       WEITZ & LUXENBERG, PC
WIETCHY              HENRY E               NY         10329599         WEITZ & LUXENBERG, PC                                WILLEMSSEN           DAVID L               NY         8041122017       WEITZ & LUXENBERG, PC
WIGDEN               HARRY                 NY         10860899         WEITZ & LUXENBERG, PC                                WILLETT              ERNEST E              NY         12038901         WEITZ & LUXENBERG, PC
WIGDEN               JUNE G                NY         10860899         WEITZ & LUXENBERG, PC                                WILLETT              ERNEST E              NY         10001602         WEITZ & LUXENBERG, PC
WIGGINS              DONALD RAY            NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILLETT              GEORGIA               NY         12038901         WEITZ & LUXENBERG, PC
WIGGINS              JIMMY                 NY         1902492016       WEITZ & LUXENBERG, PC                                WILLETT              GEORGIA               NY         10001602         WEITZ & LUXENBERG, PC
WIGGINS              LINDA                 NY         1902492016       WEITZ & LUXENBERG, PC                                WILLETT              JOSEPH A              NY         10680702         WEITZ & LUXENBERG, PC
WIGGINS              TERESA                NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILLEY               MICHALE J             NY         99108624         WEITZ & LUXENBERG, PC
WIGHT                ARLENE                NY         610201           WEITZ & LUXENBERG, PC                                WILLEY               PATRICIA              NY         99108624         WEITZ & LUXENBERG, PC
WIGHT                JANICE A              NY         10912400         WEITZ & LUXENBERG, PC                                WILLEY               WILLIAM R             NY         99108624         WEITZ & LUXENBERG, PC
WIGHT                ROBERT                NY         610201           WEITZ & LUXENBERG, PC                                WILLIAM              JACQUELIN             NY         11257900         WEITZ & LUXENBERG, PC
WILBUR               ARTHUR M              NY         10700102         WEITZ & LUXENBERG, PC                                WILLIAMS             ALBERT                NY         99103291         WEITZ & LUXENBERG, PC
WILBUR               BETTY                 NY         10858603         WEITZ & LUXENBERG, PC                                WILLIAMS             ALFRED                NY         01112180         WEITZ & LUXENBERG, PC
WILBUR               FANNIE                NY         10680802         WEITZ & LUXENBERG, PC                                WILLIAMS             AMY                   NY         19022210         WEITZ & LUXENBERG, PC
WILBUR               FANNIE                NY         11052102         WEITZ & LUXENBERG, PC                                WILLIAMS             ANDY W                NY         CV01443          WEITZ & LUXENBERG, PC
WILBUR               FRANNIE               NY         10680802         WEITZ & LUXENBERG, PC                                WILLIAMS             ANNIE                 NY         CV021310         WEITZ & LUXENBERG, PC
WILBUR               FRANNIE               NY         11052102         WEITZ & LUXENBERG, PC                                WILLIAMS             ANNIE W               NY         CV02830          WEITZ & LUXENBERG, PC
WILBUR               LEON                  NY         10680802         WEITZ & LUXENBERG, PC                                WILLIAMS             AUGUSTUS J            NY         12039501         WEITZ & LUXENBERG, PC
WILBUR               LEON                  NY         11052102         WEITZ & LUXENBERG, PC                                WILLIAMS             BENJAMIN M            NY         12039301         WEITZ & LUXENBERG, PC
WILBY                CLIFTON               NY         11258300         WEITZ & LUXENBERG, PC                                WILLIAMS             BERNENA               NY         10316502         WEITZ & LUXENBERG, PC
WILCOX               CHRISTINE             NY         11525200         WEITZ & LUXENBERG, PC                                WILLIAMS             BERTHELMER            NY         01CIV3901        WEITZ & LUXENBERG, PC
WILCOX               EVELYN C              NY         I20019665        WEITZ & LUXENBERG, PC                                WILLIAMS             BERTRAM F             NY         11644801         WEITZ & LUXENBERG, PC
WILCOX               EVERETT EARL          NY         10842699         WEITZ & LUXENBERG, PC                                WILLIAMS             BERTRAM F             NY         01111219         WEITZ & LUXENBERG, PC
WILCOX               FREDERICK             NY         10712700         WEITZ & LUXENBERG, PC                                WILLIAMS             BETTY JANE            NY         11525400         WEITZ & LUXENBERG, PC
WILCOX               FREDERICK L           NY         10329499         WEITZ & LUXENBERG, PC                                WILLIAMS             BETTY JEAN            NY         00CIV3588        WEITZ & LUXENBERG, PC
WILCOX               GEORGE R              NY         10571702         WEITZ & LUXENBERG, PC                                WILLIAMS             BILL                  NY         00CIV3588        WEITZ & LUXENBERG, PC
WILCOX               JAMES                 NY         I20019665        WEITZ & LUXENBERG, PC                                WILLIAMS             BILLY V               NY         CV013921         WEITZ & LUXENBERG, PC
WILCOX               JOHN B                NY         11525200         WEITZ & LUXENBERG, PC                                WILLIAMS             CATHERINE B           NY         99102371         WEITZ & LUXENBERG, PC
WILCOX               LILLIAN               NY         10842699         WEITZ & LUXENBERG, PC                                WILLIAMS             CHARLES               NY         10237099         WEITZ & LUXENBERG, PC
WILCOX               MARY LOU              NY         10712700         WEITZ & LUXENBERG, PC                                WILLIAMS             CHARLES               NY         19023810         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1097
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 432 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WILLIAMS             CHARLES F             NY         12038901         WEITZ & LUXENBERG, PC                                WILLIAMS             MARY                  NY         11937600         WEITZ & LUXENBERG, PC
WILLIAMS             CHARLES S             NY         02105713         WEITZ & LUXENBERG, PC                                WILLIAMS             MARY                  NY         19025209         WEITZ & LUXENBERG, PC
WILLIAMS             CLEMMIE               NY         11257800         WEITZ & LUXENBERG, PC                                WILLIAMS             MARY                  NY         CV01443          WEITZ & LUXENBERG, PC
WILLIAMS             COLES J               NY         10718301         WEITZ & LUXENBERG, PC                                WILLIAMS             MARY SUE              NY         01CIV3920        WEITZ & LUXENBERG, PC
WILLIAMS             COLES J               NY         11937600         WEITZ & LUXENBERG, PC                                WILLIAMS             MAUDE                 NY         01CIV3897        WEITZ & LUXENBERG, PC
WILLIAMS             DANNY                 NY         1901942016       WEITZ & LUXENBERG, PC                                WILLIAMS             MORRIS WAYNE          NY         02106508         WEITZ & LUXENBERG, PC
WILLIAMS             DAVID                 NY         11257700         WEITZ & LUXENBERG, PC                                WILLIAMS             NANCY                 NY         1901942016       WEITZ & LUXENBERG, PC
WILLIAMS             DENNIS                NY         10710102         WEITZ & LUXENBERG, PC                                WILLIAMS             NEAL O                NY         CV02830          WEITZ & LUXENBERG, PC
WILLIAMS             DENNIS                NY         10809802         WEITZ & LUXENBERG, PC                                WILLIAMS             NELLIE J              NY         99102368         WEITZ & LUXENBERG, PC
WILLIAMS             DIANA                 NY         12039501         WEITZ & LUXENBERG, PC                                WILLIAMS             O'NEAL                NY         CV021310         WEITZ & LUXENBERG, PC
WILLIAMS             DIANA L               NY         01CIV3914        WEITZ & LUXENBERG, PC                                WILLIAMS             ORMOND H              NY         12057303         WEITZ & LUXENBERG, PC
WILLIAMS             DIANA L               NY         02105713         WEITZ & LUXENBERG, PC                                WILLIAMS             PATRICIA              NY         11644801         WEITZ & LUXENBERG, PC
WILLIAMS             DONALD R              NY         11644801         WEITZ & LUXENBERG, PC                                WILLIAMS             PEARLINE A            NY         01CIV3913        WEITZ & LUXENBERG, PC
WILLIAMS             DORIS ALICE           NY         11257500         WEITZ & LUXENBERG, PC                                WILLIAMS             PRENTICE              NY         01CIV3901        WEITZ & LUXENBERG, PC
WILLIAMS             DOROTHY               NY         12042901         WEITZ & LUXENBERG, PC                                WILLIAMS             RAYMOND E             NY         02113280         WEITZ & LUXENBERG, PC
WILLIAMS             EDITH                 NY         11257600         WEITZ & LUXENBERG, PC                                WILLIAMS             RAYMOND W             NY         99102366         WEITZ & LUXENBERG, PC
WILLIAMS             EDNA                  NY         00CIV3588        WEITZ & LUXENBERG, PC                                WILLIAMS             RICHARD L             NY         10696402         WEITZ & LUXENBERG, PC
WILLIAMS             EDWARD ALBERT         NY         99108431         WEITZ & LUXENBERG, PC                                WILLIAMS             RICHARD L             NY         11211402         WEITZ & LUXENBERG, PC
WILLIAMS             EDWARD T              NY         10843299         WEITZ & LUXENBERG, PC                                WILLIAMS             ROBERT A              NY         11257600         WEITZ & LUXENBERG, PC
WILLIAMS             EILEEN M              NY         11525500         WEITZ & LUXENBERG, PC                                WILLIAMS             ROBERT C              NY         10680802         WEITZ & LUXENBERG, PC
WILLIAMS             ELIZABETH             NY         10843299         WEITZ & LUXENBERG, PC                                WILLIAMS             ROBERT C              NY         10023203         WEITZ & LUXENBERG, PC
WILLIAMS             ELSIE MARIE           NY         00CIV3588        WEITZ & LUXENBERG, PC                                WILLIAMS             ROOSEVELT             NY         11257500         WEITZ & LUXENBERG, PC
WILLIAMS             EMMETT                NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILLIAMS             ROSA                  NY         10844299         WEITZ & LUXENBERG, PC
WILLIAMS             ERNESTINE             NY         10843399         WEITZ & LUXENBERG, PC                                WILLIAMS             ROSETTA               NY         01CIV3901        WEITZ & LUXENBERG, PC
WILLIAMS             EVELYN                NY         10718001         WEITZ & LUXENBERG, PC                                WILLIAMS             RUSSELL DANIEL        NY         10571402         WEITZ & LUXENBERG, PC
WILLIAMS             EVELYN                NY         11937600         WEITZ & LUXENBERG, PC                                WILLIAMS             RUSSELL DANIEL        NY         11183702         WEITZ & LUXENBERG, PC
WILLIAMS             FELICIA               NY         10236999         WEITZ & LUXENBERG, PC                                WILLIAMS             SAMUEL                NY         02107102         WEITZ & LUXENBERG, PC
WILLIAMS             FRANCES               NY         99108431         WEITZ & LUXENBERG, PC                                WILLIAMS             SAMUEL                NY         01111223         WEITZ & LUXENBERG, PC
WILLIAMS             FRANCINE E            NY         10700002         WEITZ & LUXENBERG, PC                                WILLIAMS             SONTO M               NY         01CIV3914        WEITZ & LUXENBERG, PC
WILLIAMS             FRANCINE E            NY         11115702         WEITZ & LUXENBERG, PC                                WILLIAMS             STANLEY               NY         10237099         WEITZ & LUXENBERG, PC
WILLIAMS             FRANKLIN D            NY         10844299         WEITZ & LUXENBERG, PC                                WILLIAMS             STELLA M              NY         11257700         WEITZ & LUXENBERG, PC
WILLIAMS             FREDDIE LEE           NY         10236999         WEITZ & LUXENBERG, PC                                WILLIAMS             SYLVESTER ARTHUR      NY         10236599         WEITZ & LUXENBERG, PC
WILLIAMS             GEORGE F              NY         19022210         WEITZ & LUXENBERG, PC                                WILLIAMS             SYLVIA                NY         10568199         WEITZ & LUXENBERG, PC
WILLIAMS             GLORIA M              NY         02116177         WEITZ & LUXENBERG, PC                                WILLIAMS             TERESA                NY         10571402         WEITZ & LUXENBERG, PC
WILLIAMS             GORDON E              NY         99102368         WEITZ & LUXENBERG, PC                                WILLIAMS             TERESA                NY         11183702         WEITZ & LUXENBERG, PC
WILLIAMS             GRETA                 NY         02120706         WEITZ & LUXENBERG, PC                                WILLIAMS             THEODORE IRVING       NY         11257400         WEITZ & LUXENBERG, PC
WILLIAMS             HANK                  NY         1905412012       WEITZ & LUXENBERG, PC                                WILLIAMS             THOMAS                NY         11937600         WEITZ & LUXENBERG, PC
WILLIAMS             HAZEL                 NY         10712900         WEITZ & LUXENBERG, PC                                WILLIAMS             THURSTON              NY         01CIV3920        WEITZ & LUXENBERG, PC
WILLIAMS             HAZEL M               NY         02113280         WEITZ & LUXENBERG, PC                                WILLIAMS             ULISHES               NY         12042901         WEITZ & LUXENBERG, PC
WILLIAMS             JAMES K               NY         10236799         WEITZ & LUXENBERG, PC                                WILLIAMS             VICTORIA K            NY         01CIV3900        WEITZ & LUXENBERG, PC
WILLIAMS             JANIE                 NY         10236799         WEITZ & LUXENBERG, PC                                WILLIAMS             WELDON D              NY         19025209         WEITZ & LUXENBERG, PC
WILLIAMS             JEAN                  NY         10696402         WEITZ & LUXENBERG, PC                                WILLIAMS             WENDY                 NY         02107102         WEITZ & LUXENBERG, PC
WILLIAMS             JEAN                  NY         11211402         WEITZ & LUXENBERG, PC                                WILLIAMS             WILLIAM J             NY         11525400         WEITZ & LUXENBERG, PC
WILLIAMS             JERRY L               NY         CV012711         WEITZ & LUXENBERG, PC                                WILLIAMS             WILLIE                NY         CV020076         WEITZ & LUXENBERG, PC
WILLIAMS             JESSE                 NY         01CIV3900        WEITZ & LUXENBERG, PC                                WILLIAMS             WILLIE                NY         CV013921         WEITZ & LUXENBERG, PC
WILLIAMS             JESSIE MAE            NY         CV020076         WEITZ & LUXENBERG, PC                                WILLIAMS             WILLIS B              NY         10718001         WEITZ & LUXENBERG, PC
WILLIAMS             JIMMY                 NY         11257900         WEITZ & LUXENBERG, PC                                WILLIAMS             WILLIS B              NY         11937600         WEITZ & LUXENBERG, PC
WILLIAMS             JOE D                 NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILLIAMSEN           LAWRENCE PETER        NY         10236499         WEITZ & LUXENBERG, PC
WILLIAMS             JOHN FRANK            NY         00CIV3588        WEITZ & LUXENBERG, PC                                WILLIAMSEN           VERONICA FLORENCE     NY         10236499         WEITZ & LUXENBERG, PC
WILLIAMS             JOHN L                NY         11257800         WEITZ & LUXENBERG, PC                                WILLIAMSON           CHARLES A             NY         11257300         WEITZ & LUXENBERG, PC
WILLIAMS             JOHN S                NY         10085503         WEITZ & LUXENBERG, PC                                WILLIAMSON           CLAYTON C             NY         11257200         WEITZ & LUXENBERG, PC
WILLIAMS             JOHN S                NY         10625003         WEITZ & LUXENBERG, PC                                WILLIAMSON           DOROTHY               NY         11257300         WEITZ & LUXENBERG, PC
WILLIAMS             JOSEPH ARTHUR         NY         00CIV3588        WEITZ & LUXENBERG, PC                                WILLIAMSON           GARY M                NY         10074103         WEITZ & LUXENBERG, PC
WILLIAMS             JOSEPH P              NY         11525500         WEITZ & LUXENBERG, PC                                WILLIAMSON           JOHN G                NY         12577299         WEITZ & LUXENBERG, PC
WILLIAMS             JUNE MARIE            NY         11303900         WEITZ & LUXENBERG, PC                                WILLIAMSON           MARIE                 NY         01111226         WEITZ & LUXENBERG, PC
WILLIAMS             KATIE                 NY         12038901         WEITZ & LUXENBERG, PC                                WILLIAMSON           NANCY                 NY         12577299         WEITZ & LUXENBERG, PC
WILLIAMS             KATIE                 NY         10710102         WEITZ & LUXENBERG, PC                                WILLIAMSON           WILLIAM H             NY         01111226         WEITZ & LUXENBERG, PC
WILLIAMS             KATIE                 NY         10809802         WEITZ & LUXENBERG, PC                                WILLIS               AMELIA                NY         11188699         WEITZ & LUXENBERG, PC
WILLIAMS             KENNETH R             NY         10843399         WEITZ & LUXENBERG, PC                                WILLIS               CATHERIN              NY         CV044473         WEITZ & LUXENBERG, PC
WILLIAMS             KIMMERLY              NY         1905412012       WEITZ & LUXENBERG, PC                                WILLIS               CONNIE                NY         01CIV3900        WEITZ & LUXENBERG, PC
WILLIAMS             KIRK J                NY         11257700         WEITZ & LUXENBERG, PC                                WILLIS               DAVID                 NY         CV044473         WEITZ & LUXENBERG, PC
WILLIAMS             LLOYD                 NY         02120706         WEITZ & LUXENBERG, PC                                WILLIS               JAMES C               NY         11188699         WEITZ & LUXENBERG, PC
WILLIAMS             LONNIE                NY         01CIV3913        WEITZ & LUXENBERG, PC                                WILLIS               KAREN                 NY         12220399         WEITZ & LUXENBERG, PC
WILLIAMS             LOUISE                NY         99103291         WEITZ & LUXENBERG, PC                                WILLIS               LUELLA MARY           NY         11257100         WEITZ & LUXENBERG, PC
WILLIAMS             LYNN                  NY         11257400         WEITZ & LUXENBERG, PC                                WILLIS               ROBERT G              NY         11257100         WEITZ & LUXENBERG, PC
WILLIAMS             MARIE                 NY         12039301         WEITZ & LUXENBERG, PC                                WILLIX               JOHN                  NY         10843999         WEITZ & LUXENBERG, PC
WILLIAMS             MARION                NY         10316502         WEITZ & LUXENBERG, PC                                WILLIX               LORRAINE              NY         10843999         WEITZ & LUXENBERG, PC
WILLIAMS             MARVA DELORES         NY         01CIV3907        WEITZ & LUXENBERG, PC                                WILLIX               PHILLIP D             NY         02106508         WEITZ & LUXENBERG, PC
WILLIAMS             MARY                  NY         19023810         WEITZ & LUXENBERG, PC                                WILLMER              RAYMOND               NY         11685106         WEITZ & LUXENBERG, PC
WILLIAMS             MARY                  NY         10680802         WEITZ & LUXENBERG, PC                                WILLOW               G ANNE                NY         11024404         WEITZ & LUXENBERG, PC
WILLIAMS             MARY                  NY         10718301         WEITZ & LUXENBERG, PC                                WILLOW               MAX D                 NY         11024404         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1098
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 433 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WILLS                ARTHUR L              NY         12322801         WEITZ & LUXENBERG, PC                                WILSON               WILBERT               NY         1901852019       WEITZ & LUXENBERG, PC
WILLS                SUZANNE M             NY         12322801         WEITZ & LUXENBERG, PC                                WILSON               WILLIAM               NY         CV013921         WEITZ & LUXENBERG, PC
WILLSON              JAMES E               NY         02105713         WEITZ & LUXENBERG, PC                                WILSON               WILLIAM C             NY         12043001         WEITZ & LUXENBERG, PC
WILNER               DONALD                NY         12668602         WEITZ & LUXENBERG, PC                                WILSON               WILLIAM H             NY         10670602         WEITZ & LUXENBERG, PC
WILSON               AL                    NY         CV017534         WEITZ & LUXENBERG, PC                                WILSON               WILLIAM W             NY         01107063         WEITZ & LUXENBERG, PC
WILSON               ALVIN J               NY         11257000         WEITZ & LUXENBERG, PC                                WILSON-BRYANT        GLENDA                NY         1901852019       WEITZ & LUXENBERG, PC
WILSON               ALVIN ORLINZA         NY         01CIV3901        WEITZ & LUXENBERG, PC                                WILTON               GARY W                NY         11256600         WEITZ & LUXENBERG, PC
WILSON               ANN                   NY         12039901         WEITZ & LUXENBERG, PC                                WILTON               NANCY                 NY         11256600         WEITZ & LUXENBERG, PC
WILSON               ANN                   NY         10454602         WEITZ & LUXENBERG, PC                                WILTSHIRE            CATHERINE             NY         12038801         WEITZ & LUXENBERG, PC
WILSON               ANNA MAY              NY         11525800         WEITZ & LUXENBERG, PC                                WILTSHIRE            CATHERINE             NY         10627202         WEITZ & LUXENBERG, PC
WILSON               ARLEN R               NY         1903662015       WEITZ & LUXENBERG, PC                                WILTSHIRE            REGINALD              NY         12038801         WEITZ & LUXENBERG, PC
WILSON               ARTHUR E              NY         02106578         WEITZ & LUXENBERG, PC                                WILTSHIRE            REGINALD              NY         10627202         WEITZ & LUXENBERG, PC
WILSON               BARBARA               NY         11256900         WEITZ & LUXENBERG, PC                                WIMBASH              EDWARD                NY         11256500         WEITZ & LUXENBERG, PC
WILSON               BERNICE               NY         CV013921         WEITZ & LUXENBERG, PC                                WIMBASH              HATTIE                NY         11256500         WEITZ & LUXENBERG, PC
WILSON               CARL D                NY         12801902         WEITZ & LUXENBERG, PC                                WINARSKY             NORMAN P              NY         11256400         WEITZ & LUXENBERG, PC
WILSON               CHRIS                 NY         CV017534         WEITZ & LUXENBERG, PC                                WINARSKY             SYLVIA                NY         11256400         WEITZ & LUXENBERG, PC
WILSON               CLAUDINE              NY         00CIV6636        WEITZ & LUXENBERG, PC                                WINBURY              CHRISTINE             NY         02107102         WEITZ & LUXENBERG, PC
WILSON               CLAYTON L             NY         19025510         WEITZ & LUXENBERG, PC                                WINBURY              FRANK C               NY         02107102         WEITZ & LUXENBERG, PC
WILSON               DANIEL S              NY         10236299         WEITZ & LUXENBERG, PC                                WINCHELL             CARL LARRY            NY         02106692         WEITZ & LUXENBERG, PC
WILSON               DAVID ERIC            NY         10710102         WEITZ & LUXENBERG, PC                                WINCHELL             LINDA LEE             NY         02106692         WEITZ & LUXENBERG, PC
WILSON               DIANE                 NY         12043001         WEITZ & LUXENBERG, PC                                WINCHELL             SUSAN                 NY         11256300         WEITZ & LUXENBERG, PC
WILSON               DOLORES J             NY         11026902         WEITZ & LUXENBERG, PC                                WINCHELL             WALTER JAMES          NY         11256300         WEITZ & LUXENBERG, PC
WILSON               DOLORES J             NY         12682102         WEITZ & LUXENBERG, PC                                WINCHESTER           GLENN H               NY         12693702         WEITZ & LUXENBERG, PC
WILSON               DONALD F              NY         10694400         WEITZ & LUXENBERG, PC                                WINCHESTER           MARTHA                NY         12693702         WEITZ & LUXENBERG, PC
WILSON               DONNA K               NY         11257000         WEITZ & LUXENBERG, PC                                WINDISCH             HORST                 NY         12668102         WEITZ & LUXENBERG, PC
WILSON               DOREEN                NY         10890103         WEITZ & LUXENBERG, PC                                WINDISCH             HORST                 NY         10349003         WEITZ & LUXENBERG, PC
WILSON               DOYLE O               NY         01CIV3901        WEITZ & LUXENBERG, PC                                WINDISCH             MARIA                 NY         12668102         WEITZ & LUXENBERG, PC
WILSON               ELLEN F               NY         10710102         WEITZ & LUXENBERG, PC                                WINDISCH             MARIA                 NY         10349003         WEITZ & LUXENBERG, PC
WILSON               EVEYLN                NY         10670602         WEITZ & LUXENBERG, PC                                WINDOWS              ELLEN                 NY         01111224         WEITZ & LUXENBERG, PC
WILSON               FLORA                 NY         10236299         WEITZ & LUXENBERG, PC                                WINDOWS              THOMAS                NY         01111224         WEITZ & LUXENBERG, PC
WILSON               FLORENCE              NY         19025510         WEITZ & LUXENBERG, PC                                WINEGAR              JAMES R               NY         02113280         WEITZ & LUXENBERG, PC
WILSON               FRED FRANCIS          NY         99108440         WEITZ & LUXENBERG, PC                                WINEWSKI             FRANK                 NY         10718901         WEITZ & LUXENBERG, PC
WILSON               GENE E                NY         10717901         WEITZ & LUXENBERG, PC                                WINEWSKI             FRANK                 NY         11937600         WEITZ & LUXENBERG, PC
WILSON               GENE E                NY         11937600         WEITZ & LUXENBERG, PC                                WINEWSKI             LEONORA               NY         10718901         WEITZ & LUXENBERG, PC
WILSON               GILBERT SR            NY         11256700         WEITZ & LUXENBERG, PC                                WINEWSKI             LEONORA               NY         11937600         WEITZ & LUXENBERG, PC
WILSON               GRACE                 NY         99108440         WEITZ & LUXENBERG, PC                                WINFREE              BRENDA                NY         11937600         WEITZ & LUXENBERG, PC
WILSON               HARRIETT              NY         01107063         WEITZ & LUXENBERG, PC                                WINFREE              LOUIS                 NY         11937600         WEITZ & LUXENBERG, PC
WILSON               HOMER L               NY         11525800         WEITZ & LUXENBERG, PC                                WINKELMAN            GARY WILLIAM          NY         12220199         WEITZ & LUXENBERG, PC
WILSON               JAMES E               NY         10719001         WEITZ & LUXENBERG, PC                                WINKLER              FREIDA K              NY         CV012430         WEITZ & LUXENBERG, PC
WILSON               JAMES L               NY         11256800         WEITZ & LUXENBERG, PC                                WINKLER              GERALD L              NY         CV012430         WEITZ & LUXENBERG, PC
WILSON               LARRY                 NY         10694300         WEITZ & LUXENBERG, PC                                WINKLER              JOSEF                 NY         01111227         WEITZ & LUXENBERG, PC
WILSON               LOUIS                 NY         10930603         WEITZ & LUXENBERG, PC                                WINKLER              MARIA                 NY         11525900         WEITZ & LUXENBERG, PC
WILSON               MARILYN               NY         01CIV3901        WEITZ & LUXENBERG, PC                                WINKLER              PAUL R                NY         11525900         WEITZ & LUXENBERG, PC
WILSON               MARION E              NY         10535801         WEITZ & LUXENBERG, PC                                WINKLER              ROBERT P              NY         11525900         WEITZ & LUXENBERG, PC
WILSON               MARY                  NY         10235999         WEITZ & LUXENBERG, PC                                WINKOWSKI            MARY A                NY         02105718         WEITZ & LUXENBERG, PC
WILSON               MARY                  NY         10717901         WEITZ & LUXENBERG, PC                                WINKOWSKI            TIMOTHY G             NY         02105718         WEITZ & LUXENBERG, PC
WILSON               MARY                  NY         11937600         WEITZ & LUXENBERG, PC                                WINNETT              ARTHUR D              NY         02120708         WEITZ & LUXENBERG, PC
WILSON               MARY JANE             NY         10694400         WEITZ & LUXENBERG, PC                                WINNETT              LILLIAN               NY         02120708         WEITZ & LUXENBERG, PC
WILSON               MELVIN                NY         1901852019       WEITZ & LUXENBERG, PC                                WINNEY               DAVID H               NY         10235899         WEITZ & LUXENBERG, PC
WILSON               MONA                  NY         11256800         WEITZ & LUXENBERG, PC                                WINNEY               SANDRA                NY         10235899         WEITZ & LUXENBERG, PC
WILSON               NANCY J               NY         11525800         WEITZ & LUXENBERG, PC                                WINQUIST             MARY                  NY         10710002         WEITZ & LUXENBERG, PC
WILSON               PATRICIA              NY         01CIV3901        WEITZ & LUXENBERG, PC                                WINQUIST             RICHARD D             NY         10710002         WEITZ & LUXENBERG, PC
WILSON               PATRICIA              NY         11256700         WEITZ & LUXENBERG, PC                                WINSLOW              CLARK L               NY         10235799         WEITZ & LUXENBERG, PC
WILSON               PATRICIA              NY         10719001         WEITZ & LUXENBERG, PC                                WINSLOW              JOSEPH W              NY         11428800         WEITZ & LUXENBERG, PC
WILSON               PATSY                 NY         10535000         WEITZ & LUXENBERG, PC                                WINSLOW              JOYCE                 NY         11428800         WEITZ & LUXENBERG, PC
WILSON               PATSY D               NY         10694300         WEITZ & LUXENBERG, PC                                WINSLOW              SCOTT J               NY         11428800         WEITZ & LUXENBERG, PC
WILSON               PAULINE M             NY         02106578         WEITZ & LUXENBERG, PC                                WINSOR               ANGELA                NY         1904322013       WEITZ & LUXENBERG, PC
WILSON               PENNY M               NY         110562           WEITZ & LUXENBERG, PC                                WINSOR               MATTHEW               NY         1904322013       WEITZ & LUXENBERG, PC
WILSON               PENNY M               NY         12448902         WEITZ & LUXENBERG, PC                                WINSTON              AHLERS                NY         11349803         WEITZ & LUXENBERG, PC
WILSON               PHILLIP CHARLES       NY         10670402         WEITZ & LUXENBERG, PC                                WINSTON              MARGARET              NY         11349803         WEITZ & LUXENBERG, PC
WILSON               RALPH C               NY         10890103         WEITZ & LUXENBERG, PC                                WINTER               BERNIDINE J           NY         10710002         WEITZ & LUXENBERG, PC
WILSON               RICHARD               NY         10235999         WEITZ & LUXENBERG, PC                                WINTERFELDT          CHARLES R             NY         11428700         WEITZ & LUXENBERG, PC
WILSON               ROBERT                NY         11785800         WEITZ & LUXENBERG, PC                                WINTERFELDT          MARY                  NY         11428700         WEITZ & LUXENBERG, PC
WILSON               ROBERT L              NY         10535801         WEITZ & LUXENBERG, PC                                WINTERHALTER         CLIFFORD F            NY         11526100         WEITZ & LUXENBERG, PC
WILSON               ROGER J               NY         12039901         WEITZ & LUXENBERG, PC                                WINTERHALTER         DORIS M               NY         11526100         WEITZ & LUXENBERG, PC
WILSON               ROGER J               NY         10454602         WEITZ & LUXENBERG, PC                                WINTERMAN            BEVERLY               NY         11179404         WEITZ & LUXENBERG, PC
WILSON               RUSSELL C             NY         CV033191         WEITZ & LUXENBERG, PC                                WINTERMAN            GENE                  NY         11179404         WEITZ & LUXENBERG, PC
WILSON               STANLEY               NY         11026902         WEITZ & LUXENBERG, PC                                WINTERS              BETTY A               NY         110563           WEITZ & LUXENBERG, PC
WILSON               STANLEY               NY         12682102         WEITZ & LUXENBERG, PC                                WINTERS              BETTY A               NY         12448902         WEITZ & LUXENBERG, PC
WILSON               THOMAS FRANK          NY         110562           WEITZ & LUXENBERG, PC                                WINTERS              BRUCE G               NY         10680602         WEITZ & LUXENBERG, PC
WILSON               THOMAS FRANK          NY         12448902         WEITZ & LUXENBERG, PC                                WINTERS              CHARLES W             NY         10710002         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1099
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 434 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WINTERS              DONALD R              NY         10718701         WEITZ & LUXENBERG, PC                                WOHLBERG             RONNI S               NY         11556303         WEITZ & LUXENBERG, PC
WINTERS              DONALD R              NY         11937600         WEITZ & LUXENBERG, PC                                WOHLERS              HAROLD                NY         10652904         WEITZ & LUXENBERG, PC
WINTERS              DONALD R JR           NY         10718701         WEITZ & LUXENBERG, PC                                WOHLERS              PATRICIA              NY         10652904         WEITZ & LUXENBERG, PC
WINTERS              DONALD R JR           NY         11937600         WEITZ & LUXENBERG, PC                                WOHLHEITER           JOHN K                NY         11428400         WEITZ & LUXENBERG, PC
WINTERS              DONNA M               NY         10680602         WEITZ & LUXENBERG, PC                                WOHN                 JOHN H                NY         11526500         WEITZ & LUXENBERG, PC
WINTERS              GERALD W              NY         110563           WEITZ & LUXENBERG, PC                                WOHN                 MICHAEL K             NY         11526500         WEITZ & LUXENBERG, PC
WINTERS              GERALD W              NY         12448902         WEITZ & LUXENBERG, PC                                WOIKA                FLORYAN J             NY         11428300         WEITZ & LUXENBERG, PC
WINTERS              JOHN S                NY         10669102         WEITZ & LUXENBERG, PC                                WOISIN               ROBIN                 NY         01111227         WEITZ & LUXENBERG, PC
WINTERS              NANCY                 NY         10669102         WEITZ & LUXENBERG, PC                                WOJCICKI             PAUL G                NY         10719101         WEITZ & LUXENBERG, PC
WINTERS              THELMA                NY         10718701         WEITZ & LUXENBERG, PC                                WOJCICKI             PAUL G                NY         11937600         WEITZ & LUXENBERG, PC
WINTERS              THELMA                NY         11937600         WEITZ & LUXENBERG, PC                                WOJCICKI             PAULINE               NY         10719101         WEITZ & LUXENBERG, PC
WINTHROP             BETTY JEAN            NY         CV013921         WEITZ & LUXENBERG, PC                                WOJCICKI             PAULINE               NY         11937600         WEITZ & LUXENBERG, PC
WINTHROP             JERRY                 NY         CV013921         WEITZ & LUXENBERG, PC                                WOJCIK               CHESTER JOSEPH        NY         10571702         WEITZ & LUXENBERG, PC
WIPFLER              WILLIAM               NY         99118414         WEITZ & LUXENBERG, PC                                WOJCIK               JOSEPHINE A           NY         10571702         WEITZ & LUXENBERG, PC
WIRFEL               THOMAS J              NY         10587602         WEITZ & LUXENBERG, PC                                WOJCIK               THEODORE              NY         99102349         WEITZ & LUXENBERG, PC
WIRFEL               THOMAS J              NY         10973202         WEITZ & LUXENBERG, PC                                WOJTAS               EDMUND                NY         1901102012       WEITZ & LUXENBERG, PC
WIRFEL               TWILA                 NY         10587602         WEITZ & LUXENBERG, PC                                WOJTAS               JOHN J                NY         10710002         WEITZ & LUXENBERG, PC
WIRFEL               TWILA                 NY         10973202         WEITZ & LUXENBERG, PC                                WOJTAS               LARRY                 NY         1901102012       WEITZ & LUXENBERG, PC
WIRTA                CLAIRE                NY         10235699         WEITZ & LUXENBERG, PC                                WOJTAS               RUTH M                NY         10710002         WEITZ & LUXENBERG, PC
WIRTA                JOHN R                NY         10235699         WEITZ & LUXENBERG, PC                                WOJTASZEK            CHRISTINE             NY         10809602         WEITZ & LUXENBERG, PC
WISE                 BETTY                 NY         10871201         WEITZ & LUXENBERG, PC                                WOJTASZEK            MICHAEL N             NY         10809602         WEITZ & LUXENBERG, PC
WISE                 CLAIR                 NY         10871201         WEITZ & LUXENBERG, PC                                WOLCOTT              KAREN                 NY         10670802         WEITZ & LUXENBERG, PC
WISE                 DAVID J               NY         10696402         WEITZ & LUXENBERG, PC                                WOLCOTT              WESLEY W              NY         10670802         WEITZ & LUXENBERG, PC
WISE                 FRANK E               NY         10049405         WEITZ & LUXENBERG, PC                                WOLF                 ALOIS                 NY         11937500         WEITZ & LUXENBERG, PC
WISE                 JOHN W                NY         10740402         WEITZ & LUXENBERG, PC                                WOLF                 FRANK J               NY         1902032016       WEITZ & LUXENBERG, PC
WISE                 JOHN W                NY         11428702         WEITZ & LUXENBERG, PC                                WOLF                 GENE E                PA         130102663        WEITZ & LUXENBERG, PC
WISE                 MARTHA                NY         10696402         WEITZ & LUXENBERG, PC                                WOLF                 HEINZ A               NY         02106709         WEITZ & LUXENBERG, PC
WISE                 NELLIE                NY         10740402         WEITZ & LUXENBERG, PC                                WOLF                 INGRID                NY         11937500         WEITZ & LUXENBERG, PC
WISE                 NELLIE                NY         11428702         WEITZ & LUXENBERG, PC                                WOLF                 MARION                NY         1902032016       WEITZ & LUXENBERG, PC
WISECARVER           BETTY L               NY         01CIV4690        WEITZ & LUXENBERG, PC                                WOLF                 RITA                  NY         02106709         WEITZ & LUXENBERG, PC
WISECARVER           WILLIAM               NY         01CIV4690        WEITZ & LUXENBERG, PC                                WOLF                 SHIRLEY A             PA         130102663        WEITZ & LUXENBERG, PC
WISIAK               DAVID R               NY         10060903         WEITZ & LUXENBERG, PC                                WOLFE                FRANCIS JOHN          NY         10716702         WEITZ & LUXENBERG, PC
WISIAK               EDWARD                NY         10060903         WEITZ & LUXENBERG, PC                                WOLFE                MICHELLE              NY         10716702         WEITZ & LUXENBERG, PC
WISMANN              JOHN V                NY         10235499         WEITZ & LUXENBERG, PC                                WOLFE                THOMAS                NY         10846803         WEITZ & LUXENBERG, PC
WISMANN              ROOPWATIE             NY         10235499         WEITZ & LUXENBERG, PC                                WOLFF                CORRINE L             NY         10722202         WEITZ & LUXENBERG, PC
WISNIEWSKI           ALFRED                NY         99120655         WEITZ & LUXENBERG, PC                                WOLFF                CORRINE L             NY         11360802         WEITZ & LUXENBERG, PC
WISNIEWSKI           ELIZABETH             NY         11526300         WEITZ & LUXENBERG, PC                                WOLFF                GEORGE V              NY         12788702         WEITZ & LUXENBERG, PC
WISNIEWSKI           JOAN                  NY         99102353         WEITZ & LUXENBERG, PC                                WOLFF                WENDE                 NY         10722202         WEITZ & LUXENBERG, PC
WISNIEWSKI           LAWRENCE A            NY         99102353         WEITZ & LUXENBERG, PC                                WOLFF                WENDE                 NY         11360802         WEITZ & LUXENBERG, PC
WISNIEWSKI           PATRICIA              NY         99120655         WEITZ & LUXENBERG, PC                                WOLFF                WILLIAM C             NY         10722202         WEITZ & LUXENBERG, PC
WISNIEWSKI           STEPHEN A             NY         11526300         WEITZ & LUXENBERG, PC                                WOLFF                WILLIAM C             NY         11360802         WEITZ & LUXENBERG, PC
WITHERELL            EMMETT                NY         10235299         WEITZ & LUXENBERG, PC                                WOLFINGER            JOSEPH                NY         12039401         WEITZ & LUXENBERG, PC
WITHERELL            MARGARET              NY         10235299         WEITZ & LUXENBERG, PC                                WOLFSHOHL            DANIEL                NY         1900872018       WEITZ & LUXENBERG, PC
WITTEN               HAROLD                NY         12668102         WEITZ & LUXENBERG, PC                                WOLFSHOHL            ISABELL               NY         1900872018       WEITZ & LUXENBERG, PC
WITTEN               PEGGY ANN             NY         12668102         WEITZ & LUXENBERG, PC                                WOLIN                HYMAN                 NY         12343699         WEITZ & LUXENBERG, PC
WITTER               BEVERLY               NY         11428600         WEITZ & LUXENBERG, PC                                WOLIN                RITA                  NY         12343699         WEITZ & LUXENBERG, PC
WITTER               MARK J                NY         11428600         WEITZ & LUXENBERG, PC                                WOLKOFF              DANIEL                NY         11428200         WEITZ & LUXENBERG, PC
WITTMAN              GAIL                  NY         12331397         WEITZ & LUXENBERG, PC                                WOLKOFF              LOUISE                NY         11428200         WEITZ & LUXENBERG, PC
WITTMAN              HERBERT HENRY         NY         02120709         WEITZ & LUXENBERG, PC                                WOLODKOWICZ          JANINA                NY         10348803         WEITZ & LUXENBERG, PC
WITTMAN              HERBERT HENRY         NY         12761202         WEITZ & LUXENBERG, PC                                WOLODKOWICZ          STANLEY               NY         12668102         WEITZ & LUXENBERG, PC
WITTMAN              JOEL C                NY         02120709         WEITZ & LUXENBERG, PC                                WOLODKOWICZ          STANLEY               NY         10348803         WEITZ & LUXENBERG, PC
WITTMAN              JOEL C                NY         12761202         WEITZ & LUXENBERG, PC                                WOLOSEN              LUBOV                 NY         11937500         WEITZ & LUXENBERG, PC
WITTMAN              RALPH E               NY         12331397         WEITZ & LUXENBERG, PC                                WOLOSEN              MICHAEL               NY         11937500         WEITZ & LUXENBERG, PC
WITTMEYER            ANNE MARIE            NY         10571702         WEITZ & LUXENBERG, PC                                WOLSON               CHARLENE              NY         1901582015       WEITZ & LUXENBERG, PC
WITTMEYER            DAVID J               NY         10571702         WEITZ & LUXENBERG, PC                                WOLSON               LEONARD L             NY         1901582015       WEITZ & LUXENBERG, PC
WIXON                CONNIE                NY         11428500         WEITZ & LUXENBERG, PC                                WONCKI               CLAYTON L             NY         11428100         WEITZ & LUXENBERG, PC
WIXON                ROBERT L JR           NY         11428500         WEITZ & LUXENBERG, PC                                WONCKI               JUDITH                NY         11428100         WEITZ & LUXENBERG, PC
WIZESINZKA           CZESLAWE              NY         12219599         WEITZ & LUXENBERG, PC                                WONDERLING           ROBERT D              NY         10778101         WEITZ & LUXENBERG, PC
WNUK                 DOREEN                NY         10871201         WEITZ & LUXENBERG, PC                                WONDERLING           ROBERT D              NY         11937500         WEITZ & LUXENBERG, PC
WNUK                 FELIX J               NY         02106693         WEITZ & LUXENBERG, PC                                WONDERLY             EMILY                 NY         1902022013       WEITZ & LUXENBERG, PC
WNUK                 IDELL                 NY         02107006         WEITZ & LUXENBERG, PC                                WONDERLY             JOSEPH                NY         1902022013       WEITZ & LUXENBERG, PC
WNUK                 KATHRYN ANN           NY         02106693         WEITZ & LUXENBERG, PC                                WONG                 DIANNE M              NY         10732601         WEITZ & LUXENBERG, PC
WNUK                 STANLEY W             NY         02107006         WEITZ & LUXENBERG, PC                                WOOD                 CLYDE N               NY         10722202         WEITZ & LUXENBERG, PC
WNUK                 VIRGINIA              NY         02107006         WEITZ & LUXENBERG, PC                                WOOD                 CLYDE N               NY         11360702         WEITZ & LUXENBERG, PC
WNUK                 WALTER W              NY         02107006         WEITZ & LUXENBERG, PC                                WOOD                 DAVID J               NY         12788702         WEITZ & LUXENBERG, PC
WNUK                 WAYNE R               NY         10871201         WEITZ & LUXENBERG, PC                                WOOD                 DAVID J               NY         10214903         WEITZ & LUXENBERG, PC
WODZINSKI            HELEN                 NY         11526400         WEITZ & LUXENBERG, PC                                WOOD                 EARL T                NY         110564           WEITZ & LUXENBERG, PC
WODZINSKI            JOHN R                NY         11526400         WEITZ & LUXENBERG, PC                                WOOD                 EARL T                NY         12448902         WEITZ & LUXENBERG, PC
WOHFF                JODY                  NY         12043201         WEITZ & LUXENBERG, PC                                WOOD                 EDGAR C               NY         10670402         WEITZ & LUXENBERG, PC
WOHFF                RICHARD               NY         12043201         WEITZ & LUXENBERG, PC                                WOOD                 EDGAR C               NY         11032502         WEITZ & LUXENBERG, PC
WOHLBERG             RONALD J              NY         11556303         WEITZ & LUXENBERG, PC                                WOOD                 EDWARD                NY         12209297         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1100
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 435 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WOOD                 ELLEN                 NY         01122139         WEITZ & LUXENBERG, PC                                WOOSTER              LILLIE                NY         10023403         WEITZ & LUXENBERG, PC
WOOD                 ELLEN                 NY         10812702         WEITZ & LUXENBERG, PC                                WORTHINGTON          RICHARD               NY         12043101         WEITZ & LUXENBERG, PC
WOOD                 GEORGE                NY         10778001         WEITZ & LUXENBERG, PC                                WORTHINGTON          RORETT                NY         12043101         WEITZ & LUXENBERG, PC
WOOD                 GEORGE                NY         11937500         WEITZ & LUXENBERG, PC                                WORTHINGTON          ROY D                 NY         19030610         WEITZ & LUXENBERG, PC
WOOD                 JANE                  NY         10722202         WEITZ & LUXENBERG, PC                                WORTHINGTON          SAUNDRA               NY         19030610         WEITZ & LUXENBERG, PC
WOOD                 JANE                  NY         11360702         WEITZ & LUXENBERG, PC                                WOTEN                LARRY E               NY         11256600         WEITZ & LUXENBERG, PC
WOOD                 JENELLE               NY         10778001         WEITZ & LUXENBERG, PC                                WOTEN                LARRY E               NY         11526700         WEITZ & LUXENBERG, PC
WOOD                 JENELLE               NY         11937500         WEITZ & LUXENBERG, PC                                WOTEN                LINDA JANE            NY         11256600         WEITZ & LUXENBERG, PC
WOOD                 LAUREN A              NY         11428000         WEITZ & LUXENBERG, PC                                WOTEN                LINDA JANE            NY         11526700         WEITZ & LUXENBERG, PC
WOOD                 MAXINE                NY         12209297         WEITZ & LUXENBERG, PC                                WOZNIAK              ALFRED N              NY         11427700         WEITZ & LUXENBERG, PC
WOOD                 PATRICIA              NY         10670402         WEITZ & LUXENBERG, PC                                WOZNIAK              ALICE                 NY         10777601         WEITZ & LUXENBERG, PC
WOOD                 PATRICIA              NY         11032502         WEITZ & LUXENBERG, PC                                WOZNIAK              ALICE                 NY         11937500         WEITZ & LUXENBERG, PC
WOOD                 PATTY A               NY         10694200         WEITZ & LUXENBERG, PC                                WOZNIAK              ARTHUR T              NY         10777601         WEITZ & LUXENBERG, PC
WOOD                 RAYMOND               NY         11427900         WEITZ & LUXENBERG, PC                                WOZNIAK              ARTHUR T              NY         11937500         WEITZ & LUXENBERG, PC
WOOD                 ROGER                 NY         12209297         WEITZ & LUXENBERG, PC                                WOZNIAK              CHARLOTTE             NY         11427700         WEITZ & LUXENBERG, PC
WOOD                 ROGER ALLEN           NY         10587102         WEITZ & LUXENBERG, PC                                WOZNIAK              DAVID J               NY         10722002         WEITZ & LUXENBERG, PC
WOOD                 RONALD D              NY         10694200         WEITZ & LUXENBERG, PC                                WOZNIAK              JOSEPH J              NY         11526800         WEITZ & LUXENBERG, PC
WOOD                 RUSSELL P             NY         20142612         WEITZ & LUXENBERG, PC                                WOZNIAK              MARGARET              NY         99108451         WEITZ & LUXENBERG, PC
WOOD                 RUTH GARCEAU          NY         110564           WEITZ & LUXENBERG, PC                                WOZNIAK              MARY                  NY         10722002         WEITZ & LUXENBERG, PC
WOOD                 RUTH GARCEAU          NY         12448902         WEITZ & LUXENBERG, PC                                WOZNIAK              STANLEY               NY         99108451         WEITZ & LUXENBERG, PC
WOOD                 NANCY L               NY         11086402         WEITZ & LUXENBERG, PC                                WOZNICKI             ALBERT                NY         11427600         WEITZ & LUXENBERG, PC
WOODALL              JAMES E               NY         10729401         WEITZ & LUXENBERG, PC                                WOZNICKI             ELIZABETH             NY         11427600         WEITZ & LUXENBERG, PC
WOODALL              LAWSON W              NY         10238602         WEITZ & LUXENBERG, PC                                WRAY                 CATHERINE E           NY         02105715         WEITZ & LUXENBERG, PC
WOODALL              MARGARET              NY         10729401         WEITZ & LUXENBERG, PC                                WRAY                 CLAYTON R             NY         02105715         WEITZ & LUXENBERG, PC
WOODARD              CAROLYN V             NY         12039301         WEITZ & LUXENBERG, PC                                WREN                 MARY LOUISE           NY         10286203         WEITZ & LUXENBERG, PC
WOODARD              CLAUDIA PLUMMER       NY         10997900         WEITZ & LUXENBERG, PC                                WREN                 MARYLOUISE            NY         10074103         WEITZ & LUXENBERG, PC
WOODARD              JAMES LEE             NY         12039301         WEITZ & LUXENBERG, PC                                WREN                 THOMAS G              NY         10074103         WEITZ & LUXENBERG, PC
WOODIN               AGNES M               NY         10722607         WEITZ & LUXENBERG, PC                                WREN                 THOMAS G              NY         10286203         WEITZ & LUXENBERG, PC
WOODIN               ROBERT G              NY         10722607         WEITZ & LUXENBERG, PC                                WRIGHT               ALICE                 NY         99102380         WEITZ & LUXENBERG, PC
WOODRICH             EILEEN                NY         10777901         WEITZ & LUXENBERG, PC                                WRIGHT               BRUCE E               NY         10238199         WEITZ & LUXENBERG, PC
WOODRICH             EILEEN                NY         11937500         WEITZ & LUXENBERG, PC                                WRIGHT               CAMILLE               NY         10777501         WEITZ & LUXENBERG, PC
WOODRICH             LEONARD E             NY         10777901         WEITZ & LUXENBERG, PC                                WRIGHT               CAMILLE               NY         11937500         WEITZ & LUXENBERG, PC
WOODRICH             LEONARD E             NY         11937500         WEITZ & LUXENBERG, PC                                WRIGHT               CELINA                NY         01111235         WEITZ & LUXENBERG, PC
WOODRUFF             BARBARA               NY         10777801         WEITZ & LUXENBERG, PC                                WRIGHT               CELINA                NY         11839601         WEITZ & LUXENBERG, PC
WOODRUFF             BARBARA               NY         11937500         WEITZ & LUXENBERG, PC                                WRIGHT               CHARLES EDWARD        NY         CV013921         WEITZ & LUXENBERG, PC
WOODRUFF             BARBARA J             NY         01122139         WEITZ & LUXENBERG, PC                                WRIGHT               CINDY S               NY         10238199         WEITZ & LUXENBERG, PC
WOODRUFF             RONALD                NY         10777801         WEITZ & LUXENBERG, PC                                WRIGHT               CLEM L                NY         11526900         WEITZ & LUXENBERG, PC
WOODRUFF             RONALD                NY         11937500         WEITZ & LUXENBERG, PC                                WRIGHT               CLYDE                 NY         99102380         WEITZ & LUXENBERG, PC
WOODRUFF             WILLIAM R             NY         01122139         WEITZ & LUXENBERG, PC                                WRIGHT               CRAIG S               NY         10777501         WEITZ & LUXENBERG, PC
WOODS                ALTON JACK            NY         10670402         WEITZ & LUXENBERG, PC                                WRIGHT               CRAIG S               NY         11937500         WEITZ & LUXENBERG, PC
WOODS                ANNE MARIE            NY         01111220         WEITZ & LUXENBERG, PC                                WRIGHT               DAVID                 NY         10598601         WEITZ & LUXENBERG, PC
WOODS                ANTHONY R             NY         CV017060         WEITZ & LUXENBERG, PC                                WRIGHT               DAVID L               NY         11785900         WEITZ & LUXENBERG, PC
WOODS                ARTHUR E              NY         11526600         WEITZ & LUXENBERG, PC                                WRIGHT               DIANE                 NY         11786000         WEITZ & LUXENBERG, PC
WOODS                CAROLYN               NY         10845499         WEITZ & LUXENBERG, PC                                WRIGHT               EILEEN                NY         11302800         WEITZ & LUXENBERG, PC
WOODS                CARSON                NY         01111220         WEITZ & LUXENBERG, PC                                WRIGHT               ELIZABETH             NY         10598601         WEITZ & LUXENBERG, PC
WOODS                DAISY                 NY         CV017060         WEITZ & LUXENBERG, PC                                WRIGHT               GEORGE HENRY          NY         CV018236         WEITZ & LUXENBERG, PC
WOODS                FRANCISE              NY         CV014824         WEITZ & LUXENBERG, PC                                WRIGHT               GLADYS                NY         10740502         WEITZ & LUXENBERG, PC
WOODS                FRANK E               NY         10696402         WEITZ & LUXENBERG, PC                                WRIGHT               GLADYS                NY         11413702         WEITZ & LUXENBERG, PC
WOODS                HAROLD                NY         CV014824         WEITZ & LUXENBERG, PC                                WRIGHT               IVA                   NY         01111234         WEITZ & LUXENBERG, PC
WOODS                JAMES WILLIE          NY         01CIV3900        WEITZ & LUXENBERG, PC                                WRIGHT               IVA                   NY         11921001         WEITZ & LUXENBERG, PC
WOODS                JOE FARRIS            NY         00CIV1204        WEITZ & LUXENBERG, PC                                WRIGHT               JAMES F               NY         11786000         WEITZ & LUXENBERG, PC
WOODS                JOSEPH J              NY         10845499         WEITZ & LUXENBERG, PC                                WRIGHT               JAMES F               NY         10971506         WEITZ & LUXENBERG, PC
WOODS                LEE ANNA              NY         01CIV3901        WEITZ & LUXENBERG, PC                                WRIGHT               JAMES HAROLD          NY         02120709         WEITZ & LUXENBERG, PC
WOODS                NORMA LORETTA         NY         01CIV3900        WEITZ & LUXENBERG, PC                                WRIGHT               JAMES R               NY         10237999         WEITZ & LUXENBERG, PC
WOODS                PAULA                 NY         10696402         WEITZ & LUXENBERG, PC                                WRIGHT               JAMES V               NY         9011682015       WEITZ & LUXENBERG, PC
WOODS                RICHARD C             NY         01CIV3901        WEITZ & LUXENBERG, PC                                WRIGHT               JANET                 NY         CV013921         WEITZ & LUXENBERG, PC
WOODS                ROSEMARY              NY         00CIV1204        WEITZ & LUXENBERG, PC                                WRIGHT               JENNIE                NY         11427500         WEITZ & LUXENBERG, PC
WOODS                TERENCE F             NY         12064600         WEITZ & LUXENBERG, PC                                WRIGHT               JOAN                  NY         10845599         WEITZ & LUXENBERG, PC
WOODWARD             GINA                  NY         19013311         WEITZ & LUXENBERG, PC                                WRIGHT               JOHN L                NY         01CIV3901        WEITZ & LUXENBERG, PC
WOODWORTH            RITA M                NY         10238399         WEITZ & LUXENBERG, PC                                WRIGHT               JOSEPHINE             NY         02120709         WEITZ & LUXENBERG, PC
WOODWORTH            ROBERT JAMES          NY         10238399         WEITZ & LUXENBERG, PC                                WRIGHT               LINDA                 NY         10670802         WEITZ & LUXENBERG, PC
WOODY                DOROTHY               NY         10716802         WEITZ & LUXENBERG, PC                                WRIGHT               LUCINDA L             NY         10237999         WEITZ & LUXENBERG, PC
WOODY                WILLIAM B             NY         10716802         WEITZ & LUXENBERG, PC                                WRIGHT               OCIE                  NY         1904642013       WEITZ & LUXENBERG, PC
WOOLCUTT             CHARLES               NY         10871201         WEITZ & LUXENBERG, PC                                WRIGHT               ROBERT                NY         CV018236         WEITZ & LUXENBERG, PC
WOOLCUTT             DOROTHY               NY         10871201         WEITZ & LUXENBERG, PC                                WRIGHT               ROBERT                NY         11427500         WEITZ & LUXENBERG, PC
WOOLGAR              GRACE                 NY         10777701         WEITZ & LUXENBERG, PC                                WRIGHT               ROBERT A              NY         11302800         WEITZ & LUXENBERG, PC
WOOLGAR              GRACE                 NY         11937500         WEITZ & LUXENBERG, PC                                WRIGHT               ROGER J               NY         10670802         WEITZ & LUXENBERG, PC
WOOLGAR              RICHARD C             NY         10777701         WEITZ & LUXENBERG, PC                                WRIGHT               RUBY                  NY         11906799         WEITZ & LUXENBERG, PC
WOOLGAR              RICHARD C             NY         11937500         WEITZ & LUXENBERG, PC                                WRIGHT               RUDOLPH               NY         10845599         WEITZ & LUXENBERG, PC
WOOLSEY              ANNE                  NY         11701203         WEITZ & LUXENBERG, PC                                WRIGHT               SHARON E              NY         9011682015       WEITZ & LUXENBERG, PC
WOOSTER              CHARLES W             NY         10023403         WEITZ & LUXENBERG, PC                                WRIGHT               SUSAN                 NY         11526900         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1101
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 436 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WRIGHT               WALTER                NY         01111235         WEITZ & LUXENBERG, PC                                YARTER               SHARON                NY         11801902         WEITZ & LUXENBERG, PC
WRIGHT               WALTER                NY         11839601         WEITZ & LUXENBERG, PC                                YASOVSKY             JOSEPH J              NY         99112502         WEITZ & LUXENBERG, PC
WRIGHT               WILLIAM J             NY         10740502         WEITZ & LUXENBERG, PC                                YASOVSKY             MARJORIE              NY         99112502         WEITZ & LUXENBERG, PC
WRIGHT               WILLIAM J             NY         11413702         WEITZ & LUXENBERG, PC                                YASUS                FRANK                 NY         10239499         WEITZ & LUXENBERG, PC
WRIGHT               WILLIAM J             NY         11906799         WEITZ & LUXENBERG, PC                                YASUS                MARGARET              NY         10239499         WEITZ & LUXENBERG, PC
WRIGHT               WILLIAM O             NY         01111234         WEITZ & LUXENBERG, PC                                YATES                FRANCES               NY         10138001         WEITZ & LUXENBERG, PC
WRIGHT               WILLIAM O             NY         11921001         WEITZ & LUXENBERG, PC                                YATES                PETER D               NY         10138001         WEITZ & LUXENBERG, PC
WROBEL               JOSEPH DANIEL         NY         10699902         WEITZ & LUXENBERG, PC                                YATTEAU              ELLA MAE              NY         10740402         WEITZ & LUXENBERG, PC
WROBEL               LINDA J               NY         10699902         WEITZ & LUXENBERG, PC                                YATTEAU              ROBERT T              NY         10740402         WEITZ & LUXENBERG, PC
WRZESINSKI           LEONARD A             NY         11427300         WEITZ & LUXENBERG, PC                                YEAGER               DAVID G               NY         10694100         WEITZ & LUXENBERG, PC
WUELFING             BARBARA JANES         NY         10740402         WEITZ & LUXENBERG, PC                                YEAGER               GEORGE B              NY         10693500         WEITZ & LUXENBERG, PC
WUELFING             LEE L                 NY         10740402         WEITZ & LUXENBERG, PC                                YEAGER               MARY ANN              NY         10694100         WEITZ & LUXENBERG, PC
WUEST                LESLIE R              NY         11253098         WEITZ & LUXENBERG, PC                                YEAGER               VINCENTA              NY         10693500         WEITZ & LUXENBERG, PC
WUEST                VIRGINIA              NY         11253098         WEITZ & LUXENBERG, PC                                YEATES               RICHARD G             NY         12042901         WEITZ & LUXENBERG, PC
WUJCIAK              WILLIAM H             NY         10237699         WEITZ & LUXENBERG, PC                                YEDDO                EVERETT E             NY         10696502         WEITZ & LUXENBERG, PC
WURZER               DOUGLAS J             NY         10710102         WEITZ & LUXENBERG, PC                                YEE                  GILDA                 NY         11111200         WEITZ & LUXENBERG, PC
WYATT                CLAUDIA               NY         CV013921         WEITZ & LUXENBERG, PC                                YEE                  GILDA                 NY         10835100         WEITZ & LUXENBERG, PC
WYATT                JIM J                 NY         CV013921         WEITZ & LUXENBERG, PC                                YEGELWEL             HERSHEL               NY         10694900         WEITZ & LUXENBERG, PC
WYATT                LAVERNE               NY         CV013921         WEITZ & LUXENBERG, PC                                YEGLEWEL             GERALDINE             NY         10694900         WEITZ & LUXENBERG, PC
WYATT                LEE E                 NY         CV013921         WEITZ & LUXENBERG, PC                                YELLEN               MARYANN               NY         10694800         WEITZ & LUXENBERG, PC
WYATT                OTIS B                NY         CV013921         WEITZ & LUXENBERG, PC                                YELLEN               NEAL                  NY         10694800         WEITZ & LUXENBERG, PC
WYLIE                JAMES                 NY         12788602         WEITZ & LUXENBERG, PC                                YENINAS              BARBARA               NY         11413900         WEITZ & LUXENBERG, PC
WYLIE                SHARON                NY         12788602         WEITZ & LUXENBERG, PC                                YENNELLA             MARY ANN              NY         10777101         WEITZ & LUXENBERG, PC
WYLLIE               DONALD A              NY         10237499         WEITZ & LUXENBERG, PC                                YENNELLA             MARY ANN              NY         11937500         WEITZ & LUXENBERG, PC
WYLLIE               DONNA                 NY         10237499         WEITZ & LUXENBERG, PC                                YENNELLA             MICHAEL               NY         10777101         WEITZ & LUXENBERG, PC
WYLUCKI              CHESTER WILLIAM       NY         11427200         WEITZ & LUXENBERG, PC                                YENNELLA             MICHAEL               NY         11937500         WEITZ & LUXENBERG, PC
WYLUCKI              GLADYS                NY         11427200         WEITZ & LUXENBERG, PC                                YERDEN               KATHLEEN              NY         2019262476       WEITZ & LUXENBERG, PC
WYNN                 FRANCIS               NY         10846799         WEITZ & LUXENBERG, PC                                YERDEN               KEVIN                 NY         90741819         WEITZ & LUXENBERG, PC
WYNN                 PHYLLIS               NY         10846799         WEITZ & LUXENBERG, PC                                YERDEN               LOREN                 NY         2019262476       WEITZ & LUXENBERG, PC
WYNNE                BRIAN M               NY         10426003         WEITZ & LUXENBERG, PC                                YERDON               BARBARA A             NY         12801902         WEITZ & LUXENBERG, PC
WYNNE                JAMES                 NY         10039603         WEITZ & LUXENBERG, PC                                YERDON               RICHARD W             NY         12801902         WEITZ & LUXENBERG, PC
WYNNE                JAMES M               NY         10426003         WEITZ & LUXENBERG, PC                                YERKES               CATHERINE             NY         10239399         WEITZ & LUXENBERG, PC
WYSOCKI              FLORENCE              NY         11427100         WEITZ & LUXENBERG, PC                                YERKES               JOHN J                NY         10239399         WEITZ & LUXENBERG, PC
WYSOCKI              LEO A                 NY         11427100         WEITZ & LUXENBERG, PC                                YERRICK              VALERIE               DE         N18C08051ASB     WEITZ & LUXENBERG, PC
WYSOCKI              MARTIN                NY         11427100         WEITZ & LUXENBERG, PC                                YERRICK              WILLIAM               DE         N18C08051ASB     WEITZ & LUXENBERG, PC
XIRADAAIS            GEORGE                NY         10386102         WEITZ & LUXENBERG, PC                                YESKEL               FLORENCE B            NY         12316202         WEITZ & LUXENBERG, PC
XIRADAAIS            SEAMANTINA            NY         10386102         WEITZ & LUXENBERG, PC                                YESKEL               SEYMOUR               NY         12316202         WEITZ & LUXENBERG, PC
XUEREB               HELEN                 NY         10809302         WEITZ & LUXENBERG, PC                                YEVICK               JOSEPH E              NY         11080200         WEITZ & LUXENBERG, PC
XUEREB               TARCISIO              NY         10809302         WEITZ & LUXENBERG, PC                                YOCHUM               THEODORE D            NY         11786200         WEITZ & LUXENBERG, PC
YACKOWETSKY          GREG JOSEPH           NY         10777301         WEITZ & LUXENBERG, PC                                YONKOSKI             DEBRA                 NY         02106580         WEITZ & LUXENBERG, PC
YACKOWETSKY          GREG JOSEPH           NY         11937500         WEITZ & LUXENBERG, PC                                YONKOSKI             DEBRA                 NY         11321502         WEITZ & LUXENBERG, PC
YACKOWETSKY          MARSHA                NY         10777301         WEITZ & LUXENBERG, PC                                YONKOSKI             GARY DANIEL           NY         02106580         WEITZ & LUXENBERG, PC
YACKOWETSKY          MARSHA                NY         11937500         WEITZ & LUXENBERG, PC                                YONKOSKI             GARY DANIEL           NY         11321502         WEITZ & LUXENBERG, PC
YADDOW               LARRY JOSEPH          NY         02106578         WEITZ & LUXENBERG, PC                                YONUS                ANDREW                NY         10777001         WEITZ & LUXENBERG, PC
YADDOW               NANCY                 NY         02106578         WEITZ & LUXENBERG, PC                                YONUS                ANDREW                NY         11937500         WEITZ & LUXENBERG, PC
YAGER                CARMELA               NY         10670602         WEITZ & LUXENBERG, PC                                YONUS                FRANK                 NY         10777001         WEITZ & LUXENBERG, PC
YAGER                DONALD R              NY         10716702         WEITZ & LUXENBERG, PC                                YONUS                FRANK                 NY         11937500         WEITZ & LUXENBERG, PC
YAGER                JAY E                 NY         10670602         WEITZ & LUXENBERG, PC                                YONUS                HELEN                 NY         10777001         WEITZ & LUXENBERG, PC
YAMOND               MICHAEL               NY         01121099         WEITZ & LUXENBERG, PC                                YONUS                HELEN                 NY         11937500         WEITZ & LUXENBERG, PC
YAMOND               MICHAEL               NY         10854002         WEITZ & LUXENBERG, PC                                YOOS                 HENRY J               NY         11032406         WEITZ & LUXENBERG, PC
YAMOND               NICOLINA              NY         01121099         WEITZ & LUXENBERG, PC                                YOOS                 JOHN                  NY         11032406         WEITZ & LUXENBERG, PC
YAMOND               NICOLINA              NY         10854002         WEITZ & LUXENBERG, PC                                YORIO                CAMILLE               NY         10151605         WEITZ & LUXENBERG, PC
YANCEY               JOANNE                NY         11334302         WEITZ & LUXENBERG, PC                                YORKE                ALBERT JOHN           NY         10694700         WEITZ & LUXENBERG, PC
YANCEY               JOANNE                NY         10740202         WEITZ & LUXENBERG, PC                                YORKE                DONNA M               NY         10694700         WEITZ & LUXENBERG, PC
YANIS                ALBERT                NY         10777201         WEITZ & LUXENBERG, PC                                YORKOWSKI            RITA                  NY         10779901         WEITZ & LUXENBERG, PC
YANIS                ALBERT                NY         11937500         WEITZ & LUXENBERG, PC                                YORKOWSKI            RITA                  NY         11937500         WEITZ & LUXENBERG, PC
YANIS                PHOEBE                NY         10777201         WEITZ & LUXENBERG, PC                                YORKOWSKI            WILLIAM F             NY         10779901         WEITZ & LUXENBERG, PC
YANIS                PHOEBE                NY         11937500         WEITZ & LUXENBERG, PC                                YORKOWSKI            WILLIAM F             NY         11937500         WEITZ & LUXENBERG, PC
YANNO                MARY                  NY         99108466         WEITZ & LUXENBERG, PC                                YOUMELL              FRANCIS W             NY         10716702         WEITZ & LUXENBERG, PC
YANNO                MICHAEL F             NY         11786100         WEITZ & LUXENBERG, PC                                YOUNG                ANDREW S              NY         11960701         WEITZ & LUXENBERG, PC
YANNO                MICHAEL J             NY         99108466         WEITZ & LUXENBERG, PC                                YOUNG                ANDREW S              NY         01111229         WEITZ & LUXENBERG, PC
YANNOTTA             ANGELO                NY         12693702         WEITZ & LUXENBERG, PC                                YOUNG                ANGELA                NY         11960701         WEITZ & LUXENBERG, PC
YANNOTTA             NOHELIA               NY         12693702         WEITZ & LUXENBERG, PC                                YOUNG                ANGELA                NY         01111229         WEITZ & LUXENBERG, PC
YANULAVICH           JOHN W                NY         99102372         WEITZ & LUXENBERG, PC                                YOUNG                AREVE                 NY         12077201         WEITZ & LUXENBERG, PC
YANULAVICH           MADELINE E            NY         99102372         WEITZ & LUXENBERG, PC                                YOUNG                AREVE                 NY         01111223         WEITZ & LUXENBERG, PC
YARDAS               ADA                   NY         1902222012       WEITZ & LUXENBERG, PC                                YOUNG                BARBARA               NY         12460902         WEITZ & LUXENBERG, PC
YARDAS               WILLIAM               NY         1902222012       WEITZ & LUXENBERG, PC                                YOUNG                BERNICE               NY         10779801         WEITZ & LUXENBERG, PC
YARNELL              ROBERT                NY         01122139         WEITZ & LUXENBERG, PC                                YOUNG                BERNICE               NY         11937500         WEITZ & LUXENBERG, PC
YARTER               BRUCE F               NY         02107006         WEITZ & LUXENBERG, PC                                YOUNG                BILLY GENE            NY         19045211         WEITZ & LUXENBERG, PC
YARTER               BRUCE F               NY         11801902         WEITZ & LUXENBERG, PC                                YOUNG                CHRISTOPHER           NY         11960701         WEITZ & LUXENBERG, PC
YARTER               SHARON                NY         02107006         WEITZ & LUXENBERG, PC                                YOUNG                CHRISTOPHER           NY         01111229         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1102
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 437 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

YOUNG                DANIEL                NY         19045211         WEITZ & LUXENBERG, PC                                YURKOVICH            PETE                  NY         11527100         WEITZ & LUXENBERG, PC
YOUNG                DARLENE               NY         11426900         WEITZ & LUXENBERG, PC                                ZABALDO              CHARLES J             NY         12668102         WEITZ & LUXENBERG, PC
YOUNG                DIANE                 NY         11179602         WEITZ & LUXENBERG, PC                                ZABALDO              PAULA                 NY         12668102         WEITZ & LUXENBERG, PC
YOUNG                DOROTHY               NY         CV013921         WEITZ & LUXENBERG, PC                                ZABEL                JOAN                  NY         1900352016       WEITZ & LUXENBERG, PC
YOUNG                EARLE AUGUST          NY         11427000         WEITZ & LUXENBERG, PC                                ZABEL                ROBERT P              NY         1900352016       WEITZ & LUXENBERG, PC
YOUNG                EDWARD J              NY         10779801         WEITZ & LUXENBERG, PC                                ZABINSKI             JOHN R                NY         10239099         WEITZ & LUXENBERG, PC
YOUNG                EDWARD J              NY         11937500         WEITZ & LUXENBERG, PC                                ZABINSKI             RUTH                  NY         10239099         WEITZ & LUXENBERG, PC
YOUNG                ELBERT A              NY         1905392012       WEITZ & LUXENBERG, PC                                ZACZAGNINO           DANIEL B              NY         11527200         WEITZ & LUXENBERG, PC
YOUNG                EUGENE W              NY         11426900         WEITZ & LUXENBERG, PC                                ZACZAGNINO           ELEANOR               NY         11527200         WEITZ & LUXENBERG, PC
YOUNG                GEORGE                NY         11294604         WEITZ & LUXENBERG, PC                                ZADON                STEPHEN G             NY         10696502         WEITZ & LUXENBERG, PC
YOUNG                GERALDINE L           NY         19011810         WEITZ & LUXENBERG, PC                                ZADROZNY             EDWARD S              NY         10694600         WEITZ & LUXENBERG, PC
YOUNG                GLADYS                NY         00CIV1204        WEITZ & LUXENBERG, PC                                ZADROZNY             JANICE                NY         10694600         WEITZ & LUXENBERG, PC
YOUNG                GLORIA                NY         11426800         WEITZ & LUXENBERG, PC                                ZAFONTE              ADRIANE               NY         11521004         WEITZ & LUXENBERG, PC
YOUNG                HELEN                 NY         11960701         WEITZ & LUXENBERG, PC                                ZAFONTE              ALBERT                NY         11426500         WEITZ & LUXENBERG, PC
YOUNG                HELEN                 NY         01111229         WEITZ & LUXENBERG, PC                                ZAFONTE              JOSEPH                NY         10930503         WEITZ & LUXENBERG, PC
YOUNG                ISABEL                NY         99102392         WEITZ & LUXENBERG, PC                                ZAFONTE              JOSEPH S              NY         11521004         WEITZ & LUXENBERG, PC
YOUNG                JANOAH                NY         00CIV1204        WEITZ & LUXENBERG, PC                                ZAFONTE              MARIE                 NY         11426500         WEITZ & LUXENBERG, PC
YOUNG                JERRY THOMAS          NY         00CIV1204        WEITZ & LUXENBERG, PC                                ZAFONTE              SHIRLEY               NY         10930503         WEITZ & LUXENBERG, PC
YOUNG                JIMMY                 NY         10208399         WEITZ & LUXENBERG, PC                                ZAFUTO               ANTHONY C             NY         10587402         WEITZ & LUXENBERG, PC
YOUNG                JOAN                  NY         11294604         WEITZ & LUXENBERG, PC                                ZAFUTO               MARGARET              NY         10587402         WEITZ & LUXENBERG, PC
YOUNG                JOHN A                NY         10779701         WEITZ & LUXENBERG, PC                                ZAHLER               ROBERTA F             NY         10603302         WEITZ & LUXENBERG, PC
YOUNG                JOHN A                NY         11937500         WEITZ & LUXENBERG, PC                                ZAHLER               ROBERTA F             NY         12100401         WEITZ & LUXENBERG, PC
YOUNG                JOHN J                NY         10740502         WEITZ & LUXENBERG, PC                                ZAIA                 ANTONINO              NY         11187699         WEITZ & LUXENBERG, PC
YOUNG                JOHN J                NY         11413602         WEITZ & LUXENBERG, PC                                ZAIA                 BEVELY                NY         11187699         WEITZ & LUXENBERG, PC
YOUNG                JOSEPH                NY         99102392         WEITZ & LUXENBERG, PC                                ZAITZEW              FRED                  NY         11327602         WEITZ & LUXENBERG, PC
YOUNG                JULIA A               NY         1902232012       WEITZ & LUXENBERG, PC                                ZAITZEW              FRED                  NY         12108902         WEITZ & LUXENBERG, PC
YOUNG                KATHERINE             NY         11427000         WEITZ & LUXENBERG, PC                                ZAJAC                GENEVIEVE             NY         10074103         WEITZ & LUXENBERG, PC
YOUNG                LAFAYETTE D           NY         11785500         WEITZ & LUXENBERG, PC                                ZAJAC                GREGORY R             NY         10074103         WEITZ & LUXENBERG, PC
YOUNG                MAUREEN               NY         10779601         WEITZ & LUXENBERG, PC                                ZAK                  CANDACE               NY         10028603         WEITZ & LUXENBERG, PC
YOUNG                MAUREEN               NY         11937500         WEITZ & LUXENBERG, PC                                ZAK                  FRANK J               NY         02105715         WEITZ & LUXENBERG, PC
YOUNG                MICHAEL               NY         1902232012       WEITZ & LUXENBERG, PC                                ZAK                  FRANK J               NY         11032202         WEITZ & LUXENBERG, PC
YOUNG                NANCY                 NY         11413602         WEITZ & LUXENBERG, PC                                ZAK                  JANET                 NY         02105715         WEITZ & LUXENBERG, PC
YOUNG                NEIL                  NY         11627604         WEITZ & LUXENBERG, PC                                ZAK                  JANET                 NY         11032202         WEITZ & LUXENBERG, PC
YOUNG                NELLIE                NY         01CIV3914        WEITZ & LUXENBERG, PC                                ZAK                  MICHAEL P             NY         02105713         WEITZ & LUXENBERG, PC
YOUNG                PURCELL               NY         11621604         WEITZ & LUXENBERG, PC                                ZAK                  STANLEY               NY         10238899         WEITZ & LUXENBERG, PC
YOUNG                RAYMOND               NY         00CIV1204        WEITZ & LUXENBERG, PC                                ZAKALA               ANITA                 NY         10587502         WEITZ & LUXENBERG, PC
YOUNG                RAYMOND TROY          NY         01CIV3914        WEITZ & LUXENBERG, PC                                ZAKALA               PETER PAUL            NY         10587502         WEITZ & LUXENBERG, PC
YOUNG                RICE                  NY         11426800         WEITZ & LUXENBERG, PC                                ZAKRZEWSKI           HELEN                 NY         11426400         WEITZ & LUXENBERG, PC
YOUNG                RICHARD A             NY         12077201         WEITZ & LUXENBERG, PC                                ZAKRZEWSKI           THEODORE R            NY         11426400         WEITZ & LUXENBERG, PC
YOUNG                RICHARD A             NY         01111223         WEITZ & LUXENBERG, PC                                ZALE                 HENRY J               NY         10669502         WEITZ & LUXENBERG, PC
YOUNG                RICHARD LEVON         NY         CV013921         WEITZ & LUXENBERG, PC                                ZALE                 JOHN                  NY         99111877         WEITZ & LUXENBERG, PC
YOUNG                RONALD J              NY         12460902         WEITZ & LUXENBERG, PC                                ZALE                 NANCY                 NY         10669502         WEITZ & LUXENBERG, PC
YOUNG                ROSEMARY              NY         11621504         WEITZ & LUXENBERG, PC                                ZALECK               GERALD                NY         10779301         WEITZ & LUXENBERG, PC
YOUNG                SHARON A              NY         10740402         WEITZ & LUXENBERG, PC                                ZALECK               GERALD                NY         11937500         WEITZ & LUXENBERG, PC
YOUNG                SHAUN                 NY         10876903         WEITZ & LUXENBERG, PC                                ZALECK               MAUREEN               NY         10779301         WEITZ & LUXENBERG, PC
YOUNG                STANLEY A             NY         10740402         WEITZ & LUXENBERG, PC                                ZALECK               MAUREEN               NY         11937500         WEITZ & LUXENBERG, PC
YOUNG                SUSAN C               NY         11580101         WEITZ & LUXENBERG, PC                                ZALEWSKI             GEORGE M              NY         12043201         WEITZ & LUXENBERG, PC
YOUNG                SUSAN C               NY         01111222         WEITZ & LUXENBERG, PC                                ZALEWSKI             GEORGE M              NY         10106502         WEITZ & LUXENBERG, PC
YOUNG                THOMAS                NY         10779601         WEITZ & LUXENBERG, PC                                ZALEWSKI             MARGARET              NY         12043201         WEITZ & LUXENBERG, PC
YOUNG                THOMAS                NY         11937500         WEITZ & LUXENBERG, PC                                ZALEWSKI             MARGARET              NY         10106502         WEITZ & LUXENBERG, PC
YOUNG                THOMAS M              NY         19011810         WEITZ & LUXENBERG, PC                                ZALOBA               FRED                  NY         01109117         WEITZ & LUXENBERG, PC
YOUNG                VALERIE M             NY         042133           WEITZ & LUXENBERG, PC                                ZALOBA               TANIA                 NY         01109117         WEITZ & LUXENBERG, PC
YOUNG                VARDON                NY         042133           WEITZ & LUXENBERG, PC                                ZALUCKI              DAWN M                NY         11518602         WEITZ & LUXENBERG, PC
YOUNG                WILLIAM J             NY         11621504         WEITZ & LUXENBERG, PC                                ZALUCKI              DAWN M                NY         02107004         WEITZ & LUXENBERG, PC
YOUNGER              COLE RAY              NY         CIV006917        WEITZ & LUXENBERG, PC                                ZALUCKI              EDWARD F              NY         11518602         WEITZ & LUXENBERG, PC
YOUNGER              LEISA JANE            NY         CIV006917        WEITZ & LUXENBERG, PC                                ZALUCKI              EDWARD F              NY         02107004         WEITZ & LUXENBERG, PC
YOUNGMAN             ALFRED                NY         99111892         WEITZ & LUXENBERG, PC                                ZALUCKI              ELIZABETH             NY         11518602         WEITZ & LUXENBERG, PC
YOUNGMAN             JACK                  NY         99111892         WEITZ & LUXENBERG, PC                                ZALUCKI              ELIZABETH             NY         02107004         WEITZ & LUXENBERG, PC
YOUNGMAN             PEARL                 NY         99111892         WEITZ & LUXENBERG, PC                                ZAMBANIN             EMIL                  NY         10587102         WEITZ & LUXENBERG, PC
YOUNGS               BARBARA               NY         10779501         WEITZ & LUXENBERG, PC                                ZAMBRYSKI            GLADYS                NY         02107007         WEITZ & LUXENBERG, PC
YOUNGS               BARBARA               NY         11937500         WEITZ & LUXENBERG, PC                                ZAMBRYSKI            JOSEPH                NY         02107007         WEITZ & LUXENBERG, PC
YOUNGS               ROBERT                NY         10779501         WEITZ & LUXENBERG, PC                                ZAMBUTO              JOSEPH                NY         10060403         WEITZ & LUXENBERG, PC
YOUNGS               ROBERT                NY         11937500         WEITZ & LUXENBERG, PC                                ZAMBUTO              LUBA                  NY         10060403         WEITZ & LUXENBERG, PC
YOUSIF               LYNN                  DE         N18C01090ASB     WEITZ & LUXENBERG, PC                                ZAMIER               DANIEL                NY         10779201         WEITZ & LUXENBERG, PC
YOUSSEF              FERIAL                NY         1901822016       WEITZ & LUXENBERG, PC                                ZAMIER               DANIEL                NY         11937500         WEITZ & LUXENBERG, PC
YOUSSEF              JUSTIN F              NY         1901822016       WEITZ & LUXENBERG, PC                                ZAMIER               VIVIAN                NY         10779201         WEITZ & LUXENBERG, PC
YOVICH               FREDERICK             NY         11426700         WEITZ & LUXENBERG, PC                                ZAMIER               VIVIAN                NY         11937500         WEITZ & LUXENBERG, PC
YOXALL               DONALD F              NY         02107005         WEITZ & LUXENBERG, PC                                ZAMPESE              FRANK A               NY         01111220         WEITZ & LUXENBERG, PC
YUNG                 KENNETH               NY         12411301         WEITZ & LUXENBERG, PC                                ZAMPINO              JOSEPH A              NY         11563501         WEITZ & LUXENBERG, PC
YUNGWIRTH            BONNIE D              NY         10587002         WEITZ & LUXENBERG, PC                                ZAMPINO              JOSEPH A              NY         01111218         WEITZ & LUXENBERG, PC
YUNGWIRTH            ROBERT J              NY         10587102         WEITZ & LUXENBERG, PC                                ZAMPINO              JOSEPHINE             NY         99102387         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1103
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 438 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ZAMPINO              PAUL G                NY         99102387         WEITZ & LUXENBERG, PC                                ZEMA                 CHRISTOPHER M         NY         10694500         WEITZ & LUXENBERG, PC
ZAMPINO              RAYMOND               NY         11563501         WEITZ & LUXENBERG, PC                                ZEMA                 PAMELA                NY         10694500         WEITZ & LUXENBERG, PC
ZAMPINO              RAYMOND               NY         01111218         WEITZ & LUXENBERG, PC                                ZEMBA                JOHN                  NY         11527400         WEITZ & LUXENBERG, PC
ZANDER               GARY E.J.             NY         02120709         WEITZ & LUXENBERG, PC                                ZEMBRZYCKI           ANTOINETTE            NY         19032309         WEITZ & LUXENBERG, PC
ZANGHETTI            MARIO                 NY         6045662016       WEITZ & LUXENBERG, PC                                ZEMBRZYCKI           GEORGE                NY         19032309         WEITZ & LUXENBERG, PC
ZANGHETTI            MARY                  NY         6045662016       WEITZ & LUXENBERG, PC                                ZEMSKI               MARY ANNE             NY         10073303         WEITZ & LUXENBERG, PC
ZANGHI               ANTHONY               NY         10635305         WEITZ & LUXENBERG, PC                                ZEMSKI               MICHAEL               NY         10073303         WEITZ & LUXENBERG, PC
ZANGHI               MARY                  NY         10635305         WEITZ & LUXENBERG, PC                                ZENDANO              NICHOLAS R            NY         02106693         WEITZ & LUXENBERG, PC
ZANGRILLO            PAUL                  NY         10779001         WEITZ & LUXENBERG, PC                                ZENZER               DOROTHY K             NY         10239899         WEITZ & LUXENBERG, PC
ZANGRILLO            PAUL                  NY         11937500         WEITZ & LUXENBERG, PC                                ZENZER               FRANK J               NY         10239899         WEITZ & LUXENBERG, PC
ZANGRILLO            ROSALIE               NY         10779001         WEITZ & LUXENBERG, PC                                ZEOLI                DOMINICK              NY         11426100         WEITZ & LUXENBERG, PC
ZANGRILLO            ROSALIE               NY         11937500         WEITZ & LUXENBERG, PC                                ZEOLI                MARIA ANTOINETTA      NY         11426100         WEITZ & LUXENBERG, PC
ZANONI               GINO                  NY         01111227         WEITZ & LUXENBERG, PC                                ZERBO                ANTHONY               NY         11527500         WEITZ & LUXENBERG, PC
ZANOTELLI            CARLO                 NY         12038801         WEITZ & LUXENBERG, PC                                ZERBO                LORRAINE              NY         11527500         WEITZ & LUXENBERG, PC
ZANOTELLI            FRANK                 NY         12693702         WEITZ & LUXENBERG, PC                                ZERBST               ELIZABETH             NY         10778701         WEITZ & LUXENBERG, PC
ZANOTELLI            HERMINE               NY         12693702         WEITZ & LUXENBERG, PC                                ZERBST               ELIZABETH             NY         11937500         WEITZ & LUXENBERG, PC
ZANOTELLI            JULIUS J              NY         12043301         WEITZ & LUXENBERG, PC                                ZERBST               FREDERICK             NY         10778701         WEITZ & LUXENBERG, PC
ZANOTELLI            RAFFAELLA             NY         12038801         WEITZ & LUXENBERG, PC                                ZERBST               FREDERICK             NY         11937500         WEITZ & LUXENBERG, PC
ZANOTELLI            ROSE                  NY         12043301         WEITZ & LUXENBERG, PC                                ZERILLI              CHARLES A             NY         10778601         WEITZ & LUXENBERG, PC
ZAPPOLO              LYNNE                 NY         12039401         WEITZ & LUXENBERG, PC                                ZERILLI              CHARLES A             NY         11937500         WEITZ & LUXENBERG, PC
ZAPPOLO              MICHAEL JAMES         NY         12039401         WEITZ & LUXENBERG, PC                                ZERILLI              ENRICO                NY         99102397         WEITZ & LUXENBERG, PC
ZAPPONE              CATHERINE             NY         1900952015       WEITZ & LUXENBERG, PC                                ZERILLI              JOAN                  NY         99102397         WEITZ & LUXENBERG, PC
ZAPPONE              MICHAEL               NY         1900952015       WEITZ & LUXENBERG, PC                                ZERILLI              MARY S                NY         10778601         WEITZ & LUXENBERG, PC
ZAR                  CLAIRE                NY         12154501         WEITZ & LUXENBERG, PC                                ZERILLI              MARY S                NY         11937500         WEITZ & LUXENBERG, PC
ZAR                  JOHN                  NY         12154501         WEITZ & LUXENBERG, PC                                ZERO                 JOHN Q                NY         11527600         WEITZ & LUXENBERG, PC
ZAR                  JOHN                  NY         01111228         WEITZ & LUXENBERG, PC                                ZERO                 MARY                  NY         11527600         WEITZ & LUXENBERG, PC
ZARNOCK              LUCILLE               NY         11426300         WEITZ & LUXENBERG, PC                                ZEROLNICK            EDNA                  NY         12039001         WEITZ & LUXENBERG, PC
ZARNOCK              VICTOR T              NY         11426300         WEITZ & LUXENBERG, PC                                ZEROLNICK            FRED                  NY         12039001         WEITZ & LUXENBERG, PC
ZARRELLI             GERARDO               NY         11187599         WEITZ & LUXENBERG, PC                                ZEVETCHIN            BETTY                 NY         11432203         WEITZ & LUXENBERG, PC
ZARRELLI             MARIA                 NY         11187599         WEITZ & LUXENBERG, PC                                ZEVETCHIN            MICHAEL               NY         11432203         WEITZ & LUXENBERG, PC
ZARTUN               BARBARA               NY         11426200         WEITZ & LUXENBERG, PC                                ZGLINICKI            EUGENE HILLARY        NY         99102396         WEITZ & LUXENBERG, PC
ZARTUN               JOHN                  NY         11426200         WEITZ & LUXENBERG, PC                                ZGLINICKI            ROSALIE STARR         NY         99102396         WEITZ & LUXENBERG, PC
ZATORSKI             NANCY                 NY         10696502         WEITZ & LUXENBERG, PC                                ZGOMBIC              JOSEPH D              NY         19021510         WEITZ & LUXENBERG, PC
ZATORSKI             STEPHEN F             NY         10696502         WEITZ & LUXENBERG, PC                                ZGOMBIC              LINDA                 NY         19021510         WEITZ & LUXENBERG, PC
ZATREPALEK           VIRGINIA              NY         11803904         WEITZ & LUXENBERG, PC                                ZGRABLIC             ALBERT                NY         11426000         WEITZ & LUXENBERG, PC
ZAVERL               RICHARD PAUL          NY         10670802         WEITZ & LUXENBERG, PC                                ZGRABLIC             LUCY                  NY         11426000         WEITZ & LUXENBERG, PC
ZAWADZKI             EDWARD                NY         11159303         WEITZ & LUXENBERG, PC                                ZICK                 JOSEPH                NY         10778501         WEITZ & LUXENBERG, PC
ZAWADZKI             PATRICIA              NY         11159303         WEITZ & LUXENBERG, PC                                ZICK                 JOSEPH                NY         11937500         WEITZ & LUXENBERG, PC
ZAZA                 MARIA J               NY         CV017502         WEITZ & LUXENBERG, PC                                ZICK                 JUDITH                NY         10778501         WEITZ & LUXENBERG, PC
ZAZA                 RALPH                 NY         CV017502         WEITZ & LUXENBERG, PC                                ZICK                 JUDITH                NY         11937500         WEITZ & LUXENBERG, PC
ZDGIEBLOSKI          PETER                 NY         10238699         WEITZ & LUXENBERG, PC                                ZIEL                 BEVERLY G             NY         11685006         WEITZ & LUXENBERG, PC
ZDGIEBLOSKI          RITA                  NY         10238699         WEITZ & LUXENBERG, PC                                ZIEL                 CONRAD C              NY         11685006         WEITZ & LUXENBERG, PC
ZEBROWSKI            MATTHEW K             NY         10778901         WEITZ & LUXENBERG, PC                                ZIELINSKI            PATRICIA              NY         98122873         WEITZ & LUXENBERG, PC
ZEBROWSKI            MATTHEW K             NY         11937500         WEITZ & LUXENBERG, PC                                ZIELINSKI            RAKEN                 NY         11711103         WEITZ & LUXENBERG, PC
ZECCA                MICHAEL               NY         99111874         WEITZ & LUXENBERG, PC                                ZIELINSKI            RICHARD               NY         98122873         WEITZ & LUXENBERG, PC
ZECCA                ROSEMARY              NY         99111874         WEITZ & LUXENBERG, PC                                ZIEMBA               EDWARD S              NY         10670802         WEITZ & LUXENBERG, PC
ZEDECK               SHARI                 NY         20193687         WEITZ & LUXENBERG, PC                                ZIENDA               JOHN F                NY         10414801         WEITZ & LUXENBERG, PC
ZEDECK               STEVEN A              NY         20193687         WEITZ & LUXENBERG, PC                                ZIENDA               LAURA A               NY         10414801         WEITZ & LUXENBERG, PC
ZEGARELLI            ANGELO                NY         11872801         WEITZ & LUXENBERG, PC                                ZIGABARRA            LORRAINE              NY         1903972013       WEITZ & LUXENBERG, PC
ZEGARELLI            ANGELO                NY         01111233         WEITZ & LUXENBERG, PC                                ZIGABARRA            WALTER                NY         1903972013       WEITZ & LUXENBERG, PC
ZEGARELLI            FRANKA                NY         11872801         WEITZ & LUXENBERG, PC                                ZILLIOX              DORETTE               NY         10710002         WEITZ & LUXENBERG, PC
ZEGARELLI            FRANKA                NY         01111233         WEITZ & LUXENBERG, PC                                ZILLIOX              DORETTE               NY         12682302         WEITZ & LUXENBERG, PC
ZEGLEN               ADOLF JOHN            NY         10871201         WEITZ & LUXENBERG, PC                                ZILLOX               ROBERT W              NY         10710002         WEITZ & LUXENBERG, PC
ZEGLEN               JOAN                  NY         10871201         WEITZ & LUXENBERG, PC                                ZILLOX               ROBERT W              NY         12682302         WEITZ & LUXENBERG, PC
ZEHER                CHRISTINE             NY         10510300         WEITZ & LUXENBERG, PC                                ZIMLINGHAUS          GEORGE                NY         10819900         WEITZ & LUXENBERG, PC
ZEIF                 MORRIS                NY         10240399         WEITZ & LUXENBERG, PC                                ZIMLINGHAUS          LAURA                 NY         10819900         WEITZ & LUXENBERG, PC
ZEIF                 RACHEL                NY         10240399         WEITZ & LUXENBERG, PC                                ZIMMER               DONALD R              NY         11527700         WEITZ & LUXENBERG, PC
ZEIGLER              HENRY F               NY         10039803         WEITZ & LUXENBERG, PC                                ZIMMER               GERALDINE             NY         11527700         WEITZ & LUXENBERG, PC
ZEIGLER              JOYCE                 NY         10039803         WEITZ & LUXENBERG, PC                                ZIMMER               JAMES V               NY         10716802         WEITZ & LUXENBERG, PC
ZEITLIN              HOWARD                NY         99102401         WEITZ & LUXENBERG, PC                                ZIMMER               JOSEPH B              NY         01107044         WEITZ & LUXENBERG, PC
ZEITLIN              JEAN                  NY         99102401         WEITZ & LUXENBERG, PC                                ZIMMER               KATHLEEN              NY         12039501         WEITZ & LUXENBERG, PC
ZELANKO              JACK S                NY         10240099         WEITZ & LUXENBERG, PC                                ZIMMER               ROBERT                NY         12039501         WEITZ & LUXENBERG, PC
ZELANKO              SHEILA                NY         10240099         WEITZ & LUXENBERG, PC                                ZIMMERMAN            BARBARA               NY         10877003         WEITZ & LUXENBERG, PC
ZELASKO              STANLEY J             NY         10239999         WEITZ & LUXENBERG, PC                                ZIMMERMAN            BARBARA               NY         10090403         WEITZ & LUXENBERG, PC
ZELASKO              SUE                   NY         10239999         WEITZ & LUXENBERG, PC                                ZIMMERMAN            DAVID A               NY         10710002         WEITZ & LUXENBERG, PC
ZELAZNY              BERNICE               NY         12287698         WEITZ & LUXENBERG, PC                                ZIMMERMAN            ELAINE                NY         12693402         WEITZ & LUXENBERG, PC
ZELAZNY              RAYMOND               NY         12287698         WEITZ & LUXENBERG, PC                                ZIMMERMAN            GR                    NY         01111236         WEITZ & LUXENBERG, PC
ZELCO                JAYCE                 NY         10560904         WEITZ & LUXENBERG, PC                                ZIMMERMAN            JAMES THOMAS          NY         00CIV6275        WEITZ & LUXENBERG, PC
ZELCO                JOHN                  NY         10560904         WEITZ & LUXENBERG, PC                                ZIMMERMAN            LESLIE R              NY         11527800         WEITZ & LUXENBERG, PC
ZELNO                CARLTON               NY         10778801         WEITZ & LUXENBERG, PC                                ZIMMERMAN            ROBERT                NY         12788702         WEITZ & LUXENBERG, PC
ZELNO                CARLTON               NY         11937500         WEITZ & LUXENBERG, PC                                ZIMMERMAN            ROMAN                 NY         10090403         WEITZ & LUXENBERG, PC




                                                                                                            Appendix A - 1104
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 439 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ZIMMERMAN            ROMAN                 NY         10877003         WEITZ & LUXENBERG, PC                                ZUECH                JOSEPH                NY         10491604         WEITZ & LUXENBERG, PC
ZIMMERMAN            URSALA                NY         11527800         WEITZ & LUXENBERG, PC                                ZUGIBE               DENNIS                NY         10658102         WEITZ & LUXENBERG, PC
ZIMMERMANN           HAROLD                NY         12693402         WEITZ & LUXENBERG, PC                                ZUGIBE               NANCY M               NY         10658102         WEITZ & LUXENBERG, PC
ZIMNIAK              JOHN                  NY         98122882         WEITZ & LUXENBERG, PC                                ZUKOWSKI             CHET S                NY         11425400         WEITZ & LUXENBERG, PC
ZIMNIAK              MICHELE               NY         98122882         WEITZ & LUXENBERG, PC                                ZUKOWSKI             JOHN P                NY         11425400         WEITZ & LUXENBERG, PC
ZINGONI              JOSEPH M              NY         02106579         WEITZ & LUXENBERG, PC                                ZUKOWSKI             RUTH                  NY         11425400         WEITZ & LUXENBERG, PC
ZINGONI              JOSEPH M              NY         11308802         WEITZ & LUXENBERG, PC                                ZULICK               NANCY L               NY         99111884         WEITZ & LUXENBERG, PC
ZINGONI              RICHARD               NY         02106579         WEITZ & LUXENBERG, PC                                ZULICK               RONALD                NY         99111884         WEITZ & LUXENBERG, PC
ZINGONI              RICHARD               NY         11308802         WEITZ & LUXENBERG, PC                                ZUNNER               JO ANN                NY         10817202         WEITZ & LUXENBERG, PC
ZINGONI              VIVIAN                NY         02106579         WEITZ & LUXENBERG, PC                                ZUNNER               RONALD                NY         10817202         WEITZ & LUXENBERG, PC
ZINGONI              VIVIAN                NY         11308802         WEITZ & LUXENBERG, PC                                ZUPKA                SHIRLEY               NY         11425300         WEITZ & LUXENBERG, PC
ZINICOLA             LEAN PENSIERO         NY         10035202         WEITZ & LUXENBERG, PC                                ZUPKA                WALTER E              NY         11425300         WEITZ & LUXENBERG, PC
ZINICOLA             LOUIS                 NY         10035202         WEITZ & LUXENBERG, PC                                ZUPO                 ANNA                  NY         98122880         WEITZ & LUXENBERG, PC
ZINK                 JANET                 NY         1901522016       WEITZ & LUXENBERG, PC                                ZUPO                 GIUSEPPE F            NY         98122880         WEITZ & LUXENBERG, PC
ZINK                 JEANETTE              NY         1901522016       WEITZ & LUXENBERG, PC                                ZUPPA                FRANK                 NY         10778401         WEITZ & LUXENBERG, PC
ZINK                 JEROME W              NY         11026702         WEITZ & LUXENBERG, PC                                ZUPPA                FRANK                 NY         11937500         WEITZ & LUXENBERG, PC
ZINK                 TRACY                 NY         11026702         WEITZ & LUXENBERG, PC                                ZUPPA                MARY GAIL             NY         10778401         WEITZ & LUXENBERG, PC
ZINNO                JEAN                  NY         10416702         WEITZ & LUXENBERG, PC                                ZUPPA                MARY GAIL             NY         11937500         WEITZ & LUXENBERG, PC
ZINNO                RALPH J               NY         10416702         WEITZ & LUXENBERG, PC                                ZURANSKI             JOHN                  NY         11186999         WEITZ & LUXENBERG, PC
ZIOBRO               JOHN R                NY         11425900         WEITZ & LUXENBERG, PC                                ZURANSKI             JUDITH                NY         11186999         WEITZ & LUXENBERG, PC
ZIOBRO               MARCIA                NY         11425900         WEITZ & LUXENBERG, PC                                ZURAWSKI             HERMAN                NY         11187099         WEITZ & LUXENBERG, PC
ZIOLKOWSKI           MARYANN               NY         11780504         WEITZ & LUXENBERG, PC                                ZURAWSKI             ROSE                  NY         11187099         WEITZ & LUXENBERG, PC
ZIOLKOWSKI           ROBERT                NY         11780504         WEITZ & LUXENBERG, PC                                ZURICK               ANTHONY               NY         1900272015       WEITZ & LUXENBERG, PC
ZIOLKOWSKI           SYLVIA                NY         10587502         WEITZ & LUXENBERG, PC                                ZURICK               MARYLIN               NY         1900272015       WEITZ & LUXENBERG, PC
ZIOLKOWSKI           SYLVIA                NY         11004802         WEITZ & LUXENBERG, PC                                ZUSMAN               MILDRED               NY         02118429         WEITZ & LUXENBERG, PC
ZIOLKOWSKI           WALTER A              NY         10587502         WEITZ & LUXENBERG, PC                                ZUSMAN               RICHARD S             NY         02118429         WEITZ & LUXENBERG, PC
ZIOLKOWSKI           WALTER A              NY         11004802         WEITZ & LUXENBERG, PC                                ZUSMAN               THEODORE              NY         02118429         WEITZ & LUXENBERG, PC
ZION                 IDA                   NY         11159403         WEITZ & LUXENBERG, PC                                ZUYUS                LISA A                NY         10062202         WEITZ & LUXENBERG, PC
ZION                 JOHN                  NY         11159403         WEITZ & LUXENBERG, PC                                ZUZZOLO              ARLENE                NY         12056703         WEITZ & LUXENBERG, PC
ZIRINSKY             LOUISE                NY         10871897         WEITZ & LUXENBERG, PC                                ZUZZOLO              JOHN R                NY         12056703         WEITZ & LUXENBERG, PC
ZITO                 ANTONIO F             NY         02106508         WEITZ & LUXENBERG, PC                                ZWECKER              EFRAIM                NY         10397107         WEITZ & LUXENBERG, PC
ZITO                 EUGENIA               NY         02106508         WEITZ & LUXENBERG, PC                                ZWECKER              JUDITH                NY         10397107         WEITZ & LUXENBERG, PC
ZITO                 FRANK                 NY         12287998         WEITZ & LUXENBERG, PC                                ZWICK                GEARY J               NY         10722202         WEITZ & LUXENBERG, PC
ZITO                 JAMES V JR            NY         11425800         WEITZ & LUXENBERG, PC                                ZWICK                GEARY J               NY         11360602         WEITZ & LUXENBERG, PC
ZITO                 JERRY A               NY         11158903         WEITZ & LUXENBERG, PC                                ZWICK                MARY K                NY         10722202         WEITZ & LUXENBERG, PC
ZITO                 KATHLEEN              NY         11158903         WEITZ & LUXENBERG, PC                                ZWICK                MARY K                NY         11360602         WEITZ & LUXENBERG, PC
ZITO                 KEVIN J               NY         12287998         WEITZ & LUXENBERG, PC                                ZWIRZ                MARIA                 NY         11425200         WEITZ & LUXENBERG, PC
ZITO                 MARIAN E              NY         12287998         WEITZ & LUXENBERG, PC                                ZWIRZ                WILLIAM               NY         11425200         WEITZ & LUXENBERG, PC
ZITO                 MARY JEAN             NY         11425800         WEITZ & LUXENBERG, PC                                ZYSK                 LEON                  NY         12668102         WEITZ & LUXENBERG, PC
ZIZZO                HARRIET A             NY         12039701         WEITZ & LUXENBERG, PC                                ZYSK                 MARJORIE              NY         12668102         WEITZ & LUXENBERG, PC
ZIZZO                HARRIET A             NY         10505302         WEITZ & LUXENBERG, PC                                ZYSKOWSKI            CAROL                 NY         02106579         WEITZ & LUXENBERG, PC
ZIZZO                HENRY A               NY         12039701         WEITZ & LUXENBERG, PC                                ZYSKOWSKI            KENNETH J             NY         02106579         WEITZ & LUXENBERG, PC
ZIZZO                HENRY A               NY         10505302         WEITZ & LUXENBERG, PC                                ZYZES                CORLISS               NY         10778301         WEITZ & LUXENBERG, PC
ZMUDA                JOSEPH J              NY         99111871         WEITZ & LUXENBERG, PC                                ZYZES                CORLISS               NY         11937500         WEITZ & LUXENBERG, PC
ZMUDA                PATRICIA A            NY         10571702         WEITZ & LUXENBERG, PC                                ZYZES                KENNETH               NY         10778301         WEITZ & LUXENBERG, PC
ZMUDA                PAUL M                NY         10571702         WEITZ & LUXENBERG, PC                                ZYZES                KENNETH               NY         11937500         WEITZ & LUXENBERG, PC
ZMUDA                ROBERT J              NY         10571702         WEITZ & LUXENBERG, PC                                BAGGETT              PATSY R               TX         2003040315       WELLBORN & HOUSTON, LLP
ZOFFADA              JAMES W               NY         1903442013       WEITZ & LUXENBERG, PC                                BAGGETT              WILLIAM R             TX         2003040315       WELLBORN & HOUSTON, LLP
ZOFFADA              SYLVIA                NY         1903442013       WEITZ & LUXENBERG, PC                                BLANTON              VELMA                 TX         030776           WELLBORN & HOUSTON, LLP
ZOLFO                ROSE                  NY         10700302         WEITZ & LUXENBERG, PC                                BLANTON              WILLIAM H             TX         030776           WELLBORN & HOUSTON, LLP
ZOLFO                VINCENT               NY         10700302         WEITZ & LUXENBERG, PC                                BYRD                 RAY C                 TX         12267RM00        WELLBORN & HOUSTON, LLP
ZOLLMAN              LOUIS                 NY         19035410         WEITZ & LUXENBERG, PC                                CRAIN                BETTY FAY             TX         11853RMOO        WELLBORN & HOUSTON, LLP
ZOLLO                LOUIS                 NY         1902292013       WEITZ & LUXENBERG, PC                                CRAIN                T ARNOLD JR           TX         11853RMOO        WELLBORN & HOUSTON, LLP
ZOLLO                PHYLLIS               NY         1902292013       WEITZ & LUXENBERG, PC                                DAVIS                BETTY                 TX         47626            WELLBORN & HOUSTON, LLP
ZORN                 GERTRUDE              NY         99102395         WEITZ & LUXENBERG, PC                                DAVIS                RICHARD C             TX         47626            WELLBORN & HOUSTON, LLP
ZORN                 TIMOTHY               NY         99102395         WEITZ & LUXENBERG, PC                                EDWARDS              AMOS RAY              TX         03C370           WELLBORN & HOUSTON, LLP
ZORN                 WILLIAM               NY         99102395         WEITZ & LUXENBERG, PC                                EDWARDS              GEORGE L              TX         12267RM00        WELLBORN & HOUSTON, LLP
ZOUTIS               ROBERT T              NY         1900112019       WEITZ & LUXENBERG, PC                                EDWARDS              LEOLA                 TX         12267RM00        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            ALICE                 NY         10571002         WEITZ & LUXENBERG, PC                                ENLOW                JERRY                 TX         200215813        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            BERNARD               NY         10571702         WEITZ & LUXENBERG, PC                                FERRELL              GLENDA K              TX         320239905        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            BERNARD               NY         11150702         WEITZ & LUXENBERG, PC                                FERRELL              WILLIAM S             TX         320239905        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            GERTRUDE C            NY         10571702         WEITZ & LUXENBERG, PC                                GREER                CERCY                 TX         12267RM00        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            GERTRUDE C            NY         11150702         WEITZ & LUXENBERG, PC                                GREER                PERCY                 TX         12267RM00        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            PAUL                  NY         10571702         WEITZ & LUXENBERG, PC                                GREER                VERA                  TX         12267RM00        WELLBORN & HOUSTON, LLP
ZOYHOFSKI            PAUL                  NY         11150702         WEITZ & LUXENBERG, PC                                HALE                 CYNTHIA               TX         02476            WELLBORN & HOUSTON, LLP
ZOYHOFSKI            ROBERT                NY         10571002         WEITZ & LUXENBERG, PC                                HALE                 JAMES A               TX         02476            WELLBORN & HOUSTON, LLP
ZUBRADT              GERALD                NY         11425600         WEITZ & LUXENBERG, PC                                HICKS                HELEN R               TX         9631353          WELLBORN & HOUSTON, LLP
ZUBRADT              IMOGENE               NY         11425600         WEITZ & LUXENBERG, PC                                HICKS                JAMES O               TX         9631353          WELLBORN & HOUSTON, LLP
ZUCCO                BEATRICE Y            NY         11425500         WEITZ & LUXENBERG, PC                                JACKSON              HAYWARD               TX         12267RM00        WELLBORN & HOUSTON, LLP
ZUCCO                JOSEPH                NY         11425500         WEITZ & LUXENBERG, PC                                JARMON               IRA D                 TX         28386            WELLBORN & HOUSTON, LLP
ZUECH                IRMA P                NY         10491604         WEITZ & LUXENBERG, PC                                JARMON               JW                    TX         28386            WELLBORN & HOUSTON, LLP




                                                                                                            Appendix A - 1105
                                                           Case 20-03004                            Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                       Complaint-Part 2 Page 440 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JARMON               MICHAEL D             TX         28386             WELLBORN & HOUSTON, LLP                              ALBERS               WILLIAM P             NY         12276899         WILENTZ, GOLDMAN & SPITZER
JARMON JR            JW                    TX         28386             WELLBORN & HOUSTON, LLP                              ALBERT               ESTHER                NY         10665099         WILENTZ, GOLDMAN & SPITZER
JOHNSTON             LOIS L                TX         11853RMOO         WELLBORN & HOUSTON, LLP                              ALBERT               GEORGE S              NY         10665099         WILENTZ, GOLDMAN & SPITZER
JOHNSTON             OLIVER V              TX         11853RMOO         WELLBORN & HOUSTON, LLP                              ALI                  JOSEPH                NY         12715002         WILENTZ, GOLDMAN & SPITZER
LACOUR               DELORES               LA         64596B            WELLBORN & HOUSTON, LLP                              ALINE                MATTHEW               NY         12276899         WILENTZ, GOLDMAN & SPITZER
LACOUR               EUGENE                LA         64596B            WELLBORN & HOUSTON, LLP                              ALLEGATO             JOHN M                NY         10521299         WILENTZ, GOLDMAN & SPITZER
LEBOW                ANNETTE C             TX         13847RM00         WELLBORN & HOUSTON, LLP                              ALLEN                WILLIAM P             NY         12509994         WILENTZ, GOLDMAN & SPITZER
LEBOW                DWIGHT R              TX         13847RM00         WELLBORN & HOUSTON, LLP                              ALLISTER             DICK N                NY         11778699         WILENTZ, GOLDMAN & SPITZER
LOPEZ                RAUL                  TX         GNO001387         WELLBORN & HOUSTON, LLP                              ALLOTTA              EDWARD J              NY         10627300         WILENTZ, GOLDMAN & SPITZER
MAGNESS              HARRY                 TX         47626             WELLBORN & HOUSTON, LLP                              ALLOTTA              RICHARD               NY         10627300         WILENTZ, GOLDMAN & SPITZER
MAGNESS              SHERRY                TX         47626             WELLBORN & HOUSTON, LLP                              ALSTON               THEOPHILUS            NY         12509994         WILENTZ, GOLDMAN & SPITZER
MEADOR               ELLA KARLENE          TX         28907             WELLBORN & HOUSTON, LLP                              ALTADONNA            NUNZIO                NY         10311601         WILENTZ, GOLDMAN & SPITZER
MEADOR               JAMES                 TX         28907             WELLBORN & HOUSTON, LLP                              ALVARADO             JOHN                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
MEADOR               ROBERT L              TX         28907             WELLBORN & HOUSTON, LLP                              AMATO                GIUSEPPE              NY         10896500         WILENTZ, GOLDMAN & SPITZER
NEWSOM               EUGENE                TX         PI05199           WELLBORN & HOUSTON, LLP                              AMATO                PASQUALE              NY         11446802         WILENTZ, GOLDMAN & SPITZER
NEWSOM               PATRICIA              TX         PI05199           WELLBORN & HOUSTON, LLP                              AMATO                ROSE                  NY         11446802         WILENTZ, GOLDMAN & SPITZER
PONTIFF              ALVIN H               TX         00J0362C          WELLBORN & HOUSTON, LLP                              AMATO                SALVATORE             NY         11778699         WILENTZ, GOLDMAN & SPITZER
PONTIFF              DOROTHY               TX         00J0362C          WELLBORN & HOUSTON, LLP                              AMBRICO              ISABELLE              NY         10423103         WILENTZ, GOLDMAN & SPITZER
RAYMOND              WAYNE                 TX         2000265           WELLBORN & HOUSTON, LLP                              AMBRICO              LOUIS M               NY         10423103         WILENTZ, GOLDMAN & SPITZER
REEDER               CYNTHIA M             TX         981425BA          WELLBORN & HOUSTON, LLP                              AMBROSINI            MICHAEL               NY         12215200         WILENTZ, GOLDMAN & SPITZER
REEDER               JERRY W               TX         981425BA          WELLBORN & HOUSTON, LLP                              AMISANO              CONRAD A              NY         10353400         WILENTZ, GOLDMAN & SPITZER
SHANKLIN             RAYMOND               TX         36406S            WELLBORN & HOUSTON, LLP                              AMMIRATA             FRANK                 NY         10543598         WILENTZ, GOLDMAN & SPITZER
SHANKLIN             ROSALEE               TX         36406S            WELLBORN & HOUSTON, LLP                              AMMIRATA             THOMAS G              NY         12276899         WILENTZ, GOLDMAN & SPITZER
SKINNER              TOMMY L               TX         02476             WELLBORN & HOUSTON, LLP                              AMODEO               DAVID T               NY         11565102         WILENTZ, GOLDMAN & SPITZER
STOKER               CAROYLN J             TX         42011             WELLBORN & HOUSTON, LLP                              ANCONA               JOHN                  NY         11759499         WILENTZ, GOLDMAN & SPITZER
STOKER               LARRY L               TX         42011             WELLBORN & HOUSTON, LLP                              ANDERSEN             RONALD J SR           NY         11957299         WILENTZ, GOLDMAN & SPITZER
WEBB                 SHIRLEY B             TX         03C370            WELLBORN & HOUSTON, LLP                              ANDERSON             CLAVIN W              NY         10353500         WILENTZ, GOLDMAN & SPITZER
WEBB                 WELDON F              TX         03C370            WELLBORN & HOUSTON, LLP                              ANDERSON             EINAR G               NY         11957199         WILENTZ, GOLDMAN & SPITZER
WELCH                JOHN E                TX         2001084           WELLBORN & HOUSTON, LLP                              ANDERSON             GEORGE                NY         10588501         WILENTZ, GOLDMAN & SPITZER
WELCH                MARY M                TX         2001084           WELLBORN & HOUSTON, LLP                              ANDERSON             JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER
WILKINS              ROGER R               TX         0100977F          WELLBORN & HOUSTON, LLP                              ANDERSON             LEONARD J             NY         11476701         WILENTZ, GOLDMAN & SPITZER
WILKINS              SANDRA                TX         0100977F          WELLBORN & HOUSTON, LLP                              ANDERSON             THOMAS                NY         10627300         WILENTZ, GOLDMAN & SPITZER
BURDETTE             GARY D                WV         19C423            WESTON ROBERTSON                                     ANDERWKAVICH         ALEXANDER             NY         11270699         WILENTZ, GOLDMAN & SPITZER
BURDETTE             SUSAN                 WV         19C423            WESTON ROBERTSON                                     ANDREWS              AUGUSTIN              NY         11522001         WILENTZ, GOLDMAN & SPITZER
DORRIS               DAN M                 NY         CV020223          WHITE, WALTER D (LA)                                 ANFOLISI             PHILIP                NY         11726602         WILENTZ, GOLDMAN & SPITZER
DORRIS               ETHEL                 NY         CV020223          WHITE, WALTER D (LA)                                 ANGRISANI            DONALD                NY         11759499         WILENTZ, GOLDMAN & SPITZER
NEFF                 EDWARD                MD         24X09000264KDCB   WHITEFORD, TAYLOR & PRESTON LLP                      ANNESE               JOYCE D               NY         11867000         WILENTZ, GOLDMAN & SPITZER
NEFF                 EDWARD                MD         24X09000264FMC    WHITEFORD, TAYLOR & PRESTON LLP                      ANSELMI              FRANK                 NY         10473302         WILENTZ, GOLDMAN & SPITZER
JOE                  EDWARD                NM         CV200000130       WHITNEY BUCHANAN, PC                                 ANTONELLE            CARMINE               NY         12431599         WILENTZ, GOLDMAN & SPITZER
JOE                  TONITA R              NM         CV200000130       WHITNEY BUCHANAN, PC                                 ANTONITTI            NICOLO                NY         11484200         WILENTZ, GOLDMAN & SPITZER
TODACHEENIE          NICK                  NM         UNKNOWN           WHITNEY BUCHANAN, PC                                 ANZALONE             EDWARD                NY         10516001         WILENTZ, GOLDMAN & SPITZER
TODACHEENIE          PAULINE               NM         UNKNOWN           WHITNEY BUCHANAN, PC                                 APOLO                JOHNSON               NY         10900899         WILENTZ, GOLDMAN & SPITZER
ABBATE               JOSEPH                NY         12509994          WILENTZ, GOLDMAN & SPITZER                           APPELL               LAWRENCE              NY         12083898         WILENTZ, GOLDMAN & SPITZER
ABBOTT               RICHARD               NY         11957099          WILENTZ, GOLDMAN & SPITZER                           ARAGONA              BETH                  NY         10667504         WILENTZ, GOLDMAN & SPITZER
ABRUZZO              ANTHONY               NY         12014903          WILENTZ, GOLDMAN & SPITZER                           ARAGONA              DOMINICK              NY         10667504         WILENTZ, GOLDMAN & SPITZER
ACCILLI              ARMAND F              NY         10679501          WILENTZ, GOLDMAN & SPITZER                           ARALE                MICHAEL G             NY         12450802         WILENTZ, GOLDMAN & SPITZER
ACCURSO              LOUIS F               NY         11029699          WILENTZ, GOLDMAN & SPITZER                           ARCHETTI             BATTISTA              NY         11744198         WILENTZ, GOLDMAN & SPITZER
ACKER                WILLIAM J             NY         11476701          WILENTZ, GOLDMAN & SPITZER                           ARCHETTI             SILVANO               NY         11680001         WILENTZ, GOLDMAN & SPITZER
ACOVINO              FIORE C               NY         11911898          WILENTZ, GOLDMAN & SPITZER                           ARCIUOLO             MICHAEL               NY         10726302         WILENTZ, GOLDMAN & SPITZER
ACOVINO              MARIE                 NY         11911898          WILENTZ, GOLDMAN & SPITZER                           ARDITO               ROSALIE               NY         12715002         WILENTZ, GOLDMAN & SPITZER
ACQUAZZINO           FRANK                 NY         11098502          WILENTZ, GOLDMAN & SPITZER                           ARDITO               VINCENZO              NY         12715002         WILENTZ, GOLDMAN & SPITZER
ACQUAZZINO           MARIA                 NY         11098502          WILENTZ, GOLDMAN & SPITZER                           ARGENZIANO           PATSY P               NY         10083402         WILENTZ, GOLDMAN & SPITZER
ADAMO                ANTHONY               NY         11744198          WILENTZ, GOLDMAN & SPITZER                           ARMSTRONG            JERRY A               NY         10543598         WILENTZ, GOLDMAN & SPITZER
ADDORISIO            PETER E               NY         10521299          WILENTZ, GOLDMAN & SPITZER                           ARNOLD               HERBERT S             NJ         L772100          WILENTZ, GOLDMAN & SPITZER
ADORNO               RAUL                  NY         10188595          WILENTZ, GOLDMAN & SPITZER                           ARNOLD               JOSEPH                NY         10842101         WILENTZ, GOLDMAN & SPITZER
ADRAGNA              JOHN                  NY         12197003          WILENTZ, GOLDMAN & SPITZER                           ARNOLD               JOSEPH J              NY         10353500         WILENTZ, GOLDMAN & SPITZER
AGGIMENTI            MODESTO               NY         10101806          WILENTZ, GOLDMAN & SPITZER                           ARNOLD               RICHARD L             NY         11662301         WILENTZ, GOLDMAN & SPITZER
AHERN                BEATRICE              NY         11726602          WILENTZ, GOLDMAN & SPITZER                           ARNOLD               VIRGINIA              NJ         L772100          WILENTZ, GOLDMAN & SPITZER
AHERN                JAMES                 NY         11726602          WILENTZ, GOLDMAN & SPITZER                           ARRIGO               FRANK                 NY         10543598         WILENTZ, GOLDMAN & SPITZER
AHRENS               MARGARET              NY         12215200          WILENTZ, GOLDMAN & SPITZER                           ASTEN                ARLENE                NY         11911898         WILENTZ, GOLDMAN & SPITZER
AHRENS               MICHAEL R             NY         12215200          WILENTZ, GOLDMAN & SPITZER                           ASTEN                WILLIAM               NY         11911898         WILENTZ, GOLDMAN & SPITZER
AIELLO               ERNIE F               NY         10543598          WILENTZ, GOLDMAN & SPITZER                           ASTRAB               RUSSELL J             NY         10543598         WILENTZ, GOLDMAN & SPITZER
AIKEN                MERRYWEATHER          NY         11733101          WILENTZ, GOLDMAN & SPITZER                           ASTROMOVICH          ALEXANDER S           NY         11911898         WILENTZ, GOLDMAN & SPITZER
AIKMAN               CHARLES R JR          NY         11911898          WILENTZ, GOLDMAN & SPITZER                           ATIAS                HYMAN                 NY         10423103         WILENTZ, GOLDMAN & SPITZER
AIMETTE              ROBERT A              NY         10269203          WILENTZ, GOLDMAN & SPITZER                           ATWOOD               GERALD                NY         11162102         WILENTZ, GOLDMAN & SPITZER
ALAIMO               ANGELO                NY         10188595          WILENTZ, GOLDMAN & SPITZER                           AULETA               MICHAEL               NY         10543598         WILENTZ, GOLDMAN & SPITZER
ALAIMO               ANGELO                NY         11484200          WILENTZ, GOLDMAN & SPITZER                           AULETA               NORMA                 NY         10543598         WILENTZ, GOLDMAN & SPITZER
ALAIMO               CALOGERA              NY         10469596          WILENTZ, GOLDMAN & SPITZER                           AULISIO              JOSEPH H              NY         10353500         WILENTZ, GOLDMAN & SPITZER
ALAIMO               GIOACCHINO            NY         10469596          WILENTZ, GOLDMAN & SPITZER                           AUMENTE              JEROME                NY         11784706         WILENTZ, GOLDMAN & SPITZER
ALBANESE             JOHN                  NY         12201099          WILENTZ, GOLDMAN & SPITZER                           AUTERI               ROSARIO               NY         10415501         WILENTZ, GOLDMAN & SPITZER
ALBANO               EMILIO                NY         10556205          WILENTZ, GOLDMAN & SPITZER                           AVANZATO             GIUSEPPE              NY         12509994         WILENTZ, GOLDMAN & SPITZER




                                                                                                             Appendix A - 1106
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 441 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

AVANZATO             JEAN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER                           BEAL                 RITA A                NY         11332999         WILENTZ, GOLDMAN & SPITZER
AVENTURATO           BENEDICT              NY         11897103         WILENTZ, GOLDMAN & SPITZER                           BEALE                LOUISE                NY         10469596         WILENTZ, GOLDMAN & SPITZER
AVERSANO             JOSEPH                NY         11076300         WILENTZ, GOLDMAN & SPITZER                           BEALE                RICHARD J             NY         10469596         WILENTZ, GOLDMAN & SPITZER
AVERY                ROBERT H              NY         11565102         WILENTZ, GOLDMAN & SPITZER                           BEATINI              MICHAEL               NY         10235608         WILENTZ, GOLDMAN & SPITZER
AVITABILE            DENNIS                NY         11911898         WILENTZ, GOLDMAN & SPITZER                           BEAUPARLANT          EDWARD                NY         10999898         WILENTZ, GOLDMAN & SPITZER
AVITABILE            JOSEPH                NY         11911898         WILENTZ, GOLDMAN & SPITZER                           BEAUPARLANT          GLADYS                NY         10999898         WILENTZ, GOLDMAN & SPITZER
AVRAMOVIC            CEDOMIR               NY         12249598         WILENTZ, GOLDMAN & SPITZER                           BECHTOLD             JOHN                  NY         10588601         WILENTZ, GOLDMAN & SPITZER
AYBAR                MANUEL D              NY         12431599         WILENTZ, GOLDMAN & SPITZER                           BECK                 CLAIRE                NY         10469596         WILENTZ, GOLDMAN & SPITZER
AZZARA               LILLIAN               NY         11029699         WILENTZ, GOLDMAN & SPITZER                           BECK                 JOHN J                NY         10469596         WILENTZ, GOLDMAN & SPITZER
AZZARA               THOMAS J              NY         11029699         WILENTZ, GOLDMAN & SPITZER                           BECKER               BERNARD               NY         11735098         WILENTZ, GOLDMAN & SPITZER
BABECKI              FRANK                 NY         10353400         WILENTZ, GOLDMAN & SPITZER                           BECKER               MARTIN A              NY         10469596         WILENTZ, GOLDMAN & SPITZER
BACKHAUS             ALBERT                NY         11920398         WILENTZ, GOLDMAN & SPITZER                           BECKER               SOPHIE                NY         11735098         WILENTZ, GOLDMAN & SPITZER
BADAL                JUALA                 NY         10353400         WILENTZ, GOLDMAN & SPITZER                           BEDELL               JOSEPH                NY         10987101         WILENTZ, GOLDMAN & SPITZER
BAEYENS              PAUL                  NY         10970606         WILENTZ, GOLDMAN & SPITZER                           BEDNARCZYK           KATHLEEN              NY         11998898         WILENTZ, GOLDMAN & SPITZER
BAILEY               BEATRICE              NY         10752899         WILENTZ, GOLDMAN & SPITZER                           BEDNARCZYK           WILLIAM J JR          NY         11998898         WILENTZ, GOLDMAN & SPITZER
BAILEY               CLYDE E SR            NY         10752899         WILENTZ, GOLDMAN & SPITZER                           BEEBE                JAMES                 NY         11759499         WILENTZ, GOLDMAN & SPITZER
BAILEY               TOM                   NJ         L09996886        WILENTZ, GOLDMAN & SPITZER                           BEEBE                RONALD                NY         11565002         WILENTZ, GOLDMAN & SPITZER
BALACICH             ITALO                 NY         11957199         WILENTZ, GOLDMAN & SPITZER                           BEER                 BRIAN                 NJ         MIDL225916AS     WILENTZ, GOLDMAN & SPITZER
BALDI                THOMAS G              NY         10543598         WILENTZ, GOLDMAN & SPITZER                           BEER                 LEE A                 NJ         MIDL225916AS     WILENTZ, GOLDMAN & SPITZER
BALDINO              LOUIS J               NY         11880701         WILENTZ, GOLDMAN & SPITZER                           BEINHAUR             RONALD                NY         11733101         WILENTZ, GOLDMAN & SPITZER
BALDINO              MARY                  NY         11880701         WILENTZ, GOLDMAN & SPITZER                           BELL                 ANTOINETTE L          NY         12510302         WILENTZ, GOLDMAN & SPITZER
BALE                 RICHARD               NY         12215200         WILENTZ, GOLDMAN & SPITZER                           BELL                 ROBERT H              NY         10269203         WILENTZ, GOLDMAN & SPITZER
BALLA                DANIEL                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           BELL                 WILLIAM               NY         12510302         WILENTZ, GOLDMAN & SPITZER
BALLERINO            BARBARA               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           BELL                 WILLIAM F             NY         11662201         WILENTZ, GOLDMAN & SPITZER
BALLERINO            RAYMOND G             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           BELLA                ANTHONY               NY         11076300         WILENTZ, GOLDMAN & SPITZER
BALLETTO             PHILIP C              NY         11662201         WILENTZ, GOLDMAN & SPITZER                           BELLAERA             VINCENZO              NY         10520704         WILENTZ, GOLDMAN & SPITZER
BANCI                ONORATO               NY         10796602         WILENTZ, GOLDMAN & SPITZER                           BELLANZA             GRACE                 NY         10173699         WILENTZ, GOLDMAN & SPITZER
BARAJAS              HOSE F                NY         10992804         WILENTZ, GOLDMAN & SPITZER                           BELLANZA             RICHARD N             NY         10173699         WILENTZ, GOLDMAN & SPITZER
BARAJAS              JOSE F                NY         10992804         WILENTZ, GOLDMAN & SPITZER                           BELLO                MARGARET              NY         11016101         WILENTZ, GOLDMAN & SPITZER
BARAJAS              JOSE F                NY         10993604         WILENTZ, GOLDMAN & SPITZER                           BENAVIDES            HENRY                 NY         12215200         WILENTZ, GOLDMAN & SPITZER
BARBAGALLO           ROBERT                NY         10083402         WILENTZ, GOLDMAN & SPITZER                           BENDER               CHARLES W             NY         10311601         WILENTZ, GOLDMAN & SPITZER
BARBALICH            BARTOL F              NY         10543598         WILENTZ, GOLDMAN & SPITZER                           BENES                ANTHONY M             NY         19023809         WILENTZ, GOLDMAN & SPITZER
BARBARO              DANIEL E              NY         10353400         WILENTZ, GOLDMAN & SPITZER                           BENES                BARBARA               NY         19023809         WILENTZ, GOLDMAN & SPITZER
BARBATO              ANTHONY M             NY         11565102         WILENTZ, GOLDMAN & SPITZER                           BENNETT              HANNAH                NY         10469596         WILENTZ, GOLDMAN & SPITZER
BARBATO              FRANK A               NY         10543598         WILENTZ, GOLDMAN & SPITZER                           BENNETT              JOHN J                NY         10469596         WILENTZ, GOLDMAN & SPITZER
BARBER               DARRELL T             NY         10987101         WILENTZ, GOLDMAN & SPITZER                           BENNETT              WESLEY E              NY         10987201         WILENTZ, GOLDMAN & SPITZER
BARBOUR              JAMES LEE             NY         11288203         WILENTZ, GOLDMAN & SPITZER                           BENSETLER            ROBERT                NY         12509994         WILENTZ, GOLDMAN & SPITZER
BARBOUR              LILYAN                NY         12201099         WILENTZ, GOLDMAN & SPITZER                           BENYO                JOSEPH                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
BARBOUR              NATHAN E              NY         12201099         WILENTZ, GOLDMAN & SPITZER                           BENZE                ROBERT T              NY         10521299         WILENTZ, GOLDMAN & SPITZER
BARKER               HILTON S              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           BERANEK              THOMAS O              NJ         L372002          WILENTZ, GOLDMAN & SPITZER
BARLOW               LAWRENCE C            NY         11662301         WILENTZ, GOLDMAN & SPITZER                           BERGEN               BARBARA LEE           NY         11286900         WILENTZ, GOLDMAN & SPITZER
BARNES               CHARLES               NY         11778699         WILENTZ, GOLDMAN & SPITZER                           BERGEN               MARTIN T              NY         11286900         WILENTZ, GOLDMAN & SPITZER
BARNEY               DOROTHY M             NY         11887300         WILENTZ, GOLDMAN & SPITZER                           BERKOWITZ            BENJAMIN              NY         11778699         WILENTZ, GOLDMAN & SPITZER
BARONE               ANTHONY               NY         10473302         WILENTZ, GOLDMAN & SPITZER                           BERNACET             NORBERTO              NY         11759499         WILENTZ, GOLDMAN & SPITZER
BARONE               THERESA               NY         10473302         WILENTZ, GOLDMAN & SPITZER                           BERNARD              JAMES J               NY         11465799         WILENTZ, GOLDMAN & SPITZER
BARR                 NEIL                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BERNARD              RUDOLPH               NY         11288203         WILENTZ, GOLDMAN & SPITZER
BARR                 SUSAN                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BERRY                ARTHUR                NY         11778699         WILENTZ, GOLDMAN & SPITZER
BARRETT              HUBERT R              NY         10173699         WILENTZ, GOLDMAN & SPITZER                           BERTANI              RONALD D              NY         11949700         WILENTZ, GOLDMAN & SPITZER
BARRETT              TERETHA               NY         10173699         WILENTZ, GOLDMAN & SPITZER                           BERTCH               EARL                  NY         12070402         WILENTZ, GOLDMAN & SPITZER
BARRETT              WILLIAM O             NY         12364099         WILENTZ, GOLDMAN & SPITZER                           BERTOLINO            JOSEPH                NY         12370201         WILENTZ, GOLDMAN & SPITZER
BARRY                MADELYN F             NY         10665099         WILENTZ, GOLDMAN & SPITZER                           BEYER                ROSEMARIE             NY         10520704         WILENTZ, GOLDMAN & SPITZER
BARRY                MICHAEL P             NY         12269900         WILENTZ, GOLDMAN & SPITZER                           BEYER                THEODORE              NY         10520704         WILENTZ, GOLDMAN & SPITZER
BARRY                STEPHEN J             NY         10665099         WILENTZ, GOLDMAN & SPITZER                           BIANCANIELLO         ANTONIO               NY         11949700         WILENTZ, GOLDMAN & SPITZER
BARTLETT             CHARLES               NY         10796602         WILENTZ, GOLDMAN & SPITZER                           BIANCANIELLO         GUISEPPINA            NY         11016101         WILENTZ, GOLDMAN & SPITZER
BARTOLOMA            THOMAS                NY         10353400         WILENTZ, GOLDMAN & SPITZER                           BIANCANIELLO         JERRY                 NY         10188595         WILENTZ, GOLDMAN & SPITZER
BASILE               ALBERT                NY         12269900         WILENTZ, GOLDMAN & SPITZER                           BIANCANIELLO         MARIA                 NY         11484200         WILENTZ, GOLDMAN & SPITZER
BASILE               CATHERINE             NY         12269900         WILENTZ, GOLDMAN & SPITZER                           BIANCANIELLO         RAFFAELE              NY         11484200         WILENTZ, GOLDMAN & SPITZER
BASS                 HENRY                 NY         10166800         WILENTZ, GOLDMAN & SPITZER                           BIANCANIELLO         VINCENZO              NY         10184202         WILENTZ, GOLDMAN & SPITZER
BATAILLE             WILLIAM J             NY         10083402         WILENTZ, GOLDMAN & SPITZER                           BIANCO               JOHN                  NY         10423103         WILENTZ, GOLDMAN & SPITZER
BATES                THOMAS                NY         10842101         WILENTZ, GOLDMAN & SPITZER                           BIANCO               ONOFRIO               NY         10415501         WILENTZ, GOLDMAN & SPITZER
BATISTA              ROBERT J              NY         10188595         WILENTZ, GOLDMAN & SPITZER                           BIANCO               RUTH S                NY         10415501         WILENTZ, GOLDMAN & SPITZER
BATSEDIS             SPIROS                NY         12450802         WILENTZ, GOLDMAN & SPITZER                           BIEDRZYCKI           ANN C                 NY         11137399         WILENTZ, GOLDMAN & SPITZER
BATSTONE             EMILY GRACE           NY         10166800         WILENTZ, GOLDMAN & SPITZER                           BIEDRZYCKI           JOHN L                NY         11137399         WILENTZ, GOLDMAN & SPITZER
BATSTONE             KENNETH               NY         10166800         WILENTZ, GOLDMAN & SPITZER                           BIENICWICZ           EDWARD J              NY         11640500         WILENTZ, GOLDMAN & SPITZER
BATTISTA             ANGELO                NY         10083402         WILENTZ, GOLDMAN & SPITZER                           BIGI                 DONALD                NY         10688805         WILENTZ, GOLDMAN & SPITZER
BATTISTA             FRANK                 NY         10184202         WILENTZ, GOLDMAN & SPITZER                           BIGI                 DONNA J               NY         12370201         WILENTZ, GOLDMAN & SPITZER
BAUMANN              ANDREW J              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           BIGLEY               JAMES                 NY         12556000         WILENTZ, GOLDMAN & SPITZER
BAUMANN              FELICIA               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           BIGLEY               ROSALIE               NY         12556000         WILENTZ, GOLDMAN & SPITZER
BAYER                PHILIP                NY         10987101         WILENTZ, GOLDMAN & SPITZER                           BILKO                CHERYL                NY         11332999         WILENTZ, GOLDMAN & SPITZER
BEACH                MAUREEN               NY         11155999         WILENTZ, GOLDMAN & SPITZER                           BINFORD              RANDOLPH              NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
BEACH                WALTER ROY            NY         11155999         WILENTZ, GOLDMAN & SPITZER                           BINI                 CRISTOFARO            NY         10415501         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1107
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 442 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BIRISH               MICHAEL J             NY         11476701         WILENTZ, GOLDMAN & SPITZER                           BRADWAY              THOMAS P              NY         11121201         WILENTZ, GOLDMAN & SPITZER
BIRISH               WILLIAM               NY         12370201         WILENTZ, GOLDMAN & SPITZER                           BRADY                EDWARD T              NY         12365600         WILENTZ, GOLDMAN & SPITZER
BIRMINGHAM           FLORENCE              NY         11603301         WILENTZ, GOLDMAN & SPITZER                           BRADY                PHYLLIS               NY         12365600         WILENTZ, GOLDMAN & SPITZER
BIRMINGHAM           MATTHEW P             NY         11603301         WILENTZ, GOLDMAN & SPITZER                           BRANCA               VITTORIO              NY         10543598         WILENTZ, GOLDMAN & SPITZER
BISMARCK             FREDERICK A           NY         11887300         WILENTZ, GOLDMAN & SPITZER                           BRANCONE             ANGELINA              NY         11476705         WILENTZ, GOLDMAN & SPITZER
BISQUERT             RALPH J               NY         10543598         WILENTZ, GOLDMAN & SPITZER                           BRANCONE             DOMINIC               NY         11476705         WILENTZ, GOLDMAN & SPITZER
BITETTO              BARBARA               NY         11565102         WILENTZ, GOLDMAN & SPITZER                           BRAND                GEORGE                NY         10469596         WILENTZ, GOLDMAN & SPITZER
BITETTO              FRANK W               NY         11565102         WILENTZ, GOLDMAN & SPITZER                           BRAND                JAMES                 NY         10627300         WILENTZ, GOLDMAN & SPITZER
BITTLE               ROBERT                NY         10627300         WILENTZ, GOLDMAN & SPITZER                           BRAND                JUNE                  NY         10469596         WILENTZ, GOLDMAN & SPITZER
BLACK                THERESA               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BRANDEFINE           PATRICK               NY         12089901         WILENTZ, GOLDMAN & SPITZER
BLACK                WILLIAM R             NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BRANZ                VITTORIO              NY         12083898         WILENTZ, GOLDMAN & SPITZER
BLACKMORE            DOUGLAS               NY         11332999         WILENTZ, GOLDMAN & SPITZER                           BREGOFF              BRUCE                 NY         11476701         WILENTZ, GOLDMAN & SPITZER
BLACKMORE            IRENE                 NY         11332999         WILENTZ, GOLDMAN & SPITZER                           BREINING             ALBERT                NY         11680001         WILENTZ, GOLDMAN & SPITZER
BLAKE                EDWARD                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BREINING             PAULINE               NY         11680001         WILENTZ, GOLDMAN & SPITZER
BLAKE                MAUREEN               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BREITKREUTZ          ROBERT                NY         11484200         WILENTZ, GOLDMAN & SPITZER
BLANTI               ANTOINETTE            NY         11446802         WILENTZ, GOLDMAN & SPITZER                           BRENNAN              JOHN                  NY         10588601         WILENTZ, GOLDMAN & SPITZER
BLANTI               JOHN A                NY         11446802         WILENTZ, GOLDMAN & SPITZER                           BRENNAN              JOHN M                NY         12509994         WILENTZ, GOLDMAN & SPITZER
BLEIVIK              LARS                  NY         11662201         WILENTZ, GOLDMAN & SPITZER                           BRENNAN              JOSEPH                NY         10627300         WILENTZ, GOLDMAN & SPITZER
BLUNDA               ALVINA                NY         11270699         WILENTZ, GOLDMAN & SPITZER                           BRENNAN              PATRICIA              NY         10520704         WILENTZ, GOLDMAN & SPITZER
BLUNDA               VITO                  NY         11270699         WILENTZ, GOLDMAN & SPITZER                           BRENNAN              THOMAS                NY         12431599         WILENTZ, GOLDMAN & SPITZER
BOCCHETTI            LOUIS A               NY         11887300         WILENTZ, GOLDMAN & SPITZER                           BRENSEKE             ANDREW                NY         10469596         WILENTZ, GOLDMAN & SPITZER
BOCCIPPIO            SALLY ANN             NY         10588501         WILENTZ, GOLDMAN & SPITZER                           BRENSEKE             GLORIA                NY         10469596         WILENTZ, GOLDMAN & SPITZER
BOEDEWIG             FREDERICK J           NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BRESCIA              ANTHONY               NY         10543598         WILENTZ, GOLDMAN & SPITZER
BOEDEWIG             MARY                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BRESCIA              NICHOLAS J            NY         11484200         WILENTZ, GOLDMAN & SPITZER
BOESE                JAMES                 NY         12364099         WILENTZ, GOLDMAN & SPITZER                           BRETANA              FREDERICK             NY         10311601         WILENTZ, GOLDMAN & SPITZER
BOGAN                THOMAS                NY         10271102         WILENTZ, GOLDMAN & SPITZER                           BRETZ                ARTHUR                NY         12509994         WILENTZ, GOLDMAN & SPITZER
BOGDANOWICZ          STANLEY               NY         12089901         WILENTZ, GOLDMAN & SPITZER                           BRIGGS               GORDON P              NY         11076300         WILENTZ, GOLDMAN & SPITZER
BOGOVIC              JOHN                  NY         10543598         WILENTZ, GOLDMAN & SPITZER                           BRIODY               JAMES                 NY         11029699         WILENTZ, GOLDMAN & SPITZER
BOHN                 CAROLE                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BRIODY               ROBERTA               NY         11029699         WILENTZ, GOLDMAN & SPITZER
BOHN                 ERIC H                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           BROADFIELD           DARLENE               NY         10766703         WILENTZ, GOLDMAN & SPITZER
BOHN                 ROBERT                NY         11957099         WILENTZ, GOLDMAN & SPITZER                           BROADFIELD           GLEN                  NY         10766703         WILENTZ, GOLDMAN & SPITZER
BOLIN                HARRIS C              NY         10166800         WILENTZ, GOLDMAN & SPITZER                           BRODOCK              BRONA                 NY         11640500         WILENTZ, GOLDMAN & SPITZER
BOLOGNA              SALVATORE             NY         12364099         WILENTZ, GOLDMAN & SPITZER                           BRODOCK              MARTIN                NY         11640500         WILENTZ, GOLDMAN & SPITZER
BONCOEUR             DONALD                NY         10665099         WILENTZ, GOLDMAN & SPITZER                           BRONK                ALFRED                NY         19008109         WILENTZ, GOLDMAN & SPITZER
BONCOEUR             VERDELL               NY         10665099         WILENTZ, GOLDMAN & SPITZER                           BROOKS               CHARLES E             NY         12215002         WILENTZ, GOLDMAN & SPITZER
BONELLI              RALPH                 NY         10415501         WILENTZ, GOLDMAN & SPITZER                           BROOKS               LORENZO               NY         11662301         WILENTZ, GOLDMAN & SPITZER
BONELLI              ROSE                  NY         10415501         WILENTZ, GOLDMAN & SPITZER                           BROTSCHOL            JOSEPH J              NY         12201099         WILENTZ, GOLDMAN & SPITZER
BONGIORNO            SALVATORE             NY         10472603         WILENTZ, GOLDMAN & SPITZER                           BROUGHT              VINCENT E JR          NY         10521299         WILENTZ, GOLDMAN & SPITZER
BONGIOVANNI          ANTONIO               NY         11911898         WILENTZ, GOLDMAN & SPITZER                           BROWN                BUFORD                NY         10726302         WILENTZ, GOLDMAN & SPITZER
BONGIOVANNI          PROVIDENCE            NY         11911898         WILENTZ, GOLDMAN & SPITZER                           BROWN                DONALD H              NJ         MIDL0656616AS    WILENTZ, GOLDMAN & SPITZER
BONHART              SAMMIE                NY         11662301         WILENTZ, GOLDMAN & SPITZER                           BROWN                FRED L                NY         11484200         WILENTZ, GOLDMAN & SPITZER
BONIFACE             FRANK                 NY         10415501         WILENTZ, GOLDMAN & SPITZER                           BROWN                JAMES                 NY         12950900         WILENTZ, GOLDMAN & SPITZER
BONISISIO            MICHAEL               NY         12715002         WILENTZ, GOLDMAN & SPITZER                           BROWN                JAMES A               NY         12249598         WILENTZ, GOLDMAN & SPITZER
BORRELLI             FRANCES               NY         10665099         WILENTZ, GOLDMAN & SPITZER                           BROWN                JAMES W               NY         11759499         WILENTZ, GOLDMAN & SPITZER
BORRELLI             JOHN D                NY         10665099         WILENTZ, GOLDMAN & SPITZER                           BROWN                JOHN J                NY         10166800         WILENTZ, GOLDMAN & SPITZER
BORRELLI             PATRICIA              NY         10752899         WILENTZ, GOLDMAN & SPITZER                           BROWN                SHIRLEY               NJ         MIDL0656616AS    WILENTZ, GOLDMAN & SPITZER
BORRELLI             RAFFAELE              NY         10752899         WILENTZ, GOLDMAN & SPITZER                           BROWN                THOMAS                NY         12276899         WILENTZ, GOLDMAN & SPITZER
BORRERO              RIGOBERTO             NY         12431599         WILENTZ, GOLDMAN & SPITZER                           BRUCCULERI           JOSEPH                NY         10188595         WILENTZ, GOLDMAN & SPITZER
BOSSOTTI             JOSEPH                NY         10415601         WILENTZ, GOLDMAN & SPITZER                           BRUDERMAN            HELEN                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
BOTT                 JOHN F                NY         11484200         WILENTZ, GOLDMAN & SPITZER                           BRUDERMAN            PHILIP A              NY         12509994         WILENTZ, GOLDMAN & SPITZER
BOTTARI              JOSEPH                NY         10173699         WILENTZ, GOLDMAN & SPITZER                           BRUDERMANN           GERALD J              NY         12231499         WILENTZ, GOLDMAN & SPITZER
BOTTARI              MARIAH                NY         10173699         WILENTZ, GOLDMAN & SPITZER                           BRUNDIDGE            LEROY                 NY         12715002         WILENTZ, GOLDMAN & SPITZER
BOUCHARD             WILLIAM F JR          NY         11076300         WILENTZ, GOLDMAN & SPITZER                           BRUNNER              PAUL                  NY         11897103         WILENTZ, GOLDMAN & SPITZER
BOURGADE             CHARLES J             NY         11484200         WILENTZ, GOLDMAN & SPITZER                           BRUNO                DANIEL T              NY         10627300         WILENTZ, GOLDMAN & SPITZER
BOURGADE             MARIUS                NY         10271102         WILENTZ, GOLDMAN & SPITZER                           BRUNO                JOHN                  NY         12201099         WILENTZ, GOLDMAN & SPITZER
BOWDEN               CHARLES               NY         11867000         WILENTZ, GOLDMAN & SPITZER                           BRUNQUELL            LOUISE                NY         11137399         WILENTZ, GOLDMAN & SPITZER
BOYCE                RONALD R SR           NY         12431599         WILENTZ, GOLDMAN & SPITZER                           BRUNQUELL            RICHARD K             NY         11137399         WILENTZ, GOLDMAN & SPITZER
BOYCE                SAMUEL G              NY         10166800         WILENTZ, GOLDMAN & SPITZER                           BRUSH                JOHN D                NY         11016101         WILENTZ, GOLDMAN & SPITZER
BOYLAN               PAUL                  NY         11230698         WILENTZ, GOLDMAN & SPITZER                           BRUZCESE             PATRICK               NY         12215200         WILENTZ, GOLDMAN & SPITZER
BOYLAN               RUTHANN               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           BUCCIERO             IRENE                 NY         10726302         WILENTZ, GOLDMAN & SPITZER
BOYLE                JOHN J JR             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           BUCCIERO             MICHAEL H             NY         10726302         WILENTZ, GOLDMAN & SPITZER
BOYLE                MARGARET              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           BUCCINO              JOHN                  NY         11998898         WILENTZ, GOLDMAN & SPITZER
BOZEK                MARTIN                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           BUCCINO              VIRGINIA              NY         11998898         WILENTZ, GOLDMAN & SPITZER
BRACK                ROBERT                NY         11220505         WILENTZ, GOLDMAN & SPITZER                           BUCHALA              FRANCIS J.            NJ         L06148085        WILENTZ, GOLDMAN & SPITZER
BRADDOCK             HOWARD                NY         12083898         WILENTZ, GOLDMAN & SPITZER                           BUCHMAN              ROBERT A              NY         11957299         WILENTZ, GOLDMAN & SPITZER
BRADLEY              JAMES J               NY         10415501         WILENTZ, GOLDMAN & SPITZER                           BUCKLEY              JAMES                 NY         10543598         WILENTZ, GOLDMAN & SPITZER
BRADLEY              JEANETTE              NY         11744198         WILENTZ, GOLDMAN & SPITZER                           BUCKLEY              JOHN F                NY         10752899         WILENTZ, GOLDMAN & SPITZER
BRADLEY              JOSEPH H              NY         11949700         WILENTZ, GOLDMAN & SPITZER                           BUCKLEY              MARIE                 NY         10752899         WILENTZ, GOLDMAN & SPITZER
BRADLEY              LEON                  NY         11744198         WILENTZ, GOLDMAN & SPITZER                           BUCKLEY              WILLIAM               NY         10543598         WILENTZ, GOLDMAN & SPITZER
BRADLEY              PETER E               NY         10627300         WILENTZ, GOLDMAN & SPITZER                           BUDA                 ANTHONY               NY         12509994         WILENTZ, GOLDMAN & SPITZER
BRADSHAW             JOHN                  NY         12215200         WILENTZ, GOLDMAN & SPITZER                           BUDA                 JEROME                NY         11056105         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1108
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 443 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BUDD                 DIANE                 NY         11016101         WILENTZ, GOLDMAN & SPITZER                           CANCRO               VINCENT R             NY         11484200         WILENTZ, GOLDMAN & SPITZER
BUDD                 ROBERT                NY         11016101         WILENTZ, GOLDMAN & SPITZER                           CANDELIERE           FRANK S III           NY         11998898         WILENTZ, GOLDMAN & SPITZER
BUEHLER              FRANK                 NY         11957099         WILENTZ, GOLDMAN & SPITZER                           CANDELIERE           PATRICIA              NY         11998898         WILENTZ, GOLDMAN & SPITZER
BULZONE              ROBERT J              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           CANDIANO             CARMELO               NY         12269900         WILENTZ, GOLDMAN & SPITZER
BUONO                MILDRED               NY         10243701         WILENTZ, GOLDMAN & SPITZER                           CANGEMIE             ANN                   NY         12089901         WILENTZ, GOLDMAN & SPITZER
BUONOCORE            RAYMOND               NY         10178907         WILENTZ, GOLDMAN & SPITZER                           CANGRO               JOSEPH                NY         10987101         WILENTZ, GOLDMAN & SPITZER
BURDEN               CLARENCE              NY         11331603         WILENTZ, GOLDMAN & SPITZER                           CANNON               KEVIN                 NY         10750501         WILENTZ, GOLDMAN & SPITZER
BURGESS              VERNON J              NY         11759499         WILENTZ, GOLDMAN & SPITZER                           CANTALUPO            ANTHONY               NY         10184202         WILENTZ, GOLDMAN & SPITZER
BURGIN               ALICE                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CANTALUPO            DELEZIA               NY         10184202         WILENTZ, GOLDMAN & SPITZER
BURGIN               ROY E                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CANTONE              ANN                   NY         1900402018       WILENTZ, GOLDMAN & SPITZER
BURGOS               HECTOR R              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           CANTONE              ANN                   NY         10178807         WILENTZ, GOLDMAN & SPITZER
BURKE                JERRY                 NY         11956401         WILENTZ, GOLDMAN & SPITZER                           CANTONE              THOMAS                NY         1900402018       WILENTZ, GOLDMAN & SPITZER
BURKHARDT            EDITH                 NY         12269900         WILENTZ, GOLDMAN & SPITZER                           CANTONE              THOMAS                NY         10178807         WILENTZ, GOLDMAN & SPITZER
BURKHARDT            ROBERT                NY         12269900         WILENTZ, GOLDMAN & SPITZER                           CANTY                JOHN J                NY         12509994         WILENTZ, GOLDMAN & SPITZER
BURNETT              BENJAMIN F            NY         11476701         WILENTZ, GOLDMAN & SPITZER                           CANTY                JOHN L                NY         12509994         WILENTZ, GOLDMAN & SPITZER
BURNETT              WILLIAM N             NY         11484200         WILENTZ, GOLDMAN & SPITZER                           CANZONA              FRANK                 NY         10783200         WILENTZ, GOLDMAN & SPITZER
BURNS                ELIZABETH             NY         11744198         WILENTZ, GOLDMAN & SPITZER                           CAPACCIO             MATTEO                NY         10415501         WILENTZ, GOLDMAN & SPITZER
BURNS                MARIE                 NY         10184202         WILENTZ, GOLDMAN & SPITZER                           CAPASSO              PASQUALE M            NY         11076300         WILENTZ, GOLDMAN & SPITZER
BURNS                THOMAS                NY         11744198         WILENTZ, GOLDMAN & SPITZER                           CAPIZZO              PATRICIA              NY         11956401         WILENTZ, GOLDMAN & SPITZER
BURNSIDE             MARY                  NY         11640500         WILENTZ, GOLDMAN & SPITZER                           CAPIZZO              STEPHEN P             NY         11956401         WILENTZ, GOLDMAN & SPITZER
BURNSIDE             WILLIAM L             NY         11640500         WILENTZ, GOLDMAN & SPITZER                           CAPOBIANCO           MICHAEL P             NY         12081700         WILENTZ, GOLDMAN & SPITZER
BUSH                 ROBERT                NY         11897103         WILENTZ, GOLDMAN & SPITZER                           CAPONE               RICHARD               NY         11270699         WILENTZ, GOLDMAN & SPITZER
BUSSANICH            OTTAVIO               NY         10415501         WILENTZ, GOLDMAN & SPITZER                           CAPORASA             JOSEPH                NJ         4368381          WILENTZ, GOLDMAN & SPITZER
BUSUTTIL             JAMES A               NY         11480304         WILENTZ, GOLDMAN & SPITZER                           CAPORASO             ANTHONY               NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
BUTCHER              ENRICO A              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           CAPOTORTO            DOMINICK              NY         10796602         WILENTZ, GOLDMAN & SPITZER
BUTERA               CARMINE S             NY         11522001         WILENTZ, GOLDMAN & SPITZER                           CAPPELLO             ANTHONY               NY         11957199         WILENTZ, GOLDMAN & SPITZER
BUTLER               ROBERT                NJ         L489600          WILENTZ, GOLDMAN & SPITZER                           CAPRA                GEORGE C JR           NY         11173499         WILENTZ, GOLDMAN & SPITZER
BUTTARO              GIUSEPPE              NY         12231499         WILENTZ, GOLDMAN & SPITZER                           CAPRA                JEANETTE              NY         11173499         WILENTZ, GOLDMAN & SPITZER
BYERS                JOHN                  NY         11331603         WILENTZ, GOLDMAN & SPITZER                           CAPRARA              FRANK P               NY         10588601         WILENTZ, GOLDMAN & SPITZER
BYNOE                GEORGE A              NY         12431599         WILENTZ, GOLDMAN & SPITZER                           CAPRARA              LORETTA               NY         10588601         WILENTZ, GOLDMAN & SPITZER
BYRD                 WILLIAM J JR          NY         10665099         WILENTZ, GOLDMAN & SPITZER                           CAPRARIO             SALVATORE             NY         10588601         WILENTZ, GOLDMAN & SPITZER
BYRNE                JEANNINE              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CAPSON               FRANK                 NY         10423103         WILENTZ, GOLDMAN & SPITZER
BYRNE                JULIA                 NY         10627300         WILENTZ, GOLDMAN & SPITZER                           CAPUTO               RUDOLPH R JR          NY         11778699         WILENTZ, GOLDMAN & SPITZER
BYRNE                KEVIN J               NY         10472603         WILENTZ, GOLDMAN & SPITZER                           CAPUTO               SILVIO                NY         11522001         WILENTZ, GOLDMAN & SPITZER
BYRNE                RICHARD J             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CARBERRY             ALICE                 NY         11911898         WILENTZ, GOLDMAN & SPITZER
CABAN                ELVIN A               NY         10415601         WILENTZ, GOLDMAN & SPITZER                           CARBERRY             JOHN J                NY         11911898         WILENTZ, GOLDMAN & SPITZER
CABLE                CHARLES M             NY         11726602         WILENTZ, GOLDMAN & SPITZER                           CARBONARA            MICHAEL               NY         12509994         WILENTZ, GOLDMAN & SPITZER
CABLE                LOUISA M              NY         11726602         WILENTZ, GOLDMAN & SPITZER                           CARBONE              DOMENICA              NY         10125000         WILENTZ, GOLDMAN & SPITZER
CACCIOPOLI           FRANK                 NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CARBONE              THOMAS                NY         10125000         WILENTZ, GOLDMAN & SPITZER
CACERES              FRANK                 NY         10184202         WILENTZ, GOLDMAN & SPITZER                           CARDINALI            LOUIS                 NY         11662201         WILENTZ, GOLDMAN & SPITZER
CADDLE               EDWARD                NY         12556000         WILENTZ, GOLDMAN & SPITZER                           CARDONE              MARGIE S.             NJ         L06068885        WILENTZ, GOLDMAN & SPITZER
CAGGIANO             RICHARD S             NY         10588601         WILENTZ, GOLDMAN & SPITZER                           CARIDAD              GARY                  NY         10521299         WILENTZ, GOLDMAN & SPITZER
CAGGIANO             ROSEANN               NY         10588601         WILENTZ, GOLDMAN & SPITZER                           CARLING              BARRY                 NJ         L06062385        WILENTZ, GOLDMAN & SPITZER
CAIANO               PAUL G                NY         11759499         WILENTZ, GOLDMAN & SPITZER                           CARLINO              JAMES                 NY         10521299         WILENTZ, GOLDMAN & SPITZER
CAIOZZO              ANGELO                NY         11522001         WILENTZ, GOLDMAN & SPITZER                           CARLINO              SALVATORE             NY         10369305         WILENTZ, GOLDMAN & SPITZER
CALDARONE            MARIA                 NY         11949700         WILENTZ, GOLDMAN & SPITZER                           CARLO                ROCCO                 NY         12365600         WILENTZ, GOLDMAN & SPITZER
CALDWELL             JUDITH                NY         11794106         WILENTZ, GOLDMAN & SPITZER                           CARLSON              ROBERT A              NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
CALDWELL             RICHARD J             NY         11794106         WILENTZ, GOLDMAN & SPITZER                           CARMITCHELL          WILBERT               NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
CALICCHIO            JAMES                 NY         10472603         WILENTZ, GOLDMAN & SPITZER                           CARNERVALE           SANTO                 NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
CALICCHIO            LUCILLE               NY         10472603         WILENTZ, GOLDMAN & SPITZER                           CARPENTER            STEPHEN B             NY         11759499         WILENTZ, GOLDMAN & SPITZER
CALIFANO             JOSEPH                NY         10188595         WILENTZ, GOLDMAN & SPITZER                           CARR                 JAMES                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
CALISI               ASSUNTA               NY         12269900         WILENTZ, GOLDMAN & SPITZER                           CARRASQUILLO         OSVALDO               NY         11029699         WILENTZ, GOLDMAN & SPITZER
CALISI               GIUSEPPE              NY         12269900         WILENTZ, GOLDMAN & SPITZER                           CARRICK              GARY                  NY         10543598         WILENTZ, GOLDMAN & SPITZER
CALL                 FRANCES               NY         12201099         WILENTZ, GOLDMAN & SPITZER                           CARRILES             AIDA                  NY         11998898         WILENTZ, GOLDMAN & SPITZER
CALL                 JOHN                  NY         12201099         WILENTZ, GOLDMAN & SPITZER                           CARRILES             PETER A               NY         11998898         WILENTZ, GOLDMAN & SPITZER
CALLAGHAN            MICHAEL B             NY         11522001         WILENTZ, GOLDMAN & SPITZER                           CARRIZZO             BENEDICT R            NY         11016101         WILENTZ, GOLDMAN & SPITZER
CALLAHAN             PETER                 NY         10269203         WILENTZ, GOLDMAN & SPITZER                           CARRUBBA             SYLVESTER             NY         12509994         WILENTZ, GOLDMAN & SPITZER
CALLANAN             JAMES J               NY         12081700         WILENTZ, GOLDMAN & SPITZER                           CARUSO               DONATO                NY         12509994         WILENTZ, GOLDMAN & SPITZER
CALLANAN             JANET                 NY         12081700         WILENTZ, GOLDMAN & SPITZER                           CARUSO               MICHAEL A             NY         10679501         WILENTZ, GOLDMAN & SPITZER
CALLANAN             MARY                  NY         10783200         WILENTZ, GOLDMAN & SPITZER                           CARUSO               ROBERT                NY         12509994         WILENTZ, GOLDMAN & SPITZER
CALLANAN             TIMOTHY               NY         10783200         WILENTZ, GOLDMAN & SPITZER                           CASAZZA              JOSEPH C              NY         10469596         WILENTZ, GOLDMAN & SPITZER
CALLEJO              CHARLES M             NY         10520704         WILENTZ, GOLDMAN & SPITZER                           CASAZZA              PATRICIA              NY         10469596         WILENTZ, GOLDMAN & SPITZER
CALLEO               JOHN A                NY         11957199         WILENTZ, GOLDMAN & SPITZER                           CASCIO               SAL F                 NY         12365600         WILENTZ, GOLDMAN & SPITZER
CALONE               JUDITH                NY         10913504         WILENTZ, GOLDMAN & SPITZER                           CASELLA              ANTHONY P             NY         11465799         WILENTZ, GOLDMAN & SPITZER
CALONE               LEONARD               NY         10913504         WILENTZ, GOLDMAN & SPITZER                           CASEY                FRANK C               NY         11957199         WILENTZ, GOLDMAN & SPITZER
CAMELI               MARTIN W              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CASEY                JOHN J                NY         11957199         WILENTZ, GOLDMAN & SPITZER
CAMERON              HARVEY M              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CASEY                KEVIN SR              NY         10896500         WILENTZ, GOLDMAN & SPITZER
CAMERON              JOSEPHINE             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CASEY-LYNCH          DENISE M              NY         10896500         WILENTZ, GOLDMAN & SPITZER
CAMILLERI            VICTOR P              NY         10521299         WILENTZ, GOLDMAN & SPITZER                           CASHETTA             NICHOLAS S            NY         12364099         WILENTZ, GOLDMAN & SPITZER
CAMISA               BRUNO                 NY         10188595         WILENTZ, GOLDMAN & SPITZER                           CASSANITI            SALVATORE             NY         11484200         WILENTZ, GOLDMAN & SPITZER
CANCEL               EUSTAQUIO             NY         11288203         WILENTZ, GOLDMAN & SPITZER                           CASSARINO            ANGELO                NY         11911898         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1109
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 444 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CASSARINO            ANNA                  NY         11911898         WILENTZ, GOLDMAN & SPITZER                           CIALONE              JOSEPH C              NY         10783200         WILENTZ, GOLDMAN & SPITZER
CASSIDY              JAMES F               NY         11957099         WILENTZ, GOLDMAN & SPITZER                           CIANCIO              ALFREDO               NY         10896500         WILENTZ, GOLDMAN & SPITZER
CASSIDY              JOSEPH P              NY         12276899         WILENTZ, GOLDMAN & SPITZER                           CIANCIOSI            ALBERT                NY         11492099         WILENTZ, GOLDMAN & SPITZER
CASSINO              ALADINA               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CIANIOSI             MARILYN               NY         11492099         WILENTZ, GOLDMAN & SPITZER
CASSINO              PATSY A               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CIARAMELLA           ANTHONY               NY         10472603         WILENTZ, GOLDMAN & SPITZER
CASTELLANO           ANTHONY               NY         10173699         WILENTZ, GOLDMAN & SPITZER                           CIESZYNSKI           THOMAS N              NY         11662301         WILENTZ, GOLDMAN & SPITZER
CASTELLANO           FRANK                 NY         10188595         WILENTZ, GOLDMAN & SPITZER                           CIMMINO              EMANUELA              NY         12365600         WILENTZ, GOLDMAN & SPITZER
CASTELLANO           MARGARET              NY         10173699         WILENTZ, GOLDMAN & SPITZER                           CIMMINO              FRANK                 NY         12365600         WILENTZ, GOLDMAN & SPITZER
CASTELLI             JOANNE                NY         11029699         WILENTZ, GOLDMAN & SPITZER                           CINCONCISO           CESARE                NY         12197003         WILENTZ, GOLDMAN & SPITZER
CASTELLI             NICHOLAS J            NY         10750501         WILENTZ, GOLDMAN & SPITZER                           CINO                 PERRY                 NY         11565002         WILENTZ, GOLDMAN & SPITZER
CASTELLI             SALVATORE O           NY         11029699         WILENTZ, GOLDMAN & SPITZER                           CINQUEMANI           JOSEPH                NY         11434305         WILENTZ, GOLDMAN & SPITZER
CASTELLI             VINCENT               NY         10783200         WILENTZ, GOLDMAN & SPITZER                           CINQUEMANI           LILLIAN               NY         11434305         WILENTZ, GOLDMAN & SPITZER
CASTORO              PASQUALE J            NY         10353400         WILENTZ, GOLDMAN & SPITZER                           CINQUEMANI           PAUL                  NY         11744198         WILENTZ, GOLDMAN & SPITZER
CATALOSI             IGNAZIO               NY         11735098         WILENTZ, GOLDMAN & SPITZER                           CINQUEMANI           SALVATORE             NY         11434305         WILENTZ, GOLDMAN & SPITZER
CATAPANO             SALVATORE             NY         11098502         WILENTZ, GOLDMAN & SPITZER                           CINQUEMANI           VIVIAN                NY         11744198         WILENTZ, GOLDMAN & SPITZER
CATE                 ROBERT F.             NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           CIOFFI               ANTHONY               NY         10188595         WILENTZ, GOLDMAN & SPITZER
CATUOGNO             GAETANO               NY         12365600         WILENTZ, GOLDMAN & SPITZER                           CIOFFOLETTI          LORRAINE              NY         11744198         WILENTZ, GOLDMAN & SPITZER
CAUGHEY              EDWARD A              NY         12431599         WILENTZ, GOLDMAN & SPITZER                           CIOFFOLETTI          MICHAEL               NY         11744198         WILENTZ, GOLDMAN & SPITZER
CAULFIELD            THOMAS J              NY         11688602         WILENTZ, GOLDMAN & SPITZER                           CIPOLETTI            ROBERT                NY         10472603         WILENTZ, GOLDMAN & SPITZER
CAVAGNA              ROBERT                NY         10543598         WILENTZ, GOLDMAN & SPITZER                           CIRBUS               CHARLES               NY         10987101         WILENTZ, GOLDMAN & SPITZER
CAVALLO              LAWRENCE              NY         19012209         WILENTZ, GOLDMAN & SPITZER                           CIRO                 VIVIAN                NY         11465799         WILENTZ, GOLDMAN & SPITZER
CAVARRETTA           RICHARD               NY         11434505         WILENTZ, GOLDMAN & SPITZER                           CITROLO              ROBERT                NY         10279101         WILENTZ, GOLDMAN & SPITZER
CAVELL               CHARLES M             NY         12081700         WILENTZ, GOLDMAN & SPITZER                           CIUFFO               FRANK                 NY         11662301         WILENTZ, GOLDMAN & SPITZER
CECERE               ANNA                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CLANCY               CORNELIUS             NY         11016101         WILENTZ, GOLDMAN & SPITZER
CECERE               LUIGI                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CLANCY               JOHN G                NY         10469596         WILENTZ, GOLDMAN & SPITZER
CEFARILLI            PETER F               NY         10083402         WILENTZ, GOLDMAN & SPITZER                           CLANCY               PATRICIA              NY         10469596         WILENTZ, GOLDMAN & SPITZER
CELSO                MARIA                 NY         10184202         WILENTZ, GOLDMAN & SPITZER                           CLANCY               VERA                  NY         11016101         WILENTZ, GOLDMAN & SPITZER
CENDALI              RICHARD               NY         12215200         WILENTZ, GOLDMAN & SPITZER                           CLARK                GEORGE                NJ         L10490           WILENTZ, GOLDMAN & SPITZER
CERBIE               DOUGLAS               NJ         MIDL595708AS     WILENTZ, GOLDMAN & SPITZER                           CLARK                JAMES B               NY         10543598         WILENTZ, GOLDMAN & SPITZER
CERCIELLO            JOHN                  NJ         L1188398         WILENTZ, GOLDMAN & SPITZER                           CLARK                JAMES R               NY         11759499         WILENTZ, GOLDMAN & SPITZER
CERCIELLO            MARIETTA              NJ         L1188398         WILENTZ, GOLDMAN & SPITZER                           CLARK                VERNETTER             NJ         L10490           WILENTZ, GOLDMAN & SPITZER
CERONE               ANTHONY F             NY         12089901         WILENTZ, GOLDMAN & SPITZER                           CLEGG                THOMAS J III          NY         12556100         WILENTZ, GOLDMAN & SPITZER
CERONE               PATRICIA              NY         12089901         WILENTZ, GOLDMAN & SPITZER                           CLEMENTE             DOMINICK              NY         12950900         WILENTZ, GOLDMAN & SPITZER
CERRIA               HELEN                 NY         10903398         WILENTZ, GOLDMAN & SPITZER                           CLEMENTE             FRANK                 NY         11949700         WILENTZ, GOLDMAN & SPITZER
CERRIA               PHILIP                NY         10903398         WILENTZ, GOLDMAN & SPITZER                           CLENDENIN            ARVILLA               NY         12335999         WILENTZ, GOLDMAN & SPITZER
CESARIO              JOSEPH                NY         10726302         WILENTZ, GOLDMAN & SPITZER                           CLENDENIN            PAUL JR               NY         12335999         WILENTZ, GOLDMAN & SPITZER
CESTARO              JOHN                  NY         11778699         WILENTZ, GOLDMAN & SPITZER                           CLIFFORD             KATHLEEN              NY         10469596         WILENTZ, GOLDMAN & SPITZER
CHANDLER             EDWARD H              NY         10311601         WILENTZ, GOLDMAN & SPITZER                           CLIFFORD             THOMAS                NY         10469596         WILENTZ, GOLDMAN & SPITZER
CHANDLER             PATRICIA              NY         10311601         WILENTZ, GOLDMAN & SPITZER                           CLOHESY              DAVID S               NY         10543598         WILENTZ, GOLDMAN & SPITZER
CHAPPELL             HAROLD A              NY         10166900         WILENTZ, GOLDMAN & SPITZER                           CLYMO                GARY A                NY         10472603         WILENTZ, GOLDMAN & SPITZER
CHARETTE             BERNARD               NY         11662301         WILENTZ, GOLDMAN & SPITZER                           CMAR                 JOSEPH J              NY         11076300         WILENTZ, GOLDMAN & SPITZER
CHASE                ROBERT L              NY         11662301         WILENTZ, GOLDMAN & SPITZER                           COBERG               CHARLES A             NY         10188595         WILENTZ, GOLDMAN & SPITZER
CHAVIS               TONEY E               NY         12431599         WILENTZ, GOLDMAN & SPITZER                           COCCHIARA            ANTHONY P             NY         10783200         WILENTZ, GOLDMAN & SPITZER
CHEDDAR              CHARLES               NJ         L668999          WILENTZ, GOLDMAN & SPITZER                           CODY                 DONALD W              NY         12556100         WILENTZ, GOLDMAN & SPITZER
CHEDDAR              JEAN                  NJ         L668999          WILENTZ, GOLDMAN & SPITZER                           CODY                 MARY                  NY         12556100         WILENTZ, GOLDMAN & SPITZER
CHEVOLA              ELIZABETH             NY         11016101         WILENTZ, GOLDMAN & SPITZER                           COFFEY               JOHN P                NY         10311601         WILENTZ, GOLDMAN & SPITZER
CHEVOLA              JOSEPH                NY         11016101         WILENTZ, GOLDMAN & SPITZER                           COGAVIN              JAMES M               NY         12314298         WILENTZ, GOLDMAN & SPITZER
CHIAPPA              EDWARD J              NY         10311601         WILENTZ, GOLDMAN & SPITZER                           COGHLAN              EDWIN J               NY         12509994         WILENTZ, GOLDMAN & SPITZER
CHIAPPONE            MARIE                 NY         10243701         WILENTZ, GOLDMAN & SPITZER                           COLABELLA            THOMAS                NY         11680001         WILENTZ, GOLDMAN & SPITZER
CHIAPPONE            PHILIP T              NY         10243701         WILENTZ, GOLDMAN & SPITZER                           COLAMONICO           JOSEPH                NY         10842101         WILENTZ, GOLDMAN & SPITZER
CHIARAVALLE          ANTHONY               NY         12083898         WILENTZ, GOLDMAN & SPITZER                           COLANDREA            EVA                   NY         10472603         WILENTZ, GOLDMAN & SPITZER
CHILTON              HARRY C               NY         11640500         WILENTZ, GOLDMAN & SPITZER                           COLANDREA            JOHN A                NY         10472603         WILENTZ, GOLDMAN & SPITZER
CHIMIENTI            JOSEPH S              NY         10353500         WILENTZ, GOLDMAN & SPITZER                           COLANDREO            FRANK A               NY         11733101         WILENTZ, GOLDMAN & SPITZER
CHINAL               LOUIS E               NY         11778699         WILENTZ, GOLDMAN & SPITZER                           COLAVITO             JACK                  NY         10250500         WILENTZ, GOLDMAN & SPITZER
CHISM                EDWARD F              NY         12231499         WILENTZ, GOLDMAN & SPITZER                           COLELLA              VITO                  NY         10415601         WILENTZ, GOLDMAN & SPITZER
CHISOLM              CECIL                 NY         12509994         WILENTZ, GOLDMAN & SPITZER                           COLEMAN              JAMES G               NY         12431599         WILENTZ, GOLDMAN & SPITZER
CHOIDA               FRANK A               NY         11662301         WILENTZ, GOLDMAN & SPITZER                           COLEMAN              MICHAEL               NY         1799687          WILENTZ, GOLDMAN & SPITZER
CHRISTENSEN          PAUL                  NY         11957199         WILENTZ, GOLDMAN & SPITZER                           COLLIER              JAMES                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
CHRISTIANO           JERILYN               NY         11029699         WILENTZ, GOLDMAN & SPITZER                           COLLINS              CHRISTOPHER           NY         11566305         WILENTZ, GOLDMAN & SPITZER
CHRISTIANO           PETER                 NY         11029699         WILENTZ, GOLDMAN & SPITZER                           COLLINS              EUGENE                NY         11061501         WILENTZ, GOLDMAN & SPITZER
CHRISTMAS            LAWRENCE              NY         12431599         WILENTZ, GOLDMAN & SPITZER                           COLLINS              GRACIJELA             NY         11230698         WILENTZ, GOLDMAN & SPITZER
CHU                  HENRY                 NY         11649800         WILENTZ, GOLDMAN & SPITZER                           COLLINS              JANE                  NY         19009908         WILENTZ, GOLDMAN & SPITZER
CHU                  TEW NOON              NY         11649800         WILENTZ, GOLDMAN & SPITZER                           COLLINS              PAUL                  NY         19009908         WILENTZ, GOLDMAN & SPITZER
CHURCHILL            CHRISTIAN J           NY         11484200         WILENTZ, GOLDMAN & SPITZER                           COLLINS              PETER                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
CHURCHWELL           CHARLES C             NY         10415501         WILENTZ, GOLDMAN & SPITZER                           COLONNA              FRANK                 NY         11028502         WILENTZ, GOLDMAN & SPITZER
CIABATTARI           JOHN F                NY         10992804         WILENTZ, GOLDMAN & SPITZER                           COLONNA              VITO                  NY         11028502         WILENTZ, GOLDMAN & SPITZER
CIABATTARI           JOHN F                NY         10992804         WILENTZ, GOLDMAN & SPITZER                           COLUCCIO             MARIO                 NY         11867000         WILENTZ, GOLDMAN & SPITZER
CIABATTARI           JOHN F                NY         10993504         WILENTZ, GOLDMAN & SPITZER                           COLUMBI              JOSEPH J              NY         11680001         WILENTZ, GOLDMAN & SPITZER
CIACCIO              BARBARA               NY         11029699         WILENTZ, GOLDMAN & SPITZER                           COLUMBO              EDITH                 NY         10472603         WILENTZ, GOLDMAN & SPITZER
CIACCIO              PHILIP S              NY         11029699         WILENTZ, GOLDMAN & SPITZER                           COLUMBO              JOHN                  NY         10472603         WILENTZ, GOLDMAN & SPITZER
CIALONE              DONATO J              NY         11662301         WILENTZ, GOLDMAN & SPITZER                           COLUNI               MARIA                 NY         11998898         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1110
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 445 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

COLUNI               MICHAEL               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CRAPPSE              STEPHEN               NY         12215200         WILENTZ, GOLDMAN & SPITZER
COMBS                RONALD                NY         10166800         WILENTZ, GOLDMAN & SPITZER                           CRAVEN               DIANE                 NY         11880701         WILENTZ, GOLDMAN & SPITZER
COMER                CHARLES               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           CRAVEN               THOMAS                NY         11880701         WILENTZ, GOLDMAN & SPITZER
CONBOY               BRENDAN               NY         11484200         WILENTZ, GOLDMAN & SPITZER                           CRENSHAW             EUGENE                NY         10469596         WILENTZ, GOLDMAN & SPITZER
CONBOY               GEORGE J              NY         11759499         WILENTZ, GOLDMAN & SPITZER                           CRENSHAW             TONI                  NY         10469596         WILENTZ, GOLDMAN & SPITZER
CONDON               EDWARD                NY         11778699         WILENTZ, GOLDMAN & SPITZER                           CRESSY               JOHN G JR             NY         10353500         WILENTZ, GOLDMAN & SPITZER
CONFORTI             EMIL                  NY         10188595         WILENTZ, GOLDMAN & SPITZER                           CRISCITELLI          ANN                   NY         10415601         WILENTZ, GOLDMAN & SPITZER
CONFORTI             JOHN                  NY         11662301         WILENTZ, GOLDMAN & SPITZER                           CRISPI               RICHARD J             NY         12509994         WILENTZ, GOLDMAN & SPITZER
CONIGLIARO           JOSEPH                NY         11867000         WILENTZ, GOLDMAN & SPITZER                           CRISPINO             BENITO                NY         10665099         WILENTZ, GOLDMAN & SPITZER
CONIGLIARO           LUCILLE               NY         11867000         WILENTZ, GOLDMAN & SPITZER                           CRISTALDI            FRANK                 NY         10184202         WILENTZ, GOLDMAN & SPITZER
CONKLIN              BRADLEY P             NY         12370201         WILENTZ, GOLDMAN & SPITZER                           CROCE                CATHERINE             NY         12089901         WILENTZ, GOLDMAN & SPITZER
CONKLIN              EDWARD J              NY         11476701         WILENTZ, GOLDMAN & SPITZER                           CROCE                WILLIAM L             NY         12089901         WILENTZ, GOLDMAN & SPITZER
CONKLIN              ELENA R               NY         11476701         WILENTZ, GOLDMAN & SPITZER                           CRONIN               MARYLOUISE            NY         11230698         WILENTZ, GOLDMAN & SPITZER
CONKLIN              GORDON                NY         12335999         WILENTZ, GOLDMAN & SPITZER                           CRONIN               MATTHEW               NY         11230698         WILENTZ, GOLDMAN & SPITZER
CONKLIN              KATHERINE             NY         12335999         WILENTZ, GOLDMAN & SPITZER                           CRONIN               WILLIAM               NY         11480204         WILENTZ, GOLDMAN & SPITZER
CONKLIN              ROBERT J              NY         11476701         WILENTZ, GOLDMAN & SPITZER                           CRONIN               WILLIAM J             NY         12083898         WILENTZ, GOLDMAN & SPITZER
CONNELL              DENNIS                NY         11759499         WILENTZ, GOLDMAN & SPITZER                           CROUGHAN             ARTHUR                NY         10987101         WILENTZ, GOLDMAN & SPITZER
CONNOLLY             EUGENE                NY         12197003         WILENTZ, GOLDMAN & SPITZER                           CROUGHAN             MARGARET M            NY         10987101         WILENTZ, GOLDMAN & SPITZER
CONNOLLY             LEONA                 NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CROWDER              GERALDINE             NY         19028909         WILENTZ, GOLDMAN & SPITZER
CONNOLLY             RICHARD J             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           CROWDER              HARVEY                NY         19028909         WILENTZ, GOLDMAN & SPITZER
CONNOR               THERESA               NY         12365600         WILENTZ, GOLDMAN & SPITZER                           CROWLEY              PATRICK J             NY         11522001         WILENTZ, GOLDMAN & SPITZER
CONNORS              FRANCIS R             NY         11137399         WILENTZ, GOLDMAN & SPITZER                           CROWLEY              WALTER J              NY         10896500         WILENTZ, GOLDMAN & SPITZER
CONNORS              JOSEPHINE             NY         11137399         WILENTZ, GOLDMAN & SPITZER                           CRUZ                 CHRISTOBAZ            NY         11565102         WILENTZ, GOLDMAN & SPITZER
CONRAD               JOSEPH R              NY         11565102         WILENTZ, GOLDMAN & SPITZER                           CRUZ                 NELSON J              NY         12276899         WILENTZ, GOLDMAN & SPITZER
CONSENZA             RALPH                 NY         11565102         WILENTZ, GOLDMAN & SPITZER                           CUMMINGS             JOHN JR               NY         11076300         WILENTZ, GOLDMAN & SPITZER
CONSIGLIO            JOHN                  NY         10796602         WILENTZ, GOLDMAN & SPITZER                           CUNNINGHAM           GERALD                NY         10752899         WILENTZ, GOLDMAN & SPITZER
CONSOLO              JENNIE                NY         11662201         WILENTZ, GOLDMAN & SPITZER                           CUNNINGHAM           PATRICIA              NY         10752899         WILENTZ, GOLDMAN & SPITZER
CONTESA              CLEMENT               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CUNNINGHAM           THOMAS                NY         10188595         WILENTZ, GOLDMAN & SPITZER
CONTESSA             RITA                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CURCI                ANNE                  NY         11270699         WILENTZ, GOLDMAN & SPITZER
CONTRI               JOSEPH                NY         12222400         WILENTZ, GOLDMAN & SPITZER                           CURCI                PAUL J                NY         11270699         WILENTZ, GOLDMAN & SPITZER
CONVEGRA             ROBERT                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           CURRAN               PATRICIA              NY         10752899         WILENTZ, GOLDMAN & SPITZER
CONWAY               LAWRENCE              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           CURRAN               WILLIAM J             NY         10752899         WILENTZ, GOLDMAN & SPITZER
CONWAY               THOMAS P              NY         11076300         WILENTZ, GOLDMAN & SPITZER                           CURTIN               WILLIAM               NY         11331603         WILENTZ, GOLDMAN & SPITZER
COOK                 EVERETT R             NY         11446802         WILENTZ, GOLDMAN & SPITZER                           CURTIS               HARRY E               NY         11476701         WILENTZ, GOLDMAN & SPITZER
COOKE                THOMAS F              NY         10521299         WILENTZ, GOLDMAN & SPITZER                           CUSUMANO             PATRICIA              NY         11565002         WILENTZ, GOLDMAN & SPITZER
COOPER               FRANK W               NY         11733101         WILENTZ, GOLDMAN & SPITZER                           CUSUMANO             SALVATORE             NY         11565002         WILENTZ, GOLDMAN & SPITZER
COOPER               GLENDA L              NY         10188595         WILENTZ, GOLDMAN & SPITZER                           CVELIC               ANTON                 NY         11649700         WILENTZ, GOLDMAN & SPITZER
COOPER               JOHN                  NJ         L0086090         WILENTZ, GOLDMAN & SPITZER                           CVITAN               KRSTE                 NY         11733101         WILENTZ, GOLDMAN & SPITZER
COOPER               JOHN                  NJ         L06068885        WILENTZ, GOLDMAN & SPITZER                           CVITAN               MILENA                NY         11733101         WILENTZ, GOLDMAN & SPITZER
COOPER               ROBERT                NY         11867000         WILENTZ, GOLDMAN & SPITZER                           CZELADYN             ELLEN                 NY         11098502         WILENTZ, GOLDMAN & SPITZER
COOPER               STELLA                NJ         L0086090         WILENTZ, GOLDMAN & SPITZER                           CZELADYN             JOHN                  NY         11098502         WILENTZ, GOLDMAN & SPITZER
COOPER               STELLA                NJ         L06068885        WILENTZ, GOLDMAN & SPITZER                           DACUNTO              ANDREW                NY         12215200         WILENTZ, GOLDMAN & SPITZER
COPPOTELLI           ANGELO                NY         10726302         WILENTZ, GOLDMAN & SPITZER                           DAGGETT              ALBERT E              NY         11662301         WILENTZ, GOLDMAN & SPITZER
CORCORAN             GEORGE                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           DAGISTINO            ALAN W                NY         11476701         WILENTZ, GOLDMAN & SPITZER
CORCORAN             LORRAINE              NY         11911898         WILENTZ, GOLDMAN & SPITZER                           DAGOSTINO            NUNZIO J              NY         10665099         WILENTZ, GOLDMAN & SPITZER
CORCORAN             NANCY                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           D'AGOSTINO           FRANK                 NY         12365600         WILENTZ, GOLDMAN & SPITZER
CORCORAN             RICHARD               NY         11911898         WILENTZ, GOLDMAN & SPITZER                           D'AGOSTINO           GEORGE                NY         11735098         WILENTZ, GOLDMAN & SPITZER
CORDES               ROBERT H              NY         12249598         WILENTZ, GOLDMAN & SPITZER                           DAGOSTION            ROSE                  NY         10665099         WILENTZ, GOLDMAN & SPITZER
CORLEY               JOHN J                NY         11331603         WILENTZ, GOLDMAN & SPITZER                           DAILEY               WILLIAM               NY         11662301         WILENTZ, GOLDMAN & SPITZER
CORNMAN              ALLEN F               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           DAINO                JOSEPH                NY         1902282012       WILENTZ, GOLDMAN & SPITZER
CORRADO              THOMAS C              NY         10543598         WILENTZ, GOLDMAN & SPITZER                           DAINO                SUSAN                 NY         1902282012       WILENTZ, GOLDMAN & SPITZER
CORRIGAN             MARY P                NY         10543598         WILENTZ, GOLDMAN & SPITZER                           DALESSANDRO          ANTOINETTE            NY         11492099         WILENTZ, GOLDMAN & SPITZER
CORUJO               PAUL JR               NY         11887300         WILENTZ, GOLDMAN & SPITZER                           DALESSANDRO          FRANK                 NY         11492099         WILENTZ, GOLDMAN & SPITZER
COSTA                JOSEPH                NY         11331603         WILENTZ, GOLDMAN & SPITZER                           D'ALESSANDRO         JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER
COSTA                RICHARD G             NY         12070402         WILENTZ, GOLDMAN & SPITZER                           D'ALLESANDRO         ANTOINETTE            NJ         W00075689        WILENTZ, GOLDMAN & SPITZER
COSTELLO             ROBERT                NY         10269203         WILENTZ, GOLDMAN & SPITZER                           D'ALLESANDRO         FRANK JR              NJ         W00075689        WILENTZ, GOLDMAN & SPITZER
COSTIGLIOLA          LUIGI                 NY         10101706         WILENTZ, GOLDMAN & SPITZER                           DALPINO              ALFRED L              NY         10543598         WILENTZ, GOLDMAN & SPITZER
COTRONE              STEVE                 NY         11076300         WILENTZ, GOLDMAN & SPITZER                           DALY                 JAMES M               NY         11957299         WILENTZ, GOLDMAN & SPITZER
COUCH                WILLIAM N             NY         11565102         WILENTZ, GOLDMAN & SPITZER                           DALY                 JOHN D                NY         12249598         WILENTZ, GOLDMAN & SPITZER
COUGHLIN             WILLIAM               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           DALY                 WILLIAM T             NY         12509994         WILENTZ, GOLDMAN & SPITZER
COX                  ALTEN R               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           DAMATO               RALPH                 NY         12950900         WILENTZ, GOLDMAN & SPITZER
COX                  HUGH D                NY         1596682014       WILENTZ, GOLDMAN & SPITZER                           D'AMATO              JOHN                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
COX                  HUGH D                NY         11662201         WILENTZ, GOLDMAN & SPITZER                           D'AMBRA              LEONARD               NY         11957099         WILENTZ, GOLDMAN & SPITZER
COX                  LONNIE B              NY         11016101         WILENTZ, GOLDMAN & SPITZER                           DAMIANO              ARLENE                NY         10166800         WILENTZ, GOLDMAN & SPITZER
COX                  MARY                  NY         11137399         WILENTZ, GOLDMAN & SPITZER                           DAMIANO              LAWRENCE              NY         10166800         WILENTZ, GOLDMAN & SPITZER
COX BRYANT           VIRGINIA              NY         1596682014       WILENTZ, GOLDMAN & SPITZER                           D'AMICO              ANDREW                NY         11897103         WILENTZ, GOLDMAN & SPITZER
COX BRYANT           VIRGINIA              NY         11662201         WILENTZ, GOLDMAN & SPITZER                           DANAY                AUSTIN                NY         1799687          WILENTZ, GOLDMAN & SPITZER
CRADLE               OLIVER                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           D'ANDREA             ANTHONY P             NY         10083402         WILENTZ, GOLDMAN & SPITZER
CRAFA                CATHERINE             NY         10752899         WILENTZ, GOLDMAN & SPITZER                           DANDRIGE             YOLANDA               NY         19044710         WILENTZ, GOLDMAN & SPITZER
CRAFA                THOMAS                NY         10752899         WILENTZ, GOLDMAN & SPITZER                           DANELLIS             GEORGE                NY         10896500         WILENTZ, GOLDMAN & SPITZER
CRAPPSE              DOROTHY               NY         12215200         WILENTZ, GOLDMAN & SPITZER                           D'ANGELO             ALFREDO               NY         10521299         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1111
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 446 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

D'ANGELO             ANTONIO               NY         10520704         WILENTZ, GOLDMAN & SPITZER                           DENATALE             FRANK                 NY         11259005         WILENTZ, GOLDMAN & SPITZER
D'ANGELO             CAROL                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           DENICHILO            MICHELE               NY         11522001         WILENTZ, GOLDMAN & SPITZER
D'ANGELO             GIUSEPPE N            NY         10311601         WILENTZ, GOLDMAN & SPITZER                           DENORA               JOSEPH J              NY         11662301         WILENTZ, GOLDMAN & SPITZER
D'ANGELO             NICOLA                NY         12249598         WILENTZ, GOLDMAN & SPITZER                           DENTE                RAFFAELE              NY         12509994         WILENTZ, GOLDMAN & SPITZER
D'ANGELO             NICOLA                NY         12365600         WILENTZ, GOLDMAN & SPITZER                           DEPALMA              LAWRENCE E            NY         10473302         WILENTZ, GOLDMAN & SPITZER
D'ANGELO             NICOLO                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           DEPIETRO             BENEDICT              NY         12314298         WILENTZ, GOLDMAN & SPITZER
DANIEL               CHARLES               NY         10473302         WILENTZ, GOLDMAN & SPITZER                           DEPIETRO             JOSEPH                NY         11565102         WILENTZ, GOLDMAN & SPITZER
DANIEL               JOYCE                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           DEROSA               JOHN D                NY         11956401         WILENTZ, GOLDMAN & SPITZER
DANIEL               RALSTON               NY         11484200         WILENTZ, GOLDMAN & SPITZER                           DERRICK              ROBERT S              NY         12249598         WILENTZ, GOLDMAN & SPITZER
DANIELSON            DOROTHY               NY         12201099         WILENTZ, GOLDMAN & SPITZER                           DESANTI              DENNIS R              NY         12231499         WILENTZ, GOLDMAN & SPITZER
DANIELSON            JOHN                  NY         12201099         WILENTZ, GOLDMAN & SPITZER                           DESANTIAGO           ELOY                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
D'AVANZO             ANTONIO               NY         11957199         WILENTZ, GOLDMAN & SPITZER                           DESIDERATO           JAMES                 NY         10543598         WILENTZ, GOLDMAN & SPITZER
DAVENPORT            ROBERT                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           DESIMONE             GAYLE J               NY         10833401         WILENTZ, GOLDMAN & SPITZER
DAVID                EUGENIO               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           DESTEFANIS           RICHARD J             NY         12509994         WILENTZ, GOLDMAN & SPITZER
DAVID                SOLANGE               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           DESTHERS             VINCENT J             NY         10796602         WILENTZ, GOLDMAN & SPITZER
DAVIDSON             WILLIE J              NY         10521299         WILENTZ, GOLDMAN & SPITZER                           DEUTSCH              JOHN                  NY         10353400         WILENTZ, GOLDMAN & SPITZER
DAVIS                BARBARA               NY         12715002         WILENTZ, GOLDMAN & SPITZER                           DEVITA               VINCENT T             NY         12249598         WILENTZ, GOLDMAN & SPITZER
DAVIS                BARBARA               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           DEVITO               ANGELA                NY         11028502         WILENTZ, GOLDMAN & SPITZER
DAVIS                FOY                   NY         10520704         WILENTZ, GOLDMAN & SPITZER                           DEVITO               JOSEPH                NY         11028502         WILENTZ, GOLDMAN & SPITZER
DAVIS                HELEN                 NY         10992804         WILENTZ, GOLDMAN & SPITZER                           DEVIVO               JOSEPH V              NY         12365600         WILENTZ, GOLDMAN & SPITZER
DAVIS                JAMES A               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           DEVIVO               PAOLO                 NY         10415601         WILENTZ, GOLDMAN & SPITZER
DAVIS                LINSVILLE             NY         11331603         WILENTZ, GOLDMAN & SPITZER                           DEVLIN               DENNIS D              NY         12231499         WILENTZ, GOLDMAN & SPITZER
DAVIS                RANDALL               NY         10992804         WILENTZ, GOLDMAN & SPITZER                           DEWATERS             JAMES G               NY         11735098         WILENTZ, GOLDMAN & SPITZER
DAVIS                RICHARD O             NY         12215300         WILENTZ, GOLDMAN & SPITZER                           DEWEY                DENNIS E              NY         11733101         WILENTZ, GOLDMAN & SPITZER
DAVIS                ROOSEVELT             NY         12715002         WILENTZ, GOLDMAN & SPITZER                           DEY                  ARTHUR                NY         10796602         WILENTZ, GOLDMAN & SPITZER
DAVIS                RUSSELL               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           DIBARI               VINCENT               NY         12450802         WILENTZ, GOLDMAN & SPITZER
DAY                  HAROLD M              NY         11061501         WILENTZ, GOLDMAN & SPITZER                           DIBENEDETTO          DAVID                 NY         11465799         WILENTZ, GOLDMAN & SPITZER
DEAN                 THOMAS F              NY         11522001         WILENTZ, GOLDMAN & SPITZER                           DIBENEDETTO          JOSEPH                NY         11733101         WILENTZ, GOLDMAN & SPITZER
DEBRINO              LOUIS                 NY         11744198         WILENTZ, GOLDMAN & SPITZER                           DIBIASE              ANGELO                NY         12269900         WILENTZ, GOLDMAN & SPITZER
DEBRINO              MARGARET              NY         11744198         WILENTZ, GOLDMAN & SPITZER                           DICK                 BERESFORD C           NY         10188595         WILENTZ, GOLDMAN & SPITZER
DECAMPO              JOSEPH                NY         11603301         WILENTZ, GOLDMAN & SPITZER                           DICKOVER             WILLIAM H             NY         11076300         WILENTZ, GOLDMAN & SPITZER
DECHIARA             LOUIS                 NY         10353500         WILENTZ, GOLDMAN & SPITZER                           DICRISTOFORO         CESIDIO               NY         12364099         WILENTZ, GOLDMAN & SPITZER
DECRESCENZO          AUGUSTINE             NY         10801305         WILENTZ, GOLDMAN & SPITZER                           DIDOMENICO           RALPH                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
DECRESCENZO          MARYANN               NY         10801305         WILENTZ, GOLDMAN & SPITZER                           DIETRICH             SUZANNE               NY         10665099         WILENTZ, GOLDMAN & SPITZER
DEDDO                KATHLEEN              NY         10752899         WILENTZ, GOLDMAN & SPITZER                           DIETRICH             WILLIAM               NY         10665099         WILENTZ, GOLDMAN & SPITZER
DEDDO                MICHAEL               NY         10752899         WILENTZ, GOLDMAN & SPITZER                           DIGAUDIO             FRANK V               NY         12509994         WILENTZ, GOLDMAN & SPITZER
DEFEO                UGO L                 NY         12231499         WILENTZ, GOLDMAN & SPITZER                           DIGIAIMO             ANNE                  NY         11098502         WILENTZ, GOLDMAN & SPITZER
DEFILIPPIS           ANGELO                NY         10543598         WILENTZ, GOLDMAN & SPITZER                           DIGIAIMO             FRANK                 NY         11098502         WILENTZ, GOLDMAN & SPITZER
DEFILIPPO            LORRAINE              NY         11867000         WILENTZ, GOLDMAN & SPITZER                           DIGIOVANNI           BERNARD               NY         11957199         WILENTZ, GOLDMAN & SPITZER
DEFONDE              SAMUEL J              NY         11076300         WILENTZ, GOLDMAN & SPITZER                           DIGIOVANNI           PHILIP                NY         12231499         WILENTZ, GOLDMAN & SPITZER
DEGENNARO            ROBERT                NY         12715002         WILENTZ, GOLDMAN & SPITZER                           DIGRAZIA             LOUIS                 NY         11662201         WILENTZ, GOLDMAN & SPITZER
DEGREGORIA           DOMINICK A JR         NY         10166900         WILENTZ, GOLDMAN & SPITZER                           DIGREGORIO           JAMES                 NY         11778699         WILENTZ, GOLDMAN & SPITZER
DEGUARDIA            DON                   NY         12197003         WILENTZ, GOLDMAN & SPITZER                           DIJANIC              NEVIO                 NY         10783200         WILENTZ, GOLDMAN & SPITZER
DEINNOCENTIS         ANTHONY               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           DILORENZO            GASPARE               NY         11688602         WILENTZ, GOLDMAN & SPITZER
DEL LA NOCEDA        GEORGE GARCIA         NY         11492099         WILENTZ, GOLDMAN & SPITZER                           DIMEO                CASIMO                NY         12950900         WILENTZ, GOLDMAN & SPITZER
DEL LA NOCEDA        MAUREEN               NY         11492099         WILENTZ, GOLDMAN & SPITZER                           DIMEO                THERESA               NY         12950900         WILENTZ, GOLDMAN & SPITZER
DEL ROSSO            CATHY                 NJ         L272196          WILENTZ, GOLDMAN & SPITZER                           DINARO               JOSEPH A              NY         11029699         WILENTZ, GOLDMAN & SPITZER
DEL ROSSO            JOHN                  NJ         L272196          WILENTZ, GOLDMAN & SPITZER                           DINARO               JOSEPHINE             NY         11029699         WILENTZ, GOLDMAN & SPITZER
DELEO                PHILIP                NY         10543598         WILENTZ, GOLDMAN & SPITZER                           DINOI                ELIZABETH             NY         11733101         WILENTZ, GOLDMAN & SPITZER
DELGRECO             TONY                  NY         10188595         WILENTZ, GOLDMAN & SPITZER                           DINOI                SALVATORE             NY         11733101         WILENTZ, GOLDMAN & SPITZER
DELIA                CHARLES               NY         10269203         WILENTZ, GOLDMAN & SPITZER                           DINSMORE             CHARLES               NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
DELIBERTO            NORMAN                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           DIPAOLO              ANTHONY E             NY         10353400         WILENTZ, GOLDMAN & SPITZER
DELIBERTON           NORMAN                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           DIPASQUALE           EDMOND                NY         12335999         WILENTZ, GOLDMAN & SPITZER
DELISO               PETER                 NY         11565102         WILENTZ, GOLDMAN & SPITZER                           DIPASQUALE           SAM                   NY         11654806         WILENTZ, GOLDMAN & SPITZER
DELLA POLLA          GERARDO               NY         10188595         WILENTZ, GOLDMAN & SPITZER                           DIPASQUALE           SARA                  NY         12335999         WILENTZ, GOLDMAN & SPITZER
DELLA ROCA           JOAN                  NY         11230698         WILENTZ, GOLDMAN & SPITZER                           DIPASQUALE           THERESA               NY         11654806         WILENTZ, GOLDMAN & SPITZER
DELLA ROCA           JOHN                  NY         11230698         WILENTZ, GOLDMAN & SPITZER                           DIPERI               JOSEPH                NY         12556000         WILENTZ, GOLDMAN & SPITZER
DELLI PIZZI          NICHOLAS              NY         10188595         WILENTZ, GOLDMAN & SPITZER                           DIPIETRO             MATT                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
DELLORUSSO           DOMINICK              NY         11446802         WILENTZ, GOLDMAN & SPITZER                           DIRICO               FILIPPO               NY         11733101         WILENTZ, GOLDMAN & SPITZER
DELOUKER             LOUIS                 NY         11331603         WILENTZ, GOLDMAN & SPITZER                           DIRICO               VINCENZO              NY         10896500         WILENTZ, GOLDMAN & SPITZER
DELRE                PIETRO                NY         11956401         WILENTZ, GOLDMAN & SPITZER                           DISABATO             ANTHONY               NY         11492099         WILENTZ, GOLDMAN & SPITZER
DELUCIA              ANTHONY L             NY         10173699         WILENTZ, GOLDMAN & SPITZER                           DISABATO             ROSEMARIE             NY         11492099         WILENTZ, GOLDMAN & SPITZER
DELUCIA              WINIFRED              NY         10173699         WILENTZ, GOLDMAN & SPITZER                           DISARRO              ANTHONY               NY         12509994         WILENTZ, GOLDMAN & SPITZER
DELUCIE              VICTOR                NY         11565002         WILENTZ, GOLDMAN & SPITZER                           DISCALFANI           VINCENT J             NY         12201099         WILENTZ, GOLDMAN & SPITZER
DELVECCHIO           FRANCIS P             NY         11603301         WILENTZ, GOLDMAN & SPITZER                           DISCHINGER           RICHARD               NY         12249598         WILENTZ, GOLDMAN & SPITZER
DEMAIO               MARCELLO              NY         10750501         WILENTZ, GOLDMAN & SPITZER                           DISTEFANO            JAMES J               NY         10469596         WILENTZ, GOLDMAN & SPITZER
DEMARCO              JOSEPH                NY         11002502         WILENTZ, GOLDMAN & SPITZER                           DISTEFANO            JOSEPHINE             NY         10469596         WILENTZ, GOLDMAN & SPITZER
DEMARCO              JOSEPHINE             NY         11002502         WILENTZ, GOLDMAN & SPITZER                           DITHOMAS             GEORGE P              NY         12276899         WILENTZ, GOLDMAN & SPITZER
DEMASO               NICHOLAS              NY         10311601         WILENTZ, GOLDMAN & SPITZER                           DITRENTO             ELIO                  NY         12364099         WILENTZ, GOLDMAN & SPITZER
DEMILLIO             JAMES                 NY         11565102         WILENTZ, GOLDMAN & SPITZER                           DIVENUTO             ROBERT                NY         12950900         WILENTZ, GOLDMAN & SPITZER
DEMURIA              ANTHONY               NY         10184202         WILENTZ, GOLDMAN & SPITZER                           DIXON                JAMES S               NY         10311601         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1112
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 447 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

DIXON                LONNIE                NY         11735098         WILENTZ, GOLDMAN & SPITZER                           DURAKU               SMAIL                 NY         12231499         WILENTZ, GOLDMAN & SPITZER
DOBBINS              GLORIA                NY         11328507         WILENTZ, GOLDMAN & SPITZER                           DURKEL               PETER A               NY         12365600         WILENTZ, GOLDMAN & SPITZER
DOBBINS              WILLIAM               NY         11328507         WILENTZ, GOLDMAN & SPITZER                           DUTCHER              FRANKLIN L            NY         11187601         WILENTZ, GOLDMAN & SPITZER
DOBRANSKY            WILLIAM A             NY         12509994         WILENTZ, GOLDMAN & SPITZER                           DWYER                JOSEPH                NY         10627300         WILENTZ, GOLDMAN & SPITZER
DOCHERTY             THOMAS                NY         12365600         WILENTZ, GOLDMAN & SPITZER                           DYER                 LUTHER H              NY         10415601         WILENTZ, GOLDMAN & SPITZER
DOCKWEILER           PATRICK               NY         10744804         WILENTZ, GOLDMAN & SPITZER                           DZEDOVICH            MICHAEL               NY         11288203         WILENTZ, GOLDMAN & SPITZER
DOERR                ELLEN                 NY         10521299         WILENTZ, GOLDMAN & SPITZER                           EAGAN                JOHN F                NY         11476701         WILENTZ, GOLDMAN & SPITZER
DOERR                ROBERT                NY         10521299         WILENTZ, GOLDMAN & SPITZER                           EAGLETON             JOHN P                NY         11998898         WILENTZ, GOLDMAN & SPITZER
DOLAN                MICHAEL E             NY         10166900         WILENTZ, GOLDMAN & SPITZER                           EAGLETON             PATRICIA              NY         11998898         WILENTZ, GOLDMAN & SPITZER
DOLAN                PETER M               NY         10543598         WILENTZ, GOLDMAN & SPITZER                           EASON                JAMES                 NY         11035104         WILENTZ, GOLDMAN & SPITZER
DOLL                 CANDIDA               NY         12070402         WILENTZ, GOLDMAN & SPITZER                           EASON                PATRICK               NY         11028502         WILENTZ, GOLDMAN & SPITZER
DOLL                 GEORGE                NY         12070402         WILENTZ, GOLDMAN & SPITZER                           ECKSTEIN             JOHN H                NY         12364099         WILENTZ, GOLDMAN & SPITZER
DOMBEY               JOHN                  NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           EDGAR                ROBERT L              NY         10188595         WILENTZ, GOLDMAN & SPITZER
DONAGHY              JOSEPH                NY         11662301         WILENTZ, GOLDMAN & SPITZER                           EDINGTON             DONALD                NY         11778699         WILENTZ, GOLDMAN & SPITZER
DONATO               ALBERT                NY         10667504         WILENTZ, GOLDMAN & SPITZER                           EDWARDS              JAMES T               NY         11484200         WILENTZ, GOLDMAN & SPITZER
DONATO               ASSUNTA               NY         10667504         WILENTZ, GOLDMAN & SPITZER                           EDWARDS              RUDOLPH               NY         19044710         WILENTZ, GOLDMAN & SPITZER
DONATO               JACK J                NY         10667504         WILENTZ, GOLDMAN & SPITZER                           EDWARDS              RUDOLPH V             NY         19044710         WILENTZ, GOLDMAN & SPITZER
DONNELLY             BARBARA               NY         11867000         WILENTZ, GOLDMAN & SPITZER                           EFORO                JOANNA                NY         11744198         WILENTZ, GOLDMAN & SPITZER
DONNELLY             ERNEST                NY         11603301         WILENTZ, GOLDMAN & SPITZER                           EFORO                VINCENT               NY         11744198         WILENTZ, GOLDMAN & SPITZER
DONNELLY             FRANK R               NY         11867000         WILENTZ, GOLDMAN & SPITZER                           EGAN                 JAMES J               NY         10473302         WILENTZ, GOLDMAN & SPITZER
DONNELLY             MICHAEL G             NY         10987101         WILENTZ, GOLDMAN & SPITZER                           EGBERT               WILLIAM A             NY         10516001         WILENTZ, GOLDMAN & SPITZER
DONOFRIO             KENNETH               NY         11957199         WILENTZ, GOLDMAN & SPITZER                           EGIELSKI             ROBERT J              NY         10353500         WILENTZ, GOLDMAN & SPITZER
DONOHUE              ANNE                  NY         11029699         WILENTZ, GOLDMAN & SPITZER                           EICHHORN             JOSEPH                NY         12715002         WILENTZ, GOLDMAN & SPITZER
DONOHUE              MICHAEL B             NY         11029699         WILENTZ, GOLDMAN & SPITZER                           EIVERS               THOMAS F              NY         11288203         WILENTZ, GOLDMAN & SPITZER
DONOVAN              JOHN                  NY         10903398         WILENTZ, GOLDMAN & SPITZER                           ELGORT               ABRAM                 NY         11565002         WILENTZ, GOLDMAN & SPITZER
DONOVAN              MARGARET              NY         10903398         WILENTZ, GOLDMAN & SPITZER                           ELKINS               JAMES P               NY         10353500         WILENTZ, GOLDMAN & SPITZER
DOOLAN               JOHN P                NY         12222400         WILENTZ, GOLDMAN & SPITZER                           ELLEFSEN             ERLING                NY         10188595         WILENTZ, GOLDMAN & SPITZER
DOOLEY               THOMAS                NY         11759499         WILENTZ, GOLDMAN & SPITZER                           ELLIOTT              JAMES                 NY         10188595         WILENTZ, GOLDMAN & SPITZER
DORAN                JOHN                  NY         12215200         WILENTZ, GOLDMAN & SPITZER                           ELLIOTT              RONALD                NY         11162102         WILENTZ, GOLDMAN & SPITZER
DOREO                RICHARD               NY         10166900         WILENTZ, GOLDMAN & SPITZER                           ELLIOTT              SAMUEL M              NY         11565102         WILENTZ, GOLDMAN & SPITZER
DORFMAN              JUDITH                NY         11733101         WILENTZ, GOLDMAN & SPITZER                           ELLIOTT              WILLIAM E             NY         12509994         WILENTZ, GOLDMAN & SPITZER
DORFMAN              LEONARD               NY         11733101         WILENTZ, GOLDMAN & SPITZER                           ELLIS                ARTHUR L              NY         11957299         WILENTZ, GOLDMAN & SPITZER
DORRER               FERDINAND O           NY         12364099         WILENTZ, GOLDMAN & SPITZER                           ELLIS                MARVIN W JR           NY         10166900         WILENTZ, GOLDMAN & SPITZER
DORSEY               THOMAS                NY         12215200         WILENTZ, GOLDMAN & SPITZER                           ELLIS                MICHAEL R             NY         11957199         WILENTZ, GOLDMAN & SPITZER
DOUGHERTY            JAMES                 NY         11957099         WILENTZ, GOLDMAN & SPITZER                           ELUKOWICZ            ALEXANDER             NY         12365600         WILENTZ, GOLDMAN & SPITZER
DOUGHERTY            ROBERT J              NY         10166900         WILENTZ, GOLDMAN & SPITZER                           EMERY                LEROY                 NY         10842101         WILENTZ, GOLDMAN & SPITZER
DOWNES               OLIVER P              NY         11957199         WILENTZ, GOLDMAN & SPITZER                           ENGELHARDT           DIETER                NY         19006408         WILENTZ, GOLDMAN & SPITZER
DOWNEY               JAMES                 NY         11331603         WILENTZ, GOLDMAN & SPITZER                           ENGLEHARDT           ROBERT J              NY         11002502         WILENTZ, GOLDMAN & SPITZER
DOWNEY               RICHARD E             NY         12014903         WILENTZ, GOLDMAN & SPITZER                           ENGLISH              JOHN E                NY         10752899         WILENTZ, GOLDMAN & SPITZER
DOWNING              JOHN P                NY         11887300         WILENTZ, GOLDMAN & SPITZER                           ENLUND               LEONARD JR            NY         11484200         WILENTZ, GOLDMAN & SPITZER
DOYLE                JAMES                 NY         11331603         WILENTZ, GOLDMAN & SPITZER                           ERBACHER             FREDERICK             NY         10353500         WILENTZ, GOLDMAN & SPITZER
DOYLE                JOHN K                NY         11778699         WILENTZ, GOLDMAN & SPITZER                           ERDBRINK             JAMES R               NY         10415601         WILENTZ, GOLDMAN & SPITZER
DOYLE                THOMAS J              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           ERIAVEZ              BARBARA               NY         11029699         WILENTZ, GOLDMAN & SPITZER
DOZIER               WILBERT               NY         11016101         WILENTZ, GOLDMAN & SPITZER                           ERIAVEZ              FERRUCCIO J           NY         11029699         WILENTZ, GOLDMAN & SPITZER
DRAGNA               JOHN J                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           ERNST                ELVIRA                NY         10469596         WILENTZ, GOLDMAN & SPITZER
DRAP                 GEORGE F              NY         10987101         WILENTZ, GOLDMAN & SPITZER                           ERNST                WARREN C              NY         10469596         WILENTZ, GOLDMAN & SPITZER
DRESKA               STEPHEN               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           ERZINGER             LOIS                  NY         11230698         WILENTZ, GOLDMAN & SPITZER
DREW                 CAMERON               NY         12365600         WILENTZ, GOLDMAN & SPITZER                           ERZINGER             RON                   NY         11230698         WILENTZ, GOLDMAN & SPITZER
DRISCOLL             FRANCIS W             NY         11759499         WILENTZ, GOLDMAN & SPITZER                           ESPOSITO             ANTHONY               NY         11744198         WILENTZ, GOLDMAN & SPITZER
DRUM                 ROBERT                NY         12715002         WILENTZ, GOLDMAN & SPITZER                           ESPOSITO             RALPH                 NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
DUBOIS               RICHARD H             NY         11867000         WILENTZ, GOLDMAN & SPITZER                           ESPOSITO             ROBERT A              NY         10415601         WILENTZ, GOLDMAN & SPITZER
DUCEY                CECILLE               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           ESPOSITO             ROSEMARY              NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
DUCEY                MARY                  NY         10796602         WILENTZ, GOLDMAN & SPITZER                           ESPOSITO             ROSEMARY A            NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
DUCEY                MICHAEL J             NY         10796602         WILENTZ, GOLDMAN & SPITZER                           ESTELLE              WILLIAM               NY         11688602         WILENTZ, GOLDMAN & SPITZER
DUCEY                MICHAEL J             NY         10469596         WILENTZ, GOLDMAN & SPITZER                           ETERNO               VINCENT L             NY         12014903         WILENTZ, GOLDMAN & SPITZER
DUCZEMINSKI          JOHN E                NY         11251203         WILENTZ, GOLDMAN & SPITZER                           EVANGELIST           THOMAS                NY         10750501         WILENTZ, GOLDMAN & SPITZER
DUDLEY               MARY                  NY         10173699         WILENTZ, GOLDMAN & SPITZER                           EVANS                JENNIE                NY         12196903         WILENTZ, GOLDMAN & SPITZER
DUDLEY               THOMAS T              NY         10173699         WILENTZ, GOLDMAN & SPITZER                           EVANS                JON D                 NY         11920398         WILENTZ, GOLDMAN & SPITZER
DUFFY                CHARLES T             NY         10250500         WILENTZ, GOLDMAN & SPITZER                           EVANS                NORMAN                NY         11603301         WILENTZ, GOLDMAN & SPITZER
DUFFY                JOHN J                NY         10166900         WILENTZ, GOLDMAN & SPITZER                           EVANS                STEVEN                NY         12196903         WILENTZ, GOLDMAN & SPITZER
DUFFY                THEODORE              NY         10083402         WILENTZ, GOLDMAN & SPITZER                           FAGAN                EUGENE J              NY         12249598         WILENTZ, GOLDMAN & SPITZER
DUKE                 JOHN J                NY         12431599         WILENTZ, GOLDMAN & SPITZER                           FAGLIO               SALVATORE             NY         10415501         WILENTZ, GOLDMAN & SPITZER
D'ULISSE             ROBERT                NY         11035104         WILENTZ, GOLDMAN & SPITZER                           FAHAY                RICHARD               NY         12365600         WILENTZ, GOLDMAN & SPITZER
DUNKEL               GEORGE A              NY         10381106         WILENTZ, GOLDMAN & SPITZER                           FAIRWEATHER          ROBERT C              NY         10188595         WILENTZ, GOLDMAN & SPITZER
DUNLEAVY             JOHN T                NY         11887300         WILENTZ, GOLDMAN & SPITZER                           FALCONE              ALFONSO               NY         11098502         WILENTZ, GOLDMAN & SPITZER
DUNN                 JOHN C                NY         11720103         WILENTZ, GOLDMAN & SPITZER                           FALCONE              CARMINE               NY         11680001         WILENTZ, GOLDMAN & SPITZER
DUNN                 JOHN C                NY         10987101         WILENTZ, GOLDMAN & SPITZER                           FALCONE              PETER                 NY         10083402         WILENTZ, GOLDMAN & SPITZER
DUNN                 MARILYN               NY         11720103         WILENTZ, GOLDMAN & SPITZER                           FALE                 VINCENT               NY         11522001         WILENTZ, GOLDMAN & SPITZER
DUNN                 THOMAS E              NY         11476701         WILENTZ, GOLDMAN & SPITZER                           FALLS                WILLIAM J             NY         11029699         WILENTZ, GOLDMAN & SPITZER
DUNNE                JOHN                  NY         11029699         WILENTZ, GOLDMAN & SPITZER                           FANTEL               CLIFFORD              NY         12509994         WILENTZ, GOLDMAN & SPITZER
DUNNE                MARY                  NY         11029699         WILENTZ, GOLDMAN & SPITZER                           FARACI               RICHARD V             NY         12365600         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1113
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 448 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

FARCHIONE            JOHN                  NY         11565102         WILENTZ, GOLDMAN & SPITZER                           FLUHR                ARTHUR                NY         11016101         WILENTZ, GOLDMAN & SPITZER
FARLEY               ROBERT A              NY         10469596         WILENTZ, GOLDMAN & SPITZER                           FLUHR                HELEN                 NY         11016101         WILENTZ, GOLDMAN & SPITZER
FARRAGHER            JOHN                  NY         10520704         WILENTZ, GOLDMAN & SPITZER                           FONTAINE             ERNST                 NY         10188595         WILENTZ, GOLDMAN & SPITZER
FARRAN               ROBERT E              NY         11565102         WILENTZ, GOLDMAN & SPITZER                           FONTANA              RAYMOND               NY         11571703         WILENTZ, GOLDMAN & SPITZER
FARRAUTO             ANGELO J              NY         12950900         WILENTZ, GOLDMAN & SPITZER                           FORDHAM              EDNA                  NY         12715002         WILENTZ, GOLDMAN & SPITZER
FARRELL              JAMES E               NY         11484200         WILENTZ, GOLDMAN & SPITZER                           FORDHAM              MILTON L              NY         12715002         WILENTZ, GOLDMAN & SPITZER
FARRELL              MARY                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           FORE                 DARLENE               NY         10833401         WILENTZ, GOLDMAN & SPITZER
FARRELL              PATRICK               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           FORFAR               RICHARD M             NY         10987101         WILENTZ, GOLDMAN & SPITZER
FARRELLY             PHILIP                NY         1799687          WILENTZ, GOLDMAN & SPITZER                           FORM                 CHARLES A             NY         11867000         WILENTZ, GOLDMAN & SPITZER
FASANO               ALBERT                NY         11565002         WILENTZ, GOLDMAN & SPITZER                           FORMOSO              MARCOS                NY         11476605         WILENTZ, GOLDMAN & SPITZER
FASANO               JEAN H                NY         11565002         WILENTZ, GOLDMAN & SPITZER                           FORRESTER            THOMAS R              NY         11121201         WILENTZ, GOLDMAN & SPITZER
FASSACESIA           CAROLINE              NY         12083898         WILENTZ, GOLDMAN & SPITZER                           FORTUNATO            ALFONSE               NY         12715002         WILENTZ, GOLDMAN & SPITZER
FASSACESIA           JOSEPH                NY         12083898         WILENTZ, GOLDMAN & SPITZER                           FOSCHINO             JOSEPH                NY         10188595         WILENTZ, GOLDMAN & SPITZER
FAUCI                JOHN J                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           FOSCO                ANTHONY               NY         12089901         WILENTZ, GOLDMAN & SPITZER
FAUCI                PHYLLIS               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           FOTI                 FRANK J               NY         10679501         WILENTZ, GOLDMAN & SPITZER
FAUSTIN              HURBERT               NY         12197003         WILENTZ, GOLDMAN & SPITZER                           FOTOU                TONY                  NY         10423103         WILENTZ, GOLDMAN & SPITZER
FAVATA               SALVATORE             NY         11230698         WILENTZ, GOLDMAN & SPITZER                           FOWLER               RONALD                NY         11098502         WILENTZ, GOLDMAN & SPITZER
FAWCETT              MAUREEN               NY         10588501         WILENTZ, GOLDMAN & SPITZER                           FOWLER               SARAH                 NY         11098502         WILENTZ, GOLDMAN & SPITZER
FAZIO                JOHN A                NY         10987101         WILENTZ, GOLDMAN & SPITZER                           FOX                  PATRICK               NY         11492099         WILENTZ, GOLDMAN & SPITZER
FELD                 LEONARD A             NY         10188595         WILENTZ, GOLDMAN & SPITZER                           FOY                  MARGARET              NY         11029699         WILENTZ, GOLDMAN & SPITZER
FELDER               CLIFTON               NY         12556000         WILENTZ, GOLDMAN & SPITZER                           FOY                  MICHAEL G             NY         11029699         WILENTZ, GOLDMAN & SPITZER
FELICIANO            JAIME                 NY         10543598         WILENTZ, GOLDMAN & SPITZER                           FRANCAVILLA          SALVATORE             NY         11002502         WILENTZ, GOLDMAN & SPITZER
FELL                 KATHLEEN              NY         10588501         WILENTZ, GOLDMAN & SPITZER                           FRANCIS              RICHARD A             NY         10469596         WILENTZ, GOLDMAN & SPITZER
FELL                 PATRICK               NY         10588501         WILENTZ, GOLDMAN & SPITZER                           FRANCISCI            LEO                   NY         11492099         WILENTZ, GOLDMAN & SPITZER
FELLIN               LAWRENCE E.           NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           FRANCO               JOSEPH                NY         12364099         WILENTZ, GOLDMAN & SPITZER
FELLIN               STEVEN                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           FRANCO               PATRICIA              NY         11744198         WILENTZ, GOLDMAN & SPITZER
FENTON               JOHN J                NY         12249598         WILENTZ, GOLDMAN & SPITZER                           FRANCO               THOMAS                NY         11744198         WILENTZ, GOLDMAN & SPITZER
FERONE               PETER                 NY         12142199         WILENTZ, GOLDMAN & SPITZER                           FRANK                BILL B                NY         11778699         WILENTZ, GOLDMAN & SPITZER
FERRARA              ALFRED                NY         10987101         WILENTZ, GOLDMAN & SPITZER                           FRANK                JAMES G               NY         11076300         WILENTZ, GOLDMAN & SPITZER
FERRARA              ARTHUR                NY         11911898         WILENTZ, GOLDMAN & SPITZER                           FRANK                RALPH S               NY         11476701         WILENTZ, GOLDMAN & SPITZER
FERRARA              JOHN C                NY         11332999         WILENTZ, GOLDMAN & SPITZER                           FRANKE               HENRY F JR            NY         10679501         WILENTZ, GOLDMAN & SPITZER
FERRARA              JOSEPHINE             NY         11332999         WILENTZ, GOLDMAN & SPITZER                           FRANKLIN             ARVIN L JR            NY         12365600         WILENTZ, GOLDMAN & SPITZER
FERRARA              RAIMONDO              NY         10415601         WILENTZ, GOLDMAN & SPITZER                           FRANKLIN             BENJAMIN              NY         11565102         WILENTZ, GOLDMAN & SPITZER
FERRARELLA           LIBORIO               NY         10726302         WILENTZ, GOLDMAN & SPITZER                           FRANKLIN             HELEN                 NY         12365600         WILENTZ, GOLDMAN & SPITZER
FERRARO              JOSEPH                NY         11522001         WILENTZ, GOLDMAN & SPITZER                           FRANZESE             BETTY LOU             NY         10250500         WILENTZ, GOLDMAN & SPITZER
FERRARO              NICHOLAS              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           FRANZESE             FRANK                 NY         10250500         WILENTZ, GOLDMAN & SPITZER
FERRELLI             MICHAEL               NY         10521299         WILENTZ, GOLDMAN & SPITZER                           FRARACCIO            ANTONIO               NY         10415601         WILENTZ, GOLDMAN & SPITZER
FERRETTI             MICHAEL               NY         11887300         WILENTZ, GOLDMAN & SPITZER                           FRATARELLI           ANTHONY               NY         10543598         WILENTZ, GOLDMAN & SPITZER
FERRI                JOSEPH                NY         10353400         WILENTZ, GOLDMAN & SPITZER                           FRATI                GARY                  NY         11897103         WILENTZ, GOLDMAN & SPITZER
FERTOLI              JOHN V                NY         10269203         WILENTZ, GOLDMAN & SPITZER                           FREDERICK            WALTER                NY         10179107         WILENTZ, GOLDMAN & SPITZER
FESTA                JERRY                 NY         11565002         WILENTZ, GOLDMAN & SPITZER                           FREELY               WILLIAM F             NY         11565102         WILENTZ, GOLDMAN & SPITZER
FICENTISE            MARIO                 NY         10188595         WILENTZ, GOLDMAN & SPITZER                           FREEMAN              FLOYD                 NY         10423103         WILENTZ, GOLDMAN & SPITZER
FICHTENBAUM          ABRAHAM               NY         11566205         WILENTZ, GOLDMAN & SPITZER                           FREEMAN              ROBERT                NY         10353500         WILENTZ, GOLDMAN & SPITZER
FIELD                RICHARD               NY         11465999         WILENTZ, GOLDMAN & SPITZER                           FREGLETTE            RALPH                 NY         11016101         WILENTZ, GOLDMAN & SPITZER
FILAK                CHARLES A             NY         11061501         WILENTZ, GOLDMAN & SPITZER                           FRENI                MATTHEW F             NY         11076300         WILENTZ, GOLDMAN & SPITZER
FILETTO              GIUSEPPE              NY         11949700         WILENTZ, GOLDMAN & SPITZER                           FRIEND               CARL L                NY         10469596         WILENTZ, GOLDMAN & SPITZER
FINCH                FRANK J               NJ         4368381          WILENTZ, GOLDMAN & SPITZER                           FRIEND               GRACE                 NY         10469596         WILENTZ, GOLDMAN & SPITZER
FINKELSTEIN          RAYMOND               NY         10415601         WILENTZ, GOLDMAN & SPITZER                           FRIGEL               FRED JR               NY         10896500         WILENTZ, GOLDMAN & SPITZER
FIORE                VINCENT               NY         11565002         WILENTZ, GOLDMAN & SPITZER                           FRIGEL               PATRICIA              NY         10896500         WILENTZ, GOLDMAN & SPITZER
FIORENZA             CHARLES               NY         12215200         WILENTZ, GOLDMAN & SPITZER                           FRIGO                GERARD A              NY         11002502         WILENTZ, GOLDMAN & SPITZER
FISCHER              LOUIS J.              NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           FRISCIA              VINCENT               NY         10369205         WILENTZ, GOLDMAN & SPITZER
FISCHER              STANLEY A             NY         11603301         WILENTZ, GOLDMAN & SPITZER                           FRITCH               HARRY R               NY         10166900         WILENTZ, GOLDMAN & SPITZER
FISHER               HAROLD R              NY         11137399         WILENTZ, GOLDMAN & SPITZER                           FRIZZIOLA            ANTHONY               NY         11698004         WILENTZ, GOLDMAN & SPITZER
FISHER               MARIE R               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           FRIZZIOLA            ROSALIE               NY         11698004         WILENTZ, GOLDMAN & SPITZER
FITZGERALD           DANIEL                NY         10415501         WILENTZ, GOLDMAN & SPITZER                           FRIZZIOLE            CHARLES J             NY         12314298         WILENTZ, GOLDMAN & SPITZER
FITZGERALD           JAMES W               NY         11029699         WILENTZ, GOLDMAN & SPITZER                           FROATS               EDWARD W              NY         11603301         WILENTZ, GOLDMAN & SPITZER
FLAGIELLO            ANTHONY               NY         10243701         WILENTZ, GOLDMAN & SPITZER                           FRONGILLO            GIOVANNI              NY         10896500         WILENTZ, GOLDMAN & SPITZER
FLAHERTY             ANNA P                NY         11316405         WILENTZ, GOLDMAN & SPITZER                           FRUSTAGLIO           ANTHONY P             NY         11016101         WILENTZ, GOLDMAN & SPITZER
FLAHERTY             JOHN                  NY         11957199         WILENTZ, GOLDMAN & SPITZER                           FRUSTAGLIO           DORETTA               NY         10987101         WILENTZ, GOLDMAN & SPITZER
FLAHERTY             MARTIN                NY         11316405         WILENTZ, GOLDMAN & SPITZER                           FULLER               EDWARD                NY         11476505         WILENTZ, GOLDMAN & SPITZER
FLAHERTY             MICHAEL               NY         10188595         WILENTZ, GOLDMAN & SPITZER                           FULLER               RAYMOND               NY         10243701         WILENTZ, GOLDMAN & SPITZER
FLANAGAN             AMBROSE G             NY         11187601         WILENTZ, GOLDMAN & SPITZER                           GABRIEL              ANGELA                NY         10469596         WILENTZ, GOLDMAN & SPITZER
FLANAGAN             MICHAEL               NY         10521299         WILENTZ, GOLDMAN & SPITZER                           GABRIEL              EDWARD J              NY         10469596         WILENTZ, GOLDMAN & SPITZER
FLANSBURG            LAWRENCE S            NY         11340400         WILENTZ, GOLDMAN & SPITZER                           GACKENBACK           ELEANOR               NY         11867000         WILENTZ, GOLDMAN & SPITZER
FLEISCH              FREDERICK             NY         11571703         WILENTZ, GOLDMAN & SPITZER                           GACKENBACK           ROBERT                NY         11867000         WILENTZ, GOLDMAN & SPITZER
FLEMING              RICHARD               NY         10543598         WILENTZ, GOLDMAN & SPITZER                           GADALETA             LUIGI                 NY         11446802         WILENTZ, GOLDMAN & SPITZER
FLESCHNER            WILLIAM P             NY         12083898         WILENTZ, GOLDMAN & SPITZER                           GADOMSKI             ALEX                  NY         11331603         WILENTZ, GOLDMAN & SPITZER
FLICKENCHILD         NEIL R                NY         11476701         WILENTZ, GOLDMAN & SPITZER                           GADOMSKI             GENEVIEVE             NY         11331603         WILENTZ, GOLDMAN & SPITZER
FLICKENSCHILD        CONRAD W              NY         12215300         WILENTZ, GOLDMAN & SPITZER                           GAGLIA               TONY L                NY         12509994         WILENTZ, GOLDMAN & SPITZER
FLOOD                ROBERT F              NY         10473302         WILENTZ, GOLDMAN & SPITZER                           GAGLIARDI            PATRICK               NY         10783200         WILENTZ, GOLDMAN & SPITZER
FLOYD                ANTHONY V             NY         12509994         WILENTZ, GOLDMAN & SPITZER                           GALATI               RICHARD               NY         10184202         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1114
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 449 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GALBRAITH            JOSEPH D              NY         11565002         WILENTZ, GOLDMAN & SPITZER                           GIANTIEMPO           ORLANDO               NY         12365600         WILENTZ, GOLDMAN & SPITZER
GALENO               FRANK C               NY         10166800         WILENTZ, GOLDMAN & SPITZER                           GIARAMITO            MICHAEL               NY         12715002         WILENTZ, GOLDMAN & SPITZER
GALETTI              EDWARD J              NY         19029211         WILENTZ, GOLDMAN & SPITZER                           GIARRAPUTO           PAUL                  NY         11662201         WILENTZ, GOLDMAN & SPITZER
GALGANO              JOSEPH J              NY         12083898         WILENTZ, GOLDMAN & SPITZER                           GIBBONS              STEPHEN L             NY         10752899         WILENTZ, GOLDMAN & SPITZER
GALIA                GIUSEPPE              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           GIBBONS              SUZANNE               NY         10752899         WILENTZ, GOLDMAN & SPITZER
GALIA                ROSA                  NY         11998898         WILENTZ, GOLDMAN & SPITZER                           GIBBS                JOHN P                NY         11867000         WILENTZ, GOLDMAN & SPITZER
GALIOTO              ANDREA                NY         11522001         WILENTZ, GOLDMAN & SPITZER                           GIBIINO              VINCENZO              NY         10521299         WILENTZ, GOLDMAN & SPITZER
GALLAGHER            DONALD                NY         11522001         WILENTZ, GOLDMAN & SPITZER                           GIBLIN               ELEANOR               NY         11744198         WILENTZ, GOLDMAN & SPITZER
GALLAGHER            KATHERINE             NY         10469596         WILENTZ, GOLDMAN & SPITZER                           GIBLIN               THOMAS                NY         11744198         WILENTZ, GOLDMAN & SPITZER
GALLAGHER            PATRICK J             NY         10543598         WILENTZ, GOLDMAN & SPITZER                           GIBSON               WILLIAM E             NY         11076300         WILENTZ, GOLDMAN & SPITZER
GALLAGHER            RONALD F              NY         12201099         WILENTZ, GOLDMAN & SPITZER                           GIGLIO               LOUIS                 NY         10473302         WILENTZ, GOLDMAN & SPITZER
GALLAGHER            WILLIAM F             NY         10469596         WILENTZ, GOLDMAN & SPITZER                           GILDO                GLORIA                NY         10944198         WILENTZ, GOLDMAN & SPITZER
GALLEETTI            ANTONINO              NY         10796602         WILENTZ, GOLDMAN & SPITZER                           GILI                 MARYGLEN              NY         1902892012       WILENTZ, GOLDMAN & SPITZER
GALLETTA             ANTHONY               NY         12715002         WILENTZ, GOLDMAN & SPITZER                           GILLEENY             JOHN R                NY         11911898         WILENTZ, GOLDMAN & SPITZER
GALLETTA             LINDA                 NY         12715002         WILENTZ, GOLDMAN & SPITZER                           GILLEENY             SIMONE                NY         11911898         WILENTZ, GOLDMAN & SPITZER
GALLETTI             DONALD                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           GILLEN               NOREEN                NY         1902352017       WILENTZ, GOLDMAN & SPITZER
GALLIGAN             FRANK A               NY         10353400         WILENTZ, GOLDMAN & SPITZER                           GILLEN               NOREEN                NY         10744804         WILENTZ, GOLDMAN & SPITZER
GALLIGAN             THOMAS                NY         12249598         WILENTZ, GOLDMAN & SPITZER                           GILLEN               ROBERT                NY         1902352017       WILENTZ, GOLDMAN & SPITZER
GALLO                JAMES J               NY         11778699         WILENTZ, GOLDMAN & SPITZER                           GILLEN               ROBERT                NY         10744804         WILENTZ, GOLDMAN & SPITZER
GALLO                JOSEPH F              NY         11680001         WILENTZ, GOLDMAN & SPITZER                           GILMORE              JAMES A               NY         10188595         WILENTZ, GOLDMAN & SPITZER
GALLO                NICHOLAS              NY         10353400         WILENTZ, GOLDMAN & SPITZER                           GILMORE              WILLIAM               NY         12370201         WILENTZ, GOLDMAN & SPITZER
GALVIN               MARIE                 NY         10726302         WILENTZ, GOLDMAN & SPITZER                           GINSBURG             ROY                   NY         11867000         WILENTZ, GOLDMAN & SPITZER
GALVIN               WILLIAM               NY         11956401         WILENTZ, GOLDMAN & SPITZER                           GIOBBIE              FLORENCE              NY         10311601         WILENTZ, GOLDMAN & SPITZER
GALVIN               WILLIAM F             NY         11662201         WILENTZ, GOLDMAN & SPITZER                           GIORDANO             JOHN O                NY         11565102         WILENTZ, GOLDMAN & SPITZER
GAMACHE              ROGER L               NY         12276899         WILENTZ, GOLDMAN & SPITZER                           GIOVANNIELLO         NICOLA                NY         10415501         WILENTZ, GOLDMAN & SPITZER
GAMBALE              JOSEPH P              NY         11956401         WILENTZ, GOLDMAN & SPITZER                           GIOVANSANTI          PATRICIA              NY         12715002         WILENTZ, GOLDMAN & SPITZER
GAMBARDELLA          ALBERT J              NY         12222400         WILENTZ, GOLDMAN & SPITZER                           GIOVANSANTI          RUDOLPH               NY         12715002         WILENTZ, GOLDMAN & SPITZER
GAMBARDELLA          ANDREW                NY         10269203         WILENTZ, GOLDMAN & SPITZER                           GIRGENTI             FRANK J               NY         10269203         WILENTZ, GOLDMAN & SPITZER
GANDOLFO             SALVATORE             NY         10179306         WILENTZ, GOLDMAN & SPITZER                           GIRGENTI             VINCENZA              NY         10269203         WILENTZ, GOLDMAN & SPITZER
GARAN                GARY                  NY         10271102         WILENTZ, GOLDMAN & SPITZER                           GIVENS               STANLEY               NY         11565102         WILENTZ, GOLDMAN & SPITZER
GARCIA               JUAN                  NY         10098105         WILENTZ, GOLDMAN & SPITZER                           GLASER               KARL                  NY         11998898         WILENTZ, GOLDMAN & SPITZER
GARCIA               NIRIO                 NY         12591600         WILENTZ, GOLDMAN & SPITZER                           GLASER               MONKIA                NY         11998898         WILENTZ, GOLDMAN & SPITZER
GARCIA               PEDRO J               NY         12950900         WILENTZ, GOLDMAN & SPITZER                           GLASGOW              JOSEPH                NY         10987101         WILENTZ, GOLDMAN & SPITZER
GARCIA               WILLIAM               NY         12950900         WILENTZ, GOLDMAN & SPITZER                           GLAUDAL              JOHN F.               NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
GARDNER              GEORGE                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           GLOVER               FRANCIS               NY         10269203         WILENTZ, GOLDMAN & SPITZER
GARDNER              JOHN                  NY         10796602         WILENTZ, GOLDMAN & SPITZER                           GLYNN                MARGARET              NY         11998898         WILENTZ, GOLDMAN & SPITZER
GARDNER              JOSEPH P              NY         10415501         WILENTZ, GOLDMAN & SPITZER                           GLYNN                ROBERT W              NY         11998898         WILENTZ, GOLDMAN & SPITZER
GARDNER              MARGARET              NY         11230698         WILENTZ, GOLDMAN & SPITZER                           GOFFMAN              LEROY                 NY         10750501         WILENTZ, GOLDMAN & SPITZER
GARGIULO             RALPH                 NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           GOLDSTEIN            IRVING F              NY         11887300         WILENTZ, GOLDMAN & SPITZER
GAROFALO             LAURIE A              NY         11911898         WILENTZ, GOLDMAN & SPITZER                           GOLDSTEIN            JACOB                 NY         11286900         WILENTZ, GOLDMAN & SPITZER
GAROFALO             RICHARD               NY         10543598         WILENTZ, GOLDMAN & SPITZER                           GOLDSTEIN            SOPHIE                NY         11286900         WILENTZ, GOLDMAN & SPITZER
GAROFALO             WILLIAM               NY         11911898         WILENTZ, GOLDMAN & SPITZER                           GOMEZ                EDWARD SR             NY         11640500         WILENTZ, GOLDMAN & SPITZER
GARRETT              EDWARD G              NY         10750501         WILENTZ, GOLDMAN & SPITZER                           GOMEZ                JAMES                 NY         10750501         WILENTZ, GOLDMAN & SPITZER
GARVEY               GEMMETT               NY         10520704         WILENTZ, GOLDMAN & SPITZER                           GOMEZ                JUAN C                NY         11565102         WILENTZ, GOLDMAN & SPITZER
GARZETTA             JOSEPH                NY         10415601         WILENTZ, GOLDMAN & SPITZER                           GOMEZ                PATRICIA              NY         11640500         WILENTZ, GOLDMAN & SPITZER
GARZILLO             ANTHONY               NY         10199205         WILENTZ, GOLDMAN & SPITZER                           GONZALES             RONALD                NY         11778699         WILENTZ, GOLDMAN & SPITZER
GARZILLO             THERESA               NY         10199205         WILENTZ, GOLDMAN & SPITZER                           GONZALEZ             ROBERT                NY         10750501         WILENTZ, GOLDMAN & SPITZER
GASPERINI            PATRICK A             NY         10987101         WILENTZ, GOLDMAN & SPITZER                           GOODMAN              ISAIAH                NY         10188595         WILENTZ, GOLDMAN & SPITZER
GATTA                OIDO M                NY         12083898         WILENTZ, GOLDMAN & SPITZER                           GOODMAN              PHILIP J              NY         10783200         WILENTZ, GOLDMAN & SPITZER
GAUDIO               DONALD                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           GOODRICH             MARIAN                NY         12365600         WILENTZ, GOLDMAN & SPITZER
GEELAN               GILBERT G             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           GOODRICH             MICHAEL E             NY         12365600         WILENTZ, GOLDMAN & SPITZER
GEELAN               LINDA                 NY         11998898         WILENTZ, GOLDMAN & SPITZER                           GORDON               JOHN J                NY         11662301         WILENTZ, GOLDMAN & SPITZER
GELATKO              EMIL                  NY         11565002         WILENTZ, GOLDMAN & SPITZER                           GORMAN               JOSEPH                NY         10627300         WILENTZ, GOLDMAN & SPITZER
GENTILE              GIOVANNI              NY         11446802         WILENTZ, GOLDMAN & SPITZER                           GOVIC                RATIMIR               NY         11002502         WILENTZ, GOLDMAN & SPITZER
GENTILE              PASQUALE              NY         10521299         WILENTZ, GOLDMAN & SPITZER                           GRABOWSKI            ANDREA                NY         10752899         WILENTZ, GOLDMAN & SPITZER
GENTILE              PETER                 NY         10744804         WILENTZ, GOLDMAN & SPITZER                           GRABOWSKI            FRANK B JR            NY         10752899         WILENTZ, GOLDMAN & SPITZER
GEORGE               DANIEL                NY         10353400         WILENTZ, GOLDMAN & SPITZER                           GRACE                DENNIS T              NY         10752899         WILENTZ, GOLDMAN & SPITZER
GEORGE               JOSEPH                NY         12364099         WILENTZ, GOLDMAN & SPITZER                           GRACE                EMILIA F              NY         10752899         WILENTZ, GOLDMAN & SPITZER
GEORGE               MILAND                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           GRAFFAGNINO          GIUSEPPE              NY         11735098         WILENTZ, GOLDMAN & SPITZER
GEORGES              MAX                   NY         12201099         WILENTZ, GOLDMAN & SPITZER                           GRAFFAGNINO          NANCY                 NY         11735098         WILENTZ, GOLDMAN & SPITZER
GERDES               FRANK                 NY         12089901         WILENTZ, GOLDMAN & SPITZER                           GRAFFEO              MARIO A               NY         10521299         WILENTZ, GOLDMAN & SPITZER
GERENSTEIN           BARRY                 NY         10190907         WILENTZ, GOLDMAN & SPITZER                           GRAHAM               ROBERT                NY         10543598         WILENTZ, GOLDMAN & SPITZER
GERMANO              GEORGE V              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           GRAHAM               SHARON S              NY         10311601         WILENTZ, GOLDMAN & SPITZER
GERMANO              MARY                  NY         11998898         WILENTZ, GOLDMAN & SPITZER                           GRAHAM               SYLVESTER             NY         10188595         WILENTZ, GOLDMAN & SPITZER
GERRITY              JOHN                  NY         11566105         WILENTZ, GOLDMAN & SPITZER                           GRAMANN              WOLFGANG A            NY         12231499         WILENTZ, GOLDMAN & SPITZER
GERVER               MICHAEL               NY         10750501         WILENTZ, GOLDMAN & SPITZER                           GRANAI               BARBARA               NY         11492099         WILENTZ, GOLDMAN & SPITZER
GEWIRTZ              SEYMOUR               NY         11029699         WILENTZ, GOLDMAN & SPITZER                           GRANAI               THOMAS                NY         11492099         WILENTZ, GOLDMAN & SPITZER
GIAMBALVO            PETER                 NY         11484200         WILENTZ, GOLDMAN & SPITZER                           GRANAROLI            GEORGE                NY         12509994         WILENTZ, GOLDMAN & SPITZER
GIAMMARINO           JOSEPH                NY         11062608         WILENTZ, GOLDMAN & SPITZER                           GRANATA              ANGELO                NY         10423103         WILENTZ, GOLDMAN & SPITZER
GIAMMARINO           THERESA               NY         11062608         WILENTZ, GOLDMAN & SPITZER                           GRANDO               FRANCIA               NY         11522001         WILENTZ, GOLDMAN & SPITZER
GIANNATTASIO         GERADO                NY         11957199         WILENTZ, GOLDMAN & SPITZER                           GRANDO               MIRO                  NY         11522001         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1115
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 450 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GRASSI               ALDO                  NY         11002502         WILENTZ, GOLDMAN & SPITZER                           HAMILL               ANN MARIE             NY         11137399         WILENTZ, GOLDMAN & SPITZER
GRECO                JOHN B                NY         10726302         WILENTZ, GOLDMAN & SPITZER                           HAMILL               ARTHUR M              NY         11137399         WILENTZ, GOLDMAN & SPITZER
GRECO                JOHN P                NY         10246306         WILENTZ, GOLDMAN & SPITZER                           HAMILTON             ALONZO                NY         11162102         WILENTZ, GOLDMAN & SPITZER
GREEN                ANTHONY               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           HAMILTON             GORDON W              NY         11476701         WILENTZ, GOLDMAN & SPITZER
GREEN                CARRIE                NY         12950900         WILENTZ, GOLDMAN & SPITZER                           HAMILTON             HARRY V               NY         11565002         WILENTZ, GOLDMAN & SPITZER
GREEN                HERBERT               NY         12950900         WILENTZ, GOLDMAN & SPITZER                           HAMILTON             HILDA                 NY         11565002         WILENTZ, GOLDMAN & SPITZER
GREENDALE            KENNETH R             NY         11002502         WILENTZ, GOLDMAN & SPITZER                           HAMMEL               ROBERT W JR           NY         12950900         WILENTZ, GOLDMAN & SPITZER
GREENE               ROGER                 NY         12950900         WILENTZ, GOLDMAN & SPITZER                           HAMPTON              WILLIAM E             NY         11286900         WILENTZ, GOLDMAN & SPITZER
GREENFIELD           MARY C                NY         12365600         WILENTZ, GOLDMAN & SPITZER                           HANGAN               ALEXANDER             NY         11076300         WILENTZ, GOLDMAN & SPITZER
GREENFIELD           VINCENT               NY         12365600         WILENTZ, GOLDMAN & SPITZER                           HANGAN               FLORENCE              NY         11076300         WILENTZ, GOLDMAN & SPITZER
GREENWOOD            MILDRED               NY         12365600         WILENTZ, GOLDMAN & SPITZER                           HANLEY               JOHN                  NY         11222906         WILENTZ, GOLDMAN & SPITZER
GREENWOOD            ROBERT A              NY         12365600         WILENTZ, GOLDMAN & SPITZER                           HANLEY               JOSEPH                NY         10166800         WILENTZ, GOLDMAN & SPITZER
GREGORY              GEORGE E              NY         12370201         WILENTZ, GOLDMAN & SPITZER                           HANNAM               SYLVIA                NY         11680001         WILENTZ, GOLDMAN & SPITZER
GREGORY              JAMES L JR            NY         11492099         WILENTZ, GOLDMAN & SPITZER                           HANNAM               THOMAS                NY         11680001         WILENTZ, GOLDMAN & SPITZER
GREGORY              MARILYN               NY         11492099         WILENTZ, GOLDMAN & SPITZER                           HANNIGAN             DANIEL                NY         10711898         WILENTZ, GOLDMAN & SPITZER
GRELL                ROBERT A              NY         11662301         WILENTZ, GOLDMAN & SPITZER                           HANNIGAN             GLADYS                NY         10711898         WILENTZ, GOLDMAN & SPITZER
GREY                 WILBERT               NY         10128406         WILENTZ, GOLDMAN & SPITZER                           HANSARD              FREDERICK             NY         11446802         WILENTZ, GOLDMAN & SPITZER
GRGAS                NICHOLAS              NY         10423103         WILENTZ, GOLDMAN & SPITZER                           HANSARD              PHILIP                NY         11446802         WILENTZ, GOLDMAN & SPITZER
GRIBBIN              FRANCIS               NY         117763           WILENTZ, GOLDMAN & SPITZER                           HANSEN               MARTIN R              NY         11733101         WILENTZ, GOLDMAN & SPITZER
GRIECO               ANNAMARIE             NY         10665099         WILENTZ, GOLDMAN & SPITZER                           HANSS                JAMES                 NY         10472603         WILENTZ, GOLDMAN & SPITZER
GRIECO               JOHN A                NY         10665099         WILENTZ, GOLDMAN & SPITZER                           HARGRAVES            ROBERT                NY         10472603         WILENTZ, GOLDMAN & SPITZER
GRIFFIN              THOMAS                NY         11662201         WILENTZ, GOLDMAN & SPITZER                           HARJES               MICHAEL K             NY         11778699         WILENTZ, GOLDMAN & SPITZER
GRIFFIN              THOMAS F              NY         10173699         WILENTZ, GOLDMAN & SPITZER                           HARKES               JAMES                 NY         11173499         WILENTZ, GOLDMAN & SPITZER
GRIFFITH             PHILIP E              NY         11688602         WILENTZ, GOLDMAN & SPITZER                           HARKES               JESSIE                NY         11173499         WILENTZ, GOLDMAN & SPITZER
GRIFONETTI           GIUSEPPE              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           HARNEY               JOHN                  NY         10415601         WILENTZ, GOLDMAN & SPITZER
GRIFONETTI           IDA                   NY         11484200         WILENTZ, GOLDMAN & SPITZER                           HARRIS               CATHERINE             NY         10415601         WILENTZ, GOLDMAN & SPITZER
GRILLO               JOHN                  NY         10166900         WILENTZ, GOLDMAN & SPITZER                           HARRIS               DAVID R               NY         11603301         WILENTZ, GOLDMAN & SPITZER
GRIMES               DONNA L               NY         11867000         WILENTZ, GOLDMAN & SPITZER                           HARRIS               EUGENE                NY         10415601         WILENTZ, GOLDMAN & SPITZER
GRIMM                PATRICIA              NY         1900092015       WILENTZ, GOLDMAN & SPITZER                           HARRIS               HARRY                 NY         12431599         WILENTZ, GOLDMAN & SPITZER
GRIMM                WILLIAM               NY         1900092015       WILENTZ, GOLDMAN & SPITZER                           HARRIS               PATRICK J             NY         11016101         WILENTZ, GOLDMAN & SPITZER
GRIOLI               ANTONIO               NY         10646705         WILENTZ, GOLDMAN & SPITZER                           HARRISON             FRANCES               NY         11029699         WILENTZ, GOLDMAN & SPITZER
GRIOLI               MARTHA                NY         10646705         WILENTZ, GOLDMAN & SPITZER                           HARRISON             GEORGE J              NY         11029699         WILENTZ, GOLDMAN & SPITZER
GROFF                ROBERT V              NY         10992804         WILENTZ, GOLDMAN & SPITZER                           HARTE                ANGELA                NY         11230698         WILENTZ, GOLDMAN & SPITZER
GROFF                ROBERT V              NY         10993304         WILENTZ, GOLDMAN & SPITZER                           HARTE                JOSEPH                NY         11230698         WILENTZ, GOLDMAN & SPITZER
GROFF                RUTH                  NY         10992804         WILENTZ, GOLDMAN & SPITZER                           HARTFORD             ANTHONY B             NY         19000309         WILENTZ, GOLDMAN & SPITZER
GROFF                RUTH                  NY         10993304         WILENTZ, GOLDMAN & SPITZER                           HARTFORD             VIRGINIA              NY         19000309         WILENTZ, GOLDMAN & SPITZER
GROSSI               TEDDY                 NJ         MIDL9716AS       WILENTZ, GOLDMAN & SPITZER                           HARTIGAN             RICHARD               NY         11029699         WILENTZ, GOLDMAN & SPITZER
GROSSO               RALPH                 NY         11002502         WILENTZ, GOLDMAN & SPITZER                           HARTLEY              KENNETH W             NY         11759499         WILENTZ, GOLDMAN & SPITZER
GRUBER               LESLIE                NY         11121201         WILENTZ, GOLDMAN & SPITZER                           HARTMAN              ALEXANDER G           NY         1903052016       WILENTZ, GOLDMAN & SPITZER
GRUNERT              CONRAD                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           HARTMAN              MARGARET              NY         1903052016       WILENTZ, GOLDMAN & SPITZER
GRUTER               RICHARD               NY         11911898         WILENTZ, GOLDMAN & SPITZER                           HAUSSERMANN          WILLIAM               NY         12509994         WILENTZ, GOLDMAN & SPITZER
GUARRASI             JOSEPH S              NY         11002502         WILENTZ, GOLDMAN & SPITZER                           HAZELET              GEORGE R              NY         10665099         WILENTZ, GOLDMAN & SPITZER
GUCCIARDI            CARL J                NY         10269203         WILENTZ, GOLDMAN & SPITZER                           HAZELET              LUCILLE               NY         10665099         WILENTZ, GOLDMAN & SPITZER
GUEZ                 RICHARD P             NY         11759499         WILENTZ, GOLDMAN & SPITZER                           HEALY                THOMAS                NY         12249598         WILENTZ, GOLDMAN & SPITZER
GUIDA                ANTHONY S             NY         10665099         WILENTZ, GOLDMAN & SPITZER                           HECHT                DORA                  NY         12070402         WILENTZ, GOLDMAN & SPITZER
GUIDA                OLGA                  NY         10665099         WILENTZ, GOLDMAN & SPITZER                           HECHT                ISIDORE               NY         12070402         WILENTZ, GOLDMAN & SPITZER
GUILIANO             JAMES J               NY         12450802         WILENTZ, GOLDMAN & SPITZER                           HEFELE               FRANCES               NY         10665099         WILENTZ, GOLDMAN & SPITZER
GUINNESS             MARILYN               NY         10353400         WILENTZ, GOLDMAN & SPITZER                           HEFELE               WILLIAM R             NY         10665099         WILENTZ, GOLDMAN & SPITZER
GUINNESS             RICHARD W             NY         10353400         WILENTZ, GOLDMAN & SPITZER                           HEFFERNAN            JOHN                  NY         10307107         WILENTZ, GOLDMAN & SPITZER
GUIRY                MAUREEN F             NY         11726602         WILENTZ, GOLDMAN & SPITZER                           HEIDELBERG           LAURETTE              NY         11735098         WILENTZ, GOLDMAN & SPITZER
GUITTARD             SIDNEY                NY         10415601         WILENTZ, GOLDMAN & SPITZER                           HEIDELBERG           ROGER                 NY         11735098         WILENTZ, GOLDMAN & SPITZER
GULBRANDSEN          FRED                  NY         10214506         WILENTZ, GOLDMAN & SPITZER                           HEILWEIL             DAVID                 NY         12365600         WILENTZ, GOLDMAN & SPITZER
GULLEN               ANTHONY P             NY         11603301         WILENTZ, GOLDMAN & SPITZER                           HEILWEIL             ENID                  NY         12365600         WILENTZ, GOLDMAN & SPITZER
GURCIULLO            RICHARD               NY         12950900         WILENTZ, GOLDMAN & SPITZER                           HEINRICH             FRANCES               NY         11492099         WILENTZ, GOLDMAN & SPITZER
GURNICK              JOHN J                NY         10311601         WILENTZ, GOLDMAN & SPITZER                           HEINRICH             JOHN                  NY         11492099         WILENTZ, GOLDMAN & SPITZER
GUTMAN               IGOR                  NY         12434600         WILENTZ, GOLDMAN & SPITZER                           HELM                 JOYCE                 NY         11911898         WILENTZ, GOLDMAN & SPITZER
GUTMAN               ZHANNA                NY         12434600         WILENTZ, GOLDMAN & SPITZER                           HELM                 KENNETH               NY         11911898         WILENTZ, GOLDMAN & SPITZER
GUZMAN               BERNABE               NY         11956401         WILENTZ, GOLDMAN & SPITZER                           HELMS                LJ                    NY         11076300         WILENTZ, GOLDMAN & SPITZER
GYORI                WILLI                 NY         10750501         WILENTZ, GOLDMAN & SPITZER                           HELMS                RAY E                 NY         11076300         WILENTZ, GOLDMAN & SPITZER
HADZINIKOLOV         IVAN                  NY         11187601         WILENTZ, GOLDMAN & SPITZER                           HENNELLY             BERNARD T             NY         10353500         WILENTZ, GOLDMAN & SPITZER
HADZINIKOLOV         JOAN                  NY         11002502         WILENTZ, GOLDMAN & SPITZER                           HENNEY               EDGAR C               NY         11998898         WILENTZ, GOLDMAN & SPITZER
HADZINIKOLOV         JOAN                  NY         11187601         WILENTZ, GOLDMAN & SPITZER                           HENNEY               THERESA               NY         11998898         WILENTZ, GOLDMAN & SPITZER
HAGEWOOD             BROWN T               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           HERBERT              JOSEPH W              NY         10516001         WILENTZ, GOLDMAN & SPITZER
HAGGER               JAMES                 NY         12276899         WILENTZ, GOLDMAN & SPITZER                           HERBST               CLIFFORD              NY         11251203         WILENTZ, GOLDMAN & SPITZER
HAIN                 HOWARD                NY         10521299         WILENTZ, GOLDMAN & SPITZER                           HERHOLTZ             WILLIAM E             NY         11603301         WILENTZ, GOLDMAN & SPITZER
HAIN                 WILLIAM               NY         10896500         WILENTZ, GOLDMAN & SPITZER                           HERNANDES            EDWARD D              NY         10520704         WILENTZ, GOLDMAN & SPITZER
HALL                 ROBERT H              NY         10179001         WILENTZ, GOLDMAN & SPITZER                           HERNANDEZ            VICTOR R              NY         11759499         WILENTZ, GOLDMAN & SPITZER
HALLIWELL            WILLIAM J JR          NY         12083898         WILENTZ, GOLDMAN & SPITZER                           HERZOG               ROBERT                NY         12509994         WILENTZ, GOLDMAN & SPITZER
HALLOCK              CHARLES               NY         11476701         WILENTZ, GOLDMAN & SPITZER                           HESS                 GEORGE A              NY         10269203         WILENTZ, GOLDMAN & SPITZER
HALLORAN             ANTHONY               NY         11565102         WILENTZ, GOLDMAN & SPITZER                           HETTRICH             HELEN                 NY         11270699         WILENTZ, GOLDMAN & SPITZER
HALOUVAS             GUS                   NY         10191007         WILENTZ, GOLDMAN & SPITZER                           HETTRICH             JOHN M                NY         11270699         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1116
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 451 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

HETZEL               EGON                  NY         11076300         WILENTZ, GOLDMAN & SPITZER                           IANNO                ALBERT F SR           NY         12431599         WILENTZ, GOLDMAN & SPITZER
HEWLETT              MARION                NY         11957299         WILENTZ, GOLDMAN & SPITZER                           IANNO                FRANK                 NY         10415601         WILENTZ, GOLDMAN & SPITZER
HEWLETT              RONALD                NY         11957299         WILENTZ, GOLDMAN & SPITZER                           IESU                 ANTHONY               NY         11735098         WILENTZ, GOLDMAN & SPITZER
HEYL                 KENNETH C             NY         10588601         WILENTZ, GOLDMAN & SPITZER                           IESU                 MICHELE               NY         11735098         WILENTZ, GOLDMAN & SPITZER
HEYMAN               HARRY                 NY         12201099         WILENTZ, GOLDMAN & SPITZER                           IFKOVITS             CHRISTINE             NY         10469596         WILENTZ, GOLDMAN & SPITZER
HEYMAN               MARTHA                NY         12201099         WILENTZ, GOLDMAN & SPITZER                           IFKOVITS             JOHN                  NY         10469596         WILENTZ, GOLDMAN & SPITZER
HICKMAN              GEORGE D              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           IMPAGLIAZZO          ANDREW                NY         11076300         WILENTZ, GOLDMAN & SPITZER
HIGGINS              JAMES E               NY         10423103         WILENTZ, GOLDMAN & SPITZER                           IMPAGLIAZZO          FRANCES               NY         11076300         WILENTZ, GOLDMAN & SPITZER
HIGGINS              JOSEPH                NY         12197003         WILENTZ, GOLDMAN & SPITZER                           IMPELLIZERI          BERNICE               NJ         L06062185        WILENTZ, GOLDMAN & SPITZER
HIGGINS              LINDA                 NY         10423103         WILENTZ, GOLDMAN & SPITZER                           IMPELLIZZERI         LEO                   NY         12509994         WILENTZ, GOLDMAN & SPITZER
HIGHAM               ERNEST                NY         11897103         WILENTZ, GOLDMAN & SPITZER                           IMPELLIZZIERI        LOUIS                 NY         11522001         WILENTZ, GOLDMAN & SPITZER
HIMMMELREICH         THOMAS                NY         12434600         WILENTZ, GOLDMAN & SPITZER                           INGARRA              FRANK V               NY         10987201         WILENTZ, GOLDMAN & SPITZER
HINSON               EDDIE                 NJ         L10490           WILENTZ, GOLDMAN & SPITZER                           INGBER               STEVEN                NY         10188595         WILENTZ, GOLDMAN & SPITZER
HINSON               GEORGIA               NJ         L10490           WILENTZ, GOLDMAN & SPITZER                           INGOLD               EARL                  NY         11476701         WILENTZ, GOLDMAN & SPITZER
HIRSCHY              FRANCIS J             NY         11187601         WILENTZ, GOLDMAN & SPITZER                           INGRISANI            JOSEPH M              NY         10752899         WILENTZ, GOLDMAN & SPITZER
HIRSCHY              FRANK V               NY         11187601         WILENTZ, GOLDMAN & SPITZER                           INGRISANI            JOSEPHINE             NY         10752899         WILENTZ, GOLDMAN & SPITZER
HLISTA               JOSEPH                NY         12276899         WILENTZ, GOLDMAN & SPITZER                           INNACONE             JOSEPH                NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
HOBAN                ELEANOR               NY         11292303         WILENTZ, GOLDMAN & SPITZER                           INNACONE             JOSEPHINE             NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
HOBAN                JOHN P                NY         11292303         WILENTZ, GOLDMAN & SPITZER                           INTERRANTE           CHARLES J             NY         12081700         WILENTZ, GOLDMAN & SPITZER
HOBBS                EDWARD J              NY         10279101         WILENTZ, GOLDMAN & SPITZER                           INTERRANTE           CHARLES V             NY         12215300         WILENTZ, GOLDMAN & SPITZER
HOEFLER              ANDREW C              NY         10985405         WILENTZ, GOLDMAN & SPITZER                           INTRIERI             JOHN                  NY         10520704         WILENTZ, GOLDMAN & SPITZER
HOEFLER              ELIZABETH             NY         10985405         WILENTZ, GOLDMAN & SPITZER                           ION                  WILFRED P             NY         11662301         WILENTZ, GOLDMAN & SPITZER
HOERING              OTTO F                NY         10520704         WILENTZ, GOLDMAN & SPITZER                           IORIO                BENJAMIN              NY         11222806         WILENTZ, GOLDMAN & SPITZER
HOFFMAN              BEATRICE              NY         19026810         WILENTZ, GOLDMAN & SPITZER                           IORIO                LUCIA                 NY         11076300         WILENTZ, GOLDMAN & SPITZER
HOFFMAN              EUGENE                NY         19026810         WILENTZ, GOLDMAN & SPITZER                           IORIO                MICHAEL               NY         11076300         WILENTZ, GOLDMAN & SPITZER
HOFFMAN              JOSEPH S JR           NY         12201099         WILENTZ, GOLDMAN & SPITZER                           IOSUE                LOUIS                 NY         10521299         WILENTZ, GOLDMAN & SPITZER
HOFFMAN              JOSEPH S SR           NY         12201099         WILENTZ, GOLDMAN & SPITZER                           IUPPA                GERARD                NY         10472603         WILENTZ, GOLDMAN & SPITZER
HOFFMAN              RICHARD J             NY         10166900         WILENTZ, GOLDMAN & SPITZER                           JACKSON              CONNIE                NJ         MIDL1060202AS    WILENTZ, GOLDMAN & SPITZER
HOFFMAN              ROBERT L              NY         12231499         WILENTZ, GOLDMAN & SPITZER                           JACKSON              EUGENE                NY         10992804         WILENTZ, GOLDMAN & SPITZER
HOFFSTATTER          RICHARD               NY         12215300         WILENTZ, GOLDMAN & SPITZER                           JACKSON              EUGENE                NY         10993204         WILENTZ, GOLDMAN & SPITZER
HOFMAN               EDWARD G              NY         12276899         WILENTZ, GOLDMAN & SPITZER                           JACKSON              LONNIE L              NY         12509994         WILENTZ, GOLDMAN & SPITZER
HOGAN                JAMES J               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           JACKSON              WILLIAM P             NY         12950900         WILENTZ, GOLDMAN & SPITZER
HOGAN                JAMES JR              NY         12081700         WILENTZ, GOLDMAN & SPITZER                           JACOBS               JACK                  NY         12249598         WILENTZ, GOLDMAN & SPITZER
HOGAN                JOHN V                NY         10269203         WILENTZ, GOLDMAN & SPITZER                           JACOVINO             MARIO                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
HOGAN                MATTHEW C             NY         10353500         WILENTZ, GOLDMAN & SPITZER                           JACOVINO             ROSE MARIE            NY         11230698         WILENTZ, GOLDMAN & SPITZER
HOGAN                RAYMOND               NY         10472603         WILENTZ, GOLDMAN & SPITZER                           JAKUBOWSKI           JOSEPH A JR           NY         11887300         WILENTZ, GOLDMAN & SPITZER
HOGE                 JOSEPH G              NY         12081700         WILENTZ, GOLDMAN & SPITZER                           JAMES                WILLARD               NY         12431599         WILENTZ, GOLDMAN & SPITZER
HOLLIDAY             CARMEN                NY         12950900         WILENTZ, GOLDMAN & SPITZER                           JANOSKO              JOHN                  NY         12249598         WILENTZ, GOLDMAN & SPITZER
HOLMES               EDWARD J              NY         12222400         WILENTZ, GOLDMAN & SPITZER                           JARDON               JOSEPH R              NY         10166900         WILENTZ, GOLDMAN & SPITZER
HOMMOND              EUGENE                NJ         L9133986         WILENTZ, GOLDMAN & SPITZER                           JAVETT               DONALD                NY         10311601         WILENTZ, GOLDMAN & SPITZER
HONSCHKE             FLORENCE              NY         12196903         WILENTZ, GOLDMAN & SPITZER                           JAWOR                EDWARD S JR           NY         12231499         WILENTZ, GOLDMAN & SPITZER
HONSCHKE             MICHAEL               NY         12196903         WILENTZ, GOLDMAN & SPITZER                           JAWOR                MAUREEN               NY         12231499         WILENTZ, GOLDMAN & SPITZER
HOOKER               KEVIN W               NY         10726302         WILENTZ, GOLDMAN & SPITZER                           JEFFERSON            DIANE                 NY         11098502         WILENTZ, GOLDMAN & SPITZER
HOPE                 ROBERT                NY         19025011         WILENTZ, GOLDMAN & SPITZER                           JEFFERSON            LEROY                 NY         11098502         WILENTZ, GOLDMAN & SPITZER
HOPKINS              ROBERT V              NY         10353500         WILENTZ, GOLDMAN & SPITZER                           JELICH               JOHN                  NY         12276899         WILENTZ, GOLDMAN & SPITZER
HORAI                JOSEPH                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           JENSEN               KATHLEEN              NY         10588501         WILENTZ, GOLDMAN & SPITZER
HORTON               THOMAS                NY         11492099         WILENTZ, GOLDMAN & SPITZER                           JENSEN               LUCY                  NY         11492099         WILENTZ, GOLDMAN & SPITZER
HOSEK                LOUIS C               NY         11911898         WILENTZ, GOLDMAN & SPITZER                           JENSEN               RICHARD A             NY         11492099         WILENTZ, GOLDMAN & SPITZER
HOWARD               RUSSELL               NY         12450802         WILENTZ, GOLDMAN & SPITZER                           JERMINARIO           BENJAMIN G            NY         10166900         WILENTZ, GOLDMAN & SPITZER
HOWARD               WALTER J              NY         11286900         WILENTZ, GOLDMAN & SPITZER                           JIMENEZ              EMILIO                NY         10627300         WILENTZ, GOLDMAN & SPITZER
HUBER                PHILIP E              NY         10472603         WILENTZ, GOLDMAN & SPITZER                           JOHANSON             BARBARA               NY         11076300         WILENTZ, GOLDMAN & SPITZER
HUBER                WILLIAM C             NY         12214702         WILENTZ, GOLDMAN & SPITZER                           JOHANSON             JOSEPH                NY         11137399         WILENTZ, GOLDMAN & SPITZER
HUCKER               AUSTIN                NY         10184202         WILENTZ, GOLDMAN & SPITZER                           JOHANSON             LYNNE                 NY         11137399         WILENTZ, GOLDMAN & SPITZER
HUDOCK               EMIL                  NJ         791680           WILENTZ, GOLDMAN & SPITZER                           JOHANSON             WALLACE               NY         11076300         WILENTZ, GOLDMAN & SPITZER
HUDOCK               STELLA                NJ         791680           WILENTZ, GOLDMAN & SPITZER                           JOHN                 ALAN                  NY         11867000         WILENTZ, GOLDMAN & SPITZER
HUFF                 AMY L                 NY         10423103         WILENTZ, GOLDMAN & SPITZER                           JOHN                 LILLIAN               NY         11867000         WILENTZ, GOLDMAN & SPITZER
HUFF                 CARLTON N             NY         10423103         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              GENE E                NY         10269203         WILENTZ, GOLDMAN & SPITZER
HUGHES               JAMES E               NY         11957199         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              GEORGE W              NY         12431599         WILENTZ, GOLDMAN & SPITZER
HUGHES               JOHN                  NY         10188595         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              GERARD M              NY         11688602         WILENTZ, GOLDMAN & SPITZER
HUGHES               THOMAS                NY         10999898         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              JAMES JR              NY         12950900         WILENTZ, GOLDMAN & SPITZER
HULICK               ALBERT                NY         11680001         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              LANE                  NY         11286900         WILENTZ, GOLDMAN & SPITZER
HUMPHREYS            WILLIAM               NJ         MIDL311105AS     WILENTZ, GOLDMAN & SPITZER                           JOHNSON              PETER                 NY         11121201         WILENTZ, GOLDMAN & SPITZER
HUNKER               JAMES                 NY         12950900         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              RICHARD V             NY         11076300         WILENTZ, GOLDMAN & SPITZER
HURON                ROBERT                NY         11662201         WILENTZ, GOLDMAN & SPITZER                           JOHNSON              SAMUEL                NY         10415501         WILENTZ, GOLDMAN & SPITZER
HURST                WALLACE               NY         10415601         WILENTZ, GOLDMAN & SPITZER                           JONES                BRIAN                 NY         10520704         WILENTZ, GOLDMAN & SPITZER
HUTTER               JACOB                 NY         10627300         WILENTZ, GOLDMAN & SPITZER                           JONES                HARRISON B            NY         10588601         WILENTZ, GOLDMAN & SPITZER
HYNES                PATRICIA              NY         11911898         WILENTZ, GOLDMAN & SPITZER                           JONES                HATTIE MAE            NY         12089901         WILENTZ, GOLDMAN & SPITZER
HYNES                THOMAS                NY         11911898         WILENTZ, GOLDMAN & SPITZER                           JONES                WALTER R              NY         12089901         WILENTZ, GOLDMAN & SPITZER
IACONA               PASQUALE              NY         12215200         WILENTZ, GOLDMAN & SPITZER                           JONSSON              ALLEN                 NY         12083898         WILENTZ, GOLDMAN & SPITZER
IACOVIELLO           PASQUALE              NY         11484200         WILENTZ, GOLDMAN & SPITZER                           JORDAN               CHARLES R             NY         10188595         WILENTZ, GOLDMAN & SPITZER
IAFFALDANO           NICOLA                NY         12950900         WILENTZ, GOLDMAN & SPITZER                           JORDON               JOSEPH E              NY         11476701         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1117
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 452 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

JOSEPH               MARTIN                NY         10992804         WILENTZ, GOLDMAN & SPITZER                           KILLEEN              FRANCIS T             NY         12269900         WILENTZ, GOLDMAN & SPITZER
JOSEPH               MARTIN                NY         10993104         WILENTZ, GOLDMAN & SPITZER                           KILLEEN              IMELDA                NY         12269900         WILENTZ, GOLDMAN & SPITZER
JOUDY                RAYMOND D             NY         10353400         WILENTZ, GOLDMAN & SPITZER                           KILMER               BLAINE L              NY         10166900         WILENTZ, GOLDMAN & SPITZER
JOYCE                MARTIN                NY         10184202         WILENTZ, GOLDMAN & SPITZER                           KILMNICK             PHILIP                NY         12276899         WILENTZ, GOLDMAN & SPITZER
JUBIE                ANTHONY               NY         11735098         WILENTZ, GOLDMAN & SPITZER                           KING                 CATHERINE             NY         10844706         WILENTZ, GOLDMAN & SPITZER
JUBIE                MYRA                  NY         11735098         WILENTZ, GOLDMAN & SPITZER                           KING                 JAMES B               NY         10499207         WILENTZ, GOLDMAN & SPITZER
JUDGE                ELINOR                NY         11680001         WILENTZ, GOLDMAN & SPITZER                           KING                 MICHAEL H             NY         10844706         WILENTZ, GOLDMAN & SPITZER
JUDGE                GORDON                NY         11680001         WILENTZ, GOLDMAN & SPITZER                           KINNEY               CLAUDE                NJ         L04544283        WILENTZ, GOLDMAN & SPITZER
JUHN                 KARL H                NY         10665099         WILENTZ, GOLDMAN & SPITZER                           KINSELLA             LOUIS                 NY         10520704         WILENTZ, GOLDMAN & SPITZER
JUHN                 MARY                  NY         10665099         WILENTZ, GOLDMAN & SPITZER                           KINTIS               LEONIDAS              NY         11061501         WILENTZ, GOLDMAN & SPITZER
JUSTINO              VINCENT               NY         12249598         WILENTZ, GOLDMAN & SPITZER                           KIRBY                ALBERT                NY         11726602         WILENTZ, GOLDMAN & SPITZER
JUTROWSKI            KLEM                  NY         10369105         WILENTZ, GOLDMAN & SPITZER                           KISHBAUGH            NORMAN                NY         11286900         WILENTZ, GOLDMAN & SPITZER
KACHUK               ALLAN R               NY         11162102         WILENTZ, GOLDMAN & SPITZER                           KISSEL               PAUL J                NY         10353500         WILENTZ, GOLDMAN & SPITZER
KAFARSKI             LORETTA               NJ         L06067985        WILENTZ, GOLDMAN & SPITZER                           KITSAKOS             SPERO                 NY         10415601         WILENTZ, GOLDMAN & SPITZER
KAFKA                JOHN F                NY         10188595         WILENTZ, GOLDMAN & SPITZER                           KLETTLINGER          FRED                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
KAISER               DOROTHY               NY         12950900         WILENTZ, GOLDMAN & SPITZER                           KLEVEN               JAMES                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
KAJETANOWICZ         RICHARD R             NY         11286900         WILENTZ, GOLDMAN & SPITZER                           KLEVEN               SHERYL                NY         11230698         WILENTZ, GOLDMAN & SPITZER
KALINOWSKI           LINA                  NY         11735098         WILENTZ, GOLDMAN & SPITZER                           KLING                RICHARD C             NY         10896500         WILENTZ, GOLDMAN & SPITZER
KALINOWSKI           THOMAS                NY         11735098         WILENTZ, GOLDMAN & SPITZER                           KNAPP                ROBERT S              NY         19012109         WILENTZ, GOLDMAN & SPITZER
KANE                 DOROTHY A             NY         12201099         WILENTZ, GOLDMAN & SPITZER                           KNUCKLE              DENNIS E              NY         10353500         WILENTZ, GOLDMAN & SPITZER
KANE                 ELIZABETH             NY         11270699         WILENTZ, GOLDMAN & SPITZER                           KOCH                 THOMAS F              NY         11957099         WILENTZ, GOLDMAN & SPITZER
KANE                 JOSEPH P              NY         11270699         WILENTZ, GOLDMAN & SPITZER                           KOCHMAN              FERDINAND             NY         12215200         WILENTZ, GOLDMAN & SPITZER
KANE                 RAYMOND               NY         10423103         WILENTZ, GOLDMAN & SPITZER                           KOCHMAN              LAURA                 NY         12215200         WILENTZ, GOLDMAN & SPITZER
KANE                 THOMAS D              NY         12201099         WILENTZ, GOLDMAN & SPITZER                           KOEHLER              MICHAEL E             NY         10987101         WILENTZ, GOLDMAN & SPITZER
KANOWICZ             CAROL                 NY         12321898         WILENTZ, GOLDMAN & SPITZER                           KOEPKE               KURT                  NY         12365600         WILENTZ, GOLDMAN & SPITZER
KANOWICZ             ROBERT                NY         12321898         WILENTZ, GOLDMAN & SPITZER                           KOERNER              RONALD                NY         10896500         WILENTZ, GOLDMAN & SPITZER
KANTER               DANIEL                NY         11492099         WILENTZ, GOLDMAN & SPITZER                           KOFMAN               LEOPOLD               NY         11744198         WILENTZ, GOLDMAN & SPITZER
KARCICH              JOSEPH                NY         10188595         WILENTZ, GOLDMAN & SPITZER                           KOGAN                PEARL                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
KARLICH              MARILYN               NY         19040611         WILENTZ, GOLDMAN & SPITZER                           KOGAN                RONALD                NY         11230698         WILENTZ, GOLDMAN & SPITZER
KARLICH              MARIO                 NY         19040611         WILENTZ, GOLDMAN & SPITZER                           KOJALO               ROBERT                NY         11162102         WILENTZ, GOLDMAN & SPITZER
KAROW                JOSEPH                NY         10166800         WILENTZ, GOLDMAN & SPITZER                           KOLLER               EDWARD A              NY         10627100         WILENTZ, GOLDMAN & SPITZER
KATZMANN             BRUCE D               NY         10269203         WILENTZ, GOLDMAN & SPITZER                           KOMONIEWSKI          BERNARD               NY         11076300         WILENTZ, GOLDMAN & SPITZER
KAZAKOWITZ           HARRY                 NY         10166800         WILENTZ, GOLDMAN & SPITZER                           KOMONIEWSKI          BERNARD               NY         1799687          WILENTZ, GOLDMAN & SPITZER
KAZAKOWITZ           KATHRYN               NY         10166800         WILENTZ, GOLDMAN & SPITZER                           KONDRACKI            MARYANN               NY         11698104         WILENTZ, GOLDMAN & SPITZER
KEANE                MARY C                NY         11446802         WILENTZ, GOLDMAN & SPITZER                           KONDRACKI            RICHARD               NY         11698104         WILENTZ, GOLDMAN & SPITZER
KEANE                TIMOTHY               NY         11446802         WILENTZ, GOLDMAN & SPITZER                           KONOWITZ             STACEY                NY         10975906         WILENTZ, GOLDMAN & SPITZER
KEARINS              ANTHONY               NY         10179106         WILENTZ, GOLDMAN & SPITZER                           KOPEIKIN             SOL                   NY         11286900         WILENTZ, GOLDMAN & SPITZER
KEARNEY              PATRICK J             NY         12370201         WILENTZ, GOLDMAN & SPITZER                           KORZENDORFER         KENNETH               NY         10688605         WILENTZ, GOLDMAN & SPITZER
KEAVENY              KEVIN                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           KOWALSKI             ROMAN L               NY         12364099         WILENTZ, GOLDMAN & SPITZER
KEAVENY              MARIANNE              NY         11230698         WILENTZ, GOLDMAN & SPITZER                           KRAJICEK             ALIEEN                NY         10621505         WILENTZ, GOLDMAN & SPITZER
KEENAN               CATHERINE             NY         11735098         WILENTZ, GOLDMAN & SPITZER                           KRAJICEK             JOSEPH                NY         10621505         WILENTZ, GOLDMAN & SPITZER
KEENAN               EDWARD                NY         11735098         WILENTZ, GOLDMAN & SPITZER                           KRAUSE               NORMAN D              NY         10279101         WILENTZ, GOLDMAN & SPITZER
KEENAN               HUGH S                NY         10191207         WILENTZ, GOLDMAN & SPITZER                           KRAVITZ              FRED                  NY         11002502         WILENTZ, GOLDMAN & SPITZER
KEILICH              WALTER H              NY         11162102         WILENTZ, GOLDMAN & SPITZER                           KRETH                ROBERT G              NY         10250500         WILENTZ, GOLDMAN & SPITZER
KELEMEN              MICHAEL               NY         11294805         WILENTZ, GOLDMAN & SPITZER                           KROHN                JOHN SR               NY         12269900         WILENTZ, GOLDMAN & SPITZER
KELLY                FRANCIS J             NY         19020009         WILENTZ, GOLDMAN & SPITZER                           KRSTINIC             GENEVIEVE             NY         12600102         WILENTZ, GOLDMAN & SPITZER
KELLY                FRANK W               NY         10353400         WILENTZ, GOLDMAN & SPITZER                           KRSTINIC             IVAN                  NY         12600102         WILENTZ, GOLDMAN & SPITZER
KELLY                JESSIE                NY         10665099         WILENTZ, GOLDMAN & SPITZER                           KRUEGER              CAROL                 NY         11076300         WILENTZ, GOLDMAN & SPITZER
KELLY                JOSEPH                NY         10833401         WILENTZ, GOLDMAN & SPITZER                           KRUGER               KENNETH               NY         11920398         WILENTZ, GOLDMAN & SPITZER
KELLY                KEVIN M               NY         11887300         WILENTZ, GOLDMAN & SPITZER                           KUDRYCKI             SIGISMUND J           NY         12269900         WILENTZ, GOLDMAN & SPITZER
KELLY                MATTHEW M             NY         10415601         WILENTZ, GOLDMAN & SPITZER                           KULL                 KENNETH A             NY         12364099         WILENTZ, GOLDMAN & SPITZER
KELLY                RICHARD T             NY         11162102         WILENTZ, GOLDMAN & SPITZER                           KURZ                 JAMES P               NY         10173699         WILENTZ, GOLDMAN & SPITZER
KELLY                ROBERT M              NY         10665099         WILENTZ, GOLDMAN & SPITZER                           KURZ                 MARIA                 NY         10173699         WILENTZ, GOLDMAN & SPITZER
KEMPER               ANTHONY               NY         12269900         WILENTZ, GOLDMAN & SPITZER                           LABARBERA            KATHERINE             NY         19012308         WILENTZ, GOLDMAN & SPITZER
KENNEDY              FRANK H               NY         12450802         WILENTZ, GOLDMAN & SPITZER                           LABARBERA            LAWRENCE              NY         19012308         WILENTZ, GOLDMAN & SPITZER
KENNEDY              JOHN J                NY         10516001         WILENTZ, GOLDMAN & SPITZER                           LABARBERA            RITA                  NY         10665099         WILENTZ, GOLDMAN & SPITZER
KENNEDY              THOMAS P              NY         12276899         WILENTZ, GOLDMAN & SPITZER                           LABARBERA            ROBERT                NY         10665099         WILENTZ, GOLDMAN & SPITZER
KENNY                CHRISTOPHER T         NY         10415601         WILENTZ, GOLDMAN & SPITZER                           LABELLA              FRANK J               NY         11603301         WILENTZ, GOLDMAN & SPITZER
KEOHAN               GEORGE P              NY         12231499         WILENTZ, GOLDMAN & SPITZER                           LABOY                FAUSTINO              NY         11029699         WILENTZ, GOLDMAN & SPITZER
KERSHNER             LESLIE                NY         11957099         WILENTZ, GOLDMAN & SPITZER                           LABOY                NORMA                 NY         11029699         WILENTZ, GOLDMAN & SPITZER
KEUPP                GEORGE J SR           NY         10353400         WILENTZ, GOLDMAN & SPITZER                           LABRUZZI             FRANK                 NY         11662301         WILENTZ, GOLDMAN & SPITZER
KEYSER               WALTER                NY         11061501         WILENTZ, GOLDMAN & SPITZER                           LACALANDRA           ANTHONY N             NY         12249598         WILENTZ, GOLDMAN & SPITZER
KHAN                 YAKUB                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           LACEY                MONICA                NY         10999898         WILENTZ, GOLDMAN & SPITZER
KHAN                 ZORLAKHAR             NY         11230698         WILENTZ, GOLDMAN & SPITZER                           LACHASE              PAULINE B             NY         11465799         WILENTZ, GOLDMAN & SPITZER
KHEALIE              RALPH                 NY         12083898         WILENTZ, GOLDMAN & SPITZER                           LACHASE              RICHARD N             NY         11465799         WILENTZ, GOLDMAN & SPITZER
KIBAL                JOHN                  NJ         L06068885        WILENTZ, GOLDMAN & SPITZER                           LAFFAN               ELIZABETH V           NY         11465799         WILENTZ, GOLDMAN & SPITZER
KIELTY               EDWARD R              NY         11688602         WILENTZ, GOLDMAN & SPITZER                           LAFFAN               JAMES F               NY         11465799         WILENTZ, GOLDMAN & SPITZER
KIERNAN              IRENE                 NY         11137399         WILENTZ, GOLDMAN & SPITZER                           LAFOREY              DONALD                NY         11286900         WILENTZ, GOLDMAN & SPITZER
KIERNAN              JAMES                 NY         11137399         WILENTZ, GOLDMAN & SPITZER                           LAGALANTE            NICHOLAS              NY         12591600         WILENTZ, GOLDMAN & SPITZER
KILCHESKI            EDWARD J              NY         10188595         WILENTZ, GOLDMAN & SPITZER                           LAGANA               GEORGE J              NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
KILGANNON            KENNETH               NY         11162102         WILENTZ, GOLDMAN & SPITZER                           LAGAZZO              LILLIAN L             NY         11061501         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1118
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 453 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LAGAZZO              PETER                 NY         11061501         WILENTZ, GOLDMAN & SPITZER                           LEWIS                BARRY                 NY         12591600         WILENTZ, GOLDMAN & SPITZER
LAINO                VINCENT               NY         10214606         WILENTZ, GOLDMAN & SPITZER                           LEWIS                DAVID                 NY         12556100         WILENTZ, GOLDMAN & SPITZER
LAKAS                ALPHONSE D            NY         11522001         WILENTZ, GOLDMAN & SPITZER                           LEWIS                EVERETT L             NY         117763           WILENTZ, GOLDMAN & SPITZER
LAMARCO              CHARLES               NY         10173699         WILENTZ, GOLDMAN & SPITZER                           LEWIS                GILBERT               NY         11565002         WILENTZ, GOLDMAN & SPITZER
LAMARCO              PATRICIA              NY         10173699         WILENTZ, GOLDMAN & SPITZER                           LEWIS                THERESA               NY         117763           WILENTZ, GOLDMAN & SPITZER
LAMATTINA            NICHOLAS              NY         10473302         WILENTZ, GOLDMAN & SPITZER                           L'HOMMEDIEU          RICHARD G             NY         12249598         WILENTZ, GOLDMAN & SPITZER
LAMONT               JOHN                  NY         12269900         WILENTZ, GOLDMAN & SPITZER                           LICASTRO             ANTONIO               NY         10171407         WILENTZ, GOLDMAN & SPITZER
LANCELLOTTI          CLARA                 NY         11331603         WILENTZ, GOLDMAN & SPITZER                           LIEB                 PHILLIP               NY         12014903         WILENTZ, GOLDMAN & SPITZER
LANCELLOTTI          VINCENZO              NY         11331603         WILENTZ, GOLDMAN & SPITZER                           LIEFIELD             EDWARD J              NY         11998898         WILENTZ, GOLDMAN & SPITZER
LANTIERI             BENJAMIN J            NY         11887300         WILENTZ, GOLDMAN & SPITZER                           LIEFIELD             SUSAN                 NY         11998898         WILENTZ, GOLDMAN & SPITZER
LAPIANA              FRANCESCA             NY         11522001         WILENTZ, GOLDMAN & SPITZER                           LIENHARD             GEORGE JR             NY         12201099         WILENTZ, GOLDMAN & SPITZER
LAPIANA              ROSARIO               NY         11522001         WILENTZ, GOLDMAN & SPITZER                           LIGHT                JOHN F                NY         11680001         WILENTZ, GOLDMAN & SPITZER
LAPLACA              FRANK C               NY         10269203         WILENTZ, GOLDMAN & SPITZER                           LINES                HELEN                 NY         11695607         WILENTZ, GOLDMAN & SPITZER
LARDARO              CAESAR C              NY         117763           WILENTZ, GOLDMAN & SPITZER                           LINES                HENRY J               NY         11695607         WILENTZ, GOLDMAN & SPITZER
LARDARO              CARMELLA              NY         117763           WILENTZ, GOLDMAN & SPITZER                           LINNEMAN             GEORGE J              NY         10999898         WILENTZ, GOLDMAN & SPITZER
LARDARO              HAROLD J              NY         11016101         WILENTZ, GOLDMAN & SPITZER                           LIPARI               ROSARIA               NY         11331603         WILENTZ, GOLDMAN & SPITZER
LARKIN               JAMES J               NY         12249598         WILENTZ, GOLDMAN & SPITZER                           LIPARI               SALVATORE             NY         11331603         WILENTZ, GOLDMAN & SPITZER
LARKIN               PATRICIA              NY         12249598         WILENTZ, GOLDMAN & SPITZER                           LISI                 ANTHONY               NY         10833401         WILENTZ, GOLDMAN & SPITZER
LAROCCA              JOSEPH                NY         11957299         WILENTZ, GOLDMAN & SPITZER                           LISICKY              VINCENT               NY         10191107         WILENTZ, GOLDMAN & SPITZER
LAROCCO              JOSEPH                NY         12269900         WILENTZ, GOLDMAN & SPITZER                           LISTORTI             JOSEPH                NY         10796602         WILENTZ, GOLDMAN & SPITZER
LASHER               ALFRED H              NY         10166900         WILENTZ, GOLDMAN & SPITZER                           LISTORTI             VICTOR A              NY         10796602         WILENTZ, GOLDMAN & SPITZER
LATACZ               ANTHONY               NY         10842101         WILENTZ, GOLDMAN & SPITZER                           LOBASSO              MICHAEL               NY         10750501         WILENTZ, GOLDMAN & SPITZER
LATTANZIO            DARIO                 NY         11295800         WILENTZ, GOLDMAN & SPITZER                           LOBRUTTO             PAUL                  NY         12081700         WILENTZ, GOLDMAN & SPITZER
LATUDA               LOUIS                 NY         19006308         WILENTZ, GOLDMAN & SPITZER                           LOBUE                ANTHONY J             NY         12081700         WILENTZ, GOLDMAN & SPITZER
LAUFER               ARTHUR J SR           NY         10311601         WILENTZ, GOLDMAN & SPITZER                           LOGAN                BERNADETTE            NY         11794006         WILENTZ, GOLDMAN & SPITZER
LAURIA               CHARLES F             NY         11793706         WILENTZ, GOLDMAN & SPITZER                           LOGAN                DENNIS                NY         11794006         WILENTZ, GOLDMAN & SPITZER
LAURIA               DENNIS                NY         11957199         WILENTZ, GOLDMAN & SPITZER                           LOGAN                JAKE                  NY         10588601         WILENTZ, GOLDMAN & SPITZER
LAVADERA             ANTONIO               NY         12269900         WILENTZ, GOLDMAN & SPITZER                           LOGAN                JAMES T               NY         11726602         WILENTZ, GOLDMAN & SPITZER
LAVIOLA              JOSEPH J              NY         11759499         WILENTZ, GOLDMAN & SPITZER                           LOHAN                MARILYN               NY         10243701         WILENTZ, GOLDMAN & SPITZER
LAWLER               FRANK                 NY         10415601         WILENTZ, GOLDMAN & SPITZER                           LOHAN                RICHARD E             NY         10243701         WILENTZ, GOLDMAN & SPITZER
LAWLER               STELLA J              NY         10415601         WILENTZ, GOLDMAN & SPITZER                           LOIA                 FRANK                 NY         10833401         WILENTZ, GOLDMAN & SPITZER
LAWLESS              JOHN                  NY         10353500         WILENTZ, GOLDMAN & SPITZER                           LOICANO              JOHN N                NY         10833401         WILENTZ, GOLDMAN & SPITZER
LAWRENCE             JOYCE                 NY         11565002         WILENTZ, GOLDMAN & SPITZER                           LOMBARDI             ALFRED                NY         11603301         WILENTZ, GOLDMAN & SPITZER
LAWRENCE             KENNETH               NY         11565002         WILENTZ, GOLDMAN & SPITZER                           LOMBARDI             ANNA                  NY         10999898         WILENTZ, GOLDMAN & SPITZER
LAZAREVIC            DRAGON                NY         10520704         WILENTZ, GOLDMAN & SPITZER                           LOMBARDI             CARL J                NY         10999898         WILENTZ, GOLDMAN & SPITZER
LAZAREVIC            STANIMAR              NY         10520704         WILENTZ, GOLDMAN & SPITZER                           LOMBARDO             JOHN                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
LAZAREVIC            VLADICA               NY         10520704         WILENTZ, GOLDMAN & SPITZER                           LOMONACO             ALFRED J              NY         11998898         WILENTZ, GOLDMAN & SPITZER
LAZZARA              PETER J               NY         10987101         WILENTZ, GOLDMAN & SPITZER                           LOMONACO             VINCENZA              NY         11998898         WILENTZ, GOLDMAN & SPITZER
LEAHY                JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER                           LONG                 DANIEL J              NY         12509994         WILENTZ, GOLDMAN & SPITZER
LEANDER              ERNEST                NY         10521299         WILENTZ, GOLDMAN & SPITZER                           LONG                 EDWARD C              NY         10353500         WILENTZ, GOLDMAN & SPITZER
LEANDRO              PATRICK               NY         10188595         WILENTZ, GOLDMAN & SPITZER                           LONGO                ALFONSO J             NY         12014903         WILENTZ, GOLDMAN & SPITZER
LEBEL                EDWARD R              NY         12222400         WILENTZ, GOLDMAN & SPITZER                           LONGSHAW             ERSKINE               NY         11759499         WILENTZ, GOLDMAN & SPITZER
LEET                 WILLIAM B             NY         11680001         WILENTZ, GOLDMAN & SPITZER                           LOPEZ                CARLOS J              NY         10796602         WILENTZ, GOLDMAN & SPITZER
LEICKERT             RICHARD               NY         11331603         WILENTZ, GOLDMAN & SPITZER                           LOPEZ                JOSEPH                NY         12431599         WILENTZ, GOLDMAN & SPITZER
LEMYRE               PATRICK L             NY         10516001         WILENTZ, GOLDMAN & SPITZER                           LOPRIMO              RONALD                NY         10987101         WILENTZ, GOLDMAN & SPITZER
LENHART              JOSEPH C SR           NY         11957099         WILENTZ, GOLDMAN & SPITZER                           LORO                 LEONCIO               NY         12083898         WILENTZ, GOLDMAN & SPITZER
LENKERSDORF          HERMAN T              NY         10353400         WILENTZ, GOLDMAN & SPITZER                           LOTREAN              SIMEON                NY         10166800         WILENTZ, GOLDMAN & SPITZER
LENNON               MARY J                NY         12089901         WILENTZ, GOLDMAN & SPITZER                           LOUDENBERRY          JOHN EDWARD           NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
LENTINI              SALVATORE             NY         10171107         WILENTZ, GOLDMAN & SPITZER                           LOUGHLIN             WILLIAM               NY         11566005         WILENTZ, GOLDMAN & SPITZER
LEO                  PAUL G                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           LOVAGLIO             DANIEL J              NY         10521299         WILENTZ, GOLDMAN & SPITZER
LEO                  THOMAS J              NY         10188595         WILENTZ, GOLDMAN & SPITZER                           LOVERDE              ALICE                 NY         11735098         WILENTZ, GOLDMAN & SPITZER
LEON                 FERNANDO              NY         12081700         WILENTZ, GOLDMAN & SPITZER                           LOVERDE              LAWRENCE              NY         11735098         WILENTZ, GOLDMAN & SPITZER
LEONARD              ANNA                  NY         11230698         WILENTZ, GOLDMAN & SPITZER                           LOVERDI              JEROME                NY         12600102         WILENTZ, GOLDMAN & SPITZER
LEONARD              BERTRAM               NY         10766703         WILENTZ, GOLDMAN & SPITZER                           LOVERGINE            STEVEN                NY         11230698         WILENTZ, GOLDMAN & SPITZER
LEONARD              DONALD                NY         12269900         WILENTZ, GOLDMAN & SPITZER                           LOW                  PETRINA               NY         10415601         WILENTZ, GOLDMAN & SPITZER
LEONARD              JOHN                  NY         11230698         WILENTZ, GOLDMAN & SPITZER                           LOWRY                PATRICK L             NY         10516001         WILENTZ, GOLDMAN & SPITZER
LEONARD              LILA                  NY         10766703         WILENTZ, GOLDMAN & SPITZER                           LOWTHER              CHARLENE J            NY         10179406         WILENTZ, GOLDMAN & SPITZER
LEONARD              NOVA                  NY         12196903         WILENTZ, GOLDMAN & SPITZER                           LOWTHER              LESLIE L              NY         10179406         WILENTZ, GOLDMAN & SPITZER
LEONARD              OLIVER                NY         12196903         WILENTZ, GOLDMAN & SPITZER                           LUBURICH             FRANK                 NY         10473302         WILENTZ, GOLDMAN & SPITZER
LEONARDI             ALFREDO               NY         10750501         WILENTZ, GOLDMAN & SPITZER                           LUCCIOLA             PLINIO                NY         11957099         WILENTZ, GOLDMAN & SPITZER
LEONE                ALFRED L              NY         12231499         WILENTZ, GOLDMAN & SPITZER                           LUCHART              WALTER J              NY         11002502         WILENTZ, GOLDMAN & SPITZER
LEONE                CATALDO               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           LUFRANO              NICHOLAS              NY         12269900         WILENTZ, GOLDMAN & SPITZER
LEROUX               LYNN J                NY         11294705         WILENTZ, GOLDMAN & SPITZER                           LUKACH               EDWARD W              NY         11476701         WILENTZ, GOLDMAN & SPITZER
LEROUX               THOMAS B              NY         11294705         WILENTZ, GOLDMAN & SPITZER                           LUKASCHEK            EWALD J               NY         11002502         WILENTZ, GOLDMAN & SPITZER
LESHNER              MORRIS                NY         10752899         WILENTZ, GOLDMAN & SPITZER                           LUONGO               MIKE                  NY         10188595         WILENTZ, GOLDMAN & SPITZER
LESHNER              SARAH B               NY         10752899         WILENTZ, GOLDMAN & SPITZER                           LUPO                 THOMAS                NY         11331603         WILENTZ, GOLDMAN & SPITZER
LETTIERE             CATHERINE             NY         11565002         WILENTZ, GOLDMAN & SPITZER                           LUPSKI               HELEN                 NY         11137399         WILENTZ, GOLDMAN & SPITZER
LEUZZI               JOSEPH L              NY         11465799         WILENTZ, GOLDMAN & SPITZER                           LUPSKI               JOHN W                NY         11137399         WILENTZ, GOLDMAN & SPITZER
LEUZZI               ROSE                  NY         11465799         WILENTZ, GOLDMAN & SPITZER                           LUST                 JOSEPHINE             NY         19000908         WILENTZ, GOLDMAN & SPITZER
LEVINE               LESLIE M              NY         12434600         WILENTZ, GOLDMAN & SPITZER                           LUST                 LEONARD M             NY         19000908         WILENTZ, GOLDMAN & SPITZER
LEVINE               ROBERT                NY         11957099         WILENTZ, GOLDMAN & SPITZER                           LUTHER               WALTER J              NY         11476701         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1119
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 454 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

LUZZI                JOSEPH J              NY         10271102         WILENTZ, GOLDMAN & SPITZER                           MARCE                STEVE J. JR.          NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
LUZZO                MICHAEL A             NY         11778699         WILENTZ, GOLDMAN & SPITZER                           MARCEAU              SUZANNE               NY         11137399         WILENTZ, GOLDMAN & SPITZER
LYNCH                DOROTHY               NY         10173699         WILENTZ, GOLDMAN & SPITZER                           MARCEAU              WILLIAM J JR          NY         11137399         WILENTZ, GOLDMAN & SPITZER
LYNCH                FRANCIS               NY         12269900         WILENTZ, GOLDMAN & SPITZER                           MARCHESCHI           ANNA                  NY         10944198         WILENTZ, GOLDMAN & SPITZER
LYNCH                JAMES                 NY         10173699         WILENTZ, GOLDMAN & SPITZER                           MARCHESCHI           RONALD E SR           NY         10944198         WILENTZ, GOLDMAN & SPITZER
LYNCH                NANCY                 NY         12335999         WILENTZ, GOLDMAN & SPITZER                           MARCHLEWSKI          THOMAS J              NY         12509994         WILENTZ, GOLDMAN & SPITZER
LYNCH                THOMAS                NY         12335999         WILENTZ, GOLDMAN & SPITZER                           MARCIANO             ANGELO                NY         12083898         WILENTZ, GOLDMAN & SPITZER
LYONS                JAMES                 NY         10472603         WILENTZ, GOLDMAN & SPITZER                           MARCONI              EUGENE                NY         11173499         WILENTZ, GOLDMAN & SPITZER
LYONS                JOAN                  NY         10472603         WILENTZ, GOLDMAN & SPITZER                           MARCOTULLIO          PASQUALE              NY         11897103         WILENTZ, GOLDMAN & SPITZER
LYONS                JOHN P                NY         11187601         WILENTZ, GOLDMAN & SPITZER                           MARHAFER             ROGER A               NY         10903398         WILENTZ, GOLDMAN & SPITZER
LYONS                MARTIN D SR           NY         10679501         WILENTZ, GOLDMAN & SPITZER                           MARIGLIANO           RALPH JR              NY         12222400         WILENTZ, GOLDMAN & SPITZER
LYONS                ROBERT                NY         12070402         WILENTZ, GOLDMAN & SPITZER                           MARINO               ANTHONY J             NY         10311601         WILENTZ, GOLDMAN & SPITZER
LYTTLE               JOHN                  NY         10987101         WILENTZ, GOLDMAN & SPITZER                           MARINO               FRANK                 NY         11744198         WILENTZ, GOLDMAN & SPITZER
MAAK                 CHARLES               NY         10499107         WILENTZ, GOLDMAN & SPITZER                           MARINO               LUIGI                 NY         11640500         WILENTZ, GOLDMAN & SPITZER
MACAULAY             WILLIAM B             NY         11465999         WILENTZ, GOLDMAN & SPITZER                           MARKUNAS             EDWARD                NY         12600102         WILENTZ, GOLDMAN & SPITZER
MACCARONE            ANTHONY               NY         11640500         WILENTZ, GOLDMAN & SPITZER                           MARKUNAS             LORETTA               NY         12600102         WILENTZ, GOLDMAN & SPITZER
MACCARONE            LUCY                  NY         11640500         WILENTZ, GOLDMAN & SPITZER                           MARKWICK             GILBERT               NY         10842101         WILENTZ, GOLDMAN & SPITZER
MACELRATH            DON                   NY         11056005         WILENTZ, GOLDMAN & SPITZER                           MARMO                CARMELA               NY         18122/87         WILENTZ, GOLDMAN & SPITZER
MACGREGOR            MEREDITH E            NY         10627300         WILENTZ, GOLDMAN & SPITZER                           MARMO                RUDOLPH               NY         18122/87         WILENTZ, GOLDMAN & SPITZER
MACIOCIA             LEWIS W               NY         12269900         WILENTZ, GOLDMAN & SPITZER                           MAROTTA              ANTHONY               NY         12269900         WILENTZ, GOLDMAN & SPITZER
MACK                 EDWARD L              NY         12314298         WILENTZ, GOLDMAN & SPITZER                           MARRAY               RICHARD               NY         12364099         WILENTZ, GOLDMAN & SPITZER
MACK                 LAWRENCE E            NY         11029699         WILENTZ, GOLDMAN & SPITZER                           MARRI                PETER A               NY         10796602         WILENTZ, GOLDMAN & SPITZER
MACK                 LYNNE                 NY         12314298         WILENTZ, GOLDMAN & SPITZER                           MARRI                PETER W               NY         10796602         WILENTZ, GOLDMAN & SPITZER
MACK                 MARIE M               NY         11029699         WILENTZ, GOLDMAN & SPITZER                           MARROW               CLAVON                NY         12276899         WILENTZ, GOLDMAN & SPITZER
MACKAY               ALEXANDER M           NY         10173699         WILENTZ, GOLDMAN & SPITZER                           MARSCHALL            HOWARD                NY         10516001         WILENTZ, GOLDMAN & SPITZER
MACKAY               ALICE M               NY         10173699         WILENTZ, GOLDMAN & SPITZER                           MARTIN               COLIN N               NY         11162102         WILENTZ, GOLDMAN & SPITZER
MACKEN               PHILIP B              NY         10415601         WILENTZ, GOLDMAN & SPITZER                           MARTIN               GARRETT T             NY         12089901         WILENTZ, GOLDMAN & SPITZER
MACKIE               GERALD                NY         12231499         WILENTZ, GOLDMAN & SPITZER                           MARTIN               MANUEL P              NY         11594503         WILENTZ, GOLDMAN & SPITZER
MACLANE              KENNETH               NY         11492099         WILENTZ, GOLDMAN & SPITZER                           MARTINEZ             EUGENE                NY         11735098         WILENTZ, GOLDMAN & SPITZER
MACLANE              REGINA                NY         11492099         WILENTZ, GOLDMAN & SPITZER                           MARTINEZ             EVELYN                NY         11735098         WILENTZ, GOLDMAN & SPITZER
MADDEN               JOHN J                NY         10643808         WILENTZ, GOLDMAN & SPITZER                           MARTINHO             ALBERTA               NY         11522001         WILENTZ, GOLDMAN & SPITZER
MADSEN               HENRY                 NY         10271102         WILENTZ, GOLDMAN & SPITZER                           MARTINHO             MANUEL                NY         11522001         WILENTZ, GOLDMAN & SPITZER
MAGARINE             DENNIS                NY         11079208         WILENTZ, GOLDMAN & SPITZER                           MARTINO              ROSEMARY              NY         12450802         WILENTZ, GOLDMAN & SPITZER
MAGLIONE             GERALD                NY         11778699         WILENTZ, GOLDMAN & SPITZER                           MARTINO              THOMAS                NY         12450802         WILENTZ, GOLDMAN & SPITZER
MAGLIONE             JOSEPH                NY         10726402         WILENTZ, GOLDMAN & SPITZER                           MARTONE              DANIEL P              NY         10250500         WILENTZ, GOLDMAN & SPITZER
MAGLIONE             MARY                  NY         11137399         WILENTZ, GOLDMAN & SPITZER                           MARTONE              ROSE                  NY         10250500         WILENTZ, GOLDMAN & SPITZER
MAGLIONE             ROBERT L              NY         11137399         WILENTZ, GOLDMAN & SPITZER                           MARTORANA            SALVATORE             NY         11957199         WILENTZ, GOLDMAN & SPITZER
MAHADY               MARY                  NY         10752899         WILENTZ, GOLDMAN & SPITZER                           MARTUCCI             CARL P                NY         11173499         WILENTZ, GOLDMAN & SPITZER
MAHADY               THOMAS O              NY         10752899         WILENTZ, GOLDMAN & SPITZER                           MARULLO              JAMES                 NY         11735098         WILENTZ, GOLDMAN & SPITZER
MAHES                RAJCOMAR              NY         10987101         WILENTZ, GOLDMAN & SPITZER                           MASCARELLA           JAMES                 NY         10903398         WILENTZ, GOLDMAN & SPITZER
MAHONY               PATRICK               NY         10520704         WILENTZ, GOLDMAN & SPITZER                           MASON                WILLIAM E             NY         12364099         WILENTZ, GOLDMAN & SPITZER
MAIER                ROGER P               NY         11137399         WILENTZ, GOLDMAN & SPITZER                           MASTEN               JOHN D                NY         10166900         WILENTZ, GOLDMAN & SPITZER
MAJESKI              JEAN                  NY         10621605         WILENTZ, GOLDMAN & SPITZER                           MASTROCOLA           ROCCO                 NY         11162102         WILENTZ, GOLDMAN & SPITZER
MAJEWSKI             EDWARD W              NY         11076300         WILENTZ, GOLDMAN & SPITZER                           MASTROGIOVANNI       NICOLANGELO           NY         10896500         WILENTZ, GOLDMAN & SPITZER
MAKER                WILLIAM M             NY         11957199         WILENTZ, GOLDMAN & SPITZER                           MASTROPIETRO         JOSEPH                NY         10311601         WILENTZ, GOLDMAN & SPITZER
MAKLAK               WALTER                NJ         L06067985        WILENTZ, GOLDMAN & SPITZER                           MATHIS               HERBERT               NY         12070402         WILENTZ, GOLDMAN & SPITZER
MALAFI               JOSEPH                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           MATRONIANO           FRANK                 NY         10269203         WILENTZ, GOLDMAN & SPITZER
MALANOWSKI           LEON R                NY         12222400         WILENTZ, GOLDMAN & SPITZER                           MATTALIANO           VINCENT J             NY         11897103         WILENTZ, GOLDMAN & SPITZER
MALCHUSKI            EDWARD E              NY         10516001         WILENTZ, GOLDMAN & SPITZER                           MATTERA              JOSEPH                NY         12249598         WILENTZ, GOLDMAN & SPITZER
MALINOWSKI           NANCY                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           MATTERA              VITO                  NY         11603301         WILENTZ, GOLDMAN & SPITZER
MALINOWSKI           THOMAS                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           MATTHEWS             JOSEPH E              NY         11887300         WILENTZ, GOLDMAN & SPITZER
MALLGRAF             JAMES                 NY         11688602         WILENTZ, GOLDMAN & SPITZER                           MATTIA               RONALD                NY         12600102         WILENTZ, GOLDMAN & SPITZER
MALONE               FRANCES               NY         12197003         WILENTZ, GOLDMAN & SPITZER                           MATYASOVICS          JOHN V                NY         12314298         WILENTZ, GOLDMAN & SPITZER
MALONE               RICHARD               NY         12197003         WILENTZ, GOLDMAN & SPITZER                           MAUCH                PAUL R                NY         10992804         WILENTZ, GOLDMAN & SPITZER
MALTAGHATI           PHILIP                NY         10188595         WILENTZ, GOLDMAN & SPITZER                           MAUCH                PAUL R                NY         10993004         WILENTZ, GOLDMAN & SPITZER
MAMMINA              ANTHONY J             NY         12201099         WILENTZ, GOLDMAN & SPITZER                           MAVARO               SALVATORE             NY         11726602         WILENTZ, GOLDMAN & SPITZER
MAMMINA              FREDA                 NY         12201099         WILENTZ, GOLDMAN & SPITZER                           MAX                  DAVID                 NJ         MIDL582216AS     WILENTZ, GOLDMAN & SPITZER
MANCUSO              CATHERINE             NY         10588501         WILENTZ, GOLDMAN & SPITZER                           MAXWELL              ARTHUR                NY         11998898         WILENTZ, GOLDMAN & SPITZER
MANCUSO              ERNEST SR             NY         11957099         WILENTZ, GOLDMAN & SPITZER                           MAXWELL              DENNIS J              NY         10796602         WILENTZ, GOLDMAN & SPITZER
MANCUSO              LOUIS A               NY         12014903         WILENTZ, GOLDMAN & SPITZER                           MAXWELL              MARIE                 NY         11998898         WILENTZ, GOLDMAN & SPITZER
MANCUSO              MARIO                 NY         10588501         WILENTZ, GOLDMAN & SPITZER                           MAY                  ROBERT A              NY         11887300         WILENTZ, GOLDMAN & SPITZER
MANDARANO            NICHOLAS              NY         11956401         WILENTZ, GOLDMAN & SPITZER                           MAYER                ALBERT                NY         10188595         WILENTZ, GOLDMAN & SPITZER
MANFRED              RAYMOND H             NY         12083898         WILENTZ, GOLDMAN & SPITZER                           MAZUR                STANLEY               NY         10896500         WILENTZ, GOLDMAN & SPITZER
MANGANARO            THOMAS                NY         11603301         WILENTZ, GOLDMAN & SPITZER                           MAZZA                LOUIS R               NY         11957199         WILENTZ, GOLDMAN & SPITZER
MANIACI              ROCCO                 NY         11016101         WILENTZ, GOLDMAN & SPITZER                           MAZZOCCHI            JOSEPH                NY         11640500         WILENTZ, GOLDMAN & SPITZER
MANSER               PATRICIA              NY         11230698         WILENTZ, GOLDMAN & SPITZER                           MCADAMS              EILEEN                NY         11744198         WILENTZ, GOLDMAN & SPITZER
MANSER               RUDOLPH               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           MCADAMS              JOHN                  NY         11744198         WILENTZ, GOLDMAN & SPITZER
MARAFFINO            STEPHEN               NY         11888303         WILENTZ, GOLDMAN & SPITZER                           MCALEER              MICHAEL               NY         10744804         WILENTZ, GOLDMAN & SPITZER
MARAGNI              ANGELO                NY         10243701         WILENTZ, GOLDMAN & SPITZER                           MCALISTER            ALLEN                 NY         11286900         WILENTZ, GOLDMAN & SPITZER
MARANO               ALDO                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           MCBRIDE              THEODORE              NY         11867000         WILENTZ, GOLDMAN & SPITZER
MARANO               ANTOINETTE            NY         10469596         WILENTZ, GOLDMAN & SPITZER                           MCCAFFREY            JAMES                 NY         11726602         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1120
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 455 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MCCAHILL             MARY                  NY         10726302         WILENTZ, GOLDMAN & SPITZER                           MEADE                CREIGHTON             NY         11733101         WILENTZ, GOLDMAN & SPITZER
MCCALLUM             JAMES T               NY         12370201         WILENTZ, GOLDMAN & SPITZER                           MEADOWS              HERBERT               NJ         L030391          WILENTZ, GOLDMAN & SPITZER
MCCANDLESS           JAMES E               NY         11162102         WILENTZ, GOLDMAN & SPITZER                           MECCA                HELENA                NY         12314298         WILENTZ, GOLDMAN & SPITZER
MCCARTHY             JOSEPH P              NY         10188595         WILENTZ, GOLDMAN & SPITZER                           MECCA                LEONARD               NY         12314298         WILENTZ, GOLDMAN & SPITZER
MCCARTY              MICHAEL F             NY         11565002         WILENTZ, GOLDMAN & SPITZER                           MEE                  THOMAS J              NY         12509994         WILENTZ, GOLDMAN & SPITZER
MCCLOUD              GEORGE                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           MEEHAN               JAMES                 NY         11735098         WILENTZ, GOLDMAN & SPITZER
MCCLOUD              KATHRYN               NY         10473302         WILENTZ, GOLDMAN & SPITZER                           MEEHAN               KENNETH               NY         12314298         WILENTZ, GOLDMAN & SPITZER
MCCORMACK            CHRISTOPHER           NY         12556100         WILENTZ, GOLDMAN & SPITZER                           MEEHAN               MARGARET              NY         11735098         WILENTZ, GOLDMAN & SPITZER
MCCORMACK            JAMES                 NY         11331603         WILENTZ, GOLDMAN & SPITZER                           MEEKINS              ALVIN                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
MCCOURT              JOHN                  NY         10896500         WILENTZ, GOLDMAN & SPITZER                           MEEKINS              EDGAR                 NY         10415501         WILENTZ, GOLDMAN & SPITZER
MCCOY                CHRISTOPHER           NY         11688602         WILENTZ, GOLDMAN & SPITZER                           MEEKINS              MARGARET              NY         10415501         WILENTZ, GOLDMAN & SPITZER
MCCROSSAN            GEORGE                NY         10415501         WILENTZ, GOLDMAN & SPITZER                           MEGARGEE             JOHN A                NY         10627300         WILENTZ, GOLDMAN & SPITZER
MCCULLOCH            JOHN                  NY         10744804         WILENTZ, GOLDMAN & SPITZER                           MEIKLE               JAMES                 NY         12089901         WILENTZ, GOLDMAN & SPITZER
MCCULLOUGH           DONALD                NY         11698204         WILENTZ, GOLDMAN & SPITZER                           MELITA               DEBORAH               NY         11137399         WILENTZ, GOLDMAN & SPITZER
MCCULLOUGH           ELIZABETH             NY         11698204         WILENTZ, GOLDMAN & SPITZER                           MELITA               MICHAEL               NY         11137399         WILENTZ, GOLDMAN & SPITZER
MCCUTCHEN            JAMES J               NY         12556100         WILENTZ, GOLDMAN & SPITZER                           MELITA               VINCENT               NY         11434105         WILENTZ, GOLDMAN & SPITZER
MCDERMOTT            ELLEN                 NY         12509994         WILENTZ, GOLDMAN & SPITZER                           MELITO               KENNETH               NY         10415501         WILENTZ, GOLDMAN & SPITZER
MCDERMOTT            KATHLEEN              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           MELLEN               ELEANOR               NY         10842101         WILENTZ, GOLDMAN & SPITZER
MCDERMOTT            MICHAEL P             NY         12509994         WILENTZ, GOLDMAN & SPITZER                           MELLEN               JOHN                  NY         10842101         WILENTZ, GOLDMAN & SPITZER
MCDERMOTT            RICHARD W             NY         11998898         WILENTZ, GOLDMAN & SPITZER                           MELODY               BRIDGET               NY         11492099         WILENTZ, GOLDMAN & SPITZER
MCDONALD             KEVIN D               NY         11793806         WILENTZ, GOLDMAN & SPITZER                           MELODY               JOHN                  NY         11492099         WILENTZ, GOLDMAN & SPITZER
MCDOUGALL            JAMES SR              NY         12314298         WILENTZ, GOLDMAN & SPITZER                           MENEKOU              CATHERINE             NY         11230698         WILENTZ, GOLDMAN & SPITZER
MCELHONE             HUGH                  NY         10750501         WILENTZ, GOLDMAN & SPITZER                           MENEKOU              JOHN                  NY         11230698         WILENTZ, GOLDMAN & SPITZER
MCELHONE             MARY                  NY         10750501         WILENTZ, GOLDMAN & SPITZER                           MENIN                RONALD                NY         11522001         WILENTZ, GOLDMAN & SPITZER
MCENROE              JOSEPH                NJ         L967199          WILENTZ, GOLDMAN & SPITZER                           MENNELLA             GIOVANNI              NY         10353400         WILENTZ, GOLDMAN & SPITZER
MCEVOY               RAYMOND M             NY         12089901         WILENTZ, GOLDMAN & SPITZER                           MERCIECA             PHILIP                NY         10353500         WILENTZ, GOLDMAN & SPITZER
MCGANN               JOHN                  NY         11162102         WILENTZ, GOLDMAN & SPITZER                           MERCURIO             DIANE                 NY         10987101         WILENTZ, GOLDMAN & SPITZER
MCGANN               PATRICK               NY         12450802         WILENTZ, GOLDMAN & SPITZER                           MERCURIO             RONALD S              NY         10987101         WILENTZ, GOLDMAN & SPITZER
MCGEE                FRANK                 NY         10311601         WILENTZ, GOLDMAN & SPITZER                           MEROLA               VINCENT               NY         10083402         WILENTZ, GOLDMAN & SPITZER
MCGINLAY             HUGH                  NY         11332999         WILENTZ, GOLDMAN & SPITZER                           MERSHON              MICHAEL J             NY         10083402         WILENTZ, GOLDMAN & SPITZER
MCGINLEY             HUGH                  NY         10624408         WILENTZ, GOLDMAN & SPITZER                           MESSINA              MARY                  NY         11270699         WILENTZ, GOLDMAN & SPITZER
MCGINLEY             JOHN P                NY         10624408         WILENTZ, GOLDMAN & SPITZER                           MESSINA              PAUL F                NY         11270699         WILENTZ, GOLDMAN & SPITZER
MCGINLEY             MARIE                 NY         10624408         WILENTZ, GOLDMAN & SPITZER                           MESZAROS             DOROTHY               NJ         4368381          WILENTZ, GOLDMAN & SPITZER
MCGINN               FRANCIS               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           MESZAROS             THERESA               NJ         MIDL0227916AS    WILENTZ, GOLDMAN & SPITZER
MCGOLDRICK           JOANNE                NY         11489107         WILENTZ, GOLDMAN & SPITZER                           MESZIRA              ALBERT                NJ         L06067985        WILENTZ, GOLDMAN & SPITZER
MCGOLDRICK           JOHN                  NY         11489107         WILENTZ, GOLDMAN & SPITZER                           MESZIRA              SOPHIE                NJ         L06067985        WILENTZ, GOLDMAN & SPITZER
MCGOUGH              FRANCIS III           NY         12556100         WILENTZ, GOLDMAN & SPITZER                           METTE                CORA                  NY         11499000         WILENTZ, GOLDMAN & SPITZER
MCGOWAN              JOHN F                NY         10353400         WILENTZ, GOLDMAN & SPITZER                           METTE                HENRY WILLIAM         NY         11499000         WILENTZ, GOLDMAN & SPITZER
MCGOWAN              JOHN J                NY         10083402         WILENTZ, GOLDMAN & SPITZER                           METZGER              FREDERICK R           NY         11957099         WILENTZ, GOLDMAN & SPITZER
MCGOWAN              JOHN J                NY         10796602         WILENTZ, GOLDMAN & SPITZER                           MEYER                ROBERT H              NY         11662301         WILENTZ, GOLDMAN & SPITZER
MCGOWAN              KATHLEEN              NY         10083402         WILENTZ, GOLDMAN & SPITZER                           MEYER                RONALD                NY         10588501         WILENTZ, GOLDMAN & SPITZER
MCGOWEN              JOSEPH                NY         11098502         WILENTZ, GOLDMAN & SPITZER                           MEYEROWITZ           KENNETH               NY         11162102         WILENTZ, GOLDMAN & SPITZER
MCGRAIL              GREGORY               NY         11640500         WILENTZ, GOLDMAN & SPITZER                           MEYERS               HARRY W               NY         12142199         WILENTZ, GOLDMAN & SPITZER
MCGRATH              JAMES J               NY         12222400         WILENTZ, GOLDMAN & SPITZER                           MEYERS               ISAAC                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
MCGUINNESS           JOSEPH E              NY         11759499         WILENTZ, GOLDMAN & SPITZER                           MEYERS               KRAIG H               NY         12142199         WILENTZ, GOLDMAN & SPITZER
MCGUINNESS           MICHAEL               NY         10516306         WILENTZ, GOLDMAN & SPITZER                           MEZZATESTA           ANTHONY               NY         11759499         WILENTZ, GOLDMAN & SPITZER
MCGURK               THOMAS                NJ         L766999          WILENTZ, GOLDMAN & SPITZER                           MICALLEF             JOHN V                NY         12364099         WILENTZ, GOLDMAN & SPITZER
MCGURK               THOMAS F              NJ         L766999          WILENTZ, GOLDMAN & SPITZER                           MICCIO               VINCENT               NY         10726302         WILENTZ, GOLDMAN & SPITZER
MCHUGH               JOHN                  NY         12014903         WILENTZ, GOLDMAN & SPITZER                           MIDGETT              CARL M                NY         11332999         WILENTZ, GOLDMAN & SPITZER
MCHUGH               JOHN E                NY         12556100         WILENTZ, GOLDMAN & SPITZER                           MIELE                RAYMOND A             NY         10896500         WILENTZ, GOLDMAN & SPITZER
MCINTIRE             JAN M                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           MIEZEJWSKI           VINCENT J             NJ         L9133986         WILENTZ, GOLDMAN & SPITZER
MCKENNA              JOHN P                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           MIGLIACCIO           DOLORES               NY         10842101         WILENTZ, GOLDMAN & SPITZER
MCLEAN               ELEANOR               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           MIGLIACCIO           QUERINO               NY         11286900         WILENTZ, GOLDMAN & SPITZER
MCLEAN               JOHN J                NY         11173499         WILENTZ, GOLDMAN & SPITZER                           MIGLIACCIO           SALVATORE             NY         10842101         WILENTZ, GOLDMAN & SPITZER
MCLELLAN             IRENE                 NY         12365600         WILENTZ, GOLDMAN & SPITZER                           MIGLIORE             ANTHONY               NY         10311601         WILENTZ, GOLDMAN & SPITZER
MCLELLAN             SAMUEL                NY         12365600         WILENTZ, GOLDMAN & SPITZER                           MIGLIORE             PALMA                 NY         10311601         WILENTZ, GOLDMAN & SPITZER
MCMAHON              BERNARD J             NY         12269900         WILENTZ, GOLDMAN & SPITZER                           MIGNARDI             FULVIO                NY         11016101         WILENTZ, GOLDMAN & SPITZER
MCMAHON              JAMES J               NY         10896500         WILENTZ, GOLDMAN & SPITZER                           MIHALICS             THOMAS                NY         12509994         WILENTZ, GOLDMAN & SPITZER
MCMANUS              GEORGE                NY         11173499         WILENTZ, GOLDMAN & SPITZER                           MILLAN               HENRY                 NY         10353500         WILENTZ, GOLDMAN & SPITZER
MCMEEKIN             ARTHUR                NY         10999898         WILENTZ, GOLDMAN & SPITZER                           MILLER               CARLOS F              NY         12556100         WILENTZ, GOLDMAN & SPITZER
MCMEEKIN             MARGARET              NY         10999898         WILENTZ, GOLDMAN & SPITZER                           MILLER               IRVING A              NY         10752899         WILENTZ, GOLDMAN & SPITZER
MCNAMARA             CHARLES               NY         11680001         WILENTZ, GOLDMAN & SPITZER                           MILLER               JENNIFER              NY         11492099         WILENTZ, GOLDMAN & SPITZER
MCNAMARA             JAMES T               NY         11492099         WILENTZ, GOLDMAN & SPITZER                           MILLER               MARILYN               NY         10752899         WILENTZ, GOLDMAN & SPITZER
MCNAMARA             LOUISE M              NY         11492099         WILENTZ, GOLDMAN & SPITZER                           MILLER               RICHARD A             NY         11492099         WILENTZ, GOLDMAN & SPITZER
MCNAMARA             THERESA               NY         11680001         WILENTZ, GOLDMAN & SPITZER                           MILLER               WILLIAM               NY         10184202         WILENTZ, GOLDMAN & SPITZER
MCNULTY              ANDREW                NY         11640500         WILENTZ, GOLDMAN & SPITZER                           MILLS                JOHN P                NY         12014903         WILENTZ, GOLDMAN & SPITZER
MCPARTLAND           FRANCIS               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           MILTON               ALFRED                NY         12197003         WILENTZ, GOLDMAN & SPITZER
MCQUEENEY            RICHARD E             NY         1901932015       WILENTZ, GOLDMAN & SPITZER                           MINCIN               SILENO                NY         11867000         WILENTZ, GOLDMAN & SPITZER
MCQUILLIAN           ROBERT J              NY         12431599         WILENTZ, GOLDMAN & SPITZER                           MINCIN               SIMONE                NY         11867000         WILENTZ, GOLDMAN & SPITZER
MCSHEA               EDWARD                NY         11173499         WILENTZ, GOLDMAN & SPITZER                           MINGINE              JUNE                  NY         11492099         WILENTZ, GOLDMAN & SPITZER
MCSHEA               ELEANOR               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           MINGIONE             SIMONE                NY         11492099         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1121
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 456 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MINUCCI              VITO D                NY         10750501         WILENTZ, GOLDMAN & SPITZER                           MULE                 ANTONIA               NY         10903398         WILENTZ, GOLDMAN & SPITZER
MISS                 GIUSTO                NY         10729508         WILENTZ, GOLDMAN & SPITZER                           MULE                 CALOGERO              NY         10903398         WILENTZ, GOLDMAN & SPITZER
MISS                 MASSIMILIANA          NY         10729508         WILENTZ, GOLDMAN & SPITZER                           MULE                 NANCY                 NY         10903398         WILENTZ, GOLDMAN & SPITZER
MITCHELL             ROBBIE JR             NY         10783200         WILENTZ, GOLDMAN & SPITZER                           MULLER               JOHN                  NY         11016101         WILENTZ, GOLDMAN & SPITZER
MOCERA               CHARLES JOHN          NY         10171307         WILENTZ, GOLDMAN & SPITZER                           MULTARY              JOSEPH F              NY         10588501         WILENTZ, GOLDMAN & SPITZER
MOFFITT              DENNIS                NY         11957099         WILENTZ, GOLDMAN & SPITZER                           MULTARY              KAY                   NY         10588501         WILENTZ, GOLDMAN & SPITZER
MOGELNICKI           FRANK                 NY         11522001         WILENTZ, GOLDMAN & SPITZER                           MULTER               RAYMOND J             NY         12089901         WILENTZ, GOLDMAN & SPITZER
MOLEY                BRIAN J               NY         11187601         WILENTZ, GOLDMAN & SPITZER                           MUNDAY               JAMES                 NY         11897103         WILENTZ, GOLDMAN & SPITZER
MOLITORES            HELEN                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           MUNDAY               KAREN                 NY         11897103         WILENTZ, GOLDMAN & SPITZER
MOLITORES            JOSEPH                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           MUNDY                FRANK                 NY         11778699         WILENTZ, GOLDMAN & SPITZER
MOLITORES            SCOTT                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           MUNGE                GIUSEPPE              NY         11640500         WILENTZ, GOLDMAN & SPITZER
MOLLOY               THOMAS                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           MUNO                 CATHERINE             NY         11230698         WILENTZ, GOLDMAN & SPITZER
MOLOUGHNEY           ROBERT                NY         10783200         WILENTZ, GOLDMAN & SPITZER                           MUNO                 PHILIP                NY         11230698         WILENTZ, GOLDMAN & SPITZER
MONDELLA             ROBERT                NY         10198707         WILENTZ, GOLDMAN & SPITZER                           MUNRO                DONALD H              NY         11522001         WILENTZ, GOLDMAN & SPITZER
MONDELLA             THERESA               NY         10198707         WILENTZ, GOLDMAN & SPITZER                           MURDOCK              ALFRED                NY         10473302         WILENTZ, GOLDMAN & SPITZER
MONGAN               PETER C               NY         19040709         WILENTZ, GOLDMAN & SPITZER                           MURDOCK              VASHATI               NY         10473302         WILENTZ, GOLDMAN & SPITZER
MONGAN               SARAH                 NY         19040709         WILENTZ, GOLDMAN & SPITZER                           MURPHY               ALLEN T               NY         11949700         WILENTZ, GOLDMAN & SPITZER
MONGELLI             JOSEPH                NY         11603301         WILENTZ, GOLDMAN & SPITZER                           MURPHY               MARYELLEN             NY         10752899         WILENTZ, GOLDMAN & SPITZER
MONOHAN              PHILIP                NY         10353500         WILENTZ, GOLDMAN & SPITZER                           MURPHY               THOMAS J              NY         10752899         WILENTZ, GOLDMAN & SPITZER
MONTALTO             WILLIAM               NY         12431599         WILENTZ, GOLDMAN & SPITZER                           MURPHY               TIMOTHY               NY         10166800         WILENTZ, GOLDMAN & SPITZER
MONTILLI             ANTHONY               NY         11640500         WILENTZ, GOLDMAN & SPITZER                           MURPHY               VINCENT               NY         11640500         WILENTZ, GOLDMAN & SPITZER
MOODIE               JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER                           MURRAY               JOHN R                NY         10473302         WILENTZ, GOLDMAN & SPITZER
MOONEY               JAMES T               NY         12434600         WILENTZ, GOLDMAN & SPITZER                           MURRAY               LOUIS D               NJ         L124099          WILENTZ, GOLDMAN & SPITZER
MOORE                JACQUELINE            NY         10271102         WILENTZ, GOLDMAN & SPITZER                           MURRAY               LOUISE                NJ         L124099          WILENTZ, GOLDMAN & SPITZER
MOORE                LEON W                NY         10999898         WILENTZ, GOLDMAN & SPITZER                           MURRAY               WILLIAM J             NY         11698304         WILENTZ, GOLDMAN & SPITZER
MOORE                NELLIE                NY         10271102         WILENTZ, GOLDMAN & SPITZER                           MURTAUGH             THOMAS                NY         12370201         WILENTZ, GOLDMAN & SPITZER
MOORE                WILLIAM               NY         10271102         WILENTZ, GOLDMAN & SPITZER                           MURTHA               JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER
MORAN                CHARLES               NY         11744198         WILENTZ, GOLDMAN & SPITZER                           MUSARELLA            JOHN                  NY         10975806         WILENTZ, GOLDMAN & SPITZER
MORAN                EDWARD L              NY         12434600         WILENTZ, GOLDMAN & SPITZER                           MUSUMECI             JAMES                 NY         12314298         WILENTZ, GOLDMAN & SPITZER
MORAN                JAMES                 NY         11949700         WILENTZ, GOLDMAN & SPITZER                           MUTOLI               CONCETTA              NY         10184202         WILENTZ, GOLDMAN & SPITZER
MORAN                JEAN                  NY         11744198         WILENTZ, GOLDMAN & SPITZER                           MUZZIO               DONALD                NY         11565905         WILENTZ, GOLDMAN & SPITZER
MORAN                PATRICK T             NY         11640500         WILENTZ, GOLDMAN & SPITZER                           NACCARI              STEPHEN               NY         11640500         WILENTZ, GOLDMAN & SPITZER
MORAN                RUSSELL E             NY         10679501         WILENTZ, GOLDMAN & SPITZER                           NADEAU               PAUL                  NY         12197003         WILENTZ, GOLDMAN & SPITZER
MORGAN               ELEANOR               NY         12591600         WILENTZ, GOLDMAN & SPITZER                           NADEAU               THERESA               NY         12197003         WILENTZ, GOLDMAN & SPITZER
MORGAN               JOHN                  NY         12591600         WILENTZ, GOLDMAN & SPITZER                           NAGY                 GEORGE F              NY         12591600         WILENTZ, GOLDMAN & SPITZER
MORGAN               JOHN H                NY         11998898         WILENTZ, GOLDMAN & SPITZER                           NAGY                 KALMAN L              NY         12314298         WILENTZ, GOLDMAN & SPITZER
MORIARTY             JOHN                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           NANFRA               ANN                   NY         11778699         WILENTZ, GOLDMAN & SPITZER
MORIARTY             MARYANN               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           NANFRA               SAM                   NY         11778699         WILENTZ, GOLDMAN & SPITZER
MORIN                JOSEPH                NY         11733101         WILENTZ, GOLDMAN & SPITZER                           NAPODANO             VINCENT P JR          NY         11759499         WILENTZ, GOLDMAN & SPITZER
MORONEY              PATRICK               NY         10353500         WILENTZ, GOLDMAN & SPITZER                           NAPOLI               FRANK J               NY         10987101         WILENTZ, GOLDMAN & SPITZER
MORRELLI             PASQUALE              NY         12249598         WILENTZ, GOLDMAN & SPITZER                           NAPOLI               RALPH                 NY         10588501         WILENTZ, GOLDMAN & SPITZER
MORRIN               ALFRED                NY         11492099         WILENTZ, GOLDMAN & SPITZER                           NAPOLITANO           SAM                   NY         12314298         WILENTZ, GOLDMAN & SPITZER
MORRIS               ARTHUR                NY         10975906         WILENTZ, GOLDMAN & SPITZER                           NAPPO                FORTUNATO             NY         11016101         WILENTZ, GOLDMAN & SPITZER
MORRIS               EMILY                 NY         11137399         WILENTZ, GOLDMAN & SPITZER                           NARDONE              ARTHUR                NY         11957299         WILENTZ, GOLDMAN & SPITZER
MORRIS               JOHN T                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           NASH                 BARNEY                NY         10520704         WILENTZ, GOLDMAN & SPITZER
MORRISON             GEORGE                NY         1901462015       WILENTZ, GOLDMAN & SPITZER                           NASH                 JOSEPH F              NY         12201099         WILENTZ, GOLDMAN & SPITZER
MORRISON             GEORGE                NY         10423103         WILENTZ, GOLDMAN & SPITZER                           NASTRO               DANIEL A              NY         12231499         WILENTZ, GOLDMAN & SPITZER
MORRISON             HAROLD                NY         10521299         WILENTZ, GOLDMAN & SPITZER                           NATALE               PIERINO               NY         11331603         WILENTZ, GOLDMAN & SPITZER
MORRISON             HAROLD                NY         1052631999       WILENTZ, GOLDMAN & SPITZER                           NAUGHNANE            FRANK                 NY         11957199         WILENTZ, GOLDMAN & SPITZER
MORRISON             ROBERT                NY         10796602         WILENTZ, GOLDMAN & SPITZER                           NAUTH                KADAR                 NY         12335999         WILENTZ, GOLDMAN & SPITZER
MORRISON             ROBERT L              NY         11522001         WILENTZ, GOLDMAN & SPITZER                           NAUTH                SURSADIE              NY         12335999         WILENTZ, GOLDMAN & SPITZER
MORRISON             ROSEANNE              NY         1901462015       WILENTZ, GOLDMAN & SPITZER                           NAVARRO              PAULA                 NY         10353400         WILENTZ, GOLDMAN & SPITZER
MORRISON             ROSEANNE              NY         10423103         WILENTZ, GOLDMAN & SPITZER                           NAVAS                GUILLERMO             NY         12431599         WILENTZ, GOLDMAN & SPITZER
MORRISSEY            MARY                  NY         11173499         WILENTZ, GOLDMAN & SPITZER                           NEENAN               JOHN H                NY         11465799         WILENTZ, GOLDMAN & SPITZER
MORRISSEY            VINCENT               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           NEESON               JAMES                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
MORTON               EARL E                NY         11759499         WILENTZ, GOLDMAN & SPITZER                           NEGRON               ELI                   NY         12591600         WILENTZ, GOLDMAN & SPITZER
MOSELEY              ROBERT E              NY         10516001         WILENTZ, GOLDMAN & SPITZER                           NEGRON               JOSE A JR             NY         10896500         WILENTZ, GOLDMAN & SPITZER
MOSHER               GEORGE W              NY         1904602013       WILENTZ, GOLDMAN & SPITZER                           NELSON               ALLAN T               NY         10588501         WILENTZ, GOLDMAN & SPITZER
MOSHER               LIOUDMILA             NY         1904602013       WILENTZ, GOLDMAN & SPITZER                           NELSON               CHARLES J             NY         11270699         WILENTZ, GOLDMAN & SPITZER
MOSS                 EDWIN                 NY         11640500         WILENTZ, GOLDMAN & SPITZER                           NELSON               GERALDINE             NY         11270699         WILENTZ, GOLDMAN & SPITZER
MOTTERSHEAD          GEORGE                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           NELSON               WILLIAM               NY         12249598         WILENTZ, GOLDMAN & SPITZER
MOTTERSHEAD          HELEN                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           NELSON-LOWHAR        BETTIE J              NY         12450802         WILENTZ, GOLDMAN & SPITZER
MOTTO                JOSEPH                NY         10101606         WILENTZ, GOLDMAN & SPITZER                           NEPHEW               BERNARD               NY         10083402         WILENTZ, GOLDMAN & SPITZER
MOUSSETTE            ANNA                  NY         10833401         WILENTZ, GOLDMAN & SPITZER                           NERI                 VICTOR                NY         10999898         WILENTZ, GOLDMAN & SPITZER
MOUSSETTE            ANTHONY               NY         10833401         WILENTZ, GOLDMAN & SPITZER                           NERTNEY              MICHAEL               NY         11098502         WILENTZ, GOLDMAN & SPITZER
MUCCI                MICHAEL               NY         11373705         WILENTZ, GOLDMAN & SPITZER                           NEUMAYER             MAUREEN               NY         11492099         WILENTZ, GOLDMAN & SPITZER
MUCCIN               AUGUSTINO             NY         12509994         WILENTZ, GOLDMAN & SPITZER                           NEUMAYER             RICHARD               NY         11492099         WILENTZ, GOLDMAN & SPITZER
MUCCIO               DOMENICK              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           NEUMEYER             ROBERT                NY         11949700         WILENTZ, GOLDMAN & SPITZER
MULA                 ANNETTE               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           NEVERMANN            EDWARD                NY         11680001         WILENTZ, GOLDMAN & SPITZER
MULA                 JOHN                  NY         11230698         WILENTZ, GOLDMAN & SPITZER                           NEVERMANN            JEAN                  NY         11680001         WILENTZ, GOLDMAN & SPITZER
MULE                 ANTHONY               NY         10903398         WILENTZ, GOLDMAN & SPITZER                           NEW                  JAMES J               NY         12249598         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1122
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 457 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

NEWTON               DAVID                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           OLIVIERI             ANNA                  NJ         L630699          WILENTZ, GOLDMAN & SPITZER
NEWTON               FRANK                 NY         10473302         WILENTZ, GOLDMAN & SPITZER                           OLIVIERI             VICTOR                NJ         L630699          WILENTZ, GOLDMAN & SPITZER
NEWTON               KATHLEEN D            NY         10473302         WILENTZ, GOLDMAN & SPITZER                           OLSEN                DOUGLAS M             NY         11998898         WILENTZ, GOLDMAN & SPITZER
NGAI                 DONALD                NY         10726402         WILENTZ, GOLDMAN & SPITZER                           OLSEN                RENEE                 NY         11998898         WILENTZ, GOLDMAN & SPITZER
NICASTRO             LAWRENCE              NY         11759499         WILENTZ, GOLDMAN & SPITZER                           OLSON                SIDNEY G              NY         10415501         WILENTZ, GOLDMAN & SPITZER
NICHOLICH            ANTON                 NY         11565805         WILENTZ, GOLDMAN & SPITZER                           O'MALLEY             MATTHEW J             NY         12364099         WILENTZ, GOLDMAN & SPITZER
NICOLOSI             MARIA                 NY         10903398         WILENTZ, GOLDMAN & SPITZER                           O'MORRISSEY          WILLIAM               NY         12509994         WILENTZ, GOLDMAN & SPITZER
NICOLOSI             ROBERT D              NY         10903398         WILENTZ, GOLDMAN & SPITZER                           O'NEILL              EDITH                 NY         10752899         WILENTZ, GOLDMAN & SPITZER
NICOTRA              LAWRENCE              NY         11223006         WILENTZ, GOLDMAN & SPITZER                           O'NEILL              THOMAS                NY         12600102         WILENTZ, GOLDMAN & SPITZER
NIECE                FREDERIC              NY         10833401         WILENTZ, GOLDMAN & SPITZER                           O'NEILL              VINCENT R             NY         10752899         WILENTZ, GOLDMAN & SPITZER
NIECE                JOAN                  NY         10833401         WILENTZ, GOLDMAN & SPITZER                           ORDINE               FREDERICK             NY         12142199         WILENTZ, GOLDMAN & SPITZER
NIELSEN              DENNIS                NY         11744198         WILENTZ, GOLDMAN & SPITZER                           OREFICE              MICHAEL               NY         12600102         WILENTZ, GOLDMAN & SPITZER
NIELSEN              KATHRYN               NY         11744198         WILENTZ, GOLDMAN & SPITZER                           O'REGAN              GEORGE P              NY         11173499         WILENTZ, GOLDMAN & SPITZER
NIEMANN              MARIE                 NY         10744804         WILENTZ, GOLDMAN & SPITZER                           O'REILLY             ANNE                  NY         10999898         WILENTZ, GOLDMAN & SPITZER
NIEMANN              RUDOLPH               NY         10744804         WILENTZ, GOLDMAN & SPITZER                           O'REILLY             JAMES                 NY         10999898         WILENTZ, GOLDMAN & SPITZER
NIKIC                DODA                  NY         10896500         WILENTZ, GOLDMAN & SPITZER                           ORENGO               MIGUEL                NJ         L33099AS         WILENTZ, GOLDMAN & SPITZER
NIKITOPOULOS         THEODORE W            NY         11887300         WILENTZ, GOLDMAN & SPITZER                           ORFINI               PAUL                  NY         11680001         WILENTZ, GOLDMAN & SPITZER
NILSEN               ALF J                 NY         10083402         WILENTZ, GOLDMAN & SPITZER                           O'ROURKE             ROBERT H              NY         11565202         WILENTZ, GOLDMAN & SPITZER
NILSSON              DONALD R              NY         11887300         WILENTZ, GOLDMAN & SPITZER                           ORSLINI              JOHN                  NY         11733101         WILENTZ, GOLDMAN & SPITZER
NIMPHIUS             JOAN                  NY         11911898         WILENTZ, GOLDMAN & SPITZER                           ORVATH               GEORGE                NJ         L116901AS        WILENTZ, GOLDMAN & SPITZER
NISBET               ILENE                 NY         10173699         WILENTZ, GOLDMAN & SPITZER                           ORZO                 RALPH                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
NISBET               JOHN                  NY         10173699         WILENTZ, GOLDMAN & SPITZER                           OSOWIECKI            ALPHONSE              NY         10472603         WILENTZ, GOLDMAN & SPITZER
NITTI                LEONARD               NY         11759499         WILENTZ, GOLDMAN & SPITZER                           OSTACOLI             INNOCENZO             NY         11162102         WILENTZ, GOLDMAN & SPITZER
NIZOLEK              WALTER                NY         11476701         WILENTZ, GOLDMAN & SPITZER                           OSTERMANN            HENRY                 NJ         MIDL666509AS     WILENTZ, GOLDMAN & SPITZER
NOAH                 JOYCE                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           O'SUCH               CHERYL                NJ         MIDL977609AS     WILENTZ, GOLDMAN & SPITZER
NOAH                 ROGER                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           O'SUCH               ROBERT                NJ         MIDL977609AS     WILENTZ, GOLDMAN & SPITZER
NOLA                 JAMES V               NY         12431599         WILENTZ, GOLDMAN & SPITZER                           O'TOOLE              JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER
NOONAN               HELEN                 NY         10809706         WILENTZ, GOLDMAN & SPITZER                           OTRUBA               JERRY F               NY         10353400         WILENTZ, GOLDMAN & SPITZER
NOONAN               MICHAEL G             NY         10809706         WILENTZ, GOLDMAN & SPITZER                           OTRUBA               MARY A                NY         10353400         WILENTZ, GOLDMAN & SPITZER
NORTHROP             JOHN                  NY         12509994         WILENTZ, GOLDMAN & SPITZER                           OTTATI               STEVEN J              NY         12201099         WILENTZ, GOLDMAN & SPITZER
NOVELL               DAVID                 NY         12249598         WILENTZ, GOLDMAN & SPITZER                           OTTAVIANO            FRANK                 NY         12089901         WILENTZ, GOLDMAN & SPITZER
NOVELLI              JOHN                  NY         11640500         WILENTZ, GOLDMAN & SPITZER                           OVERTON              CHARLES V             NY         11759499         WILENTZ, GOLDMAN & SPITZER
NOWAK                JO ANN                NY         11173499         WILENTZ, GOLDMAN & SPITZER                           OWCZAREK             ANTHONY               NY         11173499         WILENTZ, GOLDMAN & SPITZER
NOWAK                ROBERT                NY         11173499         WILENTZ, GOLDMAN & SPITZER                           OWCZAREK             EILEEN                NY         11173499         WILENTZ, GOLDMAN & SPITZER
NULLET               JOHN                  NY         10783200         WILENTZ, GOLDMAN & SPITZER                           PACE                 GENNARO               NY         12591600         WILENTZ, GOLDMAN & SPITZER
NYARADY              JAMES                 NY         10307007         WILENTZ, GOLDMAN & SPITZER                           PACE                 ROBERT                NY         11744198         WILENTZ, GOLDMAN & SPITZER
NYSTROM              ROBERT                NY         10796602         WILENTZ, GOLDMAN & SPITZER                           PADICH               LAURINE               NY         12434600         WILENTZ, GOLDMAN & SPITZER
OBERG                DAVID                 NY         12089901         WILENTZ, GOLDMAN & SPITZER                           PADICH               WILLIAM B             NY         12434600         WILENTZ, GOLDMAN & SPITZER
OBERG                ERIK A                NY         12089901         WILENTZ, GOLDMAN & SPITZER                           PADILLA              FRANCISCO             NY         12014903         WILENTZ, GOLDMAN & SPITZER
OBERTI               AUGUST J              NY         12321898         WILENTZ, GOLDMAN & SPITZER                           PADROCK              KLAUS R               NY         11016101         WILENTZ, GOLDMAN & SPITZER
OBERTI               JEANE                 NY         12321898         WILENTZ, GOLDMAN & SPITZER                           PADUANO              EUGENE                NY         11744198         WILENTZ, GOLDMAN & SPITZER
O'BRIEN              JAMES W               NY         10796602         WILENTZ, GOLDMAN & SPITZER                           PADUANO              VIVIAN                NY         11744198         WILENTZ, GOLDMAN & SPITZER
O'BRIEN              JOHN R                NJ         MIDL962106AS     WILENTZ, GOLDMAN & SPITZER                           PADVARIETIS          LINDA                 NY         12556100         WILENTZ, GOLDMAN & SPITZER
O'BRIEN              MARTIN                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           PAGANO               FRANK A               NY         10665099         WILENTZ, GOLDMAN & SPITZER
OCCHICONE            EUGENE P              NY         11887300         WILENTZ, GOLDMAN & SPITZER                           PAGANO               MARIE                 NY         10665099         WILENTZ, GOLDMAN & SPITZER
O'CONNELL            IRMGARA               NY         12556100         WILENTZ, GOLDMAN & SPITZER                           PALAIA               ANNE                  NY         10184202         WILENTZ, GOLDMAN & SPITZER
O'CONNELL            TIMOTHY J             NY         12556100         WILENTZ, GOLDMAN & SPITZER                           PALAIA               ERNEST                NY         10184202         WILENTZ, GOLDMAN & SPITZER
O'CONNOR             EUGENE E              NY         11492099         WILENTZ, GOLDMAN & SPITZER                           PALEATSOS            JAMES                 NY         10744804         WILENTZ, GOLDMAN & SPITZER
O'CONNOR             IRENE                 NY         11492099         WILENTZ, GOLDMAN & SPITZER                           PALENO               MATILDA               NY         11028502         WILENTZ, GOLDMAN & SPITZER
ODELL                TERRY                 NY         12591600         WILENTZ, GOLDMAN & SPITZER                           PALENO               MICHAEL               NY         11028502         WILENTZ, GOLDMAN & SPITZER
O'DELL               DONALD R              NY         11270699         WILENTZ, GOLDMAN & SPITZER                           PALIZZOTTO           ANTHONY               NY         11733101         WILENTZ, GOLDMAN & SPITZER
O'DELL               JOAN                  NY         11270699         WILENTZ, GOLDMAN & SPITZER                           PALKER               JOSEPH                NY         10166800         WILENTZ, GOLDMAN & SPITZER
O'DONNELL            DENNIS                NY         12556100         WILENTZ, GOLDMAN & SPITZER                           PALLADINO            ANGELO                NY         10975706         WILENTZ, GOLDMAN & SPITZER
OGBURN               MARILYN               NJ         L448698          WILENTZ, GOLDMAN & SPITZER                           PALMA                CATHERINE             NY         12201099         WILENTZ, GOLDMAN & SPITZER
OGBURN               ROBERT                NJ         L448698          WILENTZ, GOLDMAN & SPITZER                           PALMA                FERDINANDO            NY         12201099         WILENTZ, GOLDMAN & SPITZER
OGDEN                EDWARD                NY         19020109         WILENTZ, GOLDMAN & SPITZER                           PALMER               ORIO A                NY         10750501         WILENTZ, GOLDMAN & SPITZER
OGILVIE              GEORGE                NY         11998898         WILENTZ, GOLDMAN & SPITZER                           PALUMBO              ANGELO J              NY         12556100         WILENTZ, GOLDMAN & SPITZER
OGILVIE              ROBERTA               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           PAMPALONE            VITO                  NY         10199105         WILENTZ, GOLDMAN & SPITZER
O'GORMAN             JACQUELINE            NY         19000409         WILENTZ, GOLDMAN & SPITZER                           PANARIELLO           AGOSTINO              NY         12450802         WILENTZ, GOLDMAN & SPITZER
O'GORMAN             JOHN J                NY         19000409         WILENTZ, GOLDMAN & SPITZER                           PANARO               GEORGE                NY         1901842013       WILENTZ, GOLDMAN & SPITZER
O'GRADY              PATRICIA              NY         10688705         WILENTZ, GOLDMAN & SPITZER                           PANELLA              FRANK                 NY         11187601         WILENTZ, GOLDMAN & SPITZER
O'GRADY              WILLIAM E             NY         10688705         WILENTZ, GOLDMAN & SPITZER                           PANSINI              GAETANO               NY         10423103         WILENTZ, GOLDMAN & SPITZER
O'HANLON             PHYLLIS               NY         11744198         WILENTZ, GOLDMAN & SPITZER                           PANTALEONE           SALVATORE A           NY         11522001         WILENTZ, GOLDMAN & SPITZER
O'HANLON             REDMOND JAMES         NY         11744198         WILENTZ, GOLDMAN & SPITZER                           PANZA                CARL F                NY         11880701         WILENTZ, GOLDMAN & SPITZER
O'HARE               ROBERT                NY         10999898         WILENTZ, GOLDMAN & SPITZER                           PANZELLA             ALPHONSE              NY         10726402         WILENTZ, GOLDMAN & SPITZER
OHMOTT               CHARLES L             NJ         L507296          WILENTZ, GOLDMAN & SPITZER                           PANZELLA             BENJAMIN F            NY         10243701         WILENTZ, GOLDMAN & SPITZER
OKLEVITCH            MICHAEL               NY         11956401         WILENTZ, GOLDMAN & SPITZER                           PAOLINA              LOUIS A               NY         10353400         WILENTZ, GOLDMAN & SPITZER
OKLEVITCH            MICHAEL JR            NY         11956401         WILENTZ, GOLDMAN & SPITZER                           PAOLINA              ROSE MARY             NY         10353400         WILENTZ, GOLDMAN & SPITZER
O'LEARY              JOHN                  NY         12321898         WILENTZ, GOLDMAN & SPITZER                           PAONE                AMTHONY               NY         12215002         WILENTZ, GOLDMAN & SPITZER
O'LEARY              MARGARET              NY         12321898         WILENTZ, GOLDMAN & SPITZER                           PAONE                MARY                  NY         12215002         WILENTZ, GOLDMAN & SPITZER
OLIVERI              VINCENT A             NY         11270699         WILENTZ, GOLDMAN & SPITZER                           PAPA                 THOMAS                NY         10783200         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1123
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 458 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PAPALEO              LOUIS                 NY         10833401         WILENTZ, GOLDMAN & SPITZER                           PETRULLO             DENNIS                NY         10999898         WILENTZ, GOLDMAN & SPITZER
PAPALEO              MARY                  NY         10833401         WILENTZ, GOLDMAN & SPITZER                           PETRULLO             DENNIS                NY         19039711         WILENTZ, GOLDMAN & SPITZER
PAPPALARDI           ERIC                  NY         11957299         WILENTZ, GOLDMAN & SPITZER                           PETRULLO             MARYANN               NY         10999898         WILENTZ, GOLDMAN & SPITZER
PAPPAS               KATHERINE             NY         12335999         WILENTZ, GOLDMAN & SPITZER                           PETRULLO             MARYANN               NY         19039711         WILENTZ, GOLDMAN & SPITZER
PAPPAS               STEVE G               NY         12335999         WILENTZ, GOLDMAN & SPITZER                           PETRULLO             ROCCO                 NY         10999898         WILENTZ, GOLDMAN & SPITZER
PARINELLO            CHERYL                NY         11998898         WILENTZ, GOLDMAN & SPITZER                           PETRULLO             ROCCO                 NY         19039711         WILENTZ, GOLDMAN & SPITZER
PARINELLO            RONALD J              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           PHILLIPS             JAMES R               NY         12070402         WILENTZ, GOLDMAN & SPITZER
PARISE               JOSEPH                NY         12201099         WILENTZ, GOLDMAN & SPITZER                           PIA                  RALPH DELLA SR        NY         10279101         WILENTZ, GOLDMAN & SPITZER
PARISI               AMEDEO A              NY         11098502         WILENTZ, GOLDMAN & SPITZER                           PICARELLO            JOSEPH J              NY         12370201         WILENTZ, GOLDMAN & SPITZER
PARKER               HUBERT J              NY         10415501         WILENTZ, GOLDMAN & SPITZER                           PICCIRILLO           EDWARD                NY         10726402         WILENTZ, GOLDMAN & SPITZER
PARKER               JOHN L                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           PICCIRILLO           MICHAEL               NY         11759499         WILENTZ, GOLDMAN & SPITZER
PARKER               RUBY D                NY         10415501         WILENTZ, GOLDMAN & SPITZER                           PICCIUCA             FRANCESCO             NY         12070402         WILENTZ, GOLDMAN & SPITZER
PARKINSON            THOMAS                NJ         L589800          WILENTZ, GOLDMAN & SPITZER                           PICKARD              JACK                  NY         12950900         WILENTZ, GOLDMAN & SPITZER
PARMIGIANI           JOHN J                NY         11778699         WILENTZ, GOLDMAN & SPITZER                           PICKARD              MARILYN               NY         12950900         WILENTZ, GOLDMAN & SPITZER
PARSONS              GLORIA                NY         10588501         WILENTZ, GOLDMAN & SPITZER                           PIERCE               DONALD L              NY         11733101         WILENTZ, GOLDMAN & SPITZER
PARSONS              PATRICK               NY         10588501         WILENTZ, GOLDMAN & SPITZER                           PIERROI              CHARLES               NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
PARVIS               JOSEPH W              NY         11733101         WILENTZ, GOLDMAN & SPITZER                           PIETANZA             FRANK                 NY         10796602         WILENTZ, GOLDMAN & SPITZER
PARVIS               MARIE                 NY         11733101         WILENTZ, GOLDMAN & SPITZER                           PIETRASZEWSKI        DOROTHY               NJ         L09996886        WILENTZ, GOLDMAN & SPITZER
PASSIONE             ALBERT                NY         11735098         WILENTZ, GOLDMAN & SPITZER                           PIETRASZEWSKI        WALTER                NJ         L09996886        WILENTZ, GOLDMAN & SPITZER
PASSIONE             CAMILLE               NY         11735098         WILENTZ, GOLDMAN & SPITZER                           PIETSCH              HENRY J               NY         12950900         WILENTZ, GOLDMAN & SPITZER
PASTORE              ERMINIO L             NY         11288203         WILENTZ, GOLDMAN & SPITZER                           PIGGOT               CHARLES JR            NJ         L504499          WILENTZ, GOLDMAN & SPITZER
PATCHONKA            MARGARET M            NJ         L362300          WILENTZ, GOLDMAN & SPITZER                           PIGGOT               ROSALIE               NJ         L504499          WILENTZ, GOLDMAN & SPITZER
PATERNINA            CALIXTO               NY         10627300         WILENTZ, GOLDMAN & SPITZER                           PIGNATARO            JOSEPH                NY         11230698         WILENTZ, GOLDMAN & SPITZER
PATTERSON            ARTHUR                NY         12370201         WILENTZ, GOLDMAN & SPITZER                           PIGNATARO            ROSE                  NY         11230698         WILENTZ, GOLDMAN & SPITZER
PATTERSON            BARBARA A             NY         12370201         WILENTZ, GOLDMAN & SPITZER                           PIKE                 EILEEN                NY         11029699         WILENTZ, GOLDMAN & SPITZER
PATTONA              BRUCE                 NY         12434600         WILENTZ, GOLDMAN & SPITZER                           PIKE                 FRANK W               NY         11029699         WILENTZ, GOLDMAN & SPITZER
PAUL                 GEORGE                NY         UNKNOWN          WILENTZ, GOLDMAN & SPITZER                           PIKUL                ANTHONY               NY         10752899         WILENTZ, GOLDMAN & SPITZER
PAUL                 JOSEPH                NY         11733101         WILENTZ, GOLDMAN & SPITZER                           PIKUL                ANTHONY W JR          NY         10752899         WILENTZ, GOLDMAN & SPITZER
PAUL                 STEVEN                NY         11949700         WILENTZ, GOLDMAN & SPITZER                           PILLARTZ             ALDO                  NY         12450802         WILENTZ, GOLDMAN & SPITZER
PAWLOWSKI            FRANK J               NY         10353400         WILENTZ, GOLDMAN & SPITZER                           PINDER               CLARENCE J            NY         11759499         WILENTZ, GOLDMAN & SPITZER
PAYNE                JOHN T.               NJ         L06070685        WILENTZ, GOLDMAN & SPITZER                           PINELLI              ANTHONY T             NY         11949700         WILENTZ, GOLDMAN & SPITZER
PEARSALL             ANNA R                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           PINSKY               MARTIN L              NY         11076300         WILENTZ, GOLDMAN & SPITZER
PEARSALL             JOHN J                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           PINTO                JANICE                NY         19009110         WILENTZ, GOLDMAN & SPITZER
PEDONE               ANTONIO               NY         11957099         WILENTZ, GOLDMAN & SPITZER                           PINTO                JOHN A                NY         19009110         WILENTZ, GOLDMAN & SPITZER
PELLEGRINI           JOHN L                NY         11098502         WILENTZ, GOLDMAN & SPITZER                           PIRO                 SALVATORE             NY         10101506         WILENTZ, GOLDMAN & SPITZER
PELLICCI             DANIEL                NY         10750501         WILENTZ, GOLDMAN & SPITZER                           PISANI               EUGENE                NY         10166800         WILENTZ, GOLDMAN & SPITZER
PELOSO               MICHELLE              NY         11565002         WILENTZ, GOLDMAN & SPITZER                           PISANI               JEAN                  NY         10166800         WILENTZ, GOLDMAN & SPITZER
PENNACCHIO           DENNIS A              NY         12434600         WILENTZ, GOLDMAN & SPITZER                           PISCIOTTA            RALPH                 NY         10353400         WILENTZ, GOLDMAN & SPITZER
PEPE                 GENEVIEVE             NY         10311601         WILENTZ, GOLDMAN & SPITZER                           PIUS                 FREDERIC              NY         12321898         WILENTZ, GOLDMAN & SPITZER
PEPE                 JAMES                 NY         10311601         WILENTZ, GOLDMAN & SPITZER                           PIUS                 MARILYN               NY         12321898         WILENTZ, GOLDMAN & SPITZER
PERCI                VITO                  NY         10083402         WILENTZ, GOLDMAN & SPITZER                           PIZZO                ANIELLO               NY         10472603         WILENTZ, GOLDMAN & SPITZER
PERDUE               BUDDY A               NY         10250500         WILENTZ, GOLDMAN & SPITZER                           PIZZUCO              JAMES                 NY         11887300         WILENTZ, GOLDMAN & SPITZER
PEREZ                EDWIN A               NY         11949700         WILENTZ, GOLDMAN & SPITZER                           PLANK                FRED C                NY         11733101         WILENTZ, GOLDMAN & SPITZER
PERINI               LENO                  NJ         L9133986         WILENTZ, GOLDMAN & SPITZER                           PLYMALE              ANSEL F               NY         12556100         WILENTZ, GOLDMAN & SPITZER
PERINI               STEPHEN J             NY         11476701         WILENTZ, GOLDMAN & SPITZER                           POIRIER              EDWARD R              NY         12321898         WILENTZ, GOLDMAN & SPITZER
PERNIOLA             RICHARD               NY         11640500         WILENTZ, GOLDMAN & SPITZER                           POIRIER              ROSE MARIE            NY         12321898         WILENTZ, GOLDMAN & SPITZER
PERNIOLA             VINCENT               NY         10415501         WILENTZ, GOLDMAN & SPITZER                           POKOWICZ             CAROL                 NY         10999898         WILENTZ, GOLDMAN & SPITZER
PERRAULT             LINDA                 NY         11920398         WILENTZ, GOLDMAN & SPITZER                           POKOWICZ             STEVEN                NY         10999898         WILENTZ, GOLDMAN & SPITZER
PERRAULT             RICHARD JR            NY         11920398         WILENTZ, GOLDMAN & SPITZER                           POLANSKY             LEON                  NY         10473302         WILENTZ, GOLDMAN & SPITZER
PERRECA              JOSEPHINE             NY         10796602         WILENTZ, GOLDMAN & SPITZER                           POLIDORO             JOHN                  NY         10750501         WILENTZ, GOLDMAN & SPITZER
PERRONE              GILDO                 NY         10944198         WILENTZ, GOLDMAN & SPITZER                           POLLARD              JAMES I JR            NY         11173499         WILENTZ, GOLDMAN & SPITZER
PERRONE              KENNETH J             NY         10243701         WILENTZ, GOLDMAN & SPITZER                           POLYAK               LEONARD E. SR.        NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
PERRONE              VINCENT               NY         11957099         WILENTZ, GOLDMAN & SPITZER                           PONGRATZ             RUDOLPH               NY         10750501         WILENTZ, GOLDMAN & SPITZER
PERRONE              VIRGINIA              NY         10243701         WILENTZ, GOLDMAN & SPITZER                           PONTORIERO           ANNUNZIATA            NJ         L291099          WILENTZ, GOLDMAN & SPITZER
PERRY                LEWIS B               NY         10944198         WILENTZ, GOLDMAN & SPITZER                           PONTORIERO           GIUSEPPE              NJ         L291099          WILENTZ, GOLDMAN & SPITZER
PERRY                YOLANDA               NY         10944198         WILENTZ, GOLDMAN & SPITZER                           POPLEES              FRANCIS               NY         12509994         WILENTZ, GOLDMAN & SPITZER
PESCATORE            ALBERT A              NY         11137399         WILENTZ, GOLDMAN & SPITZER                           PORAZZO              ANDREW P              NY         11098502         WILENTZ, GOLDMAN & SPITZER
PESCATORE            STELLA                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           PORCARO              JOSEPHINE             NY         19012208         WILENTZ, GOLDMAN & SPITZER
PESCE                MICHAEL               NY         12269900         WILENTZ, GOLDMAN & SPITZER                           PORCARO              SILVESTRO             NY         19012208         WILENTZ, GOLDMAN & SPITZER
PESCI                ADAM                  NY         10423103         WILENTZ, GOLDMAN & SPITZER                           PORCELLI             RONALD                NY         10246406         WILENTZ, GOLDMAN & SPITZER
PESTIC               BRUNO                 NY         11735098         WILENTZ, GOLDMAN & SPITZER                           PORCELLO             ANTIONETTE            NY         11076300         WILENTZ, GOLDMAN & SPITZER
PESTIC               MARIA                 NY         11735098         WILENTZ, GOLDMAN & SPITZER                           PORCELLO             JOSEPH                NY         11076300         WILENTZ, GOLDMAN & SPITZER
PETCHONKA            JOSEPH J              NJ         L362300          WILENTZ, GOLDMAN & SPITZER                           POROSKI              ALBERT                NY         11957299         WILENTZ, GOLDMAN & SPITZER
PETERS               DOREEN                NY         11897103         WILENTZ, GOLDMAN & SPITZER                           PORTELLO             LEONARD J             NY         12431599         WILENTZ, GOLDMAN & SPITZER
PETERS               RUPERT                NY         11897103         WILENTZ, GOLDMAN & SPITZER                           POSA                 PHILIP                NY         12600102         WILENTZ, GOLDMAN & SPITZER
PETERSON             RICHARD J             NY         11016101         WILENTZ, GOLDMAN & SPITZER                           POST                 ROBERT B              NJ         L293695          WILENTZ, GOLDMAN & SPITZER
PETO                 BEULAH                NY         12231499         WILENTZ, GOLDMAN & SPITZER                           POTTS                KENNETH G.            NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
PETO                 RUDOLPH               NY         12231499         WILENTZ, GOLDMAN & SPITZER                           POULSEN              LLOYD                 NY         11880701         WILENTZ, GOLDMAN & SPITZER
PETRAMALE            MICHAEL               NY         10520704         WILENTZ, GOLDMAN & SPITZER                           PRACON               JOSEPH                NY         12269900         WILENTZ, GOLDMAN & SPITZER
PETRI                ROBERT                NJ         L06060585        WILENTZ, GOLDMAN & SPITZER                           PRANO                ANTHONY               NY         10415601         WILENTZ, GOLDMAN & SPITZER
PETROLYN             GEORGE                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           PRATT                HERBERT D             NY         10744904         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1124
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 459 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PRENDERGAST          PATRICK               NY         12600102         WILENTZ, GOLDMAN & SPITZER                           REMAURO              ROBERT                NY         10353500         WILENTZ, GOLDMAN & SPITZER
PRESLAR              CARL E                NY         10166900         WILENTZ, GOLDMAN & SPITZER                           REMBILAS             MARY                  NJ         MIDL0324315AS    WILENTZ, GOLDMAN & SPITZER
PRICE                SACHIKO S             NY         10627300         WILENTZ, GOLDMAN & SPITZER                           RENEO                ANTONIO               NY         12591600         WILENTZ, GOLDMAN & SPITZER
PRICE                THOMAS R              NY         10627300         WILENTZ, GOLDMAN & SPITZER                           REONEGRO             MICHAELANGELO         NY         11492099         WILENTZ, GOLDMAN & SPITZER
PRIMIANI             PETER                 NY         10796602         WILENTZ, GOLDMAN & SPITZER                           REPACI               ROBERT J SR           NY         11640500         WILENTZ, GOLDMAN & SPITZER
PROBST               ELLA                  NY         11173499         WILENTZ, GOLDMAN & SPITZER                           REPETTI              WILLIAM               NY         11957099         WILENTZ, GOLDMAN & SPITZER
PROBST               WALTER F              NY         11173499         WILENTZ, GOLDMAN & SPITZER                           RETTAGLIATA          GEORGE                NY         12591600         WILENTZ, GOLDMAN & SPITZER
PUGLISE              MARIE                 NJ         L00965799        WILENTZ, GOLDMAN & SPITZER                           REUSS                WALTER S              NY         12509994         WILENTZ, GOLDMAN & SPITZER
PUGLISE              THOMAS                NJ         L00965799        WILENTZ, GOLDMAN & SPITZER                           REYES                ANTHONY               NY         11565202         WILENTZ, GOLDMAN & SPITZER
PULASKI              ROY W                 NY         10783200         WILENTZ, GOLDMAN & SPITZER                           REYNOLDS             GARY H                NY         10944198         WILENTZ, GOLDMAN & SPITZER
PULEO                JOSEPH L              NY         10826107         WILENTZ, GOLDMAN & SPITZER                           REYNOLDS             KATHLEEN              NY         10944198         WILENTZ, GOLDMAN & SPITZER
PUTMAN               ROBERT A              NY         12314298         WILENTZ, GOLDMAN & SPITZER                           REYNOLDS             WILLIAM               NY         11565002         WILENTZ, GOLDMAN & SPITZER
PYCHOWSKI            FRANK                 NY         10575504         WILENTZ, GOLDMAN & SPITZER                           REYNOLDS             WILLIAM J             NY         10516001         WILENTZ, GOLDMAN & SPITZER
QUAGLIOZZI           JOHN J                NY         11061501         WILENTZ, GOLDMAN & SPITZER                           RIALE                ANTHONY M             NY         11998898         WILENTZ, GOLDMAN & SPITZER
QUAGLIOZZI           MARIE                 NY         11061501         WILENTZ, GOLDMAN & SPITZER                           RIALE                MARY                  NY         11998898         WILENTZ, GOLDMAN & SPITZER
QUATTROCHI           PHILIP R              NY         11603301         WILENTZ, GOLDMAN & SPITZER                           RIBAUDO              NICHOLAS              NY         11957199         WILENTZ, GOLDMAN & SPITZER
QUICK                BELTON                NY         12276899         WILENTZ, GOLDMAN & SPITZER                           RIBERTELLI           JOSEPH                NY         10243701         WILENTZ, GOLDMAN & SPITZER
QUILICI              CHARLES               NY         10520704         WILENTZ, GOLDMAN & SPITZER                           RICCIARDI            FRANK                 NY         10627300         WILENTZ, GOLDMAN & SPITZER
QUINN                BELINDA               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           RICCIO               MICHAEL J             NY         12215200         WILENTZ, GOLDMAN & SPITZER
QUINN                EILEEN                NY         11173499         WILENTZ, GOLDMAN & SPITZER                           RICCO                JOHN P                NY         10987101         WILENTZ, GOLDMAN & SPITZER
QUINN                JAMES D               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           RICHARDS             HARRY                 NY         11565202         WILENTZ, GOLDMAN & SPITZER
QUINN                LUCY                  NY         11887300         WILENTZ, GOLDMAN & SPITZER                           RICHARDSON           WARREN                NY         11744198         WILENTZ, GOLDMAN & SPITZER
QUINN                MARGARET              NY         10353500         WILENTZ, GOLDMAN & SPITZER                           RICHIE               WALTER                NY         11565202         WILENTZ, GOLDMAN & SPITZER
QUINN                THOMAS                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           RILEY                CHARLES J             NY         10752899         WILENTZ, GOLDMAN & SPITZER
QUINN                THOMAS R              NY         11887300         WILENTZ, GOLDMAN & SPITZER                           RILEY                MARY                  NY         10752899         WILENTZ, GOLDMAN & SPITZER
QUINN                WAYNE R               NY         10353500         WILENTZ, GOLDMAN & SPITZER                           RILEY                RICHARD               NY         1799687          WILENTZ, GOLDMAN & SPITZER
QUIRK                JOHN                  NY         11492099         WILENTZ, GOLDMAN & SPITZER                           RILEY                RICHARD M             NY         11076300         WILENTZ, GOLDMAN & SPITZER
RABENA               CECILIA               NY         11565002         WILENTZ, GOLDMAN & SPITZER                           RILEY                THOMAS J              NY         10575604         WILENTZ, GOLDMAN & SPITZER
RABENA               PETER                 NY         11565002         WILENTZ, GOLDMAN & SPITZER                           RILEY                WILLIAM H             NY         12269900         WILENTZ, GOLDMAN & SPITZER
RADAWIEC             MICHAEL               NY         10750501         WILENTZ, GOLDMAN & SPITZER                           RINALDI              MICHAEL               NY         10726402         WILENTZ, GOLDMAN & SPITZER
RADOVICH             ANTE                  NY         12509994         WILENTZ, GOLDMAN & SPITZER                           RINANDO              CIRO                  NY         11465799         WILENTZ, GOLDMAN & SPITZER
RAFFERTY             JAMES J               NY         10353500         WILENTZ, GOLDMAN & SPITZER                           RINANDO              VIVIAN                NY         11465799         WILENTZ, GOLDMAN & SPITZER
RAGUCCI              FRANK                 NY         11759499         WILENTZ, GOLDMAN & SPITZER                           RINER                KAREN                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
RAHN                 CHARLES H             NY         11603301         WILENTZ, GOLDMAN & SPITZER                           RINER                MICHAEL               NY         11230698         WILENTZ, GOLDMAN & SPITZER
RAIO                 ANGELO                NY         12269900         WILENTZ, GOLDMAN & SPITZER                           RIORDAN              ANNE                  NY         11230698         WILENTZ, GOLDMAN & SPITZER
RAJACIC              MARIA                 NY         11998898         WILENTZ, GOLDMAN & SPITZER                           RIORDAN              RICHARD               NY         11230698         WILENTZ, GOLDMAN & SPITZER
RAJACIC              ROY                   NY         11998898         WILENTZ, GOLDMAN & SPITZER                           RIPIC                JAMES                 NY         11331603         WILENTZ, GOLDMAN & SPITZER
RAMPANELLI           ALBERT                NY         10243701         WILENTZ, GOLDMAN & SPITZER                           RIPIC                LETTIE                NY         11331603         WILENTZ, GOLDMAN & SPITZER
RAMPANELLI           MARION                NY         10243701         WILENTZ, GOLDMAN & SPITZER                           RIPOL                BONI                  NY         11640500         WILENTZ, GOLDMAN & SPITZER
RANDALL              MICHAEL V             NY         11662201         WILENTZ, GOLDMAN & SPITZER                           RISHKEL              JOSEPH JR             NY         10896500         WILENTZ, GOLDMAN & SPITZER
RAPONI               EUGENE D              NY         11888303         WILENTZ, GOLDMAN & SPITZER                           RISI                 ANTHONY               NY         10588501         WILENTZ, GOLDMAN & SPITZER
RASMUSSEN            LAURENCE              NY         10520704         WILENTZ, GOLDMAN & SPITZER                           RIST                 DONALD J              NY         12370201         WILENTZ, GOLDMAN & SPITZER
RATHJEN              GUY                   NY         10521299         WILENTZ, GOLDMAN & SPITZER                           RISTINE              JOHN                  NY         10819004         WILENTZ, GOLDMAN & SPITZER
RATTIGAN             JOHN                  NY         10473302         WILENTZ, GOLDMAN & SPITZER                           RISTINE              SARAH                 NY         10819004         WILENTZ, GOLDMAN & SPITZER
RAYMOND              GEORGE                NY         12591600         WILENTZ, GOLDMAN & SPITZER                           RISTINE              SUSAN                 NY         10819004         WILENTZ, GOLDMAN & SPITZER
RAYNOR               HILDA                 NY         12321898         WILENTZ, GOLDMAN & SPITZER                           RIVERA               CARLOS A              NY         11759499         WILENTZ, GOLDMAN & SPITZER
RAYNOR               ROGER W               NY         12321898         WILENTZ, GOLDMAN & SPITZER                           RIVERA               RICHARD               NY         11571703         WILENTZ, GOLDMAN & SPITZER
REBORI               WILLIAM               NY         11759499         WILENTZ, GOLDMAN & SPITZER                           RIZZO                MICHAEL J             NY         11137399         WILENTZ, GOLDMAN & SPITZER
REDDY                JOHN                  NY         11698404         WILENTZ, GOLDMAN & SPITZER                           RIZZUTO              CHRISTOPHER           NY         10726402         WILENTZ, GOLDMAN & SPITZER
REDDY                SUSAN                 NY         11698404         WILENTZ, GOLDMAN & SPITZER                           ROBERTS              WILLIE                NY         11286900         WILENTZ, GOLDMAN & SPITZER
REDMOND              AMOS F                NY         11016101         WILENTZ, GOLDMAN & SPITZER                           ROBERTUCCI           SAMUEL                NY         10944198         WILENTZ, GOLDMAN & SPITZER
REED                 GEORGE W              NY         11680001         WILENTZ, GOLDMAN & SPITZER                           ROBERTUCCI           THELMA                NY         10944198         WILENTZ, GOLDMAN & SPITZER
REED                 JAMES                 NJ         L449799          WILENTZ, GOLDMAN & SPITZER                           ROBINSON             ROBERT J              NY         11744198         WILENTZ, GOLDMAN & SPITZER
REED                 MARYANN               NJ         L449799          WILENTZ, GOLDMAN & SPITZER                           ROBINSON             ROBERTA               NY         11744198         WILENTZ, GOLDMAN & SPITZER
REED                 MILDRED               NY         11680001         WILENTZ, GOLDMAN & SPITZER                           ROBINSON             WILLIAM E             NY         10726302         WILENTZ, GOLDMAN & SPITZER
REED                 ROBERT                NY         11603301         WILENTZ, GOLDMAN & SPITZER                           ROBISKY              ANN                   NY         11744198         WILENTZ, GOLDMAN & SPITZER
REEVE                KATHLEEN              NJ         L330395          WILENTZ, GOLDMAN & SPITZER                           ROBISKY              ROBERT                NY         11744198         WILENTZ, GOLDMAN & SPITZER
REEVE                ROBERT                NJ         L330395          WILENTZ, GOLDMAN & SPITZER                           ROCCHIO              ANTONIO               NY         11680001         WILENTZ, GOLDMAN & SPITZER
REEVES               THOMAS F              NY         11887300         WILENTZ, GOLDMAN & SPITZER                           ROCCHIO              PETER                 NY         12089901         WILENTZ, GOLDMAN & SPITZER
REGAN                JOHN                  NY         19016911         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            BETTY                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
REGELSKY             GARY                  NY         10842101         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            CARLOS                NY         11565202         WILENTZ, GOLDMAN & SPITZER
REIDT                ROBERT J              NY         11759499         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            JOSE A                NY         11887300         WILENTZ, GOLDMAN & SPITZER
REILLY               BERNARD J             NY         10521299         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            JOSE M                NY         11565202         WILENTZ, GOLDMAN & SPITZER
REILLY               BRENDEN               NY         12014903         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            JUAN                  NY         10311601         WILENTZ, GOLDMAN & SPITZER
REILLY               JOHN F                NY         11920398         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            MERCEDES              NY         10311601         WILENTZ, GOLDMAN & SPITZER
REILLY               THERESA               NY         10833401         WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            MIGUEL                NY         11016101         WILENTZ, GOLDMAN & SPITZER
REILLY               THOMAS A              NJ         MIDL00156212AS   WILENTZ, GOLDMAN & SPITZER                           RODRIGUEZ            RALPH                 NY         11230698         WILENTZ, GOLDMAN & SPITZER
REILLY               VINCENT E             NY         10833401         WILENTZ, GOLDMAN & SPITZER                           RODRIQUEZ            HECTOR                NY         12431599         WILENTZ, GOLDMAN & SPITZER
REILLY               YVONNE                NJ         MIDL00156212AS   WILENTZ, GOLDMAN & SPITZER                           ROELL                PETER                 NY         11957099         WILENTZ, GOLDMAN & SPITZER
REIMAN               JANE                  NY         10833401         WILENTZ, GOLDMAN & SPITZER                           ROGERS               ROBERTS R             NY         10679501         WILENTZ, GOLDMAN & SPITZER
REIMAN               RONALD J              NY         10833401         WILENTZ, GOLDMAN & SPITZER                           ROGERS               TIMOTHY               NY         12431599         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1125
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 460 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ROLDAN               JAMIE                 NY         10353500         WILENTZ, GOLDMAN & SPITZER                           SANDERS              CHARLES               NY         11733101         WILENTZ, GOLDMAN & SPITZER
ROLDAN               PAUL                  NY         10353400         WILENTZ, GOLDMAN & SPITZER                           SANDERS              GENEVA                NY         11733101         WILENTZ, GOLDMAN & SPITZER
ROLLER               VICTORIA              NJ         L06067985        WILENTZ, GOLDMAN & SPITZER                           SANDERS              GLORIA                NY         11137399         WILENTZ, GOLDMAN & SPITZER
ROMANO               ALFRED                NY         10271102         WILENTZ, GOLDMAN & SPITZER                           SANDERS              RALPH T               NY         11137399         WILENTZ, GOLDMAN & SPITZER
ROMANO               ANTHONY               NY         10311601         WILENTZ, GOLDMAN & SPITZER                           SANFILIPPO           KATHY                 NJ         L355699          WILENTZ, GOLDMAN & SPITZER
ROMANO               DENNIS                NY         10750501         WILENTZ, GOLDMAN & SPITZER                           SANFILIPPO           ROBERT                NJ         L355699          WILENTZ, GOLDMAN & SPITZER
ROMANO               FRANK P               NY         10999898         WILENTZ, GOLDMAN & SPITZER                           SANGALLO             JOSEPH                NY         12249598         WILENTZ, GOLDMAN & SPITZER
ROMANO               JOHN N                NY         10999898         WILENTZ, GOLDMAN & SPITZER                           SANTANA              HERMINIO              NY         12600102         WILENTZ, GOLDMAN & SPITZER
ROMANO               JOHN V JR             NY         10999898         WILENTZ, GOLDMAN & SPITZER                           SANTANTONIO          VINCENT               NY         12509994         WILENTZ, GOLDMAN & SPITZER
ROMANO               MARGARET              NY         10999898         WILENTZ, GOLDMAN & SPITZER                           SANTO                ASARO                 NY         10520704         WILENTZ, GOLDMAN & SPITZER
ROMANO               MARY                  NY         10999898         WILENTZ, GOLDMAN & SPITZER                           SANTO                GLENN                 NY         11446802         WILENTZ, GOLDMAN & SPITZER
ROMANO               ROBERT P              NY         12434600         WILENTZ, GOLDMAN & SPITZER                           SANTORA              JOAN                  NY         11998898         WILENTZ, GOLDMAN & SPITZER
ROMANO               ROSALIE               NY         10271102         WILENTZ, GOLDMAN & SPITZER                           SANTORA              RAYMOND V             NY         11998898         WILENTZ, GOLDMAN & SPITZER
ROMANOW              MARTIN                NY         10179206         WILENTZ, GOLDMAN & SPITZER                           SANTORO              DOMINICK              NY         11016101         WILENTZ, GOLDMAN & SPITZER
ROMER                ROBERT C              NY         10516001         WILENTZ, GOLDMAN & SPITZER                           SANTOS               BIENVENIDO            NY         12556100         WILENTZ, GOLDMAN & SPITZER
ROMERO               CHARLES               NY         11998898         WILENTZ, GOLDMAN & SPITZER                           SAPIETA              JOHN P                NY         12269900         WILENTZ, GOLDMAN & SPITZER
ROMERO               KATHLEEN              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           SARA                 JOHN M                NJ         L1075398         WILENTZ, GOLDMAN & SPITZER
RONDINO              HUGO                  NY         10543598         WILENTZ, GOLDMAN & SPITZER                           SARIC                DAVOR                 NY         10842101         WILENTZ, GOLDMAN & SPITZER
RONDINO              ROSEMARIE             NY         10543598         WILENTZ, GOLDMAN & SPITZER                           SARRAN               GEORGE                NJ         L09133986        WILENTZ, GOLDMAN & SPITZER
ROODE                RONALD E              NY         10726302         WILENTZ, GOLDMAN & SPITZER                           SASSO                ROBERT J              NY         11640500         WILENTZ, GOLDMAN & SPITZER
ROONEY               JOHN A                NY         12556100         WILENTZ, GOLDMAN & SPITZER                           SAUER                CHARLES A             NY         12556100         WILENTZ, GOLDMAN & SPITZER
ROSARIO              LOUIS A               NY         11759499         WILENTZ, GOLDMAN & SPITZER                           SAVIANO              RONALD J              NY         10783200         WILENTZ, GOLDMAN & SPITZER
ROSEN                LORRAINE              NY         10750501         WILENTZ, GOLDMAN & SPITZER                           SAVINO               MICHAEL A             NY         11565202         WILENTZ, GOLDMAN & SPITZER
ROSEN                STEPHEN A             NY         10750501         WILENTZ, GOLDMAN & SPITZER                           SAVINO               PETER P               NY         10521299         WILENTZ, GOLDMAN & SPITZER
ROSENBAUER           DONALD W              NY         10472603         WILENTZ, GOLDMAN & SPITZER                           SAWCHUK              PETER N               NY         11476701         WILENTZ, GOLDMAN & SPITZER
ROSIELLO             KATHLEEN              NY         10726302         WILENTZ, GOLDMAN & SPITZER                           SCACCIA              THOMAS G SR           NY         12321898         WILENTZ, GOLDMAN & SPITZER
ROSINI               FRANK                 NY         11759499         WILENTZ, GOLDMAN & SPITZER                           SCAFURI              LOUIS                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
ROSS                 KEVIN A               NY         11288203         WILENTZ, GOLDMAN & SPITZER                           SCALA                CARLO                 NY         10083402         WILENTZ, GOLDMAN & SPITZER
ROSS                 ROBERT                NY         11957099         WILENTZ, GOLDMAN & SPITZER                           SCANLON              JOHN G                NY         10423103         WILENTZ, GOLDMAN & SPITZER
ROSSETTI             JOHN                  NY         11867000         WILENTZ, GOLDMAN & SPITZER                           SCARLATO             DOMENICK              NY         10752899         WILENTZ, GOLDMAN & SPITZER
ROTELLA              THOMAS C              NY         10627100         WILENTZ, GOLDMAN & SPITZER                           SCARLATO             LARAINE               NY         10752899         WILENTZ, GOLDMAN & SPITZER
ROTH                 KENNETH               NY         10896500         WILENTZ, GOLDMAN & SPITZER                           SCHERR               RONALD                NY         12197003         WILENTZ, GOLDMAN & SPITZER
ROTONDI              CHERI                 NY         11270699         WILENTZ, GOLDMAN & SPITZER                           SCHIERENBECK         JOHN                  NY         1799687          WILENTZ, GOLDMAN & SPITZER
ROTONDI              MARK A                NY         11270699         WILENTZ, GOLDMAN & SPITZER                           SCHILL               KENNETH               NY         11778699         WILENTZ, GOLDMAN & SPITZER
ROVITO               GIUSEPPE              NY         11522001         WILENTZ, GOLDMAN & SPITZER                           SCHINDEWOLF          MELVIN J              NJ         MIDL220702AS     WILENTZ, GOLDMAN & SPITZER
ROWELL               RICHARD C             NY         11957199         WILENTZ, GOLDMAN & SPITZER                           SCHLECHTING          EDWIN A               NY         12509994         WILENTZ, GOLDMAN & SPITZER
RUBIN                BERNARD               NY         11735098         WILENTZ, GOLDMAN & SPITZER                           SCHLERETH            GEORGE                NY         11522001         WILENTZ, GOLDMAN & SPITZER
RUBIN                GERTRUDE              NY         11735098         WILENTZ, GOLDMAN & SPITZER                           SCHMELTER            RANDOLPH J            NY         10473302         WILENTZ, GOLDMAN & SPITZER
RUBINATE             DELORES               NY         11492099         WILENTZ, GOLDMAN & SPITZER                           SCHMIDT              FREDERICK             NY         11173499         WILENTZ, GOLDMAN & SPITZER
RUBINATE             JOHN J                NY         11492099         WILENTZ, GOLDMAN & SPITZER                           SCHMITT              ANDREW                NY         10752899         WILENTZ, GOLDMAN & SPITZER
RUBINICH             ANTHONY               NY         10796602         WILENTZ, GOLDMAN & SPITZER                           SCHMITT              JOAN                  NY         10752899         WILENTZ, GOLDMAN & SPITZER
RUDIN                REBEKKA               NJ         MIDL582216AS     WILENTZ, GOLDMAN & SPITZER                           SCHNEIDER            BARBARA A             NY         10783200         WILENTZ, GOLDMAN & SPITZER
RUEHL                WILLIAM               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           SCHNEIDER            JAMES                 NY         10783200         WILENTZ, GOLDMAN & SPITZER
RUGGIERO             GIUSSEPPE             NY         10744804         WILENTZ, GOLDMAN & SPITZER                           SCHNEIDER            JOSEPH                NY         12434600         WILENTZ, GOLDMAN & SPITZER
RUMBLE               WAYNE                 NY         10521299         WILENTZ, GOLDMAN & SPITZER                           SCHNEIDER            THOMAS A              NY         12070402         WILENTZ, GOLDMAN & SPITZER
RUNNALLS             ERIC R                NY         12370201         WILENTZ, GOLDMAN & SPITZER                           SCHOEPP              WALTER                NY         12089901         WILENTZ, GOLDMAN & SPITZER
RUSH                 CARL                  NJ         MIDL751710AS     WILENTZ, GOLDMAN & SPITZER                           SCHUFF               KARL                  NY         12276899         WILENTZ, GOLDMAN & SPITZER
RUSH                 EDWARD                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           SCHUKIN              HARRIET               NY         11187601         WILENTZ, GOLDMAN & SPITZER
RUSH                 GARY                  NJ         MIDL751710AS     WILENTZ, GOLDMAN & SPITZER                           SCHUKIN              ROBERT                NY         11187601         WILENTZ, GOLDMAN & SPITZER
RUSH                 PATRICIA              NY         11230698         WILENTZ, GOLDMAN & SPITZER                           SCHULZE              ERNEST                NY         10472603         WILENTZ, GOLDMAN & SPITZER
RUSH                 THOMAS                NY         11957199         WILENTZ, GOLDMAN & SPITZER                           SCHWAGERL            HARRY                 NY         11270699         WILENTZ, GOLDMAN & SPITZER
RUSS                 JOHN W                NY         10311601         WILENTZ, GOLDMAN & SPITZER                           SCHWAGERL            PATRICIA              NY         11270699         WILENTZ, GOLDMAN & SPITZER
RUSSELL              WILLIAM E             NY         10521299         WILENTZ, GOLDMAN & SPITZER                           SCHWINN              ADAM                  NY         10353400         WILENTZ, GOLDMAN & SPITZER
RUSSO                ANTHONY B             NY         11726602         WILENTZ, GOLDMAN & SPITZER                           SCHWINN              BARBARA               NY         10353400         WILENTZ, GOLDMAN & SPITZER
RUSSO                JOHN A                NY         12314298         WILENTZ, GOLDMAN & SPITZER                           SCIACCA              SAMUEL                NJ         L564999          WILENTZ, GOLDMAN & SPITZER
RUSSO                ROSE                  NY         10588501         WILENTZ, GOLDMAN & SPITZER                           SCIACCA              VIRGINIA              NJ         L564999          WILENTZ, GOLDMAN & SPITZER
RUSSO                SALVATORE             NY         12364099         WILENTZ, GOLDMAN & SPITZER                           SCIALFA              DOMINIC               NY         11949700         WILENTZ, GOLDMAN & SPITZER
RUVITUSO             VINCENT J             NY         12249598         WILENTZ, GOLDMAN & SPITZER                           SCIBELLI             ELEANOR               NY         10944198         WILENTZ, GOLDMAN & SPITZER
RUZZI                PETER S               NY         12370201         WILENTZ, GOLDMAN & SPITZER                           SCIBELLI             JOSEPH                NY         10944198         WILENTZ, GOLDMAN & SPITZER
RYAN                 GERALD                NY         10271102         WILENTZ, GOLDMAN & SPITZER                           SCOTT                LOGAN A               NY         10271102         WILENTZ, GOLDMAN & SPITZER
RYAN                 WILLIAM P             NY         11035104         WILENTZ, GOLDMAN & SPITZER                           SEGAL                BERNARD               NY         12089901         WILENTZ, GOLDMAN & SPITZER
RYDER                ANNA                  NY         10473302         WILENTZ, GOLDMAN & SPITZER                           SEGAL                DONALD                NY         12089901         WILENTZ, GOLDMAN & SPITZER
RYDER                HOWARD                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           SEGNA                ALBERT                NY         11735098         WILENTZ, GOLDMAN & SPITZER
SACCO                SILVIO                NY         11603301         WILENTZ, GOLDMAN & SPITZER                           SEGNA                ALBINA                NY         11735098         WILENTZ, GOLDMAN & SPITZER
SAHLSTROM            ROBERT E              NY         12600102         WILENTZ, GOLDMAN & SPITZER                           SELDOMRIDGE          ROBERT J              NY         11288203         WILENTZ, GOLDMAN & SPITZER
SAINATO              NICHOLAS              NY         12321898         WILENTZ, GOLDMAN & SPITZER                           SELLITTO             JOSEPH                NY         11726602         WILENTZ, GOLDMAN & SPITZER
SAINATO              ROSA                  NY         12321898         WILENTZ, GOLDMAN & SPITZER                           SELLONS              VIOLA                 NY         10833401         WILENTZ, GOLDMAN & SPITZER
SALAUN               LOUIS M               NY         10896500         WILENTZ, GOLDMAN & SPITZER                           SENERCHIA            DANIEL                NY         12364099         WILENTZ, GOLDMAN & SPITZER
SALONY               JOHN A                NY         10588501         WILENTZ, GOLDMAN & SPITZER                           SENISE               HILDA                 NY         11270699         WILENTZ, GOLDMAN & SPITZER
SALVIA               JOSEPH                NJ         L257098          WILENTZ, GOLDMAN & SPITZER                           SENISE               JOHN T                NY         11270699         WILENTZ, GOLDMAN & SPITZER
SALVIA               LOUISE                NJ         L257098          WILENTZ, GOLDMAN & SPITZER                           SERIO                JOSEPH J              NY         10588501         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1126
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 461 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SERRANO              MARIA                 NY         11137399         WILENTZ, GOLDMAN & SPITZER                           SKIBOLA              DRAGUTIN              NY         11726602         WILENTZ, GOLDMAN & SPITZER
SERRANO              THOMAS                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           SKIDMORE             EDWARD                NY         11286900         WILENTZ, GOLDMAN & SPITZER
SERVEDIO             PATRICK               NY         10783200         WILENTZ, GOLDMAN & SPITZER                           SKIDMORE             JOHN H                NY         10250500         WILENTZ, GOLDMAN & SPITZER
SEYFRIED             DOREEN                NY         11949700         WILENTZ, GOLDMAN & SPITZER                           SKLARSH              MURRAY                NY         10166800         WILENTZ, GOLDMAN & SPITZER
SEYFRIED             TIMOTHY               NY         11949700         WILENTZ, GOLDMAN & SPITZER                           SKRETKOWICZ          WILLIAM               NY         11688602         WILENTZ, GOLDMAN & SPITZER
SEYMOUR              ANNE                  NY         10752899         WILENTZ, GOLDMAN & SPITZER                           SLAVIN               JAMES J               NY         10521299         WILENTZ, GOLDMAN & SPITZER
SEYMOUR              DAVID L               NY         10752899         WILENTZ, GOLDMAN & SPITZER                           SLETNER              ERIC J                NY         12370201         WILENTZ, GOLDMAN & SPITZER
SGUEGLIA             ANTHONY               NY         12434600         WILENTZ, GOLDMAN & SPITZER                           SLIVKA               GEORGE                NY         10243701         WILENTZ, GOLDMAN & SPITZER
SGUEGLIA             DIANA                 NY         12434600         WILENTZ, GOLDMAN & SPITZER                           SLIVKA               WILLIAM J             NY         10243701         WILENTZ, GOLDMAN & SPITZER
SHANLEY              GERALD L              NY         10353400         WILENTZ, GOLDMAN & SPITZER                           SMITH                CARL                  NY         11662201         WILENTZ, GOLDMAN & SPITZER
SHANNON              CHARLES               NY         10783200         WILENTZ, GOLDMAN & SPITZER                           SMITH                CHARLES L             NY         12431599         WILENTZ, GOLDMAN & SPITZER
SHANNON              LUCIE M               NY         10783200         WILENTZ, GOLDMAN & SPITZER                           SMITH                DONALD A              NY         11887300         WILENTZ, GOLDMAN & SPITZER
SHAUGHNESSY          FRANCIS               NY         10415501         WILENTZ, GOLDMAN & SPITZER                           SMITH                EDWARD                NY         10627300         WILENTZ, GOLDMAN & SPITZER
SHELHAMER            JOHN M                NY         11957299         WILENTZ, GOLDMAN & SPITZER                           SMITH                EDWARD J              NY         12214702         WILENTZ, GOLDMAN & SPITZER
SHELLY               JAMES                 NY         12231499         WILENTZ, GOLDMAN & SPITZER                           SMITH                GRACE                 NJ         L573998          WILENTZ, GOLDMAN & SPITZER
SHELLY               PATRICIA              NY         12231499         WILENTZ, GOLDMAN & SPITZER                           SMITH                JAMES C               NJ         L573998          WILENTZ, GOLDMAN & SPITZER
SHEPHERD             EUGENE B              NY         12364099         WILENTZ, GOLDMAN & SPITZER                           SMITH                JOHN F                NY         12070402         WILENTZ, GOLDMAN & SPITZER
SHEPPARD             GEORGE                NY         11076300         WILENTZ, GOLDMAN & SPITZER                           SMITH                JUDITH A              NY         12231499         WILENTZ, GOLDMAN & SPITZER
SHEPPERSON           THEODORE L            NY         11286900         WILENTZ, GOLDMAN & SPITZER                           SMITH                MARION                NY         10627300         WILENTZ, GOLDMAN & SPITZER
SHER                 LAWRENCE              NY         11187601         WILENTZ, GOLDMAN & SPITZER                           SMITH                MARTIN R              NY         12370201         WILENTZ, GOLDMAN & SPITZER
SHERIDAN             JAMES                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           SMITH                ROBERT                NJ         MIDL879301AS     WILENTZ, GOLDMAN & SPITZER
SHERIDAN             MARION                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           SMITH                ROGER A               NY         12231499         WILENTZ, GOLDMAN & SPITZER
SHERIDAN             MARY                  NY         11759499         WILENTZ, GOLDMAN & SPITZER                           SMITH                STEPHEN J             NY         11476701         WILENTZ, GOLDMAN & SPITZER
SHERLOCK             THOMAS                NY         12950900         WILENTZ, GOLDMAN & SPITZER                           SMITH                WAYNE R               NY         11827506         WILENTZ, GOLDMAN & SPITZER
SHERMAN              LOUIS                 NY         11680001         WILENTZ, GOLDMAN & SPITZER                           SMITH                WILLIAM G             NY         12231499         WILENTZ, GOLDMAN & SPITZER
SHERMAN              MORRIS                NY         11076300         WILENTZ, GOLDMAN & SPITZER                           SMOLOWITZ            HERMAN                NY         10423103         WILENTZ, GOLDMAN & SPITZER
SHERMAN              SARAH                 NY         11076300         WILENTZ, GOLDMAN & SPITZER                           SMORTO               FRANK                 NY         10752899         WILENTZ, GOLDMAN & SPITZER
SHERRY               JOHN R                NY         10472603         WILENTZ, GOLDMAN & SPITZER                           SMORTO               FRANK M               NY         10752899         WILENTZ, GOLDMAN & SPITZER
SHILLITTO            EDWARD J              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           SOBERICK             JOSEPH                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
SHMYR                JOHN                  NY         11076300         WILENTZ, GOLDMAN & SPITZER                           SOCCOA               LOUIS                 NY         10627300         WILENTZ, GOLDMAN & SPITZER
SHORTELL             WARREN T JR           NY         10521299         WILENTZ, GOLDMAN & SPITZER                           SOCKO                WILLIAM               NY         10083402         WILENTZ, GOLDMAN & SPITZER
SHUNK                DOUGLAS               NY         11331603         WILENTZ, GOLDMAN & SPITZER                           SOFIA                EDWARD                NY         10171207         WILENTZ, GOLDMAN & SPITZER
SICARI               FAYE                  NY         11998898         WILENTZ, GOLDMAN & SPITZER                           SOFO                 EILEEN                NY         11778699         WILENTZ, GOLDMAN & SPITZER
SICARI               FRANKLIN              NY         11998898         WILENTZ, GOLDMAN & SPITZER                           SOFO                 LOUIS                 NY         11778699         WILENTZ, GOLDMAN & SPITZER
SIDMORE              ROY K                 NY         12600102         WILENTZ, GOLDMAN & SPITZER                           SOKOLOWSKI           JOSEPH                NY         11434405         WILENTZ, GOLDMAN & SPITZER
SIDORAK              STEPHEN               NY         12249598         WILENTZ, GOLDMAN & SPITZER                           SONFIST              ARIENE                NY         11998898         WILENTZ, GOLDMAN & SPITZER
SIEGEL               BECKIE                NY         11331603         WILENTZ, GOLDMAN & SPITZER                           SONFIST              MARK S                NY         11998898         WILENTZ, GOLDMAN & SPITZER
SIEGEL               ISRAEL                NY         10243701         WILENTZ, GOLDMAN & SPITZER                           SORRENTI             WALTER JR             NY         11759499         WILENTZ, GOLDMAN & SPITZER
SIEGEL               MOLLIE                NY         10243701         WILENTZ, GOLDMAN & SPITZER                           SOSBE                LYLE V                NY         10842101         WILENTZ, GOLDMAN & SPITZER
SIEGEL               NORMAN                NY         11331603         WILENTZ, GOLDMAN & SPITZER                           SPAGNA               DANIEL                NY         12556100         WILENTZ, GOLDMAN & SPITZER
SIKMAN               PETER                 NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           SPAGNESI             ADRIENNE              NY         11492099         WILENTZ, GOLDMAN & SPITZER
SILK                 JAMES                 NY         10353500         WILENTZ, GOLDMAN & SPITZER                           SPAGNESI             FRED P                NY         11492099         WILENTZ, GOLDMAN & SPITZER
SILLIMAN             PAUL L JR             NY         11759499         WILENTZ, GOLDMAN & SPITZER                           SPAGNOLA             THOMAS J              NY         12556100         WILENTZ, GOLDMAN & SPITZER
SILSBE               MICHAEL               NY         10987201         WILENTZ, GOLDMAN & SPITZER                           SPATAFORA            GAETANO               NY         11887300         WILENTZ, GOLDMAN & SPITZER
SILVERMAN            MIRIAM                NY         12142199         WILENTZ, GOLDMAN & SPITZER                           SPECCE               THOMAS                NY         10520704         WILENTZ, GOLDMAN & SPITZER
SILVERMAN            STANLEY               NY         12142199         WILENTZ, GOLDMAN & SPITZER                           SPELKE               ESTELLE               NY         10744804         WILENTZ, GOLDMAN & SPITZER
SILVESTRO            LOUIS                 NY         11098502         WILENTZ, GOLDMAN & SPITZER                           SPELKE               LOUIS                 NY         10744804         WILENTZ, GOLDMAN & SPITZER
SIMEONE              ALEXANDER             NY         12591600         WILENTZ, GOLDMAN & SPITZER                           SPENCER              GUY H                 NY         10311601         WILENTZ, GOLDMAN & SPITZER
SIMMONS              HOWARD                NY         10896500         WILENTZ, GOLDMAN & SPITZER                           SPINELLI             CARMEN                NY         10752899         WILENTZ, GOLDMAN & SPITZER
SIMOES               JOSE E                NJ         MIDL1114114AS    WILENTZ, GOLDMAN & SPITZER                           SPINO                ANA                   NJ         L1209998         WILENTZ, GOLDMAN & SPITZER
SIMOES               ROSA                  NJ         MIDL1114114AS    WILENTZ, GOLDMAN & SPITZER                           SPINO                OTTO                  NJ         L1209998         WILENTZ, GOLDMAN & SPITZER
SIMON                ANNA                  NJ         L505396          WILENTZ, GOLDMAN & SPITZER                           SQUEO                ANTHONY               NY         12197003         WILENTZ, GOLDMAN & SPITZER
SIMONCINI            VINCENT               NY         10588501         WILENTZ, GOLDMAN & SPITZER                           SQUEO                KATHLEEN              NY         12197003         WILENTZ, GOLDMAN & SPITZER
SIMPSON              BRUCE L               NY         10521299         WILENTZ, GOLDMAN & SPITZER                           SQUERI               JOHN J                NY         10752899         WILENTZ, GOLDMAN & SPITZER
SIMPSON              LEROY                 NY         19013510         WILENTZ, GOLDMAN & SPITZER                           SQUIBB               FRANK M               NY         11331603         WILENTZ, GOLDMAN & SPITZER
SIMS                 DR MURRAY             NY         11744198         WILENTZ, GOLDMAN & SPITZER                           SREDL                FRED L                NY         10311601         WILENTZ, GOLDMAN & SPITZER
SIMS                 JANET                 NY         11744198         WILENTZ, GOLDMAN & SPITZER                           STABILE              FRANK                 NY         12509994         WILENTZ, GOLDMAN & SPITZER
SINATRA              KATHRYN               NY         10588601         WILENTZ, GOLDMAN & SPITZER                           STACKPOLE            MICHAEL J             NY         12089901         WILENTZ, GOLDMAN & SPITZER
SINATRA              MARTIN F              NY         10588601         WILENTZ, GOLDMAN & SPITZER                           STAHL                JEROME                NY         12509994         WILENTZ, GOLDMAN & SPITZER
SINENO               JOHN                  NY         12276899         WILENTZ, GOLDMAN & SPITZER                           STAHURA              GREGORY R             NY         11565202         WILENTZ, GOLDMAN & SPITZER
SINENO               PAULINE               NY         12276899         WILENTZ, GOLDMAN & SPITZER                           STALLARD             DORIS                 NJ         MIDL302005AS     WILENTZ, GOLDMAN & SPITZER
SINGLETON            ARTHUR L              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           STALLARD             EMORY                 NJ         MIDL302005AS     WILENTZ, GOLDMAN & SPITZER
SINGLETON            JAMES                 NY         10750501         WILENTZ, GOLDMAN & SPITZER                           STARNES              JOHN J                NY         11206299         WILENTZ, GOLDMAN & SPITZER
SINNOTT              EDWARD JR             NY         12950900         WILENTZ, GOLDMAN & SPITZER                           STARNES              ROSE                  NY         11206299         WILENTZ, GOLDMAN & SPITZER
SINNOTT              JOHN                  NY         12276899         WILENTZ, GOLDMAN & SPITZER                           STAWNICZY            STEPHEN               NY         10796602         WILENTZ, GOLDMAN & SPITZER
SIPSKI               FRANCIS               NJ         MIDL0209316AS    WILENTZ, GOLDMAN & SPITZER                           STECKER              JOHN                  NY         10752899         WILENTZ, GOLDMAN & SPITZER
SIPSKI               MAUD                  NJ         MIDL0209316AS    WILENTZ, GOLDMAN & SPITZER                           STECKER              JOHN C JR             NY         10752899         WILENTZ, GOLDMAN & SPITZER
SIRAVO               JAMES B               NY         11270699         WILENTZ, GOLDMAN & SPITZER                           STECKLER             ROBERT                NY         10726302         WILENTZ, GOLDMAN & SPITZER
SIRAVO               PAULINE               NY         11270699         WILENTZ, GOLDMAN & SPITZER                           STEFFENSON           RONALD                NY         12509994         WILENTZ, GOLDMAN & SPITZER
SISCO                FRANK F               NY         11662201         WILENTZ, GOLDMAN & SPITZER                           STEIGLER             WILLIAM R             NY         10896500         WILENTZ, GOLDMAN & SPITZER
SISTRUNK             JENNIFER T            NY         11187601         WILENTZ, GOLDMAN & SPITZER                           STEIN                FREDERICK             NY         11568006         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1127
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 462 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STEIN                MARGARET              NY         11568006         WILENTZ, GOLDMAN & SPITZER                           TAYLOR               JOHN                  NY         11230698         WILENTZ, GOLDMAN & SPITZER
STELLATELLA          FRANK                 NJ         L06068885        WILENTZ, GOLDMAN & SPITZER                           TAYLOR               MARY LOU              NY         11949700         WILENTZ, GOLDMAN & SPITZER
STELLING             STEVEN                NY         11887300         WILENTZ, GOLDMAN & SPITZER                           TAYLOR               ROBERT                NY         11735098         WILENTZ, GOLDMAN & SPITZER
STEPHENS             JOHN                  NY         12591600         WILENTZ, GOLDMAN & SPITZER                           TAYLOR               SELDON                NY         11949700         WILENTZ, GOLDMAN & SPITZER
STEPHENS             MARGARET              NY         12591600         WILENTZ, GOLDMAN & SPITZER                           TAYLOR               WILLIAM A             NY         11640500         WILENTZ, GOLDMAN & SPITZER
STERBENZ             KARL                  NY         11016101         WILENTZ, GOLDMAN & SPITZER                           TEABO                EDWARD H              NY         11465799         WILENTZ, GOLDMAN & SPITZER
STEVENS              GEORGE W              NY         11680001         WILENTZ, GOLDMAN & SPITZER                           TEABO                PATRICIA A            NY         11465799         WILENTZ, GOLDMAN & SPITZER
STEWART              CHARLES M             NY         11640500         WILENTZ, GOLDMAN & SPITZER                           TEGANO               FRANCIS               NY         11098502         WILENTZ, GOLDMAN & SPITZER
STILA                VINCENT J             NY         11465999         WILENTZ, GOLDMAN & SPITZER                           TEGANO               MAUREEN               NY         11098502         WILENTZ, GOLDMAN & SPITZER
STILE                ANTHONY J             NY         10750501         WILENTZ, GOLDMAN & SPITZER                           TENAGLIA             NICOLO                NY         10783200         WILENTZ, GOLDMAN & SPITZER
STILE                JEFFREY A             NY         10750501         WILENTZ, GOLDMAN & SPITZER                           TENAGLIA             SERAFINA              NY         10783200         WILENTZ, GOLDMAN & SPITZER
STILE                KATHLEEN              NY         10750501         WILENTZ, GOLDMAN & SPITZER                           TERLECKI             JOHN E                NY         11565202         WILENTZ, GOLDMAN & SPITZER
STILES               DANNY                 NY         10796602         WILENTZ, GOLDMAN & SPITZER                           TERRANOVA            FRED                  NY         11016101         WILENTZ, GOLDMAN & SPITZER
STIMPSON             RAYMOND               NY         11640500         WILENTZ, GOLDMAN & SPITZER                           TERRY                LEWIS JR              NY         10353500         WILENTZ, GOLDMAN & SPITZER
STIPEK               JAROMIR               NY         12509994         WILENTZ, GOLDMAN & SPITZER                           TESORIERO            VINCENT               NY         12276899         WILENTZ, GOLDMAN & SPITZER
STORBERG             WILLIAM D             NY         12231499         WILENTZ, GOLDMAN & SPITZER                           THALER               DARRYL                NY         11920398         WILENTZ, GOLDMAN & SPITZER
STREET               WESTMORE C            NY         12509994         WILENTZ, GOLDMAN & SPITZER                           THALER               LINDA                 NY         11920398         WILENTZ, GOLDMAN & SPITZER
STREMEL              JOAN                  NY         11173499         WILENTZ, GOLDMAN & SPITZER                           THERIEN              JOSEPH                NY         10473302         WILENTZ, GOLDMAN & SPITZER
STREMEL              RICHARD C             NY         11173499         WILENTZ, GOLDMAN & SPITZER                           THIER                CLIFFORD              NY         12070402         WILENTZ, GOLDMAN & SPITZER
STRIFFLER            HUGH                  NY         1904112012       WILENTZ, GOLDMAN & SPITZER                           THIERMAN             ALAN M                NY         12070402         WILENTZ, GOLDMAN & SPITZER
STROM                MELBA                 NY         11137399         WILENTZ, GOLDMAN & SPITZER                           THOMAS               JOHN P                NY         11957199         WILENTZ, GOLDMAN & SPITZER
STROM                RAYMOND E             NY         11137399         WILENTZ, GOLDMAN & SPITZER                           THOMAS               LORENZO               NY         10469596         WILENTZ, GOLDMAN & SPITZER
STUCKEY              JOSEPH                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           THOMAS               MAURICE A             NY         10353400         WILENTZ, GOLDMAN & SPITZER
SULLIVAN             EDWARD J              NY         11565202         WILENTZ, GOLDMAN & SPITZER                           THOMAS               SANDY                 NY         10469596         WILENTZ, GOLDMAN & SPITZER
SULLIVAN             HOWARD D              NY         10750501         WILENTZ, GOLDMAN & SPITZER                           THOMPKINS            ROGER                 NJ         791992           WILENTZ, GOLDMAN & SPITZER
SULLIVAN             JERRY                 NY         10469596         WILENTZ, GOLDMAN & SPITZER                           THOMPSON             LOWELL                NY         11640500         WILENTZ, GOLDMAN & SPITZER
SULLIVAN             MARGARET              NY         10469596         WILENTZ, GOLDMAN & SPITZER                           THOMPSON             OLIVER C              NY         11897103         WILENTZ, GOLDMAN & SPITZER
SULLIVAN             MARY                  NY         10469596         WILENTZ, GOLDMAN & SPITZER                           THOMSON              ROBERT                NY         10726402         WILENTZ, GOLDMAN & SPITZER
SULLIVAN             STEVEN A              NY         10353500         WILENTZ, GOLDMAN & SPITZER                           THORP                STEWART E             NY         12556100         WILENTZ, GOLDMAN & SPITZER
SULLIVAN             THOMAS L              NY         10469596         WILENTZ, GOLDMAN & SPITZER                           THORPE               CEATRICE              NJ         W02535988        WILENTZ, GOLDMAN & SPITZER
SUPERAK              ALBERT                NJ         L123899          WILENTZ, GOLDMAN & SPITZER                           THORPE               LILLIE                NJ         W02535988        WILENTZ, GOLDMAN & SPITZER
SUPERAK              ELAINE                NJ         L123899          WILENTZ, GOLDMAN & SPITZER                           THORPE               RALPH E JR            NY         10166900         WILENTZ, GOLDMAN & SPITZER
SUPERINA             MARIO                 NY         11680001         WILENTZ, GOLDMAN & SPITZER                           TIERNEY              MAUREEN               NY         11331603         WILENTZ, GOLDMAN & SPITZER
SUPERINA             MIRANDA               NY         11680001         WILENTZ, GOLDMAN & SPITZER                           TIGHE                JOHN V                NY         10752899         WILENTZ, GOLDMAN & SPITZER
SUREK                MARGARET              NJ         L949598          WILENTZ, GOLDMAN & SPITZER                           TIGHE                PATRICIA              NY         10752899         WILENTZ, GOLDMAN & SPITZER
SUREK                MICHAEL               NJ         L949598          WILENTZ, GOLDMAN & SPITZER                           TIGHE                PATRICK J SR          NY         10999898         WILENTZ, GOLDMAN & SPITZER
SURIANO              HARRIET               NY         10999898         WILENTZ, GOLDMAN & SPITZER                           TIGHE                THERESA               NY         10999898         WILENTZ, GOLDMAN & SPITZER
SURIANO              JOHN                  NY         10999898         WILENTZ, GOLDMAN & SPITZER                           TIRIOLO              FRANK                 NY         11949700         WILENTZ, GOLDMAN & SPITZER
SURKO                ALBERT                NY         10833401         WILENTZ, GOLDMAN & SPITZER                           TOBIASSEN            THOMAS B              NY         12314298         WILENTZ, GOLDMAN & SPITZER
SUZDAK               STANLEY M             NY         12314298         WILENTZ, GOLDMAN & SPITZER                           TOCCI                HENRY                 NJ         L413300          WILENTZ, GOLDMAN & SPITZER
SWARTZ               FRANCIS D             NY         10166900         WILENTZ, GOLDMAN & SPITZER                           TOCCI                THERESA               NJ         L413300          WILENTZ, GOLDMAN & SPITZER
SWATLING             KENNETH T             NY         11911898         WILENTZ, GOLDMAN & SPITZER                           TOMARI               ALEXANDER J           NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
SWEENEY              ANNMARIE              NY         11492099         WILENTZ, GOLDMAN & SPITZER                           TOMARI               BERNADETTE            NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
SWEENEY              EDWARD L              NY         11680001         WILENTZ, GOLDMAN & SPITZER                           TOMASICHIO           RICHARD M             NY         11688602         WILENTZ, GOLDMAN & SPITZER
SWEENEY              RICHARD F             NY         11492099         WILENTZ, GOLDMAN & SPITZER                           TONER                DONALD                NJ         L950598          WILENTZ, GOLDMAN & SPITZER
SWEENEY              RICHARD T             NY         10184202         WILENTZ, GOLDMAN & SPITZER                           TONER                THERESA               NJ         L950598          WILENTZ, GOLDMAN & SPITZER
SWENSON              WALTER                NY         11957199         WILENTZ, GOLDMAN & SPITZER                           TOOHIG               EDWARD F              NY         11016101         WILENTZ, GOLDMAN & SPITZER
SWYGERT              CARL A                NY         19009210         WILENTZ, GOLDMAN & SPITZER                           TOPPI                ALBERINO              NY         11331603         WILENTZ, GOLDMAN & SPITZER
SZAKACS              ROBERT F              NY         11640500         WILENTZ, GOLDMAN & SPITZER                           TORNINCASO           JOSEPH                NY         11957099         WILENTZ, GOLDMAN & SPITZER
SZULTA               JOHN A                NY         10473302         WILENTZ, GOLDMAN & SPITZER                           TORO                 PHILIP                NY         11957199         WILENTZ, GOLDMAN & SPITZER
TABACCO              ROBERT L              NY         11662201         WILENTZ, GOLDMAN & SPITZER                           TORRES               ANGELA                NY         12222400         WILENTZ, GOLDMAN & SPITZER
TACHINE              ALFRED                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           TORRES               FRANCISCO JR          NY         10987101         WILENTZ, GOLDMAN & SPITZER
TAGLIAFERRI          MICHAEL G             NY         10999898         WILENTZ, GOLDMAN & SPITZER                           TORRES               FREDERICK A           NY         12222400         WILENTZ, GOLDMAN & SPITZER
TAGLIAFERRI          PATRICIA              NY         10999898         WILENTZ, GOLDMAN & SPITZER                           TORRES               VICTOR M              NY         10520704         WILENTZ, GOLDMAN & SPITZER
TAIBI                NOE V                 NY         11137399         WILENTZ, GOLDMAN & SPITZER                           TORTURRO             MARIA                 NY         11794206         WILENTZ, GOLDMAN & SPITZER
TALAMO               CHARLES               NY         10271102         WILENTZ, GOLDMAN & SPITZER                           TOTH                 ALEX J                NJ         L466196          WILENTZ, GOLDMAN & SPITZER
TALLINGER            GLENN F               NY         12600102         WILENTZ, GOLDMAN & SPITZER                           TOTO                 VINCENT A             NY         10270396         WILENTZ, GOLDMAN & SPITZER
TALLMAN              AUDREY                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           TOWELL               DORIS                 NY         10944198         WILENTZ, GOLDMAN & SPITZER
TALLMAN              CHARLES E             NY         11137399         WILENTZ, GOLDMAN & SPITZER                           TOWELL               JAMES                 NY         10944198         WILENTZ, GOLDMAN & SPITZER
TALLMAN              FLOYD SR              NY         12950900         WILENTZ, GOLDMAN & SPITZER                           TOWNSEND             LT                    NY         11957299         WILENTZ, GOLDMAN & SPITZER
TANTILLO             NICHOLAS A            NY         11522001         WILENTZ, GOLDMAN & SPITZER                           TOWNSEND             LARRY R               NY         10783200         WILENTZ, GOLDMAN & SPITZER
TARABOCCHIA          JOHN                  NY         10848805         WILENTZ, GOLDMAN & SPITZER                           TOY                  DONALD                NY         12950900         WILENTZ, GOLDMAN & SPITZER
TARAVELLA            THOMAS                NY         10752899         WILENTZ, GOLDMAN & SPITZER                           TRACEY               GEORGE                NY         12197003         WILENTZ, GOLDMAN & SPITZER
TARDI                PATSY                 NY         11492099         WILENTZ, GOLDMAN & SPITZER                           TRAENDLY             JAMES H               NY         1902882016       WILENTZ, GOLDMAN & SPITZER
TARTAGLIONE          JOHN S                NY         12364099         WILENTZ, GOLDMAN & SPITZER                           TRAENDLY             JAMES H               NY         11076300         WILENTZ, GOLDMAN & SPITZER
TASSA                CAMILLE M             NY         11076300         WILENTZ, GOLDMAN & SPITZER                           TRAENDLY             MARGARET              NY         1902882016       WILENTZ, GOLDMAN & SPITZER
TASSA                ROBERT J              NY         11076300         WILENTZ, GOLDMAN & SPITZER                           TRANK                LAWRENCE              NY         12509994         WILENTZ, GOLDMAN & SPITZER
TATAR                CAROLE                NY         11744198         WILENTZ, GOLDMAN & SPITZER                           TRAVIS               DORIS                 NY         12222400         WILENTZ, GOLDMAN & SPITZER
TATAR                CHARLES               NY         11744198         WILENTZ, GOLDMAN & SPITZER                           TRAVIS               HAROLD R III          NY         12222400         WILENTZ, GOLDMAN & SPITZER
TAUSS                ALFRED E SR           NY         10415501         WILENTZ, GOLDMAN & SPITZER                           TREITMEIER           JOSEPH                NY         11957299         WILENTZ, GOLDMAN & SPITZER
TAYLOR               EMILY                 NY         11230698         WILENTZ, GOLDMAN & SPITZER                           TRENNER              FRED                  NY         11640500         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1128
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 463 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

TRETTNER             ALFRED                NY         19003608         WILENTZ, GOLDMAN & SPITZER                           VITALE               JOHN R                NY         12201099         WILENTZ, GOLDMAN & SPITZER
TRETTNER             SUSAN JANE            NY         19003608         WILENTZ, GOLDMAN & SPITZER                           VITALE               VINCENT               NY         11733101         WILENTZ, GOLDMAN & SPITZER
TRINCHITELLA         MAURICE               NY         11522001         WILENTZ, GOLDMAN & SPITZER                           VITALINO             GIUSEPPE              NY         11016101         WILENTZ, GOLDMAN & SPITZER
TRIPPIEDI            RICHARD J             NY         10783200         WILENTZ, GOLDMAN & SPITZER                           VITIELLO             FRANK L               NY         10987101         WILENTZ, GOLDMAN & SPITZER
TRISCHETTI           LAWRENCE F            NY         12276899         WILENTZ, GOLDMAN & SPITZER                           VIVIAN               RINANDO               NY         11465799         WILENTZ, GOLDMAN & SPITZER
TROISE               FRANK                 NY         11778699         WILENTZ, GOLDMAN & SPITZER                           VIVIANI              SALVATORE             NY         11286900         WILENTZ, GOLDMAN & SPITZER
TROMBETTA            ROBERT                NY         10353500         WILENTZ, GOLDMAN & SPITZER                           VOEGELE              JOHN R                NY         12431599         WILENTZ, GOLDMAN & SPITZER
TROMBLEY             DAVID D               NY         10750501         WILENTZ, GOLDMAN & SPITZER                           VOERG                SUSAN E               NY         12591600         WILENTZ, GOLDMAN & SPITZER
TRUDO                ARMAND                NY         11016101         WILENTZ, GOLDMAN & SPITZER                           VOGEL                CHARLES               NY         11286900         WILENTZ, GOLDMAN & SPITZER
TRUDO                SHANE                 NY         11016101         WILENTZ, GOLDMAN & SPITZER                           VOGEL                CHARLES W             NY         11867000         WILENTZ, GOLDMAN & SPITZER
TRYBURSKI            LESLIE                NY         10766703         WILENTZ, GOLDMAN & SPITZER                           VOGEL                DOROTHY               NY         11867000         WILENTZ, GOLDMAN & SPITZER
TSIDEMIDIS           STEFANOS              NY         11603301         WILENTZ, GOLDMAN & SPITZER                           VOLASKI              ROBERT                NY         10521299         WILENTZ, GOLDMAN & SPITZER
TUFANO               ANTHONY               NY         11920398         WILENTZ, GOLDMAN & SPITZER                           VOLKMAN              ROBERT                NY         10472603         WILENTZ, GOLDMAN & SPITZER
TUFANO               MARGARET              NY         11920398         WILENTZ, GOLDMAN & SPITZER                           VON WERNE            LOUIS                 NY         12222400         WILENTZ, GOLDMAN & SPITZER
TULLY                JOHN                  NY         10796602         WILENTZ, GOLDMAN & SPITZER                           VORA                 KISHORCHANDRA B       NJ         L511696          WILENTZ, GOLDMAN & SPITZER
TULO                 VITO                  NY         10243701         WILENTZ, GOLDMAN & SPITZER                           VUKEK                FRANCES               NY         10726402         WILENTZ, GOLDMAN & SPITZER
TUMMARELLO           VINCENT R             NY         11465999         WILENTZ, GOLDMAN & SPITZER                           VUOCOLO              O JOSEPH              NY         11759499         WILENTZ, GOLDMAN & SPITZER
TURNER               DOROTHY               NY         11744198         WILENTZ, GOLDMAN & SPITZER                           WADKINS              ROBERT H              NY         12431599         WILENTZ, GOLDMAN & SPITZER
TURNER               JOHN                  NY         11744198         WILENTZ, GOLDMAN & SPITZER                           WAHLBERG             JOHN J                NY         10987201         WILENTZ, GOLDMAN & SPITZER
TURNER               MATTIE L              NY         119006309        WILENTZ, GOLDMAN & SPITZER                           WAINWRIGHT           CHAUNCEY              NY         10243701         WILENTZ, GOLDMAN & SPITZER
TURNER               ROBERT                NY         119006309        WILENTZ, GOLDMAN & SPITZER                           WAKIE                JOHN M                NY         11759499         WILENTZ, GOLDMAN & SPITZER
TURSI                FRANK                 NY         11603301         WILENTZ, GOLDMAN & SPITZER                           WALDRON              PETER A               NY         11887300         WILENTZ, GOLDMAN & SPITZER
TURTURRO             NICOLA                NY         11794206         WILENTZ, GOLDMAN & SPITZER                           WALKER               LEONARD               NJ         L48999           WILENTZ, GOLDMAN & SPITZER
TYLECKI              HELEN                 NJ         L06067985        WILENTZ, GOLDMAN & SPITZER                           WALKER               ROSALIE               NJ         L48999           WILENTZ, GOLDMAN & SPITZER
TYLER                THEODORE R. JR.       NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           WALKOVIAK            LEONARD               NJ         L09996886        WILENTZ, GOLDMAN & SPITZER
UDIN                 RONALD J              NY         12434600         WILENTZ, GOLDMAN & SPITZER                           WALLACE              CHRIS                 NY         12269900         WILENTZ, GOLDMAN & SPITZER
UMBRIAC              SAMUEL                NJ         L06148085        WILENTZ, GOLDMAN & SPITZER                           WALLACE              JAMES J               NY         11957299         WILENTZ, GOLDMAN & SPITZER
UNGARO               FRANK                 NY         10520704         WILENTZ, GOLDMAN & SPITZER                           WALLACE              KENNETH               NY         12269900         WILENTZ, GOLDMAN & SPITZER
URCIUOLI             LOUIS                 NY         10243701         WILENTZ, GOLDMAN & SPITZER                           WALLACE              MICHAEL               NY         10353500         WILENTZ, GOLDMAN & SPITZER
URVINO               CARMINE               NY         10588501         WILENTZ, GOLDMAN & SPITZER                           WALLACH              JANET                 NY         12070402         WILENTZ, GOLDMAN & SPITZER
VALENTI              MARY                  NY         10493995         WILENTZ, GOLDMAN & SPITZER                           WALLACH              SOLOMON               NY         12070402         WILENTZ, GOLDMAN & SPITZER
VALENTI              MICHAEL               NY         10493995         WILENTZ, GOLDMAN & SPITZER                           WALSH                DENNIS J              NY         12089901         WILENTZ, GOLDMAN & SPITZER
VALENTINE            ANTHONY L             NY         10896500         WILENTZ, GOLDMAN & SPITZER                           WALSH                JAMES P               NY         10588501         WILENTZ, GOLDMAN & SPITZER
VALENZA              BERNADETTE            NY         10752899         WILENTZ, GOLDMAN & SPITZER                           WALSH                JOHN                  NY         10415501         WILENTZ, GOLDMAN & SPITZER
VALENZA              JOHN R                NY         10752899         WILENTZ, GOLDMAN & SPITZER                           WALSH                PATRICK               NY         12950900         WILENTZ, GOLDMAN & SPITZER
VALURE               GARRY D               NY         10279101         WILENTZ, GOLDMAN & SPITZER                           WALTER               FRED C                NY         12231499         WILENTZ, GOLDMAN & SPITZER
VAN ALPHEN           PETER J               NY         11016101         WILENTZ, GOLDMAN & SPITZER                           WALTERS              KAREN                 NY         10744804         WILENTZ, GOLDMAN & SPITZER
VAN NAME             JOHN R SR             NY         11887300         WILENTZ, GOLDMAN & SPITZER                           WALTON               DANIEL                NY         11286900         WILENTZ, GOLDMAN & SPITZER
VAN NESS             RICHARD               NY         11793906         WILENTZ, GOLDMAN & SPITZER                           WALTON               SHIRLEY               NY         11286900         WILENTZ, GOLDMAN & SPITZER
VAN ORDEN            JOSEPH W              NY         11680001         WILENTZ, GOLDMAN & SPITZER                           WALZ                 KENNETH P             NY         11292303         WILENTZ, GOLDMAN & SPITZER
VAN PELT             WILLIAM A             NY         11957299         WILENTZ, GOLDMAN & SPITZER                           WALZ                 RUTH E                NY         11292303         WILENTZ, GOLDMAN & SPITZER
VAN WAGENEN          WILLIAM W             NY         12215300         WILENTZ, GOLDMAN & SPITZER                           WANZEL               NANCY L               NY         11076300         WILENTZ, GOLDMAN & SPITZER
VANCE                JOHN M                NY         12070402         WILENTZ, GOLDMAN & SPITZER                           WANZEL               THOMAS F              NY         11076300         WILENTZ, GOLDMAN & SPITZER
VANHORN              GEORGE E              NY         10271102         WILENTZ, GOLDMAN & SPITZER                           WARD                 JANICE                NY         12121100         WILENTZ, GOLDMAN & SPITZER
VARRICCHIO           LAWRENCE              NY         12509994         WILENTZ, GOLDMAN & SPITZER                           WARD                 JEROME                NY         12121100         WILENTZ, GOLDMAN & SPITZER
VECCHIO              PHYLLIS               NY         10353400         WILENTZ, GOLDMAN & SPITZER                           WARD                 KENNETH               NY         11565002         WILENTZ, GOLDMAN & SPITZER
VEGA                 EDMONDO               NY         12070402         WILENTZ, GOLDMAN & SPITZER                           WARDROP              RICHARD               NY         11162102         WILENTZ, GOLDMAN & SPITZER
VENNERA              ANTHONY               NY         12335999         WILENTZ, GOLDMAN & SPITZER                           WASHINGTON           DAVID C               NY         12142199         WILENTZ, GOLDMAN & SPITZER
VENNERA              ELENA                 NY         12335999         WILENTZ, GOLDMAN & SPITZER                           WASNEWISKI           EMILY                 NJ         L1541689         WILENTZ, GOLDMAN & SPITZER
VENTURINO            DONALD                NY         10903398         WILENTZ, GOLDMAN & SPITZER                           WASNEWISKI           ZIGMUND               NJ         L1541689         WILENTZ, GOLDMAN & SPITZER
VERAS                JUAN                  NY         11888303         WILENTZ, GOLDMAN & SPITZER                           WASSIL               FRANK G               NY         10987101         WILENTZ, GOLDMAN & SPITZER
VERDEROSA            JOYCE                 NY         10269203         WILENTZ, GOLDMAN & SPITZER                           WEAVER               DANIEL                NY         10726402         WILENTZ, GOLDMAN & SPITZER
VERDEROSA            VINCENT               NY         10269203         WILENTZ, GOLDMAN & SPITZER                           WEBB                 DORIS S               NY         11603301         WILENTZ, GOLDMAN & SPITZER
VERNI                LUCA                  NY         12556000         WILENTZ, GOLDMAN & SPITZER                           WEBB                 JAMES R               NY         11603301         WILENTZ, GOLDMAN & SPITZER
VERNI                ROSE MARIE            NY         12556000         WILENTZ, GOLDMAN & SPITZER                           WEBER                DOUGLAS               NY         10521299         WILENTZ, GOLDMAN & SPITZER
VERNOOY              KENNETH H             NY         11733101         WILENTZ, GOLDMAN & SPITZER                           WEEKS                JAMES                 NY         10520704         WILENTZ, GOLDMAN & SPITZER
VERTUCCI             LOUIS A               NY         12231499         WILENTZ, GOLDMAN & SPITZER                           WEIMAR               ALFRED                NY         10750501         WILENTZ, GOLDMAN & SPITZER
VESELY               JOHN J                NY         12556100         WILENTZ, GOLDMAN & SPITZER                           WEIMAR               ANTOINETTE            NY         10750501         WILENTZ, GOLDMAN & SPITZER
VIANELLO             ANTONIO               NY         11292303         WILENTZ, GOLDMAN & SPITZER                           WEINGAND             CARL H                NY         1903892015       WILENTZ, GOLDMAN & SPITZER
VICARI               ANTONINO              NY         11957299         WILENTZ, GOLDMAN & SPITZER                           WEINGAND             CLAUDIA               NY         1903892015       WILENTZ, GOLDMAN & SPITZER
VILLANI              ANTHONY               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           WEISBRUCH            ROBERT K              NY         11957299         WILENTZ, GOLDMAN & SPITZER
VINCELLO             CARMELA               NY         10833401         WILENTZ, GOLDMAN & SPITZER                           WEISS                JOHN M JR             NY         10944198         WILENTZ, GOLDMAN & SPITZER
VINCELLO             GERARD                NY         10833401         WILENTZ, GOLDMAN & SPITZER                           WEISS                URSULA                NY         10944198         WILENTZ, GOLDMAN & SPITZER
VINCIQUERRA          ANDREW                NY         10311601         WILENTZ, GOLDMAN & SPITZER                           WELLS                JANE                  NY         10992804         WILENTZ, GOLDMAN & SPITZER
VINES                JAMES F               NY         10353400         WILENTZ, GOLDMAN & SPITZER                           WELLS                JANE                  NY         10993304         WILENTZ, GOLDMAN & SPITZER
VINESKI              FRANK                 NY         10575504         WILENTZ, GOLDMAN & SPITZER                           WELLS                LEVI                  NY         10423103         WILENTZ, GOLDMAN & SPITZER
VINESKI              JEFFREY               NY         10575504         WILENTZ, GOLDMAN & SPITZER                           WELLS                PLUMMER M             NY         12014903         WILENTZ, GOLDMAN & SPITZER
VISLOCKY             NICHOLAS              NY         11522001         WILENTZ, GOLDMAN & SPITZER                           WELSH                FREDERIC              NY         10987101         WILENTZ, GOLDMAN & SPITZER
VITALE               ALFRED                NY         12335999         WILENTZ, GOLDMAN & SPITZER                           WENDLAND             KENNETH E             NJ         L362500          WILENTZ, GOLDMAN & SPITZER
VITALE               ALFRED R              NY         10987101         WILENTZ, GOLDMAN & SPITZER                           WENTWORTH            CAROL                 NY         11098502         WILENTZ, GOLDMAN & SPITZER
VITALE               CATHERINE             NY         11733101         WILENTZ, GOLDMAN & SPITZER                           WESCOTT              MARGARET              NY         12142199         WILENTZ, GOLDMAN & SPITZER




                                                                                                            Appendix A - 1129
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 464 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WESCOTT              ROBERT O              NY         12142199         WILENTZ, GOLDMAN & SPITZER                           YOUNG                RICHARD               NY         11230698         WILENTZ, GOLDMAN & SPITZER
WESIAK               RICHARD               NY         12231499         WILENTZ, GOLDMAN & SPITZER                           YOUNG                ROSA L                NY         11230698         WILENTZ, GOLDMAN & SPITZER
WEST                 ADAM B                NY         11640500         WILENTZ, GOLDMAN & SPITZER                           YOUNG                WALLY                 NY         10944198         WILENTZ, GOLDMAN & SPITZER
WEST                 GLADSTONE             NY         11565202         WILENTZ, GOLDMAN & SPITZER                           ZABOR                CHET                  NY         10752899         WILENTZ, GOLDMAN & SPITZER
WESTERLIND           NOEL C                NY         12314298         WILENTZ, GOLDMAN & SPITZER                           ZABOR                NANCY                 NY         10752899         WILENTZ, GOLDMAN & SPITZER
WEYER                ROBERT                NY         10987201         WILENTZ, GOLDMAN & SPITZER                           ZAHRA                JOSEPH                NY         19001512         WILENTZ, GOLDMAN & SPITZER
WHITMAN              EVERETT               NY         10726402         WILENTZ, GOLDMAN & SPITZER                           ZAKMAN               VIOLA                 NJ         L06068885        WILENTZ, GOLDMAN & SPITZER
WICKHAM              CLAUDE                NY         12201099         WILENTZ, GOLDMAN & SPITZER                           ZALESKI              WILLIAM I             NY         10944198         WILENTZ, GOLDMAN & SPITZER
WILDAY               KATHRYN               NY         11173499         WILENTZ, GOLDMAN & SPITZER                           ZALLOUGHI            BEATRICE              NY         11230698         WILENTZ, GOLDMAN & SPITZER
WILDAY               ROBERT D              NY         11173499         WILENTZ, GOLDMAN & SPITZER                           ZALLOUGHI            STEPHEN               NY         11230698         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             CHARLES H             NY         10588501         WILENTZ, GOLDMAN & SPITZER                           ZALUK                FRANK                 NY         10588501         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             CLAYTON SR            NY         11957299         WILENTZ, GOLDMAN & SPITZER                           ZAMMIT               CHARLES K             NY         11492099         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             DONALD L              NY         11286900         WILENTZ, GOLDMAN & SPITZER                           ZAMMIT               RAYE                  NY         11492099         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             EDWARD P              NY         12089901         WILENTZ, GOLDMAN & SPITZER                           ZARELLI              VINCENT               NY         10796602         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             FRANKLIN D            NY         12431599         WILENTZ, GOLDMAN & SPITZER                           ZAREMBSKY            HARRY                 NY         11603301         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             JESSIE                NY         10752899         WILENTZ, GOLDMAN & SPITZER                           ZAYSCHY              MORRIS                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
WILLIAMS             JUNIOUS B             NY         10752899         WILENTZ, GOLDMAN & SPITZER                           ZAZZI                GARY                  NY         10271102         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             LOUELLE               NY         11286900         WILENTZ, GOLDMAN & SPITZER                           ZBORAY               STEPHEN               NY         10966905         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             MARIA                 NY         11434205         WILENTZ, GOLDMAN & SPITZER                           ZEIGER               JERRY J               NY         12314298         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             PAUL                  NY         12276899         WILENTZ, GOLDMAN & SPITZER                           ZEOLI                ANTHONY               NY         12434600         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             ROBERT L              NY         10472603         WILENTZ, GOLDMAN & SPITZER                           ZEOLLA               PAT                   NY         10543598         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             ROBERT L              NY         12431599         WILENTZ, GOLDMAN & SPITZER                           ZEUNGES              MICHAEL               NY         12321898         WILENTZ, GOLDMAN & SPITZER
WILLIAMS             WILLIAM               NY         11434205         WILENTZ, GOLDMAN & SPITZER                           ZGALIJARDIC          DANIEL                NY         10783200         WILENTZ, GOLDMAN & SPITZER
WILSON               ELTON                 NJ         L06060985        WILENTZ, GOLDMAN & SPITZER                           ZGALJARDIC           CELESTIN              NY         10750501         WILENTZ, GOLDMAN & SPITZER
WILSON               VINCENT               NY         11756905         WILENTZ, GOLDMAN & SPITZER                           ZIC                  ANTON                 NY         10750501         WILENTZ, GOLDMAN & SPITZER
WILSON               WILLIAM L             NY         11640500         WILENTZ, GOLDMAN & SPITZER                           ZIMNIAK              JOHN                  NY         10521299         WILENTZ, GOLDMAN & SPITZER
WILSON               WILLIAM R             NY         11756905         WILENTZ, GOLDMAN & SPITZER                           ZINGALIS             BLAISE A              NY         11759499         WILENTZ, GOLDMAN & SPITZER
WINDHEUSER           GERD                  NY         10726402         WILENTZ, GOLDMAN & SPITZER                           ZINSER               HAROLD W              NY         12249598         WILENTZ, GOLDMAN & SPITZER
WINES                BARRY                 NY         12249598         WILENTZ, GOLDMAN & SPITZER                           ZITO                 EUGENE                NY         10353500         WILENTZ, GOLDMAN & SPITZER
WING                 JOSEPH                NY         11286900         WILENTZ, GOLDMAN & SPITZER                           ZONZINI              DONATO                NY         11522001         WILENTZ, GOLDMAN & SPITZER
WINTLE               JOHN W                NY         12509994         WILENTZ, GOLDMAN & SPITZER                           ZSILAVETZ            FRANK                 NY         10999898         WILENTZ, GOLDMAN & SPITZER
WOLF                 CHERYLE               NY         1901132012       WILENTZ, GOLDMAN & SPITZER                           ZSILAVETZ            JO ANN                NY         10999898         WILENTZ, GOLDMAN & SPITZER
WOLF                 EDWIN                 NY         1901132012       WILENTZ, GOLDMAN & SPITZER                           ZUJKOWSKI            DORIS                 NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
WOLF                 LAWRENCE              NY         11331603         WILENTZ, GOLDMAN & SPITZER                           ZUJKOWSKI            EDWARD                NJ         L06063385        WILENTZ, GOLDMAN & SPITZER
WOLF                 THERESE               NY         11331603         WILENTZ, GOLDMAN & SPITZER                           ZYBURO               JOSEPH                NY         12591600         WILENTZ, GOLDMAN & SPITZER
WOLFE                DOROTHY               NY         12070402         WILENTZ, GOLDMAN & SPITZER                           BANKS                JACK R                GA         2004AB00243C     WILLARD & SULLIVAN
WOLFE                HAROLD                NY         12070402         WILENTZ, GOLDMAN & SPITZER                           BANKS                JULIE                 GA         2004AB00243C     WILLARD & SULLIVAN
WOLFF                LOUIS M               NY         10311601         WILENTZ, GOLDMAN & SPITZER                           BENDER               GEORGIA               GA         2005AB00250C     WILLARD & SULLIVAN
WOLFLE               AUGUST                NY         10796602         WILENTZ, GOLDMAN & SPITZER                           BERRY                JANENE                GA         2005AB00250C     WILLARD & SULLIVAN
WOLKOFF              DMITRI                NY         10520704         WILENTZ, GOLDMAN & SPITZER                           BERRY                RONALD G              GA         2005AB00250C     WILLARD & SULLIVAN
WOOD                 CAROL                 NY         11163304         WILENTZ, GOLDMAN & SPITZER                           BROWN                KINNIE J              GA         2005AB00250C     WILLARD & SULLIVAN
WOOD                 JOE                   NY         11733101         WILENTZ, GOLDMAN & SPITZER                           BRUCE                BETTIE                GA         2005AB00250C     WILLARD & SULLIVAN
WOOD                 JOHN D                NY         11163304         WILENTZ, GOLDMAN & SPITZER                           BRUCE                LEON                  GA         2005AB00250C     WILLARD & SULLIVAN
WOOD                 TERRY L               NY         11680001         WILENTZ, GOLDMAN & SPITZER                           BURNETT              ODEL                  GA         2005AB00250C     WILLARD & SULLIVAN
WOODCOCK             LEONARD               NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CHAPMAN              FRANK MAX             GA         2005AB00250C     WILLARD & SULLIVAN
WOODCOCK             YVONNE                NY         10469596         WILENTZ, GOLDMAN & SPITZER                           CHAPMAN              PHYLLIS               GA         2005AB00250C     WILLARD & SULLIVAN
WOODHEAD             EDWARD                NY         12215002         WILENTZ, GOLDMAN & SPITZER                           CUNNINGHAM           ETHEL DARLENE         GA         2005AB00250C     WILLARD & SULLIVAN
WORTAS               PHILIP                NY         10218405         WILENTZ, GOLDMAN & SPITZER                           CUNNINGHAM           JIMMIE                GA         2005AB00250C     WILLARD & SULLIVAN
WORTAS               SUSAN                 NY         10218405         WILENTZ, GOLDMAN & SPITZER                           DAVENPORT            ALTON J               GA         2005AB00250C     WILLARD & SULLIVAN
WOXHOLDT             BERNARD               NY         10588501         WILENTZ, GOLDMAN & SPITZER                           DAVENPORT            JOANNE                GA         2005AB00250C     WILLARD & SULLIVAN
WRIGHT               EDWARD J              NY         10472301         WILENTZ, GOLDMAN & SPITZER                           ELLIS                JOAN W                GA         2005AB00250C     WILLARD & SULLIVAN
WRINS                DONALD                NY         11137399         WILENTZ, GOLDMAN & SPITZER                           ELLIS                JOHNNY                GA         2005AB00250C     WILLARD & SULLIVAN
WRINS                DONALD G              NY         11137399         WILENTZ, GOLDMAN & SPITZER                           FONVILLE             ROBERT                GA         2005AB00250C     WILLARD & SULLIVAN
WYNN                 ERNEST                NY         11680001         WILENTZ, GOLDMAN & SPITZER                           HARRIS               GEORGE LARRY          GA         2005AB00250C     WILLARD & SULLIVAN
YACHERA              JOSEPH E.             NJ         L06060985        WILENTZ, GOLDMAN & SPITZER                           HARRIS               IMOGENE               GA         2005AB00250C     WILLARD & SULLIVAN
YAM                  KAN N                 NY         11492099         WILENTZ, GOLDMAN & SPITZER                           HAYES                CHERRIA               GA         2005AB00250C     WILLARD & SULLIVAN
YAM                  YU                    NY         11492099         WILENTZ, GOLDMAN & SPITZER                           HAYES                DELRIDGE              GA         2005AB00250C     WILLARD & SULLIVAN
YANEZ                MARIA V               NY         10987101         WILENTZ, GOLDMAN & SPITZER                           HOWARD               BILLY R               GA         2005AB00250C     WILLARD & SULLIVAN
YANNO                JOSEPH                NY         11744198         WILENTZ, GOLDMAN & SPITZER                           HURLEY               ANTHONY               GA         2005AB00250C     WILLARD & SULLIVAN
YANONIS              STEPHEN J             NJ         L06063385        WILENTZ, GOLDMAN & SPITZER                           HURLEY               NELLIE                GA         2005AB00250C     WILLARD & SULLIVAN
YANONIS              STEPHEN J             NJ         791992           WILENTZ, GOLDMAN & SPITZER                           ISBELL               ELIZABETH ANN         GA         2005AB00250C     WILLARD & SULLIVAN
YAPP                 WINSTON A             NY         11662201         WILENTZ, GOLDMAN & SPITZER                           ISBELL               JAMES L               GA         2005AB00250C     WILLARD & SULLIVAN
YATER                ARLENE                NY         11076300         WILENTZ, GOLDMAN & SPITZER                           JONES                CHARLES CLAUD         GA         2005AB00250C     WILLARD & SULLIVAN
YATER                FREDERICK             NY         11076300         WILENTZ, GOLDMAN & SPITZER                           JONES                CLARCIE               GA         2005AB00250C     WILLARD & SULLIVAN
YENNA                WILLIAM               NY         11016101         WILENTZ, GOLDMAN & SPITZER                           MCCLUNG              MAHLON                GA         2005AB00250C     WILLARD & SULLIVAN
YERCHIK              JOSEPH                NY         12321898         WILENTZ, GOLDMAN & SPITZER                           MCCLUNG              SHIRLEY               GA         2005AB00250C     WILLARD & SULLIVAN
YODICE               JOHN                  NY         11286900         WILENTZ, GOLDMAN & SPITZER                           MCCORMICK            EARLEAN               GA         2005AB00250C     WILLARD & SULLIVAN
YODICE               LOUIS                 NY         10833401         WILENTZ, GOLDMAN & SPITZER                           MOORE                JACK                  GA         2005AB00250C     WILLARD & SULLIVAN
YODICE               ROBERT J              NY         12196903         WILENTZ, GOLDMAN & SPITZER                           MOORE                LYNNE                 GA         2005AB00250C     WILLARD & SULLIVAN
YOUNG                ARTHUR                NY         11230698         WILENTZ, GOLDMAN & SPITZER                           MORGAN               TOMMY                 GA         2005AB00250C     WILLARD & SULLIVAN
YOUNG                DOROTHY               NY         11230698         WILENTZ, GOLDMAN & SPITZER                           PLAXICO              REBECCA               GA         2005AB00250C     WILLARD & SULLIVAN




                                                                                                            Appendix A - 1130
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 465 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PLAXICO              WILLIAM               GA         2005AB00250C     WILLARD & SULLIVAN                                   BELL                 JOHN W                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
POWELL               BERNICE               GA         2005AB00250C     WILLARD & SULLIVAN                                   BENNETT              JOHNNIE B             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
POWELL               CARLA                 GA         2005AB00250C     WILLARD & SULLIVAN                                   BENNETT              LENORA B              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
PRATER               HASKEL                GA         2005AB00250C     WILLARD & SULLIVAN                                   BENNETT              RALPH R               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RATLIFF              FERN                  GA         2005AB00250C     WILLARD & SULLIVAN                                   BENOIT               DOUG                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
RATLIFF              JOHN T                GA         2005AB00250C     WILLARD & SULLIVAN                                   BERGERON             ISAAC                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
RUSCH                DIANE                 GA         2005AB00250C     WILLARD & SULLIVAN                                   BERGERON             KIP J                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
SIMS                 WILLIAM               GA         2005AB00250C     WILLARD & SULLIVAN                                   BERGERON             MICHAEL               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
SKAGGS               BOBBY E               GA         2005AB00250C     WILLARD & SULLIVAN                                   BERGERON             ROBERT JAMES          TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
STEADMAN             FRANCIS               GA         2005AB00250C     WILLARD & SULLIVAN                                   BERGMAN              WILLIAM B JR          TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
STEADMAN             RONALD B              GA         2005AB00250C     WILLARD & SULLIVAN                                   BERGMAN              WILLIAM D             TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMPSON             CHARLES THOMAS        GA         2005AB00250C     WILLARD & SULLIVAN                                   BERMUDEZ             PEDRO                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
WIGLEY               DELLA                 GA         2005AB00250C     WILLARD & SULLIVAN                                   BERRY                JERRY                 TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
WIGLEY               WILSON                GA         2005AB00250C     WILLARD & SULLIVAN                                   BEZDEK               NORBORT F             TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
WOOD                 JAN                   GA         2005AB00250C     WILLARD & SULLIVAN                                   BLACK                HENRY H               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
DARNELL              JOHN H                KY         00CI00111        WILLIAM C.O. REAVES, PSC                             BLACKSTOCK           JAMMIE G              TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ABARE                KAY C                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BLACKSTOCK           LONNIE ROY            TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ACKLEY               JESSE W               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BLAND                EB                    TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ACKLY                ETTA                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BLEVINS              BARBARA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AGUILAR              PEDRO                 TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BLEVINS              JAMES M               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AGUILLON             JOSE T                TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                BLOUNT               WILLIAM E             TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALANIZ               FELIX                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOLIEU               COLETTE               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALFRED               RONNIE                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOLIEU               COLETTE ANN           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALLEN                JUMEL                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOLIEU               JOHN E                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALLEN                MARTHA                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOLIEU               JOHN E JR             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALLEN                STERLING SR           TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOLIEU               WADE                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALMARAZ              RODOLFO M             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BONAVENTURE          JOSEPH EDGAR JR       TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
ALVARE               MANUEL F              TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BONIER               LINCOLN               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AMONETTE             BILLY                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BONIER               ROBERT                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AMOS                 EDDIE J               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOONE                ARNOLD L              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ANDERSON             MILES R               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BORJAS               CELIA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ANDERSON             RONNIE E              TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BORJAS               ELIAS C               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ARABIE               WANDA L               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOSLEY               ONEAL                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
ARDIE                WILSON                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOUDREAUX            GARY                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
ARENA                JOSEPH T              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOURQUE              DAVID K               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
ATTEBERY             DELIA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOURQUE              KATHLEEN              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
ATTEBERY             KENNETH R             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOURQUE              MELVIN J              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUCOIN               RUSSELL J             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOWDREN              HARRY J               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUCOIN               SANDRA                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOWLIN               JAMES E               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUSTIN               EMILY                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOYDE                DOUGLAS E             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUSTIN               EMILY A               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOYDE                WANDA L               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUSTIN               GUS V                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BOZANT               ARMAND J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUSTIN               NAN M                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRACKETT             DORETHA F             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
AUSTIN               RICHARD               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRADLEY              WALLACE E             TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
AVEN                 TOMMY R               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRAHM                MARY SUE              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAKER                DENNIS R              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANCH               EDWARD C              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BALANDRAN            GEORGE A              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              ARTHUR C              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BARKER               HAROLD D              TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              COLIN P               TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
BARKER               ROBERT D              TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              COLIN P               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BARKER               VIOLA                 TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              FREETA SUE            TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
BARKLEY              JOE                   TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              FREETA SUE            TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BARRETT              JOSEPH                TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              LYN                   TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
BASS                 HELEN A               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              LYN                   TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BASS                 HORACE D              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              STEPHEN M             TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUER                BETTY J               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              STEPHEN M             TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUER                BETTY JEANNE          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              STEPHEN P             TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUER                ELMER R               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRANDON              STEPHEN P             TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUER                GREGORY R             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRAUD                CHARLES P             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUER                MICHAEL K             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BREAUX               DANIEL                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUER                RICHARD W             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            JOHNNY                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUGHMAN             EDWARD E              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            JOSEPH E              TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUGHMAN             JAMES E               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            JOSEPH E              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUGHMAN             JASON                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            JOSEPH E JR           TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUGHMAN             MARK                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            JOSEPH E JR           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUGHMAN             MARY                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            ROBERT L              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BAUGHMAN LARSON      CINDY                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            ROGER W               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BEARDEN              FLOYD W               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROUSSARD            ROGER W               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BEARDEN              LINDA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROWN                BILLY R               TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BECKLEY              ESTHER                TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROWN                RICHARD               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BEEL                 DENISE                TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                BROWN                THOMAS B              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BELL                 JEFFIE LEA            TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                BRUMBELOW            PATRICIA D            TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1131
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 466 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BUCKHOLT             ROBERT L              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DAVIS                LYLE M                TX         200521604        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BULLOCK              LOUIS B JR            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DAVIS                NORMA                 TX         33407            WILLIAMS KHERKHER HART & BOUNDAS, LLP
BULLOCK              MINNIE                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DEAN                 BILLY J               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
BUTLER               CYNTHIA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DELANEY              CHARLES               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
BYRD                 TAMMY M               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DELANEY              PATRICIA              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CADENA               ARNOLD T              TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                DELCOURE             BOBBY R               TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP
CAINE                ALSEN J JR            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DELEON               ANTONIO               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CALDWELL             EDWARD G              TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                DELLOLIO             ANTONIO A             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CALHOUN              EARNEST               TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DENT                 EVELINE               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CAMP                 CHARLES K             TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DENT                 EVELINE M             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CAMPISE              FRANK                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DENT                 WALTER                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CANTU                RENE                  TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DENT                 WALTER F              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CARLEE               FREDDIE H             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DESSELLE             BRUCE                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CARRASCO             DAVID B               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DEVOLTZ              JOHNNY E              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CARRIERE             NORMAN                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DIAGLE               VERLON                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CARRIZALES           JOE                   TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                DICKEY               DAYTON LEMUEL         TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CARSON               KAREN                 TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DIDIER               JOHN C                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CASEY                JOHN A                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DILLARD              DUEL K                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAMBLESS            CHARLES M             TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DOMINQUE             BEVERLY KAY           TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                CONSUELO              TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DONELSON             RONALD K              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                CONSUELO M            TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DONELSON             RONALD K              TX         200038726        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                FRANCISCO             TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUEITT               JOHN P                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                FRANCISCO E           TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUPRE                DAVID P               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                GUILLERMO R           TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUPUY                LYNN A                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                JOHN F                TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DURISO               LAWRENCE J            TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAPA                LEOPOLDO              TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUROCHER             ELDRIDGE              TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAUVIN              BOBBY                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUSEK                JOHN B                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHAUVIN              JANE                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUTY                 CLARENCE              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHENEY               DAREL E               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                EALEY                GEORGE E              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHENEY               WILLIAM B             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                EALEY                ROBIN                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHENEY JR            WILLIAM B             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                EASTER               JOHN B                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHENIER              JOSEPH E              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                EDWARDS              ESSIE L               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHILDS               JAMES T               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                EDWARDS              WILLIAM               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHIMENE              BENNIE C              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ELLENDER             GLENN                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHIOVARO             MARICA                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ELLENDER             TERRY                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHRISTIAN            JUNE E                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ELLINDER             BOBBY F               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHRISTIAN            JUNE ELLEN            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ESCOBAR              FELIX P               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHRISTIAN            NANCY J               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ESTRADA              NINFA R               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHRISTIAN            RODNEY K              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FALGOUT              JEFFREY               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CHRISTIE             LESLIE                TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                FALREGAS             LOUIS                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
CLARK                LEON                  TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FERRINO              MICHAEL               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CLEAR                JANE                  TX         95CV0279         WILLIAMS KHERKHER HART & BOUNDAS, LLP                FERRINO              RICHARD               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CLEAR                ROBERT C              TX         95CV0279         WILLIAMS KHERKHER HART & BOUNDAS, LLP                FIELDS               JOHNNIE MAE           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CLEMENTS             PATRICIA              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FIELDS               KENNETH W             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CLEMENTS             PATRICIA A            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FINLEY               CHARLES E             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
COFFMAN              DOYLE R               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FLORES               ROBERT R              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
COLEMAN              BOYD G                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FLOYD                MELVIN                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
COOK                 DORA                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FLOYD                RASHID                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
COOK                 GEORGE W              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FONSECA              BERWICK               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
COOPER               SIDNEY E              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FORET                NOEL                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
COPELAND             JAMES R               TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP                FORTENBERRY          FRANK M               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CORDES               CLEBURN D             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FOSTER               EDWARD L              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
COX                  LARRY D               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FOSTER               ROBERT C              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CRAWFORD             ADA                   TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FOWLER               ISEUM WAYNE           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CRAWFORD             JOE F                 TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANCO               RIGOBERTO             TX         03609474         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CRESSIONE            LOUIS                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANKLIN             MARILYN R             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
CRESSIONE            MARION                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANKUM              CAROLYN               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CROOKS               JOE                   TX         200330450        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANKUM              CAROLYN               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CROWHURST            JOHN L                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANSAW              EDWIN                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CRUMP                ELIZABETH A           TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANSAW              MARVIS                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CUELLAR              MINERVA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANSAW              PATTI                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CUELLO               APOLINAR              TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANSAW              THEOWDER              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
CUTAIA               MIKE                  TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRANSAW JR           THEOWDER              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
DAILEY               EVERETTE              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRATER               MARSHALL              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
DANCER               BENNIE J              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FRAZIER              REX L                 TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP
DANIELS              JAMES C               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                FUHRMANN             PHYLLIS               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
DARBY                JIMMY                 TX         200536194        WILLIAMS KHERKHER HART & BOUNDAS, LLP                GABLE                LEROY A               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
DAUGHTRY             DONAL R               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                GAINER               DONALD                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
DAVIS                ALFREDRICK            TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                GANNON               DANIEL P              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
DAVIS                ALTON W               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                GARCIA               BENNIE                TX         04CV1363         WILLIAMS KHERKHER HART & BOUNDAS, LLP
DAVIS                HARRELL D             TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                GARCIA               FRANCES               TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1132
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 467 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

GARCIA               PETE U                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HART                 JEAN A                TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GARTMAN              KELIA M               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HART                 MORRIS L              TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GAUTHIER             RICHARD C             TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HARTLEY              MARY                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GAUTREAUX            GARY                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                HARTLEY              RAYMOND               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GENTLE               BETTY                 TX         200433295        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HARTLEY              RAYMOND JR            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GENTLE               NORMAN                TX         200433295        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HATCHEL              JAMES L               TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GEORGE               ODELL K               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEATHCOCK            WEBBER W              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GIBBS                LLOYD                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEBERT               CARL                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
GILBERT              AUSTIN D              TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEBERT               TOBAY                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
GILL                 DOYLE G               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEBERT               WILLIAM T             TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GIRTMAN              RAYMOND               TX         32003            WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEIDELBERG           PATRICIA ANN          TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
GOFF                 DIANE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEIDELBERG           TERRY M               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
GOFF                 JOHN E                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HELLUMS              JAMES R               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GOLD                 JOE E                 TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP                HELLUMS              MARY AGNES            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GONZALES             EDWARD                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENDERSON            JESSE G               TX         33406            WILLIAMS KHERKHER HART & BOUNDAS, LLP
GONZALES             PAUL S                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENDERSON            LAVERNE               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GONZALES             RAMIRO C              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENDERSON            PAUL I                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GONZALEZ             JUAN A                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENDON               BRENDA                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GONZALEZ             TOMAS                 TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENDRICKS            HAZEE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GOODMAN              KENNETH E             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENDRICKS            TRAVIS                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GOODMAN              SUSAN RENE            TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENLEY               EUGENE                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GORE                 ALFRED M              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENRY                ANTHONY               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRACE                ROBERT E              TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENRY                ISABEL B              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAFE                VIRGINIA              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENRY                TUPIE C               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAY                 ELLEN D               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENRY                VIOLA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAY                 ETHEL E               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENRY                WILBERT               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAY                 GEORGE M              TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HENSLEY              JOHN                  TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAY                 JAMES                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERNANDEZ            AGAPITO K             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAY                 JAMES N               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERNANDEZ            ISRAEL C              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRAY                 JAMES N JR            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERNANDEZ            JOSE                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GREEN                RALPH                 TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERNANDEZ            JOSE O                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GREEN                WILLIE                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERNANDEZ            JUAN                  TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP
GREENE               MYRTLE                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERNANDEZ            ROSA M                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GREENE ALFRED        DORA A                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERRERA              FELIX B               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRIFFIN              DANIEL                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERRERA              FELIX E               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRIFFIN              DENNIS H              TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HERRERA              MINERVA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRIFFITH             EMMA L                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HESTER               JULIUS                TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP
GRIMES               DAVID R               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HEUSZEL              ALVIE L               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GROS                 JAMES A               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                HILL                 ALLEN                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUAJARDO             JOHN D                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HILLS                ROGERS                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUERRA               JUAN P                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HILTON               GARY L                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUFFEY               WAYNE B               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                HINOJOSA             GABRIEL               TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUIDRY               HERMAN C              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HODGE                CALVIN                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUILLORY             PRESTON               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOEGEMEYER           GAYLE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUTHRIE              DAMON L               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOFFMAN              AMY L                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUTHRIE              VICTORIA              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOFFMAN              BRENDA C              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GUZMAN               BENITO                TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOFFMAN              JERRY C               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
GWINNETT             JANET S               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOFFMAN              THOMAS F              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HADLEY               GARLAND S             TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOLLOWAY             ALBERT B              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAGAN                DALE J                TX         200530182        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOLSTEAD             GLORIA                TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAGEN                CHARLES M             TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                HORNING              JOHN WESLEY           TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
HALL                 PETER L               TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOTARD               ALRED                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMILTON             DOUGLAS               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOWARD               HELEN MARIE           TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMILTON             JERRY                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOWARD               HELEN MARIE           TX         B166823G         WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMILTON             JIMMIE L              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOWARD               IVA J                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMILTON             ONETTA                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOWARD               JANICE                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMILTON             WAYNE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOWARD               ROBERT LEVERAL        TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMILTON             WILLIE                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HOWARD               ROBERT LEVERAL        TX         B166823G         WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMM                 CHARLES E             TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HUDSON               KENNETH               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HAMM                 CHARLES R             TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HUDSON               MICKEY                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HANNEGAN             BENJAMIN H            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HUNICKE              ANTHONY               TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HANNEGAN             REBA L                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                HUNT                 HARVIE L              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARGROVE             OTHA L SR             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                HYMAN                KENNETH RAY           TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARGROVE             ROSIE M               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                IBARRA               OLGA                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRELL              DERWOOD E             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                INGLE                LAURA J               TX         32003            WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRELL              DERWOOD E             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                IRBY                 NOAH J JR             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRELL              FLORA MAE             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                IRBY                 SHERRI OLIVER         TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRELL              FLORA MAE             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                IVEY                 MICHAEL R             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRIS               JAMES EARL            TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                IVEY                 ROBERT                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRIS               JOHNNY LEE            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                JACKSON              ALGERITTA DARSWELL    TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
HARRIS               JULIA A               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                JACKSON              JUDGE C               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1133
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 468 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number    Primary Plaintiff Counsel

JACKSON              MERCEDES              TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEONARD              CHARLOTTE             TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JACKSON              WILLIE H              TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEONARD              GERALD J              TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
JARREAU              ERNEST A              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEOS                 CHRISTOPHER           TX         24381PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JARREAU              VIVIAN J              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEVINGSTON           ALVIN L               TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
JEFFERSON            EVELYN C              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEWIS                CHRISTINE L           TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JENNINGS             BARTLEY M             TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEWIS                ELLA                  TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JENNINGS             MADELINA M            TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEWIS                HARRIS                TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
JENSEN               WILLIAM C             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEWIS                KEVIN D               TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JOHNSON              DELOYCE               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEWIS                RUBY                  TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
JOHNSON              ERNEST F              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LEWIS                WILLIE R              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JOHNSON              RALPH                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                LIGUEZ               TOMAS A               TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JOHNSON              ROBERT D              TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LINDSAY              DUANE T               TX         24358PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                BOBBY LANDON          TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LINDSEY              RONALD A              TX         24358PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                CHERYL A              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LINSCOMBE            LARRY L               TX         ED101J017704482   WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                DENNIS L              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LIRETTE              DONNIE P              TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                ED SAMPLE             TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LITTLEFIELD          JAMES F               TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                ELSIE                 TX         95CV0279         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOCKHART             HELEN ANN             TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                GLORIA G              TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOCKHART             WILLIAM E             TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                JOHN HENRY            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LODEN                GEORGE T              TX         24380RM03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                JOSEPH T              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOPEZ                ALFRED C              TX         24380RM03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                KEITH                 TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOPEZ                RUBEN                 TX         24381PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                LEROY                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LORIA                ANTHONY L             TX         24357PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                MILTON C              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOTT                 MELVIN                TX         B0166823A         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                ROBERT J              TX         95CV0279         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOTT                 VESTA MAE             TX         B0166823A         WILLIAMS KHERKHER HART & BOUNDAS, LLP
JONES                ROBERT LEE            TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOUPE                JOHNNY                TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
JORDAN               ROBERT JR             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOWE                 LOUISE                TX         33353             WILLIAMS KHERKHER HART & BOUNDAS, LLP
JUAREZ               ANGELINA H            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOWE                 TOMMY W               TX         33353             WILLIAMS KHERKHER HART & BOUNDAS, LLP
JUAREZ               GEORGE                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOWE                 WALLACE               TX         33353             WILLIAMS KHERKHER HART & BOUNDAS, LLP
JUSTICE              ROBERT E              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOZANO               RENE S                TX         03602280001       WILLIAMS KHERKHER HART & BOUNDAS, LLP
KAYLOR               RISE H                TX         200530182        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LOZANO               SAMUEL B              TX         24381PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KEITH                CHESTER               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUCAS                DONALD P              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KEITH                EARL O                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUMETTA              AIDA                  TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KENNEDY              CHARLES L             TX         200530184        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUMETTA              RAY A                 TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KENNEDY              WAYNE E               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUMETTA              ROY                   TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KERSH                ROBERT H              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUMETTA              SALVADOR              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KERVIN               SHIRLEY P             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUMETTA              SALVADOR JR           TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KINDLE               WILLIAM D             TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUNDY                RICHARD J             TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
KING                 DAUSE D               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUSK                 GENERAL C             TX         B0166823A         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KING                 ELIZABETH CRAWFORD    TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                LUSK                 VERNA M               TX         B0166823A         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KING                 LEWIS D               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MABIEN               EVELYN W              TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
KING                 ODIS D                TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MABIEN               ROOSEVELT JR          TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
KIRKLEY              CHARLIE W             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MALDONADO            REYES                 TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KLUNA                DAISY L               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MALONE               DEBORAH D             TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
KNAPP                MAC                   TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MALONE               TYRONE L              TX         94C21103          WILLIAMS KHERKHER HART & BOUNDAS, LLP
KNIGHT               JOHN                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MALOVETS             MELVIN J              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KNISER               ALMA                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MANSEL               HISBRAY G             TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KNISER               ROLLAND L             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MANSEL               WENDELL               TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
KNOX                 JAMES R III           TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                MANSEL               WILLIE DEAN           TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LABAUVE              VERNON P SR           TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAPES                JACKIE G              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LACOMBE              CHESTER JOSEPH        TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARCEL               GERARD                TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
LAIRD                DAVID D               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAREK                DORIS                 TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LAIRD                ROBERT N              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAREK                RAYMOND D             TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LANCASTER            TW                    TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               ADAM J                TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LANCASTER            TOMMY                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               BILLY TROY            TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
LANDRY               ALVIN                 TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               DAVID W               TX         24357PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LANDRY               VITAL                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               GERALD G              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LANDRY               WILLIAM               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               MARY                  TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LATTIN               ALMA                  TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               RODNEY                TX         A168572           WILLIAMS KHERKHER HART & BOUNDAS, LLP
LAYNE                LONNIE J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTIN               RUSSELL I             TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LE BOEUF             DAVID                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTINEZ             GENARO                TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LE BOEUF             LEROY                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTINEZ             JESUS                 TX         24357PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LE BOEUF             WAYNE N               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTINEZ             KATHLEEN              TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEBEOUF              HARRY P               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTINEZ             MIGUEL                TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  ANTHONY               TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MARTINEZ             PABLO                 TX         24358PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  LORA                  TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MASON                NOLAN                 TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  MICHAEL               TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MASTERS              JANET LEE             TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  PRISCILLA             TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MATNEY               CHARLES M             TX         24551BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  ROBERT                TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAYON                ALTON                 TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  STEPHANIE             TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAYON                JOSEPH                TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE                  WARREN G              TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAYON                LAWRENCE              TX         24358PS03         WILLIAMS KHERKHER HART & BOUNDAS, LLP
LEE JR               WARREN G              TX         200048409        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MAYON                PETER                 TX         24378BH03         WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1134
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 469 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MCCABE               MARIE                 TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                MURRELL              LLOYD G               TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCCABE               PHILIP S              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                MUZIKOWSKI           JOSEPH A JR           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCCASTLE             C B JR                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                MUZIKOWSKI           JOSEPH ANTHONY        TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCCASTLE             LULA BELL             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                MUZIKOWSKI JR        JOSEPH ANTHONY        TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCCOY                LYNN                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NAQUIN               ROBIN P               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCCRORY              GLORIA J              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                NASH                 DORTHA LORANE         TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCCRORY              ROBERT E              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                NASH                 SAMMIE A              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCDONALD             EDITH                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NATION               MURPHY                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCDONALD             GILBERT C             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NEAL                 JACK W                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCDOUGAL             FRED                  TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NEAL                 KAY                   TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCFARLAND            JESSE                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NEAL                 LAURA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCGRAW               MILES                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NELSON               CHARLIE G             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCINTRYE             LORENA                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NELSON               TONY L                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCKENZIE             DERYL                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NEWBERRY             GERRY D               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCKENZIE             RA                    TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NEWSOME              RB                    TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCKNIGHT             RENNIE B              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NICHOLS              CAROLYN M             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCKNIGHT             RENNIE L              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NORGAN               FANNY                 TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCLAUGHLIN           ROBERT                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                NORGAN               FRANKLIN D            TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCLIN                CLARA MAEBEL          TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                NORRIS               OTIS H                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCLIN                DORIS RANDOLPH        TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                NORRIS               RONALD P              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCMILLAN             DAVID R               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NORRISS              KERBY J               TX         201941237        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCMILLAN             MARY E                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                NORRISS              NATALIE               TX         201941237        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCMILLON             LOWELL R              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                NOVAK                JERRY J               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MCQUEEN              CLAYTON M             TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                NOVAK                PAUL A                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MEADOWS              CONRAD J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'CONNOR             JOHNNY R SR           TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MECHE                CAROLYN ANN           TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'CONNOR             WANDA                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MECHE                FLOYD J               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                ODOM                 KELLY J               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MEEKER               PAUL J                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'GORMAN             JACK WHITSON          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MEEKINGS             WILLIAM               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                OLIVER               GEORGE L              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MEINERS              DELVIN G              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                OLIVER               GILBERT L             TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
MELLARD              MARTIN E              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                OLIVIER              DEBORAH               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
MELTON               RHONDA J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                OLIVIER              STEVE                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
MENDEZ               ALFONSO               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                OLVERA               JORGE                 TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MIERS                ELBERT D              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'NEAL               ALFRED                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MIERS                IMA PEARL             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'NEAL               ALFRED JR             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MILLER               BILLY                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'NEAL               LINSEY C              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MILLER               JAMES WILLIAM         TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                O'NEAL               PATRICIA              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MILLER               PHELISHA              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                ORTIZ                EULOGIO               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MILLS                WALTER J              TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                OSGOOD               DEMA                  TX         06CV0485         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MINTER               JAMES C               TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP                OSGOOD               RANDALL E             TX         06CV0485         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MITCHELL             GLENN                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                PACHECO              MARY F                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MITCHELL             JAMES E               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PADIO                EUGENE J              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MIZZELL              EARL E                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                PAIRE                MELVIN D              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MIZZELL              MARY L                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                PARKER               MARGARET J            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MODISETTE            BUDDY WAYNE           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PARMER               MARK                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOLINA               RAFAEL A              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PARRIS               STEPHEN               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOLNAR               IRENE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PARTNEY              CHERYL                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOLNAR               JOSEF                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PEDRAZA              JOHN E                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MONTOYA              ABELINO G             TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                PENA                 EUGENIO               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOORE                AD                    TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PENA                 ISRAEL                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOORE                CATHY                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PENA                 ISRAEL H              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOORE                REBEL P               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PENA                 JOSE                  TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORALES              GEORGE V              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PENA                 JUANITA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORAN                CAROLYN D             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PENA                 MARIA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORAN                CAROLYN DUNAWAY       TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PERCY                GARY                  TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORAN                ROSS J                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PETTYJOHN            WILBUR E              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORGAN               JANICE                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PHILLIP              DEBRA L               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORGAN               LEE R                 TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PHILLIPS             BEATRICE CONE         TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORGAN               TINA LOUISE           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PHILLIPS             MELVIN GUY            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORRISON             MIKE                  TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PICKENS              EDDIE B               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORTON               ALIDA M               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                POLZINE              SYNTHIA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORTON               CHANEL D              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                POTTS                RHONDA K              TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORTON               EVAN                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                POTTS                RHONDA K              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORTON               NEIL                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRADIA               AUDREY                TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MORTON               RICHARD               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRIBILSKI            ALEX J                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MOSELY               SANDRA GWEN           TX         200530184        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRIBILSKI            LAURA                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MRAZ                 EDWIN J               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRIESTLEY            PENNY                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MUNOZ                CASIRO                TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRINCE               CORA C                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MUNOZ                MARIA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRINCE               MAIK L                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MURPHY               CECIL A               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRINCE               MIKE L                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
MURRAY               SYLVESTER             TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                PRINCE               RANDY S               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1135
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 470 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

PRINCE               SAMUEL D              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROCHE                BRUCE E               TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP
PRITCHETT            KENNETH               TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                RODRIGUEZ            ANTONIO L             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
PUETT                CLAUDE A JR           TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROGERS               CHARLES               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
PYLE                 DORTHY J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROGERS               GUY J                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
QUINTANILLA          FRED                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROSE                 OLIVER                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
QUINTANILLA          SALLY                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROSS                 MELAINE               TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RABB                 BENNIE R              TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROZZELL              EVELYN                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RAKES                CLARENCE              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                ROZZELL              KENNETH D             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RAMIREZ              CONCEPCION            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                RUTLEDGE             RANDALL R             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RAMIREZ              ERNEST L              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                RYAN                 HELEN                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RAMIREZ              REGINO                TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                RYLANT               ANDREA J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RAMIREZ              SOCORRO A             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAENZ-CANTU          CORANDO               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RANDLE               CURTIS F              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAM                  JOSEPH                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RANDLE               DARRELL               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAMOHEYL             THOMAS                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RANDLE               KELVIN                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SANDERS              DARLENE               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RANDLE               MICHELLE              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SANDERS              GLENN C               TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RANDLE               SARAH                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SANFORD              OSCAR                 TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RANDLE               TERENCE               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAUCEDA              ELISEO                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RAPIER               SHELLEY GENE          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAUCEDA              ERNESTO M             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REAGAN               CYNTHIA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAUCEDA              MARY                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REAGAN               FERRELL               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SAUCIER              SHARON                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REAGAN               RANDELL M             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCHAFFER             DONALD G              TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REAGAN               ROBERT B              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCHAMERHORN          LOUIS E               TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REAUX                VINCENT               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCHEXNAYDER          JAMES E SR            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 CHARLES               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCHOONOVER           JAMES O               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 DAVID LAMAR           TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCHULTZ              JERRY L               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 ENICE                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCHUMAN              SYLVIA                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 LAWRENCE              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCOTT                DAVID W               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 MERDICE J             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCOTT                GILBERT R             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 OLLIE MAE             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCOTT                MARK R                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 SILAS JAMES           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCOTT                MARY RUTH             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REED                 WILLIE W              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCOTT                SHAWN D               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REEL                 JOHN H                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SCOTT                TIMOTHY F             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REEVES               CW                    TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SEATON               BENNIE                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REICHERT             VIRGINIA E            TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SEPULVADO            CLIFTON C             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REICHERT             WILLIE                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SEPULVEDA            RAFAEL                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REIVES               ENOCK                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                SHAVER               BOBBY A               TX         200471778        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RESENDEZ             GILBERTO              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SHELTON              GERALD D              TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYES                JUAN J                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SHIPMAN              LEROY                 TX         33407            WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                ARACELY               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SHUBERT              GERALD L              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                JUAN                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SIMMONS              CATHERINE             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                JULIO                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SIMPSON              WANDA                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                OLIVIA                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SIMS                 MELINDA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                RICARDO M             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SIMS                 TRUMAN ALLISON        TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                ROBERTO               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SINGLETON            HERBERT G             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                RODOLFO               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SINGLETON            OLLIE RUTH            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNA                TOMAS S               TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SIRMANS              JERRY G               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
REYNOLDS             JUDY LYNN             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                CLINTON R             OK         CJ20013316       WILLIAMS KHERKHER HART & BOUNDAS, LLP
RHODES               EDWARD JOHN           TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                DEWEY E               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RHODES               ROY                   TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                HERBERT P             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RIDDLE               THOMAS J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                HERBERT P JR          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RIEVES               BARBARA J             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                HERBERT P SR          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RIGGS                TOMMY                 TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                JOHNNY H              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RILEY                PAMELA                TX         33353            WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                JOSEPHINE             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RINK                 ADLEY                 TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                LAURA MAE             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RIOS                 ELIAS                 TX         03602280001      WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                RAYFORD F             TX         33407            WILLIAMS KHERKHER HART & BOUNDAS, LLP
RITCHIE              EVELYN E              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                ROBERT                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RITCHIE              GEORGE C              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                ROYCE H               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RITCHIE              MARVIN R              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SMITH                WILLIE G              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
RITCHIE              STEVEN C              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SOULDIER             JEFFREY               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP
RIVAS                MICHAEL A             TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                SPRADLEY             ROY                   TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP
RIVERA               ANNA                  TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                STANLEY              DANIEL B              TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROACH                FREDDIE               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                STANLEY              MARVIN L              TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBERSON             JOHN H                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                STANLEY              ROSETTA               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBERTS              STANLEY G             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEELE               BOBBY G               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBERTSON            DONALD G              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEHLING             STEPHEN               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBERTSON            RONALD D              TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEPANEK             BETTY JEAN            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBERTSON            RONALD G              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEPHANEK            BETTY J               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBICHAUX            AUDREY                TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEPHENS             CHARLENE              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBINSON             EZEKIEL JR            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEVENS              GLYNN O               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
ROBINSON             LINDSEY R             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                STEVENS              GLYNN O               TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1136
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 471 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

STEVENS              VIRGINIA              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WALKOVAK             ELIZABETH L.          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
STEVENS              VIRGINIA              TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WALKOVAK             PATRICIA ANN          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
STOUT                JOSEPH L              TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WALKOVAK             PHILIP J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
STOVALL              TOMMIE                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WALKOVAK JR          PHILIP J              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
STRIMPLE             GEORGE                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WALL                 GEORGE W              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
STRIMPLE             THERESA B             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WASHINGTON           CURTIS N              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SULLIVAN             CLYDE R               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEAVER               JACK A                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SULLIVAN             HOMER                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEAVER               JAMES M               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SULLIVAN             JERRY L               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEAVER               ROGER M               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
SULLIVAN             JOYCE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEAVER               WANDA FAYE            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
SUMNEY               ELIZABETH M           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEBB                 ARTHUR R              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SUMRALL              BUFORD H              TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEIR                 THOMAS H              TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP
SURBER               OLIVER M              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEISHIEMER           ALFRED                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SVETLIK              GEORGE JR             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WELLS                MARSHAL R             TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SVETLIK              GEORGE T              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WEST                 FRANKLIN M            TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SVETLIK              GERALD G              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WESTMORELAND         RICHARD E             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SVETLIK              GERALD GENE           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WHALON               HORACE                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
SVETLIK              LONIE ELIZABETH       TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WHITE                JERRY W               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
SWEAT                ALVIA L               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WHITE                LEOLA                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
SWEAT                HAROLD F              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WHITE                SILAS                 TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
SWINT                WALTER L              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WIEMKEN              DEBRA                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TAYLOR               FLOYD                 TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WIGGINS              CHARLES E             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
TAYLOR               JIMMY K               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WIGGINS              OLIVIA RODRIGUES      TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
THERIOT              FREDDIE               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILDE                ARLENE                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOLCKEN             NORMAN K              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILDE                LEON J                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               ANTEE                 TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILDE                MICHAEL               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               CHARLES L             TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILDE                STEVEN                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               DAVID W               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILKINSON            THURMAN E             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               EUGENIA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMS             ARTHUR RAY            TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               HAYWARD               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMS             BEVLIN                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               LEO M                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMS             JAMES C               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               LEO MARION            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMS             REGENIA               TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               RANDLE D              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMS             ROBERT                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               SHIRLEY               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMSON           GEORGE                TX         200530182        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               TL                    TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMSON           JOHN A                TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMAS               WILLIE MAE            TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMSON           MARY RUTH             TX         200530182        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THOMPSON             DAVID M               TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIAMSON           SHIRLEY A             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP
THORNTON             HOLLIS H              TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIS               CATHERINE             TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THREETON             DOUG                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIS               RICKY                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THREETON             JOHN S                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILLIS               WONDER                TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THREETON             JOHN S JR             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILSON               DOROTHY               OK         CJ2002660        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THREETON             ROSA BELLE            TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILSON               ENNIS                 TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
THREETON JR.         JOHN SPENCER          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILSON               JOHN A                OK         CJ2002660        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIMMONS              JERRILYN              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WILSON               WILLIAM R             TX         24378BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIMMONS              MARION C              TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WIMBERLEY            BETTY J               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 DELORES JUNE          TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WINKLER              GEORGE W              TX         200014682        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 DOLORES               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 ALTON L               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 JOHN                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 CARRIE JANE           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 PHIL                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 HAROLD L              TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 ROBERT W              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 HAROLD L              TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 WILLIAM C             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 JANIE                 TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TIPP                 WILLIAM E             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 JANIE FRANCES         TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TITUS                SAM                   TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 KIM                   TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
TOLBERT              WILLIE R              TX         05CV0574         WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 KIM                   TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
TRAHAN               STANLEY               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 MAXINE                TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
TYSON                TERRY L               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF                 MAXINE                TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
UPTON                JACKIE                TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF RUSSO           SABRA                 TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
URANGA               RAYMOND               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF RUSSO           SABRA                 TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VAHL                 AUGUST                TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF-RUSSO           SABRA                 TX         B0166823         WILLIAMS KHERKHER HART & BOUNDAS, LLP
VAHL                 BRANDY                TX         33384            WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOLF-RUSSO           SABRA                 TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VELA                 ELEUTERIA             TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOMACK               DANIEL                TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VENABLE              WILLIAM A             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOMACK               DONELL                TX         B0166823A        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VENTERS              MARY J                TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOODARD              BILLY R               TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VICKS                ELBERDA               TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOODS                BEVERLY A             TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VICKS                LEON                  TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                WOOSTER              MICHAEL G             TX         24358PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VINEYARD             CHARLES T             TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                YBARRA               ALFRED                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
VININGRE             DONALD L              TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                YBARRA               EDWARD J              TX         24380RM03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
WAGGONER             JIM D                 TX         201661211        WILLIAMS KHERKHER HART & BOUNDAS, LLP                YBARRA               JULIO V               TX         28503            WILLIAMS KHERKHER HART & BOUNDAS, LLP
WAKES                MELVIN C              TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                YEAGER               BILL V                TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
WALKER               MAGGIE A              TX         24356BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                YOUNG                HARDY R               TX         24381PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP
WALKOVAK             ELIZABETH L           TX         24551BH03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                YOUNG                LUCIUS JR             TX         94C21103         WILLIAMS KHERKHER HART & BOUNDAS, LLP




                                                                                                               Appendix A - 1137
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 472 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

ZERINGUE             LEONARD               TX         A168572          WILLIAMS KHERKHER HART & BOUNDAS, LLP                DODDS                MELVIN                KY         04CI00334        WILSON & KENDALL
ZUMWALT              RONALD                TX         24357PS03        WILLIAMS KHERKHER HART & BOUNDAS, LLP                DUNAWAY              DAIL LAMAR            KY         04CI00334        WILSON & KENDALL
ABRAMS               JOHN                  KY         04CI00334        WILSON & KENDALL                                     DUNAWAY              JESSIE DUNAWAY        KY         04CI00334        WILSON & KENDALL
ABRAMS               JUANITA               KY         04CI00334        WILSON & KENDALL                                     DUNN                 CLIFTON               KY         04CI00334        WILSON & KENDALL
ADAMS                ROBERT L              KY         04CI00551        WILSON & KENDALL                                     DUNN                 CLIFTON E             KY         04CI00334        WILSON & KENDALL
ADAMS                STEVEN P              KY         04CI00334        WILSON & KENDALL                                     EASTERWOOD           CATHY                 KY         04CI00334        WILSON & KENDALL
ALEXANDER            TERRY M               KY         04CI00334        WILSON & KENDALL                                     EASTERWOOD           TIMOTHY J             KY         04CI00334        WILSON & KENDALL
ALKIRE               IRA D                 KY         04CI00335        WILSON & KENDALL                                     EDMONDSON            BEATRICE              KY         05CI00033        WILSON & KENDALL
ALKIRE               OPAL                  KY         04CI00335        WILSON & KENDALL                                     EDMONDSON            BILLY RAY             KY         05CI00033        WILSON & KENDALL
ANDERSON             ALAN                  KY         04CI00334        WILSON & KENDALL                                     ELRIDGE              RICHARD               KY         04CI00334        WILSON & KENDALL
ANDERSON             CONNIE                KY         04CI00334        WILSON & KENDALL                                     FARMER               DAVID L               KY         04CI00334        WILSON & KENDALL
ARRANT               ERIC WAYNE            KY         04CI00334        WILSON & KENDALL                                     FAULKNER             DANNY R               KY         04CI00335        WILSON & KENDALL
ARRANT               JO ANNE               KY         04CI00334        WILSON & KENDALL                                     FINLEY               DOROTHY JEAN          KY         04CI00334        WILSON & KENDALL
ASHCRAFT             JR                    KY         04CI00334        WILSON & KENDALL                                     FINLEY               JAMES H               KY         04CI00334        WILSON & KENDALL
BAKER                GEORGE L              KY         04CI00334        WILSON & KENDALL                                     FLOYD                DARWIN T              KY         04CI00334        WILSON & KENDALL
BARBER               BOBBY                 KY         04CI00335        WILSON & KENDALL                                     FLOYD                TINA M                KY         04CI00334        WILSON & KENDALL
BARRETT              JAMES R               KY         04CI00334        WILSON & KENDALL                                     FOSHEE               CURTIS A              KY         04CI00334        WILSON & KENDALL
BELGARD              ANDREW                KY         04CI00334        WILSON & KENDALL                                     FOSHEE               DELORIS               KY         04CI00334        WILSON & KENDALL
BELGARD              WYATT                 KY         04CI00334        WILSON & KENDALL                                     FRANKLIN             BOBBY                 KY         04CI00334        WILSON & KENDALL
BLACKLEDGE           GREG                  KY         04CI00334        WILSON & KENDALL                                     FRANKLIN             EARNEST               KY         04CI00334        WILSON & KENDALL
BLACKLEDGE           KAREN                 KY         04CI00334        WILSON & KENDALL                                     GLADHILL             NEAL B                KY         04CI00334        WILSON & KENDALL
BUFKIN               BEVERLY               KY         04CI00334        WILSON & KENDALL                                     GOAD                 KAREN                 KY         04CI00334        WILSON & KENDALL
BUFKIN               CLARENCE D            KY         04CI00334        WILSON & KENDALL                                     GOAD                 WILLIAM R             KY         04CI00334        WILSON & KENDALL
BYNON                DONALD                KY         04CI00334        WILSON & KENDALL                                     GODDARD              JAMES MICHAEL         KY         04CI00335        WILSON & KENDALL
BYNON                JOYCE A               KY         04CI00334        WILSON & KENDALL                                     GODDARD              PEGGY                 KY         04CI00335        WILSON & KENDALL
CALL                 CHARLES A             KY         04CI00334        WILSON & KENDALL                                     GRESSETT             DARLENE               KY         04CI00334        WILSON & KENDALL
CHAMBLESS            CHARLES E             KY         04CI00334        WILSON & KENDALL                                     GRESSETT             JIMMY                 KY         04CI00334        WILSON & KENDALL
CHAMBLESS            LILLIAN               KY         04CI00334        WILSON & KENDALL                                     GULLY                MAGGIE                KY         04CI00334        WILSON & KENDALL
CHENEY               STEPHANIE             KY         04CI00334        WILSON & KENDALL                                     GULLY                RAYMOND B             KY         04CI00334        WILSON & KENDALL
CHENEY               TRAVIS                KY         04CI00334        WILSON & KENDALL                                     HAILEY               QUINCEY L             KY         05CI00033        WILSON & KENDALL
CLARK                CAROL                 KY         04CI00335        WILSON & KENDALL                                     HALL                 CLAUDETTA             KY         04CI00334        WILSON & KENDALL
CLARK                GARY D                KY         04CI00335        WILSON & KENDALL                                     HALL                 ELLIE                 KY         04CI00334        WILSON & KENDALL
CLARK                TONY A                KY         04CI00334        WILSON & KENDALL                                     HALL                 ERNEST                KY         04CI00334        WILSON & KENDALL
CLARK                VALLERIE              KY         04CI00334        WILSON & KENDALL                                     HALLMAN              JW                    KY         04CI00334        WILSON & KENDALL
CLAY                 HUBERT J              KY         04CI00335        WILSON & KENDALL                                     HAMILTON             RAYMOND M             KY         04CI00334        WILSON & KENDALL
CLAY                 SHIRLEY               KY         04CI00335        WILSON & KENDALL                                     HARDAWAY             RUTHA                 KY         04CI00334        WILSON & KENDALL
CLEMENT              ELAINE                KY         04CI00334        WILSON & KENDALL                                     HARDAWAY             WILLIE                KY         04CI00334        WILSON & KENDALL
CLEMENT              ROY E                 KY         04CI00334        WILSON & KENDALL                                     HARDY                HERMAN                KY         04CI00334        WILSON & KENDALL
CLINKSCALE           LEE ALLEN             KY         04CI00334        WILSON & KENDALL                                     HARDY                MARJORIE A            KY         04CI00334        WILSON & KENDALL
CLINKSCALE           RUTHIE                KY         04CI00334        WILSON & KENDALL                                     HARRIS               CHARLENE              KY         04CI00334        WILSON & KENDALL
CLINKSCALE JONES     BARBARA MAE           KY         04CI00334        WILSON & KENDALL                                     HARRIS               JOE                   KY         04CI00334        WILSON & KENDALL
COAXUM               EMILY S               KY         04CI00551        WILSON & KENDALL                                     HASSLER              JAMES R               KY         04CI00334        WILSON & KENDALL
COAXUM               NATHANIEL             KY         04CI00551        WILSON & KENDALL                                     HELF                 JOHNNY M              KY         04CI00334        WILSON & KENDALL
COLEMAN              JIMMIE                KY         04CI00334        WILSON & KENDALL                                     HELF                 JOYCE                 KY         04CI00334        WILSON & KENDALL
COLLINS              JAMES LEE             KY         04CI00334        WILSON & KENDALL                                     HENSLEE              FRANK B               KY         04CI00334        WILSON & KENDALL
COLLINS              MARY                  KY         04CI00334        WILSON & KENDALL                                     HINSON               JAMES JACKSON         KY         04CI00334        WILSON & KENDALL
COLLINS              WILLIAM EARL          KY         04CI00334        WILSON & KENDALL                                     HIXON                AUSTIN                KY         04CI00334        WILSON & KENDALL
CONWILL              EW                    KY         04CI00334        WILSON & KENDALL                                     HODGES               ALVIN                 KY         04CI00334        WILSON & KENDALL
CONWILL              ELOISE                KY         04CI00334        WILSON & KENDALL                                     HODGES               DARNELL               KY         04CI00334        WILSON & KENDALL
COOK                 ALFRED L              KY         04CI00334        WILSON & KENDALL                                     HOLLEY               CHARLES T             KY         04CI00335        WILSON & KENDALL
COOK                 FLORA                 KY         04CI00334        WILSON & KENDALL                                     HOLLEY               IMOGENE               KY         04CI00335        WILSON & KENDALL
COOK                 GAYLE                 KY         04CI00334        WILSON & KENDALL                                     HORWARD              TERESA                KY         04CI00334        WILSON & KENDALL
COOK                 GEORGE M              KY         04CI00334        WILSON & KENDALL                                     HOWARD               JAMES W               KY         04CI00334        WILSON & KENDALL
COOK                 WILLIAM L             KY         04CI00334        WILSON & KENDALL                                     HULBERT              JERRY M               KY         04CI00334        WILSON & KENDALL
COOPER               CHARLES R             KY         04CI00334        WILSON & KENDALL                                     HULBERT              LILLIA                KY         04CI00334        WILSON & KENDALL
COOPER               JULIE                 KY         04CI00334        WILSON & KENDALL                                     HUMPHREYS            BENNY L               KY         04CI00334        WILSON & KENDALL
COOPER               KAREN                 KY         04CI00335        WILSON & KENDALL                                     HUMPHREYS            DELORES               KY         04CI00334        WILSON & KENDALL
COOPER               NATHAN                KY         04CI00335        WILSON & KENDALL                                     JARRED               NEAL K                KY         04CI00334        WILSON & KENDALL
COX                  OPAL                  KY         04CI00335        WILSON & KENDALL                                     JENKINS              WILLIAM A             KY         04CI00334        WILSON & KENDALL
COX                  RALPH E               KY         04CI00335        WILSON & KENDALL                                     JEWELL               CHARLES E             KY         04CI00334        WILSON & KENDALL
CYNDA                PIPER                 KY         04CI00334        WILSON & KENDALL                                     JEWELL               DEBRA                 KY         04CI00334        WILSON & KENDALL
DAVIS                JIMMIE LEE            KY         04CI00334        WILSON & KENDALL                                     JOHNSON              SEAWOOD               KY         04CI00334        WILSON & KENDALL
DAVIS                ROBERT                KY         04CI00334        WILSON & KENDALL                                     JORDAN               ODESSIE               KY         04CI00334        WILSON & KENDALL
DAVIS                ROSIEL                KY         04CI00334        WILSON & KENDALL                                     JORDAN               ROBERT L              KY         04CI00334        WILSON & KENDALL
DEARMAN              KARYL                 KY         04CI00334        WILSON & KENDALL                                     JOY                  JAMES C               KY         04CI00334        WILSON & KENDALL
DEARMAN              WILLIAM T             KY         04CI00334        WILSON & KENDALL                                     JOY                  JEWEL                 KY         04CI00334        WILSON & KENDALL
DILLON               CATHERINE             KY         04CI00335        WILSON & KENDALL                                     KANGAS               DEBRA                 KY         04CI00334        WILSON & KENDALL
DILLON               JONIE                 KY         04CI00335        WILSON & KENDALL                                     KANGAS               RUSSELL               KY         04CI00334        WILSON & KENDALL
DILLON               ROGER G               KY         04CI00335        WILSON & KENDALL                                     KARFELT              EDWARD G              KY         04CI00334        WILSON & KENDALL
DILLON               WILLIAM               KY         04CI00335        WILSON & KENDALL                                     KARFELT              ETHEL MAE             KY         04CI00334        WILSON & KENDALL
DODDS                MARY                  KY         04CI00334        WILSON & KENDALL                                     KARR                 DAVID L               KY         04CI00335        WILSON & KENDALL




                                                                                                               Appendix A - 1138
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 473 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

KIMBLE               OKEY H                KY         04CI00334        WILSON & KENDALL                                     RHODES               CAROL                 KY         04CI00334        WILSON & KENDALL
KIMBLE               SHIRLEY               KY         04CI00334        WILSON & KENDALL                                     RHODES               JERRY A               KY         04CI00334        WILSON & KENDALL
LASLO                JAMES W               KY         04CI00334        WILSON & KENDALL                                     ROBBINS              WILLIAM A             KY         04CI00334        WILSON & KENDALL
LEATHERS             BEDFORD D             KY         04CI00334        WILSON & KENDALL                                     ROGERS               DOROTHY               KY         04CI00334        WILSON & KENDALL
LEATHERS             MARY ELIZABETH        KY         04CI00334        WILSON & KENDALL                                     ROGERS               JIMMY W               KY         04CI00334        WILSON & KENDALL
LEWIS                GLENDA                KY         04CI00335        WILSON & KENDALL                                     ROSS                 JOE W                 KY         04CI00335        WILSON & KENDALL
LEWIS                MICHAEL A             KY         04CI00335        WILSON & KENDALL                                     ROWSEY               MARY                  KY         04CI00334        WILSON & KENDALL
LINT                 EARL EUGENE           KY         04CI00335        WILSON & KENDALL                                     ROWSEY               SAMMY L               KY         04CI00334        WILSON & KENDALL
LITTLE               RICHARD               KY         04CI00334        WILSON & KENDALL                                     RUSSELL              FRED E                KY         04CI00335        WILSON & KENDALL
LUTHER               VERNON L              KY         05CI00033        WILSON & KENDALL                                     RUSSELL              JAMES O               KY         04CI00334        WILSON & KENDALL
MARCOM               JOHN L                KY         04CI00335        WILSON & KENDALL                                     RUSSELL              MARGARET              KY         04CI00335        WILSON & KENDALL
MARCOM               VALETA                KY         04CI00335        WILSON & KENDALL                                     RUSSELL              MARK H                KY         04CI00335        WILSON & KENDALL
MARSH                LILA                  KY         04CI00334        WILSON & KENDALL                                     RUSSELL              NOKIE                 KY         04CI00334        WILSON & KENDALL
MARSH                WILLIAM T             KY         04CI00334        WILSON & KENDALL                                     SALTER               WILLIAM K             KY         04CI00335        WILSON & KENDALL
MCALEXANDER          CHARLES R             KY         04CI00335        WILSON & KENDALL                                     SALTER               NANCY                 KY         04CI00335        WILSON & KENDALL
MCALEXANDER          CLARA                 KY         04CI00335        WILSON & KENDALL                                     SANDERS              ROBERT D              KY         04CI00334        WILSON & KENDALL
MCDOWELL             MICKELL LAMAR         KY         04CI00334        WILSON & KENDALL                                     SHELBY               JERRY W               KY         04CI00334        WILSON & KENDALL
MCDOWELL             ROSALIND              KY         04CI00334        WILSON & KENDALL                                     SHELBY               RACHEL                KY         04CI00334        WILSON & KENDALL
MCLEMORE             ERVIN DANIEL          KY         04CI00334        WILSON & KENDALL                                     SHIFFLETT            LAYTON ODELL          KY         04CI00335        WILSON & KENDALL
MCLEMORE             MARY FRANCES          KY         04CI00334        WILSON & KENDALL                                     SHIFFLETT            MARY                  KY         04CI00335        WILSON & KENDALL
MCMANNIS             LYLE                  KY         04CI00334        WILSON & KENDALL                                     SILVER               CATHERINE             KY         04CI00334        WILSON & KENDALL
MCMANNIS             SARAH                 KY         04CI00334        WILSON & KENDALL                                     SILVER               WILLIAM D             KY         04CI00334        WILSON & KENDALL
MEADOR               GUY M                 KY         04CI00334        WILSON & KENDALL                                     SIMS                 BECKY                 KY         04CI00334        WILSON & KENDALL
MEIER                JOHN R                KY         04CI00335        WILSON & KENDALL                                     SIMS                 BILLY WAYNE           KY         04CI00334        WILSON & KENDALL
MEIER                LISA                  KY         04CI00335        WILSON & KENDALL                                     SIMTH                LINDA R               KY         04CI00335        WILSON & KENDALL
MILLHOUSE            CLIFFORD L            KY         04CI00334        WILSON & KENDALL                                     SMITH                CLARENCE E            KY         04CI00335        WILSON & KENDALL
MILLHOUSE            DEBBIE                KY         04CI00334        WILSON & KENDALL                                     SMITH                JAMES R               KY         04CI00334        WILSON & KENDALL
MOFFET               DORINDA               KY         04CI00334        WILSON & KENDALL                                     SMITH                LENTON J              KY         04CI00334        WILSON & KENDALL
MOFFETT              DAVID                 KY         04CI00334        WILSON & KENDALL                                     SMITH                RAY A                 KY         04CI00335        WILSON & KENDALL
MOORE                RALPH E               KY         04CI00334        WILSON & KENDALL                                     SMITH                VERNA C               KY         04CI00335        WILSON & KENDALL
MOORER               DIANNA                KY         04CI00334        WILSON & KENDALL                                     SPICER               DAVID E               KY         04CI00335        WILSON & KENDALL
MOORER               JOE W                 KY         04CI00334        WILSON & KENDALL                                     SPICER               HELEN                 KY         04CI00335        WILSON & KENDALL
MORRIS               BD                    KY         04CI00335        WILSON & KENDALL                                     SPICER               JERRY C               KY         04CI00335        WILSON & KENDALL
MORRIS               TERRI                 KY         04CI00335        WILSON & KENDALL                                     SPICER               SHIRLEY               KY         04CI00335        WILSON & KENDALL
MORRISON             HELGA                 KY         04CI00334        WILSON & KENDALL                                     STALNAKER            SLATHIEL LEE          KY         05CI00033        WILSON & KENDALL
MORRISON             TED E                 KY         04CI00334        WILSON & KENDALL                                     TABLER               ELLEN MARIE           KY         04CI00335        WILSON & KENDALL
NEDEFF               CHARLENE              KY         04CI00335        WILSON & KENDALL                                     TABLER               WILLIAM KENNETH       KY         04CI00335        WILSON & KENDALL
NEDEFF               ROBERT J              KY         04CI00335        WILSON & KENDALL                                     TATE                 EDDIE R               KY         04CI00334        WILSON & KENDALL
NESLER               EUGENE                KY         04CI00334        WILSON & KENDALL                                     TATE                 LINDA                 KY         04CI00334        WILSON & KENDALL
NESLER               VIRGINIA              KY         04CI00334        WILSON & KENDALL                                     TAYLOR               EDYTHE                KY         04CI00334        WILSON & KENDALL
O'HANLON             JOSEPH E              KY         04CI00335        WILSON & KENDALL                                     TAYLOR               LEE A                 KY         04CI00334        WILSON & KENDALL
OLIVO                CHARLOTTE             KY         04CI00335        WILSON & KENDALL                                     THOMPSON             MARY LYNN             KY         04CI00334        WILSON & KENDALL
OLIVO                TONY R                KY         04CI00335        WILSON & KENDALL                                     THOMPSON             PHILLIP               KY         04CI00334        WILSON & KENDALL
OWNBY                GUY THOMAS            KY         04CI00335        WILSON & KENDALL                                     THOMPSON             SMYERIA               KY         04CI00334        WILSON & KENDALL
PADGELEK             CHARLES S             KY         04CI00334        WILSON & KENDALL                                     TRIMBLE              DARRELL C             KY         04CI00551        WILSON & KENDALL
PADGELEK             KATHLEEN              KY         04CI00334        WILSON & KENDALL                                     USHER                WC                    KY         04CI00334        WILSON & KENDALL
PAGE                 KAY                   KY         04CI00334        WILSON & KENDALL                                     VALENTINE            BILLY F               KY         04CI00334        WILSON & KENDALL
PAGE                 RICHARD R             KY         04CI00334        WILSON & KENDALL                                     VALENTINE            JANICE                KY         04CI00334        WILSON & KENDALL
PALMER               JACKIE T              KY         04CI00334        WILSON & KENDALL                                     VANCE                FLORA                 KY         04CI00334        WILSON & KENDALL
PALMER               VIRGINIA              KY         04CI00334        WILSON & KENDALL                                     VANCE                JOHN M                KY         04CI00334        WILSON & KENDALL
PAYNE                ROBERT DEE            KY         04CI00334        WILSON & KENDALL                                     VANCE                KENNETH M             KY         04CI00335        WILSON & KENDALL
PEARMAN              NANCY                 KY         04CI00334        WILSON & KENDALL                                     VANDEVENDER          GOLDEN                KY         04CI00335        WILSON & KENDALL
PEARMAN              STANLEY F             KY         04CI00334        WILSON & KENDALL                                     VITELA               TOMMY                 KY         04CI00334        WILSON & KENDALL
PERDEW               MARTIN E              KY         04CI00335        WILSON & KENDALL                                     WALKER               SEENA L               KY         04CI00334        WILSON & KENDALL
PERDEW               TAMMY                 KY         04CI00335        WILSON & KENDALL                                     WALLS                FRANK O               KY         04CI00334        WILSON & KENDALL
PERKINS              DAVID                 KY         04CI00334        WILSON & KENDALL                                     WALLS                LLINDA                KY         04CI00334        WILSON & KENDALL
PERKINS              PETRA                 KY         04CI00334        WILSON & KENDALL                                     WARD                 JERRY E               KY         04CI00334        WILSON & KENDALL
PERRY                MARY                  KY         04CI00334        WILSON & KENDALL                                     WHEELER              GEARLIE               KY         04CI00334        WILSON & KENDALL
PERRY                MILAND F              KY         04CI00334        WILSON & KENDALL                                     WHEELER              VENUS                 KY         04CI00334        WILSON & KENDALL
PERRYMAN             KEITH S               KY         04CI00551        WILSON & KENDALL                                     WHITWELL             TERRY L               KY         04CI00551        WILSON & KENDALL
PERTLAGA             DUKE                  KY         04CI00334        WILSON & KENDALL                                     WILKERSON            JAMES                 KY         04CI00334        WILSON & KENDALL
PERTLAGA             SOPHIE                KY         04CI00334        WILSON & KENDALL                                     WILLIAMS             GEORGE W              KY         04CI00334        WILSON & KENDALL
PICKENS              JAMES W               KY         04CI00334        WILSON & KENDALL                                     WILLIAMS             MATTIE                KY         04CI00334        WILSON & KENDALL
PICKENS              QUEEN                 KY         04CI00334        WILSON & KENDALL                                     WILLINGHAM           DOROTHY A             KY         04CI00334        WILSON & KENDALL
PIERCE               CAROL                 KY         04CI00334        WILSON & KENDALL                                     WILLINGHAM           JESSE L               KY         04CI00334        WILSON & KENDALL
PIERCE               HOMER C               KY         04CI00334        WILSON & KENDALL                                     WILLIS               BJ                    KY         04CI00334        WILSON & KENDALL
PIERCE               LARCE                 KY         04CI00334        WILSON & KENDALL                                     WILSON               WILLIAM D             KY         04CI00334        WILSON & KENDALL
PIERCE               ROY A                 KY         04CI00334        WILSON & KENDALL                                     WILSON               WILLIAM ELWOOD        KY         04CI00335        WILSON & KENDALL
PIPER                LAWRENCE E            KY         04CI00334        WILSON & KENDALL                                     WINDER               JOHN J                KY         04CI00334        WILSON & KENDALL
REYNOLDS             ELEANOR               KY         04CI00334        WILSON & KENDALL                                     WINDER               RITA                  KY         04CI00334        WILSON & KENDALL
REYNOLDS             FRED                  KY         04CI00334        WILSON & KENDALL                                     WOODIEL              BJ                    KY         04CI00334        WILSON & KENDALL




                                                                                                            Appendix A - 1139
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                             Desc
                                                                                                      Complaint-Part 2 Page 474 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                                      Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

WOODIEL              MARY                  KY         04CI00334        WILSON & KENDALL                                               JERNIGAN             ALBERT L              MS         2001373          WILSON, WILLIAM ROBERTS, JR
ZORZOLI              PM                    KY         04CI00334        WILSON & KENDALL                                               JOHNSON              TERESA T              MS         2001373          WILSON, WILLIAM ROBERTS, JR
BOUDREAUX            CHRISTY               LA         201404296        WILSON LAW OFFICES, PLLC                                       JONES                IKE                   MS         2001373          WILSON, WILLIAM ROBERTS, JR
BOUDREAUX            CLARA                 LA         201404296        WILSON LAW OFFICES, PLLC                                       JONES                ROSE E                MS         2001373          WILSON, WILLIAM ROBERTS, JR
BOUDREAUX            RAY JOSEPH            LA         201404296        WILSON LAW OFFICES, PLLC                                       JUITT                BOBBY LEE             MS         2001373          WILSON, WILLIAM ROBERTS, JR
AUDY                 MARY BETH             MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                KELLY                ELBA J                MS         2001373          WILSON, WILLIAM ROBERTS, JR
FEARSON              NORMAN S              MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                KINGDOM              MARGRET               MS         2001373          WILSON, WILLIAM ROBERTS, JR
HITTEL               PATTI                 MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                KLINE                HENRY                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
MICHAELS             RAYMOND               MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                LYLES                WILLIAM A             MS         2001373          WILSON, WILLIAM ROBERTS, JR
SOBIESKI             EDWIN                 MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                MAIDEN               ETHEL M               MS         2001373          WILSON, WILLIAM ROBERTS, JR
WATERS               CHARLES DONALD        MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                MALONE               JOHNNY                MS         2001373          WILSON, WILLIAM ROBERTS, JR
WATERS               DON                   MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                MALONE               WILLIE J              MS         2001373          WILSON, WILLIAM ROBERTS, JR
WATERS               TERESA JOAN           MD         24X17000018LEM   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER, LLP                MANNS                JAMES E               MS         2001373          WILSON, WILLIAM ROBERTS, JR
LEITCH               CHARLES DAVID         VA         CL0700130500     WILSON, UPDIKE & NICELY                                        MCATEE               KNAPP S               MS         2001373          WILSON, WILLIAM ROBERTS, JR
LEITCH               DONALD F              VA         CL0700130500     WILSON, UPDIKE & NICELY                                        MCCLURE              BENNIE E              MS         2001373          WILSON, WILLIAM ROBERTS, JR
LEITCH               DONALD STEVEN         VA         CL0700130500     WILSON, UPDIKE & NICELY                                        MCDOWELL             VERA LEE              MS         2001373          WILSON, WILLIAM ROBERTS, JR
LEITCH               GREGORY PRATT         VA         CL0700130500     WILSON, UPDIKE & NICELY                                        MCGHEE               WILLIE W              MS         2001373          WILSON, WILLIAM ROBERTS, JR
LEITCH               MARIA H               VA         CL0700130500     WILSON, UPDIKE & NICELY                                        MCKINLEY             MACK C                MS         2001373          WILSON, WILLIAM ROBERTS, JR
AMBROSE              BETTY                 MS         8953283          WILSON, WILLIAM ROBERTS, JR                                    MILLER               LONNIE                MS         2001373          WILSON, WILLIAM ROBERTS, JR
AMBROSE              JESSE J               MS         8953283          WILSON, WILLIAM ROBERTS, JR                                    MIMS                 TEREATHER R           MS         2001373          WILSON, WILLIAM ROBERTS, JR
ANDERSON             DON                   MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    MORGAN               BUNYAN L              MS         2001373          WILSON, WILLIAM ROBERTS, JR
BANKS                PHILLIP               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    NADALICH             O'NEAL J              MS         9253402          WILSON, WILLIAM ROBERTS, JR
BARBER               MARIE                 MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    NATALICH             JACQUELINE            MS         9253402          WILSON, WILLIAM ROBERTS, JR
BELL                 RUBY LEE              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    NICHOLSON            AARON L               MS         2001373          WILSON, WILLIAM ROBERTS, JR
BERRY                CHARLES E             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    NORRIS               JOSEPH                MS         2001373          WILSON, WILLIAM ROBERTS, JR
BERRY                WILMA L               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    OSWALT               DONALD G              MS         2001373          WILSON, WILLIAM ROBERTS, JR
BILBO                LUCILLE E             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    OSWALT               INEZ M                MS         2001373          WILSON, WILLIAM ROBERTS, JR
BOWIE                NATHANIEL             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    PEACOCK              LLOYD                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
BOWLING              PRESTON L             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    POWELL               TJ                    MS         2001373          WILSON, WILLIAM ROBERTS, JR
BRISBY               ARTHUR C              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    REDFIELD             JAMES                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
BROWN                CHARLES R             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    REDMOND              JAMES L               MS         2001373          WILSON, WILLIAM ROBERTS, JR
BROWN                WILLIE B              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    RILEY                BESSIE                MS         2001373          WILSON, WILLIAM ROBERTS, JR
CARTER               GEORGE                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    RONCALI              NEWTON F              MS         2001373          WILSON, WILLIAM ROBERTS, JR
CLARK                ALMA L                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SANFORD              SHIRLEY               MS         2001373          WILSON, WILLIAM ROBERTS, JR
CLIFFORD             WILLIAM E             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SCOTT                RUTHIE                MS         2001373          WILSON, WILLIAM ROBERTS, JR
COLLINS              WADDELL               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SEAWOOD              RUBY L                MS         2001373          WILSON, WILLIAM ROBERTS, JR
COOKS                JAMES                 MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SERVADIO             NED D                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
COOKS                RICHARD               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SHORT                MAE MOLLY             MS         2001373          WILSON, WILLIAM ROBERTS, JR
CORBIN               MARY E                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SHRIVER              LEO MATTHEW           MS         2001373          WILSON, WILLIAM ROBERTS, JR
CURTIS               ADAM C                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SIMPSON              FRANK E               MS         2001373          WILSON, WILLIAM ROBERTS, JR
CURTIS               EULA                  MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SKEEN                ROY FRANKLIN          MS         2001373          WILSON, WILLIAM ROBERTS, JR
CURTIS               GEORGE                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SMITH                JESSIE M              MS         2001373          WILSON, WILLIAM ROBERTS, JR
DAVENPORT            ANNIE M               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SMITH                LEROY                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
DAVENPORT            FLOYD                 MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SMITH                ROBERT                MS         2001373          WILSON, WILLIAM ROBERTS, JR
DOTSON               ERNEST                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    SMITH                WILLIE LEE            MS         2001373          WILSON, WILLIAM ROBERTS, JR
DOTSON               RUBY LEE              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    STANFORD             WILLIE C              MS         2001373          WILSON, WILLIAM ROBERTS, JR
DUNCAN               HENRY                 MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    STOKES               RAY R                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
ELLARD               WESLEY LAWRENCE       MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    STRICKLAND           HORACE N              MS         2001373          WILSON, WILLIAM ROBERTS, JR
ELLIS                ALBERT R              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    THARP                WAYNE P               MS         2001373          WILSON, WILLIAM ROBERTS, JR
EVANS                THOMAS                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    THOMAS               CURTIS                MS         2001373          WILSON, WILLIAM ROBERTS, JR
EZEKIEL              ROBERT                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    THOMPSON             GARLAND E             MS         2001373          WILSON, WILLIAM ROBERTS, JR
FEDSON               JOSEPHINE             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    THREET               LUTHER L              MS         2001373          WILSON, WILLIAM ROBERTS, JR
FORD                 CHARLES               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    TINSON               WILLIE E              MS         2001373          WILSON, WILLIAM ROBERTS, JR
FORTENBERRY          IKE                   MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    UTZ                  HUBERT EARL           MS         2001373          WILSON, WILLIAM ROBERTS, JR
FOSTER               SAMUEL                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WALLACE              LEANNA                MS         2001373          WILSON, WILLIAM ROBERTS, JR
FRAZIER              DENNIS O              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WALLACE              MARTHA                MS         2001373          WILSON, WILLIAM ROBERTS, JR
GAMMILL              BARBARA A             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WALLACE              SULLIVAN              MS         2001373          WILSON, WILLIAM ROBERTS, JR
GRISBY               JOSEPHINE             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WASHINGTON           ALICE                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
HALL                 SYLVESTER             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WASHINGTON           EUGENE                MS         2001373          WILSON, WILLIAM ROBERTS, JR
HARMON               WILLIE                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WEEKS                JOHNNIE               MS         2001373          WILSON, WILLIAM ROBERTS, JR
HARRIS               FREDDIE L             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WILLIAMS             BARBARA JEAN          MS         2001373          WILSON, WILLIAM ROBERTS, JR
HARRIS               MARTHA C              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WILLIAMS             BENNIE L              MS         2001373          WILSON, WILLIAM ROBERTS, JR
HARTMAN              JOE R                 MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WILLIAMS             HENRY                 MS         2001373          WILSON, WILLIAM ROBERTS, JR
HARVEY               TOMMIE L              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    WILLIAMS             MANUEL                MS         2001373          WILSON, WILLIAM ROBERTS, JR
HAYES                JOHN L                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    IARKOWSI             RAYMOND J             NJ         L181295          WODKA, STEVEN H ATTORNEY AT LAW
HIBLER               WILLIE                MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    IARKOWSKI            MARGARET              NJ         L181295          WODKA, STEVEN H ATTORNEY AT LAW
HINES                COLUMBUS              MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    ALLAN                SHARI                 IL         14L85            WYLDER CORWIN KELLY LLP
HOLMES               ROOSEVELT             MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    BALE                 ORLIE                 IL         17L109           WYLDER CORWIN KELLY LLP
HUTTON               VERNELL               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    BALE                 STEPHEN               IL         17L109           WYLDER CORWIN KELLY LLP
JACKSON              IRENE Y               MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    BOOKOUT              JAMES                 IL         16L167           WYLDER CORWIN KELLY LLP
JEFFERSON            JAMES                 MS         2001373          WILSON, WILLIAM ROBERTS, JR                                    BOOKOUT              PATRICIA              IL         16L167           WYLDER CORWIN KELLY LLP




                                                                                                                         Appendix A - 1140
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 475 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

BOYD                 STEPHANIE             IL         2019L0000121     WYLDER CORWIN KELLY LLP                              SCHROEDER            LINDA                 IL         16L168           WYLDER CORWIN KELLY LLP
BURTON               CAROL                 IL         15L111           WYLDER CORWIN KELLY LLP                              SCHROEDER            MELVIN                IL         16L168           WYLDER CORWIN KELLY LLP
BURTON               JAMES                 IL         15L111           WYLDER CORWIN KELLY LLP                              STALEY               LYLE                  IL         2018L0000064     WYLDER CORWIN KELLY LLP
CORCORAN             KATHY                 IL         2018L0000139     WYLDER CORWIN KELLY LLP                              STALEY               SUSAN                 IL         2018L0000064     WYLDER CORWIN KELLY LLP
DONOVAN              BRENDA                IL         2018L0000064     WYLDER CORWIN KELLY LLP                              STEWART              DIANNE                IL         2019L0000150     WYLDER CORWIN KELLY LLP
DONOVAN              STEVEN                IL         2018L0000064     WYLDER CORWIN KELLY LLP                              STEWART              TERRY                 IL         2019L0000150     WYLDER CORWIN KELLY LLP
ERWIN                DALE                  IL         15L111           WYLDER CORWIN KELLY LLP                              SUNDERLAND           CHELSEA               IL         12L107           WYLDER CORWIN KELLY LLP
FELLERS              AUDREY                IL         2019L0000150     WYLDER CORWIN KELLY LLP                              SUNDERLAND           JACK                  IL         12L107           WYLDER CORWIN KELLY LLP
FELLERS              GARY                  IL         2019L0000150     WYLDER CORWIN KELLY LLP                              SUNDERLAND           JILL                  IL         12L107           WYLDER CORWIN KELLY LLP
FLOWERS              KAREN                 IL         15L130           WYLDER CORWIN KELLY LLP                              SUNDERLAND           TIMOTHY               IL         12L107           WYLDER CORWIN KELLY LLP
GRANATO              BARBARA               IL         16L58            WYLDER CORWIN KELLY LLP                              SYLVESTER            DANNY                 IL         2019L0000120     WYLDER CORWIN KELLY LLP
GRANATO              MARK                  IL         16L58            WYLDER CORWIN KELLY LLP                              TARRANCE             KELVIN                IL         15L130           WYLDER CORWIN KELLY LLP
HARDEN               DONALD                IL         14L179           WYLDER CORWIN KELLY LLP                              TARRANCE             NORMA                 IL         15L130           WYLDER CORWIN KELLY LLP
HARDEN               JOYCE                 IL         14L179           WYLDER CORWIN KELLY LLP                              TARRANCE             ROOSEVELT             IL         15L130           WYLDER CORWIN KELLY LLP
HARDING              LAWRENCE              IL         17L37            WYLDER CORWIN KELLY LLP                              TASKER               CHERYL                IL         2018L0000017     WYLDER CORWIN KELLY LLP
HARDING              MYRNA                 IL         17L37            WYLDER CORWIN KELLY LLP                              TASKER               DAVID                 IL         2018L0000017     WYLDER CORWIN KELLY LLP
HARDING              NANCY THEOBALD        IL         17L37            WYLDER CORWIN KELLY LLP                              TASKER               DIANA                 IL         2018L0000017     WYLDER CORWIN KELLY LLP
HARDING              ROBERT                IL         17L37            WYLDER CORWIN KELLY LLP                              TASKER               SHARON                IL         2018L0000017     WYLDER CORWIN KELLY LLP
HAWK                 CHARLENE              IL         14L85            WYLDER CORWIN KELLY LLP                              TASKER               TIMOTHY               IL         2018L0000017     WYLDER CORWIN KELLY LLP
HELLER               GENE                  IL         2018L0000022     WYLDER CORWIN KELLY LLP                              THOMAS               ROBERT                IL         16L58            WYLDER CORWIN KELLY LLP
HELLER               SHIRLEY               IL         2018L0000022     WYLDER CORWIN KELLY LLP                              TUGGLE               FRANCES ELIZABETH     IL         2019L0000107     WYLDER CORWIN KELLY LLP
HILLIS               DAVID                 IL         17L154           WYLDER CORWIN KELLY LLP                              ULLAND               JOANN                 IL         2019L67          WYLDER CORWIN KELLY LLP
HOLLAND              HAROLD                IL         15L175           WYLDER CORWIN KELLY LLP                              ULLAND               TIMOTHY               IL         2019L67          WYLDER CORWIN KELLY LLP
HOLLAND              PRICILLA              IL         15L175           WYLDER CORWIN KELLY LLP                              WIDSTRAND            CARRIE                IL         14L85            WYLDER CORWIN KELLY LLP
HORN                 CHARLES               IL         2018L0000139     WYLDER CORWIN KELLY LLP                              WILCOX               NICOLE                IL         2019L0000121     WYLDER CORWIN KELLY LLP
HORN                 CHRIS                 IL         2018L0000139     WYLDER CORWIN KELLY LLP                              ACUNTO               JOSEPH                NJ         L0089795         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HORN                 MARK                  IL         2018L0000139     WYLDER CORWIN KELLY LLP                              ACUNTO               NOEMIT                NJ         L0089795         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HORN                 MICHAEL               IL         2018L0000139     WYLDER CORWIN KELLY LLP                              ADAMS                ROBERT                NJ         L349395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HORN                 NANCY                 IL         2018L0000139     WYLDER CORWIN KELLY LLP                              ALLEGRO              BEVERLY               NJ         L0015195         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HORN                 TIM                   IL         2018L0000139     WYLDER CORWIN KELLY LLP                              ALLEGRO              JOSEPH                NJ         L0015195         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HUMPHREY             BARBARA               IL         16L45            WYLDER CORWIN KELLY LLP                              ALLEN                LEROY                 NJ         L884699AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JOHNSON              FRANKIE               IL         13L50            WYLDER CORWIN KELLY LLP                              ALLEN                MALVINE               NJ         L884699AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JOHNSON              JAMES                 IL         13L50            WYLDER CORWIN KELLY LLP                              ANDL                 JOSEPH                NJ         L269290          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JONES                DEBORAH               IL         13L24            WYLDER CORWIN KELLY LLP                              ANDL                 LIVIA                 NJ         L269290          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JONES                JOHN                  IL         13L24            WYLDER CORWIN KELLY LLP                              BACHSTATTER          JOSEPH                NJ         L1315194         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JOSEPH               SUSAN                 IL         2018L0000072     WYLDER CORWIN KELLY LLP                              BAL                  ALBERT                NJ         L1079496         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KELSEY               DENISE                IL         2018L0000072     WYLDER CORWIN KELLY LLP                              BAL                  ALBERT                NJ         L1079596         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KESSINGER            DAVID                 IL         13L82            WYLDER CORWIN KELLY LLP                              BAL                  LINDA                 NJ         L1079596         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KESSINGER            GARY                  IL         13L82            WYLDER CORWIN KELLY LLP                              BAL                  LINDA                 NJ         L1079496         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KESSINGER            GERALD                IL         13L82            WYLDER CORWIN KELLY LLP                              BALAS                DORIS                 NJ         L0029195         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KESSINGER            MARK                  IL         13L82            WYLDER CORWIN KELLY LLP                              BALAS                PAUL                  NJ         L0029195         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KESSINGER            SHARON                IL         13L82            WYLDER CORWIN KELLY LLP                              BARSOTTI             ANTHONY               NJ         L1289895         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KROEZE               JACK                  IL         13L83            WYLDER CORWIN KELLY LLP                              BARSOTTI             IRENE                 NJ         L1289895         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KROEZE               LAURIE                IL         13L83            WYLDER CORWIN KELLY LLP                              BERKERY              ALFRED                NJ         L630296          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KROEZE               RUTH                  IL         13L83            WYLDER CORWIN KELLY LLP                              BERNAUER             WALTER                NJ         L388596          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
LAWSON               KIMBERLY              IL         08L161           WYLDER CORWIN KELLY LLP                              BIPS                 ALMA                  NJ         L215095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
LAWSON               MARY                  IL         08L161           WYLDER CORWIN KELLY LLP                              BIPS                 HERMAN                NJ         L215095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
LAWSON               SHAWN                 IL         08L161           WYLDER CORWIN KELLY LLP                              BODNER               PAUL                  NJ         L89494           WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
MASON                PAMELA                IL         08L161           WYLDER CORWIN KELLY LLP                              BODNER               THERESA               NJ         L89494           WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
MCCAIN               KAREN                 IL         15L130           WYLDER CORWIN KELLY LLP                              BOVE                 DANIEL                NJ         L1094399AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
NELSON               CHARLES               IL         14L85            WYLDER CORWIN KELLY LLP                              BOVE                 JOANN                 NJ         L1094399AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
NELSON               SHANNON               IL         14L85            WYLDER CORWIN KELLY LLP                              BROWN                NOAH                  NJ         L1091799AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PALLAGI              DAVID                 IL         2018L0000072     WYLDER CORWIN KELLY LLP                              BUCHTA               ROBERT L              NJ         L949294          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PALLAGI              PAUL                  IL         2018L0000072     WYLDER CORWIN KELLY LLP                              BUCHTA               WILLIAM               NJ         L738794          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PALLAGI              PAUL A                IL         2018L0000072     WYLDER CORWIN KELLY LLP                              BUERGER              HERBERT               NJ         L1208799AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PALLAGI              SHIRLEY BERNADINE     IL         2018L0000072     WYLDER CORWIN KELLY LLP                              BUERGER              KATHY                 NJ         L1208799AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PAULSON              BEVERLY               IL         16L45            WYLDER CORWIN KELLY LLP                              CATANESE             JOSEPHINE             NJ         L524194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PENTIMONE            DEBRA                 IL         2019L0000120     WYLDER CORWIN KELLY LLP                              CATANESE             ROCCO                 NJ         L524194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PENTIMONE            ROGER                 IL         2019L0000120     WYLDER CORWIN KELLY LLP                              CIFELLI              LEONARD               NJ         MIDL906008AS     WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PINE                 CARL                  IL         2019L0000107     WYLDER CORWIN KELLY LLP                              CIFELLI              MARIE                 NJ         MIDL906008AS     WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PINE                 JOHN                  IL         2019L0000107     WYLDER CORWIN KELLY LLP                              CIKUTOVICH           FRANK                 NJ         L373596          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PINE                 JULIA                 IL         2019L0000107     WYLDER CORWIN KELLY LLP                              CIKUTOVICH           FRANK                 NJ         L949194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PROBUS               JOHN                  IL         2019L0000121     WYLDER CORWIN KELLY LLP                              CIKUTOVICH           JOSEPHINE             NJ         L949194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PROBUS               JUDITH                IL         2019L0000121     WYLDER CORWIN KELLY LLP                              CIKUTOVICH           JOSEPHINE             NJ         L373596          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
PROBUS-SCHAD         JULIE                 IL         2019L0000121     WYLDER CORWIN KELLY LLP                              CIZEWSKI             CASIMAR               NJ         L233395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
RAY                  BEVERLY               IL         2019L0000150     WYLDER CORWIN KELLY LLP                              CIZEWSKI             MAUDE                 NJ         L233395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
RAY                  H KEITH               IL         2019L0000150     WYLDER CORWIN KELLY LLP                              CLARK                JEAN                  NJ         L1127694         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
REEDER               JUDITH                IL         2018L0000072     WYLDER CORWIN KELLY LLP                              CLARK                WILLIAM               NJ         L1127694         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
ROSS                 DON                   IL         15L92            WYLDER CORWIN KELLY LLP                              CLARKE               ARTHUR B              NJ         L1176699AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
ROSS                 MARLEEN               IL         15L92            WYLDER CORWIN KELLY LLP                              COLLINS              JAMES                 NJ         L288195          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
SCHAAB               GENE                  IL         13L105           WYLDER CORWIN KELLY LLP                              COLLINS              MARY                  NJ         L288195          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER




                                                                                                            Appendix A - 1141
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                            Desc
                                                                                                      Complaint-Part 2 Page 476 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                                     Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

CONISH               JAMES                 NJ         L952694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        KOHLHEPP             MILTON                NJ         L959695          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
COOK                 EDWARD                NJ         MIDL880210AS     WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        KOSAR                CAROL                 NJ         L1177399AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
COOK                 JEAN                  NJ         MIDL880210AS     WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        KOSAR                CHARLES               NJ         L1177399AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
D'AMATO              JOSEPH                NJ         L459295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        KOSAROWICH           AUGUSTA               NJ         L231995          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
D'AMATO              MARLENE               NJ         L459295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        KOSAROWICH           JOHN                  NJ         L231995          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DAVISON              GEORGE A              NJ         L1129794         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LA GRECA             LORRAINE              NJ         L516995          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DAVISON              MARTHA                NJ         L1129794         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LA GRECA             SALVATORE             NJ         L516995          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DEAN                 ANN                   NJ         L1227695         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LAGA                 ANNE                  NJ         L0153195         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DEAN                 JOSEPH                NJ         L1227695         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LAGA                 JOSEPH                NJ         L0153195         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DEANNUNTIS           CONNIE                NJ         L1091999AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LAUDICINA            DANIEL                NJ         L519494          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DEANNUNTIS           MARK                  NJ         L1091999AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LAVIGNE              FRANCIS               NJ         L695899AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DELIA                JOSEPH                NJ         L1308494         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LEE                  JOSEPH                NJ         MIDL74806AS      WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DELIA                NORA                  NJ         L1308494         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LEE                  QUEEN                 NJ         MIDL74806AS      WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DEMARK               JOSEPH                NJ         L1129994         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LOCHLI               JO ANN                NJ         L569998          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DEMARK               ROBIN                 NJ         L1129994         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LOCHLI               JOHN                  NJ         L569998          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DUNN                 MARYANN               NJ         L953594          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LOPINTO              VINCENT               NJ         L941795AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
DUNN                 ROBERT                NJ         L953594          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LUBAS                JUNE                  NJ         L287495          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
ESOLA                FRANK                 NJ         L291095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LUBAS                THEODORE              NJ         L287495          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
ESOLA                GAIL                  NJ         L291095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LUPPINO              ANTONIO               NJ         L415198          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
ESPOSITO             ANTHONY GEORGE        NJ         L88094           WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        LUPPINO              LYNN                  NJ         L415198          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
ESPOSITO             MARY                  NJ         L88094           WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MAACK                ALBERT                NJ         L950694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FACCHINI             JOHN                  NJ         L508295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MARDRUS              ALFRED                NJ         L671894          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FACCHINI             MARGARET              NJ         L508295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MARDRUS              LINDA                 NJ         L671894          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FORD                 ARTHUR                NJ         L651194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MARRON               DONALD                NJ         L645694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FORD                 JANET                 NJ         L651194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MARRON               SALLY                 NJ         L645694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FREUDENREICH         GLORIA                NJ         L1012694         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MATT                 CAMILLE               NJ         L672494          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FREUDENREICH         JOHN SR               NJ         L1012694         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MATT                 GEORGE                NJ         L672494          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FRIEDMAN             MARVIN                NJ         L0036495         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MAULBECK             JOYCE                 NJ         L636194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
FRIEDMAN             RACHEL                NJ         L0036495         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MAULBECK             NORMAN                NJ         L636194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GANGI                ANTHONY               NJ         L216195          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MAXWELL              CHARLES               NJ         L373096          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GANGI                KATHERINE             NJ         L216195          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MAXWELL              MARGARET              NJ         L373096          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GAYDOS               SANDY                 NJ         L948094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MCARTHUR             DONALD                NJ         L677894          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GAYDOS               STEPHEN               NJ         L948094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MCARTHUR             GRACE                 NJ         L677894          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GEDMAN               JOYCE                 NJ         L348695          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MCCORMACK            JAMES R               NJ         L577895          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GEDMAN               RONALD                NJ         L348695          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MENY                 ALLAN H               NJ         L673294          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GEE                  EVA                   NJ         L577395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MENY                 BARBARA               NJ         L673294          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GEE                  HILLIARD              NJ         L577395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MESZARES             IRENE                 NJ         L5898            WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GENTHE               FREDERICK P           NJ         L948494          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MESZARES             WILLIAM               NJ         L5898            WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GERDING              PEGGY                 NJ         L672094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MILLIGAN             ARLENE                NJ         L344095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GERDING              ROBERT                NJ         L672094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MILLIGAN             PATRICK               NJ         L344095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GOMORI               JOSEPH                NJ         L0035595         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MITCHELL             VIRGINIA              NJ         L951094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GOMORI               MARGARET              NJ         L0035595         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MITCHELL             WILLARD H SR          NJ         L951094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GOUGEON              FRANCES E             NJ         L699899          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MITROSKY             BEATRICE              NJ         L506895          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GOUGEON              RICHARD J             NJ         L699899          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MITROSKY             MICHAEL               NJ         L506895          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GUY                  BRODUS                NJ         L232295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MOLETI               FRANCES               NJ         L652794          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
GUY                  IDA                   NJ         L232295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MOLETI               SEBASTIAN             NJ         L652794          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HAGAN                FRANCIS               NJ         L1014694         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MORAN                EDWARD                NJ         L0029395         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HALASNIK             PETER                 NJ         L0351993         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MORAN                MARIA                 NJ         L0029395         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HALASNIK             VILMA GOLIAN          NJ         L0351993         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MUPO                 JOHN                  NJ         L459801          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HALASZ               JOSEPH                NJ         L933499          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        MUPO                 PHYLLIS               NJ         L459801          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HARDING              DAVID                 NJ         L914796          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        NIRO                 DOROTHY               NJ         L483095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HARDING              KAREN                 NJ         L914796          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        NIRO                 LEONARD G             NJ         L483095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HIGGINS              RAYMOND               NJ         L359190          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        NORADO               DOLORES               NJ         L942495          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HOLLYWOOD            EILEEN                NJ         L430995          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        NORADO               PATRICK               NJ         L942495          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HOLLYWOOD            WILLIAM               NJ         L430995          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        ONORI                GERALDINE             NJ         L293095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
HUDSON               WILLIAM               NJ         L1312494         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        ONORI                GINO                  NJ         L293095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
IANNACONE            GRACE                 NJ         L635094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PAVLICS              JOSEPH                NJ         MIDL00422205     WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
IANNACONE            ROBERT                NJ         L635094          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PAVLICS              MARY                  NJ         MIDL00422205     WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
IELMINI              HELEN                 NJ         L0062095         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PERPALL              DANIEL                NJ         L648594          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
IELMINI              PAUL SR               NJ         L0062095         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PIZZA                ANN                   NJ         L0061995         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JURANICH             JOAN                  NJ         L865095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PIZZA                CHARLES               NJ         L0061995         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
JURANICH             THOMAS                NJ         L865095          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PLOENES              GORDON                NJ         L864795          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KARLBON              ALDONA                NJ         L1179996         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PLOENES              SUSAN                 NJ         L864795          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KARLBON              EDWIN                 NJ         L1179996         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        POFF                 SAMUEL                NJ         L1091899AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KEENAN               JANE                  NJ         L577195          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        POWELL               HAZEL                 NJ         L216395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KEENAN               WILLIAM               NJ         L577195          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        POWELL               JAMES                 NJ         L216395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KING                 GEORGE                NJ         L584296          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PREBOR               KATHRYN               NJ         L953394          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KING                 MILDRED               NJ         L584296          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PREBOR               WALTER                NJ         L953394          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KITCHIN              MICHAEL               NJ         L765299AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PRUITT               FRED                  NJ         L290595          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KOBYLARZ             JOHN                  NJ         L748798          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        PRUITT               PATRICIA              NJ         L290595          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER
KOHLHEPP             MARY JANE             NJ         L959695          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        RADOVICH             ANGELO                NJ         L739394          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER




                                                                                                                        Appendix A - 1142
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                            Desc
                                                                                                      Complaint-Part 2 Page 477 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                                     Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

RADOVICH             LUCY                  NJ         L739394          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        BROWN                MARY BELL             MS         9151192          YOUNG LAW FIRM, PC
REDHEAD              CLARENCE              NJ         L739194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        BUONOMO              DOMINICK J SR         MS         948105           YOUNG LAW FIRM, PC
REDHEAD              ISABELLA              NJ         L739194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        BUONOMO              LORRAINE              MS         948105           YOUNG LAW FIRM, PC
ROSE                 MICHAEL               NJ         L200600AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CALHOUN              CHARLES E JR          MS         8854221          YOUNG LAW FIRM, PC
ROSE                 MURIEL                NJ         L200600AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CAMPBELL             WALTER                MS         97562            YOUNG LAW FIRM, PC
RUTZLER              DELORES               NJ         L258398          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CHAPMAN              WILLIAM LEE           MS         97562            YOUNG LAW FIRM, PC
RUTZLER              JAMES                 NJ         L258398          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CHISOLM              JOE E                 MS         97562            YOUNG LAW FIRM, PC
RYAN                 CECILIA               NJ         L0189995         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CLARK                HENRY LEE             MS         97562            YOUNG LAW FIRM, PC
RYAN                 MICHAEL               NJ         L0189995         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CLARK                RALPH E               MS         97562            YOUNG LAW FIRM, PC
SAXE                 GARY                  NJ         L645394          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CLINE                MICHAEL A             MS         97562            YOUNG LAW FIRM, PC
SAXE                 MARLENE               NJ         L645394          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CLINTON              ROY G                 MS         97562            YOUNG LAW FIRM, PC
SCHRECK              CARL                  NJ         L00004395        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CLUNAN               LAWRENCE H            MS         948105           YOUNG LAW FIRM, PC
SCHRECK              JULIANNE              NJ         L00004395        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        COLEMAN              WILLIAM F             MS         ADMIN            YOUNG LAW FIRM, PC
SELLARS              CLYDE                 NJ         L528190          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        COOLEY               CHARLES               MS         97562            YOUNG LAW FIRM, PC
SHERRY               EDITH                 NJ         L552595          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        COOLEY               JOHN W                MS         97562            YOUNG LAW FIRM, PC
SHERRY               EDWARD SR             NJ         L552595          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        COST                 ROBERT                MS         8854233          YOUNG LAW FIRM, PC
SIMON                HENRY                 NJ         L1092299AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CRABTREE             CLARA                 MS         948105           YOUNG LAW FIRM, PC
SLOCUM               JOAN                  NJ         L0190295         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CRABTREE             NEWTON L              MS         948105           YOUNG LAW FIRM, PC
SLOCUM               ROBERT                NJ         L0190295         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CROSBY               PAXTON RAYMOND        MS         97562            YOUNG LAW FIRM, PC
SPAINE               DANIEL                NJ         L1012500         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CUMBEST              PAMELA                MS         9151192          YOUNG LAW FIRM, PC
SPAINE               SYLVIA                NJ         L1012500         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        CURTIS               MARY A                MS         9151192          YOUNG LAW FIRM, PC
STAJEK               HENRY                 NJ         L1012094         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        DANTZLER             MOSE                  MS         97562            YOUNG LAW FIRM, PC
STILL                BARBARA               NJ         L763899AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        DILMORE              HERSHELL              MS         97562            YOUNG LAW FIRM, PC
STILL                WILLIE                NJ         L763899AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        DIXON                FRANKIE J             MS         97562            YOUNG LAW FIRM, PC
SYMANNEK             JEAN                  NJ         L635694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        DRENNAN              DONALD F              MS         97562            YOUNG LAW FIRM, PC
SYMANNEK             ROLF                  NJ         L635694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        EATON                JAMES E               MS         97562            YOUNG LAW FIRM, PC
SZCZEPANSKI          CLAIRE                NJ         L954694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        ELLIS                ALEXANDER W           MS         7419J            YOUNG LAW FIRM, PC
SZCZEPANSKI          STEVEN                NJ         L954694          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        ELLZEY               JOE S                 MS         97562            YOUNG LAW FIRM, PC
THIELE               FRED                  NJ         L287395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        FAULKNER             JOE E                 MS         9151192          YOUNG LAW FIRM, PC
THIELE               LORRAINE              NJ         L287395          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        FENNER               WILLARD               MS         97562            YOUNG LAW FIRM, PC
THOMAS               ANN MARIE             NJ         L00005795        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        FERGUSON             LEONARD               MS         97562            YOUNG LAW FIRM, PC
THOMAS               RICHARD               NJ         L00005795        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        FLOYD                JONES                 MS         97562            YOUNG LAW FIRM, PC
TREBING              CARL                  NJ         L311698          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        FORD                 MATTHEW J             MS         97562            YOUNG LAW FIRM, PC
TREBING              MARIETTA              NJ         L311698          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        GARRAWAY             MARTHA                MS         97562            YOUNG LAW FIRM, PC
TURIANO              JOHN                  NJ         L891093          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        GRAHAM               IRA D                 MS         97562            YOUNG LAW FIRM, PC
VARGO                JOSEPH                NJ         L1042301AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        GRAYSON              CHARLES J             MS         97562            YOUNG LAW FIRM, PC
VARGO                JOSEPHINE             NJ         L1042301AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        GRAYSON              RE                    MS         97562            YOUNG LAW FIRM, PC
VASI                 JOHN                  NJ         L679194AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        GREEN                JOHN Z                MS         8854233          YOUNG LAW FIRM, PC
VASI                 MARIA                 NJ         L679194AS        WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        GREENE               ROBERT L              MS         948105           YOUNG LAW FIRM, PC
WALDROP              DOLORES               NJ         L672194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HALL                 JAMES                 MS         8854233          YOUNG LAW FIRM, PC
WALDROP              JOSEPH                NJ         L672194          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HARDY                MARY LOU              MS         948105           YOUNG LAW FIRM, PC
WEAVER               KIMBERLY              NJ         L1093499AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HARDY                SAMUEL JR             MS         948105           YOUNG LAW FIRM, PC
WEAVER               VICTOR                NJ         L1093499AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HASTEN               DEAN                  MS         97562            YOUNG LAW FIRM, PC
WERCHOLAK            LOUIS                 NJ         L956295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HATHORN              BOBBY                 MS         9151192          YOUNG LAW FIRM, PC
WILDONER             ELLIS                 NJ         L269490          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HAWKINS              THOMAS M              MS         97562            YOUNG LAW FIRM, PC
WILLIAMS             JAMES                 NJ         L1288494         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HEBERT               CURTIS JR             MS         8854233          YOUNG LAW FIRM, PC
WILLIAMS             LILLIAN               NJ         L1288494         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HILL                 ESTEAM                MS         97562            YOUNG LAW FIRM, PC
WILLIS               DORIS                 NJ         L459795          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HINES                RICHARD D             MS         97562            YOUNG LAW FIRM, PC
WILLIS               FRANK                 NJ         L459795          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HOLCOMBE             CHESTER L             MS         97562            YOUNG LAW FIRM, PC
WILSON               RUTH                  NJ         L577295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HOLLINGSHEAD         JIMMY C               MS         97562            YOUNG LAW FIRM, PC
WILSON               WILLIAM JR            NJ         L577295          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HOLLINGSWORTH        WAYNE                 MS         948105           YOUNG LAW FIRM, PC
WINFIELD             HERBERT               NJ         L0189795         WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HOLLOWAY             ISAAC N               MS         97562            YOUNG LAW FIRM, PC
WOITHE               ERICH                 NJ         L1173799AS       WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HONEY                DAVID                 MS         8854233          YOUNG LAW FIRM, PC
YORK                 BARBARA               NJ         L954494          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HOPSON               LARRY                 MS         97562            YOUNG LAW FIRM, PC
YORK                 JOHN                  NJ         L954494          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HUMPHREYS            ROBERT F              MS         8854233          YOUNG LAW FIRM, PC
ZIELINSKI            CARL                  NJ         L746998          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HUNTER               CHARLES E             MS         8854221          YOUNG LAW FIRM, PC
ZIELINSKI            SALLY                 NJ         L746998          WYSOKER, GLASSNER, WEINGARTNER, GONZALEZ & LOCKSPEISER        HYNUM                CECIL D               MS         948105           YOUNG LAW FIRM, PC
ADAMS                JAMES F               MS         97562            YOUNG LAW FIRM, PC                                            HYNUM                DORIS-DIVORCED        MS         948105           YOUNG LAW FIRM, PC
BARNES               CL                    MS         8851813          YOUNG LAW FIRM, PC                                            JACKSON              CHARLES E             MS         97562            YOUNG LAW FIRM, PC
BELL                 FLOYD E               MS         97562            YOUNG LAW FIRM, PC                                            JENKINS              LOUIS C               MS         97562            YOUNG LAW FIRM, PC
BENWARD              ROSCOE                MS         9151192          YOUNG LAW FIRM, PC                                            JENNINGS             JAMES W               MS         97562            YOUNG LAW FIRM, PC
BERRENS              PAUL J                MS         8854233          YOUNG LAW FIRM, PC                                            JONES                ACY                   MS         97562            YOUNG LAW FIRM, PC
BERRY                WALLACE L             MS         97562            YOUNG LAW FIRM, PC                                            JONES                FRANK                 MS         97562            YOUNG LAW FIRM, PC
BESTER               CALVIN SR             MS         97562            YOUNG LAW FIRM, PC                                            JONES                WILLIE                MS         97562            YOUNG LAW FIRM, PC
BLACKLEDGE           GLENN                 MS         97562            YOUNG LAW FIRM, PC                                            KELLEY               STAFFORD L            MS         97562            YOUNG LAW FIRM, PC
BONNER               JAMES W               MS         97562            YOUNG LAW FIRM, PC                                            LANDRUM              RAYFORD E             MS         97562            YOUNG LAW FIRM, PC
BOURRAGE             JOHN                  MS         97562            YOUNG LAW FIRM, PC                                            LEWIS                FRITZ                 MS         7419J            YOUNG LAW FIRM, PC
BRADY                BILLY T               MS         97562            YOUNG LAW FIRM, PC                                            LOGAN                JERRY                 MS         97562            YOUNG LAW FIRM, PC
BREAUX               IRVING N JR           MS         9250811          YOUNG LAW FIRM, PC                                            MADDOX               JO ANNE               MS         97562            YOUNG LAW FIRM, PC
BROWN                JEFFRIE               MS         9151192          YOUNG LAW FIRM, PC                                            MARTIN               JUANITA G             MS         7420S            YOUNG LAW FIRM, PC
BROWN                JIMMY                 MS         948105           YOUNG LAW FIRM, PC                                            MARTIN               WILLIAM C             MS         7420S            YOUNG LAW FIRM, PC




                                                                                                                        Appendix A - 1143
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 478 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MAULDIN              HAROLD K              MS         97562            YOUNG LAW FIRM, PC                                   SAUCIER              DOUGLAS               LA         76467I           YOUNG, DONNI E
MCCREE               MARVIN                MS         97562            YOUNG LAW FIRM, PC                                   SAUCIER              GEORGIE MARIE         LA         76467I           YOUNG, DONNI E
MCFADDEN             GEORGE W              MS         9151192          YOUNG LAW FIRM, PC                                   SEAL                 PERRY I               LA         76467I           YOUNG, DONNI E
MCGILL               LARRY E               MS         97562            YOUNG LAW FIRM, PC                                   ALBRIGHT             MARCIA JEAN           OH         CV04526709       YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MILLSAP              LC                    MS         97562            YOUNG LAW FIRM, PC                                   ASHMORE              RICHARD               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MINOR                JAMES E               MS         97562            YOUNG LAW FIRM, PC                                   BARTON               JACK                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MITCHELL             MAXINE                MS         7420S            YOUNG LAW FIRM, PC                                   BARTON               SANDRA                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MITCHELL             TROY                  MS         7420S            YOUNG LAW FIRM, PC                                   BOYLE                JOYCE                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MORDICA              ROBERT H              MS         97562            YOUNG LAW FIRM, PC                                   BOYLE                ROBERT                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MORGAN               ERVIN M               MS         9151192          YOUNG LAW FIRM, PC                                   BUKOWSKI             KENNETH               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MYERS                SILAS                 MS         97562            YOUNG LAW FIRM, PC                                   BUKOWSKI             ROSEANN               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MYRICK               FORREST W             MS         97562            YOUNG LAW FIRM, PC                                   CALLAHAN             BONNIE                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MYRICK               SHIRLEY               MS         97562            YOUNG LAW FIRM, PC                                   CALLAHAN             PAUL                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
NETTLES              DAN R                 MS         8854221          YOUNG LAW FIRM, PC                                   CONLEY               GLEN                  OH         CV04526709       YOUNG, REVERMAN & MAZZEI CO., L.P.A.
NETTLES              NELIA                 MS         9151192          YOUNG LAW FIRM, PC                                   COOL                 SHARYN                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
NIXON                JAMES C               MS         97562            YOUNG LAW FIRM, PC                                   COOL                 THOMAS                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
NOBLES               WILLIAM HARRISON      MS         97562            YOUNG LAW FIRM, PC                                   DAVIDSON             JOYCE                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
ODOM                 WILLIAM H             MS         97562            YOUNG LAW FIRM, PC                                   DAVIDSON             WILLIAM               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
OLIVER               CLYDE M               MS         8854233          YOUNG LAW FIRM, PC                                   DROUHARD             LOIS                  OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
PARKER               LEE OLIVER            MS         97562            YOUNG LAW FIRM, PC                                   DROUHARD             RALPH                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
PARNELL              JESSE W               MS         9151192          YOUNG LAW FIRM, PC                                   DUNKERTON            ARTHUR                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
PEARSON              MALCOLM R             MS         97562            YOUNG LAW FIRM, PC                                   FARMER               HARRIETTA             OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
POGGENDORF           JOHN F.               MS         9151192          YOUNG LAW FIRM, PC                                   FARMER               WILLIAM               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
POGGENDORF           PATRICIA              MS         9151192          YOUNG LAW FIRM, PC                                   FERGUSON             ALFRED                OH         04PI371          YOUNG, REVERMAN & MAZZEI CO., L.P.A.
POWELL               ADELL                 MS         7420S            YOUNG LAW FIRM, PC                                   FERGUSON             GLORIA                OH         04PI371          YOUNG, REVERMAN & MAZZEI CO., L.P.A.
POWELL               JACK B                MS         7420S            YOUNG LAW FIRM, PC                                   GEHO                 CLIFFORD              OH         2002CV8          YOUNG, REVERMAN & MAZZEI CO., L.P.A.
RAINER               DONALD R              MS         97562            YOUNG LAW FIRM, PC                                   GEHO                 PATRICIA              OH         2002CV8          YOUNG, REVERMAN & MAZZEI CO., L.P.A.
RICHARDSON           ELZIE L               MS         97562            YOUNG LAW FIRM, PC                                   GOTCH                JAMES                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
RUSH                 JIMMIE L              MS         97562            YOUNG LAW FIRM, PC                                   GOTCH                ROSEMARY              OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
RUSHING              BENNIE LEVELL         MS         8854221          YOUNG LAW FIRM, PC                                   GRAY                 HARLEY                OH         2001CV01831      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
RUSHING              DELORES               MS         8854221          YOUNG LAW FIRM, PC                                   GRAY                 NANA                  OH         2001CV01831      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
RYAN                 RUSSELL               MS         97562            YOUNG LAW FIRM, PC                                   GUY                  EUGENE                OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SANDERSON            ODIS                  MS         8854233          YOUNG LAW FIRM, PC                                   HAMILTON             RONALD                OH         02CV00151        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SANFORD              MARTHA                MS         9151192          YOUNG LAW FIRM, PC                                   HAMILTON             ROSELYN               OH         02CV00151        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SANFORD              RAYMOND L.            MS         9151192          YOUNG LAW FIRM, PC                                   HILL                 HERBERT               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SAVAGE               WILLIE                MS         8854233          YOUNG LAW FIRM, PC                                   HODGKISS             BEVERLY               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SCOTT                RUFUS J               MS         97562            YOUNG LAW FIRM, PC                                   HODGKISS             LEO                   OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SHARP                ALVIN W               MS         97562            YOUNG LAW FIRM, PC                                   HOLBROOK             CLESTER               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SIMONS               VERNON                MS         8854233          YOUNG LAW FIRM, PC                                   HORTON               ALFRED                OH         02CV1994         YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SOURRAGE             SAMMIE L              MS         97562            YOUNG LAW FIRM, PC                                   HORVATH              MARILYN               OH         CV04541287       YOUNG, REVERMAN & MAZZEI CO., L.P.A.
SPINKS               WOODROW L             MS         97562            YOUNG LAW FIRM, PC                                   HORVATH              STEVE                 OH         CV04541287       YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STENNETT             COULVERT E            MS         97562            YOUNG LAW FIRM, PC                                   HOWELL               CLARENCE              OH         02CV00150        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STENNETT             LELIA K               MS         97562            YOUNG LAW FIRM, PC                                   HOWELL               LILLIAN               OH         02CV00150        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STEPHENSON           LOTTIE B              MS         7419J            YOUNG LAW FIRM, PC                                   HUFF                 BETTY                 OH         CV04526709       YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STEPHENSON           WILMER L              MS         7419J            YOUNG LAW FIRM, PC                                   HUGHES               ALVIN                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STEPP                ROY                   MS         8854233          YOUNG LAW FIRM, PC                                   HUGHES               RUTH                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STEVENS              THOMAS A              MS         97562            YOUNG LAW FIRM, PC                                   JONES                CHARLOTTE             OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
STEWART              THOMAS EDISON         MS         97562            YOUNG LAW FIRM, PC                                   JONES                NORMAN                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
TAYLOR               KENNETH F             MS         97562            YOUNG LAW FIRM, PC                                   KALE                 HARRY                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
TERRELL              BEN                   MS         97562            YOUNG LAW FIRM, PC                                   KALE                 JAYNE                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
THOMAS               JAMES C               MS         8854233          YOUNG LAW FIRM, PC                                   KALUZA               DONNA                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
THORNHILL            JAMES L               MS         97562            YOUNG LAW FIRM, PC                                   KALUZA               JOHN                  OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
THURMON              HERBERT               MS         8851813          YOUNG LAW FIRM, PC                                   KEENAN               KAY                   OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
TROTTER              CHAMPION              MS         97562            YOUNG LAW FIRM, PC                                   KEENAN               WANDA                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
TUCKER               HAROLD                MS         97562            YOUNG LAW FIRM, PC                                   KLOBOVES             GAYLE                 OH         2002CV00346      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
TYLER                LARRY D               MS         97562            YOUNG LAW FIRM, PC                                   KLOBOVES             MARSHALL              OH         2002CV00346      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
VINSON               HOYT                  MS         8854233          YOUNG LAW FIRM, PC                                   KNEPPER              WAYNE                 OH         2001CV01831      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
WALLACE              JIMMY                 MS         8854233          YOUNG LAW FIRM, PC                                   KRESEVICH            BEATRICE              OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
WALLEY               VANDER RAY            MS         97562            YOUNG LAW FIRM, PC                                   KRESEVICH            WILLIAM               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
WALTERS              DANIEL H              MS         97562            YOUNG LAW FIRM, PC                                   LAB                  PAUL                  OH         2001CV01831      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
WHEELER              SAM H                 MS         97562            YOUNG LAW FIRM, PC                                   LASKOWSKI            FRANK                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
WILLINGHAM           ONEAL                 MS         8854233          YOUNG LAW FIRM, PC                                   LEIHGEBER            DANIEL                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
YELVERTON            SAMMY J               MS         97562            YOUNG LAW FIRM, PC                                   LEIHGEBER            MARIGOLD              OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
BARRON               MARY ANN              LA         76467I           YOUNG, DONNI E                                       LETT                 EDWARD                OH         02CV01710        YOUNG, REVERMAN & MAZZEI CO., L.P.A.
BARRON               OG                    LA         76467I           YOUNG, DONNI E                                       MARINKOVICH          JACK                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
DELISE               ANTHONY J JR          LA         449434           YOUNG, DONNI E                                       MARINKOVICH          JANICE                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
DELISE               LARKELL S             LA         449434           YOUNG, DONNI E                                       MARSH                MICHAEL               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
JONES                JOHN                  LA         76467I           YOUNG, DONNI E                                       MARSH                RENE                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
JONES                VALDA                 LA         76467I           YOUNG, DONNI E                                       MAYBEE               ELTON                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
REVERE               ELMO                  LA         76467I           YOUNG, DONNI E                                       MAYBEE               NANCY                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
REVERE               LORA LANG             LA         76467I           YOUNG, DONNI E                                       MCCULLEY             DAVID                 OH         02CV00742        YOUNG, REVERMAN & MAZZEI CO., L.P.A.




                                                                                                            Appendix A - 1144
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 479 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

MCCULLEY             ROSE                  OH         02CV00742        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 WRIGHT               SHIRLEY               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MCGUIRK              JOSEPHINE             OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 YUCHA                FRANCES               OH         2002CV00579      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MCGUIRK              RAYMOND               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 YUCHA                FRANK                 OH         2002CV00579      YOUNG, REVERMAN & MAZZEI CO., L.P.A.
MCLAUGHLIN           EDWARD                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 AFTANAS              ARLENE                MI         04435076NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MCLAUGHLIN           NELLIE                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 AFTANAS              EDWARD G              MI         04435076NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MEDZIE               MICHAEL               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BAKER                WARREN M              MI         19003497NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MEDZIE               NORMA                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BALL                 FRANK FERRIS          MI         13008025NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MICKO                MIKE                  OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BARKER               HAROLD L              MI         08018406NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MICKO                MILDRED               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BAUMAN               THOMAS                MI         19014851NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MIKA                 JOHN                  OH         02CV2432         YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BREWER               RICKEY E              MI         15014391NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MIKA                 JOSEPH                OH         02CV2432         YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BROOME               ALBERT W              MI         15014242NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MOREAU               DONALD                OH         2001CV01831      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 BUCHANAN             KEITH                 MI         18010114NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MOREAU               DOROTHY               OH         2001CV01831      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 CAMERON-HALL         DOROTHY               MI         13007498NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MORRISON             JOHN                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 CLARK                MICHAEL               MI         17004972NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MORSE                FRANZ                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 CLARK                SARAH                 MI         15004845NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MORSE                MELINDA               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 COOK                 THOMAS                MI         12015957NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MOSCA                KAREN                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 CROCKETT             CHARLES               MI         19014328NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
MOSCA                SAMUEL                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 DAVIS                BILLY C               MI         19000509NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
NUDO                 RALPH                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 DAVIS                EUGENE W              MI         19003565NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PARILLA              CHARLES               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 DODD                 WILLIAM HARVEY        MI         18010123NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PEABODY              CLIFFORD              OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 DRZYZGA              RON                   MI         19001776NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PEABODY              DOROTHY               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 DUNAWAY              MICHAEL R             MI         16012214NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PEAIRS               CLYDE                 OH         02CV00263JRS     YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 ECK                  ANDREW R              MI         18012553NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PIZZULO              MARTHA                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 FIELDS               JOHNNIE               MI         08109726NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PIZZULO              PETER                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 FINLEY               BEVERLY               MI         18013695NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
POLISH               EILEEN                OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 FLOREY               KATHERINE             MI         036582NPC        ZAMLER, SHIFFMAN & KARFIS, P.C.
POLISH               JOHN                  OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 FLOREY               MIKE                  MI         036582NPC        ZAMLER, SHIFFMAN & KARFIS, P.C.
PONTUTI              BERNARD               OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HALL                 EDDIE L               MI         19008840NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
PONTUTI              SALLY                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HALL                 EDGAR LEE             MI         13007498NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
ROSS                 HARRY WALLACE         OH         02CVC067074      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HANNAH               KENNETH               MI         18014411NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
ROSS                 HARRY WILLIE          OH         02CVC067074      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HARDY                LORETTA               MI         15007351NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
ROSS                 VIOLA                 OH         02CVC067074      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HARDY                MILTON                MI         15007351NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
ROYALE               LESLIE                OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HERING               JOHN MICHAEL          MI         14011794NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SANDOR               ELIZABETH             OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HIRCHBERGER          RONALD                MI         19001207NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SANDOR               JOHN                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HITCHCOCK            JOSEPH                MI         15008534NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SAUNDERS             JOHN                  OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HOFFMAN              ANTHONY               MI         04402472NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SCHULTZ              DANIEL                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HOFFMAN              ARANKA                MI         04402472NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SCHULTZ              MARGARET              OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HUMENIK              JOSEPH                MI         19009453NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SESCOURKA            JOHN                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 HUMENIK              PHYLLIS ANN           MI         19009453NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SESCOURKA            THERESA               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 JARRETT              BOOKER T              MI         14014851NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SHEPHERD             DOROTHY               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 JONES                EVELYN P              MI         13016328NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SHEPHERD             WOODROW               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 JONES                WILLIAM J             MI         14007424NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SHEWARD              IRENE                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 KAREUS               LEONARD               MI         16007130NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SHEWARD              ISAAC                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 KAREUS               LEONARD               MI         19014331NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SMITH                CAROL                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 KETCHNER             JOANNE                MI         13008025NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SMITH                GARY                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 KOWALSKI             EDWARD                MI         18011542NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SMITH                LEONARD               OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 LILLY                GEORGE L              MI         19009732NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SMITH                WILMA                 OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 LILLY                WILLIAM BOYD          MI         19009732NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SNELBAKER            FLORA                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MACDONALD            DONALD                MI         17002908NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SNELBAKER            GEORGE                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MAPES                KEITH                 MI         19001821NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SOLLEY               DALE                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MCDONALD             JOHN D                MI         19014334NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SOLLEY               MARY                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MCGREGOR             WILLIE E              MI         19008948NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
SPRAGLING            DEBORAH               OH         02CV1994         YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MEEKER               ALEXANDRA K           MI         14015438NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
STARK                ALAN                  OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MEEKER               RODNEY PAUL           MI         14015438NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
STEVENS              ELIZABETH (BETTY)     OH         04PI371          YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MILES                MARY A                MI         13016011NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
STEVENS              JAMES                 OH         04PI371          YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MILLER               CARL RAYMOND          MI         15008068NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
STEVEY               CHARLES               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MITCHELL             WALTER                MI         17017777NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
STILES               GLEN                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 MONDAY               EVESTA                MI         17004981NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
STILES               SHIRLEY               OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 NAGEL                CAROLE                MI         036606NPC        ZAMLER, SHIFFMAN & KARFIS, P.C.
TACKETT              DONNA                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 NAGLE                LYNN THOMAS           MI         036606NPC        ZAMLER, SHIFFMAN & KARFIS, P.C.
TACKETT              EMIL                  OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 OLTMAN               JILL                  MI         14011794NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
TAYLOR               ERNEST                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 PALAZZOLO            JOHN                  MI         14002254NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
TAYLOR               LENORA                OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 PARKER               THOMAS                MI         17017558NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VAIL                 GERTRUDE              OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 PINAGE               FRANK L               MI         05535567NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VAIL                 NORMAN                OH         2002CV00581      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 PITYLAK              MITCHELL              MI         19005281NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WAGNER               MICHAEL               OH         04PI370          YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 QUEEN                MARK D                MI         19003498NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WEBBER               JOANNE                OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 ROBINSON             DEBRA                 MI         13016328NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WEBBER               MERLE                 OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 ROCKER               LARRY S               MI         19008947NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WHITE                LAWRENCE              OH         CV04526709       YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 ROGERS               ROBERT A              MI         14014711NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WILSON               ROLAND                OH         02CV00745        YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 ROSS-PITTS           DIANE                 MI         15014480NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WRIGHT               DARIS                 OH         2002CV00282      YOUNG, REVERMAN & MAZZEI CO., L.P.A.                 RUSSELL              EUGENE                MI         19001655NP       ZAMLER, SHIFFMAN & KARFIS, P.C.




                                                                                                              Appendix A - 1145
                                                           Case 20-03004                           Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13                                   Desc
                                                                                                      Complaint-Part 2 Page 480 of 484



Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel                            Claimant Last Name   Claimant First Name   State Filed Docket Number   Primary Plaintiff Counsel

SCHEAR               RALPH W               MI         13015865NP       ZAMLER, SHIFFMAN & KARFIS, P.C.                      SWANSEN              LAVERN                NY         CIV900439T       ZIFF, WEIERMILLER & HAYDEN
SHANGLE              ERNEST                MI         19007364NP       ZAMLER, SHIFFMAN & KARFIS, P.C.                      WARD                 MARY JANE             NY         NONE             ZIFF, WEIERMILLER & HAYDEN
SMITH                PRISCILLA L           MI         12015957NP       ZAMLER, SHIFFMAN & KARFIS, P.C.                      WARD                 RAYMOND G             NY         NONE             ZIFF, WEIERMILLER & HAYDEN
STERLEY              BERNARD E             MI         18010113NP       ZAMLER, SHIFFMAN & KARFIS, P.C.                      WINIECKI             FLORYNE J             NY         NONE             ZIFF, WEIERMILLER & HAYDEN
SZATMARY             KENNETH L             MI         19008951NP       ZAMLER, SHIFFMAN & KARFIS, P.C.                      WINIECKI             STANLEY               NY         NONE             ZIFF, WEIERMILLER & HAYDEN
TIDWELL              CHARLES               MI         08124703NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VAN HOOF             LEO                   MI         013412NPS        ZAMLER, SHIFFMAN & KARFIS, P.C.
VAN HOOF             THOMAS                MI         013412NPS        ZAMLER, SHIFFMAN & KARFIS, P.C.
VANPELT              BRUCE                 MI         17014521NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VENDLINSKI           DANIEL L              MI         05535567NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VOGAN                ANN SHIRLEY           MI         01122116NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VOGAN                DOUGLAS               MI         01122116NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
VOGTMANN             EARL                  MI         036621NPC        ZAMLER, SHIFFMAN & KARFIS, P.C.
VOGTMANN             LOU ANN               MI         036621NPC        ZAMLER, SHIFFMAN & KARFIS, P.C.
WASHELEWSKI          LAWRENCE              MI         18005019NP       ZAMLER, SHIFFMAN & KARFIS, P.C.
WELLMAN              ARCHIE J              MI         117559NPL        ZAMLER, SHIFFMAN & KARFIS, P.C.
BAKER                RAYMOND V SR          NY         CIV916004T       ZIFF, WEIERMILLER & HAYDEN
BAKER                WARREN(EXECUTOR)      NY         CIV916004T       ZIFF, WEIERMILLER & HAYDEN
BAUMAN               GORDON A              NY         CIV900428T       ZIFF, WEIERMILLER & HAYDEN
BAUMAN               SIGNA MAE             NY         CIV900428T       ZIFF, WEIERMILLER & HAYDEN
BENTLEY              VICTOR R SR           NY         NONE             ZIFF, WEIERMILLER & HAYDEN
CLEVELAND            MILDRED               NY         NONE             ZIFF, WEIERMILLER & HAYDEN
CLEVELAND            MILDRED               NY         CIV900346T       ZIFF, WEIERMILLER & HAYDEN
CLEVELAND            VIRGIL L              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
CLEVELAND            VIRGIL L              NY         CIV900346T       ZIFF, WEIERMILLER & HAYDEN
COXFORD              DEBBIE E              NY         90CIV0429T       ZIFF, WEIERMILLER & HAYDEN
COXFORD              HENRY W               NY         90CIV0429T       ZIFF, WEIERMILLER & HAYDEN
CULVER               DONALD R SR           NY         NONE             ZIFF, WEIERMILLER & HAYDEN
CULVER               ELIZABETH L           NY         NONE             ZIFF, WEIERMILLER & HAYDEN
DELANEY              MARGARET ANN          NY         NONE             ZIFF, WEIERMILLER & HAYDEN
DELANEY              ROBERT R              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
HARKOVICH            HELEN L               NY         NONE             ZIFF, WEIERMILLER & HAYDEN
HARKOVICH            THEODORE              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
HARRIS               EARLE F               NY         NONE             ZIFF, WEIERMILLER & HAYDEN
HARVEY               DOROTHY               NY         CIV900430T       ZIFF, WEIERMILLER & HAYDEN
HARVEY               OSCAR                 NY         CIV900430T       ZIFF, WEIERMILLER & HAYDEN
HINE                 LAMONT L              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
HINE                 VIRGINIA I            NY         NONE             ZIFF, WEIERMILLER & HAYDEN
JENNINGS             EILEEN MARIE          NY         90CIV0431T       ZIFF, WEIERMILLER & HAYDEN
JENNINGS             ELWIN L               NY         90CIV0431T       ZIFF, WEIERMILLER & HAYDEN
JONES                MARY LOU              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
JONES                MARY LOU              NY         CIV900348T       ZIFF, WEIERMILLER & HAYDEN
JONES                OWEN H                NY         NONE             ZIFF, WEIERMILLER & HAYDEN
JONES                OWEN H                NY         CIV900348T       ZIFF, WEIERMILLER & HAYDEN
KUBICA               JOHANNA               NY         NONE             ZIFF, WEIERMILLER & HAYDEN
KUBICA               JOHN S                NY         NONE             ZIFF, WEIERMILLER & HAYDEN
LINDBLAD             JAMES E               NY         90CIV0432T       ZIFF, WEIERMILLER & HAYDEN
LINDEBORN            DIANNE C              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
LINDEBORN            HARRY W               NY         NONE             ZIFF, WEIERMILLER & HAYDEN
LONG                 LAWRENCE D            NY         CIV916007T       ZIFF, WEIERMILLER & HAYDEN
LONG                 RUTH S                NY         CIV916007T       ZIFF, WEIERMILLER & HAYDEN
LUMSDEN              HORACE J              NY         NONE             ZIFF, WEIERMILLER & HAYDEN
MATEJKA              HELEN                 NY         CIV900433T       ZIFF, WEIERMILLER & HAYDEN
MATEJKA              IRA                   NY         CIV900433T       ZIFF, WEIERMILLER & HAYDEN
MEAD                 MARJORIE B            NY         NONE             ZIFF, WEIERMILLER & HAYDEN
MEAD                 WALLACE O             NY         NONE             ZIFF, WEIERMILLER & HAYDEN
MICO                 BARBARA               NY         90CIV0434T       ZIFF, WEIERMILLER & HAYDEN
MICO                 LOUIS JOSEPH          NY         90CIV0434T       ZIFF, WEIERMILLER & HAYDEN
POTTER               PAUL M                NY         NONE             ZIFF, WEIERMILLER & HAYDEN
PYHTILA              REINO A               NY         CIV900435T       ZIFF, WEIERMILLER & HAYDEN
PYHTILA              REINO A               NY         CIV900435        ZIFF, WEIERMILLER & HAYDEN
PYHTILA              TERESA C              NY         CIV900435T       ZIFF, WEIERMILLER & HAYDEN
PYHTILA              TERESA C              NY         CIV900435        ZIFF, WEIERMILLER & HAYDEN
RIPLEY               BEATRICE A            NY         CIV900437T       ZIFF, WEIERMILLER & HAYDEN
RIPLEY               CLIFFORD D SR         NY         CIV900437T       ZIFF, WEIERMILLER & HAYDEN
ROE                  FRANCES               NY         90CIV0436T       ZIFF, WEIERMILLER & HAYDEN
ROE                  HERBERT A             NY         90CIV0436T       ZIFF, WEIERMILLER & HAYDEN
ROMANOWSKI           STANLEY P             NY         DUM1030          ZIFF, WEIERMILLER & HAYDEN
SPROULE              FRANCES L             NY         90CIV0438T       ZIFF, WEIERMILLER & HAYDEN
SPROULE              JAMES A               NY         90CIV0438T       ZIFF, WEIERMILLER & HAYDEN
SWANSEN              DOROTHY               NY         CIV900439T       ZIFF, WEIERMILLER & HAYDEN




                                                                                                            Appendix A - 1146
     Case 20-03004   Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13   Desc
                        Complaint-Part 2 Page 481 of 484



                                  APPENDIX B




NAI-1509867023
     Case 20-03004    Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13   Desc
                         Complaint-Part 2 Page 482 of 484



                                List of Protected Parties

Bayside Port Corporation, Inc.
Bird Incorporated
Carborundum Ceramic Holdings, Inc.
Carborundum Ventures, Inc.
CertainTeed Canada, Inc.
CertainTeed Ceilings Corporation
The Former CertainTeed Corporation (a/k/a CertainTeed LLC)
CertainTeed Gypsum and Ceiling Mfg., Inc.
CertainTeed Gypsum Mfg., Inc.
CertainTeed Gypsum NC, Inc.
CertainTeed Gypsum West Virginia, Inc.
CertainTeed Gypsum, Inc.
CertainTeed Holding Corporation
CertainTeed LLC
CertainTeed Gypsum and Ceilings USA, Inc.
Compagnie de Saint-Gobain
CT Solar Fund I LLC
CTKC Corporation
Fluorocarbon Components, Inc.
Grindwell Norton Ltd.
GS II, Inc.
HCS Corporation
Level Solar Fund IV LLC
MAG-ISOVER K.K.
New West Gypsum Recycling, Inc.
Norton Foreign Affiliates Holding Corporation
OFI GP Inc.
OFI L.P.
Ottawa Fibre GP Inc
Ottawa Fibre L.P.
P.T. Saint-Gobain Abrasives Indonesia
Phoenix Coating Resources, Inc.
Redcliff Fibre L.P.
Sage Electrochromics, Inc.
Saint-Gobain (SEA) PTE, Ltd
Saint-Gobain Abrasives, Inc.
Saint-Gobain Abrasives, Ltd.
Saint-Gobain Abrasivos S.A. de C.V.
Saint-Gobain Adfors America, Inc.
Saint-Gobain Advanced Ceramics, LLC
Saint-Gobain Building Distribution Ltd.
Saint-Gobain Canada, Inc.
Saint-Gobain Ceramic Materials Pvt. Ltd.
Saint-Gobain Ceramics & Plastics, Inc.



NAI-1509867023
     Case 20-03004     Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13            Desc
                          Complaint-Part 2 Page 483 of 484



Saint-Gobain Corporation
Saint-Gobain Corporation Foundation
Saint-Gobain Delaware Corporation
Saint-Gobain Finance Corporation
Saint-Gobain Glass Corporation
Saint-Gobain HyComp LLC
Saint-Gobain India Foundation
Saint-Gobain India Pvt. Ltd.
Saint-Gobain Insurance Ltd.
Saint-Gobain Interior Building Distribution Company
Saint-Gobain KK
Saint-Gobain Materiaux de Construction S.A.S.
Saint-Gobain Merit, S.De R.L. De C.V.
Saint-Gobain Performance Plastics (Hangzhou) Co., Ltd.
Saint-Gobain Performance Plastics Corporation
Saint-Gobain Receivables Corporation
Saint-Gobain Research India Pvt. Ltd.
Saint-Gobain Shared Services Corporation
Saint-Gobain Solar Gard Australia Pty. Ltd.
Saint-Gobain Solar Gard, LLC
Saint-Gobain TM KK
Sepco Corporation
Societe de Participations Financieres et Industrielles
The Grid Company GP, Inc.
The Grid Company Limited Partnership
The Grid Company, LLC
Tillsonburg Fibre L.P.
Vertec SAS
Vetrotech Saint-Gobain North America, Inc.
VIB L.P.
Western Mining and Minerals, Inc.
Zenpure Americas, Inc.
Zenpure Corporation
Z-Tech, LLC

Distributors

A&P Water & Sewer Supplies and Its Successors United States Distribution Group, Inc.; United
       States Filter Corporation; WaterPro Supplies Corporation
Brent Material Company
Florence Building Materials
Goodman Lumber Company
H.D. Fowler Co. Inc.
Inland Water Works Supply Company
Kennedy Culvert & Supply Company, Inc.




NAI-1509867023                               -2-
     Case 20-03004     Doc 1-1 Filed 01/23/20 Entered 01/23/20 19:23:13             Desc
                          Complaint-Part 2 Page 484 of 484



Northern Water Works Supply, Inc., n/k/a Ferguson Enterprises, Inc., d/b/a Northern Water
       Works Supply
Western Waterworks Supply Co.




NAI-1509867023                               -3-
